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                EXHIBIT A




                                                                               Appx. 1
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SOUTHWEST AIRLINES CO.,                        §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §
                                                     Civil Action No. 3:21-cv-00098-E
                                                §
 KIWI.COM, INC. and KIWI.COM S.R.O.,            §
                                                §
        Defendants.                             §
                                                §


                            DECLARATION OF MARK HURSH


       I, Mark Hursh, being duly sworn, state as follows:

       1.      My name is Mark Hursh and I am a Director in the Marketing Department at

Southwest Airlines Co. (“Southwest”) with responsibility for Digital Customer Products. I joined

Southwest in 2017.

       2.      As part of my duties as Director in Marketing, I am knowledgeable of Southwest’s

business, policies, and marketing efforts relating to customers, including, among other things, the

advertising, marketing, or selling of flights and ancillary services through Southwest.com.

       3.      Southwest is an airline headquartered in Dallas, Texas. Almost 50 years since its

first flights in 1971, Southwest has grown to become one of the most-flown airlines in the United

States. In peak travel seasons during 2019, Southwest operated more than 4,000 daily departures

among a network of more than 100 destinations in the United States and 10 additional countries.




                                                1



                                                                                                      Appx. 2
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        4.      Southwest has built a reputation for high customer satisfaction and received the

2020 J.D. Power award for best airline in North America. 1 While most U.S. airlines charge

passengers additional fees for checked luggage and for changing flights, Southwest maintains

unique customer-friendly policies, including a “Bags Fly Free” policy (each customer can check

two bags for free, subject to weight and size limits) and a “No Change Fees” policy (Southwest

does not charge fees to change or cancel flights, though fare differences may apply). Southwest

frequently refers to these policies in its advertising.

        5.      Southwest offers and sells flights to the general public through (a) its website

www.Southwest.com (“Southwest Website”) and (b) its mobile application available via the Apple

App Store and Google Play app store (“Southwest App” and collectively, “Southwest Digital

Platforms”).

        6.      Southwest maintains the exclusive online distribution rights to sell Southwest

tickets through the Southwest Digital Platforms and does not allow online travel agencies

(“OTAs”) to sell Southwest flights without express written authorization from Southwest. That

is why Southwest flights are not published or sold on OTA websites like Kayak, Expedia, Google

Flights, or Priceline. Although other airlines embrace the use of OTAs, Southwest’s approach

allows Southwest to deal directly with its customers, control the customer experience, ensure

customer satisfaction, protect customers from misinformation, control costs, and promote other

travel services like hotels and car rentals.

        7.      The Southwest Digital Platforms offer customers low-fare flights and provide ticket

information, reservation details, and additional booking options for Southwest flights. Southwest




1
   See Ex. A-1, J.D. Power Press Release; see also Ex. A-2, Southwest Website available at
https://www.swamedia.com/pages/awards-and-recognition (listing other awards).



                                                   2



                                                                                                      Appx. 3
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also offers and sells ancillary services to its customers on the Southwest Digital Platforms,

including:

               a.      The option to purchase three different types of fares: Business Select,

                       Anytime, or Wanna Get Away;

               b.      The option to create a Rapid Reward loyalty account and earn points

                       redeemable for future Southwest flights;

               c.      The option to purchase EarlyBird Check-In (available for $15 - $30,

                       depending upon the route), which provides automatic check-in for the

                       customer, enabling a better boarding position and earlier access to overhead

                       bins ;

               d.      The option to add a rental car to the flight reservation;

               e.      The option to add a hotel and book a travel package through Southwest

                       vacations; and

               f.      The option to apply for a Southwest-branded credit card.

       8.      The Southwest Website also includes information to enable customers to quickly

obtain support that includes a Contact Us Page that shows different ways to contact Southwest,

such as (a) a toll-free phone call to its Customer Support & Services team with call centers staffed

by employees across the United States which is free to use without any reservation booking fees;

(b) a direct message through social media, such as Twitter or Facebook; (c) an email portal with

options to submit a question, complaint, or compliment with a 48 hour turnaround time with

answers provided by employees staffed in the United States; or (d) a written letter to a P.O Box

with answers provided by employees staffed in the United States.




                                                 3



                                                                                                       Appx. 4
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       9.      The Southwest App offers a free live chat capability for customers that are logged-

in to connect with the Customer Support & Services team of employees based in the United States.

       10.     The Southwest Digital Platforms offer customers free self-service Frequently

Asked Questions and answers with over 45 topics to support common travel queries as well as a

site search tool that enables the content across the desktop to be instantly queried to find travel

related answers.

       11.     The Southwest Digital Platforms also offer a free digital customer feedback tool to

provide ideas and concerns that is monitored by the Southwest Digital Platforms support team to

improve the website and app experiences

       12.     The Southwest Digital Platforms enable customers to quickly make changes and

cancellations to their itineraries without incurring additional fees outside fare differences. Tickets

booked on the website or apps can be changed to different dates or times and customers are

provided a detailed breakdown of any additional fare collection, or in the case of a fare downgrade,

the residual funds that remain. Customers can cancel their tickets via the Southwest Digital

Platforms and are given the option to cancel all or part of their trip.

       13.     When a Southwest customer books a flight through the Southwest Digital

Platforms, the customer provides an email address as part of the booking process and can also

input additional email addresses for other passengers on the same reservation. This email is used

for confirmation documents as well as for additional pre-trip communication.

       14.     When a Southwest customer books a flight through the Southwest Digital

Platforms, the customer is asked to provide travel contact information which can either be an e-

mail address, text messaging number, of voice number. This contact information can be used to

provide urgent notification about flight changes, delays, cancellations, or schedule changes.




                                                  4



                                                                                                         Appx. 5
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Southwest has invested in this technology to ensure customers receive timely information about

their trip and are provided with context if situations occur that may alter their original plans such

as weather events, air traffic control delay programs, airport delays, and more.

       15.      Southwest communicates with its customers through email or texts at various points

before a flight, including:

             a. Trip Confirmation – Provides itinerary detail, purchase detail, helpful guidance on

                preparing for the trip, and a links to contact Customer Support & Services as well

                as access Frequently Asked Questions and Answers.

             b. Pre-trip communication – Southwest provides multiple time-based pre-trip

                communications including a 30 day pre-trip communication, 4 day, and 1 day

                communication.

       16.      Each communication is tailored to provide relevant information and may include

additional context about changes related to the trip such as airport construction, regulatory

changes, or changes to policies or procedures. As an example, during the COVID Pandemic, the

pre-trip communication tool provided special context about mask policies, testing policies in

Hawaii and for flights entering the United states, and quarantine policies.            The pre-trip

communications may also provide context such as airport construction changes that may impact

travel times.

       17.      At times, Southwest may send additional special pre-trip communications outside

of the normal time-based series for urgent changes such as pending regulatory changes for

customers on active trips. Southwest also uses the email address or mobile number on the

reservation to communicate about schedule changes, flight changes, flight delays or cancellations.




                                                 5



                                                                                                        Appx. 6
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Providing timely information when a trip changes is crucial to ensure customers have appropriate

expectations about their airport arrival time and their trip departure date.

            18.    At times, Southwest may need to adjust pre-planned flight schedules due to

unforeseen circumstances. For example, during the COVID pandemic, and with quarantine rules

in effect, flight schedule changes have occurred frequently due to the dynamic travel environment.

Southwest leveraged its reservation contact information to urgently provide customers with

updated trip information containing rebooking information and to provide them with ways to

contact Southwest to make other arrangements. When flight cancellations were peaking during

local lockdowns in March and April 2020, Southwest used these contact tools to proactively inform

customers of their cancellation options to prevent unnecessary travel to the airport. Southwest also

uses reservation contact information to provide updates to flight changes and cancellations that

occur due to inclement weather events such as a hurricane or winter storm in addition to events

such as FAA Air Traffic Delay programs that occur during periods of flight congestion. All of

these communication tools are critical to providing proactive customer service and ensuring a

positive travel experience.

            19.    The Southwest Digital Platforms provide information subject to certain policies that

    apply to the customer’s travel, use of the Southwest Website, and use of the Southwest App. The

    Southwest Website includes a link to Southwest’s Contract of Carriage (“Contract of Carriage”)

    in addition to its Fare Rules and Privacy Policy. The Southwest Website includes a hyperlink to

    a page of Terms and Conditions that applies to use of the Southwest Website (“Website Terms”). 2

    Southwest last modified the Website Terms on April 4, 2017, and it has not changed since that

    time.


2
    See Ex. A-3, Website Terms.



                                                    6



                                                                                                          Appx. 7
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          20.      The Website Terms are hyperlinked at the bottom of each webpage with a statement

    that use of the Southwest Website constitutes acceptance of the Website Terms:




          21.      For all sales made on the Southwest Digital Platforms, the customer must confirm

    the customer’s acceptance of the Website Terms by clicking a button that states: “By clicking

    ‘Purchase,’ I agree to the Terms and Conditions below, the privacy policy, and the contract of

    carriage.” That language appears conspicuously next to a yellow “Purchase” button with

    hyperlinks to the Website Terms, Privacy Policy, and Contract of Carriage as shown below:




          22.      The Website Terms state that information and materials concerning Southwest’s

products and services, “including flight schedules, routes, [and] fares,” called “Company

Information,” is owned by Southwest and “is proprietary to Southwest.” 3 Southwest grants users



3
    Website Terms at 1 (Ownership of Company Information).



                                                       7



                                                                                                      Appx. 8
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of the Southwest Website “a limited, non-exclusive, revocable, non-assignable, personal, and non-

transferable license to download, display, view, use, play the Company Information on a personal

computer, browser, laptop, tablet, mobile phone or other Internet-enabled device … and/or print

one copy of the Company Information as it is displayed to you, in each case for your personal,

non-commercial use only.” 4

           23.      The Website Terms include a list of “Restrictions and Prohibited Activities,” and

an agreement the user “will not: (i) copy, display, distribute, download, … modify, publish, re-

post, reproduce, reuse, sell, transmit, or use the Service or Company Information to create a

derivative work[;] (ii) use the Service or Company Information for any commercial purpose, with

the exception of authorized Southwest travel agents/agencies; …(iv) engage in any activity in

connection with the Service or Company Information that is … fraudulent, unlawful, false or

misleading …; (v) harvest any information from the Service; (vi) copy, derive, edit, translate,

decompile, reverse engineer, modify, use, or reproduce[] any code or source relating to the Service

including without limitation, any service or product Southwest offers[;] (vii) modify, re-render,

frame, mirror, truncate, add to, inject, filter or change the order of the information contained on

any page of the Service, including, without limitation, by any way of reproducing any web pages

or Company Information on any other website without our express written permission; … (ix)

infringe any intellectual property or other right…; (x) use the Company Information in a manner

that suggests an unauthorized association or is beyond the scope of the limited license granted to

you; … (xiv) use any deep-link, page-scrape, robot, crawl, index, spider, click spam, macro

programs, Internet agent, or other automatic device, program, algorithm or methodology which

does the same things, to use, access, copy, acquire information, generate impressions or clicks,


4
    Id. (emphasis added).



                                                    8



                                                                                                        Appx. 9
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input information, store information, search, generate searches, or monitor any portion of the

Service or Company information; … (xviii) … violate the restrictions in any robot exclusion

header; or (xix) otherwise violate these Terms or any applicable Additional Terms.” 5 The same

section also includes a promise not to “use the Service for or in connection with offering any third

party product or service not authorized or approved by Southwest.” 6 Use of the Southwest Website

constitutes acceptance of the Website Terms as stated on the Southwest Website’s homepage and

in the Website Terms themselves.

            24.     If Southwest discovers that an unauthorized OTA is selling Southwest flights,

Southwest may send a cease-and-desist notice and provide the violator with a copy of the Website

Terms, pointing out the violation and demanding compliance for future use of the Southwest

Website. In past circumstances where an OTA persists in violating the Website Terms after notice,

Southwest has filed lawsuits like this one to enforce the Website Terms in court. See, e.g., Sw.

Airlines Co. v. Farechase, Inc., 318 F. Supp. 2d 435 (N.D. Tex. 2004); Sw. Airlines Co. v.

BoardFirst, L.L.C., Case No. 3:06-CV-0891, 2007 WL 4823761 (N.D. Tex. Sept. 2007); and Sw.

Airlines Co. v. Roundpipe LLC, et al., 375 F. Supp. 3d 687 (N.D. Tex. 2019)).

            25.     Upon learning that an OTA called Kiwi.com was selling Southwest flights in

violation of the Website Terms, various Southwest departments investigated the company’s

activities, including a review of information available at www.kiwi.com. According to information

published on Kiwi.com, Kiwi operates an OTA business that reportedly performs 100,000,000




5
    Website Terms at 1–2 (Restrictions and Prohibited Activities).
6
    Id. at 2.



                                                           9



                                                                                                       Appx. 10
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daily searches across numerous airlines website selling 40,000 flights per day. 7 Kiwi’s website

boasts €1.3 billion of turnover in 2019 (equivalent to approximately $1.5 billion USD). 8

           26.      Southwest has never authorized Kiwi.com to offer or sell Southwest flights, to copy

or display Southwest’s flight data and fares on kiwi.com, or to use the Southwest Website and

Company Information for commercial purposes, all of which violates the Website Terms discussed

above.

           27.      Southwest sent Kiwi a series of cease-and-desist notices before filing this lawsuit,

including one final notice in December 2020. 9 On at least one occasion, Kiwi acknowledged

receipt of Southwest’s cease-and-desist notice, but rather than halting its unauthorized sales of

Southwest flights, Kiwi tried to solicit Southwest to form a business relationship. 10

           28.      On another occasion in July 2020, even after receiving multiple cease-and-desist

notices, Kiwi sent a report to Southwest’s leadership (at it Dallas headquarters) stating that

between 2019 and the first half of 2020, Kiwi had generated €13,960,021 (equivalent to more than

$17 million) in revenue from the sale of Southwest flights. 11

           29.      As shown below, in connection with its unauthorized sales of Southwest flights,

Kiwi specifically acknowledges that: “All services provided by Southwest Airlines are subject to

their Terms and Conditions. More information is available on their website.”




7
    See Ex. A-4, Kiwi Website available at https://www.kiwi.com/us/pages/content/about.
8
    See Ex. A-5, Kiwi Website available at https://www.kiwi.com/us/pages/content/company.
9
  See Ex. A-6, Southwest Cease and Desist Notice, dated December 11, 2020; see also Ex. A-7, Southwest Cease and
Desist Notice, dated August 28, 2019.
10
     See Ex. A-8, Kiwi Email dated Sept. 11, 2019.
11
     See Ex. A-9, Kiwi Email and Attachment, dated July 14, 2020.



                                                         10



                                                                                                                   Appx. 11
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       30.     As detailed below, Kiwi’s unauthorized sales of Southwest flights divert customers

away from the Southwest Website, misrepresent Southwest’s policies and procedures, provide

false booking information, upcharge customers fees for services and features that are free, and

encourage customers to book “hidden city” fares in violation of Southwest’s Contract of Carriage.

All of this is harmful to Southwest’s business and its customers.

       31.     For example, Kiwi charges inflated prices for Southwest flights by adding service

fees that are not otherwise collected or charged by Southwest. The screenshot below from the

Southwest Website shows a total price of $395.97 for a round-trip, non-stop flight from Dallas,

Texas (DAL) to Savannah, Georgia (SAV) with an outbound flight on March 13, 2021 and a return

flight on March 20, 2021 (the “Dallas-Savannah Flight”):




                                                11



                                                                                                    Appx. 12
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On kiwi.com, the same Dallas-Savannah Flight is advertised for $414 because Kiwi inflates the

price by adding about $18 in service fees to the booking price of the Southwest flight:




       32.     Kiwi.com also displays “travel hacks” flights, which involve “hidden city”

ticketing, even when the same flight is offered as a non-stop for cheaper on Southwest.com. In

the example below, an $87 fare is offered by Southwest for the 6:30 non-stop flight form DAL-

HOU. Kiwi charges $99 for the same flight and positions the flight as a “travel hack” using a




                                                12



                                                                                                 Appx. 13
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hidden city fare from DAL-TUL and charging approximately $20 in service fees. This only

benefits Kiwi. Southwest receives less for the fare, and the customer pays more because of the

Kiwi service fees.




                                             13



                                                                                                 Appx. 14
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                                  14



                                                                                Appx. 15
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           33.      Kiwi.com also falsely advertises the fare options and policies on Southwest flights

to upsell customers for additional “services” that Southwest actually offers for free. For example,

all Southwest flights are offered with (i) two free checked bags; 12 (ii) no change fees; 13 (iii) no

cancellation fees; 14 (iv) free customer support; and (v) a full travel credit for cancelled reservations

that is reusable on future Southwest flights. 15 Moreover, Southwest’s Business Select and Anytime

fares are fully refundable in lieu of a travel credit. 16

           34.      Kiwi.com promotes Southwest flights in a way that suggests that cabin baggage is

not allowed and that a “checked baggage bundle” (including lost baggage insurance) must be

purchased in order to fly with checked baggage. On Southwest, 1 personal item, 1 carryon luggage

and up to 2 free checked bags are included with all ticket purchases. Insurance is not required in

order to fly with bags on Southwest. Yet Kiwi tells customers otherwise:




12
     Size and weight limits apply to checked bags.
13
     Fare differences may apply to flight changes.
14
     Cancelations may be made up to 10 minutes before the scheduled departure time.
15
     Cancelations may be made up to 10 minutes before the scheduled departure time.
16
     Cancelations may be made up to 10 minutes before the scheduled departure time.



                                                         15



                                                                                                            Appx. 16
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           35.      As shown below, Kiwi advertises some Southwest flights as “Saver Fares” that

include only (i) “Basic Services”; (ii) no rebooking contribution; and (iii) no refund. But Southwest

offers no such fares. Southwest offers only three fares: Business Select, Anytime, and Wanna Get

Away. All Southwest flights include free customer support, full rebooking contribution, and full

refunds for Business Select and Anytime fares. 17




           36.      Kiwi.com advertises Southwest flights by stating that “it will not be possible to

cancel or change any flights free of charge after the purchase.” But all Southwest flights allow

cancellations or changes free of charge up to 10 minutes before departure time.



17
     Cancelations may be made up to 10 minutes before the scheduled departure time.



                                                         16



                                                                                                           Appx. 17
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           37.      Kiwi advertises some Southwest flights as a “No-checked-bag itinerary,” but all

Southwest fares allow for two free checked bags. 18




18
     Size and weight limits apply to checked bags.



                                                     17



                                                                                                      Appx. 18
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       38.     Kiwi.com offers illogical flight connections that Southwest has not offered or

approved. Southwest carefully determines maximum and minimum connection time rules into its

shopping tools to prevent routing that will create a negative customer experience. As an example,

Kiwi offered a customer a March 12, 2021 DAL-HOU itinerary that took 21 hour and 45 minutes

to travel for $257. Southwest has non-stop service from DAL-HOU that usually takes 1 hour and

10 minutes for $87. The longest connection offered on March 13 from DAL-HOU is 5 hours and

50 minutes for $135. The customer would save $122 and nearly 16 hours by booking the flight on

Southwest.com, not including additional travel costs such as the hotel fees for an unnecessary 10

hour overnight stay in Nashville.




       39.     Kiwi falsely advertises that it provides “Automatic flight check-in” for free on

Southwest flights, but Kiwi does not provide that service to Southwest customers. And use of any

third-party flight check-in service violates the Southwest Website Terms. Southwest provides a

value-added service called Early Bird Check-In which allows customers to get automatic check-

in, a better boarding position, and earlier access to overhead bins. Southwest collects a service fee



                                                 18



                                                                                                        Appx. 19
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for each passenger for this service and expressly prohibits third parties from automatically

checking in Southwest customers.

           40.      Kiwi advertises that a “Standard Ticket” fare with “no refund” is available on

Southwest flights for an additional charge, but Southwest does not offer any such fares. Moreover,

Business Select and Anytime fares are fully refundable. 19




           41.      Kiwi falsely advertises that a “Flexi Ticket” fare that allows for a “90% refund” is

available on Southwest flights for a further, additional charge, but Southwest does not offer any

such fares. Business Select and Anytime fares are fully refundable. 20


19
     Cancelations may be made up to 10 minutes before the scheduled departure time.
20
     Cancelations may be made up to 10 minutes before the scheduled departure time.



                                                         19



                                                                                                           Appx. 20
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       42.     Kiwi falsely advertises that Southwest may choose to not provide flight alternatives

or a refund in case of a flight disruption. In cases where a cancellation was unavoidable due to

Southwest’s actions, Southwest offer full refunds to applicable forms of payment. In cases where

a cancellation was due to weather or an action outside of Southwest’s control, Southwest offers

rebooking on alternative Southwest flights or offers to cancel the itinerary and the customer may

use all remaining funds on future travel up to year one from the original ticketed date.




       43.     Kiwi falsely advertises that customer service is available for Southwest flights for

additional charge, but customer service is available for free from Southwest.

       44.     Kiwi also solicits customers to book “hidden city” flights on Southwest, i.e., to

book a Southwest flight with a connecting-city stop and have the customer to deplane at the

connection stop instead of travelling to the ticketed destination. This violates Southwest’s Contract

of Carriage, and also causes other problems.




                                                 20



                                                                                                        Appx. 21
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       45.      Southwest maintains records of customer booking on the Southwest Digital

Platforms in the ordinary course of business. The records include the email address used when

purchasing a flight on the Southwest Digital Platforms.

       46.      When Kiwi books a Southwest flight, it includes an email address for Kiwi with

the domain “@airline.kiwi.com” or “@kachipytel.com” but does not include the customer’s

personal email address or phone number, which interferes with direct customer notifications from

Southwest;

       47.      For each purchase made on the Southwest Digital Platforms, Kiwi acknowledged

and accepted the Website Terms when booking the reservation. But Kiwi is violating the Website

Terms by, among other things, publishing Southwest flights and fares on kiwi.com without

permission, selling Southwest flights and ancillary services on kiwi.com without permission,

charging booking fees for Southwest flights, misrepresenting Southwest’s policies, charging

customers fees for services that Southwest offers for free, and failing to refund customers for

cancelled reservations even when Kiwi receives a refund from Southwest. In each of these ways,

Kiwi’s unauthorized sales of Southwest flights is harmful to Southwest and its customers.

       48.      When Kiwi completes a reservation of a Southwest flight without the customer’s

contract information, this negatively impacts Southwest in the following ways:

             a. Southwest is unable to directly communicate with the booked customer if there is

                a flight schedule revision or an operational adjustment;

             b. Southwest is unable to provide information about the trip conditions including local

                airport conditions or emergency weather updates directly to the customer via e-mail

                or text; and




                                                 21



                                                                                                       Appx. 22
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              c. Southwest is unable to directly contact the customer after their trip via e-mail to

                 request feedback on their flight experience to improve future experiences.

        49.      When Kiwi completes a reservation of a Southwest flight without the customer’s

correct billing information, this negatively impacts Southwest and the customer in the following

ways:

              a. In cases where a customer requests a refund, Southwest cannot immediately refund

                 the customer directly. The refund must first be sent to Kiwi’s virtual credit card

                 and then the customer must wait for Kiwi to take action; and

              b. In cases where a customer voluntary cancels a non-refundable fare, Southwest can

                 only offer a travel fund for the original base fare and not for the service fee charged

                 by Kiwi, but presented on their shopping screens as the fare.

        50.      When Kiwi completes a reservation of a Southwest flight (without authorization

from Southwest), this negatively impacts Southwest and the customer because:

              a. Southwest loses the ability to market or sell its EarlyBird Check-in service to

                 customers, which is offered throughout the purchase path on the Southwest Website

                 and Southwest App; and

              b. Southwest is unable to offer the customer value added services such as car rental

                 deals, hotel deals, or deals for future travel

        51.      In addition to violating the Website Terms, Kiwi has also used Southwest’s

federally registered trademarks shown below (collectively, the “Southwest Marks”) for

commercial purposes without permission:




                                                    22



                                                                                                           Appx. 23
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                                                                                Appx. 24
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                                                                                Appx. 25
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                                                                                Appx. 26
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                                                                                Appx. 27
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       53.     The screenshot above also is an example of Kiwi soliciting customers to book

“hidden city” flights with a “No-checked bag itinerary.” As described above, this is a violation of

the Southwest’s Contract of Carriage and causes problems with headcounts, delays, and baggage

handling.

       54.     Kiwi’s ongoing conduct is harmful to Southwest’s business and its customers and

damages Southwest’s business reputation, customer relationships, and goodwill. Because of the

nature of the harm, it is difficult to quantify the precise amount of financial harm caused by Kiwi’s

conduct. For example, it is difficult to calculate the amount of money damages to Southwest caused

by interference with customer communications; disruptions to flight schedules; increased costs for


                                                 27



                                                                                                        Appx. 28
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baggage handling and customer services; and for the injuries caused by misrepresentations

concerning Southwest’s policies. In particular, injuries to Southwest’s business reputation,

goodwill, and customer relationships would be difficult to calculate. Additionally, Kiwi.com’s

unauthorized use of Southwest’s flight data diverts customers away from the Southwest Website,

and it is difficult to know exactly how much those customers might have spent of ancillary services

on the Southwest Website.

       55.     Southwest has expended considerable time and devoted manpower to investigating

Kiwi.com’s conduct, which has caused, at a minimum, $5,000 of loss during a one-year period,

plus the cost and attorneys’ fees incurred bringing this suit.

       56.     I declare under penalty of perjury that the facts and information stated in this

declaration are true and correct based on my personal knowledge and reliable information I

obtained as a representative of Southwest.




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Importance of Trust, Transparency to Airline Satisfaction Grows as Industry Confronts Pandemic Fears,
J.D. Power Finds

Southwest Airlines Ranks Highest in Passenger Satisfaction for Long-Haul and Short-Haul Flights

TROY, Mich.: 27 May 2020 — North American airlines were headed into 2020 with some of the highest
customer satisfaction scores ever recorded, thanks to heavy investment in newer aircraft, better in-flight
services and improved customer service. Then COVID-19 hit. According to the J.D. Power 2020 North
America Airline Satisfaction Study,SM released today, many of the core values that drove standout
passenger experiences in the pre-pandemic environment will be even more important as the industry plots
its recovery. Specifically, the industry will need to focus on restoring confidence, while continuing to
improve on the operational side.

“Airline success in the post-COVID-19 era will hinge on a combination of building consumer confidence and
operational flexibility with changing schedules and routes,” said Michael Taylor, travel intelligence lead at
J.D. Power. “Airlines have a tremendous reputation for safety. That will be even more critical as
passengers look to airlines for detailed and specific information about what’s being done to keep them
safe.”

Following are some of the key findings of the 2020 study:

   •   Value is a key differentiator for highest-performing airlines: In the midst of the pandemic, many
       airlines have waived change and cancellation fees. These fees have a notable effect on customer
       perception of ticket value. When it comes to customer perception of value for money, the highest-
       performing airline rates 6.33 (on a 7-point scale) vs. an industry average of 5.68.

   •   Passengers seek transparency/details on how airlines will protect them: Based on additional J.D.
       Power research conducted April 17-19, leisure travelers list the following as the two most important
       actions that airlines and hotels can take to make them feel safer: informing travelers of specific
       cleaning/sanitization actions they are taking (38%) and provide daily updates on the state of the
       pandemic in the area they will be visiting (37%).

   •   Improving staff scores will play an important role in recovery: Passenger satisfaction scores
       related to courtesy/friendliness of crew and staff knowledge have been improving consistently
       during the past five years. As airline staff will play a key role in delivering passenger safety
       information and reassuring passengers of the steps the airline is taking to reduce exposure to
       COVID-19, airlines must strive to further improve these scores.

   •   Getting basics right still matters: While the travel industry is fixated on COVID-19-related issues, it
       remains important to get the basic operational details right. Currently, the most common reasons
       passengers cite for selecting an airline are that it offers a direct flight (55%); the passenger had a
       good past experience with that airline (47%); and the passenger is a rewards program member
       (42%). The most commonly cited reason given for not selecting a preferred airline is price (40%).

Study Rankings

For long-haul flights, Southwest Airlines ranks highest in customer satisfaction, with a score of 826 (on a
1,000-point scale). JetBlue Airways (823) ranks second and Delta Air Lines (810) ranks third.


                                                                                                  jdpower.com/business
                                                                                                             Appx. 31
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For short-haul flights, Southwest Airlines rank highest in customer satisfaction, with a score of 839.
JetBlue Airways (833) ranks second and Alaska Airlines (828) ranks third.

The North America Airline Satisfaction Study, now in its 16th year, measures passenger satisfaction with
airline carriers in North America based on performance in eight factors (in alphabetical order): aircraft;
baggage; boarding; check-in; cost and fees; flight crew; in-flight services; and reservation. The study
measures passenger satisfaction among both business and leisure travelers and is based on responses
from 10,100 passengers across two segments: long-haul flights and short-haul flights. Passengers needed
to have flown on a major North American airline within the past month. The study was fielded from April
2019 through March 2020.

For more information about the North America Airline Satisfaction Study, visit
https://www.jdpower.com/business/resource/jd-power-north-america-airline-satisfaction-study.

Join the conversation on social media using #AirlineStudy and follow J.D. Power on Facebook, Twitter and
LinkedIn.

To view the online press release, please visit http://www.jdpower.com/pr-id/2020051.

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                                          NOTE: Two charts follow.




                                                                                                            Appx. 32
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                           J.D. Power
          2020 North America Airline Satisfaction StudySM
                              Overall Customer Satisfaction Index Ranking
                                                 (Based on a 1,000-point scale)

                                                          Long-haul

               Southwest Airlines                                                                826


                   JetBlue Airways                                                              823


                     Delta Air Lines                                                         810


                     Alaska Airlines                                                      797


                 Segment Average                                                       786


                             WestJet                                                  779


                 American Airlines                                                 770


                    United Airlines                                              759


                         Air Canada                                             757


                   Frontier Airlines                                        739


                      Spirit Airlines                                  719




 Source: J.D. Power 2020 North America Airline Satisfaction Study SM
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 J.D. Power as the publisher and the study from which it originated as the source. Rankings are based on numerical scores,
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                           J.D. Power
          2020 North America Airline Satisfaction StudySM
                              Overall Customer Satisfaction Index Ranking
                                                 (Based on a 1,000-point scale)

                                                         Short-haul

               Southwest Airlines                                                                   839


                   JetBlue Airways                                                                833


                     Alaska Airlines                                                              828


                     Delta Air Lines                                                             820


                 Segment Average                                                           798


                             WestJet                                                   787


                 American Airlines                                                   779


                         Air Canada                                                  777


                      Spirit Airlines                                               773


                    United Airlines                                              760


                   Frontier Airlines                                          746




 Source: J.D. Power 2020 North America Airline Satisfaction Study SM
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                                                          Airlines Newsroom




     Awards & Recognition
     2020 AWARDS & RECOGNITION
           Southwest Airlines Named USA TODAY’s 10 Best Readers’ Choice Award (2020)
                Southwest Airlines has received USA TODAY’s 10 Best Readers’ Choice Award. Travel experts select the top 20 nominees in
                contests covering food, lodging, destinations, travel gear, things to do...

           Southwest Airlines Named As A Best Place To Work For LGBTQ Equality from the Human Rights Campaign Foundation (2020)
                Southwest Airlines (https://c212.net/c/link/?t=0&l=en&o=2706400-
                1&h=2591020349&u=http%3A%2F%2Fwww.southwest.com%2F%3Fsrc%3DPRPRPRNFRTHRC2020&a=Southwest+Airlines+Co.)has
                received a rating of 100 from the Human Rights Campaign Foundation (https://c212.net/c/link/?t=0&l=en&o=2706400-
                1&h=3155081843&u=http%3A%2F%2Fwww.hrc.org%2Fcei&a=Human+Rights+Campaign+Foundation) on the 2020 Corporate
                Equality Index, which earns Southwest the distinction of being a "Best Place to Work for LGBTQ Equality." The Corporate Equality
                Index (CEI) is a national benchmarking survey, reporting on corporate policies and practices related to LGBTQ workplace equality,
                administered by the Human Rights Campaign Foundation.



     2019 AWARDS & RECOGNITION
           Southwest Ranked No. 1 by JD Power Website Satisfaction Studies (2019)
                Southwest Airlines earned JD Power’s 2019 No.1 Ranking for Southwest.com in customer satisfaction with airline travel websites.
                Over the last year, Southwest has made several successful digital enhancements to Southwest.com, and the mobile app to
                improve the Customer Experience, while offering the award-winning Rapid Rewards program, Customer-friendly policies, and low
                fares.

           Southwest Airlines Named one of the top 20 businesses leading conservation efforts in Texas by Texan by Nature (2019)
                Texan by Nature named Southwest Airlines one of the top 20 businesses leading conservation efforts. The award seeks to
                recognize Texas-based businesses that are creating innovative paths in conservation through investment, volunteerism,
                measurement and reporting of spending and impact on conversation efforts, and employee engagement.

           Southwest Named a Top 100 Internship Program by WayUp (2019)
                In honor of National Intern Day, Southwest was named a Top 100 Internship Program by WayUp. High School and College Interns
                have the unique opportunity to attend career development classes and events during the work day that will help develop the skills
                needed to succeed in the professional world.

           Southwest Ranked No. 3 on the list of Top-Rated Workplaces in 2019 by Indeed
                After analyzing 100 million employee reviews, Indeed ranked Southwest Airlines no. 3 on the list of Top-Rated Workplaces in
                2019. Current and former employees reviewed Southwest positively for its competitive pay, flexible work schedule, and fun,
                supportive environment.

           Southwest Airlines Named a Best Employer for Women 2019 by Forbes
                Forbes named Southwest a Best Employer for Women in 2019. Forbes teamed up with Statista and compiled this list by surveying
                60,000 Americans, including 40,000 women, to identify the companies l ked most by female workers.

           Southwest Received Highest Ranking Low-Cost Carrier for Customer satisfaction for the third year in a row in the J.D. Power
           2019 North America Satisfaction Study
                For the third consecutive year, Southwest Airlines ranked highest for low-cost carriers in the 2019 J.D. Power North America
                Satisfaction Study. The J.D. Power Ranking measures passenger satisfaction based on seven factors- in-flight services; aircraft;
                boarding/deplaning/baggage; flight crew; check-in; and reservation.

           Southwest Airlines Named as one of Military Time’s Best For Vets: Employers 2019
                Military Times named Southwest to the 2019 Best for Vets: Employers ranking. The ranking was produced after Southwest
                provided data on its culture, recruiting, policies, and resources related to veterans, service members, and their families.

           Southwest Recognized by Our Friends Place as a 2019 Ebby Award Recipient for achievements for the advancement of girls
           and/or women in North Texas
                Southwest Airlines was recognized by Our Friends Place as a 2019 Ebby Award Recipient. “For more than 40 years, Southwest
                has connected people and championed communities around the country, including the North Texas region,” said Laura Nieto,
                Director of Community Outreach. “Our work to support the advancement of young girls and women in this area is important to us
                and we are grateful to share this recognition with so many other deserving recipients.”
https://www.swamedia.com/pages/awards-and-recognition                                                                                               1/3


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           Southwest Airlines Won The 2019 Airfinance Journal's Airline Of The Year Award
                It is a recognition for the best Return on Total Capital: Invested Capital, Aircraft, and Employees. Airfinance Journal selects its
                Airline of the Year on a 100 percent objective and quantitative basis using data from the Airline Analyst. The parameter used is
                Return on Total Capital.

           Southwest Airlines’ Rapid Rewards Recognized as 2019 Program of the Year and Three Other Top Freddie Awards
                This year, Rapid Rewards received Program of the Year, Best Customer Service, Best Loyalty Credit Card, and Best Airline
                Redemption Ability.
                Southwest Airlines's frequent flyer program, Rapid Rewards®, held onto its title of Best Customer Service for the seventh
                consecutive year at InsideFlyer Magazine's Freddie Awards. Rapid Rewards was also named Program of the Year for the fourth
                year in a row.
                "We are thrilled to win in four categories at this year's Freddie Awards," said Jonathan Clarkson, Southwest's Managing Director of
                Loyalty, Partnerships, & Products. "Our Loyalty Program is designed with some of the most flex bility, seat availability, and places
                to travel. Ensuring the satisfaction of our Customers is at the forefront of any decision we make at Southwest.”

           Southwest Airlines Wins Five 2019 TripAdvisor Traveler's Choice Awards
                Southwest Airlines has been recognized by TripAdvisor as a winner of five awards in the 2019 TripAdvisor Traveler's Choice™
                awards for airlines. The carrier ranks sixth in the Top Ten Airline World category for the second year in a row and was chosen for
                four other honors. TripAdvisor highlights the world's top carriers annually based on the quantity and quality of traveler reviews and
                ratings gathered over a 12-month period.
                "We are truly honored to win four TripAdvisor awards. Connecting People to what's important in their lives, with low fares, world-
                renowned Hospitality, and Customer-friendly policies are what fuel our passion," said Ryan Green, Senior Vice President and
                Chief Marketing Officer at Southwest Airlines.
                Southwest also won Best Low Cost Airline North America, Best Airline North America, Best Airline United States and Best
                Economy North America.




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       News
        News Releases (/releases)

        Media Kits (/channels/content/channel-b05b0c63b8d86e19f5bd35d6cb1c9f29#)

        Our Low-Fare Story (/releases/our-low-fare-story-the-southwest-effect-is-alive-and-well?query=our+low+fare+story#)

        Meet the Max (https://www.swamedia.com/pages/meet-the-max)

       Multimedia

https://www.swamedia.com/pages/awards-and-recognition                                                                                                    2/3


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        All Photos (/photos)

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       Company
        Leadership (/executives)

        Investor Relations (http://www.southwestairlinesinvestorrelations.com/)

        Labor Relations (/pages/labor-relations-menu#)

        Fact Sheets & Maps (/pages/fact-sheets-landing)

        Southwest Cargo (/releases/southwest-cargo)

        Our History (/pages/our-history-sort-by)

        Awards & Recognition ( https://wieck-swa-production.s3-us-west-
        1.amazonaws.com/pagePartImages/82c32b02c11cb28579ea312d99dfb5179ada8b2d)

       Responsibility
        Corporate Citizenship (https://www.southwest.com/citizenship/)

        Community Outreach (https://www.southwest.com/html/southwest-difference/southwest-citizenship/ourCommunities.html)

        Southwest One Report™ (http://southwestonereport.com/)

        Charitable Giving (https://www.southwest.com/html/southwest-difference/southwest-citizenship/charitableGiving.html)



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                                                                         (http://wieck.com)




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      Last modified: April 4, 2017




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      or attempt to obtain for them a boarding pass in any certain boarding group.

      When you use the Service or Company Information for an authorized purpose, you must include all proprietary notices without
      changing, hiding or deleting them.

      You may not engage in any conduct that is, or that Southwest deems to be, in violation of the Terms.


      Your Privacy
      The Service may allow you to submit content to us via the Service, or by means other than the Service (such as via our social media
      pages), including, but not limited to hotel reviews, ratings, photos, video, music, questions, suggestions, ideas, postings, feedback,
      biographic information, your appearance, audio tapes, digital files, images, performances, and comments (“Submissions”). All
      Submissions must be posted by someone 13 years of age or older. Terms related to your Submissions are available in our User Content
      and Conduct Policy. You agree that your Submissions will comply with our User Content and Conduct Policy.


      License to Your Content
      You grant Southwest and its affiliates, subsidiaries, agents, licensees, successors, and assigns a nonexclusive, unrestricted,
      unconditional, unlimited, worldwide, royalty-free, assignable, fully paid-up, perpetual, transferable, irrevocable and fully sublicensable
      right to (a) use, host, store, copy, record, reproduce, edit, enhance, improve, modify, adapt, translate, create derivative works of the
      Submissions, in whole or in part, alone or in any manner and matter or in combination with any other material, in any format or media,
      whether now existing or hereafter devised, including, but not limited to, text, data, images, photographs, illustrations, animation and
      graphics, video, audio, and all formats of computer readable electronic, magnetic, digital, laser, or optical based media, and to
      advertise, market, and promote the Submissions, (b) publicly display, publicly perform, distribute (directly or indirectly), disclose,
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      technology or devices now known or hereafter developed; and (c) use the screen name, your name, voice, likeness, and biographic
      information, whether in original or modified form, that you submit in connection with a Submission. You also irrevocably consent to our
      use and association of your name in connection with your Submissions and derivatives thereof. You agree to waive any moral rights that
      you may have in any Submissions, even if it is altered or changed in a manner not agreeable to you. To the extent not waivable, you
      irrevocably agree not to exercise such rights in a manner that interferes with any exercise of the granted rights. You understand that
      you will not receive any fees, sums, consideration, or remuneration for any of the rights granted in this Section. Our receipt of your
      Submissions is not an admission of their novelty, priority, or originality, and it does not impair our right to contest existing or future
      intellectual property rights relating to your Submissions. If you submit feedback or suggestions about our Service, we may use your
      feedback or suggestions without obligation to you.

      You further grant Southwest the right to pursue at law any person or entity that violates your or Southwest's rights in the Submissions
      by a breach of these Terms. You acknowledge and agree that Submissions are not confidential.

      You are fully responsible for the content of your Submissions. We take no responsibility and assume no liability for any Submissions
      posted or submitted.


      Intellectual Property Rights
      Southwest respects the intellectual property of others, and expects those who use the Service to do the same. It is our policy, in
      appropriate circumstances and at our discretion, to disable and/or terminate the accounts of individuals who may infringe or repeatedly
      infringe the copyrights or other intellectual property rights of Southwest and/or others.

      Southwest's policies with respect to claims by third parties that the content of the Service, including the content of any Submissions,
      infringes the copyrights owned by said third parties can be found in our Copyright Complaint Policy.


      Contacting Southwest Airlines
      For information on how to contact Southwest Airlines visit our Contact Us page.


      Third-Party Content and websites; Advertisements
      The Service may contain or may interact with third party content that is not owned, controlled or operated by Southwest (collectively,
      “Third-Party Services”). We may also host our content on Third-Party Services. Southwest neither endorses nor controls such Third-
      Party Services, AND YOU ACKNOWLEDGE AND AGREE THAT WE ARE NOT RESPONSIBLE OR LIABLE FOR THE INFORMATION, CONTENT,
      PRODUCTS, OR SERVICES ON OR AVAILABLE FROM SUCH THIRD-PARTY SERVICES, OR FOR THE RESULTS TO BE OBTAINED FROM
      USING THEM. If you choose to access any such Third Party Services, you do so at your own risk. If you navigate away from the Service
      by clicking on an unaffiliated website link, you do so at your own risk and you should be aware that these Terms no longer govern. You
      should review the applicable terms and policies, including privacy and data gathering practices, of any website to which you navigate
      from the Service or relating to any applications you use or install from another website.




https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html                                                                     12/11/2020
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      Dealings with Third Parties
      Any interactions, transactions, and other dealings that you have with any third parties found on or through the Service are solely
      between you and the third party. YOU HEREBY AGREE TO INDEMNIFY SOUTHWEST AGAINST ALL CLAIMS, INJURY AND/OR DAMAGES
      INCLUDING ATTORNEYS’ FEES THAT ARISE OUT OF YOUR USE OF ANY THIRD-PARTY SERVICE, INCLUDING FROM ANY MATERIAL THAT
      YOU POST ON ANY FORUM OR SOCIAL NETWORKING WEBSITE IN CONNECTION WITH US AND/OR ANY OTHER CLAIM RELATED TO
      YOUR USE OF SOCIAL MEDIA.


      Wireless Features and Communications
      The Service may offer features that are available to you via your wireless Device including the ability to access the Service’s features,
      upload content to the Service, and receive messages from the Service (including email notifications) (collectively, “Wireless Features”).
      By using the Service, you agree that Southwest may change, alter, or modify the settings or configurations on your Device in order to
      allow for or optimize your use of the Service. You agree that as to the Wireless Features for which you are registered for, we may send
      communications via such features or apps to your wireless Device regarding us or other parties. Further, we may collect information
      related to your use of the Wireless Features. If you have registered via the Service for Wireless Features, then you agree to notify
      Southwest of any changes to your wireless contact information (including phone number) and update your accounts on the Service to
      reflect the changes. If the Service includes push notifications or other mobile communication capability, you hereby approve our
      delivery of electronic communications directly to your mobile Device. These notifications, including badge, alert or pop-up messages,
      may be delivered to your Device even when it is running in the background. You may have the ability, and it is your responsibility, to
      control the notifications you do, or do not, receive via your Device through your Device settings. Standard message, data and other
      fees may be charged by your carrier, and carriers may deduct charges from pre-paid amounts or data allowances, for which you are
      responsible. Your carrier may prohibit or restrict certain Wireless Features and certain Wireless Features may be incompatible with your
      carrier or wireless Device. Contact your carrier with questions regarding these issues.


      Location-Based Features
      If you have enabled GPS, geo-location or other location-based features on any Southwest mobile app(s) or feature(s), you acknowledge
      that your Device location will be tracked and may be shared with others consistent with the Privacy Policy. Some mobile app(s) or
      feature(s) allow for you to disable location-based features or manage preferences related to them. You can also uninstall any Southwest
      mobile app(s). The location-based services offered in connection with our mobile app(s) or feature(s) are for individual use only and
      should not be used or relied on as an emergency locator system, used while driving or operating vehicles, or used in connection with
      any hazardous environments requiring fail-safe performance, or any other situation in which the failure or inaccuracy of use of the
      location-based services could lead directly to death, personal injury, or severe physical or property damage. Location-based/geo-
      location services are used at your own risk and location data may not be accurate.


      Forum Selection
      These Terms and the relationship between you and Southwest shall be governed by the laws of the State of Texas without
      regard to any conflict of law provisions. You agree to the personal and exclusive jurisdiction of the courts located within
      Dallas, TX. You hereby consent to the exclusive jurisdiction and venue of the State and Federal courts in Dallas, Texas in
      all disputes. You agree and understand that you will not bring against the Southwest Parties any class action lawsuit
      related to your access to, dealings with, or use of the Service.


      Disclaimer of Representations and Warranties
      THE SERVICE IS PROVIDED TO YOU ON AN "AS IS," "AS AVAILABLE," AND "WITH ALL FAULTS" BASIS. NEITHER SOUTHWEST OR ITS
      AFFILIATES NOR ANY OF THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, EMPLOYEES OR AGENTS (COLLECTIVELY, THE
      "SOUTHWEST PARTIES") MAKE ANY REPRESENTATIONS, WARRANTIES OR ENDORSEMENTS OF ANY KIND WHATSOEVER AS TO THE
      INFORMATION, CONTENT OR OTHER SERVICES, WHETHER EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE, OR ARISING FROM
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      INFRINGEMENT, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, QUIET ENJOYMENT AND FREEDOM FROM COMPUTER
      VIRUS OR OTHER TECHNOLOGICALLY HARMFUL MATERIAL. BY ACCESSING OR USING THE SERVICES YOU REPRESENT AND WARRANT
      THAT YOUR ACTIVITIES ARE LAWFUL IN EVERY JURISDICTION WHERE YOU ACCESS OR USE THE SERVICE.

      SOUTHWEST HEREBY DISCLAIMS ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE,
      INCLUDING BUT NOT LIMITED TO ANY WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT AND FITNESS FOR PARTICULAR
      PURPOSE.

      THE FOREGOING DOES NOT AFFECT ANY WARRANTIES WHICH CANNOT BE EXCLUDED OR LIMITED UNDER APPLICABLE LAW.


      Limitations of Our Liability
      TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT SHALL THE SOUTHWEST PARTIES BE LIABLE TO YOU FOR ANY LOSS,
      DAMAGE OR INJURY OF ANY KIND INCLUDING ANY DIRECT, INDIRECT, SPECIAL, INCIDENTAL, EXEMPLARY, CONSEQUENTIAL OR
      PUNITIVE LOSSES OR DAMAGES, OR DAMAGES FOR SYSTEM FAILURE OR MALFUNCTION OR LOSS OF PROFITS, DATA, USE, BUSINESS
      OR GOOD-WILL, ARISING OUT OF OR IN CONNECTION WITH (A) THE SERVICE, (B) THESE TERMS, (C) YOUR USE OF, OR INABILITY TO
      ACCESS OR USE, THE SERVICE OR ANY CONTENT AVAILABLE ON OR THROUGH THE SERVICE, OR (D) A THIRD PARTY’S
      UNAUTHORIZED ACCESS TO YOUR INFORMATION, EVEN IF SUCH DAMAGES WERE FORESEEABLE OR SOUTHWEST HAS BEEN ADVISED
      OF OR SHOULD HAVE KNOWN OF THE POSSIBILITY OF SUCH DAMAGES. IN NO EVENT WILL THE SOUTHWEST PARTIES’ TOTAL
      LIABILITY TO YOU FOR ALL DAMAGES, LOSSES OR CAUSES OF ACTION ARISING OUT OF OR IN CONNECTION WITH THESE TERMS OR
      YOUR USE OF THE SERVICES EXCEED THE GREATER OF (A) THE AMOUNTS, IF ANY, PAID BY YOU TO SOUTHWEST FOR THE SERVICE
      IN THE TWELVE (12) MONTH PERIOD PRECEDING THE EVENT GIVING RISE TO YOUR CLAIM OR (B) FIFTY UNITED STATES DOLLARS
      ($50.00). THE LIMITATIONS SET FORTH IN THIS SECTION SHALL APPLY REGARDLESS OF THE FORM OF ACTION, WHETHER THE
      ASSERTED LIABILITY OR DAMAGES ARE BASED ON CONTRACT, INDEMNIFICATION, TORT, STRICT LIABILITY, STATUTE OR ANY OTHER
      LEGAL OR EQUITABLE THEORY.

      THE FOREGOING DOES NOT AFFECT ANY LIABILITY WHICH CANNOT BE EXCLUDED OR LIMITED UNDER APPLICABLE LAW.


      Waiver of Injunctive or Other Equitable Relief
      YOU AGREE THAT YOU WILL NOT BE PERMITTED TO OBTAIN AN INJUNCTION OR OTHER EQUITABLE RELIEF OF ANY KIND, SUCH AS
      ANY COURT OR OTHER ACTION THAT MAY INTERFERE WITH OR PREVENT THE DEVELOPMENT OR EXPLOITATION OF ANY SITE,
      WEBSITE, APPLICATION, CONTENT, SUBMISSIONS, PRODUCT, SERVICE, OR INTELLECTUAL PROPERTY OWNED, LICENSED, USED OR
      CONTROLLED BY SOUTHWEST OR A LICENSOR OF SOUTHWEST.


      Limited Time to Bring Your Claim
      You agree that regardless of any statute or law to the contrary, any claim or cause of action arising out of, related to or connected with
      the use of the Service must be filed within one (1) year after such claim or cause of action arose or be forever banned.


      Business uses of our Service
      IF YOU ARE USING THE SERVICE ON BEHALF OF A BUSINESS, THAT BUSINESS ACCEPTS THESE TERMS. THE BUSINESS WILL HOLD
      HARMLESS AND INDEMNIFY THE SOUTHWEST PARTIES FROM ANY CLAIM, SUIT OR ACTION ARISING FROM OR RELATED TO THE USE
      OF THE SERVICE OR VIOLATION OF THESE TERMS, INCLUDING ANY LIABILITY OR EXPENSE ARISING FROM CLAIMS, LOSSES,
      DAMAGES, SUITS, JUDGMENTS, LITIGATION COSTS AND ATTORNEYS’ FEES.


      Purchases & Forms of Payment
      Purchases through the Services may be made via the forms of payment on our Purchasing and Refunds page or any applicable
      Additional Terms.

      You agree that (i) any transactions carried out through the Sites will be deemed to take place in the State of Texas, United States of
      America, regardless of the jurisdiction where you may be located or reside, and (ii) any payment in connection with such transactions
      will only be accepted in US dollars. You further agree and acknowledge that any advertising, promotional or marketing information that




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      may be contained in any communications that you may receive as a result of your use of the Sites is only intended to have effect and
      will only be applicable in the United States of America.


      Additional Information
      For additional information and to learn more about Southwest Airlines, please visit our Customer Service Commitment or Contract of
      Carriage pages on southwest.com.


      Patents
      Some technologies, components, or progresses of the Service may be covered by Southwest Airlines Co. patents pending. In addition,
      some components or processes referenced in the Sites may be subject to one or more U.S. Patent Numbers 7,394,900; 7,707,056;
      7,734,493; 7,860,740; 7,848,944; 8,041,036; 8,050,936; 8,452,607; 8,504,402; 8,700,438; 8,788,303; D597,752; D615,779;
      D618,000; D618,473 along with all corresponding foreign counterparts.


      Consent or Approval
      No Southwest consent or approval may be deemed to have been granted by Southwest without being in writing and signed by an officer
      of Southwest.


      Indemnity
      You agree to defend, indemnify and hold harmless the Southwest Parties from and against any and all claims, liabilities,
      damages, losses, costs and expenses (including, reasonable attorneys’ fees and costs) arising out of or in connection with
      any of the following: (i) your breach or alleged breach of these Terms; (ii) your Submissions; (iii) your use of the Service;
      (iv) your violation of any laws, rules, regulations, codes, statutes, ordinances or orders of any governmental or quasi-
      governmental authorities; (v) your violation of the rights of any third party, including any intellectual property right,
      publicity, confidentiality, property or privacy right; or (vi) any misrepresentation made by you. Southwest reserves the
      right to assume, at your expense, the exclusive defense and control of any matter subject to indemnification by you. You
      agree to cooperate with Southwest’s defense of any claim. You will not in any event settle any claim without the prior
      written consent of Southwest.


      Severability; Interpretation; Assignment
      If any provision of these Terms, or any Additional Terms, is for any reason deemed invalid, unlawful, void, or unenforceable, then that
      provision will be deemed severable from these Terms or the Additional Terms, and the invalidity of the provision will not affect the
      validity or enforceability of the remainder of these Terms or the applicable Additional Terms. You hereby waive any applicable statutory
      and common law that may permit a contract to be construed against its drafter. The summaries of provisions and section headings are
      provided for convenience only and shall not limit the full Terms. Southwest may assign its rights and obligations under these Terms and
      any applicable Additional Terms, in whole or in part, to any party at any time without any notice. These Terms and any applicable
      Additional Terms may not be assigned by you, and you may not delegate your duties under them, without the prior written consent of
      an officer of Southwest.


      Investigations; Cooperation with Law Enforcement
      Southwest reserves the right to investigate and prosecute any suspected breaches of these Terms or the Service. Southwest may
      disclose any information as necessary to satisfy any law, regulation, legal process or governmental request.


      Complete Agreement; No Waiver
      These Terms, and any applicable Additional Terms, reflect our complete agreement regarding the Service and supersede any prior
      agreements, representations, warranties, assurances or discussion related to the Service. Except as expressly set forth in these Terms
      or any applicable Additional Terms, (i) no failure or delay by you or Southwest in exercising any of rights, powers, or remedies under
      will operate as a waiver of that or any other right, power, or remedy, and (ii) no waiver or modification of any term of these Terms or
      any applicable Additional Terms will be effective unless in writing and signed by the party against whom the waiver or modification is
      sought to be enforced.




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                                                                                             Southwest Business                         Lost and Found   

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                             About




   Making travel better
   Learn more about one of the fastest growing companies in the world.




                                               100 000 000
                                                    Average daily search queries




                                              14,057,075,465
                                              mi traveled by Kiwi.com travelers in 2019




https://www.kiwi.com/us/pages/content/about                                                                       1/6


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                                                40 000
                                              Average seats sold per day




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                             About




             We need talented, passionate people to shake up

                                              the travel industry
                      Our goal is to be the best in the travel industry. Would you like to join us?



                                                  Browse Job Vacancies




                                                     Kiwi.com s.r.o.

                                                     Lazaretní 925/9
                                                       615 00 Brno
                                                     Czech Republic


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                             About

                                                     2,600+ Crew members
                                                     Branch offices in nine countries
                                                     Multiple industry award winner




                                                        Registration number

                                                               29352886
                                                      registered at the Regional
                                                      Court in Brno, file C 74565




                                                            Kiwi.com, Inc.

                                              1221 Brickell Avenue, Suite 1115 (11th floor)
                                                         Miami, Florida 33131
                                                                  USA
                                                             +12028444159




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        EXHIBIT A-5




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                            About




      One of the fastest growing companies
      in the world
      By travelers, for travelers




                                                €1.3Bn
                                                Turnover in 2019




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                              About


                                                        Crew members




                                                     40 000
                                                  Average seats sold per day




                       2011

                       While struggling to book cheap flights for a holiday, Oliver Dlouhý has an
                       idea that could change the world. He finds Jozef Képesi to help develop
                       their own flight search engine.



                       JANUARY 201 2

                       Czech entrepreneur Jiří Hlavenka invests in the idea.




                       APRIL 2012

                       Skypicker is founded and development starts on our unique flight combination algorithm.




                       JANUARY 2014

                       We acquire WhichAirline, a flight search engine, boosting users and revenue.




                       JANUARY 201 5
https://www.kiwi.com/us/pages/content/company                                                                       2/9


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                            About




                       FEBRUARY 201 5

                       Ondrej Tomek, an e-commerce entrepreneur, values the company at €8.3m with his investment.




                       JUNE 2017

                       Kiwi.com and Amadeus sign the Kiwideus contract creating the largest local flights database in
                       the world.




                       OCTOBER 2017

                       Kiwi.com named the fastest-growing technology company in Central Europe by Deloitte’s
                       Technology Fast 50 Central Europe in the Rising Star category.




                       DECEMBER 2017

                       Revenue grows from 330 mil in 2016 to 700 mil Euro in 2017.




                       FEBRUARY 201 8

                       We implement 4 on-ground carriers into our new multimodal search.




                       JUNE 2018

                       Kiwi.com named best Czech startup by Forbes Magazine second year in a row.




                       NOVEMBER 2018

                       Kiwi.com launched Tequila at the Phocuswright conference.




                       JUNE 2019

                       General Atlantic invests in Kiwi.com



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                            About


                       NOVEMBER 2019

                       Kiwi.com becomes the first Virtual Global Supercarrier




                                                     The customer service is excellent, I will be using this company




                                                Awesome support! Fast and professional communication — totally
                                                                       recommended.




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                            About




                                                Kiwi.com is always available. I know I'll be using them for every future fligh
                                                                                              Tomas!




                                                                                           Francisco Delarocha
                                                                                           The United States




                                                       Reliable and helpful




                                                    Real customer service. Polite, detailed, and a sense of someone who c




                                                            The customer service is excellent, I will be using this company




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                            About




                                                      Awesome support! Fast and professional communication — totally
                                                                             recommended.




                                                Kiwi.com is always available. I know I'll be using them for every future fligh
                                                                                              Tomas!




                                                                                           Francisco Delarocha
                                                                                           The United States




                                                       Reliable and helpful




                                                    Real customer service. Polite, detailed, and a sense of someone who c




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                            About




                                                       The customer service is excellent, I will be using this company




                                                 Awesome support! Fast and professional communication — totally
                                                                        recommended.




                  We’re growing fast, and we’d love for you to join
                                        us

                                                Browse Job Vacancies




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                            About




                             We believe in talented individuals

                                                        Meet the team




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https://www.kiwi.com/us/pages/content/company                                                          9/9


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        EXHIBIT A-6




                                                                                Appx. 62
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    Southwest Airlines Co.
    James Sheppard
    Legal Department – Senior Attorney
    2702 Love Field Drive
    Dallas, TX 75235
    James.Sheppard@wnco.com




                                                December 11, 2020


VIA CMRR (7020-1290-0001-8229-4045)

Kiwi.com, Inc.
c/o its Registered Agent
Northwest St Registered Agent Service, Inc.
8 The Green, Suite B
Dover, Delaware 19901

    Re: Cease & Desist Letter Regarding Kiwi.com’s Trademark Infringement Unauthorized
        Website Scraping of Southwest Airlines’s Website

To Whom it May Concern:

        This is a letter demanding that Kiwi.com, Inc. (“Kiwi.com”) immediately cease and desist
from its unauthorized web scraping of Southwest.com, numerous violations of the Terms and
Conditions of Southwest.com (“Southwest Terms”), and its trademark infringement of
Southwest’s Heart logo. As you may know, Southwest’s Legal Department previously sent a
series of cease and desist letters to Kiwi.com regarding this unauthorized activity, yet Kiwi.com
has failed to comply with our demands. We understand that General Atlantic (or its affiliate entity)
recently invested in Kiwi.com and want to provide notice to that group, as well, to encourage
compliance and before Southwest takes further legal action.

           There Is No Dispute Kiwi.com Has Improperly Accessed Southwest.com in Order to
           Sell More than 140,000 Southwest Flights in the Past Two Years

       As explained in our prior cease and desist letters, Southwest prohibits websites like
Kiwi.com from selling its fares or displaying its trademark logos. There is no dispute that
Kiwi.com is violating the Southwest Terms by scraping Southwest.com (“Southwest Website”)
and selling tickets because, earlier this year, a Kiwi.com account manager sent a “Monthly
Report”1 to Southwest showing that Kiwi.com sold more than 109,000 Southwest flights in 2019
and over 38,000 flights in the first half of 2020.

        The Kiwi.com website also shows that it is improperly displaying Southwest’s fares and
our trademark logos in order to induce these sales.


1
    This monthly report is attached as Exhibit A.




                                                                                                       Appx. 63
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        Southwest has an unique distribution model in the United States where it maintains the
exclusive distribution rights to sell Southwest flights to the general public through the
Southwest.com website. Put differently, Southwest has never authorized any third-party website
(or online travel agencies, such as Kiwi.com) to display or sell its fares.

           The Southwest Terms Expressly Prohibit Kiwi.com’s Improper Scraping of the
           Southwest Website and Related Sale of Southwest Flights

        As we explained in our prior letters to Kiwi.com, the Southwest Terms explain that by
accessing Southwest.com, users agree to be legally bound by and act in accordance with the
Southwest Terms.2 Because Southwest is the exclusive online distribution channel for its airline
flights to the general public, the Southwest Terms expressly prohibit the following list of
“Restricted Activities” on our site:

                   “[Y]ou will not use the [Southwest Website] for or in connection with
                    offering any third party product or service not authorized or approved by
                    Southwest;”

                   Southwest prohibits the use of the Southwest Website “for any commercial
                    purpose, with the exception of authorized Southwest travel
                    agents/agencies;”

                   Users shall not “harvest any information from the [Southwest Website].”

                   Southwest does not permit scraping of the Southwest Website and
                    specifically explains in the Southwest Terms that it prohibits the “use [of]

2
    A full copy of the Southwest Terms are attached as Exhibit B.

                                                                                                   Page 2




                                                                                                            Appx. 64
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                 any deep-link, page-scrape, robot, crawl, index, spider, click spam, macro
                 programs, Internet agent, or other automatic device, program, algorithm or
                 methodology which does the same things, to use, access, copy, acquire
                 information, generate impressions or clicks, input information, store
                 information, search, generate searches, or monitor any portion of the
                 Service or Company information;”

        Kiwi.com cannot claim ignorance of the Southwest Terms, the fact that Southwest does
not allow scraping of the Southwest Website, or that Kiwi.com has no authorization to access the
Southwest Website. This is because our prior letters demanded that Kiwi.com cease and desist
such scraping activities and provided copies of the Southwest Terms, as well.3 More recently in
July 2020, a Kiwi.com manager (whose title is “Business Development Manager – Americas”)
contacted Southwest business leadership to “explore further cooperation” and attached a sales
report showing Southwest ticket sales on Kiwi.com. In response, Southwest (yet again) explained
to Kiwi.com in a telephone call that it prohibited scraping of the Southwest Website and also did
not approve use of its registered trademarks.

        In sum, because Southwest has never granted Kiwi.com with access or permission to
publish its flight or fare data, there are numerous violations of the Southwest Terms that include:
(1) using the Southwest Website for or in connection with offering any third-party product or
service; and/or (2) using automated tools or robots to obtain fare or pricing information from the
Southwest Website. Further, in addition to Kiwi.com’s breach of the Southwest Terms, its
continued unauthorized access of the Southwest Website also gives rise to claims for violations of
computer access statutes under federal law, 18 U.S.C. § 1030, and Texas state law, Tex. Pen. Code
§ 33.02. See, e.g., Southwest Airlines Co. v. Farechase, Inc., 318 F. Supp. 2d 435 (N.D. Tex.
2004).

        Kiwi.com is also Knowingly Committing Trademark Infringement by its Continued
        Display of Southwest’s Famous “Heart” Logo.

        Despite repeated requests, Kiwi.com has refused to cease its infringing and harmful misuse
of Southwest’s registered trademarks. As explained before, Southwest is the owner of number
federal registered trademark registrations that include, by way of example, some of the following:

    Trademark        Date                 Services                                                   No.


    SOUTHWEST Registered:                 (Int’l Class: 39)                                          Reg. No.:
    AIRLINES
              Dec. 8, 1992                                                                           1,738,670


3
 See, e.g., (1) August 2018 letter from Southwest Legal to Kiwi; (2) September 2018 letter from Southwest Legal to
Kiwi; and (3) August 2019 letter from Southwest Legal to Kiwi.

                                                                                                           Page 3




                                                                                                                     Appx. 65
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    Trademark           Date                 Services                                                    No.


                                             transportation services; namely, transportation
                                             of cargo and passengers by air


    SOUTHWEST Registered:                    (Int’l Class: 39)                                           Reg. No.:

                        Aug. 15, 2006        Transportation of passengers and/or goods by                3,129,737
                                             air


                        Registered           (Int’l Class: 35)                                           Reg. No.:
                        September 8,         providing electronic on-line information
                        2015                 services, namely, the provision of                          4,806,962
                        Int'l Class: 35      advertisements and business information in
                        First Use:           respect of travel, tourism and entertainment
                        September 8,         through a computer database; advertising
                        2014                 services and promotion services by data
                        Filed: October       communications for service providers in the
                        1, 2014              travel industry; on-line direct electronic
                                             marketing services and advertising services for
                                             service providers in the travel industry;
                                             providing online information to others, namely,
                                             advertisements and solicitations



        Along with the registered trademark for the “Heart” logo mentioned above, Southwest has
additional registered trademarks for its “Heart” logo in the context of printed matters, making
reservations and booking air transportation, software for delivery of travel information, providing
information about air travel via the internet, and ticket reservation and booking services
(collectively with the chart above, the “Southwest Marks”).4 The Southwest Marks provide
Southwest with the exclusive right to use the registered marks in connection with air transportation
and other travel services, as well as the right to exclude third parties from unauthorized use of the
marks.

        As shown in the Kiwi.com screen shot shown above on page 2, along with examples in our
prior letters, Kiwi’s display of the “Heart” logo is an infringing use of Southwest’s famous “Heart”
trademark, as well as the “Southwest Airlines” mark. It is clear, then, that Kiwi.com’s
unauthorized use of our famous “Heart” logo is a willful infringement of the Southwest

4
    This list includes U.S. Federal Registration Nos. 4,768,717; 4,720,322; 4,723,791; 4,723,789; 4,892,223.

                                                                                                               Page 4




                                                                                                                        Appx. 66
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Registrations and violation of trademark laws. Because Kiwi.com has used our famous “Heart”
logo in violation of Southwest’s intellectual property rights, this letter further demands that
Kiwi.com (and any related companies or contractors) immediately cease and desist from all further
unauthorized use of the Southwest Marks.

         Kiwi Can Confirm its Compliance or Face Further Legal Action

        If Kiwi.com continues its non-compliance with Southwest’s demands in this letter, it is
important to explain that Southwest has a long history of successful litigation in Texas federal
court that ended websites’ similar unlawful conduct with respect to violations of the Southwest
Terms, unauthorized access of the Southwest Website, and infringement of the Southwest Marks.
See, e.g., Southwest Airlines Co. v. Farechase, Inc., 318 F. Supp. 2d 435 (N.D. Tex. 2004);
Southwest Airlines Co. v. QL2 Software Inc., Case No. 3:05-CV-1558 (N.D. Tex.); Southwest
Airlines Co. v. BoardFirst, L.L.C., Case No. 3:06-CV-0891, 2007 WL 4823761 (N.D. Tex. Sept.
2007); Southwest Airlines Co. v. Checkinsooner.com, LLC, Case No. 3:10-CV-01512 (N.D. Tex.);
Southwest Airlines Co. v. Infare Solutions A/S, Case No. 3:10-CV-01674 (N.D. Tex.); Southwest
Airlines Co. v. SW Software Development, LLC, Case No. 3:12-CV-00591 (N.D. Tex.); and
Southwest Airlines v. Roundpipe LLC, et al., 375 F. Supp. 3d 687 (N.D. Tex. 2019).5 The venue
for each of these lawsuits, of course, was a federal court in Dallas, Texas due to the forum selection
prescribed in the Southwest Terms. There are also sufficient facts here to support jurisdiction over
Kiwi.com because, as Kiwi.com is no doubt aware given a recent lawsuit filed against it, a federal
judge ruled in a similar lawsuit that there was jurisdiction over a co-defendant website. See
easyGroup Ltd. v. Skyscanner, Inc., et al., Case No. 20-20062, 2020 WL 5500695 (S.D. Fla. Sept.
11, 2020).

        Please confirm on or before Tuesday, December 22, 2020 that Kiwi.com – including any
third parties of affiliated websites – has ceased the unauthorized activity described in this letter
and our prior letters. Should Kiwi.com fail to provide such confirmation, Southwest will be forced
to take further legal action.

         Thank you for your attention to this matter. We look forward to your response.




5
  In its series of federal lawsuits in Texas, Southwest raised a number of additional claims that are not referenced in
this particular letter – which is not intended to be an exhaustive list of potential causes of action against Kiwi.



                                                                                                               Page 5




                                                                                                                          Appx. 67
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cc:   Kiwi.com, Inc.

      c/o its Registered Agent
      Northwest St Registered Agent Service, LLC
      7901 4th St. N, Suite 300
      St. Petersburg, Florida 33702
      (via CMRR 7020-1290-0001-8229-4014)

      General Atlantic LLC
      c/o Legal Department
      55 East 52nd Street
      New York, NY 10055
      (via CMRR 7020-1290-0001-8229-4038 & via email drosenstein@generalatlantic.com)

      Oliver Dlouhy (via email: oliver.dlouhy@kiwi.com)
      David Liskutin (via email: david.liskutin@kiwi.com& david.liskutin@gmail.com)
      Jessie Cai (via email: jcai@generalatlantic.com)

      Ryan Green (Southwest – Chief Marketing Officer)
      Mark Shaw (Southwest – Chief Legal Officer)




                                                                                      Page 6




                                                                                               Appx. 68
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                       Exhibit A




                                                                                Appx. 69
          Case
 Monthly report        3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                   Page 70 of 571 PageID 242
                                                                                                                                              07/14/2020




                                        MONTHLY REPORT

AIRLINE                    ACCOUNT MANAGER                    BOOKING CHANNEL NAME                  PARTNER                             MARKET

WN                         All                                All                                   All                                 All




                                                                     Revenue development

 Month    2019 (€)          2020 (€)         MoM        YoY
                                                                        1.2M
 Jan             804,827          906,044    -16.23 %   12.58 %
 Feb             680,171          842,007     -7.07 %   23.79 %
 Mar        1,190,258             290,596    -65.49 %   -75.59 %
                                                                        900k
 Apr             928,964          142,024    -51.13 %   -84.71 %
 May        1,058,779             413,752    191.32 %   -60.92 %
 Jun             875,111          822,255     98.73 %    -6.04 %
                                                                        600k
 Jul             658,733
 Aug             816,764
 Sep             750,182
                                                                        300k
 Oct             793,996
 Nov             903,960
 Dec        1,081,598
                                                                              0
 Sum       10,543,342            3,416,679                                         Jan        Feb         Mar   Apr   May   Jun   Jul         Aug   Sep   Oct   Nov   Dec
                                                                                                                              Month

                                                                                   2019 (€)          2020 (€)




                                                                     Seat sales development

 Month    2019              2020             MoM        YoY
 Jan               8,785            9,963     -9.98 %    13.41 %
                                                                        12k
 Feb               7,205            8,825    -11.42 %    22.48 %
 Mar              12,870            3,817    -56.75 %   -70.34 %
 Apr               9,214            1,823    -52.24 %   -80.21 %
 May              10,064            5,421    197.37 %   -46.13 %
                                                                         8k
 Jun               8,035            8,365     54.31 %     4.11 %
 Jul               6,874
 Aug               9,214
 Sep               7,941                                                 4k
 Oct               8,171
 Nov               9,641
 Dec              11,068
 Sum             109,082           38,214                                 0
                                                                                  Jan     Feb         Mar       Apr   May   Jun   Jul         Aug   Sep   Oct   Nov   Dec
                                                                                                                              Month

                                                                                  2019        2020




                                                                                                                                                                 Page 1/2

                                                                                                                                                                 Appx. 70
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                      MONTHLY REPORT



                   TOP 10 segments by revenue                                                                                      TOP 10 segments by seats

                   YTD                                                Last Month                                             YTD                               Last Month

Segment        Revenue (€)      Seats          Segment                   Revenue (€)        Seats          Segment       Revenue (€) Seats         Segment      Revenue (€) Seats
LAX - LAS              26,442            460   ATL - LAX                        11,598              59     LAX - LAS         26,442          460   LGA - ATL        10,686        117
LAS - LAX              26,321            411   LGA - ATL                        10,686           117       LAS - LAX         26,321          411   ATL - LGA         7,816          98
LAX - DEN              22,552            288   ATL - LGA                           7,816            98     HNL - OGG         14,779          357   LAX - LAS         5,393          81
LGA - ATL              22,516            276   DEN - LAX                           7,781            72     OGG - HNL         12,012          295   DEN - LAX         7,781          72
ATL - LAX              22,071            152   LAX - DEN                           7,420            67     LAX - DEN         22,552          288   LAS - LAX         4,904          71
LAS - SFO              21,464            260   DEN - LGA                           6,561            53     ATL - LGA         21,191          281   LAX - DEN         7,420          67
ATL - LGA              21,191            281   LAX - ATL                           6,324            43     LGA - ATL         22,516          276   LGA - MDW         5,784          67
LGA - DEN              17,959            163   LGA - DEN                           6,176            58     LAS - SFO         21,464          260   ATL - LAX        11,598          59
SFO - LAS              17,869            242   MCO - SJU                           5,975            40     HNL - LIH         10,220          249   LGA - DEN         6,176          58
DEN - LAX              17,265            203   LGA - MDW                           5,784            67     HNL - KOA         10,343          245   CLT - BWI         3,757          57




                                                                       TOP 10 passengers nationalities


                   YTD                                                                               YTD                                                       Last Month

  Nationality Revenue (€)        Seats                                                                                                              Nationality Revenue (€)     Seats
                                                               3.0M
  US                2,541,447       28,118                               2.7M                                                                       US               736,557      7,492
  CN                   77,135            792                                                                                                        RU                  7,121        65
  MX                   59,899            690                                                                                                        PR                  6,558        58
                                                               2.0M
                                                 Revenue (€)




  GB                   54,973            584                                                                                                        MX                  6,328        69
  FR                   50,459            568                                                                                                        CN                  5,884        60
  IN                   41,335            485                                                                                                        QA                  4,357        50
  RU                   40,474            413                   1.0M                                                                                 IN                  4,202        41
  PR                   38,870            401                                                                                                        GB                  2,203        21
  DE                   34,505            470                                                                                                        HT                  2,119        23
  CA                   33,086            525                                    79k        63k   56k     51k    42k    42k   41k      35k   33k     UA                  2,108        17
                                                                 0
                                                                         US     CN         MX    GB        FR   IN     RU    PR       DE    CA
                                                                                                         Nationality



The contents of this document (including any attachments) is a confidential information (the “Information”) which is and shall remain a property of the company Kiwi.com s.r.o.
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                       Exhibit B




                                                                                Appx. 72
Southwest Airlines - Terms & Conditions                                                                                                              Page 1 of 5
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                                                                                                                                                                     Español   


                                                                                      FLIGHT | HOTEL | CAR | VACATIONS                SPECIAL OFFERS     RAPID REWARDS ®
                                                                                                                                                                               



      Terms & Conditions
      Last modified: April 4, 2017




      These Terms & Conditions (“Terms”) set forth a legally binding agreement between you and Southwest Airlines Co. (“Southwest,” “we,”
      or “us”), and govern your use of and access to www.southwest.com, www.swabiz.com, and any other websites, mobile and other
      applications, or services that post a link to these Terms (each individually a “Site” and collectively, the “Sites”) and the information,
      features, content, and services that we own, control, or make available through the Sites (collectively, with the Sites, the “Service”)
      whether as a guest or a registered user.

      By using the Service or by clicking accept or agree to these Terms when this option is made available to you, you accept these Terms
      and the Service’s Privacy Policy and consent to the collection and use of your data in accordance with the Privacy Policy. The Terms
      may be revised and updated by us from time to time without notice to you. All changes are effective immediately when we post them.
      Your continued use of the Sites is your acceptance of the revised and updated Terms. You can review the most current version of the
      Terms & Conditions agreement at any time at http://www southwest com/html/about-southwest/terms-and-conditions/index html. If
      you do not agree to any of these Terms, please do not use or access our Service.

      In some instances, both these Terms and separate terms and conditions will apply, including without limitation, transportation of
      passengers, baggage, and cargo by Southwest Airlines® and its affiliates is subject to the terms & conditions contained in Southwest's
      Contract of Carriage terms and conditions printed on or in a ticket jacket or an e-Ticket receipt, in any published schedule, or any
      other separate terms (collectively “Additional Terms”). By using the Service, purchasing a ticket, or accepting transportation, you agrees
      to be bound by such Additional Terms. To the extent there is a conflict between these Terms and any Additional Terms, the Additional
      Terms will control unless they expressly state otherwise.

      The Service is offered and available to individuals who are 13 years of age or older. By using the Service, you represent and warrant
      that you are 13 years of age or older. If you do not meet this requirement, you must not access or use the Service and should not send
      any information about yourself to us through the Service.


      Ownership of Company Information
      Information and materials concerning Southwest and its products and services, and similar items from our licensors and other third
      parties, including flight schedules, routes, fares, text, graphics, button icons, layout, databases, articles, posts, text, data, files, images,
      scripts, designs, instructions, illustrations, photographs, sounds, pictures, advertising copy, URLs, technology, software, interactive
      features, the “look and feel” of the Sites, audio and video clips, digital downloads, data compilations (including customer and Rapid
      Rewards® information), the compilation, assembly, and arrangement of the materials of the Sites, all copyrightable materials,
      trademarks, logos, trade names, trade dress, service marks, and trade identities of various parties, including those of Southwest, and
      other forms of intellectual property, and information regarding the status of Southwest flights, etc. is referred to as "Company
      Information." All right, title, and interest in and to the Service and the Company Information is the property of Southwest or our
      licensors or certain other third parties, and is protected by U S. and international copyright, trademark, trade dress, patent and/or other
      intellectual property and unfair competition rights and laws to the fullest extent possible. Southwest owns all copyrights, trademarks,
      service marks, and trade names related to our Company Information. All Company Information is proprietary to Southwest Airlines.

      Subject to your strict compliance with these Terms and the Additional Terms, Southwest grants you a limited, non-exclusive, revocable,
      non-assignable, personal, and non-transferable license to download, display, view, use, play the Company Information on a personal
      computer, browser, laptop, tablet, mobile phone or other Internet-enabled device (each, a “Device”) and/or print one copy of the
      Company Information as it is displayed to you, in each case for your personal, non-commercial use only.

      All rights not expressly granted to you are reserved by Southwest and its licensors and other third parties. No right or license may be
      construed, under any legal theory, by implication, estoppel, industry custom, or otherwise. Any unauthorized use of any Confidential
      Information or the Service for any purpose is prohibited.


      Accessing the Service
      We reserve the right to withdraw or amend the Service, and any service or material we provide on the Service, in our sole discretion
      without notice. We will not be liable if for any reason all or any part of the Service is unavailable at any time or for any period. From
      time to time, we may restrict access to some parts of the Service, or the entire Service, to you.

      You are responsible for:


            Making all arrangements necessary for you to have access to the Service.

            Ensuring that all persons who access the Service through your internet connection are aware of these Terms and comply with
            them.

            Ensuring that using our Services on mobile devices does not distract you or prevent you from obeying traffic or safety laws.

      To access the Service or some of the resources it offers, you may be asked to provide certain registration details or other information. It
      is a condition of your use of the Service that all the information you provide on the Service is correct, current and complete. You agree
      that all information you provide to register with this Service or otherwise, including but not limited to through the use of any interactive
      features on the Service, is governed by our Privacy , and you consent to all actions we take with respect to your information consistent
      with our Privacy Policy.

      If you choose, or are provided with, a user name, password or any other piece of information as part of our security procedures, you
      must treat such information as confidential, and you must not disclose it to any other person or entity. You also acknowledge that your
      account is personal to you and agree not to provide any other person with access to this Service or portions of it using your user name,
      password or other security information. You agree to notify us immediately of any unauthorized access to or use of your user name or
      password or any other breach of security. You also agree to ensure that you exit from your account at the end of each session. You
      should use particular caution when accessing your account from a public or shared computer so that others are not able to view or
      record your password or other personal information. Similarly, you are responsible for protecting your confirmation codes, e-ticket
      numbers, and other record locators from unauthorized users.


      Southwest may immediately suspend or terminate the availability of the Service and Company Information, in whole or in part, to any
      individual, group, or everyone, for any reason, in Southwest’ sole discretion, and without advance notice or liability. Upon suspension or
      termination of your access to the Service, or upon notice from Southwest, all rights granted to you under these Terms or any Additional
      Terms will cease immediately, and you agree that you will immediately discontinue use of the Service. The provisions of these Terms
      and any applicable Additional Terms, which by their nature should survive your suspension or termination, will survive.


      Southwest, and its service providers are not liable for information that is inaccurate due to technical defects in software used on the
      Sites or service providers websites, whether induced by their respective systems or by software provided by third parties.


      Restrictions and Prohibited Activities




https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html                                                                                        12/11/2020
                                                                                                                                                                               Appx. 73
Southwest Airlines - Terms & Conditions                                                                                                         Page 2 of 5
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      You agree that you will not:

      (i) copy, display, distribute, download, license, modify, publish, re-post, reproduce, reuse, sell, transmit, or use the Service or
      Company Information to create a derivative work
      (ii) use the Service or Company Information for any commercial purpose, with the exception of authorized Southwest travel
      agents/agencies;
      (iii) use the Service or Company Information for any political purpose;
      (iv) engage in any activity in connection with the Service or Company Information that is libelous, slanderous, defamatory, fraudulent,
      unlawful, false or misleading, harmful, tortious, vulgar, invasive of another’s privacy, sexually explicit, offensive, obscene, profane,
      violent, threatening, harassing, abusive, hateful, or otherwise inappropriate with respect to race, gender, sexuality, ethnicity, or other
      intrinsic characteristic;
      (v) harvest any information from the Service;
      (vi) copy, derive, edit, translate, decompile, reverse engineer, modify, use, or reproduced any code or source relating to the Service
      including without limitation, any service or product Southwest offers.;
      (vii) modify, re-render, frame, mirror, truncate, add to, inject, filter or change the order of the information contained on any page of
      the Service, including, without limitation, by any way of reproducing any web pages or Company Information on any other website
      without our express written permission;
      (viii) interfere with the proper operation of or any security measure used by the Service;
      (ix) infringe any intellectual property or other right of any third party;
      (x) use the Company Information in a manner that suggests an unauthorized association or is beyond the scope of the limited license
      granted to you;
      (xi) use a false email address or other identifying information, impersonate or misrepresent any person or entity, or your affiliation
      with any person or entity, or misrepresent, mislead, or omit as to the origin or source of any material
      (xii) use the Service or any Company Information to make any speculative, fraudulent, or false reservation or any reservation in
      anticipation of demand;
      (xiii) cause to appear any pop-up, pop-under, exit windows, expanding buttons, banners advertisement, or anything else which
      minimizes, covers, or otherwise inhibits the full display of the Service;
      (xiv) use any deep-link, page-scrape, robot, crawl, index, spider, click spam, macro programs, Internet agent, or other automatic
      device, program, algorithm or methodology which does the same things, to use, access, copy, acquire information, generate
      impressions or clicks, input information, store information, search, generate searches, or monitor any portion of the Service or Company
      information;
      (xv) use the Service in any way which depletes web infrastructural resources, slows the transferring or loading of any web page, or
      interferes with the normal operation of the Sites;
      (xvi) upload or transmit to the Service any device, software, program, or file that may damage the operation of any computer or the
      Service, including without limitation, viruses or corrupt files;
      (xvii) disguise the origin of information transmitted to, from, or through the Service;
      (xviii) circumvent any measures implemented by Southwest aimed at preventing violations of the Terms. You may not violate the
      restrictions in any robot exclusion header; or
      (xix) otherwise violate these Terms or any applicable Additional Terms.

      You also agree you will not use the Service for or in connection with offering any third party product or service not authorized or
      approved by Southwest. For example, online check-in service providers may not use Southwest web pages to check-in customers online
      or attempt to obtain for them a boarding pass in any certain boarding group.

      When you use the Service or Company Information for an authorized purpose, you must include all proprietary notices without
      changing, hiding or deleting them.

      You may not engage in any conduct that is, or that Southwest deems to be, in violation of the Terms.


      Your Privacy
      The Service may allow you to submit content to us via the Service, or by means other than the Service (such as via our social media
      pages), including, but not limited to hotel reviews, ratings, photos, video, music, questions, suggestions, ideas, postings, feedback,
      biographic information, your appearance, audio tapes, digital files, images, performances, and comments (“Submissions”). All
      Submissions must be posted by someone 13 years of age or older. Terms related to your Submissions are available in our User Content
      and Conduct Policy. You agree that your Submissions will comply with our User Content and Conduct Policy.


      License to Your Content
      You grant Southwest and its affiliates, subsidiaries, agents, licensees, successors, and assigns a nonexclusive, unrestricted,
      unconditional, unlimited, worldwide, royalty-free, assignable, fully paid-up, perpetual, transferable, irrevocable and fully sublicensable
      right to (a) use, host, store, copy, record, reproduce, edit, enhance, improve, modify, adapt, translate, create derivative works of the
      Submissions, in whole or in part, alone or in any manner and matter or in combination with any other material, in any format or media,
      whether now existing or hereafter devised, including, but not limited to, text, data, images, photographs, illustrations, animation and
      graphics, video, audio, and all formats of computer readable electronic, magnetic, digital, laser, or optical based media, and to
      advertise, market, and promote the Submissions, (b) publicly display, publicly perform, distribute (directly or indirectly), disclose,
      transmit, publish, or broadcast the Submissions throughout the world in any media, now known or hereafter devised, and with any
      technology or devices now known or hereafter developed; and (c) use the screen name, your name, voice, likeness, and biographic
      information, whether in original or modified form, that you submit in connection with a Submission. You also irrevocably consent to our
      use and association of your name in connection with your Submissions and derivatives thereof. You agree to waive any moral rights that
      you may have in any Submissions, even if it is altered or changed in a manner not agreeable to you. To the extent not waivable, you
      irrevocably agree not to exercise such rights in a manner that interferes with any exercise of the granted rights. You understand that
      you will not receive any fees, sums, consideration, or remuneration for any of the rights granted in this Section. Our receipt of your
      Submissions is not an admission of their novelty, priority, or originality, and it does not impair our right to contest existing or future
      intellectual property rights relating to your Submissions. If you submit feedback or suggestions about our Service, we may use your
      feedback or suggestions without obligation to you.

      You further grant Southwest the right to pursue at law any person or entity that violates your or Southwest's rights in the Submissions
      by a breach of these Terms. You acknowledge and agree that Submissions are not confidential.

      You are fully responsible for the content of your Submissions. We take no responsibility and assume no liability for any Submissions
      posted or submitted.


      Intellectual Property Rights
      Southwest respects the intellectual property of others, and expects those who use the Service to do the same. It is our policy, in
      appropriate circumstances and at our discretion, to disable and/or terminate the accounts of individuals who may infringe or repeatedly
      infringe the copyrights or other intellectual property rights of Southwest and/or others.

      Southwest's policies with respect to claims by third parties that the content of the Service, including the content of any Submissions,
      infringes the copyrights owned by said third parties can be found in our Copyright Complaint Policy.


      Contacting Southwest Airlines
      For information on how to contact Southwest Airlines visit our Contact Us page.


      Third-Party Content and websites; Advertisements
      The Service may contain or may interact with third party content that is not owned, controlled or operated by Southwest (collectively,
      “Third-Party Services”). We may also host our content on Third-Party Services. Southwest neither endorses nor controls such Third-
      Party Services, AND YOU ACKNOWLEDGE AND AGREE THAT WE ARE NOT RESPONSIBLE OR LIABLE FOR THE INFORMATION, CONTENT,
      PRODUCTS, OR SERVICES ON OR AVAILABLE FROM SUCH THIRD-PARTY SERVICES, OR FOR THE RESULTS TO BE OBTAINED FROM
      USING THEM. If you choose to access any such Third Party Services, you do so at your own risk. If you navigate away from the Service
      by clicking on an unaffiliated website link, you do so at your own risk and you should be aware that these Terms no longer govern. You
      should review the applicable terms and policies, including privacy and data gathering practices, of any website to which you navigate
      from the Service or relating to any applications you use or install from another website.




https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html                                                                     12/11/2020
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      Dealings with Third Parties
      Any interactions, transactions, and other dealings that you have with any third parties found on or through the Service are solely
      between you and the third party. YOU HEREBY AGREE TO INDEMNIFY SOUTHWEST AGAINST ALL CLAIMS, INJURY AND/OR DAMAGES
      INCLUDING ATTORNEYS’ FEES THAT ARISE OUT OF YOUR USE OF ANY THIRD-PARTY SERVICE, INCLUDING FROM ANY MATERIAL THAT
      YOU POST ON ANY FORUM OR SOCIAL NETWORKING WEBSITE IN CONNECTION WITH US AND/OR ANY OTHER CLAIM RELATED TO
      YOUR USE OF SOCIAL MEDIA.


      Wireless Features and Communications
      The Service may offer features that are available to you via your wireless Device including the ability to access the Service’s features,
      upload content to the Service, and receive messages from the Service (including email notifications) (collectively, “Wireless Features”).
      By using the Service, you agree that Southwest may change, alter, or modify the settings or configurations on your Device in order to
      allow for or optimize your use of the Service. You agree that as to the Wireless Features for which you are registered for, we may send
      communications via such features or apps to your wireless Device regarding us or other parties. Further, we may collect information
      related to your use of the Wireless Features. If you have registered via the Service for Wireless Features, then you agree to notify
      Southwest of any changes to your wireless contact information (including phone number) and update your accounts on the Service to
      reflect the changes. If the Service includes push notifications or other mobile communication capability, you hereby approve our
      delivery of electronic communications directly to your mobile Device. These notifications, including badge, alert or pop-up messages,
      may be delivered to your Device even when it is running in the background. You may have the ability, and it is your responsibility, to
      control the notifications you do, or do not, receive via your Device through your Device settings. Standard message, data and other
      fees may be charged by your carrier, and carriers may deduct charges from pre-paid amounts or data allowances, for which you are
      responsible. Your carrier may prohibit or restrict certain Wireless Features and certain Wireless Features may be incompatible with your
      carrier or wireless Device. Contact your carrier with questions regarding these issues.


      Location-Based Features
      If you have enabled GPS, geo-location or other location-based features on any Southwest mobile app(s) or feature(s), you acknowledge
      that your Device location will be tracked and may be shared with others consistent with the Privacy Policy. Some mobile app(s) or
      feature(s) allow for you to disable location-based features or manage preferences related to them. You can also uninstall any Southwest
      mobile app(s). The location-based services offered in connection with our mobile app(s) or feature(s) are for individual use only and
      should not be used or relied on as an emergency locator system, used while driving or operating vehicles, or used in connection with
      any hazardous environments requiring fail-safe performance, or any other situation in which the failure or inaccuracy of use of the
      location-based services could lead directly to death, personal injury, or severe physical or property damage. Location-based/geo-
      location services are used at your own risk and location data may not be accurate.


      Forum Selection
      These Terms and the relationship between you and Southwest shall be governed by the laws of the State of Texas without
      regard to any conflict of law provisions. You agree to the personal and exclusive jurisdiction of the courts located within
      Dallas, TX. You hereby consent to the exclusive jurisdiction and venue of the State and Federal courts in Dallas, Texas in
      all disputes. You agree and understand that you will not bring against the Southwest Parties any class action lawsuit
      related to your access to, dealings with, or use of the Service.


      Disclaimer of Representations and Warranties
      THE SERVICE IS PROVIDED TO YOU ON AN "AS IS," "AS AVAILABLE," AND "WITH ALL FAULTS" BASIS. NEITHER SOUTHWEST OR ITS
      AFFILIATES NOR ANY OF THEIR RESPECTIVE OFFICERS, DIRECTORS, MANAGERS, EMPLOYEES OR AGENTS (COLLECTIVELY, THE
      "SOUTHWEST PARTIES") MAKE ANY REPRESENTATIONS, WARRANTIES OR ENDORSEMENTS OF ANY KIND WHATSOEVER AS TO THE
      INFORMATION, CONTENT OR OTHER SERVICES, WHETHER EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE, OR ARISING FROM
      COURSE OF DEALING, COURSE OF PERFORMANCE OR USAGE OF TRADE, INCLUDING THE IMPLIED WARRANTIES OF TITLE, NON-
      INFRINGEMENT, MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, QUIET ENJOYMENT AND FREEDOM FROM COMPUTER
      VIRUS OR OTHER TECHNOLOGICALLY HARMFUL MATERIAL. BY ACCESSING OR USING THE SERVICES YOU REPRESENT AND WARRANT
      THAT YOUR ACTIVITIES ARE LAWFUL IN EVERY JURISDICTION WHERE YOU ACCESS OR USE THE SERVICE.

      SOUTHWEST HEREBY DISCLAIMS ALL WARRANTIES OF ANY KIND, WHETHER EXPRESS OR IMPLIED, STATUTORY OR OTHERWISE,
      INCLUDING BUT NOT LIMITED TO ANY WARRANTIES OF MERCHANTABILITY, NON-INFRINGEMENT AND FITNESS FOR PARTICULAR
      PURPOSE.

      THE FOREGOING DOES NOT AFFECT ANY WARRANTIES WHICH CANNOT BE EXCLUDED OR LIMITED UNDER APPLICABLE LAW.


      Limitations of Our Liability
      TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT SHALL THE SOUTHWEST PARTIES BE LIABLE TO YOU FOR ANY LOSS,
      DAMAGE OR INJURY OF ANY KIND INCLUDING ANY DIRECT, INDIRECT, SPECIAL, INCIDENTAL, EXEMPLARY, CONSEQUENTIAL OR
      PUNITIVE LOSSES OR DAMAGES, OR DAMAGES FOR SYSTEM FAILURE OR MALFUNCTION OR LOSS OF PROFITS, DATA, USE, BUSINESS
      OR GOOD-WILL, ARISING OUT OF OR IN CONNECTION WITH (A) THE SERVICE, (B) THESE TERMS, (C) YOUR USE OF, OR INABILITY TO
      ACCESS OR USE, THE SERVICE OR ANY CONTENT AVAILABLE ON OR THROUGH THE SERVICE, OR (D) A THIRD PARTY’S
      UNAUTHORIZED ACCESS TO YOUR INFORMATION, EVEN IF SUCH DAMAGES WERE FORESEEABLE OR SOUTHWEST HAS BEEN ADVISED
      OF OR SHOULD HAVE KNOWN OF THE POSSIBILITY OF SUCH DAMAGES. IN NO EVENT WILL THE SOUTHWEST PARTIES’ TOTAL
      LIABILITY TO YOU FOR ALL DAMAGES, LOSSES OR CAUSES OF ACTION ARISING OUT OF OR IN CONNECTION WITH THESE TERMS OR
      YOUR USE OF THE SERVICES EXCEED THE GREATER OF (A) THE AMOUNTS, IF ANY, PAID BY YOU TO SOUTHWEST FOR THE SERVICE
      IN THE TWELVE (12) MONTH PERIOD PRECEDING THE EVENT GIVING RISE TO YOUR CLAIM OR (B) FIFTY UNITED STATES DOLLARS
      ($50.00). THE LIMITATIONS SET FORTH IN THIS SECTION SHALL APPLY REGARDLESS OF THE FORM OF ACTION, WHETHER THE
      ASSERTED LIABILITY OR DAMAGES ARE BASED ON CONTRACT, INDEMNIFICATION, TORT, STRICT LIABILITY, STATUTE OR ANY OTHER
      LEGAL OR EQUITABLE THEORY.

      THE FOREGOING DOES NOT AFFECT ANY LIABILITY WHICH CANNOT BE EXCLUDED OR LIMITED UNDER APPLICABLE LAW.


      Waiver of Injunctive or Other Equitable Relief
      YOU AGREE THAT YOU WILL NOT BE PERMITTED TO OBTAIN AN INJUNCTION OR OTHER EQUITABLE RELIEF OF ANY KIND, SUCH AS
      ANY COURT OR OTHER ACTION THAT MAY INTERFERE WITH OR PREVENT THE DEVELOPMENT OR EXPLOITATION OF ANY SITE,
      WEBSITE, APPLICATION, CONTENT, SUBMISSIONS, PRODUCT, SERVICE, OR INTELLECTUAL PROPERTY OWNED, LICENSED, USED OR
      CONTROLLED BY SOUTHWEST OR A LICENSOR OF SOUTHWEST.


      Limited Time to Bring Your Claim
      You agree that regardless of any statute or law to the contrary, any claim or cause of action arising out of, related to or connected with
      the use of the Service must be filed within one (1) year after such claim or cause of action arose or be forever banned.


      Business uses of our Service
      IF YOU ARE USING THE SERVICE ON BEHALF OF A BUSINESS, THAT BUSINESS ACCEPTS THESE TERMS. THE BUSINESS WILL HOLD
      HARMLESS AND INDEMNIFY THE SOUTHWEST PARTIES FROM ANY CLAIM, SUIT OR ACTION ARISING FROM OR RELATED TO THE USE
      OF THE SERVICE OR VIOLATION OF THESE TERMS, INCLUDING ANY LIABILITY OR EXPENSE ARISING FROM CLAIMS, LOSSES,
      DAMAGES, SUITS, JUDGMENTS, LITIGATION COSTS AND ATTORNEYS’ FEES.


      Purchases & Forms of Payment
      Purchases through the Services may be made via the forms of payment on our Purchasing and Refunds page or any applicable
      Additional Terms.

      You agree that (i) any transactions carried out through the Sites will be deemed to take place in the State of Texas, United States of
      America, regardless of the jurisdiction where you may be located or reside, and (ii) any payment in connection with such transactions
      will only be accepted in US dollars. You further agree and acknowledge that any advertising, promotional or marketing information that




https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html                                                                     12/11/2020
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      may be contained in any communications that you may receive as a result of your use of the Sites is only intended to have effect and
      will only be applicable in the United States of America.


      Additional Information
      For additional information and to learn more about Southwest Airlines, please visit our Customer Service Commitment or Contract of
      Carriage pages on southwest.com.


      Patents
      Some technologies, components, or progresses of the Service may be covered by Southwest Airlines Co. patents pending. In addition,
      some components or processes referenced in the Sites may be subject to one or more U.S. Patent Numbers 7,394,900; 7,707,056;
      7,734,493; 7,860,740; 7,848,944; 8,041,036; 8,050,936; 8,452,607; 8,504,402; 8,700,438; 8,788,303; D597,752; D615,779;
      D618,000; D618,473 along with all corresponding foreign counterparts.


      Consent or Approval
      No Southwest consent or approval may be deemed to have been granted by Southwest without being in writing and signed by an officer
      of Southwest.


      Indemnity
      You agree to defend, indemnify and hold harmless the Southwest Parties from and against any and all claims, liabilities,
      damages, losses, costs and expenses (including, reasonable attorneys’ fees and costs) arising out of or in connection with
      any of the following: (i) your breach or alleged breach of these Terms; (ii) your Submissions; (iii) your use of the Service;
      (iv) your violation of any laws, rules, regulations, codes, statutes, ordinances or orders of any governmental or quasi-
      governmental authorities; (v) your violation of the rights of any third party, including any intellectual property right,
      publicity, confidentiality, property or privacy right; or (vi) any misrepresentation made by you. Southwest reserves the
      right to assume, at your expense, the exclusive defense and control of any matter subject to indemnification by you. You
      agree to cooperate with Southwest’s defense of any claim. You will not in any event settle any claim without the prior
      written consent of Southwest.


      Severability; Interpretation; Assignment
      If any provision of these Terms, or any Additional Terms, is for any reason deemed invalid, unlawful, void, or unenforceable, then that
      provision will be deemed severable from these Terms or the Additional Terms, and the invalidity of the provision will not affect the
      validity or enforceability of the remainder of these Terms or the applicable Additional Terms. You hereby waive any applicable statutory
      and common law that may permit a contract to be construed against its drafter. The summaries of provisions and section headings are
      provided for convenience only and shall not limit the full Terms. Southwest may assign its rights and obligations under these Terms and
      any applicable Additional Terms, in whole or in part, to any party at any time without any notice. These Terms and any applicable
      Additional Terms may not be assigned by you, and you may not delegate your duties under them, without the prior written consent of
      an officer of Southwest.


      Investigations; Cooperation with Law Enforcement
      Southwest reserves the right to investigate and prosecute any suspected breaches of these Terms or the Service. Southwest may
      disclose any information as necessary to satisfy any law, regulation, legal process or governmental request.


      Complete Agreement; No Waiver
      These Terms, and any applicable Additional Terms, reflect our complete agreement regarding the Service and supersede any prior
      agreements, representations, warranties, assurances or discussion related to the Service. Except as expressly set forth in these Terms
      or any applicable Additional Terms, (i) no failure or delay by you or Southwest in exercising any of rights, powers, or remedies under
      will operate as a waiver of that or any other right, power, or remedy, and (ii) no waiver or modification of any term of these Terms or
      any applicable Additional Terms will be effective unless in writing and signed by the party against whom the waiver or modification is
      sought to be enforced.




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https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html                                                                                           12/11/2020
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https://www.southwest.com/html/about-southwest/terms-and-conditions/index.html                                                           12/11/2020
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        EXHIBIT A-7




                                                                                Appx. 78
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From:          James Sheppard
To:            david.liskutin@gmail com
Cc:            info@kiwi.com; pr@kiwi com
Subject:       Third Cease and Desist (Southwest Airlines)
Date:          Wednesday, August 28, 2019 10:08:00 PM
Attachments:   image003 png
               image002 jpg
               image004 png


David,

I am a Senior Attorney in the General Counsel Department at Southwest Airlines. I understand that you are the Chief
Legal Officer of Kiwi.com. We have previously sent cease and desist letters to your company (see below). We continue
to see that your company, Kiwi.com, that is advertising and selling Southwest’s fares on its website. By selling
Southwest fares (with our trademarked logos) on your Kiwi.com website, this gives rise to (1) trademark infringement
claims and (2) a violation of the terms and conditions of Southwest’s website (the “Southwest Terms”).

In addition, by posting Southwest fare and price information, Kiwi.com has also violated the Southwest Terms. Because
Southwest as not granted Kiwi.com with access or permission to publish its flight or fare data, there are numerous
violations of the Southwest Terms that include: (1) using the Southwest Website for or in connection with offering any
third-party product or service; and/or (2) using automated tools or robots to obtain fare or pricing information from the
Southwest Website.

Southwest has successfully forced other companies, whether foreign or domestic, to cease similar unlawful conduct with
respect to unauthorized use of the Southwest Registrations and/or the Southwest Website. See, e.g., Southwest
Airlines Co. v. Farechase, Inc., 318 F.Supp.2d 435 (N.D. Tex. 2004).

Southwest repeats its prior demand that Kiwi.com immediate cease and desist from (1) extracting Southwest’s flight and
fare information from the Southwest Website and its proprietary servers or websites; (2) publishing Southwest fare
information on the Kiwi.com website, through its mobile applications or elsewhere; and (3) use of Southwest
Registrations, including our famous “Heart” logo, in violation of U.S. copyright law.

Within seven (7) days of receipt of this e-mail, please confirm by written correspondence that you will immediately
cease and desist, and will otherwise fully comply with the demands made herein. Please let me know if you have any
questions and kindly direct any future communications regarding this matter to my attention.




                                                                                                                            Appx. 79
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From: James Sheppard <James.Sheppard@wnco.com>
Sent: Monday, September 17, 2018 10:52 PM
To: info@kiwi.com
Cc: pr@kiwi.com
Subject: Second Cease and Desist (Southwest Airlines)

To Whom It May Concern:

I am a Senior Attorney in the General Counsel Department at Southwest Airlines Co. (“Southwest”). This is our second
cease and desist notice to your company, Kiwi.com, that is advertising and selling Southwest’s fares on its website. By
selling Southwest fares (with our trademarked logos) on your Kiwi.com website, this gives rise to (1) trademark
infringement claims and (2) a violation of the terms and conditions of Southwest’s website (the “Southwest Terms”)

This is our second cease and desist letter requesting that Kiwi.com (or related websites, such as Skypickers.com) stop
the use of our trademark images and display of our fares in violation of the Southwest Terms.

As you know, Southwest is the owner of numerous federal trademark registrations, including our famous “Heart” logo,
each of which cover either transportation services by air or travel agency services by computer in connection with air




                                                                                                                          Appx. 80
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transportation services (the “Southwest Registrations”). The Southwest Registrations, including our famous “Heart” logo,
provide Southwest with the exclusive right to use the exclusive marks, along with the right to exclude third parties – such
as Kiwi.com – from unauthorized use of the marks. Here, as shown below, the Kiwi.com website is using Southwest’s
name, trademarks, and copyrighted “Heart” logo on its website:




It is clear, then, that Kiwi.com’s unauthorized use of our famous “Heart” logo is a willful infringement of the Southwest
Registrations and violation of U.S. copyright laws. Because Kiwi.com has used our famous “Heart” logo in violation of
Southwest’s intellectual property rights, this letter demands that Kiwi.com (and any related companies or contractors)
immediately cease and desist from all further unauthorized use of the Southwest Registrations

In addition, by posting Southwest fare and price information, Kiwi.com has also violated the Southwest Terms. Because
Southwest as not granted Kiwi.com with access or permission to publish its flight or fare data, there are numerous
violations of the Southwest Terms that include: (1) using the Southwest Website for or in connection with offering any
third-party product or service; and/or (2) using automated tools or robots to obtain fare or pricing information from the
Southwest Website.

Southwest has successfully forced other companies, whether foreign or domestic, to cease similar unlawful conduct with
respect to unauthorized use of the Southwest Registrations and/or the Southwest Website. See, e.g., Southwest
Airlines Co. v. Farechase, Inc., 318 F.Supp.2d 435 (N.D. Tex. 2004).

Southwest repeats its prior demand that Kiwi.com immediate cease and desist from (1) extracting Southwest’s flight and
fare information from the Southwest Website and its proprietary servers or websites; (2) publishing Southwest fare
information on the Kiwi.com website, through its mobile applications or elsewhere; and (3) use of Southwest
Registrations, including our famous “Heart” logo, in violation of U.S. copyright law.

Within seven (7) days of receipt of this e-mail, please confirm by written correspondence that you will immediately
cease and desist, and will otherwise fully comply with the demands made herein. Please let me know if you have any
questions and kindly direct any future communications regarding this matter to my attention.


James Sheppard
Senior Attorney – General Counsel Department
2702 Love Field Drive, HDQ-4GC
Dallas, Texas 75235-1611
(214) 792-5354
James.Sheppard@wnco.com




                                                                                                                              Appx. 81
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        EXHIBIT A-8




                                                                                Appx. 82
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From:           Slavomír Mucha
To:             James Sheppard
Subject:        EXTERNAL - WN<>Kiwi.com issues/co-operation
Date:           Wednesday, September 11, 2019 11:00:51 AM



Caution: Sender is from outside SWA. Take caution before opening links/attachments or
replying with sensitive data. If suspicious, forward to 'suspicious@wnco.com'.

Dear James,
I've been just passed the Cease & Desist letter from your side.
I would like to rather discuss the options of a direct co-operation. We've been in discussion
with your people before, started the discussion where they were excited about the benefits we
bring. But then suddenly the discussions stop.
I believe the with our Virtual Interlining technology we are bringing additional passengers
thus we can both prosper from the direct partnership.
Can we have a call about this?

Brgds
Slavo
                                        Kiwi.com
                                        Slavomir Mucha / Senior Business Development
                                        Manager
                                        Mail: slavomir.mucha@kiwi.com
                                        Tel: +420 725 439 828
                                        Skype: slavomir.mucha
                                        Address: Palachovo náměstí 4, Brno, 625 00, CZ




                                                                                                    Appx. 83
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            EXHIBIT A-9




                                                                                Appx. 84
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From:             Pedro Martin Gutierrez Kardum
To:               Dave Doty; David Harvey; Eric Hall; Phil Gouel; Rob Brown
Subject:          EXTERNAL - New Kiwi.com Account Manager for WN
Date:             Tuesday, July 14, 2020 8:24:02 AM
Attachments:      Monthly report (70).pdf



Caution: Sender is from outside SWA. Take caution before opening links/attachments or
replying with sensitive data. If suspicious, forward to 'suspicious@wnco.com'.

Dear all,

My name is Pedro Gutierrez and I'll be the responsible person from Kiwi.com to communicate
with WN from the commercial side since my colleague Slavo Mucha will be now focusing on
a different project in Kiwi.com.

I am attaching you the sales report for WN sales in Kiwi.com for the years 2019 and 2020.

As you can see, we indeed have a V-shaped curve for 2020, meaning that we can see our sales
level for WN already as pre-COVID, as a matter fact we sold even more seats in the last
month than in Jun19. I think this could be particularly interesting for you since I'd say every
airline needs now an extra hand on generating more PAX demand.

In case you'd like to explore any kind of further cooperation with us, I'll be around.  

Kind regards / Saludos,

       Kiwi.com
       Pedro Gutiérrez Kardum / Travel Content Acquisition Business Development Manager - Americas

       E-Mail: pedro.gutierrez@kiwi.com
       Tel: +420 724 388 673
       Skype: pedro.gutierrez@kiwi.com
       Address: Palachovo náměstí 4, Brno, 625 00, CZ




                                                                                                          Appx. 85
 Monthly report                                                                                                                                                 07/14/2020
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                                        MONTHLY REPORT

AIRLINE                    ACCOUNT MANAGER                    BOOKING CHANNEL NAME                  PARTNER                             MARKET

WN                         All                                All                                   All                                 All




                                                                     Revenue development

 Month    2019 (€)          2020 (€)         MoM        YoY
                                                                        1.2M
 Jan             804,827          906,044    -16.23 %   12.58 %
 Feb             680,171          842,007     -7.07 %   23.79 %
 Mar        1,190,258             290,596    -65.49 %   -75.59 %
                                                                        900k
 Apr             928,964          142,024    -51.13 %   -84.71 %
 May        1,058,779             413,752    191.32 %   -60.92 %
 Jun             875,111          822,255     98.73 %    -6.04 %
                                                                        600k
 Jul             658,733
 Aug             816,764
 Sep             750,182
                                                                        300k
 Oct             793,996
 Nov             903,960
 Dec        1,081,598
                                                                              0
 Sum       10,543,342            3,416,679                                         Jan        Feb         Mar   Apr   May   Jun   Jul         Aug   Sep   Oct   Nov   Dec
                                                                                                                              Month

                                                                                   2019 (€)          2020 (€)




                                                                     Seat sales development

 Month    2019              2020             MoM        YoY
 Jan               8,785            9,963     -9.98 %    13.41 %
                                                                        12k
 Feb               7,205            8,825    -11.42 %    22.48 %
 Mar              12,870            3,817    -56.75 %   -70.34 %
 Apr               9,214            1,823    -52.24 %   -80.21 %
 May              10,064            5,421    197.37 %   -46.13 %
                                                                         8k
 Jun               8,035            8,365     54.31 %     4.11 %
 Jul               6,874
 Aug               9,214
 Sep               7,941                                                 4k
 Oct               8,171
 Nov               9,641
 Dec              11,068
 Sum             109,082           38,214                                 0
                                                                                  Jan     Feb         Mar       Apr   May   Jun   Jul         Aug   Sep   Oct   Nov   Dec
                                                                                                                              Month

                                                                                  2019        2020




                                                                                                                                                                  Page 1/2


                                                                                                                                                                  Appx. 86
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                   TOP 10 segments by revenue                                                                                      TOP 10 segments by seats

                   YTD                                                Last Month                                             YTD                               Last Month

Segment        Revenue (€)      Seats          Segment                   Revenue (€)        Seats          Segment       Revenue (€) Seats         Segment      Revenue (€) Seats
LAX - LAS              26,442            460   ATL - LAX                        11,598              59     LAX - LAS         26,442          460   LGA - ATL        10,686        117
LAS - LAX              26,321            411   LGA - ATL                        10,686           117       LAS - LAX         26,321          411   ATL - LGA         7,816          98
LAX - DEN              22,552            288   ATL - LGA                           7,816            98     HNL - OGG         14,779          357   LAX - LAS         5,393          81
LGA - ATL              22,516            276   DEN - LAX                           7,781            72     OGG - HNL         12,012          295   DEN - LAX         7,781          72
ATL - LAX              22,071            152   LAX - DEN                           7,420            67     LAX - DEN         22,552          288   LAS - LAX         4,904          71
LAS - SFO              21,464            260   DEN - LGA                           6,561            53     ATL - LGA         21,191          281   LAX - DEN         7,420          67
ATL - LGA              21,191            281   LAX - ATL                           6,324            43     LGA - ATL         22,516          276   LGA - MDW         5,784          67
LGA - DEN              17,959            163   LGA - DEN                           6,176            58     LAS - SFO         21,464          260   ATL - LAX        11,598          59
SFO - LAS              17,869            242   MCO - SJU                           5,975            40     HNL - LIH         10,220          249   LGA - DEN         6,176          58
DEN - LAX              17,265            203   LGA - MDW                           5,784            67     HNL - KOA         10,343          245   CLT - BWI         3,757          57




                                                                       TOP 10 passengers nationalities


                   YTD                                                                               YTD                                                       Last Month

  Nationality Revenue (€)        Seats                                                                                                              Nationality Revenue (€)     Seats
                                                               3.0M
  US                2,541,447       28,118                               2.7M                                                                       US               736,557      7,492
  CN                   77,135            792                                                                                                        RU                  7,121        65
  MX                   59,899            690                                                                                                        PR                  6,558        58
                                                               2.0M
                                                 Revenue (€)




  GB                   54,973            584                                                                                                        MX                  6,328        69
  FR                   50,459            568                                                                                                        CN                  5,884        60
  IN                   41,335            485                                                                                                        QA                  4,357        50
  RU                   40,474            413                   1.0M                                                                                 IN                  4,202        41
  PR                   38,870            401                                                                                                        GB                  2,203        21
  DE                   34,505            470                                                                                                        HT                  2,119        23
  CA                   33,086            525                                    79k        63k   56k     51k    42k    42k   41k      35k   33k     UA                  2,108        17
                                                                 0
                                                                         US     CN         MX    GB        FR   IN     RU    PR       DE    CA
                                                                                                         Nationality



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                 EXHIBIT B




                                                                                Appx. 88
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SOUTHWEST AIRLINES CO.,                        §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §
                                                    Civil Action No. 3:21-cv-00098-E
                                                §
 KIWI.COM, INC. and KIWI.COM S.R.O.,            §
                                                §
        Defendants.                             §
                                                §


                       DECLARATION OF MICHELLE BUCKLEY


       I, Michelle Buckley, being duly sworn, state as follows:

       1.      My name is Michelle Buckley and I am a Senior Director in the Customer Relations

Department at Southwest Airlines Co. (“Southwest”) with responsibility for leading operations,

people leadership, overseeing customer complaints and escalation inquiries, answering questions

and comments, as well as ensuring compliance with Department of Transportation and other

regulatory requirements for customer complaints.

       2.      As part of my duties as Senior Director in Customer Relations, I am knowledgeable

of Southwest’s business, policies, and communications relating to customers, including the

aforementioned aspects of customer relations.

       3.      Southwest customers can contact the Customer Relations Department through the

following ways:

            a. An email submission at https://www.southwest.com/html/contact-us/index.html;

            b. A phone call to Customer Relations at 1-855-234-4654;

            c. A direct message on Facebook through @SouthwestAir;


                                                1



                                                                                                   Appx. 89
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            d. Twitter through @SouthwestAir;

            e. Chat through the Southwest mobile application; and

            f. Mail at Southwest Airlines, P.O. Box 36647-1CR, Dallas, Texas 75235.

       4.      The United States Department of Transportation (“DOT”) monitors and measures

airline consumers’ complaints filed with the DOT in writing, by telephone, via email, or in person

which are published in the DOT Air Travel Consumer Report. The DOT ranks all U.S. carriers

based on the lowest ratio of complaints per 100,000 passengers enplaned.

       5.      The Consumer Report measures two types of airlines (a) a “marketing carrier”

which is an airline that advertises under a common brand name, sells reservations, manages

frequent flyer programs, and is ultimately responsible for the airline’s consumer policies (i.e.

Southwest Airlines; Delta Air Lines; Alaska Airlines; American Airlines; Hawaiian Airlines; etc.);

and (b) an “operating carrier” which only handles the flight operations, passenger check-in,

in/boarding, and baggage handling for the respecting marketing carriers they serve (i.e. Mesa

Airlines; Skywest Airlines; Envoy Air; etc.).

       6.      Between 2016 and 2020, Southwest has earned the best Customer Satisfaction

ranking among U.S. marketing carriers with the lowest ratio of consumer complaints to the

Department of Transportation per 100,000 enplaned passengers, as published in the DOT Air

Travel Consumer Report.

       7.      The Customer Relations Department utilizes computer systems to assist in tracking

customer information and inquiries, record notes about customer interactions, and keep a

centralized record of phone calls, social conversations, emails, and letters. The records in the

spreadsheet attached as Exhibit B-1 are true and accurate copies of Southwest customer relations

records that were made and kept in the regular course of Southwest’s business. The records were




                                                2



                                                                                                     Appx. 90
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made at or near the time of the information recorded in Southwest’s computer systems by a person

with knowledge of the underlying facts. It is the regular practice of Southwest to record the

information set forth in the attached records.

       8.      Southwest identified the attached records by searching for the term “kiwi” in both

(a) Southwest’s C360 customer relations database (first spreadsheet tab) which show records

created between June 6, 2020 and February 8, 2021 (“C360 Keyword Cases”) and also (b) in

Southwest’s Seibel CRM Tool (second spreadsheet tab) which shows records created between

January 17, 2018 and April 24, 2020 (“TLC Keyword SRs”), and cross-checking the email

domains for flights booked by Kiwi (third spreadsheet tab).

       9.      Southwest’s records in the C360 Database and CRM Database show hundreds of

complaints and issues related to flight purchases, travel experiences, or refund requests for trips

booked through Kiwi.com. Many of the customer complaints involve Kiwi failing to refund

customers for cancelled reservations or flights even after Southwest refunds the credit card used

by Kiwi to purchase the ticket.

       10.     Southwest also has received complaints about: (i) customers not receiving notices

about schedule changes or delays; (ii) customers unable to make changes or cancellations to

reservations; (iii) customers confused about checked bag policies and baggage fees charged by

Kiwi; and (iv) customers mistakenly believing that Kiwi is an authorized booking agent for

Southwest flights and blaming Southwest for Kiwi’s conduct.

       11.     Case Number 08323310: On June 6, 2020, a Southwest customer sent a

“Complaint” through email indicating that they did not receive a refund for a trip because the

refund went to a credit card used to purchase the flight which did not belong to the customer. The




                                                 3



                                                                                                      Appx. 91
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flight reservation only included contact information with an email domain of @airline.kiwi.com.

This is a screenshot of the message from C360:




The Customer Service Employee made notes in C360 indicating the reservation was booked with

an email domain of @airline.kiwi.com and noted “looks like travel agency booked reservation,

may be cause of potential confusion.”




The Customer Service Employee then responded to the Customer as follows:




                                                 4



                                                                                                  Appx. 92
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       12.     Case Number 13750668: On October 22, 2020, a Southwest customer sent a

“Complaint” through email indicating that she had not received a refund for her May 2020 flight

after waiting for several months. The customer booked the flight through Kiwi.com and the

reservation only included contact information with an email domain of @airline.kiwi.com.

Southwest had already issued a refund to the credit card used by Kiwi to purchase the flights, but

the customer did not receive a refund. The Customer Service Employee made notes that the

customer was requesting a refund and then, according to research in a refund database, “noticed

that $101.98 x 3 was already refunded to [credit card used to purchase tickets].”




                                                5



                                                                                                     Appx. 93
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The Customer Service Employee then responded to the customer as follows:




       13.    Case Number 14933807: On November 20, 2020, a Southwest customer sent a

“Complaint” through email requesting a refund of $264.12 for a canceled flight. Southwest




                                             6



                                                                                            Appx. 94
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requested a refund to the credit card used to pay for the original reservation. This is a screenshot

of the customer’s message in C360:




The Customer Service Employee then sent an email to the customer as follows:




       14.     Case Number 15767058: (Status check from Case Number 14933807). On

December 11, 2020, a Southwest customer sent a “Comment/Question” through email indicating

that they did not receive a refund for a trip because the refund went to a credit card used to purchase

the flight which did not belong to the customer. The customer booked the flight through Kiwi.com.


                                                  7



                                                                                                          Appx. 95
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The customer inquired about the status of her refund. Billing records show that Southwest credited

funds back to the purchaser’s card several weeks earlier, on November 21, 2020. This is a

screenshot of the customer’s message in C360:




Southwest responded to the customer and indicated that they had already refunded the flights to

the purchaser’s credit card.




       15.     Case Number 15835899: (Status check from Case Number 14933807 &

15767058). On December 13, 2020, a Southwest customer sent a “Comment/Question” through



                                                8



                                                                                                     Appx. 96
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email indicating that they did not receive a refund for a trip because the refund went to a credit

card used to purchase the flight which did not belong to the customer. The customer wrote

“[b]ecause I bought the flights via Kiwi.com (third party booking service), this will be their credit

card, not mine.” The customer also wrote: “I have contacted Kiwi.com and they have confirmed

that this would be their credit card number, as they do not pass my details on to [Southwest].”

Screenshots from Southwest’s C360 system are included below:




Southwest’s Customer Service Employee responded to the customer as follows:




                                                 9



                                                                                                        Appx. 97
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       16.     Case Number 16216510: On December 22, 2020, a Southwest customer sent a

“Complaint” through a phone call indicating that they did not receive a refund for a trip because

the refund went to a credit card used to purchase the flight which did not belong to the customer.

The customer mentioned booking through Kiwi.com and that she had not yet received a refund for

the flight. Billing records show that Southwest credited funds back to the purchaser’s card three

months earlier, on September 16, 2020. Screenshots from Southwest’s internal computer systems

are included below:




       17.     Case Number 15410883: On December 2, 2020, a Southwest customer sent a

“Complaint” through an email requesting a refund for a trip in lieu of travel funds. Without

customer contact information in the reservation, Southwest was unable to honor the refund request,

even though it qualified. A copy of the customer’s complaint from C360 is included below:




The Southwest Customer Service Employee noted in the research that it was booked through

Kiwi.com:




                                               10



                                                                                                     Appx. 98
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        18.     SR Number 2304319830784: On July 10, 2019, a Southwest customer sent a

“Comment/Question” through an email indicating that they needed to add an infant (lap child

under 2 years old which travels for free) to their reservation. The customer indicated that they

inadvertently booked their flight through Kiwi (which did not have a booking option for an infant)

and then Kiwi responded to them to book the same flights but “with a wrong birth year showing

[the infant] as an adult.”




                                               11



                                                                                                     Appx. 99
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       19.     SR Number 2315382762998: On April 24, 2020, a Southwest customer sent a

“Complaint” through a phone call requesting a refund to the credit card used to purchase the flight

which belonged to Kiwi and they would follow up with Kiwi for reimbursement. Screenshots from

Southwest’s internal computer systems are included below:




       20.     Case Number 14828125: On November 17, 2020, a Southwest customer (PNR

SSF9JX) sent a “Complaint” stating: “Dear Airline, I had/have a flight booking (via Kiwi.com) at

your company for 5 person. I would have flown to USA from Europe (Barcelona to Boston) with

Iberia. Unfortunately the airline cancelled my flight due Covid19 on 9th July. Then I wrote about

it to Kiwi.com that I can not travel to USA therefore I would like to cancel my booking for your

flight. It happen more then 2 months earlier then the plane take off. So far I have not received an

answer from them. Yesterday they communicated to me that I do not get any refund for this

booking. … I trust in your cooperation and refund or compensation.”

       21.     Case Number 16472521: On December 29, 2020, a Southwest customer (PNR

OXXT4Y) called in a “Complaint,” the records of which indicate that the customer “made a

reservation through a 3rd pty site. He was told by them that he couldnt contact SWA and has to

contact them for assistance. He explained that his gf had tested positive for covid and had called

kiwi to cancel or change but couldnt get in contact. He is now reaching out to SWA to see if

anything could be done with the funds so he could rebook. I apol to hear what happened. Explained

that we don’t work with any 3rd party sites and our only official booking is through .COM or our




                                                12



                                                                                                      Appx. 100
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main CS line. I adv his tkts no showed since they werent canceled and explained policy.… He was

upset and said he was never flying SWA because he felt like we took his money.”

       22.     Case Number 15733281: On December 10, 2020 a Southwest customer (PNR

PAYZ9N) sent a “Complaint” stating: “Hello, I booked a flight on your airline with kiwi, and they

recently changed my booking for no reason. The trip is supposed to be from 11 March - 15 March.

They changed only one of the flights to 3rd of December for some reason though. I have uploaded

the original itinerary and the new itinerary. If you could help in any way that would be wonderful!

Kiwi has not been helpful at all unfortunately.”

       23.     SR Number 2248916971917: On July 1, 2018, a Southwest customer sent a

“Comment/Question,” stating: “Dear Southwest Team, I booked my flight from SLC to Hamburg

with kiwi.com. The first to flights are with Southwest Airlines: WN1640 and WN1817 on July

4th. On your website I found the information, that I can take 2 free baggages to checkin besides

my carry on luggage. Is that right? On my confirmation with kiwi.com I could only choose 1

baggage. Could you please send a confirmation to me that I can checkin 2 baggages for free or

could you otherwise tell me, how much an additional baggage would cost and how I would proceed

it?”

       24.     SR Number 2228243291597: On March 7, 2018, a Southwest customer (PNR

MYBGWA) sent a “Comment/Question” stating: “To Whom It May Concern; … I’m writing to

request a written confirmation that the flight time of my flight 'WN341' on January 10th from

Cancun to LAX was changed from 5:20pm to 5:50pm. Our booking company kiwi.com stated the

flight time was 5:20pm. When we got to the airport the staff at southwest said the flight time had

been changed from the original time of 5:20pm and that this change had occurred a number of




                                                   13



                                                                                                      Appx. 101
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weeks prior. Our booking company failed alert us of the change to the flight time. I need this

written confirmation that the flight time was changed for travel insurance purposes.”

        25.       SR Number 2299481262600: On March 22, 2019, a Southwest customer (PNR

RJJNMY) sent a “Comment/Question” stating: “I bought my ticket on Kiwi and paid for a checked

bag. Will I also be able to have a carry-on?”

        26.       SR Number 2305158903099: On August 1, 2019, a Southwest customer (PNR

VN3H4B) sent a “Comment/Question” stating: “Hello there! I booked this flight through

Kiwi.com and ordered special baggage service for two bicycles on this flight through them. The

request did not go through to you, so I paid for both bicycles at the airport. I never got a receipt

for the transaction but am trying to get it refunded through Kiwi. They require receipts. Is it at all

possible for me to get this record from you so that I can forward it to Kiwi? I would very much

appreciate it.”

        27.       SR Number 2309326593470: On November 12, 2019 a Southwest customer (PNR

R8VTOE) sent a “Comment/Question” stating “Can we check in baggage. I saw that on the kiwi

website only carry on.”

        28.       SR Number 2304238181216: On July 8, 2019, a Southwest customer (PNR

UCJALH) sent a “Comment/Question” stating “I purchased a one-way flight on Southwest

Airlines flight 1243, through Kiwi.com, and when I arrived at the airport on June 3rd, 2019, the

flight was cancelled. Consequently, I had to book a flight with another airline. I spoke with a

Southwest agent on the phone that morning who indicated that the cost of the airfare for this flight

would be refunded. It has not yet been refunded to my credit card. Could you please look into

this and let me know the status of this refund?”




                                                   14



                                                                                                         Appx. 102
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       29.    I declare under penalty of perjury that the facts and information stated in this

declaration are true and correct based on my personal knowledge and reliable information I

obtained as a representative of Southwest.




                                             15



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         EXHIBIT B-1




                                                                             Appx. 104
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CaseNumber   Origin   CreatedDate        C360_Nature__c      C360_SubCategory_CR__c    Description                                                                                                          Case_Comments__c
                                                                                       Hello

                                                                                       I am contacting you for a refund
                                                                                                                                                                                                            Tiffany Gainous 6/9/20: R5DLHH
                                                                                       I purchased my ticket with my Visa credit card ending in 1022.                                                       confirmed original form of payment - mc ending in 6314 via Cirru               6/9/20: found email address
083233 0     Email         6/6/2020 14:59 Complaint          Service Level
                                                                                       The refund went to a MasterCard ending in 6314 which is not my card                                                  when reservation was booked: 111058948@airline.kiwi.com. Looks like travel agency booked reservation may
                                                                                                                                                                                                            be cause of potential confusion
                                                                                       When I contacted customer service I gave them all my information including my correct credit card number
                                                                                       but the money st ll went to the wrong card. please refund me $ 146.98 to the correct card ending in 1022
                                                                                       Thank you for your understanding


                                                                                       Hello my name is                       and I am reaching out about my flights (LAX - STL 6/17 and STL - LAX          Hannah Chapoy 6/8/20:               called stating that she had a case number from an email that she sent and
                                                                                       6/24). I purchased the 6/17 flight through KIWI/PAYPAL on 5/16 and the 6/24 flight directly through                  the confirmation numbers. She stated that she has spoken with several people to try to fix this. I apol about
                                                                                       SOUTHWEST/PAYPAL. I received a confirmation and itinerary via email for both f ights. It appears as though           that and adv that I pulled up the confirmation numbers for her and show that she is ticketed. She just wanted
                                                                                       everything is good for the 6/17 flight because the money was placed on hold and then taken out of my                 to make sure that we take the funds and she will be good to go and that she doesn't lose her tickets. I adv that
                                                                                       account. However the 6/24 flight was placed on hold for 3 days and then released. I need for Southwest to            I absolutely understand and would get in touch with our accounts receivable dept to make sure and give her a
08343327     Email          6/7/2020 5:16 Comment/Question   Service Level             take the money out of my account. My children and I really need to be on both flights and I can’t afford for a       ca l back. She thanked me and disconnected.
                                                                                       system error to cause me to have to purchase a last minute ticket because I can’t afford that I need the tickets
                                                                                       at the price I paid. I contacted my bank who stated that the money was placed on hold and that Southwest was
                                                                                       given 3 days to take the money before it was released. I called in and spoke to someone who stated that we                         Hannah Chapoy 6/8/20: dbl dialed
                                                                                       still show up in the system as ticketed and wi l be allowed to board the flight but advised that I send you an       left VM stat ng that we have received the funds so she should be good to go for her upcoming reservations. I
                                                                                       ema l so the error could be fixed. We have to be able to leave and get back home. Please advise. Thank you!          adv that she may need to call the bank institution.


                                                                                                                                                                                                     Odalis De La Hoya 6/9/20: TRANSLATION:
                                                                                                                                                                                                     Good morning my name i                                             I’m writing in to contact you because I had a
                                                                                                                                                                                                     flight with you that was canceled due to COVID19 which was scheduled during Easter a f ight from San Diego
                                                                                       Buenos días                                                                                                   to Oackland on Saturday April 11 with a connection from San Diego to Barcelona The details of the f ight are:
                                                                                        me lamo                                       . Les escribo para ponerme en contacto con ustedes porque      WN 2008 and there is a total of 3 passengers including myself. The flight I found on the website KIWI.COM and
                                                                                       tengo un vue o con ustedes que fue cancelado por el COVID19 para la pasada Semana Santa un vuelo de San the confirmation number for KIWI.COM is 88 251 911 I have already requested a refund of the tickets and have
                                                                                       Diego a Oackland del día Sábado 11 de Abril siendo una escala desde SanDiego a Barcelona. Los datos del       sent a few ema ls but I haven’t received a response in the last two months. I’m requesting a refund of the
                                                                                       vuelo son Nº vuelo : WN 2008 y son 3 billetes de vuelo incluyéndome a mi . El vuelo lo contraté en la         tickets and information about the refund I’m not interested in discounts coupons for future f ights given I’m
                                                                                       plataforma KIWI.COM y el número de reserva en KIWI.COM es 88 251 911 ya les he so icitado el reembolso y not interested and it is my right to request a refund. I expect a response as soon as possible and to be informed
08414141     Email         6/9/2020 0:21 Complaint           Cancel Reservation        he enviado varios emails pero no me dan respuesta desde hace 2 meses. Les solicito la petición de reembolso of Southwest Airlines intentions about the refund for the tickets affected by COVID19. Thank you very much
                                                                                       de los bi letes y que me informen sobre el reembolso no me interesan descuentos y cupones en futuros          and greetings.                               Pita 6/9/20: - Received cancellation AOM on 4/4
                                                                                       vuelos ya que no me interesa y estoy en mi derecho de reclamar el reembolso. Espero su respuesta cuanto        -- Was reaccom to a later flight
                                                                                       antes y me informen de las intenciones de Southwest Airlines en el reembolso de los bi letes afectados por el - JPU9NH - Dup has been refunded
                                                                                       COVID19.en mi caso                                                                                            - NCKBZ9 - still in ok status
                                                                                        Muchas gracias y un saludo                                                                                    -- Refunding as GOG due to sched reaccom/pax receiving cancellation AOM
                                                                                                                                                                                                     - Refunding via ARD cc3404 $73.98 x3




                                                                                       On July 15th myself and family flew out of San Diego reservation # TGAKJZ. Our trip was supposed to get us to
                                                                                       Honolulu on July 15th evening. Unfortunately our connecting flight heading to Honolulu from Oakland already
                                                                                       left the Oakland airport by time we arrived from San Diego. Our flight was rescheduled at some point
                                                                                       previously to July 15th and the rescheduled flight times apparently didn't a ign in order to get us to our
                                                                                       destination on July 15th. Southweatbwas able to accommodate and get us to our destination the next day
                                                                                       however it cause many unforeseen consequences with the delay. We had to find a hotel rent a vehicle
                                                                                       compromise a reserved Airbnb rental at our final destination. The delay in our arrival also caused our 1 week
                                                                                       car rental to longer be available as the state of Hawaii was no longer offering car rentals to non Hawaii
                                                                                       residents or non 14 day quarantine visitors effective after July 15th. This left us stranded at our final
                                                                                       destination in H lo Hawaii and we had to rely on a local passer by to get myself and family to our location
                                                                                       without a vehicle for our stay. We booked through Kiwi.com and they will not aid in reimbursement or flight
                                                                                       credit. A call was made to Southwest customer service and the representative was eager to blame the booking
                                                                                       agent on the flight mishap and was very dismissive with our concerns. Maybe there is a ca l log of conversation
                                                                                       from               on July 27 2020. Attached is a ema l from Kiwi.com in regards to who should be responsible Lanae Thompson 7/28/20: PNR: TGAKJZ
10394600     Email        7/28/2020 0:12 Complaint           Flight Diversion
                                                                                       for the flight mishap. Hopefully Southwest can rectify the issue as it seems no one wants to accept             Per Cirrus:
                                                                                       responsib lity for what has occured. Below is the email from Kiwi.com

                                                                                       Dear Mr. Dunn

                                                                                       Thank you for choosing Kiwi.com.

                                                                                       This is in regards to your Kiwi.com booking 116279559.




                                                                                       Hope this ema l finds you well This email is in regard to the flight change done by southwestern airlines we are
                                                                                       sorry we cannot do anything in this case as it was under the same PNR so you need to check with air ines for
                                                                                       any sort of compensation
                                                                                                                                                                                                            Hailey White 8/7/20: Pax called because she booked her reservations through the Kiwi travel app. The dates
                                                                                                                                                                                                            were booked incorrectly and the app gave her the option to contact us directly to change the reservation.
                                                                                                                                                                                                            There was a schedule revision and there were no flights available for her return but also they booked her a one
10819507     Phone         8/7/2020 17:06 Complaint          Travel Funds                                                                                                                                   way instead of roundtrip reservation so she couldn't be booked on a roundtrip with the funds available. She
                                                                                                                                                                                                            was told by an agent that it looked like the kiwi app was charging more than needed for the flight. Pax ended
                                                                                                                                                                                                            up booking with Delta and decided to dispute the charge with kiwi and is seeking documentation there were no
                                                                                                                                                                                                            return f ights available.Hailey White 8/7/20: VOX2V3 // VP5ISV
                                                                                                                                                                                                            Sarah Walker 8/25/20:                   - open in ARD


                                                                                                                                                                                                            04/25/2020 8:28 AM
                                                                                                                                                                                                            ASMSAISNCS DALWN01NC SU DALWN08AA 5@AIRLINE.KIWI.COM ATTEMPT COUNT 1-NL-ATTEMPT DATE AND
                                                                                                                                                                                                            TIME 2020-04-25T08:25:48.000-05:00 RESULT CODE DELIVERED TEXT MSG-NL-
                                                                                                                                                                                                            AOMSYS:HDQ:25APR2020 0828A:6
                                                                                                                                                                                                            FLT 5280 DEP DATE MAY 02 2020 -NL-DEP MSY ARR ORL-NL-PAX PAUL MARCINKOWSKI-NL-ALERT ID FLIGHT
                                                                                                                                                                                                            CANCEL-NL- MEDIA ADDRESS 9251885
11448628     Email        8/24/2020 13:14 Comment/Question   Travel Funds              i want to apply for Monetary refund for my cancelled flight
                                                                                                                                                                                                            04/26/2020 8:26 AM
                                                                                                                                                                                                            ASMSAISNCS DALWN01NC SU DALWN08AA ANSWER-NL-
                                                                                                                                                                                                            5@AIRLINE.KIWI.COM ATTEMPT COUNT 1-NL-ATTEMPT DATE AND T ME 2020-04-25T08:25:48.000-05:00
                                                                                                                                                                                                            RESULT CODE FAILED NO RESPONSE ON
                                                                                                                                                                                                            AOMSYS:HDQ:26APR2020 0826A:6
                                                                                                                                                                                                            FLT 5280 DEP DATE MAY 02 2020 -NL-DEP MSY ARR ORL-NL-PAX PAUL MARCINKOWSKI-NL-ALERT ID FLIGHT
                                                                                                                                                                                                            CANCEL-NL- MEDIA ADDRESS 9251885

                                                                                                                                                                                                            refunded in ARD
                                                                                                                                                                                                            Taylor Beall 8/24/20: Pax called in because she thought her travel funds were applied to her confirmation
                                                                                                                                                                                                            (t33ivp). Pax wants us to cancel the trip and refund back on the card and rebook her using the travel credit
                                                                                                                                                                                                            from PNR (qy7rvo). I advised pax that we could not refund the ticket back on the card because it has been over
                                                                                                                                                                                                            24 hrs since she booked. Pax then got upset and requested to speak with SUP.Jacki Stone 8/25/20: **SUP
                                                                                                                                                                                                            CALLBACK**
                                                                                                                                                                                                            Called pax back and talked to her about her funds. I advised her at this point if we were to rebook and use
                                                                                                                                                                                                            those funds that the price of her flight was much more expensive. So what we could do was leave her flight
                                                                                                                                                                                                            alone and then once her travel is completed that we can refund the d fference in fare as gog since she could
                                                                                                                                                                                                            have used the old funds to rebook. Pax thanked me and asked if she needed to fo low up with this how to get
11450685     Phone        8/24/2020 14:09 Complaint          Travel Funds                                                                                                                                   in contact with us. I gave her the case number and our phone number and told her to give us some time after
                                                                                                                                                                                                            her travel is complete but I would refund it on 9/7 and she should see if back shortly after that.Hope Mendoza
                                                                                                                                                                                                            9/8/20: pax called back to process exception and i adv i would. she thanked me and we disconnected

                                                                                                                                                                                                            Claim No: 188148567Hope Mendoza 9/8/20: before disconnecting i confirmed cc refund is going to and pax
                                                                                                                                                                                                            said that isn't hers. after looking into pnr i saw she used a TA (TA ema l address). she said she booked through
                                                                                                                                                                                                            Kiwi. i adv that she probs paid them and they then probs paid us with their own fop. i adv that from here i can
                                                                                                                                                                                                            either deny refund and she would keep rtf or i can keep refund in processing and she can work with Kiwi to see
                                                                                                                                                                                                            if they' l forward refund to her. she said she would work with Kiwi - so i kept refund as is. she thanked me and
                                                                                                                                                                                                            we disconnected


                                                                                       Hello

                                                                                       I previously reached out to Southwest airlines on 6/8/2020 before my flight. I sat on hold for an hour and then      Sarah Ueckert 8/27/20: R5X5BZ
                                                                                       the call hung up when an advisor answered the phone. R5X5BZ is my confirmation number. This is outlandish            pax completed flight on this confirmation
                                                                                       that during a pandemic you all don't have an automated callback system. I brought this ticket through kiwi due       phone hold 1 hour
                                                                                       to your website not a lowing me to get a ticket. I then called to cancel it with kiwi and southwest. Your systems
11577023     Email         8/27/2020 1:00 Complaint          Flight Cancellation       and next steps are very hard to navigate. Even your call systems do not have an escalation process to speak to       NSYH3L - no show
                                                                                       a supervisor. This has been more than a hassle this is disrespectful and awful. Covid caused me to not be able       social convo #9473066//notes:
                                                                                       to fly. I had tried several time to cancel this flight. Why aren't you all granted me a waiver as a courtesy. I am   Vicki did attempt to pull the call. Nothing from the phone number he provided from 06/01-08/11. | Tue Aug 11
                                                                                       very angry and bothered. I have attached the kiwi information from where I had to cancel the f ight through          2020 17:36:20 GMT 0000 (Coordinated Universal Time)
                                                                                       them first and then SWA. Please grant me a waiver I cannot lose these funds. I need to get back to ATL.              | Tue Aug 11 2020 20:20:21 GMT 0000 (Coordinated Universal Time)

                                                                                       I didn't have my flight number but i added the confirmation reservation number.

                                                                                       Dear air ine

                                                                                       Please proceed with the refund back to the original payment method. Please kindly help to convert the credits Sarah Ueckert 9/16/20: 114742639@airline.kiwi.com
                                                                                       into a cash refund back to the original form of payment if the credits were generated.                        UQKESO
12224494     Email         9/14/2020 4:59 Complaint          Fares & New Reservation
                                                                                                                                                                                                     Zd&ϭϬϬϬϬϬ Ϭϱϰϯϴϭϰϰϯ ͲϬϳͬ^ĞƉͬϮϬϮϮΨϭϬϴ͘ϵϴ
                                                                                       Please inform me of any possible results thanks.                                                              never canceled but funds dropped

                                                                                       Kindly regards




                                                                                                                                                                                                                                                                                                                     Appx. 105
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                                                                               Dear Southwest airlines

                                                                               I’m writing in regards of the situation brought by the COVID crisis. I have purchased one of your flights
                                                                               (WN240) via kiwi.com platform before the pandemic started. However I was not able to travel due to the travel
                                                                                                                                                                                                Sloan Chatterton 9/18/20: P69ND6
                                                                               restrictions declared by the governments. It has been more than 3 months during which kiwi.com told they
                                                                                                                                                                                                travel was from lax to oak on 03/31
                                                                               would get my money back from the airline still nothing has happened. I would l ke to ask you if I would be
                                                                                                                                                                                                pax booked on 02/17
                                                                               getting my money anytime soon? Did your airline transfer the money to the kiwi.com company or do you not
12359917   Ema l    9/17/2020 0:54 Comment/Question    Flight Cancellation                                                                                                                      pax never canceled
                                                                               provide a refund due to the COVID crisis? Thank you in advance.
                                                                                                                                                                                                funds are in an okay status in refundpro
                                                                                                                                                                                                pax is not eligible for a refund
                                                                               P.S. I wrote an incorrect confirmation number as I didn't get one from kiwi.
                                                                                                                                                                                                dropped funds in ard
                                                                               Best regards




                                                                               bonjour                                                                                                          Amela Zene i 9/23/20: Email was sent in French. PDKZBW and R8IONF were both booked from the KIWI email
                                                                                                                                                                                                she mentions. Routing to bilingual after reaching out to writer hlStephanie Beckers 9/25/20: TRANSLATION:
                                                                               nous avons procéder à une réservation via l'opérateur kiwi pour un vol avec votre compagnie (vol n°WN1121        Hello
                                                                               du 3 avril 2020 et vol n°WN1529 du 16 avril 2020)                                                                We made a reservation via the kiwi operator for a flight with your company (flight number WN1121 of April 3
                                                                               compte tenu de la crise sanitaire et des vols annulés en partant de la France nous n'avons malheureusement       2020 and flight number WN1529 of April 6 2020)
                                                                               pas pu prendre les vols internes dans les Etats-Unis.                                                            Given the health crisis and canceled flights from France we were unfortunately unable to take internal flights in
12505592   Ema l    9/21/2020 6:17 Complaint           Cancel Reservation                                                                                                                       the United States.
                                                                               procédez vous aux remboursements desdits vols?                                                                   Do you refund the said flights?
                                                                                                                                                                                                the operator tells us that he has no news from your company for the reimbursements and I am beginning to
                                                                               l'opérateur nous indique qu'il n'a pas de nouvelle de votre compagnie pour les remboursements et je              have doubts about the steps they have taken with you.
                                                                               commence a avoir des doutes sur les démarches qu'ils ont entreprises auprès de vous.
                                                                                                                                                                                                Thank you for your replyStephanie Beckers 9/25/20: Pax's tickets under PNR: were all still showing to be active
                                                                               merci pour votre réponse                                                                                         although they are past dated. Canceled them in ARD and dropped travel funds.
                                                                                                                                                                                                Ashley Salto 9/25/20: Pax purchased pnr s8jvvn through Kiwi. They have been waiting on a refund and feel that
12693962   Phone    9/25/2020 17:06 Complaint          Travel Funds                                                                                                                             the refund hasn't been processed as KiWi hasn't refunded them back w/ their money. I apolo for the situation.
                                                                                                                                                                                                After further review I found that the refunds were approved on June 8.
                                                                                                                                                                                                Robyn Hines 10/2/20: SWA CANCELLED FLIGHT PAX REQUESTING REFUND TO CC
                                                                                                                                                                                                PNR: RDT9QC
                                                                                                                                                                                                TRAVEL DATE: 04/02/20
                                                                                                                                                                                                CITY PA R: LAS SLC
12973751   Phone    10/2/2020 12:33 Comment/Question   Travel Funds                                                                                                                             TICKET#: 5262173116092
                                                                                                                                                                                                PAX:
                                                                                                                                                                                                AMOUNT: $48.99
                                                                                                                                                                                                EMAIL: 10866313@AIRLINE KIWI.COMChelsea Raymond 10/20/20: Verified xcld flt by swa. Refunded tkt in
                                                                                                                                                                                                ARD
                                                                               On April 22 2020 we booked a flight at your company via kiwi.com.
                                                                               Because of the Corona virus we had to cancel this flight. The French government did not allow us to travel.
                                                                               At Kiwi.com we initiated a kiwi assisted refund request. Until now we did not hear anything from them. Besides
                                                                               it is practically impossible to communicate with Kiwi.com neither by telephone email or helpdesk.
                                                                               That is why I have several questions for you:
                                                                               ϭ͘ŝĚ ǇŽƵ ƌĞĐĞŝǀĞ ĨƌŽŵ Ŭŝǁŝ͘ĐŽŵ Ă ƌĞĨƵŶĚ ƌĞƋƵĞƐƚ ĐŽŶĐĞƌŶŝŶŐ ƚŚŝƐ ĨůŝŐŚƚ͍
                                                                               Ϯ͘/Ĩ z^ ǁŚĂƚ ǁĂƐ ǇŽƵƌ ƌĞƐƉŽŶƐĞ ƚŽ ƚŚĞŵ ǁŚĂƚ ǁĂƐ ǇŽƵƌ ĚĞĐŝƐŝŽŶ͍
                                                                               ϯ͘/Ĩ EK ĐĂŶ ǇŽƵ ĂĚǀŝƐĞ ŚŽǁ ƚŽ ƉƌŽĐĞĞĚ ƚŽ ĞŶĚ ƚŚŝƐ ĨĂǀŽƌĂďůǇ͍
                                                                               Below you will find the f ight deta ls:

                                                                               Passengers:


13239858   Ema l     10/9/2020 7:09 Comment/Question   Flight Cancellation     Kiwi.com booking number: 79714239                                                                                Samantha Rivera 0/12/20: unable to locate travel under PNR WNABCD

                                                                               Flight:
                                                                               Los Angeles - Los Angeles International LAX
                                                                               2020 Apr 22 21:55 Local time
                                                                               Las Vegas - McCarran International LAS
                                                                               2020 Apr 22 23:05 Local time
                                                                               Flight no: WN1151 Airline: Southwest Airlines
                                                                               Contact:




                                                                                                                                                                                                Anne Pickwoad 10/22/20: Jasmine called in stating she flew on 9/26 and saw that her luggage was damaged
                                                                                                                                                                                                but her mom was in the hospital. She contacted us the next day she got a response on 10/1 stating that we
                                                                                                                                                                                                were sending SLV but she never got the SLV. I apologized that her mother was in the hospital and that her
13749522   Phone   10/22/2020 19:53 Complaint          Travel Funds                                                                                                                             luggage was damaged. I adv that we sent the $50 SLV to the email entered at the time of booking on 10/1 but I
                                                                                                                                                                                                adv her that it looks like she booked through Kiwi. I adv her that I wi l be resending the SLV to the email she
                                                                                                                                                                                                verified with me. Reissued SLV under CO 17149863 adv her it could take about 24-48 hrs for her to get. Pax
                                                                                                                                                                                                was very appreciative thanked and disconencted.
                                                                                                                                                                                                Hannah Chapoy 10/22/20: called and spoke with someone because he as in a car accident. sent over dox. I adv
                                                                                                                                                                                                that the SLV would be arriving in 10-14 days. He wanted to use it today and I adv that he would not be able to
                                                                                                                                                                                                and would need to book using another form of payment. I adv the email address that the voucher would be
                                                                                                                                                                                                sent to and he disconnected.
13749992   Phone   10/22/2020 20:02 Complaint          Policy - Reservations
                                                                                                                                                                                                RVSGY5
                                                                                                                                                                                                SLV -22/Oct/2021 - Fu f llment by Email $ 45.00
                                                                                                                                                                                                Claim No: 201130273
                                                                                                                                                                                                124927572@AIRLINE.KIWI.COM

                                                                                                                                                                                                Nakia Kelly 10/24/20: French Mario Arteaga 10/27/20: FRENCH TO ENGLISH TRANSLATION:

                                                                                                                                                                                               We bought three plane tickets via the kiwi com platform for a flight from May 01 2020 through May 0 2020
                                                                                                                                                                                               from Paris to Oklahoma City. Due to the Covid our flight to Oklahoma and Paris wer canceled so therefore we
                                                                                                                                                                                               were unable to benefit from internal southwest airlines f ights. Today Norwegian has refunded us but kiwi.com
                                                                                                                                                                                               explains that you cannot refund in money but in exchange. This offer does not suit us because we live in France
                                                                               nous avons pris trois billets d’avions via la plateforme de kiwi.com pour un vol du 01 au 0 mai 2020 pour Paris
                                                                                                                                                                                               and we will not benefit from this exchange for at least the next two years due to current health circumstances.
                                                                               oklahoma city. En raison du Covid notre vol Paris oklahoma a été annulé donc par conséquent nous n’avons
                                                                               pas pu bénéficier des vols internes southwest airlines. Aujourd’hui noeweigian nous on remboursé mais
                                                                                                                                                                                               Furthermore I inform you that the method of payment has changed; the bankcard used is no longer the same.
                                                                               kiwi.com nous explique que vous ne pouvez pas procéder au remboursement monétaire mais en bon
                                                                                                                                                                                               Will you be cordial to take note of the new bank details to make the refunds in question.
                                                                               d’échange. Cette offre ne nous convient pas car nous habitons en France et nous ne bénéficieront pas de cet
                                                                                                                                                                                               Also note that we have been in procedures for more than 6 months and that the processing times for clients
                                                                               échange pendant minimum les deux prochaines années en raison des circonstances sanitaires actuelle.
                                                                                                                                                                                               are very long.
13750668   Ema l   10/22/2020 20:13 Complaint          Travel Funds            Par ailleurs je vous informe que le mode de paiement a changé la carte bancaire ut lise n’est plus la même.
                                                                               Vous serez cordiale de prendre note des nouvelles coordonnées bancaire pour procéder aux remboursements
                                                                                                                                                                                               Thank you for contacting me via                           or by phone at               so that I can send you the
                                                                               en question.
                                                                                                                                                                                               supporting documents.Mario Arteaga 10/27/20: - No Account information located.
                                                                               Sachez aussi que cela fait plus de 6 mois que nous sommes en procédures et que les délais de traitements des
                                                                                                                                                                                               - Customer purchased tickets with us but no longer using due to cancellation.
                                                                               dossiers sont très long pour les clients.
                                                                                                                                                                                               - Requesting that we refund the funds back to original fop.
                                                                               Nous vous remercions de prendre contact avec moi via                            ou par téléphone au
                                                                                                                                                                                               - Verified RefundPro and noticed that $101.98 x 3 was already refunded to cc ending in 0642.
                                                                                                pour que je puisse vous envoyer les documents jusficatif.
                                                                                                                                                                                               - Ema l states that the card used is no longer a valid one.
                                                                                                                                                                                               - Wants us to provide the refund to a d fference card.
                                                                                                                                                                                               - Reaching out to pax confirming we are not able to issue out to different card (Due to CC agreements).
                                                                                                                                                                                               - If card is closed then it would get forwarded as a check once bounced back to us.
                                                                                                                                                                                               - Pax stated they have been waiting 6 months now.
                                                                                                                                                                                               - Thanks Mario A. - CR/RR

                                                                                                                                                                                                Noemi Ruiz 11/4/20: Forwarding to CR for review of refund return email address is not customers and PNR
                                                                               PNR: W7YVT3
                                                                                                                                                                                                does not seem to have been made through travel agencyNoemi Ruiz 11/4/20: (PNR) cannot be refundedMacy
1 830244   Ema l   10/24/2020 11:50 Comment/Question   Cancel Reservation      Name
                                                                                                                                                                                                Dennison 1 /4/20: Refunding $73.98 back to CC using ARD
                                                                               Email Address: 126203297@airline.kiwi.com
                                                                                                                                                                                                WN5877 ORF BWI 01/08/2021
                                                                               Hello and thank you for your response. I don’t have any card than ends at that number and there is no refund
                                                                               in my account so far . I booked this f ight for my husband too and I was able to convert his travel funds into
                                                                               points a few days ago and I followed the same procedure with my travel funds and I found out that something
140584 8   Ema l   10/28/2020 21:55 Comment/Question   Travel Funds            was wrong . When the flights were cancelled I logged in in my account I cancelled the flight and that was the Alexis Peterson 11/ /20: Ema l listed in booking is a kiwi.com email - advising pax to reach out to them directly
                                                                               picture I sent you that showed my travel funds. Since then I didn’t contact your airline or asked for a refund. Is
                                                                               there is a chance that the refund was at the online company I booked the tickets from?It’s called “esky”. And
                                                                               maybe they haven’t refunded me yet? What more can I do?thank you


                                                                               Dear Airline                                                                                                     Kristin Roberts 11/19/20: Coronavirus 2020 - Wants refund of tkt due to not being able to travel into the US.
                                                                                                                                                                                                Tkt no-showed.
                                                                               I had/have a flight booking (via Kiwi.com) at your company for 5 person.
                                                                               I would have flown to USA from Europe (Barcelona to Boston) with Iberia. Unfortunately the airline cancelled     PNR SSF9JX
                                                                               my f ight due Covid19 on 9th July. Then I wrote about it to Kiwi.com that I can not travel to USA therefore I
                                                                               would like to cancel my booking for your flight. It happen more then 2 months earlier then the plane take off.   Remarks:
                                                                               So far I have not received an answer from them. Yesterday they communicated to me that I do not get any          ^< ,E' KDW>dͬEDd,͗^ Dt͗K^
14828125   Ema l   11/17/2020 12:03 Complaint          Policy - Reservations   refund for this booking. I had some question for this but they were not cooperative. I did not get answers for   ^< ,E' KDW>dͬdK>/͗s/ K>dE Dt͗K^
                                                                               my questions (for example:they have communicated to you my intention to delete and the reason for it?)           ^< ,E' KDW>dͬEDd,͗'Z'K :EK^ Dt͗K^
                                                                               Beyond my own fault I could not travel to USA. Therefore I trust in your cooperation and refund or               ^< ,E' KDW>dͬsZ'͗<d>/E Dt͗K^
                                                                               compensation. (I planned well the all travel but I had to cancel other f ights as well:We got voucher from       SKD CHANGE COMPLETED/NAGY:ZOLTAN MDW:BOS
                                                                               Iberia. We got refund from Wizzair airline and Ryanair airline)
                                                                               I trust in their understanding and help                                                                          10/05/2020 7:25 PM
                                                                               Best Regards                                                                                                     ^^Z Kd,^ EK^,Kt KE tE ϮϭϵϴͬϬϱKdϮϬ
                                                                               Zoltan Nagy                                                                                                      SSR OTHS ETKT REVOKED BY WN DUE TO NOSHOW




                                                                                                                                                                                                                                                                                                         Appx. 106
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                                                                                     Hello
                                                                                                                                                                                                        Eduardo Esquivel Cuellar 11/20/20: PNR: VM3GTS
                                                                                     In January I booked a f ight via Kiwi.com from Cancun to Paris. The first leg was Cancun to Fort Lauderdale
                                                                                                                                                                                                        622 07/May/2020 CUNFLL
                                                                                     flight confirmation no. VM3GTS. I also see a confirmation code 100753488. This flight was then cancelled.
                                                                                                                                                                                                        Canceled
                                                                                     I have just found out from Kiwi.com that you wi l not be refunding me this amount. I am not a citizen of the
      14933807 Email   11/19/2020 16:16 Complaint          Flight Cancellation                                                                                                                          03/31/2020 12:34 AM
                                                                                     USA (I am from the U.K.) so travel funds to be used for a future flight with SouthWest airlines are of no use to
                                                                                     me. Please refund me the total of $264.12 otherwise I will need to get my bank or Ombudsman involved.
                                                                                                                                                                                                        Remarks:
                                                                                                                                                                                                        ^< ,' &/>ͬKE&/>
                                                                                     If you need further details (bank account etc.) please let me know.
                                                                                                                                                                                                        SKD CHG FAILED/ANTUNES



                                                                                                                                                                                                        M llicent Simmons 11/25/20: Coronavirus 2020

                                                                                                                                                                                                        Child Case # 15169763

                                                                                                                                                                                                        Parent Case # 15143531
                                                                                     Dear Sir or Madam

                                                                                     I am taking the liberty of sending you this email to see if there is anything you can do for me.              23SEP95
                                                                                     Indeed I had bought a plane ticket for the trip from Fort Lauderdale to Paris CDG on 06 August 2020 (PNR:
                                                                                     O8SVRX). The flight was cancelled because of covid19.                                                         O8SVRX
                                                                                     I received from you via Kiwi a voucher of 155 87USD valid until September 2022 the problem is that I won't be
                                                                                     able to travel with your company during the allowed time...
15 69763       Email    11/25/2020 8:16 Complaint          Policy - Reservations
                                                                                     Is it possible to get a monetary refund ?                                                                          95881236@airline.kiwi.com

                                                                                     I would like to thank you for what you can do for me.                                                              Pax Marie is requesting a refund to be processed back to the original FOP for the nonrefundable Wanna Get
                                                                                     Regards                                                                                                            Away ticket purchase for PNR O8SVRX.

                                                                                                                                                                                                        Confirmed that PNR O8SVRX was cancelled and Pax Marie have a RTF for $155.87 for PNR
                                                                                                                                                                                                        O8SVRX and the RTF for PNR O8SVRX have an expiration date of September 7 2022 since the RTF for PNR
                                                                                                                                                                                                        O8SVRX was created between the dates of March 1 2020 and September 7 2020.

                                                                                                                                                                                                        I will not be processing a refund back to the original FOP for the nonrefundable ticket purchase for PNR
                                                                                                                                                                                                        O8SVRX since there was not a schedule change or a flight cancellation while PNR O8SVRX was active. Thanks
                                                                                                                                                                                                        M llicent
                                                                                     Helllo


                                                                                     I'd like to get a refund as a voucher regarding to the reservation number LP2S7H.
                                                                                                                                                                                                        Tanisha Christian 12/4/20: pax booked flt with kiwi airline website. wrote in from a business ema l not a
      15410883 Email     12/2/2020 9:19 Complaint          Flight Cancellation       Please answer me f there w ll be possibility to get it.                                                            personal email. no contact phone number included. e igible for refund however leaving as rtf until able to
                                                                                                                                                                                                        confirm speaking with pax.
                                                                                     I'm waiting for the information.


                                                                                     Best regards
                                                                                     Hello


                                                                                     I'd like to get a refund as a voucher regarding to the reservation number UMN32X.                                  Kaileigh Thompson 12/4/20: Ca led WHL to ask what email I should send the SLV to.
                                                                                                                                                                                                        Joy adv that we should just use airline kiwi email in the PNR after we searched everywhere for passenger
15410917       Email     12/2/2020 9:39 Complaint          Flight Cancellation       Please answer me f there w ll be possibility to get it.                                                            personal information.
                                                                                                                                                                                                        Claim No: 202966465
                                                                                     I'm waiting for the information.                                                                                   Claim No: 202966553


                                                                                     Best regards
                                                                                                                                                                                                        Michael Hubbard 12/4/20: Rashid called in stating that he booked with a third party site called Kiwi. He stated
                                                                                                                                                                                                        that he booked his mother to travel on Jet Blue for her OB and for her connection she would fly with SWA. He
                                                                                                                                                                                                        stated that the Representative at Kiwi didn't tell him about Southwest's policies. He stated that she tried to get
                                                                                                                                                                                                        on her flight and they told her she was a no show and that he f ight was yesterday and not today. He called in
                                                                                                                                                                                                        wondering if he we could just "reprint" her ticket for today. I advised that regrettably we are unable to reprint
15518922       Phone    12/4/2020 19:48 Complaint          Policy - Reservations
                                                                                                                                                                                                        tickets. I explained that our no show policy completely forfeits the funds of the ticket. I explained that the
                                                                                                                                                                                                        funds are gone. I advised him reaching out to Kiwi to fix the mistake that they caused. Rasheed was
                                                                                                                                                                                                        appreciative of the feedback. He thanked me and disconnected.

                                                                                                                                                                                                        UPI2KI

                                                                                                                                                                                                    Charisma Rosemond 12/11/20: Searched Cirrus using the Customer's first and last name. Located PNR: PAYZ9N
                                                                                     Hello I booked a flight on your airline with kiwi and they recently changed my booking for no reason. The trip
                                                                                     is supposed to be from 11 March - 15 March. They changed only one of the flights to 3rd of December for
15733281       Email   12/10/2020 16:06 Complaint          Modification                                                                                                                             Scheduled changes were made to the reservation. Travel is st ll scheduled for 3/11-3/15
                                                                                     some reason though. I have uploaded the original itinerary and the new itinerary. If you could help in any way
                                                                                     that would be wonderful! Kiwi has not been helpful at all unfortunately.
                                                                                                                                                                                                    Advising the Customer to contact us for further assistance since the PNR was not provided.

                                                                                     Hello

                                                                                     Three weeks ago I received a response from Eduardo Esquivel Cuellar (Case #14933807) saying that I would be
                                                                                     receiving a refund of $264.12 to the credit card used to pay for my original reservation.

                                                                                     However I have not received any further communications or the refund itse f. I originally booked the flight via
                                                                                                                                                                                                     Kristy Lojko 12/12/20: General FollowupKristy Lojko 12/12/20: Refund processed on 1 /20 approved 11/21
15767058       Email    12/11/2020 9:08 Comment/Question   Travel Funds              Kiwi com so I don't know if this means you do not have access to my credit card details?
                                                                                                                                                                                                     $132.06 times 2 card ending in 0482
                                                                                     Please let me know how I can help move this along and receive my refund.

                                                                                     Many thanks.




                                                                                     I would like to book this flight from LAX to BNA but on Kiwi.com the flight is $100 cheaper. Is there a reason     Joshua Trujillo 12/13/20: Sending to CR for review.Dominique Brown 12/17/20: There is no standard text to
                                                                                     the prices ar s or the same? I would rather book through SW because of my rapid rewards and credits but            address customer concerns. I reached out writer hotline for reassurance and was advised to route to
15805813       Email   12/12/2020 13:29 Complaint          Fares & New Reservation   because the price is lower I am tempted to use kiwi. Is there a reason it is a different price?                    SH.Amanda Jung 12/18/20: No rel cases/ptys no Tier CVS 2 member since 2011

                                                                                     Thank you!                                                                                                         Found PNR PBVJG for Jordan's 12/23 travel LGB-BNA
                                                                                     Hi

                                                                                     Thank you for your previous responses (Case #15767058 and Case #14933807).

                                                                                     In the last message you mention that a refund has been sent to a card number ending 0482. Because I bought
                                                                                     the flights via Kiwi.com (third party booking service) this will be their credit card not mine. I do not have any
                                                                                                                                                                                                       Benjamin Oltman 12/16/20: CR WB to case 15767058. Overlooked pax concerns.Kristy Lojko 12/17/20: Unable
15835899       Email   12/1 /2020 10:35 Comment/Question   Flight Cancellation       cards ending 0482.
                                                                                                                                                                                                       to call pax - no personal contact info provided other than email
                                                                                     I have contacted Kiwi.com and they have confirmed that this would be their credit card number as they do not
                                                                                     pass my details on to you.

                                                                                     Please let me know how I can get my refund. Your team might need to contact Kiwi about this - sorry I'm not
                                                                                     sure how this works.

                                                                                                                                                                                                        Vickie Gregory 12/22/20: Unable to locate SLV's via email search or address search. W ll refer to CR for
                                                                                                                                                                                                        handling.Erin Cleveland 12/31/20: Member since 2020//CVS-0//No REL Cases

                                                                                                                                                                                                    Found 3 PNRS:
                                                                                     Hello                                                                                                          SM854D-each pax has $38.90 as travel funds expires 09/07/22 booked 3/01/20 xcld online on 3/24 email in
                                                                                     I received voucher from you for cancelled f ights in May 2020 for me and                    . There were 3     resrv 111100143@AIRLINE.KIWI.COM
                                                                                     flights around hawaiian islands. Unfortunately I had a problem with my e-mail box and lost almost every email.
16211008       Email    12/22/2020 9:23 Comment/Question   Travel Funds
                                                                                     Can you please resend me these vouchers ? There are the only ones related to uur names.                        SM9TNV-each pax has $62.20 as travel funds expires 9/7/22 booked 3/10 xcld online on 3/24 email in resrv
                                                                                                                                                                                                    111100143@AIRLINE.KIWI COM
                                                                                     Thank you
                                                                                                                                                                                                    SMFCGU-each pax has $38.90 as travel funds expires 9/7/22 booked 3/01 xcld online on 3/24 email in resrv
                                                                                                                                                                                                    111100143@AIRLINE.KIWI COM

                                                                                                                                                                                                        Reissuing all emails to email addres                                 via cirrus

                                                                                                                                                                                                        Stephanie Roan 12/22/20             is following up as she stated she did not get her refund yet. She booked
                                                                                                                                                                                                        through kiwi. Michael is on the line from SC CSS with her on hold and has verified her CC info. I confirmed in
                                                                                                                                                                                                        PARIS that the funds were credited to CC 5825 on 9/16/20. I advised of this and that I can send a receipt to
                                                                                                                                                                                                                               He advised her of this and to speak to her bank as the funds were already released by
                                                                                                                                                                                                        SWA.Stephan e Roan 12/22/20: PNR: MQDCKV
                                                                                                                                                                                                        Flight #52 2050 10/Apr/2020 DALLAS
16216510       Phone   12/22/2020 15:06 Complaint          Travel Funds
                                                                                                                                                                                                        Flight #2520 845 13/Apr/2020 LASDAL

                                                                                                                                                                                                        Claim No: 19158 583
                                                                                                                                                                                                        RTF1000001017510047 -07/Sep/2022 $89.96
                                                                                                                                                                                                        Refund status: Approved 15/Sep/2020
                                                                                                                                                                                                        CC 5825 $(89.96)




                                                                                                                                                                                                                                                                                                                   Appx. 107
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                                                                                                                                                                                                    Alexa Martin 12/29/20: Landon stated he had made a reservation through a 3rd pty site. He was told by them
                                                                                                                                                                                                    that he couldnt contact SWA and has to contact them for assistance. He explained that his gf had tested
                                                                                                                                                                                                    positive for covid and had ca led kiwi to cancel or change but couldnt get in contact. He is now reaching out to
                                                                                                                                                                                                    SWA to see if anything could be done with the funds so he could rebook.
                                                                                                                                                                                                    I apol to hear what happened. Explained that we don't work with any 3rd party sites and our only official
                                                                                                                                                                                                    booking is through .COM or our main CS line. I adv his tkts no showed since they werent canceled and
                                                                                                                                                                                                    explained policy. I asked if he had reached out at all to SWA before the flts and he adv no but tried sending an
                                                                                                                                                                                                    email only to get a response that didnt address concerns. Apol but informed that there wouldnt be anything we
                                                                                                                                                                                                    could assist with since the funds are forfeited. He got upset because he reached out a lil later than day after his
16472521   Phone   12/29/2020 17:48 Complaint          Policy - Reservations
                                                                                                                                                                                                    flight was missed. He asked f there was anyone else he could speak with. I adv CR EO informed these were our
                                                                                                                                                                                                    exceptions. I adv ultimately he was doing business through a 3rd party company that he still had ability to
                                                                                                                                                                                                    reach out to SWA. I adv we dont have any control over who he was working with but also made this
                                                                                                                                                                                                    information ava lable for our cust on .COM. He was upset and said he was never flying SWA because he felt like
                                                                                                                                                                                                    we took his money.


                                                                                                                                                                                                    OXXT4Y -173.98
                                                                                                                                                                                                    4880 WN4880 SAT LAX 12/27/2020 7:05 AM

                                                                                 Hello
                                                                                                                                                                                                    Maggie Sparks 1/19/21: PAX adv they booked through a 3rd party and have not rcvd their refund as promised
                                                                                                                                                                                                    now claiming their refund directly from SWA //no rel pty/cases
                                                                                 I booked a f ight with you via Kiwi.com on the 01/14/2020.
                                                                                 The f ight was due to leave on 28/04/2020 going form Louis Armstrong New Orleans International to Austin
                                                                                                                                                                                                    Cirrus shows flt operated as scheduled and PNR was never xcld
                                                                                 Bergstrom International.
                                                                                                                                                                                                    RefundPro shows tkt as open sti lMaggie Sparks 1/19/21: Unable to drop funds ($94.98) to RTF in ARD:
                                                                                 The f ight was cancelled on the 0/02/2020 due to Coronavirus and the refund application was received the
                                                                                                                                                                                                    Error Message
                                                                                 same day.
                                                                                                                                                                                                    ऄ An error has occured on Central System side during the last refund request processing. (9885) ऄ AUTOMATED
                                                                                 I've been told by Kiwi.com to keep waiting but they appear to be doing nothing so I'm contacting you directly.
17268608   Email    1/ 8/2021 13:34 Complaint          Flight Cancellation                                                                                                                          REFUNDS INHIBITED - MAXIMUM REFUND DATE EXCEEDED (9902)Maggie Sparks 1/19/21: Upon further review
                                                                                                                                                                                                    Cirrus shows pax's original Flt #1817 xcld due to S on 4/21 pax was auto reaccomd to new flt 2055Maggie
                                                                                 I've looked it up and I'm within my rights to get a full refund of £109.01.
                                                                                                                                                                                                    Sparks /19/21: Submitted manual refund request Ticket #6DDBC-CAC8B
                                                                                 The booking reference is: 100 990 406
                                                                                 Reservation number: KJV3VU
                                                                                                                                                                                                    W ll respond to pax since we can refund their tkt due to the sched reaccom and w ll refund the tkt once
                                                                                 Flight number: WN1817
                                                                                                                                                                                                    manual refund completeCole Stephen 1/19/21: Case 17268608 Manually Marking Coupons Refunded Colten
                                                                                                                                                                                                    SCole Stephen 1/19/21: Case 17264203 Manually Marking Coupons Refunded Colten SMaggie Sparks 1/19/21:
                                                                                 I look forward to hearing back to you
                                                                                                                                                                                                    Refunded tkt per article 9 claim #204760288 $94.98 to cc 1 03
                                                                                 Mali Bone

                                                                                                                                                                                                    Ashley Salto 1/19/21: Pax called in regarding pnr 3ag4y5. Pax got too tickets and pax confused on why he was
                                                                                                                                                                                                    due to travel to ATL vs going back to MDW where he came from. Pax also mentioned that the MDW Agents
                                                                                                                                                                                                    were rude and advising him that Customers do it all the time to get a refund. Pax inquiring what happened and
                                                                                                                                                                                                    why he was scheduled to connect in MDW vs his final destination being MDW. I apolo and advised it shows it
                                                                                                                                                                                                    was booked on ine. I confirmed no changes were made to the pnr and the flight was booked as it. However I
                                                                                                                                                                                                    advised the flights are priced as one so there would be no funds he could get back for the no show leg as his
17330393   Phone    1/19/2021 21:15 Complaint          Fares & New Reservation                                                                                                                      funds were absorbed on the st leg. After reviewing his ob flight under 3afepv. The ema ls were the same but
                                                                                                                                                                                                    the @s were different. Pax was not aware of the email address listed on his return leg. His email address was
                                                                                                                                                                                                    only isted on the OB along with a kiwi email address. the return flight did not have his email address but it had
                                                                                                                                                                                                    a similar kiwi address. I spoke w/ HL. HL advised not much we can do as the reservation was booked online and
                                                                                                                                                                                                    the reservation was booked as one way. They wi l send an inquiry regarding kiwi having swa flights on their
                                                                                                                                                                                                    website. Pax disappointed and not sure hpw his res was booked through anoter website. Advised he will
                                                                                                                                                                                                    contact them.
                                                                                 Due to breaking my wrist I couldn’t travel on 2/5. I had booked my ticket through kiwi and when I was finally
                                                                                 able to speak to them (i tried many times to reach out to them) to get a refund/credit they said it was too late
                                                                                                                                                                                                    Eduardo Esquivel Cuellar 2/9/21: WGA no-show
                                                                                 and i couldn’t get a refund or credit. When I spoke to Ramon from southwest he was kind and very
                                                                                                                                                                                                    Docs received
18160351   Email     2/8/2021 22:41 Comment/Question   Policy - Reservations     professional and helped me cancel and get a credit for the return flight on 2/8 but said he couldn’t really help
                                                                                                                                                                                                    Sending SLV as GOG
                                                                                 me on getting a refund or credit for the outgoing flight on 2/5 the confirmation number is 27w4mb. I would
                                                                                                                                                                                                    Claim No: 205380887
                                                                                 really like upper management to help me get a credit for this flight. I have submitted the medical proof of my
                                                                                 broken wrist.




                                                                                                                                                                                                                                                                                                               Appx. 108
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SR Number       Created Date     Workgroup      Source     PNR            Category                        Sub Cat 1                     Sub Cat 2                        Sub Cat 3                  Nature             Summary                                                               Note
                                                                                                                                                                                                                                                                                             Hello,
                                                                                                                                                                                                                                                                                             I have just booked a fl ght th ough k w com and made a m stake and
                                                                                                                                                                                                                                                                                             booked the w ong t me, I have managed to contact them but m feel ng
2219398184057          1/17/2018 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Change Book ng             Comment/Quest on   Custome wants to know f l ght can be changed f ee of cha ge
                                                                                                                                                                                                                                                                                             maybe they a e a scam web s te. the book ng numbe I have s 5431738.
                                                                                                                                                                                                                                                                                             Can you help me please ead that I can change my l ght t me f ee of
                                                                                                                                                                                                                                                                                             cha ge??
                                                                                                                                                                                                                                                                                             I made the b g m stake of book ng you fl ght th u k w .com wh ch tu ned
                                                                                                                                                                                                                                                                                             out to be an outf t n the Czech Republ c. When I equested w th n an
                                                                                                                                                                                                                                                                                             hou afte book ng fo a cancellat on/ efund, I have to wa t fo 30 days
                                                                                                                                                                                                                                                                                             and got a p om se of only a pa t al efund. The book ng #s I was g ven
                                                                                                                                                                                                                                                                                             we e PZON3S and PZATMB. Would you be able to let me know how much
                                                                                                                                                                                                                       Custome bought t ckets th ough k w .com and s ask ng how much         was efunded fo these book ngs? I made the b g m stake of book ng
2222742265550           2/6/2018 CR/RR          Web Fo m PZATMB, PZON3S   Refunds                         Refund Request                T ckets/Fa es                    Non efundable              Comment/Quest on
                                                                                                                                                                                                                       they we e efunded afte cance l ng.                                    you fl ght th u k w .com wh ch tu ned out to be an outf t n the Czech
                                                                                                                                                                                                                                                                                             Republ c. When I equested w th n an hou afte book ng fo a
                                                                                                                                                                                                                                                                                             cance lat on/ efund, I have to wa t fo 30 days and got a p om se of only
                                                                                                                                                                                                                                                                                             a pa t al efund. The book ng #s I was g ven we e PZON3S and PZATMB.
                                                                                                                                                                                                                                                                                             Would you be able to let me know how much was efunded fo these
                                                                                                                                                                                                                                                                                             book ngs?


                                                                                                                                                                                                                                                                                             Resea ch
                                                                                                                                                                                                                                                                                             ZĞůĂƚĞĚ WĂ ƚ ĞƐ
                                                                                                                                                                                                                                                                                             ^ĞĂ ĐŚĞĚ ĞŵĂ ů ŶŽ ĞůĂƚĞĚ ƉĂ ƚ ĞƐ͘
                                                                                                                                                                                                                                                                                             ZĞůĂƚĞĚ ^ZƐ
                                                                                                                                                                                                                                                                                             ^ĞĂ ĐŚĞĚ WEZ ŶŽ ĞůĂƚĞĚ ^ZƐ
                                                                                                                                                                                                                                                                                             ZĞƉŽ ƚƐ
                                                                                                                                                                                                                                                                                             N/A
                                                                                                                                                                                                                                                                                             ĚĚ ƚ ŽŶĂů ZĞƐĞĂ ĐŚ EŽƚĞƐ
                                                                                                                                                                                                                                                                                             d<d ǁĂƐ ĐŚĂŶŐĞĚ
                                                                                                                                                                                                                                                                                             FLT 621 f om CUN to FLL on 1/27 was scheduled to depa t at 5 55 p.m.
                                                                                                                                                                                                                        l ght eaccom d d not get any not f cat on and no alte nate fl ghts   PAX was eaccom d onto FLT 6548 CUN FLL fo 1/27, but depa tu e was
2223161280774           2/8/2018 CR/RR          Web Fo m K3HSPH, K3HSPH   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me         Compla nt
                                                                                                                                                                                                                       offe ed at a po t. seek ng compensat on                               2 55 p.m.

                                                                                                                                                                                                                                                                                             ema l n PNR was 4205789@AIRLINE.KIWI.COM...

                                                                                                                                                                                                                                                                                             PAX neve t aveled and TKT no-showed
                                                                                                                                                                                                                                                                                             sent CRAM Request CRAM wants to ve fy the CC # n case t would be a
                                                                                                                                                                                                                                                                                              efund to k w ... asked Cassand a and Raf to d al out to ve fy ca d #, but
                                                                                                                                                                                                                                                                                             Cassand a was unable to each Custome by phone, so CRAM won t
                                                                                                                                                                                                                                                                                             app ove a efund w thout ve fy ng the CC# ..
                                                                                                                                                                                                                                                                                              sent CRAM Request CRAM wants to ve fy the CC # n case t would be a
                                                                                                                                                                                                                                                                                              efund to k w ... ask ng Cassand a and Raf to d al out to ve fy ca d #


                                                                                                                                                                                                                                                                                             H,

                                                                                                                                                                                                                                                                                             I booked my fl ght th ough K w com and not ced that the conf mat on
                                                                                                                                                                                                                                                                                             ema ls and e t cket d d not have a t cket numbe l sted. Check ng my
                                                                                                                                                                                                                       booked SWA ese vat on th ough k w .com equest ng t ne a y              ese vat on deta ls on Southwest.com all the deta ls of the fl ght a e
2224009605230          2/13/2018 Rese vat ons   Web Fo m NGUIFI           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      t ne a y Rep nt/Rece pts   Comment/Quest on
                                                                                                                                                                                                                       nfo mat on.                                                           l sted, but I can t f nd my t cket numbe the e e the . Have I been
                                                                                                                                                                                                                                                                                             ass gned a t cket numbe o s that someth ng I ll need to wa t to see on
                                                                                                                                                                                                                                                                                             my boa d ng pass?

                                                                                                                                                                                                                                                                                             Thanks fo you help!
                                                                                                                                                                                                                                                                                             I have t aveled on Southwest many t mes befo e but w l be hes tant to
                                                                                                                                                                                                                                                                                             eve do so aga n. We t avel to D sney Wo ld at least one t me a yea , so
                                                                                                                                                                                                                                                                                             we a e fam l a w th fly ng. Ou expe ence on F day, 2/23/18 was by fa
                                                                                                                                                                                                                                                                                             the wo st expe ence we've had.
                                                                                                                                                                                                                                                                                             To beg n w th, we pa d ext a fo ea ly check n ..only to have the majo ty
                                                                                                                                                                                                                                                                                             of the othe t avele s get on the plane ahead of us. When I quest oned
                                                                                                                                                                                                                                                                                             why we we e so fa back n the g oup, I was told by a Southwest
                                                                                                                                                                                                                                                                                             employee that It eally sn t wo th buy ng the ea ly check n when you
                                                                                                                                                                                                                                                                                             fly out of O lando. . I w sh someone had told me that befo e Southwest
                                                                                                                                                                                                                                                                                             w ll ngly took my money. The same gate ep esentat ve (whom was ve y
                                                                                                                                                                                                                                                                                             k nd and be ng honest. .so I do not fault he ) told me that the e was no
                                                                                                                                                                                                                                                                                             gua antee I would s t w th my 7 yea old daughte as she was too old
                                                                                                                                                                                                                                                                                             pe Southwest gu del nes. As you can mag ne, the est of ou wa t to
                                                                                                                                                                                                                                                                                             boa d was spent t y ng to console my daughte that eve yth ng would be
2226211636147          2/25/2018 CR/RR          Web Fo m N28K7B           Onboa d A c a t Expe ence       Cab n Appea ance/Cl mate      Cab n                            Hot                        Compla nt          EB, D ty Seats, Hot n Cab n
                                                                                                                                                                                                                                                                                             al ght. It was t aumat c fo all of us. Thankfu ly, we d d ndeed get seats
                                                                                                                                                                                                                                                                                             togethe once we boa ded. The seats (and g ound below) we e cove ed
                                                                                                                                                                                                                                                                                              n f u t - k w and st awbe es, to be exact. But I was not sepa ated f om
                                                                                                                                                                                                                                                                                             my 7 yea old, so we cleaned up the f u t and hoped the est of the
                                                                                                                                                                                                                                                                                             expe ence would be bette . It wasn t!
                                                                                                                                                                                                                                                                                             Unfo tunately we boa ded a plane w th a ma funct on ng a cond t one .
                                                                                                                                                                                                                                                                                             We we e told that the e had been a fa lu e of the AC un t when they
                                                                                                                                                                                                                                                                                             landed and that t would not tu n back on unt l we we e n fl ght. To say
                                                                                                                                                                                                                                                                                             that t was uncomfo tably wa m would be an unde statement. Most
                                                                                                                                                                                                                                                                                             people on the plane ( nclud ng l ght attendants!) we e us ng pamphlets
                                                                                                                                                                                                                                                                                              n the seat pockets to fan themselves. It took at least 45 m nutes f om
                                                                                                                                                                                                                                                                                             the t me we loaded the plane unt l the tempe atu e was manageable. By
                                                                                                                                                                                                                                                                                             that t me, the heat had made us a l feel s ck. The k ds had headaches. I
                                                                                                                                                                                                                                                                                             was s ck to my stomach I ended up need ng to take seve al bath oom
                                                                                                                                                                                                                                                                                             dea Ass stant, booked that fl ght v a K w com. Have had to cancel that
                                                                                                                                                                                                                                                                                             fl ght and went to you s te d ectly. I asked fo hav ng a c ed t by you fo
                                                                                                                                                                                                                       Had to cancel ese vat on equest ng ece pt show ng fl ght was xled     anothe fl ght late , what was accepted by you system. I would l ke to
2226738327665          2/28/2018 Rese vat ons   Web Fo m JEP7WM           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      t ne a y Rep nt/Rece pts   Comment/Quest on
                                                                                                                                                                                                                       and funds a e ava lable.                                              get a conf mat on pe ema l of that cancellat on and c ed t, my
                                                                                                                                                                                                                                                                                             accountant needs that conf mat on. I app ec ate you effo ts


                                                                                                                                                                                                                                                                                             I am t y ng to book a Ma ch 20 fl ght f om New Mex co n the USA to
                                                                                                                                                                                                                                                                                             L sbon po tugal. I have found a ve y good fa e on KIWI that ncludes
                                                                                                                                                                                                                                                                                             Southwest n the t ne a y. My passpo t s be ng enewed and w ll a ve
2227004796595           3/1/2018 Rese vat ons   Web Fo m                  A po t Expe ence                Secu ty- Inte nat onal        Customs Checkpo nt               ID Inqu y                  Comment/Quest on   Is passpo t numbe equ ed to make n t al ntl ese vat on.                n 1 week but I would l ke to book today. K w sa d that whethe I can
                                                                                                                                                                                                                                                                                             book w thout a cu ent passpo t numbe depends on the a l ne, so my
                                                                                                                                                                                                                                                                                             quest on s May I book a fl ght that ncludes Southwest w thout a cu ent
                                                                                                                                                                                                                                                                                             passpo t numbe n hand?

                                                                                                                                                                                                                                                                                             I booked a l ght v a K w .com book ng numbe 5306255 go ng f om Hou
                                                                                                                                                                                                                                                                                             to Pa s v a Bos and I am a A-L st membe w th SWA. My quest on s can I
2227588549217           3/4/2018 Rese vat ons   Web Fo m                  Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com                 Add Account Numbe to PNR   Comment/Quest on   booked th ough 3 d pa ty equest to add RR numbe to ese vat on
                                                                                                                                                                                                                                                                                             get c ed t fo th s fl ght on my w fe and my ap d ewa d account.


                                                                                                                                                                                                                                                                                             To Whom It May Conce n

                                                                                                                                                                                                                                                                                             I hope you a e we l. I'm w t ng to equest a w tten conf mat on that
                                                                                                                                                                                                                                                                                             the fl ght t me of my fl ght 'WN341' on Janua y 10th f om Cancun to LAX
                                                                                                                                                                                                                                                                                             was changed f om 5 20pm to 5 50pm.

                                                                                                                                                                                                                                                                                             Ou book ng company k w .com stated the fl ght t me was 5 20pm. When
                                                                                                                                                                                                                                                                                             we got to the a po t the staff at southwest sa d the fl ght t me had been
                                                                                                                                                                                                                                                                                             changed f om the o g nal t me of 5 20pm and that th s change had
                                                                                                                                                                                                                       Seek ng docs to show the fl ght change f om CUN to LAX, fo
2228243291597           3/7/2018 CR/RR          Web Fo m MYBGWA           Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me         Comment/Quest on                                                                         occu ed a numbe of weeks p o . Ou book ng company fa led ale t us
                                                                                                                                                                                                                        nsu ance pu poses.
                                                                                                                                                                                                                                                                                             of the change to the fl ght t me.

                                                                                                                                                                                                                                                                                             I need th s w tten conf mat on that the fl ght t me was changed fo
                                                                                                                                                                                                                                                                                             t avel nsu ance pu poses.

                                                                                                                                                                                                                                                                                             Look ng fo wa d to you eply.

                                                                                                                                                                                                                                                                                             K nd ega ds


                                                                                                                                                                                                                                                                                             H the e,
                                                                                                                                                                                                                                                                                             Can you please nfo m me whethe we would be able to pay fo the 'ea ly
                                                                                                                                                                                                                                                                                             b d' opt on on t ckets bought th ough an onl ne agent?
                                                                                                                                                                                                                                                                                             We pu chased ou hol day opt ons v a K w .com, howeve we a e n need
                                                                                                                                                                                                                                                                                             to ex t the plane asap on a val, and thus was hop ng to get bette seat
2229659192067          3/15/2018 Rese vat ons   Web Fo m TJ8Z2E           southwest com                   P oduct/Funct onal ty         Ea lyB d                         P oduct Info mat on        Comment/Quest on   Custome want ng to know f they can pu chase Ea lyB d.
                                                                                                                                                                                                                                                                                             opt ons on the plane by buy ng the ea ly b d fee.
                                                                                                                                                                                                                                                                                             Ou Rese vat on n s TJ8Z2E. Ou K w .com ese vat on n s 5855734.

                                                                                                                                                                                                                                                                                             I look fo wa d to hea ng f om you.
                                                                                                                                                                                                                                                                                             Many thanks


                                                                                                                                                                                                                                                                                             called n fo status of he efund. I adv sed t gene ally takes 30 bus ness
                                                                                                                                                                                                                                                                                             days and that he s s st ll pend ng app oval to the mc end ng n 3610.

                                                                                                                                                                                                                                                                                        look ng he t cket, she booked the t cket w th k w .com and I adv sed that
                                                                                                                                                                                                                                                                                        she booked any futu e t avel th ough the d ect a ca e . adv sed that
                                                                                                                                                                                                                       Pax expe enced mult ple ops caus ng he to make t to dest nat ons we can only send the efund to the cc that was used to pu chase and that
2231064587009          3/22/2018 CR/RR          Phone      JXTBI5         Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                           Reaccom D fe ent Day       Compla nt
                                                                                                                                                                                                                       2 days late than scheduled.                                      desp te what she pa d k w , the t cket was only wo th $53.98. she asked
                                                                                                                                                                                                                                                                                        fo a c ed t nstead and I adv sed that we can cxl the efund and g ve he
                                                                                                                                                                                                                                                                                        a c ed t nstead but that t w l only be fo $53.98. expla ned exp at on
                                                                                                                                                                                                                                                                                        dates a e a t avel by date.

                                                                                                                                                                                                                                                                                             cxled efund Cla m No 157130142 PNR JXTBI5

                                                                                                                                                                                                                                                                                             Had to change a fl ght f om SEA to OAK f om o g nal 12 20 depa tu e
                                                                                                                                                                                                                                                                                             same day a anged th ough KIWI to Fl ght 1581 (ea l e l ght needed to
                                                                                                                                                                                                                                                                                             make a t ansfe n OAK). Because we wo ked w th both Southwest
2231737521240          3/26/2018 Rese vat ons   Web Fo m OY8EN9           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      t ne a y Rep nt/Rece pts   Comment/Quest on   ve fy has 1 es only                                                   A l nes and KIWI, I want to make su e we a e not double booked. My
                                                                                                                                                                                                                                                                                             husband Paul Montes) and I should only have one set of t ckets on SW,
                                                                                                                                                                                                                                                                                             Fl ght #1581. Could you please check and make su e th s s co ect?
                                                                                                                                                                                                                                                                                             Thanks
                                                                                                                                                                                                                                                                                             I made a ese vat on th ough K w .com and then I found out was unable
                                                                                                                                                                                                                                                                                             to make the fl ght. I cancelled that ese vat on back n Feb ua y to wh ch
                                                                                                                                                                                                                                                                                             they sa d I could get a 98 98 efund w th southwest fo that leg of my
                                                                                                                                                                                                                                                                                             fl ght. They told me to go to the webs te and ente n the name and the
                                                                                                                                                                                                                                                                                             pNR numbe but t s show ng 0 00.
2235667341383          4/17/2018 Rese vat ons   Web Fo m STET3M           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Ve fy Funds                Comment/Quest on   funds a e show ng $0
                                                                                                                                                                                                                                                                                             Th s s my PNR STET3M
                                                                                                                                                                                                                                                                                             The fl ght has not occu ed yet and cance led t back on Feb ua y 25th,
                                                                                                                                                                                                                                                                                             and now would l ke to use my c ed t to get a late fl ght w th southwest
                                                                                                                                                                                                                                                                                             but ts not show ng my c ed t of 98.98


                                                                                                                                                                                                                                                                                       I am look ng to book th ough K w .com fo an nte nat onal one-way t p.
                                                                                                                                                                                                                                                                                       I have seve al baggage quest ons.
                                                                                                                                                                                                                                                                                        f book w th k w - can I check my baggage upon a val then w ll t go
                                                                                                                                                                                                                       Custome s wonde ng f they can check baggage all the way th ough d ectly th ough to f nal dest nat on n Mo occo?
2246497612990          6/16/2018 Rese vat ons   Web Fo m                  Baggage                         Checked                       Fees                             3 d Bag                    Comment/Quest on   to the nte nat onal dest nat on, they want to know how to add a O do I need to co lect and echeck a l the bags n NY?
                                                                                                                                                                                                                       cat, and how many bags they can check and what the fees a e     also, I have a cat would need to book, can I call afte book ng w th KIWI?
                                                                                                                                                                                                                                                                                       how many bags can I check (max). and costs?

                                                                                                                                                                                                                                                                                             Thank you




                                                                                                                                                                                                                                                                                                                                                              Appx. 109
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                                                                                                                                                                                                                                                                                 Dea Southwest Team,

                                                                                                                                                                                                                                                                                 I booked my fl ght f om SLC to Hambu g w th k w .com. The f st to fl ghts
                                                                                                                                                                                                                                                                                 a e w th Southwest A l nes WN1640 and WN1817 on July 4th.

                                                                                                                                                                                                                                                                                 On you webs te I found the nfo mat on, that I can take 2 f ee baggages
                                                                                                                                                                                                                                                                                 to check n bes des my ca y on luggage. Is that ght?
2248916971917     7/1/2018 Rese vat ons   Web Fo m JVE2J5           Baggage                      Checked                       Gu del nes                    Numbe                       Comment/Quest on   Inqu ng about baggage pol c es                                       On my conf mat on w th k w com I could only choose 1 baggage.

                                                                                                                                                                                                                                                                                 Could you please send a conf mat on to me that I can check n 2
                                                                                                                                                                                                                                                                                 baggages fo f ee o could you othe w se te l me, how much an
                                                                                                                                                                                                                                                                                 add t onal baggage would cost and how I would p oceed t?

                                                                                                                                                                                                                                                                                 Many thanks,



                                                                                                                                                                                                                                                                             I need to followup w th a efund s tuat on elated to th s t avel.
                                                                                                                                                                                                                                                                             Southwest a l nes was expe enc ng fl ght delays fo the fl ght to O lando
                                                                                                                                                                                                                                                                             on June 25, wh ch would have p evented us catch ng the fl ght f om
                                                                                                                                                                                                                                                                             O lando to Ph ladelph a n suff c ent t me to boa d ou ove seas fl ght to
                                                                                                                                                                                                                                                                             Shannon I eland. As a esu t, Southwest ssued us some fl ght c ed t, but
                                                                                                                                                                                                                                                                             also has efunded $272.70 pe passenge , fo a total of $545.40, but that
                                                                                                                                                                                                            Fl ght efund s be ng p ocessed to KIWI. Custome has been adv sed efund s be ng made to KIWI. As a esult of the cance led fl ghts, we had
2255223688171     8/7/2018 Rese vat ons   Web Fo m OTVW66           Refunds                      Refund Request                Refund P ocedu es             Status check                Comment/Quest on   that efund was p ocessed on 29JUN2018. Check ng on status of     to pu chase Ame can A l ne t ckets at an add t onal cost to us of $1,353.
                                                                                                                                                                                                             efund.
                                                                                                                                                                                                                                                                             Southwest has conf med to me the efund has been p ocessed on June
                                                                                                                                                                                                                                                                             29, can you check on th s fo me? It may have been c ed ted to a Maste
                                                                                                                                                                                                                                                                             ca d, last 4 d g ts 6020. I unde stand I w ll have to obta n th s efund f om
                                                                                                                                                                                                                                                                             KIWI.

                                                                                                                                                                                                                                                                                 Thank you ve y much fo you ass stance on th s.

                                                                                                                                                                                                                                                                                 I ese ved my fl ght v a k w com and my ese vat on says that I am only
                                                                                                                                                                                                                                                                                 allowed 1 Pe sonal tem we gh ng 7 kg and 1 Checked Bag of 20 kg

                                                                                                                                                                                                                                                                                 But you baggage pol cy pe m ts 1 pe sonal tem, 1 ca y on and 2
                                                                                                                                                                                                                                                                                 checked bags of 50 lbs 22 kg).

                                                                                                                                                                                                                                                                                 Do I have to pay ext a upon a val at the a po t o w ll you hono the 2
                                                                                                                                                                                                                                                                                 bags of 50lbs each?




                                                                                                                                                                                                                                                                                 - ----- ------ ----- ----- ----- ------ ----- ----- ----- ------ ----- ----- ------ ----- ----- ----- --
                                                                                                                                                                                                                                                                                 - ----- ------ ----- ----- ----- ------ ----- ----- ----- -----
2255326929366     8/8/2018 Rese vat ons   Web Fo m UU4C5L, UU4C5L   Baggage                      Checked                       Gu del nes                    S ze                        Comment/Quest on   baggage pol cy
                                                                                                                                                                                                                                                                                 Yo ese ve m vuelo a t avAs de k w .com y m ese vac An me d ce que
                                                                                                                                                                                                                                                                                 sAlo me pe m te 1 Pe sonal tem de 7 kg y 1 Checked baggage de 20 kg

                                                                                                                                                                                                                                                                                 Pe o su polAt ca de equ paje me pe m te 1 pe sonal tem, 1 ca y on y 2
                                                                                                                                                                                                                                                                                 checked bags de 50 lbs (22 kg).

                                                                                                                                                                                                                                                                                 Tengo que paga ext a al lega al ae opue to o se me espeta las 2
                                                                                                                                                                                                                                                                                 maletas de 50 lbs cada una? Yo ese ve m vuelo a t avAs de k w .com y
                                                                                                                                                                                                                                                                                 m ese vac An me d ce que sAlo me pe m te 1 Pe sonal tem de 7 kg y 1
                                                                                                                                                                                                                                                                                 Checked baggage de 20 kg

                                                                                                                                                                                                                                                                                 Pe o su polAt ca de equ paje me pe m te 1 pe sonal tem, 1 ca y on y 2
                                                                                                                                                                                                                                                                                 checked bags de 50 lbs (22 kg).
                                                                                                                                                                                                                                                                                 Related to a pend ng efund f om KIWI on ou behalf ... please see ema l
                                                                                                                                                                                                                                                                                 below. Any ass stance would be app ec ated ve y much, we have yet to
                                                                                                                                                                                                                                                                                  ece ve any mean ngful commun cat on f om KIWI ... thank you..


                                                                                                                                                                                                                                                                                 Dea

                                                                                                                                                                                                                                                                                 Thanks fo contact ng us. We app ec ate the oppo tun ty to espond.

                                                                                                                                                                                                                                                                                 We a e p ocess ng a efund of $262.70 pe pe son (wh ch s equal to you
                                                                                                                                                                                                                                                                                 a fa e) to the c ed t ca d used to pay fo you o g nal ese vat on. The
                                                                                                                                                                                                                                                                                  equest fo the efund was posted on June 29, 2018. The c ed t w ll be
                                                                                                                                                                                                                                                                                 p ocessed w th n 30 days and w l post to the account end ng n 6020.
2260711464067     9/7/2018 CR/RR          Web Fo m OTVW66           Refunds                      Refund Request                Refund P ocedu es             Status check                Comment/Quest on   second efund status check
                                                                                                                                                                                                                                                                                  t's t ue that c ed t ca d pu chases a e almost nstantaneous howeve ,
                                                                                                                                                                                                                                                                                 c ed t efunds take somewhat longe because me chants must ve fy and
                                                                                                                                                                                                                                                                                 t ansm t them to the va ous c ed t ca d compan es. Though we p ocess
                                                                                                                                                                                                                                                                                  efund equests w th n 10 bus ness days (and funds a e typ cally ava lable
                                                                                                                                                                                                                                                                                 on the ca d w th n 10 bus ness days), we adv se Custome s that a c ed t
                                                                                                                                                                                                                                                                                 may not be eflected on a monthly account statement fo 30 to 45 days
                                                                                                                                                                                                                                                                                 (depend ng on the b ll ng cycle).

                                                                                                                                                                                                                                                                                     , t's ou pleasu e to answe you ema l, and we hope to have the
                                                                                                                                                                                                                                                                                 oppo tun ty to see you onboa d aga n soon.

                                                                                                                                                                                                                                                                                 S nce ely,

                                                                                                                                                                                                                                                                                 Amy Southwest A l nes
                                                                                                                                                                                                                                                                                 Reached out to pax and adv sed we a e efund ng full amount of $59.98
                                                                                                                                                                                                                                                                                 back to OFOP. Pax booked th ough KIWI and s only gett ng $52 back. I
2262103281170    9/14/2018 CR/RR          Web Fo m OL8HU6           Refunds                      Refund Request                Refund P ocedu es             B ll ng Inqu es             Compla nt          efund amount d sc epancy
                                                                                                                                                                                                                                                                                 adv sed that she may want to each out KIWI to get the s tuat on so ted
                                                                                                                                                                                                                                                                                 out.
                                                                                                                                                                                                                                                                                 Seat select on. I have neve bought a l ne t ckets th ough K w com and
                                                                                                                                                                                                            Custome would l ke to know how to p ck seats stat ng they would
2268181116990   10/15/2018 Rese vat ons   Web Fo m                  Onboa d A c a t Expe ence    Amen t es/Stowage/Seat ng     Seat ng Accommodat ons        Seats Togethe               Comment/Quest on                                                                         t does not let me make seat select ons. I am t avel ng w th my young son
                                                                                                                                                                                                            l ke to be seated w th young son and husband.
                                                                                                                                                                                                                                                                                 and husband. How do I make su e at least one of us s seat ng w th h m?

                                                                                                                                                                                                                                                                                 My fam ly (2 adu ts, 3 ch ld en) ecently flew f om Balt mo e to San
                                                                                                                                                                                                                                                                                 F anc sco v a San D ego on the 20th Decembe .

                                                                                                                                                                                                                                                                                 When we a ved at Ba t mo e, due to a m stake by a th d pa ty suppl e
                                                                                                                                                                                                                                                                                 (K w .com on beha f of Lastm nute.com) only fou of f ve t ckets had been
                                                                                                                                                                                                                                                                                 booked.
                                                                                                                                                                                                                                                                                 We had to pay fo a new t cket fo my daughte , Le la F ench, at the
                                                                                                                                                                                                                                                                                 a po t fo a cost of $211 80.
                                                                                                                                                                                                                                                                                 In o de to cla m the money back f om K w .com, can you please send me
                                                                                                                                                                                                                                                                                 a copy of the nvo ce to my ema

                                                                                                                                                                                                                                                                                 K nd ega ds,

2284250271319     1/1/2019 Rese vat ons   Web Fo m R4EQVL, TFEKJY   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Rece pt equest                                                                    My fam ly (2 adults, 3 ch ld en) ecently flew f om
                                                                                                                                                                                                                                                                                 Ba t mo e to San F anc sco v a San D ego on the 20th Decembe .

                                                                                                                                                                                                                                                                                 When we a ved at Ba t mo e, due to a m stake by a th d pa ty suppl e
                                                                                                                                                                                                                                                                                 (K w .com on beha f of Lastm nute.com) only fou of f ve t ckets had been
                                                                                                                                                                                                                                                                                 booked.
                                                                                                                                                                                                                                                                                 We had to pay fo a new t cket fo my daughte , Le la F ench, at the
                                                                                                                                                                                                                                                                                 a po t fo a cost of $211 80.
                                                                                                                                                                                                                                                                                 In o de to cla m the money back f om K w .com, can you please send me
                                                                                                                                                                                                                                                                                 a copy of the nvo ce to my ema

                                                                                                                                                                                                                                                                                 K nd ega ds,



                                                                                                                                                                                                                                                                                 H,
                                                                                                                                                                                                                                                                                 I made a ese vat on fo ound t p to RSW f om BUF on K w .com. Now
2284853316753     1/4/2019 Rese vat ons   Web Fo m VB6DG2           Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Book ng E o                 Comment/Quest on   Rece pt equest                                                       I'm wo ed that the ese vat ons won't wo k, as I've ead bad ev ews.
                                                                                                                                                                                                                                                                                 Can I conf m these ese vat ons th ough you? The etu n s l ght
                                                                                                                                                                                                                                                                                 numbe F91810 and PNR KGCTRR
                                                                                                                                                                                                                                                                                 I booked th s l ght th ough k w .com and afte book ng I was made awa e
                                                                                                                                                                                                                                                                                 th s th d pa ty snt el able. I would l ke to conf m that myse f and
                                                                                                                                                                                                                                                                                                 a e booked on th s l ght .
2285798988130     1/8/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          O g nal Setup               Comment/Quest on   booked th ough k w .com and wants to ve fy l ght s co ect
                                                                                                                                                                                                                                                                                 Leav ng Spokane at 6 40am and a v ng n Denve at 9 50am l ght
                                                                                                                                                                                                                                                                                 WN2303
                                                                                                                                                                                                                                                                                 Thank you fo you t me

                                                                                                                                                                                                                                                                                 Pax called to equest a efund of WGA No-Show t cket. Pax's g andfathe
                                                                                                                                                                                                                                                                                 d ed and booked n a hu y, he booked th ough an onl ne t avel agency
                                                                                                                                                                                                                                                                                 K w com- who sent h m an t ne a y w thout spec f c AM/PM t avel
                                                                                                                                                                                                                                                                                 t mes. Pax sa d he saw 6 35 on the t ne a y and assumed t was 6 35pm.
                                                                                                                                                                                                                                                                                 Pax cla med because of the death n h s fam ly he wasn't th nk ng clea ly.
                                                                                                                                                                                                                                                                                 Showed up fo h s fl ght th nk ng t was at 6 35pm but was eally booked
                                                                                                                                                                                                                                                                                 fo AM and he no-showed. Pax pa d fo a new fl ght n full and agent told
                                                                                                                                                                                                                                                                                 h m to ca l us to see f we could make an except on. I told pax that th s
2287227505096    1/14/2019 CR/RR          Phone      MADD6B         Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence            Request            Refund equest
                                                                                                                                                                                                                                                                                 doesn't eally fo low the gu del nes fo an except on to be made, but
                                                                                                                                                                                                                                                                                 unde stand the c cumstances of the s tuat on. Told pax I'd make a huge
                                                                                                                                                                                                                                                                                 except on and subm t a efund, but can't gua antee he'd get h s money
                                                                                                                                                                                                                                                                                 back. Wa t ng fo pax to send n dox of the t ne a y he ece ved

                                                                                                                                                                                                                                                                                 Thanks- Kelsey

                                                                                                                                                                                                                                                                                 Cla m No 167545952


                                                                                                                                                                                                                                                                                 Tuv mos que comp a en el ae opue to de Cancun el d a 26 de d c emb e
                                                                                                                                                                                                                                                                                 un
                                                                                                                                                                                                                                                                                 b llete pa                     po un p oblema de t ansm s An de
                                                                                                                                                                                                                                                                                 datos ent e KIW .com y Sout west. La efe enc a del pago del nuevo
                                                                                                                                                                                                                                                                                 b llete es                Neces tamos factu a pa a pode eclama el
2288149400057    1/18/2019 Rese vat ons   Web Fo m RIYHJ4, RIYHJ4   Othe                         SR Inqu es                    Fo e gn Language              Span sh                     Comment/Quest on   Span sh SR
                                                                                                                                                                                                                                                                                  mpo te a KIWI.com We had to buy a t cket at the Cancun A po t on the
                                                                                                                                                                                                                                                                                 26 of Decembe fo Sof a Ayca t Estevez because the e was a p oblem on
                                                                                                                                                                                                                                                                                 the t ansfe ng of data f om KIWI.com to Southwest. The efe ence to
                                                                                                                                                                                                                                                                                 the new t cket                   We need an nvo ce/ ece pt to ecla m
                                                                                                                                                                                                                                                                                 the amount f om KIWI.com.

                                                                                                                                                                                                                                                                                 I booked th s l ght th ough K w .com, howeve ended up be ng unable to
2289380868470    1/23/2019 Rese vat ons   Web Fo m UOG7C2           Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   How to Redeem               Comment/Quest on   Ask ng fo a efund o t avel c ed t.                                   actually go. I was wonde ng f t would be poss ble to get a efund fo th s
                                                                                                                                                                                                                                                                                 t cket, s nce I d d not use t. O , f t would be poss ble to get a c ed t.

                                                                                                                                                                                                                                                                                 I ese ved th s fl ght th ough K w .com. they send me a l nk to f nd my
                                                                                                                                                                                                                                                                                  efund w th you and t doesnAt wo k. donAt know f they a e not
                                                                                                                                                                                                                                                                                 honest and the e s not a efund o what s go ng on but I am at my w tts
2290546229794    1/28/2019 Rese vat ons   Web Fo m LB3HZE           Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Ve fy Funds                 Comment/Quest on   custome look ng fo he t avel funds.                                  end. Can you tell me f I have a efund and how much? And f not also as
                                                                                                                                                                                                                                                                                 I w ll be seek ng legal help on th s one. they also sold me a baggage, my
                                                                                                                                                                                                                                                                                 son t ave led but had to pay, fo eve y leg of the t p. Thank you fo you
                                                                                                                                                                                                                                                                                 help. Please each me at the ema l above. j ll
                                                                                                                                                                                                                                                                                 Hello, I am cu ently book ng a fl ght f om MCI to CEB n the Ph l pp nes. I
                                                                                                                                                                                                            Custome nqu ng f she can use a Southwest g ftca d on anothe          have found a fl ght w th mult ple connect ons on the s te KIWI and the
2292031323718     2/4/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   SWA G t Ca d                  How to Redeem               Comment/Quest on   s te KIWI because the f st fl ght s w th Southwest. The fl ght has   f st s w th Southwest. I have a Southwest g ft ca d I would l ke to use but
                                                                                                                                                                                                            mult ple connect ons on the s te KIWI.                               would l ke to know f I can use th s on a fl ght that s all put togethe at
                                                                                                                                                                                                                                                                                 one p ce.




                                                                                                                                                                                                                                                                                                                                                                            Appx. 110
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                                                                                                                                                                                                                                                                                Dea S o Madame,
                                                                                                                                                                                                                                                                                I booked a fl ght f om Las Vegas to San F anc sco on Janua y, 29th on the
                                                                                                                                                                                                                                                                                webs te k w .com. I had to cancel the fl ght and I got the message f om
                                                                                                                                                                                                                                                                                k w com that I could equest a efund of 303$ on you T avel Funds Page.
                                                                                                                                                                                                                                                                                Unfo tunately, I can't log n w th my name and PNR-numbe . I am not
                                                                                                                                                                                                              Custome booked and cancelled a fl ght on K w com. She was adv she
2292283138300    2/5/2019 Rese vat ons   Web Fo m JCELYX           Refunds                         Refund Request                T ckets/Fa es                 Refundable                  Comment/Quest on                                                                     su e f that s because I d dn't booked the fl ght on you webs te d ect ly
                                                                                                                                                                                                              can equest a efund f om ou s te but s unable to.
                                                                                                                                                                                                                                                                                o f the e s any othe p oblem.
                                                                                                                                                                                                                                                                                Is t poss ble fo you to help me w th that ssue? I would l ke to book a
                                                                                                                                                                                                                                                                                fl ght to New Yo k soon and use the efund fo that.
                                                                                                                                                                                                                                                                                Thank you ve y much and all the best


                                                                                                                                                                                                                                                                                   H ,I need you help.
                                                                                                                                                                                                              PAX nqu ng about cance lat on th u 3 d pa ty s te K w com fo         I booked my t cket at k w .com n Janua y. Howeve ,because I can t go, I
2293191131913    2/9/2019 CR/RR          Web Fo m QPLZWG           Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Change Book ng              Comment/Quest on
                                                                                                                                                                                                               ese vat on n Janua y f om                                           appl ed cancellat on to k w .com. So, I was told k w .com to ask the
                                                                                                                                                                                                                                                                                   Southwest a l nes d ectly. W ll t be efunded to me?

                                                                                                                                                                                                                                                                                   I ese ved th s Floght us ng K w .com ... And only nd cates that have a
2293972843837   2/12/2019 Rese vat ons   Web Fo m PGRVUQ           Baggage                         Ca yon                        Gu del nes                    Numbe                       Comment/Quest on   quest ons on baggage                                                 pe sonal tem fo the t avel. I'd l ke to know f can t avel w thout any
                                                                                                                                                                                                                                                                                   add t onal fees w th 1 pe sonal l ttle bag Ca y on luggage??

                                                                                                                                                                                                                                                                                   Dea S s,
                                                                                                                                                                                                                                                                                   I ece ved you answe . howeve , I must cla fy that I bought these t ckets
                                                                                                                                                                                                                                                                                   us ng the page k w .com. the efo e the c ed t ca d nfo mat on that you
                                                                                                                                                                                                                                                                                   have, does not co espond to my account nfo mat on. I was ca l ng you
                                                                                                                                                                                                              WB, 2295385920792                                                    call cente , but t was not poss ble to have helped ove the phone, I ask
2295686352256   2/19/2019 CR/RR          Web Fo m J8ZSFP, J8ZSFP   Othe                            SR Inqu es                    CS&S W teback                 D sag ees/Rema ns Upset     Comment/Quest on   bought the t cket th ough k w .com the efo e the c ed t ca d doesn't you please nd cate how I can do to send you my efund nfo mat on.
                                                                                                                                                                                                              co espond to he account wants to g ve us he nfo fo the efund.        fo you k nd attent on thousand thanks. pax pu chased the fl ght
                                                                                                                                                                                                                                                                                   th ough a 3 d pa ty vendo k w com so we have efunded the vendo
                                                                                                                                                                                                                                                                                   who w ll need to efund the pax I called and left a vo cema l that she w l
                                                                                                                                                                                                                                                                                   need to wo k w th the vendo fo the efund. s nce we have al eady
                                                                                                                                                                                                                                                                                    efunded k w com

                                                                                                                                                                                                                                                                                   Dea S /Madam,

                                                                                                                                                                                                                                                                                   I have a quest on about my baggage.I booked a t cket v a K w .com f om
                                                                                                                                                                                                                                                                                   Cha lotte to New O leans and they say that I can take 1 pe sonal tem, 1
                                                                                                                                                                                                                                                                                   ca y on bag (a t olley) and two su tcases to check n fo f ee. I th nk that
2297362707097   2/26/2019 Rese vat ons   Web Fo m MM XSB           Baggage                         Checked                       Gu del nes                    Numbe                       Comment/Quest on   checked and ca yon baggage pol c es                                  cannot be the case, ght? I th nk they made a m stake but I would l ke to
                                                                                                                                                                                                                                                                                   know how much baggage I can take fo f ee.

                                                                                                                                                                                                                                                                                   You s s nce ely,



                                                                                                                                                                                                                                                                                   Dea SouthwestA l ne s, I booked the fl ght by KIWI com. Unfo tunately I
                                                                                                                                                                                                                                                                                   can't take the fl ght, so I canceld and got an nfo mat on about efund of
                                                                                                                                                                                                                                                                                   78 98 USD.
2299076496043   3/14/2019 Rese vat ons   Web Fo m O5MOKC           Refunds                         Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on   custome wants to know f he can get a efund fo h s t cket.
                                                                                                                                                                                                                                                                                   Today they ma led me that I can t get the money back. Is the e a way
                                                                                                                                                                                                                                                                                   f om you s te to g ve me help to get the money back - Thanks and
                                                                                                                                                                                                                                                                                   g eet ng

                                                                                                                                                                                                                                                                                   Pax called n stat ng that she had been nvolved w th a t avel agency
                                                                                                                                                                                                                                                                                   stat ng that she went sta ted w th T vago, then was outed to Bedf nde
                                                                                                                                                                                                                                                                                   and then to K w . Pax states that she only gave them he nfo mat on, not
                                                                                                                                                                                                                                                                                   a payment method because she dec ded not to use them. Pax states that
                                                                                                                                                                                                                                                                                   she late ece ved an ema l f om K w that stated that they we e so y
                                                                                                                                                                                                                                                                                   they couldn t f nd any fl ghts on Delta fo he but have booked a
                                                                                                                                                                                                                                                                                    ese vat on on Southwest and p ov ded an t ne a y and conf mat on
                                                                                                                                                                                                                                                                                   numbe . Pax states that she neve booked the ese vat on o condoned
                                                                                                                                                                                                                                                                                   the book ng. Pax states that she was also not cha ged but states that she
                                                                                                                                                                                                                                                                                   e the had ece ved an ema l befo e o the nfo mat on was ncluded n
                                                                                                                                                                                                                                                                                   the ese vat on ema l that outl ned that they would need a CC numbe
                                                                                                                                                                                                              Pax Cla med Ident ty Theft Book ng // Rese vat ons Not Booked By
2299271958991   3/18/2019 CR/RR          Phone      PJTMAK         Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          O g nal Setup               Comment/Quest on                                                                        f om he f she wanted to cancel the ese vat on to p ocess cancelat on
                                                                                                                                                                                                              Pax // Pax CC NOT Cha ged
                                                                                                                                                                                                                                                                                   fees. Pax states that she had been gno ng p ev ous ema ls f om them
                                                                                                                                                                                                                                                                                   because they we e attempt ng to get money f om he o put a CC down
                                                                                                                                                                                                                                                                                   fo them to cha ge and have access to. Pax states that she bel eves that
                                                                                                                                                                                                                                                                                   th s s a scam and because she has not been cha ged fo the ese vat ons,
                                                                                                                                                                                                                                                                                   that the CC used fo them s stolen. I adv sed that f the CC s stolen, that
                                                                                                                                                                                                                                                                                   the o g nal ca d membe would be able to contact the bank and they
                                                                                                                                                                                                                                                                                   would then each out to us, conf m the cha ges a e f audulent, and we
                                                                                                                                                                                                                                                                                   would cancel and etu n the money back to the f nanc al nst tut on. Pax
                                                                                                                                                                                                                                                                                   was able to conf m he nfo mat on. Adv sed I would cancel the
                                                                                                                                                                                                                                                                                    ese vat ons s nce she w ll not be tak ng them. gave pax SR numbe .
                                                                                                                                                                                                                                                                                   Thanks, john.

                                                                                                                                                                                                                                                                                   I bought my t cket on K w and pa d fo a checked bag. W ll I also be able
2299481262600   3/22/2019 Rese vat ons   Web Fo m RJJNMY           Baggage                         Ca yon                        Gu del nes                    Numbe                       Comment/Quest on   Ca y on bag nqu y.
                                                                                                                                                                                                                                                                                   to have a ca y-on?
                                                                                                                                                                                                                                                                                   Ca led and spoke to              and apolog zed fo the delay and adv sed
                                                                                                                                                                                                                                                                                   that t was due to MX and adv sed that as a GOG, ou PCS team had
2299492796864   3/22/2019 CR/RR          Web Fo m OEAEV4           Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Comment/Quest on   Request fo efund due to lt delay                                      ssued an SLV and that t went to KIWI but I would e ssue to he ema l
                                                                                                                                                                                                                                                                                   that she contacted us f om. Pax accepted and thanked. Call concluded.
                                                                                                                                                                                                                                                                                   Thanks Taylo CRRR
                                                                                                                                                                                                                                                                                   Hello, I ust pu chased t ckets th ough k w com fo a fl ght leav ng 4/30
                                                                                                                                                                                                                                                                                   f om bu bank at 2 35pm, a v ng san jose at 3 40pm. My etu n s
2300046152436    4/4/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          O g nal Setup               Comment/Quest on   Custome wants to know how to choose seats                            booked fo 5/4 leav ng San Jose at 7 40pm a v ng back nto Bu bank at
                                                                                                                                                                                                                                                                                   8 45pm. I would l ke to select seats. Please adv se on how to do th s.
                                                                                                                                                                                                                                                                                   Thank you.
                                                                                                                                                                                                                                                                                   Hello, I am hop ng you can help!!! My daughte booked a fl ght fo
                                                                                                                                                                                                                                                                                   myself and he soon to be MIL fo I eland th ough a s te called K w .com.
                                                                                                                                                                                                                                                                                   We leave May 22. They ema led me say ng the was a change n fl ghts
                                                                                                                                                                                                                                                                                   and they moved us and I had 24 hou s to espond. I could not get a hold
                                                                                                                                                                                                                                                                                   of the pe son I am fly ng w th so I cancelled qu ckly not want ng to lose
                                                                                                                                                                                                                                                                                   my daughte s money. I called them th s mo n ng to let them know I
                                                                                                                                                                                                                                                                                   wanted to keep the fl ght as booked. They sa d the cancellat on w th the
                                                                                                                                                                                                                                                                                   a l ne was p ocessed and they would not a low us to keep the l ght. I
                                                                                                                                                                                                                                                                                   know th s s a th d pa ty s te that she used. F om you end, s the e any
2300413940547   4/12/2019 Rese vat ons   Web Fo m OWIBCA           Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          O g nal Setup               Comment/Quest on   Re nstate PVD/DUB fl ght booked v a K w .com                         way we can keep the fl ght as scheduled? Any adv ce would be
                                                                                                                                                                                                                                                                                   app ec ated. Thank you so much              The fl ght that was changed to
                                                                                                                                                                                                                                                                                   the fo low ng
                                                                                                                                                                                                                                                                                   P ov dence PVD) - Dubl n (DUB) a New Yo k (SWF) 22 May 21 00 - Dubl n
                                                                                                                                                                                                                                                                                   (DUB) 23 May 08 20

                                                                                                                                                                                                                                                                                   Dubl n (DUB) - P ov dence (PVD) a Dubl n (DUB) 30 May 14 45 -
                                                                                                                                                                                                                                                                                   P ov dence PVD) 16 50
                                                                                                                                                                                                                                                                                   Any adv ce? We want th s fl ght but they a e say ng the cancellat on
                                                                                                                                                                                                                                                                                   cannot be eve sed. THANK YOU!
                                                                                                                                                                                                                                                                                   Can I ece ve onl ne check- n fo the fl ghts f om Southwest nstead of
                                                                                                                                                                                                              Wants to know f she can check- n onl ne v a Southwest, nstead of
2300549230341   4/15/2019 Rese vat ons   Web Fo m MFZUFN           southwest com                   P oduct/Funct onal ty         Fl ght Check n                Web S te Nav gat on         Comment/Quest on                                                                        K w com? Also a e my fl ghts affected by the 737 planes g ounded?
                                                                                                                                                                                                              KIw com. A e he fl ghts affected by the g ound ng.
                                                                                                                                                                                                                                                                                   Thank You
                                                                                                                                                                                                                                                                                   I bought t ckets t u an o gan zat on called K w (wh ch appa ently s n
                                                                                                                                                                                                                                                                                   B no, Czeckslovak a). (one way)
2300565773136   4/15/2019 Rese vat ons   Web Fo m 454901           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   ask ng f t cket was pu chased
                                                                                                                                                                                                                                                                                   fo $226 64. Can I be assu ed that I have my ese vat on?
                                                                                                                                                                                                                                                                                   Hello, I ecently had to cancel a fl ght fo 3 people f om LA to Sac amento
                                                                                                                                                                                                                                                                                   that I got th ough K w .com, and the money s now saved as c ed t w th
                                                                                                                                                                                                                                                                                   South West. I not ced that the funds do not show up as a s ngle lump sum
                                                                                                                                                                                                                                                                                   but I have to sea ch all 3 passenge s to see what s assoc ated w th each
                                                                                                                                                                                                                                                                                   one. My quest on s f I wanted to use all those funds fo 1 fl ght fo
                                                                                                                                                                                                                                                                                   myself (s nce I payed fo the t ckets) s that poss ble o can only that
                                                                                                                                                                                                                                                                                   pe son assoc ated use that t cket now? Add t onally, I not ced that
2300612072779   4/16/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   How to Redeem               Comment/Quest on   how to use t avel funds
                                                                                                                                                                                                                                                                                   somehow all 3 of ou names a e l sted nco ectly and ou last name
                                                                                                                                                                                                                                                                                           s l sted tw ce as both ou last name and m ddle name, w ll that
                                                                                                                                                                                                                                                                                   c eate an ssue?

                                                                                                                                                                                                                                                                                   Thank you,




                                                                                                                                                                                                                                                                                   Fo low ng case and quest on

                                                                                                                                                                                                                                                                                   5 weeks ago I booked a l ght fo my daughte , f om Be l n (Ge ) v a Island
                                                                                                                                                                                                                                                                                   to Wash ngton and C nc nnat (1.7.2019). Be l n Wash ngton was
                                                                                                                                                                                                                                                                                   ope ated by WOW A wh ch went bank upt 2 weeks afte book ng. BWI -
                                                                                                                                                                                                                                                                                   CVG was ope ated by SouthWest.
                                                                                                                                                                                                                                                                                   F nally, 2 weeks ago, we got all the money back fo the fl ght f om Be l n
                                                                                                                                                                                                                                                                                   to BWI and we got the nfo mat on The fl ght f om BWI to CVG, ope ated
                                                                                                                                                                                                                                                                                   by SouthWest We can book t by ou self aga n and we have a c ed t ove
                                                                                                                                                                                                                                                                                   79 98 $.

                                                                                                                                                                                                                                                                                   A week ago we booked th s fl ght aga n and the money was cha ged
2300881833720   4/22/2019 Rese vat ons   Web Fo m                  Refunds                         Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on   Refund Request                                                       aga n. That s a m stake and I would l ke to ask how we can get the money
                                                                                                                                                                                                                                                                                   fo th s double cha ged t cket back.

                                                                                                                                                                                                                                                                                   The KIWI.com book ng numbe what has been canceled because of the
                                                                                                                                                                                                                                                                                   bank upt of WOW a was 40348858. We booked the fl ght by a l nk that
                                                                                                                                                                                                                                                                                   we got f om K w .com. Both fl ghts, the one that has been cance ld and
                                                                                                                                                                                                                                                                                   the one that we booked now a e on the same day fo the same pe son.

                                                                                                                                                                                                                                                                                   Please let us know what we must do, he e s a m stake and we need the
                                                                                                                                                                                                                                                                                   money back soon.
                                                                                                                                                                                                                                                                                   Thank you




                                                                                                                                                                                                                                                                                           booked FLT th ough k w .com and s seek ng the efund go back
                                                                                                                                                                                                                                                                                   to e CC. She called an a ep adv se he to each out to CR. I apol fo the
                                                                                                                                                                                                                                                                                   m scommun cat on and saw notes f om yeste day. I adv se that we would
                                                                                                                                                                                                                                                                                    efund t but t would go to o g nal FOP. She would have to each out to
                                                                                                                                                                                                              Pax seek ng efund of cxl FLT to pe sonal CC. Booked th ough th d     th d pa ty t avel agency fo efund. Pax was upset but unde stood we
2300893263987   4/22/2019 CR/RR          Phone      KN234Q         Refunds                         Refund Request                T ckets/Fa es                 Refundable                  Compla nt
                                                                                                                                                                                                              pa ty agency.                                                        would not ove de to efund back to he pe sonal CC.

                                                                                                                                                                                                                                                                                   Thanks,

                                                                                                                                                                                                                                                                                   Estevan

                                                                                                                                                                                                                                                                                   I booked a fl ght on the w ong date (17th May) and equested a efund. I
                                                                                                                                                                                                                                                                                   also booked the fl ght fo the co ect date 23 d Ap l. on 21st Ap l I
                                                                                                                                                                                                              PAX equest ng ass stance w th efund as they booked th ough a 3 d     spoke to someone who t ed to c ed t the o g nal amount back to me but
2300901148917   4/22/2019 CR/RR          Web Fo m KN234Q           Refunds                         Refund Request                Refund P ocedu es             Delay n P ov d ng Refund    Compla nt
                                                                                                                                                                                                              pa ty                                                                was unable as I booked th ough K w app and the efund would have
                                                                                                                                                                                                                                                                                   gone to k w . I've been adv sed to ema l custome elat ons to get the
                                                                                                                                                                                                                                                                                    efund to my c ed t ca d. Please help.

                                                                                                                                                                                                                                                                                   I d d not eal ze when book ng th ough k w that I would not be able to
                                                                                                                                                                                                                                                                                   p ck seat ass gnments. I have a le g es to scents and an mals and equ e
                                                                                                                                                                                                              Custome s equest ng fo ass gned seats fo he self and t avel ng       the use of an ep pen. I need to be able to have the pe son I am t avel ng
2301293311428    5/1/2019 Rese vat ons   Web Fo m P9TWBC           Onboa d A c a t Expe ence       Amen t es/Stowage/Seat ng     Seat ng Accommodat ons        Seats Togethe               Comment/Quest on
                                                                                                                                                                                                              compan on due to be ng a le g c to scents and an mals.               w th seated next to me to help w th my med cal needs f necessa y. I was
                                                                                                                                                                                                                                                                                   hop ng to be able to get seats ass gned to myself and                , the
                                                                                                                                                                                                                                                                                   othe pe son n my book ng




                                                                                                                                                                                                                                                                                                                                                     Appx. 111
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                                                                                                                                                                                                                                                                          Good day! Because of the to nado, I'm af a d fo my l fe. I'm f n sh ng my
                                                                                                                                                                                                                                                                           ou ney. And I'm leav ng Oklahoma ahead of schedule. Please cancel you
                                                                                                                                                                                                     pax sent us an ema l ask ng to cancel he ese vat on due to to nado
2301656311817    5/9/2019 CR/RR          Web Fo m SFQUOE     Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Change Book ng              Compla nt                                                                                ese vat on w thout pena ty. I'm so y.
                                                                                                                                                                                                     and af a d to fly..
                                                                                                                                                                                                                                                                          I bought a t cket n you company fo the same oute, but on may 9. So y
                                                                                                                                                                                                                                                                          aga n. Please etu n the t cket. Book k w 49493774.


                                                                                                                                                                                                                                                                          Dea S /Madame,

                                                                                                                                                                                                                                                                   I am w t ng to nqu e about V sa egulat on to ente Cuba f om the USA.
                                                                                                                                                                                                                                                                   I have booked th s fl ght th ough K w com and asked the agent of K w to
                                                                                                                                                                                                                                                                   call you about th s ssue but I would ust want to be eassu ed by you too.
                                                                                                                                                                                                                                                                   I have asked the Cuban embassy n London about the tou st v sa, but
                                                                                                                                                                                                                                                                   they told me that fo passenge s fly ng f om the USA that would not have
                                                                                                                                                                                                                                                                   been val d. They told me nstead that I would d ectly apply and ece ve a
                                                                                                                                                                                                                                                                   V sa f om the a l ne, e., Southwest n th s case, at the a po t on the day
                                                                                                                                                                                                                                                                   I fly. K w called you and conf med that th s s the case. Could you please
                                                                                                                                                                                                                                                                   conf m th s too? I also ead that t s poss ble to p e-book th s v sa
                                                                                                                                                                                                     Custome nqu ng about the V sa egulat on to ente Cuba f om the
2301678726531    5/9/2019 Rese vat ons   Web Fo m            A po t Expe ence             Secu ty- Inte nat onal        Secu e Fl ght/No Fly L st     V sa Requ ements            Comment/Quest on                                                                 onl ne, and have t eady the day I ly when I check n at the a po t. As I
                                                                                                                                                                                                     USA..
                                                                                                                                                                                                                                                                   am com ng f om Tampa and have only a 2-hou s gap, I was wonde ng
                                                                                                                                                                                                                                                                   whethe t s wo th apply ng fo the v sa onl ne mmed ately.
                                                                                                                                                                                                                                                                   I am also happy to ca l you, shall th s make eve yth ng eas e .
                                                                                                                                                                                                                                                                   Please, I am gett ng a b t wo ed, and I am sl ghtly anx ous about t, so I
                                                                                                                                                                                                                                                                   would app ec ate any adv se on the matte .

                                                                                                                                                                                                                                                                          Look ng fo wa d to hea ng f om you,

                                                                                                                                                                                                                                                                          Best ega ds,




                                                                                                                                                                                                                                                                          H,

                                                                                                                                                                                                                                                                          I equested a efund to my bank account v a book ng on k w .com. I had a
                                                                                                                                                                                                                                                                          st essful expe ence afte a fl ght be ng cance led, caus ng me f nd
                                                                                                                                                                                                                                                                          anothe means of t avel to the a po t, and then my ESTA was not
                                                                                                                                                                                                     Inte nat onal pax s look ng fo a efund of he tkt because he          app oved n t me to make my fl ght. I am not an expe enced t ave le
2301761716039   5/11/2019 CR/RR          Web Fo m TTGCKW     Refunds                      Refund Request                T ckets/Fa es                 Non efundable               Compla nt          Elect on c System fo T avel Autho zat on (ESTA) was not app oved     and th s s my f st solo t avell ng expe ence. It s not l kely I w ll use
                                                                                                                                                                                                      n t me.                                                             Southwest A l nes n the futu e as I l ve n the UK, and Iam cu ently n
                                                                                                                                                                                                                                                                          Costa R ca. I eally ea ly need th s c ed t n my bank account so that I can
                                                                                                                                                                                                                                                                          book a fl ght home, please can we conf m f th s s poss ble.
                                                                                                                                                                                                                                                                          My PNR numbe s TTGCKW
                                                                                                                                                                                                                                                                          Many thanks



                                                                                                                                                                                                                                                                          To whom t may conce n,

                                                                                                                                                                                                                                                                          I just booked w th K w .com. They sa d that they couldn t add my nfant
                                                                                                                                                                                                                                                                          son 1 y old) to th s l ght, but to do t at the a po t. Fo low ng, s the
                                                                                                                                                                                                                                                                          ema l

                                                                                                                                                                                                                                                                           We a e not able to ad                  to you ese vat on as you
                                                                                                                                                                                                                                                                           equested. You have to add an nfant to the fl ght f om Las Vegas to Los
                                                                                                                                                                                                                                                                          Angeles. You have to b ng the b th of ce t f cate and add the nfant at
                                                                                                                                                                                                                                                                          the a po t, It w ll be f ee of cha ge.

                                                                                                                                                                                                                                                                          Please note that you w ll need to complete the check- n fo the nfant at
2302223776908   5/22/2019 Rese vat ons   Web Fo m            Pol c es/P ocedu es          Lap Ch ld                     Gu del nes                    P ocedu es                  Comment/Quest on   Needs to add lap ch ld                                               the a po t as onl ne check- n s not ava lable fo nfant passenge s.

                                                                                                                                                                                                                                                                          Check- n at the a po t w l be f ee of cha ge.

                                                                                                                                                                                                                                                                          Is the e anyth ng I can do on my end befo ehand to make su e th s goes
                                                                                                                                                                                                                                                                          smoothly? Thanks. Also, he e a e the deta ls of the fl ght

                                                                                                                                                                                                                                                                          Las Vegas - McCa an Inte nat onal LAS 2019 Jul 31 20 50 Local t me
                                                                                                                                                                                                                                                                          Los Angeles - Los Angeles Inte nat onal LAX 2019 Jul 31 22 10 Local t me
                                                                                                                                                                                                                                                                          Fl ght no WN944 A l ne Southwest A l nes

                                                                                                                                                                                                                                                                                          - nfant PNR TX4KVQ
                                                                                                                                                                                                                                                                          Passpo t/ID needed fo onl ne check- n.

                                                                                                                                                                                                                                                                          I booked th s ese vat on n t a ly th ough k w .com on 5/26/19. I
                                                                                                                                                                                                                                                                           equested a efund/cancellat on of the book ng on 5/27/19,
                                                                                                                                                                                                                                                                          app ox mately 16 hou s afte the n t al book ng. I was told to contact
                                                                                                                                                                                                                                                                          Southwest d ectly fo the Southwest c ed t n the amount of 217.71 eu . I
                                                                                                                                                                                                                                                                          unfo tunately was not g ven any othe nfo mat on about the l ght o
                                                                                                                                                                                                                                                                           ese vat on numbe .
                                                                                                                                                                                                     Custome wasn t g ven any nfo mat on about he unused funds afte
                                                                                                                                                                                                                                                                       I spoke w th agent Rachel v a the Southwest custome se v ce l ne, who
                                                                                                                                                                                                     cancell ng a ese vat on booked on k w .com. Custome was unable
2302443848669   5/27/2019 CR/RR          Web Fo m Q8HBKL     Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on                                                                     was unable to complete the t ansact on as k w .com appa en ly gave a
                                                                                                                                                                                                     to ve fy fop w th CS&S and was adv to send an ema l to nvest gate
                                                                                                                                                                                                                                                                       sepa ate ca d numbe fo the book ng (my ca d used to book the t cket
                                                                                                                                                                                                     fu the ..
                                                                                                                                                                                                                                                                       was not l sted). She ecommended I send an ema l to nvest gate th s
                                                                                                                                                                                                                                                                       fu the . I am happy to fo wa d the ema l commun cat on I have ece ved
                                                                                                                                                                                                                                                                       f om k w .com, as well as answe any othe quest ons ega d ng th s
                                                                                                                                                                                                                                                                       matte .

                                                                                                                                                                                                                                                                          Thank you,

                                                                                                                                                                                                                                                                          My 15 yea old Span sh daughte                              has been
                                                                                                                                                                                                                                                                          study ng n San Anton o Texas fo the last 9 months. We booked fl ghts
                                                                                                                                                                                                                                                                          w th Southwest A l nes (Houston-Boston) and No weg an (Boston-
                                                                                                                                                                                                                                                                          Mad d) fo he to etu n home to Spa n on 28/05/2019.
                                                                                                                                                                                                                                                                          Due to the Southwest A l ne fl ght cancellat on yeste day 28/05 ( l ght
                                                                                                                                                                                                                                                                          depa tu e 14 15) and the fact that ne the Southwest A l ne no
                                                                                                                                                                                                                                                                          k w com, who we booked th ough and pa d fo the k w gua antee, we e
                                                                                                                                                                                                                                                                          able to offe my daughte a v able a te nat ve fl ght f om Houston to
                                                                                                                                                                                                                                                                          Boston to connect w th No weg an fl ght (Boston-Mad d), my daughte
                                                                                                                                                                                                                                                                          was left w th two opt ons etu n to San Anton o w th he host fam ly o
                                                                                                                                                                                                                                                                          be le t alone st anded at Houston a po t w th no gua antee of
                                                                                                                                                                                                                                                                          alte nat ve fl ghts to be able to etu n home to Spa n. Afte a 4 hou wa t
                                                                                                                                                                                                     pax states daughte s flt was cx. SW and 3 d pa ty t avel company     at Houston a po t and no solut on offe ed he , she etu ned to San
2302535753193   5/29/2019 CR/RR          Web Fo m NJCYXZ     Pol c es/P ocedu es          Young T avele                 Pa ent Issue                  I egula Ops                 Compla nt          couldn t ebook he n o de to make he No weg an f t. States she        Anton o.
                                                                                                                                                                                                     had to go back to SAT and s seek ng comp.                            Th s fl ght cance lat on has had se ous epe cuss ons and both legal and
                                                                                                                                                                                                                                                                          f nanc al mpl cat ons. My daughte 's student v sa s about to exp e so
                                                                                                                                                                                                                                                                          she has to etu n to Spa n as soon as poss ble. Book ng new l ghts at
                                                                                                                                                                                                                                                                          such sho t not ce means they a e go ng to cost me a ound 2 000 do la s.
                                                                                                                                                                                                                                                                          S nce th s s tuat on has a sen f om Southwest A l ne's l ght
                                                                                                                                                                                                                                                                          cance lat on, I ask you to cons de th s equest fo compensat on due to
                                                                                                                                                                                                                                                                          the damages ncu ed. If you a l ne we e to compensate me, t would
                                                                                                                                                                                                                                                                          attenuate the g ave f nanc al d ff cult es I am now expe enc ng n o de
                                                                                                                                                                                                                                                                          to be able to pay fo new fl ghts to enable my daughte to t avel back
                                                                                                                                                                                                                                                                          home to Spa n.
                                                                                                                                                                                                                                                                          Please ema l me you esponse
                                                                                                                                                                                                                                                                          Many thanks and best ega ds,


                                                                                                                                                                                                                                                                          Hello! I have 2 quest ons!

                                                                                                                                                                                                                                                                           I pu chased a fl ght th ough k w .com. I ece ved a conf mat on ema l
                                                                                                                                                                                                                                                                          f om them but I do not see th s fl ght eflected on my upcom ng fl ghts n
                                                                                                                                                                                                                                                                          my southwest a l ne app. Iad l ke to make su e the e s no ssue w th my
                                                                                                                                                                                                                                                                          fl ght.
2302914239295    6/5/2019 Rese vat ons   Web Fo m JHVC D     Rap d Rewa ds                Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR    Comment/Quest on   upcom ng fl ght not show ng and nqu ng how to f nd funds
                                                                                                                                                                                                                                                                          Also, I ece ved a efund onto my southwest account on a cance led fl ght
                                                                                                                                                                                                                                                                          (due to death n fam ly) of $79.98. Whe e do I f nd th s on my account?
                                                                                                                                                                                                                                                                          And how can I use th s c ed t fo a futu e fl ght pu chase?

                                                                                                                                                                                                                                                                          Thank you!


                                                                                                                                                                                                                                                                          Pax was call ng about a efund she was expect ng f om a tkt cancellat on.
                                                                                                                                                                                                                                                                          Pax expla ned that she wasn't able to boa d an nte nat onal flt w/ us b/c
                                                                                                                                                                                                                                                                          she d dn t have a etu n tkt w/ us. Pax dec ded to cancel he es and
                                                                                                                                                                                                                                                                          booked w/ d ff ca e . Pax stated efund was p ocessed at a po t but
                                                                                                                                                                                                                                                                          that she hasn t seen t yet. Apol to pax fo the s tuat on and ev ewed
                                                                                                                                                                                                                                                                          the tkt. Adv sed efund was p ocessed on 5/19 and we haven't ece ved
2303002339145    6/7/2019 CR/RR          Phone      JQ3ENN   Refunds                      Refund Request                Refund P ocedu es             Status check                Compla nt          Refund status check                                                  a cha ge back. Pax d dn't ecogn ze the Maste ca d numbe . Look ng at
                                                                                                                                                                                                                                                                           t ne a y the ema l appea ed to be a TA. Asked pax how they booked and
                                                                                                                                                                                                                                                                          they booked onl ne us ng K w . Adv sed pax I am unfam l a w/ K w but
                                                                                                                                                                                                                                                                          f om what she s desc b ng t sounds l ke they cha ged he V sa ca d and
                                                                                                                                                                                                                                                                          then used the own ca d to pu chase the tkt. Adv sed pax that she would
                                                                                                                                                                                                                                                                          want to each out to K w to get the funds back to he . Sent pax t ne a y
                                                                                                                                                                                                                                                                          cance lat on ema l and ece pt show ng efund be ng p ocessed.


                                                                                                                                                                                                                                                                          Dea S /Madam,
                                                                                                                                                                                                                                                                          k ndly nfo m us about efund fo th s ese vat on BWI - ABQ PUB93R.
                                                                                                                                                                                                                                                                          Passenge booked fl ght on K w .com book ng webs te. Passenge
                                                                                                                                                                                                                                                                          contacted us about cancellat on of h s book ng. When we t ed to go on
                                                                                                                                                                                                                                                                          MMB, t shows book ng was canceled. It seems by passenge h mself.
2303067339183    6/9/2019 CR/RR          Web Fo m PUB93R     Refunds                      Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on   Th d pa ty ask ng about efund status of ese vat on                   Please, nfo m us, f t was canceled du ng 24 hou s amount of efund
                                                                                                                                                                                                                                                                          and f the efund w l be p ocessed to c ed t ca d wh ch was used fo
                                                                                                                                                                                                                                                                          book ng p ocess?

                                                                                                                                                                                                                                                                          Thank you and ega ds,
                                                                                                                                                                                                                                                                          K w com
                                                                                                                                                                                                                                                                          My daughte and I we e etu n ng to Balt mo e, she was n Las Vegas fo a
                                                                                                                                                                                                                                                                          depos t on and needed wheelcha ass stance wh ch was p ov ded and
                                                                                                                                                                                                                                                                          the Southwest employee K w was he helpe .
                                                                                                                                                                                                                                                                          How fo tunate you a e to have K w as an employee, she s so
                                                                                                                                                                                                                                                                          p ofess onal and compass onate t made the p ocess fo both my
                                                                                                                                                                                                                                                                          daughte and myself feel at ease tas not easy to t avel when you need
                                                                                                                                                                                                                                                                          wheelcha ass stance but she made the p ocess both easy and pa nless
2303206413194   6/11/2019 Rese vat ons   Web Fo m            Custome Se v ce              Pe sonnel                     Hosp tal ty                   P ofess onal sm             Compl ment         LAS Skycap K w was p ofess onal and compass onate                    fo my daughte .
                                                                                                                                                                                                                                                                          I hope f you have a system fo ecogn z ng th s young ladyas
                                                                                                                                                                                                                                                                          P ofess onal and compass onate ca e that was g ven that she be n
                                                                                                                                                                                                                                                                          someway awa ded.
                                                                                                                                                                                                                                                                          I do t avel and would not use any othe a l ne but Southwest,
                                                                                                                                                                                                                                                                          I bel eve n pat on z ng compan es that have the custome s
                                                                                                                                                                                                                                                                          as the f st p o ty.
                                                                                                                                                                                                                                                                          Thanks Aga n




                                                                                                                                                                                                                                                                                                                                           Appx. 112
    Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                                  Page 113 of 571 PageID 285
                                                                                                                                                                                                                                                                                        THE FL GHT IN QUESTION WAS CANCELLED DUE TO POWER OUTAGE AT
                                                                                                                                                                                                                                                                                        LAX. THE FL GHT WAS BOOKED THROUGH KIWI.COM AS PART OF OUR
                                                                                                                                                                                                                                                                                        FLIGHT TO PDX FROM MADRID SPAIN (ON NORWEGIAN AIR). I UST
                                                                                                                                                                                                                                                                                        CALLED A CUSTOMER SERV CE REP TO SEE WHAT IF ANYTHING
                                                                                                                                                                                                                                                                                        SOUTHWEST WAS PLANNING TO DO TO MAKE UP FOR THE CANCELLED
                                                                                                                                                                                                                                                                                        FLIGHT. I WAS TOLD A REFUND REQUEST HAD BEEN PUT IN (NOT BY ME,
                                                                                                                                                                                                                                                                                        SINCE I HAVE BEEN UNABLE TO CALL IN DUE TO THE UNUSUALLY HIGH
                                                                                                                                                                                                                                                                                        CALL VOLUMES THAT CAUSE DELAYS. WHEN I ASKED THE REP HOW I
                                                                                                                                                                                                                                                                                        WAS SUPPOSED TO RECEIVE MY REFUND SHE SAID THEY WERE
                                                                                                                                                                                                                                                                                        CREDITING MY CREDIT CARD USED TO BOOK. HOWEVER, SINCE I DID
                                                                                                                                                                                                                                                                                        NOT BUY THE T CKETS DIRECT FROM SOUTHWEST, SOUTHWEST DOES
                                                                                                                                                                                                                                                                                        NOT HAVE A CREDIT CARD NUMBER TO CREDIT.

                                                                                                                                                                                                                                                                                        TO BE BLUNT, SOUTHWEST HAS NOT BEEN COOPERATIVE ON THIS AT ALL
2303255437853      6/12/2019 CR/RR          Web Fo m LGRBO7           Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ope at onal                   Unable to Reaccom              Compla nt          pax nqu ng about efund due to flt cancellat on
                                                                                                                                                                                                                                                                                        - AT LAX WE WERE TOLD TO CALL SOUTHWEST TO REBOOK, BUT THE
                                                                                                                                                                                                                                                                                        WAIT TIME WHEN I CALLED WAS OVER 60 MINUTES. WE INSTEAD
                                                                                                                                                                                                                                                                                        BOOKED A HOTEL ROOM AT LAX, WENT TO THE ROOM, AND I TR ED
                                                                                                                                                                                                                                                                                        ONLINE, ONLY TO SEE THAT ALL FLIGHTS FOR 6/6 WERE FULL. WE HAD
                                                                                                                                                                                                                                                                                        COMMITMENTS THAT MEANT WE HAD TO BE HOME BY 6/6. SO, I
                                                                                                                                                                                                                                                                                        BOOKED A FLIGHT TO PDX EARLY AFTERNOON ON 6/6 ON DELTA. THE
                                                                                                                                                                                                                                                                                        PERSONNEL AT LAX SIMPLY HADN T A CLUE WHAT TO DO. AND
                                                                                                                                                                                                                                                                                        SOUTHWEST WAS NOT REACHABLE BY PHONE FOR AN ESTIMATED WAIT
                                                                                                                                                                                                                                                                                        TIME OF OVER 60 MINUTES. WE WERE LEFT TO THROW (OUR OWN)
                                                                                                                                                                                                                                                                                        MONEY AT THE PROBLEM. AT THIS POINT I AM LEFT TO WONDER WHY I
                                                                                                                                                                                                                                                                                        WOULD EVER FLY SOPUTHWEST AGAIN - NOT BECAUSE OF THE POWER
                                                                                                                                                                                                                                                                                        OUTAGE, BUT BECAUSE WE HAVE ESSENTIALLY BEEN LEFT TO TRY TO
                                                                                                                                                                                                                                                                                        FIGURE OUT WHAT TO DO ON OUR OWN.

                                                                                                                                                                                                                                                                                       I made a huge m stake and booked th s th ough K w . The b th yea fo
2303306821856      6/13/2019 Rese vat ons   Web Fo m S5AUN2           Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                    Comment/Quest on   Typo n DOB                                                                  s w ong on the ese vat on. It should b        Can you help me
                                                                                                                                                                                                                                                                                       get th s changed.
                                                                                                                                                                                                                                                                                       55941105@a l ne.k w .com
                                                                                                                                                                                                                    K w A l ne ema l - equest ng efund fo med cal - need to speak w th
2303326472263      6/14/2019 CR/RR          Web Fo m QFVSJ7           Refunds                         Refund Request                Refund P ocedu es             Req. Documentat on fo Refund   Compla nt                                                                             CC only used on PAX PNR not k w a l ne CC
                                                                                                                                                                                                                    pax
                                                                                                                                                                                                                                                                                       SSR DOCS ////02FEB51/F//DE ALVAREZ/SOBEIDA//H
                                                                                                                                                                                                                                                                                       Hello, I booked a fl ght on K w com w th book ng numbe 58 663 715,
                                                                                                                                                                                                                                                                                       Can you please conf m you have me on you south west fl ght f om DTW
2303445917950      6/17/2019 Rese vat ons   Web Fo m N5LW9B           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts      Comment/Quest on   Pax would l ke to conf m h s ese vat on.
                                                                                                                                                                                                                                                                                       to MDW on augst 1st at 4 04, land ng at 6 25. And send me the fl ght nfo.
                                                                                                                                                                                                                                                                                       Thanks
                                                                                                                                                                                                                                                                                        No RR acct
                                                                                                                                                                                                                                                                                        No elated SRs
                                                                                                                                                                                                                                                                                        T cket no showed
2303445954339      6/17/2019 CR/RR          Web Fo m QW5RUG           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Catast oph c Event             Compla nt          No Show T cket - equest ng cancellat on due to med cal s tuat on    Ema l sent afte fl ght no showed
                                                                                                                                                                                                                                                                                        Looked up k w com and s onl ne d scount a fa e book ng webs te
                                                                                                                                                                                                                                                                                        Subm tted efund - pend ng wa t ng fo dox
                                                                                                                                                                                                                                                                                        Cla m No 173466052

                                                                                                                                                                                                                                                                                        H,

                                                                                                                                                                                                                                                                                        I'm

                                                                                                                                                                                                                                                                                        I booked a fl ght on th s a l ne v a K w .com. It's scheduled fo the 27th of
                                                                                                                                                                                                                                                                                        July and t's leav ng f om LGA to CVG. The fl ght numbe s a e WN100 and
                                                                                                                                                                                                                                                                                        WN3878.

                                                                                                                                                                                                                                                                                        Howeve , acco d ng to the t cket, the e's an allowance fo 1 pe sonal
2303516377591      6/18/2019 Rese vat ons   Web Fo m                  Baggage                         Checked                       Gu del nes                    Numbe                          Comment/Quest on   Needs to know baggage a lowance.                                     tem, 1 cab n baggage, and 1 checked baggage. But on you webs te, t
                                                                                                                                                                                                                                                                                        says the f st two checked bags fly fo f ee. Does that st l hold t ue n th s
                                                                                                                                                                                                                                                                                        case? Should I d s ega d the nfo mat on on the t cket? Please let me
                                                                                                                                                                                                                                                                                        know you thoughts. Th s s eally mpo tant fo plann ng my t p.

                                                                                                                                                                                                                                                                                        Thanks and I hope to hea f om you soon.


                                                                                                                                                                                                                                                                                        Chee s,


                                                                                                                                                                                                                                                                                        I pu chased a ese vat on on fl ght WN2280 f om EWR to STL and l ght
                                                                                                                                                                                                                                                                                        WN 2301 (both on July 9) th ough the book ng se v ce K w .com. A
                                                                                                                                                                                                                                                                                        p ev ous nte nat onal fl ght was cancelled so I w ll not a ve n New Yo k
                                                                                                                                                                                                                                                                                        unt l the afte noon of July 9 (land ng at 16 50 at FK) so I w ll m ss both
                                                                                                                                                                                                                                                                                        th s fl ghts. Is t poss ble fo me to change my l ghts to one leav ng New
                                                                                                                                                                                                                    Pax nqu ed about ass stance n ebook ng elated to nte nat onal
2304236591738       7/8/2019 CR/RR          Web Fo m JIN9KF, VQZFZH   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Change Book ng                 Comment/Quest on                                                                       Yo k the n ght of July 9? I pu chased a ese vat on on fl ght WN2280 f om
                                                                                                                                                                                                                     l ght delayed wh ch w ll esult n a m sconnect.
                                                                                                                                                                                                                                                                                        EWR to STL and fl ght WN 2301 (both on July 9) th ough the book ng
                                                                                                                                                                                                                                                                                        se v ce K w .com. A p ev ous nte nat onal fl ght was cancelled so I w ll
                                                                                                                                                                                                                                                                                        not a ve n New Yo k unt l the afte noon of July 9 (land ng at 16 50 at
                                                                                                                                                                                                                                                                                        JFK) so I w ll m ss both th s fl ghts. Is t poss ble fo me to change my
                                                                                                                                                                                                                                                                                        fl ghts to one leav ng New Yo k the n ght of July 9?

                                                                                                                                                                                                                                                                                        I pu chased a one-way fl ght on Southwest A l nes fl ght 1243, th ough
                                                                                                                                                                                                                                                                                        K w com, and when I a ved at the a po t on June 3 d, 2019, the l ght
                                                                                                                                                                                                                                                                                        was cance led. Consequently, I had to book a fl ght w th anothe a l ne.
                                                                                                                                                                                                                    FLT booked on K w .com. FLT was CX when pax a ved to a po t.
2304238181216       7/8/2019 CR/RR          Web Fo m UCJALH           Refunds                         Refund Request                T ckets/Fa es                 Refundable                     Comment/Quest on                                                                       I spoke w th a Southwest agent on the phone that mo n ng who
                                                                                                                                                                                                                    Check ng on status of efund. // Status Check SR 2306683034894
                                                                                                                                                                                                                                                                                         nd cated that the cost of the a fa e fo th s fl ght would be efunded. It
                                                                                                                                                                                                                                                                                        has not yet been efunded to my c ed t ca d. Could you please look nto
                                                                                                                                                                                                                                                                                        th s and let me know the status of th s efund?

                                                                                                                                                                                                                                                                                        Dea Southwest
                                                                                                                                                                                                                                                                                        I have booked a fl ght f om Las Vegas to Reno on the 20th July (#5475)
                                                                                                                                                                                                                                                                                        and to etu n on the 26th July (#113) though a company called K w .com.
                                                                                                                                                                                                                                                                                        They have g ven me a PNR numbe of 087BNB. Is t poss ble fo you to
                                                                                                                                                                                                                                                                                        conf m that I am booked on those fl ghts w th you?
                                                                                                                                                                                                                                                                                        Also, could you conf m that I w l have 20 kg of checked baggage plus
2304305440797      7/10/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts      Comment/Quest on   t ne a y Rece pt
                                                                                                                                                                                                                                                                                        cab n bag and that th s has been pa d fo ?
                                                                                                                                                                                                                                                                                        F nally, assum ng all the above s okay w th you, do you have a book ng
                                                                                                                                                                                                                                                                                         efe ence fo me n case I need to check the status of my fl ghts? (I should
                                                                                                                                                                                                                                                                                        have booked d ect w th you!).
                                                                                                                                                                                                                                                                                        Many thanks


                                                                                                                                                                                                                                                                                        My w fe ecently booked a oundt p l ght fo us n August to OAK (Aug. 9
                                                                                                                                                                                                                                                                                        - Retu n on Aug. 24). Not eally unde stand ng the d ffe ence she used an
                                                                                                                                                                                                                                                                                        outs de book ng s te, K w .com. Afte book ng she eal zed the e was no
                                                                                                                                                                                                                                                                                        sect on to nd cate that we w l have a young ch ld w/ us (unde 2y s old)
                                                                                                                                                                                                                                                                                        unl ke the Southwest s te.

     2.30432E 12   7/10/2019 Rese vat ons   Web Fo m                  Pol c es/P ocedu es             Lap Ch ld                     Gu del nes                    P ocedu es                     Comment/Quest on   add a lap ch ld                                                     We contacted them and they have been g v ng us the un a ound
                                                                                                                                                                                                                                                                                        cla m ng We would l ke to adv se you to k ndly make a new book ng on
                                                                                                                                                                                                                                                                                        the same fl ghts w th a w ong b th yea show ng h m as an adult. 99,..
                                                                                                                                                                                                                                                                                        then they w l cancel t to secu e space fo h m. I wanted to w te
                                                                                                                                                                                                                                                                                        Southwest d ect to see f we can esolve th s o at least have a note
                                                                                                                                                                                                                                                                                        added to ou ese vat on fo that fl ght. Any nfo would be g eat. Thank
                                                                                                                                                                                                                                                                                        you.

                                                                                                                                                                                                                                                                                        Hello, I am w t ng because I ece ved a t avel c ed t f om Southwest afte
                                                                                                                                                                                                                                                                                        hav ng to cancel v a K w com Ref O46E6W 5863 I was hop ng to change
                                                                                                                                                                                                                                                                                        the c ed t to my name. I booked th s fl ght fo my b othe , who was
                                                                                                                                                                                                                                                                                        unable to come due to compl cat ons w th MS. Afte go ng back and
2304631348982      7/17/2019 CR/RR          Web Fo m O46E6W           Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty                Comment/Quest on   Wants tvl funds t ansfe ed due to b othe unable to t avel.
                                                                                                                                                                                                                                                                                        fou th w th K w fo a month fo a efund, I d scove ed th s t avel c ed t.
                                                                                                                                                                                                                                                                                        Please, f t's poss ble to t ansfe the name, t would be g eatly
                                                                                                                                                                                                                                                                                        app ec ated. My b othe w ll l kely not fly aga n due to develop ng
                                                                                                                                                                                                                                                                                        Mult ple Scle os s. Thank you
                                                                                                                                                                                                                                                                                        Hello,

                                                                                                                                                                                                                                                                                        I booked my fl ght (no WN1656) th ough KIWI.COM w th book ng
                                                                                                                                                                                                                                                                                        numbe 42035939

                                                                                                                                                                                                                                                                                        I was wonde ng f t's poss ble fo me to t ansfe the o g n a po t c ty
2304859222326      7/23/2019 Rese vat ons   Web Fo m                  southwest com                   P oduct/Funct onal ty         Change/Cancel t ne a y        Web S te Nav gat on            Comment/Quest on   Custome would l ke to know about chang ng l ght
                                                                                                                                                                                                                                                                                        f om DENVER, CO to anothe c ty. If so, could you please p ov de me
                                                                                                                                                                                                                                                                                        mo e deta ls on the cost ( f any) and how I would go about mak ng t
                                                                                                                                                                                                                                                                                        happen.

                                                                                                                                                                                                                                                                                        Thank you


                                                                                                                                                                                                                                                                                        Dea Rep esentat ve
                                                                                                                                                                                                                                                                                        Th ough K w (Book ng 63205923 and Conf mat on #JFEFOO), I bought a
                                                                                                                                                                                                                                                                                        fl ght t cket to Bangkok, leav ng SJO, San JosA, Costa R ca. Fl ght 304 to
                                                                                                                                                                                                                                                                                        FLL, Flo da depa ts on Septembe 28 at 12 40 pm. It s ve y poss ble that I
                                                                                                                                                                                                                                                                                        w l have to leave Fo t Laude dale two o th ee days befo e, v s t a fam ly
                                                                                                                                                                                                                                                                                        membe who encounte s a health ssue, and then cont nue the t p on
2304988323878      7/27/2019 Rese vat ons   Web Fo m   FEFOO          southwest com                   P oduct/Funct onal ty         Change/Cancel It ne a y       Web S te Nav gat on            Comment/Quest on   what s cost to change fl ght                                        the 28th at n ght to Stockholm, Sweden and then to Bangkok, Tha land .
                                                                                                                                                                                                                                                                                        My equest s to know f t s poss ble to advance the t p and how much
                                                                                                                                                                                                                                                                                        the change would cost me to advance the fl ght fo Septembe 25 o 26.
                                                                                                                                                                                                                                                                                         t s ve y mpo tant to know the cost of that fl ght change and see f t w ll
                                                                                                                                                                                                                                                                                        be poss ble to make the change.
                                                                                                                                                                                                                                                                                        Thanks fo you help and adv ce,



                                                                                                                                                                                                                                                                                        Hello the e!

                                                                                                                                                                                                                                                                                        I booked th s l ght th ough K w .com and o de ed spec al baggage se v ce
                                                                                                                                                                                                                                                                                        fo two b cycles on th s fl ght th ough them. The equest d d not go
                                                                                                                                                                                                                                                                                        th ough to you, so I pa d fo both b cycles at the a po t. I neve got a
2305158903099       8/1/2019 Rese vat ons   Web Fo m VN3H4B           Baggage                         Checked                       Fees                          Ove s zed/Ove we ght           Comment/Quest on   Request ng ece pt fo b cycle
                                                                                                                                                                                                                                                                                         ece pt fo the t ansact on but am t y ng to get t efunded th ough K w .
                                                                                                                                                                                                                                                                                        They equ e ece pts. Is t at all poss ble fo me to get th s eco d f om
                                                                                                                                                                                                                                                                                        you so that I can fo wa d t to K w ? I would ve y much app ec ate t.

                                                                                                                                                                                                                                                                                        Thank you.

                                                                                                                                                                                                                                                                                        Dea Madame o S ,

                                                                                                                                                                                                                                                                                        I booked the 2 Fl ghts WN845 and WN775 v a k w .com, as n New
                                                                                                                                                                                                                                                                                        O leans I'll have a connect ng fl ght to Ge many w th Condo . K w .com
                                                                                                                                                                                                                                                                                        shows that I had only one pe sonal tem f ee of cha ge fo those fl ghts
                                                                                                                                                                                                                                                                                        wh ch occu s clea ly because of condo . My quest on If I book one
2305178506183       8/1/2019 Rese vat ons   Web Fo m                  Baggage                         Checked                       Gu del nes                    Numbe                          Comment/Quest on   Needs to know baggage pol cy.                                       add t onal checked bag, not heav e than 25lbs only fo condo , w ll I be
                                                                                                                                                                                                                                                                                        allowed to check that one w th you fl ghts fo f ee, as s you pol cy?
                                                                                                                                                                                                                                                                                        Also, as hand luggage s also allowed a l ttle su tcase, not exceed ng the
                                                                                                                                                                                                                                                                                         est ct ons named on you webs te ght?

                                                                                                                                                                                                                                                                                        Rega ds,


                                                                                                                                                                                                                                                                                        H , have book a fl ght w th th s conf mat on numbe N6OUG8 .
                                                                                                                                                                                                                                                                                        I have book th s fl ght w th k w .com and n he ese vat on the e s a l m t
                                                                                                                                                                                                                                                                                        of hold baggage of 78 A 52 A 28 cm a 23 kg .
                                                                                                                                                                                                                                                                                        On you s te the e s a l m t of hold baggage 62 nches n s ze (length
                                                                                                                                                                                                                                                                                        w dth he ght exclud ng the handle and wheels).
2305242061215       8/3/2019 Rese vat ons   Web Fo m N6OUG8           Baggage                         Checked                       Gu del nes                    S ze                           Comment/Quest on   baggage s ze
                                                                                                                                                                                                                                                                                        Fo my hold baggage, wh ch of these values should I take nto
                                                                                                                                                                                                                                                                                        cons de at on?
                                                                                                                                                                                                                                                                                        Please do not espond w th automat c esponse.
                                                                                                                                                                                                                                                                                        Best




                                                                                                                                                                                                                                                                                                                                                           Appx. 113
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                                                                                                                                                                                                                                                                              Dea M o Mss,

                                                                                                                                                                                                                                                                              Acco d ng to the ma l conve sat on below, you nfo med KIWI.COM that
                                                                                                                                                                                                                                                                              you have actua ly used the t ckets p ov ded by them - the a l ne numbe
                                                                                                                                                                                                                                                                              THQ3MX.
                                                                                                                                                                                                                                                                              Howeve , you should efund me the full efunds 2x 263.98 USD back to
                                                                                                                                                                                                                                                                              the c ed t ca d you used at the a po t end ng **3057. The agent
                                                                                                                                                                                                                                                                               nfo med K w .com that the efund p ocess w ll take app ox mately 10
                                                                                                                                                                                                                                                                              wo k ng days (7 days have passed s nce August 13th).

                                                                                                                                                                                                                                                                              Could you say anyth ng about th s matte ?

                                                                                                                                                                                                                                                                              Thanks a lot fo you attent on.
2305905523188   8/20/2019 CR/RR          Web Fo m T62RZI, THQ3MX   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Dupl cate Book ng           Compla nt          WGA NO SHOW/Dupl cate book ng
                                                                                                                                                                                                                                                                              K nd ega ds,




                                                                                                                                                                                                                                                                              De cla ms@k w .com cla ms@k w .mypu ecloud. e
                                                                                                                                                                                                                                                                              Env at d jous, 1 / daagost / 2019 09 54
                                                                                                                                                                                                                                                                              Pe a
                                                                                                                                                                                                                                                                              Tema Re 39085651, K w com

                                                                                                                                                                                                                                                                              Dea M

                                                                                                                                                                                                                                                                              thank you fo contact ng us back.

                                                                                                                                                                                                                                                                                 MX delay fl ght 1504. a ved about 7.5 hou s late. eaccom f om connx
                                                                                                                                                                                                                                                                                 on anothe a l ne.
                                                                                                                                                                                                                                                                                 OWF $53. Custome al eady g ven $400 n vouche s. (CO#s 15851361 and
                                                                                                                                                                                                           compla nt about delay, cancellat on, confus on at HNL stat on, states
                                                                                                                                                                                                                                                                                 15845898) ve f ed that vouche s a e act ve and unused.
2305995422468   8/22/2019 CR/RR          Web Fo m SJ8SPF           Othe                         SR Inqu es                    Th eatens Act on              Soc al Med a                Compla nt          CSAs we e ude and d dn't commun cate well. demand ng vouche s
                                                                                                                                                                                                           and th eaten ng soc al med a
                                                                                                                                                                                                                                                                                 All elated SRs fo fl ght a e closed.
                                                                                                                                                                                                                                                                                 Custome seems to have booked v a k w com, based on the nfo n es
                                                                                                                                                                                                                                                                                 (ema l s a k w .com ema l)
                                                                                                                                                                                                                                                                              My fl ght f om Pa s CDG changed ts schedule, so I cannot take the fl ght
                                                                                                                                                                                                                                                                              desc bed above. I had to take a new f lght w th you s a l nes on the 6th
                                                                                                                                                                                                                                                                              leav ng LAX at 8h05. PNR OAP 522
2306103905422   8/25/2019 CR/RR          Web Fo m OAP522           Rese vat ons/T ckets/Fa es   Fa es                         Wanna Get Away                Fa e Rules/Info mat on      Compla nt          equest ng efund                                                    So I thank you to efund the fl ght I can't take.
                                                                                                                                                                                                                                                                              I got a ma l f om K w .com say ng that I can p etend to that.
                                                                                                                                                                                                                                                                              thanks fo do ng t.


                                                                                                                                                                                                                                                                              S nce I w ote to you and you d d not answe to my equest and gave me a
                                                                                                                                                                                                                                                                              su eal esponse, I w l epeat myself.
                                                                                                                                                                                                                                                                              Th ough k w .com, I took a l ght Pa s CDG/LAX on septembe 5th
                                                                                                                                                                                                                                                                              desc bed. I was supposed to fly w th you a l nes on fl ght above. But
                                                                                                                                                                                                                                                                              The fl ght Pa sCGG/LAX changed ts schedule, mak ng t mposs ble to fly
                                                                                                                                                                                                                                                                              to Sa t make c ty w th the fl ght desc bed above. So I had to buy anothe
                                                                                                                                                                                                                                                                              fl ght on the 6th (leav ng LAX to SLC) at 8h05.
                                                                                                                                                                                                                                                                              I want you to cancel my fl ght on the 5th desc bed above and pay me
                                                                                                                                                                                                                                                                              back.
                                                                                                                                                                                                                                                                              Is the e anyth ng unclea n my message ?
                                                                                                                                                                                                                                                                              The answe I got was f tou want to cancel o change you Septembe
                                                                                                                                                                                                                                                                              6th fl ght, cl ck he NO, I keep my fl ght on the 6th and want to be
                                                                                                                                                                                                                                                                               efund of my fl ght o the 5th.
2306108177589   8/25/2019 CR/RR          Web Fo m OAP522, UTG26O   Othe                         CR W teback                   D sag ees/Rema ns Upset       Ove looked Conce ns         Compla nt          CR WB to SR 2306103905422 ove looked conce ns
                                                                                                                                                                                                                                                                              K w com nfo med me that you should do t.
                                                                                                                                                                                                                                                                              Thanks fo fo ead ng my message.
                                                                                                                                                                                                                                                                                              H,
                                                                                                                                                                                                                                                                              S nce I w ote to you and you d d not answe to my equest and gave me a
                                                                                                                                                                                                                                                                              su eal esponse, I w l epeat myself.
                                                                                                                                                                                                                                                                              Th ough k w .com, I took a l ght Pa s CDG/LAX on septembe 5th
                                                                                                                                                                                                                                                                              desc bed. I was supposed to fly w th you a l nes on fl ght above. But
                                                                                                                                                                                                                                                                              The fl ght Pa sCGG/LAX changed ts schedule, mak ng t mposs ble to fly
                                                                                                                                                                                                                                                                              to Sa t make c ty w th the fl ght desc bed above. So I had to buy anothe
                                                                                                                                                                                                                                                                              fl ght on the 6th (leav ng LAX to SLC) at 8h05.
                                                                                                                                                                                                                                                                              I want you to cancel my fl ght on the 5th desc bed above and pay me
                                                                                                                                                                                                                                                                              back.
                                                                                                                                                                                                                                                                              Is the e anyth ng unclea n my message ?
                                                                                                                                                                                                                                                                              The answe I got was f tou want to cancel o change you Septembe
                                                                                                                                                                                                                                                                              Dea Adm n,

                                                                                                                                                                                                                                                                              I booked a fl ght us ng K w webs te f om Pheon x to Aust n. My f st l ght
                                                                                                                                                                                                                                                                              was w th Southwest (to Denve ) and the second one was F ont e . At that
                                                                                                                                                                                                                                                                              t me I couldn't attend the fl ght so I canceled them a day befo e
                                                                                                                                                                                                                                                                              depa tu e. Based on the F ont e pol cy noth ng etu n but when I
                                                                                                                                                                                                                                                                              canceled my Southwest fl ght, wh ch was getaway type, t sa d the
2306361284017    9/1/2019 Rese vat ons   Web Fo m LO4MVT           Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   How to Redeem               Comment/Quest on   Cancelled fl ght how do I access t avel c ed t                     amount w ll be conve ted to the c ed t to you p of le. Howeve , I haven t
                                                                                                                                                                                                                                                                               ece ved anyth ng, I al eady contacted K w and they sa d We would l ke
                                                                                                                                                                                                                                                                              to nfo m you that fo the Southwest A l nes you w ll have to contact the
                                                                                                                                                                                                                                                                              A l nes to check the c ed ts n you p of le.
                                                                                                                                                                                                                                                                              Please let me know what should I do now?

                                                                                                                                                                                                                                                                              Rega ds,

                                                                                                                                                                                                                                                                              Dea Mss,
                                                                                                                                                                                                                                                                              Acco d ng to the last ema l efe ence numbe 2305905523188, do you
                                                                                                                                                                                                                                                                              know when w l be cha ged the amount n my account? Thanks!

                                                                                                                                                                                                                                                                              My esea ch nd cates that you we e hold ng dupl cate ese vat ons fo
                                                                                                                                                                                                                                                                              you t avel between New O leans and Fo t Laude dale, and you
                                                                                                                                                                                                                                                                              completed t avel unde conf mat on numbe THQ3MX. The funds
                                                                                                                                                                                                                                                                              assoc ated w th you ese vat on unde conf mat on numbe T62RZI
                                                                                                                                                                                                                                                                              we e fo fe ted unde ou no-show pol cy as the ese vat on was not
                                                                                                                                                                                                                                                                              canceled at least 10 m nutes p o to depa tu e. Howeve , as a gestu e of
                                                                                                                                                                                                                                                                              goodw l, I have subm tted a equest to efund the t ckets fo you each.
                                                                                                                                                                                                                                                                              The c ed ts w ll be etu ned to the account end ng n 3057. In the futu e,
                                                                                                                                                                                                                                                                              please be su e to ev ew the ema led t ne a y that s sent each t me a
                                                                                                                                                                                                                                                                               ese vat on s booked, changed, o canceled, and cancel a l ese vat ons
2306466225062    9/4/2019 Rese vat ons   Web Fo m TG2RZI           Refunds                      Refund Request                Refund P ocedu es             Status check                Comment/Quest on   nqu ng when efund w ll post to account
                                                                                                                                                                                                                                                                              that you wonat be us ng.




                                                                                                                                                                                                                                                                              S nce ely,
                                                                                                                                                                                                                                                                                             , Southwest A l nes
                                                                                                                                                                                                                                                                              The f le efe ence numbe fo you ema l s 2305905523188.
                                                                                                                                                                                                                                                                              Dea M o Mss,

                                                                                                                                                                                                                                                                              Acco d ng to the ma l conve sat on below, you nfo med KIWI.COM that
                                                                                                                                                                                                                                                                              you have actua ly used the t ckets p ov ded by them - the a l ne numbe
                                                                                                                                                                                                                                                                              THQ3MX.
                                                                                                                                                                                                                                                                              Howeve , you should efund me the full efunds 2x 263.98 USD back to
                                                                                                                                                                                                                                                                              the c ed t ca d you used at the a po t end ng **3057 The agent

                                                                                                                                                                                                                                                                              I pu chased a one-way fl ght on Southwest A l nes fl ght 1243, th ough
                                                                                                                                                                                                                                                                              K w com, and when I a ved at the a po t on June 3 d, 2019, the l ght
                                                                                                                                                                                                                                                                              was cance led. Consequently, I had to book a fl ght on anothe a l ne. I
                                                                                                                                                                                                                                                                              spoke w th a Southwest agent on the phone that mo n ng who nd cated
                                                                                                                                                                                                                                                                              that the cost of the a fa e fo th s fl ght would be efunded. AI followed
                                                                                                                                                                                                                                                                              up on th s ssue w th Southwest custome se v ce on Jul 10, 2019
                                                                                                                                                                                                                                                                              ( efe ence numbe A2304238181216)AAto nqu e about the efund and
2306683034894    9/9/2019 CR/RR          Web Fo m UCJALH           Refunds                      Refund Request                Refund P ocedu es             Status check                Comment/Quest on   Status Check of Refund // Re. SR 2304238181216
                                                                                                                                                                                                                                                                              was told, A $283.99 efund fo you ese vat on was p ocessed on June
                                                                                                                                                                                                                                                                              3. AIt can somet mes take one to two b ll ng cycles fo a c ed t to post on
                                                                                                                                                                                                                                                                              the monthly account statement. Consequently, I wa ted. Today, I
                                                                                                                                                                                                                                                                              sea ched my c ed t ca d h sto y, and contacted my c ed t ca d company.A
                                                                                                                                                                                                                                                                              They have conf med that no such efund was ece ved f om you a l ne.
                                                                                                                                                                                                                                                                              AS nce we a e well past the two b ll ng cycle pe od, can you please look
                                                                                                                                                                                                                                                                               nto th s ssue and let me know how we can esolve th s d sc epancy? A


                                                                                                                                                                                                                                                                              Hello, I am t avell ng to the Un ted States f om F ance fo my mothe 's
                                                                                                                                                                                                                                                                              fune al. On my etu n t p, I w l be t avell ng f om MCI to LGA w th
                                                                                                                                                                                                                                                                              Southwest A l nes. I bought t ckets fo two of my ch ld en as well, but we
                                                                                                                                                                                                                                                                              we e unable to obta n exp ess passpo ts on t me Iam leav ng Thu sday,
                                                                                                                                                                                                                                                                              12 09.19). The efo e, I wanted to change the names on the t ckets to my
                                                                                                                                                                                                                                                                              two othe ch ld en, who al eady have passpo ts. Howeve , I booked the
                                                                                                                                                                                                                                                                              fl ghts th ough K w com, and they cla m Southwest A l nes w ll not
                                                                                                                                                                                                                                                                              change the names. The whole s tuat on has been ve y d ff cult fo us, as
                                                                                                                                                                                                           Pax and k ds com ng to USA fo fune al. K ds wont get passpo ts n   you can mag ne, and now th s p oblem w th the t ckets s mak ng t much
2306729216108   9/10/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty             Comment/Quest on
                                                                                                                                                                                                           t me. Pax wants to change names.                                   mo e d ff cult. Could you please help us by allow ng K w to make the
                                                                                                                                                                                                                                                                              changes? I cannot mag ne t would be that much of a p oblem and t
                                                                                                                                                                                                                                                                              would ea ly be a g eat help fo us.
                                                                                                                                                                                                                                                                              Thank you ve y much n advance fo you comp ehens on.
                                                                                                                                                                                                                                                                              S nce ely,


                                                                                                                                                                                                                                                                              K w com book ng numbe 75692474
                                                                                                                                                                                                                                                                              Sun. Sept. 22 a MCI 06 45 to LGA 10 30 a l ght numbe WN3883

                                                                                                                                                                                                                                                                              D aled out to pax and spoke w th        Adv sed who I was and whe e I
                                                                                                                                                                                                                                                                              was ca l ng f om. Adv sed that I had anothe ema l of h s come ac oss my
                                                                                                                                                                                                                                                                              desk and adv sed that the efund was sent back to the o g nal FOP that
                                                                                                                                                                                                                                                                              we have on f le and t was absolutely poss ble that K w used the own
                                                                                                                                                                                                                                                                              FOP f he booked onl ne o ove the phone w th them. I adv sed that my
                                                                                                                                                                                                                                                                               ecommendat on would be to each out to them about the efund. I
                                                                                                                                                                                                                                                                              adv sed that I was so y fo any confus on. Pax thanked me fo the call
                                                                                                                                                                                                                                                                              and t ended on a good note. Thanks         . I ecently posted an nqu y
                                                                                                                                                                                                                                                                              about a efund on a cance led l ght (See SR#2306683034894). In the
                                                                                                                                                                                                           wb s 2306683034894
2306777389287   9/11/2019 CR/RR          Web Fo m UCJALH, UCJALH   Othe                         CR W teback                   D sag ees/Rema ns Upset       Inaccu ate Info P ov ded    Compla nt                                                                              eply, t was nd cated that, aa a $283.99 efund fo you ese vat on was
                                                                                                                                                                                                           pax upset w th naccu ate nfo p ov ded e efund to ofop
                                                                                                                                                                                                                                                                              p ocessed on June 3 to a c ed t ca d used to pu chase the o g nal
                                                                                                                                                                                                                                                                               ese vat on end ng n 4683.a

                                                                                                                                                                                                                                                                              Unfo tunately, I d d not pu chase the fl ght us ng a c ed t ca d end ng n
                                                                                                                                                                                                                                                                              those numbe s, no do I have any c ed t ca d wh ch ends n those
                                                                                                                                                                                                                                                                              numbe s. I d d pu chase the fl ght th ough K w com, so I am wonde ng f
                                                                                                                                                                                                                                                                              th s somehow caused the efund to be d ve ted nco ectly. Could you
                                                                                                                                                                                                                                                                              please adv se ega d ng how I m ght esolve th s ssue and ece ve my
                                                                                                                                                                                                                                                                               efund?

                                                                                                                                                                                                                                                                              H,
                                                                                                                                                                                                                                                                               I ecently booked a l ght w th k w .com and want to check to make su e I
                                                                                                                                                                                                                                                                              d dn't book a bunk l ght. Could you conf m that I am ndeed on the salt
2306866382918   9/13/2019 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   would l ke to ve fy they a e on a SWA fl ght                       lake c ty to Pa s fl ght on Octobe 7th? I ncluded the fl ght numbe .
                                                                                                                                                                                                                                                                              Thanks fo you t me,




                                                                                                                                                                                                                                                                                                                                               Appx. 114
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                                                                                                                                                                                                                                                                                   Conf med n CIRRUS PNR H sto y that th s ese vat on unde PNR
                                                                                                                                                                                                                                                                                   K7EDMR fo Fl ght #739 MCO-MSY 9/4 was pu chased fo $102.98 by a
                                                                                                                                                                                                                                                                                   Maste ca d end ng n 8255. PAX does not have RR acct. Looked up FLTS
                                                                                                                                                                                                                                                                                   w/ PAX Name                                       and only located th s
                                                                                                                                                                                                                                                                                   FLT unde PNR K7EDMR.
                                                                                                                                                                                                                                                                                   Pu chased th ough K w t avel agency
                                                                                                                                                                                                                                                                                   Unable to d al out to PAX due to no phone numbe fo he .
                                                                                                                                                                                                                   WB to SR 2308151697069 Pax feels that we have efunded the w ong
2308159848217   10/16/2019 CR/RR          Web Fo m K7EDMR, K7EDMR    Othe                            CR W teback                   D sag ees/Rema ns Upset       Inaccu ate Info P ov ded       Compla nt                                                                           Hello,
                                                                                                                                                                                                                   CC.
                                                                                                                                                                                                                                                                                   The f le efe ence numbe fo you ema l s 2308151697069.
                                                                                                                                                                                                                                                                                   So you made a eal m stake. The Maste Ca d end ng n 8255 s not m ne !
                                                                                                                                                                                                                                                                                   Because I called my bank and they told me that I bougth a l ght the 19 of
                                                                                                                                                                                                                                                                                   august w th my c ed t ca d V sa end ng n 8501. And I saw on my app the
                                                                                                                                                                                                                                                                                   amout f om the webs te k w .
                                                                                                                                                                                                                                                                                   So I want to have my efund of 102 98$ to my c ed t ca d.
                                                                                                                                                                                                                                                                                   Thank you
                                                                                                                                                                                                                                                                                      Res was neve cxl'd
                                                                                                                                                                                                                                                                                      Somehow d dn t NoShow
                                                                                                                                                                                                                                                                                      Ema l ece ved f om an k w T avel Agent ema l
2308288313717   10/18/2019 CR/RR          Web Fo m M25FQ7            Refunds                         Refund Request                Refund P ocedu es             Req. Documentat on fo Refund   Comment/Quest on   Request fo efund f om K w due to med cal
                                                                                                                                                                                                                                                                                      Send ng text to contact TA Adm n

                                                                                                                                                                                                                                                                                      Would equest dox f mb contacts d ectly
                                                                                                                                                                                                                                                                                      efe ence numbe 2306108177589

                                                                                                                                                                                                                                                                                      Hello,
                                                                                                                                                                                                                                                                                      I haven't ec eved any efund yet.

                                                                                                                                                                                                                                                                                      The fo ty days you talk about n you ma l below a e passed.

                                                                                                                                                                                                                                                                                       as a one-t me gestu e of goodw l, I w l equest a efund of $63.30 the
2308361507275   10/21/2019 CR/RR          Web Fo m                   Refunds                         Refund Request                Refund P ocedu es             Status check                   Compla nt          Pax s look ng fo he efund that was al eady p ocessed.
                                                                                                                                                                                                                                                                                      account end ng n 2577 once t avel s completed unde conf mat on
                                                                                                                                                                                                                                                                                      numbe OAP522. Please allow 30-45 days fo the funds to be c ed ted
                                                                                                                                                                                                                                                                                      back to the p ope account.

                                                                                                                                                                                                                                                                                      Thank you fo tell ng me f that money has be efund to the w ong
                                                                                                                                                                                                                                                                                      account.(aka K w com nstead of me)


                                                                                                                                                                                                                                                                                      Pax need ng to f nd conf mat on numbe . Ve f ed all of account
                                                                                                                                                                                                                                                                                       nfo mat on. Stated A K w booked he fl ght and she had w tten t
                                                                                                                                                                                                                   Pax need ng to f nd conf mat on numbe . Ve f ed all of account
2309005901654    11/5/2019 CR/RR          Phone      TVVA6Z          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts      Comment/Quest on                                                                      down, but he note pad s at home and she s fly ng n f om Pa s. I asked
                                                                                                                                                                                                                   nfo mat on.
                                                                                                                                                                                                                                                                                      he to conf m fl ght nfo mat on and p ov ded he the PNR and then
                                                                                                                                                                                                                                                                                      added he RR account to the conf mat on.
                                                                                                                                                                                                                                                                                      I bought my pa ents t ckets v a k w .com fo the fl ght above. I was
                                                                                                                                                                                                                                                                                      wonde ng f they cancel last m nute f they would get c ed t v a
2309044147048    11/5/2019 Rese vat ons   Web Fo m OP7WND            southwest com                   P oduct/Funct onal ty         Change/Cancel t ne a y        Web S te Nav gat on            Comment/Quest on   would l ke to know about cancell ng a ese vat on                   southwest. C ed t th ough k w .com s not an opt on and they ly
                                                                                                                                                                                                                                                                                      southwest all the t me and would use the c ed t. I was wonde ng f th s
                                                                                                                                                                                                                                                                                      was poss ble?
2309326593470   11/12/2019 Rese vat ons   Web Fo m R8VTOE            Baggage                         Checked                       Gu del nes                    Numbe                          Comment/Quest on   nqu ng f can check bags                                            Can we check n baggage. I saw that on the k w webs te only ca y on .

                                                                                                                                                                                                                                                                                      Hey! I cancelled my fl ght booked th ough k w .com w th Southwest and I
                                                                                                                                                                                                                                                                                      got a efund ($74.98) fo my Southwest fl ght f om Atlanta to Boston. I
2309550070635   11/18/2019 Rese vat ons   Web Fo m UUJ4RL            Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Ve fy Funds                    Comment/Quest on   Ve fy funds we e used.                                             th nk I've added the efund to my account last yea but I cannot see t
                                                                                                                                                                                                                                                                                      anymo e. I t ed to add t aga n just now but t doesn t wo k. Can I
                                                                                                                                                                                                                                                                                      somehow get access to those funds?


                                                                                                                                                                                                                                                                                      Dea S o Madam,

                                                                                                                                                                                                                                                                                      I have booked a fl ght f om P ttsbu gh to San D ego v a Las Vegas on
                                                                                                                                                                                                                                                                                      F day, Novembe 29 (fl ght numbe WN2717 and WN1061). I have
                                                                                                                                                                                                                                                                                      booked th s th ough k w .com, and on the book ng conf mat on s says
                                                                                                                                                                                                                                                                                      that I need to get and e-check my baggage at Las Vegas a po t.
                                                                                                                                                                                                                                                                                      Howeve , on you webs te, I see Q&A th eads n wh ch you state that
2309637768360   11/20/2019 Rese vat ons   Web Fo m MZQO4Q            Baggage                         Checked                       Gu del nes                    Max/M n T me to Check Bag      Comment/Quest on   Inqu y on f bag needs to be e-checked n connect ng c ty
                                                                                                                                                                                                                                                                                      baggage w ll be automat cally outed to the dest nat on a po t f both
                                                                                                                                                                                                                                                                                      fl ghts a e f om Southwest (wh ch s the case fo me).
                                                                                                                                                                                                                                                                                      So do I need to get and e-check my baggage n Las Vegas fo my fl ght?

                                                                                                                                                                                                                                                                                      Thank you!
                                                                                                                                                                                                                                                                                      Best ega ds,


                                                                                                                                                                                                                                                                                      I am t y ng to add my passpo t deta l to the fl ght above. I have a
                                                                                                                                                                                                                                                                                      connect on fl ght f om sanf anc sco to phoen x then elpaso texas.
2309771261841   11/24/2019 Rese vat ons   Web Fo m NCFSTM            southwest com                   P oduct/Funct onal ty         Usab l ty                     Techn cal D ff cult es         Comment/Quest on   Cust nqu ng whe e to add passpo t nfo.
                                                                                                                                                                                                                                                                                      I had o g na ly booked th ough k w .com

                                                                                                                                                                                                                                                                                      Whe e can I add my passpo t deta ls?
                                                                                                                                                                                                                                                                                      A l ne K w - 84754615@a l ne k w .com // s m la to getse v ce.com
                                                                                                                                                                                                                   AIR KIWI EMAIL Request ng efund due to med cal, ask ng whe e to
2310479791943   12/13/2019 CR/RR          Web Fo m WE377D            Refunds                         Refund Request                T ckets/Fa es                 Non efundable                  Comment/Quest on
                                                                                                                                                                                                                   send a med cal ce t f cate. PNR s n no show status
                                                                                                                                                                                                                                                                                      2 PAX - PNR s n No Show Status ($133 98)

                                                                                                                                                                                                                                                                                      Fl ght numbe s wn1010 but the fo m says t's nval d so I can t subm t t
                                                                                                                                                                                                                                                                                      putt ng t n the box.

                                                                                                                                                                                                                                                                                      I p obably won t be able to make th s fl ght as my p ev ous fl ght
                                                                                                                                                                                                                                                                                      tomo ow w ll a ve to late fo me to make the connect on. I need to
                                                                                                                                                                                                                                                                                       eschedule t us ng the o g nal t cket cost to apply to the othe t cket
                                                                                                                                                                                                                                                                                      fa e. I am out of the count y and cannot call. I cannot f nd the fl ght
                                                                                                                                                                                                                                                                                      unde my name and the book ng numbe maybe because t was booked
2310609540691   12/16/2019 Rese vat ons   Web Fo m WBDDXW            Rese vat ons/T ckets/Fa es      Fa es                         Wanna Get Away                Upg ade                        Comment/Quest on   Inqu ng on chang ng fl ght ese vat on.                             us ng k w .com. They a e te l ng me that I have to contact you to change
                                                                                                                                                                                                                                                                                      the fl ght and that they w ll not help. Please let me know what l ght
                                                                                                                                                                                                                                                                                      opt ons the e a e late n the even ng on Decembe 17th. I am a d sabled
                                                                                                                                                                                                                                                                                      m l ta y vete an on a f xed ncome and med cal ssues that a e go ng to
                                                                                                                                                                                                                                                                                      mean that tomo ow was al eady go ng to be a ve y d f cu t day fo me
                                                                                                                                                                                                                                                                                      anyway w th all the t avel desp te the t avel h ccups. I ust want to get
                                                                                                                                                                                                                                                                                      home as eas ly and w th as l ttle st ess as poss ble, but I don't have much
                                                                                                                                                                                                                                                                                      spa e funds to do t w th. Please let me know how to move fo wa d.
                                                                                                                                                                                                                                                                                      Thank you k ndly.
                                                                                                                                                                                                                                                                                      Hello, I want to know f I am able to attach a fl ght that I booked th ough
                                                                                                                                                                                                                                                                                      K w to my ap d ewa ds account. It would be my 25th Southwest Fl ght
2310723570575   12/19/2019 Rese vat ons   Web Fo m VKOQQK            Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR       Comment/Quest on   Inqu ng how to add RR numbe to PNR                                 of the yea so t would get me to A L st status aga n next yea . Is th s
                                                                                                                                                                                                                                                                                      poss ble?
                                                                                                                                                                                                                                                                                      Joey
                                                                                                                                                                                                                                                                                      Rese vat on s open but should have no-showed. K w w t ng n on beha f
2311230467717     1/4/2020 CR/RR          Web Fo m MV6V9A            Refunds                         Refund Request                Refund P ocedu es             Req. Documentat on fo Refund   Comment/Quest on   K w equest fo efund due to death
                                                                                                                                                                                                                                                                                      of custome . Adv sed by hotl ne to send need mo e nfo text.
                                                                                                                                                                                                                                                                                      Membe Info

                                                                                                                                                                                                                                                                                      PNR JKU4HV & SDYNUI

                                                                                                                                                                                                                                                                                      RR Account # 20996543724

                                                                                                                                                                                                                                                                                      No Rel SR/ No Rel Pty

                                                                                                                                                                                                                                                                                      Ema l add ess

                                                                                                                                                                                                                                                                                      CVS None

                                                                                                                                                                                                                                                                                      T e Status None
                                                                                                                                                                                                                   PAX upset w th expe ence w th SW wh le t avel ng between JetBlue
2311483334587    1/10/2020 CR/RR          Web Fo m   KU4HV, JKU4HV   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                    Reaccom D fe ent Day           Compla nt
                                                                                                                                                                                                                   and SW on 01/07/2019 PNR's JKU4HV & SDYNUI                         Resea ch Notes

                                                                                                                                                                                                                                                                                      Date of Fl ght 1/8/2020

                                                                                                                                                                                                                                                                                      Fl ght# 2127/1738

                                                                                                                                                                                                                                                                                      Show ese vat on was system cance led and PAX stated ese vat on was
                                                                                                                                                                                                                                                                                      booked w th a 3 d pa ty s te named K w .com

                                                                                                                                                                                                                                                                                      Show fl ght depa ted and a ved ahead of t me so was not delay by
                                                                                                                                                                                                                                                                                      IROPS pe CIRRUS fl ght t ack ng

                                                                                                                                                                                                                                                                                      Attempted to locate othe PNR s ment oned n Web Fo m but they a e Jet
                                                                                                                                                                                                                                                                                      Blue conf mat ons
                                                                                                                                                                                                                                                                                      Good N ght. I made a pu chase fo a fl ght th ough K w .com and had to
                                                                                                                                                                                                                                                                                      cancel, fo b gge easons ... I equested the cancellat on and they gave
                                                                                                                                                                                                                                                                                      me a locato code fo a efund equest MQFXCF. I al eady ente ed the
                                                                                                                                                                                                                                                                                      s te and made my eg st at on. I sea ched fo eve yth ng and could not
                                                                                                                                                                                                                                                                                      f nd the place to equest a efund.
2311913281570    1/20/2020 CR/RR          Web Fo m MQFXCF            Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Change Book ng                 Comment/Quest on   Membe s seek ng help on cxl a PNR booked.
                                                                                                                                                                                                                                                                                      Name
                                                                                                                                                                                                                                                                                      Passenge

                                                                                                                                                                                                                                                                                      Awa t ng etu n
                                                                                                                                                                                                                                                                                      Ma c a
                                                                                                                                                                                                                                                                                      H the e,
                                                                                                                                                                                                                                                                                      Th ee of the booked on passenge s w ll have gu ta s n add t on to hold
                                                                                                                                                                                                                                                                                      luggage - to also go n the hold. I can t, th ough k w .com, seem to add
                                                                                                                                                                                                                                                                                      these add t onal baggage equ ements fo the nst uments. How to I go
                                                                                                                                                                                                                                                                                      about book ng them on? Should I do th s at the a po t on the day of
                                                                                                                                                                                                                                                                                      depa tu e o can I book them n advance? And also, oughly what would
2312509544769     2/5/2020 Rese vat ons   Web Fo m J5YFQC            Baggage                         Ca yon                        Gu del nes                    S ze                           Comment/Quest on   Custome nqu ng about t avel ng w th luggage                        the p ce be?

                                                                                                                                                                                                                                                                                      The fl ghts a e al eady booked, so just look ng to so t th s aspect out.

                                                                                                                                                                                                                                                                                      Thanks fo you help!




                                                                                                                                                                                                                                                                                      My name                       I booked w th South West a l nes th ough
                                                                                                                                                                                                                                                                                      KIWI.COM, fo                        on a w ong month and Date as shown
                                                                                                                                                                                                                                                                                      below.

                                                                                                                                                                                                                                                                                      Fl ght nfo mat on Oakland - Oakland Inte nat onal OAK 2020 Ap 6
                                                                                                                                                                                                                                                                                      19 55 Local t me Denve - Denve Inte nat onal DEN 2020 Ap 6 23 15
                                                                                                                                                                                                                                                                                      Local t me Fl ght no WN2483 A l ne Southwest A l nes

                                                                                                                                                                                                                                                                                      I d scusses w th K w .com and they epl ed to me a

2313044893166    2/18/2020 Rese vat ons   Web Fo m                   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty                Comment/Quest on   ve fy tvl funds                                                    We a e glad to hea you t avel a lot w th K w com. Fo th s t ne a y, we
                                                                                                                                                                                                                                                                                      cannot efund you moneta y, howeve , Southwest A l nes can efund
                                                                                                                                                                                                                                                                                      you fully n t avel funds f canceled befo e depa tu e. Th s w ll a low you
                                                                                                                                                                                                                                                                                      to make a new ese vat on w th them d ectly n the amount of 118 98
                                                                                                                                                                                                                                                                                      USD. Please let us know f you w sh to p oceed w th the cancellat on.
                                                                                                                                                                                                                                                                                      K nd ega ds
                                                                                                                                                                                                                                                                                      K w com

                                                                                                                                                                                                                                                                                      I can get t avel c ed t on my name as my f end            m ght not have
                                                                                                                                                                                                                                                                                      a t avel plan ? f the t avel c ed t s on my f ends name only fo how long
                                                                                                                                                                                                                                                                                       t w ll be val d ?




                                                                                                                                                                                                                                                                                                                                                          Appx. 115
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                                                                                                                                                                                                                                                                                 I booked ound t p fl ghts f om kansas C ty to Ch cago on Ma ch 18th
                                                                                                                                                                                                                                                                                  etu n ng on Ma ch 23 d w th K w .com. How do I pull th s up on y
                                                                                                                                                                                                                                                                                 Southwest ap?
2313392085969   2/27/2020 Rese vat ons   Web Fo m                  Rap d Rewa ds                 Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR    Comment/Quest on   How to see PNR n mob le app
                                                                                                                                                                                                                                                                                 Thank you,



                                                                                                                                                                                                                                                                                 Hello,

                                                                                                                                                                                                                                                                                 So I pu chased a ound t cket f om BWI To Boston Logan (fl ghts LZQT2K &
                                                                                                                                                                                                                                                                                 M22ZO6) th ough K w t avels. But ecently due to Co ona V us
                                                                                                                                                                                                                                                                                 outb eak, my un ve s ty has ecommended to avo d t avels f necessa y.
                                                                                                                                                                                                                                                                                 S nce th s was ust a sp ng b eak t p, and w th the cu ent s tuat on I
2313916363269   3/11/2020 Rese vat ons   Web Fo m M22ZO6           Rese vat ons/T ckets/Fa es    E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Conf m change was made to pn .
                                                                                                                                                                                                                                                                                 dec ded not to p oceed w th the t p. But I couldn't manage to contact
                                                                                                                                                                                                                                                                                 the t avel agency so I t ed to change th s book ng to a futu e date
                                                                                                                                                                                                                                                                                 th ough you app n my phone. I am not qu te su e f t has wo ked. Can
                                                                                                                                                                                                                                                                                 you k ndly conf m f the dates has been escheduled to June? Can I have
                                                                                                                                                                                                                                                                                 an e-t cket fo the new t ne a y? Thank you,


                                                                                                                                                                                                                                                                                 To who t may conce n,
                                                                                                                                                                                                                                                                                 Th s                   my son s
                                                                                                                                                                                                                                                                                 Ou o g nal plan s I fly f om Ch na to LA on 3/27/2020, p ck up my son
                                                                                                                                                                                                                                                                                 who s n boa d ng school of LA. we w ll v s t seve al un ve s ty campus n
                                                                                                                                                                                                                                                                                 San F anc sco du ng sp ng fest val, so I booked one l ght on k w com
                                                                                                                                                                                                                                                                                 fo two of us.
                                                                                                                                                                                                                                                                                 Due to Cono av us outb eak n Ch na, I can't fly to States as today US
                                                                                                                                                                                                                                                                                 sta ted to ban fo e gn nat onal ente ng to US who has been to Ch na.
2313976729410   3/11/2020 CR/RR          Web Fo m KY5FIP           Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y            Compla nt          Co onav us 2020- PAX t avel ng to and f om Ch na.                    As t's natu e d saste , can I cancelled the fl ght and ece ve efund f om
                                                                                                                                                                                                                                                                                 you? k w .com s not app oachable now.
                                                                                                                                                                                                                                                                                 Look ng fo wa d to you eply.


                                                                                                                                                                                                                                                                                 WN1787 ONT -SFO Ma ch 27, 2020
                                                                                                                                                                                                                                                                                 Southwest a l ne
                                                                                                                                                                                                                                                                                 20 40-22 00 1h20m n Y1196/2 pe son
                                                                                                                                                                                                                                                                                 agency k w .comt cket numbe KY5FIP
                                                                                                                                                                                                                                                                                 Dea S ?Madam,

                                                                                                                                                                                                                                                                                 My name                        and I have booked a t cket f om Lubbock, TX
                                                                                                                                                                                                                                                                                 to New Yo k (03/13/2020 03/23/2020). The fl ght was not booked
                                                                                                                                                                                                                                                                                 th ough Southwest, because t w ll be a comb nat on of fl ghts and
                                                                                                                                                                                                                                                                                 a l nes. I contacted w th K w .com th ough whe e I booked the t cket and
                                                                                                                                                                                                                                                                                 they told me to contact each a l ne by myself f I want to cancel the
                                                                                                                                                                                                                                                                                 fl ghts and st ll get a efund o change the t cket. Othe w se, I w l not get
                                                                                                                                                                                                                                                                                 only USD$11 00 back. Even though I need to cancel the t ckets because of
                                                                                                                                                                                                                                                                                 the pandem c of co onav us and New Yo k s a state w th hund eds
                                                                                                                                                                                                                                                                                  nc dents, the K w ep esentat ves do not show that they eally ca e to
                                                                                                                                                                                                                                                                                 ass st and unde stand the seve ty of the s tuat on.

                                                                                                                                                                                                                                                                                 So, I have TWO fl ghts w th Southwest. One f om Lubbock, TX to
2314009943680   3/12/2020 Rese vat ons   Web Fo m                  Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y            Comment/Quest on   Co onav us-can she eschedule he fl ghts
                                                                                                                                                                                                                                                                                 Denve ,CO on 03/13 fl ght no WN1546 and anothe one f om Aust n TX,
                                                                                                                                                                                                                                                                                 to Lubbock, TX on 03/23 fl ght no WN2495. I would l ke cancel these two
                                                                                                                                                                                                                                                                                 fl ghts and e-book w th you guys the whole t p.

                                                                                                                                                                                                                                                                                 Could that be poss ble?

                                                                                                                                                                                                                                                                                 I do not want to loose a l my money, I am a student he e n Ame ca, and
                                                                                                                                                                                                                                                                                 the Un ve s ty u ges us not to leave ou c ty because the e s no nc dent
                                                                                                                                                                                                                                                                                 of co onav us he e yet and they want a l of us to be p otected.

                                                                                                                                                                                                                                                                                 Please, could you help me on that?

                                                                                                                                                                                                                                                                                 Thank you,

                                                                                                                                                                                                                                                                                 H t e e -- I have a t cket pu chased th ough k w .com (so I don't know my
                                                                                                                                                                                                                                                                                 fl ght o conf mat on numbe ). Both events I was t avel ng fo have now
                                                                                                                                                                                                                                                                                 been canceled due to the co onav us. Is t poss ble to get a efund fo
                                                                                                                                                                                                                                                                                 th s th ough Southwest?

                                                                                                                                                                                                            Co onav us 2020                                                      Thank you! No el pty/SR/contact.
2314022740834   3/12/2020 CR/RR          Web Fo m PFS4J4, PFS4J4   Refunds                       Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on   Pax s ask ng fo a efund of the fl ght that they pu chased th ough
                                                                                                                                                                                                            K w com due to the co onav us.                                       Located PNR PFS4J4 w th l ght deta ls pax p ov ded and added to SR.

                                                                                                                                                                                                                                                                                 Ve f ed n C us that PNR s st ll act ve. f es s canceled pax would have
                                                                                                                                                                                                                                                                                 $233 96 n RTFs to use by 01/23/2021. PNR was pu chased as a WGA fa e
                                                                                                                                                                                                                                                                                 and was booked th ough K w com based on ema l add ess used n
                                                                                                                                                                                                                                                                                  t ne a y.

                                                                                                                                                                                                                                                                                 To who t may conce n,
                                                                                                                                                                                                                                                                                 Th s                   my son s
                                                                                                                                                                                                                                                                                 Ou o g nal plan s I fly f om Ch na to LA on 3/27/2020, p ck up my son
                                                                                                                                                                                                                                                                                 who s n boa d ng school of LA. we w ll v s t seve al un ve s ty campus n
                                                                                                                                                                                                                                                                                 San F anc sco du ng sp ng fest val, so I booked one l ght on k w com
                                                                                                                                                                                                                                                                                 fo two of us.
                                                                                                                                                                                                                                                                                 Due to Cono av us outb eak n Ch na, I can't fly to States as today US
                                                                                                                                                                                                            co onav us 2020                                                      sta ted to ban fo e gn nat onal ente ng to US who has been to Ch na.
2314084106986   3/13/2020 CR/RR          Web Fo m KY5FIP           Refunds                       Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on    equest ng efund of t cket s nce he can't t avel f om Ch na to USA   As t's natu e d saste , can I cancelled the fl ght and ece ve efund f om
                                                                                                                                                                                                              ght now                                                            you?
                                                                                                                                                                                                                                                                                 Look ng fo wa d to you eply.


                                                                                                                                                                                                                                                                                 WN1787 ONT -SFO Ma ch 27, 2020
                                                                                                                                                                                                                                                                                 Southwest a l ne
                                                                                                                                                                                                                                                                                 20 40-22 00 1h20m n Y1196/2 pe son
                                                                                                                                                                                                                                                                                 agency k w .comt cket numbe KY5FIP
                                                                                                                                                                                                                                                                                 H,

                                                                                                                                                                                                                                                                                 I booked t avel th ough k w .com, a th d pa ty s te (wh ch was my f st
                                                                                                                                                                                                                                                                                 m stake, I eal ze). I have not f cat on that my t avel w ll be canceled and
                                                                                                                                                                                                                                                                                 I w ll be ece v ng a 10 Eu o efund, but I pa d do la s, not even Eu os, and
                                                                                                                                                                                                                                                                                 the cost was obv ously mo e than that. I have d sputed the cha ge w th
                                                                                                                                                                                                                                                                                 my c ed t ca d, and they a e equest ng documentat on. I spoke w th
                                                                                                                                                                                                                                                                                 someone n custome se v ce al eady who conf med the e a e no
                                                                                                                                                                                                                                                                                 changes to my fl ght t s not canceled. I was go ng to cancel the t avel
                                                                                                                                                                                                                                                                                 anyway, due to the co onav us and new ecommended est ct ons on
                                                                                                                                                                                                                                                                                 non-essent al t avel.

                                                                                                                                                                                                                                                                                 Would I be able to have n w t ng a esponse that shows my fl ght s not
                                                                                                                                                                                                            Pax pu chased a ese vat on th ough a th d pa ty company s            canceled? All I have s the e t cket w th them. Also, please do not cancel
2314128579132   3/13/2020 CR/RR          Web Fo m S3V5B9           Rese vat ons/T ckets/Fa es    E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on
                                                                                                                                                                                                             equest ng conf mat on that t cket hasn't been canceled.             my fl ght at th s t me, as the efund would go to th s company. I pa d w th
                                                                                                                                                                                                                                                                                 my deb t ca d, but when conf m ng w th you custome se v ce that my
                                                                                                                                                                                                                                                                                 fl ght was not canceled, we found out that th s company booked the
                                                                                                                                                                                                                                                                                 t cket w th the c ed t ca d and cha ged me double.

                                                                                                                                                                                                                                                                                 All I am ask ng s to have n w t ng that my fl ght s not canceled, and any
                                                                                                                                                                                                                                                                                 othe ev dence (maybe the last 4 d g ts of the ca d numbe to show t s
                                                                                                                                                                                                                                                                                 not m ne) that th s company s f audulent.

                                                                                                                                                                                                                                                                                 I also pu chased a t cket fo                         , on the same
                                                                                                                                                                                                                                                                                  ese vat on, ese vat on # S3V5B9

                                                                                                                                                                                                                                                                                 Thank you n advance fo any help you can p ov de.

                                                                                                                                                                                                                                                                                 To who t may conce n,
                                                                                                                                                                                                                                                                                 Th s                   my son s
                                                                                                                                                                                                                                                                                 Ou o g nal plan s I fly f om Ch na to LA on 3/27/2020, p ck up my son
                                                                                                                                                                                                                                                                                 who s n boa d ng school of LA. we w ll v s t seve al un ve s ty campus n
                                                                                                                                                                                                                                                                                 San F anc sco du ng sp ng fest val, so I booked one l ght on k w com
                                                                                                                                                                                                                                                                                 fo two of us.
                                                                                                                                                                                                                                                                                 Due to Cono av us outb eak n Ch na, I can't fly to States as today US
                                                                                                                                                                                                                                                                                 sta ted to ban fo e gn nat onal ente ng to US who has been to Ch na.
                                                                                                                                                                                                            pax equest ng efund of fl ght due to v us unable to t avel f om
2314301078463   3/16/2020 CR/RR          Web Fo m KY5FIP           Refunds                       Refund Request                T ckets/Fa es                 Non efundable               Compla nt                                                                               As t's natu e d saste , can I cancelled the fl ght and ece ve efund f om
                                                                                                                                                                                                            ch na
                                                                                                                                                                                                                                                                                 you?
                                                                                                                                                                                                                                                                                 Look ng fo wa d to you eply. I can subm t all ev dence.


                                                                                                                                                                                                                                                                                 WN1787 ONT -SFO Ma ch 27, 2020
                                                                                                                                                                                                                                                                                 Southwest a l ne
                                                                                                                                                                                                                                                                                 20 40-22 00 1h20m n Y1196/2 pe son
                                                                                                                                                                                                                                                                                 agency k w .comt cket numbe KY5FIP

                                                                                                                                                                                                                                                                                 H , because COVID19 we must change ou plans, we want cancel ou t p
                                                                                                                                                                                                                                                                                 because the next fly to Eu ope s canceled. We bought on k w com but
                                                                                                                                                                                                            Co onav us 2020                                                      they dont answe us, can you help and cancel the ly and keep t fo next
2314335445607   3/16/2020 CR/RR          Web Fo m L6S8CL           Refunds                       Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on
                                                                                                                                                                                                            Seek ng us to cancel ese vat on, booked on th d pa ty webs te        futu e plan. We a e fou people n th s fly
                                                                                                                                                                                                                                                                                                                                      . ekw
                                                                                                                                                                                                                                                                                 conf mat on s 89424489, thank you fo you help.

                                                                                                                                                                                                                                                                                 H , I ece ved l ght c ed t because the agency I booked my l ght th ough
                                                                                                                                                                                                                                                                                 (K w ) had n t ally efused to ssue me a efund. Southwest k ndly gave
                                                                                                                                                                                                                                                                                 me fl ght c ed t but I checked my bank statement today and t looks l ke
                                                                                                                                                                                                                                                                                 K w went ahead and gave me a full efund. I feel l ke t's w ong fo me to
                                                                                                                                                                                                                                                                                 keep the SW fl ght c ed t g ven to me s nce I got all of my money back so I
                                                                                                                                                                                                                                                                                 wanted to g ve t back.
2314337413316   3/16/2020 CR/RR          Web Fo m                  Rese vat ons/T ckets/Fa es    Rese vat ons                  Ass stance n book ng          Change Book ng              Comment/Quest on   PNR Cancel 3 d Pa ty Refund
                                                                                                                                                                                                                                                                                 Conf mat on nfo below


                                                                                                                                                                                                                                                                                 Conf mat on # VHG3KX

                                                                                                                                                                                                                                                                                 Conf mat on date 02/23/2020

                                                                                                                                                                                                                                                                                 I booked ound t p fl ghts f om St. Lou s, MO to L be a, Costa R ca, w th
                                                                                                                                                                                                                                                                                 t ansfe s n Houston, TX th ough the book ng s te K w .com. My t p was
                                                                                                                                                                                                                                                                                 set to depa t STL on Satau day, Ap l 11, and etu n on Ap l 17/18. We
                                                                                                                                                                                                                                                                                 also pa d add t onal to add ea ly b d check n so that me and my
                                                                                                                                                                                                                                                                                 t avell ng compan on could boa d ea ly and s t togethe .

                                                                                                                                                                                                                                                                                 Costa R ca has closed ts bo de s unt l Ap l 12. SWA webs te says t w ll
                                                                                                                                                                                                            wanna get away fa es ules and efunds ebook ng fl ghts, ea ly b d     have educed capac ty unt l June 5. Ou tou company says we can
2314392262961   3/17/2020 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es    Rese vat ons                  Ass stance n book ng          O g nal Setup               Comment/Quest on
                                                                                                                                                                                                            and s tt ng togethe                                                   ebook, but w thout know ng fl ght statuses, t s ha d to know when to
                                                                                                                                                                                                                                                                                  ebook fo . Any gu dance on fl ghts to Costa R ca ove the next few
                                                                                                                                                                                                                                                                                 months?

                                                                                                                                                                                                                                                                                 Also, s nce that fl ght w l be banned, w l I be able to ebook on a
                                                                                                                                                                                                                                                                                  escheduled fl ght to Costa R ca, o how do efunds wo k?

                                                                                                                                                                                                                                                                                 Thanks!




                                                                                                                                                                                                                                                                                                                                                   Appx. 116
    Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                          Page 117 of 571 PageID 289

                                                                                                                                                                                                                                                                                 Booked th ough K w n Janua y to fly G and Rap ds to Nashv lle on 3/13.
                                                                                                                                                                                                                                                                                 I p ov de pat ent ca e n a hosp tal and nc eased Cov d 19 cases n both
                                                                                                                                                                                                            Co onav us 2020                                                      M ch gan and Tennessee caused sk of 14 day qua ant ne fo pat ent
2314403403876   3/17/2020 Rese vat ons   Web Fo m 103056     Med a/Adv./Mktg. P omot ons     Med a                         Custome Events                   Pend ng Catego y             Comment/Quest on   Custome would l ke t avel fund c ed t fo fl ght booked th ough 3 d   safety, wh ch I cannot affo d. Cance led th ough K w befo e the fl ght but
                                                                                                                                                                                                            pa ty                                                                was not 48 hou s befo e the fl ght so they efused to ssue a efund. All I
                                                                                                                                                                                                                                                                                  ea ly want s a t avel c ed t so I can ebook th s t p when the Cov d-19
                                                                                                                                                                                                                                                                                 sca e ove .
                                                                                                                                                                                                                                                                                 Dea Southwest A l ne custome se v ce,

                                                                                                                                                                                                                                                                                 I booked my fl ghts w th you a l ne th ough K w com. I was supposed to
                                                                                                                                                                                                                                                                                 fly w th Southwest A l nes f om LAX to HOU (F , Ap 3 / Sat, Ap 4 - Fl ght
                                                                                                                                                                                                                                                                                 no WN563) and f om HOU to LIT (Mon, Ap 6 - Fl ght no WN2590). Then
                                                                                                                                                                                                                                                                                 f om LIT to PHX (F , Ap 10 - Fl ght no WN2590) and f om PHX to LAX (F ,
                                                                                                                                                                                                            Cov d19                                                              Ap 10 - Fl ght no WN904).
2314459048701   3/18/2020 Rese vat ons   Web Fo m            Med a/Adv /Mktg. P omot ons     Med a                         Custome Events                   Pend ng Catego y             Comment/Quest on
                                                                                                                                                                                                            Refund Request
                                                                                                                                                                                                                                                                                 Due to COVID-19 c s s my events got canceled. I was wonde ng f the e s
                                                                                                                                                                                                                                                                                 any way to get the efund due to cu ent global events o f the e a e
                                                                                                                                                                                                                                                                                 some othe opt ons l ke eschedul ng my fl ghts n the futu e?

                                                                                                                                                                                                                                                                                 K nd ega ds,

                                                                                                                                                                                                                                                                                 Hel o,

                                                                                                                                                                                                                                                                                 We cancel the ese vat on fo 4 pe son


                                                                                                                                                                                                                                                                                 Nume eze wacj (PNR) L E V R K P L F 6 7 L N
                                                                                                                                                                                                                                                                                 Szczegoy lotu San F anc sco - Po t lotn czy San F anc sco
                                                                                                                                                                                                                                                                                 SFO
                                                                                                                                                                                                                                                                                 2020 ma 20 21 55
                                                                                                                                                                                                                                                                                 Las Vegas - Po t lotn czy Las Vegas-
                                                                                                                                                                                                                                                                                 McCa an LAS
                                                                                                                                                                                                                                                                                 2020 ma 20 23 25 N lotu WN1335 Southwest
                                                                                                                                                                                                                                                                                 A l nes
                                                                                                                                                                                                            Pax upset unable to t avel due to Co onav us 2020, equest ng a
2314484691357   3/19/2020 CR/RR          Web Fo m LEVRKP     Med a/Adv /Mktg. P omot ons     Med a                         Ope at onal Events               Pend ng Catego y             Compla nt
                                                                                                                                                                                                             efund.                                                              fo a fl ght f om Las Vegas to San F ans co due to the nab l ty to fly to the
                                                                                                                                                                                                                                                                                 USA. On Ma ch 17 - Ma ch 22 we we e supposed to be n Las Vegas

                                                                                                                                                                                                                                                                                 fl ghts f om Eu ope
                                                                                                                                                                                                                                                                                 KL
                                                                                                                                                                                                                                                                                 1916 17 MAR GDN AMS 06 30 08 30
                                                                                                                                                                                                                                                                                 KL
                                                                                                                                                                                                                                                                                 635 17 MAR AMS LAS 12 35 15 10
                                                                                                                                                                                                                                                                                 KL
                                                                                                                                                                                                                                                                                 636 22 MAR FOREST AMS 16 59 10 50 1
                                                                                                                                                                                                                                                                                 KL
                                                                                                                                                                                                                                                                                 1921 23 MAR AMS GDN 15 55 17 35
                                                                                                                                                                                                                                                                                 L ne
                                                                                                                                                                                                                                                                                 KLM
                                                                                                                                                                                                                                                                                 Hello,

                                                                                                                                                                                                                                                                                 Hope you a e we l du ng th s COVID 19 c s s. I am su e you a e deal ng
                                                                                                                                                                                                                                                                                 w th a g eat deal of costume s du ng th s t me and thank you fo you
                                                                                                                                                                                                                                                                                 pat ence. I have ecently had to cancel 2 months wo th of Eu opean
                                                                                                                                                                                                                                                                                 t avel - wh ch was ve y expens ve, and now I must equest a full efund
                                                                                                                                                                                                                                                                                 f om Southwest as we l. Th s was my etu n t p howeve t s affected by
                                                                                                                                                                                                            Pax seek ng efund of t cket as the Eu ope t avel was canceled by
2314504562772   3/19/2020 CR/RR          Web Fo m TCCQQI     Refunds                         Refund Request                T ckets/Fa es                    Non efundable                Compla nt                                                                               COVID-19 as I was suppose to be ly ng f om Rome, Italy to Albuque que,
                                                                                                                                                                                                            the a l ne.
                                                                                                                                                                                                                                                                                 NM USA. My fl ght f om Rome to LAX was canceled as we l as most of my
                                                                                                                                                                                                                                                                                 15 fl ghts a ound the EU. As t w l be phys cally mposs ble fo me to be n
                                                                                                                                                                                                                                                                                 LAX fo a t p back home, and I wont be on any fl ghts that lead up to
                                                                                                                                                                                                                                                                                 you fl ght f om LAX to ABQ I would l ke to please be g ven a full efund.
                                                                                                                                                                                                                                                                                 All of you ha d wo k and ass stance s g eatly app ec ated! Please let me
                                                                                                                                                                                                                                                                                 know as soon as poss ble as my k w book ng s g v ng me a 30 hou t me
                                                                                                                                                                                                                                                                                 l m t. Thank you!
                                                                                                                                                                                                                                                                             Booked th s fl ght th ough k w .com, once the co ona eme gency p cked
                                                                                                                                                                                                                                                                             up, I t ed to cancel but could not get th ough k w s phone se v ce, o
                                                                                                                                                                                                                                                                             you s. t s now the day of my fl ght and I st l have no eached a se v ce
                                                                                                                                                                                                                                                                             agent w th e the company. The fl ght has been canceled and I am
                                                                                                                                                                                                            Co onav us 2020 Pax equest ng efund of t cket due to co onav us.
2314534953202   3/20/2020 CR/RR          Web Fo m UUBL4S     Refunds                         Refund Request                T ckets/Fa es                    Non efundable                Comment/Quest on                                                                    look ng to efund my t cket due to state of eme gency called befo e my
                                                                                                                                                                                                            States that he was unable to cancel befo e the fl ght.
                                                                                                                                                                                                                                                                             event day, as th s s out of my cont ol. Please ema l back o call
                                                                                                                                                                                                                                                                                         w th any update o deta ls on the status of efunds, I
                                                                                                                                                                                                                                                                             unde stand the ove whelm ng calls and ema ls, but app c ate you
                                                                                                                                                                                                                                                                              esponse. Thank you.
                                                                                                                                                                                                                                                                                 Hello,

                                                                                                                                                                                                                                                                                 I booked conf mat on numbe JAQ4YH th ough K w .com. I ended up
                                                                                                                                                                                                                                                                                 need ng to cancel th s fl ght due to conce ns gett ng home w th the
                                                                                                                                                                                                                                                                                 COVID-19 ssues and poss ble t avel est ct ons. I ended up book ng an
                                                                                                                                                                                                                                                                                 ea l e fl ght nto a close a po t. I used the Southwest app to cancel the
                                                                                                                                                                                                                                                                                 book ng and chose to hold the amount of $395.96 fo futu e use. It was
                                                                                                                                                                                                            Co onav us 2020                                                      only once the book ng was cance led that I saw the ece pt was be ng
2314552558196   3/20/2020 Rese vat ons   Web Fo m JAQ4YH     Med a/Adv./Mktg. P omot ons     Med a                         Custome Events                   Pend ng Catego y             Comment/Quest on
                                                                                                                                                                                                            Custome needs ece pt                                                 sent to K w . Could th s ece pt poss bly be sent to me at
                                                                                                                                                                                                                                                                                                                 so that I have t fo efe ence fo when I
                                                                                                                                                                                                                                                                                 use t s c ed t?

                                                                                                                                                                                                                                                                                 Thank you fo you t me.

                                                                                                                                                                                                                                                                                 Rega ds,


                                                                                                                                                                                                                                                                                 COVID-19 w l be keep ng you busy, so - to be b ef

                                                                                                                                                                                                                                                                              I booked v a. 3 d pa ty, k w .com - I w sh to change my fl ght due to
                                                                                                                                                                                                                                                                              COVID-19, o a efund.
                                                                                                                                                                                                            Co ona V us 2020
                                                                                                                                                                                                            Pax booked th ough a 3 d pa ty, K w .com and now w shes to change
2314652106846   3/24/2020 CR/RR          Web Fo m NL7AOY     Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             O g nal Setup                Comment/Quest on                                                                     they have g ven the opt on to ask fo that d ectly, so he e I am, how do
                                                                                                                                                                                                            the fl ght due to COVID-19 o equest a efund. Request ng nfo fo
                                                                                                                                                                                                                                                                              obta n a efund, o change n l ght?
                                                                                                                                                                                                            how to make changes to he fl ght o get a efund.
                                                                                                                                                                                                                                                                                 Thank you fo you suppo t,


                                                                                                                                                                                                                                                                                 I o g nally booked th ough K w , that was ecommended by a f end. I
                                                                                                                                                                                                                                                                                 have not been able to get a esponse f om the company about a c ed t
                                                                                                                                                                                                                                                                                 fo th s t p. Hawa s on a 14 day solat on f you fly, wh ch makes the
2314662938163   3/24/2020 CR/RR          Web Fo m QATDIV     Refunds                         Refund Request                T ckets/Fa es                    Non efundable                Comment/Quest on   hasn't hea d f om k w company about efund/c ed t
                                                                                                                                                                                                                                                                                 vacat on useless. I would l ke to know f you a e able to help w th a c ed t
                                                                                                                                                                                                                                                                                 o do I have to wa t fo the k w company (ve y d sappo nted). Thank you
                                                                                                                                                                                                                                                                                 fo you t me
                                                                                                                                                                                                                                                                                 Dea S o Madame,
                                                                                                                                                                                                                                                                                 I bought 5 t ckets fo m New Yo k LGA) to New O leans (MSY) on 12th of
                                                                                                                                                                                                                                                                                 Ap l v a K w .com. Fl ght numbe s WN3079. S nce we a e f om C oat a
                                                                                                                                                                                                            Co onav us 2020.                                                     (Eu ope), ou fl ght to USA has been canceled due to p es dent T ump
2314757059963   3/27/2020 CR/RR          Web Fo m            Med a/Adv./Mktg. P omot ons     Med a                         Custome Events                   Pend ng Catego y             Comment/Quest on                                                                         est ct ons fo passenge s f om Eu opean Un on. Can we please get a full
                                                                                                                                                                                                            Refund equest.                                                        efund f om you o K w com s nce we don't know when th s s tuat on w l
                                                                                                                                                                                                                                                                                 settle down and cu ently we a e not plann ng any t ps anywhe e. We
                                                                                                                                                                                                                                                                                 bought the t ckets last yea when we d dn't know anyth ng about
                                                                                                                                                                                                                                                                                 co onav us. Thank you ve y much and best ega ds

                                                                                                                                                                                                                                                                                 H I have two one way t ckets booked th ough k w .com on Ap l 8 f om
                                                                                                                                                                                                                                                                                 l be a Costa R ca wn817 th ough Houston to Kansas C ty Wn1542 .. the
                                                                                                                                                                                                                                                                                 fl ghts have been canceled I bel eve due to t avel est ct ons and I would
2314816913430   3/29/2020 Rese vat ons   Web Fo m            Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      How to Redeem                Comment/Quest on   how to eschedule t avel
                                                                                                                                                                                                                                                                                 l ke to eschedule the same l ghts fo us n m d May (befo e May 17th) f
                                                                                                                                                                                                                                                                                 poss ble fo the same p ce... can I do th s th ough Southwest o do I need
                                                                                                                                                                                                                                                                                 to go th ough K w custome se v ce? Thank
                                                                                                                                                                                                                                                                                 Dea Southwest suppo t, we would l ke to apply fo a efund due to a
                                                                                                                                                                                                                                                                                 cance lat on/schedule change on the fl ght n ese vat on LQ782U. The
2314824904386   3/29/2020 CR/RR          Web Fo m LQ782U     Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ope at onal                      Unable to Reaccom            Compla nt          Request ng efund due to swa sched change
                                                                                                                                                                                                                                                                                 passenge could not use the fl ght.
                                                                                                                                                                                                                                                                                 Thank you fo you help, K w .com team.
                                                                                                                                                                                                                                                                                 H,

                                                                                                                                                                                                                                                                                 I have got sms not f cat on the the cu ent fl ght s cance led and on my
2314872287648   3/31/2020 CR/RR          Web Fo m 941888     Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me           Comment/Quest on   schedule eaccom - pax seek ng fu l efund                             book ng n k w s te t s ma ked as cancelled as well
                                                                                                                                                                                                                                                                                 please full efund us n amount pa d 730$

                                                                                                                                                                                                                                                                                 thanks
                                                                                                                                                                                                                                                                                 My fl ght f om LGW (England) to DEN on 2nd Ap l 2020 has been
                                                                                                                                                                                                                                                                                 cance led and unfo tunately t w ll not be poss ble to catch the SW
                                                                                                                                                                                                                                                                                 A l nes fl ght f om DEN to SLC on the same day. My book ng was th ough
2314898344661    4/1/2020 Rese vat ons   Web Fo m MPK017     southwest com                   P oduct/Funct onal ty         Change/Cancel It ne a y          Web S te Nav gat on          Comment/Quest on   Wants PNR canceled and funds efunded.                                K w com and could I please poss bly equest a efund?
                                                                                                                                                                                                                                                                                 Thank you.
                                                                                                                                                                                                                                                                                 K nd ega ds,


                                                                                                                                                                                                                                                                                 Ref 2314898344661




                                                                                                                                                                                                                                                                                 Dea Yolanda,
                                                                                                                                                                                                                                                                                 Many thanks fo you ema l on 1.4.2020 @ 14 31.
2314902672056    4/1/2020 Rese vat ons   Web Fo m MPK017     Othe                            SR Inqu es                    CS&S W teback                    Pax Followup/Documentat on   Comment/Quest on   W teback equest ng efund go th ough th d pa ty                       Could I please equest that the efund be made v a K w .com, s nce my
                                                                                                                                                                                                                                                                                 book ng was made v a K w .com and could you please conf m the
                                                                                                                                                                                                                                                                                 amount that w ll be efunded? Could you poss bly pe haps g ve a ough
                                                                                                                                                                                                                                                                                 t me f ame when K w m ght expect the efund please, so that I can
                                                                                                                                                                                                                                                                                  nfo m them.
                                                                                                                                                                                                                                                                                 I app ec ate you ass stance, s nce I know you' l be busy.
                                                                                                                                                                                                                                                                                 K nd ega ds,


                                                                                                                                                                                                                                                                                 Pax stat ng that she doesn't know what CC # that s on f le

                                                                                                                                                                                                                                                                                 Pax states she pu chased a t cket th ough KIWI A RLINE

                                                                                                                                                                                                                                                                                 I apolog zed and adv sed we can efund t but t w ll be efunded to the
                                                                                                                                                                                                                                                                                 CC on f le that we have

                                                                                                                                                                                                                                                                                 I adv sed that KIWI AIRLINE used a th d pa ty CC and that t w ll be
                                                                                                                                                                                                                                                                                  efunded to that CC and she w ll have to epo t to them ega d ng a
                                                                                                                                                                                                                                                                                  efund due to whateve te ms and cond t ons they have
                                                                                                                                                                                                            DO NOT DO NTE WITH AIRLINE KIWI/ Pax cant ece ve efund due to
2314987024348    4/6/2020 CR/RR          Phone      QAE8SU   Refunds                         Refund Request                T ckets/Fa es                    Non efundable                Compla nt                                                                               Pax state she has t ed to contact them but they a e not p ck ng up the
                                                                                                                                                                                                            AIRLINE KIWI us ng th d pa ty CC nstead of Pax fo m of payment.
                                                                                                                                                                                                                                                                                 phone and have seen on soc al med a that people a e go ng th ough the
                                                                                                                                                                                                                                                                                 same th ng and that they a e not efund ng the money

                                                                                                                                                                                                                                                                                 Pax state she ust wants to have the t avel c ed t, I adv sed the t avel
                                                                                                                                                                                                                                                                                 c ed t s good unt l June 30th 2021 and to g ve ou technology team some
                                                                                                                                                                                                                                                                                 t me to update t.

                                                                                                                                                                                                                                                                                 Pax unde stood and sat sf ed w th the t avel c ed t.

                                                                                                                                                                                                                                                                                 Thank you
                                                                                                                                                                                                                                                                                 EBO.




                                                                                                                                                                                                                                                                                                                                                    Appx. 117
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                                                                                                                                                                                                                                                                         Hello,

                                                                                                                                                                                                                                                                         F stable, I hope you and you fam ly a e all safe.

                                                                                                                                                                                                                                                                         I bought 4 t cket planes (my w fe & I) th ough k w .com fo two nte nal
                                                                                                                                                                                                                                                                         fl ghts n Hawa State w th you Company fo my cance led ou ney n
                                                                                                                                                                                                                                                                         Hawa

                                                                                                                                                                                                                                                                         Fl ght May 7th nWN1158 (HNL 12h35 ITO 13h40, escheduled s nce) R
                                                                                                                                                                                                                                                                         O8BQH6 (PNR)

                                                                                                                                                                                                                                                                         Fl ght May 16th nWN1155, (LIH 17H15 HNL 17h55, escheduled s nce) R
                                                                                                                                                                                                                                                                         T5AB6D
                                                                                                                                                                                                    Co onav us 2020
2314993151324    4/6/2020 CR/RR          Web Fo m O8BQH6, T5AB6D   Med a/Adv /Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y    Comment/Quest on    equest ng efund fo nte nat onal t avel s nce unable to t avel due
                                                                                                                                                                                                                                                                         I can't come to USA because of Cov d-19 c s s. The e's a qua ant ne n
                                                                                                                                                                                                    to qua ant ne
                                                                                                                                                                                                                                                                         Hawa .

                                                                                                                                                                                                                                                                         Can someone help me cancell ng and be ng efunded please ?

                                                                                                                                                                                                                                                                         You can ema l me to                      o ca l m

                                                                                                                                                                                                                                                                         Stay safe

                                                                                                                                                                                                                                                                         Best Rega ds

                                                                                                                                                                                                                                                                                                         Hello,

                                                                                                                                                                                                                                                                         F stable I hope you and you fam ly a e all safe

                                                                                                                                                                                                                                                                         The f le efe ence numbe fo you ema l s 2315027740926.

                                                                                                                                                                                                                                                                         Hey
                                                                                                                                                                                                                                                                         f st of all, you answe s not the most Custome -f endly pol c es n the
                                                                                                                                                                                                                                                                          ndust y, I've been g ven a bette se v ce than othe compan es.
                                                                                                                                                                                                                                                                         secondly you pol cy on the Wanna Get Away t ckets s elevant at th s
                                                                                                                                                                                                                                                                         moment, because the fl ght has been cancelled f om you s de, we have
                                                                                                                                                                                                                                                                         not cancelled the fl ght !!!
                                                                                                                                                                                                    WB Rel. SR #2315027740926                                            You can't cha ge me fo se v ce that you d dn t p ov de fo us and
2315061361017    4/9/2020 CR/RR          Web Fo m TYTZDV           Othe                          CR W teback                   D sag ees/Rema ns Upset       Upset w th Pol cy   Compla nt                                                                               ce ta nly not hold ou money as a hostage.
                                                                                                                                                                                                    PAX says he s ent tled to a efund because we canceled h s fl ght.    Ou t avel ng agency k w w ote to us that we a e dese ve full efund due
                                                                                                                                                                                                                                                                         to th s s tuat on and not efund fo the futu e, I was su e that you se v ce
                                                                                                                                                                                                                                                                         was so good and I chose to contact you myself n et ospect I had to let
                                                                                                                                                                                                                                                                         k w take ca e of us as they offe ed us.
                                                                                                                                                                                                                                                                         We unde stand that the s tuat on s complex and not a efund s
                                                                                                                                                                                                                                                                          mmed ate, but we equ e what we dese ve by law n a easonable t me.

                                                                                                                                                                                                                                                                         Thanks n advance,



                                                                                                                                                                                                                                                                  Hello!
                                                                                                                                                                                                                                                                  My name                    bought a fl ght w th w th you a l nes th ough
                                                                                                                                                                                                                                                                  the webs te K w .com, due to Cov d-19 cu ent s tuat on n the US and on
                                                                                                                                                                                                    Co onav us 2020PAX booked th ough webs te wants to know efund the whole globe my l ght get cance led. I expect to ece ve a efund( n
2315085129442   4/10/2020 CR/RR          Web Fo m KCCTGG           Refunds                       Refund Request                Uncont ollable Events         Natu e Events       Comment/Quest on
                                                                                                                                                                                                    opt ons o efund to webs te                                    money, because I am not plann ng any t ps any soon ) fo th s fl ght due
                                                                                                                                                                                                                                                                  to cancelat on. My quest on s If you would g ve a efund - n money , to
                                                                                                                                                                                                                                                                  the webs te o s t poss ble to send t d ectly on my account w thout any
                                                                                                                                                                                                                                                                  p oblems?
                                                                                                                                                                                                                                                                         H ! I made a book ng fo fl ght f om W tch ta to New Yo k connect ng
                                                                                                                                                                                                                                                                         th ough St.Lu s on K w com webs te fo me and my f ends on a school
                                                                                                                                                                                                                                                                         t p. Two days ago KIWI sent me a message that the l ght f om STL to LGA
                                                                                                                                                                                                                                                                          s canceled due to co ona v us outb eake. S nce the fl ght s cance led,
                                                                                                                                                                                                    Co onav us 2020                                                      and we a e unable to take th s t p w th you, we would l ke to get a full
2315177658578   4/15/2020 CR/RR          Web Fo m WJVRTQ           Refunds                       Refund Request                T ckets/Fa es                 Non efundable       Compla nt
                                                                                                                                                                                                    seek ng a efund due to cance led f t                                  efund. S nce th s a e ext ao d na y c cumstances we hope the e w l be
                                                                                                                                                                                                                                                                         no p oblem w th the efund.
                                                                                                                                                                                                                                                                         Fl ght N . WN2177 and WN562. WN562 s cancelled.
                                                                                                                                                                                                                                                                         Thank you fo you t me and attent on!


                                                                                                                                                                                                                                                                         I booked th ough k w com and they sent me a not ce that my fl ght has
2315181374106   4/15/2020 Rese vat ons   Web Fo m WE38YW           Refunds                       Refund Request                T ckets/Fa es                 Non efundable       Comment/Quest on   Custome equest efund WE38YW                                          been cancelled. I would l ke a efund. The book ng numbe fo k w .com
                                                                                                                                                                                                                                                                         was 106200116
                                                                                                                                                                                                                                                                         Dea Pa tne Southwest A l nes

                                                                                                                                                                                                                                                                         G eet ng f om K w com

                                                                                                                                                                                                                                                                         May we equest you ass stance to k ndly efund the payment fo the
                                                                                                                                                                                                                                                                         cance led l ght w th

                                                                                                                                                                                                                                                                         PNR NWUHDG
                                                                                                                                                                                                                                                                         depa tu e 24 Ma 2020
2315223946752   4/17/2020 CR/RR          Web Fo m NWUHDG           Refunds                       Refund Request                T ckets/Fa es                 Non efundable       Comment/Quest on   Co onav us 2020 Refund Request sent by 3 d pa ty.                    passenge name

                                                                                                                                                                                                                                                                         thanks, you and you u gent esponses w l be much app ec ated

                                                                                                                                                                                                                                                                         k nd ega ds,


                                                                                                                                                                                                                                                                         Ha s P
                                                                                                                                                                                                                                                                         T avel consu tant
                                                                                                                                                                                                                                                                         K w com
                                                                                                                                                                                                                                                                         Fl ght WN 1566 and baggage we e booked th ough K w .com book ng
                                                                                                                                                                                                                                                                         numbe 104870524 ese vat on no. QOAMGC fo 2 passenge
                                                                                                                                                                                                                                                                                                . Th s fl ght has been cancelled by Southwest
                                                                                                                                                                                                    Co onav us 2020
2315224333097   4/17/2020 Rese vat ons   Web Fo m                  Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y    Comment/Quest on                                                                        a l nes and due to co onav us we cannot leave Aust al a. Can we please
                                                                                                                                                                                                    Refund equest
                                                                                                                                                                                                                                                                         have a cash efund as I cannot fo esee t avell ng to th s dest nat on n the
                                                                                                                                                                                                                                                                         nea futu e. The amount n Aus dolla s s $675 57. Invo ce no.2020-
                                                                                                                                                                                                                                                                         10042735
                                                                                                                                                                                                                                                                         G eet ng f om K w com

                                                                                                                                                                                                                                                                         May we equest you ass stance to k ndly efund the payment fo the
                                                                                                                                                                                                                                                                         cance led l ght w th


                                                                                                                                                                                                                                                                         PNR B7TC3V
                                                                                                                                                                                                                                                                         depa tu e 24 Ma 2020
                                                                                                                                                                                                                                                                         passenge name


2315228291100   4/17/2020 CR/RR          Web Fo m RR9HV5           Refunds                       Refund Request                T ckets/Fa es                 Non efundable       Compla nt          TA seek ng efund
                                                                                                                                                                                                                                                                         please p oceed w th a fu l efund back to the c ed t ca d (#2995) due to
                                                                                                                                                                                                                                                                         the fl ght d s upt on.

                                                                                                                                                                                                                                                                         thanks, you and you u gent esponses w l be much app ec ated

                                                                                                                                                                                                                                                                         k nd ega ds,


                                                                                                                                                                                                                                                                         Ha s P
                                                                                                                                                                                                                                                                         T avel consu tant
                                                                                                                                                                                                                                                                         K w com

                                                                                                                                                                                                                                                                         Good Mo n ng.

                                                                                                                                                                                                                                                                         A fl ght I had th ough KIWI was canceled by COVID 19. The pa t of that
                                                                                                                                                                                                                                                                         fl ght I had w th Southwest th ough KIWI was not e mbu sed n cash but
                                                                                                                                                                                                                                                                          n exchange w th you. My quest on s f that s appl cable th ough KIWI fo
                                                                                                                                                                                                                                                                         my new l ght o do I need to pu chase the fl ght w th Southwest d ectly.
                                                                                                                                                                                                                                                                         Th s s what they sent me f om KIWI

2315234637489   4/17/2020 Rese vat ons   Web Fo m                  Rese vat ons/T ckets/Fa es    E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   How to Redeem       Comment/Quest on   how to use funds                                                      He e's the nfo mat on you need to use you c ed t/vouche

                                                                                                                                                                                                                                                                         Please be nfo med that you a e ent tled to a t avel fund of 58 98 USD,
                                                                                                                                                                                                                                                                         wh ch you can use n futu e book ng. Please make note you t avel funds
                                                                                                                                                                                                                                                                         w l be assoc ated w th you conf mat on MM4JTL, you w ll need to keep
                                                                                                                                                                                                                                                                         t ack of t to access of these funds n the futu e. Please keep on m nd you
                                                                                                                                                                                                                                                                         t avel funds w ll exp e on 23 Feb 2021.

                                                                                                                                                                                                                                                                         A g eet ng.


                                                                                                                                                                                                                                                                          Hello,
                                                                                                                                                                                                                                                                          My name                     . I am booked on Fl ght WN1520 th ough the
                                                                                                                                                                                                                                                                          company K w .com. s fl ght was a connect on f om London to get me
                                                                                                                                                                                                                                                                          back home to BWI but the London fl ght com ng nto BOS has been
                                                                                                                                                                                                                                                                          canceled and I no longe need the fl ght w th Southwest f om Boston to
                                                                                                                                                                                                    Ask ng f they w l get t avel funds f they cancel the SWA fl ght s nce
2315243286119   4/18/2020 Rese vat ons   Web Fo m QWLI8P           Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y    Comment/Quest on                                                                         BWI. W ll I be able to ece ve a t avel vouche / efund f the company,
                                                                                                                                                                                                    the Inte nat onal fl ght was cance led
                                                                                                                                                                                                                                                                          K w , contacts you all w th my book ng nfo mat on?

                                                                                                                                                                                                                                                                         Thank you,




                                                                                                                                                                                                                                                                         Passenge

                                                                                                                                                                                                                                                                         The above fl ght was cancelled due to the Cov d-19 s tuat on. I o g nally
                                                                                                                                                                                                                                                                         booked these fl ghts th ough K w .com, but due to the volume of que es
                                                                                                                                                                                                                                                                         they a e deal ng w th they p ov ded me w th the nfo mat on to deal w th
                                                                                                                                                                                                                                                                         you selves d ectly. When th s fl ght was cancelled I was not offe ed a
                                                                                                                                                                                                                                                                         cash efund but have nstead been offe ed t avel funds aga nst futu e
                                                                                                                                                                                                                                                                         fl ghts w th Southwest A l nes.

                                                                                                                                                                                                                                                                         I know t must be a st essful t me fo the a l nes ght now. Howeve , I
                                                                                                                                                                                                                                                                         not ce on the US Depa tment of T anspo tat on webs te that passenge s
2315251742765   4/18/2020 CR/RR          Web Fo m QC75SR           Refunds                       Refund Request                T ckets/Fa es                 Non efundable       Compla nt          Passenge s equest ng a efund fo fl ght that was cancelled onl ne.    a e ent tled to a efund f the a l ne cancels a fl ght, ega dless of the
                                                                                                                                                                                                                                                                          eason, and the passenge chooses not to be ebooked on a new fl ght on
                                                                                                                                                                                                                                                                         that a l ne. I bel eve that th s appl es n my c cumstances.

                                                                                                                                                                                                                                                                         As myself and my pa tne a e UK c t zens and t s ve y unclea when
                                                                                                                                                                                                                                                                         t avel est ct ons w l be l fted and we w ll be able to t avel to Hawa , I
                                                                                                                                                                                                                                                                         would l ke to equest a cash efunds fo the above book ng nstead of
                                                                                                                                                                                                                                                                         t avel funds.

                                                                                                                                                                                                                                                                         I have 2 othe conf mat on numbe s fo add t onal fl ghts s m la ly
                                                                                                                                                                                                                                                                         affected QBIETT and QD2SPG so have also subm tted add t onal que es
                                                                                                                                                                                                                                                                          ega d ng these.




                                                                                                                                                                                                                                                                                                                                           Appx. 118
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                                                                                                                                                                                                                                                                                  Passenge

                                                                                                                                                                                                                                                                                  The above fl ght was cancelled due to the Cov d-19 s tuat on. I o g nally
                                                                                                                                                                                                                                                                                  booked these fl ghts th ough K w .com, but due to the volume of que es
                                                                                                                                                                                                                                                                                  they a e deal ng w th they p ov ded me w th the nfo mat on to deal w th
                                                                                                                                                                                                                                                                                  you selves d ectly. When th s fl ght was cancelled I was not offe ed a
                                                                                                                                                                                                                                                                                  cash efund but have nstead been offe ed t avel funds aga nst futu e
                                                                                                                                                                                                                                                                                  fl ghts w th Southwest A l nes.

                                                                                                                                                                                                                                                                                  I know t must be a st essful t me fo the a l nes ght now. Howeve , I
                                                                                                                                                                                                                                                                                  not ce on the US Depa tment of T anspo tat on webs te that passenge s
                                                                                                                                                                                                                                                                                  a e ent tled to a efund f the a l ne cancels a fl ght, ega dless of the
                                                                                                                                                                                                                                                                                   eason, and the passenge chooses not to be ebooked on a new fl ght on
                                                                                                                                                                                                                                                                                  that a l ne. I bel eve that th s appl es n my c cumstances.
2315251837196      4/18/2020 CR/RR   Web Fo m QBIETT, QD2SPG           Fl ght Delay/Cancel/D ve s on   Cancellat on                  A T aff c Cont ol                Unable to Reaccom    Compla nt          Pax wants efund fo xld t avel due to co onav us 2020
                                                                                                                                                                                                                                                                                  As myself and my pa tne a e UK c t zens and t s ve y unclea when
                                                                                                                                                                                                                                                                                  t avel est ct ons w ll be l fted and we w ll be able to t avel to Hawa , I
                                                                                                                                                                                                                                                                                  would l ke to equest a cash efunds fo the above book ng nstead of
                                                                                                                                                                                                                                                                                  t avel funds.

                                                                                                                                                                                                                                                                                  I have 2 othe conf mat on numbe s fo add t onal fl ghts s m la ly
                                                                                                                                                                                                                                                                                  affected QBIETT and QD2SPG so have also subm tted add t onal que es
                                                                                                                                                                                                                                                                                   ega d ng these. Passenge s

                                                                                                                                                                                                                                                                                  The above fl ght was cancelled due to the Cov d-19 s tuat on. I o g nally
                                                                                                                                                                                                                                                                                  booked these fl ghts th ough K w .com, but due to the volume of que es
                                                                                                                                                                                                                                                                                  they a e deal ng w th they p ov ded me w th the nfo mat on to deal w th
                                                                                                                                                                                                                                                                                  you selves
                                                                                                                                                                                                                                                                                  Passenge                                       ed I was not offe ed a

                                                                                                                                                                                                                                                                                  The above fl ght was cancelled due to the Cov d-19 s tuat on. I o g nally
                                                                                                                                                                                                                                                                                  booked th s fl ght th ough K w .com, but due to the volume of que es
                                                                                                                                                                                                                                                                                  they a e deal ng w th they p ov ded me w th the nfo mat on to deal w th
                                                                                                                                                                                                                                                                                  you selves d ectly. When th s fl ght was cancelled I was not offe ed a
                                                                                                                                                                                                                                                                                  cash efund but have nstead been offe ed t avel funds aga nst futu e
                                                                                                                                                                                                                                                                                  fl ghts w th Southwest A l nes.

                                                                                                                                                                                                                                                                                  I know t must be a st essful t me fo the a l nes ght now. Howeve , I
                                                                                                                                                                                                                                                                                  not ce on the US Depa tment of T anspo tat on webs te that passenge s
                                                                                                                                                                                                                                                                                  a e ent tled to a efund f the a l ne cancels a fl ght, ega dless of the
                                                                                                                                                                                                              Co onav us 2020                                                      eason, and the passenge chooses not to be ebooked on a new fl ght on
                                                                                                                                                                                                                                                                                  that a l ne. I bel eve that th s appl es n my c cumstances.
2315251837841      4/18/2020 CR/RR   Web Fo m QBIETT, QC75SR, QD2SPG   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ope at onal                      Unable to Reaccom    Compla nt
                                                                                                                                                                                                              Pax seek ng efund fo SW xcld flt due to schedule change unable to
                                                                                                                                                                                                               eacomm pax                                                         As myself and my pa tne a e UK c t zens and t s ve y unclea when
                                                                                                                                                                                                                                                                                  t avel est ct ons w ll be l fted and we w ll be able to t avel to Hawa , I
                                                                                                                                                                                                                                                                                  would l ke to equest a cash efund fo the above book ng nstead of
                                                                                                                                                                                                                                                                                  t avel funds.

                                                                                                                                                                                                                                                                                  I have 2 othe conf mat on numbe s fo add t onal fl ghts s m la ly
                                                                                                                                                                                                                                                                                  affected QBIETT and QC75SR so have also subm tted add t onal que es
                                                                                                                                                                                                                                                                                   ega d ng these. Passenge s

                                                                                                                                                                                                                                                                                  The above fl ght was cancelled due to the Cov d-19 s tuat on. I o g nally
                                                                                                                                                                                                                                                                                  booked th s fl ght th ough K w .com, but due to the volume of que es
                                                                                                                                                                                                                                                                                  they a e deal ng w th they p ov ded me w th the nfo mat on to deal w th
                                                                                                                                                                                                                                                                                  you selves d ectly When th s fl ght was cancelled I was not offe ed a
                                                                                                                                                                                                                                                                                  Due to the Cov d s tuat on, my fl ght got cancelled and I w l l ke to
                                                                                                                                                                                                                                                                                   equest fo a efund of my t cket. I bought my t cket v a k w com and I
2315269536871      4/20/2020 CR/RR   Web Fo m K23DLU                   Refunds                         Refund Request                T ckets/Fa es                    Non efundable        Comment/Quest on   Pax s equest ng efund of ese vat on.                                have chosen to settle the efund d ectly w th the ca e . Howeve , I
                                                                                                                                                                                                                                                                                  could not et eve my fl ght ese vat on on southwest webs te. Could you
                                                                                                                                                                                                                                                                                  k ndly ass st me on th s matte ? Thank you.
                                                                                                                                                                                                                                                                                  H the e,

                                                                                                                                                                                                                                                                             So I had a fl ght booked ound t p to Nashv lle and I th nk I only got a
                                                                                                                                                                                                              Custome s nqu ng f they have ece ved al of the SVL's that we e vouche efund fo one way. not both? I pa d $276 th ough K w and my
2315278795963      4/20/2020 CR/RR   Web Fo m                          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   SLV                              Neve Rece ved        Comment/Quest on
                                                                                                                                                                                                              p om sed.                                                      vouche was only wo th $117. I bel eve I need a vouche fo one of the
                                                                                                                                                                                                                                                                             othe fl ghts as well.

                                                                                                                                                                                                                                                                                  Thanks!
                                                                                                                                                                                                                                                                                  PAX booked w th th d pa ty KIWI) and called to have efund p ocessed
                                                                                                                                                                                                                                                                                  fo SW cancelled fl ght unde PNR NV52GB and stated the cc on f le s not
                                                                                                                                                                                                                                                                                  the ca d she used to book. PAX stated that the second Agent she spoke
                                                                                                                                                                                                                                                                                  w th n CR p ev ously, adv sed he to call KIWI to ve fy fop nfo mat on.
                                                                                                                                                                                                              PAX booked w th th d pa ty (KIWI) and called to have efund          PAX ca led KIWI and found out cc on f le s a company ca d used fo
     2.31538E 12   4/24/2020 CR/RR   Phone      NV52GB                 Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ope at onal                      Unable to Reaccom    Compla nt          p ocessed fo SW cancelled fl ght unde PNR NV52GB and stated the     book ng. PAX gave ok to efund to cc on f le and w ll fo low-up w th KIWI
                                                                                                                                                                                                              cc on f le s not the ca d she used to book                          to get efund on the end. I apolog zed fo any confus on and p ocessed
                                                                                                                                                                                                                                                                                  a efund of the $51.98 back to cc end ng n 7878. PAX app ec ated my
                                                                                                                                                                                                                                                                                  ass stance.

                                                                                                                                                                                                                                                                                  Cla m No 192580376
                                                                                                                                                                                                                                                                                  no el s /contact
                                                                                                                                                                                                                                                                                  found pn VEOP2X
                                                                                                                                                                                                                                                                                  matches dept date and dest nat ons
                                                                                                                                                                                                                                                                                  always found k w ema l on t ne a y
                                                                                                                                                                                                                                                                                  but o g nal pu chase date s Janua y To whom th s may conce n,
                                                                                                                                                                                                              pax stated she booked fl ght th ough k w .com, nqu ng f he flt s
2315900440284      5/22/2020 CR/RR   Web Fo m VEOP2X, VEOP2X           Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me   Comment/Quest on
                                                                                                                                                                                                              cxld                                                                Hello my name                         and back n Ap l I bought a plane
                                                                                                                                                                                                                                                                                  t cket f om Oma a to Nas v le t ough K w .com, and my a l ne s go ng
                                                                                                                                                                                                                                                                                  to be Southwest, so I was just cu ous f my l ght has been canceled.

                                                                                                                                                                                                                                                                                  Thank you,




                                                                                                                                                                                                                                                                                                                                                     Appx. 119
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SR Number       Created Date       PNR                       Workgroup      Source     Category                        Sub Cat 1                     Sub Cat 2                     Sub Cat 3                  Nature             Summary                                           Note
                                                                                                                                                                                                                                                                                   Hello,

                                                                                                                                                                                                                                                                                   I was o g nally scheduled fo a Jan 1 11 45 AM fl ght WN4861
                                                                                                                                                                                                                                                                                   f om SAN to SJC. Howeve , my p ev ous fl ght f om a d ffe ent
                                                                                                                                                                                                                                                                                   a l ne was delayed and I m ssed that fl ght. I ca led n and I was
                                                                                                                                                                                                                                                                                   scheduled fo Fl ght 194 fo 9 20 PM and put on standby fo
                                                                                                                                                                                                                                                                                   ea l e fl ghts f the e was oom. I ended up boa d ng the 5 45
                                                                                                                                                                                                                                                                                   PM fl ght. Howeve , I d d not ece ve a new conf mat on
2216493106087           1/2/2018 UD3F3E, UD3F3E              Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts         Comment/Quest on   Req pfp
                                                                                                                                                                                                                                                                                   numbe and I cannot equest the m les onl ne. Can you please
                                                                                                                                                                                                                                                                                   awa d the m les I flew f om SAN to SJC fo the fl ght I took?

                                                                                                                                                                                                                                                                                   Thanks,

                                                                                                                                                                                                                                                                                   Pa th, no el pty cnts
                                                                                                                                                                                                                                                                                    eq pfp fo et fl ght UD3F3E n tlc gett ng e o w l fo wa d to
                                                                                                                                                                                                                                                                                   c

                                                                                                                                                                                                                                                                                   H ! I have seve al quest ons

                                                                                                                                                                                                                                                                                   F st, I would l ke to know what s the max mum we ght I can
                                                                                                                                                                                                                                                                                   have n my luggage.
                                                                                                                                                                                                                                  equ ements fo luggage, nte nat onal t avel and   What pape s I must have to take my plane (I have an esta and a
2216563057287           1/3/2018 J9Q7B7, J9Q7B7              Rese vat ons   Web Fo m   A po t Expe ence                Secu ty TSA                   Checkpo nt                    ID Inqu y                  Comment/Quest on
                                                                                                                                                                                                                                 te m nal                                          passpo t)
                                                                                                                                                                                                                                                                                   And n wh ch te m nal my plane should be a ved n Cancun

                                                                                                                                                                                                                                                                                   Rega ds,
                                                                                                                                                                                                                                                                                                no elated pa ty / contacts
                                                                                                                                                                                                                                                                                   Dea S o madame,
                                                                                                                                                                                                                                                                                   I am w t ng to nfo m you that my luggage was mass vely
                                                                                                                                                                                                                                                                                   damaged. I flew w th Soutwest on the 5th of Janua y 2018 f om
                                                                                                                                                                                                                                                                                   New Yo k La Gua d a to Atlanta. Up on my a val n New Yo k
                                                                                                                                                                                                                                                                                   my baggage (S lve R mowa su tcase) was ne the damaged,
                                                                                                                                                                                                                                                                                   sc atched no was the ns de d a ned n wate . When I a ved at
                                                                                                                                                                                                                                                                                   the baggage cla m n Atlanta the e we e ext emely deep cuts,
                                                                                                                                                                                                                                                                                   two of the metal co ne s whe e completely p essed and one
                                                                                                                                                                                                                                                                                   s de was dent. I unde stand that the baggage s somet mes
                                                                                                                                                                                                                                                                                   fac ng eno mous p essu e du ng the load ng of the a plane and
                                                                                                                                                                                                                                                                                   upon ecollect ng. Howeve , the damage that was done to my
                                                                                                                                                                                                                                                                                   su tcase s unacceptable. I expect some k nd of
                                                                                                                                                                                                                                                                                   compensat on/ epa at on. If you need any mo e nfo mat on
                                                                                                                                                                                                                                                                                    ega d ng th s matte please feel f ee to contact me.
2217368556527           1/7/2018 K8UYEJ, K8UYEJ              CR/RR          Web Fo m   Baggage                         Checked                       Damaged Bag                   To n/D agged/So led        Compla nt          pax upset luggage was damaged. wants comp
                                                                                                                                                                                                                                                                                   K nd ega ds,


                                                                                                                                                                                                                                                                                   (P.S. I would be mo e than happy to sha e elevant p ctu es of
                                                                                                                                                                                                                                                                                   the su tcase w th you), no el s 's
                                                                                                                                                                                                                                                                                   pax w ote nto us on 1/7/2018 12 00 33 PM
                                                                                                                                                                                                                                                                                   pax fl ght was on 01/05
                                                                                                                                                                                                                                                                                   couldn't f nd an nc dent epo t. w ll c eate cou tesy epo t on
                                                                                                                                                                                                                                                                                   pax's beha f.
                                                                                                                                                                                                                                                                                   HDQWN01823268

                                                                                                                                                                                                                                                                                   ssu ng 50 slv as gog fo ove all nconven ences.
                                                                                                                                                                                                                                                                                   Cl   N 15 581882

                                                                                                                                                                                                                                                                                   pax called back on PNR-UGEK26 afte t avel equest ng GOG. flt
                                                                                                                                                                                                                                                                                   3775 f om IND to RSW was canceled due to and went on stand
                                                                                                                                                                                                                                                                                   by fo f t 2697 and we e told the luggage would a ve but t was
                                                                                                                                                                                                                                                                                   late. apolog zed to pax fo flt cancelat on and unable to
                                                                                                                                                                                                                                                                                    eacomm t ll 9 hou s late . adv that I can ssue each pax a $100
                                                                                                                                                                                                                                                                                   SLV as GOG. pax thanked and d sconnected.
                                                                                                                                                                                                                                                                                   thanks, Madd e CR
                                                                                                                                                                                                                                                                                   Cla m No 154720977 and 154721052
2217708352261           1/9/2018 UGEK26, UGEK26, UGEK26      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cance lat on                  Mechan cal                    Reaccom Same Day           Compla nt          Pax upset ove fl ght delay                        thanks, Madd e CR, Pax upset ove cancelled fl ght (unscheduled
                                                                                                                                                                                                                                                                                   ma ntenance) states they sat on the ta mac fo a long t me
                                                                                                                                                                                                                                                                                   befo e go ng back nto the gate, then found out the fl ght was
                                                                                                                                                                                                                                                                                   cance led and could not be eaccomodated unt l much late . Pax
                                                                                                                                                                                                                                                                                   was o g na ly supposed to land at 9 40 a.m. d d not get to Fo t
                                                                                                                                                                                                                                                                                   Mye s unt l 6 20 p.m. I apolog zed to pax and adv sed to contact
                                                                                                                                                                                                                                                                                   us post t avel to be cons de ed fo GOG. X234715, wanted SLV
                                                                                                                                                                                                                                                                                   hono ed as he fo got one mo e pe son on p ev ous call, Cla m
                                                                                                                                                                                                                                                                                   No 154800821 PNR KMXBT5 due to MX delays

                                                                                                                                                                                                                                                                                   **********************************************
                                                                                                                                                                                                                                                                                     ** THIS IS A WARNING MESSAGE ONLY **
                                                                                                                                                                                                                                                                                     ** YOU DO NOT NEED TO RESEND YOUR MESSAGE **
                                                                                                                                                                                                                                                                                     **********************************************

                                                                                                                                                                                                                                                                                   The o g nal message was ece ved at Thu, 11 Jan 2018 16 05 42 -
                                                                                                                                                                                                                                                                                   0600 f om localhost.localdoma n [127 0.0.1]

                                                                                                                                                                                                                                                                                    ----- T ansc pt of sess on fo lows -----
                                                                                                                                                                                                                                                                                                                  >. . Defe ed Connect on t med
                                                                                                                                                                                                                                                                                   out w t
                                                                                                                                                                                                                                                                                   Wa n ng message st ll undel ve ed afte 4 hou s W ll keep t y ng
                                   L4AE7S, L4AE7S, L4AE7S,                                                                                                                                                                                                                         unt l message s 5 days old
                                   L4AE7S, L4AE7S, L4AE7S,                                                                                                                                                                       *Ema l Fa lu e*
2218135775857          1/11/2018                             CR/RR          Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   My Southwest com              Add Account Numbe to PNR   Comment/Quest on
                                   L4AE7S, L4AE7S, L4AE7S,                                                                                                                                                                       Custome want ng to add past fl ght po nts.
                                   L4AE7S                                                                                                                                                                                                                                          ----

                                                                                                                                                                                                                                                                                   Retu n-Path no-
                                                                                                                                                                                                                                                                                    eply@custome commun cat ons.southwest.com>
                                                                                                                                                                                                                                                                                   Rece ved f om s501.luxsc .com (localhost.localdoma n
                                                                                                                                                                                                                                                                                   [127.0.0.1])
                                                                                                                                                                                                                                                                                   ďǇ ƐϱϬϭ͘ůƵǆƐĐ ͘ĐŽŵ ;ϴ ϭϯ͘ϴͬϴ ϭϰ ϵͿ ǁ ƚŚ ^DdW Ě
                                                                                                                                                                                                                                                                                   w0BM5gl 006287
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                                                                                                                                                                                                                                                                                   0600
                                                                                                                                                                                                                                                                                   Rece ved (f om oot@localhost)
                                                                                                                                                                                                                                                                                   ďǇ ƐϱϬϭ͘ůƵǆƐĐ ͘ĐŽŵ ;ϴ ϭϯ͘ϴͬϴ ϭϰ ϵͬ^Ƶďŵ ƚͿ Ě
                                                                                                                                                                                                                                                                                   w0BM52uw006169
                                                                                                                                                                                                                                                                                   E o nvok ng se v ce SWA C eate Se v ce Request', method
                                                                                                                                                                                                                                                                                   'UpdateContact' at step 'Update Contact'.(SBL-BPR-00162)
                                                                                                                                                                                                                                                                                   --
                                                                                                                                                                                                                                                                                   The same values fo 'Add ess, Name' al eady ex st.

                                                                                                                                                                                                                                                                                   If you would l ke to ente a new eco d, please ensu e that the
                                                                                                                                                                                                                                                                                   f eld values a e un que.(SBL-DAT-00382)(SBL-EXL-00151), The
                                                                                                                                                                                                                                                                                   pu pose s to tell you that the passenge fo th s fl ght I
                                                                                                                                                                                                                                                                                   pu chased d d a no show. AS soon as I found out I ema l SW to
                                                                                                                                                                                                                                                                                   let them know that the etu n t p w ll thus as we l be affected
                                                                                                                                                                                                                                                                                    n o de to ece ve a vouche fo THAT t p. No one eve
                                                                                                                                                                                                                                                                                    esponded.
                                                                                                                                                                                                                                                                                     Howeve , ma n ma n conce n was that I had to change these
                                                                                                                                                                                                                                                                                   t avel plans seve al t mes wh ch ended up w th a vouche n th s
2218318982207          1/12/2018 K25D4Z, K25D4Z, K25D4Z      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty            Comment/Quest on   t ansfe a. except on
                                                                                                                                                                                                                                                                                   passende 's name. Well ,she al eady bas cally l ed to me cost ng
                                                                                                                                                                                                                                                                                   me up to e $250.00. I am equest ng that the vouche cu ently
                                                                                                                                                                                                                                                                                    n he name name                           dob             to
                                                                                                                                                                                                                                                                                   t ansfe ed to me                   the pu chase . I would also
                                                                                                                                                                                                                                                                                   app ec ate to also get a c ed t fo the etu n t p fa e as I d d
                                                                                                                                                                                                                                                                                   p ov de adequate not f cat on v a ema l. I have flow w th you
                                                                                                                                                                                                                                                                                   company and n fact enjoy you spec al un que se v ce and
                                                                                                                                                                                                                                                                                   comments made l te toned wh le fly ng. My oldest son l ves just
                                                                                                                                                                                                                                                                                   outs de Denve and could use these vouche s wh ch I pa d fo to
                                                                                                                                                                                                                                                                                   v s t h m o my olde b othe n Lake C ty, CA. thank you fo you
                                                                                                                                                                                                                                                                                   t me and cons de at on and hope you can help n th s matte .
                                                                                                                                                                                                                                                                                   S nce ely                . I am cu ently on hold w th custome
                                                                                                                                                                                                                                                                                    elat ons as well to attempt to esolve th s matte .,
                                                                                                                                                                                                                                                                                   t ansfe ab l ty except on
                                                                                                                                                                                                                                                                                   No REL PTY / SRs
                                                                                                                                                                                                                                                                                   Fl ght 178 DEN EWR was canceled due to weathe the
                                                                                                                                                                                                                                                                                   custome was g ven the opt on to ebook fo the next day but
                                                                                                                                                                                                                                                                                   that would not wo k w th the schedule as a GOG, efund ng
2218389357964          1/12/2018 OPIIO3, OPIIO3              CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cance lat on                  Weathe                        Unable to Reaccom          Compla nt          Fl ght Cancellat on - Unable to ebook
                                                                                                                                                                                                                                                                                   the one way fa e RTF back to OFOP. Cla m No 154756687, Th s
                                                                                                                                                                                                                                                                                   fl ght was cance lable and the alte nat ve fl ght 1 day afte was
                                                                                                                                                                                                                                                                                   completely unacceptable, thus we ask you fo the full efund of
                                                                                                                                                                                                                                                                                   the DEN-EWR pa t of O
                                                                                                                                                                                                                                                                                   I booked th s fl ght fo          and my g anddaughte           to
                                                                                                                                                                                                                                                                                   t avel to Ha tfo d Feb 16-20th.            husband has ecently
                                                                                                                                                                                                                                                                                   been d agnosed w th a se ous lness equ ng su ge y on Feb
                                                                                                                                                                                                                                                                                   12 and           cannot make the t p.

                                                                                                                                                                                                                                                                                   I would l ke to change the t cket to my husband
                                                                                                                                                                                                                                                                                   who w l fly w th         Please let me know f we can c ange
                                                                                                                                                                                                                                                                                   the t cket due to t s med cal eme gency.

                                                                                                                                                                                                                                                                                   Rega ds,
                                                                                                                                                                                                                                                                                                 I booked th s fl ght fo        and my
                                                                                                                                                                                                                                                                                   g anddaughte          to t avel to Ha tfo d Feb 16-20th.
                                                                                                                                                                                                                                                                                             husband has ecently been d agnosed w th a se ous
                                   MT7A4N, UYXXRJ, MT7A4N,                                                                                                                                                                                                                          llness equ ng su ge y on Feb 12 and           cannot make the
2218904050227          1/15/2018                             Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty            Comment/Quest on   t ansfe ab l ty of t cket
                                   UYXXRJ, MT7A4N, UYXXRJ                                                                                                                                                                                                                          t p.

                                                                                                                                                                                                                                                                                   I would l ke to change the t cket to my husband
                                                                                                                                                                                                                                                                                   who w l fly w th         Please let me know f we can change
                                                                                                                                                                                                                                                                                   the t cket due to t s med cal eme gency.

                                                                                                                                                                                                                                                                                   Rega ds,
                                                                                                                                                                                                                                                                                                    NRP. NC., NRP. NC., Spoke w th       who was
                                                                                                                                                                                                                                                                                   call ng to see what we can do. I apolog zed and adv sed we
                                                                                                                                                                                                                                                                                   cannot offe t ansfe ab l ty. I adv sed that we could howeve
                                                                                                                                                                                                                                                                                    efund back to CC and she could ebook he husband but t
                                                                                                                                                                                                                                                                                   would be whateve fa e she sees onl ne            was good w th
                                                                                                                                                                                                                                                                                   th s. I spl t and cx        off and efunded back to CC.




                                                                                                                                                                                                                                                                                                                                    Appx. 120
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                         Page 121 of 571 PageID 293
                                                                                                                                                                                                                                                                                         H , Fl ght 39 was cancelled and wo ds can't exp ess how
                                                                                                                                                                                                                                                                                         upsett ng th s was fo me. Because of th s, I was stuck n HOU. I
                                                                                                                                                                                                                                                                                         hope you'll extend some so t of way to compensate me fo the
2219414342647   1/18/2018 LO9EQJ                    CR/RR          Web Fo m       Med a/Adv./Mktg. P omot ons     Med a                         Company News                  Pend ng Catego y                 Compla nt                                                                  nconven ence. Please g ve me compensat on fo th s cancelled
                                                                                                                                                                                                                                                                                         fl ght. Please cons de the ha dsh p th s cance lat on caused and
                                                                                                                                                                                                                                                                                         g ant me compensat on acco d ngly. S nce ely,


                                                                                                                                                                                                                                                                                         I'm hav ng t ouble add ng the m les f om th s fl ght to my
                                                                                                                                                                                                                                                                                         account. I get th s e o , Oops! We a e cu ently unable to
2219790415747   1/20/2018 R67ENG, R67ENG, R67ENG    CR/RR          Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   equest ng PfP                                          complete you equest. Thanks. --T m, n p n c, V a C us PNR
                                                                                                                                                                                                                                                                                         R67ENG s a qual fy ng fl ght
                                                                                                                                                                                                                                                                                         v a TLC unable to subm t fo PFP unknown e o nu l
                                                                                                                                                                                                                                                                                         no el pty, contacts me ged, Please add ap d ewa ds c ed t to
                                                                                                                                                                                                                                                                                         my account fo Conf mat on
2219862604234   1/20/2018 NBTWCZ, NBTWCZ, NBTWCZ Rese vat ons      Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   Request ng pfp                                         NBTWCZ. My RR numbe s
                                                                                                                                                                                                                                                                                         Thank you
                                                                                                                                                                                                                                                                                         T stan, TLC, successfu ly posted pfp f om NBTWCZ
                                                                                                                                                                                                                                                                                         Is th s t p ecogn zed fo Rap d Rewa ds? When I booked the
2220727768371   1/25/2018 V6V3FS, V6V3FS            Rese vat ons   Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   My Southwest com              Add Account Numbe to PNR         Comment/Quest on   add RR to PNR                                          fl ght, t wouldn t take my membe sh p numbe . I want to get
                                                                                                                                                                                                                                                                                         the po nts fo t., n pc, done v a com
                                                                                                                                                                                                                                                                                         c us shows not a t ue dupe.
                                                                                                                                                                                                                                                                                         R5R5DE s class t
                                                                                                                                                                                                                                                                                         U7E5AW s and t class
                                                                                                                                                                                                                                                                                         R5R5DE hasn't been xld
                                                                                                                                                                                                                                                                                         fo wa d to c fo cons de at on. altea may p ck up pn s as dupes
                                                                                                                                                                                                                                                                                         MQO6ZR 28 x2 exp 09jan19 downg ade funds

                                                                                                                                                                                                                                                                                         , c us shows not a t ue dupe.
                                                                                                                                                                                                                                                                                         R5R5DE s class t
                                                                                                                                                                                                                                                                                         U7E5AW s and t class
                                                                                                                                                                                                                                                                                         R5R5DE hasn't been xld
                                                                                                                                                                                                                                                                                         fo wa d to c fo cons de at on. altea may p ck up pn s as dupes
                            MQO6ZR, R5R5DE, U7E5AW,                                                                                                                                                                                                                                      MQO6ZR 28 x2 exp 09jan19 downg ade funds
                            MQO6ZR, R5R5DE, U7E5AW,
2221469783197   1/29/2018                           CR/RR          Web Fo m       Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Comment/Quest on   equest efund of non efundable tkt
                            MQO6ZR, R5R5DE, U7E5AW,                                                                                                                                                                                                                                      , c us shows not a t ue dupe.
                            MQO6ZR, R5R5DE, U7E5AW                                                                                                                                                                                                                                       R5R5DE s class t
                                                                                                                                                                                                                                                                                         U7E5AW s and t class
                                                                                                                                                                                                                                                                                         R5R5DE hasn't been xld
                                                                                                                                                                                                                                                                                         fo wa d to c fo cons de at on. altea may p ck up pn s as dupes
                                                                                                                                                                                                                                                                                         MQO6ZR 28 x2 exp 09jan19 downg ade funds

                                                                                                                                                                                                                                                                                         , no el pa ty/cntc
                                                                                                                                                                                                                                                                                         , no el pa ty/cntc
                                                                                                                                                                                                                                                                                         , no el pa ty/cntc
                                                                                                                                                                                                                                                                                         , Spoke to        He stated he made o g ese vat on (MQO6ZR)
                                                                                                                                                                                                                                                                                         fo pa ents, and not ced that t cket p ce had gone down, so he
                                                                                                                                                                                                                                                                                         attempted to make a change. When change was made, p c ng
                                                                                                                                                                                                                                                                                             o occ
                                                                                                                                                                                                                                                                                         Conve  sat oned#7004733
                                                                                                                                                                                                                                                                                                          nd th y had to cancel and ebook us ng the
                                                                                                                                                                                                                                                                                         Ema l sent to PayPal hold emovel Da ly L nk
                                                                                                                                                                                                                                                                                         ƵƐƚŽŵĞ EĂŵĞ

                                                                                                                                                                                                                                                                                          ƵƚŚŽ ǌĂƚ ŽŶ EƵŵďĞ ;K ĚĞ Ϳ

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                                                                                                                                                                                                                                                                                         9RH02963MX287971A
                                                                                                                                                                                                                                                                                         d ĂŶƐĂĐƚ ŽŶ /
                                                                                                                                                                                                                                  FB Conve sat on #7004733
                                                                                                                                                                                                                                                                                         29L47841049391159
2221446167972   1/30/2018 J8JWAE, J8QFRN, JB6NPF    CR/RR          Soc al Med a   Refunds                         Refund Request                Refund P ocedu es             B ll ng Inqu es                  Comment/Quest on   PayPal dupl cate t ansact on
                                                                                                                                                                                                                                  Refund equest
                                                                                                                                                                                                                                                                                         If the Custome cannot p ov de the above nfo mat on, p ov de
                                                                                                                                                                                                                                                                                         the follow ng

                                                                                                                                                                                                                                                                                         ƵƐƚŽŵĞ Ɛ ͲŵĂ ů ĂƐƐŽĐ ĂƚĞĚ ǁ ƚŚ ƚŚĞ WĂǇWĂů ĂĐĐŽƵŶƚ
                                                                                                                                                                                                                                                                                         5303104@a l ne.k w .com

                                                                                                                                                                                                                                                                                          ƵƐƚŽŵĞ Ɛ WŚŽŶĞ EƵŵďĞ

                                                                                                                                                                                                                                                                                          hdW Ă Ě EƵŵďĞ ;/Ĩ ƉƉů ĐĂďůĞͿ DĂƐƚĞ ĐĂ Ě ĞŶĚ ŶŐ Ŷ ϴϬϬϭ

                                                                                                                                                                                                                                                                                         , Conve sat on #7004733
                                                                                                                                                                                                                                                                                         Ema l sent to PayPal hold emovel Da ly L nk
                                                                                                                                                                                                                                                                                          ƵƐƚŽŵĞ EĂŵĞ

                                                                                                                                                                                                                                                                                                    , called due to agent spl t ng h m off conf mat on
                                                                                                                                                                                                                                                                                         NMZBNS and mak ng a new ese vat on unde conf mat on
                                                                                                                                                                                                                                                                                         JPUWZ9                adv sed me that he asked the agent to
                                                                                                                                                                                                                                                                                         cancel outbound and not nbound fl ght . On conf mat on
                                                                                                                                                                                                                                                                                         JPUWZ9 the agent d d not cancel outbound wh ch esu ted n a
                                                                                                                                                                                                                                                                                         wanna get away no show on t cket . I adv sed as GOG I w ll ssue
                                                                                                                                                                                                                                                                                         a efund full amount 191.96 fo fl ght . I adv sed              that
                                                                                                                                                                                                                                                                                         the efund would eflect account w th 7-10 bus ness days up to
                                                                                                                                                                                                                                                                                         30 days depend ng on statement cycle                 was ve y
                                                                                                                                                                                                                                                                                         thankful fo the help


                                                                                                                                                                                                                                  pax ca led n due to agent cance l ng e o . agent spl t
2221718322793   1/31/2018 JPUWZ9, NMZBNS            CR/RR          Phone          Refunds                         Refund Request                T ckets/Fa es                 Refundable                       Comment/Quest on                                                          Cla m no .155284739             , called due to agent spl t ng
                                                                                                                                                                                                                                  PNR to cancel outbound agent d d not cancel .
                                                                                                                                                                                                                                                                                         h m off conf mat on NMZBNS and mak ng a new ese vat on
                                                                                                                                                                                                                                                                                         unde conf mat on JPUWZ9                  adv sed me that he
                                                                                                                                                                                                                                                                                         asked the agent to cancel outbound and not nbound fl ght . On
                                                                                                                                                                                                                                                                                         conf mat on JPUWZ9 the agent d d not cancel outbound wh ch
                                                                                                                                                                                                                                                                                          esulted n a wanna get away no show on t cket . I adv sed as
                                                                                                                                                                                                                                                                                         GOG I w ll ssue a efund full amount 191 96 fo fl ght . I adv sed
                                                                                                                                                                                                                                                                                                     that the efund would eflect account w th 7-10
                                                                                                                                                                                                                                                                                         bus ness days up to 30 days depend ng on statement cycle
                                                                                                                                                                                                                                                                                                was ve y thankful fo the help


                                                                                                                                                                                                                                                                                         Cla m no .155284739


                                                                                                                                                                                                                                                                                         passenge pa d fo upg ade to change to d ffe ent fl ght. then
                                                                                                                                                                                                                                                                                         dec ded to take o g nal fl ght. efund ng the 13.00 pe pe son to
2222047408684    2/2/2018 PZNRK4                    CR/RR          Phone          Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Comment/Quest on   upg ade boa d ng efund as gog
                                                                                                                                                                                                                                                                                         change to new fl ght as a gog unde PNR PZNRK4. cla m no
                                                                                                                                                                                                                                                                                         155351726 , 155351800, 155351771 and 155351882
                                                                                                                                                                                                                                                                                         My conf mat on numbe and fl ght nfo mat on would not
                                                                                                                                                                                                                                                                                         successfully add m leage fo a p ev ous fl ght to my Rap d
                                                                                                                                                                                                                                                                                         Rewa ds account, when attempted by a phone agent who
                                                                                                                                                                                                                                                                                         ass sted me w th my account and a ese vat on today.
2223025959077    2/7/2018 QODMHS, QODMHS            Rese vat ons   Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   Custome wants past fl ght po nts added.                Please add and conf m the above l sted fl ght m leage f om
                                                                                                                                                                                                                                                                                         Septembe 2017.

                                                                                                                                                                                                                                                                                         Thank you,
                                                                                                                                                                                                                                                                                         Cand ce, n pnc
                                                                                                                                                                                                                                                                                         Please, p ov de full efund fo cancelled fl ght LGA - ATL 1
                                                                                                                                                                                                                                                                                         passenge s booked (ond ej ba tak (bags 2 ) - WW66XV fo 91.6
                                                                                                                                                                                                                                                                                         EUR booked on Yps lon ca dholde                      cc 7785,
                                                                                                                                                                                                                                                                                          efunded 107 98 v a a d
                                                                                                                                                                                                                                                                                         Refund has been successfu ly p ocessed (SAC-52636V2KGPGJU).
2223576862985   2/11/2018 WW66XV, WW66XV            CR/RR          Web Fo m       Fl ght Delay/Cancel/D ve s on   Cance lat on                  Ove a l Pe fo mance           Rel ab l ty                      Comment/Quest on   K w .com - get se v ce ema l.
                                                                                                                                                                                                                                                                                         (9892)

                                                                                                                                                                                                                                                                                         Googled ema l s nce t's not pax ema l, and t shows t's a get
                                                                                                                                                                                                                                                                                         se v ce type.
                                                                                                                                                                                                                                                                                         Send ng get se v ce text, but al eady subm tted efund.
                                                                                                                                                                                                                                                                                         me ged 20785069233
                                                                                                                                                                                                                                                                                         non t e l ves n Czech epubl c

                                                                                                                                                                                                                                                                                         NAOG6V TPAWN05779520 On Hands Closed 1652

                                                                                                                                                                                                                                                                                       bag was late checked, My baggage has not a ved n New
                                                                                                                                                                                                                                   equest ng ass stance w th bag nc dent. hav ng ssues O leans - cla m no = 0526031864
2223643692115   2/11/2018 NAOG6V, NAOG6V            CR/RR          Web Fo m       Baggage                         Checked                       Lost/Delayed Bag              Inconven enced/Se v ce Fa lu e   Compla nt
                                                                                                                                                                                                                                  gett ng th ough to MSY BSO
                                                                                                                                                                                                                                                                                       The NOLA baggage off ce do not answe the phone - the call
                                                                                                                                                                                                                                                                                       cent e - tel 1 888 201 1024 tell me they th nk t s n NOLA but
                                                                                                                                                                                                                                                                                       cannot conf m.

                                                                                                                                                                                                                                                                                         I'm stay ng at the Pelham hotel             - can you ass st
                                                                                                                                                                                                                                                                                         please.
                                                                                                                                                                                                                                                                                         Docs look l ke docto p esc pt on pad sc bbles. Send ng out
                                                                                                                                                                                                                                  Refunds Pax equest ng efund due to med cal             standa d text esponse.
2223840216985   2/12/2018 MK5VXI, MK5VXI            CR/RR          Phone          Rese vat ons/T ckets/Fa es      E Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence                 Comment/Quest on
                                                                                                                                                                                                                                   easons.                                               , Pax equest ng efund due to med cal easons. Insuff c ent dox
                                                                                                                                                                                                                                                                                         attached
                                                                                                                                                                                                                                                                                         Custome p ov ded conf m code so I ema led t ne a y to
                                                                                                                                                                                                                                                                                                               H,

                                                                                                                                                                                                                                                                                   I booked my fl ght th ough K w .com and not ced that the
                                                                                                                                                                                                                                                                                   conf mat on ema ls and e-t cket d d not have a t cket numbe
                                                                                                                                                                                                                                  booked SWA ese vat on th ough k w .com equest ng
2224009605230   2/13/2018 NGUIFI, NGUIFI, NGU FI    Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   t ne a y Rep nt/Rece pts         Comment/Quest on                                                    l sted. Check ng my ese vat on deta ls on Southwest com all
                                                                                                                                                                                                                                  t ne a y nfo mat on.
                                                                                                                                                                                                                                                                                   the deta ls of the fl ght a e l sted, but I can t f nd my t cket
                                                                                                                                                                                                                                                                                   numbe the e e the . Have I been ass gned a t cket numbe o s
                                                                                                                                                                                                                                                                                   that someth ng I'll need to wa t to see on my boa d ng pass?

                                                                                                                                                                                                                                                                                         Thanks fo you help!, no e pty, no contact
                                                                                                                                                                                                                                                                                         NRP/NRC. Sea ched n CIRRUS w th PNR to complete flt deta l.,
                                                                                                                                                                                                                                                                                         Wh le mak ng ese vat on I was not p ompted to ente my TSA
                                                                                                                                                                                                                                                                                         P echeck. Please ente and/o conf m my TSA P echeck
2225053597637   2/19/2018 VBC6VA, VBC6VA            Rese vat ons   Web Fo m       southwest com                   P oduct/Funct onal ty         Fl ght Check n                KTN Not on Boa d ng Pass         Comment/Quest on   Add KTN to upcom ng PNR nqu y.
                                                                                                                                                                                                                                                                                         #TT11HGBB 8 has been eg ste ed fo these fl ghts. The e s no
                                                                                                                                                                                                                                                                                         nd cat on the on the conf mat on that has been completed.
                                                                                                                                                                                                                                                                                         Thank you. Conf mat on # VBC6VA
                                                                                                                                                                                                                                                                                         ARD sent PNR to ema l n SR, Hello,

2225698496037   2/22/2018 NJABNE, NJABNE, NJABNE    Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   t ne a y Rep nt/Rece pts         Comment/Quest on   esend PNR                                              Would you be able to send me the conf mat on fo th s fl ght?
                                                                                                                                                                                                                                                                                         I'm t y ng to obta n my t cket numbe fo ou account ng team.
                                                                                                                                                                                                                                                                                         Thanks!, no el ptys o contacts




                                                                                                                                                                                                                                                                                                                                           Appx. 121
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                              Page 122 of 571 PageID 294
                                                                                                                                                                                                                                                                                    just m ssed h s flt and s wonde ng f we can change t to
                                                                                                                                                                                                                       ust m ssed f t, want ng to change to tomo ow           tomo ow mo n ng. flt had not d opped to no show. I was able
2225742762798   2/22/2018 USBML9                   CR/RR          Phone      Rese vat ons/T ckets/Fa es      Rese vat ons                   Ass stance n book ng             Change Book ng         Comment/Quest on
                                                                                                                                                                                                                       mo n ng                                                to conf m h m on 6 00 flt fo tomo ow 2/23. cust app ec at ve
                                                                                                                                                                                                                                                                              of help.

                                                                                                                                                                                                                                                                              H Southwest A l nes,

                                                                                                                                                                                                                                                                              We would l ke to know how much baggage we a e a lowed to
                                                                                                                                                                                                                                                                              check- n on the above fl ght f om Havana to Ft. Laude dale
                                                                                                                                                                                                                                                                              (Fl ght no. WN3923), fo each passenge on the conf mat on
                                                                                                                                                                                                                                                                              numbe               and                       .
2226863029647   2/28/2018 RDIK7Z, RDIK7Z, RDIK7Z   Rese vat ons   Web Fo m   Baggage                         Checked                        Gu del nes                       Numbe                  Comment/Quest on   Custome nqu ng baggage - cuba
                                                                                                                                                                                                                                                                              Also how much ca y-on/hand luggage can we each b ng?

                                                                                                                                                                                                                                                                              Thank you n advance, we a e look ng fo wa d hea ng f om you.

                                                                                                                                                                                                                                                                                       No el pty o cts, no esea ch needed

                                                                                                                                                                                                                                                                              Dea Team,
                                                                                                                                                                                                                                                                              please can you conf m how many p eces of checked baggage
                                                                                                                                                                                                                       Request ng nfo mat on on baggage fo efund                                had at check n at the a po t so we can efund
2227459309205    3/4/2018 JDO6PN, JDO6PN, JDO6PN   CR/RR          Web Fo m   Baggage                         Checked                        Fees                             Ove s zed/Ove we ght   Comment/Quest on
                                                                                                                                                                                                                       ass stance                                             he app op ately. thanks fo you help., No el SR / No el pty,
                                                                                                                                                                                                                                                                              Reached out to hotl ne, Megs adv sed due to a l nfo mat on
                                                                                                                                                                                                                                                                              p ov ded, ok to g ve nfo.
                                                                                                                                                                                                                                                                              Dea S /Madam,
                                                                                                                                                                                                                                                                              k ndly p oceed w th the all pos ble moneta y efund fo
                                                                                                                                                                                                                                                                               ese vat on U9I4YOdue to the fact that fl ght was escheduled
                                                                                                                                                                                                                                                                              by a l ne. Please, subm t e mbu sement n acco dance to the
                                                                                                                                                                                                                                                                              o g nal mode of payment.
                                                                                                                                                                                                                       f t schedule change and pax NSHW tkt, equest ng
2228086058305    3/7/2018 U9I4YO, U9I4YO, U9I4YO   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                      Unexpected Change to It ne a y   New Depa tu e T me     Compla nt
                                                                                                                                                                                                                        efund
                                                                                                                                                                                                                                                                              Thank you and ega ds, no contact accts // no el SRs // no el
                                                                                                                                                                                                                                                                              pa t es, Schedule change. Depa tu e changed f om 5 55 pm to
                                                                                                                                                                                                                                                                              2 55 pm. Both pax no-showed, $96.16 pe pax.

                                                                                                                                                                                                                                                                              CLAIMS 156760568 and 156760656
                                                                                                                                                                                                                                                                              Cust called n on behalf of he son who flew f om Stockholm to
                                                                                                                                                                                                                                                                              vegas and then had a swa l ght f om LAS to GEG. H s fl ght f om
                                                                                                                                                                                                                                                                              Sweden landed ove two hou s late and when he a ved at the
                                                                                                                                                                                                                                                                              a po t that sa d that he would have to buy a new t cket to get
                                                                                                                                                                                                                                                                              to GEG s nce h s o g nal fl ght had been fo fe ted. She cla ms
                                                                                                                                                                                                                                                                              that he d d not have a way to contact SWA s nce he was
                                                                                                                                                                                                                                                                              t avel ng nte nat onal and d d not know that h s fl ght was go ng
                                                                                                                                                                                                                       pax mothe called n to vo ce he conce n w th no
2228128106264    3/7/2018 SCDKWM                   CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d    No-Show Fo fe ted Funds          Pol cy Adhe ence       Compla nt                                                                 to be so delayed befo e they took off. I adv he of the no show
                                                                                                                                                                                                                       show fl ght
                                                                                                                                                                                                                                                                              pol cy and that t s one of the most st a ghtfo wa d and black
                                                                                                                                                                                                                                                                              and wh te pol c es that we have. She was ve y upset and stated
                                                                                                                                                                                                                                                                              that swa leade s don't ca e and stated that she was go ng to
                                                                                                                                                                                                                                                                              post on va ous onl ne s tes about th s expe ence and hopes
                                                                                                                                                                                                                                                                              that we lose a lot of bus ness because of t. I told he that t was
                                                                                                                                                                                                                                                                              absolutely he ght to do that and that I g eatly apolog zed fo
                                                                                                                                                                                                                                                                              th s s tuat on.
                                                                                                                                                                                                                                                                              Me ged C acct 20788532914 and 20788951805. Unable to locate
                                                                                                                                                                                                                                                                              any p ev ous ema ls. Conf n RefundP o that pax no showed flt
                                                                                                                                                                                                                                                                              found ema ks n C us

                                                                                                                                                                                                                                                                              PAX CAME TO THE TICKET COUNTER TO CHECK IN FOR A FLT HE
                                                                                                                                                                                                                                                                              MISSED. PAX CAME FROM ANOTHER AIRLINE WHICH WAS
                                                                                                                                                                                                                                                                              DELAYED. PAX SAID HE
                                                                                                                                                                                                                                                                              SOPKE TO THE PERSON WHO IS IN CHARGE OF ALL THE A RLINES,
                                                                                                                                                                                                                                                                              I DONT KNOW WHO, POSSIBLY AN AIRPORT WORKER. AND THEY
                                                                                                                                                                                                                                                                              ADV PAX THERE
                                                                                                                                                                                                                                                                              WAS NO MORE FLTS TO GEG. HE THEN COMES NOW TO THE
                                                                                                                                                                                                                                                                              TICKET COUNTER. I ADV PAX ABOUT THE TWO HOUR COURTESY
                                                                                                                                                                                                                                                                              FOR MISSING FLTS. AND
                                                                                                                                                                                                                       Rel SR 2228128106264 pax upset that he son no-
                                                                                                                                                                                                                                                                              UNFORTUNATELY, HE WOULD HAVE TO BUY A NEW T CKET. PAX
2228244691539    3/7/2018 SCDKWM, SCDKWM           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d    No-Show Fo fe ted Funds          Pol cy Adhe ence       Compla nt          showed flt due to delayed nte nat onal flt on anothe
                                                                                                                                                                                                                                                                              USED VULGAR LANGUAGE TO ME INCLUDING THE F WORD. AND
                                                                                                                                                                                                                       a l ne
                                                                                                                                                                                                                                                                              DID NOT WANT TO BUY
                                                                                                                                                                                                                                                                              ANOTHER TICKET.

                                                                                                                                                                                                                                                                              Does not qual fy fo any no show except on., Th s s my second
                                                                                                                                                                                                                                                                              ema l a and wa t t me to you custome se v ce by phone s 34
                                                                                                                                                                                                                                                                              m n! My son                           flew f om Be l n to
                                                                                                                                                                                                                                                                              Stockholm, then Stockholm to Las Vegas. The plane f om
                                                                                                                                                                                                                                                                              Stockholm was delayed so he m ssed h s connect on w th SW
                                                                                                                                                                                                                                                                              a l nes to Spokane. Afte a lengthy p ocess th ough customs
                                                                                                                                                                                                                                                                              and secu ty, he f nally eached you desk n LV. You custome
                                                                                                                                                                                                                                                                              se v ce pe son told h m he was two hou s delayed so she would
                                                                                                                                                                                                                                                                              not ebook h m but told h m he had to buy a new t cket and left.
                                                                                                                                                                                                                                                                              We pa d fo h s fl ghts so he called us and afte s tt ng all n ght
                                                                                                                                                                                                                                                                              I ecently, ust came back f om fly ng w th you a l ne. To check
                                                                                                                                                                                                                                                                              my luggage and see that my laptop has been shatte ed.

                                                                                                                                                                                                                                                                              Just cu ous as to how you a l ne handles th s s tuat on.
2228606064479    3/9/2018 TE96IP, TE96IP           CR/RR          Web Fo m   Baggage                         Checked                        Bag Contents                     Damaged                Compla nt          laptop damaged du ng t avel
                                                                                                                                                                                                                                                                              Thanks,

                                                                                                                                                                                                                                                                              G ace, ssu ng a $75 SLV as a gog
                                                                                                                                                                                                                                                                              Cla m No 156664536

                                                                                                                                                                                                                                                                              Membe s nce 2017
                                                                                                                                                                                                                                                                              CVS-1
                                                                                                                                                                                                                                                                              no elated SRs

                                                                                                                                                                                                                                                                              ve f ed f t 673 03/05/18 sjc to sea delayed 209 m ns due to mx

                                                                                                                                                                                                                                                                              ve f ed no slv was ssued

                                                                                                                                                                                                                                                                              edempt on book ng f om acct                   fo 2,993 pts
2229439772097   3/14/2018 P47L4L, P47L4L           CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                          Ove a l Pe fo mance              Rel ab l ty            Compla nt          f t delayed, nconven enced, d sappo nt ng se v ce
                                                                                                                                                                                                                                                                              ssu ng 200$ slv as gog Cla m No 156819513, Hello Team,

                                                                                                                                                                                                                                                                              We had a 4-hou delay f om SJC to SEA on Ma ch 6 2018. The
                                                                                                                                                                                                                                                                              fl ght got delayed tw ce, due to wh ch I eached home at 3.30,
                                                                                                                                                                                                                                                                              had to take an expens ve cab to each home, and I m ssed wo k
                                                                                                                                                                                                                                                                              the next day. It's ve y d sappo nt ng and such se v ce f om
                                                                                                                                                                                                                                                                              Southwest s not expected.

                                                                                                                                                                                                                                                                              S nce ely,


                                                                                                                                                                                                                                                                              He lo,

                                                                                                                                                                                                                                                                              I pu chased the n fl ght w f and t wo ked fo a l ttle less then
                                                                                                                                                                                                                                                                              an hou then got ext emely slow. It took ove 5 m nutes to load
                                                                                                                                                                                                                                                                              th s page to send the ema l. I would l ke a efund fo my
2229563445010   3/14/2018 SXDN9T, SXDN9T           CR/RR          Web Fo m   Onboa d A c aft Expe ence       Amen t es/Stowage/Seat ng      W F Pa d                         D d Not Wo k           Compla nt          w f d d not wo k, equest ng efund
                                                                                                                                                                                                                                                                              payment to use the w f .

                                                                                                                                                                                                                                                                              Thanks,

                                                                                                                                                                                                                                                                              E k, ve f ed pu chased w f flt 1839 03/14/18, efund ng as gog
                                                                                                                                                                                                                                                                              H the e,
                                                                                                                                                                                                                                                                              Can you please nfo m me whethe we would be able to pay fo
                                                                                                                                                                                                                                                                              the 'ea ly b d' opt on on t ckets bought th ough an onl ne
                                                                                                                                                                                                                                                                              agent?
                                                                                                                                                                                                                                                                              We pu chased ou hol day opt ons v a K w com, howeve we
                                                                                                                                                                                                                                                                              a e n need to ex t the plane asap on a val, and thus was
                                                                                                                                                                                                                       Custome want ng to know f they can pu chase
2229659192067   3/15/2018 TJ8Z2E, TJ8Z2E           Rese vat ons   Web Fo m   southwest.com                   P oduct/Funct onal ty          Ea lyB d                         P oduct Info mat on    Comment/Quest on                                                          hop ng to get bette seat opt ons on the plane by buy ng the
                                                                                                                                                                                                                       Ea lyB d.
                                                                                                                                                                                                                                                                              ea ly b d fee.
                                                                                                                                                                                                                                                                              Ou Rese vat on n s TJ8Z2E. Ou K w com ese vat on n s
                                                                                                                                                                                                                                                                              5855734.

                                                                                                                                                                                                                                                                              I look fo wa d to hea ng f om you.
                                                                                                                                                                                                                                                                              Many thanks, No el ptys o contacts
                                                                                                                                                                                                                                                                              Cla m No 156897149
                                                                                                                                                                                                                                                                              pax called n confused w/ he vouche s. sa d she has not
                                                                                                                                                                                                                                                                               ece ved anyth ng. expla ned eve yth ng that was go ng on to
                                                                                                                                                                                                                                                                              he and that she needed to check w/ t avel agency. expla ned
                                                                                                                                                                                                                                                                              that t avel company used pa t al of the vouche . adv sed we
                                                                                                                                                                                                                                                                              typ cally have to ssue to the ema l on the pn fo secu ty
                                                                                                                                                                                                                                                                               easons but I had pax ve fy eve yth ng fo me. adv sed I would
                                                                                                                                                                                                                                                                               e ssue out the $56.95 ema n ng to he ema l and I would ssue
                                                                                                                                                                                                                                                                              add t onal $50slv as gog fo e o /m scom. pax was app ec at ve.
                                                                                                                                                                                                                                                                              adv sed that she would p obably get an ema l f om Vanessa
                                                                                                                                                                                                                                                                              stat ng that we could not send anyth ng. pax was ve y
                                                                                                                                                                                                                                                                              app ec at ve and thankful to know what was go ng on. adv sed 7-
                                                                                                                                                                                                                       pax fl ght was delayed fo m depa t c ty wh ch caused   10 bus days., I am w t ng to you n connect on w th the above
                                                                                                                                                                                                                       m ssconnec and pax had to stay ove n ght n the         fl ght on wh ch I was booked to t avel on 15th of Janua y 2017
2229820886449   3/15/2018 KWPITT, KWPITT, KWPITT   CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                   Ove a l Pe fo mance              Rel ab l ty            Compla nt
                                                                                                                                                                                                                       a po t as she could not get a hotel oom. ask ng fo     The fl ght was supposed to depa t f om ABQ at but I was
                                                                                                                                                                                                                       comp                                                   delayed by ove an hou caus ng me to m ss my connect on
                                                                                                                                                                                                                                                                              fl ght to London Heath ow and thus hav ng to wa t fo ove 12
                                                                                                                                                                                                                                                                              hou s fo the next fl ght out of LAS.
                                                                                                                                                                                                                                                                              Due to th s unfo tunate c cumstance t esulted n me be ng
                                                                                                                                                                                                                                                                              stuck n LAS a po t fo 12 hou s as I am unde the age of 21 and
                                                                                                                                                                                                                                                                              could not book a hotel n Las Vegas due to the cas no laws. So,
                                                                                                                                                                                                                                                                              as a esult of th s, I had to spend an ent e n ght n the a po t
                                                                                                                                                                                                                                                                              f om a ound 5pm on the 15th unt l 6am on the 16th. I am
                                                                                                                                                                                                                                                                              w t ng today to ga n compensat on fo my nconven ence.
                                                                                                                                                                                                                                                                              I am ent tled to compensat on and look fo wa d to ece v ng a
                                                                                                                                                                                                                                                                               esponse f om you ASAP.

                                                                                                                                                                                                                                                                              You s s nce ely
                                                                                                                                                                                                                                                                              PCS sent 100 slv
                                                                                                                                                                                                                       AB0129 ML2018030047 DCD201803                          OW 175
                                                                                                                                                                                                                                                                              adv apolog es/addl 50 slv as gog. Cla m 156996052
2230533307613   3/20/2018 VET26N, VET26N           Advocacy       Web Fo m   Othe                            Spec al Handl ng/Spec al Req   DOT Fl ght P oblems              Standa d               Compla nt          M . Alan Su att contacted the DOT w th the cla ms
                                                                                                                                                                                                                       that a Ramp Agents cap was blown nto the a/c           -Cou tney advo x2072, ve f ed cod ng
                                                                                                                                                                                                                       system. M . Su att feels that he w l m ss s c u se.
                                                                                                                                                                                                                                                                              nte nal use only no cha lenge.




                                                                                                                                                                                                                                                                                                                               Appx. 122
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                                                                                                                                                                                                                                                                                            Outbound fl ght - Pax escheduled themselves 45 m nutes ahead
                                                                                                                                                                                                                                                                                            of wa ve com ng out o g nal fl ght 1122 they we e scheduled
                                                                                                                                                                                                                                                                                            on was cancelled due to w nte sto m efund ng upg ade as
                                                                                                                                                                                                                                                                                            GOG. $140.01
2230680556283   3/20/2018 S3L6NX                      CR/RR              Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Unable to Reaccom                Compla nt          Pax upset about fl ght cance lat ons and delays to WX
                                                                                                                                                                                                                                                                                            Retu n fl ght - cancelled due to WX d d not get to f nal
                                                                                                                                                                                                                                                                                            dest nat on. Refund ng etu n t p plus oundt p taxes. $139 53
                                                                                                                                                                                                                                                                                             $68.32 ound t p taxes = $207.85

                                                                                                                                                                                                                                                                                            Cla m No 157049743
                                                                                                                                                                                                                                                                                            Dea team, fo my nsu ance company I need no show
                                                                                                                                                                                                                                                                                            conf mat on f om you a l ne. I would l ke to ask you to send
                                                                                                                                                                                                                                                                                            me an ema l w th nfo mat on that no one of passenge s used
                                                                                                                                                                                                                                    Request ng conf mat on that ese vat on was no
2230813445545   3/21/2018 KHDOCJ, KHDOCJ, KHDOCJ      Rese vat ons       Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Ve fy Funds                      Comment/Quest on                                                           the t cket KHDOCJ. Thank you., el pty othe ss/ no cts, Ve f ed
                                                                                                                                                                                                                                    showed
                                                                                                                                                                                                                                                                                            $108.98 pe Passenge s held unde KHDOCJ, exp es 11/28/18,
                                                                                                                                                                                                                                                                                            et cket was st ll n open status, p ocessed cancellat on w th e
                                                                                                                                                                                                                                                                                            t cket n ARD
                                                                                                                                                                                                                                                                                            Pax called n because he daughte 's (Deja) RTFs we e m ss ng.
                                                                                                                                                                                                                                                                                            Pax spoke to Ave y feb 26, B andon ma 9, and anna ma 12
                                                                                                                                                                                                                                                                                            (l kely CSS agents s nce the e a e no p o notes on th s). A l
                                                                                                                                                                                                                                                                                            attempted to help he and could dete m ne that funds we e n
                                                                                                                                                                                                                                                                                            fact m ss ng but we en't su e what had happened. I looked nto
                                                                                                                                                                                                                                                                                            the o g nal PNR, asked fo help f om mult ple people, and we e
                                                                                                                                                                                                                                                                                            able to dete m ne that, e the th ough agent e o o system
                                                                                                                                                                                                                                                                                            e o , a l of the RTF funds had been epeatedly com ngled and
                                                                                                                                                                                                                                                                                             ed st buted nco ectly so that T evo had mo e funds than he
                                                                                                                                                                                                                                                                                            should have, and Deja had less. We we e unable to detangle the
                                                                                                                                                                                                                                                                                            funds. Spoke to TL V ck and she sa d the best cou se of act on
                                                                                                                                                                                                                                                                                            would be to efund all the unused funds. I d d th s and ema led
                                                                                                                                                                                                                                                                                            pax a efund ece pt wh ch s attached to th s SR. You can fo low
                                                                                                                                                                                                                                    Agent e o esu ted n com ngled and mp ope ly             the money and RTFs below.
2231287913335   3/23/2018 PQU65K, TOM7JV, W6T8DC      CR/RR              Phone      Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                      Comment/Quest on
                                                                                                                                                                                                                                     ed st buted RTFs
                                                                                                                                                                                                                                                                                            O g nal PNR
                                                                                                                                                                                                                                                                                            $428.96 pe pe son
                                                                                                                                                                                                                                                                                            $1715.84 total

                                                                                                                                                                                                                                                                                            Unused
                                                                                                                                                                                                                                                                                            1. $173 45
                                                                                                                                                                                                                                                                                            2. $173 46
                                                                                                                                                                                                                                                                                            3. $173 46
                                                                                                                                                                                                                                                                                            4. $392 96
                                                                                                                                                                                                                                                                                            5. $337 08
                                                                                                                                                                                                                                                                                            Total Refund $1250.41

                                                                                                                                                                                                                                                                                            U
                                                                                                                                                                                                                                                                                            100%   VERIFIED
                                                                                                                                                                                                                                                                                            Calle 's Name
                                                                                                                                                                                                                                                                                            b.Membe s Name
                                                                                                                                                                                                                                                                                            c.Membe s RR Numbe
                                                                                                                                                                                                                                                                                            d.Contact Telephone Numbe
                                                                                                                                                                                                                                                                                            e.Contact E-Ma l Add ess
                                                                                                                                                                                                                                                                                            f.Flown PNR(s) K4I26G SMF ONT 20FEB 22 FEB QH4IHK SMF
                                                                                                                                                                                                                                                                                            ONT 25JAN 26JAN VVH84B SMF ONT 18SEP 19 SEP OE44WU
                                                                                                                                                                                                                                                                                            SMF ONT 20JUN 22JUN OH33SP SMF ONT 05JUN
                                                                                                                                                                                                                                                                                            g Passenge Name
                                                                                                                                                                                                                                                                                            h.Fl ght Date (s) 20FEB 22 FEB 25JAN 26JAN 18SEP 19 SEP
                                                                                                                                                                                                                                                                                            20JUN 22JUN 05JUN
                                                                                                                                                                                                                                                                                             .Type of Po nts (only nclude one) Standa d Po nts
                            K4I26G, QH4IHK, VVH84B,
2231999235706   3/28/2018                             CR/RR              Phone      Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   ECS PFP Inqu y
                            K4I26G, QH4IHK, VVH84B                                                                                                                                                                                                                                          , 100% VERIF ED
                                                                                                                                                                                                                                                                                            Calle 's Name
                                                                                                                                                                                                                                                                                            b.Membe s Name
                                                                                                                                                                                                                                                                                            c.Membe s RR Numbe
                                                                                                                                                                                                                                                                                            d.Contact Telephone Numbe
                                                                                                                                                                                                                                                                                            e.Contact E-Ma l Add ess
                                                                                                                                                                                                                                                                                            f.Flown PNR(s) K4I26G SMF ONT 20FEB 22 FEB QH4IHK SMF
                                                                                                                                                                                                                                                                                            ONT 25JAN 26JAN VVH84B SMF ONT 18SEP 19 SEP OE44WU
                                                                                                                                                                                                                                                                                            SMF ONT 20JUN 22JUN OH33SP SMF ONT 05JUN
                                                                                                                                                                                                                                                                                            g Passenge Name
                                                                                                                                                                                                                                                                                            h.Fl ght Date (s) 20FEB 22 FEB 25JAN 26JAN 18SEP 19 SEP
                                                                                                                                                                                                                                                                                            20JUN 22JUN 05JUN
                                                                                                                                                                                                                                                                                             .Type of Po nts (only nclude one) Standa d Po nts

                                                                                                                                                                                                                                                                                            Wendy pu chased a tkt fo he dea f end and had to cancel
                                                                                                                                                                                                                                                                                            due to he be ng ll. They we e go ng to eschedule but she
                                                                                                                                                                                                                                                                                            passed away ove the weekend. I adv as gog, we would be
                                                                                                                                                                                                                                    Custome pu chased tkt fo f end who just passed          happy to efund the tkt. I apol fo the loss.
2232029303520   3/28/2018 N3GVOA                      CR/RR              Phone      Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Comment/Quest on
                                                                                                                                                                                                                                    away                                                    I adv about 14 bus ness days fo p ocess ng. She was ve y
                                                                                                                                                                                                                                                                                            app ec at ve.

                                                                                                                                                                                                                                                                                            Cla m No 151085091
                                                                                                                                                                                                                                                                                            He lo,
                                                                                                                                                                                                                                                                                            I am a new A L st membe . Do I automat cally ece ve A g oup
2232393300557   3/29/2018 M6WTHL, M6WTHL              Rese vat ons       Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   A-L st                        Rese ved Check n                 Comment/Quest on   ask ng about A-L st check- n                            boa d ng? O do I have to check n? I thought I ead n the past
                                                                                                                                                                                                                                                                                            I could check n 36 hou s p o to boa d ng. I attempted that
                                                                                                                                                                                                                                                                                            and t d d not wo k. Thank you, n p, n c
                                                                                                                                                                                                                                                                                            Dea S /Madam,
                                                                                                                                                                                                                                                                                            k ndly cancel and p oceed w th the efund fo ese vat on
                                                                                                                                                                                                                                                                                            TEIWBB due to the fact that the passenge unable to to t avel
                                                                                                                                                                                                                                                                                            and has Med cal ce t f ca e . Please, subm t e mbu sement n
                                                                                                                                                                                                                                                                                            acco dance to the o g nal mode of payment.
2232414631214   3/30/2018 TEIWBB, TEIWBB              CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence                 Comment/Quest on   No/show. States med cal. equest ng docs
                                                                                                                                                                                                                                                                                            Thank you and ega ds,, no contact accts // no el SRs // no el
                                                                                                                                                                                                                                                                                            pa t es

                                                                                                                                                                                                                                                                                            suspended cla m, awa t ng docs
                                                                                                                                                                                                                                                                                            Cla m No 157433447
                                                                                                                                                                                                                                                                                         I flew w th my dog yeste day and want to thank you fo the
                                                                                                                                                                                                                                                                                         eff c ent and humane manne w th wh ch my dog, Bea was
                                                                                                                                                                                                                                    COMPLIMENT                                           t eated. He was ext emely ne vous and qu ve ng. The fl ght
                                                                                                                                                                                                                                    Custome was g ateful fo the eff c ent and humane     attendants allowed me to comfo t my pet. He was ve y qu et
2232751124897    4/1/2018 QIYGU9, QIYGU9              Execut ve Off ce   Web Fo m   Custome Se v ce                 SWA Company                   Company Se v ce Level         Ove all Rel ab l ty              Compl ment
                                                                                                                                                                                                                                    manne he pet was t eated! The Fl ght Attendants      and we l behaved and not a bothe to othe passenge s. I w ll
                                                                                                                                                                                                                                    allowed he to comfo t he qu ve ng pet.               make eve y effo t to use Southwest fo my t avel needs. Thank
                                                                                                                                                                                                                                                                                         you.
                                                                                                                                                                                                                                                                                                           no p no cnts
                                                                                                                                                                                                                                                                                         FLT 5374 delayed 51 m n due to MX
                                                                                                                                                                                                                                                                                         7 10pm fl ght, checked he bag at 6 21pm, 49 m n befo e he
                                                                                                                                                                                                                                                                                         fl ght, ve f ed n C us, techn cally checked on t me
                                                                                                                                                                                                                                                                                         LAXWN01915577 Inc dent epo t
                                                                                                                                                                                                                                    Bag was delayed, p cked t up n the mo n ng, wouldn't
                                                                                                                                                                                                                                                                                         Cla m No 157516598 50 slv, My baggage was not del ve ed
2232792616667    4/1/2018 TAZNI9, TAZNI9              CR/RR              Web Fo m   Baggage                         Checked                       Lost/Delayed Bag              Inconven enced/Se v ce Fa lu e   Compla nt           ssue compensat on at a po t, equest ng
                                                                                                                                                                                                                                                                                         when I a ved at the a po t, so I had to p ck t up th s mo n ng.
                                                                                                                                                                                                                                    compensat on fo nconven ence
                                                                                                                                                                                                                                                                                         When I made the nqu y fo compensat on, the f ont desk sa d
                                                                                                                                                                                                                                                                                         that I would ece ve a t avel vouche , but they would not g ve
                                                                                                                                                                                                                                                                                         me one when I went to p ck t up, so I would l ke to be
                                                                                                                                                                                                                                                                                         compensated fo the nconven ence.
                                                                                                                                                                                                                                                                                            Spoke to                  who stated she has t avel c ed t unde
                                                                                                                                                                                                                                                                                            he f ancé                   who s now deceased and she needs
                                                                                                                                                                                                                                                                                            to use the t avel c ed t howeve the t avel c ed t s n h s name
                                                                                                                                                                                                                                                                                            and she s unable to use t. She doesn't want a slv.
                                                                                                                                                                                                                                                                                            but wants to use t avel c ed t fo a d ff fl ght.
                                                                                                                                                                                                                                                                                             s nce ely apolog zed and adv sed that w l efund the t avel
                                                                                                                                                                                                                                                                                            c ed t back to fop as gog. Wh ch she d dn t want to because of
                                                                                                                                                                                                                                                                                            the t me f ame t may take, she just wants to use the tf to
                                                                                                                                                                                                                                    Spoke to Al sha Rayfo d who stated she has t avel       anothe fl ght.
                                                                                                                                                                                                                                    c ed t unde he f ancé M . Joseph W ll who s now           eached out to TL ku t s who adv sed to efund wh ch s best
2233059633876    4/3/2018 WLN63X                      CR/RR              Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty                  Compla nt          deceased and she needs to use the t avel c ed t         opt on.
                                                                                                                                                                                                                                    howeve the t avel c ed t s n h s name and she s         pax then stated that efund ng s not an opt on because the ca d
                                                                                                                                                                                                                                    unable to use t.                                        used wa             ca d. apolog zed and adv sed the except on
                                                                                                                                                                                                                                                                                            can make s to efund th s t cket he e.
                                                                                                                                                                                                                                                                                            she stated she s upset that we a en't able to g ve efund to a
                                                                                                                                                                                                                                                                                            d ff ca d that's not been used.
                                                                                                                                                                                                                                                                                            she asked f we can offe any compensat on fo the
                                                                                                                                                                                                                                                                                             nconven ence. apolog zed and adv sed we a e unable to offe
                                                                                                                                                                                                                                                                                            anyth ng.
                                                                                                                                                                                                                                                                                            she dec ded to go w th the non- t ansfe able except on -100
                                                                                                                                                                                                                                                                                             nstead of the efund.
                                                                                                                                                                                                                                                                                            Calle s Name

                                                                                                                                                                                                                                                                                            b.Contact Telephone Numbe

                                                                                                                                                                                                                                                                                            c.Contact Ema l Add ess

                                                                                                                                                                                                                                                                                            d.Exp ed PNR LJDNXQ

                                                                                                                                                                                                                                                                                            e.Passenge Name (s)

                                                                                                                                                                                                                                                                                            f.O g nal Exp at on Date of Funds 04/06/2018

                                                                                                                                                                                                                                                                                            g Exp ed RTF Balance 173.95
                          LJDNXQ, M5RQE7, LJDNXQ,
2233793642901    4/7/2018                             CR/RR              Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds   Re ssue Request                  Comment/Quest on   ECS RTF F nal 6 month extens on
                          M5RQE7                                                                                                                                                                                                                                                            PAX UPSET SHE HAS A SECOND CONFIRM LESS THAN 100 00 AND
                                                                                                                                                                                                                                                                                            WE ARE NOT ABLE TO EXTEND m5 qe7
                                                                                                                                                                                                                                                                                            , Ca le s Name

                                                                                                                                                                                                                                                                                            b.Contact Telephone Numbe

                                                                                                                                                                                                                                                                                            c.Contact Ema l Add ess

                                                                                                                                                                                                                                                                                            d.Exp ed PNR LJDNXQ

                                                                                                                                                                                                                                                                                            e.Passenge Name (s)

                                                                                                                                                                                                                                                                                            f.O g nal Exp at on Date of Funds 04/06/2018




                                                                                                                                                                                                                                                                                                                                           Appx. 123
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                            Page 124 of 571 PageID 296



                                                                                                                                                                                                                                                                               Refund ng OW EB as GOG. Cla m #s 157854178 // 157854238 //
                                                                                                                                                                                                                                                                               157854273 // 157854323., We pa d so much money fo fl ght
                                                                                                                                                                                                                                                                               plus fee fo ea ly boa d ng. At MCO we also had ea ly boa d ng.
                                                                                                                                                                                                                     Pax feels we should have ass gned seat ng, Afte           We whe e A32, by the t me we got on the plane t was ust
                                                                                                                                                                                                                     pu chas ng EB st ll d d not get to s t togethe . States   about full. My fam ly all had to be sepa ated. Th s s d culous,
2233862017957    4/7/2018 N9HOHA, N9HOHA              CR/RR          Web Fo m   Onboa d A c aft Expe ence    Onboa d Expe ence             Safety (Ope at onal)          Tu bulence               Compla nt
                                                                                                                                                                                                                     k ds we e te f ed du ng tu bulence, espec a ly s nce      that's the eason why we d d ea ly boa d ng. Why can't
                                                                                                                                                                                                                     they couldn't s t togethe                                 Southwest do ass gned seats? We had a ough fl ght leav ng
                                                                                                                                                                                                                                                                               MCO and go ng nto ISP we h t tu bulence due to h gh w nds. My
                                                                                                                                                                                                                                                                               daughte s we e te f ed due to that plus had to s t n alone. I
                                                                                                                                                                                                                                                                               th nk th s s unacceptable.
                                                                                                                                                                                                                                                                          He lo, I have had an acc dent and I (onl                  )
                                                                                                                                                                                                                                                                          Cannot t avel. I would l ke to cancel ese vat on only fo myself
                                                                                                                                                                                                                                                                          and my two othe f ends w l cont nue w th t p. PLease nfo m
                                                                                                                                                                                                                     Yvonne had an acc dent and s no longe able to t avel
2234134307415    4/9/2018 POHJOW, POHJOW              CR/RR          Web Fo m   Refunds                      Refund Request                T ckets/Fa es                 Non efundable            Comment/Quest on                                                        me about efunded amount.
                                                                                                                                                                                                                     s equest ng a efund of only he ese vat on.
                                                                                                                                                                                                                                                                                 , No Rel Pty, No Rel SR // Not cance led fo        // no
                                                                                                                                                                                                                                                                         act on taken
                                                                                                                                                                                                                                                                         Calle s Name
                                                                                                                                                                                                                                                                         Contact Telephone Numbe
                                                                                                                                                                                                                                                                         Contact Ema l Add ess
                                                                                                                                                                                                                                                                         Exp ed PNR PN5 QS
2234250973073    4/9/2018 PN5JQS, PN5JQS              CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request          Comment/Quest on   ECS F nal Re ssue                                   Passenge Name (s)
                                                                                                                                                                                                                                                                         O g nal Exp at on Date of Funds 04/08/2018
                                                                                                                                                                                                                                                                         Exp ed RTF Balance 254.46
                                                                                                                                                                                                                                                                         , Exp ed RTF extens on                                 - Cla m
                                                                                                                                                                                                                                                                         No 146293481 - $154.46
                                                                                                                                                                                                                                                                         I had p ev ously ema led a compla nt about the delay (ema l
                                                                                                                                                                                                                                                                          efe ence 2229820886449) that was ove an hou and I had
                                                                                                                                                                                                                                                                         m ssed my t ansfe nte nat onal fl ght to London. The efo e, I
                                                                                                                                                                                                                                                                         had to stay ove n ght n the Las Vegas a po t because I am
                                                                                                                                                                                                                                                                         unde 21 yea s old and could not f nd a hotel that I was able to
                                                                                                                                                                                                                                                                         check- n at.
                                                                                                                                                                                                                                                                         I now have to ema l South West AGAIN because I d d not ece ve
                                                                                                                                                                                                                                                                         my vouche code due to the nc dent. I was sent an ema l on
                                                                                                                                                                                                                                                                         Ma ch 16 about ece v ng a vouche code n a sepa ate ema l
                                                                                                                                                                                                                                                                         w th n 10 bus ness days. It's now Ap l 9th and I've been wa t ng
                                                                                                                                                                                                                                                                         to book anothe fl ght so that I can use the vouche .
                                                                                                                                                                                                                                                                         Th s s completely unacceptable fo not gett ng the
                                                                                                                                                                                                                                                                         compensat on that I am ent tled to.Th s has been the wo se
                                                                                                                                                                                                                     wb s 2229820886449
                            KWPITT, KWPITT, KWPITT,                                                                                                                                                                                                                      a l ne I have eve dealt w th. I w l make a fu the compla nt
2234252456537    4/9/2018                             CR/RR          Web Fo m   Othe                         CR W teback                   D sag ees/Rema ns Upset       Seek ng Escalat on       Compla nt          pax neve ece ved vouche //sent to t avel agency and
                            KWPITT, KWPITT                                                                                                                                                                                                                               about not follow ng th ough w th you wo d and pol c es.,
                                                                                                                                                                                                                     pa t ally used//upset w th CS ece ved ove all
                                                                                                                                                                                                                                                                         n c/n p/ elated SR, Phone notes f om 4/16 n elated SR

                                                                                                                                                                                                                                                                               Cla m No 156897149
                                                                                                                                                                                                                                                                               pax called n confused w/ he vouche s. sa d she has not
                                                                                                                                                                                                                                                                                ece ved anyth ng. expla ned eve yth ng that was go ng on to
                                                                                                                                                                                                                                                                               he and that she needed to check w/ t avel agency. expla ned
                                                                                                                                                                                                                                                                               that t avel company used pa t al of the vouche . adv sed we
                                                                                                                                                                                                                                                                               typ cally have to ssue to the ema l on the pn fo secu ty
                                                                                                                                                                                                                                                                                easons but I had pax ve fy eve yth ng fo me. adv sed I would
                                                                                                                                                                                                                                                                                e ssue out the $56.95 ema n ng to he ema l and I would ssue
                                                                                                                                                                                                                                                                               add t onal $50slv as gog fo e o /m scom. pax was app ec at ve.
                                                                                                                                                                                                                                                                               adv sed that she would p obably get an ema l f om Vanessa
                                                                                                                                                                                                                                                                               stat ng that we could not send anyth ng pax was ve y
                                                                                                                                                                                                                                                                               Calle 's Name
                                                                                                                                                                                                                                                                               Contact Telephone Numbe
                                                                                                                                                                                                                                                                               PNR ( f except on s due to dupl cate, nclude dupl cate PNR)
                                                                                                                                                                                                                                                                               Passenge name(s) and t cket numbe (s)
                                                                                                                                                                                                                                                                               T avel Date 10 ap l
                                                                                                                                                                                                                                                                               Scheduled Depa tu e T me (HH MM) 0605
                                                                                                                                                                                                                                                                               C ty Pa s den bna
                                                                                                                                                                                                                                                                               It ne a y cancellat on t mestamp 0556 am
                                                                                                                                                                                                                                                                               Agent ID ( f Passenge unchecked)
                            QIWE8D, QIWE8D, QIWE8D,                                                                                                                                                                                                                            If Custome subm tt ng docs, l st type docto note
2234434996769   4/10/2018                           CR/RR            Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Catast oph c Event       Comment/Quest on   ECS F nal Re ssue
                            QIWE8D                                                                                                                                                                                                                                             , C us located pn QIWE8D, added fl ght deta ls. No funds
                                                                                                                                                                                                                                                                               located, custome unchecked fo etu n fl ght, n ema ks does
                                                                                                                                                                                                                                                                               not nd cate no show. W ll send back to CR w/pn ., d opped
                                                                                                                                                                                                                                                                               funds to RTF and nfo med pax that funds we e not exp ed. -
                                                                                                                                                                                                                                                                               Roc o, No PNR p ov ded.
                                                                                                                                                                                                                                                                               Unsu e wh ch they a e equest ng.
                                                                                                                                                                                                                                                                               Sea ched C us w th pax name and fl ght date, found PNRs
                                                                                                                                                                                                                                                                               QIWE8D and SVR4UV.
                                                                                                                                                                                                                                                                               Ne the no showed.
                                                                                                                                                                                                                                                                               Rout ng back to CS&S fo ev ew/handl ng.

                                                                                                                                                                                                                                                                        H , my name
                                                                                                                                                                                                                                                                        I have some quest on. I booked a t cket fo my guest w th my
                                                                                                                                                                                                                                                                        Southwest Rap d ewa d v sa ca d.(unde my guest's name
                                                                                                                                                                                                                                                                                   ) I d d not add my ap d ewa d numbe because I
                                                                                                                                                                                                                                                                        made a ese vat on n the name of my guest ) And h s t avel
                                                                                                                                                                                                                                                                        schedule changed. So I d d cancel the t cket. How do I get c ed t
2236020920617   4/18/2018 ST9ZC9, ST9ZC9, ST9ZC9      CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   Fa es                         Wanna Get Away                Fa e Rules/Info mat on   Comment/Quest on   PAX seek ng answe about efundable to of he t cket. fo cancellat on? W l you put the c ed t to my Southwest Rap d
                                                                                                                                                                                                                                                                         ewa d o my v sa ca d? I'm wa t ng you answe .
                                                                                                                                                                                                                                                                        -my name/ Rap d ewa d #                  / 20579324102
                                                                                                                                                                                                                                                                        -conf mat on # ST9ZC9
                                                                                                                                                                                                                                                                        -guest's name              , No elated pa t es//No elated SRs,
                                                                                                                                                                                                                                                                        NTE
                                                                                                                                                                                                                                                                        NTE M sc Cla m No 158147357

                                                                                                                                                                                                                                                                               My husband and I a e fly ng to St Lou s and a e cu ently on the
                                                                                                                                                                                                                                                                               same fl ghts, same conf mat on numbe PETISR, leav ng out
                                                                                                                                                                                                                                                                               ofBWI My husband would l ke to change h s fl ght to leave a day
2236216159617   4/20/2018 PETISR, PETISR              Rese vat ons   Web Fo m   southwest.com                P oduct/Funct onal ty         Change/Cancel It ne a y       Web S te Nav gat on      Comment/Quest on   Would l ke to only change one pe sons ese vat on          ea l e and f om a d ffe ent a po t (DCA). Can th s be done w th
                                                                                                                                                                                                                                                                               the cu ent ese vat on, o w ll I need to cancel h s fl ght and
                                                                                                                                                                                                                                                                                emake the ese vat on w th the d ffe ent outgo ng fl ght?
                                                                                                                                                                                                                                                                               thanks            , ema l                              n p/ctcs

                                                                                                                                                                                                                                                                               Dea S /Madam,
                                                                                                                                                                                                                                                                               k ndly p oceed w th the fu l efund fo ese vat on L39UOA due
                                                                                                                                                                                                                                                                               to the fact that fl ght was cance led/ escheduled by a l ne.
                                                                                                                                                                                                                                                                               Please, subm t e mbu sement n acco dance to the o g nal
                                                                                                                                                                                                                                                                               mode of payment.
                                                                                                                                                                                                                     Pax seek ng efund of flown tkts bc Flt 1784 was cxld
2236397578335   4/21/2018 L39UOA, L39UOA, L39UOA      CR/RR          Web Fo m   Refunds                      Refund Request                T ckets/Fa es                 Non efundable            Comment/Quest on
                                                                                                                                                                                                                     and e nstated. Landed 10 m n ea ly ..                     Thank you and ega ds, no el contacts/ SRs, Pax seek ng a full
                                                                                                                                                                                                                                                                                efund of Pn L39UOA bc Flt 1784 was cxld and then e nstated.
                                                                                                                                                                                                                                                                               F t 1784 eventua ly landed 10 m n ea ly....

                                                                                                                                                                                                                                                                               I ema led Pax adv we w l not g ve a efund s nce t avel was
                                                                                                                                                                                                                                                                               p ov ded.

                                                                                                                                                                                                                                                                               Pax cla ms to have a ved at a po t 20 m ns afte depa tu e. Pax
                                                                                                                                                                                                                                                                               says that agent t ed to eaccom he but the ea l est flt ava lable
                                                                                                                                                                                                                                                                               would not have gotten he to he meet ng n t me. Pax says that
                                                                                                                                                                                                                                                                               she left tkt counte and went to see what flts the othe ca e s
                                                                                                                                                                                                                                                                               had ava lable then left the a po t a ound 6 25am. Apolog zed
                                                                                                                                                                                                                                                                               fo the nconven ence and expla ned 2 h ule. Info med he that
                                                                                                                                                                                                                                                                               I am unable to speak to the convo she had w th agent and I was
                                                                                                                                                                                                                                                                               not su e why he tkt was not cxld b4 t no showed. Adv pax to
                                                                                                                                                                                                                      efund equest due to attempt to ebook/employee
2237453798280   4/27/2018 K52AD9                      CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Employee E o             Comment/Quest on                                                             send a copy of pa k ng ece pt w th t me stamps n o de to be
                                                                                                                                                                                                                     e o
                                                                                                                                                                                                                                                                               evaluated fo a GOG efund.

                                                                                                                                                                                                                                                                               CB#-310-363-5246


                                                                                                                                                                                                                                                                               ***UPDATE**** dox ece ved. Pa tene ed wTL-Pat ce and was
                                                                                                                                                                                                                                                                               adv to ssue efund as GOG.
                                                                                                                                                                                                                                                                               Cla m No 158458049
                                                                                                                                                                                                                                                                               Calle 's Name

                                                                                                                                                                                                                                                                               b.Contact Telephone Numbe

                                                                                                                                                                                                                                                                               c PNR ( f except on s due to dupl cate, nclude dupl cate PNR)
                                                                                                                                                                                                                                                                               QXUWUT

                                                                                                                                                                                                                                                                               d.Passenge name(s) and t cket numbe (s)

                                                                                                                                                                                                                                                                               e.T avel Date 26ap 18 - 30ap 18

                                                                                                                                                                                                                                                                               f.Scheduled Depa tu e T me (HH MM) 09 00
                          QXUWUT, QZ8EY8,
                          QXUWUT, QZ8EY8,                                                                                                                                                                            ECS no show                                               g C ty Pa s MDW DCA
2237472274471   4/27/2018                             CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Employee E o             Comment/Quest on
                          QXUWUT, QZ8EY8,                                                                                                                                                                            Des lu
                          QXUWUT, QZ8EY8                                                                                                                                                                                                                                       h.It ne a y cance lat on t mestamp 11 00

                                                                                                                                                                                                                                                                               .Agent ID ( f Passenge unchecked)

                                                                                                                                                                                                                                                                               j.If Custome subm tt ng docs, l st type

                                                                                                                                                                                                                                                                                         states he had ca led on 12feb18 to cance
                                                                                                                                                                                                                                                                                ese vat on         was spl t f om o g nal ese vat on ( QZ8EY8)
                                                                                                                                                                                                                                                                               but not canceled caus ng a NO SHOW and a fo fe tu e of funds. I
                                                                                                                                                                                                                                                                               expla ned to           that CR has to be contacted v a .com and I
                                                                                                                                                                                                                                                                               would subm t th s equest on h s behalf anyway.
                                                                                                                                                                                                                                                                               , Ca le 's Name




                                                                                                                                                                                                                                                                                                                                Appx. 124
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                                                                                                                                                                                                                                                                                   ev ewed and made C am awa e of Custome s conce ns
                                                                                                                                                                                                                                                                                  called and adv. that on he and he husband's OB Fl ght 3638
                                                                                                                                                                                                                                                                                  he husband sat next to a g l who was cough ng and sneez ng
                                                                                                                                                                                                                                                                                  the ent e fl ght and got them ext emely s ck. pax stated she s
                                                                                                                                                                                                                                                                                  st ll s ck and has an uppe epe to y nfect on and has to go the
                                                                                                                                                                                                                                                                                  docto fo a second t me today. she adv. they went to MCO to
                                                                                                                                                                                                                                                                                  go to D sneywo ld wh ch was on he bucket l st but she couldn't
                                                                                                                                                                                                                                                                                  even go because of how s ck she was and st l s. I apolog zed
                                                                                                                                                                                                                                                                                  that that happened espec ally s nce she st ll wasn't feel ng well. I
                                                                                                                                                                                                                                                                                  adv. unfo tunately we a en't able to know eve y s ngle
                                                                                                                                                                                                                                                                                  passenge 's health status and t s not someth ng we sc een p o
                                                                                                                                                                                                                           pax s upset that he and he husband a e now s ck        to custome s boa d ng. adv. th s sn't a s tuat on we would be
2237957104519   4/30/2018 R3MOZS, R3MOZS              CR/RR          Phone      Onboa d A c aft Expe ence       Onboa d Expe ence             Med cal S tuat on             llness                      Compla nt          because we allowed anothe passenge who was s ck        able to comp fo as she wanted he fl ght t ckets efunded. She
                                                                                                                                                                                                                           to t avel                                              stated SWA should not have allowed a passenge that ll to
                                                                                                                                                                                                                                                                                  boa d the l ght and that she would take t to he atto ney f she
                                                                                                                                                                                                                                                                                  needed to and that she was go ng to w te a lette to ou
                                                                                                                                                                                                                                                                                  p es dent. I adv. f she fe t ll f om someth ng a bo ne n the
                                                                                                                                                                                                                                                                                  plane tse f t would go th ough a d ffe ent p ocess but as fa as
                                                                                                                                                                                                                                                                                  anothe custome be ng ll that s out of SWAs cont ol. she then
                                                                                                                                                                                                                                                                                  at that po nt sa d then t was someth ng n the a c aft.
                                                                                                                                                                                                                                                                                  ult mately I gave he nfo mat on to subm t a cla m th ough
                                                                                                                                                                                                                                                                                  onboa d nju y p ocess. she thanked me fo the nfo mat on and
                                                                                                                                                                                                                                                                                  d sconnected the call. I spoke w th TL V ck who has th s SR f
                                                                                                                                                                                                                                                                                  th s s tuat on gets escalated o needs to be fu the efe enced
                                                                                                                                                                                                                                                                                  mov ng fo wa d.

                                                                                                                                                                                                                                                                                  I ece ved not ce of a p omot on to atta n A l st status f fly 6
                                                                                                                                                                                                                                                                                  segments between 1/29/2018 and 4/30/2018. I d d but don t
                                                                                                                                                                                                                                                                                  see A l st status on my ap d ewa ds account. Can you let me
                                                                                                                                                                                                                                                                                  know when that w ll show?, I ece ved not ce of a p omot on to
                                                                                                                                                                                                                                                                                  atta n A l st status f ly 6 segments between 1/29/2018 and
                                                                                                                                                                                                                                                                                  4/30/2018. I d d but don't see A l st status on my ap d ewa ds
                                                                                                                                                                                                                                                                                  account. Can you let me know when that w l show?, I ece ved
                                                                                                                                                                                                                                                                                  not ce of a p omot on to atta n A l st status f fly 6 segments
                                                                                                                                                                                                                                                                                  between 1/29/2018 and 4/30/2018. I d d but don t see A l st
                                                                                                                                                                                                                                                                                  status on my ap d ewa ds account. Can you let me know when
                                                                                                                                                                                                                                                                                  that w ll show?, I ece ved not ce of a p omot on to atta n A l st
                          LC5VOQ, MPC7KT, PNSRP6,
                                                                                                                                                                                                                                                                                  status f fly 6 segments between 1/29/2018 and 4/30/2018. I
                          R8WKHV, LC5VOQ, MPC7KT,
                                                                                                                                                                                                                                                                                  d d but don t see A l st status on my ap d ewa ds account.
                          PNSRP6, R8WKHV, LC5VOQ,                                                                                                                                                                          Pax adv sed completed T&Cs and equest ng status
                                                                                                                                                                                                                                                                                  Can you let me know when that w ll show?, No el pty / No el
2238386431437    5/2/2018 MPC7KT, PNSRP6, R8WKHV, CR/RR              Web Fo m   Rap d Rewa ds                   P omot ons                    Reg st at on                  Fa led to eg ste            Compla nt          update
                                                                                                                                                                                                                                                                                  SR, No el pty / No el SR, No el pty / No el SR, No el pty / No
                          LC5VOQ, MPC7KT, PNSRP6,                                                                                                                                                                          Rel SR 2238739257077
                                                                                                                                                                                                                                                                                   el SR, Rec'd esponse f om CRAM - Its a no, attached ema l w th
                          R8WKHV, LC5VOQ, MPC7KT,
                                                                                                                                                                                                                                                                                   esolut on to SR.
                          PNSRP6, R8WKHV
                                                                                                                                                                                                                                                                                  called pax no answe lvm adv sed w ll ema l, Rec'd esponse
                                                                                                                                                                                                                                                                                  f om CRAM - Its a no, attached ema l w th esolut on to SR.
                                                                                                                                                                                                                                                                                  called pax no answe lvm adv sed w ll ema l, Rec'd esponse
                                                                                                                                                                                                                                                                                  f om CRAM - Its a no, attached ema l w th esolut on to SR.
                                                                                                                                                                                                                                                                                  called pax no answe lvm adv sed w ll ema l, Rec'd esponse
                                                                                                                                                                                                                                                                                  f om CRAM - Its a no, attached ema l w th esolut on to SR.
                                                                                                                                                                                                                                                                                  called pax no answe lvm adv sed w ll ema l, Requested CRAM
                                                                                                                                                                                                                                                                                  except on, wa t ng fo esponse
                                                                                                                                                                                                                                                                                  MPC7KT Booked 1/31/18 t aveled 2/6/18 - 1 segment
                                                                                                                                                                                                                                                                                  Zϴt<,s ŽŽŬĞĚ ϯͬϳͬϭϴ ƚ ĂǀĞůĞĚ ϯͬϮϲͬϭϴ Ͳ ͬƚ Ϯ ƐĞŐŵĞŶƚƐ
                                                                                                                                                                                                                                                                                  PNSRP6 Booked 3/23/18 t aveled 4/15/18 - /t 2 segments
                                                                                                                                                                                                                                                                                  Custome was double cha ged fo ea lyb d unde PNR PMCROV.
2238572020329    5/3/2018 PMCROV                      CR/RR          Phone      southwest.com                   P oduct/Funct onal ty         Ea lyB d                      Refund Request              Comment/Quest on   double cha ged w th EB                                 I went ahead and efunded the double cha ge n ARD. Thank
                                                                                                                                                                                                                                                                                  you
                                                                                                                                                                                                                                                                                  I ece ved you esponse to SR #2238386431437. It s eg ettable
                                                                                                                                                                                                                                                                                  and d shea ten ng that you won't cons de 8,748 po nts as close
                                                                                                                                                                                                                                                                                  enough to 8 750 to g ve me A L st status. Desp te that fact, f
                                                                                                                                                                                                                                                                                  you look at my ecent act v ty, you w ll see that I flew f om JAX
                                                                                                                                                                                                                                                                                  to PIT on 2/6/2018, CLE to MKE on 2/16/2018, MKE to CLE on
                                                                                                                                                                                                                                                                                  2/19/2018, PIT to LGA on 3/26/2018, LGA to PIT on 3/27/2018,
                                                                                                                                                                                                                                                                                  PIT to DTW on 4/15/2018 and DTW to PIT on 5/17/2018. That's
                                                                                                                                                                                                                                                                                  7 segments and the equ ement was 6. That should g ve me A
                                                                                                                                                                                                                                                                                  L st status. I went out of my way to schedule the last 2 t ps on
                                                                                                                                                                                                                                                                                  Southwest w th sl ghtly bette ly ng t mes of othe a l nes.
                            LC5VOQ, MPC7KT, PNSRP6,                                                                                                                                                                                                                               Please let me know f you ag ee that my 7 segments sat sf es the
                            R8WKHV, LC5VOQ, MPC7KT,                                                                                                                                                                                                                               6 segment equ ement. It would be bad f I went out of my
                            PNSRP6, R8WKHV, LC5VOQ,                                                                                                                                                                                                                               way fo noth ng., I ece ved you esponse to SR
                                                                                                                                                                                                                           WB to 2238386431437 // Pax came close to meet ng
                            MPC7KT, PNSRP6, R8WKHV,                                                                                                                                                                                                                               #2238386431437. t s eg ettable and d shea ten ng that you
2238739257077    5/4/2018                           CR/RR            Web Fo m   Othe                            CR W teback                   D sag ees/Rema ns Upset       Upset w th Pol cy           Compla nt          qual f cat ons fo ALIST T e Challenge // Request ng
                            LC5VOQ, MPC7KT, PNSRP6,                                                                                                                                                                                                                               won't cons de 8 748 po nts as close enough to 8,750 to g ve me
                                                                                                                                                                                                                           except on
                            R8WKHV, LC5VOQ, MPC7KT,                                                                                                                                                                                                                               A L st status. Desp te that fact, f you look at my ecent act v ty,
                            PNSRP6, R8WKHV, LC5VOQ,                                                                                                                                                                                                                               you w l see that I flew f om JAX to PIT on 2/6/2018, CLE to MKE
                            MPC7KT, PNSRP6, R8WKHV                                                                                                                                                                                                                                on 2/16/2018, MKE to CLE on 2/19/2018, PIT to LGA on
                                                                                                                                                                                                                                                                                  3/26/2018, LGA to PIT on 3/27/2018, PIT to DTW on 4/15/2018
                                                                                                                                                                                                                                                                                  and DTW to PIT on 5/17/2018. That's 7 segments and the
                                                                                                                                                                                                                                                                                   equ ement was 6. That should g ve me A L st status. I went
                                                                                                                                                                                                                                                                                  out of my way to schedule the last 2 t ps on Southwest w th
                                                                                                                                                                                                                                                                                  sl ghtly bette fly ng t mes of othe a l nes. Please let me know
                                                                                                                                                                                                                                                                                   f you ag ee that my 7 segments sat sf es the 6 segment
                                                                                                                                                                                                                                                                                   equ ement. t would be bad f I went out of my way fo
                                                                                                                                                                                                                                                                                  noth ng., I ece ved you esponse to SR #2238386431437. It s
                                                                                                                                                                                                                                                                                   eg ettable and d shea ten ng that you won't cons de 8,748
                                                                                                                                                                                                                                                                                  po nts as close enough to 8 750 to g ve me A L st status Desp te
                                                                                                                                                                                                                                                                                  Dea team,
                                                                                                                                                                                                                           pax eq fu l efund of cance led FLT that he was
2239193703954    5/7/2018 KAXHF4, KAXHF4              CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                    Reaccom Same Day            Compla nt                                                                 we would l ke to apply fo full efund of cancelled fl ght by you
                                                                                                                                                                                                                            eaccommed same day on.
                                                                                                                                                                                                                                                                                  s de., No el contacts, no el SR's
                                                                                                                                                                                                                                                                                  Cla m No 158844657
                                                                                                                                                                                                                                                                                  ϬϱͬϬϳͬϮϬϭϴ ϭϮ ϱϭ Dϭϯϭϲϲϰ ^&KtEϬϭ' ^hͬ^Ͳ ZY^<
                                                                                                                                                                                                                                                                                  NOTE INDICATE FLT 6275 LEFT AT 22 55 FLT SCH 20 55
                                                                                                                                                                                                                                                                                  ͬ&ZZ, ^E^KE
                                                                                                                                                                                                                                                                                  SK NOTE WANTED COMP FOR THE ERROR ADVISE PAX TO
                                                                                                                                                                                                                                                                                  ͬ&ZZ, ^E^KE
                                                                                                                                                                                                                                                                                  SK NOTE CONTACT PARTY WHO MADE HER RESERVATIONS
                                                                                                                                                                                                                                                                                  /FARRAH SENSON

                                                                                                                                                                                                                                                                                  ϬϱͬϬϲͬϮϬϭϴ ϭϭ Ϭϰ WD^D^/^E^ >tEϬϭE
                                                                                                                                                                                                                                                                                  ^h>tEϬϴϰϲϯϲϴϲΛ/Z>/E͘</t/͘KD ddDWd KhEd
                                                                                                                                                                                                                                                                                  1-NL-ATTEMPT DATE AND T ME 2018-05-06T23 03 54.000-05 00
                                                                                                                                                                                                                                                                                  Z^h>d K >/sZ dyd D^'Ͳ
                                                                                                                                                                                                                                                                                  E>Ͳ
                                                                                                                                                                                                                           TA equest ng comp on behalf of pax fo schedule
                            NL9TQ8, NL9TQ8, NL9TQ8,                                                                                                                                                                                                                               KD^z^ ,Y ϬϲDzϮϬϭϴ ϭϭϬϰW ϲ
2239384650717    5/8/2018                             CR/RR          Web Fo m   A po t Expe ence                Boa d ng/Den ed Boa d ng      Boa d ng                      M ssed Fl ght               Compla nt           eaccom and not ece v ng ema l of the change unt l
                            NL9TQ8                                                                                                                                                                                                                                                FLT 6275 DEP DATE MAY 06 2018 -NL-DEP SFO ARR PHX-NL-PAX
                                                                                                                                                                                                                           last m nute
                                                                                                                                                                                                                                                                                  FARRAH MICHELLE A SENSON-NL-ALERT ID FLIGHT DELAY-NL-
                                                                                                                                                                                                                                                                                  MEDIA ADDRESS 5, Dea Team,

                                                                                                                                                                                                                                                                                  On behalf of ou mutual custome , I would l ke to f le a
                                                                                                                                                                                                                                                                                  compla nt fo the follow ng eason

                                                                                                                                                                                                                                                                                The fl ght was escheduled, about wh ch we we e nfo med only
                                                                                                                                                                                                                                                                                last m nute so we d d not have enough t me to fo wa d th s key
                                                                                                                                                                                                                                                                                message to the custome . She and he ch ld en a ved to the
                                                                                                                                                                                                                                                                                a po t on 06 MAY n the even ng to lea n the e was a change n
                                                                                                                                                                                                                                                                                schedule and she was fo ced to wa t hou s ove n ght at the
                                                                                                                                                                                                                                                                                a po t fo he fl ght.
                                                                                                                                                                                                                                                                                To exclude the poss b l ty the e was an ssue on ou end I called
                                                                                                                                                                                                                                                                                Pax equest ng efund due to med cal, n efe ence to SR
                                                                                                                                                                                                                           Request ng efund fo no show t cket. Insuff c ent dox
2239756644791   5/10/2018 TEIWBB                      CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence            Compla nt                                                               2232414631214. Pax has subm tted nsuff c ent dox fo th s
                                                                                                                                                                                                                            ece ved.
                                                                                                                                                                                                                                                                                 equest. Thanks, Racquel
                                                                                                                                                                                                                                                                                He lo I would l ke to apply fo an a po t tax efund, as th s fl ght
                                                                                                                                                                                                                                                                                was not used by us , no el pty cnts
                                                                                                                                                                                                                                                                                 ema ks show IROP
                                                                                                                                                                                                                                                                                 ema ks also show lt 318 was unchecked and Pax ebooked on
                                                                                                                                                                                                                                                                                fl ght 828 and flew, P oof ng adv sed to ca l but numbe does
                                                                                                                                                                                                                                                                                not wo k. O g nally scheduled to t avel on 05/03, t aveled next
                                                                                                                                                                                                                                                                                day nstead. Ca olyn conf med these Pax we e the last to boa d
                                                                                                                                                                                                                           5/28/18 Repo t Due                                   F t #828 on 05/04
                            MDKFMS, MDKFMS,
2239940369125   5/11/2018                             CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on   Request ng a po t tax efund fo Inte nat onal PNR
                            MDKFMS, MDKFMS
                                                                                                                                                                                                                           s nce pax says he d d not use tkt                    Pax we e checked n fo F t #828 on 05/03 at 9 48 pm, got B48
                                                                                                                                                                                                                                                                                and B49. Only ema ks n pn RETURN MAY 19 TUI AIRLINES .
                                                                                                                                                                                                                                                                                No Sop 's fo th s s tuat on., Unable to f gu e out why pax d d
                                                                                                                                                                                                                                                                                not t avel on o g nal fl ght. It ope ated as scheduled. No SOPI,
                                                                                                                                                                                                                                                                                no CIRRUS ema ks.

                                                                                                                                                                                                                                                                                  Please equest FLL G ound Ops epo ts fo Fl ght #318 5/3/2018.
                                                                                                                                                                                                                                                                                  Thanks-Jeana' CR/RR
                                                                                                                                                                                                                                                                                  Acco d ng to my ese vat on th ough KIWI, fl ght WN1700 on
                                                                                                                                                                                                                                                                                  May 29th s leav ng Salt Lake C ty to Oakland at 1.15pm. Can you
                                                                                                                                                                                                                                                                                  please conf m the date and t me?
2240269468990   5/13/2018 J74O4E, J74O4E, J74O4E      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Custome wants to ve fy ese vat on
                                                                                                                                                                                                                                                                                  Thank you,
                                                                                                                                                                                                                                                                                  To h ld Sh ley, n p/n c, Sent ece pt to custome conf m ng
                                                                                                                                                                                                                                                                                   ese vat on




                                                                                                                                                                                                                                                                                                                                     Appx. 125
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                                                                                                                                                                                                                                                                                 Pax stat ng due to GA e o he tkt was put n WGA No Show.
                                                                                                                                                                                                                                                                                 Pax adv she was on the AC and d d t avel-- tkt should not have
                                                                                                                                                                                                                                                                                 been put n No Show status.
                                                                                                                                                                                                                                                                                 She stated she s t avel ng w/ he elde ly mothe and would not
                                                                                                                                                                                                                                                                                 have left he alone.
                                                                                                                                                                                                                                                                                 Pax adv because of e o , she had to take t me away she would
                                                                                                                                                                                                                                                                                 have been spend ng w/ he son who s n the m l ta y to ebook
                                                                                                                                                                                                                                                                                 he self and f x the e o .
                                                                                                                                                                                                                                                                                 Pax s upset stat ng she w ll not know when she w l get to see
                                                                                                                                                                                                                                                                                 he son aga n as he s n the m l ta y.
                                                                                                                                                                                                                                                                                 Pax adv the CS&S agent she spoke w/ was ude and was ns st ng
                                                                                                                                                                                                                                                                                 she was not on the AC.
                                                                                                                                                                                                                                                                                 Pax stated they we e able to ebook he , but s upset w/ the
                                                                                                                                                                                                                               Pax stat ng due to GA e o he tkt was put n WGA No poo custome se v ce she ec'd and the t me she m ssed w/ he
2240441182644   5/14/2018 SXF8DH, TUGS8K, W7YAFB      CR/RR          Phone      Custome Se v ce                 Pe sonnel                     Employee Se v ce Level        Handl ng of S tuat on           Compla nt
                                                                                                                                                                                                                               Show.                                             son.
                                                                                                                                                                                                                                                                                 Pax then stated when they we e about to boa d, the gate
                                                                                                                                                                                                                                                                                 changed completely and she had to move he mothe n a
                                                                                                                                                                                                                                                                                 wheelcha along w/ all the luggage.
                                                                                                                                                                                                                                                                                 Pax s upset w/ ove all s tuat on.

                                                                                                                                                                                                                                                                                      O g PNR w/ mothe TUGS8K
                                                                                                                                                                                                                                                                                      No Show W7YAFB
                                                                                                                                                                                                                                                                                      Cu ent SXF8DH

                                                                                                                                                                                                                                                                                      Apol to pax fo ove all exp.
                                                                                                                                                                                                                                                                                      Adv I am doc as a fo mal compla nt on he behalf.
                                                                                                                                                                                                                                                                                      Adv to nv te he and he mothe back fo a mo e typ cal
                                                                                                                                                                                                                                                                                      southwest exp I am ssu ng $150 SLV

                                                                                                                                                                                                                                                                                      I got cha ged tw ce fo the W F se v ce du ng my fl ght, then t
                                                                                                                                                                                                                                                                                      would not let me log n on the second leg of my fl ght f om
                                                                                                                                                                                                                                                                                      Da las to Aust n. Please contact me and let me know f we can
                                                                                                                                                                                                                                                                                      get one of the cha ges c ed ted.

                                                                                                                                                                                                                                                                                      Thank you,
                                                                                                                                                                                                                                                                                      R cky Meek, Mov ng to IHQ as the e a e not Reps cu ently game-
                                                                                                                                                                                                                               Onboa d A c aft Expe ence Pa d W F dupl cate           planned to wo k Resolut ons., el pty s m la conce ns/n c ,
                            V5XPEN, V5XPEN, V5XPEN,
2241780351197   5/21/2018                             CR/RR          Web Fo m   Onboa d A c aft Expe ence       Amen t es/Stowage/Seat ng     W F Pa d                      Dupl cate Cha ges/Rece pt Req   Compl ment         cha ges and then could not log nto the w f on the       e out ng to CR fo fu the ev ew/handl ng fo Refund Request
                            V5XPEN
                                                                                                                                                                                                                               second leg. Wants one cha ge efunded.                  dupl cate cha ges fo Pa d W F , cky.meek@aust n. com/
                                                                                                                                                                                                                                                                                      20019479535/ V5XPEN/A-L st. no el pty. no el SRs.no accts to
                                                                                                                                                                                                                                                                                      me ge. I conf med n Nub ll that they had 2 cha ges.

                                                                                                                                                                                                                                                                                      ^ƵĐĐĞƐƐDĂƐƚĞ Ă Ěϳϭϰϵ^ĂůĞϴ͘ϬϬ h^ϱͬϭϴͬϮϬϭϴ ϴ ϭϳ
                                                                                                                                                                                                                                                                                      DϬϲϰϯϮϭϬϬDƉƉ ŽǀĞĚt/&/tEϲϵϱ^:
                                                                                                                                                                                                                                                                                      ^ƵĐĐĞƐƐDĂƐƚĞ Ă ĚϳϭϰϵZĞĨƵŶĚϴ͘ϬϬ h^ϱͬϮϭͬϮϬϭϴ ϭϭ Ϭϴ
                                                                                                                                                                                                                                                                                      DϭDt/&/tEϲϵϱ^:^Zs/ͺ/ͺEKdͺtKZ<


                                                                                                                                                                                                                                                                                      100% ve f ed
                                                                                                                                                                                                                                                                                      Calle s Name
                                                                                                                                                                                                                                                                                      Contact Telephone Numbe
                                                                                                                                                                                                                                                                                      Contact Ema l Add ess
                                                                                                                                                                                                                                                                                      Exp ed PNR JVOBV3
2242081158419   5/22/2018 JVOBV3, JVOBV3              CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request                 Comment/Quest on   ECS F nal Re ssue
                                                                                                                                                                                                                                                                                      Passenge Name (s)
                                                                                                                                                                                                                                                                                      O g nal Exp at on Date of Funds 04/05/2018
                                                                                                                                                                                                                                                                                      Exp ed RTF Balance 329.96
                                                                                                                                                                                                                                                                                      , Cla m No 147940858

                                                                                                                                                                                                                                                                                       efunded tkt
                                                                                                                                                                                                                                                                                      Cla m No 159720851
                                                                                                                                                                                                                               flt canceled due to atc - equest ng efund of tkt and
2243704753099    6/1/2018 PTV7AO, PVIWQN              CR/RR          Phone      Refunds                         Refund Request                T ckets/Fa es                 Non efundable                   Comment/Quest on                                                          Cla m No 159798078, efunded tkt
                                                                                                                                                                                                                               eb
                                                                                                                                                                                                                                                                                      Cla m No 159720851
                                                                                                                                                                                                                                                                                      Cla m No 159798078
                                                                                                                                                                                                                                                                                I was t y ng to pu l up my fl ght, but t s not show ng. Can you
                                                                                                                                                                                                                               Custome nqu ng about upcom ng fl ght not show ng please check on you s de, and also see f the eg st at on fo the
2244268431467    6/4/2018 OPVJ6C, OPVJ6C              Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   My Southwest com              Next Sch Fl ght Not Show ng     Comment/Quest on
                                                                                                                                                                                                                               and nqu ng about po nts post ng                  ext a po nts p omot on s show ng as well?
                                                                                                                                                                                                                                                                                Thank you!, no el pty/no contacts
                                                                                                                                                                                                                                                                                      I have equested tw ce now fo Conf# SQGQ4E be ema led to
                                                                                                                                                                                                                                                                                      both                  and I, and have yet to ece ve.
                                                                                                                                                                                                                                                                                      Please ema l s fl g t conf mat on and t ne a y to
2244365190897    6/5/2018 SQGQ4E, SQGQ4E              Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   t ne a y Rep nt/Rece pts        Comment/Quest on   Request ng ema l fo fl ght.                                                    and                          .
                                                                                                                                                                                                                                                                                      Thank you.
                                                                                                                                                                                                                                                                                                         el pty d ff ss no cnts
                                                                                                                                                                                                                                                                                      c us esent ece pt to ema ls n SR

                                                                                                                                                                                                                                                                                      PNR MFWMQ3
                                                                                                                                                                                                                                                                                      PAX
                                                                                                                                                                                                                                                                                      Cla m No 160042307
                                                                                                                                                                                                                                                                                      Refunded No Show t cket n the amount of $85.98 unde Cla m
                                                                                                                                                                                                                                                                                      No 160042307 to CC 2250 fo d d not t avel on o g nal PNR
                                                                                                                                                                                                                                                                                      MFWMQ3. Ma ked used n e o at the a po t . O g nal PNR
                                                                                                                                                                                                                                                                                      neve CXLD, no-show appl ed so Custome unable to t avel.
2244992351791    6/8/2018 MFWMQ3                      CR/RR          Phone      Rese vat ons/T ckets/Fa es      E Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence                Compla nt          WGA NS Refund Request

                                                                                                                                                                                                                                                                                      PAX
                                                                                                                                                                                                                                                                                      Cla m No 160042341
                                                                                                                                                                                                                                                                                      Refunded No Show t cket n the amount of $85.98 unde Cla m
                                                                                                                                                                                                                                                                                      No 160042341 to CC 2250 fo d d not t avel on o g nal PNR
                                                                                                                                                                                                                                                                                      MFWMQ3. Ma ked used n e o at the a po t . O g nal PNR
                                                                                                                                                                                                                                                                                      neve CXLD, no-show appl ed so Custome unable to t avel.

                                                                                                                                                                                                                                                                                      H,

                                                                                                                                                                                                                                                                                      I changed f om my fl ght f om DAL - DEN f om 6 40pm to
                                                                                                                                                                                                                                                                                      4 00pm yeste day and pa d a $92 change fee. Could you please
2245059325501    6/8/2018 TN63IE, TN63IE              Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   t ne a y Rep nt/Rece pts        Comment/Quest on   Need ece pt fo change.                                 e-ma l me a ece pt?

                                                                                                                                                                                                                                                                                      Thank you , no el pty cnts
                                                                                                                                                                                                                                                                                      CIRRUS found book ng w th ema l add flt deta ls
                                                                                                                                                                                                                                                                                      send ece pt
                                                                                                                                                                                                                                                                                     I was due to fly w th you f om Ind anapol s to New Yo k on 12th
                                                                                                                                                                                                                                                                                     June 2018.
                                                                                                                                                                                                                                                                                     Th s was one of 3 fl ghts wh ch would eventually b ng me home
                                                                                                                                                                                                                                                                                     to England on 13th June. Th s fl ght was delayed by 3 hou s and
                                                                                                                                                                                                                                                                                     I the efo e m ssed the connect ng fl ght. It was 2am and I was
                                                                                                                                                                                                                                                                                     unable to contact anyone f om the a l ne to d scuss my
                                                                                                                                                                                                                                                                                     d lemma.
                                                                                                                                                                                                                                                                                     I managed to each my pa ents n the UK and they also t ed to
                                                                                                                                                                                                                                                                                     contact the a l ne, but then when they we e unable to do that,
                                                                                                                                                                                                                               FLT delayed due to MX, caus ng pax to m ss connect ng they t ansfe ed add t onal funds to my bank account so that I
2246248030317   6/15/2018 U2OTH4, U2OTH4              CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance         Compla nt
                                                                                                                                                                                                                               FLT, pax flew on anothe ca e to get to dest nat on could get a d fe ent fl ght home w th a d ffe ent a l ne.
                                                                                                                                                                                                                                                                                     I am seek ng compensat on fo th s., no el pa t es/no el
                                                                                                                                                                                                                                                                                     contacts/no el SRs

                                                                                                                                                                                                                                                                                      FLT delayed due to , caus ng pax to m ss connect ng FLT, pax
                                                                                                                                                                                                                                                                                      flew on anothe ca e to get to dest nat on

                                                                                                                                                                                                                                                                                      Issu ng $100 SLV as gog

                                                                                                                                                                                                                                                                                      Cla m No 160273871

                                                                                                                                                                                                                                                                                      Custome call ng upset about lt was delayed on OB and RTN
                                                                                                                                                                                                                                                                                      po t on of PNR R2JA4B. Custome stated that t was MX delay
                                                                                                                                                                                                                                                                                      fo OB. I adv that I would take a look to see what we could do
                                                                                                                                                                                                                                                                                      fo he . Custome stated that he and fe low pax had al eady
                                                                                                                                                                                                                                                                                       ecvd $100 SLV. I adv that as GOG fo ove a l flt expe ence I
2246326905727   6/15/2018 R2JA4B                      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance         Compla nt          Custome call ng upset that f t was delayed             would ssue an adtl $100 SLV pe pax.


                                                                                                                                                                                                                                                                                      Cla m No 160283692
                                                                                                                                                                                                                                                                                      Cla m No 160283709
                                                                                                                                                                                                                                                                                      Cla m No 160283722
                                                                                                                                                                                                                                                                                             call ng on beha f of he pa ents to d scuss the cost of the
                                                                                                                                                                                                                                                                                       ecent t p.
                                                                                                                                                                                                                                                                                      She was confused because she called fo them on June 2nd and
                                                                                                                                                                                                                                                                                      spoke to Kelly to move the outbound, a day soone .
                                                                                                                                                                                                                                                                                      She stated she was quoted an upg ade of 170 total fo both he
                                                                                                                                                                                                                                                                                      pa ents.
                                                                                                                                                                                                                                                                                      Howeve , nstead of a change be ng made to the t cket he
                                                                                                                                                                                                                                                                                      pa ents had booked on Feb 8 unde PNR T87A9C, the t cket was
                                                                                                                                                                                                                                                                                      cance led and they we e ebooked unde PNR No MPUUQ6 at
                                                                                                                                                                                                                                                                                      June's fa es fo a fl ght 4 days away.
                                                                                                                                                                                                                                                                                      Due to th s agent e o , I expla ned to        that we'd make the
                                                                                                                                                                                                                                                                                      except on to efund the upg ade of 190$ pe t cket, espec ally
                                                                                                                                                                                                                                                                                      s nce the etu n fl ght was ebooked to the exact same one.
                                                                                                                                                                                                                                                                                      Pax was ve y app ec at ve. Thanks, K ystal
2246766878711   6/18/2018 MPUUQ6, T87A9C              CR/RR          Phone      Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                     Compla nt          Agent book ng e o
                                                                                                                                                                                                                                                                                      Cla m No 160358870
                                                                                                                                                                                                                                                                                      Cla m No 160358933            ca l ng on behalf of he pa ents to
                                                                                                                                                                                                                                                                                      d scuss the cost of the ecent t p.
                                                                                                                                                                                                                                                                                      She was confused because she called fo them on June 2nd and
                                                                                                                                                                                                                                                                                      spoke to Kelly to move the outbound, a day soone .
                                                                                                                                                                                                                                                                                      She stated she was quoted an upg ade of 170 total fo both he
                                                                                                                                                                                                                                                                                      pa ents.
                                                                                                                                                                                                                                                                                      Howeve , nstead of a change be ng made to the t cket he
                                                                                                                                                                                                                                                                                      pa ents had booked on Feb 8 unde PNR T87A9C, the t cket was
                                                                                                                                                                                                                                                                                      cance led and they we e ebooked unde PNR No MPUUQ6 at
                                                                                                                                                                                                                                                                                      June's fa es fo a fl ght 4 days away.
                                                                                                                                                                                                                                                                                      Due to th s agent e o , I expla ned to        that we'd make the
                                                                                                                                                                                                                                                                                      except on to efund the upg ade of 190$ pe t cket, espec ally
                                                                                                                                                                                                                                                                                      s nce the etu n fl ght was ebooked to the exact same one




                                                                                                                                                                                                                                                                                                                                        Appx. 126
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                       Page 127 of 571 PageID 299



                                                                                                                                                                                                                                                                         F t 2229 6/18 mke cle delayed 225 m ns due to wx d ve s on (to
                                                                                                                                                                                                                                                                         MDW) due to sto ms n MKE. F t 2229 6/20 CLE BWI cx due to
                                                                                                                                                                                                                                                                         wx. Flt 1209 6/20 BWI MKE cx due to wx. Rebooked CLE to
                                                                                                                                                                                                                                                                         MDW. OW base outbound $52.82 and et $107.91.Issu ng pax
                                                                                                                                                                                                                                                                         $50 SLV as GOG. Cla m no 160476751, He lo, I wanted to sha e
                                                                                                                                                                                                                                                                         my d sappo nt ng expe ence w th Southwest th s week.
                                                                                                                                                                                                                                                                         Southwest has ecently been my favo te a l ne to ly, but I was
                                                                                                                                                                                                                                                                         d sappo nted w th the se v ce th s week. F st, my fl ght to
                                                                                                                                                                                                                                                                         Cleveland f om M lwaukee on Monday 6/18 was delayed, but I
                                                                                                                                                                                                                Pax upset w th mult ple lt egula t es, no
                                                                                                                                                                                                                                                                         unde stood that was due to weathe . Howeve , I m ssed my
2247280377667   6/21/2018 KYY3XZ, KYY3XZ            CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Weathe                        Depa tu e C ty            Compla nt          not f cat on of cancellat on, seek ng cons de at on fo
                                                                                                                                                                                                                                                                         meet ng on Monday due to th s. On Wednesday when I was
                                                                                                                                                                                                                GOG due to expenses ncu ed
                                                                                                                                                                                                                                                                         t y ng to etu n to M lwaukee, both legs of my fl ght we e
                                                                                                                                                                                                                                                                         cance led w thout eason. I only not ced the fl ghts we e
                                                                                                                                                                                                                                                                         cance led because I checked the app on the way to the a po t,
                                                                                                                                                                                                                                                                         w thout ece v ng not ce f om you n anothe way. My only
                                                                                                                                                                                                                                                                         opt on was to fly f om Cleveland nto M dway, nstead of my
                                                                                                                                                                                                                                                                         des ed locat on of M lwaukee whe e my ca was pa ked at the
                                                                                                                                                                                                                                                                         a po t. Can you cla fy the eason fo the fl ght cancellat on? Is
                                                                                                                                                                                                                                                                         the e anyth ng you can do to help w th the ext a costs I
                                                                                                                                                                                                                                                                         endu ed? Thank you fo you cons de at on.

                                                                                                                                                                                                                                                                         Calle s Name
                                                                                                                                                                                                                                                                         Contact Telep one Numbe
                                                                                                                                                                                                                                                                         Contact Ema l Add es
                                                                                                                                                                                                                                                                         Exp ed PNR JEGYC9
                                                                                                                                                                                                                                                                         Passenge Name (s)
2248467384742   6/28/2018 JEGYC9, JEGYC9            CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request           Comment/Quest on   ECS F nal Re ssue                                        O g nal Exp at on Date of Funds 06/06/2018
                                                                                                                                                                                                                                                                         Exp ed RTF Balance 420.50

                                                                                                                                                                                                                                                                         Adv sed 20 bu sness days fo p ocess. SLV fo 320.50.,

                                                                                                                                                                                                                                                                         Cla m No 147893093

                                                                                                                                                                                                                                                                         *****************************SUP
                                                                                                                                                                                                                                                                         CALLBACK****************************T ed mult ple t mes
                                                                                                                                                                                                                                                                         to call the numbe back. Got w th level th ee ep to make su e
                                                                                                                                                                                                                                                                         that I was d al ng nte nat onal the co ect way. Kept ece v ng
                                                                                                                                                                                                                                                                         message that mu nte nat onal call could not be completed as
                                                                                                                                                                                                                                                                         d aled, Clos ng SR. Resolut on would not change., Fl ght 875 was
                                                                                                                                                                                                                                                                         delayed 177 m nutes due to MX.
                                                                                                                                                                                                                                                                         PAX g ven $100 SLV as GOG.
                                                                                                                                                                                                                                                                         Base fa e fo fl ght was 78.77., Pax fathe                 called
                                                                                                                                                                                                                Upset w th fl ght delays caus ng he to pu chase          upset w th esolut on of daughte s delays. He had to epu chase
2248595118127   6/29/2018 U2OTH4, U2OTH4, U2OTH4    CR/RR   Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance   Compla nt
                                                                                                                                                                                                                anothe nte nat onal t cket                               he nte nat onal t cket and he s upset that all that was offe ed
                                                                                                                                                                                                                                                                         was a $100 SLV. Apolog zed fo the delay and expla ned we
                                                                                                                                                                                                                                                                         would not be able to cove the nte nat onal fl ght he had to
                                                                                                                                                                                                                                                                          ebook and that we could only offe h m a vouche fo futu e
                                                                                                                                                                                                                                                                         t avel. He sa d that was unacceptable and became upset
                                                                                                                                                                                                                                                                         demand ng to speak w th a supe v so . T ed to deescalate, but
                                                                                                                                                                                                                                                                         was unable to. Info med pax I would have h m put n fo a
                                                                                                                                                                                                                                                                         callback. Thanks, Dav d E132669

                                                                                                                                                                                                                                                                         Ph                - Inte nat onal



                                                                                                                                                                                                                                                                         My husband and I we e t avel ng f om ft. Mye s to Ba t mo e
                                                                                                                                                                                                                                                                         w th ou pet n a pet ca e and wa t ng n the gate a ea. We
                                                                                                                                                                                                                                                                         pa d the pet fee to take h m w th us and he s a 6 lb. malt poo.

                                                                                                                                                                                                                                                                    The e a e la ge yellow s gns on pet ules posted n the a po t
                                                                                                                                                                                                                                                                    and announcements eve y 15 m nutes and yet the e we e th ee
                                                                                                                                                                                                                                                                    dogs n the gate a ea not n the pet ca e s and one even l fted
                                                                                                                                                                                                                pax upset due to pol cy and p ocedu es states why
                                                                                                                                                                                                                                                                    h s leg and u nated. The e we e th ee Southwest employees n
2249957151288    7/8/2018 KLDXUY, KLDXUY            CR/RR   Web Fo m   Pol c es/P ocedu es             Pets                          An mal Behav o /G oom ng      Un uly Behav o            Compla nt          swa employees cant enfo ce to p otect passenge s eg
                                                                                                                                                                                                                                                                    the gate a ea and they neve nte vened o even spoke to the
                                                                                                                                                                                                                dogs t avel ng
                                                                                                                                                                                                                                                                    passenge s, why?
                                                                                                                                                                                                                                                                    Ou dog became ag tated and st essed n h s ca e because of
                                                                                                                                                                                                                                                                    the othe dogs behav o s. Othe passenge s n the a ea
                                                                                                                                                                                                                                                                    exp essed conce n about ou dog and why th s was allowed.
                                                                                                                                                                                                                                                                    A enat Southwest employees empowe ed to take act on to
                                                                                                                                                                                                                                                                    enfo ce ules that a e establ shed to p otect all passenge s?, no
                                                                                                                                                                                                                                                                     el s o pty


                                                                                                                                                                                                                                                                         Added 540 po nts, Pn QVGYUS 7/9/18 SAN OAK., I'm t y ng to
                                                                                                                                                                                                                                                                         add th s fl ght to my ap d ewa ds but I'm gett ng an e o . Can
                            QVGYUS, QVGYUS, QVGYUS,                                                                                                                                                                                                                      you please take a look, thanks., NRPC, Sea ch n CIRRUS shows
2250245284857    7/9/2018                           CR/RR   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts        Comment/Quest on   Past fl ght po nts.
                            QVGYUS                                                                                                                                                                                                                                       fl ght lown, coupon used.
                                                                                                                                                                                                                                                                         ƚƚĞŵƉƚĞĚ ƚŽ ƉŽƐƚ ƉĨƉ ǀ Ă d> Ͳ ^d ĐŬĞƚEŽƚ&ŽƵŶĚƵƐ ŶĞƐƐ
                                                                                                                                                                                                                                                                         e o nd cat ng T cket was not found n CDS


                                                                                                                                                                                                                                                                         PAX upset about W xl and eaccom next day

                                                                                                                                                                                                                                                                         PAX was t avel ng BWI-MCO 07/15/2018 Flt 3349 8 05-10 20p
                                                                                                                                                                                                                                                                         F t was xld W
                                                                                                                                                                                                                                                                         PAX s upset, he was told t was govt/ATC xl and wanted dox
                                                                                                                                                                                                                                                                         PAX states W xl doesn't make sense bc othe BWI-MCO fl ghts
                                                                                                                                                                                                                                                                         went out 45 m n late
2251283603604   7/16/2018 OTIVMK                    CR/RR   Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Reaccom D ffe ent Day     Compla nt          PAX upset about W xl and eaccom next day                 I expl W xls and how we have to cons de W at depa tu e,
                                                                                                                                                                                                                                                                         a val, and along oute. Adv d ff flt #s may have d ff outes and
                                                                                                                                                                                                                                                                         same c t es, but we may not be able to e oute a ce ta n flt due
                                                                                                                                                                                                                                                                         to W due to ATC
                                                                                                                                                                                                                                                                         PAX unde stood but was f ust ated
                                                                                                                                                                                                                                                                         I apol and offe ed $50 SLV/PAX as GOG (OWBF $73.28)
                                                                                                                                                                                                                                                                         PAX felt th s was fa .
                                                                                                                                                                                                                                                                         Cla m No 161274295, 161274269, 161274334, 161274201

                                                                                                                                                                                                                                                                         ĂůůĞ ΖƐ EĂŵĞ
                                                                                                                                                                                                                                                                         Membe s Name
                                                                                                                                                                                                                                                                         Membe s RR Numbe
                                                                                                                                                                                                                                                                          Contact Telephone Numbe
2251320796150   7/16/2018 WPITG3, WPITG3            CR/RR   Phone      Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts        Comment/Quest on   PAST FL GHT POINTS                                        Contact E-Ma l Add ess
                                                                                                                                                                                                                                                                          &ůŽǁŶ WEZ;ƐͿ tW/d'ϯ
                                                                                                                                                                                                                                                                          Passenge Name
                                                                                                                                                                                                                                                                         Fl ght Date (s) JULY 8, 2018
                                                                                                                                                                                                                                                                         , Manua ly added po nts, WPITG3 7/8/2018
                                                                                                                                                                                                                                                                         acct# 20620396425, K669U9, 5/30/18, 1 O&D, 752 pts adjusted,
                                                                                                                                                                                                                                                                         Calle 's Name
                                                                                                                                                                                                                                                                         b.Membe s Name
                                                                                                                                                                                                                                                                         c Membe s RR Numbe
                                                                                                                                                                                                                Rap d Rewa ds Inqu y Past Fl ght Po nts 100%
2251983247968   7/19/2018 K669U9, K669U9            CR/RR   Phone      Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts        Comment/Quest on                                                            d.Contact Telephone Numbe
                                                                                                                                                                                                                VERIFIED
                                                                                                                                                                                                                                                                         e.Contact E-Ma l Add ess
                                                                                                                                                                                                                                                                         f.Flown PNR(s) k669u9
                                                                                                                                                                                                                                                                         g Passenge Name
                                                                                                                                                                                                                                                                         h.Fl ght Date (s) 5/30/18
                                                                                                                                                                                                                                                                         called (763) 202-1969
                                                                                                                                                                                                                                                                         LM fo          . I adv sed that I ev ewed he ese vat on, and I
                                                                                                                                                                                                                                                                         can see t at we we e unable to get he to LGA on 4/16. S nce
                                                                                                                                                                                                                                                                         pa t of the t p was takem, the t cket s ma ked as used wh ch s
                                                                                                                                                                                                                                                                         why she cannot use the funds. I adv sed that I p ocesssed a
                                                                                                                                                                                                                                                                          efund of $263.26 back to the o g al fo m of payment. She
                                                                                                                                                                                                                                                                         should ece ve a efund w th n the next 30 bus ness days. I
                                                                                                                                                                                                                                                                         adv sed to each out to us f she does not see t w th n that
                                                                                                                                                                                                                                                                         t mef ame , CVS 0

                                                                                                                                                                                                                                                                         pax was ssued a $150 SLV as GOG
                                                                                                                                                                                                                                                                         pax t aveled on WN 5838
                                                                                                                                                                                                                Fl ght cancelled pax was not eaccom on anothe            MSP-STL-LGA
                                                                                                                                                                                                                fl ght and adv sed that he c ed t could be used on       d ect fl ght
2252663062987   7/23/2018 U2K2KV, U2K2KV, U2K2KV    CR/RR   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   How to Redeem             Comment/Quest on
                                                                                                                                                                                                                anothe fl ght. Unable to book w th he c ed t. Would      STL LGA was cancelled due to W
                                                                                                                                                                                                                l ke nfo mat on/ass st ance.                             pax d d not t avel w th swa on alt l ght.

                                                                                                                                                                                                                                                                         Refund due

                                                                                                                                                                                                                                                                         t cket s show ng as used, but custome d d not get to LGA on
                                                                                                                                                                                                                                                                         SWA due to cancellat on of fl ght #5838 STL-LGA
                                                                                                                                                                                                                                                                          efund ng OW.

                                                                                                                                                                                                                                                                         $263.26
                                                                                                                                                                                                                                                                         Cla m No 161609414, Hello!

                                                                                                                                                                                                                                                                         I had a fl ght on Ap l 16th, 2018 f om Nashv lle, TN (BNA) to
                                                                                                                                                                                                                                                                         New Yo k (LGA) w th a layove n St Lou s MO (STL) When I
                                                                                                                                                                                                                                                                         Spoke w th         who adv that he booked and changed h s
                                                                                                                                                                                                                                                                          ese vat on w th n 24 hou s and d d not ece ve efund of
                                                                                                                                                                                                                                                                         d ffe ence n fa e// I ev ewed ese vat on and ve f ed that
                                                                                                                                                                                                                                                                         change was made an hou afte n t al book ng and no RTF was
                                                                                                                                                                                                                                                                         appl ed to n t al book ng, but RTF s st l show ng as
                                                                                                                                                                                                                Pax booked and changed ese vat on w th n 24 hou s
2252804575753   7/24/2018 NUYM77                    CR/RR   Phone      Refunds                         Refund Request                T ckets/Fa es                 Refundable                Compla nt                                                                   non efundable// I apolog zed and adv pax that n the futu e f he
                                                                                                                                                                                                                but d d not ece ve efund of d ffe ence n fa e//
                                                                                                                                                                                                                                                                          s mak ng the change w th n 24 hou s of book ng to go ahead
                                                                                                                                                                                                                                                                         and cancel and efund ese vat on s nce chang ng tkt causes
                                                                                                                                                                                                                                                                          efundab l ty to be lost// Pax app ec ated the explanat on//

                                                                                                                                                                                                                                                                         Cla m No 161554332 PNR NUYM77




                                                                                                                                                                                                                                                                                                                          Appx. 127
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                                                                                                                                                                                                                                                                      FLT 147 delayed due to MX and had to etu n to gate
                                                                                                                                                                                                                                                                      Pax. m ssed connect on and was eaccommodated upon etu n
                                                                                                                                                                                                                                                                      fo the next day
                                                                                                                                                                                                                                                                      Had to spend the n ght n the hotel
                                                                                                                                                                                                                                                                      Pax. pu chased upg aded boa d ng on 7/25 on fl ght and wasn't
                                                                                                                                                                                                                                                                      a lowed to t ansfe to eaccommodat on
                                                                                                                                                                                                                                                                      Refund ng upg aded boa d ng to OFP as GOG
                                                                                                                                                                                                                                                                      Pax. ece ved $200 SLV fo delay

                                                                                                                                                                                                                                                                      Cla m No 161739878 PNR TZDS8D, Hello,
                                                                                                                                                                                                                                                                      I was on a fl ght that got all messed up. The e wasn't a s ngle
                                                                                                                                                                                                                                                                      connect on to Aust n that I was able to make. So as a esu t,
                                                                                                                                                                                                                                                                      had to book a hotel and w l t y to get home aga n n the
                                                                                                                                                                                                               Custome d sappo nted w th he t avel expe ence,         mo n ng. I am app ec at ve of the custome se v ce team
2253077923892   7/25/2018 TZDS8D, TZDS8D, TZDS8D   CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance   Compla nt
                                                                                                                                                                                                               howeve , the C ew membe s we e n ce and f endly.       help ng me book a d ffe ent fl ght, but I am d sappo nted they
                                                                                                                                                                                                                                                                      we e not able to get me bus ness ea ly boa d ng. I had a anged
                                                                                                                                                                                                                                                                      fo that on the fl ght I d d not take because of ts delay and now
                                                                                                                                                                                                                                                                      have to boa d my new, 530 am fl ght, n boa d ng g oup C. It
                                                                                                                                                                                                                                                                      seems l ke an unnecessa y d scomfo t fo the added expense
                                                                                                                                                                                                                                                                      I've al eady had to take on because the SW fl ght t ne a es
                                                                                                                                                                                                                                                                      couldn't get me home.

                                                                                                                                                                                                                                                                      Some pos t ves f om the expe ence C ew a e f endly and want
                                                                                                                                                                                                                                                                      to be helpful

                                                                                                                                                                                                                                                                      Some negat ves the system n place doesn't seem to allow
                                                                                                                                                                                                                                                                      custome se v ce to make me whole ( .e. wa ve the ea ly
                                                                                                                                                                                                                                                                      b s nes botoddnal out
                                                                                                                                                                                                                                                                      Attempted         fee)but
                                                                                                                                                                                                                                                                                             f numbe
                                                                                                                                                                                                                                                                                                the mos ea e'mntesap
                                                                                                                                                                                                                                                                                                                  nat oonal
                                                                                                                                                                                                                                                                                                                        nt and
                                                                                                                                                                                                                                                                                                                            d thecould
                                                                                                                                                                                                                                                                                                                                  c w
                                                                                                                                                                                                                                                                      not connect.

                                                                                                                                                                                                                                                                      daughte 's t avel. flt delay and m ss connect. book on a t flt
                                                                                                                                                                                                                                                                      100$ slv offe an nsult fo the add t onal expenses and lack of
                                                                                                                                                                                                                                                                      custome se v ce ava l when a ved at 2am , Dea s

                                                                                                                                                                                                                                                                      I am w t ng on beha f of my daughte                 , who had
                                                                                                                                                                                                                                                                      the d ff cult expe ence of he fl ght be ng delayed by 3 hou s
                                                                                                                                                                                                                                                                       ecently, wh ch meant that she m ssed he connect ng fl ght.

                                                                                                                                                                                                                                                                      Th s c eated an eno mous amount of st ess fo           who
                                                                                                                                                                                                               daughte 's t avel. f t delay and m ss connect. book on
                                                                                                                                                                                                                                                                      found he se f solated n an a po t at 2am n t e mo n ng w th
                                                                                                                                                                                                               alt f t 100$ slv offe an nsult fo the add t onal
                                                                                                                                                                                                                                                                      nobody ava lable to speak to about alte nat ve a angements.
2253324901817   7/27/2018 U2OTH4, U2OTH4, U2OTH4   CR/RR   Web Fo m   Othe                            CR W teback                   D sag ees/Rema ns Upset       Upset w th GOG            Compla nt          expenses and lack of custome se v ce ava l when
                                                                                                                                                                                                               a ved at 2am.
                                                                                                                                                                                                                                                                      We took act on when she contacted he and w th a cons de able
                                                                                                                                                                                                                elated s #2246248030317
                                                                                                                                                                                                                                                                      amount of f nanc al outlay, we we e able to get he anothe
                                                                                                                                                                                                                                                                      fl ght home.

                                                                                                                                                                                                                                                                      S nce etu n ng home, he own effo ts to get compensat on fo
                                                                                                                                                                                                                                                                      th s have been met w th an o fe of a $100 vouche aga nst a
                                                                                                                                                                                                                                                                      futu e fl ght. Th s s both nsult ng and d sg aceful.

                                                                                                                                                                                                                                                                      I have s nce t ed to speak w th someone on he beha f and was
                                                                                                                                                                                                                                                                      p om sed a telephone call ove 2 weeks ago to d scuss the
                                                                                                                                                                                                                                                                      matte , but that has not yet happened.

                                                                                                                                                                                                                                                                      I askcompla
                                                                                                                                                                                                                                                                      Pax   that thnt
                                                                                                                                                                                                                                                                                    s matte be long
                                                                                                                                                                                                                                                                                      about the nvestTSA
                                                                                                                                                                                                                                                                                                      gated  and
                                                                                                                                                                                                                                                                                                          l nes   that
                                                                                                                                                                                                                                                                                                                and    someone
                                                                                                                                                                                                                                                                                                                    secu  ty l nescontact
                                                                                                                                                                                                                                                                                                                                    n
                                                                                                                                                                                                                                                                      te m nal 2, was go ng to m ss flt and went to baggage counte to
                                                                                                                                                                                                                                                                      be eaccom'd but pax cla ms we a e unde staffed at OAK and he
                                                                                                                                                                                                                                                                      had to call to book PNR PQ 5YY and booked PNR R2Q2D7 onl ne.
                                                                                                                                                                                                                                                                      Ad vsed pax I am so y fo any commot on he an nto when
                                                                                                                                                                                                                                                                      t avel ng fo PNR Q8FS4E, and then any long l nes wh le wa t ng
                                                                                                                                                                                                                                                                      on SWA CSA. Adv sed he ece ved efundable po t on of h s PNR
                                                                                                                                                                                                                                                                      back as I see t was used to go towa d h s new PNR R2Q2D7, and
                                                                                                                                                                                                                                                                      we a e unable to ssue and efund fo the fact he was ten m n
                                                                                                                                                                                                                                                                       ules and had to ebook. Pax was upset and adv sed he would fly
                                                                                                                                                                                                                                                                      Alaskan.

                                                                                                                                                                                                                                                                      , Pax compla nt about the long TSA l nes and secu ty l nes n
                                                                                                                                                                                                               Compla nt about congest on at OAK, long l nes at TSA
                                                                                                                                                                                                                                                                      te m nal 2, was go ng to m ss flt and went to baggage counte to
2253949625801   7/31/2018 PQI5YY, Q8FS4E, R2Q2D7   CR/RR   Phone      A po t Expe ence                Secu ty TSA                   Checkpo nt                    Long L nes/Congest on     Compla nt          p e, unde staff ng of SWA CSA at baggage counte ,
                                                                                                                                                                                                                                                                      be eaccom'd but pax cla ms we a e unde staffed at OAK and he
                                                                                                                                                                                                                equest ng efund of tkt
                                                                                                                                                                                                                                                                      had to call to book PNR PQ 5YY and booked PNR R2Q2D7 onl ne.
                                                                                                                                                                                                                                                                      Ad vsed pax I am so y fo any commot on he an nto when
                                                                                                                                                                                                                                                                      t avel ng fo PNR Q8FS4E, and then any long l nes wh le wa t ng
                                                                                                                                                                                                                                                                      on SWA CSA. Adv sed he ece ved efundable po t on of h s PNR
                                                                                                                                                                                                                                                                      back as I see t was used to go towa d h s new PNR R2Q2D7, and
                                                                                                                                                                                                                                                                      we a e unable to ssue and efund fo the fact he was ten m n
                                                                                                                                                                                                                                                                       ules and had to ebook. Pax was upset and adv sed he would fly
                                                                                                                                                                                                                                                                      Alaskan.

                                                                                                                                                                                                                                                                      , Pax compla nt about the long TSA l nes and secu ty l nes n
                                                                                                                                                                                                                                                                      te m nal 2, was go ng to m ss flt and went to baggage counte to
                                                                                                                                                                                                                                                                      be eaccom'd but pax cla ms we a e unde staffed at OAK and he
                                                                                                                                                                                                                                                                      had to call to book PNR PQ 5YY and booked PNR R2Q2D7 onl ne
                                                                                                                                                                                                                                                                              called stated m ssed fl ght due to mov ng and equest
                                                                                                                                                                                                                                                                      c ed t. Apol and educated when no show a fl ght she has
                                                                                                                                                                                                                                                                      fo fe ted he funds and w l be unable to ece ve c ed t. Pax
                                                                                                                                                                                                                                                                      states she has RTF on Conf OLUZWY but she does not have
2253974382371   7/31/2018 VTAKH8                   CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence          Compla nt          WGA No Show
                                                                                                                                                                                                                                                                      funds to pay fo ema n ng unless ece ves RTF f om No Show
                                                                                                                                                                                                                                                                      Conf VTAKH8. Custome sa d she th nks she called n to t y to
                                                                                                                                                                                                                                                                      cancel and would send n docs. Adv sed f docs a e suff c ent,
                                                                                                                                                                                                                                                                      then can be cons de ed fo efund. Pax unde stood.
                                                                                                                                                                                                                                                                      WN 5840 delayed 99 m n SEA-PHX, pax had a connect ng fl ght
                                                                                                                                                                                                                                                                      that was held, and t aveled as scheduled and a ved 32 m n
                                                                                                                                                                                                                                                                      late than scheduled n TPA


                                                                                                                                                                                                                                                                      one sop located, wh ch s attached to SR

                                                                                                                                                                                                                                                                      C ew seems to have followed p oceedu es w th ega ds to
                                                                                                                                                                                                                                                                      handl ng Custome s tuat on onboa d

                                                                                                                                                                                                                                                                    Rel SR 2251776192893
                                                                                                                                                                                                                                                                    Custome call ng n about delay, the eason that was g ven was
                                                                                                                                                                                                                                                                    nco ect
                                                                                                                                                                                                               PAX upset at the handl ng of the med cal s tuat on
2254317069607    8/2/2018 N89SLN, N89SLN, N89SLN   CR/RR   Web Fo m   Onboa d A c aft Expe ence       Onboa d Expe ence             Med cal S tuat on             Handl ng of S tuat on     Compla nt          onboa d. Rude FA, made PAXs pan c. Repo ts s tuat on
                                                                                                                                                                                                                                                                    pax was ssued a $100 slv as GOG ove all fo both of h s delays
                                                                                                                                                                                                               was unp ofess onal and neff c ent


                                                                                                                                                                                                                                                                      ev ewed othe fl ghts fo delays

                                                                                                                                                                                                                                                                      Fl ght #1242 on 6/7 was delayed 29 m n on pushback and a total
                                                                                                                                                                                                                                                                      of 15 m n

                                                                                                                                                                                                                                                                      pax also t aveled w th us n May
                                                                                                                                                                                                                                                                      TRAVPW

                                                                                                                                                                                                                                                                      WN 6194 6/3 was cance led due to W.
                                                                                                                                                                                                                                                                      pax was eaccom on a late l ght that was scheduled to a ve 40
                                                                                                                                                                                                                                                                      m n ea l e than he o g al but she a ved at the same t me as
                                                                                                                                                                                                                                                                      Custome pu chased tkt but pax no longe able to t avel. Matt
                                                                                                                                                                                                                                                                      was able to conf m fu l te ne a y and name of pax so offe ng
2255220509783    8/7/2018 SVL42Y                   CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty           Comment/Quest on   non t ansfe ab l ty except on
                                                                                                                                                                                                                                                                      non t ansfe ab l ty except on. pa d fo w th g ft ca d. Cla m No
                                                                                                                                                                                                                                                                      162060554
                                                                                                                                                                                                                                                                      5 plane non t e w th P em e ca d RR s nce 2004
                                                                                                                                                                                                                                                                      7/18 flt 2260 scheduled depa tu e 11 00 am
                                                                                                                                                                                                                                                                      Bags checked at 9 52 am then unchecked and back n at 10 00
                                                                                                                                                                                                                                                                      am
                                                                                                                                                                                                                                                                      LAXWN02069862- nc dent c eated 1511 CST and closed 2052
                                                                                                                                                                                                                                                                      same day was sent fo del ve y w th n 6 hou s of h s a val
                                                                                                                                                                                                                                                                      Pax canceled etu n and hasn t booked s nce.


                                                                                                                                                                                                                                                                      efunded h s etu n as gog

                                                                                                                                                                                                                                                                      Cla m No 161394777, Advo ev ew - okay to handle. Although
                                                                                                                                                                                                               PAX checked med cal dev ce and was delayed. then       pax says med cal dev ce, the e's not enough nfo mat on to
                          MORDWE, MORDWE,
                                                                                                                                                                                                               feels he was l ed to about when the bag would get n    dete m ne f ts an ass st ve dev ce., I have no plans to fly w th
2255227928487    8/7/2018 MORDWE, MORDWE,          CR/RR   Web Fo m   Baggage                         Checked                       Del ve y                      Not when p om sed         Compla nt
                                                                                                                                                                                                               and be del ve ed was del ve ed 12 hou s late and he    Southwest eve aga n. You have lost a custome and t took me
                          MORDWE
                                                                                                                                                                                                               could not sleep was med cal dev ce                     th s long to get ove my ange befo e cont act ng you a l.

                                                                                                                                                                                                                                                                      My luggage d d not show up w th me on my fl ght to LA.
                                                                                                                                                                                                                                                                      Southwest pe sonnel bas cally sa d t was my fault because t
                                                                                                                                                                                                                                                                      had med cal equ pment n t and TSA needed to sc een t and
                                                                                                                                                                                                                                                                      the e was not t me. If the e s a ce ta n t me pe od people
                                                                                                                                                                                                                                                                      need to fo low to make su e that Southwest w ll get the
                                                                                                                                                                                                                                                                      baggage to them w th the fl ght, they you all need to publ sh
                                                                                                                                                                                                                                                                      that nfo mat on.

                                                                                                                                                                                                                                                                      What upset me the most s the l es, say ng I would have t n a
                                                                                                                                                                                                                                                                      few hou s as t would come down on anothe fl ght. Well t d d
                                                                                                                                                                                                                                                                                               ht t th         t t       t( h    )
                                                                                                                                                                                                                                                                      Calle ?s Name

                                                                                                                                                                                                                                                                      b.Contact Telephone Numbe

                                                                                                                                                                                                                                                                      c Contact Ema l Add ess

                                                                                                                                                                                                                                                                      d.Exp ed PNR u2ksby
2256069403890   8/12/2018 U2KSBY, U2KSBY           CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request           Comment/Quest on   ECS F nal Re ssue
                                                                                                                                                                                                                                                                      e.Passenge Name (s)

                                                                                                                                                                                                                                                                      f.O g nal Exp at on Date of Funds 5/23/18

                                                                                                                                                                                                                                                                      g.Exp ed RTF Balance 243.98
                                                                                                                                                                                                                                                                      , tf ext to                            on 146972644




                                                                                                                                                                                                                                                                                                                        Appx. 128
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                                                                                                                                                                                                                                                                                      Convo 7709149
                                                                                                                                                                                                                                                                                      F t delayed, became mo e ont me caused late checked bag, and
                                                                                                                                                                                                                               PAX flt delayed, then became mo e on t me caused
2256575459879   8/15/2018 J8XLOU                      CR/RR          Soc al Med a   Fl ght Delay/Cancel/D ve s on   Delay                         A T aff c Cont ol             Depa tu e C ty              Compla nt                                                                 bag d d not make flt
                                                                                                                                                                                                                               late checked bag, wh ch d d not make flt
                                                                                                                                                                                                                                                                                      apol, adv would document, ssue SLV as GOG
                                                                                                                                                                                                                                                                                      $75 SLV on Cla m No 162326856
                                                                                                                                                                                                                                                                                    Cla m No 161988270
                                                                                                                                                                                                                                                                                    Cla m No 161988291, Cla m No 161988270
                                                                                                                                                                                                                                                                                    Cla m No 161988291, Cla m No 161988270
                                                                                                                                                                                                                                                                                    Cla m No 161988291, Pax equest ng efund o extens on of
                                                                                                                                                                                                                                                                                    RTF. He could have used them on RK485P. Spoke w th TL C ystal
                                                                                                                                                                                                                                                                                    who adv I would have to wa t t l flt has been compelted, then
                            LYVYW6, LZJD5G, RK485P,                                                                                                                                                                                                                                  ssue efund. Adv pax, and he accepted. Thx, V , Pax equest ng
2257048851458   8/17/2018                             CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds   T ansfe ab l ty             Comment/Quest on   pax could have used RTFs on RK485P
                            LYVYW6, LZJD5G, RK485P                                                                                                                                                                                                                                   efund o extens on of RTF. He could have used them on
                                                                                                                                                                                                                                                                                    RK485P. Spoke w th TL C ystal who adv I would have to wa t t l
                                                                                                                                                                                                                                                                                    flt has been compe ted, then ssue efund. Adv pax, and he
                                                                                                                                                                                                                                                                                    accepted. Thx, V , Pax equest ng efund o extens on of RTF. He
                                                                                                                                                                                                                                                                                    could have used them on RK485P. Spoke w th TL C ystal who
                                                                                                                                                                                                                                                                                    adv I would have to wa t t l f t has been compelted, then ssue
                                                                                                                                                                                                                                                                                     efund. Adv pax, and he accepted. Thx, V
                                                                                                                                                                                                                                                                                    I ust want a explanat on on the cance led fl ght when the e a e
                                                                                                                                                                                                                                                                                    planes fly ng n and out of BWI all day and my w fe's fl ght was to
                                                                                                                                                                                                                                                                                    land at BWI at 3 15pm and you guys a e land ng planes he e a l
                                                                                                                                                                                                                                                                                    afte noon and she was told due to weathe at Balt mo e. He
                                                                                                                                                                                                                                                                                    mothe has been taken to the hosp tal and now she cannot get
                                                                                                                                                                                                                                                                                    back, I just do not unde stand the weathe excuse as planes
                                                                                                                                                                                                                                                                                    f om a l ove the count y a e com ng n and out all day. We only
                                                                                                                                                                                                                                                                                    fly SW because these types of excuses seem to happen all the
                                                                                                                                                                                                                                                                                    t me on othe a l nes. You had fl ghts land ng he e that came
                                                                                                                                                                                                                                                                                    f om LA, Denve , Ch cago a l n and a ound the same t me my
                                                                                                                                                                                                                                                                                    w fe's fl ght was scheduled to get he e. Acco d ng to the webs te
                                                                                                                                                                                                                                                                                    and the boa d that s the only fl ght cance led n a 6 hou
                                                                                                                                                                                                                               pax upset that fl ght was canceled due to WX but was w ndow. So I would l ke a t ue explanat on as to why th s
                                                                                                                                                                                                                               only fl ght canceled n a 6 hou w ndow and planes     pa t cula fl ght was canceled.
2257221741090   8/18/2018 L5382V, L5382V              CR/RR          Web Fo m       Fl ght Delay/Cancel/D ve s on   Cancellat on                  A T aff c Cont ol             Reaccom Same Day            Compla nt
                                                                                                                                                                                                                               f om all ove we e st ll a v ng both w th SWA and     Thank you fo you t me and no matte what SW s st l the only
                                                                                                                                                                                                                               othe a l nes.                                        a l ne we w ll fly but please be upf ont.
                                                                                                                                                                                                                                                                                                     , el pty 20229858272 added. no el, contacts, SR.

                                                                                                                                                                                                                                                                                      notes n c us and sw ft show canceled due to ATC/WX.

                                                                                                                                                                                                                                                                                      pax was escheduled to a ve just unde 6 hou s late than
                                                                                                                                                                                                                                                                                      o g nally planned.

                                                                                                                                                                                                                                                                                      Da ly I ops fo 8/18/18

                                                                                                                                                                                                                                                                                      ŽtZ͕ >'͕ W,>͕ ͕ ĂŶĚ t/ Ͳ ƐĐŚĞĚƵůĞ ĞĚƵĐƚ ŽŶ ƚŽ ŵ ƚ ŐĂƚĞ
                                                                                                                                                                                                                                                                                      su face congest on and allow gate capac ty fo gate etu ns due
                                                                                                                                                                                                                                                                                      to fo ecasted thunde sto ms
                                                                                                                                                                                                                                                                                      H , I am unable to p nt the ece pt fo my fl ght fo my eco ds
                                                                                                                                                                                                                                                                                      f om my account, can you please ema l me a copy of my ece pt?
2257858448357   8/22/2018 M32CZN, M32CZN, M32CZN      Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Request ng a ece pt
                                                                                                                                                                                                                                                                                      Thanks, No changes, sent ece pt f om CIRRUS, No el
                                                                                                                                                                                                                                                                                      pa ty/contacts

                                                                                                                                                                                                                                                                                      account web enabled and ema l n SR same as n RR account,
                                                                                                                                                                                                                                                                                      E o nvok ng se v ce SWA C eate Se v ce Request', method
                                                                                                                                                                                                                                                                                      'UpdateContact' at step 'Update Contact'.(SBL-BPR-00162)
                                                                                                                                                                                                                                                                                      --
                            MECQRU, MECQRU,                                                                                                                                                                                                                                           The same values fo 'Add ess, Name' al eady ex st.
2258516048221   8/26/2018                             Rese vat ons   Web Fo m       Rap d Rewa ds                   Account Reset                 Passwo d Reset                N/A                         Request            pw eset
                            MECQRU, MECQRU
                                                                                                                                                                                                                                                                                      If you would l ke to ente a new eco d, please ensu e that the
                                                                                                                                                                                                                                                                                      f eld values a e un que.(SBL-DAT-00382)(SBL-EXL-00151), I'm
                                                                                                                                                                                                                                                                                      hav ng t ouble logg ng n. I do not ecall my use name o
                                                                                                                                                                                                                                                                                      passwo d? please help, no el pty/contacts
                                                                                                                                                                                                                                                                                      ***SUP CALLBACK***

                                                                                                                                                                                                                                                                                   I called pax and I adv that I am a sup that s etu n ng h s equest
                                                                                                                                                                                                                                                                                   fo a ca lback. I adv that I have looked nto the s tuat on p o to
                                                                                                                                                                                                                                                                                    each ng out to h m. Pax cont nued to expla n what s
                                                                                                                                                                                                                                                                                   documented below. I adv that I unde stand but the se v ce he
                                                                                                                                                                                                                                                                                   pa d fo w th us was p ov ded. Pax states that t was p ov ded 3
                                                                                                                                                                                                                                                                                   hou s late. I adv that s co ect and we take owne sh p of that
                                                                                                                                                                                                                                                                                   wh ch s why we ssued the $100 SLV. Pax states that does not
                                                                                                                                                                                                                                                                                   even touch h s bank account and s nce they l ve n the UK and
                                                                                                                                                                                                                                                                                   we don't fly the e s does them no good. I adv that I do
                                                                                                                                                                                                                                                                                   unde stand but he cannot help that. I adv that we don't ly
                                                                                                                                                                                                                                                                                   the e and that we cant ssue h m a vouche fo anothe a l ne.
                                                                                                                                                                                                                               Custome seek ng nte m expenses cove ed fo           Pax ema ned upset stat ng he would even accept half of the
2258676788330   8/27/2018 U2OTH4, U2OTH4              CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Compla nt
                                                                                                                                                                                                                               nte nat onal t avel                                 $1700. I adv that s not someth ng we would be able to do. Pax
                                                                                                                                                                                                                                                                                   states they a e humans and quot ng pol cy just makes th s
                                                                                                                                                                                                                                                                                   wo se. I adv that I unde stand that and the ntent on s not to
                                                                                                                                                                                                                                                                                   fu the upset h m but to help h m unde stand why we cannot
                                                                                                                                                                                                                                                                                   hono h s equest. Pax states that he wants to talk to Ga y Kelly.
                                                                                                                                                                                                                                                                                   I adv that s not someth ng we can do as we we e h ed to speak
                                                                                                                                                                                                                                                                                   on h s behalf. Pax asked f he was he e. I adv that he s he e at
                                                                                                                                                                                                                                                                                   HDQ. Pax states he wants to talk to h m. I expla ned that s nce
                                                                                                                                                                                                                                                                                   Ga y s so busy, we we e h ed to speak on h s behalf and so
                                                                                                                                                                                                                                                                                   the e snt anyone I can t ansfe h m to. Pax states he w ote a
                                                                                                                                                                                                                                                                                   lette and expects a esponse f om Ga y h mse f. I adv that
                                                                                                                                                                                                                                                                                   Just n Packe has been handl ng a l h s w tten co espondences
                                                                                                                                                                                                                                                                                   and he w l cont nue to do so mov ng fo wa d even f t s
                                                                                                                                                                                                                                                                                   add essed to Ga y We went n c cles fo awh le I went s lent
                                                                                                                                                                                                                                                                                   - Rel pty RR 20818668463
                                                                                                                                                                                                                                                                                   - Rel SRs 2246248030317, 2253324901817, 2258676788330,
                                                                                                                                                                                                                                                                                   2248595118127, I have epeatedly t ed to get a esponse to th s
                                                                                                                                                                                                                                                                                   ongo ng s tuat on and have been p om sed a telephone call
                                                                                                                                                                                                                                                                                   wh ch has not been fo thcom ng.
                                                                                                                                                                                                                                                                                   Please can someone contact me
                                                                                                                                                                                                                               WB 2246248030317 & 2253324901817 Pax ema ns
                                                                                                                                                                                                                                                                                   u gently.
2258678744035   8/27/2018 U2OTH4, U2OTH4, U2OTH4      CR/RR          Web Fo m       Othe                            CR W teback                   D sag ees/Rema ns Upset       Upset w th GOG              Compla nt          unhappy w th s tuat on. Also el SRs 2258676788330 &
                                                                                                                                                                                                                                                                                   Thanks.
                                                                                                                                                                                                                               2248595118127.
                                                                                                                                                                                                                                                                                   Refe ence numbe - 2246248030317., el pa ty 20818668463/no
                                                                                                                                                                                                                                                                                    el contacts/ el SRs 2246248030317, 2253324901817,
                                                                                                                                                                                                                                                                                   2258676788330, 2248595118127

                                                                                                                                                                                                                                                                                      Attempted to call but unable to each nte nat onal numbe
                                                                                                                                                                                                                                                                                      Pax has equested a call back unde Rel SR 2258676788330

                                                                                                                                                                                                                                                                                             adv sed does not unde stand RTF appl cat on and why he
                                                                                                                                                                                                                                                                                      t cket exp es on 10/8/18. expla ned kakfxc booked 10/7/18
                                                                                                                                                                                                                                                                                      exp es 10/8/18/, she canceled and appl ed t to pn NKG7IF ,
                                                                                                                                                                                                                                                                                      canceled and then appl ed t to POSXEP , expla ned she kept
                                                                                                                                                                                                                                                                                      chang ng RTF and exp at on d d not change. Expla ned tf
                                                                                                                                                                                                                                                                                      m x ng, she adv sed neve told, ead me he o g nal t cket, and
                                                                                                                                                                                                                                                                                      adv sed sees the exp at on date but does not mean anyth ng,
                                                                                                                                                                                                                                                                                      expla ned and walked he th ough he t cket and whe e t says
                                                                                                                                                                                                                                                                                      a l funds must be used at bottom of t ne a y. She adv sed sees
                                                                                                                                                                                                                                                                                      that, but neve told f she appl es t same xp at on, p etended
                                                                                                                                                                                                                                                                                      to book and showed he on payment page the note that says
                                                                                                                                                                                                                                                                                      funds w ll cause t cket to take on exp at on. She held on the
                                                                                                                                                                                                                               Pax equest ng extens on of tf / adv sed unawa e of     phone fo a wh le thanked me fo my help and d sconnected,
2260614668078    9/6/2018 NKG7IF, POSXEP              CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   M xed Funds                 Comment/Quest on
                                                                                                                                                                                                                               exp at on due to eapply ng RTF                                adv sed does not unde stand RTF appl cat on and why he
                                                                                                                                                                                                                                                                                      t cket exp es on 10/8/18. expla ned kakfxc booked 10/7/18
                                                                                                                                                                                                                                                                                      exp es 10/8/18/, she canceled and appl ed t to pn NKG7IF ,
                                                                                                                                                                                                                                                                                      canceled and then appl ed t to POSXEP , expla ned she kept
                                                                                                                                                                                                                                                                                      chang ng RTF and exp at on d d not change. Expla ned tf
                                                                                                                                                                                                                                                                                      m x ng, she adv sed neve told, ead me he o g nal t cket, and
                                                                                                                                                                                                                                                                                      adv sed sees the exp at on date but does not mean anyth ng,
                                                                                                                                                                                                                                                                                      expla ned and walked he th ough he t cket and whe e t says
                                                                                                                                                                                                                                                                                      a l funds must be used at bottom of t ne a y. She adv sed sees
                                                                                                                                                                                                                                                                                      that, but neve told f she appl es t same xp at on, p etended
                                                                                                                                                                                                                                                                                      to book and showed he on payment page the note that says
                                                                                                                                                                                                                                                                                      funds w ll cause t cket to take on exp at on. She held on the
                                                                                                                                                                                                                                                                                      phone fo a wh le thanked me fo my help and d sconnected


                                                                                                                                                                                                                                                                                    Cla m No 163129238----$150 SLV., It d spleases me that I have
                                                                                                                                                                                                                                                                                    w tten a few of these compla nt ema ls n the past few months.
                                                                                                                                                                                                                                                                                    I had anothe te ble expe ence yeste day. My etu n fl ght
                                                                                                                                                                                                                                                                                    was cancelled fo no appa ent eason. When I called custome
                                                                                                                                                                                                                                                                                    se v ce, they told me t was cancelled due to land ng ssues. That
                                                                                                                                                                                                                                                                                    was n the mo n ng befo e the fl ght even took off. Not su e
                                                                                                                                                                                                                                                                                    how that could be. Plus, the othe 20 o mo e fl ghts f om San
                                                                                                                                                                                                                                                                                    Jose to San D ego had no ssue w th land ng o the 100s of othe
                                                                                                                                                                                                                                                                                    fl ghts nat on w de to Sam D ego. I was supposed to be be home
                                                                                                                                                                                                                                                                                    a l ttle afte 4 PM and, hav ng to change fl ghts, I m ssed an
                                                                                                                                                                                                                                                                                    obl gat on I had at 5 30 PM. In add t on to the cance led fl ght
                                                                                                                                                                                                                                                                                    and hav ng to change to a late fl ght, the fl ght was fu the
                                                                                                                                                                                                                               Roy w ote n because h s fl ght was delayed aga n due
2260966820987    9/8/2018 WPXD68, WPXD68, WPXD68 CR/RR               Web Fo m       Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                    Reaccom Same Day            Compla nt                                                               delayed due to the c ew hav ng to ID check eve yone, one by
                                                                                                                                                                                                                               to MX.
                                                                                                                                                                                                                                                                                    one, on the plane because of some e o on the end.

                                                                                                                                                                                                                                                                                      W th a l of th s, I d dn t get home unt l a afte 6 PM and m ssed
                                                                                                                                                                                                                                                                                      my obl gat on completely. The e seems to be a st ng of poo
                                                                                                                                                                                                                                                                                      custome se v ce and fl ght se v ce lately. No to ment on the
                                                                                                                                                                                                                                                                                      cance led fl ght. You know, f I we e to cancel my wo k at the
                                                                                                                                                                                                                                                                                      last m nute o had cont nued bad se v ce, I wouldn't be
                                                                                                                                                                                                                                                                                      employed ve y long.

                                                                                                                                                                                                                                                                                      Rega ds,

                                                                                                                                                                                                                                                                                                    , NO REL SR

                                                                                                                                                                                                                                                                                               ca led to nqu e about ece v ng a SLV that he sa d was
                                                                                                                                                                                                                                                                                      offe ed by the a po t fo the amount of 100$. D d not see the
                                                                                                                                                                                                                                                                                      offe ece ved f om the a po t and I d d ve fy the e was an 3
2261342502866   9/10/2018 PN5ZPB                      CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Comment/Quest on   B andon called to nqu e about SLV.
                                                                                                                                                                                                                                                                                      hou delay due to Mechan cal. Issued a 100$ Slv as a GOG fo a
                                                                                                                                                                                                                                                                                      tang ble apology.
                                                                                                                                                                                                                                                                                      Thanks Bobby




                                                                                                                                                                                                                                                                                                                                       Appx. 129
           Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                       Page 130 of 571 PageID 302



                                                                                                                                                                                                                                                                                        Refund ng RTF value of 183.96 as GOG because PAX could have
                                                                                                                                                                                                                                                                                        appl ed to 5261402702293. Refund ng RTF value of 183 96 as
                                                                                                                                                                                                                                                                                        GOG because PAX could have appl ed to 5261402702292.
                                                                                                                                                                                                                                                                                        Thanks, James

                                                                                                                                                                                                                                                                                        Cla m No 153033850 PNR VR4P52 183.96//2028
                                                                                                                                                                                                                                                                                        Cla m No 153033833 PNR VR4P52 183.96//2028

                                                                                                                                                                                                                                                                                       Adv sed Custome to call afte t avel s completed on MPT8DK
                                                                                                                                                                                                                                                                                       to efund ema n ng RTF (VR4P52) value. Thanks, James,
                                                                                                                                                                                                                                                                                       Refund ng RTF value of 183.96 as GOG because PAX could have
                                                                                                                                                                                                                                                                                       appl ed to 5261402702293. Refund ng RTF value of 183 96 as
                                                                                                                                                                                                                                                                                       GOG because PAX could have appl ed to 5261402702292.
                                                                                                                                                                                                                                 Fa led to apply RTF f om VR4P52 to flown PNRs, ssu ng Thanks, James
2261902497443    9/13/2018 LYE7IJ, MPT8DK, VR4P52      CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Fo ms of Payment                 Comment/Quest on
                                                                                                                                                                                                                                  efund as GOG on RTF
                                                                                                                                                                                                                                                                                       Cla m No 153033850 PNR VR4P52 183.96//2028
                                                                                                                                                                                                                                                                                       Cla m No 153033833 PNR VR4P52 183.96//2028

                                                                                                                                                                                                                                                                                        Adv sed Custome to call afte t avel s completed on MPT8DK
                                                                                                                                                                                                                                                                                        to efund ema n ng RTF (VR4P52) value. Thanks, James,
                                                                                                                                                                                                                                                                                        Refund ng RTF value of 183.96 as GOG because PAX could have
                                                                                                                                                                                                                                                                                        appl ed to 5261402702293. Refund ng RTF value of 183 96 as
                                                                                                                                                                                                                                                                                        GOG because PAX could have appl ed to 5261402702292.
                                                                                                                                                                                                                                                                                        Thanks, James

                                                                                                                                                                                                                                                                                        Cla m No 153033850 PNR VR4P52 183.96//2028
                                                                                                                                                                                                                                                                                        Cla m No 153033833 PNR VR4P52 183.96//2028
                                                                                                                                                                                                                                                                                        H . On 09/27/17 I w ote to you to exp ess ou expe ence w th a
                                                                                                                                                                                                                                                                                        b t of poo custome se v ce, ega d ng a fl ght that
                                                                                                                                                                                                                                                                                                           and I            ) took (out of San F anc sco).
                                                                                                                                                                                                                                                                                        One of the ep esentat ves w th Southwest epl ed w th two
                                                                                                                                                                                                                                                                                        much app ec ated $50 vouche s (one fo me and one fo M .
                                                                                                                                                                                                                                                                                        Hammond). Unfo tunately, weave had some ssues a se and
                                                                                                                                                                                                                                                                                        we e not able to use the vouche s befo e the exp at on date of
                                                                                                                                                                                                                                                                                        10/07/2018. Howeve , we we e told that an extens on could be
                                                                                                                                                                                                                                                                                        g anted f we ca led on the date of exp at on. I d d th s on
                                                                                                                                                                                                                                                                                        10/07/2018, w th hopes of extend ng both $50 vouche s. I was
                                                                                                                                                                                                                                                                                        successful n extend ng only one of the vouche s on 10/07/18
                                                                                                                                                                                                                                                                                        (m ne). I spent a lot of t me on the phone w th the ma n l neas
                                                                                                                                                                                                                                                                                         ep esentat ve, then the Funds Management Team, and last
                             PA6ONV, PA6ONV, PA6ONV,                                                                                                                                                                                                                                    Custome Se v ce. The latte told me to e-ma l Custome
2266731298051    10/8/2018                           CR/RR            Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   SLV                           Re ssue Request                  Comment/Quest on   equest extens on of SLV
                             PA6ONV                                                                                                                                                                                                                                                     Relat ons on today and that they donat see why the vouche fo
                                                                                                                                                                                                                                                                                                         couldnat be extended s nce they we e both
                                                                                                                                                                                                                                                                                         ssued based on the same eason, at the exact same t me, and
                                                                                                                                                                                                                                                                                        ne the vouche has been used. The ep f om Funds
                                                                                                                                                                                                                                                                                        Management sa d that he thought the e was an e o w th the
                                                                                                                                                                                                                                                                                        way the vouche was set up fo                        because t
                                                                                                                                                                                                                                                                                         nd cated aIssued as a f nal except ona. Howeve m ne was not.
                                                                                                                                                                                                                                                                                        We thank you fo ssu ng the vouche s, and would l ke to use
                                                                                                                                                                                                                                                                                        the opt on to extend, as t was desc bed to us. We just need
                                                                                                                                                                                                                                                                                        help gett ng one of the two extended.
                                                                                                                                                                                                                                                                                        Ou quest on s can someone extend the vouche fo
                                                                                                                                                                                                                                                                                                    just as the one fo myself                   was
                                                                                                                                                                                                                                                                                        extended? They we e ssued at the same t me fo the same
                                                                                                                                                                                                                                                                                         eason
                                                                                                                                                                                                                                                                                        ma      a d nen th
                                                                                                                                                                                                                                                                                             a called    (she vouche
                                                                                                                                                                                                                                                                                                              wo ks fowas ut l ze tyfocotlege).
                                                                                                                                                                                                                                                                                                                       commun             avel at all They
                                                                                                                                                                                                                                                                                                                                                they  ece ved
                                                                                                                                                                                                                                                                                        g ant to fly students to colleges n LAX. sa d that she called them
                                                                                                                                                                                                                                                                                        and they booked pn SZG2F7 but left out pax                         .
                                                                                                                                                                                                                                                                                        sa d that she called them and t ed to get h m booked on t e
                                                                                                                                                                                                                                                                                        same pn but they apol and sa d they couldn't add h m back on.
                                                                                                                                                                                                                                                                                        G oups adv sed he to go and pu chase h m tkt on same flt
                                                                                                                                                                                                                                                                                        sepa ate        a booked LSB3G8 and pa d $216.96. they found
                                                                                                                                                                                                                                                                                        out that anothe student was unable to go on t p. she called
                                                                                                                                                                                                                                                                                        G oups aga n and they sa d they could sw tch the pax and put
                                                                                                                                                                                                                                                                                                  on g oup pn but we en't able to efund LSB3G8.
                                                                                                                                                                                                                                                                                        adv sed he to call CR to nqu e about efund              s upset bc
                                                                                                                                                                                                                                                                                         t was SWA G oups e o n the f st place and feels l ke we
                                                                                                                                                                                                                                                                                        should be able to efund.
                             LSB3G8, SZG2F7, LSB3G8,                                                                                                                                                                             g oup book ng e o - d dn t put pax on lt and she had
2267255251352   10/10/2018                             CR/RR          Phone      Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Comment/Quest on
                             SZG2F7                                                                                                                                                                                              to ebook on d ff tkt                                 apol fo the g oup book ng e o . expla ned that CR cannot alte
                                                                                                                                                                                                                                                                                      g oup book ngs. adv sed that we can efund h s tkt (LSB3G8) due
                                                                                                                                                                                                                                                                                      to dup book ng f she can call them and put h m on the g oup
                                                                                                                                                                                                                                                                                       ese vat on. adv sed we just have to conf m n ou system he s
                                                                                                                                                                                                                                                                                      on 2pn s/tkts and then we can subm t efund fo $216.96. pax
                                                                                                                                                                                                                                                                                      was app ec at ve. adv sed he to call back to CR once she calls
                                                                                                                                                                                                                                                                                      g oups and gets h m on the g oup ese vat on           ca led n
                                                                                                                                                                                                                                                                                      (she wo ks fo commun ty co lege). they ece ved g ant to fly
                                                                                                                                                                                                                                                                                      students to co leges n LAX. sa d that she ca led them and they
                                                                                                                                                                                                                                                                                      booked pn SZG2F7 but left out pax                      . sa d that
                                                                                                                                                                                                                                                                                      she called them and t ed to get h m booked on t e same pn
                                                                                                                                                                                                                                                                                      but they apol and sa d they couldn t add h m back on. G oups
                                                                                                                                                                                                                                                                                      adv sed he to go and pu chase h m tkt on same flt sepa ate.
                                                                                                                                                                                                                                                                                      ma a booked LSB3G8 and pa d $216 96 they found out that
                                                                                                                                                                                                                                                                                        Calle s Name

                                                                                                                                                                                                                                                                                        b.Contact Telephone Numbe

                                                                                                                                                                                                                                                                                        c.Contact Ema l Add ess

                                                                                                                                                                                                                                                                                        d.Exp ed PNR PQO435

                                                                                                                                                                                                                                                                                        e.Passenge Name (s)
2267493155863   10/11/2018 PQO435, PQO435              CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request                  Comment/Quest on   F nal Re ssue Exp ed RTF
                                                                                                                                                                                                                                                                                        f.O g nal Exp at on Date of Funds 09/23/2018

                                                                                                                                                                                                                                                                                        g Exp ed RTF Balance 285.48
                                                                                                                                                                                                                                                                                        , Refund Summa y -
                                                                                                                                                                                                                                                                                        RTF Value $ 285.48
                                                                                                                                                                                                                                                                                        SLV13446850 -11/Ap /2019 - Fu f llment by Ema l $(185 48)
                                                                                                                                                                                                                                                                                        F nal
                                                                                                                                                                                                                                                                                        Cla m No 151043707 PNR PQO435

                                                                                                                                                                                                                                                                                        n cp/no el s
                                                                                                                                                                                                                                                                                        Inc dent epo t numbe MCOWN02181588, Octobe 11th 2018
                                                                                                                                                                                                                                                                                        Checked baggage at FLL fo fl ght WN482 at 12 15 to MCO, n
                                                                                                                                                                                                                                                                                        name of McCo loch, baggage numbe 0526473313.
                                                                                                                                                                                                                                                                                        Octobe 11th 2018 a ved MCO at 13 15, went to collect
                                                                                                                                                                                                                                                                                        baggage 0526473313, only t d d not a ve, contacted southwest
                                                                                                                                                                                                                                                                                        off ce and eg ste ed baggage lost nc dent at 14 07 (
2267840374537   10/13/2018 PVGFLU, PVGFLU              CR/RR          Web Fo m   Baggage                         Checked                       Lost/Delayed Bag              Inconven enced/Se v ce Fa lu e   Compla nt          Pax equest ng status check on delayed/lost luggage.    MCOWN02181588 ), had to ca y on w th connect ng fl ght
                                                                                                                                                                                                                                                                                        No weg an DI7058 depa t ng 16 10 on Octobe 11th 2018.
                                                                                                                                                                                                                                                                                        Octobe 12th 2018 Checked southwest webs te to f nd update
                                                                                                                                                                                                                                                                                        o nfo mat on only to f nd nc dent MCOWN02181588 has been
                                                                                                                                                                                                                                                                                        closed, how can th s be?
                                                                                                                                                                                                                                                                                        Please can you check and nfo m us of the p og ess n ecove ng
                                                                                                                                                                                                                                                                                        ou baggage 0526473313, and how you plan to get t back to us
                                                                                                                                                                                                                                                                                        please

                                                                                                                                                                                                                                                                                        ve f ed f t 1227 was delayed 150 m n due to MX SWAP IN LAX
                                                                                                                                                                                                                                                                                        (f om SWIFT) // I apolog zed fo whole nconven ence and
                                                                                                                                                                                                                                                                                        offe ed 150SLV as GOG // cla m # 164620447, 164620501,
2269067745890   10/19/2018 RGIO6L, SYP PL              CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Ove a l Pe fo mance           Rel ab l ty                      Compla nt          pax ca led n to compla n of 150 m n delay
                                                                                                                                                                                                                                                                                        ve f ed f t 1227 was delayed 150 m n due to MX SWAP IN LAX
                                                                                                                                                                                                                                                                                        (f om SWIFT) // I apolog zed fo whole nconven ence and
                                                                                                                                                                                                                                                                                        offe ed 150SLV as GOG // cla m # 164620447, 164620501
                                                                                                                                                                                                                                                                                        ., no el pa t es/no el contacts/ el SRs
                                                                                                                                                                                                                                                                                        2253324901817/2248595118127/2246248030317/22319885/225
                                                                                                                                                                                                                                                                                        8676788330/2258678744035

                                                                                                                                                                                                                                                                                        Pax not sat sf ed w th the phone/lette esponses and the
                                                                                                                                                                                                                                                                                        amount of the vouche g ven.

                                                                                                                                                                                                                                                                                     Wo k ng w th TL Alexand a on the next steps
                                                                                                                                                                                                                                                                                     Attempted to d al out tw ce w th no answe
                                                                                                                                                                                                                                                                                     D aft ng w tten esponse adv s ng that we would efund the
                                                                                                                                                                                                                                                                                     flown TKT as a gog, Pax ema ns d sappo nted w th phone/lette
                                                                                                                                                                                                                                  elated SR 2253324901817
                             U2OTH4, U2OTH4, U2OTH4,                                                                                                                                                                                                                                  esponses.
22319885        10/23/2018                           CR/RR            Lette      Othe                            CR W teback                   D sag ees/Rema ns Upset       Upset w th GOG                   Compla nt          Pax not sat sf ed w th the phone/lette esponses and
                             U2OTH4, U2OTH4                                                                                                                                                                                                                                          Rout ng to o g nal ep -
                                                                                                                                                                                                                                 the amt of the vouche g ven.
                                                                                                                                                                                                                                                                                        Related SRs
                                                                                                                                                                                                                                                                                        2246248030317
                                                                                                                                                                                                                                                                                        2248595118127
                                                                                                                                                                                                                                                                                        2253324901817

                                                                                                                                                                                                                                                                                        , P ocessed efund fo flown TKT as pe TL Alexand a. Hav ng
                                                                                                                                                                                                                                                                                        Alex put sup notes n cla m.

                                                                                                                                                                                                                                                                                        Cla m No 160273871, Ve f ed WB and eass gn ng to o g nal
                                                                                                                                                                                                                                                                                        Rep
                                                                                                                                                                                                                                                                                        C us- found locato v a ema l sea ch, add to SR Flt Deta l.

                                                                                                                                                                                                                                                                                        ARD- shows EB fo all the fl ght, MHTBWI A41, BWISAT B07, I had
2270068778007   10/24/2018 TKUN4L, TKUN4L, TKUN4L      Rese vat ons   Web Fo m   southwest.com                   P oduct/Funct onal ty         Ea lyB d                      P oduct Confus on                Comment/Quest on   Ea lyB d check- n                                      pa d fo ea ly b d check n fo my fl ghts tomo ow but
                                                                                                                                                                                                                                                                                        acc dently checked n ea l e onl ne so t eass gned my boa d ng
                                                                                                                                                                                                                                                                                        to late . Is the e a way fo me to ece ve my ea ly b d
                                                                                                                                                                                                                                                                                        placement nstead?, n pty o contacts




                                                                                                                                                                                                                                                                                                                                            Appx. 130
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                                                                                                                                                                                                                                                                                      h the e! When I d opped off my bag n Po tland t was d y and
                                                                                                                                                                                                                                                                                      when I p cked t up n LA t was wet a l ove , but espec a ly on
                                                                                                                                                                                                                                                                                      the bottom. I have p ctu es of whe e you can v sually see the
                                                                                                                                                                                                                                                                                      sta ns left on my qu lt wh ch was n the bottom of the bag. It
                                                                                                                                                                                                                                                                                      k nd of seems l ke t was a ned on fo qu te awh le and/o put
                                                                                                                                                                                                                                                                                      on a wet puddle. A custome se v ce ep told me I needed to
                                                                                                                                                                                                                                                                                       epo t t w th n the f st 4 hou s but I d dn't do that bc I d dn t
                                                                                                                                                                                                                                                                                      want to be a downe o be deal ng w th someth ng when I'm
                                                                                                                                                                                                                                                                                      supposed to be hav ng a n ce t me w th my f end! I know
                                                                                                                                                                                                                                                                                      m stakes happen and somet mes you can t cont ol fo a n o
                                                                                                                                                                                                                                                                                      what othe people's bags m ght sp ll but t seems l ke a lot of
                                                                                                                                                                                                                                                                                      wetness and def put a dampe on my a val/ also couldn't use
2270475489677   10/26/2018 W5949M, W5949M              CR/RR          Web Fo m   Baggage                         Checked                       Damaged Bag               Wet Bag/A t cle                  Compla nt          Wet bag.
                                                                                                                                                                                                                                                                                      my bedd ng o p llow fo the camp n ght I was do ng and had to
                                                                                                                                                                                                                                                                                       nconven ence othe s to f nd those th ngs fo me. Anyway you
                                                                                                                                                                                                                                                                                      can make th s ght?!, No Rel S /pty

                                                                                                                                                                                                                                                                                      Pe C us, pax checked n 1 bag on 10.25.18 at the t cket
                                                                                                                                                                                                                                                                                      counte @11 08.




                                                                                                                                                                                                                                                                                      Pax fa led to epo t w th n 4 h s HDQWN02199420

                                                                                                                                                                                                                                                                                      Cla m No 164865974-Issued $50 SLV.
                                                                                                                                                                                                                                                                                      co ected gende n PNR as pax booked ese vat on w th n 24
                             JWC4WM, JWC4WM,
2270499709467   10/26/2018                             Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng      Book ng E o                      Comment/Quest on   equest ng gende n ese vat on to be co ected              hou s, would l ke to change the t tle n my name f om Ms. to
                             JWC4WM
                                                                                                                                                                                                                                                                                      M ., n p/nc
                                                                                                                                                                                                                                                                                      Added 1400 po nts fo G oup conf mat on RESUCO., Attempted
                                                                                                                                                                                                                                                                                      to add RESUCO, ece ved e o . Fo wa d ng to account
                                                                                                                                                                                                                                                                                      ma ntenance fo add., Please c ed t my account fo t avel
                             RESUCO, RESUCO, RESUCO,                                                                                                                                                                                                                                  10/25/18 - 10/28/18. RT Atlanta to Las Vegas. Conf mat on #
2271203742987   10/30/2018                             CR/RR          Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status   G oup/SWA Vacat ons PFP          Comment/Quest on   Needs pfp
                             RESUCO                                                                                                                                                                                                                                                   RESUCO
                                                                                                                                                                                                                                                                                      Fl ghts #2009 and #4880
                                                                                                                                                                                                                                                                                      Thank you
                                                                                                                                                                                                                                                                                                 , Related pa ty, un elated ssue/n c
                                                                                                                                                                                                                                                                                      Added 1400 po nts fo G oup conf mat on RESUCO., CIRRUS
                                                                                                                                                                                                                                                                                      shows that th s s a g oup book ng, Fo wa d ng to RR
                                                                                                                                                                                                                                                                                      Ma ntenance fo past fl ght po nts fo a g oups book ng., No el
                                                                                                                                                                                                                                                                                      ptys o contacts, Please c ed t my account fo t avel 10/25/18 -
                             RESUCO, RESUCO, RESUCO,
2271204344687   10/30/2018                             CR/RR          Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status   Past Fl ght Po nts               Comment/Quest on   Custome equest ng past fl ght po nts.                    10/28/18. RT
                             RESUCO, RESUCO
                                                                                                                                                                                                                                                                                      Atlanta/Las Vegas.
                                                                                                                                                                                                                                                                                      Fl ght# 2009 and #4880
                                                                                                                                                                                                                                                                                      Thank you.


                                                                                                                                                                                                                                                                                      no el pa t es/no el contacts/ el SR 22319885 among othe s

                                                                                                                                                                                                                                                                                      CR W te pax ema ns upset wants to escalate.
                                                                                                                                                                                                                                                                                      Spoke w th TL Alexand a and was g ven ok to use matte closed
                                                                                                                                                                                                                                                                                      text.
                             U2OTH4, U2OTH4, U2OTH4,                                                                                                                                                                         CR W te pax ema ns upset wants to escalate. Rel SR
2271446789754    11/1/2018                           CR/RR            Web Fo m   Othe                            CR W teback                   D sag ees/Rema ns Upset   Seek ng Escalat on               Compla nt                                                                   , OK to use matte closed text - thanks, Alexand a TL, Rece ved
                             U2OTH4                                                                                                                                                                                          22319885
                                                                                                                                                                                                                                                                                      an ema l f om you ep esentat ve JUSTIN PACKER and am
                                                                                                                                                                                                                                                                                      w t ng anothe lette .
                                                                                                                                                                                                                                                                                      many deta ls n the ema l do not make sense.
                                                                                                                                                                                                                                                                                      Aga n, I w ll t y to contact M Ga y Kelly, as CEO of the
                                                                                                                                                                                                                                                                                      company., Ve f ed WB and eass gn ng to o g nal Rep

                                                                                                                                                                                                                                                                                      I ust wanted to make the document co ect on.The document
                                                                                                                                                                                                                                                                                      co ect on that would l ke to do s

                                                                                                                                                                                                                                                                                                ,
                             LSO4E6, LSO4E6, LSO4E6,
2272062211457    11/4/2018                             Rese vat ons   Web Fo m   Othe                            Othe Request                  N/A                       N/A                              Comment/Quest on   document co ect on
                             LSO4E6
                                                                                                                                                                                                                                                                                      Document exp at on (fo mat DD-MM-YYYY) 07-06-2020 - 06-
                                                                                                                                                                                                                                                                                      09-2023
                                                                                                                                                                                                                                                                                      Document numbe 472775410 - 590882861, LMOM, n p/n c,
                                                                                                                                                                                                                                                                                      unsu e of document type, eached out to ESCO fo ass stance
                                                                                                                                                                                                                                                                                      Dea S /Madam,
                                                                                                                                                                                                                                                                                      Please conf m no-show and p oceed w th the tax efund fo
                                                                                                                                                                                                                                                                                      unused ese vat on n acco dance to the o g nal mode of
2273695462215   11/12/2018 PUYJMB, PUYJMB, PUYJMB      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds   Pol cy Adhe ence                 Comment/Quest on   equest ng efund of tax
                                                                                                                                                                                                                                                                                      payment.
                                                                                                                                                                                                                                                                                      Thank you., n pc, SSR OTHS ETKT REVOKED BY WN DUE TO
                                                                                                                                                                                                                                                                                      NOSHOW
                                                                                                                                                                                                                                                                                      ARD T4ZGHR added RR numbe ., I d d not have my ewa ds
2274055591397   11/14/2018 T4ZGHR, T4ZGHR, T4ZGHR      Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com          Add Account Numbe to PNR         Comment/Quest on   Add RR numbe to ese vat on                               numbe w th me when I made th s ese vat on. Can I st ll be
                                                                                                                                                                                                                                                                                      c ed ted w th ewa ds po nts to my account???, n c/n p
                                                                                                                                                                                                                                                                                      Hey the e, I am subm tt ng a cla m ega d ng my past cancelled
                                                                                                                                                                                                                                                                                      fl ght 311. Gett ng a not ce that you fl ght s cance led s the
                                                                                                                                                                                                                                                                                      wo st. Th s cancellat on was p etty nconven ent fo me. I would
                                                                                                                                                                                                                                                                                      l ke a vouche fo th s cancelled fl ght f t meets the
2274526573089   11/16/2018 QVYWSL                      CR/RR          Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                         Company News              Pend ng Catego y                 Compla nt          se v cema l, getse v ce.com, fl ght delay/cx compla nt
                                                                                                                                                                                                                                                                                        equ ements to do so. Please let me know f you need anyth ng
                                                                                                                                                                                                                                                                                      f om me to make th s happen and let me know when I can
                                                                                                                                                                                                                                                                                      expect to ece ve the vouche . Rega ds,


                                                                                                                                                                                                                                                                                      C us- Ve f ed fl ght deta l, pax flew., Manually add ng 401 pts
                                                                                                                                                                                                                                                                                      as GOG fo PFP e o unde JTI68N
                             JTI68N, JT 68N, JT 68N,
2274825229547   11/17/2018                             CR/RR          Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status   Past Fl ght Po nts               Comment/Quest on   PFP equest                                               66.77 x 6 = 401, Please add past fl ght po nts f om conf mat on
                             JTI68N, JT 68N
                                                                                                                                                                                                                                                                                      numbe JT 68N to 20550973520, Rc- 20550973520 M,
                                                                                                                                                                                                                                                                                      20075608991 Inact ve M, v a                           N p., TLC-
                                                                                                                                                                                                                                                                                      Ve f ed RR account, eq pfp e o , efe to RR Ma nt.
                                                                                                                                                                                                                                                                                      I would l ke to be efunded o compensated fo th s t p. We
                                                                                                                                                                                                                                                                                      we e not told t was canceled. Also, the s te does not show the
                                                                                                                                                                                                                                                                                      fl ght was cancelled. The lady check ng s n stated the fl ght was
                                                                                                                                                                                                                                                                                      cancelled at 5 AM th s mo n ng but then changed t to 10 PM the
                                                                                                                                                                                                                                                                                      n ght befo e. She was also ve y ude about the nconven ence.
                                                                                                                                                                                                                                                                                      We now had to pay a $50 ube to get the the a po t, a $50 back
                                                                                                                                                                                                                                                                                      to the place we we e stay ng, we now a e pay ng anothe $80
                                                                                                                                                                                                                                                                                      fo ou a bnb aga n and we a e pay ng anothe $7.50 n pa k ng
                                                                                                                                                                                                                                                                                      fo the Kansas C ty a po t. I would l ke compensated fo all of
                                                                                                                                                                                                                                                                                      that. As we l as appa ently the e a e no fl ghts out so we have to
                                                                                                                                                                                                                                                                                      have sepa ate fl ghts and I w ll need to wa t 5 hou s at the
                                                                                                                                                                                                                                                                                      a po t fo my boyf ends to get t. I am m ss ng wo k wh ch I am
                                                                                                                                                                                                                                                                                      not be ng ep manded fo . I expect a esponse w th a esolut on
                                                                                                                                                                                                                             Fl ght canceled due to weathe , no AOM, poo Cust.
                             LL7K92, TE94V4, LL7K92,                                                                                                                                                                                                                                  on what you a e go ng to do to ass st me, I would l ke to be
2276228243730   11/25/2018                             CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                    Reaccom D ffe ent Day            Compla nt          Se v ce, eaccomm next day, seek ng e mbu sement
                             TE94V4                                                                                                                                                                                                                                                    efunded o compensated fo th s t p. We we e not told t was
                                                                                                                                                                                                                             of nt. expenses.
                                                                                                                                                                                                                                                                                      canceled. Also, the s te does not show the fl ght was cancelled.
                                                                                                                                                                                                                                                                                      The lady check ng s n stated the fl ght was cancelled at 5 AM
                                                                                                                                                                                                                                                                                      th s mo n ng but then changed t to 10 PM the n ght befo e. She
                                                                                                                                                                                                                                                                                      was also ve y ude about the nconven ence. We now had to pay
                                                                                                                                                                                                                                                                                      a $50 ube to get the the a po t, a $50 back to the place we
                                                                                                                                                                                                                                                                                      we e stay ng, we now a e pay ng anothe $80 fo ou a bnb
                                                                                                                                                                                                                                                                                      aga n and we a e pay ng anothe $7 50 n pa k ng fo the Kansas
                                                                                                                                                                                                                                                                                      C ty a po t. I would l ke compensated fo a l of that. As we l as
                                                                                                                                                                                                                                                                                      appa ently the e a e no fl ghts out so we have to have sepa ate
                                                                                                                                                                                                                                                                                      fl ghts and I w l need to wa t 5 hou s at the a po t fo my
                                                                                                                                                                                                                                                                                      boyf ends to get t. I am m ss ng wo k wh ch I am not be ng
                                                                                                                                                                                                                                                                                       ep manded fo . I expect a esponse w th a esolut on on what
                                                                                                                                                                                                                                                                                      you a e go ng to do to ass st me No el SRs no el pa t es
                                                                                                                                                                                                                                                                                      Custome was told that she could fly on standby on a fl ght. Ou
                                                                                                                                                                                                                                                                                      agent wasn t able to get he on the fl ght. Adv sed I was not able
                                                                                                                                                                                                                                                                                      to see any ns de nfo mat on as to what the standby l st. As a
                                                                                                                                                                                                                                                                                      GOG, ssu ng a $100 SLV fo nconven ence.
2276557039724   11/26/2018 W2ZX2G                      CR/RR          Phone      Rap d Rewa ds                   Account Info mat on/Updates   A-L st P efe ed           Standby P o ty                   Compla nt          Same Day T e Standby
                                                                                                                                                                                                                                                                                      Cla m No 165907010

                                                                                                                                                                                                                                                                                      Thanks, Matt E. e133170
                                                                                                                                                                                                                                                                                      PAX upset that theu wete g ven m s nfo mat on and due to that
                                                                                                                                                                                                                                                                                       nfo mat on he had to get a hotel n o de to fly out w th the
                                                                                                                                                                                                                                                                                      bags, pax equest ng a efund fo the hotel but due to the
                                                                                                                                                                                                                                                                                      c cumstsnces we would not efund fo the hotel nstead
2276805940638   11/27/2018 QT562Y                      CR/RR          Phone      Baggage                         Checked                       Lost/Delayed Bag          Inconven enced/Se v ce Fa lu e   Comment/Quest on   baggage delay
                                                                                                                                                                                                                                                                                      offe ed $200 slv FOR BOTH PAXS


                                                                                                                                                                                                                                                                                      Cla m No 165950634
                                                                                                                                                                                                                                                                                      Pax was f om a book ng agency and stated that the name on the
                                                                                                                                                                                                                                                                                       ese vat on was w ong. The w fe has he name on the tw ce
                                                                                                                                                                                                                                                                                      and t should be                          Ve f ed the DOB and
                                                                                                                                                                                                                                                                                      adv sed to send a copy of the Passpo t. Info med once I ece ve
                                                                                                                                                                                                                                                                                      t, I w ll make the change. Pax was app ec at ve and sa d she
2276948240180   11/28/2018 JMDVJ5                      CR/RR          Phone      Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng      Book ng E o                      Comment/Quest on   Name Co ect on on Rese vat on
                                                                                                                                                                                                                                                                                      would send t ght away. Gave he swac ema l. THanks, Dav d
                                                                                                                                                                                                                                                                                      E132669

                                                                                                                                                                                                                                                                                      10 30 AM 11/28 Docs ece ved and was go ng to make change,
                                                                                                                                                                                                                                                                                      but t had al eady been done. Thanks, Dav d E132669




                                                                                                                                                                                                                                                                                                                                       Appx. 131
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                                                                                                                                                                                                                                                                              He lo! I have been fly ng w th Southwest fo some t me now and
                                                                                                                                                                                                                                                                              have neve had anyth ng but a wonde ful expe ence unt l my
                                                                                                                                                                                                                                                                              t p home fo Thanksg v ng. F st, when I was gett ng eady to
                                                                                                                                                                                                                                                                              boa d my plane at TPA, you gate attendant, Dan el, nfo med
                                                                                                                                                                                                                                                                              me that I would need to check my bag that I planned to ca y on
                                                                                                                                                                                                                                                                              because they we e expect ng the ove head b ns to f ll qu ckly.
                                                                                                                                                                                                                                                                              W thout lett ng me get even a wo d n, Dan el cont nued to a se
                                                                                                                                                                                                                                                                              h s vo ce at me and epeat h mself ove and ove w thout lett ng
                                                                                                                                                                                                                                                                              me ask any quest ons. I have neve been so spoken to n th s
                                                                                                                                                                                                                                                                              way by a custome se v ce employee and, as I was ust about to
                                                                                                                                                                                                                                                                              boa d a plane, was left feel ng ve y uneasy. Next, upon my
                                                                                                                                                                                                                                                                              a val to DCA, I ece ved my checked bag only to f nd mult ple
                                                                                                                                                                                                                                                                              damages on the actual luggage. Because I was n a hu y, I was
                             JM479K, L9682Y, JM479K,                                                                                                                                                                      Pax upset at ude & ab as ve CS, damaged bag, uneasy not able to f le a compla nt w th the baggage se v ces off ce th s
2277394422956   11/30/2018                             CR/RR          Web Fo m   Custome Se v ce               Pe sonnel                        Rudeness                      Ab as ve Tone/D ect on   Compla nt
                             L9682Y                                                                                                                                                                                       about fly ng SWA                                    of cou se was ve y d sappo nt ng. Lastly, as I wa ted to boa d the
                                                                                                                                                                                                                                                                              plane back to TPA afte the hol day, I was shocked when the
                                                                                                                                                                                                                                                                              boa d ng p ocess began w thout any announcements, and wh le
                                                                                                                                                                                                                                                                              the sc een about ou gate was st l eflect ng a d ffe ent fl ght. I
                                                                                                                                                                                                                                                                              went to ask the gate attendant f th s was ndeed the l ght to
                                                                                                                                                                                                                                                                              TPA and how come I d dn t hea any announcements o see my
                                                                                                                                                                                                                                                                              fl ght on the sc een. The attendant, who d dn't have a nametag,
                                                                                                                                                                                                                                                                              was ve y ude and esponded I made plenty of
                                                                                                                                                                                                                                                                              announcements, that's you fault. As my boa d ng pos t on has
                                                                                                                                                                                                                                                                              al eady passed, I asked f I could boa d the plane now and he
                                                                                                                                                                                                                                                                               esponded say ng Yeah f you pu l you boa d ng pass up
                                                                                                                                                                                                                                                                              qu ckly, n a ve y, ve y ude way. Not only d d I m ss my
                                                                                                                                                                                                                                                                              boa d ng g oup (A21), I was aga n left boa d ng a plane feel ng
                                                                                                                                                                                                                                                                                e ycalled
                                                                                                                                                                                                                                                                              Pax   n vousandand
                                                                                                                                                                                                                                                                                              wasuneasy
                                                                                                                                                                                                                                                                                                   due upgI am
                                                                                                                                                                                                                                                                                                             adea fefund
                                                                                                                                                                                                                                                                                                                     quent
                                                                                                                                                                                                                                                                                                                         fo flye  and
                                                                                                                                                                                                                                                                                                                              t cket   am fam l a
                                                                                                                                                                                                                                                                                                                                     numbe
                                                                                                                                                                                                                                                                                 5262411674484. Refund was ssued to Maste ca d on f le
                                                                                                                                                                                                                                                                                 end ng n 8885, athe than the efund be ng p ocessed to the
                                                                                                                                                                                                                                                                                 D scove on f le end ng 7268. Issued cove efund fo ca d
                                                                                                                                                                                                                                                                                 end ng 7268, and manual eb ll fo ca d 8885.

                                                                                                                                                                                                                                                                                 Cla m No 165832971

                                                                                                                                                                                                                                                                                 Thanks E n CR, Pax called and was due upg ade efund fo t cket
                                                                                                                                                                                                                                                                                 numbe 5262411674484. Refund was ssued to Maste ca d on
                                                                                                                                                                                                                                                                                 f le end ng n 8885, athe than the efund be ng p ocessed to
                                                                                                                                                                                                                                                                                 the D scove on f le end ng 7268. Issued cove efund fo ca d
                                                                                                                                                                                                                                                                                 end ng 7268, and manual eb ll fo ca d 8885.
                             JGKTFI, RH4F8J, GKTFI,
2277426581912   11/30/2018                             CR/RR          Phone      Refunds                       Refund Request                   Refund P ocedu es             Status check             Compla nt          pax eq nfo about efund sent to w ong ca d
                             RH4F8J, JGKTFI, RH4F8J                                                                                                                                                                                                                              Cla m No 165832971

                                                                                                                                                                                                                                                                                 Thanks E n CR, pe s 2277426581912 f om E n S n CR,
                                                                                                                                                                                                                                                                                 subm tted Request #447 n Qu ckbase to equest to e-b l
                                                                                                                                                                                                                                                                                 $114.00 to Maste Ca d end ng n 8885. Adv ep so she may adv
                                                                                                                                                                                                                                                                                 cc owne . show ng agent al eady subm tted equest to efund
                                                                                                                                                                                                                                                                                 co ect cc thx ad enne c 2043, pe s 2277426581912 f om E n
                                                                                                                                                                                                                                                                                 S n CR, subm tted Request #447 n Qu ckbase to equest to e-
                                                                                                                                                                                                                                                                                 b l $114.00 to Maste Ca d end ng n 8885. Adv ep so she may
                                                                                                                                                                                                                                                                                 adv cc owne . show ng agent al eady subm tted equest to
                                                                                                                                                                                                                                                                                  efund co ect cc.thx ad enne c 2043, e-b l was ejected by CC
                                                                                                                                                                                                                                                                                 company, as a esult SWA would ncu a loss of efund equest
                                                                                                                                                                                                                                                                                 to D scove Ca d s hono ed. TL notes may be equ ed as the
                                                                                                                                                                                                                                                                                  ssue at hand
                                                                                                                                                                                                                                                                                 Custome        s a that
                                                                                                                                                                                                                                                                                            stated   esult of changed
                                                                                                                                                                                                                                                                                                         she  the new PNR
                                                                                                                                                                                                                                                                                                                       efundab l tyand
                                                                                                                                                                                                                                                                                                                          RVIQXV    enhancement
                                                                                                                                                                                                                                                                                                                                        ece ved a
                                                                                                                                                                                                                                                                                 conf mat on ema l that the change was p ocessed and she had a
                                                                                                                                                                                                                                                                                 $23 t avel fund. I apolog zed and adv sed the custome to send
                                                                                                                                                                                                                                                                                 the docs to my attent on and I would subm t a efund equest
                                                                                                                                                                                                                                                                                 pend ng docs. P ov ded custome w th CR ema l, cla m numbe
                                                                                                                                                                                                                                                                                 and employee numbe . I also ebooked and hono ed on PNR
                                                                                                                                                                                                                                                                                 LMKDOF

                                                                                                                                                                                                                                                                                 Cla m No 166131067

                                                                                                                                                                                                                                                                                 I w l ema l custome once docs a e ece ved and efund
                                                                                                                                                                                                                                                                                 p ocessed., Custome stated that she changed PNR RV QXV and
                                                                                                                                                                                                                                                                                  ece ved a conf mat on ema l that the change was p ocessed
                           LMKDOF, RVIQXV, LMKDOF,                                                                                                                                                                                                                               and she had a $23 t avel fund. I apolog zed and adv sed the
2277904698551    12/3/2018                         CR/RR              Phone      Rese vat ons/T ckets/Fa es    E-Tkt/LUV Vouche /G ft Ca d      No-Show Fo fe ted Funds       Pol cy Adhe ence         Compla nt          WGA no show- system e o
                           RV QXV                                                                                                                                                                                                                                                custome to send the docs to my attent on and I would subm t a
                                                                                                                                                                                                                                                                                  efund equest pend ng docs. P ov ded custome w th CR ema l,
                                                                                                                                                                                                                                                                                 cla m numbe and employee numbe . I also ebooked and
                                                                                                                                                                                                                                                                                 hono ed on PNR LMKDOF

                                                                                                                                                                                                                                                                                 Cla m No 166131067

                                                                                                                                                                                                                                                                             I w l ema l custome once docs a e ece ved and efund
                                                                                                                                                                                                                                                                             p ocessed., Custome stated that she changed PNR RV QXV and
                                                                                                                                                                                                                                                                              ece ved a conf mat on ema l that the change was p ocessed
                                                                                                                                                                                                                                                                             and she had a $23 t avel fund. I apolog zed and adv sed the
                                                                                                                                                                                                                                                                             custome to send the docs to my attent on and I would subm t a
                                                                                                                                                                                                                                                                              efund equest pend ng docs. P ov ded custome w th CR ema l,
                                                                                                                                                                                                                                                                             cla m numbe and employee numbe I also ebooked and
                                                                                                                                                                                                                                                                             I would l ke to sta t by say ng I have always and w ll cont nue to
                                                                                                                                                                                                                                                                             fly SWA, but was a l ttle taken back by a comment one of the
                                                                                                                                                                                                                                                                             check n fl ght attendants d d. I a ved at Oakland A po t w th
                                                                                                                                                                                                                                                                             my husband at 10 45 am and had a 3h 1/2 h lay ove unt l my
                                                                                                                                                                                                                                                                             next l ght, we walked to ou gate 21 and sat the e and wa ted
                                                                                                                                                                                                                                                                             fo the t me to come. As I beg n to look a ound, I eal zed
                                                                                                                                                                                                                                                                             someth ng was not ght. I beg n to look a ound two othe
                                                                                                                                                                                                                                                                             couples showed up and they beg n to quest on the gate as no
                                                                                                                                                                                                                                                                             one was com ng. We all got up to look at the schedule and the
                                                                                                                                                                                                                                                                             gate had been changed so at 15 m ns t ll the t me we we e
                                                                                                                                                                                                                                                                             suppose to boa d we we e ush ng to ou gate. I a ved ve y
                                                                                                                                                                                                                                                                             upset and told the pe son's s tt ng the e how we had been
                                                                                                                                                                                                                          Pax upset w th gate change and w th gate agent     wa t ng at the w ong gate fo 3h s, she then sa d to me It was
2278275088527    12/4/2018 Q4HY43, Q4HY43              CR/RR          Web Fo m   Custome Se v ce               Pe sonnel                        Rudeness                      Inapp op ate Behav o     Compla nt          mak ng a ude no se afte speak ng to them about not announced ove the nte com I sa d ma'am we have been he e
                                                                                                                                                                                                                          gett ng any announcements about gate change.       s nce 10 45 and neve hea d the announcement. I then was
                                                                                                                                                                                                                                                                             walk ng off and hea d he and the othe gentleman talk ng and
                                                                                                                                                                                                                                                                             one of them made a sma t no se l ke sheeeeez ! I felt th s was
                                                                                                                                                                                                                                                                             uncalled fo as I was s mply tell ng them othe people we e
                                                                                                                                                                                                                                                                             s tt ng the e and had no clue gate had changed. I l ve n Texas
                                                                                                                                                                                                                                                                             the f endly state . I wo k n custome se v ce and I would neve
                                                                                                                                                                                                                                                                             make any sm k o comment the way th s fl ght attendant d d. I
                                                                                                                                                                                                                                                                             bel eve we a e n bus ness because of ou custome s and we
                                                                                                                                                                                                                                                                             have a job because of them. I hope n the futu e they ead the
                                                                                                                                                                                                                                                                             m ss on because t does not state to t eat anyone w th
                                                                                                                                                                                                                                                                             d s espect.

                                                                                                                                                                                                                                                                                 Thank you, no el pty/SR/contacts.
                                                                                                                                                                                                                                                                                 >30 days, n pc, Pls add a m ddle name to the name on the
                                                                                                                                                                                                                                                                                  ese vat on Fu l name
2278409945931    12/5/2018 OOX369, OOX369, OOX369      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es    Rese vat ons                     Ass stance n book ng          Book ng E o              Comment/Quest on   add m ddle name                                        F st name
                                                                                                                                                                                                                                                                                 M ddle name
                                                                                                                                                                                                                                                                                 Last name
                                                                                                                                                                                                                                                                                 $207.96

                                                                                                                                                                                                                                                                                 Cla m No 152620395

                                                                                                                                                                                                                                                                                 Al eady p ocessed unde SR 2271386452523 by othe ep , Calle
                                                                                                                                                                                                                                                                                 s Name

                                                                                                                                                                                                                                                                                 b.Contact Telephone Numbe
2278476573039    12/5/2018 T3MVRS, T3MVRS              CR/RR          Phone      Rese vat ons/T ckets/Fa es    E-Tkt/LUV Vouche /G ft Ca d      E T cket/Res dual Tvl Funds   Re ssue Request          Comment/Quest on   F nal Re ssue Exp ed RTF
                                                                                                                                                                                                                                                                                 c.Contact Ema l Add ess

                                                                                                                                                                                                                                                                                 d.Exp ed PNR T3MVRS

                                                                                                                                                                                                                                                                                 e.Passenge Name (s)

                                                                                                                                                                                                                                                                                 f.O g nal Exp at on Date of Funds 10/30/2018

                                                                                                                                                                                                                                                                                 g Exp ed RTF Balance 307.96

                                                                                                                                                                                                                                                                                 **Wo k ng f om home. W ll efund f pax ema ls advofax w th
                                                                                                                                                                                                                                                                                 dox., advo w ll handle. no epo ts needed.

                                                                                                                                                                                                                                                                                 ϭϮͬϬϳͬϮϬϭϴ ϭϭ ϬϮ D ϭϮϵϰϬϴ ^EtEϬϭ' ^h
                                                                                                                                                                                                                                                                                 PAX WAS CHECKING INB CURBSIDE DID NOT HAVE LETTER FOR
                                                                                                                                                                                                                                                                                 ESAN WAS ADVISED OF REQUIREMENTS WHEN TRAVELING
                                                                                                                                                                                                                                                                                 WITH ESAN , PAX PURCHASED PCAR AND ALSO PA D FOR PET CSS
                                                                                                                                                                                                                                                                                 &ZE< t^ s ^ K& ^/dhd/KE ^ ^E zZ/d
                                                                                                                                                                                                                          Passenge states unawa e of ESA pol cy and seek ng      , was not awa e of emot onal suppo t an mal pol cy changes and
2279587838453   12/10/2018 RG5RVZ, RG5RVZ, RG5RVZ      Advocacy       Web Fo m   D sab l ty Related Se v ces   Ass st./Emot onal Supp An mals   Pol cy and P ocedu es         Documentat on            Compla nt
                                                                                                                                                                                                                           efund fo pet fees.                                    had to pay $95 SWA pet ca e (app ox $45 ) to fly f om San
                                                                                                                                                                                                                                                                                 D ego to Sa t Lake C ty. Then anothe $95 to fly f o Salt Lake C ty
                                                                                                                                                                                                                                                                                 back to San D ego. I was nfo med that contact ng custome
                                                                                                                                                                                                                                                                                 se v ce would efund my dolla s (o n my case I would accept
                                                                                                                                                                                                                                                                                 Po nts equ valent to the $$ amount. I now have a lette f om
                                                                                                                                                                                                                                                                                 my psych at st wh ch I p ck up f om he on Dec 20 as she s on
                                                                                                                                                                                                                                                                                 vacat on. I have anothe l ght booked f om SAN to SLC on Dec.
                                                                                                                                                                                                                                                                                 23. I would l ke to speak on the telephone w th someone as
                                                                                                                                                                                                                                                                                 l sted above.

                                                                                                                                                                                                                                                                                 k ndly co ec          and          name the last name s
                             WHCDM6, WHCDM6,                                                                                                                                                                              Pax would l ke to co ect the last name of a            w tten tw ce, t e co ect name s            &            .
2279862099599   12/11/2018                             Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es    Rese vat ons                     Ass stance n book ng          O g nal Setup            Comment/Quest on
                             WHCDM6                                                                                                                                                                                        ese vat on.                                           K ndly p oceed w th change, Made name co ect on., No el
                                                                                                                                                                                                                                                                                 pty/No contacts.




                                                                                                                                                                                                                                                                                                                                  Appx. 132
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                                                                                                                                                                                                                                                                            Pax call ng n stat ng that he cx th s fl ght w th the t avel agency
                                                                                                                                                                                                                                                                            k w , and they sent h m an ema l conf m ng the CX. He was
                                                                                                                                                                                                                                                                            unable to take th s t p and cla ms he CX the same day o day
                                                                                                                                                                                                                                                                            afte t was booked. He t ed to use the RTF, and t was g v ng
                                                                                                                                                                                                                                                                            h m an e o . He ca led n to CSS and they adv that t was a no
                                                                                                                                                                                                                                                                            show. I apol to pax fo the confus on and and that I can't speak
                                                                                                                                                                                                                                                                            to what the t avel agency told h m o what happened when
                                                                                                                                                                                                                                                                            they attempted to cx, but th s ese vat on was neve CX
                                                                                                                                                                                                                                                                            p ope ly. Adv that we g ve 10 m n befo e depa tu e to CX and
                                                                                                                                                                                                                                                                            sent out CX ema ls as soon as the ese vat on ahs been CX
                                                                                                                                                                                                                                                                            p ope ly. Adv pax that as of now those funds have been
2280169593160   12/13/2018 VI4PDI                      CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Attempted Cancel by Phone   Compla nt          NOSHOW, Pax cla ms he ece ved CX ema l
                                                                                                                                                                                                                                                                            fo fe ted and the e s no way to ece ve an RTF fo them. Pax
                                                                                                                                                                                                                                                                            adv that agency d d ece ve a conf mat on ema l. I adv pax we
                                                                                                                                                                                                                                                                            would be happy to ev ew dox fo a poss ble efund. Adv pax
                                                                                                                                                                                                                                                                            that the dox would have to be su f c ent, show ng the ent e CX
                                                                                                                                                                                                                                                                            ema l and ou efunds team would ev ew t. Adv pax f dox a e
                                                                                                                                                                                                                                                                            suff c ent we w ll p ocess the efund, but f they a e not he w ll
                                                                                                                                                                                                                                                                            be contacted w th n 30 days equest ng suff c ent dox. Gave pax
                                                                                                                                                                                                                                                                            the Refundsdox ema l and the SR to call at any t me to check on
                                                                                                                                                                                                                                                                            the status. Pax was thankful

                                                                                                                                                                                                                                                                            Thanks, B ana

                                                                                                                                                                                                                                                                            No el pty/SR, No el SRs/ptys, Contact account

                                                                                                                                                                                                                                                                            PNR KPMFIC no-showed fo
                                                                                                                                                                                                                                                                            No boa d ng act v ty, d dn't check- n, o anyth ng
                                                                                                                                                                                                                     T avel Agency w t ng n on behalf of Passenge who
2280486369751   12/14/2018 KPMF C, KPMFIC, KPMFIC      CR/RR   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence            Compla nt                                                                 No ema ks
                                                                                                                                                                                                                     no-showed nte nat onal PNR
                                                                                                                                                                                                                                                                            Cannot subm t fo efund, as unsu e as to why PAXs no-showed,
                                                                                                                                                                                                                                                                            Please conf m the no-show and p oceed w th the poss ble
                                                                                                                                                                                                                                                                             efund.
                                                                                                                                                                                                                                                                            I cancelled a fl ght that I booked 5/22/2018 w th c ed t of
                                                                                                                                                                                                                                                                            $243.96. I have b east cance & needed unexpected t eatment.
                                                                                                                                                                                                                                                                            I book w th SW la gely because of you no fee pol cy, wh ch s
                                                                                                                                                                                                                                                                            g eat. I cancelled th s fl ght June 8, 2018. I t ed to use the
                                                                                                                                                                                                                                                                            funds today and was told that because I used $73 f om a
                                                                                                                                                                                                                                                                            p ev ous cancelled fl ght that the funds a e exp ed. My
                                                                                                                                                                                                                                                                            unde stand ng s that funds a e good fo a yea , f I had known I
                                                                                                                                                                                                                     Pax seek ng extens on w th no assessment due to        had to fly by ll/15, I would have used the funds nstead of los ng
2281023293937   12/17/2018 MRE7T5, MRE7T5              CR/RR   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request             Compla nt
                                                                                                                                                                                                                     med cal                                                $100. I'm equest ng that the ent e $243.96 be ava lable fo
                                                                                                                                                                                                                                                                            use.
                                                                                                                                                                                                                                                                            Thank you., I spoke to pax and apol fo the c cumstance
                                                                                                                                                                                                                                                                            p event ng he f om t avel ng. I adv pax when you apply funds
                                                                                                                                                                                                                                                                            f om p ev ese vat ons t w l always take on the ea l est
                                                                                                                                                                                                                                                                            exp at on date just fo futu e efe ence. I adv pax as a gog I can
                                                                                                                                                                                                                                                                            offe a efund of the funds back to o g fop due to he not be ng
                                                                                                                                                                                                                                                                            able to t avel due to med cal. Pax ve y app ec at ve of my call.


                                                                                                                                                                                                                                                                            Fo wa d to CR-Custome equest ng pfp's JTRNQR-Custome
                                                                                                                                                                                                                                                                            t aveled w th legal name that does not match Rap d Rewa d
                                                                                                                                                                                                                                                                            account, H , I t aveled w th Southwest a l nes 31 Octobe . I had
                                                                                                                                                                                                                                                                            pu chased a T cket f om an Onl ne t avel agency because I was
                                                                                                                                                                                                                                                                            t avel ng f om Eu ope. I made ese vat on w th spell ngs of my
                                                                                                                                                                                                                                                                            name that's n my passpo t. So now I'm t y ng to edeem po nts
                                                                                                                                                                                                                                                                            and I'm not able to do so because of d ffe ent spell ng of my f st
                                                                                                                                                                                                                                                                            name.

                             JTRNQR, JTRNQR, JTRNQR,                                                                                                                                                                                                                        Th s fl ght my name s desc bed as
2281184471042   12/18/2018                             CR/RR   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts          Comment/Quest on   Custome equest ng pfp's
                             JTRNQR

                                                                                                                                                                                                                                                                            But I'm esg ste ed w th Southwest as

                                                                                                                                                                                                                                                                            Please let me know f you can help ???

                                                                                                                                                                                                                                                                            Thanks

                                                                                                                                                                                                                                                                                              , Manually Issued po nts to
                                                                                                                                                                                                                                                                            J RNQR 10/31/2018, el pty othe ssue/no contacts

                                                                                                                                                                                                                                                                            Dox ece ved, nsuff c ent.

2281737280174   12/20/2018 VI4PDI, VI4PDI              CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence            Comment/Quest on   WGA No Show - o g nal SR 2280169593160                 The sc eenshots only show conve sat ons w th h s t avel agent
                                                                                                                                                                                                                                                                             ega d ng Southwest cance lat on pol cy., LVM docs a e not
                                                                                                                                                                                                                                                                            suff c ent.
                                                                                                                                                                                                                                                                            Dea S /Madam,
                                                                                                                                                                                                                                                                            k ndly p oceed w th the fu l efund fo ese vat on
                                                                                                                                                                                                                                                                            MBYLOM due to the fact that fl ght was escheduled by a l ne.
                                                                                                                                                                                                                                                                            Please, subm t e mbu sement n acco dance to the o g nal
                                                                                                                                                                                                                                                                            mode of payment.
2283257710839   12/28/2018 MBYLOM, MBYLOM              CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Weathe                        Depa tu e C ty              Compla nt          FLT delay due to WX n DAL pax d d not t avel.
                                                                                                                                                                                                                                                                            Thank you, No el Pa ty/S
                                                                                                                                                                                                                                                                            FLT#6617 on 12/26 was delayed 287 m ns due to atc pax d d not
                                                                                                                                                                                                                                                                            t avel and found a te nat ve t anspo tat on.
                                                                                                                                                                                                                                                                            Cla m No 166919800 PNR MBYLOM//CC558717XXXXXX1184
                                                                                                                                                                                                                                                                            $(132.98)
                                                                                                                                                                                                                                                                            He lo! Happy hol days! I do love my SWA fl ghts and you a l do a
                                                                                                                                                                                                                                                                            g eat job fo the most pa t of keep ng you planes on t me.
                                                                                                                                                                                                                                                                            Howeve , I was not so fo tunate yeste day when I was on a 7am
                                                                                                                                                                                                                                                                            fl ght t y ng to get to an mpo tant meet ng n the Bay A ea.
                                                                                                                                                                                                                                                                            Even w th w ggle oom of an hou - the two hou delay do to the
                                                                                                                                                                                                                                                                            a plane mechan cal ssue made t so I was not able to attend the
                                                                                                                                                                                                                                                                            wo k meet ng I had. My pa tne was also t avel ng w th me, he
                                                                                                                                                                                                                                                                             nfo mat on s as fo lows                         . SWA
                                                                                                                                                                                                                                                                                             Conf # TYMBI8. We would app ec ate c ed t back
                                                                                                                                                                                                                                                                            fo the nconven ence. Thank You                 Hello! Happy
                                                                                                                                                                                                                                                                            hol days! I do love my SWA fl ghts and you a l do a g eat job fo
                                                                                                                                                                                                                                                                            the most pa t of keep ng you planes on t me. Howeve , I was
                                                                                                                                                                                                                                                                            not so fo tunate yeste day when I was on a 7am fl ght t y ng to
                             M3Z73U, TYMBI8, M3Z73U,
2283559485471   12/29/2018                             CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Compla nt          Mx delay. Seek ng GOG.                                 get to an mpo tant meet ng n the Bay A ea. Even w th w ggle
                             TYMB 8
                                                                                                                                                                                                                                                                             oom of an hou - the two hou delay do to the a plane
                                                                                                                                                                                                                                                                            mechan cal ssue made t so I was not able to attend the wo k
                                                                                                                                                                                                                                                                            meet ng I had. My pa tne was also t avel ng w th me, he
                                                                                                                                                                                                                                                                             nfo mat on s as fo lows                         . SWA
                                                                                                                                                                                                                                                                                             Conf # TYMBI8. We would app ec ate c ed t back
                                                                                                                                                                                                                                                                            fo the nconven ence. Thank You                 Rpty 20489541133
                                                                                                                                                                                                                                                                            Ns
                                                                                                                                                                                                                                                                            Mx delay m n 132 - late out/ n 132/115 Cla m No 166955895
                                                                                                                                                                                                                                                                            Cla m No 166955848 Issued150.00 each. Thanks, Nak a ,
                                                                                                                                                                                                                                                                            Rpty 20489541133
                                                                                                                                                                                                                                                                            Ns
                                                                                                                                                                                                                                                                            Mx delay m n 132 - late out/ n 132/115 Cla m No 166955895
                                                                                                                                                                                                                                                                            Cla m No 166955848 Issued150.00 each. Thanks, Nak a.
                                                                                                                                                                                                                                                                            I have th s nc dent numbe CUNWN02281810.
                                                                                                                                                                                                                                                                            I t ed to o de a new bag, but t doesn t have Po tugal has a
                                                                                                                                                                                                                                                                            dest nat on fo the sh pp ng.
                                                                                                                                                                                                                                                                            As I'm f om Po tugal, I want to know f you w l send me a new
2283664241848   12/29/2018 MATVUO, MATVUO              CR/RR   Web Fo m   Baggage                         Checked                       Damaged Bag                   Cla ms P ocess ng           Compla nt          Pax nqu    ng about lost bag be ng sent to Po tugal.   bag, o efound me w th the value of the one that appea s
                                                                                                                                                                                                                                                                            damaged.
                                                                                                                                                                                                                                                                            Thanks, no el SR // no RR account // located CUNWN02281810
                                                                                                                                                                                                                                                                            // out ng to CBS // Fo m was Subm tted successfully. T cket
                                                                                                                                                                                                                                                                            #15974 06921
                                                                                                                                                                                                                                                                            I love Southwest. I love you custome se v ce and f endly
                                                                                                                                                                                                                                                                            staff. I fly Southwest as often as poss ble, somet mes even
                                                                                                                                                                                                                                                                            choos ng you 1-stop t ne a y when a compet to has a
                                                                                                                                                                                                                                                                            nonstop. That's what happened th s past Novembe , when a
                                                                                                                                                                                                                                                                            Southwest cancellat on of my connect on left me w th few
                                                                                                                                                                                                                                                                            opt ons. I ncu ed a $198 38 one-way ental ca cost to salvage
                                                                                                                                                                                                                                                                            my t avel plans and am equest ng e mbu sement. Even f the
                                                                                                                                                                                                                                                                            fl ght cancellat on was due to weathe and you have no
                                                                                                                                                                                                                                                                            obl gat on, I hope you'll help th s loyal custome anyway.

                                                                                                                                                                                                                                                                            On F 11/16, my w fe, 2-y -old, and I flew CMH to MDW w thout
                                                                                                                                                                                                                                                                             ssue. Ou connect on f om MDW to EWR was cance led. The
                                                                                                                                                                                                                     Custome s seek ng e mbu sement fo nte m                othe fl ghts to EWR that day we e not cance led but had no
                                                                                                                                                                                                                     expense when connect on f om MDW-EWR was               ava lable seats. The next seats to EWR we e 2 days late , wh ch
2283779190862   12/30/2018 WEBPHT, WEBPHT              CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Unable to Reaccom           Comment/Quest on
                                                                                                                                                                                                                     canceled and custome chose to d ve to f nal            would've made us m ss the event we had al eady pa d $500 to
                                                                                                                                                                                                                     dest nat on.                                           attend. The only ava lable seats to get close to EWR the same
                                                                                                                                                                                                                                                                            day we e to BWI, wh ch we accepted. A l the t a ns and buses
                                                                                                                                                                                                                                                                            f om BWI to EWR we e sold out, so we had to ent a ca to get
                                                                                                                                                                                                                                                                            to ou f nal dest nat on.

                                                                                                                                                                                                                                                                            I ask only fo e mbu sement of the ental ca cost, not the tolls
                                                                                                                                                                                                                                                                            o the ha dsh p caused by the add t onal 7 hou s of t ans t o
                                                                                                                                                                                                                                                                            fam ly membe s d v ng to p ck us up.
                                                                                                                                                                                                                                                                             I have the ental ca ece pt and would l ke to send t as p oof -
                                                                                                                                                                                                                                                                            please p ov de a way to fo wa d you a PDF attachment.

                                                                                                                                                                                                                                                                            Thank you fo you cons de at on and fo be ng the most
                                                                                                                                                                                                                                                                            custome -f endly US a l ne I plan to cont nue my loya ty I
                                                                                                                                                                                                                                                                         Custome Accounts found - 20865923934 & 20818668463 - total
                                                                                                                                                                                                                     7th WB, Custome upset w th efund and GOG offe ed of 7 p ev ous SRs all fo the same ssue. Please me ge accounts
22322883          1/1/2019 U2OTH4                      CR/RR   Lette      Othe                            CR W teback                   D sag ees/Rema ns Upset       Seek ng Escalat on          Compla nt          fo daughte 's delay, caused he to m ss nte nat onal as Jonathan s the one w t ng n on Geo g a's behalf. Add
                                                                                                                                                                                                                     ft                                                   elated PNR, adjust class f cat on, and please elate all SRs, then
                                                                                                                                                                                                                                                                         okay to no esponse. thanks, Alexand a TL




                                                                                                                                                                                                                                                                                                                               Appx. 133
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                                                                                                                                                                                                                                                                                 My fam ly 2 adu ts, 3 ch ld en) ecently flew f om Balt mo e to
                                                                                                                                                                                                                                                                                 San F anc sco v a San D ego on the 20th Decembe .

                                                                                                                                                                                                                                                                                 When we a ved at Balt mo e, due to a m stake by a th d pa ty
                                                                                                                                                                                                                                                                                 suppl e (K w com on behalf of Lastm nute.com) only fou of
                                                                                                                                                                                                                                                                                 f ve t ckets had been booked.
                                                                                                                                                                                                                                                                                 We had to pay fo a new t cket fo my daughte               , at
                                                                                                                                                                                                                                                                                 the a po t fo a cost of $211.80.
                                                                                                                                                                                                                                                                                 In o de to cla m the money back f om K w .com, can you please
                                                                                                                                                                                                                                                                                 send me a copy of the nvo ce to my ema l


                                                                                                                                                                                                                                                                                 K nd ega ds,
                           R4EQVL, TFEKJY, R4EQVL,
2284250271319   1/1/2019                             Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Rece pt equest
                           TFEKJY                                                                                                                                                                                                                                                            , My fam ly (2 adults, 3 ch ld en) ecently flew f om
                                                                                                                                                                                                                                                                                 Balt mo e to San F anc sco v a San D ego on the 20th Decembe .

                                                                                                                                                                                                                                                                                 When we a ved at Balt mo e, due to a m stake by a th d pa ty
                                                                                                                                                                                                                                                                                 suppl e (K w com on behalf of Lastm nute.com) only fou of
                                                                                                                                                                                                                                                                                 f ve t ckets had been booked.
                                                                                                                                                                                                                                                                                 We had to pay fo a new t cket fo my daughte               , at
                                                                                                                                                                                                                                                                                 the a po t fo a cost of $211.80.
                                                                                                                                                                                                                                                                                 In o de to cla m the money back f om K w .com, can you please
                                                                                                                                                                                                                                                                                 send me a copy of the nvo ce to my ema l


                                                                                                                                                                                                                                                                                 K nd ega ds,

                                                                                                                                                                                                                                                                                 NRP/NRC. Sea ched n CIRRUS w th PNR to complete flt deta l.
                                                                                                                                                                                                                                                                                 Sea ched n ARD w th PNR #T8A3XD, added RR numbe , Please
2284507781056   1/2/2019 T8A3XD, T8A3XD              Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   My Southwest com              Add Account Numbe to PNR    Comment/Quest on   Add RR account numbe to PNR.
                                                                                                                                                                                                                                                                                 add my ap d ewa ds numbe to th s ese vat on so get the
                                                                                                                                                                                                                                                                                 po nts.
                                                                                                                                                                                                                                                                                 Pax stated that HOU-MSY was cxld due to c ew est. They we e
                                                                                                                                                                                                                                                                                 unable to eaccom h m fo 2 days so pax dec ded to not take the
                                                                                                                                                                                                                                                                                  eaccom. Req efund of etu n fl ght.


                                                                                                                                                                                                                                                                                 PNR xexqo- Joshua
                                                                                                                                                                                                                                                                                 BWI-MSY $169.30 (Base Fa e) $58.96 (R/T Taxes)= $228.26
                                                                                                                                                                                                                                                                                 St ll n OK status

                                                                                                                                                                                                                                                                                 PNR wz8gJ- F ank
                                                                                                                                                                                                                                                                                 BWI-MSY $169.30 (Base Fa e) $55.34 (R/T Taxes)= $224.64
                                                                                                                                                                                                                                                                                 St ll n OK status

                           RWZ8GJ, RXEXQO, RWZ8GJ,                                                                                                                                                                        Pax eq efund due to connect ng flt be ng cxld due to **Subm tt ng manual efund fo etu n to be efunded
2284620919343   1/3/2019                             CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  C ew Sho tage                 Unable to Reaccom           Compla nt
                           RXEXQO                                                                                                                                                                                         c ew est/ t me out

                                                                                                                                                                                                                                                                                 Cla m No 167120913
                                                                                                                                                                                                                                                                                 Cla m No 167120769, Pax stated that HOU-MSY was cxld due to
                                                                                                                                                                                                                                                                                 c ew est. They we e unable to eaccom h m fo 2 days so pax
                                                                                                                                                                                                                                                                                 dec ded to not take the eaccom. Req efund of etu n fl ght.


                                                                                                                                                                                                                                                                                 PNR xexqo- Joshua
                                                                                                                                                                                                                                                                                 BWI-MSY $169.30 (Base Fa e) $58.96 (R/T Taxes)= $228.26
                                                                                                                                                                                                                                                                                 St ll n OK status

                                                                                                                                                                                                                                                                                 PNR wz8gJ- F ank
                                                                                                                                                                                                                                                                                 BWI-MSY $169 30 (Base Fa e) $55 34 (R/T Taxes)= $224 64
                                                                                                                                                                                                                                                                                 Chkd C us by name & 2 ema ls-noth ng found, H ,
                                                                                                                                                                                                                                                                                 I made a ese vat on fo ound t p to RSW f om BUF on
                                                                                                                                                                                                                                                                                 K w com. Now I'm wo ed that the ese vat ons won t wo k, as
                           VB6DG2, VB6DG2, VB6DG2,
2284853316753   1/4/2019                             Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                 Comment/Quest on   Rece pt equest                                         I've ead bad ev ews. Can I conf m these ese vat ons th ough
                           VB6DG2
                                                                                                                                                                                                                                                                                 you? The etu n s fl ght numbe F91810 and PNR KGCTRR, No
                                                                                                                                                                                                                                                                                 RelPty o Cnts, pn #KGCTRR not act ve. Has OW BUF-RSW on pn
                                                                                                                                                                                                                                                                                 g ven n flt deta ls #VB6DG2

                                                                                                                                                                                                                                                                                 Cla m No 167686620, Dea Team,




                                                                                                                                                                                                                                                                                 The passenge s unable to t avel due to the se ous med cal
                                                                                                                                                                                                                          Ema l f om TA equest ng a efund stat ng pax s no
                                                                                                                                                                                                                                                                                 cond t on, The efo e equest you to cancel the ese vat on &
2285206144404   1/6/2019 S6TT94, S6TT94, S6TT94      CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Catast oph c Event          Compla nt          longe able to t avel due to se ous med cal cond t on
                                                                                                                                                                                                                                                                                 p oceed w th the efund n the same ca d used fo the book ng.
                                                                                                                                                                                                                          fo a t cket that was No-showed.
                                                                                                                                                                                                                                                                                 Thanks & Rega ds
                                                                                                                                                                                                                                                                                 K w com, no el pty/SR/contacts. ve f ed n Refundp o/c us
                                                                                                                                                                                                                                                                                 that pax t cket went nto the no-show status and the funds we e
                                                                                                                                                                                                                                                                                 fo fe ted.


                                                                                                                                                                                                                                                                                 Altea - OLQI5I, WL8Q36, WLECTL - sent ece pts., Dea Pamela,

                                                                                                                                                                                                                                                                                 Thank you fo you esponse to matte #2285205817887.
                                                                                                                                                                                                                                                                                 I have al eady booked anothe fl ght t cket, as I was ea ly
                                                                                                                                                                                                                                                                                 st essed that I would not be able to t avel along w th my f end.
                                                                                                                                                                                                                          SR 2285205817887                                       You p ov ded me w th the conf mat on code #WLECTL and I
2285426766026   1/7/2019 WLECTL, WLECTL, WLECTL      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on                                                          al eady have a conf mat on code #OLQ 5I, wh ch I bel eve s
                                                                                                                                                                                                                          Sent ece pts - OLQI5I, WL8Q36                          act ve to. Can you expla n to me how th s could have happen
                                                                                                                                                                                                                                                                                 that I would be booked f om mult ble dest nat ons? And s my
                                                                                                                                                                                                                                                                                 f ends t ckets st ll act ve #NTTTAV? I am so y fo a l the
                                                                                                                                                                                                                                                                                 quest ons, as you can unde stand th s s tuat on s ve y st essful.
                                                                                                                                                                                                                                                                                 All the best,
                                                                                                                                                                                                                                                                                        , Rel pty/contacts - none


                                                                                                                                                                                                                                                                                 Hey eve yone! Just epo t ng a late fl ght. It's now an hou afte
                                                                                                                                                                                                                                                                                 takeoff t me and they've told us we've st ll got 15 m nutes to go.
                                                                                                                                                                                                                                                                                 I unde stand that these delays happen, I'm ust wonde ng how
                                                                                                                                                                                                                                                                                 we can make t ght, espec ally because I en oy you a l ne!
2285482391269   1/7/2019 SA9RTH, SA9RTH              CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Compla nt          PAX seek ng compensat on fo MX delay.                  Because of the delay I am unable to catch the t ans t to
                                                                                                                                                                                                                                                                                 D sneyland and I lost valuable t me the e as well. I eally
                                                                                                                                                                                                                                                                                 app ec ate you all and anyth ng you could do fo me! Thanks!,
                                                                                                                                                                                                                                                                                 WN3651 delayed 67 m ns due to MX
                                                                                                                                                                                                                                                                                 OW base fa e 139.24, Cla m No 167227169


                                                                                                                                                                                                                                                                                 H,

                                                                                                                                                                                                                                                                                 I actua ly t ed to make a equest on call but was e-d ected by
                                                                                                                                                                                                                                                                                 agent named Sean to you webs te fo my equest.

                                                                                                                                                                                                                                                                                 I wanted to enqu e the poss b l ty and cha ge p ce to add onto
2285657205646   1/8/2019 OW47EZ, OW47EZ              Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                 Comment/Quest on   equest ng name co ect on                               passenge                                            ast name.

                                                                                                                                                                                                                                                                                 Last name

                                                                                                                                                                                                                                                                                 You eply would be h ghly app ec ated.

                                                                                                                                                                                                                                                                                 Thank you & k nd ega ds., no el pty, contacts

                                                                                                                                                                                                                                                                                 Afte 3 calls I was able to each        . We spoke about he
                                                                                                                                                                                                                                                                                 fl ght expe ence. She sha ed t at t ey gates we e next to each
                                                                                                                                                                                                                                                                                 othe , and she just happened to get n the w ong l ne. Wh le
                                                                                                                                                                                                                                                                                 they we e scann ng the boa d ng pass t d dn t let he go,
                                                                                                                                                                                                                                                                                 howeve the Gate Agent told he that they we e go ng to ente
                                                                                                                                                                                                                                                                                 he manually. She d dn t eal ze she was on the w ong fl ght
                                                                                                                                                                                                                                                                                 unt l LAX. In LAX they ass sted he n gett ng he back to SJC.

                                                                                                                                                                                                                                                                                 She was thankful that she was only delayed about two hou s,
                                                                                                                                                                                                                                                                                 but also f ust ated that t happened. Thanked he fo sha ng
                                                                                                                                                                                                                                                                                 he pe spect ve. Adv sed that we we e f ust ated that t
                                                                                                                                                                                                                                                                                 happened as well and use each of these s tuat ons to do t
                                                                                                                                                                                                                                                                                 bette .
                           RZFKYE, RZFKYE, RZFKYE,
2285703723777   1/8/2019                             CR/RR          Phone      A po t Expe ence                Boa d ng/Den ed Boa d ng      Boa d ng                      Passenge M sboa ded         Comment/Quest on   Pax M sboa d S tuat on
                           RZFKYE                                                                                                                                                                                                                                                T cket was pu chased th ough a th d pa ty book ng tool n
                                                                                                                                                                                                                                                                                 S gnapo e and CC s the e. Custome equested SLV fo fa e
                                                                                                                                                                                                                                                                                  nstead of efund. Ag eed and ssued SLV fo value of t cket plus
                                                                                                                                                                                                                                                                                 $200         was ve y pleased w th th s and thanked me fo
                                                                                                                                                                                                                                                                                 g v ng he so much.

                                                                                                                                                                                                                                                                                 Stated that she would be us ng th s to book he next fl ght w th
                                                                                                                                                                                                                                                                                 us.

                                                                                                                                                                                                                                                                                 Cla m No 167281598, Double d aled                      LVM
                                                                                                                                                                                                                                                                                  each ng out due to fl ght expe ence. Left p one numbe and
                                                                                                                                                                                                                                                                                 ext as well. Advs ed please ca l at ea l est conven ence but w ll
                                                                                                                                                                                                                                                                                 attempt to each a b t late as well. eva c , Double d aled

                                                                                                                                                                                                                                                                                 PAX ca led n, seek ng compensat on fo xld fl ght. PAX had to
                                                                                                                                                                                                                                                                                 spend the n ght n connect ng c ty, MDW and ncu ed add t onal
                                                                                                                                                                                                                                                                                 expenses. Apolog zed fo nconven ence, adv sed xld due to W
                                                                                                                                                                                                                                                                                 and we typ cally do not ssue comps o cove nte m expenses.
2285978152399   1/9/2019 KLLWEI                      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Reaccom D ffe ent Day       Compla nt          PAX seek ng comp fo fl ght cancelat on.                Adv sed as GOG would ssue out $50 SLV as GOG pe PAX. PAX
                                                                                                                                                                                                                                                                                 app ec at ve.

                                                                                                                                                                                                                                                                                 Cla m No 167301864
                                                                                                                                                                                                                                                                                 Cla m No 167301826




                                                                                                                                                                                                                                                                                                                                   Appx. 134
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                            Page 135 of 571 PageID 307

                                                                                                                                                                                                                                                                                           pax s upset b/c he says that we cxld h s flt w thout wa n ng and
                                                                                                                                                                                                                                                                                           the agent that expla ned that dupl cate book ngs a e p oh b ted
                                                                                                                                                                                                                                                                                           made h m feel dumb. I apolo fo th s and t ed to efund as gog
                                                                                                                                                                                                                                                                                           o g nally but the e was noth ng ava lable to efund. He was ve y
                                                                                                                                                                                                                                                                                           upset about the s tuat on and seemed to be mo e upset that
                                                                                                                                                                                                                                                                                           the e wasn't anyth ng fo us to do. I cla f ed that the e o was
                                                                                                                                                                                                                                                                                           not on ou end but acknowledged that we shouldn't make h m
                                                                                                                                                                                                                                                                                           feel dumb o speak to h m poo ly so as gog I offe ed $50 and
                                                                                                                                                                                                                                                                                           made clea th s s a tang ble apology and not comp. He accepted
                                                                                                                                                                                                                                                                                           th s but not happ ly., pax s upset b/c he says that we cxld h s f t
                                                                                                                                                                                                                                                                                           w thout wa n ng and the agent that expla ned that dupl cate
                                                                                                                                                                                                                                                                                           book ngs a e p oh b ted made h m feel dumb. I apolo fo th s
                                                                                                                                                                                                                                                                                           and t ed to efund as gog o g na ly but the e was noth ng
                                                                                                                                                                                                                                     upset w th custome se v ce and that dup book ng       ava lable to efund. He was ve y upset about the s tuat on and
2286056289481    1/9/2019 QTGRUV, VOH 6Y, WVJEO8    CR/RR          Phone          Custome Se v ce                 Pe sonnel                     Rudeness                         Unf endly/Unca ng/Unhelpful      Compla nt
                                                                                                                                                                                                                                     that was cxld                                         seemed to be mo e upset that the e wasn't anyth ng fo us to
                                                                                                                                                                                                                                                                                           do. I cla f ed that the e o was not on ou end but
                                                                                                                                                                                                                                                                                           acknowledged that we shouldn't make h m feel dumb o speak
                                                                                                                                                                                                                                                                                           to h m poo ly so as gog I offe ed $50 and made clea th s s a
                                                                                                                                                                                                                                                                                           tang ble apology and not comp. He accepted th s but not
                                                                                                                                                                                                                                                                                           happ ly , pax s upset b/c he says that we cxld h s flt w thout
                                                                                                                                                                                                                                                                                           wa n ng and the agent that expla ned that dupl cate book ngs
                                                                                                                                                                                                                                                                                           a e p oh b ted made h m feel dumb. I apolo fo th s and t ed to
                                                                                                                                                                                                                                                                                            efund as gog o g nally but the e was noth ng ava lable to
                                                                                                                                                                                                                                                                                            efund. He was ve y upset about the s tuat on and seemed to be
                                                                                                                                                                                                                                                                                           mo e upset that the e wasn't anyth ng fo us to do. I cla f ed
                                                                                                                                                                                                                                                                                           that the e o was not on ou end but acknowledged that we
                                                                                                                                                                                                                                                                                           shouldn't make h m feel dumb o speak to h m poo ly so as gog I
                                                                                                                                                                                                                                                                                           offe ed $50 and made clea th s s a tang ble apology and not
                                                                                                                                                                                                                                                                                           Fl ght #3308 1/5/2019 LAXSFO delayed 212 m ns due to ATC

                                                                                                                                                                                                                                                                                           Cla m No 167184812 PNR QIPEXS 254.98//3904
2286409761250   1/10/2019 QIPEXS, QIPEXS, QIPEXS    CR/RR          Web Fo m       Fl ght Delay/Cancel/D ve s on   Delay                         A T aff c Cont ol                Hold fo Custome s                Compla nt          Fl ght delayed and equested efund                     Cla m No 167184784 PNR QIPEXS 254 98//3904, NO REL PTY /
                                                                                                                                                                                                                                                                                           SR, please p oceed and cancel fo both the passenge n the
                                                                                                                                                                                                                                                                                            t ne a y..and efund full amount as the l ght was schedule
                                                                                                                                                                                                                                                                                           change fo mo e than 3 hou s
                                                                                                                                                                                                                                                                                           pax called n to see f the e s anyth ng we can do to extend he
                                                                                                                                                                                                                                                                                           RTF. I took a look and t exp ed back n ma 2018. I apolog zed
                                                                                                                                                                                                                                                                                           to pax and nfo med he that somet mes we a e able to make an
                                                                                                                                                                                                                                                                                           except on w th n that 6 months afte but t has been 10 months
                                                                                                                                                                                                                                                                                           at th s po nt. Pax sa d that s okay and then gave me a pn fo
2286574901952   1/11/2019 RUVEAY                    CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence                 Compla nt          wga no show and exp ed tf
                                                                                                                                                                                                                                                                                           anothe flt that she sa d she cancelled because she was s ck. I
                                                                                                                                                                                                                                                                                           pu led t up and t showed that t was a wga no show and that t
                                                                                                                                                                                                                                                                                           was neve cancelled. pax sa d that she thought she cancelled but
                                                                                                                                                                                                                                                                                           that she has dox to show that she was s ck. I gave he
                                                                                                                                                                                                                                                                                            efundsdox and pax thanked me.
                                                                                                                                                                                                                                                                                           Custome adv sed that she was g ven the w ong nfo mat on
                                                                                                                                                                                                                                                                                           w th he checked bag. She had a fl ght f om DCA-DAL on 1/14
                                                                                                                                                                                                                                                                                           and a fl ght f om DAL-LAX on the mo n ng of 1/15. She asked the
                                                                                                                                                                                                                                                                                           T cket Agent f he bags would cont nue on to he f nal
                                                                                                                                                                                                                                                                                           dest nat on and she sa d that she was adv sed that they would.
                                                                                                                                                                                                                                                                                           Custome d d not p ck up he bags n Dallas o echeck he
                                                                                                                                                                                                                                                                                           luggage fo he fl ght to LAX the follow ng mo n ng. She found
                                                                                                                                                                                                                                                                                           that he luggage was not w th he when she a ved n LAX and
                                                                                                                                                                                                                                                                                           she equested that he bags be sh pped to he . Ou LAX Team
                                                                                                                                                                                                                                                                                           adv sed that she would need to pay to have them del ve ed to
                                                                                                                                                                                                                                                                                           he . Custome s upset and equest ng that the bags be sent to
                                                                                                                                                                                                                                                                                           he n LAX as a cou tesy.
                                                                                                                                                                                                                                     Upset w th handl ng of checked luggage and
                                                                                                                                                                                                                                                                                           My Response
2287484354941   1/15/2019 OGZ3CO, OH4BBU            CR/RR          Soc al Med a   Baggage                         Checked                       Lost/Delayed Bag                 Inconven enced/Se v ce Fa lu e   Compla nt          m s nfo mat on
                                                                                                                                                                                                                                     Conve sat on #8060193
                                                                                                                                                                                                                                                                                           Thank you fo that nfo mat on. Ou apolog es fo any confus on
                                                                                                                                                                                                                                                                                           o m s nfo mat on that may have been p ov ded yeste day.
                                                                                                                                                                                                                                                                                           When sepa ate fl ght ese vat ons a e booked, Custome s a e
                                                                                                                                                                                                                                                                                            equ ed to p ck up the checked luggage and e-check the
                                                                                                                                                                                                                                                                                           luggage fo the next one way fl ght. We w ll only have checked
                                                                                                                                                                                                                                                                                           luggage cont nue on f om one fl ght to anothe when a
                                                                                                                                                                                                                                                                                           scheduled, connect ng fl ght s booked. Th s s why you luggage
                                                                                                                                                                                                                                                                                            ema ned n Da las nstead of cont nu ng on w th you to Los
                                                                                                                                                                                                                                                                                           Angeles th s mo n ng. We' e ve y so y fo any f ust at on o
                                                                                                                                                                                                                                                                                           d sappo ntment w th th s s tuat on and that you w ll need to pay
                                                                                                                                                                                                                                                                                           fo you bags to be del ve ed to you n Los Angeles. Please know
                                                                                                                                                                                                                                                                                           that you conce ns w th th s s tuat on a e taken to hea t. -
                                                                                                                                                                                                                                                                                           Bethany
                                                                                                                                                                                                                                                                                           Cla m No 167605045, I want a full efund of my fl ght as the e
                                                                                                                                                                                                                                                                                           was a schedule change, no el pa ty o contacts
2287829657946   1/16/2019 LE7T72, LE7T72, LE7T72    CR/RR          Web Fo m       Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me               Comment/Quest on   efund equest due to schedule change                   WN 2003 delayed 106 m nutes was standby on WN 2204. no
                                                                                                                                                                                                                                                                                           boa d ng act v ty
                                                                                                                                                                                                                                                                                           unable to to equest n ARD out ng to CR

                                                                                                                                                                                                                                                                                           c us-keojl (no changes we e made)
                                                                                                                                                                                                                                                                                           sent ece pt to                          Tuv mos que comp a
                                                                                                                                                                                                                                                                                           en el ae opue to de Cancun el d a 26 de d c emb e un
                                                                                                                                                                                                                                                                                           b lete pa a                    po un p oblema de t ansm s An
                                                                                                                                                                                                                                                                                           de datos ent e KIWI.com y Southwest. La efe enc a del pago del
                                                                                                                                                                                                                                                                                           nuevo b llete es 5262407723442. Neces tamos factu a pa a
2288149400057   1/18/2019 RIYHJ4, RIYHJ4, RIYHJ4    Rese vat ons   Web Fo m       Othe                            SR Inqu es                    Fo e gn Language                 Span sh                          Comment/Quest on   Span sh SR
                                                                                                                                                                                                                                                                                           pode eclama el mpo te a KIWI.com, We had to buy a t cket at
                                                                                                                                                                                                                                                                                           the Cancun A po t on the 26 of Decembe fo Sof a Ayca t
                                                                                                                                                                                                                                                                                           Estevez because the e was a p oblem on the t ansfe ng of data
                                                                                                                                                                                                                                                                                           f om KIWI.com to Southwest. The efe ence to the new t cket s
                                                                                                                                                                                                                                                                                           5262407723442. We need an nvo ce/ ece pt to ecla m the
                                                                                                                                                                                                                                                                                           amount f om KIWI.com.


                                                                                                                                                                                                                                                                                                   ca led stat ng she xcld a flt w th n 24 hou s and was
                                                                                                                                                                                                                                                                                         told s e would get fnd but got ema l that funds held as RTF. flt
                                                                                                                                                                                                                                     custome states she was told she would get fnd fo 24 was xcld ust outs de of 24 hou s, adv I would fnd as GOG. sent
2288205380769   1/18/2019 NSP32O                    CR/RR          Phone          Refunds                         Refund Request                T ckets/Fa es                    Refundable                       Comment/Quest on
                                                                                                                                                                                                                                     hou xclat on but got ema l that funds held as RTF    ece pt (attached). she was app ec at ve.

                                                                                                                                                                                                                                                                                           Cla m No 167540120

                                                                                                                                                                                                                                                                                           Fl ght was cancelled due to systems e o due to Southwest.
                                                                                                                                                                                                                                                                                           Spent 12 hou s fly ng f om Mancheste England v a Iceland to
                                                                                                                                                                                                                                                                                           Balt mo e then fl ght cance led. had to spend ext a 14 hou s n
                                                                                                                                                                                                                                                                                           a po t due to Southwest compute ssues.
2288335497914   1/18/2019 NSCO74, NSCO74            CR/RR          Web Fo m       southwest.com                   P oduct/Funct onal ty         Change/Cancel It ne a y          Techn cal D ff cult es           Compla nt          PAx say the e was a system outage at the bw a po t.
                                                                                                                                                                                                                                                                                           Would l ke compensat on n fo m of cost of leg of th s t p.,
                                                                                                                                                                                                                                                                                           N p/n s WN1097 canceled due to O SLV $100 Cla m No
                                                                                                                                                                                                                                                                                           167655946

                                                                                                                                                                                                                                                                                           ARD UOG7C2-$100.98 NR exp es 11/26/2019, I booked th s
                                                                                                                                                                                                                                                                                           fl ght th ough K w .com, howeve ended up be ng unable to
2289380868470   1/23/2019 UOG7C2, UOG7C2, UOG7C2    Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      How to Redeem                    Comment/Quest on   Ask ng fo a efund o t avel c ed t.                    actually go. I was wonde ng f t would be poss ble to get a
                                                                                                                                                                                                                                                                                            efund fo th s t cket, s nce I d d not use t. O , f t would be
                                                                                                                                                                                                                                                                                           poss ble to get a c ed t., No el pty/contacts.

                                                                                                                                                                                                                                                                                           Spoke w t          he adv he s unhappy w th d spute be ng
                                                                                                                                                                                                                                                                                           den ed due to not be ng able to f le cla m outs de of 4 h s due to
                                                                                                                                                                                                                                                                                           bags late to ca ousel. I apolog zed to pax fo damaged luggage
                                                                                                                                                                                                                                                                                           and expla ned 4 hou ule. Adv pax as GOG I could ssue $50 SLV
2289820149368   1/25/2019 MYRPGS                    CR/RR          Phone          Baggage                         Checked                       Damaged Bag                      To n/D agged/So led              Compla nt          Damaged Baggage
                                                                                                                                                                                                                                                                                           Cla m No 167868440. Pax app ec at ve of vouche , I adv I would
                                                                                                                                                                                                                                                                                           connect pax w th BSO to see f anyth ng else could be done
                                                                                                                                                                                                                                                                                           cons de ng late a ve and t me to collect bags, adv t would be
                                                                                                                                                                                                                                                                                           the dec s on. Thanks, Shy.

                                                                                                                                                                                                                                                                                           D aled to numbe l sted on ese vat on
                                                                                                                                                                                                                                                                                           answe ed and I ment oned to h m that g ven that t was a
                                                                                                                                                                                                                                                                                           med cal s tuat on, we we e able to fu ly efund the amount of
                                                                                                                                                                                                                                                                                           $87.98 wh ch w ll be go ng back to the ca d end ng n 0440.
2290644425159   1/29/2019 VR924G, VR924G, VR924G    CR/RR          Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Re ssue Request                  Comment/Quest on   Seek ng efund fo fl ght due to med cal easons.
                                                                                                                                                                                                                                                                                           Thanks, Ma o A., passenge could not use the flught due to
                                                                                                                                                                                                                                                                                           med cal eason, please p oceed w th efund fo VR924G, Pax
                                                                                                                                                                                                                                                                                           ema led n equest ng a efund fo PNR VR924G. Due to med cal
                                                                                                                                                                                                                                                                                            easons, pax was unable to t avel. Thanks, Ma o A.

                                                                                                                                                                                                                                                                                           fl ght no showed due to cancelat on of h s connect ng f ont e
                                                                                                                                                                                                                                                                                           fl ght pax sa d he w ll send p oof he attempted to ca l us 10 m ns
2290680363651   1/29/2019 JOGADH                    CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Attempted Cancel by Phone        Comment/Quest on   fl ght no showed.
                                                                                                                                                                                                                                                                                           befo e depa tu e to let us know he was stuck Ch cago pax sa d
                                                                                                                                                                                                                                                                                            t was 120 m n wa t nand he could not get th ough.
                                                                                                                                                                                                                                                                                           Dox show PAX t ed to call us ove two hou s befo e fl ght.
                                                                                                                                                                                                                                                                                           Refund ng no show.
                                                                                                                                                                                                                                                                                           $175.98 back to MC 6196, Cla m No 168063766, Dox show PAX
                                                                                                                                                                                                                                                                                           t ed to call us ove two hou s befo e fl ght. Refund ng no show.
                                                                                                                                                                                                                                                                                           $175.98 back to MC 6196, Cla m No 168063766, n p/n c/n s s,
                                                                                                                                                                                                                                                                                           n p/n c/n s s, Pax called back n w th dad's CC to pay fo f t. I
                                                                                                                                                                                                                                                                                           p ocessed the payment and ssued docs. Pax app ec ated the
                                                                                                                                                                                                                                                                                           help and unde stood new t me of flt., Pax called back n w th
                                                                                                                                                                                                                                                                                           dad's CC to pay fo flt. I p ocessed the payment and ssued docs.
                                                                                                                                                                                                                                                                                           Pax app ec ated the help and unde stood new t me of flt., Pax
                                                                                                                                                                                                                                                                                           called to check on status of efund and stated that he st ll
                                                                                                                                                                                                                                                                                           needed a fl ght out. States that he wanted to use those funds to
                                                                                                                                                                                                                                                                                           pay fo a fl ght and he d d not know the CC that we a e stat ng t
                          JOGADH, SSYUAU, JOGADH,
                                                                                                                                                                                                                                     No show dox - t ed to call but ou hold t me was 120   w ll go back to. Pax states that he booked ese vat on th ough
2290685965173   1/29/2019 SSYUAU, JOGADH, SSYUAU,   CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Attempted Cancel by Phone        Comment/Quest on
                                                                                                                                                                                                                                     m nutes                                               Just Fly. I adv sed we do have to efund the funds to the CC they
                          JOGADH, SSYUAU
                                                                                                                                                                                                                                                                                           came f om and that he would need to contact Just Fly to see
                                                                                                                                                                                                                                                                                           about gett ng those funds back. I offe ed to hono the fa e fo
                                                                                                                                                                                                                                                                                           h m to get h m out on 02/1. Pax accepted.

                                                                                                                                                                                                                                                                                           I got all the way th ough the book ng p ocess and pax adv sed
                                                                                                                                                                                                                                                                                           that he d d not have qu te enough funds on h s CC to pay fo
                                                                                                                                                                                                                                                                                            ese vat on. I adv sed we could hold the ese vat on fo 24 hou s
                                                                                                                                                                                                                                                                                           and hono the p ce (of 175.98). Rese vat on held s S5YUAY.

                                                                                                                                                                                                                                                                                           Pax has SR numbe and w l be call ng back to pay fo
                                                                                                                                                                                                                                                                                            ese vat on., Pax ca led to check on status of efund and stated
                                                                                                                                                                                                                                                                                           that he st ll needed a fl ght out. States that he wanted to use
                                                                                                                                                                                                                                                                                           those funds to pay fo a fl ght and he d d not know the CC that
                                                                                                                                                                                                                                                                                           No account
2291129536069   1/31/2019 MY8IRL, MY8IRL            CR/RR          Web Fo m       Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Change Book ng                   Comment/Quest on   Pax equest to cancel ese vat on.
                                                                                                                                                                                                                                                                                           No Rel Ptys, No Rel SRs, Please cancel.




                                                                                                                                                                                                                                                                                                                                             Appx. 135
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                                                                                                                                                                                                                                                                                PAX ca led to equest efund fo t cket due to book ng e o .
                                                                                                                                                                                                                                                                                Unable to do so s nce t cket was pu chased w th a g ft ca d.
                                                                                                                                                                                                                                                                                Issu ng $200slv as gog fo book ng e o s nce PAX thought that
                                                                                                                                                                                                                                                                                 ese vat on K269J5 was booked and only eal zed that t was not
                                                                                                                                                                                                                                                                                the day befo e t avel when CR was closed
                                                                                                                                                                                                                          PAX called to equest efund fo t cket due to book ng
                                                                                                                                                                                                                                                                                Cla m No 168279764, PAX called to equest efund fo t cket
2292295384036    2/5/2019 K269J5, TCO3RZ            CR/RR          Phone      Rese vat ons/T ckets/Fa es      Fa es                         Wanna Get Away                Request to hono              Compla nt          e o . Unable to do so s nce t cket was pu chased w th
                                                                                                                                                                                                                                                                                due to book ng e o . Unable to do so s nce t cket was
                                                                                                                                                                                                                          a g ft ca d.
                                                                                                                                                                                                                                                                                pu chased w th a g ft ca d. Issu ng $200slv as gog fo book ng
                                                                                                                                                                                                                                                                                e o s nce PAX thought that ese vat on K269J5 was booked
                                                                                                                                                                                                                                                                                and only eal zed that t was not the day befo e t avel when CR
                                                                                                                                                                                                                                                                                was closed

                                                                                                                                                                                                                                                                                Cla m No 168279764


                                                                                                                                                                                                                                                                                Had to cancel ese vat on due to eme gency of w fe taken to
                                                                                                                                                                                                                                                                                hosp tal..... . onl ne kept say ng e o . Rese vat on was
                                                                                                                                                                                                                                                                                OBDNU8. Can I get c ed t o efund. Neve had to do th s befo e
                                                                                                                                                                                                                                                                                and need adv se.
2292525573678    2/6/2019 OBDNU8, OBDNU8, OBDNU8 CR/RR             Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence             Compla nt          had to cancel due to med cal
                                                                                                                                                                                                                                                                                Thank you
                                                                                                                                                                                                                                                                                             Fo wa d ng to CR due to pn OBDNU8 s show ng as a
                                                                                                                                                                                                                                                                                No Show. Passenge had to take h s w fe to the hosp tal, no el
                                                                                                                                                                                                                                                                                pty//no contacts
                                                                                                                                                                                                                                                                                Resea ch TLC
                                                                                                                                                                                                                                                                                Pax called n stat ng that he was t y ng to be p oact ve and
                                                                                                                                                                                                                                                                                change h s fl ght ese vat on due to weathe s tuat ons. Pax had
                                                                                                                                                                                                                                                                                to pax the fa e d ffe ence and late found out that the e was a
                                                                                                                                                                                                                                                                                wa ve put on the ese vat on afte pax made the change and he
                                                                                                                                                                                                                                                                                would l ke to know f he s able to get a efund of the d ffe ence
                                                                                                                                                                                                                                                                                pa d. Apol to pax and expla ned to h m that we a e unable to
                                                                                                                                                                                                                                                                                 e mbu se the d ffe ence pa d due to the change be ng done on
                                                                                                                                                                                                                                                                                a d ffe ent pn and befo e the wav e was placed on the
                                                                                                                                                                                                                                                                                account. Pax stated that he would l ke to know f he s able to
                                                                                                                                                                                                                                                                                 ece ve a vouche n some fo m due to the delays and I
                                                                                                                                                                                                                                                                                 nfo med h m that weathe s someth ng outs de of ou cont ol
                                                                                                                                                                                                                                                                                but f he would l ke to g ve us a call once he complete t avel on
                                                                                                                                                                                                                                                                                h s new conf mat on numbe , we can look and see f a vouche
                                                                                                                                                                                                                          Pax s equest ng a efund of ese vat on change
                                                                                                                                                                                                                                                                                 s someth ng we can off. Expla ned to h m that t s not a
2292530224807    2/6/2019 NRGYWQ, WYKXYY            CR/RR          Phone      Refunds                         Refund Request                T ckets/Fa es                 Non efundable                Comment/Quest on   d ffe ence due to be ng p oact ve w th a weathe
                                                                                                                                                                                                                                                                                gua antee but I can p ov de h m w th an s numbe fo when he
                                                                                                                                                                                                                          s tuat on
                                                                                                                                                                                                                                                                                complete t avel and we can look at the ese vat on as a whole.
                                                                                                                                                                                                                                                                                Pax thanked me and d sconnected the call. Thank you, N cole,
                                                                                                                                                                                                                                                                                Pax called n stat ng that he was t y ng to be p oact ve and
                                                                                                                                                                                                                                                                                change h s fl ght ese vat on due to weathe s tuat ons. Pax had
                                                                                                                                                                                                                                                                                to pax the fa e d ffe ence and late found out that the e was a
                                                                                                                                                                                                                                                                                wa ve put on the ese vat on afte pax made the change and he
                                                                                                                                                                                                                                                                                would l ke to know f he s able to get a efund of the d ffe ence
                                                                                                                                                                                                                                                                                pa d. Apol to pax and expla ned to h m that we a e unable to
                                                                                                                                                                                                                                                                                 e mbu se the d ffe ence pa d due to the change be ng done on
                                                                                                                                                                                                                                                                                a d ffe ent pn and befo e the wav e was placed on the
                                                                                                                                                                                                                                                                                account. Pax stated that he would l ke to know f he s able to
                                                                                                                                                                                                                                                                                 ece ve a vouche n some fo m due to the delays and I
                                                                                                                                                                                                                                                                                 nfo med h m that weathe s someth ng outs de of ou cont ol
                                                                                                                                                                                                                                                                                Pax stated that she wants to help anothe pe son w th gett ng to
                                                                                                                                                                                                                                                                                Atlanta. Pax wanted to change the t cket and I nfo med he that
                                                                                                                                                                                                                                                                                the t ckets a e non efundable and t ansfe able. Pax sta ted to
                                                                                                                                                                                                                                                                                 nqu e about the funds on the t cket fo the o g nal passenge
2292726231555    2/7/2019 WMNNXT                    CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty              Comment/Quest on   Pax s t y ng to sw tch a t cket to anothe passenge
                                                                                                                                                                                                                                                                                and I nfo med he that as a one t me gog, we w ll efund th s
                                                                                                                                                                                                                                                                                t cket even th ough t s outs de the 24 hou pe od. Pax thanked
                                                                                                                                                                                                                                                                                me and we d sconnected.
                                                                                                                                                                                                                                                                                 Refunded n ARD
                                                                                                                                                                                                                                                                                Pax called back n and afte esea ch see that he had made
                                                                                                                                                                                                                                                                                change app ox mately 5 hou s befo e the SODA went nto affect.
                                                                                                                                                                                                                                                                                I apolog zed and educated fo futu e efe ence, and I adv sed
                                                                                                                                                                                                                                                                                that as a GOG would ssue the upg ade cha ge due to 5 plane .
                                                                                                                                                                                                                                                                                Thanks Debb e

2292731655347    2/7/2019 NRGYWQ, WYKXYY            CR/RR          Phone      Refunds                         Refund Request                Uncont ollable Events         Natu e Events                Compla nt          Refund fa e nc ease due to SODA                       cla m 168342688, Pax called back n and afte esea ch see that
                                                                                                                                                                                                                                                                                he had made change app ox mately 5 hou s befo e the SODA
                                                                                                                                                                                                                                                                                went nto affect. I apolog zed and educated fo futu e
                                                                                                                                                                                                                                                                                 efe ence, and I adv sed that as a GOG would ssue the upg ade
                                                                                                                                                                                                                                                                                cha ge due to 5 plane . Thanks Debb e

                                                                                                                                                                                                                                                                                cla m 168342688
                                                                                                                                                                                                                                                                                He lo we w ll be fly ng f om Bel ze c ty to Sa nt Pete sbu g
                                                                                                                                                                                                                                                                                Russ a. I would l ke to know f we can check ou bags a l the way
                                                                                                                                                                                                                                                                                the e? We fly Southwest A l nes f om Bel ze to Fo t Laude dale,
2292825702865    2/7/2019 LNXQJW, LNXQJW            Rese vat ons   Web Fo m   Baggage                         Checked                       Gu del nes                    Recheck Bag Intl Fl ght      Comment/Quest on   nte l ne baggage nqu y
                                                                                                                                                                                                                                                                                then No weg an a to London, then a Balt c a to Sa nt
                                                                                                                                                                                                                                                                                Pete sbu g Russ a! Thank you, no el pty/ me ge equest c eated
                                                                                                                                                                                                                                                                                due to ghost account
                                                                                                                                                                                                                                                                                I o de ed the n fl ght w f but was not able to connect wh le on
                                                                                                                                                                                                                                                                                the fl ght. I was st ll cha ged fo the se v ce though. I would l ke
                                                                                                                                                                                                                          Pax equest ng efund of w f s nce t d d not wo k       a efund.
2293054679045    2/8/2019 KSN8XO, KSN8XO            CR/RR          Web Fo m   Onboa d A c aft Expe ence       Amen t es/Stowage/Seat ng     W F Pa d                      D d Not Wo k                 Compla nt
                                                                                                                                                                                                                          onboa d
                                                                                                                                                                                                                                                                             Thanks, no t s //no lt pty
                                                                                                                                                                                                                                                                              efunded n nub l
                                                                                                                                                                                                                                                                             1 /p s #2293669627282 cts me ged, fo wa d ng, th s pax l ves
                                                                                                                                                                                                                                                                              n F ance, we have no nfo mat on on Inte nat onal cuba
                                                                                                                                                                                                                                                                              nfo mat on f om F ance,
                                                                                                                                                                                                                                                                             https //swafluence/d splay/DRS/Cuba T avel
                                                                                                                                                                                                                                                                             If a Custome asks how they can obta n the necessa y v sa.
                                                                                                                                                                                                                                                                             Custome s w l ece ve an ema l ega d ng the necessa y v sa
                                                                                                                                                                                                                                                                             afte book ng. Adv se the Custome to ead the Southwest
                                                                                                                                                                                                                                                                             ema ls whe e a l nk w ll be p ov ded to pu chase the Cuban
                                                                                                                                                                                                                                                                             T avel V sa fo $75 pe Passenge . Add t onally, a l nk can be
                                                                                                                                                                                                                                                                             found on Southwest.com fo Custome s t avel ng to Cuba to
                                                                                                                                                                                                                                                                             pu chase the Cuban Tou st V sa.
                                                                                                                                                                                                                                                                             Once pu chased, the Custome w l p ck up the v sa on the day
                                                                                                                                                                                                                                                                             of depa tu e at the gateway c ty s Southwest t cket counte
                                                                                                                                                                                                                          Pax nqu ng about Cuba v sa fo upcom ng t avel. Pax
                            WP6NXK, WP6NXK, WP6NXK,                                                                                                                                                                                                                          v sas w ll not be sh pped to the Custome s home. If the
2293904349643   2/12/2019                           CR/RR          Web Fo m   Othe                            SR Inqu es                    CS&S W teback                 Pax Fo lowup/Documentat on   Comment/Quest on   t avel ng f om F ance to FLL, then on SWA to HAV.
                            WP6NXK                                                                                                                                                                                                                                           Custome does not want to pu chase the v sa n advance, they
                                                                                                                                                                                                                          W teback to s #2293669627282
                                                                                                                                                                                                                                                                             can st ll pu chase on the day of depa tu e at the gateway c ty.
                                                                                                                                                                                                                                                                             Note Custome s can st l pu chase the Cuban Tou st V sa
                                                                                                                                                                                                                                                                             th ough Cuba T avel Se v ces howeve , t w ll be at an nc eased
                                                                                                                                                                                                                                                                             cost. Custome s may contact CTS at 800-963-2822
                                                                                                                                                                                                                                                                             https //www.southwest.com/html/p omot ons/new-se v ce-
                                                                                                                                                                                                                                                                             cuba.html
                                                                                                                                                                                                                                                                             Custome s hold ng a U.S. passpo t who we e not bo n n Cuba
                                                                                                                                                                                                                                                                               ǀĂů Ě h͘^͘ ƉĂƐƐƉŽ ƚ͘
                                                                                                                                                                                                                                                                              WůƵƐ ĂŶ ĂƉƉ ŽƉ ĂƚĞ ǀ ƐĂ
                                                                                                                                                                                                                                                                             ŽƵďĂŶ ƚŽƵ Ɛƚ ǀ ƐĂ͕ ǁŚ ĐŚ Ɛ ƐƵĨĨ Đ ĞŶƚ ĨŽ ŽŶůǇ ĐĞ ƚĂ Ŷ
                                                                                                                                                                                                                                                                             catego es of OFAC-pe m tted t avel, can be pu chased f om
                                                                                                                                                                                                                                                                             Cuba T avel Se v ces. You can pu chase th ough Cuba T avel
                                                                                                                                                                                                                                                                             Se v ces (CTS) v a telephone o onl ne You can also call CTS at
                                                                                                                                                                                                                                                                             I ese ved th s Floght us ng K w .com ... And only nd cates that
                                                                                                                                                                                                                                                                               have a pe sonal tem fo the t avel. I'd l ke to know f can
2293972843837   2/12/2019 PGRVUQ, PGRVUQ            Rese vat ons   Web Fo m   Baggage                         Ca yon                        Gu del nes                    Numbe                        Comment/Quest on   quest ons on baggage
                                                                                                                                                                                                                                                                             t avel w thout any add t onal fees w th 1 pe sonal l ttle bag
                                                                                                                                                                                                                                                                             Ca y on luggage??, No el pty and no contacts
                                                                                                                                                                                                                                                                             Fl ght 829 to Fo t Laude dale scheduled to depa t at 13 45pm on
                                                                                                                                                                                                                                                                             Wednesday 30th Jan. Delayed unt l 14 45pm, then 15 09pm,
                                                                                                                                                                                                                                                                             then 17 30pm, then cance led completely. We we e then put on
                                                                                                                                                                                                                                                                             fl ght 291 to Fo t Laude dale wh ch depa ted a ound 17 00pm
                                                                                                                                                                                                                                                                             app ox mately.

                                                                                                                                                                                                                                                                                As a esu t of these delays we unfo tunately m ssed ou
                                                                                                                                                                                                                                                                                connect ng fl ght to London Gatw ck, wh ch depa ted at
                                                                                                                                                                                                                                                                                15 40pm.

                                                                                                                                                                                                                                                                                I am cu ently n the p ocess of cla m ng th ough my t avel
                                                                                                                                                                                                                                                                                 nsu ance and would l ke two ema n ng documents to f nal se
                                                                                                                                                                                                                                                                                the p ocess...
                                                                                                                                                                                                                          Custome seek ng p oof of delay and schedules fo
2294016547227   2/12/2019 P7RY 3, P7RYI3            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    A c aft Swap                 Compla nt
                                                                                                                                                                                                                          nsu ance pu pose on                                   - A LETTER FROM THE CARRIER CONFIRMING THE REASON FOR
                                                                                                                                                                                                                                                                                THE DELAY
                                                                                                                                                                                                                                                                                - THE SCHEDULES SHOWING THE PLANNED AND THE ACTUAL
                                                                                                                                                                                                                                                                                DEPARTURE TIMES

                                                                                                                                                                                                                                                                                If you could help me n obta n ng these two documents ASAP
                                                                                                                                                                                                                                                                                that would be g eatly app ec ated.

                                                                                                                                                                                                                                                                                I look fo wa d to hea ng f om you.

                                                                                                                                                                                                                                                                                K nd Rega ds
                                                                                                                                                                                                                                                                                                 , FLT 829 CUN-FLL 01/30/2019 - Scheduled to
                                                                                                                                                                                                                                                                                depa t at 145pm f om CUN and scheduled to a ve n FLL at
                                                                                                                                                                                                                                                                                340pm
                                                                                                                                                                                                                                                                                          called n on behalf of he daughte . He fl ght was
                                                                                                                                                                                                                                                                                cancelled due to unscheduled ma ntenance. We eacom'd pax
                                                                                                                                                                                                                                                                                fo same day and she a ved at 3 33.I apolog zed to pax fo
                                                                                                                                                                                                                          Fl ght cance lat on due to unscheduled ma ntenance,
2294451316242   2/14/2019 T9AMBY                    CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                    Reaccom Same Day             Compla nt                                                                fl ght cancellat on and ove all expe ence and nfo med as a GOG
                                                                                                                                                                                                                          same day eacom.
                                                                                                                                                                                                                                                                                I would ssue a SLV $75. Pax thanked and d sconnected.

                                                                                                                                                                                                                                                                                Cla m No 168615612




                                                                                                                                                                                                                                                                                                                                  Appx. 136
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                                                                                                                                                                                                                                                                                TW Conve sat on #8120092 // Conve sat on #8133791

                                                                                                                                                                                                                                                                                Pax upset that WN1036 was delayed due to MX ssues 112 m n.
                                                                                                                                                                                                                                                                                A ona offe ed a vouche . Issu ng $100 a p ece. Pax also upset
                                                                                                                                                                                                                                                                                that etu n fl ght was cxc due to WX. I apolo fo WX ssues, and
                                                                                                                                                                                                                                                                                adv that I would ssue SLVs out.

                                                                                                                                                                                                                                                                                Cla m No 168622936
                                                                                                                                                                                                                                                                                Cla m No 168622980
                                                                                                                                                                                                                                                                                Cla m No 168623069
                                                                                                                                                                                                                                                                                Cla m No 168622984
                                                                                                                                                                                                                                                                                Cla m No 168623145
                                                                                                                                                                                                                                                                                , TW Conve sat on #8120092 // Conve sat on #8133791
                            S2AEWV, S2DXSK, S2FPCG,                                                                                                                                                                      TW Conve sat on #8120092 Pax upset w th weathe
2294494403240   2/14/2019                             CR/RR          Soc al Med a   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal             Unscheduled Ma ntenance      Compla nt
                            S328I4, S5EGLU                                                                                                                                                                               delay                                                  Pax upset that WN1036 was delayed due to MX ssues 112 m n.
                                                                                                                                                                                                                                                                                A ona offe ed a vouche . Issu ng $100 a p ece. Pax also upset
                                                                                                                                                                                                                                                                                that etu n fl ght was cxc due to WX. I apolo fo WX ssues, and
                                                                                                                                                                                                                                                                                adv that I would ssue SLVs out.

                                                                                                                                                                                                                                                                                Cla m No 168622936
                                                                                                                                                                                                                                                                                Cla m No 168622980
                                                                                                                                                                                                                                                                                Cla m No 168623069
                                                                                                                                                                                                                                                                                Cla m No 168622984
                                                                                                                                                                                                                                                                                Cla m No 168623145
                                                                                                                                                                                                                                                                                , TW Conve sat on #8120092 // Conve sat on #8133791

                                                                                                                                                                                                                                                                                Pax upset that WN1036 was delayed due to MX ssues 112 m n.
                                                                                                                                                                                                                                                                                A ona offe ed a vouche Issu ng $100 a p ece Pax also upset
                                                                                                                                                                                                                                                                            Du ng the f st fl ght us ng new su tcase fo ove seas t avel f om
                                                                                                                                                                                                                                                                            the US to Eu ope, t suffe ed damage to ts oute shell. I f st
                                                                                                                                                                                                                                                                            saw the damage to the luggage when I t ansfe ed fo my
                                                                                                                                                                                                                                                                            ove seas fl ght at EWR Newa k Inte nat onal A po t. The a po t
                                                                                                                                                                                                                                                                            luggage belt seemed to become suddenly obst ucted o stalled
                                                                                                                                                                                                                                                                            by an tem be ng unloaded f om my ncom ng fl ght. When my
                                                                                                                                                                                                                                                                            luggage appea ed on the belt, t had not ceable damage. I could
                                                                                                                                                                                                                         Cust equest ng contact nfo fo efund o eplacement not delay to speak w th the a l ne o a po t pe sonnel due to
2294636299831   2/15/2019 RYPIZG, RYPIZG              Rese vat ons   Web Fo m       Baggage                         Checked                       Damaged Bag            To n/D agged/So led          Comment/Quest on
                                                                                                                                                                                                                         of damage luggage.                                 the sho t t ansfe t me fo my connect ng ove seas fl ght so was
                                                                                                                                                                                                                                                                            unable to cla fy the exact sou ce of the damage. The luggage
                                                                                                                                                                                                                                                                            manufactu e has adv sed that the a l ne s espons ble fo the
                                                                                                                                                                                                                                                                            damages. Would you please p ov de me w th fu the
                                                                                                                                                                                                                                                                             nfo mat on about how to subm t mo e deta ls fo a efund o
                                                                                                                                                                                                                                                                             eplacement?
                                                                                                                                                                                                                                                                            Please let me know f I can p ov de any fu the deta ls.
                                                                                                                                                                                                                                                                            Rega ds,, n p/ctcs
                                                                                                                                                                                                                                                                            ARD, ve f ed unde J8ZSFP the funds a e t ed up. Ret eved by
                                                                                                                                                                                                                                                                            the tkt numbe fo all 3 pax and made funds ava l.
                                                                                                                                                                                                                                                                            $203.96 s ava l unde J8ZSFp and exp es on
                                                                                                                                                                                                                                                                            Refunded all pax RTF and added see s 2294838836701 fo
                                                                                                                                                                                                                                                                             efund equest to comments, No Rel Pty/Contacts, Respectfully,
                                                                                                                                                                                                                                                                            I would l ke to ask fo you ass stance ega d ng nfo mat on n a
                                                                                                                                                                                                                                                                            case whe e I needed eme gency hosp tal ca e and was not able
                                                                                                                                                                                                                                                                            to go a po t. I had a t p f om Omaha to Ch cago on Thu sday
                                                                                                                                                                                                                                                                            the 7th of Feb ua y w th two othe passenge s. On the 5th of
                                                                                                                                                                                                                                                                            Feb ua y, I was hosp tal zed. I need to etu n to my count y n
                                                                                                                                                                                                                                                                            one month. Can someone please nfo m me of the p ocess to
                                                                                                                                                                                                                                                                            get a efund of the t ckets? Unt l now, I haven't had the
                                                                                                                                                                                                                                                                            poss b l ty to each a compute to send th s message. I awa t
                                                                                                                                                                                                                         Span sh
                            J8ZSFP, J8ZSFP, J8ZSFP,                                                                                                                                                                                                                         you esponse, Many thanks                          Respetados
2294838836701   2/15/2019                             Rese vat ons   Web Fo m       Othe                            SR Inqu es                    Fo e gn Language       Span sh                      Comment/Quest on   Refund equest fo t p she was unable to take due to
                            J8ZSFP                                                                                                                                                                                                                                          seAo es,
                                                                                                                                                                                                                         a med cal ssue
                                                                                                                                                                                                                                                                            muy co d almente me d jo a ustedes ocn el p opAs to de
                                                                                                                                                                                                                                                                            sol c ta nfo mac on sob e como p ocede en caso de
                                                                                                                                                                                                                                                                            hosp tal zac An de eme genc a y no pode p esenta se en le
                                                                                                                                                                                                                                                                            ae opue to. tenAa v aje p og amado Omaha-Ch cago el jueves 7
                                                                                                                                                                                                                                                                            de feb e o con dos acompaAantes m h jo y m mamA. El 5 de
                                                                                                                                                                                                                                                                            feb e o debA se hosp tal zada de eme genc a. yo eg eso a m
                                                                                                                                                                                                                                                                            paAs en un mes y lesp do que me nfo men cul es el
                                                                                                                                                                                                                                                                            p oced m ento pa a sol cta le eembolso de los t quetes. hasta
                                                                                                                                                                                                                                                                            aho a es pos ble pa a m accede a un computado pa a esc b
                                                                                                                                                                                                                                                                            este mensa e. po su amable espuesta
                                                                                                                                                                                                                                                                            m l g ac as



                                                                                                                                                                                                                                                                                pax called n upset b/c she m sconnected and says she was told
                                                                                                                                                                                                                                                                                by HAV that she would be put n a hotel by TPA. Th s d dn't
                                                                                                                                                                                                                                                                                happen and due to m sconnect on ove n ght pax m ssed event
                                                                                                                                                                                                                                                                                they we e t avel ng fo . Each pax was g ven $200 SLV as gog fo
                                                                                                                                                                                                                                                                                m sconnect on and base fa e was $69. I adv th s s mo e than
2295347279501   2/18/2019 RIQJ4T                      CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal             Unscheduled Ma ntenance      Compla nt          seek ng mo e comp fo m sconnect on n HAV
                                                                                                                                                                                                                                                                                double what she pa d so we wouldn't ssued mo e. I adv I would
                                                                                                                                                                                                                                                                                f le a compla nt. She would not allow me to speak and wanted
                                                                                                                                                                                                                                                                                my f st and last name. I gave he my XID. She sa d she w ll each
                                                                                                                                                                                                                                                                                out to someone else about th s befo e conclud ng the ca l. --
                                                                                                                                                                                                                                                                                mento week

                                                                                                                                                                                                                                                                                Pax called n stat ng that he s upset that he was unable to catch
                                                                                                                                                                                                                                                                                h s fl ght due to a fl ght cancellat on. He stated that no one apol
                                                                                                                                                                                                                                                                                o p ov ded any accommodat ons fo the nconven ence and he
                                                                                                                                                                                                                                                                                was adv sed to each out to us. Apol tp pax and expla ned to h m
                                                                                                                                                                                                                                                                                that I can sta t a cla m n the system fo h m but I am unable to
                                                                                                                                                                                                                         Pax s upset that h s fl ght was canceled and was not   p ov de h m a gog unt l t avel s complete. Pax stated that he got
2295355265176   2/18/2019 WGT4AX                      CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal             Reaccom Same Day             Compla nt          p ov ded any type of apology, explanat on o            a te ble boa d ng pos t on and was look ng fo a bette one.
                                                                                                                                                                                                                         accommodat ons.                                        Adv sed h m to each out to a po t staff to see f the e s
                                                                                                                                                                                                                                                                                anyth ng that can be done due to h s cancellat on because we
                                                                                                                                                                                                                                                                                a e unable to p ov de h m upg aded boa d ng on out end. Pax
                                                                                                                                                                                                                                                                                took the s numbe and stated that he w ll each out to us once
                                                                                                                                                                                                                                                                                t avel s complete. He then thanked me and d sconnected the
                                                                                                                                                                                                                                                                                call. Thank you, N cole

                                                                                                                                                                                                                                                                                1 p d ff ssue(Span sh SR)/nc, C us ve f ed co ect last 4 of
                                                                                                                                                                                                                                                                                c ed t ca d., Dea S s
                                                                                                                                                                                                                                                                                F st, thank you fo you nfo mat on. I ece ved the next
                                                                                                                                                                                                                                                                                message

                                                                                                                                                                                                                                                                                Dea
                                                                                                                                                                                                                                                                                Thanks fo contact ng us. We app ec ate the oppo tun ty to
                                                                                                                                                                                                                                                                                 espond. Although the t cket assoc ated w th conf mat on
                                                                                                                                                                                                                                                                                numbe J8ZSFP s non efundable, g ven the c cumstances, I
                                                                                                                                                                                                                                                                                have made an except on and equested a efund of $611 88
                                                                                                                                                                                                                                                                                c ed t should be etu ned to the ca d end ng n 6490 w th n the
                                                                                                                                                                                                                                                                                next 10 bus ness days. It's ou pleasu e to answe you ema l,
                                                                                                                                                                                                                                                                                and we hope to have the oppo tun ty to see you onboa d aga n
2295385920792   2/18/2019 J8ZSFP, J8ZSFP, J8ZSFP      Rese vat ons   Web Fo m       Othe                            SR Inqu es                    CS&S W teback          Pax Fo lowup/Documentat on   Comment/Quest on   W teback
                                                                                                                                                                                                                                                                                soon.
                                                                                                                                                                                                                                                                                S nce ely,
                                                                                                                                                                                                                                                                                And ea, Southwest A l nes
                                                                                                                                                                                                                                                                                The f le efe ence numbe fo you ema l s 2294838836701.


                                                                                                                                                                                                                                                                                W th th s nfo mat on, I would l ke to ask you f t s necessa y to
                                                                                                                                                                                                                                                                                send the suppo ts of the hosp tal zat on and cla fy that the
                                                                                                                                                                                                                                                                                numbe s that you elate to efund the money, do not
                                                                                                                                                                                                                                                                                co espond to my ca d. so I consu t you as I do to make su e the
                                                                                                                                                                                                                                                                                 nfo mat on s co ect.
                                                                                                                                                                                                                                                                                Fo you k nd esponse thank you.



                                                                                                                                                                                                                                                                                5 h MX delay caused pax to m ss connect on w/ othe ca e ,
                                                                                                                                                                                                                                                                                pax was offe ed eaccom next day by SOS at no cha ge pax's
                                                                                                                                                                                                                                                                                base fa e was $69 each pax also ssued $200, ve f ed n
                                                                                                                                                                                                                                                                                Sma tcl xx, but pax sa d many othe paxs ece v ng the same
                                                                                                                                                                                                                                                                                amount d d not m ss connect ng fl ghts pax sa d she was adv n
                                                                                                                                                                                                                                                                                Havanna that she would ece ve hotel, food, and t anspo tat on
                                                                                                                                                                                                                                                                                accomodat ons, but pax d d not ece ve any once n TPA, pax
                                                                                                                                                                                                                                                                                ended up spend ng the n ght n the a po t pax ask ng what
                                                                                                                                                                                                                                                                                cons de at ons used fo comp, I adv he eps make case by case
                                                                                                                                                                                                                                                                                judgment calls based on a numbe of facto s I adv pax that
                                                                                                                                                                                                                         5 h MX delay caused pax to m ss connect on w/ othe     wh le we we e ve y so y fo delay, we we e p ma ly
2295416603970   2/18/2019 RIQJ4T                      CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal             Unscheduled Ma ntenance      Compla nt
                                                                                                                                                                                                                         ca e                                                   conce ned w th add ess ng the pa t of he t ne a y l sted w th
                                                                                                                                                                                                                                                                                SWA, and as he connect on was w th othe ca e , eaccom
                                                                                                                                                                                                                                                                                conce n ng m ssed connect on was ult mately ssued as a
                                                                                                                                                                                                                                                                                cou tesy, and because she was al eady booked on what was
                                                                                                                                                                                                                                                                                effect vely a f ee fl ght n add t on to the $200 pe pax n SLVs,
                                                                                                                                                                                                                                                                                we would not be offe ng add t onal comp, as we fulf led ou
                                                                                                                                                                                                                                                                                o g nal ag eement w/ he by gett ng he to TPA, and we had
                                                                                                                                                                                                                                                                                al eady add essed the mpact of MX on he o g nal t ne a y
                                                                                                                                                                                                                                                                                th u the vouche s, and eaccom was above and beyond pax sa d
                                                                                                                                                                                                                                                                                she was sat sf ed now that she bette unde stood esolut on,
                                                                                                                                                                                                                                                                                and pax thanked me fo my help

                                                                                                                                                                                                                                                                                pax feels he fl ght w ll be canceled due to the weathe
                                                                                                                                                                                                                         pax s ask ng us to ebook he outbound f l as a po nt    tomo ow, I eached out to hotl ne and avd pe pol cy he fl ght
2295634132911   2/19/2019 LINTE7                      CR/RR          Phone          Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng   System Cancellat on          Comment/Quest on   to po nt ese vat on. on hypothet cal bas s he fl ght    s not show ng canceled as of now and a po nt to po nt s
                                                                                                                                                                                                                         w l be canceled.                                       someth ng we wouldn't do I adv pax of th s she sa d ok and w ll
                                                                                                                                                                                                                                                                                keep an eye on the fl ght.
                                                                                                                                                                                                                                                                                outbound2018 Feb 23 16 552h 20m nPo tland (PDX)
                                                                                                                                                                                                                                                                                 nbound2018 Feb 23 19 15Los Angeles (LAX)
                                                                                                                                                                                                                                                                                A l ne Southwest A l nes
2295651430367   2/19/2019 QDDYYK, QDDYYK              CR/RR          Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   SLV                    Re ssue Request              Comment/Quest on   Pax needed help locat ng SLV
                                                                                                                                                                                                                                                                                fl ght numbe WN1638 but system d dnt allow t., Spoke to pax
                                                                                                                                                                                                                                                                                and was able to locate PNR us ng he name and b thday. Pax
                                                                                                                                                                                                                                                                                needed to locate he SLV. It was about to exp e, so I e ssued
                                                                                                                                                                                                                                                                                fo a f nal 6 months.




                                                                                                                                                                                                                                                                                                                                  Appx. 137
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                    Page 138 of 571 PageID 310

                                                                                                                                                                                                                                                                                   Dea S s,
                                                                                                                                                                                                                                                                                   I ece ved you answe . howeve , I must cla fy that I bought
                                                                                                                                                                                                                                                                                   these t ckets us ng the page k w com. the efo e the c ed t ca d
                                                                                                                                                                                                                                                                                    nfo mat on that you have, does not co espond to my account
                                                                                                                                                                                                                                                                                    nfo mat on. I was call ng you call cente , but t was not
                                                                                                                                                                                                                                                                                   poss ble to have helped ove the phone, I ask you please
                                                                                                                                                                                                                                                                                    nd cate how I can do to send you my efund nfo mat on.
                                                                                                                                                                                                                             WB, 2295385920792
                                                                                                                                                                                                                                                                                   fo you k nd attent on thousand thanks , pax pu chased the
                                                                                                                                                                                                                             bought the t cket th ough k w .com the efo e the
2295686352256   2/19/2019 J8ZSFP, J8ZSFP, J8ZSFP    CR/RR          Web Fo m       Othe                            SR Inqu es                    CS&S W teback                 D sag ees/Rema ns Upset     Comment/Quest on                                                         fl ght th ough a 3 d pa ty vendo k w .com so we have
                                                                                                                                                                                                                             c ed t ca d doesn't co espond to he account wants
                                                                                                                                                                                                                                                                                    efunded the vendo who w ll need to efund the pax I ca led
                                                                                                                                                                                                                             to g ve us he nfo fo the efund.
                                                                                                                                                                                                                                                                                   and left a vo cema l that she w ll need to wo k w th the vendo
                                                                                                                                                                                                                                                                                   fo the efund. s nce we have al eady efunded k w .com, Rel
                                                                                                                                                                                                                                                                                   SRS 2294838836701, 2295385920792, no contacts
                                                                                                                                                                                                                                                                                   debated send ng the ve b age ega d ng efunds have to go back
                                                                                                                                                                                                                                                                                   to the c ed t ca d on f le but t doesn't qu te add ess the ssue
                                                                                                                                                                                                                                                                                   and th s s al eady he second WB so I am fo wa d ng t CR fo
                                                                                                                                                                                                                                                                                    ev ew and handl ng.


                                                                                                                                                                                                                                                                                   Yeng stated that he fl ght was delayed and she m ssed he
                                                                                                                                                                                                                                                                                   connect ng fl ght. Yeng stated that she was adv sed that we
                                                                                                                                                                                                                             Yeng called n to compla n about he ecent t avel       would not be able to put he nto a hotel so she slept on the
2295900945448   2/20/2019 PXPT3L                    CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Compla nt
                                                                                                                                                                                                                             expe ence.                                            floo . Yeng stated that she s 7 months p egnant. I s nce ely
                                                                                                                                                                                                                                                                                   apolog zed fo the expe ence and adv sed I w ll send a $150 SLV
                                                                                                                                                                                                                                                                                   as a gog. Cla m No 168839301----$150


                                                                                                                                                                                                                                                                              Custome called n, was fo ced to buy a new t cket fo he son
                                                                                                                                                                                                                                                                              because she booked the t cket unde he name, ca l ng n aga n
                                                                                                                                                                                                                                                                              because she had anothe futu e ese vat on fo h m n he name
                                                                                                                                                                                                                                                                              aga n, I d scussed w th TL, and adv sed he that th s s a a e
                                                                                                                                                                                                                                                                              except on we would go ahead and efund and ebook t cket and
                                                                                                                                                                                                                             Custome ca led n w th book ng e o , mothe booked
2296090117751   2/21/2019 ODALAT, P8CVUL            CR/RR          Phone          Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                 Compla nt                                                           hono fa e as GOG, Custome called n, was fo ced to buy a new
                                                                                                                                                                                                                             fo son n he name, equest ng name change
                                                                                                                                                                                                                                                                              t cket fo he son because she booked the t cket unde he
                                                                                                                                                                                                                                                                              name, ca l ng n aga n because she had anothe futu e
                                                                                                                                                                                                                                                                               ese vat on fo h m n he name aga n, I d scussed w th TL, and
                                                                                                                                                                                                                                                                              adv sed he that th s s a a e except on we would go ahead and
                                                                                                                                                                                                                                                                               efund and ebook t cket and hono fa e as GOG


                                                                                                                                                                                                                                                                                   Pax called n and adv he was t avel ng on LBM5RB ment oned he
                                                                                                                                                                                                                                                                                   wanted to make a change to the es, called yeste day but the
                                                                                                                                                                                                                                                                                   wa t t me was ext emely long and he was unable to each an
                                                                                                                                                                                                                                                                                   agent. Pax adv he called th s mo n ng and was told the p ce fo
                                                                                                                                                                                                                             Pax equest ng to hono fa e he saw due to long hold    the fl ght he wanted to change t to had gone up, pax was t y ng
2296425126381   2/22/2019 LBM5RB                    CR/RR          Phone          Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Change Book ng              Request
                                                                                                                                                                                                                             t mes                                                 to see f we could hono the fa e he saw yeste day.

                                                                                                                                                                                                                                                                                   Apol howeve expla ned to h m he can mod fy h s es onl ne,
                                                                                                                                                                                                                                                                                   changed h s es to the fl ght he wanted an co lected payment fo
                                                                                                                                                                                                                                                                                   the fa e d ffe ence. Pax was app ec at ve. Thanks, Odal s

                                                                                                                                                                                                                                                                                   Dea S s,
                                                                                                                                                                                                                                                                                   Please conf m my ese vat on on th s fl ght and please conf m
                                                                                                                                                                                                                                                                                   that the fl ght WN4923 depa ts f om Los Angeles Inte nat onal
                                                                                                                                                                                                                                                                                   a po t, not f om any othe locat on.
                                                                                                                                                                                                                                                                                   The eason why I ask s because I do not see such fl ght on the
2297306707853   2/26/2019 TDEH6T, TDEH6T            Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          O g nal Setup               Comment/Quest on   Need to ve fy upcom ng book ng nfo mat on.
                                                                                                                                                                                                                                                                                   onl ne LAX depa tu e l st.

                                                                                                                                                                                                                                                                                   W th due espect,
                                                                                                                                                                                                                                                                                                 no el pty cnts
                                                                                                                                                                                                                                                                                   C us esent ece pt
                                                                                                                                                                                                                                                                                   Dea S /Madam,

                                                                                                                                                                                                                                                                                   I have a quest on about my baggage.I booked a t cket v a
                                                                                                                                                                                                                                                                                   K w com f om Cha lotte to New O leans and they say that I can
                                                                                                                                                                                                                                                                                   take 1 pe sonal tem, 1 ca y on bag (a t olley) and two su tcases
                                                                                                                                                                                                                                                                                   to check n fo f ee. I th nk that cannot be the case, ght? I th nk
2297362707097   2/26/2019 MMJXSB, MMJXSB            Rese vat ons   Web Fo m       Baggage                         Checked                       Gu del nes                    Numbe                       Comment/Quest on   checked and ca yon baggage pol c es
                                                                                                                                                                                                                                                                                   they made a m stake but I would l ke to know how much
                                                                                                                                                                                                                                                                                   baggage I can take fo f ee.

                                                                                                                                                                                                                                                                                   You s s nce ely,

                                                                                                                                                                                                                                                                                                    no p/c
                                                                                                                                                                                                                                                                                   I called and spoke w th pax. He stated that he booked t avel fo
                                                                                                                                                                                                                                                                                   h s I aq f end and wanted to make su e he ese vat on s st l
2297763114647   2/27/2019 TKH2YD, TKH2YD, TKH2YD    CR/RR          Web Fo m       southwest.com                   P oduct/Funct onal ty         In t al A Book ng             Inte nat onal Refe al       Comment/Quest on   Pax wanted to know f pax s ok to t avel.              booked fo he . I was able to ve fy t avel s st ll booked. Pax
                                                                                                                                                                                                                                                                                   app ec at ve., Nat onal ty us - q, Pax wanted to know f pax s ok
                                                                                                                                                                                                                                                                                   to t avel.
                            WBLPNI, WCWBAW,                                                                                                                                                                                                                                        Pax called to cancel es, Pax ca led to cancel es, Pax called to
2298042922317    3/1/2019                           CR/RR          Phone          Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Change Book ng              Comment/Quest on   Pax called to cancel es
                            WCX5WC, WEDT9M                                                                                                                                                                                                                                         cancel es, Pax called to cancel es
                                                                                                                                                                                                                                                                                   Due to med cal ssue, fl ght was not used., PAX
                                                                                                                                                                                                                                                                                           ) p ov ded suff c ent documentat on fo he med cal
                                                                                                                                                                                                                                                                                    l ness. I escalated and subm tted a cla m fo the efund as GOG
2298080946302    3/1/2019 TGOQ4Q, TGOQ4Q, TGOQ4Q CR/RR             Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Catast oph c Event          Compla nt          Inte nat onal Pax states no show due to med cal
                                                                                                                                                                                                                                                                                    n the amount of $123.76, see Cla m 169377318. Thanks,
                                                                                                                                                                                                                                                                                   DeShone J. II/CR, equested documentat on fo med cal no
                                                                                                                                                                                                                                                                                   show. cla m 169377318
                                                                                                                                                                                                                                                                                conce ned w/ h s upcom ng flts and ead about the MX s tuat on
                                                                                                                                                                                                                                                                                and s conce ned fo h s safety. I apol and assu ed h m we take
2298105538041    3/1/2019 OLY5Q5                    CR/RR          Phone          Med a/Adv./Mktg. P omot ons     Med a                         Ope at onal Events            Pend ng Catego y            Comment/Quest on   conce ned fo safety on fl ght w/ ecent news on SWA safety as ou top p o ty and that f we f nd t s not safe to fly
                                                                                                                                                                                                                                                                                we w l cxl of delay the fl ghts to make su e ou custome s a e
                                                                                                                                                                                                                                                                                safe. Pax unde stood and app ec at ve.
                                                                                                                                                                                                                                                                                   Pax call ng due to the 2-hou mx on he fl ght. I apolog zed and
                                                                                                                                                                                                                                                                                   offe ed each pax a $125 SLV as gog. pax thanked me.

                                                                                                                                                                                                                                                                                   Cla m No 169188553
                                                                                                                                                                                                                                                                                   Cla m No 169188605, Pax ca l ng due to the 2-hou mx on he
2298159768972    3/1/2019 Q72AVO, VH6JB7            CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Compla nt          2-hou MX Delay
                                                                                                                                                                                                                                                                                   fl ght. I apolog zed and offe ed each pax a $125 SLV as gog. pax
                                                                                                                                                                                                                                                                                   thanked me.

                                                                                                                                                                                                                                                                                   Cla m No 169188553
                                                                                                                                                                                                                                                                                   Cla m No 169188605
                                                                                                                                                                                                                                                                                   I made ese vat ons fo my f ancA                      fo th s
2298474902355    3/2/2019 JKTKZE, JKTKZE            Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Conf m ese vat on.                                    t p howeve I canat f nd h s name on my ese vat ons please
                                                                                                                                                                                                                                                                                   conf m h s ese vat ons. My telephone                  n p/c
                                                                                                                                                                                                                                                                                   He lo! I bought t ckets th s mo n ng but I must have done
                                                                                                                                                                                                                                                                                   someth ng w ong because when I log n to my account I cannot
2298554725539    3/4/2019 T45OBP, T45OBP            Rese vat ons   Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR    Comment/Quest on   add RR # to ese vat on
                                                                                                                                                                                                                                                                                   see my ese vat on., no el pty//no contacts
                                                                                                                                                                                                                                                                                   R       ch TLC
                                                                                                                                                                                                                                                                                            called n aga n. I ev ewed the s tuat on that Cu t s p ev
                                                                                                                                                                                                                                                                                   notated. I adv that I can see that the flt was cx due to wx. They
                                                                                                                                                                                                                                                                                   we e unable to get eaccomodated and so they got buddy
                                                                                                                                                                                                                                                                                   passes f om an employee and flew to the dest nat on. I adv
                                                                                                                                                                                                                                                                                   that I unde stood she was equest ng a efund fo the unflown
                                                                                                                                                                                                                                                                                   po t on of he fl ght. She states that s co ect, but wanted to
                                                                                                                                                                                                                                                                                   document that the agent she spoke w/ when t y ng to ebook
                                                                                                                                                                                                                                                                                   was ext emely ude. She was adv the next day by the sup at the
                                                                                                                                                                                                                                                                                   a po t that the agent should have ebooked he and he d dn't
                                                                                                                                                                                                                                                                                   know why they we e not ebooked th ough the no mal p ocess.

                                                                                                                                                                                                                                                                                   I apol fo the cust se v and the ove all ops s tuat on. I adv that
                          JKTKZE, JL24KK, QLEVNX,
                                                                                                                                                                                                                                                                                   we have ev ewed the s tuat on and wh le we cannot efund the
                          QOEJFN, VXY5LW, JKTKZE,                                                                                                                                                                            Pax Fl ght 1838 sp to bw was cx due to weathe . Pax
                                                                                                                                                                                                                                                                                   un lown po t on of he fl ght, I can as a GOG ssue out a $100
2298670276782    3/6/2019 JL24KK, QLEVNX, QOEJFN,   CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Unable to Reaccom           Comment/Quest on   took buddy pass to get to Balt mo e. Pax equested
                                                                                                                                                                                                                                                                                   SLV pp as GOG to nv te back fo a bette expe ence w th us due
                          VXY5LW, JKTKZE, JL24KK,                                                                                                                                                                             efund fo sp to bw
                                                                                                                                                                                                                                                                                   to the cust se v ce and m scomm.
                          QLEVNX, QOEJFN, VXY5LW
                                                                                                                                                                                                                                                                                   JL24KK and JKTKZE - o g nal ese vat ons fo           and


                                                                                                                                                                                                                                                                                   Shows etu n fl ght st ll n OK status as they a e st ll t avel ng
                                                                                                                                                                                                                                                                                   back on o g nal ese vat on. OB s ma ked as flown. Ka a
                                                                                                                                                                                                                                                                                   notated that she would be ma k ng as flown and to not efund.
                                                                                                                                                                                                                                                                                   Adv we can GOG.

                                                                                                                                                                                                                                                                                   FLT 1838 03/04 ISP BWI cx due to W

                                                                                                                                                                                                                                                                                   OW base $186
                                                                                                                                                                                                                                                                                   Conve sat on #8217329
                                                                                                                                                                                                                             sweet tweet tw 3/7/2019
                                                                                                                                                                                                                             Conve sat on #8217329
                                                                                                                                                                                                                             @Fly ngBenj                                           sweet tweet tw 3/7/2019
                                                                                                                                                                                                                                                                                   Conve sat on #8217329
                                                                                                                                                                                                                             Ou capta n on @SouthwestA 1924 f om SFO to LAX        @Fly ngBenj
2298735700469    3/7/2019 U8YC6V                    CR/RR          Soc al Med a   Custome Se v ce                 Pe sonnel                     Hosp tal ty                   P ofess onal sm             Compl ment
                                                                                                                                                                                                                             s awesome. We just got delayed by anothe 35
                                                                                                                                                                                                                             m nutes, shut down on the tax way by the unway, but   Ou capta n on @SouthwestA 1924 f om SFO to LAX s
                                                                                                                                                                                                                             he gave the most t anspa ent and compass onate        awesome. We just got delayed by anothe 35 m nutes, shut
                                                                                                                                                                                                                             announcement that made t all feel just f ne. P etty   down on the tax way by the unway, but he gave the most
                                                                                                                                                                                                                             awesome. Kudos!                                       t anspa ent and compass onate announcement that made t all
                                                                                                                                                                                                                                                                                   feel ust f ne. P etty awesome. Kudos!


                                                                                                                                                                                                                                                                                   Cla m No 169552094 $ 66.98 MC 8974
                                                                                                                                                                                                                                                                                   Cla m No 169551883 $ 66.98 MC 8974, Dea Southwest team,

                                                                                                                                                                                                                                                                                   please p oceed w th the full efund to the o g nal method of
                                                                                                                                                                                                                                                                                   payment due to fl ght cancellat on.

                          QR2SSF, QR2SSF, QR2SSF,                                                                                                                                                                                                                                  K nd ega ds,
2298757497569    3/8/2019                           CR/RR          Web Fo m       Refunds                         Refund Request                T ckets/Fa es                 Non efundable               Compla nt          Refund equest due to flt 2138 xcld due to O
                          QR2SSF, QR2SSF                                                                                                                                                                                                                                           K w com, Flt 2138 xcld due to O / pax g ven $100 slv at te m nal
                                                                                                                                                                                                                                                                                   and d d not eaccomm / efund ng ent e ow $66.98
                                                                                                                                                                                                                                                                                   unable to close t cket n ARD - p ocess ng manual efund equest
                                                                                                                                                                                                                                                                                   T cket #66050-035C9 add ng second pax on #BBBBC-50766
                                                                                                                                                                                                                                                                                   (d dn't see pax f st t me), no el pty / no el SR, SR
                                                                                                                                                                                                                                                                                   2298757497569- Manually ma ked coupon REFUNDED, Io CRRR.
                                                                                                                                                                                                                                                                                   I have equested coupon be closed n s ax




                                                                                                                                                                                                                                                                                                                                    Appx. 138
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                                                                                                                                                                                                                                                                            Contact account,
                                                                                                                                                                                                                                                                            No Rel Ptys, No Rel SRs

                                                                                                                                                                                                                                                                            F t WN2190 SFODEN CX due to W (Weathe ) unable to eaccom
                                                                                                                                                                                                                                                                             ssu ng efund.
                                                                                                                                                                                                                                                                              Refund has been successfully p ocessed (SAC-
2299053961165   3/14/2019 PGET5Q, PGET5Q             CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                   Weathe                    Unable to Reaccom         Compla nt          Pax equest to efund RTFs back to CC due to Flt CX      52675CUP6T5ZO). (9892), Dea Southwest,

                                                                                                                                                                                                                                                                            please efund us fo the cancelled fl ght back to the o g nal
                                                                                                                                                                                                                                                                            method of the payment.

                                                                                                                                                                                                                                                                            K nd ega ds,
                                                                                                                                                                                                                                                                            K w com
                                                                                                                                                                                                                                                                            FLIGHT HAS BEEN CANCELLED BECAUSE OF THE GROUNDING OF
                                                                                                                                                                                                                                                                            THE BOEING 737 MAX AIRCRAFT. NEED TO REBOOK, o g nally
2299070482633   3/14/2019 WZY6K5, WZY6K5             CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                   Mechan cal                Reaccom Same Day          Comment/Quest on   737 MAX 8 Ope at on Suspens on                         scheduled on Fl ght #258/1839 BHM HOU ELP. Fl ght #258 cx due
                                                                                                                                                                                                                                                                            to UMX. eaccomm on Fl ght #51/136 BHM DAL ELP. a ved
                                                                                                                                                                                                                                                                            about 14 hou s late than scheduled.
                                                                                                                                                                                                                                                                            - Fo wa ded to CBS - T cket #5A5A0-D5097
                                                                                                                                                                                                                                                                               Updated ema ks n nett ace - HDQWN02390443
                                                                                                                                                                                                                                                                            - $50 SLV - Cla m No 170009159, - Fo wa ded to CBS - T cket
                                                                                                                                                                                                                                                                            #5A5A0-D5097
                                                                                                                                                                                                                                                                               Updated ema ks n nett ace - HDQWN02390443
                                                                                                                                                                                                                                                                            - $50 SLV - Cla m No 170009159, - W5U599 - two pax

                                                                                                                                                                                                                                                                              OW $73.19
                                                                                                                                                                                                                                                                           - U73VJU - XSeat fo oundt p
                                                                                                                                                                                                                                                                              booked by E127945 CSA FLL - located
                                                                                                                                                                                                                     *TALENT MANAGEMENT*                                   - HDQWN02390443 - c eated 3/14 th ough tw tte
                                                                                                                                                                                                                     GZ0221 JM2019030032 DCD201903 Ma ch)                     Rema ks on NetT ace Pax w ote n to CR v a Tw tte th s
                            U73VJU, W5U599, U73VJU,                                                                                                                                                                                                                        same mo n ng she ece ved he checked bag back w th a la ge
                            W5U599, U73VJU, W5U599,                                                                                                                                                                  Ms. Rachel West contacted the DOT. She s upset        hole n the s de. Pax s seek ng a eplacement bag, so I adv to
2299128938739   3/15/2019                           Advocacy        Web Fo m   Othe                            Spec al Handl ng/Spec al Req   DOT Custome Se v ce       Standa d                  Compla nt
                            U73VJU, W5U599, U73VJU,                                                                                                                                                                  about the handl ng and t eatment of be ng nfo med speak w th Agents at the a po t. Pax sa d she w l when she
                            W5U599                                                                                                                                                                                   of he need to pu chase an ext a seat pe the           takes he etu n fl ght on Ma ch 17. Please ass st Rachel Suwad
                                                                                                                                                                                                                     Custome of the S ze pol cy. Add t onally, upon a val, West as best you can, g ve she was unable to epo t the
                                                                                                                                                                                                                     she d scove ed he luggage was damaged.                damages ght afte she got he bag s nce she had the leave the
                                                                                                                                                                                                                                                                           a po t ght away. Thanks, Chelsea B. CR. Tw tte Conve sat on
                                                                                                                                                                                                                                                                           #8249885.
                                                                                                                                                                                                                                                                           - Pax landed at 7 20am, contacted us at 8 20am v a tw tte ,
                                                                                                                                                                                                                                                                            epo t was made at 12 27pm
                                                                                                                                                                                                                                                                           - Fo wa d ng to CBS as pax contacted us w th n 4 hou pe od
                                                                                                                                                                                                                                                                           send ng Comply fo m once esponse comes back f om p oof ng
                                                                                                                                                                                                                                                                           - Send ng $50 SLV as GOG due to custome se v ce expe ence
                                                                                                                                                                                                                                                                           Issu ng once esponse comes back f om p oof ng (send ng to
                                                                                                                                                                                                                                                                                                       s nce she po nted that out n tw tte
                                                                                                                                                                                                                                                                                     t               l h       t t DOT th)
                                                                                                                                                                                                                                                                           advo ev ew s nce pax sn't compla n ng about the handl ng of
                                                                                                                                                                                                                                                                           the we ght est ct on s tuat on, ops can handle. also because we
                                                                                                                                                                                                                                                                           al eady ssued h m an SLV fo $998.98 (pe efundp o) and sent
                                                                                                                                                                                                                                                                            t to ema l n PNR ), e ssue to new ema l
                                                                                                                                                                                                                                                                           new co 14686502, To whom t may conce n,
                                                                                                                                                                                                                                                                               My name s                        I am f om Ta wan and I am
                                                                                                                                                                                                                                                                           cu ently n Ta wan. I took t e l ght of Southwest on 2019/2/28.
                                                                                                                                                                                                                                                                           When I got onto the fl ght 483, f om Denve Inte nat onal to San
                                                                                                                                                                                                                                                                           F anc sco SAN FRA, the c ew on the plane sa d they need 26
                                                                                                                                                                                                                                                                           people to get off the plane duel to some p oblems, and they w ll
                                                                                                                                                                                                                                                                           p ov de compensat on, wh ch s a 900 dolla s t avel vouche .
                                                                                                                                                                                                                                                                           Instead of fly ng to San F anc sco SAN FRA, the c ew sa d that
                                                                                                                                                                                                                                                                           the 26 people would fly to OAKLAND INTL. I was one of the 26
2299161489319   3/16/2019 WOBR3C, WOBR3C, WOBR3C CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d    SLV                       Neve Rece ved             Compla nt          Pax look ng fo GOG afte he gave up h s seat.          people that got off the plane and flew to OAKLAND INTL. A te I
                                                                                                                                                                                                                                                                           landed n OAKLAND INTL, I asked a wo ke n Southwest Baggage
                                                                                                                                                                                                                                                                           off ce about when the compensat on would be ssued, the
                                                                                                                                                                                                                                                                           pe son told me that Iad get an ema l f om a team that s
                                                                                                                                                                                                                                                                           spec f ed n g v ng compensat on. Afte wa t ng fo seve al
                                                                                                                                                                                                                                                                           weeks, I st ll havenat ece ved any ema l o be ng contacted by
                                                                                                                                                                                                                                                                           anyone f om Southwest, so that s why I am w t ng th s ma l to
                                                                                                                                                                                                                                                                           ask about whatas go ng on w th my compensat on. I have the
                                                                                                                                                                                                                                                                           p ctu es of both boa d ng passes, but t seems l ke I canat attach
                                                                                                                                                                                                                                                                           them he e. Please let me know f you need me to p ov de
                                                                                                                                                                                                                                                                           someth ng.

                                                                                                                                                                                                                                                                            S nce ely,

                                                                                                                                                                                                                                                                            Is t poss ble fo me to change the date of my t p back to Fo t
                                                                                                                                                                                                                                                                            Laude dale? I'm cu ently booked fo 3/28, but would l ke to
                                                                                                                                                                                                                                                                             etu n on 3/20 o 3/21.
2299194051260   3/16/2019 O9SR7N, O9SR7N             Rese vat ons   Web Fo m   southwest.com                   P oduct/Funct onal ty          Change/Cancel It ne a y   Web S te Nav gat on       Comment/Quest on   Change Rese vat on
                                                                                                                                                                                                                                                                            Thank-you fo you help.

                                                                                                                                                                                                                                                                                           , No Rel Pty/Contacts
                                                                                                                                                                                                                                                                       My fl ght to ABQ f om LAX on 16 Ma ch was cancelled.
                                                                                                                                                                                                                                                                       Southwest gave us a new set of fl ghts, f om LAX to DEN on 16
                                                                                                                                                                                                                                                                       Ma , and then f om DEN to ABQ on 17 Ma , and offe ed to pay
                                                                                                                                                                                                                                                                       fo a hotel n Denve fo the n ght. The agent at the counte n
                                                                                                                                                                                                                                                                       LAX had sa d that f I saved my ece pts, I should also be able to
                                                                                                                                                                                                                     737 MAX 8 Cancellat on A ch ve- flt 4320 l sted.
                                                                                                                                                                                                                                                                        ecoup the cost of t avel to and f om the a po t I hope that s
2299259418801   3/18/2019 MO9FK7                     CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                   Ove a l Pe fo mance       Rel ab l ty               Comment/Quest on   seek ng e mbu sement fo Ube , as adv sed f om CSA
                                                                                                                                                                                                                                                                       st ll the case, espec ally s nce the cheapest opt on I could f nd
                                                                                                                                                                                                                     at a po t
                                                                                                                                                                                                                                                                       was an Ube and t was st ll almost $120 to get to and f om the
                                                                                                                                                                                                                                                                       hotel.

                                                                                                                                                                                                                                                                            Can you help us w th the p ocess fo e mbu s ng us fo ou
                                                                                                                                                                                                                                                                            t avel to and f om the hotel? I do have the ece pts.

                                                                                                                                                                                                                                                                            Dea Southwest,

                                                                                                                                                                                                                                                                            please efund us due to death of the passenge s' mothe .
                                                                                                                                                                                                                                                                            The passenge d d not use the fl ght, we have a death ce t f cate.
                                                                                                                                                                                                                     Pax seek ng a efund of no show s nce they d d not
2299267583829   3/18/2019 LCIP9D, LC P9D, LCIP9D     CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d    No-Show Fo fe ted Funds   Pol cy Adhe ence          Comment/Quest on                                                          K nd ega ds,
                                                                                                                                                                                                                     t avel due to a death n the fam ly
                                                                                                                                                                                                                                                                            K w com, fl ght d d not no show, efund ng tf fo death n the
                                                                                                                                                                                                                                                                            fam ly- dox n s

                                                                                                                                                                                                                                                                            Cla m No 171214706, No Rel SRs, No Rel Pa t es/Unable to
                                                                                                                                                                                                                                                                            locate RR account/Pax no showed t avel

                                                                                                                                                                                                                                                                            flt #5528 xcld due to U unable to eaccomm pax

                                                                                                                                                                                                                                                                            S nce Open, p ocessed efund n ARD. Ret eved ofp MX nfo
                                                                                                                                                                                                                     f t xcld due to U, unable to eaccomm, pax seek ng      f om C us
2299354632684   3/20/2019 K38H3T, K38H3T             CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                   Mechan cal                Unable to Reaccom         Compla nt
                                                                                                                                                                                                                      efund
                                                                                                                                                                                                                                                                            Refund has been successfully p ocessed (SAC-52676SA26GPKM).
                                                                                                                                                                                                                                                                            (9892), Please p oceed w th full efund back to o g nal fo m of
                                                                                                                                                                                                                                                                            payment due majo schedule change.

                                                                                                                                                                                                                                                                            Pax was ove booked on o g nal fl ght - ejected - they we e able
                                                                                                                                                                                                                                                                            to be placed on alt fl ght but ncu ed upg aded p ce of 351.51
                                                                                                                                                                                                                                                                            fo each pax. Issu ng efund of upg ade as GOG except on

2299428081671   3/21/2019 SHSKX9                     CR/RR          Phone      Rese vat ons/T ckets/Fa es      Fa es                          Wanna Get Away            Upg ade                   Comment/Quest on   poss ble efund equest
                                                                                                                                                                                                                                                                            Cla m No     169993828
                                                                                                                                                                                                                                                                            Cla m No     169993945
                                                                                                                                                                                                                                                                            Cla m No     169993943
                                                                                                                                                                                                                                                                            Cla m No     169994039
                                                                                                                                                                                                                                                                            added PNR to fl ght deta ls. found by ema l add ess n c us., I
                                                                                                                                                                                                                                                                            booked a fl ght f om NY to STL on June 11, I was not asked to
                            QWSZ43, QWSZ43, QWSZ43,
2299454038002   3/22/2019                           Rese vat ons    Web Fo m   Pol c es/P ocedu es             Lap Ch ld                      Gu del nes                P ocedu es                Comment/Quest on   Custome s ask ng how to add the lap ch ld.             ente my daughte s nfo mat on. She's 1y old and 8mos. She
                            QWSZ43
                                                                                                                                                                                                                                                                            w ll just s t n my w fe's lap., no fl ght deta ls p ov ded , n p and
                                                                                                                                                                                                                                                                            nc.
                                                                                                                                                                                                                                                                            Called and spoke to Chel don a and apolog zed fo the delay and
                                                                                                                                                                                                                                                                            adv sed that t was due to MX and adv sed that as a GOG, ou
                                                                                                                                                                                                                                                                            PCS team had ssued an SLV and that t went to KIWI but I would
                                                                                                                                                                                                                                                                             e ssue to he ema l that she contacted us f om. Pax accepted
                                                                                                                                                                                                                                                                            and thanked. Call concluded. Thanks Taylo CRRR, Dea
                                                                                                                                                                                                                                                                            custume se v ce,
                                                                                                                                                                                                                                                                             fl ght w th southwest on 03/17/2019 and my fl ght was delayed
2299492796864   3/22/2019 OEAEV4, OEAEV4, OEAEV4     CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                          Mechan cal                Unscheduled Ma ntenance   Comment/Quest on   Request fo efund due to f t delay
                                                                                                                                                                                                                                                                            fo 3 hou s w th no easons.
                                                                                                                                                                                                                                                                            could have the efund? was an nconven ence fo me.
                                                                                                                                                                                                                                                                            thank you., OW base fa e 104.19

                                                                                                                                                                                                                                                                            PCS ssued $100 SLV

                                                                                                                                                                                                                                                                            F t 1297 delayed 133 m ns
                                                                                                                                                                                                                                                                            WN797 cxld due to MX BWI to BOS PNR SG8VGN eacomm was
                                                                                                                                                                                                                                                                            unsuccessful custome ebooked themselves fo a late date
                                                                                                                                                                                                                                                                            PNR MAOUWK but pa d an add t onal $80 fo h s new fl ght. He
                                                                                                                                                                                                                                                                            stated that was not fa and wanted an SLV fo the d ffe ence.
                                                                                                                                                                                                                                                                            H s funds f om PNR SG8VGN we e not efunded nstead left as
                                                                                                                                                                                                                                                                            RTF and appl ed to h s new ese vat on. Adv sed as GOG I would
                                                                                                                                                                                                                                                                             ssue a $150 SLV (OW base fa e $123.72) fo the ove all
                                                                                                                                                                                                                                                                             nconven ence.




2299583332887   3/25/2019 MAOUWK, SG8VGN             CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                   Mechan cal                Unable to Reaccom         Compla nt          Custome s fl ght cxld due to MX unable to eacomm       Cla m No 170112920, WN797 cxld due to MX BWI to BOS PNR
                                                                                                                                                                                                                                                                            SG8VGN eacomm was unsuccessful custome ebooked
                                                                                                                                                                                                                                                                            themselves fo a late date PNR MAOUWK but pa d an add t onal
                                                                                                                                                                                                                                                                            $80 fo h s new fl ght. He stated that was not fa and wanted an
                                                                                                                                                                                                                                                                            SLV fo the d ffe ence. H s funds f om PNR SG8VGN we e not
                                                                                                                                                                                                                                                                             efunded nstead left as RTF and appl ed to h s new ese vat on.
                                                                                                                                                                                                                                                                            Adv sed as GOG I would ssue a $150 SLV (OW base fa e $123.72)
                                                                                                                                                                                                                                                                            fo the ove all nconven ence.




                                                                                                                                                                                                                                                                            Cla m No 170112920




                                                                                                                                                                                                                                                                                                                               Appx. 139
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                                                                                                                                                                                                                                                             Pax called back to check on status of CBS cla m LZWN002406650.
                                                                                                                                                                                                                                                             Pax asked about $50 SLV and wanted to know f she could st l
                                                                                                                                                                                                                                                              ece ve th s, s nce she d d not conf m. I adv as GOG, I would
                                                                                                                                                                                                                                                             hono the p ev ous agent. Pax thanked fo the ass stance and
                                                                                                                                                                                                                                                             d sconnected. Thanks, Sa ah./CR
                                                                                                                                                                                                                                                             Cla m No 170375854, Pax ca led to follow up on ema ls sent. I
                                                                                                                                                                                                                                                             adv sed CR would only be able to document he conce ns n the
                                                                                                                                                                                                                                                             fo m of a fo mal compla nt and ssue an SLV fo 50 00 as a
                                                                                                                                                                                                                                                             tang ble apology. Fo e mbu sement/ eplacement costs t
                                                                                                                                                                                                                                                             would be best fo he to each out to CBSO, I p ov ded he the
                                                                                                                                                                                                                                                             d ect numbe . Thanks, B tney, pax was al eady handled by
                                                                                                                                                                                                                                                             B tney, Th s message s a second attempt to commun cate w th
                                                                                                                                                                                                                                                             Southwest A l nes Custome Se v ce ega d ng damaged
                            RYPIZG, RYPIZG, RYPIZG,                                                                                                                                                                                                          luggage. I ece ved a eply to my n t al nqu y on Feb ua y 15
2299584683756   3/25/2019                             CR/RR   Web Fo m   Baggage                         Checked        Damaged Bag                      To n/D agged/So led        Compla nt          Baggage damaged
                            RYPIZG                                                                                                                                                                                                                           and was adv sed to contact the Southwest A l nes Cla ms
                                                                                                                                                                                                                                                             Depa tment. Afte contact ng the Cla ms Depa tment, I was
                                                                                                                                                                                                                                                              nfo med that they we e unable to access my nfo mat on and t
                                                                                                                                                                                                                                                             would be necessa y fo me to commun cate w th Custome
                                                                                                                                                                                                                                                             Se v ce aga n to ece ve fu the deta ls.

                                                                                                                                                                                                                                                             Would you please p ov de me w th fu the nfo mat on about
                                                                                                                                                                                                                                                             how to subm t mo e deta ls fo a efund o eplacement on the
                                                                                                                                                                                                                                                             below ment oned ssue?

                                                                                                                                                                                                                                                             ISSUE
                                                                                                                                                                                                                                                             Du ng the f st fl ght us ng th s su tcase fo ove seas t avel f om
                                                                                                                                                                                                                                                             the US to Eu ope, t suffe ed damage to ts oute she l. I f st
                                                                                                                                                                                                                                                             saw the damage to the luggage when I t ansfe ed fo my
                                                                                                                                                                                                                                                             Pax needed to change he etu n flght f om the 17 of may to the
                                                                                                                                                                                                                                                             19 of may, and wanted he CPN also changed. I changed both
                                                                                                                                                                                                       Pax needed a change of book ng, nclud ng he           fl ghts fo he . Pax was app ec at ve., Pax needed to change he
2299588750733   3/25/2019 TL2WJV, TLJZRO              CR/RR   Phone      Rese vat ons/T ckets/Fa es      Rese vat ons   Ass stance n book ng             Change Book ng             Comment/Quest on
                                                                                                                                                                                                       compan on                                              etu n flght f om the 17 of may to the 19 of may, and wanted
                                                                                                                                                                                                                                                             he CPN also changed. I changed both fl ghts fo he . Pax was
                                                                                                                                                                                                                                                             app ec at ve.
                                                                                                                                                                                                                                                             Related pty 20907779502/No elated SR

                                                                                                                                                                                                                                                             Fl ght cancelled due to MX

                                                                                                                                                                                                                                                             New dest nat on to ATL and d ove to BHM

                                                                                                                                                                                                                                                             Sent each pax a $200 SLV
                                                                                                                                                                                                       Pax s equest ng nfo mat on fo IX due to l ght
2299638107808   3/26/2019 M9IHRY, M9IHRY              CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on   Mechan cal                       Reaccom Same Day           Compla nt          cancellat on n MDW, flew nto ATL and dec ded to       CL
                                                                                                                                                                                                       d ve to BHM.                                          170308349
                                                                                                                                                                                                                                                             170308260, The Fl ght f om MDW to BHM was canceled. We
                                                                                                                                                                                                                                                             we e ebooked to fly to Atlanta. We had to take a ental ca
                                                                                                                                                                                                                                                             f om Atlanta to BMH. I would l ke to fo wa d the ental ca
                                                                                                                                                                                                                                                              nvo ce fo compensat on. Can you g ve me a contact add ess.
                                                                                                                                                                                                                                                             Thank you and best ega ds



                                                                                                                                                                                                                                                             H team, I checked my book ng onl ne and t looks l ke the mco-
                                                                                                                                                                                                                                                             phl fl ght was cancelled and we have now been booked on a
                                                                                                                                                                                                                                                             long layove n mco. Can you please put us on a good
                                                                                                                                                                                                                                                             connect on so we a ve n phl much ea l e (l ke we had
2299671988457   3/27/2019 S IZ7H, SIIZ7H              CR/RR   Web Fo m   Rese vat ons/T ckets/Fa es      Schedules      Unexpected Change to It ne a y   New A val T me             Compla nt          custome upset w th the schedule eaccom                booked). P efe ence one s the 0850 fl ght to hou connect ng
                                                                                                                                                                                                                                                             well to phl. O the 0705 to phl v a bna. The connect ons on
                                                                                                                                                                                                                                                             these a e much bette . Thanks S mon, No Rel. SR// looks l ke
                                                                                                                                                                                                                                                             matte s handled// pax was put on h s equested lt yeste day
                                                                                                                                                                                                                                                             (03/30) fo the f t connect ng n HOU//

                                                                                                                                                                                                                                                             e o , Related pa ty 20823404556
                                                                                                                                                                                                                                                             FLT 2036 SFO-DEN 11 10am/2 50pm
                                                                                                                                                                                                                                                             Reacommed FLT
                                                                                                                                                                                                                                                             FLT 2076 SFO-DEN 4 40pm/8 20pm
                                                                                                                                                                                                                                                             Reacommed FLT (pax equested change)
                                                                                                                                                                                                                                                             FLT 1478 SFO-LAS 10 35am/12 10pm
                                                                                                                                                                                                                                                             FLT 553 LAS-DEN 1 00pm/3 55pm
                                                                                                                                                                                                                                                             , To whom t may conce n
                                                                                                                                                                                                                                                             I booked a 2-pe son nonstop t p f om SFO to DEN, a v ng at
                                                                                                                                                                                                                                                             2 50 pm, and due to a Southwest t ne a y change, we we e
                                                                                                                                                                                                       Pax equest ng f ee upg aded boa d ng due to           placed on a l ght a v ng at 8 20 pm. Th s was too late fo us
2299678452198   3/27/2019 SSJ6DW, SSJ6DW, SSJ6DW      CR/RR   Web Fo m   Rese vat ons/T ckets/Fa es      Schedules      Unexpected Change to It ne a y   Nonstop F t to D ect F t   Compla nt
                                                                                                                                                                                                       schedule eacomm                                       we we e fo ced to e-book an a te noon fl ght w th a layove . I
                                                                                                                                                                                                                                                             was su p sed to lea n that the custome se v ce ep esentat ve
                                                                                                                                                                                                                                                             could not upg ade ou boa de o do anyth ng else to mp ove
                                                                                                                                                                                                                                                             ou t avel expe ence, even though Southwest was espons ble
                                                                                                                                                                                                                                                             fo add ng nea ly 2 hou s ( nclud ng an add t onal fl ght) to ou
                                                                                                                                                                                                                                                             t avel. It's the l ttle th ngs that make t avel bette , and
                                                                                                                                                                                                                                                             the efo e, I am s mply equest ng upg aded boa de o a
                                                                                                                                                                                                                                                              e mbu sement to upg ade ou boa d ng fo the fl ght.

                                                                                                                                                                                                                                                             Best,


                                                                                                                                                                                                                                                             Pax had cancelat on on fl ght 1345 pn tj bmf . T cket was
                                                                                                                                                                                                                                                             188.98. Pax pu chased new t cket pn l 5jxy and fl ght numbe
                                                                                                                                                                                                                                                             was 1661. The t cket cost 568.98. Pax call ng n to get efund due
                                                                                                                                                                                                                                                             to the cancelat on. Refunded fl ght 1345 n ARD to h s CC fo
                                                                                                                                                                                                                                                             188.98. Then c eated cla m fo fl ght 1661 to be efunded the
                                                                                                                                                                                                                                                             d ffe ence n cost between the two fl ghts.
                                                                                                                                                                                                                                                              efund fo the d ffe ence n fa e fo th s new ese vat on. 568 98
                                                                                                                                                                                                                                                             (total)-188.98 (PNRtj bmf ) = 380.00 (fl ght d ffe ence equest ng
                                                                                                                                                                                                                                                             to efund) Thx Megen
                                                                                                                                                                                                                                                             Cla m No 170195371 PNR LR5JXY, Pax had cancelat on on
2299682906901   3/27/2019 LR5JXY, TJIBMF              CR/RR   Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on   Weathe                           Unable to Reaccom          Compla nt          Pax had mult changes n fl ghts, seek ng efunds.
                                                                                                                                                                                                                                                             fl ght 1345 pn tj bmf . T cket was 188.98. Pax pu chased new
                                                                                                                                                                                                                                                             t cket pn l 5 xy and fl ght numbe was 1661. The t cket cost
                                                                                                                                                                                                                                                             568.98. Pax call ng n to get efund due to the cancelat on.
                                                                                                                                                                                                                                                             Refunded fl ght 1345 n ARD to h s CC fo 188.98. Then c eated
                                                                                                                                                                                                                                                             cla m fo fl ght 1661 to be efunded the d ffe ence n cost
                                                                                                                                                                                                                                                             between the two fl ghts.
                                                                                                                                                                                                                                                              efund fo the d ffe ence n fa e fo th s new ese vat on. 568 98
                                                                                                                                                                                                                                                             (total)-188.98 (PNRtj bmf ) = 380.00 (fl ght d ffe ence equest ng
                                                                                                                                                                                                                                                             to efund) Thx Megen
                                                                                                                                                                                                                                                             Cla m No 170195371 PNR LR5JXY
                                                                                                                                                                                                                                                             Related pa ty 20591264901, 20076136231, 71787730

                                                                                                                                                                                                                                                             FLT 2216 TPA-PVD 7 50pm/10 35pm delayed 148 m nutes due to
                                                                                                                                                                                                                                                             mx

                                                                                                                                                                                                                                                             Issued $150.00 slv as gog pe pax
                                                                                                                                                                                                                                                             Cla m No 170334205
                                                                                                                                                                                                                                                             Cla m No 170334313
                                                                                                                                                                                                                                                             Cla m No 170334322
                                                                                                                                                                                                                                                             Cla m No 170334288, Related pa ty 20591264901,
                                                                                                                                                                                                                                                             20076136231, 71787730

                                                                                                                                                                                                                                                             FLT 2216 TPA-PVD 7 50pm/10 35pm delayed 148 m nutes due to
                            JWLBET, O8Y93L, JWLBET,                                                                                                                                                                                                          mx
2299685221774   3/27/2019                             CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay          Mechan cal                       Unscheduled Ma ntenance    Compla nt          pax compla ned about fl ght delay caused by mx
                            O8Y93L
                                                                                                                                                                                                                                                             Issued $150.00 slv as gog pe pax
                                                                                                                                                                                                                                                             Cla m No 170334205
                                                                                                                                                                                                                                                             Cla m No 170334313
                                                                                                                                                                                                                                                             Cla m No 170334322
                                                                                                                                                                                                                                                             Cla m No 170334288, Yeste day, my fl ght was delayed ove 2.5
                                                                                                                                                                                                                                                             hou s w th no eason g ven (also the fl ght t me changed 4
                                                                                                                                                                                                                                                             t mes). The e we e no weathe ssues n e the c ty, and the
                                                                                                                                                                                                                                                             fl ght was not a 700-MAX. When we called to see f the e was
                                                                                                                                                                                                                                                             any othe fl ght opt ons and to get mo e nfo mat on we we e
                                                                                                                                                                                                                                                             told that th s was scheduled ma ntenance . I am 8 months
                                                                                                                                                                                                                                                             p egnant and we we e t avel ng w/ my 1.5 yea old daughte so
                                                                                                                                                                                                                                                             th s was eally not acceptable. If th s we e scheduled
                                                                                                                                                                                                                                                             ma ntenance why wouldn't we have been nfo med ea l e so
                                                                                                                                                                                                                                                             Cla m No 170511439, Please p oceed full efund fo the fl ght as
                                                                                                                                                                                                                                                             the fl ght was cancelled by an a l ne, please nfo m us about the
2299722371840   3/28/2019 MTQS5A, MTQS5A              CR/RR   Web Fo m   Med a/Adv./Mktg. P omot ons     Med a          Company News                     Pend ng Catego y           Compla nt
                                                                                                                                                                                                                                                              efunded amount. P oceed efund to the o g nal mode of
                                                                                                                                                                                                                                                             payment.
                                                                                                                                                                                                                                                             CR W teback SR 2299678452198 pax ema ns upset boa d ng
                                                                                                                                                                                                                                                             pos t ons was not upg aded when fl ght was cxlled by SWA, Pax
                                                                                                                                                                                                                                                             called n to d scuss web fo m. I apol and adv I do see o g nal ep
                                                                                                                                                                                                                                                              s n the p ocess of espond ng n w t ng, but I can handle t now
                                                                                                                                                                                                                                                             ove the phone f he p efe s. Pax adv he would p efe that. I
                                                                                                                                                                                                                                                             apol fo ove all expe ence and nconven ence of eaccom. Adv
                                                                                                                                                                                                                                                             schedule change was put n place as a esu t of Max 8
                                                                                                                                                                                                                                                             g ound ngs. Adv we a en't ssu ng comp o GOGs as a esult
                                                                                                                                                                                                                                                             because that was out of ou cont ol. Apol and adv we a e only
                                                                                                                                                                                                                                                             able to eaccom on ou own a c aft, adv we don't have nte l ne
                                                                                                                                                                                                                                                             ag eements. Adv I have documented h s feedback ega d ng
                                                                                                                                                                                                                                                             schedule change, and apol fo nconven ence, but adv ou only
                                                                                                                                                                                                                                                             opt ons a e to eaccom on ava lable fl ght w th no gog o cancel
                                                                                                                                                                                                       CR W teback SR 2299678452198 pax ema ns upset
                            SSJ6DW, SS 6DW, SSJ6DW,                                                                                                                                                                                                          and efund ese vat on. Pax adv they want to keep the pn , but
2299890951538    4/1/2019                             CR/RR   Web Fo m   Othe                            CR W teback    D sag ees/Rema ns Upset          Upset w th Pol cy          Compla nt          boa d ng pos t ons was not upg aded when fl ght was
                            SSJ6DW, SS 6DW                                                                                                                                                                                                                   adv they a e d ssat sf ed because othe ca e s have done mo e
                                                                                                                                                                                                       cxlled by SWA
                                                                                                                                                                                                                                                             w th schedule changes n the past. Adv I have documented
                                                                                                                                                                                                                                                             those f ust at ons, apol and adv we a e not able to man pulate
                                                                                                                                                                                                                                                             boa d ng pos t on o efund eb f pu chased. Pax ema ned
                                                                                                                                                                                                                                                             upset, but accepted and d sconnected.

                                                                                                                                                                                                                                                             Subm tted T cket #9657D-0B126 fo s eass gnment., Related
                                                                                                                                                                                                                                                             SR 2299678452198 DD 6157156774/ no answe

                                                                                                                                                                                                                                                             Related pa ty 20823404556
                                                                                                                                                                                                                                                             FLT 2036 SFO-DEN 11 10am/2 50pm
                                                                                                                                                                                                                                                             Reacommed FLT
                                                                                                                                                                                                                                                             FLT 2076 SFO-DEN 4 40pm/8 20pm
                                                                                                                                                                                                                                                             Reacommed FLT (pax equested change)




                                                                                                                                                                                                                                                                                                              Appx. 140
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                                                                                                                                                                                                                                                                                    Custome was ebooked onto fl ght fo 4/2 wh ch they took.,
                                                                                                                                                                                                                                                                                    He lo,
                                                                                                                                                                                                                                                                                    I ust saw that my fl ght f om Las Vegas to Cancun was canceled
                                                                                                                                                                                                                               Px wants to know what a te nat ves we have s nce h s and I would l ke to know what solut ons you have settled fo me
2299907088618    4/1/2019 V4QJXL, V4QJXL            CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Change Book ng                 Comment/Quest on
                                                                                                                                                                                                                               f t was cx.                                          to o n San F anc sco ?
                                                                                                                                                                                                                                                                                    Best,


                                                                                                                                                                                                                                                                                     ARD V6OB7D was al eady changed, I ece ved a message that my
                                                                                                                                                                                                                                                                                     fl ght leav ng f om boston to mco now has a layove but we
                                                                                                                                                                                                                                                                                     dont get off the plane.
2299916570358    4/1/2019 V6OB7D, V6OB7D, V6OB7D    Rese vat ons   Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ope at onal                      Reaccom Same Day               Comment/Quest on   Wants to know why fl ght was changed
                                                                                                                                                                                                                                                                                      t does not tell us why?
                                                                                                                                                                                                                                                                                     S nce e y
                                                                                                                                                                                                                                                                                                      n c/ p d ff ssues


                                                                                                                                                                                                                                                                                     I am t y ng to book my t p fo 2 adu ts and fo some odd eason
                                                                                                                                                                                                                                                                                     the s te s decl n ng my ca d. I have well ove the amount that s
                                                                                                                                                                                                                                                                                      equ ed fo the package. I even called my bank and they stated
                                                                                                                                                                                                                                                                                      t must be an e o on Southwest's end. Please call me as soon
                                                                                                                                                                                                                                                                                     as poss ble to esolve th s ssue.

                                                                                                                                                                                                                                                                                     Thank you,
                                                                                                                                                                                                                                                                                               He lo,
                          JR9F5Z, JRASTX, JROMUY,
                                                                                                                                                                                                                                                                                     I am t y ng to book my t p fo 2 adu ts and fo some odd eason
                          JRPT4L, LVAQ7D, M2PWAE,
                                                                                                                                                                                                                                                                                     the s te s decl n ng my ca d. I have well ove the amount that s
                          MJBRPR, N43MX9, O8M97J,
                                                                                                                                                                                                                               SWA V - book ng e o ,                                  equ ed fo the package. I even called my bank and they stated
2299994615241    4/3/2019 OTEAKU, JR9F5Z, JRASTX, CR/RR            Web Fo m   southwest.com                   P oduct/Funct onal ty         In t al A Book ng                Techn cal D ff cult es         Compla nt
                                                                                                                                                                                                                               mult ple dent cal ese vat ons, CC gett ng decl ned.    t must be an e o on Southwest's end. Please call me as soon
                          JROMUY, RPT4L, LVAQ7D,
                                                                                                                                                                                                                                                                                     as poss ble to esolve th s ssue.
                          M2PWAE, MJBRPR, N43MX9,
                          O8M97J, OTEAKU
                                                                                                                                                                                                                                                                                     Thank you,
                                                                                                                                                                                                                                                                                               He lo,

                                                                                                                                                                                                                                                                                     I am t y ng to book my t p fo 2 adu ts and fo some odd eason
                                                                                                                                                                                                                                                                                     the s te s decl n ng my ca d. I have well ove the amount that s
                                                                                                                                                                                                                                                                                      equ ed fo the package. I even called my bank and they stated
                                                                                                                                                                                                                                                                                      t must be an e o on Southwest's end. Please call me as soon
                                                                                                                                                                                                                                                                                     as poss ble to esolve th s ssue.

                                                                                                                                                                                                                                                                                     Thank you,
                                                                                                                                                                                                                                                                                                 He lo
                                                                                                                                                                                                                                                                                     no el pty/ctcs., Please close out the ewa d account that I
2300004933206    4/3/2019 LQ9SEA, LQ9SEA            Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status          Membe Canceled Acct            Comment/Quest on   Request ng Rap d Rewa ds account be closed.           opened today, I am not nte ested n fly ng w th Southwest eve
                                                                                                                                                                                                                                                                                     aga n. Please send ema l conf m ng the cance lat on.
                                                                                                                                                                                                                                                                                     pax call ng back fo p om sed SLVs as we l as a p om se to fnd
                                                                                                                                                                                                                                                                                     upg aded boa d ng due to IROPS. pax says she d d follow
                                                                                                                                                                                                                                                                                     th ough w th fnd ng ERBDs but not w th the othe 2 p om ses. I
                                                                                                                                                                                                                                                                                     apol to pax and adv that t seems that ou p ev agent d opped
                                                                                                                                                                                                                                                                                     the ball and fo got to ssue efunds fo upg aded boa d ng and
                                                                                                                                                                                                                                                                                     that I would get that taken ca e of ght away. I also found that
                                                                                                                                                                                                                                                                                     2x $100 SLVs was ssued to the each of them at the a po t. also
                                                                                                                                                                                                                                                                                     adv pax that du ng the book ng p ocess the e was neve a
                                                                                                                                                                                                                                                                                     p efe ed meth of contact. adv that t mothy's slv was p ocessed
                                                                                                                                                                                                                                                                                     d ffe ently due to a system e o and st ll n p ocess. I adv that n
                                                                                                                                                                                                                                                                                     p ev notes, p ev agent does not ment on that she would efund
                                                                                                                                                                                                                                                                                     that upg aded boa d ng but I st ll would as GOG. pax thankful an
                                                                                                                                                                                                                                                                                     d sconnected the call co d ally
2300089367983    4/5/2019 PKS9KG, PKS9KG            CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ove a l Pe fo mance              Rel ab l ty                    Compla nt          Pax upset w th flt cancellat on


                                                                                                                                                                                                                                                                                             CO 14698769-a po t slv
                                                                                                                                                                                                                                                                                           CO 14698768-a po t slv

                                                                                                                                                                                                                                                                                     $100 addt'l to each pax
                                                                                                                                                                                                                                                                                          CO 14789582 slv- ssued by p ev ous agent
                                                                                                                                                                                                                                                                                            m sc cla m #170551972 slv- ssued by p ev ous agent

                                                                                                                                                                                                                                                                                     upg ade boa d fnd cla m no 170551329
                                                                                                                                                                                                                                                                                     upg ade boa d fnd m sc clam no 170809486

                                                                                                                                                                                                                                                                                     ssu ng efund on upg ade boa d ng. cannot ssue as cla m and
                                                                                                                                                                                                                                                                                               DR
                                                                                                                                                                                                                                                                                                ca ledo n Thanks JenRTF.
                                                                                                                                                                                                                                                                                                           ega d ng  CR Conf
                                                                                                                                                                                                                                                                                                                         cla m no
                                                                                                                                                                                                                                                                                                                               med170809486   Pax has
                                                                                                                                                                                                                                                                                                                                    that each Pax sa d
                                                                                                                                                                                                                                                                                     a RTF fo PNR LSPCSQ fo $60 29 that w ll exp e on 05-22-2019.
                                                                                                                                                                                                                                                                                     Pax booked PNR TZXA3N and d d not apply the RTF's as a FOP fo
                                                                                                                                                                                                                                                                                     PNR TZXA3N. Info med Pax that we can make the except on to
                                                                                                                                                                                                                                                                                     p ocess a efund back to the o g nal FOP fo each Pax fo $60 29
                                                                                                                                                                                                                                                                                     fo the RTF's fo PNR LSPCSQ. Refunded $60.29 back to the
                                                                                                                                                                                                                                                                                     o g nal FOP due to Pax book ng PNR TZXA3N and d d not apply
                                                                                                                                                                                                                                                                                     the RTF fo $60.29 f om PNR LSPCSQ as a FOP fo new PNR
                                                                                                                                                                                                                                                                                     TZXA3N. Thanks M ll cent

                                                                                                                                                                                                                                                                                     Cla m No 161102976

                                                                                                                                                                                                                                                                                     Cla m No 161103045
                          LSPCSQ, LULIPM, TZXA3N,
2300216859057    4/8/2019 VDQE H, LSPCSQ, LUL PM,   CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds      Fo ms of Payment               Comment/Quest on   Pax called n ega d ng RTF
                                                                                                                                                                                                                                                                                     Cla m No 161103031
                          TZXA3N, VDQEIH
                                                                                                                                                                                                                                                                                     Conf med that Pax         has a RTF fo PNR LULIPM fo $228 96
                                                                                                                                                                                                                                                                                     that w ll exp e on 05 22-2019. Pax booked PNR VDQEIH and d d
                                                                                                                                                                                                                                                                                     not apply the RTF fo $118.98 as a FOP fo PNR VDQEIH.
                                                                                                                                                                                                                                                                                     Refunded $118 98 back to the o g nal FOP due to Pax book ng
                                                                                                                                                                                                                                                                                     PNR VDQE H and d d not apply the RTF fo $118.98 f om PNR
                                                                                                                                                                                                                                                                                     LULIPM as a FOP fo new PNR VDQEIH ( elated t cket #
                                                                                                                                                                                                                                                                                     5262421875313). Conf med that Pax           has a RTF fo $109.98
                                                                                                                                                                                                                                                                                      ema n ng fo PNR LULIPM. Pax stated that PNR has to be
                                                                                                                                                                                                                                                                                     cance led due to the death of he Fathe . Info med Pax to ema l
                                                                                                                                                                                                                                                                                     a copy of the death ce t f cate to my attent on fo cons de at on
                                                                                                                                                                                                                                                                                     of p ocess ng a efund back to the o g nal FOP fo the RTF fo
                                                                                                                                                                                                                                                                                     $109$58.98
                                                                                                                                                                                                                                                                                     has   98 f hold
                                                                                                                                                                                                                                                                                                  Pax Kyle
                                                                                                                                                                                                                                                                                                      ng ass funds,
                                                                                                                                                                                                                                                                                                             nce th Hello,
                                                                                                                                                                                                                                                                                                                     PNR Iwas cancell
                                                                                                                                                                                                                                                                                                                           spoke w th dsomeone
                                                                                                                                                                                                                                                                                                                                         due to Pa
                                                                                                                                                                                                                                                                                                                                                 at
                                                                                                                                                                                                                                                                                      custome se v ce who efe ed me to custome elat ons. I was
                                                                                                                                                                                                                                                                                      t avel ng fo a fam ly t p f om Sac amento to New O leans on
                                                                                                                                                                                                                                                                                      Ma ch 16, etu n ng on Ma ch 21. Ou o g nal connect ng w th
                                                                                                                                                                                                                                                                                      Southwest out of PHX had been canceled on Ma ch 13, and I
                                                                                                                                                                                                                                                                                      wo ked qu ckly ea ly on Ma ch 14 to ebook ou fl ght f om SMF
                                                                                                                                                                                                                                                                                      to MSY due to the sold out fl ghts f om PHX. My t ckets fo the
                                                                                                                                                                                                                                                                                      outbound fl ghts we e efunded, but on Ma ch 16, the day we
                                                                                                                                                                                                                                                                                      we e due to t avel, my mothe ema led me te l ng me she could
                                                                                                                                                                                                                                                                                      not t avel w th us due to he knee nju y fla ng up. As such, we
                                                                                                                                                                                                                                                                                      had one t cket that would not be used, wh ch we knew n
                                                                                                                                                                                                                                                                                      advance of the t p (by only a few hou s). I spoke to custome
                                                                                                                                                                                                                                                                                      se v ce and custome elat ons, who told me I needed to get
                                                                                                                                                                                                                               CR adv had to have docs to efund and wants efund med cal documentat on n o de to obta n a efund fo my
2300282620161    4/9/2019 UAOK5B, UAOK5B, UAOK5B    Rese vat ons   Web Fo m   Refunds                         Refund Request                Refund P ocedu es                Req. Documentat on fo Refund   Comment/Quest on
                                                                                                                                                                                                                               w thout docs                                           mom's t cket. I asked he to go to the docto and get
                                                                                                                                                                                                                                                                                      documentat on, but when she went, the docto s would not g ve
                                                                                                                                                                                                                                                                                      he documentat on due to the fact that he nju y s elated to a
                                                                                                                                                                                                                                                                                      wo ke 's compensat on case. My quest on s th s would you be
                                                                                                                                                                                                                                                                                      able to efund th s t cket w thout med cal documentat on? My
                                                                                                                                                                                                                                                                                      mothe could not t avel, but she also could not obta n the
                                                                                                                                                                                                                                                                                      med cal note equested by the a l ne. I don't know what else to
                                                                                                                                                                                                                                                                                      do. I pa d fo all the t ckets, and ght now the e s a c ed t of
                                                                                                                                                                                                                                                                                      $58.98 n my mom's name fo futu e t avel. I would eally
                                                                                                                                                                                                                                                                                      app ec ate a efund, s nce up unt l the mo n ng we left I had
                                                                                                                                                                                                                                                                                      thought my mothe would be t avel ng w th us and she had
                                                                                                                                                                                                                                                                                      g ven me no nd cat on that the e would be any ssues, med cal
                                                                                                                                                                                                                                                                                      o othe w se. I app ec ate you t me and cons de at on. Thank
                                                                                                                                                                                                                                                                                      you                      no el pa ty/contacts
                                                                                                                                                                                                                               El sabeth ca led to have he etu n fl ght changed to an
2300347951337   4/11/2019 SWPQES                    CR/RR          Phone      Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Change Book ng                 Comment/Quest on                                                          I took ca e of th s fo he .
                                                                                                                                                                                                                               ea l e fl ght.
                                                                                                                                                                                                                                                                                      no el s 's

                                                                                                                                                                                                                                                                                     pax fl ght 518 was taken out of sched on 03/27
                                                                                                                                                                                                                                                                                     pax was ebooked on fl ght 2137 phx to bw
                                                                                                                                                                                                                                                                                     pax was o g na ly supposed to get nto bw at 10 15 pm
                                                                                                                                                                                                                                                                                     afte eacomm pax got n at 12 25 am

                                                                                                                                                                                                                                                                                     pax checked n the n ght p o but doesn't appea to have
                                                                                                                                                                                                                                                                                     known about the change s nce n he baggage act v ty t shows
                                                                                                                                                                                                                                                                                     she checked he bag at 1 22 pm and he o g nal fl ght left at
                                                                                                                                                                                                                                                                                     2 50 pm (new fl ght left at 5 15)

                                                                                                                                                                                                                                                                                      note n ez
                                                                                                                                                                                                                               pax upset w th new fl ght t me afte o g nal fl ght was
2300452206495   4/13/2019 SIA9F6, SIA9F6            CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New A val T me                 Compla nt
                                                                                                                                                                                                                               taken out of schedule due to max g ound ngs.           ϬϰͬϬϴͬϮϬϭϵ ϯ Ϯϰ WDϭϮϭϬϴϴ W,ytEϬϭ' ^hZt hdK
                                                                                                                                                                                                                                                                                      Kd WZ&KZDWy , Z^Zsd KE &KZ  ϮϰϱWD &>/',d
                                                                                                                                                                                                                                                                                      TO BWI SHOWING ON HER EMAIL HER FLIGHT DID NOT EXSIST
                                                                                                                                                                                                                                                                                      dKz Wy hW^d E t/>> KEdd
                                                                                                                                                                                                                                                                                      CUST REL ISSUED PSO FOR DINNER DUE TO THE DELAY IN HER
                                                                                                                                                                                                                                                                                      FLIGHT TIME JENN CSS PHX

                                                                                                                                                                                                                                                                                     ϬϰͬϬϴͬϮϬϭϵ ϯ ϮϮ WDϬϬϱϳ
                                                                                                                                                                                                                                                                                     W,ytEϬϭ'W,y t/ͬϮϭϯϳͬϮϬϭϵͲϬϰͲ
                                                                                                                                                                                                                                                                                     08/0384/Cate ng D nne /14
                                                                                                                                                                                                                                                                                     USD/SANETRA IWONA/ACTIVE/0057AAPHXWN01GC/Issue
                                                                                                                                                                                                                                                                                     Reason Code

                                                                                                                                                                                                                                                                                     pax s f om Poland and th s s the only t me she's flown us   I




                                                                                                                                                                                                                                                                                                                                      Appx. 141
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                                                                                                                                                                                                                                                                                   Pax called ega d ng WGA NSHW. Pax was ma ked as a NSHW
                                                                                                                                                                                                                                                                                   unde PNR L48KIR, but also had ese vat on unde PNR QU5HCH
                                                                                                                                                                                                                                                                                   leav ng 3/23 and etu n leav ng unde PNR O4IZD5 wh ch pax
                                                                                                                                                                                                                                                                                   had to pay out of pocket fo as she was ma ked as a NSHW. Pax
                                                                                                                                                                                                                                                                                   states that she wasn't not f ed of NSHW but also adm tted t was
                                                                                                                                                                                                                                                                                   booked th ough a 3 d pa ty. I apolo to pax fo f ust at on,
                                                                                                                                                                                                                                                                                   adv sed that she would need to contact the 3 d pa ty t avel
                                                                                                                                                                                                                                                                                   agency that booked the ese vat on to seek e mbu sement as
                                                                                                                                                                                                                                                                                   we only see a ese vat on was booked by a t avel agency. Afte
                                                                                                                                                                                                                                                                                   back and fo th, pax stated that she had to go to class and would
                                                                                                                                                                                                                                                                                   be call ng back, thanked me and d sconnected., Pax called
                                                                                                                                                                                                                                                                                    ega d ng WGA NSHW. Pax was ma ked as a NSHW unde PNR
                                                                                                                                                                                                                                                                                   L48KIR, but also had ese vat on unde PNR QU5HCH leav ng
                                                                                                                                                                                                                                                                                   3/23 and etu n leav ng unde PNR O4IZD5 wh ch pax had to pay
2300518838320   4/15/2019 L48KIR, O4IZD5, QU5HCH    CR/RR              Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence           Compla nt          Pax ca led ega d ng WGA NSHW
                                                                                                                                                                                                                                                                                   out of pocket fo as she was ma ked as a NSHW. Pax states that
                                                                                                                                                                                                                                                                                   she wasn't not f ed of NSHW but also adm tted t was booked
                                                                                                                                                                                                                                                                                   th ough a 3 d pa ty. I apolo to pax fo f ust at on, adv sed that
                                                                                                                                                                                                                                                                                   she would need to contact the 3 d pa ty t avel agency that
                                                                                                                                                                                                                                                                                   booked the ese vat on to seek e mbu sement as we only see a
                                                                                                                                                                                                                                                                                    ese vat on was booked by a t avel agency. Afte back and fo th,
                                                                                                                                                                                                                                                                                   pax stated that she had to go to class and would be call ng back,
                                                                                                                                                                                                                                                                                   thanked me and d sconnected., Pax called ega d ng WGA
                                                                                                                                                                                                                                                                                   NSHW. Pax was ma ked as a NSHW unde PNR L48KIR, but also
                                                                                                                                                                                                                                                                                   had ese vat on unde PNR QU5HCH leav ng 3/23 and etu n
                                                                                                                                                                                                                                                                                   leav ng unde PNR O4IZD5 wh ch pax had to pay out of pocket
                                                                                                                                                                                                                                                                                   fo as she was ma ked as a NSHW. Pax states that she wasn t
                                                                                                                                                                                                                                                                                   not f ed of NSHW but also adm tted t was booked th ough a 3 d
                                                                                                                                                                                                                                                                                   pa ty I apolo to pax fo f ust at on adv sed that she would need
                                                                                                                                                                                                                                                                                   C us QG5BNL // t avel 01May 2019 // Book ng Date
                                                                                                                                                                                                                                                                                   2/17/2019

                                                                                                                                                                                                                                                                                   Loyalty 20884555731 // Decla ed Compan on 2/18/2019

                                                                                                                                                                                                                                                                                   Rout ng to CR
                                                                                                                                                                                                                                                                                   -- fo cons de at on, Double d aled unable to each pax. Was
                                                                                                                                                                                                                                                                                   go ng to adv that as GOG we would efund egula es afte cp
                                                                                                                                                                                                                                                                                   tkts a e booked., Hello,
                                                                                                                                                                                                                                                                                   I have a quest on ega d ng 4 upcom ng fl ghts n May 2019 that
                                                                                                                                                                                                                                                                                   we e booked th ough a th d pa ty (k w com). Unfo tunately, I
                            QG5BNL, QG5BNL, QG5BNL,                                                                                                                                                                            Would l ke to ebook w th Compan on Pass and
2300545538269   4/15/2019                           CR/RR              Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable              Comment/Quest on                                                       had booked the fl ghts just p o to ece v ng the Compan on
                            QG5BNL                                                                                                                                                                                             ece ve efund.
                                                                                                                                                                                                                                                                                   pass ewa d ca d n the ma l. I assume the e s noth ng I can do,
                                                                                                                                                                                                                                                                                   see ng as to how t was not booked d ectly w th Southwest. But
                                                                                                                                                                                                                                                                                   I wanted to double-check f the e was any way of ebook ng
                                                                                                                                                                                                                                                                                   th ough SW w th the compan on pass fo a pa t al efund on any
                                                                                                                                                                                                                                                                                   of the 4 fl ghts? I would eg et not at least nqu ng, Thank you
                                                                                                                                                                                                                                                                                   fo you t me!, Related Pa t es/d ffe ent conce ns Adm n-Data
                                                                                                                                                                                                                                                                                   sea ch f nds accounts 20884555731 (membe ), 379078195
                                                                                                                                                                                                                                                                                   (membe ), and 20910127394 (dummy), v a name/state. Me ged
                                                                                                                                                                                                                                                                                   Membe / dummy contact.
                                                                                                                                                                                                                                                                                   -- c eated SR 2300612619341 fo Membe / Membe me ge
                                                                                                                                                                                                                                                                                    equest.

                                                                                                                                                                                                                                                                                   Pax adv sed fl ght 4423 was delayed, and she wants to kow what
                                                                                                                                                                                                                                                                                   can be down due to th s nconven ence. Pax expla ned the delay
                                                                                                                                                                                                                                                                                   caused he to m ss wo k. I apolog zed to Pax fo the 3 hou delay
                                                                                                                                                                                                                                                                                   due to p lot schedul ng act v t es. I adv sed Pax he feedback has
2300607744692   4/16/2019 Q2GXUY                    CR/RR              Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Ove a l Pe fo mance              Rel ab l ty                Compla nt          G ound Ops fl ght delay. Pax p ov d ng feedback
                                                                                                                                                                                                                                                                                   been documented. I also ssued $150 SLV as GOG due to the
                                                                                                                                                                                                                                                                                    nconven ence. Pax was app ec at ve. - Thanks Dyond a

                                                                                                                                                                                                                                                                                   Cla m No 170938585

                                                                                                                                                                                                                                                                                   I app ec ate that you donat want to fly the Supe man but only
                                                                                                                                                                                                                                                                                   when I got n my fl ght d d I eal ze that not only d d I have to
                                                                                                                                                                                                                                                                                   leave wo k 4 hou s befo e I planned to, th s snat even a d ect
                                                                                                                                                                                                                               upset about fl ght be ng canceled, eaccom was       fl ght!?! I would ha e g abbed the d ect 30 m nutes ea l e . Th s
2300643586423   4/17/2019 SUDY97, SUDY97            CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   Nonstop Flt to D ect F t   Compla nt
                                                                                                                                                                                                                               nconven enc ng                                       s show ng me southwest doesnat value my t me at all. Iam
                                                                                                                                                                                                                                                                                   fly ng Un ted f om now on., n p/s

                                                                                                                                                                                                                                                                                   flt 1432 taken out of skd

                                                                                                                                                                                                                                                                                   Ou o g nal flt. was Bos MCO, nonstop. When we showed up to
                                                                                                                                                                                                                                                                                   the a po t app ox mately two hou s p o to the fl ght, we we e
                                                                                                                                                                                                                                                                                   told that we m ssed ou fl ght. Upon fu the ev ew, t was
                                                                                                                                                                                                                                                                                   dete m ned that the fl ght was changed due to the MAX planes.
                                                                                                                                                                                                                                                                                   We we e not nfo med. The counte pe son was ve y n ce and
                                                                                                                                                                                                                                                                                   accommodat ng, and got us on a l ght to Balt mo e, a hotel n
                                                                                                                                                                                                                                                                                   Balt mo e, and then Ba t-Ind anapol s-MCO. Instead of a 3 hou
                                                                                                                                                                                                                                                                                   fl ght to MCO, t was a 24 hou jou ney to MCO f om BOS, v a
                                                                                                                                                                                                                                                                                   Balt mo e and Ind anapol s. Needless to say, we lost a day at
                                                                                                                                                                                                                                                                                   D sney, lost a n ght of hotel n O lando that I p epa d, and d d
                                                                                                                                                                                                                                                                                   not get meal vouche s fo b eakfast and lunch. I am hopeful
                                                                                                                                                                                                                                                                                   that Southwest w l e mbu se us fo the expenses ncu ed due
                                                                                                                                                                                                                               Pax d spleased w th max 8 schedule eacom, lack of   to the e-a angement of the fl ghts, due to the MAX planes
2300745626899   4/19/2019 UVBCAV, UVBCAV            CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me         Compla nt
                                                                                                                                                                                                                               aom p ov ded.                                       taken out of se v ce. How can I p oceed? I have ece pts fo all.
                                                                                                                                                                                                                                                                                   Thank you, Pax o g outbound fl ght 1733 changed on 3/27 to
                                                                                                                                                                                                                                                                                   fl ght 4133 bos - mco on 4/11, the day p o . Pax a ved to the
                                                                                                                                                                                                                                                                                   a po t on 4/12 unawa e that the es had been changed. Due to
                                                                                                                                                                                                                                                                                   th s, they m ssed eacom fl ght 4133 and had a much longe
                                                                                                                                                                                                                                                                                   t avel day. Th s also esu ted n them m ss ng a day n D sney.

                                                                                                                                                                                                                                                                                   Issu ng each pax a $50 slv as gog due to lack of aom ece ved
                                                                                                                                                                                                                                                                                   cla ms
                                                                                                                                                                                                                                                                                   171242099
                                                                                                                                                                                                                                                                                   171242108
                                                                                                                                                                                                                                                                                   171242200
                                                                                                                                                                                                                                                                                   171242234
                                                                                                                                                                                                                                                                                   Good even ng,

                                                                                                                                                                                                                                                                                       My husband and I we e on ou way back f om Boston to
                                                                                                                                                                                                                                                                                   Houston on fl ght 3891. I have been fly ng s nce I was 9 yea s
                                                                                                                                                                                                                                                                                   old. Not eve y yea , but enough to know what happens on a
                                                                                                                                                                                                                                                                                   fl ght.

                                                                                                                                                                                                                                                                                     I canat speak h ghly enough about the fl ght staff on th s
                                                                                                                                                                                                                                                                                   pa t cula fl ght. Not only we e they cou teous and helpful, but
                                                                                                                                                                                                                                                                                   they made the fl ght fun!

                                                                                                                                                                                                                                                                                    In my twenty yea s of fly ng expe ence, I have neve flown
                                                                                                                                                                                                                                                                                   w th such a g eat staff. I w te to you n hopes that they w ll be
                                                                                                                                                                                                                               Compl ment fo Fl ght C ew they we e cou teous,      ecogn zed fo go ng above and beyond the call of duty.
2300864543240   4/21/2019 T45OBP, T45OBP            Execut ve Off ce   Web Fo m   Custome Se v ce                 Pe sonnel                     Hosp tal ty                      P ofess onal sm            Compl ment
                                                                                                                                                                                                                               helpful and fun
                                                                                                                                                                                                                                                                                    I asked fo the names of all the staff the e was Ka en and
                                                                                                                                                                                                                                                                                   She man who wo ked the back on the plane. Jonathan and
                                                                                                                                                                                                                                                                                   Ivonne who wo ked the f ont, whe e we we e.

                                                                                                                                                                                                                                                                                    Jonathan and Ivonne we e cool and collected, even w th a
                                                                                                                                                                                                                                                                                   beg udg ngly ude flye who was s tt ng nea us.

                                                                                                                                                                                                                                                                                    W thout you amaz ng staff the th ee and a ha f hou fl ght
                                                                                                                                                                                                                                                                                   would have been a cho e. I also have to po nt out that Ivonne
                                                                                                                                                                                                                                                                                   went out of he to make su e I knew how to watch mov es and
                                                                                                                                                                                                                                                                                   TV th ough my southwest app.

                                                                                                                                                                                                                                                                                    Thank you so                 t me today and I hope you know
                                                                                                                                                                                                                                                                                   Calle s Name

                                                                                                                                                                                                                                                                                   Contact Telephone Numbe

                                                                                                                                                                                                                                                                                   ŽŶƚĂĐƚ ŵĂ ů ĚĚ ĞƐƐ

                                                                                                                                                                                                                                                                                   Exp ed PNR uk za5
2300924600703   4/23/2019 UKRZA5, UKRZA5            CR/RR              Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Re ssue Request            Comment/Quest on   Zelda cld to ext t vl funds
                                                                                                                                                                                                                                                                                   Passenge Name (s)

                                                                                                                                                                                                                                                                                   O g nal Exp at on Date of Funds 4/18/19

                                                                                                                                                                                                                                                                                   Exp ed RTF Balance $143.98


                                                                                                                                                                                                                                                                                   Cla m No 161843426
                                                                                                                                                                                                                                                                                   Found dup contact and me ged nto RR. No elated pa t es o
                                                                                                                                                                                                                                                                                   s s. Pax fl ght was cx due to wx and we d d not get to f nal
                                                                                                                                                                                                                                                                                   dest nat on. Funds came f om RTF.

                                                                                                                                                                                                                                                                                   Funds came f om pn SXC8KF.

                                                                                                                                                                                                                               Pax fl ght was cx due to wx. pax flew w th anothe
2301135628172   4/27/2019 TFZCU6, TFZCU6            CR/RR              Web Fo m   Fl ght Delay/Cancel/D ve s on   Cance lat on                  Weathe                           Unable to Reaccom          Compla nt
                                                                                                                                                                                                                               a l ne and s ask ng fo efund of funds.
                                                                                                                                                                                                                                                                                   171310002, H , Both of my fl ghts we e canceled on Satu day
                                                                                                                                                                                                                                                                                   and the e was no ava lable fl ght unt l Monday. I had to ebook
                                                                                                                                                                                                                                                                                   a ed eye on Jet Blue fo $1k th ough FLL. Afte wa t ng n l ne
                                                                                                                                                                                                                                                                                   fo an hou the t cket agent sa d they would efund my t cket
                                                                                                                                                                                                                                                                                   $180 (takes about 7-10 days) howeve I just got a ebook ng
                                                                                                                                                                                                                                                                                   not ce fo 4/29. Please just efund the t cket.




                                                                                                                                                                                                                                                                                                                                    Appx. 142
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                                                                                                                                                                                                                                                                                     He lo,

                                                                                                                                                                                                                                                                                  Due a delayed fl ght f om Las Vegas to Los Angeles we have
                                                                                                                                                                                                                                                                                  m ssed ou co espond ng fl ght f om Los Angeles to Pa s.
                                                                                                                                                                                                                                                                                  The efo e, we had to get ebooked on the next fl ght to Pa s
                                                                                                                                                                                                                                                                                  the day afte and thus pay anothe fl ght t cket fo an amount of
                                                                                                                                                                                                                                                                                  824.96a pe pe son. As the eason fo wh ch we m ssed ou
                                                                                                                                                                                                                                                                                  co espond ng fl ght s the delayed fl ght of the Southwest
                                                                                                                                                                                                                                                                                  A l nes we would l ke to know f you company could get us a
                                                                                                                                                                                                                              pax f t delayed and m ssed connect ng w/ othe       fu l o pa t al efund fo the t ckets we had to buy to get back
2301326181047    5/2/2019 KYHZFN, KYHZFN           CR/RR              Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         A T aff c Cont ol                Depa tu e C ty             Compla nt          a l nes. Seek ng efund fo added cha ges to get othe home.
                                                                                                                                                                                                                               lt ebooked
                                                                                                                                                                                                                                                                                  Thank you n advance fo you answe .

                                                                                                                                                                                                                                                                                     Best ega ds

                                                                                                                                                                                                                                                                                                      Not a membe / ne the s elated pa ty
                                                                                                                                                                                                                                                                                     Othe SRs ega d ng flt 1435 be ng delayed
                                                                                                                                                                                                                                                                                     Delayed almost 3h s due to ATC / HD06
                                                                                                                                                                                                                                                                                     Base fa e $57.38
                                                                                                                                                                                                                                                                                     L ves n F ance
                                                                                                                                                                                                                                                                                     Dea Southwest,

                                                                                                                                                                                                                                                                                    My name                   & I was supposed to be on that plane to
                                                                                                                                                                                                                                                                                    come home. I went th ough secu ty & eve yth ng, wasn't loud
                                                                                                                                                                                                                                                                                    no be ng obnox ous. I was told that I can not boa d the fl ght
                                                                                                                                                                                                                                                                                    f om one of you manage s fo be ng too ntox cated. I begged &
                                                                                                                                                                                                                                                                                    pleaded w th he as well as my b othe who s an off ce of the
                                                                                                                                                                                                                                                                                    law(who even sa d I wasn t be ng loud & obnox ous). She d dn't
                                                                                                                                                                                                                                                                                    want to hea t & the e we en't any fl ghts back home fo two
                                                                                                                                                                                                                                                                                    days(that's why I was told I couldn't boa d because a l of you
                                                                                                                                                                                                                                                                                    fl ght we e booked!) so I couldn't even use you fl ght c ed t .
                                                                                                                                                                                                                                                                                    I've been on hold fo hou s now, was told co po ate s closed on
                                                                                                                                                                                                                              5/14/19 Repo t due                                    Sundays, was told to be pat ent that somebody w ll send me an
                                                                                                                                                                                                                              PAX and Cous n we e den ed boa d ng due to ntox.      ema l, t's been 4 days now & nobody has contacted(even gave
2301347699613    5/2/2019 TY6LFC, TY6LFC, TY6LFC   CR/RR              Web Fo m   A po t Expe ence                Boa d ng/Den ed Boa d ng      Refusal to T anspo t             Intox cated                Compla nt
                                                                                                                                                                                                                              States they we e not be ng d s upt ve and s seek ng a them my ema l add ess). I have a fam ly & l fe I can't s t a ound
                                                                                                                                                                                                                               efund                                                wa t ng on hold. I bel eve we can settle th s unfo tunate
                                                                                                                                                                                                                                                                                    s tuat on w thout be ng any mess e than t al eady s. A full
                                                                                                                                                                                                                                                                                     efund fo fl ght numbe 4644 fo my cous n                       &I
                                                                                                                                                                                                                                                                                    would be acceptable. A fl ght c ed t w ll not solve t s s tuat on
                                                                                                                                                                                                                                                                                    because I had to use othe means to get home(wh ch was
                                                                                                                                                                                                                                                                                    ho ble!!!!) & afte be ng told I can not boa d I may neve fly
                                                                                                                                                                                                                                                                                    w th you guys aga n. I don't want to go th ough lawye s/soc al
                                                                                                                                                                                                                                                                                    med a, please a l I'm ask ng fo s my money back.

                                                                                                                                                                                                                                                                                     Thank you fo you t me
                                                                                                                                                                                                                                                                                     S nce ely
                                                                                                                                                                                                                                                                                                 no epo ts attached //no SOPI found



                                                                                                                                                                                                                                                                                     Dea S /Madam,
                                                                                                                                                                                                                                                                                     My 15 yea old daughte                               s t avell ng on
                                                                                                                                                                                                                                                                                     fl ght 2238 on 28 May. I pu chased th s fl ght th ough
                                                                                                                                                                                                                                                                                     lastm nute.com.
                                                                                                                                                                                                                                                                                     Could you pls conf m the follow ng
                                                                                                                                                                                                                                                                                     - I al eady p ov ded lastm nute.com w th passenge deta ls.
                                                                                                                                                                                                                                                                                     Does Southwest A l nes also equ e me to p ov de them w th
                                                                                                                                                                                                                                                                                     these deta ls. f so, could you pls send me the l nk.
                                                                                                                                                                                                                                                                                     - I have ead you pol cy about YTs and am not su e whethe you
2301452112671    5/4/2019 NJCYXZ, NJCYXZ, NJCYXZ   Rese vat ons       Web Fo m   Pol c es/P ocedu es             Young T avele                 Pa ent Issue                     T&C knowledge              Comment/Quest on   Young t avele nqu y.                                    equ e w tten autho sat on f om me                          n
                                                                                                                                                                                                                                                                                     o de fo he to fly unaccompan ed. If so, what fo mat do you
                                                                                                                                                                                                                                                                                      equ e the autho sat on n? Do I send t v a ema l to you o
                                                                                                                                                                                                                                                                                     should I send t to my daughte so she can p esent t to
                                                                                                                                                                                                                                                                                     Southwest A l nes when she checks n at Houston?

                                                                                                                                                                                                                                                                                     Many thanks fo you ass stance. Best ega ds,

                                                                                                                                                                                                                                                                                                  , No el pty/contacts, Rev ewed the PNR n ARD.
                                                                                                                                                                                                                                                                                     Ve f ed t e PNR s act ve. Sent a copy of the t ne a y.

                                                                                                                                                                                                                                                                                     He lo,

                                                                                                                                                                                                                                                                                     Just want pass along some d sappo ntment we had ecently on
                                                                                                                                                                                                                                                                                     both fl ght to and f om O lando f om Boston. We booked d ect
                                                                                                                                                                                                                                                                                     fl ghts f om Boston to O lando and etu n on 12 Ap l w th
                                                                                                                                                                                                                                                                                      etu n on 21 Ap l. We own a home n Flo da and plan on
                                                                                                                                                                                                                                                                                     mak ng many fl ghts a yea (mostly between PVD and MCO). We
                                                                                                                                                                                                                                                                                     not only lea ned that the fl ght was changed f om a d ect fl ght
                                                                                                                                                                                                                                                                                     to one w th a stop n BWI on both legs but they also sepa ated
                                                                                                                                                                                                                                                                                     my w fe f om the est of us and put he on fl ght the day befo e.
                                                                                                                                                                                                                                                                                     I w l adm t that we had sepa ate eco d locato s, howeve , I
                                                                                                                                                                                                                                                                                     called afte we got the fl ghts to check on them and nfo m we
                                                                                                                                                                                                                                                                                     we e a l go ng togethe . Tu ned out that I spent 3 hou s t y ng
                                                                                                                                                                                                                                                                                     to get us all on the same fl ght down and back and must say the
2301536589303    5/6/2019 V68DMI, V68DMI           CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   Nonstop F t to D ect Flt   Compla nt          pax upset w th eschedul ng
                                                                                                                                                                                                                                                                                     Southwest Agent was fantast c n help ng to accompl sh th s.
                                                                                                                                                                                                                                                                                     We st ll had to have layove s on the way the e and back.

                                                                                                                                                                                                                                                                                     Many of my fam ly membe s fly Southwest to and f om Flo da.
                                                                                                                                                                                                                                                                                     My s ste just came to RI on Southwest and I even booked a
                                                                                                                                                                                                                                                                                     fl ght fo my son to come home fo h s b othe s g aduat on on a
                                                                                                                                                                                                                                                                                     Southwest fl ght. W th othe opt ons F ont e and Jet Blue fo
                                                                                                                                                                                                                                                                                      nstance), we a e hop ng to keep S/W as an a l ne of cho ce.
                                                                                                                                                                                                                                                                                     Unfo tunately my son b ought a f end on ou t p so we a l had
                                                                                                                                                                                                                                                                                     to endu e the layove each way and t cost us some t me on
                                                                                                                                                                                                                                                                                     e the end of the vacat on.

                                                                                                                                                                                                                                                                                     I eal ze that S/W had some ssues w th the Max 800, howeve I
                                                                                                                                                                                                                                                                                     know the e we e st l many d ect fl ghts to FL when we went
                                                                                                                                                                                                                                                                                     Dea Southwest Team,

                                                                                                                                                                                                                                                                                     Pe ou nfo mat on, fo the ese vat on numbe Q25A7V we got
                                                                                                                                                                                                                                                                                     t avel funds of 165.98 USD on the 1st of Feb ua y. As we can see
                                                                                                                                                                                                                                                                                     now, the balance on th s book ng s 0. Could you please check
                                                                                                                                                                                                                                                                                     what happened to the funds? Could you please conf m f they
2301660406865    5/9/2019 Q25A7V, Q25A7V           CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Ve fy Funds                Comment/Quest on   ve fy funds                                            we e used by the passenge o deleted fo any othe eason?

                                                                                                                                                                                                                                                                                     Thank you fo you help.

                                                                                                                                                                                                                                                                                     K nd ega ds,
                                                                                                                                                                                                                                                                                     K w .com, no el s s/pty. pax was efunded the Anyt me fa e tkt
                                                                                                                                                                                                                                                                                     $(165.98) on 31/Jan/2019

                                                                                                                                                                                                                                                                                     The fl ght had a schedule change fo ea l e and was not poss ble
                                                                                                                                                                                                                              Schedule Re-Accommodat on // D d not Wo k fo Pax
2301876841540   5/14/2019 L2N72Q                   CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me         Compla nt                                                                 to be used. Please p oceed w th the full moneta y efund back
                                                                                                                                                                                                                              // Req. Ref.
                                                                                                                                                                                                                                                                                     to the o g nal mode of payment. Thank you n advance.

                                                                                                                                                                                                                                                                                     no el ptys o contacts, fu f llment(s)
2301922170854   5/15/2019 M2AGLK, M2AGLK           Execut ve Off ce   Web Fo m   Custome Se v ce                 Pe sonnel                     Hosp tal ty                      P ofess onal sm            Compl ment         Compl ment fo Paula.                                   , Paula was ext emely pleasant, helpful and eff c ent fo ou RT
                                                                                                                                                                                                                                                                                     to celeb ate ou ann ve sa y. Ve y clea vo ce. A model fo all.

                                                                                                                                                                                                                                                                                     dob on         s co ect pe pax ema             but dob ente ed
                                                                                                                                                                                                                                                                                     fo es wa            . Add ng pts manua ly

                                                                                                                                                                                                                                                                                     Manual adj 2099 pts and 2 o/d due to dob e o . TKYJCA., He lo
                                                                                                                                                                                                                                                                                     I am attempt ng to get ewa ded t avel po nts fo my son's
2301935698533   5/15/2019 TKYJCA, TKYJCA, TKYJCA   CR/RR              Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status          Past Fl ght Po nts         Compla nt          PFP equest                                             account whe e he flew w th me on a fl ght conf mat on TKYJCA.
                                                                                                                                                                                                                                                                                     H s ap d ewa ds account s 20709028163. When I attempt to
                                                                                                                                                                                                                                                                                     add the past fl ght, t sa d the e s a p oblem w th h s date of
                                                                                                                                                                                                                                                                                     b th and w l not ewa d. H s date of b th                  .
                                                                                                                                                                                                                                                                                     Please add those t avel awa d po nts to h s account. ank you,
                                                                                                                                                                                                                                                                                      el pty 20709028163
                                                                                                                                                                                                                                                                                     Dea S /Madam,
                                                                                                                                                                                                                                                                                     Please, p oceed, f t s poss ble , w th the fu l efund fo
                                                                                                                                                                                                                                                                                      ese vat on W8TD7B due to the fact that fl ght was delayed fo 1
                                                                                                                                                                                                                                                                                     hou . Passenge s d d not use t. Please, subm t e mbu sement
2301971818977   5/16/2019 W8TD7B, W8TD7B           CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence           Compla nt          Custome no-showed du ng        egula ops               n acco dance to the o g nal mode of payment. Please, nfo m
                                                                                                                                                                                                                                                                                     us about efund.

                                                                                                                                                                                                                                                                                     Thank you and ega ds,, no a po t act v ty shown n CIRRUS
                                                                                                                                                                                                                                                                                     custome no-showed
                                                                                                                                                                                                                                                                                     Ou fl ght was changed/ schedule ev s on, f om Slc to Lax we
                                                                                                                                                                                                                                                                                     had o g nally pa d ext a to be on the fl ght we booked to
                                                                                                                                                                                                                                                                                     sho ten the total t avel t me and w th only a 6 hou layove n
                                                                                                                                                                                                                              PAX equest ng fa e d ffe ence amount due to            Lax not 12 hou s, wh ch t now ended up that way anyways. am
2302035131352   5/17/2019 M7JP3V                   CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me         Compla nt
                                                                                                                                                                                                                              schedule eacomm.                                       just ask ng fo anyth ng you can do to help out s nce we w ll be
                                                                                                                                                                                                                                                                                     los ng the ext a money we pa d to get the bette fl ghts.

                                                                                                                                                                                                                                                                                     Thanks n advance.
                                                                                                                                                                                                                                                                                     no el cont//no el pty
                                                                                                                                                                                                                                                                                     cont account
2302170501489   5/21/2019 MMBE7G, MMBE7G           CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence           Compla nt          WGA No Show                                            WGA NOSHOW
                                                                                                                                                                                                                                                                                     , please p oceed w th the efund fo the fl ght as fl ghts we e
                                                                                                                                                                                                                                                                                     schedule change by the a l ne
                                                                                                                                                                                                                                                                                     A d- C us- Ve f ed fl ght deta l, KTN's al eady added
                                                                                                                                                                                                                                                                                     05/23/2019 2 33 PM by phone., I ecently en olled n TSA P e-
                                                                                                                                                                                                                                                                                     Check / Global Ent y fo a l 4 nd v duals on the t p. How can I
2302240521084   5/22/2019 KMSQJV, KMSQJV, KMSQJV   Rese vat ons       Web Fo m   A po t Expe ence                Secu ty TSA                   Checkpo nt                       ID Inqu y                  Comment/Quest on   Asks how to add a KTN to the   ese vat on.
                                                                                                                                                                                                                                                                                     add the KTN to the ese vat on?

                                                                                                                                                                                                                                                                                     Thank you!, N c/N p.




                                                                                                                                                                                                                                                                                                                                       Appx. 143
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                                                                                                                                                                                                                                                                                 k ndly p oceed w th the fu l efund fo ese vat on WZLE2C
                                                                                                                                                                                                                                                                                  due to the fact that fl ght was cancelled by a l ne. Please,
                                                                                                                                                                                                                                                                                 subm t e mbu sement n acco dance to the o g nal mode of
                                                                                                                                                                                                                                                                                 payment , NRP/NRC
                                                                                                                                                                                                                         Pax seek ng efund ega d ng wn899 cx due to mx.
2302343191569   5/25/2019 WZLE2C, WZLE2C            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                    Unable to Reaccom           Compla nt
                                                                                                                                                                                                                         Unable to eaccom.                                       wn899 cx due to mx. Unable to eaccom.

                                                                                                                                                                                                                                                                                 Open tkt# 5262427242886 - $61.98 to cc9173

                                                                                                                                                                                                                                                                                 See cla m# 172231218

                                                                                                                                                                                                                                                                                 Dea S /Madam, k ndly p oceed w th the full efund fo
                                                                                                                                                                                                                                                                                  ese vat on OY7M6Q due to the fact that fl ght was
                                                                                                                                                                                                                                                                                 delayed/ escheduled by a l ne. Please, subm t e mbu sement
                                                                                                                                                                                                                                                                                  n acco dance to the o g nal mode of payment., no fo el pty
2302459551029   5/28/2019 OY7M6Q, OY7M6Q            CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence            Compla nt          Request ng efund of WGA NS whe e FLT was delayed
                                                                                                                                                                                                                                                                                  n pn . PAX NS'd n Janua y. Th s appea s to be a get se v ce k nd
                                                                                                                                                                                                                                                                                 of ema l. Adv s ng funds a e fo fe ted. The e was ops on the
                                                                                                                                                                                                                                                                                 fl ght, but ne the PAX has act v ty at the a po t p o to
                                                                                                                                                                                                                                                                                 depa tu e. Th s was a NS.
                                                                                                                                                                                                                                                                                 Chkd ARD-EB not added. Chkd com-EB can be added, I am
2302471101435   5/28/2019 JIZ2NF, JIZ2NF, J Z2NF    Rese vat ons   Web Fo m   southwest.com                   P oduct/Funct onal ty         Ea lyB d                      P oduct Info mat on         Comment/Quest on   Unable to pu chase Ea lyB d                             t y ng to pu chase ea ly b d fo myself fo the fl ght. It s not
                                                                                                                                                                                                                                                                                 lett ng me do t., No RelPty o Cnt
                                                                                                                                                                                                                                                                                 My 15 yea old Span sh daughte                              has
                                                                                                                                                                                                                                                                                 been study ng n San Anton o Texas fo the last 9 months. We
                                                                                                                                                                                                                                                                                 booked fl ghts w th Southwest A l nes (Houston-Boston) and
                                                                                                                                                                                                                                                                                 No weg an (Boston-Mad d) fo he to etu n home to Spa n on
                                                                                                                                                                                                                                                                                 28/05/2019.
                                                                                                                                                                                                                                                                                 Due to the Southwest A l ne fl ght cance lat on yeste day 28/05
                                                                                                                                                                                                                                                                                 (fl ght depa tu e 14 15) and the fact that ne the Southwest
                                                                                                                                                                                                                                                                                 A l ne no k w .com, who we booked th ough and pa d fo the
                                                                                                                                                                                                                                                                                 k w gua antee, we e able to offe my daughte a v able
                                                                                                                                                                                                                                                                                 a te nat ve fl ght f om Houston to Boston to connect w th
                                                                                                                                                                                                                                                                                 No weg an fl ght (Boston-Mad d), my daughte was left w th
                                                                                                                                                                                                                                                                                 two opt ons etu n to San Anton o w th he host fam ly o be
                                                                                                                                                                                                                         pax states daughte s f t was cx. SW and 3 d pa ty       left alone st anded at Houston a po t w th no gua antee of
                                                                                                                                                                                                                         t avel company couldn't ebook he n o de to make         a te nat ve fl ghts to be able to etu n home to Spa n. Afte a 4
2302535753193   5/29/2019 NJCYXZ, NJCYXZ, NJCYXZ    CR/RR          Web Fo m   Pol c es/P ocedu es             Young T avele                 Pa ent Issue                  I egula Ops                 Compla nt
                                                                                                                                                                                                                         he No weg an flt. States she had to go back to SAT      hou wa t at Houston a po t and no solut on offe ed he , she
                                                                                                                                                                                                                         and s seek ng comp.                                      etu ned to San Anton o.
                                                                                                                                                                                                                                                                                 Th s fl ght cance lat on has had se ous epe cuss ons and both
                                                                                                                                                                                                                                                                                 legal and f nanc al mpl cat ons. My daughte 's student v sa s
                                                                                                                                                                                                                                                                                 about to exp e so she has to etu n to Spa n as soon as poss ble.
                                                                                                                                                                                                                                                                                 Book ng new fl ghts at such sho t not ce means they a e go ng to
                                                                                                                                                                                                                                                                                 cost me a ound 2.000 dolla s.
                                                                                                                                                                                                                                                                                 S nce th s s tuat on has a sen f om Southwest A l ne's fl ght
                                                                                                                                                                                                                                                                                 cancellat on, I ask you to cons de th s equest fo compensat on
                                                                                                                                                                                                                                                                                 due to the damages ncu ed. If you a l ne we e to
                                                                                                                                                                                                                                                                                 compensate me, t would attenuate the g ave f nanc al
                                                                                                                                                                                                                                                                                 d ff cult es I am now expe enc ng n o de to be able to pay fo
                                                                                                                                                                                                                                                                                 new fl ghts to enable my daughte to t avel back home to Spa n.
                                                                                                                                                                                                                                                                                 Please ema l me you esponse
                                                                                                                                                                                                                                                                                 CSS T ansfe PAX flt cxl and see g                       yth ng
                                                                                                                                                                                                                                                                                 fo the nconven ence as he ebooked w th an alte nate ca e . I
                                                                                                                                                                                                                          equest GOG fo flt cxl as he booked w th anothe         apolog zed and adv pe ou COC we wouldn't be able to do
2302578560877   5/30/2019 UGMLPL                    CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                    Unable to Reaccom           Compla nt
                                                                                                                                                                                                                         ca e                                                    anyth ng as n SLVs, but that we would efund h s tkt s nce we
                                                                                                                                                                                                                                                                                 couldn't get h m to h s f nal dest nat on. Pax unde stood and we
                                                                                                                                                                                                                                                                                 d sconnected.
2302603227723   5/31/2019 PB8ZKB                    CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       A-L st/A-L st P efe ed      Comment/Quest on   One t me t e except on no show                          One t me t e except on no show Cla m No 172417509
                                                                                                                                                                                                                                                                                 FLT#1435 ON 5/28 FROM LAX-MCI CX DUE TO WX DELAYED DUE
                                                                                                                                                                                                                                                                                 TO WX IN MCI
                                                                                                                                                                                                                                                                                 no el pa ty s , Hello,

                                                                                                                                                                                                                                                                                 Fl ght was canceled fo myse f and               (unde same
2302631847885   5/31/2019 Q6LBRE, Q6LBRE            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Reaccom Same Day            Compla nt          f t was cx and exp flt delay, pax seek ng gog
                                                                                                                                                                                                                                                                                 conf mat on) and by the t me we could ebook, the delay was
                                                                                                                                                                                                                                                                                 ove 12 hou s. My fl ght o g nated n P ague, so sleep ng n the
                                                                                                                                                                                                                                                                                 a po t and hav ng a la ge delay was not amus ng. I unde stand
                                                                                                                                                                                                                                                                                 that typ cally the e a e standa d compensat on amounts fo
                                                                                                                                                                                                                                                                                 delays such as th s.
                                                                                                                                                                                                                                                                                 k ndly p oceed w th the fu l efund fo ese vat on S9O4YZ
                                                                                                                                                                                                                                                                                  due to the fact that fl ght was cancelled/ escheduled by a l ne.
2302696291347    6/2/2019 S9O4YZ, S9O4YZ            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ove a l Pe fo mance           Rel ab l ty                 Compla nt          Pax equest ng efund due to fl ght cancellat on          Please, subm t e mbu sement n acco dance to the o g nal
                                                                                                                                                                                                                                                                                 mode of payment., No el pty/s
                                                                                                                                                                                                                                                                                 wn2921 cx due to O, pax d d not t avel efunded n ARD.

                                                                                                                                                                                                                                                                                 Altea - KFCAIO - sent ece pt, H ,

                                                                                                                                                                                                                                                                                 I ust booked a fl ght t ough costume se v ce, asked fo a
                                                                                                                                                                                                                                                                                  ece pt but d d not ece ve any. Can you please send me the
2302735705695    6/3/2019 KFCAIO, KFCAIO, KFCAIO    Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Rece pt equest.
                                                                                                                                                                                                                                                                                  ec pes fo both me               ) and my husband
                                                                                                                                                                                                                                                                                        to my ma l fo above fl ght to

                                                                                                                                                                                                                                                                                 Best        el pty/contacts - none


                                                                                                                                                                                                                                                                                 Pax called n and stated he fl ght was cancelled and she would
                                                                                                                                                                                                                                                                                 l ke a SLV fo the cance lat on. I empath zed and apolog zed to
                                                                                                                                                                                                                                                                                 pax fo the cancellat on. I checked CIRRUS and t shows that pax
                                                                                                                                                                                                                                                                                 flt was cance led on 4/13/2019 fo 6/21/2019 t avel. I adv pax
                                                                                                                                                                                                                                                                                 that t appea s that he fl ght was cancelled as a esult of a
                                                                                                                                                                                                                                                                                 schedule change. Instead of a v ng at 1150, pax s a v ng at
                                                                                                                                                                                                                                                                                 0730. Pax stated othe a l nes ssue comp, ega dless of the
                                                                                                                                                                                                                                                                                   eason. I adv pax that I unde stand that, howeve , the d ect on
                                                                                                                                                                                                                                                                                 that has been p ov ded s that we a e not ssu ng SLVs fo the
                                                                                                                                                                                                                                                                                 cance lat on. Pax upset and stated th s w l be he last t me
2302886429514    6/5/2019 MMWGZL                    CR/RR          Phone      Med a/Adv./Mktg. P omot ons     Med a                         Ope at onal Events            Pend ng Catego y            Compla nt          737 MAX 8 Ope at on Suspens on
                                                                                                                                                                                                                                                                                 t avel ng w th SWA. I expla ned that wh le we a e unable to
                                                                                                                                                                                                                                                                                 hono the equest fo a SLV, we a e mak ng except ons to efund
                                                                                                                                                                                                                                                                                 the t cket. I expla ned that f pax doesn't want the
                                                                                                                                                                                                                                                                                   eacommodat on, we can cancel and efund he t cket as long as
                                                                                                                                                                                                                                                                                 she calls n 10m n p o to depa tu e. Pax unde stood and stated
                                                                                                                                                                                                                                                                                 she w ll th nk about t. D d not make any changes to he PNR.

                                                                                                                                                                                                                                                                                 Thanks,

                                                                                                                                                                                                                                                                                 Dan


                                                                                                                                                                                                                                                                                 I booked th s etu n fl ght w th my po nts and then ece ved a
                                                                                                                                                                                                                                                                                 text message the day befo e that fl ght was cancelled. I would
                                                                                                                                                                                                                                                                                 l ke my po nts and the secu ty fee of $22.40 etu ned to me. I
                                                                                                                                                                                                                         Pax states that h s flt was cxl and wants he po nts and
2302962979251    6/6/2019 WT8XBO, WT8XBO            CR/RR          Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Po nts Acc ual                Numbe of Po nts Posted      Compla nt                                                                  had to f nd a fl ght on anothe a l ne due to that sho t of not ce
                                                                                                                                                                                                                         Taxes efunded.
                                                                                                                                                                                                                                                                                 to wo k w th ou t avel plans. Please let me know that th s has
                                                                                                                                                                                                                                                                                 been handled., Pax states that h s f t was cxl and wants he
                                                                                                                                                                                                                                                                                 po nts and Taxes efunded.
                                                                                                                                                                                                                                                                                 I am completely d sappo nted, and feel d s espected, by the
                                                                                                                                                                                                                                                                                 level of se v ce that I ece ved on my fl ght. When I boa ded, my
                                                                                                                                                                                                                                                                                 dogas head was out of the peep-hole n the ca e and the
                                                                                                                                                                                                                                                                                 capta n was ve y f endly and asked many quest ons about my
                                                                                                                                                                                                                                                                                 dog. When I sat down I put he head ns de and z pped t up.
                                                                                                                                                                                                                                                                                 When FA Ph l R zzo d d h s check he asked my name and checked
                                                                                                                                                                                                                                                                                 off that I had an an mal w th me. He sa d amake su e she stays n
                                                                                                                                                                                                                                                                                 the ca e the whole t mea. I sa d ano p oblem a Th oughout
                                                                                                                                                                                                                                                                                 the boa d ng p ocess I hea d FA Ge a do Rangel compla n ng to
                                                                                                                                                                                                                                                                                 the othe 2 FAs about a passenge who wanted to sw tch seats
                                                                                                                                                                                                                                                                                  n o de to s t w th he ch ld. FA Rangel sa d augh he e we go
                                                                                                                                                                                                                                                                                 aga n. We have fam ly boa d ng fo a eason.a He had a ve y bad
                                                                                                                                                                                                                         Chantee s upset that the FA attempted to have he        att tude and was ext emely unpleasant. When boa d ng was
                          L74DVD, L7QSLU, L74DVD,
                                                                                                                                                                                                                          emoved f om the plane when she po nted out to h m complete, I put my dog ca e unde the seat n f ont of me,
2303162435137   6/11/2019 L7QSLU, L74DVD, L7QSLU,   CR/RR          Web Fo m   Custome Se v ce                 Pe sonnel                     Alte cat on                   Onboa d Ve bal              Compla nt
                                                                                                                                                                                                                         that she was follow ng pol cy ega d ng he pet           and ubbed the s de. FA Rangel walked past and sa d ayou need
                          L74DVD, L7QSLU
                                                                                                                                                                                                                         onboa d                                                 to make su e sheas z pped up the whole t me.a I sa d agotcha a
                                                                                                                                                                                                                                                                                 He epl ed, aI donat l ke the way you sa d gotcha to me.a I
                                                                                                                                                                                                                                                                                  epl ed, auhh okay. We l, I unde stood, but t eally seems l ke
                                                                                                                                                                                                                                                                                 youa e n a bad mood and Ia l be su e to let the capta n know
                                                                                                                                                                                                                                                                                 about my expe ence on th s fl ght.a He th eatened me by say ng
                                                                                                                                                                                                                                                                                 ado you want me to call h m ght now because we can do that?!
                                                                                                                                                                                                                                                                                 (As he po nts h s f nge at me wh le talk ng). Wea e go ng back to
                                                                                                                                                                                                                                                                                 the gate!a My husband jumped n and told the FA not to speak
                                                                                                                                                                                                                                                                                 to me n that manne , as he s be ng d s espectful. The plane
                                                                                                                                                                                                                                                                                 went back to the gate and we e told to get off by ope at ons.
                                                                                                                                                                                                                                                                                 We asked to speak w th the capta n and expla ned the s tuat on
                                                                                                                                                                                                                                                                                 to the capta n and to the ope at ons lead. FA Rangel cla med
                                                                                                                                                                                                                                                                                 that he was ajok nga about the fam ly boa d ng comment and
                                                                                                                                                                                                                                                                                 Pax d d not echeck bag fo nte nat onal fl ght pax sa d he
                                                                                                                                                                                                                                                                                 neve ece ved nc dent # and was ecently adv that t was too
                                                                                                                                                                                                                                                                                 late and h s bags had al eady been salvaged pax feels s tuat on
                                                                                                                                                                                                                                                                                 has not been handled we l, fa lu es of commun cat on

                                                                                                                                                                                                                                                                                 CBS nd cated bags not yet salavaged, but would beg n be ng
                                                                                                                                                                                                                                                                                 salvaged the week of 6/24 I was adv pax would need to set up
                                                                                                                                                                                                                                                                                 tempo a y pe sonal Fed-Ex account, and once he has th s
                                                                                                                                                                                                                                                                                 account #, he should be able to ca l CBS back at 888-202-1024 to
                                                                                                                                                                                                                                                                                 set up on-hand etu n equest (sh pp ng f om z p 30349), each
                                                                                                                                                                                                                         Pax d d not echeck bags fo nte nat onal l ght on-
2303285584406   6/13/2019 NBO87Y                    CR/RR          Phone      Baggage                         Checked                       Gu del nes                    Recheck Bag Intl Fl ght     Compla nt                                                                  bag s 25 lbs
                                                                                                                                                                                                                         hand nc dents EWRWN07486322, EWRWN07486316
                                                                                                                                                                                                                                                                                 I commun cated th s nfo to pax, pax thankful, sa d he would set
                                                                                                                                                                                                                                                                                 up account and call CBS to set up del ve y


                                                                                                                                                                                                                                                                                 On-hands

                                                                                                                                                                                                                                                                                 EWRWN07486322

                                                                                                                                                                                                                                                                                 EWRWN07486316




                                                                                                                                                                                                                                                                                                                                  Appx. 144
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                                                                                                                                                                                                                                                                                n p/n c
                                                                                                                                                                                                                                                                                , Please p oceed w th a poss ble efund due to med cal
                                                                                                                                                                                                                                                                                cancellat on , WP6NXK
                                                                                                                                                                                                                                                                                526-2437980284
                                                                                                                                                                                                                                                                                Issued Feb 10, 2019
                                                                                                                                                                                                                                                                                Status BIDAULT / Ca ol ne 10FEB20 0.00 97.70
2303324995557   6/14/2019 WP6NXK, WP6NXK, WP6NXK Rese vat ons     Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable            Comment/Quest on   efund due to med cal cancellat on
                                                                                                                                                                                                                                                                                526-2437980285
                                                                                                                                                                                                                                                                                Issued Feb 10, 2019
                                                                                                                                                                                                                                                                                Status POIVRE / G ego y 10FEB20 0.00 97.70

                                                                                                                                                                                                                                                                                **d opped to RTF
                                                                                                                                                                                                                                                                                ** efund v a ARD
                                                                                                                                                                                                                                                                                Dea S /Madam,
                                                                                                                                                                                                                                                                                k ndly p oceed w th the fu l efund fo ese vat on TQKCIR due
                                                                                                                                                                                                                                                                                to the fact that fl ght was cancelled/ escheduled by a l ne.
                                                                                                                                                                                                                                                                                Please, subm t e mbu sement n acco dance to the o g nal
                                                                                                                                                                                                                                                                                mode of payment., Related SR n/a
                                                                                                                                                                                                                                                                                Related pa ty n/a
                                                                                                                                                                                                                                                                                PNR(S) TQKCIR
                                                                                                                                                                                                                                                                                T avel date 4/17/19
                                                                                                                                                                                                                                                                                GOG amount and Cla m # Refund ng $58.98 amount back to pax
                                                                                                                                                                                                                                                                                fo unflown fl ght due to schedule eaccom not wo k ng fo
                                                                                                                                                                                                                                                                                them and us not complet ng the t avel.

                                                                                                                                                                                                                                                                                Notes Pax had an auto eaccom due to schedule change fl ght
                                                                                                                                                                                                                        Pax s equest ng a efund of the t ckets because the      was changed f om 32 to 1415
2303450055346   6/17/2019 TQKCIR, TQKCIR, TQKCIR   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me       Compla nt
                                                                                                                                                                                                                        fl ght was canceled by SWA.                             5262434027933
                                                                                                                                                                                                                                                                                5262434027934
                                                                                                                                                                                                                                                                                5262434027935
                                                                                                                                                                                                                                                                                5262434027936
                                                                                                                                                                                                                                                                                5262434027938
                                                                                                                                                                                                                                                                                5262434027940
                                                                                                                                                                                                                                                                                5262434027941

                                                                                                                                                                                                                                                                                TQKCIR

                                                                                                                                                                                                                                                                                ARD e o EXCHANGED E-TICKET NOT FOUND (9902) --
                                                                                                                                                                                                                                                                                Subm tt ng comply fo m fo manual efund.
                                                                                                                                                                                                                                                                                , See SR 2303450055346- Manua ly ma k ng tkts RFND. Thanks,
                                                                                                                                                                                                                                                                                Steven CR
                                                                                                                                                                                                                                                                                Cla m No 173025771
                                                                                                                                                                                                                                                                                Cla m No 173025725

                                                                                                                                                                                                                                                                                      f t was xld due to MX, he was eaccomd fo the same day
                                                                                                                                                                                                                                                                                but e d dn't get nto PHL unt l m dn ght, when h s o g nal f t
2303513912812   6/18/2019 W8YS29                   CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                       Reaccom Same Day         Compla nt          Flt xld, eaccomd same day, ssu ng SLV
                                                                                                                                                                                                                                                                                got h m nto PHL at 3 20.
                                                                                                                                                                                                                                                                                Pax m ssed mpo tant bus ness meet ngs, I apolog zed fo the
                                                                                                                                                                                                                                                                                nconven ence and adv sed that we can ssue h m and the othe
                                                                                                                                                                                                                                                                                pax each a $100 SLV.
                                                                                                                                                                                                                                                                                He was app ec at ve and d sconnected.

                                                                                                                                                                                                                                                                                Dea S /Madam,
                                                                                                                                                                                                                                                                                k ndly p oceed w th the fu l efund fo ese vat on W3XIWU
                                                                                                                                                                                                                                                                                 due to the fact that fl ght was / escheduled by a l ne. Please,
                                                                                                                                                                                                                                                                                subm t e mbu sement n acco dance to the o g nal mode of
                                                                                                                                                                                                                                                                                payment.

                                                                                                                                                                                                                                                                                Thank you and ega ds,
                                                                                                                                                                                                                        Reqeust ng efund fo sch. change, f t changed to
2303553402846   6/19/2019 W3XIWU, W3XIWU           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me       Compla nt                                                                  K w com, Flt 32 - DEN - SAT leav ng at 8 35pm on Ap l 15 cxld
                                                                                                                                                                                                                        ea l e t me- esu t ng n a no show
                                                                                                                                                                                                                                                                                f om sch. changes.
                                                                                                                                                                                                                                                                                Reacomm'd pax on Jan 31, to F t 1415 - DEN - SAT leav ng at
                                                                                                                                                                                                                                                                                1 45pm on Ap l 15
                                                                                                                                                                                                                                                                                Pax no showed
                                                                                                                                                                                                                                                                                T avel Company now equest ng efund due to sch. change
                                                                                                                                                                                                                                                                                Pe TL Rachel - efund ng
                                                                                                                                                                                                                                                                                Cla m No 173275449 PNR W3XIWU


                                                                                                                                                                                                                                                                                Cancelled younge SR 2303568743498 as dupl cate please
                                                                                                                                                                                                                                                                                cancel th s fl ght fo PAP                   and k ndly efund.
                                                                                                                                                                                                                                                                                Me ged 20936021186 nto 20936080384
                                                                                                                                                                                                                                                                                SR ema l matches PNR ema l
                                                                                                                                                                                                                                                                                Pax o g to fly F t 3086 LAX-OMA on 6/9, to a ve on 6/10 at 1 50
                                                                                                                                                                                                                                                                                AM
                                                                                                                                                                                                                                                                                Ult mately ebooked and flew F t 1333 LAX-OMA (2 stops),
                                                                                                                                                                                                                                                                                a ved 2 m n late at 4 47 PM
                                                                                                                                                                                                                        TA s seek ng efund of flown fl ght due to schedule
2303563225948   6/19/2019 JBVU5A, JBVU5A           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Fl ght Numbe         Compla nt                                                                  OW base $118 77
                                                                                                                                                                                                                         eaccom
                                                                                                                                                                                                                                                                                LAX notes f om 6/9 PAX WAS GIVEN THE WRONG DEPARTURE
                                                                                                                                                                                                                                                                                TIME FOR THE FLIGHT AS GOG AND PER EUTE EMPLOYEE
                                                                                                                                                                                                                                                                                NUMBER 56725 CONFIRMED H M FOR NEXT DAY.
                                                                                                                                                                                                                                                                                S nce pax showed up to a po t on 6/9 due to
                                                                                                                                                                                                                                                                                m scommun cat on on alte nate fl ght ssued $100 SLV as GOG
                                                                                                                                                                                                                                                                                Cla m No 173280631, th s fl ght was scheduled changed by the
                                                                                                                                                                                                                                                                                a l ne, because of that PAP had to take an alte nat ve , please
                                                                                                                                                                                                                                                                                p ov de a efund fo t


                                                                                                                                                                                                                                                                                Dea S /Madam,
                                                                                                                                                                                                                                                                                k ndly p oceed w th the fu l efund fo ese vat on U9ZFWM
                                                                                                                                                                                                                                                                                due to the fact that fl ght was cancelled/ escheduled by a l ne.
                                                                                                                                                                                                                                                                                Please, subm t e mbu sement n acco dance to the o g nal
2303623067850   6/21/2019 U9ZFWM, U9ZFWM           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me       Compla nt          pax equest ng efund due to schedule eaccom              mode of payment.

                                                                                                                                                                                                                                                                                K w com, I ca led pax and adv I subm tted fo the efund of the
                                                                                                                                                                                                                                                                                fl ght and to allow 20-30 days fo the efund to post back to the
                                                                                                                                                                                                                                                                                ca d. pax thanked me fo the ca l
                                                                                                                                                                                                                                                                                 As the e was a schedule change I was unable to take the fl ght,
2303650094367   6/22/2019 PCWAR6                   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me       Compla nt          Pax s eq efund fo flown tkt
                                                                                                                                                                                                                                                                                 Please p oceed w th a full efund.
                                                                                                                                                                                                                                                                                 Pax called stat ng that Do s eally went above and beyond.
                                                                                                                                                                                                                                                                                 States that Do s was laugh ng and ok ng the ent e lt, b ought
                                                                                                                                                                                                                        Pax call ng to p ov de a Kudos to FA Do s, states she
                                                                                                                                                                                                                                                                                 hot chocolates to Sand a's g andk ds and made them
                                                                                                                                                                                                                        was so pleasant and went above and beyond to make
2303754136268   6/25/2019 U77UWE                   CR/RR          Phone      Custome Se v ce                 Pe sonnel                     Hosp tal ty                      P ofess onal sm          Compl ment                                                                  comfo table. Do s d dn t know t was the f st t me fly ng but
                                                                                                                                                                                                                        t a g eat f t. Pax had g andk ds as f st t me flye s and
                                                                                                                                                                                                                                                                                 Sand a states because of Do s t won't be the last e the . Just
                                                                                                                                                                                                                         ea ly made the expe ence spec al.
                                                                                                                                                                                                                                                                                 wanted to make su e she s ecogn zed fo he outstand ng
                                                                                                                                                                                                                                                                                 se v ce.
                                                                                                                                                                                                                                                                                 My boyf end, 2 of h s ch ld en, pa ents and s ste and I a l took a
                                                                                                                                                                                                                                                                                 vacat on last week and chose to fly SW home f om Denve .
                                                                                                                                                                                                                                                                                 Thu s mo n ng, 6/23, me, my boyf end and h s ch ld en
                                                                                                                                                                                                                                                                                 app oached the check- n k osks at Denve A po t. The e was a
                                                                                                                                                                                                                                                                                 CS agent n the m ddle of the k osks. I stated I had my boa d ng
                                                                                                                                                                                                                                                                                 pass but ust needed to check a bag. She po nted fo wa d and
                                                                                                                                                                                                                                                                                 stated to stand n the l ne fo d opped bag. I wa ted about 15
                                                                                                                                                                                                                                                                                 m nutes and when t was my tu n app oached the counte to an
                                                                                                                                                                                                                                                                                 agent and put my bag on the scale. The agent next to he sa d
                                                                                                                                                                                                                                                                                 the e's no tag. I sa d I thought th s was the l ne fo th s. She
                                                                                                                                                                                                                                                                                 sa d no, we don't have p nte s he e. She g abbed my bag and
                                                                                                                                                                                                                                                                                 sa d you need to p nt you own tag and I looked back t the
                                                                                                                                                                                                                                                                                 o g nal agent and sa d I don't have to stand n l ne aga n do I
                                                                                                                                                                                                                        7/8/19 Repo t Due
                                                                                                                                                                                                                                                                                 and she sa d no. I then followed the othe agent to the k osk
2303827846572   6/26/2019 VHLPDB, VHLPDB           CR/RR          Web Fo m   Custome Se v ce                 Pe sonnel                     Rudeness                         Ab as ve Tone/D ect on   Compla nt          Pax compla ned about a po t ve bal alte cat on w th
                                                                                                                                                                                                                                                                                 closest to the counte and she sa d you can do t you self o
                                                                                                                                                                                                                        T cket ng Agent
                                                                                                                                                                                                                                                                                 have someone help you. I qu ckly p nted out the tag and went
                                                                                                                                                                                                                                                                                 back to the counte to the agent who had g abbed my bag and
                                                                                                                                                                                                                                                                                 put at the k osk and wa ted afte she was help ng someone and
                                                                                                                                                                                                                                                                                 p oceeded fo wa d. She sa d to me you need to wa t n l ne. My
                                                                                                                                                                                                                                                                                 boyf end and h s 2 ch ld en we e next n l ne and he sa d to the
                                                                                                                                                                                                                                                                                 agent, I'm w th them so she p oceeded to check my bag. I sa d
                                                                                                                                                                                                                                                                                 to the agent that the othe agent told me I d dn't have to wa t n
                                                                                                                                                                                                                                                                                 l ne and the eason why th s whole th ng happened s because
                                                                                                                                                                                                                                                                                 the CS agent stated to come to th s l ne to beg n w th and she
                                                                                                                                                                                                                                                                                 sa d I doubt that happened. I sa d t absolutely d d happen and
                                                                                                                                                                                                                                                                                 boyf end was ght the e and she sa d to me I don't bel eve
                                                                                                                                                                                                                                                                                 you . I looked at he name tag - Chelsea. I sa d you name s
                                                                                                                                                                                                                                                                                 Chelsea? I'm lett ng Southwest know about how I was t eated
                                                                                                                                                                                                                                                                                 Have t ed to add Ea ly b d and get the follow ng message

                                                                                                                                                                                                                                                                                E o 500999999
                                                                                                                                                                                                                                                                                (10b8fca5-e1bc-445a-b23b-
2303985777914   6/30/2019 W4RAZS, W4RAZS, W4RAZS   Rese vat ons   Web Fo m   southwest.com                   P oduct/Funct onal ty         Ea lyB d                         Techn cal D ff cu t es   Comment/Quest on   E o add ng EB to t avel                                 ϵĂĐĨϰϰĚϭϴĞϵϳ t:/ͺyƐďZƐĂŶϭϳďϲϱ&yŐ ŵǁĞďͿ

                                                                                                                                                                                                                                                                                Would l ke to get t added - I managed to add t fo a fl ght we
                                                                                                                                                                                                                                                                                a e tak ng th s week f om LAS to DEN., n pc, t avel not unt l
                                                                                                                                                                                                                                                                                7/9/2019
                                                                                                                                                                                                                                                                                ĂůůĞ Ɛ EĂŵĞ
                                                                                                                                                                                                                                                                                Contact Telep one Numbe
                                                                                                                                                                                                                                                                                Contact Ema l Add ess
                                                                                                                                                                                                                                                                                Exp ed PNR PIA89M
2304004397267    7/1/2019 PIA89M, PIA89M           CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Re ssue Request          Comment/Quest on   RTF FOR SCHOOL EMPLOYEE NO LONGER EMPLOYED              Passenge Name (s)
                                                                                                                                                                                                                                                                                O g nal Exp at on Date of Funds 4/9/2020
                                                                                                                                                                                                                                                                                Exp ed RTF Balance 276.96
                                                                                                                                                                                                                                                                                ************* SCHOOL EMPLOYEE NO LONGER EMPLOYED
                                                                                                                                                                                                                                                                                , Issued nte Cla m No 173809826
                                                                                                                                                                                                                                                                                fl ght 3867 delayed 253 m nutes due to hd 02, custome
                                                                                                                                                                                                                                                                                m sconnected. eaccomed fo next day, but s t y ng to see
                                                                                                                                                                                                                        M sconnect, custome eaccomd ove n ght and
2304209489950    7/8/2019 VBTA7N                   CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         A T aff c Cont ol                Depa tu e C ty           Compla nt                                                                  about nte m expenses/lette to subm t to cc fo cove age.
                                                                                                                                                                                                                        need ng pape wo k fo cla m
                                                                                                                                                                                                                                                                                adv sed unable to cove nte m expenses but can p ov de lette .
                                                                                                                                                                                                                                                                                d afted and sent to custome . thanks, sa ah c 2711




                                                                                                                                                                                                                                                                                                                                  Appx. 145
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                                                                                                                                                                                                                                                                                      due to ule 85 fl ght d dn't no show because of ops on fl ght
                                                                                                                                                                                                                                                                                      2003 t ckets stayed n OK status- sent out conf mat on that
                                                                                                                                                                                                                                                                                      fl ght was not taken and funds we e not ava lable., F le efe ence
                                                                                                                                                                                                                                                                                      numbe 2304259673876

                                                                                                                                                                                                                                                                                      He lo,
                                                                                                                                                                                                                                                                                      I al eady sent a ma l and am supposed to call and g ve you mo e
                                                                                                                                                                                                                                                                                       nfo mat on, but s nce I do l ve n Ge many t says the numbe s
                                                                                                                                                                                                                                                                                      not wo k ng.
                                                                                                                                                                                                                                                                                      I w l send the nfo mat on he e.

                                                                                                                                                                                                                                                                                      I do need a noshow conf mat on fo the follow ng fl ght

                            V2QN6Y, V2QN6Y, V2QN6Y,                                                                                                                                                                          See SR#2304259673876                                     July 6th,2018 f om IAD at 6 35pm to MCO a v ng at 9 00pm
2304279240106    7/9/2019                           CR/RR                Web Fo m   Othe                            SR Inqu es                    CS&S W teback             Pax Fo lowup/Documentat on    Comment/Quest on
                            V2QN6Y, V2QN6Y                                                                                                                                                                                   No Show nqu y                                            Fl ght N . WN2003
                                                                                                                                                                                                                                                                                      PNR-Code V2QN6Y

                                                                                                                                                                                                                                                                                      Passenge s and ID

                                                                                                                                                                                                                                                                                                        , aust an passpo t N
                                                                                                                                                                                                                                                                                                           Ge man passpo t n
                                                                                                                                                                                                                                                                                                                 , Ge man passpo t n

                                                                                                                                                                                                                                                                                      If you need any fu the nfo mat on maybe you have an ema l I
                                                                                                                                                                                                                                                                                      could send t.

                                                                                                                                                                                                                                                                                      Thanks,
                                                                                                                                                                                                                                                                                                          RefundP o
                                                                                                                                                                                                                                                                                                         Checked phone/ema l/name-state - n pc,
                                                                                                                                                                                                                                                                                      CIRRUS - sea ched v a name/date - found VSDL2I added fl ght
                                                                                                                                                                                                                                                                                      deta ls -FOP $, Hello!
                                                                                                                                                                                                                                                                                      I o ned Rap d Rewa ds today and wanted to know f I can add
                            VSDL2I, VSDL2I, VSDL2I,
2304282511894    7/9/2019                             Rese vat ons       Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status   Past Fl ght Po nts            Comment/Quest on   New membe wants to know how to get pfp                   the fl ght I took yeste day and last Wednesday to my account
                            VSDL2I
                                                                                                                                                                                                                                                                                      fo ewa d po nts?

                                                                                                                                                                                                                                                                                      Thank you k ndly,
                                                                                                                                                                                                                                                                                      Renee, TLC M#20938376281 - added pfp fo VSDL2I
                                                                                                                                                                                                                                                                                      Dea Team,

                                                                                                                                                                                                                                                                                      I m ssed th s fl ght due to the med cal cond t on and I would l ke
                                                                                                                                                                                                                                                                                      to equest a efund. Howeve I do not know whe e to put the
                                                                                                                                                                                                                                                                                      med cal ce t f cate. Can you please help me?
2304304584882   7/10/2019 TOVGIY, TOVGIY              CR/RR              Web Fo m   Refunds                         Refund Request                T ckets/Fa es             Non efundable                 Request            equest ng med cal efund
                                                                                                                                                                                                                                                                                      Thank you,

                                                                                                                                                                                                                                                                                                        t cket should have shown up n a no show, but
                                                                                                                                                                                                                                                                                      d d not, due to the med cal natu e of t (spoke w th daughte of
                                                                                                                                                                                                                                                                                      Rosal e) I efunded successfully n ARD s nce t was st ll n an
                                                                                                                                                                                                                                                                                      open/ok status.
                                                                                                                                                                                                                                                                                      I would l ke to equest efund of th s ese vat on, and ssue a
                                                                                                                                                                                                                                                                                      fo mal compla nt ove the efund pol cy as commun cated on
                                                                                                                                                                                                                                                                                      the web s te wh le book ng vs. as commun cated by the suppo t
                                                                                                                                                                                                                                                                                      staff I spoke w th.

                                                                                                                                                                                                                                                                                    I attempted to cancel onl ne and v a phone I was told I could
                                                                                                                                                                                                                                                                                    only be ssued an ncomplete c ed t due to the type of book ng.
                                                                                                                                                                                                                                                                                    I was g ven the custome suppo t numbe 855-234-4654, opt on
                                                                                                                                                                                                                                                                                    #5, by two sepa ate custome se v ce eps.) Opt on 5 does not
                                                                                                                                                                                                                                                                                    ex st when you ca l that numbe . I nstead selected opt on 4
                                                                                                                                                                                                                                                                                    wh ch stated one of the top cs fo the extens on as efunds
                                                                                                                                                                                                                                                                                    the woman I spoke to nd cated she could not ssue a efund, as
                                                                                                                                                                                                                                                                                    he ole was funds management (Sounds l ke efunds could be
                                                                                                                                                                                                                             PAX c tes m s nfo and t ouble gett ng th ough to CR as
                                                                                                                                                                                                                                                                                    fac l tated by that ole but I d g ess.) The only opt on I was told I
2304305426324   7/10/2019 UNH6JL, UNH6JL              CR/RR              Web Fo m   Refunds                         Refund Request                T ckets/Fa es             Non efundable                 Compla nt           eason fo efund of WGA t ckets. PAXs no longe
                                                                                                                                                                                                                                                                                    could use n o de to get a efund was to w te n, to equest
                                                                                                                                                                                                                             t avel ng due to mov ng fo wo k.
                                                                                                                                                                                                                                                                                    one. I asked f I could speak w th someone n pe son who had
                                                                                                                                                                                                                                                                                    the autho ty to make a dete m nat on and a efund, and I was
                                                                                                                                                                                                                                                                                    told, ve y udely, no one has that ab l ty, and then I' l t ansfe
                                                                                                                                                                                                                                                                                    you to someone and I was t ansfe ed to a dead extens on, and
                                                                                                                                                                                                                                                                                    the call was ove . I d dn't call back. It seemed po ntless.

                                                                                                                                                                                                                                                                                      Th s was f ust at ng as I felt the web s te d d not do a good ob
                                                                                                                                                                                                                                                                                      of commun cat ng the cancellat on pol cy. I had ead 25 hou s
                                                                                                                                                                                                                                                                                      was the t me pe od befo e a fl ght, and I d d not see the
                                                                                                                                                                                                                                                                                      qual f cat on about only ece v ng a c ed t fo ce ta n types of
                                                                                                                                                                                                                                                                                      t ckets, as I was subsequently told by custome suppo t.
                                                                                                                                                                                                                                                                                      Add t ona ly no CSR on the Southwest team was capable of
                                                                                                                                                                                                                                                                                      handl ng a easonable equest o connect ng me w th someone
                                                                                                                                                                                                                                                                                 Can't fly out due to Hu cane Ba y. Can I use th s fl ght anyt me
                                                                                                                                                                                                                                                                                  n the next yea . Do I have to cancel t. T y ng not to call as know
                                                                                                                                                                                                                             Custome s ask ng how they can cancel and f they get t s busy ght now. Please let me know. Thanks. - Stephan e,
2304381314687   7/11/2019 N5V5SS, N5V5SS, N5V5SS      Rese vat ons       Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng      Change Book ng                Comment/Quest on
                                                                                                                                                                                                                             funds.                                              fl ght deta ls al eady p ov ded. Ve f ed the fl ght was al eady
                                                                                                                                                                                                                                                                                 cancelled and funds a e held of $143.98 good t l 06/28/20, n p
                                                                                                                                                                                                                                                                                 and c I w ll me ge 20939792042 o 1077470800
                                                                                                                                                                                                                                                                                      Fl ght #20 expe enced an ATC Cancelat on., Hello,
                                                                                                                                                                                                                             Custome s equest ng a efund of fa e as fl ght
                            TMF42K, TMF42K, TMF42K,                                                                                                                                                                                                                                   the fl ght was canceled. Please p ocess a full efund back to CC
2304400200753   7/12/2019                             CR/RR              Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  A T aff c Cont ol         Unable to Reaccom             Compla nt          expe enced an ATC Cancellat on and he was no e-
                            TMF42K                                                                                                                                                                                                                                                    used fo book ng., P ocessed a $119.98 efund n ARD , The e
                                                                                                                                                                                                                             accommodated.
                                                                                                                                                                                                                                                                                      a e no dupl cate Accounts o SR's.
                                                                                                                                                                                                                                                                                      Dea Southwest,

                                                                                                                                                                                                                                                                                      please p oceed w th the full efund back to the o g nal method
                                                                                                                                                                                                                                                                                      of the payment. The fl ght was escheduled and passenge d d
                                                                                                                                                                                                                                                                                      not use the l ght.
                                                                                                                                                                                                                             SR 2302170501489 Seek ng a efund and stat ng that
2304418274405   7/12/2019 MMBE7G, MMBE7G              CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds   Pol cy Adhe ence              Compla nt
                                                                                                                                                                                                                             the fl ght was cnaceled.
                                                                                                                                                                                                                                                                                      K nd ega ds,
                                                                                                                                                                                                                                                                                      K w com, No elated SRs. No elated contacts.
                                                                                                                                                                                                                                                                                      Fl ght #3681 had a schedule e-accommodat on on 01/31.
                                                                                                                                                                                                                                                                                      Custome no showed Fl ght #6567.
                                                                                                                                                                                                                                                                                      Seek ng a efund fo no show
                                                                                                                                                                                                                                                                                      Dea Team, Please p oceed w th the fu l efund as the l ght was
                                                                                                                                                                                                                                                                                       escheduled. Please p oceed w th the efund v a the o g nal
                                                                                                                                                                                                                                                                                      payment method and nfo m us about the efundable amount.,
                                                                                                                                                                                                                                                                                      no el. s
                                                                                                                                                                                                                                                                                      no el. pty

2304528672932   7/15/2019 VU8MFA, VU8MFA              CR/RR              Web Fo m   Refunds                         Refund Request                T ckets/Fa es             Non efundable                 Compla nt          pax seek ng fu l fnd fo flt                              tkt 5262458800159 s st ll open

                                                                                                                                                                                                                                                                                      skd chg on 04/01 fo o g nal connect ng flt
                                                                                                                                                                                                                                                                                      flt d d not noshow even though pax d d not ly


                                                                                                                                                                                                                                                                                      efund ng tkt n ARD 129 51 back ofop
                                                                                                                                                                                                                                                                                      NRPC, Ou fl ght was moved up ten hou s ea l e , when we
                                                                                                                                                                                                                                                                                      would st ll be n eu ope and wouldnat be able to make the t me,
                                                                                                                                                                                                                                                                                      and the woman we spoke to (I bel eve he name was Ca mel ta
                                                                                                                                                                                                                                                                                      but I could be w ong. . he b thday s on Ma ch 21, l ke me!)
                                                                                                                                                                                                                             Compl ment to Custome Se v ce Rep esentat ve             was so wonde fully helpful and k nd. She eas ly got us on a new
2304606731681   7/17/2019 WQKOWI, WQKOWI              Execut ve Off ce   Web Fo m   Custome Se v ce                 Pe sonnel                     Hosp tal ty               P ofess onal sm               Compl ment
                                                                                                                                                                                                                             Ca mel ta fo mak ng expe ence smooth and easy.           fl ght and gave us seve al opt ons befo e secu ng us on a fl ght
                                                                                                                                                                                                                                                                                      that wo ks fo ou schedule. She made the expe ence smooth
                                                                                                                                                                                                                                                                                      and easy. You can tell sheas a k nd and compass onate pe son
                                                                                                                                                                                                                                                                                      and I w sh all custome se v ce agents we e l ke he ! Thank you
                                                                                                                                                                                                                                                                                      Ca mel ta and Southwest!

                                                                                                                                                                                                                                                                                      He lo, I pa d ext a to check n ea ly, but I keep gett ng an e o .
2304663605635   7/18/2019 MMJ4PV, MMJ4PV, MMJ4PV Rese vat ons            Web Fo m   southwest.com                   P oduct/Funct onal ty         Ea lyB d                  P oduct Info mat on           Comment/Quest on   EB check n                                               Would you be able to help?, no el pty/contacts, esea ch n ARD
                                                                                                                                                                                                                                                                                      shows ese vat on s scheduled mo e than 24 hou s out.
                                                                                                                                                                                                                                                                                      I had a most unfo tunate and atyp cal Southwest expe ence. I
                                                                                                                                                                                                                                                                                      app oached the gate ebull ent that I had at last sco ed an A
                                                                                                                                                                                                                                                                                      boa d ng g oup pos t on only to have my pass not accepted! I
                                                                                                                                                                                                                                                                                      was told to go to custome se v ce to get th ngs so ted. The l ne
                                                                                                                                                                                                                                                                                      was qu te long as the fellow, And e, was not competent. A ve y
                                                                                                                                                                                                                                                                                      n ce lady let me go ahead of he (And e was gett ng nowhe e
                                                                                                                                                                                                                                                                                      w th he anyway) and I had only 10 m nutes befo e depa tu e.
                                                                                                                                                                                                                                                                                      And e was ude and su ly and n h s unf endly tone nfo med
                                                                                                                                                                                                                                                                                      me f st that he could not f nd my ese vat on anywhe e and
                                                                                                                                                                                                                                                                                      then that I had cancelled my fl ght. I sa d I had done no such
                                                                                                                                                                                                                                                                                      th ng, and why would I be he e boa d ng pass n hand f so, t
                                                                                                                                                                                                                                                                                      must have been a compute gl tch. Absolutely not, he sa d. I had
                                                                                                                                                                                                                                                                                      clea ly done t. I sa d I had cance led a Phoen x fl ght on F day,
                                                                                                                                                                                                                             Pax cancelled he fl ght and d dn't eal ze t cancelled
                            PV2DBD, TJL539, W2JTE3,                                                                                                                                                                                                                                   maybe the system got ts w es c ossed. No. I had done t. I
2304806540509   7/22/2019                             CR/RR              Web Fo m   Custome Se v ce                 Pe sonnel                     Rudeness                  Unf endly/Unca ng/Unhelpful   Compla nt           etu n as we l says agent was ude when she
                            PV2DBD, TJL539, W2JTE3                                                                                                                                                                                                                                    accessed my ema l on my phone f om Southwest, and found,
                                                                                                                                                                                                                             attempted to ebook
                                                                                                                                                                                                                                                                                      su e enough, an ema l had been sent a ound 10 30 at n ght
                                                                                                                                                                                                                                                                                      say ng I had cancelled my fl ght to Long Beach. I was asleep at
                                                                                                                                                                                                                                                                                      that t me, and sha ed th s w th And e. He sa d, you sa d you
                                                                                                                                                                                                                                                                                      cancelled a fl ght, clea ly you d d th s. I sa d, yes, to Phoen x, late
                                                                                                                                                                                                                                                                                      F day afte noon. He sa d well, you cance led t. He offe ed no
                                                                                                                                                                                                                                                                                      solut on. So I asked f I could epu chase the t cket. He
                                                                                                                                                                                                                                                                                      g udg ngly sa d yes (bea n m nd, he s scowl ng at me the whole
                                                                                                                                                                                                                                                                                      t me, as f I we e ev l nca nate and and I always am k nd and
                                                                                                                                                                                                                                                                                      pol te to a po t pe sonnel). He p oceeded to fa l to access any
                                                                                                                                                                                                                                                                                      of my nfo even though Iam a f equent flye . So he set about
                                                                                                                                                                                                                                                                                       etyp ng all my nfo and d d so nco ectly. F nally anothe
                                                                                                                                                                                                                                                                                      fe low, Jose, came to ass st. And e was te l ng h m my nfo and I
                                                                                                                                                                                                                                                                                      hea d h s m stake he was gett ng my b thday w ong so I told
                                                                                                                                                                                                                                                                                      H the e, Th s s about my fl ght #5798. The delay and wa t ng
                                                                                                                                                                                                                                                                                      a ound was ve y f ust at ng. And the a po t sn't my favo te
                                                                                                                                                                                                                                                                                      place to hang out. I would eally app ec ate any cons de at on
2304823503817   7/23/2019 LMVV3C                      CR/RR              Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                         Company News              Pend ng Catego y              Compla nt          se v cema l, getse v ce.com, fl ght delay/cx compla nt
                                                                                                                                                                                                                                                                                      on you behalf. Thank you n advance fo cons de ng th s
                                                                                                                                                                                                                                                                                       nconven ence. S nce ely,


                                                                                                                                                                                                                                                                                      no elated s
22335483        7/25/2019 PT69ZC                      CR/RR              Lette      Fl ght Delay/Cancel/D ve s on   Delay                         Ove a l Pe fo mance       Rel ab l ty                   Comment/Quest on   t avel agent seek ng comp
                                                                                                                                                                                                                                                                                      no nfo on why fl ght 1348 was delayed 2/18 n OTIS o sw ft




                                                                                                                                                                                                                                                                                                                                           Appx. 146
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                                     Page 147 of 571 PageID 319

                                                                                                                                                                                                                                                                                   Added el pty/no el SR
                                                                                                                                                                                                                                                                                   Refund ng upg aded boa d ng as GOG
                                                                                                                                                                                                                                                                                   Issu ng each pax 50 SLV fo hot cab n
                                                                                                                                                                                                                                                                                   174701390
                                                                                                                                                                                                                                                                                   174701460, The fl ght was cold unt l 25 m nutes befo e land ng,
                                                                                                                                                                                                                                                                                   when the HEATER sta ted blast ng n ou faces, at least n the
                                                                                                                                                                                                                              Pax upset due to AC not wo k ng p ope ly asks f the  f ont th d of the plane. It was so bad that t was ha d to
                                                                                                                                                                                                                              plane was on f e. States wants a efund and a p om se b eathe. The a vent d d not help t was also hot hot a . And
2305085110252   7/30/2019 TAM5LD, TAM5LD           CR/RR          Web Fo m       Onboa d A c aft Expe ence       Cab n Appea ance/Cl mate      Cab n                         B oken Equ pment              Compla nt          to t a n staff to add ess ssues such as th s onboa d the fl ght c ew efused to answe quest ons about t. We we e
                                                                                                                                                                                                                              bette                                                told to tu n off the call l ghts. And have a n ce t me n Aust n
                                                                                                                                                                                                                               out ng due to poss ble b oken ac                    but not a s ngle wo d of acknowledgement o assu ance. Was
                                                                                                                                                                                                                                                                                   the plane on F RE??? Su ely someone could have s mply sa d
                                                                                                                                                                                                                                                                                    I'm so y but the ac has f eaked out nstead of p etend ng no
                                                                                                                                                                                                                                                                                   one was ask ng about the heate . It was l ke the Tw l ght Zone.
                                                                                                                                                                                                                                                                                   Please efund me the $40 fee I pa d fo upg aded boa d ng and
                                                                                                                                                                                                                                                                                   p om se that you w ll t a n you staff to add ess ssues l ke th s
                                                                                                                                                                                                                                                                                   w th mo e than a vap d sm le.
                                                                                                                                                                                                                                                                                    Calle s Name


                                                                                                                                                                                                                                                                                    b.Contact Telephone Numbe


                                                                                                                                                                                                                                                                                    c Contact Ema l Add ess


                                                                                                                                                                                                                                                                                    d.Exp ed PNR O86X82
                                                                                                                                                                                                                              FINAL REISSUE EXPIRED RTF
2305156416145    8/1/2019 O86X82, O86X82           CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request               Comment/Quest on
                                                                                                                                                                                                                              ECS F nal Re ssue
                                                                                                                                                                                                                                                                                    e.Passenge Name (s)


                                                                                                                                                                                                                                                                                    f.O g nal Exp at on Date of Funds 6/19/2019


                                                                                                                                                                                                                                                                                    g Exp ed RTF Balance 182.78

                                                                                                                                                                                                                                                                                    , F nal Re ssue ECS Except on

                                                                                                                                                                                                                                                                                    Cla m No 163935193 PNR O86X82


                                                                                                                                                                                                                                                                                    CS&S t ansfe ---

                                                                                                                                                                                                                                                                                    ALP called n stat ng h s CP s booked unde Contact and not the
                                                                                                                                                                                                                                                                                    Membe account. He ment oned the t ne a y always shows CPA
                                                                                                                                                                                                                                                                                    and he's not su e why. He ment oned he needs to take that off.
                                                                                                                                                                                                                                                                                    I apol and nfo med I'd be happy to co ect howeve , we would
                                                                                                                                                                                                                                                                                    need to decla e h s CP unde he RR Membe account nstead of
                                                                                                                                                                                                                                                                                    he Contact. ALP was not unde stand ng why CPA was show ng
                                                                                                                                                                                                                              Pax upset that h s CP s booked unde he Contact        up. expla ned that the Contact s unde Shannon CPA
2305286346470    8/5/2019 LU HTM                   CR/RR          Phone          Rap d Rewa ds                   Account Info mat on/Updates   Compan on Pass                Des gnate In t al Compan on   Compla nt
                                                                                                                                                                                                                              nstead of Membe                                       Summe sg ll. Advsd aga n can co ect. ALP accepted. Expla ned
                                                                                                                                                                                                                                                                                    he t ne a y unde LUIHTM would cancel off. Pax was not
                                                                                                                                                                                                                                                                                    happy. ment oned not to make any changes as he does not want
                                                                                                                                                                                                                                                                                    CP to ece ve lowe boa d ng fo new book ng. Please don't
                                                                                                                                                                                                                                                                                    count the added change of 08.05.2019 as one change. thanks,
                                                                                                                                                                                                                                                                                    jeanetteCR SR 2305286346470

                                                                                                                                                                                                                                                                                    CP Contact 628426072 --- Name
                                                                                                                                                                                                                                                                                    CP Membe 20544200316 -- Name


                                                                                                                                                                                                                                                                                             states that she was nst ucted to buy 5000pts by one of
                                                                                                                                                                                                                                                                                    ou agents and then t ansfe them to he husband's account to
                                                                                                                                                                                                                                                                                    book held ese vat on T45WRC. When she ca led to book, the
                                                                                                                                                                                                                                                                                    agent sa d that he husband ust needs to pu chase 3000pts and
                                                                                                                                                                                                                                                                                    then booked them on UMERV6. Pax was wonde ng f we could
                                                                                                                                                                                                                                                                                     efund 5000pts she pu chased. Apolog zed fo any
                                                                                                                                                                                                                                                                                    m scommun cat on and adv sed that we would not be able to
                                                                                                                                                                                                                                                                                     efund. Pax unde stood and wanted to commend Jen fo the
                                                                                                                                                                                                                                                                                    help she p ov ded du ng the book ng p ocess. She states that
                                                                                                                                                                                                                                                                                    Jen was ve y p ofess onal and that she app ec ated all of he
                                                                                                                                                                                                                                                                                    help. Thanks, Hannah D             states that she was nst ucted
                                                                                                                                                                                                                                                                                    to buy 5000pts by one of ou agents and then t ansfe them to
                                                                                                                                                                                                                              Pax upset and states that agent adv sed them to       he husband's account to book held ese vat on T45WRC. When
                                                                                                                                                                                                                              pu chase po nts and t ansfe to husband's account      she called to book, the agent sa d that he husband just needs to
2305304428084    8/5/2019 T3MHCE, T45WRC, UMERV6 CR/RR            Phone          Rap d Rewa ds                   Account Info mat on/Updates   Po nts Pu chase               Refund Request                Compla nt
                                                                                                                                                                                                                               nstead of pu chas ng them n husband's account to     pu chase 3000pts and then booked them on UMERV6. Pax was
                                                                                                                                                                                                                              sta t w th                                            wonde ng f we could efund 5000pts she pu chased.
                                                                                                                                                                                                                                                                                    Apolog zed fo any m scommun cat on and adv sed that we
                                                                                                                                                                                                                                                                                    would not be able to efund. Pax unde stood and wanted to
                                                                                                                                                                                                                                                                                    commend Jen fo the help she p ov ded du ng the book ng
                                                                                                                                                                                                                                                                                    p ocess. She states that Jen was ve y p ofess onal and that she
                                                                                                                                                                                                                                                                                    app ec ated a l of he help. Thanks, Hannah D.           states
                                                                                                                                                                                                                                                                                    that she was nst ucted to buy 5000pts by one of ou agents and
                                                                                                                                                                                                                                                                                    then t ansfe them to he husband's account to book held
                                                                                                                                                                                                                                                                                     ese vat on T45WRC. When she called to book, the agent sa d
                                                                                                                                                                                                                                                                                    that he husband just needs to pu chase 3000pts and then
                                                                                                                                                                                                                                                                                    booked them on UMERV6. Pax was wonde ng f we could
                                                                                                                                                                                                                                                                                     efund 5000pts she pu chased. Apolog zed fo any
                                                                                                                                                                                                                                                                                    m scommun cat on and adv sed that we would not be able to
                                                                                                                                                                                                                                                                                    100% ve f ed


                                                                                                                                                                                                                                                                                    Calle s Name
                                                                                                                                                                                                                                                                                    Contact Telephone Numbe
                                                                                                                                                                                                                                                                                    Contact Ema l Add ess
                                                                                                                                                                                                                              F nal Re ssue Exp ed RTF                              Exp ed PNR meoly6
2305319652959    8/5/2019 MEOLY6, MEOLY6           CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request               Comment/Quest on
                                                                                                                                                                                                                              ECS FINAL REISSUE                                     Passenge Name (s)
                                                                                                                                                                                                                                                                                    O g nal Exp at on Date of Funds 08/02/2019
                                                                                                                                                                                                                                                                                    Exp ed RTF Balance 485.18

                                                                                                                                                                                                                                                                                    , ECS FINAL REISSUE

                                                                                                                                                                                                                                                                                 Cla m No 174474831
                                                                                                                                                                                                                                                                                 Pe PNR UTQJ7M (outbound flt), Cust stated CSA, at tkt counte
                                                                                                                                                                                                                                                                                  n BWI, d d not have a clue on the Cuban Ma ket and had to get
                                                                                                                                                                                                                                                                                 someone to help he . Cust stated they checked h s             /the
                                                                                                                                                                                                                                                                                 fathe ) luggage to Cuba and gave ece pt, but wouldn t g ve h m
                                                                                                                                                                                                                                                                                 h s and h s son's BPs fo the connect ng flt f om FLL-HAV b/c
                                                                                                                                                                                                                                                                                 a legedly h s son           was t avel ng w th h m as an Ame ca
                                                                                                                                                                                                                                                                                 c t zen & was told he would need a V sa when he got to FLL.
                                                                                                                                                                                                                                                                                 Cust stated they both flew f om BWI-FLL w/o BPs fo FLL-HAV,
                                                                                                                                                                                                                                                                                 but h s bag was checked th ough to HAV. Cust stated the CSAs,
                                                                                                                                                                                                                                                                                  n BWI, we e ve y ncons stent. Cust stated when he a ved n
                                                                                                                                                                                                                                                                                 FLL, between 11 30am and 3 00pm layove t me), we changed
                                                                                                                                                                                                                                                                                 the gate fo the connect ng f t 3920 about f ve t mes. Flt 3920
                                                                                                                                                                                                                              Wa m Xf F om Level II- Cuba Related Compla nt/Cust was delayed 102 m n, due to Secu ty- elated ssues, pe OTIS &
                                                                                                                                                                                                                              stated CSAs n BWI we e ncons stent w th HAV        C us.
2305335464025    8/6/2019 UP7E5Z, UTQJ7M           CR/RR          Phone          Onboa d A c aft Expe ence       Amen t es/Stowage/Seat ng     Beve ages/Snacks              No Se v ce                    Compla nt
                                                                                                                                                                                                                               nfo/Secu ty Related Delay/No d nk se v ce, due to
                                                                                                                                                                                                                              tu bulence/Gate Change Compla nt                   Cust stated he couldn't eat h s lunch n peace and as a esult of
                                                                                                                                                                                                                                                                                 be ng f ust ated he f lled out h s son's V sa nfo w ong. Cust
                                                                                                                                                                                                                                                                                 stated he f led t out aga n, and unde stands th s s not ou
                                                                                                                                                                                                                                                                                 e o , but he feels we a e a cont but ng facto .
                                                                                                                                                                                                                                                                                 Apolo f ou Cust Se v ce fe l sho t of h s expectat ons and
                                                                                                                                                                                                                                                                                 assu ed h m I would make h s feedback ava lable to ou Sen o
                                                                                                                                                                                                                                                                                 Leade sh p Team. Also assu ed h m we would p ov de a
                                                                                                                                                                                                                                                                                 coach ng oppo tun ty to ou BWI stat on.

                                                                                                                                                                                                                                                                                    Cust also stated on h s etu n flt 3921, unde PNR UP7E5Z, we
                                                                                                                                                                                                                                                                                    d d not p ov de d nk se v ce, b/c of tu bulence. Cust stated he
                                                                                                                                                                                                                                                                                    doesn't bel eve the tu bulence was t uly the eason, because
                                                                                                                                                                                                                                                                                    the WX looked sunny and no mal
                                                                                                                                                                                                                              #8644004- FA showed up late afte p ev ous f t del due
                                                                                                                                                                                                                                                                                    apol to pax, educated pax on what happened, adv th s was not
2305400175441    8/7/2019 SRRHWD                   CR/RR          Soc al Med a   Fl ght Delay/Cancel/D ve s on   Delay                         C ew Sho tage                 Fl ght Attendants             Compla nt          to mx. pax less upset about delay, mo e upset about
                                                                                                                                                                                                                                                                                    typ cal and to please each out to us afte t ne a y s flown on.
                                                                                                                                                                                                                              FA be ng so late caus ng fo late depa tu e
                                                                                                                                                                                                                                                                                    Added RR numbe to PNR, I need to put th s OAK/HNL and
2305499455293   8/10/2019 TN8L7A, TN8L7A, TN8L7A   Rese vat ons   Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR      Comment/Quest on   Needs to add RR numbe to PNR                           etu n on my ewa ds a ea and cannot f gu e out how to do
                                                                                                                                                                                                                                                                                    th s.. ?, n p/n c
                                                                                                                                                                                                                                                                                    F le efe ence 2304279240106

                                                                                                                                                                                                                                                                                    He lo,

                                                                                                                                                                                                                                                                                    So y fo w t ng aga n, but now ou nsu ance also does need a
                                                                                                                                                                                                                                                                                    p oof that no fees and tax we e pa d back by southwest fo ou
                                                                                                                                                                                                                                                                                    noshow fl ght.
                                                                                                                                                                                                                                                                                    I hope you can send us a p oof of that.

                                                                                                                                                                                                                                                                                    Thanks n advance

                                                                                                                                                                                                                                                                                    K nd ega ds,
                                                                                                                                                                                                                              W teback SR 2304279240106
                                                                                                                                                                                                                                                                                                     NRPRTY // RC act ve ghost 20938377434
2305554159554   8/12/2019 V2QN6Y, V2QN6Y, V2QN6Y   CR/RR          Web Fo m       Othe                            CR W teback                   Pax Followup/Documentat on    Gene al Followup              Comment/Quest on   Wants documentat on show ng no fees o taxes we e
                                                                                                                                                                                                                                                                                    me ged to act ve ghost 20949066736, Pax seek ng fu the nfo
                                                                                                                                                                                                                              pa d fo noshow.
                                                                                                                                                                                                                                                                                    fo nsu ance about no-show. PNR V2QN6Y

                                                                                                                                                                                                                                                                                    Due to ule 85 fl ght d dn't no show because of ops on fl ght
                                                                                                                                                                                                                                                                                    2003 t ckets. T ckets ema n n OK status

                                                                                                                                                                                                                                                                                    In elated SR, ep sent out conf mat on that l ght was not taken
                                                                                                                                                                                                                                                                                    and funds we e not ava lable.

                                                                                                                                                                                                                                                                                    Spoke w th TL C ystal. We a e go ng to have the coupons
                                                                                                                                                                                                                                                                                    manually closed (as they a e too old to now access n ARD) and
                                                                                                                                                                                                                                                                                     efund the funds as one t me GOG.

                                                                                                                                                                                                                                                                                    Fl ght 2003 delayed 53 m nutes due to ATC




                                                                                                                                                                                                                                                                                                                                    Appx. 147
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                                                                                                                                                                                                                                                                                          Me ged contact accounts on 20951468495 and 20949066736.
                                                                                                                                                                                                                                                                                          Made app op ate changes., Refe ence # 2305554159554

                                                                                                                                                                                                                                                                                          Thank you so much fo th s one t me except on. And fo you
                                                                                                                                                                                                                                                                                          fast eply.
                                                                                                                                                                                                                                                                                          My husband although d d pay the t cket v a PayPal. So we a e
                                                                                                                                                                                                                                                                                          not su e f the nfo mat on about the c ed t ca d w th the end ng
                                                                                                                                                                                                                                                                                          1641 s co ect.
                                                                                                                                                                                                                                                                                          H s PayPal ema l add ess
                                                                                                                                                                                                                                    W teback fo SR 2305554159554                          If a c ed t ca d s eas e to send t e money back to we can g ve
                            V2QN6Y, V2QN6Y, V2QN6Y,
2305595607329   8/13/2019                           CR/RR            Web Fo m       Othe                            CR W teback                   Pax Followup/Documentat on    Gene al Followup                 Comment/Quest on                                                         you those nfo mat ons.
                            V2QN6Y
                                                                                                                                                                                                                                    Ve fy ng efund FOP
                                                                                                                                                                                                                                                                                          Thank you so much.

                                                                                                                                                                                                                                                                                          All the best f om Aust a

                                                                                                                                                                                                                                                                                                            , Ve f ed the o g nal FOP s Maste Ca d end ng
                                                                                                                                                                                                                                                                                          n 1641. O g nal fulf lment ema l went to
                                                                                                                                                                                                                                                                                          5802268@AIRLINE.KIWI.COM (t avel agent). Adv s ng pax they
                                                                                                                                                                                                                                                                                          w ll need to fo low up w th t avel agent. Send ng to p oof ng.,
                                                                                                                                                                                                                                                                                          w teback fo SR 2305554159554...

                                                                                                                                                                                                                                                                                          1 el pty-same equest d ff t avel. n c, Cla m No 174896391, I
                            KK9VSM, KK9VSM, KK9VSM,                                                                                                                                                                                                                                       would l ke to equest a efund fo the ext a seat that I
2305659855459   8/14/2019                           CR/RR            Web Fo m       Pol c es/P ocedu es             COS Pol cy                    2nd Seat                      Refund Request                   Comment/Quest on   efund 2nd seat COS>
                            KK9VSM                                                                                                                                                                                                                                                        pu chased fo my fl ght f om GSP to JAX on August 10, 2019.
                                                                                                                                                                                                                                                                                          Thank you., unable to f nd funds to efund send to CR

                                                                                                                                                                                                                                                                                          I flew n June befo e chang ng my name w th you. I can't get the
                                                                                                                                                                                                                                                                                           equest past po nts sect on to wo k. My conf mat on numbe
                                                                                                                                                                                                                                                                                          was Q82JAF., In C us, ve f ed the PNR was fo evenue t avel.,
                                                                                                                                                                                                                                                                                          Manually placed po nts n acct.
                                                                                                                                                                                                                                                                                          Add ng 1643 all po nts adju and 2 OD as gog due to
                                                                                                                                                                                                                                                                                          'CDSRT cketNotFound'.
                                                                                                                                                                                                                                                                                          Conf # Q82JAF, Membe s Name
                            Q82JAF, Q82JAF, Q82JAF,                                                                                                                                                                                                                                       c.Membe s RR Numbe 20594404294
2305770974640   8/16/2019                             CR/RR          Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   PFP Request
                            Q82JAF, Q82JAF, Q82JAF                                                                                                                                                                                                                                        d.Contact Telephone Numbe
                                                                                                                                                                                                                                                                                          e.Contact E-Ma l Add ess
                                                                                                                                                                                                                                                                                          f.Flown PNR(s) Q82JAF
                                                                                                                                                                                                                                                                                          g Passenge Name
                                                                                                                                                                                                                                                                                          h.Fl ght Date (s) 6/5/19
                                                                                                                                                                                                                                                                                          ͕ ZĞĐĞ ǀĞĚ ĂŶ Ğ Ž ;^Zd ĐŬĞƚEŽƚ&ŽƵŶĚƵƐ ŶĞƐƐ Ğ Ž
                                                                                                                                                                                                                                                                                           nd cat ng T cket was not found n CDS-R) when equest ng PFP
                                                                                                                                                                                                                                                                                          v a Loyalty , V ewed el ptys.
                                                                                                                                                                                                                                                                                          pax called n due to 60 m n, m ssed bus ness meet ng, no one
                                                                                                                                                                                                                                                                                          commun cated. I apolog zed and thanked h m fo h s loyalty. I
                                                                                                                                                                                                                                    expe enced 60 m n delay, m ssed a wo k meet ng,
2305969562900   8/21/2019 O9437C                      CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance          Compla nt                                                                stated I would be able to ssue h m a 150 slv as a gog g ven the
                                                                                                                                                                                                                                    ze o commun cat on, equest ng comp
                                                                                                                                                                                                                                                                                          poo expe ence. pax thanked me, ve f ed ema l and
                                                                                                                                                                                                                                                                                          d sconnected
                                                                                                                                                                                                                                                                                          He lo,

                                                                                                                                                                                                                                                                                          My husband and I a e tak ng ou f st fl ght togethe us ng h s
                                                                                                                                                                                                                                                                                          compan on pass. The t cket synced eas ly to my southwest
                                                                                                                                                                                                                                                                                          account, but my boa d ng pass does not have TSA p echeck
                                                                                                                                                                                                                                                                                          noted on t wh ch I am el g ble fo . Can I st ll go n the TSA
2306207314000   8/27/2019 MHTP64, MHTP64, MHTP64      Rese vat ons   Web Fo m       A po t Expe ence                Secu ty TSA                   Checkpo nt                    D Inqu y                         Comment/Quest on   Boa d ng pass does not show P eCheck.                 p echeck l ne even though t doesn't say so on my pass? My
                                                                                                                                                                                                                                                                                          known t avele # s tt116x f5.

                                                                                                                                                                                                                                                                                          Thanks,
                                                                                                                                                                                                                                                                                          Sa ah, NRPC, Sea ch n ARD shows name and KTN l sted on PNR
                                                                                                                                                                                                                                                                                          match ng that l sted n TLC.
                                                                                                                                                                                                                                                                                          Boa d ng pass does not show P eCheck.
                                                                                                                                                                                                                                                                                          $100 SLV on 175647657, $100 SLV on 175647657, Added elated
                                                                                                                                                                                                                                                                                          pa ty // No contact accounts // Related SRs added

                                                                                                                                                                                                                                                                                          , Added elated pa ty // No contact accounts // Related SRs
                                                                                                                                                                                                                                                                                          added

                                                                                                                                                                                                                                                                                          , Advo's fo d sc m, no epo ts, Advo's fo d sc m, no epo ts, I
                                                                                                                                                                                                                                                                                          have flown Southwest a l nes fo yea s. I've been A l st
                                                                                                                                                                                                                                                                                          p efe ed fo the last 3 yea s and have ded cated my t avels to
                                                                                                                                                                                                                                                                                          Southwest a l nes. Fo the last 2 yea s I've ea ned my
                                                                                                                                                                                                                                                                                          compan on pass and my w fe and I have ded cated ou t avel
                                                                                                                                                                                                                                                                                          Southwest a l nes. One of the easons I have chosen Southwest
                            PJD7JH, PPT7MA, PJD7JH,                                                                                                                                                                                                                                       to make my bus ness t ps ove mult ple othe a l nes s the
                                                                                                                                                                                                                                    Yog feels that he ece ved d spa ate t eatment when
                            PPT7MA, PJD7JH, PPT7MA,                                                                                                                                                                                                                                       custome se v ce, the f endly staff and the ove all pleasant
2306339249130   8/31/2019                             Advocacy       Web Fo m       Custome Se v ce                 Pe sonnel                     D sc m nat on                 Rel g on                         Compla nt          attempt ng to ca yon on h s two ca yons and a
                            PJD7JH, PPT7MA, PJD7JH,                                                                                                                                                                                                                                       expe ence. Ove the past seve al months, howeve , I have had
                                                                                                                                                                                                                                    ga ment bag.
                            PPT7MA                                                                                                                                                                                                                                                        mult ple bad expe ences and today ce ta nly pushed me ove
                                                                                                                                                                                                                                                                                          my l m t .
                                                                                                                                                                                                                                                                                          Today fl ght 113 f om SMF to DEN, I was check ng n. My f nal
                                                                                                                                                                                                                                                                                          dest nat on was FLL and I knew the e was a chance I would not
                                                                                                                                                                                                                                                                                          make t due to Hu cane Do an/sto ms, and had a chance of
                                                                                                                                                                                                                                                                                          be ng stuck ha fway. I had a wedd ng to attend, so I b ng my
                                                                                                                                                                                                                                                                                          su t n a su t bag. I also had my wo k laptop n my backpack and
                                                                                                                                                                                                                                                                                          because of a poss b l ty of my bag not mak ng t a l the way to
                                                                                                                                                                                                                                                                                          FLL, I had a ca y on. I have done th s plenty of t mes befo e and,
                                                                                                                                                                                                                                                                                           n the past, w th othe a l nes as wellano one has cons de ed my
                                                                                                                                                                                                                                                                                          su t bag wh ch e the hangs n the closet at the f ont, OR folds
                                                                                                                                                                                                                                                                                          and sl des on top of my ca y onawhe e no one elses bag should
                                                                                                                                                                                                                                                                                            e goca
                                                                                                                                                                                                                                                                                          John   n led
                                                                                                                                                                                                                                                                                                    anyw    y Fo bags
                                                                                                                                                                                                                                                                                                        n. The    th s dfl dght
                                                                                                                                                                                                                                                                                                                             notpec
                                                                                                                                                                                                                                                                                                                                a vef cayeste
                                                                                                                                                                                                                                                                                                                                         ly theday
                                                                                                                                                                                                                                                                                                                                                gate
                                                                                                                                                                                                                                                                                                                                                   andagthey
                                                                                                                                                                                                                                                                                                                                                          nt don't
                                                                                                                                                                                                                                                                                          have any clothes. Have spoken w th bags who adv sed to save
                                                                                                                                                                                                                                                                                           ece pts fo e mbu sement and adv sed the e s not a status
                                                                                                                                                                                                                                                                                          update yet. I apolog zed that they we e hav ng to ca l n and the
                                                                                                                                                                                                                                                                                           nconven ence the bag delay s caus ng. adv sed ou people a e
                                                                                                                                                                                                                                                                                          look ng fo t and w l be n contact w th them atleast once a day
                                                                                                                                                                                                                                                                                          o soone when they have news. Adv sed that we cu ently do
                                                                                                                                                                                                                                                                                          not have a scann ng t ack ng system and empath zed w th the
                                                                                                                                                                                                                                                                                          f ust at on. Adv sed I have documented th s as a fo mal
                                                                                                                                                                                                                                                                                          compla nt and ask that they wo k w th bags fo a esolut on and
                                                                                                                                                                                                                                                                                          that they can ca l us back f they a e not sat sf ed. Added h s
                                                                                                                                                                                                                                                                                          numbe to the ema ks n the bag cla m pe h s equest. He was
                                                                                                                                                                                                                                                                                          unde stand ng
                                                                                                                                                                                                                                    m ss ng bags. don't have any clothes and bag s not
2306471487873    9/4/2019 JVGIK3, K52IEH              CR/RR          Phone          Baggage                         Checked                       Lost/Delayed Bag              Inconven enced/Se v ce Fa lu e   Compla nt
                                                                                                                                                                                                                                    located yet                                           bags checked at skycap
                                                                                                                                                                                                                                                                                          09/03/2019 6 38 AM

                                                                                                                                                                                                                                                                                          pu ple 22, gene c

                                                                                                                                                                                                                                                                                                 called n. The bags d d not a ve yeste day and they
                                                                                                                                                                                                                                                                                          don't have any clothes. Have spoken w th bags who adv sed to
                                                                                                                                                                                                                                                                                          save ece pts fo e mbu sement and adv sed the e s not a
                                                                                                                                                                                                                                                                                          status update yet. I apolog zed that they we e hav ng to call n
                                                                                                                                                                                                                                                                                          and the nconven ence the bag delay s caus ng. adv sed ou
                                                                                                                                                                                                                                                                                          people a e look ng fo t and w ll be n contact w th them atleast
                                                                                                                                                                                                                                                                                          once a day o soone when they have news. Adv sed that we
                                                                                                                                                                                                                                                                                          cu ently do not have a scann ng t ack ng system and
                                                                                                                                                                                                                                                                                          empath zed w th the f ust at on Adv sed I have documented
                                                                                                                                                                                                                                                                                          ηϴϳϰϯϴϳϳ ƵƐƚŽŵĞ Ɛ ŚĂŶĚůĞ ĂŶĚ ďĂŐ ǁĂƐ ĚĞŶƚĞĚ͕ Ě ĚŶΖƚ Đ ĞĂƚĞ
                                                                                                                                                                                                                                                                                           epo t
                                                                                                                                                                                                                                    ηϴϳϰϯϴϳϳ ƵƐƚŽŵĞ Ɛ ŚĂŶĚůĞ ĂŶĚ ďĂŐ ǁĂƐ ĚĞŶƚĞĚ͕
2306671006028    9/9/2019 NFOFHY                      CR/RR          Soc al Med a   Baggage                         Checked                       Damaged Bag                   Custome Fa led to Repo t         Comment/Quest on                                                         c eated cou tesy on HDQWN02623204
                                                                                                                                                                                                                                    d dn't c eate epo t
                                                                                                                                                                                                                                                                                           ssued $50 SLV Cla m No 175873213
                                                                                                                                                                                                                                                                                          thanks, Madd e CR
                                                                                                                                                                                                                                                                                          No el pty/no contacts, Passenge s

                                                                                                                                                                                                                                                                                          We d d not show fo th s non- efundable fl ght due to a fam ly
                                                                                                                                                                                                                                                                                          be eavement n the UK. Not expect ng a efund. Ou nsu ance
                                                                                                                                                                                                                                                                                          Company a e equest ng aNo Showa conf mat on to conf m we
2306676374807    9/9/2019 KYQG5U, KYQG5U, KYQG5U      Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts        Comment/Quest on   No show ece pt.
                                                                                                                                                                                                                                                                                          d d not take th s fl ght. Is th s someth ng you can help me w th.

                                                                                                                                                                                                                                                                                          Thank you n ant c pat on                      Pe C us both
                                                                                                                                                                                                                                                                                          Passenge s flew.
                                                                                                                                                                                                                                                                                          CIRRUS SCAN KXPO22 2/25/2019 fl ght also flown.
                                                                                                                                                                                                                                                                                          Ema l ef 2306676374807. Thank you fo send ng ou Fl ght
                                                                                                                                                                                                                                                                                          deta ls. Please can you conf m that we d d not take th s fl ght
2306693120990    9/9/2019 KYQG5U, KYQG5U, KYQG5U      CR/RR          Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence                 Comment/Quest on   Want conf mat on of no show.                          that we we e no shows.
                                                                                                                                                                                                                                                                                          Thank you, efe c fo no show ec ept, el/pty same ssue,
                                                                                                                                                                                                                                                                                          me ged contacts
                                                                                                                                                                                                                                                                                          pax called and stated she was l sted as a nosohw. stated she
                                                                                                                                                                                                                                                                                          flew. stated she sn t su e what happened and f someth ng
                                                                                                                                                                                                                                                                                          we e to happen she would want swa to be bale to not fy fam ly.
                                                                                                                                                                                                                                                                                          also seek ng pts.
2306707530313   9/10/2019 PKZ7QG                      CR/RR          Phone          Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   System P oblems                  Compla nt          pax l sted as no show but she states she flew
                                                                                                                                                                                                                                                                                          called level 3 and spoke w th        she adv she checked he
                                                                                                                                                                                                                                                                                          bag so okay to manually add po nts
                                                                                                                                                                                                                                                                                          base fa e 225.46*6=1353 ( ounded up) manually adjust ng


2307175162674   9/21/2019 JUX7YM, JUX7YM              Rese vat ons   Web Fo m       Baggage                         Ca yon                        Lost/Stolen/M ss ng A t cle   On A c aft                       Comment/Quest on   Lost phone on a fl ght n July                         H weave lost ou Phone on fl ght wn4838. Sunday 21 uly. Can
                                                                                                                                                                                                                                                                                          you help me please? Sc eensave s ou l ttle g l n
                                                                                                                                                                                                                                                                                          sw mm ngpool. Thx n advance!, NRP. NC.
                                                                                                                                                                                                                                                                                          * manually posted 1182 po nts fo PNR S55NXK, Rel Pa ty-D ff
                            S55NXK, S55NXK, S55NXK,
2307218279081   9/22/2019                             CR/RR          Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   PFP Request                                           Iss/NC, T y ng to add S55NXK ese vat on as past po nts and
                            S55NXK
                                                                                                                                                                                                                                                                                          g v ng me an e o on name, Unable to add PFP due to e o
                                                                                                                                                                                                                                                                                          I am unable to do the ea ly b d check n and need to fo both
                                                                                                                                                                                                                                                                                          legs of conf mat on JGV6L4 fo myself and my f ance. Please
                                                                                                                                                                                                                                                                                          ass st as get th s e o message
                                                                                                                                                                                                                                    I am unable to do the ea ly b d check n and need to
                                                                                                                                                                                                                                                                                           Ž ĚĞƚĂ ů ϭ ϳͺŐĨŵ/Đǆ^KƵĚŽWzǌϱǀũyY ĞϯϴϲĚϮĞϴͲϰĐϱϮͲϰϳϮϵͲ
2307234120579   9/23/2019 JGV6L4, JGV6L4              CR/RR          Web Fo m       southwest.com                   P oduct/Funct onal ty         Ea lyB d                      Techn cal D ff cult es           Compla nt          fo both legs of conf mat on JGV6L4 fo myself and
                                                                                                                                                                                                                                                                                          afa9-c9524fb0bf33 400309997, No elated SRs. No elated
                                                                                                                                                                                                                                    my f ance. Please ass st as get th s e o message
                                                                                                                                                                                                                                                                                          contacts.

                                                                                                                                                                                                                                                                                          JGV6L4
                                                                                                                                                                                                                                                                                          Custome has pu chased EB on ound t p.




                                                                                                                                                                                                                                                                                                                                                Appx. 148
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                                                                                                                                                                                                                                                                                   Pax called stat ng that she was ece v ng an e o when us ng the
                                                                                                                                                                                                                                                                                   RTF. The e s an e o when book ng the t cket due to the
                                                                                                                                                                                                                                                                                   exp at on date. apolog zed and adv sed pax that we can book
                                                                                                                                                                                                                                                                                   w th new funds today and then efund the RTF n the amount
                                                                                                                                                                                                                                                                                   used. Th s would leave $24 01 pe pax left. Pax ag eed. Thanks,
                                                                                                                                                                                                                                                                                   Cou tney
                                                                                                                                                                                                                                                                                   , Pax called stat ng that she was ece v ng an e o when us ng
                                                                                                                                                                                                                                                                                   the RTF. The e s an e o when book ng the t cket due to the
                                                                                                                                                                                                                                                                                   exp at on date. apolog zed and adv sed pax that we can book
                                                                                                                                                                                                                                                                                   w th new funds today and then efund the RTF n the amount
                             MAHZIH, OUBKYE, MAHZIH,
2307550553851    10/1/2019                             CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds   How to Redeem             Comment/Quest on   RTF exp at on date e o                                   used. Th s would leave $24 01 pe pax left. Pax ag eed. Thanks,
                             OUBKYE
                                                                                                                                                                                                                                                                                   Cou tney
                                                                                                                                                                                                                                                                                   , P ocessed efunds. Thanks ,Cou tney

                                                                                                                                                                                                                                                                                   Cla m No 166837488
                                                                                                                                                                                                                                                                                   Cla m No 166837466
                                                                                                                                                                                                                                                                                   Cla m No 166837517, P ocessed efunds. Thanks ,Cou tney

                                                                                                                                                                                                                                                                                   Cla m No 166837488
                                                                                                                                                                                                                                                                                   Cla m No 166837466
                                                                                                                                                                                                                                                                                   Cla m No 166837517

                                                                                                                                                                                                                                                                                   I made a m stake when ente ng my m ddle name. I pu
                                                                                                                                                                                                                                                                                   when I should have pu            . How do I co ect that so I
2307700616279    10/4/2019 J9QW8C, J9QW8C              Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o               Comment/Quest on   Need to co ect m ddle name spell ng.
                                                                                                                                                                                                                                                                                   donat have t ouble gett ng th ough secu ty?, no el pty cnts
                                                                                                                                                                                                                                                                                   co ect m ddle name
                                                                                                                                                                                                                                                                                   $100 slv 177094919, CIRRUS NOTES
                                                                                                                                                                                                                                                                                   ^^Z t,Z ͬ,KKWZ >/E
                                                                                                                                                                                                                                                                                   ^^Z t,Z &>> ͬ,KKWZ >/E͕ &>> ĚƵĞ ϭϬͬϮϭ͕ DǇ ϴϱ
                                                                                                                                                                                                                                                                                   yea old fathe was left to s t n the a po t fo 3 hou s, because
                                                                                                                                                                                                                                                                                   the t cket counte would not check h s bag unt l 330 and not a
                                                                                                                                                                                                                                                                                   m nute befo e He wa ted n a wheel cha nea the t cket ng
                                                                                                                                                                                                                                                                                   counte fo those 3 hou s.
                                                                                                                                                                                                                                                                                   at 330 he was allowed to check h s bag, and he ente ed th ough
                                                                                                                                                                                                                                                                                   secu ty to h s gate, whe e h s plane was scheduled to leave at
                                                                                                                                                                                                                                                                                   730. My fathe s bl nd and equ ed ass stance and a
                                                                                                                                                                                                                                                                                   wheelcha . afte a l that t me, not once was he offe ed any
                                                                                                                                                                                                                                                                                    ef eshment, to be taken to the est oom, o anyth ng else, he
                                                                                                                                                                                                                                                                                   was left alone n the gate a ea. At 715 I ece ved a phone ca l
                                                                                                                                                                                                                          Cust upset fl ght Cx fathe had to s t at a po t fo 3 h s
                             QVRQL7, QVRQL7, QVRQL7,                                                                                                                                                                                                                               f om DAV D a southwest employee who nfo med me h s fl ght
2307840140090    10/7/2019                           Advocacy         Web Fo m   D sab l ty Related Se v ces     Se v ces                      Inadequate/No Ass stance      A po t Wheelcha           Compla nt          wa t ng n a wheelcha , fathe s bl nd, no
                             QVRQL7, QVRQL7, QVRQL7                                                                                                                                                                                                                                was canceled and that he was ebooked on a fl ght to DCA Th s s
                                                                                                                                                                                                                           ef eshments offe ed, no est oom ass stance,
                                                                                                                                                                                                                                                                                   a 2 hou d ve f om my fathe s home f om the a po t. I was
                                                                                                                                                                                                                                                                                    nfo med that h s baggage of cou se went to the othe a po t
                                                                                                                                                                                                                                                                                   and afte a v ng at m dn ght, we w l need to nav gate the
                                                                                                                                                                                                                                                                                   baggage cla m se v ce to have the bag del ve ed the follow ng
                                                                                                                                                                                                                                                                                   day. My BLIND and 85 YEAR OLD fathe has been n the a po t
                                                                                                                                                                                                                                                                                   s nce 12 noon, n a wheel cha w th no ass s tance f om
                                                                                                                                                                                                                                                                                   southwest employees and now we have to spend an add t onal
                                                                                                                                                                                                                                                                                   hou n baggage cla ms, and a 2 hou d ve home. I th nk th s s
                                                                                                                                                                                                                                                                                   completely unfo g vable. I w ll NEVER put my fathe on anothe
                                                                                                                                                                                                                                                                                   fl ght w th Southwest a l nes aga n, I w ll neve fly anothe fl ght
                                                                                                                                                                                                                                                                                   on Southwest a l nes aga n.
                                                                                                                                                                                                                                                                                   I expect a e mbu sement, not a c ed t fo th s f asco. and I
                                                                                                                                                                                                                                                                                   expect my fathe to ece ve a phone call apolog z ng fo the
                                                                                                                                                                                                                                                                                   100% VERIFIED


                                                                                                                                                                                                                                                                                  Calle 's Name

                                                                                                                                                                                                                                                                                  b.Membe s Name

                                                                                                                                                                                                                                                                                  c.Membe s RR Numbe         20670534430

                                                                                                                                                                                                                                                                                  d.Contact Telephone Numbe
                                                                                                                                                                                                                          RAPID REWARDS INQUIREY-
2307986989997   10/11/2019 SDTEJC, SDTEJC              CR/RR          Phone      Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts        Comment/Quest on
                                                                                                                                                                                                                          PAST FL GHT POINTS
                                                                                                                                                                                                                                                                                  e.Contact E-Ma l Add ess

                                                                                                                                                                                                                                                                                  f.Flown PNR(s) SDTEJC

                                                                                                                                                                                                                                                                                  g Passenge Name

                                                                                                                                                                                                                                                                                  h.Fl ght Date (s) 10/1 AND 10/9

                                                                                                                                                                                                                                                                                  , SR 2307986989997 Manually add ng po nts fo PNR SDTEJC.
                                                                                                                                                                                                                                                                                  Add ng 6519 fo RT and 2 O&Ds.
                                                                                                                                                                                                                                                                                  pax called n eq comp due to delay. flt 2461 n t ally delayed 26
                                                                                                                                                                                                                                                                                  m ns wh ch would have l kely caused m sconnect. eaccom to flt
2308078265260   10/14/2019 QVRQL7                      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance   Compla nt          eq slv due to delay caus ng m sconnect                  679 wh ch was also delayed 65 m ns howeve would have had
                                                                                                                                                                                                                                                                                  pax a ve at o g scheduled t me. apolo fo nconv and ssued
                                                                                                                                                                                                                                                                                  $75 slv Cla m No 177094919


                                                                                                                                                                                                                                                                                  ARD - sent updated t n to ema l add ess n SR, HI the e my
                                                                                                                                                                                                                                                                                  pa tne & I boked the above fl ghts w th ESky and although we
                                                                                                                                                                                                                                                                                  ente ed ou espect ve Names, DOB and Deta ls etc when we
                                                                                                                                                                                                                                                                                  got the conf mat on, my pa tne s show ng a                 !!!

                                                                                                                                                                                                                                                                                  We have ema led ESky tw ce now as soon as we saw the
                                                                                                                                                                                                                                                                                  conf mat on but they have only acknowledged ema l....not
                                                                                                                                                                                                                                                                                   esponded. We have just not ced that the book ng s now
2308094496148   10/14/2019 PKKPMP, PKKPMP, PKKPMP      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          O g nal Setup             Comment/Quest on   Cust needs to make name co ect on on pn .               conf med w th South West Book ng Numbe and st ll show ng
                                                                                                                                                                                                                                                                                  Lynn Balls

                                                                                                                                                                                                                                                                                  Can you please amend to
                                                                                                                                                                                                                                                                                  You ass stance and conf mat on would be g eatly app ec ated.

                                                                                                                                                                                                                                                                                  Rega ds

                                                                                                                                                                                                                                                                                  447768-696824, no lt pty/cnts


                                                                                                                                                                                                                                                                                  a d- co ected spe l ng of name., H the e
                                                                                                                                                                                                                                                                                  I ema led you ecently to equest changes to my pa tne s
                                                                                                                                                                                                                                                                                  Su name wh ch had been nput as my own at book ng stage w th
                                                                                                                                                                                                                                                                                  ESky.com

                                                                                                                                                                                                                                                                                  I asked you to change the name f om         (my su name) ...to
                                                                                                                                                                                                                                                                                         wh ch s he s.
                                                                                                                                                                                                                          Custome equest ng to co ect the spell ng of last
2308161181364   10/16/2019 PKKPMP, PKKPMP, PKKPMP      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o               Comment/Quest on                                                           Unfo tunately I have just ece ved conf mat on w th the spe l ng
                                                                                                                                                                                                                          name l sted on ese vat on.
                                                                                                                                                                                                                                                                                  nco ect a           !

                                                                                                                                                                                                                                                                                  Could you please u gently amend aga n and econf m my
                                                                                                                                                                                                                                                                                  pa tne s name as

                                                                                                                                                                                                                                                                                  Many Thanks

                                                                                                                                                                                                                                                                                  447768 696824, n p/cnts
                                                                                                                                                                                                                                                                                  146/175 seats occup ed no s m la compla nts n TLC OW base
                                                                                                                                                                                                                                                                                  fa e 111 33 pa tents bo n nn 52 and 67 compla n ng
                                                                                                                                                                                                                                                                                  Custome s nfo mat on s not p esent n the t ne a y hoeve
                                                                                                                                                                                                                                                                                  he d d p ov de the app op ate fl ght deta ls , My pa ents we e
                                                                                                                                                                                                                                                                                  t ave l ng fo the f st t me on Southwest. But the e expe ence
                                                                                                                                                                                                                                                                                  was so te ble that they dont wanna t avel w th Southwest
                                                                                                                                                                                                                                                                                  aga n.

                                                                                                                                                                                                                                                                                  The seats we e so uncomfo table that they sta ted hav ng neck
                                                                                                                                                                                                                          10/28/19 Repo t Due                                     pa n. It was an ea ly mo n ng fl ght and they a e old. No one
                                                                                                                                                                                                                          Cla ms pa ents has neck pa n due to seats be ng         f om the c ew checked w th them f they need anyth ng du ng
                             OIXDD4, O XDD4, OIXDD4,
2308193078080   10/16/2019                             CR/RR          Web Fo m   Onboa d A c aft Expe ence       Amen t es/Stowage/Seat ng     Seat ng Accommodat ons        Seat P tch                Compla nt          uncomfo table. Upset FAs d dn't check on the            the whole fl ght.
                             OIXDD4, O XDD4
                                                                                                                                                                                                                          pa ents du ng the flt. Cla ms we e told they would be
                                                                                                                                                                                                                          cha ged fo coffee o tea.                                They wanted to f nd some comfo t n some hot beve age l ke
                                                                                                                                                                                                                                                                                  tea o coffee, but they we e told that t s by pu chase only. I
                                                                                                                                                                                                                                                                                  was pe plexed by th s and so d sappo nted n Southwest., No
                                                                                                                                                                                                                                                                                  SOPIs found. Please equest epo ts f om Infl ght wo k ng Fl ght
                                                                                                                                                                                                                                                                                  #204 10/16/19 SJC-DEN.

                                                                                                                                                                                                                                                                                  Please oute back to OBI once ece ved. Thanks, K st n x2610,
                                                                                                                                                                                                                                                                                  Requested BWI INF epo ts due 10/28/19, Routed to OBI due to
                                                                                                                                                                                                                                                                                  ment on of expe enced pa n that was not p esent p o to
                                                                                                                                                                                                                                                                                  t avel ng




                                                                                                                                                                                                                                                                                                                                    Appx. 149
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                                                                                                                                                                                                                                                                                            stated that she was unable to use SLV on he cu ent fl ght.
                                                                                                                                                                                                                                                                                            was ssued 4- $100 Vouche s due to a delay on PNR
                                                                                                                                                                                                                                                                                       (SNLPU8) and one of them was fo eclosed the day of t avel
                                                                                                                                                                                                                                                                                       w thout wa n ng. I le       know that I would ssue he a new
                                                                                                                                                                                                                                                                                       vouche that would be ava lable fo anothe yea . Pax was
                                                                                                                                                                                                                                                                                       g ateful that we we e able to get he vouche back. Add t onally
                                                                                                                                                                                                                                                                                       appl ed SLV9182470151613466 was ssued as a f nal except on
                                                                                                                                                                                                                                                                                       f om a exp ed RTF, Pax expected $108 to be appl ed to fa e but
                                                                                                                                                                                                                                                                                       afte e ssue the vouche was only $8. Apolog zed and educated
                                                                                                                                                                                                                                                                                       on RTF F nal Except on.

                                                                                                                                                                                                                                                                                       Cla m No 177217867
                                                                                                                                                                                                                              Pax stated that she was unable to use SLV on he
2308209838041   10/17/2019 OZ4JIL, SNLPU8            CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   SLV                              Re ssue Request                 Compla nt                                                                   Thanks, Came on CR         stated that she was unable to use SLV
                                                                                                                                                                                                                              cu ent fl ght
                                                                                                                                                                                                                                                                                       on he cu ent fl ght        was ssued 4- $100 Vouche s due to a
                                                                                                                                                                                                                                                                                       delay on PNR (SNLPU8) and one of them was fo eclosed the day
                                                                                                                                                                                                                                                                                       of t avel w thout wa n ng. I le     know that I would ssue he
                                                                                                                                                                                                                                                                                       a new vouche that would be ava lable fo anothe yea . Pax was
                                                                                                                                                                                                                                                                                       g ateful that we we e able to get he vouche back. Add t onally
                                                                                                                                                                                                                                                                                       appl ed SLV9182470151613466 was ssued as a f nal except on
                                                                                                                                                                                                                                                                                       f om a exp ed RTF, Pax expected $108 to be appl ed to fa e but
                                                                                                                                                                                                                                                                                       afte e ssue the vouche was only $8. Apolog zed and educated
                                                                                                                                                                                                                                                                                       on RTF F nal Except on.

                                                                                                                                                                                                                                                                                       Cla m No 177217867

                                                                                                                                                                                                                                                                                       Thanks, Came on CR

                                                                                                                                                                                                                                                                                       H the e - St ll Not ece ved amendment to change my pa tne s
                                                                                                                                                                                                                                                                                       Su name spe l ng to       . You ema led to say you had
                                                                                                                                                                                                                                                                                       amended the t cket and we e send ng conf mat on but st l not
                                                                                                                                                                                                                                                                                        ece ved. Please ema l asap as we depa t fo ou t p f om the
                                                                                                                                                                                                                                                                                       UK on Monday next week
2308250141184   10/18/2019 PKKPMP, PKKPMP            Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      It ne a y Rep nt/Rece pts       Comment/Quest on   Rece pt
                                                                                                                                                                                                                                                                                       Thankyou
                                                                                                                                                                                                                                                                                       Rega ds

                                                                                                                                                                                                                                                                                       07768-696824, P ev SRs name co ect ons. Rece pts went to
                                                                                                                                                                                                                                                                                       t avel off ce. esent v a ARD to

                                                                                                                                                                                                                                                                                       ARD, found the pn TB2VKK s show ng conf med. Resent ema l
                                                                                                                                                                                                                                                                                       to                          I booked and pa d fo 2 seats on
                                                                                                                                                                                                                                                                                       th s fl g t t oug  padv so .

                                                                                                                                                                                                                                                                                       On 12 Octobe full payment was taken f om my AMEX ca d and I
                                                                                                                                                                                                                                                                                        ece ved an ema l f om them conf m ng the book ng and
                                                                                                                                                                                                                              Custome s conce ned the 2nd seat he pu chased s
2308300516727   10/19/2019 TB2VKK, TB2VKK, TB2VKK    Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      It ne a y Rep nt/Rece pts       Comment/Quest on                                                            enclos ng et cket Howeve , I have today ece ved an ema l f om
                                                                                                                                                                                                                              st l conf med.
                                                                                                                                                                                                                                                                                       them say ng that my onl ne book ng wasn't completed and I've
                                                                                                                                                                                                                                                                                       seen that the book ng sn t shown on the webs te. I've just
                                                                                                                                                                                                                                                                                       looked on you webs te and the book ng appea s complete. 'm
                                                                                                                                                                                                                                                                                       a b t conce ned about what s go ng on w th TA so, could you
                                                                                                                                                                                                                                                                                       please conf m that you've ece ved payment fo th s book ng
                                                                                                                                                                                                                                                                                       and that the seats a e f mly booked , no el pty, no contacts

                                                                                                                                                                                                                                                                                       Pax seek ng w f efund as she adv sed she d d not pu chase. I
                                                                                                                                                                                                                                                                                       found the w f cha ge and efunded as GOG.

                                                                                                                                                                                                                                                                                       ^ƵĐĐĞƐƐs/^ϯϴϵϱZĞĨƵŶĚϴ͘ϬϬ h^Ϭ͘ϬϬ h^ϭϬͬϮϭͬϮϬϭϵ
                                                                                                                                                                                                                                                                                       2 48
                                                                                                                                                                                                                              Pax seek ng w f efund as she adv sed she d d not         WDϭt/&/tEϮϮϭϯDt'^dhZͺK&ͺ'KKt/>>
2308387420538   10/21/2019 VCSBJV                    CR/RR          Phone      Onboa d A c aft Expe ence    Amen t es/Stowage/Seat ng     W F Pa d                         Dupl cate Cha ges/Rece pt Req   Compla nt
                                                                                                                                                                                                                              pu chase.
                                                                                                                                                                                                                                                                                       Also located vouche that had been ssued by PSC and e ssued
                                                                                                                                                                                                                                                                                       t to pax ema l. She was ve y thankful.

                                                                                                                                                                                                                                                                                       New CO
                                                                                                                                                                                                                                                                                       16155352


                                                                                                                                                                                                                                                                                       no othe s s/contacts, PNR TDFHUV 04Dec MDW 05 25 - SAN
                                                                                                                                                                                                                                                                                       07 55
                                                                                                                                                                                                                                                                                       passenge name 1
                                                                                                                                                                                                                                                                                       2

                                                                                                                                                                                                                                                                                       passenge wants to do name co ect on, pls send us a ema l we
                                                                                                                                                                                                                                                                                       w ll attach passpo t


2308399527858   10/21/2019 TDFHUV, TDFHUV, TDFHUV    Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng             Book ng E o                     Comment/Quest on   name co ect on                                             F st name
                                                                                                                                                                                                                                                                                       - Last name

                                                                                                                                                                                                                                                                                       - F st name
                                                                                                                                                                                                                                                                                       - Last name

                                                                                                                                                                                                                                                                                       please send ema l to suppo t.k @k w .com
                                                                                                                                                                                                                                                                                       we a e look ng fo you eply, thank you, ve f ed ARD/C us

                                                                                                                                                                                                                                                                                       al eady co ected


                                                                                                                                                                                                                                                                                       Fl ght 3323 canceled. Reccom to 2763 DEN to LAX anothe non
                                                                                                                                                                                                                                                                                       stop.

                                                                                                                                                                                                                                                                                       D aled out to pax to not fy he but unable to get n contact.,
                                                                                                                                                                                                                                                                                       He lo, I ece ved a not ce that my fl ght had changed and I now
                                                                                                                                                                                                                                                                                        eal ze I have a layove ...o g nally I d d not have a layove n
                                                                                                                                                                                                                                                                                       between DEN and LAX. My o g nal book ng ema l shows no
                                                                                                                                                                                                                                                                                       layove . Th s s al eady a ve y long day of t avel fo me (I'm fly ng
                                                                                                                                                                                                                                                                                       to NRT Japan afte LAX, I don't want to s t on a plane fo 3 hou s
                                                                                                                                                                                                                                                                                       longe than I o g nally planned!) and I am f ust ated that my
                                                                                                                                                                                                                                                                                       fl ght was changed to have a layove w thout me be ng d ectly
2308445148979   10/22/2019 UTTRH2, UTTRH2            CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   Schedules                     Unexpected Change to It ne a y   Nonstop F t to D ect F t        Compla nt          Pax s upset that he non stop s now a d ect fl ght         nfo med o asked! Also, what I pa d fo was a fl ght f om DEN-
                                                                                                                                                                                                                                                                                       LAX w thout a layove ! Please let me know f I can get any
                                                                                                                                                                                                                                                                                       money back o f you can co ect my fl ght. I th nk h ghly of
                                                                                                                                                                                                                                                                                       Southwest but th s s not acceptable. .I also have someone
                                                                                                                                                                                                                                                                                       t avel ng w th me, he name s Stephan e T an, please let me
                                                                                                                                                                                                                                                                                       know f you can accommodate he as well.

                                                                                                                                                                                                                                                                                       Thank you,


                                                                                                                                                                                                                                                                                       O g nal fl ght #WN 3323
                                                                                                                                                                                                                                                                                       New fl ght #WN 2763

                                                                                                                                                                                                                                                                                       He lo! On May 15, I was schedule to ly f om Columbus to DC
                                                                                                                                                                                                                                                                                       and then on to P ov dence. My fl ght to DC was delayed and I
                                                                                                                                                                                                                                                                                       was put on a fl ght to Ch cago. I ece ved an $100 vouche at the
                                                                                                                                                                                                                                                                                       a po t fo the nconven ence. I ecently moved and lost the
2308470846868   10/23/2019 TDKPQ6, TDKPQ6, TDKPQ6    Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   SLV                              Re ssue Request                 Comment/Quest on   Re ssue vouche .
                                                                                                                                                                                                                                                                                       vouche and was wonde ng f I was able to ece ve the vouche
                                                                                                                                                                                                                                                                                       v a ema l., el pty/contacts - none, sma tcl xx - old c ed t o de
                                                                                                                                                                                                                                                                                       15106983, new c ed t o de 16168035, $100.00 sent to

                                                                                                                                                                                                                                                                                       no el SRs/ptys, no dup accounts
                                                                                                                                                                                                                                                                                       pax o g nally pa d 223 98 fo etu n t p
                                                                                                                                                                                                                                                                                       MBUTO7 - pa d add t onal $127.00
                                                                                                                                                                                                                                                                                       MD9UTZ - pa d add t onal $111.00
                                                                                                                                                                                                                                                                                        ssu ng efund of both as a gog due to med cal eme gency
                                                                                                                                                                                                                                                                                       s tuat on

                                                                                                                                                                                                                                                                                       Cla m No 177461133 - 111
                                                                                                                                                                                                                                                                                       Cla m No 177461062 - 127, no el SRs/ptys, no dup accounts
                                                                                                                                                                                                                                                                                       pax o g nally pa d 223 98 fo etu n t p
                                                                                                                                                                                                                                                                                       MBUTO7 - pa d add t onal $127.00
                                                                                                                                                                                                                                                                                       MD9UTZ - pa d add t onal $111.00
                                                                                                                                                                                                                                                                                        ssu ng efund of both as a gog due to med cal eme gency
                             KHRA5K, MBUTO7, MD9UTZ,                                                                                                                                                                           efund of d ffe ence of fa e due to be ng hosp tal zed   s tuat on
2308510245145   10/24/2019                           CR/RR          Phone      Refunds                      Refund Request                T ckets/Fa es                    Non efundable                   Comment/Quest on
                             QAOZL3                                                                                                                                                                                           fo hea t attack
                                                                                                                                                                                                                                                                                       Cla m No 177461133 - 111
                                                                                                                                                                                                                                                                                       Cla m No 177461062 - 127, no el SRs/ptys, no dup accounts
                                                                                                                                                                                                                                                                                       pax o g nally pa d 223 98 fo etu n t p
                                                                                                                                                                                                                                                                                       MBUTO7 - pa d add t onal $127.00
                                                                                                                                                                                                                                                                                       MD9UTZ - pa d add t onal $111.00
                                                                                                                                                                                                                                                                                        ssu ng efund of both as a gog due to med cal eme gency
                                                                                                                                                                                                                                                                                       s tuat on

                                                                                                                                                                                                                                                                                       Cla m No 177461133 - 111
                                                                                                                                                                                                                                                                                       Cla m No 177461062 - 127, no el SRs/ptys, no dup accounts
                                                                                                                                                                                                                                                                                       pax o g nally pa d 223 98 fo etu n t p
                                                                                                                                                                                                                                                                                       MBUTO7 - pa d add t onal $127.00
                                                                                                                                                                                                                                                                                       MD9UTZ -            t    l $111 00




                                                                                                                                                                                                                                                                                                                                         Appx. 150
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                                                                                                                                                                                                                                                                                      d aled out 619 308 7839 ext 199 and LVM w th my d ect
                                                                                                                                                                                                                                                                                      extens on/ adv I would CB late ega d ng h s expe ence on
                                                                                                                                                                                                                                                                                      fl ght #36, d aled out 619 308 7839 ext 199 spoke to Juan / I adv I
                                                                                                                                                                                                                                                                                      was ca l ng ega d ng #36 that we we e both on and asked f he
                                                                                                                                                                                                                                                                                       eca led c. He adv he d d and thanked me fo the follow-up. I
                                                                                                                                                                                                                                                                                      apol fo the expe ence onboa d and how uncomfo table that
                                                                                                                                                                                                                                                                                      s tuat on was that he had been n fo 3 hou s on a full fl ght. I
                                                                                                                                                                                                                                                                                      offe ed a vouche to b ng h m back fo a bette memo y. Pax
                                                                                                                                                                                                                                                                                      was thankful fo each ng out to h m and accepted. He gave me
                                                                                                                                                                                                                                                                                      h s ema l to send SLV to.


                                                                                                                                                                                                                                                                                   Cla m No 177670162
                                                                                                                                                                                                                             105 m n at delay / st ong odo f om pax onboa d a fu l
                                                                                                                                                                                                                                                                                   $100 slv
2308644173770   10/27/2019 SWE4YE, SWE4YE, SWE4YE      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         A T aff c Cont ol             A val C ty                   Comment/Quest on   3 h fl ght
                                                                                                                                                                                                                                                                                   base $452.73, Wh le I was onboa d #36 on 10/10, the c ew
                                                                                                                                                                                                                             pe ez@abc-ALUMINUM.COM
                                                                                                                                                                                                                                                                                   ment oned a st ong odo com ng f om the couple n the f ont
                                                                                                                                                                                                                                                                                    ow. A l c ew membe s whe e awa e of the odo f ll ng up the
                                                                                                                                                                                                                                                                                   f ont sect on of the plane and the uncomfo table expe ence the
                                                                                                                                                                                                                                                                                   pax (Juan) s tt ng next to the couple obv ously appea ed to be
                                                                                                                                                                                                                                                                                   hav ng. Juan ema ned calm and d d not compla n the ent e
                                                                                                                                                                                                                                                                                   fl ght. The fl ght was booked completely full and was also
                                                                                                                                                                                                                                                                                   delayed 105 m n due to ATC n a/c ea l e out ng.

                                                                                                                                                                                                                                                                                      The couple ment oned we e constantly gett ng up f om the
                                                                                                                                                                                                                                                                                      seat to equest wate , use the est oom, and et eve tems f om
                                                                                                                                                                                                                                                                                      the ove head b n, add ng to the uncomfo table expe ence fo
                                                                                                                                                                                                                                                                                      Juan n the a sle seat fo a 3 h l ght.

                                                                                                                                                                                                                                                                                      Altea added passpo t nfo, Contacts 20958612861 o
                                                                                                                                                                                                                                                                                      20978634375 me ged, HI DEAR
                                                                                                                                                                                                                                                                                        CAN YOU HELP ME TO CHANGE PASSPORT IMFORMATION?
                                                                                                                                                                                                                                                                                        THE PASSAGER CHANGE A NEW PASSPORT,SO NEED U HELP
                                                                                                                                                                                                                                                                                      TO CHANGE PASSPOR IMFORMATIONS,TKS A LOT!
2308679797300   10/28/2019 NJXE3O, N XE3O, NJXE3O      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                  Comment/Quest on   Custome equest passpo t nfo be updated.
                                                                                                                                                                                                                                                                                        WN 2837 05NOV LAX-LAS NAME QIN/TONG BOOKING NO.
                                                                                                                                                                                                                                                                                      NJXE3O,THE NEW MFORMATION NO.EH5956031, DATE OF
                                                                                                                                                                                                                                                                                      EXPIRY 22OCT29.
                                                                                                                                                                                                                                                                                        THANK YOU!!
                                                                                                                                                                                                                                                                                        BEST REGARDS!!

                                                                                                                                                                                                                                                                                      RR# not n es, Hello,
                                                                                                                                                                                                                             po nts fo booked es
                             QIMKXS, QIMKXS, QIMKXS,
2308717316136   10/28/2019                             Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR     Comment/Quest on                                                            I t ed to add my ewa ds ID to my oundt p fl ght but I do not
                             QIMKXS, QIMKXS
                                                                                                                                                                                                                                                                                      see t eflected on my account. Does th s usually take a wh le?,
                                                                                                                                                                                                                             pfp
                                                                                                                                                                                                                                                                                      no othe s s/contacts, pfp added successfully, tweaked ve b age
                                                                                                                                                                                                                                                                                      ARD t avel funds status PNR V97BX6, NR funds ava lable
                                                                                                                                                                                                                                                                                      $508.98. Funds Exp e 26OCT20, Name
                                                                                                                                                                                                                                                                                      CIRRUS PNR V97BX6 was made on 10/26/2019 at 1045pm and
                                                                                                                                                                                                                                                                                      was cancelled on 10/28/2019 at 316pm mo e than 24 hou s,
                                                                                                                                                                                                                                                                                      C eated SR 2308766751177 to me ge accounts
                             V97BX6, V97BX6, V97BX6,                                                                                                                                                                         I cance led my fl ght and I was not g ven an opt on fo   Rap d Rewa ds Account to Keep 1071045522, Rap d Rewa ds
2308739628214   10/29/2019                             Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds   Ve fy Funds                  Comment/Quest on
                             V97BX6, V97BX6                                                                                                                                                                                  a efund. I would l ke a efund.                           Account to Delete 20759375593
                                                                                                                                                                                                                                                                                      , I canceled th s fl ght and booked anothe . In the past when
                                                                                                                                                                                                                                                                                      cancel ng one had the opt on of select ng efund o T avel
                                                                                                                                                                                                                                                                                      Funds th s t me you automat cally gave me T avel Funds. I
                                                                                                                                                                                                                                                                                      would l ke a REFUND, please. Thank you!, No Rel pty, contacts
                                                                                                                                                                                                                                                                                      RR dupl cate accounts
                                                                                                                                                                                                                                                                                      PAX ca led n an stated that all 4 t ckets l sted below a e
                                                                                                                                                                                                                                                                                      unautho zed and she has al eady made a epo t to he c ed t
                                                                                                                                                                                                                                                                                      ca d company. PAX wanted passenge nfo mat on fo t cket and
                                                                                                                                                                                                                                                                                      I adv sed he we would not be able to elease that nfo mat on.
                                                                                                                                                                                                                                                                                      All t ckets have been t aveled. I adv sed PAX the nfo mat on has
                                                                                                                                                                                                                                                                                      been documented and she stated the pol ce may call fo elease
                                                                                                                                                                                                                                                                                      of the nfo mat on, so I adv sed he that when they call we have
                                                                                                                                                                                                                                                                                      a depa tment to send them to so they can Subpoena the
                                                                                                                                                                                                                                                                                       eco ds. PAX unde stood and w ll follow up w th cc company.


                                                                                                                                                                                                                                                                                 5262130271192
                                                                                                                                                                                                                                                                                 5262127750006
                             J2SIRC, K8U2RV, KPON66,                                                                                                                                                                         PAX called to adv se us of unautho zed cha ges made 5262129346351
2308752543748   10/29/2019                             CR/RR          Phone      Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Account Secu ty              Comment/Quest on
                             U26O75                                                                                                                                                                                          to cc to pu chase seve al SW a plane t ckets        5262130463594
                                                                                                                                                                                                                                                                                 , PAX called n an stated that a l 4 t ckets l sted below a e
                                                                                                                                                                                                                                                                                 unautho zed and she has al eady made a epo t to he c ed t
                                                                                                                                                                                                                                                                                 ca d company. PAX wanted passenge nfo mat on fo t cket and
                                                                                                                                                                                                                                                                                 I adv sed he we would not be able to elease that nfo mat on.
                                                                                                                                                                                                                                                                                 All t ckets have been t aveled. I adv sed PAX the nfo mat on has
                                                                                                                                                                                                                                                                                 been documented and she stated the pol ce may call fo elease
                                                                                                                                                                                                                                                                                 of the nfo mat on, so I adv sed he that when they call we have
                                                                                                                                                                                                                                                                                 a depa tment to send them to so they can Subpoena the
                                                                                                                                                                                                                                                                                  eco ds. PAX unde stood and w ll follow up w th cc company.


                                                                                                                                                                                                                                                                                      5262130271192
                                                                                                                                                                                                                                                                                      5262127750006

                                                                                                                                                                                                                                                                                      HI DEAR
                                                                                                                                                                                                                                                                                        I HAVE RECEIVED YOUR E-MAIL(SR#2308679797300),ABOUT
                                                                                                                                                                                                                                                                                      HELP ME TO CHANGE PASSPORT INFORMATION,TKS SO MUCH!
                                                                                                                                                                                                                                                                                        BUT NOW,I JUST TO RECONFIRM PASSENGER'S PASSPORT
                                                                                                                                                                                                                                                                                      INFORMATIOMS ALLRAEDY TO BE CHANGED. THE NEW
2308769859546   10/29/2019 NJXE3O, N XE3O              Rese vat ons   Web Fo m   Othe                            SR Inqu es                    CS&S W teback                 Pax Fo lowup/Documentat on   Comment/Quest on   WB f om s 2308679797300
                                                                                                                                                                                                                                                                                      PASSPORT NO. S
                                                                                                                                                                                                                                                                                         CAN YOU EMA L HE FILE FOR ME TO                    ?
                                                                                                                                                                                                                                                                                         THANK YOU VERY MUCH.
                                                                                                                                                                                                                                                                                         SINCERELY., n p/ cts me ged/ PNR NJXE3O has been
                                                                                                                                                                                                                                                                                      subm tted fo Re-Issue.n p/cts me ged/

                                                                                                                                                                                                                                                                                      D aled out to pax and expla ned to h m that t was a typo and
                                                                                                                                                                                                                                                                                      that the SLV was only val d fo $200. He gave some pushback so
                                                                                                                                                                                                                                                                                      I adv sed that I would ssue h m out an add t onal 200 SLV to
                                                                                                                                                                                                                                                                                      hono what the SLV sa d t was wo th. PAX was ve y thankful fo
                                                                                                                                                                                                                                                                                      the help.

                                                                                                                                                                                                                                                                                      On th s ca l I also conve ted h s account to a membe account
                                                                                                                                                                                                                                                                                      and gave h m h s RR # and expla ned to h m how to set t up.

                                                                                                                                                                                                                                                                                      Cla m No 177766850, I ece ved a southwest luv vouche
                                                                                                                                                                                                                                                                                      follow ng an ssue w th a seve ely delayed fl ght on the above
                                                                                                                                                                                                                                                                                      l sted day. I have the vouche n hand and t clea ly eads $400
                                                                                                                                                                                                                                                                                      value, howeve when I attempt to edeem the vouche onl ne t
                             KZMLOX, KZMLOX, KZMLOX,                                                                                                                                                                                                                                   s only show ng a value of $200. I need th s esolved ASAP, as I
2308837454914   10/31/2019                           CR/RR            Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   SLV                           Balance Inqu y               Compla nt          PAX states h s SLV says $400 on t
                             KZMLOX, KZMLOX, KZMLOX                                                                                                                                                                                                                                   am t y ng to book fl ghts fo the hol day t me pe od. I can
                                                                                                                                                                                                                                                                                      attach a photo of the vouche upon equest. Vouche numbe
                                                                                                                                                                                                                                                                                       s 9182470151578511., n p / n s , Pax called back and I adv. h m
                                                                                                                                                                                                                                                                                      that E leen would h m sho tly. Thanks Hal/CR, Pax called n
                                                                                                                                                                                                                                                                                      about th s. He was cu ous f we had ece ved the dox n
                                                                                                                                                                                                                                                                                      quest on. I eached out to E leen, and she adv she ece ved dox,
                                                                                                                                                                                                                                                                                      but needed to speak w tl. I was su e to neve p om se the
                                                                                                                                                                                                                                                                                      add t onal $200 slv to pax. I expla ned IF we we e able to hono
                                                                                                                                                                                                                                                                                      an e oneous SLV p nt ng, t would be an add t onal SLV. I adv f
                                                                                                                                                                                                                                                                                      the e was someth ng he had h s eye on to book, he should go
                                                                                                                                                                                                                                                                                      ahead and get t. I expla ned we would be call ng back th s
                                                                                                                                                                                                                                                                                      afte noon. He thanked me, and we d sconnected, PAX states h s
                                                                                                                                                                                                                                                                                      SLV says $400 on t. D aled out but numbe d d not wo k. Adv
                                                                                                                                                                                                                                                                                      h m n w t ng to send a p c to swac ema l to my attent on and a
                                                                                                                                                                                                                                                                                      Pax called n upset because of a 2h 43m n delay, and s
                                                                                                                                                                                                                                                                                        equest ng comp..

                                                                                                                                                                                                                                                                                      Apolog zed to pax , and stated t wa due to MX easons and
                                                                                                                                                                                                                                                                                      stated that she was g ven vouche s at the a po t fo the hotels,
2308863844964    11/1/2019 RYXDA7                      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance      Compla nt          MX Delay                                                 and was told to call us fo fl ght vouche s

                                                                                                                                                                                                                                                                                      I adv pax ll ssue a 150.00SLV fo the delay. Pax thanked me and
                                                                                                                                                                                                                                                                                      accepted

                                                                                                                                                                                                                                                                                      Cla m No 177752887

                                                                                                                                                                                                                                                                                      H , My pa tne an I a e v s t ng Hawa .
                                                                                                                                                                                                                                                                                      My pa tne just made a ese vat on fo the fl ght nd cated
                                                                                                                                                                                                                                                                                      above, but ente my deta ls on nat onal ty as F ench. As I'm a
                                                                                                                                                                                                                                                                                      dual c t zen F ench and Aust al an ( newly acqu ed), I would
                                                                                                                                                                                                                                                                                      l ke to amend the nat onal ty as Aust al an, as I plan to t avel
                                                                                                                                                                                                                                                                                      w th my aust al an passpo t, not the F ench one and I planned
                                                                                                                                                                                                                                                                                      to ente US w th my aust al an passpo t, not the F ench one.
2308917942927    11/2/2019 NVJAQP, NVJAQP, NVJAQP      Rese vat ons   Web Fo m   A po t Expe ence                Secu ty- Inte nat onal        Customs Checkpo nt            D Inqu y                     Comment/Quest on   Needs to ed t passpo t nfo                               My quest on s can I amend the nat onal ty now?
                                                                                                                                                                                                                                                                                      O can t avel on a domest c fl ght w th my f ench passpo t and
                                                                                                                                                                                                                                                                                      ente US w th my aust al an one?
                                                                                                                                                                                                                                                                                      What should I do?
                                                                                                                                                                                                                                                                                      Many thanks, no el pty/contacts, nvjaqp-checked pn - t s fo
                                                                                                                                                                                                                                                                                      one-way nte - sland t avel no
                                                                                                                                                                                                                                                                                      passpo t nfo ente ed n pn no s t needed
                                                                                                                                                                                                                                                                                        an ema l & ema l f om the PNR n c us-no othe PNRs found


                                                                                                                                                                                                                                                                                            was call ng on behalf on h s f nance's t avel c ed t. Pax s
                                                                                                                                                                                                                                                                                      want ng to fly 10 days afte exp date and wanted to see about
                                                                                                                                                                                                                                                                                      hav ng funds extended. Apol and expla ned we a e unable to
                                                                                                                                                                                                                                                                                      p ov de ext wh le funds a e act ve. Pax ment oned los ng $100 f
2308982031315    11/4/2019 NSFAL3                      CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request              Compla nt          equest to extend tf                                      t exp es. Adv sed pax o of 6 mo e ssue except on and that we
                                                                                                                                                                                                                                                                                      a e unable to make th s except on p o to funds exp ng. Pax
                                                                                                                                                                                                                                                                                      asked fo any wo ka ound fo th s. Apol and adv sed f we had
                                                                                                                                                                                                                                                                                      othe opt ons I would offe t to h m but that n th s nstance we
                                                                                                                                                                                                                                                                                      d dn't have anothe opt on to p ov de.




                                                                                                                                                                                                                                                                                                                                        Appx. 151
          Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                             Page 152 of 571 PageID 324




                                                                                                                                                                                                                                                                           C us/ added flt deta ls MFDAX4 found by name, compl ment
                                                                                                                                                                                                                                                                           fo Sa ah, SW # 128394, Yad a @ SOS
                                                                                                                                                                                                                                                                           , C us/ added f t deta ls MFDAX4 found by name, compl ment
                                                                                                                                                                                                                                                                           fo Sa ah, SW # 128394, Yad a @ SOS
                                                                                                                                                                                                                                                                           , I want to acknowledge and compl ment Sa ah, SW # 128394 , at
                                                                                                                                                                                                                                                                           BWI A po t fo he wonde ful se v ce and suppo t of me on
                                                                                                                                                                                                                                                                           11/11/19. I was t avel ng home at the end of a 13 day
                                                                                                                                                                                                                                                                           bus ness/pe sonal t p and I encounte ed a s gn f cant challenge
                                                                                                                                                                                                                                                                            ega d ng my t ckets on t avel day. My company had booked my
                                                                                                                                                                                                                                                                           t cket us ng an onl ne se v ce that equ ed me to fly WN 1492 @
                                                                                                                                                                                                                                                                           9 35p connect ng to WN 3174 @ 5 00a, afte a 4 hou ove n ght
                                                                                                                                                                                                                                                                           layove n the Denve a po t.

                                                                                                                                                                                                                      Compl ment A po t/Custome Se v ce Expe ence fo       I d scove ed th s on the afte noon of my t avel and mmed ately
2309460112844   11/15/2019 MFDAX4, MFDAX4, MFDAX4 Execut ve Off ce    Web Fo m   Custome Se v ce              Pe sonnel                     Hosp tal ty                   P ofess onal sm          Compl ment
                                                                                                                                                                                                                      Sa ah and Yad a                                      contacted Southwest v a phone to ect fy my t cket s tuat on.
                                                                                                                                                                                                                                                                           Iam an ep lept c and Ive actually had se zu es on SW fl ghts n
                                                                                                                                                                                                                                                                           the past, and fo my med cal cond t on I always book d ect
                                                                                                                                                                                                                                                                           fl ghts to avo d extended pe ods n a so as not to bu den the
                                                                                                                                                                                                                                                                           fl ght expe ence of you c ews and othe passenge s. I often fly
                                                                                                                                                                                                                                                                           WN 2552 f om BWI-SAN, and my assumpt on was I was on WN
                                                                                                                                                                                                                                                                           2552, and to my su p se I was not. Southwest custome se v ce
                                                                                                                                                                                                                                                                           offe ed no opt on but to pay a $500 cost d ffe ence n p ce to
                                                                                                                                                                                                                                                                           fly d ect o cont nue w th my scheduled fl ghts. I was also
                                                                                                                                                                                                                                                                           adv sed t was up to the SouthWest counte at BWI to ass st me
                                                                                                                                                                                                                                                                           any fu the beyond pay ng the add t onal cost.

                                                                                                                                                                                                                                                                           I a ved at the a po t and afte speak ng w th Sa ah ega d ng
                                                                                                                                                                                                                                                                           my hea th c cumstance she mmed ately sought to help me
                                                                                                                                                                                                                                                                           Co ected DOB and Gende n PNR
                                                                                                                                                                                                                                                                           as booked on 18/NOV19., I have etu n fl ghts. 4 Dec SMF-GEG, 9
                                                                                                                                                                                                                      Request ng to co ect gende and date of b th on       Dec GEG-SMF.
2309530338469   11/17/2019 RICTGS, RICTGS, RICTGS      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Book ng E o              Comment/Quest on
                                                                                                                                                                                                                       ese vat on.                                         I want to co ect gende and date of b th as below.
                                                                                                                                                                                                                                                                           m - ms
                                                                                                                                                                                                                                                                                                     NRPC
                                                                                                                                                                                                                                                                           Dea

                                                                                                                                                                                                                                                                           K ndly p ov de a full efund back to the same ca d used fo the
                                                                                                                                                                                                                                                                           book ng due to the m l ta y schedule by the passenge , as a
                                                                                                                                                                                                                      Un elated SR (Handed out w ong SR to Pax on the
                                                                                                                                                                                                                                                                            esu t, the passenge could not use the ese vat on due to
2309542238617   11/18/2019 TALO69, TALO69              CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence         Compla nt          Phone 2309553338519) // M l ta y Fa e Ref. Req. //
                                                                                                                                                                                                                                                                           m l ta y ass gnment fo the fl ght DEN - MCI - TALO69. Thank
                                                                                                                                                                                                                      No-Show
                                                                                                                                                                                                                                                                           you., Wh le on the phone w th anothe custome , I acc dentally
                                                                                                                                                                                                                                                                           handed out the w ong SR numbe . If pax s call ng n to have
                                                                                                                                                                                                                                                                           usab l ty of funds used afte he last name changed, please efe
                                                                                                                                                                                                                                                                           to SR 2309553338519

                                                                                                                                                                                                                                                                           Dea Team,

                                                                                                                                                                                                                                                                           K ndly p ov de full efund fo the th s t cket because passenge
2309542658625   11/18/2019 TABV9H, TABV9H              CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Catast oph c Event       Comment/Quest on   NO SHOW - m l ta y                                   was ca led fo m l ta y duty MCI - DEN - TABV9H.
                                                                                                                                                                                                                                                                           Please efund back to the same ca d used fo the book ng, no
                                                                                                                                                                                                                                                                            elated pa t es/SRS
                                                                                                                                                                                                                                                                           NO SHOW- m l ta y
                                                                                                                                                                                                                                                                            efunds p oject
                                                                                                                                                                                                                                                                           pax d d not send n suff c ent dox show ng that they could not
                                                                                                                                                                                                                                                                           make the fl ght o able to call n to cancel.
                                                                                                                                                                                                                                                                           Please contact the pax and ask fo suff c ent dox.
                                                                                                                                                                                                                       efunds p o ect
2309601133947   11/19/2019 TABV9H, TALO69              CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence         Comment/Quest on                                                        -Zach CR, efunds p o ect
                                                                                                                                                                                                                      su f c ent dox not p ov ded
                                                                                                                                                                                                                                                                           pax d d not send n suff c ent dox show ng that they could not
                                                                                                                                                                                                                                                                           make the fl ght o able to call n to cancel.
                                                                                                                                                                                                                                                                           Please contact the pax and ask fo suff c ent dox.

                                                                                                                                                                                                                                                                           -Zach CR
                                                                                                                                                                                                                                                                           I want to co ect my passpo t numbe as below.
2309650996568   11/20/2019 TIYDKS, TIYDKS              Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          O g nal Setup            Comment/Quest on   Request to ed t the passpo t
                                                                                                                                                                                                                                                                                                            n p/ctcs
                                                                                                                                                                                                                                                                           Manually add ng PFP and O&D fo one way PNR LC4OJ4 due to
                                                                                                                                                                                                                                                                           e o w th PFP tab not add ng the po nts. Ve f ed pax t aveled
2309653133687   11/21/2019 LC4OJ4                      CR/RR          Phone      Rap d Rewa ds                Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts       Comment/Quest on   PFP Request.
                                                                                                                                                                                                                                                                           and all nfo matches. $89.00bf*6=534.00(Rounded 534)
                                                                                                                                                                                                                                                                           SR2309653133687 Thank you Cha sma.
                                                                                                                                                                                                                                                                           Suff c ent dox ece ved
2309727837708   11/23/2019 MCPO89                      CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Catast oph c Event       Comment/Quest on   WGA NO SHOW                                          Cla m No 178564135
                                                                                                                                                                                                                                                                           Cla m No 178564180
                                                                                                                                                                                                                                                                           ARD PNR #NCFSTM shows tvl SFO th u PHX to ELP , I am t y ng
                                                                                                                                                                                                                                                                           to add my passpo t deta l to the fl ght above. I have a
                                                                                                                                                                                                                                                                           connect on fl ght f om sanf anc sco to phoen x then elpaso
                                                                                                                                                                                                                                                                           texas.
2309771261841   11/24/2019 NCFSTM, NCFSTM, NCFSTM      Rese vat ons   Web Fo m   southwest.com                P oduct/Funct onal ty         Usab l ty                     Techn cal D ff cult es   Comment/Quest on   Cust nqu ng whe e to add passpo t nfo.
                                                                                                                                                                                                                                                                           I had o g nally booked th ough k w .com

                                                                                                                                                                                                                                                                           Whe e can I add my passpo t deta ls?, n p/ctcs me ged ghost
                                                                                                                                                                                                                                                                            nto membe acct,
                                                                                                                                                                                                                                                                           dox nsuff c ent fo pn TALO69
                                                                                                                                                                                                                                                                           dates do not l ne up w th date of depa tu e, dox nsuff c ent fo
                                                                                                                                                                                                                                                                           pn TALO69
                                                                                                                                                                                                                                                                           dates do not l ne up w th date of depa tu e, dox we e suff c ent
                             TABV9H, TALO69, TABV9H,
2309879367737   11/27/2019                             CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence         Comment/Quest on   ECS No Show                                          fo PNR TABV9H
                             TALO69, TABV9H, TALO69
                                                                                                                                                                                                                                                                           Cla m No 178703950, dox we e suff c ent fo PNR TABV9H
                                                                                                                                                                                                                                                                           Cla m No 178703950, Sent ema l to PAX adv s ng dox a e
                                                                                                                                                                                                                                                                            nsuff c ent fo PNR TALO69., Sent ema l to PAX adv s ng dox a e
                                                                                                                                                                                                                                                                            nsuff c ent fo PNR TALO69.
                                                                                                                                                                                                                                                                           Calle s Name


                                                                                                                                                                                                                                                                           b.Contact Telephone Numbe


                                                                                                                                                                                                                                                                           c Contact Ema l Add es


                                                                                                                                                                                                                                                                           d.Exp ed PNR uclm75

2309881586079   11/27/2019 UCLM75, UCLM75              CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request          Comment/Quest on   f nal e ssue exp ed tf
                                                                                                                                                                                                                                                                           e.Passenge Name (s)


                                                                                                                                                                                                                                                                           f.O g nal Exp at on Date of Funds 25nov19


                                                                                                                                                                                                                                                                           g Exp ed RTF Balance 175.63

                                                                                                                                                                                                                                                                           , uclm75
                                                                                                                                                                                                                                                                           Cla m No 165984053 PNR UCLM75
                                                                                                                                                                                                                                                                           f nal 6 month extens on . AMY CR
                                                                                                                                                                                                                                                                           PNR V3XZNU, 15Dec BOI - PHX
                                                                                                                                                                                                                                                                           passenge name
2310074698868    12/2/2019 V3XZNU                      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Book ng E o              Comment/Quest on   name co ect on                                       passenge wants to do name co ect on
                                                                                                                                                                                                                                                                           F st name
                                                                                                                                                                                                                                                                           Last name                          s
                                                                                                                                                                                                                                                                           Buenos dA                         ENTE conoce s ex ste una
                                                                                                                                                                                                                                                                           comp a a m nomb e                            pa a esa
                                                                                                                                                                                                                                                                           fecha con los s gu entes detalles
                                                                                                                                                                                                                                                                           O lando (FL) a San JosA
                                                                                                                                                                                                                                                                           Sal da
                                                                                                                                                                                                                                                                           06 40 , 18 ene. 2020 (sAb.)

                                                                                                                                                                                                                                                                           O lando (FL) , O lando , Estados Un dos , ( MCO )

                                                                                                                                                                                                                                                                           Llegada
                                                                                                                                                                                                                                                                           07 50 , 18 ene. 2020 (sAb.)

                                                                                                                                                                                                                                                                           M am (FL) , Fo t Laude dale Inte nat onal A po t , Estados
                                                                                                                                                                                                                                                                           Un dos , ( FLL )
2310091558737    12/3/2019 SH26CK, SH26CK, SH26CK      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          O g nal Setup            Comment/Quest on   Wants to know f he has act ve ese vat on.


                                                                                                                                                                                                                                                                           Ae olAnea Southwest A l nes

                                                                                                                                                                                                                                                                           Vuelo NA 3276

                                                                                                                                                                                                                                                                           Clase Economy

                                                                                                                                                                                                                                                                           Du ac An del vuelo 1 h 10 m n

                                                                                                                                                                                                                                                                           Sal da
                                                                                                                                                                                                                                                                           10 00 , 18 ene. 2020 (sAb.)

                                                                                                                                                                                                                                                                           M am (FL) Fo t Laude dale Inte nat onal A po t Estados




                                                                                                                                                                                                                                                                                                                               Appx. 152
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                                                                                                                                                                                                                                                                                        122/143 seats occup ed a ved 2 m nutes ea l e than o g nally
                                                                                                                                                                                                                                                                                        scheduled no notes n c us she also compla ned about he
                                                                                                                                                                                                                                                                                        bag be ng d ty an hou afte th s SR was ece ved- sent to CBS
                                                                                                                                                                                                                                                                                        no s m la compla nts n TLC f om othe s about the onboa d
                                                                                                                                                                                                                                                                                        odo of ssue w th FA 1 CVS sco e , based on custome 's
                                                                                                                                                                                                                                                                                        compla nt and class f cat on h e a chy - e out ng to OBI s nce
                                                                                                                                                                                                                                                                                        pax cla med the e was an odo onboa d, No SOPIs found. Please
                                                                                                                                                                                                                                                                                          equest Infl ght epo ts fo FLT# 3164 between SMF-DEN on
                                                                                                                                                                                                                                                                                        12/3/2019. Once epo ts a e ece ved, please oute to OBI
                                                                                                                                                                                                                                                                                        queue fo handl ng. Thanks!, Request ng DEN INF epo ts due
                                                                                                                                                                                                                                 Pax states cab n had odo l ke spo led m lk. Also upset 12/12/19, UQ8AQU f t 3164 smf den 12/3. Loc aga nst Employee
                          UQ8AQU, UQ8AQU,
                                                                                                                                                                                                                                 w th sc eam ng bab es onboa d as we l as ude FA who pe cust pe cept on. OW base $158.98., Usua ly I p efe fly ng
2310121816814   12/4/2019 UQ8AQU, UQ8AQU,          CR/RR              Web Fo m   Onboa d A c aft Expe ence       Cab n Appea ance/Cl mate      Cab n                         Odo                              Compla nt
                                                                                                                                                                                                                                 th ew snacks at Custome s and took d nk f om pax       southwest but not afte th s fl ght. When I got on the plane t
                          UQ8AQU, UQ8AQU
                                                                                                                                                                                                                                 befo e he was f n shed                                 smelt l ke spo led m lk o m ldew. Then the e we e sc eam ng
                                                                                                                                                                                                                                                                                        bab es (I know not the a l nes fau t but maybe some could be
                                                                                                                                                                                                                                                                                        l m ted) but the wo st pa t was the ude fl ght attendant. She
                                                                                                                                                                                                                                                                                        seemed SO ANNOYED ALL THE T ME. She was a blonde lady who
                                                                                                                                                                                                                                                                                        constantly seemed to hate he job. Th ew snacks at eve yone
                                                                                                                                                                                                                                                                                        and ye led at me to f n sh my d nk, and then took t half full and
                                                                                                                                                                                                                                                                                        th ew t away nstead of just lett ng me f n sh t (I always take
                                                                                                                                                                                                                                                                                        my t ash, not su e why that was a ule, my t ay table was up and
                                                                                                                                                                                                                                                                                        eve yth ng she was just on one. .) I unde stand t was a late
                                                                                                                                                                                                                                                                                        fl ght and she p obably had a long day but so d d eve yone
                                                                                                                                                                                                                                                                                        else... eally d sappo nted and so exc ted to get off th s fl ght.


                                                                                                                                                                                                                                                                                        My bag s pped and f lthy and Iave only used t tw ce. Really
                                                                                                                                                                                                                                                                                        f ust ated w th how bad my bag came out f lthy and pped. t
                                                                                                                                                                                                                                                                                        was only a qu ck fl ght but so much damage was done. I have
                                                                                                                                                                                                                                                                                        p ctu es of t I can send, n p/s
2310122358763   12/4/2019 UQ8AQU, UQ8AQU           CR/RR              Web Fo m   Baggage                         Checked                       Damaged Bag                   To n/D agged/So led              Compla nt          bag was d ty and pped upon a val
                                                                                                                                                                                                                                                                                        - epo ted ema l w th n 4h w ndow
                                                                                                                                                                                                                                                                                        -mak ng nc dent epo t, and send ng nfo mat on to CBS T cket
                                                                                                                                                                                                                                                                                        #205C4-ED9CF
                                                                                                                                                                                                                                                                                        can you please add th s fl ght to my R.R. # 20865365533, No el
2310143855646   12/4/2019 LA3WZS, LA3WZS           Rese vat ons       Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts               Comment/Quest on   Pax would l ke to add a fl ght to a RR account.
                                                                                                                                                                                                                                                                                        pty/No contacts.
                                                                                                                                                                                                                                                                                        pax eq compensat on and explanat on fo canceled fl ght. I
                                                                                                                                                                                                                                                                                        apolog zed to pax and offe ed $50 00 SLV. Pax asked f he could
                                                                                                                                                                                                                                                                                        get any mo e fo h s nconven ence. I apolog zed and adv that
                                                                                                                                                                                                                                                                                        s nce t was an ATC cancelat on and t was out of ou hands the
2310146816323   12/5/2019 NM8I8E                   CR/RR              Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on                  A T aff c Cont ol             Reaccom Same Day                 Compla nt          eq compensat on fo canceled fl ght
                                                                                                                                                                                                                                                                                        most I would be able to ssue was $50. Pax accepted and was
                                                                                                                                                                                                                                                                                        app ec at ve.

                                                                                                                                                                                                                                                                                        Cla m No 178978333
                                                                                                                                                                                                                                                                                        I was just wonde ng f the e was any way to get the gal's name
                                                                                                                                                                                                                                                                                        that checked me n at the Las Vegas a po t? Not only d d she
                                                                                                                                                                                                                                                                                        help me when I had a ve y tough mo n ng t y ng to get to Reno
                                                                                                                                                                                                                                 Request ng the name of the Agent that checked them
                                                                                                                                                                                                                                                                                        fo my son's college g aduat on, she was ve y k nd as I was an
                                                                                                                                                                                                                                  n. She was ve y k nd and helpful. The Agent's son had
2310190987847   12/5/2019 PJ4SEV                   Execut ve Off ce   Web Fo m   Custome Se v ce                 Pe sonnel                     Hosp tal ty                   P ofess onal sm                  Compl ment                                                                emot onal w eck. I found out he son had left that mo n ng to
                                                                                                                                                                                                                                 left to jo n the m l ta y and she would l ke to do
                                                                                                                                                                                                                                                                                        jo n the m l ta y and I eally want to do someth ng n ce fo he .
                                                                                                                                                                                                                                 someth ng n ce fo he .
                                                                                                                                                                                                                                                                                        Thanks!



                                                                                                                                                                                                                                                                                        K ndly p oceed w th full efund back to o g nal fo m of payment
2310204967798   12/6/2019 N94SNA                   CR/RR              Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                        Unable to Reaccom                Compla nt          Refund equest because fl ght was cance led by SWA
                                                                                                                                                                                                                                                                                        as fl ght was cance led.
                                                                                                                                                                                                                                                                                        He lo team,

                                                                                                                                                                                                                                                                                        We would l ke to apply fo a full efund back to c ed t ca d used
                                                                                                                                                                                                                                                                                        fo the pu chase, fo the escheduled fl ght DAL - BOS -
                                                                                                                                                                                                                                                                                        TQ7BV4,4 Dec, 19 55 - 00 30, fo passenge
                                                                                                                                                                                                                                                                                                                                  Please p ocess the
2310205760608   12/6/2019 TQ7BV4, TQ7BV4           CR/RR              Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Compla nt          WGA No Show - Unawa e of No Show                        efund back to c ed t ca d xx-0611.

                                                                                                                                                                                                                                                                                        Ema l used fo the book ng 92515258@a l ne.k w .com

                                                                                                                                                                                                                                                                                        Thank you.
                                                                                                                                                                                                                                                                                        K w com, No el SRs // No el pty // Funds n TQ7BV4 we e
                                                                                                                                                                                                                                                                                        fo fe ted unde no show pol cy //
                                                                                                                                                                                                                                                                                        bag was del ve ed the same day that pax a ved
                                                                                                                                                                                                                                                                                        Issu ng 100 slv as gog, CVS Sco e 1 plane
                                                                                                                                                                                                                                                                                        Membe S nce 3/20/2014
                                                                                                                                                                                                                                                                                        T e Status None
                                                                                                                                                                                                                                                                                        L fet me Po nts 45,803
                                                                                                                                                                                                                                                                                        Ca d Holde No
                                                                                                                                                                                                                                                                                        Compan on Pass No
                                                                                                                                                                                                                                                                                        Base Fa e $45
                                                                                                                                                                                                                                                                                        No el s / pty

                                                                                                                                                                                                                                                                                        Pax s upset about h s delayed baggage caus ng h m to m ss h s
                                                                                                                                                                                                                                                                                        best f end's wedd ng

                                                                                                                                                                                                                                 Pax s ve y upset about delayed luggage caus ng h m to Located nc dent epo t MBJWN02701339
2310241881551   12/7/2019 WC5RED, WC5RED, WC5RED CR/RR                Web Fo m   Baggage                         Checked                       Lost/Delayed Bag              Inconven enced/Se v ce Fa lu e   Compla nt
                                                                                                                                                                                                                                 m ss h s best f end's wedd ng                         Pax landed at 11 27AM
                                                                                                                                                                                                                                                                                       Rema ks n nc dent epo t show Date 11/29/2019 15 06
                                                                                                                                                                                                                                                                                       Stat on WN MBJ Agent x19151 Gene al Rema k
                                                                                                                                                                                                                                                                                       Close Rema k
                                                                                                                                                                                                                                                                                       Bags a ved n MBJ and w ll be sent out fo del ve y. BSO Amel a

                                                                                                                                                                                                                                                                                        ** out ng to nte nat onal fo handl ng/ thx Shea/CR, I was
                                                                                                                                                                                                                                                                                        t avel ng to Jama ca fo one of my best f ends wedd ng wh ch I
                                                                                                                                                                                                                                                                                        was n. My luggage was taken off the plane wh ch had my su t n
                                                                                                                                                                                                                                                                                         t. Needless to say I wasnat able to attend the wedd ng because
                                                                                                                                                                                                                                                                                        I d dnat ece ve my luggage unt l late that n ght. Iave neve been
                                                                                                                                                                                                                                                                                        so emba assed n my l fe. Iave been loyal ap d ewa ds
                                                                                                                                                                                                                                                                                        membe fo yea s but th s s tuat on he e eally has put a bad
                                                                                                                                                                                                                                                                                        taste n my mouth to th nk about fly ng Southwest n the
                                                                                                                                                                                                                                                                                        Passenge was not able to take fl ght due to a med cal
                                                                                                                                                                                                                                                                                        eme gency. Please p oceed w th a poss ble efund., Pax sent n
2310265524147   12/8/2019 J7O59P, J7O59P, J7O59P   CR/RR              Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence                 Compla nt          efund equest
                                                                                                                                                                                                                                                                                        dox n F ench used google t anslate fo dox. Refunded 152.98
                                                                                                                                                                                                                                                                                        Cla m No 179420324 PNR J7O59P, equested dox fo noshow

                                                                                                                                                                                                                                                                                        106/143 seats occup ed a ved 2 m nutes ea l e than
                                                                                                                                                                                                                                                                                        scheduled no notes n c us noth ng elated n CR one SOPIs
                                                                                                                                                                                                                                                                                         ece ved OW base fa e 83 42, I am f l ng a compla nt about a
                                                                                                                                                                                                                                 12/17/19 Repo t Due                                    sexual assau t on the plane. I was s tt ng next to a man and he
2310290848333   12/9/2019 UT6VR7, UT6VR7           CR/RR              Web Fo m   Onboa d A c aft Expe ence       Onboa d Expe ence             Safety (Passenge s)           O fens ve Behav o                Compla nt          Pax adv sed man put h s hand on he leg w thout         put h s hand my leg w th out my pe m ss on o consent. I moved
                                                                                                                                                                                                                                 pe m ss on o consent                                   to a d ffe ent seat w th out nfo m ng a fl ght attendant but afte
                                                                                                                                                                                                                                                                                        I got off the plane I d d nfo m one of the fl ght attendants on
                                                                                                                                                                                                                                                                                        what happened. I bel eve that th s should be st essed o talked
                                                                                                                                                                                                                                                                                        about to people fly ng.

                                                                                                                                                                                                                                                                                        I booked some t ckets th ough esky found t on google the fl ght
                                                                                                                                                                                                                                                                                        was supposed to leave aust n TX and go to las vegas well got
                                                                                                                                                                                                                                                                                        my t ckets and t says t was booked f om san f anc sco CA, to las
                                                                                                                                                                                                                                                                                        vegas NV, a l want to do s change the people go ng and change
                                                                                                                                                                                                                                                                                        the fl ght to leave f om aust n tx to las vegas nv, ve got no help
                                                                                                                                                                                                                                 pax used exte nal pa ty to book t ckets th ough SWA,
2310318293203   12/9/2019 QTUU98, QTUU98, QTUU98 CR/RR                Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                      Compla nt                                                                 f om the book ng company ve t ed ca l ng southwest and they
                                                                                                                                                                                                                                 stat ng t s w ong c ty pa s
                                                                                                                                                                                                                                                                                        told me to ema l on the s ght someone please help me f x th s.,
                                                                                                                                                                                                                                                                                        no el pty, no el s .
                                                                                                                                                                                                                                                                                        Rout ng to Spec al Handl ng - standa d text has SHQ nd cato .,
                                                                                                                                                                                                                                                                                        PNR QTUU98 - booked onl ne 12/5/2019
                                                                                                                                                                                                                                                                                        WGA fa e


                                                                                                                                                                                                                                                                                        D aled out to                - unable to get n touch w th the pax,
                                                                                                                                                                                                                                                                                        left VM adv s ng to each back out to us. Afte fu the esea ch, I
                                                                                                                                                                                                                                                                                        located a few PNRs w th some exchanges that we e made &
                                                                                                                                                                                                                                                                                        some RTFs that exp ed, but othe s that a e st ll val d unt l
                                                                                                                                                                                                                                                                                        4/20/20. Unsu e f that s what pax s each ng out about, but f
                                                                                                                                                                                                                                                                                        so & f you' e a b l ngual ep - please handle to complet on. If
                                                                                                                                                                                                                                                                                        not, please t ansfe to b l ngual l ne., D aled out to              -
                                                                                                                                                                                                                                                                                        unable to get n touch w th the pax, left VM adv s ng to eac
                                                                                                                                                                                                                                                                                        back out to us. Afte fu the esea ch, I located a few PNRs w th
                                                                                                                                                                                                                                 SPANISH Pax each ng out about poss ble RTFs that       some exchanges that we e made & some RTFs that exp ed, but
2310320978926   12/9/2019 WOX56S, WOX6VX, WQ3S8R CR/RR                Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request                  Comment/Quest on
                                                                                                                                                                                                                                 exp ed                                                 othe s that a e st ll val d unt l 4/20/20. Unsu e f that s what pax
                                                                                                                                                                                                                                                                                         s each ng out about, but f so & f you' e a b l ngual ep - please
                                                                                                                                                                                                                                                                                        handle to complet on. If not, please t ansfe to b l ngual l ne.,
                                                                                                                                                                                                                                                                                        D aled out to                - unable to get n touch w th the pax,
                                                                                                                                                                                                                                                                                        left VM adv s ng to each back out to us. Afte fu the esea ch, I
                                                                                                                                                                                                                                                                                        located a few PNRs w th some exchanges that we e made &
                                                                                                                                                                                                                                                                                        some RTFs that exp ed, but othe s that a e st ll val d unt l
                                                                                                                                                                                                                                                                                        4/20/20. Unsu e f that s what pax s each ng out about, but f
                                                                                                                                                                                                                                                                                        so & f you' e a b l ngual ep - please handle to complet on. If
                                                                                                                                                                                                                                                                                        not, please t ansfe to b l ngual l ne.




                                                                                                                                                                                                                                                                                                                                           Appx. 153
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                                                                                                                                                                                                                                                                                    PNR PUACJJ

                                                                                                                                                                                                                                                                                    G na TA nqu n g why pax had t ne a y change to fly on 12/8
                                                                                                                                                                                                                                                                                    nstead of 12/7

                                                                                                                                                                                                                                                                                    12/7 f t cx 7 10 AM on 12/7 COP wn 5 m n befo e f t

                                                                                                                                                                                                                                                                                    hotl ne Dom

                                                                                                                                                                                                                                                                                    ϵϬ͘ϴϳ

                                                                                                                                                                                                                                                                                    cop wn d s upt on t ansfe , was done n FLL
                                                                                                                                                                                                                                                                                    DCS sync ng ssue
                                                                                                                                                                                                                             G na TA nqu ng why pax was eaccommed to next           could have been someth ng not mpo tant enough fo us to
2310323877923   12/10/2019 PUACJJ                    CR/RR          Phone      Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me          Comment/Quest on
                                                                                                                                                                                                                             day on PNR PUACJJ                                      know about that
                                                                                                                                                                                                                                                                                    looks l ke the e we e ope at onal ssues, g ound ops

                                                                                                                                                                                                                                                                                    we can pull epo ts

                                                                                                                                                                                                                                                                                    he checked n day befo e and unass gned by gate agent at FLL,
                                                                                                                                                                                                                                                                                    maybe he wasn't at the gate?

                                                                                                                                                                                                                                                                                    apol to TA and adv dk what happened but t was someth ng
                                                                                                                                                                                                                                                                                    ope at onal, asked f pax adv he of what happened at a po t,
                                                                                                                                                                                                                                                                                    TA d d not know, I adv I'll ssued each pax $100 SLV as GOG, TA
                                                                                                                                                                                                                                                                                    thanked me and d sconnected

                                                                                                                                                                                                                                                                                            $100 SLV     GOG f              h    l    h     5

                                                                                                                                                                                                                                                                                    Th s fl ght was cancelled and the e we e no a te nat ve opt ons
                                                                                                                                                                                                                                                                                    fo me to t avel to Los Angeles on fl ght numbe 382

                                                                                                                                                                                                                                                                                    As such I was also unable to t avel back on the etu n fl ght
                                                                                                                                                                                                                                                                                    numbe 1286 depa t ng f om LAX at 18 10 on Monday 2nd Dec.

                                                                                                                                                                                                                             Refund equest of t avel due to mult ple of ATC         Please nd cate how I may ece ve a efund fo both t ckets
2310365025807   12/10/2019 LOR2NG, LOR2NG            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  A T aff c Cont ol                Unable to Reaccom           Comment/Quest on   cancelat ons n SFO. Unable to fly on flts pax was      (totall ng 395 Eu o), Tkt 5262146228703 s st l n an OK status
                                                                                                                                                                                                                              eaccom to.                                            F t 382 cxld due to ATC
                                                                                                                                                                                                                                                                                    F t 1286 cxld due to ATC
                                                                                                                                                                                                                                                                                    Reaccom to flt 8834/1278 n wh ch pax d d not fly on
                                                                                                                                                                                                                                                                                    Refunded $$234.98 OFOP 7633 n A tea
                                                                                                                                                                                                                                                                                    Refunded $167 98 n RefundP o as t d d not efund n A tea,
                                                                                                                                                                                                                                                                                    OFOP 7633
                                                                                                                                                                                                                                                                                    See Cla m No 179162205


                                                                                                                                                                                                                                                                                    co ected name pe equest, h , I need to change my name. I
                                                                                                                                                                                                                                                                                    acc dentally ente ed my su name            tw ce.
                                                                                                                                                                                                                                                                                    my co ect f st name
2310391666818   12/11/2019 OFJBMD, OFJBMD, OFJBMD    Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Book ng E o                 Comment/Quest on   name co ect on
                                                                                                                                                                                                                                                                                    last name            .
                                                                                                                                                                                                                                                                                    please espond as soon as poss ble. Thank you., no el
                                                                                                                                                                                                                                                                                    pty/contacts
                                                                                                                                                                                                                                                                                    Pax called n to get comp'd fo delay due to unscheduled MX,
                                                                                                                                                                                                                                                                                    says she was told by p ev ep we would ssue $200 SLVs,
                                                                                                                                                                                                                                                                                    conf med delays and ssued $200 SLVs as GOG, pax thanked and
                                                                                                                                                                                                                                                                                    d sconnected
2310400430471   12/12/2019 QFWGAC                    CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                       Unscheduled Ma ntenance     Compla nt          Pax called to make compla nt about fl ght delay
                                                                                                                                                                                                                                                                                    Cla m No 179215602
                                                                                                                                                                                                                                                                                    Cla m No 179215681
                                                                                                                                                                                                                                                                                    Cla m No 179215740
                                                                                                                                                                                                                                                                                    A l ne K w - 84754615@a l ne.k w .com // s m la to
                                                                                                                                                                                                                                                                                    getse v ce.com

                                                                                                                                                                                                                                                                                    2 PAX - PNR s n No Show Status ($133.98), Dea Team,

                                                                                                                                                                                                                                                                                    I would l ke to ask you fo efund due to med cal efund. We
                                                                                                                                                                                                                             AIR KIWI EMA L Request ng efund due to med cal,
                                                                                                                                                                                                                                                                                    we e not able to take the fl ght. Please p ov de us add ess
2310479791943   12/13/2019 WE377D, WE377D, WE377D CR/RR             Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable               Comment/Quest on   ask ng whe e to send a med cal ce t f cate. PNR s n no
                                                                                                                                                                                                                                                                                    whe e to subm t a med cal ce t f cate. Thank you, luz elena,
                                                                                                                                                                                                                             show status
                                                                                                                                                                                                                                                                                    Rece ved suff c ent documentat on attached to SR.




                                                                                                                                                                                                                                                                                    Cla m No 179785218
                                                                                                                                                                                                                                                                                    Cla m No 179785233
                                                                                                                                                                                                                                                                                    Cla m No 181151958 PNR WDECXN

                                                                                                                                                                                                                                                                                    docs ec eved, Dea Southwest team,

                                                                                                                                                                                                                                                                                   the passenge could not take the fl ght due to med cal ssues,
                           WDECXN, WDECXN,                                                                                                                                                                                    eq efund due to pax unable to t avel due to med cal, the passenge has leukem e, we have a val d med cal ce t f cate
2310482568623   12/13/2019                           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Catast oph c Event          Compla nt
                           WDECXN                                                                                                                                                                                            no show                                               f om h m.

                                                                                                                                                                                                                                                                                    K nd ega ds,
                                                                                                                                                                                                                                                                                    K w com, n p/s

                                                                                                                                                                                                                                                                                    t cket no showed
                                                                                                                                                                                                                                                                                    HOW DO I ARRANGE FOR CHECKED BAGGAGE AND A SEAT?
2310495010540   12/13/2019 WO6QD8, WO6QD8            Rese vat ons   Web Fo m   Baggage                         Checked                       Gu del nes                       Max/M n T me to Check Bag   Comment/Quest on   checked bag and seat ass gn
                                                                                                                                                                                                                                                                                    BTW, WHY SN'T THAT TAKEN CARE OF AT THE INITIAL
                                                                                                                                                                                                                                                                                    PURCHASE?, n p-n c
                                                                                                                                                                                                                                                                                    C us Located UA2NB6 us ng name and t avel deta ls. Not
                                                                                                                                                                                                                                                                                    enough to ve fy., C us Located UA2NB6 us ng name and t avel
                           UA2NB6, VXKTB5, UA2NB6,                                                                                                                                                                                                                                  deta ls. Not enough to ve fy., H . I am unable to et eve my
2310495327497   12/13/2019 VXKTB5, UA2NB6, VXKTB5,   Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E T cket/Res dual Tvl Funds      It ne a y Rep nt/Rece pts   Comment/Quest on   Unable to et eve ese vat on                            appl cat on based on the efe ence numbe s., H . I am unable to
                           UA2NB6, VXKTB5                                                                                                                                                                                                                                            et eve my appl cat on based on the efe ence numbe s.,
                                                                                                                                                                                                                                                                                    Inte nat onal phone numbe , Inte nat onal phone numbe ,
                                                                                                                                                                                                                                                                                    n p/n c, n p/n
                                                                                                                                                                                                                                                                                    Calle 's Name
                                                                                                                                                                                                                                                                                    Contact Telep one Numbe
                                                                                                                                                                                                                                                                                    PNR ( f except on s due to dupl cate, nclude dupl cate PNR)
                                                                                                                                                                                                                                                                                    QGZU7M
                                                                                                                                                                                                                                                                                    Passenge name(s) and t cket numbe (s)

                                                                                                                                                                                                                                                                                    T avel Date 14DEC19
                                                                                                                                                                                                                                                                                    Scheduled Depa tu e T me (HH MM) 6 30 AM
                                                                                                                                                                                                                                                                                    C ty Pa s DEN SEA
                                                                                                                                                                                                                                                                                    It ne a y cancellat on t mestamp
                                                                                                                                                                                                                                                                                    Agent ID ( f Passenge unchecked)
                                                                                                                                                                                                                                                                                    If Custome subm tt ng docs, l st type
                                                                                                                                                                                                                                                                                    PAX CALLED STATED THAT THEY HAD ANOTHER FLIGHT ON
                                                                                                                                                                                                                             NO SHOW                                                ANOTHER AIRLINE FROM B LLINGS MONTANA TO DEN. THIS PNR
2310499470323   12/14/2019 QGZU7M, QGZU7M            Rese vat ons   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence            Comment/Quest on
                                                                                                                                                                                                                             ECS No Show                                            WAS THEIR CONNECTION FLIGHT DEN TO SEA. THEIR FLIGHT
                                                                                                                                                                                                                                                                                    FROM BILLINGS MONTANA CANCELLED DUE TO FOG. I ADV PAX
                                                                                                                                                                                                                                                                                    THAT THIS WN FLIGHT 2170 FROM DEN TO SEA DEPARTED ON
                                                                                                                                                                                                                                                                                    TIME. ADV OF POLICY UP TO 10 MIN TO CANCEL FLIGHT TO
                                                                                                                                                                                                                                                                                    RECEIVE A FULL TICKET PRICE CREDIT FOR FUTURE TRAVEL. ADV
                                                                                                                                                                                                                                                                                    NO SHOW AND FUNDS ARE FORFEITED. PAX ASK TO SUBMIT
                                                                                                                                                                                                                                                                                    REQUEST BECAUSE HE DID NOT KNOW THE POLICY

                                                                                                                                                                                                                                                                                    PAX REQUESTED A REFUND BECAUSE IT WASN T H S FAULT
                                                                                                                                                                                                                                                                                    THAT H S FLIGHT ON ANOTHER AIRLINE FROM BILLINGS
                                                                                                                                                                                                                                                                                    MONTANA TO DEN WAS CANCELLED DUE TO FOG , Unable to
                                                                                                                                                                                                                                                                                    p ocess efund equest due to no documentat on. Membe s
                                                                                                                                                                                                                                                                                    not AL/ALP the efo e one t me t e except on does not apply. If
                                                                                                                                                                                                                                                                                                   tt t       t t SW     h               t t     t
                                                                                                                                                                                                                                                                                    I pu chased my fl ght t cket by an Issun ng Agent, but now my
                                                                                                                                                                                                                                                                                    agenda changed. So I'm wonde ng may I cancel my fl ght t cket
                                                                                                                                                                                                                             wants to know f he could change fl ghts fo the 28th    o change to anothe t me?, Reached out to M Yang and
2310564071307   12/15/2019 KSIVKH, KSIVKH            CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             System Cancellat on         Comment/Quest on
                                                                                                                                                                                                                             to the 29 of dec                                       expla ned how to change fl ghts on swa.com and f ts at a h ghe
                                                                                                                                                                                                                                                                                     ate he w ll need to pay nc ease o f ts a lowe ate he w ll
                                                                                                                                                                                                                                                                                    have t avel c ed t. He unde stood and thanked me.
                                                                                                                                                                                                                                                                                    Adv about RTF, H , I plan to change to my fl ght due to the
                                                                                                                                                                                                                                                                                    change of agenda. I want to change nto the fl ght on 30th Dec,
                                                                                                                                                                                                                                                                                    fl ght numbe #1600. Howeve , th s new fl ght cost less than the
2310581106003   12/15/2019 KSIVKH, KSIVKH            CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      How to Redeem               Comment/Quest on   RTF quest on
                                                                                                                                                                                                                                                                                    o g nal t cket I bought th ough an ssu ng agent. So I am
                                                                                                                                                                                                                                                                                    wonde ng whethe the c ed ts o m leage efund w ll etu n to
                                                                                                                                                                                                                                                                                    the ssu ng agent's account?
                                                                                                                                                                                                                                                                                    Add ess ng all PNRs she p ov ded

                           K5CXPN, MILE8X, N6HYP7,                                                                                                                                                                                                                                  June 2017       Conf mat on # ZXX8AG             got po nts
                           Q5O7R2, RE7Q8I, SCDZMT,                                                                                                                                                                                                                                  Novembe 2017 Conf mat on # N6HYP7                  edempt on
                           UJ8BOZ, UT7DTL, V7BPE7,                                                                                                                                                                                                                                  Janua y 2018 Conf mat on MILE8X                   edempt on
                           ZXX8AG, K5CXPN, MILE8X,                                                                                                                                                                                                                                  Ap l 2018        Conf mat on UT7DTL               edempt on
                           N6HYP7, Q5O7R2, RE7Q8I,                                                                                                                                                                                                                                  May 2018        Conf mat on # SCDZMT              edempt on
                           SCDZMT, UJ8BOZ, UT7DTL,                                                                                                                                                                                                                                  Jul 2018       Conf mat on K5CXPN                compan on
                           V7BPE7, ZXX8AG, K5CXPN,                                                                                                                                                                                                                                  August 2018 Conf mat on # RE7Q8I                   edempt on
                           MILE8X, N6HYP7, Q5O7R2,                                                                                                                                                                                                                                  Dec 2018        Conf mat on Q5O7R2                edempt on
                           RE7Q8I, SCDZMT, UJ8BOZ,                                                                                                                                                                                                                                  July 2019      Conf mat on # UJ8BOZ              edempt on
                           UT7DTL, V7BPE7, ZXX8AG,                                                                                                                                                                                                                                  Jan 2020      Conf mat on # V7BPE7               evenue
                           K5CXPN, MILE8X, N6HYP7,                                                                                                                                                                                                                                  upcom ng
                           Q5O7R2, RE7Q8I, SCDZMT,                                                                                                                                                                           WB SR 2310600643372                                    , Add ess ng all PNRs she p ov ded
2310610458902   12/16/2019                           CR/RR          Web Fo m   Othe                            CR W teback                   D sag ees/Rema ns Upset          Inaccu ate Info P ov ded    Compla nt
                           UJ8BOZ, UT7DTL, V7BPE7,                                                                                                                                                                           Pax d sag ees w th nfo p ov ded
                           ZXX8AG, K5CXPN, MILE8X,                                                                                                                                                                                                                                  June 2017       Conf mat on # ZXX8AG             got po nts
                           N6HYP7, Q5O7R2, RE7Q8I,                                                                                                                                                                                                                                  Novembe 2017 Conf mat on # N6HYP7                  edempt on
                           SCDZMT, UJ8BOZ, UT7DTL,                                                                                                                                                                                                                                  Janua y 2018 Conf mat on MILE8X                   edempt on
                           V7BPE7, ZXX8AG, K5CXPN,                                                                                                                                                                                                                                  Ap l 2018        Conf mat on UT7DTL               edempt on
                           MILE8X, N6HYP7, Q5O7R2,                                                                                                                                                                                                                                  May 2018        Conf mat on # SCDZMT              edempt on
                           RE7Q8I, SCDZMT, UJ8BOZ,                                                                                                                                                                                                                                  Jul 2018       Conf mat on K5CXPN                compan on
                           UT7DTL, V7BPE7, ZXX8AG,                                                                                                                                                                                                                                  August 2018 Conf mat on # RE7Q8I                   edempt on
                           K5CXPN, MILE8X, N6HYP7,                                                                                                                                                                                                                                  Dec 2018        Conf mat on Q5O7R2                edempt on
                           Q5O7R2, RE7Q8I, SCDZMT,                                                                                                                                                                                                                                  July 2019      Conf mat on # UJ8BOZ              edempt on
                           UJ8BOZ, UT7DTL, V7BPE7,                                                                                                                                                                                                                                  Jan 2020      Conf mat on # V7BPE7               evenue
                           ZXX8AG                                                                                                                                                                                                                                                   upcom ng
                                                                                                                                                                                                                                                                                    , Add ess ng all PNRs she p ov ded




                                                                                                                                                                                                                                                                                                                                      Appx. 154
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                                                                                                                                                                                                                                                                                      Added RR numbe to PNR, Hello, I want to know f I am able to
                                                                                                                                                                                                                                                                                      attach a fl ght that I booked th ough K w to my ap d ewa ds
2310723570575   12/19/2019 VKOQQK, VKOQQK, VKOQQK Rese vat ons        Web Fo m       Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com              Add Account Numbe to PNR    Comment/Quest on   Inqu ng how to add RR numbe to PNR                    account. It would be my 25th Southwest Fl ght of the yea so t
                                                                                                                                                                                                                                                                                      would get me to A L st status aga n next yea . Is th s poss ble?
                                                                                                                                                                                                                                                                                      Joey, n p/n c

                                                                                                                                                                                                                                                                                      Pax stated the event was cancelled and h s son s a m no and
                                                                                                                                                                                                                                                                                      w ll not be t avel ng. Apolog zed to Pax and expla ned I would
                                                                                                                                                                                                                                                                                      p ocess a efund as a GOG fo h m. Pax was thankful.
                                                                                                                                                                                                                                Pax ca led n say ng the event was cancelled and h s
2310744828785   12/20/2019 NIS2Z5                      CR/RR          Phone          Refunds                         Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on                                                         PNR NIS2Z5
                                                                                                                                                                                                                                m no son w l not be t avel ng
                                                                                                                                                                                                                                                                                       efunded n ARD because t was st l n ok status and show ng
                                                                                                                                                                                                                                                                                      the efo e I den ed my cla m n efundp o

                                                                                                                                                                                                                                                                                      cla m # n efund p o that I den ed Cla m No 179487205
                                                                                                                                                                                                                                                                                      contacts 20994301893-Dummy o 20994080004-Membe have
                                                                                                                                                                                                                                                                                      been me ged // no elated pa t es
                                                                                                                                                                                                                                                                                      , Dea Southwest a l ne team,

                                                                                                                                                                                                                                                                                      We pu chased 2 t ckets fo Decembe 23. NYC-Ch cago/Ch cago-
                                                                                                                                                                                                                                Wanna Get Away Fa e Rules
2310798950833   12/22/2019 V9YH9M, V9YH9M              Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      Fa es                         Wanna Get Away                Fa e Rules/Info mat on      Comment/Quest on                                                         NYC
                                                                                                                                                                                                                                f we cancel
                                                                                                                                                                                                                                                                                      Unfo tunately we canat fly on th s date, and would l ke to
                                                                                                                                                                                                                                                                                      unde stand what can we poss bly do w th t kets.
                                                                                                                                                                                                                                                                                      Is t poss ble to etu n them.

                                                                                                                                                                                                                                                                                      Best Rega ds
                                                                                                                                                                                                                                                                                      No el. ptys/s s Outbound flt noshowed caus ng etu n flt to be
2310851721138   12/23/2019 LTAK69, LTAK69              CR/RR          Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence            Compla nt          Pax equst ng efund of NoShowed Flt.//                 cx.//, p oceed w th full efund as the e s a schedule change n
                                                                                                                                                                                                                                                                                      the fl ght.
                                                                                                                                                                                                                                                                                      can you please conf m f passenge was cha ged check n
                                                                                                                                                                                                                                                                                      cha ges at the a po t. If yes, please sha e the amount that was
2310902199260   12/25/2019 P4OVFA, P4OVFA, P4OVFA      Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Rece pts Request.
                                                                                                                                                                                                                                                                                      cha ged to the passenge alongw th the cu ency., CIRRUS
                                                                                                                                                                                                                                                                                       esent ece pt, n pc
                                                                                                                                                                                                                                nqu ng f Bus ness Select was pu chase fo              D d I ese ve bus ness select fo th s fl ght?, el pty's d ff
2310946587058   12/27/2019 M2JBVK, M2JBVK              Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      Fa es                         Bus ness Select Fa e          Fa e Rules/Info mat on      Comment/Quest on
                                                                                                                                                                                                                                ese vat on                                            conce ns/n c
                                                                                                                                                                                                                                                                                     CCA handl ng pe Sand a, and sent eset, I had a fa l on the amp
                                                                                                                                                                                                                                                                                     to the a c aft. I fe l st a ght on my knees and nju ed my le t
                                                                                                                                                                                                                                                                                     knee.
                                                                                                                                                                                                                                                                                     . I had to go st a ght to Mau memo al hosp tal ER. I had x Ray
                                                                                                                                                                                                                                                                                     on my left knee and am awa t ng swell ng to go down to see f
                             U5PKGC, U5PKGC, U5PKGC,                                                                                                                                                                            1/9/20 Repo t Due
2311039703909   12/29/2019                             CR/RR          Web Fo m       A po t Expe ence                Te m nal/Fac l t es           Med cal S tuat on             I lness/Inju y              Compla nt                                                               the e s a b eak. I am cu ently n a knee b ace and on c utches.,
                             U5PKGC                                                                                                                                                                                             pax adv she fell on the jet b dge and nju ed he knee
                                                                                                                                                                                                                                                                                     no notes n c us OW base fa e 45.58 no changes made to
                                                                                                                                                                                                                                                                                      t ne a y elated status check and sent ema l to CCA fo ev ew,
                                                                                                                                                                                                                                                                                     No Sop s found Request ng HNL epo t(s) due 1/9/20

                                                                                                                                                                                                                                                                                      ALSO DUPE OF s #2311078323473
                                                                                                                                                                                                                                                                                      #8989280
                                                                                                                                                                                                                                                                                      PAX upset w th WX d ve s on and lack of food/d nks offe ed
                                                                                                                                                                                                                                                                                      onboa d on ta mac du ng delay. Also upset w th lack of
                                                                                                                                                                                                                                                                                      commun cat on.

                                                                                                                                                                                                                                                                                      H , my name                    My conf mat on numbe s
                                                                                                                                                                                                                                                                                      VIFX75 and I ece ved t e nv tat on f om Cheyanne to sha e my
                                                                                                                                                                                                                                                                                      less than deal expe ence spend ng 2 and a half hou s on a
                                                                                                                                                                                                                                                                                      ta mac w th no food and vague updates n No folk caus ng me
                                                                                                                                                                                                                                                                                      to m ss my connect on n Balt mo e, whe e I was suppose to
                                                                                                                                                                                                                                                                                      land at 7am th s mo n ng.

                                                                                                                                                                                                                                #8989280                                              I am mo e so conce ned about the lack of commun cat on and
                                                                                                                                                                                                                                PAX upset w th WX d ve s on and lack of food/d nks    food se v ce offe ed to us n that t me. We we en t told about
2311054410550   12/30/2019 VIFX75                      CR/RR          Soc al Med a   Fl ght Delay/Cancel/D ve s on   D ve s on/Re oute             Weathe                        Reaccom Same Day            Compla nt
                                                                                                                                                                                                                                offe ed onboa d on ta mac du ng delay. Also upset     the fau ty plane equ pment that caused us to have a hou 38
                                                                                                                                                                                                                                w th lack of commun cat on.                           m nute delay unt l we got the go ahead to take off aga n.
                                                                                                                                                                                                                                                                                      Fu the mo e, we we e only offe ed wate fo the ent e
                                                                                                                                                                                                                                                                                      du at on of the fl ght. That means f om 5 40 to 10 46 when we
                                                                                                                                                                                                                                                                                      deplaned we had no food opt ons wh ch I th nk s unacceptable.
                                                                                                                                                                                                                                                                                      I unde stand you all can t cont ol the weathe but the t me
                                                                                                                                                                                                                                                                                      could have been handled much bette n my op n on.


                                                                                                                                                                                                                                                                                      I also want to make clea that they could not fly th ough the
                                                                                                                                                                                                                                                                                      adve se weathe because of a def c ency w th the plane. Th s s
                                                                                                                                                                                                                                                                                      not me f sh ng fo offe s of good w ll I just want to make su e
                                                                                                                                                                                                                                                                                      that my feedback s clea and that you have a fu l unde stand ng
                                                                                                                                                                                                                                                                                      of my unhapp ness w th th s fl ght expe ence I do want to also
                                                                                                                                                                                                                                                                                      Hello,

                                                                                                                                                                                                                                                                                      I would l ke to conf m my baggage allowance fo my fl ght
                                                                                                                                                                                                                                                                                      please. I checked onl ne us ng the manage my book ng featu e
                                                                                                                                                                                                                                                                                      and t nd cated that my fa e s wanna get away . Howeve ,
                                                                                                                                                                                                                                                                                      when I cl cked fa e ules , I d d not f nd spec f c nfo mat on fo
                                                                                                                                                                                                                                                                                      my baggage a lowance.

2311056198883   12/30/2019 OJQDA3, OJQDA3              Rese vat ons   Web Fo m       Baggage                         Checked                       Gu del nes                    Numbe                       Comment/Quest on   bag pol cy nqu y                                      I would l ke to conf m f I am allowed a f ee ca y-on bag and a
                                                                                                                                                                                                                                                                                      f ee pe sonal tem. Is th s co ect? Do I have any ava lable f ee
                                                                                                                                                                                                                                                                                      checked bags as well?

                                                                                                                                                                                                                                                                                      Thank you.

                                                                                                                                                                                                                                                                                      K nd Rega ds,

                                                                                                                                                                                                                                                                                              , n pc

                                                                                                                                                                                                                                                                                           called to follow up on SR 2311054410550 whe e she
                                                                                                                                                                                                                                                                                      co esponded w th an agent v a Tw tte to compla n about a
                                                                                                                                                                                                                                                                                      fl ght delay/d ve s on. The fl ght was d ve ted due to wx and
                                                                                                                                                                                                                                                                                      she feels that the agent she spoke w th on Tw tte was unde
                                                                                                                                                                                                                                                                                      the mp ess on that she was p ma ly upset about the d ve s on
                                                                                                                                                                                                                                                                                      when n eal ty        was most upset w th the m s nfo mat on
                                                                                                                                                                                                                                                                                      and m scommun cat on she felt she ece ved. She says that she
                                                                                                                                                                                                                                                                                      was told d ffe ent nfo mat on about what the delay/d ve s on
                                                                                                                                                                                                                                                                                      was caused by and says that c ew told he t was due to
                                                                                                                                                                                                                                                                                      mechan cal p oblems w th the plane but that the p lots then
2311060759004   12/30/2019 VIFX75                      CR/RR          Phone          Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance     Compla nt          PAX called to compla n about m s nfo mat on.          sa d t was due to the weathe . She sa d t was ve y confus ng
                                                                                                                                                                                                                                                                                      and upsett ng because the e we e othe planes tak ng off and
                                                                                                                                                                                                                                                                                      land ng and she fe t the e wasn't a clea eason why they we e
                                                                                                                                                                                                                                                                                      delayed/d ve ted. She stated seve al t mes that she d dn t want
                                                                                                                                                                                                                                                                                      compensat on and just wanted us to know about the s tuat on. I
                                                                                                                                                                                                                                                                                      apolog zed to he fo the delay/d ve s on and adv sed he that
                                                                                                                                                                                                                                                                                      acco d ng to Sw ft (C us wasn't updated at th s po nt) the
                                                                                                                                                                                                                                                                                      off c al eason we we e g ven fo th s s tuat on was due to heavy
                                                                                                                                                                                                                                                                                      fog n BWI. I also adv sed he that I would be document ng th s
                                                                                                                                                                                                                                                                                      as a fo mal compla nt fo futu e t a n ng oppo tun t es/pol cy
                                                                                                                                                                                                                                                                                      changes. She thanked me and we d sconnected.

                                                                                                                                                                                                                                                                                      upset w th baggage a v ng wet and d d not f le epo t. Adv she
                                                                                                                                                                                                                                                                                      had to wash all of he clothes and s ve y upset as he and
                                                                                                                                                                                                                                                                                      husband a e f equent fl e s.

                                                                                                                                                                                                                                                                                      Issu ng 50 SLV as GOG fo wet bags
                                                                                                                                                                                                                                                                                      Cla m No 179758132
2311060759976   12/30/2019 TD4RMK, U3VPRN              CR/RR          Phone          Baggage                         Checked                       Damaged Bag                   Wet Bag/A t cle             Compla nt          Upset w th wet baggage                                Cla m No 179758190, upset w th baggage a v ng wet and d d
                                                                                                                                                                                                                                                                                      not f le epo t. Adv she had to wash a l of he clothes and s ve y
                                                                                                                                                                                                                                                                                      upset as he and husband a e f equent fl e s.

                                                                                                                                                                                                                                                                                      Issu ng 50 SLV as GOG fo wet bags
                                                                                                                                                                                                                                                                                      Cla m No 179758132
                                                                                                                                                                                                                                                                                      Cla m No 179758190
                                                                                                                                                                                                                                                                                      Spoke to        w fe//Pax w fe stated that when they got home
                                                                                                                                                                                                                                                                                      and opened luggage husbands cologne was m ss ng and a t cles
                                                                                                                                                                                                                                                                                      of cloth ng was wet and so led f om cond t one and shampoos
                                                                                                                                                                                                                                Spoke to Calv n w fe//Pax w fe stated that baggage    that we e double sealed//Pax stated they d dn't know whe e o
2311169114760     1/2/2020 SUG9GX                      CR/RR          Phone          Baggage                         Checked                       Damaged Bag                   Wet Bag/A t cle             Compla nt
                                                                                                                                                                                                                                was wet w th stuff f om ns de                         wh ch a po t t could have happened at//Apolog zed to pax fo
                                                                                                                                                                                                                                                                                       nconven ence//Adv pax that they can go to
                                                                                                                                                                                                                                                                                      bagcla m.southwest.com to f le a cla m//Adv pax would ssue
                                                                                                                                                                                                                                                                                      $75 SLV as GOG
                                                                                                                                                                                                                                                                                      how much the fee fo F st Name Change

2311178235830     1/2/2020 Q3BKBD, Q3BKBD, Q3BKBD      Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng          Book ng E o                 Comment/Quest on   name co ect on equest n PNR                                            needed to call Custome to cla fy ema l
                                                                                                                                                                                                                                                                                       equest., no el pty/ me ge equest c eated due to ghost
                                                                                                                                                                                                                                                                                      account




                                                                                                                                                                                                                                                                                                                                       Appx. 155
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                                                                                                                                                                                                                                                                                    I flew th s a l ne on Decembe 11th and t was cance led due to
                                                                                                                                                                                                                                                                                    ma ntenance. I was told t was because of weathe . Th s pushed
                                                                                                                                                                                                                                                                                    me out mo e than 6 hou s and t cost me an add t onal 500 n
                                                                                                                                                                                                                                                                                    ch ldca e. We had to fly to Houston then Ch cago when a mo e
                                                                                                                                                                                                                                                                                    accommodat ng d ect fl ght was ava lable. Although we each
                                                                                                                                                                                                                                                                                     ece ved a 200 vouche , I donat feel thatas enough to
                                                                                                                                                                                                                                                                                    compensate me fo all that I had to endu e. I was exhausted and
                                                                                                                                                                                                                                                                                     t only ange s me fu the to know we could have boa ded a 6 30
                                                                                                                                                                                                                                                                                    fl ght to Ch cago. I also have a fl ght booked n Janua y. Iam
                                                                                                                                                                                                                                                                                    about to book anothe 2 one way fl ghts on Jan 8th f om
                                                                                                                                                                                                                                                                                    Lubbock to Ch cago. f the eas a chance you guys want to make
                                                                                                                                                                                                                                                                                    th s ght a vouche to cove th s fl ght would suff ce. Anyt me
                                                                                                                                                                                                                                                                                    on that day fo 2 one way fl ghts would be g eat , I flew th s
                           QFWGAC, QFWGAC,                                                                                                                                                                                                                                          a l ne on Decembe 11th and t was cancelled due to
2311188890068   1/2/2020                             CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   D ve s on/Re oute             Mechan cal                    Reaccom Same Day               Compla nt          Pax upset w th mechan cal delay
                           QFWGAC                                                                                                                                                                                                                                                   ma ntenance. I was told t was because of weathe . Th s pushed
                                                                                                                                                                                                                                                                                    me out mo e than 6 hou s and t cost me an add t onal 500 n
                                                                                                                                                                                                                                                                                    ch ldca e. We had to fly to Houston then Ch cago when a mo e
                                                                                                                                                                                                                                                                                    accommodat ng d ect fl ght was ava lable. Although we each
                                                                                                                                                                                                                                                                                     ece ved a 200 vouche , I donat feel thatas enough to
                                                                                                                                                                                                                                                                                    compensate me fo all that I had to endu e. I was exhausted and
                                                                                                                                                                                                                                                                                     t only ange s me fu the to know we could have boa ded a 6 30
                                                                                                                                                                                                                                                                                    fl ght to Ch cago. I also have a fl ght booked n Janua y. Iam
                                                                                                                                                                                                                                                                                    about to book anothe 2 one way fl ghts on Jan 8th f om
                                                                                                                                                                                                                                                                                    Lubbock to Ch cago. f the eas a chance you guys want to make
                                                                                                                                                                                                                                                                                    th s ght a vouche to cove th s fl ght would suff ce. Anyt me
                                                                                                                                                                                                                                                                                    on that day fo 2 one way fl ghts would be g eat , Pax ca led to
                                                                                                                                                                                                                                                                                    follow up on ema l subm tted. Add essed all a eas of conce n
                                                                                                                                                                                                                                                                                    w th Pax Adv sed Pax safety s ou ma n p o ty and fl ght was

                                                                                                                                                                                                                                                                                    I called months ago to make su e me and my husband both had
                                                                                                                                                                                                                                                                                    ou p e check nfo mat on n you system. I was told t was and
                                                                                                                                                                                                                                                                                     ece ved. And on my depa tu e fl ght I had my
                                                                                                                                                                                                                                                                                    P e check so t d dnat dawn on me to see f my layove had one
                                                                                                                                                                                                                                                                                    as well. It d dnat. The fl ght was an ove n ght layove wh ch
                                                                                                                                                                                                                                                                                    wouldave equ ed me to check my bags n. Luck ly I gave myself
                                                                                                                                                                                                                                                                                    ove two hou s befo e depa tu e to check back n. Because I
                                                                                                                                                                                                                                                                                    needed eve y m nute. Iam totally f ust ated and d sappo nted., I
                                                                                                                                                                                                                                                                                    called months ago to make su e me and my husband both had
                                                                                                                                                                                                                                                                                    ou p e check nfo mat on n you system. I was told t was and
                                                                                                                                                                                                                                                                                     ece ved. And on my depa tu e fl ght I had my
                                                                                                                                                                                                                                                                                    P e check so t d dnat dawn on me to see f my layove had one
                           UVJPK6, UVT9X7, UVJPK6,                                                                                                                                                                           Pax d d not ece ve p echeck on second PNR fo mu t
2311202662053   1/3/2020                             CR/RR          Web Fo m   southwest.com                   P oduct/Funct onal ty         Fl ght Check n                KTN Not on Boa d ng Pass       Compla nt                                                                 as well. It d dnat. The fl ght was an ove n ght layove wh ch
                           UVT9X7, UVJPK6, UVT9X7                                                                                                                                                                            segment t p
                                                                                                                                                                                                                                                                                    wouldave equ ed me to check my bags n. Luck ly I gave myself
                                                                                                                                                                                                                                                                                    ove two hou s befo e depa tu e to check back n. Because I
                                                                                                                                                                                                                                                                                    needed eve y m nute. Iam totally f ust ated and d sappo nted.,
                                                                                                                                                                                                                                                                                    KTN not l sted n PNR UVJPK6

                                                                                                                                                                                                                                                                                    l sted n UVT9X7

                                                                                                                                                                                                                                                                                    Both booked onl ne, KTN not l sted n PNR UVJPK6

                                                                                                                                                                                                                                                                                    l sted n UVT9X7

                                                                                                                                                                                                                                                                                    Both booked onl ne, NRC/SR, NRC/SR


                                                                                                                                                                                                                                                                                    Please p oceed w th the death cancelat on and Refund to the
                                                                                                                                                                                                                                                                                    o g nal payment sou ce.

                                                                                                                                                                                                                                                                                    Please espond to cla ms al@k w com so that we can p ov de
                                                                                                                                                                                                                                                                                    essent al documents.

                                                                                                                                                                                                                                                                                    K nd Rega ds,
2311230467717   1/4/2020 MV6V9A, MV6V9A, MV6V9A CR/RR               Web Fo m   Refunds                         Refund Request                Refund P ocedu es             Req. Documentat on fo Refund   Comment/Quest on   K w equest fo efund due to death
                                                                                                                                                                                                                                                                                    K w com, Rese vat on s open but should have no-showed. K w
                                                                                                                                                                                                                                                                                    w t ng n on behalf of custome . Adv sed by hotl ne to send
                                                                                                                                                                                                                                                                                    need mo e nfo text., T avel agency/k w called ask ng f we
                                                                                                                                                                                                                                                                                     ecv'd doc. None attached, adv send ng to my attn.
                                                                                                                                                                                                                                                                                    Docs ece ved w th elat on to pe son who has passed. Death
                                                                                                                                                                                                                                                                                    ce t p ov ded.


                                                                                                                                                                                                                                                                                    Th s s a esponse to efe ence ema l 2311202662053

                                                                                                                                                                                                                                                                                    Wh le I g eatly app ec ate that someone esponded to my ema l,
                                                                                                                                                                                                                                                                                    Iam h ghly offended that the ep esentat ve d dnat ead my
                                                                                                                                                                                                                                                                                    compla nt. The esponse was so that my p e check nfo mat on
                                                                                                                                                                                                                                                                                    was done th ough use e o and was p ov ded when I booked
                                                                                                                                                                                                                                                                                    my fl ght onl ne. WHICH WAS NOT THE CASE!!! My nfo mat on
                                                                                                                                                                                                                                                                                    was p ov ded v a the phone th ough a custome se v ce
                                                                                                                                                                                                                                                                                     ep esentat ve AFTER the fl ght was booked and WEEKS befo e
                                                                                                                                                                                                                                                                                    the actual fl ght. WHICH S WHERE THE FRUSTRATION LIES. So,
                                                                                                                                                                                                                                                                                    Iam not only annoyed by what happened but now Iam fu the
                                                                                                                                                                                                                             WB to 2311202662053. Doesn't feels conce ns we e        nsulted by a half hea ted esponse because of a ha f ead
2311276907491    1/5/2020 UVJPK6, UVT9X7             CR/RR          Web Fo m   Othe                            CR W teback                   D sag ees/Rema ns Upset       Upset w th Pol cy              Compla nt
                                                                                                                                                                                                                             add essed.                                             ema l., Th s s a esponse to efe ence ema l 2311202662053

                                                                                                                                                                                                                                                                                    Wh le I g eatly app ec ate that someone esponded to my ema l,
                                                                                                                                                                                                                                                                                    Iam h ghly offended that the ep esentat ve d dnat ead my
                                                                                                                                                                                                                                                                                    compla nt. The esponse was so that my p e check nfo mat on
                                                                                                                                                                                                                                                                                    was done th ough use e o and was p ov ded when I booked
                                                                                                                                                                                                                                                                                    my fl ght onl ne. WHICH WAS NOT THE CASE!!! My nfo mat on
                                                                                                                                                                                                                                                                                    was p ov ded v a the phone th ough a custome se v ce
                                                                                                                                                                                                                                                                                     ep esentat ve AFTER the fl ght was booked and WEEKS befo e
                                                                                                                                                                                                                                                                                    the actual fl ght. WHICH S WHERE THE FRUSTRATION LIES. So,
                                                                                                                                                                                                                                                                                    Iam not only annoyed by what happened but now Iam fu the
                                                                                                                                                                                                                                                                                     nsulted by a half hea ted esponse because of a ha f ead ema l.

                                                                                                                                                                                                                             Pax look ng to salvage funds f om a no show            Dea team, please p ov de full efund as the passenge hav ng
2311376468851    1/8/2020 JYNCU4, JYNCU4             CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Pol cy Adhe ence               Compla nt
                                                                                                                                                                                                                              ese vat on                                            se ous med cal ssues., No Rel SRs, No Rel Pa t es
                                                                                                                                                                                                                                                                                    no el pty/contacts, Please I would l ke to know f n ou book ng
                                                                                                                                                                                                                                                                                    the e s any luggage ncluded,
2311566326997   1/13/2020 LFNAM7, LFNAM7             Rese vat ons   Web Fo m   Baggage                         Checked                       Gu del nes                    Numbe                          Comment/Quest on   Wants to know ou baggage pol cy                        because when I bought the t cket on t p.com, the nfo mat on
                                                                                                                                                                                                                                                                                     s that the e was 01 20kg luggage pe pe son ncluded. Thank
                                                                                                                                                                                                                                                                                              best ega ds.
                                                                                                                                                                                                                                                                                              call ng to exp ess h s d sappo ntment w th a fl ght delay
                                                                                                                                                                                                                                                                                    that occu ed on Jan 13th. Pax stated that the e was a delay on
                                                                                                                                                                                                                                                                                    h s o g ob fl ght that caused h m to m ss h s connect on and h s
                                                                                                                                                                                                                                                                                    t cket wasn t closed by the agent afte he was not able to be
                                                                                                                                                                                                                                                                                     eacommodated. Custome etu n fl ght no showed due to the
                                                                                                                                                                                                                                                                                    e o and he needs t to be ebooked. I adv sed pax that we have
                                                                                                                                                                                                                                                                                    p ocessed a efund fo the whole t cket n two sepa ate pa ts
                                                                                                                                                                                                                                                                                    the NO show/ Base Fa e 164.35 plus all taxes 56.40 and the
                                                                                                                                                                                                                                                                                     ema nde of the flown t cket wh ch was 310.98 - 220.75 = 90.23
                                                                                                                                                                                                                                                                                    as sepa ate cove .


                                                                                                                                                                                                                                                                                    Cla m No 180233806 PNR W78ENO
2311623441315   1/14/2020 KHR4CR, W78ENO             CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Employee E o                   Comment/Quest on   Fl ght Expe ence/ No show system e o .
                                                                                                                                                                                                                                                                                    Thank you, Colt
                                                                                                                                                                                                                                                                                               call ng to exp ess h s d sappo ntment w th a fl ght
                                                                                                                                                                                                                                                                                    delay t at occu ed on Jan 13th. Pax stated that the e was a
                                                                                                                                                                                                                                                                                    delay on h s o g ob fl ght that caused h m to m ss h s connect on
                                                                                                                                                                                                                                                                                    and h s t cket wasn t closed by the agent afte he was not able
                                                                                                                                                                                                                                                                                    to be eacommodated. Custome etu n l ght no showed due
                                                                                                                                                                                                                                                                                    to the e o and he needs t to be ebooked. I adv sed pax that
                                                                                                                                                                                                                                                                                    we have p ocessed a efund fo the whole t cket n two sepa ate
                                                                                                                                                                                                                                                                                    pa ts the NO show/ Base Fa e 164.35 plus all taxes 56.40 and
                                                                                                                                                                                                                                                                                    the ema nde of the flown t cket wh ch was 310.98 - 220.75 =
                                                                                                                                                                                                                                                                                    90.23 as sepa ate cove .


                                                                                                                                                                                                                                                                                    Pax called n ega d ng utvek9. Pax fl ght was delayed and shows
                                                                                                                                                                                                                                                                                    cancelled n C us. Pe pax MSY was supposed to be f st stop
                                                                                                                                                                                                                             Pax called n ega d ng utvek9. Pax fl ght was delayed   but unable to land so fl ght just kept go ng back and fo th. Pax
2311630371979   1/14/2020 UTVEK9                     CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   D ve s on/Re oute             Weathe                        Reaccom Same Day               Comment/Quest on
                                                                                                                                                                                                                             and shows cancelled n C us.                            o g nal a val was supposed to be 825am pax f nally a ved
                                                                                                                                                                                                                                                                                    4pm. Ca led hotl ne fo ass stance, ssued slv $125 as GOG Cla m
                                                                                                                                                                                                                                                                                    No 180237919
                                                                                                                                                                                                                                                                                    100% ve f ed


                                                                                                                                                                                                                                                                                    Calle s Name


                                                                                                                                                                                                                                                                                    b.Contact Telephone Numbe


                                                                                                                                                                                                                                                                                    c.Contact Ema l Add ess


2311738017664   1/16/2020 UNDXRB, UNDXRB             CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request                Comment/Quest on   ECS F nal Re ssue                                      d.Exp ed PNR UNDXRB


                                                                                                                                                                                                                                                                                    e.Passenge Name (s)


                                                                                                                                                                                                                                                                                    f.O g nal Exp at on Date of Funds 09/16/2019


                                                                                                                                                                                                                                                                                    g Exp ed RTF Balance 277.70


                                                                                                                                                                                                                                                                                    Cla m No 166097280




                                                                                                                                                                                                                                                                                                                                      Appx. 156
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                                                                                                                                                                                                                                                                             I booked a fl ght w th the Southwest. My t p was f om San
                                                                                                                                                                                                                                                                             D ego to Las Vegas, and then t ansfe at Las Vegas to London,
                                                                                                                                                                                                                                                                             Canada. Howeve , because my fl ght (depa t at 09 40) was
                                                                                                                                                                                                                                                                             cancled, I had to change my fl ght to the new l ght (depa t at
                                                                                                                                                                                                                                                                             10 10). The e was no cho ce fo me I had to choose that t cket,
                                                                                                                                                                                                                                                                             and also, the Southwest staff, who wo ked the e at the t me,
                                                                                                                                                                                                                                                                             sa d that the new t cket w ll be f ne, so I thought I w ll be f ne at
                                                                                                                                                                                                                                                                             Las Vegas to t ansfe . Howeve , Unfo unatly, even though I an
                                                                                                                                                                                                                                                                             to check n place at Las Vegas ght afte I got Las Vegas, the
                                                                                                                                                                                                                                                                             check n t me was closed. So, I m ssed my second l ght because
                                                                                                                                                                                                                                                                             of the f st fl ght wh ch was Southwest. F nally, I pa d about $400
                                                                                                                                                                                                                                                                             fo the new t cket to Canada, and also, I have been wa tt ng fo
                                                                                                                                                                                                                        Fl ght f om SAN-LAS @ 9 40AM was canceled and        the fl ght fo 7 hou s at Las Vegas a po t. But, I have got
                                                                                                                                                                                                                        custome ncu ed nte m expenses w th anothe            noth ng. Because the f st Southwest fl ght made th s s tuat ons,
2311751465031   1/16/2020 SLM73S, SLM73S            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                Unscheduled Ma ntenance        Compla nt
                                                                                                                                                                                                                        a l ne t avel ng nte nat onally. Custome seek ng     I th nk Southwest have to g ve me someth ng fo my money, and
                                                                                                                                                                                                                        compensat on                                         t me that I wasted. Please let me answe about th s s tuat on.,
                                                                                                                                                                                                                                                                             No elated SRs. No elated contacts

                                                                                                                                                                                                                                                                             SLM73S
                                                                                                                                                                                                                                                                             SANLAS $50.87
                                                                                                                                                                                                                                                                             Fl ght #1414 canceled due to U n CIRRUS.
                                                                                                                                                                                                                                                                             2D L st - Fl ght 1414 Depa tu e C ty SAN Date 20200116
                                                                                                                                                                                                                                                                             1. HDQ 0929 2D1414/16JAN/SANO920A14-NG-XCLD DUE TO
                                                                                                                                                                                                                                                                             MAINTENANCE. CHECK CSC FOR PASSENGER INFO.
                                                                                                                                                                                                                                                                             2. HDQ 0929 2D1414/16JAN/LASI1040A14-NG-XCLD DUE TO
                                                                                                                                                                                                                                                                             MAINTENANCE. CHECK CSC FOR PASSENGER INFO.

                                                                                                                                                                                                                                                                             A ved an hou late
                                                                                                                                                                                                                                                                             added account numbe to ese vat on, ARD does not allow
                                                                                                                                                                                                                                                                             putt ng space between name a name change, unable to add
                                                                                                                                                                                                                                                                             space, H ,
2311758332931   1/16/2020 V4XGC4, V4XGC4, V4XGC4    Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   My Southwest.com          Add Account Numbe to PNR       Comment/Quest on   equest to add RR # to ese vat on and co ect name
                                                                                                                                                                                                                                                                             I want to add th s com ng t p w th my ap d ewa ds, have
                                                                                                                                                                                                                                                                             access to t on my app and co ect my last name wh ch s
                                                                                                                                                                                                                                                                             sepa ated not all togethe as t appea s now , el pty othe ss/
                                                                                                                                                                                                                                                                             nc
                                                                                                                                                                                                                                                                             He lo,

                                                                                                                                                                                                                                                                             I booked a fl ght and the compute gl tched my yea of b th to
                                                                                                                                                                                                                                                                             2001 nstead of 1989. Can I please have t updated to the co ect
2311774527840   1/17/2020 QAQA6T, QAQA6T            Rese vat ons   Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Membe Info                Co ect on                      Comment/Quest on   co ect DOB n account                                 DOB on my ap d ewa ds account w thout hav ng to pay a
                                                                                                                                                                                                                                                                             s gn f cant f ne? I'm t avel ng fo my mothe 's fune al /
                                                                                                                                                                                                                                                                             celeb at on of l fe and have exhausted a good amount of money
                                                                                                                                                                                                                                                                             du ng th s t me. Would app ec ate ass stance n th s matte .,
                                                                                                                                                                                                                                                                             N p/Nc
                                                                                                                                                                                                                                                                             Issued $200 SLV as GOG due to Med Ass st unde Cla m No
2311781905210   1/17/2020 TWRY8L                    CR/RR          Phone      Onboa d A c aft Expe ence       Onboa d Expe ence             Med cal S tuat on         Med P o Offe ed Ass stance     Comment/Quest on   Med Ass st GOG
                                                                                                                                                                                                                                                                             180371175. Med ass st / 24DEC19 30DEC19 / Fl ght #3962
                                                                                                                                                                                                                                                                             Pax stated that fl ght he was tak ng to get to PVR was canceled
                                                                                                                                                                                                                                                                             the efo e he called us on a fl ght attendants phone to cancel
                                                                                                                                                                                                                                                                             and that the numbe she pulled up was ou numbe but they
                                                                                                                                                                                                                                                                             adv sed h m that he had called the w ong depa tment. Pax
                                                                                                                                                                                                                                                                             cla ms that he then ebooked anothe l ght w th us but d d not
                                                                                                                                                                                                                                                                             cancel ese vat on he had al eady booked befo e hand,
                                                                                                                                                                                                                                                                             the efo e he was no-showed. I expla ned ou no-show pol cy
2311901732993   1/20/2020 TC6HAL                    CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds   Attempted Cancel by Phone      Compla nt          Span sh WGA no-show
                                                                                                                                                                                                                                                                             and except ons that could be made. Pax was upset as he d d not
                                                                                                                                                                                                                                                                             have call eco ds s nce he was us ng someone else phone. I
                                                                                                                                                                                                                                                                             apolog zed and he attempted to escalate but I adv sed aga n that
                                                                                                                                                                                                                                                                             th s pol cy s st ct and that no except ons can be made w thout
                                                                                                                                                                                                                                                                             docs and he d sconnected.

                                                                                                                                                                                                                                                                             Pax called f om               5

                                                                                                                                                                                                                                                                             H Southwest A l nes Custome Se v ce, Th s s about my fl ght
                                                                                                                                                                                                                                                                             #2820. t was delayed and I was stuck at the a po t, wh ch was
                                                                                                                                                                                                                                                                             not a g eat expe ence. Also, please take nto account that th s
                                                                                                                                                                                                                        Get Se v ce / Se v ceMa l.co / MySe v ceMa l /
2311922763076   1/21/2020 NS94JH                    CR/RR          Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                         Company News              Pend ng Catego y               Compla nt                                                               delay s gn f cantly mpacted my t p. I would app ec ate a
                                                                                                                                                                                                                        MySe v ceFl ght -- Fl ght Delay/Cancellat on
                                                                                                                                                                                                                                                                              esponse as we l as compensat on fo th s m shap f el g ble.
                                                                                                                                                                                                                                                                             Please get back to me as soon as you can. Rega ds,


                                                                                                                                                                                                                                                                             PAX states he was p om sed SLV fo delay

                                                                                                                                                                                                                                                                             PAX was t avel ng fl ghts 27/900 01/10 PNS-BNA-PHL 8 10-
                                                                                                                                                                                                                                                                             9 30a/12 30-3 25p - f st leg was delayed 132 m n due to MX -
                                                                                                                                                                                                                                                                             th s d d not affect the second leg because the layove was 3
                                                                                                                                                                                                                                                                             hou s - second leg was pe fect (20 m n ea ly).

                                                                                                                                                                                                                                                                             Othe SRs 2311929404641 and 2311646623432 ment on othe
2311944014054   1/21/2020 VRZK76                    CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                Unscheduled Ma ntenance        Comment/Quest on   PAX states he was p om sed SLV fo delay
                                                                                                                                                                                                                                                                             PAX we e p om sed vouche s. Recvd $100-150.

                                                                                                                                                                                                                                                                             Fo cons stency, ssu ng SLV even though th s d d not affect
                                                                                                                                                                                                                                                                             ult mate a val t me.

                                                                                                                                                                                                                                                                             OWBF $40 00

                                                                                                                                                                                                                                                                             $50 SLV - Cla m No 180494337, 180494373
                                                                                                                                                                                                                                                                             no el pty, contacts, s
                                                                                                                                                                                                                                                                             C us Rema ks
                                                                                                                                                                                                                                                                             12/25 - PAX WAS LL AND NEEDED LATER FLT, AS GOG FOR
                                                                                                                                                                                                                                                                             CHRISTMAS I ALLOWED IT, ARD WOULD NOT OPEN TO WRITE
                                                                                                                                                                                                                                                                             NOTE
                                                                                                                                                                                                                                                                             12/26 YESTERDAY PAX APPROACHED THE COUNTER AND HAD
                                                                                                                                                                                                                                                                             MISSED HIS FLT HE WAS USING CRUTCHES AND SD HE HAD BEEN
                                                                                                                                                                                                                                                                             IN AN ACC DENT PER CINDY AUS CSS SHE ALLOWED ME TO
                                                                                                                                                                                                                        unable to t avel fo med cal easons and s ask ng fo a
2312011410163   1/22/2020 SUKI8Q, SUK 8Q            CR/RR          Web Fo m   Refunds                         Refund Request                Refund P ocedu es         Req. Documentat on fo Refund   Compla nt                                                               CONFIRM THE PAX ON THE NEXT AVAILABLE HE STATED THAT
                                                                                                                                                                                                                         efund.
                                                                                                                                                                                                                                                                             HE HAD A CONNECTING FLT FROM FLL ON ANOTHER AIRLINE
                                                                                                                                                                                                                                                                             AND HOPEFULLY THE CHANGE WOULD WORK FOR HIM I WAS
                                                                                                                                                                                                                                                                             UNABLE TO ADD TH S COMMENT YESTERDAY SO I AM ADDING
                                                                                                                                                                                                                                                                             IT TODAY

                                                                                                                                                                                                                                                                              efund ng as a gog
                                                                                                                                                                                                                                                                             Cla m No 180560284, Please p oceed w th the efund due to
                                                                                                                                                                                                                                                                             Med cal Reasons.
                                                                                                                                                                                                                                                                             Good mo n ng.
                                                                                                                                                                                                                                                                             W l be any add t onal fees fo bagagge fo me?
2312018312946   1/23/2020 WUWPQT, WUWPQT            Rese vat ons   Web Fo m   Baggage                         Checked                       Gu del nes                Numbe                          Comment/Quest on   custome wants to know about baggage fee
                                                                                                                                                                                                                                                                             Rese vat on numbe WUWPQT.
                                                                                                                                                                                                                                                                             Pls let me know ASAP., no elated pa ty, contact
                                                                                                                                                                                                                                                                             F t 12 delayed 130 m n due to mx
                                                                                                                                                                                                                                                                             Base fa e $78.68
                                                                                                                                                                                                                                                                              ssu ng $75 slv as gog fo cx due to mx
2312199653171   1/27/2020 U36GZ5, U36GZ5            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                Unscheduled Ma ntenance        Comment/Quest on   PAX flt delayed 2 hou s. Ask ng f flt got comp       Issu ng $75 slv as gog fo 130 m n mx delay. Thanks, Hayley CR
                                                                                                                                                                                                                                                                             Cla m No 180676393
                                                                                                                                                                                                                                                                             , My fl ght was delayed ove 2 hou s. D d th s fl ght get
                                                                                                                                                                                                                                                                             compensat on fo delay? Thanks. - El

                                                                                                                                                                                                                                                                             20918845695 s n Held status unable to me ge., Custome
                                                                                                                                                                                                                                                                             ente ed 20900676521 and the name                        chang ng
                                                                                                                                                                                                                        Me ge Dupl cate Accounts                             last name on 20900676521 to                    , dupl cate
                                                                                                                                                                                                                                                                             accounts 20900676521                  o 20198845695
                          QG3JU7, QG3JU7, QG3JU7,
2312202346171   1/27/2020                           CR/RR          Web Fo m   Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status   Me ge Dupl cate Acct           Comment/Quest on   Keep 20900676521                                                      all othe nfo matches, I t ed to subm t a fo m
                          QG3JU7
                                                                                                                                                                                                                                                                             to cla m the m les fo th s t p but I was g ven the e o message
                                                                                                                                                                                                                        CLOSE 20918845695                                    that t was unable to because the name on the ese vat on and
                                                                                                                                                                                                                                                                             the name on my account a e not the same. Pls adv se on how I
                                                                                                                                                                                                                                                                             can get th s esolved. Thank you k ndly

                                                                                                                                                                                                                                                                             ARD PNR al eady canceled, n pc, Please cancel th s fl ght fo
2312212176451   1/27/2020 MC PNG, MCJPNG, MCJPNG    Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng      Change Book ng                 Comment/Quest on   ask ng to xcl PNR
                                                                                                                                                                                                                                                                                                         The e a e dupl cate ese vat ons
                                                                                                                                                                                                                                                                             H , Th s s about my fl ght #2378. Due to th s 165 m nute delay, I
                                                                                                                                                                                                                                                                             a ved late. Typ cally I don t take the t me to f ll out compla nt
                                                                                                                                                                                                                        Get Se v ce / Se v ceMa l.co / MySe v ceMa l /       fo ms when I fly but I feel th s one was wa anted. I would eally
2312217503627   1/28/2020 KUZGPG                    CR/RR          Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                         Company News              Pend ng Catego y               Compla nt
                                                                                                                                                                                                                        MySe v ceFl ght -- Fl ght Delay/Cancellat on         app ec ate any cons de at on on you behalf. Thanks fo mak ng
                                                                                                                                                                                                                                                                             th s ght. Rega ds,

                                                                                                                                                                                                                                                                             H the e, Th s s about my Southwest A l nes fl ght to ATL. Th s
                                                                                                                                                                                                                                                                             cance lat on was p etty st essful. Fl ght cancellat ons a e neve
                                                                                                                                                                                                                        Get Se v ce / Se v ceMa l.co / MySe v ceMa l /       fun. I would eally app ec ate any help accommodat ng me he e.
2312218667035   1/28/2020 KUZGPG                    CR/RR          Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                         Company News              Pend ng Catego y               Compla nt
                                                                                                                                                                                                                        MySe v ceFl ght -- Fl ght Delay/Cancellat on         Please cons de my cla m and compensate me acco d ngly.
                                                                                                                                                                                                                                                                             Thank you. S nce ely,

                                                                                                                                                                                                                                                                             cvs-0
                                                                                                                                                                                                                                                                             DOES NOT HAVE A RR ACCOUNT
                                                                                                                                                                                                                                                                             347 m n late
                                                                                                                                                                                                                                                                             delay code HD/02 205MIN (ATC HOLD)
                                                                                                                                                                                                                                                                             late equ p m n ct 348

                                                                                                                                                                                                                        Ma e needs documentat on of the length of the delay , The above fl ght was delayed by many hou s and as a esu t I
2312222703447   1/28/2020 SYY6IF, SYY6IF            CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                Unscheduled Ma ntenance        Comment/Quest on
                                                                                                                                                                                                                        fo nsu ance pu poses                                m ssed my connect ng Ae L ngus fl ght LA - Dubl n fl ght at
                                                                                                                                                                                                                                                                            20.15. I had to stay the n ght n LA and book anothe fl ght fo
                                                                                                                                                                                                                                                                            the follow ng even ng. In o de to make a cla m f om my p vate
                                                                                                                                                                                                                                                                             nsu ance t avel I need you to conf m, n w t ng, to me that the
                                                                                                                                                                                                                                                                            fl ght was delayed by the numbe of hou s and the eason fo
                                                                                                                                                                                                                                                                            the delay.
                                                                                                                                                                                                                                                                            Thank ng you




                                                                                                                                                                                                                                                                                                                                Appx. 157
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                                                                                                                                                                                                                                                                                  He lo,
                                                                                                                                                                                                                                                                                  We had a fl ght scheduled at 6 00a.m on 10 31, wh ch was
                                                                                                                                                                                                                                                                                  cancelled due to weathe . We ended up on a fl ght wh ch d dn't
                                                                                                                                                                                                                                                                                  get us down to D sney Wo ld unt l 10 00 pm that n ght. Due to
                                                                                                                                                                                                                                                                                  not gett ng us on an ea l e fl ght, we m ssed ou even that we
                                                                                                                                                                                                                                                                                  needed to be at n o de to p ck up ou ac ng gea fo the next
                                                                                                                                                                                                                                                                                  mo n ngs ace. Th s caused us d sappo ntment, f ust at on and a
                                                                                                                                                                                                                                                                                  g eat nconven ence. We spent a lot of money on these aces
                                                                                                                                                                                                                                                                                  and not be ng able to get to the expo was a g eat loss.
                                                                                                                                                                                                                                                                                  We asked fo any type of compensat on that mo n ng, but a l
                                                                                                                                                                                                                          f t cancellat on t avel ng to MCO due to weathe ,       Southwest employees that we spoke w th, we e less than
2312261710469   1/29/2020 WAOQNK, WAOQNK           CR/RR        Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Weathe                           Reaccom Same Day             Compla nt          m ssed event n o de to p ck up ac ng gea ,              helpful n p ov d ng anyth ng fo us.
                                                                                                                                                                                                                           equest ng comp.                                        I'm wonde ng f the e s any compensat on that I can ece ved
                                                                                                                                                                                                                                                                                  fo th s s tuat on?
                                                                                                                                                                                                                                                                                  Thank you,
                                                                                                                                                                                                                                                                                               membe s nce 2017/ 1 plane CVS sco e
                                                                                                                                                                                                                                                                                  no elated pa ty/ SR

                                                                                                                                                                                                                                                                                  FLT 2524 10/31/2019 MDW- MCO cx due to weathe , eaccom
                                                                                                                                                                                                                                                                                  same day.

                                                                                                                                                                                                                                                                                  ssued $75 SLV as GOG
                                                                                                                                                                                                                                                                                  Cla m No 180734703

                                                                                                                                                                                                                                                                                  98154 HC

                                                                                                                                                                                                                                                                                  ϭ͘Ă ůĞ ΖƐ EĂŵĞ
                                                                                                                                                                                                                                                                                  Ϯ͘DĞŵďĞ Ɛ EĂŵĞ
                                                                                                                                                                                                                                                                                  ϯ͘DĞŵďĞ Ɛ ZZ
                                                                                                                                                                                                                                                                                  ϰ͘ŽŶƚĂĐƚ dĞůĞƉ ŽŶĞ EƵŵďĞ
                                                                                                                                                                                                                                                                                  ϱ͘ŽŶƚĂĐƚ ͲDĂ ů ĚĚ ĞƐƐ
                                                                                                                                                                                                                                                                                  ϲ͘&ůŽǁŶ WEZ;ƐͿ ƵǁĞůǆǆͬƵǁĞůǆŵ
                                                                                                                                                                                                                                                                                  ϳ͘WĂƐƐĞŶŐĞ EĂŵĞ
                                                                                                                                                                                                                                                                                  ϴ͘&ů ŐŚƚ ĂƚĞ ;ƐͿ ϭϮͬϮϮͬϮϬϭϵͲϭͬϬϭͬϮϬϮϬ
                                                                                                                                                                                                                                                                                  Total po nts based on base fa e of 115 x 6=690
                            UWELXM, UWELXX,                                                                                                                                                                                                                                       , 98154 HC
2312277813269   1/29/2020                          CR/RR        Phone      Rap d Rewa ds                   Account Info mat on/Updates   Account Act v ty/Status          Past Fl ght Po nts           Comment/Quest on   PFP
                            UWELXM, UWELXX
                                                                                                                                                                                                                                                                                  ϭ͘Ă ůĞ ΖƐ EĂŵĞ
                                                                                                                                                                                                                                                                                  Ϯ͘DĞŵďĞ Ɛ EĂŵĞ
                                                                                                                                                                                                                                                                                  ϯ͘DĞŵďĞ Ɛ ZZ
                                                                                                                                                                                                                                                                                  ϰ͘ŽŶƚĂĐƚ dĞůĞƉ ŽŶĞ EƵŵďĞ
                                                                                                                                                                                                                                                                                  ϱ͘ŽŶƚĂĐƚ ͲDĂ ů ĚĚ ĞƐƐ
                                                                                                                                                                                                                                                                                  ϲ͘&ůŽǁŶ WEZ;ƐͿ ƵǁĞůǆǆͬƵǁĞůǆŵ
                                                                                                                                                                                                                                                                                  ϳ͘WĂƐƐĞŶŐĞ EĂŵĞ
                                                                                                                                                                                                                                                                                  ϴ͘&ů ŐŚƚ ĂƚĞ ;ƐͿ ϭϮͬϮϮͬϮϬϭϵͲϭͬϬϭͬϮϬϮϬ
                                                                                                                                                                                                                                                                                  Total po nts based on base fa e of 115 x 6=690
                                                                                                                                                                                                                                                                                  , UWELXM ente ed n PFP manually ssued UWELXX 12/22/19,
                                                                                                                                                                                                                                                                                  UWELXM ente ed n PFP manually ssued UWELXX 12/22/19



                                                                                                                                                                                                                                                                                  Dea a l ne

                                                                                                                                                                                                                                                                                  G eet ngs of the day!!!!!

                                                                                                                                                                                                                                                                                  Please help us cancel a double book ng w th PNR - MLWPHF.
                                                                                                                                                                                                                                                                                  We also have a conf med book ng w th PNR - MMQOWD. Please
                                                                                                                                                                                                                                                                                  cancel one of the book ng w th full efund and eve t us back on
                                                                                                                                                                                                                                                                                  103475757@a l ne.k w .com, Dea a l ne
                          MLWPHF, MMQOWD,
2312298794332   1/30/2020 MLWPHF, MMQOWD,          CR/RR        Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Dupl cate Book               Compla nt          dupl cate book ng efund equest                          G eet ngs of the day!!!!!
                          MLWPHF, MMQOWD
                                                                                                                                                                                                                                                                                  Please help us cancel a double book ng w th PNR - MLWPHF.
                                                                                                                                                                                                                                                                                  We also have a conf med book ng w th PNR - MMQOWD. Please
                                                                                                                                                                                                                                                                                  cancel one of the book ng w th full efund and eve t us back on
                                                                                                                                                                                                                                                                                  103475757@a l ne.k w .com, No el SRs/Contacts, No el
                                                                                                                                                                                                                                                                                  SRs/Contacts, PNR No MLWPHF - al eady efunded ($69.00)
                                                                                                                                                                                                                                                                                   efunded due to dupe, PNR No MLWPHF - al eady efunded
                                                                                                                                                                                                                                                                                  ($69.00)
                                                                                                                                                                                                                                                                                   efunded due to dupe


                                                                                                                                                                                                                                                                                  Issued $200 SLV as GOG due to Med Ass st unde Cla m No
2312305951762   1/30/2020 LME3IC                   CR/RR        Phone      Onboa d A c aft Expe ence       Onboa d Expe ence             Med cal S tuat on                Med P o Offe ed Ass stance   Comment/Quest on   med ass st gog                                          180775910
                                                                                                                                                                                                                                                                                  Med ass st / 26JAN20/ Fl ght #2962
                                                                                                                                                                                                                                                                                  Span sh
                                                                                                                                                                                                                                                                                  Pax called n because h s pn was booked unde h s Mex can
                                                                                                                                                                                                                                                                                  passpo t nfo nstead of Ame can passpo t nfo.
                                                                                                                                                                                                                                                                                  Pax fl ght s tomo ow.
2312311481442   1/30/2020 W4JTPE                   CR/RR        Phone      Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Book ng E o                  Comment/Quest on   Span sh Pax seek ng name co ect on on pn
                                                                                                                                                                                                                                                                                  Adv no mally we wouldn't have any ssues p ocess ng th s
                                                                                                                                                                                                                                                                                   equest, but s nce the fl ght s less than 24 hou s away, t'd be
                                                                                                                                                                                                                                                                                  bette to a ve at the a po t ea ly (acco d ng to hotl ne)
                                                                                                                                                                                                                                                                                  Pax was app and thanked me.

                                                                                                                                                                                                                                                                                  Fl ght #1783 expe enced a WX Cance lat on., H ,

                                                                                                                                                                                                                                                                                  I would l ke to say thank you fo the g eat custome se v ce I d d
                                                                                                                                                                                                                                                                                  expe ence but I d d want to add ess one ssue. My o g nal
                                                                                                                                                                                                                                                                                  fl ght was cancelled due to weathe , but I was able to get
                                                                                                                                                                                                                                                                                   ebooked on anothe fl ght to cont. my f nal dest nat on to New
                                                                                                                                                                                                                                                                                  O leans. I got on a fl ght f om SFO to DEN, the fl ght was full, I
                                                                                                                                                                                                                                                                                  just had a ca y on bag and I was told I had to check t n
                                                                                                                                                                                                                                                                                  because they we e unn ng out of sto age space. I unde stood
                                                                                                                                                                                                                                                                                  but I expla ned I had a connect ng fl ght n Denve on anothe
                                                                                                                                                                                                                                                                                  a l ne, but they st ll told me I had to check my bag and I could
                                                                                                                                                                                                                                                                                  get t on the etway. As I was boa d ng the fl ght the lady n f ont
                                                                                                                                                                                                                          Custome expe enced WX Cancellat on and had to           of me got chance to b ng on he ca y-on & not ced 3 spots I
                            MDQAKY, MDQAKY,
2312312538913   1/30/2020                          CR/RR        Web Fo m   Custome Se v ce                 Pe sonnel                     Hosp tal ty                      Commun cat on                Compla nt          have ca yon gate checked due to space l m tat on of could have sto ed my ca y-on. Once a v ng n Denve I
                            MDQAKY, MDQAKY
                                                                                                                                                                                                                          ca yon sto age ava lab l ty. Also equest pfp of po nts. looked fo my bag on the jet way and the fl ght attendant told
                                                                                                                                                                                                                                                                                  me, I had to go get t f om baggage cla m. I expla ned to he I
                                                                                                                                                                                                                                                                                  had a connect ng fl ght on anothe a l ne and I would m ss my
                                                                                                                                                                                                                                                                                  fl ght f I had to et eve m baggage f om baggage cla m then go
                                                                                                                                                                                                                                                                                   n secu ty check to get back Te m nal. Th s put me n a l ttle b t
                                                                                                                                                                                                                                                                                  of a st essful s tuat on due to fact I was on my way to a wedd ng
                                                                                                                                                                                                                                                                                  I was n. I ust w sh someone would have l sten to my conce n
                                                                                                                                                                                                                                                                                  and t ed to help me. I fly w th southwest often I neve have
                                                                                                                                                                                                                                                                                  unpleasant expe ences so th s was a l ttle d sappo nt ng. I also
                                                                                                                                                                                                                                                                                  needed my fl ght to be added to my ap d ewa ds.

                                                                                                                                                                                                                                                                                  Thank you fo you t me, Requested a $75.00 SLV unde Cla m
                                                                                                                                                                                                                                                                                  No 180779984 , The e a e no dupl cate Accounts of SR's.

                                                                                                                                                                                                                                                                                  H , I would l ke to know how much efund fo the ese vat on s
                                                                                                                                                                                                                                                                                  p ocessed and n wh ch cu ency o method please nfo m about
                                                                                                                                                                                                                                                                                  th s as soon as poss ble, n p/n c/n s s, RT PNR 1 PAX evenue
2312335319947   1/31/2020 LTVZHZ, LTVZHZ, LTVZHZ   CR/RR        Web Fo m   Refunds                         Refund Request                Refund P ocedu es                Status check                 Compla nt          PAX nqu ng on efund amount and cu ency
                                                                                                                                                                                                                                                                                  Outbound was xld W and unable to eaccom - $133.98 d opped
                                                                                                                                                                                                                                                                                  to RTF.
                                                                                                                                                                                                                                                                                  Refund ng RTF - $133.98 to MX 8317, Cla m No 180380565

                                                                                                                                                                                                                                                                                  Dea team, th s fl ght was schedule changed and due to th s, we
                                                                                                                                                                                                                                                                                  cannot use t on 5262167552463, 5262167552462. Please
                                                                                                                                                                                                                                                                                  p ocess the efund to the o g nal way of payment., n p/n c

                                                                                                                                                                                                                                                                                  FLT 3733 RDU-LAX 3 00pm/7 30pm

                                                                                                                                                                                                                                                                                  Reacom
2312461431217    2/4/2020 RYSBLN, RYSBLN           CR/RR        Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me           Compla nt          pax equest ng efund due to schedule eacom
                                                                                                                                                                                                                                                                                  FLT 4631 RDU-MSY 4 45pm/6 10pm
                                                                                                                                                                                                                                                                                  FLT 4213 MSY-LAX 7 00pm/9 30pm

                                                                                                                                                                                                                                                                                  All t ckets have been flown

                                                                                                                                                                                                                                                                                  Cla m No 180915668
                                                                                                                                                                                                                                                                                  Cla m No 180915735
                                                                                                                                                                                                                                                                                  194793163. SLV p ev ously not subm tted., Pax called n ask ng
                                                                                                                                                                                                                                                                                  fo comp on he delay. I apolog zed to pax and nfo med he
                                                                                                                                                                                                                                                                                  that I would l ke to ssue he $100 SLV I alos nfo med pax that
2312523735803    2/5/2020 JZFL9I, JZFL9I           CR/RR        Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                       Unscheduled Ma ntenance      Compla nt          Pax called n ask ng fo comp fo he fl ght delay.
                                                                                                                                                                                                                                                                                  somet me th ngs come up and nsu ng that the plane s safe to
                                                                                                                                                                                                                                                                                  fly s ou numbe one conce n. Pax was g ateful fo SLV and
                                                                                                                                                                                                                                                                                  d sconnected.

                                                                                                                                                                                                                                                                               pax called stated she s t avel ng to sons event stated once
                                                                                                                                                                                                                                                                               a v ng n DEN was ebooked and now w ll be m ss ng event and
                                                                                                                                                                                                                                                                               stated was ssued a 100 slv. pax seek ng to be compensated as
                                                                                                                                                                                                                                                                               othe passenge s on a d ffe ent fl ght. stated wh le at the a po t
                                                                                                                                                                                                                                                                               agents made an announcement they would ssue pax $400 slv
                                                                                                                                                                                                                                                                               and ebooked. I adv pax we handle each s tuat on case by case I
                                                                                                                                                                                                                                                                               would not be able to speak on eason why they made
                                                                                                                                                                                                                                                                               announcement as they handle s tuat ons d ffe ently at the
                                                                                                                                                                                                                          fl ght delay, pax ebooked fo late fl ght stated w th
                                                                                                                                                                                                                                                                               a po t I adv I would document he conce ns and I adv g ven
2312525562770    2/5/2020 L3K324                   CR/RR        Phone      Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                       Unscheduled Ma ntenance      Comment/Quest on   out be ng adv was ssued a $100 seek ng an add t onal
                                                                                                                                                                                                                                                                               c cumstances I would ssue he an add t onal $150 slv as gog pax
                                                                                                                                                                                                                          amount.
                                                                                                                                                                                                                                                                               was upset w th amount seek ng add t onal. I adv we wouldn't be
                                                                                                                                                                                                                                                                               able to ssue anyth ng mo e. pax stated she was ok to us to ssue
                                                                                                                                                                                                                                                                               SLV but stated was go ng to speak w th agents aga n to see f
                                                                                                                                                                                                                                                                               they would ssue he mo e compensat on and ended call




                                                                                                                                                                                                                                                                                  Cla m No 180979723


                                                                                                                                                                                                                                                                                  al eady added to PNR, He lo!
                                                                                                                                                                                                                                                                                  I booked w th a th d pa ty webs te fo th s fl ght and was
2312557781256    2/6/2020 JWPQQV, JWPQQV, JWPQQV Rese vat ons   Web Fo m   A po t Expe ence                Secu ty TSA                   Checkpo nt                       D Inqu y                     Comment/Quest on   needs to add KTN to PNR
                                                                                                                                                                                                                                                                                  unable to add my Known T avele numbe fo TSA p e Check, s
                                                                                                                                                                                                                                                                                  the e any way I can do that now?, no el pa ty/contacts




                                                                                                                                                                                                                                                                                                                                   Appx. 158
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                                                                                                                                                                                                                                                                                       Have a fl ght TB53M9
                                                                                                                                                                                                                                                                                       Left a po t du ng layove and am stuck to get back to a po t
                                                                                                                                                                                                                               Custome left a po t du ng layove and wants to
2312688179850   2/10/2020 TB53M9, TB53M9              Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Change Book ng                 Comment/Quest on                                                           on t me.
                                                                                                                                                                                                                               know about standby
                                                                                                                                                                                                                                                                                       Can I please get stand by., no el pty/no contacts
                                                                                                                                                                                                                                                                                       He lo,

                                                                                                                                                                                                                                                                                       Could you please send me a conf mat on of boa d ng the fl ght
                                                                                                                                                                                                                                                                                       to my ema                         ?
2312688818584   2/10/2020 W66O3A, W66O3A              Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts      Comment/Quest on   Membe s equest ng fo copy of boa d ng pass.
                                                                                                                                                                                                                                                                                       I need t fo the bus ness t p epo t.

                                                                                                                                                                                                                                                                                   Best Rega ds,
                                                                                                                                                                                                                                                                                         , n p/nc
                                                                                                                                                                                                                                                                                   Calle 's Name
                                                                                                                                                                                                                                                                                   b.Membe s Name
                                                                                                                                                                                                                                                                                   c.Membe s RR Numbe
                                                                                                                                                                                                                                                                                   d.Contact Telephone Numbe
2312758964934   2/11/2020 RLQGTW, RLQGTW              CR/RR          Phone          Rap d Rewa ds                Account Info mat on/Updates   Account Act v ty/Status       Past Fl ght Po nts             Comment/Quest on   Rap d Rewa ds Inqu y Past Fl ght Po nts 100%ve f ed e.Contact E-Ma
                                                                                                                                                                                                                                                                                   f.Flown PNR(s) RLQGTW
                                                                                                                                                                                                                                                                                   g Passenge Name
                                                                                                                                                                                                                                                                                   h.Fl ght Date (s) 06/28/19
                                                                                                                                                                                                                                                                                   , Manually added po nts fo RLQGTW 6/28-7/6/19
                                                                                                                                                                                                                                                                                       I wanted to book a fl ght on 1/6/20 fo FLL to DEN fo 3/26/20 to
                                                                                                                                                                                                                                                                                       3/29/20. I booked t unfo tunately t was etu n ng on 4/29/20
                                                                                                                                                                                                                                                                                        nstead of 3/29/20. The e was no nd cat on that th s was the
                                                                                                                                                                                                                                                                                       case desp te the ext ao d na ly long du at on. I eal zed the
                                                                                                                                                                                                                                                                                       e o on 2/6/20 and called Southwest Custome Se v ce. The
                                                                                                                                                                                                                                                                                       woman I spoke w th l te ally laughed when I told he my ssue,
                                                                                                                                                                                                                                                                                       wh ch was nfu at ng, and she p ov ded no solut on to my ssue.
                                                                                                                                                                                                                                                                                       I got off the phone and changed my etu n ng fl ght to the
                                                                                                                                                                                                                               custome book ng e o . wants upg ade he pa d to          co ect date of 3/29/20.
2312773272817   2/12/2020 P65KB5                      CR/RR          Web Fo m       Refunds                      Refund Request                T ckets/Fa es                 Non efundable                  Compla nt
                                                                                                                                                                                                                               co ect t efunded
                                                                                                                                                                                                                                                                                       I'm contact ng you because I would l ke the $460 efunded to
                                                                                                                                                                                                                                                                                       me fo th s e o . Not only am I a f equent Southwest custome ,
                                                                                                                                                                                                                                                                                       but I use my Chase Southwest c ed t ca d as my p ma y ca d. I
                                                                                                                                                                                                                                                                                       have pa d off the balance and I'm now cons de ng not us ng
                                                                                                                                                                                                                                                                                       that ca d any mo e depend ng on whethe th s esolut on can
                                                                                                                                                                                                                                                                                       take place.

                                                                                                                                                                                                                                                                                       Let me know. Thank you.
                                                                                                                                                                                                                                                                                       membe ve f ed he acct 100% and called to add PFP. Jess ca ec
                                                                                                                                                                                                                                                                                       an e o message due to name and dob e o . I apolog zed and
                                                                                                                                                                                                                                                                                       adv sed I w ll add PFP and to a low 24 hou s fo update. Membe
                                                                                                                                                                                                                                                                                       was app ec at ve and thanked me fo ass st ng he .
                                                                                                                                                                                                                                                                                       Thanks Tonya


                                                                                                                                                                                                                                                                                       LTSVKI BASE FARE $41 56 252 manually add ng wga fa e
                                                                                                                                                                                                                                                                                       LTLQU9 BASE FARE $240.63 1 444
                                                                                                                                                                                                                                                                                       PB69ZZ BASE FARE$46.21 327 manually add
                                                                                                                                                                                                                                                                                       manually add ng Total of 2 023 to RR due to name DOB e o
                                                                                                                                                                                                                                                                                       w th PFP.
                                                                                                                                                                                                                                                                                       , membe ve f ed he acct 100% and ca led to add PFP. Jess ca
                                                                                                                                                                                                                                                                                        ec an e o message due to name and dob e o . I apolog zed
2312794597269   2/12/2020 LTLQU9, LTSVKI, PB69ZZ      CR/RR          Phone          Rap d Rewa ds                Account Info mat on/Updates   Po nts Acc ual                Po nts pe Dolla Ea ned         Comment/Quest on   Membe called to add PFP added fo 3 PNR's
                                                                                                                                                                                                                                                                                       and adv sed I w l add PFP and to allow 24 hou s fo update.
                                                                                                                                                                                                                                                                                       Membe was app ec at ve and thanked me fo ass st ng he .
                                                                                                                                                                                                                                                                                       Thanks Tonya


                                                                                                                                                                                                                                                                                       LTSVKI BASE FARE $41 56 252 manually add ng wga fa e
                                                                                                                                                                                                                                                                                       LTLQU9 BASE FARE $240.63 1 444
                                                                                                                                                                                                                                                                                       PB69ZZ BASE FARE$46.21 327 manually add
                                                                                                                                                                                                                                                                                       manually add ng Total of 2 023 to RR due to name DOB e o
                                                                                                                                                                                                                                                                                       w th PFP.
                                                                                                                                                                                                                                                                                       , membe ve f ed he acct 100% and ca led to add PFP. Jess ca
                                                                                                                                                                                                                                                                                        ec an e o message due to name and dob e o . I apolog zed
                                                                                                                                                                                                                                                                                       and adv sed I w l add PFP and to allow 24 hou s fo update.
                                                                                                                                                                                                                                                                                       Membe was app ec at ve and thanked me fo ass st ng he
                                                                                                                                                                                                                                                                                       cancelled ese vat on and held funds, I cancelled U8ZKDI f om
                                                                                                                                                                                                                                                                                       MDW to GRR. I also need my second seat J49M2I cance led - I'm
                                                                                                                                                                                                                                                                                       not su e f you efund the second seat f t avel was cancelled. So
2312852265973   2/13/2020 J49M2I, J49M2I, J49M2I      Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Change Book ng                 Comment/Quest on   custome needs ese vat on fo second seat cance led
                                                                                                                                                                                                                                                                                        f t goes nto es dual funds, that's f ne too, go ahead and cancel
                                                                                                                                                                                                                                                                                       the second seat and let me know whethe t's a efund o
                                                                                                                                                                                                                                                                                        es dual funds., No el pty and no contacts
                                                                                                                                                                                                                                                                                       sent RFI last week w th no esponse, and also d aled out today
                                                                                                                                                                                                                                                                                       w th no esponse. obse ved that second half of he ese vat on
                                                                                                                                                                                                                                                                                       no showed, but as t was not ncluded n the webfo m,
                                                                                                                                                                                                                                                                                        espond ng v a w t ng to baggage conce ns., S nce hav ng my
                                                                                                                                                                                                                                                                                       f st ch ld, Ive exclus vely chosen Southwest A l nes fo the g eat
                                                                                                                                                                                                                                                                                       flex b l ty fo fam l es and know I can always count on the
                                                                                                                                                                                                                                                                                       f endly staff to lend a hand and help a mom out wh le t avel ng
                                                                                                                                                                                                                                                                                       w th a young ch ld.

                                                                                                                                                                                                                                                                                       Fo th s eason, I was absolutely appalled at the t eatment I
                                                                                                                                                                                                                                                                                        ece ved f om Southwest staff on my ecent t p f om San D ego
                                                                                                                                                                                                                                                                                       th ough Da las and Houston. I was t avel ng solo w th my one
                                                                                                                                                                                                                                                                                       yea old daughte to attend the fune al of a dea f end. The
                                                                                                                                                                                                                               states ncons stenc es w th ega d to ca yon baggage      plan was to meet my mothe wh le on layove n Dallas and d op
2312852507823   2/13/2020 MNFY9X, MNFY9X              CR/RR          Web Fo m       Baggage                      Ca yon                        Gu del nes                    S ze                           Compla nt
                                                                                                                                                                                                                               pol c es. poo custome se v ce.                          off my daughte fo a weekend w th g andma wh le I cont nued
                                                                                                                                                                                                                                                                                       my t p to Houston. S nce I planned fo a qu ck hando f between
                                                                                                                                                                                                                                                                                       fl ghts, I chose to b ng my daughte s th ngs n a ca y on
                                                                                                                                                                                                                                                                                       su tcase and take a la ge pu se fo myself. I was sl ghtly wea y of
                                                                                                                                                                                                                                                                                       b ng ng the su tcase as a ca yon but was assu ed by my
                                                                                                                                                                                                                                                                                       husband that hes done th s seve al t mes w thout ssue. Fo my
                                                                                                                                                                                                                                                                                       peace of m nd, we checked the Southwest webs te fo ca yon
                                                                                                                                                                                                                                                                                       d mens ons and measu ed the bag to make su e t was the ght
                                                                                                                                                                                                                                                                                       s ze. Measu ements we e exact to what Southwest says you can
                                                                                                                                                                                                                                                                                       ca y on the plane but I b ought anothe bag n the ca just n
                                                                                                                                                                                                                                                                                       case. Once we a ved at the a po t a ound 5am, I went and
                                                                                                                                                                                                                                                                                       measu ed the bag n the ca yon stand at the cu b ( t f t
                                                                                                                                                                                                                                                                                       pe fectly) and then just to t ple check, showed my bag to the
                                                                                                                                                                                                                                                                                         o t ep at baggage check to make su e t was the ght s ze
                                                                                                                                                                                                                                                                                       #9102249

                                                                                                                                                                                                                                                                                       cons de ng ntntl phone b l e mbu sement due to lost baggage
                                                                                                                                                                                                                                                                                       settlement, SC TL Col n adv to equest ece pts, ece pts
                                                                                                                                                                                                                                                                                       attached, Col n cons de ng cutt ng a check

                                                                                                                                                                                                                                                                                       pax l ves n London but flew us fo a domest c flt PNR LTKBNH
                                                                                                                                                                                                                                                                                       (base 300.07), pax also had PNR KFNYI6 booked but d d not fly
                                                                                                                                                                                                                                                                                       that, pax phone b ll s $105.00 B t sh pounds ( oughly $136.56
                                                                                                                                                                                                                                                                                       USD pe google sea ch)

                                                                                                                                                                                                                                                                                       pax w ll not be ng n the US any t me soon to fly SWA aga n, was
                                                                                                                                                                                                                                                                                       not ssued SLV o any e mbu sement at the moment pe the
                                                                                                                                                                                                                               #9102249
                            KFNYI6, LTKBNH, KFNYI6,                                                                                                                                                                                                                                    pend ng nett ace epo t
2312986470851   2/17/2020                             CR/RR          Soc al Med a   Baggage                      Checked                       Lost/Delayed Bag              Inte m Expenses                Comment/Quest on   cons de ng ntntl phone b ll e mbu sement due to
                            LTKBNH, KFNYI6, LTKBNH
                                                                                                                                                                                                                               lost baggage settlement
                                                                                                                                                                                                                                                                                       MCOWN02792581

                                                                                                                                                                                                                                                                                       nett ace ema ks ( nco ect PNR)

                                                                                                                                                                                                                                                                                       PAX WAS ORIG BOOKED TO TRAVEL MSY-ATL ON ONE PNR -
                                                                                                                                                                                                                                                                                       KWJODQ. THIS IS WHAT HER BAG WAS CHECKED UNDER IN MSY.
                                                                                                                                                                                                                                                                                       HOWEVER, SHE HAD ANOTHER BOOKING FOR LTKBN4 IN WHICH
                                                                                                                                                                                                                                                                                       MSY CHECKED HER IN UNDER FOR MSY-ATL-MCO, HOWEVER,
                                                                                                                                                                                                                                                                                       HER BAG WAS NEVER TAGGED ALL THE WAY TO MCO. 91-MSY
                                                                                                                                                                                                                                                                                       DUE TO NOT VERIFYING FINAL DESTINATION.

                                                                                                                                                                                                                                                                                       follow ng up w th pax when I have a set answe , #9102249

                                                                                                                                                                                                                                                                                        book two t ckets th ough anothe vendo (Esky)and am t y ng
                                                                                                                                                                                                                                                                                       to get the conf mat on numbe s.I called Southwest and the
                                                                                                                                                                                                                                                                                       agent (ve y helpfu ) sa d to send a ema l to see f th s could
                                                                                                                                                                                                                                                                                       happen.The fl ghts we e booked and pa d fo w th c ed t ca d
                                                                                                                                                                                                                                                                                       end ng n 6852 and the fl ght numbe was 739 on Feb 29th at
2313020739900   2/18/2020 SPVXEL, SPVXEL              Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts      Comment/Quest on   Request to have the t ne a y esent
                                                                                                                                                                                                                                                                                       14 45 f om Kona to Kahulu w th names on the ese vat on of
                                                                                                                                                                                                                                                                                       G aeme and Una Gee.Please p ov de the conf mat on numbe s
                                                                                                                                                                                                                                                                                       as soon as you can.
                                                                                                                                                                                                                                                                                       Thank you fo you t me
                                                                                                                                                                                                                                                                                       G aeme Gee, n p/ctcs
                                                                                                                                                                                                                                                                                       Dea Team,

                                                                                                                                                                                                                                                                                       K ndly Please cancel the fl ght and p oceed w th the efund due
                                                                                                                                                                                                                                                                                       to med cal ezone w th the follow ng ese vat on- SFO-LAS-LIT
                                                                                                                                                                                                                                                                                       Date of T avel 19-Dec-2019 PNR - JTNEBR Passenge name

2313041085145   2/18/2020 JTNEBR, JTNEBR              CR/RR          Web Fo m       Refunds                      Refund Request                Refund P ocedu es             Req. Documentat on fo Refund   Compla nt          Book ng s te ask ng fo efund of t cket due to med cal
                                                                                                                                                                                                                                                                                       If you need any documents please feel f ee to contact us.

                                                                                                                                                                                                                                                                                       Best Rega ds,
                                                                                                                                                                                                                                                                                       K w com, no el pty/s
                                                                                                                                                                                                                                                                                       seems l ke a book ng agency t y ng to get med cal efund.
                                                                                                                                                                                                                                                                                       Request ng dox ust n case
                                                                                                                                                                                                                                                                                       H team, I would l ke to ask d d you sto e B th date befo e check-
                                                                                                                                                                                                                                                                                       n? and s t mandato y to add m ddle name. f yes please,
2313068095436   2/19/2020 WRBBTR, WRBBTR              Rese vat ons   Web Fo m       Rese vat ons/T ckets/Fa es   Rese vat ons                  Ass stance n book ng          Book ng E o                    Comment/Quest on   ve fy date of b th, m ddle name
                                                                                                                                                                                                                                                                                       p oceed w th changes, f t s poss ble, of cou se
                                                                                                                                                                                                                                                                                               and m ddle name                ., no el ptys o contacts




                                                                                                                                                                                                                                                                                                                                        Appx. 159
           Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                                                               Page 160 of 571 PageID 332

                                                                                                                                                                                                                                                                               PAX ca led stated she ca led to cancel ese vat on along w th
                                                                                                                                                                                                                                                                               nqzd7p that also l sted as a no show she stated she was ll and
                                                                                                                                                                                                                                                                               not able to t avel, I adv pax no show pol cy adv f she has dox we
                                                                                                                                                                                                                                                                               can cons de fo efund pax asked f we a e able to pu l ca l and
                                                                                                                                                                                                                                                                               ve fy, p ov ded deta ls of t me and date I adv pax I would do
                                                                                                                                                                                                                                                                               what I can to f nd call but f she has dox to send n p ov ded
                                                                                                                                                                                                                                                                               deta ls to send n dox pax unde stood and ended call , PAX
                                                                                                                                                                                                                                                                               called stated she called to cancel ese vat on along w th nqzd7p
                                                                                                                                                                                                                                                                               that also l sted as a no show she stated she was ll and not able
                                                                                                                                                                                                                                                                               to t avel, I adv pax no show pol cy adv f she has dox we can
                                                                                                                                                                                                                                                                               cons de fo efund pax asked f we a e able to pu l call and
                                                                                                                                                                                                                                                                               ve fy, p ov ded deta ls of t me and date I adv pax I would do
                                                                                                                                                                                                                                                                               what I can to f nd call but f she has dox to send n p ov ded
                            MW3V9Z, NQZD7P, W6NCVB,                                                                                                                                                                                                                            deta ls to send n dox pax unde stood and ended call , PAX
2313257627621   2/24/2020                           CR/RR            Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds   Attempted Cancel by Phone     Compla nt          Span sh WGA no-show.
                            MW3V9Z, NQZD7P, W6NCVB                                                                                                                                                                                                                             called stated she called to cancel ese vat on along w th nqzd7p
                                                                                                                                                                                                                                                                               that also l sted as a no show she stated she was ll and not able
                                                                                                                                                                                                                                                                               to t avel, I adv pax no show pol cy adv f she has dox we can
                                                                                                                                                                                                                                                                               cons de fo efund pax asked f we a e able to pu l call and
                                                                                                                                                                                                                                                                               ve fy, p ov ded deta ls of t me and date I adv pax I would do
                                                                                                                                                                                                                                                                               what I can to f nd call but f she has dox to send n p ov ded
                                                                                                                                                                                                                                                                               deta ls to send n dox pax unde stood and ended call , Pax cla ms
                                                                                                                                                                                                                                                                               that she called to have ese vat on MW3V9Z canceled p o to
                                                                                                                                                                                                                                                                               depa tu e date.

                                                                                                                                                                                                                                                                               I adv sed that she canceled PNR W6NCVB (booked 12/12/2019,
                                                                                                                                                                                                                                                                               canceled 12/16/2019) and ece ved c ed t 0f $168 wh ch she
                                                                                                                                                                                                                                                                               then appl ed to book PNR MW3V9Z (booked 01/01/2020).
                                                                                                                                                                                                                                                                               Cla ms that she called to have t canceled two days befo e but
                                                                                                                                                                                                                                                                               Compla nt Ove we ght baggage
                                                                                                                                                                                                                                                                               I have had a book ng on th s fl ght th ough ESky.com. I a ved
                                                                                                                                                                                                                                                                                n the count y f om Ta wan, EVA A .
                                                                                                                                                                                                                                                                               on the same date.

                                                                                                                                                                                                                                                                              I left Tha land w th 1 p ece of baggage we gh ng 22 7kg o 50.04
                                                                                                                                                                                                                                                                              lbs. Th s was the we ght and t was unde we ght. Upon my
                                                                                                                                                                                                                                                                              a val I took my baggage f om my nte nat onal fl ght to the
                                                                                                                                                                                                                                                                              above ment oned f ght on South West. Upon a v ng SUDDENLY
                                                                                                                                                                                                                         Pax upset w th baggage cha ge says that he bag was my baggage was acco d ng to South West OVERWEIGHT
2313410768610   2/28/2020 VKM74Q, VKM74Q, VKM74Q CR/RR               Web Fo m   Baggage                         Checked                       Fees                      Ove s zed/Ove we ght          Compla nt          50 lbs on he nte nat onal fl ght but then was ma ked (52.5lbs)and I had to pay $75. Whe e d d th s we ght suddenly
                                                                                                                                                                                                                         ove cha ged on he domest c wants explanat on         come f om? How s th s poss ble that a bag we ghs 50.04lbs at
                                                                                                                                                                                                                                                                              take off and then we ghs 52.2 lbs upon a v ng? I would l ke
                                                                                                                                                                                                                                                                              South west to expla n th s to me as th s s unacceptable. I would
                                                                                                                                                                                                                                                                              l ke to have an answe as I now that t was acco d ng to South
                                                                                                                                                                                                                                                                              West heav e than at anothe nte nat onal a po t. I do th nk
                                                                                                                                                                                                                                                                              that I have been cha ged and had to pay fo nco ect we ght.
                                                                                                                                                                                                                                                                              Please espond to me. I would l ke to ask on Soc al Med a f th s
                                                                                                                                                                                                                                                                              happened to othe passenge s on any South West fl ght befo e
                                                                                                                                                                                                                                                                              as th s s unacceptable., n ps/s s, Pax was cha ged fo
                                                                                                                                                                                                                                                                              ove we ght bag.
                                                                                                                                                                                                                                                                                    adv he canceled h s sea to den but fo got to cancel h s den
                                                                                                                                                                                                                                                                               to stl t p on sepa ate pn and look ng fo access to h s fo fe ted
                                                                                                                                                                                                                                                                               funds. apologz and adv ou nshw pol cy and unable to p ov de
                                                                                                                                                                                                                                                                               access n any way the funds have been fo fe ted and no longe
                                                                                                                                                                                                                                                                               ava l fo use. pax d sappo nted no except on s ava lable.
                                                                                                                                                                                                                                                                               apologz aga n . D anne x2359        adv he canceled h s sea to
2313415242122   2/28/2020 N5PUUX, N6FHZ6              CR/RR          Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds   Pol cy Adhe ence              Compla nt          nshw pol cy adhe ence
                                                                                                                                                                                                                                                                               den but fo got to cancel h s den to stl t p on sepa ate pn and
                                                                                                                                                                                                                                                                               look ng fo access to h s fo fe ted funds. apologz and adv ou
                                                                                                                                                                                                                                                                               nshw pol cy and unable to p ov de access n any way the funds
                                                                                                                                                                                                                                                                               have been fo fe ted and no longe ava l fo use. pax
                                                                                                                                                                                                                                                                               d sappo nted no except on s ava lable. apologz aga n . D anne
                                                                                                                                                                                                                                                                               x2359
                                                                                                                                                                                                                                                                               ARD, ve f ed pn R5X 7Y s st ll act ve and has not been
                                                                                                                                                                                                                                                                               canceled., Hello. I am w tt ng, because I got a seve e nju y and
                                                                                                                                                                                                                                                                               cannot attend my fl ght on the 18th of Ma ch, 2020. I know I
                                                                                                                                                                                                                                                                               choose a save t cket, but I d d that only because I new exact
                                                                                                                                                                                                                         Refund equest of WGA t cket had to cancel due to      date when I can leave my college to go home, so flex ble t cket
2313512987083    3/2/2020 R5XJ7Y, R5XJ7Y, R5XJ7Y      Rese vat ons   Web Fo m   Refunds                         Refund Request                T ckets/Fa es             Non efundable                 Comment/Quest on
                                                                                                                                                                                                                         nju y equ ng su ge y.                                 was not necessa y. I couldn't fo esee that I w l get nju y and
                                                                                                                                                                                                                                                                               that eme gency su ge y w ll be needed. So s the e any chance
                                                                                                                                                                                                                                                                               gett ng a efund? I can p ov de med cal eco ds as a p oof of my
                                                                                                                                                                                                                                                                                n u y f needed. Refund s necessa y, because I need to pay fo
                                                                                                                                                                                                                                                                               my su ge y. Thank you., no el pty, no contacts
                                                                                                                                                                                                                                                                               He lo, I would l ke to nqu e about the cance lat on of my
                                                                                                                                                                                                                                                                               fl ghts. I o g nally booked ound t p t ckets f om Honolulu to
                                                                                                                                                                                                                                                                               H lo fo 3 people. But due to the se ous outb eak of Co ona
                                                                                                                                                                                                                                                                               V us n Ko ea d d not have cho ce but to g ve up my plan to
                                                                                                                                                                                                                                                                               v s t Hawa .
                                                                                                                                                                                                                                                                               S nce th s s tuat on s ve y unusual, would you cons de
                                                                                                                                                                                                                                                                               cancell ng my jou ney w thout any cha ge? I al eady saw f om
                                                                                                                                                                                                                                                                               othe Ko ean passenge s cases that you company k ndly
                                                                                                                                                                                                                                                                               p ov ded f ee cance lat on.
                                                                                                                                                                                                                                                                                Because d d not book my fl ghts on you off c al webs te, f st
                                                                                                                                                                                                                                                                               have to get you pe m ss on and w ll have to send that to
                                                                                                                                                                                                                                                                               T p.com whe e made a ese vat on.
                                                                                                                                                                                                                                                                               Thank you!, Hello, I would l ke to nqu e about the cancellat on
                            OSRTKW, OTATLY, OSRTKW,                                                                                                                                                                                                                            of my fl ghts. I o g nally booked ound t p t ckets f om
2313537159222    3/2/2020                           CR/RR            Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                         Custome Events            Pend ng Catego y              Comment/Quest on   Co onav us 2020
                            OTATLY                                                                                                                                                                                                                                             Honolulu to H lo fo 3 people. But due to the se ous outb eak
                                                                                                                                                                                                                                                                               of Co ona V us n Ko ea d d not have cho ce but to g ve up my
                                                                                                                                                                                                                                                                               plan to v s t Hawa .
                                                                                                                                                                                                                                                                               S nce th s s tuat on s ve y unusual, would you cons de
                                                                                                                                                                                                                                                                               cancell ng my jou ney w thout any cha ge? I al eady saw f om
                                                                                                                                                                                                                                                                               othe Ko ean passenge s cases that you company k ndly
                                                                                                                                                                                                                                                                               p ov ded f ee cance lat on.
                                                                                                                                                                                                                                                                                Because d d not book my fl ghts on you off c al webs te, f st
                                                                                                                                                                                                                                                                               have to get you pe m ss on and w ll have to send that to
                                                                                                                                                                                                                                                                               T p.com whe e made a ese vat on.
                                                                                                                                                                                                                                                                               Thank you!, Wo k ng n Refunds Dox folde . Dox attached.

                                                                                                                                                                                                                                                                               Custome o g nally contacted us n th s web fo m stat ng h s
                                                                                                                                                                                                                                                                                     scalled
                                                                                                                                                                                                                                                                                       f m Koseeea
                                                                                                                                                                                                                                                                                                nghf they
                                                                                                                                                                                                                                                                                                       been c ncele
                                                                                                                                                                                                                                                                                                          could eplaceequest ng efu
                                                                                                                                                                                                                                                                                                                       the name   w thd the
                                                                                                                                                                                                                                                                               husbands because the docto adv sed them not to t avel due
                                                                                                                                                                                                                                                                               to pe sonal med cal ssues. I offe ed a efund of the t cket and
                                                                                                                                                                                                                                                                               let        know that they would need to pu chase a new t cket n
                                                                                                                                                                                                                                                                               the usbands name. Pax pu chased t cket fo $45 and cu ent
                                                                                                                                                                                                                                                                               fa e s now $363 one way. Pax booked th ough a th d pa ty and
                                                                                                                                                                                                                                                                                s conce ned w th gett ng the efund back f om the th d pa ty
                                                                                                                                                                                                                                                                               and s want ng a SLV nstead. Info med pax that we can only
                                                                                                                                                                                                                                                                                efund back to the o g nal fo m of payment o offe t avel funds
                                                                                                                                                                                                                                                                               that can be used n he name.

                                                                                                                                                                                                                                                                               Pax s unde stand ng about the s tuat on, howeve asked to
                                                                                                                                                                                                                                                                               speak to a supe v so a few t mes. I nfo med pax that
                            J2CHOH, JONO7S, J2CHOH,                                                                                                                                                                                                                             eg ettably name changes s a pol cy that we can't get a ound
2313618184183    3/5/2020                             CR/RR          Phone      Rese vat ons/T ckets/Fa es      Fa es                         Wanna Get Away            Fa e Rules/Info mat on        Comment/Quest on   Pax seek ng name change fo t ne a y.
                            JONO7S, J2CHOH, JONO7S                                                                                                                                                                                                                             and that a supe v so can d scuss t fu the w th them. Pax s
                                                                                                                                                                                                                                                                               want ng a vouche nstead of a efund to put towa ds husbands
                                                                                                                                                                                                                                                                               t cket. Pax s ve y n ce and unde stand ng about the pol cy,
                                                                                                                                                                                                                                                                               howeve asked to speak to a supe v so a few t mes and that's
                                                                                                                                                                                                                                                                               why I'm escalat ng t fu the . Thanks.

                                                                                                                                                                                                                                                                                     best contact numbe                        called see ng f
                                                                                                                                                                                                                                                                               t ey could eplace the name w t t e usbands because the
                                                                                                                                                                                                                                                                               docto adv sed them not to t avel due to pe sonal med cal
                                                                                                                                                                                                                                                                                ssues. I o fe ed a efund of the t cket and let        know that
                                                                                                                                                                                                                                                                               they would need to pu chase a new t cket n the husbands
                                                                                                                                                                                                                                                                               name. Pax pu chased t cket fo $45 and cu ent fa e s now $363
                                                                                                                                                                                                                                                                               one way. Pax booked th ough a th d pa ty and s conce ned
                                                                                                                                                                                                                                                                               w th gett
                                                                                                                                                                                                                                                                               #2180  wasngdelayed
                                                                                                                                                                                                                                                                                             the ef 97m
                                                                                                                                                                                                                                                                                                      d ba
                                                                                                                                                                                                                                                                                                        n tok fHOU due
                                                                                                                                                                                                                                                                                                                   the th d pa t GOt dn satw1112a
                                                                                                                                                                                                                                                                                                                       to mx02.              nt g
                                                                                                                                                                                                                                                                               and #108 left ont m at 11a. was eaccomm next day on #108,
                                                                                                                                                                                                                                                                               #2180 was delayed 97m n to HOU due to mx02. GOt n at 1112a
                                                                                                                                                                                                                                                                               and #108 left ont m at 11a. was eaccomm next day on #108,
                                                                                                                                                                                                                                                                               Cla m No 182107645 and Cla m No 182107726 - 300, Cla m No
                                                                                                                                                                                                                                                                               182107645 and Cla m No 182107726 - 300, I would l ke
                                                                                                                                                                                                                                                                               compensat on fo th s fl ght cance lat on due to m ss ng an
                                                                                                                                                                                                                                                                               ent e n ght n PVR, as SW was unable to get myself and my w fe
                                                                                                                                                                                                                                                                               on any othe fl ght that day. We we e stuck n HOU fo the n ght
                                                                                                                                                                                                                                                                               and m ssed an ent e n ght and half a day n PVR.

                                                                                                                                                                                                                                                                              I pa d fo a n ght n HOU (food/hotel/t anspo tat on) as well as
                                                                                                                                                                                                                                                                              lost money at the eso t n Mex co fo the n ght of 2/27/20 and
                          J5QI4S, J5VOIJ, J5QI4S,
                                                                                                                                                                                                                         pax seek ng comp fo l ght cancellat on and m ss ng a was unable to be efunded. I have documentat on of all
2313620487927    3/5/2020 J5VOIJ, J5QI4S, J5VOIJ,     CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Mechan cal                Reaccom D ffe ent Day         Compla nt
                                                                                                                                                                                                                         n ght n PVR                                          expenses ncu ed due to th s fl ght cancellat on and
                          J5QI4S, J5VOIJ
                                                                                                                                                                                                                                                                              documentat on of money lost fo the n ght of 2/27/20 n PVR.

                                                                                                                                                                                                                                                                               Please let me know my next steps, thank you.
                                                                                                                                                                                                                                                                                                I would l ke compensat on fo th s fl ght
                                                                                                                                                                                                                                                                               cance lat on due to m ss ng an ent e n ght n PVR, as SW was
                                                                                                                                                                                                                                                                               unable to get myse f and my w fe on any othe fl ght that day.
                                                                                                                                                                                                                                                                               We we e stuck n HOU fo the n ght and m ssed an ent e n ght
                                                                                                                                                                                                                                                                               and half a day n PVR.

                                                                                                                                                                                                                                                                               I pa d fo a n ght n HOU (food/hotel/t anspo tat on) as well as
                                                                                                                                                                                                                                                                               lost money at the eso t n Mex co fo the n ght of 2/27/20 and
                                                                                                                                                                                                                                                                               was unable to be efunded. I have documentat on of all
                                                                                                                                                                                                                                                                               expenses ncu ed due to th s fl ght cancellat on and
                                                                                                                                                                                                                                                                             -- Cust
                                                                                                                                                                                                                                                                             -- Occas onal flye , 3 CVS, CA es dent, Mem s nce 6/11/2012
                                                                                                                                                                                                                                                                             -- PNR MNFY9X
                                                                                                                                                                                                                                                                             -- Date 2/8
                                                                                                                                                                                                                         Pax compla ns of ca yon bag eject on, unhelpful and
                                                                                                                                                                                                                                                                             -- It ne a y FLT 4599 SAN-DAL
22346267         3/6/2020 MNFY9X, MNFY9X, MNFY9X      CR/RR          Lette      Custome Se v ce                 Pe sonnel                     Rudeness                  Unf endly/Unca ng/Unhelpful   Compla nt          unca ng SAN Ops Agent, caus ng ssues t avel ng w th
                                                                                                                                                                                                                                                                             -- Locat ng aga nst SAN G ound Ops
                                                                                                                                                                                                                         an nfant
                                                                                                                                                                                                                                                                             -- No SLVs ssued at a po t o by PCS, checked C us, RefundP o
                                                                                                                                                                                                                                                                             & Sma tcl xx, Issued a $50 SLV as a GOG
                                                                                                                                                                                                                                                                             Cla m No 182219466 PNR MNFY9X, No elated pa t es
                                                                                                                                                                                                                                                                             Related SR 2312852507823




                                                                                                                                                                                                                                                                                                                                Appx. 160
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                                                                                                                                                                                                                                                                                   Altea- co ected name, no el pa ty/contacts, Please do a last
2313783442947    3/9/2020 OUQ2B2, OUQ2B2, OUQ2B2 Rese vat ons            Web Fo m   Rese vat ons/T ckets/Fa es    Rese vat ons                  Ass stance n book ng          Book ng E o                 Comment/Quest on   Name co ect on                                        name co ect on fo            . The co ect spell ng s
                                                                                                                                                                                                                                                                                   **Kangas**
                                                                                                                                                                                                                                                                                   adv sed to send n dox f om othe ca e 's cancellat on., adv sed
                                                                                                                                                                                                                                                                                   to send n dox f om othe ca e 's cancellat on.,

                                                                                                                                                                                                                                                                                   no t e
                                                                                                                                                                                                                                                                                   no elated contacts o SRs, cjstodfany@gma l com
                                                                                                                                                                                                                                                                                   no t e
                                                                                                                                                                                                                                                                                   no elated contacts o SRs, Custome dox ece ved and attached
                                                                                                                                                                                                                                                                                   unde elated SR 2314928436535

                                                                                                                                                                                                                                                                                   a follow-up ema l f om pax w th dox. states they a e n South
                                                                                                                                                                                                                                                                                   Ko ea and fl ghts we e canceled and unable to t avel to the US
                                                                                                                                                                                                                                                                                   to then t avel w th SWA en oute to HI//
                          KHMQ5V, KJQ7MX,
                                                                                                                                                                                                                             Co onav us 2020
                          KHMQ5V, KJQ7MX,                                                                                                                                                                                                                                          Request ng a efund of the t cket w th dox., howeve , s nce p ev
2313788774129    3/9/2020                             CR/RR              Web Fo m   Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y            Comment/Quest on   seek ng efund of WGA fa e (t avel ng f om anothe
                          KHMQ5V, KJQ7MX,                                                                                                                                                                                                                                          commun cat on, t ckets we e no-showed and no funds f om
                                                                                                                                                                                                                             count y)
                          KHMQ5V, KJQ7MX                                                                                                                                                                                                                                           e the PNR to be efunded o c ed ted//

                                                                                                                                                                                                                                                                                   Thanks, Ja ed E140602, Custome dox ece ved and attached
                                                                                                                                                                                                                                                                                   unde elated SR 2314928436535

                                                                                                                                                                                                                                                                                   a follow-up ema l f om pax w th dox. states they a e n South
                                                                                                                                                                                                                                                                                   Ko ea and fl ghts we e canceled and unable to t avel to the US
                                                                                                                                                                                                                                                                                   to then t avel w th SWA en oute to HI//

                                                                                                                                                                                                                                                                                   Request ng a efund of the t cket w th dox., howeve , s nce p ev
                                                                                                                                                                                                                                                                                   commun cat on, t ckets we e no-showed and no funds f om
                                                                                                                                                                                                                                                                                   e the PNR to be efunded o c ed ted//
                                                                                                                                                                                                                                                                                   H , I have fou ese vat on by Southwest A l nes. BW -HOB, HOB -
                                                                                                                                                                                                                                                                                   LAS, LAS-SJC and SJC-SEA. I am com ng on hol day f om BLR ,
                                                                                                                                                                                                                                                                                   Ind a. The t p s du ng the month of Ap . I am a sen o c t zen
                                                                                                                                                                                                                                                                                   of 71 yea s old. As pe the t avel adv so y , elde ly people a e
                                                                                                                                                                                                                                                                                   adv sed not to t avel due to CLOVID 19. In such a scena o,
                                                                                                                                                                                                                                                                                   would the esteemed a l nes cancel the book t ckets and etu n
                                                                                                                                                                                                                                                                                   the money. My ent y t ckets to US f om BLR-IAD on 15 Ap and
                                                                                                                                                                                                                                                                                    etu n f om SEA-BLR on 06 May, l kely to be cancelled also.
                                                                                                                                                                                                                                                                                   Please eve t.Thanks, H , I have fou ese vat on by Southwest
                                                                                                                                                                                                                                                                                   A l nes. BW -HOB, HOB -LAS, LAS-SJC and SJC-SEA. I am com ng
                                                                                                                                                                                                                                                                                   on hol day f om BLR , Ind a. The t p s du ng the month of Ap .
                                                                                                                                                                                                                                                                                   I am a sen o c t zen of 71 yea s old. As pe the t avel adv so y ,
                                                                                                                                                                                                                                                                                   elde ly people a e adv sed not to t avel due to CLOVID 19. In
                            OJ9Q5H, OKEWZE, OMPZKJ,                                                                                                                                                                                                                                such a scena o, would the esteemed a l nes cancel the book
2313898733306   3/10/2020                             Execut ve Off ce   Web Fo m   Rese vat ons/T ckets/Fa es    Fa es                         Wanna Get Away                Fa e Rules/Info mat on      Comment/Quest on   Pax s seek ng a efund due to the co onav us
                            OJ9Q5H, OKEWZE, OMPZKJ                                                                                                                                                                                                                                 t ckets and etu n the money. My ent y t ckets to US f om BLR-
                                                                                                                                                                                                                                                                                   IAD on 15 Ap and etu n f om SEA-BLR on 06 May, l kely to be
                                                                                                                                                                                                                                                                                   cance led also. Please eve t.Thanks, H , I have fou ese vat on
                                                                                                                                                                                                                                                                                   by Southwest A l nes. BW -HOB, HOB -LAS, LAS-SJC and SJC-SEA.
                                                                                                                                                                                                                                                                                   I am com ng on hol day f om BLR , Ind a. The t p s du ng the
                                                                                                                                                                                                                                                                                   month of Ap . I am a sen o c t zen of 71 yea s old. As pe the
                                                                                                                                                                                                                                                                                   t avel adv so y , elde ly people a e adv sed not to t avel due to
                                                                                                                                                                                                                                                                                   CLOVID 19. In such a scena o, would the esteemed a l nes
                                                                                                                                                                                                                                                                                   cancel the book t ckets and etu n the money. My ent y t ckets
                                                                                                                                                                                                                                                                                   to US f om BLR IAD on 15 Ap and etu n f om SEA-BLR on 06
                                                                                                                                                                                                                                                                                   May, l kely to be cancelled also. Please eve t.Thanks, no el pty
                                                                                                                                                                                                                                                                                   no el s s

                                                                                                                                                                                                                                                                                   non membe no el pty
                                                                                                                                                                                                                                                                                   He lo,

                                                                                                                                                                                                                                                                                   So I pu chased a ound t cket f om BWI To Boston Logan (fl ghts
                                                                                                                                                                                                                                                                                   LZQT2K & M22ZO6) th ough K w t avels. But ecently due to
                                                                                                                                                                                                                                                                                   Co ona V us outb eak, my un ve s ty has ecommended to
                                                                                                                                                                                                                                                                                   avo d t avels f necessa y. S nce th s was just a sp ng b eak t p,
2313916363269   3/11/2020 M22ZO6, M22ZO6              Rese vat ons       Web Fo m   Rese vat ons/T ckets/Fa es    E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   It ne a y Rep nt/Rece pts   Comment/Quest on   Conf m change was made to pn .                        and w th the cu ent s tuat on I dec ded not to p oceed w th the
                                                                                                                                                                                                                                                                                   t p. But I couldn t manage to contact the t avel agency so I t ed
                                                                                                                                                                                                                                                                                   to change th s book ng to a futu e date th ough you app n my
                                                                                                                                                                                                                                                                                   phone. I am not qu te su e f t has wo ked. Can you k ndly
                                                                                                                                                                                                                                                                                   conf m f the dates has been escheduled to June? Can I have
                                                                                                                                                                                                                                                                                   an e-t cket fo the new t ne a y? Thank you,
                                                                                                                                                                                                                                                                                            non el ptys, d ffe ent ssue, no contacts
                                                                                                                                                                                                                                                                                   funds NS no except ons to make ega d ng contact as pax d d not
                                                                                                                                                                                                                                                                                    equest cancelat on of pn , JFW6GM
                                                                                                                                                                                                                                                                                   ETKT REVOKED BY WN DUE TO NOSHOW

                                                                                                                                                                                                                                                                                   --b ll ng add ess on PNR




                                                                                                                                                                                                                                                                                   **Rout ng to CR fo No Show except on. PAX made contact
                                                                                                                                                                                                                                                                                   befo e funds we e pulled, PAX l ves n Ch na and cannot t avel,
                                                                                                                                                                                                                                                                                   n p/n c
                                                                                                                                                                                                                                                                                   , To whom t may conce n,
                                                                                                                                                                                                                             change pol cy
                            JFW6GM, JFW6GM, JFW6GM,                                                                                                                                                                                                                                my w fe and I bought two t ckets to fly f om Ch cago to O lando
2313934514585   3/11/2020                           CR/RR                Web Fo m   Rese vat ons/T ckets/Fa es    Fa es                         Wanna Get Away                Fa e Rules/Info mat on      Comment/Quest on   --PAX l ves n Ch na, t avel ng fo honeymoon, funds
                            JFW6GM                                                                                                                                                                                                                                                 and plan to have ou honeymoon. Howeve , because of the
                                                                                                                                                                                                                             a e No Show
                                                                                                                                                                                                                                                                                   COVID-19 and the t avel ban set to Ch na, we can't take th s
                                                                                                                                                                                                                                                                                   fl ght. Is t poss ble to change the fl ght date? If yes, how much
                                                                                                                                                                                                                                                                                   ext a fee we need to pay?

                                                                                                                                                                                                                                                                                   We st ll want to t avel to O lando, but just hope to postpone
                                                                                                                                                                                                                                                                                   th s plan afte the end of COVID-19. Please let us know f we can
                                                                                                                                                                                                                                                                                   change the fl ght date.

                                                                                                                                                                                                                                                                                   Thank you so much fo you help n advance! Look ng fo wa d to
                                                                                                                                                                                                                                                                                   you eply!

                                                                                                                                                                                                                                                                                   Best,



                                                                                                                                                                                                                                                                                   PAX stated they we e t avel ng to and f om Ch na befo e fly ng
                                                                                                                                                                                                                                                                                   on SWA but now a e unable to do so due to the v us. Send ng
                                                                                                                                                                                                                                                                                   ema l ega d ng how to send accepted DOX show ng the othe
                                                                                                                                                                                                                                                                                   ca e 's cancellat on., To who t may conce n,
                                                                                                                                                                                                                                                                                   Th s                 , my son               .
                                                                                                                                                                                                                                                                                   Ou o g nal plan s I fly f om Ch na to LA on 3/27/2020, p ck up
                                                                                                                                                                                                                                                                                   my son who s n boa d ng school of LA. we w ll v s t seve al
                                                                                                                                                                                                                                                                                   un ve s ty campus n San F anc sco du ng sp ng fest val, so I
                                                                                                                                                                                                                                                                                   booked one fl ght on k w .com fo two of us.
                                                                                                                                                                                                                                                                                   Due to Cono av us outb eak n Ch na, I can t fly to States as
2313976729410   3/11/2020 KY5FIP, KY5FIP              CR/RR              Web Fo m   Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y            Compla nt          Co onav us 2020- PAX t avel ng to and f om Ch na.     today US sta ted to ban fo e gn nat onal ente ng to US who has
                                                                                                                                                                                                                                                                                   been to Ch na.
                                                                                                                                                                                                                                                                                   As t's natu e d saste , can I cancelled the fl ght and ece ve
                                                                                                                                                                                                                                                                                    efund f om you? k w com s not app oachable now.
                                                                                                                                                                                                                                                                                   Look ng fo wa d to you eply.


                                                                                                                                                                                                                                                                                   WN1787 ONT -SFO Ma ch 27, 2020
                                                                                                                                                                                                                                                                                   Southwest a l ne
                                                                                                                                                                                                                                                                                   20 40-22 00 1h20m n Y1196/2 pe son
                                                                                                                                                                                                                                                                                   agency k w .comt cket numbe KY5FIP


                                                                                                                                                                                                                                                                                   Due to t avel est ct ons I w ll not be able to ente the US,
                                                                                                                                                                                                                                                                                   com ng f om Eu ope. My fl ght f om Amste dam to Wash ngton
                                                                                                                                                                                                                                                                                   (Iceland A ) has been cancelled. I the efo e w l not be able to
                                                                                                                                                                                                                                                                                   t avel f om Wash ngton to A uba as planned. I would l ke to
                                                                                                                                                                                                                                                                                    equest efund. eschedul ng th s fl ght w l not help, as w ll
                                                                                                                                                                                                                             Co onav us 2020
                                                                                                                                                                                                                                                                                   p obably not be able to do the same t p some othe t me. Hope
2314023980830   3/12/2020 QH33QQ, QH33QQ              CR/RR              Web Fo m   Refunds                       Refund Request                T ckets/Fa es                 Non efundable               Comment/Quest on   Pax adv that they a e unable to t avel f om Eu ope
                                                                                                                                                                                                                                                                                   you can help.
                                                                                                                                                                                                                              equest ng efund of fl ght
                                                                                                                                                                                                                                                                                   S nce ely

                                                                                                                                                                                                                                                                                   PS fl ghtnumbe s WN1824. Could not ente that n fl ght
                                                                                                                                                                                                                                                                                   numbe box., No el pty/SR
                                                                                                                                                                                                                                                                                   Rese vat on st ll act ve 220.00 on es exp 2/17/20
                                                                                                                                                                                                                                                                                   ARD -ve f ed TTXYP3 (act ve pn ), non ef tkt, checked el
                                                                                                                                                                                                                                                                                   pty/ctcs
2314040317507   3/12/2020 TTXYP3, TTXYP3, TTXYP3      Rese vat ons       Web Fo m   Med a/Adv./Mktg. P omot ons   Med a                         Custome Events                Pend ng Catego y            Comment/Quest on   Refund equest due to Co ona V us.                     me ged 21220572413 o 21005880626, I have an upcom ng t p
                                                                                                                                                                                                                                                                                   on Ap l 9, 2020 but due the Co ona V us outb eak, ant to
                                                                                                                                                                                                                                                                                   cancel my t p and ask fo a efund.
                                                                                                                                                                                                                                                                                   spoke w th tl we both ag eed no slv n th s s tuat on.
                                                                                                                                                                                                                                                                                   new p og am agent can be educated
                                                                                                                                                                                                                                                                                   son had a h gh B boa d ng pos t on
                                                                                                                                                                                                                                                                                   apolog zed to custome
                                                                                                                                                                                                                                                                                   al st
                                                                                                                                                                                                                                                                                   , Yeste day, I ece ved an ema l stat ng that A-L st membe s a e
                                                                                                                                                                                                                                                                                   a lowed to have those t avel ng w th them boa d at the same
                                                                                                                                                                                                                                                                                   t me. My pos t on was A-18. My son, who s a m no , was w th
                                                                                                                                                                                                                             states gate agent would not allow son to boa d w th   me. I ve f ed th s at the f ont desk, but at the gate the
2314069634235   3/13/2020 NW4BM2, NW4BM2              CR/RR              Web Fo m   A po t Expe ence              Boa d ng/Den ed Boa d ng      Boa d ng P ocess              Boa d ng Pos t on           Compla nt
                                                                                                                                                                                                                             he                                                    attendant efused to allow my ch ld to boa d w th me
                                                                                                                                                                                                                                                                                   has to wa t unt l B-1. Th s s emba ass ng and unacceptable! I
                                                                                                                                                                                                                                                                                   have the ema l on my phone. I had to boa d w thout my ch ld. I
                                                                                                                                                                                                                                                                                   t uly hope th s k nd of t eatment and lack of knowledge s not
                                                                                                                                                                                                                                                                                   the no m. Had I known th s I would have pu chased           an
                                                                                                                                                                                                                                                                                   ea ly b d check n. What w l Southwest do to make th s ght?
                                                                                                                                                                                                                                                                                   We have 2 mo e upcom ng t ps on th s a l ne.




                                                                                                                                                                                                                                                                                                                                    Appx. 161
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                                                                                                                                                                                                                                                                                  ese vat on st ll act ve., To who t may conce n,
                                                                                                                                                                                                                                                                                 Th s                   , my son
                                                                                                                                                                                                                                                                                 Ou o g nal plan s I fly f om Ch na to LA on 3/27/2020, p ck up
                                                                                                                                                                                                                                                                                 my son who s n boa d ng school of LA. we w ll v s t seve al
                                                                                                                                                                                                                                                                                 un ve s ty campus n San F anc sco du ng sp ng fest val, so I
                                                                                                                                                                                                                                                                                 booked one fl ght on k w .com fo two of us.
                                                                                                                                                                                                                                                                                 Due to Cono av us outb eak n Ch na, I can t fly to States as
                                                                                                                                                                                                                                                                                 today US sta ted to ban fo e gn nat onal ente ng to US who has
                                                                                                                                                                                                                         co onav us 2020
                                                                                                                                                                                                                                                                                 been to Ch na.
2314084106986   3/13/2020 KY5FIP, KY5F P              CR/RR   Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Comment/Quest on    equest ng efund of t cket s nce he can't t avel f om
                                                                                                                                                                                                                                                                                 As t's natu e d saste , can I cancelled the l ght and ece ve
                                                                                                                                                                                                                         Ch na to USA ght now
                                                                                                                                                                                                                                                                                  efund f om you?
                                                                                                                                                                                                                                                                                 Look ng fo wa d to you eply.


                                                                                                                                                                                                                                                                                 WN1787 ONT -SFO Ma ch 27, 2020
                                                                                                                                                                                                                                                                                 Southwest a l ne
                                                                                                                                                                                                                                                                                 20 40-22 00 1h20m n Y1196/2 pe son
                                                                                                                                                                                                                                                                                 agency k w .comt cket numbe KY5FIP
                                                                                                                                                                                                                                                                                 How do I get efunded fo a ca ental that was equ ed due to
                                                                                                                                                                                                                                                                                 a mechan cal fa lu e ssue. I had to be ebooked on a fl ght that
                                                                                                                                                                                                                                                                                 d d not a low me to fly f om O lando to Tucson. U t mately, I
                                                                                                                                                                                                                                                                                 had to take a fl ght to Phoen x and ent a ca n o de to get back
                                                                                                                                                                                                                                                                                 to Tucson.

                                                                                                                                                                                                                                                                            I was told by the gate agent to lodge th s compla nt to get
                                                                                                                                                                                                                                                                             e mbu sed.
                                                                                                                                                                                                                         Request ng that ca ental be e mbu sed as he had to
2314173422574   3/14/2020 JII6UZ, JII6UZ              CR/RR   Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Mechan cal                    Unscheduled Ma ntenance          Compla nt
                                                                                                                                                                                                                         fly f om PHX-TUS due to MX cancellat on.           Please let me know how th s w ll happen., Request ng that ca
                                                                                                                                                                                                                                                                             ental be e mbu sed as he had to fly f om PHX-TUS due to MX
                                                                                                                                                                                                                                                                            cance lat on.

                                                                                                                                                                                                                                                                                 2 $100 SLVS ssued at a po t level. No notes ega d ng hono ng
                                                                                                                                                                                                                                                                                 nte m expenses.

                                                                                                                                                                                                                                                                                 $497.98 t cket cost. Issu ng add t onal $150 SLV as gog. eva c
                                                                                                                                                                                                                                                                                 Cla m No 186592849
                                                                                                                                                                                                                                                                                 no ltd contacts o s s, Refunds p oject
                                                                                                                                                                                                                                                                                 Suff c ent docs ece ved

                                                                                                                                                                                                                                                                                 ET cket Numbe 5262154031552 efunded n efund p o
                                                                                                                                                                                                                                                                                 ET cket Numbe 5262154031553 efunded n ARD
                                                                                                                                                                                                                                                                                 Cla m No 191933188, ltd s adv sed aga nst efund.
                                                                                                                                                                                                                                                                                 2314084106986
                                                                                                                                                                                                                                                                                 - equested dox
                                                                                                                                                                                                                                                                                 -pax unable to t avel f om ch na, To who t may conce n,
                                                                                                                                                                                                                                                                                 Th s                   my son
                                                                                                                                                                                                                                                                                 Ou o g nal p an s I fly f om C na to LA on 3/27/2020, p ck up
                                                                                                                                                                                                                                                                                 my son who s n boa d ng school of LA. we w ll v s t seve al
                            KY5FIP, KY5F P, KY5F P,                                                                                                                                                                      pax equest ng efund of fl ght due to v us unable to     un ve s ty campus n San F anc sco du ng sp ng fest val, so I
2314301078463   3/16/2020                             CR/RR   Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Compla nt
                            KY5FIP                                                                                                                                                                                       t avel f om ch na                                       booked one fl ght on k w .com fo two of us.
                                                                                                                                                                                                                                                                                 Due to Cono av us outb eak n Ch na, I can t fly to States as
                                                                                                                                                                                                                                                                                 today US sta ted to ban fo e gn nat onal ente ng to US who has
                                                                                                                                                                                                                                                                                 been to Ch na.
                                                                                                                                                                                                                                                                                 As t's natu e d saste , can I cancelled the l ght and ece ve
                                                                                                                                                                                                                                                                                  efund f om you?
                                                                                                                                                                                                                                                                                 Look ng fo wa d to you eply. I can subm t a l ev dence.


                                                                                                                                                                                                                                                                                 WN1787 ONT -SFO Ma ch 27, 2020
                                                                                                                                                                                                                                                                                 Southwest a l ne
                                                                                                                                                                                                                                                                                 20 40-22 00 1h20m n Y1196/2 pe son
                                                                                                                                                                                                                                                                                 agency k w .comt cket numbe KY5FIP
                                                                                                                                                                                                                                                                                 Calle s Name


                                                                                                                                                                                                                                                                                 b.Contact Telephone Numbe


                                                                                                                                                                                                                                                                                 c Contact Ema l Add ess


                                                                                                                                                                                                                                                                                 d.Exp ed PNR K6RCQL, PQCGOB


                                                                                                                                                                                                                                                                                 e.Passenge Name (s)
                            K6RCQL, PQCGOB, K6RCQL,
2314321555821   3/16/2020                             CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   Re ssue Request                  Comment/Quest on   f nal e ssue of exp ed funds
                            PQCGOB
                                                                                                                                                                                                                                                                                 f.O g nal Exp at on Date of Funds 15MAR20, 06MAR20


                                                                                                                                                                                                                                                                                 g.Exp ed RTF Balance 444, 385.98

                                                                                                                                                                                                                                                                                 ,
                                                                                                                                                                                                                                                                                 Calle s Name


                                                                                                                                                                                                                                                                                 b.Contact Telephone Numbe 210 422 5221


                                                                                                                                                                                                                                                                                 c Contact Ema l Add ess
                                                                                                                                                                                                                                                                                 c eated lost/delayed nc dent epo t. HDQWN02821315
                                                                                                                                                                                                                                                                                 added ema ks, Pax ca led n to see f we can ssue an add t onal
                                                                                                                                                                                                                                                                                 $100 SLV due to h s baggage delay. He states that the Agents at
                                                                                                                                                                                                                                                                                 the a po t o g nally told h m that they w ll be ssued a $200
                                                                                                                                                                                                                                                                                 SLV, but when they showed up next day fo the baggage, one
                                                                                                                                                                                                                                                                                 one of them was g ven $200             d dn't ece ve any
                                                                                                                                                                                                                         Pax ca led n want ng to know f we can ssue an           vouche s even though h s bag was also delayed. I apolog zed to
2314338253382   3/16/2020 N7YCVU, N7YCVU              CR/RR   Phone      Baggage                         Checked                       Lost/Delayed Bag              Inconven enced/Se v ce Fa lu e   Compla nt
                                                                                                                                                                                                                         add t onal vouche due to bag delay                      pax fo any m scommun cat on and told h m that we can make
                                                                                                                                                                                                                                                                                 an except on and get an add t onal $200 SLV ssued out s nce the
                                                                                                                                                                                                                                                                                 othe pax on h s ese vat on ece ved one and they both have an
                                                                                                                                                                                                                                                                                  nc dent numbe . He was ve y app ec at ve.

                                                                                                                                                                                                                                                                                 DCAWN09018640
                                                                                                                                                                                                                                                                                 cl # 186005398
                                                                                                                                                                                                                                                                                 Spoke to       //Pax stated that she attempted to cancel//Pax
                                                                                                                                                                                                                                                                                 stated that t was a long hold and neve got a hold of
                                                                                                                                                                                                                                                                                 anyone//Pax stated that she went onl ne and t ed to use cancel
                                                                                                                                                                                                                                                                                 code but code d dn't wo k and called aga n but ep sa d t d dn't
2314384862883   3/17/2020 M3TQSY                      CR/RR   Phone      Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds       Attempted Cancel by Phone        Compla nt          pax ca led about NOGO//attempt to cancel
                                                                                                                                                                                                                                                                                 go th ough//Apolog zed to pax fo s tuat on and adv pax to send
                                                                                                                                                                                                                                                                                  nfo ega d ng attempt to cancel and would subm t fo app oval
                                                                                                                                                                                                                                                                                 fo efund//Adv pax to hold to document conve sat on and pax
                                                                                                                                                                                                                                                                                 d sconnected
                                                                                                                                                                                                                                                                                 H ust ema l ng n the hope that you may make a spec al case
                                                                                                                                                                                                                                                                                 and make a efund fo ou two fl ghts
                                                                                                                                                                                                                                                                                 Conf mat on Numbe s U7HUKF and UEJCDS
                                                                                                                                                                                                                                                                                 As ou fl ghts to the USA have been cance led w th Qantas and
                                                                                                                                                                                                                                                                                 unable to make the t p.
                                                                                                                                                                                                                                                                                 Also we w ll be unable to use Fl ght C ed ts w th n the next 12
                                                                                                                                                                                                                                                                                 months as we a e Aust al an c t zens and l ve n Aust al a.
                                                                                                                                                                                                                                                                                 Could you please cons de ou equest fo a efund good fa th n
                                                                                                                                                                                                                                                                                 th s unp ecedented wo ld w de health event.

                                                                                                                                                                                                                                                                                 Thank you fo tak ng the t me to cons de ou equest
                                                                                                                                                                                                                                                                                 Rega ds
                                                                                                                                                                                                                                                                                             , H ust ema l ng n the hope that you may make a
                                                                                                                                                                                                                         equest ng efund of t ckets. pax f om Aust al a
                            U7HUKF, UEJCDS, U7HUKF,                                                                                                                                                                                                                              spec al case and make a efund fo ou two fl ghts
2314483850017   3/19/2020                             CR/RR   Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Comment/Quest on
                            UEJCDS                                                                                                                                                                                                                                               Conf mat on Numbe s U7HUKF and UEJCDS
                                                                                                                                                                                                                         co onav us 2020
                                                                                                                                                                                                                                                                                 As ou fl ghts to the USA have been cance led w th Qantas and
                                                                                                                                                                                                                                                                                 unable to make the t p.
                                                                                                                                                                                                                                                                                 Also we w ll be unable to use Fl ght C ed ts w th n the next 12
                                                                                                                                                                                                                                                                                 months as we a e Aust al an c t zens and l ve n Aust al a.
                                                                                                                                                                                                                                                                                 Could you please cons de ou equest fo a efund good fa th n
                                                                                                                                                                                                                                                                                 th s unp ecedented wo ld w de health event.

                                                                                                                                                                                                                                                                                 Thank you fo tak ng the t me to cons de ou equest
                                                                                                                                                                                                                                                                                 Rega ds
                                                                                                                                                                                                                                                                                           , n s /n p

                                                                                                                                                                                                                                                                                 Any newly c eated t avel fund because of a fl ght cance lat on
                                                                                                                                                                                                                                                                                 between Ma ch 1 - May 31 2020 w l have an exp at on date of

                                                                                                                                                                                                                                                                                 He lo,

                                                                                                                                                                                                                                                                              Hope you a e well du ng th s COVID-19 c s s. I am su e you a e
                                                                                                                                                                                                                                                                              deal ng w th a g eat deal of costume s du ng th s t me and
                                                                                                                                                                                                                                                                              thank you fo you pat ence. I have ecently had to cancel 2
                                                                                                                                                                                                                                                                              months wo th of Eu opean t avel - wh ch was ve y expens ve,
                                                                                                                                                                                                                                                                              and now I must equest a full efund f om Southwest as well.
                                                                                                                                                                                                                                                                              Th s was my etu n t p howeve t s affected by COVID-19 as I
                                                                                                                                                                                                                         Pax seek ng efund of t cket as the Eu ope t avel was
2314504562772   3/19/2020 TCCQQI, TCCQQI              CR/RR   Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable                    Compla nt                                                               was suppose to be fly ng f om Rome, Italy to Albuque que, NM
                                                                                                                                                                                                                         canceled by the a l ne.
                                                                                                                                                                                                                                                                              USA. My fl ght f om Rome to LAX was canceled as well as most
                                                                                                                                                                                                                                                                              of my 15 fl ghts a ound the EU. As t w ll be phys ca ly mposs ble
                                                                                                                                                                                                                                                                              fo me to be n LAX fo a t p back home, and I wont be on any
                                                                                                                                                                                                                                                                              fl ghts that lead up to you fl ght f om LAX to ABQ I would l ke to
                                                                                                                                                                                                                                                                              please be g ven a full efund. A l of you ha d wo k and
                                                                                                                                                                                                                                                                              ass stance s g eatly app ec ated! Please let me know as soon as
                                                                                                                                                                                                                                                                              poss ble as my k w book ng s g v ng me a 30 hou t me l m t.
                                                                                                                                                                                                                                                                              Thank you!, No elated pa t es o SRs. No membe account.




                                                                                                                                                                                                                                                                                                                                   Appx. 162
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                                                                                                                                                                                                                                                 Booked th s fl ght th ough k w com, once the co ona
                                                                                                                                                                                                                                                 eme gency p cked up, I t ed to cancel but could not get th ough
                                                                                                                                                                                                                                                 k w s phone se v ce, o you s. It s now the day of my fl ght and I
                                                                                                                                                                                                                                                 st ll have no eached a se v ce agent w th e the company. The
                                                                                                                                                                                                                                                 fl ght has been canceled and I am look ng to efund my t cket
                                                                                                                                                                                                                                                 due to state of eme gency called befo e my event day, as th s s
                                                                                                                                                                                           Co onav us 2020 Pax equest ng efund of t cket due
                                                                                                                                                                                                                                                 out of my cont ol. Please ema l back o cal             w th any
2314534953202   3/20/2020 UUBL4S, UUBL4S                CR/RR          Web Fo m   Refunds                      Refund Request   T ckets/Fa es          Non efundable    Comment/Quest on   to co onav us. States that he was unable to cancel
                                                                                                                                                                                                                                                 update o deta ls on the status of efunds, I unde stand the
                                                                                                                                                                                           befo e the fl ght.
                                                                                                                                                                                                                                                 ove whelm ng calls and ema ls, but app c ate you esponse.
                                                                                                                                                                                                                                                 Thank you., no elated pa t es / SRs

                                                                                                                                                                                                                                                 Pax's ese vat on s st ll n an open status. S nce he d d each out
                                                                                                                                                                                                                                                 to us befo e the l ght, I am d opp ng the funds nto an RTF.
                                                                                                                                                                                                                                                 Adv s ng that we a e unable to efund.

                                                                                                                                                                                                                                                 I ece ved a text tell ng me my fl ght s cance led but noth ng on
                                                                                                                                                                                                                                                 the webs te nd cates t s cance led. What a e supposed to
2314583854383   3/21/2020 V9FGHR, V9FGHR, V9FGHR        Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons     Ass stance n book ng   Change Book ng   Comment/Quest on   wants to know f f t was canceled
                                                                                                                                                                                                                                                 bel eve / do??, no el pty, pe c us the flt has been canceled.
                                                                                                                                                                                                                                                 Looks l ke t was handled al eady. V9FGHR
                                                                                                                                                                                                                                                 Adv sed Pax that th s has been app oved fo fu l t ansfe ab l ty
                                                                                                                                                                                                                                                 fo futu e use. Educated Pax that th s s an except on to the
                                                                                                                                                                                                                                                 no mal pol cy due to the ep p ov d ng the nco ect
                                                                                                                                                                                                                                                  nfo mat on. Adv sed that go ng fo wa d anyth ng less than $100
                                                                                                                                                                                                                                                 w ll not be el g ble fo a NTE. I expla ned to Pax that these can
                                                                                                                                                                                                                                                 not be comb ned to make one c ed t and he w ll only be able to
                                                                                                                                                                                                                                                 use 2 MAYBE 3 towa ds a futu e fl ght because we have a 3 FOP
                                                                                                                                                                                                                                                 l m t when book ng. Adv sed that they also have an exp at on
                                                                                                                                                                                                                                                 date he needs to be m ndful of. Expla ned to            that when
                                                                                                                                                                                                                                                 he wants to use these to book a fl ght he w ll ave to call n and
                            MZ9KAZ, MZMDUG, MZO8XJ,                                                                                                                                                                                              book w th us so the Rep can ove de the name. Pax stated that
                            N25OAH, MZ9KAZ,                                                                                                                                                                                                      he unde stood, thanked me, d d not have any fu the quest ons,
                            MZMDUG, MZO8XJ, N25OAH,                                                                                                                                                                                              and ended the call.
                            MZ9KAZ, MZMDUG, MZO8XJ,                                                                                                                                        Pax states they we e adv sed to ema l us to p ov de
2314626259192   3/23/2020                           CR/RR              Web Fo m   Refunds                      Refund Request   T ckets/Fa es          Non efundable    Comment/Quest on
                            N25OAH, MZ9KAZ,                                                                                                                                                 efunds fo mult ple es.. Employee E o                 Anyone can ass st and ove de the name n ARD. t has been
                            MZMDUG, MZO8XJ, N25OAH,                                                                                                                                                                                              noted that a TL has al eady app oved full t ansfe ab l ty.,
                            MZ9KAZ, MZMDUG, MZO8XJ,                                                                                                                                                                                              Adv sed Pax that th s has been app oved fo fu l t ansfe ab l ty
                            N25OAH                                                                                                                                                                                                               fo futu e use. Educated Pax that th s s an except on to the
                                                                                                                                                                                                                                                 no mal pol cy due to the ep p ov d ng the nco ect
                                                                                                                                                                                                                                                  nfo mat on. Adv sed that go ng fo wa d anyth ng less than $100
                                                                                                                                                                                                                                                 w ll not be el g ble fo a NTE. I expla ned to Pax that these can
                                                                                                                                                                                                                                                 not be comb ned to make one c ed t and he w ll only be able to
                                                                                                                                                                                                                                                 use 2 MAYBE 3 towa ds a futu e fl ght because we have a 3 FOP
                                                                                                                                                                                                                                                 l m t when book ng. Adv sed that they also have an exp at on
                                                                                                                                                                                                                                                 date he needs to be m ndful of. Expla ned to            that when
                                                                                                                                                                                                                                                 he wants to use these to book a fl ght he w ll have to call n and
                                                                                                                                                                                                                                                 book w th us so the Rep can ove de the name. Pax stated that
                                                                                                                                                                                                                                                 he unde stood thanked me d d not have any fu the quest ons
                                                                                                                                                                                                                                                 act ve es att to call no good ph# to each out to pax to cx no
                                                                                                                                                                                                                                                   acct, Hello,
                                                                                                                                                                                                                                                 Ou fl ght Cancun-M am (WN829) s canceled.
                                                                                                                                                                                                                                                 How can we get a efund fo th s t cket please? (By connect ng
                                                                                                                                                                                                                                                 on you webs te, I can only check my ese vat on and change the
                                                                                                                                                                                                                                                 date but as a t was a connect on fl ght to go back to F ance I
2314633696014   3/23/2020 JSP6IT, JSP6IT, JSP6IT, JSP6IT CR/RR         Web Fo m   Refunds                      Refund Request   T ckets/Fa es          Non efundable    Comment/Quest on   f t to CUN cx seek ng efund
                                                                                                                                                                                                                                                 can t use th s opt on, o cancel t).
                                                                                                                                                                                                                                                 Thank ng you by advance fo you help,
                                                                                                                                                                                                                                                               looks l ke agent handled to complet on, P ocessed
                                                                                                                                                                                                                                                  efunds n ARD
                                                                                                                                                                                                                                                 C ed t ca d CA-XXXXXXXXXXXX6785             120.21
                                                                                                                                                                                                                                                 C ed t ca d CA-XXXXXXXXXXXX6785             120.21
                                                                                                                                                                                                                                                 ***Bounce Back SR***


                                                                                                                                                                                                                                                 Caut on Sende s f om outs de SWA. Take caut on befo e
                                                                                                                                                                                                                                                 open ng l nks/attachments o eply ng w th sens t ve data. If
                                                                                                                                                                                                                                                 susp c ous, fo wa d to 'susp c ous@wnco com'.

                                                                                                                                                                                                                                                 The o g nal message was ece ved at F , 27 Ma 2020 16 51 39 -
                                                                                                                                                                                                                                                 0500 f om localhost localdoma n [127.0.0.1]

                                                                                                                                                                                                                                                    ----- The follow ng add esses had pe manent fatal e o s -- --
                                                                                                                                                                                                                                                   593777161@qq.com>
                                                                                                                                                                                           ***Ema l Fa lu e***
                                                                                                                                                                                                                                                     ( eason 550 DMARC check fa led
                            O3LYB8, O3LYB8, O3LYB8,                                                                                                                                                                                               [OT1wRNxBd98qzet0Msg7d6IaCupssQUF3jMNtxfSbJfk/EXa7pSE
2314778627530   3/27/2020                               CR/RR          Web Fo m   Refunds                      Refund Request   T ckets/Fa es          Non efundable    Compla nt          CORONAVIRUS 2020
                            O3LYB8, O3LYB8                                                                                                                                                                                                        odQ= IP 74.205 104.185].
                                                                                                                                                                                           Unable to t avel due to Ill no s lock down. Request ng
                                                                                                                                                                                                                                                  https //u ldefense.p oofpo nt com/v2/u l?u=http-
                                                                                                                                                                                            efund fo WGA t cket.
                                                                                                                                                                                                                                                  ϯͺͺƐĞ ǀ ĐĞ ŵĂ ů͘ƋƋ͘ĐŽŵͺĐŐ ͲϮď ŶͺŚĞůƉͲϯ&ƐƵďƚǇƉĞͲϯϭͲϮϲͲ
                                                                                                                                                                                                                                                  26no-3D1001508-26-26 d-
                                                                                                                                                                                                                                                  ϯϭϲΘĚсǁ/&ĂYΘĐсĚǇǇƚĞĂKͺϲϲyϱZĞũĐ'ŐĂs&t'yϴsϲ^ϲYŽď
                                                                                                                                                                                                                                                  Đz ŽͺͺŵĐΘ с:Ƶ<ĚϳĚĞ^ǁ,ZǀƋϴƉzŶϰ:tyϯϮϮůůhDďϴͲϳŽͲ
                                                                                                                                                                                                                                                  ϬĐ ϳtΘŵсŶƵϲŬϭY<ŐzϰϲϴŐϴͺĨĨďǁϲK&ϮKƋϲ,ǁ ϰWĚƋŶ>'
                                                                                                                                                                                                                                                  tϴϬΘƐсZĂƋǇϰŽƵŵtǁϭϵ:Ϭϯϵϳy:zͺŚdũhƵĨƉϵW,ϯϵŵůďdͺtŬ
                                                                                                                                                                                                                                                  &e= .)

                                                                                                                                                                                                                                                  ----- T ansc pt of sess on follows ----- ... wh le talk ng to
                                                                                                                                                                                                                                                 mx3 qq.com.
                                                                                                                                                                                                                                                 >>> DATA
                                                                                                                                                                                                                                                     550 DM
                                                                                                                                                                                                                                                 Pax advs  that RC
                                                                                                                                                                                                                                                                shecheck
                                                                                                                                                                                                                                                                    madefaa led
                                                                                                                                                                                                                                                                            m stake n book ng when t y ng to get
                                                                                                                                                                                                                                                 the downg aded p ce of the t ne a y pax ebooked completely
                                                                                                                                                                                                                                                 and s hop ng fo a efund fo the e o she made. I apol to pax
                                                                                                                                                                                                                                                 and advs that I would look nto what we could do fo he .




                                                                                                                                                                                                                                                 Speak ng w th HL they advs to efund the d ffe ence n fa e afte
                                                                                                                                                                                                                                                 t avel has been completed. It would be $290.25/ pax on the
                                                                                                                                                                                                                                                 o g nal conf mat on NT78IN of $479.65 pe pax.
                                                                                                                                                                                                                                                 Spoke w th Ch st ne and advs of what I could do fo . Pax advs
                                                                                                                                                                                                                                                 that she d d not want to do t th s way because she has a b l to
                                                                                                                                                                                                                                                 pay fo $700 now and n a t me l ke th s they need all the money
                            NT78IN, RPB6 G, NT78IN,                                                                                                                                        *SUP CALLBACK* Pax acc dentally double booked he      they can get.
2314779096932   3/27/2020                               CR/RR          Phone      Rese vat ons/T ckets/Fa es   Rese vat ons     Ass stance n book ng   Book ng E o      Compla nt
                            RPB6 G                                                                                                                                                          ese vat on                                           I apol to pax and advs that th s s not someth ng I can do at th s
                                                                                                                                                                                                                                                 t me.
                                                                                                                                                                                                                                                 Pax happy to ece ve the efund and wanted to have a callback
                                                                                                                                                                                                                                                 because she would l ke fo the efund to be p ocessed now
                                                                                                                                                                                                                                                  nstead of late .


                                                                                                                                                                                                                                                 callbac               Pax advs that she made a m stake n
                                                                                                                                                                                                                                                 book ng when t y ng to get the downg aded p ce of the
                                                                                                                                                                                                                                                  t ne a y pax ebooked completely and s hop ng fo a efund fo
                                                                                                                                                                                                                                                 the e o she made. I apol to pax and advs that I would look nto
                                                                                                                                                                                                                                                 what we could do fo he .



                                                                                                                                                                                                                                                 I was booked th ough a th d pa ty that has nfo med me f I
                                                                                                                                                                                                                                                 want a efund to contact you a l d ectly. They d d not nfo m
                                                                                                                                                                                                                                                 me of th s unt l yeste day at 4 25 wh ch was the t me of ou
                                                                                                                                                                                                                                                 fl ght and I was t avel ng back f om Mex co. If poss ble I would
2314799490124   3/28/2020 UHC5EQ, UHC5EQ                CR/RR          Web Fo m   Refunds                      Refund Request   T ckets/Fa es          Non efundable    Compla nt          Wants a efund of t cket f om CUN.                     l ke to a ange fo a efund o c ed t fo the futu e. We we e
                                                                                                                                                                                                                                                 fo ced to pu chase a sepa ate fl ght due to you cancellat ons ,
                                                                                                                                                                                                                                                 No elated Ptys/SRs. Funds d d not no show because of the
                                                                                                                                                                                                                                                 t avel ban, I went ahead and efunded to RTF. Both Paxs have
                                                                                                                                                                                                                                                 $192.93 n t avel funds ava lable fo use.

                                                                                                                                                                                                                                                 Dea s /madam,

                                                                                                                                                                                                                                                 F st of all, I would l ke to nfo m you that 've aal eady booked
                                                                                                                                                                                                                                                 t cket NY to Denve on 07 Ap l 2020 - 16 Ap l 2020. I t ed to
                                                                                                                                                                                                                                                 call my t avel agent named T aveloka, but they sa d have to call
                                                                                                                                                                                                                                                 u d ectly to change my fl ght schedule because of COVID-19.
2314857774033   3/31/2020 MB Z2T, MBIZ2T, MBIZ2T        CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   Rese vat ons     Ass stance n book ng   Change Book ng   Comment/Quest on   Pax ask ng how to change fl ght
                                                                                                                                                                                                                                                 The quest on s how to change my fl ght? when have to nput
                                                                                                                                                                                                                                                 my conf mat on numbe , d dnt see whe e the conf mat on
                                                                                                                                                                                                                                                 numbe s. Please help me.

                                                                                                                                                                                                                                                 Thank u fo you k ndness., found PNR MBIZ2T fo pax, no el s /
                                                                                                                                                                                                                                                 no el pty
                                                                                                                                                                                                                                                 Because of the outb eak and New Yo k s st ll on lock down,
2314884800527   3/31/2020 TTXYP3, TTXYP3                CR/RR          Web Fo m   Refunds                      Refund Request   T ckets/Fa es          Non efundable    Comment/Quest on   Co onav us 2020 Pax equest ng a efund                 want to get a efund of my t cket. Is that poss ble?, el s // no
                                                                                                                                                                                                                                                  el pty // WGA fa e




                                                                                                                                                                                                                                                                                                  Appx. 163
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                                                                                                                                                                                                                                                                                  pax's documentat on shows that h s fl ghts f om Tokyo we e
                                                                                                                                                                                                                                                                                  canceled and efunded.

                                                                                                                                                                                                                                                                                  as p ev ous ep ment oned, KHMQ5V has s nce no-showed

                                                                                                                                                                                                                                                                                  KJQ7MX s st ll open so I efunded v a ARD.

                                                                                                                                                                                                                                                                                  spoke w th hotl ne and adv sed that the most we can do fo the
                                                                                                                                                                                                                                                                                  no-show s efund back as an SLV due to ou tempo a y
                                                                                                                                                                                                                                                                                  except ons.

                                                                                                                                                                                                                                                                                  cl #
                                                                                                                                                                                                                                                                                  190126177
                          KHMQ5V, KJQ7MX,                                                                                                                                                                                Co onav us 2020
                                                                                                                                                                                                                                                                                  190126402, pax's documentat on shows that h s l ghts f om
2314928436535    4/2/2020 KHMQ5V, KJQ7MX,             CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence          Compla nt          Pax sent n dox to show that the   l ght f om ch na has
                                                                                                                                                                                                                                                                                  Tokyo we e canceled and efunded.
                          KHMQ5V, KJQ7MX                                                                                                                                                                                 been canceled and efunded.
                                                                                                                                                                                                                                                                                  as p ev ous ep ment oned, KHMQ5V has s nce no-showed

                                                                                                                                                                                                                                                                                  KJQ7MX s st ll open so I efunded v a ARD.

                                                                                                                                                                                                                                                                                  spoke w th hotl ne and adv sed that the most we can do fo the
                                                                                                                                                                                                                                                                                  no-show s efund back as an SLV due to ou tempo a y
                                                                                                                                                                                                                                                                                  except ons.

                                                                                                                                                                                                                                                                                  cl #
                                                                                                                                                                                                                                                                                  190126177
                                                                                                                                                                                                                                                                                  190126402, efunds p oject - SLV we e sent to the w ong ema l
                                                                                                                                                                                                                                                                                  add ess Re ssu ng n sma tcl xx
                                                                                                                                                                                                                                                                                  Dea team,
                                                                                                                                                                                                                                                                                  please k ndly p oceed w th efund n Southwest t avel funds f
                                                                                                                                                                                                                                                                                  poss ble. The passenge d d not use the t ckets, due to he
2314940420955    4/3/2020 RX6GRZ, RX6GRZ              Rese vat ons   Web Fo m   Refunds                      Refund Request                T ckets/Fa es                    Refundable                Comment/Quest on   Refund equest                                            nat onal ty she was not allowed to t avel.
                                                                                                                                                                                                                                                                                  Thank you fo you help.
                                                                                                                                                                                                                                                                                  K nd ega ds,
                                                                                                                                                                                                                                                                                  K w .com, no el pty
                                                                                                                                                                                                                                                                                  Dea team,
                                                                                                                                                                                                                                                                                  please k ndly p oceed w th Southwest t avel fund efund f
                                                                                                                                                                                                                                                                                  poss ble, the passenge could not use the t ckets because of h s
                                                                                                                                                                                                                         Co onav us 2020
2314940862657    4/3/2020 RXCYXD                      CR/RR          Web Fo m   Refunds                      Refund Request                T ckets/Fa es                    Non efundable             Comment/Quest on                                                            nat onal ty.
                                                                                                                                                                                                                         Seek ng efund of RTF
                                                                                                                                                                                                                                                                                  Thank you fo you help.
                                                                                                                                                                                                                                                                                  K nd ega ds,
                                                                                                                                                                                                                                                                                  K w .com
                                                                                                                                                                                                                                                                                  H the e,

                                                                                                                                                                                                                                                                                  I am t y ng to cancel the fl ghts stated above fo my husband
                                                                                                                                                                                                                                                                                  and I on Wednesday 15th Ap l.
                                                                                                                                                                                                                                                                                  We l ve n Scotland, UK and a e unable to t avel to Ame ca at
                                                                                                                                                                                                                                                                                  the moment. See ng as we a e los ng a lot of money on ou t p
                                                                                                                                                                                                                                                                                  (th s was ou honeymoon - we had planned to v s t 4 d ffe ent
                                                                                                                                                                                                                         Co onav us 2020                                          states) I do not see us be ng able to plan anothe t p l ke t n
2314971868280    4/4/2020 V9TIWS, V9TIWS              CR/RR          Web Fo m   Refunds                      Refund Request                T ckets/Fa es                    Non efundable             Comment/Quest on
                                                                                                                                                                                                                          efund equest                                            the nea futu e. The efo e, nstead of c ed t fo you company, I
                                                                                                                                                                                                                                                                                  am ask ng f t s poss ble to get a efund on the t ckets?

                                                                                                                                                                                                                                                                                  You s s nce ely,

                                                                                                                                                                                                                                                                                            , No Rel. SR// tkts st l n OK status// pax had
                                                                                                                                                                                                                                                                                  schedule eaccom, but al eady used f ee change// unable to
                                                                                                                                                                                                                                                                                   ssue efund
                                                                                                                                                                                                                                                                           Please p oceed w th fu l efund as fl ght was escheduled wh ch
                                                                                                                                                                                                                         Schedule eaccom // pax equest ng a efund, but PNR s not comfo table., PNR s st ll open n ARD, adv s ng that n
2314987903105    4/5/2020 JHCSBP, JHCSBP              CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   Schedules                     Unexpected Change to It ne a y   New Depa tu e T me        Compla nt
                                                                                                                                                                                                                         st ll open                                        o de fo us to look at efund ng due to schedule eaccom, need
                                                                                                                                                                                                                                                                           to speak w th them f st.
                                                                                                                                                                                                                                                                           *contact
                                                                                                                                                                                                                                                                           *no p ev ous SR s
                                                                                                                                                                                                                                                                           *Flt was cxl by SWA. No cxl date found n RefundP o, C us,
                                                                                                                                                                                                                                                                           ARD. El g ble fo efund.
                                                                                                                                                                                                                                                                           *Ve f ed SWA cxl l ght n C us .
                                                                                                                                                                                                                                                                           *Pn stuck n ok status n ARD. Pushed t though to c eate RTF
                            K48G4T, K48G4T, K48G4T,                                                                                                                                                                                                                        (unable to efund d ectly to ca d)
2315011270405    4/7/2020                             CR/RR          Web Fo m   Refunds                      Refund Request                T ckets/Fa es                    Refundable                Compla nt          Co onav us 2020.
                            K48G4T                                                                                                                                                                                                                                         * Cla m No 190930092 PNR K48G4T
                                                                                                                                                                                                                                                                           , H , we would l ke to apply fo fu l efund due to fl ght
                                                                                                                                                                                                                                                                           cance lat on. Please efund back to the c ed t ca d end ng cc
                                                                                                                                                                                                                                                                           6258 Thank you , NRP., V ewed eco d n ARD and C us. The e
                                                                                                                                                                                                                                                                           a e aom cancel ema ks, but the fl ght segment was not
                                                                                                                                                                                                                                                                           cance led. T avel funds a e show ng ava lable, but unable to
                                                                                                                                                                                                                                                                            efund n ARD. Rout ng on to CR.
                                                                                                                                                                                                                                                                                  Dea team,

                                                                                                                                                                                                                                                                                  I would l ke to equest the fu l efund fo my book ng KIBWRE as
                                                                                                                                                                                                                                                                                  my o g nal fl ght has been cancelled and also I d d not use the
                                                                                                                                                                                                                         CORONAVIRUS 2020
                                                                                                                                                                                                                                                                                  alte na tve offe ed.
2315064263635    4/9/2020 KIBWRE, KIBWRE              CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es   Schedules                     Unexpected Change to It ne a y   Reduced Connect on T me   Compla nt          Schedule educt on. Reaccommodat on p ov ded
                                                                                                                                                                                                                                                                                  Please let me know f I can ece ve the efund o a t avel
                                                                                                                                                                                                                         doesn t f t t avel needs. Request ng efund.
                                                                                                                                                                                                                                                                                  vouche , of what amount and also how to use t.
                                                                                                                                                                                                                                                                                  Thank you n advance fo you eply.
                                                                                                                                                                                                                                                                                  K nd Rega ds
                                                                                                                                                                                                                                                                                                 Ve fe d schedule change. P ocess ng efund

                                                                                                                                                                                                                                                                                  Hello!
                                                                                                                                                                                                                                                                                  My name                   I bought a fl ght w th w th you
                                                                                                                                                                                                                                                                                  a l nes th oug t e webs te K w .com, due to Cov d-19 cu ent
                                                                                                                                                                                                                                                                                  s tuat on n the US and on the whole globe my fl ght get
                                                                                                                                                                                                                                                                                  cance led. I expect to ece ve a efund( n money, because I am
                                                                                                                                                                                                                                                                                  not plann ng any t ps any soon ) fo th s fl ght due to
                                                                                                                                                                                                                                                                                  cancelat on. My quest on s If you would g ve a efund - n
                                                                                                                                                                                                                                                                                  money , to the webs te o s t poss ble to send t d ectly on my
                                                                                                                                                                                                                         Co onav us 2020PAX booked th ough webs te wants
2315085129442   4/10/2020 KCCTGG, KCCTGG              CR/RR          Web Fo m   Refunds                      Refund Request                Uncont ollable Events            Natu e Events             Comment/Quest on                                                            account w thout any p oblems?, Related pa ty no
                                                                                                                                                                                                                         to know efund opt ons o efund to webs te
                                                                                                                                                                                                                                                                                  SR no
                                                                                                                                                                                                                                                                                  CVS 0
                                                                                                                                                                                                                                                                                  How long membe not
                                                                                                                                                                                                                                                                                  P ev ous no
                                                                                                                                                                                                                                                                                  CC no
                                                                                                                                                                                                                                                                                  KCCTGG
                                                                                                                                                                                                                                                                                  WN 1686 cancelled due to O
                                                                                                                                                                                                                                                                                  Refunded n a d 111.98 CC 3593


                                                                                                                                                                                                                                                                                  Pax equest ng efund o t ansfe ab l ty of g andmothe 's t cket
                                                                                                                                                                                                                                                                                  who w l not be able to t avel afte the event got cance led.
                                                                                                                                                                                                                                                                                  She s wonde ng what he cancel ng opt ons a e and whethe
                                                                                                                                                                                                                                                                                  those RTFs can be used by somebody else.

                                                                                                                                                                                                                         Pax equest ng efund o t ansfe ab l ty of                 I empath zed w th the fam ly wedd ng be ng canceled, and
                                                                                                                                                                                                                         g andmothe 's t cket                                     expla ned ou fa e pol c es. I also offe ed the NTE as an opt on
2315147247342   4/13/2020 PML7EV                      CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      T ansfe ab l ty           Comment/Quest on
                                                                                                                                                                                                                                                                                  fo the pax that would not be able to use the RTFs. I cla f ed
                                                                                                                                                                                                                         Co onav us 2020                                          that the tempo a y extens on to RTFs would take affect to the
                                                                                                                                                                                                                                                                                  RTFs extend ng them to June 30, 2021 to allow mo e flex b l ty. I
                                                                                                                                                                                                                                                                                  adv sed to wa t to see that eflected on the RTFs befo e
                                                                                                                                                                                                                                                                                  p ocess ng NTE to take advantage of the extens on.

                                                                                                                                                                                                                                                                                  she thanked me fo nfo mat on and I canceled PNR PML7EV


                                                                                                                                                                                                                                                                                ARD - K5YE H ema ks show schedule change d opped to tf, I
                                                                                                                                                                                                                                                                                had an e o on a fl ght ese vat on cancellat on n Ap l (wh ch
                                                                                                                                                                                                                         Looks l ke June ese vat on was cancelled - why - can t was esolved, thank you), but t looks l ke someone also
2315152252598   4/13/2020 K5YEIH, K5YEIH, K5YEIH      Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es   Schedules                     Unexpected Change to It ne a y   New A val T me            Comment/Quest on
                                                                                                                                                                                                                         be esto ed                                             cance led my ese vat on n June. Can you st l ve fy that th s
                                                                                                                                                                                                                                                                                conf mat on (K5YEIH) s t cked? And f not, why and how can t
                                                                                                                                                                                                                                                                                be esto ed., no el pty
                                                                                                                                                                                                                                                                                Pax called n to ebook PNR NB66US us ng the RTF on
                                                                                                                                                                                                                                                                                PNR UZGP5Y

                                                                                                                                                                                                                                                                                  both t ns we e booked on the same day I adv se pax that as a
                                                                                                                                                                                                                                                                                  GOG we a e able to cancel the t n ssue efund back to o g nal
                                                                                                                                                                                                                                                                                  FOP and ebook us ng the RTF

                                                                                                                                                                                                                                                                                  conf med cance lat on w th pax and attempt to ebook,
                                                                                                                                                                                                                                                                                  howeve pax t y ng to use RTF fo h s daughte s book ng.

                                                                                                                                                                                                                                                                                   adv se pax that we a e unable to use RTF on h s daughte s
                                                                                                                                                                                                                                                                                  book ng as the funds do follow the pax

                                                                                                                                                                                                                                                                                   apolog zed and o fe ed to ebook, pax decl ne stat ng that he
2315151482387   4/14/2020 NB66US, UZGP5Y              CR/RR          Phone      Rese vat ons/T ckets/Fa es   E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Fo ms of Payment          Compla nt          pax ca led n to equest change n t n
                                                                                                                                                                                                                                                                                  could do t h mself and that he has been d ssat sf ed w th the
                                                                                                                                                                                                                                                                                  last 3 eps and the se v ce p ov ded. I apolog zed once mo e fo
                                                                                                                                                                                                                                                                                  pax nconven ence pax equest my name and nfo p ov ded
                                                                                                                                                                                                                                                                                  pax d sconnected, Pax called n to ebook PNR NB66US us ng
                                                                                                                                                                                                                                                                                  the RTF on PNR UZGP5Y

                                                                                                                                                                                                                                                                                  both t ns we e booked on the same day I adv se pax that as a
                                                                                                                                                                                                                                                                                  GOG we a e able to cancel the t n ssue efund back to o g nal
                                                                                                                                                                                                                                                                                  FOP and ebook us ng the RTF

                                                                                                                                                                                                                                                                                  conf med cance lat on w th pax and attempt to ebook,
                                                                                                                                                                                                                                                                                  howeve pax t y ng to use RTF fo h s daughte s book ng.

                                                                                                                                                                                                                                                                                   adv se pax that we a e unable to use RTF on h s daughte s
                                                                                                                                                                                                                                                                                  Dea custome se v ce,

                                                                                                                                                                                                                                                                                  unfo tunately, I was not able to fly th s oute due to the cu ent
                                                                                                                                                                                                                                                                                  Co ona c s s. I'd l ke to ask fo a efund.
2315161301237   4/14/2020 JX6TQ5, JX6TQ5, JX6TQ5      CR/RR          Web Fo m   Refunds                      Refund Request                T ckets/Fa es                    Non efundable             Comment/Quest on   Pax seek ng efund due to Co onav us 2020
                                                                                                                                                                                                                                                                                  Best ega ds,
                                                                                                                                                                                                                                                                                              f t st ll went out.
                                                                                                                                                                                                                                                                                  not efund ng as t cket s non efundable, no el s / no el pty




                                                                                                                                                                                                                                                                                                                                   Appx. 164
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                                                                                                                                                                                                                                                              flt 4322 xcld due to ope at onal event
                                                                                                                                                                                                                                                              n p///no el s 's found
2315176584691   4/15/2020 UL8D52, UL8D52              CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on            Ope at onal            Unable to Reaccom   Comment/Quest on   custome s eq a full efund to h s OFOP.
                                                                                                                                                                                                                                                              $88.98wga, Please p oceed w th the fu ll efund to the o g nal
                                                                                                                                                                                                                                                              sou ce of payment
                                                                                                                                                                                                                                                              convo # #9261667- pax want ng a efund back to the cc due to
                                                                                                                                                                                                      Soc al convo- pax equest ng a efund due to fl ght
2315209627351   4/17/2020 Q88W2R                      CR/RR          Phone      Fl ght Delay/Cancel/D ve s on   Cancellat on            Ope at onal            Unable to Reaccom   Comment/Quest on                                                           fl ght cancellat on due to Ope at onal.
                                                                                                                                                                                                      cancellat on and unable to eaccommodate
                                                                                                                                                                                                                                                              p ocessed efund th ough ARD.
                                                                                                                                                                                                                                                              G eet ng f om K w .com

                                                                                                                                                                                                                                                              May we equest you ass stance to k ndly efund the payment
                                                                                                                                                                                                                                                              fo the cancelled fl ght w th


                                                                                                                                                                                                                                                              PNR B7TC3V
                                                                                                                                                                                                                                                              depa tu e 24 Ma 2020
                                                                                                                                                                                                                                                              passenge name


                                                                                                                                                                                                                                                              please p oceed w th a fu l efund back to the c ed t ca d (#2995)
2315228291100   4/17/2020 RR9HV5, RR9HV5              CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Compla nt          TA seek ng efund
                                                                                                                                                                                                                                                              due to the fl ght d s upt on.

                                                                                                                                                                                                                                                              thanks, you and you u gent esponses w l be much app ec ated

                                                                                                                                                                                                                                                              k nd ega ds,


                                                                                                                                                                                                                                                              Ha s P
                                                                                                                                                                                                                                                              T avel consultant
                                                                                                                                                                                                                                                              K w com, no el pty\\s
                                                                                                                                                                                                                                                              Ops canceled fl ght - pax due efund 177.75 - Cla m No
                                                                                                                                                                                                                                                              192070430 back to OFP
                                                                                                                                                                                                                                                              Cla m No 192018094, Pu chase 's Name


                                                                                                                                                                                                                                                              b.Pu chase 's Ema l


                                                                                                                                                                                                                                                              c PNR JNQ8M4
2315230870850   4/17/2020 JNQ8M4, JNQ8M4              CR/RR          Phone      southwest.com                   P oduct/Funct onal ty   Ea lyB d               Refund Request      Comment/Quest on   SLV Ea ly B d 2020
                                                                                                                                                                                                                                                              d.EMD Numbe 5269867168119 5269867168120

                                                                                                                                                                                                                                                              e.Total Ea lyB d Pu chase Amount on PNR 25.00

                                                                                                                                                                                                                                                              f.B ef Summa y Custome cancelled the         ese vat on due to
                                                                                                                                                                                                                                                              COVID 19 conce ns
                                                                                                                                                                                                                                                              He lo,
                                                                                                                                                                                                                                                              My name                    . I am booked on Fl ght WN1520
                                                                                                                                                                                                                                                              th ough the company K w .com. Th s fl ght was a connect on
                                                                                                                                                                                                                                                              f om London to get me back home to BWI but the London fl ght
                                                                                                                                                                                                                                                              com ng nto BOS has been canceled and I no longe need the
                                                                                                                                                                                                      Ask ng f they w l get t avel funds f they cancel the
                                                                                                                                                                                                                                                              fl ght w th Southwest f om Boston to BWI. W ll I be able to
2315243286119   4/18/2020 QWLI8P, QWLI8P              Rese vat ons   Web Fo m   Med a/Adv./Mktg. P omot ons     Med a                   Custome Events         Pend ng Catego y    Comment/Quest on   SWA fl ght s nce the Inte nat onal fl ght was
                                                                                                                                                                                                                                                               ece ve a t avel vouche / efund f the company, K w , contacts
                                                                                                                                                                                                      cancelled
                                                                                                                                                                                                                                                              you all w th my book ng nfo mat on?

                                                                                                                                                                                                                                                              Thank you,

                                                                                                                                                                                                                                                                               np
                                                                                                                                                                                                                                                              No el s // no el ptys
                                                                                                                                                                                                                                                              not ye canceled, st ll act ve tkts, No el s // no el ptys
                                                                                                                                                                                                                                                              not ye canceled, st ll act ve tkts, U2VLTH-U2PO33 I need to
                                                                                                                                                                                                                                                              cancel my fl ght I would move the fl ght date but I need the
                                                                                                                                                                                                                                                              money to go to Oklahoma anyways sense the fl ghts go ng to get
                            U2PO33, U2VLTH, U2PO33,                                                                                                                                                   Co onav us 2020
2315254572599   4/18/2020                             CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Compla nt                                                                  cance led because of the v us. But I would l ke a fu l efund
                            U2VLTH                                                                                                                                                                     efund equest fo upcom ng tkts
                                                                                                                                                                                                                                                              please Im despe ate, U2VLTH-U2PO33 I need to cancel my fl ght
                                                                                                                                                                                                                                                              I would move the l ght date but I need the money to go to
                                                                                                                                                                                                                                                              Oklahoma anyways sense the l ghts go ng to get cancelled
                                                                                                                                                                                                                                                              because of the v us. But I would l ke a full efund please Im
                                                                                                                                                                                                                                                              despe ate

                                                                                                                                                                                                                                                              Dea team,
                                                                                                                                                                                                                                                              The fl ght has been canceled. Access ng manage my book ng s
                                                                                                                                                                                                                                                              no longe poss ble. As such, we would l ke to equest full
                                                                                                                                                                                                      pax states the fl ght has been canceled and she would
2315262057928   4/19/2020 LESG9A, LESG9A              CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Comment/Quest on                                                            nvolunta y efund v a the o g nal payment method.
                                                                                                                                                                                                      l ke a efund
                                                                                                                                                                                                                                                              Please p ocess the efund and let us know.
                                                                                                                                                                                                                                                              Thank you fo you help.          states the fl ght has been
                                                                                                                                                                                                                                                              canceled and she would l ke a efund I have efunded n a d

                                                                                                                                                                                                                                                              Due to the Cov d s tuat on, my fl ght got cance led and I w ll l ke
                                                                                                                                                                                                                                                              to equest fo a efund of my t cket. I bought my t cket v a
                                                                                                                                                                                                                                                              k w .com and I have chosen to settle the efund d ectly w th
                                                                                                                                                                                                                                                              the ca e . Howeve , I could not et eve my fl ght ese vat on
                                                                                                                                                                                                                                                              on southwest webs te. Could you k ndly ass st me on th s
2315269536871   4/20/2020 K23DLU, K23DLU              CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Comment/Quest on   Pax s equest ng efund of ese vat on.                    matte ? Thank you., No elated pa ty/SR
                                                                                                                                                                                                                                                              Non membe

                                                                                                                                                                                                                                                              Fl ght sub ect to schedule change
                                                                                                                                                                                                                                                              5 m nute t me change on depa tu e
                                                                                                                                                                                                                                                              adv s ng of RTF f st
                                                                                                                                                                                                                                                              Dea lad es and gentleman,

                                                                                                                                                                                                                                                              we booked ou fl ghts v a the platfo m MyT p.com. - we al eady
                                                                                                                                                                                                                                                              contacted them and the e was no esponse.

                                                                                                                                                                                                                                                              We talked to the Consume P otect on n Aust a and they told
                                                                                                                                                                                                                                                              us we should contact the a l ne mmed ately because
                                                                                                                                                                                                                                                              MyT p.com seems not to be an el able company ..

                                                                                                                                                                                                                                                              Affected a e the follow ng fl ghts

                                                                                                                                                                                                                                                              KOA-Kahulu on 7th of May WN1305
                                                                                                                                                                                                                                                              Kaua -Honolulu on 20th of May WN1169
                                                                                                                                                                                                      Co onav us 2020
                            T2GCLB, VU657J, T2GCLB,
2315269536920   4/20/2020                             CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Comment/Quest on   Custome seek ng efund of mpacted f ts to HI. Adv
                            VU657J                                                                                                                                                                                                                            Passenge s a e                   and
                                                                                                                                                                                                      booked th ough onl ne book ng se v ce.
                                                                                                                                                                                                                                                              Please be so k nd and efund ou money back d ectly to ou
                                                                                                                                                                                                                                                              account and NOT to MyT p com


                                                                                                                                                                                                                                                              IBAN A 74 1420 0200 1246 6987

                                                                                                                                                                                                                                                              Please conf m th s E-Ma l as soon as poss ble.

                                                                                                                                                                                                                                                              Thank you ve y much and g eet ngs f om Aust a,

                                                                                                                                                                                                                                                                               Dea lad es and gentleman,

                                                                                                                                                                                                                                                              No el pty/no el SR
                                                                                                                                                                                                                                                              Ema l add ess seems to be of a TA. No account.
                                                                                                                                                                                                                                                              Rese vat on s st l act ve and WN2132 s ope at ng as scheduled
                                                                                                                                                                                                                                                              at th s t me
                                                                                                                                                                                                      Pax equest ng to cancel h s ese vat on and ece ve a
2315298441799   4/21/2020 UREAAH, UREAAH              CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons            Ass stance n book ng   Change Book ng      Compla nt                                                                  Rese vat on s not el g ble fo a efund
                                                                                                                                                                                                      full efund.
                                                                                                                                                                                                                                                              , Please cancel the book ng and p ocess a full efund v a the
                                                                                                                                                                                                                                                              payment method used f the fl ght was cancelled by the a l ne
                                                                                                                                                                                                                                                              and f not then p oceed w th the volunta y cancellat on. Please
                                                                                                                                                                                                                                                              p oceed w th a efund and nfo m about the amount efunded.
                                                                                                                                                                                                                                                              MY fl ght has been canceled and I would l ke to equest a efund
                                                                                                                                                                                                                                                              to the payment ca d. thanks, n ps
                                                                                                                                                                                                      co onav us 2020 - wants efund due to schedule
2315339552430   4/22/2020 PNRZCT, PNRZCT              CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on            Ope at onal            Unable to Reaccom   Compla nt                                                                  flt 1379 cxled and unable to eaccom. pe ule 85 efund ng btkt
                                                                                                                                                                                                      change
                                                                                                                                                                                                                                                              back to ofop
                                                                                                                                                                                                                                                              Cla m No 192428182
                                                                                                                                                                                                                                                              ou fl ght has been canceled and I would l ke to equest fo a
                                                                                                                                                                                                                                                               efund., Pax s equest ng a efund fo cx fl ght
2315340898348   4/22/2020 Q7J69A, Q7J69A              CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Refundable          Compla nt          Refund Request
                                                                                                                                                                                                                                                              Conf med w th Rema ks n C us that fl ght was cx by SWA (see
                                                                                                                                                                                                                                                              attach tab) but funds neve d opped
                                                                                                                                                                                                                                                              P ocessed efund n ARD back to OFOP
                                                                                                                                                                                                                                                              n p/n c
                                                                                                                                                                                                      Co onav us 2020
2315344394250   4/22/2020 SSXSJ7, SSXSJ7              CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Compla nt                                                                  Res. s st ll act ve w ll adv to call., Ou fl ght has been canceled
                                                                                                                                                                                                      Refund equest.                                          due to COVID-19. I would l ke to equest fo a efund to the ca d
                                                                                                                                                                                                                                                              used du ng payment. Thnaks
                                                                                                                                                                                                                                                              - Accommodat ons do not wo k fo passenge .
                                                                                                                                                                                                                                                              - Seek ng efund of the funds.
                                                                                                                                                                                                                                                              - Refunded v a ARD.
                                                                                                                                                                                                                                                              - P ocessed $53.98 back to CC end ng n 5419.
                                                                                                                                                                                                                                                              - Reach ng out to pax to conf m efund.
                                                                                                                                                                                                                                                              - Thanks, Ma o A., Dea pa tne ,

                                                                                                                                                                                                                                                          Please p ov de a full efund fo cance led ese vat on unde PNR
                                                                                                                                                                                                      Pax s equest ng a efund on non efundable t cket due
2315347219406   4/23/2020 LB78DA, LB78DA, LB78DA      CR/RR          Web Fo m   Refunds                         Refund Request          T ckets/Fa es          Non efundable       Comment/Quest on                                                       LB78DA. Passenge s name                     , fl ght f om DEN
                                                                                                                                                                                                      to accommodat on not wo k ng fo them.
                                                                                                                                                                                                                                                          to SMF on Ap l 21st.

                                                                                                                                                                                                                                                              When p ocessed, please nfo m us on cla ms.al@k w .com.

                                                                                                                                                                                                                                                              Thank you,

                                                                                                                                                                                                                                                              Dav d M.,
                                                                                                                                                                                                                                                              K w com, No Rel. Pty. // No Rel. SR.




                                                                                                                                                                                                                                                                                                                 Appx. 165
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                                                                                                                                                                                                                                                                             Dea A l ne Team,

                                                                                                                                                                                                                                                                             Could you please p ov de us a copy of lette conf mat on that
                                                                                                                                                                                                                                                                             passenge d d not use the fl ght fo PNR NO77TG and eply
2315368691019   4/24/2020 NO77TG, NO77TG           Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Ve fy Funds           Comment/Quest on   Ve fy Funds                                             back to us on 107485510@a l ne k w com?

                                                                                                                                                                                                                                                                             Thank you., Rel Pty NONE
                                                                                                                                                                                                                                                                             ARD show's PNR NO77TG has $601.78 ava lable fo
                                                                                                                                                                                                                                                                                   Exp 07Sep22
                                                                                                                                                                                                                                                                             no el s , no el pty

                                                                                                                                                                                                                                                                             Fl ght 1431 flew as scheduled. The e was no schedule change o
                                                                                                                                                                                                                     CORONAVIRUS 2020
                                                                                                                                                                                                                                                                             cancelat on.
2315388759746   4/25/2020 QEHM2U, QEHM2U           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt
                                                                                                                                                                                                                     PAX seek ng efund of t cket as they had a schedule
                                                                                                                                                                                                                                                                             Fl ght past , st l n OK status.
                                                                                                                                                                                                                      eacommodat on.
                                                                                                                                                                                                                                                                             D opped funds to t avel c ed t n ARD., Please p oceed w th fu l
                                                                                                                                                                                                                                                                              efund back to o g nal mode of payment as the fl ght was
                                                                                                                                                                                                                                                                             cancelled by the a l ne due to COVID 19
                                                                                                                                                                                                                                                                        o g nal fl ght canceled, pax was eaccom'd w thout conf m ng
2315396600114   4/25/2020 QY8LT5, QY8LT5           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt          equest ng efund of unflown t cket co ona v us 2020 fl ght, ssu ng efund th ough a d., Please p ov de Full Refunds
                                                                                                                                                                                                                                                                        due to fl ghts suspens on and Ncov d-19 T avel Ban
                                                                                                                                                                                                                                                                             No elated pa ty/SR
                                                                                                                                                                                                                                                                             Non membe

2315399055084   4/25/2020 RW 6MM, RWI6MM           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt          Pax equest ng fu l efund.                               Rese vat on was n OK status
                                                                                                                                                                                                                                                                             Fl ght was not canceled
                                                                                                                                                                                                                                                                             Adv s ng that non efundable and RTF extens on, p oceed w th
                                                                                                                                                                                                                                                                             the full efund
                                                                                                                                                                                                                                                                             No el SRs/Contacts, Please cancel the book ng and p ocess a full
                                                                                                                                                                                                                                                                              efund v a the payment method used f the fl ght was cancelled
                                                                                                                                                                                                                                                                             by the a l ne and f not then p oceed w th the volunta y
                                                                                                                                                                                                                                                                             cancellat on. Please p oceed w th a efund and nfo m about the
2315406249617   4/26/2020 W3575E, W3575E, W3575E   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             System Cancellat on   Comment/Quest on   Pax equest ng ese vat on to be cancelled
                                                                                                                                                                                                                                                                             amount efunded., W3575E- fl ght date 3/14/2020 - t cket st ll
                                                                                                                                                                                                                                                                             open
                                                                                                                                                                                                                                                                             Fl ght ope ated, not cance led
                                                                                                                                                                                                                                                                             RTF 136.98
                                                                                                                                                                                                                                                                             no el s / no el pty, pax NoShowed ese vat on.
2315410456872   4/26/2020 VN557L, VN557L, VN557L   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   No-Show Fo fe ted Funds          Pol cy Adhe ence      Compla nt          Pax seek ng efund due to Co onav us 2020                flt 949 flew out on t me., Please p oceed w th the full efund as
                                                                                                                                                                                                                                                                             the fl ght s canceled by the a l ne due to cov d-19.


                                                                                                                                                                                                                                                                              Good mo n ng, n the hope that you w ll be able to help me, I
                                                                                                                                                                                                                                                                              also nfo m you of what happened w th eSkyT avel ega d ng
                                                                                                                                                                                                                                                                              the onl ne book ng of fl ght t ckets. Unfo tunately because of
                                                                                                                                                                                                                                                                              COVID-19 at the beg nn ng of Ma ch I contact the costume
                                                                                                                                                                                                                                                                              se v ce to equest a efund ( 166.25) and to nfo m them that
                                                                                                                                                                                                                                                                              f om 8 Ma ch Lomba dy has been decla ed a ed zone and t
                                                                                                                                                                                                                                                                              was not poss ble fo me leave Italy to go to San F anc sco fo the
                                                                                                                                                                                                                                                                              fl ght to Las Vegas. ESky epl es that the efund s not poss ble
                                                                                                                                                                                                                                                                              and f om Ma ch 8 onwa ds they don't let me know anyth ng. I
                                                                                                                                                                                                                     Co onav us 2020
                                                                                                                                                                                                                                                                               ew te Ma ch 23, but I do not ece ve any eply unt l Ap l 7
                                                                                                                                                                                                                                                                              (fl ght day) n wh ch they tell me that the a l ne Southwest
2315451924408   4/29/2020 JIH6VI, J H6VI           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      Ve fy Funds           Compla nt          Pax states that they a e t y ng to obta n t avel c ed t
                                                                                                                                                                                                                                                                              A l nes offe s the vouche as a fo m of e mbu sement that can
                                                                                                                                                                                                                     fo fl ght that they had to cancel as they we e t avel ng
                                                                                                                                                                                                                                                                              be used fo futu e fl ghts . I accept, but on Ap l 15th they
                                                                                                                                                                                                                     f om taly
                                                                                                                                                                                                                                                                               ew te me that t s no longe poss ble to ssue vouche s afte
                                                                                                                                                                                                                                                                              the fl ght date. Can you help me please? Best ega ds. E os Gatt ,
                                                                                                                                                                                                                                                                              No el pty/no el SR
                                                                                                                                                                                                                                                                              Custome does not have Membe account
                                                                                                                                                                                                                                                                              Located PNR JIH6VI by sea ch ng Custome name (appea s to be
                                                                                                                                                                                                                                                                              booked by th d pa ty)
                                                                                                                                                                                                                                                                              T cket s st ll n open status f om past-dated t avel d opp ng to
                                                                                                                                                                                                                                                                              RTF
                                                                                                                                                                                                                                                                              Each pax has RTF of $68 99 that w ll be extended to 9/7/22

                                                                                                                                                                                                                                                                             No elated pa t es//No elated SRs
                                                                                                                                                                                                                                                                             Fl ght was canceled 04/24/2020
2315470890497   4/30/2020 W37S9R, W37S9R           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt          CORONAVIRUS 2020 Pax s equest ng efund
                                                                                                                                                                                                                                                                             T avel funds unt l 09/07/2022, P oceed w th full efund due to
                                                                                                                                                                                                                                                                             co ona v us.

                                                                                                                                                                                                                                                                             d aled                 - went to VM, left msg adv I w ll ca l aga n.

                                                                                                                                                                                                                                                                             called                aga n - no answe , left vm adv I w l
                                                                                                                                                                                                                                                                              espond v a ema l, He lo,

                                                                                                                                                                                                                                                                             G ven the COVID 19 s tuat on, nte nat onal t avel est ct ons
                                                                                                                                                                                                                                                                             between Canada and the USA, plus the fo ced qua ant ne f om
                                                                                                                                                                                                                                                                             the State Gove no esult ng n a 14-day lock-down fo t avele s
                                                                                                                                                                                                                                                                             com ng to Hawa -- all elements out of my cont ol -- I am ask ng
                                                                                                                                                                                                                                                                             fo a full e mbu sement fo my a fa e (pa ty of 4).

                                                                                                                                                                                                                                                                             Th s was supposed to be a once n-a-l fet me vacat on fo my
                                                                                                                                                                                                                     CORONAVIRUS 2020 - pax equest ng efund athe
2315481837279   4/30/2020 OF5AJJ, OF5AJJ, OF5AJJ   CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Comment/Quest on                                                           fam ly that we had planned fo the longest t me...
                                                                                                                                                                                                                     than RTF, w ll not be able to use funds.
                                                                                                                                                                                                                                                                             Unfo tunately, t w ll not be poss ble fo us to eschedule th s
                                                                                                                                                                                                                                                                             t p at all g ven my ch ld en (hav ng othe espons b l t es and
                                                                                                                                                                                                                                                                             obl gat ons) w ll no longe be ava lable to accompany us go ng
                                                                                                                                                                                                                                                                             fo wa d.

                                                                                                                                                                                                                                                                             Thank you fo you unde stand ng and collabo at on.

                                                                                                                                                                                                                                                                             Best,
                                                                                                                                                                                                                                                                                            , No el pty / no el SR
                                                                                                                                                                                                                                                                             Act ve ese vat on
                                                                                                                                                                                                                                                                             D d not ment on schedule eaccom not ffe ng efund.
                                                                                                                                                                                                                                                                             Adv s ng of RTF ext.

                                                                                                                                                                                                                                                                             4/1 schedule change. PNR s st l act ve. W ll be el g ble fo
2315492044528    5/1/2020 PXHXPV, PXHXPV, PXHXPV   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Rese vat ons                  Ass stance n book ng             Change Book ng        Compla nt          Co onav us 2020 Refund equest                            efund f cxl., K ndly p oceed w th the fu l efund due to the
                                                                                                                                                                                                                                                                             co onav us ssue / Canceled Fl ght., n ps/s s
                                                                                                                                                                                                                                                                         He lo,
                                                                                                                                                                                                                                                                         I ecently cancelled a fl ght I had booked and pa d fo . I ece ved
                                                                                                                                                                                                                     cancelled the   ese vat on and ask ng fo othe funds t avel funds fo my t cket but the funds fo the othe t cket we e
2315493060505    5/1/2020 OE8QFV                   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds      T ansfe ab l ty       Compla nt
                                                                                                                                                                                                                      n h s name                                         placed n he name. Can I get the total funds fo OE8QFV placed
                                                                                                                                                                                                                                                                          n my name? The othe pe son s no longe go ng and w ll not be
                                                                                                                                                                                                                                                                         need ng the t avel funds fo the t cket that I pa d fo .
                                                                                                                                                                                                                                                                             ͍d Ğ ŶŽ ZZ
                                                                                                                                                                                                                                                                             ͍EŽ ZĞů ^Z ͬ ZĞů W ƚǇ
                                                                                                                                                                                                                                                                             ͍ZĞƐĞĂ ĐŚ
                                                                                                                                                                                                                     Co onav us2020- Pax equest ng efund stat ng that        ͍ZĞĂĐĐŽŵ ĐŽŵƉůĞƚĞĚ ĂŶĚ ƚ ĂǀĞů ŶŽƚ ĐĂŶĐĞůĞĚ ƚĞĐŚŶ ĐĂ ůǇ ŶŽ
2315498789854    5/1/2020 MGHQI2, MGHQI2           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt
                                                                                                                                                                                                                     the l ght was canceled as a esu t of the v us.          showed but because of the eaccom t cket s st ll open
                                                                                                                                                                                                                                                                             ͍d ĂǀĞů ĨƵŶĚƐ Ψϰϴ͘ϵϴ
                                                                                                                                                                                                                                                                             , Please p oceed w th fu l efund back to o g nal mode of
                                                                                                                                                                                                                                                                             payment as the fl ght was affected due to COV D 19
                                                                                                                                                                                                                                                                             ou fl ghthasbeencancelledbysouthwest please efundbacktothec
                                                                                                                                                                                                                                                                             a d,thanks
2315527186848    5/4/2020 OKEWZE, OKEWZE           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me    Comment/Quest on   Co onav us 2020 schedule ev s on
                                                                                                                                                                                                                                                                                                               , schedule ev s on. efund ng
                                                                                                                                                                                                                                                                              n a d.
                                                                                                                                                                                                                                                                             Conf med schedule change and t cket unflown., my fl ght has
                            Q45W6U, Q45W6U,                                                                                                                                                                          Refund equest due to Co onav us 2020 schedule           been chaged ,please help me efund back to the ca d thanks
2315527440624    5/4/2020                          CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Comment/Quest on
                            Q45W6U                                                                                                                                                                                   change.163/qq.com ema l.                                SUBRATA/CYNTHIA, Refunded t cket n ARD. Due to nvol.
                                                                                                                                                                                                                                                                             exhcnage had to ove de and manua ly efund.

                                                                                                                                                                                                                     Co onav us 2020                                         P oceed a full efund due to co ona v us., ve f ed scheduled
2315562355406    5/5/2020 UE3PYK, UE3PYK           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt
                                                                                                                                                                                                                      efund equest WGA fa es                                 fl ght d d ope ate, and so funds not el g ble fo efund.
                                                                                                                                                                                                                                                                             KBPC6K
                                                                                                                                                                                                                                                                             t cket eacommed
                                                                                                                                                                                                                                                                             t cket s open n ARD
                                                                                                                                                                                                                                                                             book ng sou ce T avel Agent
                                                                                                                                                                                                                     PAX equest ng efund fo t cket due to schedule
2315565268242    5/5/2020 KBPC6K, KBPC6K           CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Cancellat on                  Ope at onal                      Reaccom Same Day      Comment/Quest on                                                           3001566503@qq.com
                                                                                                                                                                                                                      eaccomm.
                                                                                                                                                                                                                                                                             Sent ema l adv s ng pax to ca l ese vat ons l ne to equest
                                                                                                                                                                                                                                                                              efund, my fl ght has been chaged ,please help me efund back
                                                                                                                                                                                                                                                                             to the ca d thanks
                                                                                                                                                                                                                                                                             UENO/ERIKA
                                                                                                                                                                                                                                                                             no el. s
                                                                                                                                                                                                                                                                             no el. pty

                                                                                                                                                                                                                                                                             t avel was set fo 04/18
                                                                                                                                                                                                                                                                             flts d d ope ate
                                                                                                                                                                                                                                                                             tkt s st ll act ve but s nce pax tech. no showed d opp ng funds
                                                                                                                                                                                                                                                                             to a tf

                                                                                                                                                                                                                     stated that they contacted a agent and was adv se       RTF1000001037229156 -27/Feb/2021 $153 98
2315592503305    5/7/2020 MSBE3P, MSBE3P           CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                    Non efundable         Compla nt          they w ll not be ece v ng a fnd                         RTF1000001037228745 -27/Feb/2021 $153 98
                                                                                                                                                                                                                     st l seek ng a fnd
                                                                                                                                                                                                                                                                             , We called you agent they a e not g v ng fu l efund,
                                                                                                                                                                                                                                                                             We w ll not accept Vouche o T avel funds.

                                                                                                                                                                                                                                                                             Please cancel the book ng and p ocess a efund v a the payment
                                                                                                                                                                                                                                                                             method used.

                                                                                                                                                                                                                                                                              Please p oceed w th a efund and nfo m us about the amount
                                                                                                                                                                                                                                                                              efunded.
                                                                                                                                                                                                                                                                             my fl ght has been chaged ,please help me efund back to the
                                                                                                                                                                                                                     163/qq.com ema l -- efund equest fo schedule            ca d thanks
2315615777740    5/8/2020 MJ6ZI9, MJ6ZI9           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me    Compla nt
                                                                                                                                                                                                                     change                                                                                , Ve f ed schedule change n C us.
                                                                                                                                                                                                                                                                               kt s st l act ve. Refund ng n ARD.
                                                                                                                                                                                                                                                                             Fl ght 2230 was effected by Schedule ecomm. Fl ght has been
                                                                                                                                                                                                                                                                             ma ked fo efund back to OFP , my l ght has been chaged
2315632499464    5/8/2020 Q45W6U, Q45W6U           CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      Schedules                     Unexpected Change to It ne a y   New Depa tu e T me    Compla nt          163/qqc Ema l Refund Request.
                                                                                                                                                                                                                                                                             ,please help me efund back to the ca d thanks




                                                                                                                                                                                                                                                                                                                                Appx. 166
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                                                                                                                                                                                                                                                         Dea S , Madam,
                                                                                                                                                                                                                                                         We booked a fl ght f om Honolulu to H lo to be flown on 15-July-
                                                                                                                                                                                                                                                         2020 w th Southwest A l nes ( ese vat on no NKTH55 book ng
                                                                                                                                                                                                                                                         n FCMM9Q3F) and pa d $ 139,-
                                                                                                                                                                                                                                                         We found out that we w ll not be able to make th s t p, due to
                                                                                                                                                                                                                                                         the t avel est ct ons mposed upon Eu opean c t zens by the
                                                                                                                                                                                                                                                         US gove nment because of the co ona-c s s/Cov d-19. As we
                                                                                                                                                                                                                                                         cannot fly w th you company, we want to cla m a efund of the
2315668298422   5/11/2020 NKTH55                      CR/RR   Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Comment/Quest on   equest ng efund due to eu t avel ban               above amount of $ 1296,36 to be pa d to my c ed t ca d,
                                                                                                                                                                                                                                                         Maste Ca d 5209 530 3507 4353 n the name of E. de Beu s
                                                                                                                                                                                                                                                         S nce ely,




                                                                                                                                                                                                                                                         Dea Southwest,

                                                                                                                                                                                                                                                         Th s s ega d ng my fl ght f om R chmont toNashv lle v a Atlanta.
                                                                                                                                                                                                                                                         O g nally scheduled on the 30th of Ap l.
                                                                                                                                                                                                                                                         K ndly please p ov de me w th the moneta y efund back to my
                                                                                                                                                                                                                                                         c ed t ca d end ng 1443 as the fl ght has been canceled and I do
                                                                                                                                                                                                                                                         not accept t avel funds. I p efe a moneta y efund. Please
                                                                                                                                                                                                                                                          efund the money st a ght away! I hope that th s fo m w ll help
2315682886948   5/12/2020 QWHZ5O, QWHZ5O              CR/RR   Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Compla nt          Co onav us 2020 schedule ev s on
                                                                                                                                                                                                                                                         as I have al eady ca led custome suppo t but gave up afte a
                                                                                                                                                                                                                                                         long t me on hold. I unde stand that you a e ove loaded but
                                                                                                                                                                                                                                                         please do you best to efund me as soon as poss ble.

                                                                                                                                                                                                                                                         Thank you n advance!

                                                                                                                                                                                                                                                         You custome                        , schedule change. eaccomm
                                                                                                                                                                                                                                                         day late . d d not accept.
                                                                                                                                                                                                                                                         2315687473071

                                                                                                                                                                                                                                                         22046232250

                                                                                                                                                                                                                                                         JIH6VI

                                                                                                                                                                                                                                                         Related SR's
                                                                                                                                                                                                                                                         2315451924408


                                                                                                                                                                                                                                                         01AUG99

                                                                                                                                                                                                      Co onav us 2020
                                                                                                                                                                                                      W teback fo elated SR 2315451924408                27FEB68
2315687473071   5/12/2020 JIH6VI, IH6VI               CR/RR   Web Fo m   Othe                         CR W teback      Pax Followup/Documentat on       Gene al Followup           Comment/Quest on
                                                                                                                                                                                                      Pax s follow ng up ega d ng SLV's subm tted fo     22040285466 - C
                                                                                                                                                                                                      $68.99 each                                        22046232250 - C - Me ged




                                                                                                                                                                                                                                                         93739140@a l ne.k w .com

                                                                                                                                                                                                                                                         Conf med that PNR JIH6VI was cancelled and each Pax have a
                                                                                                                                                                                                                                                         RTF fo $68.99 each fo PNR IH6VI, an the RTF's have an
                                                                                                                                                                                                                                                         exp at on date of Septembe 7, 2022 s nce the RTF's we e
                                                                                                                                                                                                                                                         c eated between the dates of Ma ch 1, 2020 and Septembe 7,
                                                                                                                                                                                                                                                         2020
                                                                                                                                                                                                                                                         , F le / e-ma l efe ence numbe 2315451924408.
                                                                                                                                                                                                                                                         Good mo n ng thank you fo you unde stand ng and as you
                                                                                                                                                                                                                                                         Dea Southwest,

                                                                                                                                                                                                                                                         K ndly please p ov de me w th the moneta y efund fo my fl ght
                                                                                                                                                                                                                                                         cancelled due to Cov d. Conf mat on numbe LXBSVV and
                                                                                                                                                                                                                                                         passenge s And ew Ba low and Anna Delaney. I dont accept
                                                                                                                                                                                                                                                         t avel funds and I p efe full efund back to c ed t ca d end ng
                                                                                                                                                                                                                                                         5325. Please p oceed as soon as poss ble.
2315706213852   5/13/2020 LXBSVV, LXBSVV              CR/RR   Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Compla nt          Co onav us 2020 WGA efund equest
                                                                                                                                                                                                                                                         Thank you,

                                                                                                                                                                                                                                                         Ba low, I was not able to locate RR account
                                                                                                                                                                                                                                                         No elated SR// No elated pa ty
                                                                                                                                                                                                                                                         4/07/2020-Fl ght 533 canceled at 8 56am
                                                                                                                                                                                                                                                         4/10/2020-Fl ght 969 canceled at 6 29am
                                                                                                                                                                                                                                                         2 passenge s and the t ckets a e 133.98 pe pax
                                                                                                                                                                                                                                                         Refund ng t ckets n ARD as they a e st ll act ve
                                                                                                                                                                                                                                                         He lo,

                                                                                                                                                                                                                                                        please p ov de me w th moneta y efund back to my c ed t ca d
                                                                                                                                                                                                                                                        end ng 6513 due to canceled fl ght. It s ega d ng PBHFE8,
                                                                                                                                                                                                                                                        passenge s Lau ence and Jacky Bonnay. I do not accept t avel
                                                                                                                                                                                                                                                        funds and p efe moneta y efund. Please p oceed w th the
                                                                                                                                                                                                      Pax equest ng a efund nstead of RTF fo ese vat on efund as soon as poss ble.
2315710370812   5/13/2020 PBHFE8, PBHFE8              CR/RR   Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Compla nt
                                                                                                                                                                                                      that expe enced sched eaccomm
                                                                                                                                                                                                                                                        Thank you,

                                                                                                                                                                                                                                                                , No el pty/no el SR
                                                                                                                                                                                                                                                         Appea s to be a th d pa ty ema l ng n, not pax
                                                                                                                                                                                                                                                         Ve f ed sched eaccomm
                                                                                                                                                                                                                                                         Refund ng t ckets n ARD $80.97 pe Passenge
                                                                                                                                                                                                                                                         Dea Southwest,

                                                                                                                                                                                                                                                         K ndly please p ov de me w th a moneta y efund back to my
                                                                                                                                                                                                                                                         c ed t ca d due to canceled fl ght.
                                                                                                                                                                                                                                                         It s ega d ng ese vat on numbe LUUOTN and passenge
                                                                                                                                                                                                                                                                      .
2315712042507   5/13/2020 LUUOTN, LUUOTN, LUUOTN CR/RR        Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Compla nt          efund equest                                       I do not accept t avel funds and p efe to be efunded back to
                                                                                                                                                                                                                                                         my c ed t ca d. Please p oceed w th the efund as soon as
                                                                                                                                                                                                                                                         poss ble.

                                                                                                                                                                                                                                                         Thank you,, El g ble fo efund due to sched eaccom

                                                                                                                                                                                                                                                         Cla m No 193745916, NRC/SR
                                                                                                                                                                                                                                                         He lo,

                                                                                                                                                                                                                                                         Please k ndly p ov de me w th a moneta y efund back to my
                                                                                                                                                                                                                                                         c ed t ca d due to the canceled fl ght.
                                                                                                                                                                                                                                                         It s ega d ng ese vat on numbe R25GQN and passenge
                                                                                                                                                                                                                                                                               .

                                                                                                                                                                                                                                                         I do not accept t avel funds and p efe to be efunded back to
                                                                                                                                                                                                                                                         my c ed t ca d. Please p oceed w th the efund as soon as
2315755298302   5/15/2020 R25GQN, R25GQN              CR/RR   Web Fo m   Rese vat ons/T ckets/Fa es   Schedules        Unexpected Change to It ne a y   Nonstop F t to D ect F t   Comment/Quest on   Pax equest ng a efund due to sch eacomm.
                                                                                                                                                                                                                                                         poss ble.

                                                                                                                                                                                                                                                         Thank you,

                                                                                                                                                                                                                                                                               , No el pty s /pty

                                                                                                                                                                                                                                                         Pe C us- Reacomm occu ed on 3-19

                                                                                                                                                                                                                                                         P ocessed efund v a ARD $102.98
                                                                                                                                                                                                                                                         Dea A l ne,

                                                                                                                                                                                                                                                         Passenge 's couldn't use the fl ght because they couldn t t avel
                                                                                                                                                                                                                                                         f om Italy to US due to cov d19. Is t poss ble to g ve them a
                                                                                                                                                                                                                                                         vouche ?, JIH6VI- 2 pax
                                                                                                                                                                                                                                                         fl ght ope ated, no changes
2315824382997   5/19/2020 JIH6VI, JIH6VI              CR/RR   Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Compla nt          ntl pax want efunds
                                                                                                                                                                                                                                                         k w book ng
                                                                                                                                                                                                                                                         68.99 tf pp

                                                                                                                                                                                                                                                          el s s d ectly f om pax
                                                                                                                                                                                                                                                         2315451924408
                                                                                                                                                                                                                                                         2315687473071
                                                                                                                                                                                                                                                         - no el pty/ s
                                                                                                                                                                                                                                                         - both ese vat ons a e past ese vat ons yet they a e both n an
                                                                                                                                                                                                                                                         OK status. Leads me to bel eve that pax may not have been
                                                                                                                                                                                                                                                         not f ed of the eaccomm on 03/30. W ll be hono ng efund fo
                                                                                                                                                                                                                                                         pax.
                                                                                                                                                                                                                                                         - efund ng both paxs, both ese vat ons

                                                                                                                                                                                                                                                         VU657J- $38.80 open
                                                                                                                                                                                                                                                         Ͳ ĞĂĐŽŵŵ ŽŶ ϬϯͬϯϬͬϮϬϮϬ ϵ ϮϬ WD

                                                                                                                                                                                                                                                         dϮ'>Ͳ Ψϯϴ͘ϵϬ KƉĞŶ ͕ ƚŬƚ Ɛ
                                                                                                                                                                                                                                                         Ͳ ĞĂĐĐŽŵŵ ŽŶ ϬϰͬϬϮͬϮϬϮϬ ϯ ϭϱ D
                                                                                                                                                                                                      Co onav us 2020
                            T2GCLB, VU657J, T2GCLB,                                                                                                                                                                                                      , - no el pty/ s
2315934802121   5/25/2020                             CR/RR   Web Fo m   Refunds                      Refund Request   T ckets/Fa es                    Non efundable              Comment/Quest on
                            VU657J                                                                                                                                                                                                                       - both ese vat ons a e past ese vat ons yet they a e both n an
                                                                                                                                                                                                      Pax s seek ng a efund of WGA fa e.
                                                                                                                                                                                                                                                         OK status. Leads me to bel eve that pax may not have been
                                                                                                                                                                                                                                                         not f ed of the eaccomm on 03/30. W ll be hono ng efund fo
                                                                                                                                                                                                                                                         pax.
                                                                                                                                                                                                                                                         - efund ng both paxs, both ese vat ons

                                                                                                                                                                                                                                                         VU657J- $38.80 open
                                                                                                                                                                                                                                                         Ͳ ĞĂĐŽŵŵ ŽŶ ϬϯͬϯϬͬϮϬϮϬ ϵ ϮϬ WD

                                                                                                                                                                                                                                                         dϮ'>Ͳ Ψϯϴ͘ϵϬ KƉĞŶ ͕ ƚŬƚ Ɛ
                                                                                                                                                                                                                                                         Ͳ ĞĂĐĐŽŵŵ ŽŶ ϬϰͬϬϮͬϮϬϮϬ ϯ ϭϱ D

                                                                                                                                                                                                                                                         , Hello Lad es and Gentleman,




                                                                                                                                                                                                                                                                                                            Appx. 167
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                                                                                                                                                                                                                                                                         1 el pty-d ff ssue/me ged the ghost acct, As I w l l ke to cla m
                                                                                                                                                                                                                                                                         f om my t avel nsu ance fo th s fl ght, could you please p ov de
                                                                                                                                                                                                                     Wants us to espond that he t cket s non- efundable, a ema l eply stat ng that my t cket s non- efundable.
2315949666475   5/26/2020 K23DLU, K23DLU, K23DLU   Rese vat ons   Web Fo m   Rese vat ons/T ckets/Fa es      Fa es                         Wanna Get Away                Fa e Rules/Info mat on   Comment/Quest on
                                                                                                                                                                                                                     so she can cla m he t avel nsu ance
                                                                                                                                                                                                                                                                         Thank you , checked pn K23DLU n c us-conf med WGA fa e
                                                                                                                                                                                                                                                                         pu chased

                                                                                                                                                                                                                                                                          P ev ous SR s elated., Rel s #2315161301237

                                                                                                                                                                                                                                                                          Exp at on Date 07/Sep/2022

                                                                                                                                                                                                                                                                          Rtf $158.98, Related to the follow ng t cket numbe
                                                                                                                                                                                                                                                                          2315161301237

                                                                                                                                                                                                                                                                          I al eady contacted you and epl ed d ectly to you ema l.
                                                                                                                                                                                                                                                                          Howeve , I neve got the esponse that the ema l s one-way
                                                                                                                                                                                                                                                                          only and I could not eplay. Thus, he e my answe aga n

                                                                                                                                                                                                                                                                          Dea Ka le gh,

2315951861574   5/26/2020 JX6TQ5, JX6TQ5, JX6TQ5   CR/RR          Web Fo m   Rese vat ons/T ckets/Fa es      E-Tkt/LUV Vouche /G ft Ca d   E-T cket/Res dual Tvl Funds   T ansfe ab l ty          Comment/Quest on   W teback on SR 2315161301237                         Thank you ve y much fo you qu ck and k nd esponse. I
                                                                                                                                                                                                                                                                          unde stand that, espec ally n t mes l ke these, you have a h gh
                                                                                                                                                                                                                                                                          numbe of nqu es. Thank you also fo you nfo mat on about
                                                                                                                                                                                                                                                                          the un que way you usually handle passenge s changes n the
                                                                                                                                                                                                                                                                          plans. That s ea ly custome f endly.

                                                                                                                                                                                                                                                                          Thank you also ve y much fo the t avel funds, you a e p ov d ng
                                                                                                                                                                                                                                                                          me w th. Howeve , s nce I am a Ge man c t zen an a ely fly n
                                                                                                                                                                                                                                                                          the US, I have only l m ted use of those funds. Is t poss ble to
                                                                                                                                                                                                                                                                          t ansfe them to an Ame can f end o make an except on by
                                                                                                                                                                                                                                                                           efund ng me the amount?

                                                                                                                                                                                                                                                                          Best ega ds,


                                                                                                                                                                                                                                                                          E o nvok ng se v ce SWA C eate Se v ce Request', method
                                                                                                                                                                                                                                                                          'C eateContact' at step 'C eate Contact'.(SBL-BPR-00162)
                                                                                                                                                                                                                                                                          --
                                                                                                                                                                                                                                                                          Data Qual ty vendo -spec f c e o An e o occu ed when
                                                                                                                                                                                                                                                                          ĐĂůů ŶŐ ĨƵŶĐƚ ŽŶ ΖƐĚƋͺĚĂƚĂĐůĞĂŶƐĞ ;ͿΖ Ŷ ĐŽŶŶĞĐƚŽ Ζd ů ƵŵΖ ;ϭͿ
                                                                                                                                                                                                                                                                          . Deta led e o message C ty/P ov nce o Z p code fa lu e(SBL-
                                                                                                                                                                                                                                                                          APS-00118)(SBL-EXL-00151), H ,
                                                                                                                                                                                                                                                                          Fl ght has been canceled due to COVID-19, k ndly p oceed w th a
2315954587828   5/26/2020 KFCZZ2, KFCZZ2, KFCZZ2   CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable            Compla nt          Co onav us 2020. Pax seek ng fu l efund              full efund fo all passenge s n the o g nal account used du ng
                                                                                                                                                                                                                                                                          book ng.
                                                                                                                                                                                                                                                                          Please p ocess the money back, I don't want c ed ts.
                                                                                                                                                                                                                                                                          Thank You, n p/s
                                                                                                                                                                                                                                                                          Refunded $168.98 pe pax
                                                                                                                                                                                                                                                                          Cla m No 194460901
                                                                                                                                                                                                                                                                          Cla m No 194460721
                                                                                                                                                                                                                                                                          Cla m No 194461174
                                                                                                                                                                                                                                                                          Cla m No 194461315


                                                                                                                                                                                                                                                                          I was supposed to fly Dec 28 3019 to O lando howeve ou fl ght
                                                                                                                                                                                                                                                                          was cont nually delayed unt l I would have a ved at a ve y
                                                                                                                                                                                                                                                                          unsafe t me n O lando f om Memph s fl ght was o g na ly fo 6
                                                                                                                                                                                                                                                                          pm and by 1 am st ll no fl ght so I had to a ange a de home
                                                                                                                                                                                                                                                                          and the a l ne offe ed my vouche s as a esu t howeve due to
                                                                                                                                                                                                                                                                          the pandem c I have been unable to even use my vouche s and
                                                                                                                                                                                                                                                                          bas cally ust lost my money I would l ke a efund f om
                                                                                                                                                                                                                                                                          southwest fo my t oubles, no el pty, contacts, s
                                                                                                                                                                                                                                                                          PNR VYS9DK
2315980885331   5/27/2020 VYS9DK, VYS9DK           CR/RR          Web Fo m   Fl ght Delay/Cancel/D ve s on   Delay                         Ove a l Pe fo mance           Rel ab l ty              Compla nt          efund equest afte flt. delay
                                                                                                                                                                                                                                                                          F t. 4869 - delayed 267 m nutes - unable to dete m ne eason
                                                                                                                                                                                                                                                                          cxled - $118.98 tf exp 10/20/20
                                                                                                                                                                                                                                                                          conf med pax ssued 2 vouche s
                                                                                                                                                                                                                                                                          co 16531563 $50 slv, exp 12/28/20
                                                                                                                                                                                                                                                                          co 16531564 $100 slv, exp 12/28/20

                                                                                                                                                                                                                                                                           each ng out fo conf mat on on efundab l ty of fl ght - ok to
                                                                                                                                                                                                                                                                           efund s nce fl ght was ove 15 m n delayed
                                                                                                                                                                                                                                                                          Cla m No 179700878


                                                                                                                                                                                                                                                                          He lo I was nfo med I would ece ve a efund due to the
                                                                                                                                                                                                                                                                          pandem c howeve the cc you a e want ng to efund I know
                                                                                                                                                                                                                                                                          longe have s the e a way to cancel that efund and just ssue a
                                                                                                                                                                                                                     CR WB Rel SR 2315980885331
2316006175308   5/28/2020 VYS9DK, VYS9DK, VYS9DK   CR/RR          Web Fo m   Othe                            CR W teback                   Pax Followup/Documentat on    Gene al Followup         Compla nt                                                               pape efund to me ? Refe ence numbe of th s case s
                                                                                                                                                                                                                     Pax ask ng f efund can be sent to
                                                                                                                                                                                                                                                                          2315980885331 And amount to be efunded s $118.98 thank
                                                                                                                                                                                                                                                                          you fo you t me, el s 2315980885331 - pax was adv she
                                                                                                                                                                                                                                                                          would be efunded the co ect amount to ofop, ve f ed WB

                                                                                                                                                                                                                                                                          Dea team, please k ndly p oceed w th a med cal efund fo the
2316027919077   5/29/2020 OK38M3                   CR/RR          Web Fo m   Refunds                         Refund Request                T ckets/Fa es                 Non efundable            Compla nt          ask ng fo a efund due to med cal                      ese vat on, the passenge was not able to sue the t ckets.
                                                                                                                                                                                                                                                                          Thank you fo you help.




                                                                                                                                                                                                                                                                                                                          Appx. 168
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            EXHIBIT C




                                                                             Appx. 169
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SOUTHWEST AIRLINES CO.,                        §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §
                                                     Civil Action No. 3:21-cv-00098-E
                                                §
 KIWI.COM, INC. and KIWI.COM S.R.O.,            §
                                                §
        Defendants.                             §
                                                §


                       DECLARATION OF ALEXANDER ANDORF


       I, Alexander Andorf, being duly sworn, state as follows:

       1.      My name is Alexander Andorf and I am a Senior Business Consultant in the

Revenue Management Department at Southwest Airlines Co. (“Southwest”).

       2.      As part of my duties as a Senior Business Consultant in Revenue Management, I

am knowledgeable of and perform research relating to Southwest’s flight data and booking

information, including through conducting SQL queries via Teradata connected to Southwest’s

data warehouse. I am a custodian of such records and familiar with the system under which they

are made. The records in the spreadsheet attached as Exhibits C-1 to C-4 are true and accurate

copies of the original records that Southwest makes and keeps in the regular course of Southwest’s

business. The records were made at the time the information was recorded in Southwest’s

computer systems by a person with knowledge of the underlying facts. It is the regular practice of

Southwest to record the information set forth in the attached records.

       3.      I identified the records in the attached spreadsheet using a SQL query for the

following passenger name records (“PNRs”): (a) 16,819 PNRs booked between August 1, 2020


                                                1



                                                                                                     Appx. 170
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and January 13, 2021 that include an email domain @airline.kiwi.com in the reservation record

(see Ex. C-1); and (b) 4,252 PNRs booked between August 1, 2020 and January 13, 2021 that

include an email domain @kachipytel.com in the reservation record (see Ex. C-2). In total,

between August 1, 2020 and January 13, 2021, Kiwi was affiliated with 21,071 bookings on

Southwest flights.

        4.     I also identified the records in the attached spreadsheet using a SQL query for the

following passenger name records (“PNRs”): (a) 1,012 PNRs booked between January 14, 2021

and February 18, 2021 that include an email domain @airline.kiwi.com in the reservation record

(see Ex. C-3); and (b) 2,776 PNRs booked between January 14, 2021 and February 18, 2021 that

include an email domain @kachipytel.com in the reservation record (see Ex. C-4). In total,

between January 14, 2021 and February 18, 2021, Kiwi was affiliated with 3,778 bookings on

Southwest flights.

        5.     I also completed a separate search for reservations booked through Kiwi (with

email domains of either @airline.kiwi.com or @kachipytel.com) where the date of travel is after

February 22, 2021. See Ex. C-5. There are 1,683 reservations on Southwest flights (booked by

Kiwi) for travel between February 22, 2021 and August 16, 2021.

        6.     When Kiwi books a Southwest flight, it includes an email address for Kiwi with

the domain “@airline.kiwi.com” or “@kachipytel.com” but does not include the customer’s

personal email address or phone number.

        7.     When Kiwi books a Southwest flight, it includes a “billing city” that appear to be

fake cities.

        8.     Southwest’s records confirm that Kiwi.com is selling “hidden city” tickets on

Southwest flights. By way of example, “hidden city” tickets involve a customer that books a two-




                                                2



                                                                                                     Appx. 171
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leg flight, however, he or she only intends to fly the first leg of the flight. The customer completes

his or her trip at the connecting city and does not complete the second leg of the flight. When

Kiwi.com sells a “hidden city” ticket, Southwest is not able to sell (and another passenger thus

cannot buy) a ticket for the seat that could have been available for the second flight on the “hidden

city” ticket itinerary.

        9.      I declare under penalty of perjury that the facts and information stated in this

declaration are true and correct based on my personal knowledge and reliable information I

obtained as a representative of Southwest.




                                                  3



                                                                                                         Appx. 172
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         EXHIBIT C-1




                                                                             Appx. 173
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PNR_REC_LOC_ID   PNR_CRE_DT     ITIN_PART FLT_DEP_DT ITIN                                BILL_CITY              BILL_ST_PRVC             BILL_CNTRY BILL_ZIP EMAIL
SWS62N               8/1/2020   OB           8/27/2020 WN;1093;ONT;DEN;WN;649;DEN;IND    SOUTH MICHELEFORT      VT                       US            65150 120399158@AIRLINE.KIWI.COM
SWS62N               8/1/2020   RT           8/30/2020 WN;391;IND;DEN;WN;246;DEN;ONT     SOUTH MICHELEFORT      VT                       US            65150 120399158@AIRLINE.KIWI.COM
SZCEML               8/1/2020   OB           8/29/2020 WN;1130;ORF;BWI;WN;1623;BWI;SAT   NUEVA MALDIVAS         AGUASCALIENTES           MX            12472 120399829@AIRLINE.KIWI.COM
SZCEML               8/1/2020   OB           8/29/2020 WN;1130;ORF;BWI;WN;1623;BWI;SAT   NUEVA MALDIVAS         AGUASCALIENTES           MX            12472 120399829@AIRLINE.KIWI.COM
T69WOW               8/1/2020   OB           8/12/2020 WN;308;CUN;HOU;WN;1644;HOU;MCI    RIBEIRO DA SERRA       MINAS GERAIS             BR            17207 120401468@AIRLINE.KIWI.COM
T6F4QB               8/1/2020   OB           8/12/2020 WN;1608;CUN;BWI;WN;864;BWI;MCI    DIAS                   RIO GRANDE DO SUL        BR            98656 120401479@AIRLINE.KIWI.COM
T85ZHJ               8/1/2020   OB           8/12/2020 WN;1608;CUN;BWI;WN;864;BWI;MCI    NOVAES                 PIAUI                    BR            15153 120402227@AIRLINE.KIWI.COM
T8YMBV               8/1/2020   OB            8/1/2020 WN;928;LAX;DEN;WN;327;DEN;IND     NORTH DAWN             OH                       US            28929 120402293@AIRLINE.KIWI.COM
T8YMBV               8/1/2020   OB            8/1/2020 WN;928;LAX;DEN;WN;327;DEN;IND     NORTH DAWN             OH                       US            28929 120402293@AIRLINE.KIWI.COM
T8YMBV               8/1/2020   OB            8/1/2020 WN;928;LAX;DEN;WN;327;DEN;IND     NORTH DAWN             OH                       US            28929 120402293@AIRLINE.KIWI.COM
TCO9WP               8/1/2020   OB           8/12/2020 WN;1123;LAS;ELP                   MORALESSHIRE           KY                       US            91575 120403052@AIRLINE.KIWI.COM
TCO9WP               8/1/2020   RT           8/18/2020 WN;1512;ELP;LAS                   MORALESSHIRE           KY                       US            91575 120403052@AIRLINE.KIWI.COM
TCT6QB               8/1/2020   OB            8/7/2020 WN;968;FLL;LAS                    SOUTH MARTHABERG       VT                       US            96054 120402964@AIRLINE.KIWI.COM
TCXYZ4               8/1/2020   OB            8/1/2020 WN;2110;MSY;ATL                   NORTH RYANFORT         DE                       US            48948 120403063@AIRLINE.KIWI.COM
TE5ZZZ               8/1/2020   OB          11/10/2020 WN;3924;MCI;MDW;WN;4042;MDW;FLL   MADRID                 A CORUNA                 ES            76718 120403272@AIRLINE.KIWI.COM
TEP8N7               8/1/2020   OB            8/9/2020 WN;2092;SJU;MCO;WN;979;MCO;AUS    BNDR AYNZ              FARS                     IR            82798 120403591@AIRLINE.KIWI.COM
TF4LLL               8/1/2020   OB            8/4/2020 WN;2159;BDL;TPA                   LAKE PEGGY             AZ                       US             3405 120403690@AIRLINE.KIWI.COM
TFPIDU               8/1/2020   OB            8/5/2020 WN;2113;IND;ATL;WN;2015;ATL;MSY   NORTH ASHLEYTOWN       KS                       US            18472 120403679@AIRLINE.KIWI.COM
TFPIDU               8/1/2020   RT            8/7/2020 WN;1448;MSY;ATL;WN;443;ATL;IND    NORTH ASHLEYTOWN       KS                       US            18472 120403679@AIRLINE.KIWI.COM
TFQ8WV               8/1/2020   OB            8/6/2020 WN;1963;MEM;MCO;WN;2242;MCO;MDW   NEW JACQUELINEMOUTH    AL                       US             2254 119291260.1405123@AIRLINE.KIWI.COM
TGS9V4               8/1/2020   OB           8/10/2020 WN;1140;LGA;MDW                   EAST DEBRATOWN         SD                       US            79125 120404075@AIRLINE.KIWI.COM
TGS9V4               8/1/2020   RT           8/24/2020 WN;289;MDW;LGA                    EAST DEBRATOWN         SD                       US            79125 120404075@AIRLINE.KIWI.COM
TIYU3T               8/1/2020   OB            8/1/2020 WN;2168;PHX;LAS                   JESSICATON             FL                       US            72273 120404526@AIRLINE.KIWI.COM
TJ3Q6N               8/1/2020   OB           8/19/2020 WN;188;SAN;SMF                    BARNESSTAD             LA                       US            77317 120404691@AIRLINE.KIWI.COM
TJJKX5               8/1/2020   OB           8/17/2020 WN;1496;SMF;SAN                   PORT MICHAELBURGH      KS                       US             4434 120404680@AIRLINE.KIWI.COM
TKZO2B               8/1/2020   OB           9/17/2020 WN;2340;PDX;LAS;WN;1129;LAS;SAN   ANNALAND               CT                       US            11244 120405032@AIRLINE.KIWI.COM
TL674Y               8/1/2020   OB           8/14/2020 WN;888;PHX;DEN                    SOUTH MACKENZIEFORT    NE                       US            82031 120404955@AIRLINE.KIWI.COM
TLH4EV               8/1/2020   OB            8/4/2020 WN;479;MCO;STL                    NEW MATIMOUTH          PARNUMAA                 EE            71909 120405120@AIRLINE.KIWI.COM
TLH4EV               8/1/2020   OB            8/5/2020 WN;2085;STL;LAX                   NEW MATIMOUTH          PARNUMAA                 EE            71909 120405120@AIRLINE.KIWI.COM
TLH4EV               8/1/2020   OB            8/4/2020 WN;479;MCO;STL                    NEW MATIMOUTH          PARNUMAA                 EE            71909 120405120@AIRLINE.KIWI.COM
TLH4EV               8/1/2020   OB            8/5/2020 WN;2085;STL;LAX                   NEW MATIMOUTH          PARNUMAA                 EE            71909 120405120@AIRLINE.KIWI.COM
TLZ453               8/1/2020   OB            8/8/2020 WN;2127;TPA;BNA;WN;2127;BNA;MKE   NORTH ANTHONYTON       CA                       US            69113 120405307@AIRLINE.KIWI.COM
TLZ453               8/1/2020   OB            8/8/2020 WN;2127;TPA;BNA;WN;2127;BNA;MKE   NORTH ANTHONYTON       CA                       US            69113 120405307@AIRLINE.KIWI.COM
TLZHDB               8/1/2020   OB           8/27/2020 WN;1093;ONT;DEN;WN;649;DEN;IND    SOUTH MICHELEFORT      CO                       US            65150 120399158@AIRLINE.KIWI.COM
TLZHDB               8/1/2020   RT           8/30/2020 WN;391;IND;DEN;WN;246;DEN;ONT     SOUTH MICHELEFORT      CO                       US            65150 120399158@AIRLINE.KIWI.COM
TO9J7D               8/1/2020   OB          10/11/2020 WN;1870;SJC;SNA;WN;1870;SNA;LAS   SANDERSBURY            PA                       US             8593 120405978@AIRLINE.KIWI.COM
TO9J7D               8/1/2020   OB          10/11/2020 WN;1870;SJC;SNA;WN;1870;SNA;LAS   SANDERSBURY            PA                       US             8593 120405978@AIRLINE.KIWI.COM
TO9MFJ               8/1/2020   OB          10/13/2020 WN;1835;LAS;SJC                   SOUTH DAVID            SREDNJOBOSANSKI KANTON   BA            75977 120405978@AIRLINE.KIWI.COM
TO9MFJ               8/1/2020   OB          10/13/2020 WN;1835;LAS;SJC                   SOUTH DAVID            SREDNJOBOSANSKI KANTON   BA            75977 120405978@AIRLINE.KIWI.COM
TSFSGZ               8/1/2020   OB           8/16/2020 WN;1800;TPA;DEN                   CHANSTAD               NC                       US             6164 120407199@AIRLINE.KIWI.COM
TSZR9I               8/1/2020   OB           8/18/2020 WN;1480;SFO;LAS;WN;1861;LAS;ELP   NORTH MELINDA          TN                       US            42508 120407133@AIRLINE.KIWI.COM
TV32BG               8/1/2020   OB           8/28/2020 WN;1193;LAX;LAS                   WEST ROBERT            NE                       US            20553 120407815@AIRLINE.KIWI.COM
TWSFVX               8/1/2020   OB           8/15/2020 WN;1193;OAK;LAX                   EAST JONATHANHAVEN     GA                       US            13221 120408365@AIRLINE.KIWI.COM
TWY6JQ               8/1/2020   OB           8/15/2020 WN;742;LAX;OAK                    STEPHENTON             IN                       US             3429 120408365@AIRLINE.KIWI.COM
U4MZY3               8/1/2020   OB           8/21/2020 WN;4948;DEN;RNO                   EAST JOSHUASHIRE       AK                       US            20256 120411214@AIRLINE.KIWI.COM
U6JEEY               8/1/2020   OB            8/3/2020 WN;1855;LAX;DEN;WN;1983;DEN;RDU   LAKE JENNIFERTOWN      NV                       US            78340 120412424@AIRLINE.KIWI.COM
UB8NC2               8/1/2020   OB            8/5/2020 WN;1279;HNL;LIH                   NORTH WILLIAM          GA                       US             8981 120416483@AIRLINE.KIWI.COM
UB8NC2               8/1/2020   OB            8/5/2020 WN;1279;HNL;LIH                   NORTH WILLIAM          GA                       US             8981 120416483@AIRLINE.KIWI.COM
UB8NC2               8/1/2020   RT            8/8/2020 WN;993;LIH;HNL                    NORTH WILLIAM          GA                       US             8981 120416483@AIRLINE.KIWI.COM
UB8NC2               8/1/2020   RT            8/8/2020 WN;993;LIH;HNL                    NORTH WILLIAM          GA                       US             8981 120416483@AIRLINE.KIWI.COM
UHOUTP               8/1/2020   OB            8/1/2020 WN;150;STL;LIT                    ALEXANDERVILLE         ME                       US            75353 120420971@AIRLINE.KIWI.COM
UHOUTP               8/1/2020   OB            8/1/2020 WN;150;STL;LIT                    ALEXANDERVILLE         ME                       US            75353 120420971@AIRLINE.KIWI.COM
UKWROJ               8/1/2020   OB           9/24/2020 WN;1354;SAT;DAL;WN;2135;DAL;LAS   JONATHANSTAD           AR                       US            37093 120423633@AIRLINE.KIWI.COM
UKWROJ               8/1/2020   OB           9/24/2020 WN;1354;SAT;DAL;WN;2135;DAL;LAS   JONATHANSTAD           AR                       US            37093 120423633@AIRLINE.KIWI.COM
UKWROJ               8/1/2020   RT           9/27/2020 WN;2100;LAS;HOU;WN;2100;HOU;SAT   JONATHANSTAD           AR                       US            37093 120423633@AIRLINE.KIWI.COM
UKWROJ               8/1/2020   RT           9/27/2020 WN;2100;LAS;HOU;WN;2100;HOU;SAT   JONATHANSTAD           AR                       US            37093 120423633@AIRLINE.KIWI.COM
UL853M               8/1/2020   OB           9/24/2020 WN;1354;SAT;DAL;WN;2135;DAL;LAS   HALLFORT               ID                       US            84465 120424106@AIRLINE.KIWI.COM
UL853M               8/1/2020   OB           9/24/2020 WN;1354;SAT;DAL;WN;2135;DAL;LAS   HALLFORT               ID                       US            84465 120424106@AIRLINE.KIWI.COM
UL853M               8/1/2020   RT           9/27/2020 WN;2100;LAS;HOU;WN;2100;HOU;SAT   HALLFORT               ID                       US            84465 120424106@AIRLINE.KIWI.COM
UL853M               8/1/2020   RT           9/27/2020 WN;2100;LAS;HOU;WN;2100;HOU;SAT   HALLFORT               ID                       US            84465 120424106@AIRLINE.KIWI.COM
ULIUO2               8/1/2020   OB           9/24/2020 WN;1354;SAT;DAL;WN;2135;DAL;LAS   PORT ANDREWSTAD        TX                       US            26596 120423908@AIRLINE.KIWI.COM
ULIUO2               8/1/2020   OB           9/24/2020 WN;1354;SAT;DAL;WN;2135;DAL;LAS   PORT ANDREWSTAD        TX                       US            26596 120423908@AIRLINE.KIWI.COM
ULIUO2               8/1/2020   RT           9/27/2020 WN;2100;LAS;HOU;WN;2100;HOU;SAT   PORT ANDREWSTAD        TX                       US            26596 120423908@AIRLINE.KIWI.COM
ULIUO2               8/1/2020   RT           9/27/2020 WN;2100;LAS;HOU;WN;2100;HOU;SAT   PORT ANDREWSTAD        TX                       US            26596 120423908@AIRLINE.KIWI.COM
UQ4TM8               8/1/2020   OB            8/3/2020 WN;48;HOU;DAL;WN;309;DAL;LBB      EISENHUTTENSTADT       HESSEN                   DE            33890 120427791@AIRLINE.KIWI.COM
USHN4L               8/1/2020   OB            8/4/2020 WN;769;HRL;HOU;WN;305;HOU;CUN     BRANDIVILLE            NC                       US            74581 120429309@AIRLINE.KIWI.COM
V3DG4D               8/1/2020   OB           8/21/2020 WN;748;OAK;LAX                    KELLYTON               NE                       US            10457 120437064@AIRLINE.KIWI.COM
V7GONJ               8/1/2020   OB           8/15/2020 WN;223;SAT;BWI                    SAN ALBERTO LOS BAJO   GUANAJUATO               MX            14477 120439935@AIRLINE.KIWI.COM
V7GONJ               8/1/2020   OB           8/15/2020 WN;223;SAT;BWI                    SAN ALBERTO LOS BAJO   GUANAJUATO               MX            14477 120439935@AIRLINE.KIWI.COM
VAH5ES               8/1/2020   OB            9/8/2020 WN;363;ONT;DTW                    WALTERSCHESTER         GA                       US            17514 120442080@AIRLINE.KIWI.COM
VDHYWE               8/1/2020   OB           8/18/2020 WN;1137;DEN;PDX                   SOUTH MICHAEL          KY                       US            76853 120444390@AIRLINE.KIWI.COM
VDHYWE               8/1/2020   OB           8/18/2020 WN;999;DEN;PDX                    SOUTH MICHAEL          KY                       US            76853 120444390@AIRLINE.KIWI.COM
VDUJCM               8/1/2020   OB           8/23/2020 WN;4112;MKE;BNA                   EAST RACHELCHESTER     UT                       US            53547 120444918@AIRLINE.KIWI.COM
VDWY6A               8/1/2020   OB           8/21/2020 WN;123;BNA;MKE                    RONALDBOROUGH          ND                       US            60224 120444907@AIRLINE.KIWI.COM
VFAXMT               8/1/2020   OB           8/20/2020 WN;529;HOU;TUL                    WEST JUANVILLE         AK                       US            22613 120446150@AIRLINE.KIWI.COM
VNB8ES               8/1/2020   OB            8/5/2020 WN;935;LAX;MDW;WN;1052;MDW;RDU    FSYLTOWN               ASH SHARQIYAH            SA            60746 120451837@AIRLINE.KIWI.COM
VPQXGX               8/1/2020   OB            8/1/2020 WN;3233;PHX;LAX                   NEW DEBRAFORT          WI                       US             5743 120453894@AIRLINE.KIWI.COM
VRD7M4               8/1/2020   OB            8/6/2020 WN;503;SJU;MCO;WN;1069;MCO;BDL    WARDBERG               AUCKLAND                 NZ            23540 120455379@AIRLINE.KIWI.COM
VTT9R7               8/1/2020   OB           8/21/2020 WN;344;MSY;ATL;WN;344;ATL;LGA     EAST TERESABERG        NE                       US            92004 120456688@AIRLINE.KIWI.COM
VUQVPD               8/1/2020   OB           11/1/2020 WN;2564;DEN;PHL                   LEONARDOMOUTH          TICINO                   CH            10282 120457326@AIRLINE.KIWI.COM
VUQVPD               8/1/2020   OB           11/1/2020 WN;2564;DEN;PHL                   LEONARDOMOUTH          TICINO                   CH            10282 120457326@AIRLINE.KIWI.COM
VUQVPD               8/1/2020   OB           11/1/2020 WN;2564;DEN;PHL                   LEONARDOMOUTH          TICINO                   CH            10282 120457326@AIRLINE.KIWI.COM
VUQVPD               8/1/2020   OB           11/1/2020 WN;2564;DEN;PHL                   LEONARDOMOUTH          TICINO                   CH            10282 120457326@AIRLINE.KIWI.COM
VVOEH7               8/1/2020   OB           8/13/2020 WN;761;SLC;DEN                    LAKE JENNIFERBERG      ID                       US            69194 120457579@AIRLINE.KIWI.COM
VZ54VU               8/1/2020   OB           8/19/2020 WN;845;BWI;LAX                    NEW JOHNMOUTH          ND                       US            63698 120459779@AIRLINE.KIWI.COM
W2UT66               8/1/2020   OB            8/3/2020 WN;2216;CMH;MDW                   JESSICACHESTER         VT                       US            73232 120461088@AIRLINE.KIWI.COM
W44FB8               8/1/2020   OB            8/6/2020 WN;1497;MEM;MDW                   ALECMOUTH              PA                       US             5821 120461748@AIRLINE.KIWI.COM
WAG7CG               8/1/2020   OB           8/16/2020 WN;1304;PHX;LAX                   FISCHERBURGH           MO                       US            32866 120464597@AIRLINE.KIWI.COM
WAV6QI               8/1/2020   OB            9/3/2020 WN;1532;STL;SAT                   NORTH ROBERTCHESTER    OH                       US            91057 120465015@AIRLINE.KIWI.COM
WAV6QI               8/1/2020   RT            9/8/2020 WN;2003;SAT;DAL;WN;2003;DAL;STL   NORTH ROBERTCHESTER    OH                       US            91057 120465015@AIRLINE.KIWI.COM
WBD2VD               8/1/2020   OB          12/18/2020 WN;6958;RNO;LAS;WN;416;LAS;MCO    ANGELAFORT             RI                       US            39013 120465224@AIRLINE.KIWI.COM
WBD2VD               8/1/2020   OB          12/18/2020 WN;6958;RNO;LAS;WN;416;LAS;MCO    ANGELAFORT             RI                       US            39013 120465224@AIRLINE.KIWI.COM
WCL7J8               8/1/2020   OB           8/22/2020 WN;1180;BWI;FLL                   SOUTH KEITHTON         TX                       US            76321 120465774@AIRLINE.KIWI.COM
WD3TL9               8/1/2020   OB           8/20/2020 WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN CARLA DE LA MONT   TABASCO                  MX            63162 120466049@AIRLINE.KIWI.COM
WDROFU               8/1/2020   OB           8/20/2020 WN;48;BWI;CMH                     TIFFANYVILLE           KS                       US            27747 120466093@AIRLINE.KIWI.COM
WETJEY               8/1/2020   OB           8/21/2020 WN;408;ATL;DAL                    LAKE ANTHONYVIEW       OK                       US             9303 120466742@AIRLINE.KIWI.COM
WETJEY               8/1/2020   OB           8/21/2020 WN;408;ATL;DAL                    LAKE ANTHONYVIEW       OK                       US             9303 120466742@AIRLINE.KIWI.COM
WEXQAX               8/1/2020   OB           8/26/2020 WN;139;LAS;SNA                    NORTH JAMES            LUXEMBOURG               LU            15847 120466841@AIRLINE.KIWI.COM
WFCL68               8/1/2020   OB            8/3/2020 WN;1828;LAS;LAX                   EAST DAWNPORT          IA                       US            72310 120466775@AIRLINE.KIWI.COM
J2S97U               8/2/2020   OB           8/18/2020 WN;1614;FLL;BWI                   WEST LAURA             PA                       US            82381 120465774@AIRLINE.KIWI.COM
J2TF7I               8/2/2020   OB            8/7/2020 WN;370;LAS;ELP                    SOUTH JUSTIN           MI                       US            16552 120472539@AIRLINE.KIWI.COM
J5MDCU               8/2/2020   OB            9/2/2020 WN;1311;OAK;SAN;WN;4659;SAN;BNA   LAKE TINAVILLE         AK                       US             2256 120473111@AIRLINE.KIWI.COM
J5MDCU               8/2/2020   OB            9/2/2020 WN;1311;OAK;SAN;WN;4659;SAN;BNA   LAKE TINAVILLE         AK                       US             2256 120473111@AIRLINE.KIWI.COM
J5MDCU               8/2/2020   OB            9/2/2020 WN;1311;OAK;SAN;WN;4659;SAN;BNA   LAKE TINAVILLE         AK                       US             2256 120473111@AIRLINE.KIWI.COM
J5MDCU               8/2/2020   OB            9/2/2020 WN;1311;OAK;SAN;WN;4659;SAN;BNA   LAKE TINAVILLE         AK                       US             2256 120473111@AIRLINE.KIWI.COM
J5OCOT               8/2/2020   OB            9/6/2020 WN;2073;BNA;PHX;WN;2292;PHX;OAK   JULIEBURGH             WI                       US            34259 120473100@AIRLINE.KIWI.COM




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J5OCOT   8/2/2020   OB     9/6/2020   WN;2073;BNA;PHX;WN;2292;PHX;OAK   JULIEBURGH             WI                   US   34259   120473100@AIRLINE.KIWI.COM
J5OCOT   8/2/2020   OB     9/6/2020   WN;2073;BNA;PHX;WN;2292;PHX;OAK   JULIEBURGH             WI                   US   34259   120473100@AIRLINE.KIWI.COM
J5OCOT   8/2/2020   OB     9/6/2020   WN;2073;BNA;PHX;WN;2292;PHX;OAK   JULIEBURGH             WI                   US   34259   120473100@AIRLINE.KIWI.COM
JBEDU5   8/2/2020   OB     8/7/2020   WN;2209;MDW;RDU                   BOOKERTOWN             AL                   US   62569   120474365@AIRLINE.KIWI.COM
JBZDHN   8/2/2020   OB    8/14/2020   WN;255;MDW;BNA                    WEST KARABURY          WV                   US   61745   120474772@AIRLINE.KIWI.COM
JBZDHN   8/2/2020   RT    8/17/2020   WN;1627;BNA;MDW                   WEST KARABURY          WV                   US   61745   120474772@AIRLINE.KIWI.COM
JER22T   8/2/2020   OB     9/9/2020   WN;881;SJD;HOU;WN;1066;HOU;ATL    LAKE RACHAELLAND       ME                   US   60983   120475399@AIRLINE.KIWI.COM
JR57BX   8/2/2020   OB    8/16/2020   WN;688;TUS;LAS;WN;965;LAS;SFO     YU MEI SHI             NEI MONGOL ZIZHIQU   CN   10068   120471725@AIRLINE.KIWI.COM
K2NBTR   8/2/2020   OB    8/18/2020   WN;1214;PHX;SMF                   LAKE KIMBERLY          GA                   US   58174   120488742@AIRLINE.KIWI.COM
K2ZY2U   8/2/2020   OB     8/3/2020   WN;993;LIH;HNL                    NORTH HEATHERTON       GA                   US   65036   120488929@AIRLINE.KIWI.COM
K2ZY2U   8/2/2020   RT    8/10/2020   WN;1279;HNL;LIH                   NORTH HEATHERTON       GA                   US   65036   120488929@AIRLINE.KIWI.COM
K4EUTY   8/2/2020   OB    8/19/2020   WN;159;FLL;SJU                    WEST FAITHBOROUGH      KS                   US   75051   120489985@AIRLINE.KIWI.COM
K4VZ4A   8/2/2020   OB    8/28/2020   WN;321;SJU;FLL                    NEW JESSICA            KY                   US   90385   120489996@AIRLINE.KIWI.COM
K9QPS9   8/2/2020   OB    8/25/2020   WN;771;LGB;OAK;WN;771;OAK;BOI     NEW TERESA             VA                   US   27160   120493890@AIRLINE.KIWI.COM
K9QPS9   8/2/2020   OB    8/25/2020   WN;771;LGB;OAK;WN;771;OAK;BOI     NEW TERESA             VA                   US   27160   120493890@AIRLINE.KIWI.COM
K9QPS9   8/2/2020   OB    8/25/2020   WN;771;LGB;OAK;WN;771;OAK;BOI     NEW TERESA             VA                   US   27160   120493890@AIRLINE.KIWI.COM
KA8QLN   8/2/2020   OB     8/2/2020   WN;1228;DEN;STL                   NICHOLASSTAD           UT                   US    5229   120494594@AIRLINE.KIWI.COM
KAFLYQ   8/2/2020   OB     8/2/2020   WN;1228;DEN;STL                   WEST DANIEL            AR                   US   89058   120494242@AIRLINE.KIWI.COM
KAFLYQ   8/2/2020   OB     8/2/2020   WN;1228;DEN;STL                   WEST DANIEL            AR                   US   89058   120494242@AIRLINE.KIWI.COM
KBT7QS   8/2/2020   OB     8/2/2020   WN;365;DCA;ATL                    WEST DON               UT                   US     740   120495716@AIRLINE.KIWI.COM
KO9XZA   8/2/2020   OB     8/2/2020   WN;5300;BWI;BNA;WN;1559;BNA;LGA   PORT JULIEBERG         IL                   US    4655   120505759@AIRLINE.KIWI.COM
KOAWXD   8/2/2020   OB     9/7/2020   WN;1632;AUS;PDX                   ROBERTSCHESTER         MT                   US   65595   120505946@AIRLINE.KIWI.COM
KQYXSA   8/2/2020   OB     8/7/2020   WN;3221;BNA;BWI                   EAST RICKEY            BANI SUWAYF          EG   79022   120508168@AIRLINE.KIWI.COM
KQYXSA   8/2/2020   RT    8/10/2020   WN;1089;BWI;BNA                   EAST RICKEY            BANI SUWAYF          EG   79022   120508168@AIRLINE.KIWI.COM
KSXJBR   8/2/2020   OB    8/17/2020   WN;1008;LAS;CMH                   JONATHONFORT           ME                   US   93619   120510159@AIRLINE.KIWI.COM
KTRQDF   8/2/2020   OB     9/5/2020   WN;1680;DEN;OKC                   ZAGAN                  LUBELSKIE            PL   39414   120510489@AIRLINE.KIWI.COM
KVSVUQ   8/2/2020   OB    8/19/2020   WN;1246;DEN;OKC                   PEREIRA                RIO DE JANEIRO       BR   29175   120512150@AIRLINE.KIWI.COM
KZ9J5W   8/2/2020   OB    8/29/2020   WN;350;BWI;AUS                    WEST PAMELA            NC                   US   57268   120514977@AIRLINE.KIWI.COM
L24JNJ   8/2/2020   OB     9/4/2020   WN;944;MSP;MDW;WN;431;MDW;DAL     NORTH CHAD             ME                   US   76210   120515142@AIRLINE.KIWI.COM
L24JNJ   8/2/2020   RT     9/7/2020   WN;2361;DAL;MDW;WN;2361;MDW;MSP   NORTH CHAD             ME                   US   76210   120515142@AIRLINE.KIWI.COM
L4OCZN   8/2/2020   OB     8/4/2020   WN;349;LAX;SLC                    SAN ALFONSO LOS BAJO   SINALOA              MX   58444   120518222@AIRLINE.KIWI.COM
L6J4PU   8/2/2020   OB     9/7/2020   WN;1029;MHT;BWI                   LAKE SYDNEYBURY        TX                   US    3351   120519652@AIRLINE.KIWI.COM
L7HTVI   8/2/2020   OB    8/16/2020   WN;907;MBJ;BWI                    VICTORIAMOUTH          MN                   US    6999   120521126@AIRLINE.KIWI.COM
L9G6LL   8/2/2020   OB     9/7/2020   WN;1029;MHT;BWI                   NORTH EBONY            ND                   US   69779   120519652@AIRLINE.KIWI.COM
L9QDPQ   8/2/2020   OB    9/27/2020   WN;4500;MDW;BWI;WN;950;BWI;BOS    GFOHL                  STEIERMARK           AT   20799   120522336@AIRLINE.KIWI.COM
L9ZS35   8/2/2020   OB    8/13/2020   WN;1013;OAK;SLC                   MARGARETHAVEN          KY                   US   38975   120523348@AIRLINE.KIWI.COM
LAWPPO   8/2/2020   OB     8/6/2020   WN;683;TPA;HOU;WN;317;HOU;CUN     NORTH RICHARDSIDE      WI                   US   47283   120523678@AIRLINE.KIWI.COM
LBJIII   8/2/2020   OB     8/6/2020   WN;683;TPA;HOU;WN;317;HOU;CUN     EMILYPORT              MN                   US   95639   120523678@AIRLINE.KIWI.COM
LBO45G   8/2/2020   OB    8/20/2020   WN;1833;SJC;MDW;WN;787;MDW;CLE    PEREZBOROUGH           TN                   US   90515   120524613@AIRLINE.KIWI.COM
LBSG4M   8/2/2020   OB     8/2/2020   WN;1317;SMF;LAS                   LAWSONMOUTH            WI                   US   58881   120524690@AIRLINE.KIWI.COM
LBSG4M   8/2/2020   OB     8/2/2020   WN;1317;SMF;LAS                   LAWSONMOUTH            WI                   US   58881   120524690@AIRLINE.KIWI.COM
LC7IJQ   8/2/2020   OB    8/24/2020   WN;1152;PHL;DEN                   GRAHAMFURT             NV                   US   85059   120525515@AIRLINE.KIWI.COM
LC7IJQ   8/2/2020   OB    8/24/2020   WN;1152;PHL;DEN                   GRAHAMFURT             NV                   US   85059   120525515@AIRLINE.KIWI.COM
LC7IJQ   8/2/2020   RT    8/30/2020   WN;454;DEN;PHL                    GRAHAMFURT             NV                   US   85059   120525515@AIRLINE.KIWI.COM
LC7IJQ   8/2/2020   RT    8/30/2020   WN;454;DEN;PHL                    GRAHAMFURT             NV                   US   85059   120525515@AIRLINE.KIWI.COM
LDWPTJ   8/2/2020   OB     8/9/2020   WN;1660;SMF;LAX                   SOUTH BRUCE            CO                   US   49023   120527286@AIRLINE.KIWI.COM
LI4T5F   8/2/2020   OB     9/4/2020   WN;310;PHL;MDW                    RUSSELLCHESTER         AR                   US   78215   120530278@AIRLINE.KIWI.COM
LI4T5F   8/2/2020   RT     9/6/2020   WN;1645;MDW;PHL                   RUSSELLCHESTER         AR                   US   78215   120530278@AIRLINE.KIWI.COM
LKM3BM   8/2/2020   OB     8/5/2020   WN;580;ABQ;PHX;WN;1594;PHX;SAN    SOUTH KENNETH          OK                   US   14999   120531950@AIRLINE.KIWI.COM
LKM3BM   8/2/2020   RT    8/12/2020   WN;214;SAN;DAL;WN;214;DAL;ABQ     SOUTH KENNETH          OK                   US   14999   120531950@AIRLINE.KIWI.COM
LLBGLV   8/2/2020   OB    8/14/2020   WN;1347;LBB;HOU;WN;934;HOU;RDU    HANNABURGH             ND                   US   34209   120532467@AIRLINE.KIWI.COM
LLBGLV   8/2/2020   OB    8/14/2020   WN;1347;LBB;HOU;WN;934;HOU;RDU    HANNABURGH             ND                   US   34209   120532467@AIRLINE.KIWI.COM
LLBGLV   8/2/2020   RT    8/19/2020   WN;1825;RDU;HOU;WN;1655;HOU;LBB   HANNABURGH             ND                   US   34209   120532467@AIRLINE.KIWI.COM
LLBGLV   8/2/2020   RT    8/19/2020   WN;1825;RDU;HOU;WN;1655;HOU;LBB   HANNABURGH             ND                   US   34209   120532467@AIRLINE.KIWI.COM
LN4LJN   8/2/2020   OB    8/22/2020   WN;101;STL;RDU                    SAN ANA LUISA LOS AL   SONORA               MX   70420   120533523@AIRLINE.KIWI.COM
LN4LJN   8/2/2020   RT    8/30/2020   WN;1149;RDU;STL                   SAN ANA LUISA LOS AL   SONORA               MX   70420   120533523@AIRLINE.KIWI.COM
LOOTBS   8/2/2020   OB    8/20/2020   WN;893;CMH;RSW                    ROGERSVILLE            WI                   US   16292   120534502@AIRLINE.KIWI.COM
LOOTBS   8/2/2020   RT    8/27/2020   WN;2957;RSW;CMH                   ROGERSVILLE            WI                   US   16292   120534502@AIRLINE.KIWI.COM
LP27UJ   8/2/2020   OB    8/13/2020   WN;1595;BUR;SMF                   VARDENIS               GEGARKUNIK           AM   34354   120534810@AIRLINE.KIWI.COM
LP27UJ   8/2/2020   RT    8/17/2020   WN;1329;SMF;BUR                   VARDENIS               GEGARKUNIK           AM   34354   120534810@AIRLINE.KIWI.COM
LP47DN   8/2/2020   OB    9/20/2020   WN;1942;AUS;LAS;WN;1870;LAS;BOI   MARIATOWN              HI                   US   43447   120534590@AIRLINE.KIWI.COM
LP47DN   8/2/2020   OB    9/20/2020   WN;1942;AUS;LAS;WN;1870;LAS;BOI   MARIATOWN              HI                   US   43447   120534590@AIRLINE.KIWI.COM
LPGLUH   8/2/2020   OB     8/8/2020   WN;1554;SEA;SMF                   SOUTH NICOLE           ND                   US   53294   120535019@AIRLINE.KIWI.COM
LQDKSI   8/2/2020   OB     8/3/2020   WN;1828;LAS;LAX                   NORTH JOHN             OH                   US   26489   120535151@AIRLINE.KIWI.COM
LTKDD7   8/2/2020   OB     8/3/2020   WN;2023;SAN;SMF                   PEREIRA DO AMPARO      MATO GROSSO DO SUL   BR   84269   120536460@AIRLINE.KIWI.COM
LTYYSC   8/2/2020   OB   11/29/2020   WN;3880;MDW;MSY;WN;3880;MSY;DEN   NEW DENISE             MS                   US   79754   120536372@AIRLINE.KIWI.COM
LU4ZRY   8/2/2020   OB    8/18/2020   WN;4423;DEN;TPA                   EAST ROBERT            DE                   US   78939   120536339@AIRLINE.KIWI.COM
LUDBBB   8/2/2020   OB     9/4/2020   WN;499;AUS;DEN                    RICKYFURT              RI                   US    7861   120536625@AIRLINE.KIWI.COM
LUNYMT   8/2/2020   OB     9/3/2020   WN;1302;MSY;ATL                   SMITHMOUTH             AK                   US   78358   120536878@AIRLINE.KIWI.COM
LUNYMT   8/2/2020   RT     9/7/2020   WN;2635;ATL;MSY                   SMITHMOUTH             AK                   US   78358   120536878@AIRLINE.KIWI.COM
LVHTN7   8/2/2020   OB     8/6/2020   WN;2266;STL;TPA                   LAKE JOSEPH            MAAN                 JO   88399   120537021@AIRLINE.KIWI.COM
LVHTN7   8/2/2020   OB     8/6/2020   WN;2266;STL;TPA                   LAKE JOSEPH            MAAN                 JO   88399   120537021@AIRLINE.KIWI.COM
LVHTN7   8/2/2020   OB     8/6/2020   WN;2266;STL;TPA                   LAKE JOSEPH            MAAN                 JO   88399   120537021@AIRLINE.KIWI.COM
LVOL7H   8/2/2020   OB    8/15/2020   WN;153;BWI;MHT                    JACOBVILLE             OK                   US   28914   120537032@AIRLINE.KIWI.COM
LVOL7H   8/2/2020   RT    8/17/2020   WN;152;MHT;BWI                    JACOBVILLE             OK                   US   28914   120537032@AIRLINE.KIWI.COM
LWU4RS   8/2/2020   OB    8/27/2020   WN;1662;SLC;LAS                   PAULPORT               GA                   US   69299   120537373@AIRLINE.KIWI.COM
WIMYBF   8/2/2020   OB    8/16/2020   WN;277;ATL;RIC                    KELLEYLAND             OH                   US    1982   120467765@AIRLINE.KIWI.COM
WL9XIA   8/2/2020   OB     9/8/2020   WN;463;PHX;ATL                    HEATHVIEW              TX                   US   95205   120468205@AIRLINE.KIWI.COM
WL9XIA   8/2/2020   OB     9/8/2020   WN;463;PHX;ATL                    HEATHVIEW              TX                   US   95205   120468205@AIRLINE.KIWI.COM
WLAZDQ   8/2/2020   OB     8/3/2020   WN;1828;LAS;LAX                   WEST SHANEBERG         CO                   US   35961   120468249@AIRLINE.KIWI.COM
WM67ZP   8/2/2020   OB     8/2/2020   WN;2021;OAK;PDX                   SAN ROCIO LOS ALTOS    QUINTANA ROO         MX   11383   120468568@AIRLINE.KIWI.COM
WNQKET   8/2/2020   OB     8/2/2020   WN;399;MCO;CMH                    SMITHSHIRE             SD                   US   38002   120469107@AIRLINE.KIWI.COM
WNRFC4   8/2/2020   OB     9/4/2020   WN;1594;CMH;DEN                   LAKE JAMESBOROUGH      DE                   US   94677   120468997@AIRLINE.KIWI.COM
WNZZSM   8/2/2020   OB     8/7/2020   WN;1917;ELP;PHX;WN;1969;PHX;LAS   SAN LETICIA LOS BAJO   QUERETARO            MX   96612   120469206@AIRLINE.KIWI.COM
WNZZSM   8/2/2020   RT    8/17/2020   WN;1861;LAS;ELP                   SAN LETICIA LOS BAJO   QUERETARO            MX   96612   120469206@AIRLINE.KIWI.COM
WOAVJK   8/2/2020   OB     9/8/2020   WN;2520;DEN;CMH                   NORTH RHONDAHAVEN      ME                   US   56653   120468986@AIRLINE.KIWI.COM
WPQ6XD   8/2/2020   OB    9/30/2020   WN;139;ATL;BWI;WN;906;BWI;MBJ     SOUTH ADAMBERG         WV                   US   93517   120469668@AIRLINE.KIWI.COM
WPQ6XD   8/2/2020   OB    9/30/2020   WN;139;ATL;BWI;WN;906;BWI;MBJ     SOUTH ADAMBERG         WV                   US   93517   120469668@AIRLINE.KIWI.COM
WWY5KG   8/2/2020   OB    8/10/2020   WN;1315;SEA;SMF                   EAST SAMANTHABERG      HI                   US   59707   120471483@AIRLINE.KIWI.COM
WXH9TP   8/2/2020   OB    10/3/2020   WN;2512;SMF;LAS                   PHILLIPSBOROUGH        CO                   US    8404   120471560@AIRLINE.KIWI.COM
WXH9TP   8/2/2020   OB    10/3/2020   WN;2512;SMF;LAS                   PHILLIPSBOROUGH        CO                   US    8404   120471560@AIRLINE.KIWI.COM
WY2T2Q   8/2/2020   OB    10/6/2020   WN;2508;LAS;SMF                   SOUTH STACYFORT        MI                   US   57719   120471560@AIRLINE.KIWI.COM
WY2T2Q   8/2/2020   OB    10/6/2020   WN;2508;LAS;SMF                   SOUTH STACYFORT        MI                   US   57719   120471560@AIRLINE.KIWI.COM
WZP6H7   8/2/2020   OB     8/2/2020   WN;633;ATL;IND                    LAKE TROYMOUTH         MI                   US   83332   120472121@AIRLINE.KIWI.COM
WZUUQJ   8/2/2020   OB     8/2/2020   WN;1288;ELP;LAS                   WEST MEGAN             RI                   US   36748   120472330@AIRLINE.KIWI.COM
LYQHUZ   8/3/2020   OB    8/16/2020   WN;181;LAX;STL                    LAKE JUSTIN            ID                   US   46270   120538352@AIRLINE.KIWI.COM
LYQHUZ   8/3/2020   OB    8/16/2020   WN;181;LAX;STL                    LAKE JUSTIN            ID                   US   46270   120538352@AIRLINE.KIWI.COM
M224Q6   8/3/2020   OB    8/19/2020   WN;1468;SJC;LAS;WN;562;LAS;AUS    LAKE PRAMESBOROUGH     PHRAE                TH   23152   120538495@AIRLINE.KIWI.COM
M2ZIIF   8/3/2020   OB     8/3/2020   WN;432;LAS;OAK                    GALLAGHERBERG          MORAY                GB   35767   120538902@AIRLINE.KIWI.COM
M42II5   8/3/2020   OB     8/6/2020   WN;661;FLL;ATL;WN;464;ATL;GSP     MILLERSIDE             MI                   US   93496   120538979@AIRLINE.KIWI.COM
M45VF9   8/3/2020   OB    8/17/2020   WN;270;SMF;LAS                    SOUTH MICHAEL          GA                   US    6691   120539100@AIRLINE.KIWI.COM
M52VLG   8/3/2020   OB    8/18/2020   WN;1614;FLL;BWI                   LAKE SHANNON           NE                   US   57490   120537703@AIRLINE.KIWI.COM
M52VLG   8/3/2020   RT    8/23/2020   WN;130;BWI;FLL                    LAKE SHANNON           NE                   US   57490   120537703@AIRLINE.KIWI.COM
M6TGKG   8/3/2020   OB     8/6/2020   WN;2165;TUL;STL;WN;1312;STL;MCO   TAYLORCHESTER          MN                   US   82645   120539650@AIRLINE.KIWI.COM
M6TGKG   8/3/2020   OB     8/6/2020   WN;2165;TUL;STL;WN;1312;STL;MCO   TAYLORCHESTER          MN                   US   82645   120539650@AIRLINE.KIWI.COM
M9PB56   8/3/2020   OB     8/5/2020   WN;667;ATL;MDW;WN;3223;MDW;STL    PORT JAMESMOUTH        MO                   US   62433   120540211@AIRLINE.KIWI.COM
M9PB56   8/3/2020   OB     8/5/2020   WN;667;ATL;MDW;WN;3223;MDW;STL    PORT JAMESMOUTH        MO                   US   62433   120540211@AIRLINE.KIWI.COM




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MAX9QT   8/3/2020   OB    8/20/2020   WN;1479;SMF;ONT;WN;1479;ONT;PHX        LAKE DEREK             WI                      US   35894   120489160.1407034@AIRLINE.KIWI.COM
MCZWX8   8/3/2020   OB     9/4/2020   WN;1626;LAX;LAS                        LAKE JESSESIDE         MO                      US   23435   120540761@AIRLINE.KIWI.COM
MCZWX8   8/3/2020   OB     9/4/2020   WN;1626;LAX;LAS                        LAKE JESSESIDE         MO                      US   23435   120540761@AIRLINE.KIWI.COM
MEJLPT   8/3/2020   OB     8/3/2020   WN;1610;CUN;BWI;WN;1371;BWI;ALB        NUEVA CHAD             NUEVO LEON              MX   62884   120540981@AIRLINE.KIWI.COM
MF95O5   8/3/2020   OB     8/3/2020   WN;934;LAX;LAS                         ROBERTCHESTER          AL                      US   26406   120541190@AIRLINE.KIWI.COM
MF95O5   8/3/2020   OB     8/3/2020   WN;934;LAX;LAS                         ROBERTCHESTER          AL                      US   26406   120541190@AIRLINE.KIWI.COM
MFV3MZ   8/3/2020   OB    8/21/2020   WN;624;PHX;MSY                         KEVINBURY              CO                      US   64592   120541487@AIRLINE.KIWI.COM
MFV3MZ   8/3/2020   RT    8/28/2020   WN;959;MSY;PHX                         KEVINBURY              CO                      US   64592   120541487@AIRLINE.KIWI.COM
MGGWEG   8/3/2020   OB    8/27/2020   WN;274;LAS;SMF                         BURKEMOUTH             AR                      US   98765   120541597@AIRLINE.KIWI.COM
MGGZIN   8/3/2020   OB    8/25/2020   WN;1251;SMF;LAS                        ASHLEYLAND             IL                      US   87013   120541520@AIRLINE.KIWI.COM
MJLB3B   8/3/2020   OB     8/6/2020   WN;1451;RDU;DEN;WN;2087;DEN;LAX        RICKYBURY              AL                      US   61871   120542180@AIRLINE.KIWI.COM
MK58BS   8/3/2020   OB     9/7/2020   WN;2229;CMH;ATL                        PORT CLIFFORD          NE                      US   75593   120542499@AIRLINE.KIWI.COM
MK94YW   8/3/2020   OB     9/4/2020   WN;764;ATL;CMH                         JASONFORT              IN                      US   19713   120542510@AIRLINE.KIWI.COM
MVXTYL   8/3/2020   OB    9/30/2020   WN;2242;ALB;BWI;WN;2064;BWI;GRR;WN;206 KRUEGERFURT            NY                      US   69601   120546393@AIRLINE.KIWI.COM
MW7IQF   8/3/2020   OB    9/25/2020   WN;1733;DEN;GRR;WN;1733;GRR;MDW;WN;1 MULLINSBURY              IL                      US   90209   120546404@AIRLINE.KIWI.COM
MX9SCD   8/3/2020   OB     8/3/2020   WN;986;SMF;PDX                         BRIANHAVEN             MD                      US   57296   120546635@AIRLINE.KIWI.COM
N5RQXU   8/3/2020   OB    8/23/2020   WN;455;PHX;LAX                         SAN EUGENIO DE LA MO   MORELOS                 MX   35183   120550672@AIRLINE.KIWI.COM
NE9KW2   8/3/2020   OB    8/30/2020   WN;816;SMF;LAX                         MADIUN                 BANGKA BELITUNG         ID    6325   120557008@AIRLINE.KIWI.COM
NF4ULT   8/3/2020   OB     8/3/2020   WN;504;OKC;BNA                         BRIANNACHESTER         MS                      US   28546   120558867@AIRLINE.KIWI.COM
NLQYT2   8/3/2020   OB   12/27/2020   WN;4598;PBI;ATL;WN;3563;ATL;SAT        WEST PAMELA            NV                      US   36751   120565533@AIRLINE.KIWI.COM
NSDI53   8/3/2020   OB     8/6/2020   WN;3337;DCA;DAL                        GRANADA                CASTELLON               ES   91041   120572309@AIRLINE.KIWI.COM
NTUCAL   8/3/2020   OB     8/3/2020   WN;2120;BOS;BWI                        NICHOLASPORT           MI                      US   32638   120573926@AIRLINE.KIWI.COM
NWMH8H   8/3/2020   OB    8/20/2020   WN;1491;ONT;PHX;WN;394;PHX;BNA         SAUNDERSSIDE           TN                      US   71754   120577270@AIRLINE.KIWI.COM
NZK5ES   8/3/2020   OB     8/3/2020   WN;455;HOU;MSY                         JESSICASHIRE           VT                      US   14397   120580130@AIRLINE.KIWI.COM
O2YG89   8/3/2020   OB     8/4/2020   WN;2695;ATL;LAX                        NORTH ANTHONYMOUTH     LA                      US   25632   120581637@AIRLINE.KIWI.COM
O3TV7Q   8/3/2020   OB    8/16/2020   WN;689;ATL;RIC                         PORT TAMMY             PA                      US   44730   120582935@AIRLINE.KIWI.COM
O3WELU   8/3/2020   OB    8/10/2020   WN;3239;MCO;HOU;WN;3239;HOU;TUL        ANNAHAVEN              LA                      US   43716   120582264@AIRLINE.KIWI.COM
O3WELU   8/3/2020   OB    8/10/2020   WN;3239;MCO;HOU;WN;3239;HOU;TUL        ANNAHAVEN              LA                      US   43716   120582264@AIRLINE.KIWI.COM
O5KB5B   8/3/2020   OB     8/6/2020   WN;377;BWI;ATL                         BANKSTON               VA                      US   52372   120583738@AIRLINE.KIWI.COM
O5KB5B   8/3/2020   RT    8/10/2020   WN;499;ATL;BWI                         BANKSTON               VA                      US   52372   120583738@AIRLINE.KIWI.COM
O7H4NR   8/3/2020   OB    8/17/2020   WN;1408;DAL;CLT                        NEW CYNTHIASTAD        IN                      US   60882   120585729@AIRLINE.KIWI.COM
O9ZLRT   8/3/2020   OB     8/9/2020   WN;2065;SAN;SFO                        NEW SARA               ME                      US   92158   120588061@AIRLINE.KIWI.COM
OB8TAM   8/3/2020   OB   11/24/2020   WN;1705;SLC;LAS                        ANDERSONFORT           ID                      US    1928   120588919@AIRLINE.KIWI.COM
OBBU8M   8/3/2020   OB   11/29/2020   WN;2054;LAS;SLC                        SOUTH PATRICK          WV                      US    3099   120588930@AIRLINE.KIWI.COM
OFTO6E   8/3/2020   OB    8/18/2020   WN;1067;DCA;FLL                        LAKE REBECCAMOUTH      WA                      US   42073   120593341@AIRLINE.KIWI.COM
OFTO6E   8/3/2020   OB    8/18/2020   WN;1067;DCA;FLL                        LAKE REBECCAMOUTH      WA                      US   42073   120593341@AIRLINE.KIWI.COM
OFVVFF   8/3/2020   OB    8/10/2020   WN;2001;PHX;BNA;WN;2001;BNA;MSY        ROMANMOUTH             TN                      US   72924   120593451@AIRLINE.KIWI.COM
OFVVFF   8/3/2020   OB    8/11/2020   WN;357;PHX;HOU;WN;667;HOU;MSY          ROMANMOUTH             TN                      US   72924   120593451@AIRLINE.KIWI.COM
OFXQDE   8/3/2020   OB     9/5/2020   WN;1618;CLE;BWI                        FERREIRA DA MATA       RONDONIA                BR    5623   120593143@AIRLINE.KIWI.COM
OK768H   8/3/2020   OB     8/5/2020   WN;1314;LAS;SMF                        SACRAMENTO             CA                      US   95828   120597598@AIRLINE.KIWI.COM
OK768H   8/3/2020   OB     8/5/2020   WN;1314;LAS;SMF                        WILLISTOWN             WY                      US   43832   120597598@AIRLINE.KIWI.COM
OKDNEJ   8/3/2020   OB    8/21/2020   WN;1267;CLE;STL                        ANGELAFORT             CA                      US   81701   120598280@AIRLINE.KIWI.COM
OL5E3W   8/3/2020   OB     8/7/2020   WN;550;ONT;PHX;WN;1533;PHX;ELP         MCKINNEYVILLE          AL                      US   44428   120599567@AIRLINE.KIWI.COM
OLWJ9P   8/3/2020   OB     8/4/2020   WN;1018;CUN;DEN;WN;193;DEN;OAK         BOYDBURY               IL                      US    1308   120600414@AIRLINE.KIWI.COM
OLWJ9P   8/3/2020   OB     8/4/2020   WN;1018;CUN;DEN;WN;193;DEN;OAK         BOYDBURY               IL                      US    1308   120600414@AIRLINE.KIWI.COM
OMY8HE   8/3/2020   OB    8/26/2020   WN;3006;HOU;SJD                        RAAJVIRAAJ             SUDUR PASHCHIMANCHAL    NP   34121   120601327@AIRLINE.KIWI.COM
ONEMH8   8/3/2020   OB     8/5/2020   WN;500;ORF;BWI;WN;1305;BWI;ISP         NEW SELENAHAVEN        NE                      US   81217   120601822@AIRLINE.KIWI.COM
ONK7GD   8/3/2020   OB     8/6/2020   WN;814;HNL;OAK                         VERONICABOROUGH        ID                      US   60500   119922781@AIRLINE.KIWI.COM
OOTMH2   8/3/2020   OB     8/5/2020   WN;1608;CUN;BWI;WN;1445;BWI;CLT        WALKERBURGH            NORTHWEST TERRITORIES   CA   16736   120603648@AIRLINE.KIWI.COM
OQ6VUK   8/3/2020   OB     8/6/2020   WN;1448;ATL;CMH                        MARKSHIRE              IL                      US   56589   120605760@AIRLINE.KIWI.COM
OTZZY3   8/3/2020   OB     8/3/2020   WN;1685;BUR;LAS                        NEW SHANNON            WI                      US   50313   120609181@AIRLINE.KIWI.COM
OVC49Y   8/3/2020   OB    8/26/2020   WN;771;LGB;OAK                         LAKE LAURASHIRE        AK                      US   25853   120611568@AIRLINE.KIWI.COM
OVV6G2   8/3/2020   OB    8/17/2020   WN;1260;OAK;LGB                        NEW KYLIE              FL                      US   17216   120611568@AIRLINE.KIWI.COM
OXACT4   8/3/2020   OB    8/17/2020   WN;363;MDW;DTW                         MACDONALDMOUTH         ND                      US   23881   120613449@AIRLINE.KIWI.COM
OXPJJ8   8/3/2020   OB    8/10/2020   WN;1848;GEG;DEN                        SOUTH NATASHA          RI                      US   30516   120614186@AIRLINE.KIWI.COM
OYZVNW   8/3/2020   OB     9/9/2020   WN;104;FLL;DEN;WN;865;DEN;PDX          SUSANSIDE              RI                      US   26784   120614703@AIRLINE.KIWI.COM
OZM5O8   8/3/2020   OB     9/3/2020   WN;680;OGG;HNL                         STOKESVIEW             VT                      US   88104   120614340@AIRLINE.KIWI.COM
OZQEUS   8/3/2020   OB     8/4/2020   WN;101;HNL;ITO                         SANCHEZLAND            MD                      US   79260   120615726@AIRLINE.KIWI.COM
OZYDNU   8/3/2020   OB    8/18/2020   WN;833;BOS;STL                         NORTH AMYBOROUGH       WV                      US   60692   120596355@AIRLINE.KIWI.COM
P2DGIB   8/3/2020   OB    8/27/2020   WN;125;MDW;DTW                         MATHEWSCHESTER         VT                      US   33961   120616100@AIRLINE.KIWI.COM
P3FBSE   8/3/2020   OB   10/21/2020   WN;1250;DTW;DEN                        EAST MAURICEBERG       MS                      US   49385   120617508@AIRLINE.KIWI.COM
P3FBSE   8/3/2020   OB   10/21/2020   WN;3246;DEN;SMF                        EAST MAURICEBERG       MS                      US   49385   120617508@AIRLINE.KIWI.COM
P5FUIG   8/3/2020   OB   10/14/2020   WN;32;RDU;BNA                          CALVINPORT             NJ                      US   54429   120619389@AIRLINE.KIWI.COM
P5FUIG   8/3/2020   OB   10/14/2020   WN;32;RDU;BNA                          CALVINPORT             NJ                      US   54429   120619389@AIRLINE.KIWI.COM
P5V5HH   8/3/2020   OB   10/18/2020   WN;2605;BNA;RDU                        LAKE CHRISTOPHER       CA                      US   33800   120619378@AIRLINE.KIWI.COM
P5V5HH   8/3/2020   OB   10/18/2020   WN;2605;BNA;RDU                        LAKE CHRISTOPHER       CA                      US   33800   120619378@AIRLINE.KIWI.COM
P6A6VD   8/3/2020   OB     8/4/2020   WN;2182;ATL;FLL                        NORTH SHELLY           KS                      US   23032   120619730@AIRLINE.KIWI.COM
P6A6VD   8/3/2020   OB     8/4/2020   WN;2182;ATL;FLL                        NORTH SHELLY           KS                      US   23032   120619730@AIRLINE.KIWI.COM
P8WUFQ   8/3/2020   OB    8/25/2020   WN;334;MSY;DAL;WN;262;DAL;SAT          LAKE DANNY             MN                      US   59868   120621545@AIRLINE.KIWI.COM
PADRQI   8/3/2020   OB    8/17/2020   WN;339;ATL;MEM                         NORTH ALEXANDER        HI                      US   15354   120622106@AIRLINE.KIWI.COM
PAI84Z   8/3/2020   OB     8/4/2020   WN;1437;PWM;BWI;WN;1607;BWI;CUN        SOUTH AMANDABERG       NY                      US   99861   120622755@AIRLINE.KIWI.COM
PANF94   8/3/2020   OB     8/4/2020   WN;1344;SMF;LAS;WN;782;LAS;SLC         CRUZBERG               MN                      US   13136   120622799@AIRLINE.KIWI.COM
PB68UE   8/3/2020   OB    8/23/2020   WN;574;BNA;CLE                         SOUTH FRANCISCO        AZ                      US   24184   120622711@AIRLINE.KIWI.COM
PBFRK3   8/3/2020   OB    8/10/2020   WN;1760;PDX;SMF                        BLANCHARDHAVEN         WY                      US   52998   120622975@AIRLINE.KIWI.COM
PBFRK3   8/3/2020   RT    8/12/2020   WN;821;SMF;PDX                         BLANCHARDHAVEN         WY                      US   52998   120622975@AIRLINE.KIWI.COM
PDYNXS   8/3/2020   OB    9/21/2020   WN;678;SNA;PHX;WN;2222;PHX;DAL;WN;2318EAST SEANHAVEN          MN                      US   36653   120624064@AIRLINE.KIWI.COM
PDYNXS   8/3/2020   OB    9/21/2020   WN;678;SNA;PHX;WN;2222;PHX;DAL;WN;2318EAST SEANHAVEN          MN                      US   36653   120624064@AIRLINE.KIWI.COM
PF5W9D   8/3/2020   OB    8/30/2020   WN;3424;BNA;PHX                        JONESMOUTH             ND                      US   22672   120624812@AIRLINE.KIWI.COM
PFEYN9   8/3/2020   OB    8/27/2020   WN;3348;PHX;BNA                        EAST LYNN              DE                      US   98803   120624812@AIRLINE.KIWI.COM
PHCNPM   8/4/2020   OB    8/25/2020   WN;1347;ATL;BWI                        LAKE FREDERICK         WA                      US   22760   120625813@AIRLINE.KIWI.COM
PHCNPM   8/4/2020   OB    8/25/2020   WN;1347;ATL;BWI                        LAKE FREDERICK         WA                      US   22760   120625813@AIRLINE.KIWI.COM
PHCNPM   8/4/2020   OB    8/25/2020   WN;1347;ATL;BWI                        LAKE FREDERICK         WA                      US   22760   120625813@AIRLINE.KIWI.COM
PHGP65   8/4/2020   OB    8/12/2020   WN;1784;LAX;DEN;WN;945;DEN;CVG         EAST LYNN              DE                      US   29538   120625307@AIRLINE.KIWI.COM
PIBKCN   8/4/2020   OB     8/6/2020   WN;1840;RNO;SAN;WN;548;SAN;SJC         KELLYSIDE              AK                      US   51064   120626044@AIRLINE.KIWI.COM
PJSFXC   8/4/2020   OB    8/17/2020   WN;275;LAX;MDW                         EAST CYNTHIA           NJ                      US   75537   120626605@AIRLINE.KIWI.COM
PJYZJ7   8/4/2020   OB     8/4/2020   WN;1345;LAS;SFO                        DUNNMOUTH              RI                      US   45210   120626517@AIRLINE.KIWI.COM
PKLPHY   8/4/2020   OB     8/5/2020   WN;1936;LAS;LAX                        NUEVA MALI             SINALOA                 MX   30535   119000717.1408252@AIRLINE.KIWI.COM
PKZPFU   8/4/2020   OB    8/12/2020   WN;1784;LAX;DEN;WN;945;DEN;CVG         LAKE FRANK             MI                      US   93036   120626957@AIRLINE.KIWI.COM
PLGA69   8/4/2020   OB     8/4/2020   WN;2182;ATL;FLL                        MILLERCHESTER          VA                      US   27586   120626924@AIRLINE.KIWI.COM
PLJEST   8/4/2020   OB    8/25/2020   WN;1662;LAS;ONT                        WEST PAMELA            CA                      US   95554   120627078@AIRLINE.KIWI.COM
PLJEST   8/4/2020   OB    8/25/2020   WN;1662;LAS;ONT                        WEST PAMELA            CA                      US   95554   120627078@AIRLINE.KIWI.COM
PLO5EI   8/4/2020   OB    8/23/2020   WN;498;ONT;LAS                         NORTH MICHAELTON       FL                      US    3422   120627067@AIRLINE.KIWI.COM
PLO5EI   8/4/2020   OB    8/23/2020   WN;498;ONT;LAS                         NORTH MICHAELTON       FL                      US    3422   120627067@AIRLINE.KIWI.COM
PMY587   8/4/2020   OB     9/4/2020   WN;1438;PHX;OKC                        LAKE LEONTOWN          MD                      US   51367   120627540@AIRLINE.KIWI.COM
PNLRQZ   8/4/2020   OB    8/23/2020   WN;991;SMF;SAN                         NORTH MICHAEL          IL                      US    3671   120627529@AIRLINE.KIWI.COM
POXOKN   8/4/2020   OB     8/4/2020   WN;904;ATL;LAX                         WEST JAMESSTAD         ND                      US   15209   120628079@AIRLINE.KIWI.COM
POXOKN   8/4/2020   OB     8/4/2020   WN;904;ATL;LAX                         WEST JAMESSTAD         ND                      US   15209   120628079@AIRLINE.KIWI.COM
PPICPK   8/4/2020   OB     8/7/2020   WN;982;LAX;MDW;WN;1713;MDW;CVG         TERRYVILLE             KY                      US   66588   120628145@AIRLINE.KIWI.COM
PQIKOA   8/4/2020   OB    8/18/2020   WN;525;LAS;IND                         PORT MARKBERG          LA                      US   22343   120628486@AIRLINE.KIWI.COM
PQKBXS   8/4/2020   OB    8/17/2020   WN;262;SAT;STL;WN;1127;STL;TPA         JENNIFERMOUTH          ME                      US   71606   120620830@AIRLINE.KIWI.COM
PQKJYG   8/4/2020   OB    8/17/2020   WN;260;SLC;LAX                         NORTH LISA             KY                      US    1978   120628530@AIRLINE.KIWI.COM
PRWO5B   8/4/2020   OB    8/17/2020   WN;851;LAS;BWI;WN;336;BWI;CHS          LAKE MICHELLE          ND                      US   47897   120628750@AIRLINE.KIWI.COM
PRWO5B   8/4/2020   OB    8/17/2020   WN;851;LAS;BWI;WN;336;BWI;CHS          LAKE MICHELLE          ND                      US   47897   120628750@AIRLINE.KIWI.COM
PS99VW   8/4/2020   OB    8/19/2020   WN;1304;CMH;PHX;WN;487;PHX;BUR         NEW ANGELA             NE                      US   11889   120628904@AIRLINE.KIWI.COM
PTMMS5   8/4/2020   OB     9/4/2020   WN;3361;BWI;PWM                        VELKE HAMRY            -                       -    22459   120629157@AIRLINE.KIWI.COM
PU3I8H   8/4/2020   OB     8/4/2020   WN;6576;LAS;LAX                        PORT DAVID             NJ                      US    9971   120629234@AIRLINE.KIWI.COM
PUW5KT   8/4/2020   OB    8/11/2020   WN;270;SMF;LAS                         NORTH JENNY            SC                      US   76092   120629619@AIRLINE.KIWI.COM




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PVJMLO    8/4/2020   OB    8/4/2020   WN;6576;LAS;LAX                     NEW CARLA              VA                      US   91892   120629234@AIRLINE.KIWI.COM
PVMGYY    8/4/2020   OB    8/5/2020   WN;2159;BDL;TPA;WN;512;TPA;FLL      VIMPERK                JIHOCESKY KRAJ          CZ   98588   120629872@AIRLINE.KIWI.COM
PVSJIU    8/4/2020   OB    8/4/2020   WN;6576;LAS;LAX                     BASSTOWN               AZ                      US   18611   120629234@AIRLINE.KIWI.COM
PWOBRL    8/4/2020   OB    9/3/2020   WN;484;BUR;SJC                      WEST ROBERT            VT                      US   47844   120629982@AIRLINE.KIWI.COM
PX3FU7    8/4/2020   OB   8/11/2020   WN;742;LAX;OAK;WN;808;OAK;HNL       CLARKBURY              WY                      US   30737   120630136@AIRLINE.KIWI.COM
PXUMYR    8/4/2020   OB   8/10/2020   WN;721;SJD;DEN                      PORT ELIZABETHFORT     RI                      US   88374   120628475@AIRLINE.KIWI.COM
PXUMYR    8/4/2020   OB   8/10/2020   WN;721;SJD;DEN                      PORT ELIZABETHFORT     RI                      US   88374   120628475@AIRLINE.KIWI.COM
PYAXG9    8/4/2020   OB   8/19/2020   WN;1637;SMF;LAS                     KIMBERLYSTAD           GA                      US   39408   120630444@AIRLINE.KIWI.COM
PYFN33    8/4/2020   OB   8/14/2020   WN;917;BNA;BOS                      NORTH BRIAN            NM                      US   57556   120630587@AIRLINE.KIWI.COM
PYHU7Y    8/4/2020   OB    8/7/2020   WN;295;TPA;FLL                      SAN ADALBERTO DE LA    SAN LUIS POTOSI         MX   89499   120630477@AIRLINE.KIWI.COM
PYKH6L    8/4/2020   OB   8/19/2020   WN;1637;SMF;LAS                     HORNEBURY              TX                      US   26326   120630356@AIRLINE.KIWI.COM
PYKH6L    8/4/2020   OB   8/19/2020   WN;1637;SMF;LAS                     HORNEBURY              TX                      US   26326   120630356@AIRLINE.KIWI.COM
PYMCAV    8/4/2020   OB   8/19/2020   WN;1637;SMF;LAS                     GARCIAVILLE            RI                      US   11807   120630345@AIRLINE.KIWI.COM
PYMCAV    8/4/2020   OB   8/19/2020   WN;1637;SMF;LAS                     GARCIAVILLE            RI                      US   11807   120630345@AIRLINE.KIWI.COM
PYMCAV    8/4/2020   OB   8/19/2020   WN;1637;SMF;LAS                     GARCIAVILLE            RI                      US   11807   120630345@AIRLINE.KIWI.COM
PZ947N    8/4/2020   OB   8/10/2020   WN;683;FLL;TPA                      VIEJA ZAMBIA           HIDALGO                 MX   41566   120630642@AIRLINE.KIWI.COM
Q6FE2Z    8/4/2020   OB    8/7/2020   WN;1427;SLC;LAS                     PORT AIMEETOWN         SOUTH GLOUCESTERSHIRE   GB   26289   120631819@AIRLINE.KIWI.COM
Q77AMJ    8/4/2020   OB   8/25/2020   WN;1637;SMF;LAS                     SOUTH STEPHENBURY      UT                      US    8107   120632171@AIRLINE.KIWI.COM
Q77AMJ    8/4/2020   OB   8/25/2020   WN;1637;SMF;LAS                     SOUTH STEPHENBURY      UT                      US    8107   120632171@AIRLINE.KIWI.COM
Q9NDSK    8/4/2020   OB    8/4/2020   WN;3432;STL;DAL                     JONESHAVEN             ID                      US   16610   120632974@AIRLINE.KIWI.COM
QC5YBZ    8/4/2020   OB    8/5/2020   WN;795;PDX;OAK;WN;1040;OAK;BOI      NEW MANDYSTAD          NJ                      US   54694   120633502@AIRLINE.KIWI.COM
QEQOYY    8/4/2020   OB    8/8/2020   WN;1855;LAX;DEN                     JOHNSFURT              NV                      US   88780   120634668@AIRLINE.KIWI.COM
QFIGRN    8/4/2020   OB   8/22/2020   WN;2016;LGB;LAS                     PORT BRETT             AK                      US     867   120635152@AIRLINE.KIWI.COM
QFIGRN    8/4/2020   OB   8/22/2020   WN;2016;LGB;LAS                     PORT BRETT             AK                      US     867   120635152@AIRLINE.KIWI.COM
QGEVJY    8/4/2020   OB   8/14/2020   WN;1260;SLC;OAK;WN;808;OAK;HNL      PORT LOGANTOWN         MI                      US   95000   120635141@AIRLINE.KIWI.COM
QGEVJY    8/4/2020   OB   8/14/2020   WN;1260;SLC;OAK;WN;808;OAK;HNL      PORT LOGANTOWN         MI                      US   95000   120635141@AIRLINE.KIWI.COM
QHHDOH    8/4/2020   OB    8/6/2020   WN;1806;MSY;HOU                     JOHNSHIRE              ND                      US   64168   120635713@AIRLINE.KIWI.COM
R22Z5B    8/4/2020   OB   8/10/2020   WN;498;DCA;ATL                      GRANADA                EXTREMADURA             ES   74642   120651674@AIRLINE.KIWI.COM
R6U5ZD    8/4/2020   OB    8/6/2020   WN;347;DCA;OKC                      SELO ONISIM            DONETSKA OBLAST         UA    9881   120656657@AIRLINE.KIWI.COM
R7SQAT    8/4/2020   OB    8/6/2020   WN;347;DCA;OKC                      ANTOINELESBAINS        HAUTELOIRE              FR   75913   120656910@AIRLINE.KIWI.COM
RL99E7    8/4/2020   OB   9/24/2020   WN;2436;PHX;BNA;WN;2566;BNA;RDU     ESPINOZABERG           UT                      US   13849   120671441@AIRLINE.KIWI.COM
RLGD7X    8/4/2020   OB   8/26/2020   WN;941;MCO;MHT                      ANTHONYCHESTER         WI                      US   68425   120672002@AIRLINE.KIWI.COM
RLHYY8    8/4/2020   OB    8/7/2020   WN;1731;LGA;MDW                     WEST SHANE             HI                      US   91504   120672013@AIRLINE.KIWI.COM
RLHYY8    8/4/2020   RT    8/9/2020   WN;2216;MDW;LGA                     WEST SHANE             HI                      US   91504   120672013@AIRLINE.KIWI.COM
RLMTP2    8/4/2020   OB   8/17/2020   WN;1185;DEN;LAX                     FENG XIAN              LIAONING SHENG          CN   67873   120388961.1408932@AIRLINE.KIWI.COM
RO76SA    8/4/2020   OB   8/11/2020   WN;588;MSP;STL;WN;1752;STL;DCA      EAST TAYLOR            DE                      US   86530   120675203@AIRLINE.KIWI.COM
RO76SA    8/4/2020   RT   8/13/2020   WN;1696;DCA;BNA;WN;336;BNA;MSP      EAST TAYLOR            DE                      US   86530   120675203@AIRLINE.KIWI.COM
RPT9MB    8/4/2020   OB   8/20/2020   WN;970;IAD;ATL;WN;1578;ATL;MDW      VASQUEZMOUTH           VA                      US   12855   120677337@AIRLINE.KIWI.COM
RQABD4    8/4/2020   OB    8/5/2020   WN;982;LAX;MDW;WN;1713;MDW;CVG      SAN ELSA LOS BAJOS     CAMPECHE                MX   42334   120677348@AIRLINE.KIWI.COM
RS65VM    8/4/2020   OB   8/22/2020   WN;1912;LAS;LGB                     BRANDTHAVEN            AK                      US   95090   120679251@AIRLINE.KIWI.COM
RT326L    8/4/2020   OB    9/1/2020   WN;318;ATL;DAL                      NEW STEPHANIEBOROUGH   GA                      US   47607   120680923@AIRLINE.KIWI.COM
RUO9D9    8/4/2020   OB    8/7/2020   WN;3249;DEN;BWI;WN;1191;BWI;ORF     BULLOCKVIEW            TN                      US    4075   120681495@AIRLINE.KIWI.COM
RUO9D9    8/4/2020   RT   8/10/2020   WN;6995;ORF;STL;WN;1268;STL;DEN     BULLOCKVIEW            TN                      US    4075   120681495@AIRLINE.KIWI.COM
RV2BWN    8/4/2020   OB   8/14/2020   WN;1442;SJU;MCO;WN;1694;MCO;BNA     ALMERIA                AVILA                   ES   59528   120682760@AIRLINE.KIWI.COM
RVXS8Q    8/4/2020   OB    8/7/2020   WN;1936;LAS;LAX                     LAKE JOANNECHESTER     STIRLING                GB   16753   120683563@AIRLINE.KIWI.COM
RWAD76    8/4/2020   OB    8/6/2020   WN;306;CUN;HOU;WN;1573;HOU;LAX      LAKE CLAIREMOUTH       KINGSTON UPON HULL      GB   37080   120683563@AIRLINE.KIWI.COM
RWGF9F    8/4/2020   OB   8/21/2020   WN;1302;MSY;ATL                     EAST COLE              NY                      US   20192   120684256@AIRLINE.KIWI.COM
RXXOT8    8/4/2020   OB   8/26/2020   WN;1746;TPA;PHX;WN;990;PHX;SMF      NEW WILLIAM            IN                      US    5218   120685697@AIRLINE.KIWI.COM
RYVUYF    8/4/2020   OB    8/6/2020   WN;802;MEM;DEN                      LOPEZMOUTH             OR                      US   32622   120686654@AIRLINE.KIWI.COM
S29K4O    8/4/2020   OB    8/4/2020   WN;214;MCO;MSY                      KARITOWN               ND                      US   38295   120687963@AIRLINE.KIWI.COM
S2FR5P    8/4/2020   OB    8/4/2020   WN;6227;BNA;LAX                     SOUTH PATRICIA         NJ                      US   93761   119304394@AIRLINE.KIWI.COM
S2YAWH    8/4/2020   OB    8/9/2020   WN;1628;BOS;BNA                     JORUNNNES              VESTFOLD                NO   11416   120688051@AIRLINE.KIWI.COM
S434OT    8/4/2020   OB    8/4/2020   WN;192;AUS;LAS;WN;2444;LAS;SMF      BREWERSIDE             OK                      US   19630   120689745@AIRLINE.KIWI.COM
S6GNMW    8/4/2020   OB    9/5/2020   WN;1811;SLC;DEN;WN;1738;DEN;BNA     KRISTENHAVEN           NC                      US   96668   120691967@AIRLINE.KIWI.COM
S7HBWI    8/4/2020   OB   8/13/2020   WN;1335;LAX;LAS                     SAN SERAFIN DE LA MO   COLIMA                  MX    2327   120693188@AIRLINE.KIWI.COM
S7HBWI    8/4/2020   OB   8/13/2020   WN;1335;LAX;LAS                     SAN SERAFIN DE LA MO   COLIMA                  MX    2327   120693188@AIRLINE.KIWI.COM
S99ROH    8/4/2020   OB    8/7/2020   WN;6267;SLC;DEN;WN;1876;DEN;BOI     NEW CATHERINE          IL                      US   76349   120695377@AIRLINE.KIWI.COM
SA6F7B    8/4/2020   OB   8/23/2020   WN;16;LGA;HOU;WN;3006;HOU;SJD       NORTH KYLESHIRE        TN                      US   67553   120696664@AIRLINE.KIWI.COM
SACE2I    8/4/2020   OB    9/5/2020   WN;1645;LIT;PHX                     EAST ALEXANDRAVILLE    HI                      US   28471   120696114@AIRLINE.KIWI.COM
SBW6EV    8/4/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     SAN ZEFERINO LOS ALT   ZACATECAS               MX   93941   120698787@AIRLINE.KIWI.COM
SBW6EV    8/4/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     SAN ZEFERINO LOS ALT   ZACATECAS               MX   93941   120698787@AIRLINE.KIWI.COM
SBW6EV    8/4/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     SAN ZEFERINO LOS ALT   ZACATECAS               MX   93941   120698787@AIRLINE.KIWI.COM
SCOETS    8/4/2020   OB   8/21/2020   WN;942;MCO;BNA                      NEW KEVINSIDE          UT                      US   80329   120699920@AIRLINE.KIWI.COM
SDLQPS    8/4/2020   OB   8/23/2020   WN;554;BNA;MCO                      KIMBERLYSTAD           NC                      US   14433   120699920@AIRLINE.KIWI.COM
SDZ8HB    8/4/2020   OB    8/4/2020   WN;6597;LAX;LAS                     NEW CINDY              GA                      US   61073   120701405@AIRLINE.KIWI.COM
SEEY2C    8/4/2020   OB    8/6/2020   WN;459;MDW;CLE                      WEST THOMASVIEW        VT                      US   51558   120701592@AIRLINE.KIWI.COM
SHPXSY    8/4/2020   OB    8/5/2020   WN;1652;LAS;LAX                     NANCYMOUTH             SC                      US   28942   120704859@AIRLINE.KIWI.COM
SKHLDO    8/4/2020   OB   8/14/2020   WN;364;PDX;OAK                      PORT DANIELVILLE       FL                      US    4564   120708247@AIRLINE.KIWI.COM
SKHLDO    8/4/2020   RT   8/17/2020   WN;124;OAK;PDX                      PORT DANIELVILLE       FL                      US    4564   120708247@AIRLINE.KIWI.COM
SMX2PP    8/4/2020   OB    8/4/2020   WN;1652;LAS;LAX                     KARENBURGH             UT                      US   95471   120709380@AIRLINE.KIWI.COM
SNHWT2    8/4/2020   OB   8/20/2020   WN;274;LAS;SMF                      RYANSTAD               ME                      US   12951   118082151.1409400@AIRLINE.KIWI.COM
SOQYKI    8/4/2020   OB    8/4/2020   WN;1652;LAS;LAX                     WRIGHTBOROUGH          NV                      US   45155   120711470@AIRLINE.KIWI.COM
SPG6BO    8/4/2020   OB   8/23/2020   WN;152;MHT;BWI;WN;1538;BWI;PBI      NEW JOHNBURGH          NJ                      US   84580   120711701@AIRLINE.KIWI.COM
SPG6BO    8/4/2020   OB   8/23/2020   WN;152;MHT;BWI;WN;1538;BWI;PBI      NEW JOHNBURGH          NJ                      US   84580   120711701@AIRLINE.KIWI.COM
SPG6BO    8/4/2020   OB   8/23/2020   WN;152;MHT;BWI;WN;1538;BWI;PBI      NEW JOHNBURGH          NJ                      US   84580   120711701@AIRLINE.KIWI.COM
SPJQOD    8/4/2020   OB   8/10/2020   WN;190;AUS;DEN;WN;2144;DEN;SMF      NEW MALLORYBURGH       KY                      US   71863   120711976@AIRLINE.KIWI.COM
SPLL75    8/4/2020   OB   8/18/2020   WN;1215;SMF;LAX;WN;1215;LAX;AUS     NORTH DALE             VT                      US   43371   120711976@AIRLINE.KIWI.COM
SPSHW4    8/4/2020   OB    8/4/2020   WN;1652;LAS;LAX                     WEST KIMBERLYPORT      AK                      US   76623   120712053@AIRLINE.KIWI.COM
SUOWN2    8/4/2020   OB   8/25/2020   WN;1194;LAS;LAX                     LAKE JOSHUA            IN                      US   64074   120715100@AIRLINE.KIWI.COM
SVXZ9W    8/4/2020   OB    8/9/2020   WN;1533;SAN;PHX                     LAKE BRITTANYMOUTH     CT                      US   67231   120715771@AIRLINE.KIWI.COM
SVXZ9W    8/4/2020   OB    8/9/2020   WN;1533;SAN;PHX                     LAKE BRITTANYMOUTH     CT                      US   67231   120715771@AIRLINE.KIWI.COM
SW25KI    8/4/2020   OB   8/15/2020   WN;963;MEM;HOU                      EAST DOUGLAS           HI                      US   41356   120715804@AIRLINE.KIWI.COM
SW7MDO    8/4/2020   OB   8/24/2020   WN;1424;HOU;MEM                     EAST JAKE              AZ                      US    5968   120715892@AIRLINE.KIWI.COM
SWQKZW    8/4/2020   OB    8/5/2020   WN;1300;OGG;HNL                     PORT DANNY             TN                      US   26594   120716035@AIRLINE.KIWI.COM
SXB7RX    8/4/2020   OB   8/17/2020   WN;1768;LAS;LAX                     HENG BANG SHI SHEN N   TOTTORI                 JP   11509   120716431@AIRLINE.KIWI.COM
SXKFKT    8/4/2020   OB    8/7/2020   WN;522;HOU;MSY                      PORT BRANDIBURGH       RI                      US   15192   120716519@AIRLINE.KIWI.COM
SYRDNZ    8/5/2020   OB    8/5/2020   WN;1554;SEA;SMF                     SOUTH CODY             NM                      US   64380   120716761@AIRLINE.KIWI.COM
SZ73ED    8/5/2020   OB   8/23/2020   WN;1293;MSY;BNA;WN;425;BNA;RDU      NEW ALEXSTAD           RI                      US    4992   120716992@AIRLINE.KIWI.COM
SZJZLP    8/5/2020   OB    8/5/2020   WN;2199;BUR;SMF                     ALVAREZBURY            RI                      US   20181   120717036@AIRLINE.KIWI.COM
T564OI    8/5/2020   OB    8/5/2020   WN;1280;LIH;HNL                     CHANG CHUN XIAN        QINGHAI SHENG           CN   28902   120718004@AIRLINE.KIWI.COM
T62ORA    8/5/2020   OB   8/11/2020   WN;307;HOU;CUN                      SOUTH JASONSHIRE       IL                      US   50823   120718147@AIRLINE.KIWI.COM
T8L4EW    8/5/2020   OB    8/5/2020   WN;5392;CLT;BWI;WN;926;BWI;ORF      PORT KATHRYNPORT       OH                      US    5611   120719170@AIRLINE.KIWI.COM
T9ZAC2    8/5/2020   OB   8/19/2020   WN;606;BHM;HOU                      PERRYLAND              AR                      US   73399   120719698@AIRLINE.KIWI.COM
TA7Q6Y    8/5/2020   OB    8/5/2020   WN;6597;LAX;LAS                     RUIZBERG               IN                      US   37258   120719555@AIRLINE.KIWI.COM
TA7Q6Y    8/5/2020   OB    8/5/2020   WN;6597;LAX;LAS                     RUIZBERG               IN                      US   37258   120719555@AIRLINE.KIWI.COM
TA8TWX    8/5/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     VIEJA OMAN             AGUASCALIENTES          MX   75668   120719885@AIRLINE.KIWI.COM
TA8TWX    8/5/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     VIEJA OMAN             AGUASCALIENTES          MX   75668   120719885@AIRLINE.KIWI.COM
TA8TWX    8/5/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     VIEJA OMAN             AGUASCALIENTES          MX   75668   120719885@AIRLINE.KIWI.COM
TAX3R3    8/5/2020   OB    9/4/2020   WN;1009;RDU;MDW;WN;1823;MDW;SLC;WN;1EAST BARRYBURGH        NE                      US   25542   120720006@AIRLINE.KIWI.COM
TAX3R3    8/5/2020   OB    9/4/2020   WN;1009;RDU;MDW;WN;1823;MDW;SLC;WN;1GREENSBORO             NC                      US   27455   120720006@AIRLINE.KIWI.COM
TAX3R3    8/5/2020   RT    9/7/2020   WN;2120;LAS;STL;WN;1176;STL;RDU     EAST BARRYBURGH        NE                      US   25542   120720006@AIRLINE.KIWI.COM
TAX3R3    8/5/2020   RT    9/7/2020   WN;2120;LAS;STL;WN;1176;STL;RDU     GREENSBORO             NC                      US   27455   120720006@AIRLINE.KIWI.COM
TB6N7F    8/5/2020   OB    8/5/2020   WN;2081;HOU;FLL                     JAMIEHAVEN             TX                      US   54316   120720160@AIRLINE.KIWI.COM
TBURPK    8/5/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     SAN FRANCISCO JAVIER   CAMPECHE                MX   25379   120720292@AIRLINE.KIWI.COM
TBURPK    8/5/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     SAN FRANCISCO JAVIER   CAMPECHE                MX   25379   120720292@AIRLINE.KIWI.COM
TBURPK    8/5/2020   OB   8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT     SAN FRANCISCO JAVIER   CAMPECHE                MX   25379   120720292@AIRLINE.KIWI.COM
TDD2OR    8/5/2020   OB   8/23/2020   WN;1903;LAS;BUR                     LAKE KIMBERLY          KS                      US   36075   120720919@AIRLINE.KIWI.COM




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TDGADN   8/5/2020   OB     9/4/2020   WN;1219;SAN;OAK                   SOUTH TODDBERG         KY                       US   57196   120720963@AIRLINE.KIWI.COM
TDHZJQ   8/5/2020   OB    8/31/2020   WN;1417;OAK;SAN                   JOHNSTONCHESTER        OR                       US   26455   120720974@AIRLINE.KIWI.COM
TDJOQW   8/5/2020   OB    10/9/2020   WN;2301;OAK;ONT                   MICHELLEVIEW           HI                       US   22611   120721227@AIRLINE.KIWI.COM
TDJOQW   8/5/2020   RT   10/11/2020   WN;2218;ONT;OAK                   MICHELLEVIEW           HI                       US   22611   120721227@AIRLINE.KIWI.COM
TDO9QK   8/5/2020   OB    8/10/2020   WN;2630;SJU;FLL                   MCGEEBURGH             NC                       US   23788   120721260@AIRLINE.KIWI.COM
TDR2OL   8/5/2020   OB    8/20/2020   WN;529;MCO;HOU;WN;529;HOU;TUL     SUKABUMI               YOGYAKARTA               ID   63714   120721282@AIRLINE.KIWI.COM
TDWQU7   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   VIEJA FEDERACION DE    TABASCO                  MX   57008   120721238@AIRLINE.KIWI.COM
TDWQU7   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   VIEJA FEDERACION DE    TABASCO                  MX   57008   120721238@AIRLINE.KIWI.COM
TDWQU7   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   VIEJA FEDERACION DE    TABASCO                  MX   57008   120721238@AIRLINE.KIWI.COM
TDYMXO   8/5/2020   OB    8/12/2020   WN;433;HOU;PHX                    LAKE ANDREWMOUTH       CA                       US   30601   120721271@AIRLINE.KIWI.COM
TDYMXO   8/5/2020   RT    8/15/2020   WN;2001;PHX;HOU                   LAKE ANDREWMOUTH       CA                       US   30601   120721271@AIRLINE.KIWI.COM
TED2AA   8/5/2020   OB     4/7/2021   WN;1328;AUS;OAK;WN;808;OAK;HNL    SOUTH TERENCESIDE      ROTHERHAM                GB   74053   120721436@AIRLINE.KIWI.COM
TED2AA   8/5/2020   OB     4/7/2021   WN;1328;AUS;OAK;WN;808;OAK;HNL    SOUTH TERENCESIDE      ROTHERHAM                GB   74053   120721436@AIRLINE.KIWI.COM
TEVVII   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN ADALBERTO LOS AL   COAHUILA DE ZARAGOZA     MX   41037   120721447@AIRLINE.KIWI.COM
TFCF3Q   8/5/2020   OB    8/28/2020   WN;396;ATL;RIC                    SOUTH KRISTINE         WV                       US   78091   120721458@AIRLINE.KIWI.COM
TFMO7R   8/5/2020   OB    8/23/2020   WN;458;MCO;FLL                    VAYK                   SYUNIK                   AM   19676   120721568@AIRLINE.KIWI.COM
TFMO7R   8/5/2020   OB    8/23/2020   WN;458;MCO;FLL                    VAYK                   SYUNIK                   AM   19676   120721568@AIRLINE.KIWI.COM
TGDXGJ   8/5/2020   OB    8/24/2020   WN;1271;ATL;HOU                   MOOREHAVEN             IN                       US   98362   120722140@AIRLINE.KIWI.COM
TGV6G7   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   NUEVA HAITI            SAN LUIS POTOSI          MX   76088   120722184@AIRLINE.KIWI.COM
TGV6G7   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   NUEVA HAITI            SAN LUIS POTOSI          MX   76088   120722184@AIRLINE.KIWI.COM
TGV6G7   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   NUEVA HAITI            SAN LUIS POTOSI          MX   76088   120722184@AIRLINE.KIWI.COM
TH5254   8/5/2020   OB    8/22/2020   WN;2097;SMF;LAS                   DAVIDCHESTER           GA                       US    9487   120722294@AIRLINE.KIWI.COM
TIBE3Y   8/5/2020   OB    9/16/2020   WN;1599;MSY;LAX                   PEREIRA                DISTRITO FEDERAL         BR    6762   120722690@AIRLINE.KIWI.COM
TKUNRM   8/5/2020   OB    8/17/2020   WN;1285;LAS;BNA                   VINCENTMOUTH           ND                       US   52890   120723306@AIRLINE.KIWI.COM
TKUNRM   8/5/2020   OB    8/17/2020   WN;1285;LAS;BNA                   VINCENTMOUTH           ND                       US   52890   120723306@AIRLINE.KIWI.COM
TL4LRY   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN SOLEDAD LOS BAJO   ZACATECAS                MX   15028   120723504@AIRLINE.KIWI.COM
TL4LRY   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN SOLEDAD LOS BAJO   ZACATECAS                MX   15028   120723504@AIRLINE.KIWI.COM
TL4LRY   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN SOLEDAD LOS BAJO   ZACATECAS                MX   15028   120723504@AIRLINE.KIWI.COM
TNNS65   8/5/2020   OB     8/6/2020   WN;1317;SMF;LAS                   LINDSEYBURGH           TN                       US   43388   120724043@AIRLINE.KIWI.COM
TQDCKO   8/5/2020   OB    8/20/2020   WN;495;MCO;DAL;WN;661;DAL;LAX     VANESSAVIEW            LA                       US   87423   120724956@AIRLINE.KIWI.COM
TQDCKO   8/5/2020   RT    8/24/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   VANESSAVIEW            LA                       US   87423   120724956@AIRLINE.KIWI.COM
TQHB5G   8/5/2020   OB     8/5/2020   WN;1966;DTW;BWI;WN;2204;BWI;ATL   PORT DANIELSIDE        NH                       US   63688   120724769@AIRLINE.KIWI.COM
TRPQFP   8/5/2020   OB     8/6/2020   WN;133;ALB;BWI;WN;1169;BWI;SJU    LAKE ALLISONPORT       UT                       US   26293   120725187@AIRLINE.KIWI.COM
TRSMRO   8/5/2020   OB    8/12/2020   WN;6396;LAS;SJC                   JEFFREYTOWN            KY                       US   40321   120724989@AIRLINE.KIWI.COM
TSYYO9   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN SOCORRO LOS ALTO   CHIHUAHUA                MX   68397   120722734@AIRLINE.KIWI.COM
TSYYO9   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN SOCORRO LOS ALTO   CHIHUAHUA                MX   68397   120722734@AIRLINE.KIWI.COM
TSYYO9   8/5/2020   OB    8/28/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT   SAN SOCORRO LOS ALTO   CHIHUAHUA                MX   68397   120722734@AIRLINE.KIWI.COM
TT3YF5   8/5/2020   OB    8/14/2020   WN;636;DEN;BNA                    NEW TRACEYBOROUGH      IA                       US   95307   120725330@AIRLINE.KIWI.COM
TX99F6   8/5/2020   OB     8/5/2020   WN;186;STL;CLE                    WEST MICHAEL           MS                       US   33130   120727057@AIRLINE.KIWI.COM
TYEDID   8/5/2020   OB    9/10/2020   WN;135;LAS;LAX                    NUEVA SAN MARINO       TLAXCALA                 MX   79320   120718664@AIRLINE.KIWI.COM
TYEDID   8/5/2020   OB    9/10/2020   WN;135;LAS;LAX                    NUEVA SAN MARINO       TLAXCALA                 MX   79320   120718664@AIRLINE.KIWI.COM
TYEDID   8/5/2020   OB    9/10/2020   WN;135;LAS;LAX                    NUEVA SAN MARINO       TLAXCALA                 MX   79320   120718664@AIRLINE.KIWI.COM
TYEDID   8/5/2020   OB    9/10/2020   WN;135;LAS;LAX                    NUEVA SAN MARINO       TLAXCALA                 MX   79320   120718664@AIRLINE.KIWI.COM
TYEDID   8/5/2020   OB    9/10/2020   WN;135;LAS;LAX                    NUEVA SAN MARINO       TLAXCALA                 MX   79320   120718664@AIRLINE.KIWI.COM
TYEWRQ   8/5/2020   OB     9/1/2020   WN;338;MDW;BOS                    MICHELLEFURT           NEWHAM                   GB   67954   120726969@AIRLINE.KIWI.COM
TYGJMC   8/5/2020   OB     8/5/2020   WN;1110;CVG;MDW;WN;2230;MDW;TPA   NORTH NANCY            IL                       US   34243   120727992@AIRLINE.KIWI.COM
UC2AUO   8/5/2020   OB    8/13/2020   WN;627;IAD;ATL                    ALBACETE               CASTILLALA MANCHA        ES    5854   120736286@AIRLINE.KIWI.COM
UC2AUO   8/5/2020   OB    8/13/2020   WN;627;IAD;ATL                    ALBACETE               CASTILLALA MANCHA        ES    5854   120736286@AIRLINE.KIWI.COM
UCHS5B   8/5/2020   OB    8/14/2020   WN;1639;PHX;SMF                   WEST JUSTIN            ND                       US   52108   120488742.1409782@AIRLINE.KIWI.COM
UGYOSP   8/5/2020   OB    8/17/2020   WN;627;IAD;ATL;WN;1333;ATL;GSP    SORIA                  SEGOVIA                  ES   27513   120741500@AIRLINE.KIWI.COM
UJ797F   8/5/2020   OB    8/19/2020   WN;1699;BOS;BWI;WN;133;BWI;BNA    HALMSTAD               GAVLEBORGS LAN           SE   87443   120741478@AIRLINE.KIWI.COM
UNDTAW   8/5/2020   OB    8/24/2020   WN;409;BOS;BWI;WN;1240;BWI;RDU    DURHAMBERG             NC                       US   19902   120189366.1409943@AIRLINE.KIWI.COM
UWFPYR   8/5/2020   OB     9/3/2020   WN;6295;CHS;BNA                   LAKE RICK              NM                       US   50802   120757219@AIRLINE.KIWI.COM
UYNAJ3   8/5/2020   OB    8/20/2020   WN;643;LAS;SLC                    EAST DAVIDCHESTER      AK                       US   51038   120759573@AIRLINE.KIWI.COM
UYV5VF   8/5/2020   OB    8/17/2020   WN;1662;SLC;LAS                   DANIELMOUTH            NV                       US   82471   120759672@AIRLINE.KIWI.COM
UZPPMA   8/5/2020   OB    9/18/2020   WN;3342;BNA;FLL                   EAST EDWARD            WA                       US   75029   120760156@AIRLINE.KIWI.COM
V26WH7   8/5/2020   OB    8/16/2020   WN;1585;LAS;DEN                   NUEVA JAMAICA          TLAXCALA                 MX   88481   120760981@AIRLINE.KIWI.COM
V26WH7   8/5/2020   OB    8/16/2020   WN;1585;LAS;DEN                   NUEVA JAMAICA          TLAXCALA                 MX   88481   120760981@AIRLINE.KIWI.COM
V26WH7   8/5/2020   OB    8/16/2020   WN;1585;LAS;DEN                   NUEVA JAMAICA          TLAXCALA                 MX   88481   120760981@AIRLINE.KIWI.COM
V26WH7   8/5/2020   OB    8/16/2020   WN;1585;LAS;DEN                   NUEVA JAMAICA          TLAXCALA                 MX   88481   120760981@AIRLINE.KIWI.COM
V559D9   8/5/2020   OB    8/24/2020   WN;1240;BWI;RDU                   ANGELAPORT             MT                       US   40643   120763478@AIRLINE.KIWI.COM
V8VVP3   8/5/2020   OB    8/20/2020   WN;255;PHX;MCI;WN;255;MCI;MDW     CONRADBURGH            MA                       US   18237   120767625@AIRLINE.KIWI.COM
V94FW2   8/5/2020   OB    8/21/2020   WN;1470;ATL;FLL                   WEST EMILY             NC                       US   92427   120767405@AIRLINE.KIWI.COM
V94FW2   8/5/2020   OB    8/21/2020   WN;1470;ATL;FLL                   WEST EMILY             NC                       US   92427   120767405@AIRLINE.KIWI.COM
V9KNIR   8/5/2020   OB    8/23/2020   WN;600;MDW;PHX                    DREWPORT               NY                       US   91046   120767856@AIRLINE.KIWI.COM
VB5U9N   8/5/2020   OB     8/5/2020   WN;2056;ATL;BNA;WN;1230;BNA;PNS   COURTNEYBURY           WA                       US   86249   120769704@AIRLINE.KIWI.COM
VCQDX9   8/5/2020   OB     8/7/2020   WN;6267;SLC;DEN;WN;1447;DEN;MSY   CODYSIDE               WI                       US   83744   120771816@AIRLINE.KIWI.COM
VDGDGM   8/5/2020   OB    8/13/2020   WN;956;DEN;SAT                    SOUTH KIM              NE                       US   42680   120772839@AIRLINE.KIWI.COM
VDGDGM   8/5/2020   OB    8/13/2020   WN;956;DEN;SAT                    SOUTH KIM              NE                       US   42680   120772839@AIRLINE.KIWI.COM
VELS4F   8/5/2020   OB     8/6/2020   WN;6267;SLC;DEN;WN;2144;DEN;SMF   KEVINBURGH             NJ                       US   97514   120774016@AIRLINE.KIWI.COM
VEPWFM   8/5/2020   OB    8/25/2020   WN;1665;GRR;MDW;WN;1414;MDW;ONT   MILLERCHESTER          SD                       US   94585   120773356@AIRLINE.KIWI.COM
VGSNS5   8/5/2020   OB    9/30/2020   WN;1923;MCO;BWI                   PHILLIPSMOUTH          GA                       US   40668   120775677@AIRLINE.KIWI.COM
VGSNS5   8/5/2020   OB    10/1/2020   WN;906;BWI;MBJ                    PHILLIPSMOUTH          GA                       US   40668   120775677@AIRLINE.KIWI.COM
VGSNS5   8/5/2020   OB    9/30/2020   WN;1923;MCO;BWI                   PHILLIPSMOUTH          GA                       US   40668   120775677@AIRLINE.KIWI.COM
VGSNS5   8/5/2020   OB    10/1/2020   WN;906;BWI;MBJ                    PHILLIPSMOUTH          GA                       US   40668   120775677@AIRLINE.KIWI.COM
VHPDE9   8/5/2020   OB    8/10/2020   WN;1848;GEG;DEN;WN;372;DEN;SLC    PORT MICHAEL           HI                       US   38555   120776942@AIRLINE.KIWI.COM
VIGW6Z   8/5/2020   OB    8/17/2020   WN;950;MDW;PHL                    NEW STACEY             AK                       US   48057   120768956@AIRLINE.KIWI.COM
VJ49JM   8/5/2020   OB     9/7/2020   WN;174;MCO;DEN;WN;2402;DEN;PDX    WEST ADAMVIEW          WY                       US   14259   120777360@AIRLINE.KIWI.COM
VJUI7C   8/5/2020   OB     8/7/2020   WN;1393;LAS;LAX                   PORT BRETTTOWN         ND                       US   20683   120778834@AIRLINE.KIWI.COM
VJURAQ   8/5/2020   OB     8/6/2020   WN;1506;AUS;BNA;WN;5426;BNA;DTW   DEVGRH                 JAMMU AND KASHMIR        IN   96811   120778944@AIRLINE.KIWI.COM
VOASTJ   8/5/2020   OB    8/16/2020   WN;932;DTW;MDW;WN;783;MDW;LGA     JASONMOUTH             AZ                       US   51980   120783663@AIRLINE.KIWI.COM
VOJLGX   8/5/2020   OB     8/7/2020   WN;2196;SFO;LAS                   SCHULTZMOUTH           SJAELLAND                DK   85012   120783476@AIRLINE.KIWI.COM
VOMYB5   8/5/2020   OB    8/16/2020   WN;761;SLC;DEN                    ROWEVIEW               IN                       US   26274   120784477@AIRLINE.KIWI.COM
VQ5AS7   8/5/2020   OB     8/8/2020   WN;1287;ONT;PHX                   NEW AFUA               GU                       US   78478   120783399@AIRLINE.KIWI.COM
VQ5AS7   8/5/2020   OB     8/8/2020   WN;1287;ONT;PHX                   NEW AFUA               GU                       US   78478   120783399@AIRLINE.KIWI.COM
VRG4OB   8/5/2020   OB     8/6/2020   WN;443;MCO;ATL;WN;2071;ATL;GSP    AUSMAVILLE             RIEBINU NOVADS           LV   64584   120786347@AIRLINE.KIWI.COM
VRU8QD   8/5/2020   OB    8/19/2020   WN;1193;LAX;LAS                   LAKE JOSHUA            AK                       US   48652   120787953@AIRLINE.KIWI.COM
VSAODB   8/5/2020   OB    8/13/2020   WN;1080;LAX;LAS                   YATESSTAD              MD                       US   39283   120787733@AIRLINE.KIWI.COM
VT8K6K   8/5/2020   OB     8/5/2020   WN;6597;LAX;LAS                   EAST MORGANCHESTER     CO                       US   43135   120788602@AIRLINE.KIWI.COM
VT8K6K   8/5/2020   OB     8/5/2020   WN;6597;LAX;LAS                   EAST MORGANCHESTER     CO                       US   43135   120788602@AIRLINE.KIWI.COM
VTQTOD   8/5/2020   OB    9/15/2020   WN;148;BUR;PHX                    WEST ROBERT            HI                       US    2310   120789141@AIRLINE.KIWI.COM
VU3K4B   8/5/2020   OB    8/11/2020   WN;226;MCO;STL                    WEST JEREMIAH          OK                       US   73788   120790362@AIRLINE.KIWI.COM
VU3K4B   8/5/2020   OB    8/11/2020   WN;226;MCO;STL                    WEST JEREMIAH          OK                       US   73788   120790362@AIRLINE.KIWI.COM
VW6BT6   8/5/2020   OB    8/18/2020   WN;1574;TUS;MDW;WN;1732;MDW;ATL   BREWERTOWN             AZ                       US   75405   120791990@AIRLINE.KIWI.COM
VWCXJ6   8/5/2020   OB     8/5/2020   WN;6597;LAX;LAS                   NORTH SHAUN            OH                       US   73054   120792221@AIRLINE.KIWI.COM
VY5OTP   8/5/2020   OB    8/10/2020   WN;411;ATL;MDW                    VAIDASVILLE            MARIJAMPOLES APSKRITIS   LT   86635   120793904@AIRLINE.KIWI.COM
VY5OTP   8/5/2020   OB    8/11/2020   WN;257;MDW;BWI;WN;153;BWI;MHT     VAIDASVILLE            MARIJAMPOLES APSKRITIS   LT   86635   120793904@AIRLINE.KIWI.COM
VZBXDW   8/5/2020   OB     8/6/2020   WN;1917;ELP;PHX;WN;1969;PHX;LAS   MARTINEZTON            SD                       US   20021   120795994@AIRLINE.KIWI.COM
VZBXDW   8/5/2020   OB     8/6/2020   WN;1917;ELP;PHX;WN;1969;PHX;LAS   MARTINEZTON            SD                       US   20021   120795994@AIRLINE.KIWI.COM
VZBXDW   8/5/2020   RT     8/8/2020   WN;370;LAS;ELP                    MARTINEZTON            SD                       US   20021   120795994@AIRLINE.KIWI.COM
VZBXDW   8/5/2020   RT     8/8/2020   WN;370;LAS;ELP                    MARTINEZTON            SD                       US   20021   120795994@AIRLINE.KIWI.COM
VZX3VM   8/5/2020   OB    8/15/2020   WN;328;CUN;HOU;WN;1313;HOU;LAS    NEW GUNNAR             SJAELLAND                DK   74662   120795774@AIRLINE.KIWI.COM
VZX3VM   8/5/2020   OB    8/15/2020   WN;328;CUN;HOU;WN;1313;HOU;LAS    NEW GUNNAR             SJAELLAND                DK   74662   120795774@AIRLINE.KIWI.COM
VZX3VM   8/5/2020   OB    8/15/2020   WN;328;CUN;HOU;WN;1313;HOU;LAS    NEW GUNNAR             SJAELLAND                DK   74662   120795774@AIRLINE.KIWI.COM
VZX3VM   8/5/2020   OB    8/15/2020   WN;328;CUN;HOU;WN;1313;HOU;LAS    NEW GUNNAR             SJAELLAND                DK   74662   120795774@AIRLINE.KIWI.COM
W22WON   8/5/2020   OB     8/6/2020   WN;2665;JAX;HOU;WN;20;HOU;DAL     GREENMOUTH             OR                       US   11333   120796731@AIRLINE.KIWI.COM
W24H8L   8/5/2020   OB     8/9/2020   WN;417;PWM;BWI                    KENNETHMOUTH           MA                       US   21879   120796346@AIRLINE.KIWI.COM




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W24H8L    8/5/2020   OB     8/9/2020   WN;417;PWM;BWI                           KENNETHMOUTH           MA                      US   21879   120796346@AIRLINE.KIWI.COM
W24H8L    8/5/2020   OB     8/9/2020   WN;417;PWM;BWI                           KENNETHMOUTH           MA                      US   21879   120796346@AIRLINE.KIWI.COM
W24H8L    8/5/2020   OB     8/9/2020   WN;417;PWM;BWI                           KENNETHMOUTH           MA                      US   21879   120796346@AIRLINE.KIWI.COM
W3BCR5    8/5/2020   OB     8/8/2020   WN;2186;DEN;LGA                          PORT LISA              NY                      US   15157   120797809@AIRLINE.KIWI.COM
W3XSKL    8/5/2020   OB     8/6/2020   WN;2149;LAX;LAS                          THOMPSONPORT           PA                      US   94014   120797710@AIRLINE.KIWI.COM
W4SD5X    8/5/2020   OB    8/23/2020   WN;63;RNO;LAS;WN;6399;LAS;TUL            JEFFREYLAND            UT                      US   63956   120799459@AIRLINE.KIWI.COM
W4ZK5Q    8/5/2020   OB    8/14/2020   WN;337;DTW;MDW;WN;1404;MDW;AUS           JONESBURY              NM                      US   33408   120799228@AIRLINE.KIWI.COM
W6KHEI    8/5/2020   OB     8/6/2020   WN;1354;RDU;DEN;WN;527;DEN;LAX           NORTH HEIDITOWN        NV                      US   24636   120800427@AIRLINE.KIWI.COM
W6VK3N    8/5/2020   OB    8/25/2020   WN;1470;RIC;ATL                          EAST JAMES             SHAMAL SINA             EG   24199   120800735@AIRLINE.KIWI.COM
W6VK3N    8/5/2020   OB    8/25/2020   WN;1470;RIC;ATL                          EAST JAMES             SHAMAL SINA             EG   24199   120800735@AIRLINE.KIWI.COM
W78U44    8/5/2020   OB     9/3/2020   WN;1087;MCO;DCA                          JESSICABOROUGH         NH                      US   28741   120799844@AIRLINE.KIWI.COM
W78U44    8/5/2020   OB     9/3/2020   WN;1087;MCO;DCA                          JESSICABOROUGH         NH                      US   28741   120799844@AIRLINE.KIWI.COM
W7AQ6M    8/5/2020   OB    8/19/2020   WN;396;ATL;RIC                           RHOON                  ZUIDHOLLAND             NL   75413   120800746@AIRLINE.KIWI.COM
W7AQ6M    8/5/2020   OB    8/19/2020   WN;396;ATL;RIC                           RHOON                  ZUIDHOLLAND             NL   75413   120800746@AIRLINE.KIWI.COM
W7C2PX    8/5/2020   OB     9/3/2020   WN;1093;ONT;DEN                          PORT LINDAMOUTH        NE                      US   31747   120801142@AIRLINE.KIWI.COM
W8V4C5    8/5/2020   OB     8/8/2020   WN;2139;MCI;PHX                          PORT JOSEPHBURY        AK                      US   65140   120802957@AIRLINE.KIWI.COM
W93ETO    8/5/2020   OB    8/15/2020   WN;1683;BUF;MDW;WN;582;MDW;LGA           RAMIREZCHESTER         MUNSTER                 IE   56984   120802891@AIRLINE.KIWI.COM
W95Q4V    8/5/2020   OB     8/7/2020   WN;2128;MDW;LGA                          TIFFANYMOUTH           OK                      US   97555   120802913@AIRLINE.KIWI.COM
WACUO4    8/5/2020   OB     8/9/2020   WN;6599;MCO;RDU                          EAST ROBERTSIDE        AL                      US   58017   120803309@AIRLINE.KIWI.COM
WACUO4    8/5/2020   OB     8/9/2020   WN;6599;MCO;RDU                          EAST ROBERTSIDE        AL                      US   58017   120803309@AIRLINE.KIWI.COM
WB4DPM    8/5/2020   OB    8/30/2020   WN;1494;SJC;SAN                          AUSTINVILLE            WI                      US   82723   120803705@AIRLINE.KIWI.COM
WBFX97    8/5/2020   OB    8/13/2020   WN;1080;OAK;LAX                          PORT JUSTINBURGH       SD                      US   71675   120804376@AIRLINE.KIWI.COM
WBFX97    8/5/2020   RT    8/28/2020   WN;535;LAX;OAK                           PORT JUSTINBURGH       SD                      US   71675   120804376@AIRLINE.KIWI.COM
WBLX6G    8/5/2020   OB    8/19/2020   WN;687;LAS;TUS                           EAST WHITNEYFORT       MN                      US   69069   120803903@AIRLINE.KIWI.COM
WCN43T    8/5/2020   OB    8/16/2020   WN;103;BDL;BWI;WN;1166;BWI;SDF           NORTH SAMANTHAMOUTH    UT                      US   54734   120804662@AIRLINE.KIWI.COM
WEH7FG    8/5/2020   OB     8/8/2020   WN;1085;SAT;LAS                          WEST JESSICA           WI                      US   52587   120805443@AIRLINE.KIWI.COM
WEYYDW    8/5/2020   OB   10/10/2020   WN;2193;DAL;MDW                          SAN ANA MARIA LOS AL   CHIHUAHUA               MX   53727   120805938@AIRLINE.KIWI.COM
WF8GZO    8/5/2020   OB    8/30/2020   WN;1702;LAS;PHX                          ROBERTVILLE            CO                      US     925   120806125@AIRLINE.KIWI.COM
WF8GZO    8/5/2020   OB    8/30/2020   WN;1702;LAS;PHX                          ROBERTVILLE            CO                      US     925   120806125@AIRLINE.KIWI.COM
WG3MC6    8/5/2020   OB     8/9/2020   WN;55;OKC;DEN;WN;1614;DEN;LAX            LIU AN XIAN            GUIZHOU SHENG           CN   89160   120806576@AIRLINE.KIWI.COM
J2R8TX    8/6/2020   OB    8/10/2020   WN;328;CUN;HOU;WN;2129;HOU;PHX           APRILVILLE             AK                      US   68216   120813198@AIRLINE.KIWI.COM
J2YER3    8/6/2020   OB    8/11/2020   WN;215;ELP;PHX;WN;466;PHX;DEN            BARNESSHIRE            UT                      US   21057   120813440@AIRLINE.KIWI.COM
J45MLW    8/6/2020   OB     8/9/2020   WN;370;LGA;DEN;WN;1912;DEN;ABQ           LIBOCHOVICE            PLZENJIH                CZ   13868   120813737@AIRLINE.KIWI.COM
J45MLW    8/6/2020   RT    8/16/2020   WN;781;ABQ;DAL;WN;781;DAL;LGA            LIBOCHOVICE            PLZENJIH                CZ   13868   120813737@AIRLINE.KIWI.COM
J5IQJR    8/6/2020   OB    8/12/2020   WN;1251;SMF;LAS                          PHILIPBERG             IA                      US   47722   120813671@AIRLINE.KIWI.COM
J7FDCY    8/6/2020   OB     8/7/2020   WN;136;BWI;CHS                           MICHAELVIEW            TN                      US   61840   120814738@AIRLINE.KIWI.COM
J7FDCY    8/6/2020   OB     8/7/2020   WN;136;BWI;CHS                           MICHAELVIEW            TN                      US   61840   120814738@AIRLINE.KIWI.COM
J7FDCY    8/6/2020   RT    8/10/2020   WN;1953;CHS;BWI                          MICHAELVIEW            TN                      US   61840   120814738@AIRLINE.KIWI.COM
J7FDCY    8/6/2020   RT    8/10/2020   WN;1953;CHS;BWI                          MICHAELVIEW            TN                      US   61840   120814738@AIRLINE.KIWI.COM
J7QU5S    8/6/2020   OB    8/19/2020   WN;1393;SFO;LAS                          WEST BETH              RI                      US    6683   120814694@AIRLINE.KIWI.COM
J7QU5S    8/6/2020   OB    8/19/2020   WN;1393;SFO;LAS                          WEST BETH              RI                      US    6683   120814694@AIRLINE.KIWI.COM
J7QU5S    8/6/2020   RT    8/23/2020   WN;1715;LAS;LAX;WN;1715;LAX;SFO          WEST BETH              RI                      US    6683   120814694@AIRLINE.KIWI.COM
J7QU5S    8/6/2020   RT    8/23/2020   WN;1715;LAS;LAX;WN;1715;LAX;SFO          WEST BETH              RI                      US    6683   120814694@AIRLINE.KIWI.COM
J9NURK    8/6/2020   OB    8/27/2020   WN;227;SMF;LAX                           SELO NAZAR             MYKOLAIVSKA OBLAST      UA   10592   120815365@AIRLINE.KIWI.COM
J9Z7XB    8/6/2020   OB     9/1/2020   WN;939;ONT;SMF                           SELO ROKSOLANA         POLTAVSKA OBLAST        UA    6091   120815365@AIRLINE.KIWI.COM
JA3KND    8/6/2020   OB     8/6/2020   WN;2670;FLL;ATL                          BURNETTFORT            PA                      US   94408   120815475@AIRLINE.KIWI.COM
JA3KND    8/6/2020   OB     8/6/2020   WN;2670;FLL;ATL                          BURNETTFORT            PA                      US   94408   120815475@AIRLINE.KIWI.COM
JHXEH7    8/6/2020   OB     9/2/2020   WN;786;STL;LAX                           FU ZHOU XIAN           HENAN SHENG             CN   33861   120819380@AIRLINE.KIWI.COM
JJO5YV    8/6/2020   OB    8/10/2020   WN;1581;LAS;SJC;WN;1581;SJC;SAN;WN;2090; FIELDSPORT             MO                      US   71045   120820238@AIRLINE.KIWI.COM
JL9DFD    8/6/2020   OB     8/7/2020   WN;1219;MDW;SDF                          BRIANAPORT             OR                      US   94285   120821184@AIRLINE.KIWI.COM
K8R7F7    8/6/2020   OB    8/21/2020   WN;4562;LGA;STL;WN;740;STL;SAT           SOUTH JENNIFERVILLE    CO                      US   71375   120831359@AIRLINE.KIWI.COM
KB3HN5    8/6/2020   OB   12/17/2020   WN;1473;SJU;MCO;WN;494;MCO;ATL           LORISIDE               WESTERN AUSTRALIA       AU   62839   120841501@AIRLINE.KIWI.COM
KBDM3V    8/6/2020   OB    8/15/2020   WN;1699;BOS;BWI;WN;1288;BWI;MEM          SAINTE ALEXANDREBOUR   COTESDARMOR             FR   45904   120840049@AIRLINE.KIWI.COM
KCPEL2    8/6/2020   OB    8/27/2020   WN;1610;CUN;BWI                          SAN NOELIA LOS BAJOS   PUEBLA                  MX   24906   120843426@AIRLINE.KIWI.COM
KHKKVW    8/6/2020   OB    9/18/2020   WN;2437;SAN;MDW;WN;2482;MDW;PIT          ERINLAND               ND                      US   12492   120848508@AIRLINE.KIWI.COM
KHKKVW    8/6/2020   OB    9/18/2020   WN;2437;SAN;MDW;WN;2482;MDW;PIT          ERINLAND               ND                      US   12492   120848508@AIRLINE.KIWI.COM
KJTJON    8/6/2020   OB    8/16/2020   WN;861;DCA;MDW;WN;146;MDW;GRR            HANSONVIEW             CT                      US   56738   120852875@AIRLINE.KIWI.COM
KJWBMK    8/6/2020   OB    8/15/2020   WN;1640;MEM;ATL;WN;1116;ATL;TPA          BANKSSIDE              IA                      US   77766   120853040@AIRLINE.KIWI.COM
KNPJDU    8/6/2020   OB     8/6/2020   WN;659;JAX;BNA;WN;2227;BNA;CHS           EAST TROY              CT                      US   86416   120856692@AIRLINE.KIWI.COM
KNR43S    8/6/2020   OB     8/6/2020   WN;2011;LAX;LAS                          SOUTH JASMINE          ID                      US    4411   120857242@AIRLINE.KIWI.COM
KQJENQ    8/6/2020   OB    8/20/2020   WN;344;MSY;ATL                           SOUTH DANIELSIDE       HI                      US   91887   120859816@AIRLINE.KIWI.COM
KQQ9UE    8/6/2020   OB    8/20/2020   WN;240;ATL;MDW                           LAKE DAINISBERG        LIMBAZU NOVADS          LV   89627   120860146@AIRLINE.KIWI.COM
KQXPT2    8/6/2020   OB    8/20/2020   WN;344;MSY;ATL                           SARAFORT               AR                      US   87805   120859948@AIRLINE.KIWI.COM
KS2E9W    8/6/2020   OB     9/3/2020   WN;959;MSY;PHX                           BARKERCHESTER          NH                      US   51914   120861235@AIRLINE.KIWI.COM
KUKHLV    8/6/2020   OB    8/28/2020   WN;920;BWI;CLT                           NORTH ANNETTETON       KS                      US   20864   120863600@AIRLINE.KIWI.COM
KVSJRU    8/6/2020   OB    8/13/2020   WN;687;LAS;TUS                           NUEVA LIBANO           OAXACA                  MX    1713   118902597.1411538@AIRLINE.KIWI.COM
KZL6E9    8/6/2020   OB   11/26/2020   WN;4986;DEN;MSP                          SAN ANGEL LOS BAJOS    TAMAULIPAS              MX   76387   120868825@AIRLINE.KIWI.COM
KZL6E9    8/6/2020   OB   11/26/2020   WN;4986;DEN;MSP                          SAN ANGEL LOS BAJOS    TAMAULIPAS              MX   76387   120868825@AIRLINE.KIWI.COM
KZL6E9    8/6/2020   OB   11/26/2020   WN;4986;DEN;MSP                          SAN ANGEL LOS BAJOS    TAMAULIPAS              MX   76387   120868825@AIRLINE.KIWI.COM
KZQYDJ    8/6/2020   OB    10/5/2020   WN;1242;SAT;PHX;WN;28;PHX;SAN            STEPHENBERG            MI                      US   95942   120868990@AIRLINE.KIWI.COM
KZQYDJ    8/6/2020   OB    10/5/2020   WN;1242;SAT;PHX;WN;28;PHX;SAN            STEPHENBERG            MI                      US   95942   120868990@AIRLINE.KIWI.COM
KZQYDJ    8/6/2020   RT    10/9/2020   WN;815;SAN;HOU;WN;2100;HOU;SAT           STEPHENBERG            MI                      US   95942   120868990@AIRLINE.KIWI.COM
KZQYDJ    8/6/2020   RT    10/9/2020   WN;815;SAN;HOU;WN;2100;HOU;SAT           STEPHENBERG            MI                      US   95942   120868990@AIRLINE.KIWI.COM
L2YEK6    8/6/2020   OB    8/27/2020   WN;1732;ATL;LAS                          EAST HEIDI             CO                      US   92699   120870222@AIRLINE.KIWI.COM
L2YEK6    8/6/2020   OB    8/27/2020   WN;1732;ATL;LAS                          EAST HEIDI             CO                      US   92699   120870222@AIRLINE.KIWI.COM
L2YEK6    8/6/2020   OB    8/27/2020   WN;1732;ATL;LAS                          EAST HEIDI             CO                      US   92699   120870222@AIRLINE.KIWI.COM
L2YEK6    8/6/2020   OB    8/27/2020   WN;1732;ATL;LAS                          EAST HEIDI             CO                      US   92699   120870222@AIRLINE.KIWI.COM
L3UO7T    8/6/2020   OB    8/10/2020   WN;1348;ORF;BWI;WN;1169;BWI;SJU          TETRICQARO             SAMEGRELOZEMO SVANETI   GE   56751   120871575@AIRLINE.KIWI.COM
L4VY54    8/6/2020   OB    8/22/2020   WN;1115;SJC;LAS                          JAMESVIEW              NJ                      US   55948   120872004@AIRLINE.KIWI.COM
L4VY54    8/6/2020   RT     9/1/2020   WN;758;LAS;SJC                           JAMESVIEW              NJ                      US   55948   120872004@AIRLINE.KIWI.COM
L6KEPE    8/6/2020   OB   11/25/2020   WN;3572;AUS;STL                          MARKBERG               IA                      US   13257   120874358@AIRLINE.KIWI.COM
L6KEPE    8/6/2020   RT    12/1/2020   WN;376;STL;AUS                           MARKBERG               IA                      US   13257   120874358@AIRLINE.KIWI.COM
L8O99R    8/6/2020   OB   12/19/2020   WN;2151;DAL;LAX                          KERKURA                ILEIA                   GR   99243   120877350@AIRLINE.KIWI.COM
L8O99R    8/6/2020   OB   12/19/2020   WN;2151;DAL;LAX                          KERKURA                ILEIA                   GR   99243   120877350@AIRLINE.KIWI.COM
L8O99R    8/6/2020   OB   12/19/2020   WN;2151;DAL;LAX                          KERKURA                ILEIA                   GR   99243   120877350@AIRLINE.KIWI.COM
L8YABO    8/6/2020   OB     8/6/2020   WN;270;OAK;BUR                           LAKE BRANDON           UT                      US   23998   120877790@AIRLINE.KIWI.COM
L9G4Q2    8/6/2020   OB     8/8/2020   WN;2131;BNA;OKC                          VERONICASIDE           CO                      US   86370   120877174@AIRLINE.KIWI.COM
L9JV4U    8/6/2020   OB   12/19/2020   WN;3245;LAX;DAL                          D CHEBOKSARY           CHELYABINSKAYA OBLAST   RU   98409   120878230@AIRLINE.KIWI.COM
LAPSDM    8/6/2020   OB     8/8/2020   WN;1586;SAN;SMF                          VIEJA POLONIA          BAJA CALIFORNIA         MX   45822   120879066@AIRLINE.KIWI.COM
LAPSDM    8/6/2020   RT    8/17/2020   WN;1149;SMF;SAN                          VIEJA POLONIA          BAJA CALIFORNIA         MX   45822   120879066@AIRLINE.KIWI.COM
LDR7VC    8/6/2020   OB    8/25/2020   WN;5248;SJC;LAS;WN;849;LAS;BHM           LAKE DANIELFURT        ND                      US   57535   120882047@AIRLINE.KIWI.COM
LECVNV    8/6/2020   OB    8/25/2020   WN;1119;LBB;DAL;WN;43;DAL;HOU            EAST HOLLY             NE                      US    7785   120882806@AIRLINE.KIWI.COM
LEUQRF    8/6/2020   OB    8/27/2020   WN;1655;HOU;LBB                          PORT JEFFREY           AL                      US   33778   120883312@AIRLINE.KIWI.COM
LG6T6A    8/6/2020   OB    8/15/2020   WN;365;AUS;DAL;WN;1575;DAL;DEN           MARIABURGH             PA                      US    3307   120407969.1411762@AIRLINE.KIWI.COM
LG85O5    8/6/2020   OB   11/14/2020   WN;4091;SAT;DAL;WN;2885;DAL;BNA;WN;289 BREANNACHESTER           TX                      US   20620   120883928@AIRLINE.KIWI.COM
LH6NMV    8/6/2020   OB    8/27/2020   WN;1407;SEA;OAK                          JOEBERG                WV                      US   49430   120885721@AIRLINE.KIWI.COM
LIJ2GR    8/6/2020   OB    8/29/2020   WN;1193;LAX;LAS;WN;538;LAS;MCO           LAKE JOHNBERG          AR                      US   27892   120885655@AIRLINE.KIWI.COM
LJ5Z8R    8/6/2020   OB    8/19/2020   WN;1068;SAN;SJC                          WEST FRANCISCO         ND                      US   83095   120887811@AIRLINE.KIWI.COM
LJKFFH    8/6/2020   OB     1/2/2021   WN;1917;FLL;MDW                          MELISSABERG            WY                      US    2297   120888064@AIRLINE.KIWI.COM
LKEDW4    8/6/2020   OB    8/10/2020   WN;777;IAD;ATL;WN;433;ATL;CMH            MATTHEWSSHIRE          LONDON CITY OF          GB   22344   120881904@AIRLINE.KIWI.COM
LKXJE8    8/6/2020   OB    8/17/2020   WN;1610;CUN;BWI                          PORT ASHLEYBERG        MS                      US   73328   120889032@AIRLINE.KIWI.COM
LLVY9N    8/6/2020   OB    8/17/2020   WN;892;LAS;LAX                           BAKERPORT              ME                      US   88906   120890539@AIRLINE.KIWI.COM
LMOGZZ    8/6/2020   OB    8/21/2020   WN;2926;LAS;LGB                          SNYDERBURGH            AZ                      US   66625   120890638@AIRLINE.KIWI.COM
LMOGZZ    8/6/2020   RT    8/24/2020   WN;859;LGB;LAS                           SNYDERBURGH            AZ                      US   66625   120890638@AIRLINE.KIWI.COM
LO9QLD    8/6/2020   OB    8/22/2020   WN;1457;LIT;HOU                          NEW COLTONFURT         OK                      US   36610   120892123@AIRLINE.KIWI.COM
LO9QLD    8/6/2020   OB    8/22/2020   WN;1457;LIT;HOU                          NEW COLTONFURT         OK                      US   36610   120892123@AIRLINE.KIWI.COM
LPQZYR    8/6/2020   OB   11/26/2020   WN;3959;MCO;BNA;WN;3959;BNA;ATL          EAST PATRICIA          MA                      US   90912   120893443@AIRLINE.KIWI.COM




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LPQZYR   8/6/2020   OB   11/26/2020   WN;3959;MCO;BNA;WN;3959;BNA;ATL     EAST PATRICIA          MA                    US   90912   120893443@AIRLINE.KIWI.COM
LQ42ZX   8/6/2020   OB   11/20/2020   WN;900;ATL;MDW;WN;782;MDW;LAX       EAST KEVIN             CO                    US   10229   120893443@AIRLINE.KIWI.COM
LQ42ZX   8/6/2020   OB   11/20/2020   WN;900;ATL;MDW;WN;782;MDW;LAX       EAST KEVIN             CO                    US   10229   120893443@AIRLINE.KIWI.COM
LRZJE2   8/6/2020   OB     8/9/2020   WN;214;MDW;MSP                      ELIZABETHBOROUGH       FL                    US   17328   120895027@AIRLINE.KIWI.COM
LSK98P   8/6/2020   OB     8/6/2020   WN;1652;LAS;LAX                     AMANDABOROUGH          NV                    US   35086   120895357@AIRLINE.KIWI.COM
LT6FNN   8/6/2020   OB    8/28/2020   WN;432;RDU;BNA;WN;1606;BNA;AUS      WEST TYLER             NM                    US   84756   120896017@AIRLINE.KIWI.COM
LTLPKK   8/6/2020   OB    8/12/2020   WN;401;BOI;DEN                      WEST JULIEVIEW         IL                    US   80615   120896072@AIRLINE.KIWI.COM
LY4BOC   8/6/2020   OB     8/7/2020   WN;2137;SNA;SMF                     EAST TREVORSIDE        ME                    US   39012   120898118@AIRLINE.KIWI.COM
LYD994   8/6/2020   OB    9/12/2020   WN;1807;BWI;PHX                     PORT ALEJANDROSTAD     TN                    US   51602   120897898@AIRLINE.KIWI.COM
LYUDFQ   8/6/2020   OB    8/11/2020   WN;833;BOS;STL                      LAS PALMAS             CATALUNYA             ES   77817   120896391@AIRLINE.KIWI.COM
WIPVQR   8/6/2020   OB     8/9/2020   WN;143;SLC;DEN;WN;232;DEN;GEG       WEST SAMANTHA          FL                    US   14271   120807577@AIRLINE.KIWI.COM
WJPJOB   8/6/2020   OB    8/10/2020   WN;1659;SMF;LAS                     HALL                   CURACAO               NL   54923   120807918@AIRLINE.KIWI.COM
WJRBO3   8/6/2020   OB   12/22/2020   WN;776;LAS;MDW;WN;2137;MDW;CHS      EAST ALEXANDRATOWN     WY                    US   19427   120807962@AIRLINE.KIWI.COM
WJRBO3   8/6/2020   OB   12/22/2020   WN;776;LAS;MDW;WN;2137;MDW;CHS      EAST ALEXANDRATOWN     WY                    US   19427   120807962@AIRLINE.KIWI.COM
WJRBO3   8/6/2020   OB   12/22/2020   WN;776;LAS;MDW;WN;2137;MDW;CHS      EAST ALEXANDRATOWN     WY                    US   19427   120807962@AIRLINE.KIWI.COM
WJRBO3   8/6/2020   RT   12/30/2020   WN;410;CHS;BNA;WN;228;BNA;LAS       EAST ALEXANDRATOWN     WY                    US   19427   120807962@AIRLINE.KIWI.COM
WJRBO3   8/6/2020   RT   12/30/2020   WN;410;CHS;BNA;WN;228;BNA;LAS       EAST ALEXANDRATOWN     WY                    US   19427   120807962@AIRLINE.KIWI.COM
WJRBO3   8/6/2020   RT   12/30/2020   WN;410;CHS;BNA;WN;228;BNA;LAS       EAST ALEXANDRATOWN     WY                    US   19427   120807962@AIRLINE.KIWI.COM
WMNWY9   8/6/2020   OB    8/15/2020   WN;1002;LAX;SJC                     HOLTTOWN               WI                    US   49775   120808952@AIRLINE.KIWI.COM
WNLV3D   8/6/2020   OB     8/6/2020   WN;2130;RDU;MCO                     EAST TARA              DE                    US   23775   120809194@AIRLINE.KIWI.COM
WNLV3D   8/6/2020   OB     8/6/2020   WN;2130;RDU;MCO                     EAST TARA              DE                    US   23775   120809194@AIRLINE.KIWI.COM
WO874G   8/6/2020   OB    9/21/2020   WN;1593;DEN;BWI;WN;2236;BWI;PBI     PORT JAMESVILLE        LA                    US   36961   120809348@AIRLINE.KIWI.COM
WOIJSZ   8/6/2020   OB    8/15/2020   WN;776;DEN;SLC                      LAKE RYAN              KANTON SARAJEVO       BA   57411   120809205@AIRLINE.KIWI.COM
WOOYAL   8/6/2020   OB    8/19/2020   WN;1662;SLC;LAS                     SARUNASBERG            SIAULIU APSKRITIS     LT   81083   120809205@AIRLINE.KIWI.COM
WOV22D   8/6/2020   OB     8/6/2020   WN;6597;LAX;LAS                     TONYAHAVEN             HI                    US   28146   120809865@AIRLINE.KIWI.COM
WPQ5DP   8/6/2020   OB     9/6/2020   WN;328;CUN;HOU;WN;2122;HOU;SAN      BREMERVORDE            BERLIN                DE   20044   120810129@AIRLINE.KIWI.COM
WR5P95   8/6/2020   OB     8/9/2020   WN;287;LAS;RNO                      SMITHVILLE             MT                    US   19982   120810514@AIRLINE.KIWI.COM
WRHQAW   8/6/2020   OB     8/8/2020   WN;184;MSY;AUS                      LEELAND                SC                    US   78372   120810591@AIRLINE.KIWI.COM
WSCZXX   8/6/2020   OB    8/28/2020   WN;1593;BWI;SAN;WN;1207;SAN;LAS     CHRISTOPHERFURT        OR                    US   38817   120810712@AIRLINE.KIWI.COM
WSCZXX   8/6/2020   RT    8/30/2020   WN;1921;LAS;BWI                     CHRISTOPHERFURT        OR                    US   38817   120810712@AIRLINE.KIWI.COM
WSNXNQ   8/6/2020   OB    8/19/2020   WN;535;LAX;OAK                      SARAHLAND              AR                    US    4806   120810866@AIRLINE.KIWI.COM
WT5NIJ   8/6/2020   OB    8/22/2020   WN;1080;OAK;LAX                     BUTLERHAVEN            MS                    US   97029   120811009@AIRLINE.KIWI.COM
WTHNLR   8/6/2020   OB    8/11/2020   WN;1135;PDX;DEN;WN;577;DEN;SAT      DEBRABOROUGH           WV                    US   65746   120811262@AIRLINE.KIWI.COM
WUXOIY   8/6/2020   OB     8/6/2020   WN;1443;BWI;RSW                     LAKE CHARLESVIEW       FL                    US   34977   120811790@AIRLINE.KIWI.COM
WUXOIY   8/6/2020   OB     8/6/2020   WN;1443;BWI;RSW                     LAKE CHARLESVIEW       FL                    US   34977   120811790@AIRLINE.KIWI.COM
WUXOIY   8/6/2020   OB     8/6/2020   WN;1443;BWI;RSW                     LAKE CHARLESVIEW       FL                    US   34977   120811790@AIRLINE.KIWI.COM
WVOGDL   8/6/2020   OB    8/22/2020   WN;1825;SAT;DAL;WN;388;DAL;MSY      ERICKSONBERG           HI                    US   94134   120812021@AIRLINE.KIWI.COM
WW3YGC   8/6/2020   OB    8/24/2020   WN;1020;MSY;BNA;WN;463;BNA;SAT      MCCLURELAND            NM                    US   11278   120812021@AIRLINE.KIWI.COM
WWTK7O   8/6/2020   OB     8/6/2020   WN;6597;LAX;LAS                     DRACHTENAZEVEN         FRIESLAND             NL   45295   120812384@AIRLINE.KIWI.COM
WWTK7O   8/6/2020   OB     8/6/2020   WN;6597;LAX;LAS                     DRACHTENAZEVEN         FRIESLAND             NL   45295   120812384@AIRLINE.KIWI.COM
WZYA6N   8/6/2020   OB    8/13/2020   WN;1662;SLC;LAS;WN;930;LAS;SNA      PORT MAUREENSHIRE      CA                    US   41019   120812956@AIRLINE.KIWI.COM
LZAPFI   8/7/2020   OB     8/9/2020   WN;342;SMF;SNA                      WILLIAMHAVEN           NH                    US   18327   120898404@AIRLINE.KIWI.COM
M2QYQW   8/7/2020   OB    8/16/2020   WN;965;LAS;SFO                      P NOIABRSK             DAGESTAN RESPUBLIKA   RU   20320   120898899@AIRLINE.KIWI.COM
M2QYQW   8/7/2020   OB    8/16/2020   WN;965;LAS;SFO                      P NOIABRSK             DAGESTAN RESPUBLIKA   RU   20320   120898899@AIRLINE.KIWI.COM
M2QYQW   8/7/2020   OB    8/16/2020   WN;965;LAS;SFO                      P NOIABRSK             DAGESTAN RESPUBLIKA   RU   20320   120898899@AIRLINE.KIWI.COM
M3DJPO   8/7/2020   OB    8/12/2020   WN;402;TPA;SJU                      S SHCHELKOVO           TVERSKAYA OBLAST      RU    2530   120899097@AIRLINE.KIWI.COM
M447BS   8/7/2020   OB    8/12/2020   WN;352;STL;MSP                      LAKE MICHAEL           MN                    US   86514   120899471@AIRLINE.KIWI.COM
M447BS   8/7/2020   RT    8/16/2020   WN;588;MSP;STL                      LAKE MICHAEL           MN                    US   86514   120899471@AIRLINE.KIWI.COM
M4YJOS   8/7/2020   OB    8/27/2020   WN;1215;LAX;AUS                     TOLEDO                 LEON                  ES   15141   120899724@AIRLINE.KIWI.COM
M5DEYQ   8/7/2020   OB    8/25/2020   WN;1031;AUS;LAX                     CIUDAD                 JAEN                  ES   27191   120899735@AIRLINE.KIWI.COM
M6PXE7   8/7/2020   OB    8/10/2020   WN;1884;AUS;MCO                     LAKE PATTY             AZ                    US   27714   120900164@AIRLINE.KIWI.COM
M7A7DQ   8/7/2020   OB     8/7/2020   WN;206;SJC;LAS                      PORT ANGELA            NM                    US    1691   120900472@AIRLINE.KIWI.COM
M7VGUG   8/7/2020   OB    8/17/2020   WN;398;ATL;FLL                      BROWNPORT              RI                    US   56878   120900538@AIRLINE.KIWI.COM
M7VGUG   8/7/2020   OB    8/17/2020   WN;398;ATL;FLL                      BROWNPORT              RI                    US   56878   120900538@AIRLINE.KIWI.COM
M9GAHW   8/7/2020   OB    8/13/2020   WN;1596;DSM;DEN                     WILLIAMLAND            OR                    US   17238   120901066@AIRLINE.KIWI.COM
MAN3I8   8/7/2020   OB    8/23/2020   WN;886;MSY;MDW                      PORT PAULA             MA                    US   94332   120901374@AIRLINE.KIWI.COM
MB3MOP   8/7/2020   OB    8/30/2020   WN;618;PHX;TUL                      NEW ROBERT             HI                    US   52782   120901561@AIRLINE.KIWI.COM
MB3MOP   8/7/2020   OB    8/30/2020   WN;840;PHX;DEN;WN;840;DEN;TUL       NEW ROBERT             HI                    US   52782   120901561@AIRLINE.KIWI.COM
MB5GOC   8/7/2020   OB     8/7/2020   WN;206;SJC;LAS                      PORT MANUEL            KY                    US   81129   120901660@AIRLINE.KIWI.COM
MB8BGA   8/7/2020   OB     9/6/2020   WN;2226;CVG;MDW                     VELKY KAMENEC          BRATISLAVSKY KRAJ     SK   14937   120901462@AIRLINE.KIWI.COM
MBQBAV   8/7/2020   OB     9/3/2020   WN;1291;STL;BOS                     ARSOYMOUTH             ANKARA                TR   75170   120901418@AIRLINE.KIWI.COM
MBXD2D   8/7/2020   OB    8/23/2020   WN;852;GRR;MDW;WN;1633;MDW;DAL      WEST GARY              NV                    US   18294   120901814@AIRLINE.KIWI.COM
MC34NT   8/7/2020   OB    8/21/2020   WN;914;DAL;MDW;WN;146;MDW;GRR       STEWARTSHIRE           GA                    US   46321   120901814@AIRLINE.KIWI.COM
MCABMS   8/7/2020   OB    8/23/2020   WN;852;GRR;MDW;WN;1633;MDW;DAL      LITTLEMOUTH            MT                    US   44755   120901814@AIRLINE.KIWI.COM
MCE7IY   8/7/2020   OB    8/21/2020   WN;914;DAL;MDW;WN;146;MDW;GRR       WARNERCHESTER          FL                    US   98718   120901814@AIRLINE.KIWI.COM
MCWXHM   8/7/2020   OB    8/18/2020   WN;333;MCO;RDU                      NEW ANTHONY            AK                    US   90466   120902089@AIRLINE.KIWI.COM
MD9MXR   8/7/2020   OB    8/10/2020   WN;1485;LIT;DAL;WN;2959;DAL;MDW     NORTH ZACHARY          WY                    US   87304   120902034@AIRLINE.KIWI.COM
MFLEAG   8/7/2020   OB     8/7/2020   WN;673;DEN;LAS                      NEW DEBORAHBURGH       GA                    US   68843   120902881@AIRLINE.KIWI.COM
MFPF3E   8/7/2020   OB    8/31/2020   WN;101;ATL;DEN;WN;101;DEN;SAN       BADIN                  NITRIANSKY KRAJ       SK   49621   120902683@AIRLINE.KIWI.COM
MFPF3E   8/7/2020   OB    8/31/2020   WN;101;ATL;DEN;WN;101;DEN;SAN       BADIN                  NITRIANSKY KRAJ       SK   49621   120902683@AIRLINE.KIWI.COM
MFUORO   8/7/2020   OB     9/5/2020   WN;280;SAN;AUS;WN;280;AUS;ATL       VIEJA GUYANA           BAJA CALIFORNIA       MX   40025   120902672@AIRLINE.KIWI.COM
MFUORO   8/7/2020   OB     9/5/2020   WN;280;SAN;AUS;WN;280;AUS;ATL       VIEJA GUYANA           BAJA CALIFORNIA       MX   40025   120902672@AIRLINE.KIWI.COM
MGDJ8C   8/7/2020   OB     8/9/2020   WN;192;LAS;DEN                      WEST ELIZABETHFURT     WV                    US   30426   120902881@AIRLINE.KIWI.COM
MGI7X7   8/7/2020   OB     8/7/2020   WN;2174;ATL;DCA                     JENNIFERCHESTER        OK                    US     819   120903123@AIRLINE.KIWI.COM
MHLFVZ   8/7/2020   OB    8/28/2020   WN;398;ATL;FLL                      EAST MELODY            IL                    US   43007   120903497@AIRLINE.KIWI.COM
MIWVPS   8/7/2020   OB     8/9/2020   WN;6847;LAS;BUR;WN;6849;BUR;SLC     WEST KELLIVILLE        FL                    US   18416   120904003@AIRLINE.KIWI.COM
ML6HT9   8/7/2020   OB    8/10/2020   WN;1659;SMF;LAS                     LAKE MINNAPORT         BALTINAVAS NOVADS     LV   25494   120904740@AIRLINE.KIWI.COM
ML96EE   8/7/2020   OB     8/9/2020   WN;328;CUN;HOU                      MYERSSIDE              IN                    US   23901   120904619@AIRLINE.KIWI.COM
MTZYIH   8/7/2020   OB     9/7/2020   WN;2221;MDW;MSP                     RACHAELBURGH           ND                    US   82737   120907479@AIRLINE.KIWI.COM
MU2IJG   8/7/2020   OB    8/21/2020   WN;764;SAN;SMF                      NELSONMOUTH            UT                    US   43138   120907578@AIRLINE.KIWI.COM
MVM8ZB   8/7/2020   OB    8/24/2020   WN;1637;PDX;SMF                     JACQUELINETON          WI                    US   53991   120908018@AIRLINE.KIWI.COM
MXONZC   8/7/2020   OB    8/30/2020   WN;908;LAS;BNA                      NEW LISA               AK                    US    8665   120909074@AIRLINE.KIWI.COM
MXONZC   8/7/2020   OB    8/30/2020   WN;908;LAS;BNA                      NEW LISA               AK                    US    8665   120909074@AIRLINE.KIWI.COM
MYLOYZ   8/7/2020   OB    11/3/2020   WN;437;DAL;AUS;WN;437;AUS;ATL       DAWNFURT               GWYNEDD               GB   73834   120909327@AIRLINE.KIWI.COM
N2O88O   8/7/2020   OB    8/21/2020   WN;277;TPA;ATL                      STEINMOUTH             RI                    US   54946   120910944@AIRLINE.KIWI.COM
N2WKCF   8/7/2020   OB     8/9/2020   WN;1659;LAS;OMA;WN;1659;OMA;DCA     BRADLEYLAND            IA                    US   68641   120910889@AIRLINE.KIWI.COM
N4PFO6   8/7/2020   OB    8/14/2020   WN;1243;PDX;PHX;WN;507;PHX;SAN      LAKE RICHARDSIDE       HI                    US   42514   120912649@AIRLINE.KIWI.COM
N5VLMR   8/7/2020   OB     9/3/2020   WN;1717;DEN;LAS                     PORT MEGAN             TX                    US   80920   120910955@AIRLINE.KIWI.COM
N88IY6   8/7/2020   OB    8/18/2020   WN;833;FLL;BWI                      SOUTH DAVIDMOUTH       KS                    US   87072   120915014@AIRLINE.KIWI.COM
NCK8VT   8/7/2020   OB    8/13/2020   WN;1253;BWI;RDU                     QUARTO DONATELLA       OGLIASTRA             IT   93701   120918369@AIRLINE.KIWI.COM
NJKYXI   8/7/2020   OB     8/7/2020   WN;2252;CMH;TPA;WN;2069;TPA;FLL     HUANGMOUTH             AK                    US   22089   120925277@AIRLINE.KIWI.COM
NJKYXI   8/7/2020   OB     8/7/2020   WN;2252;CMH;TPA;WN;2069;TPA;FLL     HUANGMOUTH             AK                    US   22089   120925277@AIRLINE.KIWI.COM
NJPR93   8/7/2020   OB    8/14/2020   WN;218;JAX;ATL;WN;1861;ATL;IND      SOUTH GLEN             IL                    US   48479   120925728@AIRLINE.KIWI.COM
NNY6G2   8/7/2020   OB     8/7/2020   WN;2230;MSP;MDW;WN;654;MDW;CMH      NORTH LATOYA           FL                    US   57988   120929402@AIRLINE.KIWI.COM
NWNMXU   8/7/2020   OB    8/17/2020   WN;179;AUS;LAX                      SOUTH TIFFANYFORT      MD                    US   92207   120937377@AIRLINE.KIWI.COM
NWTR6Z   8/7/2020   OB    9/15/2020   WN;1142;OKC;DEN                     STEVENSIDE             UT                    US    2680   120937861@AIRLINE.KIWI.COM
NWTR6Z   8/7/2020   OB    9/15/2020   WN;1142;OKC;DEN                     STEVENSIDE             UT                    US    2680   120937861@AIRLINE.KIWI.COM
NWTR6Z   8/7/2020   OB    9/15/2020   WN;1142;OKC;DEN                     STEVENSIDE             UT                    US    2680   120937861@AIRLINE.KIWI.COM
NWY6SD   8/7/2020   OB    8/17/2020   WN;398;ATL;FLL                      PERNIS ROTTERDAM       GRONINGEN             NL   54063   120938268@AIRLINE.KIWI.COM
O5XVPD   8/7/2020   OB     8/8/2020   WN;55;OKC;DEN                       WEST CHRISTOPHERBERG   AR                    US   86491   120945000@AIRLINE.KIWI.COM
OF6TWV   8/7/2020   OB    8/19/2020   WN;1066;SDF;MDW;WN;1430;MDW;FLL     MEZIMESTI              STREDOCESKY KRAJ      CZ   38176   120953349@AIRLINE.KIWI.COM
OFWQ2C   8/7/2020   OB    8/19/2020   WN;1371;LAX;DEN;WN;872;DEN;BOS      ORTIZCHESTER           GA                    US   67050   120954493@AIRLINE.KIWI.COM
OGA8KM   8/7/2020   OB    8/10/2020   WN;894;LAS;STL;WN;1666;STL;FLL      WEST SEANCHESTER       ND                    US   66582   120953811@AIRLINE.KIWI.COM
OGA8KM   8/7/2020   OB    8/10/2020   WN;894;LAS;STL;WN;1666;STL;FLL      WEST SEANCHESTER       ND                    US   66582   120953811@AIRLINE.KIWI.COM
OGDOHY   8/7/2020   OB     1/4/2021   WN;920;PHL;MDW;WN;1048;MDW;PHX;WN;1 KARIBURY               TN                    US   96534   120954515@AIRLINE.KIWI.COM
OGWREK   8/7/2020   OB    8/16/2020   WN;1808;LAS;STL;WN;622;STL;DCA      SANCHEZVILLE           ID                    US   77676   120954537@AIRLINE.KIWI.COM
OHLEMZ   8/7/2020   OB    8/14/2020   WN;1666;ATL;BWI;WN;920;BWI;CLT      DOBELN                 BRANDENBURG           DE   55334   120955615@AIRLINE.KIWI.COM




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OHYOZM   8/7/2020   OB     9/4/2020   WN;1639;AUS;PHX                        LONGBOROUGH            IL                US    15063   120955846@AIRLINE.KIWI.COM
OIJ8IA   8/7/2020   OB    8/10/2020   WN;950;KOA;OGG                         RAKOVEC NAD ONDAVOU    TRNAVSKY KRAJ     SK    67406   120955956@AIRLINE.KIWI.COM
OIJ8IA   8/7/2020   OB    8/10/2020   WN;950;KOA;OGG                         RAKOVEC NAD ONDAVOU    TRNAVSKY KRAJ     SK    67406   120955956@AIRLINE.KIWI.COM
OK848W   8/7/2020   OB    8/28/2020   WN;378;ATL;LAS;WN;1187;LAS;OAK         NEW DAVIDPORT          NC                US    73537   120957430@AIRLINE.KIWI.COM
OK84Z6   8/7/2020   OB    8/16/2020   WN;1742;LAS;MDW                        SHARONSHIRE            SD                US    96573   120957100@AIRLINE.KIWI.COM
OL8P7Q   8/7/2020   OB    8/14/2020   WN;1243;LAS;HOU                        AUSTINLAND             IN                US    52673   120956132@AIRLINE.KIWI.COM
OL8P7Q   8/7/2020   OB    8/14/2020   WN;1243;LAS;HOU                        AUSTINLAND             IN                US    52673   120956132@AIRLINE.KIWI.COM
OLTXML   8/7/2020   OB     8/8/2020   WN;6571;ATL;MCO                        LAKE CASSANDRA         IN                US    34015   120958706@AIRLINE.KIWI.COM
OLTXML   8/7/2020   OB     8/8/2020   WN;6571;ATL;MCO                        LAKE CASSANDRA         IN                US    34015   120958706@AIRLINE.KIWI.COM
ONSESI   8/7/2020   OB     9/6/2020   WN;185;LAS;TUL                         NEW MELANIE            OR                US    88841   120960202@AIRLINE.KIWI.COM
ONSESI   8/7/2020   OB     9/6/2020   WN;185;LAS;TUL                         NEW MELANIE            OR                US    88841   120960202@AIRLINE.KIWI.COM
ONVKTQ   8/7/2020   OB    8/18/2020   WN;523;PHL;ATL;WN;523;ATL;MSY          PORT BECKY             MD                US    53618   120960532@AIRLINE.KIWI.COM
ONVKTQ   8/7/2020   OB    8/18/2020   WN;523;PHL;ATL;WN;523;ATL;MSY          PORT BECKY             MD                US    53618   120960532@AIRLINE.KIWI.COM
OO339V   8/7/2020   OB     8/7/2020   WN;6597;LAX;LAS                        LAKE ELIZABETH         CO                US    86671   120960884@AIRLINE.KIWI.COM
OPPO2W   8/7/2020   OB    8/24/2020   WN;1329;SMF;BUR                        CAROLVIEW              ME                US    85218   120961830@AIRLINE.KIWI.COM
OPVP52   8/7/2020   OB    8/15/2020   WN;309;BWI;IND                         JESSICALAND            NY                US    82358   120962149@AIRLINE.KIWI.COM
OQROOZ   8/7/2020   OB    8/16/2020   WN;1216;AUS;LAX                        REBECCAFORT            CA                US    22251   120963051@AIRLINE.KIWI.COM
OT5J8L   8/7/2020   OB    8/22/2020   WN;1160;DAL;PIT                        WILSONVILLE            NE                US    17355   120964140@AIRLINE.KIWI.COM
OT5J8L   8/7/2020   OB    8/22/2020   WN;1160;DAL;PIT                        WILSONVILLE            NE                US    17355   120964140@AIRLINE.KIWI.COM
OV7OID   8/7/2020   OB    8/25/2020   WN;857;PNS;HOU                         LAKE BRITTNEY          AL                US    29088   120965636@AIRLINE.KIWI.COM
OV7OID   8/7/2020   OB    8/25/2020   WN;857;PNS;HOU                         LAKE BRITTNEY          AL                US    29088   120965636@AIRLINE.KIWI.COM
OV7OID   8/7/2020   RT    8/28/2020   WN;3230;HOU;PNS                        LAKE BRITTNEY          AL                US    29088   120965636@AIRLINE.KIWI.COM
OV7OID   8/7/2020   RT    8/28/2020   WN;3230;HOU;PNS                        LAKE BRITTNEY          AL                US    29088   120965636@AIRLINE.KIWI.COM
OVA5AR   8/7/2020   OB   12/18/2020   WN;1156;OKC;DEN;WN;1568;DEN;TPA        ROBERTMOUTH            AK                US    31470   120965603@AIRLINE.KIWI.COM
OWQYHU   8/7/2020   OB    9/10/2020   WN;2210;LAS;SAN                        SOUTH CARLOS           TN                US    68311   120967594@AIRLINE.KIWI.COM
P294E3   8/7/2020   OB    8/10/2020   WN;4699;BWI;MCI                        PONTEVEDRA             ASTURIAS          ES    24258   120970234@AIRLINE.KIWI.COM
P2EMBF   8/7/2020   OB    8/23/2020   WN;6399;LAS;TUL                        TOWNSENDLAND           SD                US    71894   120970267@AIRLINE.KIWI.COM
P2EMBF   8/7/2020   OB    8/23/2020   WN;6399;LAS;TUL                        TOWNSENDLAND           SD                US    71894   120970267@AIRLINE.KIWI.COM
P2JYIV   8/7/2020   OB     8/7/2020   WN;2010;LAS;SMF                        JOHNSONTON             VT                US    41300   120970311@AIRLINE.KIWI.COM
P2X7YV   8/7/2020   OB    8/22/2020   WN;1704;BWI;LAX                        KENNEDYMOUTH           ND                US    16790   120970586@AIRLINE.KIWI.COM
P2X7YV   8/7/2020   OB    8/22/2020   WN;1704;BWI;LAX                        KENNEDYMOUTH           ND                US    16790   120970586@AIRLINE.KIWI.COM
P2X7YV   8/7/2020   OB    8/22/2020   WN;1704;BWI;LAX                        KENNEDYMOUTH           ND                US    16790   120970586@AIRLINE.KIWI.COM
P3VPM7   8/7/2020   OB   12/10/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL         SOUTH ADRIANA          HI                US    20166   120971444@AIRLINE.KIWI.COM
P58S3C   8/7/2020   OB   12/10/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL         JEREMYVIEW             MO                US    57342   120972049@AIRLINE.KIWI.COM
P5HNDU   8/7/2020   OB    8/10/2020   WN;2027;GEG;OAK                        LAKE HOLLY             CA                US    43822   120972192@AIRLINE.KIWI.COM
P6AQLG   8/7/2020   OB    8/19/2020   WN;501;BWI;SJU                         PAULTOWN               CA                US    60061   120970927@AIRLINE.KIWI.COM
P9RIEH   8/7/2020   OB    8/10/2020   WN;3350;SAT;DAL;WN;2178;DAL;MAF        EAST JEAN              CLUJ              RO    26685   120974997@AIRLINE.KIWI.COM
PBTXFX   8/7/2020   OB    9/17/2020   WN;2466;SAN;LAS;WN;2323;LAS;OAK;WN;2036JONFURT                OH                US    20815   120975107@AIRLINE.KIWI.COM
PC8D4N   8/7/2020   OB    8/22/2020   WN;1288;ABQ;MDW;WN;319;MDW;ALB         JAREDFORT              IL                US    29779   120976229@AIRLINE.KIWI.COM
PCP5HU   8/7/2020   OB    8/17/2020   WN;1757;BNA;BWI;WN;1131;BWI;BUF        NORTH COLLEEN          UT                US    54720   120976372@AIRLINE.KIWI.COM
PCP5HU   8/7/2020   RT    8/31/2020   WN;1763;BUF;MDW;WN;1250;MDW;BNA        NORTH COLLEEN          UT                US    54720   120976372@AIRLINE.KIWI.COM
PCT77H   8/7/2020   OB    8/14/2020   WN;1690;DCA;HOU                        SOUTH RACHELMOUTH      MA                US    88500   120976416@AIRLINE.KIWI.COM
PDFS7C   8/7/2020   OB     9/9/2020   WN;2092;BNA;PHL                        ANDREWSVILLE           TX                US    25615   120976988@AIRLINE.KIWI.COM
PF3DQQ   8/7/2020   OB     8/8/2020   WN;559;STL;DTW                         NEW KATHLEENBERG       HI                US    24329   120977725@AIRLINE.KIWI.COM
PHT42R   8/7/2020   OB    8/14/2020   WN;1741;LGA;MDW;WN;1371;MDW;TUS        BOLESLAVVILLE          LOVECH            BG    18427   120978330@AIRLINE.KIWI.COM
PIECW3   8/8/2020   OB    8/15/2020   WN;1097;RNO;SAN                        TRIYUGAA               PASHCHIMANCHAL    NP    48409   120978836@AIRLINE.KIWI.COM
PIF2FD   8/8/2020   OB    8/24/2020   WN;1778;LAS;ICT                        EAST ARTURTON          TARTUMAA          EE    82550   120978869@AIRLINE.KIWI.COM
PJ668U   8/8/2020   OB    8/23/2020   WN;519;SEA;OAK                         NORTH CHRISTOPHERCHE   NC                US    47559   120978957@AIRLINE.KIWI.COM
PJI55R   8/8/2020   OB    8/17/2020   WN;1568;LAS;DEN;WN;1572;DEN;CLE        NEW DANNYSHIRE         OR                US    91275   120979221@AIRLINE.KIWI.COM
PJMOVY   8/8/2020   OB    8/28/2020   WN;829;ICT;LAS                         BANDUNG                SUMATERA          ID    11042   120979078@AIRLINE.KIWI.COM
PJXKCE   8/8/2020   OB    8/14/2020   WN;296;CLE;MDW;WN;929;MDW;LAS          EAST SUSANLAND         ID                US    41512   120979221@AIRLINE.KIWI.COM
PLJOHI   8/8/2020   OB    8/17/2020   WN;227;SMF;LAX                         NEW DEANNABERG         IL                US    83701   120979826@AIRLINE.KIWI.COM
PNTQV2   8/8/2020   OB    9/26/2020   WN;750;SAN;SMF                         WEST BARBARAMOUTH      MN                US    23924   120980376@AIRLINE.KIWI.COM
PPEQAA   8/8/2020   OB    8/16/2020   WN;21;DEN;LGA                          DENISESIDE             OH                US    65332   120980651@AIRLINE.KIWI.COM
PPGZRW   8/8/2020   OB    8/11/2020   WN;1662;SLC;LAS;WN;930;LAS;SNA         EAST MANDYMOUTH        IA                US    74384   120980618@AIRLINE.KIWI.COM
PRBQCG   8/8/2020   OB    8/14/2020   WN;1331;STL;TPA                        ERIKCHESTER            MD                US    91758   120981124@AIRLINE.KIWI.COM
PS9RCE   8/8/2020   OB    8/17/2020   WN;1714;TPA;STL                        JOHNSONCHESTER         TX                US    29249   120981553@AIRLINE.KIWI.COM
PS9SXL   8/8/2020   OB     8/8/2020   WN;1864;PHL;ATL                        EAST BETHVILLE         NH                US    38378   120981443@AIRLINE.KIWI.COM
PU6NYY   8/8/2020   OB    8/14/2020   WN;618;SAN;PHX;WN;618;PHX;TUL          EAST CLAYTONLAND       ND                US    43200   120981828@AIRLINE.KIWI.COM
PWYPN8   8/8/2020   OB     8/8/2020   WN;1862;SAT;DAL;WN;1138;DAL;LGA        NEW CHRISTYVILLE       GA                US    65405   120982708@AIRLINE.KIWI.COM
PWZPJ9   8/8/2020   OB    8/22/2020   WN;1065;OAK;PHX                        VIEJA SAN VICENTE Y    SAN LUIS POTOSI   MX    37772   120982642@AIRLINE.KIWI.COM
PX2LSR   8/8/2020   OB    8/25/2020   WN;210;PHX;OAK                         SAN DARIO DE LA MONT   SAN LUIS POTOSI   MX    80557   120982653@AIRLINE.KIWI.COM
PXIU4V   8/8/2020   OB    8/16/2020   WN;1294;LAS;OAK                        NICHOLASCHESTER        MS                US    52680   120982763@AIRLINE.KIWI.COM
Q2J9RT   8/8/2020   OB    8/11/2020   WN;790;ATL;DEN;WN;816;DEN;SMF          WEST BRANDON           LA                US    12296   120983533@AIRLINE.KIWI.COM
Q33LO5   8/8/2020   OB    8/31/2020   WN;1093;DEN;RDU                        ROBERTBERG             WI                US    15789   120983687@AIRLINE.KIWI.COM
Q3UHBD   8/8/2020   OB    8/10/2020   WN;2157;HOU;MAF                        SANCHEZBURY            AL                US    42730   120983753@AIRLINE.KIWI.COM
Q45OEW   8/8/2020   OB     9/6/2020   WN;710;ELP;LAS                         SUONENJOKI             UUSIMAA           FI    38737   120983984@AIRLINE.KIWI.COM
Q45OEW   8/8/2020   OB     9/6/2020   WN;710;ELP;LAS                         SUONENJOKI             UUSIMAA           FI    38737   120983984@AIRLINE.KIWI.COM
Q45OEW   8/8/2020   OB     9/6/2020   WN;710;ELP;LAS                         SUONENJOKI             UUSIMAA           FI    38737   120983984@AIRLINE.KIWI.COM
Q45OEW   8/8/2020   OB     9/6/2020   WN;710;ELP;LAS                         SUONENJOKI             UUSIMAA           FI    38737   120983984@AIRLINE.KIWI.COM
Q45OEW   8/8/2020   OB     9/6/2020   WN;710;ELP;LAS                         SUONENJOKI             UUSIMAA           FI    38737   120983984@AIRLINE.KIWI.COM
Q4MRJT   8/8/2020   OB    8/17/2020   WN;1634;SLC;MDW                        NEW CHRISTOPHERMOUTH   AK                US    40747   120983885@AIRLINE.KIWI.COM
Q5NRSM   8/8/2020   OB    8/16/2020   WN;1293;MSY;BNA;WN;1074;BNA;PHL        WEST ANDREW            NH                US    92553   120984259@AIRLINE.KIWI.COM
Q7Z2UA   8/8/2020   OB     8/8/2020   WN;2231;SAN;LAS                        LAKE PORNCHANOK        LOEI              TH     9365   120984809@AIRLINE.KIWI.COM
Q837WO   8/8/2020   OB    8/30/2020   WN;726;LAX;BWI                         PORT DAVID             AZ                US    89098   120984754@AIRLINE.KIWI.COM
Q9E2FM   8/8/2020   OB    8/13/2020   WN;1662;SLC;LAS                        NEW JAMIE              UT                US     6745   120985018@AIRLINE.KIWI.COM
Q9E2FM   8/8/2020   RT    8/16/2020   WN;926;LAS;SLC                         NEW JAMIE              UT                US     6745   120985018@AIRLINE.KIWI.COM
QAAI93   8/8/2020   OB    8/22/2020   WN;2015;LAX;LAS;WN;2074;LAS;STL        ASHLEYTON              IL                US    79902   120985381@AIRLINE.KIWI.COM
QAOWDF   8/8/2020   OB     9/2/2020   WN;1286;IND;DAL                        MORGANSHIRE            ID                US    68156   120985612@AIRLINE.KIWI.COM
QAOWDF   8/8/2020   OB     9/2/2020   WN;1286;IND;DAL                        MORGANSHIRE            ID                US    68156   120985612@AIRLINE.KIWI.COM
QCOSH4   8/8/2020   OB    8/29/2020   WN;553;BUR;DEN;WN;1343;DEN;MSP         MARYMOUTH              IN                US    51732   120986195@AIRLINE.KIWI.COM
QM5D9Y   8/8/2020   OB    8/22/2020   WN;469;BHM;LAS                         LOUISPORT              ND                US    50224   120989572@AIRLINE.KIWI.COM
QM5D9Y   8/8/2020   OB    8/22/2020   WN;469;BHM;LAS                         LOUISPORT              ND                US    50224   120989572@AIRLINE.KIWI.COM
QM5D9Y   8/8/2020   RT    8/25/2020   WN;849;LAS;BHM                         LOUISPORT              ND                US    50224   120989572@AIRLINE.KIWI.COM
QM5D9Y   8/8/2020   RT    8/25/2020   WN;849;LAS;BHM                         LOUISPORT              ND                US    50224   120989572@AIRLINE.KIWI.COM
QTYNQA   8/8/2020   OB    8/20/2020   WN;1166;BWI;SDF;WN;1166;SDF;MDW        ALAVA                  CACERES           ES    24080   120994929@AIRLINE.KIWI.COM
QW6DVI   8/8/2020   OB    8/17/2020   WN;1014;MSY;BWI;WN;153;BWI;MHT         LAKE KELLYPORT         MA                US    95399   120996051@AIRLINE.KIWI.COM
QZ2HCS   8/8/2020   OB    8/22/2020   WN;704;OAK;SAN                         SOUTH SIRJE            POLVAMAA          EE    39772   120998020@AIRLINE.KIWI.COM
QZ2HCS   8/8/2020   OB    8/22/2020   WN;704;OAK;SAN                         SOUTH SIRJE            POLVAMAA          EE    39772   120998020@AIRLINE.KIWI.COM
QZ2HCS   8/8/2020   OB    8/22/2020   WN;704;OAK;SAN                         SOUTH SIRJE            POLVAMAA          EE    39772   120998020@AIRLINE.KIWI.COM
QZHKW6   8/8/2020   OB     9/3/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT        COLLEENSIDE            SC                US    35313   120998702@AIRLINE.KIWI.COM
R5WPYV   8/8/2020   OB    8/17/2020   WN;913;DCA;MCI                         VALENCIA               LUGO              ES     6034   120994324@AIRLINE.KIWI.COM
RC6ISI   8/8/2020   OB     9/5/2020   WN;692;DCA;DAL                         NEW AMY                NH                US    97462   121006292@AIRLINE.KIWI.COM
RKII6D   8/8/2020   OB    8/13/2020   WN;505;ATL;MDW                         JONBERG                NE                US    76441   121012529@AIRLINE.KIWI.COM
RKII6D   8/8/2020   OB    8/13/2020   WN;505;ATL;MDW                         JONBERG                NE                US    76441   121012529@AIRLINE.KIWI.COM
RKII6D   8/8/2020   RT    8/13/2020   WN;623;MDW;ATL                         JONBERG                NE                US    76441   121012529@AIRLINE.KIWI.COM
RKII6D   8/8/2020   RT    8/13/2020   WN;623;MDW;ATL                         JONBERG                NE                US    76441   121012529@AIRLINE.KIWI.COM
RKJ3SO   8/8/2020   OB    8/20/2020   WN;1323;DEN;PHX                        EAST VANESSAMOUTH      NV                US     9196   121008063@AIRLINE.KIWI.COM
RLZXDY   8/8/2020   OB    8/31/2020   WN;952;ATL;BNA                         JOHNHAVEN              VA                US    90758   121013046@AIRLINE.KIWI.COM
RMFR39   8/8/2020   OB    8/29/2020   WN;1130;ORF;BWI;WN;1623;BWI;SAT        NUEVA BOLIVIA          CAMPECHE          MX      593   121013805@AIRLINE.KIWI.COM
RNTAKJ   8/8/2020   OB    8/10/2020   WN;476;LAS;BUR                         SOUTH JOSEPH           NJ                US    98690   121014256@AIRLINE.KIWI.COM
ROTRVH   8/8/2020   OB    8/17/2020   WN;1421;BNA;FLL                        TUCKERCHESTER          VA                US    84705   121014982@AIRLINE.KIWI.COM
RR4KNC   8/8/2020   OB     9/4/2020   WN;1406;ELP;DAL;WN;1033;DAL;AMA        NEW BRIANSTAD          OH                US    52534   121016170@AIRLINE.KIWI.COM
RRMJM5   8/8/2020   OB     8/9/2020   WN;2174;ATL;DCA;WN;2174;DCA;MDW        CORYCHESTER            PA                US    86202   121016874@AIRLINE.KIWI.COM
RT6KKS   8/8/2020   OB    8/11/2020   WN;398;ATL;FLL                         BRBOROUGH              TUBAS             PS    24035   121017413@AIRLINE.KIWI.COM
RTMFCU   8/8/2020   OB    8/15/2020   WN;1313;ELP;HOU;WN;1457;HOU;RDU        NEW JEFFREY            SD                US    66243   121018612@AIRLINE.KIWI.COM
RUAWBR   8/8/2020   OB    8/20/2020   WN;1175;JAX;ATL;WN;1175;ATL;MDW        BRANDTPORT             SYDDANMARK        DK    77669   121018524@AIRLINE.KIWI.COM




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RUGOCY    8/8/2020   OB    8/18/2020   WN;1323;BDL;DEN                           ANAIDABOROUGH          VALCEA                RO   97507   121018700@AIRLINE.KIWI.COM
RX7GWC    8/8/2020   OB    8/17/2020   WN;1228;LAX;BWI                           NORTH ALEXSTAD         KS                    US   25993   121021736@AIRLINE.KIWI.COM
RXCUV4    8/8/2020   OB    8/17/2020   WN;1228;LAX;BWI                           COLLINSBURGH           WI                    US   93474   121021648@AIRLINE.KIWI.COM
RZ2ZJF    8/8/2020   OB     8/8/2020   WN;1413;DEN;OMA                           EAST XAVIER            GA                    US   10355   121022748@AIRLINE.KIWI.COM
S3JYTO    8/8/2020   OB     8/8/2020   WN;1346;LAX;LAS                           NOAHPORT               AL                    US    4169   121024783@AIRLINE.KIWI.COM
S6REIT    8/8/2020   OB     8/9/2020   WN;1220;SDF;MDW                           PORT KATHERINEPORT     NJ                    US   62347   121026752@AIRLINE.KIWI.COM
S8EESN    8/8/2020   OB    9/11/2020   WN;2229;CMH;ATL                           BORY                   NITRIANSKY KRAJ       SK    3752   121028215@AIRLINE.KIWI.COM
SARAUB    8/8/2020   OB    10/8/2020   WN;945;MDW;BNA                            LAKE JOANHAVEN         NOVA SCOTIA           CA   78719   121030635@AIRLINE.KIWI.COM
SARAUB    8/8/2020   RT   10/11/2020   WN;2505;BNA;MDW                           LAKE JOANHAVEN         NOVA SCOTIA           CA   78719   121030635@AIRLINE.KIWI.COM
SAUFM4    8/8/2020   OB   11/20/2020   WN;1522;SMF;LAX;WN;1522;LAX;DEN;WN;288 WEAVERBURGH               AZ                    US   88129   121030052@AIRLINE.KIWI.COM
SD89LS    8/8/2020   OB     9/3/2020   WN;1613;SEA;MDW;WN;510;MDW;ALB            ESPARZASTAD            CO                    US   68516   121031812@AIRLINE.KIWI.COM
SDAOCC    8/8/2020   OB    9/12/2020   WN;102;LAS;PHX                            NEW MELISSA            TX                    US   99926   121032373@AIRLINE.KIWI.COM
SDAOCC    8/8/2020   OB    9/12/2020   WN;102;LAS;PHX                            NEW MELISSA            TX                    US   99926   121032373@AIRLINE.KIWI.COM
SE4DNF    8/8/2020   OB    8/20/2020   WN;2534;SEA;RNO                           CEUTA                  PALENCIA              ES   60380   121024816@AIRLINE.KIWI.COM
SER9PP    8/8/2020   OB    8/14/2020   WN;257;ATL;DAL;WN;562;DAL;SAN             EAST LORRAINEFURT      VA                    US   59227   121033473@AIRLINE.KIWI.COM
SF589U    8/8/2020   OB    8/13/2020   WN;1014;MSY;BWI                           WHITNEYMOUTH           IA                    US   82665   121033627@AIRLINE.KIWI.COM
SFQEG9    8/8/2020   OB    8/18/2020   WN;588;MSP;STL;WN;1752;STL;DCA            HORNCHESTER            AZ                    US   63561   121033869@AIRLINE.KIWI.COM
SFQEG9    8/8/2020   OB    8/18/2020   WN;588;MSP;STL;WN;1752;STL;DCA            HORNCHESTER            AZ                    US   63561   121033869@AIRLINE.KIWI.COM
SG4RZZ    8/8/2020   OB    8/23/2020   WN;912;HOU;BNA;WN;1020;BNA;BOS            SOUTH CASSANDRALAND    NC                    US   52946   121034155@AIRLINE.KIWI.COM
SGDLR6    8/8/2020   OB     8/9/2020   WN;1316;LAX;SMF                           D BIISK                AMURSKAYA OBLAST      RU   64492   121034232@AIRLINE.KIWI.COM
SGDLR6    8/8/2020   RT   10/19/2020   WN;2588;SMF;LAX                           D BIISK                AMURSKAYA OBLAST      RU   64492   121034232@AIRLINE.KIWI.COM
SJ7FYG    8/8/2020   OB    8/11/2020   WN;1020;BNA;BOS                           STEPHANIETOWN          NM                    US   89589   121035992@AIRLINE.KIWI.COM
SJVGTJ    8/8/2020   OB    8/22/2020   WN;707;PHX;SAN                            SOUTH TYLER            KY                    US   76136   121036850@AIRLINE.KIWI.COM
SLJTGB    8/8/2020   OB    8/24/2020   WN;936;FLL;MCO                            PATRICKSIDE            MS                    US   96618   121037719@AIRLINE.KIWI.COM
SLYA3C    8/8/2020   OB    8/13/2020   WN;630;IAD;DEN;WN;720;DEN;SJD             WEST KEITHTOWN         LARNAKA               CY   41780   121038049@AIRLINE.KIWI.COM
SOFPRV    8/8/2020   OB    8/14/2020   WN;1307;SMF;LGB                           SOUTH JESSICAFURT      SD                    US   59882   121039028@AIRLINE.KIWI.COM
SOFPRV    8/8/2020   OB    8/14/2020   WN;1307;SMF;LGB                           SOUTH JESSICAFURT      SD                    US   59882   121039028@AIRLINE.KIWI.COM
SOLL2E    8/8/2020   OB    8/15/2020   WN;378;ATL;LAS;WN;1187;LAS;OAK            EAST STEVENSTAD        AR                    US   51112   121039039@AIRLINE.KIWI.COM
SOOJTY    8/8/2020   OB    8/13/2020   WN;793;LGB;SMF                            ELLISSTAD              NY                    US   87300   121039028@AIRLINE.KIWI.COM
SOOJTY    8/8/2020   OB    8/13/2020   WN;793;LGB;SMF                            ELLISSTAD              NY                    US   87300   121039028@AIRLINE.KIWI.COM
SOTXOX    8/8/2020   OB    8/18/2020   WN;1438;SAT;MCO;WN;176;MCO;MHT            CASTILLOTON            NE                    US   69432   121039314@AIRLINE.KIWI.COM
SQTGJC    8/8/2020   OB     8/9/2020   WN;295;TPA;FLL                            PORT ERICLAND          OR                    US   96484   121040051@AIRLINE.KIWI.COM
SQWI2M    8/8/2020   OB    8/11/2020   WN;500;DTW;BWI;WN;1699;BWI;ORF            DAVIDMOUTH             SC                    US   93301   121040392@AIRLINE.KIWI.COM
SQWI2M    8/8/2020   OB    8/11/2020   WN;500;DTW;BWI;WN;1699;BWI;ORF            DAVIDMOUTH             SC                    US   93301   121040392@AIRLINE.KIWI.COM
SRFCEC    8/8/2020   OB    8/12/2020   WN;1597;LAX;OAK                           LAKE HEATHER           DE                    US   22838   121040579@AIRLINE.KIWI.COM
ST8SPB    8/8/2020   OB    8/28/2020   WN;1630;BUR;OAK                           NEW CRAIG              TN                    US   50785   121041404@AIRLINE.KIWI.COM
ST8SPB    8/8/2020   RT    8/30/2020   WN;1048;OAK;BUR                           NEW CRAIG              TN                    US   50785   121041404@AIRLINE.KIWI.COM
SY55BX    8/8/2020   OB     8/9/2020   WN;331;LGA;MDW;WN;1713;MDW;CVG            SOUTH TREVORCHESTER    ME                    US   80966   121043417@AIRLINE.KIWI.COM
SYWAL9    8/8/2020   OB    8/20/2020   WN;179;LAX;PHX                            SOUTH DANIEL           NJ                    US   77751   121043725@AIRLINE.KIWI.COM
T6NUZI    8/9/2020   OB    8/30/2020   WN;1218;PIT;ATL;WN;1218;ATL;JAX           LAKE JASONSHIRE        OH                    US   95333   121045276@AIRLINE.KIWI.COM
T8HQW7    8/9/2020   OB    8/22/2020   WN;1932;ONT;OAK;WN;1381;OAK;SEA           CRAIGSHIRE             ME                    US    1415   121045386@AIRLINE.KIWI.COM
T8O4SQ    8/9/2020   OB    8/20/2020   WN;1015;JAX;HOU;WN;438;HOU;OAK            THOMASMOUTH            UT                    US   55942   121045485@AIRLINE.KIWI.COM
TBSV3T    8/9/2020   OB    8/22/2020   WN;1775;BNA;ECP                           JUSTINMOUTH            NM                    US   60950   121045980@AIRLINE.KIWI.COM
TBSV3T    8/9/2020   RT    8/26/2020   WN;510;ECP;BNA                            JUSTINMOUTH            NM                    US   60950   121045980@AIRLINE.KIWI.COM
TDL3SL    8/9/2020   OB    8/16/2020   WN;568;MDW;DCA                            SHERITON               FL                    US   74469   121046530@AIRLINE.KIWI.COM
TDQ7SR    8/9/2020   OB    8/14/2020   WN;269;DCA;BNA;WN;269;BNA;MDW             JUSTINBERG             NE                    US   40805   121046530@AIRLINE.KIWI.COM
TETWPE    8/9/2020   OB    8/29/2020   WN;1945;BOI;DEN;WN;1371;DEN;MCO           EAST TIMOTHYLAND       WA                    US   22881   121046618@AIRLINE.KIWI.COM
TF2RDV    8/9/2020   OB     9/5/2020   WN;1708;MCO;DEN;WN;233;DEN;BOI            NEW GERALD             MN                    US   78902   121046618@AIRLINE.KIWI.COM
THTBX2    8/9/2020   OB     8/9/2020   WN;1480;MCI;MDW;WN;2044;MDW;STL           MARTHAVIEW             UT                    US   43049   121047168@AIRLINE.KIWI.COM
TJBLBT    8/9/2020   OB     8/9/2020   WN;1856;LAS;MDW;WN;1856;MDW;FLL           PORT TONY              MO                    US   15810   121047476@AIRLINE.KIWI.COM
TJJOQC    8/9/2020   OB    8/21/2020   WN;101;AUS;STL;WN;621;STL;CLE             GILLESPIETOWN          IL                    US   28101   121047509@AIRLINE.KIWI.COM
TJLSL9    8/9/2020   OB    8/15/2020   WN;173;BOS;MDW                            JOSEPHVIEW             MT                    US    5508   121047652@AIRLINE.KIWI.COM
TJLSL9    8/9/2020   OB    8/15/2020   WN;173;BOS;MDW                            JOSEPHVIEW             MT                    US    5508   121047652@AIRLINE.KIWI.COM
TJLSL9    8/9/2020   OB    8/15/2020   WN;173;BOS;MDW                            JOSEPHVIEW             MT                    US    5508   121047652@AIRLINE.KIWI.COM
TOEMWN    8/9/2020   OB    8/15/2020   WN;807;DCA;STL;WN;53;STL;ICT;WN;53;ICT;LA NEW MICHELLE           CA                    US   91160   121048532@AIRLINE.KIWI.COM
TOEMWN    8/9/2020   RT    8/17/2020   WN;1704;LAS;MDW;WN;1288;MDW;DCA           NEW MICHELLE           CA                    US   91160   121048532@AIRLINE.KIWI.COM
TQHMZ4    8/9/2020   OB    8/17/2020   WN;1014;MSY;BWI;WN;153;BWI;MHT            EAST PHILIP            KINGSTON UPON HULL    GB   65106   121048961@AIRLINE.KIWI.COM
TQHMZ4    8/9/2020   RT    8/19/2020   WN;1592;MHT;BWI;WN;1020;BWI;MSY           EAST PHILIP            KINGSTON UPON HULL    GB   65106   121048961@AIRLINE.KIWI.COM
TQIH6T    8/9/2020   OB    8/19/2020   WN;1260;SLC;OAK;WN;1540;OAK;GEG           SOUTH MICHAELBERG      MT                    US   42076   121048884@AIRLINE.KIWI.COM
TQUOWI    8/9/2020   OB    8/16/2020   WN;829;LAS;DEN;WN;1371;DEN;MCO            EAST CHARLENE          NC                    US   90598   121048873@AIRLINE.KIWI.COM
TVYVPR    8/9/2020   OB    8/10/2020   WN;2181;BNA;TPA                           BARBOSA                FERNANDO DE NORONHA   BR   34658   121050303@AIRLINE.KIWI.COM
TWA7T9    8/9/2020   OB    8/11/2020   WN;1503;SMF;SNA                           NORTH BRANDY           WV                    US    6464   121050446@AIRLINE.KIWI.COM
TWHXXJ    8/9/2020   OB     8/9/2020   WN;1427;SLC;LAS;WN;6568;LAS;TUL           ADAMMOUTH              NC                    US   29520   121050633@AIRLINE.KIWI.COM
TWT4WX    8/9/2020   OB    8/12/2020   WN;1022;SNA;SJC                           ADAMSPORT              AK                    US   10340   121050677@AIRLINE.KIWI.COM
TY98GB    8/9/2020   OB    8/23/2020   WN;159;FLL;SJU                            NEW SARASIDE           MN                    US   77897   121050864@AIRLINE.KIWI.COM
TYAIPL    8/9/2020   OB     8/9/2020   WN;986;LAX;SMF                            WEST KAYLASTAD         ND                    US    9019   121051040@AIRLINE.KIWI.COM
U2UP6Q    8/9/2020   OB     8/9/2020   WN;750;IND;DEN;WN;673;DEN;LAS             NORTH KAITLIN          ID                    US   82291   121052140@AIRLINE.KIWI.COM
U3SFKM    8/9/2020   OB     8/9/2020   WN;750;IND;DEN;WN;673;DEN;LAS             NORTH TREVORMOUTH      SC                    US   38052   121052635@AIRLINE.KIWI.COM
U4UFMI    8/9/2020   OB    8/16/2020   WN;1136;LGA;HOU                           HERNANDEZMOUTH         NV                    US   15875   120536416.1413850@AIRLINE.KIWI.COM
U5GBSW    8/9/2020   OB    8/12/2020   WN;518;DAL;LAS;WN;518;LAS;SMF             SAN FELIX DE LA MONT   SINALOA               MX   95925   121053163@AIRLINE.KIWI.COM
U5GBSW    8/9/2020   OB    8/12/2020   WN;518;DAL;LAS;WN;518;LAS;SMF             SAN FELIX DE LA MONT   SINALOA               MX   95925   121053163@AIRLINE.KIWI.COM
U8IWHH    8/9/2020   OB    8/12/2020   WN;1334;MEM;MDW                           ROYMOUTH               IA                    US   54901   121055154@AIRLINE.KIWI.COM
U8IWHH    8/9/2020   RT    8/18/2020   WN;591;MDW;MEM                            ROYMOUTH               IA                    US   54901   121055154@AIRLINE.KIWI.COM
ULPP9C    8/9/2020   OB     8/9/2020   WN;595;LAS;ONT                            BERRYMOUTH             UT                    US   79873   121063085@AIRLINE.KIWI.COM
UUZHLQ    8/9/2020   OB    8/14/2020   WN;504;DCA;ATL                            VERONICASIDE           HI                    US   97974   121069388@AIRLINE.KIWI.COM
UZ8KOB    8/9/2020   OB    8/11/2020   WN;427;SDF;MCO                            NORTH DANIELLEFURT     RI                    US   46870   121072600@AIRLINE.KIWI.COM
UZXSNF    8/9/2020   OB    8/20/2020   WN;913;DCA;MCI;WN;133;MCI;LAS             NORTH SARAHFURT        VA                    US   70054   121072721@AIRLINE.KIWI.COM
V2F7XE    8/9/2020   OB    8/23/2020   WN;146;LAS;MDW;WN;568;MDW;DCA             LAKE MEGHANLAND        MO                    US   91953   121073040@AIRLINE.KIWI.COM
V2RI5Q    8/9/2020   OB    8/20/2020   WN;913;DCA;MCI;WN;133;MCI;LAS             MELISSAFURT            VT                    US   77907   121073282@AIRLINE.KIWI.COM
V8ZR45    8/9/2020   OB    8/10/2020   WN;2362;ATL;PIT                           SOUTH BRANDYMOUTH      MA                    US   44662   121078397@AIRLINE.KIWI.COM
V9YVKU    8/9/2020   OB    8/23/2020   WN;537;FLL;STL;WN;829;STL;ICT             HAINFELD               KARNTEN               AT   15200   121079420@AIRLINE.KIWI.COM
VB6ITN    8/9/2020   OB    8/27/2020   WN;1131;BOS;BWI                           ST MICHAEL             NEW SOUTH WALES       AU   29835   121080300@AIRLINE.KIWI.COM
VGKZ66    8/9/2020   OB    8/23/2020   WN;1096;ATL;DAL;WN;1089;DAL;OAK           WRIGHTVILLE            ISLA                  MT   25530   121083622@AIRLINE.KIWI.COM
VJD5L8    8/9/2020   OB    8/17/2020   WN;338;CVG;MDW;WN;3334;MDW;SMF            LAKE JOSEPHBOROUGH     ME                    US   70657   121084612@AIRLINE.KIWI.COM
VKHTO3    8/9/2020   OB    8/14/2020   WN;1597;LAX;OAK                           JUANSTAD               MA                    US   71915   121086350@AIRLINE.KIWI.COM
VMZEQG    8/9/2020   OB    9/23/2020   WN;3232;HOU;OKC                           GLOVERBERG             FL                    US   89934   121085283@AIRLINE.KIWI.COM
VMZEQG    8/9/2020   OB    9/23/2020   WN;3232;HOU;OKC                           GLOVERBERG             FL                    US   89934   121085283@AIRLINE.KIWI.COM
VMZJ43    8/9/2020   OB     9/3/2020   WN;867;CLT;BWI                            WEST SARAHLAND         GA                    US   47229   121085635@AIRLINE.KIWI.COM
VO42PS    8/9/2020   OB    8/21/2020   WN;398;ATL;FLL                            NORTH ELIZABETH        OR                    US   66544   121089309@AIRLINE.KIWI.COM
VO42PS    8/9/2020   OB    8/21/2020   WN;398;ATL;FLL                            NORTH ELIZABETH        OR                    US   66544   121089309@AIRLINE.KIWI.COM
VO42PS    8/9/2020   OB    8/21/2020   WN;398;ATL;FLL                            NORTH ELIZABETH        OR                    US   66544   121089309@AIRLINE.KIWI.COM
VO42PS    8/9/2020   OB    8/21/2020   WN;398;ATL;FLL                            NORTH ELIZABETH        OR                    US   66544   121089309@AIRLINE.KIWI.COM
VO42PS    8/9/2020   OB    8/21/2020   WN;398;ATL;FLL                            NORTH ELIZABETH        OR                    US   66544   121089309@AIRLINE.KIWI.COM
VP4MLM    8/9/2020   OB    8/18/2020   WN;784;LGA;DEN;WN;829;DEN;ELP             SOUTH MARVIN           FL                    US   24698   121089914@AIRLINE.KIWI.COM
VP4MLM    8/9/2020   RT     9/3/2020   WN;1424;ELP;HOU;WN;1729;HOU;LGA           SOUTH MARVIN           FL                    US   24698   121089914@AIRLINE.KIWI.COM
VP5N7K    8/9/2020   OB    8/11/2020   WN;1767;LAX;DAL                           KLKH TIKSI             KALUZHSKAYA OBLAST    RU   58713   121090013@AIRLINE.KIWI.COM
VQKVF9    8/9/2020   OB    8/16/2020   WN;1629;LAS;SFO                           PERRYCHESTER           OR                    US   71606   121050171.1414454@AIRLINE.KIWI.COM
VSD2PO    8/9/2020   OB     9/6/2020   WN;1456;LAS;TUS                           WOODVILLE              MA                    US   31325   121092840@AIRLINE.KIWI.COM
VSSUF3    8/9/2020   OB    8/30/2020   WN;1572;TUS;LAS                           THOMASVILLE            WY                    US   16424   121092851@AIRLINE.KIWI.COM
VTKUCH    8/9/2020   OB    8/13/2020   WN;441;RIC;ATL                            WEST SHANNONPORT       VA                    US   72522   121093819@AIRLINE.KIWI.COM
VTKUCH    8/9/2020   OB    8/13/2020   WN;441;RIC;ATL                            WEST SHANNONPORT       VA                    US   72522   121093819@AIRLINE.KIWI.COM
VTKUCH    8/9/2020   OB    8/13/2020   WN;441;RIC;ATL                            WEST SHANNONPORT       VA                    US   72522   121093819@AIRLINE.KIWI.COM
VYKV5N    8/9/2020   OB    8/14/2020   WN;525;ELP;LAS                            NEW MELISSA            SD                    US   90623   121097680@AIRLINE.KIWI.COM
VYKV5N    8/9/2020   OB    8/14/2020   WN;525;ELP;LAS                            NEW MELISSA            SD                    US   90623   121097680@AIRLINE.KIWI.COM
VYOKOZ    8/9/2020   OB     8/9/2020   WN;1939;SFO;BUR                           WEST TAYLORPORT        IL                    US    8496   121098494@AIRLINE.KIWI.COM
VZSF4E    8/9/2020   OB    8/19/2020   WN;378;SEA;MDW;WN;1288;MDW;DCA            SOUTH SHANNONBOROUGH   NV                    US    5365   121098956@AIRLINE.KIWI.COM
W26ZC4    8/9/2020   OB    8/27/2020   WN;623;DCA;MDW;WN;1791;MDW;SEA            LAKE JOHNLAND          ID                    US   17535   121099473@AIRLINE.KIWI.COM




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W37VU7    8/9/2020   OB    8/12/2020   WN;1194;LAS;LAX                   NORTH JOSEPHFORT       MA                         US   91814   121099836@AIRLINE.KIWI.COM
W37VU7    8/9/2020   OB    8/12/2020   WN;1194;LAS;LAX                   NORTH JOSEPHFORT       MA                         US   91814   121099836@AIRLINE.KIWI.COM
W6WBXM    8/9/2020   OB    8/21/2020   WN;910;DCA;MCO                    AGRIPINAVIEW           BRASOV                     RO   48775   121102476@AIRLINE.KIWI.COM
W8N35R    8/9/2020   OB    8/16/2020   WN;759;FLL;BWI                    WASHINGTONTOWN         QUEENSLAND                 AU   96079   121102740@AIRLINE.KIWI.COM
WDMYVZ    8/9/2020   OB    8/17/2020   WN;851;LAS;BWI;WN;3361;BWI;PWM    JVARI                  ABKHAZIA                   GE   55221   121105358@AIRLINE.KIWI.COM
WGJ3QT    8/9/2020   OB    8/24/2020   WN;235;SLC;DEN                    ARMSTRONGPORT          LA                         US   62591   121106414@AIRLINE.KIWI.COM
J2C72H   8/10/2020   OB    8/12/2020   WN;226;MCO;STL;WN;1064;STL;LAX    BROWNCHESTER           MI                         US   62891   121110847@AIRLINE.KIWI.COM
J626IM   8/10/2020   OB    8/20/2020   WN;1092;OAK;MDW;WN;1589;MDW;DTW   STACYTOWN              NC                         US   76508   121111628@AIRLINE.KIWI.COM
J66M36   8/10/2020   OB    8/14/2020   WN;1335;LAX;LAS                   JOSEFURT               NH                         US   45574   121111749@AIRLINE.KIWI.COM
J6CGER   8/10/2020   OB   11/21/2020   WN;1794;MCO;DEN                   LAKE JENNIFERCHESTER   CO                         US    3590   121111804@AIRLINE.KIWI.COM
J6CGER   8/10/2020   OB   11/21/2020   WN;1794;MCO;DEN                   LAKE JENNIFERCHESTER   CO                         US    3590   121111804@AIRLINE.KIWI.COM
J6D6MT   8/10/2020   OB    8/12/2020   WN;1116;ATL;TPA                   PORT ASHLEY            ID                         US   57916   121111617@AIRLINE.KIWI.COM
J6THMK   8/10/2020   OB    8/10/2020   WN;726;KOA;HNL                    ELIZABETHMOUTH         MI                         US   11901   121111859@AIRLINE.KIWI.COM
J9BHHG   8/10/2020   OB    8/17/2020   WN;1405;SFO;MDW;WN;787;MDW;CLE    RICHARDBURY            TX                         US   75383   121112442@AIRLINE.KIWI.COM
JAXOYD   8/10/2020   OB    8/24/2020   WN;1681;LBB;DAL;WN;411;DAL;MKE    JONATHANSIDE           NM                         US    3492   121112651@AIRLINE.KIWI.COM
JD8ZIA   8/10/2020   OB    8/10/2020   WN;3888;STL;TPA                   LAKE SHHB              HEBRON                     PS   77461   121113080@AIRLINE.KIWI.COM
JE2R4V   8/10/2020   OB    8/17/2020   WN;1715;LAS;LAX                   MARTINEZVIEW           TX                         US   46205   121113399@AIRLINE.KIWI.COM
JFQ6QR   8/10/2020   OB     9/2/2020   WN;1498;SNA;LAS                   NEW JOSHUA             NY                         US   32611   121113938@AIRLINE.KIWI.COM
JGHAQ7   8/10/2020   OB     9/5/2020   WN;2627;LAS;SNA                   EAST AARONTOWN         NJ                         US   72839   121114136@AIRLINE.KIWI.COM
JGJXZ8   8/10/2020   OB     9/6/2020   WN;2522;SMF;LAX                   LI XIAN                GUANGXI ZHUANGZU ZIZHIQU   CN   93896   121113278@AIRLINE.KIWI.COM
JJK32A   8/10/2020   OB    8/22/2020   WN;1437;LAS;SAN                   WHITNEYTON             TX                         US   47939   121115621@AIRLINE.KIWI.COM
JSTJJQ   8/10/2020   OB    8/10/2020   WN;1006;GSP;ATL;WN;1308;ATL;IAD   NORTH SUSANBOROUGH     ND                         US   96338   121122991@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JVVQYW   8/10/2020   OB    8/18/2020   WN;345;LAX;PHX;WN;1319;PHX;ICT    CLARKTON               MO                         US   98869   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
JWMZO4   8/10/2020   OB    8/31/2020   WN;829;ICT;LAS;WN;1735;LAS;LAX    NORTH STEPHANIEHAVEN   AZ                         US   56577   121115984@AIRLINE.KIWI.COM
K3R8OM   8/10/2020   OB    8/23/2020   WN;5701;BHM;MCO;WN;1438;MCO;PHX   NORTH MELVIN           WV                         US   88908   121133265@AIRLINE.KIWI.COM
K5MZCG   8/10/2020   OB    8/10/2020   WN;422;LAS;BWI                    NEW DAVIDSHIRE         NC                         US   71814   121134376@AIRLINE.KIWI.COM
KFISEZ   8/10/2020   OB    8/10/2020   WN;1242;MCO;SJU                   LEAHBOROUGH            VA                         US   58637   117708613.1415208@AIRLINE.KIWI.COM
KHUY7A   8/10/2020   OB    8/10/2020   WN;465;ATL;RDU                    LAKE RACHELTOWN        AR                         US   40621   121150073@AIRLINE.KIWI.COM
KJMZ7N   8/10/2020   OB    8/11/2020   WN;293;MDW;ATL                    HUNTBURY               AL QALYUBIYAH              EG   92416   121151327@AIRLINE.KIWI.COM
KJMZ7N   8/10/2020   OB    8/11/2020   WN;293;MDW;ATL                    HUNTBURY               AL QALYUBIYAH              EG   92416   121151327@AIRLINE.KIWI.COM
KLHNNV   8/10/2020   OB    8/17/2020   WN;259;LAS;STL                    SOUTH SUSAN            ME                         US   91837   121153538@AIRLINE.KIWI.COM
KM77EV   8/10/2020   OB    8/10/2020   WN;2182;ATL;FLL                   SHANNONPORT            RI                         US   31060   121154924@AIRLINE.KIWI.COM
KMMT6H   8/10/2020   OB    8/31/2020   WN;571;BWI;ROC                    BOZI DAR               PREROV                     CZ   88978   121155518@AIRLINE.KIWI.COM
KMMT6H   8/10/2020   OB    8/31/2020   WN;571;BWI;ROC                    BOZI DAR               PREROV                     CZ   88978   121155518@AIRLINE.KIWI.COM
KNLANO   8/10/2020   OB    8/24/2020   WN;1417;LAS;OAK                   CARLCHESTER            NM                         US   67163   121156387@AIRLINE.KIWI.COM
KOY7D7   8/10/2020   OB    8/28/2020   WN;163;MEM;HOU                    GUYBERG                FL                         US   49515   121157971@AIRLINE.KIWI.COM
KVT6ZS   8/10/2020   OB    8/10/2020   WN;461;ATL;RIC                    LAKE LEAH              ID                         US   30063   121163878@AIRLINE.KIWI.COM
KXNCBO   8/10/2020   OB    8/20/2020   WN;136;OAK;MSY                    SOUTH LORI             KY                         US   22151   121166001@AIRLINE.KIWI.COM
KYZ3GR   8/10/2020   OB    8/11/2020   WN;1699;BWI;ORF                   ROCHLITZ               BAYERN                     DE   13719   121167200@AIRLINE.KIWI.COM
L75XYF   8/10/2020   OB     9/3/2020   WN;1657;DEN;SDF                   LAKE JASON             WI                         US   79828   121162503@AIRLINE.KIWI.COM
L75XYF   8/10/2020   OB     9/3/2020   WN;1657;DEN;SDF                   LAKE JASON             WI                         US   79828   121162503@AIRLINE.KIWI.COM
L77BLX   8/10/2020   OB    8/10/2020   WN;2182;ATL;FLL                   WEST RYANPORT          SD                         US   76945   121172656@AIRLINE.KIWI.COM
L8SWWX   8/10/2020   OB    8/10/2020   WN;1518;ONT;SJC                   PORT TODDLAND          ID                         US   73985   121174636@AIRLINE.KIWI.COM
LC9WPI   8/10/2020   OB    8/11/2020   WN;892;LAS;LAX                    ERICSHIRE              TN                         US   42832   121178068@AIRLINE.KIWI.COM
LCQHGS   8/10/2020   OB    8/28/2020   WN;1317;SNA;LAS                   WEST WILLIAMBOROUGH    IA                         US   34743   121179047@AIRLINE.KIWI.COM
LDARW7   8/10/2020   OB     9/4/2020   WN;185;CLT;BWI;WN;185;BWI;MCO     PATRICKBURY            OK                         US   67927   121179487@AIRLINE.KIWI.COM
LDD3RU   8/10/2020   OB    8/11/2020   WN;1509;LAS;DEN;WN;1509;DEN;OKC   DOUGLASSIDE            VT                         US   88145   121178860@AIRLINE.KIWI.COM
LF9V6G   8/10/2020   OB    8/30/2020   WN;4008;LAS;SNA                   SOUTH SUSAN            NJ                         US   53992   121180708@AIRLINE.KIWI.COM
LGA6X3   8/10/2020   OB    8/24/2020   WN;1304;MCI;ATL                   STEVENMOUTH            SC                         US   65207   121181632@AIRLINE.KIWI.COM
LHG9YC   8/10/2020   OB     9/9/2020   WN;1306;BHM;MCO;WN;1603;MCO;MDW   TAYLORCHESTER          KS                         US   96413   121182776@AIRLINE.KIWI.COM
LIAMG6   8/10/2020   OB    8/27/2020   WN;107;BDL;BWI                    PORT JAMESMOUTH        IA                         US   49252   121184547@AIRLINE.KIWI.COM
LIQRQP   8/10/2020   OB     9/3/2020   WN;1003;SJC;LAS                   NEW ELIZABETHPORT      VA                         US   58614   121185097@AIRLINE.KIWI.COM
LIQRQP   8/10/2020   OB     9/3/2020   WN;1003;SJC;LAS                   NEW ELIZABETHPORT      VA                         US   58614   121185097@AIRLINE.KIWI.COM
LJ7PXC   8/10/2020   OB    8/10/2020   WN;2149;LAX;LAS                   HAWKINSMOUTH           NM                         US   75543   121184855@AIRLINE.KIWI.COM
LJL6KY   8/10/2020   OB    8/10/2020   WN;2149;LAX;LAS                   LAKE WALTER            DE                         US    7910   121185526@AIRLINE.KIWI.COM
LKTSRS   8/10/2020   OB    8/11/2020   WN;1800;SJU;TPA                   NEW JAMESFURT          WA                         US   42100   121187066@AIRLINE.KIWI.COM
LLRIFG   8/10/2020   OB    8/13/2020   WN;333;RDU;BWI                    DIASBOEUF              NOUVELLEAQUITAINE          FR   91946   121187792@AIRLINE.KIWI.COM
LMDSRH   8/10/2020   OB    8/15/2020   WN;1825;BWI;RDU                   STOCKHOLM              BLEKINGE LAN               SE   35043   121187792@AIRLINE.KIWI.COM
LN8TXV   8/10/2020   OB    8/12/2020   WN;1359;LAX;SFO                   NICHOLASVILLE          MA                         US   95142   121189420@AIRLINE.KIWI.COM
LN8TXV   8/10/2020   OB    8/12/2020   WN;1359;LAX;SFO                   NICHOLASVILLE          MA                         US   95142   121189420@AIRLINE.KIWI.COM
LN8TXV   8/10/2020   OB    8/12/2020   WN;1359;LAX;SFO                   NICHOLASVILLE          MA                         US   95142   121189420@AIRLINE.KIWI.COM
LNKQ9J   8/10/2020   OB    9/21/2020   WN;932;LAS;OAK                    PORT KEVIN             MS                         US    4776   121189552@AIRLINE.KIWI.COM
LOAYY9   8/10/2020   OB    8/13/2020   WN;825;SLC;OAK;WN;246;OAK;PDX     DAVIDVILLE             WI                         US    5803   121190190@AIRLINE.KIWI.COM
LOEXHI   8/10/2020   OB    8/18/2020   WN;1242;BWI;CHS                   NORTH JUDY             OH                         US   97257   121190487@AIRLINE.KIWI.COM
LPS5GJ   8/10/2020   OB    8/11/2020   WN;640;SJC;PHX;WN;1319;PHX;ICT    FINLEYTOWN             WV                         US   20029   121191543@AIRLINE.KIWI.COM
LPS5GJ   8/10/2020   RT    8/18/2020   WN;829;ICT;LAS;WN;1570;LAS;SJC    FINLEYTOWN             WV                         US   20029   121191543@AIRLINE.KIWI.COM
LQ349K   8/10/2020   OB    8/11/2020   WN;1715;LAS;LAX                   SMITHTON               AL                         US   61254   121191598@AIRLINE.KIWI.COM
LRBJZZ   8/10/2020   OB    8/14/2020   WN;1735;LAS;LAX                   BORAS                  KALMAR LAN                 SE   98758   121192368@AIRLINE.KIWI.COM
LRBJZZ   8/10/2020   OB    8/14/2020   WN;1735;LAS;LAX                   BORAS                  KALMAR LAN                 SE   98758   121192368@AIRLINE.KIWI.COM
LVYGMK   8/10/2020   OB    8/11/2020   WN;535;LAS;LAX                    ERICAMOUTH             NV                         US   12976   121194909@AIRLINE.KIWI.COM
LXMPMD   8/10/2020   OB     9/3/2020   WN;743;BWI;DTW                    MARTINBOROUGH          KY                         US   41625   121195547@AIRLINE.KIWI.COM
LY5OKX   8/10/2020   OB    8/11/2020   WN;1768;LAS;LAX                   ALEXANDERSTAD          HI                         US   94129   121195437@AIRLINE.KIWI.COM
LYODSQ   8/10/2020   OB    8/15/2020   WN;1852;RNO;OAK;WN;544;OAK;SNA    MIROTICE               PRAHAZAPAD                 CZ   26703   121195943@AIRLINE.KIWI.COM
LZGV95   8/10/2020   OB    8/13/2020   WN;982;RDU;MCO                    PEGGYTOWN              UT                         US   64036   121196438@AIRLINE.KIWI.COM
WIUR2Y   8/10/2020   OB    8/20/2020   WN;262;SAT;STL;WN;295;STL;IND     SAN CARLOTA DE LA MO   TLAXCALA                   MX   10625   121101387@AIRLINE.KIWI.COM
WJHPO3   8/10/2020   OB    8/26/2020   WN;1779;MCO;MKE                   NEW REBECCASHIRE       IL                         US   79261   121107063@AIRLINE.KIWI.COM
WK6ZRR   8/10/2020   OB    8/12/2020   WN;1438;SAT;MCO                   SOUTH CHRISTOPHERBER   OK                         US   17699   121107437@AIRLINE.KIWI.COM
WK6ZRR   8/10/2020   RT    8/19/2020   WN;29;MCO;SAT                     SOUTH CHRISTOPHERBER   OK                         US   17699   121107437@AIRLINE.KIWI.COM
WLXRTV   8/10/2020   OB    8/11/2020   WN;398;ATL;FLL                    NEW CARLOS             TN                         US   49148   121107877@AIRLINE.KIWI.COM
WMHVMX   8/10/2020   OB    8/20/2020   WN;188;SAN;SMF                    SOUTH IANMOUTH         IA                         US   35459   121107844@AIRLINE.KIWI.COM
WNGT97   8/10/2020   OB    8/10/2020   WN;2130;ATL;RDU                   JAKOBSMOUTH            AIZPUTES NOVADS            LV   53231   121107998@AIRLINE.KIWI.COM
WOC59M   8/10/2020   OB     9/3/2020   WN;1564;DTW;BNA;WN;1668;BNA;OAK   SOUTH EVAN             OK                         US   48670   121108361@AIRLINE.KIWI.COM
WQQ55T   8/10/2020   OB    8/10/2020   WN;1851;ATL;MSY                   WEIDUM                 UTRECHT                    NL   16086   121108922@AIRLINE.KIWI.COM
WR5R9B   8/10/2020   OB    8/13/2020   WN;6396;LAS;SJC                   SOUTH KAYLA            CA                         US   86801   121109043@AIRLINE.KIWI.COM
WR5R9B   8/10/2020   OB    8/13/2020   WN;6396;LAS;SJC                   SOUTH KAYLA            CA                         US   86801   121109043@AIRLINE.KIWI.COM
WRNFGJ   8/10/2020   OB    8/26/2020   WN;726;BWI;IND;WN;726;IND;LAS     LAKE DAVIDTOWN         LA                         US   85758   121109142@AIRLINE.KIWI.COM
WRNFGJ   8/10/2020   OB    8/26/2020   WN;726;BWI;IND;WN;726;IND;LAS     LAKE DAVIDTOWN         LA                         US   85758   121109142@AIRLINE.KIWI.COM
WRQZPK   8/10/2020   OB    8/30/2020   WN;226;MCO;STL;WN;226;STL;PHX     GARZABURY              OK                         US   28010   121109164@AIRLINE.KIWI.COM
WSFBKN   8/10/2020   OB    8/13/2020   WN;6396;LAS;SJC                   PARKSFURT              MA                         US   79554   121109197@AIRLINE.KIWI.COM
WSPGFQ   8/10/2020   OB    8/13/2020   WN;1466;SJC;LAS                   RICHARDSHIRE           ME                         US   90678   121109340@AIRLINE.KIWI.COM
WSPGFQ   8/10/2020   OB    8/13/2020   WN;1466;SJC;LAS                   RICHARDSHIRE           ME                         US   90678   121109340@AIRLINE.KIWI.COM
WSX4LG   8/10/2020   OB    8/30/2020   WN;226;MCO;STL;WN;226;STL;PHX     RILEYTOWN              GA                         US   24711   121109307@AIRLINE.KIWI.COM
WT6795   8/10/2020   OB    8/16/2020   WN;1421;SMF;DAL;WN;1421;DAL;BNA   ANTHONYVIEW            SC                         US   21957   121109263@AIRLINE.KIWI.COM
WTAVHY   8/10/2020   OB    8/10/2020   WN;1299;HNL;OGG                   WEST STEPHEN           WA                         US   75137   121109318@AIRLINE.KIWI.COM
WU278M   8/10/2020   OB     9/3/2020   WN;5634;SMF;MDW;WN;1250;MDW;BNA   NEW SUSANTOWN          IA                         US   26424   121109417@AIRLINE.KIWI.COM




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WU278M   8/10/2020   OB     9/3/2020   WN;5634;SMF;MDW;WN;1250;MDW;BNA   NEW SUSANTOWN          IA                  US   26424   121109417@AIRLINE.KIWI.COM
WU278M   8/10/2020   RT     9/9/2020   WN;2052;BNA;SAN;WN;750;SAN;SMF    NEW SUSANTOWN          IA                  US   26424   121109417@AIRLINE.KIWI.COM
WU278M   8/10/2020   RT     9/9/2020   WN;2052;BNA;SAN;WN;750;SAN;SMF    NEW SUSANTOWN          IA                  US   26424   121109417@AIRLINE.KIWI.COM
WWJEMD   8/10/2020   OB    8/27/2020   WN;1708;MCO;DEN;WN;490;DEN;PDX    SUSANTOWN              TN                  US   26424   121110055@AIRLINE.KIWI.COM
WXWUH6   8/10/2020   OB    9/11/2020   WN;2347;PHL;BNA                   PORT ELIZABETH         CA                  US   22659   121110374@AIRLINE.KIWI.COM
WY3J7A   8/10/2020   OB    8/10/2020   WN;1395;LAS;BUR                   SOUTH MICHELEBURY      NJ                  US   43482   121110253@AIRLINE.KIWI.COM
WY3J7A   8/10/2020   OB    8/10/2020   WN;1395;LAS;BUR                   SOUTH MICHELEBURY      NJ                  US   43482   121110253@AIRLINE.KIWI.COM
WYBDN8   8/10/2020   OB    9/18/2020   WN;2257;MSY;ATL                   KATIESIDE              MN                  US   65676   121110407@AIRLINE.KIWI.COM
WYBOP4   8/10/2020   OB    8/10/2020   WN;1710;LAX;LAS                   BECKYTON               AK                  US   16301   121110429@AIRLINE.KIWI.COM
WYVEM9   8/10/2020   OB    8/28/2020   WN;350;AUS;ATL                    LAKE VICTORIABERG      ND                  US   69203   121110528@AIRLINE.KIWI.COM
WZDZPL   8/10/2020   OB    8/30/2020   WN;1463;ATL;AUS                   POWELLTOWN             NY                  US   98252   121110561@AIRLINE.KIWI.COM
WZTBKM   8/10/2020   OB    8/20/2020   WN;344;LGA;MDW                    WEST JOHNBURY          MS                  US   69098   121110858@AIRLINE.KIWI.COM
M2TZMZ   8/11/2020   OB    8/24/2020   WN;1319;ATL;CMH                   RICHARDTON             VA                  US   94447   121196768@AIRLINE.KIWI.COM
M32Z9Y   8/11/2020   OB    8/11/2020   WN;688;TUS;LAS;WN;643;LAS;SLC     LAKE TANNER            WV                  US   14378   121196856@AIRLINE.KIWI.COM
M34WH9   8/11/2020   OB    8/30/2020   WN;1879;LAS;ATL;WN;730;ATL;RDU    SOUTH SHANNON          FL                  US   97559   121197010@AIRLINE.KIWI.COM
M4QWFQ   8/11/2020   OB    8/11/2020   WN;446;DEN;ABQ                    RICHARDPORT            PA                  US    6662   121197791@AIRLINE.KIWI.COM
M66PT7   8/11/2020   OB    8/13/2020   WN;1193;LAX;LAS                   EAST RACHAELSIDE       CO                  US   16437   121197989@AIRLINE.KIWI.COM
M66PT7   8/11/2020   OB    8/13/2020   WN;1193;LAX;LAS                   EAST RACHAELSIDE       CO                  US   16437   121197989@AIRLINE.KIWI.COM
M85KP5   8/11/2020   OB    8/11/2020   WN;1771;MDW;OKC;WN;1771;OKC;PHX   NORTH HEATHERLAND      IN                  US   55726   121198451@AIRLINE.KIWI.COM
M8OZZU   8/11/2020   OB    8/15/2020   WN;568;CLT;MDW                    PORT CALVINBOROUGH     SD                  US   90384   121198693@AIRLINE.KIWI.COM
M8OZZU   8/11/2020   RT    8/18/2020   WN;1266;MDW;CLT                   PORT CALVINBOROUGH     SD                  US   90384   121198693@AIRLINE.KIWI.COM
M8SEGR   8/11/2020   OB    8/21/2020   WN;140;AUS;DEN                    WEST VICTOR            GA                  US   15138   121198000@AIRLINE.KIWI.COM
MAUN5P   8/11/2020   OB    8/20/2020   WN;3352;PNS;BNA                   NORTH CAMERON          SD                  US   79250   121199353@AIRLINE.KIWI.COM
MAUN5P   8/11/2020   OB    8/20/2020   WN;3352;PNS;BNA                   NORTH CAMERON          SD                  US   79250   121199353@AIRLINE.KIWI.COM
MB2HPK   8/11/2020   OB    8/11/2020   WN;1768;LAS;LAX                   KENNEDYCHESTER         NE                  US   24087   121199309@AIRLINE.KIWI.COM
MBAJTD   8/11/2020   OB    8/11/2020   WN;398;ATL;FLL                    NEW KELSEYMOUTH        DE                  US   50521   121199474@AIRLINE.KIWI.COM
MEUOU7   8/11/2020   OB     9/5/2020   WN;1119;PHX;LAS                   NORTH JAMES            SC                  US   13923   121200277@AIRLINE.KIWI.COM
MEUOU7   8/11/2020   OB     9/5/2020   WN;1119;PHX;LAS                   NORTH JAMES            SC                  US   13923   121200277@AIRLINE.KIWI.COM
MEUOU7   8/11/2020   OB     9/5/2020   WN;1119;PHX;LAS                   NORTH JAMES            SC                  US   13923   121200277@AIRLINE.KIWI.COM
MGD3V8   8/11/2020   OB    8/29/2020   WN;2031;ICT;STL                   LAKE PATRICIATON       NV                  US   24783   121200695@AIRLINE.KIWI.COM
MGD3V8   8/11/2020   RT    8/31/2020   WN;829;STL;ICT                    LAKE PATRICIATON       NV                  US   24783   121200695@AIRLINE.KIWI.COM
MGSZEE   8/11/2020   OB    9/18/2020   WN;2312;LAS;OAK                   KNOXMOUTH              MS                  US   65765   121200948@AIRLINE.KIWI.COM
MGSZEE   8/11/2020   OB    9/18/2020   WN;2312;LAS;OAK                   KNOXMOUTH              MS                  US   65765   121200948@AIRLINE.KIWI.COM
MGSZEE   8/11/2020   OB    9/18/2020   WN;2312;LAS;OAK                   KNOXMOUTH              MS                  US   65765   121200948@AIRLINE.KIWI.COM
MGZLG6   8/11/2020   OB    8/27/2020   WN;441;RIC;ATL                    CHELSEYCHESTER         SD                  US    3489   121201036@AIRLINE.KIWI.COM
MGZLG6   8/11/2020   OB    8/27/2020   WN;441;RIC;ATL                    CHELSEYCHESTER         SD                  US    3489   121201036@AIRLINE.KIWI.COM
MGZLG6   8/11/2020   RT    8/31/2020   WN;396;ATL;RIC                    CHELSEYCHESTER         SD                  US    3489   121201036@AIRLINE.KIWI.COM
MGZLG6   8/11/2020   RT    8/31/2020   WN;396;ATL;RIC                    CHELSEYCHESTER         SD                  US    3489   121201036@AIRLINE.KIWI.COM
MH8TEB   8/11/2020   OB    8/17/2020   WN;259;LAS;STL                    VARDENIS               ARMAVIR             AM    4734   121201102@AIRLINE.KIWI.COM
MHVI3B   8/11/2020   OB    8/24/2020   WN;1442;SJU;MCO;WN;374;MCO;HOU    PORT PIJUS             SIAULIU APSKRITIS   LT   63181   121201234@AIRLINE.KIWI.COM
MI6F8G   8/11/2020   OB    9/20/2020   WN;1690;OAK;LAS                   LAS VEGAS              NV                  US   89117   121201322@AIRLINE.KIWI.COM
MI6F8G   8/11/2020   OB    9/20/2020   WN;1690;OAK;LAS                   PORT ALISONMOUTH       MI                  US   67385   121201322@AIRLINE.KIWI.COM
MI6F8G   8/11/2020   OB    9/20/2020   WN;1690;OAK;LAS                   LAS VEGAS              NV                  US   89117   121201322@AIRLINE.KIWI.COM
MI6F8G   8/11/2020   OB    9/20/2020   WN;1690;OAK;LAS                   PORT ALISONMOUTH       MI                  US   67385   121201322@AIRLINE.KIWI.COM
MI6F8G   8/11/2020   OB    9/20/2020   WN;1690;OAK;LAS                   LAS VEGAS              NV                  US   89117   121201322@AIRLINE.KIWI.COM
MI6F8G   8/11/2020   OB    9/20/2020   WN;1690;OAK;LAS                   PORT ALISONMOUTH       MI                  US   67385   121201322@AIRLINE.KIWI.COM
MIYZB7   8/11/2020   OB    8/25/2020   WN;1282;DEN;OMA                   WEST LARRYBOROUGH      VT                  US   68181   121201498@AIRLINE.KIWI.COM
MJN4XI   8/11/2020   OB     9/3/2020   WN;1701;SNA;SMF                   RIBNITZDAMGARTEN       SACHSEN             DE   44156   121201916@AIRLINE.KIWI.COM
MJR599   8/11/2020   OB    8/11/2020   WN;1701;LAS;SNA                   RICHARDSHIRE           FL                  US   86075   121201762@AIRLINE.KIWI.COM
MJT494   8/11/2020   OB    8/28/2020   WN;1334;MEM;MDW                   SHARONMOUTH            NH                  US   43041   121201619@AIRLINE.KIWI.COM
MJT494   8/11/2020   RT    8/30/2020   WN;1640;MDW;MEM                   SHARONMOUTH            NH                  US   43041   121201619@AIRLINE.KIWI.COM
MK834J   8/11/2020   OB     9/7/2020   WN;2334;SMF;SNA                   SOUTH WSL              AL BAHAH            SA   21406   121201927@AIRLINE.KIWI.COM
MK8QVV   8/11/2020   OB    8/11/2020   WN;552;FLL;TPA                    EAST ANDREWBURGH       TN                  US   70318   121202004@AIRLINE.KIWI.COM
MKELSW   8/11/2020   OB    8/11/2020   WN;6020;OMA;DEN;WN;1238;DEN;SFO   PORT MATTHEWBOROUGH    TN                  US   46912   121201905@AIRLINE.KIWI.COM
MLDHBM   8/11/2020   OB    8/11/2020   WN;6026;ATL;MDW;WN;532;MDW;SFO    NORTH CODY             SD                  US   31462   121202048@AIRLINE.KIWI.COM
MLFA2F   8/11/2020   OB    8/30/2020   WN;1879;LAS;ATL;WN;730;ATL;RDU    NEW MICHAELBOROUGH     RI                  US   58951   121197010@AIRLINE.KIWI.COM
MLW6OS   8/11/2020   OB    8/16/2020   WN;292;BWI;MKE                    REEDVILLE              GA                  US   56103   121202345@AIRLINE.KIWI.COM
MLWCAB   8/11/2020   OB    8/17/2020   WN;1405;SFO;MDW                   PORT KIMBERLYPORT      WA                  US   91037   121202213@AIRLINE.KIWI.COM
MM8CMF   8/11/2020   OB    8/16/2020   WN;370;DAL;MDW;WN;187;MDW;MSP     ANDREABURY             VT                  US    9943   120454543.1415848@AIRLINE.KIWI.COM
MOL5OE   8/11/2020   OB    8/11/2020   WN;6233;LAX;LAS                   CORTEZBURY             DE                  US   41233   121202807@AIRLINE.KIWI.COM
MOMAZ9   8/11/2020   OB    8/16/2020   WN;660;LAS;SAN                    NEW DIANETON           NY                  US   82614   121202950@AIRLINE.KIWI.COM
MOMAZ9   8/11/2020   OB    8/16/2020   WN;660;LAS;SAN                    NEW DIANETON           NY                  US   82614   121202950@AIRLINE.KIWI.COM
MORCFV   8/11/2020   OB    8/14/2020   WN;234;SAN;LAS                    DELACRUZBOROUGH        SD                  US   99731   121202961@AIRLINE.KIWI.COM
MPCTEX   8/11/2020   OB    8/11/2020   WN;1768;LAS;LAX                   BRIANTOWN              IN                  US   56254   121203071@AIRLINE.KIWI.COM
MPJQQ6   8/11/2020   OB    8/27/2020   WN;1648;PDX;SMF                   SMITHHAVEN             IL                  US   36265   121203093@AIRLINE.KIWI.COM
MPJQQ6   8/11/2020   OB    8/27/2020   WN;1648;PDX;SMF                   SMITHHAVEN             IL                  US   36265   121203093@AIRLINE.KIWI.COM
MQL65B   8/11/2020   OB    8/24/2020   WN;375;ATL;AUS                    NORTH MARGARET         NC                  US   21006   121203489@AIRLINE.KIWI.COM
MR9HOY   8/11/2020   OB    8/11/2020   WN;1562;LAX;BNA;WN;846;BNA;MCO    CARLYLAND              NJ                  US    7031   121203797@AIRLINE.KIWI.COM
MRGT7V   8/11/2020   OB    8/14/2020   WN;1316;MSP;MDW                   MARYMOUTH              MN                  US   12317   121203654@AIRLINE.KIWI.COM
MRIM6M   8/11/2020   OB    8/14/2020   WN;234;SAN;LAS                    MARCUSSIDE             TX                  US   31929   121202961@AIRLINE.KIWI.COM
MYCT7F   8/11/2020   OB    8/14/2020   WN;1085;TPA;MCI                   COXBURY                MD                  US   41069   121205898@AIRLINE.KIWI.COM
N2MGTT   8/11/2020   OB    8/13/2020   WN;787;LAX;MDW;WN;899;MDW;CVG     ADRIANBERG             NV                  US   96353   121207020@AIRLINE.KIWI.COM
N3OWX5   8/11/2020   OB    8/19/2020   WN;495;MDW;BOS                    LAKE ANNA              MT                  US   55565   121206140@AIRLINE.KIWI.COM
NJK6O4   8/11/2020   OB    8/16/2020   WN;1130;ORF;BWI;WN;1738;BWI;MDW   WEST TERRISTAD         AZ                  US   74680   121220154@AIRLINE.KIWI.COM
NKNZAT   8/11/2020   OB     9/6/2020   WN;2545;MEM;ATL                   DALEVILLE              WREXHAM WRECSAM     GB   47035   121221617@AIRLINE.KIWI.COM
NMWOTW   8/11/2020   OB    8/11/2020   WN;215;ELP;PHX;WN;813;PHX;SLC     SAN EMILIA LOS ALTOS   COLIMA              MX   30050   121224477@AIRLINE.KIWI.COM
NNI7EZ   8/11/2020   OB    8/11/2020   WN;234;SAN;LAS                    NICOLESIDE             TN                  US   79878   121224983@AIRLINE.KIWI.COM
NVD25B   8/11/2020   OB    8/14/2020   WN;852;GRR;MDW;WN;1640;MDW;MEM    FREYSTAD               CT                  US   82969   121232232@AIRLINE.KIWI.COM
NXWJM2   8/11/2020   OB    8/15/2020   WN;722;SJU;MCO;WN;2666;MCO;AUS    MICHELLEFORT           ASH SHARQIYAH       EG   24910   121235730@AIRLINE.KIWI.COM
O2A7AT   8/11/2020   OB    8/14/2020   WN;386;HOU;MSY                    PORT AMYFURT           WV                  US   95199   121238260@AIRLINE.KIWI.COM
O2A7AT   8/11/2020   RT    8/16/2020   WN;6007;MSY;HOU                   PORT AMYFURT           WV                  US   95199   121238260@AIRLINE.KIWI.COM
O3IIA5   8/11/2020   OB    8/11/2020   WN;1094;BWI;SAN;WN;971;SAN;OAK    KRISTENBERG            CT                  US    6945   121238942@AIRLINE.KIWI.COM
O78YEY   8/11/2020   OB    8/12/2020   WN;240;ATL;MDW                    EAST ELIZABETHCHESTE   NJ                  US   65229   121243232@AIRLINE.KIWI.COM
O8OVMX   8/11/2020   OB    8/25/2020   WN;1175;JAX;ATL;WN;689;ATL;RIC    TAYLORBERG             MS                  US    4667   121244365@AIRLINE.KIWI.COM
O8T32H   8/11/2020   OB    8/13/2020   WN;814;BNA;LGA                    JOHNMOUTH              NM                  US   83640   121245586@AIRLINE.KIWI.COM
OAV4CX   8/11/2020   OB    8/15/2020   WN;1326;BOI;LAS;WN;1351;LAS;SLC   HAMILTONVILLE          ND                  US   72169   121247566@AIRLINE.KIWI.COM
OCHEND   8/11/2020   OB   11/13/2020   WN;294;DEN;RNO                    NORTH JOSHUA           MO                  US   76411   121249557@AIRLINE.KIWI.COM
OCXUWB   8/11/2020   OB   11/30/2020   WN;1786;RNO;DEN                   LARRYLAND              HI                  US   65843   121249568@AIRLINE.KIWI.COM
ODPI9P   8/11/2020   MD    8/22/2020   WN;1775;LAS;PDX                   KLINELAND              AK                  US   67388   121250283@AIRLINE.KIWI.COM
ODPI9P   8/11/2020   OB    8/21/2020   WN;615;ONT;LAS                    KLINELAND              AK                  US   67388   121250283@AIRLINE.KIWI.COM
ODPI9P   8/11/2020   RT    8/24/2020   WN;756;PDX;OAK;WN;1554;OAK;ONT    KLINELAND              AK                  US   67388   121250283@AIRLINE.KIWI.COM
OEXDSK   8/11/2020   OB    8/28/2020   WN;931;SNA;LAS                    JANETFORT              GA                  US   10219   121252681@AIRLINE.KIWI.COM
OEXDSK   8/11/2020   OB    8/28/2020   WN;931;SNA;LAS                    JANETFORT              GA                  US   10219   121252681@AIRLINE.KIWI.COM
OF7S43   8/11/2020   OB    8/30/2020   WN;4008;LAS;SNA                   ALEXANDERHAVEN         AR                  US   34838   121252670@AIRLINE.KIWI.COM
OF7S43   8/11/2020   OB    8/30/2020   WN;4008;LAS;SNA                   ALEXANDERHAVEN         AR                  US   34838   121252670@AIRLINE.KIWI.COM
OG7G54   8/11/2020   OB    8/12/2020   WN;1596;TPA;STL;WN;318;STL;DTW    ANNBOROUGH             NH                  US   27903   121253011@AIRLINE.KIWI.COM
OHHNGF   8/11/2020   OB    8/15/2020   WN;581;MSY;HOU;WN;21;HOU;DEN      CARRILLOTOWN           VT                  US   93726   121254782@AIRLINE.KIWI.COM
OHQ7ZY   8/11/2020   OB     9/7/2020   WN;130;SMF;DEN                    WEST VICKIESIDE        PA                  US   33794   121255167@AIRLINE.KIWI.COM
OIHKPP   8/11/2020   OB     9/5/2020   WN;348;DTW;BWI                    AMYSTAD                MD                  US   57224   121256157@AIRLINE.KIWI.COM
OIHKPP   8/11/2020   RT     9/8/2020   WN;2113;BWI;DTW                   AMYSTAD                MD                  US   57224   121256157@AIRLINE.KIWI.COM
OK57EQ   8/11/2020   OB     9/3/2020   WN;517;CLE;BWI                    LAKE RYAN              KS                  US   43578   121257235@AIRLINE.KIWI.COM
OKY7HD   8/11/2020   OB    8/11/2020   WN;1491;ONT;PHX                   STEPHANIEHAVEN         NV                  US   99600   121257983@AIRLINE.KIWI.COM
ON7DAU   8/11/2020   OB    8/12/2020   WN;226;MCO;STL;WN;1064;STL;LAX    SOUTH JESSICA          FL                  US   38712   121261074@AIRLINE.KIWI.COM
ONAXTS   8/11/2020   OB    8/23/2020   WN;1720;MHT;MDW;WN;282;MDW;SLC    NORTH ANGELA           WI                  US   82452   121261151@AIRLINE.KIWI.COM
ONAXTS   8/11/2020   OB    8/23/2020   WN;1720;MHT;MDW;WN;282;MDW;SLC    NORTH ANGELA           WI                  US   82452   121261151@AIRLINE.KIWI.COM
ONIL4Z   8/11/2020   OB    8/27/2020   WN;455;ATL;PHX;WN;455;PHX;LAX     WEST DANIELCHESTER     RI                  US   46881   121262262@AIRLINE.KIWI.COM
ONT29L   8/11/2020   OB   12/18/2020   WN;1322;CVG;BWI;WN;1054;BWI;MCO   MELO                   ALAGOAS             BR   53399   121261294@AIRLINE.KIWI.COM




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OOA3QV   8/11/2020   OB    8/27/2020   WN;455;ATL;PHX;WN;455;PHX;LAX     WEST KIMBERLYCHESTER   RI                   US   42213   121262394@AIRLINE.KIWI.COM
OP9LZF   8/11/2020   OB   12/23/2020   WN;4998;LAX;MDW;WN;4501;MDW;TPA   LAKE MICHAELCHESTER    OH                   US   59956   121263230@AIRLINE.KIWI.COM
OP9LZF   8/11/2020   OB   12/23/2020   WN;4998;LAX;MDW;WN;4501;MDW;TPA   LAKE MICHAELCHESTER    OH                   US   59956   121263230@AIRLINE.KIWI.COM
OP9LZF   8/11/2020   RT   12/28/2020   WN;831;TPA;STL;WN;1472;STL;LAX    LAKE MICHAELCHESTER    OH                   US   59956   121263230@AIRLINE.KIWI.COM
OP9LZF   8/11/2020   RT   12/28/2020   WN;831;TPA;STL;WN;1472;STL;LAX    LAKE MICHAELCHESTER    OH                   US   59956   121263230@AIRLINE.KIWI.COM
OPELR9   8/11/2020   OB    8/27/2020   WN;455;ATL;PHX;WN;455;PHX;LAX     MELISSABURGH           OH                   US   13876   121264385@AIRLINE.KIWI.COM
OQ7OBJ   8/11/2020   OB    9/29/2020   WN;785;LAX;HOU                    MICHAELFORT            UT                   US   88891   121265045@AIRLINE.KIWI.COM
ORADMM   8/11/2020   OB    8/21/2020   WN;696;STL;DTW                    SOUTH LISAMOUTH        MD                   US   67523   121266233@AIRLINE.KIWI.COM
OSFGYQ   8/11/2020   OB    8/23/2020   WN;189;SMF;LAX                    MARYMOUTH              MI                   US   21616   121267355@AIRLINE.KIWI.COM
OSU5FQ   8/11/2020   OB     9/3/2020   WN;138;DAL;SAT;WN;138;SAT;BNA     WEST HEATHERMOUTH      CO                   US   20399   121267476@AIRLINE.KIWI.COM
OSU5FQ   8/11/2020   RT     9/6/2020   WN;23;BNA;DAL                     WEST HEATHERMOUTH      CO                   US   20399   121267476@AIRLINE.KIWI.COM
OVSRNR   8/11/2020   OB    8/12/2020   WN;427;SDF;MCO                    LUDWIGSBURG            SACHSENANHALT        DE   49145   121270699@AIRLINE.KIWI.COM
OW29A2   8/11/2020   OB    8/13/2020   WN;1202;OAK;DEN;WN;1437;DEN;PDX   SMITHBURGH             MA                   US   83131   117314527.1416830@AIRLINE.KIWI.COM
OZR8OX   8/11/2020   OB    8/14/2020   WN;1258;RDU;BNA;WN;1626;BNA;LAX   SCHNEIDERVIEW          FL                   US   75768   121275396@AIRLINE.KIWI.COM
P2VIWR   8/11/2020   OB    9/28/2020   WN;1005;SAN;SLC                   SCOTTTOWN              MO                   US   65705   121275880@AIRLINE.KIWI.COM
P4YLIR   8/11/2020   OB    8/16/2020   WN;1442;SJU;MCO                   DEVDH                  MECHI                NP   12233   121278388@AIRLINE.KIWI.COM
P6QWKW   8/11/2020   OB    8/14/2020   WN;1771;FLL;MDW                   NEW SARA               WV                   US   92697   121279620@AIRLINE.KIWI.COM
P6QWKW   8/11/2020   RT    8/18/2020   WN;1430;MDW;FLL                   NEW SARA               WV                   US   92697   121279620@AIRLINE.KIWI.COM
P6UGJO   8/11/2020   OB    8/14/2020   WN;971;ABQ;LAS;WN;378;LAS;SEA     SABRINASIDE            WA                   US   56399   121279752@AIRLINE.KIWI.COM
P6UGJO   8/11/2020   OB    8/14/2020   WN;971;ABQ;LAS;WN;378;LAS;SEA     SABRINASIDE            WA                   US   56399   121279752@AIRLINE.KIWI.COM
P7Q5ZO   8/11/2020   OB    8/24/2020   WN;1136;LGA;HOU                   SOUTH VALERILAND       JOGEVAMAA            EE   25020   121279554@AIRLINE.KIWI.COM
P89XKQ   8/11/2020   OB     9/6/2020   WN;2324;MCI;DEN                   GUERREROMOUTH          IA                   US   30958   121280852@AIRLINE.KIWI.COM
P9UTUW   8/11/2020   OB   11/23/2020   WN;2235;BNA;TPA                   MICHAELTON             IA                   US   83647   121282216@AIRLINE.KIWI.COM
P9UTUW   8/11/2020   OB   11/23/2020   WN;2235;BNA;TPA                   MICHAELTON             IA                   US   83647   121282216@AIRLINE.KIWI.COM
PBY4A5   8/11/2020   OB    8/12/2020   WN;947;ATL;PHX;WN;1120;PHX;SMF    MICHAELBURY            VA                   US   19847   121283734@AIRLINE.KIWI.COM
PDF9ET   8/11/2020   OB    9/10/2020   WN;1498;TPA;BNA                   NORTH JEFF             WV                   US   66628   121284372@AIRLINE.KIWI.COM
PEM5VX   8/11/2020   OB    8/15/2020   WN;2073;LAX;LAS                   LAKE GRACE             TN                   US   84171   121284977@AIRLINE.KIWI.COM
PEVAVH   8/11/2020   OB   10/31/2020   WN;2215;MDW;MCO                   NORTH EMILYFORT        WA                   US   14682   121285351@AIRLINE.KIWI.COM
PEVAVH   8/11/2020   OB   10/31/2020   WN;2215;MDW;MCO                   NORTH EMILYFORT        WA                   US   14682   121285351@AIRLINE.KIWI.COM
PEVAVH   8/11/2020   OB   10/31/2020   WN;2215;MDW;MCO                   NORTH EMILYFORT        WA                   US   14682   121285351@AIRLINE.KIWI.COM
PEVAVH   8/11/2020   RT    11/3/2020   WN;1888;MCO;MDW                   NORTH EMILYFORT        WA                   US   14682   121285351@AIRLINE.KIWI.COM
PEVAVH   8/11/2020   RT    11/3/2020   WN;1888;MCO;MDW                   NORTH EMILYFORT        WA                   US   14682   121285351@AIRLINE.KIWI.COM
PEVAVH   8/11/2020   RT    11/3/2020   WN;1888;MCO;MDW                   NORTH EMILYFORT        WA                   US   14682   121285351@AIRLINE.KIWI.COM
PFL2ZH   8/11/2020   OB    8/31/2020   WN;1591;LAS;MDW;WN;1591;MDW;BWI   MOYERVILLE             LA                   US    2999   121285505@AIRLINE.KIWI.COM
PFL2ZH   8/11/2020   OB     9/1/2020   WN;1699;BWI;ORF                   MOYERVILLE             LA                   US    2999   121285505@AIRLINE.KIWI.COM
PFL2ZH   8/11/2020   OB    8/31/2020   WN;1591;LAS;MDW;WN;1591;MDW;BWI   MOYERVILLE             LA                   US    2999   121285505@AIRLINE.KIWI.COM
PFL2ZH   8/11/2020   OB     9/1/2020   WN;1699;BWI;ORF                   MOYERVILLE             LA                   US    2999   121285505@AIRLINE.KIWI.COM
PFL2ZH   8/11/2020   OB    8/31/2020   WN;1591;LAS;MDW;WN;1591;MDW;BWI   MOYERVILLE             LA                   US    2999   121285505@AIRLINE.KIWI.COM
PFL2ZH   8/11/2020   OB     9/1/2020   WN;1699;BWI;ORF                   MOYERVILLE             LA                   US    2999   121285505@AIRLINE.KIWI.COM
PFX9BH   8/11/2020   OB    8/21/2020   WN;467;PDX;DEN;WN;1288;DEN;ABQ    NEW RANDY              DE                   US   20623   121285714@AIRLINE.KIWI.COM
PG34LX   8/11/2020   OB    8/30/2020   WN;1861;ATL;IND                   MICHAELSHIRE           AR                   US   42523   121285450@AIRLINE.KIWI.COM
PG3WUZ   8/11/2020   OB   10/27/2020   WN;8;DAL;DCA                      CORDOBA                MALAGA               ES   54457   121285692@AIRLINE.KIWI.COM
PHS983   8/11/2020   OB     9/3/2020   WN;325;SLC;DEN                    WILLIAMSPORT           KS                   US   30340   121286495@AIRLINE.KIWI.COM
PHZ7UZ   8/11/2020   OB    8/12/2020   WN;105;ATL;STL                    POOLECHESTER           MD                   US   42421   121286418@AIRLINE.KIWI.COM
PHTRTC   8/12/2020   OB     9/1/2020   WN;321;SJU;FLL                    MEGANBURY              ROTHERHAM            GB   51712   121286682@AIRLINE.KIWI.COM
PHTRTC   8/12/2020   OB     9/1/2020   WN;321;SJU;FLL                    MEGANBURY              ROTHERHAM            GB   51712   121286682@AIRLINE.KIWI.COM
PIPI43   8/12/2020   OB    8/13/2020   WN;339;BOS;STL;WN;1385;STL;SMF    NORTH BELINDA          MS                   US   66658   121286748@AIRLINE.KIWI.COM
PKY4TV   8/12/2020   OB    8/12/2020   WN;1731;PHL;MDW                   NORTH MARIA            MT                   US   93583   121287760@AIRLINE.KIWI.COM
PMT9U6   8/12/2020   OB     9/3/2020   WN;239;ORF;MDW;WN;1414;MDW;ONT    LAKE DAVIDCHESTER      DE                   US   28320   121288585@AIRLINE.KIWI.COM
PNQ66H   8/12/2020   OB    8/13/2020   WN;873;BUR;SMF                    JANICEVIEW             ID                   US   26058   121288596@AIRLINE.KIWI.COM
PNU9EG   8/12/2020   OB    8/26/2020   WN;1024;SDF;BWI                   NORTH ALEXSTAD         ME                   US    9405   121288761@AIRLINE.KIWI.COM
PNU9EG   8/12/2020   OB    8/26/2020   WN;1024;SDF;BWI                   NORTH ALEXSTAD         ME                   US    9405   121288761@AIRLINE.KIWI.COM
PNU9EG   8/12/2020   OB    8/26/2020   WN;1024;SDF;BWI                   NORTH ALEXSTAD         ME                   US    9405   121288761@AIRLINE.KIWI.COM
PNU9EG   8/12/2020   RT    8/29/2020   WN;320;BWI;SDF                    NORTH ALEXSTAD         ME                   US    9405   121288761@AIRLINE.KIWI.COM
PNU9EG   8/12/2020   RT    8/29/2020   WN;320;BWI;SDF                    NORTH ALEXSTAD         ME                   US    9405   121288761@AIRLINE.KIWI.COM
PNU9EG   8/12/2020   RT    8/29/2020   WN;320;BWI;SDF                    NORTH ALEXSTAD         ME                   US    9405   121288761@AIRLINE.KIWI.COM
PP7VL7   8/12/2020   OB    8/12/2020   WN;101;ATL;DEN                    EAST MICHELE           MD                   US   38367   121289223@AIRLINE.KIWI.COM
PQ7VL2   8/12/2020   OB    8/14/2020   WN;1800;SJU;TPA                   MOCANUVILLE            BUZAU                RO   31523   121289663@AIRLINE.KIWI.COM
PQG8PU   8/12/2020   OB    8/16/2020   WN;402;TPA;SJU                    DA CONCEICAO           PARA                 BR   45592   121289663@AIRLINE.KIWI.COM
PQT8XG   8/12/2020   OB    8/19/2020   WN;328;CUN;HOU                    VARGASBOROUGH          CO                   US   47736   121289586@AIRLINE.KIWI.COM
PQT8XG   8/12/2020   OB    8/19/2020   WN;328;CUN;HOU                    VARGASBOROUGH          CO                   US   47736   121289586@AIRLINE.KIWI.COM
PSNU98   8/12/2020   OB    8/14/2020   WN;976;MCO;SJU                    LAKE JAMESBURY         DUBLIN               IE    9122   121290323@AIRLINE.KIWI.COM
PSNU98   8/12/2020   RT     9/4/2020   WN;160;SJU;MCO                    LAKE JAMESBURY         DUBLIN               IE    9122   121290323@AIRLINE.KIWI.COM
PSOAIF   8/12/2020   OB    8/18/2020   WN;997;SJC;LAS                    MINDSZENTAPATI         BORSODABAUJZEMPLEN   HU   64392   121290521@AIRLINE.KIWI.COM
PTD2II   8/12/2020   OB     9/3/2020   WN;943;SAN;PHX                    WEST TYLER             NH                   US   52220   121290532@AIRLINE.KIWI.COM
PTD2II   8/12/2020   OB     9/3/2020   WN;943;SAN;PHX                    WEST TYLER             NH                   US   52220   121290532@AIRLINE.KIWI.COM
PTZVIJ   8/12/2020   OB    8/12/2020   WN;1785;TPA;BNA                   WEST JENNYVILLE        SWIEQI               MT    4263   121290609@AIRLINE.KIWI.COM
PV28RW   8/12/2020   OB    8/14/2020   WN;866;LAX;LAS                    NEW MEGANMOUTH         WI                   US   31796   121291137@AIRLINE.KIWI.COM
PV28RW   8/12/2020   RT    8/17/2020   WN;1715;LAS;LAX                   NEW MEGANMOUTH         WI                   US   31796   121291137@AIRLINE.KIWI.COM
PVACAJ   8/12/2020   OB    8/14/2020   WN;423;MDW;BWI                    SARAHSTAD              MN                   US   32503   121290961@AIRLINE.KIWI.COM
PVACAJ   8/12/2020   RT    8/17/2020   WN;986;BWI;MDW                    SARAHSTAD              MN                   US   32503   121290961@AIRLINE.KIWI.COM
PVYPZ7   8/12/2020   OB    8/25/2020   WN;4495;SJC;LAX;WN;4495;LAX;BNA   LAKE KERRY             IL                   US   28295   121291203@AIRLINE.KIWI.COM
PW25KD   8/12/2020   OB    8/12/2020   WN;866;LAX;LAS;WN;249;LAS;OKC     JENNIFERMOUTH          ND                   US   44566   121291313@AIRLINE.KIWI.COM
PW25KD   8/12/2020   OB    8/12/2020   WN;866;LAX;LAS;WN;249;LAS;OKC     JENNIFERMOUTH          ND                   US   44566   121291313@AIRLINE.KIWI.COM
PW9JAN   8/12/2020   OB    8/12/2020   WN;866;LAX;LAS                    WASHINGTONVILLE        TN                   US    4651   121291291@AIRLINE.KIWI.COM
PWHZC6   8/12/2020   OB   12/28/2020   WN;410;SAN;DAL;WN;1022;DAL;ATL    SOUTH KATHRYNPORT      IA                   US   98656   121288772@AIRLINE.KIWI.COM
PWJ6RR   8/12/2020   OB    8/14/2020   WN;1737;BWI;BOS                   LAKE EMILY             NJ                   US   98948   121291423@AIRLINE.KIWI.COM
PZRXT6   8/12/2020   OB   10/12/2020   WN;944;AUS;LAX                    EAST CHRISTINE         RI                   US   68855   121292402@AIRLINE.KIWI.COM
Q2597Q   8/12/2020   OB    8/13/2020   WN;1111;SJU;MCO                   AVILA                  TERUEL               ES   17081   121290433@AIRLINE.KIWI.COM
Q2597Q   8/12/2020   OB    8/13/2020   WN;1111;SJU;MCO                   AVILA                  TERUEL               ES   17081   121290433@AIRLINE.KIWI.COM
Q2597Q   8/12/2020   OB    8/13/2020   WN;1111;SJU;MCO                   AVILA                  TERUEL               ES   17081   121290433@AIRLINE.KIWI.COM
Q2597Q   8/12/2020   OB    8/13/2020   WN;1111;SJU;MCO                   AVILA                  TERUEL               ES   17081   121290433@AIRLINE.KIWI.COM
Q2597Q   8/12/2020   OB    8/13/2020   WN;1111;SJU;MCO                   AVILA                  TERUEL               ES   17081   121290433@AIRLINE.KIWI.COM
Q2LF6D   8/12/2020   OB    8/26/2020   WN;240;FLL;ATL                    DOMINIQUEFURT          WV                   US   59795   121292457@AIRLINE.KIWI.COM
Q3JJVO   8/12/2020   OB    8/12/2020   WN;982;MCO;BNA;WN;2665;BNA;CHS    BOOTHSIDE              KS                   US   10842   121292820@AIRLINE.KIWI.COM
Q3Z5AZ   8/12/2020   OB    8/15/2020   WN;6590;LAX;LAS                   NEW GINAFURT           NJ                   US    8861   121292941@AIRLINE.KIWI.COM
Q3Z5AZ   8/12/2020   OB    8/15/2020   WN;6590;LAX;LAS                   NEW GINAFURT           NJ                   US    8861   121292941@AIRLINE.KIWI.COM
Q4HUDY   8/12/2020   OB    8/17/2020   WN;507;PHX;SAN                    EAST MARK              IN                   US   38968   121293194@AIRLINE.KIWI.COM
Q4HUDY   8/12/2020   RT    8/25/2020   WN;1094;SAN;PHX                   EAST MARK              IN                   US   38968   121293194@AIRLINE.KIWI.COM
Q4ZIGB   8/12/2020   MD    8/15/2020   WN;1577;LAS;SNA                   SOUTH JAMESVILLE       NC                   US   80301   121293282@AIRLINE.KIWI.COM
Q4ZIGB   8/12/2020   MD    8/15/2020   WN;1701;LAS;SNA                   SOUTH JAMESVILLE       NC                   US   80301   121293282@AIRLINE.KIWI.COM
Q4ZIGB   8/12/2020   OB    8/13/2020   WN;6269;SNA;LAS                   SOUTH JAMESVILLE       NC                   US   80301   121293282@AIRLINE.KIWI.COM
Q5LR2H   8/12/2020   OB    8/12/2020   WN;290;AMA;DAL;WN;5;DAL;HOU       ALEXANDERVIEW          OH                   US    5752   121293392@AIRLINE.KIWI.COM
Q5LR2H   8/12/2020   OB    8/12/2020   WN;290;AMA;DAL;WN;5;DAL;HOU       ALEXANDERVIEW          OH                   US    5752   121293392@AIRLINE.KIWI.COM
Q75R8J   8/12/2020   OB    8/25/2020   WN;412;PHX;MKE                    EMILYPORT              NM                   US   61960   121293843@AIRLINE.KIWI.COM
Q75R8J   8/12/2020   RT    8/30/2020   WN;1677;MKE;PHX                   EMILYPORT              NM                   US   61960   121293843@AIRLINE.KIWI.COM
Q7UU24   8/12/2020   OB    9/26/2020   WN;2117;LAX;SMF                   YANG XIAN              GANSU SHENG          CN   84958   121293876@AIRLINE.KIWI.COM
Q8I2RC   8/12/2020   OB    8/23/2020   WN;1226;OMA;STL;WN;415;STL;ICT    PORT JEFFERY           MN                   US   64056   121294316@AIRLINE.KIWI.COM
QAEM4Y   8/12/2020   OB     9/4/2020   WN;1393;SFO;LAS                   NORTH BROOKEPORT       IL                   US   58693   121295163@AIRLINE.KIWI.COM
QAEM4Y   8/12/2020   OB     9/4/2020   WN;1393;SFO;LAS                   NORTH BROOKEPORT       IL                   US   58693   121295163@AIRLINE.KIWI.COM
QAEM4Y   8/12/2020   OB     9/4/2020   WN;1393;SFO;LAS                   NORTH BROOKEPORT       IL                   US   58693   121295163@AIRLINE.KIWI.COM
QCQ498   8/12/2020   OB    8/12/2020   WN;1718;PNS;BNA;WN;123;BNA;MKE    ELIZABETHBERG          NH                   US   55770   121296109@AIRLINE.KIWI.COM
QDRUDP   8/12/2020   OB    8/14/2020   WN;1303;SAN;LAS                   WEST KIMBERLY          IN                   US   62025   121296131@AIRLINE.KIWI.COM
QFSYGG   8/12/2020   OB    8/12/2020   WN;722;SJU;MCO                    WILLIAMSLAND           NY                   US   31478   121297891@AIRLINE.KIWI.COM
QG7ZOZ   8/12/2020   OB    8/12/2020   WN;1768;LAS;LAX                   LISASIDE               WA                   US   64350   121297627@AIRLINE.KIWI.COM
QG7ZOZ   8/12/2020   OB    8/12/2020   WN;1768;LAS;LAX                   LISASIDE               WA                   US   64350   121297627@AIRLINE.KIWI.COM
QG7ZOZ   8/12/2020   OB    8/12/2020   WN;1768;LAS;LAX                   LISASIDE               WA                   US   64350   121297627@AIRLINE.KIWI.COM




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QG7ZOZ   8/12/2020   OB    8/12/2020   WN;1768;LAS;LAX                         LISASIDE               WA                  US    64350   121297627@AIRLINE.KIWI.COM
QG7ZOZ   8/12/2020   OB    8/12/2020   WN;1768;LAS;LAX                         LISASIDE               WA                  US    64350   121297627@AIRLINE.KIWI.COM
QGC86K   8/12/2020   OB    8/12/2020   WN;226;MCO;STL                          DONOVANBURGH           WY                  US    35849   121297891@AIRLINE.KIWI.COM
QGOJZO   8/12/2020   OB    8/12/2020   WN;1334;ATL;MEM;WN;1334;MEM;MDW;WN LAKE LORI                   NE                  US    89813   121298386@AIRLINE.KIWI.COM
QRHJKG   8/12/2020   OB    8/12/2020   WN;1626;LAX;LAS                         BURKEFURT              TX                  US    62104   121306163@AIRLINE.KIWI.COM
QRHJKG   8/12/2020   OB    8/12/2020   WN;1626;LAX;LAS                         BURKEFURT              TX                  US    62104   121306163@AIRLINE.KIWI.COM
QXKFC6   8/12/2020   OB    9/18/2020   WN;1699;LAS;ONT                         KOTA ADMINISTRASI JA   ACEH                ID     3314   121311905@AIRLINE.KIWI.COM
R3F2VR   8/12/2020   OB    8/23/2020   WN;1767;DAL;ATL;WN;1767;ATL;GSP         COOKBERG               OH                  US    59492   121316866@AIRLINE.KIWI.COM
R3WGPW   8/12/2020   OB    8/15/2020   WN;1663;ROC;BWI;WN;1679;BWI;ATL         AMRPUR                 MADHYA PRADESH      IN    35814   121316426@AIRLINE.KIWI.COM
RB39BZ   8/12/2020   OB    8/16/2020   WN;982;RDU;MCO                          JESSICAMOUTH           DE                  US    67396   121324852@AIRLINE.KIWI.COM
RGGTGS   8/12/2020   OB    8/12/2020   WN;4543;MCO;SJU                         SOUTH ABIGAIL          AL                  US    48420   121327195@AIRLINE.KIWI.COM
RJ5MPR   8/12/2020   OB    8/16/2020   WN;722;SJU;MCO                          BEI NAN SHI            TAINAN              TW    31269   121327470@AIRLINE.KIWI.COM
RJ9TKW   8/12/2020   OB    8/12/2020   WN;173;BOS;MDW                          CALKA                  SAMTSKHEJAVAKHETI   GE    34323   121333113@AIRLINE.KIWI.COM
RKIIJX   8/12/2020   OB    8/12/2020   WN;1597;LAX;OAK                         SUSANTON               HI                  US    83269   121334202@AIRLINE.KIWI.COM
RKVLSF   8/12/2020   OB    8/26/2020   WN;1437;PDX;LAS;WN;615;LAS;TUS          SOUTH TOMMYSTAD        ME                  US    35393   121334378@AIRLINE.KIWI.COM
RMAV3H   8/12/2020   OB    9/19/2020   WN;907;MBJ;BWI                          SILVESTRI UMBRO        ISERNIA             IT     2192   121336138@AIRLINE.KIWI.COM
RNFUHY   8/12/2020   OB    12/4/2020   WN;197;FLL;SJU                          LAKE GARRY             WALTHAM FOREST      GB     7695   121337524@AIRLINE.KIWI.COM
RNHGVH   8/12/2020   OB    8/12/2020   WN;226;MCO;STL;WN;1064;STL;LAX          NORTH JAREDSIDE        SC                  US     6392   121338294@AIRLINE.KIWI.COM
RP2B33   8/12/2020   OB    8/19/2020   WN;885;MCO;SJU                          LORENZAFURT            ZUG                 CH    39735   121338921@AIRLINE.KIWI.COM
RPYWUI   8/12/2020   OB    8/12/2020   WN;1193;LAX;LAS                         WILLIAMLAND            SD                  US    32069   121340384@AIRLINE.KIWI.COM
RPYWUI   8/12/2020   OB    8/12/2020   WN;1193;LAX;LAS                         WILLIAMLAND            SD                  US    32069   121340384@AIRLINE.KIWI.COM
RRDC6N   8/12/2020   OB    8/30/2020   WN;629;FLL;BNA                          FRIESACH               VORARLBERG          AT    41418   121341462@AIRLINE.KIWI.COM
RRN8KP   8/12/2020   OB    8/26/2020   WN;441;ATL;JAX                          JENNIFERHAVEN          IN                  US    43262   121342430@AIRLINE.KIWI.COM
RTDXD9   8/12/2020   OB    8/23/2020   WN;1873;MDW;MSP                         LAKE JESSICAPORT       OR                  US    98332   121339053@AIRLINE.KIWI.COM
RU86P3   8/12/2020   OB    8/14/2020   WN;125;MDW;DTW                          PORT DANIEL            OR                  US    90588   121344377@AIRLINE.KIWI.COM
RU8CQB   8/12/2020   OB    8/17/2020   WN;1271;RIC;ATL;WN;1271;ATL;HOU;WN;188; BISHOPVIEW             NM                  US     9647   121343948@AIRLINE.KIWI.COM
S2KMJN   8/12/2020   OB    8/25/2020   WN;1140;SNA;LAS;WN;688;LAS;SAT          SOUTH MICHAEL          RI                  US    77733   121351560@AIRLINE.KIWI.COM
S2LSBO   8/12/2020   OB     9/4/2020   WN;1484;MSP;DEN                         FLORESHAVEN            NJ                  US    26447   121351384@AIRLINE.KIWI.COM
S2QCBB   8/12/2020   OB    8/28/2020   WN;1193;LAX;LAS                         JAMESLAND              KS                  US    54760   121351527@AIRLINE.KIWI.COM
S2TZUZ   8/12/2020   OB    8/12/2020   WN;1509;STL;PHL                         GUTIERREZCHESTER       CT                  US    91145   119273319.1417985@AIRLINE.KIWI.COM
S3BBAV   8/12/2020   OB    8/12/2020   WN;1335;LAX;LAS                         LAKE MICHAELVIEW       VA                  US    26558   121352627@AIRLINE.KIWI.COM
S3FTHS   8/12/2020   OB    9/13/2020   WN;2498;SLC;OAK;WN;808;OAK;HNL          WESTHAVEN              AL                  US    40335   121352693@AIRLINE.KIWI.COM
S3R7OX   8/12/2020   OB     9/7/2020   WN;6790;MKE;DEN                         EAST ANDREWBURY        TX                  US    77067   119399863@AIRLINE.KIWI.COM
S3YEU9   8/12/2020   OB    8/14/2020   WN;970;IAD;ATL;WN;408;ATL;DAL           CHANGSHIRE             NH                  US    57080   121352165@AIRLINE.KIWI.COM
S44GWT   8/12/2020   OB    8/12/2020   WN;1335;LAX;LAS                         SHANNONVIEW            KY                  US    35516   121353111@AIRLINE.KIWI.COM
S4SYII   8/12/2020   OB    8/15/2020   WN;6590;LAX;LAS                         OSCARMOUTH             WY                  US    93345   121354233@AIRLINE.KIWI.COM
S4SYII   8/12/2020   OB    8/15/2020   WN;6590;LAX;LAS                         OSCARMOUTH             WY                  US    93345   121354233@AIRLINE.KIWI.COM
S5452T   8/12/2020   OB    8/26/2020   WN;1079;HNL;OAK;WN;1013;OAK;SLC         ALICIAFURT             ID                  US     5042   121353892@AIRLINE.KIWI.COM
S5YXZS   8/12/2020   OB    9/26/2020   WN;1733;DEN;GRR                         NEW DEREK              IN                  US    98791   121355542@AIRLINE.KIWI.COM
S6FL5F   8/12/2020   OB    8/18/2020   WN;1111;SJU;MCO                         ALICANTE               MELILLA             ES    13632   120983731.1418045@AIRLINE.KIWI.COM
S6FL5F   8/12/2020   OB    8/18/2020   WN;1111;SJU;MCO                         ALICANTE               MELILLA             ES    13632   120983731.1418045@AIRLINE.KIWI.COM
S6FL5F   8/12/2020   OB    8/18/2020   WN;1111;SJU;MCO                         ALICANTE               MELILLA             ES    13632   120983731.1418045@AIRLINE.KIWI.COM
S6FL5F   8/12/2020   OB    8/18/2020   WN;1111;SJU;MCO                         ALICANTE               MELILLA             ES    13632   120983731.1418045@AIRLINE.KIWI.COM
S7K27U   8/12/2020   OB    8/12/2020   WN;1335;LAX;LAS                         PATRICIAMOUTH          MI                  US    57127   121356697@AIRLINE.KIWI.COM
S8SLTL   8/12/2020   OB    8/12/2020   WN;1335;LAX;LAS                         LUCASBOROUGH           SD                  US    11271   121357885@AIRLINE.KIWI.COM
SBKV7F   8/12/2020   OB    8/12/2020   WN;331;PHX;SFO                          WEST TIMOTHYSTAD       NH                  US    49332   121361537@AIRLINE.KIWI.COM
SCJNON   8/12/2020   OB    8/13/2020   WN;1541;SAT;PHX;WN;1541;PHX;SLC         WEST DAVID             IL                  US    41126   121362043@AIRLINE.KIWI.COM
SCJNON   8/12/2020   OB    8/15/2020   WN;1336;SLC;MDW;WN;1349;MDW;CLE         WEST DAVID             IL                  US    41126   121362043@AIRLINE.KIWI.COM
SCKUMP   8/12/2020   OB    8/16/2020   WN;1327;SAN;SJC                         SOUTH MALIK            OBWALDEN            CH    31173   121362219@AIRLINE.KIWI.COM
SCVZ7J   8/12/2020   OB    8/28/2020   WN;1335;LAX;LAS                         MOOREBURGH             VT                  US    54070   121362296@AIRLINE.KIWI.COM
SCVZ7J   8/12/2020   OB    8/28/2020   WN;1335;LAX;LAS                         MOOREBURGH             VT                  US    54070   121362296@AIRLINE.KIWI.COM
SCY435   8/12/2020   OB    8/15/2020   WN;807;DCA;STL;WN;36;STL;OKC            JENNIFERVIEW           VT                  US    65434   120215337@AIRLINE.KIWI.COM
SD6J39   8/12/2020   OB     9/5/2020   WN;1207;SAN;LAS                         SMITHTOWN              CA                  US    94224   121362571@AIRLINE.KIWI.COM
SECU5R   8/12/2020   OB    8/15/2020   WN;160;SJU;MCO                          ERAKLEIO               PIERIA              GR    90953   121363946@AIRLINE.KIWI.COM
SECU5R   8/12/2020   OB    8/15/2020   WN;160;SJU;MCO                          ERAKLEIO               PIERIA              GR    90953   121363946@AIRLINE.KIWI.COM
SEFC8N   8/12/2020   OB     9/2/2020   WN;274;LAS;SMF                          JENNINGSCHESTER        CT                  US    37590   121362791@AIRLINE.KIWI.COM
SEG9IF   8/12/2020   OB    8/19/2020   WN;1334;MEM;MDW                         DANIELBURGH            RI                  US     2891   121364584@AIRLINE.KIWI.COM
SFRYRS   8/12/2020   OB    9/19/2020   WN;2091;DEN;GRR                         PHAMHAVEN              NV                  US    46459   121365882@AIRLINE.KIWI.COM
SG66UN   8/12/2020   OB    8/17/2020   WN;398;ATL;FLL                          PORT CHADSHIRE         PA                  US     5879   121366663@AIRLINE.KIWI.COM
SGNEI5   8/12/2020   OB    9/19/2020   WN;2091;DEN;GRR                         RHONDAFURT             WI                  US    12874   121366861@AIRLINE.KIWI.COM
SI4ZNV   8/12/2020   OB    9/19/2020   WN;2091;DEN;GRR                         NEW LINDABURY          GA                  US    84258   121368533@AIRLINE.KIWI.COM
SLI2QC   8/12/2020   OB   10/11/2020   WN;808;OAK;HNL;WN;751;HNL;KOA           KELLYFURT              SC                  US    80805   121371129@AIRLINE.KIWI.COM
SLI2QC   8/12/2020   RT   10/19/2020   WN;752;KOA;HNL;WN;759;HNL;OAK           KELLYFURT              SC                  US    80805   121371129@AIRLINE.KIWI.COM
SMR486   8/12/2020   OB     9/7/2020   WN;1884;LAS;LGB                         SOUTH JAREDLAND        KY                  US    11655   121372207@AIRLINE.KIWI.COM
SOFBP6   8/12/2020   OB    8/28/2020   WN;328;CUN;HOU                          MOHAMMEDMOUTH          RUTLAND             GB    44816   121373307@AIRLINE.KIWI.COM
SOUTH5   8/12/2020   OB    8/13/2020   WN;1784;SMF;LAX                         WEST ALEXIS            KS                  US    40478   121373285@AIRLINE.KIWI.COM
SPS9B3   8/12/2020   OB    8/31/2020   WN;363;ONT;MDW;WN;363;MDW;DTW           SOUTH KEVINHAVEN       HI                  US    86535   121374088@AIRLINE.KIWI.COM
SR2F3Y   8/12/2020   OB    9/13/2020   WN;2523;SMF;ONT                         NORTH JOHN             UT                  US    34805   121374902@AIRLINE.KIWI.COM
SR2QPI   8/12/2020   OB    8/13/2020   WN;126;BNA;OKC                          EMILYSHIRE             SD                  US    25843   121374726@AIRLINE.KIWI.COM
SRCCEX   8/12/2020   OB    8/13/2020   WN;1626;LAX;LAS                         FRIEDMANMOUTH          NM                  US    77459   121374770@AIRLINE.KIWI.COM
SRTPI8   8/12/2020   OB    8/15/2020   WN;1090;HOU;LAX                         FRANCISCOMOUTH         IL                  US    48472   121375551@AIRLINE.KIWI.COM
SS7WIL   8/12/2020   OB    8/14/2020   WN;753;LAS;LAX                          SOUTH ERIC             MN                  US    85183   121375804@AIRLINE.KIWI.COM
SSPAEL   8/12/2020   OB    8/13/2020   WN;1403;OMA;PHX;WN;1304;PHX;LAX         SOUTH RYANFURT         AL                  US    77103   121375925@AIRLINE.KIWI.COM
STBB28   8/12/2020   OB    9/13/2020   WN;971;MDW;HOU                          AMANDAMOUTH            GA                  US    86480   121376893@AIRLINE.KIWI.COM
STGGOX   8/12/2020   OB    9/23/2020   WN;1610;CUN;BWI                         EAST DAVID             SASKATCHEWAN        CA    66192   121376948@AIRLINE.KIWI.COM
STGGOX   8/12/2020   OB    9/23/2020   WN;1610;CUN;BWI                         EAST DAVID             SASKATCHEWAN        CA    66192   121376948@AIRLINE.KIWI.COM
STX8NH   8/12/2020   OB    8/13/2020   WN;866;LAX;LAS                          EAST EVANTOWN          NY                  US    55532   121376970@AIRLINE.KIWI.COM
STYICR   8/12/2020   OB    9/18/2020   WN;1609;BWI;CUN                         NORTH JADEPORT         WEXFORD             IE    26485   121376915@AIRLINE.KIWI.COM
STYICR   8/12/2020   OB    9/18/2020   WN;1609;BWI;CUN                         NORTH JADEPORT         WEXFORD             IE    26485   121376915@AIRLINE.KIWI.COM
SU3AW6   8/12/2020   OB    9/12/2020   WN;2371;MSP;MDW                         WEST SETH              LA                  US     9044   121376893@AIRLINE.KIWI.COM
SVG42B   8/12/2020   OB    8/15/2020   WN;160;SJU;MCO                          CIPLUN                 JHARKHAND           IN    61099   121377971@AIRLINE.KIWI.COM
SVG42B   8/12/2020   RT    8/18/2020   WN;1110;MCO;SJU                         CIPLUN                 JHARKHAND           IN    61099   121377971@AIRLINE.KIWI.COM
SWJUE2   8/13/2020   OB    8/23/2020   WN;1228;LAX;BWI                         PORT MELISSABURY       AL                  US    66100   121378246@AIRLINE.KIWI.COM
SYQVT3   8/13/2020   OB    8/30/2020   WN;1742;LAS;MDW;WN;1555;MDW;PHL         WEST BRIAN             TN                  US    46586   121379027@AIRLINE.KIWI.COM
SYQVT3   8/13/2020   OB    8/30/2020   WN;1742;LAS;MDW;WN;1555;MDW;PHL         WEST BRIAN             TN                  US    46586   121379027@AIRLINE.KIWI.COM
SYTFZU   8/13/2020   OB    8/14/2020   WN;873;BUR;PDX                          PORT DUSTINMOUTH       IA                  US    87917   121379225@AIRLINE.KIWI.COM
SYTFZU   8/13/2020   RT    8/17/2020   WN;418;PDX;BUR                          PORT DUSTINMOUTH       IA                  US    87917   121379225@AIRLINE.KIWI.COM
SYWUZ5   8/13/2020   OB    8/28/2020   WN;3367;RDU;MCO                         MUNOZCHESTER           TN                  US    48762   121379247@AIRLINE.KIWI.COM
SZLCHN   8/13/2020   OB   11/22/2020   WN;1334;ATL;MCO                         LAKE MICHAELTOWN       AR                  US    78948   121379236@AIRLINE.KIWI.COM
SZLCHN   8/13/2020   RT   11/28/2020   WN;1757;MCO;ATL                         LAKE MICHAELTOWN       AR                  US    78948   121379236@AIRLINE.KIWI.COM
T2BYZ6   8/13/2020   OB   10/16/2020   WN;1582;PIT;BNA;WN;1919;BNA;AUS         KNAPPMOUTH             TX                  US     7186   121379610@AIRLINE.KIWI.COM
T4U99M   8/13/2020   OB    8/13/2020   WN;6396;LAS;SJC                         CLIFFORDSTAD           FL                  US    27118   121380325@AIRLINE.KIWI.COM
T5RQ4J   8/13/2020   OB     9/3/2020   WN;1484;MSP;DEN;WN;1012;DEN;ABQ         LAKE THOMASMOUTH       GA                  US    84336   121380677@AIRLINE.KIWI.COM
T5RQ4J   8/13/2020   OB     9/3/2020   WN;1484;MSP;DEN;WN;1012;DEN;ABQ         LAKE THOMASMOUTH       GA                  US    84336   121380677@AIRLINE.KIWI.COM
T8DS8Z   8/13/2020   OB    8/14/2020   WN;1036;ATL;TPA                         GREBENA                KAVALA              GR    52505   121381348@AIRLINE.KIWI.COM
T8I7ER   8/13/2020   OB    8/17/2020   WN;226;MCO;STL;WN;1064;STL;LAX          BEANFORT               CA                  US      877   121380787@AIRLINE.KIWI.COM
T8JMG7   8/13/2020   OB    9/10/2020   WN;1974;OAK;SAN                         NICOLEBERG             TX                  US    90056   121381766@AIRLINE.KIWI.COM
T99VD4   8/13/2020   OB    9/12/2020   WN;2521;SAN;OAK                         SOTOSHIRE              WI                  US    24617   121381876@AIRLINE.KIWI.COM
T9RLI9   8/13/2020   OB    8/31/2020   WN;1724;LAS;MDW                         JENNINGSFORT           ID                  US    25195   121381843@AIRLINE.KIWI.COM
TB26HO   8/13/2020   OB    8/14/2020   WN;266;ATL;LGA                          LISAFURT               WY                  US     2306   121382316@AIRLINE.KIWI.COM
TB4XRZ   8/13/2020   OB    8/13/2020   WN;1433;SAN;SFO                         PARKERSTAD             MS                  US    85891   121382294@AIRLINE.KIWI.COM
TBCVIX   8/13/2020   OB    8/27/2020   WN;997;SJC;LAS                          MOOREBURGH             AL                  US    12176   121382272@AIRLINE.KIWI.COM
TCC3G6   8/13/2020   OB    8/26/2020   WN;903;SMF;SAN                          KHUTIR ROMAN           RIVNENSKA OBLAST    UA    31104   121382635@AIRLINE.KIWI.COM
TCC3G6   8/13/2020   OB    8/26/2020   WN;903;SMF;SAN                          KHUTIR ROMAN           RIVNENSKA OBLAST    UA    31104   121382635@AIRLINE.KIWI.COM
TCC3G6   8/13/2020   OB    8/26/2020   WN;903;SMF;SAN                          KHUTIR ROMAN           RIVNENSKA OBLAST    UA    31104   121382635@AIRLINE.KIWI.COM
TD92EW   8/13/2020   OB    8/29/2020   WN;1328;SAN;SMF                         HIGH CARSONHAVEN       WAIKATO             NZ     5629   121382712@AIRLINE.KIWI.COM
TD92EW   8/13/2020   OB    8/29/2020   WN;1328;SAN;SMF                         HIGH CARSONHAVEN       WAIKATO             NZ     5629   121382712@AIRLINE.KIWI.COM




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TD92EW   8/13/2020   OB    8/29/2020   WN;1328;SAN;SMF                   HIGH CARSONHAVEN       WAIKATO                 NZ    5629   121382712@AIRLINE.KIWI.COM
TDOGDV   8/13/2020   OB    8/17/2020   WN;1782;DAL;LAS;WN;892;LAS;LAX    EAST CRYSTALTON        MT                      US   69866   121383108@AIRLINE.KIWI.COM
TDOGDV   8/13/2020   RT    8/20/2020   WN;1031;LAX;PHX;WN;174;PHX;DAL    EAST CRYSTALTON        MT                      US   69866   121383108@AIRLINE.KIWI.COM
TDRT8Q   8/13/2020   OB    8/13/2020   WN;44;BNA;ATL                     WILLIAMTON             AL                      US   81904   121382899@AIRLINE.KIWI.COM
TEGL8X   8/13/2020   OB    8/23/2020   WN;382;DAL;MDW                    OREBRO                 VARMLANDS LAN           SE   54798   121383515@AIRLINE.KIWI.COM
TFA7IR   8/13/2020   OB    8/17/2020   WN;441;RIC;ATL                    KERRPORT               MO                      US   56187   121383614@AIRLINE.KIWI.COM
TFEJWP   8/13/2020   OB     9/2/2020   WN;4543;MCO;SJU                   BURNSHAVEN             NH                      US    9027   121383702@AIRLINE.KIWI.COM
TFKN5M   8/13/2020   OB    8/21/2020   WN;1080;LAX;LAS                   JACKSONBURGH           CO                      US   86085   121383757@AIRLINE.KIWI.COM
TGFOO4   8/13/2020   OB    8/26/2020   WN;520;DAL;TUL                    BOYDFURT               OH                      US   70079   121383482@AIRLINE.KIWI.COM
TGJYV7   8/13/2020   OB    8/27/2020   WN;1582;STL;MDW                   MARTINHAVEN            NC                      US   58456   121383856@AIRLINE.KIWI.COM
TR4F2F   8/13/2020   OB     9/2/2020   WN;389;BUR;LAS;WN;643;LAS;SLC     WEST SCOTT             OK                      US   99892   121387024@AIRLINE.KIWI.COM
TS4DQF   8/13/2020   OB     9/5/2020   WN;999;SLC;DEN;WN;1615;DEN;BUR    NEW SCOTT              CT                      US   56922   121387255@AIRLINE.KIWI.COM
UBIH4O   8/13/2020   OB    8/16/2020   WN;1080;LAX;LAS                   P NIZHNII TAGIL        VOLOGODSKAYA OBLAST     RU   29847   121393591@AIRLINE.KIWI.COM
UBIH4O   8/13/2020   OB    8/16/2020   WN;1080;LAX;LAS                   P NIZHNII TAGIL        VOLOGODSKAYA OBLAST     RU   29847   121393591@AIRLINE.KIWI.COM
UCV3BU   8/13/2020   OB    9/14/2020   WN;2422;MDW;FLL                   EAST RACHEL            AL                      US   72962   121371008@AIRLINE.KIWI.COM
UDAZOJ   8/13/2020   OB    8/13/2020   WN;1207;SAN;LAS                   LEEBOROUGH             RI                      US   69777   121403414@AIRLINE.KIWI.COM
USXEZH   8/13/2020   OB    8/20/2020   WN;1246;OKC;PHX;WN;210;PHX;OAK    NEW TERESA             VT                      US   31258   121419386@AIRLINE.KIWI.COM
UVIOYI   8/13/2020   OB    8/13/2020   WN;441;RIC;ATL                    NORTH RENEE            VA                      US   16486   121421300@AIRLINE.KIWI.COM
UWH8KU   8/13/2020   OB    8/19/2020   WN;996;LAX;BWI;WN;224;BWI;ROC     GONZALESMOUTH          WI                      US   53170   121423093@AIRLINE.KIWI.COM
UXBMEQ   8/13/2020   OB     9/3/2020   WN;1716;DAL;PHX;WN;1206;PHX;SAN   NORTH CAROLHAVEN       WA                      US   95941   121424402@AIRLINE.KIWI.COM
UXL32R   8/13/2020   OB    8/23/2020   WN;706;SAN;PHX;WN;174;PHX;DAL     WEST STEPHANIE         MN                      US   52308   121424391@AIRLINE.KIWI.COM
V2TL4F   8/13/2020   OB    8/14/2020   WN;208;PHX;SFO                    KYEREWAASHIRE          GREATER ACCRA           GH   61440   121427933@AIRLINE.KIWI.COM
V3J63R   8/13/2020   OB    9/23/2020   WN;1607;BWI;CUN                   WEST ANTHONYBURY       CAVAN                   IE   35413   121425546@AIRLINE.KIWI.COM
V4W3TR   8/13/2020   OB    8/13/2020   WN;1690;DCA;HOU                   EDWARDCHESTER          FL                      US   79444   121431024@AIRLINE.KIWI.COM
V694BL   8/13/2020   OB    8/13/2020   WN;1582;STL;MDW                   NORTH CAROLYN          SD                      US    8300   121433026@AIRLINE.KIWI.COM
V8ADP8   8/13/2020   OB     9/1/2020   WN;966;MDW;MSY                    DAVIDTON               NJ                      US   16291   121434555@AIRLINE.KIWI.COM
V9KTRX   8/13/2020   OB     9/1/2020   WN;174;DTW;BNA;WN;975;BNA;HOU     WEST CHRISTOPHER       AL                      US   76305   121436183@AIRLINE.KIWI.COM
VADPTI   8/13/2020   OB    8/26/2020   WN;568;HOU;BNA;WN;348;BNA;DTW     SOUTH TRISTAN          LA                      US   21223   121436194@AIRLINE.KIWI.COM
VAVSSH   8/13/2020   OB    8/14/2020   WN;1194;LAS;LAX                   D KURTAMYSH            ARKHANGELSKAYA OBLAST   RU   68541   121437261@AIRLINE.KIWI.COM
VCDZEV   8/13/2020   OB    8/18/2020   WN;1185;DEN;LAX                   TONG LIAO SHI          JIANGSU SHENG           CN   83570   121435974@AIRLINE.KIWI.COM
VDZNN2   8/13/2020   OB    8/18/2020   WN;872;DEN;BOS                    BERNARDO A MARE        FERRARA                 IT   25126   121429407@AIRLINE.KIWI.COM
VE6892   8/13/2020   OB    8/13/2020   WN;1480;SFO;LAS                   VIANA                  PARAIBA                 BR   97397   121440880@AIRLINE.KIWI.COM
VF2OC5   8/13/2020   OB    8/14/2020   WN;1625;ORF;BWI;WN;1240;BWI;RDU   LAKE AMANDAHAVEN       NY                      US   81905   121441452@AIRLINE.KIWI.COM
VF5V89   8/13/2020   OB    8/15/2020   WN;412;TPA;HOU;WN;438;HOU;OAK     LAKE JONATHANMOUTH     DIEKIRCH                LU   74837   121442002@AIRLINE.KIWI.COM
VF8EE2   8/13/2020   OB    8/14/2020   WN;1185;LAX;LAS                   NEW EMILYMOUTH         AZ                      US    5379   121441683@AIRLINE.KIWI.COM
VFZCC7   8/13/2020   OB    8/16/2020   WN;1702;LAS;PHX                   WEST RACHEL            FL                      US   70571   121442871@AIRLINE.KIWI.COM
VIKTI9   8/13/2020   OB    8/20/2020   WN;1630;MDW;HOU                   RHODESPORT             UT                      US   86099   121444521.1419198@AIRLINE.KIWI.COM
VIKTI9   8/13/2020   OB    8/20/2020   WN;1630;MDW;HOU                   TINLEY PARK            IL                      US   60477   121444521.1419198@AIRLINE.KIWI.COM
VILVIX   8/13/2020   OB    8/16/2020   WN;1666;ATL;BWI                   SOUTH LORI             AL                      US   40759   121445335@AIRLINE.KIWI.COM
VIPSMA   8/13/2020   OB    8/17/2020   WN;1487;SNA;SMF                   KHUTIR ARKADII         CHERKASKA OBLAST        UA   23821   121445555@AIRLINE.KIWI.COM
VJP3QC   8/13/2020   OB    8/16/2020   WN;1426;SMF;SNA                   KAVALIAUSKASSTAD       KAUNO APSKRITIS         LT   79673   121445533@AIRLINE.KIWI.COM
VJV8WD   8/13/2020   OB    8/14/2020   WN;48;CMH;HOU                     NEW JESSICAMOUTH       PA                      US   70148   121446094@AIRLINE.KIWI.COM
VL4QMK   8/13/2020   OB    8/14/2020   WN;698;OKC;MDW;WN;901;MDW;CVG     EAST SAMANTHAMOUTH     TX                      US   57648   121447557@AIRLINE.KIWI.COM
VL7ORB   8/13/2020   OB    8/17/2020   WN;1087;MCO;DCA                   BAD LIEBENWERDA        HAMBURG                 DE   69953   121447975@AIRLINE.KIWI.COM
VLYKC3   8/13/2020   OB    8/28/2020   WN;378;ATL;LAS                    PORT SAMANTHA          UT                      US   65198   121448074@AIRLINE.KIWI.COM
VLZRHM   8/13/2020   OB    8/21/2020   WN;1362;MSY;DEN;WN;1150;DEN;SEA   HALETON                DE                      US   23542   121448536@AIRLINE.KIWI.COM
VNTAX4   8/13/2020   OB    8/14/2020   WN;895;MAF;DAL                    SANDOMIERZ             MAZOWIECKIE             PL   66204   121450483@AIRLINE.KIWI.COM
VPRL8E   8/13/2020   OB    8/20/2020   WN;873;BUR;SMF                    EDWARDSMOUTH           MO                      US   43267   121451836@AIRLINE.KIWI.COM
VSWK3G   8/13/2020   OB    8/27/2020   WN;1671;TPA;FLL                   MARGARETBURY           FL                      US   43800   121454641@AIRLINE.KIWI.COM
VVDGEU   8/13/2020   OB    9/24/2020   WN;1609;BWI;CUN                   SOUTH KRISTENVIEW      NC                      US   64553   121457303@AIRLINE.KIWI.COM
VVDGEU   8/13/2020   OB    9/24/2020   WN;1609;BWI;CUN                   SOUTH KRISTENVIEW      NC                      US   64553   121457303@AIRLINE.KIWI.COM
VWROHX   8/13/2020   OB    8/27/2020   WN;1671;TPA;FLL                   NORTH TIFFANY          GA                      US   96921   121459558@AIRLINE.KIWI.COM
VWZZ6P   8/13/2020   OB    8/13/2020   WN;270;SMF;LAS                    FRANKTOWN              MS                      US   53262   121459195@AIRLINE.KIWI.COM
VXPJ9R   8/13/2020   OB    8/22/2020   WN;1111;SJU;MCO                   PORT SUZANNESTAD       WV                      US   47342   121460152@AIRLINE.KIWI.COM
W2MIFL   8/13/2020   OB    8/14/2020   WN;148;MHT;BWI;WN;320;BWI;SDF     PORT BRANDONPORT       SC                      US   59225   121462825@AIRLINE.KIWI.COM
W2MIFL   8/13/2020   RT    8/16/2020   WN;1239;SDF;BWI;WN;1836;BWI;MHT   PORT BRANDONPORT       SC                      US   59225   121462825@AIRLINE.KIWI.COM
W3FFYM   8/13/2020   OB    8/28/2020   WN;1485;PHX;DAL                   JOHNSONSHIRE           RI                      US   66045   121463529@AIRLINE.KIWI.COM
W3UI8N   8/13/2020   OB    8/26/2020   WN;1704;BWI;LAX                   BLAKEMOUTH             OR                      US   92819   121464035@AIRLINE.KIWI.COM
W4LJ7C   8/13/2020   OB    8/23/2020   WN;650;ABQ;LAS;WN;537;LAS;RNO     HOLDENBURGH            VA                      US    4977   121464596@AIRLINE.KIWI.COM
W6HVO6   8/13/2020   OB    8/28/2020   WN;1594;CMH;DEN                   SCOTTBOROUGH           KY                      US   73082   121466290@AIRLINE.KIWI.COM
W77VQQ   8/13/2020   OB    9/24/2020   WN;2594;LAS;PHX;WN;1992;PHX;ELP   EL PASO                TX                      US   79924   121467236@AIRLINE.KIWI.COM
W77VQQ   8/13/2020   OB    9/24/2020   WN;2594;LAS;PHX;WN;1992;PHX;ELP   SETTIMO AMEDEO VENET   RIETI                   IT   81041   121467236@AIRLINE.KIWI.COM
W8DKOH   8/13/2020   OB   12/18/2020   WN;821;MSP;MDW;WN;51;MDW;STL      CARLOSTOWN             RI                      US   74639   121467786@AIRLINE.KIWI.COM
W8JKCB   8/13/2020   OB     1/9/2021   WN;3748;STL;MDW;WN;3607;MDW;MSP   COOKVILLE              NC                      US   82501   121467797@AIRLINE.KIWI.COM
WAC6D4   8/13/2020   OB    8/17/2020   WN;881;SJD;HOU;WN;198;HOU;LGA     TURNERFORT             CT                      US   20334   121469007@AIRLINE.KIWI.COM
WAC6D4   8/13/2020   OB    8/17/2020   WN;881;SJD;HOU;WN;198;HOU;LGA     TURNERFORT             CT                      US   20334   121469007@AIRLINE.KIWI.COM
WDAGZL   8/13/2020   OB    8/24/2020   WN;1351;LAS;SLC                   NORTH JUSTINLAND       MD                      US    5459   121470492@AIRLINE.KIWI.COM
WDUKDC   8/13/2020   OB    8/14/2020   WN;1607;BWI;CUN                   NEW EVELYNBOROUGH      AL                      US   77264   121470503@AIRLINE.KIWI.COM
WF7T7B   8/13/2020   OB    8/27/2020   WN;308;CUN;HOU;WN;51;HOU;LAX      PEREIRA DAS PEDRAS     MINAS GERAIS            BR   86534   121471548@AIRLINE.KIWI.COM
WF8X6D   8/13/2020   OB    8/14/2020   WN;866;BOI;SJC;WN;6396;SJC;PDX    NEW GILBERTLAND        AL                      US   13279   121471713@AIRLINE.KIWI.COM
JA5CD9   8/14/2020   OB    8/14/2020   WN;215;PHX;ATL                    WEST DAVID             OK                      US   25213   121482900@AIRLINE.KIWI.COM
JES3RX   8/14/2020   OB    8/26/2020   WN;662;ABQ;OAK                    EAST JUSTINBERG        NH                      US   42212   121485969@AIRLINE.KIWI.COM
JF6T27   8/14/2020   OB     9/5/2020   WN;1407;OAK;ABQ                   WEST PAMELAHAVEN       NH                      US   94760   121485969@AIRLINE.KIWI.COM
JIMQNG   8/14/2020   OB    8/14/2020   WN;1080;OAK;LAX                   NORTH TRISTANSTAD      WA                      US    1184   121488576@AIRLINE.KIWI.COM
JIVB6S   8/14/2020   OB    8/16/2020   WN;645;LAX;OAK                    WEST ANDREA            CO                      US   96485   121488576@AIRLINE.KIWI.COM
JJ4BSQ   8/14/2020   OB    8/14/2020   WN;608;SAN;LAS                    LAKE TERESAPORT        VA                      US   31546   121489016@AIRLINE.KIWI.COM
JL7CGZ   8/14/2020   OB    8/14/2020   WN;174;BWI;DTW                    KELLYMOUTH             NJ                      US   12979   121489995@AIRLINE.KIWI.COM
JO6H2E   8/14/2020   OB    9/11/2020   WN;950;BWI;BOS                    NICHOLASFURT           CT                      US   29136   121492855@AIRLINE.KIWI.COM
JTR5IR   8/14/2020   OB    8/15/2020   WN;2039;SMF;PHX;WN;2101;PHX;SAN   WILSONSHIRE            VA                      US   73192   121497915@AIRLINE.KIWI.COM
JVJ7QC   8/14/2020   OB    8/15/2020   WN;1197;SAT;HOU;WN;1722;HOU;STL   JOHNBURGH              CT                      US   18384   121499191@AIRLINE.KIWI.COM
K66M2B   8/14/2020   OB    9/13/2020   WN;2533;STL;DEN;WN;2448;DEN;SNA   COWANFURT              SC                      US   83958   121509201@AIRLINE.KIWI.COM
K6MHMO   8/14/2020   OB    8/14/2020   WN;174;BWI;DTW                    WEEKSFORT              WI                      US   53064   121508915@AIRLINE.KIWI.COM
K7VUO8   8/14/2020   OB    8/28/2020   WN;1347;IND;ATL                   NEW EVAN               OR                      US   19254   121510664@AIRLINE.KIWI.COM
KAOYVI   8/14/2020   OB     9/2/2020   WN;1061;MDW;LAS                   PORT DAVIDLAND         TX                      US    1983   121513491@AIRLINE.KIWI.COM
KB7ZVE   8/14/2020   OB     9/2/2020   WN;1061;MDW;LAS                   SOUTH TRACY            CT                      US   78489   121513315@AIRLINE.KIWI.COM
KCAWQQ   8/14/2020   OB    8/14/2020   WN;842;SLC;PHX;WN;1639;PHX;SMF    LAKE SARASHIRE         WA                      US   91656   121515119@AIRLINE.KIWI.COM
KEWNKV   8/14/2020   OB    8/14/2020   WN;398;ATL;FLL                    PORT ANN               VT                      US   14226   121517693@AIRLINE.KIWI.COM
KIWDPU   8/14/2020   OB    8/20/2020   WN;847;BNA;HOU                    JENSENMOUTH            TN                      US   54104   121521829@AIRLINE.KIWI.COM
KIWDPU   8/14/2020   RT    8/23/2020   WN;1100;HOU;BNA                   JENSENMOUTH            TN                      US   54104   121521829@AIRLINE.KIWI.COM
KJ6AS8   8/14/2020   OB    8/21/2020   WN;1732;ATL;LAS                   MCKINNEYSIDE           RI                      US    1328   121521532@AIRLINE.KIWI.COM
KJ7W5W   8/14/2020   OB    8/24/2020   WN;1152;LAS;ATL                   TIMOTHYCHESTER         GA                      US   95794   121521532@AIRLINE.KIWI.COM
KKA24V   8/14/2020   OB    8/30/2020   WN;1598;DEN;MSP                   WEST LISALAND          NV                      US    6048   121522731@AIRLINE.KIWI.COM
KM7U5F   8/14/2020   OB    8/17/2020   WN;1746;TPA;PHX;WN;1383;PHX;SEA   POOLEHAVEN             UT                      US   61853   121524722@AIRLINE.KIWI.COM
KNI9SM   8/14/2020   OB     9/3/2020   WN;1458;BWI;ISP                   SOUTH DENISE           ME                      US   97703   121525624@AIRLINE.KIWI.COM
KNM8H7   8/14/2020   OB     9/9/2020   WN;1040;ISP;BWI                   HALLFURT               KS                      US   97021   121525624@AIRLINE.KIWI.COM
KOAO35   8/14/2020   OB   11/17/2020   WN;3781;ABQ;LAS                   ROY                    ESSONNE                 FR   34966   121526251@AIRLINE.KIWI.COM
KP79KU   8/14/2020   OB    8/20/2020   WN;825;SLC;OAK;WN;442;OAK;GEG     NORTH JASONVIEW        AR                      US   46604   121527758@AIRLINE.KIWI.COM
KPYTJV   8/14/2020   OB    9/11/2020   WN;161;DEN;LAS                    HALLFURT               NJ                      US   97021   121529155@AIRLINE.KIWI.COM
KQ2UPN   8/14/2020   OB    9/21/2020   WN;2239;BNA;ATL;WN;2068;ATL;RIC   LEWISSIDE              TX                      US   69883   121522907@AIRLINE.KIWI.COM
KQ34Y6   8/14/2020   OB    9/15/2020   WN;1466;LAS;DEN                   SANDRASHIRE            ME                      US   88648   121529166@AIRLINE.KIWI.COM
KR3HGH   8/14/2020   OB    8/23/2020   WN;766;ATL;PBI                    COTTBUS                SCHLESWIGHOLSTEIN       DE   77209   121529672@AIRLINE.KIWI.COM
KR3HGH   8/14/2020   RT    8/24/2020   WN;1766;PBI;BWI;WN;1625;BWI;ATL   COTTBUS                SCHLESWIGHOLSTEIN       DE   77209   121529672@AIRLINE.KIWI.COM
KSIYOH   8/14/2020   OB     9/3/2020   WN;867;CLT;BWI                    EAST BRANDONLAND       MS                      US   97008   121531520@AIRLINE.KIWI.COM
KSJV4W   8/14/2020   OB    8/28/2020   WN;361;OAK;BWI                    STACIESHIRE            AK                      US   71581   121531773@AIRLINE.KIWI.COM
KSJV4W   8/14/2020   OB    8/28/2020   WN;361;OAK;BWI                    STACIESHIRE            AK                      US   71581   121531773@AIRLINE.KIWI.COM
KSJV4W   8/14/2020   OB    8/28/2020   WN;361;OAK;BWI                    STACIESHIRE            AK                      US   71581   121531773@AIRLINE.KIWI.COM
KSTLFA   8/14/2020   OB    8/23/2020   WN;6788;DEN;MCO                   LOPEZBERG              CO                      US   91408   121531938@AIRLINE.KIWI.COM




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KUX4V7   8/14/2020   OB    8/31/2020   WN;522;DEN;GRR                    WRIGHTBURY             HI                  US   35513   121534600@AIRLINE.KIWI.COM
KV2PLX   8/14/2020   OB    8/17/2020   WN;284;OAK;LGB                    XAVIERHAVEN            ME                  US   12352   121534765@AIRLINE.KIWI.COM
KV2PLX   8/14/2020   RT    8/20/2020   WN;1174;LGB;OAK                   XAVIERHAVEN            ME                  US   12352   121534765@AIRLINE.KIWI.COM
KVGS4N   8/14/2020   OB    8/21/2020   WN;1075;SMF;STL                   PORT NICHOLAS          MI                  US   68310   121534611@AIRLINE.KIWI.COM
KW9DJK   8/14/2020   OB    12/1/2020   WN;373;CLT;BWI                    SANCHEZTOWN            MT                  US   76334   121535480@AIRLINE.KIWI.COM
KX9TSH   8/14/2020   OB    8/16/2020   WN;961;BWI;ALB                    HERNANDEZLAND          WI                  US   94730   121537196@AIRLINE.KIWI.COM
L2TBLZ   8/14/2020   OB    8/21/2020   WN;226;MCO;STL;WN;1064;STL;LAX    NEW GABRIEL            ND                  US   37490   121540815@AIRLINE.KIWI.COM
L2XAUH   8/14/2020   OB    8/15/2020   WN;1636;DAL;LAX                   MICHAELFURT            IA                  US   88153   121539979@AIRLINE.KIWI.COM
L3UXEG   8/14/2020   OB    8/15/2020   WN;1561;GEG;LAS;WN;1561;LAS;HOU   BENSONBURY             GA                  US   57634   121541057@AIRLINE.KIWI.COM
L4RX3S   8/14/2020   OB    8/16/2020   WN;1096;MCO;ATL                   EAST RUSSELL           MT                  US   79695   121542234@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   OB    8/27/2020   WN;1442;SJU;MCO                   TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   OB    8/27/2020   WN;1442;SJU;MCO                   TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   OB    8/27/2020   WN;1442;SJU;MCO                   TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   OB    8/27/2020   WN;1442;SJU;MCO                   TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   RT     9/4/2020   WN;976;MCO;SJU                    TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   RT     9/4/2020   WN;976;MCO;SJU                    TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   RT     9/4/2020   WN;976;MCO;SJU                    TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5HF5A   8/14/2020   RT     9/4/2020   WN;976;MCO;SJU                    TUAL                   KALIMANTAN TENGAH   ID   71006   121542993@AIRLINE.KIWI.COM
L5JOR9   8/14/2020   OB    9/16/2020   WN;1599;MSY;LAX                   PETERSENSIDE           VT                  US   70651   121542795@AIRLINE.KIWI.COM
L5JOR9   8/14/2020   OB    9/16/2020   WN;1599;MSY;LAX                   PETERSENSIDE           VT                  US   70651   121542795@AIRLINE.KIWI.COM
L5JOR9   8/14/2020   OB    9/16/2020   WN;1599;MSY;LAX                   PETERSENSIDE           VT                  US   70651   121542795@AIRLINE.KIWI.COM
L6WNZA   8/14/2020   OB    9/17/2020   WN;1148;OKC;HOU                   LAKE MARIABERG         CT                  US    3132   121544005@AIRLINE.KIWI.COM
L6WNZA   8/14/2020   OB    9/17/2020   WN;1148;OKC;HOU                   LAKE MARIABERG         CT                  US    3132   121544005@AIRLINE.KIWI.COM
L7WSXG   8/14/2020   OB    8/15/2020   WN;1464;SMF;LAS                   JASONMOUTH             TASMANIA            AU   29738   121545215@AIRLINE.KIWI.COM
LAAXPX   8/14/2020   OB    8/20/2020   WN;1540;ONT;OAK                   EAST GREGORIANMOUTH    GORJ                RO   54827   121546414@AIRLINE.KIWI.COM
LAAXPX   8/14/2020   OB    8/20/2020   WN;1540;ONT;OAK                   EAST GREGORIANMOUTH    GORJ                RO   54827   121546414@AIRLINE.KIWI.COM
LAAXPX   8/14/2020   RT    8/23/2020   WN;1554;OAK;ONT                   EAST GREGORIANMOUTH    GORJ                RO   54827   121546414@AIRLINE.KIWI.COM
LAAXPX   8/14/2020   RT    8/23/2020   WN;1554;OAK;ONT                   EAST GREGORIANMOUTH    GORJ                RO   54827   121546414@AIRLINE.KIWI.COM
LADDGZ   8/14/2020   OB    8/14/2020   WN;1541;PHX;SLC                   KRISTISIDE             SD                  US   20191   121546843@AIRLINE.KIWI.COM
LAOZVO   8/14/2020   OB   11/29/2020   WN;2967;DEN;DSM                   NEW LISAMOUTH          OR                  US   89097   121547184@AIRLINE.KIWI.COM
LAOZVO   8/14/2020   OB   11/29/2020   WN;2967;DEN;DSM                   NEW LISAMOUTH          OR                  US   89097   121547184@AIRLINE.KIWI.COM
LBGT42   8/14/2020   OB    8/17/2020   WN;892;LAS;LAX                    HOWARDPORT             MO                  US   45654   121547998@AIRLINE.KIWI.COM
LC76N5   8/14/2020   OB    8/15/2020   WN;1701;PHX;LAS                   THOMASTOWN             OK                  US   37552   121548757@AIRLINE.KIWI.COM
LCZFOG   8/14/2020   OB    8/14/2020   WN;112;HOU;MDW                    PORT MATTHEWMOUTH      HI                  US   40609   121549318@AIRLINE.KIWI.COM
LE7J2W   8/14/2020   OB    8/17/2020   WN;1711;SEA;SJC;WN;615;SJC;ONT    AINARSPORT             SKRUNDAS NOVADS     LV   42913   121550077@AIRLINE.KIWI.COM
LFNO2A   8/14/2020   OB     9/4/2020   WN;100;TUS;LAS                    PORT GABRIEL           NM                  US   11628   121550704@AIRLINE.KIWI.COM
LIFWMJ   8/14/2020   OB    8/15/2020   WN;788;SDF;TPA                    EAST WILLIAM           OH                  US   78590   121553135@AIRLINE.KIWI.COM
LJ34MD   8/14/2020   OB     9/4/2020   WN;733;BNA;DTW                    PITEA                  JAMTLANDS LAN       SE     744   121553113@AIRLINE.KIWI.COM
LJ34MD   8/14/2020   OB     9/4/2020   WN;733;BNA;DTW                    PITEA                  JAMTLANDS LAN       SE     744   121553113@AIRLINE.KIWI.COM
LJ3P2Y   8/14/2020   OB    8/18/2020   WN;1547;MCI;LAS                   NORTH RYANBERG         AR                  US   33655   121553388@AIRLINE.KIWI.COM
LKGIXZ   8/14/2020   OB    8/30/2020   WN;1036;LAS;ATL                   MARYCHESTER            AR                  US   70782   121554081@AIRLINE.KIWI.COM
LM6EVN   8/14/2020   OB    8/18/2020   WN;228;FLL;ATL;WN;1319;ATL;CMH    CRAIGBURY              TN                  US   90868   121555566@AIRLINE.KIWI.COM
LMBMIF   8/14/2020   OB     9/5/2020   WN;1152;PHL;DEN                   NORTH TANYASHIRE       SC                  US   43317   121556248@AIRLINE.KIWI.COM
LMCHSX   8/14/2020   OB    8/22/2020   WN;689;TPA;ATL                    EAST NICKBOROUGH       SYDDANMARK          DK   48619   121555984@AIRLINE.KIWI.COM
LMHB3P   8/14/2020   OB    8/21/2020   WN;1585;DEN;MSY                   JOSEPHVIEW             SC                  US   42539   121556006@AIRLINE.KIWI.COM
LNCKOF   8/14/2020   OB    8/17/2020   WN;1638;OAK;LAS                   THOMASTON              SD                  US   50791   121556699@AIRLINE.KIWI.COM
LNM3IE   8/14/2020   OB    8/20/2020   WN;1254;ABQ;LAS                   BURKESTAD              OK                  US   77821   120799371.1420550@AIRLINE.KIWI.COM
LT35AF   8/14/2020   OB    8/24/2020   WN;1159;DCA;MSY                   WEST LAURENBERG        PA                  US    4205   121560384@AIRLINE.KIWI.COM
LTIN22   8/14/2020   OB    9/21/2020   WN;907;MBJ;BWI                    JONESFORT              CO                  US   27461   121560076@AIRLINE.KIWI.COM
LTTNNT   8/14/2020   OB    8/16/2020   WN;668;SAN;OAK                    NEW ADAMMOUTH          NC                  US   13552   121560648@AIRLINE.KIWI.COM
LU2RLK   8/14/2020   OB    8/16/2020   WN;1813;PWM;BWI                   MILLERCHESTER          IN                  US   55217   121560516@AIRLINE.KIWI.COM
LUSIW3   8/14/2020   OB    8/21/2020   WN;1075;SMF;STL                   LAKE CHRISTIANMOUTH    AK                  US   25153   121560802@AIRLINE.KIWI.COM
LVDUPV   8/14/2020   OB    8/15/2020   WN;351;ELP;PHX;WN;351;PHX;MKE     SOUTH KOJOTOWN         CENTRAL             GH   50015   121561066@AIRLINE.KIWI.COM
LVGVM6   8/14/2020   OB    9/17/2020   WN;1986;DEN;OAK;WN;808;OAK;HNL    WEST MELISSA           WV                  US   74410   121561165@AIRLINE.KIWI.COM
LVIQMH   8/14/2020   OB    8/28/2020   WN;292;MKE;STL                    EAST THOMASVIEW        LA                  US   86923   121561099@AIRLINE.KIWI.COM
LVOJ65   8/14/2020   OB    9/17/2020   WN;1986;DEN;OAK;WN;808;OAK;HNL    LAKE WILLIAMTON        VT                  US   61346   121561198@AIRLINE.KIWI.COM
WFD84J   8/14/2020   OB    8/26/2020   WN;360;FLL;DCA                    BORLANGE               DALARNAS LAN        SE   79383   121471746@AIRLINE.KIWI.COM
WHKYBZ   8/14/2020   OB    8/16/2020   WN;1302;MSY;ATL                   LAKE BRENDACHESTER     NV                  US    4954   121473066@AIRLINE.KIWI.COM
WHSGEK   8/14/2020   OB    8/14/2020   WN;431;STL;MDW;WN;116;MDW;MCI     LAKE BRENDACHESTER     NE                  US    4954   121472879@AIRLINE.KIWI.COM
WJUSR2   8/14/2020   OB     9/5/2020   WN;1203;OAK;LAS                   NEW AKALANTON          IGDIR               TR   30669   121474375@AIRLINE.KIWI.COM
WJUSR2   8/14/2020   OB     9/5/2020   WN;1203;OAK;LAS                   NEW AKALANTON          IGDIR               TR   30669   121474375@AIRLINE.KIWI.COM
WK4OGN   8/14/2020   OB    9/13/2020   WN;1806;BNA;CHS                   NEW ALEXANDERCHESTER   CO                  US   41748   121474056@AIRLINE.KIWI.COM
WKKTMM   8/14/2020   OB    8/14/2020   WN;552;TPA;BNA                    ANTHONYTOWN            MD                  US    9905   121474518@AIRLINE.KIWI.COM
WLKOGL   8/14/2020   OB     9/5/2020   WN;1746;PIT;BWI                   JACKSONMOUTH           OR                  US   90407   121475398@AIRLINE.KIWI.COM
WLW5YN   8/14/2020   OB    8/15/2020   WN;10;ABQ;LAS                     SORONG                 BALI                ID   63548   121475574@AIRLINE.KIWI.COM
WNMM5S   8/14/2020   OB    8/14/2020   WN;931;SNA;LAS                    PAULBERG               IL                  US   72951   121476157@AIRLINE.KIWI.COM
WPGH82   8/14/2020   OB     9/5/2020   WN;402;TPA;SJU                    WILLIAMTON             DE                  US   38721   121476531@AIRLINE.KIWI.COM
WPOV67   8/14/2020   OB    8/15/2020   WN;1080;LAX;LAS                   SOUTH BRANDIPORT       CA                  US    7939   121476729@AIRLINE.KIWI.COM
WPOV67   8/14/2020   OB    8/15/2020   WN;1080;LAX;LAS                   SOUTH BRANDIPORT       CA                  US    7939   121476729@AIRLINE.KIWI.COM
WPOV67   8/14/2020   RT    8/17/2020   WN;1735;LAS;LAX                   SOUTH BRANDIPORT       CA                  US    7939   121476729@AIRLINE.KIWI.COM
WPOV67   8/14/2020   RT    8/17/2020   WN;1735;LAS;LAX                   SOUTH BRANDIPORT       CA                  US    7939   121476729@AIRLINE.KIWI.COM
WQ53EV   8/14/2020   OB   11/23/2020   WN;3156;SAN;LAS;WN;2177;LAS;CMH   PORT ERNESTBERG        MN                  US   62915   121477004@AIRLINE.KIWI.COM
WQ53EV   8/14/2020   RT   11/30/2020   WN;1750;CMH;PHX;WN;4086;PHX;SAN   PORT ERNESTBERG        MN                  US   62915   121477004@AIRLINE.KIWI.COM
WQRUF9   8/14/2020   OB   11/19/2020   WN;1128;CMH;MDW;WN;987;MDW;SAN    PORT MICHELLEMOUTH     HI                  US   42694   121477015@AIRLINE.KIWI.COM
WR77YT   8/14/2020   OB   11/23/2020   WN;4370;SAN;DEN;WN;3862;DEN;CMH   WEST DANIELMOUTH       NV                  US   74063   121477191@AIRLINE.KIWI.COM
WTAP4D   8/14/2020   OB    9/27/2020   WN;2468;PHX;HOU;WN;2468;HOU;CRP   NEW MARIAH             MO                  US    2730   121478192@AIRLINE.KIWI.COM
WTHXKA   8/14/2020   OB    8/18/2020   WN;1175;ATL;MDW                   PORT LISAFURT          IN                  US   33315   121478093@AIRLINE.KIWI.COM
WUVQJ6   8/14/2020   OB     9/3/2020   WN;198;AUS;HOU;WN;490;HOU;DEN     NEW JAMES              MA                  US   33725   121478753@AIRLINE.KIWI.COM
WV4G86   8/14/2020   OB    8/31/2020   WN;1645;DAL;LIT                   LISACHESTER            MT                  US   94755   121478676@AIRLINE.KIWI.COM
WW2RJB   8/14/2020   OB    8/22/2020   WN;1564;MSY;BWI                   FARO                   PORTALEGRE          PT   22779   121478885@AIRLINE.KIWI.COM
WW2RJB   8/14/2020   RT    8/25/2020   WN;695;BWI;MSY                    FARO                   PORTALEGRE          PT   22779   121478885@AIRLINE.KIWI.COM
WW4WJS   8/14/2020   OB    9/22/2020   WN;1452;LAX;BWI                   CAMERONLAND            VT                  US   60987   121479105@AIRLINE.KIWI.COM
WXZ553   8/14/2020   OB    8/29/2020   WN;621;STL;CLE                    NEW RYANVIEW           NE                  US   47500   121479578@AIRLINE.KIWI.COM
WZY2X3   8/14/2020   OB    8/28/2020   WN;1371;TUS;LAX                   BRUSPERK               FRYDEK MISTEK       CZ   64386   121480018@AIRLINE.KIWI.COM
LXL52K   8/15/2020   OB    9/17/2020   WN;1986;DEN;OAK;WN;808;OAK;HNL    NORTH ROBERT           VA                  US   52598   121562133@AIRLINE.KIWI.COM
LXL52K   8/15/2020   OB    9/17/2020   WN;1986;DEN;OAK;WN;808;OAK;HNL    NORTH ROBERT           VA                  US   52598   121562133@AIRLINE.KIWI.COM
LYRK4S   8/15/2020   OB    9/16/2020   WN;1599;MSY;LAX                   HENG BANG SHI QUAN Q   AOMORI              JP   99946   121562474@AIRLINE.KIWI.COM
M4KK6G   8/15/2020   OB    8/28/2020   WN;1375;PHX;DAL                   NETERSEL               ARUBA               NL   62058   121563816@AIRLINE.KIWI.COM
M4MXA3   8/15/2020   OB   12/27/2020   WN;2245;MEM;PHX;WN;3613;PHX;SLC   JUDITHMOUTH            TN                  US    8345   121563970@AIRLINE.KIWI.COM
M4MXA3   8/15/2020   OB   12/27/2020   WN;2245;MEM;PHX;WN;3613;PHX;SLC   JUDITHMOUTH            TN                  US    8345   121563970@AIRLINE.KIWI.COM
M4T28U   8/15/2020   OB    9/25/2020   WN;174;BWI;MCO;WN;1750;MCO;SJU    EDWARDCHESTER          NM                  US   12315   121563959@AIRLINE.KIWI.COM
M4T28U   8/15/2020   OB    9/25/2020   WN;174;BWI;MCO;WN;1750;MCO;SJU    EDWARDCHESTER          NM                  US   12315   121563959@AIRLINE.KIWI.COM
M4ZEZV   8/15/2020   OB    9/15/2020   WN;1142;OKC;DEN                   DANIELVIEW             RI                  US   44159   121563948@AIRLINE.KIWI.COM
M4ZEZV   8/15/2020   OB    9/15/2020   WN;1142;OKC;DEN                   DANIELVIEW             RI                  US   44159   121563948@AIRLINE.KIWI.COM
M65IX7   8/15/2020   OB    8/16/2020   WN;1587;BUR;SFO                   PATRICKSIDE            ME                  US   19311   121564245@AIRLINE.KIWI.COM
M7GMM9   8/15/2020   OB    8/21/2020   WN;466;ABQ;DAL;WN;358;DAL;SAT     LEEVILLE               KY                  US   94316   121564608@AIRLINE.KIWI.COM
M8FYZ6   8/15/2020   OB    9/13/2020   WN;2602;DCA;DAL;WN;830;DAL;TUL    LAKE KRISTENLAND       TX                  US   10422   121564872@AIRLINE.KIWI.COM
M8ONFK   8/15/2020   OB    8/15/2020   WN;1371;LAX;DEN;WN;1318;DEN;RDU   EAST ANDREW            CO                  US   45027   121564784@AIRLINE.KIWI.COM
MAMMNV   8/15/2020   OB    8/28/2020   WN;256;SNA;SJC                    SOUTH LAWRENCE         CA                  US   45992   121565422@AIRLINE.KIWI.COM
MAMMNV   8/15/2020   RT     9/9/2020   WN;2304;SJC;SNA                   SOUTH LAWRENCE         CA                  US   45992   121565422@AIRLINE.KIWI.COM
MEM7PC   8/15/2020   OB     9/5/2020   WN;4133;MDW;OAK                   LAKE SCOTT             FL                  US   36412   121566280@AIRLINE.KIWI.COM
MEVQ32   8/15/2020   OB    8/15/2020   WN;895;MAF;DAL;WN;358;DAL;SAT     NORTH CRAIGVILLE       IL                  US   23552   121566379@AIRLINE.KIWI.COM
MH3P4L   8/15/2020   OB    8/26/2020   WN;1571;MDW;LAX                   WEST KAREN             WY                  US   58373   121567138@AIRLINE.KIWI.COM
MHRUAF   8/15/2020   OB    11/9/2020   WN;1042;LAS;MDW                   NEW EMILYCHESTER       UT                  US   18180   121567369@AIRLINE.KIWI.COM
MK9YOM   8/15/2020   OB    8/18/2020   WN;1678;BUR;LAS                   STONECHESTER           PA                  US   92544   121567996@AIRLINE.KIWI.COM
MKA7NR   8/15/2020   OB    8/15/2020   WN;3243;ATL;LAS                   DILLONBURY             DE                  US   65229   121567886@AIRLINE.KIWI.COM
MKA7NR   8/15/2020   OB    8/15/2020   WN;3243;ATL;LAS                   DILLONBURY             DE                  US   65229   121567886@AIRLINE.KIWI.COM




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MKA7NR   8/15/2020   OB    8/15/2020   WN;3243;ATL;LAS                   DILLONBURY             DE                         US   65229   121567886@AIRLINE.KIWI.COM
MMYL6K   8/15/2020   OB    8/23/2020   WN;1812;SJC;PHX                   KENNEDYBURY            ME                         US   89434   121568414@AIRLINE.KIWI.COM
MOSV72   8/15/2020   OB    8/23/2020   WN;400;LAX;PHX                    SAN IRENE LOS BAJOS    COAHUILA DE ZARAGOZA       MX   75403   121568711@AIRLINE.KIWI.COM
MOSV72   8/15/2020   OB    8/23/2020   WN;400;LAX;PHX                    SAN IRENE LOS BAJOS    COAHUILA DE ZARAGOZA       MX   75403   121568711@AIRLINE.KIWI.COM
MPKH9C   8/15/2020   OB     9/2/2020   WN;706;SAN;PHX                    SLOVENJ GRADEC         LITIJA                     SI   35719   121569118@AIRLINE.KIWI.COM
MQGWL2   8/15/2020   OB    8/15/2020   WN;1825;BWI;RDU                   PORT JACQUELINEHAVEN   NC                         US   36921   121569558@AIRLINE.KIWI.COM
MSGX46   8/15/2020   OB    8/15/2020   WN;1123;LAS;ELP                   LINDAPORT              UT                         US   98108   121570163@AIRLINE.KIWI.COM
MSQUZI   8/15/2020   OB    8/18/2020   WN;589;FLL;TPA;WN;1085;TPA;MCI    JESSEBURGH             NM                         US   64987   121570306@AIRLINE.KIWI.COM
MVFR29   8/15/2020   OB    8/15/2020   WN;1144;SMF;BUR;WN;1351;BUR;LAS   NORTH MARTINSTAD       NE                         US   90156   121570790@AIRLINE.KIWI.COM
MWRH8S   8/15/2020   OB    8/15/2020   WN;1144;SMF;BUR;WN;1351;BUR;LAS   JACKSONVILLE           NH                         US   25838   121571934@AIRLINE.KIWI.COM
MX7UKX   8/15/2020   OB    9/14/2020   WN;1435;SFO;SAN                   NAMYANGJUSI            GWANGJU GWANGYEOGSI        KR   11507   121572022@AIRLINE.KIWI.COM
MYYQEX   8/15/2020   OB    8/16/2020   WN;1371;LAX;DEN;WN;1604;DEN;RDU   NEW JESUS              ND                         US   40097   121573210@AIRLINE.KIWI.COM
MYYQEX   8/15/2020   OB    8/16/2020   WN;1371;LAX;DEN;WN;1604;DEN;RDU   NEW JESUS              ND                         US   40097   121573210@AIRLINE.KIWI.COM
MYYQEX   8/15/2020   RT    8/20/2020   WN;1258;RDU;BNA;WN;1626;BNA;LAX   NEW JESUS              ND                         US   40097   121573210@AIRLINE.KIWI.COM
MYYQEX   8/15/2020   RT    8/20/2020   WN;1258;RDU;BNA;WN;1626;BNA;LAX   NEW JESUS              ND                         US   40097   121573210@AIRLINE.KIWI.COM
MZDC2F   8/15/2020   OB    8/23/2020   WN;761;SLC;DEN                    NORTH NICHOLASBURGH    CO                         US   28314   121573309@AIRLINE.KIWI.COM
N4L4VS   8/15/2020   OB    8/15/2020   WN;593;LAS;LAX                    PATRICIABURGH          NH                         US   39536   121575465@AIRLINE.KIWI.COM
NPPUPV   8/15/2020   OB    8/25/2020   WN;854;ORF;BWI;WN;1175;BWI;JAX    DAYTOWN                NORTH LANARKSHIRE          GB   85912   121590711@AIRLINE.KIWI.COM
NXJL3Q   8/15/2020   OB    8/24/2020   WN;839;RNO;LAS                    STEVENVIEW             CO                         US   24602   121588412@AIRLINE.KIWI.COM
O45GW3   8/15/2020   OB    8/25/2020   WN;1131;BOS;BWI                   FRASERMOUTH            SEFTON                     GB   23413   121599797@AIRLINE.KIWI.COM
O7QOV2   8/15/2020   OB    8/16/2020   WN;1685;CLE;BNA;WN;1365;BNA;MCI   LAKE LINDA             ME                         US   81910   121602943@AIRLINE.KIWI.COM
OE55RQ   8/15/2020   OB     9/4/2020   WN;1775;BNA;ECP                   NEW KELLYPORT          CA                         US   67149   121607233@AIRLINE.KIWI.COM
OE55RQ   8/15/2020   RT     9/7/2020   WN;6702;ECP;BNA                   NEW KELLYPORT          CA                         US   67149   121607233@AIRLINE.KIWI.COM
OELDT5   8/15/2020   OB    8/23/2020   WN;1715;LAS;LAX                   SOUTH EMILYSTAD        OR                         US   21268   121607673@AIRLINE.KIWI.COM
OIVGW5   8/15/2020   OB    8/15/2020   WN;228;FLL;ATL                    BRANDONTON             NC                         US   36331   121611028@AIRLINE.KIWI.COM
OJKJFK   8/15/2020   OB    8/15/2020   WN;753;LAS;LAX                    HERNANDEZPORT          CO                         US   76992   121611358@AIRLINE.KIWI.COM
OJOJWR   8/15/2020   OB    8/16/2020   WN;1803;DTW;MDW                   PORT OFELIASHIRE       NORDJYLLAND                DK   55688   121611688@AIRLINE.KIWI.COM
OKMMVV   8/15/2020   OB    8/15/2020   WN;7;LAX;LAS                      SNOWFURT               ND                         US    5488   121611765@AIRLINE.KIWI.COM
OKOKB6   8/15/2020   OB   11/29/2020   WN;3739;PHX;MKE                   PATRICKBURGH           LA                         US   72832   121612502@AIRLINE.KIWI.COM
OKOYS8   8/15/2020   OB    8/15/2020   WN;1194;LAS;LAX                   PORT AMY               PA                         US   13334   121612183@AIRLINE.KIWI.COM
OKUNOM   8/15/2020   OB   11/24/2020   WN;4157;MKE;PHX                   PORT LORETTA           OH                         US   90953   121612304@AIRLINE.KIWI.COM
OLXEWI   8/15/2020   OB    8/16/2020   WN;1059;LAX;SMF                   HANNAHFORT             MA                         US   21042   121613470@AIRLINE.KIWI.COM
OMSCQJ   8/15/2020   OB    8/15/2020   WN;462;MSP;MDW                    WILLIAMBOROUGH         MN                         US   52206   121613613@AIRLINE.KIWI.COM
ON79GK   8/15/2020   OB    8/16/2020   WN;189;SMF;LAX                    SOUTH KRISTINPORT      NC                         US   46106   121614196@AIRLINE.KIWI.COM
ONPEGI   8/15/2020   OB    8/19/2020   WN;1764;MDW;MSP                   SOUTH LISA             MS                         US   82636   121614339@AIRLINE.KIWI.COM
OOR5YQ   8/15/2020   OB    8/20/2020   WN;988;ABQ;DEN                    NORTH DUSTINSIDE       IA                         US   15567   121615054@AIRLINE.KIWI.COM
OSOVZK   8/15/2020   OB     9/7/2020   WN;6700;PNS;BNA                   PING XIAN              GUANGXI ZHUANGZU ZIZHIQU   CN   55503   121615197@AIRLINE.KIWI.COM
OSWJBC   8/15/2020   OB    8/18/2020   WN;829;DEN;ELP                    NEW CATHYMOUTH         KY                         US   44066   121617782@AIRLINE.KIWI.COM
OU6N4D   8/15/2020   OB    8/16/2020   WN;1704;BWI;LAX                   BYRDPORT               NC                         US   76355   121618750@AIRLINE.KIWI.COM
OUQRAQ   8/15/2020   OB    8/16/2020   WN;1704;BWI;LAX                   LAKE SHANNON           PA                         US   29791   121618926@AIRLINE.KIWI.COM
OVBKVS   8/15/2020   OB    8/19/2020   WN;51;PIT;MDW;WN;1621;MDW;BOS     BOTLEK ROTTERDAM       NOORDHOLLAND               NL   73761   121619003@AIRLINE.KIWI.COM
OVBKVS   8/15/2020   OB    8/19/2020   WN;51;PIT;MDW;WN;1621;MDW;BOS     BOTLEK ROTTERDAM       NOORDHOLLAND               NL   73761   121619003@AIRLINE.KIWI.COM
OYKXOB   8/15/2020   OB    8/15/2020   WN;1080;LAX;LAS                   WEST KERRYVIEW         MA                         US   31760   121621478@AIRLINE.KIWI.COM
OYOFXO   8/15/2020   OB    8/15/2020   WN;1080;LAX;LAS                   HARPERHAVEN            HI                         US   50984   121621665@AIRLINE.KIWI.COM
OZLNMQ   8/15/2020   OB    8/15/2020   WN;1232;SJC;ONT                   BAN QIAO XIAN          CHIAY CITY                 TW   89934   121621896@AIRLINE.KIWI.COM
P3EFKN   8/15/2020   OB    8/21/2020   WN;297;BWI;DTW                    NORTH JUSTIN           TX                         US   72676   121623161@AIRLINE.KIWI.COM
P4N9ZY   8/15/2020   OB    8/19/2020   WN;777;DEN;LAX;WN;777;LAX;TUS     RAMIREZMOUTH           UT                         US   85879   121623777@AIRLINE.KIWI.COM
P54PYO   8/15/2020   OB    8/16/2020   WN;827;HOU;MDW                    NORTH ZALIHA           SIRNAK                     TR    2556   121624019@AIRLINE.KIWI.COM
P664T3   8/15/2020   OB   11/18/2020   WN;3239;LAS;LAX                   WEST MELANIE           AZ                         US    5878   121625042@AIRLINE.KIWI.COM
P6KOA6   8/15/2020   OB    8/15/2020   WN;1080;LAX;LAS                   BARTLETTBOROUGH        MT                         US   14716   121624855@AIRLINE.KIWI.COM
P6QBCB   8/15/2020   OB    8/19/2020   WN;452;MEM;DAL;WN;518;DAL;LAS     COLEMANCHESTER         KS                         US   13550   121624987@AIRLINE.KIWI.COM
P7TV3L   8/15/2020   OB    8/18/2020   WN;1813;PWM;BWI                   EAST JUSTIN            IA                         US   49818   121625823@AIRLINE.KIWI.COM
PA8HKD   8/15/2020   OB    11/3/2020   WN;2038;MDW;PHX                   SHAARDAA               KARNALI                    NP   76522   121626604@AIRLINE.KIWI.COM
PAELLF   8/15/2020   OB    8/18/2020   WN;1045;SAN;OAK                   ADAMSTOWN              WI                         US   34958   121626879@AIRLINE.KIWI.COM
PBJYRY   8/15/2020   OB    8/21/2020   WN;122;LAX;STL;WN;276;STL;RDU     SOUTH DIANEBURY        KS                         US   17734   121627176@AIRLINE.KIWI.COM
PDZNX2   8/15/2020   OB     9/7/2020   WN;6705;ECP;HOU                   NEW ALEXANDERSHIRE     KY                         US   35950   121627957@AIRLINE.KIWI.COM
PE4BFU   8/15/2020   OB     9/8/2020   WN;2045;HOU;DEN                   SOUTH KELLY            AL                         US   52538   121627957@AIRLINE.KIWI.COM
PJBSCJ   8/16/2020   OB    8/15/2020   WN;1080;LAX;LAS                   HOFFMANTOWN            KY                         US   62116   121629882@AIRLINE.KIWI.COM
PNGWHQ   8/16/2020   OB     9/2/2020   WN;1257;DAL;TPA                   WEST BOBBYSHIRE        HULWAN                     EG   23261   121631114@AIRLINE.KIWI.COM
PNGXNE   8/16/2020   OB    9/14/2020   WN;2184;ABQ;MDW                   DEBRABERG              IA                         US    9197   121631268@AIRLINE.KIWI.COM
PNGXNE   8/16/2020   RT    9/18/2020   WN;2181;MDW;ABQ                   DEBRABERG              IA                         US    9197   121631268@AIRLINE.KIWI.COM
POL97Y   8/16/2020   OB    8/23/2020   WN;502;SJU;BWI;WN;1889;BWI;CLT    TAO YUAN               TAIPEI                     TW   65206   121631499@AIRLINE.KIWI.COM
PRM85R   8/16/2020   OB    8/16/2020   WN;1080;LAX;LAS                   BONDSTAD               FL                         US    8667   121632148@AIRLINE.KIWI.COM
PUOE6I   8/16/2020   OB     9/3/2020   WN;922;GEG;LAS;WN;660;LAS;SAN     SOUTH STEVENFURT       NV                         US   78018   121632984@AIRLINE.KIWI.COM
PUOE6I   8/16/2020   OB     9/3/2020   WN;922;GEG;LAS;WN;660;LAS;SAN     SOUTH STEVENFURT       NV                         US   78018   121632984@AIRLINE.KIWI.COM
PUSPZD   8/16/2020   OB    8/18/2020   WN;1079;HNL;OAK;WN;1638;OAK;LAS   WEST JONATHANSIDE      KS                         US   97195   121632731@AIRLINE.KIWI.COM
PWCWW4   8/16/2020   OB    9/23/2020   WN;3342;FLL;SJU                   NEW JEFFREY            UT                         US   95774   121633204@AIRLINE.KIWI.COM
PWCWW4   8/16/2020   OB    9/23/2020   WN;3342;FLL;SJU                   NEW JEFFREY            UT                         US   95774   121633204@AIRLINE.KIWI.COM
PXLIWZ   8/16/2020   OB     9/3/2020   WN;325;SLC;DEN                    PORT TIMOTHY           NV                         US   15809   121633479@AIRLINE.KIWI.COM
PZ7H5C   8/16/2020   OB    8/23/2020   WN;207;SAN;SFO                    DANIELBOROUGH          QUEBEC                     CA   87729   121633864@AIRLINE.KIWI.COM
PZZLWW   8/16/2020   OB    9/21/2020   WN;31;LAX;DAL                     DANIELSTAD             TX                         US   53292   121633963@AIRLINE.KIWI.COM
PZZLWW   8/16/2020   OB    9/21/2020   WN;31;LAX;DAL                     DANIELSTAD             TX                         US   53292   121633963@AIRLINE.KIWI.COM
Q25YDN   8/16/2020   OB    9/17/2020   WN;4;DAL;LAX                      WEST ANDREWCHESTER     AK                         US   85714   121633952@AIRLINE.KIWI.COM
Q25YDN   8/16/2020   OB    9/17/2020   WN;4;DAL;LAX                      WEST ANDREWCHESTER     AK                         US   85714   121633952@AIRLINE.KIWI.COM
Q2HE65   8/16/2020   OB     9/8/2020   WN;6609;SEA;LAS;WN;2329;LAS;AUS   SOUTH MONIQUE          RI                         US   17201   121633985@AIRLINE.KIWI.COM
Q4FLAA   8/16/2020   OB    8/23/2020   WN;243;HNL;ITO                    NORTH CHRISTOPHERTOW   NY                         US   95918   121634623@AIRLINE.KIWI.COM
Q5JZRE   8/16/2020   OB    8/23/2020   WN;1742;LAS;MDW;WN;591;MDW;MEM    PORT JESSICABERG       NH                         US   72453   121635074@AIRLINE.KIWI.COM
QD9Q8L   8/16/2020   OB    8/16/2020   WN;1327;SAN;SJC                   WEST SHANNONBURGH      LA                         US   18005   121636834@AIRLINE.KIWI.COM
QUJL4E   8/16/2020   OB    8/16/2020   WN;1397;SFO;BUR                   JENNIFERTON            NJ                         US   75836   121644930@AIRLINE.KIWI.COM
QZXBWK   8/16/2020   OB    8/16/2020   WN;661;LAX;SMF                    RYANSHIRE              CA                         US   52623   121645040@AIRLINE.KIWI.COM
R2GIVT   8/16/2020   OB    8/16/2020   WN;661;LAX;SMF                    EMILYVILLE             OR                         US   41776   121645040@AIRLINE.KIWI.COM
RBQ7LO   8/16/2020   OB    8/16/2020   WN;733;DTW;STL;WN;415;STL;ICT     WEST GREGORY           MS                         US   71108   121655105@AIRLINE.KIWI.COM
RH8BKG   8/16/2020   OB    8/21/2020   WN;218;DEN;SLC                    SOUTH LYNN             SD                         US   95076   121657129@AIRLINE.KIWI.COM
RIW8PR   8/16/2020   OB    8/22/2020   WN;948;MDW;PDX                    NEW JOHNMOUTH          AR                         US   89820   121659868@AIRLINE.KIWI.COM
RJFF5E   8/16/2020   OB   12/29/2020   WN;182;AUS;MDW;WN;1115;MDW;GRR    WIENER NEUSTADT        STEIERMARK                 AT   48357   121660506@AIRLINE.KIWI.COM
RJFF5E   8/16/2020   OB   12/29/2020   WN;182;AUS;MDW;WN;1115;MDW;GRR    WIENER NEUSTADT        STEIERMARK                 AT   48357   121660506@AIRLINE.KIWI.COM
RKRJTB   8/16/2020   OB    8/30/2020   WN;552;FLL;TPA                    SOUTH KIMBERLYTOWN     PA                         US   17446   121661155@AIRLINE.KIWI.COM
RLKLLV   8/16/2020   OB    8/19/2020   WN;648;IND;STL;WN;807;STL;OMA     PORT ALFREDS           GULBENES NOVADS            LV   21234   121661408@AIRLINE.KIWI.COM
RMD6HF   8/16/2020   OB    8/20/2020   WN;627;ATL;MDW                    MOODYMOUTH             SD                         US   23519   121662585@AIRLINE.KIWI.COM
RMD6HF   8/16/2020   RT    8/22/2020   WN;293;MDW;ATL                    MOODYMOUTH             SD                         US   23519   121662585@AIRLINE.KIWI.COM
RMP8XS   8/16/2020   OB    8/16/2020   WN;669;PHL;MCO                    LAWSONBURGH            NV                         US   14882   121662772@AIRLINE.KIWI.COM
RN98NU   8/16/2020   OB    8/24/2020   WN;753;LAS;LAX                    WEST STEVEN            MI                         US   21259   121663102@AIRLINE.KIWI.COM
RN98NU   8/16/2020   OB    8/24/2020   WN;753;LAS;LAX                    WEST STEVEN            MI                         US   21259   121663102@AIRLINE.KIWI.COM
ROJHBV   8/16/2020   OB    8/20/2020   WN;218;ATL;BWI;WN;853;BWI;ORF     WEST MARY              LA                         US   59537   121663839@AIRLINE.KIWI.COM
ROJHBV   8/16/2020   RT    8/23/2020   WN;1625;ORF;BWI;WN;1625;BWI;ATL   WEST MARY              LA                         US   59537   121663839@AIRLINE.KIWI.COM
RP74FZ   8/16/2020   OB    8/19/2020   WN;418;PDX;LAS;WN;2323;LAS;SAN    RODRIGUEZSIDE          MO                         US   77924   121664213@AIRLINE.KIWI.COM
RP7HZM   8/16/2020   OB    8/27/2020   WN;194;MCI;DEN;WN;123;DEN;SFO     LMKIICUHAA             PURWANCHAL                 NP   20645   121663982@AIRLINE.KIWI.COM
RP7HZM   8/16/2020   OB    8/27/2020   WN;194;MCI;DEN;WN;123;DEN;SFO     LMKIICUHAA             PURWANCHAL                 NP   20645   121663982@AIRLINE.KIWI.COM
RQUM7Z   8/16/2020   OB    8/16/2020   WN;4008;ELP;PHX;WN;858;PHX;ONT    CATHERINESIDE          MT                         US   87191   121665830@AIRLINE.KIWI.COM
RSNGWM   8/16/2020   OB    8/16/2020   WN;1895;ATL;HOU                   SOUTH LUKEBURGH        OK                         US   33500   121666347@AIRLINE.KIWI.COM
RTOT3F   8/16/2020   OB    8/16/2020   WN;1632;SJC;DAL                   WALLSBURY              TN                         US   96471   121667172@AIRLINE.KIWI.COM
RTOT3F   8/16/2020   OB    8/17/2020   WN;1628;DAL;HOU                   WALLSBURY              TN                         US   96471   121667172@AIRLINE.KIWI.COM
RUWPJN   8/16/2020   OB    8/31/2020   WN;965;LAS;SFO                    EMILYBERG              SD                         US   47898   121668360@AIRLINE.KIWI.COM
RUZQH3   8/16/2020   OB     9/3/2020   WN;816;DEN;SMF                    WEST MELINDA           MI                         US   16250   121667865@AIRLINE.KIWI.COM
RUZQH3   8/16/2020   OB     9/3/2020   WN;816;DEN;SMF                    WEST MELINDA           MI                         US   16250   121667865@AIRLINE.KIWI.COM
RVXYN5   8/16/2020   OB    8/16/2020   WN;888;SLC;PHX                    LEWISVIEW              IA                         US    9239   121668899@AIRLINE.KIWI.COM
RWDTGG   8/16/2020   OB    8/16/2020   WN;174;PHX;DAL                    PORT ELIZABETHBERG     ME                         US   60585   121669438@AIRLINE.KIWI.COM




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RXD3VC   8/16/2020   OB    8/17/2020   WN;6269;SNA;LAS                   VANCEMOUTH             KS                          US   99284   121670021@AIRLINE.KIWI.COM
RXEJNL   8/16/2020   OB    8/17/2020   WN;914;DAL;MDW;WN;146;MDW;GRR     CHARLESHAVEN           OH                          US   71549   121670439@AIRLINE.KIWI.COM
RXEJNL   8/16/2020   RT    8/28/2020   WN;852;GRR;MDW;WN;1633;MDW;DAL    CHARLESHAVEN           OH                          US   71549   121670439@AIRLINE.KIWI.COM
S2BDEQ   8/16/2020   OB     9/9/2020   WN;177;ATL;MSY                    DIAZLAND               UT                          US   47955   121672694@AIRLINE.KIWI.COM
S5ICSV   8/16/2020   OB     9/3/2020   WN;6907;MDW;MCO                   DEBORAHBURY            NV                          US   75989   121675983@AIRLINE.KIWI.COM
S5ICSV   8/16/2020   OB     9/3/2020   WN;6907;MDW;MCO                   DEBORAHBURY            NV                          US   75989   121675983@AIRLINE.KIWI.COM
S5ICSV   8/16/2020   OB     9/3/2020   WN;6907;MDW;MCO                   DEBORAHBURY            NV                          US   75989   121675983@AIRLINE.KIWI.COM
S7A9BU   8/16/2020   OB     9/5/2020   WN;126;MDW;BNA                    LAKE KRISTIN           MD                          US   73889   121677765@AIRLINE.KIWI.COM
S7A9BU   8/16/2020   OB     9/5/2020   WN;126;MDW;BNA                    LAKE KRISTIN           MD                          US   73889   121677765@AIRLINE.KIWI.COM
SAUMAL   8/16/2020   OB    8/17/2020   WN;522;DEN;GRR                    RICHARDMOUTH           OK                          US   53447   121680493@AIRLINE.KIWI.COM
SBMIL5   8/16/2020   OB     9/4/2020   WN;897;LAS;DEN                    MORALESTOWN            ID                          US   63936   121680878@AIRLINE.KIWI.COM
SBMIL5   8/16/2020   OB     9/4/2020   WN;897;LAS;DEN                    MORALESTOWN            ID                          US   63936   121680878@AIRLINE.KIWI.COM
SBMIL5   8/16/2020   OB     9/4/2020   WN;897;LAS;DEN                    MORALESTOWN            ID                          US   63936   121680878@AIRLINE.KIWI.COM
SBMIL5   8/16/2020   OB     9/4/2020   WN;897;LAS;DEN                    MORALESTOWN            ID                          US   63936   121680878@AIRLINE.KIWI.COM
SCBLDV   8/16/2020   OB    8/28/2020   WN;598;MSY;AUS                    SOUTH STACEY           HI                          US   72182   121682363@AIRLINE.KIWI.COM
SCBLDV   8/16/2020   OB    8/28/2020   WN;598;MSY;AUS                    SOUTH STACEY           HI                          US   72182   121682363@AIRLINE.KIWI.COM
SCS5EK   8/16/2020   OB    8/18/2020   WN;1095;OKC;STL                   WEST MALLORYVILLE      NJ                          US   10724   121682385@AIRLINE.KIWI.COM
SCTDWE   8/16/2020   OB    8/17/2020   WN;753;LAS;LAX                    THERESATOWN            MI                          US   41211   121682935@AIRLINE.KIWI.COM
SCTDWE   8/16/2020   OB    8/17/2020   WN;753;LAS;LAX                    THERESATOWN            MI                          US   41211   121682935@AIRLINE.KIWI.COM
SE24VW   8/16/2020   OB    8/17/2020   WN;1594;DEN;HOU                   JOSHUABOROUGH          MD                          US   99453   121683771@AIRLINE.KIWI.COM
SF8QHN   8/16/2020   OB    8/16/2020   WN;965;LAS;SFO                    FORDMOUTH              MO                          US   93845   121683958@AIRLINE.KIWI.COM
SGW47V   8/16/2020   OB    10/9/2020   WN;1870;LAS;BOI                   NORTH CAROLINE         KY                          US   60289   121685861@AIRLINE.KIWI.COM
SISEZS   8/16/2020   OB    8/18/2020   WN;1487;SNA;SMF                   MAX A MARE             SIENA                       IT   17253   121686565@AIRLINE.KIWI.COM
SK8RDH   8/16/2020   OB    8/18/2020   WN;966;MSY;HOU                    MICHAELTOWN            HI                          US   71510   121687742@AIRLINE.KIWI.COM
SK8RDH   8/16/2020   RT    8/21/2020   WN;217;HOU;MSY                    MICHAELTOWN            HI                          US   71510   121687742@AIRLINE.KIWI.COM
SOJ79G   8/16/2020   OB    8/17/2020   WN;662;OAK;SAN                    JENSENBERG             NJ                          US   18595   121689700@AIRLINE.KIWI.COM
SPYJ8Y   8/16/2020   OB    3/14/2021   WN;886;DEN;MCO                    DANIELSHIRE            PAFOS                       CY   44707   121690140@AIRLINE.KIWI.COM
SPYJ8Y   8/16/2020   OB    3/14/2021   WN;886;DEN;MCO                    DANIELSHIRE            PAFOS                       CY   44707   121690140@AIRLINE.KIWI.COM
SR2NJY   8/16/2020   OB    8/18/2020   WN;1220;AUS;HOU;WN;1776;HOU;TPA   EAST DANIEL            AZ                          US   41365   121690778@AIRLINE.KIWI.COM
SR3WIB   8/16/2020   OB    8/20/2020   WN;866;LAX;LAS                    KLKH KHANTYMANSIISK    MAGADANSKAYA OBLAST         RU   78650   121690921@AIRLINE.KIWI.COM
SSSO7O   8/16/2020   OB    8/17/2020   WN;122;LAX;STL;WN;276;STL;RDU     PORT JEREMY            NE                          US   44254   121691625@AIRLINE.KIWI.COM
SYMT9C   8/17/2020   OB    8/22/2020   WN;1126;MCO;FLL                   SETTIMO GILDA          FERRARA                     IT   71989   121693407@AIRLINE.KIWI.COM
SZ2T7X   8/17/2020   OB     9/5/2020   WN;821;ABQ;DEN;WN;1674;DEN;IAD    LAKE ANTHONY           OK                          US    6933   121693341@AIRLINE.KIWI.COM
SZ2T7X   8/17/2020   OB     9/5/2020   WN;821;ABQ;DEN;WN;1674;DEN;IAD    LAKE ANTHONY           OK                          US    6933   121693341@AIRLINE.KIWI.COM
SZ2T7X   8/17/2020   OB     9/5/2020   WN;821;ABQ;DEN;WN;1674;DEN;IAD    LAKE ANTHONY           OK                          US    6933   121693341@AIRLINE.KIWI.COM
SZ4I8R   8/17/2020   OB    11/8/2020   WN;435;DAL;LAX;WN;435;LAX;LAS     ELIZABETHFURT          TN                          US   47762   121693462@AIRLINE.KIWI.COM
SZ4I8R   8/17/2020   OB    11/8/2020   WN;435;DAL;LAX;WN;435;LAX;LAS     ELIZABETHFURT          TN                          US   47762   121693462@AIRLINE.KIWI.COM
SZHFO7   8/17/2020   OB    8/17/2020   WN;280;SAN;AUS                    EAST CHRISTOPHERSHIR   WA                          US   19755   121693572@AIRLINE.KIWI.COM
T2BLXV   8/17/2020   OB   11/11/2020   WN;3268;LAS;DAL                   BROWNBERG              DE                          US    5820   121693704@AIRLINE.KIWI.COM
T2BLXV   8/17/2020   OB   11/11/2020   WN;3268;LAS;DAL                   BROWNBERG              DE                          US    5820   121693704@AIRLINE.KIWI.COM
T2QQ4A   8/17/2020   OB    8/17/2020   WN;1498;SNA;LAS                   WEST MIKAYLASIDE       OH                          US   69781   121694023@AIRLINE.KIWI.COM
T2XUWY   8/17/2020   OB    8/21/2020   WN;958;MEM;ATL;WN;958;ATL;STL     PORT MEGANSHIRE        PA                          US    3590   121694067@AIRLINE.KIWI.COM
T3FFJ8   8/17/2020   OB    8/21/2020   WN;841;MCI;STL;WN;1515;STL;PIT    COURTNEYMOUTH          MO                          US   93061   121694100@AIRLINE.KIWI.COM
T3FFJ8   8/17/2020   RT    8/23/2020   WN;1341;PIT;MDW;WN;459;MDW;MCI    COURTNEYMOUTH          MO                          US   93061   121694100@AIRLINE.KIWI.COM
T5W6XB   8/17/2020   OB    9/17/2020   WN;2385;SAT;BNA;WN;2092;BNA;PHL   SOUTH ERIKA            WA                          US   38859   121694903@AIRLINE.KIWI.COM
T6RBJI   8/17/2020   OB    8/17/2020   WN;292;JAX;BWI                    HILLCHESTER            AR                          US   68344   121695068@AIRLINE.KIWI.COM
T8J3OE   8/17/2020   OB   12/25/2020   WN;2552;SJU;BWI                   TIPUTAPU               NELSON CITY                 NZ   81045   121695299@AIRLINE.KIWI.COM
T8J3OE   8/17/2020   OB   12/25/2020   WN;2552;SJU;BWI                   TIPUTAPU               NELSON CITY                 NZ   81045   121695299@AIRLINE.KIWI.COM
T8J3OE   8/17/2020   OB   12/25/2020   WN;2552;SJU;BWI                   TIPUTAPU               NELSON CITY                 NZ   81045   121695299@AIRLINE.KIWI.COM
T8J3OE   8/17/2020   OB   12/25/2020   WN;2552;SJU;BWI                   TIPUTAPU               NELSON CITY                 NZ   81045   121695299@AIRLINE.KIWI.COM
TALCOD   8/17/2020   OB     9/2/2020   WN;995;DEN;SEA                    GRAVESHAVEN            UT                          US   77436   121695354@AIRLINE.KIWI.COM
TALCOD   8/17/2020   OB     9/2/2020   WN;995;DEN;SEA                    GRAVESHAVEN            UT                          US   77436   121695354@AIRLINE.KIWI.COM
TALCOD   8/17/2020   OB     9/2/2020   WN;995;DEN;SEA                    GRAVESHAVEN            UT                          US   77436   121695354@AIRLINE.KIWI.COM
TALCOD   8/17/2020   OB     9/2/2020   WN;995;DEN;SEA                    GRAVESHAVEN            UT                          US   77436   121695354@AIRLINE.KIWI.COM
TALCOD   8/17/2020   OB     9/2/2020   WN;995;DEN;SEA                    GRAVESHAVEN            UT                          US   77436   121695354@AIRLINE.KIWI.COM
TALCOD   8/17/2020   OB     9/2/2020   WN;995;DEN;SEA                    GRAVESHAVEN            UT                          US   77436   121695354@AIRLINE.KIWI.COM
TASE9Y   8/17/2020   OB    9/13/2020   WN;1551;FLL;BWI;WN;1551;BWI;SAN   SAN URIEL DE LA MONT   QUERETARO                   MX   76781   121695673@AIRLINE.KIWI.COM
TASE9Y   8/17/2020   OB    9/13/2020   WN;1551;FLL;BWI;WN;1551;BWI;SAN   SAN URIEL DE LA MONT   QUERETARO                   MX   76781   121695673@AIRLINE.KIWI.COM
TASE9Y   8/17/2020   OB    9/13/2020   WN;1551;FLL;BWI;WN;1551;BWI;SAN   SAN URIEL DE LA MONT   QUERETARO                   MX   76781   121695673@AIRLINE.KIWI.COM
TAZYNE   8/17/2020   OB     9/9/2020   WN;1934;CLE;BWI                   KLKH CHUSOVOI          TYVA RESPUBLIKA TUVA        RU    9058   121695783@AIRLINE.KIWI.COM
TB89YL   8/17/2020   OB     9/9/2020   WN;1934;CLE;BWI                   S PAVLOVSKII POSAD     YAROSLAVSKAYA OBLAST        RU   86412   121695860@AIRLINE.KIWI.COM
TCE4BF   8/17/2020   OB     9/9/2020   WN;162;LAS;BOI                    SOUTH RICKEY           NC                          US   99457   121696212@AIRLINE.KIWI.COM
TCE4BF   8/17/2020   OB     9/9/2020   WN;162;LAS;BOI                    SOUTH RICKEY           NC                          US   99457   121696212@AIRLINE.KIWI.COM
TCL9E3   8/17/2020   OB     9/9/2020   WN;1934;CLE;BWI                   ST SUZUN               ZABAJKALSKIJ KRAJ           RU   65166   121696080@AIRLINE.KIWI.COM
TD6QZI   8/17/2020   OB    8/19/2020   WN;1701;PHX;LAS                   WRIGHTHAVEN            MO                          US   23834   121696245@AIRLINE.KIWI.COM
TI9BLE   8/17/2020   OB    8/17/2020   WN;1228;LAX;BWI                   CHLOEVIEW              KY                          US   88751   121697829@AIRLINE.KIWI.COM
TQJKHQ   8/17/2020   OB    8/31/2020   WN;851;LAS;BWI                    GINASTAD               MN                          US   68323   121699875@AIRLINE.KIWI.COM
TQJKHQ   8/17/2020   OB    8/31/2020   WN;851;LAS;BWI                    GINASTAD               MN                          US   68323   121699875@AIRLINE.KIWI.COM
TQJKHQ   8/17/2020   OB    8/31/2020   WN;851;LAS;BWI                    GINASTAD               MN                          US   68323   121699875@AIRLINE.KIWI.COM
TSZPL2   8/17/2020   OB    8/21/2020   WN;704;LAS;OAK;WN;808;OAK;HNL     SCHMIDTBOROUGH         CT                          US   80463   121701173@AIRLINE.KIWI.COM
TTADUK   8/17/2020   OB    8/20/2020   WN;1644;HRL;HOU;WN;1237;HOU;LAS   WEST MICHAEL           MT                          US    1268   121701173@AIRLINE.KIWI.COM
TW8EFC   8/17/2020   OB    8/19/2020   WN;1756;LAS;SFO                   KELLEYTON              GA                          US    6516   121702493@AIRLINE.KIWI.COM
TXDO37   8/17/2020   OB    8/20/2020   WN;439;SNA;SMF                    RIGGSBERG              NY                          US   89592   121702900@AIRLINE.KIWI.COM
TXJK87   8/17/2020   OB     9/1/2020   WN;1617;SNA;DEN                   LAKE HANNAH            MO                          US   69568   121702922@AIRLINE.KIWI.COM
U4LS6J   8/17/2020   OB    8/31/2020   WN;1578;ATL;MDW                   NORTH JONATHANSHIRE    DE                          US   18519   121706596@AIRLINE.KIWI.COM
U6HYQD   8/17/2020   OB    8/28/2020   WN;455;PHX;LAX                    JASMINEVILLE           SOUTH AYRSHIRE              GB   35090   121704682@AIRLINE.KIWI.COM
U6HYQD   8/17/2020   OB    8/28/2020   WN;455;PHX;LAX                    JASMINEVILLE           SOUTH AYRSHIRE              GB   35090   121704682@AIRLINE.KIWI.COM
U83VZC   8/17/2020   OB    8/23/2020   WN;1480;SFO;LAS                   NEW GARYHAVEN          ME                          US   34861   121709027@AIRLINE.KIWI.COM
U8S4EA   8/17/2020   OB    8/17/2020   WN;1519;SAN;SMF                   PAAKAALAA              DELHI                       IN   55122   121709841@AIRLINE.KIWI.COM
US5GGP   8/17/2020   OB    8/17/2020   WN;1724;MDW;MSP                   SOUTH DARIUSPORT       KY                          US   63872   121728739@AIRLINE.KIWI.COM
UUK5SV   8/17/2020   OB    8/18/2020   WN;1768;LAS;LAX                   JONESFORT              NC                          US    9417   121733447@AIRLINE.KIWI.COM
UVQ3YK   8/17/2020   OB     9/5/2020   WN;6950;MDW;ORF                   LOUISFORT              GA                          US   53685   121734008@AIRLINE.KIWI.COM
UY2I48   8/17/2020   OB    8/17/2020   WN;163;PNS;BNA;WN;44;BNA;ATL      PORT JESSICAVILLE      RI                          US   54598   121736604@AIRLINE.KIWI.COM
UYOGUF   8/17/2020   OB    9/16/2020   WN;2185;SJU;FLL                   MARALIK                TAVUS                       AM   40387   121736989@AIRLINE.KIWI.COM
UZ3U87   8/17/2020   OB    8/20/2020   WN;1788;SDF;BWI                   WEST OLIVERCHESTER     DENBIGHSHIRE SIR DDINBYCH   GB    2219   121737330@AIRLINE.KIWI.COM
V2JRUJ   8/17/2020   OB    8/19/2020   WN;240;ATL;MDW                    WILLIAMSMOUTH          FL                          US   93910   121739354@AIRLINE.KIWI.COM
V2OPGP   8/17/2020   OB    8/21/2020   WN;696;STL;DTW                    BROWNMOUTH             MS                          US   11459   121739596@AIRLINE.KIWI.COM
V59OI4   8/17/2020   OB   10/13/2020   WN;46;CMH;MCO                     PATRICKBOROUGH         ME                          US   84086   121739145@AIRLINE.KIWI.COM
V5R7F4   8/17/2020   OB    8/24/2020   WN;398;ATL;FLL                    NORTH CARL             CA                          US   98080   121742434@AIRLINE.KIWI.COM
V74TFV   8/17/2020   OB    8/24/2020   WN;1430;LGA;DAL                   BRADLEYBOROUGH         IN                          US   12270   121744436@AIRLINE.KIWI.COM
V79EPD   8/17/2020   OB     9/5/2020   WN;376;MSP;DEN                    WEST ANTONIOFORT       PA                          US   99786   121744678@AIRLINE.KIWI.COM
V7UI3Y   8/17/2020   OB    8/19/2020   WN;872;DEN;BOS                    LAKE JAMESTON          NY                          US     927   121744887@AIRLINE.KIWI.COM
V8RXYV   8/17/2020   OB    8/20/2020   WN;627;IAD;ATL;WN;1235;ATL;MCI    CUENCA                 GIRONA                      ES   18635   121746097@AIRLINE.KIWI.COM
VBODYQ   8/17/2020   OB    8/17/2020   WN;532;SFO;LAX;WN;1193;LAX;LAS    SANDRABURGH            NJ                          US    6401   121699215@AIRLINE.KIWI.COM
VBODYQ   8/17/2020   OB    8/17/2020   WN;532;SFO;LAX;WN;1193;LAX;LAS    SANDRABURGH            NJ                          US    6401   121699215@AIRLINE.KIWI.COM
VKJRLE   8/17/2020   OB    8/17/2020   WN;1250;MDW;BNA                   EAST BRIAN             OK                          US   67180   121758846@AIRLINE.KIWI.COM
VNZCEP   8/17/2020   OB     9/7/2020   WN;2236;CVG;BWI                   PORT JOSHUA            QUEBEC                      CA   56948   121763862@AIRLINE.KIWI.COM
VQD36T   8/17/2020   OB    8/18/2020   WN;1784;LAX;DEN;WN;945;DEN;CVG    PORT MATTHEW           DE                          US   92701   121766238@AIRLINE.KIWI.COM
VQNGA2   8/17/2020   OB    8/21/2020   WN;1479;ONT;PHX;WN;1375;PHX;DAL   SAN AUGUSTO LOS BAJO   COAHUILA DE ZARAGOZA        MX   50912   121766964@AIRLINE.KIWI.COM
VWB2TV   8/17/2020   OB     9/4/2020   WN;510;ECP;BNA                    ALICIASHIRE            LA                          US   44005   121774125@AIRLINE.KIWI.COM
VWBQJ3   8/17/2020   OB    9/14/2020   WN;6787;BNA;ECP                   LAKE PATRICK           MT                          US   42094   121774114@AIRLINE.KIWI.COM
VXVYWD   8/17/2020   OB    8/18/2020   WN;1596;TPA;STL;WN;318;STL;DTW    MICHAELTOWN            NJ                          US   24967   121775907@AIRLINE.KIWI.COM
VZMD3F   8/17/2020   OB    8/20/2020   WN;899;CMH;ATL;WN;344;ATL;LGA     MCCANNTOWN             ME                          US   44378   121776930@AIRLINE.KIWI.COM
W334AR   8/17/2020   OB    8/17/2020   WN;809;MCI;DEN                    COXFORT                AZ                          US    3332   120284164.1423327@AIRLINE.KIWI.COM
W334AR   8/17/2020   OB    8/17/2020   WN;809;MCI;DEN                    COXFORT                AZ                          US    3332   120284164.1423327@AIRLINE.KIWI.COM
W334AR   8/17/2020   OB    8/17/2020   WN;809;MCI;DEN                    COXFORT                AZ                          US    3332   120284164.1423327@AIRLINE.KIWI.COM
W334AR   8/17/2020   OB    8/17/2020   WN;809;MCI;DEN                    COXFORT                AZ                          US    3332   120284164.1423327@AIRLINE.KIWI.COM




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W334AR   8/17/2020   OB    8/17/2020   WN;809;MCI;DEN                    COXFORT                AZ                    US    3332   120284164.1423327@AIRLINE.KIWI.COM
W3WOQ5   8/17/2020   OB    8/21/2020   WN;554;BNA;MCO                    CHRISTOPHERLAND        TX                    US   13540   121778833@AIRLINE.KIWI.COM
W4K8K8   8/17/2020   OB    8/30/2020   WN;1888;LAS;PHX;WN;282;PHX;RDU    NEW MARYVILLE          IL                    US   97160   121779581@AIRLINE.KIWI.COM
W4PQCN   8/17/2020   OB    8/24/2020   WN;160;SJU;MCO;WN;796;MCO;BDL     KATHERINECHESTER       LIVERPOOL             GB    7548   121779240@AIRLINE.KIWI.COM
W5DKTP   8/17/2020   OB    8/18/2020   WN;1424;MEM;MCO;WN;4543;MCO;SJU   HOHENSTEINERNSTTHAL    SCHLESWIGHOLSTEIN     DE   18629   121780175@AIRLINE.KIWI.COM
W6FUV9   8/17/2020   OB    8/21/2020   WN;1080;LAX;LAS                   LE ROUX                VLAAMSBRABANT         BE   16559   121780703@AIRLINE.KIWI.COM
W6FUV9   8/17/2020   OB    8/21/2020   WN;1080;LAX;LAS                   LE ROUX                VLAAMSBRABANT         BE   16559   121780703@AIRLINE.KIWI.COM
W783QM   8/17/2020   OB    8/22/2020   WN;1246;TUS;DEN;WN;1447;DEN;AUS   PORT ERIK              AK                    US   97191   121781275@AIRLINE.KIWI.COM
W7U3SU   8/17/2020   OB    8/17/2020   WN;1080;LAX;LAS                   WEST STEPHANIEBURGH    NM                    US   71397   121781880@AIRLINE.KIWI.COM
W9YMSC   8/17/2020   OB     9/3/2020   WN;1152;PHL;DEN                   NEW JESSECHESTER       ME                    US   58795   121783057@AIRLINE.KIWI.COM
WBDH6O   8/17/2020   OB   12/27/2020   WN;4787;ATL;OMA                   NEW DAWNMOUTH          NJ                    US   76023   121783981@AIRLINE.KIWI.COM
WBGPBO   8/17/2020   OB     9/1/2020   WN;861;DCA;MDW;WN;1061;MDW;LAS    P GORODOVIKOVSK        KURGANSKAYA OBLAST    RU   16067   121783805@AIRLINE.KIWI.COM
WBI77J   8/17/2020   OB   12/23/2020   WN;2784;OMA;DAL;WN;2427;DAL;ATL   PORT ROBERT            KY                    US   41118   121783992@AIRLINE.KIWI.COM
WBN7CE   8/17/2020   OB    8/20/2020   WN;866;LAX;LAS                    NEW KAYLA              NJ                    US   46823   121783673@AIRLINE.KIWI.COM
WCKYTO   8/17/2020   OB    8/20/2020   WN;866;LAX;LAS                    WEST CRAIG             NC                    US   49725   121784234@AIRLINE.KIWI.COM
WCRPQY   8/17/2020   OB     9/4/2020   WN;1567;DTW;MDW;WN;6907;MDW;MCO   NEW JOHN               KY                    US   84345   121784718@AIRLINE.KIWI.COM
WE7JIV   8/17/2020   OB    8/28/2020   WN;950;PHL;BNA;WN;504;BNA;MSY     WILLIAMSBERG           TN                    US   37651   121785059@AIRLINE.KIWI.COM
WEAYAS   8/17/2020   OB    8/18/2020   WN;1424;ELP;HOU;WN;312;HOU;OKC    NEW KATHRYN            TX                    US   94004   121784993@AIRLINE.KIWI.COM
WECYMM   8/17/2020   OB   12/29/2020   WN;1550;LAX;PHX                   NUEVA UCRANIA          QUERETARO             MX   44768   121785180@AIRLINE.KIWI.COM
WEGIX7   8/17/2020   OB    8/20/2020   WN;582;MDW;LGA                    MOORETOWN              WI                    US   77855   121785213@AIRLINE.KIWI.COM
J3DJCX   8/18/2020   OB    8/18/2020   WN;505;ATL;MDW;WN;532;MDW;SFO     NORTH ANGELATOWN       CT                    US   92439   121793188@AIRLINE.KIWI.COM
J3TAZ5   8/18/2020   OB     9/7/2020   WN;6512;PDX;PHX                   FLORESSIDE             NE                    US   23975   121793474@AIRLINE.KIWI.COM
J4GSOI   8/18/2020   OB    8/18/2020   WN;1193;LAX;LAS                   EVERETTSIDE            NJ                    US   20070   121793584@AIRLINE.KIWI.COM
J4GSOI   8/18/2020   OB    8/18/2020   WN;1193;LAX;LAS                   EVERETTSIDE            NJ                    US   20070   121793584@AIRLINE.KIWI.COM
J4RG5E   8/18/2020   OB    8/19/2020   WN;1561;DEN;GEG                   NEW REBECCAFORT        RI                    US   19016   121793562@AIRLINE.KIWI.COM
J52QI8   8/18/2020   OB     9/1/2020   WN;1598;DEN;MSP                   SMITHTON               WV                    US   34426   121793881@AIRLINE.KIWI.COM
J52QI8   8/18/2020   RT     9/6/2020   WN;2254;MSP;DEN                   SMITHTON               WV                    US   34426   121793881@AIRLINE.KIWI.COM
J53OFE   8/18/2020   OB     9/1/2020   WN;1598;DEN;MSP                   KLINEMOUTH             OH                    US   43659   121793892@AIRLINE.KIWI.COM
J53OFE   8/18/2020   RT    9/19/2020   WN;120;MSP;DEN                    KLINEMOUTH             OH                    US   43659   121793892@AIRLINE.KIWI.COM
J54IGA   8/18/2020   OB    8/27/2020   WN;1564;DTW;BNA;WN;1110;BNA;MCO   JOHNMOUTH              OK                    US   50202   121793749@AIRLINE.KIWI.COM
J5ZMTM   8/18/2020   OB     9/4/2020   WN;500;DTW;BWI                    WEST KATHRYN           MD                    US   75024   121794123@AIRLINE.KIWI.COM
J5ZMTM   8/18/2020   RT     9/8/2020   WN;2113;BWI;DTW                   WEST KATHRYN           MD                    US   75024   121794123@AIRLINE.KIWI.COM
J8D92Q   8/18/2020   OB    8/21/2020   WN;1620;MCI;TPA;WN;1620;TPA;PIT   JAMESSIDE              LA                    US   91732   121794706@AIRLINE.KIWI.COM
J8D92Q   8/18/2020   RT    8/23/2020   WN;1134;PIT;STL;WN;1134;STL;MCI   JAMESSIDE              LA                    US   91732   121794706@AIRLINE.KIWI.COM
J8JDWT   8/18/2020   OB    8/18/2020   WN;1715;LAS;LAX                   LEEFORT                OR                    US   43859   121794827@AIRLINE.KIWI.COM
J8TCCD   8/18/2020   OB    8/19/2020   WN;892;LAS;LAX                    LAGODEXI               KAKHETI               GE   26243   121794926@AIRLINE.KIWI.COM
J9WIP4   8/18/2020   OB    8/23/2020   WN;1359;SLC;LAX                   PORT JOSHUASTAD        KY                    US   85161   121795190@AIRLINE.KIWI.COM
J9YFM9   8/18/2020   OB    8/21/2020   WN;1358;SMF;LAS                   JACKSONBOROUGH         OK                    US   23237   121795102@AIRLINE.KIWI.COM
JBGLOY   8/18/2020   OB    8/26/2020   WN;983;DEN;LAS;WN;1187;LAS;OAK    LAKE DORISFURT         NE                    US   34173   121795553@AIRLINE.KIWI.COM
JNHHIG   8/18/2020   OB    8/18/2020   WN;260;LAX;HOU;WN;1825;HOU;CMH    NEW JOHN               MN                    US   83254   121802912@AIRLINE.KIWI.COM
JXHQF9   8/18/2020   OB    8/19/2020   WN;1699;BOS;BWI;WN;524;BWI;CLE    WEST REBECCA           WY                    US   23008   121813560@AIRLINE.KIWI.COM
KBXTSZ   8/18/2020   OB    8/19/2020   WN;4215;BWI;TPA                   NORTH KATHYVIEW        WI                    US    7288   121826122@AIRLINE.KIWI.COM
KFPKF2   8/18/2020   OB    8/28/2020   WN;1630;MDW;HOU                   YOLANDABERG            CT                    US   78284   121831413@AIRLINE.KIWI.COM
KFPKF2   8/18/2020   RT    8/31/2020   WN;788;HOU;MDW                    YOLANDABERG            CT                    US   78284   121831413@AIRLINE.KIWI.COM
KG8UTN   8/18/2020   OB    8/28/2020   WN;1630;MDW;HOU                   SOUTH WILLIAMBOROUGH   MS                    US   95014   121831171@AIRLINE.KIWI.COM
KG8UTN   8/18/2020   RT    8/31/2020   WN;788;HOU;MDW                    SOUTH WILLIAMBOROUGH   MS                    US   95014   121831171@AIRLINE.KIWI.COM
KLO5MN   8/18/2020   OB   10/23/2020   WN;1770;BWI;LAX                   SOUTH BREANNASIDE      RI                    US   92285   121838079@AIRLINE.KIWI.COM
KLO5MN   8/18/2020   OB   10/23/2020   WN;1770;BWI;LAX                   SOUTH BREANNASIDE      RI                    US   92285   121838079@AIRLINE.KIWI.COM
KMBVPJ   8/18/2020   OB   10/25/2020   WN;1452;LAX;BWI                   NEW DONALD             TX                    US   20654   121838585@AIRLINE.KIWI.COM
KMBVPJ   8/18/2020   OB   10/25/2020   WN;1452;LAX;BWI                   NEW DONALD             TX                    US   20654   121838585@AIRLINE.KIWI.COM
KO2BDZ   8/18/2020   OB    8/20/2020   WN;575;JAX;BNA;WN;1777;BNA;PNS    HERNANDEZBOROUGH       RI                    US   20539   121840598@AIRLINE.KIWI.COM
KOHOCY   8/18/2020   OB    8/28/2020   WN;857;PNS;HOU;WN;1561;HOU;JAX    MARTINPORT             WY                    US   95110   121840741@AIRLINE.KIWI.COM
KP9TND   8/18/2020   OB    8/21/2020   WN;1480;SFO;LAS                   JOSEPHFURT             NM                    US   57461   121842050@AIRLINE.KIWI.COM
KTJ6OC   8/18/2020   OB    8/30/2020   WN;1904;SMF;PDX                   NORTH MICHAEL          CT                    US   20877   121846109@AIRLINE.KIWI.COM
KVFWU4   8/18/2020   OB    8/18/2020   WN;1116;ATL;TPA                   LAKE SAMUEL            NH                    US   38603   121848507@AIRLINE.KIWI.COM
KVFWU4   8/18/2020   RT    8/19/2020   WN;135;TPA;ATL                    LAKE SAMUEL            NH                    US   38603   121848507@AIRLINE.KIWI.COM
KW8S6H   8/18/2020   OB   11/28/2020   WN;1893;CLT;MDW;WN;1989;MDW;DEN   WEST SARABURGH         MN                    US   17474   121847385@AIRLINE.KIWI.COM
KWUMJI   8/18/2020   OB    8/19/2020   WN;1231;SNA;OAK                   NEW RENEEPORT          AR                    US    1658   121850366@AIRLINE.KIWI.COM
KWX33Y   8/18/2020   OB    8/19/2020   WN;544;OAK;SNA                    PAYNEVIEW              SD                    US   39318   121850366@AIRLINE.KIWI.COM
KXCHLQ   8/18/2020   OB    8/20/2020   WN;1335;LAX;LAS                   NORTH KELLY            FL                    US   89539   121851004@AIRLINE.KIWI.COM
KYAEGR   8/18/2020   OB     9/9/2020   WN;2220;MDW;MCO                   NORTH JENNIFER         ME                    US   42666   121851037@AIRLINE.KIWI.COM
KYIB2B   8/18/2020   OB    8/24/2020   WN;287;CLE;BNA                    NORTH MICHAEL          AL MINYA              EG   46980   121851653@AIRLINE.KIWI.COM
KYOEEO   8/18/2020   OB    8/26/2020   WN;1267;BNA;CLE                   ROMANBURGH             DUMYAT                EG   54252   121851653@AIRLINE.KIWI.COM
L39ATC   8/18/2020   OB     9/8/2020   WN;1840;CLE;BWI                   GRANTHAVEN             AL                    US    6704   121843007@AIRLINE.KIWI.COM
L4IGN6   8/18/2020   OB    9/18/2020   WN;1236;JAX;BNA;WN;2578;BNA;LAS   EAST MATTHEWHAVEN      MT                    US   77824   121856361@AIRLINE.KIWI.COM
L5SL78   8/18/2020   OB    9/25/2020   WN;555;BWI;BOS                    ANGELAPORT             IL                    US   38659   121858209@AIRLINE.KIWI.COM
L5SL78   8/18/2020   OB    9/25/2020   WN;555;BWI;BOS                    ANGELAPORT             IL                    US   38659   121858209@AIRLINE.KIWI.COM
L5YENL   8/18/2020   OB   11/30/2020   WN;1904;ABQ;MDW;WN;1915;MDW;JAX   CARRIEMOUTH            SC                    US   35095   121857417@AIRLINE.KIWI.COM
L67GRR   8/18/2020   OB   11/28/2020   WN;1893;CLT;MDW;WN;1989;MDW;DEN   EAST ADAMFURT          KS                    US   33425   121847385@AIRLINE.KIWI.COM
L67T7X   8/18/2020   OB     9/2/2020   WN;1700;AUS;LAS;WN;713;LAS;PDX    WEST ELIZABETH         GA                    US   52404   121858033@AIRLINE.KIWI.COM
L67T7X   8/18/2020   RT     9/5/2020   WN;2068;PDX;PHX;WN;1934;PHX;AUS   WEST ELIZABETH         GA                    US   52404   121858033@AIRLINE.KIWI.COM
L6FGHF   8/18/2020   OB     9/2/2020   WN;1700;AUS;LAS;WN;713;LAS;PDX    NEW ANDRESIDE          KS                    US   65550   121857934@AIRLINE.KIWI.COM
L6FGHF   8/18/2020   RT     9/5/2020   WN;2068;PDX;PHX;WN;1934;PHX;AUS   NEW ANDRESIDE          KS                    US   65550   121857934@AIRLINE.KIWI.COM
L7C6EM   8/18/2020   OB     9/2/2020   WN;1700;AUS;LAS;WN;713;LAS;PDX    LAKE DAVID             OH                    US   87766   121859771@AIRLINE.KIWI.COM
L7C6EM   8/18/2020   RT     9/5/2020   WN;2068;PDX;PHX;WN;1934;PHX;AUS   LAKE DAVID             OH                    US   87766   121859771@AIRLINE.KIWI.COM
L7NZAH   8/18/2020   OB     9/8/2020   WN;6692;TPA;MCI                   GONZALEZBERG           MT                    US   80702   121860607@AIRLINE.KIWI.COM
L8PFBH   8/18/2020   OB    8/21/2020   WN;1512;ELP;LAS                   EAST JESSELAND         MD                    US   52163   121861465@AIRLINE.KIWI.COM
L8QHF5   8/18/2020   OB     9/4/2020   WN;163;MEM;HOU                    PORT JENNIFERCHESTER   CO                    US   65160   121861245@AIRLINE.KIWI.COM
L8VDUE   8/18/2020   OB    8/18/2020   WN;1547;LAS;BWI                   PAMELABURY             MN                    US   39471   121860013@AIRLINE.KIWI.COM
L9766K   8/18/2020   OB    8/28/2020   WN;1823;SLC;LAS                   LAKE TERRY             SD                    US   18183   121861817@AIRLINE.KIWI.COM
L9766K   8/18/2020   RT     9/1/2020   WN;1351;LAS;SLC                   LAKE TERRY             SD                    US   18183   121861817@AIRLINE.KIWI.COM
LB6Z7X   8/18/2020   OB    8/20/2020   WN;882;LAS;BUR                    NEW LISAHAVEN          MA                    US   88281   121864391@AIRLINE.KIWI.COM
LBCOSS   8/18/2020   OB    8/19/2020   WN;389;BUR;LAS                    GOLDENSHIRE            VA                    US   60322   121864391@AIRLINE.KIWI.COM
LCSM9Z   8/18/2020   OB    8/18/2020   WN;1335;LAX;LAS                   LAKE DUSTINBURGH       IL                    US   40331   121866602@AIRLINE.KIWI.COM
LK2UI2   8/18/2020   OB    8/20/2020   WN;194;DEN;ONT                    RICHARDVIEW            IN                    US   56090   121873125@AIRLINE.KIWI.COM
LK4FJW   8/18/2020   OB   10/11/2020   WN;6882;MCO;MEM                   SOUTH APRIL            FL                    US   62806   121872685@AIRLINE.KIWI.COM
LKQBL8   8/18/2020   OB     9/2/2020   WN;1322;OAK;MCI                   NUEVA ESLOVAQUIA       MICHOACAN DE OCAMPO   MX   92374   121873554@AIRLINE.KIWI.COM
LL7UFC   8/18/2020   OB     9/6/2020   WN;3337;MCI;OAK                   SAN JOSEFINA LOS BAJ   MORELOS               MX   37224   121873565@AIRLINE.KIWI.COM
LLZGNF   8/18/2020   OB    8/19/2020   WN;1396;SAN;SFO                   LAKE JENNIFERBOROUGH   TX                    US   46172   121874159@AIRLINE.KIWI.COM
LLZGNF   8/18/2020   OB    8/19/2020   WN;1396;SAN;SFO                   LAKE JENNIFERBOROUGH   TX                    US   46172   121874159@AIRLINE.KIWI.COM
LMJMGY   8/18/2020   OB   11/26/2020   WN;2247;CLT;BWI                   WEST DAVIDHAVEN        GRAUBUNDEN            CH   29037   121874115@AIRLINE.KIWI.COM
LO2MBB   8/18/2020   OB     9/1/2020   WN;1092;OKC;PHX;WN;1092;PHX;OAK   WEST YOLANDA           PA                    US   69924   121875435@AIRLINE.KIWI.COM
LO2MBB   8/18/2020   OB     9/1/2020   WN;1092;OKC;PHX;WN;1092;PHX;OAK   WEST YOLANDA           PA                    US   69924   121875435@AIRLINE.KIWI.COM
LPGYR3   8/18/2020   OB    8/21/2020   WN;510;MSP;MDW                    COURTNEYCHESTER        CA                    US   48617   121876931@AIRLINE.KIWI.COM
LPVRWF   8/18/2020   OB    8/21/2020   WN;572;HRL;HOU;WN;619;HOU;SAT     SAINTE ALPHONSEDAN     JURA                  FR   46270   121876821@AIRLINE.KIWI.COM
LQ22M5   8/18/2020   OB    8/23/2020   WN;187;MDW;MSP                    NEW PAMELABERG         SC                    US   32976   121876931@AIRLINE.KIWI.COM
LQLPHA   8/18/2020   OB   12/16/2020   WN;2629;DEN;ATL                   WEST RYWNSTAD          TUBAS                 PS   76434   121877338@AIRLINE.KIWI.COM
LRKWSH   8/18/2020   OB    8/30/2020   WN;435;LAS;ABQ;WN;420;ABQ;DAL     JEFFREYLAND            ME                    US   44506   121877987@AIRLINE.KIWI.COM
LRLSYX   8/18/2020   OB    8/30/2020   WN;435;LAS;ABQ;WN;420;ABQ;DAL     LAURAMOUTH             NE                    US   26078   121877976@AIRLINE.KIWI.COM
LRTRBW   8/18/2020   OB     9/3/2020   WN;946;CVG;DEN                    PORT FELICIA           TX                    US   68293   121878108@AIRLINE.KIWI.COM
LSH8X7   8/18/2020   OB     9/7/2020   WN;6746;LAS;RNO                   NEW ANNE               NJ                    US    4941   121878713@AIRLINE.KIWI.COM
LSSI93   8/18/2020   OB     9/6/2020   WN;2234;ATL;HOU;WN;3006;HOU;SJD   PORT DANIEL            LA                    US   30577   121878504@AIRLINE.KIWI.COM
LSSI93   8/18/2020   RT     9/9/2020   WN;881;SJD;HOU;WN;1066;HOU;ATL    PORT DANIEL            LA                    US   30577   121878504@AIRLINE.KIWI.COM
WGKA7H   8/18/2020   OB    8/24/2020   WN;398;ATL;FLL                    NORTH KATHERINE        MN                    US   48534   121786137@AIRLINE.KIWI.COM
WHFQ29   8/18/2020   OB    8/22/2020   WN;1193;LAX;LAS                   EAST LAUREN            OH                    US   38620   121786346@AIRLINE.KIWI.COM
WI7Y5A   8/18/2020   OB    8/20/2020   WN;1026;CVG;BWI                   CAMPBELLMOUTH          AL                    US   66255   121787050@AIRLINE.KIWI.COM
WI7Y5A   8/18/2020   RT    8/25/2020   WN;1025;BWI;CVG                   CAMPBELLMOUTH          AL                    US   66255   121787050@AIRLINE.KIWI.COM




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WICI4P   8/18/2020   OB    8/19/2020   WN;862;DTW;MDW;WN;1430;MDW;FLL    GRIFFITHSHIRE          AR                       US   79782   121787237@AIRLINE.KIWI.COM
WJICZU   8/18/2020   OB    8/18/2020   WN;1629;SMF;ONT                   JAUNZEMSBURY           PREILU NOVADS            LV   37596   121787446@AIRLINE.KIWI.COM
WJK49X   8/18/2020   OB    9/24/2020   WN;2497;SAN;DEN                   PORT PHILIP            KS                       US   62523   121787523@AIRLINE.KIWI.COM
WK63MB   8/18/2020   OB    8/19/2020   WN;1424;MEM;MCO;WN;4543;MCO;SJU   FAN SHI                NINGXIA HUIZI ZIZHIQU    CN   93681   121787864@AIRLINE.KIWI.COM
WKZICZ   8/18/2020   OB    8/18/2020   WN;535;LAS;LAX                    NORTH MELISSAFORT      ID                       US   38127   121788546@AIRLINE.KIWI.COM
WKZTHV   8/18/2020   OB    8/19/2020   WN;249;OKC;BWI                    THOMASBURY             VA                       US   54444   121788469@AIRLINE.KIWI.COM
WKZTHV   8/18/2020   RT    8/24/2020   WN;504;BWI;BNA;WN;126;BNA;OKC     THOMASBURY             VA                       US   54444   121788469@AIRLINE.KIWI.COM
WLW9S5   8/18/2020   OB    8/28/2020   WN;1565;SEA;DEN                   EAST DIEGO             LOVECH                   BG    1556   121788744@AIRLINE.KIWI.COM
WN8XMZ   8/18/2020   OB    8/21/2020   WN;1407;SEA;OAK;WN;771;OAK;BOI    ANTONIOBURY            LA                       US   65623   121789041@AIRLINE.KIWI.COM
WO4MDE   8/18/2020   OB    8/19/2020   WN;1131;BOS;BWI                   G ARKHANGELSK          TOMSKAYA OBLAST          RU   81255   121789371@AIRLINE.KIWI.COM
WO4U9O   8/18/2020   OB    11/5/2020   WN;1437;LAX;HOU                   NORTH BENJAMIN         TN                       US   80272   121789316@AIRLINE.KIWI.COM
WO4U9O   8/18/2020   OB    11/5/2020   WN;1437;LAX;HOU                   NORTH BENJAMIN         TN                       US   80272   121789316@AIRLINE.KIWI.COM
WOYEVF   8/18/2020   OB    8/19/2020   WN;1267;BNA;CLE                   CAMPBELLBOROUGH        WY                       US   56527   121789668@AIRLINE.KIWI.COM
WPO4EB   8/18/2020   OB    8/18/2020   WN;1335;LAX;LAS                   LUTZBERG               ME                       US   83154   121789778@AIRLINE.KIWI.COM
WXAVLY   8/18/2020   OB    8/24/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   PORT LAUREN            MO                       US   25069   121792407@AIRLINE.KIWI.COM
WXUP37   8/18/2020   OB    9/10/2020   WN;2056;ATL;JAX                   ANDERSONVILLE          MS                       US   80672   121792484@AIRLINE.KIWI.COM
WYCITP   8/18/2020   OB    8/24/2020   WN;704;LAS;OAK;WN;808;OAK;HNL     NEW JAMES              IN                       US    6947   121792627@AIRLINE.KIWI.COM
WYN85P   8/18/2020   OB    8/29/2020   WN;2108;DAL;ATL                   NORTH MIGUEL           KY                       US   24605   121792572@AIRLINE.KIWI.COM
WZ8SCO   8/18/2020   OB    8/18/2020   WN;179;LAX;PHX;WN;1652;PHX;OKC    NEW CINDY              NY                       US   52139   121792946@AIRLINE.KIWI.COM
WZ8SCO   8/18/2020   OB    8/18/2020   WN;179;LAX;PHX;WN;1652;PHX;OKC    NEW CINDY              NY                       US   52139   121792946@AIRLINE.KIWI.COM
WZ8SCO   8/18/2020   OB    8/18/2020   WN;179;LAX;PHX;WN;1652;PHX;OKC    NEW CINDY              NY                       US   52139   121792946@AIRLINE.KIWI.COM
LYNBJP   8/19/2020   OB    8/19/2020   WN;1417;LAS;OAK                   LAKE DAVID             AR                       US   61875   121881155@AIRLINE.KIWI.COM
LYNBJP   8/19/2020   OB    8/19/2020   WN;1417;LAS;OAK                   LAKE DAVID             AR                       US   61875   121881155@AIRLINE.KIWI.COM
LYNBJP   8/19/2020   OB    8/19/2020   WN;1417;LAS;OAK                   LAKE DAVID             AR                       US   61875   121881155@AIRLINE.KIWI.COM
LZASWH   8/19/2020   OB    8/21/2020   WN;209;SFO;PHX                    AXALI ATONI            ABKHAZIA                 GE   66254   121881188@AIRLINE.KIWI.COM
LZASWH   8/19/2020   OB    8/21/2020   WN;209;SFO;PHX                    AXALI ATONI            ABKHAZIA                 GE   66254   121881188@AIRLINE.KIWI.COM
LZBH9E   8/19/2020   OB    8/23/2020   WN;1479;PHX;SFO                   WIENER NEUSTADT        SALZBURG                 AT   32633   121881375@AIRLINE.KIWI.COM
LZBH9E   8/19/2020   OB    8/23/2020   WN;1479;PHX;SFO                   WIENER NEUSTADT        SALZBURG                 AT   32633   121881375@AIRLINE.KIWI.COM
LZBZ38   8/19/2020   OB    8/19/2020   WN;675;JAX;DEN;WN;1104;DEN;SJC    OLIVIASIDE             KS                       US   67661   121881254@AIRLINE.KIWI.COM
M2Q5TZ   8/19/2020   OB   11/29/2020   WN;1687;BNA;STL;WN;1384;STL;OKC   WEST SUSANVIEW         LA                       US   62601   121881738@AIRLINE.KIWI.COM
M2Q5TZ   8/19/2020   OB   11/29/2020   WN;1687;BNA;STL;WN;1384;STL;OKC   WEST SUSANVIEW         LA                       US   62601   121881738@AIRLINE.KIWI.COM
M3IFUB   8/19/2020   OB     9/4/2020   WN;1578;MEM;ATL;WN;1767;ATL;GSP   TUCKERBOROUGH          AR                       US   66292   121881903@AIRLINE.KIWI.COM
M3NYYM   8/19/2020   OB     9/3/2020   WN;1200;BOS;STL;WN;415;STL;ICT    ANDREALAND             WARWICKSHIRE             GB   29642   121880946@AIRLINE.KIWI.COM
M3YLMF   8/19/2020   OB     9/2/2020   WN;602;MCO;FLL                    PAULBERG               WA                       US   68051   121882112@AIRLINE.KIWI.COM
M56XSD   8/19/2020   OB    8/19/2020   WN;1715;LAS;LAX                   PORTO                  CASTELO BRANCO           PT   11834   121882321@AIRLINE.KIWI.COM
M8BNAY   8/19/2020   OB    8/24/2020   WN;502;SJU;BWI;WN;322;BWI;ALB     GERBERSHIRE            GLARUS                   CH   32739   121883410@AIRLINE.KIWI.COM
M9B93D   8/19/2020   OB    9/12/2020   WN;1840;CLE;BWI                   ST PERESLAVLZALESSKI   TAMBOVSKAYA OBLAST       RU   18265   121883828@AIRLINE.KIWI.COM
M9RUVB   8/19/2020   OB    8/20/2020   WN;375;LGA;ATL;WN;431;ATL;IND     FORDTON                SOUTHLAND                NZ   11894   121883927@AIRLINE.KIWI.COM
M9RUVB   8/19/2020   OB    8/20/2020   WN;375;LGA;ATL;WN;431;ATL;IND     FORDTON                SOUTHLAND                NZ   11894   121883927@AIRLINE.KIWI.COM
MA6NAX   8/19/2020   OB    8/28/2020   WN;688;LAS;SAT                    DUNLAPBOROUGH          MO                       US   48702   121883894@AIRLINE.KIWI.COM
MAL56H   8/19/2020   OB    9/12/2020   WN;1840;CLE;BWI                   G ACHKHOI MARTAN       UDMURTSKAYA RESPUBLIKA   RU   12297   121884015@AIRLINE.KIWI.COM
MAQYF7   8/19/2020   OB     9/2/2020   WN;170;PHX;DAL                    WEST DEBORAHHAVEN      WV                       US   94410   121884147@AIRLINE.KIWI.COM
MAVUTX   8/19/2020   OB    8/21/2020   WN;1527;DAL;PHX                   PORT HAILEY            ME                       US   66789   121884147@AIRLINE.KIWI.COM
MAWQ78   8/19/2020   OB    8/20/2020   WN;260;SLC;LAX                    LAKE MELISSABURGH      CT                       US   42063   121883872@AIRLINE.KIWI.COM
MAWQ78   8/19/2020   OB    8/20/2020   WN;260;SLC;LAX                    LAKE MELISSABURGH      CT                       US   42063   121883872@AIRLINE.KIWI.COM
MAWQ78   8/19/2020   OB    8/20/2020   WN;260;SLC;LAX                    LAKE MELISSABURGH      CT                       US   42063   121883872@AIRLINE.KIWI.COM
MAWQ78   8/19/2020   RT    8/22/2020   WN;1400;LAX;SLC                   LAKE MELISSABURGH      CT                       US   42063   121883872@AIRLINE.KIWI.COM
MAWQ78   8/19/2020   RT    8/22/2020   WN;1400;LAX;SLC                   LAKE MELISSABURGH      CT                       US   42063   121883872@AIRLINE.KIWI.COM
MAWQ78   8/19/2020   RT    8/22/2020   WN;1400;LAX;SLC                   LAKE MELISSABURGH      CT                       US   42063   121883872@AIRLINE.KIWI.COM
MBT6SM   8/19/2020   OB    8/19/2020   WN;1607;BWI;CUN                   VIEJA INDIA            TLAXCALA                 MX   14189   121884598@AIRLINE.KIWI.COM
MC4YSA   8/19/2020   OB     9/3/2020   WN;793;LGB;SMF                    WEST ROBERTFORT        SC                       US   98447   121884708@AIRLINE.KIWI.COM
MC4YSA   8/19/2020   RT     9/7/2020   WN;1537;SMF;LGB                   WEST ROBERTFORT        SC                       US   98447   121884708@AIRLINE.KIWI.COM
MCSAK7   8/19/2020   OB     9/3/2020   WN;1524;OGG;HNL                   HALEYFURT              NV                       US   75936   120614340.1424799@AIRLINE.KIWI.COM
MERKN5   8/19/2020   OB    8/31/2020   WN;597;DAL;MDW;WN;901;MDW;CVG     LIVINGSTONBURY         DE                       US    6755   121885863@AIRLINE.KIWI.COM
MERKN5   8/19/2020   OB    8/31/2020   WN;597;DAL;MDW;WN;901;MDW;CVG     LIVINGSTONBURY         DE                       US    6755   121885863@AIRLINE.KIWI.COM
MEU3ED   8/19/2020   OB     9/2/2020   WN;348;DTW;BWI                    LAKE DIANA             NJ                       US   49222   121885511@AIRLINE.KIWI.COM
MGFF9D   8/19/2020   OB    8/31/2020   WN;1079;HNL;OAK;WN;1638;OAK;LAS   PORT DIANEVIEW         TN                       US   73764   121886336@AIRLINE.KIWI.COM
MH6ZWP   8/19/2020   OB     9/3/2020   WN;1704;LAS;MDW                   WILLIAMSTOWN           NJ                       US   38623   121886479@AIRLINE.KIWI.COM
MJR496   8/19/2020   OB     9/3/2020   WN;1443;DEN;BWI                   SOUTH TIFFANYLAND      NC                       US   99752   121887304@AIRLINE.KIWI.COM
MJVKYP   8/19/2020   OB    8/19/2020   WN;1205;OAK;PHX                   MILLERLAND             MO                       US   69001   121887447@AIRLINE.KIWI.COM
MLAJKI   8/19/2020   OB    8/19/2020   WN;1626;LAX;LAS                   WEST BIANCA            NM                       US   18047   121887689@AIRLINE.KIWI.COM
MNCTAO   8/19/2020   OB    8/20/2020   WN;1403;SAT;BNA                   ROSSCHESTER            NH                       US   43157   121888327@AIRLINE.KIWI.COM
MNJAK2   8/19/2020   OB    8/19/2020   WN;821;SLC;PHX;WN;167;PHX;BUR     EAST JANET             CA                       US   93676   121888239@AIRLINE.KIWI.COM
MOP4D7   8/19/2020   OB     9/3/2020   WN;1205;OAK;PHX                   STEWARTMOUTH           SC                       US   62583   121888514@AIRLINE.KIWI.COM
MRLF7M   8/19/2020   OB    8/19/2020   WN;403;LGA;DAL                    DILLONBURY             WI                       US   63031   121889559@AIRLINE.KIWI.COM
MRLF7M   8/19/2020   RT    8/23/2020   WN;1690;DAL;ATL;WN;724;ATL;LGA    DILLONBURY             WI                       US   63031   121889559@AIRLINE.KIWI.COM
MSD4HI   8/19/2020   OB    8/31/2020   WN;1006;MSY;BNA;WN;955;BNA;PHL    EAST MICHAELPORT       SD                       US   26215   121889867@AIRLINE.KIWI.COM
MSD4HI   8/19/2020   OB    8/31/2020   WN;1006;MSY;BNA;WN;955;BNA;PHL    EAST MICHAELPORT       SD                       US   26215   121889867@AIRLINE.KIWI.COM
MSD4HI   8/19/2020   OB    8/31/2020   WN;1006;MSY;BNA;WN;955;BNA;PHL    EAST MICHAELPORT       SD                       US   26215   121889867@AIRLINE.KIWI.COM
MSD4HI   8/19/2020   OB    8/31/2020   WN;1006;MSY;BNA;WN;955;BNA;PHL    EAST MICHAELPORT       SD                       US   26215   121889867@AIRLINE.KIWI.COM
MSMCBM   8/19/2020   OB    8/26/2020   WN;523;PHL;ATL;WN;523;ATL;MSY     LAKE JAMESFORT         NE                       US   13461   121889867@AIRLINE.KIWI.COM
MSMCBM   8/19/2020   OB    8/26/2020   WN;523;PHL;ATL;WN;523;ATL;MSY     LAKE JAMESFORT         NE                       US   13461   121889867@AIRLINE.KIWI.COM
MSMCBM   8/19/2020   OB    8/26/2020   WN;523;PHL;ATL;WN;523;ATL;MSY     LAKE JAMESFORT         NE                       US   13461   121889867@AIRLINE.KIWI.COM
MSMCBM   8/19/2020   OB    8/26/2020   WN;523;PHL;ATL;WN;523;ATL;MSY     LAKE JAMESFORT         NE                       US   13461   121889867@AIRLINE.KIWI.COM
MZTX34   8/19/2020   OB    8/19/2020   WN;816;SMF;LAX                    WEST ANDREWMOUTH       NC                       US   50359   121893585@AIRLINE.KIWI.COM
N6J829   8/19/2020   OB     9/2/2020   WN;1018;CUN;DEN;WN;1323;DEN;PHX   PORT MICHAELPORT       FL                       US   99393   121896676@AIRLINE.KIWI.COM
N6J829   8/19/2020   OB     9/2/2020   WN;1018;CUN;DEN;WN;1323;DEN;PHX   PORT MICHAELPORT       FL                       US   99393   121896676@AIRLINE.KIWI.COM
N6J829   8/19/2020   OB     9/2/2020   WN;1018;CUN;DEN;WN;1323;DEN;PHX   PORT MICHAELPORT       FL                       US   99393   121896676@AIRLINE.KIWI.COM
N6J829   8/19/2020   OB     9/2/2020   WN;1018;CUN;DEN;WN;1323;DEN;PHX   PORT MICHAELPORT       FL                       US   99393   121896676@AIRLINE.KIWI.COM
N7SEJ3   8/19/2020   OB     9/2/2020   WN;562;LAS;AUS                    XIU ZHEN XIAN          LIAONING SHENG           CN   97551   121897347@AIRLINE.KIWI.COM
N87W2T   8/19/2020   OB    8/19/2020   WN;535;LAS;LAX                    PATRICKVIEW            MD                       US   50290   121898304@AIRLINE.KIWI.COM
N97OV8   8/19/2020   OB    8/26/2020   WN;1783;OAK;DAL;WN;1783;DAL;BWI   MARKFORT               VT                       US   68604   121899360@AIRLINE.KIWI.COM
NPG3RW   8/19/2020   OB    8/20/2020   WN;398;ATL;FLL                    DUANEVILLE             IA                       US   70493   121917301@AIRLINE.KIWI.COM
O59SEG   8/19/2020   OB    8/20/2020   WN;1080;LAX;LAS                   LAKE BRETTBURY         MD                       US   61168   121931315@AIRLINE.KIWI.COM
OBBBUD   8/19/2020   OB    8/22/2020   WN;398;ATL;FLL                    PORT VICTORIABURGH     AK                       US   25104   121938278@AIRLINE.KIWI.COM
ODBJGK   8/19/2020   OB    9/10/2020   WN;127;ATL;MCO                    DERRICKPORT            NV                       US    5135   121939807@AIRLINE.KIWI.COM
ODBJGK   8/19/2020   OB    9/10/2020   WN;127;ATL;MCO                    DERRICKPORT            NV                       US    5135   121939807@AIRLINE.KIWI.COM
OFTY8D   8/19/2020   OB    8/20/2020   WN;714;ATL;SAT;WN;714;SAT;LAS     RUSSELLSHIRE           LA                       US   63405   121942326@AIRLINE.KIWI.COM
OGWXAF   8/19/2020   OB     9/3/2020   WN;1605;MSP;STL;WN;1605;STL;HOU   ALEJANDROPORT          NJ                       US   24032   121944592@AIRLINE.KIWI.COM
OJDX5K   8/19/2020   OB    8/30/2020   WN;382;DAL;MDW;WN;900;MDW;BUF     LAKE MIKE              CO                       US   27945   121947188@AIRLINE.KIWI.COM
OJPWX3   8/19/2020   OB    8/21/2020   WN;166;SJC;PHX                    NORTH JESSICAFORT      PA                       US   68239   121568414.1425641@AIRLINE.KIWI.COM
OK4TOW   8/19/2020   OB    8/21/2020   WN;287;CLE;BNA;WN;1564;BNA;MSY    KRNAA                  ARUNACHAL PRADESH        IN   77245   121947650@AIRLINE.KIWI.COM
OKMLTD   8/19/2020   OB    8/20/2020   WN;256;SJC;PHX                    SOUTH MEGANMOUTH       VT                       US   66583   121948233@AIRLINE.KIWI.COM
OMQFYE   8/19/2020   OB    8/21/2020   WN;418;SAT;DEN;WN;720;DEN;SJD     ARROYOSHIRE            WY                       US   30737   121950279@AIRLINE.KIWI.COM
ONQWC4   8/19/2020   OB    8/31/2020   WN;1562;LAX;BNA;WN;846;BNA;MCO    HUERTAPORT             NM                       US   21003   121952336@AIRLINE.KIWI.COM
OOI9MK   8/19/2020   OB     1/4/2021   WN;1004;DEN;RSW                   BURNETTFORT            VA                       US   43812   121952468@AIRLINE.KIWI.COM
OOQ586   8/19/2020   OB     9/4/2020   WN;596;RDU;ATL                    NEW ERICSHIRE          IL                       US   45909   121952842@AIRLINE.KIWI.COM
OOSCV2   8/19/2020   OB    8/20/2020   WN;760;SMF;BUR                    COOLEYVIEW             NV                       US   49509   121952897@AIRLINE.KIWI.COM
OQAEO8   8/19/2020   OB    8/20/2020   WN;1704;LAX;LAS                   NORTH SARAHMOUTH       CT                       US   71883   121954690@AIRLINE.KIWI.COM
OQB6B8   8/19/2020   OB    8/21/2020   WN;528;DEN;DTW                    SOUTH JEFFERYMOUTH     IL                       US   52551   121955240@AIRLINE.KIWI.COM
OSKUHF   8/19/2020   OB    8/20/2020   WN;1351;BUR;LAS                   LEEFORT                KY                       US   41759   121957396@AIRLINE.KIWI.COM
OSUDOF   8/19/2020   OB    8/19/2020   WN;824;MCO;PVD                    FLYNNFORT              CT                       US   99296   121957715@AIRLINE.KIWI.COM
OTGZOM   8/19/2020   OB    8/20/2020   WN;1564;DTW;BNA;WN;1668;BNA;OAK   NORTH KYLE             UT                       US   71116   121957451@AIRLINE.KIWI.COM
OTYVWH   8/19/2020   OB     9/7/2020   WN;6548;SNA;LAS                   SOUTH APRIL            SD                       US   57339   121958342@AIRLINE.KIWI.COM
OUUZXP   8/19/2020   OB    8/20/2020   WN;764;CMH;MDW;WN;1575;MDW;LAX    NEW TAMARAFURT         NM                       US   98201   121959464@AIRLINE.KIWI.COM
OUV3SM   8/19/2020   OB    8/20/2020   WN;1193;LAX;LAS                   BROWNSTAD              GA                       US   93614   121959937@AIRLINE.KIWI.COM
OVAOOR   8/19/2020   OB    8/31/2020   WN;876;MDW;DTW                    SWANSONSTAD            MA                       US   32233   121960190@AIRLINE.KIWI.COM




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OW7VQL   8/19/2020   OB    8/20/2020   WN;779;LAX;OAK                         PORT MARK              RI                   US    86745   121960861@AIRLINE.KIWI.COM
OXHSC8   8/19/2020   OB    8/26/2020   WN;160;SJU;MCO;WN;160;MCO;ATL          WHITESTAD              RI                   US    50584   121961939@AIRLINE.KIWI.COM
OXU2O2   8/19/2020   OB     9/3/2020   WN;1124;DCA;BNA                        NICHOLASLAND           WY                   US    17609   121962467@AIRLINE.KIWI.COM
OXXEC5   8/19/2020   OB    8/26/2020   WN;1335;LAX;LAS                        LUMINITAPORT           PRAHOVA              RO    87163   121962962@AIRLINE.KIWI.COM
OZLS8O   8/19/2020   OB    8/22/2020   WN;304;CLT;BNA;WN;2092;BNA;DCA         LAKE KEVINMOUTH        IN                   US    87909   121964194@AIRLINE.KIWI.COM
OZNG3J   8/19/2020   OB    8/20/2020   WN;758;SAN;DEN;WN;1715;DEN;ABQ         CALHOUNSHIRE           IN                   US    12657   121964359@AIRLINE.KIWI.COM
OZO4PL   8/19/2020   OB    8/27/2020   WN;910;DCA;MCO;WN;508;MCO;LAS          BATESCHESTER           MA                   US    67785   121964711@AIRLINE.KIWI.COM
OZO4PL   8/19/2020   OB    8/27/2020   WN;910;DCA;MCO;WN;508;MCO;LAS          BATESCHESTER           MA                   US    67785   121964711@AIRLINE.KIWI.COM
P2SV8R   8/19/2020   OB    8/21/2020   WN;617;SFO;LAS                         EAST MELISSAMOUTH      MS                   US    66943   121965404@AIRLINE.KIWI.COM
P2SV8R   8/19/2020   OB    8/21/2020   WN;617;SFO;LAS                         EAST MELISSAMOUTH      MS                   US    66943   121965404@AIRLINE.KIWI.COM
P2SV8R   8/19/2020   RT    8/24/2020   WN;1629;LAS;SFO                        EAST MELISSAMOUTH      MS                   US    66943   121965404@AIRLINE.KIWI.COM
P2SV8R   8/19/2020   RT    8/24/2020   WN;1629;LAS;SFO                        EAST MELISSAMOUTH      MS                   US    66943   121965404@AIRLINE.KIWI.COM
P5EMM7   8/19/2020   OB   12/27/2020   WN;5026;MDW;DEN                        EAST LARRYMOUTH        PA                   US    86463   121967846@AIRLINE.KIWI.COM
P5QJ8B   8/19/2020   OB   12/27/2020   WN;1866;DTW;MDW                        RICHARDPORT            MN                   US    20786   121967846@AIRLINE.KIWI.COM
P5S3UG   8/19/2020   OB     9/4/2020   WN;1089;PIT;DAL;WN;962;DAL;AUS         WEST HARRY             MS                   US    52041   121967659@AIRLINE.KIWI.COM
P6A865   8/19/2020   OB    9/18/2020   WN;184;DEN;LAX                         MELANIEFORT            ID                   US    74292   115668652.1425812@AIRLINE.KIWI.COM
P7JCVG   8/19/2020   OB     9/7/2020   WN;2522;SMF;LAX                        KARINATOWN             PA                   US    98769   121970233@AIRLINE.KIWI.COM
P7WAA9   8/19/2020   OB     9/4/2020   WN;1059;LAX;SMF                        JERRYVIEW              IL                   US    49375   121969848@AIRLINE.KIWI.COM
P85Z28   8/19/2020   OB   12/19/2020   WN;552;MDW;LAX                         PORT MICHELESHIRE      IA                   US    34198   121970706@AIRLINE.KIWI.COM
P85Z28   8/19/2020   OB   12/19/2020   WN;552;MDW;LAX                         PORT MICHELESHIRE      IA                   US    34198   121970706@AIRLINE.KIWI.COM
PCBZ2F   8/19/2020   OB    8/25/2020   WN;537;FLL;STL                         NUEVA JAMAICA          YUCATAN              MX    91592   121972609@AIRLINE.KIWI.COM
PCSF4F   8/19/2020   OB    8/19/2020   WN;660;LAS;SAN                         ZU LI QU               EHIME                JP    55043   121972884@AIRLINE.KIWI.COM
PEFIKP   8/19/2020   OB    8/20/2020   WN;866;LAX;LAS                         MARGARETTON            NV                   US    73318   121973577@AIRLINE.KIWI.COM
PEXFU4   8/19/2020   OB    8/21/2020   WN;1758;SDF;DEN;WN;720;DEN;SJD         FORBESLAND             UT                   US    22285   121973720@AIRLINE.KIWI.COM
PEXFU4   8/19/2020   OB    8/21/2020   WN;1758;SDF;DEN;WN;720;DEN;SJD         FORBESLAND             UT                   US    22285   121973720@AIRLINE.KIWI.COM
PG7NP2   8/19/2020   OB     9/4/2020   WN;1150;DEN;SEA                        LAKE VINCENT           AL                   US    36229   121974072@AIRLINE.KIWI.COM
PG7NP2   8/19/2020   OB     9/4/2020   WN;1150;DEN;SEA                        LAKE VINCENT           AL                   US    36229   121974072@AIRLINE.KIWI.COM
PGOZ9G   8/19/2020   OB    8/20/2020   WN;455;PHX;LAX                         JOSEPHVILLE            IA                   US    20635   121974534@AIRLINE.KIWI.COM
PHQJKL   8/20/2020   OB     9/4/2020   WN;896;DEN;LAS                         SONIATOWN              RI                   US     8671   121974776@AIRLINE.KIWI.COM
PHQJKL   8/20/2020   OB     9/4/2020   WN;896;DEN;LAS                         SONIATOWN              RI                   US     8671   121974776@AIRLINE.KIWI.COM
PHQJKL   8/20/2020   RT     9/8/2020   WN;2439;LAS;DEN                        SONIATOWN              RI                   US     8671   121974776@AIRLINE.KIWI.COM
PHQJKL   8/20/2020   RT     9/8/2020   WN;2439;LAS;DEN                        SONIATOWN              RI                   US     8671   121974776@AIRLINE.KIWI.COM
PIISK5   8/20/2020   OB    8/20/2020   WN;1057;LAX;SJC                        LAKE STEVENVIEW        MO                   US    43756   121975117@AIRLINE.KIWI.COM
PJDMDN   8/20/2020   OB     9/2/2020   WN;464;MCO;MEM                         BARTLETTSHIRE          RI                   US    43798   121975381@AIRLINE.KIWI.COM
PKZWN4   8/20/2020   OB    8/20/2020   WN;596;BNA;RDU                         WEST RICHARD           CT                   US     7255   121975876@AIRLINE.KIWI.COM
PKZWN4   8/20/2020   RT    8/23/2020   WN;403;RDU;BNA                         WEST RICHARD           CT                   US     7255   121975876@AIRLINE.KIWI.COM
PLDYQD   8/20/2020   OB    8/20/2020   WN;270;SMF;LAS                         HILLSHIRE              ME                   US    74925   121976052@AIRLINE.KIWI.COM
PLDYQD   8/20/2020   OB    8/20/2020   WN;270;SMF;LAS                         HILLSHIRE              ME                   US    74925   121976052@AIRLINE.KIWI.COM
PLDYQD   8/20/2020   RT    8/22/2020   WN;274;LAS;SMF                         HILLSHIRE              ME                   US    74925   121976052@AIRLINE.KIWI.COM
PLDYQD   8/20/2020   RT    8/22/2020   WN;274;LAS;SMF                         HILLSHIRE              ME                   US    74925   121976052@AIRLINE.KIWI.COM
PLU4WW   8/20/2020   OB    8/20/2020   WN;5262;RDU;DEN;WN;1002;DEN;LAX        NEW REGINA             WI                   US    78335   121976019@AIRLINE.KIWI.COM
PM3AEC   8/20/2020   OB    8/21/2020   WN;441;RIC;ATL                         WILLIAMSIDE            OK                   US    25462   121974545@AIRLINE.KIWI.COM
PM8MOZ   8/20/2020   OB    8/30/2020   WN;1884;LAX;DEN;WN;512;DEN;MCO         DARRYLSTAD             NV                   US    63876   121976074@AIRLINE.KIWI.COM
PM8MOZ   8/20/2020   OB    8/30/2020   WN;1884;LAX;DEN;WN;512;DEN;MCO         DARRYLSTAD             NV                   US    63876   121976074@AIRLINE.KIWI.COM
PMJUFZ   8/20/2020   OB     9/3/2020   WN;836;MCO;STL;WN;6929;STL;LAX         NEW RICHARD            PA                   US    31244   121976074@AIRLINE.KIWI.COM
PMJUFZ   8/20/2020   OB     9/3/2020   WN;836;MCO;STL;WN;6929;STL;LAX         NEW RICHARD            PA                   US    31244   121976074@AIRLINE.KIWI.COM
POCXW5   8/20/2020   OB     9/4/2020   WN;1096;MCO;ATL                        RALPHPORT              AK                   US    43316   121976943@AIRLINE.KIWI.COM
POUGBG   8/20/2020   OB    9/16/2020   WN;2504;LAX;MDW                        OCONNORTON             GISBORNE DISTRICT    NZ    55963   121976998@AIRLINE.KIWI.COM
PPZRKU   8/20/2020   OB    8/23/2020   WN;344;ATL;LGA                         SARAHSIDE              DE                   US    91688   121977174@AIRLINE.KIWI.COM
PQU4DU   8/20/2020   OB     9/7/2020   WN;2274;OAK;BWI                        PACOV                  JIHOCESKY KRAJ       CZ    74464   121977636@AIRLINE.KIWI.COM
PR4W83   8/20/2020   OB    8/21/2020   WN;1157;MDW;MSP                        JAMESLAND              OH                   US    16091   121977647@AIRLINE.KIWI.COM
PR4W83   8/20/2020   RT    8/24/2020   WN;1316;MSP;MDW                        JAMESLAND              OH                   US    16091   121977647@AIRLINE.KIWI.COM
PRQH6K   8/20/2020   OB    8/21/2020   WN;139;LAS;SNA                         GOMEZTON               AK                   US    14505   121977658@AIRLINE.KIWI.COM
PS2NBE   8/20/2020   OB     9/4/2020   WN;896;DEN;LAS                         WEST ASHLEY            CT                   US    86951   121974776@AIRLINE.KIWI.COM
PS2NBE   8/20/2020   RT     9/8/2020   WN;2439;LAS;DEN                        WEST ASHLEY            CT                   US    86951   121974776@AIRLINE.KIWI.COM
PS8YRY   8/20/2020   OB    8/21/2020   WN;1149;SMF;SAN                        NEW CARMENBURY         MA                   US     7280   121978054@AIRLINE.KIWI.COM
PSN6BA   8/20/2020   OB     9/4/2020   WN;896;DEN;LAS                         PORT RODNEYSHIRE       WY                   US    90488   121974776@AIRLINE.KIWI.COM
PSN6BA   8/20/2020   RT     9/8/2020   WN;2439;LAS;DEN                        PORT RODNEYSHIRE       WY                   US    90488   121974776@AIRLINE.KIWI.COM
PSP7GX   8/20/2020   OB     9/4/2020   WN;143;SFO;DEN                         PORT KYLEVIEW          IL                   US    39399   121977900@AIRLINE.KIWI.COM
PTOYOD   8/20/2020   OB    8/24/2020   WN;1637;PDX;SMF;WN;1479;SMF;ONT        NORTH ASHLEY           ID                   US    36422   121978340@AIRLINE.KIWI.COM
PUDXOP   8/20/2020   OB     9/3/2020   WN;1319;ICT;STL;WN;696;STL;DTW         MARCOHAVEN             VA                   US    45654   121978560@AIRLINE.KIWI.COM
PVRVAP   8/20/2020   OB    8/20/2020   WN;1746;PIT;BWI;WN;1747;BWI;ROC        HEATHERLAND            CO                   US    96686   121979044@AIRLINE.KIWI.COM
Q2I8TX   8/20/2020   OB     9/8/2020   WN;6751;LAS;SLC                        WEST ROBERT            KS                   US    96076   121980298@AIRLINE.KIWI.COM
Q3CDNG   8/20/2020   OB    8/25/2020   WN;287;DAL;LGA                         VANESSABURGH           SD                   US    38569   121980738@AIRLINE.KIWI.COM
Q3MWPL   8/20/2020   OB    9/15/2020   WN;182;DAL;DEN                         WEST DANA              NE                   US    56235   121980815@AIRLINE.KIWI.COM
Q3TZYR   8/20/2020   OB    8/29/2020   WN;1592;MHT;BWI;WN;333;BWI;GSP         PORT DARRELL           SC                   US    55181   121980881@AIRLINE.KIWI.COM
Q4OBVR   8/20/2020   OB    8/27/2020   WN;1479;PHX;SFO                        LAURAPORT              RI                   US    36749   121981244@AIRLINE.KIWI.COM
Q52Q58   8/20/2020   OB    8/24/2020   WN;989;SFO;PHX                         HUGHESBOROUGH          NM                   US    69541   121981244@AIRLINE.KIWI.COM
Q6IS2P   8/20/2020   OB    8/26/2020   WN;1079;HNL;OAK;WN;1638;OAK;LAS        NEW KELLYVIEW          KS                   US    38519   121981915@AIRLINE.KIWI.COM
Q6IS2P   8/20/2020   OB    8/26/2020   WN;1079;HNL;OAK;WN;1638;OAK;LAS        NEW KELLYVIEW          KS                   US    38519   121981915@AIRLINE.KIWI.COM
Q6L6GU   8/20/2020   OB    9/11/2020   WN;2229;TPA;CMH                        NEW DILLON             NM                   US    64186   121981772@AIRLINE.KIWI.COM
Q6L6GU   8/20/2020   OB    9/11/2020   WN;2229;TPA;CMH                        NEW DILLON             NM                   US    64186   121981772@AIRLINE.KIWI.COM
Q6XGXJ   8/20/2020   OB    9/30/2020   WN;328;CUN;HOU;WN;2122;HOU;SAN         WILLIAMSFURT           CA                   US    61648   121981915@AIRLINE.KIWI.COM
Q6XGXJ   8/20/2020   OB    9/30/2020   WN;328;CUN;HOU;WN;2122;HOU;SAN         WILLIAMSFURT           CA                   US    61648   121981915@AIRLINE.KIWI.COM
Q76QVA   8/20/2020   OB    10/1/2020   WN;100;SAN;OAK;WN;2036;OAK;HNL         RODNEYHAVEN            LA                   US     7183   121981915@AIRLINE.KIWI.COM
Q76QVA   8/20/2020   OB    10/1/2020   WN;100;SAN;OAK;WN;2036;OAK;HNL         RODNEYHAVEN            LA                   US     7183   121981915@AIRLINE.KIWI.COM
Q7PWE4   8/20/2020   OB    8/23/2020   WN;1794;LAX;SLC                        WEST EMILYBOROUGH      OH                   US    63463   121982542@AIRLINE.KIWI.COM
Q84GK6   8/20/2020   OB    8/20/2020   WN;1311;OAK;SAN                        LAKE MEGAN             KY                   US    22274   121982399@AIRLINE.KIWI.COM
Q8J6AK   8/20/2020   OB    8/21/2020   WN;173;BOS;MDW                         NORTH JESSICA          KY                   US    78473   121982575@AIRLINE.KIWI.COM
Q8OXGP   8/20/2020   OB     9/5/2020   WN;435;RNO;LAS                         PORT CATHYSTAD         AR                   US    34575   121982861@AIRLINE.KIWI.COM
Q9JCTP   8/20/2020   OB    9/17/2020   WN;2068;TPA;ATL                        PORT WILLIAM           GA                   US    68713   121982949@AIRLINE.KIWI.COM
Q9QU72   8/20/2020   OB     9/3/2020   WN;450;LAS;ONT                         LAKE TIFFANYFORT       CO                   US    98438   121982960@AIRLINE.KIWI.COM
QAA25A   8/20/2020   OB    8/20/2020   WN;1358;SMF;LAS;WN;1530;LAS;MAF        NEW SHAUNMOUTH         WI                   US    89876   121983466@AIRLINE.KIWI.COM
QACC7J   8/20/2020   OB    9/27/2020   WN;2040;BNA;DTW                        KNIGHTBERG             MI                   US    81263   121983279@AIRLINE.KIWI.COM
QACC7J   8/20/2020   OB    9/27/2020   WN;2040;BNA;DTW                        KNIGHTBERG             MI                   US    81263   121983279@AIRLINE.KIWI.COM
QARESF   8/20/2020   OB    9/13/2020   WN;2083;LAS;BUR                        NORTH STEPHENBURY      OK                   US    68381   121983686@AIRLINE.KIWI.COM
QBNQ5P   8/20/2020   OB    9/14/2020   WN;2538;CMH;BWI                        JZRPORT                KHAN YUNIS           PS    50431   121984203@AIRLINE.KIWI.COM
QBNQ5P   8/20/2020   OB    9/14/2020   WN;2538;CMH;BWI                        JZRPORT                KHAN YUNIS           PS    50431   121984203@AIRLINE.KIWI.COM
QED5XZ   8/20/2020   OB     9/1/2020   WN;5262;RDU;DEN;WN;465;DEN;SNA         PAGEBURGH              PA                   US    47182   121985171@AIRLINE.KIWI.COM
QIP22U   8/20/2020   OB    8/31/2020   WN;704;LAS;OAK;WN;808;OAK;HNL          JOHNBURY               WA                   US    70027   121986997@AIRLINE.KIWI.COM
QJ999J   8/20/2020   OB    8/21/2020   WN;380;BNA;RDU                         SOUTH JOSEPH           KY                   US    12074   121987250@AIRLINE.KIWI.COM
QN978I   8/20/2020   OB    8/28/2020   WN;1509;OKC;STL;WN;696;STL;DTW         NORTH CHAD             MO                   US    42316   121990253@AIRLINE.KIWI.COM
QTFBTG   8/20/2020   OB    8/20/2020   WN;983;LAS;SJC                         CZECHOWICEDZIEDZICE    MAZOWIECKIE          PL    65992   121995533@AIRLINE.KIWI.COM
QTFBTG   8/20/2020   OB    8/20/2020   WN;983;LAS;SJC                         CZECHOWICEDZIEDZICE    MAZOWIECKIE          PL    65992   121995533@AIRLINE.KIWI.COM
R3NI5I   8/20/2020   OB     9/2/2020   WN;1323;DEN;PHX                        NORTH CASSANDRA        IN                   US    39943   122003288@AIRLINE.KIWI.COM
RGQMA3   8/20/2020   OB     9/4/2020   WN;378;SEA;MDW                         LINDSEYTON             RI                   US     9572   122017731@AIRLINE.KIWI.COM
RGQMA3   8/20/2020   RT     9/9/2020   WN;111;MDW;OAK;WN;1340;OAK;SEA         LINDSEYTON             RI                   US     9572   122017731@AIRLINE.KIWI.COM
RMLYDW   8/20/2020   OB    8/20/2020   WN;760;SMF;BUR;WN;1351;BUR;LAS         PORT WILLIAMBURGH      VT                   US     5141   122023506@AIRLINE.KIWI.COM
RMLYDW   8/20/2020   OB    8/20/2020   WN;760;SMF;BUR;WN;1351;BUR;LAS         PORT WILLIAMBURGH      VT                   US     5141   122023506@AIRLINE.KIWI.COM
RNUSPQ   8/20/2020   OB    10/1/2020   WN;734;HOU;DEN                         EAST STEPHANIEPORT     KY                   US    82860   122024276@AIRLINE.KIWI.COM
RNVXQS   8/20/2020   OB    8/25/2020   WN;1517;LAX;SFO                        SAN ELISA LOS BAJOS    GUERRERO             MX    78479   121994290@AIRLINE.KIWI.COM
RSOS5N   8/20/2020   OB   11/12/2020   WN;1023;LAX;DEN;WN;1204;DEN;DAL;WN;33;DHALLTOWN               VT                   US    33260   122028885@AIRLINE.KIWI.COM
RSV6E4   8/20/2020   OB   11/16/2020   WN;810;HOU;LAX                         WEST CHRISTOPHERSIDE   LA                   US    62249   122029149@AIRLINE.KIWI.COM
RW9AI9   8/20/2020   OB    8/21/2020   WN;5456;LAS;MDW;WN;899;MDW;CVG         FRANKSIDE              WY                   US    50045   122032152@AIRLINE.KIWI.COM
RWZ3TZ   8/20/2020   OB    8/25/2020   WN;722;SJU;MCO;WN;1438;MCO;PHX         WALTERSTOWN            TX                   US    52515   122032999@AIRLINE.KIWI.COM
RX4B69   8/20/2020   OB    8/29/2020   WN;274;LAS;SMF                         SOUTH CARLA            OK                   US    24350   122033296@AIRLINE.KIWI.COM
RXSQPT   8/20/2020   OB    8/23/2020   WN;1383;PHX;SEA                        HENSLEYBURGH           KS                   US    35776   122034605@AIRLINE.KIWI.COM




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RXZQ4K   8/20/2020   OB    8/21/2020   WN;1029;BOS;BWI                   GREGORYSIDE            UT                        US   40045   122034385@AIRLINE.KIWI.COM
S4BHY7   8/20/2020   OB    8/25/2020   WN;1569;SEA;OAK;WN;1183;OAK;HNL   HALLBOROUGH            WY                        US   93053   122038488@AIRLINE.KIWI.COM
S4KHTL   8/20/2020   OB     9/4/2020   WN;655;IND;DEN                    FOXBERG                AK                        US   54896   122038906@AIRLINE.KIWI.COM
S6IBXG   8/20/2020   OB    8/24/2020   WN;1204;AMA;LAS                   BOBHAVEN               DE                        US   84859   122041920@AIRLINE.KIWI.COM
S6PJGM   8/20/2020   OB    9/12/2020   WN;1971;LAS;SFO                   LAKE ROBERTFORT        AK                        US   85668   122041414@AIRLINE.KIWI.COM
S6PJGM   8/20/2020   OB    9/12/2020   WN;1971;LAS;SFO                   LAKE ROBERTFORT        AK                        US   85668   122041414@AIRLINE.KIWI.COM
S9R5B3   8/20/2020   OB   12/28/2020   WN;448;MSY;HOU                    REBECCASIDE            NE                        US   22645   122045517@AIRLINE.KIWI.COM
S9R5B3   8/20/2020   OB   12/28/2020   WN;448;MSY;HOU                    REBECCASIDE            NE                        US   22645   122045517@AIRLINE.KIWI.COM
SALXO2   8/20/2020   OB    8/21/2020   WN;1541;SAT;PHX                   LAKE JASONCHESTER      ME                        US    5657   122046804@AIRLINE.KIWI.COM
SAO25E   8/20/2020   OB    8/21/2020   WN;498;ONT;LAS                    DANIELMOUTH            SD                        US   31248   122044802@AIRLINE.KIWI.COM
SAO25E   8/20/2020   OB    8/21/2020   WN;498;ONT;LAS                    DANIELMOUTH            SD                        US   31248   122044802@AIRLINE.KIWI.COM
SAVLU5   8/20/2020   OB    8/24/2020   WN;535;LAS;LAX                    KENDRASTAD             MN                        US   91561   122044802@AIRLINE.KIWI.COM
SAVLU5   8/20/2020   OB    8/24/2020   WN;535;LAS;LAX                    KENDRASTAD             MN                        US   91561   122044802@AIRLINE.KIWI.COM
SBSLP4   8/20/2020   OB    8/21/2020   WN;127;CMH;ATL                    CHRISTENSENBOROUGH     SD                        US   15131   122048168@AIRLINE.KIWI.COM
SCUI9U   8/20/2020   OB    8/24/2020   WN;600;SAT;MDW;WN;1724;MDW;MSP    PORT FRANK             CO                        US    5801   122048784@AIRLINE.KIWI.COM
SEO3HH   8/20/2020   OB    8/24/2020   WN;1768;AUS;BNA                   PRAYOONHONGVIEW        CHIANG RAI                TH   51736   122051435@AIRLINE.KIWI.COM
SF549F   8/20/2020   OB   12/22/2020   WN;919;PDX;OAK;WN;412;OAK;LGB     MONROEBOROUGH          GA                        US   24773   122051358@AIRLINE.KIWI.COM
SFHLA6   8/20/2020   OB    8/29/2020   WN;335;BOS;MDW;WN;1414;MDW;ONT    EAST ALICIA            CT                        US   13960   122051501@AIRLINE.KIWI.COM
SG35CO   8/20/2020   OB     1/3/2021   WN;1726;LGB;LAS                   NEW KARENBURY          OH                        US   52338   122051952@AIRLINE.KIWI.COM
SGPWUH   8/20/2020   OB    11/6/2020   WN;1130;OAK;LAX                   EAST PETER             WY                        US   99266   122053228@AIRLINE.KIWI.COM
SGPWUH   8/20/2020   OB    11/6/2020   WN;1130;OAK;LAX                   EAST PETER             WY                        US   99266   122053228@AIRLINE.KIWI.COM
SGPWUH   8/20/2020   RT    11/9/2020   WN;1817;LAX;OAK                   EAST PETER             WY                        US   99266   122053228@AIRLINE.KIWI.COM
SGPWUH   8/20/2020   RT    11/9/2020   WN;1817;LAX;OAK                   EAST PETER             WY                        US   99266   122053228@AIRLINE.KIWI.COM
SHF9JE   8/20/2020   OB    12/8/2020   WN;2980;SMF;HNL                   CHRASTAVA              -                         -    62613   122053789@AIRLINE.KIWI.COM
SHQR3H   8/20/2020   OB     9/2/2020   WN;372;SAN;SJC                    JESSICAFURT            CT                        US    4244   122054108@AIRLINE.KIWI.COM
SHQR3H   8/20/2020   RT     9/8/2020   WN;2598;SJC;SAN                   JESSICAFURT            CT                        US    4244   122054108@AIRLINE.KIWI.COM
SHWUGQ   8/20/2020   OB    12/1/2020   WN;821;BOS;BWI                    ZACHARYTOWN            MD                        US   76886   122053723@AIRLINE.KIWI.COM
SIBW9B   8/20/2020   OB    11/5/2020   WN;337;BWI;LAS;WN;653;LAS;OAK     CLAYTONTON             WI                        US   33712   122054691@AIRLINE.KIWI.COM
SIBW9B   8/20/2020   RT   11/10/2020   WN;4693;OAK;LAS;WN;4693;LAS;BWI   CLAYTONTON             WI                        US   33712   122054691@AIRLINE.KIWI.COM
SJ5TQG   8/20/2020   OB     9/1/2020   WN;1152;PHL;DEN                   PETERSSTAD             CO                        US   74181   122055340@AIRLINE.KIWI.COM
SJPXH6   8/20/2020   OB     1/7/2021   WN;197;FLL;SJU                    SOUTH MATTHEW          PA                        US   93350   122055747@AIRLINE.KIWI.COM
SJPXH6   8/20/2020   OB     1/7/2021   WN;197;FLL;SJU                    SOUTH MATTHEW          PA                        US   93350   122055747@AIRLINE.KIWI.COM
SJPXH6   8/20/2020   OB     1/7/2021   WN;197;FLL;SJU                    SOUTH MATTHEW          PA                        US   93350   122055747@AIRLINE.KIWI.COM
SLELZ7   8/20/2020   OB    8/20/2020   WN;1119;BNA;DTW                   NEW JEANMOUTH          HARINGEY                  GB   53333   122057474@AIRLINE.KIWI.COM
SLQJZB   8/20/2020   OB    8/21/2020   WN;257;MDW;BWI                    DAALKHOLAA             RAJASTHAN                 IN   74994   122057276@AIRLINE.KIWI.COM
SM5LYP   8/20/2020   OB     9/4/2020   WN;979;DCA;MKE;WN;979;MKE;LAS     NORTH BRIAN            WA                        US   35927   122058409@AIRLINE.KIWI.COM
SN893T   8/20/2020   OB    9/28/2020   WN;2239;BNA;ATL                   KELSEYLAND             HI                        US   35488   122059245@AIRLINE.KIWI.COM
SOLEB7   8/20/2020   OB    8/20/2020   WN;971;SAN;OAK                    STEPHENMOUTH           NC                        US   58179   122060246@AIRLINE.KIWI.COM
SOQ9HP   8/20/2020   OB     9/8/2020   WN;2528;STL;LAS                   CHARLESCHESTER         ID                        US   19577   122060411@AIRLINE.KIWI.COM
SP47XI   8/20/2020   OB    10/2/2020   WN;1256;MDW;SAN                   AMANDAPORT             WA                        US   61216   122060763@AIRLINE.KIWI.COM
SPRH7Y   8/20/2020   OB     9/4/2020   WN;6912;MCO;MDW                   EAST ANNABURGH         AK                        US   95768   122060763@AIRLINE.KIWI.COM
SPRL8Z   8/20/2020   OB    8/20/2020   WN;753;LAS;LAX                    EAST BETH              MA                        US   98004   122060719@AIRLINE.KIWI.COM
SQLHZR   8/20/2020   OB    8/20/2020   WN;1427;DEN;LAS                   CATHERINEHAVEN         MN                        US   75211   122061665@AIRLINE.KIWI.COM
SR4MFG   8/20/2020   OB    8/21/2020   WN;2314;DAL;ATL;WN;2314;ATL;TPA   KEVINHAVEN             IL                        US   50125   122061962@AIRLINE.KIWI.COM
SSRUQF   8/20/2020   OB     9/5/2020   WN;946;CVG;DEN                    EAST TANYA             NE                        US   47108   122062985@AIRLINE.KIWI.COM
STOSCM   8/20/2020   OB    8/25/2020   WN;386;HOU;MSY                    SAN ABEL DE LA MONTA   COLIMA                    MX   27555   122062116@AIRLINE.KIWI.COM
SU6Q4C   8/20/2020   OB     9/4/2020   WN;878;MCO;ATL                    BAILEYTON              CT                        US   91244   122063293@AIRLINE.KIWI.COM
SX4AFD   8/20/2020   OB     9/4/2020   WN;764;ATL;CMH                    SIDONIABERG            BUCURESTI                 RO   54413   122065119@AIRLINE.KIWI.COM
SX4AFD   8/20/2020   OB     9/4/2020   WN;764;ATL;CMH                    SIDONIABERG            BUCURESTI                 RO   54413   122065119@AIRLINE.KIWI.COM
SX8HBW   8/20/2020   OB    8/22/2020   WN;1704;BWI;LAX                   EAST DANIEL            ME                        US   33831   122065130@AIRLINE.KIWI.COM
SXMDQT   8/20/2020   OB    8/21/2020   WN;2314;DAL;ATL;WN;2314;ATL;TPA   SOUTH AUSTINSIDE       SC                        US   39533   122065229@AIRLINE.KIWI.COM
SY4PNG   8/20/2020   OB     9/5/2020   WN;1917;LAX;DEN                   JACKSONVILLE           SC                        US   74039   122065185@AIRLINE.KIWI.COM
SY4PNG   8/20/2020   OB     9/5/2020   WN;1917;LAX;DEN                   JACKSONVILLE           SC                        US   74039   122065185@AIRLINE.KIWI.COM
SY4PNG   8/20/2020   RT    9/11/2020   WN;1901;DEN;LAX                   JACKSONVILLE           SC                        US   74039   122065185@AIRLINE.KIWI.COM
SY4PNG   8/20/2020   RT    9/11/2020   WN;1901;DEN;LAX                   JACKSONVILLE           SC                        US   74039   122065185@AIRLINE.KIWI.COM
SYV3HG   8/20/2020   OB    8/27/2020   WN;1582;SEA;DEN                   WEST JOHN              OH                        US   29138   122065427@AIRLINE.KIWI.COM
T2B5SV   8/21/2020   OB    8/21/2020   WN;536;CLT;BWI;WN;1611;BWI;ORF    WILLISTON              KY                        US   98746   122066076@AIRLINE.KIWI.COM
T37KWW   8/21/2020   OB    8/21/2020   WN;1088;FLL;DAL;WN;1219;DAL;LAS   WOLFENBUTTEL           NORDRHEINWESTFALEN        DE   42240   122066384@AIRLINE.KIWI.COM
T3JGS9   8/21/2020   OB    8/22/2020   WN;54;DCA;MDW                     ANYANGSI DONGANGU      DAEJEON GWANGYEOGSI       KR   14078   122066494@AIRLINE.KIWI.COM
T4BO2L   8/21/2020   OB     9/1/2020   WN;269;LAX;SMF                    OUDE NIEDORP           BONAIRE                   NL   15308   122066461@AIRLINE.KIWI.COM
T4ZIFB   8/21/2020   OB     9/4/2020   WN;1356;ATL;MSY                   NORTH JOSHUA           WY                        US   28691   122067055@AIRLINE.KIWI.COM
T5BCFY   8/21/2020   OB    8/28/2020   WN;201;MCO;HOU;WN;172;HOU;ECP     EAST NICOLE            QUEBEC                    CA   29706   122066769@AIRLINE.KIWI.COM
T5DZO2   8/21/2020   OB     9/6/2020   WN;7;ECP;DAL                      SOUTH HLLY             AL HUDUD ASH SHAMALIYAH   SA   75394   122066769@AIRLINE.KIWI.COM
T5RWSS   8/21/2020   OB    8/31/2020   WN;344;MSY;ATL                    SARAHBERG              RI                        US   86795   122067198@AIRLINE.KIWI.COM
T5RWSS   8/21/2020   RT    9/16/2020   WN;177;ATL;MSY                    SARAHBERG              RI                        US   86795   122067198@AIRLINE.KIWI.COM
T6HWGY   8/21/2020   OB    8/21/2020   WN;1267;CLE;STL                   JAMESMOUTH             TN                        US   98247   122065768@AIRLINE.KIWI.COM
T6YZMQ   8/21/2020   OB    8/21/2020   WN;888;PHX;DEN                    SAN RENATO LOS ALTOS   NUEVO LEON                MX   88900   122067671@AIRLINE.KIWI.COM
T7LWSH   8/21/2020   OB    8/28/2020   WN;598;AUS;DEN                    SOUTH KENDRA           RI                        US   77899   122068122@AIRLINE.KIWI.COM
T7LWSH   8/21/2020   OB    8/28/2020   WN;598;AUS;DEN                    SOUTH KENDRA           RI                        US   77899   122068122@AIRLINE.KIWI.COM
T9X6FX   8/21/2020   OB    8/21/2020   WN;29;MCO;SAT                     SOUTH LINDALAND        KS                        US   39644   122068826@AIRLINE.KIWI.COM
TA6PWO   8/21/2020   OB    8/21/2020   WN;1567;DTW;MDW                   HALLHAVEN              NJ                        US   65380   122068694@AIRLINE.KIWI.COM
TALDXD   8/21/2020   OB    9/12/2020   WN;2585;DEN;ABQ                   VIEJA KAZAJSTAN        MICHOACAN DE OCAMPO       MX   73515   122068892@AIRLINE.KIWI.COM
TALDXD   8/21/2020   RT    9/27/2020   WN;415;ABQ;DEN                    VIEJA KAZAJSTAN        MICHOACAN DE OCAMPO       MX   73515   122068892@AIRLINE.KIWI.COM
TAU8AH   8/21/2020   OB    8/24/2020   WN;1742;LAS;MDW;WN;1589;MDW;DTW   CHRISTYTON             AR                        US   64513   122068925@AIRLINE.KIWI.COM
TBAQR3   8/21/2020   OB     9/4/2020   WN;1271;RIC;ATL                   DYLANMOUTH             PA                        US   13094   122069046@AIRLINE.KIWI.COM
TBAQR3   8/21/2020   RT     9/9/2020   WN;2068;ATL;RIC                   DYLANMOUTH             PA                        US   13094   122069046@AIRLINE.KIWI.COM
TCUGX5   8/21/2020   OB     9/9/2020   WN;3232;OKC;DEN                   PORT WENDY             MD                        US   24929   122069585@AIRLINE.KIWI.COM
TCUGX5   8/21/2020   RT    9/14/2020   WN;2366;DEN;OKC                   PORT WENDY             MD                        US   24929   122069585@AIRLINE.KIWI.COM
TD4HBL   8/21/2020   OB    8/27/2020   WN;1769;DTW;DEN                   STEWARTFORT            WV                        US   99493   122069838@AIRLINE.KIWI.COM
TD4HBL   8/21/2020   OB    8/27/2020   WN;1769;DTW;DEN                   STEWARTFORT            WV                        US   99493   122069838@AIRLINE.KIWI.COM
TDAQE7   8/21/2020   OB     9/4/2020   WN;1699;BOS;BWI;WN;912;BWI;TPA    SOUTH ERINTOWN         WA                        US   33450   122069750@AIRLINE.KIWI.COM
TG8G9G   8/21/2020   OB     9/8/2020   WN;2056;JAX;BWI                   HENRYSTAD              SC                        US   43414   122070663@AIRLINE.KIWI.COM
TGHR2T   8/21/2020   OB    9/14/2020   WN;153;DCA;BNA;WN;2529;BNA;JAX    CODYMOUTH              OK                        US   35660   122070817@AIRLINE.KIWI.COM
THKUNB   8/21/2020   OB    8/21/2020   WN;328;CUN;HOU;WN;433;HOU;PHX     NORTH STACYFURT        OK                        US   45308   122071026@AIRLINE.KIWI.COM
THW6I8   8/21/2020   OB     9/4/2020   WN;1338;SAT;BWI                   EAST JORGEMOUTH        NV                        US   59524   122070927@AIRLINE.KIWI.COM
TID9WI   8/21/2020   OB    9/14/2020   WN;2315;PHX;ELP                   KHANFORT               NE                        US   74181   122071235@AIRLINE.KIWI.COM
TIWB9L   8/21/2020   OB    9/22/2020   WN;1117;DAL;LBB                   ROSSBURGH              IL                        US   70928   122071400@AIRLINE.KIWI.COM
TKL63D   8/21/2020   OB    9/10/2020   WN;2483;LAX;SFO                   RANGELMOUTH            MD                        US   89199   122071510@AIRLINE.KIWI.COM
TMZ8NH   8/21/2020   OB    8/21/2020   WN;495;DAL;PHX                    QUELUZ                 BRAGA                     PT   30069   122072929@AIRLINE.KIWI.COM
TMZ8NH   8/21/2020   RT    8/22/2020   WN;298;PHX;DAL                    QUELUZ                 BRAGA                     PT   30069   122072929@AIRLINE.KIWI.COM
TO4B9I   8/21/2020   OB     9/3/2020   WN;958;ATL;STL                    PORT JULIE             CA                        US   48744   122073358@AIRLINE.KIWI.COM
TOJF9P   8/21/2020   OB    8/21/2020   WN;841;MCI;STL                    WEBERSHIRE             PA                        US   84128   122073490@AIRLINE.KIWI.COM
TOOMH7   8/21/2020   OB    8/21/2020   WN;122;LAX;STL;WN;276;STL;RDU     MCCOYBOROUGH           WA                        US   22478   122073556@AIRLINE.KIWI.COM
TRC66Q   8/21/2020   OB   11/23/2020   WN;4194;BWI;DEN                   SUZANNEHAVEN           NJ                        US   98577   122073820@AIRLINE.KIWI.COM
TRMCAO   8/21/2020   OB    8/31/2020   WN;351;ELP;PHX;WN;1019;PHX;LAS    LAKE TIMOTHYPORT       HI                        US   58827   122074447@AIRLINE.KIWI.COM
TRMCAO   8/21/2020   OB    8/31/2020   WN;351;ELP;PHX;WN;1019;PHX;LAS    LAKE TIMOTHYPORT       HI                        US   58827   122074447@AIRLINE.KIWI.COM
TS9WN7   8/21/2020   OB     9/4/2020   WN;1149;SEA;SMF                   PORT LINDAVILLE        NY                        US    4268   122074480@AIRLINE.KIWI.COM
TS9WN7   8/21/2020   OB     9/4/2020   WN;1149;SEA;SMF                   PORT LINDAVILLE        NY                        US    4268   122074480@AIRLINE.KIWI.COM
TSE4U4   8/21/2020   OB     9/4/2020   WN;1123;LAS;ELP                   GARYPORT               MD                        US   20221   122074601@AIRLINE.KIWI.COM
TTOUGS   8/21/2020   OB     9/2/2020   WN;528;DEN;DTW                    MOKAAMAA               ODISHA                    IN   49036   122075415@AIRLINE.KIWI.COM
TTT9B6   8/21/2020   OB    8/21/2020   WN;742;LAX;OAK                    PORT WILLIEVILLE       UT                        US   35635   122075503@AIRLINE.KIWI.COM
UHNDYX   8/21/2020   OB    8/21/2020   WN;839;RNO;LAS                    JACQUELINESTAD         NM                        US   86267   122093532@AIRLINE.KIWI.COM
UJDRKY   8/21/2020   OB    8/23/2020   WN;12;SMF;PDX                     LIUMOUTH               OR                        US   64022   122094654@AIRLINE.KIWI.COM
UNQG7Y   8/21/2020   OB     9/4/2020   WN;111;MCO;STL;WN;3234;STL;ECP    PERKINSCHESTER         TN                        US    2016   122099153@AIRLINE.KIWI.COM
UTPZM7   8/21/2020   OB    8/26/2020   WN;3367;RDU;MCO                   REBECCALAND            OK                        US    3468   122105599@AIRLINE.KIWI.COM
UTPZM7   8/21/2020   RT    8/30/2020   WN;333;MCO;RDU                    REBECCALAND            OK                        US    3468   122105599@AIRLINE.KIWI.COM
UU57IO   8/21/2020   OB    9/25/2020   WN;2257;ATL;IND                   NEW CARL               CT                        US   25979   122106292@AIRLINE.KIWI.COM




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UUPHS3   8/21/2020   OB    8/21/2020   WN;432;RDU;BNA;WN;463;BNA;SAT         MORGANBURGH            ND                    US   92883   122106798@AIRLINE.KIWI.COM
UVU3AW   8/21/2020   OB    8/26/2020   WN;132;FLL;BWI                        MICHAELVIEW            MO                    US     911   122107227@AIRLINE.KIWI.COM
UYVPG4   8/21/2020   OB    8/21/2020   WN;1470;ATL;FLL                       HANNAHFURT             AR                    US    1563   122111572@AIRLINE.KIWI.COM
V27JRG   8/21/2020   OB    9/11/2020   WN;2123;MDW;HOU                       WEST NICOLAS           VA                    US   21632   122112859@AIRLINE.KIWI.COM
V2W3WS   8/21/2020   OB    9/11/2020   WN;1644;MSP;MDW                       LANEHAVEN              MI                    US   85170   122112859@AIRLINE.KIWI.COM
V46C9D   8/21/2020   OB    9/11/2020   WN;1903;CLT;BWI                       FRANCISBOROUGH         IA                    US   53687   122114663@AIRLINE.KIWI.COM
V48EZU   8/21/2020   OB     9/3/2020   WN;1152;PHL;DEN                       NICOLEVILLE            CT                    US   32535   122114740@AIRLINE.KIWI.COM
V48EZU   8/21/2020   OB     9/3/2020   WN;1152;PHL;DEN                       NICOLEVILLE            CT                    US   32535   122114740@AIRLINE.KIWI.COM
V7FGS5   8/21/2020   OB    8/22/2020   WN;1464;SMF;LAS                       LOGATEC                DOBREPOLJE            SI   24349   122117974@AIRLINE.KIWI.COM
V7KSF3   8/21/2020   OB   12/30/2020   WN;1257;TUL;PHX;WN;1257;PHX;DEN;WN;294PORT STEVENMOUTH       AL                    US   41561   122118744@AIRLINE.KIWI.COM
V8CKVJ   8/21/2020   OB    8/23/2020   WN;1891;TUS;LAS;WN;1325;LAS;RNO       SOUTH SARAHBERG        KY                    US   11896   122119954@AIRLINE.KIWI.COM
V8LT4R   8/21/2020   OB     9/5/2020   WN;218;DEN;SLC                        EAST JOSHUABERG        VT                    US   79894   122119888@AIRLINE.KIWI.COM
VAWVWT   8/21/2020   OB    8/21/2020   WN;862;DTW;MDW;WN;683;MDW;LAS         LIUVIEW                CO                    US   77164   122122385@AIRLINE.KIWI.COM
VGZLM4   8/21/2020   OB     9/2/2020   WN;582;MDW;LGA                        PORT KATIEFORT         AR                    US    5300   122127698@AIRLINE.KIWI.COM
VGZLM4   8/21/2020   RT     9/5/2020   WN;1362;LGA;MDW                       PORT KATIEFORT         AR                    US    5300   122127698@AIRLINE.KIWI.COM
VHX4WJ   8/21/2020   OB    8/31/2020   WN;1578;ATL;MDW                       WEST DAVID             TX                    US   27374   122128468@AIRLINE.KIWI.COM
VJ9M9G   8/21/2020   OB    8/21/2020   WN;862;DTW;MDW;WN;683;MDW;LAS         CONNERVILLE            MN                    US   34306   122129447@AIRLINE.KIWI.COM
VLFVIW   8/21/2020   OB    8/29/2020   WN;1191;RDU;BNA;WN;1626;BNA;LAX       WILLIAMPORT            MA                    US   27095   122131570@AIRLINE.KIWI.COM
VLGXCU   8/21/2020   OB    9/16/2020   WN;2582;PHX;BWI                       MARYSTAD               GA                    US   21184   122131493@AIRLINE.KIWI.COM
VM52NM   8/21/2020   OB     9/4/2020   WN;1020;BWI;MSY                       MELANIEBURY            HI                    US   97641   121560384.1427974@AIRLINE.KIWI.COM
VNAI92   8/21/2020   OB    8/21/2020   WN;1080;OAK;LAX                       VILLAHAVEN             MO                    US    3905   122133638@AIRLINE.KIWI.COM
VNAI92   8/21/2020   RT    8/23/2020   WN;283;LAX;OAK                        VILLAHAVEN             MO                    US    3905   122133638@AIRLINE.KIWI.COM
VNCUDD   8/21/2020   OB    8/22/2020   WN;2015;LAX;LAS                       LISASTAD               TX                    US   34978   122134265@AIRLINE.KIWI.COM
VNPLER   8/21/2020   OB    8/22/2020   WN;267;LAX;MDW;WN;574;MDW;RDU         ROSALESLAND            GA                    US   30262   122133594@AIRLINE.KIWI.COM
VNUYLN   8/21/2020   OB    8/30/2020   WN;586;DAL;ATL                        LAKE NANCYSTAD         MN                    US   20106   122134408@AIRLINE.KIWI.COM
VOKZDJ   8/21/2020   OB    8/28/2020   WN;1651;MSP;MDW;WN;1693;MDW;CMH       CHARLESHAVEN           MD                    US   93748   122134694@AIRLINE.KIWI.COM
VOMWYV   8/21/2020   OB    8/26/2020   WN;1582;SEA;DEN                       NEW CHARLESBURY        WI                    US   88866   122134958@AIRLINE.KIWI.COM
VOMWYV   8/21/2020   RT    8/30/2020   WN;478;DEN;SEA                        NEW CHARLESBURY        WI                    US   88866   122134958@AIRLINE.KIWI.COM
VQFKZV   8/21/2020   OB    8/23/2020   WN;1762;LAS;ONT                       WATSONLAND             NY                    US   48493   122137785@AIRLINE.KIWI.COM
VS77ES   8/21/2020   OB    8/21/2020   WN;1145;SAN;SFO                       CAINCHESTER            OR                    US   82794   122139347@AIRLINE.KIWI.COM
VUOS8U   8/21/2020   OB    8/22/2020   WN;249;LAS;OKC                        JOSHUALAND             CT                    US   65345   122141360@AIRLINE.KIWI.COM
VV2MRI   8/21/2020   OB    8/23/2020   WN;1762;LAS;ONT                       MATHEWFURT             ME                    US   59374   122141602@AIRLINE.KIWI.COM
VVLUSI   8/21/2020   OB    9/18/2020   WN;2488;SJC;MDW                       SOUTH JARED            ND                    US   19108   122141393@AIRLINE.KIWI.COM
VVLUSI   8/21/2020   OB    9/18/2020   WN;2488;SJC;MDW                       SOUTH JARED            ND                    US   19108   122141393@AIRLINE.KIWI.COM
VVOGD3   8/21/2020   OB    8/21/2020   WN;1578;ATL;MDW                       BERRYPORT              ID                    US   54897   122142240@AIRLINE.KIWI.COM
VWLXF5   8/21/2020   OB    9/28/2020   WN;782;MDW;SJC                        PORT MIGUELTOWN        WY                    US   78334   122141371@AIRLINE.KIWI.COM
VWLXF5   8/21/2020   OB    9/28/2020   WN;782;MDW;SJC                        PORT MIGUELTOWN        WY                    US   78334   122141371@AIRLINE.KIWI.COM
VWVTIA   8/21/2020   OB    8/24/2020   WN;1466;SJC;LAS                       HENDERSON              NV                    US   89011   122143274@AIRLINE.KIWI.COM
VWVTIA   8/21/2020   OB    8/24/2020   WN;1466;SJC;LAS                       JAMESHAVEN             HI                    US   41510   122143274@AIRLINE.KIWI.COM
VWXE8V   8/21/2020   OB    9/18/2020   WN;1607;BWI;CUN                       TAYLORMOUTH            HI                    US   25849   122143626@AIRLINE.KIWI.COM
VXR3OM   8/21/2020   OB    8/30/2020   WN;456;DEN;MDW                        AIMEETON               ME                    US   31568   122144319@AIRLINE.KIWI.COM
VZAGM6   8/21/2020   OB    12/1/2020   WN;1326;LAX;HOU;WN;492;HOU;ATL        CASTROTON              PA                    US   79981   122145694@AIRLINE.KIWI.COM
VZAGM6   8/21/2020   OB    12/1/2020   WN;1326;LAX;HOU;WN;492;HOU;ATL        CASTROTON              PA                    US   79981   122145694@AIRLINE.KIWI.COM
VZMZKN   8/21/2020   OB    8/22/2020   WN;40;DTW;MDW;WN;595;MDW;OAK          DAVIDMOUTH             WI                    US   79127   122145606@AIRLINE.KIWI.COM
VZNTX6   8/21/2020   OB    9/18/2020   WN;1607;BWI;CUN                       WAGNERMOUTH            ID                    US   15641   122145452@AIRLINE.KIWI.COM
VZOH27   8/21/2020   OB   11/21/2020   WN;1653;ATL;PHX;WN;2317;PHX;LAX       SUMMERSHAVEN           WI                    US   48014   122145331@AIRLINE.KIWI.COM
VZOH27   8/21/2020   OB   11/21/2020   WN;1653;ATL;PHX;WN;2317;PHX;LAX       SUMMERSHAVEN           WI                    US   48014   122145331@AIRLINE.KIWI.COM
W22ZJH   8/21/2020   OB    8/21/2020   WN;392;DEN;PIT                        PORT AARONFORT         IA                    US   98932   122145848@AIRLINE.KIWI.COM
W2CC76   8/21/2020   OB    9/18/2020   WN;1607;BWI;CUN                       LAKE LESLIE            MT                    US   89952   122146486@AIRLINE.KIWI.COM
W2WTXJ   8/21/2020   OB    9/11/2020   WN;499;DEN;HOU;WN;6805;HOU;PNS        LAKE KIMBERLY          NE                    US   33327   122147003@AIRLINE.KIWI.COM
W49Z44   8/21/2020   OB     9/1/2020   WN;406;DEN;MDW                        LEBLANCTON             TN                    US   19272   122148037@AIRLINE.KIWI.COM
W6MP7E   8/21/2020   OB    8/28/2020   WN;549;GRR;DEN                        LAKE JOSEVIEW          OH                    US   80097   122149423@AIRLINE.KIWI.COM
W9PAGE   8/21/2020   OB    8/24/2020   WN;971;SAN;OAK                        NORTH VERONICA         NV                    US   80658   122152228@AIRLINE.KIWI.COM
W9PAGE   8/21/2020   RT     9/9/2020   WN;1974;OAK;SAN                       NORTH VERONICA         NV                    US   80658   122152228@AIRLINE.KIWI.COM
W9XQ55   8/21/2020   OB    8/31/2020   WN;43;LAS;OMA                         NORTH RICARDO          PA                    US   45859   122152283@AIRLINE.KIWI.COM
WAYGCZ   8/21/2020   OB     9/5/2020   WN;523;PHL;ATL                        NEW NICHOLE            TX                    US   20702   122152646@AIRLINE.KIWI.COM
WC3CU4   8/21/2020   OB    8/22/2020   WN;398;ATL;FLL                        PADILLAFORT            GA                    US   60068   122153482@AIRLINE.KIWI.COM
WCJ594   8/21/2020   OB    8/22/2020   WN;1790;SDF;HOU;WN;1790;HOU;SMF       K LIANTOR              PRIMORSKIY KRAY       RU   67159   122153845@AIRLINE.KIWI.COM
WCUDLL   8/21/2020   OB    8/21/2020   WN;753;LAS;LAX                        PORT KYLE              WI                    US    3411   122153691@AIRLINE.KIWI.COM
WDWFYR   8/21/2020   OB    10/6/2020   WN;2628;TPA;MSY                       NEW JEFFREY            ND                    US   71537   122154527@AIRLINE.KIWI.COM
WE88YF   8/21/2020   OB    9/10/2020   WN;1083;MDW;BWI                       EAST TARASTAD          AK                    US   16197   122154472@AIRLINE.KIWI.COM
WEBD5Z   8/21/2020   OB    8/22/2020   WN;462;MSP;MDW                        NEW JANETBURY          UT                    US   77482   122154637@AIRLINE.KIWI.COM
WERUPJ   8/21/2020   OB    8/22/2020   WN;7;LAX;LAS                          NELSONBOROUGH          CO                    US   62106   122154857@AIRLINE.KIWI.COM
WF8OJW   8/21/2020   OB     9/7/2020   WN;2274;OAK;BWI                       PORT MICHELLE          FL                    US   10679   122154725@AIRLINE.KIWI.COM
WFCVLD   8/21/2020   OB    8/21/2020   WN;227;SMF;LAX                        MARYPORT               HI                    US   25030   122155055@AIRLINE.KIWI.COM
WFUYKW   8/21/2020   OB     9/2/2020   WN;1449;DEN;LAX                       ANTHONYVILLE           WI                    US   93769   122155066@AIRLINE.KIWI.COM
WGCZUF   8/21/2020   OB    8/22/2020   WN;1491;SMF;ONT                       YONGINSI GIHEUNGGU     GWANGJU GWANGYEOGSI   KR   34041   122155572@AIRLINE.KIWI.COM
WGOU9T   8/21/2020   OB    8/22/2020   WN;1602;BUR;LAS                       KIMBERLYSIDE           NY                    US   42320   122155418@AIRLINE.KIWI.COM
WHJQBZ   8/21/2020   OB    8/23/2020   WN;177;LAS;SMF                        SOUTH KIMBERLYMOUTH    MI                    US   87025   122155880@AIRLINE.KIWI.COM
WHVEMI   8/21/2020   OB    8/28/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO       WEST JAMES             FL                    US   26340   122155836@AIRLINE.KIWI.COM
WIHEB3   8/21/2020   OB     9/8/2020   WN;821;MDW;BWI                        DURHAMFURT             IL                    US   19574   122156243@AIRLINE.KIWI.COM
WJ3RWC   8/21/2020   OB     9/5/2020   WN;1007;BWI;MDW                       SANDERSTON             IL                    US   53772   122156243@AIRLINE.KIWI.COM
J2PE5K   8/22/2020   OB    8/31/2020   WN;1587;MKE;DEN                       WEST TAMI              MN                    US   19625   122161105@AIRLINE.KIWI.COM
J42D4E   8/22/2020   OB    8/30/2020   WN;1350;DEN;LAX                       PORT ROBERTO           IA                    US    7801   122161314@AIRLINE.KIWI.COM
J6L543   8/22/2020   OB   11/22/2020   WN;485;HOU;ATL                        PORT ALANMOUTH         MS                    US   14393   122161963@AIRLINE.KIWI.COM
J6SMUO   8/22/2020   OB    8/24/2020   WN;535;LAS;LAX                        RUBENTON               WV                    US   18853   122162161@AIRLINE.KIWI.COM
J8PZU9   8/22/2020   OB     9/4/2020   WN;246;DEN;ONT                        NORTH JUSTINSHIRE      RI                    US   77045   122162579@AIRLINE.KIWI.COM
J8WKE7   8/22/2020   OB     9/3/2020   WN;1193;OAK;LAX                       EAST HEATHER           SD                    US   43118   122162689@AIRLINE.KIWI.COM
J9GGQ4   8/22/2020   OB     9/6/2020   WN;2286;LAX;OAK                       SOUTH JOSEPHMOUTH      SD                    US   50113   122162689@AIRLINE.KIWI.COM
J9Q3BB   8/22/2020   OB    8/25/2020   WN;1626;LAX;LAS                       BRIANFURT              AZ                    US   45918   122162799@AIRLINE.KIWI.COM
JALHGW   8/22/2020   OB     9/6/2020   WN;782;DEN;DTW                        WEST LUISBERG          OR                    US   50167   122163041@AIRLINE.KIWI.COM
JALHGW   8/22/2020   OB     9/6/2020   WN;782;DEN;DTW                        WEST LUISBERG          OR                    US   50167   122163041@AIRLINE.KIWI.COM
JARHZM   8/22/2020   OB     9/6/2020   WN;1554;SFO;DEN                       LARRYLAND              CA                    US   24296   122163041@AIRLINE.KIWI.COM
JARHZM   8/22/2020   OB     9/6/2020   WN;1554;SFO;DEN                       LARRYLAND              CA                    US   24296   122163041@AIRLINE.KIWI.COM
JC5IRE   8/22/2020   OB    9/16/2020   WN;2612;PHL;ATL                       DAVIDMOUTH             LA                    US   93609   122163349@AIRLINE.KIWI.COM
JD99TA   8/22/2020   OB   12/20/2020   WN;605;OAK;SNA;WN;605;SNA;HOU         BEI QU                 IBARAKI               JP   56342   122163745@AIRLINE.KIWI.COM
JEC8PB   8/22/2020   OB    8/23/2020   WN;1335;LAX;LAS                       KHUTIR IELISAVETA      SUMS KA OBLAST        UA   21925   122164075@AIRLINE.KIWI.COM
JKFDKX   8/22/2020   OB    8/25/2020   WN;330;BNA;LAX                        IVERSEN                VESTAGDER             NO    4541   122166572@AIRLINE.KIWI.COM
JMOWR8   8/22/2020   OB    8/31/2020   WN;753;LAS;LAX                        FERNANDEZSIDE          VT                    US   42750   122168310@AIRLINE.KIWI.COM
JSNIDR   8/22/2020   OB    8/27/2020   WN;742;LAX;OAK                        SAN ROLANDO DE LA MO   OAXACA                MX   88074   122165186@AIRLINE.KIWI.COM
JVKL5O   8/22/2020   OB    8/25/2020   WN;896;DEN;LAS                        PORT ANGELFURT         WY                    US   90526   122173579@AIRLINE.KIWI.COM
JVT368   8/22/2020   OB    8/22/2020   WN;609;OAK;LAS                        EAST ANGELABOROUGH     IA                    US   13179   122174041@AIRLINE.KIWI.COM
JWDT9Q   8/22/2020   OB    8/26/2020   WN;1214;PHX;SMF                       APRILCHESTER           CA                    US   16568   122174635@AIRLINE.KIWI.COM
K2GMQ8   8/22/2020   OB    8/22/2020   WN;175;ATL;FLL                        EAST DANIELLESIDE      GA                    US   73468   122177979@AIRLINE.KIWI.COM
K4XUE8   8/22/2020   OB    8/24/2020   WN;1194;LAS;LAX                       SOUTH RYANSIDE         SC                    US    1959   122179849@AIRLINE.KIWI.COM
K4XUE8   8/22/2020   OB    8/24/2020   WN;1194;LAS;LAX                       SOUTH RYANSIDE         SC                    US    1959   122179849@AIRLINE.KIWI.COM
K4YUTV   8/22/2020   OB    8/22/2020   WN;1080;LAX;LAS                       SOUTH ELIZABETH        CT                    US   26145   122179805@AIRLINE.KIWI.COM
K4YUTV   8/22/2020   OB    8/22/2020   WN;1080;LAX;LAS                       SOUTH ELIZABETH        CT                    US   26145   122179805@AIRLINE.KIWI.COM
K63W5C   8/22/2020   OB    8/23/2020   WN;20;HOU;DAL;WN;612;DAL;MDW          MALDONADOFURT          SC                    US   61870   122180817@AIRLINE.KIWI.COM
KBMNIO   8/22/2020   OB    8/23/2020   WN;20;HOU;DAL;WN;612;DAL;MDW          LAKE LYNDAVIEW         CLACKMANNANSHIRE      GB   70874   122186020@AIRLINE.KIWI.COM
KJOKEV   8/22/2020   OB    8/22/2020   WN;1585;SNA;LAS                       WALLACESHIRE           MO                    US   61687   122192037@AIRLINE.KIWI.COM
KJOKEV   8/22/2020   RT    8/23/2020   WN;1577;LAS;SNA                       WALLACESHIRE           MO                    US   61687   122192037@AIRLINE.KIWI.COM
KOQ5QV   8/22/2020   OB    8/28/2020   WN;226;MCO;STL;WN;1064;STL;LAX        EAST DONNAVILLE        NH                    US   50227   122196932@AIRLINE.KIWI.COM
KOQ5QV   8/22/2020   RT    8/30/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO       EAST DONNAVILLE        NH                    US   50227   122196932@AIRLINE.KIWI.COM
KPIAAA   8/22/2020   OB    8/22/2020   WN;663;STL;OMA                        JOSEPHTOWN             AK                    US   47378   122197295@AIRLINE.KIWI.COM
KRD5E9   8/22/2020   OB    8/24/2020   WN;829;MSY;STL;WN;352;STL;MSP         EAST SCOTT             ID                    US   87214   122199440@AIRLINE.KIWI.COM
KSG9BE   8/22/2020   OB     9/4/2020   WN;1769;DTW;DEN                       LAKE LISA              ME                    US   16608   122200067@AIRLINE.KIWI.COM




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KTU2RE   8/22/2020   OB    8/27/2020   WN;226;MCO;STL;WN;1064;STL;LAX    JAMESVILLE            NM                      US    3670   122201750@AIRLINE.KIWI.COM
KUIRL9   8/22/2020   OB    9/25/2020   WN;2578;BNA;LAS                   SOUTH DAVID           NV                      US    4840   122202443@AIRLINE.KIWI.COM
KUSCZN   8/22/2020   OB   10/27/2020   WN;2122;LGA;ATL                   PORT JAKE             CA                      US   82701   122201937@AIRLINE.KIWI.COM
KV8LAS   8/22/2020   OB    8/24/2020   WN;696;AUS;STL;WN;1267;STL;DSM    NEW EVELYNVIEW        ID                      US   26932   122202564@AIRLINE.KIWI.COM
KV8LAS   8/22/2020   RT    8/27/2020   WN;1558;DSM;STL;WN;498;STL;AUS    NEW EVELYNVIEW        ID                      US   26932   122202564@AIRLINE.KIWI.COM
KVKO8D   8/22/2020   OB    9/25/2020   WN;2578;BNA;LAS                   PAULSHIRE             CO                      US   88960   122202443@AIRLINE.KIWI.COM
KXQZ9U   8/22/2020   OB    8/22/2020   WN;2097;SMF;LAS                   NORTH MATTHEW         MA                      US   98512   122204511@AIRLINE.KIWI.COM
KY75S3   8/22/2020   OB     9/7/2020   WN;673;BWI;MCO                    BONNIECHESTER         RI                      US   43781   122205182@AIRLINE.KIWI.COM
KY93D3   8/22/2020   OB    8/22/2020   WN;214;SMF;SAN                    SOUTH GEORGEFORT      KS                      US   99176   122205292@AIRLINE.KIWI.COM
L29N7M   8/22/2020   OB    8/24/2020   WN;535;HOU;BWI                    PNAUTII               SETI                    NP   67317   122206909@AIRLINE.KIWI.COM
L29N7M   8/22/2020   RT    8/27/2020   WN;548;BWI;HOU                    PNAUTII               SETI                    NP   67317   122206909@AIRLINE.KIWI.COM
L4TQAX   8/22/2020   OB     9/5/2020   WN;975;HOU;DEN                    D ZELENOGORSK LENIN   YAROSLAVSKAYA OBLAST    RU   29344   122208526@AIRLINE.KIWI.COM
L5G6I7   8/22/2020   OB    8/29/2020   WN;1250;CLE;MDW;WN;1571;MDW;LAX   PORT VICTORIAMOUTH    NY                      US   15096   122208999@AIRLINE.KIWI.COM
L6BI44   8/22/2020   OB    8/24/2020   WN;1756;LAS;SFO                   WEST GREGORYMOUTH     NE                      US   12805   122209483@AIRLINE.KIWI.COM
L6LONX   8/22/2020   OB    10/7/2020   WN;2369;PHX;LAX                   SOUTH SANDRA          MD                      US   70602   122209648@AIRLINE.KIWI.COM
L7HNFO   8/22/2020   OB     9/3/2020   WN;352;PIT;STL                    ASM                   LAKSHADWEEP             IN   14457   122210539@AIRLINE.KIWI.COM
LA3W3W   8/22/2020   OB    8/24/2020   WN;920;BWI;CLT                    JOHNSONSTAD           NC                      US   92954   122212233@AIRLINE.KIWI.COM
LB5BDG   8/22/2020   OB   10/21/2020   WN;1299;PVR;PHX                   ORTIZBURY             NV                      US   24975   122212409@AIRLINE.KIWI.COM
LB5BDG   8/22/2020   OB   10/21/2020   WN;1299;PVR;PHX                   ORTIZBURY             NV                      US   24975   122212409@AIRLINE.KIWI.COM
LCGPPZ   8/22/2020   OB    8/26/2020   WN;1319;ATL;CMH                   ASHLEYHAVEN           UT                      US   71640   122213619@AIRLINE.KIWI.COM
LDXMK7   8/22/2020   OB    8/29/2020   WN;893;MCI;BWI;WN;1592;BWI;ISP    MELISSAVIEW           OR                      US   76159   122214818@AIRLINE.KIWI.COM
LE6IK3   8/22/2020   OB     9/8/2020   WN;6677;DEN;ATL                   SBHAAPTINE            GUJARAT                 IN    7603   122214598@AIRLINE.KIWI.COM
LF785A   8/22/2020   OB    8/23/2020   WN;1913;SFO;LAX                   WEST CASSANDRA        PA                      US    1226   122215401@AIRLINE.KIWI.COM
LF785A   8/22/2020   OB    8/23/2020   WN;1913;SFO;LAX                   WEST CASSANDRA        PA                      US    1226   122215401@AIRLINE.KIWI.COM
LFCDM4   8/22/2020   OB     9/5/2020   WN;510;MSP;MDW                    PORT ONURSU           SAMSUN                  TR   10660   122215346@AIRLINE.KIWI.COM
LFCDM4   8/22/2020   OB     9/5/2020   WN;510;MSP;MDW                    PORT ONURSU           SAMSUN                  TR   10660   122215346@AIRLINE.KIWI.COM
LG57BC   8/22/2020   OB    8/30/2020   WN;1250;ISP;BWI;WN;1654;BWI;MCI   BRIGGSBOROUGH         NV                      US   58822   122215742@AIRLINE.KIWI.COM
LG57BC   8/22/2020   OB    8/30/2020   WN;1250;ISP;BWI;WN;1654;BWI;MCI   BRIGGSBOROUGH         NV                      US   58822   122215742@AIRLINE.KIWI.COM
LHVM8M   8/22/2020   OB    8/23/2020   WN;1325;RNO;SAN                   DAVIDSHIRE            AR                      US   73030   122217227@AIRLINE.KIWI.COM
LJ5TKT   8/22/2020   OB    8/23/2020   WN;3348;PHX;BNA                   NORTH ROBERTLAND      NC                      US   52104   122218085@AIRLINE.KIWI.COM
LJNUZX   8/22/2020   OB    8/23/2020   WN;660;LAS;SAN                    LEELAND               MN                      US   48452   122218426@AIRLINE.KIWI.COM
LKDOZA   8/22/2020   OB    8/30/2020   WN;1161;PHL;STL;WN;352;STL;MSP    KOSHII HRAINCAA       PURWANCHAL              NP   29501   122218756@AIRLINE.KIWI.COM
LLN49L   8/22/2020   OB    8/23/2020   WN;1235;ATL;MCI                   LAKE JULIE            HI                      US   51379   122219548@AIRLINE.KIWI.COM
LM5RIG   8/22/2020   OB     9/5/2020   WN;1119;BNA;DTW                   EAST BRIDGET          WA                      US    9834   122219790@AIRLINE.KIWI.COM
LOBJJI   8/22/2020   OB    8/22/2020   WN;7;LAX;LAS                      GERALDFORT            NM                      US   91676   122220769@AIRLINE.KIWI.COM
LOBJJI   8/22/2020   OB    8/22/2020   WN;7;LAX;LAS                      GERALDFORT            NM                      US   91676   122220769@AIRLINE.KIWI.COM
LOBJJI   8/22/2020   OB    8/22/2020   WN;7;LAX;LAS                      GERALDFORT            NM                      US   91676   122220769@AIRLINE.KIWI.COM
LP9K96   8/22/2020   OB    8/24/2020   WN;112;AUS;HOU;WN;1722;HOU;STL    LAKE DONALDSHIRE      WV                      US   68886   122221594@AIRLINE.KIWI.COM
LP9K96   8/22/2020   RT     9/6/2020   WN;5;STL;AUS                      LAKE DONALDSHIRE      WV                      US   68886   122221594@AIRLINE.KIWI.COM
LQQLC6   8/22/2020   OB     9/3/2020   WN;1135;PDX;DEN                   MACKENZIEHAVEN        WA                      US   77897   122220967@AIRLINE.KIWI.COM
LQR6E3   8/22/2020   OB    8/26/2020   WN;226;MCO;STL                    MARYSTAD              OH                      US   66924   122222056@AIRLINE.KIWI.COM
LQYMRE   8/22/2020   OB    8/22/2020   WN;1638;OAK;LAS                   SOUTH APRILTON        LA                      US   35270   122221957@AIRLINE.KIWI.COM
LQYMRE   8/22/2020   OB    8/22/2020   WN;1638;OAK;LAS                   SOUTH APRILTON        LA                      US   35270   122221957@AIRLINE.KIWI.COM
LSUSFJ   8/22/2020   OB    9/26/2020   WN;2038;DCA;MDW;WN;2302;MDW;HOU   CYNTHIAPORT           VA                      US   39641   122222914@AIRLINE.KIWI.COM
LUP35C   8/22/2020   OB     9/6/2020   WN;2610;MDW;ATL                   GARCIAHAVEN           FL                      US   43275   122223420@AIRLINE.KIWI.COM
LYN8LZ   8/22/2020   OB    8/26/2020   WN;1307;SMF;LGB                   NORTH NICOLE          WI                      US   93990   122225125@AIRLINE.KIWI.COM
LYUTZG   8/22/2020   OB    8/23/2020   WN;512;ELP;AUS                    PORT SONIA            GA                      US    2144   122224883@AIRLINE.KIWI.COM
LYYLEU   8/22/2020   OB    8/27/2020   WN;512;ELP;AUS                    SOUTH DEREKLAND       OH                      US   76518   122225070@AIRLINE.KIWI.COM
WILB2C   8/22/2020   OB    8/22/2020   WN;849;PHX;LAS                    NEW MADISONFURT       NV                      US   90106   122156353@AIRLINE.KIWI.COM
WILB2C   8/22/2020   RT    8/23/2020   WN;922;LAS;PHX                    NEW MADISONFURT       NV                      US   90106   122156353@AIRLINE.KIWI.COM
WK5O5U   8/22/2020   OB    8/28/2020   WN;1671;TPA;FLL                   EAST KELLY            GA                      US   67351   122156793@AIRLINE.KIWI.COM
WL8TCW   8/22/2020   OB    8/22/2020   WN;1950;BUR;LAS                   WEST ROBERTBURY       WV                      US   14414   122156815@AIRLINE.KIWI.COM
WL975M   8/22/2020   OB    9/11/2020   WN;1414;LAX;HOU                   CYNTHIAMOUTH          RI                      US   53307   122157057@AIRLINE.KIWI.COM
WLXLPV   8/22/2020   OB    8/25/2020   WN;1735;LAS;LAX                   LAKE ANDREASHIRE      ND                      US   14591   122157079@AIRLINE.KIWI.COM
WLXLPV   8/22/2020   OB    8/25/2020   WN;1735;LAS;LAX                   LAKE ANDREASHIRE      ND                      US   14591   122157079@AIRLINE.KIWI.COM
WN3BSN   8/22/2020   OB    8/24/2020   WN;398;ATL;FLL                    JERRYBOROUGH          KS                      US   26129   122157640@AIRLINE.KIWI.COM
WNIJ5U   8/22/2020   OB     9/5/2020   WN;333;MCO;RDU                    KAULINSBURY           ALSUNGAS NOVADS         LV   70466   122157585@AIRLINE.KIWI.COM
WNS6NH   8/22/2020   OB     9/9/2020   WN;1581;BOS;BNA;WN;1835;BNA;MSY   SOUTH JESSESHIRE      WA                      US   45361   122157794@AIRLINE.KIWI.COM
WOI2DW   8/22/2020   OB    8/28/2020   WN;193;DEN;MKE                    NEW JILL              CT                      US   62264   122158047@AIRLINE.KIWI.COM
WOI8F5   8/22/2020   OB     9/2/2020   WN;1449;DEN;LAX                   NEW LORI              NH                      US   35667   122158047@AIRLINE.KIWI.COM
WOOY4S   8/22/2020   OB    9/17/2020   WN;1967;SEA;DEN                   EMILYBURGH            SC                      US   69195   122158124@AIRLINE.KIWI.COM
WPNQAK   8/22/2020   OB     9/5/2020   WN;510;MSP;MDW                    LAKE JENNIFERMOUTH    DUMYAT                  EG   23198   122158377@AIRLINE.KIWI.COM
WPNQAK   8/22/2020   OB     9/5/2020   WN;510;MSP;MDW                    LAKE JENNIFERMOUTH    DUMYAT                  EG   23198   122158377@AIRLINE.KIWI.COM
WPUOYC   8/22/2020   OB    8/30/2020   WN;6281;MDW;BOS                   PORT CHERYL           CA                      US   81178   122158476@AIRLINE.KIWI.COM
WPV7S2   8/22/2020   OB    8/23/2020   WN;540;LAS;SMF                    EAST ANDREAVILLE      NY                      US   81576   122158465@AIRLINE.KIWI.COM
WR6RCD   8/22/2020   OB    9/11/2020   WN;1237;SJC;SAN                   NEW TIMOTHYSTAD       WA                      US   31599   122158960@AIRLINE.KIWI.COM
WRTRX9   8/22/2020   OB    11/5/2020   WN;1413;SAT;MCO                   TRIINSTAD             VALGAMAA                EE   43750   122159048@AIRLINE.KIWI.COM
WU7TDJ   8/22/2020   OB    8/22/2020   WN;536;CLT;ALB                    EAST ASHLEYMOUTH      SD                      US   56031   122159653@AIRLINE.KIWI.COM
WV3BIN   8/22/2020   OB    8/31/2020   WN;1756;LAS;SFO                   WEST LEELAND          TN                      US   24573   122159785@AIRLINE.KIWI.COM
WVD9QH   8/22/2020   OB    8/28/2020   WN;1480;SFO;LAS                   NEW BRANDONMOUTH      MI                      US   87861   122159785@AIRLINE.KIWI.COM
WVFIXB   8/22/2020   OB    9/22/2020   WN;2504;DEN;AUS                   CLARKBURY             AK                      US   36387   122159884@AIRLINE.KIWI.COM
WVUHHE   8/22/2020   OB     9/9/2020   WN;2626;MDW;LAX                   FU ZHOU XIAN          NINGXIA HUIZI ZIZHIQU   CN   48338   122159983@AIRLINE.KIWI.COM
WWD7VP   8/22/2020   OB    8/27/2020   WN;1715;LAS;LAX                   MICHAELBOROUGH        IN                      US   52955   122160214@AIRLINE.KIWI.COM
WWJHBZ   8/22/2020   OB    8/23/2020   WN;34;ATL;LAS;WN;1437;LAS;SAN     SOUTH JOHNLAND        MS                      US   20968   122160126@AIRLINE.KIWI.COM
WWK6LL   8/22/2020   OB    8/30/2020   WN;491;ATL;PHL                    NORTH ANTONIO         AZ                      US   24873   122160401@AIRLINE.KIWI.COM
WWOUS7   8/22/2020   OB    8/29/2020   WN;1750;HOU;DEN                   MAARSSEN              SABA                    NL   18966   122160280@AIRLINE.KIWI.COM
WWX9LM   8/22/2020   OB     9/1/2020   WN;62;DEN;HOU                     AZEVEDO               PARANA                  BR    6307   122160434@AIRLINE.KIWI.COM
WYOCB6   8/22/2020   OB     9/4/2020   WN;1128;SEA;PHX;WN;310;PHX;AUS    JOHNVIEW              AR                      US   46083   122160599@AIRLINE.KIWI.COM
WYOCB6   8/22/2020   OB     9/4/2020   WN;1128;SEA;PHX;WN;310;PHX;AUS    JOHNVIEW              AR                      US   46083   122160599@AIRLINE.KIWI.COM
WZ6HSL   8/22/2020   OB    9/26/2020   WN;184;BWI;BNA                    NORMANBOROUGH         MN                      US   93771   122160731@AIRLINE.KIWI.COM
WZFNXB   8/22/2020   OB     9/4/2020   WN;822;PDX;DEN                    NEW VICTORIAVIEW      WV                      US   88997   122160687@AIRLINE.KIWI.COM
WZRVJP   8/22/2020   OB    8/22/2020   WN;1157;SAN;MDW                   BRYCELAND             NV                      US   44037   122160973@AIRLINE.KIWI.COM
M2UCVE   8/23/2020   OB     9/1/2020   WN;745;HNL;ITO                    NORTH DAVIDBERG       ND                      US   72815   122225576@AIRLINE.KIWI.COM
M66VFS   8/23/2020   OB     9/5/2020   WN;523;PHL;ATL                    LAKE ERIC             CT                      US   31342   122226742@AIRLINE.KIWI.COM
M66VFS   8/23/2020   OB     9/5/2020   WN;523;PHL;ATL                    LAKE ERIC             CT                      US   31342   122226742@AIRLINE.KIWI.COM
M6856P   8/23/2020   OB    9/15/2020   WN;1276;BWI;SJU                   SHHRSTN YSMYN         KHORASANE SHEMALI       IR    3501   122226643@AIRLINE.KIWI.COM
M6856P   8/23/2020   OB    9/15/2020   WN;1276;BWI;SJU                   SHHRSTN YSMYN         KHORASANE SHEMALI       IR    3501   122226643@AIRLINE.KIWI.COM
M7AQ4G   8/23/2020   OB    8/23/2020   WN;1726;CVG;MDW;WN;241;MDW;CHS    NEW KRISTIN           MA                      US    1119   122227083@AIRLINE.KIWI.COM
M7AQ4G   8/23/2020   OB    8/23/2020   WN;1726;CVG;MDW;WN;241;MDW;CHS    NEW KRISTIN           MA                      US    1119   122227083@AIRLINE.KIWI.COM
MAIG63   8/23/2020   OB    8/25/2020   WN;105;ATL;STL;WN;786;STL;LAX     BIN SHI               JIANGXI SHENG           CN   80885   122227765@AIRLINE.KIWI.COM
MAIG63   8/23/2020   OB    8/25/2020   WN;105;ATL;STL;WN;786;STL;LAX     BIN SHI               JIANGXI SHENG           CN   80885   122227765@AIRLINE.KIWI.COM
MDPVKW   8/23/2020   OB    8/23/2020   WN;1149;ATL;RDU                   EAST SYDNEY           RABAT MALTA             MT   89855   122228711@AIRLINE.KIWI.COM
MEDWBN   8/23/2020   OB    11/7/2020   WN;1636;ATL;DAL;WN;2458;DAL;OAK   GORDONVIEW            CENTRAL                 GH   47188   122228953@AIRLINE.KIWI.COM
MEDWBN   8/23/2020   OB    11/7/2020   WN;1636;ATL;DAL;WN;2458;DAL;OAK   GORDONVIEW            CENTRAL                 GH   47188   122228953@AIRLINE.KIWI.COM
MFR3BB   8/23/2020   OB    10/1/2020   WN;1083;MDW;BWI                   GARYSTAD              UT                      US   40385   122229151@AIRLINE.KIWI.COM
MGZZUR   8/23/2020   OB    8/23/2020   WN;1045;SAN;OAK                   ROGERLAND             LA                      US   32012   122229426@AIRLINE.KIWI.COM
MNHKMF   8/23/2020   OB    8/31/2020   WN;902;CVG;MDW                    P NOVAIA IGIRMA       KOMI RESPUBLIKA         RU   52322   122230746@AIRLINE.KIWI.COM
MO8PLZ   8/23/2020   OB    8/23/2020   WN;1215;SMF;LAX                   LAKE JESSICAVILLE     OR                      US   12611   122230900@AIRLINE.KIWI.COM
MOPPS9   8/23/2020   OB     9/5/2020   WN;2017;MDW;SAN                   NORTH JEFFERY         NM                      US   89909   122231274@AIRLINE.KIWI.COM
MOR5PX   8/23/2020   OB     9/5/2020   WN;1001;BOS;MDW                   LITTLEBERG            MA                      US   29358   122231274@AIRLINE.KIWI.COM
MQ6833   8/23/2020   OB    8/23/2020   WN;1215;SMF;LAX                   HALLSTAD              SC                      US   37548   122231835@AIRLINE.KIWI.COM
MWDEOD   8/23/2020   OB    12/8/2020   WN;1423;LAS;SLC                   SOUTH LISATOWN        KS                      US   79989   122233573@AIRLINE.KIWI.COM
MWDEOD   8/23/2020   OB    12/8/2020   WN;1423;LAS;SLC                   SOUTH LISATOWN        KS                      US   79989   122233573@AIRLINE.KIWI.COM
MWDEOD   8/23/2020   OB    12/8/2020   WN;1423;LAS;SLC                   SOUTH LISATOWN        KS                      US   79989   122233573@AIRLINE.KIWI.COM
N57JZ2   8/23/2020   OB    8/23/2020   WN;1442;MCO;ATL                   JOHNSONVILLE          PA                      US   75380   122236103@AIRLINE.KIWI.COM
N789FH   8/23/2020   OB    8/26/2020   WN;1562;LAX;BNA;WN;846;BNA;MCO    ANTHONYCHESTER        KS                      US   62297   122237368@AIRLINE.KIWI.COM
NRUM36   8/23/2020   OB    8/23/2020   WN;636;MCI;DEN                    SOUTH HEATHER         AL                      US   11099   122252284@AIRLINE.KIWI.COM




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NWMCX7   8/23/2020   OB     9/5/2020   WN;1257;DAL;TPA                   WEST DAVID             LA                          US   72605   122255606@AIRLINE.KIWI.COM
NXC3TY   8/23/2020   OB    8/23/2020   WN;965;LAS;SFO                    NORTH CARLVIEW         AL                          US   90603   122255881@AIRLINE.KIWI.COM
NXTTR6   8/23/2020   OB     9/7/2020   WN;2567;ONT;LAS                   MOSLEYPORT             OK                          US   42045   122256508@AIRLINE.KIWI.COM
O2PVRV   8/23/2020   OB    8/29/2020   WN;378;ATL;LAS;WN;1187;LAS;OAK    VIEJA ARGENTINA        COAHUILA DE ZARAGOZA        MX   47879   122258829@AIRLINE.KIWI.COM
O2PVRV   8/23/2020   OB    8/29/2020   WN;378;ATL;LAS;WN;1187;LAS;OAK    VIEJA ARGENTINA        COAHUILA DE ZARAGOZA        MX   47879   122258829@AIRLINE.KIWI.COM
O2PVRV   8/23/2020   OB    8/29/2020   WN;378;ATL;LAS;WN;1187;LAS;OAK    VIEJA ARGENTINA        COAHUILA DE ZARAGOZA        MX   47879   122258829@AIRLINE.KIWI.COM
O2PVRV   8/23/2020   OB    8/29/2020   WN;378;ATL;LAS;WN;1187;LAS;OAK    VIEJA ARGENTINA        COAHUILA DE ZARAGOZA        MX   47879   122258829@AIRLINE.KIWI.COM
O7KL27   8/23/2020   OB    8/24/2020   WN;175;ATL;FLL                    MCGEELAND              ID                          US   39584   122262404@AIRLINE.KIWI.COM
O8BFWY   8/23/2020   OB    8/23/2020   WN;415;TPA;STL;WN;1525;STL;LIT    NORTH ABIGAILBERG      LA                          US   20929   122262921@AIRLINE.KIWI.COM
OAHEEU   8/23/2020   OB    8/31/2020   WN;1175;ATL;MDW                   PORT DONNA             AR                          US   91394   122265429@AIRLINE.KIWI.COM
OAJOWU   8/23/2020   OB    8/27/2020   WN;1572;TUS;LAS                   WEST JAMESMOUTH        MD                          US   23342   122265396@AIRLINE.KIWI.COM
OAJOWU   8/23/2020   RT    8/28/2020   WN;615;LAS;TUS                    WEST JAMESMOUTH        MD                          US   23342   122265396@AIRLINE.KIWI.COM
OSOXUI   8/23/2020   OB     9/3/2020   WN;1152;PHL;DEN                   EAST CHRISTINE         NH                          US   20498   122269147@AIRLINE.KIWI.COM
P4UXWV   8/23/2020   OB    8/28/2020   WN;1800;SJU;TPA                   NORTH SARAHMOUTH       SLIGO                       IE   89552   122287220@AIRLINE.KIWI.COM
P5L9PX   8/23/2020   OB    8/25/2020   WN;260;SLC;LAX;WN;213;LAX;SMF     AL LYMOUTH             JIZAN                       SA   64593   122287165@AIRLINE.KIWI.COM
P6HXBI   8/23/2020   OB     9/6/2020   WN;55;ATL;DEN                     LAKE KIMBERLY          NC                          US   36272   122288342@AIRLINE.KIWI.COM
P96NP2   8/23/2020   OB    9/11/2020   WN;1150;OKC;LAS                   POOLEBERG              WV                          US   98340   122289651@AIRLINE.KIWI.COM
P9THCD   8/23/2020   OB    9/21/2020   WN;2580;LAS;BUR;WN;2580;BUR;OAK   KAYLAMOUTH             NJ                          US   85779   122290157@AIRLINE.KIWI.COM
PAB4K8   8/23/2020   OB    8/24/2020   WN;1756;LAS;SFO                   JEFFERSONMOUTH         IL                          US   37307   122290234@AIRLINE.KIWI.COM
PAHTDS   8/23/2020   OB    8/24/2020   WN;39;LAS;DAL;WN;39;DAL;HOU       WEST MATTHEWSTAD       IN                          US   40710   122290256@AIRLINE.KIWI.COM
PAQN7M   8/23/2020   OB    8/28/2020   WN;914;LAX;DAL;WN;341;DAL;MCO     PHILLIPTON             ME                          US   69233   122290355@AIRLINE.KIWI.COM
PAQN7M   8/23/2020   OB    8/28/2020   WN;914;LAX;DAL;WN;341;DAL;MCO     PHILLIPTON             ME                          US   69233   122290355@AIRLINE.KIWI.COM
PB3XKB   8/23/2020   OB    8/25/2020   WN;1735;RNO;LAS                   WEST WAYNE             RI                          US   37427   122290630@AIRLINE.KIWI.COM
PCXB5X   8/23/2020   OB    8/31/2020   WN;20;PHL;BNA;WN;1564;BNA;MSY     WEST BRANDONSHIRE      MD                          US   60147   122291224@AIRLINE.KIWI.COM
PEEHAF   8/23/2020   OB    1/18/2021   WN;6111;TPA;DCA                   ERICSTAD               OR                          US   33077   122291983@AIRLINE.KIWI.COM
PEEHAF   8/23/2020   OB    1/18/2021   WN;6111;TPA;DCA                   ERICSTAD               OR                          US   33077   122291983@AIRLINE.KIWI.COM
PFE9IX   8/23/2020   OB    8/28/2020   WN;183;BUF;BWI;WN;501;BWI;SJU     RICHARDSHAVEN          KS                          US   22571   122292654@AIRLINE.KIWI.COM
PGOBMU   8/23/2020   OB     9/4/2020   WN;878;MCO;ATL                    SOUTH ELAINE           WV                          US    3908   122292929@AIRLINE.KIWI.COM
PGOBMU   8/23/2020   OB     9/4/2020   WN;878;MCO;ATL                    SOUTH ELAINE           WV                          US    3908   122292929@AIRLINE.KIWI.COM
PGOBMU   8/23/2020   RT     9/9/2020   WN;127;ATL;MCO                    SOUTH ELAINE           WV                          US    3908   122292929@AIRLINE.KIWI.COM
PGOBMU   8/23/2020   RT     9/9/2020   WN;127;ATL;MCO                    SOUTH ELAINE           WV                          US    3908   122292929@AIRLINE.KIWI.COM
PICM95   8/23/2020   OB     9/2/2020   WN;1496;SAN;MDW                   LAKE JOHNATHANSTAD     MI                          US   76042   122293589@AIRLINE.KIWI.COM
PJ7XHC   8/24/2020   OB     9/1/2020   WN;731;SJD;DEN                    LAKE DAWN              NE                          US   27252   122293798@AIRLINE.KIWI.COM
PKPFVM   8/24/2020   OB    8/30/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   FOGACA                 PIAUI                       BR   48319   122294227@AIRLINE.KIWI.COM
PKPFVM   8/24/2020   OB    8/30/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   FOGACA                 PIAUI                       BR   48319   122294227@AIRLINE.KIWI.COM
PKPY4O   8/24/2020   OB    8/24/2020   WN;779;LAX;OAK                    SOUTH LINDSAYSTAD      AR                          US   74879   122294183@AIRLINE.KIWI.COM
PQEZPS   8/24/2020   OB    12/3/2020   WN;3927;LAX;PHX;WN;4079;PHX;BNA   NEW TODDCHESTER        NJ                          US   54978   122295426@AIRLINE.KIWI.COM
PVXUAM   8/24/2020   OB    8/30/2020   WN;878;MCO;ATL                    WEST BRENDALAND        MT                          US   36719   122296845@AIRLINE.KIWI.COM
PXFHOM   8/24/2020   OB    8/24/2020   WN;1255;FLL;HOU                   PORTERBOROUGH          ID                          US   14512   122297230@AIRLINE.KIWI.COM
PXQGFJ   8/24/2020   OB     9/2/2020   WN;1491;PDX;SMF;WN;1491;SMF;ONT   NUEVA ESLOVENIA        HIDALGO                     MX   80160   122297296@AIRLINE.KIWI.COM
PYOUW4   8/24/2020   OB    8/24/2020   WN;764;MSY;ATL                    CARPENTERTOWN          WY                          US    6580   122297747@AIRLINE.KIWI.COM
PYX9ZQ   8/24/2020   OB    8/25/2020   WN;1371;LAX;DEN                   XIA XIAN               GANSU SHENG                 CN   20341   122297802@AIRLINE.KIWI.COM
PZHI2O   8/24/2020   OB    8/24/2020   WN;753;LAS;LAX                    NEW ASHLEYBURY         NH                          US   20034   122298088@AIRLINE.KIWI.COM
PZHLWN   8/24/2020   OB     9/8/2020   WN;1083;MDW;BWI                   DILLONBOROUGH          WA                          US   25210   122298143@AIRLINE.KIWI.COM
Q4LX4U   8/24/2020   OB    8/26/2020   WN;696;AUS;STL                    FISHERVILLE            KY                          US   47644   122298869@AIRLINE.KIWI.COM
Q5YBJB   8/24/2020   OB    9/11/2020   WN;1866;CLT;BWI;WN;174;BWI;MCO    MICHELLETOWN           GA                          US   80924   122299122@AIRLINE.KIWI.COM
Q7ZNBM   8/24/2020   OB    8/24/2020   WN;661;LAX;SMF                    JAREDSIDE              ND                          US   19770   122299870@AIRLINE.KIWI.COM
Q8Y3M9   8/24/2020   OB    12/3/2020   WN;1966;ATL;DEN;WN;4589;DEN;SMF   PORT AARONCHESTER      KS                          US   86172   122300200@AIRLINE.KIWI.COM
Q8Y3M9   8/24/2020   OB    12/3/2020   WN;1966;ATL;DEN;WN;4589;DEN;SMF   PORT AARONCHESTER      KS                          US   86172   122300200@AIRLINE.KIWI.COM
Q8Y3M9   8/24/2020   OB    12/3/2020   WN;1966;ATL;DEN;WN;4589;DEN;SMF   PORT AARONCHESTER      KS                          US   86172   122300200@AIRLINE.KIWI.COM
Q95XC7   8/24/2020   OB    12/3/2020   WN;4589;DEN;SMF                   GILLESPIEBOROUGH       HI                          US   54329   122300200@AIRLINE.KIWI.COM
Q95XC7   8/24/2020   OB    12/3/2020   WN;4589;DEN;SMF                   GILLESPIEBOROUGH       HI                          US   54329   122300200@AIRLINE.KIWI.COM
Q9V58M   8/24/2020   OB    8/24/2020   WN;773;RNO;PHX;WN;1771;PHX;SNA    EAST ANDREAMOUTH       NE                          US   81076   122300409@AIRLINE.KIWI.COM
QD44FI   8/24/2020   OB    8/24/2020   WN;143;LAS;SFO                    NORTH ANDREW           NC                          US   46429   122301509@AIRLINE.KIWI.COM
QFNE9Q   8/24/2020   OB    9/22/2020   WN;2083;LAS;BUR                   SOUTH RENEECHESTER     PA                          US   47609   122302411@AIRLINE.KIWI.COM
QOV3HV   8/24/2020   OB    8/27/2020   WN;982;RDU;MCO                    NORTH TRISTAN          KY                          US   13110   122307273@AIRLINE.KIWI.COM
QQ5BBN   8/24/2020   OB    8/31/2020   WN;2926;LAS;LGB                   MICHAELBOROUGH         MI                          US   42193   122308329@AIRLINE.KIWI.COM
QT98Z7   8/24/2020   OB     9/4/2020   WN;1769;DTW;DEN                   NORTH JESSICA          NY                          US   64598   122310650@AIRLINE.KIWI.COM
R4DG8W   8/24/2020   OB    9/15/2020   WN;865;PDX;SMF                    LAKE CHRISTINE         MI                          US   20036   122320308@AIRLINE.KIWI.COM
R6KSUD   8/24/2020   OB     9/5/2020   WN;1264;RDU;BWI;WN;1014;BWI;ATL   LAURATOWN              AK                          US   39828   122322145@AIRLINE.KIWI.COM
R8VR7E   8/24/2020   OB    8/27/2020   WN;1401;MAF;DAL;WN;61;DAL;HOU     EAST VANESSATON        MO                          US   80029   122325280@AIRLINE.KIWI.COM
RFNDKB   8/24/2020   OB    8/24/2020   WN;1569;PHX;SEA                   HENSLEYBURGH           KS                          US   35776   122034605@AIRLINE.KIWI.COM
RFPONL   8/24/2020   OB    8/25/2020   WN;398;ATL;FLL                    CAMPOSBERG             MD                          US   38365   122331913@AIRLINE.KIWI.COM
RGYVHU   8/24/2020   OB   11/26/2020   WN;317;HOU;CUN                    NATALIEFURT            WIRRAL                      GB   84141   122333673@AIRLINE.KIWI.COM
RHZKGP   8/24/2020   OB    1/12/2021   WN;4413;DTW;BWI;WN;2255;BWI;ORF   WEST MICHAEL           ID                          US   92180   122335169@AIRLINE.KIWI.COM
RIUB6H   8/24/2020   OB     9/5/2020   WN;103;BDL;BWI;WN;969;BWI;PBI     NORTH RAYMONDMOUTH     WI                          US   31503   122336005@AIRLINE.KIWI.COM
RM2LK3   8/24/2020   OB    8/31/2020   WN;777;LAX;TUS                    WEST DOUGLASMOUTH      RI                          US   81312   122338546@AIRLINE.KIWI.COM
RMVRRN   8/24/2020   OB    8/24/2020   WN;615;ONT;LAS                    NEW VICTORIAVILLE      HI                          US    2390   122340526@AIRLINE.KIWI.COM
RQR524   8/24/2020   OB    8/30/2020   WN;1059;LAX;SMF                   SLAVONSKI BROD         OSJECKOBARANJSKA ZUPANIJA   HR   63878   122343595@AIRLINE.KIWI.COM
RUBHAW   8/24/2020   OB     9/8/2020   WN;1610;CUN;BWI                   WALSHSHIRE             MA                          US   16200   122345971@AIRLINE.KIWI.COM
RUYLR9   8/24/2020   OB   12/16/2020   WN;3170;PHX;HOU;WN;317;HOU;CUN    HERRINGSIDE            AR                          US   58275   122348644@AIRLINE.KIWI.COM
RWJDK8   8/24/2020   OB    8/24/2020   WN;753;LAS;LAX                    SUSANVILLE             ID                          US   84909   122349634@AIRLINE.KIWI.COM
RYH6GY   8/24/2020   OB    8/24/2020   WN;878;MCO;ATL                    PORT JOSHUAMOUTH       TN                          US   76198   122352021@AIRLINE.KIWI.COM
S26HWP   8/24/2020   OB    8/31/2020   WN;398;ATL;FLL                    DESIREESTAD            MN                          US   21050   122353715@AIRLINE.KIWI.COM
S2EO5E   8/24/2020   OB    9/25/2020   WN;1115;DEN;HOU                   LAKE MICHEALMOUTH      VA                          US   39968   122353682@AIRLINE.KIWI.COM
S2EO5E   8/24/2020   RT    9/29/2020   WN;2319;HOU;DEN                   LAKE MICHEALMOUTH      VA                          US   39968   122353682@AIRLINE.KIWI.COM
S2LZZK   8/24/2020   MD    9/29/2020   WN;1911;HOU;OAK                   CHERYLFURT             WV                          US   10548   122353682@AIRLINE.KIWI.COM
S2LZZK   8/24/2020   OB    9/25/2020   WN;1554;SFO;DEN                   CHERYLFURT             WV                          US   10548   122353682@AIRLINE.KIWI.COM
S2YNJK   8/24/2020   OB    8/24/2020   WN;1057;LAX;SJC                   NEW TROY               OR                          US   98231   122354749@AIRLINE.KIWI.COM
S37ICF   8/24/2020   OB    8/25/2020   WN;398;ATL;FLL                    CORDOVACHESTER         MA                          US   26326   122354771@AIRLINE.KIWI.COM
S37ICF   8/24/2020   OB    8/25/2020   WN;398;ATL;FLL                    CORDOVACHESTER         MA                          US   26326   122354771@AIRLINE.KIWI.COM
S3ZL4V   8/24/2020   OB    8/24/2020   WN;100;LAS;SAN                    LAKE STEPHEN           NH                          US   45808   122354837@AIRLINE.KIWI.COM
S5Q2CO   8/24/2020   OB     9/1/2020   WN;1800;SJU;TPA                   PORT BRADLEYHAVEN      ZURRIEQ                     MT   85224   122356564@AIRLINE.KIWI.COM
S5Q2CO   8/24/2020   OB     9/1/2020   WN;1800;SJU;TPA                   PORT BRADLEYHAVEN      ZURRIEQ                     MT   85224   122356564@AIRLINE.KIWI.COM
S5Q2CO   8/24/2020   RT    9/15/2020   WN;2544;TPA;SJU                   PORT BRADLEYHAVEN      ZURRIEQ                     MT   85224   122356564@AIRLINE.KIWI.COM
S5Q2CO   8/24/2020   RT    9/15/2020   WN;2544;TPA;SJU                   PORT BRADLEYHAVEN      ZURRIEQ                     MT   85224   122356564@AIRLINE.KIWI.COM
S7KJ9J   8/24/2020   OB    8/25/2020   WN;790;ATL;DEN;WN;816;DEN;SMF     MCGUIRESIDE            HI                          US   74939   122358445@AIRLINE.KIWI.COM
S8QFQF   8/24/2020   OB   10/23/2020   WN;2212;MCO;STL                   BERRYSHIRE             RI                          US   23670   122359798@AIRLINE.KIWI.COM
SBQFDW   8/24/2020   OB     9/5/2020   WN;1776;TPA;BWI;WN;743;BWI;DTW    PORT MARKTON           CA                          US   35286   122363681@AIRLINE.KIWI.COM
SBX7GT   8/24/2020   OB    10/6/2020   WN;1177;SEA;DEN;WN;2135;DEN;MSY   WENDYMOUTH             TN                          US   61984   122363890@AIRLINE.KIWI.COM
SCEXUB   8/24/2020   OB    8/26/2020   WN;1562;LAX;BNA                   RYANSHIRE              MO                          US   76651   122364451@AIRLINE.KIWI.COM
SERMRE   8/24/2020   OB    8/25/2020   WN;1691;PHX;OAK                   LAKE TAMMY             PA                          US   56862   122366882@AIRLINE.KIWI.COM
SGKRWQ   8/24/2020   OB    8/27/2020   WN;1232;ABQ;DEN;WN;195;DEN;LAS    PORT JERMAINESTAD      OR                          US   18599   121814110.1430585@AIRLINE.KIWI.COM
SGLA3N   8/24/2020   OB    8/24/2020   WN;535;LAS;LAX                    PORT JACQUELINEFURT    GA                          US    2321   122368444@AIRLINE.KIWI.COM
SGLFNI   8/24/2020   OB    9/27/2020   WN;1178;ATL;MDW                   NORTH CHRISTINAMOUTH   MI                          US   79164   122369225@AIRLINE.KIWI.COM
SHBJR3   8/24/2020   OB    8/28/2020   WN;445;ELP;DAL                    DEBRATOWN              NC                          US   16169   122369962@AIRLINE.KIWI.COM
SHBJR3   8/24/2020   RT    8/31/2020   WN;1512;DAL;ELP                   DEBRATOWN              NC                          US   16169   122369962@AIRLINE.KIWI.COM
SJH2WA   8/24/2020   OB    9/11/2020   WN;966;FLL;MDW                    DA CUNHA DO SUL        MINAS GERAIS                BR   24143   122371810@AIRLINE.KIWI.COM
SKBL8O   8/24/2020   OB    8/26/2020   WN;1562;LAX;BNA;WN;846;BNA;MCO    NEW LEVILAND           KS                          US   50705   122301564@AIRLINE.KIWI.COM
SKX7MB   8/24/2020   OB    8/31/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   NORTH CHRISTOPHERVIE   AR                          US   30766   122372976@AIRLINE.KIWI.COM
SKX7MB   8/24/2020   OB    8/31/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   NORTH CHRISTOPHERVIE   AR                          US   30766   122372976@AIRLINE.KIWI.COM
SL8I3L   8/24/2020   OB   12/23/2020   WN;1419;AUS;LAS                   WEST ROGER             VA                          US    3552   122372822@AIRLINE.KIWI.COM
SLHKSA   8/24/2020   OB    8/31/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   JESSICABURY            NV                          US   85763   122373603@AIRLINE.KIWI.COM
SLHKSA   8/24/2020   OB    8/31/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   JESSICABURY            NV                          US   85763   122373603@AIRLINE.KIWI.COM
SLHKSA   8/24/2020   OB    8/31/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   JESSICABURY            NV                          US   85763   122373603@AIRLINE.KIWI.COM
SNTOEQ   8/24/2020   OB    9/26/2020   WN;1728;ATL;DEN                   NUEVA ANDORRA          TLAXCALA                    MX    4021   122375121@AIRLINE.KIWI.COM
SPUJ59   8/24/2020   OB     9/3/2020   WN;1355;SAT;MDW;WN;1634;MDW;GRR   CAROLSIDE              NM                          US    5825   122376815@AIRLINE.KIWI.COM




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SPWU2W   8/24/2020   OB    8/25/2020   WN;1602;BUR;AMA                       JENNIFERLAND           AK                    US    3123   122377288@AIRLINE.KIWI.COM
SQNVA4   8/24/2020   OB     9/6/2020   WN;137;HOU;BWI                        WEST JASMINETOWN       KS                    US   26424   122377772@AIRLINE.KIWI.COM
SSVUW3   8/24/2020   OB     9/2/2020   WN;1203;DEN;OAK;WN;1183;OAK;HNL       NEW TIMOTHYBURGH       NY                    US   82966   122379378@AIRLINE.KIWI.COM
SULWRQ   8/24/2020   OB    8/31/2020   WN;855;LAX;DEN                        MCCOYTON               NV                    US   50233   122380566@AIRLINE.KIWI.COM
SULWRQ   8/24/2020   OB    8/31/2020   WN;855;LAX;DEN                        MCCOYTON               NV                    US   50233   122380566@AIRLINE.KIWI.COM
SV7FHS   8/24/2020   OB    8/25/2020   WN;105;ATL;STL                        MAYSBOROUGH            NY                    US   25828   122380390@AIRLINE.KIWI.COM
SVQA5J   8/24/2020   OB    9/17/2020   WN;1935;PWM;BWI;WN;1322;BWI;MCO       LOPEZHAVEN             LA                    US   48113   122380775@AIRLINE.KIWI.COM
SVRU43   8/24/2020   OB     1/2/2021   WN;1932;FLL;DEN                       NORTH BRIANBOROUGH     LA                    US   55790   122380896@AIRLINE.KIWI.COM
SXTOOI   8/24/2020   OB    8/31/2020   WN;335;BOS;MDW                        CARLBURY               GA                    US    7212   122380962@AIRLINE.KIWI.COM
SYO7W3   8/24/2020   OB    8/25/2020   WN;947;ATL;PHX;WN;1092;PHX;OAK        MELTONTOWN             IN                    US    2208   122381974@AIRLINE.KIWI.COM
SYTLDP   8/24/2020   OB    9/16/2020   WN;1523;MDW;PHX                       GOMES PAULISTA         RIO GRANDE DO SUL     BR    6617   122382029@AIRLINE.KIWI.COM
SYTLDP   8/24/2020   RT    9/20/2020   WN;2476;PHX;MDW                       GOMES PAULISTA         RIO GRANDE DO SUL     BR    6617   122382029@AIRLINE.KIWI.COM
T35P2N   8/25/2020   OB    8/25/2020   WN;1775;HOU;LAS;WN;1775;LAS;PDX       JOSEPHSIDE             HI                    US   53119   122383107@AIRLINE.KIWI.COM
T3D9SX   8/25/2020   OB    8/29/2020   WN;4543;MCO;SJU                       LAKE JODIMOUTH         CO                    US   35360   122383019@AIRLINE.KIWI.COM
T3IL37   8/25/2020   OB    8/31/2020   WN;259;LAS;STL;WN;1291;STL;BOS        PORT JEFFREYBERG       MD                    US   31909   122383272@AIRLINE.KIWI.COM
T4CTIU   8/25/2020   OB    8/27/2020   WN;1784;ALB;MDW;WN;493;MDW;DEN        HUGHESBURY             WY                    US   38263   122383558@AIRLINE.KIWI.COM
T4CTIU   8/25/2020   OB    8/27/2020   WN;1784;ALB;MDW;WN;493;MDW;DEN        HUGHESBURY             WY                    US   38263   122383558@AIRLINE.KIWI.COM
T5NSXS   8/25/2020   OB    9/27/2020   WN;1886;BWI;CLT                       LAKE ZACHARY           DE                    US   81026   122384251@AIRLINE.KIWI.COM
T5Y7U7   8/25/2020   OB     9/5/2020   WN;1756;SFO;DEN                       DAVIDBURY              MS                    US   86681   122384042@AIRLINE.KIWI.COM
T5YIP6   8/25/2020   OB     9/3/2020   WN;900;MDW;BUF                        PORT RANDALLFURT       AR                    US   18055   122384317@AIRLINE.KIWI.COM
T6OKLD   8/25/2020   OB     9/2/2020   WN;1496;SAN;MDW                       RIDDLECHESTER          KS                    US   70005   122384317@AIRLINE.KIWI.COM
T7BCPY   8/25/2020   OB    8/26/2020   WN;1080;OAK;LAX                       NEW CARLBERG           LUTON                 GB   88715   122384658@AIRLINE.KIWI.COM
T7ERK6   8/25/2020   OB    8/27/2020   WN;1361;SAT;STL;WN;352;STL;MSP        ACHOR                  AK                    US   95114   122382513@AIRLINE.KIWI.COM
T8DQQI   8/25/2020   OB    9/15/2020   WN;654;HNL;OAK;WN;1774;OAK;PDX        PATRICKTON             NC                    US   34889   122384746@AIRLINE.KIWI.COM
T8KTUT   8/25/2020   OB     9/4/2020   WN;1059;LAX;SMF                       ANNAFURT               FL                    US   87577   122385043@AIRLINE.KIWI.COM
T96H6R   8/25/2020   OB    8/27/2020   WN;866;LAX;LAS                        KLEINTON               OR                    US    5045   122385252@AIRLINE.KIWI.COM
T96H6R   8/25/2020   RT    8/31/2020   WN;753;LAS;LAX                        KLEINTON               OR                    US    5045   122385252@AIRLINE.KIWI.COM
T9B35N   8/25/2020   OB    8/27/2020   WN;866;LAX;LAS                        SOUTH LISA             WI                    US   95653   122385252@AIRLINE.KIWI.COM
T9B35N   8/25/2020   RT    8/31/2020   WN;753;LAS;LAX                        SOUTH LISA             WI                    US   95653   122385252@AIRLINE.KIWI.COM
T9SM9I   8/25/2020   OB    9/12/2020   WN;1069;IND;ATL                       SOUTH JOSHUAVIEW       NJ                    US   89146   122385516@AIRLINE.KIWI.COM
TAALBC   8/25/2020   OB    9/11/2020   WN;2516;ATL;DEN                       JOHNLAND               GA                    US   71393   122385560@AIRLINE.KIWI.COM
TAALBC   8/25/2020   OB    9/11/2020   WN;2516;ATL;DEN                       JOHNLAND               GA                    US   71393   122385560@AIRLINE.KIWI.COM
TACM7R   8/25/2020   OB     9/4/2020   WN;1326;RNO;SAN                       SOUTH APRILTON         HI                    US   20004   122385648@AIRLINE.KIWI.COM
TAOBUB   8/25/2020   OB     9/4/2020   WN;490;DEN;PDX                        MICHAELHAVEN           WI                    US   62683   122385637@AIRLINE.KIWI.COM
TAVGHC   8/25/2020   OB    8/25/2020   WN;552;TPA;BNA                        PORT CHRISTOPHERBORO   CA                    US   47943   122385670@AIRLINE.KIWI.COM
TAVGHC   8/25/2020   OB    8/25/2020   WN;552;TPA;BNA                        PORT CHRISTOPHERBORO   CA                    US   47943   122385670@AIRLINE.KIWI.COM
TBWNPB   8/25/2020   OB    8/30/2020   WN;982;RDU;MCO                        MATTHEWBERG            CO                    US   56571   122385923@AIRLINE.KIWI.COM
TCVSKX   8/25/2020   OB    8/28/2020   WN;1059;LAX;SMF                       RIVERAFORT             MO                    US   94904   122385043.1430726@AIRLINE.KIWI.COM
TDUVSH   8/25/2020   OB    8/29/2020   WN;1400;LAX;SLC                       SAN BENJAMIN LOS ALT   SONORA                MX   90531   122386308@AIRLINE.KIWI.COM
TGC7RY   8/25/2020   OB    8/31/2020   WN;1064;STL;LAX                       RYANTOWN               NJ                    US    3741   122387166@AIRLINE.KIWI.COM
TGC7RY   8/25/2020   OB    8/31/2020   WN;1064;STL;LAX                       RYANTOWN               NJ                    US    3741   122387166@AIRLINE.KIWI.COM
TI3D28   8/25/2020   OB     9/9/2020   WN;183;MDW;ATL                        NUEVA VANUATU          TLAXCALA              MX   97379   122387881@AIRLINE.KIWI.COM
TIFFFX   8/25/2020   OB     9/6/2020   WN;2234;ATL;HOU                       NUEVA NIGER            JALISCO               MX   20078   122387881@AIRLINE.KIWI.COM
TIUNIZ   8/25/2020   OB     9/5/2020   WN;741;SAN;BWI                        LAKE CAROL             KY                    US   47304   122385208@AIRLINE.KIWI.COM
TKUX27   8/25/2020   OB   10/26/2020   WN;1717;RNO;OAK;WN;808;OAK;HNL;WN;452 LAKE BRENDA            NE                    US   67308   122389190@AIRLINE.KIWI.COM
TKUX27   8/25/2020   OB   10/26/2020   WN;1717;RNO;OAK;WN;808;OAK;HNL;WN;452 LAKE BRENDA            NE                    US   67308   122389190@AIRLINE.KIWI.COM
TLNKC6   8/25/2020   OB    8/25/2020   WN;398;ATL;FLL                        REBECCAVILLE           CT                    US   14287   122389245@AIRLINE.KIWI.COM
TMX3NB   8/25/2020   OB     9/3/2020   WN;1135;PDX;DEN                       ERIKTON                CA                    US    4370   122389498@AIRLINE.KIWI.COM
TMX3NB   8/25/2020   OB     9/3/2020   WN;1135;PDX;DEN                       ERIKTON                CA                    US    4370   122389498@AIRLINE.KIWI.COM
TMX3NB   8/25/2020   OB     9/3/2020   WN;1135;PDX;DEN                       ERIKTON                CA                    US    4370   122389498@AIRLINE.KIWI.COM
TNUD6F   8/25/2020   OB    9/16/2020   WN;1691;DEN;LAS                       SAN YENI DE LA MONTA   MICHOACAN DE OCAMPO   MX   54535   122390224@AIRLINE.KIWI.COM
TPJMJ3   8/25/2020   OB    8/25/2020   WN;6789;BNA;SAN;WN;706;SAN;PHX        CUNNINGHAMBURY         RI                    US   28788   122390565@AIRLINE.KIWI.COM
TQLPKV   8/25/2020   OB    8/25/2020   WN;1755;LAX;DEN;WN;325;DEN;ATL        JAYTON                 CO                    US   33215   122391126@AIRLINE.KIWI.COM
TQRD47   8/25/2020   OB    8/25/2020   WN;855;SFO;LAX                        JAREDVIEW              IA                    US    8017   122391247@AIRLINE.KIWI.COM
TQT68R   8/25/2020   OB    8/25/2020   WN;1626;LAX;LAS                       OLSONHAVEN             IA                    US   24699   122391467@AIRLINE.KIWI.COM
TQTQUW   8/25/2020   OB    8/29/2020   WN;1845;LAS;PHX                       ETHAN TERME            LIVORNO               IT   60206   122388651@AIRLINE.KIWI.COM
TSNMEU   8/25/2020   OB    9/17/2020   WN;2211;PHX;STL                       NORTH JOHNVIEW         AR                    US   48466   122392039@AIRLINE.KIWI.COM
TSNMEU   8/25/2020   OB    9/17/2020   WN;2211;PHX;STL                       NORTH JOHNVIEW         AR                    US   48466   122392039@AIRLINE.KIWI.COM
TT8BLC   8/25/2020   OB     9/9/2020   WN;144;LAX;LAS                        LUCASVIEW              IL                    US   81014   122391973@AIRLINE.KIWI.COM
TUCDJD   8/25/2020   OB     9/4/2020   WN;1131;BOS;BWI                       MICHAELFORT            KS                    US   55416   122392908@AIRLINE.KIWI.COM
TUCDJD   8/25/2020   RT     9/7/2020   WN;1840;BWI;BOS                       MICHAELFORT            KS                    US   55416   122392908@AIRLINE.KIWI.COM
TVT2F6   8/25/2020   OB    8/30/2020   WN;1602;BUR;LAS                       EAST MATTHEW           UT                    US   70531   122393238@AIRLINE.KIWI.COM
TVT2F6   8/25/2020   RT    8/31/2020   WN;1572;LAS;BUR                       EAST MATTHEW           UT                    US   70531   122393238@AIRLINE.KIWI.COM
TY7OXM   8/25/2020   OB    8/25/2020   WN;1462;HOU;ATL                       SOUTH MEGHANLAND       WY                    US   33154   122394305@AIRLINE.KIWI.COM
TZ5P3T   8/25/2020   OB    8/27/2020   WN;1426;SMF;SNA                       IBARRATOWN             IL                    US   48392   122395130@AIRLINE.KIWI.COM
TZT7BG   8/25/2020   OB    8/27/2020   WN;1426;SMF;SNA                       PENATON                MD                    US   88996   122395295@AIRLINE.KIWI.COM
UAJD5Y   8/25/2020   OB    8/25/2020   WN;1149;SEA;SMF                       JOSHUATOWN             IL                    US   76428   122401059@AIRLINE.KIWI.COM
UFEC6M   8/25/2020   OB    8/25/2020   WN;508;LAS;PHX                        BROWNMOUTH             OK                    US   94737   122406625@AIRLINE.KIWI.COM
UKCMGB   8/25/2020   OB    9/10/2020   WN;1452;BWI;DTW                       BRIANAVIEW             TN                    US   11104   122411696@AIRLINE.KIWI.COM
UTOQXP   8/25/2020   OB    8/25/2020   WN;661;LAX;SMF                        MICHAELPORT            RI                    US   17779   122421574@AIRLINE.KIWI.COM
UX395D   8/25/2020   OB     9/4/2020   WN;1579;LGA;ATL                       WEST ANDRESBURGH       CO                    US   78947   122425303@AIRLINE.KIWI.COM
UX395D   8/25/2020   OB     9/4/2020   WN;1579;LGA;ATL                       WEST ANDRESBURGH       CO                    US   78947   122425303@AIRLINE.KIWI.COM
UY56ZJ   8/25/2020   OB    8/28/2020   WN;1223;HOU;SDF                       ORTIZSIDE              AZ                    US   68725   122427217@AIRLINE.KIWI.COM
UY56ZJ   8/25/2020   OB    8/28/2020   WN;1223;HOU;SDF                       ORTIZSIDE              AZ                    US   68725   122427217@AIRLINE.KIWI.COM
V6ESV9   8/25/2020   OB    9/23/2020   WN;1899;ATL;DEN                       EAST PATRICK           IN                    US   78447   122434565@AIRLINE.KIWI.COM
V6SZY6   8/25/2020   OB    9/27/2020   WN;1933;DEN;ATL                       ANDREWVIEW             RI                    US   31355   122435236@AIRLINE.KIWI.COM
VAVECJ   8/25/2020   OB    8/25/2020   WN;160;MCO;ATL                        LAWRENCETOWN           ID                    US   23414   122440736@AIRLINE.KIWI.COM
VAWRQE   8/25/2020   OB    8/26/2020   WN;1219;OAK;DEN;WN;872;DEN;BOS        NEW SUSANTON           NE                    US   22354   122440989@AIRLINE.KIWI.COM
VB3N35   8/25/2020   OB   10/16/2020   WN;1286;SJU;TPA                       HOLLOLA                LAPPI                 FI   75794   122440637@AIRLINE.KIWI.COM
VBG6BM   8/25/2020   OB    9/18/2020   WN;1554;SFO;DEN                       NORTH DAVID            OK                    US   91888   122440681@AIRLINE.KIWI.COM
VBUD6V   8/25/2020   OB     9/4/2020   WN;1579;LGA;ATL                       ALVAREZFORT            MA                    US   24568   122442430@AIRLINE.KIWI.COM
VDHTTL   8/25/2020   OB     9/8/2020   WN;1610;CUN;BWI                       LAKE JOSEPH            MN                    US   43407   122442892@AIRLINE.KIWI.COM
VF4PNU   8/25/2020   OB    8/25/2020   WN;398;ATL;FLL                        BARBARABOROUGH         MS                    US   17544   122445169@AIRLINE.KIWI.COM
VFQD58   8/25/2020   OB    8/27/2020   WN;1207;SAN;LAS                       NORTH WENDYFURT        MN                    US   61186   122446907@AIRLINE.KIWI.COM
VGAD78   8/25/2020   OB    8/27/2020   WN;6548;MCO;MEM                       JOSEPHSIDE             LA                    US   18844   122447336@AIRLINE.KIWI.COM
VGXUT8   8/25/2020   OB    8/25/2020   WN;160;MCO;ATL                        SOUTH STEPHEN          IA                    US   35293   122447875@AIRLINE.KIWI.COM
VHEGQA   8/25/2020   OB     9/1/2020   WN;630;IAD;DEN                        MURRAYBURGH            TX                    US   76434   122448601@AIRLINE.KIWI.COM
VIOPXP   8/25/2020   OB     9/3/2020   WN;171;BWI;HOU                        NEW ROYTON             NE                    US   16832   122449679@AIRLINE.KIWI.COM
VISCEQ   8/25/2020   OB    8/26/2020   WN;453;MSY;DAL;WN;1738;DAL;MAF        KIMPORT                OH                    US   81458   122449778@AIRLINE.KIWI.COM
VISCEQ   8/25/2020   RT    8/30/2020   WN;612;MAF;DAL;WN;1890;DAL;MSY        KIMPORT                OH                    US   81458   122449778@AIRLINE.KIWI.COM
VJ2UOS   8/25/2020   OB   11/29/2020   WN;1991;PHX;TPA                       CLARKHAVEN             UT                    US   95039   122450152@AIRLINE.KIWI.COM
VJ2UOS   8/25/2020   OB   11/29/2020   WN;1991;PHX;TPA                       CLARKHAVEN             UT                    US   95039   122450152@AIRLINE.KIWI.COM
VK3ZYY   8/25/2020   OB    9/10/2020   WN;144;LAX;LAS                        DEANNATOWN             PA                    US   54929   122451274@AIRLINE.KIWI.COM
VK7JVW   8/25/2020   OB     9/9/2020   WN;2529;DTW;BNA;WN;1835;BNA;MSY       WEST AMYSIDE           TN                    US    1404   122451230@AIRLINE.KIWI.COM
VKDU8W   8/25/2020   OB     9/4/2020   WN;1150;DEN;SEA                       SMITHBOROUGH           MA                    US    8599   122451505@AIRLINE.KIWI.COM
VKYXH9   8/25/2020   OB    9/10/2020   WN;2507;LAS;LAX                       NORTH DYLAN            CA                    US     985   122451648@AIRLINE.KIWI.COM
VLZXEV   8/25/2020   OB    9/16/2020   WN;1881;CMH;BWI;WN;2335;BWI;PVD       SOUTH CARLOSBERG       DE                    US   34944   122452363@AIRLINE.KIWI.COM
VMLV3T   8/25/2020   OB     9/5/2020   WN;2081;PDX;LAS                       THOMASBURGH            WV                    US   89966   122453221@AIRLINE.KIWI.COM
VMMWDG   8/25/2020   OB    8/25/2020   WN;398;ATL;FLL                        MARKFORT               AR                    US   70857   122453243@AIRLINE.KIWI.COM
VNTWZA   8/25/2020   OB    9/25/2020   WN;1178;ATL;MDW                       NORTH CATHYCHESTER     VA                    US   28574   122451593@AIRLINE.KIWI.COM
VO5HOF   8/25/2020   OB    8/26/2020   WN;1194;LAS;LAX                       WHITNEYMOUTH           UT                    US   13474   122454981@AIRLINE.KIWI.COM
VO5HOF   8/25/2020   OB    8/26/2020   WN;1194;LAS;LAX                       WHITNEYMOUTH           UT                    US   13474   122454981@AIRLINE.KIWI.COM
VODF2K   8/25/2020   OB     9/1/2020   WN;1769;DTW;DEN                       NORTH BRITTANYFURT     TX                    US   64345   122455124@AIRLINE.KIWI.COM
VODF2K   8/25/2020   OB     9/1/2020   WN;1769;DTW;DEN                       NORTH BRITTANYFURT     TX                    US   64345   122455124@AIRLINE.KIWI.COM
VOGJEI   8/25/2020   OB     9/4/2020   WN;1579;LGA;ATL                       WESLEYHAVEN            MI                    US   58080   122456389@AIRLINE.KIWI.COM
VRT4GE   8/25/2020   OB     9/1/2020   WN;1769;DTW;DEN                       SOUTH TYLERTON         FL                    US   42420   122459205@AIRLINE.KIWI.COM
VSCWRY   8/25/2020   OB    9/12/2020   WN;2522;SMF;LAX                       NEW RICARDO            MO                    US   18835   122460481@AIRLINE.KIWI.COM




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VTVOSM   8/25/2020   OB    8/26/2020   WN;1764;MDW;MSP                   CYNTHIABURGH           AK                   US   18798   122462098@AIRLINE.KIWI.COM
VX6CJ3   8/25/2020   OB   10/23/2020   WN;2570;PVD;MDW;WN;1523;MDW;PHX   NORTH SEANFORT         MT                   US   47565   122465079@AIRLINE.KIWI.COM
VYT7ZU   8/25/2020   OB     9/5/2020   WN;1161;PHL;STL;WN;958;STL;MSY    BRIANBURGH             TN                   US   95730   122466971@AIRLINE.KIWI.COM
VYT7ZU   8/25/2020   OB     9/5/2020   WN;1161;PHL;STL;WN;958;STL;MSY    BRIANBURGH             TN                   US   95730   122466971@AIRLINE.KIWI.COM
VZ5JYN   8/25/2020   OB   11/28/2020   WN;1609;BWI;CUN                   LAKE LISA              KS                   US   40488   118087849.1431609@AIRLINE.KIWI.COM
VZCHEB   8/25/2020   OB    9/25/2020   WN;3004;DEN;LAS                   HANEYMOUTH             TX                   US   20792   122468126@AIRLINE.KIWI.COM
VZCHEB   8/25/2020   RT    9/28/2020   WN;2439;LAS;DEN                   HANEYMOUTH             TX                   US   20792   122468126@AIRLINE.KIWI.COM
W2IJPE   8/25/2020   OB     9/4/2020   WN;375;LGA;ATL                    GILESFURT              ND                   US   70447   122469523@AIRLINE.KIWI.COM
W2IJPE   8/25/2020   OB     9/4/2020   WN;375;LGA;ATL                    STANFORD               CT                   US    6905   122469523@AIRLINE.KIWI.COM
W53H2H   8/25/2020   OB     9/9/2020   WN;1507;OAK;SEA                   SOUTH MICHAEL          GA                   US   43493   122471701@AIRLINE.KIWI.COM
W5AGO9   8/25/2020   OB     9/5/2020   WN;1769;DTW;DEN                   JOSHUATON              NJ                   US   26466   122471844@AIRLINE.KIWI.COM
W5AGO9   8/25/2020   OB     9/5/2020   WN;1769;DTW;DEN                   JOSHUATON              NJ                   US   26466   122471844@AIRLINE.KIWI.COM
W5YRPY   8/25/2020   OB     9/5/2020   WN;1769;DTW;DEN                   HAILEYSHIRE            SD                   US   41916   122472174@AIRLINE.KIWI.COM
W6N4J3   8/25/2020   OB     9/3/2020   WN;1135;PDX;DEN                   NEW LISACHESTER        IL                   US   47125   122472240@AIRLINE.KIWI.COM
W7RDVU   8/25/2020   OB    9/11/2020   WN;1554;SFO;DEN                   EAST BRETTHAVEN        ME                   US   32578   122473868@AIRLINE.KIWI.COM
W9H2ZX   8/25/2020   OB    8/30/2020   WN;1467;LAS;SJC                   D KORSAKOV             IVANOVSKAYA OBLAST   RU   84605   122475364@AIRLINE.KIWI.COM
WC6IPE   8/25/2020   OB     9/6/2020   WN;2273;MSY;MDW;WN;1934;MDW;CLE   WEST JAMES             NH                   US   84989   122476992@AIRLINE.KIWI.COM
WETZQ2   8/25/2020   OB     9/1/2020   WN;971;MDW;SAN                    ANSANSI DANWEONGU      JEJUDO               KR   73249   122478598@AIRLINE.KIWI.COM
WFN3CV   8/25/2020   OB    8/29/2020   WN;1588;BWI;LAS                   BRENDATOWN             WA                   US   10533   122479027@AIRLINE.KIWI.COM
WFN3CV   8/25/2020   OB    8/29/2020   WN;1588;BWI;LAS                   BRENDATOWN             WA                   US   10533   122479027@AIRLINE.KIWI.COM
J2PEKN   8/26/2020   OB    8/26/2020   WN;1232;ABQ;DEN;WN;246;DEN;ONT    NORTH DEVIN            NE                   US   73331   122487552@AIRLINE.KIWI.COM
J2PEKN   8/26/2020   OB    8/26/2020   WN;499;ABQ;PHX                    NORTH DEVIN            NE                   US   73331   122487552@AIRLINE.KIWI.COM
J3IAQN   8/26/2020   OB    8/28/2020   WN;1116;ATL;TPA                   EAST ALLISONBURY       NC                   US   61267   122487849@AIRLINE.KIWI.COM
J5WH6E   8/26/2020   OB     9/4/2020   WN;1591;BWI;LAX                   PORT KRISTINSHIRE      MN                   US   40762   122488509@AIRLINE.KIWI.COM
J6N5TP   8/26/2020   OB    8/26/2020   WN;276;RDU;PHX;WN;455;PHX;LAX     PORT MARIE             AZ                   US   58929   122488795@AIRLINE.KIWI.COM
J6PPPC   8/26/2020   OB     9/3/2020   WN;391;IND;DEN;WN;499;DEN;SEA     ANNETTEBERG            ID                   US   78603   122488971@AIRLINE.KIWI.COM
JAL3L4   8/26/2020   OB     9/3/2020   WN;982;LAX;DEN                    KATHRYNBERG            DE                   US   18193   122489884@AIRLINE.KIWI.COM
JC3N6R   8/26/2020   OB    8/28/2020   WN;1174;OAK;STL;WN;696;STL;DTW    OLSENVILLE             ID                   US   71273   122490500@AIRLINE.KIWI.COM
JC3N6R   8/26/2020   OB    8/28/2020   WN;1174;OAK;STL;WN;696;STL;DTW    OLSENVILLE             ID                   US   71273   122490500@AIRLINE.KIWI.COM
JCNCGT   8/26/2020   OB     9/7/2020   WN;1995;ATL;LGA                   LAKE VANESSA           UT                   US   14934   122491083@AIRLINE.KIWI.COM
JD9ACP   8/26/2020   OB    9/11/2020   WN;2117;LAX;SMF                   PORT JASON             NE                   US    2623   122491314@AIRLINE.KIWI.COM
JDFO33   8/26/2020   OB    9/13/2020   WN;2588;SMF;LAX                   NEW DONALD             HI                   US   24282   122491468@AIRLINE.KIWI.COM
JDPPBG   8/26/2020   OB    8/27/2020   WN;1092;OKC;PHX;WN;1120;PHX;SMF   MARYTON                NY                   US   64878   122490247@AIRLINE.KIWI.COM
JDXM3S   8/26/2020   OB    8/26/2020   WN;276;RDU;PHX;WN;455;PHX;LAX     RAMSEYCHESTER          TX                   US    2837   122491952@AIRLINE.KIWI.COM
JF7TLM   8/26/2020   OB    8/31/2020   WN;1079;HNL;OAK                   MARKPORT               NJ                   US   47039   122492227@AIRLINE.KIWI.COM
JF7TLM   8/26/2020   RT    9/13/2020   WN;808;OAK;HNL                    MARKPORT               NJ                   US   47039   122492227@AIRLINE.KIWI.COM
JF96VV   8/26/2020   OB   12/26/2020   WN;177;FLL;DEN                    WEST TIMOTHY           NJ                   US   23058   122492469@AIRLINE.KIWI.COM
JFD7RX   8/26/2020   OB    8/26/2020   WN;987;PHX;STL                    KENNETHTON             HI                   US   90996   122492348@AIRLINE.KIWI.COM
JHEZBY   8/26/2020   OB     9/5/2020   WN;203;RNO;LAX                    TURNERVIEW             RI                   US   11259   122492777@AIRLINE.KIWI.COM
JIBXRX   8/26/2020   OB    8/26/2020   WN;989;SFO;PHX;WN;1438;PHX;OKC    HARDYMOUTH             TN                   US   25936   122493800@AIRLINE.KIWI.COM
JJ4ICO   8/26/2020   OB     9/3/2020   WN;1629;SMF;ONT                   SOUTH ERICFORT         DE                   US   43767   122494691@AIRLINE.KIWI.COM
JJDU3T   8/26/2020   OB     9/3/2020   WN;389;SJC;BUR;WN;389;BUR;LAS     SAN LETICIA LOS ALTO   JALISCO              MX   77963   122494724@AIRLINE.KIWI.COM
JJDU3T   8/26/2020   OB     9/3/2020   WN;389;SJC;BUR;WN;389;BUR;LAS     SAN LETICIA LOS ALTO   JALISCO              MX   77963   122494724@AIRLINE.KIWI.COM
JLU7F9   8/26/2020   OB    8/26/2020   WN;1629;BUR;PHX                   PORT DEBBIEFURT        MO                   US   48442   122496187@AIRLINE.KIWI.COM
JNO5RQ   8/26/2020   OB     9/2/2020   WN;1756;SFO;DEN                   CLARKTON               OH                   US   65550   122497408@AIRLINE.KIWI.COM
JNO5RQ   8/26/2020   OB     9/2/2020   WN;1756;SFO;DEN                   CLARKTON               OH                   US   65550   122497408@AIRLINE.KIWI.COM
JPWT5L   8/26/2020   OB   11/30/2020   WN;2313;BOS;STL                   MISSOURI               MO                   US   69956   122477982@AIRLINE.KIWI.COM
JPWT5L   8/26/2020   OB   11/30/2020   WN;2313;BOS;STL                   MISSOURI               MO                   US   69956   122477982@AIRLINE.KIWI.COM
JPWT5L   8/26/2020   OB   11/30/2020   WN;2313;BOS;STL                   MISSOURI               MO                   US   69956   122477982@AIRLINE.KIWI.COM
JPWT5L   8/26/2020   OB   11/30/2020   WN;2313;BOS;STL                   MISSOURI               MO                   US   69956   122477982@AIRLINE.KIWI.COM
JPWT5L   8/26/2020   OB   11/30/2020   WN;2313;BOS;STL                   MISSOURI               MO                   US   69956   122477982@AIRLINE.KIWI.COM
JRLWI8   8/26/2020   OB    9/21/2020   WN;1886;BWI;CLT                   MITCHELLTON            TX                   US   84654   122500829@AIRLINE.KIWI.COM
JW7ZF6   8/26/2020   OB    8/26/2020   WN;842;PHL;STL;WN;1243;STL;PDX    KRISTINSHIRE           ND                   US   14313   122505361@AIRLINE.KIWI.COM
K2YCVJ   8/26/2020   OB     9/4/2020   WN;696;STL;DTW                    WEST DIANEMOUTH        OR                   US   44997   122509508@AIRLINE.KIWI.COM
KLJL4C   8/26/2020   OB    8/26/2020   WN;733;DTW;STL;WN;415;STL;ICT     JUSTINLAND             RI                   US   20664   122530243@AIRLINE.KIWI.COM
KMEOFC   8/26/2020   OB     9/4/2020   WN;582;LGA;ATL                    GUERRASIDE             PA                   US   43719   122531189@AIRLINE.KIWI.COM
KOIL52   8/26/2020   OB   12/26/2020   WN;796;FLL;DEN                    TURIK                  BRATISLAVSKY KRAJ    SK   49670   122533169@AIRLINE.KIWI.COM
KOOW4B   8/26/2020   OB     9/4/2020   WN;1825;BWI;RDU                   LAKE PAMELAFORT        MD                   US   95468   122533818@AIRLINE.KIWI.COM
KOOW4B   8/26/2020   RT     9/9/2020   WN;2420;RDU;BWI                   LAKE PAMELAFORT        MD                   US   95468   122533818@AIRLINE.KIWI.COM
KSJ4RG   8/26/2020   OB   12/27/2020   WN;2210;BNA;LAX                   PORT DOUGLASBURGH      LA                   US   53379   122538647@AIRLINE.KIWI.COM
KSJ4RG   8/26/2020   OB   12/27/2020   WN;2210;BNA;LAX                   PORT DOUGLASBURGH      LA                   US   53379   122538647@AIRLINE.KIWI.COM
KSSSO9   8/26/2020   OB     9/5/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   NEW ANTHONY            PA                   US   38180   122538295@AIRLINE.KIWI.COM
KSUQQR   8/26/2020   OB    9/26/2020   WN;2116;LAX;SMF                   KELLIEBURGH            MO                   US   20288   122539197@AIRLINE.KIWI.COM
KVARPR   8/26/2020   OB   12/27/2020   WN;4957;SLC;DAL;WN;3929;DAL;MSY   SOUTH MARYFURT         WI                   US    8514   122540572@AIRLINE.KIWI.COM
KVARPR   8/26/2020   OB   12/27/2020   WN;4957;SLC;DAL;WN;3929;DAL;MSY   SOUTH MARYFURT         WI                   US    8514   122540572@AIRLINE.KIWI.COM
KWBKZ8   8/26/2020   OB   12/26/2020   WN;177;FLL;DEN                    ANDREWMOUTH            NJ                   US   18530   122542200@AIRLINE.KIWI.COM
KWD5NY   8/26/2020   OB    8/27/2020   WN;179;LAX;PHX;WN;282;PHX;RDU     NORTH JOHNBERG         WA                   US   88303   122542244@AIRLINE.KIWI.COM
KWNGQN   8/26/2020   OB     9/7/2020   WN;6903;LAS;LAX                   STEINCHESTER           NH                   US    3659   122542497@AIRLINE.KIWI.COM
KYF6VP   8/26/2020   OB    9/19/2020   WN;4500;MDW;BWI                   SAN GUILLERMINA DE L   OAXACA               MX   52950   122544169@AIRLINE.KIWI.COM
L2O7JX   8/26/2020   OB    8/26/2020   WN;486;ATL;STL;WN;1064;STL;LAX    NORTH ALEXANDRIA       WY                   US   77179   122546644@AIRLINE.KIWI.COM
L2UFI2   8/26/2020   OB     9/7/2020   WN;6903;LAS;LAX                   AMYTON                 FL                   US   95148   122547491@AIRLINE.KIWI.COM
L2YMLW   8/26/2020   OB    10/1/2020   WN;6726;MKE;LAS                   BENNETTPORT            MD                   US   85017   122547656@AIRLINE.KIWI.COM
L34RIC   8/26/2020   OB     3/8/2021   WN;103;MEM;MDW;WN;1236;MDW;LAS    KATHERINEBURY          SC                   US   24367   122547766@AIRLINE.KIWI.COM
L39IFM   8/26/2020   OB    8/27/2020   WN;405;BWI;GRR                    TRIEBEN                WIEN                 AT   72331   122547106@AIRLINE.KIWI.COM
L3CHEK   8/26/2020   OB     9/3/2020   WN;1371;LAX;DEN;WN;1371;DEN;MCO   LAHTI                  ETELASAVO            FI   20862   122547997@AIRLINE.KIWI.COM
L3IW8V   8/26/2020   OB    9/22/2020   WN;6725;LAS;MKE                   WEST EDWINMOUTH        KY                   US   55995   122547645@AIRLINE.KIWI.COM
L4DNE9   8/26/2020   OB     9/2/2020   WN;583;LAX;DAL                    PORT JUSTIN            ME                   US   39180   122548624@AIRLINE.KIWI.COM
L6NZ98   8/26/2020   OB     9/7/2020   WN;2341;PDX;OAK;WN;1986;OAK;SNA   WEST BARBARALAND       AL                   US   91778   122551638@AIRLINE.KIWI.COM
L7R32B   8/26/2020   OB    8/27/2020   WN;1045;SAN;OAK                   PORT DAVIDSHIRE        ND                   US   66820   122553398@AIRLINE.KIWI.COM
L7R32B   8/26/2020   RT    8/31/2020   WN;220;OAK;SAN                    PORT DAVIDSHIRE        ND                   US   66820   122553398@AIRLINE.KIWI.COM
L8PJ44   8/26/2020   OB    8/26/2020   WN;996;BWI;MSY                    STONEFURT              DE                   US   46823   122554487@AIRLINE.KIWI.COM
L8WNLF   8/26/2020   OB    8/26/2020   WN;1679;RDU;STL;WN;1064;STL;LAX   PORT KENNETH           AZ                   US   38500   122554960@AIRLINE.KIWI.COM
L8ZVDG   8/26/2020   OB    8/26/2020   WN;661;LAX;SMF                    GARZASIDE              RI                   US   70309   122554817@AIRLINE.KIWI.COM
L8ZW32   8/26/2020   OB   11/14/2020   WN;186;BWI;CHS                    MEGHANSHIRE            UT                   US   66350   122553882@AIRLINE.KIWI.COM
L96F7K   8/26/2020   OB    11/6/2020   WN;186;CHS;BNA                    PORT TAMARATON         VT                   US   81139   122553882@AIRLINE.KIWI.COM
LA4JPW   8/26/2020   OB    8/26/2020   WN;943;SAN;PHX                    EAST BRITTANYHAVEN     MI                   US   73297   122556027@AIRLINE.KIWI.COM
LB8LPC   8/26/2020   OB    9/23/2020   WN;2578;BNA;LAS                   MERCERVIEW             SC                   US   39518   122556951@AIRLINE.KIWI.COM
LDPQS2   8/26/2020   OB    8/31/2020   WN;624;PHX;MSY                    CRUZBURGH              CT                   US   55560   122560757@AIRLINE.KIWI.COM
LDPQS2   8/26/2020   RT     9/1/2020   WN;959;MSY;PHX                    CRUZBURGH              CT                   US   55560   122560757@AIRLINE.KIWI.COM
LEGZNJ   8/26/2020   OB     9/7/2020   WN;2588;SMF;LAX                   SOUTH JOSEPHSTAD       MT                   US   59225   122561758@AIRLINE.KIWI.COM
LI7K8J   8/26/2020   OB    9/10/2020   WN;1590;BOS;BWI;WN;1609;BWI;CUN   EAST CYNTHIAFURT       WV                   US   70100   122566015@AIRLINE.KIWI.COM
LJGAGC   8/26/2020   OB    9/21/2020   WN;1599;MSY;LAX;WN;1696;LAX;SFO   SOUTH ANTHONY          NM                   US   84781   122566961@AIRLINE.KIWI.COM
LLKK6K   8/26/2020   OB    8/27/2020   WN;1207;SAN;LAS                   ADKINSBOROUGH          MD                   US   66850   122569700@AIRLINE.KIWI.COM
LLRORZ   8/26/2020   OB   11/25/2020   WN;4457;PHX;SAT                   WEST NICHOLASLAND      OK                   US   27440   122570217@AIRLINE.KIWI.COM
LLRORZ   8/26/2020   OB   11/28/2020   WN;1718;SAT;LAS;WN;2162;LAS;ONT   WEST NICHOLASLAND      OK                   US   27440   122570217@AIRLINE.KIWI.COM
LLRORZ   8/26/2020   OB   11/25/2020   WN;4457;PHX;SAT                   WEST NICHOLASLAND      OK                   US   27440   122570217@AIRLINE.KIWI.COM
LLRORZ   8/26/2020   OB   11/28/2020   WN;1718;SAT;LAS;WN;2162;LAS;ONT   WEST NICHOLASLAND      OK                   US   27440   122570217@AIRLINE.KIWI.COM
LOP26T   8/26/2020   OB   11/29/2020   WN;1790;DCA;ATL;WN;2350;ATL;FLL   CZECHOWICEDZIEDZICE    DOLNOSLASKIE         PL   31840   122571482@AIRLINE.KIWI.COM
LOR4VL   8/26/2020   OB     9/4/2020   WN;491;ATL;PHL                    EAST TIMOTHY           WA                   US   76629   122572461@AIRLINE.KIWI.COM
LP5U5G   8/26/2020   OB     9/2/2020   WN;402;TPA;SJU                    YU XIAN                HENAN SHENG          CN   50604   122572791@AIRLINE.KIWI.COM
LP5U5G   8/26/2020   OB     9/2/2020   WN;402;TPA;SJU                    YU XIAN                HENAN SHENG          CN   50604   122572791@AIRLINE.KIWI.COM
LP5U5G   8/26/2020   OB     9/2/2020   WN;402;TPA;SJU                    YU XIAN                HENAN SHENG          CN   50604   122572791@AIRLINE.KIWI.COM
LP5U5G   8/26/2020   OB     9/2/2020   WN;402;TPA;SJU                    YU XIAN                HENAN SHENG          CN   50604   122572791@AIRLINE.KIWI.COM
LP8PHM   8/26/2020   OB     9/7/2020   WN;2627;ATL;MSY                   MATTHEWTOWN            MN                   US   56685   122573297@AIRLINE.KIWI.COM
LPYEJN   8/26/2020   OB     9/6/2020   WN;2383;OAK;LAX                   OLPE                   SAARLAND             DE   85955   122573627@AIRLINE.KIWI.COM
LPYEJN   8/26/2020   OB     9/6/2020   WN;2383;OAK;LAX                   OLPE                   SAARLAND             DE   85955   122573627@AIRLINE.KIWI.COM
LTPJAF   8/26/2020   OB    9/10/2020   WN;2185;FLL;STL                   SMITHFORT              WI                   US   76120   122576575@AIRLINE.KIWI.COM




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LTPJAF   8/26/2020   OB    9/10/2020   WN;2185;FLL;STL                      SMITHFORT              WI                     US   76120   122576575@AIRLINE.KIWI.COM
LUCO7Y   8/26/2020   OB     9/8/2020   WN;1239;AUS;DEN                      NEW BRIANMOUTH         NH                     US   47311   122576960@AIRLINE.KIWI.COM
LX4WZF   8/26/2020   OB     9/4/2020   WN;1769;DTW;DEN                      NORTH JENNIFERSIDE     SC                     US   67500   122578687@AIRLINE.KIWI.COM
LXMARK   8/26/2020   OB    8/30/2020   WN;1243;STL;PDX                      NORTH LARRYHAVEN       OH                     US   40345   122579050@AIRLINE.KIWI.COM
LZCVS3   8/26/2020   OB     9/8/2020   WN;1984;MDW;MSP                      WILLIAMFORT            PA                     US   63221   122579710@AIRLINE.KIWI.COM
LZCVS3   8/26/2020   OB     9/8/2020   WN;1984;MDW;MSP                      WILLIAMFORT            PA                     US   63221   122579710@AIRLINE.KIWI.COM
LZCVS3   8/26/2020   RT    9/13/2020   WN;1644;MSP;MDW                      WILLIAMFORT            PA                     US   63221   122579710@AIRLINE.KIWI.COM
LZCVS3   8/26/2020   RT    9/13/2020   WN;1644;MSP;MDW                      WILLIAMFORT            PA                     US   63221   122579710@AIRLINE.KIWI.COM
LZVMFW   8/26/2020   OB     9/2/2020   WN;1574;TUS;MDW;WN;1732;MDW;ATL      EAST CHRISTOPHER       GA                     US   35565   122580128@AIRLINE.KIWI.COM
M2USU9   8/26/2020   OB    8/27/2020   WN;1579;LGA;ATL;WN;764;ATL;CMH       NORTH HEATHER          TN                     US    6344   122580447@AIRLINE.KIWI.COM
M2USU9   8/26/2020   OB    8/27/2020   WN;1579;LGA;ATL;WN;764;ATL;CMH       NORTH HEATHER          TN                     US    6344   122580447@AIRLINE.KIWI.COM
M2USU9   8/26/2020   OB    8/27/2020   WN;1579;LGA;ATL;WN;764;ATL;CMH       NORTH HEATHER          TN                     US    6344   122580447@AIRLINE.KIWI.COM
M2ZR6R   8/26/2020   OB    9/17/2020   WN;1005;LAS;ONT                      GOMEZPORT              NC                     US   84563   122580392@AIRLINE.KIWI.COM
M2ZYPK   8/26/2020   OB    9/11/2020   WN;3337;MCI;OAK                      PIRES DO SUL           PARA                   BR   51987   122580436@AIRLINE.KIWI.COM
M2ZYPK   8/26/2020   OB    9/11/2020   WN;3337;MCI;OAK                      PIRES DO SUL           PARA                   BR   51987   122580436@AIRLINE.KIWI.COM
M2ZYPK   8/26/2020   OB    9/11/2020   WN;3337;MCI;OAK                      PIRES DO SUL           PARA                   BR   51987   122580436@AIRLINE.KIWI.COM
M35H6N   8/26/2020   OB     9/4/2020   WN;1371;TUS;LAX                      ATKINSBOROUGH          SC                     US   30559   122580634@AIRLINE.KIWI.COM
M3AI8T   8/26/2020   OB    9/14/2020   WN;1717;OAK;MCI                      RIBEIRO                MATO GROSSO            BR   24366   122580436@AIRLINE.KIWI.COM
M3AI8T   8/26/2020   OB    9/14/2020   WN;1717;OAK;MCI                      RIBEIRO                MATO GROSSO            BR   24366   122580436@AIRLINE.KIWI.COM
M3AI8T   8/26/2020   OB    9/14/2020   WN;1717;OAK;MCI                      RIBEIRO                MATO GROSSO            BR   24366   122580436@AIRLINE.KIWI.COM
WLFM5O   8/26/2020   OB    8/28/2020   WN;266;ATL;LGA                       MICHELLEMOUTH          MN                     US   69704   122481788@AIRLINE.KIWI.COM
WMJL3J   8/26/2020   OB     9/5/2020   WN;1323;DEN;PHX                      NORTH TIMOTHY          MD                     US   82955   122482294@AIRLINE.KIWI.COM
WMQCDG   8/26/2020   OB    10/6/2020   WN;2129;LGB;OAK                      CAINTOWN               SC                     US   94588   122482118@AIRLINE.KIWI.COM
WMWTM2   8/26/2020   OB    9/30/2020   WN;3337;OAK;LGB                      HUNTBURY               WI                     US   33107   122482096@AIRLINE.KIWI.COM
WMYZOT   8/26/2020   OB    9/13/2020   WN;932;LAS;OAK                       WEST RHONDA            MN                     US   50908   122482393@AIRLINE.KIWI.COM
WQAE6Y   8/26/2020   OB    8/26/2020   WN;1597;LAX;OAK                      WEST COREY             SD                     US   98724   122483691@AIRLINE.KIWI.COM
WQHXDV   8/26/2020   OB    8/30/2020   WN;304;BNA;SAT                       EAST PAMELABOROUGH     TN                     US   25617   122484021@AIRLINE.KIWI.COM
WQW4QZ   8/26/2020   OB     9/8/2020   WN;6608;SLC;LAS                      S ALAGIR               SARATOVSKAYA OBLAST    RU    2157   122484241@AIRLINE.KIWI.COM
WR5LHG   8/26/2020   OB    8/26/2020   WN;776;DEN;SLC                       SMITHTOWN              ID                     US   34698   122484362@AIRLINE.KIWI.COM
WRAE7F   8/26/2020   OB     9/8/2020   WN;6608;SLC;LAS                      ST BELGOROD            VORONEZHSKAYA OBLAST   RU   13489   122484153@AIRLINE.KIWI.COM
WSJCQB   8/26/2020   OB    9/25/2020   WN;2261;MSP;PHX                      PORT JONATHONSIDE      MI                     US   97905   122484736@AIRLINE.KIWI.COM
WSR5XH   8/26/2020   OB   10/13/2020   WN;273;MBJ;MCO                       DAISYBURGH             PA                     US   74853   122484549@AIRLINE.KIWI.COM
WSR5XH   8/26/2020   OB   10/13/2020   WN;273;MBJ;MCO                       DAISYBURGH             PA                     US   74853   122484549@AIRLINE.KIWI.COM
WWOTYG   8/26/2020   OB    8/26/2020   WN;337;SAT;DAL;WN;586;DAL;ATL        MURRAYTON              FL                     US   91533   122486166@AIRLINE.KIWI.COM
WWQ258   8/26/2020   OB   11/14/2020   WN;4168;LAS;TUS                      SOUTH NOAH             WY                     US   34360   122485946@AIRLINE.KIWI.COM
WWQ258   8/26/2020   OB   11/14/2020   WN;4168;LAS;TUS                      SOUTH NOAH             WY                     US   34360   122485946@AIRLINE.KIWI.COM
WWQI5R   8/26/2020   OB   11/15/2020   WN;125;TUS;LAS                       WEST NATALIETOWN       VT                     US   80507   122485935@AIRLINE.KIWI.COM
WWQI5R   8/26/2020   OB   11/15/2020   WN;125;TUS;LAS                       WEST NATALIETOWN       VT                     US   80507   122485935@AIRLINE.KIWI.COM
WWX8BV   8/26/2020   OB     9/4/2020   WN;135;TPA;ATL                       SOUTH DONNALAND        WA                     US   86424   122486199@AIRLINE.KIWI.COM
WXMTOE   8/26/2020   OB    8/28/2020   WN;1235;ATL;MCI;WN;261;MCI;OAK       MARGARETVIEW           AK                     US   30362   122486639@AIRLINE.KIWI.COM
WY6OIZ   8/26/2020   OB     9/3/2020   WN;4562;LGA;STL                      ROSARIOCHESTER         WA                     US    1267   122486606@AIRLINE.KIWI.COM
WYVVEX   8/26/2020   OB     9/5/2020   WN;1624;BWI;STL                      NORTH LAWRENCESTAD     RI                     US   53802   122486925@AIRLINE.KIWI.COM
WYVVEX   8/26/2020   RT     9/6/2020   WN;1015;STL;BWI                      NORTH LAWRENCESTAD     RI                     US   53802   122486925@AIRLINE.KIWI.COM
WZ7HMJ   8/26/2020   OB    8/30/2020   WN;1425;BUR;SMF                      MARIAFURT              NM                     US    7517   122487112@AIRLINE.KIWI.COM
WZ7HMJ   8/26/2020   RT     9/9/2020   WN;2587;SMF;BUR                      MARIAFURT              NM                     US    7517   122487112@AIRLINE.KIWI.COM
WZC9QI   8/26/2020   OB     9/9/2020   WN;2260;BWI;CLE                      PORT JOHNBURGH         IL                     US   97825   122486936@AIRLINE.KIWI.COM
WZC9QI   8/26/2020   OB     9/9/2020   WN;2260;BWI;CLE                      PORT JOHNBURGH         IL                     US   97825   122486936@AIRLINE.KIWI.COM
WZC9QI   8/26/2020   OB     9/9/2020   WN;2260;BWI;CLE                      PORT JOHNBURGH         IL                     US   97825   122486936@AIRLINE.KIWI.COM
WZJP4F   8/26/2020   OB    8/26/2020   WN;1194;LAS;LAX                      WATSONBURY             TN                     US   17684   122487145@AIRLINE.KIWI.COM
WZLP9F   8/26/2020   OB     9/6/2020   WN;2612;PHL;ATL                      MOOREBOROUGH           CO                     US   83732   122487200@AIRLINE.KIWI.COM
WZTYP2   8/26/2020   OB    8/27/2020   WN;1193;OAK;LAX                      NEW WENDYBOROUGH       VA                     US   90988   122487178@AIRLINE.KIWI.COM
WZURC3   8/26/2020   OB    8/26/2020   WN;779;LAX;OAK                       MARTINTON              ME                     US   11405   122487178@AIRLINE.KIWI.COM
M45QGI   8/27/2020   OB    8/29/2020   WN;808;OAK;HNL                       WEST MICHAELBOROUGH    MN                     US   26278   122580887@AIRLINE.KIWI.COM
M62WWA   8/27/2020   OB    8/28/2020   WN;1671;TPA;FLL                      SAN BENJAMIN LOS BAJ   NUEVO LEON             MX   47861   122581833@AIRLINE.KIWI.COM
M62WWA   8/27/2020   RT    8/31/2020   WN;589;FLL;TPA                       SAN BENJAMIN LOS BAJ   NUEVO LEON             MX   47861   122581833@AIRLINE.KIWI.COM
M6HCDV   8/27/2020   OB    8/30/2020   WN;878;MCO;ATL                       JOHNSONFORT            AK                     US    7252   122582196@AIRLINE.KIWI.COM
M7GWD3   8/27/2020   OB    8/29/2020   WN;1345;LAS;AUS                      NEW CANDACETON         DE                     US   59010   122582394@AIRLINE.KIWI.COM
M8ZB73   8/27/2020   OB     9/9/2020   WN;2607;ATL;FLL                      NORTH JOHN             KY                     US   67103   122582889@AIRLINE.KIWI.COM
M9FG5Y   8/27/2020   OB    9/30/2020   WN;2355;LAS;ATL                      CODYHAVEN              VA                     US   24947   122583373@AIRLINE.KIWI.COM
M9FG5Y   8/27/2020   OB    9/30/2020   WN;2355;LAS;ATL                      CODYHAVEN              VA                     US   24947   122583373@AIRLINE.KIWI.COM
M9FG5Y   8/27/2020   OB    9/30/2020   WN;2355;LAS;ATL                      CODYHAVEN              VA                     US   24947   122583373@AIRLINE.KIWI.COM
MADDXV   8/27/2020   OB     9/7/2020   WN;6872;SJC;SAN                      STEPHENSIDE            GA                     US    2368   122583846@AIRLINE.KIWI.COM
MAN6IU   8/27/2020   OB    8/30/2020   WN;312;OKC;BNA                       NEW DANIELTOWN         DE                     US   61110   122583769@AIRLINE.KIWI.COM
MB9I57   8/27/2020   OB     9/4/2020   WN;518;LAS;SMF                       THOMASBERG             WY                     US    4602   122582383@AIRLINE.KIWI.COM
MCHMTF   8/27/2020   OB   11/24/2020   WN;1998;FLL;DCA;WN;1998;DCA;MDW;WN;16PORT MARGARET          ND                     US   77789   122584539@AIRLINE.KIWI.COM
MCHMTF   8/27/2020   RT   11/30/2020   WN;2013;GRR;BWI;WN;5071;BWI;FLL      PORT MARGARET          ND                     US   77789   122584539@AIRLINE.KIWI.COM
MCLY64   8/27/2020   OB    9/29/2020   WN;2536;TPA;ATL                      WEST HEATHER           UT                     US   60455   122584429@AIRLINE.KIWI.COM
MCV6C9   8/27/2020   OB    9/11/2020   WN;2006;ABQ;DEN                      PORT ANNE              ND                     US   20933   122584473@AIRLINE.KIWI.COM
MEIA35   8/27/2020   OB    9/24/2020   WN;2088;SAT;HOU;WN;2469;HOU;TPA      LAKE SARAH             MD                     US   51715   122585155@AIRLINE.KIWI.COM
MEOH9L   8/27/2020   OB    8/31/2020   WN;398;ATL;FLL                       LAKE TASVIR            KUTAHYA                TR    7336   122585397@AIRLINE.KIWI.COM
MF8EAQ   8/27/2020   OB    9/27/2020   WN;2551;DEN;LGB                      ARCHERSIDE             GA                     US   23783   122585452@AIRLINE.KIWI.COM
MF8EAQ   8/27/2020   OB    9/27/2020   WN;2551;DEN;LGB                      ARCHERSIDE             GA                     US   23783   122585452@AIRLINE.KIWI.COM
MFR9R5   8/27/2020   OB    8/30/2020   WN;1715;DEN;ABQ                      KELLISHIRE             IA                     US   88351   122585936@AIRLINE.KIWI.COM
MG3SXV   8/27/2020   OB    10/3/2020   WN;1522;LGB;DEN                      BECKSHIRE              TX                     US   54987   122585892@AIRLINE.KIWI.COM
MG3SXV   8/27/2020   OB    10/3/2020   WN;1522;LGB;DEN                      BECKSHIRE              TX                     US   54987   122585892@AIRLINE.KIWI.COM
MHVCF7   8/27/2020   OB    8/31/2020   WN;1430;MDW;FLL                      BROWNSTAD              NJ                     US   49702   122586706@AIRLINE.KIWI.COM
MHVCF7   8/27/2020   OB    8/31/2020   WN;1430;MDW;FLL                      BROWNSTAD              NJ                     US   49702   122586706@AIRLINE.KIWI.COM
MI43UR   8/27/2020   OB    9/12/2020   WN;226;DAL;LBB                       EAST ERICVIEW          OK                     US   98374   122586739@AIRLINE.KIWI.COM
MIK9IH   8/27/2020   OB    9/13/2020   WN;2124;LBB;DAL;WN;17;DAL;HOU        NORTH DANA             HI                     US   45574   122586816@AIRLINE.KIWI.COM
MINFU3   8/27/2020   OB    9/11/2020   WN;56;HOU;DAL                        PORT JEFFREY           LA                     US   65788   122586739@AIRLINE.KIWI.COM
MJ2E5H   8/27/2020   OB    9/11/2020   WN;2413;DAL;LBB                      JENNIFERTON            LA                     US   51875   122586981@AIRLINE.KIWI.COM
MJ5AWO   8/27/2020   OB    9/11/2020   WN;40;HOU;DAL                        SOUTH JASON            KY                     US   30472   122586981@AIRLINE.KIWI.COM
MJLQYJ   8/27/2020   OB     9/4/2020   WN;143;SFO;DEN                       TIMOTHYSHIRE           IA                     US   81551   122586992@AIRLINE.KIWI.COM
MKBQEY   8/27/2020   OB    8/28/2020   WN;1203;DEN;OAK                      SMITHFORT              LUXEMBOURG             LU   87854   122587113@AIRLINE.KIWI.COM
MKBQEY   8/27/2020   RT    8/31/2020   WN;957;OAK;DEN                       SMITHFORT              LUXEMBOURG             LU   87854   122587113@AIRLINE.KIWI.COM
MMN2YZ   8/27/2020   OB    8/30/2020   WN;971;LAS;MSY;WN;759;MSY;FLL        DAVIDLAND              IL                     US   15778   122587850@AIRLINE.KIWI.COM
MMN2YZ   8/27/2020   OB    8/30/2020   WN;971;LAS;MSY;WN;759;MSY;FLL        DAVIDLAND              IL                     US   15778   122587850@AIRLINE.KIWI.COM
MMNGVF   8/27/2020   OB    8/27/2020   WN;1606;DTW;BNA;WN;1421;BNA;FLL      LAKE AMANDABOROUGH     TX                     US   85323   122587861@AIRLINE.KIWI.COM
MO3PWM   8/27/2020   OB    9/12/2020   WN;1915;FLL;MDW                      KELSEYBOROUGH          OK                     US   12944   122588433@AIRLINE.KIWI.COM
MO8AR8   8/27/2020   OB    9/12/2020   WN;2185;SJU;FLL                      WILLIAMSPORT           WY                     US   19532   122588433@AIRLINE.KIWI.COM
MOWCQT   8/27/2020   OB    9/21/2020   WN;415;AUS;OAK                       LAKE WILLIE            ND                     US    4893   122588587@AIRLINE.KIWI.COM
MOWKA6   8/27/2020   OB     9/4/2020   WN;1769;DTW;DEN                      WEST ROBERT            RI                     US   71536   122588631@AIRLINE.KIWI.COM
MOWKA6   8/27/2020   OB     9/4/2020   WN;1769;DTW;DEN                      WEST ROBERT            RI                     US   71536   122588631@AIRLINE.KIWI.COM
MOWKA6   8/27/2020   OB     9/4/2020   WN;1769;DTW;DEN                      WEST ROBERT            RI                     US   71536   122588631@AIRLINE.KIWI.COM
MPFBC3   8/27/2020   OB    8/28/2020   WN;1597;LAX;OAK                      EAST ETHANPORT         MA                     US   56819   122588873@AIRLINE.KIWI.COM
MSUDEL   8/27/2020   OB   12/24/2020   WN;4166;OAK;LGB                      LAKE DAVID             NY                     US   80614   122590193@AIRLINE.KIWI.COM
MSUDEL   8/27/2020   RT     1/1/2021   WN;4065;LGB;OAK                      LAKE DAVID             NY                     US   80614   122590193@AIRLINE.KIWI.COM
MUF35K   8/27/2020   OB    9/15/2020   WN;1690;OAK;LAS                      SOUTH KATHERINETOWN    IN                     US   89454   122589885@AIRLINE.KIWI.COM
MUPB4F   8/27/2020   OB     1/3/2021   WN;4852;SAT;LAX                      COLEBERG               MT                     US   24158   122590842@AIRLINE.KIWI.COM
MUPB4F   8/27/2020   OB     1/3/2021   WN;4852;SAT;LAX                      COLEBERG               MT                     US   24158   122590842@AIRLINE.KIWI.COM
MVXYH6   8/27/2020   OB    8/30/2020   WN;1396;SAN;SFO                      KHUTIR OLES            MYKOLAIVSKA OBLAST     UA   72057   122591425@AIRLINE.KIWI.COM
MWN7WD   8/27/2020   OB     9/6/2020   WN;2121;DEN;SEA                      SAMUELHAVEN            NM                     US   84519   122591612@AIRLINE.KIWI.COM
MZNIF3   8/27/2020   OB    8/27/2020   WN;5699;DAL;DCA                      RYANFURT               CO                     US   10090   122592723@AIRLINE.KIWI.COM
N2GHJJ   8/27/2020   OB    8/27/2020   WN;361;OAK;BWI                       EAST BRANDIMOUTH       MS                     US   80042   122593394@AIRLINE.KIWI.COM
N4FW7A   8/27/2020   OB    8/27/2020   WN;760;SMF;BUR;WN;1351;BUR;LAS       PORT CASSANDRA         AK                     US   72967   122594384@AIRLINE.KIWI.COM
NG754H   8/27/2020   OB    8/27/2020   WN;1704;LAX;LAS                      TAMMYBOROUGH           TN                     US   31818   122604350@AIRLINE.KIWI.COM
NI6WF7   8/27/2020   OB   12/16/2020   WN;3972;PHX;LAX                      IMANTSBURY             MAZSALACAS NOVADS      LV   79063   122598509@AIRLINE.KIWI.COM




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NODDXZ   8/27/2020   OB    8/27/2020   WN;1626;LAX;LAS                   LAKE ALEXANDERSTAD     VT                   US   84274   122612215@AIRLINE.KIWI.COM
NVYA7D   8/27/2020   OB    9/14/2020   WN;2401;BWI;ISP                   STONESHIRE             MD                   US   92593   122619750@AIRLINE.KIWI.COM
NXTVWU   8/27/2020   OB    8/28/2020   WN;1724;MDW;MSP                   GARCIAVIEW             TX                   US    5050   122621565@AIRLINE.KIWI.COM
NXTVWU   8/27/2020   RT     9/4/2020   WN;1316;MSP;MDW                   GARCIAVIEW             TX                   US    5050   122621565@AIRLINE.KIWI.COM
O2QJS8   8/27/2020   OB    9/13/2020   WN;1974;LAS;HOU                   BATESBERG              WV                   US   38222   122624425@AIRLINE.KIWI.COM
O4ECXP   8/27/2020   OB    8/28/2020   WN;257;ATL;DAL;WN;149;DAL;LAX     SOUTH SAMANTHA         PA                   US   35537   122626119@AIRLINE.KIWI.COM
O7GCR3   8/27/2020   OB    8/27/2020   WN;389;BUR;LAS                    PORT VERONICAMOUTH     IN                   US   56033   122629782@AIRLINE.KIWI.COM
O8IC58   8/27/2020   OB    9/11/2020   WN;645;DEN;ABQ                    LISAMOUTH              IA                   US   93898   122631102@AIRLINE.KIWI.COM
OA9OTN   8/27/2020   OB    8/30/2020   WN;914;ATL;CLE                    YOUNGVILLE             MD                   US   71976   122632345@AIRLINE.KIWI.COM
OB9C9T   8/27/2020   OB   11/27/2020   WN;114;LAS;SMF                    CHAMBERSBERG           SC                   US   39314   120272306.1433654@AIRLINE.KIWI.COM
OD9QKL   8/27/2020   OB    8/30/2020   WN;1107;OAK;LAX                   KLKH MOSTOVSKOI        SAMARASKAYA OBLAST   RU   62975   122636371@AIRLINE.KIWI.COM
ODFLFG   8/27/2020   OB    9/15/2020   WN;1609;BWI;CUN                   SOUTH MATTHEWSIDE      OK                   US   48491   122636052@AIRLINE.KIWI.COM
ODFLFG   8/27/2020   OB    9/15/2020   WN;1609;BWI;CUN                   SOUTH MATTHEWSIDE      OK                   US   48491   122636052@AIRLINE.KIWI.COM
ODFLFG   8/27/2020   RT    9/20/2020   WN;1610;CUN;BWI                   SOUTH MATTHEWSIDE      OK                   US   48491   122636052@AIRLINE.KIWI.COM
ODFLFG   8/27/2020   RT    9/20/2020   WN;1610;CUN;BWI                   SOUTH MATTHEWSIDE      OK                   US   48491   122636052@AIRLINE.KIWI.COM
ODFO39   8/27/2020   OB    9/18/2020   WN;1699;ATL;LAS                   WEST ANTHONYSHIRE      OK                   US   24176   122636624@AIRLINE.KIWI.COM
ODFO39   8/27/2020   OB    9/18/2020   WN;1699;ATL;LAS                   WEST ANTHONYSHIRE      OK                   US   24176   122636624@AIRLINE.KIWI.COM
OH6KMZ   8/27/2020   OB     9/2/2020   WN;786;LGA;STL;WN;786;STL;LAX     GONZALESLAND           AZ                   US   88063   122640683@AIRLINE.KIWI.COM
OHQ4BN   8/27/2020   OB    9/18/2020   WN;1983;DTW;MDW;WN;1918;MDW;AUS   PORT TARA              IN                   US    8593   122641728@AIRLINE.KIWI.COM
OIOEIB   8/27/2020   OB    8/27/2020   WN;1732;ATL;LAS                   BARTLETTTOWN           AL                   US   20405   122642388@AIRLINE.KIWI.COM
OMD85G   8/27/2020   OB    8/30/2020   WN;146;LAS;MDW;WN;876;MDW;DTW     PORT SHERRYBURY        PA                   US   59948   122646678@AIRLINE.KIWI.COM
OMRQ4L   8/27/2020   OB    9/13/2020   WN;3002;RDU;MDW                   SOUTH STEPHEN          AK                   US   12506   122647129@AIRLINE.KIWI.COM
ON52Q3   8/27/2020   OB     9/6/2020   WN;1984;MDW;MSP                   NORTH CHRISTINE        ND                   US   71401   122646898@AIRLINE.KIWI.COM
ON6VPT   8/27/2020   OB    9/24/2020   WN;144;LAX;LAS                    MISTYBURY              MS                   US   17637   122647415@AIRLINE.KIWI.COM
OTJBDV   8/27/2020   OB    8/27/2020   WN;1194;LAS;LAX                   EAST BENJAMIN          AR                   US   83444   122653608@AIRLINE.KIWI.COM
OTKVFF   8/27/2020   OB    8/31/2020   WN;1540;ONT;OAK                   EAST STEVEN            MT                   US   43203   122653773@AIRLINE.KIWI.COM
OTKVFF   8/27/2020   OB    8/31/2020   WN;1540;ONT;OAK                   EAST STEVEN            MT                   US   43203   122653773@AIRLINE.KIWI.COM
OU46Y2   8/27/2020   OB     9/4/2020   WN;151;SJC;BUR                    PORT ADRIAN            WY                   US   81715   122654906@AIRLINE.KIWI.COM
OU46Y2   8/27/2020   OB     9/4/2020   WN;151;SJC;BUR                    PORT ADRIAN            WY                   US   81715   122654906@AIRLINE.KIWI.COM
OUJKKN   8/27/2020   OB    9/11/2020   WN;645;DEN;ABQ                    GREGORYMOUTH           FL                   US    3883   122655071@AIRLINE.KIWI.COM
OXUGVZ   8/27/2020   OB    8/27/2020   WN;227;SMF;LAX                    SOUTH ASHLEYFORT       MO                   US   73926   122658492@AIRLINE.KIWI.COM
OZ7QLH   8/27/2020   OB   11/30/2020   WN;3721;SEA;PHX;WN;2106;PHX;MCI   EAST GARYFORT          IL                   US   84453   122659966@AIRLINE.KIWI.COM
OZ7QLH   8/27/2020   OB   11/30/2020   WN;3721;SEA;PHX;WN;2106;PHX;MCI   EAST GARYFORT          IL                   US   84453   122659966@AIRLINE.KIWI.COM
P2MVMH   8/27/2020   OB    9/11/2020   WN;2254;MSP;DEN;WN;645;DEN;ABQ    LAKE MICHEAL           MD                   US   81384   122662353@AIRLINE.KIWI.COM
P2O7N8   8/27/2020   OB    8/30/2020   WN;1462;SMF;DEN;WN;1904;DEN;SLC   NORTH TIMOTHYMOUTH     MD                   US    8104   122662133@AIRLINE.KIWI.COM
P2O7N8   8/27/2020   RT     9/1/2020   WN;821;SLC;PHX;WN;821;PHX;SMF     NORTH TIMOTHYMOUTH     MD                   US    8104   122662133@AIRLINE.KIWI.COM
P46DZD   8/27/2020   OB    8/30/2020   WN;1430;MDW;FLL                   BRADFORDVIEW           WV                   US   95451   122663145@AIRLINE.KIWI.COM
P4AW9R   8/27/2020   OB    8/28/2020   WN;1572;TUS;LAS;WN;1045;LAS;SAN   WEST TONYBERG          MA                   US   29358   122663904@AIRLINE.KIWI.COM
P5U7KW   8/27/2020   OB    8/30/2020   WN;1096;MCO;ATL                   JORDANMOUTH            GA                   US    3827   122664905@AIRLINE.KIWI.COM
P5Y5UE   8/27/2020   OB     9/7/2020   WN;6843;TUS;DEN                   ANITASIDE              CT                   US   92196   122664641@AIRLINE.KIWI.COM
P8GONF   8/27/2020   OB   11/11/2020   WN;1459;OAK;MDW;WN;2482;MDW;RDU   AGYAPONGVILLE          ASHANTI              GH   64618   122667226@AIRLINE.KIWI.COM
P98MLS   8/27/2020   OB     9/5/2020   WN;1228;ONT;LAS                   NEW EDWARD             AR                   US   70943   122667523@AIRLINE.KIWI.COM
PBO5AT   8/27/2020   OB    9/10/2020   WN;1449;LAX;PHX                   COOKMOUTH              KY                   US   54764   122669426@AIRLINE.KIWI.COM
PBPGN2   8/27/2020   OB    9/11/2020   WN;2159;MCO;BHM                   LAKE EMILY             WY                   US   40313   122669437@AIRLINE.KIWI.COM
PD4BKG   8/27/2020   OB    8/31/2020   WN;933;LAS;DAL;WN;552;DAL;FLL     MARSHALLTOWN           NH                   US   18188   122670262@AIRLINE.KIWI.COM
PD4BKG   8/27/2020   OB    8/31/2020   WN;933;LAS;DAL;WN;552;DAL;FLL     MARSHALLTOWN           NH                   US   18188   122670262@AIRLINE.KIWI.COM
PDETEU   8/27/2020   OB    8/31/2020   WN;933;LAS;DAL;WN;552;DAL;FLL     KNIGHTMOUTH            CA                   US    5133   122670262@AIRLINE.KIWI.COM
PEJ5U9   8/27/2020   OB     9/1/2020   WN;621;STL;CLE                    JULIATON               NE                   US   88558   122670152@AIRLINE.KIWI.COM
PEUDCH   8/27/2020   OB    8/31/2020   WN;933;LAS;DAL;WN;552;DAL;FLL     BAILEYLAND             ID                   US   60536   122671428@AIRLINE.KIWI.COM
PH82PD   8/27/2020   OB   11/22/2020   WN;397;LAS;PHX                    WEST GLENN             AK                   US   18049   122673364@AIRLINE.KIWI.COM
PI8GQP   8/27/2020   OB     9/3/2020   WN;1135;PDX;DEN                   ARIANAMOUTH            IN                   US   66294   122673815@AIRLINE.KIWI.COM
PI8GQP   8/27/2020   OB     9/3/2020   WN;1135;PDX;DEN                   ARIANAMOUTH            IN                   US   66294   122673815@AIRLINE.KIWI.COM
PIRVR4   8/27/2020   OB     9/3/2020   WN;945;DEN;CVG                    LAKE DAVID             FL                   US   87526   122673815@AIRLINE.KIWI.COM
PIRVR4   8/27/2020   OB     9/3/2020   WN;945;DEN;CVG                    LAKE DAVID             FL                   US   87526   122673815@AIRLINE.KIWI.COM
PK7OWQ   8/27/2020   OB    9/30/2020   WN;2157;STL;HOU                   SAN IGNACIO LOS ALTO   COLIMA               MX   91589   122674530@AIRLINE.KIWI.COM
PKQOYZ   8/27/2020   OB    9/11/2020   WN;676;LAX;DAL                    SALASFURT              CO                   US   23576   122674838@AIRLINE.KIWI.COM
PKYD8N   8/28/2020   OB     9/3/2020   WN;947;ATL;PHX;WN;1797;PHX;ONT    LAKE AMANDA            MI                   US   46053   122675234@AIRLINE.KIWI.COM
POWXKN   8/28/2020   OB    9/10/2020   WN;2612;PHL;ATL                   LIU PAN SHUI SHI       XIZANG ZIZHIQU       CN   53545   122676356@AIRLINE.KIWI.COM
PQFOGG   8/28/2020   OB     9/6/2020   WN;2063;HOU;LAS                   KATHLEENVILLE          KY                   US   85607   122677071@AIRLINE.KIWI.COM
PQFOGG   8/28/2020   OB     9/6/2020   WN;2063;HOU;LAS                   KATHLEENVILLE          KY                   US   85607   122677071@AIRLINE.KIWI.COM
PQFOGG   8/28/2020   RT    9/10/2020   WN;1974;LAS;HOU                   KATHLEENVILLE          KY                   US   85607   122677071@AIRLINE.KIWI.COM
PQFOGG   8/28/2020   RT    9/10/2020   WN;1974;LAS;HOU                   KATHLEENVILLE          KY                   US   85607   122677071@AIRLINE.KIWI.COM
PR3WZN   8/28/2020   OB    8/31/2020   WN;574;BNA;CLE                    EAST RUTHCHESTER       WI                   US   10290   122677478@AIRLINE.KIWI.COM
PRUVX7   8/28/2020   OB     9/5/2020   WN;162;ABQ;PHX;WN;507;PHX;SAN     SOUTH HALEY            AZ                   US   57044   122677720@AIRLINE.KIWI.COM
PRY3L4   8/28/2020   OB   11/12/2020   WN;24;DAL;SJC;WN;1468;SJC;SAN     PORT ELAINEHAVEN       MD                   US   14670   122677819@AIRLINE.KIWI.COM
PRY3L4   8/28/2020   OB   11/12/2020   WN;24;DAL;SJC;WN;1468;SJC;SAN     PORT ELAINEHAVEN       MD                   US   14670   122677819@AIRLINE.KIWI.COM
PS2SKT   8/28/2020   OB   11/15/2020   WN;232;SAN;DAL                    DANIELLEVIEW           WA                   US   14258   122677819@AIRLINE.KIWI.COM
PS2SKT   8/28/2020   OB   11/15/2020   WN;232;SAN;DAL                    DANIELLEVIEW           WA                   US   14258   122677819@AIRLINE.KIWI.COM
PS9BSB   8/28/2020   OB     9/4/2020   WN;288;PHX;MDW                    SOUTH PHILIPVIEW       RI                   US   27696   122677830@AIRLINE.KIWI.COM
PSKE6I   8/28/2020   OB     9/7/2020   WN;2636;MDW;PHX                   ARROYOTON              LA                   US   28212   122677830@AIRLINE.KIWI.COM
PVTT54   8/28/2020   OB    8/28/2020   WN;796;MCO;BDL                    EAST BRANDONTOWN       KS                   US   54707   122679139@AIRLINE.KIWI.COM
PVWHX9   8/28/2020   OB    8/28/2020   WN;742;LAX;OAK                    NEW BRANDONMOUTH       WESTERN AUSTRALIA    AU   38806   122679194@AIRLINE.KIWI.COM
PWFBU4   8/28/2020   OB    8/28/2020   WN;885;MCO;SJU                    NEW PAUL               ID                   US   77532   122679304@AIRLINE.KIWI.COM
PY9FRJ   8/28/2020   OB     9/4/2020   WN;986;RDU;BWI;WN;1737;BWI;BOS    MALLORYVIEW            IL                   US   66167   122679887@AIRLINE.KIWI.COM
Q2HIKM   8/28/2020   OB     9/5/2020   WN;1756;SFO;DEN                   LAKE LESLIESIDE        AL                   US   65079   122649703@AIRLINE.KIWI.COM
Q33QTW   8/28/2020   OB   12/27/2020   WN;3840;LAX;SMF;WN;3853;SMF;SEA   NORTH JENNIFER         ND                   US   81560   122681075@AIRLINE.KIWI.COM
Q3HYDS   8/28/2020   OB    8/31/2020   WN;221;DCA;ATL;WN;1767;ATL;GSP    NEW ADAMMOUTH          AZ                   US    4412   122679997.1434256@AIRLINE.KIWI.COM
Q3RDGC   8/28/2020   OB    9/22/2020   WN;1974;DEN;DAL                   WILLIAMSBURGH          ID                   US   73419   122681152@AIRLINE.KIWI.COM
Q5EF3K   8/28/2020   OB    9/10/2020   WN;177;ATL;MSY;WN;1599;MSY;LAX    JASONVILLE             NH                   US   25596   122681427@AIRLINE.KIWI.COM
Q6KHMP   8/28/2020   OB    8/30/2020   WN;1036;LAS;ATL;WN;1334;ATL;MEM   PORT MELISSASTAD       TX                   US   55391   122681790@AIRLINE.KIWI.COM
Q8J7Q7   8/28/2020   OB    8/29/2020   WN;1597;LAX;OAK                   EAST KIRK              TN                   US   23327   122682186@AIRLINE.KIWI.COM
Q8J7Q7   8/28/2020   RT    8/30/2020   WN;6046;OAK;LAX                   EAST KIRK              TN                   US   23327   122682186@AIRLINE.KIWI.COM
Q8RHKV   8/28/2020   OB    9/29/2020   WN;2627;RDU;ATL                   KELLYBERG              MS                   US   83903   122682373@AIRLINE.KIWI.COM
QAYM3H   8/28/2020   OB    9/27/2020   WN;1005;SAN;SLC                   NUEVA REPUBLICA FEDE   SINALOA              MX    8492   122683088@AIRLINE.KIWI.COM
QAYM3H   8/28/2020   OB    9/27/2020   WN;1005;SAN;SLC                   NUEVA REPUBLICA FEDE   SINALOA              MX    8492   122683088@AIRLINE.KIWI.COM
QAYM3H   8/28/2020   OB    9/27/2020   WN;1005;SAN;SLC                   NUEVA REPUBLICA FEDE   SINALOA              MX    8492   122683088@AIRLINE.KIWI.COM
QCW6OF   8/28/2020   OB     9/4/2020   WN;1359;SLC;LAX                   OUDELANDE              SINT MAARTEN         NL   96973   122683638@AIRLINE.KIWI.COM
QCW6OF   8/28/2020   OB     9/4/2020   WN;1359;SLC;LAX                   OUDELANDE              SINT MAARTEN         NL   96973   122683638@AIRLINE.KIWI.COM
QDQOA9   8/28/2020   OB    8/28/2020   WN;6265;ATL;RSW                   PORT ANGELA            NE                   US   98856   122683858@AIRLINE.KIWI.COM
QDSPV8   8/28/2020   OB    10/8/2020   WN;2117;LAX;SMF                   SOUTH TYLER            AZ                   US   79626   122683924@AIRLINE.KIWI.COM
QEK9IR   8/28/2020   OB   10/10/2020   WN;1324;SMF;LAX                   NORTH MINDYVILLE       NV                   US   10247   122684331@AIRLINE.KIWI.COM
QFVR6T   8/28/2020   OB    9/11/2020   WN;2254;MSP;DEN                   JOHNSONHAVEN           IL                   US   30407   122684969@AIRLINE.KIWI.COM
QFVR6T   8/28/2020   OB    9/11/2020   WN;2254;MSP;DEN                   JOHNSONHAVEN           IL                   US   30407   122684969@AIRLINE.KIWI.COM
QFVR6T   8/28/2020   RT    9/14/2020   WN;102;DEN;MSP                    JOHNSONHAVEN           IL                   US   30407   122684969@AIRLINE.KIWI.COM
QFVR6T   8/28/2020   RT    9/14/2020   WN;102;DEN;MSP                    JOHNSONHAVEN           IL                   US   30407   122684969@AIRLINE.KIWI.COM
QGRX3X   8/28/2020   OB    9/11/2020   WN;2558;LAS;SNA                   ARTA                   KYKLADES             GR   88961   122685552@AIRLINE.KIWI.COM
QGRX3X   8/28/2020   OB    9/11/2020   WN;2558;LAS;SNA                   ARTA                   KYKLADES             GR   88961   122685552@AIRLINE.KIWI.COM
QHDYEU   8/28/2020   OB    8/28/2020   WN;842;PHL;STL;WN;1106;STL;SAN    PORT WILLIAM           AZ                   US   16597   122685926@AIRLINE.KIWI.COM
QHMPJM   8/28/2020   OB     9/7/2020   WN;6952;LAS;ONT                   EAST MICHELLE          OR                   US   71224   122685882@AIRLINE.KIWI.COM
QIGKJV   8/28/2020   OB    8/29/2020   WN;1130;ORF;BWI;WN;1049;BWI;MCO   MATTHEWBERG            HI                   US   50559   122686465@AIRLINE.KIWI.COM
QO8N2V   8/28/2020   OB    9/11/2020   WN;1239;AUS;DEN                   EAST AMY               IL                   US   40929   122686806@AIRLINE.KIWI.COM
QQ6GHW   8/28/2020   OB    8/28/2020   WN;971;ABQ;LAS                    SOUTH JASON            ND                   US   49338   122691074@AIRLINE.KIWI.COM
QT3S2O   8/28/2020   OB    8/28/2020   WN;36;DTW;STL;WN;724;STL;ATL      WEST ALEXIS            MI                   US   53761   122693758@AIRLINE.KIWI.COM
R2HRB2   8/28/2020   OB    9/13/2020   WN;555;BWI;BOS                    JESSICALAND            AR                   US   29209   122700545@AIRLINE.KIWI.COM
R2HRB2   8/28/2020   OB    9/13/2020   WN;555;BWI;BOS                    JESSICALAND            AR                   US   29209   122700545@AIRLINE.KIWI.COM
RFQK3C   8/28/2020   OB    8/30/2020   WN;1315;OAK;PHX                   SOUTH DAVIDTOWN        TX                   US   70740   122714944@AIRLINE.KIWI.COM
RJSQ98   8/28/2020   OB    9/30/2020   WN;1835;CLE;BNA;WN;116;BNA;AUS    MICHAELLAND            LA                   US   34520   122718838@AIRLINE.KIWI.COM




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RM8J5Q   8/28/2020   OB    8/31/2020   WN;906;BWI;MBJ                    JODISHIRE              RI                      US   80698   122721566@AIRLINE.KIWI.COM
RPAPUE   8/28/2020   OB     9/7/2020   WN;6847;LAS;ATL                   NORTH CHAD             MD                      US   56111   122724976@AIRLINE.KIWI.COM
RT38OA   8/28/2020   OB     9/7/2020   WN;6843;TUS;DEN                   KEVINLAND              ME                      US   97242   122728529@AIRLINE.KIWI.COM
RTFP9O   8/28/2020   OB     9/6/2020   WN;2254;MSP;DEN                   SOUTH AMANDAMOUTH      NE                      US   81330   122728375@AIRLINE.KIWI.COM
RTTRKH   8/28/2020   OB    9/25/2020   WN;1109;LAX;OAK                   SOUTH JOSEPHBERG       PA                      US   37392   122729409@AIRLINE.KIWI.COM
RTTRKH   8/28/2020   OB    9/25/2020   WN;1109;LAX;OAK                   SOUTH JOSEPHBERG       PA                      US   37392   122729409@AIRLINE.KIWI.COM
RTTRKH   8/28/2020   OB    9/25/2020   WN;1109;LAX;OAK                   SOUTH JOSEPHBERG       PA                      US   37392   122729409@AIRLINE.KIWI.COM
RUDRXL   8/28/2020   OB    8/31/2020   WN;1605;MSP;STL;WN;624;STL;LGA    SKINNERVIEW            OK                      US   44569   122729926@AIRLINE.KIWI.COM
RY6PHI   8/28/2020   OB    8/29/2020   WN;1193;LAX;LAS                   ROBERTTOWN             WI                      US   85977   122733358@AIRLINE.KIWI.COM
RYG9LS   8/28/2020   OB     9/4/2020   WN;166;SJC;PHX                    WEST JENNIFERSIDE      WY                      US   21101   122733325@AIRLINE.KIWI.COM
RYSCEG   8/28/2020   OB    8/29/2020   WN;1193;LAX;LAS                   NORTH KATHLEENPORT     GA                      US   44702   122733787@AIRLINE.KIWI.COM
RZ7999   8/28/2020   OB     9/2/2020   WN;1219;PIT;BNA;WN;380;BNA;RDU    MUNIFPORT              ELAZIG                  TR   59810   122733875@AIRLINE.KIWI.COM
RZHLI7   8/28/2020   OB     9/2/2020   WN;934;RDU;BWI;WN;449;BWI;PIT     PORT BARISCANBOROUGH   TOKAT                   TR   93848   122733875@AIRLINE.KIWI.COM
S2HR6K   8/28/2020   OB    8/28/2020   WN;239;ORF;MDW;WN;774;MDW;LAS     WEST VALERIEHAVEN      UT                      US   79713   122735580@AIRLINE.KIWI.COM
S2LD4R   8/28/2020   OB    8/28/2020   WN;1496;SMF;SAN;WN;1496;SAN;MDW   NEW ZBYR               BETHLEHEM               PS   14520   122735393@AIRLINE.KIWI.COM
S5A47W   8/28/2020   OB     9/7/2020   WN;6636;ORF;BWI;WN;673;BWI;MCO    EAST ALEXANDERCHESTE   AL                      US   34450   122737912@AIRLINE.KIWI.COM
S5BO45   8/28/2020   OB    8/28/2020   WN;398;ATL;FLL                    NORTH JEFFREYBURY      KY                      US   94811   122738176@AIRLINE.KIWI.COM
S5H2W3   8/28/2020   OB    8/30/2020   WN;629;BNA;PHX;WN;891;PHX;RNO     REBECCAVILLE           KS                      US   51911   122738451@AIRLINE.KIWI.COM
S5RINJ   8/28/2020   OB    8/29/2020   WN;536;CLT;ALB                    LAKE TAMMY             NH                      US   61716   122738275@AIRLINE.KIWI.COM
S5RYGM   8/28/2020   OB    8/29/2020   WN;6295;CHS;BNA                   KATHERINESTAD          MA                      US    6324   122738649@AIRLINE.KIWI.COM
S5RYGM   8/28/2020   OB    8/29/2020   WN;6295;CHS;BNA                   KATHERINESTAD          MA                      US    6324   122738649@AIRLINE.KIWI.COM
S66K5D   8/28/2020   OB    8/28/2020   WN;1541;PHX;SLC                   PORT CARLABOROUGH      VA                      US    6276   122738363@AIRLINE.KIWI.COM
S6QHM9   8/28/2020   OB    8/28/2020   WN;654;AUS;DAL;WN;1286;DAL;LAS    PORT STEVE             NE                      US   64665   122739661@AIRLINE.KIWI.COM
S96CYK   8/28/2020   OB    10/5/2020   WN;1289;MCO;ATL                   PAIGETON               CA                      US   67720   122741872@AIRLINE.KIWI.COM
S9DXCC   8/28/2020   OB    8/29/2020   WN;698;OKC;MDW                    PORT SOPHIABURGH       MO                      US   49036   122742587@AIRLINE.KIWI.COM
S9DXCC   8/28/2020   RT     9/5/2020   WN;126;MDW;BNA;WN;126;BNA;OKC     PORT SOPHIABURGH       MO                      US   49036   122742587@AIRLINE.KIWI.COM
SBREGX   8/28/2020   OB    8/30/2020   WN;330;BNA;LAX                    ELIZABETHLAND          AR                      US   21705   122744765@AIRLINE.KIWI.COM
SBREYH   8/28/2020   OB     9/9/2020   WN;1286;SJU;TPA                   LAKE MELVINSTAD        NC                      US   22586   122744138@AIRLINE.KIWI.COM
SCOV23   8/28/2020   OB    8/31/2020   WN;1194;LAS;LAX                   SOUTH BEVERLY          CA                      US   55444   122745062@AIRLINE.KIWI.COM
SD4IFA   8/28/2020   OB   11/28/2020   WN;1277;ORF;BWI;WN;429;BWI;FLL    LAKE WESLEY            AL                      US   86957   122746580@AIRLINE.KIWI.COM
SDOFBI   8/28/2020   OB     9/1/2020   WN;1193;LAX;LAS;WN;1008;LAS;CMH   MITCHELLTON            OH                      US   57933   122746338@AIRLINE.KIWI.COM
SE6ZLX   8/28/2020   OB    9/16/2020   WN;2418;ATL;HOU                   THOMPSONTON            ND                      US   83552   122747724@AIRLINE.KIWI.COM
SE9DN5   8/28/2020   OB    9/14/2020   WN;1152;HOU;ATL                   EAST WILLIAM           WA                      US   96424   122747724@AIRLINE.KIWI.COM
SEEQEE   8/28/2020   OB    8/29/2020   WN;1080;LAX;LAS                   EAST RICHARD           WI                      US   53228   122747713@AIRLINE.KIWI.COM
SG9R63   8/28/2020   OB    8/29/2020   WN;6590;LAX;LAS                   NORTH GREGORYBOROUGH   AZ                      US   52240   122748901@AIRLINE.KIWI.COM
SG9R63   8/28/2020   OB    8/29/2020   WN;6590;LAX;LAS                   NORTH GREGORYBOROUGH   AZ                      US   52240   122748901@AIRLINE.KIWI.COM
SG9R63   8/28/2020   OB    8/29/2020   WN;6590;LAX;LAS                   NORTH GREGORYBOROUGH   AZ                      US   52240   122748901@AIRLINE.KIWI.COM
SGYB5P   8/28/2020   OB    8/28/2020   WN;325;ATL;RDU                    DAALKHOLAA             JHARKHAND               IN   35772   122749495@AIRLINE.KIWI.COM
SJV82I   8/28/2020   OB    8/28/2020   WN;443;DEN;CLE                    VALERIEBOROUGH         MO                      US   66893   122752190@AIRLINE.KIWI.COM
SJZBMT   8/28/2020   OB     9/4/2020   WN;375;LGA;ATL;WN;375;ATL;AUS     SOUTH FUZULI           KASTAMONU               TR   43098   122752014@AIRLINE.KIWI.COM
SKO6TJ   8/28/2020   OB    8/31/2020   WN;1562;BNA;AUS                   LAKE NGCCHRIT          SAMUT SAKHON            TH   92034   122752498@AIRLINE.KIWI.COM
SPSEMT   8/28/2020   OB   11/29/2020   WN;4869;CLT;DAL;WN;4360;DAL;ELP   CRYSTALBOROUGH         UT                      US   13227   122757591@AIRLINE.KIWI.COM
SR3RX6   8/28/2020   OB    8/29/2020   WN;5262;RDU;DEN;WN;1002;DEN;LAX   ROACHLAND              MA                      US   68715   122758636@AIRLINE.KIWI.COM
SSNT7V   8/28/2020   OB    8/29/2020   WN;1141;SLC;PHX;WN;2101;PHX;SAN   PORT BRITTANYSTAD      DE                      US   62988   122759406@AIRLINE.KIWI.COM
SSXNVB   8/28/2020   OB    8/30/2020   WN;742;LAX;OAK                    KOROMANAWA             MARLBOROUGH DISTRICT    NZ   69014   122160610.1435281@AIRLINE.KIWI.COM
STXI2J   8/28/2020   OB    9/26/2020   WN;690;SMF;SEA                    PORT DEAN              TN                      US   72714   122759956@AIRLINE.KIWI.COM
SXE4QG   8/28/2020   OB    1/12/2021   WN;4180;OMA;DEN                   SAN REINA LOS BAJOS    YUCATAN                 MX   29653   122761914@AIRLINE.KIWI.COM
T2XG26   8/28/2020   OB    8/29/2020   WN;7;LAX;LAS                      PORT NICHOLASBURGH     PA                      US   14936   122763674@AIRLINE.KIWI.COM
T5EUFR   8/29/2020   OB    8/29/2020   WN;2051;PHL;DEN;WN;233;DEN;BOI    WEST KAREN             SC                      US   17348   122764433@AIRLINE.KIWI.COM
T6BSWJ   8/29/2020   OB     9/4/2020   WN;491;ATL;PHL                    PORT JONATHAN          MA                      US   93849   122764664@AIRLINE.KIWI.COM
T7DNTW   8/29/2020   OB    8/31/2020   WN;1312;SAN;SJC                   CHAISATITTOWN          RANONG                  TH   52022   122765225@AIRLINE.KIWI.COM
T7U6YU   8/29/2020   OB    8/29/2020   WN;1315;OAK;PHX                   LAKE BRIAN             CA                      US    1488   122765379@AIRLINE.KIWI.COM
TC7D3E   8/29/2020   OB     9/6/2020   WN;1060;OAK;SAN                   CARRIEFORT             MD                      US   89541   122766160@AIRLINE.KIWI.COM
TEQUVP   8/29/2020   OB    8/31/2020   WN;1319;ATL;CMH                   EAST MELISSASHIRE      IA                      US   54041   122766864@AIRLINE.KIWI.COM
TEQUVP   8/29/2020   OB    8/31/2020   WN;1319;ATL;CMH                   EAST MELISSASHIRE      IA                      US   54041   122766864@AIRLINE.KIWI.COM
TFMIXF   8/29/2020   OB    8/31/2020   WN;1591;MDW;BWI                   SULLIVANTOWN           IA                      US   69816   122767051@AIRLINE.KIWI.COM
TFZTOV   8/29/2020   OB    8/30/2020   WN;251;BOS;BWI                    STANLEYSTAD            SD                      US   13404   122767249@AIRLINE.KIWI.COM
TGO8IM   8/29/2020   OB    9/22/2020   WN;1385;BNA;DEN;WN;2448;DEN;SNA   LISAHAVEN              SD                      US   60573   122767260@AIRLINE.KIWI.COM
TGO8IM   8/29/2020   OB    9/22/2020   WN;1385;BNA;DEN;WN;2448;DEN;SNA   LISAHAVEN              SD                      US   60573   122767260@AIRLINE.KIWI.COM
THD45T   8/29/2020   OB     9/4/2020   WN;1579;LGA;ATL                   PORT CAROLYNBURGH      HI                      US   67684   122767447@AIRLINE.KIWI.COM
THD45T   8/29/2020   OB     9/4/2020   WN;1579;LGA;ATL                   PORT CAROLYNBURGH      HI                      US   67684   122767447@AIRLINE.KIWI.COM
TIBLPV   8/29/2020   OB     9/4/2020   WN;1579;LGA;ATL                   NORTH KATHY            MI                      US   33663   122767667@AIRLINE.KIWI.COM
TICKKO   8/29/2020   OB    8/29/2020   WN;1684;PHX;SJC                   PORT EVELYNMOUTH       WV                      US   17772   122767744@AIRLINE.KIWI.COM
TIGLFJ   8/29/2020   OB    8/29/2020   WN;1374;ICT;PHX                   PORT JEFFERY           IL                      US   97577   122767821@AIRLINE.KIWI.COM
TJNUHM   8/29/2020   OB    8/29/2020   WN;2096;TUL;DAL;WN;2103;DAL;ELP   SAN VICTOR LOS BAJOS   BAJA CALIFORNIA SUR     MX   32246   122768305@AIRLINE.KIWI.COM
TK7VOV   8/29/2020   OB    8/30/2020   WN;604;ELP;HOU;WN;529;HOU;TUL     VIEJA MALDIVAS         SINALOA                 MX   13973   122768305@AIRLINE.KIWI.COM
TLW3OJ   8/29/2020   OB    9/16/2020   WN;1866;CLT;BWI;WN;2337;BWI;BUF   ARNOLDMOUTH            GA                      US   92366   122768712@AIRLINE.KIWI.COM
TMOJEF   8/29/2020   OB    9/21/2020   WN;654;HNL;OAK;WN;2276;OAK;DEN    SOUTH CASEY            WI                      US   75608   122768932@AIRLINE.KIWI.COM
TOZQJ3   8/29/2020   OB    8/29/2020   WN;1166;SDF;MDW                   WEST RALPHLAND         HI                      US   12581   122769394@AIRLINE.KIWI.COM
TOZQJ3   8/29/2020   OB    8/29/2020   WN;1382;BNA;MDW;WN;595;MDW;OAK    WEST RALPHLAND         HI                      US   12581   122769394@AIRLINE.KIWI.COM
TPIMTO   8/29/2020   OB    8/29/2020   WN;1600;ONT;PDX                   WEST ROBERTCHESTER     VA                      US   69085   122769603@AIRLINE.KIWI.COM
TPKU3C   8/29/2020   OB     9/4/2020   WN;810;HOU;DEN                    FREDERICKBURY          TX                      US    7665   122769735@AIRLINE.KIWI.COM
TSH3EN   8/29/2020   OB     9/8/2020   WN;1690;OAK;LAS                   NORTH ERIN             WA                      US   70690   122770329@AIRLINE.KIWI.COM
TUF5KU   8/29/2020   OB     9/1/2020   WN;1006;MSY;BNA                   REEDCHESTER            MO                      US   47703   122770681@AIRLINE.KIWI.COM
TVIZ3Z   8/29/2020   OB     9/7/2020   WN;6847;LAS;ATL                   EAST JOSEPH            IN                      US   30256   122770879@AIRLINE.KIWI.COM
TVMUNX   8/29/2020   OB    8/29/2020   WN;304;CLT;BNA;WN;1564;BNA;MSY    EAST JOSEPH            NV                      US   30256   122770978@AIRLINE.KIWI.COM
TWQPZL   8/29/2020   OB    8/29/2020   WN;1080;LAX;LAS                   BROWNMOUTH             NY                      US   70704   122771462@AIRLINE.KIWI.COM
UQKHG8   8/29/2020   OB    8/31/2020   WN;101;RDU;ATL                    MURPHYBURY             IL                      US   26695   122788611@AIRLINE.KIWI.COM
URXQ5L   8/29/2020   OB    10/6/2020   WN;2372;LAX;PHX                   JENNIFERBERG           DE                      US   27431   122789249@AIRLINE.KIWI.COM
V8CK96   8/29/2020   OB    8/31/2020   WN;882;AUS;LAS                    BRENDANBERG            OH                      US   52808   122800766@AIRLINE.KIWI.COM
VA6P38   8/29/2020   OB    8/29/2020   WN;398;ATL;FLL                    ERICKSONMOUTH          ND                      US   66916   122802823@AIRLINE.KIWI.COM
VBWNQJ   8/29/2020   OB     9/2/2020   WN;1741;LGA;MDW;WN;1355;MDW;PIT   P DALMATOVO            STAVROPOLSKIY KRAY      RU   25389   122803307@AIRLINE.KIWI.COM
VDIBB4   8/29/2020   OB    8/31/2020   WN;463;PHX;PIT                    LAKE AMANDASIDE        OH                      US    9111   122804968@AIRLINE.KIWI.COM
VDTT5K   8/29/2020   OB    8/30/2020   WN;5659;PVD;DCA                   PORT COURTNEY          MN                      US   86727   122805100@AIRLINE.KIWI.COM
VFDOQ7   8/29/2020   OB    8/29/2020   WN;228;FLL;ATL                    KATHRYNSTAD            NV                      US   54880   122806937@AIRLINE.KIWI.COM
VFHFS8   8/29/2020   OB     9/5/2020   WN;1138;BWI;LAS                   SHARONLAND             AK                      US   19788   122806310@AIRLINE.KIWI.COM
VIE4KX   8/29/2020   OB    8/30/2020   WN;1921;DAL;MCI                   THOMPSONCHESTER        NJ                      US   36542   122808851@AIRLINE.KIWI.COM
VIOT94   8/29/2020   OB     9/6/2020   WN;804;RNO;LAX                    CHENG DU SHI           NINGXIA HUIZI ZIZHIQU   CN   50024   122809335@AIRLINE.KIWI.COM
VJ5UY5   8/29/2020   OB    9/16/2020   WN;1449;LAX;PHX                   BGT KYN                ILAM                    IR   64499   122809313@AIRLINE.KIWI.COM
VK6JXH   8/29/2020   OB    9/14/2020   WN;3339;OAK;BUR                   RICKYTON               NY                      US   28152   122810182@AIRLINE.KIWI.COM
VKDMT9   8/29/2020   OB    8/31/2020   WN;1602;OAK;BUR                   WILLIAMSFURT           AL                      US   99613   122810831@AIRLINE.KIWI.COM
VMHOK3   8/29/2020   OB    11/7/2020   WN;3974;RDU;PHX;WN;1281;PHX;OAK   GORDONVIEW             CENTRAL                 GH   47188   122228953@AIRLINE.KIWI.COM
VNHGQE   8/29/2020   OB    9/13/2020   WN;2037;LAX;MSY                   JIN MEN                CHIAY CITY              TW   22818   122813174@AIRLINE.KIWI.COM
VOQ75R   8/29/2020   OB    8/31/2020   WN;1737;BWI;BOS                   WARNERTON              DE                      US   77281   122813812@AIRLINE.KIWI.COM
VPYGDB   8/29/2020   OB    9/12/2020   WN;2069;LAX;DAL                   ERICLAND               OK                      US   63209   122814714@AIRLINE.KIWI.COM
VQM8TH   8/29/2020   OB    8/29/2020   WN;1203;OAK;LAS                   FLORESFURT             IL                      US   54999   122815231@AIRLINE.KIWI.COM
VSQAKG   8/29/2020   OB    8/29/2020   WN;1950;BUR;LAS                   AMANDABURGH            WY                      US   79632   122817134@AIRLINE.KIWI.COM
VTT45W   8/29/2020   OB     9/4/2020   WN;505;ATL;MDW;WN;4324;MDW;LAS    LEONFORT               TN                      US   79522   122817948@AIRLINE.KIWI.COM
VUBLJY   8/29/2020   OB    8/29/2020   WN;1080;LAX;LAS                   SOUTH WILLIAMBERG      WI                      US    1588   122818927@AIRLINE.KIWI.COM
VVU9J3   8/29/2020   OB    9/29/2020   WN;705;OAK;LAS                    NORTH SIERRABURGH      KY                      US   56750   122819389@AIRLINE.KIWI.COM
VW7ESR   8/29/2020   OB    8/29/2020   WN;1203;OAK;LAS                   EAST MICHELLE          NM                      US    3563   122819730@AIRLINE.KIWI.COM
VWEWB8   8/29/2020   OB    8/29/2020   WN;588;TPA;MDW                    S KATAVIVANOVSK        ULYANOVSKAYA OBLAST     RU   43132   122820401@AIRLINE.KIWI.COM
VWEWB8   8/29/2020   OB    8/29/2020   WN;588;TPA;MDW                    S KATAVIVANOVSK        ULYANOVSKAYA OBLAST     RU   43132   122820401@AIRLINE.KIWI.COM
W2LJT5   8/29/2020   OB    8/29/2020   WN;535;LAS;LAX                    PORT JAMESMOUTH        ID                      US   98572   122823294@AIRLINE.KIWI.COM
W2LJT5   8/29/2020   OB    8/29/2020   WN;535;LAS;LAX                    PORT JAMESMOUTH        ID                      US   98572   122823294@AIRLINE.KIWI.COM
W2OUY9   8/29/2020   OB    8/29/2020   WN;1080;LAX;LAS                   SOUTH MELISSAVIEW      ND                      US   75216   122823965@AIRLINE.KIWI.COM
W4LX5M   8/29/2020   OB    8/29/2020   WN;7;LAX;LAS                      MURPHYTOWN             MN                      US   81112   122824460@AIRLINE.KIWI.COM




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W4O7OG   8/29/2020   OB    8/29/2020   WN;7;LAX;LAS                          APRILCHESTER           MT                    US   16103   122824856@AIRLINE.KIWI.COM
W5D9WH   8/29/2020   OB     9/6/2020   WN;2204;SNA;PHX;WN;2261;PHX;ABQ       KOLARI                 KAINUU                FI   49870   122825769@AIRLINE.KIWI.COM
W6N3ZK   8/29/2020   OB     9/5/2020   WN;2078;ICT;STL                       NANCYFORT              RI                    US   94275   122826011@AIRLINE.KIWI.COM
W95C3C   8/29/2020   OB    8/29/2020   WN;1080;LAX;LAS                       OBERMARTY              GRAUBUNDEN            CH   36812   122827837@AIRLINE.KIWI.COM
W9BIQA   8/29/2020   OB    9/17/2020   WN;1449;LAX;PHX                       GABRIELTOWN            DE                    US   57545   122828156@AIRLINE.KIWI.COM
W9VW8U   8/29/2020   OB    8/29/2020   WN;234;SAN;LAS                        DAVISMOUTH             RI                    US   33789   122828475@AIRLINE.KIWI.COM
WBURY6   8/29/2020   OB     9/1/2020   WN;1734;SNA;LAS;WN;249;LAS;OKC        MCKINNEYBERG           LA                    US   68497   122829421@AIRLINE.KIWI.COM
WBURY6   8/29/2020   OB     9/1/2020   WN;1734;SNA;LAS;WN;249;LAS;OKC        MCKINNEYBERG           LA                    US   68497   122829421@AIRLINE.KIWI.COM
WBURY6   8/29/2020   OB     9/1/2020   WN;1734;SNA;LAS;WN;249;LAS;OKC        MCKINNEYBERG           LA                    US   68497   122829421@AIRLINE.KIWI.COM
WBURY6   8/29/2020   OB     9/1/2020   WN;1734;SNA;LAS;WN;249;LAS;OKC        MCKINNEYBERG           LA                    US   68497   122829421@AIRLINE.KIWI.COM
WD3B3Y   8/29/2020   OB    8/30/2020   WN;143;LAS;SFO                        THOMASLAND             HI                    US   69414   122830642@AIRLINE.KIWI.COM
WDSCNW   8/29/2020   OB    8/30/2020   WN;189;SMF;LAX                        EDWARDSIDE             NH                    US   51774   122830697@AIRLINE.KIWI.COM
WE3EEW   8/29/2020   OB     9/4/2020   WN;143;SLC;LAS                        TYLERTOWN              AR                    US   86046   122830917@AIRLINE.KIWI.COM
WE3EEW   8/29/2020   RT     9/6/2020   WN;2366;LAS;SLC                       TYLERTOWN              AR                    US   86046   122830917@AIRLINE.KIWI.COM
WEY5K7   8/29/2020   OB     1/3/2021   WN;5028;LAX;PHX                       RIVERABURGH            HI                    US   82668   122831258@AIRLINE.KIWI.COM
WEY5K7   8/29/2020   OB     1/3/2021   WN;5028;LAX;PHX                       RIVERABURGH            HI                    US   82668   122831258@AIRLINE.KIWI.COM
WF4A6E   8/29/2020   OB   12/21/2020   WN;101;PHX;LAX                        NEW RONALD             MN                    US   72617   122831258@AIRLINE.KIWI.COM
WF4A6E   8/29/2020   OB   12/21/2020   WN;101;PHX;LAX                        NEW RONALD             MN                    US   72617   122831258@AIRLINE.KIWI.COM
WFDK5Y   8/29/2020   OB    8/31/2020   WN;733;DTW;STL                        NEW ERICABURGH         HI                    US   19778   122831324@AIRLINE.KIWI.COM
WFDK5Y   8/29/2020   OB    8/31/2020   WN;733;DTW;STL                        NEW ERICABURGH         HI                    US   19778   122831324@AIRLINE.KIWI.COM
WGKG27   8/29/2020   OB    9/20/2020   WN;2347;PHL;BNA;WN;1835;BNA;MSY       LAKE BRITTANY          FL                    US   95146   122831742@AIRLINE.KIWI.COM
WGWCWU   8/29/2020   OB    9/18/2020   WN;312;MSY;BNA;WN;1950;BNA;PHL        WEST TIMOTHY           IL                    US   25192   122831731@AIRLINE.KIWI.COM
WHQNU6   8/29/2020   OB     9/3/2020   WN;705;PHX;SAN                        HUANGTON               MS                    US   34040   122831929@AIRLINE.KIWI.COM
WIJ3Z6   8/29/2020   OB     9/5/2020   WN;1708;LAS;CMH                       LEEMOUTH               SC                    US   52792   122832094@AIRLINE.KIWI.COM
WJ9GUJ   8/29/2020   OB     9/7/2020   WN;738;ALB;BWI;WN;2227;BWI;ORF        VAZQUEZSIDE            MS                    US   27371   122832479@AIRLINE.KIWI.COM
WJOALG   8/29/2020   OB    9/12/2020   WN;2323;LAS;OAK                       NORTH ALEXIS           TX                    US   18842   122832644@AIRLINE.KIWI.COM
WJOALG   8/29/2020   OB    9/12/2020   WN;2323;LAS;OAK                       NORTH ALEXIS           TX                    US   18842   122832644@AIRLINE.KIWI.COM
J2RDVV   8/30/2020   OB     9/3/2020   WN;1306;SAN;MDW                       NORTH RANDY            DE                    US   56912   122837429@AIRLINE.KIWI.COM
J569ZT   8/30/2020   OB    9/14/2020   WN;2355;LAS;ATL                       GORDONSIDE             ME                    US   51274   122837869@AIRLINE.KIWI.COM
J5TTW9   8/30/2020   OB    9/14/2020   WN;2355;LAS;ATL                       JUAREZMOUTH            IA                    US   83406   122837869@AIRLINE.KIWI.COM
J5YVNW   8/30/2020   OB    9/14/2020   WN;1687;AUS;MDW                       ROBINSONPORT           WI                    US   11553   122837946@AIRLINE.KIWI.COM
J5YVNW   8/30/2020   OB    9/14/2020   WN;1687;AUS;MDW                       ROBINSONPORT           WI                    US   11553   122837946@AIRLINE.KIWI.COM
J6A786   8/30/2020   OB    9/21/2020   WN;1667;CMH;MDW;WN;2403;MDW;LGA       OBENGSTAD              BRONGAHAFO            GH   80200   122838012@AIRLINE.KIWI.COM
J6FCEU   8/30/2020   OB    9/11/2020   WN;2496;MDW;AUS                       REEDPORT               MI                    US   31192   122837946.1436336@AIRLINE.KIWI.COM
J6FCEU   8/30/2020   OB    9/11/2020   WN;2496;MDW;AUS                       REEDPORT               MI                    US   31192   122837946.1436336@AIRLINE.KIWI.COM
J6KTW7   8/30/2020   OB     9/4/2020   WN;1303;SAN;LAS                       WEST JESSICA           TX                    US   59254   122838199@AIRLINE.KIWI.COM
J9IFQN   8/30/2020   OB    9/14/2020   WN;1876;BNA;CMH                       LAKE RITA              PA                    US   97032   122838870@AIRLINE.KIWI.COM
JBXTK7   8/30/2020   OB     9/5/2020   WN;226;MCO;STL;WN;1064;STL;LAX        JIN MEN                TAICHUNG CITY         TW   73665   122839475@AIRLINE.KIWI.COM
JCXMP8   8/30/2020   OB     9/7/2020   WN;2476;PHX;MDW                       HAMILTONLAND           NH                    US   92874   122839816@AIRLINE.KIWI.COM
JEUN84   8/30/2020   OB     9/2/2020   WN;467;FLL;MSY                        PORT NICOLE            KS                    US   20068   122840564@AIRLINE.KIWI.COM
JEUS2V   8/30/2020   OB    10/8/2020   WN;2122;LGA;ATL                       EMILYBURY              OH                    US   38576   122840476@AIRLINE.KIWI.COM
JEUS2V   8/30/2020   OB    10/8/2020   WN;2122;LGA;ATL                       EMILYBURY              OH                    US   38576   122840476@AIRLINE.KIWI.COM
JF9WS6   8/30/2020   OB    8/31/2020   WN;704;LAS;OAK                        JAMESVILLE             MD                    US   84697   122840894@AIRLINE.KIWI.COM
JFREC6   8/30/2020   OB   10/31/2020   WN;2210;SAN;SFO                       NORTH GLEN             NE                    US   32126   122840872@AIRLINE.KIWI.COM
JJGJKU   8/30/2020   OB     9/7/2020   WN;1995;ATL;LGA                       NEW STEPHANIE          CT                    US   44795   122841719@AIRLINE.KIWI.COM
JJUFSO   8/30/2020   OB     9/1/2020   WN;934;RDU;BWI;WN;320;BWI;SDF         DIAZTON                BRCKO DISTRIKT        BA   58044   122841928@AIRLINE.KIWI.COM
JKT9G4   8/30/2020   OB    8/31/2020   WN;246;ONT;OAK;WN;1231;OAK;SEA        PORT BETHANY           IL                    US   62798   122842148@AIRLINE.KIWI.COM
JN5HRG   8/30/2020   OB    8/30/2020   WN;337;DTW;MDW                        NORTH DANIELSHIRE      MT                    US   11970   122843039@AIRLINE.KIWI.COM
JVTOKD   8/30/2020   OB    8/30/2020   WN;1626;LAS;DAL;WN;1257;DAL;TPA       CARROLLFORT            NE                    US   91085   122846988@AIRLINE.KIWI.COM
K5S4MX   8/30/2020   OB     9/1/2020   WN;1345;LAS;AUS                       EAST GEORGEMOUTH       MT                    US   71673   122852213@AIRLINE.KIWI.COM
K9NEM6   8/30/2020   OB    8/30/2020   WN;1228;LAX;BWI                       BLACKBOROUGH           TX                    US   75685   122855392@AIRLINE.KIWI.COM
KJJ4F7   8/30/2020   OB    8/31/2020   WN;1610;CUN;BWI                       BAKERSHIRE             JARASH                JO   94839   122864104@AIRLINE.KIWI.COM
KPZQXH   8/30/2020   OB    8/31/2020   WN;1334;ATL;MEM                       WEST CHRISTOPHERBURY   OK                    US   30189   122869637@AIRLINE.KIWI.COM
KQJ5BC   8/30/2020   OB    8/30/2020   WN;350;ATL;MCO                        EAST RICKY             ME                    US   68132   122869516@AIRLINE.KIWI.COM
KRV9ER   8/30/2020   OB     9/4/2020   WN;761;SLC;DEN                        NORTH STACYVILLE       MT                    US   91659   122870748@AIRLINE.KIWI.COM
KUM7XQ   8/30/2020   OB    8/30/2020   WN;657;DCA;MDW;WN;899;MDW;CVG         WEST JUSTINCHESTER     AK                    US   42410   122873553@AIRLINE.KIWI.COM
KZF23H   8/30/2020   OB   12/17/2020   WN;697;AUS;DAL;WN;27;DAL;HOU;WN;358;HOSANTOS GRANDE          MINAS GERAIS          BR   39908   122876501@AIRLINE.KIWI.COM
KZF23H   8/30/2020   RT     1/2/2021   WN;1640;FLL;BNA;WN;1929;BNA;AUS       SANTOS GRANDE          MINAS GERAIS          BR   39908   122876501@AIRLINE.KIWI.COM
KZOE6M   8/30/2020   OB     9/7/2020   WN;1750;FLL;MCO                       SHEILABERG             FL                    US    7938   122877623@AIRLINE.KIWI.COM
L5R7RQ   8/30/2020   OB     9/4/2020   WN;1243;HOU;STL                       LAKE JOSEPHVIEW        FL                    US   81143   122880329@AIRLINE.KIWI.COM
L5R7RQ   8/30/2020   RT     9/8/2020   WN;2157;STL;HOU                       LAKE JOSEPHVIEW        FL                    US   81143   122880329@AIRLINE.KIWI.COM
L5RR7F   8/30/2020   OB     9/7/2020   WN;6857;ECP;DAL                       EAST BRANDI            MN                    US    5890   122879977@AIRLINE.KIWI.COM
L88VBZ   8/30/2020   OB    8/31/2020   WN;363;MDW;DTW                        NEW SCOTT              WA                    US   91312   122882837@AIRLINE.KIWI.COM
L8EM2B   8/30/2020   OB    8/30/2020   WN;491;ATL;PHL                        LAKE TYLER             TN                    US   31121   122882782@AIRLINE.KIWI.COM
LDHJ8E   8/30/2020   OB    8/31/2020   WN;1284;RNO;OAK                       MELISSATOWN            LA                    US   40268   122887655@AIRLINE.KIWI.COM
LFSYJD   8/30/2020   OB     9/2/2020   WN;1315;OAK;PHX                       WEST JASON             HI                    US   42954   122889646@AIRLINE.KIWI.COM
LFWZWM   8/30/2020   OB     9/7/2020   WN;1178;ATL;MDW                       LAKE DAVID             MA                    US   31782   122889899@AIRLINE.KIWI.COM
LG5X8K   8/30/2020   OB    8/30/2020   WN;491;ATL;PHL                        NORMANCHESTER          IL                    US   55634   122889745@AIRLINE.KIWI.COM
LG5X8K   8/30/2020   OB    8/30/2020   WN;491;ATL;PHL                        NORMANCHESTER          IL                    US   55634   122889745@AIRLINE.KIWI.COM
LG5X8K   8/30/2020   OB    8/30/2020   WN;491;ATL;PHL                        NORMANCHESTER          IL                    US   55634   122889745@AIRLINE.KIWI.COM
LGZZIT   8/30/2020   OB     9/7/2020   WN;965;MDW;FLL                        NORTH MELISSASHIRE     AL                    US   37573   122890152@AIRLINE.KIWI.COM
LIJ46K   8/30/2020   OB    8/30/2020   WN;878;MCO;ATL                        LAKE LUISFURT          NY                    US   54927   122891439@AIRLINE.KIWI.COM
LKUAU4   8/30/2020   OB     9/2/2020   WN;546;OAK;BUR;WN;1629;BUR;PHX        LAKE ROBERT            NM                    US   71247   122893584@AIRLINE.KIWI.COM
LMVPFV   8/30/2020   OB    8/30/2020   WN;187;MDW;MSP                        EVANSBERG              WY                    US   29614   122895366@AIRLINE.KIWI.COM
LNFGZO   8/30/2020   OB   12/27/2020   WN;3891;SAN;AUS;WN;3891;AUS;RDU       EAST JOSEPHHAVEN       CA                    US   72257   122895630@AIRLINE.KIWI.COM
LNFGZO   8/30/2020   OB   12/27/2020   WN;3891;SAN;AUS;WN;3891;AUS;RDU       EAST JOSEPHHAVEN       CA                    US   72257   122895630@AIRLINE.KIWI.COM
LNX96U   8/30/2020   OB     9/2/2020   WN;707;PHX;SAN                        PORT BRIANFURT         HI                    US   21029   122895674@AIRLINE.KIWI.COM
LP33D8   8/30/2020   OB     9/6/2020   WN;2116;LAX;SMF;WN;6606;SMF;MDW       SOUTH BRIAN            AZ                    US   10075   122890383@AIRLINE.KIWI.COM
LP33D8   8/30/2020   OB     9/6/2020   WN;2116;LAX;SMF;WN;6606;SMF;MDW       SOUTH BRIAN            AZ                    US   10075   122890383@AIRLINE.KIWI.COM
LSDS73   8/30/2020   OB     9/1/2020   WN;1335;LAX;LAS                       EAST CHRISTOPHER       AZ                    US   45812   122898479@AIRLINE.KIWI.COM
LTAHCD   8/30/2020   OB     9/8/2020   WN;6814;PHX;SAN                       EAST MARYBURGH         LA                    US   27061   122898941@AIRLINE.KIWI.COM
LTAHCD   8/30/2020   OB     9/8/2020   WN;6814;PHX;SAN                       EAST MARYBURGH         LA                    US   27061   122898941@AIRLINE.KIWI.COM
LVSQ6K   8/30/2020   OB    8/31/2020   WN;861;DCA;MDW                        EAST TIFFANYBERG       NV                    US   33619   122900129@AIRLINE.KIWI.COM
LZOOWH   8/30/2020   OB    9/10/2020   WN;2120;LAS;STL                       SMITHCHESTER           NM                    US   11742   122901823@AIRLINE.KIWI.COM
LZOOWH   8/30/2020   OB    9/10/2020   WN;2120;LAS;STL                       SMITHCHESTER           NM                    US   11742   122901823@AIRLINE.KIWI.COM
LZOOWH   8/30/2020   OB    9/10/2020   WN;2120;LAS;STL                       SMITHCHESTER           NM                    US   11742   122901823@AIRLINE.KIWI.COM
WNRTYC   8/30/2020   OB    8/30/2020   WN;322;ROC;BWI                        CUNNINGHAMCHESTER      TN                    US   18001   122833975@AIRLINE.KIWI.COM
WNRTYC   8/30/2020   OB    8/31/2020   WN;1663;ROC;BWI;WN;845;BWI;LAX        CUNNINGHAMCHESTER      TN                    US   18001   122833975@AIRLINE.KIWI.COM
WPE7F3   8/30/2020   OB    8/30/2020   WN;180;BOS;DEN;WN;1104;DEN;SJC        MATTHEWHAVEN           MA                    US   50143   122834272@AIRLINE.KIWI.COM
WSMWL6   8/30/2020   OB    10/6/2020   WN;2072;STL;LGA                       SOUTH CHRISTINETON     AK                    US   99932   122834657@AIRLINE.KIWI.COM
WTWSZS   8/30/2020   OB    8/30/2020   WN;1371;TUS;LAX                       BUTLERBOROUGH          MS                    US   92474   122835537@AIRLINE.KIWI.COM
WTX3CQ   8/30/2020   OB    8/30/2020   WN;1888;LAS;PHX                       COOPERHAVEN            AK                    US    1593   122835548@AIRLINE.KIWI.COM
WU4YRI   8/30/2020   OB     9/4/2020   WN;1056;ELP;PHX;WN;255;PHX;MCI        EAST CHRISTOPHERVIEW   VA                    US   51908   122835592@AIRLINE.KIWI.COM
WWCHSB   8/30/2020   OB    8/30/2020   WN;1442;HOU;MKE                       SAN JOSE CARLOS DE L   SONORA                MX   79861   122836164@AIRLINE.KIWI.COM
WZ2N5X   8/30/2020   OB     9/7/2020   WN;6910;DEN;ONT                       PORT ROBERT            ND                    US   45991   122836879@AIRLINE.KIWI.COM
WZWFQS   8/30/2020   OB    8/30/2020   WN;1768;LAS;LAX                       GOODVILLE              ME                    US   40325   122837176@AIRLINE.KIWI.COM
WZWFQS   8/30/2020   OB    8/30/2020   WN;1768;LAS;LAX                       GOODVILLE              ME                    US   40325   122837176@AIRLINE.KIWI.COM
M5KMQQ   8/31/2020   OB    8/31/2020   WN;1479;PHX;SFO                       SOUTH ASHLEY           IA                    US   25510   122903495@AIRLINE.KIWI.COM
M6CHPJ   8/31/2020   OB    8/31/2020   WN;1479;PHX;SFO                       NORTH BRIAN            DE                    US   13414   122903869@AIRLINE.KIWI.COM
M73L5A   8/31/2020   OB    9/15/2020   WN;1483;DEN;PHX                       NUEVA SUECIA           TAMAULIPAS            MX   23196   122904276@AIRLINE.KIWI.COM
M77HP6   8/31/2020   OB     9/8/2020   WN;140;BNA;TPA                        SOUTH MELISSA          OH                    US   29200   122904705@AIRLINE.KIWI.COM
M7NBUB   8/31/2020   OB    9/17/2020   WN;2223;ABQ;MDW;WN;2642;MDW;DTW       PORT ROBERTFORT        OR                    US   69196   122904738@AIRLINE.KIWI.COM
MAIAYC   8/31/2020   OB     9/4/2020   WN;293;MDW;ATL                        NORTH JACOB            NY                    US   61319   122905376@AIRLINE.KIWI.COM
MBES59   8/31/2020   OB    8/31/2020   WN;1187;LAS;OAK                       NORTH VICTORIA         MO                    US   70702   122905750@AIRLINE.KIWI.COM
MBKHKR   8/31/2020   OB    10/2/2020   WN;2450;HOU;FLL                       PORT DENNISHAVEN       FERMANAGH AND OMAGH   GB   38966   122905706@AIRLINE.KIWI.COM
MBVHVI   8/31/2020   OB    9/28/2020   WN;106;DAL;MDW                        LAKE HEATHERCHESTER    PA                    US   95446   122905849@AIRLINE.KIWI.COM
MBVHVI   8/31/2020   OB    9/28/2020   WN;106;DAL;MDW                        LAKE HEATHERCHESTER    PA                    US   95446   122905849@AIRLINE.KIWI.COM




                                                                                                                                                                Appx. 203
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MBVHVI   8/31/2020   OB    9/28/2020   WN;106;DAL;MDW                    LAKE HEATHERCHESTER    PA                    US   95446   122905849@AIRLINE.KIWI.COM
MBVHVI   8/31/2020   OB    9/28/2020   WN;106;DAL;MDW                    LAKE HEATHERCHESTER    PA                    US   95446   122905849@AIRLINE.KIWI.COM
MBVQZL   8/31/2020   OB     9/8/2020   WN;6924;GEG;LAS                   LAKE DANIELFORT        KY                    US   38711   122905794@AIRLINE.KIWI.COM
MBX3SA   8/31/2020   OB     9/6/2020   WN;1379;MDW;LAS                   MARKTOWN               NH                    US   18482   122906091@AIRLINE.KIWI.COM
MC2ICG   8/31/2020   OB    9/25/2020   WN;2601;MDW;DAL                   SOUTH TREVORMOUTH      IA                    US   60031   122905849@AIRLINE.KIWI.COM
MC6DN7   8/31/2020   OB    9/25/2020   WN;2601;MDW;DAL                   NEW JENNIFERSHIRE      CT                    US   60682   122905849@AIRLINE.KIWI.COM
MC6DN7   8/31/2020   OB    9/25/2020   WN;2601;MDW;DAL                   NEW JENNIFERSHIRE      CT                    US   60682   122905849@AIRLINE.KIWI.COM
MC6DN7   8/31/2020   OB    9/25/2020   WN;2601;MDW;DAL                   NEW JENNIFERSHIRE      CT                    US   60682   122905849@AIRLINE.KIWI.COM
MF4VEY   8/31/2020   OB     9/6/2020   WN;10;ECP;HOU;WN;173;HOU;PHX      WEST VIRGINIAVILLE     FL                    US    8576   122907114@AIRLINE.KIWI.COM
MF4VEY   8/31/2020   OB     9/6/2020   WN;10;ECP;HOU;WN;173;HOU;PHX      WEST VIRGINIAVILLE     FL                    US    8576   122907114@AIRLINE.KIWI.COM
MGBFIZ   8/31/2020   OB     9/1/2020   WN;1243;LAS;HOU;WN;833;HOU;FLL    LUNABERG               NE                    US   66224   122907257@AIRLINE.KIWI.COM
MGBFIZ   8/31/2020   OB     9/1/2020   WN;1243;LAS;HOU;WN;833;HOU;FLL    LUNABERG               NE                    US   66224   122907257@AIRLINE.KIWI.COM
MGREBI   8/31/2020   OB     9/8/2020   WN;2340;LAS;MDW;WN;821;MDW;BWI    PORT CHRISTOPHER       OK                    US   52989   122907367@AIRLINE.KIWI.COM
MHEON8   8/31/2020   OB    9/10/2020   WN;1974;LAS;HOU                   DARRELLSIDE            FL                    US    8967   122907697@AIRLINE.KIWI.COM
MHEON8   8/31/2020   OB    9/10/2020   WN;1974;LAS;HOU                   DARRELLSIDE            FL                    US    8967   122907697@AIRLINE.KIWI.COM
MIHG5G   8/31/2020   OB    9/10/2020   WN;803;LAX;RNO                    HILLMOUTH              WY                    US   55104   122908016@AIRLINE.KIWI.COM
MK9IDV   8/31/2020   OB   10/15/2020   WN;2467;SFO;PHX                   WILLISBURGH            IL                    US   19448   118956783.1437236@AIRLINE.KIWI.COM
MKDD78   8/31/2020   OB    9/19/2020   WN;2414;RDU;BWI;WN;1483;BWI;IND   HEIDIVIEW              GA                    US   67528   122908324@AIRLINE.KIWI.COM
ML2BBD   8/31/2020   OB    8/31/2020   WN;1715;LAS;LAX                   RHONDABURY             UT                    US   55163   122908434@AIRLINE.KIWI.COM
MLA6FW   8/31/2020   OB     9/5/2020   WN;6590;LAX;LAS                   JIMENEZMOUTH           AK                    US   81125   122908588@AIRLINE.KIWI.COM
MLNMH5   8/31/2020   OB    9/15/2020   WN;2329;LAS;AUS                   ALLENBOROUGH           GA                    US    4466   122908533@AIRLINE.KIWI.COM
MLNMH5   8/31/2020   OB    9/15/2020   WN;2329;LAS;AUS                   ALLENBOROUGH           GA                    US    4466   122908533@AIRLINE.KIWI.COM
MOV46Z   8/31/2020   OB     9/1/2020   WN;726;LAX;BWI                    NORTH ALEXANDERLAND    NV                    US   20321   122909380@AIRLINE.KIWI.COM
MPYNGG   8/31/2020   OB     9/8/2020   WN;2402;DEN;PDX                   LAKE VANESSACHESTER    MI                    US   35515   122909754@AIRLINE.KIWI.COM
MPZUOY   8/31/2020   OB     9/1/2020   WN;639;IND;BWI                    GARRETTSHIRE           ME                    US   39393   122909743@AIRLINE.KIWI.COM
MRPQZW   8/31/2020   OB     9/8/2020   WN;6705;ECP;HOU                   XIN YING SHI           CHIAYI                TW   49106   122910238@AIRLINE.KIWI.COM
MS5FGQ   8/31/2020   OB    9/10/2020   WN;2091;LAS;HOU                   XAVIERBURY             TN                    US   30576   122907697.1437264@AIRLINE.KIWI.COM
MS5FGQ   8/31/2020   OB    9/10/2020   WN;2091;LAS;HOU                   XAVIERBURY             TN                    US   30576   122907697.1437264@AIRLINE.KIWI.COM
MS5GBT   8/31/2020   OB     9/8/2020   WN;1599;MSY;LAX                   RICHARDSONSHIRE        HI                    US    2005   122910425@AIRLINE.KIWI.COM
MTHXZ3   8/31/2020   OB     9/2/2020   WN;1116;ATL;TPA                   WEST BEVERLYBURGH      WY                    US   34240   122910799@AIRLINE.KIWI.COM
MUR5FO   8/31/2020   OB     9/4/2020   WN;867;CLT;BWI                    LAKE MEGAN             ND                    US   37780   122911173@AIRLINE.KIWI.COM
MVVQ9C   8/31/2020   OB    9/24/2020   WN;2369;PHX;LAX                   CARROLLBURY            IL                    US   63723   122911371@AIRLINE.KIWI.COM
MZPJDP   8/31/2020   OB     9/2/2020   WN;1345;LAS;AUS                   BURGESSTOWN            MN                    US   37803   122913010@AIRLINE.KIWI.COM
N8NZPY   8/31/2020   OB    9/14/2020   WN;2292;PHX;OAK                   EAST SAMANTHAMOUTH     PA                    US   62242   122917630@AIRLINE.KIWI.COM
NPIBGD   8/31/2020   OB    8/31/2020   WN;119;PHX;MDW;WN;119;MDW;HOU     NGUYENTON              ID                    US   36344   122930951@AIRLINE.KIWI.COM
NPUNX4   8/31/2020   OB     9/1/2020   WN;1047;LAS;SNA                   QUARTO AVIDE NELLEMI   BELLUNO               IT   34524   122931732@AIRLINE.KIWI.COM
NTABUA   8/31/2020   OB   10/24/2020   WN;1733;DEN;GRR                   NEW TONYSHIRE          IA                    US   61380   122581030.1437684@AIRLINE.KIWI.COM
NVBAAZ   8/31/2020   OB    10/1/2020   WN;1780;FLL;ATL                   SOUTH TIMURTAS         SAKARYA               TR   91339   122936770@AIRLINE.KIWI.COM
O564XL   8/31/2020   OB   11/28/2020   WN;1321;TUL;STL;WN;2005;STL;LGA   WEST NICOLE            CO                    US   67431   122944602@AIRLINE.KIWI.COM
O564XL   8/31/2020   OB   11/28/2020   WN;1321;TUL;STL;WN;2005;STL;LGA   WEST NICOLE            CO                    US   67431   122944602@AIRLINE.KIWI.COM
O5Y335   8/31/2020   OB     9/8/2020   WN;6679;TPA;ATL                   YVETTEBERG             TN                    US   50047   122945218@AIRLINE.KIWI.COM
OA4UKX   8/31/2020   OB     9/4/2020   WN;1319;ICT;STL;WN;624;STL;LGA    SOUTH KEVINTON         CT                    US   58250   122949651@AIRLINE.KIWI.COM
OB7O8J   8/31/2020   OB     9/9/2020   WN;1485;MCO;IND                   WEST CHRISTINABURY     ID                    US   18089   122950025@AIRLINE.KIWI.COM
OBDMBC   8/31/2020   OB    9/30/2020   WN;1690;OAK;LAS                   NEWARK                 NJ                    US    7114   122910040@AIRLINE.KIWI.COM
OBDMBC   8/31/2020   OB    9/30/2020   WN;1690;OAK;LAS                   NEWARK                 NJ                    US    7114   122910040@AIRLINE.KIWI.COM
OBDMBC   8/31/2020   OB    9/30/2020   WN;1690;OAK;LAS                   NEWARK                 NJ                    US    7114   122910040@AIRLINE.KIWI.COM
OBDMBC   8/31/2020   OB    9/30/2020   WN;1690;OAK;LAS                   NEWARK                 NJ                    US    7114   122910040@AIRLINE.KIWI.COM
OBDMBC   8/31/2020   OB    9/30/2020   WN;1690;OAK;LAS                   NEWARK                 NJ                    US    7114   122910040@AIRLINE.KIWI.COM
OBDMBC   8/31/2020   OB    9/30/2020   WN;1690;OAK;LAS                   NEWARK                 NJ                    US    7114   122910040@AIRLINE.KIWI.COM
OCE7JD   8/31/2020   OB    8/31/2020   WN;547;BUR;OAK                    CARLMOUTH              NH                    US   53005   122950465@AIRLINE.KIWI.COM
OCE7JD   8/31/2020   RT     9/1/2020   WN;546;OAK;BUR                    CARLMOUTH              NH                    US   53005   122950465@AIRLINE.KIWI.COM
OCH5NQ   8/31/2020   OB     9/7/2020   WN;1064;ATL;IAD                   NEW DAVIDCHESTER       MS                    US   90922   122952181@AIRLINE.KIWI.COM
OD2GND   8/31/2020   OB     9/7/2020   WN;116;ATL;BNA;WN;1501;BNA;LGA    SHAWBURY               GHAJNSIELEM           MT   80616   122951983@AIRLINE.KIWI.COM
OF2WZB   8/31/2020   OB     9/1/2020   WN;1632;AUS;PHX;WN;1632;PHX;PDX   NANCYBERG              NC                    US   22711   122954821@AIRLINE.KIWI.COM
OF2WZB   8/31/2020   OB     9/1/2020   WN;1632;AUS;PHX;WN;1632;PHX;PDX   NANCYBERG              NC                    US   22711   122954821@AIRLINE.KIWI.COM
OFD4L8   8/31/2020   OB     9/1/2020   WN;1243;LAS;HOU;WN;833;HOU;FLL    JODYMOUTH              NV                    US    3783   122955162@AIRLINE.KIWI.COM
OFD4L8   8/31/2020   OB     9/1/2020   WN;1243;LAS;HOU;WN;833;HOU;FLL    JODYMOUTH              NV                    US    3783   122955162@AIRLINE.KIWI.COM
OG778L   8/31/2020   OB     9/1/2020   WN;1679;ATL;RDU                   SAN OSCAR LOS BAJOS    ZACATECAS             MX   83805   122955448@AIRLINE.KIWI.COM
OGLVEU   8/31/2020   OB     9/2/2020   WN;707;PHX;SAN                    JONESVILLE             ME                    US   99559   122956515@AIRLINE.KIWI.COM
OHRHZC   8/31/2020   OB     9/2/2020   WN;1651;MSP;MDW;WN;419;MDW;CMH    SUBULUSSALAM           SULAWESI BARAT        ID   58314   122957428@AIRLINE.KIWI.COM
OL4FMP   8/31/2020   OB     9/1/2020   WN;1562;LAX;BNA;WN;596;BNA;RDU    NORTH KEITHBURGH       MA                    US   34333   122960244@AIRLINE.KIWI.COM
OO5N9Q   8/31/2020   OB    9/10/2020   WN;1621;BOS;MDW                   EAST THERESABURY       NH                    US     605   122964325@AIRLINE.KIWI.COM
OODQJC   8/31/2020   OB    9/18/2020   WN;3342;BNA;FLL                   LAKE TODD              VA                    US   93071   122964072@AIRLINE.KIWI.COM
OOI8UC   8/31/2020   OB    9/10/2020   WN;2266;MDW;MEM                   NEW TRACI              NV                    US   21193   122964325@AIRLINE.KIWI.COM
OPXKIW   8/31/2020   OB    9/26/2020   WN;948;SAN;PHX                    SOUTH HALEYCHESTER     LA                    US   83414   122966514@AIRLINE.KIWI.COM
OQHABK   8/31/2020   OB     9/3/2020   WN;1335;TUL;HOU                   VIEJA MALASIA          MICHOACAN DE OCAMPO   MX   38897   122966800@AIRLINE.KIWI.COM
OQM9IM   8/31/2020   OB     9/2/2020   WN;1334;ATL;MEM                   PORT JOHN              HI                    US   48733   122967229@AIRLINE.KIWI.COM
OQOWDH   8/31/2020   OB     9/1/2020   WN;306;CUN;HOU;WN;529;HOU;TUL     VIEJA BARBADOS         PUEBLA                MX   19284   122966800@AIRLINE.KIWI.COM
OSGRKQ   8/31/2020   OB     9/1/2020   WN;546;OAK;BUR                    WEST ANNA              AR                    US    4612   122969099@AIRLINE.KIWI.COM
OT2XX9   8/31/2020   OB    9/21/2020   WN;1733;DEN;GRR                   DANIELSIDE             WV                    US   66379   122970177@AIRLINE.KIWI.COM
OT2XX9   8/31/2020   OB    9/21/2020   WN;1733;DEN;GRR                   DANIELSIDE             WV                    US   66379   122970177@AIRLINE.KIWI.COM
OT2XX9   8/31/2020   OB    9/21/2020   WN;1733;DEN;GRR                   DANIELSIDE             WV                    US   66379   122970177@AIRLINE.KIWI.COM
OT2XX9   8/31/2020   OB    9/21/2020   WN;1733;DEN;GRR                   DANIELSIDE             WV                    US   66379   122970177@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OUOAW7   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NEW JESSICA            SD                    US   67899   122972080@AIRLINE.KIWI.COM
OWSIPQ   8/31/2020   OB     9/1/2020   WN;947;ATL;PHX;WN;1120;PHX;SMF    BROWNBURY              MI                    US   76561   122974313@AIRLINE.KIWI.COM
OWSIPQ   8/31/2020   OB     9/1/2020   WN;947;ATL;PHX;WN;1120;PHX;SMF    BROWNBURY              MI                    US   76561   122974313@AIRLINE.KIWI.COM
OX4R84   8/31/2020   OB     9/8/2020   WN;1593;HOU;MDW                   LAKE CHRISTINEBURGH    MT                    US   60111   122974423@AIRLINE.KIWI.COM
OX4R84   8/31/2020   OB     9/8/2020   WN;1593;HOU;MDW                   LAKE CHRISTINEBURGH    MT                    US   60111   122974423@AIRLINE.KIWI.COM
OXYJ5C   8/31/2020   OB     9/1/2020   WN;910;DCA;MCO                    SMITHTOWN              ME                    US   34184   122975743@AIRLINE.KIWI.COM
OY7TC3   8/31/2020   OB    8/31/2020   WN;988;DEN;SMF                    MENDOZAVILLE           DE                    US   74900   122975688@AIRLINE.KIWI.COM
OYVB2J   8/31/2020   OB    9/18/2020   WN;1667;SLC;LAS                   SOUTH MATTHEWLAND      MN                    US   90047   122976997@AIRLINE.KIWI.COM
OZ7LWY   8/31/2020   OB    9/15/2020   WN;2642;DEN;MDW                   LAKE WHITNEYSIDE       UT                    US   95131   122977580@AIRLINE.KIWI.COM
OZIVDS   8/31/2020   OB    8/31/2020   WN;1335;LAX;LAS                   WEST JOSEPH            MO                    US   96080   122977195@AIRLINE.KIWI.COM
P242F3   8/31/2020   OB    9/21/2020   WN;2642;DTW;BWI;WN;2031;BWI;JAX   SOUTH BRIAN            SD                    US   41337   122977855@AIRLINE.KIWI.COM
P2WAMX   8/31/2020   OB    9/10/2020   WN;2048;SAT;DEN                   PORT LESLIE            OK                    US   10042   122978416@AIRLINE.KIWI.COM
P3QUBI   8/31/2020   OB     9/1/2020   WN;455;ATL;PHX;WN;455;PHX;LAX     WATERSSHIRE            WA                    US   99521   122979714@AIRLINE.KIWI.COM
P3TLZT   8/31/2020   OB    9/30/2020   WN;2217;ONT;SMF                   MICHELEFURT            AK                    US   74092   122980660@AIRLINE.KIWI.COM
P3TLZT   8/31/2020   OB    9/30/2020   WN;2217;ONT;SMF                   MICHELEFURT            AK                    US   74092   122980660@AIRLINE.KIWI.COM
P3TLZT   8/31/2020   OB    9/30/2020   WN;2217;ONT;SMF                   MICHELEFURT            AK                    US   74092   122980660@AIRLINE.KIWI.COM
P48996   8/31/2020   OB    10/6/2020   WN;2523;SMF;ONT                   PORT MICHAEL           AZ                    US   85148   122980649@AIRLINE.KIWI.COM
P48996   8/31/2020   OB    10/6/2020   WN;2523;SMF;ONT                   PORT MICHAEL           AZ                    US   85148   122980649@AIRLINE.KIWI.COM
P54IM8   8/31/2020   OB     9/2/2020   WN;1020;ORF;BWI;WN;127;BWI;SDF    NEW TYLERBERG          CO                    US   48166   122981111@AIRLINE.KIWI.COM




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P54IM8   8/31/2020   RT     9/5/2020   WN;1788;SDF;BWI;WN;1301;BWI;ORF   NEW TYLERBERG          CO                     US   48166   122981111@AIRLINE.KIWI.COM
P5EU9X   8/31/2020   OB     9/2/2020   WN;933;LAS;DAL;WN;552;DAL;FLL     GARDNERHAVEN           DIEKIRCH               LU    5152   122982398@AIRLINE.KIWI.COM
P5HH7R   8/31/2020   OB     9/1/2020   WN;5262;RDU;DEN;WN;1002;DEN;LAX   LAKE HEATHER           NY                     US    2984   122981639@AIRLINE.KIWI.COM
P7JEXZ   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NORTH CARLA            SD                     US   67994   122984103@AIRLINE.KIWI.COM
P7JEXZ   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NORTH CARLA            SD                     US   67994   122984103@AIRLINE.KIWI.COM
P7JEXZ   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   NORTH CARLA            SD                     US   67994   122984103@AIRLINE.KIWI.COM
P7JEXZ   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NORTH CARLA            SD                     US   67994   122984103@AIRLINE.KIWI.COM
P7JEXZ   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NORTH CARLA            SD                     US   67994   122984103@AIRLINE.KIWI.COM
P7JEXZ   8/31/2020   RT    9/28/2020   WN;106;DAL;MDW                    NORTH CARLA            SD                     US   67994   122984103@AIRLINE.KIWI.COM
P9AMP4   8/31/2020   OB     9/2/2020   WN;1258;RDU;BNA;WN;1626;BNA;LAX   MORGANMOUTH            NC                     US   99347   122985577@AIRLINE.KIWI.COM
P9AMP4   8/31/2020   OB     9/2/2020   WN;1258;RDU;BNA;WN;1626;BNA;LAX   MORGANMOUTH            NC                     US   99347   122985577@AIRLINE.KIWI.COM
P9AMP4   8/31/2020   RT     9/4/2020   WN;996;LAX;BWI;WN;1240;BWI;RDU    MORGANMOUTH            NC                     US   99347   122985577@AIRLINE.KIWI.COM
P9AMP4   8/31/2020   RT     9/4/2020   WN;996;LAX;BWI;WN;1240;BWI;RDU    MORGANMOUTH            NC                     US   99347   122985577@AIRLINE.KIWI.COM
P9K2E7   8/31/2020   OB    9/17/2020   WN;2642;DTW;BWI;WN;2031;BWI;JAX   PORT PATRICIA          RI                     US   71972   122953633@AIRLINE.KIWI.COM
PBKGJ2   8/31/2020   OB     9/3/2020   WN;550;MCO;BWI                    IVARSSIDE              OLAINES NOVADS         LV   53414   122987194@AIRLINE.KIWI.COM
PDJP9N   8/31/2020   OB     9/6/2020   WN;2465;SLC;SAN                   NEW DANIEL             ND                     US   88174   122988811@AIRLINE.KIWI.COM
PFOVHT   8/31/2020   OB     9/5/2020   WN;1706;LGA;DEN;WN;1300;DEN;BUR   NICHOLASPORT           AK                     US   88269   122990461@AIRLINE.KIWI.COM
PFOVHT   8/31/2020   OB     9/5/2020   WN;1706;LGA;DEN;WN;1300;DEN;BUR   NICHOLASPORT           AK                     US   88269   122990461@AIRLINE.KIWI.COM
PG34LP   8/31/2020   OB    9/28/2020   WN;106;DAL;MDW                    MCLEANLAND             NJ                     US   97690   122990571@AIRLINE.KIWI.COM
PG34LP   8/31/2020   OB    9/28/2020   WN;106;DAL;MDW                    MCLEANLAND             NJ                     US   97690   122990571@AIRLINE.KIWI.COM
PGBICP   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   SOUTH THOMAS           MS                     US   46629   122990571@AIRLINE.KIWI.COM
PGBICP   8/31/2020   OB    9/25/2020   WN;1257;MDW;DAL                   SOUTH THOMAS           MS                     US   46629   122990571@AIRLINE.KIWI.COM
PHQ4NA   8/31/2020   OB     9/8/2020   WN;2494;MCO;MDW;WN;6724;MDW;SMF   THOMPSONBERG           ME                     US   88707   122991308@AIRLINE.KIWI.COM
PKIWLP   8/31/2020   OB     9/9/2020   WN;808;OAK;HNL;WN;448;HNL;ITO     NEW SABRINATOWN        PA                     US   90228   122989438@AIRLINE.KIWI.COM
PKIWLP   8/31/2020   RT    9/20/2020   WN;979;ITO;HNL;WN;759;HNL;OAK     NEW SABRINATOWN        PA                     US   90228   122989438@AIRLINE.KIWI.COM
PLC992   8/31/2020   OB    9/17/2020   WN;2091;DEN;GRR                   HAYDENFURT             MA                     US   18973   122992848@AIRLINE.KIWI.COM
PMATW4   8/31/2020   OB     9/8/2020   WN;470;LAS;MDW                    PORT SHERI             NH                     US   50830   122993541@AIRLINE.KIWI.COM
PMATW4   8/31/2020   OB     9/8/2020   WN;470;LAS;MDW                    PORT SHERI             NH                     US   50830   122993541@AIRLINE.KIWI.COM
PMOYIM    9/1/2020   OB     9/1/2020   WN;510;BNA;MSP                    TORRESBURGH            PA                     US   32325   122993772@AIRLINE.KIWI.COM
PNQV32    9/1/2020   OB     9/3/2020   WN;1003;SJC;LAS;WN;342;LAS;DAL    KINGFORT               PA                     US   84285   122994234@AIRLINE.KIWI.COM
POPEN8    9/1/2020   OB     9/4/2020   WN;1518;SFO;SAN                   SUSANVIEW              DE                     US   52412   122994564@AIRLINE.KIWI.COM
PP59FG    9/1/2020   OB    9/26/2020   WN;184;ICT;DEN                    LAKE ANGELAVILLE       KS                     US    8412   122994795@AIRLINE.KIWI.COM
PPBAQF    9/1/2020   OB   11/25/2020   WN;1564;SJC;PHX                   COLEMANTON             OR                     US   76103   122994850@AIRLINE.KIWI.COM
PPBAQF    9/1/2020   RT   11/29/2020   WN;3491;PHX;SJC                   COLEMANTON             OR                     US   76103   122994850@AIRLINE.KIWI.COM
PPPJHJ    9/1/2020   OB     9/2/2020   WN;1228;TUS;DEN                   DANIELLEBURY           ND                     US   76608   122995026@AIRLINE.KIWI.COM
PPRJL2    9/1/2020   OB     9/7/2020   WN;1997;DEN;MSP                   EBERSBERG              BREMEN                 DE   60579   122769141.1438410@AIRLINE.KIWI.COM
PQPRJE    9/1/2020   OB     9/4/2020   WN;1024;MCO;SDF                   REYNOLDSBURY           OH                     US   82619   122995444@AIRLINE.KIWI.COM
PQPRJE    9/1/2020   OB     9/4/2020   WN;1024;MCO;SDF                   REYNOLDSBURY           OH                     US   82619   122995444@AIRLINE.KIWI.COM
PQPRJE    9/1/2020   RT     9/8/2020   WN;1626;SDF;MCO                   REYNOLDSBURY           OH                     US   82619   122995444@AIRLINE.KIWI.COM
PQPRJE    9/1/2020   RT     9/8/2020   WN;1626;SDF;MCO                   REYNOLDSBURY           OH                     US   82619   122995444@AIRLINE.KIWI.COM
PQRKHB    9/1/2020   OB     9/1/2020   WN;1219;OAK;DEN;WN;528;DEN;DTW    JAMESFORT              OH                     US   56448   122995246@AIRLINE.KIWI.COM
PQRKHB    9/1/2020   OB     9/1/2020   WN;1219;OAK;DEN;WN;528;DEN;DTW    JAMESFORT              OH                     US   56448   122995246@AIRLINE.KIWI.COM
PRFRIB    9/1/2020   OB     9/3/2020   WN;266;ATL;LGA                    LAKE ANDREWBOROUGH     CT                     US   89610   122995576@AIRLINE.KIWI.COM
PRZPDW    9/1/2020   OB     9/4/2020   WN;758;OMA;LAS                    EAST ADAM              MI                     US   83286   122996093@AIRLINE.KIWI.COM
PRZPDW    9/1/2020   OB     9/4/2020   WN;758;OMA;LAS                    EAST ADAM              MI                     US   83286   122996093@AIRLINE.KIWI.COM
PS5N92    9/1/2020   OB     9/1/2020   WN;1335;LAX;LAS                   WEST SARAMOUTH         LA                     US   77100   122996038@AIRLINE.KIWI.COM
PT6FUX    9/1/2020   OB     9/4/2020   WN;995;MDW;DEN;WN;813;DEN;OAK     NATASHASHIRE           KS                     US   58704   122996357@AIRLINE.KIWI.COM
PT6FUX    9/1/2020   OB     9/4/2020   WN;995;MDW;DEN;WN;813;DEN;OAK     NATASHASHIRE           KS                     US   58704   122996357@AIRLINE.KIWI.COM
PTMYTF    9/1/2020   OB     9/1/2020   WN;996;LAX;BWI;WN;1240;BWI;RDU    PORT GABRIELA          UT                     US   54941   122996720@AIRLINE.KIWI.COM
PW5J9M    9/1/2020   OB    9/20/2020   WN;2116;LAX;SMF                   COLLINSBURY            OK                     US    3090   122997545@AIRLINE.KIWI.COM
PWS7E4    9/1/2020   OB     9/4/2020   WN;724;ATL;LGA                    LAKE SAMUEL            AR                     US   62525   122997864@AIRLINE.KIWI.COM
PX64P2    9/1/2020   OB     9/4/2020   WN;44;BNA;ATL                     WEST JACQUELINEBURY    SCOTTISH BORDERS THE   GB   17304   122997776@AIRLINE.KIWI.COM
PX7DAZ    9/1/2020   OB     9/3/2020   WN;306;CUN;HOU                    SAN LUCAS LOS ALTOS    ZACATECAS              MX   84475   122997996@AIRLINE.KIWI.COM
PY78IK    9/1/2020   OB     9/1/2020   WN;711;RNO;DEN                    MEI SHAN XIAN          YUNLIN                 TW   34799   122998172@AIRLINE.KIWI.COM
PYT4PY    9/1/2020   OB     9/1/2020   WN;1596;DEN;JAX                   WEST JEFFREYLAND       AL QAHIRAH             EG   39319   122998172@AIRLINE.KIWI.COM
PZ8BI4    9/1/2020   OB    9/15/2020   WN;2626;ATL;MDW                   AMANDASTAD             ID                     US   15595   122998513@AIRLINE.KIWI.COM
PZPT9H    9/1/2020   OB     9/3/2020   WN;1006;MSY;BNA                   PORT ELLIOTTSTAD       HAMPSHIRE              GB   35505   122998447@AIRLINE.KIWI.COM
Q32E98    9/1/2020   OB     9/1/2020   WN;1768;LAS;LAX                   LAKE ERIN              AZ                     US   71656   122999173@AIRLINE.KIWI.COM
Q36PJQ    9/1/2020   OB     9/1/2020   WN;525;ELP;LAS                    CAPARROSTON            ALBERTA                CA   60317   122999063@AIRLINE.KIWI.COM
Q36PJQ    9/1/2020   OB     9/1/2020   WN;696;ELP;DEN;WN;480;DEN;SNA     CAPARROSTON            ALBERTA                CA   60317   122999063@AIRLINE.KIWI.COM
Q4AJVR    9/1/2020   OB     9/7/2020   WN;1696;LAX;SFO                   STEVENFURT             OR                     US   22373   122999646@AIRLINE.KIWI.COM
Q4U36E    9/1/2020   OB    9/11/2020   WN;2286;LAX;OAK                   WEST JESSICA           MO                     US   97006   122999789@AIRLINE.KIWI.COM
Q4UD77    9/1/2020   OB     9/1/2020   WN;1791;ELP;DAL;WN;1791;DAL;BNA   SAN EMILIA LOS BAJOS   HIDALGO                MX   88176   122999745@AIRLINE.KIWI.COM
Q6RZB8    9/1/2020   OB    9/16/2020   WN;2122;LGA;ATL                   HESTERBURGH            MS                     US   46086   123000702@AIRLINE.KIWI.COM
Q7E9LX    9/1/2020   OB     9/1/2020   WN;464;MCO;MEM                    CAMPBELLVIEW           OR                     US   14963   123000801@AIRLINE.KIWI.COM
Q7O9BL    9/1/2020   OB    9/15/2020   WN;830;LAS;DAL                    LOWEBERG               NY                     US   47101   123001197@AIRLINE.KIWI.COM
Q7UO6C    9/1/2020   OB     9/4/2020   WN;1271;RIC;ATL                   NORTH ANTONIO          WI                     US   12637   123001307@AIRLINE.KIWI.COM
Q7UO6C    9/1/2020   RT     9/8/2020   WN;2180;ATL;RIC                   NORTH ANTONIO          WI                     US   12637   123001307@AIRLINE.KIWI.COM
Q86DKV    9/1/2020   OB     9/1/2020   WN;20;PHL;BNA;WN;348;BNA;DTW      EAST GLEN              MN                     US   42497   123001241@AIRLINE.KIWI.COM
Q86DKV    9/1/2020   OB     9/1/2020   WN;20;PHL;BNA;WN;348;BNA;DTW      EAST GLEN              MN                     US   42497   123001241@AIRLINE.KIWI.COM
Q8IB4V    9/1/2020   OB     9/6/2020   WN;57;ONT;DEN;WN;1387;DEN;IND     WHITEMOUTH             PA                     US   18848   123001439@AIRLINE.KIWI.COM
Q9K2G3    9/1/2020   OB     9/2/2020   WN;833;HOU;FLL                    ARMAVIR                VAYOC JOR              AM   30043   123002341@AIRLINE.KIWI.COM
QCGWG9    9/1/2020   OB     9/6/2020   WN;2287;LAX;LAS                   SMITHSIDE              NE                     US   12479   123003133@AIRLINE.KIWI.COM
QCIPMS    9/1/2020   OB     9/4/2020   WN;1194;LAS;LAX                   NEW VANESSA            TX                     US   39391   123003133@AIRLINE.KIWI.COM
QG9QI8    9/1/2020   OB     9/5/2020   WN;1022;PHX;SNA                   NORTH RICKYCHESTER     GA                     US   39294   123004761@AIRLINE.KIWI.COM
QHVNCZ    9/1/2020   OB     9/1/2020   WN;1768;LAS;LAX                   NORTH AMANDAFORT       MO                     US   70140   123005465@AIRLINE.KIWI.COM
QI5ENE    9/1/2020   OB     9/1/2020   WN;1768;LAS;LAX                   STEWARTBURY            MI                     US   42718   123005465@AIRLINE.KIWI.COM
QI5ENE    9/1/2020   OB     9/1/2020   WN;1768;LAS;LAX                   STEWARTBURY            MI                     US   42718   123005465@AIRLINE.KIWI.COM
QI6QZV    9/1/2020   OB     9/5/2020   WN;1329;SMF;BUR                   SAN QUARTO LAZIALE     FORLICESENA            IT   20604   123005872@AIRLINE.KIWI.COM
QI6QZV    9/1/2020   OB     9/5/2020   WN;1329;SMF;BUR                   SAN QUARTO LAZIALE     FORLICESENA            IT   20604   123005872@AIRLINE.KIWI.COM
QN3UVV    9/1/2020   OB     9/4/2020   WN;375;LGA;ATL                    NEW MICHELLEFORT       KY                     US   68345   123008413@AIRLINE.KIWI.COM
QPQC2P    9/1/2020   OB     9/1/2020   WN;1587;LAS;BUR                   LAKE PHILIP            RI                     US   34936   123010910@AIRLINE.KIWI.COM
QPTQKN    9/1/2020   OB     9/1/2020   WN;1587;LAS;BUR                   SOUTH BRANDI           MO                     US   85908   123010547@AIRLINE.KIWI.COM
QPTQKN    9/1/2020   OB     9/1/2020   WN;1587;LAS;BUR                   SOUTH BRANDI           MO                     US   85908   123010547@AIRLINE.KIWI.COM
QV7KS2    9/1/2020   OB    9/14/2020   WN;2540;RDU;MCO                   PORT NICOLETON         HI                     US   54793   123011460@AIRLINE.KIWI.COM
QVAVC5    9/1/2020   OB     9/1/2020   WN;1204;LAS;SNA;WN;1204;SNA;SMF   NORTH JAMESBURGH       NV                     US   38189   123016509@AIRLINE.KIWI.COM
QVAVC5    9/1/2020   OB     9/1/2020   WN;1204;LAS;SNA;WN;1204;SNA;SMF   NORTH JAMESBURGH       NV                     US   38189   123016509@AIRLINE.KIWI.COM
R897I9    9/1/2020   OB     9/1/2020   WN;1630;PHX;BUR                   JASONMOUTH             WV                     US   84823   123029423@AIRLINE.KIWI.COM
RGAJ8J    9/1/2020   OB     1/2/2021   WN;2422;SEA;SMF                   CANTUPORT              CA                     US   37151   123039510@AIRLINE.KIWI.COM
RGAJ8J    9/1/2020   OB     1/2/2021   WN;2422;SEA;SMF                   CANTUPORT              CA                     US   37151   123039510@AIRLINE.KIWI.COM
RGPOYQ    9/1/2020   OB     9/1/2020   WN;398;ATL;FLL                    LEEBURGH               KY                     US   51918   123039158@AIRLINE.KIWI.COM
RKPYWU    9/1/2020   OB    9/13/2020   WN;806;SMF;LAX                    TAI BEI SHI            TIANJIN SHI            CN   60159   123041479@AIRLINE.KIWI.COM
RR7LNI    9/1/2020   OB     9/1/2020   WN;1578;ATL;MDW                   VERONICAVIEW           DE                     US   81650   123053029@AIRLINE.KIWI.COM
RTT4YE    9/1/2020   OB    9/17/2020   WN;2610;ATL;PHX                   SANTIAGOFURT           MT                     US   91472   123056395@AIRLINE.KIWI.COM
RV4J5W    9/1/2020   OB     9/1/2020   WN;1517;LAX;SFO                   BNDR LNZ               LORESTAN               IR   18938   123057627@AIRLINE.KIWI.COM
RW8GZO    9/1/2020   OB    9/11/2020   WN;2505;BNA;MDW                   TONYACHESTER           NY                     US   23966   123058199@AIRLINE.KIWI.COM
RW8GZO    9/1/2020   RT    9/13/2020   WN;2339;MDW;BNA                   TONYACHESTER           NY                     US   23966   123058199@AIRLINE.KIWI.COM
RX96H9    9/1/2020   OB    10/2/2020   WN;2155;MDW;HOU                   NEW RICHARD            ND                     US   64427   123059178@AIRLINE.KIWI.COM
RX96H9    9/1/2020   RT    10/5/2020   WN;3399;HOU;MDW                   NEW RICHARD            ND                     US   64427   123059178@AIRLINE.KIWI.COM
RY2BCH    9/1/2020   OB     9/4/2020   WN;375;LGA;ATL                    BLAIRTON               CA                     US   42912   123060740@AIRLINE.KIWI.COM
RYCUW6    9/1/2020   OB     9/7/2020   WN;2070;ATL;BNA;WN;1894;BNA;LGA   EAST TROY              FL                     US   89757   123061389@AIRLINE.KIWI.COM
RYJQTT    9/1/2020   OB     9/4/2020   WN;155;SJC;SNA                    PORT ADRIAN            WY                     US   81715   122654906@AIRLINE.KIWI.COM
S3DOO3    9/1/2020   OB     9/4/2020   WN;194;DEN;ONT                    EAST JAMIEFORT         IA                     US   37129   123060102@AIRLINE.KIWI.COM
S3E5UQ    9/1/2020   OB     9/1/2020   WN;1735;LAS;LAX                   SHANNONPORT            RI                     US   57725   123064601@AIRLINE.KIWI.COM
S3PL43    9/1/2020   OB     9/1/2020   WN;1554;OAK;ONT                   PORT MADISONBOROUGH    AR                     US   53362   123064480@AIRLINE.KIWI.COM
S5BJUS    9/1/2020   OB     9/3/2020   WN;1578;MEM;ATL                   LAKE JOHNFURT          MN                     US   65541   123067186@AIRLINE.KIWI.COM
S5BJUS    9/1/2020   OB     9/3/2020   WN;1578;MEM;ATL                   LAKE JOHNFURT          MN                     US   65541   123067186@AIRLINE.KIWI.COM




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S5HXEK    9/1/2020   OB     9/2/2020   WN;1110;OMA;STL;WN;1095;STL;ATL        EAST JULIA             NC                       US   91474   123066779@AIRLINE.KIWI.COM
S5HXEK    9/1/2020   OB     9/2/2020   WN;1110;OMA;STL;WN;1095;STL;ATL        EAST JULIA             NC                       US   91474   123066779@AIRLINE.KIWI.COM
S6JPEV    9/1/2020   OB     9/4/2020   WN;277;TPA;ATL                         PORT JACOBBERG         CO                       US    7434   123068891@AIRLINE.KIWI.COM
S6UAWO    9/1/2020   OB     9/4/2020   WN;277;TPA;ATL                         DAVISMOUTH             CT                       US   30412   123068891@AIRLINE.KIWI.COM
S77IFR    9/1/2020   OB     9/4/2020   WN;277;TPA;ATL                         ANTHONYFURT            GA                       US   92458   123068891@AIRLINE.KIWI.COM
S8MFFX    9/1/2020   OB     9/8/2020   WN;6934;DEN;SLC                        ALICESIDE              PA                       US   31757   123071289@AIRLINE.KIWI.COM
S8MFFX    9/1/2020   OB     9/8/2020   WN;6934;DEN;SLC                        ALICESIDE              PA                       US   31757   123071289@AIRLINE.KIWI.COM
S8XCKI    9/1/2020   OB     9/2/2020   WN;650;ABQ;LAS;WN;1208;LAS;SAN         NORTH JOSEPH           MS                       US   24854   123072147@AIRLINE.KIWI.COM
S8XCKI    9/1/2020   OB     9/2/2020   WN;650;ABQ;LAS;WN;1208;LAS;SAN         NORTH JOSEPH           MS                       US   24854   123072147@AIRLINE.KIWI.COM
S9UDNV    9/1/2020   OB     9/8/2020   WN;2181;MCO;MDW                        SOUTH CRYSTAL          IL                       US    1239   123072763@AIRLINE.KIWI.COM
SAGNAU    9/1/2020   OB    9/19/2020   WN;1895;DAL;ATL                        VISTAARNN              DADRA AND NAGAR HAVELI   IN   67316   123073621@AIRLINE.KIWI.COM
SC4CB7    9/1/2020   OB     9/1/2020   WN;274;LAS;SMF                         BRIANBERG              NC                       US   97372   123076602@AIRLINE.KIWI.COM
SDWO9C    9/1/2020   OB     9/2/2020   WN;257;JAX;ATL                         MOOREHAVEN             NJ                       US   34981   123078384@AIRLINE.KIWI.COM
SE7WA2    9/1/2020   OB     9/1/2020   WN;1468;LAS;PHX                        HOUSTONFURT            MS                       US   17591   123078890@AIRLINE.KIWI.COM
SEW78Y    9/1/2020   OB    1/29/2021   WN;4743;RDU;ATL;WN;4743;ATL;AUS;WN;417 SOUTH SUMMERTOWN       CT                       US   22727   123079880@AIRLINE.KIWI.COM
SEW78Y    9/1/2020   OB    1/29/2021   WN;4743;RDU;ATL;WN;4743;ATL;AUS;WN;417 SOUTH SUMMERTOWN       CT                       US   22727   123079880@AIRLINE.KIWI.COM
SEW78Y    9/1/2020   OB    1/29/2021   WN;4743;RDU;ATL;WN;4743;ATL;AUS;WN;417 SOUTH SUMMERTOWN       CT                       US   22727   123079880@AIRLINE.KIWI.COM
SG5DBM    9/1/2020   OB    9/21/2020   WN;113;LAX;SFO                         MICHAELTON             WESTERN AUSTRALIA        AU   29523   123081486@AIRLINE.KIWI.COM
SGMRL5    9/1/2020   OB     9/8/2020   WN;2406;LAS;SEA                        OLAWA                  MALOPOLSKIE              PL   39437   123082069@AIRLINE.KIWI.COM
SGMRL5    9/1/2020   OB     9/8/2020   WN;2406;LAS;SEA                        OLAWA                  MALOPOLSKIE              PL   39437   123082069@AIRLINE.KIWI.COM
SGRK8R    9/1/2020   OB     9/1/2020   WN;535;LAS;LAX                         PORT ROBERTSTAD        MO                       US   22126   123082223@AIRLINE.KIWI.COM
SGVLH2    9/1/2020   OB     9/1/2020   WN;535;LAS;LAX                         ERINSTAD               NE                       US   62576   123082564@AIRLINE.KIWI.COM
SHNOY7    9/1/2020   OB     9/7/2020   WN;2070;ATL;BNA;WN;1894;BNA;LGA        NEW SETH               SD                       US   70229   123083444@AIRLINE.KIWI.COM
SHYW66    9/1/2020   OB     9/1/2020   WN;1638;OAK;LAS                        WOODVILLE              IL                       US   23678   123084753@AIRLINE.KIWI.COM
SHZ3BH    9/1/2020   OB     9/1/2020   WN;1335;LAX;LAS                        SOUTH STEPHANIE        ND                       US    1861   123084478@AIRLINE.KIWI.COM
SHZ3BH    9/1/2020   OB     9/1/2020   WN;1335;LAX;LAS                        SOUTH STEPHANIE        ND                       US    1861   123084478@AIRLINE.KIWI.COM
SIHWEH    9/1/2020   OB     9/2/2020   WN;1636;LAX;SMF                        NEW MICHAEL            CA                       US    5534   121024706.1439504@AIRLINE.KIWI.COM
SIJUM5    9/1/2020   OB     9/1/2020   WN;726;LAS;BUR                         JACOBLAND              IA                       US   22875   123086007@AIRLINE.KIWI.COM
SIM4ZH    9/1/2020   OB     9/3/2020   WN;1208;LAS;SAN                        JOSHUABURGH            VA                       US   47241   123085974@AIRLINE.KIWI.COM
SIQF3F    9/1/2020   OB    9/17/2020   WN;2303;ONT;SJC;WN;1846;SJC;PDX        NEW SIMONAS            MARIJAMPOLES APSKRITIS   LT    8628   123085567@AIRLINE.KIWI.COM
SKG53P    9/1/2020   OB     9/7/2020   WN;2023;FLL;MCO                        G KOLPASHEVO           TYUMENSKAYA OBLAST       RU   73288   123087844@AIRLINE.KIWI.COM
SKG53P    9/1/2020   OB     9/7/2020   WN;2023;FLL;MCO                        G KOLPASHEVO           TYUMENSKAYA OBLAST       RU   73288   123087844@AIRLINE.KIWI.COM
SO54DR    9/1/2020   OB     9/2/2020   WN;412;MKE;TPA                         TINALAND               NY                       US   41187   123092673@AIRLINE.KIWI.COM
SPIWK7    9/1/2020   OB     9/1/2020   WN;746;ITO;HNL                         LAKE ANDREW            PA                       US   57675   123094378@AIRLINE.KIWI.COM
SPNC4R    9/1/2020   OB    9/13/2020   WN;2425;LAX;SJC                        NEW AARON              MN                       US   33559   123095137@AIRLINE.KIWI.COM
SPO6VQ    9/1/2020   OB    9/25/2020   WN;785;LAX;HOU                         JONESLAND              MD                       US   35363   123095016@AIRLINE.KIWI.COM
SPO6VQ    9/1/2020   RT    9/27/2020   WN;2104;HOU;LAX                        JONESLAND              MD                       US   35363   123095016@AIRLINE.KIWI.COM
SR69VV    9/1/2020   OB     9/7/2020   WN;6778;RSW;ATL                        WEST RICHARD           MS                       US   38637   123095973@AIRLINE.KIWI.COM
SSC3N9    9/1/2020   OB    9/24/2020   WN;710;ELP;LAS                         BULLOCKLAND            RI                       US   46367   123097414@AIRLINE.KIWI.COM
SSC3N9    9/1/2020   OB    9/24/2020   WN;710;ELP;LAS                         BULLOCKLAND            RI                       US   46367   123097414@AIRLINE.KIWI.COM
SSC3N9    9/1/2020   OB    9/24/2020   WN;710;ELP;LAS                         BULLOCKLAND            RI                       US   46367   123097414@AIRLINE.KIWI.COM
SSJH8R    9/1/2020   OB     9/7/2020   WN;2213;STL;MCO;WN;711;MCO;BWI         NORTH PATRICIAMOUTH    GA                       US    3061   123097997@AIRLINE.KIWI.COM
STZ5D6    9/1/2020   OB     9/4/2020   WN;764;MSY;ATL                         MARIESHIRE             OH                       US   26173   123098778@AIRLINE.KIWI.COM
STZ5D6    9/1/2020   RT     9/8/2020   WN;6681;ATL;MSY                        MARIESHIRE             OH                       US   26173   123098778@AIRLINE.KIWI.COM
SUGGJ9    9/1/2020   OB     9/2/2020   WN;404;DCA;ATL;WN;1861;ATL;IND         LAURAFURT              KY                       US   90708   123099702@AIRLINE.KIWI.COM
SV6DOK    9/1/2020   OB    9/22/2020   WN;1283;HOU;MAF                        NEW KENNETH            IL                       US   47662   123100329@AIRLINE.KIWI.COM
SV6U9W    9/1/2020   OB     9/2/2020   WN;274;LAS;SMF                         NORTH ANDREA           MD                       US   10723   123100450@AIRLINE.KIWI.COM
SV6U9W    9/1/2020   OB     9/2/2020   WN;274;LAS;SMF                         NORTH ANDREA           MD                       US   10723   123100450@AIRLINE.KIWI.COM
SV7887    9/1/2020   OB    9/20/2020   WN;1076;MAF;HOU                        APRILHAVEN             NE                       US   89967   123100307@AIRLINE.KIWI.COM
SVXH2T    9/1/2020   OB     9/5/2020   WN;1680;SMF;DEN                        CODYBERG               NJ                       US   87812   123100450@AIRLINE.KIWI.COM
SVXH2T    9/1/2020   OB     9/5/2020   WN;1680;SMF;DEN                        CODYBERG               NJ                       US   87812   123100450@AIRLINE.KIWI.COM
SWMN5H    9/1/2020   OB     9/8/2020   WN;1933;ATL;LGA                        NEW EDWARDSTAD         MI                       US   26933   123101506@AIRLINE.KIWI.COM
SXNY8W    9/1/2020   OB    9/15/2020   WN;2205;MDW;DEN                        WENDYMOUTH             NC                       US   24208   123102287@AIRLINE.KIWI.COM
SYGBPS    9/1/2020   OB     9/6/2020   WN;2458;TPA;MKE                        LAKE MONICA            IL                       US   80323   123102419@AIRLINE.KIWI.COM
SZZGHJ    9/1/2020   OB     9/7/2020   WN;6894;SMF;PHX                        JEFFREYCHESTER         NC                       US   68539   123103563@AIRLINE.KIWI.COM
T44VW5    9/1/2020   OB     9/4/2020   WN;1462;HOU;ATL                        BRITTANYFORT           AR                       US   52436   123104916@AIRLINE.KIWI.COM
T4LWHV    9/1/2020   OB    12/7/2020   WN;2434;TPA;ATL;WN;3121;ATL;MDW;WN;39 CALDEIRA DE GOIAS       RIO DE JANEIRO           BR   37736   123104927@AIRLINE.KIWI.COM
T4ZZEC    9/1/2020   OB    11/5/2020   WN;1575;MCI;MCO                        BARROS                 RORAIMA                  BR   53649   123104927@AIRLINE.KIWI.COM
T5VPP2    9/1/2020   OB   10/16/2020   WN;2454;FLL;HOU                        ALEXBURGH              AR                       US   39566   123105675@AIRLINE.KIWI.COM
T5VPP2    9/1/2020   OB   10/16/2020   WN;2454;FLL;HOU                        ALEXBURGH              AR                       US   39566   123105675@AIRLINE.KIWI.COM
T6PAIN    9/2/2020   OB   10/19/2020   WN;2382;HOU;FLL                        LLOYDTON               NC                       US   19502   123105752@AIRLINE.KIWI.COM
T6PAIN    9/2/2020   OB   10/19/2020   WN;2382;HOU;FLL                        LLOYDTON               NC                       US   19502   123105752@AIRLINE.KIWI.COM
T7CNCK    9/2/2020   OB     9/5/2020   WN;2084;MCI;RSW                        LESLIESIDE             NH                       US   80683   123106313@AIRLINE.KIWI.COM
T87KZG    9/2/2020   OB     9/7/2020   WN;1328;SAN;HOU;WN;6665;HOU;SAT        GREERMOUTH             TN                       US   98646   123106511@AIRLINE.KIWI.COM
TACEJD    9/2/2020   OB    9/14/2020   WN;2540;RDU;MCO                        EAST SABRINA           OH                       US    6026   123104146@AIRLINE.KIWI.COM
TB2HY6    9/2/2020   OB     9/4/2020   WN;761;SLC;DEN                         COHENPORT              WI                       US   36085   123107424@AIRLINE.KIWI.COM
TBS8WD    9/2/2020   OB     9/7/2020   WN;6730;SLC;LAS;WN;6883;LAS;GEG        NEW JAMESLAND          KS                       US   25862   123107787@AIRLINE.KIWI.COM
TC7HXD    9/2/2020   OB   12/19/2020   WN;1735;MCO;DEN;WN;6981;DEN;OMA        HARRISTON              WV                       US   43836   123108007@AIRLINE.KIWI.COM
TCAU8O    9/2/2020   OB    9/10/2020   WN;2339;MCO;MDW                        ANDERSONTOWN           OR                       US   45570   123107721@AIRLINE.KIWI.COM
TCAU8O    9/2/2020   RT    9/14/2020   WN;2389;MDW;MCO                        ANDERSONTOWN           OR                       US   45570   123107721@AIRLINE.KIWI.COM
TCV2OK    9/2/2020   OB     9/3/2020   WN;6906;MCO;MDW;WN;269;MDW;LAX         MACKSTAD               GA                       US   52946   123108084@AIRLINE.KIWI.COM
TD6MKO    9/2/2020   OB   12/16/2020   WN;2840;OMA;DAL;WN;4016;DAL;MCO        WILLIAMSPORT           OK                       US   53929   123107996@AIRLINE.KIWI.COM
TDJIST    9/2/2020   OB     9/7/2020   WN;2030;FLL;TPA                        MICHELLEMOUTH          NV                       US   99383   123108348@AIRLINE.KIWI.COM
TF7SJX    9/2/2020   OB    12/6/2020   WN;4849;STL;HOU                        VIEJA OMAN             QUINTANA ROO             MX   65004   123108766@AIRLINE.KIWI.COM
TG4K2C    9/2/2020   OB     9/8/2020   WN;1227;ICT;STL;WN;877;STL;LAS         PORT MARCUS            VA                       US   11272   123109327@AIRLINE.KIWI.COM
TGTMIS    9/2/2020   OB     9/7/2020   WN;2030;FLL;TPA                        SAN LEONARDO DE LA M   AGUASCALIENTES           MX   49116   123109833@AIRLINE.KIWI.COM
THALF6    9/2/2020   OB     9/4/2020   WN;1671;TPA;FLL                        SAN PORFIRIO LOS ALT   HIDALGO                  MX   35206   123109833@AIRLINE.KIWI.COM
THQSPY    9/2/2020   OB   12/27/2020   WN;1987;OKC;DEN                        PORT RACHEL            NV                       US    8499   123110031@AIRLINE.KIWI.COM
THQSPY    9/2/2020   OB   12/27/2020   WN;1987;OKC;DEN                        PORT RACHEL            NV                       US    8499   123110031@AIRLINE.KIWI.COM
TIZJ2S    9/2/2020   OB     9/8/2020   WN;392;RSW;BWI                         WEST ALICIASHIRE       WI                       US    1843   123110482@AIRLINE.KIWI.COM
TJ3O85    9/2/2020   OB     9/2/2020   WN;100;LAS;SAN                         SMITHCHESTER           IN                       US   41610   123110438@AIRLINE.KIWI.COM
TJHHAD    9/2/2020   OB     9/3/2020   WN;764;MSY;ATL                         NUEVA BHUTAN           YUCATAN                  MX   46977   123110746@AIRLINE.KIWI.COM
TLUHFT    9/2/2020   OB     9/3/2020   WN;855;LAX;DEN                         ANTHONYLAND            IA                       US   89333   123111307@AIRLINE.KIWI.COM
TM5JIV    9/2/2020   OB     9/4/2020   WN;630;IAD;DEN;WN;1367;DEN;ONT         BERGSCHENHOEK          ZUIDHOLLAND              NL   41786   123111538@AIRLINE.KIWI.COM
TNBLUX    9/2/2020   OB    9/18/2020   WN;782;DTW;MDW;WN;31;MDW;TPA           HEATHERSTAD            AL ISMAILIYAH            EG   82176   123111791@AIRLINE.KIWI.COM
TOELGF    9/2/2020   OB     9/4/2020   WN;163;PNS;BNA;WN;1797;BNA;CLT         CHRISTOPHERMOUTH       MO                       US   27628   123112396@AIRLINE.KIWI.COM
TOKCTN    9/2/2020   OB    9/10/2020   WN;2106;LAS;LAX                        HOWELLSHIRE            HI                       US   34764   123112330@AIRLINE.KIWI.COM
TOKCTN    9/2/2020   OB    9/10/2020   WN;2106;LAS;LAX                        HOWELLSHIRE            HI                       US   34764   123112330@AIRLINE.KIWI.COM
TPGP5I    9/2/2020   OB     9/5/2020   WN;500;DTW;BWI;WN;184;BWI;CLT          EAST JESSE             LA                       US   83281   123112649@AIRLINE.KIWI.COM
TQBDLA    9/2/2020   OB    9/16/2020   WN;2312;LAS;OAK                        CLARKBURY              MT                       US   74493   123112803@AIRLINE.KIWI.COM
TQJ5PU    9/2/2020   OB     9/4/2020   WN;6932;BWI;CVG                        EAST BENJAMIN          NV                       US   84401   123112891@AIRLINE.KIWI.COM
TQM4RF    9/2/2020   OB     9/5/2020   WN;1714;CLE;BWI                        BEJA                   VIANA DO CASTELO         PT   10689   123112847@AIRLINE.KIWI.COM
TQPB5G    9/2/2020   OB     9/2/2020   WN;650;ABQ;LAS;WN;6396;LAS;SJC         NUEVA UCRANIA          MORELOS                  MX   77704   123113254@AIRLINE.KIWI.COM
TQX3KX    9/2/2020   OB     9/2/2020   WN;997;SJC;LAS                         ZAANDAM                SINT MAARTEN             NL   96931   123113452@AIRLINE.KIWI.COM
TS3HY6    9/2/2020   OB     9/2/2020   WN;1704;LAX;LAS                        LAKE ANNAMOUTH         NH                       US   56358   123113518@AIRLINE.KIWI.COM
TSE4I9    9/2/2020   OB     9/5/2020   WN;1019;PHX;LAS                        WESTVIEW               IA                       US    9042   123113892@AIRLINE.KIWI.COM
TSF2OA    9/2/2020   OB     9/6/2020   WN;2310;OAK;LAX                        TYLERBERG              CO                       US   32110   123113958@AIRLINE.KIWI.COM
TSF2OA    9/2/2020   RT    9/17/2020   WN;2374;LAX;OAK                        TYLERBERG              CO                       US   32110   123113958@AIRLINE.KIWI.COM
TSHR5X    9/2/2020   OB     9/3/2020   WN;1652;LAS;PHX                        RENEETOWN              AK                       US   96415   123113903@AIRLINE.KIWI.COM
TSZLLK    9/2/2020   OB    9/30/2020   WN;2355;LAS;ATL                        WEST OLIVIAPORT        NV                       US   44678   123114189@AIRLINE.KIWI.COM
TSZLLK    9/2/2020   OB    9/30/2020   WN;2355;LAS;ATL                        WEST OLIVIAPORT        NV                       US   44678   123114189@AIRLINE.KIWI.COM
TW8H4C    9/2/2020   OB     9/2/2020   WN;488;STL;BWI;WN;405;BWI;GRR          STEVENVIEW             MN                       US   99063   123116114@AIRLINE.KIWI.COM
TWMAAB    9/2/2020   OB     9/8/2020   WN;1227;DEN;ICT                        PHILLIPFORT            MD                       US   74882   123110680@AIRLINE.KIWI.COM
U25XOE    9/2/2020   OB   12/27/2020   WN;5015;BOI;LAS;WN;2076;LAS;SNA        FOSTERPORT             IA                       US   13244   123117940@AIRLINE.KIWI.COM
U25XOE    9/2/2020   OB   12/27/2020   WN;5015;BOI;LAS;WN;2076;LAS;SNA        FOSTERPORT             IA                       US   13244   123117940@AIRLINE.KIWI.COM
U38PXB    9/2/2020   OB    9/16/2020   WN;2436;PHX;BNA                        NEW LINDATON           AL                       US   49582   123118435@AIRLINE.KIWI.COM
U38PXB    9/2/2020   OB    9/16/2020   WN;2436;PHX;BNA                        NEW LINDATON           AL                       US   49582   123118435@AIRLINE.KIWI.COM




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U4ZOHF   9/2/2020   OB    9/22/2020   WN;1870;SNA;LAS                       LAKE NICOLESIDE        HI                       US   94647   123118754@AIRLINE.KIWI.COM
U5MC4K   9/2/2020   OB    9/25/2020   WN;2558;LAS;SNA                       SOUTH LISAMOUTH        PA                       US   89140   123119535@AIRLINE.KIWI.COM
U65GLE   9/2/2020   OB     9/9/2020   WN;183;MDW;ATL                        AMANDACHESTER          TN                       US   99827   123112429@AIRLINE.KIWI.COM
U6MMZA   9/2/2020   OB     9/8/2020   WN;1534;SDF;DEN;WN;720;DEN;SJD        SHIBUI GU QU           SHIZUOKA                 JP   29623   123119106@AIRLINE.KIWI.COM
U6Z2ZM   9/2/2020   OB    9/26/2020   WN;1733;LGB;DEN                       CUNNINGHAMVILLE        VA                       US   93443   123105653@AIRLINE.KIWI.COM
U9YJEL   9/2/2020   OB     9/2/2020   WN;737;OAK;SEA                        STN MHN                AZARBAYJANE SHARQI       IR   74999   123122637@AIRLINE.KIWI.COM
UDQEEE   9/2/2020   OB     9/2/2020   WN;741;SAN;BWI                        TRACIBURGH             NV                       US   73290   123126718@AIRLINE.KIWI.COM
UDWZ4W   9/2/2020   OB     9/4/2020   WN;903;SMF;SAN                        SOUTH ROBERTMOUTH      CA                       US   67415   123126542@AIRLINE.KIWI.COM
UDWZ4W   9/2/2020   RT     9/7/2020   WN;2463;SAN;SMF                       SOUTH ROBERTMOUTH      CA                       US   67415   123126542@AIRLINE.KIWI.COM
UF6PV5   9/2/2020   OB     9/2/2020   WN;269;LAX;SMF                        LAKE CYNTHIA           KY                       US   92224   123127642@AIRLINE.KIWI.COM
UF6PV5   9/2/2020   RT     9/2/2020   WN;227;SMF;LAX                        LAKE CYNTHIA           KY                       US   92224   123127642@AIRLINE.KIWI.COM
UFB4AS   9/2/2020   OB     9/5/2020   WN;982;LAX;DEN                        D TIUMEN               NIZHEGORODSKAYA OBLAST   RU   43509   123122945@AIRLINE.KIWI.COM
UMGWUV   9/2/2020   OB     2/9/2021   WN;3787;LGA;BNA                       SCOTTSIDE              BRENT                    GB    9595   123134979@AIRLINE.KIWI.COM
USKGQC   9/2/2020   OB     9/3/2020   WN;388;MSY;LAS                        NEW LINDASTAD          IA                       US   54299   123143284@AIRLINE.KIWI.COM
V37SFG   9/2/2020   OB    9/16/2020   WN;4;DAL;LAX                          NEW DANIELTON          DE                       US   59742   123152832@AIRLINE.KIWI.COM
V5SXJR   9/2/2020   OB     9/4/2020   WN;6909;TPA;MDW;WN;591;MDW;MEM        PORT MICHAEL           GA                       US   64775   123156627@AIRLINE.KIWI.COM
V5SXJR   9/2/2020   RT     9/7/2020   WN;2002;MEM;DAL;WN;2617;DAL;TPA       PORT MICHAEL           GA                       US   64775   123156627@AIRLINE.KIWI.COM
V5W4QJ   9/2/2020   OB     9/7/2020   WN;2076;DEN;OMA                       WEST LORICHESTER       MT                       US   26619   123152645@AIRLINE.KIWI.COM
V7ZDGM   9/2/2020   OB    9/15/2020   WN;3336;SEA;OAK;WN;2341;OAK;ONT       XING AN MENG SHI       JIANGSU SHENG            CN   60862   123159355@AIRLINE.KIWI.COM
VCVHXY   9/2/2020   OB    9/16/2020   WN;2544;TPA;SJU                       GONZALEZBURY           SD                       US   60164   123163722@AIRLINE.KIWI.COM
VCXN9W   9/2/2020   OB     9/8/2020   WN;1995;ATL;LGA                       ALEJANDROPORT          MT                       US   46835   123164976@AIRLINE.KIWI.COM
VCXN9W   9/2/2020   OB     9/8/2020   WN;1995;ATL;LGA                       ALEJANDROPORT          MT                       US   46835   123164976@AIRLINE.KIWI.COM
VCXV4Y   9/2/2020   OB     9/8/2020   WN;1933;ATL;LGA                       FERDINANDO NELLEMILI   MODENA                   IT   97073   123164734@AIRLINE.KIWI.COM
VD4W6P   9/2/2020   OB    9/30/2020   WN;1286;SJU;TPA                       LAMBERTCHESTER         NC                       US   75261   123163733@AIRLINE.KIWI.COM
VDFUSF   9/2/2020   OB    9/17/2020   WN;120;MSP;DEN                        LAKE JONATHANVIEW      LA                       US   46820   123166109@AIRLINE.KIWI.COM
VF9532   9/2/2020   OB     9/4/2020   WN;1119;ECP;BNA                       BROWNSHIRE             IN                       US   92960   123168342@AIRLINE.KIWI.COM
VF9532   9/2/2020   RT     9/7/2020   WN;6703;BNA;ECP                       BROWNSHIRE             IN                       US   92960   123168342@AIRLINE.KIWI.COM
VG25EG   9/2/2020   OB     9/3/2020   WN;1258;RDU;BNA;WN;287;BNA;DAL        DEBORAHFURT            MN                       US   94063   123168276@AIRLINE.KIWI.COM
VGV5MN   9/2/2020   OB     9/8/2020   WN;2040;HOU;BNA                       PORT MATTHEW           MS                       US   50688   123115663@AIRLINE.KIWI.COM
VHQAW9   9/2/2020   OB     9/8/2020   WN;907;MBJ;BWI                        LAKE ANGELASTAD        MN                       US   63305   123170960@AIRLINE.KIWI.COM
VI3H2D   9/2/2020   OB    9/10/2020   WN;1728;MDW;ABQ                       DARRYLBURY             PA                       US   30771   123170982@AIRLINE.KIWI.COM
VIXKF9   9/2/2020   OB   12/18/2020   WN;2171;LGA;MDW;WN;782;MDW;LAX        JAMESSTAD              IL                       US   10858   123171730@AIRLINE.KIWI.COM
VJJ6DC   9/2/2020   OB    9/11/2020   WN;2108;LAS;SMF                       ALANCHESTER            RI                       US   58406   123172621@AIRLINE.KIWI.COM
VK8C9E   9/2/2020   OB     9/7/2020   WN;2166;MCO;BNA;WN;1501;BNA;LGA       SOUTH CRISTIANSIDE     AL QALYUBIYAH            EG   19066   123173930@AIRLINE.KIWI.COM
VMKPKV   9/2/2020   OB     9/5/2020   WN;7;LAX;LAS                          PORT STEPHEN           ME                       US   94336   123176295@AIRLINE.KIWI.COM
VMLOLH   9/2/2020   OB    10/2/2020   WN;2406;MCO;LAS                       LAKE RENEEMOUTH        KY                       US   38070   123176482@AIRLINE.KIWI.COM
VMLOLH   9/2/2020   OB    10/2/2020   WN;2406;MCO;LAS                       LAKE RENEEMOUTH        KY                       US   38070   123176482@AIRLINE.KIWI.COM
VNN228   9/2/2020   OB    9/10/2020   WN;2541;PVD;BWI;WN;1452;BWI;DTW       SANDERSBOROUGH         HI                       US   41465   123177923@AIRLINE.KIWI.COM
VNYJPJ   9/2/2020   OB     9/8/2020   WN;1933;ATL;LGA                       MARVINVILLE            MI                       US   55690   123178407@AIRLINE.KIWI.COM
VNYJPJ   9/2/2020   OB     9/8/2020   WN;1933;ATL;LGA                       MARVINVILLE            MI                       US   55690   123178407@AIRLINE.KIWI.COM
VQHQLW   9/2/2020   OB     9/2/2020   WN;1480;SFO;LAS                       NORTH MATTHEWTON       UT                       US   39352   123180772@AIRLINE.KIWI.COM
VQR9JS   9/2/2020   OB     9/4/2020   WN;5634;SMF;MDW;WN;1555;MDW;PHL       JOELLAND               NOVA SCOTIA              CA   23281   123181443@AIRLINE.KIWI.COM
VTC7HJ   9/2/2020   OB     9/9/2020   WN;2377;FLL;BNA;WN;2377;BNA;STL       NATHANBOROUGH          IN                       US   26365   123183445@AIRLINE.KIWI.COM
VTMXJE   9/2/2020   OB     9/2/2020   WN;398;ATL;FLL                        MCKAYMOUTH             RABAT GHAWDEX            MT   69981   123184303@AIRLINE.KIWI.COM
VTMXJE   9/2/2020   OB     9/2/2020   WN;398;ATL;FLL                        MCKAYMOUTH             RABAT GHAWDEX            MT   69981   123184303@AIRLINE.KIWI.COM
VU25Y3   9/2/2020   OB   11/29/2020   WN;2789;BNA;TPA                       PORT DENNIS            KY                       US   89729   123168012@AIRLINE.KIWI.COM
VUHWSA   9/2/2020   OB     9/2/2020   WN;1194;LAS;LAX                       FARLEYBURY             TN                       US   25704   123185513@AIRLINE.KIWI.COM
VV7BDH   9/2/2020   OB    9/12/2020   WN;2384;PHX;OAK                       SOUTH JAMES            FL                       US   68136   123186448@AIRLINE.KIWI.COM
VV9UM8   9/2/2020   OB     9/3/2020   WN;982;RDU;MCO                        DAVISBERG              NJ                       US   85229   123187427@AIRLINE.KIWI.COM
VVKIM6   9/2/2020   OB    9/11/2020   WN;2311;OAK;PHX                       LISABERG               ME                       US   25948   123186448@AIRLINE.KIWI.COM
VVXCG7   9/2/2020   OB   11/29/2020   WN;4071;ALB;BWI;WN;1894;BWI;BNA       PORT BEVERLYFURT       SC                       US   35058   123187548@AIRLINE.KIWI.COM
VW6ZNG   9/2/2020   OB     9/3/2020   WN;446;DEN;ABQ                        NORTH ASHLEY           GA                       US   36933   123189110@AIRLINE.KIWI.COM
VWWCYH   9/2/2020   OB     9/4/2020   WN;821;ABQ;DEN                        WEST JAMES             MD                       US   59316   123189110@AIRLINE.KIWI.COM
W2GUI6   9/2/2020   OB    9/16/2020   WN;1130;OAK;PHX                       JUAREZBOROUGH          KS                       US   90340   123194786@AIRLINE.KIWI.COM
W2JJGV   9/2/2020   OB     9/8/2020   WN;1933;ATL;LGA                       PORT RONALD            TN                       US   83122   123194203@AIRLINE.KIWI.COM
W2L255   9/2/2020   OB    9/23/2020   WN;178;PHX;OAK                        NEW SHIRLEY            NE                       US   95271   123194775@AIRLINE.KIWI.COM
W4CCAR   9/2/2020   OB     9/2/2020   WN;990;PHX;SMF                        LAKE KELSEYSHIRE       NM                       US   20260   123196788@AIRLINE.KIWI.COM
W5W9E6   9/2/2020   OB     9/3/2020   WN;215;ELP;PHX;WN;583;PHX;LAX         NORTH MATTHEWSIDE      WV                       US   63654   123198713@AIRLINE.KIWI.COM
W69VHI   9/2/2020   OB    9/13/2020   WN;2356;BWI;PVD                       WEST TAMARA            IN                       US   53920   123199098@AIRLINE.KIWI.COM
W8P3DR   9/2/2020   OB     9/5/2020   WN;553;PHX;LAS                        CARTERHAVEN            MO                       US   49126   123202959@AIRLINE.KIWI.COM
W8YQHQ   9/2/2020   OB     9/5/2020   WN;1543;FLL;MCO;WN;722;MCO;BHM        DENISEMOUTH            NH                       US   18324   123203531@AIRLINE.KIWI.COM
WBXZFB   9/2/2020   OB    9/18/2020   WN;1130;OAK;PHX;WN;1255;PHX;MDW       RICHARDBURY            TN                       US   96261   123206611@AIRLINE.KIWI.COM
WBZWBA   9/2/2020   OB   10/27/2020   WN;1029;MHT;BWI;WN;1828;BWI;OAK       NELSONBERG             MD                       US   36066   123206743@AIRLINE.KIWI.COM
WCDEH4   9/2/2020   OB    9/18/2020   WN;170;MDW;MHT                        ANDREWFURT             VA                       US   43443   123206611@AIRLINE.KIWI.COM
WEOJ6D   9/2/2020   OB     9/8/2020   WN;1962;PHX;ABQ;WN;1962;ABQ;DAL;WN;31;ROSSI                  AIN                      FR   20992   123208272@AIRLINE.KIWI.COM
WFFLOW   9/2/2020   OB     9/3/2020   WN;875;SAN;MDW;WN;899;MDW;CVG         SCOTTFURT              MS                       US   19102   123209493@AIRLINE.KIWI.COM
WFFLOW   9/2/2020   OB     9/3/2020   WN;875;SAN;MDW;WN;899;MDW;CVG         SCOTTFURT              MS                       US   19102   123209493@AIRLINE.KIWI.COM
WFQB7T   9/2/2020   OB     9/3/2020   WN;742;LAX;OAK                        CHRISTOPHERBERG        WV                       US   93226   123209317@AIRLINE.KIWI.COM
WFQB7T   9/2/2020   OB     9/3/2020   WN;742;LAX;OAK                        CHRISTOPHERBERG        WV                       US   93226   123209317@AIRLINE.KIWI.COM
WH6IAF   9/2/2020   OB    9/12/2020   WN;1590;BOS;BWI                       LAKE MARIASTAD         VA                       US   44700   123210153@AIRLINE.KIWI.COM
WH8N7J   9/2/2020   OB     9/4/2020   WN;212;SFO;LAX                        LAKE ANDREW            AK                       US   82850   123210351@AIRLINE.KIWI.COM
WHZORL   9/2/2020   OB     9/4/2020   WN;112;HOU;MDW                        SOUTH BRITTANYBURGH    OK                       US   85691   123210780@AIRLINE.KIWI.COM
WJNNSF   9/2/2020   OB    9/21/2020   WN;555;BWI;BOS                        WEST RHONDABURGH       NJ                       US   40896   123211660@AIRLINE.KIWI.COM
WJZ5OH   9/2/2020   OB     9/3/2020   WN;1729;PHX;HOU                       WEST CRAIG             NH                       US   67492   123211418@AIRLINE.KIWI.COM
WKDPJD   9/2/2020   OB     9/3/2020   WN;976;MCO;SJU                        GRB MTYN               MAZANDARAN               IR   87477   123211924@AIRLINE.KIWI.COM
WNKDIQ   9/2/2020   OB    9/23/2020   WN;808;OAK;HNL                        EAST LAURAMOUTH        WA                       US   22835   123213057@AIRLINE.KIWI.COM
WNKDIQ   9/2/2020   OB    9/24/2020   WN;2018;HNL;ITO                       EAST LAURAMOUTH        WA                       US   22835   123213057@AIRLINE.KIWI.COM
WNQX9I   9/2/2020   OB    9/30/2020   WN;1607;BWI;CUN                       SOUTH TASHA            MO                       US   27607   123213497@AIRLINE.KIWI.COM
WNQX9I   9/2/2020   OB    9/30/2020   WN;1607;BWI;CUN                       SOUTH TASHA            MO                       US   27607   123213497@AIRLINE.KIWI.COM
WNQX9I   9/2/2020   OB    9/30/2020   WN;1607;BWI;CUN                       SOUTH TASHA            MO                       US   27607   123213497@AIRLINE.KIWI.COM
WNQX9I   9/2/2020   OB    9/30/2020   WN;1607;BWI;CUN                       SOUTH TASHA            MO                       US   27607   123213497@AIRLINE.KIWI.COM
WOCZA3   9/2/2020   OB     9/3/2020   WN;467;FLL;MSY                        LAKE SONYA             ID                       US   48799   123213552@AIRLINE.KIWI.COM
J4AZ7S   9/3/2020   OB     9/9/2020   WN;2482;SFO;MDW;WN;2610;MDW;ATL       ARIELCHESTER           ME                       US     970   123218887@AIRLINE.KIWI.COM
J5P6DG   9/3/2020   OB   12/30/2020   WN;361;SMF;DEN                        GRANTSIDE              AZ ZARQA                 JO   75728   123219404@AIRLINE.KIWI.COM
J8XX5P   9/3/2020   OB    9/18/2020   WN;2091;LAS;HOU                       JAMESBOROUGH           SD                       US   29999   123220262@AIRLINE.KIWI.COM
J8XX5P   9/3/2020   RT    9/20/2020   WN;2155;HOU;LAS                       JAMESBOROUGH           SD                       US   29999   123220262@AIRLINE.KIWI.COM
JA2C9Y   9/3/2020   OB     9/9/2020   WN;148;BUR;PHX;WN;4321;PHX;HOU        TAPIASHIRE             NJ                       US   90127   123220933@AIRLINE.KIWI.COM
JA545Y   9/3/2020   OB   12/19/2020   WN;2410;SNA;OAK;WN;2410;OAK;SEA       SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   OB   12/19/2020   WN;2410;SNA;OAK;WN;2410;OAK;SEA       SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   OB   12/19/2020   WN;2410;SNA;OAK;WN;2410;OAK;SEA       SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   OB   12/19/2020   WN;2410;SNA;OAK;WN;2410;OAK;SEA       SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   RT   12/26/2020   WN;146;SEA;OAK;WN;2380;OAK;SNA        SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   RT   12/26/2020   WN;146;SEA;OAK;WN;2380;OAK;SNA        SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   RT   12/26/2020   WN;146;SEA;OAK;WN;2380;OAK;SNA        SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JA545Y   9/3/2020   RT   12/26/2020   WN;146;SEA;OAK;WN;2380;OAK;SNA        SAN AURORA LOS BAJOS   BAJA CALIFORNIA SUR      MX   95654   123220790@AIRLINE.KIWI.COM
JB7Q87   9/3/2020   OB     9/3/2020   WN;1059;LAX;SMF                       NEW CHRISTINA          NE                       US   11545   123221230@AIRLINE.KIWI.COM
JBNG4Y   9/3/2020   OB     9/4/2020   WN;1512;ELP;LAS;WN;882;LAS;BUR        WALKERLAND             AZ                       US   19344   123221296@AIRLINE.KIWI.COM
JBQJMR   9/3/2020   OB    9/22/2020   WN;758;OGG;HNL;WN;759;HNL;OAK         NATHANPORT             IL                       US   25009   123201485@AIRLINE.KIWI.COM
JBQSFJ   9/3/2020   OB    9/23/2020   WN;2311;OAK;PHX;WN;2615;PHX;SEA       SOUTH ERICVIEW         CT                       US   62852   123201485@AIRLINE.KIWI.COM
JCPHWV   9/3/2020   OB     9/5/2020   WN;1404;LAX;MDW                       D KOSHAGACH            ORENBURGSKAYA OBLAST     RU   76997   123222044@AIRLINE.KIWI.COM
JFUANF   9/3/2020   OB     9/4/2020   WN;1741;LGA;MDW;WN;419;MDW;CMH        NOVY RUSKOV            ZILINSKY KRAJ            SK   41642   123223232@AIRLINE.KIWI.COM
JG4G6B   9/3/2020   OB     9/3/2020   WN;1054;SJC;LAX                       PARKLAND               KS                       US   17004   123223199@AIRLINE.KIWI.COM
JGQHI3   9/3/2020   OB    9/14/2020   WN;2544;TPA;SJU                       NAVARRA                CEUTA                    ES   69379   123223397@AIRLINE.KIWI.COM
JHWI8W   9/3/2020   OB    9/27/2020   WN;470;SAT;LAS                        ANDREWPORT             MS                       US   10605   123223705@AIRLINE.KIWI.COM
JKE4XV   9/3/2020   OB    9/25/2020   WN;993;SMF;ONT                        LYNCHSTAD              ID                       US   46995   123225267@AIRLINE.KIWI.COM
JLAG5P   9/3/2020   OB    9/28/2020   WN;2333;ONT;SMF                       PORT CHRISTOPHERSTAD   NJ                       US   92275   123225256@AIRLINE.KIWI.COM
JLKP6H   9/3/2020   OB    9/11/2020   WN;2383;OAK;LAX                       CLARKBURY              NC                       US   18093   123225366@AIRLINE.KIWI.COM




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JLKP6H   9/3/2020   RT    9/13/2020   WN;797;LAX;OAK                    CLARKBURY              NC                  US    18093   123225366@AIRLINE.KIWI.COM
JQ4843   9/3/2020   OB     9/3/2020   WN;1123;LAS;ELP                   CHRISTOPHERTOWN        MA                  US    36601   123228160@AIRLINE.KIWI.COM
JSWTHG   9/3/2020   OB     9/3/2020   WN;1628;HOU;ATL                   LAKE BETHANY           NY                  US    11688   123230481@AIRLINE.KIWI.COM
JSY65Z   9/3/2020   OB     9/4/2020   WN;854;ORF;BWI;WN;643;BWI;LAS     NEW TODDMOUTH          WA                  US    18628   123226752@AIRLINE.KIWI.COM
K43U4E   9/3/2020   OB     9/3/2020   WN;1597;LAX;OAK                   EAST SUZANNESTAD       WV                  US    98351   123238489@AIRLINE.KIWI.COM
K8SZ26   9/3/2020   OB     9/4/2020   WN;1409;CLT;HOU;WN;412;HOU;MEM    DAVISTON               DE                  US    46716   123246277@AIRLINE.KIWI.COM
K8SZ26   9/3/2020   RT     9/6/2020   WN;2165;MEM;MDW;WN;2165;MDW;CLT   DAVISTON               DE                  US    46716   123246277@AIRLINE.KIWI.COM
KGCKER   9/3/2020   OB     9/3/2020   WN;981;IAD;DEN;WN;981;DEN;LAX     LUISVIEW               ME                  US    78154   123254120@AIRLINE.KIWI.COM
KGI9MM   9/3/2020   OB     9/3/2020   WN;1349;CLE;BNA;WN;1666;BNA;ATL   JOHNPORT               PA                  US    50237   123254439@AIRLINE.KIWI.COM
KHC292   9/3/2020   OB     9/5/2020   WN;2078;ATL;CMH                   NEW APRILTOWN          DE                  US    64906   123256419@AIRLINE.KIWI.COM
KO4OJP   9/3/2020   OB    9/24/2020   WN;1877;BWI;BUF                   VIERHOUTEN             GELDERLAND          NL    72773   123263558@AIRLINE.KIWI.COM
KO4OJP   9/3/2020   RT    9/27/2020   WN;2377;BUF;BWI                   VIERHOUTEN             GELDERLAND          NL    72773   123263558@AIRLINE.KIWI.COM
KRLRYJ   9/3/2020   OB     9/4/2020   WN;623;DCA;MDW;WN;899;MDW;CVG     SOUTH MICHAEL          MN                  US    54360   123267628@AIRLINE.KIWI.COM
KSB3KP   9/3/2020   OB     9/3/2020   WN;986;RDU;BWI;WN;1591;BWI;LAX    MICHAELBURGH           HI                  US    30302   123269608@AIRLINE.KIWI.COM
KSCE4C   9/3/2020   OB     9/3/2020   WN;987;DAL;ABQ;WN;988;ABQ;DEN     SOUTH ERIKA            HI                  US    55503   123269883@AIRLINE.KIWI.COM
KSZWJD   9/3/2020   OB    9/23/2020   WN;2340;LAS;MDW                   NATHANIELHAVEN         MA                  US    75224   123270092@AIRLINE.KIWI.COM
KSZWJD   9/3/2020   OB    9/23/2020   WN;2340;LAS;MDW                   NATHANIELHAVEN         MA                  US    75224   123270092@AIRLINE.KIWI.COM
KV9MRK   9/3/2020   OB    9/22/2020   WN;1942;AUS;LAS                   WEAVERLAND             MI                  US    28078   123272886@AIRLINE.KIWI.COM
KXEH2R   9/3/2020   OB     9/5/2020   WN;1120;PHX;SMF                   SOUTH KATHRYNBURGH     SD                  US    48919   123276593@AIRLINE.KIWI.COM
KXEH2R   9/3/2020   RT     9/7/2020   WN;118;SMF;PHX                    SOUTH KATHRYNBURGH     SD                  US    48919   123276593@AIRLINE.KIWI.COM
KZEV52   9/3/2020   OB   12/24/2020   WN;2003;BWI;HOU;WN;2114;HOU;PNS   DAVISMOUTH             WY                  US    18274   123278661@AIRLINE.KIWI.COM
KZEV52   9/3/2020   RT     1/5/2021   WN;1314;PNS;BNA;WN;900;BNA;BWI    DAVISMOUTH             WY                  US    18274   123278661@AIRLINE.KIWI.COM
KZP6TD   9/3/2020   OB     9/4/2020   WN;1746;PHX;SAN                   SOUTH AMANDA           VA                  US    98409   123279629@AIRLINE.KIWI.COM
L2SEWZ   9/3/2020   OB     9/6/2020   WN;2125;TPA;FLL                   LORISIDE               KS                  US    95046   123280751@AIRLINE.KIWI.COM
L44T9X   9/3/2020   OB    9/28/2020   WN;2038;PHX;LAS;WN;162;LAS;BOI    NEW STEPHANIE          PA                  US    19269   123225322@AIRLINE.KIWI.COM
L44T9X   9/3/2020   OB    9/28/2020   WN;2038;PHX;LAS;WN;162;LAS;BOI    NEW STEPHANIE          PA                  US    19269   123225322@AIRLINE.KIWI.COM
L44T9X   9/3/2020   OB    9/28/2020   WN;2038;PHX;LAS;WN;162;LAS;BOI    NEW STEPHANIE          PA                  US    19269   123225322@AIRLINE.KIWI.COM
L44T9X   9/3/2020   OB    9/28/2020   WN;2038;PHX;LAS;WN;162;LAS;BOI    NEW STEPHANIE          PA                  US    19269   123225322@AIRLINE.KIWI.COM
L4F7JC   9/3/2020   OB    9/25/2020   WN;1699;BWI;ATL;WN;2627;ATL;MSY   WEST SEAN              OR                  US    27908   123283347@AIRLINE.KIWI.COM
L4F7JC   9/3/2020   RT    9/27/2020   WN;2259;MSY;BWI                   WEST SEAN              OR                  US    27908   123283347@AIRLINE.KIWI.COM
L4J7EU   9/3/2020   OB    9/22/2020   WN;1775;BNA;FLL                   LAKE JUSTINLAND        AR                  US    65059   123283721@AIRLINE.KIWI.COM
L4MVG3   9/3/2020   OB     9/4/2020   WN;239;ORF;MDW;WN;1589;MDW;DTW    STEWARTTOWN            OR                  US    35595   123283204@AIRLINE.KIWI.COM
L543UL   9/3/2020   OB     9/3/2020   WN;232;LAX;SLC                    WEST ROBERT            HI                  US    71297   123284062@AIRLINE.KIWI.COM
L5MSB6   9/3/2020   OB     9/3/2020   WN;1631;BWI;ATL                   WILLIAMSSIDE           OR                  US    72167   123285118@AIRLINE.KIWI.COM
L5T2ET   9/3/2020   OB     9/3/2020   WN;1359;SLC;LAX;WN;269;LAX;SMF    BROWNTON               NEW SOUTH WALES     AU    26305   123285646@AIRLINE.KIWI.COM
L5W5ME   9/3/2020   OB    10/2/2020   WN;1992;FLL;ATL                   NORTH AARONBURGH       ND                  US    88358   120812087.1441936@AIRLINE.KIWI.COM
L5W5ME   9/3/2020   OB    10/2/2020   WN;1992;FLL;ATL                   NORTH AARONBURGH       ND                  US    88358   120812087.1441936@AIRLINE.KIWI.COM
L5X8PY   9/3/2020   OB     9/4/2020   WN;238;MDW;ORF                    WILLIAMSTON            PA                  US    22727   123285525@AIRLINE.KIWI.COM
L6UZJT   9/3/2020   OB     9/4/2020   WN;1665;GRR;MDW;WN;591;MDW;MEM    SOUTH KRISTENCHESTER   ME                  US    11801   123286504@AIRLINE.KIWI.COM
L6UZJT   9/3/2020   RT     9/7/2020   WN;2165;MEM;MDW;WN;2134;MDW;GRR   SOUTH KRISTENCHESTER   ME                  US    11801   123286504@AIRLINE.KIWI.COM
L79CF5   9/3/2020   OB     9/3/2020   WN;1406;MSY;BNA;WN;330;BNA;LAX    JACKSONMOUTH           OK                  US    14459   123286768@AIRLINE.KIWI.COM
L7H3PT   9/3/2020   OB    9/10/2020   WN;147;BWI;SAT                    BUTLERLAND             TN                  US    95778   123286680@AIRLINE.KIWI.COM
L7H3PT   9/3/2020   RT    9/16/2020   WN;1111;SAT;BWI                   BUTLERLAND             TN                  US    95778   123286680@AIRLINE.KIWI.COM
L7LHWN   9/3/2020   OB     9/3/2020   WN;512;MCO;MDW;WN;1589;MDW;DTW    LAURASHIRE             WI                  US    48011   123286944@AIRLINE.KIWI.COM
L7N4RB   9/3/2020   OB    9/10/2020   WN;1963;IND;LAS                   EAST DAVIDSHIRE        OH                  US    43437   123287604@AIRLINE.KIWI.COM
L7N4RB   9/3/2020   OB    9/10/2020   WN;1963;IND;LAS                   EAST DAVIDSHIRE        OH                  US    43437   123287604@AIRLINE.KIWI.COM
L7UHOT   9/3/2020   OB    10/2/2020   WN;2287;OAK;LAX;WN;2287;LAX;LAS   PORT JASON             AL                  US    71027   123288066@AIRLINE.KIWI.COM
L7UHOT   9/3/2020   OB    10/2/2020   WN;2287;OAK;LAX;WN;2287;LAX;LAS   PORT JASON             AL                  US    71027   123288066@AIRLINE.KIWI.COM
L7ZCDC   9/3/2020   OB     9/4/2020   WN;1618;CLE;BWI;WN;1699;BWI;ORF   NORTH TODDFURT         KS                  US    69898   123287439@AIRLINE.KIWI.COM
L7ZCDC   9/3/2020   OB     9/4/2020   WN;1618;CLE;BWI;WN;1699;BWI;ORF   NORTH TODDFURT         KS                  US    69898   123287439@AIRLINE.KIWI.COM
L8FZSE   9/3/2020   OB    10/4/2020   WN;2360;STL;LAX                   SCOTTBURGH             OK                  US    23266   123287593@AIRLINE.KIWI.COM
L8VYMN   9/3/2020   OB     9/4/2020   WN;5262;RDU;DEN;WN;1002;DEN;LAX   YOUPRASERTCHESTER      KHON KAEN           TH     7625   123289441@AIRLINE.KIWI.COM
L92FVF   9/3/2020   OB     9/3/2020   WN;337;SAT;DAL;WN;6923;DAL;SMF    WEST CHRISTINAVIEW     VT                  US    41948   123288836@AIRLINE.KIWI.COM
L92FVF   9/3/2020   OB     9/4/2020   WN;1623;SAT;PHX;WN;1623;PHX;SMF   WEST CHRISTINAVIEW     VT                  US    41948   123288836@AIRLINE.KIWI.COM
L9BHB8   9/3/2020   OB     9/8/2020   WN;101;ATL;MDW                    KYLEBERG               ME                  US    38507   123289353@AIRLINE.KIWI.COM
L9BHB8   9/3/2020   OB     9/8/2020   WN;101;ATL;MDW                    KYLEBERG               ME                  US    38507   123289353@AIRLINE.KIWI.COM
L9WHTN   9/3/2020   OB     9/7/2020   WN;2545;MEM;ATL                   SOUTH KYLEBURY         MN                  US    89440   123290365@AIRLINE.KIWI.COM
LA5LOZ   9/3/2020   OB     9/6/2020   WN;2311;OAK;PHX                   KANEVIEW               MD                  US    38000   123291036@AIRLINE.KIWI.COM
LBTSLV   9/3/2020   OB     9/3/2020   WN;1304;PHX;LAX;WN;1080;LAX;LAS   EAST KRISTIN           ID                  US    98221   123292829@AIRLINE.KIWI.COM
LBWQRN   9/3/2020   OB     9/4/2020   WN;1606;DTW;BNA;WN;1797;BNA;CLT   PARKSBERG              AL                  US    50342   123292400@AIRLINE.KIWI.COM
LCJHLC   9/3/2020   OB    9/16/2020   WN;1079;RIC;ATL                   PETERPORT              WA                  US     2333   123292928@AIRLINE.KIWI.COM
LCTCFG   9/3/2020   OB    9/16/2020   WN;2325;ATL;DAL                   LAKE NOAHVIEW          AR                  US    24156   123292928@AIRLINE.KIWI.COM
LDK5EX   9/3/2020   OB     9/4/2020   WN;260;SLC;LAX                    JOHNHAVEN              WA                  US    22560   123293973@AIRLINE.KIWI.COM
LEMJFT   9/3/2020   OB     9/3/2020   WN;1565;SEA;DEN                   JAMESMOUTH             KS                  US    26835   123294985@AIRLINE.KIWI.COM
LFCKVP   9/3/2020   OB     9/3/2020   WN;562;SAN;LAS;WN;1861;LAS;ELP    KATHLEENSHIRE          GA                  US    60276   123296250@AIRLINE.KIWI.COM
LGKWC8   9/3/2020   OB     9/4/2020   WN;981;DEN;LAX                    NORTH LYDIA            AK                  US    73092   123297746@AIRLINE.KIWI.COM
LGKWC8   9/3/2020   OB     9/4/2020   WN;981;DEN;LAX                    NORTH LYDIA            AK                  US    73092   123297746@AIRLINE.KIWI.COM
LGPSHN   9/3/2020   OB     9/4/2020   WN;1409;CLT;HOU;WN;1410;HOU;BHM   WEST MARY              TX                  US    59146   123298153@AIRLINE.KIWI.COM
LIGF2W   9/3/2020   OB     9/7/2020   WN;849;ATL;IAD                    PORT BELINDA           OH                  US    24092   123301145@AIRLINE.KIWI.COM
LIHNDV   9/3/2020   OB    9/15/2020   WN;1286;SJU;TPA                   GORDONTON              PA                  US    71258   123300936@AIRLINE.KIWI.COM
LISV2R   9/3/2020   OB     9/4/2020   WN;838;MDW;BNA                    NORTH COURTNEYBOROUG   CO                  US    88023   123301739@AIRLINE.KIWI.COM
LJO2J7   9/3/2020   OB    9/18/2020   WN;1286;SJU;TPA                   YANGHAVEN              SC                  US    66614   123301651@AIRLINE.KIWI.COM
LKLNTR   9/3/2020   OB     9/4/2020   WN;100;TUS;LAS                    SOUTH WENDYMOUTH       IL                  US    30267   123302806@AIRLINE.KIWI.COM
LKLNTR   9/3/2020   OB     9/4/2020   WN;100;TUS;LAS                    SOUTH WENDYMOUTH       IL                  US    30267   123302806@AIRLINE.KIWI.COM
LL6CGV   9/3/2020   OB    9/13/2020   WN;4322;STL;SMF;WN;2376;SMF;ONT   ASHLEYPORT             HI                  US    37021   123304676@AIRLINE.KIWI.COM
LLNPYD   9/3/2020   OB     9/5/2020   WN;543;GEG;OAK;WN;748;OAK;LAX     POOLEBURGH             WA                  US    22072   123304335@AIRLINE.KIWI.COM
LM66TW   9/3/2020   OB     9/8/2020   WN;1933;ATL;LGA                   NEW HEATHER            GA                  US    96376   123305380@AIRLINE.KIWI.COM
LMHD6Y   9/3/2020   OB     9/4/2020   WN;348;DTW;BWI                    NEW DENISE             UT                  US      691   123305985@AIRLINE.KIWI.COM
LN96S8   9/3/2020   OB     9/6/2020   WN;2210;LAS;SAN                   PORT KRISTIN           TN                  US    73014   123306612@AIRLINE.KIWI.COM
LNK4RC   9/3/2020   OB     9/4/2020   WN;623;DCA;MDW;WN;899;MDW;CVG     BRITTANYMOUTH          RI                  US    84248   123307976@AIRLINE.KIWI.COM
LO37GU   9/3/2020   OB    9/13/2020   WN;1074;AUS;BNA                   NEW STEPHENPORT        WY                  US    14264   123308427@AIRLINE.KIWI.COM
LO9BX2   9/3/2020   OB     9/5/2020   WN;238;MDW;ORF                    NEW JENNIFER           IA                  US    94660   123308097@AIRLINE.KIWI.COM
LPBLVV   9/3/2020   OB    9/13/2020   WN;1379;LAS;MSY                   SOUTH AMANDA           NJ                  US    61134   123309725@AIRLINE.KIWI.COM
LPBLVV   9/3/2020   OB    9/13/2020   WN;1379;LAS;MSY                   SOUTH AMANDA           NJ                  US    61134   123309725@AIRLINE.KIWI.COM
LPI5CR   9/3/2020   OB     9/4/2020   WN;1600;STL;ATL                   GREVESMUHLEN           SACHSENANHALT       DE     9964   123310099@AIRLINE.KIWI.COM
LQ4CZL   9/3/2020   OB     9/6/2020   WN;966;FLL;MDW;WN;3300;MDW;DTW    D VOLOKOLAMSK          KHABAROVSKIY KRAY   RU     3163   123311859@AIRLINE.KIWI.COM
LRDWCT   9/3/2020   OB   10/28/2020   WN;979;ITO;HNL;WN;759;HNL;OAK     ANDREWTOWN             MD                  US    89171   123312695@AIRLINE.KIWI.COM
LRHJT3   9/3/2020   OB     9/4/2020   WN;1769;DTW;DEN                   NEW JOHNNYLAND         RI                  US    40667   123312717@AIRLINE.KIWI.COM
LRHJT3   9/3/2020   OB     9/4/2020   WN;40;DTW;MDW;WN;1575;MDW;LAX     NEW JOHNNYLAND         RI                  US    40667   123312717@AIRLINE.KIWI.COM
LRIYK9   9/3/2020   OB    10/5/2020   WN;808;OAK;HNL;WN;448;HNL;ITO     WEST RACHELTOWN        AR                  US    20758   123312695@AIRLINE.KIWI.COM
LS2YRP   9/3/2020   OB     9/4/2020   WN;135;TPA;ATL                    HENRYTOWN              SC                  US     9260   123313443@AIRLINE.KIWI.COM
LSBJOJ   9/3/2020   OB     9/4/2020   WN;1567;DTW;MDW;WN;6907;MDW;MCO   NORTH SANDRASIDE       LA                  US    83922   123313729@AIRLINE.KIWI.COM
LSYQW3   9/3/2020   OB     9/4/2020   WN;982;LAX;DEN                    WEST BRIANPORT         TX                  US    70760   123314752@AIRLINE.KIWI.COM
LX25X4   9/3/2020   OB     9/4/2020   WN;1591;BWI;LAX                   NORTH PAULABERG        KY                  US    62497   123318426@AIRLINE.KIWI.COM
LX25X4   9/3/2020   OB     9/4/2020   WN;1591;BWI;LAX                   NORTH PAULABERG        KY                  US    62497   123318426@AIRLINE.KIWI.COM
LX3K72   9/3/2020   OB     9/4/2020   WN;813;OAK;PHX                    WEST VERONICAPORT      WA                  US    74280   123318756@AIRLINE.KIWI.COM
LXRKFN   9/3/2020   OB     9/5/2020   WN;1651;MSP;MDW;WN;114;MDW;OMA    HERNANDEZTOWN          AL                  US    71252   123319262@AIRLINE.KIWI.COM
M2DFJQ   9/3/2020   OB     9/4/2020   WN;753;LAS;LAX                    NICHOLASBURGH          OK                  US     5969   123321319@AIRLINE.KIWI.COM
M3AO3J   9/3/2020   OB     9/8/2020   WN;864;ATL;LGA                    KRISTENMOUTH           OK                  US    83352   123321462@AIRLINE.KIWI.COM
M3MUUK   9/3/2020   OB     9/4/2020   WN;1861;ATL;MCO                   HARMONBOROUGH          ME                  US    26537   123321627@AIRLINE.KIWI.COM
M3MUUK   9/3/2020   OB     9/4/2020   WN;1861;ATL;MCO                   HARMONBOROUGH          ME                  US    26537   123321627@AIRLINE.KIWI.COM
M3UHHM   9/3/2020   OB     9/5/2020   WN;240;FLL;ATL                    ANNABERG               SC                  US    13759   123319988@AIRLINE.KIWI.COM
M3UHHM   9/3/2020   OB     9/5/2020   WN;240;FLL;ATL                    ANNABERG               SC                  US    13759   123319988@AIRLINE.KIWI.COM
M5BRXL   9/3/2020   OB     9/4/2020   WN;1149;RDU;STL                   MARTINEZPORT           KY                  US    67597   123322936@AIRLINE.KIWI.COM
M6W4IQ   9/3/2020   OB     9/4/2020   WN;756;PDX;OAK                    WILLIAMSLAND           NV                  US    46318   123323717@AIRLINE.KIWI.COM
M6W4IQ   9/3/2020   OB     9/4/2020   WN;756;PDX;OAK                    WILLIAMSLAND           NV                  US    46318   123323717@AIRLINE.KIWI.COM
M745HT   9/3/2020   OB   12/26/2020   WN;2333;DSM;LAS                   SNYDERBURY             WI                  US     3997   123324036@AIRLINE.KIWI.COM




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M7C4ND   9/3/2020   OB     9/4/2020   WN;518;SMF;SEA                    LAKE ADAMSHIRE         IA                     US    3063   123324223@AIRLINE.KIWI.COM
M7I3GK   9/3/2020   OB     9/4/2020   WN;1767;BWI;MDW;WN;1767;MDW;LAX   TIFFANYCHESTER         CO                     US   33878   123324069@AIRLINE.KIWI.COM
M7QJLR   9/3/2020   OB   11/16/2020   WN;194;BHM;MCO                    WEST AGLOIDA           BLAGOEVGRAD            BG   90256   123323959@AIRLINE.KIWI.COM
WOYH3G   9/3/2020   OB    9/28/2020   WN;106;DAL;MDW                    MURPHYSTAD             CA                     US   91588   123213728@AIRLINE.KIWI.COM
WOYH3G   9/3/2020   OB    9/28/2020   WN;106;DAL;MDW                    MURPHYSTAD             CA                     US   91588   123213728@AIRLINE.KIWI.COM
WP4R55   9/3/2020   OB    9/25/2020   WN;2601;MDW;DAL                   HINESVIEW              SD                     US   99308   123213728@AIRLINE.KIWI.COM
WP4R55   9/3/2020   OB    9/25/2020   WN;2601;MDW;DAL                   HINESVIEW              SD                     US   99308   123213728@AIRLINE.KIWI.COM
WPUGD9   9/3/2020   OB   11/13/2020   WN;858;IND;RSW                    LAKE LAURA             IL                     US   80678   123214300@AIRLINE.KIWI.COM
WPUGD9   9/3/2020   OB   11/13/2020   WN;858;IND;RSW                    LAKE LAURA             IL                     US   80678   123214300@AIRLINE.KIWI.COM
WR3K87   9/3/2020   OB   10/13/2020   WN;2544;TPA;SJU                   NORTH CALVINCHESTER    AL KARAK               JO   78576   123214894@AIRLINE.KIWI.COM
WR3K87   9/3/2020   OB   10/13/2020   WN;2544;TPA;SJU                   NORTH CALVINCHESTER    AL KARAK               JO   78576   123214894@AIRLINE.KIWI.COM
WR7MJ4   9/3/2020   OB   12/26/2020   WN;2004;BUR;PHX;WN;1416;PHX;DTW   ANDRADESHIRE           AZ                     US   98748   123214729@AIRLINE.KIWI.COM
WROAKI   9/3/2020   OB    9/25/2020   WN;101;ATL;MDW                    PORT HEATHERVILLE      WV                     US   80630   123215169@AIRLINE.KIWI.COM
WRVCMJ   9/3/2020   OB    10/9/2020   WN;1286;SJU;TPA                   LILIJABURY             STOPINU NOVADS         LV    2136   123214905@AIRLINE.KIWI.COM
WRVCMJ   9/3/2020   OB    10/9/2020   WN;1286;SJU;TPA                   LILIJABURY             STOPINU NOVADS         LV    2136   123214905@AIRLINE.KIWI.COM
WS7F5O   9/3/2020   OB    9/22/2020   WN;2124;SEA;OAK                   NEW SEANMOUTH          ND                     US   18030   123215378@AIRLINE.KIWI.COM
WS7HWT   9/3/2020   OB    10/9/2020   WN;1187;ATL;MEM                   EAST JESSICAPORT       NV                     US   26784   123215323@AIRLINE.KIWI.COM
WSC3C7   9/3/2020   OB    10/5/2020   WN;2231;MEM;ATL                   MEYERPORT              MD                     US   48125   123215147@AIRLINE.KIWI.COM
WSENND   9/3/2020   OB    9/26/2020   WN;1507;OAK;SEA                   PORT BRITTANYFURT      IA                     US   61299   123215389@AIRLINE.KIWI.COM
WSFMG3   9/3/2020   OB    9/18/2020   WN;2113;DTW;BNA                   WEST CAROLYNBOROUGH    MI                     US   49916   123215224@AIRLINE.KIWI.COM
WSR2SG   9/3/2020   OB     9/7/2020   WN;645;DEN;ABQ                    WEST DAVID             MN                     US   92720   123215422@AIRLINE.KIWI.COM
WSR2SG   9/3/2020   RT    9/10/2020   WN;415;ABQ;DEN                    WEST DAVID             MN                     US   92720   123215422@AIRLINE.KIWI.COM
WSSC2K   9/3/2020   OB    9/11/2020   WN;2330;FLL;TPA;WN;2178;TPA;LAS   PATRICKBURY            MI                     US    9769   123215653@AIRLINE.KIWI.COM
WSVEYA   9/3/2020   OB     9/8/2020   WN;2125;TPA;FLL                   GAYTON                 RI                     US   80188   123215411@AIRLINE.KIWI.COM
WSVEYA   9/3/2020   RT     9/9/2020   WN;2330;FLL;TPA                   GAYTON                 RI                     US   80188   123215411@AIRLINE.KIWI.COM
WTBRX4   9/3/2020   OB     9/5/2020   WN;1080;LAX;LAS                   VAZQUEZTON             SC                     US    6635   123215752@AIRLINE.KIWI.COM
WTQ6DU   9/3/2020   OB     9/8/2020   WN;1933;ATL;LGA                   EAST DAVIDFORT         UT                     US   87376   123215796@AIRLINE.KIWI.COM
WTQ6DU   9/3/2020   OB     9/8/2020   WN;1933;ATL;LGA                   EAST DAVIDFORT         UT                     US   87376   123215796@AIRLINE.KIWI.COM
WTRX5F   9/3/2020   OB    9/11/2020   WN;2330;FLL;TPA;WN;2178;TPA;LAS   SOUTH JAMES            WV                     US   49590   123215653@AIRLINE.KIWI.COM
WWSB2M   9/3/2020   OB     9/4/2020   WN;1737;DTW;BWI;WN;1625;BWI;ATL   WEST MARIASIDE         GA                     US   48768   123216962@AIRLINE.KIWI.COM
WXUANV   9/3/2020   OB    9/17/2020   WN;2540;ATL;RDU                   LEONARDTOWN            NY                     US   55053   123217248@AIRLINE.KIWI.COM
WXWOEN   9/3/2020   OB    9/28/2020   WN;2014;OMA;DAL                   NUEVA EGIPTO           PUEBLA                 MX    9258   123217226@AIRLINE.KIWI.COM
WYHVSA   9/3/2020   OB     9/5/2020   WN;226;MCO;STL                    LEONARDTOWN            VT                     US   55053   123217457@AIRLINE.KIWI.COM
WZAA2U   9/3/2020   OB     9/6/2020   WN;1324;SMF;LAX                   PORT HEATHERPORT       WY                     US   57530   123217611@AIRLINE.KIWI.COM
WZNPBR   9/3/2020   OB     9/7/2020   WN;2185;SJU;FLL                   LAKE NINA              ID                     US   90102   123217864@AIRLINE.KIWI.COM
WZNPBR   9/3/2020   OB     9/7/2020   WN;2185;SJU;FLL                   LAKE NINA              ID                     US   90102   123217864@AIRLINE.KIWI.COM
M84IG6   9/4/2020   OB     9/4/2020   WN;504;MSY;DCA;WN;504;DCA;ATL     PORT JOSEPH            FL                     US   11300   123324487@AIRLINE.KIWI.COM
MARS79   9/4/2020   OB     9/4/2020   WN;1347;ATL;BWI                   EAST MICHAEL           MI                     US   19863   123325158@AIRLINE.KIWI.COM
MARS79   9/4/2020   OB     9/4/2020   WN;1347;ATL;BWI                   EAST MICHAEL           MI                     US   19863   123325158@AIRLINE.KIWI.COM
MBNPF3   9/4/2020   OB     9/7/2020   WN;1314;BWI;PWM                   MCMILLANPORT           OK                     US   85865   123325818@AIRLINE.KIWI.COM
MCHNU9   9/4/2020   OB   11/20/2020   WN;181;SLC;LAS                    VIEJA REPUBLICA DE C   NAYARIT                MX   64044   123325972@AIRLINE.KIWI.COM
MEVP49   9/4/2020   OB     9/5/2020   WN;1917;LAX;DEN                   K ULIANOVSK            SVERDLOVSKAYA OBLAST   RU   53773   123326797@AIRLINE.KIWI.COM
MF2GMU   9/4/2020   OB     9/8/2020   WN;864;ATL;LGA                    NEW TIMOTHY            AR                     US   59836   123326918@AIRLINE.KIWI.COM
MF78JP   9/4/2020   OB    9/25/2020   WN;1661;BWI;LAS                   AARONBERG              NE                     US   38783   123327050@AIRLINE.KIWI.COM
MFFPD2   9/4/2020   OB     9/7/2020   WN;864;ATL;LGA                    BRADLEYMOUTH           WA                     US   28894   123327182@AIRLINE.KIWI.COM
MFIZLK   9/4/2020   OB     9/4/2020   WN;624;PDX;PHX                    CAITLINSHIRE           AL                     US   26951   123324300@AIRLINE.KIWI.COM
MFZ43I   9/4/2020   OB     9/8/2020   WN;1968;TPA;BWI;WN;798;BWI;ORF    PORT JOSHUA            NJ                     US   21617   123327556@AIRLINE.KIWI.COM
MFZ7FR   9/4/2020   OB     9/4/2020   WN;209;SFO;PHX                    EAST WHITNEY           NV                     US   37922   123327611@AIRLINE.KIWI.COM
MGESE9   9/4/2020   OB    10/7/2020   WN;2330;FLL;TPA                   EAST PHILIP            SOUTHWARK              GB   82635   123327534@AIRLINE.KIWI.COM
MGESE9   9/4/2020   OB    10/7/2020   WN;2330;FLL;TPA                   EAST PHILIP            SOUTHWARK              GB   82635   123327534@AIRLINE.KIWI.COM
MH364T   9/4/2020   OB     9/5/2020   WN;1779;MCO;MKE                   NORTH CHELSEAPORT      OH                     US   81489   123327974@AIRLINE.KIWI.COM
MH7DHT   9/4/2020   OB     9/5/2020   WN;323;CMH;MDW;WN;1192;MDW;MSP    BDRPORT                RAMALLAH               PS   14656   123327688@AIRLINE.KIWI.COM
MHD9V8   9/4/2020   OB    9/25/2020   WN;1079;RIC;ATL                   VARGASTON              IA                     US   45499   123327842@AIRLINE.KIWI.COM
MIDX2X   9/4/2020   OB     9/7/2020   WN;2564;TUL;DEN                   SOUTH VICTORIA         KY                     US   52937   123328403@AIRLINE.KIWI.COM
MIR57Q   9/4/2020   OB     9/5/2020   WN;1080;LAX;LAS                   NEW WILLIAM            MD                     US   49283   123328436@AIRLINE.KIWI.COM
MIVFAF   9/4/2020   OB     9/5/2020   WN;840;DEN;TUL                    LAKE BENJAMINBERG      OH                     US    3949   123328392@AIRLINE.KIWI.COM
MIXZKB   9/4/2020   OB     9/6/2020   WN;705;PDX;OAK                    KALMAR                 DALARNAS LAN           SE   88517   123328458@AIRLINE.KIWI.COM
MJKHH2   9/4/2020   OB     9/4/2020   WN;1666;ATL;BWI;WN;224;BWI;ROC    MICHAELSIDE            KY                     US   11243   123328865@AIRLINE.KIWI.COM
MJM23M   9/4/2020   OB     9/4/2020   WN;1319;STL;ATL                   WEST JOHN              CT                     US   53297   123328843@AIRLINE.KIWI.COM
MJXC95   9/4/2020   OB     9/4/2020   WN;661;LAX;SMF                    KELLYSIDE              GA                     US   18265   123329184@AIRLINE.KIWI.COM
MJYVMD   9/4/2020   OB     9/4/2020   WN;493;STL;DEN                    MELISSAVIEW            MD                     US   37598   123328876@AIRLINE.KIWI.COM
MJYVMD   9/4/2020   OB     9/4/2020   WN;493;STL;DEN                    MELISSAVIEW            MD                     US   37598   123328876@AIRLINE.KIWI.COM
MJYVMD   9/4/2020   OB     9/4/2020   WN;493;STL;DEN                    MELISSAVIEW            MD                     US   37598   123328876@AIRLINE.KIWI.COM
MKHSL2   9/4/2020   OB     9/5/2020   WN;1206;PHX;SAN                   EDWARDSTON             TN                     US   87797   123329426@AIRLINE.KIWI.COM
MKWZJ4   9/4/2020   OB     9/8/2020   WN;864;ATL;LGA                    WEST RICHARDPORT       RI                     US   80607   123329459@AIRLINE.KIWI.COM
MKWZJ4   9/4/2020   OB     9/8/2020   WN;864;ATL;LGA                    WEST RICHARDPORT       RI                     US   80607   123329459@AIRLINE.KIWI.COM
MLFHEP   9/4/2020   OB     9/7/2020   WN;2609;BUR;LAS;WN;2355;LAS;ATL   EMMAMOUTH              OH                     US   60049   123329503@AIRLINE.KIWI.COM
MLSUHZ   9/4/2020   OB     9/4/2020   WN;1241;PVD;BWI;WN;1699;BWI;ORF   PORT HEATHER           DE                     US    4915   123329635@AIRLINE.KIWI.COM
MM5YKB   9/4/2020   OB    1/18/2021   WN;357;PWM;BWI;WN;2546;BWI;MCO    SIMONSENBURY           MIDTJYLLAND            DK   52188   123329943@AIRLINE.KIWI.COM
MNQONE   9/4/2020   OB     9/5/2020   WN;1271;RIC;ATL                   EAST CHEYENNE          SC                     US   72426   123330559@AIRLINE.KIWI.COM
MNQONE   9/4/2020   RT     9/7/2020   WN;2180;ATL;RIC                   EAST CHEYENNE          SC                     US   72426   123330559@AIRLINE.KIWI.COM
MO2ZEM   9/4/2020   OB     9/5/2020   WN;1271;RIC;ATL                   ANDERSENBURGH          VT                     US   75161   123330559@AIRLINE.KIWI.COM
MO2ZEM   9/4/2020   RT     9/7/2020   WN;2180;ATL;RIC                   ANDERSENBURGH          VT                     US   75161   123330559@AIRLINE.KIWI.COM
MO928P   9/4/2020   OB     9/4/2020   WN;604;HOU;DCA                    NORTH DUSTINHAVEN      VA                     US   14318   123330812@AIRLINE.KIWI.COM
MOGS23   9/4/2020   OB     9/4/2020   WN;1002;DEN;LAX                   ACOSTATOWN             ME                     US   60435   123330834@AIRLINE.KIWI.COM
MOQS4B   9/4/2020   OB   12/29/2020   WN;301;BNA;DEN;WN;1188;DEN;LGB    PORT JAMESFURT         OR                     US   47486   123330823@AIRLINE.KIWI.COM
MORJ43   9/4/2020   OB     9/4/2020   WN;1784;SMF;LAX                   BROOKEMOUTH            OK                     US   31950   123330889@AIRLINE.KIWI.COM
MOVM2G   9/4/2020   OB     9/4/2020   WN;934;RDU;BWI;WN;1625;BWI;ATL    OLIVERMOUTH            IL                     US   44547   123330878@AIRLINE.KIWI.COM
MOWY5R   9/4/2020   OB   12/29/2020   WN;301;BNA;DEN;WN;1188;DEN;LGB    JONATHANFORT           MN                     US   74288   123330823@AIRLINE.KIWI.COM
MPK2FA   9/4/2020   OB    9/13/2020   WN;4999;HOU;BWI                   THOMASSEN              AKERSHUS               NO   51096   123331197@AIRLINE.KIWI.COM
MPPSL8   9/4/2020   OB    9/16/2020   WN;1935;BWI;HOU                   EAST DORTE             SJAELLAND              DK    6483   123331197@AIRLINE.KIWI.COM
MQBJAX   9/4/2020   OB     9/4/2020   WN;441;ATL;JAX                    NEW MELISSA            KY                     US   23703   123331538@AIRLINE.KIWI.COM
MQFY2R   9/4/2020   OB     9/8/2020   WN;2563;LAS;RNO                   SOUTH DANIEL           IA                     US   26487   123331516@AIRLINE.KIWI.COM
MQHM8I   9/4/2020   OB   10/23/2020   WN;3342;FLL;SJU                   PORT SETH              ID                     US   83322   123331494@AIRLINE.KIWI.COM
MQHM8I   9/4/2020   OB   10/23/2020   WN;3342;FLL;SJU                   PORT SETH              ID                     US   83322   123331494@AIRLINE.KIWI.COM
MQZMHH   9/4/2020   OB     9/8/2020   WN;1669;LAS;OAK;WN;1774;OAK;PDX   LAKE JASON             WA                     US   86638   123332000@AIRLINE.KIWI.COM
MR67K7   9/4/2020   OB     9/4/2020   WN;1272;DEN;OMA                   SOUTH TERESASIDE       ME                     US   65113   123332044@AIRLINE.KIWI.COM
MRRCSS   9/4/2020   OB    9/20/2020   WN;2072;HOU;MDW                   JEFFREYBURGH           IA                     US   91456   123332220@AIRLINE.KIWI.COM
MS6SY5   9/4/2020   OB     9/4/2020   WN;1218;PIT;ATL                   BROWNFURT              MN                     US   96841   123332517@AIRLINE.KIWI.COM
MSV3TJ   9/4/2020   OB    9/11/2020   WN;1142;DEN;BUR                   WHITEBOROUGH           VA                     US   57096   123332440@AIRLINE.KIWI.COM
MSVH7S   9/4/2020   OB    9/11/2020   WN;1699;ONT;DEN;WN;1978;DEN;TUL   LAKE KYLE              PA                     US   35562   123332682@AIRLINE.KIWI.COM
MT4QXV   9/4/2020   OB    9/20/2020   WN;1935;BWI;HOU                   AUGUSTOW               MAZOWIECKIE            PL   36107   123332770@AIRLINE.KIWI.COM
MTH2WE   9/4/2020   OB    9/13/2020   WN;4999;HOU;BWI                   SOUTH GREGORY          REPUBLIKA SRPSKA       BA   20911   123332770@AIRLINE.KIWI.COM
MTWTQW   9/4/2020   OB     9/5/2020   WN;544;OAK;SNA;WN;1289;SNA;LAS    ASHLEYLAND             MD                     US   58182   123332924@AIRLINE.KIWI.COM
MU52QD   9/4/2020   OB     9/7/2020   WN;1236;HOU;JAX                   NEW NANCY              AK                     US   73724   123333254@AIRLINE.KIWI.COM
MU7ICU   9/4/2020   OB     9/4/2020   WN;582;MDW;LGA;WN;582;LGA;ATL     JOHNSIDE               AK                     US   85065   123333177@AIRLINE.KIWI.COM
MU7J7G   9/4/2020   OB    9/10/2020   WN;2325;OMA;LAS;WN;1699;LAS;ONT   LAKE MICHELLESHIRE     AL                     US   40036   123333243@AIRLINE.KIWI.COM
MU7J7G   9/4/2020   OB    9/10/2020   WN;2325;OMA;LAS;WN;1699;LAS;ONT   LAKE MICHELLESHIRE     AL                     US   40036   123333243@AIRLINE.KIWI.COM
MV8V8J   9/4/2020   OB     9/7/2020   WN;1807;PHX;SFO                   SOUTH RYAN             MO                     US   77114   123333738@AIRLINE.KIWI.COM
MVEIBL   9/4/2020   OB    9/13/2020   WN;2567;ONT;LAS;WN;710;LAS;OMA    AMBERPORT              NJ                     US   55124   123333507@AIRLINE.KIWI.COM
MVEIBL   9/4/2020   OB    9/13/2020   WN;2567;ONT;LAS;WN;710;LAS;OMA    AMBERPORT              NJ                     US   55124   123333507@AIRLINE.KIWI.COM
MVQ26G   9/4/2020   OB     9/4/2020   WN;325;SLC;DEN                    LAKE NIKOLAI           SAAREMAA               EE   31809   123334090@AIRLINE.KIWI.COM
MWEJZL   9/4/2020   OB     9/4/2020   WN;982;LAX;DEN                    NEW AMANDA             MA                     US   80851   123334145@AIRLINE.KIWI.COM
MWGWO5   9/4/2020   OB     9/4/2020   WN;430;GSP;BWI;WN;1591;BWI;LAX    LAKE CATHERINE         PA                     US   63874   123334233@AIRLINE.KIWI.COM
MWPXWO   9/4/2020   OB    9/25/2020   WN;151;CLE;MDW                    SMITHFORT              OH                     US   85216   123334442@AIRLINE.KIWI.COM
MY923D   9/4/2020   OB     9/4/2020   WN;1614;FLL;BWI;WN;845;BWI;LAX    WEST JENNIFER          KS                     US   62423   123334816@AIRLINE.KIWI.COM
MYT5DI   9/4/2020   OB     9/4/2020   WN;1861;LAS;ELP                   JONATHANTON            ND                     US   63133   123335080@AIRLINE.KIWI.COM




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MZRDJB    9/4/2020   OB     9/4/2020   WN;293;ATL;BWI;WN;1172;BWI;BUF        NEW CHARLES            VA                    US   99873   123335432@AIRLINE.KIWI.COM
N2HIO3    9/4/2020   OB     9/6/2020   WN;705;PDX;OAK                        UPPSALA                GAVLEBORGS LAN        SE   51769   123335839@AIRLINE.KIWI.COM
N2OBGE    9/4/2020   OB     9/7/2020   WN;1590;BWI;CVG                       OLABERG                HORDALAND             NO    5245   123335883@AIRLINE.KIWI.COM
N3LSWE    9/4/2020   OB     9/4/2020   WN;1784;SMF;LAX                       NORTH MICHELLE         NH                    US   52956   123336444@AIRLINE.KIWI.COM
N78VVJ    9/4/2020   OB    9/18/2020   WN;1150;OKC;LAS                       NORTH ANNBOROUGH       NJ                    US   29730   123339062@AIRLINE.KIWI.COM
N7FZOR    9/4/2020   OB     9/4/2020   WN;213;LAX;SMF                        LAKE EMILYHAVEN        AK                    US   48737   123339524@AIRLINE.KIWI.COM
N8PR3I    9/4/2020   OB     9/4/2020   WN;1005;LAX;ABQ                       SAN MIGUEL ANGEL LOS   MORELOS               MX   14457   123340272@AIRLINE.KIWI.COM
N9NXNE    9/4/2020   OB     9/5/2020   WN;6214;CHS;DAL;WN;1089;DAL;OAK       MCMILLANHAVEN          NY                    US   48202   123341152@AIRLINE.KIWI.COM
NA6PF8    9/4/2020   OB     9/5/2020   WN;241;CHS;BWI                        LAKE JAMESMOUTH        IL                    US   22235   123341372@AIRLINE.KIWI.COM
NA6PF8    9/4/2020   OB     9/6/2020   WN;51;BWI;PHX;WN;2554;PHX;OAK         LAKE JAMESMOUTH        IL                    US   22235   123341372@AIRLINE.KIWI.COM
NBFZAY    9/4/2020   OB     9/4/2020   WN;1708;MCO;DEN;WN;1449;DEN;LAX       DONALDSONSIDE          MI                    US   90080   123342714@AIRLINE.KIWI.COM
NG2Z9J    9/4/2020   OB     9/9/2020   WN;1968;BWI;CVG                       HAMPTONVILLE           AK                    US   98950   123346663@AIRLINE.KIWI.COM
NH62WZ    9/4/2020   OB    9/13/2020   WN;1645;MDW;PHL                       ELLISFURT              UT                    US   32909   123348599@AIRLINE.KIWI.COM
NHZREW    9/4/2020   OB    9/17/2020   WN;2373;PHX;LAX                       DANIELMOUTH            UT                    US   11262   123349050@AIRLINE.KIWI.COM
NI538G    9/4/2020   OB    9/18/2020   WN;2468;PHX;HOU                       EAST SANDRAMOUTH       IN                    US   35141   123349182@AIRLINE.KIWI.COM
NIALTE    9/4/2020   OB    9/11/2020   WN;1748;PBI;BWI                       SOUTH BILLYFORT        KS                    US   68893   123349600@AIRLINE.KIWI.COM
NJ7CWN    9/4/2020   OB     9/4/2020   WN;1787;ATL;AUS;WN;1031;AUS;LAX       PACEBERG               OK                    US   55489   123350733@AIRLINE.KIWI.COM
NMQVO3    9/4/2020   OB     9/8/2020   WN;1995;ATL;LGA                       APRILVIEW              ME                    US   90243   123354968@AIRLINE.KIWI.COM
NPXFHC    9/4/2020   OB     9/4/2020   WN;582;LGA;ATL                        HUNTERHAVEN            AK                    US   29855   123358994@AIRLINE.KIWI.COM
NPXFHC    9/4/2020   OB     9/4/2020   WN;582;LGA;ATL                        HUNTERHAVEN            AK                    US   29855   123358994@AIRLINE.KIWI.COM
NQ4OOR    9/4/2020   OB     9/7/2020   WN;1995;ATL;LGA                       SOUTH SCOTTTON         FL                    US   34000   123358994@AIRLINE.KIWI.COM
NQ4OOR    9/4/2020   OB     9/7/2020   WN;1995;ATL;LGA                       SOUTH SCOTTTON         FL                    US   34000   123358994@AIRLINE.KIWI.COM
NVFRFL    9/4/2020   OB     9/9/2020   WN;2065;MSY;BNA                       SOUTH EVELYNFORT       ME                    US   75356   123365561@AIRLINE.KIWI.COM
NVFRFL    9/4/2020   RT    9/15/2020   WN;2113;BNA;MSY                       SOUTH EVELYNFORT       ME                    US   75356   123365561@AIRLINE.KIWI.COM
NX2GTC    9/4/2020   OB    9/10/2020   WN;1582;PIT;BNA                       SOUTH SARA             IA                    US   51020   123032514.1442742@AIRLINE.KIWI.COM
NXNGKA    9/4/2020   OB     9/4/2020   WN;6626;IND;ATL                       NEW JESSICA            TX                    US   39131   123368366@AIRLINE.KIWI.COM
NXNGKA    9/4/2020   RT     9/6/2020   WN;2257;ATL;IND                       NEW JESSICA            TX                    US   39131   123368366@AIRLINE.KIWI.COM
NY4HU2    9/4/2020   OB     9/4/2020   WN;408;ATL;DAL;WN;531;DAL;LAX         LAKE JOSHUAFORT        VT                    US   97111   123368377@AIRLINE.KIWI.COM
NY8JAR    9/4/2020   OB     9/5/2020   WN;1424;MEM;MCO                       SOUTH ELIZABETHMOUTH   VT                    US   90684   123368487@AIRLINE.KIWI.COM
O2KI6M    9/4/2020   OB     9/4/2020   WN;525;IND;BWI;WN;1773;BWI;BHM        EAST CRAIG             MD                    US   16784   123370951@AIRLINE.KIWI.COM
O5IFZI    9/4/2020   OB    9/22/2020   WN;2420;RDU;BWI;WN;1877;BWI;BUF       CARLOSBERG             ID                    US   22066   123375571@AIRLINE.KIWI.COM
O8LKLG    9/4/2020   OB     9/4/2020   WN;971;MDW;SAN                        LINSIDE                MI                    US   92199   123381654@AIRLINE.KIWI.COM
O9UDNO    9/4/2020   OB     9/4/2020   WN;1111;SJU;MCO                       BREWERTON              NV                    US   55287   123382468@AIRLINE.KIWI.COM
OCAW4H    9/4/2020   OB     9/4/2020   WN;970;IAD;ATL                        DANIELSVIEW            NC                    US   14459   123384371@AIRLINE.KIWI.COM
OCUBQ8    9/4/2020   OB     9/4/2020   WN;1625;BWI;ATL                       NEW JENNIFERSIDE       NE                    US   50127   123383821@AIRLINE.KIWI.COM
OCWA3N    9/4/2020   OB     9/5/2020   WN;1704;BWI;LAX                       LAKE LORIVILLE         OH                    US   55370   123383348@AIRLINE.KIWI.COM
OCWA3N    9/4/2020   OB     9/5/2020   WN;1704;BWI;LAX                       LAKE LORIVILLE         OH                    US   55370   123383348@AIRLINE.KIWI.COM
OCZ33D    9/4/2020   OB     9/4/2020   WN;1136;LGA;HOU                       HEPBURNINGSMOUTH       NORTH ISLAND          NZ   35535   123384118@AIRLINE.KIWI.COM
OEZ9A8    9/4/2020   OB    9/11/2020   WN;1593;BWI;HOU                       MILLERSHIRE            KY                    US   32119   123388980@AIRLINE.KIWI.COM
OEZ9A8    9/4/2020   OB    9/11/2020   WN;1593;BWI;HOU                       MILLERSHIRE            KY                    US   32119   123388980@AIRLINE.KIWI.COM
OF7IYK    9/4/2020   OB    9/22/2020   WN;1899;ATL;DEN                       NORTH COREY            UT                    US   51156   123389222@AIRLINE.KIWI.COM
OFLK3I    9/4/2020   OB     9/7/2020   WN;6656;PHL;MDW                       NEW AYGUTALP           SAKARYA               TR   39451   123388892@AIRLINE.KIWI.COM
OG9R7G    9/4/2020   OB     9/4/2020   WN;1606;DTW;BNA                       NEW JUSTIN             MT                    US   83482   123390190@AIRLINE.KIWI.COM
OHKQFU    9/4/2020   OB     9/4/2020   WN;1111;SJU;MCO                       NEW ALEXIS             KS                    US   82847   123391378@AIRLINE.KIWI.COM
OHKQFU    9/4/2020   OB     9/4/2020   WN;1111;SJU;MCO                       NEW ALEXIS             KS                    US   82847   123391378@AIRLINE.KIWI.COM
OJBM98    9/4/2020   OB     9/5/2020   WN;121;ATL;TPA                        JASONBERG              TN                    US   50898   123393248@AIRLINE.KIWI.COM
OL5VJJ    9/4/2020   OB     9/8/2020   WN;1933;ATL;LGA                       MILLSBOROUGH           LA                    US   47427   123395184@AIRLINE.KIWI.COM
OLYN9J    9/4/2020   OB     9/4/2020   WN;1625;BWI;ATL                       NORTH MELANIESHIRE     PA                    US   26971   123396845@AIRLINE.KIWI.COM
OLYN9J    9/4/2020   OB     9/4/2020   WN;1625;BWI;ATL                       NORTH MELANIESHIRE     PA                    US   26971   123396845@AIRLINE.KIWI.COM
ON87JB    9/4/2020   OB     9/4/2020   WN;1383;PHX;SEA                       SOUTH ALLISON          LEMESOS               CY   16352   123398077@AIRLINE.KIWI.COM
ON87JB    9/4/2020   OB     9/4/2020   WN;1383;PHX;SEA                       SOUTH ALLISON          LEMESOS               CY   16352   123398077@AIRLINE.KIWI.COM
OOOV2R    9/4/2020   OB    9/19/2020   WN;928;ATL;FLL                        SOUTH ANNETTEVIEW      MA                    US   29304   123399496@AIRLINE.KIWI.COM
OP2CNZ    9/4/2020   OB     9/4/2020   WN;733;DTW;STL;WN;1064;STL;LAX        HODGESMOUTH            OR                    US   12459   123400761@AIRLINE.KIWI.COM
OP6BBV    9/4/2020   OB     9/5/2020   WN;1120;PHX;SMF                       STEVENSBURY            OR                    US   31026   123400607@AIRLINE.KIWI.COM
OPUDL8    9/4/2020   OB   10/11/2020   WN;4456;PHX;HOU                       ANDERSONHAVEN          OH                    US   47757   123401883@AIRLINE.KIWI.COM
OQ7XGB    9/4/2020   OB     9/4/2020   WN;504;DCA;ATL                        SOUTH TONYAVIEW        MT                    US   88091   123401102@AIRLINE.KIWI.COM
ORCZWI    9/4/2020   OB    9/24/2020   WN;415;DAL;AUS;WN;415;AUS;OAK         PORT COREYFORT         RI                    US   39355   123402719@AIRLINE.KIWI.COM
ORCZWI    9/4/2020   RT    9/28/2020   WN;159;OAK;DAL                        PORT COREYFORT         RI                    US   39355   123402719@AIRLINE.KIWI.COM
OS2LHE    9/4/2020   OB     9/5/2020   WN;33;DCA;FLL                         HOWARDFURT             NH                    US    3852   123404380@AIRLINE.KIWI.COM
OS3DUL    9/4/2020   OB     9/4/2020   WN;1347;ATL;BWI                       RONALDCHESTER          CO                    US   55175   123403533@AIRLINE.KIWI.COM
OS9VN2    9/4/2020   OB     9/5/2020   WN;535;LAS;LAX                        TURNERPORT             NY                    US   77098   123403896@AIRLINE.KIWI.COM
OSF23Q    9/4/2020   OB     9/4/2020   WN;1175;ATL;MDW                       LAKE JENNIFERFORT      IL                    US   42103   123404710@AIRLINE.KIWI.COM
OT6K5O    9/4/2020   OB     9/9/2020   WN;2337;PBI;BWI;WN;2597;BWI;BDL       KARENLAND              AR                    US   74194   123405282@AIRLINE.KIWI.COM
OUJ4KU    9/4/2020   OB     9/4/2020   WN;662;OAK;SAN                        DAVISTOWN              MI                    US   46701   123406800@AIRLINE.KIWI.COM
OUVDLN    9/4/2020   OB     9/5/2020   WN;1797;MSP;PHX                       NUEVA ECUADOR          GUERRERO              MX   72160   123407240@AIRLINE.KIWI.COM
OXJHBV    9/4/2020   OB     9/5/2020   WN;958;MEM;ATL                        WEST TERESA            VT                    US   83169   123410980@AIRLINE.KIWI.COM
OZARND    9/4/2020   OB    9/13/2020   WN;710;ELP;LAS                        STEPHENSSIDE           MT                    US   50660   123412894@AIRLINE.KIWI.COM
OZPWTB    9/4/2020   OB     9/5/2020   WN;1175;BWI;JAX;WN;1175;JAX;ATL       PORT JOHN              MT                    US   90095   123413730@AIRLINE.KIWI.COM
P22YD3    9/4/2020   OB     9/5/2020   WN;509;LBB;DAL;WN;1034;DAL;MSY        NEW JENNIFER           WA                    US   60580   123413708@AIRLINE.KIWI.COM
P2IMKI    9/4/2020   OB     9/4/2020   WN;504;DCA;ATL                        NORTH CHRISTOPHER      DE                    US   17912   123414280@AIRLINE.KIWI.COM
P2U3H8    9/4/2020   OB     9/4/2020   WN;232;ABQ;LAX;WN;1059;LAX;SMF        NORTH CAROLINE         WV                    US   15511   123411035@AIRLINE.KIWI.COM
P5LMV2    9/4/2020   OB     9/5/2020   WN;970;ATL;RSW                        VICTORIAFURT           IN                    US   69233   123417844@AIRLINE.KIWI.COM
P6IQFZ    9/4/2020   OB     9/8/2020   WN;2607;ATL;FLL                       LIUBURGH               SC                    US   87528   123418141@AIRLINE.KIWI.COM
P6UR4W    9/4/2020   OB     9/4/2020   WN;269;LAX;SMF                        EAST RYAN              TX                    US   58427   123419021@AIRLINE.KIWI.COM
P74AQE    9/4/2020   OB     9/4/2020   WN;269;LAX;SMF                        PORT CHRISTIANBURY     NE                    US   44644   123419021@AIRLINE.KIWI.COM
P8EBRD    9/4/2020   OB    10/2/2020   WN;2107;SMF;LAS                       MILLERTOWN             FL                    US   80325   123420143@AIRLINE.KIWI.COM
P8VDU4    9/4/2020   OB     9/5/2020   WN;1623;ATL;BWI;WN;1607;BWI;CUN       WEST NICOLE            WY                    US   17949   123420979@AIRLINE.KIWI.COM
P8W4Q9    9/4/2020   OB     9/6/2020   WN;1995;ATL;LGA                       EAST JOSEPH            HI                    US   48586   123420671@AIRLINE.KIWI.COM
P9FJMF    9/4/2020   OB     9/5/2020   WN;345;LAX;PHX;WN;6952;PHX;LIT        JOHNSONCHESTER         SD                    US   97557   123422035@AIRLINE.KIWI.COM
P9FJMF    9/4/2020   OB     9/5/2020   WN;345;LAX;PHX;WN;6952;PHX;LIT        JOHNSONCHESTER         SD                    US   97557   123422035@AIRLINE.KIWI.COM
P9QFRJ    9/4/2020   OB    9/16/2020   WN;2069;LAX;DAL                       VALERIECHESTER         CT                    US    9216   123421881@AIRLINE.KIWI.COM
PAYC4U    9/4/2020   OB     9/5/2020   WN;498;ONT;LAS                        EAST ANAPORT           VA                    US   41524   123423322@AIRLINE.KIWI.COM
PB5WDX    9/4/2020   OB     9/6/2020   WN;2498;SLC;OAK;WN;1563;OAK;PDX       EAST KELLYBERG         AK                    US   27822   123423575@AIRLINE.KIWI.COM
PBYCKJ    9/4/2020   OB     9/8/2020   WN;1075;ATL;MDW                       BRIANTOWN              IL                    US   22311   123424191@AIRLINE.KIWI.COM
PCFPA9    9/4/2020   OB    9/10/2020   WN;1882;MAF;DAL;WN;2003;DAL;STL       WEST DANA              AZ                    US   44778   123424092@AIRLINE.KIWI.COM
PCUWK9    9/4/2020   OB    9/16/2020   WN;2287;OAK;LAX                       NEW DANIELLE           HI                    US   66169   123424169@AIRLINE.KIWI.COM
PDM8DM    9/4/2020   OB     9/5/2020   WN;1362;LGA;MDW;WN;1340;MDW;PIT       RODRIGUEZPORT          TN                    US   41846   123425929@AIRLINE.KIWI.COM
PDVQUM    9/4/2020   OB    9/12/2020   WN;2497;SAN;DEN                       EAST CAMERON           WI                    US   97604   123425676@AIRLINE.KIWI.COM
PDVQUM    9/4/2020   OB    9/12/2020   WN;2497;SAN;DEN                       EAST CAMERON           WI                    US   97604   123425676@AIRLINE.KIWI.COM
PE8CAX    9/4/2020   OB     9/5/2020   WN;463;PHX;PIT                        WILLIAMSVIEW           KY                    US   54247   123425786@AIRLINE.KIWI.COM
PE969Z    9/4/2020   OB    9/23/2020   WN;2498;LGB;PHX                       CANNONHAVEN            NE                    US   91678   123426193@AIRLINE.KIWI.COM
PEJLXM    9/4/2020   OB     9/5/2020   WN;126;BNA;OKC                        WEST CURTIS            HI                    US   70710   123426039@AIRLINE.KIWI.COM
PELNAT    9/4/2020   OB    11/4/2020   WN;1215;LAS;BOI                       P SOSVA KHANT          VOLOGODSKAYA OBLAST   RU   17529   123426578@AIRLINE.KIWI.COM
PELNAT    9/4/2020   OB    11/4/2020   WN;1215;LAS;BOI                       P SOSVA KHANT          VOLOGODSKAYA OBLAST   RU   17529   123426578@AIRLINE.KIWI.COM
PFLV2N    9/4/2020   OB     9/4/2020   WN;1148;PHX;PDX                       NORTH KAREN            MA                    US   35737   121376673.1443383@AIRLINE.KIWI.COM
PHY4DD    9/4/2020   OB   12/19/2020   WN;3245;LAX;DAL;WN;474;DAL;PNS        NEW RICHARDSHIRE       TN                    US   88693   123428932@AIRLINE.KIWI.COM
PIITVE    9/4/2020   OB     9/5/2020   WN;61;MDW;ATL                         LAKE DISSAMAANFORT     CHACHOENGSAO          TH   69953   123429504@AIRLINE.KIWI.COM
PIITVE    9/4/2020   OB     9/5/2020   WN;61;MDW;ATL                         LAKE DISSAMAANFORT     CHACHOENGSAO          TH   69953   123429504@AIRLINE.KIWI.COM
PJO6T2    9/4/2020   OB     9/5/2020   WN;348;DTW;BWI;WN;1175;BWI;JAX;WN;1175PORT CRYSTAL           MD                    US     501   123430252@AIRLINE.KIWI.COM
PKEVEX    9/4/2020   OB     9/7/2020   WN;6844;LAS;SLC                       PORT CARRIE            RI                    US    5284   123430769@AIRLINE.KIWI.COM
PNPPY7    9/4/2020   OB    9/17/2020   WN;1286;SJU;TPA                       NICOLETOWN             MS                    US   18900   123432177@AIRLINE.KIWI.COM
PNPPY7    9/4/2020   OB    9/17/2020   WN;1286;SJU;TPA                       NICOLETOWN             MS                    US   18900   123432177@AIRLINE.KIWI.COM
PNYNZ3    9/4/2020   OB     9/7/2020   WN;1449;LAX;PHX                       EAST DEVIN             MT                    US   20887   123432507@AIRLINE.KIWI.COM
PONZIJ    9/4/2020   OB    9/13/2020   WN;2123;MDW;HOU                       GMUND IN KARNTEN       BURGENLAND            AT   26389   123432452@AIRLINE.KIWI.COM
POQ3ML    9/4/2020   OB    9/27/2020   WN;1462;PHX;LGB                       RANDALLBURY            CT                    US   41084   123432408@AIRLINE.KIWI.COM
PRON3X    9/5/2020   OB     9/5/2020   WN;1077;MSP;MDW;WN;1825;MDW;CMH       NORTH KENDRAMOUTH      CO                    US    3218   123433607@AIRLINE.KIWI.COM
PRTNHL    9/5/2020   OB     9/5/2020   WN;553;PHX;LAS                        NEW CHERYLLAND         TN                    US   90886   123433640@AIRLINE.KIWI.COM




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PRTNHL   9/5/2020   OB     9/5/2020   WN;553;PHX;LAS                    NEW CHERYLLAND         TN                   US   90886   123433640@AIRLINE.KIWI.COM
PSKQT9   9/5/2020   OB     9/5/2020   WN;338;CVG;MDW;WN;37;MDW;TPA      SOUTH LINDSAYSHIRE     MT                   US   64410   123433926@AIRLINE.KIWI.COM
PT4BQG   9/5/2020   OB     9/5/2020   WN;1235;ATL;MCI                   TYLERMOUTH             NM                   US   63136   123434212@AIRLINE.KIWI.COM
PU3YZQ   9/5/2020   OB     9/5/2020   WN;1349;CLE;BNA;WN;1858;BNA;ATL   ALYSSAVIEW             DE                   US   14518   123434509@AIRLINE.KIWI.COM
PU3YZQ   9/5/2020   OB     9/5/2020   WN;1349;CLE;BNA;WN;1858;BNA;ATL   ALYSSAVIEW             DE                   US   14518   123434509@AIRLINE.KIWI.COM
PUP4FM   9/5/2020   OB     9/5/2020   WN;27;MCO;ATL                     HAMILTONBURY           WV                   US   37565   123434663@AIRLINE.KIWI.COM
PUP4FM   9/5/2020   OB     9/5/2020   WN;27;MCO;ATL                     HAMILTONBURY           WV                   US   37565   123434663@AIRLINE.KIWI.COM
PUP4FM   9/5/2020   OB     9/5/2020   WN;27;MCO;ATL                     HAMILTONBURY           WV                   US   37565   123434663@AIRLINE.KIWI.COM
PUP4FM   9/5/2020   OB     9/5/2020   WN;27;MCO;ATL                     HAMILTONBURY           WV                   US   37565   123434663@AIRLINE.KIWI.COM
PVBYYE   9/5/2020   OB     9/7/2020   WN;2405;SJU;BWI;WN;798;BWI;ORF    ASENSOPORT             GREATER ACCRA        GH   61722   123434872@AIRLINE.KIWI.COM
PW3ZGF   9/5/2020   OB     9/7/2020   WN;6789;SDF;DEN                   EAST OLIVIA            HI                   US   88840   123435092@AIRLINE.KIWI.COM
PW3ZGF   9/5/2020   OB     9/7/2020   WN;6789;SDF;DEN                   EAST OLIVIA            HI                   US   88840   123435092@AIRLINE.KIWI.COM
PYTXVX   9/5/2020   OB    9/18/2020   WN;762;BUR;SJC                    PORT STEVEN            GA                   US   75386   123435774@AIRLINE.KIWI.COM
PYTXVX   9/5/2020   RT    9/20/2020   WN;2248;SJC;BUR                   PORT STEVEN            GA                   US   75386   123435774@AIRLINE.KIWI.COM
PZCB5B   9/5/2020   OB     9/5/2020   WN;446;DEN;ABQ                    WENCHEFJORD            NORDLAND             NO   19598   123435730@AIRLINE.KIWI.COM
Q4WAUC   9/5/2020   OB     9/8/2020   WN;2321;PHX;SMF                   SOUTH JESSICAHAVEN     PA                   US   58842   123436280@AIRLINE.KIWI.COM
Q6AP6R   9/5/2020   OB     9/8/2020   WN;2321;PHX;SMF                   GILBERTSIDE            SC                   US   13678   123436654@AIRLINE.KIWI.COM
Q6RTQJ   9/5/2020   OB     9/5/2020   WN;2017;LAX;DAL;WN;33;DAL;HOU     HICKSBERG              ME                   US   18976   123436764@AIRLINE.KIWI.COM
Q74H8I   9/5/2020   OB    9/15/2020   WN;2367;LAX;PHX                   JAREDTON               NH                   US   56426   123436841@AIRLINE.KIWI.COM
Q7INDK   9/5/2020   OB   10/13/2020   WN;1447;SMF;LAS                   SOUTH MEGAN            NC                   US   63462   123436830@AIRLINE.KIWI.COM
Q7INDK   9/5/2020   OB   10/13/2020   WN;1447;SMF;LAS                   SOUTH MEGAN            NC                   US   63462   123436830@AIRLINE.KIWI.COM
Q7INDK   9/5/2020   OB   10/13/2020   WN;1447;SMF;LAS                   SOUTH MEGAN            NC                   US   63462   123436830@AIRLINE.KIWI.COM
Q7INDK   9/5/2020   OB   10/13/2020   WN;1447;SMF;LAS                   SOUTH MEGAN            NC                   US   63462   123436830@AIRLINE.KIWI.COM
Q7MKHM   9/5/2020   OB     9/5/2020   WN;1416;SJC;LAS                   EAST JESSICA           ME                   US   79854   123437160@AIRLINE.KIWI.COM
Q8BMEP   9/5/2020   OB     9/8/2020   WN;1698;PHX;LGB;WN;2186;LGB;SMF   NORTH BONNIE           RI                   US   85265   123437380@AIRLINE.KIWI.COM
QAG3KJ   9/5/2020   OB    9/28/2020   WN;2512;SMF;LAS                   EAST BENJAMINTON       SC                   US   31292   123437985@AIRLINE.KIWI.COM
QAG3KJ   9/5/2020   OB    9/28/2020   WN;2512;SMF;LAS                   EAST BENJAMINTON       SC                   US   31292   123437985@AIRLINE.KIWI.COM
QD8IZA   9/5/2020   OB     9/5/2020   WN;1480;SFO;LAS                   EAST LAUREN            MN                   US   33703   123438568@AIRLINE.KIWI.COM
QD8IZA   9/5/2020   OB     9/5/2020   WN;1480;SFO;LAS                   EAST LAUREN            MN                   US   33703   123438568@AIRLINE.KIWI.COM
QDQWJM   9/5/2020   OB     9/5/2020   WN;318;DAL;STL;WN;318;STL;DTW     HARRYMOUTH             ND                   US   95868   123438711@AIRLINE.KIWI.COM
QDR4PW   9/5/2020   OB   11/25/2020   WN;4869;CLT;DAL                   EAST REBECCAVIEW       NM                   US   13912   123438645@AIRLINE.KIWI.COM
QDY3QJ   9/5/2020   OB    9/11/2020   WN;1178;ATL;MDW;WN;596;MDW;OMA    WEST JASMINEMOUTH      WV                   US   61108   123438678@AIRLINE.KIWI.COM
QEN8XL   9/5/2020   OB     9/5/2020   WN;961;ORF;BWI;WN;1614;BWI;BOS    SCOTTSTAD              MT                   US   95128   123438854@AIRLINE.KIWI.COM
QFA484   9/5/2020   OB     9/8/2020   WN;864;ATL;LGA                    EAST SAVANNAH          ME                   US   30276   123438964@AIRLINE.KIWI.COM
QFV35V   9/5/2020   OB     9/5/2020   WN;20;PHL;BNA;WN;1219;BNA;SAN     NEW REBECCA            WI                   US   53525   123439349@AIRLINE.KIWI.COM
QGFLVL   9/5/2020   OB     9/7/2020   WN;2341;PDX;OAK;WN;2498;OAK;LGB   ANTHONYBERG            MT                   US   35097   123439525@AIRLINE.KIWI.COM
QH2985   9/5/2020   OB    9/12/2020   WN;2498;LGB;PHX                   EAST DARRENSIDE        UT                   US   76558   123439657@AIRLINE.KIWI.COM
QH58I8   9/5/2020   OB    9/19/2020   WN;1462;PHX;LGB                   LAURENTON              VT                   US   39272   123439734@AIRLINE.KIWI.COM
QKGUCI   9/5/2020   OB     9/5/2020   WN;807;SMF;PHX;WN;1019;PHX;LAS    NORTH TINAMOUTH        SC                   US   17604   123441065@AIRLINE.KIWI.COM
QNHMFQ   9/5/2020   OB     9/5/2020   WN;593;SLC;LAS                    BROWNVILLE             LA                   US   26235   123442506@AIRLINE.KIWI.COM
QOC2DA   9/5/2020   OB     9/8/2020   WN;1289;MCO;ATL                   NORTH BRIAN            NH                   US   26557   123443144@AIRLINE.KIWI.COM
QPBZKX   9/5/2020   OB     9/5/2020   WN;541;SJC;LAS                    MICHAELSHIRE           OH                   US   88356   123443287@AIRLINE.KIWI.COM
QQULSJ   9/5/2020   OB     9/6/2020   WN;772;DEN;MDW                    SOUTH SHANNON          VT                   US   41330   123444420@AIRLINE.KIWI.COM
QQZNXW   9/5/2020   OB     9/7/2020   WN;2205;MDW;DEN                   MILESLAND              MT                   US   34620   123444420@AIRLINE.KIWI.COM
QRH5VG   9/5/2020   OB     9/7/2020   WN;2565;SNA;SMF                   ELLISTON               IL                   US   31831   123444970@AIRLINE.KIWI.COM
QS3SLT   9/5/2020   OB    9/19/2020   WN;1239;AUS;DEN                   SOUTH KEVINBURGH       CT                   US   47933   123445091@AIRLINE.KIWI.COM
QSZSEQ   9/5/2020   OB    9/22/2020   WN;6725;LAS;MKE                   SOUTH CYNTHIA          IA                   US   27537   123445399@AIRLINE.KIWI.COM
QSZSEQ   9/5/2020   OB    9/22/2020   WN;6725;LAS;MKE                   SOUTH CYNTHIA          IA                   US   27537   123445399@AIRLINE.KIWI.COM
QU2KHN   9/5/2020   OB    9/11/2020   WN;2122;LGA;ATL;WN;865;ATL;DAL    LAKE JAVIERTON         RI                   US   38060   123444145@AIRLINE.KIWI.COM
QUHDXD   9/5/2020   OB    9/21/2020   WN;2223;ABQ;MDW;WN;2193;MDW;LGA   BOWENLAND              NH                   US   61201   123444145@AIRLINE.KIWI.COM
QXHMHH   9/5/2020   OB     9/5/2020   WN;1080;LAX;LAS                   MCGRATHSTAD            IN                   US    5203   123449150@AIRLINE.KIWI.COM
QYFLTV   9/5/2020   OB    9/14/2020   WN;1770;LAX;SLC                   K PETROZAVODSK         SAMARASKAYA OBLAST   RU   42473   123449634@AIRLINE.KIWI.COM
QZBDXI   9/5/2020   OB     9/5/2020   WN;175;ATL;FLL                    WEST MARY              SC                   US   52493   123449964@AIRLINE.KIWI.COM
QZQK98   9/5/2020   OB    9/13/2020   WN;2451;SAN;SJC                   CHRISTINEFURT          KY                   US   49797   123450591@AIRLINE.KIWI.COM
RBJIJ5   9/5/2020   OB    10/8/2020   WN;6637;FLL;DEN                   PORT JOSE              BRCKO DISTRIKT       BA   26273   123456311@AIRLINE.KIWI.COM
RCN3TF   9/5/2020   OB     9/6/2020   WN;2627;ATL;MSY                   PORT BRANDON           OK                   US   24343   123459754@AIRLINE.KIWI.COM
REJENU   9/5/2020   OB     9/6/2020   WN;2504;AUS;LAX                   LAKE SPENCERLAND       IL                   US    1397   123461305@AIRLINE.KIWI.COM
RKRHRB   9/5/2020   OB    9/17/2020   WN;2046;DEN;SJC                   MAGELANG               YOGYAKARTA           ID   45434   123467190@AIRLINE.KIWI.COM
ROELCP   9/5/2020   OB    10/4/2020   WN;1152;HOU;ATL                   SOUTH JACOBCHESTER     VT                   US   76382   123470446@AIRLINE.KIWI.COM
RPYSBN   9/5/2020   OB     9/6/2020   WN;928;ATL;FLL                    LAKE DENISELAND        AR                   US   68925   123471447@AIRLINE.KIWI.COM
RVGT5H   9/5/2020   OB     9/5/2020   WN;1194;LAS;LAX                   PETERVILLE             AZ                   US   70231   123477574@AIRLINE.KIWI.COM
RVLQK5   9/5/2020   OB     9/5/2020   WN;807;SMF;PHX;WN;1019;PHX;LAS    EMILYTOWN              OH                   US   87226   123476639@AIRLINE.KIWI.COM
RZNOAP   9/5/2020   OB    9/22/2020   WN;837;SJC;DEN                    ALMADA                 PORTO                PT   56743   123467190@AIRLINE.KIWI.COM
S4J4QM   9/5/2020   OB     9/8/2020   WN;1286;SJU;TPA                   BRITTANYLAND           BRCKO DISTRIKT       BA   23863   123483184@AIRLINE.KIWI.COM
S4WXMC   9/5/2020   OB    9/13/2020   WN;2290;OAK;PHX                   DANIELSPORT            NJ                   US   51581   123483503@AIRLINE.KIWI.COM
S4WXMC   9/5/2020   RT    9/16/2020   WN;178;PHX;OAK                    DANIELSPORT            NJ                   US   51581   123483503@AIRLINE.KIWI.COM
S6QOKR   9/5/2020   OB     9/5/2020   WN;34;ATL;LAS;WN;1662;LAS;ONT     NORTH MICHELLE         GA                   US   88902   123485021@AIRLINE.KIWI.COM
S77R79   9/5/2020   OB     9/8/2020   WN;2336;STL;OMA                   ANTHONYBURY            SD                   US   99036   123485593@AIRLINE.KIWI.COM
S7J523   9/5/2020   OB     9/5/2020   WN;1606;DTW;BNA;WN;1606;BNA;AUS   REESEPORT              FL                   US   51900   123485846@AIRLINE.KIWI.COM
S7LXOC   9/5/2020   OB     9/5/2020   WN;1858;ATL;LAS                   VALERIEMOUTH           MS                   US   53615   123486253@AIRLINE.KIWI.COM
S7R4N4   9/5/2020   OB     9/5/2020   WN;1480;SFO;LAS                   LAKE CHARLES           MA                   US   79752   123486242@AIRLINE.KIWI.COM
S8NCSP   9/5/2020   OB     9/6/2020   WN;2384;PHX;OAK                   AYALASHIRE             OK                   US   88777   123486704@AIRLINE.KIWI.COM
S96CK7   9/5/2020   OB     9/7/2020   WN;100;OAK;PDX                    ALLENBERG              TX                   US   85785   123487298@AIRLINE.KIWI.COM
SAAIJS   9/5/2020   OB   12/19/2020   WN;1663;ATL;MCI;WN;1663;MCI;DEN   WEST CAROLYNTON        GA                   US   80826   123488541@AIRLINE.KIWI.COM
SAAIJS   9/5/2020   OB   12/19/2020   WN;1663;ATL;MCI;WN;1663;MCI;DEN   WEST CAROLYNTON        GA                   US   80826   123488541@AIRLINE.KIWI.COM
SAAIJS   9/5/2020   RT   12/23/2020   WN;1835;DEN;ATL                   WEST CAROLYNTON        GA                   US   80826   123488541@AIRLINE.KIWI.COM
SAAIJS   9/5/2020   RT   12/23/2020   WN;1835;DEN;ATL                   WEST CAROLYNTON        GA                   US   80826   123488541@AIRLINE.KIWI.COM
SADJEP   9/5/2020   OB     9/7/2020   WN;6830;STL;RDU                   WEST JASONSTAD         SC                   US   94000   123488387@AIRLINE.KIWI.COM
SBXGCM   9/5/2020   OB   12/23/2020   WN;1835;DEN;ATL                   NORTH BARBARAHAVEN     AL                   US   93955   123489795@AIRLINE.KIWI.COM
SBXGCM   9/5/2020   OB   12/23/2020   WN;1835;DEN;ATL                   NORTH BARBARAHAVEN     AL                   US   93955   123489795@AIRLINE.KIWI.COM
SBYSWT   9/5/2020   OB   12/19/2020   WN;1991;STL;DEN                   EAST JUSTIN            MS                   US   96912   123489795@AIRLINE.KIWI.COM
SBYSWT   9/5/2020   OB   12/19/2020   WN;1991;STL;DEN                   EAST JUSTIN            MS                   US   96912   123489795@AIRLINE.KIWI.COM
SCR949   9/5/2020   OB     9/5/2020   WN;1140;SNA;LAS;WN;1184;LAS;HOU   PORT GARYSHIRE         WI                   US   85517   123490191@AIRLINE.KIWI.COM
SEAGZP   9/5/2020   OB     9/8/2020   WN;6732;RNO;LAS;WN;2329;LAS;AUS   NORTH HALEY            SC                   US   53456   123492215@AIRLINE.KIWI.COM
SED9RD   9/5/2020   OB     9/5/2020   WN;462;MSP;MDW                    PORT NICHOLASHAVEN     SD                   US   24035   123492666@AIRLINE.KIWI.COM
SIGRLH   9/5/2020   OB     9/5/2020   WN;1678;OAK;BUR;WN;1678;BUR;LAS   NEW ANNHAVEN           TX                   US   39608   123495768@AIRLINE.KIWI.COM
SJA7IJ   9/5/2020   OB     9/5/2020   WN;1678;OAK;BUR;WN;1678;BUR;LAS   JENNIFERBURY           MN                   US   18527   123496978@AIRLINE.KIWI.COM
SM55KK   9/5/2020   OB     9/7/2020   WN;2222;PHX;DAL                   PORT MELISSA           NE                   US   36699   123498265@AIRLINE.KIWI.COM
SNKE4S   9/5/2020   OB    10/2/2020   WN;3200;BOI;LAS                   SHEASIDE               WY                   US   12849   123499805@AIRLINE.KIWI.COM
SORPNW   9/5/2020   OB    9/11/2020   WN;5;DAL;HOU;WN;2137;HOU;HRL      WEST MELVIN            FL                   US   53057   123500102@AIRLINE.KIWI.COM
SQMNG4   9/5/2020   OB    9/11/2020   WN;821;BWI;RDU                    NORTH KRYSTALCHESTER   OK                   US   17498   123501917@AIRLINE.KIWI.COM
T2HLYI   9/5/2020   OB     9/7/2020   WN;6788;DEN;SDF                   BANKSSIDE              MD                   US   86398   123508297@AIRLINE.KIWI.COM
T2HLYI   9/5/2020   OB     9/7/2020   WN;6788;DEN;SDF                   BANKSSIDE              MD                   US   86398   123508297@AIRLINE.KIWI.COM
T9TLZI   9/6/2020   OB     9/6/2020   WN;52;ATL;MDW;WN;1781;MDW;SDF     EAST SAMANTHA          RI                   US   38349   123511102@AIRLINE.KIWI.COM
TGMLF9   9/6/2020   OB     9/8/2020   WN;6831;RDU;STL;WN;1799;STL;OKC   EAST SAMUEL            PA                   US   16392   123512521@AIRLINE.KIWI.COM
TGMLF9   9/6/2020   OB     9/8/2020   WN;6831;RDU;STL;WN;1799;STL;OKC   EAST SAMUEL            PA                   US   16392   123512521@AIRLINE.KIWI.COM
TGZEH4   9/6/2020   OB     9/6/2020   WN;785;LAX;HOU                    SOUTH TODD             PA                   US    8067   123512488@AIRLINE.KIWI.COM
TIDEHS   9/6/2020   OB     9/7/2020   WN;2544;TPA;SJU                   RATKA                  BRATISLAVSKY KRAJ    SK   13176   123512939@AIRLINE.KIWI.COM
TIPEBK   9/6/2020   OB     9/6/2020   WN;2607;ATL;FLL                   JOSEPHSTAD             RI                   US   58518   123513016@AIRLINE.KIWI.COM
TLSXWW   9/6/2020   OB   12/31/2020   WN;4757;OAK;LAS                   LAKE STEPHANIE         NY                   US   15319   123513841@AIRLINE.KIWI.COM
TLWM8T   9/6/2020   OB    10/1/2020   WN;100;SAN;OAK                    LAWRENCESIDE           VT                   US   90613   123513907@AIRLINE.KIWI.COM
TLWM8T   9/6/2020   OB    10/1/2020   WN;751;HNL;KOA;WN;1334;KOA;OGG    LAWRENCESIDE           VT                   US   90613   123513907@AIRLINE.KIWI.COM
TLWM8T   9/6/2020   OB    10/1/2020   WN;808;OAK;HNL                    LAWRENCESIDE           VT                   US   90613   123513907@AIRLINE.KIWI.COM
TN7HMQ   9/6/2020   OB    9/25/2020   WN;1903;BWI;TPA                   ROBERTTON              WV                   US   75768   123514127@AIRLINE.KIWI.COM
TN7HMQ   9/6/2020   RT    9/27/2020   WN;129;TPA;BWI                    ROBERTTON              WV                   US   75768   123514127@AIRLINE.KIWI.COM
TOV4QU   9/6/2020   OB     9/6/2020   WN;2063;LAS;SMF                   PORT SHEILA            TN                   US   18653   123514556@AIRLINE.KIWI.COM
TRLO6O   9/6/2020   OB     9/6/2020   WN;1757;LAS;BNA;WN;1806;BNA;CHS   LAKE REBECCATOWN       MI                   US   45215   123515238@AIRLINE.KIWI.COM




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TRN2Y3    9/6/2020   OB   10/16/2020   WN;2634;FLL;ATL                      KARENVILLE             AK                          US   61252   122993871.1444232@AIRLINE.KIWI.COM
TRN2Y3    9/6/2020   OB   10/16/2020   WN;2634;FLL;ATL                      KARENVILLE             AK                          US   61252   122993871.1444232@AIRLINE.KIWI.COM
TRN2Y3    9/6/2020   OB   10/16/2020   WN;2634;FLL;ATL                      KARENVILLE             AK                          US   61252   122993871.1444232@AIRLINE.KIWI.COM
TRTGTO    9/6/2020   OB   12/24/2020   WN;1933;DSM;STL;WN;2421;STL;MCO      GRB YWSF               HAMADAN                     IR   16080   123515205@AIRLINE.KIWI.COM
TRTGTO    9/6/2020   OB   12/24/2020   WN;1933;DSM;STL;WN;2421;STL;MCO      GRB YWSF               HAMADAN                     IR   16080   123515205@AIRLINE.KIWI.COM
TRTGTO    9/6/2020   OB   12/24/2020   WN;1933;DSM;STL;WN;2421;STL;MCO      GRB YWSF               HAMADAN                     IR   16080   123515205@AIRLINE.KIWI.COM
TSL2IZ    9/6/2020   OB    9/24/2020   WN;135;LAS;LAX                       LAKE STACYFORT         SD                          US   39204   123515447@AIRLINE.KIWI.COM
TT3NMZ    9/6/2020   OB     9/6/2020   WN;3337;ELP;DAL;WN;1323;DAL;ATL      LINDAPORT              LA                          US   93283   123515436@AIRLINE.KIWI.COM
TV8RWY    9/6/2020   OB     9/6/2020   WN;1178;ATL;MDW;WN;596;MDW;OMA       EAST JEANSTAD          MD                          US   21666   123515964@AIRLINE.KIWI.COM
TV979D    9/6/2020   OB    9/10/2020   WN;135;LAS;LAX                       VICTORIALAND           NC                          US   48876   123515843@AIRLINE.KIWI.COM
TVDFFR    9/6/2020   OB     9/6/2020   WN;2366;LAS;SLC                      EAST BRONISLAVAFURT    JURMALA                     LV   38139   123515986@AIRLINE.KIWI.COM
TVDFFR    9/6/2020   OB     9/6/2020   WN;2366;LAS;SLC                      EAST BRONISLAVAFURT    JURMALA                     LV   38139   123515986@AIRLINE.KIWI.COM
TVYANF    9/6/2020   OB   10/12/2020   WN;6529;MEM;DEN                      SOUTH DEBORAHLAND      FL                          US   91475   123516272@AIRLINE.KIWI.COM
TWKK2Q    9/6/2020   OB     9/6/2020   WN;6748;LAS;RNO                      ADAMHAVEN              VT                          US   85988   123516426@AIRLINE.KIWI.COM
TWRER2    9/6/2020   OB    10/4/2020   WN;2567;ONT;LAS                      NEW ROBERT             DE                          US   68431   123516360@AIRLINE.KIWI.COM
TWXKJB    9/6/2020   OB    9/13/2020   WN;2290;OAK;PHX                      DANIELBURGH            WY                          US   23832   123516481@AIRLINE.KIWI.COM
TWXKJB    9/6/2020   RT    9/16/2020   WN;1133;PHX;OAK                      DANIELBURGH            WY                          US   23832   123516481@AIRLINE.KIWI.COM
TXE7YZ    9/6/2020   OB     9/8/2020   WN;1101;MAF;DAL;WN;1341;DAL;MSY      NORTH JEREMIAHTON      OH                          US   80317   123516404@AIRLINE.KIWI.COM
U8FBL2    9/6/2020   OB     9/8/2020   WN;118;SMF;PHX                       MICHELLEBURY           GA                          US   54197   123519110@AIRLINE.KIWI.COM
UAKNBG    9/6/2020   OB    9/13/2020   WN;2030;FLL;TPA                      NORTH CHRISTINAFURT    IN                          US   61101   123520287@AIRLINE.KIWI.COM
UAY3SF    9/6/2020   OB     9/6/2020   WN;2607;ATL;FLL                      CRYSTALMOUTH           IL                          US   90511   123520584@AIRLINE.KIWI.COM
UCTGOJ    9/6/2020   OB     9/8/2020   WN;2610;ATL;PHX                      WEST ROYLAND           FL                          US   24160   123521596@AIRLINE.KIWI.COM
UDHS6Z    9/6/2020   OB     9/6/2020   WN;1956;AUS;DAL;WN;2604;DAL;ABQ      CITTUUR                ARUNACHAL PRADESH           IN   28188   123521893@AIRLINE.KIWI.COM
UGRHVD    9/6/2020   OB     9/6/2020   WN;6777;LAS;ATL                      NEW MONIQUE            MO                          US   94117   123524555@AIRLINE.KIWI.COM
UGTW57    9/6/2020   OB     9/6/2020   WN;2286;LAX;OAK                      PORT VICTORIA          AZ                          US    7511   123524698@AIRLINE.KIWI.COM
UIIXSV    9/6/2020   OB    9/19/2020   WN;2372;LAX;PHX                      LESLIEFORT             KS                          US   44485   123525149@AIRLINE.KIWI.COM
UQBVC5    9/6/2020   OB     9/6/2020   WN;1453;LAX;SMF                      NORTH MICHELLE         WY                          US   82979   123531870@AIRLINE.KIWI.COM
USHZ2V    9/6/2020   OB     9/6/2020   WN;2287;OAK;LAX                      JULIEBERG              DE                          US   79542   123533729@AIRLINE.KIWI.COM
UTSX2Z    9/6/2020   OB     9/8/2020   WN;31;LAX;DAL                        NELSONBOROUGH          CO                          US   76999   120320013.1444363@AIRLINE.KIWI.COM
UYMEXL    9/6/2020   OB     9/6/2020   WN;1603;MCO;MDW;WN;3300;MDW;DTW      SOUTH DANIEL           HI                          US   99852   123538360@AIRLINE.KIWI.COM
UYOVV8    9/6/2020   OB     9/6/2020   WN;2607;ATL;FLL                      SOUTH SARAH            SC                          US   83254   123538239@AIRLINE.KIWI.COM
UYOVV8    9/6/2020   OB     9/6/2020   WN;2607;ATL;FLL                      SOUTH SARAH            SC                          US   83254   123538239@AIRLINE.KIWI.COM
V32XJ8    9/6/2020   OB     9/6/2020   WN;2607;ATL;FLL                      EAST DANIEL            MS                          US   34835   123540626@AIRLINE.KIWI.COM
V424MA    9/6/2020   OB     9/6/2020   WN;1750;MCO;SJU                      SOUTH BRITTNEYSTAD     WA                          US   41393   123541209@AIRLINE.KIWI.COM
V4B57F    9/6/2020   OB    9/11/2020   WN;1236;HOU;JAX                      SOUTH CHARLESCHESTER   LA                          US    6773   123541044@AIRLINE.KIWI.COM
V4B57F    9/6/2020   OB    9/11/2020   WN;1236;HOU;JAX                      SOUTH CHARLESCHESTER   LA                          US    6773   123541044@AIRLINE.KIWI.COM
VALLXO    9/6/2020   OB    9/25/2020   WN;2266;MEM;DEN                      PORT MICHAEL           OR                          US   67161   123545928@AIRLINE.KIWI.COM
VALLXO    9/6/2020   OB    9/25/2020   WN;2266;MEM;DEN                      PORT MICHAEL           OR                          US   67161   123545928@AIRLINE.KIWI.COM
VALLXO    9/6/2020   OB    9/25/2020   WN;2266;MEM;DEN                      PORT MICHAEL           OR                          US   67161   123545928@AIRLINE.KIWI.COM
VALLXO    9/6/2020   OB    9/25/2020   WN;2266;MEM;DEN                      PORT MICHAEL           OR                          US   67161   123545928@AIRLINE.KIWI.COM
VALLXO    9/6/2020   OB    9/25/2020   WN;2266;MEM;DEN                      PORT MICHAEL           OR                          US   67161   123545928@AIRLINE.KIWI.COM
VBB6YO    9/6/2020   OB     9/7/2020   WN;6636;ORF;BWI;WN;673;BWI;MCO       LONGTOWN               HI                          US   37270   123546335@AIRLINE.KIWI.COM
VBGMKX    9/6/2020   OB     9/7/2020   WN;6656;PHL;MDW                      KEUMIEE                LIMBURG                     BE   79698   123546764@AIRLINE.KIWI.COM
VF2PVV    9/6/2020   OB     9/6/2020   WN;2583;ATL;DEN;WN;1278;DEN;OAK      AJMER                  KERALA                      IN   46476   123550625@AIRLINE.KIWI.COM
VG73RX    9/6/2020   OB     9/6/2020   WN;1650;SLC;PHX;WN;2365;PHX;DEN      KERAVA                 ETELAKARJALA                FI    4002   123551615@AIRLINE.KIWI.COM
VGFNC2    9/6/2020   OB    9/15/2020   WN;6804;RNO;DEN;WN;2135;DEN;MSY      WEST MATTHEWBERG       LUXEMBOURG                  LU   40780   123551516@AIRLINE.KIWI.COM
VH66XL    9/6/2020   OB     9/7/2020   WN;2040;BNA;DTW                      LAKE MELANIE           HI                          US   74708   123552451@AIRLINE.KIWI.COM
VHUDS3    9/6/2020   OB     9/6/2020   WN;2231;LAS;DAL                      PORT RONNIECHESTER     ME                          US   81862   123552792@AIRLINE.KIWI.COM
VI4OEE    9/6/2020   OB     9/7/2020   WN;2337;PBI;BWI;WN;6635;BWI;ORF      HOTOWN                 OH                          US   60798   122530463.1444706@AIRLINE.KIWI.COM
VIIJGQ    9/6/2020   OB    11/2/2020   WN;2205;DEN;OAK                      EAST LISA              IA                          US   14831   123552968@AIRLINE.KIWI.COM
VIIJGQ    9/6/2020   OB    11/2/2020   WN;2205;DEN;OAK                      EAST LISA              IA                          US   14831   123552968@AIRLINE.KIWI.COM
VIIJGQ    9/6/2020   OB    11/2/2020   WN;2205;DEN;OAK                      EAST LISA              IA                          US   14831   123552968@AIRLINE.KIWI.COM
VIIJGQ    9/6/2020   OB    11/2/2020   WN;2205;DEN;OAK                      EAST LISA              IA                          US   14831   123552968@AIRLINE.KIWI.COM
VIIJGQ    9/6/2020   OB    11/2/2020   WN;2205;DEN;OAK                      EAST LISA              IA                          US   14831   123552968@AIRLINE.KIWI.COM
VIPRII    9/6/2020   OB    9/10/2020   WN;3200;LAS;BWI                      ARMSTRONGVIEW          MN                          US   56368   123553771@AIRLINE.KIWI.COM
VJ8LSY    9/6/2020   OB     9/6/2020   WN;1005;LAS;ONT                      RICHARDTON             IL                          US    7464   123553782@AIRLINE.KIWI.COM
VJ8LSY    9/6/2020   OB     9/6/2020   WN;1005;LAS;ONT                      RICHARDTON             IL                          US    7464   123553782@AIRLINE.KIWI.COM
VJX7A4    9/6/2020   OB    10/2/2020   WN;1142;ATL;HOU                      PORT REBECCA           FL                          US   20184   123554728@AIRLINE.KIWI.COM
VJX7A4    9/6/2020   OB    10/2/2020   WN;1142;ATL;HOU                      PORT REBECCA           FL                          US   20184   123554728@AIRLINE.KIWI.COM
VJYFX7    9/6/2020   OB     9/6/2020   WN;570;DAL;LAX                       SOUTH JULIEBURY        CT                          US   71237   123554530@AIRLINE.KIWI.COM
VK5AME    9/6/2020   OB     9/7/2020   WN;1884;LAS;LGB                      SMITHBERG              ID                          US   95518   123554508@AIRLINE.KIWI.COM
VKGPOY    9/6/2020   OB    9/21/2020   WN;1919;RDU;BNA                      BRIANSIDE              MS                          US   76167   123555201@AIRLINE.KIWI.COM
VKXOOM    9/6/2020   OB    9/24/2020   WN;1473;BNA;HOU                      JORDANBURGH            NH                          US   22869   123555179@AIRLINE.KIWI.COM
VKZE5U    9/6/2020   OB    10/5/2020   WN;1152;HOU;ATL                      JESUSMOUTH             HI                          US   31747   123555102@AIRLINE.KIWI.COM
VKZE5U    9/6/2020   OB    10/5/2020   WN;1152;HOU;ATL                      JESUSMOUTH             HI                          US   31747   123555102@AIRLINE.KIWI.COM
VLU96M    9/6/2020   OB    9/23/2020   WN;2090;LAS;DAL                      NEW RICHARDBERG        SC                          US   75726   123211066.1444741@AIRLINE.KIWI.COM
VLU96M    9/6/2020   OB    9/23/2020   WN;2090;LAS;DAL                      NEW RICHARDBERG        SC                          US   75726   123211066.1444741@AIRLINE.KIWI.COM
VNKQ42    9/6/2020   OB    9/22/2020   WN;2497;SAN;DEN                      NORTH LISA             NM                          US   41730   123557357@AIRLINE.KIWI.COM
VNOBRX    9/6/2020   OB    9/10/2020   WN;115;TPA;BWI;WN;1452;BWI;DTW       RICHARDSBOROUGH        GA                          US   64323   123557346@AIRLINE.KIWI.COM
VNOBRX    9/6/2020   OB    9/10/2020   WN;115;TPA;BWI;WN;1452;BWI;DTW       RICHARDSBOROUGH        GA                          US   64323   123557346@AIRLINE.KIWI.COM
VNOBRX    9/6/2020   OB    9/10/2020   WN;115;TPA;BWI;WN;1452;BWI;DTW       RICHARDSBOROUGH        GA                          US   64323   123557346@AIRLINE.KIWI.COM
VNSPUU    9/6/2020   OB    9/13/2020   WN;2621;STL;MDW                      GUIPUZCOA              MURCIA                      ES   81081   123557984@AIRLINE.KIWI.COM
VNUJSZ    9/6/2020   OB    9/14/2020   WN;965;MDW;FLL                       SALAMANCA              ANDALUCIA                   ES   37925   123557984@AIRLINE.KIWI.COM
VO2ICK    9/6/2020   OB     9/7/2020   WN;2180;ATL;RIC                      EAST JENNIFER          ME                          US   88610   123558281@AIRLINE.KIWI.COM
VOFRZ5    9/6/2020   OB     9/7/2020   WN;3337;MCI;OAK                      SOUTH ASHLEY           RI                          US   75143   123557962@AIRLINE.KIWI.COM
VP8MWR    9/6/2020   OB    9/24/2020   WN;2418;ATL;HOU                      JESSICATON             MA                          US   16701   123559381@AIRLINE.KIWI.COM
VQB2P5    9/6/2020   OB    9/28/2020   WN;1152;HOU;ATL                      ELIZABETHFURT          NJ                          US   19161   123559821@AIRLINE.KIWI.COM
VRDT3A    9/6/2020   OB     9/7/2020   WN;864;ATL;LGA                       MICHAELCHESTER         VA                          US   62504   123560558@AIRLINE.KIWI.COM
VRDT3A    9/6/2020   OB     9/7/2020   WN;864;ATL;LGA                       MICHAELCHESTER         VA                          US   62504   123560558@AIRLINE.KIWI.COM
VS6AWZ    9/6/2020   OB    9/15/2020   WN;2636;MDW;PHX;WN;2217;PHX;ONT      JUDITHTOWN             NC                          US   68129   123561889@AIRLINE.KIWI.COM
VWF2YZ    9/6/2020   OB    9/25/2020   WN;2325;OMA;LAS                      HEIDIVIEW              CO                          US   36666   123566025@AIRLINE.KIWI.COM
VWME7C    9/6/2020   OB     9/7/2020   WN;2125;TPA;FLL                      PORT VANESSAVIEW       TN                          US   13000   123565728@AIRLINE.KIWI.COM
W49RV5    9/6/2020   OB   10/22/2020   WN;2174;ONT;SMF                      SOUTH JULIASTAD        LA                          US   79275   123571019@AIRLINE.KIWI.COM
W4DYLF    9/6/2020   OB   10/21/2020   WN;2523;SMF;ONT                      NORTH JOSHUATON        NE                          US   16437   123570986@AIRLINE.KIWI.COM
W4FED8    9/6/2020   OB     9/7/2020   WN;2122;ATL;HOU;WN;1687;HOU;AUS      PORT BROOKE            OH                          US   90843   123570612@AIRLINE.KIWI.COM
W68NWA    9/6/2020   OB     9/8/2020   WN;1238;FLL;BWI                      KATHERINEMOUTH         GA                          US   92563   123572889@AIRLINE.KIWI.COM
W6UDZB    9/6/2020   OB    9/18/2020   WN;1286;SJU;TPA                      TRACYBURY              UPPER WEST                  GH    5167   123573241@AIRLINE.KIWI.COM
W6W3C4    9/6/2020   OB     9/8/2020   WN;1238;FLL;BWI                      RANGELTOWN             MD                          US   42609   123572845@AIRLINE.KIWI.COM
W74BGC    9/6/2020   OB     9/7/2020   WN;864;ATL;LGA                       ROBERTMOUTH            IN                          US   94902   123572790@AIRLINE.KIWI.COM
W7ZXUJ    9/6/2020   OB    9/10/2020   WN;1959;CVG;MDW;WN;2403;MDW;LGA      EAST FRANCISSIDE       CENTRAL                     GH   90886   123573923@AIRLINE.KIWI.COM
WCTGZT    9/6/2020   OB     9/7/2020   WN;2217;PHX;ONT;WN;2217;ONT;SMF      FRANCOSIDE             NV                          US   43197   123577971@AIRLINE.KIWI.COM
WDSTGP    9/6/2020   OB     9/9/2020   WN;1992;FLL;ATL;WN;1933;ATL;LGA      SANTIAGOMOUTH          NEWFOUNDLAND AND LABRADOR   CA   44358   123577399@AIRLINE.KIWI.COM
WE2IRH    9/6/2020   OB     9/7/2020   WN;2038;ATL;DCA                      NEW CHELSEAHAVEN       NJ                          US    7480   123579115@AIRLINE.KIWI.COM
WEITIE    9/6/2020   OB     9/6/2020   WN;2497;SAN;DEN                      EAST CAMERON           WI                          US   97604   123425676@AIRLINE.KIWI.COM
WF4ED2    9/6/2020   OB   10/23/2020   WN;3254;SMF;LGB                      LAKE MARVIN            MA                          US   50139   123579742@AIRLINE.KIWI.COM
WGEKXV    9/6/2020   OB    9/14/2020   WN;1076;MAF;HOU;WN;2453;HOU;FLL      NEW LISAHAVEN          MI                          US   43532   123580292@AIRLINE.KIWI.COM
WH3TBK    9/6/2020   OB   10/25/2020   WN;840;LGB;SMF                       WEST PAULBERG          PA                          US   40055   123580710@AIRLINE.KIWI.COM
WHH327    9/6/2020   OB    9/13/2020   WN;2358;MCI;DAL                      EAST DANIEL            SC                          US   19884   123580831@AIRLINE.KIWI.COM
WITAWQ    9/6/2020   OB    9/11/2020   WN;1873;CLT;MDW;WN;2127;MDW;DCA      TAYLORTON              FL                          US    1302   123581073@AIRLINE.KIWI.COM
WMJJ9L    9/6/2020   OB    9/23/2020   WN;2231;MEM;ATL;WN;2138;ATL;FLL      ALLISONSHIRE           IA                          US   91441   123582855@AIRLINE.KIWI.COM
WPS4U3    9/6/2020   OB    9/13/2020   WN;654;HNL;OAK                       WEST ASHLEY            LEMESOS                     CY   42659   123583933@AIRLINE.KIWI.COM
J3YTUO    9/7/2020   OB   11/30/2020   WN;2984;DAL;BNA;WN;3677;BNA;MDW;WN;1 LAKE JESSICABURGH      CT                          US   47626   123586859@AIRLINE.KIWI.COM
J3YTUO    9/7/2020   OB   11/30/2020   WN;2984;DAL;BNA;WN;3677;BNA;MDW;WN;1 LAKE JESSICABURGH      CT                          US   47626   123586859@AIRLINE.KIWI.COM
J3YTUO    9/7/2020   OB   11/30/2020   WN;2984;DAL;BNA;WN;3677;BNA;MDW;WN;1 LAKE JESSICABURGH      CT                          US   47626   123586859@AIRLINE.KIWI.COM
J3YTUO    9/7/2020   OB   11/30/2020   WN;2984;DAL;BNA;WN;3677;BNA;MDW;WN;1 LAKE JESSICABURGH      CT                          US   47626   123586859@AIRLINE.KIWI.COM
J3YTUO    9/7/2020   OB   11/30/2020   WN;2984;DAL;BNA;WN;3677;BNA;MDW;WN;1 LAKE JESSICABURGH      CT                          US   47626   123586859@AIRLINE.KIWI.COM
J3YTUO    9/7/2020   OB   11/30/2020   WN;2984;DAL;BNA;WN;3677;BNA;MDW;WN;1 LAKE JESSICABURGH      CT                          US   47626   123586859@AIRLINE.KIWI.COM




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J46IZO   9/7/2020   OB     9/8/2020   WN;1;DAL;HOU                      VILLANUEVAPORT         CO                     US   13147   123587024@AIRLINE.KIWI.COM
J4JYFC   9/7/2020   OB    9/11/2020   WN;2530;TUS;LAS                   NEW KAREN              SD                     US   41380   123587002@AIRLINE.KIWI.COM
J4TI4I   9/7/2020   OB     9/8/2020   WN;3333;BNA;PIT                   SOUTH JAMES            CA                     US   10612   123587266@AIRLINE.KIWI.COM
J6B6M2   9/7/2020   OB     9/7/2020   WN;2171;ATL;PHL                   TOMOHON                JAKARTA RAYA           ID   34683   123587530@AIRLINE.KIWI.COM
J7J96C   9/7/2020   OB     9/7/2020   WN;2171;ATL;PHL                   SOUTH MICHAELFURT      PA                     US   16122   123587739@AIRLINE.KIWI.COM
J8G4DX   9/7/2020   OB     9/9/2020   WN;2466;SAN;LAS                   PORT BRITTANY          OH                     US   78092   123588036@AIRLINE.KIWI.COM
J8QTJW   9/7/2020   OB     9/7/2020   WN;6540;SAN;OAK                   DAVIDMOUTH             MI                     US   71118   123588168@AIRLINE.KIWI.COM
J95JYE   9/7/2020   OB    9/11/2020   WN;178;PHX;OAK                    CHELSEABURY            LA                     US   23580   123588179@AIRLINE.KIWI.COM
JADGOT   9/7/2020   OB    9/16/2020   WN;1895;DAL;ATL                   CHRISTYVIEW            MS                     US   88970   123588091@AIRLINE.KIWI.COM
JCPERD   9/7/2020   OB    9/16/2020   WN;1935;BWI;HOU                   PORT JOSHUAFURT        KS                     US   24290   123588971@AIRLINE.KIWI.COM
JE3QYM   9/7/2020   OB    9/28/2020   WN;127;HOU;ATL                    CURRYFURT              WA                     US    2229   123589422@AIRLINE.KIWI.COM
JEGC74   9/7/2020   OB     9/7/2020   WN;1200;PHX;LGB                   NORTH GERALDVILLE      NV                     US   98304   123589466@AIRLINE.KIWI.COM
JEPDL9   9/7/2020   OB    9/24/2020   WN;1142;ATL;HOU                   WEST THERESA           MD                     US   56467   123589378@AIRLINE.KIWI.COM
JHDNIM   9/7/2020   OB     9/7/2020   WN;255;CVG;BWI                    LAKE CHRISTOPHERLAND   WV                     US   59381   123590269@AIRLINE.KIWI.COM
JHIOPL   9/7/2020   OB    9/10/2020   WN;1969;DEN;TUS                   NORTH DAVIDMOUTH       VT                     US   72473   123590566@AIRLINE.KIWI.COM
JIGTHG   9/7/2020   OB    9/15/2020   WN;145;OKC;PHX;WN;2217;PHX;ONT    ALEXISSHIRE            TN                     US   89437   123590852@AIRLINE.KIWI.COM
JIJPYG   9/7/2020   OB     9/8/2020   WN;6016;LAS;PDX                   PORT JULIETON          VA                     US    9387   123590841@AIRLINE.KIWI.COM
JINPZU   9/7/2020   OB    9/26/2020   WN;1942;DEN;AUS                   EAST JOSE              CA                     US   50363   123590753@AIRLINE.KIWI.COM
JINPZU   9/7/2020   RT    9/28/2020   WN;1239;AUS;DEN                   EAST JOSE              CA                     US   50363   123590753@AIRLINE.KIWI.COM
JKQD4R   9/7/2020   OB     9/7/2020   WN;2030;FLL;TPA;WN;2068;TPA;ATL   LEAHFURT               MT                     US   68521   123591655@AIRLINE.KIWI.COM
JRG3TL   9/7/2020   OB     9/8/2020   WN;2069;LAX;DAL                   MARTINSIDE             MT                     US   67502   123596451@AIRLINE.KIWI.COM
JRJVF7   9/7/2020   OB   10/15/2020   WN;6512;BWI;CHS                   SOUTH MEGANCHESTER     MN                     US    4976   123595736@AIRLINE.KIWI.COM
JVIQ6I   9/7/2020   OB     9/7/2020   WN;654;HNL;OAK;WN;2276;OAK;DEN    NORTH MICHAELFORT      KS                     US   20537   123599311@AIRLINE.KIWI.COM
JVIQ6I   9/7/2020   OB     9/7/2020   WN;654;HNL;OAK;WN;2276;OAK;DEN    NORTH MICHAELFORT      KS                     US   20537   123599311@AIRLINE.KIWI.COM
JVIQ6I   9/7/2020   OB     9/7/2020   WN;654;HNL;OAK;WN;2276;OAK;DEN    NORTH MICHAELFORT      KS                     US   20537   123599311@AIRLINE.KIWI.COM
K9XH43   9/7/2020   OB     9/7/2020   WN;2068;ATL;RIC                   SMITHHAVEN             DE                     US   14311   123611411@AIRLINE.KIWI.COM
KDVQ7J   9/7/2020   OB     9/7/2020   WN;2450;HOU;FLL                   ROMEROVILLE            CA                     US   74407   123615294@AIRLINE.KIWI.COM
KI8SGP   9/7/2020   OB     9/8/2020   WN;1820;CHS;BWI                   GONZALEZBERG           IL                     US   41484   123620024@AIRLINE.KIWI.COM
KL59LS   9/7/2020   OB     9/7/2020   WN;1984;MDW;MSP                   EAST JESSICASIDE       ID                     US   60158   123622961@AIRLINE.KIWI.COM
KMZV8Y   9/7/2020   OB     9/7/2020   WN;1995;ATL;LGA                   PORT CRAIGTOWN         IA                     US   74289   123625238@AIRLINE.KIWI.COM
KNREKF   9/7/2020   OB     9/8/2020   WN;965;MDW;FLL                    SOUTH LAUREN           TX                     US   25263   123626272@AIRLINE.KIWI.COM
KO5FMB   9/7/2020   OB     9/8/2020   WN;1286;SJU;TPA                   JONESLAND              VICTORIA               AU   79047   123626822@AIRLINE.KIWI.COM
KPEQL4   9/7/2020   OB    9/10/2020   WN;2504;AUS;LAX;WN;2504;LAX;MDW   PORT THOMASSIDE        MS                     US   76330   123628901@AIRLINE.KIWI.COM
KPEQL4   9/7/2020   RT    9/13/2020   WN;1918;MDW;AUS                   PORT THOMASSIDE        MS                     US   76330   123628901@AIRLINE.KIWI.COM
KQP3XX   9/7/2020   OB     9/7/2020   WN;2369;PHX;LAX                   WARDTON                SC                     US   45112   123629726@AIRLINE.KIWI.COM
KQRW8H   9/7/2020   OB   10/20/2020   WN;1894;CHS;BNA                   OPOLE                  DOLNOSLASKIE           PL   40330   123629737@AIRLINE.KIWI.COM
KQRW8H   9/7/2020   OB   10/20/2020   WN;1894;CHS;BNA                   OPOLE                  DOLNOSLASKIE           PL   40330   123629737@AIRLINE.KIWI.COM
KQSDLT   9/7/2020   OB     9/7/2020   WN;1421;SJU;MCO;WN;641;MCO;MDW    PATRICKSIDE            VT                     US   56647   123630133@AIRLINE.KIWI.COM
KRC4G4   9/7/2020   OB     9/8/2020   WN;6682;ATL;PHL                   BECKSTAD               ID                     US   95695   123630474@AIRLINE.KIWI.COM
KT7QED   9/7/2020   OB    9/11/2020   WN;2104;HOU;LAX                   LAKE SHARONMOUTH       ND                     US   79337   123633268@AIRLINE.KIWI.COM
KTULN5   9/7/2020   OB     9/8/2020   WN;1897;ATL;DAL                   WEST EVAN              NE                     US   32327   123634137@AIRLINE.KIWI.COM
KUPB44   9/7/2020   OB     9/8/2020   WN;2168;AUS;BNA;WN;2092;BNA;PHL   HERNANDEZBURGH         IN                     US   58488   123634357@AIRLINE.KIWI.COM
KYKED5   9/7/2020   OB     9/8/2020   WN;1591;ATL;BWI                   LITTLEBOROUGH          MA                     US   39473   123639879@AIRLINE.KIWI.COM
L249ZP   9/7/2020   OB    9/25/2020   WN;2278;BNA;PHX                   NORTH JENNIFERHAVEN    WA                     US   70963   123640990@AIRLINE.KIWI.COM
L249ZP   9/7/2020   OB    9/25/2020   WN;2278;BNA;PHX                   NORTH JENNIFERHAVEN    WA                     US   70963   123640990@AIRLINE.KIWI.COM
L249ZP   9/7/2020   RT    9/29/2020   WN;2224;PHX;BNA                   NORTH JENNIFERHAVEN    WA                     US   70963   123640990@AIRLINE.KIWI.COM
L249ZP   9/7/2020   RT    9/29/2020   WN;2224;PHX;BNA                   NORTH JENNIFERHAVEN    WA                     US   70963   123640990@AIRLINE.KIWI.COM
L2GVK4   9/7/2020   OB    9/14/2020   WN;2188;MHT;BWI                   PORT JUSTIN            TN                     US   65112   123641859@AIRLINE.KIWI.COM
L2GVK4   9/7/2020   RT    9/23/2020   WN;1321;BWI;MHT                   PORT JUSTIN            TN                     US   65112   123641859@AIRLINE.KIWI.COM
L5RUJ4   9/7/2020   OB     9/8/2020   WN;2135;LAS;OMA                   EAST EDUARDOBOROUGH    VT                     US   53795   123644774@AIRLINE.KIWI.COM
L5S8A8   9/7/2020   OB     9/7/2020   WN;2196;LGA;MDW                   K EGOREVSK             ZABAJKALSKIJ KRAJ      RU   41291   123644279@AIRLINE.KIWI.COM
L64HAP   9/7/2020   OB   11/30/2020   WN;4455;DAL;ATL;WN;4455;ATL;LGA   LAKE MARTINLAND        AR                     US   56958   123644356@AIRLINE.KIWI.COM
L6ZEL8   9/7/2020   OB     9/8/2020   WN;2454;FLL;HOU;WN;1115;HOU;LAX   ANDERSONBOROUGH        WA                     US    6399   123647799@AIRLINE.KIWI.COM
L82UZK   9/7/2020   OB     9/8/2020   WN;1929;MCO;BWI;WN;2590;BWI;CLT   CAMPOSBOROUGH          IA                     US   46097   123648701@AIRLINE.KIWI.COM
L87C4Y   9/7/2020   OB     9/8/2020   WN;6682;ATL;PHL                   LAKE ADRIANSHIRE       ID                     US   98335   123648382@AIRLINE.KIWI.COM
L8P48U   9/7/2020   OB     9/8/2020   WN;1929;MCO;BWI;WN;2590;BWI;CLT   NEW XAVIER             TN                     US   80073   123648701@AIRLINE.KIWI.COM
L8P5FA   9/7/2020   OB     9/8/2020   WN;1840;CLE;BWI;WN;1590;BWI;CVG   LISAVILLE              OH                     US   41755   123648778@AIRLINE.KIWI.COM
L8P5FA   9/7/2020   OB     9/8/2020   WN;1840;CLE;BWI;WN;1590;BWI;CVG   LISAVILLE              OH                     US   41755   123648778@AIRLINE.KIWI.COM
L8SIRZ   9/7/2020   OB     9/8/2020   WN;2607;ATL;FLL                   KATRINAPORT            UT                     US   36199   123649306@AIRLINE.KIWI.COM
LBRTO8   9/7/2020   OB     9/7/2020   WN;3300;MDW;DTW                   WEST MATTHEWBURY       NJ                     US    9324   123652936@AIRLINE.KIWI.COM
LC5CHQ   9/7/2020   OB    9/23/2020   WN;2426;SAN;AUS;WN;2426;AUS;HOU   JAMESTON               NEW BRUNSWICK          CA   49285   123653112@AIRLINE.KIWI.COM
LCCNOX   9/7/2020   OB     9/8/2020   WN;2544;TPA;SJU                   ROBINSONSTAD           GHASRI                 MT   50482   123653739@AIRLINE.KIWI.COM
LDBK2U   9/7/2020   OB     9/7/2020   WN;2287;OAK;LAX                   BILLYTOWN              PA                     US   34607   123655059@AIRLINE.KIWI.COM
LDGINA   9/7/2020   OB   11/28/2020   WN;37;OMA;STL;WN;1256;STL;RSW     PORT TIMOTHY           PA                     US   76560   123655697@AIRLINE.KIWI.COM
LDT8OC   9/7/2020   OB   11/30/2020   WN;4832;RSW;STL;WN;4038;STL;OMA   SAVANNAHTON            CT                     US   33285   123655708@AIRLINE.KIWI.COM
LEGMNX   9/7/2020   OB     1/2/2021   WN;1880;GEG;LAS                   HERNANDEZSHIRE         WA                     US   78576   123656808@AIRLINE.KIWI.COM
LEGMNX   9/7/2020   OB     1/2/2021   WN;1880;GEG;LAS                   HERNANDEZSHIRE         WA                     US   78576   123656808@AIRLINE.KIWI.COM
LEGMNX   9/7/2020   RT     1/7/2021   WN;3737;LAS;GEG                   HERNANDEZSHIRE         WA                     US   78576   123656808@AIRLINE.KIWI.COM
LEGMNX   9/7/2020   RT     1/7/2021   WN;3737;LAS;GEG                   HERNANDEZSHIRE         WA                     US   78576   123656808@AIRLINE.KIWI.COM
LESY6Q   9/7/2020   OB   10/15/2020   WN;3342;FLL;SJU                   SUSANCHESTER           NE                     US   78417   123657644@AIRLINE.KIWI.COM
LESY6Q   9/7/2020   OB   10/15/2020   WN;3342;FLL;SJU                   SUSANCHESTER           NE                     US   78417   123657644@AIRLINE.KIWI.COM
LFAALK   9/7/2020   OB     9/9/2020   WN;2607;ATL;FLL                   NEW GWENDOLYNSHIRE     TX                     US   86610   123657765@AIRLINE.KIWI.COM
LGDFTQ   9/7/2020   OB     9/8/2020   WN;1770;LAX;SLC                   VIEJA BOTSWANA         BAJA CALIFORNIA        MX    1085   123659272@AIRLINE.KIWI.COM
LHGVGK   9/7/2020   OB    9/24/2020   WN;1287;PVD;BWI;WN;1828;BWI;OAK   HMMYSIDE               RAMALLAH               PS   20606   123659910@AIRLINE.KIWI.COM
LHPRJT   9/7/2020   OB     9/8/2020   WN;815;PNS;BNA;WN;665;BNA;ATL     TRACYBOROUGH           NC                     US   92592   123660405@AIRLINE.KIWI.COM
LJY4XW   9/7/2020   OB    9/30/2020   WN;1992;FLL;ATL;WN;776;ATL;CMH    EAST BRIAN             CO                     US   84411   123663067@AIRLINE.KIWI.COM
LM6T6G   9/7/2020   OB    9/13/2020   WN;2439;LAS;DEN                   JESSICABOROUGH         NJ                     US   48278   123666895@AIRLINE.KIWI.COM
LMN97G   9/7/2020   OB     9/8/2020   WN;1669;PHX;LAS                   JENNIFERTON            ID                     US   21977   123667478@AIRLINE.KIWI.COM
LMN97G   9/7/2020   RT    9/15/2020   WN;1798;LAS;PHX                   JENNIFERTON            ID                     US   21977   123667478@AIRLINE.KIWI.COM
LOWAUH   9/7/2020   OB     9/8/2020   WN;2540;ATL;RDU                   MONTGOMERYFURT         MT                     US   19773   123669535@AIRLINE.KIWI.COM
LOWAUH   9/7/2020   OB     9/8/2020   WN;2540;ATL;RDU                   MONTGOMERYFURT         MT                     US   19773   123669535@AIRLINE.KIWI.COM
LPCX9Y   9/7/2020   OB     9/8/2020   WN;2231;PIT;LAS                   WEST BRIANVIEW         NY                     US   35034   123670239@AIRLINE.KIWI.COM
LPIZMO   9/7/2020   OB    9/11/2020   WN;2103;LAS;PIT                   LISAVIEW               ME                     US   45115   123670910@AIRLINE.KIWI.COM
LQBSNJ   9/7/2020   OB     9/9/2020   WN;2372;LAX;PHX;WN;2491;PHX;LAS   WEST JOSHUATON         NH                     US   95143   123671328@AIRLINE.KIWI.COM
LT5SKZ   9/7/2020   OB    9/11/2020   WN;2139;FLL;ATL;WN;2139;ATL;GSP   BARBARATON             CT                     US   86131   123674661@AIRLINE.KIWI.COM
LTR4X2   9/7/2020   OB    9/22/2020   WN;2403;MDW;LGA                   DUAHFORT               NORTHERN               GH   57233   123675299@AIRLINE.KIWI.COM
LVBPJM   9/7/2020   OB     9/8/2020   WN;2171;MCO;ATL                   LAKE JULIEPORT         NH                     US   57052   123676696@AIRLINE.KIWI.COM
LX8Z56   9/7/2020   OB     9/8/2020   WN;1995;ATL;LGA                   MARKVIEW               UT                     US   39938   123678984@AIRLINE.KIWI.COM
LXTN5T   9/7/2020   OB     9/8/2020   WN;1840;CLE;BWI;WN;1886;BWI;CLT   LAKE CINDY             PA                     US   27120   123679336@AIRLINE.KIWI.COM
M33ZU5   9/7/2020   OB     9/8/2020   WN;1840;CLE;BWI;WN;2227;BWI;ORF   SOUTH DALTONMOUTH      VT                     US   85223   123680865@AIRLINE.KIWI.COM
M482JF   9/7/2020   OB    9/15/2020   WN;1360;SMF;SNA                   FIGUEROASIDE           NM                     US   35137   123681470@AIRLINE.KIWI.COM
M699SL   9/7/2020   OB    9/25/2020   WN;2186;MCO;DAL                   CHORVATSKY GROB        BANSKOBYSTRICKY KRAJ   SK   50743   123683076@AIRLINE.KIWI.COM
M699SL   9/7/2020   RT    9/29/2020   WN;2057;DAL;MCO                   CHORVATSKY GROB        BANSKOBYSTRICKY KRAJ   SK   50743   123683076@AIRLINE.KIWI.COM
M8SRF5   9/7/2020   OB     9/8/2020   WN;1074;SAT;PHX                   LOZANOVILLE            NH                     US   35685   123683813@AIRLINE.KIWI.COM
M9DDMW   9/7/2020   OB     9/7/2020   WN;2621;STL;MDW                   SMITHFURT              OK                     US    2518   123684132@AIRLINE.KIWI.COM
WQW556   9/7/2020   OB   10/12/2020   WN;2363;SAN;HOU                   NEW MICHAEL            DE                     US   55522   123584263@AIRLINE.KIWI.COM
WRTR2B   9/7/2020   OB     9/7/2020   WN;2056;IND;ATL                   PORT MARCUS            CO                     US    2829   123584670@AIRLINE.KIWI.COM
WRYBVG   9/7/2020   OB     9/7/2020   WN;2023;FLL;MCO                   SOUTH MARGARET         NV                     US   75315   123584538@AIRLINE.KIWI.COM
WRYBVG   9/7/2020   OB     9/7/2020   WN;2023;FLL;MCO                   SOUTH MARGARET         NV                     US   75315   123584538@AIRLINE.KIWI.COM
WVDD47   9/7/2020   OB     9/7/2020   WN;306;CUN;HOU                    LAKE BRENDAMOUTH       TX                     US   71690   123585451@AIRLINE.KIWI.COM
WWOJB5   9/7/2020   OB    9/24/2020   WN;1946;LAS;MDW                   ROMEROHAVEN            MI                     US   11052   123585715@AIRLINE.KIWI.COM
WX6HSY   9/7/2020   OB    9/24/2020   WN;1946;LAS;MDW                   NEW ROBERTFORT         MS                     US    1915   123585715@AIRLINE.KIWI.COM
WXZHLI   9/7/2020   OB    10/8/2020   WN;6529;MEM;DEN                   PORT JOSE              IL                     US   39474   123585836@AIRLINE.KIWI.COM
WY55W2   9/7/2020   OB     9/9/2020   WN;1192;BDL;BWI;WN;1276;BWI;SJU   MARTTILA               PIRKANMAA              FI   41281   123585803@AIRLINE.KIWI.COM
WYLLT4   9/7/2020   OB    9/21/2020   WN;1021;MDW;LAS                   BETTYPORT              ID                     US   13088   123586089@AIRLINE.KIWI.COM
M9ENZ2   9/8/2020   OB    9/10/2020   WN;4401;MDW;STL                   JOHNSONCHESTER         NY                     US   44563   123684154@AIRLINE.KIWI.COM
M9PQXS   9/8/2020   OB    9/27/2020   WN;1913;DAL;LGA                   LAKE SARA              MS                     US    2473   123684143@AIRLINE.KIWI.COM




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MA6GSN   9/8/2020   OB     9/9/2020   WN;2466;SAN;LAS                   PORT WILLIAM           TX                          US   70698   123684209@AIRLINE.KIWI.COM
MAP3BJ   9/8/2020   OB     9/8/2020   WN;6826;PHX;PDX                   LAKE GEOFFREY          CEREDIGION SIR CEREDIGION   GB    9319   123684407@AIRLINE.KIWI.COM
MBRH3M   9/8/2020   OB    9/16/2020   WN;1556;BOI;OAK;WN;1563;OAK;PDX   BRYANTMOUTH            ID                          US    3329   123684627@AIRLINE.KIWI.COM
MDTT2P   9/8/2020   OB    10/6/2020   WN;698;PBI;BWI;WN;698;BWI;ALB     CARLBERG               VA                          US   87271   123685353@AIRLINE.KIWI.COM
MDW4TU   9/8/2020   OB     9/8/2020   WN;864;ATL;LGA                    EAST TAYLORFURT        WY                          US   75033   123685562@AIRLINE.KIWI.COM
MEXEUT   9/8/2020   OB    9/18/2020   WN;176;SMF;LGB                    ZGORZELEC              LUBELSKIE                   PL   54087   123685958@AIRLINE.KIWI.COM
MG99LZ   9/8/2020   OB   11/28/2020   WN;784;OAK;OGG                    SOUTH JULIA            VT                          US   98952   123686332@AIRLINE.KIWI.COM
MG99LZ   9/8/2020   OB   11/28/2020   WN;784;OAK;OGG                    SOUTH JULIA            VT                          US   98952   123686332@AIRLINE.KIWI.COM
MG99LZ   9/8/2020   RT   12/12/2020   WN;786;OGG;OAK                    SOUTH JULIA            VT                          US   98952   123686332@AIRLINE.KIWI.COM
MG99LZ   9/8/2020   RT   12/12/2020   WN;786;OGG;OAK                    SOUTH JULIA            VT                          US   98952   123686332@AIRLINE.KIWI.COM
MGBX84   9/8/2020   OB   11/14/2020   WN;53;SJC;LAS                     ANGELABURY             SD                          US   59802   123686112@AIRLINE.KIWI.COM
MGBX84   9/8/2020   OB   11/14/2020   WN;53;SJC;LAS                     ANGELABURY             SD                          US   59802   123686112@AIRLINE.KIWI.COM
MGBX84   9/8/2020   OB   11/14/2020   WN;53;SJC;LAS                     ANGELABURY             SD                          US   59802   123686112@AIRLINE.KIWI.COM
MGBX84   9/8/2020   OB   11/14/2020   WN;53;SJC;LAS                     ANGELABURY             SD                          US   59802   123686112@AIRLINE.KIWI.COM
MHJZKO   9/8/2020   OB     9/8/2020   WN;2255;ATL;MCO;WN;2426;MCO;FLL   WEST MICHAEL           ID                          US    1088   123686673@AIRLINE.KIWI.COM
MHYW4Y   9/8/2020   OB     9/8/2020   WN;1933;ATL;LGA                   NORTH VIRGINIAMOUTH    AZ                          US   79557   123686750@AIRLINE.KIWI.COM
MKHSNF   9/8/2020   OB    9/25/2020   WN;2004;BWI;ATL                   HILLSTAD               NM                          US   36763   123687586@AIRLINE.KIWI.COM
MKHSNF   9/8/2020   RT    9/28/2020   WN;1591;ATL;BWI                   HILLSTAD               NM                          US   36763   123687586@AIRLINE.KIWI.COM
MLR6AM   9/8/2020   OB    9/25/2020   WN;2023;FLL;MCO                   EAST KATHRYNMOUTH      CT                          US   22032   123687729@AIRLINE.KIWI.COM
MOCHP3   9/8/2020   OB     9/8/2020   WN;830;OAK;LAS                    JUSTINVIEW             TX                          US   47530   123688411@AIRLINE.KIWI.COM
MRTX96   9/8/2020   OB    9/22/2020   WN;2367;LAX;PHX                   EAST ELIZABETH         KY                          US   16256   123689390@AIRLINE.KIWI.COM
MRTX96   9/8/2020   OB    9/22/2020   WN;2367;LAX;PHX                   EAST ELIZABETH         KY                          US   16256   123689390@AIRLINE.KIWI.COM
MRTX96   9/8/2020   OB    9/22/2020   WN;2367;LAX;PHX                   EAST ELIZABETH         KY                          US   16256   123689390@AIRLINE.KIWI.COM
MUX437   9/8/2020   OB   10/17/2020   WN;2504;AUS;LAX                   LAKE HANNAHMOUTH       MT                          US   28668   123690446@AIRLINE.KIWI.COM
MVF4LN   9/8/2020   OB    10/2/2020   WN;2031;BNA;BWI                   KERRCHESTER            IN                          US   87115   123690842@AIRLINE.KIWI.COM
MW3FFP   9/8/2020   OB    10/6/2020   WN;184;BWI;BNA                    EAST ZACHARY           SC                          US   84925   123691051@AIRLINE.KIWI.COM
MWA483   9/8/2020   OB     9/8/2020   WN;2366;LAS;SLC                   WEST JEFFERYHAVEN      NV                          US   57969   123690919@AIRLINE.KIWI.COM
MWO347   9/8/2020   OB    10/2/2020   WN;2031;BNA;BWI                   WEST AUTUMN            WA                          US   95102   123691062@AIRLINE.KIWI.COM
MY9XGA   9/8/2020   OB     9/9/2020   WN;1884;LAS;LGB                   SOUTH ERICBERG         RI                          US   97519   123691513@AIRLINE.KIWI.COM
MYTNGP   9/8/2020   OB    9/22/2020   WN;116;ATL;BNA                    PORT JOSE              WA                          US   52629   123691821@AIRLINE.KIWI.COM
MZBMPN   9/8/2020   OB     9/8/2020   WN;2374;LAX;OAK                   LAKE CASSANDRABURGH    IL                          US    5511   123691832@AIRLINE.KIWI.COM
N33SDD   9/8/2020   OB    9/22/2020   WN;2389;MDW;MCO                   GOULDPORT              VA                          US    4112   123692613@AIRLINE.KIWI.COM
N33SDD   9/8/2020   OB    9/22/2020   WN;2389;MDW;MCO                   GOULDPORT              VA                          US    4112   123692613@AIRLINE.KIWI.COM
NSY3F6   9/8/2020   OB    9/13/2020   WN;2073;JAX;BNA                   PORT BAILEYHAVEN       SC                          US   61772   123715284@AIRLINE.KIWI.COM
NXDEIB   9/8/2020   OB   12/28/2020   WN;1474;MCO;SJU                   MISTO EDITA            MYKOLAIVSKA OBLAST          UA   31656   123719673@AIRLINE.KIWI.COM
NYJQK6   9/8/2020   OB     9/8/2020   WN;1995;ATL;LGA                   NEW ERNESTBOROUGH      NC                          US   84835   123721807@AIRLINE.KIWI.COM
O5RU3M   9/8/2020   OB     9/8/2020   WN;101;ATL;MDW;WN;2184;MDW;CLE    PORT ASHLEY            UT                          US   38669   123727912@AIRLINE.KIWI.COM
O5TABA   9/8/2020   OB   12/20/2020   WN;744;HOU;AUS;WN;744;AUS;BNA     NEW ROBERTVIEW         ME                          US   94031   123727516@AIRLINE.KIWI.COM
O5TABA   9/8/2020   RT   12/23/2020   WN;3891;BNA;HOU                   NEW ROBERTVIEW         ME                          US   94031   123727516@AIRLINE.KIWI.COM
O8NQZS   9/8/2020   OB   10/14/2020   WN;877;LAS;ABQ                    G ISTRA                KURGANSKAYA OBLAST          RU   37297   123731300@AIRLINE.KIWI.COM
OCA8GB   9/8/2020   OB     9/9/2020   WN;2372;LAX;PHX                   MORROWSHIRE            AZ                          US   12556   123736492@AIRLINE.KIWI.COM
OCWDRR   9/8/2020   OB    11/2/2020   WN;2325;LAS;ATL                   WEST CRYSTALTON        ME                          US   60025   123737416@AIRLINE.KIWI.COM
OF3OQ9   9/8/2020   OB    9/20/2020   WN;806;SMF;LAX                    YI DU SHI              XIZANG ZIZHIQU              CN   31234   123736404@AIRLINE.KIWI.COM
OF3OQ9   9/8/2020   OB    9/20/2020   WN;806;SMF;LAX                    YI DU SHI              XIZANG ZIZHIQU              CN   31234   123736404@AIRLINE.KIWI.COM
OF3OQ9   9/8/2020   OB    9/20/2020   WN;806;SMF;LAX                    YI DU SHI              XIZANG ZIZHIQU              CN   31234   123736404@AIRLINE.KIWI.COM
OH4XDN   9/8/2020   OB    9/10/2020   WN;864;ATL;LGA                    RODRIGUEZLAND          QUEBEC                      CA   91192   123743180@AIRLINE.KIWI.COM
OH4XDN   9/8/2020   OB    9/10/2020   WN;864;ATL;LGA                    RODRIGUEZLAND          QUEBEC                      CA   91192   123743180@AIRLINE.KIWI.COM
OH4XDN   9/8/2020   OB    9/10/2020   WN;864;ATL;LGA                    RODRIGUEZLAND          QUEBEC                      CA   91192   123743180@AIRLINE.KIWI.COM
OH4XDN   9/8/2020   OB    9/10/2020   WN;864;ATL;LGA                    RODRIGUEZLAND          QUEBEC                      CA   91192   123743180@AIRLINE.KIWI.COM
OHNKBR   9/8/2020   OB    9/15/2020   WN;731;SJD;DEN                    NECHANICE              PRAHAZAPAD                  CZ   54381   123742817@AIRLINE.KIWI.COM
OHNKBR   9/8/2020   OB    9/15/2020   WN;731;SJD;DEN                    NECHANICE              PRAHAZAPAD                  CZ   54381   123742817@AIRLINE.KIWI.COM
OHZHAG   9/8/2020   OB   10/18/2020   WN;2504;AUS;LAX                   WEST JAMES             FL                          US   32201   123744038@AIRLINE.KIWI.COM
OHZHAG   9/8/2020   OB   10/18/2020   WN;2504;AUS;LAX                   WEST JAMES             FL                          US   32201   123744038@AIRLINE.KIWI.COM
OHZHAG   9/8/2020   OB   10/18/2020   WN;2504;AUS;LAX                   WEST JAMES             FL                          US   32201   123744038@AIRLINE.KIWI.COM
OHZHAG   9/8/2020   OB   10/18/2020   WN;2504;AUS;LAX                   WEST JAMES             FL                          US   32201   123744038@AIRLINE.KIWI.COM
OIBUZO   9/8/2020   OB     9/8/2020   WN;112;ATL;RDU                    BRITTANYVIEW           NE                          US   26669   123744159@AIRLINE.KIWI.COM
OIMVUO   9/8/2020   OB    10/1/2020   WN;2143;LGA;DEN                   LUGO                   CASTILLALA MANCHA           ES   94821   123744500@AIRLINE.KIWI.COM
OIX42F   9/8/2020   OB     9/8/2020   WN;6656;PHL;MDW                   NORTH REBEKAHMOUTH     RI                          US   18944   123745446@AIRLINE.KIWI.COM
OKFC8V   9/8/2020   OB    9/14/2020   WN;2038;ATL;DCA                   SAN JONAS DE LA MONT   AR                          US   84856   123693130@AIRLINE.KIWI.COM
OLPNDT   9/8/2020   OB     9/9/2020   WN;2005;FLL;BWI;WN;1029;BWI;CVG   NAMEST NAD OSLAVOU     KARVINA                     CZ   11885   123748273@AIRLINE.KIWI.COM
OMUJJW   9/8/2020   OB     9/9/2020   WN;2384;PHX;OAK                   JULIELAND              WA                          US   21581   123750220@AIRLINE.KIWI.COM
ORXQAW   9/8/2020   OB    9/22/2020   WN;1974;DAL;OAK;WN;2301;OAK;ONT   WEST GINAMOUTH         AR                          US   25173   123756292@AIRLINE.KIWI.COM
OS4NEE   9/8/2020   OB     9/9/2020   WN;928;ATL;FLL                    SOUTH MICHAELFURT      DE                          US   68921   123756479@AIRLINE.KIWI.COM
OSX8KP   9/8/2020   OB     9/9/2020   WN;1473;BNA;HOU;WN;305;HOU;CUN    RIVERSSIDE             WI                          US    5487   123757480@AIRLINE.KIWI.COM
OSYKYB   9/8/2020   OB    9/23/2020   WN;1498;TPA;BNA                   EAST EMILYSIDE         MD                          US   73859   123757150@AIRLINE.KIWI.COM
OVBEK2   9/8/2020   OB    9/11/2020   WN;1174;RDU;STL;WN;2360;STL;LAX   SOUTH CHRISTOPHERMOU   LA                          US   18612   123759878@AIRLINE.KIWI.COM
OVBEK2   9/8/2020   OB    9/11/2020   WN;1174;RDU;STL;WN;2360;STL;LAX   SOUTH CHRISTOPHERMOU   LA                          US   18612   123759878@AIRLINE.KIWI.COM
OW4K8R   9/8/2020   OB    9/23/2020   WN;2540;ATL;RDU                   JODIVILLE              KY                          US   22550   123761572@AIRLINE.KIWI.COM
OX4XEY   9/8/2020   OB    9/21/2020   WN;965;MDW;FLL                    SOUTH JENNIFERPORT     AZ                          US   68224   123761550@AIRLINE.KIWI.COM
OXIONH   9/8/2020   OB    9/22/2020   WN;2340;PDX;LAS                   KEITHBURY              AK                          US   30185   123763079@AIRLINE.KIWI.COM
OXO48P   9/8/2020   OB    9/17/2020   WN;2255;ATL;MCO                   REILLYLAND             KS                          US   77070   123763816@AIRLINE.KIWI.COM
OY7UYK   9/8/2020   OB   12/31/2020   WN;1589;MDW;HOU;WN;1589;HOU;LAS   TONYFURT               SD                          US   72546   123763420@AIRLINE.KIWI.COM
OY7UYK   9/8/2020   OB   12/31/2020   WN;1589;MDW;HOU;WN;1589;HOU;LAS   TONYFURT               SD                          US   72546   123763420@AIRLINE.KIWI.COM
OZYMYF   9/8/2020   OB    9/15/2020   WN;1699;ONT;DEN;WN;174;DEN;LGA    EAST ALEXANDERTON      SC                          US   58677   123765598@AIRLINE.KIWI.COM
OZYMYF   9/8/2020   OB    9/15/2020   WN;1699;ONT;DEN;WN;174;DEN;LGA    EAST ALEXANDERTON      SC                          US   58677   123765598@AIRLINE.KIWI.COM
P2N7CW   9/8/2020   OB     9/8/2020   WN;2403;MDW;LGA                   KRISTYLAND             KY                          US   79068   123767655@AIRLINE.KIWI.COM
P2N93N   9/8/2020   OB    9/15/2020   WN;2325;LAS;ATL;WN;112;ATL;RDU    EAST JAMES             TX                          US   73598   123767589@AIRLINE.KIWI.COM
P2N9HB   9/8/2020   OB   10/10/2020   WN;909;LGA;ATL;WN;2325;ATL;DAL    SAN RUBY LOS BAJOS     BAJA CALIFORNIA SUR         MX   71685   123766511@AIRLINE.KIWI.COM
P3SC8D   9/8/2020   OB    9/11/2020   WN;1269;STL;MDW                   NORTH BRIANNASTAD      SC                          US   33545   123769404@AIRLINE.KIWI.COM
P3ZIW4   9/8/2020   OB    9/23/2020   WN;2015;FLL;DAL                   PORT ROBERT            SC                          US    9514   123769195@AIRLINE.KIWI.COM
P7TGF2   9/8/2020   OB     9/9/2020   WN;864;ATL;LGA                    SHERMANTON             MO                          US   55878   123773892@AIRLINE.KIWI.COM
P98CTO   9/8/2020   OB     9/9/2020   WN;2367;LAX;PHX                   MORROWSHIRE            AZ                          US   12556   123736492@AIRLINE.KIWI.COM
P98CTO   9/8/2020   OB     9/9/2020   WN;2367;LAX;PHX                   SMYRNA                 GA                          US   30080   123736492@AIRLINE.KIWI.COM
PAIE8S   9/8/2020   OB    9/11/2020   WN;803;LAX;RNO                    EAST BRYAN             LA                          US   97880   123776136@AIRLINE.KIWI.COM
PDNJLF   9/8/2020   OB    9/26/2020   WN;2544;TPA;SJU                   LORRACH                SACHSEN                     DE   62602   123779293@AIRLINE.KIWI.COM
PEGTRZ   9/8/2020   OB    9/16/2020   WN;804;RNO;LAX                    MARTINEZBERG           LA                          US   28802   123779821@AIRLINE.KIWI.COM
PEY8RE   9/8/2020   OB     9/9/2020   WN;2445;PDX;OAK;WN;2383;OAK;LAX   D NOVGOROD VELIKII     KRASNOYARSKIY KRAY          RU    6241   123780107@AIRLINE.KIWI.COM
PEYKM6   9/8/2020   OB    9/12/2020   WN;429;CVG;BWI                    MISTO ADA              DONETSKA OBLAST             UA   72000   123781020@AIRLINE.KIWI.COM
PFBU2C   9/8/2020   OB    9/10/2020   WN;2643;BNA;MCO                   PAULBURY               DE                          US   24530   123780921@AIRLINE.KIWI.COM
PFBU2C   9/8/2020   RT    9/13/2020   WN;857;MCO;BNA                    PAULBURY               DE                          US   24530   123780921@AIRLINE.KIWI.COM
PH5WCM   9/8/2020   OB   10/23/2020   WN;2607;ATL;FLL                   EAST FELICIAVILLE      LA                          US   29487   123782362@AIRLINE.KIWI.COM
PH5WCM   9/8/2020   OB   10/23/2020   WN;2607;ATL;FLL                   EAST FELICIAVILLE      LA                          US   29487   123782362@AIRLINE.KIWI.COM
PH5WCM   9/8/2020   RT   10/25/2020   WN;2139;FLL;ATL                   EAST FELICIAVILLE      LA                          US   29487   123782362@AIRLINE.KIWI.COM
PH5WCM   9/8/2020   RT   10/25/2020   WN;2139;FLL;ATL                   EAST FELICIAVILLE      LA                          US   29487   123782362@AIRLINE.KIWI.COM
PH6BAX   9/8/2020   OB   11/29/2020   WN;1785;AUS;HOU;WN;2096;HOU;ATL   NEW JOSEBERG           MO                          US   77445   123783088@AIRLINE.KIWI.COM
PHNGXP   9/8/2020   OB   11/21/2020   WN;1618;ATL;AUS                   SOUTH KARENTON         MT                          US   19957   123783099@AIRLINE.KIWI.COM
PID2W5   9/8/2020   OB    9/27/2020   WN;507;DEN;MDW                    LAKE LARRYFURT         ND                          US   95282   123783308@AIRLINE.KIWI.COM
PID2W5   9/8/2020   RT    10/7/2020   WN;2205;MDW;DEN                   LAKE LARRYFURT         ND                          US   95282   123783308@AIRLINE.KIWI.COM
PITYL7   9/8/2020   OB     9/9/2020   WN;2038;ATL;DCA;WN;2038;DCA;MDW   PORT PHILIP            KS                          US   83264   123783638@AIRLINE.KIWI.COM
PKNNPI   9/8/2020   OB    9/22/2020   WN;2621;DAL;FLL                   WEST JOSEPH            AL                          US   37268   123784551@AIRLINE.KIWI.COM
PL97BR   9/8/2020   OB    9/24/2020   WN;2529;DTW;BNA                   SARAHHAVEN             LA                          US   19976   123785255@AIRLINE.KIWI.COM
PL97BR   9/8/2020   OB    9/24/2020   WN;2529;DTW;BNA                   SARAHHAVEN             LA                          US   19976   123785255@AIRLINE.KIWI.COM
PN8CEW   9/8/2020   OB     9/9/2020   WN;1090;BUR;OAK                   TRAVISSTAD             VT                          US   92214   123786278@AIRLINE.KIWI.COM
PN8CEW   9/8/2020   RT    9/11/2020   WN;669;OAK;BUR                    TRAVISSTAD             VT                          US   92214   123786278@AIRLINE.KIWI.COM
PNFRYA   9/8/2020   OB    9/29/2020   WN;1786;AUS;MSY                   PURMALSVILLE           SALDUS NOVADS               LV   59365   123737603@AIRLINE.KIWI.COM
PODK6C   9/8/2020   OB    9/11/2020   WN;1915;FLL;MDW                   MARTINEZMOUTH          NM                          US   95717   123786916@AIRLINE.KIWI.COM
POEPXK   9/8/2020   OB    9/11/2020   WN;2122;LGA;ATL;WN;478;ATL;MCO    WISEBOROUGH            MI                          US   24683   123786883@AIRLINE.KIWI.COM




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POQTZS   9/8/2020   OB    9/11/2020   WN;1590;BWI;CVG                   NEW BILLY              RI                US    25185   123786927@AIRLINE.KIWI.COM
POQTZS   9/8/2020   RT    9/13/2020   WN;255;CVG;BWI                    NEW BILLY              RI                US    25185   123786927@AIRLINE.KIWI.COM
PRTCZG   9/9/2020   OB    9/25/2020   WN;1462;DEN;OMA                   EMILYTOWN              MD                US     3164   123788401@AIRLINE.KIWI.COM
PUAUJQ   9/9/2020   OB    9/15/2020   WN;2196;LGA;MDW;WN;1728;MDW;ABQ   BEI JING SHI           BEIJING SHI       CN    97245   123789985@AIRLINE.KIWI.COM
PVP8VC   9/9/2020   OB    9/15/2020   WN;1780;ATL;MCI                   JENNIFERTON            OH                US    56394   123790205@AIRLINE.KIWI.COM
PWJDAN   9/9/2020   OB     9/9/2020   WN;1840;CLE;BWI                   PORT JASONBURGH        AK                US    62747   123790645@AIRLINE.KIWI.COM
PXJHU3   9/9/2020   OB     9/9/2020   WN;1626;BUF;BWI;WN;1276;BWI;SJU   STADTSCHLAINING        OBEROSTERREICH    AT    30026   123791316@AIRLINE.KIWI.COM
PXJHU3   9/9/2020   OB     9/9/2020   WN;1626;BUF;BWI;WN;1276;BWI;SJU   STADTSCHLAINING        OBEROSTERREICH    AT    30026   123791316@AIRLINE.KIWI.COM
PXJHU3   9/9/2020   OB     9/9/2020   WN;1626;BUF;BWI;WN;1276;BWI;SJU   STADTSCHLAINING        OBEROSTERREICH    AT    30026   123791316@AIRLINE.KIWI.COM
PZLI7D   9/9/2020   OB    9/11/2020   WN;1556;BOI;OAK;WN;1563;OAK;PDX   EAST MATTHEW           KS                US    33246   123791657@AIRLINE.KIWI.COM
Q2PDWD   9/9/2020   OB    9/30/2020   WN;132;BUR;SMF                    WEST AIVAR             SAAREMAA          EE    79281   123792141@AIRLINE.KIWI.COM
Q382IL   9/9/2020   OB    9/28/2020   WN;6807;OMA;PHX                   PORT ANDREWCHESTER     AL                US    15933   123790062@AIRLINE.KIWI.COM
Q3EXYV   9/9/2020   OB     9/9/2020   WN;705;OAK;LAS                    NICOLASSTAD            AK                US    59879   123792361@AIRLINE.KIWI.COM
Q3FAH2   9/9/2020   OB    9/13/2020   WN;2312;LAS;OAK                   SOUTH JENNIFERCHESTE   SC                US    29877   123792361@AIRLINE.KIWI.COM
Q3H699   9/9/2020   OB    9/23/2020   WN;2555;SMF;BUR                   JOHNLAND               CLARE             IE    10348   123792152@AIRLINE.KIWI.COM
Q5CEVR   9/9/2020   OB    9/28/2020   WN;1835;CLE;BNA;WN;183;BNA;BOS    PORT JEANETTEBURGH     MT                US    37114   123792867@AIRLINE.KIWI.COM
Q6PJK4   9/9/2020   OB   12/27/2020   WN;4621;LGA;MDW;WN;3449;MDW;LAX   KEMPCHESTER            ID                US    58463   123793384@AIRLINE.KIWI.COM
Q7DJ7K   9/9/2020   OB   11/15/2020   WN;938;ATL;STL                    JOHNSONTON             DE                US    76214   123793615@AIRLINE.KIWI.COM
Q7DJ7K   9/9/2020   OB   11/15/2020   WN;938;ATL;STL                    JOHNSONTON             DE                US    76214   123793615@AIRLINE.KIWI.COM
Q7GQEV   9/9/2020   OB    9/17/2020   WN;2612;PHL;ATL                   ZACHARYTON             MO                US    63962   123793571@AIRLINE.KIWI.COM
Q7LTOH   9/9/2020   OB   11/12/2020   WN;112;STL;ATL                    NEW HEATHER            AR                US    41840   123793615@AIRLINE.KIWI.COM
Q7LTOH   9/9/2020   OB   11/12/2020   WN;112;STL;ATL                    NEW HEATHER            AR                US    41840   123793615@AIRLINE.KIWI.COM
Q8DBQN   9/9/2020   OB    10/6/2020   WN;1501;MDW;MSY                   EAST AMANDAMOUTH       MT                US    23638   123793879@AIRLINE.KIWI.COM
Q8QNXM   9/9/2020   OB    10/1/2020   WN;2273;MSY;MDW                   EAST AMANDAMOUTH       WY                US    23638   123793890@AIRLINE.KIWI.COM
QB6RCQ   9/9/2020   OB    9/19/2020   WN;1884;LAS;LGB                   VIEJA PAISES BAJOS     NAYARIT           MX    29490   123794660@AIRLINE.KIWI.COM
QBAUSS   9/9/2020   OB    9/10/2020   WN;1942;LAS;OAK                   NICHOLASBOROUGH        MO                US    44695   123794726@AIRLINE.KIWI.COM
QC7HHB   9/9/2020   OB    10/6/2020   WN;1066;MCO;HOU;WN;2094;HOU;PHX   GOODMANBURY            KY                US    26529   123794847@AIRLINE.KIWI.COM
QCAW5X   9/9/2020   OB    9/30/2020   WN;1074;PHX;LAS                   LAKE SARAHVIEW         ME                US    52381   123794847@AIRLINE.KIWI.COM
QDCXL5   9/9/2020   OB   11/20/2020   WN;1506;SMF;SAN                   LAKE KAREN             TX                US    36360   123795232@AIRLINE.KIWI.COM
QDE37H   9/9/2020   OB   11/29/2020   WN;1839;SAN;SMF                   NORTH CLAYTON          AR                US    46363   123795364@AIRLINE.KIWI.COM
QDGUWL   9/9/2020   OB     9/9/2020   WN;2286;LAX;OAK                   WEST NATHANSIDE        AK                US    53249   123795243@AIRLINE.KIWI.COM
QE4GY7   9/9/2020   OB    9/12/2020   WN;118;SMF;PHX                    WEST TANNER            LA                US    71891   123795342@AIRLINE.KIWI.COM
QE5HIP   9/9/2020   OB     9/9/2020   WN;1798;LAS;PHX                   NEW JAMIE              WI                US    13727   123795474@AIRLINE.KIWI.COM
QELXTB   9/9/2020   OB    9/15/2020   WN;144;LAX;LAS;WN;114;LAS;MAF     LAKE WAYNE             WA                US    98120   123795947@AIRLINE.KIWI.COM
QF5ELK   9/9/2020   OB    9/23/2020   WN;2186;LAS;LGB                   THERESAMOUTH           ID                US     1388   123795793@AIRLINE.KIWI.COM
QJL7PS   9/9/2020   OB    10/1/2020   WN;2635;ATL;MSY                   WEST BRIANBURY         FL                US    53081   123797762@AIRLINE.KIWI.COM
QJSTGP   9/9/2020   OB    9/25/2020   WN;965;MDW;FLL                    NORTH HEATHER          CT                US    36030   123797938@AIRLINE.KIWI.COM
QK46N5   9/9/2020   OB    10/2/2020   WN;2627;ATL;MSY                   LAKE DENISE            TN                US    22817   123798015@AIRLINE.KIWI.COM
QKBB5M   9/9/2020   OB    10/2/2020   WN;2627;ATL;MSY                   SOUTH CAROLYN          ID                US    74058   123798015@AIRLINE.KIWI.COM
QKJ7UZ   9/9/2020   OB     9/9/2020   WN;705;OAK;LAS                    PEREZMOUTH             ID                US    37174   123798037@AIRLINE.KIWI.COM
QMAFTM   9/9/2020   OB    9/17/2020   WN;2286;LAX;OAK;WN;2289;OAK;MDW   WEST JOHN              TX                US    54715   123798851@AIRLINE.KIWI.COM
QMAFTM   9/9/2020   RT    9/20/2020   WN;2371;MDW;LAX                   WEST JOHN              TX                US    54715   123798851@AIRLINE.KIWI.COM
QMFNUK   9/9/2020   OB    9/18/2020   WN;1449;LAX;PHX                   INGRAMBURGH            CO                US     5119   123798741@AIRLINE.KIWI.COM
QMRU48   9/9/2020   OB    9/12/2020   WN;140;BOS;BNA                    TERRISHIRE             MS                US    80050   123799181@AIRLINE.KIWI.COM
QMRU48   9/9/2020   RT    9/19/2020   WN;183;BNA;BOS                    TERRISHIRE             MS                US    80050   123799181@AIRLINE.KIWI.COM
QNZPX8   9/9/2020   OB    9/13/2020   WN;2439;LAS;DEN                   WEST MICHELLE          HI                US    93749   123799753@AIRLINE.KIWI.COM
QO5FP3   9/9/2020   OB    9/11/2020   WN;161;DEN;LAS                    PORT JERRY             MD                US    16922   123799753@AIRLINE.KIWI.COM
QSESWY   9/9/2020   OB    9/16/2020   WN;1974;SAN;LAS                   LANELAND               IL                US     1892   123802767@AIRLINE.KIWI.COM
RBMKOM   9/9/2020   OB     9/9/2020   WN;710;LAS;OMA                    PENNINGTONVILLE        IN                US    98527   123819784@AIRLINE.KIWI.COM
REJVOA   9/9/2020   OB   10/15/2020   WN;2580;BUR;OAK                   NEW JENNIFER           SC                US    10096   123822699@AIRLINE.KIWI.COM
REJVOA   9/9/2020   RT   10/18/2020   WN;2352;OAK;BUR                   NEW JENNIFER           SC                US    10096   123822699@AIRLINE.KIWI.COM
RGN73F   9/9/2020   OB    9/10/2020   WN;1988;MCO;SJU                   WEST DAVID             AL                US    77710   123825482@AIRLINE.KIWI.COM
RMX444   9/9/2020   OB    9/11/2020   WN;112;ATL;RDU                    DENNISSIDE             NY                US    74249   123831840@AIRLINE.KIWI.COM
ROLAUQ   9/9/2020   OB   11/21/2020   WN;2256;PNS;HOU                   KENDRAMOUTH            AK                US    55985   123834117@AIRLINE.KIWI.COM
ROLMRK   9/9/2020   OB     9/9/2020   WN;928;ATL;FLL                    ALBERTSHIRE            MD                US    11630   123833644@AIRLINE.KIWI.COM
ROOHXO   9/9/2020   OB    9/25/2020   WN;944;BWI;FLL                    JEFFERYSTAD            IA                US    32584   123834469@AIRLINE.KIWI.COM
RPSQ6R   9/9/2020   OB     9/9/2020   WN;2185;FLL;STL;WN;2360;STL;LAX   BALLTOWN               NV                US    39369   123836053@AIRLINE.KIWI.COM
RRLYXA   9/9/2020   OB    9/10/2020   WN;1987;ELP;HOU;WN;136;HOU;SAT    PAYNEBURGH             FL                US    27483   123837780@AIRLINE.KIWI.COM
RSWKDD   9/9/2020   OB    9/17/2020   WN;2635;STL;ATL                   MATTHEWSMOUTH          ID                US    53340   123734809@AIRLINE.KIWI.COM
RTV5QW   9/9/2020   OB    9/23/2020   WN;139;ATL;BWI;WN;139;BWI;MCO     KATRINAMOUTH           MN                US    64526   123838308@AIRLINE.KIWI.COM
RUXPLL   9/9/2020   OB    9/26/2020   WN;2113;DTW;BNA                   WEST RACHAELBURGH      MD                US    96655   123841454@AIRLINE.KIWI.COM
RYH5ZS   9/9/2020   OB    9/23/2020   WN;4999;HOU;BWI                   EAST NATALIETOWN       PA                US    93786   123844336@AIRLINE.KIWI.COM
RYPBYA   9/9/2020   OB    9/17/2020   WN;2545;MEM;ATL;WN;112;ATL;RDU    NORTH MICHAEL          IL                US    28346   123844567@AIRLINE.KIWI.COM
RYSFBI   9/9/2020   OB    9/25/2020   WN;1593;BWI;HOU                   EAST ANNA              MN                US    38338   123845326@AIRLINE.KIWI.COM
S2ZUE5   9/9/2020   OB    9/24/2020   WN;2544;TPA;SJU                   NYANTAKYIBERG          ASHANTI           GH     8444   123847262@AIRLINE.KIWI.COM
S4KNG8   9/9/2020   OB   11/29/2020   WN;1340;RNO;PHX                   LAKE HOLLY             WV                US    24945   123849033@AIRLINE.KIWI.COM
S4MPV5   9/9/2020   OB    9/30/2020   WN;1984;TPA;MDW;WN;1464;MDW;DCA   HILLLAND               OK                US    95624   123848857@AIRLINE.KIWI.COM
S89YFV   9/9/2020   OB   10/18/2020   WN;1014;MEM;MDW                   EDWARDSPORT            MT                US    50896   123852487@AIRLINE.KIWI.COM
S8PXKC   9/9/2020   OB     9/9/2020   WN;1493;LAS;SAT                   AARONBERG              NM                US    90795   123853158@AIRLINE.KIWI.COM
SB6X6A   9/9/2020   OB    9/13/2020   WN;1984;MDW;MSP                   HENDERSONFURT          NH                US    12624   123855710@AIRLINE.KIWI.COM
SCJUKJ   9/9/2020   OB   10/20/2020   WN;62;PIT;MCO                     NEW JASONPORT          SC                US    15488   123856975@AIRLINE.KIWI.COM
SCJUKJ   9/9/2020   OB   10/20/2020   WN;62;PIT;MCO                     NEW JASONPORT          SC                US    15488   123856975@AIRLINE.KIWI.COM
SCJUKJ   9/9/2020   OB   10/20/2020   WN;62;PIT;MCO                     NEW JASONPORT          SC                US    15488   123856975@AIRLINE.KIWI.COM
SCURKM   9/9/2020   OB    9/13/2020   WN;159;OAK;DAL;WN;1002;DAL;SAT    JACOBBOROUGH           MT                US    93482   123856150@AIRLINE.KIWI.COM
SGQE5U   9/9/2020   OB    9/23/2020   WN;6803;DEN;RNO                   SOUTH KEVIN            WI                US    26224   123861463@AIRLINE.KIWI.COM
SHDD53   9/9/2020   OB    11/6/2020   WN;1034;MEM;ATL;WN;1087;ATL;BWI   NEW MATTHEWHAVEN       MT                US    25443   123862255@AIRLINE.KIWI.COM
SHV2ZK   9/9/2020   OB    9/13/2020   WN;159;OAK;DAL;WN;1002;DAL;SAT    STACYSIDE              AL                US      938   123863146@AIRLINE.KIWI.COM
SIZLIK   9/9/2020   OB    1/15/2021   WN;235;LAX;DAL;WN;2308;DAL;BWI    JOHNSONHAVEN           HI                US    11609   123863366@AIRLINE.KIWI.COM
SIZLIK   9/9/2020   OB    1/15/2021   WN;235;LAX;DAL;WN;2308;DAL;BWI    JOHNSONHAVEN           HI                US    11609   123863366@AIRLINE.KIWI.COM
SJ2W7S   9/9/2020   OB    9/12/2020   WN;6800;CMH;LAS;WN;2186;LAS;LGB   MCINTOSHSTAD           AZ                US    56572   123839166@AIRLINE.KIWI.COM
SJ2W7S   9/9/2020   OB    9/12/2020   WN;6800;CMH;LAS;WN;2186;LAS;LGB   MCINTOSHSTAD           AZ                US    56572   123839166@AIRLINE.KIWI.COM
SJ2W7S   9/9/2020   OB    9/12/2020   WN;6800;CMH;LAS;WN;2186;LAS;LGB   MCINTOSHSTAD           AZ                US    56572   123839166@AIRLINE.KIWI.COM
SJ2W7S   9/9/2020   OB    9/12/2020   WN;6800;CMH;LAS;WN;2186;LAS;LGB   MCINTOSHSTAD           AZ                US    56572   123839166@AIRLINE.KIWI.COM
SJ9F9B   9/9/2020   OB    9/13/2020   WN;2323;LAS;OAK                   WANDASIDE              RI                US    30226   123864719@AIRLINE.KIWI.COM
SK2UCW   9/9/2020   OB   11/29/2020   WN;4800;DEN;PHL                   JASMINEVIEW            CO                US    25282   123864840@AIRLINE.KIWI.COM
SK2UCW   9/9/2020   OB   11/29/2020   WN;4800;DEN;PHL                   JASMINEVIEW            CO                US    25282   123864840@AIRLINE.KIWI.COM
SK2UCW   9/9/2020   OB   11/29/2020   WN;4800;DEN;PHL                   JASMINEVIEW            CO                US    25282   123864840@AIRLINE.KIWI.COM
SKGMGG   9/9/2020   OB   11/29/2020   WN;4800;DEN;PHL                   SOUTH AMANDABOROUGH    MI                US    20118   123865654@AIRLINE.KIWI.COM
SKGMGG   9/9/2020   OB   11/29/2020   WN;4800;DEN;PHL                   SOUTH AMANDABOROUGH    MI                US    20118   123865654@AIRLINE.KIWI.COM
SKGMGG   9/9/2020   OB   11/29/2020   WN;4800;DEN;PHL                   SOUTH AMANDABOROUGH    MI                US    20118   123865654@AIRLINE.KIWI.COM
SLQLVD   9/9/2020   OB    9/17/2020   WN;1269;PHL;STL;WN;877;STL;LAS    NORTH LINDSAY          WI                US    70803   123866897@AIRLINE.KIWI.COM
SLRR4J   9/9/2020   OB    9/11/2020   WN;1075;GRR;BWI;WN;2236;BWI;PBI   WEST JASONTON          DE                US    97757   123867425@AIRLINE.KIWI.COM
SMZRDO   9/9/2020   OB    9/10/2020   WN;2330;FLL;TPA                   AL QSYRSIDE            JIZAN             SA    75450   123868360@AIRLINE.KIWI.COM
SN6U67   9/9/2020   OB   12/22/2020   WN;1101;SLC;DEN;WN;1157;DEN;GRR   JAMESBURGH             MN                US    83512   123868316@AIRLINE.KIWI.COM
SN6U67   9/9/2020   OB   12/29/2020   WN;578;GRR;DEN                    JAMESBURGH             MN                US    83512   123868316@AIRLINE.KIWI.COM
SN6U67   9/9/2020   OB   12/22/2020   WN;1101;SLC;DEN;WN;1157;DEN;GRR   JAMESBURGH             MN                US    83512   123868316@AIRLINE.KIWI.COM
SN6U67   9/9/2020   OB   12/29/2020   WN;578;GRR;DEN                    JAMESBURGH             MN                US    83512   123868316@AIRLINE.KIWI.COM
SR26UK   9/9/2020   OB    9/16/2020   WN;1873;CLT;MDW;WN;1645;MDW;PHL   JACOBSIDE              MI                US    97495   123874124@AIRLINE.KIWI.COM
SR26UK   9/9/2020   OB    9/16/2020   WN;1873;CLT;MDW;WN;1645;MDW;PHL   JACOBSIDE              MI                US    97495   123874124@AIRLINE.KIWI.COM
SRR589   9/9/2020   OB   12/26/2020   WN;2200;SMF;DEN;WN;2247;DEN;TPA   LOVEHAVEN              MI                US    32940   123876577@AIRLINE.KIWI.COM
SSBZ83   9/9/2020   OB    9/24/2020   WN;2081;JAX;BWI;WN;2081;BWI;BNA   WEST KRISTY            MD                US     3488   123876665@AIRLINE.KIWI.COM
SSBZ83   9/9/2020   OB    9/24/2020   WN;2081;JAX;BWI;WN;2081;BWI;BNA   WEST KRISTY            MD                US     3488   123876665@AIRLINE.KIWI.COM
SSGHCF   9/9/2020   OB   12/22/2020   WN;1101;SLC;DEN;WN;1157;DEN;GRR   SARAHTOWN              MN                US    68586   123877490@AIRLINE.KIWI.COM
SSGHCF   9/9/2020   OB   12/22/2020   WN;1101;SLC;DEN;WN;1157;DEN;GRR   SARAHTOWN              MN                US    68586   123877490@AIRLINE.KIWI.COM
SSZ2O5   9/9/2020   OB   12/29/2020   WN;578;GRR;DEN                    COURTNEYBURGH          AK                US    41307   123877490@AIRLINE.KIWI.COM
SSZ2O5   9/9/2020   OB   12/29/2020   WN;578;GRR;DEN                    COURTNEYBURGH          AK                US    41307   123877490@AIRLINE.KIWI.COM
STIIRW   9/9/2020   OB   11/10/2020   WN;2630;RSW;MDW                   PORT MIGUELVIEW        NC                US    49835   123878502@AIRLINE.KIWI.COM




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STNW8G    9/9/2020   OB    9/26/2020   WN;2180;MDW;ATL                   NEW CHARLESSHIRE       NJ                       US   48954   123878337@AIRLINE.KIWI.COM
SU2MEW    9/9/2020   OB    9/10/2020   WN;1306;BHM;MCO                   KHUTIR IAREMA          IVANOFRANKIVSKA OBLAST   UA   44579   123879899@AIRLINE.KIWI.COM
SVJYHQ    9/9/2020   OB     9/9/2020   WN;1798;LAS;PHX                   GEORGEBOROUGH          WV                       US   89627   123881439@AIRLINE.KIWI.COM
SXNKSA    9/9/2020   OB   10/16/2020   WN;2072;HOU;MDW;WN;2221;MDW;MSP   APRILBOROUGH           OH                       US   22714   123884167@AIRLINE.KIWI.COM
SYH6NO    9/9/2020   OB    9/29/2020   WN;1661;BWI;LAS                   VEENENDAAL             ZUIDHOLLAND              NL   44571   123885025@AIRLINE.KIWI.COM
SYH6NO    9/9/2020   OB    9/29/2020   WN;1661;BWI;LAS                   VEENENDAAL             ZUIDHOLLAND              NL   44571   123885025@AIRLINE.KIWI.COM
SYJT34    9/9/2020   OB   10/12/2020   WN;1452;BWI;DTW                   EATONMOUTH             IA                       US   90841   123884629@AIRLINE.KIWI.COM
SZIYZW    9/9/2020   OB    10/1/2020   WN;2458;DEN;ABQ                   GLENNFORT              VT                       US   85217   123886015@AIRLINE.KIWI.COM
T2LWCI    9/9/2020   OB   10/11/2020   WN;2070;JAX;ATL;WN;6544;ATL;IND   SANCHEZHAVEN           NV                       US   83772   123886466@AIRLINE.KIWI.COM
T2UU5V    9/9/2020   OB   11/19/2020   WN;1087;MCO;BNA;WN;369;BNA;DCA    SAN RUBEN LOS BAJOS    QUERETARO                MX    6865   123886202@AIRLINE.KIWI.COM
T3MPMQ    9/9/2020   OB    12/4/2020   WN;2707;ATL;LGA                   SOUTH HOLLIEBOROUGH    HARROW                   GB   62184   123886906@AIRLINE.KIWI.COM
T3UDV3    9/9/2020   OB    9/24/2020   WN;2453;HOU;FLL                   PORT ANGELATON         NH                       US   63428   123887093@AIRLINE.KIWI.COM
T8IQGM    9/9/2020   OB    9/10/2020   WN;730;AMA;DAL;WN;1006;DAL;MCO    VIEJA REPUBLICA POPU   BAJA CALIFORNIA SUR      MX   55958   123889249@AIRLINE.KIWI.COM
T8WJFB    9/9/2020   OB   11/14/2020   WN;2391;SAT;LAS                   NORTH LESLIE           MN                       US   76737   123889227@AIRLINE.KIWI.COM
T8WJFB    9/9/2020   OB   11/14/2020   WN;2391;SAT;LAS                   NORTH LESLIE           MN                       US   76737   123889227@AIRLINE.KIWI.COM
T8WQY9    9/9/2020   OB   11/17/2020   WN;2417;LAS;SAT                   POTTERMOUTH            NE                       US   97910   123889238@AIRLINE.KIWI.COM
T8WQY9    9/9/2020   OB   11/17/2020   WN;2417;LAS;SAT                   POTTERMOUTH            NE                       US   97910   123889238@AIRLINE.KIWI.COM
TA2UH9    9/9/2020   OB    9/10/2020   WN;3335;PHL;BNA;WN;2272;BNA;FLL   NORTH MICHELLEFORT     NM                       US   49136   123889711@AIRLINE.KIWI.COM
TBEUH4   9/10/2020   OB    10/1/2020   WN;2266;MDW;MEM;WN;2545;MEM;ATL   SOUTH CONNIE           NH                       US   68948   123890338@AIRLINE.KIWI.COM
TBEUH4   9/10/2020   OB    10/1/2020   WN;2266;MDW;MEM;WN;2545;MEM;ATL   SOUTH CONNIE           NH                       US   68948   123890338@AIRLINE.KIWI.COM
TBJALZ   9/10/2020   OB    10/1/2020   WN;2366;SLC;DEN;WN;1971;DEN;LAS   LAKE DENISETOWN        IN                       US   26269   123890371@AIRLINE.KIWI.COM
TCSKIX   9/10/2020   OB    9/10/2020   WN;1522;BNA;DAL                   LAKE PENNY             IA                       US   42479   123890602@AIRLINE.KIWI.COM
TFV245   9/10/2020   OB    10/4/2020   WN;2143;LGA;DEN                   S ALDAN                KS                       US    2587   123891537@AIRLINE.KIWI.COM
TFYJ42   9/10/2020   OB    9/25/2020   WN;1993;FLL;BNA                   WEST RANDY             WA                       US   62986   123891735@AIRLINE.KIWI.COM
TFYJ42   9/10/2020   RT    9/27/2020   WN;3342;BNA;FLL                   WEST RANDY             WA                       US   62986   123891735@AIRLINE.KIWI.COM
TGK2EQ   9/10/2020   OB    9/10/2020   WN;1582;PIT;BNA                   NORTH ROBERTBERG       PA                       US   19433   123892131@AIRLINE.KIWI.COM
TH34U3   9/10/2020   OB    10/7/2020   WN;1690;OAK;LAS                   NORTH TRAVISVIEW       OR                       US   74430   123891889@AIRLINE.KIWI.COM
TH5MQQ   9/10/2020   OB   10/17/2020   WN;1986;DEN;OAK                   NORTH ANITABOROUGH     DE                       US   60590   123891966@AIRLINE.KIWI.COM
THO9S6   9/10/2020   OB    9/10/2020   WN;2266;MSP;MDW                   MILLERSTAD             ID                       US   76729   123892494@AIRLINE.KIWI.COM
TICGT4   9/10/2020   OB    9/23/2020   WN;255;BWI;BDL                    PORT SARAH             SD                       US   55508   123892835@AIRLINE.KIWI.COM
TKVRZP   9/10/2020   OB    10/7/2020   WN;1690;OAK;LAS                   EAST DANIELSHIRE       ME                       US    4426   123893605@AIRLINE.KIWI.COM
TLEXYE   9/10/2020   OB    10/7/2020   WN;1690;OAK;LAS                   DERRICKSIDE            AL                       US   98671   123893649@AIRLINE.KIWI.COM
TLMVW2   9/10/2020   OB    9/10/2020   WN;2426;AUS;HOU;WN;307;HOU;CUN    COMBSCHESTER           CT                       US   35295   123894012@AIRLINE.KIWI.COM
TLP5G8   9/10/2020   OB   11/25/2020   WN;1726;LAS;SAT                   KENNETHLAND            NJ                       US   82343   123894353@AIRLINE.KIWI.COM
TLP5G8   9/10/2020   OB   11/29/2020   WN;2027;SAT;DEN;WN;4922;DEN;SAN   KENNETHLAND            NJ                       US   82343   123894353@AIRLINE.KIWI.COM
TMNYGU   9/10/2020   OB   11/25/2020   WN;1726;LAS;SAT                   WEST AMY               NY                       US   15531   123894353@AIRLINE.KIWI.COM
TMNYGU   9/10/2020   OB   11/29/2020   WN;2027;SAT;DEN;WN;4922;DEN;SAN   WEST AMY               NY                       US   15531   123894353@AIRLINE.KIWI.COM
TNPZN3   9/10/2020   OB   12/30/2020   WN;1101;SLC;DEN;WN;2138;DEN;MCO   WARDSIDE               SD                       US   98653   123894925@AIRLINE.KIWI.COM
TNPZN3   9/10/2020   OB   12/30/2020   WN;1101;SLC;DEN;WN;2138;DEN;MCO   WARDSIDE               SD                       US   98653   123894925@AIRLINE.KIWI.COM
TNPZN3   9/10/2020   OB   12/30/2020   WN;1101;SLC;DEN;WN;2138;DEN;MCO   WARDSIDE               SD                       US   98653   123894925@AIRLINE.KIWI.COM
TNPZN3   9/10/2020   OB   12/30/2020   WN;1101;SLC;DEN;WN;2138;DEN;MCO   WARDSIDE               SD                       US   98653   123894925@AIRLINE.KIWI.COM
TNPZN3   9/10/2020   OB   12/30/2020   WN;1101;SLC;DEN;WN;2138;DEN;MCO   WARDSIDE               SD                       US   98653   123894925@AIRLINE.KIWI.COM
TNPZN3   9/10/2020   OB   12/30/2020   WN;1101;SLC;DEN;WN;2138;DEN;MCO   WARDSIDE               SD                       US   98653   123894925@AIRLINE.KIWI.COM
TROF28   9/10/2020   OB    10/2/2020   WN;2182;JAX;ATL                   LAKE SARAFORT          AZ                       US   61652   123895937@AIRLINE.KIWI.COM
TROF28   9/10/2020   RT    10/5/2020   WN;2056;ATL;JAX                   LAKE SARAFORT          AZ                       US   61652   123895937@AIRLINE.KIWI.COM
TS5RTH   9/10/2020   OB    10/5/2020   WN;2312;LAS;OAK                   ROBYNFORT              MN                       US    4756   123896234@AIRLINE.KIWI.COM
TSH35I   9/10/2020   OB    9/12/2020   WN;2031;BNA;BWI                   TIMOTHYMOUTH           MO                       US   41399   123896256@AIRLINE.KIWI.COM
TSH35I   9/10/2020   RT    9/23/2020   WN;2271;BWI;BNA                   TIMOTHYMOUTH           MO                       US   41399   123896256@AIRLINE.KIWI.COM
TSVOFG   9/10/2020   OB   11/25/2020   WN;1151;OAK;PHX                   SAN CELIA DE LA MONT   ZACATECAS                MX   81164   123896399@AIRLINE.KIWI.COM
TSVOFG   9/10/2020   OB   11/25/2020   WN;1151;OAK;PHX                   SAN CELIA DE LA MONT   ZACATECAS                MX   81164   123896399@AIRLINE.KIWI.COM
TUT4ZE   9/10/2020   OB    9/10/2020   WN;2540;ATL;RDU                   NEW DANIELSTAD         MO                       US    5584   123896795@AIRLINE.KIWI.COM
TUT4ZE   9/10/2020   OB    9/10/2020   WN;2540;ATL;RDU                   NEW DANIELSTAD         MO                       US    5584   123896795@AIRLINE.KIWI.COM
TVH8F4   9/10/2020   OB    9/10/2020   WN;2116;LAX;SMF                   BENJAMINTON            MT                       US    4141   123897059@AIRLINE.KIWI.COM
TWKGON   9/10/2020   OB    9/29/2020   WN;1021;LAS;SNA                   SOUTH GLENDA           NY                       US   26263   123897730@AIRLINE.KIWI.COM
TYO8GV   9/10/2020   OB    9/20/2020   WN;184;DEN;LAX                    XIN SU QU              NAGANO                   JP   45276   123897477@AIRLINE.KIWI.COM
U429SI   9/10/2020   OB    9/21/2020   WN;965;MDW;FLL                    WEST PAULAFORT         DE                       US   36112   123899303@AIRLINE.KIWI.COM
U4RYQM   9/10/2020   OB    9/20/2020   WN;1501;MDW;MSY                   WEST BRITTANYVILLE     CA                       US   68223   123899325@AIRLINE.KIWI.COM
U5BVIZ   9/10/2020   OB    9/10/2020   WN;2259;MSY;BWI;WN;1750;BWI;FLL   SOUTH GREGMOUTH        ND                       US   60481   123900260@AIRLINE.KIWI.COM
U77INN   9/10/2020   OB    9/10/2020   WN;1177;SEA;DEN;WN;3004;DEN;LAS   EAST SARA              OH                       US   62979   123899952@AIRLINE.KIWI.COM
U7NSSV   9/10/2020   OB    9/17/2020   WN;36;MSY;HOU                     LAKE JENNIFER          NE                       US   24176   123899325@AIRLINE.KIWI.COM
U9GI2M   9/10/2020   OB    9/25/2020   WN;1324;SMF;LAX                   SOUTH NICU             DOLJ                     RO   62102   123902119@AIRLINE.KIWI.COM
U9S986   9/10/2020   OB    9/22/2020   WN;2382;PHX;HOU;WN;2382;HOU;FLL   PATTYMOUTH             DE                       US   57106   123902196@AIRLINE.KIWI.COM
UAC6GY   9/10/2020   OB    9/21/2020   WN;803;LAX;RNO                    HROZNETIN              -                        -    85484   123902548@AIRLINE.KIWI.COM
UAMNFC   9/10/2020   OB    9/10/2020   WN;806;SMF;LAX                    ELLIOTTTON             MA                       US   87800   123902889@AIRLINE.KIWI.COM
UHMQFY   9/10/2020   OB    9/30/2020   WN;2330;STL;FLL                   LAKE AMANDAFORT        AL                       US   98468   123906376@AIRLINE.KIWI.COM
UKBGY8   9/10/2020   OB   11/30/2020   WN;3277;BNA;PHX;WN;847;PHX;SJC    NEW DONNASHIRE         MI                       US   58858   123910424@AIRLINE.KIWI.COM
UKBGY8   9/10/2020   OB   11/30/2020   WN;3277;BNA;PHX;WN;847;PHX;SJC    NEW DONNASHIRE         MI                       US   58858   123910424@AIRLINE.KIWI.COM
UOJWUI   9/10/2020   OB    9/29/2020   WN;1466;LAS;DEN                   NELSONFORT             CA                       US   26896   123914560@AIRLINE.KIWI.COM
UOJWUI   9/10/2020   OB    9/29/2020   WN;1466;LAS;DEN                   NELSONFORT             CA                       US   26896   123914560@AIRLINE.KIWI.COM
UOJWUI   9/10/2020   OB    9/29/2020   WN;1466;LAS;DEN                   NELSONFORT             CA                       US   26896   123914560@AIRLINE.KIWI.COM
UP9JWU   9/10/2020   OB    9/11/2020   WN;1699;LAS;ONT                   DEBORAHSTAD            MD                       US    6860   123915209@AIRLINE.KIWI.COM
UP9JWU   9/10/2020   RT    9/14/2020   WN;2566;ONT;LAS                   DEBORAHSTAD            MD                       US    6860   123915209@AIRLINE.KIWI.COM
URAAGT   9/10/2020   OB    10/1/2020   WN;1609;BWI;CUN                   DUNCANTON              KY                       US   55841   123916925@AIRLINE.KIWI.COM
URAAGT   9/10/2020   OB    10/1/2020   WN;1609;BWI;CUN                   DUNCANTON              KY                       US   55841   123916925@AIRLINE.KIWI.COM
V5PEC6   9/10/2020   OB    9/19/2020   WN;1074;PHX;LAS                   LAKE MOLLY             OR                       US   55212   123930741@AIRLINE.KIWI.COM
V8D737   9/10/2020   OB   10/14/2020   WN;1775;BNA;FLL                   WEST ANGELACHESTER     IL                       US   94989   123932963@AIRLINE.KIWI.COM
V8D737   9/10/2020   RT   10/16/2020   WN;2377;FLL;BNA                   WEST ANGELACHESTER     IL                       US   94989   123932963@AIRLINE.KIWI.COM
VDB5Y7   9/10/2020   OB    9/14/2020   WN;1018;CUN;DEN;WN;1996;DEN;DAL   EAST BRANDON           TN                       US   14229   123939222@AIRLINE.KIWI.COM
VKC4GE   9/10/2020   OB    9/12/2020   WN;1492;SNA;LAS                   SOUTH SCOTT            CA                       US   40322   123947692@AIRLINE.KIWI.COM
VLE8CU   9/10/2020   OB    9/10/2020   WN;1269;MDW;BNA                   WILLIAMSTAD            VA                       US   19643   123947835@AIRLINE.KIWI.COM
VLZTGQ   9/10/2020   OB    9/10/2020   WN;1324;SMF;LAX                   NORTH MELINDA          AR                       US   96853   123948814@AIRLINE.KIWI.COM
VMWQ3M   9/10/2020   OB    9/30/2020   WN;2530;TUS;LAS                   NEW FELICIASTAD        ME                       US   94038   123948737@AIRLINE.KIWI.COM
VMWRPP   9/10/2020   OB   10/26/2020   WN;2291;PHX;OAK                   SOUTH STEVEN           RI                       US   21425   123948858@AIRLINE.KIWI.COM
VNL8R9   9/10/2020   OB    9/26/2020   WN;2266;MEM;DEN                   EAST EMILYMOUTH        GA                       US   86834   123950596@AIRLINE.KIWI.COM
VNQZ2X   9/10/2020   OB    9/17/2020   WN;1986;DEN;OAK                   LAKE BRANDON           UT                       US   91467   123949232@AIRLINE.KIWI.COM
VOCOLK   9/10/2020   OB    9/19/2020   WN;2529;DTW;BNA                   SHEPPARDCHESTER        CA                       US   77248   123951223@AIRLINE.KIWI.COM
VOCOLK   9/10/2020   RT    9/21/2020   WN;2168;BNA;DTW                   SHEPPARDCHESTER        CA                       US   77248   123951223@AIRLINE.KIWI.COM
VR4XTT   9/10/2020   OB    9/14/2020   WN;2002;ATL;MEM                   ANDERSONBURY           SD                       US   15072   123953896@AIRLINE.KIWI.COM
VS7QP8   9/10/2020   OB   10/31/2020   WN;2148;MCI;DEN                   NICHOLASSHIRE          AL                       US   91748   123950772@AIRLINE.KIWI.COM
VS7VXR   9/10/2020   OB    9/16/2020   WN;2544;TPA;SJU                   SOUTH JACOB            AL                       US   47566   123953192@AIRLINE.KIWI.COM
VVBWC6   9/10/2020   OB    9/11/2020   WN;2377;BUF;BWI;WN;2356;BWI;PVD   SOUTH SUSAN            NV                       US   94202   123958472@AIRLINE.KIWI.COM
VWVOI2   9/10/2020   OB    9/23/2020   WN;1901;DEN;LAX                   JOHNSONTON             ME                       US   23701   123959242@AIRLINE.KIWI.COM
VYDUYY   9/10/2020   OB    10/5/2020   WN;2030;FLL;TPA                   VARDENIS               GEGARKUNIK               AM   13230   123960727@AIRLINE.KIWI.COM
VZYBRL   9/10/2020   OB    9/11/2020   WN;2579;PHX;LAS                   LAKE LISA              NJ                       US   52580   123963796@AIRLINE.KIWI.COM
W375BL   9/10/2020   OB    9/12/2020   WN;429;CVG;BWI;WN;114;BWI;LAS     LAKE TIMOTHYBURGH      NM                       US   22566   123964500@AIRLINE.KIWI.COM
W375BL   9/10/2020   OB    9/12/2020   WN;429;CVG;BWI;WN;114;BWI;LAS     LAKE TIMOTHYBURGH      NM                       US   22566   123964500@AIRLINE.KIWI.COM
W375BL   9/10/2020   OB    9/12/2020   WN;429;CVG;BWI;WN;114;BWI;LAS     LAKE TIMOTHYBURGH      NM                       US   22566   123964500@AIRLINE.KIWI.COM
W3OE45   9/10/2020   OB    9/18/2020   WN;596;OMA;DEN                    KEVINLAND              FL                       US   43762   123965787@AIRLINE.KIWI.COM
W3OE45   9/10/2020   OB    9/18/2020   WN;596;OMA;DEN                    KEVINLAND              FL                       US   43762   123965787@AIRLINE.KIWI.COM
W3UCNH   9/10/2020   OB    9/28/2020   WN;2505;BNA;MDW                   JACQUELINESIDE         SC                       US   64063   123965600@AIRLINE.KIWI.COM
W3UCNH   9/10/2020   OB    9/28/2020   WN;2505;BNA;MDW                   JACQUELINESIDE         SC                       US   64063   123965600@AIRLINE.KIWI.COM
W4K87U   9/10/2020   OB    9/11/2020   WN;2272;BNA;FLL                   SOUTH GREGORY          VT                       US   40042   123966634@AIRLINE.KIWI.COM
W5LZA3   9/10/2020   OB    9/15/2020   WN;1285;PVD;BWI;WN;2227;BWI;ORF   NORTH KAYLABURY        SD                       US   25468   123967789@AIRLINE.KIWI.COM
W64QOA   9/10/2020   OB    9/18/2020   WN;2330;TPA;MCI                   JAYPORT                SC                       US   43830   123968713@AIRLINE.KIWI.COM
W64QOA   9/10/2020   RT    9/20/2020   WN;2628;MCI;TPA                   JAYPORT                SC                       US   43830   123968713@AIRLINE.KIWI.COM
W6CGPO   9/10/2020   OB    9/22/2020   WN;2439;LAS;DEN                   NORTH SARAH            AL                       US   90411   123968867@AIRLINE.KIWI.COM
W6KBLY   9/10/2020   OB   10/28/2020   WN;125;DEN;MCI                    LAKE JASONBERG         FL                       US   19746   123968482@AIRLINE.KIWI.COM




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W6R6TQ   9/10/2020   OB    9/17/2020   WN;1993;FLL;BNA                   KLAUSENVIEW            SYDDANMARK             DK   79946   123968988@AIRLINE.KIWI.COM
W772BW   9/10/2020   OB    9/27/2020   WN;1324;SMF;LAX                   NORTH JOSHUA           QUEENSLAND             AU   29921   123969659@AIRLINE.KIWI.COM
W8J9CI   9/10/2020   OB   10/23/2020   WN;36;MSY;HOU                     RILEYHAVEN             FL                     US   69012   123972013@AIRLINE.KIWI.COM
W8XS3X   9/10/2020   OB    9/27/2020   WN;2234;IND;BWI                   CLARKFORT              MS                     US   18915   123972189@AIRLINE.KIWI.COM
W9LU9W   9/10/2020   OB    9/24/2020   WN;2545;MEM;ATL;WN;1876;ATL;BNA   STEPHENCHESTER         OK                     US   36900   123972541@AIRLINE.KIWI.COM
WA2VNK   9/10/2020   OB   10/25/2020   WN;1598;HOU;MSY                   JENNIFERSIDE           KY                     US   46395   123973245@AIRLINE.KIWI.COM
WADQB4   9/10/2020   OB    9/15/2020   WN;2030;FLL;TPA                   EAST DANIELLEBURY      MN                     US   62639   123974279@AIRLINE.KIWI.COM
WAMYD3   9/10/2020   OB    9/24/2020   WN;1894;CHS;BNA                   NEW SANDRA             VA                     US   10530   123973289@AIRLINE.KIWI.COM
WANYMH   9/10/2020   OB    9/29/2020   WN;1806;BNA;CHS                   HENRYVIEW              NM                     US   54639   123973289@AIRLINE.KIWI.COM
WAO7OQ   9/10/2020   OB    9/25/2020   WN;2621;RDU;ATL                   TERESASTAD             CA                     US   69951   123973443@AIRLINE.KIWI.COM
WBL8G5   9/10/2020   OB    9/11/2020   WN;2266;MEM;DEN;WN;2205;DEN;OAK   CHRISTYVILLE           MA                     US    4005   123975214@AIRLINE.KIWI.COM
WD2AMI   9/10/2020   OB    10/7/2020   WN;2412;PHX;HOU                   SOUTH JESSICABOROUGH   NM                     US   21885   123974191@AIRLINE.KIWI.COM
WFTZW7   9/10/2020   OB    9/10/2020   WN;1324;SMF;LAX                   NEW ROBERTMOUTH        MT                     US   32355   123978360@AIRLINE.KIWI.COM
WHH758   9/10/2020   OB    9/21/2020   WN;2064;ATL;BWI;WN;2242;BWI;ISP   MITCHELLLAND           MN                     US   95529   123980340@AIRLINE.KIWI.COM
WHH758   9/10/2020   RT    9/28/2020   WN;1040;ISP;BWI;WN;2004;BWI;ATL   MITCHELLLAND           MN                     US   95529   123980340@AIRLINE.KIWI.COM
WK79P6   9/10/2020   OB    9/11/2020   WN;705;OAK;LAS                    PAULBURGH              VA                     US   68140   123982287@AIRLINE.KIWI.COM
WKAMBN   9/10/2020   OB    9/16/2020   WN;3244;BWI;DEN;WN;1534;DEN;ONT   KURTMOUTH              MS                     US   65704   123982122@AIRLINE.KIWI.COM
WKL89S   9/10/2020   OB    9/25/2020   WN;830;OAK;LAS;WN;2555;LAS;TUS    MILLERBERG             IN                     US   51489   123982474@AIRLINE.KIWI.COM
WKV562   9/10/2020   OB    9/25/2020   WN;830;OAK;LAS;WN;2555;LAS;TUS    REBECCAMOUTH           WY                     US   76231   123982474@AIRLINE.KIWI.COM
WLRUBN   9/10/2020   OB    9/25/2020   WN;1492;SNA;LAS                   SOUTH ANDREA           MS                     US   27321   123982947@AIRLINE.KIWI.COM
WM8ZA4   9/10/2020   OB    9/21/2020   WN;2013;BOS;BWI;WN;2003;BWI;SAT   NANCYVIEW              OH                     US   20332   123983618@AIRLINE.KIWI.COM
WMEPMB   9/10/2020   OB    9/18/2020   WN;1915;FLL;MDW                   MIKEFORT               HI                     US   59010   123982540@AIRLINE.KIWI.COM
WMFB7Z   9/10/2020   OB   11/16/2020   WN;243;IND;LAS;WN;1005;LAS;AUS    PORT DALE              KS                     US   77252   123983354@AIRLINE.KIWI.COM
WN7LEV   9/10/2020   OB     1/3/2021   WN;4531;ATL;MDW;WN;4218;MDW;ALB   NORTH RUSSELL          CO                     US   31262   123983816@AIRLINE.KIWI.COM
WN7LEV   9/10/2020   OB     1/3/2021   WN;4531;ATL;MDW;WN;4218;MDW;ALB   NORTH RUSSELL          CO                     US   31262   123983816@AIRLINE.KIWI.COM
WOB8II   9/10/2020   OB    9/10/2020   WN;2383;OAK;LAX                   VALERIECHESTER         NM                     US   38736   123983156@AIRLINE.KIWI.COM
WP4KF4   9/10/2020   OB   10/20/2020   WN;762;LAS;PHX;WN;3322;PHX;SAT    WEST EMILYSHIRE        MT                     US    4947   123984938@AIRLINE.KIWI.COM
WPAHO4   9/10/2020   OB    9/17/2020   WN;2436;BNA;CLE                   HELSINGBORG            HALLANDS LAN           SE   47627   123984982@AIRLINE.KIWI.COM
WPAHO4   9/10/2020   RT    9/21/2020   WN;1835;CLE;BNA                   HELSINGBORG            HALLANDS LAN           SE   47627   123984982@AIRLINE.KIWI.COM
WPQ4HI   9/10/2020   OB   11/14/2020   WN;2048;MHT;MCO                   WEST JAMES             MS                     US   38334   123985323@AIRLINE.KIWI.COM
WPQ4HI   9/10/2020   RT   11/28/2020   WN;300;MCO;MHT                    WEST JAMES             MS                     US   38334   123985323@AIRLINE.KIWI.COM
WQEDW8   9/10/2020   OB    9/12/2020   WN;1554;SFO;DEN;WN;1554;DEN;MKE   KLKH VERKHNII UFALEI   VLADIMIRSKAYA OBLAST   RU   37382   123985532@AIRLINE.KIWI.COM
WQXBRC   9/10/2020   OB   11/28/2020   WN;1919;TPA;SDF                   NORTH JOHNNY           FL                     US   12368   123985686@AIRLINE.KIWI.COM
WQXBRC   9/10/2020   OB   11/28/2020   WN;1919;TPA;SDF                   NORTH JOHNNY           FL                     US   12368   123985686@AIRLINE.KIWI.COM
J3B6UA   9/11/2020   OB    9/11/2020   WN;1780;FLL;ATL                   COLINPORT              MS                     US   59663   123989503@AIRLINE.KIWI.COM
J3B6UA   9/11/2020   OB    9/11/2020   WN;1780;FLL;ATL                   COLINPORT              MS                     US   59663   123989503@AIRLINE.KIWI.COM
J3GIDW   9/11/2020   OB    9/16/2020   WN;2544;TPA;SJU                   PORT ANNABERG          NM                     US   10048   123954589@AIRLINE.KIWI.COM
J3HGZJ   9/11/2020   OB    9/25/2020   WN;135;LAS;LAX                    LAKE SUSANSHIRE        IN                     US   18645   123989382@AIRLINE.KIWI.COM
J4KGUM   9/11/2020   OB    9/29/2020   WN;1379;LAS;MSY                   NEW KIMBERLYBERG       VA                     US   16788   123990196@AIRLINE.KIWI.COM
J4KGUM   9/11/2020   OB    9/29/2020   WN;1379;LAS;MSY                   NEW KIMBERLYBERG       VA                     US   16788   123990196@AIRLINE.KIWI.COM
J4P2IS   9/11/2020   OB    9/14/2020   WN;2200;MDW;DAL;WN;2599;DAL;LIT   MICHAELVIEW            AZ                     US   31086   123990317@AIRLINE.KIWI.COM
J4QGWO   9/11/2020   OB    9/14/2020   WN;2200;MDW;DAL;WN;2599;DAL;LIT   CHRISTOPHERBERG        ME                     US   73265   123990317@AIRLINE.KIWI.COM
J5YOOO   9/11/2020   OB    9/19/2020   WN;4999;HOU;BWI;WN;140;BWI;BOS    NORTH ERIKLAND         NV                     US   87907   123990526@AIRLINE.KIWI.COM
J7OU57   9/11/2020   OB    12/1/2020   WN;1366;TPA;DEN;WN;434;DEN;SFO    NEW RICHARDMOUTH       WY                     US   44545   123991549@AIRLINE.KIWI.COM
J7YLVM   9/11/2020   OB    9/14/2020   WN;2430;HOU;AUS                   D CHITA                STAVROPOLSKIY KRAY     RU   59181   123991175@AIRLINE.KIWI.COM
J876U8   9/11/2020   OB    9/12/2020   WN;2080;ELP;DAL;WN;2297;DAL;AUS   VIEJA BELARUS          DURANGO                MX   31458   123991780@AIRLINE.KIWI.COM
J8RS72   9/11/2020   OB   10/16/2020   WN;2205;DEN;OAK                   SIILINJARVI            LAPPI                  FI   34310   123991758@AIRLINE.KIWI.COM
J8RS72   9/11/2020   OB   10/16/2020   WN;2205;DEN;OAK                   SIILINJARVI            LAPPI                  FI   34310   123991758@AIRLINE.KIWI.COM
J9GJIX   9/11/2020   OB   10/23/2020   WN;2129;OAK;DEN                   HENCOVCE               NITRIANSKY KRAJ        SK   67192   123991978@AIRLINE.KIWI.COM
J9GJIX   9/11/2020   OB   10/23/2020   WN;2129;OAK;DEN                   HENCOVCE               NITRIANSKY KRAJ        SK   67192   123991978@AIRLINE.KIWI.COM
J9K53Q   9/11/2020   OB    9/11/2020   WN;112;ATL;RDU                    JESSEFORT              TN                     US   32879   123992055@AIRLINE.KIWI.COM
J9K53Q   9/11/2020   OB    9/11/2020   WN;112;ATL;RDU                    JESSEFORT              TN                     US   32879   123992055@AIRLINE.KIWI.COM
J9N6DA   9/11/2020   OB    9/27/2020   WN;3201;SMF;PDX                   ERICPORT               OK                     US   89767   123992011@AIRLINE.KIWI.COM
J9W5CW   9/11/2020   OB    9/11/2020   WN;1644;MDW;ATL                   BELLVILLE              NV                     US   38519   123992517@AIRLINE.KIWI.COM
JBRBGA   9/11/2020   OB    9/13/2020   WN;2104;HOU;LAX                   EAST MELANIE           WY                     US    6023   123992880@AIRLINE.KIWI.COM
JBWBVC   9/11/2020   OB    9/27/2020   WN;2502;BUR;SFO                   SOUTH JUSTIN           LA                     US   97722   123993144@AIRLINE.KIWI.COM
JD6PJ2   9/11/2020   OB    9/15/2020   WN;1387;BOI;DEN                   WILSONMOUTH            CT                     US    6321   123993254@AIRLINE.KIWI.COM
JDSWUN   9/11/2020   OB    9/11/2020   WN;2498;SLC;OAK;WN;1563;OAK;PDX   PORT BRADY             NC                     US   30699   123993760@AIRLINE.KIWI.COM
JEJXG6   9/11/2020   OB   10/10/2020   WN;470;SAT;LAS;WN;1884;LAS;LGB    SOUTH LAWRENCEPORT     IL                     US   59823   123994090@AIRLINE.KIWI.COM
JEU87N   9/11/2020   OB    9/12/2020   WN;3200;BOI;LAS                   EAST RICHARDSIDE       MT                     US   53677   123994376@AIRLINE.KIWI.COM
JF38VX   9/11/2020   OB    9/29/2020   WN;1012;DEN;ATL                   PORT KENNETHBURGH      FL                     US   12843   123994288@AIRLINE.KIWI.COM
JG2PEW   9/11/2020   OB    9/16/2020   WN;2038;PHX;LAS                   LAKE KATHLEEN          ID                     US   84399   123993925@AIRLINE.KIWI.COM
JGUIVK   9/11/2020   OB    10/6/2020   WN;6727;IND;LAS                   G RYBINSK              TOMSKAYA OBLAST        RU   54149   123994805@AIRLINE.KIWI.COM
JGUIVK   9/11/2020   OB    10/6/2020   WN;6727;IND;LAS                   G RYBINSK              TOMSKAYA OBLAST        RU   54149   123994805@AIRLINE.KIWI.COM
JIRA5M   9/11/2020   OB   10/25/2020   WN;2544;TPA;SJU                   PORT EMILY             KANTON SARAJEVO        BA   75265   123995663@AIRLINE.KIWI.COM
JJ75QE   9/11/2020   OB    9/16/2020   WN;1748;PBI;BWI                   WEST GREGORY           UT                     US   32870   123995740@AIRLINE.KIWI.COM
JJE3GT   9/11/2020   OB    10/2/2020   WN;1286;SJU;TPA                   ITTHRII                SAGARMATHA             NP   17419   123995674@AIRLINE.KIWI.COM
JMJLE6   9/11/2020   OB    9/11/2020   WN;1256;MDW;SAN                   LAKE PATRICKBURY       MI                     US   59627   123996983@AIRLINE.KIWI.COM
JN5LKP   9/11/2020   OB    9/11/2020   WN;1593;PHX;DEN                   PORT ASHLEYBURY        ID                     US   65899   123997148@AIRLINE.KIWI.COM
JPG3NN   9/11/2020   OB    9/28/2020   WN;1328;SAN;HOU                   S AMDERMA              KOSTROMSKAYA OBLAST    RU   32520   123998138@AIRLINE.KIWI.COM
JQT4XD   9/11/2020   OB    9/12/2020   WN;2484;LAX;DEN                   LAKE MICHELLEHAVEN     SC                     US   71152   123998655@AIRLINE.KIWI.COM
JROR92   9/11/2020   OB    9/22/2020   WN;1669;LAS;OAK                   LESTAD                 NJ                     US   26713   123999018@AIRLINE.KIWI.COM
JSAXLC   9/11/2020   OB    9/14/2020   WN;132;SMF;DEN;WN;2402;DEN;PDX    MARCUSBURY             OR                     US   84329   123999282@AIRLINE.KIWI.COM
JT5FNN   9/11/2020   OB    9/13/2020   WN;3201;SMF;PDX                   LA RIOJA               AVILA                  ES   73616   123999931@AIRLINE.KIWI.COM
K2JUI7   9/11/2020   OB    9/11/2020   WN;797;LAX;OAK                    NEW EVAN               WA                     US    6002   124005838@AIRLINE.KIWI.COM
KA3I8C   9/11/2020   OB    9/21/2020   WN;2200;MDW;DAL;WN;2599;DAL;LIT   NORTH ROBERT           MN                     US   77961   124012966@AIRLINE.KIWI.COM
KORPTB   9/11/2020   OB   10/21/2020   WN;1895;DAL;ATL                   SOUTH JOHNBERG         UT                     US   57846   124027783@AIRLINE.KIWI.COM
KPLV64   9/11/2020   OB    9/11/2020   WN;1780;FLL;ATL                   PAWANSIDE              SUKHOTHAI              TH   64526   124027442@AIRLINE.KIWI.COM
KQ4W8E   9/11/2020   OB   11/29/2020   WN;2653;ATL;PBI                   HEATHERHAVEN           ME                     US   86692   124029246@AIRLINE.KIWI.COM
KQO2VV   9/11/2020   OB    9/14/2020   WN;950;BWI;BOS                    RUSSELLFORT            MT                     US   35875   124029323@AIRLINE.KIWI.COM
KVVWKO   9/11/2020   OB    9/26/2020   WN;2046;DEN;SJC                   SHANNONVIEW            ND                     US   48841   124017333@AIRLINE.KIWI.COM
KVVWKO   9/11/2020   OB    9/26/2020   WN;2046;DEN;SJC                   SHANNONVIEW            ND                     US   48841   124017333@AIRLINE.KIWI.COM
KVVWKO   9/11/2020   OB    9/26/2020   WN;2046;DEN;SJC                   SHANNONVIEW            ND                     US   48841   124017333@AIRLINE.KIWI.COM
KVVWKO   9/11/2020   OB    9/26/2020   WN;2046;DEN;SJC                   SHANNONVIEW            ND                     US   48841   124017333@AIRLINE.KIWI.COM
KW89RG   9/11/2020   OB   10/30/2020   WN;2082;PHX;DAL                   WILLIAMSBERG           MI                     US   90740   124036979@AIRLINE.KIWI.COM
KW89RG   9/11/2020   RT    11/1/2020   WN;2476;DAL;PHX                   WILLIAMSBERG           MI                     US   90740   124036979@AIRLINE.KIWI.COM
L258VR   9/11/2020   OB    9/20/2020   WN;785;LAX;HOU                    NORTH LARRYBOROUGH     CA                     US   57647   124041434@AIRLINE.KIWI.COM
L32OXB   9/11/2020   OB    9/14/2020   WN;1543;LAS;MDW;WN;2289;MDW;MEM   PORT EUGENEMOUTH       TN                     US   75370   124042347@AIRLINE.KIWI.COM
L32OXB   9/11/2020   OB    9/14/2020   WN;1543;LAS;MDW;WN;2289;MDW;MEM   PORT EUGENEMOUTH       TN                     US   75370   124042347@AIRLINE.KIWI.COM
L3G7OG   9/11/2020   OB    9/24/2020   WN;2541;PVD;BWI                   NORTH THERESA          TN                     US   39778   124042567@AIRLINE.KIWI.COM
L3G7OG   9/11/2020   RT    9/27/2020   WN;2170;BWI;PVD                   NORTH THERESA          TN                     US   39778   124042567@AIRLINE.KIWI.COM
L6ZO9U   9/11/2020   OB    9/18/2020   WN;815;PNS;BNA;WN;1876;BNA;CMH    HUNTERMOUTH            NY                     US   33315   124046142@AIRLINE.KIWI.COM
L6ZO9U   9/11/2020   RT    9/21/2020   WN;2157;CMH;BNA;WN;1582;BNA;PNS   HUNTERMOUTH            NY                     US   33315   124046142@AIRLINE.KIWI.COM
L77AM6   9/11/2020   OB    9/12/2020   WN;2070;ATL;BNA;WN;3333;BNA;PIT   PORT CHRISTOPHER       MD                     US   49800   124046505@AIRLINE.KIWI.COM
L7QDGA   9/11/2020   OB    9/13/2020   WN;2192;MDW;BWI;WN;1848;BWI;ALB   LAKE DANABURGH         BOTOSANI               RO    2377   124046923@AIRLINE.KIWI.COM
L8IMWF   9/11/2020   OB    9/12/2020   WN;1873;CLT;MDW;WN;1934;MDW;CLE   FOWLERFORT             MD                     US    6025   124048210@AIRLINE.KIWI.COM
L8XI7B   9/11/2020   OB   10/29/2020   WN;710;IND;MCO                    LAKE CARRIEBURGH       VA                     US   28098   124048606@AIRLINE.KIWI.COM
LB9W34   9/11/2020   OB    9/18/2020   WN;1906;HOU;PHX;WN;1205;PHX;BUR   WHEELERSIDE            WI                     US   10356   124050597@AIRLINE.KIWI.COM
LBPYLY   9/11/2020   OB    9/11/2020   WN;151;CLE;MDW;WN;1984;MDW;MSP    MOODYBURGH             RI                     US   67652   124050696@AIRLINE.KIWI.COM
LBR39X   9/11/2020   OB    9/14/2020   WN;766;ONT;SMF                    CARROLLBURGH           TX                     US   60666   124051202@AIRLINE.KIWI.COM
LD3YGW   9/11/2020   OB    9/13/2020   WN;1111;SAT;BWI;WN;2097;BWI;SDF   SCOTTTON               NE                     US   11394   124052731@AIRLINE.KIWI.COM
LD9JYT   9/11/2020   OB    9/11/2020   WN;1591;ATL;BWI                   KINGTOWN               NE                     US   61519   124052918@AIRLINE.KIWI.COM
LE8UYD   9/11/2020   OB    9/30/2020   WN;2213;STL;MCO                   NEW TRAVIS             GA                     US   60657   124053358@AIRLINE.KIWI.COM
LHPRUQ   9/11/2020   OB    9/30/2020   WN;2167;PVD;BWI;WN;2167;BWI;AUS   CHAVEZMOUTH            RI                     US   42545   124057164@AIRLINE.KIWI.COM
LJJ2UY   9/11/2020   OB    9/15/2020   WN;2098;LAS;LAX                   PAULSTAD               KY                     US   78923   124059155@AIRLINE.KIWI.COM
LJUT6I   9/11/2020   OB   11/12/2020   WN;664;TPA;MSY                    NORTH KENNETH          AK                     US   37500   124059727@AIRLINE.KIWI.COM
LKKPEK   9/11/2020   OB   12/14/2020   WN;4385;SEA;OAK                   WILLIAMFORT            MS                     US   83348   124060475@AIRLINE.KIWI.COM




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LKKPEK   9/11/2020   OB   12/14/2020   WN;4385;SEA;OAK                   WILLIAMFORT            MS                     US   83348   124060475@AIRLINE.KIWI.COM
LKL6W6   9/11/2020   OB   11/15/2020   WN;759;MSY;TPA                    NORTH VALERIETON       ME                     US   29152   124059903@AIRLINE.KIWI.COM
LLD42C   9/11/2020   OB   11/23/2020   WN;4370;SMF;SAN                   SOUTH TAYLORSHIRE      MD                     US   29873   124061828@AIRLINE.KIWI.COM
LLH84I   9/11/2020   OB   11/27/2020   WN;267;SAN;SMF                    MATTHEWHAVEN           LA                     US   10646   124061817@AIRLINE.KIWI.COM
LMSHRX   9/11/2020   OB    10/9/2020   WN;6922;DEN;MCO                   EAST PATRICIATON       NY                     US   47824   124063302@AIRLINE.KIWI.COM
LN9UHY   9/11/2020   OB    9/28/2020   WN;2422;MDW;FLL                   SOUTH MERCEDES         TX                     US   61940   124063412@AIRLINE.KIWI.COM
LN9UHY   9/11/2020   OB    9/28/2020   WN;2422;MDW;FLL                   SOUTH MERCEDES         TX                     US   61940   124063412@AIRLINE.KIWI.COM
LNKVOQ   9/11/2020   OB     1/4/2021   WN;1482;SLC;PHX;WN;619;PHX;LGB    LAKE YVONNE            MN                     US   90124   124064347@AIRLINE.KIWI.COM
LNKVOQ   9/11/2020   OB     1/4/2021   WN;1482;SLC;PHX;WN;619;PHX;LGB    LAKE YVONNE            MN                     US   90124   124064347@AIRLINE.KIWI.COM
LNKVOQ   9/11/2020   OB     1/4/2021   WN;1482;SLC;PHX;WN;619;PHX;LGB    LAKE YVONNE            MN                     US   90124   124064347@AIRLINE.KIWI.COM
LO2N89   9/11/2020   OB     1/6/2021   WN;1355;RSW;BWI                   WARRENLAND             UT                     US   18347   124064633@AIRLINE.KIWI.COM
LOAALG   9/11/2020   OB    1/10/2021   WN;4496;ISP;BWI                   LINDSEYBERG            DE                     US   27742   124064985@AIRLINE.KIWI.COM
LOK5Z3   9/11/2020   OB    9/13/2020   WN;2217;PHX;ONT;WN;2217;ONT;SMF   LAKE PATRICIABURGH     AZ                     US   90609   124065018@AIRLINE.KIWI.COM
LOK5Z3   9/11/2020   OB    9/13/2020   WN;2410;PHX;SMF                   LAKE PATRICIABURGH     AZ                     US   90609   124065018@AIRLINE.KIWI.COM
LOTU7U   9/11/2020   OB    9/21/2020   WN;131;DEN;CUN                    MATTHEWMOUTH           SC                     US   76506   124065612@AIRLINE.KIWI.COM
LPNOI2   9/11/2020   OB    9/13/2020   WN;1941;SAT;LAS;WN;1456;LAS;TUS   LOPEZVIEW              MI                     US    9692   124066503@AIRLINE.KIWI.COM
LQ5GWA   9/11/2020   OB    9/15/2020   WN;2127;MDW;DCA                   WEST DEBRABURY         OR                     US   84580   124066613@AIRLINE.KIWI.COM
LQP9MR   9/11/2020   OB    9/12/2020   WN;2086;BWI;LAS                   BOWIE                  MD                     US   20721   124067636@AIRLINE.KIWI.COM
LQP9MR   9/11/2020   OB    9/12/2020   WN;2086;BWI;LAS                   JOHNSONHAVEN           NY                     US   33503   124067636@AIRLINE.KIWI.COM
LQP9MR   9/11/2020   RT    9/15/2020   WN;2466;LAS;BWI                   BOWIE                  MD                     US   20721   124067636@AIRLINE.KIWI.COM
LQP9MR   9/11/2020   RT    9/15/2020   WN;2466;LAS;BWI                   JOHNSONHAVEN           NY                     US   33503   124067636@AIRLINE.KIWI.COM
LR3NQB   9/11/2020   OB    9/13/2020   WN;2143;OMA;STL;WN;2360;STL;LAX   LIAN KEGU SHI          KAGOSHIMA              JP   54682   124067779@AIRLINE.KIWI.COM
LR4PID   9/11/2020   OB    9/12/2020   WN;3342;BNA;FLL                   VAZQUEZBOROUGH         NY                     US   15717   123211968.1450528@AIRLINE.KIWI.COM
LR4XOU   9/11/2020   OB    9/12/2020   WN;2086;BWI;LAS                   KENNETHVIEW            NJ                     US   46350   124067636@AIRLINE.KIWI.COM
LR4XOU   9/11/2020   RT    9/15/2020   WN;2466;LAS;BWI                   KENNETHVIEW            NJ                     US   46350   124067636@AIRLINE.KIWI.COM
LRET4Y   9/11/2020   OB    9/12/2020   WN;2270;MSY;TPA                   ALEXISBERG             HI                     US    3227   124067614@AIRLINE.KIWI.COM
LRI7DV   9/11/2020   OB    9/22/2020   WN;1986;DEN;OAK                   KARENSTAD              WA                     US    1346   124068054@AIRLINE.KIWI.COM
LSCBO8   9/11/2020   OB    9/11/2020   WN;2383;OAK;LAX                   JOHNHAVEN              SD                     US   34649   124068835@AIRLINE.KIWI.COM
LSCBO8   9/11/2020   RT    9/13/2020   WN;2374;LAX;OAK                   JOHNHAVEN              SD                     US   34649   124068835@AIRLINE.KIWI.COM
LTQH3C   9/11/2020   OB    9/28/2020   WN;2454;FLL;HOU;WN;1911;HOU;OAK   MCKINNEYBURY           CA                     US   87858   124069605@AIRLINE.KIWI.COM
LVU58F   9/11/2020   OB    12/5/2020   WN;2861;LAS;SLC                   EAST JOHN              MT                     US   97471   124071563@AIRLINE.KIWI.COM
M4SDMA   9/11/2020   OB    9/12/2020   WN;2418;ATL;HOU;WN;2104;HOU;LAX   EAST JOSEPH            NH                     US   82986   124076359@AIRLINE.KIWI.COM
M5IGAD   9/11/2020   OB    10/5/2020   WN;2086;LAS;SLC                   JONESVIEW              AK                     US   48579   124076623@AIRLINE.KIWI.COM
M77OV8   9/11/2020   OB    9/11/2020   WN;2063;LAS;SMF                   EAST DUANEHAVEN        ND                     US   73423   124077052@AIRLINE.KIWI.COM
M7KQLF   9/11/2020   OB    9/14/2020   WN;2544;TPA;SJU                   SAMUELBOROUGH          IL                     US   40840   124077393@AIRLINE.KIWI.COM
WT88WF   9/11/2020   OB    9/27/2020   WN;2589;PHX;HOU                   STEVENSIDE             CA                     US   43341   123986577@AIRLINE.KIWI.COM
WUBBFZ   9/11/2020   OB    9/13/2020   WN;2002;ATL;MEM                   NEW HEATHER            HI                     US   87348   123987017@AIRLINE.KIWI.COM
WY9CTW   9/11/2020   OB    9/15/2020   WN;1993;FLL;BNA;WN;1501;BNA;LGA   ANNTNAAG               ARUNACHAL PRADESH      IN   75421   123987160@AIRLINE.KIWI.COM
WZ2RXH   9/11/2020   OB    9/12/2020   WN;2002;ATL;MEM                   PHILLIPSCHESTER        NC                     US   29254   123988458@AIRLINE.KIWI.COM
WZIBGX   9/11/2020   OB    9/13/2020   WN;177;MDW;ATL;WN;2139;ATL;GSP    LAKE JLYLBERG          TABUK                  SA   25421   123988942@AIRLINE.KIWI.COM
WZRGDP   9/11/2020   OB    10/4/2020   WN;40;OAK;HOU;WN;1995;HOU;ATL     BRENDAPORT             ND                     US   36092   123989052@AIRLINE.KIWI.COM
MD7F8Q   9/12/2020   OB   12/26/2020   WN;1321;TUL;STL;WN;297;STL;DCA    ALVINBURY              MI                     US   73721   124079659@AIRLINE.KIWI.COM
MDPNV8   9/12/2020   OB    10/9/2020   WN;2045;FLL;HOU                   NEW TIMOTHYSIDE        MD                     US   10784   124080110@AIRLINE.KIWI.COM
MDUY6R   9/12/2020   OB    9/12/2020   WN;2507;LAS;LAX                   SOUTH LAURENBERG       UT                     US   87383   124080011@AIRLINE.KIWI.COM
MDY2WT   9/12/2020   OB   10/11/2020   WN;2453;HOU;FLL                   MARYCHESTER            RI                     US   12534   124080297@AIRLINE.KIWI.COM
MGLJZC   9/12/2020   OB    10/2/2020   WN;2090;LAX;LAS;WN;2302;LAS;MDW   NEW BRIANBURGH         WV                     US   54645   124081067@AIRLINE.KIWI.COM
MHA8KG   9/12/2020   OB    9/13/2020   WN;2382;PHX;HOU;WN;2382;HOU;FLL   NGAURUTANGIWHANGA      MARLBOROUGH DISTRICT   NZ   46373   124080396@AIRLINE.KIWI.COM
MJCCGE   9/12/2020   OB    9/14/2020   WN;129;TPA;BWI                    FRANKSTAD              MT                     US    7087   124082002@AIRLINE.KIWI.COM
MJGA92   9/12/2020   OB   10/29/2020   WN;6563;LAS;MDW                   NEW JOSESTAD           SC                     US   60771   124082266@AIRLINE.KIWI.COM
MJGA92   9/12/2020   RT    11/4/2020   WN;3558;MDW;LAS                   NEW JOSESTAD           SC                     US   60771   124082266@AIRLINE.KIWI.COM
MJHJIL   9/12/2020   OB    9/23/2020   WN;1884;LAS;LGB                   JACKSONTOWN            PA                     US   76253   124082068@AIRLINE.KIWI.COM
MKFWKS   9/12/2020   OB    9/19/2020   WN;2227;MHT;BWI;WN;1894;BWI;CHS   JOHNSONTOWN            HI                     US   34826   124082464@AIRLINE.KIWI.COM
MKFXE6   9/12/2020   OB    9/16/2020   WN;1005;LAS;ONT                   LEEBOROUGH             UT                     US   25882   124082541@AIRLINE.KIWI.COM
MKHXEI   9/12/2020   OB    9/23/2020   WN;2347;PHL;BNA;WN;1835;BNA;MSY   PORT KIMBERLY          VT                     US   51976   124082508@AIRLINE.KIWI.COM
MLMDLU   9/12/2020   OB    9/14/2020   WN;2118;LGA;MDW                   RIVASVIEW              SC                     US   30872   124083003@AIRLINE.KIWI.COM
MO3VRL   9/12/2020   OB    9/13/2020   WN;797;LAX;OAK                    WEST ELIJAH            TN                     US   59780   124083718@AIRLINE.KIWI.COM
MO3VRL   9/12/2020   RT    9/13/2020   WN;2383;OAK;LAX                   WEST ELIJAH            TN                     US   59780   124083718@AIRLINE.KIWI.COM
MQ2VZY   9/12/2020   OB    9/12/2020   WN;2129;OAK;DEN                   HALLHAVEN              CA                     US   91692   124084202@AIRLINE.KIWI.COM
MQ8W5H   9/12/2020   OB    9/14/2020   WN;1421;SJU;MCO                   NYIREGYHAZA            GYOR                   HU   88253   124084631@AIRLINE.KIWI.COM
MRPY2U   9/12/2020   OB    9/13/2020   WN;776;ATL;CMH                    SHELLEYPORT            DE                     US   34139   124084994@AIRLINE.KIWI.COM
MSN6G8   9/12/2020   OB   12/17/2020   WN;410;DAL;CHS                    SCHLADMING             VORARLBERG             AT   49926   124085456@AIRLINE.KIWI.COM
MSPSMM   9/12/2020   OB    9/14/2020   WN;2234;ATL;HOU;WN;2051;HOU;MSY   MELISSAFURT            CO                     US   73089   124085500@AIRLINE.KIWI.COM
MU4X4I   9/12/2020   OB    9/12/2020   WN;111;OAK;SNA;WN;1492;SNA;LAS    NORTH PAMELA           IL                     US   80008   124085841@AIRLINE.KIWI.COM
MUJQPR   9/12/2020   OB    9/21/2020   WN;2036;OAK;HNL                   NEW NICHOLASFURT       AK                     US   42249   124085929@AIRLINE.KIWI.COM
MWH4PU   9/12/2020   OB    9/23/2020   WN;623;HNL;KOA                    FOSTERSIDE             NE                     US   84466   124086809@AIRLINE.KIWI.COM
MX8XF7   9/12/2020   OB    9/26/2020   WN;1938;OAK;LAS                   LAKE MARGARET          PA                     US   80622   124087337@AIRLINE.KIWI.COM
MYAGS8   9/12/2020   OB    9/13/2020   WN;159;OAK;DAL;WN;1002;DAL;SAT    BELISCE                VARAZDINSKA ZUPANIJA   HR   98936   124087953@AIRLINE.KIWI.COM
N2N3CI   9/12/2020   OB    9/17/2020   WN;2467;SFO;PHX;WN;2385;PHX;SAT   ARMSTRONGMOUTH         MA                     US    8901   124089350@AIRLINE.KIWI.COM
N4NWJG   9/12/2020   OB    9/26/2020   WN;1780;FLL;ATL                   DANIELVILLE            MO                     US    3189   124090197@AIRLINE.KIWI.COM
N7UDOU   9/12/2020   OB    9/12/2020   WN;1837;SFO;LAX;WN;931;LAX;BNA    NORTH JASONTOWN        SD                     US   21772   124091231@AIRLINE.KIWI.COM
ND48K4   9/12/2020   OB    9/20/2020   WN;966;FLL;MDW                    ROBINBOROUGH           AR                     US    6637   124093838@AIRLINE.KIWI.COM
NF6RTT   9/12/2020   OB    9/16/2020   WN;2600;LAX;LAS                   WEST JACKSONBURGH      TN                     US   55571   124095059@AIRLINE.KIWI.COM
NJEI7Q   9/12/2020   OB    9/26/2020   WN;966;FLL;MDW                    JOHNSONSTAD            LA                     US   97793   124097633@AIRLINE.KIWI.COM
NNET3J   9/12/2020   OB    10/1/2020   WN;158;BWI;MSY                    EAST BENJAMINSTAD      OK                     US   28611   124100097@AIRLINE.KIWI.COM
NNET3J   9/12/2020   RT    10/4/2020   WN;2259;MSY;BWI                   EAST BENJAMINSTAD      OK                     US   28611   124100097@AIRLINE.KIWI.COM
NNKLLV   9/12/2020   OB    9/27/2020   WN;1452;BWI;DTW                   NORTH MEGANVIEW        GA                     US   47552   124100284@AIRLINE.KIWI.COM
NOEXD3   9/12/2020   OB    9/14/2020   WN;1537;SMF;LGB                   JOHNFURT               CO                     US   50493   124100834@AIRLINE.KIWI.COM
O459Y8   9/12/2020   OB    9/17/2020   WN;993;SMF;ONT                    BATAM                  SUMATRA SELATAN        ID   41998   124111856@AIRLINE.KIWI.COM
O7CXCA   9/12/2020   OB    10/4/2020   WN;1913;DAL;LGA                   JESSESIDE              PA                     US   34874   124114078@AIRLINE.KIWI.COM
O8MYUJ   9/12/2020   OB    10/4/2020   WN;1913;DAL;LGA                   PEARSONPORT            NY                     US   50437   124114617@AIRLINE.KIWI.COM
OKG3NU   9/12/2020   OB    1/11/2021   WN;5035;SJU;FLL                   WEST WHITNEYSIDE       WY                     US   88607   124123912@AIRLINE.KIWI.COM
OKG3NU   9/12/2020   OB    1/11/2021   WN;5035;SJU;FLL                   WEST WHITNEYSIDE       WY                     US   88607   124123912@AIRLINE.KIWI.COM
OKG3NU   9/12/2020   OB    1/11/2021   WN;5035;SJU;FLL                   WEST WHITNEYSIDE       WY                     US   88607   124123912@AIRLINE.KIWI.COM
OKG3NU   9/12/2020   OB    1/11/2021   WN;5035;SJU;FLL                   WEST WHITNEYSIDE       WY                     US   88607   124123912@AIRLINE.KIWI.COM
OKG3NU   9/12/2020   OB    1/11/2021   WN;5035;SJU;FLL                   WEST WHITNEYSIDE       WY                     US   88607   124123912@AIRLINE.KIWI.COM
OKG3NU   9/12/2020   OB    1/11/2021   WN;5035;SJU;FLL                   WEST WHITNEYSIDE       WY                     US   88607   124123912@AIRLINE.KIWI.COM
OKZFKB   9/12/2020   OB     1/7/2021   WN;197;FLL;SJU                    OMBRET                 LIEGE                  BE   95357   124123923@AIRLINE.KIWI.COM
OKZFKB   9/12/2020   OB     1/7/2021   WN;197;FLL;SJU                    OMBRET                 LIEGE                  BE   95357   124123923@AIRLINE.KIWI.COM
OKZFKB   9/12/2020   OB     1/7/2021   WN;197;FLL;SJU                    OMBRET                 LIEGE                  BE   95357   124123923@AIRLINE.KIWI.COM
OKZFKB   9/12/2020   OB     1/7/2021   WN;197;FLL;SJU                    OMBRET                 LIEGE                  BE   95357   124123923@AIRLINE.KIWI.COM
OKZFKB   9/12/2020   OB     1/7/2021   WN;197;FLL;SJU                    OMBRET                 LIEGE                  BE   95357   124123923@AIRLINE.KIWI.COM
OKZFKB   9/12/2020   OB     1/7/2021   WN;197;FLL;SJU                    OMBRET                 LIEGE                  BE   95357   124123923@AIRLINE.KIWI.COM
OPTK87   9/12/2020   OB    9/27/2020   WN;2221;MDW;MSP                   SOUTH MELISSASHIRE     ID                     US   56158   124127839@AIRLINE.KIWI.COM
OSBRL7   9/12/2020   OB     4/3/2021   WN;33;ABQ;LAS                     RAMIREZTOWN            NV                     US   43222   124129049@AIRLINE.KIWI.COM
OSEQOI   9/12/2020   OB     4/8/2021   WN;3242;LAS;ABQ                   EAST DANIELTOWN        GA                     US   72177   124129049@AIRLINE.KIWI.COM
OSQ6UU   9/12/2020   OB    9/13/2020   WN;690;PHX;SMF                    JEANETTEMOUTH          CA                     US   12734   124130248@AIRLINE.KIWI.COM
OXRVE8   9/12/2020   OB    10/2/2020   WN;1952;DAL;STL                   CEUTA                  CIUDAD REAL            ES   79094   124126739@AIRLINE.KIWI.COM
OXZ5TE   9/12/2020   OB    9/16/2020   WN;2544;TPA;SJU                   COSTA                  ALAGOAS                BR   23552   124133834@AIRLINE.KIWI.COM
OZ798F   9/12/2020   OB    9/25/2020   WN;1915;FLL;MDW                   AMYSTAD                CO                     US   42735   124135198@AIRLINE.KIWI.COM
OZ798F   9/12/2020   OB    9/25/2020   WN;1915;FLL;MDW                   AMYSTAD                CO                     US   42735   124135198@AIRLINE.KIWI.COM
P2GB3L   9/12/2020   OB    9/12/2020   WN;1690;OAK;LAS                   SAN LORENZO LOS BAJO   QUINTANA ROO           MX   78121   124136045@AIRLINE.KIWI.COM
P6LZOZ   9/12/2020   OB    9/29/2020   WN;2372;LAX;PHX                   WOODSVIEW              LA                     US   16907   124138344@AIRLINE.KIWI.COM
P6SR86   9/12/2020   OB    9/28/2020   WN;965;MDW;FLL                    NORTH CAMERON          MT                     US   84707   124139202@AIRLINE.KIWI.COM
P6SR86   9/12/2020   OB    9/28/2020   WN;965;MDW;FLL                    NORTH CAMERON          MT                     US   84707   124139202@AIRLINE.KIWI.COM
P72FZ3   9/12/2020   OB    9/19/2020   WN;1590;BOS;BWI;WN;1285;BWI;DAL   GREERLAND              KY                     US   41810   124139906@AIRLINE.KIWI.COM
PAPQIJ   9/12/2020   OB    11/7/2020   WN;4819;LAS;MDW                   NORTH RICHARD          ME                     US   75710   124141765@AIRLINE.KIWI.COM
PB2RTB   9/12/2020   OB    9/13/2020   WN;1988;MCO;SJU                   CIREBON                KEPULAUAN RIAU         ID   24577   124142084@AIRLINE.KIWI.COM




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PDG52Y   9/12/2020   OB    9/22/2020   WN;2340;LAS;MDW;WN;3300;MDW;DTW   KATIEBOROUGH           MT                US   70638   124143899@AIRLINE.KIWI.COM
PDX2YO   9/12/2020   OB    9/14/2020   WN;2251;PHX;MDW                   SMITHSTAD              IA                US   70949   124143811@AIRLINE.KIWI.COM
PE4D4Q   9/12/2020   OB    9/22/2020   WN;2340;LAS;MDW;WN;3300;MDW;DTW   WEST PAUL              SD                US   48909   124143899@AIRLINE.KIWI.COM
PGIR72   9/12/2020   OB    9/28/2020   WN;2330;FLL;TPA;WN;2178;TPA;LAS   RYANFURT               NY                US   25228   124145879@AIRLINE.KIWI.COM
PGP2NI   9/12/2020   OB    10/2/2020   WN;257;BWI;ATL                    STEPHENBURGH           UT                US   70086   124145736@AIRLINE.KIWI.COM
PJEPPM   9/12/2020   OB    10/2/2020   WN;1667;SLC;LAS                   WILSONSIDE             AL                US   67654   124147309@AIRLINE.KIWI.COM
PJNHPY   9/12/2020   OB    10/9/2020   WN;6640;LAS;SLC                   HAMMONDBURGH           NY                US   49300   124147584@AIRLINE.KIWI.COM
PJYG63   9/12/2020   OB    10/2/2020   WN;1269;PHL;STL;WN;877;STL;LAS    EVANSSIDE              MN                US    9392   124147617@AIRLINE.KIWI.COM
PMODDA   9/12/2020   OB    9/22/2020   WN;115;STL;TPA                    CHAMBARAK              SYUNIK            AM   17767   124148915@AIRLINE.KIWI.COM
PMODDA   9/12/2020   RT    9/29/2020   WN;1187;TPA;ATL;WN;2621;ATL;STL   CHAMBARAK              SYUNIK            AM   17767   124148915@AIRLINE.KIWI.COM
PN4AP3   9/12/2020   OB    10/4/2020   WN;2168;AUS;BNA;WN;665;BNA;ATL    LAKE JOHNFORT          CO                US   50746   124148607@AIRLINE.KIWI.COM
PQ3NDW   9/12/2020   OB    9/21/2020   WN;183;MDW;ATL                    NEW RICHARD            MD                US   64715   124149575@AIRLINE.KIWI.COM
PQSSPZ   9/12/2020   OB     1/4/2021   WN;763;DEN;CLT                    LAKE SANDU             GALATI            RO   55641   124149894@AIRLINE.KIWI.COM
PQSSPZ   9/12/2020   OB     1/4/2021   WN;763;DEN;CLT                    LAKE SANDU             GALATI            RO   55641   124149894@AIRLINE.KIWI.COM
PT5WMY   9/12/2020   OB    9/14/2020   WN;1609;BWI;CUN                   NEW WILLIAM            AL                US   74161   124150873@AIRLINE.KIWI.COM
PUJ5BY   9/13/2020   OB    9/14/2020   WN;2333;ONT;SMF                   PORT BRIANTON          OH                US   14592   124151764@AIRLINE.KIWI.COM
PY8Y9I   9/13/2020   OB    9/20/2020   WN;1075;GRR;BWI;WN;257;BWI;ATL    RYANBERG               KS                US   63472   124153062@AIRLINE.KIWI.COM
PYWWCQ   9/13/2020   OB    9/22/2020   WN;1449;LAX;PHX                   BOONEBURY              CO                US   55750   124153216@AIRLINE.KIWI.COM
PZNFI4   9/13/2020   OB   10/10/2020   WN;1935;PWM;BWI;WN;821;BWI;RDU    WHITEHEADFURT          KS                US   99146   124153436@AIRLINE.KIWI.COM
PZPTP3   9/13/2020   OB    9/20/2020   WN;1995;ATL;LGA                   ZACHARYPORT            TX                US   41344   124153733@AIRLINE.KIWI.COM
PZPTP3   9/13/2020   OB    9/20/2020   WN;1995;ATL;LGA                   ZACHARYPORT            TX                US   41344   124153733@AIRLINE.KIWI.COM
Q57KEB   9/13/2020   OB    9/13/2020   WN;2005;FLL;BWI                   PORT NICOLEBOROUGH     AK                US   71085   124154228@AIRLINE.KIWI.COM
Q57KEB   9/13/2020   OB    9/13/2020   WN;2005;FLL;BWI                   PORT NICOLEBOROUGH     AK                US   71085   124154228@AIRLINE.KIWI.COM
Q6H6DD   9/13/2020   OB    9/13/2020   WN;1995;HOU;ATL                   AMRAAVTII              MIZORAM           IN   11593   124154932@AIRLINE.KIWI.COM
Q7DMOR   9/13/2020   OB    4/11/2021   WN;29;ATL;LAS                     HARRISBURGH            OK                US    4137   124155119@AIRLINE.KIWI.COM
Q7DMOR   9/13/2020   OB    4/11/2021   WN;29;ATL;LAS                     HARRISBURGH            OK                US    4137   124155119@AIRLINE.KIWI.COM
Q8AGQH   9/13/2020   OB    9/13/2020   WN;1449;LAX;PHX                   EAST SHERRYLAND        GA                US   66666   124155416@AIRLINE.KIWI.COM
Q8DZY9   9/13/2020   OB    10/6/2020   WN;1579;BUR;SJC;WN;1846;SJC;PDX   LINDASIDE              WY                US   71831   124155273@AIRLINE.KIWI.COM
Q9RTXG   9/13/2020   OB    9/13/2020   WN;2566;MCI;BNA;WN;2385;BNA;LGA   OCONNORBOROUGH         NJ                US   72394   124155834@AIRLINE.KIWI.COM
QA4UJ5   9/13/2020   OB    9/16/2020   WN;2544;TPA;SJU                   MASIS                  ARARAT            AM   18884   124155999@AIRLINE.KIWI.COM
QA4UJ5   9/13/2020   OB    9/16/2020   WN;2544;TPA;SJU                   MASIS                  ARARAT            AM   18884   124155999@AIRLINE.KIWI.COM
QAF7AT   9/13/2020   OB    9/20/2020   WN;2048;SAT;DEN                   LAKE HEATHERTON        MI                US   26175   124155966@AIRLINE.KIWI.COM
QANKDL   9/13/2020   OB    9/22/2020   WN;2434;SAN;LAS                   SOUTH AMANDABURY       OK                US   94437   124156032@AIRLINE.KIWI.COM
QFM5VA   9/13/2020   OB    9/28/2020   WN;2233;BWI;ISP                   PAMELABOROUGH          WV                US   67677   124157011@AIRLINE.KIWI.COM
QFWHY3   9/13/2020   OB    9/23/2020   WN;2373;PHX;LAX                   SOUTH DAVID            NY                US   30731   124157022@AIRLINE.KIWI.COM
QGE5PL   9/13/2020   OB    9/13/2020   WN;1453;LAX;SMF                   PORT LESLIE            HI                US   59965   124157044@AIRLINE.KIWI.COM
QNAOGV   9/13/2020   OB    9/22/2020   WN;2340;PDX;LAS                   LAKE JOHN              AR                US   38066   124158617@AIRLINE.KIWI.COM
QT7QFC   9/13/2020   OB    9/13/2020   WN;849;ATL;IAD                    BRIANVIEW              OH                US   25126   124160135@AIRLINE.KIWI.COM
QW6NTN   9/13/2020   OB    9/14/2020   WN;1757;LAS;BNA;WN;6787;BNA;ECP   MCCOYCHESTER           MA                US   91412   124161609@AIRLINE.KIWI.COM
QWD7NC   9/13/2020   OB   10/17/2020   WN;6586;ATL;PHL                   BROWNLAND              VT                US    8608   124161983@AIRLINE.KIWI.COM
QY9KM2   9/13/2020   OB    9/29/2020   WN;1179;DEN;SFO                   SCOTTSTAD              DE                US    9619   124162566@AIRLINE.KIWI.COM
R3TUYV   9/13/2020   OB    9/13/2020   WN;1324;SMF;LAX                   LAKE REBECCALAND       WA                US   41303   124164832@AIRLINE.KIWI.COM
RCNCQX   9/13/2020   OB    9/17/2020   WN;1644;MSP;MDW;WN;1523;MDW;PHX   NEW ADRIAN             MN                US   68473   124158661@AIRLINE.KIWI.COM
RJO5XU   9/13/2020   OB    9/13/2020   WN;478;MCO;FLL                    IZOLA                  CERKNO            SI   10816   124176382@AIRLINE.KIWI.COM
RXUUGW   9/13/2020   OB    9/14/2020   WN;2227;BWI;ORF                   EAST JOHN              ID                US   71086   124186623@AIRLINE.KIWI.COM
RYCB95   9/13/2020   OB    9/13/2020   WN;1520;RSW;ATL                   THOMPSONBURGH          MA                US   51255   124186931@AIRLINE.KIWI.COM
S52FYD   9/13/2020   OB    9/14/2020   WN;2124;SEA;OAK                   JAMESSHIRE             LA                US   88985   124190242@AIRLINE.KIWI.COM
S5UBN5   9/13/2020   OB    9/13/2020   WN;2208;SFO;PHX                   GEORGEMOUTH            KY                US   36273   124190924@AIRLINE.KIWI.COM
SGCR6T   9/13/2020   OB    10/2/2020   WN;2072;MDW;STL                   HERNANDEZVIEW          MN                US   29503   124199075@AIRLINE.KIWI.COM
SGIQQW   9/13/2020   OB    10/4/2020   WN;2621;STL;MDW                   HERNANDEZBURGH         AL                US   96815   124199075@AIRLINE.KIWI.COM
SI766P   9/13/2020   OB    10/1/2020   WN;1554;SFO;DEN                   JESSEBOROUGH           MD                US   57849   124200626@AIRLINE.KIWI.COM
SIUEB5   9/13/2020   OB   11/29/2020   WN;1881;PVD;BWI;WN;2422;BWI;BNA   PORT CHARLESBURGH      ID                US   13446   124202529@AIRLINE.KIWI.COM
SNWNRZ   9/13/2020   OB    9/18/2020   WN;3342;FLL;SJU                   LAKE PATRICIASIDE      GA                US   11859   124206896@AIRLINE.KIWI.COM
SNWNRZ   9/13/2020   OB    9/18/2020   WN;3342;FLL;SJU                   LAKE PATRICIASIDE      GA                US   11859   124206896@AIRLINE.KIWI.COM
SRTBGM   9/13/2020   OB    9/14/2020   WN;2626;MDW;LAX                   KATIEFURT              AZ                US   69633   124209965@AIRLINE.KIWI.COM
SS3SIR   9/13/2020   OB    9/29/2020   WN;2106;LAS;LAX                   EIDE                   MORE OG ROMSDAL   NO   56571   124210735@AIRLINE.KIWI.COM
SS7REC   9/13/2020   OB    9/14/2020   WN;2220;MDW;MCO                   PAULBERG               WA                US   69950   124210295@AIRLINE.KIWI.COM
SSO4T5   9/13/2020   OB    9/14/2020   WN;2626;MDW;LAX                   MURRAYBERG             IN                US   20451   124210581@AIRLINE.KIWI.COM
STZ6HG   9/13/2020   OB    9/14/2020   WN;2005;FLL;BWI;WN;2260;BWI;CLE   MARIASHIRE             RI                US   63317   124212033@AIRLINE.KIWI.COM
SW696Q   9/13/2020   OB    10/5/2020   WN;830;OAK;LAS                    PORT DUSTINSHIRE       CO                US   24173   124213111@AIRLINE.KIWI.COM
SW696Q   9/13/2020   OB    10/5/2020   WN;830;OAK;LAS                    PORT DUSTINSHIRE       CO                US   24173   124213111@AIRLINE.KIWI.COM
SW696Q   9/13/2020   RT    10/8/2020   WN;2312;LAS;OAK                   PORT DUSTINSHIRE       CO                US   24173   124213111@AIRLINE.KIWI.COM
SW696Q   9/13/2020   RT    10/8/2020   WN;2312;LAS;OAK                   PORT DUSTINSHIRE       CO                US   24173   124213111@AIRLINE.KIWI.COM
SXOR52   9/13/2020   OB    9/22/2020   WN;2580;LAS;BUR                   SHAMLOWGH              ARARAT            AM   25469   124214046@AIRLINE.KIWI.COM
SXOR52   9/13/2020   OB    9/22/2020   WN;2580;LAS;BUR                   SHAMLOWGH              ARARAT            AM   25469   124214046@AIRLINE.KIWI.COM
SXOR52   9/13/2020   OB    9/22/2020   WN;2580;LAS;BUR                   SHAMLOWGH              ARARAT            AM   25469   124214046@AIRLINE.KIWI.COM
SXOR52   9/13/2020   OB    9/22/2020   WN;2580;LAS;BUR                   SHAMLOWGH              ARARAT            AM   25469   124214046@AIRLINE.KIWI.COM
T3KP8K   9/13/2020   OB    9/14/2020   WN;1238;FLL;BWI;WN;124;BWI;PIT    BRANDYBURY             MS                US   19716   124216752@AIRLINE.KIWI.COM
T3W75D   9/13/2020   OB   10/11/2020   WN;2067;MCI;LAX                   BO XIAN                JIANGXI SHENG     CN   75363   124216466@AIRLINE.KIWI.COM
T42ACL   9/13/2020   OB    9/14/2020   WN;2510;PHX;PDX                   PORT STEVEN            RI                US   66332   124216884@AIRLINE.KIWI.COM
T4GONI   9/13/2020   OB   10/10/2020   WN;6544;ATL;IND                   PORT MEGHAN            PA                US   38477   124216972@AIRLINE.KIWI.COM
T4GONI   9/13/2020   OB   10/10/2020   WN;6544;ATL;IND                   PORT MEGHAN            PA                US   38477   124216972@AIRLINE.KIWI.COM
T4GONI   9/13/2020   RT   10/12/2020   WN;1069;IND;ATL                   PORT MEGHAN            PA                US   38477   124216972@AIRLINE.KIWI.COM
T4GONI   9/13/2020   RT   10/12/2020   WN;1069;IND;ATL                   PORT MEGHAN            PA                US   38477   124216972@AIRLINE.KIWI.COM
T55TZZ   9/13/2020   OB   10/12/2020   WN;1069;IND;ATL                   WEST BOBBY             OK                US   99914   124217577@AIRLINE.KIWI.COM
T55TZZ   9/13/2020   OB   10/12/2020   WN;1069;IND;ATL                   WEST BOBBY             OK                US   99914   124217577@AIRLINE.KIWI.COM
T55TZZ   9/13/2020   OB   10/12/2020   WN;1069;IND;ATL                   WEST BOBBY             OK                US   99914   124217577@AIRLINE.KIWI.COM
T5Q66G   9/13/2020   OB   10/10/2020   WN;6544;ATL;IND                   COLEBURGH              NY                US   20520   124217577@AIRLINE.KIWI.COM
T5Q66G   9/13/2020   OB   10/10/2020   WN;6544;ATL;IND                   COLEBURGH              NY                US   20520   124217577@AIRLINE.KIWI.COM
T5Q66G   9/13/2020   OB   10/10/2020   WN;6544;ATL;IND                   COLEBURGH              NY                US   20520   124217577@AIRLINE.KIWI.COM
T6CEN3   9/13/2020   OB    9/27/2020   WN;1696;LAX;SFO                   BLACKWELLMOUTH         NV                US   26530   124218050@AIRLINE.KIWI.COM
T7ZJEJ   9/13/2020   OB    10/1/2020   WN;2131;DAL;ATL                   PHTEHGDDH              PUDUCHERRY        IN   70113   124218952@AIRLINE.KIWI.COM
T7ZO7K   9/13/2020   OB    11/1/2020   WN;163;PHX;MCO                    NEW KATIE              IA                US   89813   124218578@AIRLINE.KIWI.COM
T89HMC   9/13/2020   OB    9/20/2020   WN;1697;BUR;SMF                   LAKE DIANAHAVEN        PA                US   16228   124218985@AIRLINE.KIWI.COM
T8YKR8   9/13/2020   OB   12/26/2020   WN;1842;MDW;LAS                   LAKE NICHOLASVILLE     DE                US   13131   124219161@AIRLINE.KIWI.COM
T9SNHT   9/13/2020   OB   12/26/2020   WN;1842;MDW;LAS                   NEW DANIELPORT         KS                US   10024   124219161@AIRLINE.KIWI.COM
TAIYO8   9/13/2020   OB    9/16/2020   WN;2092;BNA;PHL                   NORTH STEPHANIEMOUTH   WV                US   16667   124219634@AIRLINE.KIWI.COM
TATYOJ   9/13/2020   OB    9/23/2020   WN;2372;LAX;PHX                   LAKE JAMES             VT                US   92701   124219744@AIRLINE.KIWI.COM
TDZBJL   9/14/2020   OB    9/14/2020   WN;1889;LAS;DAL                   LAKE DANIELLEBURGH     MO                US   73325   124220536@AIRLINE.KIWI.COM
TDZBJL   9/14/2020   OB    9/14/2020   WN;1889;LAS;DAL                   LAKE DANIELLEBURGH     MO                US   73325   124220536@AIRLINE.KIWI.COM
TF5Q3J   9/14/2020   OB    9/16/2020   WN;1421;SJU;MCO                   SANTA COMBA DAO        FARO              PT   65917   124217511@AIRLINE.KIWI.COM
TFBESL   9/14/2020   OB    9/14/2020   WN;1954;SJC;BUR                   LAKE DAVID             IA                US   28956   124220976@AIRLINE.KIWI.COM
TJU4BM   9/14/2020   OB    9/15/2020   WN;2269;TPA;MDW;WN;2642;MDW;DTW   EAST JOHN              LA                US   94535   124222472@AIRLINE.KIWI.COM
TKCPJH   9/14/2020   OB    9/24/2020   WN;2234;ATL;HOU                   SOUTH ANGELA           NC                US   18373   124222351@AIRLINE.KIWI.COM
TKLXZI   9/14/2020   OB    9/14/2020   WN;1733;GRR;MDW;WN;1256;MDW;SAN   LAKE BRENDANTON        MI                US   47346   124222626@AIRLINE.KIWI.COM
TO4CTB   9/14/2020   OB    1/11/2021   WN;2080;SJU;FLL                   SMITHPORT              MD                US   76173   124223462@AIRLINE.KIWI.COM
TO4CTB   9/14/2020   OB    1/11/2021   WN;2080;SJU;FLL                   SMITHPORT              MD                US   76173   124223462@AIRLINE.KIWI.COM
TO4CTB   9/14/2020   OB    1/11/2021   WN;2080;SJU;FLL                   SMITHPORT              MD                US   76173   124223462@AIRLINE.KIWI.COM
TO4CTB   9/14/2020   OB    1/11/2021   WN;2080;SJU;FLL                   SMITHPORT              MD                US   76173   124223462@AIRLINE.KIWI.COM
TOPRDE   9/14/2020   OB    9/20/2020   WN;1582;BNA;PNS                   NORTH JILL             NY                US   79563   124223660@AIRLINE.KIWI.COM
TP5GHA   9/14/2020   OB    10/3/2020   WN;1537;LAS;OKC                   JEFFREYBERG            MD                US   67615   124223858@AIRLINE.KIWI.COM
TRNGGZ   9/14/2020   OB    9/14/2020   WN;1255;PHX;MDW                   NEW JESSICABOROUGH     CA                US   21092   124224441@AIRLINE.KIWI.COM
TSSJCS   9/14/2020   OB    10/9/2020   WN;1287;PVD;BWI                   WALKERMOUTH            FL                US    5105   124225079@AIRLINE.KIWI.COM
TSSJCS   9/14/2020   RT   10/12/2020   WN;2335;BWI;PVD                   WALKERMOUTH            FL                US    5105   124225079@AIRLINE.KIWI.COM
TSXQT4   9/14/2020   OB    10/6/2020   WN;2373;PHX;LAX                   HAI KOU SHI            SICHUAN SHENG     CN   39041   124223121@AIRLINE.KIWI.COM
TT5W6Z   9/14/2020   OB    9/14/2020   WN;2621;RDU;ATL                   SISIAN                 TAVUS             AM   41271   124224870@AIRLINE.KIWI.COM
TVR6HA   9/14/2020   OB    9/20/2020   WN;2311;OAK;PHX;WN;2385;PHX;SAT   EAST MELISSATOWN       GA                US   73818   124225629@AIRLINE.KIWI.COM




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TW9MVO   9/14/2020   OB    9/14/2020   WN;1610;CUN;BWI                   EMILYBURY              FL                   US   51093   124225783@AIRLINE.KIWI.COM
TXOG76   9/14/2020   OB    12/4/2020   WN;3385;BWI;MDW                   ANDERSONBOROUGH        AL                   US   92047   124226234@AIRLINE.KIWI.COM
V6HGV6   9/14/2020   OB    9/22/2020   WN;2373;PHX;LAX                   NEW ADRIANA            AL                   US   66337   124255582@AIRLINE.KIWI.COM
VAQWFM   9/14/2020   OB    9/30/2020   WN;102;LAS;PHX                    AUSTINPORT             ID                   US   11068   124261192@AIRLINE.KIWI.COM
VDISGB   9/14/2020   OB    9/14/2020   WN;2600;LAX;LAS                   EAST SHAUNSTAD         NV                   US    7738   124264459@AIRLINE.KIWI.COM
VKF7VM   9/14/2020   OB    9/14/2020   WN;1537;LAS;OKC                   EAST BRIAN             AR                   US   70705   124272654@AIRLINE.KIWI.COM
VLEMIK   9/14/2020   OB   12/16/2020   WN;1536;PBI;ATL;WN;1536;ATL;PIT   CHRISTOPHERFORT        MN                   US   56936   124274733@AIRLINE.KIWI.COM
VLESFY   9/14/2020   OB   10/16/2020   WN;6941;SAN;SMF                   CAROLYNPORT            IN                   US   62573   124275107@AIRLINE.KIWI.COM
VLPF23   9/14/2020   OB    9/29/2020   WN;2270;MSY;TPA                   LAKE JENNIFER          AL                   US   62135   124273479@AIRLINE.KIWI.COM
VLWAG3   9/14/2020   OB   10/13/2020   WN;6942;SMF;SAN                   SOUTH DAKOTAPORT       ND                   US   48514   124275096@AIRLINE.KIWI.COM
VM89S8   9/14/2020   OB    9/30/2020   WN;909;LGA;ATL                    ALEXANDRAFORT          ID                   US   75213   124275734@AIRLINE.KIWI.COM
VMILRQ   9/14/2020   OB   12/31/2020   WN;3558;ATL;MDW;WN;3558;MDW;LAS   ANGELASHIRE            GA                   US   97264   124275987@AIRLINE.KIWI.COM
VMJPLG   9/14/2020   OB   10/29/2020   WN;1790;MDW;DEN                   NANCYBURGH             NJ                   US   86905   124275514@AIRLINE.KIWI.COM
VO87I9   9/14/2020   OB    9/15/2020   WN;2055;DEN;HOU                   EAST JONATHANHAVEN     MA                   US   60609   124278066@AIRLINE.KIWI.COM
VPWXIX   9/14/2020   OB    9/17/2020   WN;2016;PHX;ABQ                   NEW NANCY              DE                   US   37309   124279936@AIRLINE.KIWI.COM
VPWXIX   9/14/2020   RT    9/26/2020   WN;645;ABQ;PHX                    NEW NANCY              DE                   US   37309   124279936@AIRLINE.KIWI.COM
VQDM3C   9/14/2020   OB    9/16/2020   WN;396;ALB;BWI                    AUSTINVIEW             IL                   US   21580   124280167@AIRLINE.KIWI.COM
VU5EM9   9/14/2020   OB    9/21/2020   WN;1152;HOU;ATL                   EAST SCOTTLAND         HI                   US   83672   124284347@AIRLINE.KIWI.COM
VUSDVQ   9/14/2020   OB    9/20/2020   WN;3340;MCO;BNA                   ASHLEYFURT             NE                   US   33848   124285271@AIRLINE.KIWI.COM
VWDZWV   9/14/2020   OB    9/15/2020   WN;2143;DEN;PHX;WN;2369;PHX;LAX   PATRA                  EVVOIAS              GR   81434   124287790@AIRLINE.KIWI.COM
VWOEFS   9/14/2020   OB    9/15/2020   WN;1972;DSM;STL;WN;2072;STL;LGA   EUGENEBERG             KY                   US   79849   124287966@AIRLINE.KIWI.COM
VWTR3C   9/14/2020   OB    9/17/2020   WN;1908;LGA;STL;WN;2002;STL;DSM   TAYLORBURGH            RI                   US   43031   124288032@AIRLINE.KIWI.COM
VZDRCX   9/14/2020   OB    9/14/2020   WN;1066;HOU;ATL                   NEW SAMANTHA           NC                   US   53873   124291233@AIRLINE.KIWI.COM
W6QYQE   9/14/2020   OB    9/17/2020   WN;1878;LGA;BNA                   SOUTH ERIC             RI                   US   34265   124297470@AIRLINE.KIWI.COM
W7MG82   9/14/2020   OB   12/20/2020   WN;1039;LAX;MDW                   WEEKSTOWN              TN                   US   30341   124298768@AIRLINE.KIWI.COM
W85POI   9/14/2020   OB    9/18/2020   WN;2185;SJU;FLL                   HARTMANVIEW            MA                   US   28263   124296865@AIRLINE.KIWI.COM
W8E7UA   9/14/2020   OB    9/21/2020   WN;2588;SMF;LAX                   SOUTH DANIEL           ND                   US   24628   124298867@AIRLINE.KIWI.COM
W8FQFQ   9/14/2020   OB    9/17/2020   WN;2116;LAX;SMF                   MARIEPORT              MI                   US   15657   124298900@AIRLINE.KIWI.COM
W9BNJZ   9/14/2020   OB    9/15/2020   WN;139;ATL;BWI;WN;1820;BWI;ROC    SOUTH MICHAEL          LA                   US   59721   124300407@AIRLINE.KIWI.COM
WAY7TT   9/14/2020   OB    10/9/2020   WN;1799;DCA;STL                   DALTONBURGH            IL                   US   31848   124302365@AIRLINE.KIWI.COM
WAY9RP   9/14/2020   OB    10/1/2020   WN;2038;HOU;ATL                   MOCANUFURT             CALARASI             RO   15163   124302475@AIRLINE.KIWI.COM
WB6PTU   9/14/2020   OB    10/7/2020   WN;2602;STL;DCA                   PERRYSIDE              UT                   US   40270   124302365@AIRLINE.KIWI.COM
WBF8GA   9/14/2020   OB    9/17/2020   WN;135;LAS;LAX                    NORTH TIFFANY          CA                   US   17133   124302739@AIRLINE.KIWI.COM
WE4TKH   9/14/2020   OB    10/1/2020   WN;1992;FLL;ATL                   RACBANYA               VESZPREM             HU   81546   124305720@AIRLINE.KIWI.COM
WE4TKH   9/14/2020   OB    10/1/2020   WN;1992;FLL;ATL                   RACBANYA               VESZPREM             HU   81546   124305720@AIRLINE.KIWI.COM
WE4TKH   9/14/2020   OB    10/1/2020   WN;1992;FLL;ATL                   RACBANYA               VESZPREM             HU   81546   124305720@AIRLINE.KIWI.COM
WE4TKH   9/14/2020   OB    10/1/2020   WN;1992;FLL;ATL                   RACBANYA               VESZPREM             HU   81546   124305720@AIRLINE.KIWI.COM
WGXA58   9/14/2020   OB    9/15/2020   WN;2300;LAX;DEN;WN;1954;DEN;MCO   CRAIGTOWN              UT                   US   69591   124308096@AIRLINE.KIWI.COM
WHEXTH   9/14/2020   OB    9/15/2020   WN;2313;SNA;SMF                   DAVISMOUTH             IA                   US   77040   124308899@AIRLINE.KIWI.COM
WHEXTH   9/14/2020   RT    9/20/2020   WN;2245;SMF;SNA                   DAVISMOUTH             IA                   US   77040   124308899@AIRLINE.KIWI.COM
WI6RBQ   9/14/2020   OB    9/20/2020   WN;2587;SEA;SMF                   NORTH THERESA          PA                   US   87021   124308404@AIRLINE.KIWI.COM
WIJJ87   9/14/2020   OB    9/15/2020   WN;2063;LAS;SMF                   WALTONPORT             SD                   US   61845   124309955@AIRLINE.KIWI.COM
WJ6AGU   9/14/2020   OB    9/15/2020   WN;2544;TPA;SJU                   WEST DAVIDBURGH        KY                   US   23110   124310428@AIRLINE.KIWI.COM
WJ6AGU   9/14/2020   OB    9/15/2020   WN;2544;TPA;SJU                   WEST DAVIDBURGH        KY                   US   23110   124310428@AIRLINE.KIWI.COM
WJO8C2   9/14/2020   OB   10/26/2020   WN;1306;BHM;MCO                   SANDERSSTAD            MO                   US   75347   124310879@AIRLINE.KIWI.COM
WJWWKQ   9/14/2020   OB   10/22/2020   WN;6569;MCO;BHM                   NICHOLASBERG           OR                   US   22457   124310901@AIRLINE.KIWI.COM
WMGCPP   9/14/2020   OB   10/16/2020   WN;563;CHS;BNA;WN;2631;BNA;LAX    SAN ESTELA LOS BAJOS   SAN LUIS POTOSI      MX   62489   124312133@AIRLINE.KIWI.COM
WMIY8Y   9/14/2020   OB    9/14/2020   WN;2297;DAL;AUS                   SIHEUNGSI              JEONRANAMDO          KR   64682   124298966@AIRLINE.KIWI.COM
WMIY8Y   9/14/2020   OB    9/14/2020   WN;2297;DAL;AUS                   SIHEUNGSI              JEONRANAMDO          KR   64682   124298966@AIRLINE.KIWI.COM
WNE775   9/14/2020   OB    9/15/2020   WN;806;SMF;LAX                    EAST MELISSABERG       AK                   US   87445   124313057@AIRLINE.KIWI.COM
WNKS8P   9/14/2020   OB   10/18/2020   WN;1695;SJC;LAX                   LING XIAN              GANSU SHENG          CN   86164   124312793@AIRLINE.KIWI.COM
WNLRCN   9/14/2020   OB    9/15/2020   WN;2120;LAS;STL;WN;1176;STL;RDU   ROBINBURGH             NH                   US   52442   124313167@AIRLINE.KIWI.COM
WNLRCN   9/14/2020   OB    9/15/2020   WN;2120;LAS;STL;WN;1176;STL;RDU   ROBINBURGH             NH                   US   52442   124313167@AIRLINE.KIWI.COM
WO4NWE   9/14/2020   OB    9/17/2020   WN;1927;DSM;DEN                   POTTERBURY             DE                   US   16164   124313453@AIRLINE.KIWI.COM
WOS6IJ   9/14/2020   OB    9/28/2020   WN;1800;BWI;MDW                   WALKERFORT             IL                   US    1125   124313783@AIRLINE.KIWI.COM
WOTGHJ   9/14/2020   OB    9/15/2020   WN;2287;LAX;LAS                   FRAZIERCHESTER         IA                   US   76687   124313827@AIRLINE.KIWI.COM
WOTVLO   9/14/2020   OB    10/4/2020   WN;5001;BNA;BWI                   NORTH KELLYFORT        RI                   US    7871   124313805@AIRLINE.KIWI.COM
WPLLD6   9/14/2020   OB    9/15/2020   WN;2165;MEM;MDW;WN;1781;MDW;SDF   MOSSBURGH              MD                   US   17708   124313959@AIRLINE.KIWI.COM
WPLLD6   9/14/2020   OB    9/15/2020   WN;2165;MEM;MDW;WN;1781;MDW;SDF   MOSSBURGH              MD                   US   17708   124313959@AIRLINE.KIWI.COM
WQ6ZU6   9/14/2020   OB    9/25/2020   WN;1059;SNA;OAK                   BORGO HARRY            TERNI                IT   95926   124314553@AIRLINE.KIWI.COM
WQILBI   9/14/2020   OB    9/15/2020   WN;1865;LAX;STL                   LAKE AARONBERG         MO                   US   86992   124314839@AIRLINE.KIWI.COM
WT8DUN   9/14/2020   OB    9/21/2020   WN;1542;LAS;BWI                   ASHLEYFURT             FL                   US   51523   124315752@AIRLINE.KIWI.COM
WTIACV   9/14/2020   OB    9/17/2020   WN;1114;BWI;LAS                   EAST EMILYMOUTH        KY                   US   32320   124315752@AIRLINE.KIWI.COM
WTKGMI   9/14/2020   OB    9/21/2020   WN;1542;LAS;BWI                   NORTH JENNIFER         NM                   US   16120   124315939@AIRLINE.KIWI.COM
WUEWRX   9/14/2020   OB    9/16/2020   WN;2005;FLL;BWI;WN;2113;BWI;DTW   DGMSHLAND              RAMALLAH             PS   30253   124316093@AIRLINE.KIWI.COM
WUH6IS   9/14/2020   OB    9/17/2020   WN;1114;BWI;LAS                   WILLIAMSMOUTH          SC                   US   25865   124315939@AIRLINE.KIWI.COM
J2NPNX   9/15/2020   OB   10/20/2020   WN;1520;ATL;CMH                   AARONBERG              TN                   US   13999   124318227@AIRLINE.KIWI.COM
J3N6HB   9/15/2020   OB   10/29/2020   WN;2566;ONT;LAS                   SAN CAMILO LOS BAJOS   DE                   US   27027   124316302@AIRLINE.KIWI.COM
J3OF7G   9/15/2020   OB   10/15/2020   WN;2516;ATL;DEN                   WALKERVILLE            MA                   US   52886   124318502@AIRLINE.KIWI.COM
J6C3UY   9/15/2020   OB    9/15/2020   WN;2068;TPA;ATL                   CINNPH                 GUJARAT              IN   30101   124319646@AIRLINE.KIWI.COM
J6R85X   9/15/2020   OB    9/15/2020   WN;1691;LAS;BNA                   THOMASBERG             IA                   US   48503   124319657@AIRLINE.KIWI.COM
J6UNA6   9/15/2020   OB   10/11/2020   WN;2185;SJU;FLL                   CHRISTOPHERBURY        MS                   US   71573   124319624@AIRLINE.KIWI.COM
J6UNA6   9/15/2020   OB   10/11/2020   WN;2185;SJU;FLL                   CHRISTOPHERBURY        MS                   US   71573   124319624@AIRLINE.KIWI.COM
J72WW4   9/15/2020   OB    9/15/2020   WN;1691;LAS;BNA                   GABRIELMOUTH           MI                   US   92915   124319690@AIRLINE.KIWI.COM
J76BZ3   9/15/2020   OB    9/21/2020   WN;2345;MCO;ATL                   SOUTH BILLYHAVEN       NY                   US   28774   124319745@AIRLINE.KIWI.COM
J76BZ3   9/15/2020   OB    9/21/2020   WN;2345;MCO;ATL                   SOUTH BILLYHAVEN       NY                   US   28774   124319745@AIRLINE.KIWI.COM
J76BZ3   9/15/2020   OB    9/21/2020   WN;2345;MCO;ATL                   SOUTH BILLYHAVEN       NY                   US   28774   124319745@AIRLINE.KIWI.COM
J836DF   9/15/2020   OB    9/15/2020   WN;2626;MDW;LAX                   CARDENASBOROUGH        WV                   US   76139   124320493@AIRLINE.KIWI.COM
J8TCGK   9/15/2020   OB    9/15/2020   WN;1879;ORF;BWI                   NORTH DANIELLE         LA                   US   58946   124320757@AIRLINE.KIWI.COM
J97V4H   9/15/2020   OB    9/18/2020   WN;2607;FLL;HOU;WN;2428;HOU;SAT   SPENCERFURT            NM                   US   12811   124320680@AIRLINE.KIWI.COM
J9BROV   9/15/2020   OB     1/7/2021   WN;1474;MCO;SJU                   MICHAELSTAD            UNSKOSANSKI KANTON   BA   46811   124320691@AIRLINE.KIWI.COM
J9BROV   9/15/2020   OB     1/7/2021   WN;1474;MCO;SJU                   MICHAELSTAD            UNSKOSANSKI KANTON   BA   46811   124320691@AIRLINE.KIWI.COM
J9BROV   9/15/2020   OB     1/7/2021   WN;1474;MCO;SJU                   MICHAELSTAD            UNSKOSANSKI KANTON   BA   46811   124320691@AIRLINE.KIWI.COM
J9BROV   9/15/2020   OB     1/7/2021   WN;1474;MCO;SJU                   MICHAELSTAD            UNSKOSANSKI KANTON   BA   46811   124320691@AIRLINE.KIWI.COM
J9F63A   9/15/2020   OB     1/3/2021   WN;4455;ATL;LGA                   KRISTINMOUTH           FL                   US   63792   124320977@AIRLINE.KIWI.COM
J9ZKB8   9/15/2020   OB    10/9/2020   WN;6585;ATL;RSW                   THEODOREVILLE          NJ                   US   54355   124320922@AIRLINE.KIWI.COM
J9ZKB8   9/15/2020   OB    10/9/2020   WN;6585;ATL;RSW                   THEODOREVILLE          NJ                   US   54355   124320922@AIRLINE.KIWI.COM
J9ZKB8   9/15/2020   RT   10/10/2020   WN;1520;RSW;ATL                   THEODOREVILLE          NJ                   US   54355   124320922@AIRLINE.KIWI.COM
J9ZKB8   9/15/2020   RT   10/10/2020   WN;1520;RSW;ATL                   THEODOREVILLE          NJ                   US   54355   124320922@AIRLINE.KIWI.COM
JAF9NL   9/15/2020   OB    9/20/2020   WN;2185;SJU;FLL                   SMITHFURT              NC                   US   68580   124321208@AIRLINE.KIWI.COM
JAQPJX   9/15/2020   OB    9/20/2020   WN;2185;SJU;FLL                   EAST SAMUELBERG        NJ                   US   94468   124321263@AIRLINE.KIWI.COM
JAXIXV   9/15/2020   OB    9/17/2020   WN;3342;FLL;SJU                   MELANIESIDE            KY                   US   84474   124321263@AIRLINE.KIWI.COM
JD7LKP   9/15/2020   OB    9/15/2020   WN;2418;ATL;HOU                   LAKE TAMMYCHESTER      UT                   US   57851   124321703@AIRLINE.KIWI.COM
JEHOSM   9/15/2020   OB   10/20/2020   WN;762;LAS;PHX;WN;3322;PHX;SAT    MILLERVIEW             CO                   US   33202   124322561@AIRLINE.KIWI.COM
JFM8T3   9/15/2020   OB   10/18/2020   WN;1551;SAN;SFO                   WEST WILLIAMSHIRE      LA                   US   56358   124322847@AIRLINE.KIWI.COM
JFM8T3   9/15/2020   OB   10/18/2020   WN;1551;SAN;SFO                   WEST WILLIAMSHIRE      LA                   US   56358   124322847@AIRLINE.KIWI.COM
JH9KIG   9/15/2020   OB    1/12/2021   WN;1148;HNL;OAK;WN;2340;OAK;DEN   AMBERSTAD              MA                   US    3207   124323419@AIRLINE.KIWI.COM
JHGS5M   9/15/2020   OB    9/21/2020   WN;2257;ATL;IND                   CINDYCHESTER           IA                   US    7793   124323452@AIRLINE.KIWI.COM
JHGS5M   9/15/2020   RT    9/28/2020   WN;1069;IND;ATL                   CINDYCHESTER           IA                   US    7793   124323452@AIRLINE.KIWI.COM
JHM8MK   9/15/2020   OB   12/31/2020   WN;4559;DEN;SJC;WN;597;SJC;HNL    NEW SARAH              MN                   US   75059   124323408@AIRLINE.KIWI.COM
JHPYM5   9/15/2020   OB   12/31/2020   WN;4559;DEN;SJC;WN;597;SJC;HNL    SOUTH JESSICA          WY                   US   52094   124323419@AIRLINE.KIWI.COM
JHTVNZ   9/15/2020   OB    1/14/2021   WN;1148;HNL;OAK;WN;2340;OAK;DEN   KEVINFURT              OH                   US   48434   124323408@AIRLINE.KIWI.COM
JI88P9   9/15/2020   OB    9/15/2020   WN;1770;BWI;LAX                   SOUTH NICHOLASLAND     KY                   US   88397   124323639@AIRLINE.KIWI.COM
JJHH4H   9/15/2020   OB    9/25/2020   WN;1913;DAL;LGA                   NEW MARIA              MA                   US   61742   124324079@AIRLINE.KIWI.COM
JLF743   9/15/2020   OB    10/2/2020   WN;1544;DEN;OAK;WN;2036;OAK;HNL   GREGORYBERG            NC                   US   16045   124324552@AIRLINE.KIWI.COM
JLLPHH   9/15/2020   OB     1/3/2021   WN;2027;DEN;SEA                   VIEJA REPUBLICA ARAB   OH                   US   82554   124324310@AIRLINE.KIWI.COM
JOGBJ7   9/15/2020   OB    9/16/2020   WN;2122;LGA;ATL;WN;2612;ATL;MCO   FREEMANSHIRE           AK                   US   38423   124325784@AIRLINE.KIWI.COM




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JOGBJ7   9/15/2020   OB    9/16/2020   WN;2122;LGA;ATL;WN;2612;ATL;MCO   FREEMANSHIRE           AK                          US   38423   124325784@AIRLINE.KIWI.COM
JPL7Q6   9/15/2020   OB    12/4/2020   WN;2675;BWI;CLT                   SAN ISRAEL LOS ALTOS   MORELOS                     MX   28784   124325047@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   OB    12/2/2020   WN;2234;LAX;STL;WN;2234;STL;BNA   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   OB    12/2/2020   WN;2234;LAX;STL;WN;2234;STL;BNA   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   OB    12/2/2020   WN;2234;LAX;STL;WN;2234;STL;BNA   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   OB    12/2/2020   WN;2234;LAX;STL;WN;2234;STL;BNA   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   OB    12/2/2020   WN;2234;LAX;STL;WN;2234;STL;BNA   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   OB    12/2/2020   WN;2234;LAX;STL;WN;2234;STL;BNA   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   RT    12/8/2020   WN;2640;BNA;DEN;WN;2098;DEN;LAX   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   RT    12/8/2020   WN;2640;BNA;DEN;WN;2098;DEN;LAX   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   RT    12/8/2020   WN;2640;BNA;DEN;WN;2098;DEN;LAX   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   RT    12/8/2020   WN;2640;BNA;DEN;WN;2098;DEN;LAX   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   RT    12/8/2020   WN;2640;BNA;DEN;WN;2098;DEN;LAX   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JQG3AT   9/15/2020   RT    12/8/2020   WN;2640;BNA;DEN;WN;2098;DEN;LAX   LAKE CHRISTINAHAVEN    DC                          US   12958   124304763@AIRLINE.KIWI.COM
JTDUWY   9/15/2020   OB    10/7/2020   WN;1353;MSY;AUS                   PORT KEITHTOWN         MT                          US   75990   124328523@AIRLINE.KIWI.COM
JTDUWY   9/15/2020   RT   10/11/2020   WN;1786;AUS;MSY                   PORT KEITHTOWN         MT                          US   75990   124328523@AIRLINE.KIWI.COM
JUI4GI   9/15/2020   OB    9/22/2020   WN;2106;LAS;LAX                   NATHANIELHAVEN         MA                          US   75224   123270092@AIRLINE.KIWI.COM
K2LBWL   9/15/2020   OB    9/26/2020   WN;1901;DEN;LAX                   MICHAELMOUTH           ND                          US   80252   124318447@AIRLINE.KIWI.COM
K7TQPK   9/15/2020   OB    9/22/2020   WN;2439;LAS;DEN                   BRITTANYLAND           ID                          US   82024   124338566@AIRLINE.KIWI.COM
K7TQPK   9/15/2020   OB    9/22/2020   WN;2439;LAS;DEN                   BRITTANYLAND           ID                          US   82024   124338566@AIRLINE.KIWI.COM
KCUN7N   9/15/2020   OB    9/24/2020   WN;2545;MEM;ATL;WN;1876;ATL;BNA   NORTH WILLIAM          CT                          US   36543   124343978@AIRLINE.KIWI.COM
KNG8I8   9/15/2020   OB    9/16/2020   WN;1485;MCO;IND                   LAURACHESTER           ME                          US   67480   124358355@AIRLINE.KIWI.COM
KQ76QW   9/15/2020   OB    10/4/2020   WN;2439;LAS;DEN                   EAST JESSE             TX                          US    1688   124359994@AIRLINE.KIWI.COM
KQBCNW   9/15/2020   OB   12/23/2020   WN;1831;LAX;SLC                   SIMONASVIEW            TAURAGES APSKRITIS          LT   70550   124361083@AIRLINE.KIWI.COM
KQBCNW   9/15/2020   OB   12/23/2020   WN;1831;LAX;SLC                   SIMONASVIEW            TAURAGES APSKRITIS          LT   70550   124361083@AIRLINE.KIWI.COM
KQBCNW   9/15/2020   OB   12/23/2020   WN;1831;LAX;SLC                   SIMONASVIEW            TAURAGES APSKRITIS          LT   70550   124361083@AIRLINE.KIWI.COM
KQBCNW   9/15/2020   OB   12/23/2020   WN;1831;LAX;SLC                   SIMONASVIEW            TAURAGES APSKRITIS          LT   70550   124361083@AIRLINE.KIWI.COM
KQR5TW   9/15/2020   OB    9/15/2020   WN;1142;ATL;HOU                   WEST ZACHARY           OR                          US    2007   124359708@AIRLINE.KIWI.COM
KSZO6B   9/15/2020   OB    9/15/2020   WN;782;DTW;MDW;WN;31;MDW;TPA      NORTH JULIASIDE        SC                          US   26922   124364130@AIRLINE.KIWI.COM
KSZO6B   9/15/2020   OB    9/15/2020   WN;782;DTW;MDW;WN;31;MDW;TPA      NORTH JULIASIDE        SC                          US   26922   124364130@AIRLINE.KIWI.COM
KSZO6B   9/15/2020   OB    9/15/2020   WN;782;DTW;MDW;WN;31;MDW;TPA      NORTH JULIASIDE        SC                          US   26922   124364130@AIRLINE.KIWI.COM
KW2MG9   9/15/2020   OB    9/22/2020   WN;2373;PHX;LAX                   WEST TARA              TN                          US    7095   124367045@AIRLINE.KIWI.COM
KWFU24   9/15/2020   OB    9/15/2020   WN;2602;DAL;OAK                   NEW STEVENTON          IA                          US   80984   124368288@AIRLINE.KIWI.COM
KZ4X52   9/15/2020   OB    9/15/2020   WN;1748;PBI;BWI;WN;2542;BWI;BDL   JOSEFORT               MN                          US   35342   124370488@AIRLINE.KIWI.COM
L33IN4   9/15/2020   OB   11/29/2020   WN;5025;SAT;ATL;WN;2123;ATL;CMH   EAST AARON             OK                          US   21946   124372644@AIRLINE.KIWI.COM
L3R2TA   9/15/2020   OB    9/19/2020   WN;2164;BWI;RDU                   PORT KARENVIEW         FL                          US   50147   124373986@AIRLINE.KIWI.COM
L4B9CE   9/15/2020   OB    9/15/2020   WN;1780;FLL;ATL                   RICHARDSBURGH          SD                          US   56652   124374987@AIRLINE.KIWI.COM
L55MIU   9/15/2020   OB    9/15/2020   WN;1780;FLL;ATL                   LAKE RITA              FL                          US   10727   124375845@AIRLINE.KIWI.COM
L5H34C   9/15/2020   OB   10/29/2020   WN;1790;MDW;DEN                   CYNTHIATOWN            AL                          US   55435   124375735@AIRLINE.KIWI.COM
L6IZHE   9/15/2020   OB    10/8/2020   WN;2202;MDW;AUS                   NEW RONALDBURY         AL                          US   60166   124377110@AIRLINE.KIWI.COM
L6THBK   9/15/2020   OB   11/29/2020   WN;3718;ATL;STL;WN;3252;STL;OKC   NORTH TRAVIS           CT                          US   35615   124376813@AIRLINE.KIWI.COM
L6THBK   9/15/2020   OB   11/29/2020   WN;3718;ATL;STL;WN;3252;STL;OKC   NORTH TRAVIS           CT                          US   35615   124376813@AIRLINE.KIWI.COM
L75JDB   9/15/2020   OB   10/11/2020   WN;1187;AUS;MDW                   JACOBTON               ID                          US   54412   124377429@AIRLINE.KIWI.COM
LAJSTE   9/15/2020   OB    9/15/2020   WN;2171;ATL;PHL                   WEST HANNAH            IN                          US   14307   124381466@AIRLINE.KIWI.COM
LAYPOW   9/15/2020   OB    9/16/2020   WN;1840;CLE;BWI;WN;1607;BWI;CUN   ANGELAHAVEN            MI                          US   38645   124382522@AIRLINE.KIWI.COM
LB8R6O   9/15/2020   OB    9/15/2020   WN;2591;BUR;LAS                   LAKE BREANNA           ND                          US   93305   124382467@AIRLINE.KIWI.COM
LD2MK5   9/15/2020   OB    9/25/2020   WN;1069;IND;ATL                   NEW PAUL               AZ                          US   29442   124384095@AIRLINE.KIWI.COM
LD2MK5   9/15/2020   RT    9/27/2020   WN;2257;ATL;IND                   NEW PAUL               AZ                          US   29442   124384095@AIRLINE.KIWI.COM
LE2R2Y   9/15/2020   OB     1/3/2021   WN;1489;SMF;LAS;WN;4256;LAS;ELP   THOMASSHIRE            AK                          US   35389   124385723@AIRLINE.KIWI.COM
LEKF96   9/15/2020   OB    9/15/2020   WN;2594;LAS;PHX                   WEST DAWN              AR                          US   85148   124386702@AIRLINE.KIWI.COM
LHHYG8   9/15/2020   OB   10/17/2020   WN;2374;LAX;OAK                   WEST WILLIAM           AL                          US   20530   124390035@AIRLINE.KIWI.COM
LHRA92   9/15/2020   OB    9/15/2020   WN;2507;LAS;LAX                   MELISSATOWN            MN                          US   23863   124390167@AIRLINE.KIWI.COM
LHUWGT   9/15/2020   OB    9/15/2020   WN;2507;LAS;LAX                   TIFFANYVILLE           CA                          US   26318   124390167@AIRLINE.KIWI.COM
LI7TJL   9/15/2020   OB    10/6/2020   WN;2180;ATL;RIC                   NORRISLAND             SC                          US   58655   124391091@AIRLINE.KIWI.COM
LI7TJL   9/15/2020   OB    10/6/2020   WN;2180;ATL;RIC                   NORRISLAND             SC                          US   58655   124391091@AIRLINE.KIWI.COM
LII9T8   9/15/2020   OB   10/19/2020   WN;2383;OAK;LAX                   NEW AUSTIN             NY                          US   94685   124390497@AIRLINE.KIWI.COM
LLZ3UM   9/15/2020   OB    9/21/2020   WN;2113;DTW;BNA                   SUMMERSLAND            WY                          US    2043   124395051@AIRLINE.KIWI.COM
LMTDA3   9/15/2020   OB    10/4/2020   WN;2609;LAS;TUL                   ALICIAVIEW             CA                          US   58513   124396492@AIRLINE.KIWI.COM
LMWDPL   9/15/2020   OB    9/17/2020   WN;135;LAS;LAX                    BAKERFURT              TN                          US   45374   124396712@AIRLINE.KIWI.COM
LMXP3R   9/15/2020   OB    9/24/2020   WN;1005;LAS;ONT                   EAST SARAH             AZ                          US   71902   124396767@AIRLINE.KIWI.COM
LNAK9L   9/15/2020   OB    9/16/2020   WN;2374;LAX;OAK                   ACOSTABURGH            ID                          US   11828   124397361@AIRLINE.KIWI.COM
LP6FE9   9/15/2020   OB    9/15/2020   WN;2168;BNA;DTW                   LUISTOWN               TX                          US   52501   124400430@AIRLINE.KIWI.COM
LPZ7FW   9/15/2020   OB   11/27/2020   WN;122;LAS;OKC                    EMMAPORT               CO                          US   76764   124401255@AIRLINE.KIWI.COM
LPZ7FW   9/15/2020   OB   11/27/2020   WN;122;LAS;OKC                    EMMAPORT               CO                          US   76764   124401255@AIRLINE.KIWI.COM
LQTE9D   9/15/2020   OB   12/23/2020   WN;1790;DCA;ATL;WN;2350;ATL;FLL   LAKE ALEXANDERSHIRE    BOSANSKOPODRINJSKI KANTON   BA    8912   124402652@AIRLINE.KIWI.COM
LRQ8EB   9/15/2020   OB    9/16/2020   WN;1607;BWI;CUN                   ELIZABETHBOROUGH       AL                          US   47378   124403169@AIRLINE.KIWI.COM
LSI39N   9/15/2020   OB    10/1/2020   WN;1492;SNA;LAS                   WEST STEPHANIE         OK                          US   16026   124404522@AIRLINE.KIWI.COM
LSPD7F   9/15/2020   OB    10/7/2020   WN;2210;LAS;SAN                   ASHLEYVIEW             NJ                          US   74444   124404753@AIRLINE.KIWI.COM
LSVS4E   9/15/2020   OB    10/7/2020   WN;2210;LAS;SAN                   HOWARDVILLE            MI                          US   15663   124404753@AIRLINE.KIWI.COM
LYNAYP   9/15/2020   OB    9/15/2020   WN;1690;OAK;LAS                   SOUTH RICHARDSTAD      NC                          US   48166   124411419@AIRLINE.KIWI.COM
M3MQVS   9/15/2020   OB    9/19/2020   WN;2602;DAL;OAK                   WALKERSTAD             HI                          US   81669   124414268@AIRLINE.KIWI.COM
M3MQVS   9/15/2020   RT    9/21/2020   WN;159;OAK;DAL                    WALKERSTAD             HI                          US   81669   124414268@AIRLINE.KIWI.COM
M4SJXQ   9/15/2020   OB    10/2/2020   WN;2570;MDW;HOU                   APRILMOUTH             RI                          US   15729   124415313@AIRLINE.KIWI.COM
M59XWJ   9/15/2020   OB    9/16/2020   WN;881;SJD;HOU;WN;2469;HOU;TPA    PORT RAMONVILLE        YUKON TERRITORY             CA   26353   124415225@AIRLINE.KIWI.COM
M787LR   9/15/2020   OB    9/16/2020   WN;2095;SJC;ONT                   SAN ROSALIA LOS ALTO   NAYARIT                     MX   73305   124417238@AIRLINE.KIWI.COM
M787LR   9/15/2020   OB    9/16/2020   WN;2095;SJC;ONT                   SAN ROSALIA LOS ALTO   NAYARIT                     MX   73305   124417238@AIRLINE.KIWI.COM
M7JXRO   9/15/2020   OB   11/28/2020   WN;1439;PDX;DEN;WN;1439;DEN;OAK   NEW ROBERT             OH                          US   78186   124417733@AIRLINE.KIWI.COM
M83M6F   9/15/2020   OB    9/16/2020   WN;2208;PHX;SAT                   EAST JENNIFER          DE                          US   79866   124418173@AIRLINE.KIWI.COM
M9797F   9/15/2020   OB    9/17/2020   WN;1551;SAN;SFO                   ANGELAPORT             LA                          US   83396   124418998@AIRLINE.KIWI.COM
M9DR6H   9/15/2020   OB   11/25/2020   WN;3889;IND;BWI                   EAST DONALDSIDE        LA                          US   34303   124418767@AIRLINE.KIWI.COM
M9DR6H   9/15/2020   OB   11/25/2020   WN;3889;IND;BWI                   EAST DONALDSIDE        LA                          US   34303   124418767@AIRLINE.KIWI.COM
MA45WU   9/15/2020   OB    9/16/2020   WN;1840;CLE;BWI;WN;2227;BWI;ORF   WESTSHIRE              IA                          US   44758   124419603@AIRLINE.KIWI.COM
MANB55   9/15/2020   OB   10/14/2020   WN;1780;ATL;MCI                   NEW TARAFURT           SD                          US   24738   124420307@AIRLINE.KIWI.COM
MANB55   9/15/2020   OB   10/14/2020   WN;1780;ATL;MCI                   NEW TARAFURT           SD                          US   24738   124420307@AIRLINE.KIWI.COM
MCG49T   9/15/2020   OB    9/24/2020   WN;2643;MCO;HOU                   EAST BARBARABOROUGH    MD                          US   99607   124420692@AIRLINE.KIWI.COM
MCG49T   9/15/2020   OB    9/24/2020   WN;2643;MCO;HOU                   EAST BARBARABOROUGH    MD                          US   99607   124420692@AIRLINE.KIWI.COM
MCTKMZ   9/15/2020   OB   10/10/2020   WN;116;AUS;DAL;WN;1924;DAL;MSY    PETERSONMOUTH          PA                          US   79510   124421451@AIRLINE.KIWI.COM
MCTKMZ   9/15/2020   RT   10/16/2020   WN;2009;MSY;HOU;WN;1687;HOU;AUS   PETERSONMOUTH          PA                          US   79510   124421451@AIRLINE.KIWI.COM
MDT5YT   9/15/2020   OB    11/8/2020   WN;1522;LAX;DEN;WN;1522;DEN;MCO   EAST VICTORSHIRE       VA                          US   68294   124421572@AIRLINE.KIWI.COM
MDT5YT   9/15/2020   OB    11/8/2020   WN;1522;LAX;DEN;WN;1522;DEN;MCO   EAST VICTORSHIRE       VA                          US   68294   124421572@AIRLINE.KIWI.COM
WYERTZ   9/15/2020   OB    9/22/2020   WN;1903;CLT;BWI;WN;1322;BWI;MCO   LAKE JUSTINSTAD        MN                          US   24870   124317534@AIRLINE.KIWI.COM
WZ3VXS   9/15/2020   OB    9/16/2020   WN;2113;BNA;MSY                   BESTSTAD               ID                          US   96048   124317875@AIRLINE.KIWI.COM
WZF6T7   9/15/2020   OB    10/5/2020   WN;2128;PWM;BWI;WN;2227;BWI;ORF   NORTH KRISTI           KS                          US   61948   124317743@AIRLINE.KIWI.COM
WZISBZ   9/15/2020   OB    10/5/2020   WN;2128;PWM;BWI;WN;2227;BWI;ORF   PORT ANITATON          MN                          US   35643   124317743@AIRLINE.KIWI.COM
MEEM8I   9/16/2020   OB    9/24/2020   WN;2122;ATL;HOU                   LAKE MICHAEL           MD                          US   83753   124422276@AIRLINE.KIWI.COM
MFAUAU   9/16/2020   OB    10/1/2020   WN;1985;LAS;SJC                   RODRIGUEZSHIRE         AK                          US   81971   124422650@AIRLINE.KIWI.COM
MFVOKY   9/16/2020   OB    9/22/2020   WN;1449;LAX;PHX                   THOMASFORT             WI                          US   59173   124422815@AIRLINE.KIWI.COM
MH2B8V   9/16/2020   OB    10/2/2020   WN;710;FLL;DAL                    NEW ALISON             OK                          US   52499   124423255@AIRLINE.KIWI.COM
MH8SH9   9/16/2020   OB    10/5/2020   WN;2482;SFO;MDW;WN;961;MDW;DCA    BROWNLAND              IL                          US   38476   124423288@AIRLINE.KIWI.COM
MHB6D9   9/16/2020   OB    10/5/2020   WN;1915;DAL;FLL                   KNIGHTFORT             IA                          US   15692   124423255@AIRLINE.KIWI.COM
MJ2C5I   9/16/2020   OB    10/8/2020   WN;6637;FLL;DEN                   SOUTH DOUGLASSHIRE     MT                          US   33232   124423860@AIRLINE.KIWI.COM
MJ2C5I   9/16/2020   OB    10/8/2020   WN;6637;FLL;DEN                   SOUTH DOUGLASSHIRE     MT                          US   33232   124423860@AIRLINE.KIWI.COM
MJ2TVB   9/16/2020   OB   10/11/2020   WN;2139;FLL;ATL                   SHELTONBURGH           AK                          US    9598   124423992@AIRLINE.KIWI.COM
MJ2TVB   9/16/2020   OB   10/11/2020   WN;2139;FLL;ATL                   SHELTONBURGH           AK                          US    9598   124423992@AIRLINE.KIWI.COM
MK59AS   9/16/2020   OB   10/13/2020   WN;1452;BWI;DTW                   STEVENMOUTH            RI                          US    7331   124424311@AIRLINE.KIWI.COM
MKO8FG   9/16/2020   OB   12/26/2020   WN;1927;OMA;MDW;WN;2179;MDW;ATL   RICHMONDFURT           CO                          US   95165   124424509@AIRLINE.KIWI.COM
MKO8FG   9/16/2020   RT     1/3/2021   WN;3718;ATL;STL;WN;2092;STL;OMA   RICHMONDFURT           CO                          US   95165   124424509@AIRLINE.KIWI.COM




                                                                                                                                                              Appx. 221
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MKP25T   9/16/2020   OB    9/16/2020   WN;2469;CRP;HOU;WN;1066;HOU;ATL        EAST BWRSAKDIHAVEN     ROI ET                  TH   53111   124423893@AIRLINE.KIWI.COM
MKP5FV   9/16/2020   OB   12/26/2020   WN;569;DSM;STL;WN;1313;STL;ATL         NEW ARIANA             WV                      US   59007   124424586@AIRLINE.KIWI.COM
MKUOSP   9/16/2020   OB    10/8/2020   WN;6637;FLL;DEN                        WILSONCHESTER          CT                      US   85150   124424410@AIRLINE.KIWI.COM
MKUOSP   9/16/2020   OB    10/8/2020   WN;6637;FLL;DEN                        WILSONCHESTER          CT                      US   85150   124424410@AIRLINE.KIWI.COM
ML4TBC   9/16/2020   OB     1/3/2021   WN;3718;ATL;STL;WN;2075;STL;DSM        TRACYSHIRE             UT                      US   91502   124424586@AIRLINE.KIWI.COM
MLD94B   9/16/2020   OB    9/16/2020   WN;4500;MDW;BWI                        PENABOROUGH            WI                      US   21849   124425081@AIRLINE.KIWI.COM
MLVNTG   9/16/2020   OB    9/16/2020   WN;1690;OAK;LAS                        AUSTINBOROUGH          CT                      US   34989   124424927@AIRLINE.KIWI.COM
MNPNS6   9/16/2020   OB    9/22/2020   WN;2098;LAS;LAX                        PEREZCHESTER           WV                      US   33722   124425928@AIRLINE.KIWI.COM
MO79YL   9/16/2020   OB    9/16/2020   WN;822;HOU;MDW                         NORTH JUSTIN           MN                      US   19570   124426324@AIRLINE.KIWI.COM
MOIGQZ   9/16/2020   OB    10/3/2020   WN;2482;MDW;PIT                        BARNESBERG             CA                      US   35867   124425851@AIRLINE.KIWI.COM
MPN6UI   9/16/2020   OB    9/24/2020   WN;1609;BWI;CUN                        HENDRICKSTON           NJ                      US   71700   124426907@AIRLINE.KIWI.COM
MPOKNJ   9/16/2020   OB    9/25/2020   WN;6859;SLC;MDW;WN;2482;MDW;PIT        CHASEBURGH             MS                      US   35290   124426940@AIRLINE.KIWI.COM
MPOKNJ   9/16/2020   OB    9/25/2020   WN;6859;SLC;MDW;WN;2482;MDW;PIT        CHASEBURGH             MS                      US   35290   124426940@AIRLINE.KIWI.COM
MRW8WF   9/16/2020   OB    10/8/2020   WN;1929;MCO;BWI                        HANNAHHAVEN            CA                      US   56198   124427798@AIRLINE.KIWI.COM
MUREYG   9/16/2020   OB   10/26/2020   WN;1064;MSY;ATL                        CHURCHTON              WV                      US   27776   124428535@AIRLINE.KIWI.COM
MURGQI   9/16/2020   OB   10/22/2020   WN;177;ATL;MSY                         WEST LAURABURY         FL                      US   81779   124428414@AIRLINE.KIWI.COM
MUVXFQ   9/16/2020   OB    9/16/2020   WN;2312;OKC;DEN                        SOUTH MATTHEW          AZ                      US   43376   124428612@AIRLINE.KIWI.COM
MUYQIE   9/16/2020   OB    9/18/2020   WN;2107;SMF;LAS                        PORT CINDYFURT         MO                      US   13905   124428480@AIRLINE.KIWI.COM
MVTGLV   9/16/2020   OB   10/29/2020   WN;1560;AUS;DEN                        JENNIFERFORT           NC                      US   83294   124429151@AIRLINE.KIWI.COM
MWIUUT   9/16/2020   OB    9/26/2020   WN;2339;MCO;MDW                        INKOO                  LA                      US   15228   124428865@AIRLINE.KIWI.COM
MX7RKU   9/16/2020   OB   10/20/2020   WN;312;MSY;BNA;WN;183;BNA;BOS          EAST CHRISTOPHERBURY   LA                      US   48823   124429514@AIRLINE.KIWI.COM
MX7RKU   9/16/2020   OB   10/20/2020   WN;312;MSY;BNA;WN;183;BNA;BOS          EAST CHRISTOPHERBURY   LA                      US   48823   124429514@AIRLINE.KIWI.COM
MXUMGW   9/16/2020   OB    9/16/2020   WN;1447;SMF;LAS                        NEW ERINFORT           SD                      US   38636   124429877@AIRLINE.KIWI.COM
MYOTAU   9/16/2020   OB   12/19/2020   WN;1932;FLL;DEN;WN;1932;DEN;SAN;WN;193 JOSEPHBERG             KY                      US   56196   124430130@AIRLINE.KIWI.COM
MZ8GA2   9/16/2020   OB    9/17/2020   WN;2106;LAS;LAX                        SOUTH JENNIFERTON      IA                      US   70808   124430317@AIRLINE.KIWI.COM
MZAXL5   9/16/2020   OB   10/25/2020   WN;2067;MCI;LAX                        DONG XIAN              HEILONGJIANG SHENG      CN   28820   124430097@AIRLINE.KIWI.COM
MZEPZR   9/16/2020   OB   12/19/2020   WN;1932;FLL;DEN;WN;1932;DEN;SAN;WN;193 RETHUMNO               ATTIKI                  GR    4548   124430130@AIRLINE.KIWI.COM
MZP3CD   9/16/2020   OB    10/5/2020   WN;2641;MCO;ATL                        PARKERBERG             AL                      US   80966   124430515@AIRLINE.KIWI.COM
MZP3CD   9/16/2020   OB    10/5/2020   WN;2641;MCO;ATL                        PARKERBERG             AL                      US   80966   124430515@AIRLINE.KIWI.COM
MZP3CD   9/16/2020   OB    10/5/2020   WN;2641;MCO;ATL                        PARKERBERG             AL                      US   80966   124430515@AIRLINE.KIWI.COM
N2NT6M   9/16/2020   OB    9/18/2020   WN;1289;MCO;ATL                        RAYHAVEN               WI                      US   62902   124431021@AIRLINE.KIWI.COM
N2WNRL   9/16/2020   OB    9/18/2020   WN;1992;ATL;STL;WN;1799;STL;OKC        WEST DEBBIE            KY                      US   53674   124431120@AIRLINE.KIWI.COM
N3444A   9/16/2020   OB    10/9/2020   WN;1142;OKC;DEN                        CAMPBELLBURY           ND                      US   33610   124430988@AIRLINE.KIWI.COM
N4BVZO   9/16/2020   OB   10/12/2020   WN;1202;LGB;PHX                        STRICKLANDTOWN         MT                      US   52257   124431813@AIRLINE.KIWI.COM
N4BVZO   9/16/2020   RT   10/13/2020   WN;1462;PHX;LGB                        STRICKLANDTOWN         MT                      US   52257   124431813@AIRLINE.KIWI.COM
N4KXKI   9/16/2020   OB    9/16/2020   WN;2382;HOU;FLL                        BRITTANYFURT           CA                      US   68958   124431912@AIRLINE.KIWI.COM
N4KXKI   9/16/2020   OB    9/16/2020   WN;2382;HOU;FLL                        BRITTANYFURT           CA                      US   68958   124431912@AIRLINE.KIWI.COM
N5K3KB   9/16/2020   OB    9/16/2020   WN;2255;ATL;MCO                        WARNERFURT             AL                      US   24788   124431076@AIRLINE.KIWI.COM
N9ENDF   9/16/2020   OB    9/17/2020   WN;2053;HOU;MAF                        NEW KEVINMOUTH         CO                      US   59769   124433815@AIRLINE.KIWI.COM
NANV2H   9/16/2020   OB    11/2/2020   WN;2506;LAX;SMF                        PORT APRIL             KY                      US   61939   124434189@AIRLINE.KIWI.COM
NAQUTZ   9/16/2020   OB   10/13/2020   WN;1950;BNA;PHL                        ROBERSONBOROUGH        MS                      US    2836   124434431@AIRLINE.KIWI.COM
NFDJIM   9/16/2020   OB    9/17/2020   WN;1421;SJU;MCO                        IONELAVILLE            ARAD                    RO   73347   124436983@AIRLINE.KIWI.COM
NFDJIM   9/16/2020   RT    9/20/2020   WN;1750;MCO;SJU                        IONELAVILLE            ARAD                    RO   73347   124436983@AIRLINE.KIWI.COM
NFEDO2   9/16/2020   OB    9/17/2020   WN;1421;SJU;MCO                        VEDI                   ARMAVIR                 AM   21914   124436983@AIRLINE.KIWI.COM
NFEDO2   9/16/2020   RT    9/20/2020   WN;1750;MCO;SJU                        VEDI                   ARMAVIR                 AM   21914   124436983@AIRLINE.KIWI.COM
NG8PRX   9/16/2020   OB   10/12/2020   WN;2406;LAS;SEA                        DEBBIEVILLE            NE                      US   90126   124437269@AIRLINE.KIWI.COM
NG8PRX   9/16/2020   OB   10/12/2020   WN;2406;LAS;SEA                        DEBBIEVILLE            NE                      US   90126   124437269@AIRLINE.KIWI.COM
NGMI6B   9/16/2020   OB    9/18/2020   WN;2113;BNA;MSY                        P ULANUDE              VOLOGODSKAYA OBLAST     RU   96807   124437742@AIRLINE.KIWI.COM
NJDDLR   9/16/2020   OB    9/16/2020   WN;2382;HOU;FLL                        JAMESTON               GA                      US   96430   124439689@AIRLINE.KIWI.COM
NLKN4U   9/16/2020   OB    9/17/2020   WN;2266;MSP;MDW;WN;4500;MDW;BWI        WEST CHERYLMOUTH       DE                      US   42995   124441867@AIRLINE.KIWI.COM
NLKN4U   9/16/2020   OB    9/17/2020   WN;821;MDW;BWI                         WEST CHERYLMOUTH       DE                      US   42995   124441867@AIRLINE.KIWI.COM
NW37SF   9/16/2020   OB    9/16/2020   WN;2083;LAS;BUR                        PORT BETHANY           GA                      US   93427   124454594@AIRLINE.KIWI.COM
O6LXSO   9/16/2020   OB    9/19/2020   WN;2005;FLL;BWI;WN;1029;BWI;CVG        GONZALESFORT           NJ                      US    7832   124465990@AIRLINE.KIWI.COM
O6LXSO   9/16/2020   OB    9/19/2020   WN;2005;FLL;BWI;WN;1029;BWI;CVG        GONZALESFORT           NJ                      US    7832   124465990@AIRLINE.KIWI.COM
O82TPC   9/16/2020   OB    10/6/2020   WN;2125;TPA;FLL                        MICHAELVILLE           AL                      US   32831   124467475@AIRLINE.KIWI.COM
OD95RN   9/16/2020   OB    1/15/2021   WN;2046;ATL;HOU                        EAST TRACY             CT                      US   48842   124473734@AIRLINE.KIWI.COM
ODAOVE   9/16/2020   OB    9/19/2020   WN;1691;DEN;LAS                        PORT AMBERSHIRE        MT                      US   75200   124473591@AIRLINE.KIWI.COM
ODUHA9   9/16/2020   OB    1/18/2021   WN;2569;HOU;ATL                        MICHELLELAND           ID                      US   62123   124474207@AIRLINE.KIWI.COM
OEXLGI   9/16/2020   OB    9/16/2020   WN;1289;ATL;LAS                        FERREIRA DAS FLORES    BAHIA                   BR   12254   119610194.1454762@AIRLINE.KIWI.COM
OF5W2I   9/16/2020   OB    9/16/2020   WN;1289;ATL;LAS                        WEST MICHAELVIEW       ME                      US   11920   119610403.1454760@AIRLINE.KIWI.COM
OGEJWY   9/16/2020   OB    10/3/2020   WN;2627;RDU;ATL                        WEST REBECCABOROUGH    IL                      US   12401   124477848@AIRLINE.KIWI.COM
OHZYBL   9/16/2020   OB    10/3/2020   WN;2540;ATL;RDU                        VERNONLAND             NC                      US   76873   124479157@AIRLINE.KIWI.COM
OHZYBL   9/16/2020   OB    10/3/2020   WN;2540;ATL;RDU                        VERNONLAND             NC                      US   76873   124479157@AIRLINE.KIWI.COM
OJULPV   9/16/2020   OB   10/25/2020   WN;1452;BWI;DTW                        LAKE DANIELLEMOUTH     TX                      US   75549   124481522@AIRLINE.KIWI.COM
OLBTVU   9/16/2020   OB    10/4/2020   WN;177;MDW;ATL                         WEST STEVENTOWN        ME                      US   46446   124483832@AIRLINE.KIWI.COM
OPU5D5   9/16/2020   OB    9/28/2020   WN;2626;ATL;MDW                        EAST ELIZABETH         AR                      US   62566   124489288@AIRLINE.KIWI.COM
OVKX2U   9/16/2020   OB   10/15/2020   WN;806;SMF;LAX                         EAST PAIGEBURY         IA                      US   21372   124495877@AIRLINE.KIWI.COM
OWU5HG   9/16/2020   OB    9/20/2020   WN;2566;ONT;LAS                        WEST THOMAS            AR                      US   84622   124497824@AIRLINE.KIWI.COM
OWU5HG   9/16/2020   RT    9/25/2020   WN;1005;LAS;ONT                        WEST THOMAS            AR                      US   84622   124497824@AIRLINE.KIWI.COM
OXB77V   9/16/2020   OB    9/18/2020   WN;2582;SJC;ONT                        STEVENSONTON           OR                      US   56665   124498418@AIRLINE.KIWI.COM
OXI8NX   9/16/2020   OB    9/27/2020   WN;1984;MDW;MSP                        CHRISTINESTAD          NC                      US   75112   124498814@AIRLINE.KIWI.COM
OXIQYQ   9/16/2020   OB    10/7/2020   WN;2056;JAX;BWI                        LAKE MERCEDESBURGH     MO                      US   73272   124498957@AIRLINE.KIWI.COM
OXSMEF   9/16/2020   OB   10/10/2020   WN;2182;BWI;JAX                        WEST DOUGLASFORT       MD                      US   55343   124498968@AIRLINE.KIWI.COM
OZ8W7B   9/16/2020   OB    9/17/2020   WN;2544;TPA;SJU                        ZABRZE                 DOLNOSLASKIE            PL   72539   124501069@AIRLINE.KIWI.COM
OZ8W7B   9/16/2020   OB    9/17/2020   WN;2544;TPA;SJU                        ZABRZE                 DOLNOSLASKIE            PL   72539   124501069@AIRLINE.KIWI.COM
OZ8W7B   9/16/2020   OB    9/17/2020   WN;2544;TPA;SJU                        ZABRZE                 DOLNOSLASKIE            PL   72539   124501069@AIRLINE.KIWI.COM
P2BUHU   9/16/2020   OB    9/19/2020   WN;2175;AUS;HOU;WN;2051;HOU;MSY        LAKE KIMBERLYTOWN      ID                      US   27601   124501630@AIRLINE.KIWI.COM
P2ODRS   9/16/2020   OB    9/20/2020   WN;112;MSY;ATL;WN;1069;ATL;AUS         CARRIELAND             GA                      US   87843   124501630@AIRLINE.KIWI.COM
P3S7Q6   9/16/2020   OB    9/19/2020   WN;6806;BUF;MDW                        NEW SHIRLEY            IN                      US   71876   124503577@AIRLINE.KIWI.COM
P4GXYV   9/16/2020   OB    9/16/2020   WN;1690;OAK;LAS                        NORTH JAMIEBERG        WV                      US   16332   124504501@AIRLINE.KIWI.COM
P4GXYV   9/16/2020   OB    9/16/2020   WN;1690;OAK;LAS                        NORTH JAMIEBERG        WV                      US   16332   124504501@AIRLINE.KIWI.COM
P4IAOJ   9/16/2020   OB    9/17/2020   WN;2544;TPA;SJU                        LAKE MICHAELBURGH      OH                      US   89921   124504655@AIRLINE.KIWI.COM
P4IAOJ   9/16/2020   OB    9/17/2020   WN;2544;TPA;SJU                        LAKE MICHAELBURGH      OH                      US   89921   124504655@AIRLINE.KIWI.COM
P5O8VY   9/16/2020   OB    9/27/2020   WN;1029;BWI;CVG                        EAST JENNIFERMOUTH     NE                      US   10773   124505403@AIRLINE.KIWI.COM
P6HCZ6   9/16/2020   OB   10/21/2020   WN;1179;DEN;SFO                        NEW ASHLEY             LA                      US   87770   124506800@AIRLINE.KIWI.COM
P6O5DO   9/16/2020   OB   11/25/2020   WN;4739;OAK;PHX                        WILLIAMSFORT           VA                      US   34207   124507724@AIRLINE.KIWI.COM
P73EY9   9/16/2020   OB    9/18/2020   WN;1813;BWI;STL;WN;6861;STL;RSW        SAMANTHAVILLE          VT                      US   13272   124507911@AIRLINE.KIWI.COM
P7B7Z8   9/16/2020   OB   11/29/2020   WN;2441;PHX;LAX;WN;3569;LAX;OAK        NORTH MARIATON         KS                      US   89233   124507724@AIRLINE.KIWI.COM
P7D3ZS   9/16/2020   OB   11/29/2020   WN;2441;PHX;LAX;WN;3569;LAX;OAK        SOUTH JOSHUA           MA                      US   18303   124507724@AIRLINE.KIWI.COM
P7FZF9   9/16/2020   OB    9/18/2020   WN;1813;BWI;STL;WN;6861;STL;RSW        LAKE VALERIE           IN                      US   51076   124507911@AIRLINE.KIWI.COM
P7M2IC   9/16/2020   OB   11/25/2020   WN;4739;OAK;PHX                        JACKSONBOROUGH         AR                      US   88518   124507724@AIRLINE.KIWI.COM
P7Z5PF   9/16/2020   OB    10/7/2020   WN;2090;LAX;LAS;WN;2302;LAS;MDW        LAKE SUSAN             WI                      US   58389   124375614.1455161@AIRLINE.KIWI.COM
P8QYN3   9/16/2020   OB    10/7/2020   WN;2234;ATL;HOU                        NEW DILLONCHESTER      AZ                      US   61946   124509671@AIRLINE.KIWI.COM
P8R35H   9/16/2020   OB   10/17/2020   WN;1770;SLC;DEN                        HUNTERBOROUGH          WY                      US   89418   124510815@AIRLINE.KIWI.COM
P8YJ4P   9/16/2020   OB    9/19/2020   WN;1142;ATL;HOU;WN;1142;HOU;OKC        NORTH GARYBURGH        OH                      US   96757   124511200@AIRLINE.KIWI.COM
P8YJ4P   9/16/2020   OB    9/19/2020   WN;2477;ATL;HOU;WN;117;HOU;OKC         NORTH GARYBURGH        OH                      US   96757   124511200@AIRLINE.KIWI.COM
P96NHY   9/16/2020   OB   10/18/2020   WN;1954;DEN;MCO                        EAST LAWRENCE          SC                      US   74738   124510815@AIRLINE.KIWI.COM
P9DHQK   9/16/2020   OB    9/21/2020   WN;2358;BNA;MCI                        NORTH NICOLESTAD       LA                      US   37187   124510463@AIRLINE.KIWI.COM
P9DHQK   9/16/2020   RT    9/22/2020   WN;2566;MCI;BNA                        NORTH NICOLESTAD       LA                      US   37187   124510463@AIRLINE.KIWI.COM
P9VA9O   9/16/2020   OB   12/27/2020   WN;3950;STL;SEA                        EAST EDWINSTAD         WV                      US    8108   124512245@AIRLINE.KIWI.COM
PBLJ9D   9/16/2020   OB    9/18/2020   WN;2565;SNA;SMF                        BRIANBURY              OR                      US   21551   124514192@AIRLINE.KIWI.COM
PBLJ9D   9/16/2020   RT    9/27/2020   WN;2334;SMF;SNA                        BRIANBURY              OR                      US   21551   124514192@AIRLINE.KIWI.COM
PDLKWT   9/16/2020   OB    9/16/2020   WN;1324;SMF;LAX                        DUNNFURT               MO                      US   63694   124515545@AIRLINE.KIWI.COM
PEIF8F   9/16/2020   OB   10/27/2020   WN;2544;TPA;SJU                        EAST ADAM              NORTHWEST TERRITORIES   CA   89501   124514698@AIRLINE.KIWI.COM
PEYBYP   9/16/2020   OB    9/16/2020   WN;1690;OAK;LAS                        SMITHLAND              HI                      US   38105   124517514@AIRLINE.KIWI.COM
PG84QH   9/16/2020   OB    9/17/2020   WN;806;SMF;LAX                         WEST PETER             ME                      US   73387   124519263@AIRLINE.KIWI.COM
PG84QH   9/16/2020   OB    9/17/2020   WN;806;SMF;LAX                         WEST PETER             ME                      US   73387   124519263@AIRLINE.KIWI.COM




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PIBVD6   9/16/2020   OB    11/3/2020   WN;2185;SJU;FLL                   NEW LILCHO             BURGAS             BG    3874   124520297@AIRLINE.KIWI.COM
PIBVD6   9/16/2020   OB    11/3/2020   WN;2185;SJU;FLL                   NEW LILCHO             BURGAS             BG    3874   124520297@AIRLINE.KIWI.COM
PJ6HV5   9/16/2020   OB    9/28/2020   WN;154;DEN;SLC                    SOUTH GEOFFREYVILLE    AL                 US   57097   124520594@AIRLINE.KIWI.COM
PJJCU3   9/16/2020   OB    9/17/2020   WN;2018;HNL;ITO                   SOUTH CAITLIN          MT                 US   56473   124521738@AIRLINE.KIWI.COM
PJJCU3   9/16/2020   RT    9/21/2020   WN;2019;ITO;HNL                   SOUTH CAITLIN          MT                 US   56473   124521738@AIRLINE.KIWI.COM
PL79IX   9/16/2020   OB    10/1/2020   WN;153;DCA;BNA                    TODDMOUTH              NV                 US   34944   124523487@AIRLINE.KIWI.COM
PLZP42   9/16/2020   OB    10/4/2020   WN;2166;BNA;DCA                   NEW MARIAMOUTH         NM                 US   81072   124523740@AIRLINE.KIWI.COM
POKW3G   9/16/2020   OB    9/18/2020   WN;2056;ATL;JAX;WN;2529;JAX;HOU   EAST KHARIZANBOROUGH   SILISTRA           BG   10427   124525478@AIRLINE.KIWI.COM
PPMZHL   9/16/2020   OB    11/6/2020   WN;1033;AUS;DAL;WN;321;DAL;AMA    AMANDAFORT             NJ                 US   38632   124526369@AIRLINE.KIWI.COM
PPR87N   9/16/2020   OB    9/17/2020   WN;2642;DTW;BWI;WN;1806;BWI;PIT   LAKE MICHELE           GA                 US   18274   124526402@AIRLINE.KIWI.COM
PPWUBL   9/16/2020   OB    11/9/2020   WN;1582;AMA;DAL;WN;544;DAL;AUS    PARKSFORT              AK                 US   82690   124526369@AIRLINE.KIWI.COM
PQE8WX   9/16/2020   OB    9/17/2020   WN;673;PWM;BWI;WN;257;BWI;ATL     PORT JO                WI                 US   93395   124526699@AIRLINE.KIWI.COM
PQK7BV   9/16/2020   OB   10/28/2020   WN;2307;LBB;DAL                   NEW TIMOTHYSHIRE       MT                 US    5547   124526666@AIRLINE.KIWI.COM
PQOD8C   9/16/2020   OB   10/25/2020   WN;1554;SFO;DEN                   LAMBOROUGH             BUR SAID           EG   41378   124526270@AIRLINE.KIWI.COM
PR535S   9/16/2020   OB   10/22/2020   WN;226;DAL;LBB                    SOUTH CHRISTINA        AR                 US    5946   124526666@AIRLINE.KIWI.COM
PR9PFY   9/16/2020   OB    9/30/2020   WN;2166;MCO;BNA;WN;1835;BNA;MSY   LAKE JOSEPH            MS                 US   59070   124524455@AIRLINE.KIWI.COM
PRAIV5   9/16/2020   OB   10/18/2020   WN;2287;OAK;LAX                   WEST AMBERMOUTH        AL                 US    2867   124526248@AIRLINE.KIWI.COM
PRHQNH   9/16/2020   OB    10/8/2020   WN;1728;ATL;DEN                   TAYLORMOUTH            KS                 US   18507   124527238@AIRLINE.KIWI.COM
PRVQ3I   9/16/2020   OB    9/17/2020   WN;2316;ELP;PHX                   LESAGEVILLE            ALLIER             FR   54823   124525665@AIRLINE.KIWI.COM
PRVQ3I   9/16/2020   RT    9/20/2020   WN;1992;PHX;ELP                   LESAGEVILLE            ALLIER             FR   54823   124525665@AIRLINE.KIWI.COM
PTRZBL   9/16/2020   OB   10/30/2020   WN;2310;OAK;LAX                   CHLWIAILMOUTH          CHAIYAPHUM         TH   97406   124528206@AIRLINE.KIWI.COM
PU5XT8   9/16/2020   OB    9/26/2020   WN;2478;SJC;LAX                   WEST MISTY             NJ                 US   73878   124528030@AIRLINE.KIWI.COM
PU5XT8   9/16/2020   RT    9/29/2020   WN;2425;LAX;SJC                   WEST MISTY             NJ                 US   73878   124528030@AIRLINE.KIWI.COM
PUWUPY   9/16/2020   OB   11/23/2020   WN;4128;LAS;MCI                   EAST CHRISTOPHER       HI                 US    6703   124528756@AIRLINE.KIWI.COM
PW8HXT   9/17/2020   OB    10/1/2020   WN;1696;LAX;SFO                   WEST MICHELLEPORT      CO                 US   17394   124529218@AIRLINE.KIWI.COM
PYABNI   9/17/2020   OB    11/6/2020   WN;979;MCO;SJU                    WEST FRANK             VT                 US   20972   124530109@AIRLINE.KIWI.COM
PYABNI   9/17/2020   OB    11/6/2020   WN;979;MCO;SJU                    WEST FRANK             VT                 US   20972   124530109@AIRLINE.KIWI.COM
PZ8FI8   9/17/2020   OB    9/17/2020   WN;1066;HOU;ATL                   PATRICKBURGH           CO                 US   75119   124530417@AIRLINE.KIWI.COM
PZPO8S   9/17/2020   OB   12/27/2020   WN;2102;TPA;DEN;WN;2102;DEN;MCI   NEW MEGANVILLE         AL                 US   48706   124530505@AIRLINE.KIWI.COM
Q2SAQS   9/17/2020   OB    9/17/2020   WN;137;HOU;BWI                    SOUTH JOSEPH           ID                 US   15449   124530912@AIRLINE.KIWI.COM
Q4C52W   9/17/2020   OB    9/17/2020   WN;513;ATL;BWI                    NORTH MATTHEWFORT      RI                 US   69059   124531803@AIRLINE.KIWI.COM
Q4J2YP   9/17/2020   OB    9/25/2020   WN;2002;FLL;BWI                   PORT RONALDMOUTH       AK                 US   38093   124531990@AIRLINE.KIWI.COM
Q5GX2S   9/17/2020   OB    10/9/2020   WN;2171;ATL;PHL                   WRIGHTMOUTH            MI                 US   27224   124532089@AIRLINE.KIWI.COM
Q5LZQ4   9/17/2020   OB    10/8/2020   WN;6718;PVD;MCO                   BENGKULU               JAMBI              ID   55378   124532342@AIRLINE.KIWI.COM
Q6BPVT   9/17/2020   OB   10/12/2020   WN;2570;MCO;PVD                   PAIMIO                 ETELAPOHJANMAA     FI   74805   124532331@AIRLINE.KIWI.COM
Q6ZK9U   9/17/2020   OB    9/18/2020   WN;798;BWI;ORF                    TRACYBURGH             MI                 US   23209   124532738@AIRLINE.KIWI.COM
Q7GI9K   9/17/2020   OB   10/25/2020   WN;2326;ONT;DEN                   SAN RAMON DE LA MONT   BAJA CALIFORNIA    MX   90261   124533156@AIRLINE.KIWI.COM
Q7GI9K   9/17/2020   OB   10/25/2020   WN;2326;ONT;DEN                   SAN RAMON DE LA MONT   BAJA CALIFORNIA    MX   90261   124533156@AIRLINE.KIWI.COM
Q8F3MO   9/17/2020   OB    9/19/2020   WN;2612;PHL;ATL                   WEST RENEETON          OK                 US   94615   124533299@AIRLINE.KIWI.COM
Q8F3MO   9/17/2020   OB    9/19/2020   WN;2612;PHL;ATL                   WEST RENEETON          OK                 US   94615   124533299@AIRLINE.KIWI.COM
Q93CV9   9/17/2020   OB    9/17/2020   WN;2118;LGA;MDW;WN;2215;MDW;MCO   JOHNBERG               PA                 US   78703   124533541@AIRLINE.KIWI.COM
Q93CV9   9/17/2020   OB    9/17/2020   WN;2118;LGA;MDW;WN;2215;MDW;MCO   JOHNBERG               PA                 US   78703   124533541@AIRLINE.KIWI.COM
Q93CV9   9/17/2020   OB    9/17/2020   WN;2118;LGA;MDW;WN;2215;MDW;MCO   JOHNBERG               PA                 US   78703   124533541@AIRLINE.KIWI.COM
Q93CV9   9/17/2020   OB    9/17/2020   WN;2118;LGA;MDW;WN;2215;MDW;MCO   JOHNBERG               PA                 US   78703   124533541@AIRLINE.KIWI.COM
Q93CV9   9/17/2020   OB    9/17/2020   WN;2118;LGA;MDW;WN;2215;MDW;MCO   JOHNBERG               PA                 US   78703   124533541@AIRLINE.KIWI.COM
Q9YMKH   9/17/2020   OB   10/10/2020   WN;2266;MSP;MDW                   WEST BRADLEY           MS                 US   75360   124533904@AIRLINE.KIWI.COM
Q9YMKH   9/17/2020   RT   10/17/2020   WN;2225;MDW;MSP                   WEST BRADLEY           MS                 US   75360   124533904@AIRLINE.KIWI.COM
QA23TC   9/17/2020   OB    9/20/2020   WN;2005;FLL;BWI;WN;255;BWI;BDL    SAVAKBURGH             SIVAS              TR   76696   124501267@AIRLINE.KIWI.COM
QA4D2G   9/17/2020   OB    9/17/2020   WN;1992;FLL;ATL                   YVONNECHESTER          CO                 US    2654   124534047@AIRLINE.KIWI.COM
QA7YV5   9/17/2020   OB    9/18/2020   WN;1034;ATL;TPA                   NORTH ALYSSA           MT                 US    5919   124533959@AIRLINE.KIWI.COM
QCIWKL   9/17/2020   OB    9/17/2020   WN;1142;ATL;HOU                   DAALKHOLAA             NAGALAND           IN   91572   124535081@AIRLINE.KIWI.COM
QCQVHX   9/17/2020   OB   11/28/2020   WN;3025;STL;DEN                   LAKE MATTHEWSIDE       CO                 US    6607   124534927@AIRLINE.KIWI.COM
QCQVHX   9/17/2020   OB   11/28/2020   WN;3025;STL;DEN                   LAKE MATTHEWSIDE       CO                 US    6607   124534927@AIRLINE.KIWI.COM
QDQYM8   9/17/2020   OB    9/28/2020   WN;154;DEN;SLC                    MICHELLEBURY           WA                 US   68698   124520594@AIRLINE.KIWI.COM
QDZ9PR   9/17/2020   OB    9/17/2020   WN;2204;SNA;PHX                   WEST MATTHEW           AZ                 US   63512   124535477@AIRLINE.KIWI.COM
QE3JQ9   9/17/2020   OB    10/2/2020   WN;2570;MDW;HOU                   UNDERWOODMOUTH         TN                 US   85989   124535444@AIRLINE.KIWI.COM
QE7Y7W   9/17/2020   OB    10/5/2020   WN;3399;HOU;MDW                   LAKE MELANIEBURGH      ND                 US   85837   124535587@AIRLINE.KIWI.COM
QE7Y7W   9/17/2020   OB    10/5/2020   WN;3399;HOU;MDW                   LAKE MELANIEBURGH      ND                 US   85837   124535587@AIRLINE.KIWI.COM
QE8YLG   9/17/2020   OB    10/9/2020   WN;2522;SMF;LAX                   SOUTH JEFFREY          WY                 US   28410   124535521@AIRLINE.KIWI.COM
QEAJDZ   9/17/2020   OB   10/13/2020   WN;1906;HOU;PHX;WN;2321;PHX;SMF   NEW JOHN               PA                 US   68717   124535521@AIRLINE.KIWI.COM
QEJWYX   9/17/2020   OB    10/9/2020   WN;6236;SMF;LAS;WN;1114;LAS;HOU   EAST LISAMOUTH         OR                 US    7943   124535521@AIRLINE.KIWI.COM
QEVW9V   9/17/2020   OB   10/20/2020   WN;1733;GRR;MDW;WN;1595;MDW;OAK   HANSENSTAD             AK                 US   82767   124535774@AIRLINE.KIWI.COM
QF2ETM   9/17/2020   OB    10/1/2020   WN;1733;DEN;GRR                   EAST MICHAEL           LA                 US   97566   124535774@AIRLINE.KIWI.COM
QFC738   9/17/2020   OB    9/30/2020   WN;2276;OAK;DEN                   KELLYHAVEN             CA                 US   49863   124535774@AIRLINE.KIWI.COM
QFK4MN   9/17/2020   OB    10/1/2020   WN;2056;ATL;JAX                   SOUTH KRISTA           LA                 US   43472   124535807@AIRLINE.KIWI.COM
QFRHGX   9/17/2020   OB    9/30/2020   WN;2607;ATL;FLL                   PORT JASONSHIRE        AR                 US   94039   124536071@AIRLINE.KIWI.COM
QFRHGX   9/17/2020   OB    9/30/2020   WN;2607;ATL;FLL                   PORT JASONSHIRE        AR                 US   94039   124536071@AIRLINE.KIWI.COM
QFRHGX   9/17/2020   OB    9/30/2020   WN;2607;ATL;FLL                   PORT JASONSHIRE        AR                 US   94039   124536071@AIRLINE.KIWI.COM
QFRHGX   9/17/2020   OB    9/30/2020   WN;2607;ATL;FLL                   PORT JASONSHIRE        AR                 US   94039   124536071@AIRLINE.KIWI.COM
QFRHGX   9/17/2020   OB    9/30/2020   WN;2607;ATL;FLL                   PORT JASONSHIRE        AR                 US   94039   124536071@AIRLINE.KIWI.COM
QFRHGX   9/17/2020   OB    9/30/2020   WN;2607;ATL;FLL                   PORT JASONSHIRE        AR                 US   94039   124536071@AIRLINE.KIWI.COM
QGPARQ   9/17/2020   OB    9/30/2020   WN;2477;ATL;HOU;WN;2284;HOU;SAN   NEW JUANSTAD           IL                 US   63771   124536808@AIRLINE.KIWI.COM
QGPARQ   9/17/2020   OB    9/30/2020   WN;2477;ATL;HOU;WN;2284;HOU;SAN   NEW JUANSTAD           IL                 US   63771   124536808@AIRLINE.KIWI.COM
QGPARQ   9/17/2020   OB    9/30/2020   WN;2477;ATL;HOU;WN;2284;HOU;SAN   NEW JUANSTAD           IL                 US   63771   124536808@AIRLINE.KIWI.COM
QHSZHC   9/17/2020   OB    9/27/2020   WN;2323;HOU;LAS                   VIEJA EX REPUBLICA Y   SONORA             MX   79469   124537270@AIRLINE.KIWI.COM
QHSZHC   9/17/2020   RT    10/1/2020   WN;1114;LAS;HOU                   VIEJA EX REPUBLICA Y   SONORA             MX   79469   124537270@AIRLINE.KIWI.COM
QIKLDB   9/17/2020   OB   10/26/2020   WN;2612;PHL;ATL                   CAMPBELLBOROUGH        AL                 US   84914   124536423@AIRLINE.KIWI.COM
QIWUA9   9/17/2020   OB    9/18/2020   WN;1255;PHX;MDW                   LAKE AMBERSIDE         TX                 US   74555   124537600@AIRLINE.KIWI.COM
QK8KFY   9/17/2020   OB    9/18/2020   WN;1145;MCO;IND                   CNDNNAATH              MECHI              NP   69507   124537842@AIRLINE.KIWI.COM
QKGDR8   9/17/2020   OB    9/17/2020   WN;1717;RNO;OAK                   BRENDAPORT             KS                 US   93020   124537974@AIRLINE.KIWI.COM
QMY2CN   9/17/2020   OB    11/4/2020   WN;4354;DEN;PHX                   OBRIENCHESTER          AL                 US   78658   124538436@AIRLINE.KIWI.COM
QQCEFI   9/17/2020   OB    9/17/2020   WN;364;OAK;BOI                    EAST JEFFREY           OR                 US   24614   124539745@AIRLINE.KIWI.COM
QTZFI4   9/17/2020   OB   10/30/2020   WN;2568;PHX;MCI                   ENGLISHVIEW            AL                 US   85102   124538436@AIRLINE.KIWI.COM
QULPPP   9/17/2020   OB   10/20/2020   WN;1340;OAK;SEA                   BHAADURGNJ             MIZORAM            IN   39760   124542044@AIRLINE.KIWI.COM
QULPPP   9/17/2020   OB   10/20/2020   WN;1340;OAK;SEA                   BHAADURGNJ             MIZORAM            IN   39760   124542044@AIRLINE.KIWI.COM
QUORAH   9/17/2020   OB    10/8/2020   WN;2663;SEA;OAK                   KHDDGPUR               ASSAM              IN   57351   124541890@AIRLINE.KIWI.COM
QUX8NS   9/17/2020   OB   12/24/2020   WN;2753;DCA;MDW;WN;2863;MDW;FLL   NEW GILBERTBERG        CO                 US   90289   124542121@AIRLINE.KIWI.COM
QV6WXI   9/17/2020   OB    9/17/2020   WN;2343;SJC;SNA                   VARGASTOWN             AK                 US   31406   124542022@AIRLINE.KIWI.COM
QVCCS5   9/17/2020   OB    10/8/2020   WN;2663;SEA;OAK                   MOKAAMAA               GUJARAT            IN   45021   124541890@AIRLINE.KIWI.COM
QVHEGD   9/17/2020   OB    9/19/2020   WN;2123;PDX;DEN                   PAULVIEW               ID                 US   58512   124542165@AIRLINE.KIWI.COM
QW4CTV   9/17/2020   OB    9/18/2020   WN;1324;SMF;LAX                   SOUTH BRITTANYFORT     OH                 US    3639   124543012@AIRLINE.KIWI.COM
QXAUCJ   9/17/2020   OB   10/13/2020   WN;782;MDW;SJC                    EAST KIMBERLYFURT      CA                 US   77435   124543034@AIRLINE.KIWI.COM
QYZCX9   9/17/2020   OB    9/20/2020   WN;2300;LAX;DEN;WN;2135;DEN;MSY   PORT NICHOLAS          DE                 US   74960   124545091@AIRLINE.KIWI.COM
R3BFAD   9/17/2020   OB    9/17/2020   WN;2141;DEN;MDW                   HENRYSURMER            MEURTHEETMOSELLE   FR    9811   124546004@AIRLINE.KIWI.COM
R3BFAD   9/17/2020   OB    9/18/2020   WN;2266;MDW;MEM                   HENRYSURMER            MEURTHEETMOSELLE   FR    9811   124546004@AIRLINE.KIWI.COM
R3BFAD   9/17/2020   OB    9/17/2020   WN;2141;DEN;MDW                   HENRYSURMER            MEURTHEETMOSELLE   FR    9811   124546004@AIRLINE.KIWI.COM
R3BFAD   9/17/2020   OB    9/18/2020   WN;2266;MDW;MEM                   HENRYSURMER            MEURTHEETMOSELLE   FR    9811   124546004@AIRLINE.KIWI.COM
RFQXPO   9/17/2020   OB    9/17/2020   WN;2545;TPA;DEN                   MACKTOWN               WV                 US   65193   124558467@AIRLINE.KIWI.COM
RPTVHQ   9/17/2020   OB   10/13/2020   WN;2513;LAS;SMF                   MATTIGHOFEN            OBEROSTERREICH     AT   17230   124567344@AIRLINE.KIWI.COM
RSIQQG   9/17/2020   OB    9/26/2020   WN;1341;DAL;MSY                   BRNO                   SOUTH MORAVIA      CZ   62500   124566035@AIRLINE.KIWI.COM
RVVL7J   9/17/2020   OB    9/18/2020   WN;2228;ORF;BWI                   STEPHENSTOWN           WY                 US   16186   124577882@AIRLINE.KIWI.COM
RZ2QFB   9/17/2020   OB    9/17/2020   WN;1888;MCO;MDW;WN;2371;MDW;LAX   PORT ALEXANDRIATON     SD                 US   90122   124581292@AIRLINE.KIWI.COM
RZ6C9H   9/17/2020   OB    9/18/2020   WN;2544;TPA;SJU                   WEST FRANCESCA         CA                 US   94612   124580720@AIRLINE.KIWI.COM
S2B33I   9/17/2020   OB    9/18/2020   WN;1387;IND;MCO;WN;2426;MCO;FLL   NORTH PATRICIASIDE     NC                 US    4430   124583624@AIRLINE.KIWI.COM
S4MISO   9/17/2020   OB    9/23/2020   WN;2185;SJU;FLL                   SOUTH BARBARA          TN                 US   77449   124586616@AIRLINE.KIWI.COM
S5866W   9/17/2020   OB    9/21/2020   WN;1934;CLE;BWI;WN;1874;BWI;ORF   ZACHARYBOROUGH         NY                 US    6810   124586781@AIRLINE.KIWI.COM
S6NO29   9/17/2020   OB    9/23/2020   WN;140;BWI;BOS                    SRWRBURY               AL                 US   83644   124587353@AIRLINE.KIWI.COM




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S7DPDN   9/17/2020   OB    9/18/2020   WN;1483;DEN;PHX                       LAKE SARAH             WI                       US   19831   124589729@AIRLINE.KIWI.COM
S95Z4A   9/17/2020   OB    9/20/2020   WN;2507;LAS;LAX                       WILLIAMSVILLE          MI                       US   99692   124592413@AIRLINE.KIWI.COM
SAK7II   9/17/2020   OB    11/8/2020   WN;1015;ATL;DCA                       JAMESHAVEN             IN                       US     646   124594074@AIRLINE.KIWI.COM
SASNKQ   9/17/2020   OB    11/5/2020   WN;561;DCA;BNA;WN;561;BNA;ATL         ERINTON                ME                       US   64098   124594074@AIRLINE.KIWI.COM
SBYWVF   9/17/2020   OB    9/18/2020   WN;2118;LGA;MDW;WN;2629;MDW;RSW       LAKE JESSICATOWN       AK                       US    7322   124595636@AIRLINE.KIWI.COM
SBYWVF   9/17/2020   OB    9/18/2020   WN;2118;LGA;MDW;WN;2629;MDW;RSW       LAKE JESSICATOWN       AK                       US    7322   124595636@AIRLINE.KIWI.COM
SCWTUP   9/17/2020   OB   12/26/2020   WN;1710;TUS;MDW;WN;64;MDW;BNA         D MALGOBEK             SMOLENSKAYA OBLAST       RU   24664   124597000@AIRLINE.KIWI.COM
SCWTUP   9/17/2020   RT   12/29/2020   WN;773;BNA;ECP;WN;773;ECP;HOU;WN;21;HOD MALGOBEK             SMOLENSKAYA OBLAST       RU   24664   124597000@AIRLINE.KIWI.COM
SD4ZHG   9/17/2020   OB    9/23/2020   WN;2280;DAL;ABQ                       NEW JEFFSIDE           NE                       US   71639   124597022@AIRLINE.KIWI.COM
SEBOUL   9/17/2020   OB   10/14/2020   WN;1775;BNA;FLL                       LAKE CHRISTINA         FL                       US   60788   124598111@AIRLINE.KIWI.COM
SEBOUL   9/17/2020   RT   10/16/2020   WN;2377;FLL;BNA                       LAKE CHRISTINA         FL                       US   60788   124598111@AIRLINE.KIWI.COM
SEN3JE   9/17/2020   OB    10/9/2020   WN;1079;RIC;ATL;WN;6758;ATL;TPA       LAKE ZACHARY           NH                       US   15061   124599585@AIRLINE.KIWI.COM
SEN3JE   9/17/2020   OB    10/9/2020   WN;1079;RIC;ATL;WN;6758;ATL;TPA       LAKE ZACHARY           NH                       US   15061   124599585@AIRLINE.KIWI.COM
SF856M   9/17/2020   OB   10/22/2020   WN;2607;ATL;FLL                       NEW MICHAEL            ND                       US   57754   124599937@AIRLINE.KIWI.COM
SF856M   9/17/2020   RT   10/25/2020   WN;2634;FLL;ATL                       NEW MICHAEL            ND                       US   57754   124599937@AIRLINE.KIWI.COM
SIBMIT   9/17/2020   OB    9/22/2020   WN;1985;LAS;SJC                       EAST JESSICA           IL                       US   15030   124603897@AIRLINE.KIWI.COM
SLE8M6   9/17/2020   OB    10/8/2020   WN;2003;BWI;SAT                       NEW JESUSBURGH         ND                       US   34583   124606713@AIRLINE.KIWI.COM
SLEZ7P   9/17/2020   OB   10/12/2020   WN;124;SAT;BWI                        REYNOLDSTON            OH                       US   93923   124607054@AIRLINE.KIWI.COM
SLPFQG   9/17/2020   OB    10/9/2020   WN;2100;LAS;HOU                       NEW KATHLEEN           RI                       US   67686   124607681@AIRLINE.KIWI.COM
SLPFQG   9/17/2020   RT   10/12/2020   WN;2155;HOU;LAS                       NEW KATHLEEN           RI                       US   67686   124607681@AIRLINE.KIWI.COM
SM2PKQ   9/17/2020   OB    9/26/2020   WN;1900;DAL;BNA                       NORTH CHRISTINECHEST   IN                       US   70898   124607934@AIRLINE.KIWI.COM
SMTSZK   9/17/2020   OB    9/17/2020   WN;2587;SEA;SMF                       KAYLEEMOUTH            KS                       US   60195   124609408@AIRLINE.KIWI.COM
SMYXIZ   9/17/2020   OB    9/27/2020   WN;2218;OAK;SLC                       CARRIEBURY             MI                       US   44028   124609672@AIRLINE.KIWI.COM
SNBJK9   9/17/2020   OB    10/7/2020   WN;1452;BWI;DTW                       SCHMIDTSTAD            SD                       US   58497   124609617@AIRLINE.KIWI.COM
SNCF5K   9/17/2020   OB    9/25/2020   WN;2498;SLC;OAK                       NORTH SETH             NY                       US   70277   124609496@AIRLINE.KIWI.COM
SNJ2WE   9/17/2020   OB    9/24/2020   WN;2642;DTW;BWI;WN;1935;BWI;HOU       NEW DANIELTON          KS                       US   20625   124607241@AIRLINE.KIWI.COM
SOPUBU   9/17/2020   OB    9/19/2020   WN;154;DEN;SLC                        PARKERVILLE            ME                       US   28408   124611751@AIRLINE.KIWI.COM
SRISQ6   9/17/2020   OB    9/18/2020   WN;2330;FLL;TPA;WN;1187;TPA;ATL       MANNFURT               AR                       US   80935   124615392@AIRLINE.KIWI.COM
SSRN2C   9/17/2020   OB    11/9/2020   WN;468;BNA;DTW                        RODRIGUEZTON           OH                       US    3779   124616624@AIRLINE.KIWI.COM
SSRN2C   9/17/2020   OB    11/9/2020   WN;468;BNA;DTW                        RODRIGUEZTON           OH                       US    3779   124616624@AIRLINE.KIWI.COM
SSVF25   9/17/2020   OB    11/6/2020   WN;1561;DTW;BNA                       ARMSTRONGSIDE          PA                       US   48875   124616382@AIRLINE.KIWI.COM
SSVF25   9/17/2020   OB    11/6/2020   WN;1561;DTW;BNA                       ARMSTRONGSIDE          PA                       US   48875   124616382@AIRLINE.KIWI.COM
STHSJY   9/17/2020   OB    9/18/2020   WN;2154;MCO;PHX                       EAST ROGER             AZ                       US   18265   124617262@AIRLINE.KIWI.COM
SUOTF5   9/17/2020   OB    10/2/2020   WN;112;ATL;RDU                        NEW BRETTBOROUGH       OR                       US   91441   124619110@AIRLINE.KIWI.COM
SUS783   9/17/2020   OB    10/1/2020   WN;2204;SNA;PHX                       WEST LAURACHESTER      VA                       US    7390   124619363@AIRLINE.KIWI.COM
SWDVH6   9/17/2020   OB    9/18/2020   WN;1286;SJU;TPA                       MICHAELBERG            SD                       US   15698   124620848@AIRLINE.KIWI.COM
SWGA6W   9/17/2020   OB    9/20/2020   WN;2151;LAS;PDX                       NICHOLASLAND           ID                       US    5687   124620419@AIRLINE.KIWI.COM
SWLMOS   9/17/2020   OB    10/1/2020   WN;1608;CUN;BWI                       KATHRYNLAND            MI                       US   67959   124621420@AIRLINE.KIWI.COM
SWNJGL   9/17/2020   OB    9/19/2020   WN;1980;DTW;BWI                       MILLERSHIRE            MI                       US   86492   124620694@AIRLINE.KIWI.COM
SWWNLV   9/17/2020   OB    11/5/2020   WN;173;MDW;LAS                        SOUTH DAVID            CT                       US    2209   124620738@AIRLINE.KIWI.COM
SWWNLV   9/17/2020   RT    11/8/2020   WN;545;LAS;MDW                        SOUTH DAVID            CT                       US    2209   124620738@AIRLINE.KIWI.COM
SXY4HB   9/17/2020   OB    9/28/2020   WN;1554;SFO;DEN                       NEW TRACYBERG          AL                       US   90190   124621123@AIRLINE.KIWI.COM
SZFDMQ   9/17/2020   OB    9/18/2020   WN;2286;LAX;OAK                       MISTYSTAD              MT                       US   72717   124623477@AIRLINE.KIWI.COM
SZJ5RR   9/17/2020   OB    9/19/2020   WN;1501;LGA;MDW                       NEW JENNIFER           FL                       US   10747   124623807@AIRLINE.KIWI.COM
SZJ5RR   9/17/2020   OB    9/27/2020   WN;1083;MDW;BWI                       NEW JENNIFER           FL                       US   10747   124623807@AIRLINE.KIWI.COM
SZOLO8   9/17/2020   OB    9/23/2020   WN;1544;DEN;OAK;WN;2036;OAK;HNL       PORT PATRICK           NH                       US   55280   124592567.1456605@AIRLINE.KIWI.COM
SZZWEV   9/17/2020   OB   12/29/2020   WN;987;MDW;SAN                        CLARKFORT              KY                       US   95035   124624225@AIRLINE.KIWI.COM
T2K4RB   9/17/2020   OB   10/22/2020   WN;2607;ATL;FLL                       GREGORYMOUTH           CA                       US   79219   124625127@AIRLINE.KIWI.COM
T2K4RB   9/17/2020   RT   10/25/2020   WN;2634;FLL;ATL                       GREGORYMOUTH           CA                       US   79219   124625127@AIRLINE.KIWI.COM
T2R2GT   9/17/2020   OB    9/19/2020   WN;143;HOU;BNA                        PORT ROBERT            MD                       US   39643   124625490@AIRLINE.KIWI.COM
T4HI95   9/17/2020   OB    9/18/2020   WN;2130;LGA;BNA;WN;1581;BNA;DAL       PORT KATHLEEN          OK                       US   60197   124626546@AIRLINE.KIWI.COM
T68XTM   9/17/2020   OB    10/2/2020   WN;2494;MCO;MDW                       PORT AMANDALAND        VA                       US    1402   124628581@AIRLINE.KIWI.COM
T6GA7O   9/17/2020   OB    9/18/2020   WN;2130;LGA;BNA;WN;1581;BNA;DAL       TAANSEN                RAPTI                    NP   97216   124628812@AIRLINE.KIWI.COM
T6QIFF   9/17/2020   OB    9/23/2020   WN;2344;SNA;SMF                       MA AN SHAN XIAN        LIAONING SHENG           CN   15963   124628801@AIRLINE.KIWI.COM
T795LP   9/17/2020   OB    9/24/2020   WN;2031;BNA;BWI;WN;555;BWI;BOS        SOUTH JONATHAN         MD                       US   31607   124629362@AIRLINE.KIWI.COM
T832FZ   9/17/2020   OB   11/24/2020   WN;1877;SAN;OAK                       LAURENCHESTER          SC                       US   61737   124629912@AIRLINE.KIWI.COM
T8E54P   9/17/2020   OB   10/15/2020   WN;1090;BUR;OAK                       NORTH RANDY            KY                       US   42879   124630297@AIRLINE.KIWI.COM
T8E54P   9/17/2020   OB   10/15/2020   WN;1090;BUR;OAK                       NORTH RANDY            KY                       US   42879   124630297@AIRLINE.KIWI.COM
T8E54P   9/17/2020   RT   10/17/2020   WN;669;OAK;BUR                        NORTH RANDY            KY                       US   42879   124630297@AIRLINE.KIWI.COM
T8E54P   9/17/2020   RT   10/17/2020   WN;669;OAK;BUR                        NORTH RANDY            KY                       US   42879   124630297@AIRLINE.KIWI.COM
T9F7DQ   9/17/2020   OB    10/3/2020   WN;966;FLL;MDW                        SEVILLA                AVILA                    ES    3404   124631188@AIRLINE.KIWI.COM
T9O5ZH   9/17/2020   OB    10/3/2020   WN;2416;MDW;OMA                       SOUTH ALMA             PLAVINU NOVADS           LV   79498   124631188@AIRLINE.KIWI.COM
TDNUEM   9/17/2020   OB    10/1/2020   WN;759;HNL;OAK                        RILEYHAVEN             IA                       US   97094   124633201@AIRLINE.KIWI.COM
TDNUEM   9/17/2020   OB    10/1/2020   WN;759;HNL;OAK                        RILEYHAVEN             IA                       US   97094   124633201@AIRLINE.KIWI.COM
TEFFVV   9/17/2020   OB    10/2/2020   WN;1142;ATL;HOU                       NORTH CAROLYN          NH                       US   75982   124633564@AIRLINE.KIWI.COM
TFDKLE   9/17/2020   OB    10/2/2020   WN;2321;PHX;SMF                       EAST RUSSELLBURY       HI                       US   47302   124633839@AIRLINE.KIWI.COM
TFDKLE   9/17/2020   OB    10/2/2020   WN;2321;PHX;SMF                       EAST RUSSELLBURY       HI                       US   47302   124633839@AIRLINE.KIWI.COM
TGM3H6   9/18/2020   OB   10/22/2020   WN;2070;ATL;BNA                       NEW SAMANTHA           WINDSOR AND MAIDENHEAD   GB   29428   124634411@AIRLINE.KIWI.COM
TH7FL3   9/18/2020   OB    9/26/2020   WN;1066;HOU;ATL                       SOUTH DAVID            KY                       US   99431   124634444@AIRLINE.KIWI.COM
THQNB4   9/18/2020   OB    9/18/2020   WN;1250;DEN;SAT                       EAST JERRYBURY         ND                       US   96981   124634785@AIRLINE.KIWI.COM
TIBPRF   9/18/2020   OB   10/14/2020   WN;2610;ATL;PHX                       NEW KRISTINASTAD       GA                       US   68250   124634664@AIRLINE.KIWI.COM
TIBPRF   9/18/2020   OB   10/14/2020   WN;2610;ATL;PHX                       NEW KRISTINASTAD       GA                       US   68250   124634664@AIRLINE.KIWI.COM
TNV2HF   9/18/2020   OB    9/24/2020   WN;1286;SJU;TPA                       GAO XIONG              ILAN                     TW   82295   124637689@AIRLINE.KIWI.COM
TOWNF9   9/18/2020   OB    10/4/2020   WN;2180;ATL;RIC                       SANCHEZVILLE           LA                       US   24569   124638107@AIRLINE.KIWI.COM
TOYXEB   9/18/2020   OB   11/20/2020   WN;833;LAX;SLC                        LAKE JESSICA           HI                       US   22413   124637909@AIRLINE.KIWI.COM
TOYXEB   9/18/2020   OB   11/20/2020   WN;833;LAX;SLC                        LAKE JESSICA           HI                       US   22413   124637909@AIRLINE.KIWI.COM
TPRPAY   9/18/2020   OB    9/20/2020   WN;864;ATL;LGA                        SOUTH JEREMYBOROUGH    OK                       US   33707   124638514@AIRLINE.KIWI.COM
TQGB5S   9/18/2020   OB    9/18/2020   WN;3340;MCO;BNA                       NOYEMBERYAN            KOTAYK                   AM    3525   124638503@AIRLINE.KIWI.COM
TRKZ8L   9/18/2020   OB    10/8/2020   WN;2016;BUR;PHX;WN;2016;PHX;ABQ       HARRISONFURT           NY                       US   86096   124639262@AIRLINE.KIWI.COM
TSFGI8   9/18/2020   OB   10/14/2020   WN;2585;ABQ;LAS;WN;1011;LAS;BUR       EAST BRANDONTON        AZ                       US   46360   124639251@AIRLINE.KIWI.COM
TUG598   9/18/2020   OB   12/26/2020   WN;1893;CLT;MDW;WN;1081;MDW;CLE       NEW LINDA              NC                       US   13837   124639878@AIRLINE.KIWI.COM
TUG598   9/18/2020   OB   12/26/2020   WN;1893;CLT;MDW;WN;1081;MDW;CLE       NEW LINDA              NC                       US   13837   124639878@AIRLINE.KIWI.COM
TUG598   9/18/2020   OB   12/26/2020   WN;1893;CLT;MDW;WN;1081;MDW;CLE       NEW LINDA              NC                       US   13837   124639878@AIRLINE.KIWI.COM
TY7OZE   9/18/2020   OB   11/13/2020   WN;264;SJC;ONT;WN;665;ONT;LAS         LESZNO                 LUBUSKIE                 PL   18600   124641418@AIRLINE.KIWI.COM
TZ48IM   9/18/2020   OB   10/21/2020   WN;1414;LAX;HOU                       STEPHENSONVILLE        CA                       US   71399   124641627@AIRLINE.KIWI.COM
U29BCT   9/18/2020   OB    9/19/2020   WN;1187;ATL;MEM                       WEST THOMAS            AL                       US   72187   124641605@AIRLINE.KIWI.COM
U5BSUO   9/18/2020   OB    9/18/2020   WN;2612;PHL;ATL                       CHADHAVEN              OH                       US    9738   124643728@AIRLINE.KIWI.COM
U76HQX   9/18/2020   OB    9/29/2020   WN;1187;ATL;MEM                       WEST RHONDABURY        FL                       US   27140   124644344@AIRLINE.KIWI.COM
U97FAY   9/18/2020   OB    9/20/2020   WN;118;SAN;SMF                        NEW SARAHCHESTER       UT                       US   27445   124644949@AIRLINE.KIWI.COM
U9CZ2H   9/18/2020   OB    9/18/2020   WN;2472;SFO;LAX                       DALTONLAND             OR                       US   85384   124645147@AIRLINE.KIWI.COM
U9CZ2H   9/18/2020   OB    9/18/2020   WN;2472;SFO;LAX                       DALTONLAND             OR                       US   85384   124645147@AIRLINE.KIWI.COM
UCVRSS   9/18/2020   OB    9/18/2020   WN;2529;DTW;BNA                       DIANELAND              PA                       US   69392   124646720@AIRLINE.KIWI.COM
UCVRSS   9/18/2020   OB    9/18/2020   WN;2529;DTW;BNA                       DIANELAND              PA                       US   69392   124646720@AIRLINE.KIWI.COM
UDHP9U   9/18/2020   OB    9/18/2020   WN;2629;MDW;RSW                       JONATHANSIDE           NH                       US   31949   124647237@AIRLINE.KIWI.COM
UJHZI8   9/18/2020   OB   12/16/2020   WN;2863;DAL;MDW;WN;2863;MDW;FLL       BUDAPEST               SZABOLCSSZATMARBEREG     HU   60944   124593623@AIRLINE.KIWI.COM
UO9NAO   9/18/2020   OB   12/13/2020   WN;3422;STL;LGA                       TURNERSHIRE            DERBY                    GB   92908   124650350@AIRLINE.KIWI.COM
UOY3PF   9/18/2020   OB    9/24/2020   WN;1507;OAK;SEA                       WANGBURY               OR                       US   99350   124657533@AIRLINE.KIWI.COM
V2AOD3   9/18/2020   OB    9/20/2020   WN;1626;SDF;MCO                       WALSHVIEW              DE                       US   79380   124669127@AIRLINE.KIWI.COM
V2AOD3   9/18/2020   OB    9/20/2020   WN;1626;SDF;MCO                       WALSHVIEW              DE                       US   79380   124669127@AIRLINE.KIWI.COM
V939YN   9/18/2020   OB    9/19/2020   WN;2513;LAS;SMF                       WEST DALTON            NE                       US   96648   124677454@AIRLINE.KIWI.COM
VAO4Y9   9/18/2020   OB    9/20/2020   WN;273;MBJ;MCO                        NEW ERICFURT           ID                       US    5013   124679599@AIRLINE.KIWI.COM
VF7TNV   9/18/2020   OB    2/24/2021   WN;5035;SJU;FLL                       PORT DAVIDHAVEN        AR                       US   60899   124683746@AIRLINE.KIWI.COM
VF7TNV   9/18/2020   OB    2/24/2021   WN;5035;SJU;FLL                       PORT DAVIDHAVEN        AR                       US   60899   124683746@AIRLINE.KIWI.COM
VFV6SR   9/18/2020   OB    9/18/2020   WN;2147;ATL;SAT                       PORT ELIZABETHFORT     NE                       US   80966   124685231@AIRLINE.KIWI.COM
VIW6SL   9/18/2020   OB    9/18/2020   WN;1661;BWI;LAS                       GREGORYTOWN            IA                       US   31610   124688806@AIRLINE.KIWI.COM
VJNN66   9/18/2020   OB    9/21/2020   WN;139;ATL;BWI;WN;139;BWI;MCO         SELO MILENA            DONETSKA OBLAST          UA   43679   124690192@AIRLINE.KIWI.COM
VKMZPI   9/18/2020   OB    9/21/2020   WN;2544;TPA;SJU                       KILKIS                 MESSINIA                 GR   89479   124692546@AIRLINE.KIWI.COM




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VL553I   9/18/2020   OB    9/19/2020   WN;1687;BWI;HOU                        NICOLEBURY             VA                     US   80786   124692051@AIRLINE.KIWI.COM
VQIWRD   9/18/2020   OB    9/21/2020   WN;177;ATL;MSY                         CHRISTOPHERFURT        NH                     US   75453   124699575@AIRLINE.KIWI.COM
VRZXLZ   9/18/2020   OB    9/19/2020   WN;1687;BWI;HOU                        JOSEPHCHESTER          NY                     US   54644   124701181@AIRLINE.KIWI.COM
VUGYPL   9/18/2020   OB   11/15/2020   WN;517;BWI;TPA                         SOUTH ADAM             MT                     US   68273   124703117@AIRLINE.KIWI.COM
VVWVYZ   9/18/2020   OB   10/21/2020   WN;2585;SAT;BNA;WN;1894;BNA;LGA        WEST BRADLEYTON        IN                     US   10032   124705185@AIRLINE.KIWI.COM
VYSFOZ   9/18/2020   OB    9/20/2020   WN;183;MDW;ATL                         WILLIAMSIDE            VT                     US   97154   124707913@AIRLINE.KIWI.COM
VZRXY6   9/18/2020   OB   10/19/2020   WN;2231;MEM;ATL                        WONG HILL              AUCKLAND               NZ   95793   124214750.1457631@AIRLINE.KIWI.COM
VZYKDG   9/18/2020   OB   11/23/2020   WN;2350;PIT;ATL                        EAST GARYPORT          WI                     US    4266   124708639@AIRLINE.KIWI.COM
W4U2QN   9/18/2020   OB    9/19/2020   WN;1935;PWM;BWI;WN;1968;BWI;CVG        LJUTOMER               RADECE                 SI   37522   124711818@AIRLINE.KIWI.COM
W5U7YB   9/18/2020   OB   11/25/2020   WN;4933;LAX;PHX;WN;2140;PHX;DEN        YOUNGLAND              NM                     US   14596   124712566@AIRLINE.KIWI.COM
W5U7YB   9/18/2020   OB   11/25/2020   WN;4933;LAX;PHX;WN;2140;PHX;DEN        YOUNGLAND              NM                     US   14596   124712566@AIRLINE.KIWI.COM
W667UE   9/18/2020   OB    12/6/2020   WN;3725;LAX;HOU                        WEST BARBARAFORT       NJ                     US   87018   124713457@AIRLINE.KIWI.COM
W667UE   9/18/2020   OB    12/6/2020   WN;3725;LAX;HOU                        WEST BARBARAFORT       NJ                     US   87018   124713457@AIRLINE.KIWI.COM
W667UE   9/18/2020   OB    12/6/2020   WN;3725;LAX;HOU                        WEST BARBARAFORT       NJ                     US   87018   124713457@AIRLINE.KIWI.COM
W667UE   9/18/2020   OB    12/6/2020   WN;3725;LAX;HOU                        WEST BARBARAFORT       NJ                     US   87018   124713457@AIRLINE.KIWI.COM
W6GQO2   9/18/2020   OB    9/19/2020   WN;429;CVG;BWI;WN;1750;BWI;FLL         STEPHENBURGH           WI                     US   78789   124714260@AIRLINE.KIWI.COM
W6STSJ   9/18/2020   OB    9/28/2020   WN;2288;LAX;MDW;WN;6859;MDW;BUF        MOOREBOROUGH           RI                     US   41624   124714744@AIRLINE.KIWI.COM
W7HSLQ   9/18/2020   OB    9/18/2020   WN;1798;LAS;PHX                        JORGENSEN              ROGALAND               NO    2878   124715217@AIRLINE.KIWI.COM
W7HWPC   9/18/2020   OB   10/27/2020   WN;130;DEN;MDW                         NORTH ASHLEY           FL                     US   62447   124714876@AIRLINE.KIWI.COM
W7HWPC   9/18/2020   OB   10/27/2020   WN;130;DEN;MDW                         NORTH ASHLEY           FL                     US   62447   124714876@AIRLINE.KIWI.COM
W7X95G   9/18/2020   OB    9/27/2020   WN;2498;SLC;OAK                        EVANSMOUTH             BEXLEY                 GB   62000   124715723@AIRLINE.KIWI.COM
W8UVYN   9/18/2020   OB    9/19/2020   WN;2498;SLC;OAK;WN;1563;OAK;PDX        NEW ALBERTMOUTH        UPPER EAST             GH   44676   124716570@AIRLINE.KIWI.COM
WD6889   9/18/2020   OB    9/19/2020   WN;1142;ATL;HOU                        WEST JACOBVILLE        MS                     US   54153   124721718@AIRLINE.KIWI.COM
WD6889   9/18/2020   RT    9/21/2020   WN;1995;HOU;ATL                        WEST JACOBVILLE        MS                     US   54153   124721718@AIRLINE.KIWI.COM
WDIVWL   9/18/2020   OB   10/18/2020   WN;877;STL;LAS                         EAST MICHAEL           HI                     US   42783   124722092@AIRLINE.KIWI.COM
WDIVWL   9/18/2020   OB   10/18/2020   WN;877;STL;LAS                         EAST MICHAEL           HI                     US   42783   124722092@AIRLINE.KIWI.COM
WDIVWL   9/18/2020   OB   10/18/2020   WN;877;STL;LAS                         EAST MICHAEL           HI                     US   42783   124722092@AIRLINE.KIWI.COM
WFVKKT   9/18/2020   OB    9/19/2020   WN;2215;MDW;MCO                        JONESBOROUGH           VT                     US   66322   124724809@AIRLINE.KIWI.COM
WFWVIX   9/18/2020   OB    9/19/2020   WN;112;ATL;RDU                         JESSICAMOUTH           CO                     US   97373   124724974@AIRLINE.KIWI.COM
WGD7R2   9/18/2020   OB    9/19/2020   WN;1499;PHX;DEN                        ZAMORAVIEW             CT                     US   69559   124725073@AIRLINE.KIWI.COM
WHEVLL   9/18/2020   OB    9/27/2020   WN;127;HOU;ATL                         BRANDONVIEW            VT                     US   13297   124725876@AIRLINE.KIWI.COM
WJXGQR   9/18/2020   OB    9/19/2020   WN;1992;FLL;ATL                        LAKE LISA              NE                     US   87202   124728637@AIRLINE.KIWI.COM
WNTZXG   9/18/2020   OB    9/20/2020   WN;950;BWI;BOS                         GREENFURT              SD                     US   16780   124730683@AIRLINE.KIWI.COM
WOANQX   9/18/2020   OB   10/21/2020   WN;1507;OAK;SEA                        SOUTH TODD             UT                     US   69605   124731409@AIRLINE.KIWI.COM
WQWSM8   9/18/2020   OB    9/23/2020   WN;2371;MSP;MDW;WN;2008;MDW;DAL        LAKE JONATHANMOUTH     MD                     US   11667   124732586@AIRLINE.KIWI.COM
WQXTCD   9/18/2020   OB    10/5/2020   WN;2627;RDU;ATL                        SOUTH SOPHIABOROUGH    WA                     US   58781   124732619@AIRLINE.KIWI.COM
WR2UJV   9/18/2020   OB    10/3/2020   WN;112;ATL;RDU                         SOUTH CHRISTOPHER      CO                     US   34414   124732575@AIRLINE.KIWI.COM
WT3JN2   9/18/2020   OB    10/2/2020   WN;1079;RIC;ATL                        SOUTH SAMANTHAHAVEN    NC                     US   50552   124733367@AIRLINE.KIWI.COM
WT8I5T   9/18/2020   OB    9/19/2020   WN;2259;MSY;BWI;WN;1750;BWI;FLL        WEST CLAUDIA           HI                     US   34372   124733620@AIRLINE.KIWI.COM
WTAKL8   9/18/2020   OB    9/20/2020   WN;2487;PDX;SMF                        WEST NICHOLAS          PA                     US   36572   124733741@AIRLINE.KIWI.COM
WTK9MS   9/18/2020   OB    9/20/2020   WN;1969;DEN;TUS                        SANDOVALBERG           SD                     US   59800   124733829@AIRLINE.KIWI.COM
WVLNH7   9/18/2020   OB    9/19/2020   WN;2225;MDW;MSP                        NUEVA NAURU            COAHUILA DE ZARAGOZA   MX    7747   124734478@AIRLINE.KIWI.COM
WXM8FV   9/18/2020   OB    10/3/2020   WN;849;ATL;IAD                         HOLMESVIEW             AK                     US   48334   124735006@AIRLINE.KIWI.COM
WYD6I3   9/18/2020   OB   12/26/2020   WN;2370;DTW;DEN;WN;2196;DEN;LAS        RICHARDBURGH           SC                     US   77805   124735193@AIRLINE.KIWI.COM
WYD6I3   9/18/2020   OB   12/26/2020   WN;2370;DTW;DEN;WN;2196;DEN;LAS        RICHARDBURGH           SC                     US   77805   124735193@AIRLINE.KIWI.COM
J2MYGU   9/19/2020   OB    11/6/2020   WN;1232;MDW;PIT;WN;1232;PIT;LAS;WN;1232KAITLINBURY            AL                     US   57951   124735985@AIRLINE.KIWI.COM
J3IKUV   9/19/2020   OB   10/12/2020   WN;1473;BNA;HOU                        NORTH TRACYBURY        AK                     US   14640   124736293@AIRLINE.KIWI.COM
J3UUAA   9/19/2020   OB    10/9/2020   WN;6927;HOU;BNA                        WEST DEREK             WA                     US   74651   124736205@AIRLINE.KIWI.COM
J472VW   9/19/2020   OB    9/19/2020   WN;762;LAS;PHX;WN;2320;PHX;ELP         THOMPSONBURGH          NM                     US   91715   124736403@AIRLINE.KIWI.COM
J4HN5O   9/19/2020   OB    9/22/2020   WN;1283;HOU;MAF                        WEST HENRYSIDE         CA                     US   55367   124736304@AIRLINE.KIWI.COM
J65FGX   9/19/2020   OB    9/27/2020   WN;2403;MDW;LGA                        JONESFURT              NC                     US   99288   124737008@AIRLINE.KIWI.COM
J65FGX   9/19/2020   OB    9/27/2020   WN;2403;MDW;LGA                        JONESFURT              NC                     US   99288   124737008@AIRLINE.KIWI.COM
J6A8Z5   9/19/2020   OB    10/9/2020   WN;312;PDX;SJC                         SONDERGAARDBERG        MIDTJYLLAND            DK   74959   124737195@AIRLINE.KIWI.COM
J9K5QZ   9/19/2020   OB    9/19/2020   WN;1492;SNA;LAS                        SHORTPORT              PA                     US   19259   124738031@AIRLINE.KIWI.COM
JAVF88   9/19/2020   OB    9/19/2020   WN;1992;FLL;ATL;WN;2540;ATL;RDU        CLARKSTAD              AR                     US   72809   124738240@AIRLINE.KIWI.COM
JBOJML   9/19/2020   OB    9/27/2020   WN;328;CUN;HOU                         ANDREWVILLE            WY                     US   26006   124738449@AIRLINE.KIWI.COM
JBOJML   9/19/2020   OB    9/27/2020   WN;328;CUN;HOU                         ANDREWVILLE            WY                     US   26006   124738449@AIRLINE.KIWI.COM
JBZY7J   9/19/2020   OB    9/19/2020   WN;1014;MEM;MDW;WN;2558;MDW;LAS        NORTH JAMES            DE                     US   70561   124738647@AIRLINE.KIWI.COM
JCCDCE   9/19/2020   OB   10/10/2020   WN;1542;LAS;BWI                        LAKE ALEXANDERMOUTH    NY                     US   25609   124738834@AIRLINE.KIWI.COM
JDAL3D   9/19/2020   OB    9/19/2020   WN;2210;MDW;LAS                        CHRISTOPHERBOROUGH     ID                     US    6144   124738966@AIRLINE.KIWI.COM
JDCIKF   9/19/2020   OB    9/19/2020   WN;705;OAK;LAS                         WEST JASON             NM                     US    3014   124739076@AIRLINE.KIWI.COM
JE6GE8   9/19/2020   OB    10/7/2020   WN;1950;DEN;BNA                        LAKE CHRISTINA         IN                     US   97641   124739219@AIRLINE.KIWI.COM
JFK8FX   9/19/2020   OB    9/19/2020   WN;1267;BDL;MDW;WN;1645;MDW;PHL        LAKE ROBERT            CA                     US   63271   124739736@AIRLINE.KIWI.COM
JHFO92   9/19/2020   OB   10/29/2020   WN;1655;OAK;DEN                        DIXONMOUTH             SC                     US   43417   124740209@AIRLINE.KIWI.COM
JHLBCH   9/19/2020   OB    9/19/2020   WN;2591;BUR;LAS                        PEREZTOWN              RI                     US   21995   124740033@AIRLINE.KIWI.COM
JLEFET   9/19/2020   OB   11/12/2020   WN;1012;MSP;DEN                        CIRAALAA               TRIPURA                IN   81165   124740990@AIRLINE.KIWI.COM
JN7S7L   9/19/2020   OB    10/9/2020   WN;4321;PHX;HOU                        LEELAND                LA                     US   64239   124742079@AIRLINE.KIWI.COM
JNKDIO   9/19/2020   OB    9/28/2020   WN;2253;HOU;PHX                        BARBARASHIRE           DE                     US   23927   124742079@AIRLINE.KIWI.COM
JPLSFN   9/19/2020   OB    10/3/2020   WN;2159;MCO;BHM                        NEW LINDA              AR                     US   90747   124742717@AIRLINE.KIWI.COM
JPLSFN   9/19/2020   OB    10/3/2020   WN;2159;MCO;BHM                        NEW LINDA              AR                     US   90747   124742717@AIRLINE.KIWI.COM
JQHFJG   9/19/2020   OB    11/1/2020   WN;3337;MCI;OAK                        LEEVIEW                MO                     US   55905   124743256@AIRLINE.KIWI.COM
JQJ8RN   9/19/2020   OB    12/1/2020   WN;818;OAK;MCI                         WEST KRISTA            NC                     US   11204   124743245@AIRLINE.KIWI.COM
JRZKFN   9/19/2020   OB    9/19/2020   WN;932;LAS;OAK                         SOUTH ELIZABETHBURGH   WI                     US   32512   124743663@AIRLINE.KIWI.COM
JT2WA2   9/19/2020   OB    9/27/2020   WN;2118;LGA;MDW                        NEW MALLORYTON         CO                     US   21575   124744257@AIRLINE.KIWI.COM
JT2WA2   9/19/2020   OB    9/27/2020   WN;2118;LGA;MDW                        NEW MALLORYTON         CO                     US   21575   124744257@AIRLINE.KIWI.COM
JXBAPF   9/19/2020   OB   10/15/2020   WN;2482;SFO;MDW                        SAN RAFAEL LOS ALTOS   TLAXCALA               MX   82756   124746490@AIRLINE.KIWI.COM
JXBAPF   9/19/2020   RT   10/19/2020   WN;2349;MDW;SFO                        SAN RAFAEL LOS ALTOS   TLAXCALA               MX   82756   124746490@AIRLINE.KIWI.COM
K2QVFG   9/19/2020   OB    9/20/2020   WN;2338;PDX;MDW;WN;2361;MDW;MSP        MOLLYPORT              WY                     US    1279   124747788@AIRLINE.KIWI.COM
KEXUZS   9/19/2020   OB    9/19/2020   WN;429;CVG;BWI;WN;1750;BWI;FLL         STEPHENBURGH           WI                     US   78789   124714260@AIRLINE.KIWI.COM
KEZFL2   9/19/2020   OB   10/13/2020   WN;6613;RSW;ATL                        LINSTAD                VA                     US   80810   124756555@AIRLINE.KIWI.COM
KJ5MEK   9/19/2020   OB    9/20/2020   WN;950;BWI;BOS                         SOUTH KEVIN            WA                     US   94578   124759195@AIRLINE.KIWI.COM
KT4M33   9/19/2020   OB    10/9/2020   WN;6768;MDW;CMH;WN;2538;CMH;BWI        SOUTH SCOTT            AZ                     US   19470   124767731@AIRLINE.KIWI.COM
KT5FZ4   9/19/2020   OB    9/19/2020   WN;2159;MCO;BHM                        NEW LINDA              AR                     US   90747   124742717@AIRLINE.KIWI.COM
KUUAB7   9/19/2020   OB    9/27/2020   WN;2185;SJU;FLL                        GULMII                 KARNALI                NP   89466   124769436@AIRLINE.KIWI.COM
KYFTEN   9/19/2020   OB    9/19/2020   WN;1452;BWI;DTW                        WILSONTON              IA                     US   98397   124772263@AIRLINE.KIWI.COM
KZ8PO3   9/19/2020   OB    9/24/2020   WN;2347;PHL;BNA                        BENJAMINMOUTH          AZ                     US   17681   124772725@AIRLINE.KIWI.COM
L3ZPLV   9/19/2020   OB    9/20/2020   WN;2487;PDX;SMF                        NEW LESLIEBERG         UT                     US   32746   124774738@AIRLINE.KIWI.COM
L4VGVF   9/19/2020   OB    12/5/2020   WN;4533;MDW;MSP                        NEW LORIVIEW           CT                     US   82610   123586089.1458286@AIRLINE.KIWI.COM
L4WRPN   9/19/2020   OB   10/14/2020   WN;103;OAK;MDW                         CHRISTINAVILLE         FL                     US   90885   124775959@AIRLINE.KIWI.COM
L4Y6I9   9/19/2020   OB   10/21/2020   WN;1595;MDW;OAK                        JONESBOROUGH           TN                     US    7131   124775959@AIRLINE.KIWI.COM
L5ADI4   9/19/2020   OB    9/26/2020   WN;1866;CLT;BWI;WN;174;BWI;MCO         THOMASTOWN             ME                     US   40222   124776344@AIRLINE.KIWI.COM
L5ADI4   9/19/2020   OB    9/26/2020   WN;1866;CLT;BWI;WN;174;BWI;MCO         THOMASTOWN             ME                     US   40222   124776344@AIRLINE.KIWI.COM
L5ADI4   9/19/2020   OB    9/26/2020   WN;1866;CLT;BWI;WN;174;BWI;MCO         THOMASTOWN             ME                     US   40222   124776344@AIRLINE.KIWI.COM
L5GH6Y   9/19/2020   OB    9/23/2020   WN;2023;FLL;MCO                        AL RFYTON              AL MADINAH             SA   30252   124737756@AIRLINE.KIWI.COM
L5PCPU   9/19/2020   OB    9/20/2020   WN;2621;DAL;FLL                        MONTEIRO               SAO PAULO              BR   47697   116570971.1458289@AIRLINE.KIWI.COM
L7PDJZ   9/19/2020   OB   10/10/2020   WN;1520;ATL;CMH                        WEST ZACHARY           NM                     US   16663   124778247@AIRLINE.KIWI.COM
L7PDJZ   9/19/2020   OB   10/10/2020   WN;1520;ATL;CMH                        WEST ZACHARY           NM                     US   16663   124778247@AIRLINE.KIWI.COM
L8J8X4   9/19/2020   OB    9/30/2020   WN;2497;DAL;OMA                        TALIN                  KOTAYK                 AM   18466   124778929@AIRLINE.KIWI.COM
L97D6F   9/19/2020   OB    10/5/2020   WN;2056;ATL;JAX                        MARSHALLTON            UT                     US   44487   124779754@AIRLINE.KIWI.COM
LBKGVY   9/19/2020   OB    9/22/2020   WN;2009;MSY;HOU                        SOUTH TIFFANY          KS                     US   34113   124781239@AIRLINE.KIWI.COM
LBKGVY   9/19/2020   RT    9/28/2020   WN;1376;HOU;MSY                        SOUTH TIFFANY          KS                     US   34113   124781239@AIRLINE.KIWI.COM
LC7ECM   9/19/2020   OB    9/19/2020   WN;944;BWI;FLL                         UNDERWOODMOUTH         MA                     US   59574   124781976@AIRLINE.KIWI.COM
LEMXMV   9/19/2020   OB    9/19/2020   WN;2157;BNA;STL;WN;2157;STL;HOU        MEYERTON               OH                     US    5333   124783857@AIRLINE.KIWI.COM
LF65B2   9/19/2020   OB    9/22/2020   WN;1610;CUN;BWI                        NEW BRITTANY           KY                     US   30408   124784770@AIRLINE.KIWI.COM
LJ6LHD   9/19/2020   OB    9/22/2020   WN;2231;MEM;ATL;WN;2612;ATL;MCO        NORTH PHYLLIS          LA                     US   29125   124778852@AIRLINE.KIWI.COM
LJDLBT   9/19/2020   OB    9/22/2020   WN;2582;SJC;ONT                        SEANSTAD               ME                     US    2911   124788356@AIRLINE.KIWI.COM
LLPUOM   9/19/2020   OB    10/9/2020   WN;6585;ATL;RSW                        WEST DEBORAHSTAD       ME                     US   79175   124790380@AIRLINE.KIWI.COM




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LM8PAC   9/19/2020   OB   10/11/2020   WN;6501;RSW;ATL                       JACOBBURY              LA                      US   98090   124790380@AIRLINE.KIWI.COM
LMKTW8   9/19/2020   OB    9/21/2020   WN;2086;LAS;SLC                       PATRICIACHESTER        BRCKO DISTRIKT          BA   71417   124791161@AIRLINE.KIWI.COM
LMY8YB   9/19/2020   OB    10/5/2020   WN;2068;ATL;RIC                       NORTH CARMEN           UT                      US   58728   124791810@AIRLINE.KIWI.COM
LNFFEC   9/19/2020   OB    9/20/2020   WN;1581;BOS;BNA;WN;2166;BNA;DCA       SHAWNFORT              MD                      US   59587   124792327@AIRLINE.KIWI.COM
LNHGD4   9/19/2020   OB    9/19/2020   WN;2304;SJC;SNA                       ERICLAND               TN                      US   29870   124792228@AIRLINE.KIWI.COM
LNUR4H   9/19/2020   OB   10/11/2020   WN;437;AUS;ATL                        MONTGOMERYTOWN         IL                      US   29680   124792613@AIRLINE.KIWI.COM
LNUR4H   9/19/2020   OB   10/11/2020   WN;437;AUS;ATL                        MONTGOMERYTOWN         IL                      US   29680   124792613@AIRLINE.KIWI.COM
LNX42X   9/19/2020   OB    9/19/2020   WN;2385;BNA;LGA                       JACKSONMOUTH           WV                      US   87141   124792547@AIRLINE.KIWI.COM
LO6A9G   9/19/2020   OB    9/26/2020   WN;1149;HOU;STL                       HALLTON                WY                      US   67804   124792261@AIRLINE.KIWI.COM
LOCFSW   9/19/2020   OB    10/4/2020   WN;1011;LAS;BUR                       PORT KENNETH           KY                      US   53017   124792866@AIRLINE.KIWI.COM
LPXX7U   9/19/2020   OB    9/21/2020   WN;2555;BUR;LAS                       JAMIEBERG              OH                      US   91159   124794263@AIRLINE.KIWI.COM
LR38UZ   9/19/2020   OB    9/22/2020   WN;1421;SJU;MCO                       TIFFANYBURGH           WI                      US   26972   124796122@AIRLINE.KIWI.COM
LU3CTU   9/19/2020   OB    9/23/2020   WN;782;DTW;MDW;WN;986;MDW;LAS         GOULDMOUTH             SC                      US   62442   124798245@AIRLINE.KIWI.COM
LUMGO2   9/19/2020   OB    9/20/2020   WN;1960;STL;MDW;WN;2266;MDW;MEM       HUGHESBOROUGH          HI                      US   12412   124798839@AIRLINE.KIWI.COM
LV4EIP   9/19/2020   OB    9/21/2020   WN;127;HRL;HOU;WN;2100;HOU;SAT        NORRISVIEW             ID                      US   33475   124798982@AIRLINE.KIWI.COM
LWUWSZ   9/19/2020   OB    9/30/2020   WN;596;OMA;DEN                        NEW JACQUELINEBURGH    ND                      US   16304   124800357@AIRLINE.KIWI.COM
LWUWSZ   9/19/2020   OB    9/30/2020   WN;596;OMA;DEN                        NEW JACQUELINEBURGH    ND                      US   16304   124800357@AIRLINE.KIWI.COM
LX5WPH   9/19/2020   OB    9/20/2020   WN;1986;DEN;OAK;WN;808;OAK;HNL        BUTLERSIDE             HI                      US   27794   115789388.1458560@AIRLINE.KIWI.COM
LXWQSA   9/19/2020   OB    9/20/2020   WN;1336;HNL;OGG                       EAST DEBBIEVIEW        IN                      US   72905   115789388.1458560@AIRLINE.KIWI.COM
M2VXC2   9/19/2020   OB    9/20/2020   WN;2038;HOU;ATL;WN;2180;ATL;RIC       DANAFORT               AZ                      US   59013   124803426@AIRLINE.KIWI.COM
M5OVRM   9/19/2020   OB   10/30/2020   WN;1667;SLC;LAS                       SAN RODRIGO LOS BAJO   PUEBLA                  MX   27215   124805252@AIRLINE.KIWI.COM
M6OWBW   9/19/2020   OB    11/2/2020   WN;2086;LAS;SLC                       SAN RENE LOS ALTOS     COLIMA                  MX   73310   124805780@AIRLINE.KIWI.COM
M72TOX   9/19/2020   OB    10/2/2020   WN;2570;MDW;HOU                       JASONMOUTH             TX                      US   93740   124805967@AIRLINE.KIWI.COM
M72TOX   9/19/2020   RT    10/5/2020   WN;3399;HOU;MDW                       JASONMOUTH             TX                      US   93740   124805967@AIRLINE.KIWI.COM
M82S4P   9/19/2020   OB    9/21/2020   WN;28;HOU;DAL;WN;2614;DAL;BWI         AVILABOROUGH           SD                      US   97465   124806693@AIRLINE.KIWI.COM
MCAF7N   9/19/2020   OB   10/28/2020   WN;184;STL;ICT                        CERVENA RECICE         -                       -    97735   124698475@AIRLINE.KIWI.COM
MDB8X9   9/19/2020   OB    10/4/2020   WN;2121;DEN;SEA                       NORTH TYLERMOUTH       CA                      US   83244   124808860@AIRLINE.KIWI.COM
MDPLMV   9/19/2020   OB    10/7/2020   WN;2067;MCI;LAX                       WEI XIAN               GANSU SHENG             CN   24438   124809234@AIRLINE.KIWI.COM
MJB3OB   9/20/2020   OB    10/6/2020   WN;2516;ATL;DEN                       WEST NICOLEBERG        NV                      US   33408   124810807@AIRLINE.KIWI.COM
MMYOCJ   9/20/2020   OB    9/25/2020   WN;2056;ATL;JAX;WN;2529;JAX;HOU       NEW MARGARET           ROTHERHAM               GB   48626   124812061@AIRLINE.KIWI.COM
MNDU7A   9/20/2020   OB    9/21/2020   WN;654;HNL;OAK;WN;2276;OAK;DEN        NORTH EDWARDLAND       NM                      US   54994   124812292@AIRLINE.KIWI.COM
MO3YZZ   9/20/2020   OB   11/29/2020   WN;3687;LIT;DAL;WN;1728;DAL;FLL       SOUTH RHONDAVILLE      KS                      US   27639   124812380@AIRLINE.KIWI.COM
MO3YZZ   9/20/2020   OB   11/29/2020   WN;3687;LIT;DAL;WN;1728;DAL;FLL       SOUTH RHONDAVILLE      KS                      US   27639   124812380@AIRLINE.KIWI.COM
MO7YAW   9/20/2020   OB    9/20/2020   WN;690;PHX;SMF                        KNOXBURGH              WA                      US   22480   124812424@AIRLINE.KIWI.COM
MODVQN   9/20/2020   OB    10/1/2020   WN;2127;DCA;BNA                       RAANIITAAL             JHARKHAND               IN   53933   124812468@AIRLINE.KIWI.COM
MOEYDB   9/20/2020   OB   10/10/2020   WN;1696;LAX;SFO                       NEW CHRISTOPHERBURGH   OH                      US   85419   124812457@AIRLINE.KIWI.COM
MOIVD7   9/20/2020   OB    9/20/2020   WN;2579;PHX;LAS                       GORI                   GURIA                   GE   11057   124812534@AIRLINE.KIWI.COM
MPLKTL   9/20/2020   OB    9/21/2020   WN;986;PHL;MDW;WN;2123;MDW;HOU        LAURALAND              VILJANDIMAA             EE   12900   124812754@AIRLINE.KIWI.COM
MQM6H8   9/20/2020   OB    11/3/2020   WN;2186;MCO;DAL;WN;2165;DAL;MEM       MATTHEWCHESTER         MN                      US   72299   124813095@AIRLINE.KIWI.COM
MQM6H8   9/20/2020   OB    11/3/2020   WN;2186;MCO;DAL;WN;2165;DAL;MEM       MATTHEWCHESTER         MN                      US   72299   124813095@AIRLINE.KIWI.COM
MQVG9C   9/20/2020   OB   10/27/2020   WN;2129;LGB;OAK                       SOUTH MARIASHIRE       VT                      US   12026   124813227@AIRLINE.KIWI.COM
MR2ZJF   9/20/2020   OB    10/4/2020   WN;2566;ONT;LAS                       PERRYSTAD              FL                      US   54774   124812996@AIRLINE.KIWI.COM
MR4ZPH   9/20/2020   OB   10/13/2020   WN;6640;SAN;LAS                       LAKE MARGARETBURGH     OR                      US   48566   124813326@AIRLINE.KIWI.COM
MRC3JM   9/20/2020   OB   10/20/2020   WN;2504;LAX;MDW                       MONIQUETON             VT                      US   39818   124813469@AIRLINE.KIWI.COM
MRHF76   9/20/2020   OB   10/20/2020   WN;2504;LAX;MDW                       JEFFERYFURT            FL                      US   45624   124813469@AIRLINE.KIWI.COM
MRHF76   9/20/2020   OB   10/20/2020   WN;2504;LAX;MDW                       JEFFERYFURT            FL                      US   45624   124813469@AIRLINE.KIWI.COM
MSEERI   9/20/2020   OB    9/25/2020   WN;2543;DEN;PHX                       BRETTMOUTH             AL                      US   50050   124813634@AIRLINE.KIWI.COM
MSEERI   9/20/2020   OB    9/25/2020   WN;2543;DEN;PHX                       BRETTMOUTH             AL                      US   50050   124813634@AIRLINE.KIWI.COM
MSEKTG   9/20/2020   OB    10/1/2020   WN;2171;MCO;ATL                       EAST JOHN              WA                      US   54619   124813953@AIRLINE.KIWI.COM
MSEL7K   9/20/2020   OB    9/23/2020   WN;1259;HRL;HOU;WN;2240;HOU;MCO       CODYHAVEN              MN                      US   94331   124813777@AIRLINE.KIWI.COM
MSG7QW   9/20/2020   OB    9/21/2020   WN;328;CUN;HOU;WN;1598;HOU;MSY        WEST REBEKAH           NE                      US   77075   124813810@AIRLINE.KIWI.COM
MTEURM   9/20/2020   OB    10/8/2020   WN;3335;PHL;BNA                       LAKE JESSICA           MT                      US    1473   124814151@AIRLINE.KIWI.COM
MTJJ5P   9/20/2020   OB   10/13/2020   WN;2092;BNA;PHL                       LAKE LISABURGH         WV                      US   31435   124814129@AIRLINE.KIWI.COM
MTJJ5P   9/20/2020   OB   10/13/2020   WN;2092;BNA;PHL                       LAKE LISABURGH         WV                      US   31435   124814129@AIRLINE.KIWI.COM
MTTWEM   9/20/2020   OB    10/8/2020   WN;3335;PHL;BNA                       SOUTH CURTISMOUTH      IN                      US   18604   124814151@AIRLINE.KIWI.COM
MVFX4A   9/20/2020   OB    9/23/2020   WN;2004;BWI;ATL                       EAST BETHANY           SD                      US   88630   124814855@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   OB   12/30/2020   WN;1216;AUS;STL                       MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   OB   12/30/2020   WN;1216;AUS;STL                       MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   OB   12/30/2020   WN;1216;AUS;STL                       MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   OB   12/30/2020   WN;1216;AUS;STL                       MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   RT     1/4/2021   WN;51;STL;DAL;WN;344;DAL;AUS          MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   RT     1/4/2021   WN;51;STL;DAL;WN;344;DAL;AUS          MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   RT     1/4/2021   WN;51;STL;DAL;WN;344;DAL;AUS          MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MXPHLU   9/20/2020   RT     1/4/2021   WN;51;STL;DAL;WN;344;DAL;AUS          MISTO VALENTIN         RESPUBLIKA KRYM         UA   93272   124815273@AIRLINE.KIWI.COM
MYCX6D   9/20/2020   OB   10/20/2020   WN;1593;BWI;HOU;WN;2477;HOU;ELP       WONGMOUTH              TX                      US   53328   124815405@AIRLINE.KIWI.COM
MZ9BYU   9/20/2020   OB   12/22/2020   WN;1002;DEN;LAX                       SAN MARIA LUISA DE L   CHIAPAS                 MX   21255   124815944@AIRLINE.KIWI.COM
MZ9BYU   9/20/2020   OB   12/22/2020   WN;1002;DEN;LAX                       SAN MARIA LUISA DE L   CHIAPAS                 MX   21255   124815944@AIRLINE.KIWI.COM
N2YOVR   9/20/2020   OB    10/9/2020   WN;177;ATL;MSY                        GABRIELBURY            ID                      US    4786   124816318@AIRLINE.KIWI.COM
NAR4OC   9/20/2020   OB    9/28/2020   WN;1837;HOU;DEN                       BRITTANYVILLE          NE                      US   83546   124818804@AIRLINE.KIWI.COM
NBG2VK   9/20/2020   OB    9/28/2020   WN;1861;HOU;LAX;WN;2483;LAX;SFO       CHARLESVILLE           NV                      US   27740   124818881@AIRLINE.KIWI.COM
NCA4W3   9/20/2020   OB    9/21/2020   WN;2138;MCI;ATL                       DUARTE                 ESPIRITO SANTO          BR    2750   124819123@AIRLINE.KIWI.COM
NCA4W3   9/20/2020   OB    9/21/2020   WN;2138;MCI;ATL                       DUARTE                 ESPIRITO SANTO          BR    2750   124819123@AIRLINE.KIWI.COM
NDICFD   9/20/2020   OB    9/30/2020   WN;2284;HOU;SAN                       LAKE KELSEYBURGH       KS                      US   54644   124819453@AIRLINE.KIWI.COM
NDICFD   9/20/2020   RT    10/9/2020   WN;2363;SAN;HOU                       LAKE KELSEYBURGH       KS                      US   54644   124819453@AIRLINE.KIWI.COM
NF6YLA   9/20/2020   OB    9/23/2020   WN;1644;BUR;DEN                       NEW ARIANA             KY                      US   25720   124820212@AIRLINE.KIWI.COM
NLX2HR   9/20/2020   OB    9/20/2020   WN;2171;ATL;PHL                       HARPERMOUTH            VA                      US   54249   124823061@AIRLINE.KIWI.COM
NNB6W2   9/20/2020   OB    12/1/2020   WN;158;HOU;LAS                        ST NOVOMOSKOVSK        KHAKASIYA RESPUBLIKA    RU    9066   124823655@AIRLINE.KIWI.COM
NNB6W2   9/20/2020   OB    12/1/2020   WN;158;HOU;LAS                        ST NOVOMOSKOVSK        KHAKASIYA RESPUBLIKA    RU    9066   124823655@AIRLINE.KIWI.COM
NNB8QM   9/20/2020   OB    12/9/2020   WN;1973;SAN;HOU                       S CHERUSTI             PENZENSKAYA OBLAST      RU   60995   124823655@AIRLINE.KIWI.COM
NNB8QM   9/20/2020   OB    12/9/2020   WN;1973;SAN;HOU                       S CHERUSTI             PENZENSKAYA OBLAST      RU   60995   124823655@AIRLINE.KIWI.COM
NNF5IV   9/20/2020   OB    12/9/2020   WN;2566;LAS;HOU                       D NERCHINSK            CHELYABINSKAYA OBLAST   RU   45991   124823655@AIRLINE.KIWI.COM
NNF5IV   9/20/2020   OB    12/9/2020   WN;2566;LAS;HOU                       D NERCHINSK            CHELYABINSKAYA OBLAST   RU   45991   124823655@AIRLINE.KIWI.COM
NNFO88   9/20/2020   OB    12/1/2020   WN;1282;OAK;HNL                       P TAISHET              MAGADANSKAYA OBLAST     RU    9126   124823655@AIRLINE.KIWI.COM
NNFO88   9/20/2020   OB    12/1/2020   WN;1282;OAK;HNL                       P TAISHET              MAGADANSKAYA OBLAST     RU    9126   124823655@AIRLINE.KIWI.COM
NON8UB   9/20/2020   OB    9/20/2020   WN;2090;LAX;LAS                       DERRICKFURT            AK                      US   91408   124824777@AIRLINE.KIWI.COM
NUQTHX   9/20/2020   OB    9/20/2020   WN;1669;LAS;OAK                       SOUTH ERICA            HI                      US   43509   124828572@AIRLINE.KIWI.COM
NUUAWP   9/20/2020   OB    9/20/2020   WN;2600;LAX;LAS                       JEFFREYHAVEN           OR                      US   87141   124828693@AIRLINE.KIWI.COM
NX9I3L   9/20/2020   OB    9/21/2020   WN;705;OAK;LAS                        LAS VEGAS              NV                      US   89117   121201322@AIRLINE.KIWI.COM
NX9I3L   9/20/2020   OB    9/21/2020   WN;705;OAK;LAS                        PORT ALISONMOUTH       MI                      US   67385   121201322@AIRLINE.KIWI.COM
OB6W6I   9/20/2020   OB    9/22/2020   WN;1610;CUN;BWI                       BRADLEYPORT            AK                      US   60425   124839385@AIRLINE.KIWI.COM
OK9WTJ   9/20/2020   OB   10/11/2020   WN;272;MCO;MBJ                        KIRTIPUR               MAHAKALI                NP   19051   124846557@AIRLINE.KIWI.COM
OKITAJ   9/20/2020   OB    9/20/2020   WN;806;SMF;LAX                        PAULAMOUTH             HI                      US   10546   124846095@AIRLINE.KIWI.COM
ONC8UT   9/20/2020   OB    9/21/2020   WN;2607;FLL;HOU;WN;2428;HOU;SAT       LAKE LAURAVIEW         WI                      US   50167   124848856@AIRLINE.KIWI.COM
ONITKR   9/20/2020   OB   11/30/2020   WN;3819;CLE;BWI;WN;26;BWI;PHX         NORTH JENNIFER         RI                      US   34829   124848636@AIRLINE.KIWI.COM
OO2P7E   9/20/2020   OB    9/28/2020   WN;1064;MSY;ATL                       JESSICABURGH           ID                      US   24072   124849725@AIRLINE.KIWI.COM
OONTCM   9/20/2020   OB    9/30/2020   WN;1286;SJU;TPA                       SOUTH PAMELA           GHAJNSIELEM             MT   44797   124850055@AIRLINE.KIWI.COM
OQQD4S   9/20/2020   OB    10/9/2020   WN;909;LGA;ATL                        SMITHFURT              LA                      US   24808   124852079@AIRLINE.KIWI.COM
OSX7AR   9/20/2020   OB    9/21/2020   WN;1192;BDL;BWI                       PORT HANNAHMOUTH       UT                      US   45148   124853894@AIRLINE.KIWI.COM
OT8RMT   9/20/2020   OB    9/21/2020   WN;3200;LAS;BWI                       WEST KEVINBOROUGH      WI                      US   15574   124854389@AIRLINE.KIWI.COM
OVSQVL   9/20/2020   OB    9/23/2020   WN;2312;LAS;OAK                       SPARKSVIEW             OK                      US   15027   124856237@AIRLINE.KIWI.COM
OVTK4B   9/20/2020   OB    9/24/2020   WN;2070;ATL;BNA;WN;2067;BNA;MCI;WN;206LAKE BRANDI            OR                      US   66011   124855830@AIRLINE.KIWI.COM
OVYPRL   9/20/2020   OB    9/21/2020   WN;776;ATL;CMH                        NICOLEPORT             ND                      US    8914   124856050@AIRLINE.KIWI.COM
OYNX8T   9/20/2020   OB    9/26/2020   WN;1501;LGA;MDW                       PALKANE                KESKIPOHJANMAA          FI   31241   124858173@AIRLINE.KIWI.COM
OYNX8T   9/20/2020   RT    9/27/2020   WN;2193;MDW;LGA                       PALKANE                KESKIPOHJANMAA          FI   31241   124858173@AIRLINE.KIWI.COM
OZ23AC   9/20/2020   OB   11/10/2020   WN;4826;HOU;LAX                       BRIANMOUTH             VA                      US    7771   124858591@AIRLINE.KIWI.COM
OZ23AC   9/20/2020   OB   11/10/2020   WN;4826;HOU;LAX                       BRIANMOUTH             VA                      US    7771   124858591@AIRLINE.KIWI.COM
OZ4VKT   9/20/2020   OB    11/7/2020   WN;4574;LAX;OAK;WN;4574;OAK;HOU       NORRISTON              OH                      US   41041   124858591@AIRLINE.KIWI.COM




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OZ4VKT   9/20/2020   OB    11/7/2020   WN;4574;LAX;OAK;WN;4574;OAK;HOU        NORRISTON              OH                     US   41041   124858591@AIRLINE.KIWI.COM
P2E8SV   9/20/2020   OB    9/22/2020   WN;306;CUN;HOU;WN;2075;HOU;STL         NUEVA SAN MARINO       PUEBLA                 MX   72431   124859526@AIRLINE.KIWI.COM
P57ZWF   9/20/2020   OB    9/20/2020   WN;1466;LAS;DEN                        BAKERTOWN              SC                     US   35350   124858624@AIRLINE.KIWI.COM
P685VO   9/20/2020   OB   11/18/2020   WN;3264;LAX;DEN                        EAST JARED             CA                     US   53914   124862991@AIRLINE.KIWI.COM
P7YBUZ   9/20/2020   OB    10/5/2020   WN;1547;SMF;SNA                        NEW LAUREN             CA                     US   80430   124866280@AIRLINE.KIWI.COM
P7YBUZ   9/20/2020   OB    10/5/2020   WN;1547;SMF;SNA                        NEW LAUREN             CA                     US   80430   124866280@AIRLINE.KIWI.COM
P9YJSI   9/20/2020   OB    9/28/2020   WN;1884;LAS;LGB                        NEW ANNETTEHAVEN       WA                     US   51515   124868700@AIRLINE.KIWI.COM
PAKAX7   9/20/2020   OB   11/21/2020   WN;2259;OAK;LAX;WN;2136;LAX;LAS;WN;2244HOWARDHAVEN            RI                     US   84735   124868469@AIRLINE.KIWI.COM
PAQ7Q5   9/20/2020   OB    10/5/2020   WN;1456;LGB;LAS                        SOUTH ISAAC            MT                     US   22682   124869349@AIRLINE.KIWI.COM
PBS2YR   9/20/2020   OB   11/17/2020   WN;4346;DEN;LAX                        SAN LUISA LOS ALTOS    DURANGO                MX    7733   124870559@AIRLINE.KIWI.COM
PBS2YR   9/20/2020   OB   11/17/2020   WN;4346;DEN;LAX                        SAN LUISA LOS ALTOS    DURANGO                MX    7733   124870559@AIRLINE.KIWI.COM
PBS2YR   9/20/2020   OB   11/17/2020   WN;4346;DEN;LAX                        SAN LUISA LOS ALTOS    DURANGO                MX    7733   124870559@AIRLINE.KIWI.COM
PBS2YR   9/20/2020   OB   11/17/2020   WN;4346;DEN;LAX                        SAN LUISA LOS ALTOS    DURANGO                MX    7733   124870559@AIRLINE.KIWI.COM
PBWFD3   9/20/2020   OB    10/7/2020   WN;1894;CHS;BNA                        GINAVILLE              CLUJ                   RO   10358   124869613@AIRLINE.KIWI.COM
PBXZ48   9/20/2020   OB   12/22/2020   WN;489;LAS;DEN;WN;291;DEN;OKC          LAKE RACHEL            ID                     US   93841   124870119@AIRLINE.KIWI.COM
PBXZ48   9/20/2020   OB   12/22/2020   WN;489;LAS;DEN;WN;291;DEN;OKC          LAKE RACHEL            ID                     US   93841   124870119@AIRLINE.KIWI.COM
PC9PI4   9/20/2020   OB    9/30/2020   WN;2465;SLC;SAN                        WILSONBERG             FL                     US   36487   124870999@AIRLINE.KIWI.COM
PDVLGX   9/20/2020   OB   10/19/2020   WN;2540;ATL;RDU                        GREENEBURY             GA                     US   41767   124871912@AIRLINE.KIWI.COM
PEFLUO   9/20/2020   OB    10/5/2020   WN;2182;JAX;ATL                        NORTH WARREN           OK                     US   18388   124872506@AIRLINE.KIWI.COM
PEU6AN   9/20/2020   OB   11/28/2020   WN;2100;MCO;FLL;WN;2100;FLL;DCA        SHIRLEYSIDE            MA                     US   70483   124872781@AIRLINE.KIWI.COM
PEU6AN   9/20/2020   OB   11/28/2020   WN;2100;MCO;FLL;WN;2100;FLL;DCA        SHIRLEYSIDE            MA                     US   70483   124872781@AIRLINE.KIWI.COM
PEU6AN   9/20/2020   OB   11/28/2020   WN;2100;MCO;FLL;WN;2100;FLL;DCA        SHIRLEYSIDE            MA                     US   70483   124872781@AIRLINE.KIWI.COM
PFKA8D   9/20/2020   OB   11/16/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT         EAST RANDYSIDE         FL                     US   95506   124873595@AIRLINE.KIWI.COM
PFKA8D   9/20/2020   OB   11/16/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT         EAST RANDYSIDE         FL                     US   95506   124873595@AIRLINE.KIWI.COM
PGAAJQ   9/20/2020   OB   11/16/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT         WEST SARAH             AK                     US   57525   124874926@AIRLINE.KIWI.COM
PGAAJQ   9/20/2020   OB   11/16/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT         WEST SARAH             AK                     US   57525   124874926@AIRLINE.KIWI.COM
PHAX9N   9/20/2020   OB    9/28/2020   WN;47;HOU;DEN                          ALEXANDERSHIRE         WA                     US   65609   124875091@AIRLINE.KIWI.COM
PIHAIC   9/20/2020   OB    1/10/2021   WN;1437;DEN;MCI                        DAVIDHAVEN             WV                     US   49537   124876268@AIRLINE.KIWI.COM
PL8OPH   9/20/2020   OB    10/1/2020   WN;797;LAX;OAK                         JOHNSONBERG            CO                     US   35467   124878512@AIRLINE.KIWI.COM
PL8OPH   9/20/2020   RT    10/4/2020   WN;2287;OAK;LAX                        JOHNSONBERG            CO                     US   35467   124878512@AIRLINE.KIWI.COM
PLO7E6   9/20/2020   OB    12/4/2020   WN;727;HNL;ITO                         P KHOLMOGORY           VLADIMIRSKAYA OBLAST   RU   54147   124878413@AIRLINE.KIWI.COM
PLO7E6   9/20/2020   OB    12/4/2020   WN;727;HNL;ITO                         P KHOLMOGORY           VLADIMIRSKAYA OBLAST   RU   54147   124878413@AIRLINE.KIWI.COM
PLO7E6   9/20/2020   RT    12/6/2020   WN;3561;ITO;HNL                        P KHOLMOGORY           VLADIMIRSKAYA OBLAST   RU   54147   124878413@AIRLINE.KIWI.COM
PLO7E6   9/20/2020   RT    12/6/2020   WN;3561;ITO;HNL                        P KHOLMOGORY           VLADIMIRSKAYA OBLAST   RU   54147   124878413@AIRLINE.KIWI.COM
PNMTGB   9/20/2020   OB   10/10/2020   WN;2612;PHL;ATL                        LAKE WENDY             RI                     US   52287   124880272@AIRLINE.KIWI.COM
PNMTGB   9/20/2020   OB   10/10/2020   WN;2612;PHL;ATL                        LAKE WENDY             RI                     US   52287   124880272@AIRLINE.KIWI.COM
PNMTGB   9/20/2020   OB   10/10/2020   WN;2612;PHL;ATL                        LAKE WENDY             RI                     US   52287   124880272@AIRLINE.KIWI.COM
PNW9FS   9/20/2020   OB   10/13/2020   WN;6586;ATL;PHL                        NEW LISA               GA                     US   72389   124880492@AIRLINE.KIWI.COM
PNW9FS   9/20/2020   OB   10/13/2020   WN;6586;ATL;PHL                        NEW LISA               GA                     US   72389   124880492@AIRLINE.KIWI.COM
PNW9FS   9/20/2020   OB   10/13/2020   WN;6586;ATL;PHL                        NEW LISA               GA                     US   72389   124880492@AIRLINE.KIWI.COM
POZ848   9/20/2020   OB   10/23/2020   WN;1728;MDW;ABQ                        EAST THOMASBERG        AL                     US   83837   124880393@AIRLINE.KIWI.COM
PP2MNS   9/20/2020   OB     2/8/2021   WN;5035;SJU;FLL                        PORT FRANCESCA         NORTHERN               GH   83808   124880943@AIRLINE.KIWI.COM
PP2MNS   9/20/2020   OB     2/8/2021   WN;5035;SJU;FLL                        PORT FRANCESCA         NORTHERN               GH   83808   124880943@AIRLINE.KIWI.COM
PP2MNS   9/20/2020   OB     2/8/2021   WN;5035;SJU;FLL                        PORT FRANCESCA         NORTHERN               GH   83808   124880943@AIRLINE.KIWI.COM
PP2MNS   9/20/2020   OB     2/8/2021   WN;5035;SJU;FLL                        PORT FRANCESCA         NORTHERN               GH   83808   124880943@AIRLINE.KIWI.COM
PP2MNS   9/20/2020   OB     2/8/2021   WN;5035;SJU;FLL                        PORT FRANCESCA         NORTHERN               GH   83808   124880943@AIRLINE.KIWI.COM
PPO3A8   9/20/2020   OB   12/13/2020   WN;2516;BWI;HOU                        HAYNESBERG             PA                     US   30476   124881471@AIRLINE.KIWI.COM
PQ2KCI   9/20/2020   OB   10/15/2020   WN;772;DEN;MDW                         FLORESBOROUGH          RI                     US   23917   124880393@AIRLINE.KIWI.COM
PRD3AD   9/20/2020   OB    9/23/2020   WN;2002;FLL;BWI;WN;2597;BWI;BDL        NEW BRANDI             IL                     US   71059   124882131@AIRLINE.KIWI.COM
PRD3AD   9/20/2020   RT    9/27/2020   WN;1192;BDL;BWI;WN;1743;BWI;FLL        NEW BRANDI             IL                     US   71059   124882131@AIRLINE.KIWI.COM
PVFRWU   9/20/2020   OB    9/29/2020   WN;2310;OAK;LAX                        SAN ARCELIA LOS ALTO   CA                     US   91301   124883792@AIRLINE.KIWI.COM
PVJDND   9/20/2020   OB    11/2/2020   WN;2116;LAX;SMF                        EAST STEPHANIE         NV                     US   60014   124434189.1459478@AIRLINE.KIWI.COM
PWN7AZ   9/20/2020   OB   12/17/2020   WN;242;BWI;BOS                         GINTALASTON            TAURAGES APSKRITIS     LT   64878   124737492@AIRLINE.KIWI.COM
PZ73DU   9/21/2020   OB    10/7/2020   WN;2406;MCO;LAS;WN;1011;LAS;BUR        WOODVILLE              NV                     US   21980   124885794@AIRLINE.KIWI.COM
Q36JDA   9/21/2020   OB    10/4/2020   WN;2615;PHX;SEA                        EAST MADISON           NC                     US   32307   124886410@AIRLINE.KIWI.COM
Q3SU99   9/21/2020   OB   10/17/2020   WN;6588;PHL;ATL                        OSBORNEFORT            SC                     US   63748   124886663@AIRLINE.KIWI.COM
Q3SU99   9/21/2020   RT   10/19/2020   WN;6586;ATL;PHL                        OSBORNEFORT            SC                     US   63748   124886663@AIRLINE.KIWI.COM
Q5BLPH   9/21/2020   OB   11/30/2020   WN;3618;MDW;DTW                        ROBERTSVIEW            KS                     US   78428   124887004@AIRLINE.KIWI.COM
Q5BLPH   9/21/2020   OB   11/30/2020   WN;3618;MDW;DTW                        ROBERTSVIEW            KS                     US   78428   124887004@AIRLINE.KIWI.COM
Q5ECN5   9/21/2020   OB   10/16/2020   WN;507;DEN;MDW;WN;5626;MDW;GRR         WEST ANGELICA          WI                     US   37528   124887257@AIRLINE.KIWI.COM
Q5ECN5   9/21/2020   OB   10/16/2020   WN;507;DEN;MDW;WN;5626;MDW;GRR         WEST ANGELICA          WI                     US   37528   124887257@AIRLINE.KIWI.COM
Q5ECN5   9/21/2020   RT   10/18/2020   WN;2064;GRR;DEN                        WEST ANGELICA          WI                     US   37528   124887257@AIRLINE.KIWI.COM
Q5ECN5   9/21/2020   RT   10/18/2020   WN;2064;GRR;DEN                        WEST ANGELICA          WI                     US   37528   124887257@AIRLINE.KIWI.COM
Q8ZVXP   9/21/2020   OB    9/21/2020   WN;1786;AUS;MSY                        WEST COREY             VT                     US    8085   124888302@AIRLINE.KIWI.COM
Q9QYJG   9/21/2020   OB    10/5/2020   WN;2363;SAN;HOU                        NEW AARON              MN                     US    1103   124888577@AIRLINE.KIWI.COM
Q9X7LS   9/21/2020   OB    9/30/2020   WN;2372;LAX;PHX                        HEATHSHIRE             AL                     US   78058   124888214@AIRLINE.KIWI.COM
QBZ4QC   9/21/2020   OB    10/7/2020   WN;145;OKC;PHX                         LAKE DAWNMOUTH         AR                     US   77497   124889347@AIRLINE.KIWI.COM
QC645L   9/21/2020   OB    9/21/2020   WN;563;CHS;BNA;WN;1555;BNA;MCO         PORT DANIELSIDE        OH                     US   34579   124889380@AIRLINE.KIWI.COM
QFACFE   9/21/2020   OB   10/10/2020   WN;2585;ABQ;LAS;WN;135;LAS;LAX         SAN HORACIO LOS ALTO   TABASCO                MX   50203   124890282@AIRLINE.KIWI.COM
QHFO6F   9/21/2020   OB    9/23/2020   WN;2287;OAK;LAX                        VIEJA MONACO           AL                     US   31619   124889908@AIRLINE.KIWI.COM
QHXMC6   9/21/2020   OB    10/9/2020   WN;1174;RDU;STL                        PORT KATHLEENSHIRE     VT                     US   70108   124891129@AIRLINE.KIWI.COM
QHXMC6   9/21/2020   RT   10/11/2020   WN;1176;STL;RDU                        PORT KATHLEENSHIRE     VT                     US   70108   124891129@AIRLINE.KIWI.COM
QJ4X63   9/21/2020   OB    9/24/2020   WN;1142;ATL;HOU                        WEST ALECCHESTER       SD                     US   16811   124891349@AIRLINE.KIWI.COM
QMBRQV   9/21/2020   OB    9/21/2020   WN;3200;LAS;BWI;WN;944;BWI;FLL         D CHERSKII             TYUMENSKAYA OBLAST     RU   40273   124892328@AIRLINE.KIWI.COM
QMEFDR   9/21/2020   OB   10/18/2020   WN;6745;MDW;PIT                        WILLIAMCHESTER         WA                     US    7524   124892207@AIRLINE.KIWI.COM
QMLKBA   9/21/2020   OB   10/14/2020   WN;1595;PIT;MDW                        ANNETTEBERG            IA                     US   15589   124892207@AIRLINE.KIWI.COM
QRO9U5   9/21/2020   OB   12/26/2020   WN;1841;BHM;TPA;WN;1841;TPA;STL;WN;229 BESTTON                NE                     US    4159   124893725@AIRLINE.KIWI.COM
QSFKLW   9/21/2020   OB    9/28/2020   WN;47;HOU;DEN                          SOUTH JONATHANFORT     KS                     US   77176   124893967@AIRLINE.KIWI.COM
QU6ZGS   9/21/2020   OB    11/5/2020   WN;1403;SAT;DEN                        COOKFORT               CA                     US   34345   124893868@AIRLINE.KIWI.COM
QU79RT   9/21/2020   OB    9/25/2020   WN;1644;MSP;MDW                        HALEYVIEW              NC                     US   25209   124895100@AIRLINE.KIWI.COM
QU79RT   9/21/2020   RT    9/27/2020   WN;1984;MDW;MSP                        HALEYVIEW              NC                     US   25209   124895100@AIRLINE.KIWI.COM
QVZI9F   9/21/2020   OB    9/21/2020   WN;1806;CHS;BWI;WN;1452;BWI;DTW        LAKE WENDYBURGH        MI                     US   50398   124895848@AIRLINE.KIWI.COM
QWF58S   9/21/2020   OB    9/21/2020   WN;2300;LAX;DEN;WN;1012;DEN;ATL        BLACKTON               NE                     US   96440   124895628@AIRLINE.KIWI.COM
QWZTZG   9/21/2020   OB    9/21/2020   WN;2313;SNA;SMF                        NORTH MARK             ME                     US   86810   124896266@AIRLINE.KIWI.COM
QWZTZG   9/21/2020   OB    9/21/2020   WN;2313;SNA;SMF                        NORTH MARK             ME                     US   86810   124896266@AIRLINE.KIWI.COM
QWZTZG   9/21/2020   OB    9/21/2020   WN;2313;SNA;SMF                        NORTH MARK             ME                     US   86810   124896266@AIRLINE.KIWI.COM
QWZTZG   9/21/2020   OB    9/21/2020   WN;2313;SNA;SMF                        NORTH MARK             ME                     US   86810   124896266@AIRLINE.KIWI.COM
QYDXFN   9/21/2020   OB    9/25/2020   WN;2451;SAN;SJC                        KARIBERG               CA                     US   11920   124896420@AIRLINE.KIWI.COM
R2EZ9O   9/21/2020   OB    9/21/2020   WN;1908;LGA;STL;WN;4322;STL;SMF        EAST MARY              MA                     US   17272   124897443@AIRLINE.KIWI.COM
R5IAPH   9/21/2020   OB    9/21/2020   WN;2090;DAL;MDW                        NEW ANTHONYFORT        TX                     US   43048   124900666@AIRLINE.KIWI.COM
R5QV7G   9/21/2020   OB   11/20/2020   WN;892;PHL;BNA;WN;834;BNA;ATL          ANGELATON              WA                     US   73082   124900259@AIRLINE.KIWI.COM
R5QV7G   9/21/2020   OB   11/20/2020   WN;892;PHL;BNA;WN;834;BNA;ATL          ANGELATON              WA                     US   73082   124900259@AIRLINE.KIWI.COM
R5QV7G   9/21/2020   OB   11/20/2020   WN;892;PHL;BNA;WN;834;BNA;ATL          ANGELATON              WA                     US   73082   124900259@AIRLINE.KIWI.COM
RAEBEM   9/21/2020   OB    9/21/2020   WN;2641;ATL;BWI;WN;2260;BWI;CLE        RICKYMOUTH             ID                     US   89365   124903988@AIRLINE.KIWI.COM
RFRP6V   9/21/2020   OB    9/27/2020   WN;1995;ATL;LGA                        LAKE MITCHELL          LA                     US    5696   124909576@AIRLINE.KIWI.COM
RFRP6V   9/21/2020   OB    9/27/2020   WN;1995;ATL;LGA                        LAKE MITCHELL          LA                     US    5696   124909576@AIRLINE.KIWI.COM
RVNCYR   9/21/2020   OB    9/30/2020   WN;1542;LAS;BWI                        KNIGHTLAND             MI                     US   99528   124928210@AIRLINE.KIWI.COM
RVSGY5   9/21/2020   OB   10/20/2020   WN;6588;PHL;ATL                        EAST JOHNNY            AL                     US   41970   124927572@AIRLINE.KIWI.COM
RWBTFA   9/21/2020   OB    9/21/2020   WN;120;MSP;DEN                         MICHAELTON             OK                     US   24093   124929453@AIRLINE.KIWI.COM
RWCIVN   9/21/2020   OB    9/21/2020   WN;1933;ATL;LGA                        NEW ELIZABETHBURGH     VA                     US   32378   124928463@AIRLINE.KIWI.COM
RWCIVN   9/21/2020   OB    9/21/2020   WN;1933;ATL;LGA                        NEW ELIZABETHBURGH     VA                     US   32378   124928463@AIRLINE.KIWI.COM
RZC5TU   9/21/2020   OB    10/4/2020   WN;2171;MCO;ATL                        EAST BRITTANY          WI                     US   95138   124932071@AIRLINE.KIWI.COM
S2V793   9/21/2020   OB    9/21/2020   WN;1830;ROC;BWI;WN;2004;BWI;ATL        ADAMSVILLE             TX                     US    5807   124934150@AIRLINE.KIWI.COM
S66V6U   9/21/2020   OB    9/22/2020   WN;2286;LAX;OAK                        WEST PAANANNTHBURGH    NAKHON RATCHASIMA      TH   26090   124937527@AIRLINE.KIWI.COM
SAY48X   9/21/2020   OB    9/22/2020   WN;115;TPA;BWI;WN;1452;BWI;DTW         PORT DANIEL            OH                     US   83396   124943434@AIRLINE.KIWI.COM
SBOJSN   9/21/2020   OB    9/21/2020   WN;782;DTW;MDW;WN;2196;MDW;STL         BENJAMINMOUTH          IN                     US   21589   124944358@AIRLINE.KIWI.COM
SDOPOH   9/21/2020   OB    9/27/2020   WN;1129;LAS;SAN;WN;1129;SAN;MDW        WEST RANDY             UT                     US    7990   124946723@AIRLINE.KIWI.COM




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SEFKA3   9/21/2020   OB    9/21/2020   WN;2080;LAS;ELP;WN;2080;ELP;DAL;WN;53;DABARRETTLAND           LA                    US   75384   124947339@AIRLINE.KIWI.COM
SEFKA3   9/21/2020   OB    9/22/2020   WN;2589;LAS;PHX;WN;2589;PHX;HOU         BARRETTLAND           LA                    US   75384   124947339@AIRLINE.KIWI.COM
SEFKA3   9/21/2020   OB    9/21/2020   WN;2080;LAS;ELP;WN;2080;ELP;DAL;WN;53;DABARRETTLAND           LA                    US   75384   124947339@AIRLINE.KIWI.COM
SEFKA3   9/21/2020   OB    9/22/2020   WN;2589;LAS;PHX;WN;2589;PHX;HOU         BARRETTLAND           LA                    US   75384   124947339@AIRLINE.KIWI.COM
SEGDOM   9/21/2020   OB   10/18/2020   WN;1695;SJC;LAX                         AARONFORT             AK                    US   79637   124947394@AIRLINE.KIWI.COM
SHB7ER   9/21/2020   OB    10/4/2020   WN;2194;BNA;DCA                         PORT CHRISTINE        IA                    US   91300   124523740.1460256@AIRLINE.KIWI.COM
SJK6JT   9/21/2020   OB    9/24/2020   WN;1551;FLL;BWI;WN;1551;BWI;SAN         TAMMYVIEW             MN                    US   60272   124954082@AIRLINE.KIWI.COM
SLAHIQ   9/21/2020   OB   10/15/2020   WN;762;PHX;BUR                          LAKE EMILY            AK                    US   19809   124956084@AIRLINE.KIWI.COM
SMGKHA   9/21/2020   OB    9/28/2020   WN;1986;DEN;OAK                         JESSICALAND           VA                    US   93677   124956095@AIRLINE.KIWI.COM
SN4QY3   9/21/2020   OB   12/24/2020   WN;4941;PDX;LAS                         PORT MICHAELCHESTER   ND                    US   46946   124959252@AIRLINE.KIWI.COM
SN4QY3   9/21/2020   RT   12/28/2020   WN;1222;LAS;PDX                         PORT MICHAELCHESTER   ND                    US   46946   124959252@AIRLINE.KIWI.COM
SON9WP   9/21/2020   OB    10/7/2020   WN;1242;PHX;ABQ                         LOPEZBOROUGH          OK                    US   88442   124961100@AIRLINE.KIWI.COM
SOWL4S   9/21/2020   OB     2/3/2021   WN;968;DEN;HDN                          LAKE DANIELBOROUGH    MN                    US   48474   124961254@AIRLINE.KIWI.COM
SOWU5A   9/21/2020   OB     2/3/2021   WN;3264;LAX;DEN                         RYANTON               UT                    US   23147   124961254@AIRLINE.KIWI.COM
SQ4PCG   9/21/2020   OB     2/9/2021   WN;3047;HDN;DEN                         STEPHANIESHIRE        PA                    US   81110   124962387@AIRLINE.KIWI.COM
SQE4L8   9/21/2020   OB    9/22/2020   WN;1659;PHX;DEN                         EAST JACQUELINEPORT   CA                    US   21281   124960605.1460363@AIRLINE.KIWI.COM
SQSOFJ   9/21/2020   OB    9/23/2020   WN;1667;MDW;MCI                         WEST BRIAN            AL                    US   67370   124963058@AIRLINE.KIWI.COM
SQZWAL   9/21/2020   OB    9/22/2020   WN;2287;LAX;LAS                         SAN NORMA LOS ALTOS   SAN LUIS POTOSI       MX   87019   124963718@AIRLINE.KIWI.COM
SUGIHQ   9/21/2020   OB    9/23/2020   WN;2255;ATL;MCO                         LOPEZTON              PA                    US   52085   124969130@AIRLINE.KIWI.COM
SV2UWR   9/21/2020   OB    9/28/2020   WN;273;MBJ;MCO                          EAST MICHELLEVILLE    MS                    US   14767   124968855@AIRLINE.KIWI.COM
SV93N8   9/21/2020   OB    9/22/2020   WN;1889;LAS;DAL                         PORT DANABURGH        SD                    US   36208   124955853.1460403@AIRLINE.KIWI.COM
SVD26O   9/21/2020   OB    9/21/2020   WN;1492;SNA;LAS                         JENNIFERVILLE         AK                    US   34219   124969823@AIRLINE.KIWI.COM
SVD26O   9/21/2020   OB    9/21/2020   WN;1492;SNA;LAS                         JENNIFERVILLE         AK                    US   34219   124969823@AIRLINE.KIWI.COM
SVJ6NP   9/21/2020   OB   12/30/2020   WN;1469;SJC;SEA;WN;1469;SEA;DEN;WN;1101NELSONMOUTH            MS                    US   69356   124969647@AIRLINE.KIWI.COM
SX2H5R   9/21/2020   OB   10/15/2020   WN;2111;LAS;RNO                         EAST DEBORAH          ND                    US   55156   124971000@AIRLINE.KIWI.COM
SZ9YW8   9/21/2020   OB    10/5/2020   WN;2151;LAS;PDX                         SHARIBURY             IA                    US   79607   124973926@AIRLINE.KIWI.COM
SZAP7G   9/21/2020   OB    9/22/2020   WN;1966;DEN;PHX                         EAST JACQUELINEPORT   CA                    US   21281   124960605.1460363@AIRLINE.KIWI.COM
SZAP7G   9/21/2020   OB    9/22/2020   WN;1966;DEN;PHX                         PHOENIX               AZ                    US   85040   124960605.1460363@AIRLINE.KIWI.COM
SZAP7G   9/21/2020   RT    9/23/2020   WN;1659;PHX;DEN                         EAST JACQUELINEPORT   CA                    US   21281   124960605.1460363@AIRLINE.KIWI.COM
SZAP7G   9/21/2020   RT    9/23/2020   WN;1659;PHX;DEN                         PHOENIX               AZ                    US   85040   124960605.1460363@AIRLINE.KIWI.COM
SZASEB   9/21/2020   OB    9/22/2020   WN;2090;LAX;LAS                         BARNETTSIDE           KY                    US   45584   124974069@AIRLINE.KIWI.COM
SZIBQK   9/21/2020   OB    9/26/2020   WN;1544;DEN;OAK;WN;2036;OAK;HNL         LAKE BRIANBOROUGH     AL                    US   69207   124973772@AIRLINE.KIWI.COM
T4DV8E   9/21/2020   OB    10/5/2020   WN;1145;MCO;IND                         SOUTH DENNISMOUTH     SC                    US   43073   124976841@AIRLINE.KIWI.COM
T6SB6R   9/21/2020   OB   12/22/2020   WN;1240;PHX;DEN;WN;320;DEN;CMH          SOUTH MICHELLE        MT                    US   87765   124978546@AIRLINE.KIWI.COM
T6SB6R   9/21/2020   RT   12/27/2020   WN;5075;CMH;MDW;WN;2976;MDW;PHX         SOUTH MICHELLE        MT                    US   87765   124978546@AIRLINE.KIWI.COM
T6YDSE   9/21/2020   OB   12/10/2020   WN;2174;MCO;BHM                         LAKE SOPHIATOWN       UT                    US    8133   124978865@AIRLINE.KIWI.COM
TDBNZO   9/21/2020   OB    9/22/2020   WN;2371;MSP;MDW                         VIEJA ETIOPIA         SINALOA               MX     721   124982935@AIRLINE.KIWI.COM
TE3XOA   9/21/2020   OB    9/23/2020   WN;2231;ATL;TPA                         EAST ANNETTE          DIEKIRCH              LU    5178   124983298@AIRLINE.KIWI.COM
TF3TOU   9/21/2020   OB   10/23/2020   WN;1918;AUS;PHX                         EAST AMANDA           MO                    US   99768   124983914@AIRLINE.KIWI.COM
TH2P4Z   9/21/2020   OB    10/6/2020   WN;2472;LAX;MDW                         PORT JASMINESHIRE     WA                    US   48733   124984783@AIRLINE.KIWI.COM
TIJ79T   9/21/2020   OB   10/23/2020   WN;1743;BWI;FLL                         TRAVISFURT            LA                    US   94080   124984849@AIRLINE.KIWI.COM
TJ35T6   9/22/2020   OB    9/28/2020   WN;2541;PVD;BWI;WN;1452;BWI;DTW         MARALIK               ARMAVIR               AM   10384   124985520@AIRLINE.KIWI.COM
TJOTCF   9/22/2020   OB    11/4/2020   WN;2753;DCA;MDW                         PORT JAMES            OH                    US   98173   124985707@AIRLINE.KIWI.COM
TKU27V   9/22/2020   OB    9/22/2020   WN;341;LGA;BNA                          JACOBTON              CT                    US   38148   124986059@AIRLINE.KIWI.COM
TL25N2   9/22/2020   OB    9/22/2020   WN;2286;LAX;OAK;WN;2289;OAK;MDW         HANSONBURGH           KY                    US   42105   124986279@AIRLINE.KIWI.COM
TLAPCS   9/22/2020   OB   11/24/2020   WN;2462;OAK;MDW                         LESTAD                TN                    US   13178   124986477@AIRLINE.KIWI.COM
TLAVSC   9/22/2020   OB   11/30/2020   WN;2472;SDF;DAL                         ALISHASHIRE           ID                    US   74986   124986466@AIRLINE.KIWI.COM
TLOJ2O   9/22/2020   OB    9/23/2020   WN;2330;FLL;TPA                         AXALCIXE              MTSKHETAMTIANETI      GE   50103   124986323@AIRLINE.KIWI.COM
TLOJ2O   9/22/2020   RT    9/27/2020   WN;2125;TPA;FLL                         AXALCIXE              MTSKHETAMTIANETI      GE   50103   124986323@AIRLINE.KIWI.COM
TMHF3G   9/22/2020   OB    9/26/2020   WN;2139;FLL;ATL;WN;2139;ATL;GSP         HANCERBERG            YOZGAT                TR   49017   124986675@AIRLINE.KIWI.COM
TNIVYR   9/22/2020   OB    10/8/2020   WN;928;ATL;FLL                          NORTH JENNIFER        IN                    US   74043   124987236@AIRLINE.KIWI.COM
TPCJY9   9/22/2020   OB    9/25/2020   WN;2487;PDX;SMF                         CHRISTOPHERTON        RI                    US   14978   124987808@AIRLINE.KIWI.COM
TPCJY9   9/22/2020   RT    9/27/2020   WN;3201;SMF;PDX                         CHRISTOPHERTON        RI                    US   14978   124987808@AIRLINE.KIWI.COM
TPLSEU   9/22/2020   OB   11/23/2020   WN;4237;MDW;BNA;WN;4237;BNA;ATL         NORTH DANIELLE        UT                    US   38147   124987885@AIRLINE.KIWI.COM
TPX9TF   9/22/2020   OB   11/27/2020   WN;143;ATL;MDW                          EAST KATELYN          MS                    US   19139   124987874@AIRLINE.KIWI.COM
TQMZLJ   9/22/2020   OB    9/29/2020   WN;1241;SNA;SMF                         SOUTH JAMES           PA                    US   66846   124988061@AIRLINE.KIWI.COM
TR4KFJ   9/22/2020   OB    9/22/2020   WN;2642;DTW;BWI;WN;944;BWI;FLL          NEW WILLIAM           MI                    US   21909   124988171@AIRLINE.KIWI.COM
TRKPM3   9/22/2020   OB   10/10/2020   WN;2113;BWI;DTW                         SMITHBERG             IN                    US   87378   124988347@AIRLINE.KIWI.COM
TSHLEE   9/22/2020   OB    9/22/2020   WN;8;DCA;ATL;WN;928;ATL;FLL             AGUILARTON            WY                    US   60073   124988721@AIRLINE.KIWI.COM
TSHLEE   9/22/2020   OB    9/22/2020   WN;8;DCA;ATL;WN;928;ATL;FLL             AGUILARTON            WY                    US   60073   124988721@AIRLINE.KIWI.COM
TSHLEE   9/22/2020   OB    9/22/2020   WN;8;DCA;ATL;WN;928;ATL;FLL             AGUILARTON            WY                    US   60073   124988721@AIRLINE.KIWI.COM
TU7ZK9   9/22/2020   OB    9/25/2020   WN;1927;STL;DSM;WN;1927;DSM;DEN         SOUTH MICHAELMOUTH    NC                    US   29004   124989700@AIRLINE.KIWI.COM
TU7ZK9   9/22/2020   RT    9/28/2020   WN;1227;DEN;ICT;WN;1227;ICT;STL         SOUTH MICHAELMOUTH    NC                    US   29004   124989700@AIRLINE.KIWI.COM
TWLBTU   9/22/2020   OB    9/22/2020   WN;2536;TPA;ATL                         LAKE CAROLYNFURT      HI                    US   73595   124990646@AIRLINE.KIWI.COM
TXISCT   9/22/2020   OB    9/23/2020   WN;2594;SAN;OAK                         CLARKSHIRE            WA                    US   93150   124991438@AIRLINE.KIWI.COM
TXYTEG   9/22/2020   OB    10/5/2020   WN;1878;BNA;ATL;WN;1995;ATL;LGA         SIMMONSSTAD           WA                    US   39276   124991086@AIRLINE.KIWI.COM
TY7RWL   9/22/2020   OB    9/25/2020   WN;2122;LGA;ATL                         SOUTH BRANDONSHIRE    KS                    US   94123   124991625@AIRLINE.KIWI.COM
TY8NL4   9/22/2020   OB    10/1/2020   WN;1414;LAX;HOU                         DEANNAVIEW            LA                    US   19518   124991691@AIRLINE.KIWI.COM
TY8NL4   9/22/2020   OB    10/1/2020   WN;1414;LAX;HOU                         DEANNAVIEW            LA                    US   19518   124991691@AIRLINE.KIWI.COM
TY8NL4   9/22/2020   RT    10/4/2020   WN;2104;HOU;LAX                         DEANNAVIEW            LA                    US   19518   124991691@AIRLINE.KIWI.COM
TY8NL4   9/22/2020   RT    10/4/2020   WN;2104;HOU;LAX                         DEANNAVIEW            LA                    US   19518   124991691@AIRLINE.KIWI.COM
TYV98B   9/22/2020   OB    9/22/2020   WN;2208;SFO;PHX                         LOWEVILLE             AK                    US   15769   124991845@AIRLINE.KIWI.COM
U2I6YV   9/22/2020   OB    11/9/2020   WN;1582;DAL;MSY;WN;1582;MSY;ATL         HERNANDEZPORT         NH                    US   89803   124992164@AIRLINE.KIWI.COM
U38B5F   9/22/2020   OB    9/22/2020   WN;6701;LAS;IND                         RODRIGUEZSIDE         SC                    US   52106   124992659@AIRLINE.KIWI.COM
U3ZY4Z   9/22/2020   OB    11/7/2020   WN;3764;ONT;MDW;WN;9;MDW;BUF            SIMMONSVILLE          KS                    US   91561   124992802@AIRLINE.KIWI.COM
U47V6W   9/22/2020   OB   11/22/2020   WN;1373;BUF;DEN;WN;921;DEN;ONT          SOUTH ELIZABETH       OK                    US   73965   124992813@AIRLINE.KIWI.COM
U4CDNQ   9/22/2020   OB   10/13/2020   WN;2056;ATL;JAX                         STEPHANIEMOUTH        IA                    US    3256   124992681@AIRLINE.KIWI.COM
U5KYKZ   9/22/2020   OB   12/30/2020   WN;1469;SJC;SEA;WN;1469;SEA;DEN;WN;1101EAST EMILY             IL                    US   58697   124993451@AIRLINE.KIWI.COM
U5QEBT   9/22/2020   OB    9/23/2020   WN;2122;ATL;HOU;WN;2011;HOU;ECP         NORTH ERICBERG        MD                    US   55999   124993385@AIRLINE.KIWI.COM
U6LDAE   9/22/2020   OB    9/22/2020   WN;1908;LGA;STL;WN;4322;STL;SMF         MICHAELBURY           OK                    US   10233   124993693@AIRLINE.KIWI.COM
U6Y2V6   9/22/2020   OB   11/21/2020   WN;1183;SMF;ONT                         SOUTH JAMESVILLE      NJ                    US   64066   124993770@AIRLINE.KIWI.COM
U9HK7X   9/22/2020   OB    9/22/2020   WN;1454;BNA;LAX;WN;2116;LAX;SMF         LAKE CHAD             TN                    US   63103   124994804@AIRLINE.KIWI.COM
U9J6PS   9/22/2020   OB    9/24/2020   WN;135;LAS;LAX                          JENSENVILLE           NJ                    US    7667   124994738@AIRLINE.KIWI.COM
UAET6V   9/22/2020   OB   11/18/2020   WN;2941;PHL;DEN                         GUERREROBOROUGH       KY                    US   28292   124995453@AIRLINE.KIWI.COM
UALSS6   9/22/2020   OB   11/18/2020   WN;2642;DEN;OAK                         WEST CARLOSTON        HI                    US   82440   124995453@AIRLINE.KIWI.COM
UF7SO2   9/22/2020   OB   10/13/2020   WN;1324;SMF;LAX                         LAKE MARYHAVEN        AR                    US   90247   124997873@AIRLINE.KIWI.COM
UF7SO2   9/22/2020   OB   10/13/2020   WN;1324;SMF;LAX                         LAKE MARYHAVEN        AR                    US   90247   124997873@AIRLINE.KIWI.COM
ULFLOS   9/22/2020   OB    9/27/2020   WN;2218;OAK;SLC                         WEST CARLOSHAVEN      CT                    US    7367   125002625@AIRLINE.KIWI.COM
UQAH8S   9/22/2020   OB   10/10/2020   WN;918;BWI;MBJ                          ANYANGSI MANANGU      GYEONGSANGNAMDO       KR    6789   124993352@AIRLINE.KIWI.COM
UUYNO2   9/22/2020   OB    9/23/2020   WN;2491;PHX;LAS                         EAST CYNTHIA          DE                    US   31197   125011975@AIRLINE.KIWI.COM
UW8HO8   9/22/2020   OB    9/22/2020   WN;1452;LAX;BWI;WN;944;BWI;FLL          DAVIDHAVEN            MN                    US   54804   125014120@AIRLINE.KIWI.COM
V4U9DI   9/22/2020   OB    9/22/2020   WN;161;DEN;LAS                          WILLIAMSTOWN          GA                    US   78201   125021127@AIRLINE.KIWI.COM
V6LMVW   9/22/2020   OB    10/6/2020   WN;762;LAS;PHX                          SOLOMONVILLE          MD                    US   72443   125023558@AIRLINE.KIWI.COM
V7SRAY   9/22/2020   OB    10/6/2020   WN;2072;LGA;ATL                         LAKE NATHANVILLE      MS                    US   78922   125023954@AIRLINE.KIWI.COM
VGSDZR   9/22/2020   OB    10/9/2020   WN;6585;ATL;RSW                         SKELLEFTEA            SKANE LAN             SE   38370   125034327@AIRLINE.KIWI.COM
VGSDZR   9/22/2020   RT   10/10/2020   WN;1520;RSW;ATL                         SKELLEFTEA            SKANE LAN             SE   38370   125034327@AIRLINE.KIWI.COM
VJKR2C   9/22/2020   OB    10/9/2020   WN;6750;ATL;MEM                         LOPEZBURGH            VT                    US   45484   125037418@AIRLINE.KIWI.COM
VJKR2C   9/22/2020   RT   10/11/2020   WN;6743;MEM;ATL                         LOPEZBURGH            VT                    US   45484   125037418@AIRLINE.KIWI.COM
VJTIGR   9/22/2020   OB    9/22/2020   WN;1610;CUN;BWI;WN;555;BWI;BOS          EAST JIMMY            KY                    US   63457   125038287@AIRLINE.KIWI.COM
VJZETE   9/22/2020   OB    9/22/2020   WN;1610;CUN;BWI;WN;555;BWI;BOS          LIMA                  RIO GRANDE DO NORTE   BR   30377   125038287@AIRLINE.KIWI.COM
VLI24T   9/22/2020   OB   11/25/2020   WN;4711;BWI;JAX                         NORTH SHEILA          ND                    US   85890   125039871@AIRLINE.KIWI.COM
VLI24T   9/22/2020   RT   12/16/2020   WN;2692;JAX;BWI                         NORTH SHEILA          ND                    US   85890   125039871@AIRLINE.KIWI.COM
VNHIWH   9/22/2020   OB   11/21/2020   WN;2108;ATL;LGA                         WEST CHADCHESTER      SC                    US   84984   125042478@AIRLINE.KIWI.COM
VNHIWH   9/22/2020   OB   11/21/2020   WN;2108;ATL;LGA                         WEST CHADCHESTER      SC                    US   84984   125042478@AIRLINE.KIWI.COM
VNHIWH   9/22/2020   RT   11/28/2020   WN;2094;LGA;ATL                         WEST CHADCHESTER      SC                    US   84984   125042478@AIRLINE.KIWI.COM
VNHIWH   9/22/2020   RT   11/28/2020   WN;2094;LGA;ATL                         WEST CHADCHESTER      SC                    US   84984   125042478@AIRLINE.KIWI.COM
VOMELH   9/22/2020   OB    9/30/2020   WN;1537;DEN;SMF                         MCDANIELMOUTH         AL                    US   91541   125041840@AIRLINE.KIWI.COM




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VOY2UB   9/22/2020   OB    10/4/2020   WN;1040;BWI;ALB                   LAKE DIANASHIRE     AR                          US   42447   125043688@AIRLINE.KIWI.COM
VOY2UB   9/22/2020   OB    10/4/2020   WN;1040;BWI;ALB                   LAKE DIANASHIRE     AR                          US   42447   125043688@AIRLINE.KIWI.COM
VOZRIC   9/22/2020   OB    10/2/2020   WN;396;ALB;BWI                    LOPEZMOUTH          OK                          US   19688   125043688@AIRLINE.KIWI.COM
VOZRIC   9/22/2020   OB    10/2/2020   WN;396;ALB;BWI                    LOPEZMOUTH          OK                          US   19688   125043688@AIRLINE.KIWI.COM
VPY8OO   9/22/2020   OB    9/23/2020   WN;806;SMF;LAX                    WEST DARLENE        TN                          US   89593   125044315@AIRLINE.KIWI.COM
VPY8OO   9/22/2020   RT    9/25/2020   WN;2116;LAX;SMF                   WEST DARLENE        TN                          US   89593   125044315@AIRLINE.KIWI.COM
VR4YQ5   9/22/2020   OB    11/3/2020   WN;2306;MDW;CMH                   EMILYCHESTER        NJ                          US   48529   125045514@AIRLINE.KIWI.COM
VUG9MJ   9/22/2020   OB    11/1/2020   WN;2002;ATL;MEM                   ALVARADOPORT        MD                          US   38106   125049925@AIRLINE.KIWI.COM
VUZ5EI   9/22/2020   OB    9/25/2020   WN;513;ATL;BWI;WN;1748;BWI;MKE    TARABURY            VA                          US   32540   125050354@AIRLINE.KIWI.COM
VW6GML   9/22/2020   OB    9/22/2020   WN;2252;LAS;DEN                   HOWARDCHESTER       SD                          US   38948   125051311@AIRLINE.KIWI.COM
W26CX8   9/22/2020   OB   10/24/2020   WN;2615;AUS;PHX                   REYESSTAD           ID                          US   48588   125055260@AIRLINE.KIWI.COM
W5BATY   9/22/2020   OB     1/3/2021   WN;4455;DAL;ATL;WN;4455;ATL;LGA   WEST MICHELLE       CA                          US   53844   125058285@AIRLINE.KIWI.COM
W6EV8R   9/22/2020   OB   12/23/2020   WN;1829;SLC;DEN                   LAKE HOWARD         HERTFORDSHIRE               GB   87318   125060650@AIRLINE.KIWI.COM
W6YLPR   9/22/2020   OB    9/22/2020   WN;2530;LAS;OAK                   PAIGEVILLE          MI                          US   77179   125061948@AIRLINE.KIWI.COM
W75UY9   9/22/2020   OB    9/22/2020   WN;2530;LAS;OAK                   EDWARDVIEW          NC                          US   39030   125061948@AIRLINE.KIWI.COM
WAIMWY   9/22/2020   OB   11/13/2020   WN;375;CLT;MDW;WN;358;MDW;MSY     WEST HENRY          CA                          US   57269   125065820@AIRLINE.KIWI.COM
WBP93O   9/22/2020   OB   10/30/2020   WN;928;IAD;ATL;WN;928;ATL;FLL     SAN FLAVIANA        PESARO E URBINO             IT   23194   125065919@AIRLINE.KIWI.COM
WD6R69   9/22/2020   OB    9/23/2020   WN;1807;BWI;PHX                   PORT BRENDAPORT     NE                          US   54210   125069813@AIRLINE.KIWI.COM
WDTQC2   9/22/2020   OB    12/3/2020   WN;2500;FLL;BNA;WN;2500;BNA;DEN   VIEJA BRASIL        AL                          US   33028   125069362@AIRLINE.KIWI.COM
WEQS85   9/22/2020   OB    9/28/2020   WN;1501;BNA;LGA                   JOHNTOWN            CA                          US   46841   125071474@AIRLINE.KIWI.COM
WGDEDY   9/22/2020   OB   10/13/2020   WN;2259;MSY;BWI                   NEW KELLY           ID                          US   37108   125073597@AIRLINE.KIWI.COM
WI3S5J   9/22/2020   OB    9/22/2020   WN;2107;SMF;LAS                   NOVAKVILLE          RI                          US   76434   125075786@AIRLINE.KIWI.COM
WI3S5J   9/22/2020   RT    9/23/2020   WN;2186;LAS;LGB;WN;2186;LGB;SMF   NOVAKVILLE          RI                          US   76434   125075786@AIRLINE.KIWI.COM
WKWJ3C   9/22/2020   OB    9/24/2020   WN;1873;CLT;MDW;WN;1878;MDW;LGA   SANDRASIDE          IL                          US   45374   125074609@AIRLINE.KIWI.COM
WLRGUE   9/22/2020   OB   10/11/2020   WN;1029;BWI;CVG                   WEST CHARLESVIEW    AL                          US   24788   124505403.1461519@AIRLINE.KIWI.COM
WMYB2L   9/22/2020   OB    9/25/2020   WN;909;LGA;ATL                    LAKE LAIA           NEWFOUNDLAND AND LABRADOR   CA   62346   125080681@AIRLINE.KIWI.COM
WMYMP5   9/22/2020   OB    9/27/2020   WN;1870;SJC;SNA                   SHML LYRD           AZARBAYJANE SHARQI          IR   20150   125080824@AIRLINE.KIWI.COM
WN5GEZ   9/22/2020   OB   10/11/2020   WN;928;IAD;ATL                    EAST REBEKAH        NY                          US   32262   125080263@AIRLINE.KIWI.COM
WN8NBG   9/22/2020   OB   11/13/2020   WN;852;MSY;DAL                    WEST KRISTOPHER     FL                          US   25906   125080219@AIRLINE.KIWI.COM
WN8NBG   9/22/2020   OB   11/13/2020   WN;852;MSY;DAL                    WEST KRISTOPHER     FL                          US   25906   125080219@AIRLINE.KIWI.COM
WN8NBG   9/22/2020   RT   11/15/2020   WN;579;DAL;MSY                    WEST KRISTOPHER     FL                          US   25906   125080219@AIRLINE.KIWI.COM
WN8NBG   9/22/2020   RT   11/15/2020   WN;579;DAL;MSY                    WEST KRISTOPHER     FL                          US   25906   125080219@AIRLINE.KIWI.COM
WNW5W7   9/22/2020   OB    9/23/2020   WN;2052;SAN;LAS                   LAWRENCETOWN        LA                          US    1850   125081341@AIRLINE.KIWI.COM
WPHW7Z   9/22/2020   OB    10/3/2020   WN;3004;DEN;LAS                   HALEYLAND           IL                          US   13202   125077777@AIRLINE.KIWI.COM
WQVDM7   9/22/2020   OB   10/17/2020   WN;2482;SFO;MDW                   PORT SAMUEL         SD                          US    8511   125083387@AIRLINE.KIWI.COM
WRQWZV   9/22/2020   OB    9/29/2020   WN;2344;SNA;SMF;WN;2344;SMF;PDX   LAKE JESSICALAND    NC                          US   37549   125083453@AIRLINE.KIWI.COM
WT3424   9/22/2020   OB    10/6/2020   WN;2567;LAS;STL                   NORTH RONALD        PA                          US   10481   125084630@AIRLINE.KIWI.COM
WTRNBW   9/22/2020   OB    9/29/2020   WN;2257;ATL;IND                   NEW DAVIDVILLE      NC                          US   99356   125084795@AIRLINE.KIWI.COM
WVSG3P   9/22/2020   OB    9/23/2020   WN;513;ATL;BWI;WN;1877;BWI;BUF    KURTBURGH           GA                          US   53429   125085950@AIRLINE.KIWI.COM
WXFJMO   9/22/2020   OB    10/2/2020   WN;2585;DEN;ABQ                   EAST DOUGLAS        MO                          US   95356   125080010@AIRLINE.KIWI.COM
WXUNU9   9/22/2020   OB    9/23/2020   WN;2229;ATL;RSW                   DEREKBURGH          CT                          US   76284   125086720@AIRLINE.KIWI.COM
WYT7OG   9/22/2020   OB    9/27/2020   WN;429;CVG;BWI;WN;1743;BWI;FLL    PORT MICHAEL        NC                          US    7602   125087083@AIRLINE.KIWI.COM
WYT7OG   9/22/2020   RT    9/30/2020   WN;2005;FLL;BWI;WN;1029;BWI;CVG   PORT MICHAEL        NC                          US    7602   125087083@AIRLINE.KIWI.COM
WZ6TXQ   9/22/2020   OB    9/24/2020   WN;1267;BDL;MDW                   FRANKPORT           WV                          US   78533   125087094@AIRLINE.KIWI.COM
WZJAL3   9/22/2020   OB    9/25/2020   WN;654;HNL;OAK;WN;2276;OAK;DEN    MORRISTON           KY                          US   66235   125087677@AIRLINE.KIWI.COM
WZP9K8   9/22/2020   OB    9/24/2020   WN;2333;ONT;SMF                   BARRETTTOWN         IN                          US   60002   125087732@AIRLINE.KIWI.COM
WZP9K8   9/22/2020   RT    9/27/2020   WN;2173;SMF;ONT                   BARRETTTOWN         IN                          US   60002   125087732@AIRLINE.KIWI.COM
J3CK5S   9/23/2020   OB    10/6/2020   WN;2138;MCI;ATL;WN;2056;ATL;JAX   ASHLEYBERG          LA                          US   57657   125088227@AIRLINE.KIWI.COM
J3CK5S   9/23/2020   RT   10/21/2020   WN;2182;JAX;ATL;WN;1780;ATL;MCI   ASHLEYBERG          LA                          US   57657   125088227@AIRLINE.KIWI.COM
J3FZBH   9/23/2020   OB    9/23/2020   WN;2607;ATL;FLL                   DEREKBURGH          NY                          US   76284   125088139@AIRLINE.KIWI.COM
J4UZX6   9/23/2020   OB    10/6/2020   WN;2091;LAS;HOU                   MANGFOVAFORT        PERNIK                      BG   10440   125088733@AIRLINE.KIWI.COM
J4YLIL   9/23/2020   OB    9/23/2020   WN;2607;ATL;FLL                   EAST BETHANYSTAD    MA                          US   35834   125089063@AIRLINE.KIWI.COM
J4Z834   9/23/2020   OB   11/21/2020   WN;2063;BOS;BWI                   DHAARVAADD          GOA                         IN   52920   125088766@AIRLINE.KIWI.COM
J4ZUWR   9/23/2020   OB    9/27/2020   WN;429;CVG;BWI;WN;1743;BWI;FLL    PORT JAMESBURGH     WV                          US   81102   125088898@AIRLINE.KIWI.COM
J4ZUWR   9/23/2020   RT    9/30/2020   WN;2005;FLL;BWI;WN;1029;BWI;CVG   PORT JAMESBURGH     WV                          US   81102   125088898@AIRLINE.KIWI.COM
J7TA8G   9/23/2020   OB    9/25/2020   WN;2122;LGA;ATL                   EAST RYAN           OH                          US   36388   125090350@AIRLINE.KIWI.COM
J8BCF9   9/23/2020   OB     1/3/2021   WN;1648;MCI;SAN                   NORTH KRISTINE      AZ                          US   18947   125090581@AIRLINE.KIWI.COM
J8PTJU   9/23/2020   OB    9/23/2020   WN;2258;PHX;DEN;WN;167;DEN;FLL    COOPERLAND          AZ                          US   34773   125090537@AIRLINE.KIWI.COM
J92BJN   9/23/2020   OB    9/23/2020   WN;2498;SLC;OAK;WN;1563;OAK;PDX   REBECCATON          AL                          US   88606   125090504@AIRLINE.KIWI.COM
JAGALN   9/23/2020   OB    9/24/2020   WN;673;BWI;MCO;WN;2426;MCO;FLL    MISTO MARUSIA       KIROVOHRADSKA OBLAST        UA   94430   125091582@AIRLINE.KIWI.COM
JCCOMM   9/23/2020   OB    9/30/2020   WN;1267;BDL;MDW;WN;1597;MDW;HOU   NEW RACHAEL         MN                          US   70872   125092198@AIRLINE.KIWI.COM
JCCOMM   9/23/2020   RT    10/2/2020   WN;2299;HOU;MDW;WN;2472;MDW;BDL   NEW RACHAEL         MN                          US   70872   125092198@AIRLINE.KIWI.COM
JDKDX3   9/23/2020   OB    9/23/2020   WN;2416;ATL;MDW;WN;986;MDW;LAS    PORT TYLERSTAD      ME                          US   48673   125093001@AIRLINE.KIWI.COM
JDKDX3   9/23/2020   OB    9/23/2020   WN;2416;ATL;MDW;WN;986;MDW;LAS    PORT TYLERSTAD      ME                          US   48673   125093001@AIRLINE.KIWI.COM
JDO6VW   9/23/2020   OB    9/25/2020   WN;2065;MSY;BNA;WN;665;BNA;ATL    KAYLAMOUTH          NC                          US   53375   125092671@AIRLINE.KIWI.COM
JF2W8X   9/23/2020   OB   10/15/2020   WN;2369;PHX;LAX                   SOUTH JEREMY        MD                          US   81044   125093144@AIRLINE.KIWI.COM
JFIHNM   9/23/2020   OB    9/23/2020   WN;840;SMF;DAL;WN;2131;DAL;ATL    MURPHYCHESTER       KY                          US   89496   125093496@AIRLINE.KIWI.COM
JH6YHQ   9/23/2020   OB    9/23/2020   WN;2186;LAS;LGB;WN;2186;LGB;SMF   AMANDABURGH         ME                          US   49194   125094651@AIRLINE.KIWI.COM
JHQEDT   9/23/2020   OB    9/25/2020   WN;2064;ATL;BWI                   WEST REGINASIDE     MS                          US   32979   125095025@AIRLINE.KIWI.COM
JI3SQW   9/23/2020   OB   10/30/2020   WN;1960;STL;MDW;WN;164;MDW;SEA    AMYBOROUGH          NE                          US   62817   125095036@AIRLINE.KIWI.COM
JIH5B6   9/23/2020   OB   11/15/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT    WOODBURY            OR                          US   90365   125095124@AIRLINE.KIWI.COM
JIH5B6   9/23/2020   OB   11/15/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT    WOODBURY            OR                          US   90365   125095124@AIRLINE.KIWI.COM
JK5LAI   9/23/2020   OB    9/30/2020   WN;2126;SMF;PHX;WN;1659;PHX;DEN   EAST MEGANFORT      NH                          US   40044   125095564@AIRLINE.KIWI.COM
JL2CGV   9/23/2020   OB   10/13/2020   WN;2406;LAS;SEA                   RYANTOWN            CA                          US   68049   125096169@AIRLINE.KIWI.COM
JMK7QP   9/23/2020   OB   10/21/2020   WN;1963;LAS;RNO                   PETTYMOUTH          NV                          US   40649   125096741@AIRLINE.KIWI.COM
JMWPXM   9/23/2020   OB    9/29/2020   WN;1579;BUR;SJC;WN;1579;SJC;SEA   MURRAYCHESTER       AZ                          US   86117   125096708@AIRLINE.KIWI.COM
JOCAZH   9/23/2020   OB   11/30/2020   WN;1607;BWI;CUN                   NASHIK              AZ                          US   42240   125083992@AIRLINE.KIWI.COM
JP64EU   9/23/2020   OB    10/8/2020   WN;6741;LAS;ELP                   PORT THOMASFURT     DC                          US   41710   125091494@AIRLINE.KIWI.COM
JPGQWW   9/23/2020   OB   10/15/2020   WN;1486;BNA;MDW                   GINABURGH           AK                          US    9115   125098347@AIRLINE.KIWI.COM
JPGQWW   9/23/2020   RT   10/17/2020   WN;6250;MDW;BNA                   GINABURGH           AK                          US    9115   125098347@AIRLINE.KIWI.COM
JR7DIO   9/23/2020   OB   10/11/2020   WN;1687;HOU;AUS                   EAST SEANTOWN       DE                          US   89224   125092132@AIRLINE.KIWI.COM
JSPK9Z   9/23/2020   OB   10/23/2020   WN;1066;HOU;ATL                   MARTINEZVIEW        NC                          US   92316   125099744@AIRLINE.KIWI.COM
JWDHAX   9/23/2020   OB    10/9/2020   WN;1501;MSY;DAL                   JAMESSHIRE          CA                          US   76548   125091692@AIRLINE.KIWI.COM
JXDEG5   9/23/2020   OB   10/30/2020   WN;1770;LAX;SLC                   ALEXANDERFURT       OH                          US   40565   125101306@AIRLINE.KIWI.COM
JXDEG5   9/23/2020   OB   10/30/2020   WN;1770;LAX;SLC                   ALEXANDERFURT       OH                          US   40565   125101306@AIRLINE.KIWI.COM
JXL3KV   9/23/2020   OB    9/23/2020   WN;734;DEN;OKC                    PENNYBERG           AR                          US   96493   125101526@AIRLINE.KIWI.COM
K43VTR   9/23/2020   OB    10/1/2020   WN;2595;CMH;PHX                   JUSTINSTAD          AZ                          US   28466   125105739@AIRLINE.KIWI.COM
K62F5P   9/23/2020   OB    9/30/2020   WN;2231;LAS;DAL                   EAST TYLER          WI                          US   39826   125106960@AIRLINE.KIWI.COM
KAKXHD   9/23/2020   OB   10/26/2020   WN;2234;IND;BWI                   EAST PAULTON        AL                          US   10889   125111151@AIRLINE.KIWI.COM
KAZ35I   9/23/2020   OB    9/27/2020   WN;849;ATL;IAD                    MURRAYSHIRE         MD                          US   57416   125111536@AIRLINE.KIWI.COM
KB4S3N   9/23/2020   OB    10/9/2020   WN;2513;LAS;SMF                   NEW TIFFANY         MD                          US   23656   125111217@AIRLINE.KIWI.COM
KB4S3N   9/23/2020   OB    10/9/2020   WN;2513;LAS;SMF                   NEW TIFFANY         MD                          US   23656   125111217@AIRLINE.KIWI.COM
KB4S3N   9/23/2020   OB    10/9/2020   WN;2513;LAS;SMF                   NEW TIFFANY         MD                          US   23656   125111217@AIRLINE.KIWI.COM
KB4S3N   9/23/2020   OB    10/9/2020   WN;2513;LAS;SMF                   NEW TIFFANY         MD                          US   23656   125111217@AIRLINE.KIWI.COM
KBFTBT   9/23/2020   OB   10/10/2020   WN;6236;SMF;LAS                   JOSEPHHAVEN         ND                          US   11094   125111954@AIRLINE.KIWI.COM
KFI39T   9/23/2020   OB    11/3/2020   WN;1974;LAS;HOU                   REBECCATOWN         MT                          US   75028   125099271@AIRLINE.KIWI.COM
KFI39T   9/23/2020   OB    11/3/2020   WN;1974;LAS;HOU                   REBECCATOWN         MT                          US   75028   125099271@AIRLINE.KIWI.COM
KHU9QA   9/23/2020   OB    9/23/2020   WN;2621;FLL;MCO;WN;2621;MCO;RDU   CRAIGSHIRE          CA                          US   40162   125119071@AIRLINE.KIWI.COM
KPKGH5   9/23/2020   OB   12/27/2020   WN;4102;BWI;FLL                   KEVINFURT           LA                          US   49644   125126375@AIRLINE.KIWI.COM
KPKGH5   9/23/2020   RT   12/30/2020   WN;555;FLL;BWI                    KEVINFURT           LA                          US   49644   125126375@AIRLINE.KIWI.COM
KTO43M   9/23/2020   OB    9/25/2020   WN;1142;ATL;HOU                   SMITHHAVEN          NV                          US    6328   125130082@AIRLINE.KIWI.COM
KTO43M   9/23/2020   RT    9/27/2020   WN;136;HOU;SAT;WN;136;SAT;ATL     SMITHHAVEN          NV                          US    6328   125130082@AIRLINE.KIWI.COM
KUYGE8   9/23/2020   OB    9/27/2020   WN;1590;BOS;BWI                   LAKE VICTORIAFURT   OR                          US   94861   125132282@AIRLINE.KIWI.COM
KZD6LF   9/23/2020   OB   11/20/2020   WN;258;OMA;MDW                    GORDONSIDE          ND                          US   95648   125137496@AIRLINE.KIWI.COM
KZD6LF   9/23/2020   OB   11/20/2020   WN;258;OMA;MDW                    GORDONSIDE          ND                          US   95648   125137496@AIRLINE.KIWI.COM
L2OYMU   9/23/2020   OB    10/7/2020   WN;1064;MSY;ATL                   SOUTH KRISTI        LA                          US   55407   125139025@AIRLINE.KIWI.COM
L2XSSV   9/23/2020   OB   11/23/2020   WN;2784;MDW;OMA                   NEW FRANCES         KS                          US   17367   125139718@AIRLINE.KIWI.COM




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L2XSSV   9/23/2020   OB   11/23/2020   WN;2784;MDW;OMA                   NEW FRANCES           KS                     US   17367   125139718@AIRLINE.KIWI.COM
L6UY4O   9/23/2020   OB    9/30/2020   WN;2181;MCO;MDW                   RAMOSTOWN             IL                     US   96540   125142204@AIRLINE.KIWI.COM
L8IW6Q   9/23/2020   OB    1/17/2021   WN;2713;MSY;DAL                   EAST JONATHANTOWN     UT                     US   27560   125145900@AIRLINE.KIWI.COM
L8IW6Q   9/23/2020   OB    1/17/2021   WN;2713;MSY;DAL                   EAST JONATHANTOWN     UT                     US   27560   125145900@AIRLINE.KIWI.COM
LAKDQS   9/23/2020   OB    9/23/2020   WN;1780;FLL;ATL                   TAI DONG              NANTOU                 TW   21338   125149200@AIRLINE.KIWI.COM
LB22IJ   9/23/2020   OB   10/17/2020   WN;2266;MSP;MDW                   JEFFREYSTAD           ND                     US   21751   125148298@AIRLINE.KIWI.COM
LDE9SL   9/23/2020   OB   10/11/2020   WN;6586;ATL;PHL                   TYLERSTAD             OK                     US   56340   125151202@AIRLINE.KIWI.COM
LDE9SL   9/23/2020   OB   10/11/2020   WN;6586;ATL;PHL                   TYLERSTAD             OK                     US   56340   125151202@AIRLINE.KIWI.COM
LDHX99   9/23/2020   OB   10/11/2020   WN;6586;ATL;PHL                   CHRISTINAMOUTH        VT                     US    1652   125151202@AIRLINE.KIWI.COM
LDHX99   9/23/2020   OB   10/11/2020   WN;6586;ATL;PHL                   CHRISTINAMOUTH        VT                     US    1652   125151202@AIRLINE.KIWI.COM
LDL7JW   9/23/2020   OB    9/23/2020   WN;2582;PHX;BWI                   WEST CHRISTOPHER      VA                     US   44841   125152192@AIRLINE.KIWI.COM
LESEMX   9/23/2020   OB   10/13/2020   WN;183;MDW;ATL                    GRAYBURY              OTAGO                  NZ   21438   125153523@AIRLINE.KIWI.COM
LESEMX   9/23/2020   OB   10/13/2020   WN;183;MDW;ATL                    GRAYBURY              OTAGO                  NZ   21438   125153523@AIRLINE.KIWI.COM
LEVE2J   9/23/2020   OB   10/23/2020   WN;1728;ATL;DEN                   SCOTTLAND             GA                     US   37051   125153314@AIRLINE.KIWI.COM
LEVE2J   9/23/2020   RT   10/31/2020   WN;1012;DEN;ATL                   SCOTTLAND             GA                     US   37051   125153314@AIRLINE.KIWI.COM
LEZQ4Q   9/23/2020   OB   10/20/2020   WN;2319;HOU;DEN                   CONNERMOUTH           GA                     US   16257   125153468@AIRLINE.KIWI.COM
LF32BY   9/23/2020   OB   10/10/2020   WN;2416;ATL;MDW                   MCCARTHYFORT          WI                     US   51338   125153523@AIRLINE.KIWI.COM
LF32BY   9/23/2020   OB   10/10/2020   WN;2416;ATL;MDW                   MCCARTHYFORT          WI                     US   51338   125153523@AIRLINE.KIWI.COM
LFB6YC   9/23/2020   OB   10/23/2020   WN;1544;DEN;OAK                   NORTH ANGELALAND      HI                     US   16317   125153314@AIRLINE.KIWI.COM
LFB6YC   9/23/2020   RT   10/31/2020   WN;2129;OAK;DEN                   NORTH ANGELALAND      HI                     US   16317   125153314@AIRLINE.KIWI.COM
LFBISG   9/23/2020   OB    9/23/2020   WN;2355;LAS;ATL                   WEST JENNA            MS                     US   71624   125153633@AIRLINE.KIWI.COM
LMKTOV   9/23/2020   OB    10/5/2020   WN;1353;MSY;AUS                   SOUTH KENDRA          FL                     US   31239   125161388@AIRLINE.KIWI.COM
LMP6DM   9/23/2020   OB    11/9/2020   WN;802;LAX;LAS;WN;637;LAS;HOU     SMITHMOUTH            AL                     US    2552   125160772@AIRLINE.KIWI.COM
LOGMBY   9/23/2020   OB    10/5/2020   WN;2487;PHX;DAL                   NEW SARAHMOUTH        SC                     US   49126   125163577@AIRLINE.KIWI.COM
LPK3LF   9/23/2020   OB    10/7/2020   WN;2068;ATL;RIC                   BURGESSSHIRE          ID                     US    1187   125164314@AIRLINE.KIWI.COM
LQAAXD   9/23/2020   OB    9/30/2020   WN;2211;PDX;PHX                   BARRCHESTER           IN                     US   63848   125165898@AIRLINE.KIWI.COM
LRSXWI   9/23/2020   OB    9/23/2020   WN;1953;PHX;SLC                   STEPHENVIEW           NC                     US   44894   125167394@AIRLINE.KIWI.COM
LSOWVB   9/23/2020   OB    9/25/2020   WN;2253;MKE;MCO                   MANNINGTON            AZ                     US    5003   125168901@AIRLINE.KIWI.COM
LTIJN3   9/23/2020   OB    9/23/2020   WN;1669;LAS;OAK                   WEST JESSEBURY        RI                     US   67122   125169220@AIRLINE.KIWI.COM
LV8GWR   9/23/2020   OB    11/8/2020   WN;1186;IND;MCO                   ZACHARYPORT           CT                     US    5750   125171640@AIRLINE.KIWI.COM
LV8GWR   9/23/2020   OB    11/8/2020   WN;1186;IND;MCO                   ZACHARYPORT           CT                     US    5750   125171640@AIRLINE.KIWI.COM
LWGPUS   9/23/2020   OB    10/3/2020   WN;2555;BUR;LAS                   MCDANIELBERG          MS                     US   42349   125172894@AIRLINE.KIWI.COM
LY8SCQ   9/23/2020   OB    9/28/2020   WN;2363;SAN;HOU                   SOUTH TINASIDE        KY                     US   80043   125174885@AIRLINE.KIWI.COM
LZY45Y   9/23/2020   OB    9/27/2020   WN;1717;RNO;OAK                   EAST REBECCABERG      CT                     US   58942   125176821@AIRLINE.KIWI.COM
LZY45Y   9/23/2020   RT    9/29/2020   WN;2050;OAK;RNO                   EAST REBECCABERG      CT                     US   58942   125176821@AIRLINE.KIWI.COM
M3IOES   9/23/2020   OB    9/29/2020   WN;2614;DAL;BWI;WN;1999;BWI;PVD   WEST DEBORAH          KY                     US   70189   125178152@AIRLINE.KIWI.COM
M3YJEX   9/23/2020   OB    9/24/2020   WN;645;DEN;ABQ                    WEST ROBERT           GA                     US   33833   125178603@AIRLINE.KIWI.COM
M3YJEX   9/23/2020   RT    9/25/2020   WN;2006;ABQ;DEN                   WEST ROBERT           GA                     US   33833   125178603@AIRLINE.KIWI.COM
M4LF3G   9/23/2020   OB   12/28/2020   WN;532;DSM;STL                    SOUTH MARIAH          CA                     US   90752   125179153@AIRLINE.KIWI.COM
M4LF3G   9/23/2020   OB   12/28/2020   WN;532;DSM;STL                    SOUTH MARIAH          CA                     US   90752   125179153@AIRLINE.KIWI.COM
M5OA3J   9/23/2020   OB    10/3/2020   WN;1075;ATL;MDW;WN;1075;MDW;GRR   PORT ROSS             NC                     US   72492   125180759@AIRLINE.KIWI.COM
M5OA3J   9/23/2020   OB    10/3/2020   WN;1075;ATL;MDW;WN;1075;MDW;GRR   PORT ROSS             NC                     US   72492   125180759@AIRLINE.KIWI.COM
M5Y6Z8   9/23/2020   OB   10/14/2020   WN;2166;MCO;BNA;WN;2166;BNA;DCA   VIEIRA ALEGRE         AP                     US   78857   125166877@AIRLINE.KIWI.COM
M6RTJO   9/23/2020   OB    9/24/2020   WN;2539;DEN;ONT                   NORTH CARLA           IL                     US   74264   125181342@AIRLINE.KIWI.COM
M82388   9/23/2020   OB    9/24/2020   WN;596;ALB;MDW;WN;2080;MDW;LAS    GARNERPORT            MO                     US   78294   125182409@AIRLINE.KIWI.COM
M8Z2NT   9/23/2020   OB    10/5/2020   WN;2053;MAF;LAS                   WEST RICKYPORT        OH                     US   77838   125183443@AIRLINE.KIWI.COM
M963J3   9/23/2020   OB   11/26/2020   WN;3155;ELP;HOU;WN;2268;HOU;SAT   WEST ALLEN            KS                     US   50326   125183135@AIRLINE.KIWI.COM
M963J3   9/23/2020   OB   11/26/2020   WN;3155;ELP;HOU;WN;2268;HOU;SAT   WEST ALLEN            KS                     US   50326   125183135@AIRLINE.KIWI.COM
M9ECYX   9/23/2020   OB    12/1/2020   WN;747;SAT;DAL;WN;28;DAL;ELP      ASHLEYBURY            HI                     US   81113   125183179@AIRLINE.KIWI.COM
M9ECYX   9/23/2020   OB    12/1/2020   WN;747;SAT;DAL;WN;28;DAL;ELP      ASHLEYBURY            HI                     US   81113   125183179@AIRLINE.KIWI.COM
M9KWD7   9/23/2020   OB    9/29/2020   WN;2493;OAK;GEG                   PORT JACOB            MD                     US   90788   121673354.1462636@AIRLINE.KIWI.COM
MC7YPQ   9/23/2020   OB    10/9/2020   WN;2080;LAS;ELP                   NEW DARRYL            PA                     US   34163   125184994@AIRLINE.KIWI.COM
MD3NZ2   9/23/2020   OB   10/12/2020   WN;103;OAK;MDW                    NEW CRYSTAL           IN                     US   59264   125186094@AIRLINE.KIWI.COM
MF5VLM   9/23/2020   OB   11/12/2020   WN;2241;BWI;MHT                   CLAIRELAND            NE                     US   47282   125186974@AIRLINE.KIWI.COM
MF5VLM   9/23/2020   RT   11/17/2020   WN;2534;MHT;BWI                   CLAIRELAND            NE                     US   47282   125186974@AIRLINE.KIWI.COM
MFOS3C   9/23/2020   OB    9/29/2020   WN;2451;SAN;SJC                   P TUTAEV              VORONEZHSKAYA OBLAST   RU   53396   125187634@AIRLINE.KIWI.COM
MFOS3C   9/23/2020   RT    10/5/2020   WN;2633;SJC;SAN                   P TUTAEV              VORONEZHSKAYA OBLAST   RU   53396   125187634@AIRLINE.KIWI.COM
MIQAM9   9/23/2020   OB    9/24/2020   WN;2139;FLL;ATL                   HALECHESTER           AZ                     US   20957   125189251@AIRLINE.KIWI.COM
MJKDT7   9/23/2020   OB    9/24/2020   WN;1644;MSP;MDW;WN;2306;MDW;CMH   EAST CRYSTALVIEW      AL                     US   54114   125189284@AIRLINE.KIWI.COM
MJP3VO   9/24/2020   OB    9/25/2020   WN;2607;ATL;FLL                   EAST MATTHEWCHESTER   MN                     US   23034   125189713@AIRLINE.KIWI.COM
MNARY4   9/24/2020   OB   10/19/2020   WN;1959;MDW;CHS                   LAKE KATIEVIEW        AR                     US   91198   125191242@AIRLINE.KIWI.COM
MNARY4   9/24/2020   OB   10/19/2020   WN;1959;MDW;CHS                   LAKE KATIEVIEW        AR                     US   91198   125191242@AIRLINE.KIWI.COM
MNARY4   9/24/2020   OB   10/19/2020   WN;1959;MDW;CHS                   LAKE KATIEVIEW        AR                     US   91198   125191242@AIRLINE.KIWI.COM
MNARY4   9/24/2020   OB   10/19/2020   WN;1959;MDW;CHS                   LAKE KATIEVIEW        AR                     US   91198   125191242@AIRLINE.KIWI.COM
MPPMKD   9/24/2020   OB   12/22/2020   WN;235;DAL;TUL                    NUEVA IRAN            COLIMA                 MX   23219   125158176@AIRLINE.KIWI.COM
MPPMKD   9/24/2020   OB     1/7/2021   WN;196;TUL;HOU                    NUEVA IRAN            COLIMA                 MX   23219   125158176@AIRLINE.KIWI.COM
MPPMKD   9/24/2020   OB   12/22/2020   WN;235;DAL;TUL                    NUEVA IRAN            COLIMA                 MX   23219   125158176@AIRLINE.KIWI.COM
MPPMKD   9/24/2020   OB     1/7/2021   WN;196;TUL;HOU                    NUEVA IRAN            COLIMA                 MX   23219   125158176@AIRLINE.KIWI.COM
MQF675   9/24/2020   OB    10/7/2020   WN;1542;LAS;BWI                   SMITHFORT             OH                     US   34287   125192397@AIRLINE.KIWI.COM
MQMQ5V   9/24/2020   OB   10/12/2020   WN;1661;BWI;LAS                   LAKE JUSTIN           HI                     US   51612   125192397@AIRLINE.KIWI.COM
MR8IUU   9/24/2020   OB   12/18/2020   WN;1335;BNA;BWI;WN;915;BWI;PVD    NORTH ZACHARY         OK                     US   31045   125193024@AIRLINE.KIWI.COM
MS4N9O   9/24/2020   OB   10/11/2020   WN;6561;CHS;MDW                   NORTH STEVENLAND      LA                     US   97634   125193365@AIRLINE.KIWI.COM
MSK2H2   9/24/2020   OB    9/24/2020   WN;177;ATL;MSY                    SOUTH SUSAN           OH                     US   81330   125193332@AIRLINE.KIWI.COM
MSO6TX   9/24/2020   OB    11/7/2020   WN;3112;BWI;MHT                   TIMOTHYMOUTH          NJ                     US    4018   125193057@AIRLINE.KIWI.COM
MSYE59   9/24/2020   OB   11/18/2020   WN;3959;ATL;TPA                   POWERSLAND            MN                     US   99805   125193519@AIRLINE.KIWI.COM
MTZUYJ   9/24/2020   OB    9/24/2020   WN;1626;BWI;SDF                   NORTH MICHAELSHIRE    VT                     US   25500   125193772@AIRLINE.KIWI.COM
MU8DM4   9/24/2020   OB    9/27/2020   WN;1385;DEN;LAX                   LAKE ANON             NARATHIWAT             TH   21110   125194102@AIRLINE.KIWI.COM
MUBTHV   9/24/2020   OB   10/26/2020   WN;2340;MDW;DAL                   WILSONCHESTER         WI                     US   12825   125194278@AIRLINE.KIWI.COM
MUBTHV   9/24/2020   OB   10/26/2020   WN;2340;MDW;DAL                   WILSONCHESTER         WI                     US   12825   125194278@AIRLINE.KIWI.COM
MUBTHV   9/24/2020   OB   10/26/2020   WN;2340;MDW;DAL                   WILSONCHESTER         WI                     US   12825   125194278@AIRLINE.KIWI.COM
MUBTHV   9/24/2020   OB   10/26/2020   WN;2340;MDW;DAL                   WILSONCHESTER         WI                     US   12825   125194278@AIRLINE.KIWI.COM
MUBTHV   9/24/2020   OB   10/26/2020   WN;2340;MDW;DAL                   WILSONCHESTER         WI                     US   12825   125194278@AIRLINE.KIWI.COM
MUBTHV   9/24/2020   OB   10/26/2020   WN;2340;MDW;DAL                   WILSONCHESTER         WI                     US   12825   125194278@AIRLINE.KIWI.COM
MUGX8F   9/24/2020   OB   10/22/2020   WN;461;DAL;MDW                    SOUTH ERIK            OK                     US   42951   125194278@AIRLINE.KIWI.COM
MUGX8F   9/24/2020   OB   10/22/2020   WN;461;DAL;MDW                    SOUTH ERIK            OK                     US   42951   125194278@AIRLINE.KIWI.COM
MUGX8F   9/24/2020   OB   10/22/2020   WN;461;DAL;MDW                    SOUTH ERIK            OK                     US   42951   125194278@AIRLINE.KIWI.COM
MUGX8F   9/24/2020   OB   10/22/2020   WN;461;DAL;MDW                    SOUTH ERIK            OK                     US   42951   125194278@AIRLINE.KIWI.COM
MUGX8F   9/24/2020   OB   10/22/2020   WN;461;DAL;MDW                    SOUTH ERIK            OK                     US   42951   125194278@AIRLINE.KIWI.COM
MUGX8F   9/24/2020   OB   10/22/2020   WN;461;DAL;MDW                    SOUTH ERIK            OK                     US   42951   125194278@AIRLINE.KIWI.COM
MWO2YG   9/24/2020   OB   10/11/2020   WN;6314;PHX;SLC                   NORTH KRISTY          AR                     US   51911   125195246@AIRLINE.KIWI.COM
MXCLAL   9/24/2020   OB   12/28/2020   WN;281;ONT;DEN;WN;1510;DEN;OKC    PORT SAMUELMOUTH      WV                     US   78605   125195422@AIRLINE.KIWI.COM
MXP3TX   9/24/2020   OB    10/9/2020   WN;2545;MEM;ATL;WN;2545;ATL;JAX   JOHNSONBURGH          LA                     US    4024   125195532@AIRLINE.KIWI.COM
MXP3TX   9/24/2020   OB   10/10/2020   WN;116;ATL;BNA;WN;2529;BNA;JAX    JOHNSONBURGH          LA                     US    4024   125195532@AIRLINE.KIWI.COM
MYGBYV   9/24/2020   OB    11/6/2020   WN;226;CLE;MDW                    JONESBOROUGH          SC                     US   84205   125195818@AIRLINE.KIWI.COM
MYX4W8   9/24/2020   OB    11/6/2020   WN;226;CLE;MDW                    CASTROBERG            AK                     US   93991   125195829@AIRLINE.KIWI.COM
MZ7MYK   9/24/2020   OB    9/24/2020   WN;2116;LAX;SMF                   POWELLLAND            VT                     US   96676   125196049@AIRLINE.KIWI.COM
MZGOOB   9/24/2020   OB    9/24/2020   WN;2439;SFO;LAS                   DANNYVIEW             NC                     US   20125   125196137@AIRLINE.KIWI.COM
N2WH38   9/24/2020   OB   11/21/2020   WN;2412;LAS;ELP                   THOMASSTAD            GA                     US   71547   125196643@AIRLINE.KIWI.COM
N2WH38   9/24/2020   OB   11/21/2020   WN;2412;LAS;ELP                   THOMASSTAD            GA                     US   71547   125196643@AIRLINE.KIWI.COM
N39JVQ   9/24/2020   OB   11/26/2020   WN;3168;ELP;PHX;WN;1888;PHX;LAS   EAST ALEXANDER        WA                     US   96489   125196654@AIRLINE.KIWI.COM
N39JVQ   9/24/2020   OB   11/26/2020   WN;3168;ELP;PHX;WN;1888;PHX;LAS   EAST ALEXANDER        WA                     US   96489   125196654@AIRLINE.KIWI.COM
N4K5N4   9/24/2020   OB   10/20/2020   WN;2111;LAS;RNO                   NEW ANGELAMOUTH       HI                     US   77621   125197017@AIRLINE.KIWI.COM
N4K5N4   9/24/2020   OB   10/20/2020   WN;2111;LAS;RNO                   NEW ANGELAMOUTH       HI                     US   77621   125197017@AIRLINE.KIWI.COM
N4KD5U   9/24/2020   OB    9/25/2020   WN;2382;PHX;HOU                   DICKSONSTAD           IA                     US   37733   125197083@AIRLINE.KIWI.COM
N5Q7HZ   9/24/2020   OB    10/9/2020   WN;6637;FLL;DEN                   WEST BALATEKIN        ADIYAMAN               TR   62635   125197061@AIRLINE.KIWI.COM
N7NRNW   9/24/2020   OB    9/24/2020   WN;2439;SFO;LAS                   SHERRYBERG            ND                     US   46425   125198337@AIRLINE.KIWI.COM
N8IOKV   9/24/2020   OB    9/27/2020   WN;2280;OAK;DAL;WN;32;DAL;TUL     HARRYVIEW             CO                     US   41551   125199107@AIRLINE.KIWI.COM




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N8POSR   9/24/2020   OB    9/24/2020   WN;2439;SFO;LAS                   NORTH JESSE            WI                     US   50204   125199250@AIRLINE.KIWI.COM
N9XBRC   9/24/2020   OB    11/8/2020   WN;1289;DEN;SEA                   WAALWIJK               CA                     US   71921   125198799@AIRLINE.KIWI.COM
NAYH27   9/24/2020   OB   10/12/2020   WN;6750;ATL;MEM                   DIANECHESTER           AL                     US   20948   125199987@AIRLINE.KIWI.COM
NBDUXG   9/24/2020   OB    9/27/2020   WN;2374;PHX;LAX                   LAKE JAMIEMOUTH        SC                     US   40965   125200196@AIRLINE.KIWI.COM
NBHMRN   9/24/2020   OB    9/25/2020   WN;2522;SMF;LAX                   MICHAELVIEW            WY                     US   96660   125200493@AIRLINE.KIWI.COM
NCSEM5   9/24/2020   OB    10/9/2020   WN;2524;OAK;SNA                   JONFORT                NC                     US   13584   125201395@AIRLINE.KIWI.COM
NCVVED   9/24/2020   OB   10/10/2020   WN;1059;SNA;OAK                   PENNYSIDE              IN                     US   26002   125201461@AIRLINE.KIWI.COM
NDASW9   9/24/2020   OB    9/26/2020   WN;1866;CLT;BWI;WN;2597;BWI;BDL   WEST KELLY             MT                     US   41344   125201230@AIRLINE.KIWI.COM
NEN7H3   9/24/2020   OB    9/24/2020   WN;2349;SFO;SAN                   NEW STEPHANIE          CA                     US   25739   125201329@AIRLINE.KIWI.COM
NF687G   9/24/2020   OB    11/7/2020   WN;3820;LAX;BWI                   KLKH GORNOALTAISK      BELGORODSKAYA OBLAST   RU   11890   125202011@AIRLINE.KIWI.COM
NF687G   9/24/2020   OB    11/7/2020   WN;3820;LAX;BWI                   KLKH GORNOALTAISK      BELGORODSKAYA OBLAST   RU   11890   125202011@AIRLINE.KIWI.COM
NF687G   9/24/2020   OB    11/7/2020   WN;3820;LAX;BWI                   KLKH GORNOALTAISK      BELGORODSKAYA OBLAST   RU   11890   125202011@AIRLINE.KIWI.COM
NF687G   9/24/2020   OB    11/7/2020   WN;3820;LAX;BWI                   KLKH GORNOALTAISK      BELGORODSKAYA OBLAST   RU   11890   125202011@AIRLINE.KIWI.COM
NILYBD   9/24/2020   OB   10/10/2020   WN;2310;OAK;LAX                   MALY CEPCIN            TRNAVSKY KRAJ          SK   60689   125204123@AIRLINE.KIWI.COM
NK6QEY   9/24/2020   OB    9/24/2020   WN;2347;PHL;BNA;WN;116;BNA;AUS    MEDA                   BEJA                   PT   65671   125205267@AIRLINE.KIWI.COM
NKFPOL   9/24/2020   OB    9/26/2020   WN;1978;DEN;TUL                   LAKE CHRISTOPHERMOUT   WA                     US   89089   125205740@AIRLINE.KIWI.COM
O2IQTC   9/24/2020   OB   12/20/2020   WN;1039;SFO;LAX                   SAINTE EDOUARD         MEUSE                  FR   68579   125223175@AIRLINE.KIWI.COM
O2IQTC   9/24/2020   OB   12/20/2020   WN;1039;SFO;LAX                   SAINTE EDOUARD         MEUSE                  FR   68579   125223175@AIRLINE.KIWI.COM
O39OHI   9/24/2020   OB   12/27/2020   WN;3451;LAX;SFO                   SAINTE BERTRANDSURME   CORREZE                FR   86735   125223219@AIRLINE.KIWI.COM
O39OHI   9/24/2020   OB   12/27/2020   WN;3451;LAX;SFO                   SAINTE BERTRANDSURME   CORREZE                FR   86735   125223219@AIRLINE.KIWI.COM
O6YEBA   9/24/2020   OB    9/25/2020   WN;2418;ATL;HOU                   PORT ELLENVIEW         ID                     US   94778   125228928@AIRLINE.KIWI.COM
OA2KI8   9/24/2020   OB    9/28/2020   WN;35;MCO;DAL                     MICHELETON             KY                     US   61486   125233647@AIRLINE.KIWI.COM
OGGC8X   9/24/2020   OB   10/11/2020   WN;1178;ATL;MDW;WN;5645;MDW;PHL   WEST TIMOTHY           WY                     US   20447   125240588@AIRLINE.KIWI.COM
OM6TDM   9/24/2020   OB   10/10/2020   WN;1192;BDL;BWI;WN;2128;BWI;PBI   PORT SUE               MA                     US    7113   125247980@AIRLINE.KIWI.COM
OM6TDM   9/24/2020   OB   10/10/2020   WN;1192;BDL;BWI;WN;2128;BWI;PBI   PORT SUE               MA                     US    7113   125247980@AIRLINE.KIWI.COM
OMQHQ2   9/24/2020   OB    10/9/2020   WN;2612;PHL;ATL                   AMYBOROUGH             IL                     US   75398   125249102@AIRLINE.KIWI.COM
ON32S7   9/24/2020   OB   10/12/2020   WN;2171;ATL;PHL                   NORTH NICHOLASMOUTH    SD                     US   75812   125249102@AIRLINE.KIWI.COM
ONLHH7   9/24/2020   OB    9/28/2020   WN;2570;PVD;MDW;WN;1728;MDW;ABQ   SOUTH JAREDFORT        AK                     US   61931   125249916@AIRLINE.KIWI.COM
OP7P5A   9/24/2020   OB    9/25/2020   WN;225;BDL;BWI                    MARTINSHIRE            MN                     US   93427   125251511@AIRLINE.KIWI.COM
OP7P5A   9/24/2020   RT    9/27/2020   WN;2542;BWI;BDL                   MARTINSHIRE            MN                     US   93427   125251511@AIRLINE.KIWI.COM
OPMTC8   9/24/2020   OB    9/24/2020   WN;1661;BWI;LAS                   PINEDABURGH            MS                     US   31999   125251720@AIRLINE.KIWI.COM
OPMTC8   9/24/2020   OB    9/24/2020   WN;1661;BWI;LAS                   PINEDABURGH            MS                     US   31999   125251720@AIRLINE.KIWI.COM
OQ8C7P   9/24/2020   OB    9/25/2020   WN;2416;BWI;ATL                   TRNOVO                 TRNAVSKY KRAJ          SK   92634   125252600@AIRLINE.KIWI.COM
OU2ITM   9/24/2020   OB    9/27/2020   WN;1787;BWI;MDW;WN;2563;MDW;CMH   PERRYBERG              OK                     US   12173   125257165@AIRLINE.KIWI.COM
OUJURG   9/24/2020   OB    9/25/2020   WN;1837;LAX;AUS                   LAKE DONNA             UT                     US   96497   125257781@AIRLINE.KIWI.COM
OWP24C   9/24/2020   OB   11/11/2020   WN;3365;HOU;ATL;WN;4969;ATL;DCA   WEST CRYSTALTON        AK                     US   53847   125260685@AIRLINE.KIWI.COM
OXFY4S   9/24/2020   OB   10/15/2020   WN;2316;ELP;PHX                   JOHNMOUTH              HI                     US    8918   125261169@AIRLINE.KIWI.COM
OXFY4S   9/24/2020   OB   10/15/2020   WN;2316;ELP;PHX                   JOHNMOUTH              HI                     US    8918   125261169@AIRLINE.KIWI.COM
OXIK5P   9/24/2020   OB   11/13/2020   WN;6501;PHL;ATL                   ANDERSONBOROUGH        WA                     US     861   125261950@AIRLINE.KIWI.COM
OXIK5P   9/24/2020   OB   11/13/2020   WN;6501;PHL;ATL                   ANDERSONBOROUGH        WA                     US     861   125261950@AIRLINE.KIWI.COM
OXNG9N   9/24/2020   OB   10/26/2020   WN;3225;PHX;ELP                   VIEJA FILIPINAS        CAMPECHE               MX   71195   125261158@AIRLINE.KIWI.COM
OXNG9N   9/24/2020   OB   10/26/2020   WN;3225;PHX;ELP                   VIEJA FILIPINAS        CAMPECHE               MX   71195   125261158@AIRLINE.KIWI.COM
OZF4I8   9/24/2020   OB   10/16/2020   WN;1379;MDW;LAS                   LAKE MICHELLE          UT                     US   97824   125265085@AIRLINE.KIWI.COM
OZLW5P   9/24/2020   OB   10/19/2020   WN;2302;LAS;MDW                   NEW LOUIS              MO                     US   46113   125265085@AIRLINE.KIWI.COM
P2MLW5   9/24/2020   OB    9/25/2020   WN;1064;ATL;IAD                   WEST MELINDAPORT       KY                     US   74543   125266900@AIRLINE.KIWI.COM
P3DG5T   9/24/2020   OB   10/11/2020   WN;2456;ABQ;PHX                   CRYSTALFURT            VT                     US   73853   125267087@AIRLINE.KIWI.COM
P4B2EF   9/24/2020   OB   12/28/2020   WN;956;SAT;HOU;WN;956;HOU;ATL     WILLIAMSCHESTER        KY                     US   60981   125268231@AIRLINE.KIWI.COM
P57L6H   9/24/2020   OB   11/16/2020   WN;648;OAK;DEN                    NORTH ANTHONYSHIRE     MO                     US   97516   125269683@AIRLINE.KIWI.COM
P5FJLQ   9/24/2020   OB   11/13/2020   WN;501;DEN;OAK                    PHILLIPSTOWN           ID                     US    7566   125269683@AIRLINE.KIWI.COM
P5QCRQ   9/24/2020   OB    9/25/2020   WN;2635;ATL;MSY                   SOUTH ROBERT           MT                     US   40444   125269881@AIRLINE.KIWI.COM
P8ET28   9/24/2020   OB    9/25/2020   WN;2038;PHX;LAS                   WODZISLAW SLASKI       WARMINSKOMAZURSKIE     PL   84299   125274578@AIRLINE.KIWI.COM
PAE3BN   9/24/2020   OB    9/29/2020   WN;1964;TPA;FLL                   DAVIDPORT              NE                     US    9309   125276987@AIRLINE.KIWI.COM
PAHRQM   9/24/2020   OB   10/20/2020   WN;183;MDW;ATL                    SOUTH XAVIER           MT                     US   84465   125277438@AIRLINE.KIWI.COM
PB5R7U   9/24/2020   OB   10/12/2020   WN;2286;LAX;OAK                   LAKE THOMASCHESTER     PA                     US   61072   125278758@AIRLINE.KIWI.COM
PBOPTI   9/24/2020   OB   10/24/2020   WN;2118;LGA;MDW                   FITZPATRICKFORT        MT                     US   78519   125279066@AIRLINE.KIWI.COM
PBOPTI   9/24/2020   OB   10/24/2020   WN;2118;LGA;MDW                   FITZPATRICKFORT        MT                     US   78519   125279066@AIRLINE.KIWI.COM
PBZ84R   9/24/2020   OB    9/24/2020   WN;1330;AUS;HOU                   WEST REGINABOROUGH     MA                     US   48163   125279374@AIRLINE.KIWI.COM
PCMTBS   9/24/2020   OB   10/28/2020   WN;2103;OAK;LAS                   MICHELLEVIEW           MO                     US   85441   125280320@AIRLINE.KIWI.COM
PCMTBS   9/24/2020   OB   10/28/2020   WN;2103;OAK;LAS                   MICHELLEVIEW           MO                     US   85441   125280320@AIRLINE.KIWI.COM
PCN7EW   9/24/2020   OB    9/25/2020   WN;1493;LAS;SAT                   LAKE MELISSABOROUGH    OR                     US   51646   125279297@AIRLINE.KIWI.COM
PCV4ZT   9/24/2020   OB    10/8/2020   WN;6758;ATL;TPA                   TRAVISSIDE             SD                     US   56213   125280188@AIRLINE.KIWI.COM
PD39XY   9/24/2020   OB    9/25/2020   WN;1728;ATL;DEN                   PAYNETON               TX                     US   53543   125280100@AIRLINE.KIWI.COM
PELYH3   9/24/2020   OB   10/10/2020   WN;1874;RSW;BWI;WN;2271;BWI;BNA   NEW ALEXISTON          NY                     US   76670   125281937@AIRLINE.KIWI.COM
PJOIHR   9/24/2020   OB   12/21/2020   WN;1199;BWI;FLL                   NORTH LISA             CT                     US   42347   125288559@AIRLINE.KIWI.COM
PMX7DD   9/24/2020   OB    9/28/2020   WN;1770;LAX;SLC                   NESVADY                BRATISLAVSKY KRAJ      SK   99933   125292695@AIRLINE.KIWI.COM
POLDC3   9/24/2020   OB    10/1/2020   WN;600;PHX;DEN                    PORT NICHOLASPORT      RI                     US   76978   125293531@AIRLINE.KIWI.COM
PQG44L   9/24/2020   OB    10/2/2020   WN;1597;MDW;HOU                   SEXTONSTAD             NY                     US   85606   125296083@AIRLINE.KIWI.COM
PRH3WZ   9/24/2020   OB    10/9/2020   WN;1064;ATL;IAD                   NEW KEVINMOUTH         VA                     US   34716   125296556@AIRLINE.KIWI.COM
PTZDNY   9/24/2020   OB    10/3/2020   WN;1075;ATL;MDW;WN;1075;MDW;GRR   PORT ANTHONYSTAD       WY                     US   47259   125298756@AIRLINE.KIWI.COM
PUNYL3   9/24/2020   OB    10/3/2020   WN;1075;ATL;MDW;WN;1075;MDW;GRR   THOMASBERG             SD                     US    2709   125298756@AIRLINE.KIWI.COM
PVHY54   9/24/2020   OB    9/25/2020   WN;1177;SEA;DEN;WN;1979;DEN;SDF   LAKE THERESA           AR                     US   47039   125299229@AIRLINE.KIWI.COM
PX5PF5   9/24/2020   OB    9/25/2020   WN;2192;MDW;BWI;WN;1848;BWI;ALB   MARTINMOUTH            NJ                     US   67039   125300582@AIRLINE.KIWI.COM
PXKIHW   9/24/2020   OB   10/17/2020   WN;2078;LAS;ABQ                   LAKE CARL              DE                     US   26384   125300692@AIRLINE.KIWI.COM
PYR3LZ   9/24/2020   OB    12/1/2020   WN;453;GEG;OAK;WN;1387;OAK;LAX    NORTH JENNIFER         NY                     US   30813   125301253@AIRLINE.KIWI.COM
Q3ABCH   9/24/2020   OB    9/30/2020   WN;2426;AUS;HOU;WN;307;HOU;CUN    WEST CAROLYN           VT                     US   60171   125302364@AIRLINE.KIWI.COM
Q3O7AI   9/24/2020   OB    9/25/2020   WN;2171;ATL;PHL                   NORTH ROBERTATON       IL                     US   90185   125302375@AIRLINE.KIWI.COM
Q5PZLQ   9/25/2020   OB    9/25/2020   WN;2106;LAS;LAX                   COLETON                SD                     US   14105   125303805@AIRLINE.KIWI.COM
Q5PZLQ   9/25/2020   OB    9/25/2020   WN;2106;LAS;LAX                   COLETON                SD                     US   14105   125303805@AIRLINE.KIWI.COM
Q6L4ZR   9/25/2020   OB   11/18/2020   WN;5008;MEM;ATL;WN;1966;ATL;DEN   WILLIAMSONVILLE        GA                     US   81817   125303948@AIRLINE.KIWI.COM
Q6L4ZR   9/25/2020   OB   11/18/2020   WN;5008;MEM;ATL;WN;1966;ATL;DEN   WILLIAMSONVILLE        GA                     US   81817   125303948@AIRLINE.KIWI.COM
Q6XH2X   9/25/2020   OB    10/3/2020   WN;937;LAS;DAL                    SHANEHAVEN             SD                     US   89725   125304047@AIRLINE.KIWI.COM
Q7XMUU   9/25/2020   OB   10/15/2020   WN;2017;RIC;ATL                   WARRENSTAD             IN                     US   13816   125304542@AIRLINE.KIWI.COM
Q8W3FQ   9/25/2020   OB   10/12/2020   WN;864;ATL;LGA                    NICOLESIDE             IA                     US   58842   125304960@AIRLINE.KIWI.COM
Q8W3FQ   9/25/2020   OB   10/12/2020   WN;864;ATL;LGA                    NICOLESIDE             IA                     US   58842   125304960@AIRLINE.KIWI.COM
Q9BEI8   9/25/2020   OB   10/28/2020   WN;2086;LAS;SLC                   NUEVA KIRIBATI         AL                     US   74968   125304531@AIRLINE.KIWI.COM
Q9QXSP   9/25/2020   OB   12/29/2020   WN;773;DTW;BNA;WN;389;BNA;PHX     NEW KARENSIDE          PA                     US   32190   125305367@AIRLINE.KIWI.COM
QAMWY6   9/25/2020   OB    9/27/2020   WN;2567;DEN;ONT                   JUSTINLAND             FL                     US   55582   125305829@AIRLINE.KIWI.COM
QC8RWB   9/25/2020   OB    9/25/2020   WN;776;ATL;CMH                    LAGOS                  BRAGANCA               PT    1783   125306522@AIRLINE.KIWI.COM
QCAM95   9/25/2020   OB    9/26/2020   WN;2512;SMF;LAS                   SOUTH MARCUS           WI                     US   95119   125306291@AIRLINE.KIWI.COM
QE8IXN   9/25/2020   OB    9/26/2020   WN;1690;OAK;LAS                   EAST SHARONSTAD        SD                     US   84765   125307028@AIRLINE.KIWI.COM
QEUPLC   9/25/2020   OB    9/26/2020   WN;1626;SDF;MCO;WN;478;MCO;FLL    SOUTH WILLIAMVIEW      IA                     US   38195   125307600@AIRLINE.KIWI.COM
QG2O7C   9/25/2020   OB    10/8/2020   WN;782;MDW;SJC                    BALLFURT               KS                     US   44383   125307688@AIRLINE.KIWI.COM
QHRI8W   9/25/2020   OB   10/19/2020   WN;1667;CMH;MDW;WN;330;MDW;DEN    WEST SHARON            KY                     US   49198   125308678@AIRLINE.KIWI.COM
QJRHPB   9/25/2020   OB    9/25/2020   WN;2326;MSY;LAS                   LAKE APRILBURY         WI                     US    1443   125309206@AIRLINE.KIWI.COM
QJRHPB   9/25/2020   OB    9/25/2020   WN;2326;MSY;LAS                   LAKE APRILBURY         WI                     US    1443   125309206@AIRLINE.KIWI.COM
QJVISA   9/25/2020   OB    10/2/2020   WN;2570;MDW;HOU                   NEW ANTHONY            IN                     US   98896   125309162@AIRLINE.KIWI.COM
QJVISA   9/25/2020   RT    10/5/2020   WN;3399;HOU;MDW                   NEW ANTHONY            IN                     US   98896   125309162@AIRLINE.KIWI.COM
QLD3RP   9/25/2020   OB    12/7/2020   WN;2493;MCI;DAL                   GORZOW WIELKOPOLSKI    KUJAWSKOPOMORSKIE      PL   43465   125309404@AIRLINE.KIWI.COM
QLYHNG   9/25/2020   OB    9/25/2020   WN;865;PDX;SMF                    BEKESCSABA             DUNAUJVAROS            HU   59711   125309624@AIRLINE.KIWI.COM
QMXNXQ   9/25/2020   OB    9/30/2020   WN;3232;MCO;HOU                   DUNLAPTON              KILKENNY               IE   38203   125308854@AIRLINE.KIWI.COM
QMXNXQ   9/25/2020   OB    9/30/2020   WN;3232;MCO;HOU                   DUNLAPTON              KILKENNY               IE   38203   125308854@AIRLINE.KIWI.COM
QNIIMA   9/25/2020   OB   12/17/2020   WN;393;ELP;DAL                    NORTH DOUGLASVILLE     ID                     US   79612   125310449@AIRLINE.KIWI.COM
QNVJ63   9/25/2020   OB   12/31/2020   WN;1444;SAT;PHX;WN;1444;PHX;ELP   EAST ERIC              FL                     US   49691   125310581@AIRLINE.KIWI.COM
QP7OO9   9/25/2020   OB   11/13/2020   WN;999;FLL;HOU                    LAKE JAMESBURGH        MO                     US   98011   125311230@AIRLINE.KIWI.COM
QPA7O5   9/25/2020   OB   12/28/2020   WN;544;LGA;DAL                    EAST JAMESTOWN         TN                     US   69669   125311109@AIRLINE.KIWI.COM
QPA7O5   9/25/2020   OB   12/28/2020   WN;544;LGA;DAL                    EAST JAMESTOWN         TN                     US   69669   125311109@AIRLINE.KIWI.COM
QPBT6E   9/25/2020   OB    9/25/2020   WN;2116;LAX;SMF                   CARRIEMOUTH            DE                     US   10030   125310911@AIRLINE.KIWI.COM




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QPXJIY   9/25/2020   OB   11/12/2020   WN;1480;BUR;DAL                   ROBERTVIEW             NY                  US    99427   125311340@AIRLINE.KIWI.COM
QPXJIY   9/25/2020   RT   11/15/2020   WN;1319;DAL;BUR                   ROBERTVIEW             NY                  US    99427   125311340@AIRLINE.KIWI.COM
QR5VWB   9/25/2020   OB    9/26/2020   WN;762;LAS;PHX                    ANTHONYFURT            WV                  US    73529   125312132@AIRLINE.KIWI.COM
QSK2BG   9/25/2020   OB    12/2/2020   WN;2247;CLT;BWI                   LAKE ELIANMOUTH        VELIKO TARNOVO      BG    34631   125312935@AIRLINE.KIWI.COM
QTNF4S   9/25/2020   OB    10/2/2020   WN;166;SEA;DEN                    WEST ELIZABETHVILLE    AL                  US    82744   125313166@AIRLINE.KIWI.COM
QUNNJC   9/25/2020   OB    10/2/2020   WN;166;SEA;DEN                    CONNERMOUTH            CA                  US    69784   125313793@AIRLINE.KIWI.COM
QUQ84J   9/25/2020   OB    9/25/2020   WN;2123;MDW;HOU                   WEST CHRISTOPHERMOUT   NC                  US    15109   125314134@AIRLINE.KIWI.COM
QUZHUA   9/25/2020   OB    9/26/2020   WN;1798;LAS;PHX                   NEW JENNA              UT                  US    97041   125314233@AIRLINE.KIWI.COM
QVP7K6   9/25/2020   OB    9/25/2020   WN;776;ATL;CMH                    STEVENFORT             KS                  US    83669   125314277@AIRLINE.KIWI.COM
QVPD3R   9/25/2020   OB    9/25/2020   WN;2064;ATL;BWI;WN;1874;BWI;ORF   LUISTON                TN                  US    47135   125314420@AIRLINE.KIWI.COM
QWKTVQ   9/25/2020   OB    9/25/2020   WN;1498;TPA;BNA                   NEW JONATHAN           RI                  US    56596   125314574@AIRLINE.KIWI.COM
QXIQ99   9/25/2020   OB    10/1/2020   WN;144;LAX;LAS;WN;114;LAS;MAF     PORT JOSEPHVILLE       MD                  US    38504   125315465@AIRLINE.KIWI.COM
QYARZ5   9/25/2020   OB    9/28/2020   WN;2124;BHM;DEN;WN;2078;DEN;BUR   WEST SARAHBURGH        NJ                  US    87319   125315443@AIRLINE.KIWI.COM
R5PZOB   9/25/2020   OB    10/6/2020   WN;2567;LAS;STL                   WEBERBERG              MD                  US    85123   125318622@AIRLINE.KIWI.COM
R9BUXO   9/25/2020   OB    12/2/2020   WN;3927;LAX;PHX;WN;4079;PHX;BNA   NUEVA ARGELIA          CA                  US    96961   125309822@AIRLINE.KIWI.COM
R9BUXO   9/25/2020   OB    12/2/2020   WN;3927;LAX;PHX;WN;4079;PHX;BNA   NUEVA ARGELIA          CA                  US    96961   125309822@AIRLINE.KIWI.COM
RNT8GY   9/25/2020   OB   10/10/2020   WN;27;DAL;HOU                     DUNLAPVILLE            AR                  US    91548   125334693@AIRLINE.KIWI.COM
RNWKRI   9/25/2020   OB    9/25/2020   WN;2255;IAD;ATL                   SABRINASHIRE           MN                  US    38554   125334836@AIRLINE.KIWI.COM
RS64C4   9/25/2020   OB    9/28/2020   WN;273;MBJ;MCO;WN;2426;MCO;FLL    WEST ERIC              WV                  US    26705   125338796@AIRLINE.KIWI.COM
RS64C4   9/25/2020   OB    9/28/2020   WN;273;MBJ;MCO;WN;2426;MCO;FLL    WEST ERIC              WV                  US    26705   125338796@AIRLINE.KIWI.COM
RSZ3AZ   9/25/2020   OB    9/25/2020   WN;1551;FLL;BWI;WN;2542;BWI;BDL   ANTHONYMOUTH           VT                  US    19946   125339577@AIRLINE.KIWI.COM
RYSIJG   9/25/2020   OB    9/25/2020   WN;2371;MSP;MDW                   RIMANTEFURT            SIAULIU APSKRITIS   LT    19242   125346023@AIRLINE.KIWI.COM
S3BMNT   9/25/2020   OB   10/23/2020   WN;2266;MDW;MEM                   SOUTH ANNE             AK                  US    74248   125348366@AIRLINE.KIWI.COM
S3BMNT   9/25/2020   RT   10/27/2020   WN;2165;MEM;MDW                   SOUTH ANNE             AK                  US    74248   125348366@AIRLINE.KIWI.COM
S4G4GY   9/25/2020   OB    11/1/2020   WN;6882;MCO;MEM                   TIMOTHYVIEW            ND                  US    80400   125349961@AIRLINE.KIWI.COM
S4G4GY   9/25/2020   OB    11/1/2020   WN;6882;MCO;MEM                   TIMOTHYVIEW            ND                  US    80400   125349961@AIRLINE.KIWI.COM
S786X7   9/25/2020   OB   11/25/2020   WN;2191;BWI;ALB                   LAKE RICHARD           NH                  US    41236   125353459@AIRLINE.KIWI.COM
S7BLUU   9/25/2020   OB    9/25/2020   WN;928;IAD;ATL                    SOUTH MICHAEL          MN                  US    72062   125353536@AIRLINE.KIWI.COM
S7BLUU   9/25/2020   OB    9/25/2020   WN;928;IAD;ATL                    SOUTH MICHAEL          MN                  US    72062   125353536@AIRLINE.KIWI.COM
S89PJU   9/25/2020   OB   11/28/2020   WN;713;ALB;BWI                    PORT CHELSEAFURT       RI                  US    44177   125354229@AIRLINE.KIWI.COM
S97EOY   9/25/2020   OB    10/9/2020   WN;2122;LGA;ATL                   LAKE TONYAPORT         SD                  US    59429   125356154@AIRLINE.KIWI.COM
S97EOY   9/25/2020   RT   10/12/2020   WN;864;ATL;LGA                    LAKE TONYAPORT         SD                  US    59429   125356154@AIRLINE.KIWI.COM
S9FTUV   9/25/2020   OB    9/27/2020   WN;1192;BDL;BWI;WN;2128;BWI;PBI   ANDREWCHESTER          OR                  US    48543   125355879@AIRLINE.KIWI.COM
SBC9OQ   9/25/2020   OB    1/10/2021   WN;1917;BWI;PBI                   NORTH GABRIELLE        MD                  US    95200   125358530@AIRLINE.KIWI.COM
SBY484   9/25/2020   OB    9/25/2020   WN;120;MSP;DEN                    JOHNSONSTAD            MI                  US    14313   125358827@AIRLINE.KIWI.COM
SC68OM   9/25/2020   OB    1/17/2021   WN;4494;PBI;BWI                   NEW MICHAEL            MN                  US    88444   125358552@AIRLINE.KIWI.COM
SD54UP   9/25/2020   OB    9/25/2020   WN;2642;DTW;BWI;WN;944;BWI;FLL    ANTHONYFORT            MA                  US    18153   125360378@AIRLINE.KIWI.COM
SELEMP   9/25/2020   OB    9/26/2020   WN;676;LAX;DAL                    VICTORIAMOUTH          MD                  US    34474   125362292@AIRLINE.KIWI.COM
SHVUXH   9/25/2020   OB    9/25/2020   WN;1015;STL;BWI                   LOUISFURT              MD                  US    87590   125365680@AIRLINE.KIWI.COM
SI9G3C   9/25/2020   OB    9/29/2020   WN;2064;GRR;DEN                   PORT BARBARAFURT       OH                  US    93192   125366406@AIRLINE.KIWI.COM
SI9G3C   9/25/2020   RT   10/16/2020   WN;2091;DEN;GRR                   PORT BARBARAFURT       OH                  US    93192   125366406@AIRLINE.KIWI.COM
SIWGER   9/25/2020   OB    11/6/2020   WN;1246;PHX;DAL                   GARDNERVILLE           AR                  US    22727   125366593@AIRLINE.KIWI.COM
SKFPHT   9/25/2020   OB    12/6/2020   WN;2938;ATL;PHL                   NORTH KELLY            FL                  US     4120   125368023@AIRLINE.KIWI.COM
SKFPHT   9/25/2020   OB    12/6/2020   WN;2938;ATL;PHL                   NORTH KELLY            FL                  US     4120   125368023@AIRLINE.KIWI.COM
SMK86Y   9/25/2020   OB   11/29/2020   WN;2605;RDU;ATL                   EAST CHARLESPORT       MD                  US     1731   125370696@AIRLINE.KIWI.COM
SMZCMZ   9/25/2020   OB    9/28/2020   WN;864;ATL;LGA                    EAST SARAHSHIRE        OK                  US    18679   125371158@AIRLINE.KIWI.COM
SND7IP   9/25/2020   OB    9/25/2020   WN;710;ELP;LAS                    LAKE MARYCHESTER       WA                  US    38396   125371169@AIRLINE.KIWI.COM
SOFCYD   9/25/2020   OB   11/28/2020   WN;1663;BHM;MCO                   DAVIDBOROUGH           MN                  US    61691   125371631@AIRLINE.KIWI.COM
SP5LMJ   9/25/2020   OB    9/27/2020   WN;2405;SJU;BWI;WN;1877;BWI;BUF   ORIMATTILA             ETELAKARJALA        FI    56560   125373292@AIRLINE.KIWI.COM
SQ9G9R   9/25/2020   OB    10/4/2020   WN;1984;MDW;MSP                   EAST BRANDON           MO                  US    76045   125374073@AIRLINE.KIWI.COM
STBPBO   9/25/2020   OB    9/26/2020   WN;2116;LAX;SMF                   NATHANHAVEN            IN                  US    93306   125377010@AIRLINE.KIWI.COM
SVST9O   9/25/2020   OB     1/3/2021   WN;4194;BWI;DEN                   HERRINGHAVEN           GA                  US    83081   125379903@AIRLINE.KIWI.COM
SWVCOS   9/25/2020   OB     1/7/2021   WN;3611;HOU;MDW                   VIEJA REPUBLICA ARAB   PUEBLA              MX    97328   125381190@AIRLINE.KIWI.COM
SWVCOS   9/25/2020   OB     1/7/2021   WN;3611;HOU;MDW                   VIEJA REPUBLICA ARAB   PUEBLA              MX    97328   125381190@AIRLINE.KIWI.COM
SWYP5Y   9/25/2020   OB    10/3/2020   WN;1938;OAK;LAS                   SHAWNLAND              MO                  US     5867   125381531@AIRLINE.KIWI.COM
SXPDX9   9/25/2020   OB   12/10/2020   WN;4928;MDW;HOU                   VIEJA PALAU            TLAXCALA            MX    90294   125381190@AIRLINE.KIWI.COM
SXPDX9   9/25/2020   OB   12/10/2020   WN;4928;MDW;HOU                   VIEJA PALAU            TLAXCALA            MX    90294   125381190@AIRLINE.KIWI.COM
T3QJJ5   9/25/2020   OB    9/27/2020   WN;6859;SLC;MDW;WN;2269;MDW;PVD   NEW JESSICALAND        OH                  US    61250   125385458@AIRLINE.KIWI.COM
T4FXT4   9/25/2020   OB     2/8/2021   WN;5035;SJU;FLL                   KOLARI                 KESKIPOHJANMAA      FI    50380   125385865@AIRLINE.KIWI.COM
T4MX9D   9/25/2020   OB   10/30/2020   WN;2017;RIC;ATL                   CARRILLOBURY           OH                  US    21776   125386305@AIRLINE.KIWI.COM
T4MX9D   9/25/2020   OB   10/30/2020   WN;2017;RIC;ATL                   CARRILLOBURY           OH                  US    21776   125386305@AIRLINE.KIWI.COM
T54GRQ   9/25/2020   OB    9/30/2020   WN;2341;PDX;OAK;WN;1986;OAK;SNA   LESTERSHIRE            OR                  US    38003   125386580@AIRLINE.KIWI.COM
T54GRQ   9/25/2020   RT   10/15/2020   WN;1340;SNA;OAK;WN;100;OAK;PDX    LESTERSHIRE            OR                  US    38003   125386580@AIRLINE.KIWI.COM
T5YOPP   9/25/2020   OB    10/1/2020   WN;47;DAL;HOU                     PATRICIABURY           AL                  US    48788   125384468@AIRLINE.KIWI.COM
T9XBGA   9/25/2020   OB    9/26/2020   WN;1837;SFO;LAX                   LAKE JULIAPORT         NJ                  US    41769   125390177@AIRLINE.KIWI.COM
T9XBGA   9/25/2020   RT    10/6/2020   WN;1696;LAX;SFO                   LAKE JULIAPORT         NJ                  US    41769   125390177@AIRLINE.KIWI.COM
T9ZC28   9/25/2020   OB    9/30/2020   WN;1830;ROC;BWI;WN;1661;BWI;LAS   HERNANDEZBURGH         WI                  US     2739   125389836@AIRLINE.KIWI.COM
TAYLOP   9/25/2020   OB    9/26/2020   WN;928;ATL;FLL                    NEWARK                 NJ                  US     7114   125389671@AIRLINE.KIWI.COM
TBUFEK   9/25/2020   OB    9/30/2020   WN;2621;FLL;MCO;WN;2621;MCO;RDU   WELCHLAND              CO                  US    84892   125391079@AIRLINE.KIWI.COM
TCEHVO   9/25/2020   OB    3/13/2021   WN;2280;LGA;BNA;WN;2549;BNA;MCO   KARIMOUTH              PA                  US    83140   125391761@AIRLINE.KIWI.COM
TCEHVO   9/25/2020   OB    3/13/2021   WN;2280;LGA;BNA;WN;2549;BNA;MCO   KARIMOUTH              PA                  US    83140   125391761@AIRLINE.KIWI.COM
TCOXVF   9/25/2020   OB    11/3/2020   WN;36;MDW;MSY                     NEW JUSTIN             KY                  US    57124   125392113@AIRLINE.KIWI.COM
TDNH5W   9/25/2020   OB   10/27/2020   WN;112;ATL;RDU                    LAKE DAWNTOWN          OH                  US    41051   125392586@AIRLINE.KIWI.COM
TDNH5W   9/25/2020   OB   10/27/2020   WN;112;ATL;RDU                    LAKE DAWNTOWN          OH                  US    41051   125392586@AIRLINE.KIWI.COM
TE7VYY   9/25/2020   OB    10/3/2020   WN;140;BOS;BNA;WN;2505;BNA;MDW    BRYCEMOUTH             WI                  US    71159   125392806@AIRLINE.KIWI.COM
TE7VYY   9/25/2020   OB    10/3/2020   WN;140;BOS;BNA;WN;2505;BNA;MDW    BRYCEMOUTH             WI                  US    71159   125392806@AIRLINE.KIWI.COM
TEE74B   9/25/2020   OB    9/26/2020   WN;1799;PVD;DCA                   TURNERCHESTER          WA                  US    74005   125392718@AIRLINE.KIWI.COM
TFOJUK   9/25/2020   OB    10/5/2020   WN;1780;FLL;ATL;WN;1187;ATL;MEM   MELISSABURY            VA                  US    60490   125390595@AIRLINE.KIWI.COM
TFOJUK   9/25/2020   OB    10/5/2020   WN;1780;FLL;ATL;WN;1187;ATL;MEM   MELISSABURY            VA                  US    60490   125390595@AIRLINE.KIWI.COM
TI27G5   9/25/2020   OB   10/18/2020   WN;110;SAT;PHX;WN;110;PHX;SLC     RANDOLPHSTAD           LA                  US    97446   125394522@AIRLINE.KIWI.COM
TML8KH   9/26/2020   OB    10/1/2020   WN;1286;SJU;TPA                   EAST SARAH             UT                  US    97901   125396194@AIRLINE.KIWI.COM
TMLJ5C   9/26/2020   OB    10/9/2020   WN;909;LGA;ATL                    NORTH JOHNHAVEN        CA                  US     5383   125395886@AIRLINE.KIWI.COM
TNSGPH   9/26/2020   OB   10/11/2020   WN;1969;DEN;TUS                   CATHERINECHESTER       TN                  US    24067   125396755@AIRLINE.KIWI.COM
TO89SO   9/26/2020   OB   10/11/2020   WN;2461;OAK;HOU                   GABRIELALAND           LA                  US    44276   125396678@AIRLINE.KIWI.COM
TO89SO   9/26/2020   OB   10/11/2020   WN;2461;OAK;HOU                   GABRIELALAND           LA                  US    44276   125396678@AIRLINE.KIWI.COM
TP6GRC   9/26/2020   OB   10/11/2020   WN;6749;DEN;DSM                   DENNISCHESTER          AL                  US    57454   125396656@AIRLINE.KIWI.COM
TPZCSK   9/26/2020   OB   10/17/2020   WN;1551;SAN;SFO                   HALLTOWN               NH                  US     3442   125397250@AIRLINE.KIWI.COM
TQAH8J   9/26/2020   OB   10/19/2020   WN;2349;SFO;SAN                   PORT MICHAEL           OR                  US     2934   125397404@AIRLINE.KIWI.COM
TQBOVH   9/26/2020   OB   11/12/2020   WN;1583;ATL;HOU                   LAKE DAWNHAVEN         TN                  US    83560   125397349@AIRLINE.KIWI.COM
TQBOVH   9/26/2020   RT   11/15/2020   WN;492;HOU;ATL                    LAKE DAWNHAVEN         TN                  US    83560   125397349@AIRLINE.KIWI.COM
TUT3CQ   9/26/2020   OB   10/10/2020   WN;1108;OAK;LAX                   DAVIDBURY              NH                  US    40053   125399021@AIRLINE.KIWI.COM
TW89OF   9/26/2020   OB    9/26/2020   WN;961;DCA;BNA;WN;665;BNA;ATL     LAKE ROBINBURY         MA                  US    46919   125399571@AIRLINE.KIWI.COM
TYFWLK   9/26/2020   OB    9/26/2020   WN;2330;FLL;TPA;WN;2178;TPA;LAS   ELIZABETHSHIRE         AL                  US    80487   125400528@AIRLINE.KIWI.COM
TZG9CK   9/26/2020   OB    9/26/2020   WN;928;ATL;FLL                    CATHERINEMOUTH         IA                  US    14835   125400374@AIRLINE.KIWI.COM
U2NDVC   9/26/2020   OB    9/26/2020   WN;2255;ATL;MCO                   WEST CONNIEHAVEN       CT                  US    93292   125401155@AIRLINE.KIWI.COM
U2NDVC   9/26/2020   OB    9/26/2020   WN;2255;ATL;MCO                   WEST CONNIEHAVEN       CT                  US    93292   125401155@AIRLINE.KIWI.COM
U2WSTK   9/26/2020   OB    9/26/2020   WN;2293;OAK;DEN                   MITCHELLMOUTH          IA                  US    39693   125401309@AIRLINE.KIWI.COM
U3K7T7   9/26/2020   OB   10/14/2020   WN;710;ELP;LAS                    JOHNVIEW               MD                  US    56166   125401375@AIRLINE.KIWI.COM
U3M3S7   9/26/2020   OB    9/26/2020   WN;151;DEN;CLE                    JENNIFERSHIRE          NH                  US    55008   125401309@AIRLINE.KIWI.COM
U3W2LZ   9/26/2020   OB   11/12/2020   WN;338;OAK;LAS                    GRAHAMSIDE             MS                  US    60308   125401650@AIRLINE.KIWI.COM
U3W2LZ   9/26/2020   OB   11/12/2020   WN;338;OAK;LAS                    GRAHAMSIDE             MS                  US    60308   125401650@AIRLINE.KIWI.COM
U4E6KT   9/26/2020   OB   10/17/2020   WN;312;DAL;LAS                    EAST ROBERTSIDE        IA                  US      641   125401749@AIRLINE.KIWI.COM
U59UV6   9/26/2020   OB    12/2/2020   WN;4099;STL;ATL                   SONYABOROUGH           OR                  US    85053   125401947@AIRLINE.KIWI.COM
U5A98G   9/26/2020   OB   11/21/2020   WN;2271;ATL;STL                   NEW JOSEPHVILLE        IN                  US    44584   125401936@AIRLINE.KIWI.COM
U5YMMK   9/26/2020   OB    9/27/2020   WN;2487;PDX;SMF                   LAKE CRYSTAL           IA                  US    50240   125402431@AIRLINE.KIWI.COM
U7C9JB   9/26/2020   OB   10/14/2020   WN;2068;TPA;ATL;WN;2068;ATL;RIC   HANNAHFURT             NV                  US    62076   125402684@AIRLINE.KIWI.COM
U8F2SR   9/26/2020   OB    9/26/2020   WN;2113;DTW;BNA;WN;2272;BNA;FLL   NEW BRYANBURGH         CT                  US    75546   125403047@AIRLINE.KIWI.COM




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U8SKD4   9/26/2020   OB    10/1/2020   WN;2566;ONT;LAS                       SOUTH KRISTEN          TN                      US   99339   125403256@AIRLINE.KIWI.COM
U95A3U   9/26/2020   OB   10/13/2020   WN;1591;ATL;BWI                       ARNSTADT               AL                      US   37337   125401738@AIRLINE.KIWI.COM
U9Z89B   9/26/2020   OB    9/26/2020   WN;1780;FLL;ATL                       SOUTH LAURA            DE                      US   86418   125403487@AIRLINE.KIWI.COM
UGTBAC   9/26/2020   OB   11/26/2020   WN;2298;DEN;LAS                       KATHERINEBURY          MS                      US   68159   125405599@AIRLINE.KIWI.COM
UNGQRV   9/26/2020   OB    12/1/2020   WN;1054;ATL;PHL                       HERNANDEZLAND          TX                      US   10303   125408195@AIRLINE.KIWI.COM
VBT7O9   9/26/2020   OB    9/29/2020   WN;2004;BWI;ATL                       TERRYBURY              AA                      US   53230   125343735@AIRLINE.KIWI.COM
VLPKH9   9/26/2020   OB    9/26/2020   WN;127;ATL;MCO                        LAKE TODD              MI                      US   86836   125433011@AIRLINE.KIWI.COM
VRCYFZ   9/26/2020   OB    9/26/2020   WN;928;ATL;FLL                        LAURATON               TN                      US   98451   125437455@AIRLINE.KIWI.COM
VRIHFY   9/26/2020   OB    11/8/2020   WN;127;PHX;CMH;WN;127;CMH;BNA         WEST MICHEALTOWN       PA                      US   43314   125437939@AIRLINE.KIWI.COM
VSW3XO   9/26/2020   OB   10/26/2020   WN;1152;HOU;ATL                       EAST JOHN              MN                      US   36342   125439325@AIRLINE.KIWI.COM
VUAM42   9/26/2020   OB   10/29/2020   WN;2319;OMA;MDW                       BLAKECHESTER           UT                      US   49340   125440161@AIRLINE.KIWI.COM
W5APIB   9/26/2020   OB    9/27/2020   WN;2607;ATL;FLL                       WASHINGTONMOUTH        AL                      US   20631   125447190@AIRLINE.KIWI.COM
W78NIO   9/26/2020   OB   10/23/2020   WN;2612;ATL;MCO                       SNYDERLAND             HI                      US   15037   125448686@AIRLINE.KIWI.COM
W7ITIN   9/26/2020   OB   10/25/2020   WN;2345;MCO;ATL                       BRITTANYSHIRE          DE                      US   14770   125448686@AIRLINE.KIWI.COM
W868YP   9/26/2020   OB    9/26/2020   WN;2069;LAX;DAL                       ROBERTSMOUTH           AR                      US   84711   125443857@AIRLINE.KIWI.COM
WA7G7Y   9/26/2020   OB    11/4/2020   WN;6113;MDW;CHS                       WEST HOLLYMOUTH        WI                      US   78978   125451436@AIRLINE.KIWI.COM
WA9HTY   9/26/2020   OB    11/4/2020   WN;3223;LAS;MDW                       SAMANTHAVIEW           RI                      US   21803   125451436@AIRLINE.KIWI.COM
WAMAOP   9/26/2020   OB   10/28/2020   WN;1894;CHS;BNA;WN;122;BNA;DEN        CHRISTINESTAD          WV                      US   54535   125451436@AIRLINE.KIWI.COM
WARQS2   9/26/2020   OB   10/28/2020   WN;3004;DEN;LAS                       THOMPSONSIDE           NY                      US   80844   125451436@AIRLINE.KIWI.COM
WCHKNM   9/26/2020   OB    9/27/2020   WN;840;LGB;SMF                        EAST ERIC              ID                      US   24041   125455143@AIRLINE.KIWI.COM
WCJ3T3   9/26/2020   OB    10/5/2020   WN;1537;SMF;LGB                       WEST CASSANDRA         KS                      US   46078   125455143@AIRLINE.KIWI.COM
WCJKJW   9/26/2020   OB   11/13/2020   WN;1326;LAX;HOU;WN;1326;HOU;MSY       WEST WENDYBOROUGH      WA                      US   95351   125454417@AIRLINE.KIWI.COM
WCJKJW   9/26/2020   OB   11/13/2020   WN;1326;LAX;HOU;WN;1326;HOU;MSY       WEST WENDYBOROUGH      WA                      US   95351   125454417@AIRLINE.KIWI.COM
WE7QBC   9/26/2020   OB   11/13/2020   WN;565;CLT;DAL                        OCONNELLTON            ME                      US   76286   125456287@AIRLINE.KIWI.COM
WE7QBC   9/26/2020   OB   11/13/2020   WN;565;CLT;DAL                        OCONNELLTON            ME                      US   76286   125456287@AIRLINE.KIWI.COM
WE7QBC   9/26/2020   RT   11/16/2020   WN;1046;DAL;CLT                       OCONNELLTON            ME                      US   76286   125456287@AIRLINE.KIWI.COM
WE7QBC   9/26/2020   RT   11/16/2020   WN;1046;DAL;CLT                       OCONNELLTON            ME                      US   76286   125456287@AIRLINE.KIWI.COM
WGJY4F   9/26/2020   OB    9/27/2020   WN;797;LAX;OAK                        EDDIEPORT              AP                      US   21929   125458366@AIRLINE.KIWI.COM
WI2IVD   9/26/2020   OB    10/8/2020   WN;2383;OAK;LAX                       NORTH BELLMORE         NY                      US   11710   125459983@AIRLINE.KIWI.COM
WI2IVD   9/26/2020   OB    10/8/2020   WN;2383;OAK;LAX                       WALTERBERG             OK                      US   16157   125459983@AIRLINE.KIWI.COM
WIKK8U   9/26/2020   OB    9/30/2020   WN;103;BNA;HOU                        COPELANDTOWN           NJ                      US   12230   125460621@AIRLINE.KIWI.COM
WJ2JQY   9/26/2020   OB   10/17/2020   WN;2326;MSY;LAS                       NORTH ELLEN            TX                      US   71516   125456254@AIRLINE.KIWI.COM
WKK6UJ   9/26/2020   OB    9/29/2020   WN;2607;FLL;HOU                       THOMASBURY             DE                      US   75669   125461545@AIRLINE.KIWI.COM
WNXHDU   9/26/2020   OB   10/12/2020   WN;1799;PVD;DCA                       CALHOUNBURGH           AL                      US   89422   125463327@AIRLINE.KIWI.COM
WTJ8W4   9/26/2020   OB    9/27/2020   WN;1923;BWI;ROC                       WEST DEAN              ND                      US   77667   125466121@AIRLINE.KIWI.COM
WTX7BE   9/26/2020   OB    9/30/2020   WN;2472;SFO;LAX                       SHEN JIN DAO CUN       MIYAZAKI                JP   58357   125466517@AIRLINE.KIWI.COM
WUQTPJ   9/26/2020   OB    10/9/2020   WN;2436;BNA;CLE                       NEW BRIAN              ID                      US   72826   125467045@AIRLINE.KIWI.COM
WXE4X9   9/26/2020   OB   11/29/2020   WN;1633;RDU;MDW                       WEST JULIEHAVEN        ND                      US   14394   125468574@AIRLINE.KIWI.COM
WXNFT3   9/26/2020   OB   11/29/2020   WN;1633;RDU;MDW                       LAKE HENRY             HI                      US   58491   125468574@AIRLINE.KIWI.COM
WYQD35   9/26/2020   OB    11/6/2020   WN;531;BNA;ECP                        JUOZASSHIRE            KLAIPEDOS APSKRITIS     LT   79695   125469014@AIRLINE.KIWI.COM
WZ7M8H   9/26/2020   OB    11/9/2020   WN;1213;ECP;BNA                       PORT ARTHURFORT        UPPER WEST              GH   12112   125469069@AIRLINE.KIWI.COM
J2ZP4H   9/27/2020   OB    12/5/2020   WN;2099;ATL;MCO                       FULLERCHESTER          VA                      US   46509   125469938@AIRLINE.KIWI.COM
J4OWDK   9/27/2020   OB    9/27/2020   WN;3336;SEA;OAK;WN;3339;OAK;BUR       NEW KEVIN              FL                      US   66489   125470004@AIRLINE.KIWI.COM
J4QL9A   9/27/2020   OB    10/9/2020   WN;909;LGA;ATL                        WILLIAMMOUTH           MT                      US   15649   125470488@AIRLINE.KIWI.COM
J5F8DT   9/27/2020   OB    9/30/2020   WN;1691;DEN;LAS                       SOUTH LAURA            OK                      US   74683   125470895@AIRLINE.KIWI.COM
J5F8DT   9/27/2020   OB    9/30/2020   WN;1691;DEN;LAS                       SOUTH LAURA            OK                      US   74683   125470895@AIRLINE.KIWI.COM
J685IO   9/27/2020   OB    10/4/2020   WN;2225;MDW;MSP                       NEW SUSANSHIRE         WI                      US   88576   125471126@AIRLINE.KIWI.COM
J6OPFI   9/27/2020   OB    10/2/2020   WN;1997;MSP;MDW                       RODRIGUEZMOUTH         ID                      US   53608   125471126@AIRLINE.KIWI.COM
J7FYJI   9/27/2020   OB   10/27/2020   WN;1286;SJU;TPA                       OLEAS                  VESTFOLD                NO   52131   125471401@AIRLINE.KIWI.COM
J7Y8DK   9/27/2020   OB    9/27/2020   WN;1486;BNA;MDW                       PORT LINDA             KY                      US   28388   125471841@AIRLINE.KIWI.COM
JDPMR7   9/27/2020   OB    10/1/2020   WN;100;SAN;OAK                        DIXONBURGH             RI                      US   52413   125473216@AIRLINE.KIWI.COM
JDU892   9/27/2020   OB    9/28/2020   WN;3338;BNA;MCI                       DIAZFURT               UT                      US   95365   125473117@AIRLINE.KIWI.COM
JEIA65   9/27/2020   OB   11/18/2020   WN;3767;LAX;DAL;WN;1722;DAL;HOU;WN;256EAST LISABURY          OR                      US   71615   125473392@AIRLINE.KIWI.COM
JGDQLA   9/27/2020   OB   10/19/2020   WN;2080;ELP;DAL;WN;2441;DAL;BWI       PORT MARKSTAD          NM                      US   50861   125473799@AIRLINE.KIWI.COM
JI6NJ9   9/27/2020   OB    10/5/2020   WN;2566;BNA;RDU                       BRIANHAVEN             FL                      US   18280   125474393@AIRLINE.KIWI.COM
JJ8UN9   9/27/2020   OB    9/28/2020   WN;1324;SMF;LAX                       NORTH TIMOTHYHAVEN     OR                      US   48403   125474547@AIRLINE.KIWI.COM
JKBGES   9/27/2020   OB    9/30/2020   WN;2610;PHX;SFO                       LAKE MITCHELL          AR                      US   68082   125474822@AIRLINE.KIWI.COM
JMQGA8   9/27/2020   OB   10/27/2020   WN;2360;STL;LAX                       CHEN YANG SHI          LIAONING SHENG          CN   12328   125475515@AIRLINE.KIWI.COM
JNYR8T   9/27/2020   OB    9/27/2020   WN;2302;OAK;LAS                       HERNANDEZSIDE          CT                      US   89818   125475658@AIRLINE.KIWI.COM
JTM9E3   9/27/2020   OB    9/27/2020   WN;2116;LAX;SMF                       NORTH BRYAN            MA                      US   27564   125476791@AIRLINE.KIWI.COM
K3LRYS   9/27/2020   OB    10/1/2020   WN;2349;SFO;SAN                       INDRESHIRE             SIAULIU APSKRITIS       LT   74415   125478837@AIRLINE.KIWI.COM
K7VHC9   9/27/2020   OB    10/1/2020   WN;1202;LGB;PHX                       LINFURT                CA                      US   49302   125482027@AIRLINE.KIWI.COM
K7VHC9   9/27/2020   OB    10/1/2020   WN;1202;LGB;PHX                       LINFURT                CA                      US   49302   125482027@AIRLINE.KIWI.COM
K7VHC9   9/27/2020   OB    10/1/2020   WN;1202;LGB;PHX                       LINFURT                CA                      US   49302   125482027@AIRLINE.KIWI.COM
K7VHC9   9/27/2020   RT    10/5/2020   WN;1200;PHX;LGB                       LINFURT                CA                      US   49302   125482027@AIRLINE.KIWI.COM
K7VHC9   9/27/2020   RT    10/5/2020   WN;1200;PHX;LGB                       LINFURT                CA                      US   49302   125482027@AIRLINE.KIWI.COM
K7VHC9   9/27/2020   RT    10/5/2020   WN;1200;PHX;LGB                       LINFURT                CA                      US   49302   125482027@AIRLINE.KIWI.COM
KSQDRY   9/27/2020   OB    9/30/2020   WN;1866;CLT;BWI;WN;2228;BWI;MDW       NEW JESSICASHIRE       NC                      US   94562   125497196@AIRLINE.KIWI.COM
KY86HF   9/27/2020   OB   11/30/2020   WN;6974;CMH;MDW;WN;2049;MDW;BOS       LAKE STEVEN            IN                      US   89972   125501420@AIRLINE.KIWI.COM
KZKIKF   9/27/2020   OB   10/14/2020   WN;6561;CHS;MDW                       LINDACHESTER           KY                      US   46251   125502630@AIRLINE.KIWI.COM
L2F4SQ   9/27/2020   OB     2/8/2021   WN;5035;SJU;FLL                       URSEM                  FRIESLAND               NL   20830   125503686@AIRLINE.KIWI.COM
L58UKD   9/27/2020   OB   11/12/2020   WN;156;LGA;ATL                        SOUTH STEPHEN          MI                      US    3584   125505985@AIRLINE.KIWI.COM
L5B4SY   9/27/2020   OB    9/27/2020   WN;2642;DTW;BWI;WN;2004;BWI;ATL       EAST ANNA              CO                      US   35056   125506139@AIRLINE.KIWI.COM
L646G9   9/27/2020   OB   10/30/2020   WN;2229;CMH;ATL                       ELLENTON               ME                      US   77162   125507041@AIRLINE.KIWI.COM
LCNE8G   9/27/2020   OB   11/27/2020   WN;558;BDL;MCO;WN;335;MCO;ATL         PORT ERIC              WI                      US    9326   125511914@AIRLINE.KIWI.COM
LGTGAK   9/27/2020   OB    9/28/2020   WN;2626;ATL;MDW                       MARKBOROUGH            VT                      US    1608   125515973@AIRLINE.KIWI.COM
LIM74P   9/27/2020   OB   10/19/2020   WN;1205;PHX;BUR                       DAVISFORT              MN                      US   83659   125516655@AIRLINE.KIWI.COM
LJXOQ2   9/27/2020   OB    9/27/2020   WN;1995;ATL;LGA                       CHRISTINELAND          MD                      US   74591   125518569@AIRLINE.KIWI.COM
LKK2F4   9/27/2020   OB   11/26/2020   WN;5046;SJC;SAN                       BORGO FLAVIANA UMBRO   CA                      US   73551   125518217@AIRLINE.KIWI.COM
LNQOMV   9/27/2020   OB    9/28/2020   WN;1840;CLE;BWI;WN;1743;BWI;FLL       NEW PHILLIPFORT        AK                      US   83269   125521385@AIRLINE.KIWI.COM
LPV8AD   9/27/2020   OB    2/15/2021   WN;3167;MDW;MSP                       SAN IRMA DE LA MONTA   HIDALGO                 MX   19218   125523387@AIRLINE.KIWI.COM
LPV8AD   9/27/2020   OB    2/15/2021   WN;3167;MDW;MSP                       SAN IRMA DE LA MONTA   HIDALGO                 MX   19218   125523387@AIRLINE.KIWI.COM
LPV8AD   9/27/2020   OB    2/15/2021   WN;3167;MDW;MSP                       SAN IRMA DE LA MONTA   HIDALGO                 MX   19218   125523387@AIRLINE.KIWI.COM
LQ68G4   9/27/2020   OB    10/6/2020   WN;1449;LAX;PHX                       SOUTH JOSHUABERG       WV                      US   14128   125523431@AIRLINE.KIWI.COM
LW8E3B   9/27/2020   OB   10/20/2020   WN;2310;OAK;LAX                       SOUTH DAVIDVILLE       AL                      US   52736   125526786@AIRLINE.KIWI.COM
LYSPQM   9/27/2020   OB    11/8/2020   WN;6022;SMF;BOI                       HENDERSONSIDE          MS                      US   77196   125531307@AIRLINE.KIWI.COM
LYSPQM   9/27/2020   OB    11/8/2020   WN;6022;SMF;BOI                       HENDERSONSIDE          MS                      US   77196   125531307@AIRLINE.KIWI.COM
M3OTEI   9/27/2020   OB    9/29/2020   WN;1884;LAS;LGB                       PHAADR                 JAMMU AND KASHMIR       IN   89828   125534255@AIRLINE.KIWI.COM
M3PLMC   9/27/2020   OB    9/28/2020   WN;2355;LAS;ATL                       LAKE MICHAELPORT       CT                      US   72726   125533540@AIRLINE.KIWI.COM
M43J4O   9/27/2020   OB   11/16/2020   WN;247;BNA;MDW;WN;1192;MDW;CLT        EAST NATASHAFURT       WI                      US   93809   125534882@AIRLINE.KIWI.COM
MAY822   9/27/2020   OB   10/20/2020   WN;865;PDX;SMF                        SAN REYNALDO DE LA M   FM                      US   16367   125538974@AIRLINE.KIWI.COM
MDHMCA   9/27/2020   OB    11/5/2020   WN;273;MBJ;MCO                        WILLIEBURGH            ALBERTA                 CA   46623   125540866@AIRLINE.KIWI.COM
MDHMCA   9/27/2020   OB    11/5/2020   WN;273;MBJ;MCO                        WILLIEBURGH            ALBERTA                 CA   46623   125540866@AIRLINE.KIWI.COM
MDHMCA   9/27/2020   OB    11/5/2020   WN;273;MBJ;MCO                        WILLIEBURGH            ALBERTA                 CA   46623   125540866@AIRLINE.KIWI.COM
MDHMCA   9/27/2020   OB    11/5/2020   WN;273;MBJ;MCO                        WILLIEBURGH            ALBERTA                 CA   46623   125540866@AIRLINE.KIWI.COM
MDHMCA   9/27/2020   OB    11/5/2020   WN;273;MBJ;MCO                        WILLIEBURGH            ALBERTA                 CA   46623   125540866@AIRLINE.KIWI.COM
MDQMPR   9/27/2020   OB    10/6/2020   WN;32;RDU;BNA                         EAST JAMES             TX                      US   43321   125540756@AIRLINE.KIWI.COM
MDYTU2   9/27/2020   OB    11/5/2020   WN;1355;MCO;HOU                       CLARKTOWN              PRINCE EDWARD ISLAND    CA   84347   125540866@AIRLINE.KIWI.COM
MDYTU2   9/27/2020   OB    11/5/2020   WN;1355;MCO;HOU                       CLARKTOWN              PRINCE EDWARD ISLAND    CA   84347   125540866@AIRLINE.KIWI.COM
MDYTU2   9/27/2020   OB    11/5/2020   WN;1355;MCO;HOU                       CLARKTOWN              PRINCE EDWARD ISLAND    CA   84347   125540866@AIRLINE.KIWI.COM
MDYTU2   9/27/2020   OB    11/5/2020   WN;1355;MCO;HOU                       CLARKTOWN              PRINCE EDWARD ISLAND    CA   84347   125540866@AIRLINE.KIWI.COM
MDYTU2   9/27/2020   OB    11/5/2020   WN;1355;MCO;HOU                       CLARKTOWN              PRINCE EDWARD ISLAND    CA   84347   125540866@AIRLINE.KIWI.COM
MDZ7ZK   9/27/2020   OB    9/28/2020   WN;2061;HOU;MCO;WN;272;MCO;MBJ        SOUTH DONALDFURT       NORTHWEST TERRITORIES   CA   45136   125540866@AIRLINE.KIWI.COM
MDZ7ZK   9/27/2020   OB    9/28/2020   WN;2061;HOU;MCO;WN;272;MCO;MBJ        SOUTH DONALDFURT       NORTHWEST TERRITORIES   CA   45136   125540866@AIRLINE.KIWI.COM
MDZ7ZK   9/27/2020   OB    9/28/2020   WN;2061;HOU;MCO;WN;272;MCO;MBJ        SOUTH DONALDFURT       NORTHWEST TERRITORIES   CA   45136   125540866@AIRLINE.KIWI.COM
MDZ7ZK   9/27/2020   OB    9/28/2020   WN;2061;HOU;MCO;WN;272;MCO;MBJ        SOUTH DONALDFURT       NORTHWEST TERRITORIES   CA   45136   125540866@AIRLINE.KIWI.COM
MDZ7ZK   9/27/2020   OB    9/28/2020   WN;2061;HOU;MCO;WN;272;MCO;MBJ        SOUTH DONALDFURT       NORTHWEST TERRITORIES   CA   45136   125540866@AIRLINE.KIWI.COM




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MH2MRW   9/27/2020   OB    9/28/2020   WN;2621;FLL;MCO;WN;2406;MCO;LAS   LAKE JENNIFER          MA                  US    88710   125542538@AIRLINE.KIWI.COM
MH6PB5   9/27/2020   OB   10/17/2020   WN;2310;OAK;LAX                   EAST JESSICA           CO                  US    73358   125542648@AIRLINE.KIWI.COM
MI8WHX   9/27/2020   OB    9/28/2020   WN;2588;SMF;LAX                   WEST STEPHANIEMOUTH    GA                  US    30615   125542912@AIRLINE.KIWI.COM
MI8WHX   9/27/2020   RT    9/30/2020   WN;1453;LAX;SMF                   WEST STEPHANIEMOUTH    GA                  US    30615   125542912@AIRLINE.KIWI.COM
MIRRWA   9/27/2020   OB    10/3/2020   WN;2580;LAS;BUR                   WEST BROOKETOWN        CT                  US    51789   125543088@AIRLINE.KIWI.COM
MJDSXE   9/28/2020   OB     1/1/2021   WN;2516;MCO;DEN;WN;1966;DEN;LAS   PORT TOMMY             MI                  US    23692   125543187@AIRLINE.KIWI.COM
MLYVIA   9/28/2020   OB   10/16/2020   WN;2078;DEN;BUR;WN;2580;BUR;OAK   HECHINGEN              SACHSEN             DE    54215   125543748@AIRLINE.KIWI.COM
MLYVIA   9/28/2020   RT   10/25/2020   WN;2129;OAK;DEN                   HECHINGEN              SACHSEN             DE    54215   125543748@AIRLINE.KIWI.COM
MLZYL9   9/28/2020   OB   10/16/2020   WN;184;ICT;DEN                    BURGLENGENFELD         SACHSENANHALT       DE    53384   125543748@AIRLINE.KIWI.COM
MNIVF3   9/28/2020   OB    11/5/2020   WN;926;SMF;PDX                    ERINSHIRE              AL                  US    12672   125543759@AIRLINE.KIWI.COM
MNRD5Z   9/28/2020   OB   11/29/2020   WN;4735;ATL;MCO                   ANGELABURGH            MA                  US    38273   125544188@AIRLINE.KIWI.COM
MNRD5Z   9/28/2020   OB   11/29/2020   WN;4735;ATL;MCO                   ANGELABURGH            MA                  US    38273   125544188@AIRLINE.KIWI.COM
MNRD5Z   9/28/2020   OB   11/29/2020   WN;4735;ATL;MCO                   ANGELABURGH            MA                  US    38273   125544188@AIRLINE.KIWI.COM
MO92NH   9/28/2020   OB   11/29/2020   WN;4735;ATL;MCO                   NORTH DAVID            MD                  US    77514   125544188@AIRLINE.KIWI.COM
MO92NH   9/28/2020   OB   11/29/2020   WN;4735;ATL;MCO                   NORTH DAVID            MD                  US    77514   125544188@AIRLINE.KIWI.COM
MPYWDH   9/28/2020   OB    9/29/2020   WN;1142;ATL;HOU                   DIANATOWN              WA                  US    26995   125544969@AIRLINE.KIWI.COM
MY42VK   9/28/2020   OB    9/28/2020   WN;1917;MSY;HOU                   WEAVERTON              CT                  US    40166   125547070@AIRLINE.KIWI.COM
MYI5JK   9/28/2020   OB   10/13/2020   WN;1507;OAK;SEA                   WEST ELIZABETHTON      IA                  US    84196   125546993@AIRLINE.KIWI.COM
N6GV7L   9/28/2020   OB    9/30/2020   WN;2072;LGA;ATL                   NORTH DEBBIE           UT                  US    71490   125549237@AIRLINE.KIWI.COM
N6H2L5   9/28/2020   OB   10/23/2020   WN;2403;MDW;LGA                   PORT ADAM              KS                  US    82626   125549127@AIRLINE.KIWI.COM
N9BNDW   9/28/2020   OB   10/12/2020   WN;1770;LAX;SLC                   NORTH GILBERT          OH                  US    22960   125549699@AIRLINE.KIWI.COM
N9SUJI   9/28/2020   OB   10/25/2020   WN;1743;BWI;FLL                   NEW CRAIG              POSAVSKI KANTON     BA    15790   125550095@AIRLINE.KIWI.COM
NASLI3   9/28/2020   OB    9/28/2020   WN;1421;SJU;MCO                   HEATHERMOUTH           NE                  US    77978   125549996@AIRLINE.KIWI.COM
NE24SL   9/28/2020   OB   10/28/2020   WN;110;PHX;SLC                    GUERREROBOROUGH        KS                  US    65774   125551690@AIRLINE.KIWI.COM
NE24SL   9/28/2020   OB   10/28/2020   WN;110;PHX;SLC                    GUERREROBOROUGH        KS                  US    65774   125551690@AIRLINE.KIWI.COM
NEONHB   9/28/2020   OB   10/28/2020   WN;110;PHX;SLC                    NICOLEBERG             FL                  US    51462   125551690@AIRLINE.KIWI.COM
NEU39H   9/28/2020   OB    9/29/2020   WN;2536;TPA;ATL;WN;2038;ATL;DCA   NATHANPORT             DE                  US    69159   125551800@AIRLINE.KIWI.COM
NIUJZH   9/28/2020   OB   10/13/2020   WN;2061;HOU;MCO                   GONZALESTON            NY                  US    71361   125553417@AIRLINE.KIWI.COM
NIUJZH   9/28/2020   OB   10/13/2020   WN;2061;HOU;MCO                   GONZALESTON            NY                  US    71361   125553417@AIRLINE.KIWI.COM
NJBB26   9/28/2020   OB   12/17/2020   WN;1385;OAK;PHX                   WEST GRATIANA          BRAILA              RO    63016   125552306@AIRLINE.KIWI.COM
NJBB26   9/28/2020   OB   12/17/2020   WN;1385;OAK;PHX                   WEST GRATIANA          BRAILA              RO    63016   125552306@AIRLINE.KIWI.COM
NJBB26   9/28/2020   OB   12/17/2020   WN;1385;OAK;PHX                   WEST GRATIANA          BRAILA              RO    63016   125552306@AIRLINE.KIWI.COM
NJBB26   9/28/2020   OB   12/17/2020   WN;1385;OAK;PHX                   WEST GRATIANA          BRAILA              RO    63016   125552306@AIRLINE.KIWI.COM
NJBB26   9/28/2020   OB   12/17/2020   WN;1385;OAK;PHX                   WEST GRATIANA          BRAILA              RO    63016   125552306@AIRLINE.KIWI.COM
NJBB26   9/28/2020   OB   12/17/2020   WN;1385;OAK;PHX                   WEST GRATIANA          BRAILA              RO    63016   125552306@AIRLINE.KIWI.COM
NMNXM6   9/28/2020   OB    9/29/2020   WN;1650;BUR;LAS                   ROCHA                  PARAIBA             BR    13911   125555650@AIRLINE.KIWI.COM
NOVJIH   9/28/2020   OB   12/26/2020   WN;609;PHX;OAK                    MANNINGTON             WV                  US    26582   125552295@AIRLINE.KIWI.COM
NOVJIH   9/28/2020   OB   12/26/2020   WN;609;PHX;OAK                    MANNINGTON             WV                  US    26582   125552295@AIRLINE.KIWI.COM
NOVJIH   9/28/2020   OB   12/26/2020   WN;609;PHX;OAK                    MANNINGTON             WV                  US    26582   125552295@AIRLINE.KIWI.COM
NOVJIH   9/28/2020   OB   12/26/2020   WN;609;PHX;OAK                    MANNINGTON             WV                  US    26582   125552295@AIRLINE.KIWI.COM
NOVJIH   9/28/2020   OB   12/26/2020   WN;609;PHX;OAK                    MANNINGTON             WV                  US    26582   125552295@AIRLINE.KIWI.COM
NOVJIH   9/28/2020   OB   12/26/2020   WN;609;PHX;OAK                    MANNINGTON             WV                  US    26582   125552295@AIRLINE.KIWI.COM
OGUSAR   9/28/2020   OB    10/1/2020   WN;1591;ATL;BWI                   CRAIGBOROUGH           ID                  US    87181   125581544@AIRLINE.KIWI.COM
OKUXF6   9/28/2020   OB   12/29/2020   WN;535;CVG;DEN;WN;434;DEN;SFO     NORTH MAXWELL          VA                  US    28551   125586318@AIRLINE.KIWI.COM
OKUXF6   9/28/2020   OB   12/29/2020   WN;535;CVG;DEN;WN;434;DEN;SFO     NORTH MAXWELL          VA                  US    28551   125586318@AIRLINE.KIWI.COM
OKUXF6   9/28/2020   RT     1/3/2021   WN;1846;SFO;MDW;WN;2256;MDW;CVG   NORTH MAXWELL          VA                  US    28551   125586318@AIRLINE.KIWI.COM
OKUXF6   9/28/2020   RT     1/3/2021   WN;1846;SFO;MDW;WN;2256;MDW;CVG   NORTH MAXWELL          VA                  US    28551   125586318@AIRLINE.KIWI.COM
OLEDC2   9/28/2020   OB    9/28/2020   WN;2255;ATL;MCO                   LAKE STEVEBERG         PA                  US    69310   125586505@AIRLINE.KIWI.COM
OPIKUW   9/28/2020   OB   10/15/2020   WN;6503;ATL;STL;WN;1927;STL;DSM   CARLOSVIEW             TX                  US    86649   125590597@AIRLINE.KIWI.COM
OQXOJY   9/28/2020   OB    11/8/2020   WN;849;BWI;CLT                    NEW LINDSEYFORT        AL                  US    71734   123566498.1467166@AIRLINE.KIWI.COM
OSBUMX   9/28/2020   OB    10/9/2020   WN;909;LGA;ATL                    NATASHATOWN            NM                  US    25548   125592357@AIRLINE.KIWI.COM
OSBUMX   9/28/2020   OB    10/9/2020   WN;909;LGA;ATL                    NATASHATOWN            NM                  US    25548   125592357@AIRLINE.KIWI.COM
OSWYEV   9/28/2020   OB    9/29/2020   WN;1954;SJC;BUR                   SAO MAMEDE DE INFEST   BRAGANCA            PT     3707   125593556@AIRLINE.KIWI.COM
OSWYEV   9/28/2020   OB    9/29/2020   WN;1954;SJC;BUR                   SAO MAMEDE DE INFEST   BRAGANCA            PT     3707   125593556@AIRLINE.KIWI.COM
OU5OPZ   9/28/2020   OB   11/19/2020   WN;2425;SEA;DEN                   EAST BRANDIBERG        ME                  US    39343   125594491@AIRLINE.KIWI.COM
OVCXU2   9/28/2020   OB   12/19/2020   WN;268;BWI;SAN                    LAKE DAVIDBURGH        MA                  US    51879   125594997@AIRLINE.KIWI.COM
OVCXU2   9/28/2020   OB   12/19/2020   WN;268;BWI;SAN                    LAKE DAVIDBURGH        MA                  US    51879   125594997@AIRLINE.KIWI.COM
OXG6L8   9/28/2020   OB   10/18/2020   WN;2129;LGB;OAK;WN;1177;OAK;SEA   NEW KELLYVILLE         HI                  US    93122   125597252@AIRLINE.KIWI.COM
OXPFUM   9/28/2020   OB   12/25/2020   WN;4773;MSY;HOU;WN;3003;HOU;AUS   PATRICIABERG           HI                  US    85889   125598231@AIRLINE.KIWI.COM
OXPFUM   9/28/2020   OB   12/25/2020   WN;4773;MSY;HOU;WN;3003;HOU;AUS   PATRICIABERG           HI                  US    85889   125598231@AIRLINE.KIWI.COM
OXPFUM   9/28/2020   OB   12/25/2020   WN;4773;MSY;HOU;WN;3003;HOU;AUS   PATRICIABERG           HI                  US    85889   125598231@AIRLINE.KIWI.COM
OXPFUM   9/28/2020   RT   12/28/2020   WN;1082;AUS;MSY                   PATRICIABERG           HI                  US    85889   125598231@AIRLINE.KIWI.COM
OXPFUM   9/28/2020   RT   12/28/2020   WN;1082;AUS;MSY                   PATRICIABERG           HI                  US    85889   125598231@AIRLINE.KIWI.COM
OXPFUM   9/28/2020   RT   12/28/2020   WN;1082;AUS;MSY                   PATRICIABERG           HI                  US    85889   125598231@AIRLINE.KIWI.COM
OZYIID   9/28/2020   OB    9/28/2020   WN;2382;FLL;BWI                   GABRIELLEBERG          MN                  US    18692   125600420@AIRLINE.KIWI.COM
P2EGS2   9/28/2020   OB   10/22/2020   WN;2352;OAK;BUR                   NEW ALANSHIRE          RI                  US    80253   125599936@AIRLINE.KIWI.COM
P2EGS2   9/28/2020   RT   10/25/2020   WN;1655;BUR;OAK                   NEW ALANSHIRE          RI                  US    80253   125599936@AIRLINE.KIWI.COM
P3QIC9   9/28/2020   OB   11/14/2020   WN;4105;PHX;MKE                   SIMSBERG               NJ                  US    74091   125601421@AIRLINE.KIWI.COM
P5O5CC   9/28/2020   OB    10/3/2020   WN;2045;FLL;HOU                   ANTHONYMOUTH           WI                  US    71582   125603467@AIRLINE.KIWI.COM
P87WPI   9/28/2020   OB   10/21/2020   WN;2607;ATL;FLL                   BNDR LY                FARS                IR    91657   125599518@AIRLINE.KIWI.COM
PADPL3   9/28/2020   OB    9/29/2020   WN;2106;LAS;LAX                   SOUTH AMANDASTAD       SC                  US    30816   125609462@AIRLINE.KIWI.COM
PB38AD   9/28/2020   OB    12/1/2020   WN;1550;LAX;PHX;WN;1514;PHX;BNA   EDWARDSHIRE            AR                  US    51102   125611046@AIRLINE.KIWI.COM
PB38AD   9/28/2020   OB    12/1/2020   WN;1550;LAX;PHX;WN;1514;PHX;BNA   EDWARDSHIRE            AR                  US    51102   125611046@AIRLINE.KIWI.COM
PB38AD   9/28/2020   OB    12/1/2020   WN;1550;LAX;PHX;WN;1514;PHX;BNA   EDWARDSHIRE            AR                  US    51102   125611046@AIRLINE.KIWI.COM
PDRX2Y   9/28/2020   OB    9/29/2020   WN;2139;FLL;ATL                   MATTHEWHAVEN           MT                  US    55722   125614951@AIRLINE.KIWI.COM
PEPO7C   9/28/2020   OB    10/9/2020   WN;2122;LGA;ATL                   EAST MARIAH            ID                  US    35622   125616403@AIRLINE.KIWI.COM
PEPO7C   9/28/2020   RT   10/12/2020   WN;864;ATL;LGA                    EAST MARIAH            ID                  US    35622   125616403@AIRLINE.KIWI.COM
PGE3KI   9/28/2020   OB   11/10/2020   WN;2257;SFO;PHX                   GORDONFURT             SC                  US     3087   125617316@AIRLINE.KIWI.COM
PGN7NU   9/28/2020   OB    10/4/2020   WN;1360;SMF;SNA                   PRATTHAVEN             CO                  US     5178   125618394@AIRLINE.KIWI.COM
PGYCPX   9/28/2020   OB   10/18/2020   WN;2164;BWI;RDU                   SOUTH DAVID            TN                  US    44591   125618790@AIRLINE.KIWI.COM
PHR3GB   9/28/2020   OB     1/1/2021   WN;3630;MDW;LAS                   LIAN JIANG SHI         CHANGHUA            TW    84723   125619549@AIRLINE.KIWI.COM
PHR3GB   9/28/2020   OB     1/1/2021   WN;3630;MDW;LAS                   LIAN JIANG SHI         CHANGHUA            TW    84723   125619549@AIRLINE.KIWI.COM
PI6PXW   9/28/2020   OB     1/1/2021   WN;3630;MDW;LAS                   DANIELSBERG            AR                  US    18828   125620066@AIRLINE.KIWI.COM
PI6PXW   9/28/2020   OB     1/1/2021   WN;3630;MDW;LAS                   DANIELSBERG            AR                  US    18828   125620066@AIRLINE.KIWI.COM
PI6PXW   9/28/2020   OB     1/1/2021   WN;3630;MDW;LAS                   DANIELSBERG            AR                  US    18828   125620066@AIRLINE.KIWI.COM
PI6PXW   9/28/2020   OB     1/1/2021   WN;3630;MDW;LAS                   DANIELSBERG            AR                  US    18828   125620066@AIRLINE.KIWI.COM
PKAMVU   9/28/2020   OB    10/7/2020   WN;1108;OAK;LAX                   YU MEI XIAN            QINGHAI SHENG       CN    23014   125621628@AIRLINE.KIWI.COM
PKRDBU   9/28/2020   OB   11/15/2020   WN;6003;AUS;ATL                   LAKE EVELYNBURY        MD                  US    56238   125623047@AIRLINE.KIWI.COM
PLTUUT   9/28/2020   OB    9/30/2020   WN;2418;ATL;HOU                   DERRICKTOWN            MO                  US    11484   125624686@AIRLINE.KIWI.COM
POIKAA   9/28/2020   OB    9/29/2020   WN;2226;MDW;TPA;WN;1964;TPA;FLL   NORTH ABIGAILCHESTER   OR                  US    93807   125627304@AIRLINE.KIWI.COM
POIKAA   9/28/2020   OB    9/29/2020   WN;2226;MDW;TPA;WN;1964;TPA;FLL   NORTH ABIGAILCHESTER   OR                  US    93807   125627304@AIRLINE.KIWI.COM
POSPZU   9/28/2020   OB    9/29/2020   WN;2594;LAS;PHX                   EAST MARGARETBURY      TX                  US     5277   125626281@AIRLINE.KIWI.COM
PS8G3D   9/28/2020   OB   10/20/2020   WN;111;OAK;SNA;WN;111;SNA;PHX     NORTH KATELYNBURGH     SD                  US    52213   125630725@AIRLINE.KIWI.COM
PS8G3D   9/28/2020   RT   10/26/2020   WN;2502;PHX;BUR;WN;1989;BUR;OAK   NORTH KATELYNBURGH     SD                  US    52213   125630725@AIRLINE.KIWI.COM
PVANE3   9/28/2020   OB   10/13/2020   WN;2426;MCO;FLL                   WRIGHTSIDE             NE                  US    98550   125632408@AIRLINE.KIWI.COM
PVANE3   9/28/2020   OB   10/13/2020   WN;2426;MCO;FLL                   WRIGHTSIDE             NE                  US    98550   125632408@AIRLINE.KIWI.COM
PVWOH3   9/28/2020   OB    12/6/2020   WN;1059;HOU;MSY;WN;1059;MSY;BWI   JENNIFERLAND           PA                  US    88387   125633079@AIRLINE.KIWI.COM
PWGPFW   9/28/2020   OB    10/2/2020   WN;2530;TUS;LAS;WN;2530;LAS;OAK   SOUTH MARIASTAD        WA                  US    72007   125631891@AIRLINE.KIWI.COM
PWJU43   9/28/2020   OB    12/3/2020   WN;2527;BWI;BNA;WN;2527;BNA;HOU   PORT CHRISTOPHERVIEW   PA                  US    43232   125632936@AIRLINE.KIWI.COM
PXRBVN   9/28/2020   OB    9/29/2020   WN;2231;ATL;TPA;WN;1964;TPA;FLL   STN MHS                FARS                IR    68475   125633354@AIRLINE.KIWI.COM
PYIBAH   9/28/2020   OB    9/29/2020   WN;2337;PBI;BWI;WN;1029;BWI;CVG   EAST RACHELSIDE        VT                  US    31099   125634212@AIRLINE.KIWI.COM
PZ55ND   9/28/2020   OB   12/26/2020   WN;1959;GEG;OAK;WN;2259;OAK;LAX   NORTH VICTOR           MI                  US    45532   125634245@AIRLINE.KIWI.COM
PZ7PGS   9/28/2020   OB    9/29/2020   WN;2139;FLL;ATL                   STARKBURGH             AR                  US    23298   125630340@AIRLINE.KIWI.COM
PZ7PGS   9/28/2020   OB    9/29/2020   WN;2139;FLL;ATL                   STARKBURGH             AR                  US    23298   125630340@AIRLINE.KIWI.COM
PZRE7S   9/28/2020   OB    9/29/2020   WN;2139;FLL;ATL                   MARCBURGH              MD                  US    14205   125634982@AIRLINE.KIWI.COM
Q4CJFH   9/29/2020   OB   10/21/2020   WN;3201;SMF;PDX                   DURHAMPORT             UT                  US    92369   125635906@AIRLINE.KIWI.COM
Q5CNLN   9/29/2020   OB    9/29/2020   WN;2341;OAK;ONT                   LAKE LAURIETOWN        KY                  US     8917   125636214@AIRLINE.KIWI.COM




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Q6IKCL   9/29/2020   OB   11/15/2020   WN;1524;HOU;SAT                   WRIGHTSTAD           CA                        US   29758   125636401@AIRLINE.KIWI.COM
Q6VJD5   9/29/2020   OB    9/29/2020   WN;1610;CUN;BWI;WN;1661;BWI;LAS   SMITHFURT            VT                        US    2180   125637050@AIRLINE.KIWI.COM
Q7KKWI   9/29/2020   OB   10/22/2020   WN;1705;LGB;PHX                   LINFURT              CA                        US   49302   125482027@AIRLINE.KIWI.COM
Q9PESM   9/29/2020   OB    9/29/2020   WN;1453;LAX;SMF                   OLIVIAMOUTH          UT                        US   58024   125637809@AIRLINE.KIWI.COM
QA4SZO   9/29/2020   OB    9/29/2020   WN;2540;RDU;MCO;WN;2426;MCO;FLL   HAWKINSPORT          MI                        US    4936   125638084@AIRLINE.KIWI.COM
QDNMP4   9/29/2020   OB   10/22/2020   WN;1878;LGA;BNA                   NORTH ANDREA         AZ                        US   87651   125639107@AIRLINE.KIWI.COM
QDNMP4   9/29/2020   RT   10/25/2020   WN;2385;BNA;LGA                   NORTH ANDREA         AZ                        US   87651   125639107@AIRLINE.KIWI.COM
QDVHFE   9/29/2020   OB    9/29/2020   WN;1655;OAK;DEN;WN;102;DEN;MSP    NORTH CATHERINE      WV                        US   68407   125639503@AIRLINE.KIWI.COM
QENJ5F   9/29/2020   OB   10/29/2020   WN;1904;PHX;AUS                   NORTH TRICIA         VT                        US   59674   125639855@AIRLINE.KIWI.COM
QENJ5F   9/29/2020   OB   10/29/2020   WN;1904;PHX;AUS                   NORTH TRICIA         VT                        US   59674   125639855@AIRLINE.KIWI.COM
QFHIZX   9/29/2020   OB    9/30/2020   WN;1547;SMF;SNA                   PORT NANCYTON        MN                        US   89859   125640306@AIRLINE.KIWI.COM
QG2C7C   9/29/2020   OB    9/29/2020   WN;1840;CLE;BWI                   SELO ORISIA          AL                        US    1465   125640174@AIRLINE.KIWI.COM
QHEBID   9/29/2020   OB   11/28/2020   WN;1945;CMH;ATL;WN;1662;ATL;GSP   SOUTH VINCENT        MA                        US   32824   125640746@AIRLINE.KIWI.COM
QHEBID   9/29/2020   OB   11/28/2020   WN;1945;CMH;ATL;WN;1662;ATL;GSP   SOUTH VINCENT        MA                        US   32824   125640746@AIRLINE.KIWI.COM
QHHV9W   9/29/2020   OB    10/1/2020   WN;1544;DEN;OAK;WN;2036;OAK;HNL   SARAHTON             KS                        US   80634   125640856@AIRLINE.KIWI.COM
QHRREN   9/29/2020   OB    9/29/2020   WN;2155;LAS;MCI                   NAGYHIDVAR           BORSODABAUJZEMPLEN        HU   28580   125641208@AIRLINE.KIWI.COM
QJXA6M   9/29/2020   OB   10/21/2020   WN;2017;RIC;ATL                   EAST CHRISTINA       AZ                        US   56710   125642011@AIRLINE.KIWI.COM
QKC6WT   9/29/2020   OB    9/29/2020   WN;2607;ATL;FLL                   NOVA GORICA          TRBOVLJE                  SI   90795   125631000@AIRLINE.KIWI.COM
QKKE4Y   9/29/2020   OB   10/18/2020   WN;2180;ATL;RIC                   ADKINSCHESTER        ID                        US   75423   125642011@AIRLINE.KIWI.COM
QKWRDF   9/29/2020   OB    9/29/2020   WN;1;DAL;HOU                      NICHOLASCHESTER      NC                        US   29975   125642561@AIRLINE.KIWI.COM
QP7PNK   9/29/2020   OB    10/4/2020   WN;1992;PHX;ELP                   JOSEPHBERG           FL                        US   47423   125642924@AIRLINE.KIWI.COM
QU6VVA   9/29/2020   OB   10/22/2020   WN;2002;ATL;MEM                   COOKBOROUGH          IL                        US   58541   125645850@AIRLINE.KIWI.COM
QZQH2P   9/29/2020   OB    9/29/2020   WN;1669;LAS;OAK                   SOUTH MONICABURY     TX                        US   28687   125647489@AIRLINE.KIWI.COM
R3ZE28   9/29/2020   OB    10/9/2020   WN;2072;LGA;ATL                   PORT THOMAS          MS                        US   77940   125649975@AIRLINE.KIWI.COM
R4AN28   9/29/2020   OB   10/12/2020   WN;1933;ATL;LGA                   EDDIEVILLE           TN                        US   35096   125649975@AIRLINE.KIWI.COM
R4S6FK   9/29/2020   OB   10/12/2020   WN;1933;ATL;LGA                   LAKE ROBERTTON       AR                        US   68714   125649942@AIRLINE.KIWI.COM
R4T2WF   9/29/2020   OB    10/9/2020   WN;2072;LGA;ATL                   NORTH KAREN          MI                        US    6649   125649942@AIRLINE.KIWI.COM
R6C9I6   9/29/2020   OB    9/29/2020   WN;762;LAS;PHX;WN;1807;PHX;SFO    WRIGHTMOUTH          CT                        US   78827   125651306@AIRLINE.KIWI.COM
S43EW3   9/29/2020   OB   12/28/2020   WN;335;MCO;ATL                    EAST THOMAS          NH                        US   29158   125685769@AIRLINE.KIWI.COM
S44P7N   9/29/2020   OB   12/23/2020   WN;3391;ATL;MCO                   NEW ELIZABETHBURGH   NV                        US   87160   125685769@AIRLINE.KIWI.COM
S8FEOS   9/29/2020   OB   10/11/2020   WN;6785;CMH;BWI                   MICHAELVIEW          MS                        US    3218   125691401@AIRLINE.KIWI.COM
SC7BS4   9/29/2020   OB   12/25/2020   WN;2634;PHX;DEN                   PATELVILLE           WY                        US   59810   125696307@AIRLINE.KIWI.COM
SC7BS4   9/29/2020   OB   12/25/2020   WN;2634;PHX;DEN                   PATELVILLE           WY                        US   59810   125696307@AIRLINE.KIWI.COM
SC7BS4   9/29/2020   OB   12/25/2020   WN;2634;PHX;DEN                   PATELVILLE           WY                        US   59810   125696307@AIRLINE.KIWI.COM
SC7BS4   9/29/2020   OB   12/25/2020   WN;2634;PHX;DEN                   PATELVILLE           WY                        US   59810   125696307@AIRLINE.KIWI.COM
SDXXNQ   9/29/2020   OB    9/29/2020   WN;1903;CLT;BWI;WN;1968;BWI;CVG   PORT JEFFERY         VT                        US   85323   125697726@AIRLINE.KIWI.COM
SFQKZ3   9/29/2020   OB    10/3/2020   WN;1699;LAS;ONT                   CANDICESIDE          ND                        US   23817   125693711@AIRLINE.KIWI.COM
SG3GD2   9/29/2020   OB   11/18/2020   WN;4557;PHL;DEN                   GUERREROBOROUGH      KY                        US   28292   124995453@AIRLINE.KIWI.COM
SG6BBY   9/29/2020   OB   10/24/2020   WN;2015;FLL;DAL                   REYNOLDSMOUTH        ND                        US   43865   124423255.1468233@AIRLINE.KIWI.COM
SG6BBY   9/29/2020   RT   10/27/2020   WN;2279;DAL;FLL                   REYNOLDSMOUTH        ND                        US   43865   124423255.1468233@AIRLINE.KIWI.COM
SH7OMA   9/29/2020   OB    12/9/2020   WN;2877;SJC;LAX;WN;2877;LAX;LAS   SOUTH LAURABOROUGH   CA                        US   80880   125089635.1468235@AIRLINE.KIWI.COM
SK9IKH   9/29/2020   OB    10/1/2020   WN;143;HOU;BNA;WN;1894;BNA;LGA    NORTH ANDRE          ND                        US   39170   125706097@AIRLINE.KIWI.COM
SKFO57   9/29/2020   OB   10/23/2020   WN;2255;IAD;ATL                   JACKBURY             PA                        US   71171   125707406@AIRLINE.KIWI.COM
SM47QW   9/29/2020   OB   10/29/2020   WN;1735;SJC;DEN                   EAST ERICBOROUGH     VT                        US   46653   125708715@AIRLINE.KIWI.COM
SMICQW   9/29/2020   OB    10/1/2020   WN;1353;AUS;BWI                   CHRISTOPHERTOWN      FL                        US   62060   125709573@AIRLINE.KIWI.COM
SOS2EH   9/29/2020   OB   10/15/2020   WN;6914;BWI;TPA                   LAKE SEAN            CA                        US    1064   125712532@AIRLINE.KIWI.COM
SP2EIG   9/29/2020   OB   10/18/2020   WN;115;TPA;BWI                    DIANEMOUTH           KS                        US   94988   125713313@AIRLINE.KIWI.COM
SPH287   9/29/2020   OB   12/30/2020   WN;40;GSP;HOU;WN;1583;HOU;TPA     JACKBURGH            MA                        US   52857   125714237@AIRLINE.KIWI.COM
SQST7M   9/29/2020   OB     1/5/2021   WN;1331;MDW;DEN                   JONESSIDE            CA                        US   48802   125714182@AIRLINE.KIWI.COM
SRSPRE   9/29/2020   OB   11/27/2020   WN;956;SAT;HOU;WN;1326;HOU;MSY    PATRICKHAVEN         LA                        US   57503   125717757@AIRLINE.KIWI.COM
SSMQWR   9/29/2020   OB    12/1/2020   WN;358;MSY;HOU;WN;999;HOU;SAT     OROZCOTOWN           NE                        US   73986   125718318@AIRLINE.KIWI.COM
SWK73T   9/29/2020   OB    9/29/2020   WN;2607;HOU;AUS                   WEST JEREMYSTAD      TX                        US   35463   125723213@AIRLINE.KIWI.COM
SWU6CF   9/29/2020   OB    10/4/2020   WN;6800;CMH;LAS                   HAWKINSBERG          IL                        US   17610   125721255@AIRLINE.KIWI.COM
SXRZD3   9/29/2020   OB    10/9/2020   WN;2072;LGA;ATL                   JAMESTON             CO                        US   27169   125724335@AIRLINE.KIWI.COM
SY7PW4   9/29/2020   OB   10/28/2020   WN;1074;PHX;LAS                   EAST DONALD          SC                        US   79818   125723763@AIRLINE.KIWI.COM
SYIIBW   9/29/2020   OB    10/9/2020   WN;2072;LGA;ATL                   REESEMOUTH           ME                        US   43443   125725479@AIRLINE.KIWI.COM
SYIIBW   9/29/2020   OB    10/9/2020   WN;2072;LGA;ATL                   REESEMOUTH           ME                        US   43443   125725479@AIRLINE.KIWI.COM
T3X56G   9/29/2020   OB   11/27/2020   WN;1601;PHX;LAS                   BRANDYFURT           SD                        US   21522   125729098@AIRLINE.KIWI.COM
T4MUTI   9/29/2020   OB    9/30/2020   WN;2361;MDW;MSP                   DOUGLASFURT          AL                        US   57465   125730099@AIRLINE.KIWI.COM
T6TWLU   9/29/2020   OB   10/11/2020   WN;1179;DEN;SFO                   SELISHCHE LIUDMILA   RESPUBLIKA KRYM           UA   81051   125733080@AIRLINE.KIWI.COM
T79S5D   9/29/2020   OB    10/2/2020   WN;2330;OMA;STL;WN;1519;STL;RSW   RYANBOROUGH          NJ                        US   86514   125729857@AIRLINE.KIWI.COM
T88M93   9/29/2020   OB   10/13/2020   WN;1884;LAS;LGB                   LESLIEBURY           UT                        US   33400   125734378@AIRLINE.KIWI.COM
TCQUJV   9/29/2020   OB   12/15/2020   WN;795;SJC;KOA                    VIEJA BULGARIA       BAJA CALIFORNIA SUR       MX   92114   125737656@AIRLINE.KIWI.COM
TD9YZ7   9/29/2020   OB   10/22/2020   WN;3201;SMF;PDX                   JIMMYTON             AL                        US   88043   125737535@AIRLINE.KIWI.COM
TEEZD6   9/29/2020   OB   12/28/2020   WN;403;ATL;BNA;WN;1136;BNA;MKE    LAKE BRADLEY         KY                        US   83558   125738976@AIRLINE.KIWI.COM
TEI8OM   9/29/2020   OB     1/3/2021   WN;1719;MKE;BNA;WN;4237;BNA;ATL   BECKYVIEW            CA                        US   17276   125738987@AIRLINE.KIWI.COM
TGREKZ   9/29/2020   OB    10/9/2020   WN;1609;BWI;CUN                   LAKE JOHNSTAD        OH                        US   86919   125740197@AIRLINE.KIWI.COM
TGREKZ   9/29/2020   RT   10/13/2020   WN;1608;CUN;BWI                   LAKE JOHNSTAD        OH                        US   86919   125740197@AIRLINE.KIWI.COM
THF9US   9/29/2020   OB    10/1/2020   WN;2286;LAX;OAK                   NORTH DANIELLE       AL                        US   17978   125739515@AIRLINE.KIWI.COM
TKR3EF   9/29/2020   OB   10/11/2020   WN;6503;ATL;STL;WN;1927;STL;DSM   LAKE EVELYNBURGH     KS                        US   52896   125741880@AIRLINE.KIWI.COM
J3J5W3   9/30/2020   OB   10/16/2020   WN;2130;LGA;BNA;WN;6878;BNA;JAX   CALENJIXA            SAMEGRELOZEMO SVANETI     GE   36323   125848580@AIRLINE.KIWI.COM
J3JH7P   9/30/2020   OB    10/2/2020   WN;2166;MCO;BNA                   LAKE MICHELLESTAD    AR                        US   43587   125848921@AIRLINE.KIWI.COM
TMT49Y   9/30/2020   OB    10/2/2020   WN;2465;SDF;MDW;WN;1878;MDW;LGA   SOUTH PATRICIA       DC                        US   38338   125740978@AIRLINE.KIWI.COM
TNMPKR   9/30/2020   OB    10/2/2020   WN;3342;FLL;SJU                   KHUTIR ARTEM         RESPUBLIKA KRYM           UA   71645   125743024@AIRLINE.KIWI.COM
TP9L2V   9/30/2020   OB   10/10/2020   WN;116;ATL;BNA                    NORTH MARY           AK                        US    8756   125706119@AIRLINE.KIWI.COM
TPS4V2   9/30/2020   OB   12/18/2020   WN;209;ONT;DAL;WN;209;DAL;DEN     SAVANNAHCHESTER      IN                        US   62649   125743893@AIRLINE.KIWI.COM
TPXGJR   9/30/2020   OB     1/2/2021   WN;2204;DEN;ONT                   MITCHELLBERG         NC                        US   51997   125743904@AIRLINE.KIWI.COM
TQJCRW   9/30/2020   OB    9/30/2020   WN;1238;FLL;BWI;WN;1923;BWI;ROC   LJFLYVIEW            AL HUDUD ASH SHAMALIYAH   SA   51479   125744179@AIRLINE.KIWI.COM
TUQ87A   9/30/2020   OB     2/2/2021   WN;4202;MSY;ATL;WN;2938;ATL;PHL   POWELLLAND           KY                        US   54520   125745532@AIRLINE.KIWI.COM
TUQ87A   9/30/2020   OB     2/2/2021   WN;4202;MSY;ATL;WN;2938;ATL;PHL   POWELLLAND           KY                        US   54520   125745532@AIRLINE.KIWI.COM
TV9RXP   9/30/2020   OB    10/6/2020   WN;328;CUN;HOU                    RAMOSTOWN            KY                        US   91261   125746126@AIRLINE.KIWI.COM
TV9RXP   9/30/2020   OB    10/6/2020   WN;328;CUN;HOU                    RAMOSTOWN            KY                        US   91261   125746126@AIRLINE.KIWI.COM
TWH56R   9/30/2020   OB    10/3/2020   WN;2221;MDW;MSP                   OPLOO                GELDERLAND                NL   33149   125746368@AIRLINE.KIWI.COM
TXCIZF   9/30/2020   OB     1/2/2021   WN;1618;GSP;ATL;WN;1972;ATL;LGA   JENNINGSLAND         ME                        US   55374   125746687@AIRLINE.KIWI.COM
TYA8KF   9/30/2020   OB    10/1/2020   WN;986;MDW;LAS                    KENNETHSHIRE         UT                        US   51282   125747061@AIRLINE.KIWI.COM
TYA8KF   9/30/2020   RT    10/5/2020   WN;1543;LAS;MDW                   KENNETHSHIRE         UT                        US   51282   125747061@AIRLINE.KIWI.COM
U25ARU   9/30/2020   OB   12/27/2020   WN;3647;MEM;MDW                   EVANSCHESTER         RI                        US    1318   125747765@AIRLINE.KIWI.COM
U25ARU   9/30/2020   OB   12/27/2020   WN;3647;MEM;MDW                   EVANSCHESTER         RI                        US    1318   125747765@AIRLINE.KIWI.COM
U2ML85   9/30/2020   OB     1/1/2021   WN;2151;CHS;BNA                   LAKE REBECCA         NM                        US    3398   125747985@AIRLINE.KIWI.COM
U2ML85   9/30/2020   OB     1/1/2021   WN;2151;CHS;BNA                   LAKE REBECCA         NM                        US    3398   125747985@AIRLINE.KIWI.COM
U37DYC   9/30/2020   OB     1/1/2021   WN;2809;BNA;LAX                   SOUTH ROGERTON       ND                        US   96086   125747985@AIRLINE.KIWI.COM
U37DYC   9/30/2020   OB     1/1/2021   WN;2809;BNA;LAX                   SOUTH ROGERTON       ND                        US   96086   125747985@AIRLINE.KIWI.COM
U3P9C5   9/30/2020   OB    10/1/2020   WN;1379;MDW;LAS                   YOUNGSIDE            ND                        US   53809   125748326@AIRLINE.KIWI.COM
U4OI55   9/30/2020   OB    10/7/2020   WN;2643;MCO;HOU                   NEW HEATHER          IL                        US   56109   125748810@AIRLINE.KIWI.COM
U4OI55   9/30/2020   OB    10/7/2020   WN;2643;MCO;HOU                   NEW HEATHER          IL                        US   56109   125748810@AIRLINE.KIWI.COM
U4OI55   9/30/2020   OB    10/7/2020   WN;2643;MCO;HOU                   NEW HEATHER          IL                        US   56109   125748810@AIRLINE.KIWI.COM
U4OI55   9/30/2020   RT   10/11/2020   WN;6868;HOU;MCO                   NEW HEATHER          IL                        US   56109   125748810@AIRLINE.KIWI.COM
U4OI55   9/30/2020   RT   10/11/2020   WN;6868;HOU;MCO                   NEW HEATHER          IL                        US   56109   125748810@AIRLINE.KIWI.COM
U4OI55   9/30/2020   RT   10/11/2020   WN;6868;HOU;MCO                   NEW HEATHER          IL                        US   56109   125748810@AIRLINE.KIWI.COM
U52FGD   9/30/2020   OB    9/30/2020   WN;2145;BUF;BWI                   FORDPORT             OH                        US   77751   125749030@AIRLINE.KIWI.COM
UB3BXB   9/30/2020   OB     1/4/2021   WN;612;CHS;DAL;WN;1160;DAL;SLC    SOUTH TERESA         TN                        US   53190   125751153@AIRLINE.KIWI.COM
UB3BXB   9/30/2020   OB     1/4/2021   WN;612;CHS;DAL;WN;1160;DAL;SLC    SOUTH TERESA         TN                        US   53190   125751153@AIRLINE.KIWI.COM
UBQ8PV   9/30/2020   OB    9/30/2020   WN;2005;FLL;BWI;WN;2113;BWI;DTW   PORT JOHN            VA                        US   20797   125751428@AIRLINE.KIWI.COM
UEMURL   9/30/2020   OB   10/29/2020   WN;2633;SJC;SAN                   VIEJA GRECIA         NUEVO LEON                MX   75767   125752759@AIRLINE.KIWI.COM
UG33NI   9/30/2020   OB    9/30/2020   WN;2098;LAS;LAX                   PIRES DO NORTE       FERNANDO DE NORONHA       BR    5917   125753298@AIRLINE.KIWI.COM
UIBQBW   9/30/2020   OB    10/2/2020   WN;2315;PHX;ELP                   ANNAFURT             LA                        US   25970   125754266@AIRLINE.KIWI.COM
UJN43E   9/30/2020   OB    9/30/2020   WN;2098;LAS;LAX                   BARKERBERG           LA                        US   87908   125755498@AIRLINE.KIWI.COM




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UNWXFB   9/30/2020   OB    9/30/2020   WN;2631;BNA;LAX                        NANCYVIEW             PA                   US   15662   125756697@AIRLINE.KIWI.COM
URPWE8   9/30/2020   OB    10/9/2020   WN;2122;LGA;ATL                        WEST CHRISTOPHER      HI                   US   97875   125761625@AIRLINE.KIWI.COM
UTPAVB   9/30/2020   OB    10/1/2020   WN;2587;SEA;SMF                        DEBORAHFURT           WV                   US   87706   125761262@AIRLINE.KIWI.COM
UTPAVB   9/30/2020   OB    10/1/2020   WN;2587;SEA;SMF                        DEBORAHFURT           WV                   US   87706   125761262@AIRLINE.KIWI.COM
UTPAVB   9/30/2020   OB    10/1/2020   WN;2587;SEA;SMF                        DEBORAHFURT           WV                   US   87706   125761262@AIRLINE.KIWI.COM
UTPAVB   9/30/2020   RT    10/4/2020   WN;690;SMF;SEA                         DEBORAHFURT           WV                   US   87706   125761262@AIRLINE.KIWI.COM
UTPAVB   9/30/2020   RT    10/4/2020   WN;690;SMF;SEA                         DEBORAHFURT           WV                   US   87706   125761262@AIRLINE.KIWI.COM
UTPAVB   9/30/2020   RT    10/4/2020   WN;690;SMF;SEA                         DEBORAHFURT           WV                   US   87706   125761262@AIRLINE.KIWI.COM
UZQZHW   9/30/2020   OB    9/30/2020   WN;1923;MCO;BWI                        KEITHSIDE             NV                   US   92426   125769358@AIRLINE.KIWI.COM
V8JCT7   9/30/2020   OB    9/30/2020   WN;2286;LAX;OAK                        POPEMOUTH             OR                   US   57473   125777201@AIRLINE.KIWI.COM
V8JCT7   9/30/2020   RT    9/30/2020   WN;2287;OAK;LAX                        POPEMOUTH             OR                   US   57473   125777201@AIRLINE.KIWI.COM
VH2WLM   9/30/2020   OB   10/25/2020   WN;1551;FLL;BWI                        SOUTH JUSTIN          RI                   US   65971   125786573@AIRLINE.KIWI.COM
VH2WLM   9/30/2020   OB   10/25/2020   WN;1551;FLL;BWI                        SOUTH JUSTIN          RI                   US   65971   125786573@AIRLINE.KIWI.COM
VJDDKG   9/30/2020   OB   10/18/2020   WN;1064;ATL;IAD                        LAKE LOUIS            OK                   US   37833   125789851@AIRLINE.KIWI.COM
VLKVLM   9/30/2020   OB    10/7/2020   WN;2420;RDU;BWI;WN;143;BWI;CLE         NORTH MICHELLE        NV                   US   49847   125791556@AIRLINE.KIWI.COM
VMGBAP   9/30/2020   OB    9/30/2020   WN;2382;FLL;BWI                        STEPHENBERG           CO                   US   37327   125792546@AIRLINE.KIWI.COM
VNRQ3F   9/30/2020   OB     1/9/2021   WN;2173;RSW;MDW;WN;4513;MDW;GRR        SOUTH CHADSTAD        MN                   US   93098   125794823@AIRLINE.KIWI.COM
VTEZUP   9/30/2020   OB    10/1/2020   WN;1866;CLT;BWI;WN;2241;BWI;ALB        WEST ALISON           WV                   US   21940   125802996@AIRLINE.KIWI.COM
VUR2IJ   9/30/2020   OB    11/9/2020   WN;1002;HOU;BNA;WN;468;BNA;DTW         YOUNGTON              AK                   US   77863   125804327@AIRLINE.KIWI.COM
VUR2IJ   9/30/2020   OB    11/9/2020   WN;1002;HOU;BNA;WN;468;BNA;DTW         YOUNGTON              AK                   US   77863   125804327@AIRLINE.KIWI.COM
VVWMK2   9/30/2020   OB   10/19/2020   WN;2605;MCI;BNA                        SMITHBURGH            UT                   US   25378   125805416@AIRLINE.KIWI.COM
VWBTIM   9/30/2020   OB   10/15/2020   WN;998;DEN;BNA                         SOUTH MEREDITH        OR                   US   16497   125806340@AIRLINE.KIWI.COM
VYFDA6   9/30/2020   OB    10/9/2020   WN;2494;SJU;MCO                        SAN MARIA LUISA LOS   AL                   US   58236   125806692@AIRLINE.KIWI.COM
VYTPA2   9/30/2020   OB   11/29/2020   WN;4832;DTW;BNA                        SANDRAFORT            WY                   US   22588   125808936@AIRLINE.KIWI.COM
W2CMSS   9/30/2020   OB    1/13/2021   WN;930;PHL;DEN                         EAST LARRYCHESTER     OK                   US   63925   125811059@AIRLINE.KIWI.COM
W2CMSS   9/30/2020   OB    1/13/2021   WN;930;PHL;DEN                         EAST LARRYCHESTER     OK                   US   63925   125811059@AIRLINE.KIWI.COM
W2IG7J   9/30/2020   OB    10/1/2020   WN;1178;ATL;MDW;WN;2349;MDW;SFO        PORT AMY              MS                   US   74982   125811279@AIRLINE.KIWI.COM
W35D7F   9/30/2020   OB   10/31/2020   WN;840;LGB;SMF                         WEST GARRETTSIDE      WY                   US   69512   125812390@AIRLINE.KIWI.COM
W367CA   9/30/2020   OB   10/21/2020   WN;1537;SMF;LGB                        SOUTH JAMESSHIRE      CT                   US   79106   125812390@AIRLINE.KIWI.COM
W4YIG5   9/30/2020   OB   12/29/2020   WN;697;AUS;DAL;WN;1022;DAL;ATL;WN;1378;NORTH CHRISTOPHER     OH                   US   43431   125814392@AIRLINE.KIWI.COM
W5FVWO   9/30/2020   OB    10/1/2020   WN;135;LAS;LAX                         ANDREWTON             NE                   US   21850   125813809@AIRLINE.KIWI.COM
W5JNL4   9/30/2020   OB    9/30/2020   WN;2352;OAK;BUR                        PORT DANASTAD         ID                   US    4975   125815151@AIRLINE.KIWI.COM
W5LN5Q   9/30/2020   OB    9/30/2020   WN;2643;MCO;HOU                        LAKE JOSHUA           CT                   US   93280   125815096@AIRLINE.KIWI.COM
W5W3F9   9/30/2020   OB    11/3/2020   WN;734;HOU;DEN                         JOHNSONVIEW           NM                   US   24456   125814436@AIRLINE.KIWI.COM
W6OBVC   9/30/2020   OB   10/22/2020   WN;1590;BOS;BWI                        ANTRGT                JHARKHAND            IN   15127   125815723@AIRLINE.KIWI.COM
W9GE2N   9/30/2020   OB   10/12/2020   WN;6204;RSW;IND                        NORTH GABRIEL         FL                   US   73267   125820002@AIRLINE.KIWI.COM
W9GE2N   9/30/2020   OB   10/12/2020   WN;6204;RSW;IND                        NORTH GABRIEL         FL                   US   73267   125820002@AIRLINE.KIWI.COM
W9GE2N   9/30/2020   OB   10/12/2020   WN;6204;RSW;IND                        NORTH GABRIEL         FL                   US   73267   125820002@AIRLINE.KIWI.COM
W9U7ER   9/30/2020   OB   10/29/2020   WN;1551;FLL;BWI                        AMANDAFURT            WI                   US   66248   125821740@AIRLINE.KIWI.COM
WBHSSI   9/30/2020   OB    10/1/2020   WN;4;HOU;DAL;WN;4;DAL;LAX              SOUTH RICHARD         CA                   US   35659   125823335@AIRLINE.KIWI.COM
WK94TO   9/30/2020   OB    10/1/2020   WN;2193;MDW;LGA                        CONLEYLAND            IL                   US    6796   125833807@AIRLINE.KIWI.COM
WLHPU4   9/30/2020   OB   10/29/2020   WN;2180;MDW;ATL                        JACOBLAND             NE                   US   31199   125836073@AIRLINE.KIWI.COM
WOUPKB   9/30/2020   OB   10/16/2020   WN;951;BOS;BWI                         NORTH SHIRLEY         ME                   US    3503   125838856@AIRLINE.KIWI.COM
WPP9BR   9/30/2020   OB   11/12/2020   WN;1334;RIC;ATL                        MILLERMOUTH           KY                   US   14075   125840451@AIRLINE.KIWI.COM
WUFYES   9/30/2020   OB    10/4/2020   WN;1840;CLE;BWI;WN;1886;BWI;CLT        SOUTH JENNIFER        LA                   US   60248   125843982@AIRLINE.KIWI.COM
WVLKOJ   9/30/2020   OB   10/30/2020   WN;1522;DEN;BNA                        PORT SHANNONLAND      CA                   US   46792   125845093@AIRLINE.KIWI.COM
WX74YH   9/30/2020   OB   11/10/2020   WN;3254;ATL;RDU                        NORTH GREGORYBURGH    MT                   US   64128   125845819@AIRLINE.KIWI.COM
WXKVPB   9/30/2020   OB    10/6/2020   WN;1964;TPA;FLL                        PORT JOSEPHBURGH      WI                   US   61252   125846226@AIRLINE.KIWI.COM
WYANNL   9/30/2020   OB   11/27/2020   WN;24;HOU;DAL;WN;990;DAL;LBB           NEW PATRICIABERG      NY                   US   25893   125846600@AIRLINE.KIWI.COM
WYANNL   9/30/2020   OB   11/27/2020   WN;24;HOU;DAL;WN;990;DAL;LBB           NEW PATRICIABERG      NY                   US   25893   125846600@AIRLINE.KIWI.COM
WZ9F9C   9/30/2020   OB    10/7/2020   WN;1579;BUR;SJC;WN;1579;SJC;SEA        TYLERPORT             NE                   US   10660   125847139@AIRLINE.KIWI.COM
J6696J   10/1/2020   OB    10/1/2020   WN;2457;SDF;BWI                        NEW HANNAH            NORTHERN TERRITORY   AU   26021   125849900@AIRLINE.KIWI.COM
J6B5NT   10/1/2020   OB   11/11/2020   WN;3259;BHM;DEN                        SIERRABURY            OK                   US   78941   125850054@AIRLINE.KIWI.COM
J6B5NT   10/1/2020   RT   11/15/2020   WN;813;DEN;BHM                         SIERRABURY            OK                   US   78941   125850054@AIRLINE.KIWI.COM
J8W4GT   10/1/2020   OB    11/9/2020   WN;1002;HOU;BNA                        GREGORYMOUTH          WY                   US   58822   125851968@AIRLINE.KIWI.COM
J8YANT   10/1/2020   OB    11/6/2020   WN;690;DTW;MDW                         SOUTH KATHYFORT       GA                   US   39590   125851968@AIRLINE.KIWI.COM
J9F7LS   10/1/2020   OB   10/24/2020   WN;932;LAS;OAK                         SCHULTZVIEW           AL                   US   96677   125852144@AIRLINE.KIWI.COM
JAY5SZ   10/1/2020   OB    10/6/2020   WN;2544;TPA;SJU                        KHUTIR IRINA          ZAPORIZKA OBLAST     UA   26156   125852386@AIRLINE.KIWI.COM
JAY5SZ   10/1/2020   OB    10/6/2020   WN;2544;TPA;SJU                        KHUTIR IRINA          ZAPORIZKA OBLAST     UA   26156   125852386@AIRLINE.KIWI.COM
JBJFNI   10/1/2020   OB    10/1/2020   WN;1178;ATL;MDW;WN;1756;MDW;SMF        LAKE TONIMOUTH        MD                   US   97571   125852584@AIRLINE.KIWI.COM
JFT2RQ   10/1/2020   OB    10/4/2020   WN;821;BWI;RDU                         JESSICABERG           MT                   US   11557   125854498@AIRLINE.KIWI.COM
JIWJUW   10/1/2020   OB    11/6/2020   WN;901;MCI;BWI                         NEW CAITLINBERG       KY                   US   55435   125856533@AIRLINE.KIWI.COM
JIWJUW   10/1/2020   RT    11/9/2020   WN;1306;BWI;MCI                        NEW CAITLINBERG       KY                   US   55435   125856533@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   OB   12/24/2020   WN;2116;MDW;STL;WN;4986;STL;DEN;WN;282BRUCEFORT              ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   OB   12/24/2020   WN;2116;MDW;STL;WN;4986;STL;DEN;WN;282BRUCEFORT              ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   OB   12/24/2020   WN;2116;MDW;STL;WN;4986;STL;DEN;WN;282BRUCEFORT              ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   OB   12/24/2020   WN;2116;MDW;STL;WN;4986;STL;DEN;WN;282BRUCEFORT              ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   RT     1/3/2021   WN;1811;ONT;MDW                        BRUCEFORT             ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   RT     1/3/2021   WN;1811;ONT;MDW                        BRUCEFORT             ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   RT     1/3/2021   WN;1811;ONT;MDW                        BRUCEFORT             ID                   US   71660   125856907@AIRLINE.KIWI.COM
JK3TJA   10/1/2020   RT     1/3/2021   WN;1811;ONT;MDW                        BRUCEFORT             ID                   US   71660   125856907@AIRLINE.KIWI.COM
JKAZUL   10/1/2020   OB     1/2/2021   WN;1947;BOS;BWI;WN;897;BWI;ATL         LAKE ELIZABETHFURT    FL                   US   50114   125857017@AIRLINE.KIWI.COM
JKAZUL   10/1/2020   OB     1/2/2021   WN;1947;BOS;BWI;WN;897;BWI;ATL         LAKE ELIZABETHFURT    FL                   US   50114   125857017@AIRLINE.KIWI.COM
JKFZF2   10/1/2020   OB   12/26/2020   WN;1146;ATL;MDW;WN;2063;MDW;BOS        WILLIAMLAND           SC                   US   50994   125857028@AIRLINE.KIWI.COM
JKFZF2   10/1/2020   OB   12/26/2020   WN;1146;ATL;MDW;WN;2063;MDW;BOS        WILLIAMLAND           SC                   US   50994   125857028@AIRLINE.KIWI.COM
JKM83A   10/1/2020   OB    10/3/2020   WN;2005;FLL;BWI                        SOUTH TRACYVILLE      NM                   US   93395   125617910.1469621@AIRLINE.KIWI.COM
JKM83A   10/1/2020   OB    10/3/2020   WN;2005;FLL;BWI                        SOUTH TRACYVILLE      NM                   US   93395   125617910.1469621@AIRLINE.KIWI.COM
JMBEQX   10/1/2020   OB    11/8/2020   WN;1150;OGG;OAK                        LAKE CARLOS           SD                   US   57601   125856731@AIRLINE.KIWI.COM
JMPJ5Q   10/1/2020   OB    10/4/2020   WN;1064;ATL;IAD                        HRAZDAN               GEGARKUNIK           AM   24496   125857820@AIRLINE.KIWI.COM
JQYG38   10/1/2020   OB     1/9/2021   WN;4537;FLL;ATL;WN;4537;ATL;IND        LANCHXUTI             AJARIA               GE   98611   125804085@AIRLINE.KIWI.COM
JU9QAM   10/1/2020   OB   10/11/2020   WN;6749;DEN;DSM                        VIEJA CROACIA         JALISCO              MX   43138   125860933@AIRLINE.KIWI.COM
JU9QAM   10/1/2020   RT   10/20/2020   WN;6748;DSM;DEN                        VIEJA CROACIA         JALISCO              MX   43138   125860933@AIRLINE.KIWI.COM
JWLTGX   10/1/2020   OB    10/2/2020   WN;998;DEN;BNA                         WEST PAIGETOWN        NM                   US   74640   125862176@AIRLINE.KIWI.COM
JWLTGX   10/1/2020   OB    10/2/2020   WN;998;DEN;BNA                         WEST PAIGETOWN        NM                   US   74640   125862176@AIRLINE.KIWI.COM
KKMVD9   10/1/2020   OB    10/1/2020   WN;750;LAS;DEN                         FRANCISBOROUGH        KY                   US   36363   125877675@AIRLINE.KIWI.COM
KQORVG   10/1/2020   OB   12/23/2020   WN;4193;DTW;MCO;WN;4467;MCO;AUS        AMYCHESTER            KY                   US   57439   125878786@AIRLINE.KIWI.COM
KQTV7F   10/1/2020   OB   12/17/2020   WN;1261;BWI;DTW                        SOUTH LAURAFURT       GA                   US   14552   125878786@AIRLINE.KIWI.COM
KTFJH7   10/1/2020   OB    10/9/2020   WN;2122;LGA;ATL                        EAST SIERRASHIRE      ND                   US   55303   125889247@AIRLINE.KIWI.COM
KV4BOP   10/1/2020   OB    10/9/2020   WN;2122;LGA;ATL                        KARENMOUTH            NY                   US   21158   125892393@AIRLINE.KIWI.COM
KWSVMR   10/1/2020   OB   10/16/2020   WN;2291;PHX;OAK                        LAKE CHLOECHESTER     ID                   US   82686   125894604@AIRLINE.KIWI.COM
L7WN4B   10/1/2020   OB   10/18/2020   WN;2072;STL;LGA                        LUDINGHAUSEN          BADENWURTTEMBERG     DE   32379   125904394@AIRLINE.KIWI.COM
L8LOBO   10/1/2020   OB   10/18/2020   WN;2330;OMA;STL                        KOSHII HRAINCAA       PASHCHIMANCHAL       NP   80073   125904394@AIRLINE.KIWI.COM
LCSOBY   10/1/2020   OB    10/1/2020   WN;2352;OAK;BUR;WN;2591;BUR;LAS        KELLYSHIRE            NE                   US   47753   125910334@AIRLINE.KIWI.COM
LD7MUH   10/1/2020   OB    10/4/2020   WN;470;SAT;LAS;WN;2567;LAS;STL         CHRISTOPHERBURGH      CT                   US   12256   125910895@AIRLINE.KIWI.COM
LD7MUH   10/1/2020   OB    10/4/2020   WN;470;SAT;LAS;WN;2567;LAS;STL         CHRISTOPHERBURGH      CT                   US   12256   125910895@AIRLINE.KIWI.COM
LF4VDW   10/1/2020   OB    10/1/2020   WN;2069;LAX;DAL                        GREENBURGH            IL                   US   13750   125912996@AIRLINE.KIWI.COM
LF4VDW   10/1/2020   RT    10/8/2020   WN;1863;DAL;LAX                        GREENBURGH            IL                   US   13750   125912996@AIRLINE.KIWI.COM
LFMNRE   10/1/2020   OB   10/24/2020   WN;2513;LAS;SMF                        TURNERSTAD            AZ                   US    3273   125913722@AIRLINE.KIWI.COM
LFX9WN   10/1/2020   OB   10/22/2020   WN;1447;SMF;LAS                        EAST WILLIAM          AR                   US   74653   125913722@AIRLINE.KIWI.COM
LIYFFV   10/1/2020   OB    10/5/2020   WN;2626;ATL;MDW                        BENJAMINLAND          GA                   US   33349   125917561@AIRLINE.KIWI.COM
LJLNA6   10/1/2020   OB   10/13/2020   WN;6590;DEN;ICT                        WEST LISAVILLE        AL                   US   27607   125915900@AIRLINE.KIWI.COM
LKCBAK   10/1/2020   OB    1/21/2021   WN;3322;SNA;PHX                        NEW CHRISTINE         TX                   US   28563   125918551@AIRLINE.KIWI.COM
LKDZRF   10/1/2020   OB    10/5/2020   WN;2626;ATL;MDW                        HAMILTONMOUTH         WV                   US   50136   125918254@AIRLINE.KIWI.COM
LKKAHD   10/1/2020   OB    10/1/2020   WN;3202;DEN;SJC;WN;3202;SJC;LAS        RYANSHIRE             KS                   US   95923   125919167@AIRLINE.KIWI.COM
LKKAHD   10/1/2020   OB    10/1/2020   WN;3202;DEN;SJC;WN;3202;SJC;LAS        RYANSHIRE             KS                   US   95923   125919167@AIRLINE.KIWI.COM
LL9T6U   10/1/2020   OB    11/1/2020   WN;1064;MSY;ATL                        WARRENBOROUGH         NV                   US   83323   125919321@AIRLINE.KIWI.COM
LQ9VF6   10/1/2020   OB    10/2/2020   WN;2102;LAX;HOU                        WOODSSTAD             NM                   US   85197   125925525@AIRLINE.KIWI.COM




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LVBSW7   10/1/2020   OB   11/22/2020   WN;532;DSM;STL;WN;337;STL;RDU     GARCIASHIRE          ID                          US    2959   125931278@AIRLINE.KIWI.COM
LY4ZUH   10/1/2020   OB   12/31/2020   WN;2814;STL;SMF                   TAYLORFORT           TX                          US   83398   125935227@AIRLINE.KIWI.COM
LZ89JZ   10/1/2020   OB   10/27/2020   WN;2291;PHX;OAK                   FRANCISCOMOUTH       IL                          US   89068   125936052@AIRLINE.KIWI.COM
M8PTWR   10/1/2020   OB   10/17/2020   WN;1873;CLT;MDW                   LAKE LAUREN          CO                          US   38463   125944962@AIRLINE.KIWI.COM
MAPH99   10/1/2020   OB    10/6/2020   WN;2300;LAX;DEN                   NORTH JASON          CA                          US   26340   125946733@AIRLINE.KIWI.COM
MGW62J   10/1/2020   OB    10/9/2020   WN;2266;MDW;MEM                   NEW KEVINMOUTH       IL                          US   39992   125952464@AIRLINE.KIWI.COM
MHD62W   10/1/2020   OB    10/2/2020   WN;2002;FLL;BWI;WN;2597;BWI;BDL   RILEYFURT            WV                          US   61724   125952431@AIRLINE.KIWI.COM
MHD62W   10/1/2020   OB    10/2/2020   WN;2002;FLL;BWI;WN;2597;BWI;BDL   RILEYFURT            WV                          US   61724   125952431@AIRLINE.KIWI.COM
MLVFSM   10/1/2020   OB    10/4/2020   WN;2621;STL;MDW                   MICHAELAMOUTH        OH                          US   17398   125955005@AIRLINE.KIWI.COM
MR4LYB   10/2/2020   OB    10/9/2020   WN;1908;LGA;STL;WN;6600;STL;ATL   PAULSIDE             IN                          US   90895   125957667@AIRLINE.KIWI.COM
MRE7YV   10/2/2020   OB    10/7/2020   WN;2053;LAS;SNA                   THOMPSONBURY         NM                          US   25056   125957722@AIRLINE.KIWI.COM
MSCP4L   10/2/2020   OB   10/11/2020   WN;103;BNA;HOU                    ERICTOWN             AR                          US   97389   125958030@AIRLINE.KIWI.COM
MSJKTJ   10/2/2020   OB   11/21/2020   WN;2101;BWI;CVG                   NORTH DARREN         AR                          US   20912   125957898@AIRLINE.KIWI.COM
MU5PTL   10/2/2020   OB    10/2/2020   WN;1884;LAS;LGB                   SOUTH LATASHA        NEW SOUTH WALES             AU   26425   125958855@AIRLINE.KIWI.COM
MZGJ9P   10/2/2020   OB    11/2/2020   WN;1661;BWI;LAS                   PATRICKVIEW          AL                          US    2264   125960516@AIRLINE.KIWI.COM
N3UZ4Q   10/2/2020   OB    10/2/2020   WN;928;IAD;ATL                    SCHULTZBERG          SC                          US    5270   125962089@AIRLINE.KIWI.COM
N9LC5U   10/2/2020   OB    10/8/2020   WN;2416;ROC;BWI;WN;2377;BWI;FLL   CAKOVEC              OSJECKOBARANJSKA ZUPANIJA   HR   65611   125964399@AIRLINE.KIWI.COM
NDKMD8   10/2/2020   OB   10/16/2020   WN;6601;MCI;STL;WN;1970;STL;PHL   SOUTH MICHAELHAVEN   CA                          US   66373   125966533@AIRLINE.KIWI.COM
NER2PV   10/2/2020   OB    11/9/2020   WN;233;MSP;MDW;WN;432;MDW;FLL     MODESTO LIDO         SICILIA                     IT   43940   125966962@AIRLINE.KIWI.COM
NER2PV   10/2/2020   OB    11/9/2020   WN;233;MSP;MDW;WN;432;MDW;FLL     MODESTO LIDO         SICILIA                     IT   43940   125966962@AIRLINE.KIWI.COM
NFKTDR   10/2/2020   OB   10/17/2020   WN;2064;ATL;BWI                   KIMBERLYTOWN         CO                          US   79306   125967072@AIRLINE.KIWI.COM
NH3BRR   10/2/2020   OB    10/3/2020   WN;1690;OAK;LAS                   WEST LESLIEPORT      DE                          US    2093   125967974@AIRLINE.KIWI.COM
NH3BRR   10/2/2020   OB    10/3/2020   WN;1690;OAK;LAS                   WEST LESLIEPORT      DE                          US    2093   125967974@AIRLINE.KIWI.COM
NJTOFG   10/2/2020   OB    10/2/2020   WN;2614;BWI;MDW                   WEST JOSEPHSIDE      AL                          US   45587   125968832@AIRLINE.KIWI.COM
ONQHRM   10/2/2020   OB    10/2/2020   WN;2113;DTW;BNA;WN;2272;BNA;FLL   NGUYENHAVEN          MS                          US   98572   126006782@AIRLINE.KIWI.COM
OOMTXJ   10/2/2020   OB    10/2/2020   WN;2113;DTW;BNA;WN;2272;BNA;FLL   CHASESIDE            RI                          US   46458   126006782@AIRLINE.KIWI.COM
OWYSZE   10/2/2020   OB   10/18/2020   WN;1277;DEN;SJC                   PORT EDWARDVIEW      GA                          US   92428   126019498@AIRLINE.KIWI.COM
OXQF88   10/2/2020   OB    10/9/2020   WN;796;SJC;DEN                    HUTCHINSONHAVEN      MI                          US   87889   126019498@AIRLINE.KIWI.COM
P3F3UD   10/2/2020   OB   10/26/2020   WN;2642;DTW;BWI                   TAYLORFURT           MS                          US   92441   126024305@AIRLINE.KIWI.COM
P44IRA   10/2/2020   OB   10/18/2020   WN;1064;ATL;IAD                   SOUTH MICHAEL        ID                          US   45091   126024877@AIRLINE.KIWI.COM
P44IRA   10/2/2020   OB   10/18/2020   WN;1064;ATL;IAD                   SOUTH MICHAEL        ID                          US   45091   126024877@AIRLINE.KIWI.COM
P4KLYQ   10/2/2020   OB   10/26/2020   WN;2642;DTW;BWI                   ELIZABETHVILLE       MT                          US   69913   126025229@AIRLINE.KIWI.COM
P57PCM   10/2/2020   OB   10/18/2020   WN;565;OAK;BUR                    EAST CURTISBOROUGH   ID                          US   65707   126025845@AIRLINE.KIWI.COM
P5ALXA   10/2/2020   OB   10/14/2020   WN;1655;BUR;OAK                   WEST THERESA         WV                          US   51684   126025845@AIRLINE.KIWI.COM
P6MNOR   10/2/2020   OB   10/18/2020   WN;1799;PVD;DCA                   KRISTINBURY          DE                          US   64080   126027165@AIRLINE.KIWI.COM
P86UER   10/2/2020   OB   10/11/2020   WN;1835;BNA;MSY                   WALLSVILLE           KY                          US   60956   126028716@AIRLINE.KIWI.COM
P9H4PS   10/2/2020   OB    10/8/2020   WN;120;MSP;DEN                    EAST JERRYMOUTH      TN                          US   40408   126030311@AIRLINE.KIWI.COM
PBE2HL   10/2/2020   OB   10/31/2020   WN;1285;PVD;BWI                   KARENMOUTH           IN                          US   67918   126032566@AIRLINE.KIWI.COM
PDUF65   10/2/2020   OB   10/17/2020   WN;6602;MEM;DAL;WN;31;DAL;HOU     SHARONBURGH          NM                          US   26342   126035679@AIRLINE.KIWI.COM
PFTLLM   10/2/2020   OB    10/5/2020   WN;2253;HOU;PHX;WN;2374;PHX;LAX   SOUTH LEE            OK                          US   72704   126038858@AIRLINE.KIWI.COM
PHD9UJ   10/2/2020   OB    10/2/2020   WN;1074;PHX;LAS                   LAKE DANIELLEPORT    NV                          US   91946   126039804@AIRLINE.KIWI.COM
PIR285   10/2/2020   OB   10/17/2020   WN;2358;MCI;DAL                   LAKE KEITH           CO                          US   13067   126041828@AIRLINE.KIWI.COM
PIR285   10/2/2020   OB   10/17/2020   WN;2358;MCI;DAL                   LAKE KEITH           CO                          US   13067   126041828@AIRLINE.KIWI.COM
PJGK2F   10/2/2020   OB    10/6/2020   WN;2174;ONT;SMF                   VIEJA NIGERIA        SONORA                      MX   30790   126042774@AIRLINE.KIWI.COM
PLQ399   10/2/2020   OB   10/11/2020   WN;2312;OKC;DEN                   BNDR KYN             FARS                        IR   85316   126043918@AIRLINE.KIWI.COM
PLYP7G   10/2/2020   OB   10/23/2020   WN;183;BOS;BWI                    RONALDVILLE          FL                          US   29502   126044930@AIRLINE.KIWI.COM
PLYP7G   10/2/2020   RT   10/25/2020   WN;1840;BWI;BOS                   RONALDVILLE          FL                          US   29502   126044930@AIRLINE.KIWI.COM
PNR9WC   10/2/2020   OB    10/3/2020   WN;2450;HOU;FLL                   SOUTH JOHNTON        AMMAN AL ASIMAH             JO   95232   126046646@AIRLINE.KIWI.COM
POC6RB   10/2/2020   OB    10/2/2020   WN;998;DEN;BNA                    LAMIA                PREVEZA                     GR   64648   126047031@AIRLINE.KIWI.COM
POC6RB   10/2/2020   OB    10/2/2020   WN;998;DEN;BNA                    LAMIA                PREVEZA                     GR   64648   126047031@AIRLINE.KIWI.COM
PPLQKL   10/2/2020   OB   11/13/2020   WN;1519;MSY;LAX                   SOUTH APRILTON       MI                          US   86563   126048010@AIRLINE.KIWI.COM
PPLQKL   10/2/2020   OB   11/13/2020   WN;1519;MSY;LAX                   SOUTH APRILTON       MI                          US   86563   126048010@AIRLINE.KIWI.COM
PQ8SOW   10/2/2020   OB    10/4/2020   WN;979;ITO;HNL                    ONEILLMOUTH          AL                          US   48568   126045073@AIRLINE.KIWI.COM
PUSQJF   10/2/2020   OB    10/8/2020   WN;6743;MEM;ATL;WN;136;ATL;TPA    RICKYBOROUGH         NH                          US   62178   126052113@AIRLINE.KIWI.COM
PWDQAD   10/2/2020   OB    10/8/2020   WN;6743;MEM;ATL;WN;136;ATL;TPA    KRISTINEBOROUGH      MS                          US   70777   126053708@AIRLINE.KIWI.COM
Q99JJ5   10/3/2020   OB    2/28/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA   LEWISVILLE           ND                          US   26800   126056854@AIRLINE.KIWI.COM
Q99JJ5   10/3/2020   OB    2/28/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA   LEWISVILLE           ND                          US   26800   126056854@AIRLINE.KIWI.COM
Q9P76O   10/3/2020   OB    10/4/2020   WN;1938;OAK;LAS                   JUAREZBURY           IL                          US   72013   126059263@AIRLINE.KIWI.COM
Q9W4U6   10/3/2020   OB    10/3/2020   WN;710;ELP;LAS                    WEST MICHAELBURY     NJ                          US   92525   126056216@AIRLINE.KIWI.COM
Q9ZRW3   10/3/2020   OB   10/29/2020   WN;2266;MEM;DEN                   KYLESHIRE            KY                          US   16159   126059285@AIRLINE.KIWI.COM
Q9ZRW3   10/3/2020   OB   10/29/2020   WN;2266;MEM;DEN                   KYLESHIRE            KY                          US   16159   126059285@AIRLINE.KIWI.COM
QA4DW2   10/3/2020   OB    10/3/2020   WN;2371;MSP;MDW                   NORTH RACHEL         NM                          US   83985   126059835@AIRLINE.KIWI.COM
QA6D95   10/3/2020   OB    10/5/2020   WN;2038;PHX;LAS                   NORTH JAMESBURY      WA                          US   73609   126058273@AIRLINE.KIWI.COM
QA6D95   10/3/2020   OB    10/5/2020   WN;2038;PHX;LAS                   NORTH JAMESBURY      WA                          US   73609   126058273@AIRLINE.KIWI.COM
QA6D95   10/3/2020   OB    10/5/2020   WN;2038;PHX;LAS                   NORTH JAMESBURY      WA                          US   73609   126058273@AIRLINE.KIWI.COM
QAFUB4   10/3/2020   OB    10/3/2020   WN;1324;SMF;LAX                   NEW ADAMMOUTH        VT                          US   44212   126060165@AIRLINE.KIWI.COM
QAICWN   10/3/2020   OB   10/29/2020   WN;2266;MEM;DEN                   NORTH MICHAELBURY    LA                          US   72033   126060066@AIRLINE.KIWI.COM
QAICWN   10/3/2020   OB   10/29/2020   WN;2266;MEM;DEN                   NORTH MICHAELBURY    LA                          US   72033   126060066@AIRLINE.KIWI.COM
QC3U2Q   10/3/2020   OB    11/3/2020   WN;2545;DEN;MEM                   CHRISTINEFORT        VA                          US   59491   126060253@AIRLINE.KIWI.COM
QC3U2Q   10/3/2020   OB    11/3/2020   WN;2545;DEN;MEM                   CHRISTINEFORT        VA                          US   59491   126060253@AIRLINE.KIWI.COM
QCHQGN   10/3/2020   OB    11/3/2020   WN;2545;DEN;MEM                   NORTH AUSTIN         SC                          US   54693   126060231@AIRLINE.KIWI.COM
QCHQGN   10/3/2020   OB    11/3/2020   WN;2545;DEN;MEM                   NORTH AUSTIN         SC                          US   54693   126060231@AIRLINE.KIWI.COM
QDDAWQ   10/3/2020   OB    10/9/2020   WN;2266;MDW;MEM                   SOUTH BRITTANYFURT   NJ                          US   83991   126061419@AIRLINE.KIWI.COM
QDWKJQ   10/3/2020   OB    10/6/2020   WN;2372;LAX;PHX;WN;1992;PHX;ELP   PORT CALEBBERG       LEFKOSIA                    CY   51310   126061628@AIRLINE.KIWI.COM
QFHOF3   10/3/2020   OB    10/3/2020   WN;2477;HOU;ELP                   DENNISTOWN           OH                          US   49841   126062167@AIRLINE.KIWI.COM
QFHOF3   10/3/2020   RT    10/7/2020   WN;2316;ELP;PHX;WN;2589;PHX;HOU   DENNISTOWN           OH                          US   49841   126062167@AIRLINE.KIWI.COM
QFSOG5   10/3/2020   OB    10/3/2020   WN;2477;HOU;ELP                   BOYDTOWN             IL                          US   88925   126062167@AIRLINE.KIWI.COM
QFSOG5   10/3/2020   OB    10/3/2020   WN;2477;HOU;ELP                   BOYDTOWN             IL                          US   88925   126062167@AIRLINE.KIWI.COM
QFSOG5   10/3/2020   RT    10/7/2020   WN;2316;ELP;PHX;WN;2589;PHX;HOU   BOYDTOWN             IL                          US   88925   126062167@AIRLINE.KIWI.COM
QFSOG5   10/3/2020   RT    10/7/2020   WN;2316;ELP;PHX;WN;2589;PHX;HOU   BOYDTOWN             IL                          US   88925   126062167@AIRLINE.KIWI.COM
QNK4DO   10/3/2020   OB   11/30/2020   WN;3994;TPA;PHX;WN;1739;PHX;SAN   MURPHYHAVEN          NH                          US   68047   126065720@AIRLINE.KIWI.COM
QT8EXP   10/3/2020   OB   10/12/2020   WN;864;ATL;LGA                    STRICKLANDCHESTER    MS                          US   55747   126067777@AIRLINE.KIWI.COM
QT8EXP   10/3/2020   OB   10/12/2020   WN;864;ATL;LGA                    STRICKLANDCHESTER    MS                          US   55747   126067777@AIRLINE.KIWI.COM
QTEV8F   10/3/2020   OB   10/23/2020   WN;183;BOS;BWI                    DAYSIDE              AZ                          US   98038   126067711@AIRLINE.KIWI.COM
QTEV8F   10/3/2020   OB   10/23/2020   WN;183;BOS;BWI                    DAYSIDE              AZ                          US   98038   126067711@AIRLINE.KIWI.COM
QUUAXR   10/3/2020   OB   10/25/2020   WN;1840;BWI;BOS                   NORTH ANTONIOBERG    UT                          US   84916   126068514@AIRLINE.KIWI.COM
QUUAXR   10/3/2020   OB   10/25/2020   WN;1840;BWI;BOS                   NORTH ANTONIOBERG    UT                          US   84916   126068514@AIRLINE.KIWI.COM
R33473   10/3/2020   OB    10/8/2020   WN;1969;TUS;LAS;WN;2558;LAS;SNA   WEST RICHARD         FL                          US   72007   126070824@AIRLINE.KIWI.COM
S2XIP2   10/3/2020   OB   10/26/2020   WN;1066;HOU;ATL                   SOUTH JEFFREYVILLE   MO                          US   68145   126097994@AIRLINE.KIWI.COM
SEPW7J   10/3/2020   OB    12/5/2020   WN;2368;CLT;BWI                   BARTONSHIRE          DE                          US   66588   126110501@AIRLINE.KIWI.COM
SGJ5R6   10/3/2020   OB    10/4/2020   WN;2316;ELP;PHX;WN;2365;PHX;DEN   NORTH ANTONIO        CO                          US   65821   126112404@AIRLINE.KIWI.COM
SITPHF   10/3/2020   OB    11/6/2020   WN;1274;MDW;LAS                   NEW PAULINE          EAST AYRSHIRE               GB   38366   126115165@AIRLINE.KIWI.COM
SJHW8A   10/3/2020   OB    11/6/2020   WN;1274;MDW;LAS                   ANNAFORT             UT                          US   63716   126115165@AIRLINE.KIWI.COM
SKADDA   10/3/2020   OB    10/6/2020   WN;1285;PHX;DEN                   WILSONMOUTH          CA                          US   97351   126116606@AIRLINE.KIWI.COM
SKADDA   10/3/2020   OB    10/6/2020   WN;1285;PHX;DEN                   WILSONMOUTH          CA                          US   97351   126116606@AIRLINE.KIWI.COM
SO9XXD   10/3/2020   OB    11/9/2020   WN;1599;DEN;SLC                   TARASTAD             CA                          US   34080   126120291@AIRLINE.KIWI.COM
SPR84Q   10/3/2020   OB   11/24/2020   WN;1779;DEN;FLL                   SOUTH SABRINA        NY                          US   65000   126122689@AIRLINE.KIWI.COM
SS5IK5   10/3/2020   OB   10/19/2020   WN;2080;DAL;DEN                   NORTH JAYBERG        CA                          US    4260   126124141@AIRLINE.KIWI.COM
STP5KV   10/3/2020   OB    11/5/2020   WN;418;SJC;OGG                    DA PAZ               PARANA                      BR   33456   126127639@AIRLINE.KIWI.COM
STP5KV   10/3/2020   RT   11/11/2020   WN;1292;OGG;SJC                   DA PAZ               PARANA                      BR   33456   126127639@AIRLINE.KIWI.COM
SWV65F   10/3/2020   OB    10/3/2020   WN;2329;LAS;AUS                   TERESABURY           CT                          US   98272   126129916@AIRLINE.KIWI.COM
SXGIXK   10/3/2020   OB   10/23/2020   WN;966;FLL;MDW                    EAST ANGELA          TN                          US    5149   126131269@AIRLINE.KIWI.COM
SXSGG4   10/3/2020   OB    10/3/2020   WN;2385;BNA;LGA                   WARDLAND             NJ                          US   84440   126131544@AIRLINE.KIWI.COM
T26LMA   10/3/2020   OB   12/18/2020   WN;593;DEN;HOU                    WEST AMBER           VA                          US   32492   126134162@AIRLINE.KIWI.COM
T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY             KS                          US   52319   126136956@AIRLINE.KIWI.COM
T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY             KS                          US   52319   126136956@AIRLINE.KIWI.COM
T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY             KS                          US   52319   126136956@AIRLINE.KIWI.COM




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T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY               KS                     US   52319   126136956@AIRLINE.KIWI.COM
T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY               KS                     US   52319   126136956@AIRLINE.KIWI.COM
T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY               KS                     US   52319   126136956@AIRLINE.KIWI.COM
T63C9F   10/3/2020   OB   12/23/2020   WN;4193;DTW;MCO                   KINGBURY               KS                     US   52319   126136956@AIRLINE.KIWI.COM
TBUDSE   10/3/2020   OB    10/4/2020   WN;1807;SFO;DEN                   NEW DONALD             KS                     US   52891   126141213@AIRLINE.KIWI.COM
TDFYTG   10/3/2020   OB   10/31/2020   WN;1368;ONT;LAS                   JESSICAFURT            VT                     US   27061   126142258@AIRLINE.KIWI.COM
THLHFR   10/3/2020   OB    11/8/2020   WN;1352;RSW;ATL;WN;2040;ATL;GSP   PORT CRAIG             VT                     US   89891   126144414@AIRLINE.KIWI.COM
TKIZO5   10/3/2020   OB   10/15/2020   WN;1005;LAS;ONT                   NEW AMY                VA                     US   80087   126145932@AIRLINE.KIWI.COM
TKIZO5   10/3/2020   OB   10/15/2020   WN;1005;LAS;ONT                   NEW AMY                VA                     US   80087   126145932@AIRLINE.KIWI.COM
TKJXB7   10/3/2020   OB    3/30/2021   WN;971;LIH;HNL;WN;1738;HNL;SJC    HOUSEMOUTH             CA                     US   15072   126145877@AIRLINE.KIWI.COM
TL9Y9G   10/3/2020   OB    10/6/2020   WN;2005;FLL;BWI                   LYNNTOWN               WY                     US   49137   126146240@AIRLINE.KIWI.COM
J2KHEQ   10/4/2020   OB   11/15/2020   WN;1586;TPA;SJU                   PAKJIRAVIEW            NAKHON SI THAMMARAT    TH   49248   126231655@AIRLINE.KIWI.COM
J2ZKEA   10/4/2020   OB   10/11/2020   WN;1835;BNA;MSY                   JOANNEBURGH            ID                     US   10380   126232766@AIRLINE.KIWI.COM
J2ZKEA   10/4/2020   OB   10/11/2020   WN;1835;BNA;MSY                   JOANNEBURGH            ID                     US   10380   126232766@AIRLINE.KIWI.COM
J3R4LI   10/4/2020   OB    10/5/2020   WN;1547;SMF;SNA                   NORTH TYLERSHIRE       CT                     US   61144   126233382@AIRLINE.KIWI.COM
J4BDM9   10/4/2020   OB    10/6/2020   WN;1807;PHX;SFO                   CARPENTERTON           VA                     US   55242   126233283@AIRLINE.KIWI.COM
J4BDM9   10/4/2020   OB    10/6/2020   WN;1807;PHX;SFO                   CARPENTERTON           VA                     US   55242   126233283@AIRLINE.KIWI.COM
TOG7DA   10/4/2020   OB    10/4/2020   WN;1671;BUR;SFO                   WEST SAMANTHA          UT                     US   11773   126147681@AIRLINE.KIWI.COM
TOXGC5   10/4/2020   OB    10/9/2020   WN;950;BWI;BOS                    NORTH JONATHAN         MN                     US   61605   126147912@AIRLINE.KIWI.COM
TOYDCD   10/4/2020   OB   12/18/2020   WN;593;DEN;HOU                    EAST SHARONBURY        CT                     US   90422   126147780@AIRLINE.KIWI.COM
TQ96JG   10/4/2020   OB    10/4/2020   WN;2002;ATL;MEM                   ROBINSONTOWN           MS                     US   56178   126148583@AIRLINE.KIWI.COM
TSUDYM   10/4/2020   OB   10/30/2020   WN;3005;PIT;BWI;WN;1458;BWI;MCO   WEST YVETTE            UT                     US   79226   126149166@AIRLINE.KIWI.COM
TXCBDQ   10/4/2020   OB    10/5/2020   WN;2090;LAX;LAS                   DANATOWN               IL                     US   61462   126149430@AIRLINE.KIWI.COM
U5M555   10/4/2020   OB   10/29/2020   WN;2232;MDW;HOU                   PORT JAMESTOWN         NC                     US   35979   126152356@AIRLINE.KIWI.COM
U5ZWUJ   10/4/2020   OB   12/26/2020   WN;2294;DEN;LIT                   VELASQUEZPORT          NV                     US   70611   126152411@AIRLINE.KIWI.COM
U69HCA   10/4/2020   OB   12/22/2020   WN;850;LIT;DEN                    SOUTH DAVIDPORT        LA                     US    3679   126152422@AIRLINE.KIWI.COM
U7HRP6   10/4/2020   OB   11/18/2020   WN;2944;SDF;ATL                   PORT KELLY             NV                     US    1929   126152961@AIRLINE.KIWI.COM
UEVBG7   10/4/2020   OB    10/6/2020   WN;1543;LAS;MDW                   WATERSBOROUGH          LA                     US   71577   126155106@AIRLINE.KIWI.COM
UYZEYU   10/4/2020   OB    10/4/2020   WN;2302;LAS;MDW                   HUMPHREYFURT           NC                     US   37224   126163906@AIRLINE.KIWI.COM
VAWXP4   10/4/2020   OB   10/20/2020   WN;1453;LAX;SMF                   LAURABURGH             ID                     US   89727   126172090@AIRLINE.KIWI.COM
VG4P9P   10/4/2020   OB    10/4/2020   WN;2416;BWI;ATL                   VIZELA                 SETUBAL                PT   12702   126178052@AIRLINE.KIWI.COM
VGNHIL   10/4/2020   OB    10/8/2020   WN;6500;BWI;RSW                   RICHARDBURY            IN                     US   64635   126178745@AIRLINE.KIWI.COM
VGNHIL   10/4/2020   RT   10/13/2020   WN;392;RSW;BWI                    RICHARDBURY            IN                     US   64635   126178745@AIRLINE.KIWI.COM
VMRC7P   10/4/2020   OB    10/5/2020   WN;2299;HOU;MDW                   BROWNBURGH             MD                     US   55784   126184179@AIRLINE.KIWI.COM
VNTPF2   10/4/2020   OB    10/4/2020   WN;2104;HOU;LAX                   NORTH TINA             AL                     US   45336   126184828@AIRLINE.KIWI.COM
VOV2M8   10/4/2020   OB    10/4/2020   WN;710;DAL;ELP                    WILLIAMSTAD            CT                     US   93234   126185400@AIRLINE.KIWI.COM
VT7UMN   10/4/2020   OB    10/6/2020   WN;311;ECP;BNA                    NEW RICHARD            DE                     US   87296   126190218@AIRLINE.KIWI.COM
VTGYFX   10/4/2020   OB   10/10/2020   WN;2477;ATL;HOU                   SOUTH JACKIESTAD       IL                     US   86611   126191384@AIRLINE.KIWI.COM
VU7H5Q   10/4/2020   OB    10/5/2020   WN;1075;ATL;MDW                   EAST AMANDA            WV                     US   28842   126191538@AIRLINE.KIWI.COM
VX8NCL   10/4/2020   OB    10/5/2020   WN;2505;BNA;MDW                   WATERSSTAD             ID                     US    5124   126195201@AIRLINE.KIWI.COM
VYELDY   10/4/2020   OB   10/20/2020   WN;6543;IND;ATL                   HENG BANG SHI HU ZHO   TOCHIGI                JP   38082   126195773@AIRLINE.KIWI.COM
W345LZ   10/4/2020   OB   12/18/2020   WN;551;SDF;ATL                    SOUTH BROOKE           MD                     US   87518   126152961.1472807@AIRLINE.KIWI.COM
W345LZ   10/4/2020   RT     1/3/2021   WN;1772;ATL;SDF                   SOUTH BROOKE           MD                     US   87518   126152961.1472807@AIRLINE.KIWI.COM
W4ARQH   10/4/2020   OB    10/4/2020   WN;1650;PHX;ONT                   PRICEMOUTH             OK                     US   38329   126200360@AIRLINE.KIWI.COM
W4ESIV   10/4/2020   OB   10/12/2020   WN;2273;MSY;MDW                   MERCERMOUTH            NE                     US    9542   126200437@AIRLINE.KIWI.COM
W7YVT3   10/4/2020   OB     1/8/2021   WN;5877;ORF;BWI                   WAREN                  AL                     US   32139   126203297@AIRLINE.KIWI.COM
W9DL5W   10/4/2020   OB    10/5/2020   WN;2470;SEA;SMF                   DEBORAHTON             TN                     US   24331   126205959@AIRLINE.KIWI.COM
WDQMNA   10/4/2020   OB    10/5/2020   WN;776;ATL;CMH                    ACEVEDOVIEW            GA                     US   31671   126211371@AIRLINE.KIWI.COM
WEMGV2   10/4/2020   OB   10/14/2020   WN;2255;IAD;ATL;WN;2255;ATL;MCO   NORTH DANIEL           WA                     US    3880   126212218@AIRLINE.KIWI.COM
WGS849   10/4/2020   OB    10/4/2020   WN;2507;LAS;LAX                   CORYFURT               FL                     US   97756   126214825@AIRLINE.KIWI.COM
WQOONE   10/4/2020   OB   10/12/2020   WN;1933;ATL;LGA                   NEW JAMES              NC                     US   66488   126226045@AIRLINE.KIWI.COM
WQRJ9Q   10/4/2020   OB    10/5/2020   WN;1543;LAS;MDW                   JOSEPHBURGH            PA                     US   14943   126225374@AIRLINE.KIWI.COM
WSIADB   10/4/2020   OB   10/18/2020   WN;2565;SNA;SMF                   WEST ERIKABOROUGH      VT                     US   11588   126227376@AIRLINE.KIWI.COM
WSIADB   10/4/2020   OB   10/18/2020   WN;2565;SNA;SMF                   WEST ERIKABOROUGH      VT                     US   11588   126227376@AIRLINE.KIWI.COM
WSIG4B   10/4/2020   OB    10/9/2020   WN;1866;CLT;BWI                   WEST JOE               TX                     US   23244   126227574@AIRLINE.KIWI.COM
WTWC9L   10/4/2020   OB   10/11/2020   WN;2565;SNA;SMF                   WEST ROBINPORT         IL                     US   19496   126227376.1473025@AIRLINE.KIWI.COM
WTWC9L   10/4/2020   OB   10/11/2020   WN;2565;SNA;SMF                   WEST ROBINPORT         IL                     US   19496   126227376.1473025@AIRLINE.KIWI.COM
WTWC9L   10/4/2020   RT   10/13/2020   WN;2245;SMF;SNA                   WEST ROBINPORT         IL                     US   19496   126227376.1473025@AIRLINE.KIWI.COM
WTWC9L   10/4/2020   RT   10/13/2020   WN;2245;SMF;SNA                   WEST ROBINPORT         IL                     US   19496   126227376.1473025@AIRLINE.KIWI.COM
WVDUCP   10/4/2020   OB   10/29/2020   WN;1388;MCO;DEN                   NEW CARLOSFORT         LA                     US   86790   126229653@AIRLINE.KIWI.COM
WVDUCP   10/4/2020   OB   10/29/2020   WN;1388;MCO;DEN                   NEW CARLOSFORT         LA                     US   86790   126229653@AIRLINE.KIWI.COM
WYFURN   10/4/2020   OB   10/20/2020   WN;1537;SMF;LGB                   WEST TRAVISVIEW        IN                     US   58531   126231468@AIRLINE.KIWI.COM
WZALBK   10/4/2020   OB   10/30/2020   WN;1886;BWI;CLT                   NORTH DAVID            NV                     US   73173   126232095@AIRLINE.KIWI.COM
WZH93B   10/4/2020   OB    10/7/2020   WN;2018;HNL;ITO                   WEST CHASETOWN         RI                     US   96844   124819629.1473052@AIRLINE.KIWI.COM
WZV5TX   10/4/2020   OB    10/8/2020   WN;5626;ATL;MDW                   MELISSABERG            ND                     US   47474   126232403@AIRLINE.KIWI.COM
J8VADL   10/5/2020   OB    10/5/2020   WN;1537;LAS;OKC                   VIEJA LIECHTENSTEIN    TABASCO                MX   92780   126234944@AIRLINE.KIWI.COM
J929GZ   10/5/2020   OB    10/8/2020   WN;2280;OAK;DAL;WN;6603;DAL;BHM   LAKE ROBERT            IA                     US   59236   126235120@AIRLINE.KIWI.COM
J95YAL   10/5/2020   OB   11/23/2020   WN;750;KOA;HNL;WN;1148;HNL;OAK    SAN MAURO LOS ALTOS    COAHUILA DE ZARAGOZA   MX   52369   126234955@AIRLINE.KIWI.COM
JDLQRU   10/5/2020   OB    10/6/2020   WN;2299;HOU;MDW                   JACQUELINEBOROUGH      NY                     US   14112   126236363@AIRLINE.KIWI.COM
JGARA8   10/5/2020   OB    10/5/2020   WN;1974;SAN;LAS                   SOUTH ANGELA           NJ                     US   95200   126237705@AIRLINE.KIWI.COM
JKTT5E   10/5/2020   OB   10/11/2020   WN;2633;SJC;SAN                   EAST MELISSA           VT                     US   85795   126239894@AIRLINE.KIWI.COM
JLL8WW   10/5/2020   OB   10/18/2020   WN;6628;DEN;OKC                   EAST THOMASTOWN        AL                     US   75726   126239751@AIRLINE.KIWI.COM
JN5O8A   10/5/2020   OB    10/5/2020   WN;2588;SMF;LAX                   LAKE RYAN              WV                     US   51928   126240543@AIRLINE.KIWI.COM
JPYR2Q   10/5/2020   OB    10/5/2020   WN;776;ATL;CMH                    TRAVISMOUTH            OH                     US   46509   126241269@AIRLINE.KIWI.COM
JQ63CU   10/5/2020   OB    10/5/2020   WN;2287;OAK;LAX                   JEFFREYTON             KY                     US   34032   126241489@AIRLINE.KIWI.COM
JSJM4H   10/5/2020   OB    10/5/2020   WN;849;ATL;IAD                    OLSENVILLE             CO                     US   13137   126242259@AIRLINE.KIWI.COM
JSLA23   10/5/2020   OB     1/3/2021   WN;1766;MCO;DTW                   BRADLEYVIEW            OR                     US   26295   126242149@AIRLINE.KIWI.COM
JSLA23   10/5/2020   OB     1/3/2021   WN;1766;MCO;DTW                   BRADLEYVIEW            OR                     US   26295   126242149@AIRLINE.KIWI.COM
JYNXDN   10/5/2020   OB   11/19/2020   WN;1440;SFO;MDW                   NORTH EGLEBOROUGH      AL                     US   52785   126244063@AIRLINE.KIWI.COM
K49HSM   10/5/2020   OB   10/25/2020   WN;2053;HOU;MAF                   ELLISONVIEW            ME                     US   29826   126246087@AIRLINE.KIWI.COM
K5FU8C   10/5/2020   OB   10/31/2020   WN;2266;PHX;BNA                   SAN ALEJANDRO LOS BA   CHIAPAS                MX   96153   126237375@AIRLINE.KIWI.COM
K6MRLF   10/5/2020   OB    10/5/2020   WN;2506;LAX;SMF                   JONFURT                AL                     US   18948   126247275@AIRLINE.KIWI.COM
K6MVIA   10/5/2020   OB    10/5/2020   WN;1324;SMF;LAX                   KAISERBURGH            AL                     US    3591   126247275@AIRLINE.KIWI.COM
K74X2F   10/5/2020   OB    10/7/2020   WN;2245;SMF;SNA                   MIN XIAN               GUANGDONG SHENG        CN   30717   126247781@AIRLINE.KIWI.COM
K7ORXO   10/5/2020   OB   10/20/2020   WN;1014;MEM;MDW                   FRANCISCOBERG          VA                     US    7829   126247858@AIRLINE.KIWI.COM
K7ORXO   10/5/2020   OB   10/20/2020   WN;1014;MEM;MDW                   FRANCISCOBERG          VA                     US    7829   126247858@AIRLINE.KIWI.COM
K888GM   10/5/2020   OB    10/5/2020   WN;2621;ATL;STL;WN;2621;STL;MDW   FERGUSONCHESTER        MS                     US    4276   126248364@AIRLINE.KIWI.COM
KAR7OO   10/5/2020   OB    11/9/2020   WN;1784;OGG;KOA                   DA TIAN QU             CA                     US   32965   126249057@AIRLINE.KIWI.COM
KAYGS7   10/5/2020   OB   10/27/2020   WN;2214;STL;ICT                   EAST ANDREABURGH       NY                     US   74945   126250058@AIRLINE.KIWI.COM
KAZNWR   10/5/2020   OB    11/8/2020   WN;1879;HNL;OGG                   ZA CUO SHI             CA                     US   88923   126249057@AIRLINE.KIWI.COM
KM5DXH   10/5/2020   OB    10/6/2020   WN;1964;TPA;FLL                   ZOEBURGH               SUTTON                 GB   52465   126262554@AIRLINE.KIWI.COM
KWCOOM   10/5/2020   OB   10/20/2020   WN;1688;PIT;BWI;WN;821;BWI;RDU    BRIANNAMOUTH           NV                     US   26691   126274676@AIRLINE.KIWI.COM
KZJ7RC   10/5/2020   OB    10/5/2020   WN;2068;ATL;RIC                   JOANCHESTER            OR                     US   84808   126278086@AIRLINE.KIWI.COM
L7EMW9   10/5/2020   OB    11/3/2020   WN;127;ATL;MCO                    WEST JENNIFER          KS                     US   89648   126285258@AIRLINE.KIWI.COM
LB8JFK   10/5/2020   OB    10/5/2020   WN;2058;SAN;DEN                   WILLIAMLAND            HI                     US   56791   126290505@AIRLINE.KIWI.COM
LHDZTC   10/5/2020   OB   10/20/2020   WN;1934;CLE;BWI                   WEST ABIGAILSIDE       WA                     US   52195   126300999@AIRLINE.KIWI.COM
LKQO3R   10/5/2020   OB   10/20/2020   WN;6543;IND;ATL                   EAST CHASEFURT         MN                     US   14250   126306576@AIRLINE.KIWI.COM
LL7BR6   10/5/2020   OB   10/16/2020   WN;6544;ATL;IND                   VARGASFURT             MA                     US   25684   126306576@AIRLINE.KIWI.COM
LM9W8S   10/5/2020   OB    10/8/2020   WN;6820;BWI;CMH                   ZAKUNTHOS              RODOPI                 GR   67523   126308303@AIRLINE.KIWI.COM
LNHVLH   10/5/2020   OB   11/11/2020   WN;3663;MDW;SEA                   REBECCAVIEW            SC                     US   10227   123775311.1473689@AIRLINE.KIWI.COM
LNLUBH   10/5/2020   OB   11/11/2020   WN;2443;MCO;MDW                   WEST PATTYCHESTER      CA                     US   81984   123775311.1473689@AIRLINE.KIWI.COM
LOAAMD   10/5/2020   OB    10/8/2020   WN;1950;DEN;BNA                   ROBERTPORT             AL                     US   29778   126309975@AIRLINE.KIWI.COM
LP3XD8   10/5/2020   OB   11/11/2020   WN;2443;MCO;MDW                   NORTH ROGER            VT                     US   60460   125913337.1473695@AIRLINE.KIWI.COM
LP9HXC   10/5/2020   OB   11/11/2020   WN;3663;MDW;SEA                   PATRICKSHIRE           CA                     US   86697   125913337.1473695@AIRLINE.KIWI.COM
LQTEKX   10/5/2020   OB   10/31/2020   WN;1790;MDW;DEN                   MARIATOWN              WI                     US    3803   126313814@AIRLINE.KIWI.COM
LQTEKX   10/5/2020   RT    11/2/2020   WN;772;DEN;MDW                    MARIATOWN              WI                     US    3803   126313814@AIRLINE.KIWI.COM
LU5LD6   10/5/2020   OB   10/12/2020   WN;645;DEN;ABQ                    LAKE RICHARDFORT       OK                     US   41023   126318764@AIRLINE.KIWI.COM




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LU5LD6   10/5/2020   RT   10/26/2020   WN;2078;ABQ;DEN                        LAKE RICHARDFORT       OK                 US    41023   126318764@AIRLINE.KIWI.COM
LVVMEP   10/5/2020   OB    10/6/2020   WN;2210;MDW;LAS                        WEST BENJAMINFURT      MN                 US    21615   126320557@AIRLINE.KIWI.COM
LVXA4W   10/5/2020   OB    1/17/2021   WN;5342;LAS;DAL;WN;3735;DAL;TUL        NEW JUSTINSHIRE        AZ                 US    28911   126320700@AIRLINE.KIWI.COM
M2DG8Q   10/5/2020   OB    11/7/2020   WN;3716;HOU;BWI                        SOUTH MARTYNBURGH      AL                 US    16472   126325650@AIRLINE.KIWI.COM
M2ZADF   10/5/2020   OB    10/6/2020   WN;478;ATL;MCO;WN;478;MCO;FLL          GIBBSMOUTH             MT                 US    14461   126327289@AIRLINE.KIWI.COM
M5JQDL   10/5/2020   OB    10/9/2020   WN;840;LGB;SMF                         LINDSEYBURY            IA                 US    64931   126330512@AIRLINE.KIWI.COM
M5JQDL   10/5/2020   RT   10/11/2020   WN;5699;SMF;BUR                        LINDSEYBURY            IA                 US    64931   126330512@AIRLINE.KIWI.COM
M5RC6V   10/5/2020   OB    10/9/2020   WN;840;LGB;SMF                         RACHELBURY             UT                 US    88976   126330512@AIRLINE.KIWI.COM
M5RC6V   10/5/2020   RT   10/11/2020   WN;5699;SMF;BUR                        RACHELBURY             UT                 US    88976   126330512@AIRLINE.KIWI.COM
M6KTXJ   10/5/2020   OB     1/4/2021   WN;653;LAS;OAK                         CALLAHANBURY           FL                 US    91939   126332437@AIRLINE.KIWI.COM
M79XHW   10/5/2020   OB   12/28/2020   WN;1124;OAK;LAS                        PORT MICHAELCHESTER    CT                 US    96655   126332415@AIRLINE.KIWI.COM
M7ZBMP   10/5/2020   OB   10/24/2020   WN;1733;LGB;DEN                        NORTH KRISTEN          DE                 US    68503   126332580@AIRLINE.KIWI.COM
M8I3DQ   10/5/2020   OB   10/19/2020   WN;1964;TPA;FLL                        EAST MAKAYLAVILLE      MA                 US    54662   126334626@AIRLINE.KIWI.COM
MGBTTG   10/5/2020   OB    10/6/2020   WN;2064;ATL;BWI;WN;1923;BWI;ROC        EAST JOHN              NC                 US    59146   126342018@AIRLINE.KIWI.COM
MGK5MM   10/5/2020   OB    10/6/2020   WN;513;ATL;BWI                         FOXMOUTH               CO                 US    36673   126341996@AIRLINE.KIWI.COM
MGL4ZM   10/5/2020   OB   10/31/2020   WN;2401;BWI;ISP                        ERICALAND              CA                 US    83885   126320623@AIRLINE.KIWI.COM
MI3PZ4   10/5/2020   OB    10/9/2020   WN;1878;LGA;BNA;WN;1878;BNA;ATL        NORTH MICHAEL          VA                 US    57944   126343008@AIRLINE.KIWI.COM
MI6SBM   10/5/2020   OB   11/25/2020   WN;3464;ATL;RIC                        NEW DEANNATON          FL                 US    70485   126342887@AIRLINE.KIWI.COM
MJUPW9   10/5/2020   OB   12/31/2020   WN;2202;BNA;DAL;WN;1673;DAL;HOU        TYLERFURT              VA                 US    51570   126344020@AIRLINE.KIWI.COM
MNRLLZ   10/5/2020   OB    10/8/2020   WN;6750;ATL;MEM;WN;2266;MEM;DEN        CITRKUUTT              GUJARAT            IN    70341   126345934@AIRLINE.KIWI.COM
MTESSK   10/6/2020   OB    11/7/2020   WN;3661;BUR;LAS                        JOSEPHFURT             IN                 US    53767   126348541@AIRLINE.KIWI.COM
MTJI4C   10/6/2020   OB   10/18/2020   WN;2383;OAK;LAX                        MICHAELVILLE           ME                 US    28310   126348453@AIRLINE.KIWI.COM
MTJI4C   10/6/2020   OB   10/18/2020   WN;2383;OAK;LAX                        MICHAELVILLE           ME                 US    28310   126348453@AIRLINE.KIWI.COM
MTJI4C   10/6/2020   OB   10/18/2020   WN;2383;OAK;LAX                        MICHAELVILLE           ME                 US    28310   126348453@AIRLINE.KIWI.COM
MTJI4C   10/6/2020   OB   10/18/2020   WN;2383;OAK;LAX                        MICHAELVILLE           ME                 US    28310   126348453@AIRLINE.KIWI.COM
MTOOMH   10/6/2020   OB   10/10/2020   WN;6507;OKC;MDW                        STEVENFURT             CA                 US    16871   126348123@AIRLINE.KIWI.COM
MUA3TV   10/6/2020   OB   10/20/2020   WN;112;ATL;RDU                         CHRISTINETON           OK                 US    78663   126349080@AIRLINE.KIWI.COM
MUB974   10/6/2020   OB   10/13/2020   WN;6995;DEN;OKC                        NORTH VANESSAHAVEN     WA                 US    30449   126348123@AIRLINE.KIWI.COM
N23VNG   10/6/2020   OB   10/12/2020   WN;782;DTW;MDW;WN;6510;MDW;BUF         CORYVILLE              NV                 US    28297   126352501@AIRLINE.KIWI.COM
N266GQ   10/6/2020   OB   10/23/2020   WN;1742;BWI;MHT                        JOHNSONBOROUGH         MD                 US    16745   126352677@AIRLINE.KIWI.COM
N266GQ   10/6/2020   RT   10/28/2020   WN;1746;MHT;BWI                        JOHNSONBOROUGH         MD                 US    16745   126352677@AIRLINE.KIWI.COM
N2FOEI   10/6/2020   OB   11/19/2020   WN;369;SAT;BNA;WN;510;BNA;BWI          PORT RICHARD           MI                 US    69092   126352589@AIRLINE.KIWI.COM
N2FOEI   10/6/2020   RT    12/6/2020   WN;2548;BWI;SAT                        PORT RICHARD           MI                 US    69092   126352589@AIRLINE.KIWI.COM
N8G55M   10/6/2020   OB    10/6/2020   WN;2641;ATL;BWI;WN;862;BWI;BUF         RAMIREZTON             AZ                 US    36535   126355482@AIRLINE.KIWI.COM
N9V72O   10/6/2020   OB   10/22/2020   WN;2602;DCA;DAL                        LACRAMIOARASIDE        TIMIS              RO    87949   126356285@AIRLINE.KIWI.COM
NAMK6Y   10/6/2020   OB    10/6/2020   WN;2061;HOU;MCO                        WEST DERRICKSTAD       MT                 US    91740   126356879@AIRLINE.KIWI.COM
NBKYZ3   10/6/2020   OB    10/9/2020   WN;1971;SFO;BUR                        KATRINABURGH           KY                 US    80075   126357011@AIRLINE.KIWI.COM
NBKYZ3   10/6/2020   RT   10/11/2020   WN;2502;BUR;SFO                        KATRINABURGH           KY                 US    80075   126357011@AIRLINE.KIWI.COM
NCU6PZ   10/6/2020   OB    11/9/2020   WN;605;PHX;BUR                         PORT TERESAFORT        NY                 US    41840   126357451@AIRLINE.KIWI.COM
NDAOXK   10/6/2020   OB    10/6/2020   WN;1669;LAS;OAK                        MARTINSTAD             WI                 US    38288   126357924@AIRLINE.KIWI.COM
NDAOXK   10/6/2020   OB    10/6/2020   WN;1669;LAS;OAK                        MARTINSTAD             WI                 US    38288   126357924@AIRLINE.KIWI.COM
NDK9BY   10/6/2020   OB   10/21/2020   WN;1547;SMF;SNA                        HOLLYPORT              NY                 US    40542   126357825@AIRLINE.KIWI.COM
NE2ARC   10/6/2020   OB   10/28/2020   WN;2313;SNA;SMF                        SOUTH JENNIFERPORT     CT                 US    27187   126357913@AIRLINE.KIWI.COM
NFBPXF   10/6/2020   OB    10/7/2020   WN;3399;HOU;MDW;WN;2642;MDW;DTW        CAMPBELLFORT           NV                 US    91677   126358496@AIRLINE.KIWI.COM
NFSJ8C   10/6/2020   OB   10/29/2020   WN;2003;BWI;SAT                        ELIZABETHFORT          NE                 US    89389   126358991@AIRLINE.KIWI.COM
NFWU99   10/6/2020   OB    10/8/2020   WN;2565;SNA;SMF                        PORT JEFFREY           MN                 US    97869   126359090@AIRLINE.KIWI.COM
NG7D2D   10/6/2020   OB    11/1/2020   WN;124;SAT;BWI                         GALLEGOSTOWN           ID                 US    93807   126358980@AIRLINE.KIWI.COM
NHFQ6Z   10/6/2020   OB   10/23/2020   WN;1837;SFO;LAX                        JOHNSONBURGH           UT                 US    42907   126360102@AIRLINE.KIWI.COM
NHN4EM   10/6/2020   OB   10/12/2020   WN;1456;SMF;LGB;WN;1456;LGB;LAS        SOUTH KIMBERLYSIDE     AK                 US    13545   126360146@AIRLINE.KIWI.COM
NIDM5F   10/6/2020   OB    11/6/2020   WN;135;LGA;ATL;WN;2040;ATL;GSP         EAST JOSEPHSIDE        NM                 US    49910   126360300@AIRLINE.KIWI.COM
NOPFL6   10/6/2020   OB   10/12/2020   WN;1064;ATL;IAD                        MOOREBURY              CA                 US    26818   126363578@AIRLINE.KIWI.COM
NOPFL6   10/6/2020   OB   10/12/2020   WN;1064;ATL;IAD                        MOOREBURY              CA                 US    26818   126363578@AIRLINE.KIWI.COM
NPGJO5   10/6/2020   OB    10/6/2020   WN;2567;LAS;STL                        DIANEMOUTH             SC                 US    57232   126364205@AIRLINE.KIWI.COM
NQAE8T   10/6/2020   OB    10/6/2020   WN;1453;LAX;SMF                        WEST STEPHENCHESTER    MT                 US    74851   126364568@AIRLINE.KIWI.COM
OLBZP4   10/6/2020   OB    10/7/2020   WN;2255;IAD;ATL;WN;2255;ATL;MCO        ERENALPTON             ISPARTA            TR     3228   126395830@AIRLINE.KIWI.COM
OOX34V   10/6/2020   OB    10/6/2020   WN;2526;CMH;DEN;WN;1278;DEN;OAK        EAST MATTHEW           DE                 US    25860   126399988@AIRLINE.KIWI.COM
OQE3QA   10/6/2020   OB   11/10/2020   WN;2970;ATL;IAD                        MEYERBOURG             LA REUNION         FR    34272   126393916@AIRLINE.KIWI.COM
OS2YKX   10/6/2020   OB   10/11/2020   WN;2185;SJU;FLL                        JORGEBURGH             VA                 US     3672   125862627@AIRLINE.KIWI.COM
OUGROF   10/6/2020   OB    10/7/2020   WN;1340;PHX;SNA                        EDWARDSBURGH           IL                 US    28873   126407402@AIRLINE.KIWI.COM
OWEVTC   10/6/2020   OB    10/7/2020   WN;2135;LAS;OMA                        DANASTAD               WA                 US    92221   126410449@AIRLINE.KIWI.COM
OXSH5I   10/6/2020   OB   11/24/2020   WN;2867;MCO;MCI                        NICOLELAND             AL                 US    27926   126412407@AIRLINE.KIWI.COM
OXW2T7   10/6/2020   OB    10/6/2020   WN;1935;PWM;BWI;WN;1806;BWI;PIT        ANNTPUR                MANIPUR            IN    55946   126412209@AIRLINE.KIWI.COM
OYAXAN   10/6/2020   OB   10/12/2020   WN;115;MCI;STL;WN;2064;STL;ATL         NORTH JENNIFER         CA                 US    10447   126412594@AIRLINE.KIWI.COM
OYAXAN   10/6/2020   RT   10/17/2020   WN;478;ATL;MCO;WN;1011;MCO;MCI         NORTH JENNIFER         CA                 US    10447   126412594@AIRLINE.KIWI.COM
P2RPID   10/6/2020   OB    10/9/2020   WN;2090;LAX;LAS;WN;1667;LAS;CMH        TUCKERBURGH            TX                 US    26559   126415399@AIRLINE.KIWI.COM
P5AVMS   10/6/2020   OB   11/16/2020   WN;1282;OAK;HNL                        WEST CYNTHIASIDE       IA                 US     3786   125877840.1474584@AIRLINE.KIWI.COM
P5YM7W   10/6/2020   OB    3/11/2021   WN;2142;MCO;BWI;WN;425;BWI;MHT         HAYNESSTAD             MA                 US    36151   126418974@AIRLINE.KIWI.COM
P5YM7W   10/6/2020   OB    3/11/2021   WN;2142;MCO;BWI;WN;425;BWI;MHT         HAYNESSTAD             MA                 US    36151   126418974@AIRLINE.KIWI.COM
P5YM7W   10/6/2020   RT    3/14/2021   WN;1548;MHT;BWI;WN;1209;BWI;MCO        HAYNESSTAD             MA                 US    36151   126418974@AIRLINE.KIWI.COM
P5YM7W   10/6/2020   RT    3/14/2021   WN;1548;MHT;BWI;WN;1209;BWI;MCO        HAYNESSTAD             MA                 US    36151   126418974@AIRLINE.KIWI.COM
PACJGP   10/6/2020   OB   10/15/2020   WN;14;BUF;MCO                          PORT ROBERT            ID                 US    15836   126423583@AIRLINE.KIWI.COM
PC2SWO   10/6/2020   OB   12/15/2020   WN;1148;HNL;OAK;WN;4321;OAK;SLC        WOODSSIDE              NJ                 US    99693   126425915@AIRLINE.KIWI.COM
PD8TWR   10/6/2020   OB   10/25/2020   WN;1314;BNA;BWI;WN;2597;BWI;BDL        ALICIASTAD             HI                 US    23481   126428588@AIRLINE.KIWI.COM
PD8TWR   10/6/2020   OB   10/25/2020   WN;1314;BNA;BWI;WN;2597;BWI;BDL        ALICIASTAD             HI                 US    23481   126428588@AIRLINE.KIWI.COM
PEEWP9   10/6/2020   OB   10/11/2020   WN;2182;BWI;JAX                        FRANKLINMOUTH          NC                 US    80280   126429578@AIRLINE.KIWI.COM
PG2HRN   10/6/2020   OB   10/25/2020   WN;3265;LAS;GEG                        LAKE MARYBURGH         KS                 US    48300   126431910@AIRLINE.KIWI.COM
PG2HRN   10/6/2020   OB   10/25/2020   WN;3265;LAS;GEG                        LAKE MARYBURGH         KS                 US    48300   126431910@AIRLINE.KIWI.COM
PG2HRN   10/6/2020   OB   10/25/2020   WN;3265;LAS;GEG                        LAKE MARYBURGH         KS                 US    48300   126431910@AIRLINE.KIWI.COM
PGBXTR   10/6/2020   OB   11/29/2020   WN;1038;CUN;DEN                        YIJEONGBUSI            GYEONGGIDO         KR    72684   126431767@AIRLINE.KIWI.COM
PLA9IK   10/6/2020   OB    10/8/2020   WN;1667;CMH;MDW                        SOUTH MICHELLE         IA                 US    63241   126439654@AIRLINE.KIWI.COM
PLA9IK   10/6/2020   RT   10/11/2020   WN;2306;MDW;CMH                        SOUTH MICHELLE         IA                 US    63241   126439654@AIRLINE.KIWI.COM
PLZG2X   10/6/2020   OB   10/21/2020   WN;1964;TPA;FLL;WN;1928;FLL;BNA        WILLIAMSTOWN           CO                 US    92138   126440237@AIRLINE.KIWI.COM
PMRYI6   10/6/2020   OB    10/7/2020   WN;2302;OAK;LAS                        SMITHLAND              DE                 US    97945   126441568@AIRLINE.KIWI.COM
PMRYI6   10/6/2020   OB    10/7/2020   WN;2302;OAK;LAS                        SMITHLAND              DE                 US    97945   126441568@AIRLINE.KIWI.COM
PNP3TS   10/6/2020   OB   10/12/2020   WN;1052;MKE;STL                        MIKETOWN               IN                 US    97068   126442327@AIRLINE.KIWI.COM
PNP3TS   10/6/2020   RT   10/12/2020   WN;1174;STL;MKE                        MIKETOWN               IN                 US    97068   126442327@AIRLINE.KIWI.COM
PP3XMV   10/6/2020   OB   10/12/2020   WN;2134;BNA;DCA                        SOUTH KATHLEEN         RI                 US    78207   126443251@AIRLINE.KIWI.COM
PPFFSY   10/6/2020   OB   10/30/2020   WN;2255;IAD;ATL                        ANDERSONCHESTER        ID                 US    78648   126443614@AIRLINE.KIWI.COM
PSTVEG   10/6/2020   OB    10/9/2020   WN;2445;PDX;OAK;WN;2383;OAK;LAX        PERKINSVILLE           VT                 US    17478   126447486@AIRLINE.KIWI.COM
PVV78Y   10/6/2020   OB   10/27/2020   WN;1688;PIT;BWI;WN;2031;BWI;JAX        PORT BRITTANYTOWN      MA                 US    91586   126450005@AIRLINE.KIWI.COM
PWVC44   10/6/2020   OB    12/2/2020   WN;3757;LAX;OAK;WN;808;OAK;HNL;WN;922; WEEKSPORT              NE                 US    10458   126450544@AIRLINE.KIWI.COM
PWVC44   10/6/2020   OB    12/2/2020   WN;3757;LAX;OAK;WN;808;OAK;HNL;WN;922; WEEKSPORT              NE                 US    10458   126450544@AIRLINE.KIWI.COM
PWVJBD   10/6/2020   OB   10/29/2020   WN;951;BOS;BWI                         EAST JESSEHAVEN        NV                 US    18006   126450764@AIRLINE.KIWI.COM
Q2IVCP   10/6/2020   OB   10/28/2020   WN;2607;ATL;FLL                        LAKE WILLIAM           VT                 US    70094   126453371@AIRLINE.KIWI.COM
Q6IEPA   10/6/2020   OB    10/7/2020   WN;2067;BNA;MCI;WN;2067;MCI;LAX        EAST DANNY             MO                 US    40879   126455978@AIRLINE.KIWI.COM
Q6RNB5   10/6/2020   OB    10/7/2020   WN;710;ELP;LAS                         SAN MARIANO DE LA MO   ZACATECAS          MX    28990   126455934@AIRLINE.KIWI.COM
QA6KIT   10/7/2020   OB   10/15/2020   WN;6738;MEM;MDW                        ANTHONYFORT            ID                 US    34950   126457463@AIRLINE.KIWI.COM
QA6KIT   10/7/2020   RT   10/19/2020   WN;2266;MDW;MEM                        ANTHONYFORT            ID                 US    34950   126457463@AIRLINE.KIWI.COM
QCS67E   10/7/2020   OB   11/26/2020   WN;4539;SAN;PHX                        RACHELPORT             CA                 US    49653   126458244@AIRLINE.KIWI.COM
QDHKNB   10/7/2020   OB   10/24/2020   WN;6750;ATL;MEM                        CNDDIIGDDH             HARYANA            IN    98219   126458453@AIRLINE.KIWI.COM
QDPJNL   10/7/2020   OB    11/8/2020   WN;598;HOU;ATL                         NEW LAUREN             OK                 US    32216   126458442@AIRLINE.KIWI.COM
QEJUXN   10/7/2020   OB    11/8/2020   WN;598;HOU;ATL                         LAKE MATTHEW           WI                 US     8372   126458739@AIRLINE.KIWI.COM
QESIEX   10/7/2020   OB   10/24/2020   WN;6645;LAS;BOI                        NORTH MICHELLESIDE     IN                 US     8054   126458750@AIRLINE.KIWI.COM
QFA66E   10/7/2020   OB    11/1/2020   WN;2129;OAK;DEN                        ABIGAILTON             WA                 US    44696   126459036@AIRLINE.KIWI.COM
QGXPYA   10/7/2020   OB   10/24/2020   WN;2168;AUS;BNA;WN;2505;BNA;MDW        SOUTH JORGEVILLE       KY                 US    45891   126459498@AIRLINE.KIWI.COM
QGXPYA   10/7/2020   OB   10/24/2020   WN;2168;AUS;BNA;WN;2505;BNA;MDW        SOUTH JORGEVILLE       KY                 US    45891   126459498@AIRLINE.KIWI.COM
QHG38R   10/7/2020   OB   11/11/2020   WN;824;LAX;SJC;WN;826;SJC;LIH          RAANIITAAL             TAMIL NADU         IN    82817   126460081@AIRLINE.KIWI.COM




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QHG38R   10/7/2020   OB   11/11/2020   WN;824;LAX;SJC;WN;826;SJC;LIH     RAANIITAAL             TAMIL NADU       IN    82817   126460081@AIRLINE.KIWI.COM
QHG38R   10/7/2020   OB   11/11/2020   WN;824;LAX;SJC;WN;826;SJC;LIH     RAANIITAAL             TAMIL NADU       IN    82817   126460081@AIRLINE.KIWI.COM
QHG38R   10/7/2020   OB   11/11/2020   WN;824;LAX;SJC;WN;826;SJC;LIH     RAANIITAAL             TAMIL NADU       IN    82817   126460081@AIRLINE.KIWI.COM
QHG38R   10/7/2020   OB   11/11/2020   WN;824;LAX;SJC;WN;826;SJC;LIH     RAANIITAAL             TAMIL NADU       IN    82817   126460081@AIRLINE.KIWI.COM
QI27SH   10/7/2020   OB   10/25/2020   WN;6750;ATL;MEM                   WEST MADISONVILLE      HI               US    71248   126460532@AIRLINE.KIWI.COM
QI27SH   10/7/2020   OB   10/25/2020   WN;6750;ATL;MEM                   WEST MADISONVILLE      HI               US    71248   126460532@AIRLINE.KIWI.COM
QI27SH   10/7/2020   OB   10/25/2020   WN;6750;ATL;MEM                   WEST MADISONVILLE      HI               US    71248   126460532@AIRLINE.KIWI.COM
QI27SH   10/7/2020   OB   10/25/2020   WN;6750;ATL;MEM                   WEST MADISONVILLE      HI               US    71248   126460532@AIRLINE.KIWI.COM
QK5AHE   10/7/2020   OB   10/16/2020   WN;797;LAX;OAK                    SOUTH RICHARD          AK               US    52072   126461148@AIRLINE.KIWI.COM
QKCFRF   10/7/2020   OB   10/29/2020   WN;1787;BWI;MDW                   VARGASLAND             KS               US    55476   126461522@AIRLINE.KIWI.COM
QLKILG   10/7/2020   OB    10/7/2020   WN;1837;SFO;LAX                   SOUTH EMILY            LA               US    65325   126462094@AIRLINE.KIWI.COM
QOI3EN   10/7/2020   OB    10/7/2020   WN;1064;MSY;ATL                   WEST KAITLYNMOUTH      CA               US    31223   126463227@AIRLINE.KIWI.COM
QPNLZM   10/7/2020   OB    11/9/2020   WN;1054;MCO;ATL                   NORTH SCOTT            MO               US    55928   126463513@AIRLINE.KIWI.COM
QQUBHL   10/7/2020   OB    10/9/2020   WN;151;CLE;MDW;WN;748;MDW;BWI     EAST KAYLABOROUGH      OH               US     3016   126464162@AIRLINE.KIWI.COM
QS4D4R   10/7/2020   OB    12/5/2020   WN;2861;DEN;BWI                   LAKE RYAN              KS               US    56999   126464833@AIRLINE.KIWI.COM
QTHTMT   10/7/2020   OB   10/21/2020   WN;2495;AUS;MDW                   SOUTH MICHELE          NM               US    78051   126465526@AIRLINE.KIWI.COM
QTHTMT   10/7/2020   OB   10/21/2020   WN;2495;AUS;MDW                   SOUTH MICHELE          NM               US    78051   126465526@AIRLINE.KIWI.COM
QVK8XL   10/7/2020   OB   10/27/2020   WN;2496;MDW;AUS                   SCOTTLAND              AZ               US     5373   126466406@AIRLINE.KIWI.COM
QVK8XL   10/7/2020   OB   10/27/2020   WN;2496;MDW;AUS                   SCOTTLAND              AZ               US     5373   126466406@AIRLINE.KIWI.COM
QW97NO   10/7/2020   OB   10/23/2020   WN;2570;MDW;HOU                   LAKE RACHEL            AK               US    48926   126466890@AIRLINE.KIWI.COM
QW97NO   10/7/2020   RT   10/28/2020   WN;3399;HOU;MDW                   LAKE RACHEL            AK               US    48926   126466890@AIRLINE.KIWI.COM
QXQYK3   10/7/2020   OB   10/11/2020   WN;6300;ATL;BNA                   SOUTH PATRICIA         MD               US    70212   126467319@AIRLINE.KIWI.COM
QXQYK3   10/7/2020   OB   10/11/2020   WN;6300;ATL;BNA                   SOUTH PATRICIA         MD               US    70212   126467319@AIRLINE.KIWI.COM
QZRJWR   10/7/2020   OB    10/7/2020   WN;2101;SDF;BWI;WN;2004;BWI;ATL   PORT MATTHEWCHESTER    KY               US     5844   126467880@AIRLINE.KIWI.COM
R3AEJ3   10/7/2020   OB    10/7/2020   WN;1593;HOU;MDW                   KEVINFORT              CO               US    77387   126468463@AIRLINE.KIWI.COM
R3K7MG   10/7/2020   OB   10/13/2020   WN;864;ATL;LGA                    PORT STEPHEN           NY               US    67677   126468903@AIRLINE.KIWI.COM
R3K7MG   10/7/2020   OB   10/13/2020   WN;864;ATL;LGA                    PORT STEPHEN           NY               US    67677   126468903@AIRLINE.KIWI.COM
R55AR5   10/7/2020   OB   10/27/2020   WN;2530;TUS;LAS;WN;877;LAS;ABQ    SOUTH DAVIDBERG        UT               US    93166   126469420@AIRLINE.KIWI.COM
R55AR5   10/7/2020   OB   10/27/2020   WN;2530;TUS;LAS;WN;877;LAS;ABQ    SOUTH DAVIDBERG        UT               US    93166   126469420@AIRLINE.KIWI.COM
R76U5N   10/7/2020   OB   11/23/2020   WN;4193;MDW;DTW                   COOKVIEW               CA               US    48085   126470091@AIRLINE.KIWI.COM
R8PLTP   10/7/2020   OB    10/7/2020   WN;1980;DTW;BWI                   WEST THOMAS            DE               US    17840   126471290@AIRLINE.KIWI.COM
R8PLTP   10/7/2020   RT    10/9/2020   WN;2113;BWI;DTW                   WEST THOMAS            DE               US    17840   126471290@AIRLINE.KIWI.COM
RFXC5H   10/7/2020   OB    10/7/2020   WN;1941;SAT;LAS;WN;1699;LAS;ONT   WOODSBERG              KS               US    16035   126476086@AIRLINE.KIWI.COM
RVI4BV   10/7/2020   OB    10/7/2020   WN;1142;ATL;HOU                   ANDERSONSTAD           AZ               US     7672   126492201@AIRLINE.KIWI.COM
S3F2SQ   10/7/2020   OB    10/9/2020   WN;2260;CLE;BNA                   BREMEN                 SACHSENANHALT    DE    98293   126498691@AIRLINE.KIWI.COM
S3F2SQ   10/7/2020   RT   10/13/2020   WN;2436;BNA;CLE                   BREMEN                 SACHSENANHALT    DE    98293   126498691@AIRLINE.KIWI.COM
SBG8ZL   10/7/2020   OB   11/24/2020   WN;3332;DEN;ABQ                   DANIELFORT             MI               US    86414   126507997@AIRLINE.KIWI.COM
SBG8ZL   10/7/2020   RT   11/29/2020   WN;1838;ABQ;DEN                   DANIELFORT             MI               US    86414   126507997@AIRLINE.KIWI.COM
SHK5ET   10/7/2020   OB    10/7/2020   WN;101;ATL;MDW                    NEW ANAHAVEN           AK               US    47403   126514696@AIRLINE.KIWI.COM
SI93AK   10/7/2020   OB    10/7/2020   WN;2088;SAT;HOU;WN;2094;HOU;PHX   EAST AMY               DE               US    97568   126515048@AIRLINE.KIWI.COM
SJTMFG   10/7/2020   OB    10/7/2020   WN;2003;SAT;DAL;WN;2441;DAL;BWI   NORTH JAMIEMOUTH       DE               US    50248   126517963@AIRLINE.KIWI.COM
SO9772   10/7/2020   OB   11/10/2020   WN;2970;ATL;IAD                   DIAZMOUTH              WV               US    81596   126522803@AIRLINE.KIWI.COM
SOFFDO   10/7/2020   OB   10/16/2020   WN;2374;LAX;OAK                   WEST KEVIN             OK               US    86280   126522198@AIRLINE.KIWI.COM
SOFFDO   10/7/2020   RT   10/20/2020   WN;2310;OAK;LAX                   WEST KEVIN             OK               US    86280   126522198@AIRLINE.KIWI.COM
SQO7BP   10/7/2020   OB   10/13/2020   WN;864;ATL;LGA                    SCOTTMOUTH             MD               US    85097   126525388@AIRLINE.KIWI.COM
SROL9D   10/7/2020   OB   10/10/2020   WN;2493;OAK;GEG                   RAMOSSHIRE             MS               US    41584   126526059@AIRLINE.KIWI.COM
SS2X5H   10/7/2020   OB    10/8/2020   WN;6580;PNS;DAL;WN;1323;DAL;ATL   MORALESVIEW            AL               US    19958   126526598@AIRLINE.KIWI.COM
SS335Z   10/7/2020   OB   10/21/2020   WN;1187;ATL;MEM                   ROSESHIRE              IL               US    67767   126526290@AIRLINE.KIWI.COM
SUYFEJ   10/7/2020   OB   11/16/2020   WN;1462;PHX;SJC                   CARTERMOUTH            MS               US    44230   126529722@AIRLINE.KIWI.COM
SW8ECD   10/7/2020   OB    10/8/2020   WN;6503;ATL;STL;WN;1149;STL;OMA   SOUTH TANYAMOUTH       ME               US    45294   126531603@AIRLINE.KIWI.COM
SWEVBJ   10/7/2020   OB   10/12/2020   WN;3339;OAK;BUR                   MARKBURGH              SC               US    41681   126531416@AIRLINE.KIWI.COM
SWEVBJ   10/7/2020   RT   10/14/2020   WN;2580;BUR;OAK                   MARKBURGH              SC               US    41681   126531416@AIRLINE.KIWI.COM
SWF2UR   10/7/2020   OB   10/25/2020   WN;1835;CLE;BNA                   SETHBOROUGH            KS               US    27543   126531053@AIRLINE.KIWI.COM
SWF2UR   10/7/2020   RT   10/27/2020   WN;2436;BNA;CLE                   SETHBOROUGH            KS               US    27543   126531053@AIRLINE.KIWI.COM
SYOKHZ   10/7/2020   OB    10/8/2020   WN;5626;ATL;MDW                   KENNETHSHIRE           GA               US    99093   126533770@AIRLINE.KIWI.COM
T28EKQ   10/7/2020   OB    10/9/2020   WN;2330;FLL;TPA                   STRIBRO                PLZENMESTO       CZ     6344   126535717@AIRLINE.KIWI.COM
T2M2ET   10/7/2020   OB    10/8/2020   WN;2363;SAN;HOU                   JEFFERYMOUTH           FL               US    41222   126536014@AIRLINE.KIWI.COM
T42DI7   10/7/2020   OB    10/8/2020   WN;3342;FLL;SJU                   AL BN ZFRFORT          TABUK            SA     8546   126537763@AIRLINE.KIWI.COM
T42DI7   10/7/2020   OB    10/8/2020   WN;3342;FLL;SJU                   AL BN ZFRFORT          TABUK            SA     8546   126537763@AIRLINE.KIWI.COM
T4MWEA   10/7/2020   OB   10/30/2020   WN;2482;SFO;MDW                   GARNERBOROUGH          NE               US    36771   126538566@AIRLINE.KIWI.COM
T4MWEA   10/7/2020   RT    11/1/2020   WN;2349;MDW;SFO                   GARNERBOROUGH          NE               US    36771   126538566@AIRLINE.KIWI.COM
T55W8G   10/7/2020   OB   10/10/2020   WN;2474;LAS;BUR                   SHELLYHAVEN            NM               US     8967   126537609@AIRLINE.KIWI.COM
T5C3Y3   10/7/2020   OB   10/10/2020   WN;6301;ECP;DAL;WN;2131;DAL;ATL   WEST NICOLETON         HI               US     4216   126538874@AIRLINE.KIWI.COM
T6IA5O   10/7/2020   OB   10/15/2020   WN;2002;ATL;MEM                   MARIALAND              TN               US    42251   126541228@AIRLINE.KIWI.COM
T6KHNZ   10/7/2020   OB    11/1/2020   WN;2615;PHX;SEA                   WILLIAMSMOUTH          ND               US    10386   126540502@AIRLINE.KIWI.COM
T6KHNZ   10/7/2020   OB    11/1/2020   WN;2615;PHX;SEA                   WILLIAMSMOUTH          ND               US    10386   126540502@AIRLINE.KIWI.COM
T79ROG   10/7/2020   OB   10/12/2020   WN;864;ATL;LGA                    LAKE EVELYNBURGH       IL               US    40608   126541283@AIRLINE.KIWI.COM
T7WLX2   10/7/2020   OB     4/7/2021   WN;265;PHX;OMA                    PORT LARRYLAND         WY               US    86506   126542493@AIRLINE.KIWI.COM
T9NVIG   10/7/2020   OB    10/8/2020   WN;2382;PHX;HOU;WN;1687;HOU;AUS   PORT LAURENHAVEN       CT               US    30228   126544363@AIRLINE.KIWI.COM
TA3XQB   10/7/2020   OB    11/1/2020   WN;2480;SEA;SJC                   CITRDURG               MAHARASHTRA      IN    27391   126544242@AIRLINE.KIWI.COM
TB7V7X   10/7/2020   OB    10/8/2020   WN;966;FLL;MDW;WN;1021;MDW;LAS    KOMMERZIJL             GELDERLAND       NL    26266   126546112@AIRLINE.KIWI.COM
TD3HF3   10/7/2020   OB   10/12/2020   WN;2374;PHX;LAX                   HERNANDEZBERG          SD               US    43378   126547872@AIRLINE.KIWI.COM
TD6SR4   10/7/2020   OB    10/8/2020   WN;2124;BHM;DEN                   JACOBSHAVEN            CO               US    72704   126547311@AIRLINE.KIWI.COM
TE2XK5   10/7/2020   OB   10/30/2020   WN;2349;SFO;SAN                   PORT JONATHANBURGH     ND               US    30539   126548367@AIRLINE.KIWI.COM
TEVUXX   10/7/2020   OB   10/11/2020   WN;6884;LAS;ATL                   PORT JASONBERG         ND               US    25074   126549280@AIRLINE.KIWI.COM
TGBL3I   10/7/2020   OB    10/9/2020   WN;2278;HOU;BNA                   ADAMBURGH              MS               US    60160   126549885@AIRLINE.KIWI.COM
THNY9N   10/7/2020   OB   11/19/2020   WN;1225;PHL;ATL                   JESSICASHIRE           TX               US    71639   126550941@AIRLINE.KIWI.COM
THNY9N   10/7/2020   OB   11/19/2020   WN;1225;PHL;ATL                   JESSICASHIRE           TX               US    71639   126550941@AIRLINE.KIWI.COM
THOVVQ   10/7/2020   OB   10/11/2020   WN;864;ATL;LGA                    WHITESTAD              WY               US    26361   126551139@AIRLINE.KIWI.COM
TJPKJ3   10/7/2020   OB    10/8/2020   WN;2331;PHX;OKC                   EAST MIGUELCHESTER     KS               US    32054   126552811@AIRLINE.KIWI.COM
TJYHK5   10/7/2020   OB   10/17/2020   WN;140;BNA;TPA                    SOUTH LINDA            JARASH           JO    68108   126552580@AIRLINE.KIWI.COM
TNQQVX   10/7/2020   OB   10/12/2020   WN;130;DEN;MDW                    ROBERTBERG             NH               US    44417   126554890@AIRLINE.KIWI.COM
TNQQVX   10/7/2020   RT   10/14/2020   WN;2266;MDW;MEM;WN;2266;MEM;DEN   ROBERTBERG             NH               US    44417   126554890@AIRLINE.KIWI.COM
TO8276   10/7/2020   OB   10/11/2020   WN;2322;OKC;STL;WN;6303;STL;BNA   BRIANAHAVEN            MT               US    41453   126555077@AIRLINE.KIWI.COM
TOJBEX   10/7/2020   OB   10/12/2020   WN;103;BNA;HOU;WN;117;HOU;OKC     NORTH JESSICA          IA               US    72414   126555077@AIRLINE.KIWI.COM
TOORS9   10/7/2020   OB    10/8/2020   WN;864;ATL;LGA                    LEEBURY                RI               US    37891   126555176@AIRLINE.KIWI.COM
TOXI8E   10/7/2020   OB     1/3/2021   WN;1989;MSY;DAL                   EAST RICHARDBOROUGH    NM               US    84515   126555792@AIRLINE.KIWI.COM
TOXKM2   10/7/2020   OB   12/19/2020   WN;2349;DAL;MSY                   JONESBURGH             SC               US    55809   126555803@AIRLINE.KIWI.COM
TP242C   10/7/2020   OB   10/10/2020   WN;2072;LGA;ATL                   SOUTH MARKBOROUGH      TX               US    22555   126555352@AIRLINE.KIWI.COM
TP9GL9   10/7/2020   OB   10/11/2020   WN;40;OAK;HOU;WN;2100;HOU;SAT     EAST CHLOEBURGH        ND               US    31846   126555979@AIRLINE.KIWI.COM
TPX9NR   10/7/2020   OB   10/12/2020   WN;1995;ATL;LGA                   LAKE LINDABERG         MS               US    57115   126555946@AIRLINE.KIWI.COM
TQDZ7J   10/7/2020   OB    10/8/2020   WN;2037;LAX;MSY                   EAST LAUREN            MO               US    78171   126556342@AIRLINE.KIWI.COM
TQMQA4   10/7/2020   OB    11/3/2020   WN;2061;HOU;MCO                   SAN TRINIDAD DE LA M   TLAXCALA         MX    70314   126556265@AIRLINE.KIWI.COM
J2B2R3   10/8/2020   OB   10/12/2020   WN;6995;DEN;OKC                   PORT RUTH              MI               US    86793   126663658@AIRLINE.KIWI.COM
J2H3YE   10/8/2020   OB   10/24/2020   WN;6645;LAS;BOI                   EAST TRAVIS            VT               US    80141   126663515@AIRLINE.KIWI.COM
J2UV2E   10/8/2020   OB   11/10/2020   WN;3640;AUS;MDW                   NORTH KELLYBURY        CT               US    12512   126663999@AIRLINE.KIWI.COM
J2UY5W   10/8/2020   OB   10/12/2020   WN;2476;PHX;MDW                   DEANBURY               ID               US    84944   126663691@AIRLINE.KIWI.COM
TQVSP6   10/8/2020   OB   11/22/2020   WN;611;STL;PHX;WN;611;PHX;BUR     MORALESFORT            AR               US    30155   126556441@AIRLINE.KIWI.COM
TUACKL   10/8/2020   OB   10/26/2020   WN;1554;SFO;DEN                   CITRDURG               MADHYA PRADESH   IN    20208   126557508@AIRLINE.KIWI.COM
TWTEUI   10/8/2020   OB    10/8/2020   WN;2081;JAX;BWI                   WEST JOSE              NV               US    30048   126559059@AIRLINE.KIWI.COM
TWTEUI   10/8/2020   OB    10/8/2020   WN;2081;JAX;BWI                   WEST JOSE              NV               US    30048   126559059@AIRLINE.KIWI.COM
TXIWTO   10/8/2020   OB   10/12/2020   WN;849;ATL;IAD                    BRADLEYFORT            SC               US     4476   126559565@AIRLINE.KIWI.COM
TXU839   10/8/2020   OB   10/22/2020   WN;2009;MSY;HOU                   PORT KATHERINE         HI               US    14778   126559444@AIRLINE.KIWI.COM
TY5O8J   10/8/2020   OB   10/26/2020   WN;2602;STL;DCA                   PAULLAND               WV               US    61149   126559587@AIRLINE.KIWI.COM
TYITCW   10/8/2020   OB    10/8/2020   WN;1728;ATL;DEN;WN;2014;DEN;OMA   POWELLPORT             GA               US     4107   126559939@AIRLINE.KIWI.COM
TZK5RB   10/8/2020   OB   10/14/2020   WN;705;IND;DEN                    JONESTOWN              AZ               US    72565   126560302@AIRLINE.KIWI.COM
U2M7FS   10/8/2020   OB   10/11/2020   WN;1543;LAS;MDW                   DAVISMOUTH             OH               US    81023   126560709@AIRLINE.KIWI.COM




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U2P6RR   10/8/2020   OB    10/9/2020   WN;2558;MDW;LAS                   AARONPORT              WI                    US   87948   126560709@AIRLINE.KIWI.COM
U2XT4C   10/8/2020   OB    10/9/2020   WN;2558;MDW;LAS                   ALLISONFURT            TN                    US   30588   126560709@AIRLINE.KIWI.COM
U2XT4C   10/8/2020   RT   10/11/2020   WN;1543;LAS;MDW                   ALLISONFURT            TN                    US   30588   126560709@AIRLINE.KIWI.COM
U36SX6   10/8/2020   OB    10/9/2020   WN;306;CUN;HOU;WN;1911;HOU;OAK    STEVENSIDE             FL                    US   77551   126561094@AIRLINE.KIWI.COM
U36SX6   10/8/2020   OB    10/9/2020   WN;306;CUN;HOU;WN;1911;HOU;OAK    STEVENSIDE             FL                    US   77551   126561094@AIRLINE.KIWI.COM
U36SX6   10/8/2020   OB    10/9/2020   WN;306;CUN;HOU;WN;1911;HOU;OAK    STEVENSIDE             FL                    US   77551   126561094@AIRLINE.KIWI.COM
U36SX6   10/8/2020   OB    10/9/2020   WN;306;CUN;HOU;WN;1911;HOU;OAK    STEVENSIDE             FL                    US   77551   126561094@AIRLINE.KIWI.COM
U8YNAY   10/8/2020   OB    10/8/2020   WN;1452;LAX;BWI;WN;2542;BWI;BDL   NORTH CHRISTOPHERVIL   WV                    US   53245   126563844@AIRLINE.KIWI.COM
U94O5M   10/8/2020   OB    10/8/2020   WN;6845;OMA;MDW;WN;2361;MDW;MSP   BEI QU                 MIE                   JP   73306   126563866@AIRLINE.KIWI.COM
UFISF3   10/8/2020   OB   10/10/2020   WN;1546;SAN;SMF                   EAST BENJAMIN          NH                    US   37300   126565923@AIRLINE.KIWI.COM
UIT2B7   10/8/2020   OB   10/13/2020   WN;1878;LGA;BNA;WN;2052;BNA;SAN   SAN MIRIAM DE LA MON   TABASCO               MX   83707   126567529@AIRLINE.KIWI.COM
UJWFEF   10/8/2020   OB   10/16/2020   WN;2313;SNA;SMF                   WEST CHRISTINE         NY                    US   64134   126568233@AIRLINE.KIWI.COM
UJWFEF   10/8/2020   RT   10/18/2020   WN;2245;SMF;SNA                   WEST CHRISTINE         NY                    US   64134   126568233@AIRLINE.KIWI.COM
UME4MI   10/8/2020   OB   11/15/2020   WN;2591;HNL;ITO                   ALEXANDRAVIEW          NEW SOUTH WALES       AU   29749   126563789@AIRLINE.KIWI.COM
URZM7M   10/8/2020   OB   10/30/2020   WN;1690;OAK;LAS                   PORT DANIEL            NE                    US   61236   126571731@AIRLINE.KIWI.COM
UTF453   10/8/2020   OB    10/8/2020   WN;2090;LAX;LAS                   NEW TIMOTHY            GA                    US    1532   126573964@AIRLINE.KIWI.COM
UW2PB9   10/8/2020   OB   11/15/2020   WN;1326;MDW;OMA                   SAN MAGDALENA LOS BA   TABASCO               MX   95772   126538126@AIRLINE.KIWI.COM
UW7YJP   10/8/2020   OB    11/1/2020   WN;2478;SJC;LAX                   JUN SHI                HENAN SHENG           CN   27083   126575504@AIRLINE.KIWI.COM
UXI92M   10/8/2020   OB    10/9/2020   WN;2266;MDW;MEM                   PORT COURTNEYTON       MN                    US   47165   126577748@AIRLINE.KIWI.COM
V9QXWI   10/8/2020   OB    10/8/2020   WN;1896;DAL;BHM                   PORT BRADLEY           BEDFORD               GB   95934   126587483@AIRLINE.KIWI.COM
VG2HOO   10/8/2020   OB   10/10/2020   WN;738;ALB;BWI;WN;6545;BWI;IND    NORTH VIRGINIA         PA                    US   35870   126594391@AIRLINE.KIWI.COM
VMDN6T   10/8/2020   OB   10/11/2020   WN;121;DAL;LAS                    PORT JONATHAN          NC                    US   98143   126601189@AIRLINE.KIWI.COM
VOGCUS   10/8/2020   OB    2/13/2021   WN;3969;RDU;MCO                   LAKE MARCIAVILLE       WI                    US   47583   126604236@AIRLINE.KIWI.COM
VOLQ4P   10/8/2020   OB    2/13/2021   WN;3969;RDU;MCO                   KENNEDYSTAD            MI                    US   46271   126604236@AIRLINE.KIWI.COM
VONK53   10/8/2020   OB   10/12/2020   WN;2002;MEM;DAL;WN;2002;DAL;STL   CALDWELLBERG           MA                    US   40710   126603829@AIRLINE.KIWI.COM
VQWCAR   10/8/2020   OB   10/10/2020   WN;1798;LAS;PHX                   NEW LAUREN             AL                    US   15727   126605534@AIRLINE.KIWI.COM
VSNWCV   10/8/2020   OB   10/13/2020   WN;782;DTW;MDW;WN;2403;MDW;LGA    FOSTERTOWN             IN                    US   13271   126608911@AIRLINE.KIWI.COM
VTFMHP   10/8/2020   OB   10/29/2020   WN;645;DEN;ABQ                    ANADIA                 BRAGANCA              PT   18777   126609648@AIRLINE.KIWI.COM
VTFMHP   10/8/2020   OB   10/29/2020   WN;645;DEN;ABQ                    ANADIA                 BRAGANCA              PT   18777   126609648@AIRLINE.KIWI.COM
VTFMHP   10/8/2020   OB   10/29/2020   WN;645;DEN;ABQ                    ANADIA                 BRAGANCA              PT   18777   126609648@AIRLINE.KIWI.COM
VUJHHQ   10/8/2020   OB   10/27/2020   WN;6267;CUN;HOU;WN;1066;HOU;ATL   WEST LAWRENCEPORT      FL                    US   13214   126611617@AIRLINE.KIWI.COM
VZZHNG   10/8/2020   OB    10/9/2020   WN;6503;ATL;STL                   STEPHENBURGH           MT                    US   49100   126619691@AIRLINE.KIWI.COM
W2CE9F   10/8/2020   OB    10/8/2020   WN;2306;MDW;CMH                   TAI DONG               TAINAN CITY           TW   54729   126619724@AIRLINE.KIWI.COM
W2CE9F   10/8/2020   OB    10/8/2020   WN;2306;MDW;CMH                   TAI DONG               TAINAN CITY           TW   54729   126619724@AIRLINE.KIWI.COM
W2CEMX   10/8/2020   OB   11/14/2020   WN;3087;LAS;OAK                   LYONSPORT              CA                    US   47504   124862551.1476407@AIRLINE.KIWI.COM
W3HYXB   10/8/2020   OB    10/9/2020   WN;3399;HOU;MDW                   POWELLVIEW             IA                    US   56948   126621825@AIRLINE.KIWI.COM
W3RSRN   10/8/2020   OB    12/2/2020   WN;3644;HOU;BWI                   EAST TRACY             MI                    US   53865   126622298@AIRLINE.KIWI.COM
W6V6VZ   10/8/2020   OB   10/15/2020   WN;2635;ATL;MSY                   EAST MARTIN            IN                    US   65096   126627369@AIRLINE.KIWI.COM
W76G75   10/8/2020   OB   10/10/2020   WN;804;RNO;LAX                    SAN FELIPE LOS ALTOS   DURANGO               MX   77842   126627127@AIRLINE.KIWI.COM
W76G75   10/8/2020   OB   10/10/2020   WN;804;RNO;LAX                    SAN FELIPE LOS ALTOS   DURANGO               MX   77842   126627127@AIRLINE.KIWI.COM
W7I2GV   10/8/2020   OB   12/23/2020   WN;5038;STL;LAX                   JASMINETOWN            CO                    US   98325   126627919@AIRLINE.KIWI.COM
W7I2GV   10/8/2020   OB   12/23/2020   WN;5038;STL;LAX                   JASMINETOWN            CO                    US   98325   126627919@AIRLINE.KIWI.COM
W7OFOF   10/8/2020   OB   10/17/2020   WN;2588;SMF;LAX                   NORTH KRISTYLAND       MI                    US   39726   126627523@AIRLINE.KIWI.COM
W7OXZF   10/8/2020   OB   10/20/2020   WN;2313;SNA;SMF                   WONGFORT               NJ                    US   27730   126627523@AIRLINE.KIWI.COM
W88XSG   10/8/2020   OB   10/30/2020   WN;2147;GSP;ATL                   ALINGSAS               UPPSALA LAN           SE   68480   126629162@AIRLINE.KIWI.COM
W88XSG   10/8/2020   OB   10/30/2020   WN;2147;GSP;ATL                   ALINGSAS               UPPSALA LAN           SE   68480   126629162@AIRLINE.KIWI.COM
WB5XRU   10/8/2020   OB    11/5/2020   WN;232;SAN;DAL                    SOUTH CHADFURT         OH                    US   46715   126633023@AIRLINE.KIWI.COM
WBIWV8   10/8/2020   OB    10/8/2020   WN;1593;HOU;MDW                   WEST FLAVIULAND        VALCEA                RO   48251   126633892@AIRLINE.KIWI.COM
WBIWV8   10/8/2020   RT   10/11/2020   WN;2302;MDW;HOU                   WEST FLAVIULAND        VALCEA                RO   48251   126633892@AIRLINE.KIWI.COM
WCBI4Y   10/8/2020   OB   10/14/2020   WN;944;PVD;BWI;WN;1748;BWI;MKE    BOYLETON               MA                    US   80653   126634805@AIRLINE.KIWI.COM
WFK6QM   10/8/2020   OB   10/12/2020   WN;2070;ATL;BNA;WN;1894;BNA;LGA   WEST LAURA             MO                    US   49847   126639568@AIRLINE.KIWI.COM
WIC22R   10/8/2020   OB    10/9/2020   WN;2498;SLC;OAK                   SOUTH MEGAN            MD                    US   59732   126644892@AIRLINE.KIWI.COM
WIJAV5   10/8/2020   OB    10/9/2020   WN;6741;LAS;ELP                   PORT DONALDCHESTER     CO                    US   16136   126645189@AIRLINE.KIWI.COM
WJUGCN   10/8/2020   OB   12/11/2020   WN;2466;DEN;SMF                   MATATOWN               ME                    US   18905   126646762@AIRLINE.KIWI.COM
WLWRF4   10/8/2020   OB   10/23/2020   WN;1888;HOU;MCO                   LAKE MICHAEL           CT                    US   55973   126650282@AIRLINE.KIWI.COM
WNAX76   10/8/2020   OB    11/3/2020   WN;2122;LGA;ATL                   HOLDERSIDE             SD                    US   64901   126652295@AIRLINE.KIWI.COM
WO8KKQ   10/8/2020   OB    11/1/2020   WN;40;OAK;HOU                     LEONBURY               PA                    US   15438   126653604@AIRLINE.KIWI.COM
WONQUF   10/8/2020   OB    10/8/2020   WN;2571;HOU;PHX                   PORT JAMES             WY                    US    6571   126653769@AIRLINE.KIWI.COM
WQ2GTY   10/8/2020   OB   11/22/2020   WN;575;GEG;OAK;WN;501;OAK;ONT     THOMPSONSIDE           WY                    US   67589   126655804@AIRLINE.KIWI.COM
WQPUTQ   10/8/2020   OB   10/11/2020   WN;1582;BNA;PNS                   NORTH RACHELFURT       RI                    US   77646   126656299@AIRLINE.KIWI.COM
WR8YI6   10/8/2020   OB    10/9/2020   WN;776;ATL;CMH                    LAKE ALEXISFORT        OK                    US   32093   126656970@AIRLINE.KIWI.COM
WSMWCP   10/8/2020   OB   11/10/2020   WN;1493;SMF;LAS                   BUCHANANMOUTH          MS                    US   25405   126658367@AIRLINE.KIWI.COM
WT65NG   10/8/2020   OB    10/9/2020   WN;306;CUN;HOU                    NUEVA INDONESIA        GUERRERO              MX   36725   126658675@AIRLINE.KIWI.COM
WT65NG   10/8/2020   RT    10/9/2020   WN;307;HOU;CUN                    NUEVA INDONESIA        GUERRERO              MX   36725   126658675@AIRLINE.KIWI.COM
WTX84J   10/8/2020   OB   11/21/2020   WN;1824;BOS;BNA                   WEST CALEB             MO                    US   48559   126659060@AIRLINE.KIWI.COM
WUQZRC   10/8/2020   OB   12/26/2020   WN;1894;MHT;TPA                   WEST CHRISTINABERG     WV                    US   13399   126660270@AIRLINE.KIWI.COM
WUQZRC   10/8/2020   OB   12/26/2020   WN;1894;MHT;TPA                   WEST CHRISTINABERG     WV                    US   13399   126660270@AIRLINE.KIWI.COM
WUQZRC   10/8/2020   RT     1/2/2021   WN;2142;TPA;MHT                   WEST CHRISTINABERG     WV                    US   13399   126660270@AIRLINE.KIWI.COM
WUQZRC   10/8/2020   RT     1/2/2021   WN;2142;TPA;MHT                   WEST CHRISTINABERG     WV                    US   13399   126660270@AIRLINE.KIWI.COM
WW3MRY   10/8/2020   OB   10/10/2020   WN;2081;JAX;BWI                   MCDONALDHAVEN          OH                    US   52695   126661007@AIRLINE.KIWI.COM
J42SED   10/9/2020   OB   10/16/2020   WN;1115;DEN;HOU;WN;307;HOU;CUN    JAMIESHIRE             HI                    US   26125   126664296@AIRLINE.KIWI.COM
J4QUMU   10/9/2020   OB    11/3/2020   WN;998;DEN;BNA                    CHARLESFORT            NE                    US   26436   126665099@AIRLINE.KIWI.COM
J4XVUP   10/9/2020   OB    10/9/2020   WN;152;HOU;IND                    PORT ISAACSHIRE        NE                    US   38229   126664912@AIRLINE.KIWI.COM
J5GOJG   10/9/2020   OB   10/28/2020   WN;3340;BNA;DEN                   EAST JOYCE             ND                    US   50158   126665099@AIRLINE.KIWI.COM
J7EH4S   10/9/2020   OB   10/11/2020   WN;2506;LAX;SMF                   TAYLORBURY             WESTERN AUSTRALIA     AU   29673   126666067@AIRLINE.KIWI.COM
J7NHJ6   10/9/2020   OB    10/9/2020   WN;2196;LGA;MDW;WN;183;MDW;ATL    PORT BETHBOROUGH       TN                    US   55316   126666210@AIRLINE.KIWI.COM
J7PJ9V   10/9/2020   OB    10/9/2020   WN;2241;BWI;ALB                   FORDTOWN               OH                    US   41571   126666023@AIRLINE.KIWI.COM
J83SPE   10/9/2020   OB    11/5/2020   WN;1005;AUS;MDW                   VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   OB    11/5/2020   WN;1005;AUS;MDW                   VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   OB    11/5/2020   WN;1005;AUS;MDW                   VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   OB    11/5/2020   WN;1005;AUS;MDW                   VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   RT   11/17/2020   WN;845;MDW;AUS                    VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   RT   11/17/2020   WN;845;MDW;AUS                    VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   RT   11/17/2020   WN;845;MDW;AUS                    VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J83SPE   10/9/2020   RT   11/17/2020   WN;845;MDW;AUS                    VIEJA LUXEMBURGO       OAXACA                MX   14357   126666859@AIRLINE.KIWI.COM
J9WZ8P   10/9/2020   OB   11/24/2020   WN;4405;MCO;SAT                   STANLEYFURT            NE                    US   85424   126668091@AIRLINE.KIWI.COM
JBOAB2   10/9/2020   OB   12/18/2020   WN;365;CLE;DEN;WN;1173;DEN;BUR    WEST SCOTTMOUTH        SD                    US   34987   126669081@AIRLINE.KIWI.COM
JBOAB2   10/9/2020   OB   12/18/2020   WN;365;CLE;DEN;WN;1173;DEN;BUR    WEST SCOTTMOUTH        SD                    US   34987   126669081@AIRLINE.KIWI.COM
JBOAB2   10/9/2020   OB   12/18/2020   WN;365;CLE;DEN;WN;1173;DEN;BUR    WEST SCOTTMOUTH        SD                    US   34987   126669081@AIRLINE.KIWI.COM
JBOAB2   10/9/2020   OB   12/18/2020   WN;365;CLE;DEN;WN;1173;DEN;BUR    WEST SCOTTMOUTH        SD                    US   34987   126669081@AIRLINE.KIWI.COM
JC3IWV   10/9/2020   OB     1/6/2021   WN;2261;LAS;SLC                   PALENCIA               AL                    US   11155   126668762@AIRLINE.KIWI.COM
JC4BJU   10/9/2020   OB     1/6/2021   WN;2261;LAS;SLC                   SAN JOS LOS ALTOS      BAJA CALIFORNIA SUR   MX   78619   126669103@AIRLINE.KIWI.COM
JCF2MN   10/9/2020   OB   10/12/2020   WN;2533;DEN;SAN                   JOHNSONBURGH           VA                    US   91322   126669411@AIRLINE.KIWI.COM
JCFEGA   10/9/2020   OB    10/9/2020   WN;782;DTW;MDW;WN;2403;MDW;LGA    NEW CHRISTINE          TASMANIA              AU   29469   126669235@AIRLINE.KIWI.COM
JD9XEH   10/9/2020   OB   10/14/2020   WN;2182;ATL;IND                   LAKE APRIL             WI                    US   84310   126669818@AIRLINE.KIWI.COM
JDWQ7C   10/9/2020   OB   12/24/2020   WN;3631;HOU;LAX                   WEST PAULBURGH         DE                    US    6427   126670082@AIRLINE.KIWI.COM
JELXL5   10/9/2020   OB    10/9/2020   WN;1795;BWI;MCO                   TIFFANYTOWN            AZ                    US    6874   126670423@AIRLINE.KIWI.COM
JGMTKA   10/9/2020   OB    10/9/2020   WN;6782;MDW;LAS                   ANDRETOWN              TN                    US   69385   126671050@AIRLINE.KIWI.COM
JGMTKA   10/9/2020   OB    10/9/2020   WN;6782;MDW;LAS                   ANDRETOWN              TN                    US   69385   126671050@AIRLINE.KIWI.COM
JGOLTR   10/9/2020   OB   10/10/2020   WN;2543;DEN;PHX                   LAMSIDE                CO                    US   90506   126671127@AIRLINE.KIWI.COM
JHODI2   10/9/2020   OB    10/9/2020   WN;127;ATL;MCO                    MORSEBOROUGH           OR                    US   63211   126671820@AIRLINE.KIWI.COM
JIQNSV   10/9/2020   OB    10/9/2020   WN;2175;AUS;HOU;WN;152;HOU;IND    EAST LISAVILLE         NE                    US   39801   126672403@AIRLINE.KIWI.COM
JIRFQP   10/9/2020   OB   12/24/2020   WN;3644;HOU;BWI                   NEW AMYBURY            TN                    US   94562   126672227@AIRLINE.KIWI.COM
JJMAUE   10/9/2020   OB    10/9/2020   WN;6782;MDW;LAS                   PORT RUTH              CT                    US   61068   126672623@AIRLINE.KIWI.COM
JJMPXS   10/9/2020   OB   10/20/2020   WN;2558;TPA;MDW;WN;2155;MDW;HOU   PAULBURGH              TN                    US   38384   126672667@AIRLINE.KIWI.COM
JJMPXS   10/9/2020   RT   10/28/2020   WN;1152;HOU;ATL;WN;1034;ATL;TPA   PAULBURGH              TN                    US   38384   126672667@AIRLINE.KIWI.COM
JO4LK8   10/9/2020   OB   10/10/2020   WN;2695;OAK;DEN                   BRYANFORT              CA                    US   62905   126674559@AIRLINE.KIWI.COM




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JP9PC7    10/9/2020   OB    10/9/2020   WN;6752;LAS;MAF                   NEW CHAD               TX                    US   27829   126675890@AIRLINE.KIWI.COM
JTWQKQ    10/9/2020   OB    11/7/2020   WN;3593;DEN;RNO;WN;3106;RNO;LAS   BECKERHAVEN            DE                    US    1996   126678332@AIRLINE.KIWI.COM
JTWQKQ    10/9/2020   RT   11/11/2020   WN;3020;LAS;DEN                   BECKERHAVEN            DE                    US    1996   126678332@AIRLINE.KIWI.COM
JTX4TQ    10/9/2020   OB   10/15/2020   WN;797;LAX;OAK                    FOXCHESTER             GA                    US   71984   126678354@AIRLINE.KIWI.COM
JTZ7W9    10/9/2020   OB   10/22/2020   WN;6748;DSM;DEN                   VIEJA LETONIA          JALISCO               MX   71056   126677386@AIRLINE.KIWI.COM
JU348E    10/9/2020   OB    10/9/2020   WN;782;DTW;MDW;WN;2232;MDW;HOU    SIMPSONBERG            CAMDEN                GB   10282   126678574@AIRLINE.KIWI.COM
JZQLTI    10/9/2020   OB    11/1/2020   WN;1237;SJC;SAN                   PORT ROBERTA           MD                    US   13813   126682325@AIRLINE.KIWI.COM
K6KJR3    10/9/2020   OB   10/12/2020   WN;710;MCO;FLL;WN;2454;FLL;HOU    SOUTH KIMBERLYHAVEN    CT                    US   15598   126650282.1476831@AIRLINE.KIWI.COM
K6QXFW    10/9/2020   OB    10/9/2020   WN;165;IND;HOU;WN;1687;HOU;AUS    ERICKSONSHIRE          OK                    US   51545   126687484@AIRLINE.KIWI.COM
KN39EP    10/9/2020   OB   10/12/2020   WN;1933;ATL;LGA                   NORTH DAVIDTON         OH                    US   73491   126707284@AIRLINE.KIWI.COM
KN5PVO    10/9/2020   OB   10/12/2020   WN;1933;ATL;LGA                   SOUTH MAXWELL          OH                    US    2888   126707284@AIRLINE.KIWI.COM
KQL64Q    10/9/2020   OB    10/9/2020   WN;1995;HOU;ATL                   MEGANTOWN              ND                    US   16824   126711365@AIRLINE.KIWI.COM
KQL64Q    10/9/2020   OB    10/9/2020   WN;1995;HOU;ATL                   MEGANTOWN              ND                    US   16824   126711365@AIRLINE.KIWI.COM
KX8YX4    10/9/2020   OB    11/1/2020   WN;2608;DEN;MKE;WN;61;MKE;MCO     ROBERTFORT             ND                    US    4778   126720616@AIRLINE.KIWI.COM
KX8YX4    10/9/2020   RT    11/6/2020   WN;1442;MCO;DEN                   ROBERTFORT             ND                    US    4778   126720616@AIRLINE.KIWI.COM
KXFTNM    10/9/2020   OB   10/11/2020   WN;1953;PHX;SLC                   PORT ELIZABETHVILLE    WI                    US   91584   126721045@AIRLINE.KIWI.COM
KYBUHO    10/9/2020   OB   11/12/2020   WN;630;ATL;JAX;WN;484;JAX;HOU     AMANDATON              WI                    US   63222   126722794@AIRLINE.KIWI.COM
KYO53S    10/9/2020   OB   10/13/2020   WN;1286;SJU;TPA                   TARALAND               FL                    US   70443   126722541@AIRLINE.KIWI.COM
KYTF6N    10/9/2020   OB   11/16/2020   WN;1375;SAN;HNL                   SOUTH BRANDI           CA                    US   17742   126723597@AIRLINE.KIWI.COM
KYTF6N    10/9/2020   OB   11/16/2020   WN;1375;SAN;HNL                   SOUTH BRANDI           CA                    US   17742   126723597@AIRLINE.KIWI.COM
KYWZBI    10/9/2020   OB    10/9/2020   WN;1074;SAT;PHX                   SOUTH DEANFURT         NJ                    US   89198   126723355@AIRLINE.KIWI.COM
KYWZBI    10/9/2020   RT   10/11/2020   WN;2048;PHX;SAT                   SOUTH DEANFURT         NJ                    US   89198   126723355@AIRLINE.KIWI.COM
KYYRR8    10/9/2020   OB   11/16/2020   WN;547;DCA;BNA                    WEST PAMELA            OH                    US   64264   126722937@AIRLINE.KIWI.COM
KZ5KNG    10/9/2020   OB   10/10/2020   WN;1799;PVD;DCA                   MENDOZASTAD            GA                    US   84400   126723047@AIRLINE.KIWI.COM
KZ96SV    10/9/2020   OB   12/25/2020   WN;3448;TPA;MSY                   SOUTH ANNETOWN         ME                    US   57660   126723828@AIRLINE.KIWI.COM
KZ96SV    10/9/2020   OB   12/25/2020   WN;3448;TPA;MSY                   SOUTH ANNETOWN         ME                    US   57660   126723828@AIRLINE.KIWI.COM
KZ96SV    10/9/2020   OB   12/25/2020   WN;3448;TPA;MSY                   SOUTH ANNETOWN         ME                    US   57660   126723828@AIRLINE.KIWI.COM
KZ96SV    10/9/2020   OB   12/25/2020   WN;3448;TPA;MSY                   SOUTH ANNETOWN         ME                    US   57660   126723828@AIRLINE.KIWI.COM
KZ96SV    10/9/2020   OB   12/25/2020   WN;3448;TPA;MSY                   SOUTH ANNETOWN         ME                    US   57660   126723828@AIRLINE.KIWI.COM
KZ96SV    10/9/2020   OB   12/25/2020   WN;3448;TPA;MSY                   SOUTH ANNETOWN         ME                    US   57660   126723828@AIRLINE.KIWI.COM
KZVZH4    10/9/2020   OB   10/10/2020   WN;3302;DEN;MDW;WN;2463;MDW;RDU   LAKE KATHERINEFURT     WV                    US   87875   126724301@AIRLINE.KIWI.COM
KZZCXI    10/9/2020   OB    10/9/2020   WN;1995;HOU;ATL                   PORT JORDANHAVEN       WOKINGHAM             GB   97541   126724070@AIRLINE.KIWI.COM
L4E9DB    10/9/2020   OB    11/1/2020   WN;1609;BWI;CUN                   JACKSONBURY            MD                    US   39887   126727788@AIRLINE.KIWI.COM
L4E9DB    10/9/2020   RT    11/5/2020   WN;6004;CUN;BWI                   JACKSONBURY            MD                    US   39887   126727788@AIRLINE.KIWI.COM
L4KTHC    10/9/2020   OB    11/1/2020   WN;1609;BWI;CUN                   NELSONBERG             NV                    US   42826   126727788@AIRLINE.KIWI.COM
L4KTHC    10/9/2020   RT    11/5/2020   WN;6004;CUN;BWI                   NELSONBERG             NV                    US   42826   126727788@AIRLINE.KIWI.COM
L6Y5AD    10/9/2020   OB   10/12/2020   WN;645;DEN;ABQ                    COURTNEYBOROUGH        MT                    US   69834   126730824@AIRLINE.KIWI.COM
L8NGDS    10/9/2020   OB    1/14/2021   WN;3379;HOU;BNA                   NEW LISA               HI                    US   46740   126732529@AIRLINE.KIWI.COM
L8NGDS    10/9/2020   OB    1/14/2021   WN;3379;HOU;BNA                   NEW LISA               HI                    US   46740   126732529@AIRLINE.KIWI.COM
LAJPND    10/9/2020   OB   12/31/2020   WN;3306;MDW;MIA                   MARQUEZFURT            AZ                    US   78211   126734465@AIRLINE.KIWI.COM
LB8T9L    10/9/2020   OB   10/12/2020   WN;6503;ATL;STL                   ANGELABURY             MS                    US   85358   126736192@AIRLINE.KIWI.COM
LBHP3Z    10/9/2020   OB    12/8/2020   WN;2026;ATL;DEN                   SOUTH STEPHENCHESTER   MO                    US   21809   126736522@AIRLINE.KIWI.COM
LBHP3Z    10/9/2020   OB    12/8/2020   WN;2026;ATL;DEN                   SOUTH STEPHENCHESTER   MO                    US   21809   126736522@AIRLINE.KIWI.COM
LBHP3Z    10/9/2020   RT   12/16/2020   WN;2629;DEN;ATL                   SOUTH STEPHENCHESTER   MO                    US   21809   126736522@AIRLINE.KIWI.COM
LBHP3Z    10/9/2020   RT   12/16/2020   WN;2629;DEN;ATL                   SOUTH STEPHENCHESTER   MO                    US   21809   126736522@AIRLINE.KIWI.COM
LBKYAS    10/9/2020   OB   10/12/2020   WN;1933;ATL;LGA                   MATTHEWBURGH           MN                    US   34527   126736379@AIRLINE.KIWI.COM
LCRDKS    10/9/2020   OB   10/12/2020   WN;6472;SJU;MCO                   ZAKOPANE               LUBUSKIE              PL   63759   126738172@AIRLINE.KIWI.COM
LCRDKS    10/9/2020   OB   10/12/2020   WN;6472;SJU;MCO                   ZAKOPANE               LUBUSKIE              PL   63759   126738172@AIRLINE.KIWI.COM
LDDTEU    10/9/2020   OB   10/12/2020   WN;1876;ATL;BNA;WN;2385;BNA;LGA   NORTH JOSEPHFURT       NV                    US   30840   126738535@AIRLINE.KIWI.COM
LDYIIE    10/9/2020   OB   10/12/2020   WN;1933;ATL;LGA                   NEW JOSEPHFURT         AL                    US   22018   126740064@AIRLINE.KIWI.COM
LE4EGN    10/9/2020   OB   10/12/2020   WN;1933;ATL;LGA                   NEW CODYSIDE           CO                    US    4214   126740064@AIRLINE.KIWI.COM
LEIWZE    10/9/2020   OB   10/11/2020   WN;2185;SJU;FLL                   AL MQTBURY             ASIR                  SA   13898   126740823@AIRLINE.KIWI.COM
LEIWZE    10/9/2020   OB   10/11/2020   WN;2185;SJU;FLL                   AL MQTBURY             ASIR                  SA   13898   126740823@AIRLINE.KIWI.COM
LEXBIF    10/9/2020   OB   10/31/2020   WN;2564;TUL;DEN                   LORISTAD               WA                    US   38900   126740757@AIRLINE.KIWI.COM
LGMBFI    10/9/2020   OB    10/9/2020   WN;1591;ATL;BWI                   JOHNSONSTAD            MD                    US   84197   126743265@AIRLINE.KIWI.COM
LJXC6G    10/9/2020   OB   10/13/2020   WN;1005;SLC;LAS;WN;2578;LAS;GEG   JULIEMOUTH             NH                    US   35762   126746411@AIRLINE.KIWI.COM
LODTZJ    10/9/2020   OB   10/13/2020   WN;1551;FLL;BWI;WN;11;BWI;CHS     KHUTIR SIMON           KHMELNYTSKA OBLAST    UA   88229   126751405@AIRLINE.KIWI.COM
LODTZJ    10/9/2020   OB   10/13/2020   WN;1551;FLL;BWI;WN;11;BWI;CHS     KHUTIR SIMON           KHMELNYTSKA OBLAST    UA   88229   126751405@AIRLINE.KIWI.COM
LRB79E    10/9/2020   OB   10/11/2020   WN;2070;ATL;BNA                   JAMESBOROUGH           IL                    US   43497   126753924@AIRLINE.KIWI.COM
LRB79E    10/9/2020   OB   10/11/2020   WN;2070;ATL;BNA                   JAMESBOROUGH           IL                    US   43497   126753924@AIRLINE.KIWI.COM
LSDPFQ    10/9/2020   OB   10/12/2020   WN;2217;PHX;ONT                   JEREMYTOWN             GA                    US   12470   126754826@AIRLINE.KIWI.COM
LUFWFR    10/9/2020   OB   10/25/2020   WN;2185;SJU;FLL                   JODICHESTER            CO                    US    3543   126757356@AIRLINE.KIWI.COM
LUFWFR    10/9/2020   OB   10/25/2020   WN;2185;SJU;FLL                   JODICHESTER            CO                    US    3543   126757356@AIRLINE.KIWI.COM
LUFWFR    10/9/2020   OB   10/25/2020   WN;2185;SJU;FLL                   JODICHESTER            CO                    US    3543   126757356@AIRLINE.KIWI.COM
LVSGM2    10/9/2020   OB   11/29/2020   WN;4460;MCI;LAS                   WEST EMILY             OK                    US   88224   126758258@AIRLINE.KIWI.COM
LW78TP    10/9/2020   OB   10/11/2020   WN;2333;ONT;SMF                   RICHARDBOROUGH         IA                    US   49817   126758126@AIRLINE.KIWI.COM
LY2YPN    10/9/2020   OB   10/11/2020   WN;1341;BNA;DAL;WN;2599;DAL;LIT   MARKMOUTH              HI                    US   11457   126759765@AIRLINE.KIWI.COM
LYJB8R    10/9/2020   OB   10/24/2020   WN;2506;LAX;SMF                   FISHERHAVEN            RI                    US   97759   126760150@AIRLINE.KIWI.COM
LZLUFW    10/9/2020   OB   10/17/2020   WN;2121;DEN;SEA                   LAKE BRIANFORT         AL                    US    7489   126759688@AIRLINE.KIWI.COM
LZRX9T    10/9/2020   OB   10/17/2020   WN;645;ABQ;PHX                    EAST DIANETON          KY                    US   18237   126760986@AIRLINE.KIWI.COM
M288FE    10/9/2020   OB   10/10/2020   WN;2506;LAX;SMF                   EAST BRANDYSHIRE       MS                    US   97443   126761085@AIRLINE.KIWI.COM
M2L6DC    10/9/2020   OB   10/24/2020   WN;2116;LAX;SMF                   HUNTERMOUTH            UT                    US   76304   126761151@AIRLINE.KIWI.COM
M3UZSE    10/9/2020   OB     1/3/2021   WN;4101;OMA;ATL                   SOUTH WILLIAM          KS                    US   81026   126761701@AIRLINE.KIWI.COM
M4MY2L    10/9/2020   OB   10/11/2020   WN;6912;TPA;BWI;WN;862;BWI;BUF    EAST SHANNONBERG       MN                    US   30548   126762119@AIRLINE.KIWI.COM
M4PSMX   10/10/2020   OB   10/10/2020   WN;2597;TPA;BWI                   TIFFANYSTAD            OK                    US   51584   126762570@AIRLINE.KIWI.COM
M4PSMX   10/10/2020   RT   10/16/2020   WN;24;BWI;TPA                     TIFFANYSTAD            OK                    US   51584   126762570@AIRLINE.KIWI.COM
M88ATL   10/10/2020   OB    11/8/2020   WN;6002;CUN;HOU                   STEVENSTAD             PA                    US   79925   126763780@AIRLINE.KIWI.COM
M8WZJC   10/10/2020   OB   10/10/2020   WN;2287;LAX;LAS                   EAST KELLY             DE                    US   43338   126764363@AIRLINE.KIWI.COM
M8WZJC   10/10/2020   OB   10/10/2020   WN;2287;LAX;LAS                   EAST KELLY             DE                    US   43338   126764363@AIRLINE.KIWI.COM
M9HKFO   10/10/2020   OB   10/13/2020   WN;1108;OAK;LAX                   PORT TRACY             MN                    US   61425   126764638@AIRLINE.KIWI.COM
M9NEAW   10/10/2020   OB     2/6/2021   WN;2163;LAX;HOU;WN;2890;HOU;MIA   WILSONSTAD             NEW BRUNSWICK         CA   61372   126764429@AIRLINE.KIWI.COM
MAQ3DA   10/10/2020   OB   10/26/2020   WN;255;BWI;BDL                    PORT MATTHEW           MD                    US   47601   126764979@AIRLINE.KIWI.COM
MAQ3DA   10/10/2020   OB   10/26/2020   WN;255;BWI;BDL                    PORT MATTHEW           MD                    US   47601   126764979@AIRLINE.KIWI.COM
MB97GD   10/10/2020   OB    11/6/2020   WN;618;OAK;HOU                    COLLINSSHIRE           IA                    US   99356   126765232@AIRLINE.KIWI.COM
MBND5O   10/10/2020   OB    11/8/2020   WN;570;HOU;OAK                    NORTH RICKY            KS                    US   91960   126765232@AIRLINE.KIWI.COM
MEGTF9   10/10/2020   OB   10/26/2020   WN;2168;BNA;DTW                   LEEFORT                MA                    US   27980   126766409@AIRLINE.KIWI.COM
MEVYOR   10/10/2020   OB   10/25/2020   WN;6613;RSW;ATL                   SOUTH AARONSIDE        WY                    US   55810   126766849@AIRLINE.KIWI.COM
MEVYOR   10/10/2020   OB   10/25/2020   WN;6613;RSW;ATL                   SOUTH AARONSIDE        WY                    US   55810   126766849@AIRLINE.KIWI.COM
MFLKYC   10/10/2020   OB   10/23/2020   WN;6649;ATL;RSW                   TERESAMOUTH            TX                    US   65953   126766849@AIRLINE.KIWI.COM
MFLKYC   10/10/2020   OB   10/23/2020   WN;6649;ATL;RSW                   TERESAMOUTH            TX                    US   65953   126766849@AIRLINE.KIWI.COM
MGH8TF   10/10/2020   OB   10/10/2020   WN;2522;SMF;LAX                   LBRGWTHYBERG           AS                    US   70635   126766904@AIRLINE.KIWI.COM
MGH8TF   10/10/2020   OB   10/10/2020   WN;2522;SMF;LAX                   LBRGWTHYBERG           AS                    US   70635   126766904@AIRLINE.KIWI.COM
MJIVDZ   10/10/2020   OB   10/17/2020   WN;1108;OAK;LAX                   NEW MICHAELTON         NH                    US   49590   126768334@AIRLINE.KIWI.COM
MKRS4Y   10/10/2020   OB   11/13/2020   WN;227;LAX;SFO                    EAST AMYPORT           AR                    US   78176   126768862@AIRLINE.KIWI.COM
MKTHW5   10/10/2020   OB   10/25/2020   WN;113;LAX;SFO                    WERGEA                 GELDERLAND            NL   97017   126768741@AIRLINE.KIWI.COM
MLBFVI   10/10/2020   OB   10/10/2020   WN;2296;OAK;PHX;WN;1650;PHX;ONT   SOUTH BRENDAHAVEN      LA                    US   29097   126769027@AIRLINE.KIWI.COM
MM7NJY   10/10/2020   OB   10/14/2020   WN;1969;DEN;TUS                   JESSICASTAD            MN                    US   54242   126769324@AIRLINE.KIWI.COM
MNJWMY   10/10/2020   OB   10/10/2020   WN;2287;LAX;LAS                   LAKE EDDIEHAVEN        CT                    US   38120   126770160@AIRLINE.KIWI.COM
MPYM6J   10/10/2020   OB   10/13/2020   WN;2185;SJU;FLL                   NOVI MAROF             KARLOVACKA ZUPANIJA   HR   74593   126770842@AIRLINE.KIWI.COM
MPYM6J   10/10/2020   OB   10/13/2020   WN;2185;SJU;FLL                   NOVI MAROF             KARLOVACKA ZUPANIJA   HR   74593   126770842@AIRLINE.KIWI.COM
MQ45VM   10/10/2020   OB   11/18/2020   WN;3294;HOU;MIA                   SELO ZINOVII           KHERSONSKA OBLAST     UA   66850   126770545@AIRLINE.KIWI.COM
MQ45VM   10/10/2020   OB   11/18/2020   WN;3294;HOU;MIA                   SELO ZINOVII           KHERSONSKA OBLAST     UA   66850   126770545@AIRLINE.KIWI.COM
MT4MG2   10/10/2020   OB   10/18/2020   WN;1368;ONT;LAS                   SOUTH ELIZABETHVIEW    VT                    US   38831   126770369@AIRLINE.KIWI.COM
MU8K54   10/10/2020   OB   10/10/2020   WN;2245;SMF;SNA                   JONESMOUTH             VA                    US   36330   126772536@AIRLINE.KIWI.COM
MWCN2T   10/10/2020   OB     1/5/2021   WN;6115;TPA;SDF                   NORTH TODD             CA                    US   37964   126773427@AIRLINE.KIWI.COM
MWCN2T   10/10/2020   OB     1/5/2021   WN;6115;TPA;SDF                   NORTH TODD             CA                    US   37964   126773427@AIRLINE.KIWI.COM
MWCN2T   10/10/2020   OB     1/5/2021   WN;6115;TPA;SDF                   NORTH TODD             CA                    US   37964   126773427@AIRLINE.KIWI.COM




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MWYKK6   10/10/2020   OB   10/10/2020   WN;2439;LAS;DEN                   WEST MATTHEWTON        VA                  US   84814   126773581@AIRLINE.KIWI.COM
MZ3KX2   10/10/2020   OB   10/20/2020   WN;2508;LAS;SMF                   WAGNERBURY             CA                  US   53660   126767597@AIRLINE.KIWI.COM
NCDRCU   10/10/2020   OB   10/17/2020   WN;3;MDW;LAX                      PORT DEVINMOUTH        SC                  US   45529   126781754@AIRLINE.KIWI.COM
NCWQ5R   10/10/2020   OB   10/17/2020   WN;3;MDW;LAX                      NEW CODY               WV                  US   92738   126781754@AIRLINE.KIWI.COM
ND7ZU2   10/10/2020   OB   10/10/2020   WN;174;DEN;LGA                    NORTH RACHELBOROUGH    AL                  US   62065   126782898@AIRLINE.KIWI.COM
NF8IGH   10/10/2020   OB   10/10/2020   WN;1933;ATL;LGA                   HAYESPORT              OH                  US    7481   126785274@AIRLINE.KIWI.COM
NITEDK   10/10/2020   OB   10/10/2020   WN;2700;MEM;ATL                   JENSENBERG             IA                  US   37131   126788420@AIRLINE.KIWI.COM
NLOXLG   10/10/2020   OB    11/4/2020   WN;2003;BWI;HOU                   AGUILARFORT            VA                  US   12754   126791005@AIRLINE.KIWI.COM
NLVI8N   10/10/2020   OB   10/10/2020   WN;1750;FLL;MCO                   DAVIDCHESTER           ME                  US   96923   126791203@AIRLINE.KIWI.COM
NO6O4J   10/10/2020   OB   10/10/2020   WN;2230;DEN;PHL                   SOUTH CHRISTINEVILLE   NH                  US    4104   126793183@AIRLINE.KIWI.COM
NTWMFS   10/10/2020   OB   10/12/2020   WN;1929;MCO;BWI                   WAGNERMOUTH            AL                  US   41493   126798386@AIRLINE.KIWI.COM
NZ3ML6   10/10/2020   OB   10/23/2020   WN;2544;TPA;SJU                   NEW JEREMYPORT         IA                  US   27928   126800454@AIRLINE.KIWI.COM
NZ3ML6   10/10/2020   OB   10/23/2020   WN;2544;TPA;SJU                   NEW JEREMYPORT         IA                  US   27928   126800454@AIRLINE.KIWI.COM
NZ3ML6   10/10/2020   OB   10/23/2020   WN;2544;TPA;SJU                   NEW JEREMYPORT         IA                  US   27928   126800454@AIRLINE.KIWI.COM
NZ3ML6   10/10/2020   RT   10/26/2020   WN;1286;SJU;TPA                   NEW JEREMYPORT         IA                  US   27928   126800454@AIRLINE.KIWI.COM
NZ3ML6   10/10/2020   RT   10/26/2020   WN;1286;SJU;TPA                   NEW JEREMYPORT         IA                  US   27928   126800454@AIRLINE.KIWI.COM
NZ3ML6   10/10/2020   RT   10/26/2020   WN;1286;SJU;TPA                   NEW JEREMYPORT         IA                  US   27928   126800454@AIRLINE.KIWI.COM
NZCKCG   10/10/2020   OB   10/12/2020   WN;2641;ATL;BWI;WN;1848;BWI;ALB   NEW ADAMSTAD           GREAT BRITAIN       GB   55639   126804535@AIRLINE.KIWI.COM
O7LGC4   10/10/2020   OB    11/3/2020   WN;1757;BNA;AUS                   RUBENCHESTER           MN                  US   97898   126810816@AIRLINE.KIWI.COM
O7PC2F   10/10/2020   OB   10/31/2020   WN;1654;PHX;BUR                   WEST RONALD            MO                  US   80827   126810552@AIRLINE.KIWI.COM
O7WS5U   10/10/2020   OB   10/30/2020   WN;312;MSY;BNA                    LAKE BREANNA           KY                  US   51462   126810816@AIRLINE.KIWI.COM
O823ED   10/10/2020   OB   11/17/2020   WN;4988;STL;HOU;WN;108;HOU;PVR    EAST JESSE             TX                  US   41604   126811025@AIRLINE.KIWI.COM
O8VPG9   10/10/2020   OB   10/11/2020   WN;1786;AUS;MSY                   HERNANDEZSHIRE         CA                  US   24212   126811795@AIRLINE.KIWI.COM
OAA9CO   10/10/2020   OB   10/11/2020   WN;1018;CUN;DEN;WN;1179;DEN;SFO   ASTURIAS               LEON                ES   14688   126814215@AIRLINE.KIWI.COM
OATHOD   10/10/2020   OB   10/18/2020   WN;1227;DEN;ICT                   NORTH KATHERINESIDE    AL                  US   24429   126813522@AIRLINE.KIWI.COM
OBQ7QW   10/10/2020   OB   10/31/2020   WN;2065;MSY;BNA;WN;2505;BNA;MDW   ALVES                  DISTRITO FEDERAL    BR   50542   126815271@AIRLINE.KIWI.COM
OBXJTG   10/10/2020   OB   10/24/2020   WN;2456;ABQ;PHX                   PORT SHARON            PA                  US   77492   126815678@AIRLINE.KIWI.COM
OC772Y   10/10/2020   OB   10/10/2020   WN;6839;MCO;ATL                   CARLAHAVEN             VA                  US   67551   126816030@AIRLINE.KIWI.COM
OCX7AN   10/10/2020   OB   10/15/2020   WN;183;MDW;ATL                    WHITETOWN              CT                  US    5356   126811597@AIRLINE.KIWI.COM
OCX7AN   10/10/2020   RT   10/19/2020   WN;2416;ATL;MDW                   WHITETOWN              CT                  US    5356   126811597@AIRLINE.KIWI.COM
OEWPJW   10/10/2020   OB   10/28/2020   WN;3658;MSY;AUS                   LAKE JAMIEFURT         AZ                  US   11948   126818857@AIRLINE.KIWI.COM
OEWPJW   10/10/2020   RT    11/1/2020   WN;1786;AUS;MSY                   LAKE JAMIEFURT         AZ                  US   11948   126818857@AIRLINE.KIWI.COM
OF4QCI   10/10/2020   OB   10/14/2020   WN;177;ATL;MSY                    BRYANBERG              KY                  US   16513   126819693@AIRLINE.KIWI.COM
OFIBNS   10/10/2020   OB   10/13/2020   WN;2259;MSY;BWI;WN;1314;BWI;PWM   KELLERSTAD             GA                  US   60671   126819638@AIRLINE.KIWI.COM
OGDKT2   10/10/2020   OB   10/23/2020   WN;2609;DEN;TUS                   JENKINSPORT            AL                  US    1847   126818890@AIRLINE.KIWI.COM
OGKHDR   10/10/2020   OB   10/12/2020   WN;1919;RDU;BNA                   SOUTH CHELSEAVILLE     KS                  US   81398   126820870@AIRLINE.KIWI.COM
OIHK9Q   10/10/2020   OB   10/13/2020   WN;6590;DEN;ICT                   WARDVILLE              AL                  US   53535   126822124@AIRLINE.KIWI.COM
OLNI6E   10/10/2020   OB   10/24/2020   WN;2600;LAX;LAS                   TAMARAMOUTH            UT                  US   23245   126826381@AIRLINE.KIWI.COM
OM2G4Q   10/10/2020   OB   10/16/2020   WN;2366;DEN;OKC                   NORTH WILLIAM          WV                  US   41154   126826942@AIRLINE.KIWI.COM
OM2G4Q   10/10/2020   RT   10/18/2020   WN;3232;OKC;DEN                   NORTH WILLIAM          WV                  US   41154   126826942@AIRLINE.KIWI.COM
OMG2I5   10/10/2020   OB   10/11/2020   WN;2465;SDF;MDW;WN;1855;MDW;MCI   LAKE STANLEY           TX                  US   69241   126826832@AIRLINE.KIWI.COM
ONJP5P   10/10/2020   OB   10/11/2020   WN;2309;ELP;PHX;WN;463;PHX;ATL    COOKTON                IN                  US   62472   126827481@AIRLINE.KIWI.COM
ONSW5O   10/10/2020   OB   10/29/2020   WN;140;BOS;BNA                    JOSHUAFURT             KY                  US   32505   126827965@AIRLINE.KIWI.COM
OOCSNK   10/10/2020   OB   10/15/2020   WN;6637;TUS;DEN                   LAKE MICHAEL           OK                  US   23813   126827800@AIRLINE.KIWI.COM
OPM86R   10/10/2020   OB   11/29/2020   WN;4927;ALB;MCO                   MILLSFORT              FL                  US   96129   126825622@AIRLINE.KIWI.COM
OPOWVV   10/10/2020   OB   10/10/2020   WN;2287;LAX;LAS                   MARQUEZBURY            VT                  US   78069   126828724@AIRLINE.KIWI.COM
ORKEGX   10/10/2020   OB   10/13/2020   WN;2371;MSP;MDW;WN;2289;MDW;MEM   JOHNSTAD               NY                  US    1901   126830506@AIRLINE.KIWI.COM
OSH8EJ   10/10/2020   OB   10/29/2020   WN;3001;CMH;MCO                   JENNIFERBURGH          NV                  US   87072   126831760@AIRLINE.KIWI.COM
OSH8EJ   10/10/2020   OB   10/29/2020   WN;3001;CMH;MCO                   JENNIFERBURGH          NV                  US   87072   126831760@AIRLINE.KIWI.COM
OSH8EJ   10/10/2020   OB   10/29/2020   WN;3001;CMH;MCO                   JENNIFERBURGH          NV                  US   87072   126831760@AIRLINE.KIWI.COM
OSH8EJ   10/10/2020   OB   10/29/2020   WN;3001;CMH;MCO                   JENNIFERBURGH          NV                  US   87072   126831760@AIRLINE.KIWI.COM
OT9GZ5   10/10/2020   OB   11/12/2020   WN;638;TUL;DEN                    MARTINEZHAVEN          CA                  US   36083   126831254@AIRLINE.KIWI.COM
OZ96G8   10/10/2020   OB   10/13/2020   WN;1876;ATL;BNA;WN;6584;BNA;PNS   NIXONCHESTER           SC                  US   66315   126836039@AIRLINE.KIWI.COM
OZJJGT   10/10/2020   OB   10/13/2020   WN;1644;MSP;MDW;WN;6745;MDW;PIT   PAMELAFURT             VT                  US   63147   126835852@AIRLINE.KIWI.COM
OZV9TR   10/10/2020   OB   12/10/2020   WN;2522;DEN;BNA                   STACYBERG              PA                  US   12674   126836358@AIRLINE.KIWI.COM
OZV9TR   10/10/2020   OB   12/10/2020   WN;2522;DEN;BNA                   STACYBERG              PA                  US   12674   126836358@AIRLINE.KIWI.COM
P2ORRP   10/10/2020   OB   12/12/2020   WN;3425;SAT;BNA                   SOUTH JAMES            KY                  US   57862   126836347@AIRLINE.KIWI.COM
P2SBMR   10/10/2020   OB   10/11/2020   WN;2621;MCO;RDU                   EAST EMILYFURT         NE                  US   19786   126836446@AIRLINE.KIWI.COM
P6VDWU   10/11/2020   OB   10/28/2020   WN;111;SNA;PHX                    RICHARDBURGH           CO                  US   72930   126838085@AIRLINE.KIWI.COM
PC766Q   10/11/2020   OB    11/7/2020   WN;4258;SLC;PHX;WN;6037;PHX;SJD   AMANDAFURT             MT                  US   24231   126840296@AIRLINE.KIWI.COM
PDAVC6   10/11/2020   OB   12/24/2020   WN;4842;SMF;SEA                   DMANISI                ABKHAZIA            GE   17572   126840769@AIRLINE.KIWI.COM
PDAVC6   10/11/2020   OB   12/24/2020   WN;4842;SMF;SEA                   DMANISI                ABKHAZIA            GE   17572   126840769@AIRLINE.KIWI.COM
PEFH7J   10/11/2020   OB   10/12/2020   WN;1236;JAX;BNA                   RYANBURGH              OR                  US   78031   126840824@AIRLINE.KIWI.COM
PIL4EF   10/11/2020   OB   10/27/2020   WN;1898;OKC;HOU;WN;2063;HOU;LAS   BRUCETON               FL                  US   69121   126842221@AIRLINE.KIWI.COM
PIODH6   10/11/2020   OB    11/4/2020   WN;2905;LAS;OKC                   SHERRIVIEW             HI                  US   19415   126842221@AIRLINE.KIWI.COM
PK4XYQ   10/11/2020   OB   10/13/2020   WN;1969;DEN;TUS                   CARLSONBERG            PA                  US   72098   126842727@AIRLINE.KIWI.COM
PK4XYQ   10/11/2020   OB   10/13/2020   WN;1969;DEN;TUS                   CARLSONBERG            PA                  US   72098   126842727@AIRLINE.KIWI.COM
PKVBEC   10/11/2020   OB   10/12/2020   WN;6604;ATL;STL;WN;2002;STL;DSM   NORTH SYLVIABURGH      AK                  US   82337   126842936@AIRLINE.KIWI.COM
PMD3MB   10/11/2020   OB   10/12/2020   WN;2440;SAN;PHX                   PORT JAMESBURY         VT                  US    9017   126843365@AIRLINE.KIWI.COM
PMROJN   10/11/2020   OB   10/26/2020   WN;2365;OKC;PHX;WN;1659;PHX;DEN   DEBRAMOUTH             RI                  US   80121   126843376@AIRLINE.KIWI.COM
PPHS2X   10/11/2020   OB   12/20/2020   WN;983;MCO;STL                    LINKOPING              UPPSALA LAN         SE   90570   126844179@AIRLINE.KIWI.COM
PQQ4KA   10/11/2020   OB   11/10/2020   WN;2073;LAS;LGB                   BURNSCHESTER           NC                  US   27369   126844729@AIRLINE.KIWI.COM
PQWN63   10/11/2020   OB   10/20/2020   WN;1807;DEN;HOU                   KATIEBERG              AL                  US   51895   126844608@AIRLINE.KIWI.COM
PY2H68   10/11/2020   OB   10/31/2020   WN;1242;SAT;PHX;WN;2374;PHX;LAX   SOUTH BRADSTAD         IN                  US   13860   126846841@AIRLINE.KIWI.COM
QC776W   10/11/2020   OB   10/14/2020   WN;1800;BWI;MDW                   LAKE JASON             NY                  US   36880   126855190@AIRLINE.KIWI.COM
QC776W   10/11/2020   RT   10/15/2020   WN;5626;MDW;GRR;WN;5626;GRR;BWI   LAKE JASON             NY                  US   36880   126855190@AIRLINE.KIWI.COM
QW2DSI   10/11/2020   OB   11/23/2020   WN;1674;MKE;BNA                   JILLIANBURGH           GA                  US   47982   126872240@AIRLINE.KIWI.COM
QWKITM   10/11/2020   OB   11/25/2020   WN;3747;BNA;SLC                   NORTH AMANDA           VA                  US   65431   126872614@AIRLINE.KIWI.COM
QXCLAQ   10/11/2020   OB   10/11/2020   WN;33;LAS;BUF                     NEW AMBER              WY                  US   67124   126872933@AIRLINE.KIWI.COM
R6OAU7   10/11/2020   OB   10/11/2020   WN;2182;ATL;IND                   GILLMOUTH              ME                  US   30676   126879808@AIRLINE.KIWI.COM
R9QSIK   10/11/2020   OB   12/24/2020   WN;3273;STL;DEN                   SHELTONTOWN            ME                  US   87348   126884032@AIRLINE.KIWI.COM
R9WJLM   10/11/2020   OB   10/13/2020   WN;2628;TPA;MSY                   PETERSONVIEW           MS                  US   59186   126883922@AIRLINE.KIWI.COM
RA6VOK   10/11/2020   OB   10/12/2020   WN;1888;MCO;MDW;WN;1595;MDW;OAK   NORTH ROBERTBERG       WY                  US   22081   126884395@AIRLINE.KIWI.COM
RANL26   10/11/2020   OB   10/11/2020   WN;1227;LAX;DEN                   ROBERTSLAND            SD                  US   20473   117147195@AIRLINE.KIWI.COM
RH4PD5   10/11/2020   OB   10/12/2020   WN;6741;ATL;DCA;WN;6662;DCA;MDW   FIELDSMOUTH            AL                  US   40050   126891622@AIRLINE.KIWI.COM
RIBEAB   10/11/2020   OB   10/12/2020   WN;6741;ATL;DCA                   SOUTH MARIELAND        AK                  US   41339   126892975@AIRLINE.KIWI.COM
RIE2RK   10/11/2020   OB   10/12/2020   WN;6741;ATL;DCA                   WEST MICHAELFURT       RI                  US   17980   126892975@AIRLINE.KIWI.COM
RLDDID   10/11/2020   OB   10/12/2020   WN;6965;MCO;MDW                   NORTH ISAACFURT        KS                  US   97021   126895670@AIRLINE.KIWI.COM
RLDDID   10/11/2020   OB   10/12/2020   WN;6965;MCO;MDW                   NORTH ISAACFURT        KS                  US   97021   126895670@AIRLINE.KIWI.COM
RLDDID   10/11/2020   OB   10/12/2020   WN;6965;MCO;MDW                   NORTH ISAACFURT        KS                  US   97021   126895670@AIRLINE.KIWI.COM
RMACPI   10/11/2020   OB   10/13/2020   WN;116;IND;DEN                    CHAVEZHAVEN            AZ                  US   38390   126896627@AIRLINE.KIWI.COM
RMKLA7   10/11/2020   OB   10/12/2020   WN;2634;ATL;STL;WN;2634;STL;MKE   EDWARDSFURT            NY                  US   28971   126897188@AIRLINE.KIWI.COM
RPUQ8S   10/11/2020   OB    11/5/2020   WN;1922;SJD;PHX                   VIEJA YEMEN            HIDALGO             MX   75555   126899861@AIRLINE.KIWI.COM
RQCC7W   10/11/2020   OB   10/12/2020   WN;6741;ATL;DCA;WN;6662;DCA;MDW   LAKE TODD              KY                  US   25880   126900103@AIRLINE.KIWI.COM
RQVF5I   10/11/2020   OB   10/18/2020   WN;116;AUS;DAL;WN;6513;DAL;CHS    CLARKFORT              VT                  US   37131   126900807@AIRLINE.KIWI.COM
RSUJ74   10/11/2020   OB   10/18/2020   WN;429;CVG;BWI;WN;1840;BWI;BOS    BHAADURGNJ             ARUNACHAL PRADESH   IN    1874   126902226@AIRLINE.KIWI.COM
RTS2KO   10/11/2020   OB   11/20/2020   WN;6129;SAN;AUS                   PORT ANDREASIDE        IL                  US   65497   126902787@AIRLINE.KIWI.COM
RTS2KO   10/11/2020   OB   11/20/2020   WN;6129;SAN;AUS                   PORT ANDREASIDE        IL                  US   65497   126902787@AIRLINE.KIWI.COM
RVQT2P   10/11/2020   OB   10/27/2020   WN;330;MDW;DEN                    EAST JESSICAFORT       GA                  US   68023   126904525@AIRLINE.KIWI.COM
RVXB9P   10/11/2020   OB    11/1/2020   WN;1964;TPA;FLL                   TODDSTAD               CA                  US   43271   126902952@AIRLINE.KIWI.COM
RWT9J7   10/11/2020   OB     1/3/2021   WN;1341;PHX;SFO                   SAN ALFREDO LOS ALTO   OAXACA              MX   95137   126904910@AIRLINE.KIWI.COM
RWYH9T   10/11/2020   OB   10/12/2020   WN;116;ATL;BNA                    GONZALEZBURGH          WI                  US    4846   126905075@AIRLINE.KIWI.COM
RZKK4J   10/11/2020   OB    12/1/2020   WN;1543;SNA;LAS                   ALBERTLAND             UT                  US   88930   126906527@AIRLINE.KIWI.COM
RZKK4J   10/11/2020   OB    12/1/2020   WN;1543;SNA;LAS                   ALBERTLAND             UT                  US   88930   126906527@AIRLINE.KIWI.COM
S23XYB   10/11/2020   OB   11/23/2020   WN;1516;SDF;LAS                   DAVIDMOUTH             ME                  US    1877   126907165@AIRLINE.KIWI.COM
S3SRU4   10/11/2020   OB   11/15/2020   WN;1282;OAK;HNL                   PORT DEBRABOROUGH      CA                  US   89506   126907385@AIRLINE.KIWI.COM
S43KJU   10/11/2020   OB   11/17/2020   WN;3365;HOU;ATL;WN;2970;ATL;IAD   SOUTH ORESTAS          ALYTAUS APSKRITIS   LT   33582   126908078@AIRLINE.KIWI.COM




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S7NAME   10/12/2020   OB   10/21/2020   WN;1324;SMF;LAX                   DUNNSTAD               NH                        US   69965   126909970@AIRLINE.KIWI.COM
S7P4RQ   10/12/2020   OB   10/12/2020   WN;2641;ATL;BWI;WN;1923;BWI;ROC   CRAWFORDFORT           NV                        US   76044   126909860@AIRLINE.KIWI.COM
S7PJU3   10/12/2020   OB   10/12/2020   WN;3245;BWI;CLE                   BAKERBURY              NM                        US   69801   126909937@AIRLINE.KIWI.COM
S8A35G   10/12/2020   OB   10/12/2020   WN;2139;ATL;GSP                   SOUTH SARAHFORT        ID                        US   69514   126910311@AIRLINE.KIWI.COM
SBITSI   10/12/2020   OB   10/12/2020   WN;6741;ATL;DCA                   MORALESMOUTH           UT                        US   43170   126911455@AIRLINE.KIWI.COM
SBITSI   10/12/2020   OB   10/12/2020   WN;6741;ATL;DCA                   MORALESMOUTH           UT                        US   43170   126911455@AIRLINE.KIWI.COM
SCJ7E6   10/12/2020   OB   10/12/2020   WN;2038;ATL;DCA                   GERALDVILLE            CO                        US   73099   126911730@AIRLINE.KIWI.COM
SFEW77   10/12/2020   OB   11/12/2020   WN;1784;OGG;KOA                   BAZIN                  GUADELOUPE                FR   46862   126912896@AIRLINE.KIWI.COM
SHAS2F   10/12/2020   OB    11/9/2020   WN;1261;BWI;DTW                   YONGINSI               CHUNGCHEONGNAMDO          KR   26421   126913842@AIRLINE.KIWI.COM
SHAS2F   10/12/2020   OB    11/9/2020   WN;1261;BWI;DTW                   YONGINSI               CHUNGCHEONGNAMDO          KR   26421   126913842@AIRLINE.KIWI.COM
SHAS2F   10/12/2020   OB    11/9/2020   WN;1261;BWI;DTW                   YONGINSI               CHUNGCHEONGNAMDO          KR   26421   126913842@AIRLINE.KIWI.COM
SHNMQG   10/12/2020   OB   10/12/2020   WN;864;ATL;LGA                    CAROLYNLAND            GA                        US   15767   126913677@AIRLINE.KIWI.COM
SHSCHY   10/12/2020   OB    11/7/2020   WN;4624;DEN;LGB                   SOUTH GABRIELLEVIEW    NE                        US    8964   126913798@AIRLINE.KIWI.COM
SJ33LA   10/12/2020   OB   10/12/2020   WN;1995;ATL;LGA                   SOUTH CATHERINESIDE    NC                        US   28407   126914216@AIRLINE.KIWI.COM
SJ62EZ   10/12/2020   OB   11/30/2020   WN;1282;OAK;HNL                   EAST NANCY             WI                        US   47658   126914337@AIRLINE.KIWI.COM
SJ62EZ   10/12/2020   OB   11/30/2020   WN;1282;OAK;HNL                   EAST NANCY             WI                        US   47658   126914337@AIRLINE.KIWI.COM
SJEUUX   10/12/2020   OB   11/21/2020   WN;1736;TPA;ATL;WN;2110;ATL;BNA   ERINVIEW               OH                        US   13685   126914337@AIRLINE.KIWI.COM
SJEUUX   10/12/2020   OB   11/21/2020   WN;1736;TPA;ATL;WN;2110;ATL;BNA   ERINVIEW               OH                        US   13685   126914337@AIRLINE.KIWI.COM
SJQW72   10/12/2020   OB   10/29/2020   WN;1655;BUR;OAK                   SOUTH RACHEL           CA                        US    9822   126914480@AIRLINE.KIWI.COM
SKJT4M   10/12/2020   OB   10/12/2020   WN;782;DTW;MDW;WN;2196;MDW;STL    DAVIDTOWN              TN                        US   43254   126914887@AIRLINE.KIWI.COM
SLJE9I   10/12/2020   OB    11/2/2020   WN;2540;ATL;RDU                   WEST MARIE             MS                        US   58544   126915382@AIRLINE.KIWI.COM
SLUI5G   10/12/2020   OB   10/26/2020   WN;2566;ONT;LAS                   WEST RENEEMOUTH        MI                        US   50375   126915437@AIRLINE.KIWI.COM
SM4692   10/12/2020   OB   10/12/2020   WN;116;AUS;DAL;WN;116;DAL;IND     WEST LISA              ME                        US   37703   126915602@AIRLINE.KIWI.COM
SM8O9C   10/12/2020   OB   10/12/2020   WN;6586;ATL;PHL                   ABIGAILPORT            LA                        US   76954   126915646@AIRLINE.KIWI.COM
SNYU9C   10/12/2020   OB   10/28/2020   WN;821;MDW;BWI                    MORRISONBERG           IN                        US   33332   126916119@AIRLINE.KIWI.COM
SOO5BK   10/12/2020   OB   10/13/2020   WN;1800;BWI;MDW                   RONALDFURT             WY                        US   86295   126916119@AIRLINE.KIWI.COM
SOO5BK   10/12/2020   RT   10/14/2020   WN;821;MDW;BWI                    RONALDFURT             WY                        US   86295   126916119@AIRLINE.KIWI.COM
SOXOE8   10/12/2020   OB   10/18/2020   WN;1360;SMF;SNA                   SOUTH JANETBURGH       GA                        US   61674   126568233.1478969@AIRLINE.KIWI.COM
SQNX8N   10/12/2020   OB   10/12/2020   WN;33;LAS;BUF                     GOMEZTON               AR                        US   71369   126917109@AIRLINE.KIWI.COM
SQZGHF   10/12/2020   OB    11/3/2020   WN;175;RNO;LAS                    SOUTH SHARONLAND       WI                        US   44657   126917351@AIRLINE.KIWI.COM
SX47K3   10/12/2020   OB   10/13/2020   WN;2498;SLC;OAK;WN;1563;OAK;PDX   WEST JEFFREYCHESTER    AR                        US   49591   126920167@AIRLINE.KIWI.COM
SXCRLF   10/12/2020   OB   10/14/2020   WN;4500;MDW;BWI                   GOYANGSI               GYEONGSANGBUKDO           KR   98451   126920475@AIRLINE.KIWI.COM
SZMLUK   10/12/2020   OB   10/12/2020   WN;1933;ATL;LGA                   SAMUELVIEW             KS                        US   58900   126921498@AIRLINE.KIWI.COM
SZUBT2   10/12/2020   OB   10/12/2020   WN;6876;CLT;DAL;WN;6876;DAL;LAS   NORTH KEVIN            TX                        US   51440   126921993@AIRLINE.KIWI.COM
T4FRXI   10/12/2020   OB    11/4/2020   WN;6050;LAS;ABQ                   BRITTANYSIDE           NY                        US   33408   126923467@AIRLINE.KIWI.COM
T5AVVZ   10/12/2020   OB    12/9/2020   WN;2728;DEN;MSY                   BENNETTMOUTH           AK                        US   32344   126907363@AIRLINE.KIWI.COM
T5AVVZ   10/12/2020   OB    12/9/2020   WN;2728;DEN;MSY                   BENNETTMOUTH           AK                        US   32344   126907363@AIRLINE.KIWI.COM
T5AVVZ   10/12/2020   OB    12/9/2020   WN;2728;DEN;MSY                   BENNETTMOUTH           AK                        US   32344   126907363@AIRLINE.KIWI.COM
T5AVVZ   10/12/2020   RT   12/15/2020   WN;4187;MSY;DEN                   BENNETTMOUTH           AK                        US   32344   126907363@AIRLINE.KIWI.COM
T5AVVZ   10/12/2020   RT   12/15/2020   WN;4187;MSY;DEN                   BENNETTMOUTH           AK                        US   32344   126907363@AIRLINE.KIWI.COM
T5AVVZ   10/12/2020   RT   12/15/2020   WN;4187;MSY;DEN                   BENNETTMOUTH           AK                        US   32344   126907363@AIRLINE.KIWI.COM
T7A5QV   10/12/2020   OB   10/13/2020   WN;1453;LAX;SMF                   BROWNTOWN              WI                        US   89734   126926052@AIRLINE.KIWI.COM
TAOM2A   10/12/2020   OB   10/16/2020   WN;1599;MSY;LAX                   PORT MIAMOUTH          FL                        US   76753   126930122@AIRLINE.KIWI.COM
TGSBC3   10/12/2020   OB   10/12/2020   WN;2634;ATL;STL;WN;1927;STL;DSM   JOHNSONSHIRE           FL                        US   61041   126937866@AIRLINE.KIWI.COM
TMTLUO   10/12/2020   OB   10/27/2020   WN;8837;CUN;DEN                   NEW ANDREBURY          RI                        US   90133   126945214@AIRLINE.KIWI.COM
TMTLUO   10/12/2020   OB   10/27/2020   WN;8837;CUN;DEN                   NEW ANDREBURY          RI                        US   90133   126945214@AIRLINE.KIWI.COM
TN6H4M   10/12/2020   OB   10/27/2020   WN;8837;CUN;DEN                   LAKE SEAN              AZ                        US   75850   126945973@AIRLINE.KIWI.COM
TN6H4M   10/12/2020   OB   10/27/2020   WN;8837;CUN;DEN                   LAKE SEAN              AZ                        US   75850   126945973@AIRLINE.KIWI.COM
TQJ4OG   10/12/2020   OB   10/12/2020   WN;864;ATL;LGA                    STRICKLANDCHESTER      MS                        US   55747   126067777@AIRLINE.KIWI.COM
TTQCZA   10/12/2020   OB   12/22/2020   WN;831;ATL;CMH                    CHARLESBERG            NY                        US   18519   126936370@AIRLINE.KIWI.COM
TTQCZA   10/12/2020   OB   12/22/2020   WN;831;ATL;CMH                    CHARLESBERG            NY                        US   18519   126936370@AIRLINE.KIWI.COM
TVDLCP   10/12/2020   OB   10/12/2020   WN;2171;ATL;PHL                   ROBERTVIEW             VT                        US   50422   126955873@AIRLINE.KIWI.COM
TVINAV   10/12/2020   OB   11/20/2020   WN;941;ATL;MDW                    WEST KAYLA             AL                        US   18525   126955015@AIRLINE.KIWI.COM
U2B8GW   10/12/2020   OB    11/6/2020   WN;261;BUR;SFO                    SAMANTHAMOUTH          MA                        US    8041   126961615@AIRLINE.KIWI.COM
U6WSAY   10/12/2020   OB   10/14/2020   WN;2465;SLC;SAN                   LAKE JAMES             IN                        US   60497   126969293@AIRLINE.KIWI.COM
U8CB4O   10/12/2020   OB   10/19/2020   WN;2578;LAS;GEG                   NORTH DANIEL           NE                        US    1240   126970822@AIRLINE.KIWI.COM
U8CB4O   10/12/2020   RT   10/23/2020   WN;1884;GEG;LAS                   NORTH DANIEL           NE                        US    1240   126970822@AIRLINE.KIWI.COM
U9E9IQ   10/12/2020   OB   11/12/2020   WN;139;ECP;BNA                    NEW NICOLE             CA                        US   69484   126972087@AIRLINE.KIWI.COM
U9E9IQ   10/12/2020   RT   11/17/2020   WN;3124;BNA;ECP                   NEW NICOLE             CA                        US   69484   126972087@AIRLINE.KIWI.COM
U9ETOS   10/12/2020   OB   10/13/2020   WN;1178;ATL;MDW;WN;1645;MDW;PHL   ST SOVETSKII           CHECHENSKAYA RESPUBLIKA   RU   53366   126972670@AIRLINE.KIWI.COM
U9L6IU   10/12/2020   OB   11/16/2020   WN;531;BNA;ECP                    GORDONSIDE             MD                        US   29679   126972087.1479533@AIRLINE.KIWI.COM
U9WPCY   10/12/2020   OB   10/15/2020   WN;5626;GRR;BWI;WN;1407;BWI;BNA   JONESMOUTH             IN                        US   56015   126973253@AIRLINE.KIWI.COM
U9WPCY   10/12/2020   RT   10/21/2020   WN;5001;BNA;BWI;WN;2064;BWI;GRR   JONESMOUTH             IN                        US   56015   126973253@AIRLINE.KIWI.COM
UAGWRC   10/12/2020   OB   10/14/2020   WN;6750;ATL;MEM                   NEW ANTHONYLAND        TX                        US   53081   126973660@AIRLINE.KIWI.COM
UAGWRC   10/12/2020   RT   10/16/2020   WN;6743;MEM;ATL                   NEW ANTHONYLAND        TX                        US   53081   126973660@AIRLINE.KIWI.COM
UAJ38T   10/12/2020   OB   10/12/2020   WN;2171;ATL;PHL                   LAKE NANCYVIEW         TX                        US   63754   126973880@AIRLINE.KIWI.COM
UAJ38T   10/12/2020   OB   10/12/2020   WN;2171;ATL;PHL                   LAKE NANCYVIEW         TX                        US   63754   126973880@AIRLINE.KIWI.COM
UCKOND   10/12/2020   OB   10/13/2020   WN;6514;TPA;BWI;WN;10;BWI;CLT     HOLLYHAVEN             HI                        US   38542   126976553@AIRLINE.KIWI.COM
UE5SG7   10/12/2020   OB   10/13/2020   WN;2038;PHX;LAS                   LAKE PAMELAHAVEN       WV                        US   10739   126977752@AIRLINE.KIWI.COM
UEA9MS   10/12/2020   OB   10/13/2020   WN;1385;DEN;LAX                   BIALA PODLASKA         OPOLSKIE                  PL   72443   126978269@AIRLINE.KIWI.COM
UEEBM5   10/12/2020   OB   10/14/2020   WN;1537;DEN;SMF                   DAVIDE LIDO            AVELLINO                  IT   81433   126624575.1479521@AIRLINE.KIWI.COM
UF3F6U   10/12/2020   OB   12/12/2020   WN;3626;MSY;DEN                   JONESHAVEN             AL                        US   39786   126978797@AIRLINE.KIWI.COM
UGF3J9   10/12/2020   OB   10/26/2020   WN;2591;BUR;LAS                   NORTH KARENBOROUGH     KY                        US   22643   126981294@AIRLINE.KIWI.COM
UIQZ8Y   10/12/2020   OB   10/29/2020   WN;1324;SMF;LAX                   CAROLYNHAVEN           NY                        US   48897   126984132@AIRLINE.KIWI.COM
UJ8Q2M   10/12/2020   OB   10/17/2020   WN;2288;LAX;MDW                   NORTH ANDREW           AK                        US    7093   126985232@AIRLINE.KIWI.COM
UKA3PM   10/12/2020   OB   10/14/2020   WN;849;ATL;IAD                    EAST SEANTOWN          MS                        US   89945   126985958@AIRLINE.KIWI.COM
ULITS4   10/12/2020   OB   10/17/2020   WN;1520;ATL;CMH                   HENG BANG SHI RONG Q   OKINAWA                   JP   25299   126988345@AIRLINE.KIWI.COM
ULUIJU   10/12/2020   OB   10/13/2020   WN;1543;LAS;MDW                   LAKE WILLIAM           WI                        US    3083   126988730@AIRLINE.KIWI.COM
UMYQ4Z   10/12/2020   OB   10/14/2020   WN;698;PBI;BWI                    WEST ANDREMOUTH        TX                        US   15293   126989577@AIRLINE.KIWI.COM
UOHVIG   10/12/2020   OB   10/30/2020   WN;2130;LGA;BNA                   CHARLESFORT            SC                        US   22586   126991040@AIRLINE.KIWI.COM
UOHVIG   10/12/2020   RT    11/2/2020   WN;1894;BNA;LGA                   CHARLESFORT            SC                        US   22586   126991040@AIRLINE.KIWI.COM
UPYLXP   10/12/2020   OB   10/14/2020   WN;1786;AUS;MSY                   SOUTH SAMUELBURY       ME                        US   65661   126993163@AIRLINE.KIWI.COM
UQG2WB   10/12/2020   OB   10/20/2020   WN;2591;BUR;LAS                   WEST SARAHBOROUGH      HI                        US   87284   126993900@AIRLINE.KIWI.COM
URO7BC   10/12/2020   OB   10/17/2020   WN;2013;BOS;BWI                   NEW JASON              MT                        US   98217   126995825@AIRLINE.KIWI.COM
URQ9Z3   10/12/2020   OB   10/18/2020   WN;1840;BWI;BOS                   THOMASFORT             SD                        US   67234   126995825@AIRLINE.KIWI.COM
USJK5L   10/12/2020   OB    11/1/2020   WN;928;IAD;ATL                    EAST CHRISTOPHERMOUT   NH                        US   71603   126996496@AIRLINE.KIWI.COM
UW6SD6   10/12/2020   OB   10/14/2020   WN;864;ATL;LGA                    EAST COREYSTAD         NJ                        US   79394   126999917@AIRLINE.KIWI.COM
UX6MZM   10/12/2020   OB   11/28/2020   WN;2072;LAS;SAN                   SHEILASHIRE            SC                        US   72740   127000566@AIRLINE.KIWI.COM
UXLN7N   10/12/2020   OB   10/13/2020   WN;2627;ATL;MSY;WN;36;MSY;HOU     MELANIESHIRE           NEWHAM                    GB    4819   127001083@AIRLINE.KIWI.COM
UXXNGX   10/12/2020   OB   10/13/2020   WN;1897;ATL;DAL;WN;710;DAL;ELP    WILLIAMMOUTH           MD                        US   98131   127001138@AIRLINE.KIWI.COM
UYRZBS   10/12/2020   OB   10/13/2020   WN;429;CVG;BWI;WN;2227;BWI;ORF    CLARKEBURGH            NH                        US   71895   127001930@AIRLINE.KIWI.COM
UZ4CUR   10/12/2020   OB   11/12/2020   WN;1784;OGG;KOA                   ROLLANDBOEUF           CA                        US   75822   126997145@AIRLINE.KIWI.COM
UZUIOM   10/12/2020   OB   10/13/2020   WN;1933;ATL;LGA                   NEW ZOE                NORTH LANARKSHIRE         GB   62848   127002535@AIRLINE.KIWI.COM
UZVVPR   10/12/2020   OB   10/15/2020   WN;1972;DSM;STL;WN;6536;STL;ATL   SANTIAGOLAND           NH                        US    3181   127002865@AIRLINE.KIWI.COM
V2HVB9   10/12/2020   OB   10/13/2020   WN;2502;BUR;SFO                   VRASENE                OOSTVLAANDEREN            BE   68422   127003019@AIRLINE.KIWI.COM
V48654   10/12/2020   OB   10/14/2020   WN;120;MSP;DEN;WN;3004;DEN;LAS    BELLTOWN               WY                        US   39751   127004097@AIRLINE.KIWI.COM
V4R3NN   10/12/2020   OB    12/8/2020   WN;4773;RSW;STL;WN;4773;STL;MCI   REBECCAHAVEN           FL                        US   18333   127004460@AIRLINE.KIWI.COM
V4R3NN   10/12/2020   OB    12/8/2020   WN;4773;RSW;STL;WN;4773;STL;MCI   REBECCAHAVEN           FL                        US   18333   127004460@AIRLINE.KIWI.COM
V5OCZN   10/12/2020   OB   10/18/2020   WN;1012;DEN;ATL                   BUSHSHIRE              IL                        US   12270   127005285@AIRLINE.KIWI.COM
V5OCZN   10/12/2020   OB   10/18/2020   WN;1012;DEN;ATL                   BUSHSHIRE              IL                        US   12270   127005285@AIRLINE.KIWI.COM
V69F2T   10/12/2020   OB   10/13/2020   WN;1995;ATL;LGA                   PORT TIMOTHY           PA                        US   89422   127005175@AIRLINE.KIWI.COM
J458A2   10/13/2020   OB   12/17/2020   WN;1458;SJC;ONT                   SOUTH MATTHEWFORT      IL                        US    7462   127063574@AIRLINE.KIWI.COM
J458A2   10/13/2020   OB   12/17/2020   WN;1458;SJC;ONT                   SOUTH MATTHEWFORT      IL                        US    7462   127063574@AIRLINE.KIWI.COM
J458A2   10/13/2020   OB   12/17/2020   WN;1458;SJC;ONT                   SOUTH MATTHEWFORT      IL                        US    7462   127063574@AIRLINE.KIWI.COM
J458A2   10/13/2020   OB   12/17/2020   WN;1458;SJC;ONT                   SOUTH MATTHEWFORT      IL                        US    7462   127063574@AIRLINE.KIWI.COM
J4IXFU   10/13/2020   OB   10/19/2020   WN;2208;SFO;PHX                   SOUTH ERICSHIRE        IA                        US   58227   127064091@AIRLINE.KIWI.COM
J5YKQ7   10/13/2020   OB   10/13/2020   WN;2383;OAK;LAX                   NEW DREWSTAD           CT                        US   44107   127065576@AIRLINE.KIWI.COM




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J6RSX8   10/13/2020   OB   10/16/2020   WN;2005;FLL;BWI                   NELSONTON              WY                   US   52056   127066599@AIRLINE.KIWI.COM
J6WS2E   10/13/2020   OB   12/22/2020   WN;335;MCO;ATL                    HURLEYPORT             VT                   US   30592   127067424@AIRLINE.KIWI.COM
J6WS2E   10/13/2020   RT   12/30/2020   WN;972;ATL;MCO                    HURLEYPORT             VT                   US   30592   127067424@AIRLINE.KIWI.COM
J77WC3   10/13/2020   OB   10/13/2020   WN;1690;OAK;LAS                   NORASTAD               HORDALAND            NO   14202   127067732@AIRLINE.KIWI.COM
J7F44O   10/13/2020   OB   12/22/2020   WN;335;MCO;ATL                    NEW LORI               MD                   US   23225   127066907@AIRLINE.KIWI.COM
J9KRF3   10/13/2020   OB    11/7/2020   WN;1865;BOI;DEN                   KRISTOPHERBOROUGH      WV                   US   21905   127070152@AIRLINE.KIWI.COM
JC4G3L   10/13/2020   OB   10/28/2020   WN;2276;OAK;DEN                   VALENCIA               -                    -    46573   127073782@AIRLINE.KIWI.COM
JC4G3L   10/13/2020   OB   10/28/2020   WN;2276;OAK;DEN                   VALENCIA               -                    -    46573   127073782@AIRLINE.KIWI.COM
JFEDIL   10/13/2020   OB   11/26/2020   WN;2104;PHX;BWI                   LAKE LISABERG          MN                   US   12273   127078116@AIRLINE.KIWI.COM
JFJSJ5   10/13/2020   OB   11/30/2020   WN;1612;CUN;BWI                   GIBSONBERG             TASMAN DISTRICT      NZ   62063   127077456@AIRLINE.KIWI.COM
JFTKH5   10/13/2020   OB   10/13/2020   WN;1492;SNA;LAS                   LEETON                 CO                   US   37970   127078545@AIRLINE.KIWI.COM
JG4OIU   10/13/2020   OB    11/9/2020   WN;335;MCO;ATL                    MEGANBERG              CA                   US   46471   127078952@AIRLINE.KIWI.COM
JGLPPW   10/13/2020   OB   10/13/2020   WN;2097;BWI;SDF                   WEST PHILLIP           MS                   US   82294   127080096@AIRLINE.KIWI.COM
JHGZ5P   10/13/2020   OB     1/5/2021   WN;337;LAS;RNO                    HOWARDPORT             NV                   US   57222   127080921@AIRLINE.KIWI.COM
JHM8CK   10/13/2020   OB    12/3/2020   WN;2730;CLT;DEN                   SOUTH JOSHUATON        ND                   US   84912   127081031@AIRLINE.KIWI.COM
JHM8CK   10/13/2020   OB    12/3/2020   WN;2730;CLT;DEN                   SOUTH JOSHUATON        ND                   US   84912   127081031@AIRLINE.KIWI.COM
JJSDFD   10/13/2020   OB    11/5/2020   WN;1191;ONT;SJC;WN;1103;SJC;STL   HURLEYPORT             SC                   US   30592   127083715@AIRLINE.KIWI.COM
JJSDFD   10/13/2020   RT    11/8/2020   WN;424;STL;DAL;WN;281;DAL;ONT     HURLEYPORT             SC                   US   30592   127083715@AIRLINE.KIWI.COM
JN826Q   10/13/2020   OB   12/27/2020   WN;3746;PHX;PDX                   SMITHVILLE             TN                   US   62612   127088412@AIRLINE.KIWI.COM
JN826Q   10/13/2020   OB   12/27/2020   WN;3746;PHX;PDX                   SMITHVILLE             TN                   US   62612   127088412@AIRLINE.KIWI.COM
JNDY7H   10/13/2020   OB    11/3/2020   WN;2605;BNA;RDU                   WEST BRANDON           MD                   US   74075   127088170@AIRLINE.KIWI.COM
JOPP66   10/13/2020   OB   10/14/2020   WN;6648;TPA;ATL                   EAST ARIEL             CO                   US   45236   127090733@AIRLINE.KIWI.COM
JQTUY9   10/13/2020   OB   10/21/2020   WN;429;CVG;BWI;WN;1770;BWI;LAX    JUSTINCHESTER          DE                   US   42729   127092724@AIRLINE.KIWI.COM
JR9ZBW   10/13/2020   OB   10/16/2020   WN;2621;FLL;MCO;WN;2406;MCO;LAS   LAKE AMBER             OK                   US   14431   127093373@AIRLINE.KIWI.COM
JSDOSZ   10/13/2020   OB   10/15/2020   WN;2412;PHX;HOU                   DAVISBERG              MA                   US   62214   127094891@AIRLINE.KIWI.COM
JSPDLL   10/13/2020   OB    11/8/2020   WN;1175;TPA;BHM                   GREGORYSIDE            OR                   US   55574   127093032@AIRLINE.KIWI.COM
JTJC8X   10/13/2020   OB     1/2/2021   WN;2185;MCO;BWI                   SOUTH GEORGEBURY       AL                   US   88665   127096013@AIRLINE.KIWI.COM
JTQGWY   10/13/2020   OB   10/18/2020   WN;1286;SJU;TPA                   PORT BERNARDVIEW       MO                   US   89906   127096442@AIRLINE.KIWI.COM
JUCAL2   10/13/2020   OB   10/14/2020   WN;2513;LAS;SMF                   SOUTH THERESABURY      RI                   US   55043   127096629@AIRLINE.KIWI.COM
JUKEP3   10/13/2020   OB     1/9/2021   WN;590;HNL;OGG                    THOMASHAVEN            AR                   US   67473   127096541@AIRLINE.KIWI.COM
JUKEP3   10/13/2020   OB     1/9/2021   WN;590;HNL;OGG                    THOMASHAVEN            AR                   US   67473   127096541@AIRLINE.KIWI.COM
JWWXPJ   10/13/2020   OB   10/14/2020   WN;2585;BNA;CLE                   ALANMOUTH              SC                   US   66466   127099511@AIRLINE.KIWI.COM
K26MY4   10/13/2020   OB   10/29/2020   WN;1995;HOU;ATL                   PORT CHRISTOPHERVIEW   NJ                   US   21296   127101733@AIRLINE.KIWI.COM
K325D7   10/13/2020   OB   10/14/2020   WN;2540;RDU;MCO                   MICHAELBURY            AK                   US   28640   127102338@AIRLINE.KIWI.COM
K4QNN8   10/13/2020   OB   10/14/2020   WN;2335;ORF;BWI;WN;1956;BWI;MCI   WEST STEPHANIEBOROUG   FL                   US   66354   127103504@AIRLINE.KIWI.COM
K4QNN8   10/13/2020   OB   10/14/2020   WN;2335;ORF;BWI;WN;1956;BWI;MCI   WEST STEPHANIEBOROUG   FL                   US   66354   127103504@AIRLINE.KIWI.COM
K4QNNP   10/13/2020   OB   12/19/2020   WN;784;OAK;OGG                    LAKE MARK              MN                   US   39945   127103636@AIRLINE.KIWI.COM
K4YCTX   10/13/2020   OB   10/17/2020   WN;1066;MCO;HOU;WN;117;HOU;OKC    WEST LISAMOUTH         CO                   US   97101   127103878@AIRLINE.KIWI.COM
K59FSD   10/13/2020   OB   10/14/2020   WN;257;BWI;ATL                    ACEVEDOMOUTH           TN                   US   85275   127104131@AIRLINE.KIWI.COM
K59FSD   10/13/2020   RT   10/17/2020   WN;2064;ATL;BWI                   ACEVEDOMOUTH           TN                   US   85275   127104131@AIRLINE.KIWI.COM
K65VV5   10/13/2020   OB    12/8/2020   WN;1028;CUN;DEN                   JOHNSTONBURY           NJ                   US   66470   127104406@AIRLINE.KIWI.COM
K65VV5   10/13/2020   OB    12/8/2020   WN;1028;CUN;DEN                   JOHNSTONBURY           NJ                   US   66470   127104406@AIRLINE.KIWI.COM
K65VV5   10/13/2020   OB    12/8/2020   WN;1028;CUN;DEN                   JOHNSTONBURY           NJ                   US   66470   127104406@AIRLINE.KIWI.COM
K65VV5   10/13/2020   OB    12/8/2020   WN;1028;CUN;DEN                   JOHNSTONBURY           NJ                   US   66470   127104406@AIRLINE.KIWI.COM
K65VV5   10/13/2020   OB    12/8/2020   WN;1028;CUN;DEN                   JOHNSTONBURY           NJ                   US   66470   127104406@AIRLINE.KIWI.COM
K7DTKJ   10/13/2020   OB   10/16/2020   WN;1980;DTW;BWI;WN;862;BWI;BUF    HOLTTOWN               OK                   US   19999   127104846@AIRLINE.KIWI.COM
V6YDC9   10/13/2020   OB   10/13/2020   WN;2231;ATL;TPA                   ROBLESBERG             MN                   US   35790   127005604@AIRLINE.KIWI.COM
V73K9O   10/13/2020   OB   10/14/2020   WN;6544;ATL;IND                   LAKE SHERI             HI                   US   61942   127005714@AIRLINE.KIWI.COM
V7AOPD   10/13/2020   OB   10/19/2020   WN;1579;BUR;SJC;WN;1579;SJC;SEA   NORTH CARLOS           WY                   US   74551   127006132@AIRLINE.KIWI.COM
V7E96E   10/13/2020   OB   10/13/2020   WN;2231;ATL;TPA                   MORALESCHESTER         OK                   US    1249   127005956@AIRLINE.KIWI.COM
V88MHI   10/13/2020   OB   10/25/2020   WN;2373;PHX;LAX                   LAKE WILLIAM           ASWAN                EG   95234   127006484@AIRLINE.KIWI.COM
V96A5J   10/13/2020   OB   10/13/2020   WN;101;ATL;MDW;WN;2472;MDW;BDL    FARLEYFURT             SD                   US   64548   127006946@AIRLINE.KIWI.COM
V9TG4P   10/13/2020   OB   10/31/2020   WN;2522;SMF;LAX                   HILLSHIRE              ND                   US   26428   127007056@AIRLINE.KIWI.COM
V9TG4P   10/13/2020   OB   10/31/2020   WN;2522;SMF;LAX                   HILLSHIRE              ND                   US   26428   127007056@AIRLINE.KIWI.COM
VAOEKL   10/13/2020   OB    11/2/2020   WN;1453;LAX;SMF                   EDWARDSSHIRE           CA                   US   35202   127007573@AIRLINE.KIWI.COM
VAOEKL   10/13/2020   OB    11/2/2020   WN;1453;LAX;SMF                   EDWARDSSHIRE           CA                   US   35202   127007573@AIRLINE.KIWI.COM
VBNT4M   10/13/2020   OB     1/2/2021   WN;1663;MCI;DEN;WN;1903;DEN;PSP   NORTH AMBER            NM                   US   65345   127008376@AIRLINE.KIWI.COM
VBVM3G   10/13/2020   OB   10/13/2020   WN;4401;MDW;STL;WN;2659;STL;SMF   WEST THEODORESTAD      AZ                   US   95906   127008244@AIRLINE.KIWI.COM
VC3ZQI   10/13/2020   OB    11/3/2020   WN;865;ATL;DAL                    NEW JOHNSIDE           NH                   US   39256   127008277@AIRLINE.KIWI.COM
VEBPQ4   10/13/2020   OB   10/13/2020   WN;2484;LAX;DEN                   NUEVA ESTONIA          TLAXCALA             MX   74763   127009410@AIRLINE.KIWI.COM
VEEG6H   10/13/2020   OB    11/8/2020   WN;1155;IAD;ATL                   PORT KYLE              VT                   US   76957   127009619@AIRLINE.KIWI.COM
VEEG6H   10/13/2020   OB    11/8/2020   WN;1155;IAD;ATL                   PORT KYLE              VT                   US   76957   127009619@AIRLINE.KIWI.COM
VEEG6H   10/13/2020   OB    11/8/2020   WN;1155;IAD;ATL                   PORT KYLE              VT                   US   76957   127009619@AIRLINE.KIWI.COM
VEEYSD   10/13/2020   OB    11/6/2020   WN;1007;FLL;BNA                   WEST JANETTON          MO                   US   84703   127008541@AIRLINE.KIWI.COM
VFK6OR   10/13/2020   OB   10/26/2020   WN;1064;ATL;IAD                   LAKE CHRISTOPHERTOWN   RI                   US   31063   127010092@AIRLINE.KIWI.COM
VHZ4LN   10/13/2020   OB   10/18/2020   WN;6645;LAS;BOI                   NEW JESSICAMOUTH       AZ                   US   80530   127010675@AIRLINE.KIWI.COM
VIA9LF   10/13/2020   OB   10/14/2020   WN;2529;DTW;BNA;WN;32;BNA;SAT     PORT KELLY             TX                   US   21634   127011830@AIRLINE.KIWI.COM
VIPUHF   10/13/2020   OB   10/28/2020   WN;1897;ATL;DAL                   NORTH MANDYCHESTER     SD                   US    1940   127012028@AIRLINE.KIWI.COM
VJD99O   10/13/2020   OB   10/19/2020   WN;2165;MEM;MDW;WN;2225;MDW;MSP   RIVERATON              MS                   US   36741   127012479@AIRLINE.KIWI.COM
VKRFCD   10/13/2020   OB   10/13/2020   WN;2185;SJU;FLL                   RUSKO                  POHJANMAA            FI   87647   127012787@AIRLINE.KIWI.COM
VMSO7G   10/13/2020   OB   10/30/2020   WN;2246;SNA;SJC                   DAALKHOLAA             BIHAR                IN   75997   127013854@AIRLINE.KIWI.COM
VR83QD   10/13/2020   OB    11/3/2020   WN;2474;LAS;BUR                   LAKE PATRICKHAVEN      CA                   US   26131   127015636@AIRLINE.KIWI.COM
VWU3OV   10/13/2020   OB   10/25/2020   WN;1986;DEN;OAK                   JENNIFERSIDE           PA                   US   73456   127013733@AIRLINE.KIWI.COM
W4OW99   10/13/2020   OB   10/13/2020   WN;5398;LAS;PHX;WN;4321;PHX;HOU   EAST HELEN             MI                   US   25925   127024062@AIRLINE.KIWI.COM
W6WDZ6   10/13/2020   OB    11/9/2020   WN;588;OGG;HNL                    AMBERLAND              WA                   US   21450   127026185@AIRLINE.KIWI.COM
WIUOSR   10/13/2020   OB   11/16/2020   WN;397;LAS;PHX                    PATTERSONPORT          MD                   US   53544   127038659@AIRLINE.KIWI.COM
WQD3GU   10/13/2020   OB   10/13/2020   WN;177;ATL;MSY                    RIVERAVILLE            TN                   US   88603   127048020@AIRLINE.KIWI.COM
WQVEMY   10/13/2020   OB   10/18/2020   WN;112;ATL;RDU                    PORT DANABERG          MD                   US   42698   127048163@AIRLINE.KIWI.COM
WTYT5K   10/13/2020   OB   11/14/2020   WN;3903;PIT;BWI                   QUEDLINBURG            BERLIN               DE   66395   127051815@AIRLINE.KIWI.COM
WW9GBC   10/13/2020   OB   10/23/2020   WN;6560;MDW;CHS                   CLARKFURT              IA                   US   64745   127055335@AIRLINE.KIWI.COM
WWZLOU   10/13/2020   OB   10/14/2020   WN;140;MCO;BWI;WN;140;BWI;BOS     D ARDON                KALUZHSKAYA OBLAST   RU   99864   127057007@AIRLINE.KIWI.COM
WZA2HR   10/13/2020   OB   10/14/2020   WN;1283;HOU;MAF                   VALERIECHESTER         OK                   US   49513   127059614@AIRLINE.KIWI.COM
K7EG9K   10/14/2020   OB   12/11/2020   WN;4390;MCO;ISP                   YOUNGBOROUGH           MS                   US   30472   127105253@AIRLINE.KIWI.COM
K7Y2RT   10/14/2020   OB   12/29/2020   WN;335;ISP;MCO                    KIMSHIRE               MD                   US   38055   127105253@AIRLINE.KIWI.COM
K8HHS5   10/14/2020   OB   10/14/2020   WN;6548;IND;TPA;WN;6981;TPA;DEN   TIFFANYLAND            CT                   US   96923   127105616@AIRLINE.KIWI.COM
K9DTUR   10/14/2020   OB   10/25/2020   WN;39;ELP;DAL                     ALBACETE               ALMERIA              ES   19998   127106067@AIRLINE.KIWI.COM
K9DTUR   10/14/2020   RT    11/8/2020   WN;876;DAL;ELP                    ALBACETE               ALMERIA              ES   19998   127106067@AIRLINE.KIWI.COM
KBGQDD   10/14/2020   OB   10/14/2020   WN;2163;MCI;MDW                   LAKE RITA              NV                   US   87247   127107233@AIRLINE.KIWI.COM
KBLZ2K   10/14/2020   OB   10/29/2020   WN;2563;CMH;LAS                   LAKE KENNETHBURGH      OR                   US   45601   127107464@AIRLINE.KIWI.COM
KCYQZD   10/14/2020   OB   10/14/2020   WN;2038;DCA;MDW;WN;2225;MDW;MSP   PORT APRIL             CA                   US   21523   127107959@AIRLINE.KIWI.COM
KE8MUI   10/14/2020   OB    11/7/2020   WN;3903;PIT;BWI                   HELSINGBORG            OSTERGOTLANDS LAN    SE    8103   127108971@AIRLINE.KIWI.COM
KEPXXP   10/14/2020   OB   10/16/2020   WN;1501;LGA;MDW                   VIEJA AUSTRIA          NAYARIT              MX   24342   126241676.1480377@AIRLINE.KIWI.COM
KEPXXP   10/14/2020   OB   10/16/2020   WN;1501;LGA;MDW                   VIEJA AUSTRIA          NAYARIT              MX   24342   126241676.1480377@AIRLINE.KIWI.COM
KFB3IC   10/14/2020   OB    11/1/2020   WN;2300;LAX;DEN                   WEST OSCAR             IL                   US   28328   127109323@AIRLINE.KIWI.COM
KFOORP   10/14/2020   OB   10/16/2020   WN;2080;DAL;DEN                   RICHARDPORT            MI                   US   48131   127109818@AIRLINE.KIWI.COM
KG5XC2   10/14/2020   OB   10/14/2020   WN;6743;MEM;ATL;WN;6744;ATL;MSY   LINDSAYBERG            OH                   US   72061   127109917@AIRLINE.KIWI.COM
KGHUI7   10/14/2020   OB   10/19/2020   WN;1899;DEN;DAL                   NORTH CHRISTINE        HI                   US   16616   127110214@AIRLINE.KIWI.COM
KHB93K   10/14/2020   OB   10/15/2020   WN;6634;SLC;DEN                   JONESBURGH             AL MINYA             EG   97990   127110566@AIRLINE.KIWI.COM
KHPMUN   10/14/2020   OB   10/15/2020   WN;1927;DEN;OKC                   KELSEYMOUTH            MATRUH               EG   30660   127110566@AIRLINE.KIWI.COM
KJES44   10/14/2020   OB   10/17/2020   WN;1690;OAK;LAS                   NEW DEVINHAVEN         IL                   US   70948   127111567@AIRLINE.KIWI.COM
KKQZNW   10/14/2020   OB   10/14/2020   WN;2257;ATL;IND                   TQVARCHELI             IMERETI              GE   22077   127112722@AIRLINE.KIWI.COM
KL5OO4   10/14/2020   OB    12/9/2020   WN;1028;CUN;DEN                   WEST BRIANBOROUGH      TN                   US   44267   127112161@AIRLINE.KIWI.COM
KL5OO4   10/14/2020   OB    12/9/2020   WN;1028;CUN;DEN                   WEST BRIANBOROUGH      TN                   US   44267   127112161@AIRLINE.KIWI.COM
KL5OO4   10/14/2020   OB    12/9/2020   WN;1028;CUN;DEN                   WEST BRIANBOROUGH      TN                   US   44267   127112161@AIRLINE.KIWI.COM
KL5OO4   10/14/2020   OB    12/9/2020   WN;1028;CUN;DEN                   WEST BRIANBOROUGH      TN                   US   44267   127112161@AIRLINE.KIWI.COM
KM3MML   10/14/2020   OB   11/16/2020   WN;1012;MCO;MSP                   JABLONNE V PODJESTED   CESKA LIPA           CZ   48470   127112975@AIRLINE.KIWI.COM
KM3MML   10/14/2020   OB   11/16/2020   WN;1012;MCO;MSP                   JABLONNE V PODJESTED   CESKA LIPA           CZ   48470   127112975@AIRLINE.KIWI.COM




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KMQFOV   10/14/2020   OB    11/8/2020   WN;833;LAX;SLC                    NORTH CYNTHIABERG      AR                     US    10030   127113327@AIRLINE.KIWI.COM
KMQFOV   10/14/2020   OB    11/8/2020   WN;833;LAX;SLC                    NORTH CYNTHIABERG      AR                     US    10030   127113327@AIRLINE.KIWI.COM
KMQFOV   10/14/2020   OB    11/8/2020   WN;833;LAX;SLC                    NORTH CYNTHIABERG      AR                     US    10030   127113327@AIRLINE.KIWI.COM
KMQIRR   10/14/2020   OB   10/23/2020   WN;47;HOU;DEN                     PORT LISA              UT                     US    98347   127113481@AIRLINE.KIWI.COM
KMQIRR   10/14/2020   RT   10/28/2020   WN;1115;DEN;HOU                   PORT LISA              UT                     US    98347   127113481@AIRLINE.KIWI.COM
KP66CQ   10/14/2020   OB   10/14/2020   WN;2052;BNA;SAN                   DEVONVIEW              CO                     US    68149   127114988@AIRLINE.KIWI.COM
KQJ9OF   10/14/2020   OB   10/19/2020   WN;6586;ATL;PHL                   NORTH TAMARAFURT       NM                     US    44822   127115450@AIRLINE.KIWI.COM
KRFMAY   10/14/2020   OB   12/16/2020   WN;3095;SJC;ONT                   SOUTH RYAN             MN                     US    41595   127063574.1480395@AIRLINE.KIWI.COM
KRFMAY   10/14/2020   OB   12/16/2020   WN;3095;SJC;ONT                   SOUTH RYAN             MN                     US    41595   127063574.1480395@AIRLINE.KIWI.COM
KRFMAY   10/14/2020   OB   12/16/2020   WN;3095;SJC;ONT                   SOUTH RYAN             MN                     US    41595   127063574.1480395@AIRLINE.KIWI.COM
KRFMAY   10/14/2020   OB   12/16/2020   WN;3095;SJC;ONT                   SOUTH RYAN             MN                     US    41595   127063574.1480395@AIRLINE.KIWI.COM
KT6RA7   10/14/2020   OB    11/4/2020   WN;390;OAK;HOU                    WEST JANET             WY                     US    72655   127116363@AIRLINE.KIWI.COM
KTBCS9   10/14/2020   OB   10/14/2020   WN;2196;LGA;MDW                   DIANEMOUTH             ME                     US    46997   127098202.1480389@AIRLINE.KIWI.COM
KTDRVV   10/14/2020   OB   10/31/2020   WN;2253;HOU;PHX;WN;1133;PHX;OAK   SOUTH PATRICIA         AZ                     US    13075   127116363@AIRLINE.KIWI.COM
KTXJFX   10/14/2020   OB   10/31/2020   WN;2388;PIT;BNA                   SOUTH KIMBERLY         CO                     US    46524   127117012@AIRLINE.KIWI.COM
KU8RN6   10/14/2020   OB   11/15/2020   WN;1587;BNA;LGA                   GARCIABOROUGH          CA                     US    73782   127117353@AIRLINE.KIWI.COM
KUHCB5   10/14/2020   OB    12/9/2020   WN;1028;CUN;DEN                   TAYLORBURGH            WA                     US    18132   127116847@AIRLINE.KIWI.COM
KUHCB5   10/14/2020   OB    12/9/2020   WN;1028;CUN;DEN                   TAYLORBURGH            WA                     US    18132   127116847@AIRLINE.KIWI.COM
KUPIJX   10/14/2020   OB   10/14/2020   WN;2607;ATL;FLL                   JACKSONBURY            SD                     US    63734   127117122@AIRLINE.KIWI.COM
KUPIJX   10/14/2020   OB   10/14/2020   WN;2607;ATL;FLL                   JACKSONBURY            SD                     US    63734   127117122@AIRLINE.KIWI.COM
KVA398   10/14/2020   OB   10/16/2020   WN;6748;DSM;DEN                   SMITHMOUTH             WY                     US    23986   127117639@AIRLINE.KIWI.COM
KVA398   10/14/2020   OB   10/16/2020   WN;6748;DSM;DEN                   SMITHMOUTH             WY                     US    23986   127117639@AIRLINE.KIWI.COM
KVA398   10/14/2020   OB   10/16/2020   WN;6748;DSM;DEN                   SMITHMOUTH             WY                     US    23986   127117639@AIRLINE.KIWI.COM
KWUJRU   10/14/2020   OB   10/20/2020   WN;306;CUN;HOU                    SAN NICOLAS DE LA MO   MEXICO                 MX    14572   127118244@AIRLINE.KIWI.COM
KWWK68   10/14/2020   OB   12/26/2020   WN;2041;LAS;ONT                   WILLIAMMOUTH           UT                     US    47280   127118233@AIRLINE.KIWI.COM
KYGJ8R   10/14/2020   OB   10/19/2020   WN;6300;ATL;BNA;WN;2067;BNA;MCI   PORT GRANT             LA                     US    59350   127119564@AIRLINE.KIWI.COM
LK7QHC   10/14/2020   OB   10/27/2020   WN;2405;SJU;BWI                   WEST JOANNE            MD                     US    59083   127140783@AIRLINE.KIWI.COM
LMI24R   10/14/2020   OB   10/19/2020   WN;4;HOU;DAL                      CHRISTOPHERMOUTH       WY                     US    43288   127141091@AIRLINE.KIWI.COM
LUEWVT   10/14/2020   OB   10/17/2020   WN;20;HOU;DAL;WN;2165;DAL;MEM     EVANSBOROUGH           WI                     US     1626   127152630@AIRLINE.KIWI.COM
LUEWVT   10/14/2020   RT   10/18/2020   WN;2002;MEM;DAL;WN;47;DAL;HOU     EVANSBOROUGH           WI                     US     1626   127152630@AIRLINE.KIWI.COM
LVEIVD   10/14/2020   OB   10/16/2020   WN;2210;SAN;SFO                   NUEVA HONDURAS         GUERRERO               MX    97826   127153345@AIRLINE.KIWI.COM
LVEIVD   10/14/2020   OB   10/16/2020   WN;2210;SAN;SFO                   NUEVA HONDURAS         GUERRERO               MX    97826   127153345@AIRLINE.KIWI.COM
LVEIVD   10/14/2020   OB   10/16/2020   WN;2210;SAN;SFO                   NUEVA HONDURAS         GUERRERO               MX    97826   127153345@AIRLINE.KIWI.COM
LVEIVD   10/14/2020   OB   10/16/2020   WN;2210;SAN;SFO                   NUEVA HONDURAS         GUERRERO               MX    97826   127153345@AIRLINE.KIWI.COM
LWCJQL   10/14/2020   OB   10/14/2020   WN;2;MDW;PHX                      RYANFURT               NH                     US    25514   127154863@AIRLINE.KIWI.COM
LWP5WR   10/14/2020   OB   12/21/2020   WN;129;LAS;IND                    PORT JOSEVILLE         NH                     US    89701   127155369@AIRLINE.KIWI.COM
LWP5WR   10/14/2020   OB   12/21/2020   WN;129;LAS;IND                    PORT JOSEVILLE         NH                     US    89701   127155369@AIRLINE.KIWI.COM
LXZWPU   10/14/2020   OB    11/3/2020   WN;1655;OAK;DEN                   LAKE ALISONTON         MI                     US    40994   127157195@AIRLINE.KIWI.COM
LZOGVD   10/14/2020   OB   10/14/2020   WN;2002;MEM;DAL;WN;2014;DAL;LAS   JENKINSFURT            NY                     US    66829   127159571@AIRLINE.KIWI.COM
M32ESC   10/14/2020   OB   10/28/2020   WN;1453;LAX;SMF                   PORT KIMBERLY          NC                     US    56152   127160990@AIRLINE.KIWI.COM
M3LB4A   10/14/2020   OB   10/14/2020   WN;2316;ELP;PHX;WN;1074;PHX;LAS   SMITHSTAD              LA                     US    26612   127162398@AIRLINE.KIWI.COM
M3V3MA   10/14/2020   OB   10/19/2020   WN;429;CVG;BWI;WN;1840;BWI;BOS    ELLIOTTBOROUGH         CO                     US    62026   127162519@AIRLINE.KIWI.COM
M3V3MA   10/14/2020   RT   10/22/2020   WN;1590;BOS;BWI;WN;1590;BWI;CVG   ELLIOTTBOROUGH         CO                     US    62026   127162519@AIRLINE.KIWI.COM
M7PVRB   10/14/2020   OB   10/16/2020   WN;3399;HOU;MDW                   LAKE DAVID             UT                     US    68538   127166787@AIRLINE.KIWI.COM
M7S79N   10/14/2020   OB   10/23/2020   WN;2180;ATL;RIC                   PATRICIABERG           VT                     US    93864   127166248@AIRLINE.KIWI.COM
M8VJEY   10/14/2020   OB   10/22/2020   WN;3342;FLL;SJU                   MOEN                   NORDLAND               NO     8466   127165346@AIRLINE.KIWI.COM
M9JAOG   10/14/2020   OB   10/14/2020   WN;782;DTW;MDW;WN;2;MDW;PHX       WEST ANTHONY           ND                     US    88414   127169119@AIRLINE.KIWI.COM
M9Q2DS   10/14/2020   OB   10/25/2020   WN;1986;DEN;OAK                   WEST SUKRI             TEKIRDAG               TR     3799   127169559@AIRLINE.KIWI.COM
MCQ9R9   10/14/2020   OB   10/16/2020   WN;2482;SFO;MDW;WN;2642;MDW;DTW   VIEJA NIGER            GUANAJUATO             MX    48446   127173288@AIRLINE.KIWI.COM
MF3VQI   10/14/2020   OB   10/30/2020   WN;103;BNA;HOU                    EAST LINDASHIRE        NM                     US    80051   127176852@AIRLINE.KIWI.COM
MFQHP4   10/14/2020   OB   10/14/2020   WN;1958;LAS;MDW                   WEST AMANDABURY        LA                     US    46775   127177875@AIRLINE.KIWI.COM
MFQHP4   10/14/2020   OB   10/14/2020   WN;1958;LAS;MDW                   WEST AMANDABURY        LA                     US    46775   127177875@AIRLINE.KIWI.COM
MG53Q5   10/14/2020   OB   11/30/2020   WN;4426;PSP;DEN                   EAST DUSTIN            SC                     US    47023   127177963@AIRLINE.KIWI.COM
MH4HXT   10/14/2020   OB   10/14/2020   WN;1995;ATL;LGA                   PORT MICHAELPORT       WV                     US    69323   127179349@AIRLINE.KIWI.COM
MH4HXT   10/14/2020   OB   10/14/2020   WN;1995;ATL;LGA                   PORT MICHAELPORT       WV                     US    69323   127179349@AIRLINE.KIWI.COM
MH4HXT   10/14/2020   OB   10/14/2020   WN;1995;ATL;LGA                   PORT MICHAELPORT       WV                     US    69323   127179349@AIRLINE.KIWI.COM
MKKO7D   10/14/2020   OB   10/30/2020   WN;928;IAD;ATL                    COLLIERTON             ME                     US    10290   127184035@AIRLINE.KIWI.COM
MKKO7D   10/14/2020   RT    11/1/2020   WN;1064;ATL;IAD                   COLLIERTON             ME                     US    10290   127184035@AIRLINE.KIWI.COM
MLQCGK   10/14/2020   OB   10/22/2020   WN;918;BWI;MBJ                    HILLMOUTH              SC                     US    63819   127186015@AIRLINE.KIWI.COM
MLQCGK   10/14/2020   OB   10/22/2020   WN;918;BWI;MBJ                    HILLMOUTH              SC                     US    63819   127186015@AIRLINE.KIWI.COM
MLQCGK   10/14/2020   RT   10/25/2020   WN;919;MBJ;BWI                    HILLMOUTH              SC                     US    63819   127186015@AIRLINE.KIWI.COM
MLQCGK   10/14/2020   RT   10/25/2020   WN;919;MBJ;BWI                    HILLMOUTH              SC                     US    63819   127186015@AIRLINE.KIWI.COM
MM5K8J   10/14/2020   OB    11/1/2020   WN;2163;MCI;MDW                   MARIOVIEW              ND                     US    90004   127186576@AIRLINE.KIWI.COM
MMVTR7   10/14/2020   OB    12/6/2020   WN;5037;DEN;BWI                   NEW KEVIN              IL                     US    66955   127188479@AIRLINE.KIWI.COM
MMVTR7   10/14/2020   OB    12/6/2020   WN;5037;DEN;BWI                   NEW KEVIN              IL                     US    66955   127188479@AIRLINE.KIWI.COM
MN77LF   10/14/2020   OB    12/3/2020   WN;3465;IAD;DEN                   CAITLINSHIRE           ID                     US    81645   127188204@AIRLINE.KIWI.COM
MN77LF   10/14/2020   OB    12/3/2020   WN;3465;IAD;DEN                   CAITLINSHIRE           ID                     US    81645   127188204@AIRLINE.KIWI.COM
MPQBEV   10/14/2020   OB   10/28/2020   WN;1117;LBB;LAS                   JOHNSONMOUTH           NM                     US    32492   127191405@AIRLINE.KIWI.COM
MPRCEG   10/14/2020   OB   11/26/2020   WN;2746;RDU;ATL                   KARENLAND              WA                     US    39684   127191625@AIRLINE.KIWI.COM
MSOTGA   10/14/2020   OB   10/25/2020   WN;1227;LAX;DEN;WN;2523;DEN;ATL   JAMIEMOUTH             FL                     US    77398   127195651@AIRLINE.KIWI.COM
MSOTGA   10/14/2020   OB   10/25/2020   WN;1227;LAX;DEN;WN;2523;DEN;ATL   JAMIEMOUTH             FL                     US    77398   127195651@AIRLINE.KIWI.COM
MSQ2JE   10/14/2020   OB   10/23/2020   WN;2316;ELP;PHX;WN;1074;PHX;LAS   LAKE JUSTINTOWN        KS                     US    86952   127195673@AIRLINE.KIWI.COM
MSQ2JE   10/14/2020   RT   10/25/2020   WN;2080;LAS;ELP                   LAKE JUSTINTOWN        KS                     US    86952   127195673@AIRLINE.KIWI.COM
MUQ5KC   10/14/2020   OB   10/30/2020   WN;2310;OAK;LAX                   PORT ELLENTOWN         SD                     US    70363   127197488@AIRLINE.KIWI.COM
MVVFDU   10/14/2020   OB   10/24/2020   WN;1609;BWI;CUN                   AMYVIEW                AL                     US    43482   127197939@AIRLINE.KIWI.COM
MVVFDU   10/14/2020   RT   10/26/2020   WN;1608;CUN;BWI                   AMYVIEW                AL                     US    43482   127197939@AIRLINE.KIWI.COM
MWFLHW   10/14/2020   OB   10/24/2020   WN;1609;BWI;CUN                   LAKE ALEXIS            GA                     US    66129   127198412@AIRLINE.KIWI.COM
MWFLHW   10/14/2020   RT   10/26/2020   WN;1608;CUN;BWI                   LAKE ALEXIS            GA                     US    66129   127198412@AIRLINE.KIWI.COM
MYRF2Y   10/14/2020   OB   10/15/2020   WN;2552;SNA;SJC                   PATRICKMOUTH           IN                     US    55233   127196091@AIRLINE.KIWI.COM
MYRF2Y   10/14/2020   RT   10/15/2020   WN;2343;SJC;SNA                   PATRICKMOUTH           IN                     US    55233   127196091@AIRLINE.KIWI.COM
N2KXUV   10/14/2020   OB   10/19/2020   WN;1997;DEN;MSP                   LOPEZMOUTH             WY                     US    80400   127201404@AIRLINE.KIWI.COM
N45KA9   10/14/2020   OB   10/15/2020   WN;2202;MDW;AUS                   EAST JORGESTAD         OH                     US    88018   127202174@AIRLINE.KIWI.COM
N4D3UD   10/14/2020   OB   10/19/2020   WN;1476;OAK;PHX                   ADAMBURY               TN                     US    31850   127202537@AIRLINE.KIWI.COM
N7KOMN   10/14/2020   OB   10/16/2020   WN;1934;CLE;BWI;WN;2271;BWI;BNA   WEST RICKY             NH                     US    58964   127203736@AIRLINE.KIWI.COM
N7XJY4   10/15/2020   OB   10/15/2020   WN;2349;SFO;SAN                   NORTH MICHAEL          AL                     US    21276   127204121@AIRLINE.KIWI.COM
NA7HQS   10/15/2020   OB   11/12/2020   WN;1490;LAS;SMF                   PORT MATTHEWTOWN       ME                     US    75589   127205144@AIRLINE.KIWI.COM
NBNQNY   10/15/2020   OB   10/30/2020   WN;1970;DEN;STL                   PORT COLLEEN           UT                     US    43847   127206310@AIRLINE.KIWI.COM
ND3TCV   10/15/2020   OB   10/16/2020   WN;2125;TPA;FLL                   NUEVA INDONESIA        AGUASCALIENTES         MX    20892   127207223@AIRLINE.KIWI.COM
NGV5FU   10/15/2020   OB   10/15/2020   WN;1547;SMF;SNA                   WEST RICHARD           MT                     US     8328   127209214@AIRLINE.KIWI.COM
NHL4BZ   10/15/2020   OB   10/15/2020   WN;2165;MEM;MDW;WN;3300;MDW;DTW   COXFORT                HI                     US    36962   127209687@AIRLINE.KIWI.COM
NHL4BZ   10/15/2020   OB   10/15/2020   WN;2165;MEM;MDW;WN;3300;MDW;DTW   COXFORT                HI                     US    36962   127209687@AIRLINE.KIWI.COM
NHMX5U   10/15/2020   OB   11/24/2020   WN;2666;SMF;LAX                   AL HSYNMOUTH           JIZAN                  SA    85486   127204341@AIRLINE.KIWI.COM
NIAN5N   10/15/2020   OB     1/3/2021   WN;2721;MKE;HOU;WN;1143;HOU;SAT   WEST LAURIE            GA                     US     1470   127210083@AIRLINE.KIWI.COM
NIOUDK   10/15/2020   OB   10/17/2020   WN;2466;SAN;LAS                   NORTH RAYMOND          NC                     US    43922   127210204@AIRLINE.KIWI.COM
NIVWAN   10/15/2020   OB   10/17/2020   WN;2476;PHX;MDW                   HILLSIDE               PA                     US    21958   127210182@AIRLINE.KIWI.COM
NJ4L5E   10/15/2020   OB    11/7/2020   WN;1124;OAK;LAS;WN;2787;LAS;SAT   WEST SHAWNSTAD         AK                     US     2039   127210479@AIRLINE.KIWI.COM
NJ4L5E   10/15/2020   OB    11/7/2020   WN;1124;OAK;LAS;WN;2787;LAS;SAT   WEST SHAWNSTAD         AK                     US     2039   127210479@AIRLINE.KIWI.COM
NJ55M8   10/15/2020   OB    12/1/2020   WN;585;BOI;LAS;WN;574;LAS;AMA     ACEVEDOSTAD            NJ                     US    51604   127210336@AIRLINE.KIWI.COM
NJOPMZ   10/15/2020   OB   11/10/2020   WN;2638;SAT;LAS;WN;4864;LAS;OAK   WILLIAMSFORT           MD                     US    33955   127210468@AIRLINE.KIWI.COM
NJOPMZ   10/15/2020   OB   11/10/2020   WN;2638;SAT;LAS;WN;4864;LAS;OAK   WILLIAMSFORT           MD                     US    33955   127210468@AIRLINE.KIWI.COM
NK5HZC   10/15/2020   OB   10/25/2020   WN;116;ATL;BNA                    NORTH JAMES            VA                     US    33836   127210677@AIRLINE.KIWI.COM
NK67DT   10/15/2020   OB   12/22/2020   WN;1186;IND;MCO                   WEST BRITTANY          MO                     US    15923   127211040@AIRLINE.KIWI.COM
NK67DT   10/15/2020   RT   12/29/2020   WN;780;MCO;IND                    WEST BRITTANY          MO                     US    15923   127211040@AIRLINE.KIWI.COM
NKF6TT   10/15/2020   OB    12/1/2020   WN;167;DEN;LAS;WN;646;LAS;ELP     NEW DONNA              OK                     US    21337   127210666@AIRLINE.KIWI.COM
NLASRI   10/15/2020   OB   10/19/2020   WN;429;CVG;BWI;WN;1800;BWI;MDW    NICOLEHAVEN            HI                     US    18653   127211601@AIRLINE.KIWI.COM
NMN3LF   10/15/2020   OB   11/29/2020   WN;4701;BNA;MCO                   LAKE JESSICAPORT       TN                     US    97960   127212272@AIRLINE.KIWI.COM
NNWBVY   10/15/2020   OB   10/28/2020   WN;2192;MDW;BWI                   LUBBEN                 RHEINLANDPFALZ         DE    89422   127212877@AIRLINE.KIWI.COM




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NNWBVY   10/15/2020   OB   10/28/2020   WN;2192;MDW;BWI                   LUBBEN                 RHEINLANDPFALZ     DE   89422   127212877@AIRLINE.KIWI.COM
NO4V94   10/15/2020   OB   10/16/2020   WN;6507;OKC;MDW                   ARNOLDVILLE            MD                 US   77354   127213185@AIRLINE.KIWI.COM
NO4V94   10/15/2020   RT   10/20/2020   WN;971;MDW;HOU;WN;3232;HOU;OKC    ARNOLDVILLE            MD                 US   77354   127213185@AIRLINE.KIWI.COM
NOSI7E   10/15/2020   OB    11/3/2020   WN;1980;DTW;BWI;WN;2416;BWI;ATL   SOUTH GARY             TN                 US   35932   127213218@AIRLINE.KIWI.COM
NOSI7E   10/15/2020   OB    11/3/2020   WN;1980;DTW;BWI;WN;2416;BWI;ATL   SOUTH GARY             TN                 US   35932   127213218@AIRLINE.KIWI.COM
NP8MGG   10/15/2020   OB    11/8/2020   WN;1012;MCO;MSP                   JOHNSONSIDE            MA                 US   30664   127213636@AIRLINE.KIWI.COM
NP8QEY   10/15/2020   OB   11/16/2020   WN;1375;SAN;HNL                   LAKE JAMES             MD                 US     778   127213658@AIRLINE.KIWI.COM
NP8QEY   10/15/2020   OB   11/16/2020   WN;1375;SAN;HNL                   LAKE JAMES             MD                 US     778   127213658@AIRLINE.KIWI.COM
NPEGL5   10/15/2020   OB    11/3/2020   WN;1980;DTW;BWI;WN;2416;BWI;ATL   EAST ANDREW            SC                 US   56599   127213823@AIRLINE.KIWI.COM
NPEGL5   10/15/2020   OB    11/3/2020   WN;1980;DTW;BWI;WN;2416;BWI;ATL   GRAND RAPIDS           MI                 US   49507   127213823@AIRLINE.KIWI.COM
NPZY3Q   10/15/2020   OB    11/3/2020   WN;1980;DTW;BWI;WN;2416;BWI;ATL   DAVIDMOUTH             IN                 US   88590   127213823@AIRLINE.KIWI.COM
NRDLYV   10/15/2020   OB    11/4/2020   WN;2692;BWI;RDU                   LAKE JANICE            NE                 US   42599   127215396@AIRLINE.KIWI.COM
NRPN68   10/15/2020   OB   11/16/2020   WN;503;SMF;LAX                    GEOFFREYHAVEN          ID                 US   55991   127215407@AIRLINE.KIWI.COM
NS38CS   10/15/2020   OB   10/28/2020   WN;1599;MSY;LAX                   CHARLESBOROUGH         FL                 US   22369   127215759@AIRLINE.KIWI.COM
NSI8KR   10/15/2020   OB   12/26/2020   WN;512;MDW;ATL                    JAMESSHIRE             CO                 US   92399   127216287@AIRLINE.KIWI.COM
NSUX8Q   10/15/2020   OB   10/18/2020   WN;6743;MEM;ATL                   WEST MONICA            SC                 US   27502   127216067@AIRLINE.KIWI.COM
NTH5R9   10/15/2020   OB   10/18/2020   WN;2218;OAK;SLC                   MALLORYSTAD            CT                 US   80513   127216782@AIRLINE.KIWI.COM
NTWTPH   10/15/2020   OB   10/16/2020   WN;1187;MDW;TPA;WN;1187;TPA;ATL   EAST DAVIDMOUTH        CO                 US   21746   127216859@AIRLINE.KIWI.COM
NU62QM   10/15/2020   OB   10/15/2020   WN;2382;HOU;FLL                   SCHWARTZBERG           AR                 US    2408   127216969@AIRLINE.KIWI.COM
NU634D   10/15/2020   OB   12/29/2020   WN;135;LGA;ATL;WN;800;ATL;MEM     PHTEHPUR               ASSAM              IN   95563   127217035@AIRLINE.KIWI.COM
NU8YOA   10/15/2020   OB   11/26/2020   WN;4539;SAN;PHX;WN;4539;PHX;SLC   ANNETTEBERG            MD                 US   91404   127212437@AIRLINE.KIWI.COM
NU8YOA   10/15/2020   OB   11/26/2020   WN;4539;SAN;PHX;WN;4539;PHX;SLC   ANNETTEBERG            MD                 US   91404   127212437@AIRLINE.KIWI.COM
NUQ5Y2   10/15/2020   OB    12/8/2020   WN;3416;LAS;RNO                   KAYLAHAVEN             CT                 US   85714   127217277@AIRLINE.KIWI.COM
NUQ5Y2   10/15/2020   OB    12/8/2020   WN;3416;LAS;RNO                   KAYLAHAVEN             CT                 US   85714   127217277@AIRLINE.KIWI.COM
NVDBEX   10/15/2020   OB   10/15/2020   WN;2512;SMF;LAS                   SOUTH JOSHUA           HI                 US   60098   127217607@AIRLINE.KIWI.COM
NY3GII   10/15/2020   OB    11/7/2020   WN;5415;DEN;OKC                   WEST KEVINMOUTH        HI                 US   78644   127218663@AIRLINE.KIWI.COM
NYB5ZR   10/15/2020   OB   10/18/2020   WN;1108;OAK;LAX                   JING XIAN              GUANGDONG SHENG    CN   54569   127218850@AIRLINE.KIWI.COM
O2BPC3   10/15/2020   OB   10/15/2020   WN;3335;PHL;BNA;WN;2578;BNA;LAS   CASTANEDABURGH         MS                 US   92592   127220687@AIRLINE.KIWI.COM
O3ZPDN   10/15/2020   OB    11/2/2020   WN;864;ATL;LGA                    ERICFORT               AR                 US   74010   127222227@AIRLINE.KIWI.COM
O5R752   10/15/2020   OB   10/21/2020   WN;273;MBJ;MCO                    SOUTH WILLIEMOUTH      UT                 US   26930   127223030@AIRLINE.KIWI.COM
O8HS4I   10/15/2020   OB    11/4/2020   WN;2664;BOS;BNA;WN;2437;BNA;AUS   PORT DOUGLASVIEW       AZ                 US   18226   127226319@AIRLINE.KIWI.COM
OGUBPP   10/15/2020   OB   10/29/2020   WN;173;HOU;PHX                    CALLAHANBURGH          CT                 US   76828   127235493@AIRLINE.KIWI.COM
OMKOBJ   10/15/2020   OB   12/23/2020   WN;3812;OMA;LAS;WN;4086;LAS;PHX   NORTH ANDREAPORT       CA                 US    4696   127241664@AIRLINE.KIWI.COM
OPHKW6   10/15/2020   OB    11/6/2020   WN;1201;BWI;OAK                   DENISEMOUTH            WY                 US   94691   127245470@AIRLINE.KIWI.COM
OPHKW6   10/15/2020   RT    11/9/2020   WN;1111;OAK;BWI                   DENISEMOUTH            WY                 US   94691   127245470@AIRLINE.KIWI.COM
OVLOA5   10/15/2020   OB   10/16/2020   WN;6962;DAL;BWI;WN;1029;BWI;CVG   NORTH JENNA            ME                 US   37514   127251916@AIRLINE.KIWI.COM
OYX5CI   10/15/2020   OB   10/15/2020   WN;127;ATL;MCO                    NORTH MARTINBURGH      TX                 US   21747   127256437@AIRLINE.KIWI.COM
P2AMHK   10/15/2020   OB   10/15/2020   WN;2125;TPA;FLL                   SOUTH JASONFORT        TN                 US   70387   127257669@AIRLINE.KIWI.COM
P6ZTII   10/15/2020   OB   11/16/2020   WN;1051;MIA;BWI                   KELSEYTON              IA                 US   29772   127263675@AIRLINE.KIWI.COM
PAH6KI   10/15/2020   OB   11/15/2020   WN;1213;PHX;MDW;WN;1026;MDW;MSP   EAST FRANK             NJ                 US   41707   127268031@AIRLINE.KIWI.COM
PAUYXG   10/15/2020   OB   11/15/2020   WN;1213;PHX;MDW;WN;1026;MDW;MSP   HOPKINSBERG            RI                 US   70827   127268031@AIRLINE.KIWI.COM
PENHYS   10/15/2020   OB   10/24/2020   WN;1903;CLT;BWI;WN;1322;BWI;MCO   SAJDIKOVE HUMENCE      ZILINSKY KRAJ      SK   94046   127272057@AIRLINE.KIWI.COM
PGSDGU   10/15/2020   OB   10/22/2020   WN;1462;PHX;LGB                   MILLSTON               KY                 US   76162   127275346@AIRLINE.KIWI.COM
PGSDGU   10/15/2020   OB   10/22/2020   WN;1462;PHX;LGB                   MILLSTON               KY                 US   76162   127275346@AIRLINE.KIWI.COM
PGSDGU   10/15/2020   RT   10/24/2020   WN;1705;LGB;PHX                   MILLSTON               KY                 US   76162   127275346@AIRLINE.KIWI.COM
PGSDGU   10/15/2020   RT   10/24/2020   WN;1705;LGB;PHX                   MILLSTON               KY                 US   76162   127275346@AIRLINE.KIWI.COM
PI5URN   10/15/2020   OB   12/26/2020   WN;2422;SEA;SMF                   LISAVILLE              NE                 US   73307   127276996@AIRLINE.KIWI.COM
PIK7XJ   10/15/2020   OB   10/16/2020   WN;2634;MKE;PHX                   PATTERSONBOROUGH       TX                 US   96575   127278503@AIRLINE.KIWI.COM
PJ9CUL   10/15/2020   OB   10/20/2020   WN;1340;OAK;SEA                   WOODSHIRE              RI                 US   34004   127278756@AIRLINE.KIWI.COM
PJ9CUL   10/15/2020   OB   10/20/2020   WN;1340;OAK;SEA                   WOODSHIRE              RI                 US   34004   127278756@AIRLINE.KIWI.COM
PJ9CUL   10/15/2020   OB   10/20/2020   WN;1340;OAK;SEA                   WOODSHIRE              RI                 US   34004   127278756@AIRLINE.KIWI.COM
PJ9CUL   10/15/2020   RT   10/22/2020   WN;2663;SEA;OAK                   WOODSHIRE              RI                 US   34004   127278756@AIRLINE.KIWI.COM
PJ9CUL   10/15/2020   RT   10/22/2020   WN;2663;SEA;OAK                   WOODSHIRE              RI                 US   34004   127278756@AIRLINE.KIWI.COM
PJ9CUL   10/15/2020   RT   10/22/2020   WN;2663;SEA;OAK                   WOODSHIRE              RI                 US   34004   127278756@AIRLINE.KIWI.COM
PJR45H   10/15/2020   OB   10/29/2020   WN;1948;IAD;DEN;WN;1179;DEN;SFO   THOMPSONBOROUGH        LA                 US    9610   127279746@AIRLINE.KIWI.COM
PJYWO6   10/15/2020   OB    11/1/2020   WN;1728;ATL;DEN;WN;539;DEN;SEA    WEST JOSEPH            KS                 US   17387   127280032@AIRLINE.KIWI.COM
PPSMA2   10/15/2020   OB   11/17/2020   WN;6850;HOU;LAX                   JEREMYSTAD             OK                 US   66493   127288766@AIRLINE.KIWI.COM
PQZXS3   10/15/2020   OB   10/20/2020   WN;1633;BWI;MKE                   NORTH ASHLEYFORT       WI                 US   84283   127289657@AIRLINE.KIWI.COM
PQZXS3   10/15/2020   OB   10/20/2020   WN;1633;BWI;MKE                   NORTH ASHLEYFORT       WI                 US   84283   127289657@AIRLINE.KIWI.COM
PWN4GK   10/15/2020   OB   12/22/2020   WN;831;ATL;CMH                    GOMEZSHIRE             CT                 US   92732   127295102@AIRLINE.KIWI.COM
PXXWJH   10/15/2020   OB   12/30/2020   WN;1326;SMF;LAX;WN;1326;LAX;HOU   SETHVIEW               KS                 US   51364   127296147@AIRLINE.KIWI.COM
PYJRUS   10/15/2020   OB   12/23/2020   WN;795;SJC;KOA                    NORTH JOHNLAND         NM                 US   34023   127296884@AIRLINE.KIWI.COM
PYZLMR   10/15/2020   OB   10/16/2020   WN;6647;ATL;TPA                   WEST JESSICA           OR                 US   89767   127296983@AIRLINE.KIWI.COM
Q23BWQ   10/15/2020   OB    11/4/2020   WN;6902;SAN;PHX;WN;430;PHX;HOU    WEST ANDREAHAVEN       DE                 US   31503   127298017@AIRLINE.KIWI.COM
Q29SQW   10/15/2020   OB   11/12/2020   WN;1397;SAN;SMF                   NORTH KENNETHHAVEN     NY                 US   89945   127298248@AIRLINE.KIWI.COM
Q2H4DJ   10/15/2020   OB    11/6/2020   WN;6505;SMF;SAN                   NORTH PETERVILLE       KY                 US   97759   127298248@AIRLINE.KIWI.COM
Q5ZLGC   10/15/2020   OB   10/16/2020   WN;2621;FLL;MCO;WN;1289;MCO;ATL   LAKE JUSTIN            PA                 US   31393   127300580@AIRLINE.KIWI.COM
Q6ECN4   10/15/2020   OB   10/16/2020   WN;1890;CMH;MDW;WN;2221;MDW;MSP   CARTERBERG             AL                 US    4148   127300866@AIRLINE.KIWI.COM
Q8GFGW   10/15/2020   OB   11/21/2020   WN;1292;OGG;SJC                   PORT JUANSIDE          OH                 US    1445   127299590@AIRLINE.KIWI.COM
Q8GFGW   10/15/2020   OB   11/21/2020   WN;1292;OGG;SJC                   PORT JUANSIDE          OH                 US    1445   127299590@AIRLINE.KIWI.COM
QAJNDH   10/16/2020   OB    11/9/2020   WN;1074;TPA;DEN                   SABRINABOROUGH         TX                 US   51301   127303286@AIRLINE.KIWI.COM
QAXJSY   10/16/2020   OB   10/16/2020   WN;2102;LAX;HOU                   SOUTH LISAVIEW         RI                 US   33871   127303253@AIRLINE.KIWI.COM
QCAZO2   10/16/2020   OB    11/4/2020   WN;4547;ATL;GSP                   BURNSSHIRE             WV                 US   44016   127304045@AIRLINE.KIWI.COM
QCGF2A   10/16/2020   OB   10/30/2020   WN;255;CVG;BWI                    LAKE CHRISTOPHERBURG   WA                 US   22090   127304254@AIRLINE.KIWI.COM
QFWE7X   10/16/2020   OB   10/16/2020   WN;5626;ATL;MDW                   STEPHANIEMOUTH         NH                 US   99312   127305794@AIRLINE.KIWI.COM
QFWE7X   10/16/2020   OB   10/16/2020   WN;5626;ATL;MDW                   STEPHANIEMOUTH         NH                 US   99312   127305794@AIRLINE.KIWI.COM
QG73GO   10/16/2020   OB   11/21/2020   WN;6846;OKC;DEN                   TORRESPORT             IL                 US   15753   127305915@AIRLINE.KIWI.COM
QGKRRO   10/16/2020   OB   10/16/2020   WN;6587;MSY;BNA                   GILLCHESTER            MT                 US   81301   127305948@AIRLINE.KIWI.COM
QH8YHI   10/16/2020   OB   10/28/2020   WN;2325;OMA;LAS                   PORT SHAWNSTAD         ID                 US   57141   127306619@AIRLINE.KIWI.COM
QHMXHU   10/16/2020   OB   10/16/2020   WN;2456;ABQ;PHX                   NORTH TONY             HARROW             GB   25073   127306718@AIRLINE.KIWI.COM
QI9375   10/16/2020   OB   12/19/2020   WN;1976;IND;CUN                   VIEJA MALI             HIDALGO            MX   17983   127307114@AIRLINE.KIWI.COM
QIYWAZ   10/16/2020   OB   10/19/2020   WN;2228;ORF;BWI;WN;2003;BWI;SAT   MIKETON                NE                 US   19941   127307653@AIRLINE.KIWI.COM
QJUGGR   10/16/2020   OB   10/16/2020   WN;2145;BUF;BWI;WN;257;BWI;ATL    MEGANLAND              OH                 US   51215   127307862@AIRLINE.KIWI.COM
QLB89V   10/16/2020   OB   10/21/2020   WN;1733;MDW;ALB                   NUEVA DINAMARCA        CIUDAD DE MEXICO   MX   33563   127309380@AIRLINE.KIWI.COM
QLB89V   10/16/2020   OB   10/21/2020   WN;1733;MDW;ALB                   NUEVA DINAMARCA        CIUDAD DE MEXICO   MX   33563   127309380@AIRLINE.KIWI.COM
QLB89V   10/16/2020   OB   10/21/2020   WN;1733;MDW;ALB                   NUEVA DINAMARCA        CIUDAD DE MEXICO   MX   33563   127309380@AIRLINE.KIWI.COM
QLB89V   10/16/2020   OB   10/21/2020   WN;1733;MDW;ALB                   NUEVA DINAMARCA        CIUDAD DE MEXICO   MX   33563   127309380@AIRLINE.KIWI.COM
QLB89V   10/16/2020   OB   10/21/2020   WN;1733;MDW;ALB                   NUEVA DINAMARCA        CIUDAD DE MEXICO   MX   33563   127309380@AIRLINE.KIWI.COM
QLB89V   10/16/2020   OB   10/21/2020   WN;1733;MDW;ALB                   NUEVA DINAMARCA        CIUDAD DE MEXICO   MX   33563   127309380@AIRLINE.KIWI.COM
QM9U9I   10/16/2020   OB   10/16/2020   WN;2621;FLL;MCO;WN;2171;MCO;ATL   WEST APRIL             WA                 US   87540   127309655@AIRLINE.KIWI.COM
QMS254   10/16/2020   OB   11/20/2020   WN;6921;TUS;DEN                   WEST CARL              FL                 US   23457   127310040@AIRLINE.KIWI.COM
QMS254   10/16/2020   OB   11/20/2020   WN;6921;TUS;DEN                   WEST CARL              FL                 US   23457   127310040@AIRLINE.KIWI.COM
QMYUJ3   10/16/2020   OB   10/18/2020   WN;2470;SEA;SMF                   SELO PANTELEIMON       RIVNENSKA OBLAST   UA   69295   127309985@AIRLINE.KIWI.COM
QN7WKI   10/16/2020   OB   10/30/2020   WN;1927;STL;DSM                   NORTH TIMOTHYHAVEN     KS                 US   32779   127309941@AIRLINE.KIWI.COM
QN7WKI   10/16/2020   RT    11/1/2020   WN;750;DSM;STL                    NORTH TIMOTHYHAVEN     KS                 US   32779   127309941@AIRLINE.KIWI.COM
QPIFXJ   10/16/2020   OB   10/18/2020   WN;6503;ATL;STL                   SOUTH RICHARD          NM                 US   39180   127311580@AIRLINE.KIWI.COM
QQZI6Q   10/16/2020   OB   10/16/2020   WN;2171;MCO;ATL                   MORROWTON              MO                 US   11582   127312350@AIRLINE.KIWI.COM
QSERRQ   10/16/2020   OB   10/16/2020   WN;3658;MSY;AUS;WN;2504;AUS;LAX   EAST ROBERT            TN                 US   44396   127312856@AIRLINE.KIWI.COM
QSTN9P   10/16/2020   OB   10/16/2020   WN;563;CHS;BNA;WN;1234;BNA;HOU    WEST KELLYFORT         OR                 US   72841   127313065@AIRLINE.KIWI.COM
QSTN9P   10/16/2020   OB   10/16/2020   WN;563;CHS;BNA;WN;1234;BNA;HOU    WEST KELLYFORT         OR                 US   72841   127313065@AIRLINE.KIWI.COM
QSZOQK   10/16/2020   OB   12/16/2020   WN;2323;DEN;CLT                   TONYFORT               CT                 US   74555   127313417@AIRLINE.KIWI.COM
QTBQMZ   10/16/2020   OB   10/18/2020   WN;2621;FLL;MCO;WN;2406;MCO;LAS   WEST HEATHER           AZ                 US   94101   127313351@AIRLINE.KIWI.COM
QTCES9   10/16/2020   OB   12/16/2020   WN;2323;DEN;CLT                   DAVIDMOUTH             IA                 US   14983   127313428@AIRLINE.KIWI.COM
QTKCPP   10/16/2020   OB   12/18/2020   WN;1458;ONT;MDW                   LAKE JOSEPH            AL                 US    2230   127305607@AIRLINE.KIWI.COM
QTKCPP   10/16/2020   OB   12/18/2020   WN;1458;ONT;MDW                   LAKE JOSEPH            AL                 US    2230   127305607@AIRLINE.KIWI.COM
QTKCPP   10/16/2020   OB   12/18/2020   WN;1458;ONT;MDW                   LAKE JOSEPH            AL                 US    2230   127305607@AIRLINE.KIWI.COM
QTKCPP   10/16/2020   OB   12/18/2020   WN;1458;ONT;MDW                   LAKE JOSEPH            AL                 US    2230   127305607@AIRLINE.KIWI.COM




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QTPQ4L   10/16/2020   OB   12/16/2020   WN;2323;DEN;CLT                       EAST MATTHEWFORT     WA                  US    90499   127313516@AIRLINE.KIWI.COM
QTTBN5   10/16/2020   OB   12/21/2020   WN;337;BWI;LAS                        SOUTH BETHVIEW       CO                  US    26032   127306069@AIRLINE.KIWI.COM
QTTBN5   10/16/2020   OB   12/21/2020   WN;337;BWI;LAS                        SOUTH BETHVIEW       CO                  US    26032   127306069@AIRLINE.KIWI.COM
QTTBN5   10/16/2020   OB   12/21/2020   WN;337;BWI;LAS                        SOUTH BETHVIEW       CO                  US    26032   127306069@AIRLINE.KIWI.COM
QVRFDR   10/16/2020   OB   10/22/2020   WN;1668;BUR;SJC                       NORTH FRANK          NC                  US    26140   127314341@AIRLINE.KIWI.COM
QVRFDR   10/16/2020   RT   10/24/2020   WN;2248;SJC;BUR                       NORTH FRANK          NC                  US    26140   127314341@AIRLINE.KIWI.COM
QWKRIX   10/16/2020   OB   12/31/2020   WN;1468;SAN;LAS                       NORTH LORISTAD       SD                  US    95647   127314583@AIRLINE.KIWI.COM
QZQY3A   10/16/2020   OB   12/23/2020   WN;3133;BNA;BOS                       BUCHANANBOROUGH      AZ                  US    94905   127316299@AIRLINE.KIWI.COM
R2AU6G   10/16/2020   OB   12/20/2020   WN;1134;BOS;BNA                       LAKE KATIE           NV                  US    77415   127316299@AIRLINE.KIWI.COM
R6N6RM   10/16/2020   OB   10/18/2020   WN;2585;BNA;CLE                       SOUTH RANDYSHIRE     AR                  US    84850   127319313@AIRLINE.KIWI.COM
RAACAC   10/16/2020   OB   10/16/2020   WN;2135;OMA;DEN                       WEST APRIL           SD                  US    91237   127323229@AIRLINE.KIWI.COM
RATS2O   10/16/2020   OB   12/21/2020   WN;167;DEN;LAS                        PORT ISAAC           SD                  US    14235   127323526@AIRLINE.KIWI.COM
RATS2O   10/16/2020   OB   12/21/2020   WN;167;DEN;LAS                        PORT ISAAC           SD                  US    14235   127323526@AIRLINE.KIWI.COM
RATS2O   10/16/2020   OB   12/21/2020   WN;167;DEN;LAS                        PORT ISAAC           SD                  US    14235   127323526@AIRLINE.KIWI.COM
RATS2O   10/16/2020   OB   12/21/2020   WN;167;DEN;LAS                        PORT ISAAC           SD                  US    14235   127323526@AIRLINE.KIWI.COM
RBOZH9   10/16/2020   OB   10/28/2020   WN;1863;DAL;LAX                       JING SHI             QINGHAI SHENG       CN    27385   127321524@AIRLINE.KIWI.COM
RHBV28   10/16/2020   OB   10/16/2020   WN;2100;LAS;HOU                       MARKTON              MN                  US     9954   127332106@AIRLINE.KIWI.COM
RIWPQ3   10/16/2020   OB   10/16/2020   WN;2078;LAS;ABQ                       LAKE BRANDON         MO                  US    41709   127333998@AIRLINE.KIWI.COM
RJ4837   10/16/2020   OB   10/16/2020   WN;1973;MCO;BNA                       WEST JEFFREY         MN                  US    14582   127334405@AIRLINE.KIWI.COM
RMRFOH   10/16/2020   OB   10/16/2020   WN;2004;BWI;ATL                       EAST SHELLY          NV                  US    91241   127338585@AIRLINE.KIWI.COM
RNSYYY   10/16/2020   OB   10/16/2020   WN;257;BWI;ATL                        KIRBYHAVEN           IA                  US    36400   127339784@AIRLINE.KIWI.COM
RO85SM   10/16/2020   OB   10/16/2020   WN;1799;DCA;STL;WN;1799;STL;OKC       CURTISBOROUGH        LA                  US    64186   127339707@AIRLINE.KIWI.COM
RPCCU8   10/16/2020   OB   10/18/2020   WN;2642;DTW;BWI;WN;1702;BWI;RSW       ANDREWFORT           NC                  US     7929   127340840@AIRLINE.KIWI.COM
S38LWV   10/16/2020   OB   12/20/2020   WN;169;AUS;BNA                        QING LAI SHI         KUMAMOTO            JP    95389   115674724.1482110@AIRLINE.KIWI.COM
S38LWV   10/16/2020   OB   12/20/2020   WN;169;AUS;BNA                        QING LAI SHI         KUMAMOTO            JP    95389   115674724.1482110@AIRLINE.KIWI.COM
S3C2TR   10/16/2020   OB   11/13/2020   WN;1584;PHX;ABQ;WN;1584;ABQ;HOU       THOMASSHIRE          WY                  US    17162   127355107@AIRLINE.KIWI.COM
S3C2TR   10/16/2020   RT   11/22/2020   WN;6862;HOU;ELP;WN;1077;ELP;PHX       THOMASSHIRE          WY                  US    17162   127355107@AIRLINE.KIWI.COM
S3JWFL   10/16/2020   OB    11/2/2020   WN;4;HOU;DAL;WN;3337;DAL;MCI          RIOSSTAD             CT                  US    87939   127355360@AIRLINE.KIWI.COM
S434WR   10/16/2020   OB   11/11/2020   WN;6366;IND;RSW                       BAUERPORT            OK                  US    84626   127356273@AIRLINE.KIWI.COM
S434WR   10/16/2020   OB   11/11/2020   WN;6366;IND;RSW                       BAUERPORT            OK                  US    84626   127356273@AIRLINE.KIWI.COM
S6AJTF   10/16/2020   OB   10/16/2020   WN;699;ALB;BWI                        WEST WILLIAM         AZ                  US    30397   127359144@AIRLINE.KIWI.COM
S6LGD2   10/16/2020   OB   10/26/2020   WN;137;HOU;BWI                        NEW CARLA            FL                  US    97601   127359342@AIRLINE.KIWI.COM
S7CIQL   10/16/2020   OB   12/19/2020   WN;1788;ATL;BWI;WN;1114;BWI;MIA       WEST JOHN            VA                  US    54824   127359826@AIRLINE.KIWI.COM
S7CIQL   10/16/2020   OB   12/19/2020   WN;1788;ATL;BWI;WN;1114;BWI;MIA       WEST JOHN            VA                  US    54824   127359826@AIRLINE.KIWI.COM
S7CIQL   10/16/2020   RT   12/26/2020   WN;1062;MIA;TPA;WN;1980;TPA;ATL       WEST JOHN            VA                  US    54824   127359826@AIRLINE.KIWI.COM
S7CIQL   10/16/2020   RT   12/26/2020   WN;1062;MIA;TPA;WN;1980;TPA;ATL       WEST JOHN            VA                  US    54824   127359826@AIRLINE.KIWI.COM
S8C5S8   10/16/2020   OB   11/12/2020   WN;6922;ATL;HOU                       ALVAREZMOUTH         TX                  US    81182   127361168@AIRLINE.KIWI.COM
S8C5S8   10/16/2020   RT   11/16/2020   WN;492;HOU;ATL                        ALVAREZMOUTH         TX                  US    81182   127361168@AIRLINE.KIWI.COM
S8LHOP   10/16/2020   OB   11/30/2020   WN;3812;LAS;MCO                       WEST PATRICIA        NY                  US    67952   127361883@AIRLINE.KIWI.COM
S9Y4WR   10/16/2020   OB    12/3/2020   WN;2730;CLT;DEN                       WHITEBURGH           GA                  US    61854   127361135@AIRLINE.KIWI.COM
SBN2R7   10/16/2020   OB    11/5/2020   WN;4443;TPA;LGA                       WEBBVILLE            WA                  US    51490   127365568@AIRLINE.KIWI.COM
SBN2R7   10/16/2020   OB    11/5/2020   WN;4443;TPA;LGA                       WEBBVILLE            WA                  US    51490   127365568@AIRLINE.KIWI.COM
SC2G4E   10/16/2020   OB   11/26/2020   WN;1059;MSY;BWI                       ANGELABOROUGH        GA                  US    66096   127366217@AIRLINE.KIWI.COM
SDJR3Z   10/16/2020   OB   10/30/2020   WN;1473;BNA;HOU;WN;1987;HOU;OAK       GINAFORT             KY                  US    79195   127367812@AIRLINE.KIWI.COM
SDWDDP   10/16/2020   OB   10/29/2020   WN;2472;SFO;LAX                       PETERFURT            MS                  US    71305   127368340@AIRLINE.KIWI.COM
SE4OXZ   10/16/2020   OB   11/19/2020   WN;142;BWI;MIA                        LAKE ANTHONY         VT                  US    23689   127367878@AIRLINE.KIWI.COM
SE4OXZ   10/16/2020   OB   11/19/2020   WN;142;BWI;MIA                        LAKE ANTHONY         VT                  US    23689   127367878@AIRLINE.KIWI.COM
SE4OXZ   10/16/2020   RT   11/23/2020   WN;1058;MIA;BWI                       LAKE ANTHONY         VT                  US    23689   127367878@AIRLINE.KIWI.COM
SE4OXZ   10/16/2020   RT   11/23/2020   WN;1058;MIA;BWI                       LAKE ANTHONY         VT                  US    23689   127367878@AIRLINE.KIWI.COM
SGL5ZZ   10/16/2020   OB   10/19/2020   WN;1697;BUR;SMF                       NEW JEREMIAH         FL                  US    87259   127370892@AIRLINE.KIWI.COM
SGORD2   10/16/2020   OB   10/19/2020   WN;864;ATL;LGA                        GREGORYMOUTH         FL                  US    74769   127371079@AIRLINE.KIWI.COM
SGP8G9   10/16/2020   OB   12/14/2020   WN;2905;LAS;OKC                       NEW MELISSA          OK                  US    46107   127370991@AIRLINE.KIWI.COM
SGP8G9   10/16/2020   OB   12/14/2020   WN;2905;LAS;OKC                       NEW MELISSA          OK                  US    46107   127370991@AIRLINE.KIWI.COM
SIES3W   10/16/2020   OB   10/17/2020   WN;2641;MCO;ATL                       EAST RICHARD         AZ                  US    19050   127373851@AIRLINE.KIWI.COM
SM5N4R   10/16/2020   OB   10/19/2020   WN;166;SEA;DEN                        JOSHUATON            TX                  US    24101   127378515@AIRLINE.KIWI.COM
SM5N4R   10/16/2020   RT   10/23/2020   WN;539;DEN;SEA                        JOSHUATON            TX                  US    24101   127378515@AIRLINE.KIWI.COM
SMOWUN   10/16/2020   OB   11/25/2020   WN;6791;AUS;DAL                       JONESSTAD            TN                  US    74480   127379307@AIRLINE.KIWI.COM
SMQ8KR   10/16/2020   OB   11/26/2020   WN;2217;DAL;TUL                       NICHOLASFURT         WA                  US    16724   127379307@AIRLINE.KIWI.COM
SN8FVT   10/16/2020   OB   11/24/2020   WN;1772;ATL;SDF                       HESTERBURGH          MD                  US    27869   127379527@AIRLINE.KIWI.COM
SNANJQ   10/16/2020   OB   10/16/2020   WN;563;CHS;BNA;WN;1234;BNA;HOU        WEST KELLYFORT       OR                  US    72841   127313065@AIRLINE.KIWI.COM
SNP6WI   10/16/2020   OB   10/23/2020   WN;6743;MEM;ATL                       EAST COLLEENFORT     ID                  US    83989   127380154@AIRLINE.KIWI.COM
SNP6WI   10/16/2020   OB   10/23/2020   WN;6743;MEM;ATL                       EAST COLLEENFORT     ID                  US    83989   127380154@AIRLINE.KIWI.COM
SRVCGD   10/16/2020   OB   12/13/2020   WN;4078;MIA;MDW                       EAST JONATHANVILLE   LA                  US    94475   127383245@AIRLINE.KIWI.COM
STNFV9   10/16/2020   OB   10/28/2020   WN;1012;DEN;ATL                       WEST RACHELBURGH     DE                  US    69695   127384576@AIRLINE.KIWI.COM
SUTEZH   10/16/2020   OB   11/25/2020   WN;3508;PBI;BWI                       CIRAALAA             DELHI               IN    80784   127385522@AIRLINE.KIWI.COM
SV35WA   10/16/2020   OB   10/31/2020   WN;2086;LAS;SLC                       NUEVA YEMEN          JALISCO             MX    27996   127386039@AIRLINE.KIWI.COM
SWIYLG   10/16/2020   OB   10/25/2020   WN;1997;DEN;MSP                       LONGTON              NY                  US     3480   127386930@AIRLINE.KIWI.COM
SXUIQZ   10/16/2020   OB    11/2/2020   WN;2416;MDW;OMA                       PORT ELIZABETHTOWN   DE                  US    29260   127387799@AIRLINE.KIWI.COM
SYHO8K   10/16/2020   OB   10/17/2020   WN;2185;SJU;FLL                       SOUTH JADE           ND                  US    25153   127388184@AIRLINE.KIWI.COM
SYHO8K   10/16/2020   OB   10/17/2020   WN;2185;SJU;FLL                       SOUTH JADE           ND                  US    25153   127388184@AIRLINE.KIWI.COM
SYHO8K   10/16/2020   OB   10/17/2020   WN;2185;SJU;FLL                       SOUTH JADE           ND                  US    25153   127388184@AIRLINE.KIWI.COM
T35I67   10/16/2020   OB   10/20/2020   WN;1995;ATL;LGA                       WEST DAVID           CT                  US    36525   127390219@AIRLINE.KIWI.COM
T3UEJ5   10/16/2020   OB   10/17/2020   WN;2555;BUR;LAS                       SOUTH RUSSELL        SD                  US    82890   127391154@AIRLINE.KIWI.COM
T3VUBA   10/16/2020   OB   10/19/2020   WN;6767;CMH;MDW;WN;2361;MDW;MSP       DONOVANPORT          OR                  US    74974   127390758@AIRLINE.KIWI.COM
T48AOB   10/16/2020   OB   10/17/2020   WN;2555;BUR;LAS                       SHANEBURGH           MA                  US    19444   127391154@AIRLINE.KIWI.COM
T4CQB4   10/16/2020   OB   10/18/2020   WN;1696;LAX;SFO                       EAST DANIELLEFORT    IA                  US     2905   127391055@AIRLINE.KIWI.COM
T5MYM2   10/16/2020   OB   10/19/2020   WN;815;PNS;BNA;WN;665;BNA;ATL         AMYBURY              ND                  US    49520   127392001@AIRLINE.KIWI.COM
T5RHPD   10/16/2020   OB   12/20/2020   WN;893;HOU;SAT                        PAEGLETOWN           KEGUMA NOVADS       LV    62364   127392309@AIRLINE.KIWI.COM
T73VI4   10/16/2020   OB    1/19/2021   WN;4824;SAT;HOU                       GARCIABOROUGH        NY                  US     6813   127393024@AIRLINE.KIWI.COM
T78OC5   10/16/2020   OB    1/19/2021   WN;1017;HOU;SNA;WN;2875;SNA;SJC;WN;597SOUTH JOSEPHBERG     NC                  US    17303   127393024@AIRLINE.KIWI.COM
T7FTQV   10/16/2020   OB    11/8/2020   WN;1437;MCI;LAX                       CHAO XIAN            JIANGSU SHENG       CN    99211   127392375@AIRLINE.KIWI.COM
T9KKRG   10/17/2020   OB   11/11/2020   WN;2593;BWI;BOS                       SBHAAPTINE           WEST BENGAL         IN    67054   127394630@AIRLINE.KIWI.COM
T9UKEI   10/17/2020   OB   10/18/2020   WN;1289;ATL;LAS;WN;2063;LAS;SMF       FITZGERALDHAVEN      WI                  US    41001   127394784@AIRLINE.KIWI.COM
TAWDMQ   10/17/2020   OB   12/19/2020   WN;2077;TUS;LAS;WN;1049;LAS;IND       EAST JASONBERG       OR                  US    54288   127395290@AIRLINE.KIWI.COM
TBMC6O   10/17/2020   OB     1/3/2021   WN;1793;IND;LAS;WN;2476;LAS;TUS       LAKE ERIC            RI                  US    15458   127395444@AIRLINE.KIWI.COM
TDTROU   10/17/2020   OB   11/12/2020   WN;1555;LGB;DEN                       NORTH SAMANTHA       TN                  US    86236   127396236@AIRLINE.KIWI.COM
TDTXJF   10/17/2020   OB   10/24/2020   WN;2171;ATL;PHL                       WALTERPORT           VA                  US    59640   127396467@AIRLINE.KIWI.COM
TDVW9V   10/17/2020   OB   11/15/2020   WN;1188;DEN;LGB                       LAKE CAROL           SD                  US    10691   127396313@AIRLINE.KIWI.COM
TE7JTU   10/17/2020   OB   11/12/2020   WN;1208;MCI;TPA                       FRANKBERG            WA                  US    38652   127396632@AIRLINE.KIWI.COM
TFN8DE   10/17/2020   OB   10/17/2020   WN;2610;PHX;SFO                       LAKE TRACY           AL BAHR AL AHMAR    EG    11984   127397028@AIRLINE.KIWI.COM
TG4DWE   10/17/2020   OB   10/31/2020   WN;1770;SLC;DEN                       NILSUWRRNBERG        AMNAT CHAROEN       TH    84735   127397259@AIRLINE.KIWI.COM
TG4DWE   10/17/2020   OB   10/31/2020   WN;1770;SLC;DEN                       NILSUWRRNBERG        AMNAT CHAROEN       TH    84735   127397259@AIRLINE.KIWI.COM
TG4DWE   10/17/2020   OB   10/31/2020   WN;1770;SLC;DEN                       NILSUWRRNBERG        AMNAT CHAROEN       TH    84735   127397259@AIRLINE.KIWI.COM
TGIAY7   10/17/2020   OB   11/28/2020   WN;2384;CMH;FLL                       KLKH KULUNDA         ALTAY RESPUBLIKA    RU    59652   127397072@AIRLINE.KIWI.COM
TH7PP7   10/17/2020   OB   10/18/2020   WN;1289;ATL;LAS;WN;2063;LAS;SMF       HONG XIAN            HUNAN SHENG         CN    24577   127397688@AIRLINE.KIWI.COM
TI3WIP   10/17/2020   OB   10/18/2020   WN;6733;ATL;PHX                       NORTH GARRETT        MI                  US    34293   127397985@AIRLINE.KIWI.COM
TIXLYP   10/17/2020   OB   10/17/2020   WN;2185;SJU;FLL                       SEGOVIA              HUELVA              ES    80589   127398128@AIRLINE.KIWI.COM
TJFL24   10/17/2020   OB   11/26/2020   WN;3751;MDW;CMH                       JAYMOUTH             SD                  US    48182   127398634@AIRLINE.KIWI.COM
TK8BKU   10/17/2020   OB   11/25/2020   WN;6961;CHS;MDW                       PORT AMY             OH                  US    91848   127398634@AIRLINE.KIWI.COM
TKNOM4   10/17/2020   OB    11/5/2020   WN;1470;SJC;SNA                       EAST JESSICA         VA                  US    80784   127398909@AIRLINE.KIWI.COM
TKNOM4   10/17/2020   RT   11/12/2020   WN;222;SNA;SJC                        EAST JESSICA         VA                  US    80784   127398909@AIRLINE.KIWI.COM
TKWOMU   10/17/2020   OB   11/11/2020   WN;6938;LAS;DEN;WN;3817;DEN;BHM       PORT BRYCEBURGH      CA                  US    26770   127399195@AIRLINE.KIWI.COM
TLJ422   10/17/2020   OB    11/6/2020   WN;6719;STL;DEN                       ELLENFORT            ID                  US    24877   127399118@AIRLINE.KIWI.COM
TN8XOD   10/17/2020   OB   10/18/2020   WN;1486;BNA;MDW;WN;2127;MDW;DCA       WOODBURGH            GA                  US    26772   127400009@AIRLINE.KIWI.COM
TN8XOD   10/17/2020   OB   10/18/2020   WN;1486;BNA;MDW;WN;2127;MDW;DCA       WOODBURGH            GA                  US    26772   127400009@AIRLINE.KIWI.COM
TNBA8O   10/17/2020   OB   11/28/2020   WN;6810;RDU;MDW                       BERGERTON            SC                  US    61208   127399976@AIRLINE.KIWI.COM
TNBA8O   10/17/2020   OB   11/28/2020   WN;6810;RDU;MDW                       BERGERTON            SC                  US    61208   127399976@AIRLINE.KIWI.COM




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TNSVX7   10/17/2020   OB   10/17/2020   WN;776;ATL;CMH                    EAST ALEXANDRABERG     CT                    US   75530   127400449@AIRLINE.KIWI.COM
TR6IN3   10/17/2020   OB   10/25/2020   WN;2437;SAN;MDW;WN;2642;MDW;DTW   LAKE JULIASTAD         AK                    US   20265   127401571@AIRLINE.KIWI.COM
TR6IN3   10/17/2020   OB   10/25/2020   WN;2437;SAN;MDW;WN;2642;MDW;DTW   LAKE JULIASTAD         AK                    US   20265   127401571@AIRLINE.KIWI.COM
TR6IN3   10/17/2020   OB   10/25/2020   WN;2437;SAN;MDW;WN;2642;MDW;DTW   LAKE JULIASTAD         AK                    US   20265   127401571@AIRLINE.KIWI.COM
TUEKUW   10/17/2020   OB   10/17/2020   WN;2117;LAX;SMF                   NUEVA BOTSWANA         MEXICO                MX   64531   127402484@AIRLINE.KIWI.COM
TVMRMI   10/17/2020   OB    12/1/2020   WN;1324;ATL;MSY                   ELIZABETHPORT          OR                    US   94209   127402924@AIRLINE.KIWI.COM
TXRWO9   10/17/2020   OB    11/9/2020   WN;447;DEN;ATL                    SOUTH THERESAPORT      AR                    US    3855   127404310@AIRLINE.KIWI.COM
TXZFGJ   10/17/2020   OB   10/17/2020   WN;6588;PHL;ATL                   SOUTH THERESAPORT      DE                    US    3855   127404387@AIRLINE.KIWI.COM
TZ2Y7H   10/17/2020   OB   10/17/2020   WN;2580;LAS;BUR                   BRANDITOWN             ME                    US   45395   127404794@AIRLINE.KIWI.COM
U2KJD6   10/17/2020   OB    11/2/2020   WN;2620;SMF;SAN                   ARNOLDCHESTER          NM                    US   23839   127405190@AIRLINE.KIWI.COM
U2KJD6   10/17/2020   RT    11/6/2020   WN;6506;SAN;SMF                   ARNOLDCHESTER          NM                    US   23839   127405190@AIRLINE.KIWI.COM
UDHRIP   10/17/2020   OB   10/18/2020   WN;101;ATL;MDW                    NORTH JAMESSIDE        IA                    US   67118   127411284@AIRLINE.KIWI.COM
UEHL23   10/17/2020   OB   10/20/2020   WN;2266;MDW;MEM                   ARMSTRONGBOROUGH       LA                    US   12535   127412065@AIRLINE.KIWI.COM
UG2F3R   10/17/2020   OB   12/28/2020   WN;491;MDW;TUS                    GATTI VENETO           ISERNIA               IT   35796   127413198@AIRLINE.KIWI.COM
UI3YQG   10/17/2020   OB   11/19/2020   WN;690;DTW;MDW;WN;463;MDW;DCA     CARLOSTON              ND                    US   25075   127414914@AIRLINE.KIWI.COM
ULFZF5   10/17/2020   OB   11/12/2020   WN;6922;ATL;HOU                   AMANDABURY             VA                    US   69208   127418049@AIRLINE.KIWI.COM
ULFZF5   10/17/2020   RT   11/16/2020   WN;492;HOU;ATL                    AMANDABURY             VA                    US   69208   127418049@AIRLINE.KIWI.COM
UMUWF4   10/17/2020   OB   10/20/2020   WN;1699;ONT;DEN;WN;2609;DEN;TUS   PORT DAVIDCHESTER      SC                    US   47921   127419160@AIRLINE.KIWI.COM
UMUWF4   10/17/2020   OB   10/20/2020   WN;2566;ONT;LAS                   PORT DAVIDCHESTER      SC                    US   47921   127419160@AIRLINE.KIWI.COM
UTGNN9   10/17/2020   OB   10/18/2020   WN;2588;SMF;LAX                   EAST WILLIAMMOUTH      IN                    US    3538   127425155@AIRLINE.KIWI.COM
UZ4A7P   10/17/2020   OB   10/31/2020   WN;3202;SJC;LAS                   PORT SHANNON           AL                    US   52529   127430237@AIRLINE.KIWI.COM
UZXADS   10/17/2020   OB   10/17/2020   WN;101;ATL;MDW                    EAST TIMOTHY           NH                    US   84478   127431403@AIRLINE.KIWI.COM
V5CKCU   10/17/2020   OB   11/23/2020   WN;2605;RDU;ATL                   SOUTH TANYA            DE                    US   95875   127434923@AIRLINE.KIWI.COM
V5CKCU   10/17/2020   OB   11/23/2020   WN;2605;RDU;ATL                   SOUTH TANYA            DE                    US   95875   127434923@AIRLINE.KIWI.COM
V6PXLP   10/17/2020   OB   10/25/2020   WN;6562;MCI;BNA                   SCOTTSIDE              OR                    US   14124   127436683@AIRLINE.KIWI.COM
V6PXLP   10/17/2020   OB   10/25/2020   WN;6562;MCI;BNA                   SCOTTSIDE              OR                    US   14124   127436683@AIRLINE.KIWI.COM
V6PXLP   10/17/2020   RT   10/31/2020   WN;3338;BNA;MCI                   SCOTTSIDE              OR                    US   14124   127436683@AIRLINE.KIWI.COM
V6PXLP   10/17/2020   RT   10/31/2020   WN;3338;BNA;MCI                   SCOTTSIDE              OR                    US   14124   127436683@AIRLINE.KIWI.COM
VACGD6   10/17/2020   OB   11/17/2020   WN;3912;MCI;DEN                   MACIASSHIRE            WI                    US   25776   127440170@AIRLINE.KIWI.COM
VH884R   10/17/2020   OB   10/31/2020   WN;1353;AUS;BWI;WN;2538;BWI;MHT   ROBERTBERG             AL                    US   63974   127446110@AIRLINE.KIWI.COM
VH97UH   10/17/2020   OB   11/29/2020   WN;6326;CUN;BWI                   RAMOS DA MATA          FERNANDO DE NORONHA   BR   74927   127443294@AIRLINE.KIWI.COM
VHVSNT   10/17/2020   OB   10/17/2020   WN;2075;HOU;STL                   LAKE JAMES             OH                    US   20666   127446946@AIRLINE.KIWI.COM
VJPR8V   10/17/2020   OB    2/23/2021   WN;2223;BWI;HOU                   EAST MARY              WV                    US   31021   127448783@AIRLINE.KIWI.COM
VJPR8V   10/17/2020   RT     3/2/2021   WN;44;HOU;DAL;WN;2055;DAL;BWI     EAST MARY              WV                    US   31021   127448783@AIRLINE.KIWI.COM
VKKDNC   10/17/2020   OB   10/17/2020   WN;169;DAL;PHX;WN;2291;PHX;OAK    CHARLESSHIRE           AR                    US   57272   127449102@AIRLINE.KIWI.COM
VMF9OF   10/17/2020   OB    1/15/2021   WN;2678;DEN;SNA;WN;2678;SNA;SMF   EAST JULIECHESTER      MI                    US   95272   127451456@AIRLINE.KIWI.COM
VMF9OF   10/17/2020   RT    1/17/2021   WN;220;SMF;DEN                    EAST JULIECHESTER      MI                    US   95272   127451456@AIRLINE.KIWI.COM
VMLHHC   10/17/2020   OB     1/4/2021   WN;462;HNL;SJC;WN;965;SJC;LAX     LAKE LISA              OH                    US   95381   127451852@AIRLINE.KIWI.COM
VMS2VC   10/17/2020   OB    12/5/2020   WN;2090;BNA;HOU                   NUEVA BELICE           CHIAPAS               MX   42876   127452226@AIRLINE.KIWI.COM
VP7S4F   10/17/2020   OB    11/9/2020   WN;831;ATL;CMH                    RIVERATOWN             ND                    US   16771   127453711@AIRLINE.KIWI.COM
VQDKPH   10/17/2020   OB   10/17/2020   WN;1492;SNA;LAS                   EAST JONATHAN          MN                    US   50818   127454844@AIRLINE.KIWI.COM
VQDKPH   10/17/2020   OB   10/17/2020   WN;1492;SNA;LAS                   EAST JONATHAN          MN                    US   50818   127454844@AIRLINE.KIWI.COM
VQDKPH   10/17/2020   OB   10/17/2020   WN;1492;SNA;LAS                   EAST JONATHAN          MN                    US   50818   127454844@AIRLINE.KIWI.COM
VSZBJS   10/17/2020   OB   11/25/2020   WN;4492;PDX;DEN                   CKRDHRPUR              ANDHRA PRADESH        IN   10854   127457440@AIRLINE.KIWI.COM
VT6FLC   10/17/2020   OB   10/20/2020   WN;1874;ATL;RSW                   DAVIDBURY              WV                    US   64437   127457407@AIRLINE.KIWI.COM
VT6FLC   10/17/2020   RT   10/21/2020   WN;1520;RSW;ATL                   DAVIDBURY              WV                    US   64437   127457407@AIRLINE.KIWI.COM
VTYUQK   10/17/2020   OB   10/18/2020   WN;2355;LAS;ATL                   PORT KENNETH           TN                    US   68148   127457869@AIRLINE.KIWI.COM
VUVB6Y   10/17/2020   OB    11/1/2020   WN;1688;BWI;SAT                   KAYLEECHESTER          KS                    US   20581   127459013@AIRLINE.KIWI.COM
VWYWY4   10/17/2020   OB    11/2/2020   WN;1728;TUL;DAL;WN;1786;DAL;AUS   WEST NICHOLAS          ID                    US   71694   127460168@AIRLINE.KIWI.COM
VXW67Q   10/17/2020   OB   10/18/2020   WN;1837;SFO;LAX                   NORTH KWAKU            VOLTA                 GH   43115   127460542@AIRLINE.KIWI.COM
VY59Q6   10/17/2020   OB   10/20/2020   WN;2121;DEN;SEA                   AARONBURGH             NM                    US   56031   127460366@AIRLINE.KIWI.COM
VZ6FZZ   10/17/2020   OB   10/18/2020   WN;2064;ATL;BWI;WN;11;BWI;CHS     KELLERTOWN             MO                    US   66773   127461169@AIRLINE.KIWI.COM
VZN3RG   10/17/2020   OB    11/4/2020   WN;47;LAS;SFO                     EAST JENNIFER          AL                    US   11318   127461499@AIRLINE.KIWI.COM
W5UAO2   10/17/2020   OB   11/16/2020   WN;294;OKC;DEN                    JORDANVIEW             CO                    US   40540   127464095@AIRLINE.KIWI.COM
W5UAO2   10/17/2020   OB   11/16/2020   WN;294;OKC;DEN                    JORDANVIEW             CO                    US   40540   127464095@AIRLINE.KIWI.COM
W6F4DS   10/17/2020   OB   10/23/2020   WN;2609;TUL;DEN                   DELACRUZSIDE           SD                    US   90930   127464370@AIRLINE.KIWI.COM
W6JA98   10/17/2020   OB   10/23/2020   WN;2609;TUL;DEN                   ARTHURBOROUGH          ND                    US   99681   127464370@AIRLINE.KIWI.COM
W8JZSF   10/17/2020   OB   10/18/2020   WN;1995;ATL;LGA                   LAKE RYAN              AL                    US   30516   127465360@AIRLINE.KIWI.COM
J4P4QU   10/18/2020   OB   12/20/2020   WN;218;MDW;CUN                    VIEJA MAURICIO         CA                    US   57668   127466218@AIRLINE.KIWI.COM
J4P4QU   10/18/2020   OB   12/20/2020   WN;218;MDW;CUN                    VIEJA MAURICIO         CA                    US   57668   127466218@AIRLINE.KIWI.COM
J8V48R   10/18/2020   OB   10/19/2020   WN;2302;OAK;LAS                   WEST JEFFREYMOUTH      ND                    US   49643   127476613@AIRLINE.KIWI.COM
JB99A6   10/18/2020   OB   12/13/2020   WN;4096;OAK;SEA                   LAKE LISAMOUTH         FL                    US   63997   127477768@AIRLINE.KIWI.COM
JEGYC9   10/18/2020   OB   10/19/2020   WN;2102;LAX;HOU                   ROSEVIEW               VA                    US   62357   127480188@AIRLINE.KIWI.COM
JHYEVZ   10/18/2020   OB    11/8/2020   WN;6430;LAS;DEN;WN;763;DEN;CLT    SOUTH CHRISTOPHER      VT                    US   63681   127482608@AIRLINE.KIWI.COM
JJ4IQ6   10/18/2020   OB    11/9/2020   WN;1488;HNL;SAN                   PORT STEVEN            IN                    US   93313   127484236@AIRLINE.KIWI.COM
JMHBCZ   10/18/2020   OB   10/18/2020   WN;151;DAL;DEN                    MISTO NAZAR            ODESKA OBLAST         UA   93208   127486953@AIRLINE.KIWI.COM
JPLYFT   10/18/2020   OB   10/19/2020   WN;2612;ATL;MCO;WN;15;MCO;BUF     WEST REBECCASIDE       NC                    US   24890   127489274@AIRLINE.KIWI.COM
JR4BTM   10/18/2020   OB   10/18/2020   WN;5626;BWI;RDU                   SARABERG               NC                    US   32854   127491001@AIRLINE.KIWI.COM
JTRRJT   10/18/2020   OB    11/1/2020   WN;2171;ATL;PHL                   TAMASIBANYA            PEST                  HU   46988   127492860@AIRLINE.KIWI.COM
JZ3GET   10/18/2020   OB     1/4/2021   WN;4444;OAK;MDW                   MATTHEWFORT            MS                    US   81596   127497579@AIRLINE.KIWI.COM
JZ3GET   10/18/2020   OB     1/4/2021   WN;4444;OAK;MDW                   MATTHEWFORT            MS                    US   81596   127497579@AIRLINE.KIWI.COM
JZSD6F   10/18/2020   OB    11/1/2020   WN;6800;ATL;PHL                   KEVINFURT              NH                    US   63346   127497733@AIRLINE.KIWI.COM
JZZ9O9   10/18/2020   OB   11/18/2020   WN;3927;MDW;MSP                   SOUTH BRADLEYSHIRE     CT                    US   76405   127498558@AIRLINE.KIWI.COM
JZZ9O9   10/18/2020   RT   11/23/2020   WN;2789;MSP;MDW                   SOUTH BRADLEYSHIRE     CT                    US   76405   127498558@AIRLINE.KIWI.COM
K27JFV   10/18/2020   OB   10/21/2020   WN;907;MBJ;BWI;WN;1935;BWI;HOU    EAST ABIGAIL           ME                    US   26365   127498173@AIRLINE.KIWI.COM
K7EJ5F   10/18/2020   OB   10/19/2020   WN;5626;ATL;MDW                   CATHYSIDE              VA                    US   14138   127503783@AIRLINE.KIWI.COM
K8SKX2   10/18/2020   OB    11/1/2020   WN;1997;DEN;MSP                   EMMAVILLE              ONTARIO               CA   85537   127505290@AIRLINE.KIWI.COM
K9HZOH   10/18/2020   OB   10/19/2020   WN;865;ATL;DAL;WN;27;DAL;HOU      JILLIANBOROUGH         ND                    US   36758   127505609@AIRLINE.KIWI.COM
KAAZ6Y   10/18/2020   OB    11/6/2020   WN;317;HOU;CUN                    JOHNSONPORT            KS                    US   36860   127506478@AIRLINE.KIWI.COM
KBF4RI   10/18/2020   OB   10/26/2020   WN;1933;ATL;LGA                   KNIGHTPORT             SC                    US   28431   127507644@AIRLINE.KIWI.COM
KBIEY3   10/18/2020   OB   10/19/2020   WN;2382;HOU;FLL                   OLIVEIRA               BAHIA                 BR   49389   127506665@AIRLINE.KIWI.COM
KCAN8X   10/18/2020   OB   10/27/2020   WN;1462;PHX;LGB                   WEST CHRISTOPHERSHIR   WV                    US     865   127507963@AIRLINE.KIWI.COM
KCXUXP   10/18/2020   OB   12/19/2020   WN;1941;LAX;LAS                   WEST JOSHUA            NV                    US   57398   127508271@AIRLINE.KIWI.COM
KEJVT5   10/18/2020   OB   10/19/2020   WN;1874;ATL;RSW;WN;1874;RSW;BWI   JOHNSIDE               MT                    US   10800   127510460@AIRLINE.KIWI.COM
KG6HD6   10/18/2020   OB    12/6/2020   WN;2970;DEN;ATL                   JODITON                OH                    US   60442   127511340@AIRLINE.KIWI.COM
KG6HD6   10/18/2020   OB    12/6/2020   WN;2970;DEN;ATL                   JODITON                OH                    US   60442   127511340@AIRLINE.KIWI.COM
KI5WV8   10/18/2020   OB    11/8/2020   WN;154;ATL;LGA                    WEST PAMELATON         OH                    US   47532   127513870@AIRLINE.KIWI.COM
KIFWKF   10/18/2020   OB   11/20/2020   WN;3360;ATL;LGA                   NORTH RICKYFORT        AR                    US    3880   127513584@AIRLINE.KIWI.COM
KIWKTC   10/18/2020   OB    11/1/2020   WN;2230;DEN;PHL                   VAALING                BAGMATI               NP   19248   127513947@AIRLINE.KIWI.COM
KJYC9C   10/18/2020   OB   10/25/2020   WN;864;ATL;LGA                    HARTBOROUGH            HI                    US   81812   127348749.1483822@AIRLINE.KIWI.COM
KL56D3   10/18/2020   OB   12/30/2020   WN;1259;DEN;FLL                   LEWISBOROUGH           PA                    US   94098   127516884@AIRLINE.KIWI.COM
KLS96T   10/18/2020   OB    11/5/2020   WN;1149;LAX;SMF                   NEW JOSHUATON          OR                    US   88316   127517643@AIRLINE.KIWI.COM
KLS96T   10/18/2020   OB    11/5/2020   WN;1149;LAX;SMF                   NEW JOSHUATON          OR                    US   88316   127517643@AIRLINE.KIWI.COM
KLS96T   10/18/2020   OB    11/5/2020   WN;1149;LAX;SMF                   NEW JOSHUATON          OR                    US   88316   127517643@AIRLINE.KIWI.COM
KMVGAO   10/18/2020   OB    11/2/2020   WN;2523;DEN;ATL                   WEST STEVEN            NC                    US   47200   127518842@AIRLINE.KIWI.COM
KMVGAO   10/18/2020   OB    11/2/2020   WN;2523;DEN;ATL                   WEST STEVEN            NC                    US   47200   127518842@AIRLINE.KIWI.COM
KOWOF3   10/18/2020   OB   10/19/2020   WN;34;IND;RSW                     NORTH DAVIDMOUTH       TN                    US   73407   127520668@AIRLINE.KIWI.COM
KPH4WH   10/18/2020   OB   10/18/2020   WN;2003;DAL;STL                   MEGANCHESTER           CT                    US   14640   127521449@AIRLINE.KIWI.COM
KQARDN   10/18/2020   OB   11/23/2020   WN;3096;DEN;TPA                   ENNS                   SALZBURG              AT   63637   127522406@AIRLINE.KIWI.COM
KQQO29   10/18/2020   OB   11/13/2020   WN;6985;CLT;MDW;WN;1213;MDW;HOU   LAKE STACEY            ME                    US   45122   127522626@AIRLINE.KIWI.COM
KS6IWI   10/18/2020   OB   10/20/2020   WN;2585;BNA;CLE                   AUSTINFORT             HI                    US   61406   127524518@AIRLINE.KIWI.COM
KSBKGF   10/18/2020   OB   10/18/2020   WN;1368;LAS;STL                   LAKE BENJAMINTON       WA                    US    8263   127524386@AIRLINE.KIWI.COM
KSUEXG   10/18/2020   OB   11/12/2020   WN;1259;PIT;BWI;WN;242;BWI;BOS    NEW KIMBERLY           CT                    US   53379   127524969@AIRLINE.KIWI.COM
KTL9KM   10/18/2020   OB   10/21/2020   WN;2166;MCO;BNA                   KATHRYNFURT            TX                    US   69759   127525882@AIRLINE.KIWI.COM
KVWHYY   10/18/2020   OB   10/21/2020   WN;1933;ATL;LGA                   EAST ALEJANDRO         CT                    US   47622   127527664@AIRLINE.KIWI.COM
KXP3AF   10/18/2020   OB   10/19/2020   WN;184;ICT;DEN;WN;3254;DEN;SMF    NORTH JACOBHAVEN       SC                    US   16142   127529160@AIRLINE.KIWI.COM
KY2T9A   10/18/2020   OB   12/16/2020   WN;1534;LAS;SMF                   STEPHANIEBURY          NM                    US   26120   127528610@AIRLINE.KIWI.COM




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KYTSVR   10/18/2020   OB   12/18/2020   WN;531;BUR;BNA;WN;892;BNA;JAX     JENNIFERTOWN           ME                     US   40041   127529490@AIRLINE.KIWI.COM
L2EE8W   10/18/2020   OB   10/19/2020   WN;1453;LAX;SMF                   GEORGEBOROUGH          NM                     US   82605   127530524@AIRLINE.KIWI.COM
L2IDD5   10/18/2020   OB   11/27/2020   WN;6829;IND;ATL                   MARYSIDE               FL                     US   10763   127531019@AIRLINE.KIWI.COM
L7S7P2   10/18/2020   OB   10/19/2020   WN;1483;IND;DEN;WN;1544;DEN;OAK   SOUTH BLAKEVILLE       DE                     US   29886   127533538@AIRLINE.KIWI.COM
L8AODO   10/18/2020   OB    11/5/2020   WN;6402;ATL;DAL                   HESSSHIRE              MN                     US   65524   127533802@AIRLINE.KIWI.COM
L8AODO   10/18/2020   OB    11/5/2020   WN;6402;ATL;DAL                   HESSSHIRE              MN                     US   65524   127533802@AIRLINE.KIWI.COM
L8GPHV   10/18/2020   OB   12/24/2020   WN;2104;PHX;BWI                   WEST JOYBURY           VA                     US   64899   127533890@AIRLINE.KIWI.COM
L8JDZ8   10/18/2020   OB   10/20/2020   WN;123;MHT;MDW;WN;2072;MDW;STL    CHANGLAND              NY                     US   73793   127533626@AIRLINE.KIWI.COM
L8JDZ8   10/18/2020   RT   10/23/2020   WN;846;STL;BWI;WN;1742;BWI;MHT    CHANGLAND              NY                     US   73793   127533626@AIRLINE.KIWI.COM
L8MRA2   10/18/2020   OB   12/20/2020   WN;782;MSP;MDW                    LINDAMOUTH             LA                     US   88617   127532801@AIRLINE.KIWI.COM
L8Y5I2   10/18/2020   OB   12/17/2020   WN;410;CHS;BNA                    WEST SAMUEL            OK                     US   24692   127533109@AIRLINE.KIWI.COM
L9QG38   10/18/2020   OB    11/8/2020   WN;6963;HOU;SAT                   SOUTH ETHAN            PA                     US   98425   127534396@AIRLINE.KIWI.COM
WBAFKQ   10/18/2020   OB   12/20/2020   WN;218;MDW;CUN                    SAN MATEO LOS ALTOS    ZACATECAS              MX   36059   127466218@AIRLINE.KIWI.COM
WD3QAS   10/18/2020   OB   11/21/2020   WN;2385;GRR;MDW                   HRASTNIK               BOVEC                  SI   74407   127466878@AIRLINE.KIWI.COM
WD3QAS   10/18/2020   OB   11/21/2020   WN;2385;GRR;MDW                   HRASTNIK               BOVEC                  SI   74407   127466878@AIRLINE.KIWI.COM
WDF3AC   10/18/2020   OB     1/2/2021   WN;1944;DTW;MCO                   MENDOZABERG            OR                     US   35627   127466911@AIRLINE.KIWI.COM
WDIP6O   10/18/2020   OB     1/4/2021   WN;452;PHL;DEN                    EAST OLIVIA            DONCASTER              GB   68822   127466834@AIRLINE.KIWI.COM
WDIP6O   10/18/2020   OB     1/4/2021   WN;452;PHL;DEN                    EAST OLIVIA            DONCASTER              GB   68822   127466834@AIRLINE.KIWI.COM
WDUDMX   10/18/2020   OB   10/18/2020   WN;5;MCO;STL;WN;6709;STL;TUL      LAKE TOM               NC                     US   99699   127466944@AIRLINE.KIWI.COM
WDUDMX   10/18/2020   OB   10/18/2020   WN;5;MCO;STL;WN;6709;STL;TUL      LAKE TOM               NC                     US   99699   127466944@AIRLINE.KIWI.COM
WHJOZ3   10/18/2020   OB   10/18/2020   WN;2070;ATL;BNA;WN;2067;BNA;MCI   WENDYTOWN              TN                     US    7893   127468462@AIRLINE.KIWI.COM
WIDQ5D   10/18/2020   OB   10/21/2020   WN;632;KOA;HNL                    CHRISTOPHERFORT        MT                     US   53698   127468682@AIRLINE.KIWI.COM
WIJ4L5   10/18/2020   OB   11/17/2020   WN;1479;LAX;SMF                   LAKE ROBERTVIEW        IA                     US    9659   127468781@AIRLINE.KIWI.COM
WKPHGL   10/18/2020   OB   10/18/2020   WN;1238;FLL;BWI                   SOUTH CYNTHIA          AL KARAK               JO   54324   127469364@AIRLINE.KIWI.COM
WN8V7Q   10/18/2020   OB   10/18/2020   WN;183;MDW;ATL                    JOHNBURY               UT                     US   80421   127470244@AIRLINE.KIWI.COM
WOBGM4   10/18/2020   OB   10/18/2020   WN;2579;PHX;LAS                   GIBSONBERG             TN                     US   90064   127470893@AIRLINE.KIWI.COM
WOCTM4   10/18/2020   OB   10/19/2020   WN;2620;SMF;SAN                   SOUTH RYAN             WA                     US   99632   127470739@AIRLINE.KIWI.COM
WP94M6   10/18/2020   OB   10/18/2020   WN;2040;BNA;DTW                   PATRICKPORT            IN                     US   42889   127470981@AIRLINE.KIWI.COM
WQ42GZ   10/18/2020   OB    11/5/2020   WN;161;SEA;SMF                    SAN ARCELIA LOS ALTO   COAHUILA DE ZARAGOZA   MX   26060   127471267@AIRLINE.KIWI.COM
WQOSED   10/18/2020   OB   11/12/2020   WN;6901;MDW;SAN                   PORT ARTHUR            IN                     US   44325   127471586@AIRLINE.KIWI.COM
WQQM8H   10/18/2020   OB   11/12/2020   WN;967;MCO;MDW                    EAST MARK              CA                     US   93567   127471586@AIRLINE.KIWI.COM
WQRY2C   10/18/2020   OB   10/26/2020   WN;1901;DEN;LAX                   SLOVENSKA BISTRICA     VERZEJ                 SI   47906   127471608@AIRLINE.KIWI.COM
WQU59S   10/18/2020   OB   10/18/2020   WN;2600;LAX;LAS                   NORTH ANDRE            AK                     US   60671   127471388@AIRLINE.KIWI.COM
WSJHAD   10/18/2020   OB   11/29/2020   WN;6898;DAL;STL                   WILLIAMSMOUTH          IN                     US   23247   127472026@AIRLINE.KIWI.COM
WT9YV6   10/18/2020   OB   10/20/2020   WN;2605;MCI;BNA;WN;1878;BNA;ATL   MARTHASHIRE            PA                     US   69511   127472213@AIRLINE.KIWI.COM
WTLWAS   10/18/2020   OB    11/1/2020   WN;3335;PHL;BNA                   JOHNMOUTH              MS                     US   50005   127472202@AIRLINE.KIWI.COM
WW4S65   10/18/2020   OB   10/31/2020   WN;1927;DEN;OKC                   PORT DEBRAFURT         IL                     US   30101   127472961@AIRLINE.KIWI.COM
WWYA3L   10/18/2020   OB    11/6/2020   WN;6867;HOU;SAN                   MICHAELBERG            GA                     US   11875   127473214@AIRLINE.KIWI.COM
WZUWDG   10/18/2020   OB   10/26/2020   WN;2092;BNA;PHL                   JORDANMOUTH            SOUTH AYRSHIRE         GB   73518   127474149@AIRLINE.KIWI.COM
LAE5PQ   10/19/2020   OB    12/9/2020   WN;2026;ATL;DEN                   RYANPORT               CT                     US   84889   127534836@AIRLINE.KIWI.COM
LGLSNB   10/19/2020   OB    11/5/2020   WN;970;MSP;LAS                    NORTH TIFFANYVILLE     WI                     US   24888   127537245@AIRLINE.KIWI.COM
LGLSNB   10/19/2020   RT    11/8/2020   WN;855;LAS;MSP                    NORTH TIFFANYVILLE     WI                     US   24888   127537245@AIRLINE.KIWI.COM
LGRJDY   10/19/2020   OB   10/19/2020   WN;6586;ATL;PHL                   TAYLORCHESTER          MD                     US   11764   127537223@AIRLINE.KIWI.COM
LGYO64   10/19/2020   OB   10/19/2020   WN;2102;LAX;HOU                   BARBARAMOUTH           HI                     US   19570   127537454@AIRLINE.KIWI.COM
LHKB8V   10/19/2020   OB   10/21/2020   WN;2090;LAX;LAS;WN;2076;LAS;AUS   CONLEYSHIRE            ME                     US   37400   127537740@AIRLINE.KIWI.COM
LHX8VE   10/19/2020   OB   10/19/2020   WN;2234;ATL;HOU                   PENELOPE LAZIALE       MOLISE                 IT    5839   127537278@AIRLINE.KIWI.COM
LIJ6BA   10/19/2020   OB   11/25/2020   WN;3853;LAS;BNA                   NORTH ANTHONY          RI                     US   44882   127538037@AIRLINE.KIWI.COM
LIJ6BA   10/19/2020   OB   11/25/2020   WN;3853;LAS;BNA                   NORTH ANTHONY          RI                     US   44882   127538037@AIRLINE.KIWI.COM
LISVGA   10/19/2020   OB    12/1/2020   WN;1600;TUS;MDW;WN;617;MDW;CLE    EAST DAVID             UT                     US   89515   127538114@AIRLINE.KIWI.COM
LJ94LK   10/19/2020   OB    11/2/2020   WN;2345;MCO;ATL                   KELDERTOWN             VALGAMAA               EE   70718   127538268@AIRLINE.KIWI.COM
LJ94LK   10/19/2020   RT    11/7/2020   WN;6812;ATL;IND;WN;4434;IND;MCO   KELDERTOWN             VALGAMAA               EE   70718   127538268@AIRLINE.KIWI.COM
LKMPN5   10/19/2020   OB   10/20/2020   WN;1997;MSP;MDW;WN;6768;MDW;CMH   DYLANHAVEN             OR                     US   95024   127538774@AIRLINE.KIWI.COM
LLAZKG   10/19/2020   OB   12/21/2020   WN;1167;PHX;SAT                   CNDDIIGDDH             ASSAM                  IN    1549   127539203@AIRLINE.KIWI.COM
LLC429   10/19/2020   OB   11/16/2020   WN;660;MIA;BWI                    BETHANYBERG            NY                     US   98748   127539148@AIRLINE.KIWI.COM
LLC429   10/19/2020   OB   11/16/2020   WN;660;MIA;BWI                    BETHANYBERG            NY                     US   98748   127539148@AIRLINE.KIWI.COM
LLXIOU   10/19/2020   OB    11/3/2020   WN;570;PHX;DEN;WN;782;DEN;DTW     NEW JAMES              AP                     US   22718   127537267@AIRLINE.KIWI.COM
LN7JAX   10/19/2020   OB   11/12/2020   WN;289;DAL;MDW;WN;967;MDW;CMH     JOHNTON                FL                     US   69987   127539951@AIRLINE.KIWI.COM
LNUNOC   10/19/2020   OB   10/19/2020   WN;849;ATL;IAD                    LAKE JULIE             AZ                     US   43022   127540336@AIRLINE.KIWI.COM
LOBSEE   10/19/2020   OB   10/19/2020   WN;849;ATL;IAD                    ANDREAMOUTH            WY                     US   36054   127540545@AIRLINE.KIWI.COM
LOP9FG   10/19/2020   OB   10/19/2020   WN;849;ATL;IAD                    EAST THOMAS            IL                     US   72718   127540666@AIRLINE.KIWI.COM
LPOFGE   10/19/2020   OB   10/19/2020   WN;116;ATL;BNA;WN;1950;BNA;PHL    WEST WESLEYBERG        KY                     US   21861   127540765@AIRLINE.KIWI.COM
LRRMIF   10/19/2020   OB   10/19/2020   WN;116;ATL;BNA;WN;1950;BNA;PHL    PORT DARRENBOROUGH     RI                     US   37417   127541898@AIRLINE.KIWI.COM
LRVIWG   10/19/2020   OB    11/6/2020   WN;167;DEN;LAS;WN;574;LAS;AMA     COURTNEYFURT           HI                     US   52855   127541755@AIRLINE.KIWI.COM
LS3IP6   10/19/2020   OB   10/31/2020   WN;1005;LAS;ONT                   PORT ASHLEYVIEW        UT                     US   95405   127542096@AIRLINE.KIWI.COM
LU77XR   10/19/2020   OB   12/18/2020   WN;1745;BNA;HOU                   WEST CASSANDRA         AL                     US   97016   127542437@AIRLINE.KIWI.COM
LZC5ZK   10/19/2020   OB   10/20/2020   WN;1959;CVG;MDW                   MEYERBURGH             WV                     US    5159   127544912@AIRLINE.KIWI.COM
LZC5ZK   10/19/2020   OB   10/20/2020   WN;1959;CVG;MDW                   MEYERBURGH             WV                     US    5159   127544912@AIRLINE.KIWI.COM
MF4L9Q   10/19/2020   OB   10/19/2020   WN;2171;ATL;PHL                   HALEYBURGH             NM                     US    2041   127555087@AIRLINE.KIWI.COM
MMSZCG   10/19/2020   OB    11/4/2020   WN;2383;BWI;DEN                   MILLSTON               ME                     US   95583   127564745@AIRLINE.KIWI.COM
MNOEKC   10/19/2020   OB    11/8/2020   WN;366;DEN;BWI                    NEW MARYPORT           VT                     US   14352   127565361@AIRLINE.KIWI.COM
MNSNZ8   10/19/2020   OB    11/6/2020   WN;187;BDL;MDW                    EAST RICHARD           TX                     US   66120   127565581@AIRLINE.KIWI.COM
MVEIMJ   10/19/2020   OB   11/15/2020   WN;660;MIA;BWI                    GARCIABERG             AL AQABAH              JO   25047   127575580@AIRLINE.KIWI.COM
MVEIMJ   10/19/2020   OB   11/15/2020   WN;660;MIA;BWI                    GARCIABERG             AL AQABAH              JO   25047   127575580@AIRLINE.KIWI.COM
MXVGEX   10/19/2020   OB   10/26/2020   WN;2636;MDW;PHX                   LAKE CARMEN            WA                     US   61333   127579452@AIRLINE.KIWI.COM
MXVGEX   10/19/2020   OB   10/26/2020   WN;2636;MDW;PHX                   LAKE CARMEN            WA                     US   61333   127579452@AIRLINE.KIWI.COM
MZ77WQ   10/19/2020   OB   10/19/2020   WN;513;ATL;BWI                    WEST THOMAS            PA                     US   39460   127580167@AIRLINE.KIWI.COM
MZVGZ6   10/19/2020   OB   10/19/2020   WN;513;ATL;BWI                    PORT SAMANTHA          TN                     US   86492   127581432@AIRLINE.KIWI.COM
N7SRVB   10/19/2020   OB   10/26/2020   WN;2090;LAX;LAS;WN;6587;LAS;CMH   HERNANDEZBURGH         NV                     US   72643   127199127.1484576@AIRLINE.KIWI.COM
N8H8CH   10/19/2020   OB   12/17/2020   WN;1201;BWI;OAK                   LAKE FELICIA           SC                     US   58442   127590815@AIRLINE.KIWI.COM
N8TAOZ   10/19/2020   OB   10/19/2020   WN;1669;LAS;OAK                   WALTERSTON             WA                     US   60855   127590496@AIRLINE.KIWI.COM
N8W29N   10/19/2020   OB   10/28/2020   WN;1870;BOI;OAK;WN;2383;OAK;LAX   BALLARDBURGH           ND                     US   46013   127590617@AIRLINE.KIWI.COM
N96TLG   10/19/2020   OB   12/29/2020   WN;1111;OAK;BWI                   GARCIACHESTER          DE                     US   33500   127590815@AIRLINE.KIWI.COM
NA4YJ2   10/19/2020   OB   12/29/2020   WN;1111;OAK;BWI                   BECKYBURY              WY                     US   15344   127592597@AIRLINE.KIWI.COM
NARUK2   10/19/2020   OB   12/17/2020   WN;1201;BWI;OAK                   WEST JAMIE             NM                     US   35082   127592597@AIRLINE.KIWI.COM
NBA48K   10/19/2020   OB   10/20/2020   WN;2349;SFO;SAN                   WOLMIRSTEDT            NIEDERSACHSEN          DE   87495   127594269@AIRLINE.KIWI.COM
ND6TVT   10/19/2020   OB   10/19/2020   WN;1830;ROC;BWI                   LISASIDE               LA                     US   30086   127595721@AIRLINE.KIWI.COM
NDAX3E   10/19/2020   OB   10/20/2020   WN;1923;BWI;ROC                   PORT MARIAH            VT                     US   75246   127595721@AIRLINE.KIWI.COM
NH2P2H   10/19/2020   OB   10/20/2020   WN;1115;DEN;HOU                   SOUTH DEANNASHIRE      IA                     US   64999   127600198@AIRLINE.KIWI.COM
NH2P2H   10/19/2020   OB   10/20/2020   WN;1115;DEN;HOU                   SOUTH DEANNASHIRE      IA                     US   64999   127600198@AIRLINE.KIWI.COM
NHJQBR   10/19/2020   OB    11/2/2020   WN;2565;SNA;SMF                   SAN DULCE DE LA MONT   NUEVO LEON             MX   87441   127594731@AIRLINE.KIWI.COM
NJ4GTY   10/19/2020   OB   11/23/2020   WN;6048;DCA;ATL                   WOODLAND               IN                     US   58275   127603553@AIRLINE.KIWI.COM
NJ4GTY   10/19/2020   OB   11/23/2020   WN;6048;DCA;ATL                   WOODLAND               IN                     US   58275   127603553@AIRLINE.KIWI.COM
NJCJ2X   10/19/2020   OB   10/19/2020   WN;2458;DEN;ABQ                   VANGFORT               KS                     US   84084   127603828@AIRLINE.KIWI.COM
NJF4IP   10/19/2020   OB    11/6/2020   WN;2888;CLT;DEN                   ERINFURT               NJ                     US   42707   127600627@AIRLINE.KIWI.COM
NJF4IP   10/19/2020   OB    11/6/2020   WN;2888;CLT;DEN                   ERINFURT               NJ                     US   42707   127600627@AIRLINE.KIWI.COM
NJGRI9   10/19/2020   OB   11/10/2020   WN;4408;OMA;MDW                   VIANA                  CEARA                  BR   16637   127603509@AIRLINE.KIWI.COM
NJMIYW   10/19/2020   OB   10/20/2020   WN;2006;ABQ;DEN                   NORTH KYLE             NE                     US   28379   127603828@AIRLINE.KIWI.COM
NJPBAO   10/19/2020   OB   11/19/2020   WN;1236;GRR;MDW;WN;1331;MDW;DEN   HARRISHAVEN            ND                     US   91689   127604730@AIRLINE.KIWI.COM
NJUZFL   10/19/2020   OB   11/10/2020   WN;5034;MDW;BWI                   WEST MARCUSFURT        AJLUN                  JO   67760   127603509@AIRLINE.KIWI.COM
NJZFU7   10/19/2020   OB    1/25/2021   WN;3;DAL;HOU                      EAST LESLIE            NV                     US   31538   127604697@AIRLINE.KIWI.COM
NJZFU7   10/19/2020   OB    1/25/2021   WN;3;DAL;HOU                      EAST LESLIE            NV                     US   31538   127604697@AIRLINE.KIWI.COM
NJZFU7   10/19/2020   OB    1/25/2021   WN;3;DAL;HOU                      EAST LESLIE            NV                     US   31538   127604697@AIRLINE.KIWI.COM
NJZFU7   10/19/2020   OB    1/25/2021   WN;3;DAL;HOU                      EAST LESLIE            NV                     US   31538   127604697@AIRLINE.KIWI.COM
NKQFES   10/19/2020   OB     1/3/2021   WN;4237;MDW;BNA                   DAYFORT                OK                     US   62293   127606226@AIRLINE.KIWI.COM
NLAIRE   10/19/2020   OB   10/23/2020   WN;1523;MDW;PHX                   WEST JAMES             NE                     US   74231   127606270@AIRLINE.KIWI.COM
NLAIRE   10/19/2020   RT   10/25/2020   WN;2251;PHX;MDW                   WEST JAMES             NE                     US   74231   127606270@AIRLINE.KIWI.COM
NLBVVE   10/19/2020   OB     1/4/2021   WN;532;DSM;STL;WN;252;STL;SMF     PORT DANIELLELAND      KY                     US   24769   127606061@AIRLINE.KIWI.COM




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NLDUSV   10/19/2020   OB   12/20/2020   WN;851;DEN;STL                    REYNOLDSTOWN          AR                      US   11840   127606776@AIRLINE.KIWI.COM
NLWP2B   10/19/2020   OB    11/6/2020   WN;1295;PHX;DEN                   TRACEYBOROUGH         MN                      US   64492   127607073@AIRLINE.KIWI.COM
NMFCBG   10/19/2020   OB    11/4/2020   WN;4180;OMA;DEN                   HALLTOWN              HI                      US    2204   127608338@AIRLINE.KIWI.COM
NMNADZ   10/19/2020   OB    11/2/2020   WN;2092;BNA;PHL                   HERNANDEZVIEW         DE                      US   66048   127608261@AIRLINE.KIWI.COM
NO2W7M   10/19/2020   OB    11/2/2020   WN;1780;FLL;ATL;WN;1187;ATL;MEM   WEST CAITLINCHESTER   OR                      US   37989   127610450@AIRLINE.KIWI.COM
NO3JJU   10/19/2020   OB    11/1/2020   WN;1449;LAX;PHX                   RICHARDCHESTER        KS                      US   35583   127609867@AIRLINE.KIWI.COM
NPQP9J   10/19/2020   OB   11/19/2020   WN;221;ATL;IAD                    JEFFERYTOWN           NV                      US   70009   127611990@AIRLINE.KIWI.COM
NPQP9J   10/19/2020   OB   11/19/2020   WN;221;ATL;IAD                    JEFFERYTOWN           NV                      US   70009   127611990@AIRLINE.KIWI.COM
NPQP9J   10/19/2020   OB   11/19/2020   WN;221;ATL;IAD                    JEFFERYTOWN           NV                      US   70009   127611990@AIRLINE.KIWI.COM
NPQP9J   10/19/2020   OB   11/19/2020   WN;221;ATL;IAD                    JEFFERYTOWN           NV                      US   70009   127611990@AIRLINE.KIWI.COM
NPQP9J   10/19/2020   OB   11/19/2020   WN;221;ATL;IAD                    JEFFERYTOWN           NV                      US   70009   127611990@AIRLINE.KIWI.COM
NRAFF7   10/19/2020   OB   11/12/2020   WN;774;TPA;BWI                    BROOKSBURY            SC                      US   36578   127614003@AIRLINE.KIWI.COM
NW2SF2   10/19/2020   OB   10/21/2020   WN;1255;PHX;MDW;WN;4452;MDW;MHT   EAST JILLCHESTER      IA                      US     513   127619767@AIRLINE.KIWI.COM
NXEYVA   10/19/2020   OB   10/20/2020   WN;2366;LAS;SLC                   WEST MANUEL           MS                      US   10153   127620867@AIRLINE.KIWI.COM
NYMWUV   10/19/2020   OB    1/18/2021   WN;3075;MIA;BWI                   NEW ALEXANDRALAND     TN                      US   97670   127622121@AIRLINE.KIWI.COM
NYMWUV   10/19/2020   OB    1/18/2021   WN;3075;MIA;BWI                   NEW ALEXANDRALAND     TN                      US   97670   127622121@AIRLINE.KIWI.COM
NYU6MW   10/19/2020   OB    11/3/2020   WN;1200;PHX;LGB                   EAST ROGER            MO                      US   74195   127622088@AIRLINE.KIWI.COM
NZ3MDF   10/19/2020   OB    1/13/2021   WN;876;MCO;DAL                    NORTH DANIELLEVIEW    AK                      US   86387   127622231@AIRLINE.KIWI.COM
NZ3MDF   10/19/2020   OB    1/13/2021   WN;876;MCO;DAL                    NORTH DANIELLEVIEW    AK                      US   86387   127622231@AIRLINE.KIWI.COM
NZ3MDF   10/19/2020   OB    1/13/2021   WN;876;MCO;DAL                    NORTH DANIELLEVIEW    AK                      US   86387   127622231@AIRLINE.KIWI.COM
O2AX4A   10/19/2020   OB   11/27/2020   WN;169;BNA;BOS                    SOUTH NATHANMOUTH     AZ                      US   45658   127623353@AIRLINE.KIWI.COM
O2OG8R   10/19/2020   OB   10/20/2020   WN;1776;MCO;BNA                   KASPARMOUTH           SYDDANMARK              DK   13982   127623221@AIRLINE.KIWI.COM
O2YBQT   10/19/2020   OB   10/26/2020   WN;312;MSY;BNA                    WEST TIMOTHYBURGH     IA                      US   63395   127624079@AIRLINE.KIWI.COM
O3EWAV   10/19/2020   OB    11/9/2020   WN;374;BWI;RSW                    LEAHMOUTH             WEST BERKSHIRE          GB   74842   127620295@AIRLINE.KIWI.COM
O3GRO8   10/19/2020   OB   11/12/2020   WN;392;RSW;BWI                    FUNDAO                AVEIRO                  PT   27461   127620295@AIRLINE.KIWI.COM
O4BO7M   10/19/2020   OB   10/20/2020   WN;2116;LAX;SMF                   LAKE ANN              VA                      US   11455   127624915@AIRLINE.KIWI.COM
O4BO7M   10/19/2020   OB   10/20/2020   WN;2116;LAX;SMF                   LAKE ANN              VA                      US   11455   127624915@AIRLINE.KIWI.COM
O4V9NJ   10/19/2020   OB   10/20/2020   WN;2514;SMF;LAS                   EAST GREGG            WA                      US   53690   127625201@AIRLINE.KIWI.COM
O749R9   10/19/2020   OB   11/25/2020   WN;6733;MDW;CLT                   GARCIABURY            IL                      US   49703   127626664@AIRLINE.KIWI.COM
O85BIZ   10/19/2020   OB   10/20/2020   WN;1956;AUS;DAL;WN;2604;DAL;ABQ   LAKE CHRISTINEVIEW    NJ                      US   76330   127627302@AIRLINE.KIWI.COM
O86T2J   10/19/2020   OB   10/30/2020   WN;2578;BNA;LAS                   NEW ANN               PA                      US    9085   127627467@AIRLINE.KIWI.COM
O8R54D   10/19/2020   OB   10/22/2020   WN;2376;SMF;ONT                   PORT DANIELLE         SC                      US     805   127627654@AIRLINE.KIWI.COM
O9758A   10/19/2020   OB   10/25/2020   WN;766;ONT;SMF                    SOUTH CYNTHIAPORT     AK                      US   99317   127627819@AIRLINE.KIWI.COM
O9BK39   10/19/2020   OB   10/30/2020   WN;2341;PDX;OAK;WN;3339;OAK;BUR   ROSELAND              VA                      US   89307   127628006@AIRLINE.KIWI.COM
OAKXXO   10/19/2020   OB   11/18/2020   WN;3803;JAX;ATL;WN;3121;ATL;MDW   WEST SARAH            WV                      US   34710   127628446@AIRLINE.KIWI.COM
OAKXXO   10/19/2020   RT    12/5/2020   WN;2309;MDW;JAX                   WEST SARAH            WV                      US   34710   127628446@AIRLINE.KIWI.COM
OB7KNT   10/19/2020   OB    11/5/2020   WN;876;MCO;DAL;WN;1008;DAL;MEM    EAST RYAN             DE                      US   59273   127628732@AIRLINE.KIWI.COM
OB8UBF   10/20/2020   OB    11/6/2020   WN;6523;SLC;LAS                   SURABAYA              JAKARTA RAYA            ID   59597   127628820@AIRLINE.KIWI.COM
ODW6KZ   10/20/2020   OB   10/22/2020   WN;101;ATL;MDW;WN;2570;MDW;HOU    ANDERSONCHESTER       AZ                      US   54319   127629799@AIRLINE.KIWI.COM
ODW6KZ   10/20/2020   OB   10/22/2020   WN;101;ATL;MDW;WN;2570;MDW;HOU    ANDERSONCHESTER       AZ                      US   54319   127629799@AIRLINE.KIWI.COM
OEZRXJ   10/20/2020   OB   11/27/2020   WN;6341;ELP;LAS                   NORTH IVANPORT        OK                      US   80571   127630448@AIRLINE.KIWI.COM
OFERSC   10/20/2020   OB   11/30/2020   WN;6995;ONT;LAS                   TODDVIEW              GA                      US   72115   127630591@AIRLINE.KIWI.COM
OG4NOT   10/20/2020   OB   10/20/2020   WN;2190;MCO;PIT                   WEST OMAR             NJ                      US   42864   127630635@AIRLINE.KIWI.COM
OG9VPK   10/20/2020   OB   10/29/2020   WN;1066;HOU;ATL                   MIELEC                SLASKIE                 PL   12864   127630855@AIRLINE.KIWI.COM
OG9VPK   10/20/2020   OB   10/29/2020   WN;1066;HOU;ATL                   MIELEC                SLASKIE                 PL   12864   127630855@AIRLINE.KIWI.COM
OHIHOX   10/20/2020   OB    11/9/2020   WN;634;BWI;STL                    BOYERSHIRE            SD                      US   78131   127631174@AIRLINE.KIWI.COM
OHIHOX   10/20/2020   OB    11/9/2020   WN;634;BWI;STL                    BOYERSHIRE            SD                      US   78131   127631174@AIRLINE.KIWI.COM
OHXLMC   10/20/2020   OB   11/13/2020   WN;112;ATL;PHX                    NUEVA TURKMENISTAN    MICHOACAN DE OCAMPO     MX    9114   127631372@AIRLINE.KIWI.COM
OHXLMC   10/20/2020   OB   11/13/2020   WN;112;ATL;PHX                    NUEVA TURKMENISTAN    MICHOACAN DE OCAMPO     MX    9114   127631372@AIRLINE.KIWI.COM
OHXLMC   10/20/2020   OB   11/13/2020   WN;112;ATL;PHX                    NUEVA TURKMENISTAN    MICHOACAN DE OCAMPO     MX    9114   127631372@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   OB   12/17/2020   WN;614;MCO;DEN                    NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   OB   12/17/2020   WN;614;MCO;DEN                    NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   OB   12/17/2020   WN;614;MCO;DEN                    NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   OB   12/17/2020   WN;614;MCO;DEN                    NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   RT   12/20/2020   WN;2138;DEN;MCO                   NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   RT   12/20/2020   WN;2138;DEN;MCO                   NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   RT   12/20/2020   WN;2138;DEN;MCO                   NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OHYPKQ   10/20/2020   RT   12/20/2020   WN;2138;DEN;MCO                   NICOLEBURY            NY                      US   92748   127631394@AIRLINE.KIWI.COM
OI8XQ3   10/20/2020   OB   12/17/2020   WN;614;MCO;DEN                    NEW LOGAN             OR                      US   73067   127631394@AIRLINE.KIWI.COM
OI8XQ3   10/20/2020   OB   12/17/2020   WN;614;MCO;DEN                    NEW LOGAN             OR                      US   73067   127631394@AIRLINE.KIWI.COM
OI8XQ3   10/20/2020   RT   12/20/2020   WN;2138;DEN;MCO                   NEW LOGAN             OR                      US   73067   127631394@AIRLINE.KIWI.COM
OI8XQ3   10/20/2020   RT   12/20/2020   WN;2138;DEN;MCO                   NEW LOGAN             OR                      US   73067   127631394@AIRLINE.KIWI.COM
OIKUTL   10/20/2020   OB   10/20/2020   WN;2135;OMA;DEN                   EAST TROYVIEW         AR                      US   24937   127631647@AIRLINE.KIWI.COM
OJCSB4   10/20/2020   OB   10/20/2020   WN;6560;MDW;CHS                   GEORGESIDE            MN                      US   86339   127631977@AIRLINE.KIWI.COM
OKJDWO   10/20/2020   OB   11/16/2020   WN;1236;GRR;MDW                   NEW SCOTTBURY         WV                      US   96034   127632747@AIRLINE.KIWI.COM
OM9RF8   10/20/2020   OB   10/20/2020   WN;2418;ATL;HOU                   DONALDBOROUGH         AK                      US   84053   127633594@AIRLINE.KIWI.COM
OMQK6P   10/20/2020   OB   11/27/2020   WN;6856;DEN;LAS                   JONESVILLE            SD                      US   63585   127633649@AIRLINE.KIWI.COM
OMQK6P   10/20/2020   OB   11/27/2020   WN;6856;DEN;LAS                   JONESVILLE            SD                      US   63585   127633649@AIRLINE.KIWI.COM
OMT9DK   10/20/2020   OB    11/1/2020   WN;1449;LAX;PHX                   NORTH PAULA           CT                      US   58055   127633693@AIRLINE.KIWI.COM
ON9QUI   10/20/2020   OB   11/11/2020   WN;3786;PHX;MDW                   RICHARDVIEW           VT                      US   97730   127634023@AIRLINE.KIWI.COM
ONISQW   10/20/2020   OB   11/10/2020   WN;3322;SNA;PHX                   NEW TAMMY             AR                      US   46510   127634023@AIRLINE.KIWI.COM
ONOPYL   10/20/2020   OB    11/8/2020   WN;866;PHX;MEM                    PORT NICOLEBOROUGH    OR                      US   63129   127634243@AIRLINE.KIWI.COM
OOEJQQ   10/20/2020   OB    11/1/2020   WN;2325;LAS;ATL                   GREGORYTON            ME                      US   57322   127634397@AIRLINE.KIWI.COM
OONCEJ   10/20/2020   OB   11/12/2020   WN;1007;PHX;ELP                   VIEJA MAURICIO        JALISCO                 MX   41578   127634606@AIRLINE.KIWI.COM
OPMMFE   10/20/2020   OB   10/23/2020   WN;2090;LAX;LAS                   SETHFORT              MO                      US   67050   127634892@AIRLINE.KIWI.COM
OSJJHW   10/20/2020   OB   10/20/2020   WN;40;HOU;DAL                     S BUGULMA             ARKHANGELSKAYA OBLAST   RU    5945   127636333@AIRLINE.KIWI.COM
OSJJHW   10/20/2020   RT   10/24/2020   WN;31;DAL;HOU                     S BUGULMA             ARKHANGELSKAYA OBLAST   RU    5945   127636333@AIRLINE.KIWI.COM
OTG78F   10/20/2020   OB   11/10/2020   WN;3247;MCI;LAS                   WEST ANGELACHESTER    SC                      US   39982   127636641@AIRLINE.KIWI.COM
OV8Z2H   10/20/2020   OB   10/20/2020   WN;183;BWI;MDW                    NORTH MEGAN           AK                      US   47473   127637136@AIRLINE.KIWI.COM
OVEZJF   10/20/2020   OB    11/4/2020   WN;6981;SMF;LAS;WN;2417;LAS;SAT   WEST DANIELTOWN       MN                      US   33879   127637246@AIRLINE.KIWI.COM
OVN73L   10/20/2020   OB   10/21/2020   WN;2588;SMF;LAX                   WEST MICHAELSTAD      HI                      US   79775   127637367@AIRLINE.KIWI.COM
OWLOXP   10/20/2020   OB   10/22/2020   WN;2502;BUR;SFO                   ASHLEYFORT            CA                      US   79253   127637796@AIRLINE.KIWI.COM
OWLOXP   10/20/2020   RT   10/25/2020   WN;813;SFO;BUR                    ASHLEYFORT            CA                      US   79253   127637796@AIRLINE.KIWI.COM
OXRKUG   10/20/2020   OB    12/9/2020   WN;2776;BWI;LAX                   WEST JOHNFURT         ID                      US   24360   127638214@AIRLINE.KIWI.COM
OZ92VL   10/20/2020   OB   11/26/2020   WN;3340;GSP;BWI                   CANNONMOUTH           PA                      US   47965   127639248@AIRLINE.KIWI.COM
OZ92VL   10/20/2020   OB   11/26/2020   WN;3340;GSP;BWI                   CANNONMOUTH           PA                      US   47965   127639248@AIRLINE.KIWI.COM
OZ92VL   10/20/2020   OB   11/26/2020   WN;3340;GSP;BWI                   CANNONMOUTH           PA                      US   47965   127639248@AIRLINE.KIWI.COM
P254JC   10/20/2020   OB    11/5/2020   WN;6446;ATL;LAS                   TAMMIEFORT            ND                      US    6248   127639501@AIRLINE.KIWI.COM
P2A5TR   10/20/2020   OB    11/6/2020   WN;6004;CUN;BWI                   NUEVA SINGAPUR        MEXICO                  MX   76047   127640106@AIRLINE.KIWI.COM
P5UPDO   10/20/2020   OB   10/26/2020   WN;2450;HOU;FLL                   WEST ANDREA           MN                      US   52156   127641624@AIRLINE.KIWI.COM
P5UPDO   10/20/2020   OB   10/26/2020   WN;2450;HOU;FLL                   WEST ANDREA           MN                      US   52156   127641624@AIRLINE.KIWI.COM
P6ECZL   10/20/2020   OB   10/23/2020   WN;2122;ATL;HOU                   NANCYCHESTER          TX                      US   79062   127641800@AIRLINE.KIWI.COM
P6ECZL   10/20/2020   RT   10/26/2020   WN;1066;HOU;ATL                   NANCYCHESTER          TX                      US   79062   127641800@AIRLINE.KIWI.COM
P7JWUS   10/20/2020   OB   10/22/2020   WN;2533;DEN;SAN                   SOUTH ANTHONY         ND                      US   99778   127643450@AIRLINE.KIWI.COM
P7Q4SS   10/20/2020   OB   10/23/2020   WN;1878;LGA;BNA;WN;103;BNA;HOU    ANTHONYMOUTH          AL                      US   98900   127642889@AIRLINE.KIWI.COM
P8X2IB   10/20/2020   OB    11/1/2020   WN;1323;DAL;ATL                   LAKE AUSTINBOROUGH    LA                      US   69925   127644594@AIRLINE.KIWI.COM
PCOEFT   10/20/2020   OB   10/29/2020   WN;840;LGB;SMF                    EAST JORDAN           LA                      US   82626   127648191@AIRLINE.KIWI.COM
PDTQRD   10/20/2020   OB   10/21/2020   WN;183;MDW;ATL                    EAST DANIELSHIRE      DC                      US   93330   121609114@AIRLINE.KIWI.COM
PHCRHD   10/20/2020   OB   10/31/2020   WN;1456;SMF;LGB                   STEPHENSHAVEN         CO                      US    4255   127653713@AIRLINE.KIWI.COM
POOFI3   10/20/2020   OB   10/26/2020   WN;2180;ATL;RIC                   NORTH MATTHEWLAND     ME                      US   50293   127661952@AIRLINE.KIWI.COM
PPAWNY   10/20/2020   OB   11/19/2020   WN;341;SMF;STL                    NEW SUSAN             HI                      US   93971   127662282@AIRLINE.KIWI.COM
PW94KM   10/20/2020   OB   10/23/2020   WN;2157;BWI;CMH                   PORT SANDY            IL                      US   69421   127670422@AIRLINE.KIWI.COM
PYMK7S   10/20/2020   OB   10/20/2020   WN;1833;DEN;STL                   NEW ANTONIO           NJ                      US   18335   127673667@AIRLINE.KIWI.COM
Q8LV33   10/20/2020   OB   10/26/2020   WN;2626;MDW;LAX                   TAYLORVIEW            WY                      US   99024   127684480@AIRLINE.KIWI.COM
Q8LV33   10/20/2020   OB   10/26/2020   WN;2626;MDW;LAX                   TAYLORVIEW            WY                      US   99024   127684480@AIRLINE.KIWI.COM
Q8LV33   10/20/2020   OB   10/26/2020   WN;2626;MDW;LAX                   TAYLORVIEW            WY                      US   99024   127684480@AIRLINE.KIWI.COM
Q8LV33   10/20/2020   OB   10/26/2020   WN;2626;MDW;LAX                   TAYLORVIEW            WY                      US   99024   127684480@AIRLINE.KIWI.COM




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Q9ENND   10/20/2020   OB   12/28/2020   WN;281;ONT;DEN;WN;1157;DEN;GRR    FULLERVILLE          UT                       US   11401   127685195@AIRLINE.KIWI.COM
Q9ENND   10/20/2020   OB   12/28/2020   WN;281;ONT;DEN;WN;1157;DEN;GRR    FULLERVILLE          UT                       US   11401   127685195@AIRLINE.KIWI.COM
Q9IRME   10/20/2020   OB   10/21/2020   WN;2254;MSP;DEN                   SOUTH CARLOS         MI                       US    6613   127685899@AIRLINE.KIWI.COM
QA6VGX   10/20/2020   OB   10/29/2020   WN;2504;LAX;MDW                   SMITHSTAD            UT                       US   68435   127686713@AIRLINE.KIWI.COM
QA6VGX   10/20/2020   OB   10/29/2020   WN;2504;LAX;MDW                   SMITHSTAD            UT                       US   68435   127686713@AIRLINE.KIWI.COM
QBVRX3   10/20/2020   OB    11/3/2020   WN;2564;TUL;DEN                   LAKE JACOB           AZ                       US   70410   127687692@AIRLINE.KIWI.COM
QCXNJ5   10/20/2020   OB   11/14/2020   WN;3805;ATL;IAD                   NUEVA PERU           TAMAULIPAS               MX   91019   127689045@AIRLINE.KIWI.COM
QD2AKZ   10/20/2020   OB   10/20/2020   WN;1959;MDW;CHS                   WEST EMILYCHESTER    HI                       US   91393   127690233@AIRLINE.KIWI.COM
QDGJRF   10/20/2020   OB    11/6/2020   WN;143;ATL;MDW                    WEST SCOTT           WI                       US   29087   127691300@AIRLINE.KIWI.COM
QDYACT   10/20/2020   OB    11/6/2020   WN;2807;MDW;SJC                   KINGTOWN             OH                       US   77637   127691300@AIRLINE.KIWI.COM
QGLWBE   10/20/2020   OB   10/20/2020   WN;2117;LAX;SMF                   WEST DIANE           AL                       US   15148   127695381@AIRLINE.KIWI.COM
QKO5KW   10/20/2020   OB   11/11/2020   WN;2315;SEA;DEN                   KATRINACHESTER       LA                       US   10668   127701244@AIRLINE.KIWI.COM
QKXNEE   10/20/2020   OB    11/5/2020   WN;6457;ATL;LAS                   LAKE JILL            ID                       US   90644   127701563@AIRLINE.KIWI.COM
QLSGXL   10/20/2020   OB   10/30/2020   WN;2006;DAL;ABQ;WN;2585;ABQ;LAS   NEW MICHELLEBURGH    OR                       US   74252   127688561@AIRLINE.KIWI.COM
QMOXRX   10/20/2020   OB   11/21/2020   WN;1786;BWI;PVD                   SOUTH HANNAH         NC                       US   33639   127704093@AIRLINE.KIWI.COM
QMOXRX   10/20/2020   RT   11/29/2020   WN;4130;PVD;BWI                   SOUTH HANNAH         NC                       US   33639   127704093@AIRLINE.KIWI.COM
QMRVNK   10/20/2020   OB    3/12/2021   WN;1550;LAS;SFO                   DA YE XIAN           JIANGSU SHENG            CN   21597   127703961@AIRLINE.KIWI.COM
QMRVNK   10/20/2020   OB    3/12/2021   WN;1550;LAS;SFO                   DA YE XIAN           JIANGSU SHENG            CN   21597   127703961@AIRLINE.KIWI.COM
QNQAHO   10/20/2020   OB    12/9/2020   WN;4608;LAX;OAK                   XIU LAN SHI          NEI MONGOL ZIZHIQU       CN   40338   127704544@AIRLINE.KIWI.COM
QOTEU2   10/20/2020   OB   10/22/2020   WN;2214;MCO;STL;WN;2360;STL;LAX   BRANDONFURT          MA                       US   36798   127706722@AIRLINE.KIWI.COM
QPTE8Y   10/20/2020   OB   10/21/2020   WN;2642;DTW;BWI                   TRACYFORT            NV                       US    6435   127707525@AIRLINE.KIWI.COM
QQTQGU   10/20/2020   OB   10/25/2020   WN;2068;ATL;RIC                   KENNETHBURGH         MN                       US   45762   127709131@AIRLINE.KIWI.COM
QQZ2YD   10/20/2020   OB   10/20/2020   WN;2107;SMF;LAS                   WONGVIEW             OK                       US   91626   127708460@AIRLINE.KIWI.COM
QR9AMD   10/20/2020   OB   10/21/2020   WN;1691;DEN;LAS;WN;2555;LAS;TUS   EAST NICOLEVIEW      UT                       US   21818   127709505@AIRLINE.KIWI.COM
QRGL5K   10/20/2020   OB    12/4/2020   WN;2730;CLT;DEN                   EAST TERESABERG      GA                       US   22296   127709703@AIRLINE.KIWI.COM
QRGL5K   10/20/2020   RT    12/6/2020   WN;2323;DEN;CLT                   EAST TERESABERG      GA                       US   22296   127709703@AIRLINE.KIWI.COM
QRPOSS   10/20/2020   OB   10/21/2020   WN;2582;ONT;PHX                   RICHARDSONVIEW       OH                       US   64599   127710352@AIRLINE.KIWI.COM
QU28GK   10/20/2020   OB    11/1/2020   WN;2138;MCI;ATL;WN;1064;ATL;IAD   SOUTH KELLIMOUTH     AS SADIS MIN UKTUBAR     EG   67185   127712343@AIRLINE.KIWI.COM
QVJUEJ   10/20/2020   OB    12/2/2020   WN;2626;DAL;STL                   NORTH MICHELLE       NE                       US   74297   127714697@AIRLINE.KIWI.COM
QVUSG6   10/20/2020   OB   11/14/2020   WN;386;BNA;CUN                    LINDAPORT            MD                       US   82806   127714972@AIRLINE.KIWI.COM
QW6Z9N   10/20/2020   OB     1/5/2021   WN;127;PHX;CMH                    NEW KEITHVIEW        SASKATCHEWAN             CA   28727   127715203@AIRLINE.KIWI.COM
QW9B3W   10/20/2020   OB   11/19/2020   WN;851;STL;DAL                    WEST DONALD          AZ                       US   41123   127714697@AIRLINE.KIWI.COM
QYZBXM   10/20/2020   OB   10/27/2020   WN;341;LGA;BNA;WN;2505;BNA;MDW    BATESSIDE            UT                       US   11062   127718448@AIRLINE.KIWI.COM
QZGVDW   10/20/2020   OB   10/21/2020   WN;2009;MSY;HOU                   NORTH KATHYFORT      SD                       US   69412   127719075@AIRLINE.KIWI.COM
R24LH9   10/20/2020   OB   10/22/2020   WN;665;BNA;ATL                    LAKE TAMMY           NV                       US    5582   127719702@AIRLINE.KIWI.COM
R267A4   10/20/2020   OB   10/20/2020   WN;1324;SMF;LAX                   MICHELLESIDE         VA                       US    1925   127719878@AIRLINE.KIWI.COM
R2L3BH   10/20/2020   OB   10/22/2020   WN;116;ATL;BNA                    NEW JENNIFER         AZ                       US   64541   127719702@AIRLINE.KIWI.COM
R38WPI   10/20/2020   OB   12/14/2020   WN;2323;DEN;CLT                   ROTHFURT             MS                       US   18839   127720857@AIRLINE.KIWI.COM
R38WPI   10/20/2020   OB   12/14/2020   WN;2323;DEN;CLT                   ROTHFURT             MS                       US   18839   127720857@AIRLINE.KIWI.COM
R3MOHB   10/20/2020   OB   12/11/2020   WN;2730;CLT;DEN                   EAST BETH            KY                       US   65309   127721077@AIRLINE.KIWI.COM
R3MOHB   10/20/2020   OB   12/11/2020   WN;2730;CLT;DEN                   EAST BETH            KY                       US   65309   127721077@AIRLINE.KIWI.COM
R5G8GC   10/20/2020   OB   10/24/2020   WN;1933;ATL;LGA                   BAKERTON             IA                       US   51072   127722353@AIRLINE.KIWI.COM
R7LBTJ   10/20/2020   OB    12/7/2020   WN;3273;STL;DEN                   SOUTH CYNTHIALAND    IL                       US   43281   127723475@AIRLINE.KIWI.COM
R7W2KC   10/20/2020   OB   10/21/2020   WN;762;LAS;PHX                    GATESPORT            GA                       US   78529   127724322@AIRLINE.KIWI.COM
R8VYT3   10/20/2020   OB   11/26/2020   WN;2182;BNA;AUS                   REBECCABOROUGH       VA                       US   69013   127725081@AIRLINE.KIWI.COM
R8VYT3   10/20/2020   OB   11/26/2020   WN;2182;BNA;AUS                   REBECCABOROUGH       VA                       US   69013   127725081@AIRLINE.KIWI.COM
R94ZJC   10/20/2020   OB   12/23/2020   WN;1906;STL;SLC                   ANDREWVILLE          IA                       US   34549   127725103@AIRLINE.KIWI.COM
RBN5UP   10/20/2020   OB   11/14/2020   WN;4080;MDW;DAL                   DONNAPORT            OH                       US   48751   127726236@AIRLINE.KIWI.COM
RCML8Y   10/21/2020   OB   10/23/2020   WN;113;LAX;SFO                    SOUTH ELIZABETH      WA                       US   52457   127726973@AIRLINE.KIWI.COM
RCML8Y   10/21/2020   RT   10/26/2020   WN;1837;SFO;LAX                   SOUTH ELIZABETH      WA                       US   52457   127726973@AIRLINE.KIWI.COM
RCXJYY   10/21/2020   OB    11/6/2020   WN;197;FLL;SJU                    WEST MEGANBURGH      AR                       US    4790   127712552@AIRLINE.KIWI.COM
RCXJYY   10/21/2020   OB    11/6/2020   WN;197;FLL;SJU                    WEST MEGANBURGH      AR                       US    4790   127712552@AIRLINE.KIWI.COM
RCXJYY   10/21/2020   OB    11/6/2020   WN;197;FLL;SJU                    WEST MEGANBURGH      AR                       US    4790   127712552@AIRLINE.KIWI.COM
RDXNIH   10/21/2020   OB   11/24/2020   WN;4331;MHT;BWI                   PORT MONICA          IA                       US   58635   127727292@AIRLINE.KIWI.COM
RE3BQ6   10/21/2020   OB   10/22/2020   WN;2165;MEM;MDW                   MCCOYMOUTH           MN                       US   19773   127727490@AIRLINE.KIWI.COM
REZXP2   10/21/2020   OB   10/24/2020   WN;2612;ATL;MCO                   HALLSHIRE            IN                       US   57528   127727941@AIRLINE.KIWI.COM
REZXP2   10/21/2020   OB   10/24/2020   WN;2612;ATL;MCO                   HALLSHIRE            IN                       US   57528   127727941@AIRLINE.KIWI.COM
RGGG5Q   10/21/2020   OB   11/14/2020   WN;4224;SJC;SAN                   ALICANTE             SANTA CRUZ DE TENERIFE   ES    6125   127728535@AIRLINE.KIWI.COM
RGJVQO   10/21/2020   OB   11/16/2020   WN;576;SAN;SJC                    DUBROVNIK            LICKOSENJSKA ZUPANIJA    HR   78757   127728535@AIRLINE.KIWI.COM
RGOIIQ   10/21/2020   OB   10/23/2020   WN;121;DAL;LAS                    DANIELFURT           NH                       US   75052   127728601@AIRLINE.KIWI.COM
RGOIIQ   10/21/2020   OB   10/23/2020   WN;121;DAL;LAS                    DANIELFURT           NH                       US   75052   127728601@AIRLINE.KIWI.COM
RGOIIQ   10/21/2020   OB   10/23/2020   WN;121;DAL;LAS                    DANIELFURT           NH                       US   75052   127728601@AIRLINE.KIWI.COM
RGOIIQ   10/21/2020   RT   10/30/2020   WN;937;LAS;DAL                    DANIELFURT           NH                       US   75052   127728601@AIRLINE.KIWI.COM
RGOIIQ   10/21/2020   RT   10/30/2020   WN;937;LAS;DAL                    DANIELFURT           NH                       US   75052   127728601@AIRLINE.KIWI.COM
RGOIIQ   10/21/2020   RT   10/30/2020   WN;937;LAS;DAL                    DANIELFURT           NH                       US   75052   127728601@AIRLINE.KIWI.COM
RI775L   10/21/2020   OB   10/25/2020   WN;2538;CMH;BWI                   PORT JOHNFORT        UT                       US   35599   127729888@AIRLINE.KIWI.COM
RI775L   10/21/2020   RT   10/27/2020   WN;2157;BWI;CMH                   PORT JOHNFORT        UT                       US   35599   127729888@AIRLINE.KIWI.COM
RICI7J   10/21/2020   OB   11/20/2020   WN;6953;OKC;DEN                   SOUTH KATHRYN        MA                       US   73305   127729547@AIRLINE.KIWI.COM
RICI7J   10/21/2020   OB   11/20/2020   WN;6953;OKC;DEN                   SOUTH KATHRYN        MA                       US   73305   127729547@AIRLINE.KIWI.COM
RIIUJJ   10/21/2020   OB   10/21/2020   WN;1522;LGB;DEN;WN;1954;DEN;MCO   NORTH SPENCER        NV                       US   65387   127729591@AIRLINE.KIWI.COM
RIUA9O   10/21/2020   OB   10/23/2020   WN;1933;ATL;LGA                   LAKE HOLLY           PA                       US     582   127729822@AIRLINE.KIWI.COM
RJBPWQ   10/21/2020   OB   12/22/2020   WN;1522;SMF;LAX                   WEST BRENDABOROUGH   RI                       US   30035   127730537@AIRLINE.KIWI.COM
RJBPWQ   10/21/2020   OB   12/22/2020   WN;1522;SMF;LAX                   WEST BRENDABOROUGH   RI                       US   30035   127730537@AIRLINE.KIWI.COM
RJBPWQ   10/21/2020   OB   12/22/2020   WN;1522;SMF;LAX                   WEST BRENDABOROUGH   RI                       US   30035   127730537@AIRLINE.KIWI.COM
RJWSOX   10/21/2020   OB   10/21/2020   WN;1835;CLE;BNA                   LAKE MICHELLE        CA                       US   84458   127730592@AIRLINE.KIWI.COM
RJWSQM   10/21/2020   OB    11/7/2020   WN;642;OAK;DEN                    EAST SAMANTHABERG    TX                       US   98287   127730603@AIRLINE.KIWI.COM
RK7RKL   10/21/2020   OB   11/11/2020   WN;1375;SAN;HNL                   AMBERVILLE           MO                       US   33864   127730724@AIRLINE.KIWI.COM
RL9KVH   10/21/2020   OB   10/30/2020   WN;2171;ATL;PHL                   PORT OLIVIA          WI                       US   78649   127731472@AIRLINE.KIWI.COM
RLBK3Y   10/21/2020   OB   10/22/2020   WN;53;DAL;HOU                     SOUTH SONYA          TN                       US    1126   127731494@AIRLINE.KIWI.COM
RLBK3Y   10/21/2020   RT   10/26/2020   WN;32;HOU;DAL                     SOUTH SONYA          TN                       US    1126   127731494@AIRLINE.KIWI.COM
RNTHOH   10/21/2020   OB    1/19/2021   WN;2479;DEN;BWI                   NORTH KEVINMOUTH     WV                       US   12291   127732429@AIRLINE.KIWI.COM
RPMM9S   10/21/2020   OB    11/1/2020   WN;1644;MSP;MDW                   MORANMOUTH           ME                       US    7531   127733650@AIRLINE.KIWI.COM
RPMM9S   10/21/2020   OB    11/1/2020   WN;1644;MSP;MDW                   MORANMOUTH           ME                       US    7531   127733650@AIRLINE.KIWI.COM
RQFDAM   10/21/2020   OB    1/10/2021   WN;1059;MSY;BWI;WN;5013;BWI;ORF   PORT JOSEPH          NM                       US    8103   127734299@AIRLINE.KIWI.COM
RT3NXS   10/21/2020   OB    12/9/2020   WN;3989;MCO;MDW;WN;3989;MDW;LAX   EAST DAVIDFURT       NM                       US   83564   127735630@AIRLINE.KIWI.COM
RT3NXS   10/21/2020   OB    12/9/2020   WN;3989;MCO;MDW;WN;3989;MDW;LAX   EAST DAVIDFURT       NM                       US   83564   127735630@AIRLINE.KIWI.COM
RUNGJ2   10/21/2020   OB   11/30/2020   WN;2472;SDF;DAL                   WEST JESSICAHAVEN    IN                       US   48228   127736466@AIRLINE.KIWI.COM
RV2MY4   10/21/2020   OB   11/23/2020   WN;2786;CVG;HOU;WN;3730;HOU;AUS   SOUTH MARY           WI                       US   73203   127734420@AIRLINE.KIWI.COM
RVQSAH   10/21/2020   OB   11/15/2020   WN;2040;DAL;ATL                   WEST TIFFANY         NV                       US   57042   127736675@AIRLINE.KIWI.COM
RVVN4W   10/21/2020   OB   12/19/2020   WN;2421;SAN;SJC                   WEST STEVEN          NC                       US   61893   127736741@AIRLINE.KIWI.COM
RXGIX8   10/21/2020   OB   11/21/2020   WN;2085;MAF;DAL;WN;6833;DAL;IND   JENSEN               BUSKERUD                 NO   82085   127737280@AIRLINE.KIWI.COM
RYTVXD   10/21/2020   OB    11/6/2020   WN;486;DEN;IND                    NEW CARLOS           CA                       US    5576   127737863@AIRLINE.KIWI.COM
S4MPNO   10/21/2020   OB    11/6/2020   WN;548;ELP;PHX                    BOWENSIDE            IA                       US    6846   127736213@AIRLINE.KIWI.COM
S6WCZL   10/21/2020   OB   10/25/2020   WN;312;PDX;SJC                    CIRMIRII             ANDHRA PRADESH           IN   67847   127741350@AIRLINE.KIWI.COM
S7VXFB   10/21/2020   OB   11/17/2020   WN;6812;ATL;IND                   BRITTANYTOWN         ME                       US   62574   127742010@AIRLINE.KIWI.COM
S7VXFB   10/21/2020   RT   11/19/2020   WN;6829;IND;ATL                   BRITTANYTOWN         ME                       US   62574   127742010@AIRLINE.KIWI.COM
SCPBEA   10/21/2020   OB     2/5/2021   WN;4824;SAT;HOU                   NEW GARY             CA                       US    1251   127746597@AIRLINE.KIWI.COM
SF7H37   10/21/2020   OB   11/25/2020   WN;4964;ONT;PHX;WN;6975;PHX;SAT   WEST NICHOLASLAND    OK                       US   27440   122570217@AIRLINE.KIWI.COM
SF7H37   10/21/2020   OB   11/25/2020   WN;4964;ONT;PHX;WN;6975;PHX;SAT   WEST NICHOLASLAND    OK                       US   27440   122570217@AIRLINE.KIWI.COM
SF7H37   10/21/2020   RT   11/28/2020   WN;2036;SAT;DEN;WN;2316;DEN;ONT   WEST NICHOLASLAND    OK                       US   27440   122570217@AIRLINE.KIWI.COM
SF7H37   10/21/2020   RT   11/28/2020   WN;2036;SAT;DEN;WN;2316;DEN;ONT   WEST NICHOLASLAND    OK                       US   27440   122570217@AIRLINE.KIWI.COM
SII9FL   10/21/2020   OB   11/11/2020   WN;1375;SAN;HNL                   ARIANAMOUTH          NC                       US   94378   127751998@AIRLINE.KIWI.COM
SIWPNJ   10/21/2020   OB   10/21/2020   WN;1735;SJC;DEN;WN;1012;DEN;ATL   SOUTH DAVID          CO                       US   20476   127752416@AIRLINE.KIWI.COM
SK9UFB   10/21/2020   OB   10/21/2020   WN;2053;LAS;SNA;WN;1241;SNA;SMF   PORT VICTORIAFORT    HI                       US   24321   127754286@AIRLINE.KIWI.COM
SNBAKG   10/21/2020   OB   10/21/2020   WN;2425;LAX;SJC                   SELISHCHE LES        KIROVOHRADSKA OBLAST     UA   11730   127757883@AIRLINE.KIWI.COM
SNBAKG   10/21/2020   RT   10/22/2020   WN;1695;SJC;LAX                   SELISHCHE LES        KIROVOHRADSKA OBLAST     UA   11730   127757883@AIRLINE.KIWI.COM
SP8JSO   10/21/2020   OB    11/1/2020   WN;2171;ATL;PHL                   NORTH MARK           NM                       US   48084   127759324@AIRLINE.KIWI.COM




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SP8JSO   10/21/2020   OB    11/1/2020   WN;2171;ATL;PHL                   NORTH MARK            NM                      US   48084   127759324@AIRLINE.KIWI.COM
SX52HY   10/21/2020   OB   10/21/2020   WN;1379;LAS;MSY                   CHARLESBURY           HI                      US   27934   127770192@AIRLINE.KIWI.COM
SYQKNS   10/21/2020   OB   10/21/2020   WN;1379;LAS;MSY                   TIMOTHYTOWN           AL                      US    3500   127772337@AIRLINE.KIWI.COM
SYQRR6   10/21/2020   OB   10/23/2020   WN;965;MDW;FLL                    EAST NICHOLAS         TX                      US   21221   127773008@AIRLINE.KIWI.COM
SYXATG   10/21/2020   OB   10/23/2020   WN;965;MDW;FLL                    NORTH MARKCHESTER     NV                      US   44437   127773019@AIRLINE.KIWI.COM
T2DA8O   10/21/2020   OB   11/23/2020   WN;597;SJC;HNL                    KRISTITOWN            SD                      US    2920   127711595@AIRLINE.KIWI.COM
T2DA8O   10/21/2020   OB   11/23/2020   WN;597;SJC;HNL                    KRISTITOWN            SD                      US    2920   127711595@AIRLINE.KIWI.COM
T2VLVZ   10/21/2020   OB   12/13/2020   WN;1488;HNL;SAN                   WEST JENNIFER         SC                      US   82258   127711595@AIRLINE.KIWI.COM
T2VLVZ   10/21/2020   OB   12/13/2020   WN;1488;HNL;SAN                   WEST JENNIFER         SC                      US   82258   127711595@AIRLINE.KIWI.COM
T2XUNH   10/21/2020   OB    12/3/2020   WN;2629;DEN;ATL                   VELKE BILOVICE        -                       -    50981   127775868@AIRLINE.KIWI.COM
T2XUNH   10/21/2020   OB    12/3/2020   WN;2629;DEN;ATL                   VELKE BILOVICE        -                       -    50981   127775868@AIRLINE.KIWI.COM
T6RP2Y   10/21/2020   OB    11/2/2020   WN;2612;PHL;ATL                   MELANIEVIEW           NJ                      US   46117   127780697@AIRLINE.KIWI.COM
T6SMRK   10/21/2020   OB   10/21/2020   WN;135;MDW;LAS                    HUDSONLAND            NH                      US   12087   127781005@AIRLINE.KIWI.COM
T6SMRK   10/21/2020   OB   10/21/2020   WN;135;MDW;LAS                    HUDSONLAND            NH                      US   12087   127781005@AIRLINE.KIWI.COM
T76KBB   10/21/2020   OB   10/25/2020   WN;1790;MDW;DEN;WN;1790;DEN;AUS   PORT JENNIFER         FL                      US   46287   127781511@AIRLINE.KIWI.COM
T76KBB   10/21/2020   OB   10/25/2020   WN;1790;MDW;DEN;WN;1790;DEN;AUS   PORT JENNIFER         FL                      US   46287   127781511@AIRLINE.KIWI.COM
T8O2R6   10/21/2020   OB   12/20/2020   WN;1246;PHX;DAL;WN;311;DAL;ECP    KINGFURT              ID                      US   74621   127784470@AIRLINE.KIWI.COM
TCLEYL   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    EAST ANTHONY          MN                      US   42362   127788969@AIRLINE.KIWI.COM
TCLEYL   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    EAST ANTHONY          MN                      US   42362   127788969@AIRLINE.KIWI.COM
TCLEYL   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    EAST ANTHONY          MN                      US   42362   127788969@AIRLINE.KIWI.COM
TDIYZH   10/21/2020   OB   10/21/2020   WN;3340;MCO;BNA;WN;6584;BNA;PNS   VIEIRA                GOIAS                   BR   57242   127791026@AIRLINE.KIWI.COM
TDU23A   10/21/2020   OB    11/3/2020   WN;1012;DEN;ATL                   WEST ELIZABETH        IN                      US   91124   127790927@AIRLINE.KIWI.COM
TE4KOR   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    KEVINBOROUGH          VA                      US   58441   127792104@AIRLINE.KIWI.COM
TE4KOR   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    KEVINBOROUGH          VA                      US   58441   127792104@AIRLINE.KIWI.COM
TE4KOR   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    KEVINBOROUGH          VA                      US   58441   127792104@AIRLINE.KIWI.COM
TE4KOR   10/21/2020   OB    11/2/2020   WN;864;ATL;LGA                    KEVINBOROUGH          VA                      US   58441   127792104@AIRLINE.KIWI.COM
TEC8HJ   10/21/2020   OB   12/30/2020   WN;970;MSP;LAS                    PORT JOSE             NH                      US   26933   127790993@AIRLINE.KIWI.COM
TFBLN3   10/21/2020   OB   10/22/2020   WN;1983;DTW;MDW;WN;1645;MDW;PHL   BOWMANCHESTER         VT                      US   96063   127793314@AIRLINE.KIWI.COM
TFM4JY   10/21/2020   OB   10/21/2020   WN;1005;SLC;LAS                   WEST CINDY            CA                      US   49522   127794315@AIRLINE.KIWI.COM
TFMWRA   10/21/2020   OB    11/9/2020   WN;1167;MDW;SMF                   WEST JERRYHAVEN       ND                      US   99750   127793578@AIRLINE.KIWI.COM
TG5ZPV   10/21/2020   OB     1/2/2021   WN;1699;LIT;LAS                   PORT DEBRAMOUTH       AK                      US   26202   127794392@AIRLINE.KIWI.COM
THNZWM   10/21/2020   OB   12/10/2020   WN;5014;ATL;DEN                   EAST ANTHONY          MN                      US   77726   127796317@AIRLINE.KIWI.COM
THRNZ2   10/21/2020   OB    11/1/2020   WN;1018;CUN;DEN                   LUTZPORT              AR                      US   44008   127797307@AIRLINE.KIWI.COM
THRNZ2   10/21/2020   OB    11/1/2020   WN;1018;CUN;DEN                   LUTZPORT              AR                      US   44008   127797307@AIRLINE.KIWI.COM
TI3PJQ   10/21/2020   OB   10/22/2020   WN;3002;RDU;MDW                   NUEVA ESTONIA         PUEBLA                  MX   42309   127797065@AIRLINE.KIWI.COM
TI3PJQ   10/21/2020   OB   10/22/2020   WN;3002;RDU;MDW                   NUEVA ESTONIA         PUEBLA                  MX   42309   127797065@AIRLINE.KIWI.COM
TI3PJQ   10/21/2020   OB   10/22/2020   WN;3002;RDU;MDW                   NUEVA ESTONIA         PUEBLA                  MX   42309   127797065@AIRLINE.KIWI.COM
TI3PJQ   10/21/2020   OB   10/22/2020   WN;3002;RDU;MDW                   NUEVA ESTONIA         PUEBLA                  MX   42309   127797065@AIRLINE.KIWI.COM
TIRGLL   10/21/2020   OB    11/6/2020   WN;144;ATL;OKC                    BAUERFORT             NV                      US   46464   127797923@AIRLINE.KIWI.COM
TIS8AJ   10/21/2020   OB    11/6/2020   WN;144;ATL;OKC                    CRYSTALTOWN           MT                      US   45171   127797989@AIRLINE.KIWI.COM
TIY5WM   10/21/2020   OB   11/25/2020   WN;3315;HOU;MCO                   SANDERSMOUTH          MA                      US   21218   127797967@AIRLINE.KIWI.COM
TIY5WM   10/21/2020   RT   11/30/2020   WN;1832;MCO;HOU                   SANDERSMOUTH          MA                      US   21218   127797967@AIRLINE.KIWI.COM
TJCMFV   10/21/2020   OB    11/7/2020   WN;3734;OMA;HOU;WN;2387;HOU;SAT   HOLLOWAYSHIRE         MA                      US   86409   127798627@AIRLINE.KIWI.COM
TJSCSW   10/21/2020   OB   11/15/2020   WN;1157;DEN;GRR                   NEW HOLLYMOUTH        WA                      US   49129   127800134@AIRLINE.KIWI.COM
TJW3OI   10/21/2020   OB   10/31/2020   WN;2558;LAS;SNA                   THOMASVILLE           TX                      US   52239   127800684@AIRLINE.KIWI.COM
TK58BB   10/21/2020   OB   11/21/2020   WN;1140;MCO;PHL                   WALKERTOWN            NH                      US   22424   127799815@AIRLINE.KIWI.COM
TK58BB   10/21/2020   OB   11/21/2020   WN;1140;MCO;PHL                   WALKERTOWN            NH                      US   22424   127799815@AIRLINE.KIWI.COM
TKMF2Q   10/21/2020   OB   10/27/2020   WN;2108;LAS;SMF                   MIKEMOUTH             DE                      US    5362   127801036@AIRLINE.KIWI.COM
TLVRGQ   10/21/2020   OB   10/27/2020   WN;2513;LAS;SMF                   WEST JORDANVILLE      OR                      US   79623   127803104@AIRLINE.KIWI.COM
TLWIYI   10/21/2020   OB   11/26/2020   WN;3539;PHX;STL                   FISCHERVIEW           UT                      US   92969   127802950@AIRLINE.KIWI.COM
TLWIYI   10/21/2020   OB   11/26/2020   WN;3539;PHX;STL                   FISCHERVIEW           UT                      US   92969   127802950@AIRLINE.KIWI.COM
TLWIYI   10/21/2020   OB   11/26/2020   WN;3539;PHX;STL                   FISCHERVIEW           UT                      US   92969   127802950@AIRLINE.KIWI.COM
TLWIYI   10/21/2020   OB   11/26/2020   WN;3539;PHX;STL                   FISCHERVIEW           UT                      US   92969   127802950@AIRLINE.KIWI.COM
TLWIYI   10/21/2020   OB   11/26/2020   WN;3539;PHX;STL                   FISCHERVIEW           UT                      US   92969   127802950@AIRLINE.KIWI.COM
TLWIYI   10/21/2020   OB   11/26/2020   WN;3539;PHX;STL                   FISCHERVIEW           UT                      US   92969   127802950@AIRLINE.KIWI.COM
TMU3EW   10/21/2020   OB   10/22/2020   WN;1187;TPA;ATL                   NEW KEFSER            TEKIRDAG                TR   62129   127804523@AIRLINE.KIWI.COM
TMWSCL   10/21/2020   OB   11/25/2020   WN;6748;SAN;SLC                   CITTUUR               UTTARAKHAND             IN   28528   127805557@AIRLINE.KIWI.COM
TN4FUH   10/21/2020   OB   11/16/2020   WN;1229;PHL;DEN;WN;1;DEN;SJC      MOORESIDE             CA                      US   92049   127805293@AIRLINE.KIWI.COM
TN8L7A   10/21/2020   OB    12/2/2020   WN;3103;LGB;LAS                   SOUTH KWAMENASTAD     UPPER WEST              GH   66709   127805029@AIRLINE.KIWI.COM
TNBMD8   10/21/2020   OB   11/16/2020   WN;597;SJC;HNL                    MIKESHIRE             NE                      US   14140   127805293@AIRLINE.KIWI.COM
TNEPZ9   10/21/2020   OB   10/29/2020   WN;2016;GRR;DEN;WN;1385;DEN;LAX   WENDYBOROUGH          WY                      US   22155   127805282@AIRLINE.KIWI.COM
TOBZ6V   10/21/2020   OB   11/26/2020   WN;2804;CVG;BWI                   EAST CLAUDIAVILLE     KS                      US   78964   127807812@AIRLINE.KIWI.COM
TOBZ6V   10/21/2020   RT    12/1/2020   WN;373;BWI;CVG                    EAST CLAUDIAVILLE     KS                      US   78964   127807812@AIRLINE.KIWI.COM
TON8Y4   10/21/2020   OB   11/24/2020   WN;6748;SAN;SLC                   MONTGOMERYBERG        AL                      US   15247   127807801@AIRLINE.KIWI.COM
TON8Y4   10/21/2020   RT   11/30/2020   WN;6893;SLC;SAN                   MONTGOMERYBERG        AL                      US   15247   127807801@AIRLINE.KIWI.COM
TQZ9CT   10/21/2020   OB   10/21/2020   WN;1690;OAK;LAS                   LAWSONBURGH           NY                      US    7611   127811673@AIRLINE.KIWI.COM
TRECQL   10/21/2020   OB   10/22/2020   WN;2607;FLL;HOU                   SOUTH MATTHEWPORT     MO                      US   79985   127811904@AIRLINE.KIWI.COM
TS2M3G   10/21/2020   OB   11/16/2020   WN;394;FLL;ATL                    BRENTSTAD             AK                      US   46156   127812399@AIRLINE.KIWI.COM
TTOUUW   10/21/2020   OB   10/22/2020   WN;785;LAX;HOU                    GRAYMOUTH             MO                      US   89040   127814929@AIRLINE.KIWI.COM
TUQ8GO   10/21/2020   OB    11/5/2020   WN;1120;OAK;LIH                   PAMELABURGH           MN                      US   86713   127815358@AIRLINE.KIWI.COM
TUQ8GO   10/21/2020   OB    11/5/2020   WN;1120;OAK;LIH                   PAMELABURGH           MN                      US   86713   127815358@AIRLINE.KIWI.COM
TV3AQM   10/21/2020   OB   10/31/2020   WN;2274;OAK;BWI;WN;5626;BWI;RDU   BRANDONBOROUGH        WI                      US   89312   127816953@AIRLINE.KIWI.COM
TWDJJ7   10/21/2020   OB   11/17/2020   WN;4207;MSY;ATL                   WEST PHILLIPSHIRE     MN                      US   89919   127818020@AIRLINE.KIWI.COM
TWZLM9   10/21/2020   OB   11/21/2020   WN;6827;SAN;LAS                   ALICIALAND            VA                      US   22278   127819692@AIRLINE.KIWI.COM
TWZLM9   10/21/2020   OB   11/21/2020   WN;6827;SAN;LAS                   ALICIALAND            VA                      US   22278   127819692@AIRLINE.KIWI.COM
TXA9YO   10/21/2020   OB   10/22/2020   WN;2210;SAN;SFO                   SELISHCHE NADIIA      KYIVSKA MISKA RADA      UA   15677   127819340@AIRLINE.KIWI.COM
TXNAEY   10/21/2020   OB    12/6/2020   WN;2323;DEN;CLT                   DANIELLEVIEW          ME                      US   37658   127820429@AIRLINE.KIWI.COM
U24L5F   10/21/2020   OB    11/2/2020   WN;1373;ONT;OAK                   WEST JACQUELINETON    GA                      US   69964   127822618@AIRLINE.KIWI.COM
U24L5F   10/21/2020   RT   11/17/2020   WN;2959;OAK;ONT                   WEST JACQUELINETON    GA                      US   69964   127822618@AIRLINE.KIWI.COM
U2HZA9   10/21/2020   OB   10/22/2020   WN;966;FLL;MDW;WN;6560;MDW;CHS    NEALVIEW              AR                      US   49396   127823212@AIRLINE.KIWI.COM
U4M8U6   10/21/2020   OB   11/16/2020   WN;332;MIA;BWI;WN;861;BWI;CMH     BENSONHAVEN           CA                      US   39841   127825170@AIRLINE.KIWI.COM
U4M8U6   10/21/2020   OB   11/16/2020   WN;332;MIA;BWI;WN;861;BWI;CMH     BENSONHAVEN           CA                      US   39841   127825170@AIRLINE.KIWI.COM
U4QHUE   10/21/2020   OB   10/26/2020   WN;864;ATL;LGA                    EAST THOMAS           CA                      US   68665   127824939@AIRLINE.KIWI.COM
U5GL2Q   10/21/2020   OB    12/6/2020   WN;4262;OAK;DEN                   EAST TAMIVIEW         NJ                      US   42273   127825610@AIRLINE.KIWI.COM
U5QDFE   10/21/2020   OB   10/24/2020   WN;1668;BUR;SJC                   K VERKHOIANSK         SAMARASKAYA OBLAST      RU   28981   127825676@AIRLINE.KIWI.COM
U6PWIZ   10/21/2020   OB   10/24/2020   WN;1464;PHX;MDW                   SOUTH FERNANDOTOWN    AZ                      US   70179   127826523@AIRLINE.KIWI.COM
U7HEFH   10/21/2020   OB   10/29/2020   WN;909;LGA;ATL                    NEW ERINTOWN          MO                      US   84928   127827238@AIRLINE.KIWI.COM
U7HIA7   10/21/2020   OB   11/15/2020   WN;6943;MSY;ATL;WN;154;ATL;LGA    NEW LAUREN            KY                      US   54336   127827128@AIRLINE.KIWI.COM
U9OE48   10/21/2020   OB   10/23/2020   WN;596;OMA;DEN;WN;1115;DEN;HOU    EAST WILLIAM          VT                      US   98978   127828558@AIRLINE.KIWI.COM
J2F4EG   10/22/2020   OB   11/16/2020   WN;1274;MDW;LAS                   SHARPMOUTH            AZ                      US   67734   127920760@AIRLINE.KIWI.COM
J477F3   10/22/2020   OB   10/23/2020   WN;1886;CLT;DAL                   PORT SAMANTHA         DE                      US    7883   127922113@AIRLINE.KIWI.COM
J4Y37P   10/22/2020   OB   10/26/2020   WN;797;LAX;OAK;WN;1563;OAK;PDX    NORTH MARYPORT        NC                      US   23991   127922949@AIRLINE.KIWI.COM
J5ZXKC   10/22/2020   OB   11/27/2020   WN;6314;SAN;PHX                   SOUTH MARGARETSHIRE   NJ                      US   89513   127923950@AIRLINE.KIWI.COM
J63LJB   10/22/2020   OB    2/14/2021   WN;2739;DEN;BNA                   COMBSPORT             SD                      US   31812   127923873@AIRLINE.KIWI.COM
J65E3T   10/22/2020   OB   12/26/2020   WN;2354;SJU;BWI                   PORT ANTHONYSIDE      ID                      US   26303   127923642@AIRLINE.KIWI.COM
J65E3T   10/22/2020   OB   12/26/2020   WN;2354;SJU;BWI                   PORT ANTHONYSIDE      ID                      US   26303   127923642@AIRLINE.KIWI.COM
J69J8O   10/22/2020   OB    2/11/2021   WN;2294;BNA;PHX                   HARDYTOWN             NV                      US   98131   127923873@AIRLINE.KIWI.COM
J7YFQ7   10/22/2020   OB    11/5/2020   WN;325;MCO;MDW                    SHANG HAI SHI         NINGXIA HUIZI ZIZHIQU   CN   71378   127919924@AIRLINE.KIWI.COM
J9AVKR   10/22/2020   OB   10/23/2020   WN;2272;BNA;FLL                   SOUTH CLINTON         RI                      US   22875   127926062@AIRLINE.KIWI.COM
J9I8NI   10/22/2020   OB    11/1/2020   WN;2221;MDW;MSP                   NORTH JEZUPS          AGLONAS NOVADS          LV    1314   127926051@AIRLINE.KIWI.COM
J9KYFG   10/22/2020   OB   10/23/2020   WN;2031;BNA;BWI                   EAST ALEXANDERBERG    SD                      US   84438   127926524@AIRLINE.KIWI.COM
J9ZMFF   10/22/2020   OB    12/9/2020   WN;2850;DEN;PHL                   WEST HEATHER          GA                      US   86944   127926667@AIRLINE.KIWI.COM
J9ZMFF   10/22/2020   OB    12/9/2020   WN;2850;DEN;PHL                   WEST HEATHER          GA                      US   86944   127926667@AIRLINE.KIWI.COM
JA344J   10/22/2020   OB   10/25/2020   WN;184;BWI;BNA                    LAKE KEVIN            NE                      US    7845   127926524@AIRLINE.KIWI.COM
JB6GXK   10/22/2020   OB    11/5/2020   WN;6457;ATL;LAS                   JEFFREYSIDE           OR                      US   72073   127927162@AIRLINE.KIWI.COM
JCKUFH   10/22/2020   OB   11/14/2020   WN;3678;LAX;SMF                   NELSONLAND            IL                      US   27554   127927943@AIRLINE.KIWI.COM
UEGYOX   10/22/2020   OB    2/18/2021   WN;4936;SMF;LAX                   MILLERBERG            NY                      US   26131   127830890@AIRLINE.KIWI.COM




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UEGYOX   10/22/2020   OB    2/18/2021   WN;4936;SMF;LAX                   MILLERBERG             NY                        US   26131   127830890@AIRLINE.KIWI.COM
UEGYOX   10/22/2020   RT    2/23/2021   WN;1149;LAX;SMF                   MILLERBERG             NY                        US   26131   127830890@AIRLINE.KIWI.COM
UEGYOX   10/22/2020   RT    2/23/2021   WN;1149;LAX;SMF                   MILLERBERG             NY                        US   26131   127830890@AIRLINE.KIWI.COM
UGI7AG   10/22/2020   OB   11/13/2020   WN;403;ATL;BNA;WN;432;BNA;AUS     ANTHONYTON             NH                        US   43307   127831704@AIRLINE.KIWI.COM
UHYDFS   10/22/2020   OB   10/22/2020   WN;183;MDW;ATL                    RICKYMOUTH             WV                        US    7065   127832298@AIRLINE.KIWI.COM
UHZQWD   10/22/2020   OB   10/23/2020   WN;6540;DEN;IND                   WEST YVETTE            TN                        US    8968   127832441@AIRLINE.KIWI.COM
UIGIEL   10/22/2020   OB   11/15/2020   WN;228;BWI;JAX                    WASHINGTONBOROUGH      WY                        US    4474   127832859@AIRLINE.KIWI.COM
UIGIEL   10/22/2020   OB   11/15/2020   WN;228;BWI;JAX                    WASHINGTONBOROUGH      WY                        US    4474   127832859@AIRLINE.KIWI.COM
UIPWOU   10/22/2020   OB   11/24/2020   WN;3840;LAX;SMF                   NORTH LACEYPORT        IN                        US   82970   127832991@AIRLINE.KIWI.COM
UIWWC8   10/22/2020   OB    11/6/2020   WN;1361;DEN;MEM                   PORT MICHELETON        TX                        US   45814   127832826@AIRLINE.KIWI.COM
ULB2CJ   10/22/2020   OB   11/23/2020   WN;3950;SEA;SJC                   JILONPR                JAMMU AND KASHMIR         IN   53693   127834322@AIRLINE.KIWI.COM
ULMXRJ   10/22/2020   OB   10/22/2020   WN;2129;OAK;DEN;WN;2230;DEN;PHL   NORTH AMBERCHESTER     AZ                        US   72073   127834806@AIRLINE.KIWI.COM
ULUDBU   10/22/2020   OB   10/22/2020   WN;2056;IND;ATL                   SOUTH JAMES            UT                        US   11854   127834564@AIRLINE.KIWI.COM
ULUDBU   10/22/2020   OB   10/22/2020   WN;2056;IND;ATL                   SOUTH JAMES            UT                        US   11854   127834564@AIRLINE.KIWI.COM
UMS6XP   10/22/2020   OB   10/29/2020   WN;2232;RDU;MDW;WN;330;MDW;DEN    BHAAGLPUR              MANIPUR                   IN   54797   127835345@AIRLINE.KIWI.COM
UN9KTJ   10/22/2020   OB    12/4/2020   WN;2466;DEN;SMF                   WIGGINSVILLE           FL                        US   75047   126646762.1486183@AIRLINE.KIWI.COM
UO8NCQ   10/22/2020   OB   10/24/2020   WN;1995;ATL;LGA                   WEST JERRY             WV                        US   19269   127836060@AIRLINE.KIWI.COM
UOVHHC   10/22/2020   OB   11/24/2020   WN;1884;RDU;MSY                   SMITHHAVEN             MO                        US   61767   127836181@AIRLINE.KIWI.COM
UP7T9S   10/22/2020   OB    11/1/2020   WN;2171;ATL;PHL                   WEST ANGELA            NM                        US   62726   127836445@AIRLINE.KIWI.COM
UPLA9K   10/22/2020   OB   10/28/2020   WN;1750;FLL;MCO                   WEST LINDAVILLE        AL                        US   42396   127836511@AIRLINE.KIWI.COM
UPLA9K   10/22/2020   OB   10/28/2020   WN;1750;FLL;MCO                   WEST LINDAVILLE        AL                        US   42396   127836511@AIRLINE.KIWI.COM
UPVUQX   10/22/2020   OB    12/6/2020   WN;3091;DEN;MCO                   WEST DANIEL            NE                        US   51052   127816073@AIRLINE.KIWI.COM
UPVUQX   10/22/2020   OB    12/6/2020   WN;3091;DEN;MCO                   WEST DANIEL            NE                        US   51052   127816073@AIRLINE.KIWI.COM
UQ6BOW   10/22/2020   OB   11/10/2020   WN;3145;MEM;MDW                   THOMASSIDE             RI                        US   79264   127836852@AIRLINE.KIWI.COM
URD89L   10/22/2020   OB   11/18/2020   WN;6376;DAL;PHX                   XING AN MENG XIAN      HEBEI SHENG               CN   39641   127824499@AIRLINE.KIWI.COM
URZI6B   10/22/2020   OB   10/22/2020   WN;932;LAS;OAK                    LAKE DIANEBURY         WV                        US   64437   127837754@AIRLINE.KIWI.COM
USVQQY   10/22/2020   OB    11/4/2020   WN;6351;DTW;DEN                   SOUTH MARGARETTON      VA                        US   42404   127838216@AIRLINE.KIWI.COM
UTHAZM   10/22/2020   OB   10/22/2020   WN;183;MDW;ATL                    EAST TODD              NM                        US   69602   127838238@AIRLINE.KIWI.COM
UTRQWG   10/22/2020   OB   12/23/2020   WN;2671;SJU;MCO                   SAANPHEBGR             NARAYANI                  NP   76126   127838150@AIRLINE.KIWI.COM
UXKUDV   10/22/2020   OB    11/1/2020   WN;2955;SAT;DEN                   AARONTON               AL                        US   25998   127840042@AIRLINE.KIWI.COM
UYBU68   10/22/2020   OB   11/19/2020   WN;415;ALB;BWI                    RACHAELHAVEN           NM                        US   58252   127840372@AIRLINE.KIWI.COM
UYVDD6   10/22/2020   OB   11/16/2020   WN;1505;OKC;LAS                   NORTH JENNIFERCHESTE   HI                        US   13617   127840515@AIRLINE.KIWI.COM
UYXQZZ   10/22/2020   OB   11/14/2020   WN;418;SJC;OGG                    D LIUBERTSY            TYVA RESPUBLIKA TUVA      RU   37715   127840548@AIRLINE.KIWI.COM
UYXQZZ   10/22/2020   OB   11/14/2020   WN;418;SJC;OGG                    D LIUBERTSY            TYVA RESPUBLIKA TUVA      RU   37715   127840548@AIRLINE.KIWI.COM
UYXQZZ   10/22/2020   RT   11/23/2020   WN;1292;OGG;SJC                   D LIUBERTSY            TYVA RESPUBLIKA TUVA      RU   37715   127840548@AIRLINE.KIWI.COM
UYXQZZ   10/22/2020   RT   11/23/2020   WN;1292;OGG;SJC                   D LIUBERTSY            TYVA RESPUBLIKA TUVA      RU   37715   127840548@AIRLINE.KIWI.COM
UZX3FN   10/22/2020   OB   10/22/2020   WN;2383;OAK;LAX                   KEVINBOROUGH           VA                        US   56586   126767718.1486222@AIRLINE.KIWI.COM
V3OV47   10/22/2020   OB   10/27/2020   WN;865;DEN;PDX                    SELISHCHE VARFOLOMII   ODESKA OBLAST             UA   43649   127842011@AIRLINE.KIWI.COM
V4MIM5   10/22/2020   OB   12/21/2020   WN;855;SMF;PHX;WN;1098;PHX;OKC    WEST BRANDONBURY       CO                        US   59136   127842110@AIRLINE.KIWI.COM
V5JLOR   10/22/2020   OB    11/4/2020   WN;6519;LAS;HOU                   SELISHCHE USTIM        CHERNIHIVSKA OBLAST       UA   87047   127842187@AIRLINE.KIWI.COM
V7RCOE   10/22/2020   OB    11/7/2020   WN;6706;LAS;PHX                   CARLOSTOWN             MO                        US    6633   127843782@AIRLINE.KIWI.COM
V83E67   10/22/2020   OB    11/3/2020   WN;2038;PHX;LAS                   GEORGESIDE             NE                        US   87367   127843771@AIRLINE.KIWI.COM
VALES9   10/22/2020   OB   10/24/2020   WN;1865;LAX;STL                   SOUTH CHRISTINEMOUTH   WI                        US   20836   127846686@AIRLINE.KIWI.COM
VBSAOE   10/22/2020   OB    11/5/2020   WN;6817;ATL;IND                   BURNSBURY              VA                        US   34455   127847940@AIRLINE.KIWI.COM
VGT54S   10/22/2020   OB   11/23/2020   WN;2190;RDU;BWI;WN;102;BWI;MIA    ROMEROFURT             DE                        US   87981   127852769@AIRLINE.KIWI.COM
VLABRD   10/22/2020   OB    11/6/2020   WN;2393;DAL;OAK                   PORT SARAHVIEW         DE                        US   70704   127858049@AIRLINE.KIWI.COM
VLPDGD   10/22/2020   OB    11/5/2020   WN;181;OAK;DAL                    JOELVILLE              MT                        US   10642   127858049@AIRLINE.KIWI.COM
VNEVG2   10/22/2020   OB    11/2/2020   WN;1933;ATL;LGA                   LAKE ANDREW            LA                        US   43599   127860073@AIRLINE.KIWI.COM
VSRYWU   10/22/2020   OB    11/8/2020   WN;6004;CUN;BWI                   JOHNSONCHESTER         FL                        US   93626   127866959@AIRLINE.KIWI.COM
VXZCWI   10/22/2020   OB   10/30/2020   WN;2251;PHX;MDW                   NEW ANNE               MS                        US   44494   127873460@AIRLINE.KIWI.COM
VXZCWI   10/22/2020   OB   10/30/2020   WN;2251;PHX;MDW                   NEW ANNE               MS                        US   44494   127873460@AIRLINE.KIWI.COM
VXZCWI   10/22/2020   OB   10/30/2020   WN;2251;PHX;MDW                   NEW ANNE               MS                        US   44494   127873460@AIRLINE.KIWI.COM
VXZCWI   10/22/2020   OB   10/30/2020   WN;2251;PHX;MDW                   NEW ANNE               MS                        US   44494   127873460@AIRLINE.KIWI.COM
VY4BUZ   10/22/2020   OB   11/13/2020   WN;232;MHT;MCO                    REBECCAVILLE           KY                        US   25864   127873493@AIRLINE.KIWI.COM
VYOEP8   10/22/2020   OB    11/8/2020   WN;6108;BNA;PHL                   HALLMOUTH              MT                        US   85538   127873757@AIRLINE.KIWI.COM
VYOEP8   10/22/2020   OB    11/8/2020   WN;6108;BNA;PHL                   HALLMOUTH              MT                        US   85538   127873757@AIRLINE.KIWI.COM
VYOPOX   10/22/2020   OB   12/26/2020   WN;1923;TPA;SJU                   ANDERSONCHESTER        MS                        US   10996   127874120@AIRLINE.KIWI.COM
VYOPOX   10/22/2020   OB   12/26/2020   WN;1923;TPA;SJU                   ANDERSONCHESTER        MS                        US   10996   127874120@AIRLINE.KIWI.COM
W2HDHF   10/22/2020   OB   12/31/2020   WN;5035;SJU;FLL                   XIN DAO CUN            OSAKA                     JP    3404   127874956@AIRLINE.KIWI.COM
W2HDHF   10/22/2020   OB   12/31/2020   WN;5035;SJU;FLL                   XIN DAO CUN            OSAKA                     JP    3404   127874956@AIRLINE.KIWI.COM
W2KQIM   10/22/2020   OB   11/15/2020   WN;1014;MIA;MDW                   HENRIKSEN              JAN MAYEN ARCTIC REGION   NO   52275   127876265@AIRLINE.KIWI.COM
W44H29   10/22/2020   OB   12/28/2020   WN;663;MSY;TPA;WN;1061;TPA;MIA    LAKE CHRISTYSHIRE      MI                        US    6619   127878080@AIRLINE.KIWI.COM
W44H29   10/22/2020   OB   12/28/2020   WN;663;MSY;TPA;WN;1061;TPA;MIA    LAKE CHRISTYSHIRE      MI                        US    6619   127878080@AIRLINE.KIWI.COM
W53GG4   10/22/2020   OB   11/12/2020   WN;304;MEM;HOU                    NORTH PHILIPVILLE      OK                        US   87223   127879301@AIRLINE.KIWI.COM
W58DYD   10/22/2020   OB   11/16/2020   WN;598;HOU;ATL                    MAURICEVIEW            SD                        US   86876   127879807@AIRLINE.KIWI.COM
W68FE7   10/22/2020   OB   10/22/2020   WN;1927;DSM;DEN                   NORTH JULIE            FL                        US   27479   127880632@AIRLINE.KIWI.COM
W6TX2O   10/22/2020   OB   10/31/2020   WN;2354;LGA;ATL                   WISEMOUTH              TN                        US   76925   127881072@AIRLINE.KIWI.COM
W88GPA   10/22/2020   OB   10/25/2020   WN;113;LAX;SFO                    NEW DAVID              NH                        US    7495   127883118@AIRLINE.KIWI.COM
W8VHJX   10/22/2020   OB    11/2/2020   WN;2458;DEN;ABQ                   NEW BRANDYHAVEN        GA                        US   92515   127883206@AIRLINE.KIWI.COM
W8VHJX   10/22/2020   OB    11/2/2020   WN;2458;DEN;ABQ                   NEW BRANDYHAVEN        GA                        US   92515   127883206@AIRLINE.KIWI.COM
WBM5V9   10/22/2020   OB   11/23/2020   WN;4029;IND;DEN;WN;1987;DEN;RNO   NORTH MICHAELVIEW      CA                        US   62852   127887551@AIRLINE.KIWI.COM
WCOTFT   10/22/2020   OB    1/14/2021   WN;1623;TPA;BNA                   NORTH JEFFREYSIDE      KS                        US   67872   127888288@AIRLINE.KIWI.COM
WCPHSV   10/22/2020   OB    1/17/2021   WN;2288;BNA;TPA                   ROGERSPORT             MD                        US   89025   127888464@AIRLINE.KIWI.COM
WDNB3K   10/22/2020   OB   10/23/2020   WN;1178;ATL;MDW                   MCKENZIETON            RI                        US   31494   127889894@AIRLINE.KIWI.COM
WEEBPV   10/22/2020   OB   12/30/2020   WN;1051;MIA;BWI                   JULIEFURT              AZ                        US   66510   127891434@AIRLINE.KIWI.COM
WEKAL3   10/22/2020   OB    11/5/2020   WN;313;BWI;MDW                    MICHAELCHESTER         NC                        US   51722   127891522@AIRLINE.KIWI.COM
WEVM7K   10/22/2020   OB    11/5/2020   WN;6906;MDW;SAN                   ROBERTHAVEN            RI                        US    2746   127891522@AIRLINE.KIWI.COM
WF4NF5   10/22/2020   OB   11/25/2020   WN;6731;CLT;MDW                   LEEMOUTH               NC                        US   78949   127892171@AIRLINE.KIWI.COM
WFQECL   10/22/2020   OB   11/16/2020   WN;1291;SMF;OGG                   ALLENFURT              ME                        US   55358   127893667@AIRLINE.KIWI.COM
WFWPY6   10/22/2020   OB   12/10/2020   WN;4873;OGG;SMF                   NEW ERICSTAD           VT                        US   36074   127893667@AIRLINE.KIWI.COM
WFXELK   10/22/2020   OB   10/23/2020   WN;928;IAD;ATL                    SABRINAFURT            NH                        US   69276   127893458@AIRLINE.KIWI.COM
WFXELK   10/22/2020   OB   10/23/2020   WN;928;IAD;ATL                    SABRINAFURT            NH                        US   69276   127893458@AIRLINE.KIWI.COM
WFXELK   10/22/2020   RT   10/26/2020   WN;1064;ATL;IAD                   SABRINAFURT            NH                        US   69276   127893458@AIRLINE.KIWI.COM
WFXELK   10/22/2020   RT   10/26/2020   WN;1064;ATL;IAD                   SABRINAFURT            NH                        US   69276   127893458@AIRLINE.KIWI.COM
WGSGK7   10/22/2020   OB   10/28/2020   WN;2098;LAS;LAX                   PORT AZALIIACHESTER    MONTANA                   BG   76421   127895350@AIRLINE.KIWI.COM
WGY7GJ   10/22/2020   OB    12/7/2020   WN;3236;DEN;BWI;WN;102;BWI;MIA    WEST KRISTOPHER        AR                        US    7727   127895284@AIRLINE.KIWI.COM
WH4OZR   10/22/2020   OB   10/27/2020   WN;308;CUN;HOU                    SEONGNAMSI JUNGWEONG   CHUNGCHEONGBUKDO          KR   25202   127894426@AIRLINE.KIWI.COM
WHB5ZY   10/22/2020   OB   10/22/2020   WN;1522;DEN;BNA                   PORT DANIEL            WA                        US   67370   127895493@AIRLINE.KIWI.COM
WIRHZT   10/22/2020   OB   12/22/2020   WN;1101;SLC;DEN;WN;1157;DEN;GRR   JAMESBURGH             MN                        US   83512   123868316@AIRLINE.KIWI.COM
WIRHZT   10/22/2020   OB   12/22/2020   WN;1101;SLC;DEN;WN;1157;DEN;GRR   JAMESBURGH             MN                        US   83512   123868316@AIRLINE.KIWI.COM
WIRHZT   10/22/2020   RT   12/29/2020   WN;578;GRR;DEN;WN;615;DEN;SLC     JAMESBURGH             MN                        US   83512   123868316@AIRLINE.KIWI.COM
WIRHZT   10/22/2020   RT   12/29/2020   WN;578;GRR;DEN;WN;615;DEN;SLC     JAMESBURGH             MN                        US   83512   123868316@AIRLINE.KIWI.COM
WIVQMK   10/22/2020   OB   10/23/2020   WN;928;IAD;ATL                    SANTIAGOPORT           MT                        US   16950   127897594@AIRLINE.KIWI.COM
WIZESC   10/22/2020   OB   11/13/2020   WN;6672;SAT;LAS                   NEW JESSICAPORT        CA                        US    3928   127898133@AIRLINE.KIWI.COM
WIZESC   10/22/2020   OB   11/13/2020   WN;6672;SAT;LAS                   NEW JESSICAPORT        CA                        US    3928   127898133@AIRLINE.KIWI.COM
WKTOLW   10/22/2020   OB   11/19/2020   WN;6842;SAT;LAS;WN;575;LAS;SFO    CHRISTINEBURGH         VA                        US    8731   127900454@AIRLINE.KIWI.COM
WKTOLW   10/22/2020   RT    12/1/2020   WN;416;SFO;LAS;WN;6710;LAS;SAT    CHRISTINEBURGH         VA                        US    8731   127900454@AIRLINE.KIWI.COM
WL7O5O   10/22/2020   OB    11/3/2020   WN;313;LAS;DEN;WN;1655;DEN;BOS    DUREN                  AP                        US   49718   122631212@AIRLINE.KIWI.COM
WL7O5O   10/22/2020   OB    11/3/2020   WN;313;LAS;DEN;WN;1655;DEN;BOS    DUREN                  AP                        US   49718   122631212@AIRLINE.KIWI.COM
WM6PVX   10/22/2020   OB   10/25/2020   WN;1807;SFO;DEN;WN;1770;DEN;AUS   EAST JENNIFER          UT                        US   76698   127903556@AIRLINE.KIWI.COM
WM6PVX   10/22/2020   OB   10/25/2020   WN;1807;SFO;DEN;WN;1770;DEN;AUS   EAST JENNIFER          UT                        US   76698   127903556@AIRLINE.KIWI.COM
WN42BV   10/22/2020   OB   11/25/2020   WN;3556;SAN;PHX;WN;3724;PHX;SAT   KENNETHLAND            NJ                        US   82343   123894353@AIRLINE.KIWI.COM
WN42BV   10/22/2020   RT   11/29/2020   WN;2027;SAT;DEN;WN;4922;DEN;SAN   KENNETHLAND            NJ                        US   82343   123894353@AIRLINE.KIWI.COM
WNAGNU   10/22/2020   OB   12/12/2020   WN;7;DAL;MSY                      JUSTINTON              AL                        US    4928   127905316@AIRLINE.KIWI.COM
WNB5D8   10/22/2020   OB   10/25/2020   WN;2626;MDW;LAX                   MICHAELSTAD            UT                        US    1619   127904656@AIRLINE.KIWI.COM
WNS73O   10/22/2020   OB   11/17/2020   WN;4971;BNA;ECP                   EAST BRENDA            FL                        US   47702   126972087.1486510@AIRLINE.KIWI.COM
WOX6VX   10/22/2020   OB   10/24/2020   WN;2280;DAL;ABQ                   VIEJA CHAD             CHIAPAS                   MX   49488   127907780@AIRLINE.KIWI.COM




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WPNVDK   10/22/2020   OB   11/21/2020   WN;6898;PHX;AUS                   SOUTH CINDYPORT        CT                   US    23989   127908286@AIRLINE.KIWI.COM
WPVUFJ   10/22/2020   OB    12/2/2020   WN;3413;RNO;LAS                   RUSSELLVIEW            NM                   US    85711   127908506@AIRLINE.KIWI.COM
WQRP8Q   10/22/2020   OB    11/9/2020   WN;227;LAX;SFO                    PORT MICHAEL           MN                   US    10886   127909617@AIRLINE.KIWI.COM
WRV59Q   10/22/2020   OB     1/7/2021   WN;1282;OAK;HNL                   SOUTH JOHNLAND         LA                   US    57895   127910640@AIRLINE.KIWI.COM
WRV59Q   10/22/2020   OB     1/7/2021   WN;1282;OAK;HNL                   SOUTH JOHNLAND         LA                   US    57895   127910640@AIRLINE.KIWI.COM
WSR9R8   10/22/2020   OB   12/28/2020   WN;5581;ATL;DEN                   PEREZBOROUGH           MD                   US    32431   127912675@AIRLINE.KIWI.COM
WSR9R8   10/22/2020   OB   12/28/2020   WN;5581;ATL;DEN                   PEREZBOROUGH           MD                   US    32431   127912675@AIRLINE.KIWI.COM
WU4X2O   10/22/2020   OB   10/30/2020   WN;2425;SLC;LAX                   EAST KRISTIMOUTH       MA                   US    40155   127913786@AIRLINE.KIWI.COM
WUMADO   10/22/2020   OB   12/27/2020   WN;3857;PHX;LAX                   SOUTH KRISTENTOWN      KS                   US    26503   127914116@AIRLINE.KIWI.COM
WUXSW2   10/22/2020   OB   10/25/2020   WN;2591;BUR;LAS                   BEVERLYTON             ND                   US    97373   127914413@AIRLINE.KIWI.COM
WXCUKW   10/22/2020   OB   11/29/2020   WN;6841;SLC;LAS                   DAUGHERTYHAVEN         MA                   US    62701   127917878@AIRLINE.KIWI.COM
WXNI5F   10/22/2020   OB   12/23/2020   WN;3613;PHX;SLC                   FORDPORT               TN                   US    87721   127917394@AIRLINE.KIWI.COM
WXNI5F   10/22/2020   OB   12/23/2020   WN;3613;PHX;SLC                   FORDPORT               TN                   US    87721   127917394@AIRLINE.KIWI.COM
JFWH84   10/23/2020   OB   10/27/2020   WN;2536;TPA;ATL                   NEW PAUL               CA                   US    33957   127929505@AIRLINE.KIWI.COM
JJA2HD   10/23/2020   OB   10/26/2020   WN;6581;PNS;HOU;WN;2428;HOU;SAT   PORT PHILLIPCHESTER    SC                   US    67813   127931661@AIRLINE.KIWI.COM
JJOU4T   10/23/2020   OB    11/6/2020   WN;849;LGA;BNA                    WOODLAND               MD                   US    27936   127931771@AIRLINE.KIWI.COM
JJOU4T   10/23/2020   OB    11/6/2020   WN;849;LGA;BNA                    WOODLAND               MD                   US    27936   127931771@AIRLINE.KIWI.COM
JJOU4T   10/23/2020   RT    11/8/2020   WN;529;BNA;LGA                    WOODLAND               MD                   US    27936   127931771@AIRLINE.KIWI.COM
JJOU4T   10/23/2020   RT    11/8/2020   WN;529;BNA;LGA                    WOODLAND               MD                   US    27936   127931771@AIRLINE.KIWI.COM
JKWWBA   10/23/2020   OB    11/9/2020   WN;6538;SMF;PHX                   WEST TIMOTHYBURY       WI                   US     5934   127932739@AIRLINE.KIWI.COM
JO6ULI   10/23/2020   OB   10/23/2020   WN;1691;DEN;LAS                   NORTH BONNIE           OK                   US     3845   127934774@AIRLINE.KIWI.COM
JPNU6N   10/23/2020   OB   11/26/2020   WN;2202;BNA;DAL                   CANNONBURGH            NY                   US    93648   127935753@AIRLINE.KIWI.COM
JQ3AHJ   10/23/2020   OB   11/26/2020   WN;6667;ATL;DCA                   EAST SARAHSIDE         MS                   US    15539   127935962@AIRLINE.KIWI.COM
JSQGP2   10/23/2020   OB     1/4/2021   WN;1040;MHT;BWI;WN;381;BWI;ORF    PORT NICHOLAS          AR                   US    73273   127938371@AIRLINE.KIWI.COM
JSQGP2   10/23/2020   RT    1/11/2021   WN;5016;ORF;BWI;WN;2570;BWI;MHT   PORT NICHOLAS          AR                   US    73273   127938371@AIRLINE.KIWI.COM
JTNZ2O   10/23/2020   OB   11/15/2020   WN;288;PHX;OAK                    ELLENFURT              TN                   US    96745   127939438@AIRLINE.KIWI.COM
JVAQ6A   10/23/2020   OB   11/24/2020   WN;6850;BNA;MKE                   KRAUSEBOROUGH          MT                   US    31065   127940769@AIRLINE.KIWI.COM
JW9LWD   10/23/2020   OB    11/1/2020   WN;2121;DEN;SEA                   EAST JACOB             MO                   US    31491   127941363@AIRLINE.KIWI.COM
JWHEJU   10/23/2020   OB   10/23/2020   WN;2621;MCO;RDU                   WILLIAMSIDE            SD                   US    31390   127942122@AIRLINE.KIWI.COM
JWI8YM   10/23/2020   OB   10/23/2020   WN;3225;PHX;ELP                   NEW CYNTHIA            HI                   US    43722   127941946@AIRLINE.KIWI.COM
JXKUMA   10/23/2020   OB   10/23/2020   WN;133;PHL;DEN                    NEW SCOTT              AL                   US    30992   127943035@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWDD6   10/23/2020   OB    11/6/2020   WN;369;MDW;OMA                    ERIKATON               NY                   US     6406   127943585@AIRLINE.KIWI.COM
JYWIAV   10/23/2020   OB   10/23/2020   WN;1997;MSP;MDW;WN;2482;MDW;PIT   DERRICKBERG            MI                   US    94408   127943673@AIRLINE.KIWI.COM
JZBCYS   10/23/2020   OB   10/31/2020   WN;1227;DEN;ICT                   GRAHAMTOWN             OH                   US    33382   127943849@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
JZFX9R   10/23/2020   OB    11/8/2020   WN;1024;OMA;MDW                   EAST STEVENBURGH       ID                   US    92709   127944135@AIRLINE.KIWI.COM
K3IOCO   10/23/2020   OB   11/18/2020   WN;2723;HOU;MIA                   SOUTH TERRI            NE                   US    67799   127945939@AIRLINE.KIWI.COM
K3IOCO   10/23/2020   RT   11/21/2020   WN;4557;MIA;HOU                   SOUTH TERRI            NE                   US    67799   127945939@AIRLINE.KIWI.COM
K3WDOT   10/23/2020   OB   11/26/2020   WN;2728;DEN;MSY                   LAKE WESLEYLAND        NV                   US    67849   127945884@AIRLINE.KIWI.COM
K68X26   10/23/2020   OB   11/18/2020   WN;2723;HOU;MIA                   SOUTH AMANDA           KY                   US    86298   127947688@AIRLINE.KIWI.COM
K68X26   10/23/2020   OB   11/18/2020   WN;2723;HOU;MIA                   SOUTH AMANDA           KY                   US    86298   127947688@AIRLINE.KIWI.COM
K68X26   10/23/2020   RT   11/21/2020   WN;4557;MIA;HOU                   SOUTH AMANDA           KY                   US    86298   127947688@AIRLINE.KIWI.COM
K68X26   10/23/2020   RT   11/21/2020   WN;4557;MIA;HOU                   SOUTH AMANDA           KY                   US    86298   127947688@AIRLINE.KIWI.COM
K6M5TQ   10/23/2020   OB    1/12/2021   WN;5035;SJU;FLL                   KRUZEFURT              RIGA                 LV    74406   127948161@AIRLINE.KIWI.COM
K6M5TQ   10/23/2020   OB    1/12/2021   WN;5035;SJU;FLL                   KRUZEFURT              RIGA                 LV    74406   127948161@AIRLINE.KIWI.COM
K6M5TQ   10/23/2020   OB    1/12/2021   WN;5035;SJU;FLL                   KRUZEFURT              RIGA                 LV    74406   127948161@AIRLINE.KIWI.COM
K6ZLKU   10/23/2020   OB    12/3/2020   WN;4202;ATL;DEN                   LAKE ANDREWFURT        PA                   US    38700   127948623@AIRLINE.KIWI.COM
K79ZXX   10/23/2020   OB    12/3/2020   WN;4202;ATL;DEN                   SOUTH ALEXTOWN         NJ                   US    74619   127948623@AIRLINE.KIWI.COM
K7PO7J   10/23/2020   OB   11/16/2020   WN;1316;PSP;OAK                   RAANIITAAL             GUJARAT              IN    87082   127949162@AIRLINE.KIWI.COM
KGOQUM   10/23/2020   OB   11/17/2020   WN;4191;MSP;MDW;WN;3306;MDW;MIA   SOUTH JUANPORT         ND                   US    53496   127951274@AIRLINE.KIWI.COM
KGVNQK   10/23/2020   OB    11/3/2020   WN;2666;LAS;MDW                   DAVIDTOWN              MD                   US    56530   127958710@AIRLINE.KIWI.COM
KHLM78   10/23/2020   OB   10/30/2020   WN;775;STL;LAS;WN;2507;LAS;LAX    TODDSTAD               TN                   US    15758   127959634@AIRLINE.KIWI.COM
KHS6TD   10/23/2020   OB    11/5/2020   WN;655;MCO;SAT                    MERCEDESLAND           TX                   US    31100   127959469@AIRLINE.KIWI.COM
KISZEV   10/23/2020   OB   10/23/2020   WN;2578;BNA;LAS                   PORT MICHAELTOWN       WA                   US    83110   127961240@AIRLINE.KIWI.COM
KJBGED   10/23/2020   OB    11/1/2020   WN;2171;ATL;PHL                   WILSONHAVEN            HI                   US    87022   127961757@AIRLINE.KIWI.COM
KJBGED   10/23/2020   OB    11/1/2020   WN;2171;ATL;PHL                   WILSONHAVEN            HI                   US    87022   127961757@AIRLINE.KIWI.COM
KVOO7F   10/23/2020   OB   10/23/2020   WN;2477;ATL;HOU                   PORT CHRISTINECHESTE   AL                   US    30083   127978587@AIRLINE.KIWI.COM
KVOO7F   10/23/2020   OB   10/23/2020   WN;2477;ATL;HOU                   PORT CHRISTINECHESTE   AL                   US    30083   127978587@AIRLINE.KIWI.COM
KW6LXC   10/23/2020   OB   11/22/2020   WN;855;PHX;LAS;WN;855;LAS;MSP     PORT CODY              NC                   US    27242   127978389@AIRLINE.KIWI.COM
KXKYAT   10/23/2020   OB   11/10/2020   WN;642;OAK;DEN                    WEST MATTHEW           WA                   US    87663   127980160@AIRLINE.KIWI.COM
KYQRCR   10/23/2020   OB   11/19/2020   WN;4443;TPA;LGA                   EAST SANDRABURGH       YUKON TERRITORY      CA    41784   127981579@AIRLINE.KIWI.COM
KZADMY   10/23/2020   OB   11/18/2020   WN;2673;BDL;BWI;WN;2534;BWI;MCI   BROOKSFORT             UT                   US    35141   127982525@AIRLINE.KIWI.COM
KZN6DY   10/23/2020   OB   10/25/2020   WN;2472;SFO;LAX                   S ALEKSANDROV          LIPETSKAYA OBLAST    RU    44968   127982822@AIRLINE.KIWI.COM
L26IBY   10/23/2020   OB   10/30/2020   WN;2612;PHL;ATL                   MATTHEWCHESTER         IL                   US    30213   127983746@AIRLINE.KIWI.COM
L2WKVV   10/23/2020   OB   12/18/2020   WN;653;TUS;LAS                    WEST TAYLOR            NV                   US    45207   126510681.1487171@AIRLINE.KIWI.COM
L2WKVV   10/23/2020   RT     1/3/2021   WN;1773;LAS;TUS                   WEST TAYLOR            NV                   US    45207   126510681.1487171@AIRLINE.KIWI.COM
L36JS4   10/23/2020   OB   10/23/2020   WN;2450;HOU;FLL                   WEST AMANDA            RI                   US    87113   127984274@AIRLINE.KIWI.COM
L7S29P   10/23/2020   OB   11/21/2020   WN;6994;IND;DAL                   MICHAELMOUTH           MA                   US     4626   127991314@AIRLINE.KIWI.COM
L7S29P   10/23/2020   RT   11/27/2020   WN;2040;DAL;ATL;WN;6817;ATL;IND   MICHAELMOUTH           MA                   US     4626   127991314@AIRLINE.KIWI.COM
L9BQJ6   10/23/2020   OB   10/26/2020   WN;1458;BWI;MCO;WN;2345;MCO;ATL   PERRYMOUTH             CA                   US    27029   127987695@AIRLINE.KIWI.COM
L9BQJ6   10/23/2020   OB   10/26/2020   WN;1458;BWI;MCO;WN;2345;MCO;ATL   PERRYMOUTH             CA                   US    27029   127987695@AIRLINE.KIWI.COM
L9BQJ6   10/23/2020   OB   10/26/2020   WN;1458;BWI;MCO;WN;2345;MCO;ATL   PERRYMOUTH             CA                   US    27029   127987695@AIRLINE.KIWI.COM
L9BQJ6   10/23/2020   OB   10/26/2020   WN;1458;BWI;MCO;WN;2345;MCO;ATL   PERRYMOUTH             CA                   US    27029   127987695@AIRLINE.KIWI.COM
L9BQJ6   10/23/2020   OB   10/26/2020   WN;1458;BWI;MCO;WN;2345;MCO;ATL   PERRYMOUTH             CA                   US    27029   127987695@AIRLINE.KIWI.COM
L9BQJ6   10/23/2020   OB   10/26/2020   WN;1458;BWI;MCO;WN;2345;MCO;ATL   PERRYMOUTH             CA                   US    27029   127987695@AIRLINE.KIWI.COM
L9DDLX   10/23/2020   OB   10/30/2020   WN;2299;HOU;MDW                   NORTH MICHAEL          KS                   US    50157   127993360@AIRLINE.KIWI.COM
LBTI7R   10/23/2020   OB    11/1/2020   WN;257;BDL;BWI;WN;10;BWI;CLT      AYALACHESTER           MD                   US    29980   127996297@AIRLINE.KIWI.COM
LBVFC4   10/23/2020   OB    11/1/2020   WN;257;BDL;BWI;WN;10;BWI;CLT      WEST ADRIANA           HI                   US    80652   127997375@AIRLINE.KIWI.COM
LDBCW8   10/23/2020   OB   10/23/2020   WN;1109;LAX;OAK                   RUBENSIDE              IA                   US    91533   127999025@AIRLINE.KIWI.COM
LDBCW8   10/23/2020   OB   10/23/2020   WN;1109;LAX;OAK                   RUBENSIDE              IA                   US    91533   127999025@AIRLINE.KIWI.COM
LEF6VN   10/23/2020   OB   10/24/2020   WN;2257;ATL;IND                   NEW KAYLA              NY                   US    89289   127999828@AIRLINE.KIWI.COM
LEIU5Z   10/23/2020   OB    11/1/2020   WN;2478;SJC;LAX                   MCCOYFORT              IN                   US    83044   127999817@AIRLINE.KIWI.COM
LFBBMB   10/23/2020   OB   10/29/2020   WN;1840;CLE;BWI;WN;1285;BWI;DAL   APRILVIEW              NM                   US    88354   128001654@AIRLINE.KIWI.COM
LG2GRI   10/23/2020   OB    11/1/2020   WN;2110;LAX;MCI;WN;2110;MCI;MDW   NEW JAMES              AR                   US    51749   128002457@AIRLINE.KIWI.COM
LG2GRI   10/23/2020   OB    11/1/2020   WN;2110;LAX;MCI;WN;2110;MCI;MDW   NEW JAMES              AR                   US    51749   128002457@AIRLINE.KIWI.COM
LGAJIW   10/23/2020   OB   11/27/2020   WN;6399;SLC;LAX                   LAKE TERRYBERG         NV                   US    55043   128002952@AIRLINE.KIWI.COM
LITOWR   10/23/2020   OB    11/6/2020   WN;1257;DEN;BNA                   WEST STEVENVILLE       CA                   US    39845   128008793@AIRLINE.KIWI.COM
LKWQAN   10/23/2020   OB   11/19/2020   WN;142;BWI;MIA                    NORTH AMBERHAVEN       KY                   US    79245   128011763@AIRLINE.KIWI.COM
LLXXLC   10/23/2020   OB   11/10/2020   WN;3468;BOI;DEN;WN;1016;DEN;PIT   EAST ALAN              CO                   US    49023   128013314@AIRLINE.KIWI.COM
LNJGAA   10/23/2020   OB    11/9/2020   WN;6329;LAX;MDW                   LAKE JAMESVILLE        TN                   US    89177   128014601@AIRLINE.KIWI.COM
LNKJMS   10/23/2020   OB   10/23/2020   WN;1927;DEN;OKC                   OCONNELLFORT           MD                   US    31580   128015041@AIRLINE.KIWI.COM
LO33G8   10/23/2020   OB   10/24/2020   WN;2641;ATL;BWI;WN;862;BWI;BUF    GREGORYBERG            PA                   US    31122   128015503@AIRLINE.KIWI.COM
LP6HSY   10/23/2020   OB   10/23/2020   WN;1659;BUR;PHX                   WEST BETHPORT          NV                   US     4700   128016823@AIRLINE.KIWI.COM
LPDEXN   10/23/2020   OB   10/23/2020   WN;2117;LAX;SMF                   EAST JEFFVILLE         KY                   US    71889   128017296@AIRLINE.KIWI.COM
LQB85B   10/23/2020   OB   10/23/2020   WN;135;LAS;LAX                    EAST FRANKLINBERG      MO                   US    26750   128018759@AIRLINE.KIWI.COM
LR2O4F   10/23/2020   OB    11/2/2020   WN;1888;HOU;MCO;WN;2171;MCO;ATL   JOSHUAMOUTH            MS                   US    51311   128019342@AIRLINE.KIWI.COM




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LUDK4P   10/23/2020   OB    11/7/2020   WN;3466;ATL;HOU                      GUERREROSTAD           ME                          US   33192   128023687@AIRLINE.KIWI.COM
LWAAN2   10/23/2020   OB     1/5/2021   WN;1033;AUS;DAL                      PAYET                  VOSGES                      FR   13866   128026030@AIRLINE.KIWI.COM
LY7UB8   10/23/2020   OB   10/26/2020   WN;2102;LAX;HOU;WN;2468;HOU;CRP      HOWARDLAND             ID                          US   27407   128027856@AIRLINE.KIWI.COM
LY7UB8   10/23/2020   OB   10/26/2020   WN;2102;LAX;HOU;WN;2468;HOU;CRP      HOWARDLAND             ID                          US   27407   128027856@AIRLINE.KIWI.COM
LYTTAK   10/23/2020   OB   12/15/2020   WN;1376;HNL;SJC                      EAST LISALAND          NM                          US   42152   128028824@AIRLINE.KIWI.COM
M3XDCX   10/23/2020   OB   12/17/2020   WN;614;MCO;DEN                       WEST DAVID             IA                          US   17474   128031343@AIRLINE.KIWI.COM
M3Y6BG   10/23/2020   OB   10/25/2020   WN;2229;CMH;ATL                      WEST ALEJANDRA         CA                          US   93853   128030727@AIRLINE.KIWI.COM
M4CANS   10/23/2020   OB   12/20/2020   WN;2138;DEN;MCO                      SCOTTBURY              IL                          US   58781   128031343@AIRLINE.KIWI.COM
M4JR7S   10/23/2020   OB     1/9/2021   WN;2070;BWI;FLL                      WEST JOSEPHBOROUGH     PA                          US   16407   128031398@AIRLINE.KIWI.COM
M5JTG7   10/23/2020   OB    12/5/2020   WN;3727;STL;ATL                      NEW SHANNON            TX                          US   65820   128032454@AIRLINE.KIWI.COM
M5MPLE   10/23/2020   OB    11/8/2020   WN;413;LAS;LAX                       NEW AMBERBURGH         MO                          US   67846   128032344@AIRLINE.KIWI.COM
M5VNQB   10/23/2020   OB    12/5/2020   WN;1677;ATL;TPA                      FRANCOFURT             MO                          US   65374   128032454@AIRLINE.KIWI.COM
M67JYG   10/23/2020   OB    11/4/2020   WN;743;LAS;OAK                       PARIAMAN               SULAWESI TENGAH             ID    2028   128032861@AIRLINE.KIWI.COM
M6NU4H   10/23/2020   OB   10/26/2020   WN;864;ATL;LGA                       WILLIAMSFURT           SALFORD                     GB   46677   128032960@AIRLINE.KIWI.COM
M9JSBB   10/23/2020   OB   11/12/2020   WN;1176;SFO;DEN                      SUZANNEVIEW            MT                          US   90218   128034401@AIRLINE.KIWI.COM
MB7CDM   10/23/2020   OB   10/24/2020   WN;2522;SMF;LAX                      G ZAVIALIKHA           ULYANOVSKAYA OBLAST         RU   69821   128035501@AIRLINE.KIWI.COM
MB9JRK   10/23/2020   OB   10/24/2020   WN;2063;LAS;SMF                      HOPKINSFORT            ME                          US   81997   128035622@AIRLINE.KIWI.COM
MCTFCQ   10/23/2020   OB   10/29/2020   WN;2098;LAS;LAX                      HARRISHAVEN            RI                          US   27853   128036172@AIRLINE.KIWI.COM
ME8W5F   10/24/2020   OB    11/7/2020   WN;2777;SNA;OAK                      PEIXOTO                ALAGOAS                     BR   62166   128036744@AIRLINE.KIWI.COM
MGF9UI   10/24/2020   OB   10/29/2020   WN;2040;HOU;BNA                      BISCHOFSHOFEN          NIEDEROSTERREICH            AT   43704   128037668@AIRLINE.KIWI.COM
MGF9UI   10/24/2020   RT    11/2/2020   WN;1473;BNA;HOU                      BISCHOFSHOFEN          NIEDEROSTERREICH            AT   43704   128037668@AIRLINE.KIWI.COM
MK35KY   10/24/2020   OB    11/5/2020   WN;1046;CLT;BWI;WN;476;BWI;DEN       RICEMOUTH              NC                          US   12678   128039065@AIRLINE.KIWI.COM
MKRAS5   10/24/2020   OB    11/8/2020   WN;763;DEN;CLT                       NEW ARIANAMOUTH        WV                          US   77294   128039219@AIRLINE.KIWI.COM
MLXZXP   10/24/2020   OB   11/16/2020   WN;142;BWI;MIA                       SILVEIRA               PARA                        BR   12563   128039549@AIRLINE.KIWI.COM
MN36BV   10/24/2020   OB    11/8/2020   WN;763;DEN;CLT                       JESSICABURY            WI                          US   93093   128038471@AIRLINE.KIWI.COM
MOSWFN   10/24/2020   OB    11/6/2020   WN;197;FLL;SJU                       JULIANBOROUGH          HI                          US    4250   128040396@AIRLINE.KIWI.COM
MOZM8Q   10/24/2020   OB   10/29/2020   WN;1336;HNL;OGG                      WEST ROGERLAND         GA                          US   65564   128040649@AIRLINE.KIWI.COM
MQR6OF   10/24/2020   OB   11/16/2020   WN;662;MIA;HOU;WN;339;HOU;MSY        PORT PHILIP            WY                          US   73734   128041694@AIRLINE.KIWI.COM
MRG4VQ   10/24/2020   OB    11/2/2020   WN;1770;LAX;SLC                      NEW KRYSTAL            FL                          US   91082   128042200@AIRLINE.KIWI.COM
MRUZYP   10/24/2020   OB   10/31/2020   WN;2312;LAS;OAK                      HUGHESSTAD             WA                          US   34826   128042079@AIRLINE.KIWI.COM
MSJ9L7   10/24/2020   OB    11/1/2020   WN;2290;OAK;PHX                      WEST JEANPORT          IL                          US    9005   128042541@AIRLINE.KIWI.COM
MSU8K4   10/24/2020   OB   12/21/2020   WN;948;MCO;BUF                       ELVAS                  VIANA DO CASTELO            PT   83135   128029528@AIRLINE.KIWI.COM
MTXAM9   10/24/2020   OB    11/2/2020   WN;2626;MDW;LAX                      LAMBERTBERG            CA                          US   48576   128043102@AIRLINE.KIWI.COM
MTXAM9   10/24/2020   OB    11/2/2020   WN;2626;MDW;LAX                      LAMBERTBERG            CA                          US   48576   128043102@AIRLINE.KIWI.COM
MU4B2R   10/24/2020   OB   10/24/2020   WN;1954;SJC;BUR;WN;148;BUR;PHX       PORT KATHRYN           DE                          US    4641   128043025@AIRLINE.KIWI.COM
MVL7B6   10/24/2020   OB   12/11/2020   WN;3631;HOU;LAX                      SKINNERHAVEN           CHATHAM ISLANDS TERRITORY   NZ   69839   128043509@AIRLINE.KIWI.COM
MVL7B6   10/24/2020   RT   12/20/2020   WN;1437;LAX;HOU                      SKINNERHAVEN           CHATHAM ISLANDS TERRITORY   NZ   69839   128043509@AIRLINE.KIWI.COM
MVLSYS   10/24/2020   OB     2/8/2021   WN;1962;MCO;MDW;WN;2510;MDW;LAX      PAULHAVEN              SC                          US   59502   128043641@AIRLINE.KIWI.COM
MW7IN3   10/24/2020   OB    11/8/2020   WN;6706;MSY;DAL                      BISHOPFORT             SD                          US   12484   128043828@AIRLINE.KIWI.COM
MWYXBZ   10/24/2020   OB    11/8/2020   WN;2888;CLT;DEN                      BOWENBERG              NY                          US   76506   128044158@AIRLINE.KIWI.COM
MWYXBZ   10/24/2020   OB    11/8/2020   WN;2888;CLT;DEN                      BOWENBERG              NY                          US   76506   128044158@AIRLINE.KIWI.COM
MWYXBZ   10/24/2020   OB    11/8/2020   WN;2888;CLT;DEN                      BOWENBERG              NY                          US   76506   128044158@AIRLINE.KIWI.COM
MWYXBZ   10/24/2020   OB    11/8/2020   WN;2888;CLT;DEN                      BOWENBERG              NY                          US   76506   128044158@AIRLINE.KIWI.COM
MYFXSV   10/24/2020   OB   11/10/2020   WN;2323;DEN;CLT                      LAKE DONALD            CT                          US   60723   128044730@AIRLINE.KIWI.COM
MYFXSV   10/24/2020   OB   11/10/2020   WN;2323;DEN;CLT                      LAKE DONALD            CT                          US   60723   128044730@AIRLINE.KIWI.COM
MYFXSV   10/24/2020   OB   11/10/2020   WN;2323;DEN;CLT                      LAKE DONALD            CT                          US   60723   128044730@AIRLINE.KIWI.COM
MYFXSV   10/24/2020   OB   11/10/2020   WN;2323;DEN;CLT                      LAKE DONALD            CT                          US   60723   128044730@AIRLINE.KIWI.COM
MZCG9G   10/24/2020   OB   10/24/2020   WN;1034;TPA;HOU                      JERRYMOUTH             NV                          US   54694   128045214@AIRLINE.KIWI.COM
N2OHW9   10/24/2020   OB    12/1/2020   WN;1173;STL;DEN                      CURTISLAND             MO                          US   80553   127456010.1487489@AIRLINE.KIWI.COM
N2OHW9   10/24/2020   OB    12/1/2020   WN;1173;STL;DEN                      CURTISLAND             MO                          US   80553   127456010.1487489@AIRLINE.KIWI.COM
N44538   10/24/2020   MD   10/28/2020   WN;1960;STL;MDW                      PORT MEGAN             MD                          US   28208   128045940@AIRLINE.KIWI.COM
N44538   10/24/2020   OB   10/27/2020   WN;2127;MDW;DCA;WN;1799;DCA;STL;WN;17PORT MEGAN             MD                          US   28208   128045940@AIRLINE.KIWI.COM
N46FHS   10/24/2020   OB    11/7/2020   WN;3087;LAS;OAK                      EAST TIFFANYTON        KS                          US   64827   128046006@AIRLINE.KIWI.COM
N46FHS   10/24/2020   OB    11/7/2020   WN;3087;LAS;OAK                      EAST TIFFANYTON        KS                          US   64827   128046006@AIRLINE.KIWI.COM
N9CXHT   10/24/2020   OB    11/7/2020   WN;3087;LAS;OAK                      LAKE ANNETTETOWN       VT                          US   36941   128047832@AIRLINE.KIWI.COM
N9CXHT   10/24/2020   OB    11/7/2020   WN;3087;LAS;OAK                      LAKE ANNETTETOWN       VT                          US   36941   128047832@AIRLINE.KIWI.COM
NAISDU   10/24/2020   OB   12/22/2020   WN;1058;HOU;MIA                      KTTAARII               LUMBINI                     NP   10901   128048624@AIRLINE.KIWI.COM
NAISDU   10/24/2020   OB   12/22/2020   WN;1058;HOU;MIA                      KTTAARII               LUMBINI                     NP   10901   128048624@AIRLINE.KIWI.COM
NAISDU   10/24/2020   OB   12/22/2020   WN;1058;HOU;MIA                      KTTAARII               LUMBINI                     NP   10901   128048624@AIRLINE.KIWI.COM
NAISDU   10/24/2020   OB   12/22/2020   WN;1058;HOU;MIA                      KTTAARII               LUMBINI                     NP   10901   128048624@AIRLINE.KIWI.COM
NAISDU   10/24/2020   OB   12/22/2020   WN;1058;HOU;MIA                      KTTAARII               LUMBINI                     NP   10901   128048624@AIRLINE.KIWI.COM
NCCXON   10/24/2020   OB   10/28/2020   WN;1650;BUR;LAS;WN;2080;LAS;ELP      GOMEZSHIRE             DE                          US   14973   128049757@AIRLINE.KIWI.COM
NEDYS2   10/24/2020   OB   10/24/2020   WN;2612;ATL;MCO                      EAST ERICMOUTH         NJ                          US   67572   128051110@AIRLINE.KIWI.COM
NG36KV   10/24/2020   OB   10/28/2020   WN;2513;LAS;SMF                      MARTHABURGH            SC                          US   59101   128051594@AIRLINE.KIWI.COM
NIVPHF   10/24/2020   OB    11/2/2020   WN;2288;LAX;MDW;WN;2420;MDW;RDU      NORTH DAVID            AK                          US   94574   128054234@AIRLINE.KIWI.COM
NORJCC   10/24/2020   OB    11/9/2020   WN;6885;HOU;LAS                      BA WANG ZI SHI         OKAYAMA                     JP   77024   128058810@AIRLINE.KIWI.COM
O8CX8K   10/24/2020   OB     1/5/2021   WN;820;LAX;BNA                       EAST CHRISTOPHERCHES   ID                          US   76732   128075717@AIRLINE.KIWI.COM
O8CX8K   10/24/2020   OB     1/5/2021   WN;820;LAX;BNA                       EAST CHRISTOPHERCHES   ID                          US   76732   128075717@AIRLINE.KIWI.COM
O929Z2   10/24/2020   OB     1/5/2021   WN;1550;LAX;PHX;WN;1514;PHX;BNA      SHARONBURGH            NV                          US   27979   128073726@AIRLINE.KIWI.COM
OA578Y   10/24/2020   OB    11/2/2020   WN;600;PHX;DEN                       NORTH PAULFURT         WA                          US   87408   128077356@AIRLINE.KIWI.COM
ODXSPG   10/24/2020   OB   10/24/2020   WN;5699;SMF;BUR                      HOLLYMOUTH             WV                          US   79241   128080865@AIRLINE.KIWI.COM
ODXSPG   10/24/2020   OB   10/24/2020   WN;5699;SMF;BUR                      HOLLYMOUTH             WV                          US   79241   128080865@AIRLINE.KIWI.COM
OFB8TL   10/24/2020   OB   12/30/2020   WN;2010;RDU;STL;WN;887;STL;OMA       WILLIAMSSHIRE          CT                          US   29294   128081723@AIRLINE.KIWI.COM
OFB8TL   10/24/2020   OB   12/30/2020   WN;2010;RDU;STL;WN;887;STL;OMA       WILLIAMSSHIRE          CT                          US   29294   128081723@AIRLINE.KIWI.COM
OFQNUJ   10/24/2020   OB    12/4/2020   WN;1296;IND;DEN                      LAKE JANET             SC                          US   14045   128082262@AIRLINE.KIWI.COM
OHJB7F   10/24/2020   OB    11/2/2020   WN;2059;MCO;DAL                      KRISTINMOUTH           SC                          US   70838   128084396@AIRLINE.KIWI.COM
OHJB7F   10/24/2020   OB    11/2/2020   WN;2059;MCO;DAL                      KRISTINMOUTH           SC                          US   70838   128084396@AIRLINE.KIWI.COM
OID97H   10/24/2020   OB   10/30/2020   WN;2232;RDU;MDW                      AL MHMD BN LY BN JMZ   MAKKAH                      SA   13870   128084880@AIRLINE.KIWI.COM
OK4JLZ   10/24/2020   OB   10/26/2020   WN;1995;HOU;ATL                      NATHANLAND             MI                          US   93567   128086420@AIRLINE.KIWI.COM
OLHENF   10/24/2020   OB   10/27/2020   WN;2300;LAX;DEN;WN;2135;DEN;MSY      DEANNAMOUTH            DE                          US   43651   128088158@AIRLINE.KIWI.COM
OLT3UP   10/24/2020   OB   10/30/2020   WN;2530;LAS;OAK                      WEST STEPHANIE         ID                          US   14366   128087905@AIRLINE.KIWI.COM
ORC4F5   10/24/2020   OB   10/31/2020   WN;956;FLL;BWI                       DIAZPORT               IL                          US   61914   128093427@AIRLINE.KIWI.COM
OS464U   10/24/2020   OB    11/3/2020   WN;2492;SJC;PHX                      SAN CITLALI LOS BAJO   BAJA CALIFORNIA             MX   93094   128085265@AIRLINE.KIWI.COM
OT9URX   10/24/2020   OB    11/5/2020   WN;535;CVG;DEN                       PATRICKSIDE            WA                          US   17887   128095539@AIRLINE.KIWI.COM
OUWF8E   10/24/2020   OB   10/26/2020   WN;2626;ATL;MDW                      EAST MARKBURGH         AK                          US   55165   128097200@AIRLINE.KIWI.COM
OVMPXJ   10/24/2020   OB    11/3/2020   WN;2402;DEN;PDX                      NORTH REBECCA          NC                          US   27905   128098311@AIRLINE.KIWI.COM
OVTF3I   10/24/2020   OB    11/7/2020   WN;3419;MCO;PHL                      MCCOYBERG              DE                          US    7404   128098641@AIRLINE.KIWI.COM
OWXSK3   10/24/2020   OB   10/28/2020   WN;1933;ATL;LGA                      LINDSEYFORT            WA                          US   59345   128100093@AIRLINE.KIWI.COM
OXSREL   10/24/2020   OB   10/25/2020   WN;2057;IND;DAL;WN;35;DAL;HOU        NORTH STEVENSHIRE      PA                          US   68912   128100874@AIRLINE.KIWI.COM
P3K72D   10/24/2020   OB    11/6/2020   WN;6522;PHX;LAS                      WEST ERIC              IL                          US    3460   128104306@AIRLINE.KIWI.COM
P4A5BX   10/24/2020   OB   10/25/2020   WN;849;ATL;IAD                       ELLERSHIRE             LAANEMAA                    EE   56285   128104526@AIRLINE.KIWI.COM
P4JGC8   10/24/2020   OB   11/18/2020   WN;2863;DAL;MDW;WN;2255;MDW;BOS      BESENCON               APPENZELL INNERRHODEN       CH   73328   128104977@AIRLINE.KIWI.COM
P4VULK   10/24/2020   OB    11/4/2020   WN;6902;SAN;PHX                      NORTH TIMOTHY          AK                          US   79209   128104944@AIRLINE.KIWI.COM
P4VULK   10/24/2020   RT    11/6/2020   WN;6111;PHX;SAN                      NORTH TIMOTHY          AK                          US   79209   128104944@AIRLINE.KIWI.COM
P5D5YB   10/24/2020   OB    11/4/2020   WN;3191;FLL;BWI                      RIVERABERG             TX                          US   35570   128105164@AIRLINE.KIWI.COM
P5NLER   10/24/2020   OB   12/19/2020   WN;2147;OMA;DEN;WN;3425;DEN;SJC      SOUTH CHRISTOPHER      CT                          US   24628   128106044@AIRLINE.KIWI.COM
P7JZZL   10/24/2020   OB    11/4/2020   WN;4285;OAK;LAX                      NEW ALISON             VT                          US   99766   128106814@AIRLINE.KIWI.COM
P8OMXM   10/24/2020   OB   11/13/2020   WN;763;DEN;CLT                       WILSONLAND             OR                          US   83486   128106990@AIRLINE.KIWI.COM
P8VU3J   10/24/2020   OB    11/8/2020   WN;6447;MSY;ATL                      NEW MATTHEWMOUTH       MD                          US   30198   128107386@AIRLINE.KIWI.COM
P99NHV   10/24/2020   OB   10/25/2020   WN;6521;CMH;BNA                      JAEN                   BARCELONA                   ES   32374   128107309@AIRLINE.KIWI.COM
PB9EPJ   10/24/2020   OB    12/1/2020   WN;6725;DEN;BWI                      MICHELESTAD            LA                          US   49411   128108332@AIRLINE.KIWI.COM
PB9EPJ   10/24/2020   OB    12/1/2020   WN;6725;DEN;BWI                      MICHELESTAD            LA                          US   49411   128108332@AIRLINE.KIWI.COM
PB9EPJ   10/24/2020   OB    12/1/2020   WN;6725;DEN;BWI                      MICHELESTAD            LA                          US   49411   128108332@AIRLINE.KIWI.COM
PBTWMI   10/24/2020   OB   10/31/2020   WN;2230;DEN;PHL                      SMITHFORT              NM                          US   48640   128108596@AIRLINE.KIWI.COM
PCREIN   10/24/2020   OB   10/31/2020   WN;2470;SMF;STL                      SOUTH PAMELA           MI                          US   75651   128109234@AIRLINE.KIWI.COM
PCREIN   10/24/2020   OB   11/30/2020   WN;11;STL;DAL                        SOUTH PAMELA           MI                          US   75651   128109234@AIRLINE.KIWI.COM
PD7DN8   10/24/2020   OB   11/15/2020   WN;289;DAL;MDW;WN;1117;MDW;CLE       UVALY                  KRAJ VYSOCINA               CZ   66302   128109344@AIRLINE.KIWI.COM




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PGFS2T   10/25/2020   OB   11/23/2020   WN;5533;LAS;MCI                   TONYTOWN               HI                          US   89175   128110576@AIRLINE.KIWI.COM
PJ6DS4   10/25/2020   OB   11/12/2020   WN;2399;CVG;BWI;WN;811;BWI;PUJ    SOUTH WESLEY           OK                          US   67822   128111599@AIRLINE.KIWI.COM
PN2XBE   10/25/2020   OB   10/31/2020   WN;2287;LAX;LAS                   RIVERACHESTER          KS                          US   67012   128113150@AIRLINE.KIWI.COM
PN58MN   10/25/2020   OB   10/26/2020   WN;2260;CLE;BNA                   EAST FYSL              JENIN                       PS   42285   128113172@AIRLINE.KIWI.COM
PPX22V   10/25/2020   OB    12/3/2020   WN;2346;ATL;TPA;WN;4147;TPA;MIA   NEW DEBORAH            CT                          US   50582   128114008@AIRLINE.KIWI.COM
PQAB6H   10/25/2020   OB   10/25/2020   WN;1111;SAT;BWI;WN;1353;BWI;CMH   VASTERAS               VARMLANDS LAN               SE   99997   128114041@AIRLINE.KIWI.COM
PR2DES   10/25/2020   OB   10/28/2020   WN;1669;PHX;LAS                   MARISSABOROUGH         AL                          US   65695   128114085@AIRLINE.KIWI.COM
PR2LY9   10/25/2020   OB   11/19/2020   WN;984;MDW;ATL                    NORTH AMYMOUTH         HI                          US   40822   128114338@AIRLINE.KIWI.COM
PR5TN7   10/25/2020   OB   10/25/2020   WN;2288;LAX;MDW;WN;2420;MDW;RDU   JOSETOWN               ID                          US   98337   128114162@AIRLINE.KIWI.COM
PTA5F4   10/25/2020   OB   12/30/2020   WN;1111;OAK;BWI                   MELISSAMOUTH           ND                          US   38202   128114547@AIRLINE.KIWI.COM
PW3I5K   10/25/2020   OB   12/30/2020   WN;972;ATL;MCO                    NEW KEVINSTAD          CA                          US   65767   128106407@AIRLINE.KIWI.COM
PW3I5K   10/25/2020   OB   12/30/2020   WN;972;ATL;MCO                    NEW KEVINSTAD          CA                          US   65767   128106407@AIRLINE.KIWI.COM
PW3I5K   10/25/2020   OB   12/30/2020   WN;972;ATL;MCO                    NEW KEVINSTAD          CA                          US   65767   128106407@AIRLINE.KIWI.COM
PW3I5K   10/25/2020   OB   12/30/2020   WN;972;ATL;MCO                    NEW KEVINSTAD          CA                          US   65767   128106407@AIRLINE.KIWI.COM
PW3I5K   10/25/2020   OB   12/30/2020   WN;972;ATL;MCO                    NEW KEVINSTAD          CA                          US   65767   128106407@AIRLINE.KIWI.COM
PW3I5K   10/25/2020   OB   12/30/2020   WN;972;ATL;MCO                    NEW KEVINSTAD          CA                          US   65767   128106407@AIRLINE.KIWI.COM
PX36U7   10/25/2020   OB    11/1/2020   WN;6800;ATL;PHL                   DAVISCHESTER           WY                          US   83617   128115691@AIRLINE.KIWI.COM
PZG8TG   10/25/2020   OB    11/8/2020   WN;244;BOS;BWI;WN;906;BWI;MBJ     PORT DAWN              SC                          US    4233   128116285@AIRLINE.KIWI.COM
Q7XZWN   10/25/2020   OB   10/26/2020   WN;5398;HOU;LAS                   PORT GREGORYSHIRE      SD                          US   40895   128118584@AIRLINE.KIWI.COM
Q89DD8   10/25/2020   OB   11/14/2020   WN;4347;TUS;LAS;WN;1759;LAS;LGB   NORTH JONATHAN         TX                          US   13974   128118914@AIRLINE.KIWI.COM
QBQAWP   10/25/2020   OB    12/2/2020   WN;2208;LAX;DEN                   WEST TIMOTHY           NY                          US   60923   128120817@AIRLINE.KIWI.COM
QJG6VX   10/25/2020   OB   10/25/2020   WN;2385;BNA;LGA                   SOUTH JOSHUASTAD       WI                          US   60036   128127296@AIRLINE.KIWI.COM
RB68DU   10/25/2020   OB    1/13/2021   WN;430;ATL;PHX;WN;3972;PHX;LAX    LAKE GREGBOROUGH       MN                          US   81476   128147514@AIRLINE.KIWI.COM
RBRTPW   10/25/2020   OB    1/18/2021   WN;2298;LAX;HOU;WN;5040;HOU;ATL   LAKE JOSHUA            OH                          US    8671   128148141@AIRLINE.KIWI.COM
REC5VT   10/25/2020   OB   11/20/2020   WN;919;PDX;OAK;WN;575;OAK;SNA     SANDRASTAD             KY                          US   71187   128151254@AIRLINE.KIWI.COM
RFBVWE   10/25/2020   OB    12/1/2020   WN;1467;SAN;SJC;WN;1003;SJC;PDX   SAN ANDRES LOS BAJOS   BAJA CALIFORNIA             MX   72092   128151661@AIRLINE.KIWI.COM
RFSJ7O   10/25/2020   OB    11/2/2020   WN;1108;OAK;LAX                   PORT ALANVILLE         NE                          US   25478   128153157@AIRLINE.KIWI.COM
RIV88Q   10/25/2020   OB    11/8/2020   WN;123;MDW;LGA                    LAKE JAMES             AK                          US   15445   128155170@AIRLINE.KIWI.COM
RK8UQI   10/25/2020   OB    11/3/2020   WN;2037;DEN;MCI                   GARYCHESTER            ND                          US   88900   128156875@AIRLINE.KIWI.COM
RKX7G9   10/25/2020   OB   11/24/2020   WN;4336;FLL;RDU                   JENNIFERSTAD           FL                          US   36718   128157568@AIRLINE.KIWI.COM
RKX7G9   10/25/2020   OB   11/24/2020   WN;4336;FLL;RDU                   JENNIFERSTAD           FL                          US   36718   128157568@AIRLINE.KIWI.COM
RLONW8   10/25/2020   OB   12/20/2020   WN;829;AUS;DEN                    RILEYBERG              AR                          US   54655   128157689@AIRLINE.KIWI.COM
RLONW8   10/25/2020   OB   12/20/2020   WN;829;AUS;DEN                    RILEYBERG              AR                          US   54655   128157689@AIRLINE.KIWI.COM
RLONW8   10/25/2020   OB   12/20/2020   WN;829;AUS;DEN                    RILEYBERG              AR                          US   54655   128157689@AIRLINE.KIWI.COM
RLONW8   10/25/2020   OB   12/20/2020   WN;829;AUS;DEN                    RILEYBERG              AR                          US   54655   128157689@AIRLINE.KIWI.COM
RM2M6A   10/25/2020   OB   10/28/2020   WN;2078;DEN;BUR                   SOUTH MADISON          NM                          US    2944   128158371@AIRLINE.KIWI.COM
RMM7CZ   10/25/2020   OB   12/27/2020   WN;4680;BNA;LGA                   ST KOSHAGACH           VORONEZHSKAYA OBLAST        RU   38464   128159163@AIRLINE.KIWI.COM
RPJPPK   10/25/2020   OB    11/1/2020   WN;6800;ATL;PHL                   RICKYFURT              AZ                          US   43291   128161627@AIRLINE.KIWI.COM
RPZ9G8   10/25/2020   OB   11/24/2020   WN;2923;GEG;LAS                   WEST PATRICKTON        WA                          US   99067   128162771@AIRLINE.KIWI.COM
RQO3CJ   10/25/2020   OB   12/23/2020   WN;2407;SEA;SJC                   CITTUUR                ODISHA                      IN    1571   128163596@AIRLINE.KIWI.COM
RQO3CJ   10/25/2020   OB   12/23/2020   WN;2407;SEA;SJC                   CITTUUR                ODISHA                      IN    1571   128163596@AIRLINE.KIWI.COM
RSKL7O   10/25/2020   OB   11/10/2020   WN;1466;SLC;LAS                   EAST ELIZABETHPORT     AL                          US   54377   128165961@AIRLINE.KIWI.COM
RSOSAC   10/25/2020   OB   10/26/2020   WN;2266;MSP;MDW                   MARTINBOROUGH          ID                          US   86395   128165400@AIRLINE.KIWI.COM
RU4AYA   10/25/2020   OB    11/1/2020   WN;1012;DEN;ATL                   WEST ARTHUR            MA                          US   66676   128166511@AIRLINE.KIWI.COM
RUH2U4   10/25/2020   OB    12/1/2020   WN;2532;OAK;GEG                   PORT TREVOR            OR                          US    2887   128163530@AIRLINE.KIWI.COM
RVMKA6   10/25/2020   OB   11/13/2020   WN;638;TUL;DEN                    G KOSTOMUKSHA          ADYGEYA RESPUBLIKA          RU   17670   128167743@AIRLINE.KIWI.COM
RWAKBE   10/25/2020   OB   10/25/2020   WN;772;DEN;MDW                    ANTHONYPORT            OK                          US   79187   126409976.1488191@AIRLINE.KIWI.COM
RX9OUB   10/25/2020   OB   10/26/2020   WN;2085;LAS;BWI                   SANDRALAND             CT                          US   64696   128170009@AIRLINE.KIWI.COM
RXIXDQ   10/25/2020   OB     1/3/2021   WN;2076;BUF;LAS;WN;4023;LAS;LAX   WILLIAMSSIDE           MD                          US   48585   128170174@AIRLINE.KIWI.COM
RXRQ2F   10/25/2020   OB   11/20/2020   WN;299;GRR;BWI                    AMANDAPORT             MI                          US   82294   128170130@AIRLINE.KIWI.COM
RYNEH4   10/25/2020   OB   12/19/2020   WN;2161;BWI;BUF                   WEST JASON             NM                          US   56902   128170922@AIRLINE.KIWI.COM
RZD8UE   10/25/2020   OB   10/25/2020   WN;2659;SMF;SEA                   EAST AMANDALAND        IL                          US   62595   128171252@AIRLINE.KIWI.COM
RZJ385   10/25/2020   OB    12/7/2020   WN;4986;DEN;MSP                   MARTINEZBURY           HI                          US   32736   128168194@AIRLINE.KIWI.COM
RZJ385   10/25/2020   OB    12/7/2020   WN;4986;DEN;MSP                   MARTINEZBURY           HI                          US   32736   128168194@AIRLINE.KIWI.COM
S246KK   10/25/2020   OB   10/26/2020   WN;116;ATL;BNA;WN;1501;BNA;LGA    LAKE KATHYVILLE        CA                          US   74037   128172055@AIRLINE.KIWI.COM
S246KK   10/25/2020   OB   10/26/2020   WN;116;ATL;BNA;WN;1501;BNA;LGA    LAKE KATHYVILLE        CA                          US   74037   128172055@AIRLINE.KIWI.COM
S246KK   10/25/2020   OB   10/26/2020   WN;116;ATL;BNA;WN;1501;BNA;LGA    LAKE KATHYVILLE        CA                          US   74037   128172055@AIRLINE.KIWI.COM
S55NXK   10/25/2020   OB    11/1/2020   WN;998;DEN;BNA                    RANDYBURY              NM                          US   86766   128174541@AIRLINE.KIWI.COM
S7LCZG   10/25/2020   OB    11/2/2020   WN;1592;BOS;DEN                   NORTH KIMBERLYSTAD     OH                          US   59440   128175993@AIRLINE.KIWI.COM
SAGXQ3   10/25/2020   OB    11/4/2020   WN;3250;DEN;BNA;WN;6326;BNA;ECP   VICTORIABERG           NEWFOUNDLAND AND LABRADOR   CA   29807   128177423@AIRLINE.KIWI.COM
SB3HNG   10/25/2020   OB   12/31/2020   WN;679;CLE;MCO                    DAVIDBOROUGH           OR                          US   35307   128178006@AIRLINE.KIWI.COM
SB3HNG   10/25/2020   OB   12/31/2020   WN;679;CLE;MCO                    DAVIDBOROUGH           OR                          US   35307   128178006@AIRLINE.KIWI.COM
SB5T5I   10/25/2020   OB   12/19/2020   WN;1013;HOU;ATL                   EAST CANDACEFORT       PA                          US   44936   128178182@AIRLINE.KIWI.COM
SB5T5I   10/25/2020   RT   12/27/2020   WN;6850;ATL;HOU                   EAST CANDACEFORT       PA                          US   44936   128178182@AIRLINE.KIWI.COM
SBFZQR   10/25/2020   OB   12/17/2020   WN;536;DTW;BWI;WN;331;BWI;MIA     PATRICKLAND            VT                          US   15513   128178567@AIRLINE.KIWI.COM
SBKDSF   10/25/2020   OB   12/17/2020   WN;536;DTW;BWI;WN;331;BWI;MIA     GREGORYCHESTER         PA                          US   94346   128178424@AIRLINE.KIWI.COM
SCHE2F   10/25/2020   OB    11/1/2020   WN;2072;MDW;STL;WN;1970;STL;PHL   NGUYENSIDE             MO                          US   45167   128179150@AIRLINE.KIWI.COM
SCHE2F   10/25/2020   RT   11/14/2020   WN;3425;PHL;MDW                   NGUYENSIDE             MO                          US   45167   128179150@AIRLINE.KIWI.COM
SCRX2Z   10/25/2020   OB   10/28/2020   WN;3125;BWI;MDW                   ANDREWBOROUGH          FL                          US   74950   128179645@AIRLINE.KIWI.COM
SDO7LY   10/25/2020   OB   12/21/2020   WN;1058;MIA;BWI;WN;1261;BWI;DTW   PORT RICHARDBURGH      KS                          US   59616   128179909@AIRLINE.KIWI.COM
SE5RNP   10/26/2020   OB   12/21/2020   WN;1058;MIA;BWI                   LAKE SYDNEYPORT        VT                          US   35941   128180096@AIRLINE.KIWI.COM
SHYYTK   10/26/2020   OB    11/1/2020   WN;312;LAS;PDX                    NEW DUSTIN             ND                          US   81496   128181306@AIRLINE.KIWI.COM
SIAJ54   10/26/2020   OB   11/29/2020   WN;6984;SAN;LAS                   JENNIFERBOROUGH        MI                          US   81743   128181603@AIRLINE.KIWI.COM
SIAJ54   10/26/2020   OB   11/29/2020   WN;6984;SAN;LAS                   JENNIFERBOROUGH        MI                          US   81743   128181603@AIRLINE.KIWI.COM
SIAJ54   10/26/2020   OB   11/29/2020   WN;6984;SAN;LAS                   JENNIFERBOROUGH        MI                          US   81743   128181603@AIRLINE.KIWI.COM
SJA26L   10/26/2020   OB   10/26/2020   WN;857;MCO;BNA                    WEST ANTHONYCHESTER    NV                          US   98994   128181845@AIRLINE.KIWI.COM
SL3488   10/26/2020   OB   11/21/2020   WN;1663;BHM;MCO                   HANAMSI                JEONRABUKDO                 KR   10805   128182901@AIRLINE.KIWI.COM
SL3488   10/26/2020   RT    1/31/2021   WN;2174;MCO;BHM                   HANAMSI                JEONRABUKDO                 KR   10805   128182901@AIRLINE.KIWI.COM
SL5X7O   10/26/2020   OB   12/26/2020   WN;2367;RIC;ATL                   SOUTH MONIQUE          VA                          US   57466   128182989@AIRLINE.KIWI.COM
SMYCVC   10/26/2020   OB   11/10/2020   WN;6949;LAS;PHX                   WEST MICHAEL           AL                          US   65214   128183990@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   OB   12/14/2020   WN;3927;MSP;DEN                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   OB   12/14/2020   WN;3927;MSP;DEN                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   OB   12/14/2020   WN;3927;MSP;DEN                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   OB   12/14/2020   WN;3927;MSP;DEN                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   OB   12/14/2020   WN;3927;MSP;DEN                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   RT     1/9/2021   WN;4603;DEN;MSP                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   RT     1/9/2021   WN;4603;DEN;MSP                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   RT     1/9/2021   WN;4603;DEN;MSP                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   RT     1/9/2021   WN;4603;DEN;MSP                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNT4YM   10/26/2020   RT     1/9/2021   WN;4603;DEN;MSP                   PORT MARY              MT                          US   16917   128184133@AIRLINE.KIWI.COM
SNXFGH   10/26/2020   OB   11/21/2020   WN;1806;ATL;MEM                   RYANSHIRE              CA                          US   13657   128184441@AIRLINE.KIWI.COM
SODLI9   10/26/2020   OB    11/6/2020   WN;622;DEN;PDX                    LAKE JUSTIN            HI                          US   26885   128184485@AIRLINE.KIWI.COM
SPBXY6   10/26/2020   OB   10/27/2020   WN;2347;PHL;BNA                   NEW JOSEPH             MA                          US   19442   128184694@AIRLINE.KIWI.COM
SVVNP5   10/26/2020   OB   10/28/2020   WN;2332;DEN;OKC                   DUNNMOUTH              KS                          US   58522   128187301@AIRLINE.KIWI.COM
SWZXT6   10/26/2020   OB   12/29/2020   WN;795;SJC;KOA                    DONOVANFURT            KY                          US   90255   128187532@AIRLINE.KIWI.COM
SWZXT6   10/26/2020   OB   12/29/2020   WN;795;SJC;KOA                    DONOVANFURT            KY                          US   90255   128187532@AIRLINE.KIWI.COM
SWZXT6   10/26/2020   OB   12/29/2020   WN;795;SJC;KOA                    DONOVANFURT            KY                          US   90255   128187532@AIRLINE.KIWI.COM
T32YQB   10/26/2020   OB   12/20/2020   WN;998;MDW;BWI                    WEST CHRISTOPHER       SC                          US   75471   128188973@AIRLINE.KIWI.COM
T7XPFQ   10/26/2020   OB    11/8/2020   WN;6083;LAS;TUS                   DOMINIQUEFORT          ME                          US   30759   128190634@AIRLINE.KIWI.COM
T7XPFQ   10/26/2020   RT   11/12/2020   WN;6504;TUS;LAS                   DOMINIQUEFORT          ME                          US   30759   128190634@AIRLINE.KIWI.COM
TEFWRB   10/26/2020   OB   10/26/2020   WN;1770;LAX;SLC                   NEW KRISTIBERG         LA                          US   78967   128194198@AIRLINE.KIWI.COM
U43RYW   10/26/2020   OB   10/29/2020   WN;2271;BWI;BNA                   LAKE DAVID             ID                          US   98965   128219003@AIRLINE.KIWI.COM
U83ERO   10/26/2020   OB   11/23/2020   WN;4880;SAT;LAX                   NORTH MICHELLEVILLE    WY                          US   76995   128224426@AIRLINE.KIWI.COM
UA5J5D   10/26/2020   OB   10/26/2020   WN;1368;LAS;STL                   JAMIEBERG              NM                          US   99240   128226901@AIRLINE.KIWI.COM
UA5J5D   10/26/2020   OB   10/26/2020   WN;1368;LAS;STL                   JAMIEBERG              NM                          US   99240   128226901@AIRLINE.KIWI.COM
UD2PRC   10/26/2020   OB   12/12/2020   WN;785;KOA;OGG                    NORTH RACHEL           CO                          US   97806   128230102@AIRLINE.KIWI.COM
UDXMNL   10/26/2020   OB     1/3/2021   WN;6601;HOU;BNA                   EAST APRIL             ID                          US   66364   128232269@AIRLINE.KIWI.COM




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UE98P4   10/26/2020   OB   10/28/2020   WN;2090;DAL;MDW;WN;748;MDW;BWI       DEVAAS                 HARYANA               IN   27856   128232313@AIRLINE.KIWI.COM
UE98P4   10/26/2020   OB   10/28/2020   WN;2090;DAL;MDW;WN;748;MDW;BWI       DEVAAS                 HARYANA               IN   27856   128232313@AIRLINE.KIWI.COM
UE9G52   10/26/2020   OB    1/10/2021   WN;2346;MDW;MCI;WN;2346;MCI;ATL;WN;23WEST BONNIE            AZ                    US   35148   128232467@AIRLINE.KIWI.COM
UEBQWI   10/26/2020   OB    1/10/2021   WN;2346;MDW;MCI;WN;2346;MCI;ATL;WN;23EAST BARBARA           OR                    US   70923   128232467@AIRLINE.KIWI.COM
UEJ5EP   10/26/2020   OB   11/26/2020   WN;3883;DAL;PHX                      WHITNEYFURT            ID                    US   67530   128232984@AIRLINE.KIWI.COM
UEK8WQ   10/26/2020   OB    12/6/2020   WN;3757;LAX;OAK                      TRAVISBOROUGH          NV                    US   11358   128232951@AIRLINE.KIWI.COM
UEQFN9   10/26/2020   OB    12/6/2020   WN;1148;OAK;LAX                      NORTH RICHARDBURY      MN                    US   13467   128233523@AIRLINE.KIWI.COM
UFQ4KP   10/26/2020   OB   10/27/2020   WN;139;ATL;BWI;WN;2337;BWI;BUF       NEW ELIZABETHBURY      AK                    US   64782   128234876@AIRLINE.KIWI.COM
UGAT2D   10/26/2020   OB   12/31/2020   WN;2221;BWI;MIA                      WEST ALECVILLE         OR                    US   30977   128234986@AIRLINE.KIWI.COM
UGAT2D   10/26/2020   OB   12/31/2020   WN;2221;BWI;MIA                      WEST ALECVILLE         OR                    US   30977   128234986@AIRLINE.KIWI.COM
UGMLPL   10/26/2020   OB   10/30/2020   WN;2461;OAK;HOU                      SAN CAROLINA LOS BAJ   OAXACA                MX   52458   128235602@AIRLINE.KIWI.COM
UHIG4V   10/26/2020   OB   10/30/2020   WN;2122;LGA;ATL                      MARTINEZTON            NJ                    US   32487   128235921@AIRLINE.KIWI.COM
UI4EFB   10/26/2020   OB   11/12/2020   WN;6945;RDU;MCO                      PORT COURTNEYVIEW      VT                    US   90118   128237395@AIRLINE.KIWI.COM
UI4EFB   10/26/2020   OB   11/12/2020   WN;6945;RDU;MCO                      PORT COURTNEYVIEW      VT                    US   90118   128237395@AIRLINE.KIWI.COM
UILS2H   10/26/2020   OB   12/23/2020   WN;6775;AUS;PHX                      TINAMOUTH              NM                    US   63228   128238077@AIRLINE.KIWI.COM
ULZDOG   10/26/2020   OB   11/12/2020   WN;843;BWI;MDW                       WEST MICHELLE          WY                    US   58364   128241817@AIRLINE.KIWI.COM
UNDNIK   10/26/2020   OB    11/1/2020   WN;1770;BWI;LAX                      WEST COURTNEY          MA                    US   49705   128243533@AIRLINE.KIWI.COM
UQL6ES   10/26/2020   OB   11/13/2020   WN;651;DEN;BUF                       PORT ALEXANDRA         NM                    US   79112   128248373@AIRLINE.KIWI.COM
UU87DT   10/26/2020   OB   11/23/2020   WN;1714;MKE;MCI                      BLAKEFURT              OR                    US    9379   128252278@AIRLINE.KIWI.COM
UVPF5A   10/26/2020   OB    11/2/2020   WN;1952;DAL;STL                      PATRICKBURGH           SC                    US   79086   128254786@AIRLINE.KIWI.COM
UVPF5A   10/26/2020   RT    11/2/2020   WN;2441;STL;DAL                      PATRICKBURGH           SC                    US   79086   128254786@AIRLINE.KIWI.COM
UZV44T   10/26/2020   OB   10/27/2020   WN;2135;DEN;MSY                      SAN BENITO LOS ALTOS   QUINTANA ROO          MX   77214   128259571@AIRLINE.KIWI.COM
V27W2F   10/26/2020   OB   11/28/2020   WN;1884;PHL;MCO                      NEW JASON              SD                    US   63713   128259813@AIRLINE.KIWI.COM
V27W2F   10/26/2020   OB   11/28/2020   WN;1884;PHL;MCO                      NEW JASON              SD                    US   63713   128259813@AIRLINE.KIWI.COM
V2C5UB   10/26/2020   OB   11/27/2020   WN;1074;MCI;STL;WN;1545;STL;MKE      WEST BARBARALAND       ME                    US   42746   128259835@AIRLINE.KIWI.COM
V2X7A2   10/26/2020   OB   11/11/2020   WN;4248;MSY;MDW;WN;4253;MDW;ALB      EAST KELLYSIDE         SC                    US   55494   128259923@AIRLINE.KIWI.COM
V4H87K   10/26/2020   OB    11/2/2020   WN;1915;FLL;MDW                      NEW RICHARD            KY                    US   62669   128261837@AIRLINE.KIWI.COM
V4H87K   10/26/2020   OB    11/2/2020   WN;1915;FLL;MDW                      NEW RICHARD            KY                    US   62669   128261837@AIRLINE.KIWI.COM
V8RH4L   10/26/2020   OB    11/1/2020   WN;864;ATL;LGA                       SELO OPANAS            VOLYNSKA OBLAST       UA   15981   128265654@AIRLINE.KIWI.COM
VBAQAR   10/26/2020   OB   11/15/2020   WN;6098;CHS;BNA;WN;1587;BNA;LGA      LAKE RICKYFURT         CO                    US   53614   128267502@AIRLINE.KIWI.COM
J84WOV   10/27/2020   OB   11/19/2020   WN;582;SMF;LAX                       HOWELLTOWN             NE                    US   97035   127215407.1489233@AIRLINE.KIWI.COM
J9NP5R   10/27/2020   OB   10/27/2020   WN;1447;SMF;LAS                      EAST STACEY            KS                    US   68053   128318773@AIRLINE.KIWI.COM
J9Z9IH   10/27/2020   OB   12/19/2020   WN;1718;SAT;LAS;WN;6821;LAS;SLC      NORTH KIMBERLYFURT     GA                    US   11582   128318718@AIRLINE.KIWI.COM
JCW3QT   10/27/2020   OB   12/17/2020   WN;1320;PVD;MCO                      KELSEYTOWN             ME                    US   69374   128323261@AIRLINE.KIWI.COM
JFW4UY   10/27/2020   OB    11/3/2020   WN;2065;MSY;BNA;WN;2168;BNA;DTW      PORT AMY               KS                    US    2100   128325494@AIRLINE.KIWI.COM
JHONW6   10/27/2020   OB    11/3/2020   WN;184;STL;ICT                       PORT THEODORE          UT                    US   61163   128331236@AIRLINE.KIWI.COM
JHOP9A   10/27/2020   OB   10/27/2020   WN;2420;RDU;BWI;WN;1322;BWI;MCO      TERESAVILLE            WA                    US   40932   128330444@AIRLINE.KIWI.COM
JIGJJY   10/27/2020   OB    11/3/2020   WN;2065;MSY;BNA;WN;2168;BNA;DTW      NORTH DANIELCHESTER    IA                    US    4110   128327727@AIRLINE.KIWI.COM
JIT7OE   10/27/2020   OB    11/9/2020   WN;543;ONT;DEN                       LAKE ELIZABETHMOUTH    AL                    US   18059   128332204@AIRLINE.KIWI.COM
JIWSCW   10/27/2020   OB   10/28/2020   WN;2016;GRR;DEN;WN;1537;DEN;SMF      MARIABOROUGH           MS                    US   43397   128331929@AIRLINE.KIWI.COM
JK3SGR   10/27/2020   OB   11/19/2020   WN;484;BNA;JAX                       WILSONBURY             SC                    US   58273   128334690@AIRLINE.KIWI.COM
JK64GU   10/27/2020   OB    11/7/2020   WN;2578;LAS;BUR                      DIANAFORT              MI                    US     551   128334151@AIRLINE.KIWI.COM
JK64GU   10/27/2020   OB    11/7/2020   WN;2578;LAS;BUR                      DIANAFORT              MI                    US     551   128334151@AIRLINE.KIWI.COM
JKENHC   10/27/2020   OB   12/23/2020   WN;2052;DEN;GEG                      WEST AMY               KY                    US   24127   128335130@AIRLINE.KIWI.COM
JKKLGU   10/27/2020   OB    11/7/2020   WN;2578;LAS;BUR                      WEST TAYLORSIDE        SD                    US    3130   128334151@AIRLINE.KIWI.COM
JKKLGU   10/27/2020   OB    11/7/2020   WN;2578;LAS;BUR                      WEST TAYLORSIDE        SD                    US    3130   128334151@AIRLINE.KIWI.COM
JKKLGU   10/27/2020   OB    11/7/2020   WN;2578;LAS;BUR                      WEST TAYLORSIDE        SD                    US    3130   128334151@AIRLINE.KIWI.COM
JKTSBG   10/27/2020   OB    11/7/2020   WN;2578;LAS;BUR                      KAJARAN                ARMAVIR               AM   12422   128334151@AIRLINE.KIWI.COM
JLDI3C   10/27/2020   OB   12/30/2020   WN;526;PHX;SFO                       EAST SAMANTHAMOUTH     NY                    US   53274   128335702@AIRLINE.KIWI.COM
JLDI3C   10/27/2020   OB   12/30/2020   WN;526;PHX;SFO                       EAST SAMANTHAMOUTH     NY                    US   53274   128335702@AIRLINE.KIWI.COM
JLDI3C   10/27/2020   OB   12/30/2020   WN;526;PHX;SFO                       EAST SAMANTHAMOUTH     NY                    US   53274   128335702@AIRLINE.KIWI.COM
JM6QII   10/27/2020   OB    12/1/2020   WN;1550;LAX;PHX                      PORT MARK              NJ                    US   25043   128336791@AIRLINE.KIWI.COM
JNCYLL   10/27/2020   OB   11/26/2020   WN;2071;SJC;BUR                      SEIXAL                 VILA REAL             PT   77424   128338716@AIRLINE.KIWI.COM
JNUVL2   10/27/2020   OB    12/1/2020   WN;1366;ATL;TPA                      PORTERCHESTER          IA                    US   73307   128339508@AIRLINE.KIWI.COM
JOFZSC   10/27/2020   OB   11/10/2020   WN;2877;LAX;LAS                      SOUTH KIRSTEN          OK                    US   15053   128339992@AIRLINE.KIWI.COM
JRZQDS   10/27/2020   OB   10/30/2020   WN;1299;PVR;PHX                      SAN JAQUELINE DE LA    QUERETARO             MX   73353   128344634@AIRLINE.KIWI.COM
JS3A2O   10/27/2020   OB   11/10/2020   WN;2323;DEN;CLT                      SOUTH BRIANNAFURT      IA                    US   70100   128345096@AIRLINE.KIWI.COM
JSKR65   10/27/2020   OB   12/19/2020   WN;6987;TUS;LAS                      EAST BAILEY            CT                    US    6430   128345767@AIRLINE.KIWI.COM
JT7PKZ   10/27/2020   OB   11/28/2020   WN;1530;BNA;TPA                      ROSEVILLE              IL                    US   61963   128347021@AIRLINE.KIWI.COM
JTORSY   10/27/2020   OB   11/24/2020   WN;6384;TPA;BNA                      WILLIAMMOUTH           CO                    US    3053   128347021@AIRLINE.KIWI.COM
JTWS8T   10/27/2020   OB    12/4/2020   WN;3663;MDW;SEA                      NEW ERICALAND          NY                    US    2015   128347263@AIRLINE.KIWI.COM
JTYFHZ   10/27/2020   OB     1/3/2021   WN;6626;RDU;HOU;WN;1764;HOU;TUS      PORT JARED             TX                    US   17715   128347681@AIRLINE.KIWI.COM
JUINDU   10/27/2020   OB   10/28/2020   WN;1840;CLE;BWI;WN;1840;BWI;BOS      ADRIANAVILLE           FL                    US   56726   128349111@AIRLINE.KIWI.COM
JVJ47C   10/27/2020   OB   11/25/2020   WN;3393;TPA;MCI                      NEW JOHNSHIRE          AZ                    US   11055   128349551@AIRLINE.KIWI.COM
JVJ47C   10/27/2020   OB   11/25/2020   WN;3393;TPA;MCI                      NEW JOHNSHIRE          AZ                    US   11055   128349551@AIRLINE.KIWI.COM
JVW69O   10/27/2020   OB   11/17/2020   WN;2527;DEN;BWI                      CHANGMOUTH             RI                    US   94599   128350277@AIRLINE.KIWI.COM
JWCYCR   10/27/2020   OB   11/27/2020   WN;819;LAX;SFO                       D SHILKA               KOSTROMSKAYA OBLAST   RU    9185   128350937@AIRLINE.KIWI.COM
JWCYCR   10/27/2020   OB   11/27/2020   WN;819;LAX;SFO                       D SHILKA               KOSTROMSKAYA OBLAST   RU    9185   128350937@AIRLINE.KIWI.COM
JXK8TM   10/27/2020   OB   10/29/2020   WN;1699;LAS;ONT                      ROSSPORT               TX                    US   13294   128352246@AIRLINE.KIWI.COM
K34ICA   10/27/2020   OB   11/17/2020   WN;3294;MIA;BWI                      NORTH JEFFREY          NJ                    US    9695   128356822@AIRLINE.KIWI.COM
K34ICA   10/27/2020   OB   11/17/2020   WN;3294;MIA;BWI                      NORTH JEFFREY          NJ                    US    9695   128356822@AIRLINE.KIWI.COM
K6RCQL   10/27/2020   OB   10/29/2020   WN;2383;OAK;LAX                      PORT TAMMY             SC                    US   28821   128359495@AIRLINE.KIWI.COM
K7APT8   10/27/2020   OB    11/1/2020   WN;2580;BUR;OAK                      NEW ANNETTE            WV                    US   65325   128359891@AIRLINE.KIWI.COM
K9RM4U   10/27/2020   OB    11/3/2020   WN;127;HOU;ATL                       EAST GREGORYVILLE      AK                    US   56760   128362135@AIRLINE.KIWI.COM
K9VB8P   10/27/2020   OB   10/31/2020   WN;2956;ATL;HOU                      HOWARDFORT             NY                    US   45992   128362135@AIRLINE.KIWI.COM
KAD5RX   10/27/2020   OB   10/29/2020   WN;1932;DCA;MDW;WN;36;MDW;MSY        JESSICABURGH           AR                    US   81971   128361992@AIRLINE.KIWI.COM
KAYSW5   10/27/2020   OB    11/6/2020   WN;6560;BOS;MDW                      EAST MIAMOUTH          AL                    US   64299   128362641@AIRLINE.KIWI.COM
KBC5H4   10/27/2020   OB    11/9/2020   WN;6610;LAS;HOU;WN;2523;HOU;FLL      WEST KRISTY            WA                    US   75414   128362949@AIRLINE.KIWI.COM
KBH5GN   10/27/2020   OB    12/3/2020   WN;2980;SMF;HNL                      LAKE CODY              MT                    US   17737   128363081@AIRLINE.KIWI.COM
KBH5GN   10/27/2020   OB   12/10/2020   WN;922;HNL;LIH                       LAKE CODY              MT                    US   17737   128363081@AIRLINE.KIWI.COM
KBH5GN   10/27/2020   OB    12/3/2020   WN;2980;SMF;HNL                      LAKE CODY              MT                    US   17737   128363081@AIRLINE.KIWI.COM
KBH5GN   10/27/2020   OB   12/10/2020   WN;922;HNL;LIH                       LAKE CODY              MT                    US   17737   128363081@AIRLINE.KIWI.COM
KBUC9X   10/27/2020   OB   11/27/2020   WN;389;PHL;BNA                       NEW JOSHUASTAD         MA                    US   73295   128363873@AIRLINE.KIWI.COM
KBUC9X   10/27/2020   OB   11/27/2020   WN;389;PHL;BNA                       NEW JOSHUASTAD         MA                    US   73295   128363873@AIRLINE.KIWI.COM
KCTHEZ   10/27/2020   OB   11/14/2020   WN;6792;TUS;DEN                      SOUTH BARBARA          WA                    US   21436   128364236@AIRLINE.KIWI.COM
KDTJRH   10/27/2020   OB   11/23/2020   WN;5060;BWI;CVG                      JENNIFERSIDE           TX                    US   96751   128364929@AIRLINE.KIWI.COM
KDX2LO   10/27/2020   OB     1/3/2021   WN;2120;MCO;HOU                      ANGELAVIEW             DUMYAT                EG   45085   115850317@AIRLINE.KIWI.COM
KDX2LO   10/27/2020   OB     1/3/2021   WN;2120;MCO;HOU                      ANGELAVIEW             DUMYAT                EG   45085   115850317@AIRLINE.KIWI.COM
KDX2LO   10/27/2020   OB     1/3/2021   WN;2120;MCO;HOU                      ANGELAVIEW             DUMYAT                EG   45085   115850317@AIRLINE.KIWI.COM
KDX2LO   10/27/2020   OB     1/3/2021   WN;2120;MCO;HOU                      ANGELAVIEW             DUMYAT                EG   45085   115850317@AIRLINE.KIWI.COM
KDYERO   10/27/2020   OB    12/1/2020   WN;374;CVG;BWI                       NEW AMY                NY                    US   40166   128365050@AIRLINE.KIWI.COM
KE8PQN   10/27/2020   OB   12/16/2020   WN;2591;HNL;ITO                      LAKE JEREMY            MT                    US   18301   128365270@AIRLINE.KIWI.COM
KE8PQN   10/27/2020   OB   12/16/2020   WN;2591;HNL;ITO                      LAKE JEREMY            MT                    US   18301   128365270@AIRLINE.KIWI.COM
KFCMBR   10/27/2020   OB    11/5/2020   WN;1419;HOU;STL                      GUZMANTOWN             KY                    US   42837   128366128@AIRLINE.KIWI.COM
VG2Z8I   10/27/2020   OB   11/14/2020   WN;6788;PHX;SAN                      NORTH SHERYL           GA                    US   78886   128270615@AIRLINE.KIWI.COM
VG2Z8I   10/27/2020   OB   11/14/2020   WN;6788;PHX;SAN                      NORTH SHERYL           GA                    US   78886   128270615@AIRLINE.KIWI.COM
VGP4C3   10/27/2020   OB    11/1/2020   WN;1899;ATL;DEN;WN;3202;DEN;SJC      JAVIERTON              AK                    US   82653   128270890@AIRLINE.KIWI.COM
VI3ICI   10/27/2020   OB   10/28/2020   WN;2570;PVD;MDW;WN;3300;MDW;DTW      NEW ASHLEYBURY         WV                    US   49365   128271440@AIRLINE.KIWI.COM
VI3ICI   10/27/2020   RT    11/1/2020   WN;2642;DTW;BWI;WN;1999;BWI;PVD      NEW ASHLEYBURY         WV                    US   49365   128271440@AIRLINE.KIWI.COM
VILYY9   10/27/2020   OB    12/4/2020   WN;2516;DEN;SEA                      BRNO                   BRNO                  CZ   62500   128266446@AIRLINE.KIWI.COM
VILYY9   10/27/2020   OB    12/4/2020   WN;2516;DEN;SEA                      BRNO                   BRNO                  CZ   62500   128266446@AIRLINE.KIWI.COM
VILYY9   10/27/2020   OB    12/4/2020   WN;2516;DEN;SEA                      BRNO                   BRNO                  CZ   62500   128266446@AIRLINE.KIWI.COM
VILYY9   10/27/2020   OB    12/4/2020   WN;2516;DEN;SEA                      BRNO                   BRNO                  CZ   62500   128266446@AIRLINE.KIWI.COM
VIX87F   10/27/2020   OB     1/2/2021   WN;2317;LAX;OAK                      PORT LORITON           CO                    US   26611   128271946@AIRLINE.KIWI.COM
VJPRWP   10/27/2020   OB   10/28/2020   WN;2352;OAK;BUR;WN;2591;BUR;LAS      BRADLEYVIEW            LA                    US   57452   128272397@AIRLINE.KIWI.COM
VKJ9NT   10/27/2020   OB     1/3/2021   WN;3021;OAK;STL;WN;1720;STL;BWI      MONICATOWN             DE                    US   39556   128272485@AIRLINE.KIWI.COM
VL8ZLG   10/27/2020   OB   11/27/2020   WN;6871;LAS;MDW                      SOUTH MARYBURGH        SD                    US   33200   128272804@AIRLINE.KIWI.COM




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VLDJ2B   10/27/2020   OB    11/6/2020   WN;34;SMF;ONT                     PORT ERICA             WV                    US   21689   128273321@AIRLINE.KIWI.COM
VLHNIC   10/27/2020   OB   10/30/2020   WN;2038;PHX;LAS                   KRISTENBURY            MO                    US   69310   128273442@AIRLINE.KIWI.COM
VLHNLS   10/27/2020   OB    11/8/2020   WN;128;ONT;SMF                    GONZALEZMOUTH          MO                    US    4319   128273321@AIRLINE.KIWI.COM
VMRKN2   10/27/2020   OB   10/30/2020   WN;6;BDL;MCO;WN;478;MCO;FLL       TANNERTOWN             FL                    US   85252   128273849@AIRLINE.KIWI.COM
VMSN4S   10/27/2020   OB   10/29/2020   WN;2122;LGA;ATL                   TIMOTHYLAND            WV                    US   56041   128274234@AIRLINE.KIWI.COM
VNAORM   10/27/2020   OB   11/28/2020   WN;2367;RIC;ATL                   LAKE KENNETH           NV                    US    4373   128274454@AIRLINE.KIWI.COM
VNMLJ5   10/27/2020   OB   11/28/2020   WN;2367;RIC;ATL                   NEW TIMOTHY            TX                    US   67110   128274454@AIRLINE.KIWI.COM
VO4322   10/27/2020   OB     1/3/2021   WN;3436;LGA;ATL                   SOUTH CHRISTINABOROU   AL                    US   70341   128274674@AIRLINE.KIWI.COM
VOPN92   10/27/2020   OB   11/17/2020   WN;1360;FLL;BWI                   GAVLE                  VASTERNORRLANDS LAN   SE   58591   128273981@AIRLINE.KIWI.COM
VQX36M   10/27/2020   OB    11/2/2020   WN;3337;MCI;OAK                   LAKE EDWIN             GA                    US   35605   128276137@AIRLINE.KIWI.COM
VT6DFT   10/27/2020   OB   10/27/2020   WN;1330;AUS;HOU;WN;2477;HOU;ELP   SOUTH JAMES            AR                    US   80488   128277567@AIRLINE.KIWI.COM
VTG86Y   10/27/2020   OB   10/27/2020   WN;1655;BUR;OAK                   AMBERPORT              LA                    US   57484   128277589@AIRLINE.KIWI.COM
VTG86Y   10/27/2020   RT   10/28/2020   WN;3339;OAK;BUR                   AMBERPORT              LA                    US   57484   128277589@AIRLINE.KIWI.COM
VTNLEL   10/27/2020   OB   11/16/2020   WN;984;ATL;BWI;WN;392;BWI;BDL     GONDOMAR               FARO                  PT   53944   128277831@AIRLINE.KIWI.COM
VWEZI9   10/27/2020   OB   11/11/2020   WN;3228;LIT;DEN                   WILLIEBOROUGH          NV                    US   51004   128278546@AIRLINE.KIWI.COM
VWEZI9   10/27/2020   OB   11/11/2020   WN;3228;LIT;DEN                   WILLIEBOROUGH          NV                    US   51004   128278546@AIRLINE.KIWI.COM
VY8FEY   10/27/2020   OB   11/18/2020   WN;6900;RNO;LAS;WN;6913;LAS;SAN   GLASSFORT              KY                    US   93010   128279701@AIRLINE.KIWI.COM
VZJIGC   10/27/2020   OB   10/27/2020   WN;2266;MSP;MDW                   PORT COURTNEY          TN                    US    3433   128280306@AIRLINE.KIWI.COM
W34636   10/27/2020   OB    11/9/2020   WN;850;TPA;ATL;WN;2040;ATL;GSP    MEGANPORT              SC                    US   79526   128280999@AIRLINE.KIWI.COM
W9JPDN   10/27/2020   OB   11/11/2020   WN;6350;PHX;SMF                   SOUTH WILLIAM          MO                    US   75335   128284277@AIRLINE.KIWI.COM
W9YHAI   10/27/2020   OB   10/27/2020   WN;2274;OAK;BWI;WN;10;BWI;CLT     JUSTINSHIRE            GA                    US   79069   128284398@AIRLINE.KIWI.COM
WCFPBJ   10/27/2020   OB    12/7/2020   WN;2044;DAL;DCA                   PORT DUSTIN            AK                    US    6330   128286059@AIRLINE.KIWI.COM
WGCS49   10/27/2020   OB   10/30/2020   WN;2117;LAX;SMF                   LEWISVIEW              CT                    US   38109   128288666@AIRLINE.KIWI.COM
WGCS49   10/27/2020   RT    11/1/2020   WN;1324;SMF;LAX                   LEWISVIEW              CT                    US   38109   128288666@AIRLINE.KIWI.COM
WREIH5   10/27/2020   OB   12/15/2020   WN;1610;CUN;BWI                   SMITHFORT              AR                    US   18718   128300623@AIRLINE.KIWI.COM
WVM2JL   10/27/2020   OB   11/25/2020   WN;1712;BNA;BWI                   KIMVILLE               MI                    US   32058   128302537@AIRLINE.KIWI.COM
KH462W   10/28/2020   OB   12/28/2020   WN;6958;RNO;LAS                   EAST DEREK             WY                    US   77720   128366810@AIRLINE.KIWI.COM
KHQU3S   10/28/2020   OB     1/3/2021   WN;3534;AUS;IND                   KIMMOUTH               KS                    US   71366   128367481@AIRLINE.KIWI.COM
KHSREY   10/28/2020   OB   12/21/2020   WN;3336;IND;MCO;WN;655;MCO;SAT    NORTH RONALDSIDE       AR                    US   63353   128367481@AIRLINE.KIWI.COM
KJWH6N   10/28/2020   OB   10/28/2020   WN;2063;LAS;SMF                   EAST ANTHONYHAVEN      MT                    US   68513   128369439@AIRLINE.KIWI.COM
KKF6XZ   10/28/2020   OB   11/25/2020   WN;4405;CVG;MCO;WN;2671;MCO;BWI   RACHELSHIRE            VT                    US   55801   128369285@AIRLINE.KIWI.COM
KKJMMY   10/28/2020   OB    11/5/2020   WN;1436;SFO;DEN                   NEW JEFFERY            MS                    US    2561   128369681@AIRLINE.KIWI.COM
KKQ88B   10/28/2020   OB    11/6/2020   WN;1259;DEN;FLL                   CHARLESFORT            SD                    US   25632   128369692@AIRLINE.KIWI.COM
KLAEA9   10/28/2020   OB   12/28/2020   WN;675;RIC;ATL                    NORTH ANTHONYTON       IN                    US   64883   128369879@AIRLINE.KIWI.COM
KM82E7   10/28/2020   OB   10/30/2020   WN;2628;TPA;MSY                   GONZALESVIEW           VA                    US   54858   128370253@AIRLINE.KIWI.COM
KM9RX7   10/28/2020   OB     1/3/2021   WN;6642;RNO;PHX                   SCOTTTOWN              SD                    US   94916   128370341@AIRLINE.KIWI.COM
KMHC3D   10/28/2020   OB   11/24/2020   WN;4336;FLL;RDU                   SHAWNSTAD              OH                    US   40796   128370385@AIRLINE.KIWI.COM
KMHC3D   10/28/2020   OB   11/24/2020   WN;4336;FLL;RDU                   SHAWNSTAD              OH                    US   40796   128370385@AIRLINE.KIWI.COM
KNUY9Z   10/28/2020   OB   11/25/2020   WN;1970;MSP;LAS                   DERRICKBOROUGH         LA                    US   47904   128371265@AIRLINE.KIWI.COM
KOYT4T   10/28/2020   OB    11/1/2020   WN;849;ATL;IAD                    LAKE KEVINCHESTER      DE                    US   86553   128371771@AIRLINE.KIWI.COM
KPB4QF   10/28/2020   OB    11/8/2020   WN;855;LAS;MSP                    LAKE KEVINBERG         MN                    US   18641   128371793@AIRLINE.KIWI.COM
KQAZGX   10/28/2020   OB   11/26/2020   WN;4141;MIA;TPA;WN;6383;TPA;BNA   WEST EMILYTOWN         WA                    US   29767   128371155@AIRLINE.KIWI.COM
KRGD79   10/28/2020   OB   10/28/2020   WN;2063;LAS;SMF                   LAGOA                  COIMBRA               PT    9823   128373124@AIRLINE.KIWI.COM
KRGD79   10/28/2020   OB   10/28/2020   WN;2063;LAS;SMF                   LAGOA                  COIMBRA               PT    9823   128373124@AIRLINE.KIWI.COM
KS9KYI   10/28/2020   OB   11/25/2020   WN;6967;ATL;PHX                   LANDRYFURT             NE                    US   72336   128373608@AIRLINE.KIWI.COM
KSIW3G   10/28/2020   OB    11/6/2020   WN;493;ABQ;DEN                    NORTH KATHERINE        AK                    US    6795   128373476@AIRLINE.KIWI.COM
KSMEDB   10/28/2020   OB   11/13/2020   WN;1090;MSY;BWI                   MELANIEBURY            WI                    US   89073   128373762@AIRLINE.KIWI.COM
KSMEDB   10/28/2020   RT   11/20/2020   WN;759;BWI;MSY                    MELANIEBURY            WI                    US   89073   128373762@AIRLINE.KIWI.COM
KTYCVP   10/28/2020   OB   11/28/2020   WN;105;PHX;ATL                    SOUTH SHANNONFURT      ID                    US   25616   128374158@AIRLINE.KIWI.COM
KVJWAO   10/28/2020   OB   10/30/2020   WN;2465;SLC;SAN                   NUEVA NICARAGUA        YUCATAN               MX    6472   128374950@AIRLINE.KIWI.COM
KX9HAJ   10/28/2020   OB    11/1/2020   WN;945;MDW;BNA                    SOUTH KENNETH          MS                    US   56327   128375885@AIRLINE.KIWI.COM
KYNVYQ   10/28/2020   OB   10/30/2020   WN;2125;TPA;FLL                   NUEVA GUINEA BISSAU    TABASCO               MX   21449   128376501@AIRLINE.KIWI.COM
KYNVYQ   10/28/2020   RT    11/2/2020   WN;2030;FLL;TPA                   NUEVA GUINEA BISSAU    TABASCO               MX   21449   128376501@AIRLINE.KIWI.COM
KZ9VZY   10/28/2020   OB   11/13/2020   WN;6647;SLC;PHX                   WEST MATTHEWHAVEN      GA                    US   18273   128376743@AIRLINE.KIWI.COM
KZX5RD   10/28/2020   OB   10/28/2020   WN;1466;LAS;DEN                   RAMIREZFURT            AR                    US   14353   128376930@AIRLINE.KIWI.COM
L4I538   10/28/2020   OB   10/31/2020   WN;2248;SJC;BUR                   SELO ALLA              ZAPORIZKA OBLAST      UA   57785   128378195@AIRLINE.KIWI.COM
L4I538   10/28/2020   RT    11/2/2020   WN;1668;BUR;SJC                   SELO ALLA              ZAPORIZKA OBLAST      UA   57785   128378195@AIRLINE.KIWI.COM
L4Z6Q7   10/28/2020   OB    11/9/2020   WN;1047;SJC;LAX                   SUMMERBOROUGH          AZ                    US   78722   128378349@AIRLINE.KIWI.COM
L87V2U   10/28/2020   OB    11/1/2020   WN;864;ATL;LGA                    WEST SHELBYTOWN        NJ                    US   57491   128378008@AIRLINE.KIWI.COM
L893FI   10/28/2020   OB     1/3/2021   WN;4504;LAX;OAK;WN;2550;OAK;SEA   NORTH BRITTANYBERG     ID                    US    8780   128380076@AIRLINE.KIWI.COM
L893FI   10/28/2020   OB     1/3/2021   WN;4504;LAX;OAK;WN;2550;OAK;SEA   NORTH BRITTANYBERG     ID                    US    8780   128380076@AIRLINE.KIWI.COM
L9V3SA   10/28/2020   OB   10/30/2020   WN;909;LGA;ATL                    ELIZABETHHAVEN         AR                    US   11996   128378008@AIRLINE.KIWI.COM
LANAYE   10/28/2020   OB     1/2/2021   WN;6877;ATL;DEN                   EAST JESSICALAND       IN                    US   47969   128381803@AIRLINE.KIWI.COM
LE2K6X   10/28/2020   OB   11/23/2020   WN;6749;DAL;DCA                   EAST NATASHABOROUGH    ND                    US   10100   128383992@AIRLINE.KIWI.COM
LE7UFH   10/28/2020   OB   11/19/2020   WN;6916;BWI;DAL                   NEW DANIELLE           MD                    US   84990   128383992@AIRLINE.KIWI.COM
LFOFB9   10/28/2020   OB   11/11/2020   WN;4596;LAS;LGB;WN;2954;LGB;OAK   LAKE LAURA             NE                    US    7526   128385092@AIRLINE.KIWI.COM
LPOWV9   10/28/2020   OB    11/9/2020   WN;278;MDW;ATL                    PATRICIAFURT           WA                    US   70028   128395201@AIRLINE.KIWI.COM
LQ5VE6   10/28/2020   OB   11/18/2020   WN;3757;LAX;OAK                   RHONDATON              NV                    US   24861   128394959@AIRLINE.KIWI.COM
LQ5VE6   10/28/2020   OB   11/18/2020   WN;3757;LAX;OAK                   RHONDATON              NV                    US   24861   128394959@AIRLINE.KIWI.COM
LTUQU8   10/28/2020   OB   11/12/2020   WN;198;SJU;MCO;WN;198;MCO;MKE     SIERADZ                PODLASKIE             PL   35078   128399546@AIRLINE.KIWI.COM
LUDKJB   10/28/2020   OB   12/19/2020   WN;1930;JAX;HOU;WN;1767;HOU;OKC   SOUTH ANDREWMOUTH      WV                    US   53889   128399766@AIRLINE.KIWI.COM
LVEE4P   10/28/2020   OB   11/19/2020   WN;939;BWI;BNA                    LAURAFURT              NC                    US   58018   128400569@AIRLINE.KIWI.COM
LYFN7I   10/28/2020   OB    11/9/2020   WN;996;DEN;CVG                    STEWARTBERG            VT                    US   26331   128403913@AIRLINE.KIWI.COM
LYMFUS   10/28/2020   OB   10/28/2020   WN;135;LAS;LAX                    VERONICAPORT           OK                    US   44467   128404947@AIRLINE.KIWI.COM
LZC4W5   10/28/2020   OB   10/28/2020   WN;1748;PBI;BWI;WN;2542;BWI;BDL   ROSEBURGH              MI                    US   15339   128405717@AIRLINE.KIWI.COM
LZMLXR   10/28/2020   OB   10/28/2020   WN;1748;PBI;BWI;WN;2542;BWI;BDL   WEST STEVENSTAD        WI                    US   45754   128405717@AIRLINE.KIWI.COM
M6VA84   10/28/2020   OB   12/26/2020   WN;1618;GSP;ATL                   PORT AMBERBURGH        CT                    US   86939   128410975@AIRLINE.KIWI.COM
M7DET8   10/28/2020   OB   12/11/2020   WN;1423;SAN;SFO                   CINDYSTAD              AL                    US   49207   128412086@AIRLINE.KIWI.COM
M8GJAU   10/28/2020   OB   11/15/2020   WN;1262;PHX;LAS                   RODRIGUEZVILLE         SC                    US   82126   128413021@AIRLINE.KIWI.COM
MAW7A9   10/28/2020   OB   11/12/2020   WN;527;IND;BWI                    TORRES VEDRAS          SETUBAL               PT   60533   128415463@AIRLINE.KIWI.COM
MAW7A9   10/28/2020   RT   11/15/2020   WN;1196;BWI;IND                   TORRES VEDRAS          SETUBAL               PT   60533   128415463@AIRLINE.KIWI.COM
MCKDHO   10/28/2020   OB   10/29/2020   WN;2588;SMF;LAX                   WILSONHAVEN            CA                    US   50427   128417927@AIRLINE.KIWI.COM
MEYERC   10/28/2020   OB    11/6/2020   WN;2888;CLT;DEN                   LAKE JACQUELINE        AZ                    US   31609   128421007@AIRLINE.KIWI.COM
MGNADV   10/28/2020   OB    11/8/2020   WN;763;DEN;CLT                    JENNASHIRE             TX                    US   54411   128422437@AIRLINE.KIWI.COM
MGTAFC   10/28/2020   OB   10/28/2020   WN;806;SMF;LAX                    CANNONMOUTH            NV                    US   26214   128422844@AIRLINE.KIWI.COM
MGYN9Q   10/28/2020   OB   12/26/2020   WN;1908;SJU;TPA                   D BUDENNOVSK           TVERSKAYA OBLAST      RU   91986   128423350@AIRLINE.KIWI.COM
MGYN9Q   10/28/2020   OB   12/26/2020   WN;1908;SJU;TPA                   D BUDENNOVSK           TVERSKAYA OBLAST      RU   91986   128423350@AIRLINE.KIWI.COM
MJXDU9   10/28/2020   OB   12/28/2020   WN;6760;OMA;DEN;WN;542;DEN;ONT    NORTH NATASHABURY      SD                    US    2299   128426749@AIRLINE.KIWI.COM
MM42ZS   10/28/2020   OB   11/22/2020   WN;1324;RDU;ATL;WN;6830;ATL;BNA   WEST ERIC              VA                    US   24237   128429598@AIRLINE.KIWI.COM
MMJ9E7   10/28/2020   OB   12/22/2020   WN;1111;OAK;BWI                   NANCYFURT              GA                    US   96773   128429180@AIRLINE.KIWI.COM
MORX74   10/28/2020   OB     1/8/2021   WN;3601;PIT;BWI                   WEST BETHAN            LINCOLNSHIRE          GB   67332   128431985@AIRLINE.KIWI.COM
MORX74   10/28/2020   OB     1/8/2021   WN;3601;PIT;BWI                   WEST BETHAN            LINCOLNSHIRE          GB   67332   128431985@AIRLINE.KIWI.COM
MSGRI5   10/28/2020   OB   11/11/2020   WN;4180;OMA;DEN                   WEST TONYA             ND                    US   78111   128434592@AIRLINE.KIWI.COM
MTBMEP   10/28/2020   OB    11/1/2020   WN;864;ATL;LGA                    FRANKLINTOWN           NJ                    US   26252   128437540@AIRLINE.KIWI.COM
MW5KY4   10/28/2020   OB   11/15/2020   WN;6912;OMA;DEN                   NEW ALAN               CA                    US   41512   128441621@AIRLINE.KIWI.COM
MX8UIS   10/28/2020   OB   11/24/2020   WN;1864;OMA;LAS;WN;3939;LAS;LAX   REBECCABURGH           NC                    US   80042   128443975@AIRLINE.KIWI.COM
MXZJ2P   10/28/2020   OB   11/21/2020   WN;889;SFO;LAX                    SBHAAPTINE             ASSAM                 IN    2464   128445152@AIRLINE.KIWI.COM
MXZJ2P   10/28/2020   OB   11/21/2020   WN;889;SFO;LAX                    SBHAAPTINE             ASSAM                 IN    2464   128445152@AIRLINE.KIWI.COM
MYI9RH   10/28/2020   OB   11/10/2020   WN;2987;MDW;ATL                   NORTH MELISSA          VA                    US   70273   128445790@AIRLINE.KIWI.COM
MYI9RH   10/28/2020   OB   11/10/2020   WN;2987;MDW;ATL                   NORTH MELISSA          VA                    US   70273   128445790@AIRLINE.KIWI.COM
MZKQJH   10/28/2020   OB     1/2/2021   WN;1085;BUR;OAK;WN;6965;OAK;SEA   NUEVA LIBANO           YUCATAN               MX   93266   128447517@AIRLINE.KIWI.COM
MZU5OI   10/28/2020   OB    12/8/2020   WN;2585;LAS;BOI                   SOUTH MICHAEL          MO                    US   60169   128447869@AIRLINE.KIWI.COM
N2EJY8   10/28/2020   OB   12/24/2020   WN;3273;DEN;TPA                   MEGANBERG              CT                    US   79861   128448221@AIRLINE.KIWI.COM
N2EJY8   10/28/2020   RT   12/31/2020   WN;3338;TPA;HOU;WN;4406;HOU;DEN   MEGANBERG              CT                    US   79861   128448221@AIRLINE.KIWI.COM
N2RIPP   10/28/2020   OB   12/27/2020   WN;6742;OAK;SEA                   SAN PATRICIO LOS BAJ   ZACATECAS             MX   96114   128449233@AIRLINE.KIWI.COM
N3H96B   10/28/2020   OB    11/3/2020   WN;1884;LAS;LGB                   EAST BRIANBURGH        SC                    US   55861   128450267@AIRLINE.KIWI.COM
N3KT4V   10/28/2020   OB   12/27/2020   WN;6742;OAK;SEA                   NUEVA FILIPINAS        GUERRERO              MX   63967   128450388@AIRLINE.KIWI.COM




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N6DKWI   10/28/2020   OB   12/10/2020   WN;4264;DEN;MSP                   SOUTH CHRISTOPHER      RI                   US   12973   128453919@AIRLINE.KIWI.COM
N6VJZX   10/28/2020   OB    11/1/2020   WN;2340;LAS;MDW;WN;1959;MDW;CHS   LAKE LEAH              WY                   US   53333   128454271@AIRLINE.KIWI.COM
N7Z9CD   10/28/2020   OB   10/28/2020   WN;135;LAS;LAX                    ST BUINAKSK            KALUZHSKAYA OBLAST   RU   25832   128455591@AIRLINE.KIWI.COM
N8B6LE   10/28/2020   OB   12/23/2020   WN;2146;BHM;DAL;WN;2146;DAL;SAT   NEW GUNVERCHESTER      ERZURUM              TR   55109   128456163@AIRLINE.KIWI.COM
N8BSZQ   10/28/2020   OB   11/26/2020   WN;3080;ECP;HOU;WN;2298;HOU;SAT   MARTINVIEW             NH                   US   31198   128456097@AIRLINE.KIWI.COM
N9IQ64   10/28/2020   OB    12/1/2020   WN;792;SLC;LAS                    BRYANTON               NY                   US   18429   128457373@AIRLINE.KIWI.COM
NCORKS   10/28/2020   OB     1/5/2021   WN;581;DEN;HDN                    BREWERSTAD             CO                   US   13392   128460167@AIRLINE.KIWI.COM
NCORKS   10/28/2020   OB     1/5/2021   WN;581;DEN;HDN                    BREWERSTAD             CO                   US   13392   128460167@AIRLINE.KIWI.COM
ND33VR   10/28/2020   OB     1/5/2021   WN;2730;CLT;DEN                   MICHAELVILLE           AK                   US   85602   128460167@AIRLINE.KIWI.COM
ND33VR   10/28/2020   OB     1/5/2021   WN;2730;CLT;DEN                   MICHAELVILLE           AK                   US   85602   128460167@AIRLINE.KIWI.COM
NDLQGH   10/28/2020   OB   11/26/2020   WN;3080;ECP;HOU;WN;2298;HOU;SAT   WEST CHRISTOPHERVILL   MI                   US   62097   128460475@AIRLINE.KIWI.COM
NERG6C   10/28/2020   OB    11/1/2020   WN;2325;ATL;DAL;WN;48;DAL;ELP     NORTH JOHNBURY         OK                   US   13713   128461542@AIRLINE.KIWI.COM
NH49JL   10/29/2020   OB   11/11/2020   WN;5037;DEN;BWI                   AMBERLAND              TX                   US   89055   128463082@AIRLINE.KIWI.COM
NH49JL   10/29/2020   OB   11/11/2020   WN;5037;DEN;BWI                   AMBERLAND              TX                   US   89055   128463082@AIRLINE.KIWI.COM
NHQ93V   10/29/2020   OB   12/24/2020   WN;4047;BWI;JAX                   LOVEBURGH              IA                   US   53490   128463368@AIRLINE.KIWI.COM
NHU5M5   10/29/2020   OB   12/28/2020   WN;630;JAX;BWI                    NEW WHITNEY            OH                   US   54184   128463368@AIRLINE.KIWI.COM
NIFA44   10/29/2020   OB     1/4/2021   WN;794;LAS;SJC                    MEGANLAND              HI                   US   25731   128462994@AIRLINE.KIWI.COM
NLG66A   10/29/2020   OB     1/6/2021   WN;331;BWI;MIA                    AUSTINPORT             NM                   US   29923   128465150@AIRLINE.KIWI.COM
NLG66A   10/29/2020   OB     1/6/2021   WN;331;BWI;MIA                    AUSTINPORT             NM                   US   29923   128465150@AIRLINE.KIWI.COM
NLN9SQ   10/29/2020   OB     1/3/2021   WN;4586;HRL;HOU;WN;2069;HOU;CLE   NEW PAUL               MN                   US   74529   128465293@AIRLINE.KIWI.COM
NPKNUX   10/29/2020   OB    11/8/2020   WN;101;PHX;LAX                    EAST JACOB             HI                   US   16019   128467383@AIRLINE.KIWI.COM
NQQBJU   10/29/2020   OB   10/30/2020   WN;813;SFO;BUR                    NEW COREY              AR                   US   30124   128467900@AIRLINE.KIWI.COM
NSQTZR   10/29/2020   OB   10/30/2020   WN;1187;ATL;MEM                   NEW PAULALAND          UT                   US    5704   128468670@AIRLINE.KIWI.COM
NTVHBJ   10/29/2020   OB   10/30/2020   WN;928;IAD;ATL                    PORT FRANKBURGH        NV                   US   18165   128469352@AIRLINE.KIWI.COM
NTVHBJ   10/29/2020   RT    11/2/2020   WN;1064;ATL;IAD                   PORT FRANKBURGH        NV                   US   18165   128469352@AIRLINE.KIWI.COM
NTWH45   10/29/2020   OB   12/22/2020   WN;522;SEA;OAK                    KATHLEENSIDE           MS                   US   66892   128469341@AIRLINE.KIWI.COM
NUEU4E   10/29/2020   OB   12/22/2020   WN;1280;OAK;PHX                   MENDOZASIDE            LA                   US   39696   128469341@AIRLINE.KIWI.COM
NUMJ69   10/29/2020   OB   10/29/2020   WN;1934;CLE;BWI;WN;2416;BWI;ATL   WEST TIMOTHY           AK                   US   10762   128469638@AIRLINE.KIWI.COM
NX8XEJ   10/29/2020   OB   10/31/2020   WN;909;LGA;ATL                    MELISSABURGH           TN                   US   66161   128470617@AIRLINE.KIWI.COM
NXY5MF   10/29/2020   OB   11/25/2020   WN;2669;MDW;SJU                   LAKE JESSICA           LEITRIM              IE   31143   128470782@AIRLINE.KIWI.COM
NXY5MF   10/29/2020   OB   11/25/2020   WN;2669;MDW;SJU                   LAKE JESSICA           LEITRIM              IE   31143   128470782@AIRLINE.KIWI.COM
NZ8JII   10/29/2020   OB   10/29/2020   WN;1178;ATL;MDW                   EAST DAVID             CA                   US    3563   128471585@AIRLINE.KIWI.COM
NZ8JII   10/29/2020   OB   10/29/2020   WN;1178;ATL;MDW                   SNELLVILLE             GA                   US    3563   128471585@AIRLINE.KIWI.COM
NZPCH9   10/29/2020   OB   10/29/2020   WN;2257;ATL;IND                   WILLIAMVILLE           SD                   US   70419   128471882@AIRLINE.KIWI.COM
NZPCH9   10/29/2020   OB   10/29/2020   WN;2257;ATL;IND                   WILLIAMVILLE           SD                   US   70419   128471882@AIRLINE.KIWI.COM
O2TA9F   10/29/2020   OB   10/29/2020   WN;2004;BWI;ATL                   EAST JAMES             AR                   US   94669   128472245@AIRLINE.KIWI.COM
O6W9V8   10/29/2020   OB    11/5/2020   WN;1002;DEN;LAX                   EAST HENRYCHESTER      NE                   US   82820   128474137@AIRLINE.KIWI.COM
O872V2   10/29/2020   OB   12/16/2020   WN;2487;SMF;PHX                   KATELYNSTAD            ME                   US   81031   128474918@AIRLINE.KIWI.COM
O872V2   10/29/2020   OB   12/16/2020   WN;2487;SMF;PHX                   KATELYNSTAD            ME                   US   81031   128474918@AIRLINE.KIWI.COM
O8R62Y   10/29/2020   OB   12/20/2020   WN;160;PHX;SMF                    NORTH JASONBERG        NV                   US   79980   128474918@AIRLINE.KIWI.COM
O8R62Y   10/29/2020   OB   12/20/2020   WN;160;PHX;SMF                    NORTH JASONBERG        NV                   US   79980   128474918@AIRLINE.KIWI.COM
OD895D   10/29/2020   OB   10/29/2020   WN;734;HOU;DEN                    SAMPSONPORT            OK                   US   68403   128477437@AIRLINE.KIWI.COM
OMXQZN   10/29/2020   OB   10/29/2020   WN;2384;PHX;OAK                   ALEXANDERMOUTH         CT                   US   92614   128485203@AIRLINE.KIWI.COM
OWLY24   10/29/2020   OB   11/26/2020   WN;2383;SAT;BWI                   EAST JONATHAN          ME                   US    5846   128497765@AIRLINE.KIWI.COM
P3XTXR   10/29/2020   OB   11/20/2020   WN;133;LIT;ATL                    REYNOLDSCHESTER        KY                   US   38317   128504035@AIRLINE.KIWI.COM
P89DW2   10/29/2020   OB    11/6/2020   WN;1333;ATL;RIC                   PORT CATHYMOUTH        WA                   US   98228   128509854@AIRLINE.KIWI.COM
P89DW2   10/29/2020   OB    11/6/2020   WN;1333;ATL;RIC                   PORT CATHYMOUTH        WA                   US   98228   128509854@AIRLINE.KIWI.COM
P8HILQ   10/29/2020   OB   12/28/2020   WN;532;DSM;STL                    KINGFURT               NY                   US   72871   128509447@AIRLINE.KIWI.COM
PA3OFL   10/29/2020   OB   12/29/2020   WN;1006;PNS;BNA;WN;952;BNA;RDU    DICKERSONBOROUGH       ND                   US   19258   128512395@AIRLINE.KIWI.COM
PA3OFL   10/29/2020   OB   12/29/2020   WN;1006;PNS;BNA;WN;952;BNA;RDU    DICKERSONBOROUGH       ND                   US   19258   128512395@AIRLINE.KIWI.COM
PAEWE2   10/29/2020   OB   12/26/2020   WN;1237;RDU;ATL                   NORTH LAUREN           NY                   US   87528   128512395@AIRLINE.KIWI.COM
PAEWE2   10/29/2020   OB   12/26/2020   WN;1237;RDU;ATL                   NORTH LAUREN           NY                   US   87528   128512395@AIRLINE.KIWI.COM
PBTVJ3   10/29/2020   OB   11/26/2020   WN;6877;TUS;DEN                   GORDONSHIRE            KY                   US   33984   128514133@AIRLINE.KIWI.COM
PFB47K   10/29/2020   OB   12/12/2020   WN;2679;DTW;BWI;WN;1814;BWI;AUA   THOMASSTAD             KS                   US   15386   128519050@AIRLINE.KIWI.COM
PFB47K   10/29/2020   OB   12/12/2020   WN;2679;DTW;BWI;WN;1814;BWI;AUA   THOMASSTAD             KS                   US   15386   128519050@AIRLINE.KIWI.COM
PFS67R   10/29/2020   OB   11/15/2020   WN;529;BNA;LGA                    WEST MICHAELFORT       OH                   US   39950   128519820@AIRLINE.KIWI.COM
PFTD52   10/29/2020   OB   11/15/2020   WN;529;BNA;LGA                    SAMPSONSIDE            PA                   US   28284   128519468@AIRLINE.KIWI.COM
PHA3BR   10/29/2020   OB   11/13/2020   WN;837;ATL;BNA                    LAKE JANICE            MD                   US   38352   128518401@AIRLINE.KIWI.COM
PII9UH   10/29/2020   OB    11/2/2020   WN;1964;TPA;FLL                   KELLIESIDE             MD                   US   46877   128522790@AIRLINE.KIWI.COM
PIQVUU   10/29/2020   OB   11/26/2020   WN;3390;PHX;BNA                   RENEEMOUTH             KS                   US   65942   128522801@AIRLINE.KIWI.COM
PKCFUG   10/29/2020   OB    11/1/2020   WN;1770;LAX;SLC                   BENJAMINVILLE          MN                   US    8961   128524726@AIRLINE.KIWI.COM
PSCZ79   10/29/2020   OB   11/12/2020   WN;891;BNA;CLE                    SOUTH HOLLY            OK                   US   69873   128534692@AIRLINE.KIWI.COM
PSI4BP   10/29/2020   OB    11/1/2020   WN;1014;MEM;MDW                   MARIAHPORT             KS                   US   39302   128534879@AIRLINE.KIWI.COM
PU8QPM   10/29/2020   OB   11/16/2020   WN;1064;MIA;TPA;WN;186;TPA;ATL    VIEJA BELGICA          TAMAULIPAS           MX   38194   128537167@AIRLINE.KIWI.COM
PU8QPM   10/29/2020   OB   11/16/2020   WN;1064;MIA;TPA;WN;186;TPA;ATL    VIEJA BELGICA          TAMAULIPAS           MX   38194   128537167@AIRLINE.KIWI.COM
PUEZ8X   10/29/2020   OB   12/21/2020   WN;2277;TPA;MDW                   ZACHARYSTAD            MI                   US   32875   128537321@AIRLINE.KIWI.COM
PUNPZS   10/29/2020   OB   12/23/2020   WN;6775;AUS;PHX                   AMANDAMOUTH            MT                   US   55898   128538091@AIRLINE.KIWI.COM
PXCOKF   10/29/2020   OB   11/19/2020   WN;1012;MSP;DEN                   SOUTH SAMANTHAVIEW     NJ                   US   69674   128542150@AIRLINE.KIWI.COM
PYLC7C   10/29/2020   OB   11/12/2020   WN;1326;LAX;HOU                   HALLTOWN               VT                   US   33260   122028885@AIRLINE.KIWI.COM
PYRXXI   10/29/2020   OB   11/12/2020   WN;780;SLC;HOU;WN;54;HOU;DAL      JANETBERG              VT                   US   35301   128543437@AIRLINE.KIWI.COM
PYRXXI   10/29/2020   RT   11/15/2020   WN;1160;DAL;SLC                   JANETBERG              VT                   US   35301   128543437@AIRLINE.KIWI.COM
PYY3EY   10/29/2020   OB   11/15/2020   WN;1160;DAL;SLC                   PORT JASONTON          AK                   US   79067   128543437@AIRLINE.KIWI.COM
PZIBG9   10/29/2020   OB   11/24/2020   WN;6732;MDW;CHS                   THOMPSONBURGH          OR                   US   68171   128543723@AIRLINE.KIWI.COM
PZKVJL   10/29/2020   OB   11/30/2020   WN;6856;CHS;MDW                   PORT KYLEVIEW          PA                   US   85274   128543723@AIRLINE.KIWI.COM
Q2A2BJ   10/29/2020   OB    11/5/2020   WN;776;LAS;MDW                    LAKE VANESSATOWN       KY                   US   90756   128544944@AIRLINE.KIWI.COM
Q2EL8U   10/29/2020   OB    12/1/2020   WN;6715;DEN;LAS                   SOUTH BRANDYTON        WA                   US   73382   128544548@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q2ML9F   10/29/2020   OB   12/19/2020   WN;1158;MSY;DAL                   MARIESTAD              TN                   US   74175   128521811@AIRLINE.KIWI.COM
Q3HFS9   10/29/2020   OB   12/22/2020   WN;6832;DAL;HOU                   NEW JEFFREYLAND        RI                   US   12722   128521811@AIRLINE.KIWI.COM
Q3HFS9   10/29/2020   OB   12/22/2020   WN;6832;DAL;HOU                   NEW JEFFREYLAND        RI                   US   12722   128521811@AIRLINE.KIWI.COM
Q3HFS9   10/29/2020   OB   12/22/2020   WN;6832;DAL;HOU                   NEW JEFFREYLAND        RI                   US   12722   128521811@AIRLINE.KIWI.COM
Q3HFS9   10/29/2020   OB   12/22/2020   WN;6832;DAL;HOU                   NEW JEFFREYLAND        RI                   US   12722   128521811@AIRLINE.KIWI.COM
Q3HFS9   10/29/2020   OB   12/22/2020   WN;6832;DAL;HOU                   NEW JEFFREYLAND        RI                   US   12722   128521811@AIRLINE.KIWI.COM
Q3HFS9   10/29/2020   OB   12/22/2020   WN;6832;DAL;HOU                   NEW JEFFREYLAND        RI                   US   12722   128521811@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5487S   10/29/2020   OB   12/17/2020   WN;325;MDW;LAS                    EVANSFURT              NH                   US   41395   128547914@AIRLINE.KIWI.COM
Q5DFUH   10/29/2020   OB   11/12/2020   WN;780;SLC;HOU;WN;54;HOU;DAL      WEST DENNIS            IN                   US   36207   128543437@AIRLINE.KIWI.COM
Q5DS2O   10/29/2020   OB   11/22/2020   WN;198;MCO;MKE                    NEW ROBERT             SC                   US   70689   128548101@AIRLINE.KIWI.COM
Q5DS2O   10/29/2020   OB   11/22/2020   WN;198;MCO;MKE                    NEW ROBERT             SC                   US   70689   128548101@AIRLINE.KIWI.COM
Q769U9   10/29/2020   OB   10/30/2020   WN;2627;RDU;ATL;WN;2231;ATL;TPA   NEW THOMAS             AR                   US   24753   128550609@AIRLINE.KIWI.COM
Q769U9   10/29/2020   OB   10/30/2020   WN;2627;RDU;ATL;WN;2231;ATL;TPA   NEW THOMAS             AR                   US   24753   128550609@AIRLINE.KIWI.COM
Q97SJU   10/29/2020   OB    11/5/2020   WN;598;ATL;IND                    MCCOYVIEW              IN                   US   45691   128552314@AIRLINE.KIWI.COM
Q97SJU   10/29/2020   OB    11/5/2020   WN;598;ATL;IND                    MCCOYVIEW              IN                   US   45691   128552314@AIRLINE.KIWI.COM
Q97SJU   10/29/2020   RT    11/7/2020   WN;6975;IND;ATL                   MCCOYVIEW              IN                   US   45691   128552314@AIRLINE.KIWI.COM
Q97SJU   10/29/2020   RT    11/7/2020   WN;6975;IND;ATL                   MCCOYVIEW              IN                   US   45691   128552314@AIRLINE.KIWI.COM
QA8LJL   10/29/2020   OB   11/23/2020   WN;662;MIA;HOU                    YOUNGLAND              WI                   US   11814   128553106@AIRLINE.KIWI.COM
QAKBG7   10/29/2020   OB   11/20/2020   WN;1056;HOU;MIA                   WEST TINABURGH         AK                   US   59322   128553106@AIRLINE.KIWI.COM




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QCK325   10/29/2020   OB   11/13/2020   WN;1543;SNA;LAS                   EAST JOHNNYCHESTER     SC                     US   32612   128555086@AIRLINE.KIWI.COM
QCK325   10/29/2020   OB   11/13/2020   WN;1543;SNA;LAS                   EAST JOHNNYCHESTER     SC                     US   32612   128555086@AIRLINE.KIWI.COM
QDAGBS   10/29/2020   OB   12/10/2020   WN;1375;SAN;HNL                   SOUTH JASON            AK                     US   18242   128555493@AIRLINE.KIWI.COM
QF8KOX   10/29/2020   OB   11/29/2020   WN;1750;PHX;LGB                   NUEVA ALBANIA          SAN LUIS POTOSI        MX   23425   128556263@AIRLINE.KIWI.COM
QFH33G   10/29/2020   OB   10/30/2020   WN;2118;LGA;MDW;WN;1934;MDW;CLE   DANIELSTON             OR                     US   81051   128556802@AIRLINE.KIWI.COM
QGO72P   10/29/2020   OB    12/1/2020   WN;595;HNL;ITO                    WARRENPORT             MO                     US   98215   128556978@AIRLINE.KIWI.COM
QGO72P   10/29/2020   OB    12/1/2020   WN;595;HNL;ITO                    WARRENPORT             MO                     US   98215   128556978@AIRLINE.KIWI.COM
QGZ6UF   10/30/2020   OB     1/2/2021   WN;1321;MCI;LAS;WN;6009;LAS;SAN   NORTH PETER            WY                     US   50716   128557792@AIRLINE.KIWI.COM
QGZ8PD   10/30/2020   OB    11/9/2020   WN;247;MCO;BNA                    HERNANDEZSIDE          NV                     US   88144   128557737@AIRLINE.KIWI.COM
QICL6K   10/30/2020   OB   12/22/2020   WN;1181;LGA;ATL                   WEST CARLOS            CO                     US   58348   128558320@AIRLINE.KIWI.COM
QICL6K   10/30/2020   RT   12/29/2020   WN;3360;ATL;LGA                   WEST CARLOS            CO                     US   58348   128558320@AIRLINE.KIWI.COM
QM3BK6   10/30/2020   OB    11/6/2020   WN;365;CLE;DEN;WN;131;DEN;CUN     NEW TOMMYTON           LA                     US   48180   128560894@AIRLINE.KIWI.COM
QNGJ2T   10/30/2020   OB   11/14/2020   WN;4334;DEN;SFO                   NORTH ULAKBEY          ISPARTA                TR   50462   128557220@AIRLINE.KIWI.COM
QNGJ2T   10/30/2020   OB   11/14/2020   WN;4334;DEN;SFO                   NORTH ULAKBEY          ISPARTA                TR   50462   128557220@AIRLINE.KIWI.COM
QNGJ2T   10/30/2020   OB   11/14/2020   WN;4334;DEN;SFO                   NORTH ULAKBEY          ISPARTA                TR   50462   128557220@AIRLINE.KIWI.COM
QNGJ2T   10/30/2020   OB   11/14/2020   WN;4334;DEN;SFO                   NORTH ULAKBEY          ISPARTA                TR   50462   128557220@AIRLINE.KIWI.COM
QNGJ2T   10/30/2020   OB   11/14/2020   WN;4334;DEN;SFO                   NORTH ULAKBEY          ISPARTA                TR   50462   128557220@AIRLINE.KIWI.COM
QNQKAW   10/30/2020   OB   10/31/2020   WN;2620;SMF;SAN                   NORTH THERESAPORT      NH                     US   62099   128561950@AIRLINE.KIWI.COM
QNS6FL   10/30/2020   OB   10/31/2020   WN;1917;MSY;HOU                   SPARKSVILLE            HI                     US   65929   128561818@AIRLINE.KIWI.COM
QNZQQH   10/30/2020   OB   10/30/2020   WN;478;ATL;MCO                    CURRYVILLE             AK                     US   54165   128562181@AIRLINE.KIWI.COM
QPL28R   10/30/2020   OB    11/6/2020   WN;6892;DEN;SAT                   CHRISSHIRE             GA                     US   44500   128562720@AIRLINE.KIWI.COM
QQCDZB   10/30/2020   OB   10/30/2020   WN;661;DEN;BOI                    CHAMBERSVILLE          WV                     US   24660   128563380@AIRLINE.KIWI.COM
QQO6NX   10/30/2020   OB   10/31/2020   WN;2540;RDU;MCO                   PORT KENNETHLAND       RI                     US   93145   128563523@AIRLINE.KIWI.COM
QQOE7Y   10/30/2020   OB   10/31/2020   WN;1690;OAK;LAS                   SOUTH TROYHAVEN        IL                     US   93878   128563534@AIRLINE.KIWI.COM
QQR88C   10/30/2020   OB   10/30/2020   WN;1848;BWI;ALB                   NEW JOSEPH             MA                     US   46352   128563809@AIRLINE.KIWI.COM
QRYTC6   10/30/2020   OB    11/6/2020   WN;1257;DEN;BNA                   PORT JAMESFURT         VA                     US   48422   128564392@AIRLINE.KIWI.COM
QT5IZK   10/30/2020   OB   12/29/2020   WN;1462;PHX;SJC;WN;1003;SJC;PDX   ASHLEYMOUTH            MI                     US   85566   128564601@AIRLINE.KIWI.COM
QT5IZK   10/30/2020   RT     1/3/2021   WN;6700;PDX;SMF;WN;1132;SMF;PHX   ASHLEYMOUTH            MI                     US   85566   128564601@AIRLINE.KIWI.COM
QTO8U3   10/30/2020   OB     1/6/2021   WN;763;DEN;CLT                    OWENBOROUGH            SD                     US   69784   128565140@AIRLINE.KIWI.COM
QTO8U3   10/30/2020   OB     1/6/2021   WN;763;DEN;CLT                    OWENBOROUGH            SD                     US   69784   128565140@AIRLINE.KIWI.COM
QU3UEA   10/30/2020   OB   12/29/2020   WN;422;DEN;HOU                    NEW DEBBIETON          NV                     US   75717   128565448@AIRLINE.KIWI.COM
QU9S7Z   10/30/2020   OB   12/29/2020   WN;422;DEN;HOU                    SELISHCHE MARUSIA      KIROVOHRADSKA OBLAST   UA   93026   128565525@AIRLINE.KIWI.COM
QUI96O   10/30/2020   OB   10/31/2020   WN;1757;AUS;PHX;WN;1190;PHX;MCI   NEW SABRINA            NY                     US   83696   128565668@AIRLINE.KIWI.COM
QUI96O   10/30/2020   OB   10/31/2020   WN;1757;AUS;PHX;WN;1190;PHX;MCI   NEW SABRINA            NY                     US   83696   128565668@AIRLINE.KIWI.COM
QV4N4T   10/30/2020   OB    11/2/2020   WN;2201;MCI;MDW;WN;2202;MDW;AUS   MICHAELSHIRE           GA                     US   96957   128565668@AIRLINE.KIWI.COM
QV4N4T   10/30/2020   OB    11/2/2020   WN;2201;MCI;MDW;WN;2202;MDW;AUS   MICHAELSHIRE           GA                     US   96957   128565668@AIRLINE.KIWI.COM
QVEZGC   10/30/2020   OB   11/15/2020   WN;6982;DEN;TUS                   SAN BERTA DE LA MONT   MORELOS                MX   81595   128565745@AIRLINE.KIWI.COM
QVGCHN   10/30/2020   OB   10/30/2020   WN;1878;LGA;BNA;WN;2643;BNA;MCO   NEW ANDREW             LA                     US   96960   128565712@AIRLINE.KIWI.COM
QVK6TJ   10/30/2020   OB   11/19/2020   WN;1216;DEN;MSY                   LAKE KIM               NH                     US   80916   128566207@AIRLINE.KIWI.COM
QW5UP9   10/30/2020   OB   11/25/2020   WN;6967;ATL;PHX                   WEST MICHAELVILLE      TN                     US   95025   128566658@AIRLINE.KIWI.COM
QWJUKT   10/30/2020   OB    11/1/2020   WN;2096;LAX;BNA;WN;2272;BNA;FLL   NEW HEATHERMOUTH       GA                     US   51719   128566636@AIRLINE.KIWI.COM
QWM6DG   10/30/2020   OB   12/19/2020   WN;1690;DEN;SJC                   MELINDAPORT            CO                     US   28686   128566878@AIRLINE.KIWI.COM
QWM6DG   10/30/2020   OB   12/19/2020   WN;1690;DEN;SJC                   MELINDAPORT            CO                     US   28686   128566878@AIRLINE.KIWI.COM
QWM6DG   10/30/2020   OB   12/19/2020   WN;1690;DEN;SJC                   MELINDAPORT            CO                     US   28686   128566878@AIRLINE.KIWI.COM
QWMATZ   10/30/2020   OB   11/22/2020   WN;529;BNA;LGA                    NEW CHRISTOPHER        AZ                     US   25810   128566394@AIRLINE.KIWI.COM
QXGGOP   10/30/2020   OB   12/19/2020   WN;564;DEN;PDX                    NORTH JUAN             WY                     US   62587   128567186@AIRLINE.KIWI.COM
QZ598A   10/30/2020   OB    11/9/2020   WN;855;LAS;MSP                    ONI                    MTSKHETAMTIANETI       GE   38889   128567681@AIRLINE.KIWI.COM
QZXVRK   10/30/2020   OB   10/31/2020   WN;2482;SFO;MDW;WN;1997;MDW;CVG   HALLTON                NM                     US   72338   128568220@AIRLINE.KIWI.COM
QZXVRK   10/30/2020   OB   10/31/2020   WN;2482;SFO;MDW;WN;1997;MDW;CVG   HALLTON                NM                     US   72338   128568220@AIRLINE.KIWI.COM
R2DJ5U   10/30/2020   OB    11/3/2020   WN;177;ATL;MSY                    SOUTH CHARLESTOWN      FL                     US   87924   128568319@AIRLINE.KIWI.COM
R3DVV5   10/30/2020   OB   12/22/2020   WN;738;PDX;SJC;WN;577;SJC;LAX     JEFFERSONMOUTH         AK                     US   35187   128568638@AIRLINE.KIWI.COM
R3DVV5   10/30/2020   OB   12/22/2020   WN;738;PDX;SJC;WN;577;SJC;LAX     JEFFERSONMOUTH         AK                     US   35187   128568638@AIRLINE.KIWI.COM
R3GXL2   10/30/2020   OB   11/10/2020   WN;2730;CLT;DEN                   PORT JOHN              TN                     US   79908   128568473@AIRLINE.KIWI.COM
R3URFR   10/30/2020   OB    11/8/2020   WN;51;MCO;DEN                     WEST MELANIEFURT       ID                     US   39543   128568935@AIRLINE.KIWI.COM
R3URFR   10/30/2020   OB    11/8/2020   WN;51;MCO;DEN                     WEST MELANIEFURT       ID                     US   39543   128568935@AIRLINE.KIWI.COM
R68HWJ   10/30/2020   OB    11/1/2020   WN;1064;ATL;IAD                   MELANIESHIRE           RI                     US   11658   128569606@AIRLINE.KIWI.COM
R8KFLG   10/30/2020   OB    11/6/2020   WN;111;MCO;DAL                    SOLBERG                ROGALAND               NO   19837   128570299@AIRLINE.KIWI.COM
R95SCZ   10/30/2020   OB    11/5/2020   WN;1137;OAK;LAX                   LAKE SAMUEL            WV                     US   26202   128570761@AIRLINE.KIWI.COM
R95SCZ   10/30/2020   OB    11/5/2020   WN;1137;OAK;LAX                   LAKE SAMUEL            WV                     US   26202   128570761@AIRLINE.KIWI.COM
R9FYXW   10/30/2020   OB    11/6/2020   WN;1817;LAX;OAK                   KATHRYNSIDE            KY                     US   14518   128570761@AIRLINE.KIWI.COM
R9FYXW   10/30/2020   OB    11/6/2020   WN;1817;LAX;OAK                   KATHRYNSIDE            KY                     US   14518   128570761@AIRLINE.KIWI.COM
RAYWTB   10/30/2020   OB   11/19/2020   WN;1285;PHX;PSP                   KEVINFORT              NV                     US   36424   128571399@AIRLINE.KIWI.COM
RDODBD   10/30/2020   OB    11/7/2020   WN;3872;PHX;SJC                   RIVA TERME             FORLICESENA            IT   87802   128572950@AIRLINE.KIWI.COM
RDODBD   10/30/2020   OB    11/7/2020   WN;3872;PHX;SJC                   RIVA TERME             FORLICESENA            IT   87802   128572950@AIRLINE.KIWI.COM
RE89D9   10/30/2020   OB    11/6/2020   WN;1173;BUR;OAK;WN;14;OAK;PDX     HANNAHSIDE             WA                     US   23057   128573797@AIRLINE.KIWI.COM
RELQ9S   10/30/2020   OB    11/6/2020   WN;1173;BUR;OAK;WN;14;OAK;PDX     LAKE JAMESPORT         IL                     US   75945   128573797@AIRLINE.KIWI.COM
RHDK3C   10/30/2020   OB   11/19/2020   WN;1285;PHX;PSP                   BAGDATI                SAMTSKHEJAVAKHETI      GE    9274   128575612@AIRLINE.KIWI.COM
RHDK3C   10/30/2020   OB   11/19/2020   WN;1285;PHX;PSP                   BAGDATI                SAMTSKHEJAVAKHETI      GE    9274   128575612@AIRLINE.KIWI.COM
RHDK3C   10/30/2020   OB   11/19/2020   WN;1285;PHX;PSP                   BAGDATI                SAMTSKHEJAVAKHETI      GE    9274   128575612@AIRLINE.KIWI.COM
RR78Y5   10/30/2020   OB   11/27/2020   WN;3372;LGA;TPA                   GEORGECHESTER          OR                     US    2959   128586095@AIRLINE.KIWI.COM
S2GUAK   10/30/2020   OB   12/25/2020   WN;2730;CLT;DEN                   RAMOSBURY              WV                     US   27336   128597557@AIRLINE.KIWI.COM
S2GUAK   10/30/2020   OB   12/25/2020   WN;2730;CLT;DEN                   RAMOSBURY              WV                     US   27336   128597557@AIRLINE.KIWI.COM
S2GUAK   10/30/2020   OB   12/25/2020   WN;2730;CLT;DEN                   RAMOSBURY              WV                     US   27336   128597557@AIRLINE.KIWI.COM
S2GUAK   10/30/2020   OB   12/25/2020   WN;2730;CLT;DEN                   RAMOSBURY              WV                     US   27336   128597557@AIRLINE.KIWI.COM
SAWJBV   10/30/2020   OB   12/17/2020   WN;892;PHL;BNA;WN;409;BNA;MSY     CARLYBURY              NC                     US   15912   128607809@AIRLINE.KIWI.COM
SBQQWB   10/30/2020   OB   11/23/2020   WN;6969;CLT;DAL                   WEBERFORT              CA                     US    8017   128608832@AIRLINE.KIWI.COM
SC79XP   10/30/2020   OB    12/1/2020   WN;11;DAL;HOU;WN;661;HOU;MIA      EAST PEGGY             MA                     US   45795   128608832@AIRLINE.KIWI.COM
SE4XKE   10/30/2020   OB   12/20/2020   WN;1082;MSP;DEN                   VIEJA ETIOPIA          COAHUILA DE ZARAGOZA   MX   47797   120905972.1491401@AIRLINE.KIWI.COM
SEZ9QU   10/30/2020   OB   11/26/2020   WN;2970;ATL;IAD                   BENTONBERG             ME                     US    9988   128613166@AIRLINE.KIWI.COM
SEZ9QU   10/30/2020   OB   11/26/2020   WN;2970;ATL;IAD                   BENTONBERG             ME                     US    9988   128613166@AIRLINE.KIWI.COM
SEZ9QU   10/30/2020   OB   11/26/2020   WN;2970;ATL;IAD                   BENTONBERG             ME                     US    9988   128613166@AIRLINE.KIWI.COM
SF3I9W   10/30/2020   OB   12/22/2020   WN;318;PIT;DEN                    LAKE CHARLES           KY                     US   51844   128612891@AIRLINE.KIWI.COM
SG2JPH   10/30/2020   OB   10/30/2020   WN;1705;LGB;PHX                   AMBERLAND              NJ                     US   59864   128614365@AIRLINE.KIWI.COM
SG7ZBC   10/30/2020   OB   11/16/2020   WN;850;TPA;ATL                    MEGHRI                 SYUNIK                 AM    2489   128613793@AIRLINE.KIWI.COM
SI7EZ5   10/30/2020   OB   11/29/2020   WN;3192;MHT;MCO                   MORALESBURY            NM                     US   64089   128616587@AIRLINE.KIWI.COM
SI7EZ5   10/30/2020   OB   11/29/2020   WN;3192;MHT;MCO                   MORALESBURY            NM                     US   64089   128616587@AIRLINE.KIWI.COM
SI7EZ5   10/30/2020   OB   11/29/2020   WN;3192;MHT;MCO                   MORALESBURY            NM                     US   64089   128616587@AIRLINE.KIWI.COM
SITVVM   10/30/2020   OB    11/6/2020   WN;1022;CMH;DAL;WN;460;DAL;ABQ    NORTH RANDALL          NJ                     US   78337   128617907@AIRLINE.KIWI.COM
SIXF5R   10/30/2020   OB   12/27/2020   WN;2233;AUS;HOU;WN;3187;HOU;CVG   EAST GEORGE            ND                     US   22938   128617929@AIRLINE.KIWI.COM
SJUO2W   10/30/2020   OB    11/1/2020   WN;1064;ATL;IAD                   JESSICAMOUTH           MD                     US   34369   128619051@AIRLINE.KIWI.COM
SLI9I4   10/30/2020   OB    11/3/2020   WN;177;ATL;MSY;WN;1599;MSY;LAX    GREVENBROICH           BREMEN                 DE   14920   128620228@AIRLINE.KIWI.COM
SNGZED   10/30/2020   OB   12/12/2020   WN;4160;CLE;BWI                   SIMMONSLAND            ME                     US   28951   128622813@AIRLINE.KIWI.COM
SNGZED   10/30/2020   RT   12/14/2020   WN;3302;BWI;CLE                   SIMMONSLAND            ME                     US   28951   128622813@AIRLINE.KIWI.COM
SNUXAO   10/30/2020   OB   11/14/2020   WN;3446;RNO;LAS                   IMOTSKI                ISTARSKA ZUPANIJA      HR    2674   128623770@AIRLINE.KIWI.COM
SNUXAO   10/30/2020   OB   11/14/2020   WN;3446;RNO;LAS                   IMOTSKI                ISTARSKA ZUPANIJA      HR    2674   128623770@AIRLINE.KIWI.COM
SPEGJE   10/30/2020   OB   10/30/2020   WN;2202;MDW;AUS                   WEST EMMA              MS                     US   11569   128625695@AIRLINE.KIWI.COM
SQ7XJK   10/30/2020   OB   10/31/2020   WN;2231;ATL;TPA                   EAST JESSICA           KY                     US   66153   128626894@AIRLINE.KIWI.COM
SS4MOT   10/30/2020   OB    11/6/2020   WN;933;DTW;BWI;WN;2241;BWI;MHT    SOUTH JAMES            NC                     US   48089   128628500@AIRLINE.KIWI.COM
SSEO88   10/30/2020   OB    11/3/2020   WN;1746;MHT;BWI;WN;1452;BWI;DTW   CHARLESLAND            TN                     US   62006   128628500@AIRLINE.KIWI.COM
SZHNAV   10/30/2020   OB   11/15/2020   WN;1327;RDU;BWI;WN;142;BWI;MIA    LAKE RONALDTON         AZ                     US   81460   128638103@AIRLINE.KIWI.COM
SZZMCX   10/30/2020   OB   10/31/2020   WN;865;ATL;DAL;WN;865;DAL;MCI     PORT VANESSASIDE       NY                     US    2445   128638818@AIRLINE.KIWI.COM
T2EOS9   10/30/2020   OB   12/29/2020   WN;687;MEM;DEN                    LEWISTOWN              MI                     US   31246   128638730@AIRLINE.KIWI.COM
T2EOS9   10/30/2020   OB   12/30/2020   WN;1403;DEN;SNA                   LEWISTOWN              MI                     US   31246   128638730@AIRLINE.KIWI.COM
T5CNYA   10/30/2020   OB   10/31/2020   WN;1770;LAX;SLC                   SAN GUADALUPE DE LA    BAJA CALIFORNIA        MX   60083   128642360@AIRLINE.KIWI.COM
T5CUQU   10/30/2020   OB   11/15/2020   WN;6839;ELP;PHX                   MOOREBOROUGH           HI                     US   23535   128642426@AIRLINE.KIWI.COM
T7J22K   10/30/2020   OB    12/1/2020   WN;874;LIH;HNL;WN;727;HNL;ITO     MASONTOWN              OR                     US   57857   128644406@AIRLINE.KIWI.COM
T85EUN   10/30/2020   OB   12/21/2020   WN;6736;SAT;LAS;WN;2261;LAS;SLC   JOHNSONMOUTH           WA                     US   36771   128644912@AIRLINE.KIWI.COM




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T9GPQX   10/30/2020   OB   10/31/2020   WN;2038;HOU;ATL                   EAST MICHAELSIDE      KS                      US   31169   128646529@AIRLINE.KIWI.COM
TAOKLB   10/30/2020   OB    11/2/2020   WN;2644;DAL;DEN                   MICHELLEBOROUGH       MO                      US   81662   128647475@AIRLINE.KIWI.COM
TASW4X   10/30/2020   OB   10/31/2020   WN;2056;ATL;JAX;WN;2529;JAX;HOU   LAKE TIMOTHY          CT                      US    3662   128647442@AIRLINE.KIWI.COM
TAYOBL   10/30/2020   OB   10/31/2020   WN;184;ICT;DEN;WN;313;DEN;DAL     ROBERTBURGH           OK                      US   70718   128647475@AIRLINE.KIWI.COM
TDA2NV   10/30/2020   OB   12/27/2020   WN;4975;BWI;SAN;WN;4975;SAN;SFO   SULLIVANBURY          AK                      US   67573   128649081@AIRLINE.KIWI.COM
TE567Z   10/30/2020   OB   10/31/2020   WN;2096;LAX;BNA;WN;2566;BNA;RDU   HUFFBURY              FL                      US   28737   128650082@AIRLINE.KIWI.COM
TE9T47   10/30/2020   OB   12/20/2020   WN;630;IND;ATL;WN;455;ATL;SAT     AARONTON              WY                      US   76240   128650181@AIRLINE.KIWI.COM
TECLBD   10/30/2020   OB   12/18/2020   WN;749;SAT;BWI;WN;685;BWI;IND     SOUTH KATHERINE       AK                      US   82364   128650060@AIRLINE.KIWI.COM
TGYHIB   10/30/2020   OB   11/15/2020   WN;1062;MIA;TPA                   JACKVILLE             IA                      US   89405   128650830@AIRLINE.KIWI.COM
TH8XFV   10/30/2020   OB   11/16/2020   WN;2888;CLT;DEN                   LISASHIRE             WA                      US   20789   128651512@AIRLINE.KIWI.COM
THN5G6   10/31/2020   OB   12/27/2020   WN;3429;BWI;PIT                   CADIZ                 BURGOS                  ES   33408   128651666@AIRLINE.KIWI.COM
TLL7TT   10/31/2020   OB     1/3/2021   WN;2123;ATL;CMH                   AYROWM                EREVAN                  AM   31220   128653921@AIRLINE.KIWI.COM
TMNVIG   10/31/2020   OB   10/31/2020   WN;2229;ATL;RSW                   EAST TAMMY            LEITRIM                 IE   33525   128654383@AIRLINE.KIWI.COM
TO8PT6   10/31/2020   OB    11/5/2020   WN;1431;SMF;SEA                   PENASTAD              OH                      US   78547   128655175@AIRLINE.KIWI.COM
TOS8GI   10/31/2020   OB     1/2/2021   WN;1690;DEN;SJC;WN;597;SJC;HNL    NEW LESLIETON         OH                      US    7870   128655582@AIRLINE.KIWI.COM
TOS8GI   10/31/2020   OB     1/2/2021   WN;1690;DEN;SJC;WN;597;SJC;HNL    NEW LESLIETON         OH                      US    7870   128655582@AIRLINE.KIWI.COM
TOS8GI   10/31/2020   OB     1/2/2021   WN;1690;DEN;SJC;WN;597;SJC;HNL    NEW LESLIETON         OH                      US    7870   128655582@AIRLINE.KIWI.COM
TP3RVN   10/31/2020   OB    11/5/2020   WN;373;BWI;CVG                    PORT MARY             VA                      US   49043   128655681@AIRLINE.KIWI.COM
TPAMHJ   10/31/2020   OB    11/8/2020   WN;374;CVG;BWI                    JACKSONSHIRE          MI                      US   41131   128655681@AIRLINE.KIWI.COM
TR6EIW   10/31/2020   OB   10/31/2020   WN;1865;LAX;STL                   CALDWELLFORT          IN                      US   50198   128656495@AIRLINE.KIWI.COM
TR8BBR   10/31/2020   OB   12/17/2020   WN;755;KOA;OAK;WN;2532;OAK;GEG    MARTYNMOUTH           WANDSWORTH              GB    7216   128656374@AIRLINE.KIWI.COM
TR8BBR   10/31/2020   OB   12/17/2020   WN;755;KOA;OAK;WN;2532;OAK;GEG    MARTYNMOUTH           WANDSWORTH              GB    7216   128656374@AIRLINE.KIWI.COM
TRT2VF   10/31/2020   OB    11/6/2020   WN;1054;BWI;MCO                   IVANBURY              WY                      US   40790   128656726@AIRLINE.KIWI.COM
TRT2VF   10/31/2020   RT   11/23/2020   WN;4475;MCO;BWI                   IVANBURY              WY                      US   40790   128656726@AIRLINE.KIWI.COM
TSUABN   10/31/2020   OB   12/21/2020   WN;574;GEG;LAS                    GONZALEZFURT          SD                      US   11842   128656781@AIRLINE.KIWI.COM
TSUABN   10/31/2020   OB   12/21/2020   WN;574;GEG;LAS                    GONZALEZFURT          SD                      US   11842   128656781@AIRLINE.KIWI.COM
TTWNQE   10/31/2020   OB    11/3/2020   WN;2116;LAX;SMF                   PORT BENJAMIN         MS                      US   40914   128657551@AIRLINE.KIWI.COM
TTXL58   10/31/2020   OB    11/8/2020   WN;1174;LAS;DEN                   TOMHAVEN              NC                      US   14731   128657474@AIRLINE.KIWI.COM
TTZCIM   10/31/2020   OB    12/6/2020   WN;2728;BUF;DEN;WN;2991;DEN;AUS   EAST TYLER            ND                      US   28374   128657573@AIRLINE.KIWI.COM
TUCMC7   10/31/2020   OB    12/6/2020   WN;2728;BUF;DEN;WN;2991;DEN;AUS   NORTH SAMANTHASIDE    RI                      US   30266   128657573@AIRLINE.KIWI.COM
TUHJ9O   10/31/2020   OB    11/8/2020   WN;763;DEN;CLT                    LAKE AMY              MS                      US   52007   128657474@AIRLINE.KIWI.COM
TV7F79   10/31/2020   OB   12/21/2020   WN;900;ATL;MDW                    AUTUMNBURY            UT                      US   93751   128657177@AIRLINE.KIWI.COM
TVZH2X   10/31/2020   OB   10/31/2020   WN;2591;BUR;LAS                   DOYLEBURGH            AL                      US   79354   128658112@AIRLINE.KIWI.COM
TYAX3W   10/31/2020   OB   12/17/2020   WN;398;BWI;RDU                    SHUKLGNNDDKII         JANAKPUR                NP   87812   128658871@AIRLINE.KIWI.COM
TZQ5WK   10/31/2020   OB   10/31/2020   WN;1595;PIT;MDW                   OLAWA                 PODLASKIE               PL   16165   128659608@AIRLINE.KIWI.COM
U2LLG8   10/31/2020   OB    11/6/2020   WN;320;DEN;CMH                    SCOTTFURT             WY                      US   53969   128660147@AIRLINE.KIWI.COM
U3XVOJ   10/31/2020   OB    11/3/2020   WN;1187;AUS;MDW;WN;2642;MDW;DTW   SOUTH MATTHEWBERG     NC                      US   52907   128660455@AIRLINE.KIWI.COM
U3XVOJ   10/31/2020   OB    11/3/2020   WN;1187;AUS;MDW;WN;2642;MDW;DTW   SOUTH MATTHEWBERG     NC                      US   52907   128660455@AIRLINE.KIWI.COM
U88FCM   10/31/2020   OB    11/1/2020   WN;1974;LAS;HOU                   ROBERTSFURT           DE                      US   26549   128661027@AIRLINE.KIWI.COM
U8CIOC   10/31/2020   OB   12/20/2020   WN;145;DEN;MDW                    NORTH ROBERT          SD                      US   64319   128661808@AIRLINE.KIWI.COM
UA78JT   10/31/2020   OB   12/16/2020   WN;4757;OAK;LAS                   SOTOMOUTH             NC                      US   20072   124361567.1491754@AIRLINE.KIWI.COM
UA78JT   10/31/2020   OB   12/16/2020   WN;4757;OAK;LAS                   SOTOMOUTH             NC                      US   20072   124361567.1491754@AIRLINE.KIWI.COM
UA78JT   10/31/2020   OB   12/16/2020   WN;4757;OAK;LAS                   SOTOMOUTH             NC                      US   20072   124361567.1491754@AIRLINE.KIWI.COM
UA78JT   10/31/2020   OB   12/16/2020   WN;4757;OAK;LAS                   SOTOMOUTH             NC                      US   20072   124361567.1491754@AIRLINE.KIWI.COM
UB6JWX   10/31/2020   OB   10/31/2020   WN;2591;BUR;LAS                   SERRANOVILLE          MI                      US   76261   128662611@AIRLINE.KIWI.COM
UDAMZM   10/31/2020   OB   12/19/2020   WN;1701;SFO;SAN                   CATHYMOUTH            VA                      US   33206   128663282@AIRLINE.KIWI.COM
UDAMZM   10/31/2020   OB   12/19/2020   WN;1701;SFO;SAN                   CATHYMOUTH            VA                      US   33206   128663282@AIRLINE.KIWI.COM
UEV45I   10/31/2020   OB   12/21/2020   WN;1068;SLC;OAK;WN;808;OAK;HNL    HAMILTONTON           NJ                      US   96795   128664228@AIRLINE.KIWI.COM
UFP342   10/31/2020   OB   12/24/2020   WN;2257;SFO;PHX                   GOYANGSI ILSANSEOGU   GANGWEONDO              KR   48991   128664514@AIRLINE.KIWI.COM
UFQ7NM   10/31/2020   OB   12/21/2020   WN;1068;SLC;OAK;WN;808;OAK;HNL    DICKERSONCHESTER      OR                      US   72771   128664404@AIRLINE.KIWI.COM
UFTXRB   10/31/2020   OB    11/3/2020   WN;2426;SAN;AUS                   NORTH DANNYMOUTH      KY                      US   75626   128664448@AIRLINE.KIWI.COM
UFTXRB   10/31/2020   OB    11/3/2020   WN;2426;SAN;AUS                   NORTH DANNYMOUTH      KY                      US   75626   128664448@AIRLINE.KIWI.COM
UFWPGV   10/31/2020   OB   11/11/2020   WN;1962;MCO;MDW;WN;4792;MDW;CVG   RAYVIEW               IA                      US   39065   128664547@AIRLINE.KIWI.COM
ULK2OY   10/31/2020   OB   10/31/2020   WN;32;SAT;HOU;WN;2253;HOU;PHX     NUEVA GAMBIA          YUCATAN                 MX   14281   128667616@AIRLINE.KIWI.COM
UUDRMG   10/31/2020   OB   10/31/2020   WN;909;LGA;ATL                    BROOKSVIEW            NC                      US   77577   128673534@AIRLINE.KIWI.COM
V4I35N   10/31/2020   OB   12/23/2020   WN;2784;OMA;DAL;WN;2427;DAL;ATL   PORT KELLY            IN                      US   12503   128680574@AIRLINE.KIWI.COM
V9T4IF   10/31/2020   OB    12/1/2020   WN;912;OKC;DEN;WN;1469;DEN;RNO    EAST ROBERTCHESTER    IL                      US   98117   128685315@AIRLINE.KIWI.COM
VBJWXI   10/31/2020   OB    11/5/2020   WN;598;HOU;ATL                    GARCIABURY            IL                      US   57807   128684193@AIRLINE.KIWI.COM
VC8WGU   10/31/2020   OB    11/9/2020   WN;763;DEN;CLT                    JONATHANHAVEN         ND                      US   73814   128687361@AIRLINE.KIWI.COM
VC8WGU   10/31/2020   OB    11/9/2020   WN;763;DEN;CLT                    JONATHANHAVEN         ND                      US   73814   128687361@AIRLINE.KIWI.COM
VE9IF9   10/31/2020   OB   10/31/2020   WN;1948;IAD;DEN;WN;1179;DEN;SFO   WEST JESSICAMOUTH     DE                      US   56203   128689429@AIRLINE.KIWI.COM
VE9IF9   10/31/2020   OB    11/1/2020   WN;1932;DCA;MDW;WN;2349;MDW;SFO   WEST JESSICAMOUTH     DE                      US   56203   128689429@AIRLINE.KIWI.COM
VEMNFK   10/31/2020   OB   10/31/2020   WN;1780;ATL;MCI                   AMBERBOROUGH          OR                      US   34171   128689726@AIRLINE.KIWI.COM
VF2IEV   10/31/2020   OB    1/11/2021   WN;3905;BNA;MCI                   PORT TAMMY            MO                      US   54945   128687504@AIRLINE.KIWI.COM
VGMQU8   10/31/2020   OB    12/5/2020   WN;2112;BUF;BWI;WN;2364;BWI;DEN   SMITHMOUTH            LA                      US   99427   128691464@AIRLINE.KIWI.COM
VK5A7W   10/31/2020   OB   11/16/2020   WN;389;PHL;BNA                    WEST AMANDALAND       WESTERN AUSTRALIA       AU   26944   128694676@AIRLINE.KIWI.COM
VKEC8A   10/31/2020   OB   11/14/2020   WN;6714;SAN;LAS                   ANDREWCHESTER         TX                      US   46230   128694885@AIRLINE.KIWI.COM
VKEC8A   10/31/2020   OB   11/14/2020   WN;6714;SAN;LAS                   ANDREWCHESTER         TX                      US   46230   128694885@AIRLINE.KIWI.COM
VKGV8P   10/31/2020   OB   11/19/2020   WN;900;BWI;GSP                    OMARLAND              LA                      US   74829   128694973@AIRLINE.KIWI.COM
VLDEIF   10/31/2020   OB   10/31/2020   WN;4234;PHX;LAS                   NEW MICHELLETOWN      VT                      US   89896   128695666@AIRLINE.KIWI.COM
VLNZ3I   10/31/2020   OB    11/8/2020   WN;1493;LAX;PHX                   PORT DONALDSTAD       TN                      US   42321   128696458@AIRLINE.KIWI.COM
VMR8BC   10/31/2020   OB   11/27/2020   WN;6235;ATL;PHL                   NORTH CARLABURGH      NY                      US   92959   128697371@AIRLINE.KIWI.COM
VN5DFA   10/31/2020   OB   11/12/2020   WN;6996;SLC;DEN                   CALKA                 SAMEGRELOZEMO SVANETI   GE   53949   128698075@AIRLINE.KIWI.COM
VPICOV   10/31/2020   OB   12/14/2020   WN;3091;DEN;MCO                   EAST CARL             PA                      US   33246   128700616@AIRLINE.KIWI.COM
VPICOV   10/31/2020   OB   12/14/2020   WN;3091;DEN;MCO                   EAST CARL             PA                      US   33246   128700616@AIRLINE.KIWI.COM
VSYOCV   10/31/2020   OB   10/31/2020   WN;2389;MDW;MCO                   OCONNORPORT           FL                      US    7876   128703949@AIRLINE.KIWI.COM
VTL44K   10/31/2020   OB   12/27/2020   WN;6703;SEA;DEN;WN;3862;DEN;CMH   THORNTONTOWN          UT                      US    9220   128704851@AIRLINE.KIWI.COM
VTL44K   10/31/2020   OB   12/27/2020   WN;6703;SEA;DEN;WN;3862;DEN;CMH   THORNTONTOWN          UT                      US    9220   128704851@AIRLINE.KIWI.COM
VY56IH   10/31/2020   OB   12/27/2020   WN;2233;AUS;HOU;WN;1856;HOU;MSY   SOUTH DENNISMOUTH     VA                      US   95590   128709306@AIRLINE.KIWI.COM
VYZT7D   10/31/2020   OB   12/24/2020   WN;3285;DEN;SFO                   KUSMAA                NARAYANI                NP   47863   128709933@AIRLINE.KIWI.COM
VZTMWJ   10/31/2020   OB   12/30/2020   WN;992;DAL;FLL                    NUNZIA CALABRO        AOSTA                   IT   84060   128711165@AIRLINE.KIWI.COM
W3EBTR   10/31/2020   OB    11/2/2020   WN;2300;MDW;LAX                   POPEHAVEN             MN                      US   72633   128712507@AIRLINE.KIWI.COM
W4EUER   10/31/2020   OB   10/31/2020   WN;4234;PHX;LAS                   MEGANBOROUGH          MA                      US   16825   128713277@AIRLINE.KIWI.COM
W52JSC   10/31/2020   OB   11/10/2020   WN;2699;SLC;DEN                   LAKE RUSSELLFORT      FL                      US   97971   128714168@AIRLINE.KIWI.COM
W59C6P   10/31/2020   OB   11/26/2020   WN;2208;LAX;DEN                   PORT KIMBERLY         ID                      US   43018   128714245@AIRLINE.KIWI.COM
W7DGIH   10/31/2020   OB    11/1/2020   WN;1894;BNA;LGA                   LEEVILLE              NH                      US   41140   128715422@AIRLINE.KIWI.COM
WCEVEV   10/31/2020   OB    11/9/2020   WN;273;MBJ;MCO                    WEST ANGELA           TN                      US   85745   128718777@AIRLINE.KIWI.COM
WCFTMP   10/31/2020   OB    11/2/2020   WN;1978;DEN;TUL                   NEW KATIEFURT         PA                      US   81997   128718832@AIRLINE.KIWI.COM
WHC5YC   10/31/2020   OB    11/1/2020   WN;1993;FLL;BNA;WN;2134;BNA;DCA   SOUTH LAUREN          AZ                      US    3425   128721560@AIRLINE.KIWI.COM
J246EQ    11/1/2020   OB    11/1/2020   WN;995;BWI;IND                    LEESHIRE              MT                      US   40755   128728270@AIRLINE.KIWI.COM
J39S56    11/1/2020   OB   11/12/2020   WN;938;ATL;STL                    KENDRATON             OR                      US   39825   128728523@AIRLINE.KIWI.COM
JBBDNJ    11/1/2020   OB   11/27/2020   WN;536;DTW;BWI;WN;536;BWI;PVD     EAST MICHAELSHIRE     OH                      US   17017   128730426@AIRLINE.KIWI.COM
JBWWY7    11/1/2020   OB    11/5/2020   WN;6189;CUN;DEN;WN;864;DEN;OAK    TYLERSIDE             WV                      US   19299   128730701@AIRLINE.KIWI.COM
JIW5NL    11/1/2020   OB   11/30/2020   WN;3070;CMH;LAS;WN;4023;LAS;LAX   LAKE ROBERTHAVEN      CA                      US   54761   128733891@AIRLINE.KIWI.COM
JPQFRI    11/1/2020   OB    11/1/2020   WN;2166;BNA;DCA                   JENSENMOUTH           MO                      US   31101   128737851@AIRLINE.KIWI.COM
JU3CV9    11/1/2020   OB    11/1/2020   WN;2171;ATL;PHL                   DUSTINFURT            CO                      US   26049   128740821@AIRLINE.KIWI.COM
JXE7SI    11/1/2020   OB    11/1/2020   WN;1971;LAS;SFO                   BROWNTOWN             AZ                      US   98878   128743791@AIRLINE.KIWI.COM
KDUC8O    11/1/2020   OB    11/1/2020   WN;2037;MSY;DEN;WN;1901;DEN;LAX   NEW FRANCISCO         FL                      US   74507   128757288@AIRLINE.KIWI.COM
KGNHUW    11/1/2020   OB    12/5/2020   WN;1815;AUA;BWI                   NORTH AARONSTAD       TX                      US   68721   125180539.1492491@AIRLINE.KIWI.COM
KGNHUW    11/1/2020   OB    12/5/2020   WN;1815;AUA;BWI                   NORTH AARONSTAD       TX                      US   68721   125180539.1492491@AIRLINE.KIWI.COM
KGOZK7    11/1/2020   OB    11/1/2020   WN;1353;BWI;CMH                   WEST CASSIDYBURY      WY                      US   30846   128760258@AIRLINE.KIWI.COM
KGU2B3    11/1/2020   OB    12/6/2020   WN;2467;BWI;DEN                   DOMINIQUECHESTER      TN                      US   63439   125180539.1492491@AIRLINE.KIWI.COM
KGU2B3    11/1/2020   OB    12/6/2020   WN;2467;BWI;DEN                   DOMINIQUECHESTER      TN                      US   63439   125180539.1492491@AIRLINE.KIWI.COM
KH9BKJ    11/1/2020   OB   12/19/2020   WN;4002;OAK;LAS                   DAVISBURY             MD                      US   20984   127218443.1492492@AIRLINE.KIWI.COM
KH9BKJ    11/1/2020   OB   12/19/2020   WN;4002;OAK;LAS                   DAVISBURY             MD                      US   20984   127218443.1492492@AIRLINE.KIWI.COM
KHD2SZ    11/1/2020   OB    11/1/2020   WN;2495;AUS;MDW                   EAST DENISEBURGH      OH                      US   42022   128761171@AIRLINE.KIWI.COM
KHFXAD    11/1/2020   OB    12/2/2020   WN;2348;DAL;LBB                   DIANECHESTER          AL                      US   16280   128761193@AIRLINE.KIWI.COM




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KHHZOT   11/1/2020   OB    12/2/2020   WN;876;MCO;DAL                        CHRISTOPHERBOROUGH    DE                     US   67329   128761193@AIRLINE.KIWI.COM
KI4O26   11/1/2020   OB   11/15/2020   WN;6137;DCA;STL                       EAST CHARLES          TN                     US   50056   128761875@AIRLINE.KIWI.COM
KI4O26   11/1/2020   OB   11/15/2020   WN;6137;DCA;STL                       EAST CHARLES          TN                     US   50056   128761875@AIRLINE.KIWI.COM
KISNX8   11/1/2020   OB   11/27/2020   WN;244;BWI;ATL                        SOUTH JOSEPHINE       BURY                   GB   10118   128762293@AIRLINE.KIWI.COM
KIT3SO   11/1/2020   OB   12/17/2020   WN;660;MIA;BWI                        MELISSATON            WA                     US    8644   128762381@AIRLINE.KIWI.COM
KK5ZAX   11/1/2020   OB   12/21/2020   WN;332;MIA;BWI                        RHONDAMOUTH           MO                     US   77921   128762381.1492517@AIRLINE.KIWI.COM
KMWR59   11/1/2020   OB    11/1/2020   WN;815;PNS;BNA                        FROSTCHESTER          VT                     US   68740   128767012@AIRLINE.KIWI.COM
KNYNYI   11/1/2020   OB    11/1/2020   WN;1927;DEN;OKC                       TROYMOUTH             ND                     US   21087   128768783@AIRLINE.KIWI.COM
KNZKEA   11/1/2020   OB    11/4/2020   WN;569;DEN;OAK;WN;883;OAK;OGG         SOUTH MICHELE         MA                     US   33495   128768574@AIRLINE.KIWI.COM
KP36AR   11/1/2020   OB   12/25/2020   WN;2877;LAX;LAS                       LI SHI                LIAONING SHENG         CN   25866   128769707@AIRLINE.KIWI.COM
KQ37LN   11/1/2020   OB   11/15/2020   WN;2532;OAK;GEG                       NEW JACOBTOWN         KY                     US   29238   128770719@AIRLINE.KIWI.COM
KQGMOY   11/1/2020   OB    1/28/2021   WN;743;PHL;TPA                        AMANDATON             IN                     US   63179   128770917@AIRLINE.KIWI.COM
KQGMOY   11/1/2020   OB    1/28/2021   WN;743;PHL;TPA                        AMANDATON             IN                     US   63179   128770917@AIRLINE.KIWI.COM
KRAB3W   11/1/2020   OB   12/28/2020   WN;1330;RDU;MDW                       EAST ELIZABETH        CA                     US   29169   128772347@AIRLINE.KIWI.COM
KT2VGP   11/1/2020   OB    11/1/2020   WN;1770;DEN;AUS                       JOHNBERG              TASMANIA               AU   26752   128773953@AIRLINE.KIWI.COM
KT8PVU   11/1/2020   OB   12/20/2020   WN;1242;FLL;BWI                       PHAADR                CHHATTISGARH           IN   60925   128774448@AIRLINE.KIWI.COM
KTM6HR   11/1/2020   OB    11/2/2020   WN;1074;DAL;SAT                       DAVIDTON              KY                     US   73227   128774404@AIRLINE.KIWI.COM
KU8R8O   11/1/2020   OB   12/20/2020   WN;1525;STL;BWI;WN;1212;BWI;BOS       DAVISMOUTH            MS                     US   74827   128775361@AIRLINE.KIWI.COM
KUHTHW   11/1/2020   OB   12/20/2020   WN;331;BWI;MIA                        NORTH JASON           CT                     US   26311   128776142@AIRLINE.KIWI.COM
KUHTHW   11/1/2020   RT    1/16/2021   WN;1051;MIA;BWI                       NORTH JASON           CT                     US   26311   128776142@AIRLINE.KIWI.COM
KVAB5E   11/1/2020   OB    11/2/2020   WN;1064;ATL;IAD                       NORTH NATHANBOROUGH   MI                     US   79239   128776736@AIRLINE.KIWI.COM
KXROET   11/1/2020   OB   12/25/2020   WN;2730;CLT;DEN                       NORTH CYNTHIASIDE     IA                     US   86781   128779926@AIRLINE.KIWI.COM
KXROET   11/1/2020   OB   12/25/2020   WN;2730;CLT;DEN                       NORTH CYNTHIASIDE     IA                     US   86781   128779926@AIRLINE.KIWI.COM
KY2DKF   11/1/2020   OB   11/17/2020   WN;3182;AUS;HOU;WN;3294;HOU;MIA       KELLEYMOUTH           VT                     US   60773   128780190@AIRLINE.KIWI.COM
KY6SA6   11/1/2020   OB     1/3/2021   WN;1143;DCA;HOU;WN;1143;HOU;SAT       WHITESIDE             IA                     US   86056   128780465@AIRLINE.KIWI.COM
KYBQSZ   11/1/2020   OB   12/28/2020   WN;422;DEN;HOU;WN;422;HOU;ECP         LIVINGSTONBOROUGH     MS                     US   64258   128780377@AIRLINE.KIWI.COM
KYBQSZ   11/1/2020   OB   12/28/2020   WN;422;DEN;HOU;WN;422;HOU;ECP         LIVINGSTONBOROUGH     MS                     US   64258   128780377@AIRLINE.KIWI.COM
KYBQSZ   11/1/2020   OB   12/28/2020   WN;422;DEN;HOU;WN;422;HOU;ECP         LIVINGSTONBOROUGH     MS                     US   64258   128780377@AIRLINE.KIWI.COM
KYBQSZ   11/1/2020   OB   12/28/2020   WN;422;DEN;HOU;WN;422;HOU;ECP         LIVINGSTONBOROUGH     MS                     US   64258   128780377@AIRLINE.KIWI.COM
KYDEZX   11/1/2020   OB   11/22/2020   WN;100;LAS;BUF                        LINTON                OK                     US   14969   128780553@AIRLINE.KIWI.COM
KYGQTD   11/1/2020   OB   11/17/2020   WN;2577;MIA;HOU;WN;3003;HOU;AUS       ASHLEYTOWN            NC                     US   20514   128780190@AIRLINE.KIWI.COM
KYGU4H   11/1/2020   OB   12/20/2020   WN;312;ECP;DAL;WN;745;DAL;DEN         WEST MATTHEW          GA                     US    5390   128780355@AIRLINE.KIWI.COM
KYGU4H   11/1/2020   OB   12/20/2020   WN;312;ECP;DAL;WN;745;DAL;DEN         WEST MATTHEW          GA                     US    5390   128780355@AIRLINE.KIWI.COM
KYGU4H   11/1/2020   OB   12/20/2020   WN;312;ECP;DAL;WN;745;DAL;DEN         WEST MATTHEW          GA                     US    5390   128780355@AIRLINE.KIWI.COM
KYGU4H   11/1/2020   OB   12/20/2020   WN;312;ECP;DAL;WN;745;DAL;DEN         WEST MATTHEW          GA                     US    5390   128780355@AIRLINE.KIWI.COM
KYWAAT   11/1/2020   OB   11/12/2020   WN;198;SJU;MCO;WN;198;MCO;MKE         NORTH LUCASMOUTH      NEW BRUNSWICK          CA   17559   128780938@AIRLINE.KIWI.COM
L48644   11/1/2020   OB    11/1/2020   WN;1435;SFO;SAN                       MANAWATANGI           NELSON CITY            NZ   98301   128784095@AIRLINE.KIWI.COM
L5844L   11/1/2020   OB    11/6/2020   WN;156;LGA;ATL                        NEW JENNIFERBOROUGH   ID                     US   26064   128785624@AIRLINE.KIWI.COM
L5DHQW   11/1/2020   OB   11/27/2020   WN;697;AUS;DAL;WN;1046;DAL;CLT        NEW CHRISTINA         WV                     US   97943   128785866@AIRLINE.KIWI.COM
L8Z3HN   11/1/2020   OB   12/20/2020   WN;6734;SEA;LAS;WN;6739;LAS;SAT       CHANGVIEW             NC                     US   70678   128788946@AIRLINE.KIWI.COM
L95ECX   11/1/2020   OB    11/2/2020   WN;1984;MDW;MSP                       NUEVA IRAQ            GUERRERO               MX    6294   128788451@AIRLINE.KIWI.COM
LB8SL2   11/1/2020   OB    11/8/2020   WN;398;RDU;DEN                        SHEABURGH             GA                     US   63501   128790277@AIRLINE.KIWI.COM
LCWP4D   11/1/2020   OB    11/2/2020   WN;2102;LAX;HOU                       NORTH KIMBERLY        MA                     US   11741   128791300@AIRLINE.KIWI.COM
LCXSVH   11/1/2020   OB   12/21/2020   WN;244;ATL;MDW                        HALEYSHIRE            WA                     US   89759   128791399@AIRLINE.KIWI.COM
LCXSVH   11/1/2020   OB   12/21/2020   WN;244;ATL;MDW                        HALEYSHIRE            WA                     US   89759   128791399@AIRLINE.KIWI.COM
LCXSVH   11/1/2020   OB   12/21/2020   WN;244;ATL;MDW                        HALEYSHIRE            WA                     US   89759   128791399@AIRLINE.KIWI.COM
LE33YI   11/1/2020   OB   12/22/2020   WN;155;ATL;LGA                        PORT RACHEL           NY                     US   52052   128792389@AIRLINE.KIWI.COM
LERGO4   11/1/2020   OB   12/25/2020   WN;3343;LGA;ATL                       TRACYFORT             IL                     US   24804   128792730@AIRLINE.KIWI.COM
LEXZFP   11/1/2020   OB    11/8/2020   WN;692;MDW;BWI;WN;2222;BWI;MCO        LAKE CHLOESTAD        MI                     US   12524   128792840@AIRLINE.KIWI.COM
LEXZFP   11/1/2020   RT    11/9/2020   WN;1246;MCO;MDW                       LAKE CHLOESTAD        MI                     US   12524   128792840@AIRLINE.KIWI.COM
LFIZCX   11/1/2020   OB   11/16/2020   WN;2888;CLT;DEN                       EAST JOHNMOUTH        NJ                     US   70283   128793203@AIRLINE.KIWI.COM
LFIZCX   11/1/2020   OB   11/16/2020   WN;2888;CLT;DEN                       EAST JOHNMOUTH        NJ                     US   70283   128793203@AIRLINE.KIWI.COM
LFIZCX   11/1/2020   OB   11/16/2020   WN;2888;CLT;DEN                       EAST JOHNMOUTH        NJ                     US   70283   128793203@AIRLINE.KIWI.COM
LFIZCX   11/1/2020   OB   11/16/2020   WN;2888;CLT;DEN                       EAST JOHNMOUTH        NJ                     US   70283   128793203@AIRLINE.KIWI.COM
LFUFCG   11/1/2020   OB    11/2/2020   WN;2070;ATL;BNA;WN;2134;BNA;DCA       SOUTH CARLOSBERG      CA                     US   26779   128793676@AIRLINE.KIWI.COM
LHG5ML   11/1/2020   OB   11/22/2020   WN;161;SEA;SMF                        NORTH PATRICK         UT                     US   93828   128794545@AIRLINE.KIWI.COM
LHG5ML   11/1/2020   OB   11/22/2020   WN;161;SEA;SMF                        NORTH PATRICK         UT                     US   93828   128794545@AIRLINE.KIWI.COM
WJHPA8   11/1/2020   OB    11/1/2020   WN;1632;BUF;BWI;WN;2228;BWI;MDW;WN;24COOKMOUTH              UT                     US   55181   128722517@AIRLINE.KIWI.COM
WNALMM   11/1/2020   OB     1/3/2021   WN;6884;ATL;DEN;WN;6608;DEN;GEG       NGUYENFORT            HI                     US   90982   128724629@AIRLINE.KIWI.COM
WNXOIL   11/1/2020   OB    11/1/2020   WN;163;SLC;PHX;WN;1298;PHX;PVR        NUEVA RUMANIA         COAHUILA DE ZARAGOZA   MX   47280   128724673@AIRLINE.KIWI.COM
WNZ9KK   11/1/2020   OB    11/1/2020   WN;4999;HOU;BWI;WN;2113;BWI;DTW       EAST SEANSIDE         HI                     US   18664   128724904@AIRLINE.KIWI.COM
WO8F3Y   11/1/2020   OB    11/1/2020   WN;2621;ATL;STL;WN;2621;STL;MDW       DAVIDFORT             VA                     US   47444   128724805@AIRLINE.KIWI.COM
WP6FYF   11/1/2020   OB   12/20/2020   WN;6734;SEA;LAS                       LAKE ERINPORT         WV                     US   24635   128249836.1492238@AIRLINE.KIWI.COM
WP6FYF   11/1/2020   OB   12/20/2020   WN;6734;SEA;LAS                       LAKE ERINPORT         WV                     US   24635   128249836.1492238@AIRLINE.KIWI.COM
WQC5U6   11/1/2020   OB    11/9/2020   WN;829;AUS;DEN                        ROGERSMOUTH           OH                     US   52185   128725707@AIRLINE.KIWI.COM
WUGZBK   11/1/2020   OB   12/22/2020   WN;158;HOU;LAS                        DUSHETI               SAMTSKHEJAVAKHETI      GE   80725   128726180@AIRLINE.KIWI.COM
WULUNQ   11/1/2020   OB   12/17/2020   WN;6949;SEA;LAS                       SEMENICABOROUGH       TULCEA                 RO   27384   128726180@AIRLINE.KIWI.COM
WUQZMX   11/1/2020   OB   12/17/2020   WN;4445;LAS;HOU                       BADUFURT              ASHANTI                GH   55170   128726180@AIRLINE.KIWI.COM
WW758U   11/1/2020   OB    11/1/2020   WN;1660;SFO;SAN                       G KHIMKI              TULSKAYA OBLAST        RU    7045   128727115@AIRLINE.KIWI.COM
LIIR69   11/2/2020   OB   11/26/2020   WN;3389;SAN;MDW;WN;4629;MDW;BWI       YORKBERG              MI                     US   80745   128794908@AIRLINE.KIWI.COM
LIQR86   11/2/2020   OB    3/18/2021   WN;2113;BWI;MCO                       CONTRERASBURY         IN                     US   81945   128785756@AIRLINE.KIWI.COM
LJRP7F   11/2/2020   OB   11/14/2020   WN;3802;SFO;DEN                       WEST GEORGE           RI                     US   32474   128795095@AIRLINE.KIWI.COM
LLRRVV   11/2/2020   OB   11/27/2020   WN;288;PHX;OAK                        NEW LOGAN             GA                     US   54146   128796712@AIRLINE.KIWI.COM
LLSK9P   11/2/2020   OB   12/17/2020   WN;623;DEN;ATL                        JONESFURT             MS                     US   22525   128796404@AIRLINE.KIWI.COM
LMMN4J   11/2/2020   OB    12/6/2020   WN;2323;DEN;CLT                       BAILEYCHESTER         VA                     US   13139   128796822@AIRLINE.KIWI.COM
LMMN4J   11/2/2020   OB    12/6/2020   WN;2323;DEN;CLT                       BAILEYCHESTER         VA                     US   13139   128796822@AIRLINE.KIWI.COM
LMMN4J   11/2/2020   OB    12/6/2020   WN;2323;DEN;CLT                       BAILEYCHESTER         VA                     US   13139   128796822@AIRLINE.KIWI.COM
LMMN4J   11/2/2020   OB    12/6/2020   WN;2323;DEN;CLT                       BAILEYCHESTER         VA                     US   13139   128796822@AIRLINE.KIWI.COM
LMV6CT   11/2/2020   OB   11/22/2020   WN;116;BWI;MCI                        EAST CHRISTOPHER      CO                     US   46659   128796965@AIRLINE.KIWI.COM
LN6IM6   11/2/2020   OB    11/2/2020   WN;2231;ATL;TPA                       NEW KELSEY            NC                     US   89681   128797031@AIRLINE.KIWI.COM
LN6IM6   11/2/2020   OB    11/2/2020   WN;2231;ATL;TPA                       NEW KELSEY            NC                     US   89681   128797031@AIRLINE.KIWI.COM
LOAXB9   11/2/2020   OB   11/29/2020   WN;3726;ATL;LIT                       LISAFORT              MO                     US   45496   128797416@AIRLINE.KIWI.COM
LPH4G3   11/2/2020   OB   11/23/2020   WN;4198;MCI;PHX                       SOUTH LARRYFURT       UT                     US   61383   128797845@AIRLINE.KIWI.COM
LPUQ7E   11/2/2020   OB   12/24/2020   WN;2522;BNA;MCO                       DAVISSIDE             AL                     US   79635   128798043@AIRLINE.KIWI.COM
LQRVR2   11/2/2020   OB   11/23/2020   WN;3527;PVD;BWI                       SZEKESFEHERVAR        SZEGED                 HU   15602   128798175@AIRLINE.KIWI.COM
LSAHWZ   11/2/2020   OB   12/24/2020   WN;4487;BUF;MDW                       DIANABERG             SC                     US   64674   128799143@AIRLINE.KIWI.COM
LSNRQ2   11/2/2020   OB    11/6/2020   WN;6996;SLC;DEN                       WEST BRENDAMOUTH      MO                     US   21804   128799539@AIRLINE.KIWI.COM
LTTUBJ   11/2/2020   OB   12/20/2020   WN;1334;RIC;ATL;WN;156;ATL;SDF        JUSTINCHESTER         HI                     US   52344   128799880@AIRLINE.KIWI.COM
LTZCOZ   11/2/2020   OB     1/5/2021   WN;2079;SDF;ATL;WN;846;ATL;RIC        PORT PAULBURGH        DE                     US   38368   128799880@AIRLINE.KIWI.COM
LU6ZKX   11/2/2020   OB    11/3/2020   WN;2241;MKE;BWI;WN;2170;BWI;PVD       LAKE WILLIAM          MA                     US   17153   128800155@AIRLINE.KIWI.COM
LWI75I   11/2/2020   OB   12/19/2020   WN;1069;SJC;LGB;WN;1069;LGB;AUS       WEST JAMIEFORT        HI                     US   83603   128801343@AIRLINE.KIWI.COM
LWI75I   11/2/2020   OB   12/19/2020   WN;1069;SJC;LGB;WN;1069;LGB;AUS       WEST JAMIEFORT        HI                     US   83603   128801343@AIRLINE.KIWI.COM
LXJMDQ   11/2/2020   OB   12/29/2020   WN;1058;MIA;BWI;WN;1242;BWI;BNA       LAMMASFORT            WEST COAST             NZ   97475   128801728@AIRLINE.KIWI.COM
LXROBY   11/2/2020   OB    11/3/2020   WN;643;HNL;LIH                        PORT NICOLE           SC                     US   87103   128801970@AIRLINE.KIWI.COM
LXROBY   11/2/2020   OB    11/3/2020   WN;643;HNL;LIH                        PORT NICOLE           SC                     US   87103   128801970@AIRLINE.KIWI.COM
LYDHNR   11/2/2020   OB    11/2/2020   WN;1335;OGG;HNL                       GREGORYSTAD           VA                     US   81499   128801970@AIRLINE.KIWI.COM
LYDHNR   11/2/2020   OB    11/2/2020   WN;1335;OGG;HNL                       GREGORYSTAD           VA                     US   81499   128801970@AIRLINE.KIWI.COM
LYHZE2   11/2/2020   OB   12/29/2020   WN;1058;MIA;BWI;WN;1242;BWI;BNA       WSJYMOUTH             TABUK                  SA   46163   128802234@AIRLINE.KIWI.COM
M2BI42   11/2/2020   OB    11/8/2020   WN;1482;PHX;MSP                       NORTH TERESASTAD      OR                     US   56167   128802894@AIRLINE.KIWI.COM
M39MLN   11/2/2020   OB    11/2/2020   WN;1064;ATL;IAD                       MEGANPORT             NC                     US   19738   128803213@AIRLINE.KIWI.COM
M42QMU   11/2/2020   OB   11/29/2020   WN;3976;SJU;MDW                       BOLTONBERG            DIEKIRCH               LU   20622   128803752@AIRLINE.KIWI.COM
M43EEV   11/2/2020   OB   11/19/2020   WN;657;MDW;FLL;WN;657;FLL;MCO;WN;657;MKHIOS                 KRITI                  GR   92009   128803763@AIRLINE.KIWI.COM
M5B2ZW   11/2/2020   OB   11/29/2020   WN;1215;BDL;MDW                       LAKE ASHLEY           ND                     US   36870   128804170@AIRLINE.KIWI.COM
M64GPS   11/2/2020   OB    12/2/2020   WN;4536;PHX;SAN                       FRANCISMOUTH          NM                     US   33730   128804423@AIRLINE.KIWI.COM
M64GPS   11/2/2020   OB    12/2/2020   WN;4536;PHX;SAN                       FRANCISMOUTH          NM                     US   33730   128804423@AIRLINE.KIWI.COM
M64GPS   11/2/2020   OB    12/2/2020   WN;4536;PHX;SAN                       FRANCISMOUTH          NM                     US   33730   128804423@AIRLINE.KIWI.COM
M6I43V   11/2/2020   OB   12/14/2020   WN;4124;MDW;SMF                       JOYE AN DER AARE      OBWALDEN               CH   47038   128804588@AIRLINE.KIWI.COM




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M6XGJK   11/2/2020   OB   12/20/2020   WN;6705;SMF;MDW                   KOPERNICA              BANSKOBYSTRICKY KRAJ     SK   54726   128804588@AIRLINE.KIWI.COM
M86JAN   11/2/2020   OB   11/11/2020   WN;883;OAK;OGG                    NURSANSIDE             ZONGULDAK                TR   60256   128805347@AIRLINE.KIWI.COM
M86JAN   11/2/2020   RT   11/12/2020   WN;1150;OGG;OAK                   NURSANSIDE             ZONGULDAK                TR   60256   128805347@AIRLINE.KIWI.COM
M9M9J6   11/2/2020   OB   11/26/2020   WN;6363;ELP;HOU;WN;2516;HOU;MCO   SAN OLGA DE LA MONTA   DURANGO                  MX   15527   128805842@AIRLINE.KIWI.COM
MAJV95   11/2/2020   OB   11/26/2020   WN;6363;ELP;HOU                   SAN GENARO LOS BAJOS   COLIMA                   MX   24446   128806161@AIRLINE.KIWI.COM
MAJV95   11/2/2020   OB   11/26/2020   WN;6957;ELP;DAL;WN;4016;DAL;MCO   SAN GENARO LOS BAJOS   COLIMA                   MX   24446   128806161@AIRLINE.KIWI.COM
MC2C9M   11/2/2020   OB   11/19/2020   WN;6936;TUL;DEN                   LAKE PAULA             AZ                       US   18725   128802157@AIRLINE.KIWI.COM
MC8A4I   11/2/2020   OB    12/1/2020   WN;6701;MDW;LAS                   ELIZABETHHAVEN         NJ                       US   22451   128806403@AIRLINE.KIWI.COM
MD42NU   11/2/2020   OB    1/21/2021   WN;2654;SAT;BWI;WN;3984;BWI;FLL   WESTERGEEST            FRIESLAND                NL   99848   128805292@AIRLINE.KIWI.COM
MFBFUF   11/2/2020   OB     1/5/2021   WN;904;ATL;DEN                    DUARTE                 DISTRITO FEDERAL         BR   26995   128807954@AIRLINE.KIWI.COM
MFBFUF   11/2/2020   OB     1/5/2021   WN;904;ATL;DEN                    DUARTE                 DISTRITO FEDERAL         BR   26995   128807954@AIRLINE.KIWI.COM
MFBFUF   11/2/2020   OB     1/5/2021   WN;904;ATL;DEN                    DUARTE                 DISTRITO FEDERAL         BR   26995   128807954@AIRLINE.KIWI.COM
MFBFUF   11/2/2020   OB     1/5/2021   WN;904;ATL;DEN                    DUARTE                 DISTRITO FEDERAL         BR   26995   128807954@AIRLINE.KIWI.COM
MLPIHP   11/2/2020   OB    11/2/2020   WN;2068;ATL;RIC                   PORT SHANNON           PA                       US   38785   128813157@AIRLINE.KIWI.COM
MMVSBQ   11/2/2020   OB   11/11/2020   WN;1925;PHX;LAS                   RANDALLPORT            WV                       US   43685   128814059@AIRLINE.KIWI.COM
MMVSBQ   11/2/2020   OB   11/11/2020   WN;1925;PHX;LAS                   RANDALLPORT            WV                       US   43685   128814059@AIRLINE.KIWI.COM
N4BAX3   11/2/2020   OB    2/11/2021   WN;2046;ATL;HOU;WN;317;HOU;CUN    LAKE SANDRA            GA                       US   56175   128838644@AIRLINE.KIWI.COM
N4BAX3   11/2/2020   OB    2/11/2021   WN;2046;ATL;HOU;WN;317;HOU;CUN    LAKE SANDRA            GA                       US   56175   128838644@AIRLINE.KIWI.COM
N5CO9P   11/2/2020   OB    12/9/2020   WN;3388;MDW;MCO                   AMBERBURGH             NC                       US   96311   123423102.1492980@AIRLINE.KIWI.COM
N6U2LN   11/2/2020   OB   12/27/2020   WN;1829;PVD;MDW;WN;4538;MDW;LAS   WARDFORT               NY                       US   45852   128841141@AIRLINE.KIWI.COM
N7QMUW   11/2/2020   OB   12/22/2020   WN;1062;MIA;TPA                   LA RIOJA               ALICANTE                 ES   74465   128841647@AIRLINE.KIWI.COM
N7T6AA   11/2/2020   OB   12/28/2020   WN;1065;TPA;MIA                   TERUEL                 -                        -    29375   128841647@AIRLINE.KIWI.COM
N88BJZ   11/2/2020   OB    11/4/2020   WN;2077;BNA;JAX                   MATTHEWVILLE           NJ                       US   65637   128842406@AIRLINE.KIWI.COM
N8YUKE   11/2/2020   OB    11/4/2020   WN;4217;MSY;BNA;WN;3379;BNA;PNS   MATTHEWSTAD            LA                       US   87152   128843891@AIRLINE.KIWI.COM
NBEMHF   11/2/2020   OB   11/13/2020   WN;996;DEN;CVG                    EAST KENNETH           SC                       US   82169   128847026@AIRLINE.KIWI.COM
NCEFUM   11/2/2020   OB    11/5/2020   WN;244;BOS;BWI                    COLLINSBURY            PA                       US   89731   128848665@AIRLINE.KIWI.COM
NDJ9UO   11/2/2020   OB    12/1/2020   WN;1373;BUF;DEN;WN;2501;DEN;TUS   SOUTH TRACY            VA                       US   63309   128850568@AIRLINE.KIWI.COM
NDPPVS   11/2/2020   OB   11/13/2020   WN;135;LGA;ATL                    MATTHEWSHIRE           CO                       US   94564   128849952@AIRLINE.KIWI.COM
NDPPVS   11/2/2020   OB   11/13/2020   WN;135;LGA;ATL                    MATTHEWSHIRE           CO                       US   94564   128849952@AIRLINE.KIWI.COM
NDPPVS   11/2/2020   OB   11/13/2020   WN;135;LGA;ATL                    MATTHEWSHIRE           CO                       US   94564   128849952@AIRLINE.KIWI.COM
NDPPVS   11/2/2020   OB   11/13/2020   WN;135;LGA;ATL                    MATTHEWSHIRE           CO                       US   94564   128849952@AIRLINE.KIWI.COM
NF8DW8   11/2/2020   OB   11/10/2020   WN;2877;LAX;LAS                   FRANKVILLE             OR                       US   53006   128849259@AIRLINE.KIWI.COM
NFXMIX   11/2/2020   OB   11/25/2020   WN;6958;SAN;MDW                   NEW SONIABURY          ID                       US   74506   128853010@AIRLINE.KIWI.COM
NFXMIX   11/2/2020   RT   11/29/2020   WN;6901;MDW;SAN                   NEW SONIABURY          ID                       US   74506   128853010@AIRLINE.KIWI.COM
NGQL5Y   11/2/2020   OB   11/18/2020   WN;2804;CVG;BWI                   LAKE AMYSTAD           CO                       US   52389   128853912@AIRLINE.KIWI.COM
NHJPDA   11/2/2020   OB    11/4/2020   WN;4692;LAS;SAN                   SOUTH JONATHANVIEW     PA                       US   71587   128855804@AIRLINE.KIWI.COM
NHPEKO   11/2/2020   OB   12/22/2020   WN;233;MSP;MDW;WN;712;MDW;MSY     WEST JAYBERG           GWYNEDD                  GB   10525   128855837@AIRLINE.KIWI.COM
NIAORV   11/2/2020   OB   11/29/2020   WN;3682;LAS;ABQ                   CASSIDYFURT            GA                       US   78920   128856332@AIRLINE.KIWI.COM
NIBH99   11/2/2020   OB   11/16/2020   WN;1216;DEN;MSY                   NEW ELLENVILLE         PA                       US   73629   128856673@AIRLINE.KIWI.COM
NK9A2E   11/2/2020   OB    12/6/2020   WN;4512;DEN;IND                   JASMINESIDE            NV                       US   81129   128859500@AIRLINE.KIWI.COM
NKEDPK   11/2/2020   OB   12/21/2020   WN;1261;BWI;DTW                   PORT JOSEPH            AL                       US   41572   128859918@AIRLINE.KIWI.COM
NKZ4OB   11/2/2020   OB     1/4/2021   WN;6717;DEN;OMA                   TONYAFURT              AR                       US   28513   128861227@AIRLINE.KIWI.COM
NN82PN   11/2/2020   OB   11/17/2020   WN;2527;DEN;BWI                   EAST JOHNSHIRE         NC                       US   58642   128864571@AIRLINE.KIWI.COM
NNZ9A2   11/2/2020   OB    11/2/2020   WN;2278;BNA;PHX                   NORTH MICHELE          NM                       US   44683   128866177@AIRLINE.KIWI.COM
NO92HB   11/2/2020   OB    12/5/2020   WN;3696;PHX;LAX                   EAST BRIAN             ID                       US   38167   128351762.1493157@AIRLINE.KIWI.COM
NOKA69   11/2/2020   OB   11/11/2020   WN;2730;CLT;DEN                   GRAVESBURGH            IL                       US   58883   128867002@AIRLINE.KIWI.COM
NOKA69   11/2/2020   OB   11/11/2020   WN;2730;CLT;DEN                   GRAVESBURGH            IL                       US   58883   128867002@AIRLINE.KIWI.COM
NOKA69   11/2/2020   OB   11/11/2020   WN;2730;CLT;DEN                   GRAVESBURGH            IL                       US   58883   128867002@AIRLINE.KIWI.COM
NOT22F   11/2/2020   OB    11/3/2020   WN;2529;DTW;BNA                   KIMBERLYSHIRE          WY                       US   78623   128866826@AIRLINE.KIWI.COM
NOWYNW   11/2/2020   OB    12/7/2020   WN;5014;ATL;DEN                   SOUTH HOLLY            NV                       US   54646   128867827@AIRLINE.KIWI.COM
NRUVPF   11/2/2020   OB   11/10/2020   WN;4317;DEN;ICT                   STEVENMOUTH            NV                       US    7593   128872128@AIRLINE.KIWI.COM
NRUVPF   11/2/2020   OB   11/10/2020   WN;4317;DEN;ICT                   STEVENMOUTH            NV                       US    7593   128872128@AIRLINE.KIWI.COM
NSWBGJ   11/2/2020   OB     1/7/2021   WN;966;SLC;OAK;WN;808;OAK;HNL     WEST KENNETH           AL                       US   31432   128873250@AIRLINE.KIWI.COM
NSYJGY   11/2/2020   OB    11/3/2020   WN;177;ATL;MSY                    NORTH MELISSA          NY                       US   11075   128873800@AIRLINE.KIWI.COM
NTV8MF   11/2/2020   OB   11/10/2020   WN;2438;BNA;MCO                   NEW CONNIEBOROUGH      MI                       US   42781   128874449@AIRLINE.KIWI.COM
NVGI97   11/2/2020   OB    11/2/2020   WN;1503;TPA;BNA                   GARNERSTAD             AK                       US    6391   128876726@AIRLINE.KIWI.COM
NVGI97   11/2/2020   OB    11/2/2020   WN;1503;TPA;BNA                   GARNERSTAD             AK                       US    6391   128876726@AIRLINE.KIWI.COM
NVKXKP   11/2/2020   OB   11/29/2020   WN;6829;CLT;DAL                   KHUTIR NAZAR           ZAKARPATSKA OBLAST       UA   96780   128877639@AIRLINE.KIWI.COM
NVLCRR   11/2/2020   OB   12/20/2020   WN;1180;GSP;BWI                   WEBBFURT               AR                       US   46493   128877463@AIRLINE.KIWI.COM
NVLCRR   11/2/2020   RT     1/3/2021   WN;2653;BWI;GSP                   WEBBFURT               AR                       US   46493   128877463@AIRLINE.KIWI.COM
NZM6SC   11/2/2020   OB    11/3/2020   WN;2098;LAS;LAX                   CRAIGVILLE             MI                       US   57196   128883029@AIRLINE.KIWI.COM
O4MJEI   11/2/2020   OB    11/8/2020   WN;130;ELP;DAL;WN;6419;DAL;DEN    ROSESTAD               WV                       US    8538   128887682@AIRLINE.KIWI.COM
O4ORGS   11/2/2020   OB   12/21/2020   WN;529;DAL;BNA;WN;529;BNA;LGA     LAKE BRIAN             OK                       US   84660   128887033@AIRLINE.KIWI.COM
O55AUQ   11/2/2020   OB   11/27/2020   WN;933;DTW;BWI                    ERICMOUTH              MT                       US   80452   128888551@AIRLINE.KIWI.COM
O5DXJM   11/2/2020   OB    12/3/2020   WN;4824;SAT;HOU;WN;6236;HOU;SJD   EAST DEBBIE            LA                       US   68095   128888980@AIRLINE.KIWI.COM
O5FS9E   11/2/2020   OB    11/3/2020   WN;2530;LAS;OAK                   PATRICKSTAD            RI                       US   61113   128888507@AIRLINE.KIWI.COM
O5WVPU   11/2/2020   OB    12/3/2020   WN;4824;SAT;HOU;WN;6236;HOU;SJD   NORTH CHRISSIDE        RI                       US   30330   128888980@AIRLINE.KIWI.COM
O9HXH7   11/2/2020   OB   12/17/2020   WN;942;MDW;BNA                    SOUTH AMBERBURY        OK                       US   17692   128893402@AIRLINE.KIWI.COM
O9WXJ3   11/2/2020   OB   12/21/2020   WN;939;BNA;MDW                    WEST JESSICA           IL                       US   63722   128893798@AIRLINE.KIWI.COM
OACQDG   11/2/2020   OB   11/28/2020   WN;2240;MKE;DEN                   DENNISFURT             OR                       US   66446   128894359@AIRLINE.KIWI.COM
OARIZL   11/2/2020   OB    11/9/2020   WN;6207;AUS;STL                   PORT JOANNESTAD        BRISTOL CITY OF          GB    2853   128894447@AIRLINE.KIWI.COM
OARIZL   11/2/2020   OB    11/9/2020   WN;6207;AUS;STL                   PORT JOANNESTAD        BRISTOL CITY OF          GB    2853   128894447@AIRLINE.KIWI.COM
OAS8VL   11/2/2020   OB    11/3/2020   WN;2402;DEN;PDX                   SELISHCHE VALENTIN     KYIVSKA OBLAST           UA   92748   128893875@AIRLINE.KIWI.COM
OCTBNU   11/2/2020   OB   11/22/2020   WN;1330;RDU;MDW                   NEW TRACYSIDE          NJ                       US    8875   128896174@AIRLINE.KIWI.COM
OCTBNU   11/2/2020   RT   11/23/2020   WN;2140;MDW;RDU                   NEW TRACYSIDE          NJ                       US    8875   128896174@AIRLINE.KIWI.COM
ODKZ2Z   11/2/2020   OB   12/10/2020   WN;4936;SMF;LAX                   MISTO GAVRILO          KHMELNYTSKA OBLAST       UA   71305   128896768@AIRLINE.KIWI.COM
ODXPLL   11/2/2020   OB    11/3/2020   WN;2420;RDU;BWI;WN;1040;BWI;ALB   SOUTH TERRIPORT        AK                       US   41744   128897285@AIRLINE.KIWI.COM
OE5JVW   11/2/2020   OB   12/22/2020   WN;467;RDU;ATL;WN;1378;ATL;IND    ST ASHA                RESPUBLIKA INGUSHETIYA   RU   13777   128897857@AIRLINE.KIWI.COM
OE5JVW   11/2/2020   RT   12/28/2020   WN;6863;IND;ATL;WN;1090;ATL;RDU   ST ASHA                RESPUBLIKA INGUSHETIYA   RU   13777   128897857@AIRLINE.KIWI.COM
OFNHBH   11/2/2020   OB   11/21/2020   WN;6920;AUS;BNA                   NICHOLASBOROUGH        OK                       US   17242   128899155@AIRLINE.KIWI.COM
OFTPKH   11/2/2020   OB    12/1/2020   WN;1520;BNA;AUS                   REYNOLDSBOROUGH        MI                       US   43117   128899155@AIRLINE.KIWI.COM
OGGNBP   11/2/2020   OB   12/18/2020   WN;2888;MCI;DAL                   PORT NICOLEMOUTH       ID                       US   26058   128900178@AIRLINE.KIWI.COM
OH2WH5   11/2/2020   OB    11/3/2020   WN;2634;STL;MKE                   MEGANBOROUGH           IA                       US   60208   128900475@AIRLINE.KIWI.COM
OIHOG7   11/2/2020   OB   11/16/2020   WN;768;MKE;LAS                    ZACHARYVIEW            SD                       US    7161   128901696@AIRLINE.KIWI.COM
OJ49UG   11/2/2020   OB   11/10/2020   WN;3496;RSW;ATL;WN;2263;ATL;CMH   NORTH SAMUELFORT       MD                       US   29291   128901751@AIRLINE.KIWI.COM
OJBRZB   11/3/2020   OB    11/3/2020   WN;821;BWI;RDU                    EAST STEVENTON         ME                       US   81859   128898407@AIRLINE.KIWI.COM
OKDE5Z   11/3/2020   OB     1/2/2021   WN;328;CUN;HOU;WN;6847;HOU;ELP    EAST BRANDON           TX                       US   60993   128897846@AIRLINE.KIWI.COM
OLWCVM   11/3/2020   OB   11/26/2020   WN;4646;PHX;PSP                   NEW AMY                NC                       US   77569   128903984@AIRLINE.KIWI.COM
OM2YGL   11/3/2020   OB   12/24/2020   WN;609;PHX;OAK                    WILLIAMSTOWN           FL                       US   83595   128903841@AIRLINE.KIWI.COM
OM2YGL   11/3/2020   OB   12/24/2020   WN;609;PHX;OAK                    WILLIAMSTOWN           FL                       US   83595   128903841@AIRLINE.KIWI.COM
OM7XS2   11/3/2020   OB   11/12/2020   WN;1117;MSP;MDW                   STOUTBURY              SD                       US   73465   128903907@AIRLINE.KIWI.COM
OM7XS2   11/3/2020   OB   11/12/2020   WN;1117;MSP;MDW                   STOUTBURY              SD                       US   73465   128903907@AIRLINE.KIWI.COM
OM7ZBR   11/3/2020   OB   12/20/2020   WN;548;ELP;PHX;WN;933;PHX;DTW     BARBARAMOUTH           OH                       US    2953   128903786@AIRLINE.KIWI.COM
ONH5VM   11/3/2020   OB    12/9/2020   WN;4873;SMF;LAS                   SAINT CORINNE          SEINEETMARNE             FR   46330   128904864@AIRLINE.KIWI.COM
ONI2XV   11/3/2020   OB   11/26/2020   WN;3020;BOI;LAS;WN;2084;LAS;LAX   DONALDMOUTH            ND                       US   49090   128904688@AIRLINE.KIWI.COM
OO7UJ5   11/3/2020   OB    11/6/2020   WN;155;ATL;LGA                    SOUTH JOHNHAVEN        OR                       US   44939   128904963@AIRLINE.KIWI.COM
OOJTDO   11/3/2020   OB   12/28/2020   WN;834;BNA;ATL                    LAKE WILLIAM           PA                       US   64751   128905260@AIRLINE.KIWI.COM
OOMY9V   11/3/2020   OB   12/25/2020   WN;2026;ATL;DEN                   WEST KRISTEN           MS                       US   40959   128905260@AIRLINE.KIWI.COM
OQEW37   11/3/2020   OB   11/29/2020   WN;6922;OKC;LAS                   KENNEDYBERG            NH                       US   13148   128906272@AIRLINE.KIWI.COM
OQZHQC   11/3/2020   OB   11/23/2020   WN;4104;MDW;ORF                   SOUTH ALBERTBERG       IN                       US   24953   128906800@AIRLINE.KIWI.COM
OR2RVM   11/3/2020   OB    11/3/2020   WN;1919;RDU;BNA                   CARLOSBURY             SD                       US   95697   128906646@AIRLINE.KIWI.COM
ORNKIZ   11/3/2020   OB   11/27/2020   WN;1391;SAN;SFO                   BRYANTVILLE            FL                       US   49081   128907119@AIRLINE.KIWI.COM
ORNKIZ   11/3/2020   OB   11/27/2020   WN;1391;SAN;SFO                   BRYANTVILLE            FL                       US   49081   128907119@AIRLINE.KIWI.COM
OS6M4V   11/3/2020   OB   11/27/2020   WN;1391;SAN;SFO                   NICHOLASMOUTH          IN                       US   93695   128907119@AIRLINE.KIWI.COM
OS6M4V   11/3/2020   OB   11/27/2020   WN;1391;SAN;SFO                   NICHOLASMOUTH          IN                       US   93695   128907119@AIRLINE.KIWI.COM
OST6R3   11/3/2020   OB   12/31/2020   WN;4608;PHX;LAX                   NORTH MARIO            MT                       US   34195   128907746@AIRLINE.KIWI.COM
OSV7H3   11/3/2020   OB   12/20/2020   WN;719;AUS;BWI                    LAKE NICOLESHIRE       IA                       US   67527   128907570@AIRLINE.KIWI.COM




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OTBNA7   11/3/2020   OB   12/16/2020   WN;1625;DAL;HOU                   BENGKULU               JAMBI               ID    93061   128908021@AIRLINE.KIWI.COM
OTTDYH   11/3/2020   OB   12/13/2020   WN;4141;MIA;TPA;WN;3448;TPA;MSY   BRANDYBURY             WESTERN AUSTRALIA   AU    20269   128908131@AIRLINE.KIWI.COM
OTTDYH   11/3/2020   OB   12/13/2020   WN;4141;MIA;TPA;WN;3448;TPA;MSY   BRANDYBURY             WESTERN AUSTRALIA   AU    20269   128908131@AIRLINE.KIWI.COM
OUTIID   11/3/2020   OB   12/29/2020   WN;585;BOI;LAS;WN;924;LAS;PHX     EAST MAUREEN           AR                  US    11417   128908758@AIRLINE.KIWI.COM
OUTIID   11/3/2020   OB   12/29/2020   WN;585;BOI;LAS;WN;924;LAS;PHX     EAST MAUREEN           AR                  US    11417   128908758@AIRLINE.KIWI.COM
OUTIID   11/3/2020   OB   12/29/2020   WN;585;BOI;LAS;WN;924;LAS;PHX     EAST MAUREEN           AR                  US    11417   128908758@AIRLINE.KIWI.COM
OUTIID   11/3/2020   OB   12/29/2020   WN;585;BOI;LAS;WN;924;LAS;PHX     EAST MAUREEN           AR                  US    11417   128908758@AIRLINE.KIWI.COM
OUTIID   11/3/2020   OB   12/29/2020   WN;585;BOI;LAS;WN;924;LAS;PHX     EAST MAUREEN           AR                  US    11417   128908758@AIRLINE.KIWI.COM
OVK5LH   11/3/2020   OB   11/27/2020   WN;3267;BWI;CHS                   SCOTTVILLE             CO                  US    50510   128909418@AIRLINE.KIWI.COM
OVK5LH   11/3/2020   OB   11/27/2020   WN;3267;BWI;CHS                   SCOTTVILLE             CO                  US    50510   128909418@AIRLINE.KIWI.COM
OWBA9Z   11/3/2020   OB   11/10/2020   WN;6644;DEN;MCI                   JACQUELINETOWN         LA                  US    19348   128909198@AIRLINE.KIWI.COM
OWDBH8   11/3/2020   OB   11/16/2020   WN;1510;DEN;OKC                   EAST MIKEBOROUGH       WY                  US    10363   128909605@AIRLINE.KIWI.COM
OWLQDA   11/3/2020   OB     1/5/2021   WN;1057;MIA;HOU                   EAST MRWICHCHLAND      UDON THANI          TH    97963   128903896@AIRLINE.KIWI.COM
OXHXDP   11/3/2020   OB    11/7/2020   WN;1741;MCO;LAS                   NORTH TIMOTHY          MA                  US    16551   128910353@AIRLINE.KIWI.COM
OY5J78   11/3/2020   OB    11/8/2020   WN;1202;BOS;MDW;WN;1006;MDW;MEM   LAKE JESUS             MO                  US    26849   128910815@AIRLINE.KIWI.COM
OYGUJT   11/3/2020   OB   11/16/2020   WN;765;BWI;AUS                    WALTERSIDE             MA                  US     5936   128910892@AIRLINE.KIWI.COM
OZFTG7   11/3/2020   OB    11/5/2020   WN;384;DEN;IND                    LAKE ANDREA            WA                  US    27056   128911552@AIRLINE.KIWI.COM
P2F9UT   11/3/2020   OB     1/3/2021   WN;3761;ONT;OAK;WN;2550;OAK;SEA   BROOKECHESTER          TN                  US    40246   128912135@AIRLINE.KIWI.COM
P2F9UT   11/3/2020   OB     1/3/2021   WN;3761;ONT;OAK;WN;2550;OAK;SEA   BROOKECHESTER          TN                  US    40246   128912135@AIRLINE.KIWI.COM
P2F9UT   11/3/2020   OB     1/3/2021   WN;3761;ONT;OAK;WN;2550;OAK;SEA   BROOKECHESTER          TN                  US    40246   128912135@AIRLINE.KIWI.COM
P2F9UT   11/3/2020   OB     1/3/2021   WN;3761;ONT;OAK;WN;2550;OAK;SEA   BROOKECHESTER          TN                  US    40246   128912135@AIRLINE.KIWI.COM
P3U9KR   11/3/2020   OB    12/7/2020   WN;568;HOU;MDW                    KALVELISTOWN           KAUNO APSKRITIS     LT    41635   128912575@AIRLINE.KIWI.COM
P4LJB2   11/3/2020   OB    11/3/2020   WN;2597;BWI;BDL                   ANTONIOBURGH           OR                  US    48464   128913015@AIRLINE.KIWI.COM
P7IYMV   11/3/2020   OB   11/12/2020   WN;2888;CLT;DEN                   LAKE JENNA             OR                  US    29685   128914621@AIRLINE.KIWI.COM
P7IYMV   11/3/2020   RT   11/16/2020   WN;763;DEN;CLT                    LAKE JENNA             OR                  US    29685   128914621@AIRLINE.KIWI.COM
P9SGPB   11/3/2020   OB    6/18/2021   WN;393;SFO;PHX;WN;1239;PHX;DAL    SOUZA                  PARA                BR    74284   128915391@AIRLINE.KIWI.COM
PA435N   11/3/2020   OB   12/11/2020   WN;5035;SJU;FLL                   WALSHMOUTH             WA                  US    13783   128915270@AIRLINE.KIWI.COM
PCMVQN   11/3/2020   OB     2/9/2021   WN;2746;ATL;FLL                   SAN RODOLFO LOS BAJO   SONORA              MX    55700   128909858.1493431@AIRLINE.KIWI.COM
PD6D2H   11/3/2020   OB   11/10/2020   WN;2730;CLT;DEN                   WEST MATTHEW           CA                  US     8711   128917008@AIRLINE.KIWI.COM
PFGYZO   11/3/2020   OB   11/17/2020   WN;1925;PHX;LAS                   SOUTH LORIPORT         TX                  US    53393   128918240@AIRLINE.KIWI.COM
PHL6KN   11/3/2020   OB    11/3/2020   WN;932;LAS;OAK                    NEW TRAVIS             AR                  US    91795   128919263@AIRLINE.KIWI.COM
PJZJSZ   11/3/2020   OB   12/17/2020   WN;118;AUS;BWI;WN;331;BWI;MIA     PORT EDWARDHAVEN       CA                  US    87354   128921166@AIRLINE.KIWI.COM
PPGP5M   11/3/2020   OB   11/15/2020   WN;6436;DEN;TUL                   AGUIRREVILLE           LA                  US    35998   128926281@AIRLINE.KIWI.COM
QAWZIT   11/3/2020   OB   12/26/2020   WN;1876;CMH;BWI                   ZAMORAMOUTH            NY                  US    47136   128950547@AIRLINE.KIWI.COM
QBF8YO   11/3/2020   OB    11/3/2020   WN;1984;MDW;MSP                   LAKE DAVID             IA                  US    84489   128951130@AIRLINE.KIWI.COM
QDEUN8   11/3/2020   OB   12/27/2020   WN;1701;TPA;DAL;WN;3148;DAL;MEM   CARLABURY              KY                  US    82084   128955013@AIRLINE.KIWI.COM
QEAY3N   11/3/2020   OB   11/30/2020   WN;4028;SFO;DEN                   SOUTH TOBIASTON        MIDTJYLLAND         DK    63214   128955563@AIRLINE.KIWI.COM
QEAY3N   11/3/2020   OB   11/30/2020   WN;4028;SFO;DEN                   SOUTH TOBIASTON        MIDTJYLLAND         DK    63214   128955563@AIRLINE.KIWI.COM
QEWUWX   11/3/2020   OB   11/18/2020   WN;272;MCO;MBJ                    LAKE KRISTINBERG       RI                  US    99565   128956740@AIRLINE.KIWI.COM
QGUFT2   11/3/2020   OB     1/3/2021   WN;4336;FLL;RDU                   MITCHELLTOWN           AL                  US    41808   128959017@AIRLINE.KIWI.COM
QINON9   11/3/2020   OB    11/6/2020   WN;589;MHT;BWI                    JOHNSONVIEW            NH                  US    89415   128961646@AIRLINE.KIWI.COM
QINON9   11/3/2020   RT    11/7/2020   WN;1179;BWI;MHT                   JOHNSONVIEW            NH                  US    89415   128961646@AIRLINE.KIWI.COM
QJ6KVI   11/3/2020   OB    11/4/2020   WN;398;BWI;RDU                    WHITESHIRE             VT                  US    59024   128962361@AIRLINE.KIWI.COM
QKSLGX   11/3/2020   OB   12/11/2020   WN;2730;CLT;DEN                   NEW CHERYLTON          ME                  US    89659   128965265@AIRLINE.KIWI.COM
QKSLGX   11/3/2020   RT   12/13/2020   WN;2323;DEN;CLT                   NEW CHERYLTON          ME                  US    89659   128965265@AIRLINE.KIWI.COM
QL4WPZ   11/3/2020   OB   11/12/2020   WN;1155;IAD;ATL                   SOUTH TONYVILLE        VA                  US    67750   128965925@AIRLINE.KIWI.COM
QMB4BE   11/3/2020   OB   11/23/2020   WN;2219;ATL;OKC                   SURKHET                MADHYAMANCHAL       NP    58093   128967960@AIRLINE.KIWI.COM
QN3V8Z   11/3/2020   OB    11/3/2020   WN;2578;BNA;LAS                   THOMPSONMOUTH          NH                  US    19363   128968389@AIRLINE.KIWI.COM
QNPPTJ   11/3/2020   OB    11/4/2020   WN;6301;ATL;DCA                   PORT JEREMYTOWN        ME                  US     5516   128969830@AIRLINE.KIWI.COM
QNUWZK   11/3/2020   OB    11/3/2020   WN;127;ATL;MCO;WN;641;MCO;MDW     PORT JASON             NC                  US    84423   128969775@AIRLINE.KIWI.COM
QPLY4D   11/3/2020   OB   11/12/2020   WN;970;LAS;DAL                    WHITECHESTER           ID                  US    87226   128972668@AIRLINE.KIWI.COM
QPSMS2   11/3/2020   OB    11/4/2020   WN;2298;LAX;HOU                   JERRYTOWN              LA                  US    13431   128972690@AIRLINE.KIWI.COM
QQGCJU   11/3/2020   OB   12/12/2020   WN;3634;MSY;MDW;WN;3141;MDW;PDX   SOUTH ADAM             IN                  US    32802   128973702@AIRLINE.KIWI.COM
QQMTNN   11/3/2020   OB     1/6/2021   WN;319;PDX;DEN;WN;1004;DEN;RSW    CISNEROSTON            LA                  US    77894   128974208@AIRLINE.KIWI.COM
QRAPMM   11/3/2020   OB    11/4/2020   WN;3998;MCO;SJU                   WEST DAVIDSIDE         MT                  US    60090   128909242.1493871@AIRLINE.KIWI.COM
QRMCDH   11/3/2020   OB   12/22/2020   WN;133;ATL;MCO                    AMBERPORT              CO                  US    66570   128975836@AIRLINE.KIWI.COM
QRMCDH   11/3/2020   OB   12/22/2020   WN;133;ATL;MCO                    AMBERPORT              CO                  US    66570   128975836@AIRLINE.KIWI.COM
QTALBU   11/3/2020   OB    11/6/2020   WN;27;HOU;LAX                     GREGORYVIEW            RI                  US    72234   128977772@AIRLINE.KIWI.COM
QTQ258   11/3/2020   OB    11/3/2020   WN;6566;ATL;PHL                   NORTH HEIDI            AL                  US    23058   128978135@AIRLINE.KIWI.COM
QTWTLH   11/3/2020   OB   11/15/2020   WN;1064;MIA;TPA                   HUNTBOROUGH            NM                  US    44016   128978080@AIRLINE.KIWI.COM
QU7EWY   11/3/2020   OB    12/3/2020   WN;3927;MSP;DEN                   LAKE RACHAELSTAD       WV                  US    81694   128168194@AIRLINE.KIWI.COM
QU7EWY   11/3/2020   OB    12/3/2020   WN;3927;MSP;DEN                   LAKE RACHAELSTAD       WV                  US    81694   128168194@AIRLINE.KIWI.COM
QU7EWY   11/3/2020   OB    12/3/2020   WN;3927;MSP;DEN                   LAKE RACHAELSTAD       WV                  US    81694   128168194@AIRLINE.KIWI.COM
QUDRLL   11/3/2020   OB   12/25/2020   WN;3028;SAN;PHX                   EAST JASONBERG         UT                  US    97096   128978685@AIRLINE.KIWI.COM
QUDRLL   11/3/2020   RT   12/27/2020   WN;3873;PHX;SAN                   EAST JASONBERG         UT                  US    97096   128978685@AIRLINE.KIWI.COM
QUO9VV   11/3/2020   OB    11/4/2020   WN;3998;MCO;SJU                   NORTH MAKAYLAFORT      MA                  US    57776   128910298.1493898@AIRLINE.KIWI.COM
QXJBAU   11/3/2020   OB    11/3/2020   WN;2628;TPA;MSY                   LAKE CHRISTOPHER       MA                  US    57381   128983283@AIRLINE.KIWI.COM
QXJBAU   11/3/2020   OB    11/3/2020   WN;2628;TPA;MSY                   LAKE CHRISTOPHER       MA                  US    57381   128983283@AIRLINE.KIWI.COM
QYMYO4   11/3/2020   OB   11/25/2020   WN;2333;RSW;BWI                   SOUTH TAMMYSIDE        ME                  US    36153   128984229@AIRLINE.KIWI.COM
R2LXQN   11/3/2020   OB   11/13/2020   WN;764;CVG;HOU;WN;696;HOU;AUS     SOUTH CHRISTIAN        SC                  US    46918   128986924@AIRLINE.KIWI.COM
R2LXQN   11/3/2020   OB   11/13/2020   WN;764;CVG;HOU;WN;696;HOU;AUS     SOUTH CHRISTIAN        SC                  US    46918   128986924@AIRLINE.KIWI.COM
R3J6QP   11/3/2020   OB     1/7/2021   WN;800;AUS;DAL;WN;800;DAL;MCO     NORTH JOANN            TN                  US     1285   128988607@AIRLINE.KIWI.COM
R3J6QP   11/3/2020   OB     1/7/2021   WN;800;AUS;DAL;WN;800;DAL;MCO     NORTH JOANN            TN                  US     1285   128988607@AIRLINE.KIWI.COM
R3OYRD   11/3/2020   OB    1/12/2021   WN;876;MCO;DAL                    DANIELSMOUTH           VA                  US    68848   128988607@AIRLINE.KIWI.COM
R3OYRD   11/3/2020   OB    1/12/2021   WN;876;MCO;DAL                    DANIELSMOUTH           VA                  US    68848   128988607@AIRLINE.KIWI.COM
R3X8CK   11/3/2020   OB    1/12/2021   WN;3013;DAL;AUS                   NEW CHARLES            PA                  US    86802   128988607@AIRLINE.KIWI.COM
R3X8CK   11/3/2020   OB    1/12/2021   WN;3013;DAL;AUS                   NEW CHARLES            PA                  US    86802   128988607@AIRLINE.KIWI.COM
R66C85   11/3/2020   OB   12/11/2020   WN;4763;ROC;BWI;WN;4768;BWI;MHT   AGARAK                 SYUNIK              AM    23992   128992347@AIRLINE.KIWI.COM
R6WHB9   11/3/2020   OB   11/12/2020   WN;1257;DEN;BNA                   KIERANLAND             OLDHAM              GB     4939   128992457@AIRLINE.KIWI.COM
R7A8MA   11/3/2020   OB     1/6/2021   WN;435;LAX;LAS                    PORT JITRIN            SAKON NAKHON        TH    31432   128993084@AIRLINE.KIWI.COM
R7L56G   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE                BG    48720   128993359@AIRLINE.KIWI.COM
R7L56G   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE                BG    48720   128993359@AIRLINE.KIWI.COM
R7L56G   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE                BG    48720   128993359@AIRLINE.KIWI.COM
R7L56G   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE                BG    48720   128993359@AIRLINE.KIWI.COM
R7L56G   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE                BG    48720   128993359@AIRLINE.KIWI.COM
R7SV3I   11/3/2020   OB     1/4/2021   WN;413;LAS;LAX                    LAKE PAANISRAASIDE     SURAT THANI         TH    68468   128993205@AIRLINE.KIWI.COM
R7UILM   11/3/2020   OB    12/6/2020   WN;3236;DEN;BWI;WN;3236;BWI;PBI   SOUTH THOMAS           TN                  US    68537   128993964@AIRLINE.KIWI.COM
R7Z3IF   11/3/2020   OB    11/3/2020   WN;2287;LAX;LAS                   ROBERTSHIRE            IL                  US    14166   128994426@AIRLINE.KIWI.COM
R8H22Q   11/3/2020   OB    12/6/2020   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TETRICQARO             MTSKHETAMTIANETI    GE    31752   128995064@AIRLINE.KIWI.COM
R8H22Q   11/3/2020   OB    12/6/2020   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TETRICQARO             MTSKHETAMTIANETI    GE    31752   128995064@AIRLINE.KIWI.COM
R9B24V   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PO ZI                  CHIAY CITY          TW    16100   128995812@AIRLINE.KIWI.COM
R9B24V   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PO ZI                  CHIAY CITY          TW    16100   128995812@AIRLINE.KIWI.COM
R9B24V   11/3/2020   OB     4/4/2021   WN;996;MCO;SJU                    PO ZI                  CHIAY CITY          TW    16100   128995812@AIRLINE.KIWI.COM
R9EEZH   11/3/2020   OB    11/4/2020   WN;4861;SNA;OAK;WN;3743;OAK;RNO   CHADSHIRE              RI                  US    24540   128996098@AIRLINE.KIWI.COM
R9H4O8   11/3/2020   OB   11/10/2020   WN;2943;DEN;SLC                   WEST JOSEPH            NC                  US     6289   128995977@AIRLINE.KIWI.COM
RAC8YU   11/3/2020   OB     1/8/2021   WN;4522;PDX;MDW;WN;5081;MDW;RSW   JOHNMOUTH              SC                  US    30965   128997110@AIRLINE.KIWI.COM
RAITA2   11/3/2020   OB   11/23/2020   WN;3862;DEN;CMH                   ROYSHIRE               VA                  US    52922   128997000@AIRLINE.KIWI.COM
RB78DK   11/3/2020   OB    11/4/2020   WN;3079;BUR;DEN                   GREENMOUTH             KS                  US    29775   128998529@AIRLINE.KIWI.COM
RC4LNZ   11/3/2020   OB   11/27/2020   WN;6989;CMH;MDW                   SOUTH MATTHEWBURY      AK                  US    70041   128999068@AIRLINE.KIWI.COM
RCJ83D   11/3/2020   OB   12/14/2020   WN;2323;DEN;CLT                   LAKE REGINALD          GA                  US    47184   128999299@AIRLINE.KIWI.COM
RCZS5D   11/3/2020   OB   11/25/2020   WN;6878;ONT;LAS                   BRITTNEYHAVEN          UT                  US      945   128999948@AIRLINE.KIWI.COM
RDPQN4   11/3/2020   OB   12/12/2020   WN;1214;TPA;BNA                   LAURIEHAVEN            WA                  US    69225   129000344@AIRLINE.KIWI.COM
RDPQN4   11/3/2020   RT   12/13/2020   WN;2432;BNA;TPA                   LAURIEHAVEN            WA                  US    69225   129000344@AIRLINE.KIWI.COM
RFG3Z4   11/3/2020   OB    12/6/2020   WN;2740;AUS;PHX                   CAITLINVIEW            UT                  US    88648   129001576@AIRLINE.KIWI.COM
RFUVBY   11/3/2020   OB   12/23/2020   WN;2034;STL;HOU;WN;6256;HOU;SJD   NORTH CRYSTALTOWN      NE                  US    52287   129001235@AIRLINE.KIWI.COM
RGA5MB   11/3/2020   OB     1/2/2021   WN;2412;SAT;DAL;WN;360;DAL;STL    EAST STEVENFORT        SC                  US    13238   129001235@AIRLINE.KIWI.COM
RHTAAY   11/3/2020   OB   11/25/2020   WN;2715;RIC;ATL                   NEW JOSHUAMOUTH        ID                  US    37915   129003182@AIRLINE.KIWI.COM




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RHTAAY   11/3/2020   OB   11/25/2020   WN;2715;RIC;ATL                   NEW JOSHUAMOUTH        ID                    US   37915   129003182@AIRLINE.KIWI.COM
RHTAAY   11/3/2020   OB   11/25/2020   WN;2715;RIC;ATL                   NEW JOSHUAMOUTH        ID                    US   37915   129003182@AIRLINE.KIWI.COM
RIS59O   11/3/2020   OB   11/29/2020   WN;3464;ATL;RIC                   PORT ISABELLABERG      OK                    US    8313   129003435@AIRLINE.KIWI.COM
RIS59O   11/3/2020   OB   11/29/2020   WN;3464;ATL;RIC                   PORT ISABELLABERG      OK                    US    8313   129003435@AIRLINE.KIWI.COM
RJAZHB   11/3/2020   OB   11/29/2020   WN;3464;ATL;RIC                   PORT LAURABOROUGH      OH                    US   18117   129003435@AIRLINE.KIWI.COM
RJMM6N   11/3/2020   OB   11/13/2020   WN;2888;CLT;DEN                   APRILMOUTH             GA                    US   24151   129004084@AIRLINE.KIWI.COM
RK23PC   11/4/2020   OB   12/17/2020   WN;3333;DEN;ATL                   LAKE KATIETOWN         PA                    US   26878   129004293@AIRLINE.KIWI.COM
RKUP7P   11/4/2020   OB    11/5/2020   WN;200;HOU;STL                    NEW JAMES              PA                    US   37670   129003765@AIRLINE.KIWI.COM
RLA2T2   11/4/2020   OB    11/8/2020   WN;249;STL;HOU                    NORTH DUSTINBURGH      NH                    US   23336   129003765@AIRLINE.KIWI.COM
RNO9YE   11/4/2020   OB    11/6/2020   WN;1003;DEN;SJC                   TUZINA                 BRATISLAVSKY KRAJ     SK   54186   129006933@AIRLINE.KIWI.COM
RPFEYW   11/4/2020   OB     1/7/2021   WN;1265;LAX;PHX                   SOUTH CRYSTALTON       PA                    US    6024   129008165@AIRLINE.KIWI.COM
RPFEYW   11/4/2020   OB     1/7/2021   WN;1265;LAX;PHX                   SOUTH CRYSTALTON       PA                    US    6024   129008165@AIRLINE.KIWI.COM
RPFEYW   11/4/2020   OB     1/7/2021   WN;1265;LAX;PHX                   SOUTH CRYSTALTON       PA                    US    6024   129008165@AIRLINE.KIWI.COM
RPVWIM   11/4/2020   OB   12/11/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    HANCOCKHAVEN           AR                    US   36821   129008253@AIRLINE.KIWI.COM
RPVWIM   11/4/2020   OB   12/11/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    HANCOCKHAVEN           AR                    US   36821   129008253@AIRLINE.KIWI.COM
RQRIVE   11/4/2020   OB    12/2/2020   WN;3940;ABQ;DEN                   WEBBVILLE              MAAN                  JO   93713   129007417@AIRLINE.KIWI.COM
RQV8P7   11/4/2020   OB   12/23/2020   WN;1736;RDU;DEN                   SAN AMADOR DE LA MON   NUEVO LEON            MX   51182   129008462@AIRLINE.KIWI.COM
RRPMKS   11/4/2020   OB   12/30/2020   WN;692;CMH;FLL                    ROBERTTOWN             HI                    US   54697   129007978@AIRLINE.KIWI.COM
RRQWHP   11/4/2020   OB    11/8/2020   WN;224;ATL;MDW                    LAKE STEPHEN           TN                    US   38035   129009210@AIRLINE.KIWI.COM
RRUJTC   11/4/2020   OB   12/28/2020   WN;792;SLC;LAS                    HOBBSCHESTER           VT                    US   78709   129008143@AIRLINE.KIWI.COM
RTSU93   11/4/2020   OB    12/2/2020   WN;14;MDW;HOU                     LAKE DONNASIDE         WA                    US   76076   129010013@AIRLINE.KIWI.COM
RU7R7Y   11/4/2020   OB   11/23/2020   WN;3862;DEN;CMH                   EAST RICHARDTOWN       NM                    US    3218   129010156@AIRLINE.KIWI.COM
RU99XZ   11/4/2020   OB    12/1/2020   WN;186;CHS;BNA                    SOUTH ANGELACHESTER    KY                    US   22953   129010387@AIRLINE.KIWI.COM
RU99XZ   11/4/2020   OB    12/1/2020   WN;186;CHS;BNA                    SOUTH ANGELACHESTER    KY                    US   22953   129010387@AIRLINE.KIWI.COM
RVV9WH   11/4/2020   OB   12/27/2020   WN;6928;SJU;BWI                   NORTH MOLLYLAND        WY                    US   36565   129011113@AIRLINE.KIWI.COM
RVV9WH   11/4/2020   OB   12/27/2020   WN;6928;SJU;BWI                   NORTH MOLLYLAND        WY                    US   36565   129011113@AIRLINE.KIWI.COM
RVV9WH   11/4/2020   OB   12/27/2020   WN;6928;SJU;BWI                   NORTH MOLLYLAND        WY                    US   36565   129011113@AIRLINE.KIWI.COM
RX5FGN   11/4/2020   OB   11/15/2020   WN;523;ATL;JAX                    NEW WESLEY             MO                    US   81707   129011531@AIRLINE.KIWI.COM
RX87KM   11/4/2020   OB    11/4/2020   WN;3115;MDW;ATL                   LAKE JENNIFERPORT      AK                    US   89892   129010937@AIRLINE.KIWI.COM
RXYVH2   11/4/2020   OB   12/23/2020   WN;1143;DCA;HOU                   NEW KIMBERLY           VA                    US   48754   129012312@AIRLINE.KIWI.COM
S2NX6N   11/4/2020   OB   12/30/2020   WN;139;BNA;DCA;WN;139;DCA;PVD     HOLLANDSIDE            OTAGO                 NZ   25311   129011619@AIRLINE.KIWI.COM
S2QRVE   11/4/2020   OB    11/8/2020   WN;219;CUN;MDW                    EAST JIMMOUTH          WY                    US   32432   129011289@AIRLINE.KIWI.COM
S2QRVE   11/4/2020   OB    11/8/2020   WN;219;CUN;MDW                    EAST JIMMOUTH          WY                    US   32432   129011289@AIRLINE.KIWI.COM
S2WDO5   11/4/2020   OB   12/12/2020   WN;1958;BUF;FLL;WN;1958;FLL;SJU   DANIELSCHESTER         GA                    US   70165   129011124@AIRLINE.KIWI.COM
S2WDO5   11/4/2020   OB   12/12/2020   WN;1958;BUF;FLL;WN;1958;FLL;SJU   DANIELSCHESTER         GA                    US   70165   129011124@AIRLINE.KIWI.COM
S2WDO5   11/4/2020   OB   12/12/2020   WN;1958;BUF;FLL;WN;1958;FLL;SJU   DANIELSCHESTER         GA                    US   70165   129011124@AIRLINE.KIWI.COM
S3FEMY   11/4/2020   OB    11/8/2020   WN;6601;MDW;RDU                   MEJIAVIEW              NM                    US   32950   129011289@AIRLINE.KIWI.COM
S3FEMY   11/4/2020   OB    11/8/2020   WN;6601;MDW;RDU                   MEJIAVIEW              NM                    US   32950   129011289@AIRLINE.KIWI.COM
S3HQ5V   11/4/2020   OB   11/23/2020   WN;6916;TUS;LAS                   LAKE ERICBURY          NV                    US   27483   129012840@AIRLINE.KIWI.COM
S3U23L   11/4/2020   OB    11/7/2020   WN;4414;PHX;DEN                   MATTHEWMOUTH           ND                    US   33507   129013676@AIRLINE.KIWI.COM
S3WHNP   11/4/2020   OB     1/6/2021   WN;1488;HNL;SAN                   TYLERTON               MI                    US   87816   129013456@AIRLINE.KIWI.COM
S3WHNP   11/4/2020   OB     1/6/2021   WN;1488;HNL;SAN                   TYLERTON               MI                    US   87816   129013456@AIRLINE.KIWI.COM
S4PYZT   11/4/2020   OB   12/19/2020   WN;1372;MEM;DAL;WN;2322;DAL;SAN   TUCKERBERG             NH                    US   24011   129014633@AIRLINE.KIWI.COM
S4PYZT   11/4/2020   RT     1/2/2021   WN;1359;SAN;PHX;WN;43;PHX;MEM     TUCKERBERG             NH                    US   24011   129014633@AIRLINE.KIWI.COM
S5UI22   11/4/2020   OB   11/12/2020   WN;1136;MCO;HOU                   MOTALA                 OSTERGOTLANDS LAN     SE   31435   129014743@AIRLINE.KIWI.COM
S5UI2S   11/4/2020   OB    11/4/2020   WN;4936;SMF;LAX                   NEW ANGELA             AZ                    US   69820   129015194@AIRLINE.KIWI.COM
S98XHU   11/4/2020   OB   11/24/2020   WN;6782;DEN;OKC                   LAKE CAROL             MD                    US   54776   129016525@AIRLINE.KIWI.COM
S9G75M   11/4/2020   OB   11/16/2020   WN;1148;HNL;OAK;WN;1151;OAK;PHX   LEVINESIDE             AR                    US   25003   129016602@AIRLINE.KIWI.COM
S9HD3M   11/4/2020   OB   12/27/2020   WN;4876;ABQ;OAK;WN;2275;OAK;PDX   EAST MATTHEWSHIRE      ID                    US   85514   129016712@AIRLINE.KIWI.COM
S9HD3M   11/4/2020   OB   12/27/2020   WN;4876;ABQ;OAK;WN;2275;OAK;PDX   EAST MATTHEWSHIRE      ID                    US   85514   129016712@AIRLINE.KIWI.COM
SMIZOX   11/4/2020   OB   12/17/2020   WN;813;ONT;OAK                    SOUTH JAMIEFURT        GA                    US   63091   129024577@AIRLINE.KIWI.COM
SMIZOX   11/4/2020   RT   12/28/2020   WN;501;OAK;ONT                    SOUTH JAMIEFURT        GA                    US   63091   129024577@AIRLINE.KIWI.COM
SMUOIF   11/4/2020   OB     1/3/2021   WN;1901;CVG;MDW                   DA MATA                AMAZONAS              BR   94445   129024269@AIRLINE.KIWI.COM
SRMTAD   11/4/2020   OB    11/9/2020   WN;759;BWI;MSY                    MELISSASTAD            TX                    US   83455   129028834@AIRLINE.KIWI.COM
SU2SX6   11/4/2020   OB   11/13/2020   WN;811;BWI;PUJ                    MISTO IELISAVETA       CHERNIVETSKA OBLAST   UA   13746   129030825@AIRLINE.KIWI.COM
SU2SX6   11/4/2020   RT   11/15/2020   WN;812;PUJ;BWI                    MISTO IELISAVETA       CHERNIVETSKA OBLAST   UA   13746   129030825@AIRLINE.KIWI.COM
SZEYVP   11/4/2020   OB    11/5/2020   WN;921;BWI;DEN;WN;864;DEN;OAK     WILLIAMBURGH           IN                    US   95631   129037821@AIRLINE.KIWI.COM
TA9EYB   11/4/2020   OB   11/22/2020   WN;1064;MIA;TPA;WN;4443;TPA;LGA   COCHRANPORT            DE                    US   47636   129047842@AIRLINE.KIWI.COM
TC247M   11/4/2020   OB    11/9/2020   WN;1120;OAK;LIH                   PORT JANETFORT         KY                    US   11817   129050130@AIRLINE.KIWI.COM
TDC3FN   11/4/2020   OB    11/4/2020   WN;496;ATL;BNA;WN;1017;BNA;DTW    SANTOSVILLE            CT                    US   79157   129052198@AIRLINE.KIWI.COM
TDH77J   11/4/2020   OB    11/4/2020   WN;390;OAK;HOU                    WEST JANET             WY                    US   72655   127116363@AIRLINE.KIWI.COM
TDOI3K   11/4/2020   OB   11/20/2020   WN;6936;TUL;DEN                   TRAVISBURGH            KY                    US   73601   129052319@AIRLINE.KIWI.COM
TI7Y35   11/4/2020   OB    11/4/2020   WN;756;MDW;ATL                    GUNPOSI                SEOUL TEUGBYEOLSI     KR   49060   129057555@AIRLINE.KIWI.COM
TIOHIX   11/4/2020   OB    11/8/2020   WN;6450;ATL;CMH                   PORT BECKYSTAD         NM                    US   33695   129058226@AIRLINE.KIWI.COM
TISS5H   11/4/2020   OB   11/12/2020   WN;369;CLE;MDW;WN;218;MDW;CUN     LAKE ERIC              WI                    US   84903   129057896@AIRLINE.KIWI.COM
TJ43TO   11/4/2020   OB    12/7/2020   WN;3041;BNA;BWI;WN;1657;BWI;CLE   ROBINCHESTER           IA                    US   89200   129058677@AIRLINE.KIWI.COM
TLBHNZ   11/4/2020   OB   12/26/2020   WN;1909;DTW;BWI;WN;324;BWI;MIA    MICHAELBERG            IN                    US   45878   129061141@AIRLINE.KIWI.COM
TLBHNZ   11/4/2020   OB   12/26/2020   WN;1909;DTW;BWI;WN;324;BWI;MIA    MICHAELBERG            IN                    US   45878   129061141@AIRLINE.KIWI.COM
TQ4N6R   11/4/2020   OB    11/4/2020   WN;3121;ATL;MDW                   EAST KATHLEENFORT      AL                    US   48516   129067752@AIRLINE.KIWI.COM
TQ4OQ8   11/4/2020   OB    11/4/2020   WN;3243;SJU;MCO                   ANYANGSI MANANGU       GYEONGSANGNAMDO       KR   75803   129066916@AIRLINE.KIWI.COM
TQAR4S   11/4/2020   OB   11/14/2020   WN;3171;SFO;SAN                   TRIBENII               SIKKIM                IN   94655   129067059@AIRLINE.KIWI.COM
TQAR4S   11/4/2020   RT    12/5/2020   WN;3173;SAN;SFO                   TRIBENII               SIKKIM                IN   94655   129067059@AIRLINE.KIWI.COM
TQJ68P   11/4/2020   OB   11/18/2020   WN;3370;HOU;PHX;WN;1462;PHX;SJC   NEW BRITTANYHAVEN      PA                    US   30432   129067455@AIRLINE.KIWI.COM
TS55U3   11/4/2020   OB   12/23/2020   WN;4930;SJC;LAS;WN;5012;LAS;CMH   PEREZBOROUGH           HI                    US   67343   129069457@AIRLINE.KIWI.COM
TSDEJZ   11/4/2020   OB   12/30/2020   WN;127;CMH;BNA;WN;1070;BNA;SJC    TRACYPORT              NE                    US   63293   129069732@AIRLINE.KIWI.COM
TSRPEB   11/4/2020   OB   12/21/2020   WN;2399;CVG;BWI;WN;324;BWI;MIA    PORT RONALDSIDE        AZ                    US   71117   129070084@AIRLINE.KIWI.COM
TXIQ8G   11/4/2020   OB   11/20/2020   WN;769;LAS;OMA                    NUEVA COLOMBIA         DURANGO               MX   98580   129076464@AIRLINE.KIWI.COM
TYGFHK   11/4/2020   OB   12/21/2020   WN;1043;BDL;BWI;WN;331;BWI;MIA    TYLERTON               ID                    US   69413   129077399@AIRLINE.KIWI.COM
TYGK2I   11/4/2020   OB   11/24/2020   WN;61;DAL;HOU                     LAKE TRACEYBURGH       MA                    US   95083   129077157@AIRLINE.KIWI.COM
TZ3PUS   11/4/2020   OB    12/1/2020   WN;899;SAN;HOU;WN;815;HOU;PNS     LANDRYMOUTH            AK                    US   11303   129078576@AIRLINE.KIWI.COM
TZKZ7F   11/4/2020   OB   11/25/2020   WN;6735;PHX;ATL                   ERICAFORT              OH                    US    4925   129079236@AIRLINE.KIWI.COM
U44LI6   11/4/2020   OB    11/5/2020   WN;1476;SLC;DEN;WN;1476;DEN;ABQ   ALANCHESTER            IN                    US   32247   129082965@AIRLINE.KIWI.COM
U4GTZM   11/4/2020   OB   12/26/2020   WN;1827;TUS;LAS                   TANYAFURT              DE                    US   53061   129082657@AIRLINE.KIWI.COM
U5C66N   11/4/2020   OB    2/21/2021   WN;4099;ATL;PHL                   GARYBURGH              NY                    US   20985   129084142@AIRLINE.KIWI.COM
U5C66N   11/4/2020   OB    2/21/2021   WN;4099;ATL;PHL                   GARYBURGH              NY                    US   20985   129084142@AIRLINE.KIWI.COM
U5Z8E8   11/4/2020   OB    12/7/2020   WN;3110;DEN;PSP                   PORT ALBERTPORT        NV                    US    5340   129084065@AIRLINE.KIWI.COM
U76ZKX   11/4/2020   OB   11/22/2020   WN;6910;PHX;LAS                   PORT JESSICABOROUGH    TN                    US   63275   129085572@AIRLINE.KIWI.COM
U76ZKX   11/4/2020   OB   11/22/2020   WN;6910;PHX;LAS                   PORT JESSICABOROUGH    TN                    US   63275   129085572@AIRLINE.KIWI.COM
U76ZKX   11/4/2020   OB   11/22/2020   WN;6910;PHX;LAS                   PORT JESSICABOROUGH    TN                    US   63275   129085572@AIRLINE.KIWI.COM
U76ZKX   11/4/2020   OB   11/22/2020   WN;6910;PHX;LAS                   PORT JESSICABOROUGH    TN                    US   63275   129085572@AIRLINE.KIWI.COM
U76ZKX   11/4/2020   OB   11/22/2020   WN;6910;PHX;LAS                   PORT JESSICABOROUGH    TN                    US   63275   129085572@AIRLINE.KIWI.COM
U7AMQG   11/4/2020   OB    11/7/2020   WN;2469;ATL;PBI                   CASTILLOFORT           KS                    US   76161   129086309@AIRLINE.KIWI.COM
U829K4   11/4/2020   OB   11/15/2020   WN;855;LAS;MSP                    WEST CHRISTOPHER       CO                    US   18941   129086034@AIRLINE.KIWI.COM
U829K4   11/4/2020   OB   11/15/2020   WN;855;LAS;MSP                    WEST CHRISTOPHER       CO                    US   18941   129086034@AIRLINE.KIWI.COM
U8VU62   11/4/2020   OB   11/25/2020   WN;4510;RDU;TPA                   SOUTH ANNA             WY                    US   50553   129087750@AIRLINE.KIWI.COM
UAEOOB   11/4/2020   OB   12/23/2020   WN;4456;AUS;BWI;WN;2464;BWI;PWM   LAKE RICHARDBURGH      RI                    US   60089   129089532@AIRLINE.KIWI.COM
UAQWV2   11/4/2020   OB   12/29/2020   WN;684;PWM;BWI                    WEST SAMANTHAFURT      AK                    US   18094   129089532@AIRLINE.KIWI.COM
UBFHRQ   11/4/2020   OB   11/22/2020   WN;181;LAS;SNA                    SUNGAI PENUH           SUMATRA SELATAN       ID   38617   129091061@AIRLINE.KIWI.COM
UBMRLP   11/4/2020   OB   12/21/2020   WN;1090;BWI;ATL                   BURKEVILLE             SC                    US   28226   129090808@AIRLINE.KIWI.COM
UDAD7K   11/4/2020   OB   12/21/2020   WN;1090;BWI;ATL                   PORT ZACHARYVILLE      OK                    US   99129   129092414@AIRLINE.KIWI.COM
UDXAWW   11/4/2020   OB   12/11/2020   WN;4988;STL;HOU                   TAYLORPORT             OR                    US    6312   129093371@AIRLINE.KIWI.COM
UFVXWK   11/4/2020   OB    11/9/2020   WN;165;DAL;SAN                    NEW BEVERLY            CA                    US   46255   129094515@AIRLINE.KIWI.COM
UGIJ9Q   11/4/2020   OB    3/31/2021   WN;1983;HNL;SMF                   NGAURUWHAKANUKU        BAY OF PLENTY         NZ   58995   129095098@AIRLINE.KIWI.COM
UI3EXU   11/4/2020   OB   12/27/2020   WN;6711;ABQ;DAL;WN;2375;DAL;FLL   SOUTH DREW             WA                    US   46878   129096253@AIRLINE.KIWI.COM
UICBJL   11/4/2020   OB   12/19/2020   WN;3425;DEN;SJC                   MICHAELVIEW            GA                    US   94631   129096374@AIRLINE.KIWI.COM
UIK6CF   11/4/2020   OB   12/20/2020   WN;247;BNA;MDW                    NEW AMY                NM                    US   71976   129096451@AIRLINE.KIWI.COM
UJTFPD   11/4/2020   OB   11/27/2020   WN;1056;HOU;MIA                   KERRYPORT              SC                    US   43050   129097232@AIRLINE.KIWI.COM




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UJTFPD   11/4/2020   OB   11/27/2020   WN;1056;HOU;MIA                   KERRYPORT            SC                   US    43050   129097232@AIRLINE.KIWI.COM
J2GR8E   11/5/2020   OB     1/5/2021   WN;241;DEN;RDU                    LAKE CHRISTOPHER     CO                   US    89509   129175926@AIRLINE.KIWI.COM
J35SP7   11/5/2020   OB    11/6/2020   WN;1522;DEN;MCO                   TEREZIN              BRUNTAL              CZ    57634   129176817@AIRLINE.KIWI.COM
J35SP7   11/5/2020   OB    11/6/2020   WN;1522;DEN;MCO                   TEREZIN              BRUNTAL              CZ    57634   129176817@AIRLINE.KIWI.COM
J3BH6N   11/5/2020   OB     1/2/2021   WN;1536;STL;MDW;WN;1941;MDW;BOS   KOGERVIEW            VALGAMAA             EE    16647   129177125@AIRLINE.KIWI.COM
J5DFNR   11/5/2020   OB    11/9/2020   WN;1097;DEN;OMA                   KIMBERLYBURY         VA                   US    33526   129179798@AIRLINE.KIWI.COM
J5F46V   11/5/2020   OB   11/30/2020   WN;4142;LBB;HOU                   VIEJA JORDANIA       DURANGO              MX    60046   129179875@AIRLINE.KIWI.COM
J5F46V   11/5/2020   OB   11/30/2020   WN;4142;LBB;HOU                   VIEJA JORDANIA       DURANGO              MX    60046   129179875@AIRLINE.KIWI.COM
J5ZYIY   11/5/2020   OB   12/16/2020   WN;2604;BWI;DAL                   DAVIDFORT            WI                   US    66501   129180755@AIRLINE.KIWI.COM
J5ZYIY   11/5/2020   RT   12/23/2020   WN;1844;DAL;BWI                   DAVIDFORT            WI                   US    66501   129180755@AIRLINE.KIWI.COM
J6G3EO   11/5/2020   OB    11/6/2020   WN;398;RDU;DEN;WN;6973;DEN;SAN    SOUTH STEVENFORT     OR                   US    56705   129180667@AIRLINE.KIWI.COM
J7LINS   11/5/2020   OB   12/27/2020   WN;6965;BWI;SJU                   WALLACEHAVEN         LA                   US    94023   129182471@AIRLINE.KIWI.COM
J7LINS   11/5/2020   RT    1/11/2021   WN;346;SJU;BWI                    WALLACEHAVEN         LA                   US    94023   129182471@AIRLINE.KIWI.COM
J87EVD   11/5/2020   OB   11/23/2020   WN;3485;HOU;MIA                   PORT STEVEN          VA                   US     9409   129165883@AIRLINE.KIWI.COM
J8MYDP   11/5/2020   OB   11/29/2020   WN;4852;SAT;LAX                   PORT DAVID           DE                   US    51434   129183516@AIRLINE.KIWI.COM
J8YAC6   11/5/2020   OB   11/27/2020   WN;899;SAN;HOU                    ROBERTHAVEN          NM                   US    32132   129183054@AIRLINE.KIWI.COM
J94LDQ   11/5/2020   OB   12/23/2020   WN;1896;DEN;BWI;WN;2653;BWI;GSP   PORT MICHAELVILLE    RI                   US    12281   129183791@AIRLINE.KIWI.COM
J94LDQ   11/5/2020   OB   12/23/2020   WN;1896;DEN;BWI;WN;2653;BWI;GSP   PORT MICHAELVILLE    RI                   US    12281   129183791@AIRLINE.KIWI.COM
J94XTX   11/5/2020   OB   11/23/2020   WN;1621;CLT;STL;WN;1632;STL;PHL   SOUTH LONNIEBURY     MA                   US    35989   129183461@AIRLINE.KIWI.COM
J97NJC   11/5/2020   OB    12/1/2020   WN;6967;HOU;SAN                   CALDWELLTOWN         MD                   US    28576   129183538@AIRLINE.KIWI.COM
J9HUI8   11/5/2020   OB    11/7/2020   WN;4613;ATL;DCA                   OSCARLAND            CONNACHT             IE    84093   129184330@AIRLINE.KIWI.COM
JA3UG2   11/5/2020   OB   11/10/2020   WN;4084;PDX;SJC;WN;597;SJC;HNL    LINDSEYVILLE         KS                   US    81097   129184858@AIRLINE.KIWI.COM
JBXMSQ   11/5/2020   OB    11/9/2020   WN;837;ATL;BNA;WN;6301;BNA;LAX    NEW RYANSTAD         MT                   US    51813   129186937@AIRLINE.KIWI.COM
JDMLTZ   11/5/2020   OB     1/3/2021   WN;1790;DCA;ATL                   NORTH MICHELE        MS                   US    13015   129188488@AIRLINE.KIWI.COM
JF3RP7   11/5/2020   OB    11/8/2020   WN;782;MSP;MDW;WN;6539;MDW;MSY    LAKE ROBERT          KY                   US    17157   129189830@AIRLINE.KIWI.COM
JFBVK9   11/5/2020   OB   11/15/2020   WN;188;MDW;MCI                    MURRAYVIEW           VA                   US    15887   129190017@AIRLINE.KIWI.COM
JFJK2C   11/5/2020   OB    11/8/2020   WN;1131;LAX;SMF                   HAWKINSMOUTH         AL                   US    14973   129190303@AIRLINE.KIWI.COM
JFUSF6   11/5/2020   OB    11/6/2020   WN;1216;MSY;AUS                   BLACKLAND            TX                   US    25897   129190633@AIRLINE.KIWI.COM
JFWTMR   11/5/2020   OB    11/5/2020   WN;1149;LAX;SMF                   PORT CHRISTOPHER     ME                   US    42249   129190512@AIRLINE.KIWI.COM
JGJTHZ   11/5/2020   OB   11/25/2020   WN;4243;RDU;BNA                   EAST STEVENBOROUGH   CT                   US    83699   129191084@AIRLINE.KIWI.COM
JGQ9J5   11/5/2020   OB   12/17/2020   WN;943;ORF;MDW;WN;353;MDW;MEM     LAKE BRIANNABURY     ND                   US    27696   129191370@AIRLINE.KIWI.COM
JHI23E   11/5/2020   OB   11/26/2020   WN;4131;MIA;HOU                   SOUTH TIMOTHY        MI                   US    83759   129191678@AIRLINE.KIWI.COM
JKAAW8   11/5/2020   OB   11/22/2020   WN;6510;SLC;PHX                   EAST ALAN            MT                   US    64915   129193658@AIRLINE.KIWI.COM
JLIRNA   11/5/2020   OB    12/1/2020   WN;6811;LAX;HOU;WN;6745;HOU;ATL   SIMONCHESTER         VA                   US    78970   129194340@AIRLINE.KIWI.COM
JLRFNV   11/5/2020   OB    11/8/2020   WN;405;BNA;BOS                    SOUTH WILLIAM        MI                   US    30803   129194395@AIRLINE.KIWI.COM
ULGQTZ   11/5/2020   OB   11/11/2020   WN;2534;MHT;BWI;WN;4496;BWI;PHX   LAKE JEFFREY         NE                   US    81147   129098552@AIRLINE.KIWI.COM
UM8WGR   11/5/2020   OB   11/23/2020   WN;2653;ATL;PBI                   GONZALESTOWN         CA                   US    55505   129098772@AIRLINE.KIWI.COM
UMMGPT   11/5/2020   OB   12/27/2020   WN;3507;LAS;ATL                   NUEVA JAMAICA        CHIAPAS              MX    36146   129099443@AIRLINE.KIWI.COM
UMMGPT   11/5/2020   OB   12/27/2020   WN;3507;LAS;ATL                   NUEVA JAMAICA        CHIAPAS              MX    36146   129099443@AIRLINE.KIWI.COM
UNWALA   11/5/2020   OB   11/16/2020   WN;332;MIA;BWI;WN;915;BWI;PVD     LEEFURT              CA                   US    75002   129100048@AIRLINE.KIWI.COM
UNWALA   11/5/2020   OB   11/16/2020   WN;332;MIA;BWI;WN;915;BWI;PVD     LEEFURT              CA                   US    75002   129100048@AIRLINE.KIWI.COM
UO59XW   11/5/2020   OB    12/5/2020   WN;1443;DEN;OAK                   LAKE MICHAEL         OR                   US    78810   128243951.1494880@AIRLINE.KIWI.COM
UOLR32   11/5/2020   OB   11/26/2020   WN;3105;BWI;IND;WN;6814;IND;ATL   EAST JAMESBERG       MN                   US     5186   129099784@AIRLINE.KIWI.COM
UQBXAW   11/5/2020   OB    11/5/2020   WN;783;LAS;OAK                    WEST JOHNBURY        IL                   US    10869   129100246@AIRLINE.KIWI.COM
UQFNO6   11/5/2020   OB    11/5/2020   WN;582;DEN;TUL                    DEHRAA               CHANDIGARH           IN     2586   129101390@AIRLINE.KIWI.COM
UQTEZR   11/5/2020   OB   12/20/2020   WN;1442;MCO;DEN                   NORTH KATHLEEN       NY                   US    47115   129101533@AIRLINE.KIWI.COM
UR2NAJ   11/5/2020   OB   12/20/2020   WN;1442;MCO;DEN                   SAVAGELAND           HI                   US    44088   129101533@AIRLINE.KIWI.COM
US4F8X   11/5/2020   OB   12/20/2020   WN;675;RIC;ATL                    PORT TRACYLAND       UT                   US    54747   129102270@AIRLINE.KIWI.COM
UTDDKL   11/5/2020   OB    11/5/2020   WN;6887;PHX;DEN                   NEW JILLPORT         LA                   US    86200   129103051@AIRLINE.KIWI.COM
UV5KOT   11/5/2020   OB    11/8/2020   WN;908;DAL;MCI                    PORT PATRICK         MO                   US    81215   129103601@AIRLINE.KIWI.COM
UVAYTL   11/5/2020   OB   12/13/2020   WN;3189;PHL;MDW;WN;4115;MDW;STL   PORT JAMESMOUTH      ND                   US    27315   129103755@AIRLINE.KIWI.COM
UWJSJ4   11/5/2020   OB   12/23/2020   WN;5033;FLL;DEN                   NEW TIZIANA          NEUCHATEL            CH    95977   129104316@AIRLINE.KIWI.COM
UWL48N   11/5/2020   OB     1/3/2021   WN;1779;DEN;FLL                   KNITTELFELD          WIEN                 AT    57734   129104305@AIRLINE.KIWI.COM
UYNAE8   11/5/2020   OB   12/22/2020   WN;1137;AUS;DEN                   EAST NICHOLE         MD                   US    62723   129105526@AIRLINE.KIWI.COM
UYNAE8   11/5/2020   OB   12/22/2020   WN;1137;AUS;DEN                   EAST NICHOLE         MD                   US    62723   129105526@AIRLINE.KIWI.COM
UYNAE8   11/5/2020   OB   12/22/2020   WN;1137;AUS;DEN                   EAST NICHOLE         MD                   US    62723   129105526@AIRLINE.KIWI.COM
UYNAE8   11/5/2020   OB   12/22/2020   WN;1137;AUS;DEN                   EAST NICHOLE         MD                   US    62723   129105526@AIRLINE.KIWI.COM
UYNAE8   11/5/2020   OB   12/22/2020   WN;1137;AUS;DEN                   EAST NICHOLE         MD                   US    62723   129105526@AIRLINE.KIWI.COM
UZGVO7   11/5/2020   OB   12/31/2020   WN;3203;FLL;DAL;WN;2934;DAL;PHX   NEW SEANBERG         NH                   US    74193   129106351@AIRLINE.KIWI.COM
V58P6Q   11/5/2020   OB   11/27/2020   WN;899;SAN;HOU                    SYLVIATOWN           KY                   US     8454   129107880@AIRLINE.KIWI.COM
V58P6Q   11/5/2020   OB   11/27/2020   WN;899;SAN;HOU                    SYLVIATOWN           KY                   US     8454   129107880@AIRLINE.KIWI.COM
V5EZOC   11/5/2020   OB    12/1/2020   WN;6967;HOU;SAN                   WEST NATALIEMOUTH    NJ                   US    24216   129108078@AIRLINE.KIWI.COM
V5EZOC   11/5/2020   OB    12/1/2020   WN;6967;HOU;SAN                   WEST NATALIEMOUTH    NJ                   US    24216   129108078@AIRLINE.KIWI.COM
V5GJQ2   11/5/2020   OB    11/5/2020   WN;1137;OAK;LAX;WN;1207;LAX;RNO   LAKE JAMES           KY                   US    10588   129107946@AIRLINE.KIWI.COM
V96KIC   11/5/2020   OB   11/20/2020   WN;1005;AUS;MDW                   NICOLETON            AL                   US    84487   129109552@AIRLINE.KIWI.COM
VBZWDQ   11/5/2020   OB   12/12/2020   WN;60;CMH;TPA;WN;1065;TPA;MIA     LAKE ROBERT          CA                   US     2113   129111070@AIRLINE.KIWI.COM
VDD9X3   11/5/2020   OB   11/27/2020   WN;179;MCI;PHX                    NORTH JOHN           ME                   US    67408   129111730@AIRLINE.KIWI.COM
VET6R9   11/5/2020   OB   11/24/2020   WN;4038;DTW;STL;WN;5051;STL;BNA   WILLIAMSMOUTH        AK                   US    76680   129112841@AIRLINE.KIWI.COM
VET6R9   11/5/2020   OB   11/24/2020   WN;4038;DTW;STL;WN;5051;STL;BNA   WILLIAMSMOUTH        AK                   US    76680   129112841@AIRLINE.KIWI.COM
VET6R9   11/5/2020   OB   11/24/2020   WN;4038;DTW;STL;WN;5051;STL;BNA   WILLIAMSMOUTH        AK                   US    76680   129112841@AIRLINE.KIWI.COM
VJAOA6   11/5/2020   OB     1/2/2021   WN;1336;PHX;LGB;WN;1069;LGB;AUS   ASHLEYSTAD           TX                   US    89875   129115734@AIRLINE.KIWI.COM
VJLXWZ   11/5/2020   OB   11/16/2020   WN;1249;DEN;HOU;WN;661;HOU;MIA    MICHELLEMOUTH        OK                   US    25183   129115712@AIRLINE.KIWI.COM
VKGHOQ   11/5/2020   OB    11/5/2020   WN;872;SAN;SMF                    ERICSTAD             KS                   US    30325   129116108@AIRLINE.KIWI.COM
VMSU7N   11/5/2020   OB   12/20/2020   WN;1320;FLL;BWI;WN;849;BWI;CLT    CUNNINGHAMBOROUGH    CO                   US    80037   129118242@AIRLINE.KIWI.COM
VNYUIJ   11/5/2020   OB    1/13/2021   WN;4982;LAS;SMF                   XING AN MENG SHI     FUJIAN SHENG         CN    57937   129083350@AIRLINE.KIWI.COM
VS7LG2   11/5/2020   OB   11/26/2020   WN;1665;MEM;DEN                   SOUTH SETHTOWN       NJ                   US     5440   129116328@AIRLINE.KIWI.COM
VS7LG2   11/5/2020   OB   11/26/2020   WN;1665;MEM;DEN                   SOUTH SETHTOWN       NJ                   US     5440   129116328@AIRLINE.KIWI.COM
VWQAVT   11/5/2020   OB    12/8/2020   WN;2917;PHX;AUS                   JOHNSHIRE            TN                   US    97350   129099421@AIRLINE.KIWI.COM
VWQAVT   11/5/2020   OB    12/8/2020   WN;2917;PHX;AUS                   JOHNSHIRE            TN                   US    97350   129099421@AIRLINE.KIWI.COM
VX7U8H   11/5/2020   OB     1/2/2021   WN;6843;AUS;PHX                   SOUTH ANTHONY        GA                   US    81087   129099421@AIRLINE.KIWI.COM
VX7U8H   11/5/2020   OB     1/2/2021   WN;6843;AUS;PHX                   SOUTH ANTHONY        GA                   US    81087   129099421@AIRLINE.KIWI.COM
W5G2VT   11/5/2020   OB    11/7/2020   WN;2454;FLL;HOU;WN;2387;HOU;SAT   NEW JONATHANSTAD     MD                   US     3353   129137261@AIRLINE.KIWI.COM
W75GTN   11/5/2020   OB   12/22/2020   WN;510;DAL;FLL                    WILLIAMSONTOWN       UT                   US    70688   129139241@AIRLINE.KIWI.COM
W75GTN   11/5/2020   RT    1/16/2021   WN;1625;FLL;DAL                   WILLIAMSONTOWN       UT                   US    70688   129139241@AIRLINE.KIWI.COM
W9OQSC   11/5/2020   OB    11/5/2020   WN;1519;MSY;LAX                   DELACRUZLAND         TN                   US    58815   129141980@AIRLINE.KIWI.COM
WAS2NR   11/5/2020   OB    11/5/2020   WN;1583;ATL;HOU                   ZACHARYFORT          NY                   US    42682   129143850@AIRLINE.KIWI.COM
WBFOIJ   11/5/2020   OB   11/24/2020   WN;4803;RIC;ATL                   TROYTOWN             UT                   US     8787   129143960@AIRLINE.KIWI.COM
WCJRWU   11/5/2020   OB    11/6/2020   WN;154;HOU;ATL                    ROBERTFORT           OR                   US    91463   129144829@AIRLINE.KIWI.COM
WDYYV4   11/5/2020   OB   11/24/2020   WN;4795;RDU;MDW                   GREENEVILLE          NC                   US    54111   129147029@AIRLINE.KIWI.COM
WDYYV4   11/5/2020   OB   11/24/2020   WN;4795;RDU;MDW                   GREENEVILLE          NC                   US    54111   129147029@AIRLINE.KIWI.COM
WE4PTP   11/5/2020   OB   11/20/2020   WN;1259;PIT;BWI                   REYESBURGH           NC                   US    14748   129146908@AIRLINE.KIWI.COM
WE4PTP   11/5/2020   RT   11/22/2020   WN;2397;BWI;PIT                   REYESBURGH           NC                   US    14748   129146908@AIRLINE.KIWI.COM
WEMAI4   11/5/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   RALPHMOUTH           ID                   US    43739   129148118@AIRLINE.KIWI.COM
WEMAI4   11/5/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   RALPHMOUTH           ID                   US    43739   129148118@AIRLINE.KIWI.COM
WEMAI4   11/5/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   RALPHMOUTH           ID                   US    43739   129148118@AIRLINE.KIWI.COM
WEMAI4   11/5/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   RALPHMOUTH           ID                   US    43739   129148118@AIRLINE.KIWI.COM
WEMAI4   11/5/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   RALPHMOUTH           ID                   US    43739   129148118@AIRLINE.KIWI.COM
WEMAI4   11/5/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   RALPHMOUTH           ID                   US    43739   129148118@AIRLINE.KIWI.COM
WFDXLX   11/5/2020   OB   12/28/2020   WN;1111;BWI;BNA                   PATRICKCHESTER       MO                   US    32999   129149075@AIRLINE.KIWI.COM
WGC4NS   11/5/2020   OB   12/28/2020   WN;1111;BWI;BNA                   GARCIABURY           CA                   US    77858   129149933@AIRLINE.KIWI.COM
WHH4UE   11/5/2020   OB    11/5/2020   WN;831;TPA;STL                    NORTH JUSTINTOWN     SC                   US    39053   129151077@AIRLINE.KIWI.COM
WHH4UE   11/5/2020   RT   11/10/2020   WN;427;STL;TPA                    NORTH JUSTINTOWN     SC                   US    39053   129151077@AIRLINE.KIWI.COM
WHWNDR   11/5/2020   OB    12/1/2020   WN;150;ONT;OAK;WN;714;OAK;PDX     DANIELHAVEN          AL QAHIRAH           EG     1931   129152419@AIRLINE.KIWI.COM
WIWHGD   11/5/2020   OB    11/5/2020   WN;510;MCI;BNA                    LAKE MELISSA         NE                   US    50928   129152969@AIRLINE.KIWI.COM
WKLUZV   11/5/2020   OB   12/18/2020   WN;1468;SAN;LAS                   MCKAYVIEW            MA                   US    84209   129155367@AIRLINE.KIWI.COM
WLE698   11/5/2020   OB    11/5/2020   WN;499;DTW;MDW;WN;1424;MDW;MSP    WEST JAMES           LEMESOS              CY    40455   129156060@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   OB   11/29/2020   WN;4889;MDW;BWI                   PETERSCHESTER        ID                   US    97821   129151924@AIRLINE.KIWI.COM




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WLIQ5R   11/5/2020   OB   11/29/2020   WN;4889;MDW;BWI                   PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   OB   11/29/2020   WN;4889;MDW;BWI                   PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   OB   11/29/2020   WN;4889;MDW;BWI                   PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   RT    12/1/2020   WN;352;BWI;MDW                    PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   RT    12/1/2020   WN;352;BWI;MDW                    PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   RT    12/1/2020   WN;352;BWI;MDW                    PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLIQ5R   11/5/2020   RT    12/1/2020   WN;352;BWI;MDW                    PETERSCHESTER        ID                    US   97821   129151924@AIRLINE.KIWI.COM
WLNF6E   11/5/2020   OB    12/9/2020   WN;2730;CLT;DEN                   SOUTH ANDREAFURT     GA                    US    7241   129156577@AIRLINE.KIWI.COM
WM9AQA   11/5/2020   OB    11/6/2020   WN;276;BWI;BOS                    EAST HEATHERSIDE     CT                    US   52560   129157776@AIRLINE.KIWI.COM
WMXUKL   11/5/2020   OB   12/20/2020   WN;1051;MIA;BWI                   MARTINEZBURY         VALLETTA              MT    2600   129158029@AIRLINE.KIWI.COM
WMXUKL   11/5/2020   OB   12/20/2020   WN;1051;MIA;BWI                   MARTINEZBURY         VALLETTA              MT    2600   129158029@AIRLINE.KIWI.COM
WNA8OV   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ALAVIESKA            KAINUU                FI   66381   129158634@AIRLINE.KIWI.COM
WNA8OV   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ALAVIESKA            KAINUU                FI   66381   129158634@AIRLINE.KIWI.COM
WNNE5R   11/5/2020   OB    11/5/2020   WN;920;PHL;MDW;WN;920;MDW;AUS     ADAMPORT             MD                    US   60990   129159514@AIRLINE.KIWI.COM
WOFBHM   11/5/2020   OB   11/26/2020   WN;6583;MDW;AUS                   PEREZSTAD            MT                    US   83149   129160086@AIRLINE.KIWI.COM
WOVJG8   11/5/2020   OB    11/6/2020   WN;1397;SAN;SMF                   PORT BRENDA          GA                    US   50032   129161164@AIRLINE.KIWI.COM
WOVUJ9   11/5/2020   OB   11/24/2020   WN;2536;BUF;MDW;WN;2754;MDW;MEM   HANCOCKTON           NH                    US    8533   129161373@AIRLINE.KIWI.COM
WPFBWS   11/5/2020   OB   11/28/2020   WN;6984;SAN;LAS                   WOODARDBERG          IA                    US   45626   129162088@AIRLINE.KIWI.COM
WPFBWS   11/5/2020   OB   11/28/2020   WN;6984;SAN;LAS                   WOODARDBERG          IA                    US   45626   129162088@AIRLINE.KIWI.COM
WPFET4   11/5/2020   OB   11/16/2020   WN;273;MBJ;MCO                    DENNISBURGH          KY                    US    8106   129161142@AIRLINE.KIWI.COM
WPKCTA   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ERMESINDE            AZ                    US   44451   129156742@AIRLINE.KIWI.COM
WPKCTA   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ERMESINDE            AZ                    US   44451   129156742@AIRLINE.KIWI.COM
WPKCTA   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ERMESINDE            AZ                    US   44451   129156742@AIRLINE.KIWI.COM
WPKCTA   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ERMESINDE            AZ                    US   44451   129156742@AIRLINE.KIWI.COM
WPKCTA   11/5/2020   OB   12/27/2020   WN;102;BWI;MIA                    ERMESINDE            AZ                    US   44451   129156742@AIRLINE.KIWI.COM
WRDYZU   11/5/2020   OB    11/5/2020   WN;933;DTW;BWI;WN;3369;BWI;CVG    CHANFORT             AR                    US   30209   129164200@AIRLINE.KIWI.COM
WRU5ST   11/5/2020   OB    11/5/2020   WN;561;ATL;HOU                    TETEROW              BADENWURTTEMBERG      DE   31680   129164398@AIRLINE.KIWI.COM
WSO5DF   11/5/2020   OB    11/8/2020   WN;6601;MDW;RDU                   EAST MICHELLE        TX                    US   59128   129166312@AIRLINE.KIWI.COM
WSO5DF   11/5/2020   OB    11/8/2020   WN;6601;MDW;RDU                   EAST MICHELLE        TX                    US   59128   129166312@AIRLINE.KIWI.COM
WSO5DF   11/5/2020   OB    11/8/2020   WN;6601;MDW;RDU                   EAST MICHELLE        TX                    US   59128   129166312@AIRLINE.KIWI.COM
WSO5DF   11/5/2020   OB    11/8/2020   WN;6601;MDW;RDU                   EAST MICHELLE        TX                    US   59128   129166312@AIRLINE.KIWI.COM
WSTPBG   11/5/2020   OB   11/26/2020   WN;6912;MDW;TPA                   BRANDONBURGH         CT                    US   80432   129165850@AIRLINE.KIWI.COM
WSY8HU   11/5/2020   OB   11/24/2020   WN;6788;MKE;DEN;WN;1849;DEN;SEA   LAKE AMY             UT                    US   56502   129166290@AIRLINE.KIWI.COM
WTDRG5   11/5/2020   OB    11/5/2020   WN;952;BNA;RDU                    NORTH BROOKE         TN                    US    7843   129167302@AIRLINE.KIWI.COM
WTDRG5   11/5/2020   RT    11/6/2020   WN;758;RDU;BNA                    NORTH BROOKE         TN                    US    7843   129167302@AIRLINE.KIWI.COM
WTEVCH   11/5/2020   OB    11/5/2020   WN;1326;MSY;MDW;WN;4469;MDW;OKC   EAST DERRICKVIEW     MT                    US   44627   129167104@AIRLINE.KIWI.COM
WVEMHO   11/5/2020   OB    1/14/2021   WN;711;SAN;DEN                    BENSONBOROUGH        MA                    US   40425   129170393@AIRLINE.KIWI.COM
WXOK8A   11/5/2020   OB    12/4/2020   WN;2730;CLT;DEN                   NEW DEVON            OR                    US   90701   129173627@AIRLINE.KIWI.COM
WY9PDN   11/5/2020   OB    11/5/2020   WN;457;MDW;ATL                    KAYLAFURT            AR                    US   44041   129173946@AIRLINE.KIWI.COM
WYG5CP   11/5/2020   OB    12/7/2020   WN;2323;DEN;CLT                   WEST MARYFORT        HI                    US   82988   129173836@AIRLINE.KIWI.COM
WZ6WZI   11/5/2020   OB     1/2/2021   WN;349;PIT;MDW;WN;1853;MDW;SAT    NORTH FRANKBOROUGH   LA                    US   67402   129174353@AIRLINE.KIWI.COM
WZ9CU5   11/5/2020   OB   12/19/2020   WN;1753;SAT;BWI;WN;878;BWI;PIT    NGUYENTOWN           ID                    US    4412   129174342@AIRLINE.KIWI.COM
WZ9JZA   11/5/2020   OB   11/15/2020   WN;763;DEN;CLT                    FREEMANBURY          IA                    US   86731   129172120@AIRLINE.KIWI.COM
JM7XH8   11/6/2020   OB     1/4/2021   WN;299;BWI;ATL                    MACDONALDMOUTH       TX                    US    2876   129194923@AIRLINE.KIWI.COM
JNB2AV   11/6/2020   OB    11/7/2020   WN;1487;SMF;HNL;WN;753;HNL;KOA    CRUZTOWN             AK                    US   17095   129195418@AIRLINE.KIWI.COM
JQZKPU   11/6/2020   OB   11/15/2020   WN;6512;DEN;PHX                   POCEONSI             GYEONGSANGNAMDO       KR   79502   129197475@AIRLINE.KIWI.COM
JQZKPU   11/6/2020   OB   11/15/2020   WN;6512;DEN;PHX                   POCEONSI             GYEONGSANGNAMDO       KR   79502   129197475@AIRLINE.KIWI.COM
JS8253   11/6/2020   OB    12/2/2020   WN;1449;ALB;BWI;WN;4776;BWI;AUS   MAYSBOROUGH          MN                    US   99694   129198278@AIRLINE.KIWI.COM
JSHDJB   11/6/2020   OB    11/6/2020   WN;147;ABQ;LAS                    EAST JOHN            AZ                    US   66894   129198036@AIRLINE.KIWI.COM
JSMDUA   11/6/2020   OB    11/6/2020   WN;147;ABQ;LAS                    WILLIAMPORT          MD                    US   69818   129198036@AIRLINE.KIWI.COM
JUGPZ9   11/6/2020   OB   11/30/2020   WN;1870;BHM;MDW                   NEW MICHAELSTAD      VA                    US   10452   129198993@AIRLINE.KIWI.COM
JUXSQ7   11/6/2020   OB   11/15/2020   WN;1014;MIA;MDW                   LAKE EDVARDASTON     PANEVEZIO APSKRITIS   LT    3909   129199136@AIRLINE.KIWI.COM
JVW8MN   11/6/2020   OB   11/26/2020   WN;2978;BNA;BOS                   CRYSTALVIEW          DE                    US    5111   129199741@AIRLINE.KIWI.COM
JWR94P   11/6/2020   OB   11/15/2020   WN;1014;MIA;MDW                   NORTH RUSNE          ALYTAUS APSKRITIS     LT   25765   129199136@AIRLINE.KIWI.COM
JYQPA4   11/6/2020   OB   11/25/2020   WN;4752;BWI;LAS                   LAKE CHERYLSHIRE     NJ                    US   51924   129190732@AIRLINE.KIWI.COM
JYQPA4   11/6/2020   OB   11/25/2020   WN;4752;BWI;LAS                   LAKE CHERYLSHIRE     NJ                    US   51924   129190732@AIRLINE.KIWI.COM
JYQPA4   11/6/2020   OB   11/25/2020   WN;4752;BWI;LAS                   LAKE CHERYLSHIRE     NJ                    US   51924   129190732@AIRLINE.KIWI.COM
JYQPA4   11/6/2020   RT   11/29/2020   WN;1764;LAS;BWI                   LAKE CHERYLSHIRE     NJ                    US   51924   129190732@AIRLINE.KIWI.COM
JYQPA4   11/6/2020   RT   11/29/2020   WN;1764;LAS;BWI                   LAKE CHERYLSHIRE     NJ                    US   51924   129190732@AIRLINE.KIWI.COM
JYQPA4   11/6/2020   RT   11/29/2020   WN;1764;LAS;BWI                   LAKE CHERYLSHIRE     NJ                    US   51924   129190732@AIRLINE.KIWI.COM
JZZXLB   11/6/2020   OB     1/4/2021   WN;1440;SFO;MDW                   SOUTH MARYMOUTH      ID                    US    7410   124318579.1495648@AIRLINE.KIWI.COM
JZZXLB   11/6/2020   OB     1/4/2021   WN;1440;SFO;MDW                   SOUTH MARYMOUTH      ID                    US    7410   124318579.1495648@AIRLINE.KIWI.COM
K4C652   11/6/2020   OB    12/9/2020   WN;2730;CLT;DEN                   FREDERICKSIDE        AK                    US   95848   129199158@AIRLINE.KIWI.COM
K5ENTC   11/6/2020   OB    11/8/2020   WN;926;SMF;PDX                    ARMSTRONGBURY        TN                    US   18341   129203283@AIRLINE.KIWI.COM
K5Q9QX   11/6/2020   OB   12/22/2020   WN;674;PDX;OAK;WN;1253;OAK;BUR    NEW ANTHONY          MO                    US   90315   129203206@AIRLINE.KIWI.COM
KA959D   11/6/2020   OB    11/7/2020   WN;1071;SDF;MDW                   NUEVA NAMIBIA        TLAXCALA              MX   50946   129205450@AIRLINE.KIWI.COM
KBKA7Z   11/6/2020   OB    12/2/2020   WN;1925;PHX;LAS                   CUNHA GRANDE         PERNAMBUCO            BR   26645   129206187@AIRLINE.KIWI.COM
KBKVNC   11/6/2020   OB    11/8/2020   WN;1202;BOS;MDW;WN;1006;MDW;MEM   EAST JOHNPORT        KERYNEIA              CY   93158   129206286@AIRLINE.KIWI.COM
KBKVNC   11/6/2020   OB    11/8/2020   WN;1202;BOS;MDW;WN;1006;MDW;MEM   EAST JOHNPORT        KERYNEIA              CY   93158   129206286@AIRLINE.KIWI.COM
KBMLTM   11/6/2020   OB    11/7/2020   WN;3973;BWI;LAX                   EAST KRISTEN         OK                    US   61914   129206297@AIRLINE.KIWI.COM
KD9Y2G   11/6/2020   OB     2/3/2021   WN;2457;MDW;LAS                   HARPERBURGH          SD                    US   69718   129206836@AIRLINE.KIWI.COM
KTAARX   11/6/2020   OB   11/12/2020   WN;318;PIT;DEN;WN;416;DEN;SFO     HANNAHBURY           IL                    US   46915   129218111@AIRLINE.KIWI.COM
KTLFD9   11/6/2020   OB   11/28/2020   WN;2179;MDW;ATL                   JEFFREYSHIRE         ME                    US   11480   129207936@AIRLINE.KIWI.COM
KTWWHE   11/6/2020   OB   11/15/2020   WN;604;DEN;PIT                    HERNANDEZSHIRE       NV                    US   12254   129218837@AIRLINE.KIWI.COM
KUT5K4   11/6/2020   OB   11/25/2020   WN;6916;TUS;LAS                   EVANSMOUTH           IN                    US   28289   129219761@AIRLINE.KIWI.COM
KVJUFX   11/6/2020   OB   12/29/2020   WN;748;BWI;SAT                    CHARLOTTETOWN        OR                    US   51142   129220487@AIRLINE.KIWI.COM
KYSEEU   11/6/2020   OB   12/31/2020   WN;2110;SMF;LAX                   CASETOWN             CA                    US   26352   129211610@AIRLINE.KIWI.COM
KYSEEU   11/6/2020   OB   12/31/2020   WN;2110;SMF;LAX                   CASETOWN             CA                    US   26352   129211610@AIRLINE.KIWI.COM
KZTVHN   11/6/2020   OB    11/6/2020   WN;6560;BOS;MDW                   TRELLEBORG           JAMTLANDS LAN         SE   79180   129225448@AIRLINE.KIWI.COM
L3I2IN   11/6/2020   OB     1/4/2021   WN;1149;LAX;SMF                   THOMPSONFORT         MT                    US   39448   129213227@AIRLINE.KIWI.COM
L3I2IN   11/6/2020   OB     1/4/2021   WN;1149;LAX;SMF                   THOMPSONFORT         MT                    US   39448   129213227@AIRLINE.KIWI.COM
L4A8CG   11/6/2020   OB     1/2/2021   WN;2444;MDW;GRR                   SMRZOVKA             SVITAVY               CZ    3961   129227571@AIRLINE.KIWI.COM
L7BEF6   11/6/2020   OB    1/20/2021   WN;2576;PHX;HOU;WN;2576;HOU;FLL   SOUTH RYANBURGH      CT                    US   56213   129231091@AIRLINE.KIWI.COM
L7QDM6   11/6/2020   OB    1/28/2021   WN;3189;MDW;PHX                   EVERETTBOROUGH       WY                    US   35654   129231091@AIRLINE.KIWI.COM
L7WNKV   11/6/2020   OB    1/28/2021   WN;3233;FLL;HOU;WN;1852;HOU;PHX   PORT MEAGANPORT      WV                    US   96524   129231091@AIRLINE.KIWI.COM
L9INZY   11/6/2020   OB   11/13/2020   WN;1054;ATL;PHL                   CUMMINGSBOROUGH      AK                    US   50350   129233093@AIRLINE.KIWI.COM
LAV2B7   11/6/2020   OB    12/4/2020   WN;2654;SAT;BWI                   ATKINSONHAVEN        TN                    US   38332   129234985@AIRLINE.KIWI.COM
LCERV7   11/6/2020   OB   11/25/2020   WN;2144;FLL;BWI                   NORTH TAMMYLAND      MA                    US   45434   129207771@AIRLINE.KIWI.COM
LCERV7   11/6/2020   OB   11/25/2020   WN;2144;FLL;BWI                   NORTH TAMMYLAND      MA                    US   45434   129207771@AIRLINE.KIWI.COM
LDDSYU   11/6/2020   OB   11/10/2020   WN;4202;ATL;DEN;WN;3927;DEN;LAX   CHANEYPORT           ME                    US   16745   129238186@AIRLINE.KIWI.COM
LG7OMS   11/6/2020   OB   12/23/2020   WN;2325;SAT;ATL                   LAKE JAMES           NY                    US   97917   129242025@AIRLINE.KIWI.COM
LGKQ62   11/6/2020   OB   12/23/2020   WN;4783;PVD;DCA                   SOPHIASIDE           MS                    US   33937   129241959@AIRLINE.KIWI.COM
LIZP5P   11/6/2020   OB    12/6/2020   WN;1423;SAN;SFO                   WEST CHRISTOPHER     FL                    US   86104   129231509@AIRLINE.KIWI.COM
LIZP5P   11/6/2020   OB    12/6/2020   WN;1423;SAN;SFO                   WEST CHRISTOPHER     FL                    US   86104   129231509@AIRLINE.KIWI.COM
LJ9GEY   11/6/2020   OB   11/12/2020   WN;131;DEN;CUN                    GONZALESMOUTH        OR                    US   48975   129214349.1496038@AIRLINE.KIWI.COM
LKCUUG   11/6/2020   OB    12/5/2020   WN;3394;LAX;HOU                   GAPYEONGGUN          GWANGJU GWANGYEOGSI   KR   10664   129246854@AIRLINE.KIWI.COM
LKNARG   11/6/2020   OB   11/25/2020   WN;1837;MDW;HOU                   JUANVIEW             AL                    US   63616   129247371@AIRLINE.KIWI.COM
LKNARG   11/6/2020   RT   11/29/2020   WN;3476;HOU;MDW                   JUANVIEW             AL                    US   63616   129247371@AIRLINE.KIWI.COM
LM5XJQ   11/6/2020   OB     1/6/2021   WN;1035;DEN;MSP                   WILLIAMSSIDE         DE                    US    2813   122356432.1496076@AIRLINE.KIWI.COM
LM5XJQ   11/6/2020   OB     1/6/2021   WN;1035;DEN;MSP                   WILLIAMSSIDE         DE                    US    2813   122356432.1496076@AIRLINE.KIWI.COM
LM5XJQ   11/6/2020   OB     1/6/2021   WN;1035;DEN;MSP                   WILLIAMSSIDE         DE                    US    2813   122356432.1496076@AIRLINE.KIWI.COM
LOW35T   11/6/2020   OB   11/24/2020   WN;4336;FLL;RDU                   SOUTH LINDSEYTOWN    UT                    US    5231   129252299@AIRLINE.KIWI.COM
LP9MCA   11/6/2020   OB    11/7/2020   WN;3051;OAK;SAN                   WALLSSHIRE           HI                    US   35527   129253168@AIRLINE.KIWI.COM
LPCFKG   11/6/2020   OB   11/30/2020   WN;3730;ABQ;HOU;WN;3730;HOU;AUS   NORTH DARRELLLAND    PA                    US   18423   129252849@AIRLINE.KIWI.COM
LQBEFK   11/6/2020   OB     1/4/2021   WN;582;TUL;LAS;WN;582;LAS;SMF     MACKTON              OH                    US   94003   129253718@AIRLINE.KIWI.COM
LRYPKA   11/6/2020   OB    11/6/2020   WN;1190;ATL;HOU                   ANDREAMOUTH          OK                    US   10906   129255962@AIRLINE.KIWI.COM
LS476U   11/6/2020   OB    11/7/2020   WN;4082;SMF;LAX                   DEANHAVEN            LA                    US   98445   129255764@AIRLINE.KIWI.COM




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LTHTJY   11/6/2020   OB    12/1/2020   WN;892;PHL;BNA                    RICHARDSTAD            OR                   US   11512   129258327@AIRLINE.KIWI.COM
LTHTJY   11/6/2020   OB    12/1/2020   WN;892;PHL;BNA                    RICHARDSTAD            OR                   US   11512   129258327@AIRLINE.KIWI.COM
LTZ4YO   11/6/2020   OB    12/5/2020   WN;3425;BNA;PHL                   CHAVEZFURT             WY                   US   90557   129258679@AIRLINE.KIWI.COM
LTZ4YO   11/6/2020   OB    12/5/2020   WN;3425;BNA;PHL                   CHAVEZFURT             WY                   US   90557   129258679@AIRLINE.KIWI.COM
LVSEOT   11/6/2020   OB   11/12/2020   WN;1149;LAX;SMF                   LAKE SHAWN             NM                   US   45729   129261154@AIRLINE.KIWI.COM
LW7D3M   11/6/2020   OB    2/15/2021   WN;4202;ATL;DEN                   SOUTH KIMBERLYSIDE     WY                   US   66994   129261198@AIRLINE.KIWI.COM
LW7D3M   11/6/2020   OB    2/15/2021   WN;4202;ATL;DEN                   SOUTH KIMBERLYSIDE     WY                   US   66994   129261198@AIRLINE.KIWI.COM
LW7D3M   11/6/2020   RT    2/18/2021   WN;3008;DEN;DAL;WN;4577;DAL;ATL   SOUTH KIMBERLYSIDE     WY                   US   66994   129261198@AIRLINE.KIWI.COM
LW7D3M   11/6/2020   RT    2/18/2021   WN;3008;DEN;DAL;WN;4577;DAL;ATL   SOUTH KIMBERLYSIDE     WY                   US   66994   129261198@AIRLINE.KIWI.COM
LX6RKD   11/6/2020   OB   11/28/2020   WN;324;BWI;MIA                    MITCHELLBURGH          AL                   US    8339   129262133@AIRLINE.KIWI.COM
LYJGW3   11/6/2020   OB    12/6/2020   WN;4844;SFO;DEN                   PORT LISA              ME                   US   57397   129264784@AIRLINE.KIWI.COM
LYLLH9   11/6/2020   OB   11/12/2020   WN;1558;BNA;TPA                   ROSENHEIM              BAYERN               DE   80545   129264795@AIRLINE.KIWI.COM
LYWABL   11/6/2020   OB    12/4/2020   WN;2568;ATL;LAS                   RODRIGUEZVIEW          TN                   US   64144   129265136@AIRLINE.KIWI.COM
LZNXJG   11/6/2020   OB   11/10/2020   WN;2446;SNA;PHX                   SOUTH AUSTINBURGH      NJ                   US   65538   129265378@AIRLINE.KIWI.COM
M3WKW6   11/6/2020   OB    11/9/2020   WN;6830;ATL;BNA;WN;846;BNA;STL    AMYBOROUGH             OR                   US   95272   129267886@AIRLINE.KIWI.COM
M53RW9   11/6/2020   OB   12/14/2020   WN;2817;ATL;LGA                   PORT AMANDA            SC                   US   66098   129269239@AIRLINE.KIWI.COM
M6DQ7Y   11/6/2020   OB     1/1/2021   WN;2516;BWI;HOU                   LAKE ABIGAILPORT       ND                   US   37359   129270911@AIRLINE.KIWI.COM
M6DQ7Y   11/6/2020   RT     1/5/2021   WN;2284;HOU;BWI                   LAKE ABIGAILPORT       ND                   US   37359   129270911@AIRLINE.KIWI.COM
M9A3XB   11/6/2020   OB     1/2/2021   WN;1828;CLT;BWI                   NORTH DERRICKMOUTH     MN                   US   83208   129274046@AIRLINE.KIWI.COM
M9A3XB   11/6/2020   OB     1/2/2021   WN;1828;CLT;BWI                   NORTH DERRICKMOUTH     MN                   US   83208   129274046@AIRLINE.KIWI.COM
M9PF8U   11/6/2020   OB   12/21/2020   WN;1440;SFO;MDW;WN;1138;MDW;DCA   TSOTSOVFURT            DOBRICH              BG    3463   129274178@AIRLINE.KIWI.COM
M9PF8U   11/6/2020   OB   12/21/2020   WN;1440;SFO;MDW;WN;1138;MDW;DCA   TSOTSOVFURT            DOBRICH              BG    3463   129274178@AIRLINE.KIWI.COM
MBFU8H   11/6/2020   OB    1/19/2021   WN;390;PHX;DEN                    SHANNONCHESTER         MS                   US   86379   129231091.1496256@AIRLINE.KIWI.COM
MBL4M3   11/6/2020   OB   12/10/2020   WN;3373;PHX;LGB                   EAST BRADLEY           KS                   US    2960   129275520@AIRLINE.KIWI.COM
MBL4M3   11/6/2020   RT    1/10/2021   WN;4878;LGB;PHX                   EAST BRADLEY           KS                   US    2960   129275520@AIRLINE.KIWI.COM
MBU6SD   11/6/2020   OB     1/1/2021   WN;2516;BWI;HOU                   GREENSTAD              MI                   US   90282   129276103@AIRLINE.KIWI.COM
MBU6SD   11/6/2020   RT     1/5/2021   WN;2284;HOU;BWI                   GREENSTAD              MI                   US   90282   129276103@AIRLINE.KIWI.COM
MC6YSJ   11/6/2020   OB    11/7/2020   WN;3466;ATL;HOU                   NORTH JULIA            MA                   US    6877   129276323@AIRLINE.KIWI.COM
MCF5QL   11/6/2020   OB    12/2/2020   WN;2446;SLC;OAK;WN;784;OAK;OGG    KAYLABURY              MO                   US   62757   129276279@AIRLINE.KIWI.COM
MCF5QL   11/6/2020   RT    12/8/2020   WN;1150;OGG;OAK;WN;4321;OAK;SLC   KAYLABURY              MO                   US   62757   129276279@AIRLINE.KIWI.COM
MCM7OG   11/6/2020   OB   11/10/2020   WN;4202;ATL;DEN;WN;3927;DEN;LAX   JOHNSONSIDE            CO                   US   57376   129277038@AIRLINE.KIWI.COM
MCM7OG   11/6/2020   OB   11/10/2020   WN;4202;ATL;DEN;WN;3927;DEN;LAX   JOHNSONSIDE            CO                   US   57376   129277038@AIRLINE.KIWI.COM
MCYF9A   11/6/2020   OB   11/16/2020   WN;1003;ELP;HOU;WN;921;HOU;MCO    JUSTINPORT             LA                   US   77885   129276840@AIRLINE.KIWI.COM
MD5RSH   11/6/2020   OB   11/12/2020   WN;341;SNA;SMF                    CHEN YANG SHI          JIANGXI SHENG        CN   86222   129276950@AIRLINE.KIWI.COM
MD5RSH   11/6/2020   OB   11/12/2020   WN;341;SNA;SMF                    CHEN YANG SHI          JIANGXI SHENG        CN   86222   129276950@AIRLINE.KIWI.COM
MDR72G   11/6/2020   OB   12/13/2020   WN;3639;DEN;ONT                   DONALDTOWN             OH                   US   67056   129277269@AIRLINE.KIWI.COM
MFM6Z5   11/6/2020   OB    12/8/2020   WN;3033;DEN;SNA                   LAKE SARATON           WV                   US   17725   129278457@AIRLINE.KIWI.COM
MFZJML   11/6/2020   OB   11/21/2020   WN;177;CMH;MDW                    NEW MATTHEWBOROUGH     TX                   US   95049   129278864@AIRLINE.KIWI.COM
MH7KEC   11/6/2020   OB    2/26/2021   WN;346;SJU;BWI;WN;4413;BWI;BDL    JEFFREYSIDE            MT                   US   37127   129279964@AIRLINE.KIWI.COM
MH7KEC   11/6/2020   OB    2/26/2021   WN;346;SJU;BWI;WN;4413;BWI;BDL    JEFFREYSIDE            MT                   US   37127   129279964@AIRLINE.KIWI.COM
MHET4W   11/6/2020   OB   11/24/2020   WN;1125;LAS;OAK;WN;3359;OAK;ONT   AMANDAFORT             UT                   US   37633   129270009@AIRLINE.KIWI.COM
MJMNJP   11/6/2020   OB    11/8/2020   WN;964;MCO;HOU;WN;964;HOU;SNA     PAULAHAVEN             NV                   US   65848   129281130@AIRLINE.KIWI.COM
MNNA5X   11/7/2020   OB   12/11/2020   WN;2151;CHS;BNA;WN;4766;BNA;PHL   SOUTH AMANDA           MI                   US   61007   129283220@AIRLINE.KIWI.COM
MO6EWH   11/7/2020   OB   12/25/2020   WN;3172;TUS;LAS;WN;2877;LAS;DEN   JONESBOROUGH           HI                   US   69379   129283583@AIRLINE.KIWI.COM
MOHSTU   11/7/2020   OB   11/11/2020   WN;2500;BNA;DEN;WN;4566;DEN;DSM   CNDDIIGDDH             CHHATTISGARH         IN   25874   129283594@AIRLINE.KIWI.COM
MOYLNA   11/7/2020   OB    11/7/2020   WN;4245;MSY;BNA                   WEST WANDA             OR                   US   75292   129284177@AIRLINE.KIWI.COM
MPZYB8   11/7/2020   OB   11/25/2020   WN;6974;CMH;MDW                   WEST MICHAEL           WV                   US   99544   129284463@AIRLINE.KIWI.COM
MQ2EIR   11/7/2020   OB   11/14/2020   WN;2975;PHL;TPA                   JOHNSONBOROUGH         DE                   US   30311   129284419@AIRLINE.KIWI.COM
MQIR4Q   11/7/2020   OB     1/5/2021   WN;102;BWI;MIA                    NEW ERNESTBURY         OR                   US   62863   129285057@AIRLINE.KIWI.COM
MQIR4Q   11/7/2020   OB     1/5/2021   WN;102;BWI;MIA                    NEW ERNESTBURY         OR                   US   62863   129285057@AIRLINE.KIWI.COM
MRO4EQ   11/7/2020   OB    1/17/2021   WN;478;MCO;MCI                    SOUTH DUNCAN           STOKEONTRENT         GB   76330   129285365@AIRLINE.KIWI.COM
MRXNHZ   11/7/2020   OB    1/17/2021   WN;478;MCO;MCI                    OOSTERBIERUM           ARUBA                NL   55808   129285442@AIRLINE.KIWI.COM
MT36JY   11/7/2020   OB   12/23/2020   WN;4797;BWI;JAX                   SOUTH KIMBERLY         HI                   US    1997   129286256@AIRLINE.KIWI.COM
MU589M   11/7/2020   OB   12/21/2020   WN;805;ATL;CMH                    WEST JOHNLAND          AL                   US   90874   129286784@AIRLINE.KIWI.COM
MU589M   11/7/2020   RT     1/3/2021   WN;4857;CMH;ATL                   WEST JOHNLAND          AL                   US   90874   129286784@AIRLINE.KIWI.COM
MU58CR   11/7/2020   OB    1/17/2021   WN;478;MCO;MCI                    DANIELCHESTER          NJ                   US   46320   129286652@AIRLINE.KIWI.COM
MWLPK4   11/7/2020   OB   11/11/2020   WN;2699;SLC;DEN;WN;2516;DEN;SEA   STEPHANIEHAVEN         WA                   US   20683   129287807@AIRLINE.KIWI.COM
MWWF5O   11/7/2020   OB    11/7/2020   WN;3794;PDX;OAK;WN;808;OAK;HNL    WEST DAVID             RI                   US    8731   129287730@AIRLINE.KIWI.COM
MY9OWT   11/7/2020   OB   11/21/2020   WN;63;MCO;MCI                     SOUTH BRANDONSHIRE     MT                   US   52230   129287433@AIRLINE.KIWI.COM
MZ58UA   11/7/2020   OB   11/15/2020   WN;1003;SJC;PDX                   WHITEBERG              IL                   US   67851   129288665@AIRLINE.KIWI.COM
N2VYH7   11/7/2020   OB   11/28/2020   WN;102;BWI;MIA                    WALTERSBERG            AL                   US   45502   129289347@AIRLINE.KIWI.COM
N4UISL   11/7/2020   OB   12/22/2020   WN;1502;SMF;PDX                   DENNISBERG             ND                   US    5410   129290513@AIRLINE.KIWI.COM
N4UISL   11/7/2020   OB   12/22/2020   WN;1502;SMF;PDX                   DENNISBERG             ND                   US    5410   129290513@AIRLINE.KIWI.COM
N6LDJ4   11/7/2020   OB   11/15/2020   WN;566;DTW;DEN                    NORTH JENNIFERBURGH    ID                   US   61110   129291074@AIRLINE.KIWI.COM
N7ZFSC   11/7/2020   OB   11/27/2020   WN;6554;SJC;LAS                   LAKE ELIZABETHSIDE     NE                   US   70072   129290887@AIRLINE.KIWI.COM
NB2MW4   11/7/2020   OB    12/1/2020   WN;1366;TPA;DEN                   SOUTH JONATHANMOUTH    UT                   US   73328   129292988@AIRLINE.KIWI.COM
NB2T7M   11/7/2020   OB   11/10/2020   WN;6839;MDW;RDU                   BWRNFURT               AR RIYAD             SA   51766   129292768@AIRLINE.KIWI.COM
ND9OBU   11/7/2020   OB   11/26/2020   WN;418;SJC;OGG                    DEBRAFORT              MD                   US   29806   129293604@AIRLINE.KIWI.COM
ND9OBU   11/7/2020   OB   11/26/2020   WN;418;SJC;OGG                    DEBRAFORT              MD                   US   29806   129293604@AIRLINE.KIWI.COM
NDJCV7   11/7/2020   OB    12/2/2020   WN;1210;PHX;SMF                   SOUTH DARLENE          OK                   US   39420   129293780@AIRLINE.KIWI.COM
NFWGEY   11/7/2020   OB   12/12/2020   WN;1014;MIA;MDW;WN;3432;MDW;DEN   LAURAFURT              NE                   US   64989   129294737@AIRLINE.KIWI.COM
NLJJ8S   11/7/2020   OB   11/26/2020   WN;3306;MDW;MIA                   P PARTIZANSK           ROSTOVSKAYA OBLAST   RU   48832   129297036@AIRLINE.KIWI.COM
NLJJ8S   11/7/2020   OB   11/26/2020   WN;3306;MDW;MIA                   P PARTIZANSK           ROSTOVSKAYA OBLAST   RU   48832   129297036@AIRLINE.KIWI.COM
NLNGRK   11/7/2020   OB    11/8/2020   WN;1334;RIC;ATL                   PORT KATIE             UT                   US   57945   129297190@AIRLINE.KIWI.COM
O49BTC   11/7/2020   OB    12/9/2020   WN;4217;MSY;BNA;WN;3585;BNA;DTW   SAN INDIRA LOS BAJOS   YUCATAN              MX   71748   129307475@AIRLINE.KIWI.COM
O7RCYW   11/7/2020   OB   11/10/2020   WN;3185;FLL;BNA                   KEVINHAVEN             MS                   US   43789   129311270@AIRLINE.KIWI.COM
O98EPW   11/7/2020   OB   11/24/2020   WN;545;LAS;MDW                    NEW JAMIEBERG          IL                   US    6630   129312744@AIRLINE.KIWI.COM
O98EPW   11/7/2020   RT   11/29/2020   WN;4565;MDW;LAS                   NEW JAMIEBERG          IL                   US    6630   129312744@AIRLINE.KIWI.COM
OEP5WF   11/7/2020   OB   11/18/2020   WN;2255;MDW;BOS                   LAKE JERRY             KY                   US   33353   129317485@AIRLINE.KIWI.COM
OGOG7C   11/7/2020   OB    11/7/2020   WN;3845;PHX;LAX;WN;3845;LAX;OAK   EAST SAMANTHAVILLE     WI                   US   85013   129319509@AIRLINE.KIWI.COM
OIK7H2   11/7/2020   OB    12/5/2020   WN;4513;LGA;MDW;WN;3594;MDW;LAX   JIANG DONG QU          IBARAKI              JP   23201   129220564@AIRLINE.KIWI.COM
OLJBGU   11/7/2020   OB    11/8/2020   WN;6360;ATL;MDW;WN;114;MDW;BUF    NEW JEFFERY            SC                   US   79288   129324712@AIRLINE.KIWI.COM
OM3A8I   11/7/2020   OB   11/10/2020   WN;3596;BWI;PIT                   ROTHVIEW               MN                   US   31875   129324778@AIRLINE.KIWI.COM
OMSXBZ   11/7/2020   OB   11/25/2020   WN;1410;BWI;MDW                   NEW JOANNAMOUTH        HULWAN               EG    7009   129325779@AIRLINE.KIWI.COM
OOH9YT   11/7/2020   OB     1/9/2021   WN;1986;CUN;STL                   IISALMI                PAIJATHAME           FI   52286   129327275@AIRLINE.KIWI.COM
ORZD42   11/7/2020   OB   11/24/2020   WN;3527;BWI;ROC                   PORT NICHOLASLAND      KY                   US   54621   129330872@AIRLINE.KIWI.COM
OT7QK8   11/7/2020   OB   12/28/2020   WN;440;ECP;HOU;WN;1999;HOU;DEN    WILLISHAVEN            AL                   US   92975   129331532@AIRLINE.KIWI.COM
OT7QK8   11/7/2020   OB   12/28/2020   WN;440;ECP;HOU;WN;1999;HOU;DEN    WILLISHAVEN            AL                   US   92975   129331532@AIRLINE.KIWI.COM
OTJDKQ   11/7/2020   OB   12/31/2020   WN;2901;LAS;PHX                   BANKSTOWN              MN                   US   51049   129332324@AIRLINE.KIWI.COM
OTJDKQ   11/7/2020   OB   12/31/2020   WN;2901;LAS;PHX                   BANKSTOWN              MN                   US   51049   129332324@AIRLINE.KIWI.COM
OTJDKQ   11/7/2020   OB   12/31/2020   WN;2901;LAS;PHX                   BANKSTOWN              MN                   US   51049   129332324@AIRLINE.KIWI.COM
OUTAPK   11/7/2020   OB   11/16/2020   WN;332;MIA;BWI;WN;242;BWI;BOS     LAKE KYLE              NY                   US   60317   129333545@AIRLINE.KIWI.COM
OUTAPK   11/7/2020   OB   11/16/2020   WN;332;MIA;BWI;WN;242;BWI;BOS     LAKE KYLE              NY                   US   60317   129333545@AIRLINE.KIWI.COM
OVXFFA   11/7/2020   OB   11/13/2020   WN;2172;MDW;LGA                   HARRISONSTAD           WA                   US   43860   129334139@AIRLINE.KIWI.COM
OWA7HS   11/7/2020   OB    12/7/2020   WN;2323;DEN;CLT                   MILESVILLE             OH                   US   55605   129334590@AIRLINE.KIWI.COM
OXCQ7Y   11/7/2020   OB    1/15/2021   WN;2055;SAN;DAL;WN;2055;DAL;BWI   WEST MEGAN             AZ                   US   21866   129335547@AIRLINE.KIWI.COM
OXCQ7Y   11/7/2020   OB    1/15/2021   WN;2055;SAN;DAL;WN;2055;DAL;BWI   WEST MEGAN             AZ                   US   21866   129335547@AIRLINE.KIWI.COM
OXRLMN   11/7/2020   OB   12/23/2020   WN;3159;ELP;HOU                   HARRISFURT             SD                   US   16013   129336449@AIRLINE.KIWI.COM
OXXT4Y   11/7/2020   OB   12/27/2020   WN;4880;SAT;LAX                   SHAUNFORT              IL                   US   75913   129336570@AIRLINE.KIWI.COM
OXXT4Y   11/7/2020   OB   12/27/2020   WN;4880;SAT;LAX                   SHAUNFORT              IL                   US   75913   129336570@AIRLINE.KIWI.COM
OY8CCA   11/7/2020   OB   12/18/2020   WN;221;OKC;ATL                    OTERLEEK               NOORDBRABANT         NL   53507   129336284@AIRLINE.KIWI.COM
OZ6FMN   11/7/2020   OB    12/3/2020   WN;4406;HOU;DEN                   NORTH SAVANNAHMOUTH    DE                   US   33686   129337329@AIRLINE.KIWI.COM
OZ6FMN   11/7/2020   OB    12/3/2020   WN;4406;HOU;DEN                   NORTH SAVANNAHMOUTH    DE                   US   33686   129337329@AIRLINE.KIWI.COM
OZSPVG   11/7/2020   OB   12/27/2020   WN;4492;PDX;DEN                   LAKE GEORGE            KY                   US   24118   129338539@AIRLINE.KIWI.COM
P3Y497   11/7/2020   OB    12/4/2020   WN;3020;OAK;BOI                   KHDDGPUR               MIZORAM              IN   28893   129340585@AIRLINE.KIWI.COM
P4FLQQ   11/7/2020   OB   12/10/2020   WN;4141;MIA;TPA                   SAN DANUTA             TOSCANA              IT   73625   129333743@AIRLINE.KIWI.COM
P4FLQQ   11/7/2020   OB   12/10/2020   WN;4141;MIA;TPA                   SAN DANUTA             TOSCANA              IT   73625   129333743@AIRLINE.KIWI.COM




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P7FKMX   11/7/2020   OB   11/10/2020   WN;3902;CHS;BWI                   TOMSIDE               EILEAN SIAR        GB    69864   129343456@AIRLINE.KIWI.COM
P7JBTI   11/7/2020   OB    11/9/2020   WN;6333;DAL;LAX;WN;643;LAX;SMF    HORTONSHIRE           WI                 US    59245   129343918@AIRLINE.KIWI.COM
P8KMOP   11/7/2020   OB   11/25/2020   WN;2096;ATL;MCO;WN;2096;MCO;PVD   LAKE ETHAN            WA                 US    42250   129344688@AIRLINE.KIWI.COM
PBFFDH   11/7/2020   OB   11/26/2020   WN;6502;DEN;TPA;WN;4147;TPA;MIA   APOLDA                SACHSEN            DE    66144   129347493@AIRLINE.KIWI.COM
PBSTIV   11/7/2020   OB   11/26/2020   WN;3487;ICT;DEN                   WIENER NEUSTADT       VORARLBERG         AT    99449   129347493@AIRLINE.KIWI.COM
PE7DAT   11/7/2020   OB    11/8/2020   WN;2888;CLT;DEN                   WEST BRADVILLE        VA                 US    66048   129348043@AIRLINE.KIWI.COM
PE9MJY   11/7/2020   OB    12/1/2020   WN;6238;PHX;LAS;WN;2261;LAS;SLC   CHRISTINEVILLE        AR                 US     4162   129349176@AIRLINE.KIWI.COM
PEQKOD   11/7/2020   OB    12/1/2020   WN;6789;DEN;PHX                   WEST WHITNEYFORT      SC                 US    40119   129349473@AIRLINE.KIWI.COM
PEVXYA   11/7/2020   OB   12/14/2020   WN;2323;DEN;CLT                   KIMBERLYMOUTH         NM                 US    50805   129349627@AIRLINE.KIWI.COM
PFBU7B   11/7/2020   OB   12/10/2020   WN;2938;ATL;PHL                   EAST JENNIFER         PAFOS              CY    89534   129349550@AIRLINE.KIWI.COM
PFBU7B   11/7/2020   OB   12/10/2020   WN;2938;ATL;PHL                   EAST JENNIFER         PAFOS              CY    89534   129349550@AIRLINE.KIWI.COM
PHRGFB   11/7/2020   OB   11/25/2020   WN;1725;ICT;DEN                   WEST ANDREAFORT       FL                 US    12393   129351541@AIRLINE.KIWI.COM
PI5E3Z   11/7/2020   OB    12/3/2020   WN;2042;ATL;HOU;WN;3006;HOU;SJD   VALENTINECHESTER      KY                 US    93381   129351772@AIRLINE.KIWI.COM
PI5E3Z   11/7/2020   OB    12/3/2020   WN;2042;ATL;HOU;WN;3006;HOU;SJD   VALENTINECHESTER      KY                 US    93381   129351772@AIRLINE.KIWI.COM
PI5E3Z   11/7/2020   RT    12/7/2020   WN;881;SJD;HOU;WN;5040;HOU;ATL    VALENTINECHESTER      KY                 US    93381   129351772@AIRLINE.KIWI.COM
PI5E3Z   11/7/2020   RT    12/7/2020   WN;881;SJD;HOU;WN;5040;HOU;ATL    VALENTINECHESTER      KY                 US    93381   129351772@AIRLINE.KIWI.COM
PJFPA6   11/7/2020   OB   12/23/2020   WN;1768;PDX;OAK;WN;3497;OAK;PHX   AMANDACHESTER         NM                 US    47773   129352817@AIRLINE.KIWI.COM
PK73VH   11/7/2020   OB    12/7/2020   WN;661;HOU;MIA                    SUTTONHAVEN           MS                 US    93414   129353345@AIRLINE.KIWI.COM
PK73VH   11/7/2020   OB    12/7/2020   WN;661;HOU;MIA                    SUTTONHAVEN           MS                 US    93414   129353345@AIRLINE.KIWI.COM
PK73VH   11/7/2020   OB    12/7/2020   WN;661;HOU;MIA                    SUTTONHAVEN           MS                 US    93414   129353345@AIRLINE.KIWI.COM
PKN68S   11/7/2020   OB   11/30/2020   WN;6500;ATL;LGA                   MATHISBURY            MS                 US    66194   129353752@AIRLINE.KIWI.COM
PLVTHP   11/7/2020   OB   11/27/2020   WN;156;LGA;ATL                    EAST BARBARAPORT      LA                 US    64128   129354379@AIRLINE.KIWI.COM
PLXOSQ   11/7/2020   OB   12/22/2020   WN;843;BWI;MDW                    EAST JENNIFERFURT     NV                 US    95598   129354258@AIRLINE.KIWI.COM
PLXOSQ   11/7/2020   OB   12/22/2020   WN;843;BWI;MDW                    EAST JENNIFERFURT     NV                 US    95598   129354258@AIRLINE.KIWI.COM
PLXOSQ   11/7/2020   RT   12/27/2020   WN;3822;MDW;BWI                   EAST JENNIFERFURT     NV                 US    95598   129354258@AIRLINE.KIWI.COM
PLXOSQ   11/7/2020   RT   12/27/2020   WN;3822;MDW;BWI                   EAST JENNIFERFURT     NV                 US    95598   129354258@AIRLINE.KIWI.COM
PM26G5   11/7/2020   OB    12/1/2020   WN;1314;PNS;BNA                   MASONTOWN             IN                 US    57767   129354654@AIRLINE.KIWI.COM
PM3RSG   11/7/2020   OB    12/1/2020   WN;1070;BNA;SJC                   EAST ADAMHAVEN        GA                 US    28768   129354654@AIRLINE.KIWI.COM
PMOCUK   11/8/2020   OB    12/1/2020   WN;1314;PNS;BNA                   PORT BRANDON          AK                 US    17124   129354830@AIRLINE.KIWI.COM
PMWZIC   11/8/2020   OB    12/1/2020   WN;1070;BNA;SJC                   NEWMANFURT            CO                 US     2288   129354830@AIRLINE.KIWI.COM
PPMGG8   11/8/2020   OB   11/17/2020   WN;2996;DSM;DEN                   SOUTH LESLIESIDE      WV                 US    59581   129355699@AIRLINE.KIWI.COM
PPUDGW   11/8/2020   OB     1/3/2021   WN;1844;SEA;DEN                   BRIANSTAD             IL                 US    29111   129356150@AIRLINE.KIWI.COM
PPZDTA   11/8/2020   OB   12/14/2020   WN;4566;DEN;DSM                   MATTHEWSTAD           YUKON TERRITORY    CA    91995   129356315@AIRLINE.KIWI.COM
PRTE2Z   11/8/2020   OB   11/15/2020   WN;6096;LAS;PHX                   SOUTH RACHEL          CT                 US    54712   129356799@AIRLINE.KIWI.COM
PSI2HS   11/8/2020   OB   11/18/2020   WN;397;LAS;PHX                    LAKE MARK             CT                 US    35835   129356887@AIRLINE.KIWI.COM
PSZ2C6   11/8/2020   OB   11/25/2020   WN;3018;LAS;MDW                   LAKE AMBER            UT                 US    25361   129357008@AIRLINE.KIWI.COM
PSZ2C6   11/8/2020   OB   11/25/2020   WN;3018;LAS;MDW                   LAKE AMBER            UT                 US    25361   129357008@AIRLINE.KIWI.COM
PT4E7L   11/8/2020   OB   11/29/2020   WN;1887;MSY;HOU;WN;2111;HOU;CRP   CAROLINEVILLE         VT                 US    84760   129356931@AIRLINE.KIWI.COM
PTWSKA   11/8/2020   OB    12/9/2020   WN;2730;CLT;DEN                   MOOREMOUTH            WY                 US    45079   129357371@AIRLINE.KIWI.COM
PUNTXO   11/8/2020   OB   11/12/2020   WN;908;DAL;MCI                    ADAMMOUTH             WI                 US    53932   129357514@AIRLINE.KIWI.COM
PUNTXO   11/8/2020   RT   11/15/2020   WN;829;MCI;DAL                    ADAMMOUTH             WI                 US    53932   129357514@AIRLINE.KIWI.COM
PWNKHK   11/8/2020   OB   11/28/2020   WN;6812;ATL;IND                   WEST VICTORIA         UT                 US    87696   129358097@AIRLINE.KIWI.COM
PWS25Z   11/8/2020   OB   11/27/2020   WN;102;BWI;MIA                    WEST WILLIAMBOROUGH   MN                 US    41523   129358152@AIRLINE.KIWI.COM
PWT6T8   11/8/2020   OB   11/23/2020   WN;4403;OMA;DEN;WN;4362;DEN;SLC   AMRAAVTII             HARYANA            IN    50265   129358251@AIRLINE.KIWI.COM
PXBQ5Z   11/8/2020   OB   11/23/2020   WN;4403;OMA;DEN;WN;4362;DEN;SLC   AHMDNGR               HIMACHAL PRADESH   IN    52937   129358251@AIRLINE.KIWI.COM
PZIGJE   11/8/2020   OB     1/2/2021   WN;6911;DEN;ATL                   PORT CHRISTINA        WY                 US    33879   129359219@AIRLINE.KIWI.COM
Q3RXJF   11/8/2020   OB   12/20/2020   WN;6971;HOU;DEN                   WOODSBOROUGH          PA                 US    69021   129360000@AIRLINE.KIWI.COM
Q3TGPA   11/8/2020   OB   12/27/2020   WN;6859;DEN;HOU                   BETHLAND              OK                 US    40402   129360000@AIRLINE.KIWI.COM
Q3ZJUR   11/8/2020   OB   12/27/2020   WN;6859;DEN;HOU                   JADEMOUTH             NH                 US    69625   129360000@AIRLINE.KIWI.COM
Q43I5I   11/8/2020   OB   12/20/2020   WN;6971;HOU;DEN                   NORTH CORY            CA                 US    80135   129360000@AIRLINE.KIWI.COM
Q5Y748   11/8/2020   OB   11/14/2020   WN;2926;IAD;DEN;WN;2663;DEN;SMF   NEW JEFFERYMOUTH      KY                 US    15973   129360583@AIRLINE.KIWI.COM
Q6G3MV   11/8/2020   OB   12/24/2020   WN;3271;PHX;MDW                   PORT EMILY            TN                 US    22657   129360770@AIRLINE.KIWI.COM
Q6G3MV   11/8/2020   OB   12/24/2020   WN;3271;PHX;MDW                   PORT EMILY            TN                 US    22657   129360770@AIRLINE.KIWI.COM
Q72VEQ   11/8/2020   OB    11/8/2020   WN;746;JAX;BNA;WN;831;BNA;ATL     JENNIFERSHIRE         OH                 US    39745   129360803@AIRLINE.KIWI.COM
Q746LQ   11/8/2020   OB   12/28/2020   WN;959;ABQ;DEN                    ANDREWFORT            LA                 US    99324   129360814@AIRLINE.KIWI.COM
Q7BBN7   11/8/2020   OB    12/4/2020   WN;2817;ATL;LGA                   LAKE TIFFANYSHIRE     KY                 US    28043   129361122@AIRLINE.KIWI.COM
Q977OS   11/8/2020   OB    12/2/2020   WN;2577;MIA;HOU;WN;2635;HOU;MEM   SMITHBOROUGH          PA                 US    16884   129361804@AIRLINE.KIWI.COM
QFPXOI   11/8/2020   OB   11/10/2020   WN;2110;SMF;LAX;WN;2877;LAX;LAS   WEST JAKEBURY         IA                 US    84346   129363784@AIRLINE.KIWI.COM
QIR54H   11/8/2020   OB    3/21/2021   WN;518;DAL;FLL                    DA WANG BAI LI SHI    IBARAKI            JP    90647   129365093@AIRLINE.KIWI.COM
QKRSS4   11/8/2020   OB   11/16/2020   WN;226;CLE;MDW                    MCCORMICKLAND         ID                 US    90530   129366105@AIRLINE.KIWI.COM
QLWDGA   11/8/2020   OB   11/16/2020   WN;1054;ATL;PHL                   HEIDISIDE             KY                 US    84314   129366930@AIRLINE.KIWI.COM
QNE3IY   11/8/2020   OB   12/13/2020   WN;3815;LGB;DEN                   WEST WILLIAM          GA                 US    99939   129367645@AIRLINE.KIWI.COM
QP9PSN   11/8/2020   OB    11/8/2020   WN;820;SFO;LAX                    ANGELAPORT            KY                 US    38212   129367315@AIRLINE.KIWI.COM
QP9PSN   11/8/2020   OB    11/8/2020   WN;820;SFO;LAX                    ANGELAPORT            KY                 US    38212   129367315@AIRLINE.KIWI.COM
QS4MYW   11/8/2020   OB   11/10/2020   WN;3346;LGA;DAL;WN;2800;DAL;MSY   LAKE TULUNTON         ARDAHAN            TR     6623   129351750.1496827@AIRLINE.KIWI.COM
QVFWNY   11/8/2020   OB   12/20/2020   WN;614;DEN;LGB                    WEST JEFF             MA                 US    40822   129373288@AIRLINE.KIWI.COM
QVSM4X   11/8/2020   OB    11/8/2020   WN;1803;HOU;OAK;WN;1282;OAK;HNL   WEST ELIZABETH        SD                 US    62062   129373101@AIRLINE.KIWI.COM
R2ENYY   11/8/2020   OB   11/16/2020   WN;2888;CLT;DEN                   WATERSHAVEN           FL                 US    91955   129376665@AIRLINE.KIWI.COM
R8UCF2   11/8/2020   OB    11/9/2020   WN;358;CHS;MDW                    DAVISBERG             TX                 US    37991   129380614@AIRLINE.KIWI.COM
RG4LUY   11/8/2020   OB   11/20/2020   WN;1051;MIA;BWI                   LOGANVILLE            AR                 US    74512   129387885@AIRLINE.KIWI.COM
RG4LUY   11/8/2020   RT   11/22/2020   WN;331;BWI;MIA                    LOGANVILLE            AR                 US    74512   129387885@AIRLINE.KIWI.COM
RGF22T   11/8/2020   OB    11/8/2020   WN;6102;MSY;MCO                   THESSALONIKE          THESSALONIKI       GR    51995   129387940@AIRLINE.KIWI.COM
RGFBJV   11/8/2020   OB   11/24/2020   WN;1751;MDW;DTW                   EAST EDWARDVILLE      WI                 US    38788   129388270@AIRLINE.KIWI.COM
RGFBJV   11/8/2020   RT   11/30/2020   WN;3732;DTW;MDW                   EAST EDWARDVILLE      WI                 US    38788   129388270@AIRLINE.KIWI.COM
RH28YV   11/8/2020   OB   11/28/2020   WN;1878;LAX;SMF                   PORT CHRISTOPHERTON   RI                 US    23250   129389018@AIRLINE.KIWI.COM
RH3QYH   11/8/2020   OB    11/8/2020   WN;892;PHL;BNA;WN;6303;BNA;DTW    NEW ALLISONCHESTER    KY                 US    33275   129388325@AIRLINE.KIWI.COM
RHUYLM   11/8/2020   OB    1/25/2021   WN;1474;MCO;SJU                   NORTH CHRISTOPHER     VALLETTA           MT    51004   129389513@AIRLINE.KIWI.COM
RHUYLM   11/8/2020   OB    1/25/2021   WN;1474;MCO;SJU                   NORTH CHRISTOPHER     VALLETTA           MT    51004   129389513@AIRLINE.KIWI.COM
RHUYLM   11/8/2020   OB    1/25/2021   WN;1474;MCO;SJU                   NORTH CHRISTOPHER     VALLETTA           MT    51004   129389513@AIRLINE.KIWI.COM
RHUYLM   11/8/2020   OB    1/25/2021   WN;1474;MCO;SJU                   NORTH CHRISTOPHER     VALLETTA           MT    51004   129389513@AIRLINE.KIWI.COM
RHUYLM   11/8/2020   OB    1/25/2021   WN;1474;MCO;SJU                   NORTH CHRISTOPHER     VALLETTA           MT    51004   129389513@AIRLINE.KIWI.COM
RI3ILV   11/8/2020   OB    11/8/2020   WN;759;BWI;MSY                    PORT STANLEYVIEW      ME                 US     4256   129389689@AIRLINE.KIWI.COM
RJON66   11/8/2020   OB   11/28/2020   WN;2084;SAN;SJC                   DAVISSTAD             MD                 US    79635   129391020@AIRLINE.KIWI.COM
ROJRG4   11/8/2020   OB    1/17/2021   WN;4596;PHX;LAS                   EAST SHELLEYVILLE     AR                 US    63329   129395739@AIRLINE.KIWI.COM
ROJRG4   11/8/2020   OB    1/17/2021   WN;4596;PHX;LAS                   EAST SHELLEYVILLE     AR                 US    63329   129395739@AIRLINE.KIWI.COM
RQX2XP   11/8/2020   OB   11/10/2020   WN;2346;MCI;ATL;WN;2346;ATL;TPA   BENJAMINSTAD          AZ                 US    21887   129397873@AIRLINE.KIWI.COM
RQX2XP   11/8/2020   OB   11/10/2020   WN;2346;MCI;ATL;WN;2346;ATL;TPA   BENJAMINSTAD          AZ                 US    21887   129397873@AIRLINE.KIWI.COM
RR5XSS   11/8/2020   OB    1/14/2021   WN;1948;PWM;BWI;WN;408;BWI;CVG    LESLIEHAVEN           IL                 US     6781   129398192@AIRLINE.KIWI.COM
RRKKL8   11/8/2020   OB   11/23/2020   WN;3391;HOU;ATL                   NEW JAMESSTAD         NE                 US    40452   129398346@AIRLINE.KIWI.COM
RRQMRF   11/8/2020   OB    11/8/2020   WN;1039;SFO;LAX                   ANGELAPORT            KY                 US    38212   129367315@AIRLINE.KIWI.COM
RSISGL   11/8/2020   OB   12/23/2020   WN;1787;ATL;TPA                   BROWNTON              AZ                 US    15378   129399193@AIRLINE.KIWI.COM
RSNLYZ   11/8/2020   OB   12/27/2020   WN;5056;BOS;BNA;WN;4237;BNA;ATL   HAMILTONMOUTH         OR                 US    45521   129399193@AIRLINE.KIWI.COM
RUB3MW   11/8/2020   OB     1/3/2021   WN;2350;FLL;BWI                   CLAUDIABOROUGH        AK                 US    27080   129400997@AIRLINE.KIWI.COM
RUNHGB   11/8/2020   OB    11/8/2020   WN;389;OMA;STL;WN;154;STL;MKE     SOUTH JOHN            WY                 US    40313   129400733@AIRLINE.KIWI.COM
RUNHGB   11/8/2020   OB    11/8/2020   WN;389;OMA;STL;WN;154;STL;MKE     SOUTH JOHN            WY                 US    40313   129400733@AIRLINE.KIWI.COM
RV7DSL   11/8/2020   OB    11/8/2020   WN;1048;MDW;PHX                   NEW CHRISTINA         WI                 US    51585   129401767@AIRLINE.KIWI.COM
RVHZNE   11/8/2020   OB    12/7/2020   WN;559;LAX;DAL                    EAST ANGIE            MO                 US    19607   129401888@AIRLINE.KIWI.COM
RVMDIU   11/8/2020   OB   12/24/2020   WN;3382;PHX;SEA                   BUTLERFORT            ME                 US    73003   129402482@AIRLINE.KIWI.COM
RW5JHX   11/8/2020   OB    1/21/2021   WN;2531;BWI;TPA                   ERICMOUTH             SC                 US    85705   129402636@AIRLINE.KIWI.COM
RW5JHX   11/8/2020   OB    1/21/2021   WN;2531;BWI;TPA                   ERICMOUTH             SC                 US    85705   129402636@AIRLINE.KIWI.COM
RWFMW2   11/8/2020   OB    1/21/2021   WN;2531;BWI;TPA                   GREENESIDE            VT                 US    88284   129402757@AIRLINE.KIWI.COM
RWFMW2   11/8/2020   OB    1/21/2021   WN;2531;BWI;TPA                   GREENESIDE            VT                 US    88284   129402757@AIRLINE.KIWI.COM
RWVQI2   11/8/2020   OB   11/23/2020   WN;4102;ATL;MEM                   EAST JUDITH           ND                 US    92741   129403527@AIRLINE.KIWI.COM
S29C7Y   11/8/2020   OB   11/23/2020   WN;2862;IND;AUS                   PORT KENNETH          HI                 US    11792   129406343@AIRLINE.KIWI.COM
S2SY3M   11/8/2020   OB   12/20/2020   WN;1525;STL;BWI;WN;1044;BWI;BUF   KIMBERLYSIDE          MI                 US    76425   129407575@AIRLINE.KIWI.COM
S2SY3M   11/8/2020   RT     1/2/2021   WN;1579;BUF;BWI;WN;2030;BWI;STL   KIMBERLYSIDE          MI                 US    76425   129407575@AIRLINE.KIWI.COM
S3BKWC   11/8/2020   OB     1/2/2021   WN;37;OMA;STL                     PORT KATIEFORT        AR                 US    31265   129408444@AIRLINE.KIWI.COM




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S3QXAC   11/8/2020   OB   12/20/2020   WN;523;STL;OMA                    LAKE DEBBIE            RI                 US    58369   129408444@AIRLINE.KIWI.COM
S3XSRP   11/8/2020   OB   11/30/2020   WN;1284;PSP;PHX                   JANBURGH               BRITISH COLUMBIA   CA    40577   129408389@AIRLINE.KIWI.COM
S4UX73   11/8/2020   OB   12/10/2020   WN;2730;CLT;DEN                   WEST CHRISTINA         VA                 US    57920   129409137@AIRLINE.KIWI.COM
S4UX73   11/8/2020   OB   12/10/2020   WN;2730;CLT;DEN                   WEST CHRISTINA         VA                 US    57920   129409137@AIRLINE.KIWI.COM
S4UX73   11/8/2020   OB   12/10/2020   WN;2730;CLT;DEN                   WEST CHRISTINA         VA                 US    57920   129409137@AIRLINE.KIWI.COM
S4UX73   11/8/2020   OB   12/10/2020   WN;2730;CLT;DEN                   WEST CHRISTINA         VA                 US    57920   129409137@AIRLINE.KIWI.COM
S5A5M4   11/8/2020   OB   11/26/2020   WN;1515;DTW;MDW;WN;2987;MDW;ATL   PERRYSIDE              NC                 US    15550   129409643@AIRLINE.KIWI.COM
S5F2PK   11/8/2020   OB    1/10/2021   WN;102;BWI;MIA                    EAST BRITTANY          WV                 US    18199   129409555@AIRLINE.KIWI.COM
S5F2PK   11/8/2020   OB    1/10/2021   WN;102;BWI;MIA                    EAST BRITTANY          WV                 US    18199   129409555@AIRLINE.KIWI.COM
S6HMDO   11/8/2020   OB   12/10/2020   WN;4851;MDW;TPA                   EAST ETHAN             MO                 US    67855   129410765@AIRLINE.KIWI.COM
S6LVXZ   11/8/2020   OB   11/12/2020   WN;994;MDW;DEN;WN;994;DEN;RNO     KRYSTALSIDE            FL                 US    44074   129411480@AIRLINE.KIWI.COM
S6LZLG   11/8/2020   OB   12/18/2020   WN;924;MCI;LAS                    SOUTH KENNETH          ND                 US     5995   129410710@AIRLINE.KIWI.COM
S6LZLG   11/8/2020   OB   12/18/2020   WN;924;MCI;LAS                    SOUTH KENNETH          ND                 US     5995   129410710@AIRLINE.KIWI.COM
S6VO6S   11/8/2020   OB   11/24/2020   WN;1478;BWI;CLT                   NEW JILL               MN                 US    75755   129411557@AIRLINE.KIWI.COM
S7AVUG   11/8/2020   OB   11/24/2020   WN;1478;BWI;CLT                   HARRISVILLE            TX                 US    42842   129411557@AIRLINE.KIWI.COM
S83PHG   11/8/2020   OB   11/24/2020   WN;4193;MSY;DEN                   EAST DANIEL            IL                 US    62085   129412316@AIRLINE.KIWI.COM
S8GZPT   11/8/2020   OB    1/24/2021   WN;1966;ATL;DEN                   SOUTH RICHARDBURGH     NE                 US    35340   129412723@AIRLINE.KIWI.COM
S8GZPT   11/8/2020   OB    1/24/2021   WN;1966;ATL;DEN                   SOUTH RICHARDBURGH     NE                 US    35340   129412723@AIRLINE.KIWI.COM
S94OJ2   11/8/2020   OB    1/24/2021   WN;2642;DEN;OAK                   ERICVIEW               WA                 US    35370   129412723@AIRLINE.KIWI.COM
S94OJ2   11/8/2020   OB    1/24/2021   WN;2642;DEN;OAK                   ERICVIEW               WA                 US    35370   129412723@AIRLINE.KIWI.COM
S9EHB6   11/8/2020   OB   11/29/2020   WN;6854;SAT;PHX                   LAKE ROSEBOROUGH       AL                 US     2637   129413207@AIRLINE.KIWI.COM
S9EHB6   11/8/2020   OB   11/29/2020   WN;6854;SAT;PHX                   LAKE ROSEBOROUGH       AL                 US     2637   129413207@AIRLINE.KIWI.COM
S9EHB6   11/8/2020   OB   11/29/2020   WN;6854;SAT;PHX                   LAKE ROSEBOROUGH       AL                 US     2637   129413207@AIRLINE.KIWI.COM
SE85OP   11/8/2020   OB   11/12/2020   WN;524;CVG;MDW;WN;432;MDW;FLL     TIFFANYFURT            MT                 US     6641   129417629@AIRLINE.KIWI.COM
SEMVSM   11/8/2020   OB   11/16/2020   WN;1054;ATL;PHL                   SIMMONSTOWN            TX                 US    27242   129418113@AIRLINE.KIWI.COM
SHVKSA   11/8/2020   OB   11/28/2020   WN;1276;IAD;ATL                   EAST NICOLE            ME                 US    41678   129420093@AIRLINE.KIWI.COM
SHVKSA   11/8/2020   OB   11/28/2020   WN;1276;IAD;ATL                   EAST NICOLE            ME                 US    41678   129420093@AIRLINE.KIWI.COM
SHVKSA   11/8/2020   OB   11/28/2020   WN;1276;IAD;ATL                   EAST NICOLE            ME                 US    41678   129420093@AIRLINE.KIWI.COM
SIURX3   11/8/2020   OB     1/2/2021   WN;1307;PHL;MDW;WN;2200;MDW;PDX   PORT RYAN              KY                 US    18611   129420577@AIRLINE.KIWI.COM
SJ2L6F   11/8/2020   OB   11/12/2020   WN;112;STL;ATL                    NEW HEATHER            AR                 US    41840   123793615@AIRLINE.KIWI.COM
SJ33PT   11/8/2020   OB    12/9/2020   WN;197;FLL;SJU                    GENDRINGEN             GRONINGEN          NL    83274   129420720@AIRLINE.KIWI.COM
SJ33PT   11/8/2020   OB    12/9/2020   WN;197;FLL;SJU                    GENDRINGEN             GRONINGEN          NL    83274   129420720@AIRLINE.KIWI.COM
SJ5K7L   11/8/2020   OB   11/29/2020   WN;1617;IND;PHX                   ANDERSONBURY           WV                 US    89912   129420599@AIRLINE.KIWI.COM
SL9G6X   11/8/2020   OB   11/22/2020   WN;1144;HOU;PHX                   WEST JENNIFERSIDE      OR                 US    42442   129421578@AIRLINE.KIWI.COM
SLRSCQ   11/8/2020   OB   12/19/2020   WN;1841;ATL;DEN                   DALTONLAND             CO                 US    12553   129421842@AIRLINE.KIWI.COM
SLRSCQ   11/8/2020   OB   12/19/2020   WN;1841;ATL;DEN                   DALTONLAND             CO                 US    12553   129421842@AIRLINE.KIWI.COM
SLRSCQ   11/8/2020   RT   12/27/2020   WN;1835;DEN;ATL                   DALTONLAND             CO                 US    12553   129421842@AIRLINE.KIWI.COM
SLRSCQ   11/8/2020   RT   12/27/2020   WN;1835;DEN;ATL                   DALTONLAND             CO                 US    12553   129421842@AIRLINE.KIWI.COM
SN3YPE   11/8/2020   OB    12/9/2020   WN;197;FLL;SJU                    WEST ROBERTHAVEN       WV                 US     1123   129421314@AIRLINE.KIWI.COM
SNOBE5   11/9/2020   OB   12/27/2020   WN;1835;DEN;ATL                   EAST THOMAS            CT                 US    37136   129422469@AIRLINE.KIWI.COM
SNOBE5   11/9/2020   OB   12/27/2020   WN;1835;DEN;ATL                   EAST THOMAS            CT                 US    37136   129422469@AIRLINE.KIWI.COM
SO7T4Q   11/9/2020   OB   11/26/2020   WN;6950;PHX;SJC                   RYANPORT               NC                 US    11106   129422810@AIRLINE.KIWI.COM
SPG56W   11/9/2020   OB    12/4/2020   WN;2211;MEM;DAL                   WEST ERIC              SD                 US     7242   129423217@AIRLINE.KIWI.COM
SPUX5S   11/9/2020   OB    12/6/2020   WN;2204;DAL;MEM                   PORT CAROLYN           CT                 US     5534   129423217@AIRLINE.KIWI.COM
SRN5RS   11/9/2020   OB   12/11/2020   WN;2583;MCO;SJU                   GRAZ                   OBEROSTERREICH     AT    32564   129424009@AIRLINE.KIWI.COM
SSROCS   11/9/2020   OB   11/27/2020   WN;1424;MDW;MSP                   WEST JESSICATOWN       AL                 US    89258   129424603@AIRLINE.KIWI.COM
SU8KAM   11/9/2020   OB   11/22/2020   WN;276;BWI;BOS                    FORBESVIEW             KS                 US    76422   129425175@AIRLINE.KIWI.COM
SUGWJJ   11/9/2020   OB   11/30/2020   WN;3855;MCO;MSP                   NEW ROBERTVIEW         LA                 US    59141   129425329@AIRLINE.KIWI.COM
SUGWJJ   11/9/2020   OB   11/30/2020   WN;3855;MCO;MSP                   NEW ROBERTVIEW         LA                 US    59141   129425329@AIRLINE.KIWI.COM
SUGWJJ   11/9/2020   OB   11/30/2020   WN;3855;MCO;MSP                   NEW ROBERTVIEW         LA                 US    59141   129425329@AIRLINE.KIWI.COM
SUGWJJ   11/9/2020   OB   11/30/2020   WN;3855;MCO;MSP                   NEW ROBERTVIEW         LA                 US    59141   129425329@AIRLINE.KIWI.COM
SUGWJJ   11/9/2020   OB   11/30/2020   WN;3855;MCO;MSP                   NEW ROBERTVIEW         LA                 US    59141   129425329@AIRLINE.KIWI.COM
SUGWJJ   11/9/2020   OB   11/30/2020   WN;3855;MCO;MSP                   NEW ROBERTVIEW         LA                 US    59141   129425329@AIRLINE.KIWI.COM
SUPGN5   11/9/2020   OB     1/1/2021   WN;661;HOU;MIA                    STEVENSIDE             WV                 US    66090   129425604@AIRLINE.KIWI.COM
SUPGN5   11/9/2020   RT     1/5/2021   WN;2577;MIA;HOU                   STEVENSIDE             WV                 US    66090   129425604@AIRLINE.KIWI.COM
SW5E8O   11/9/2020   OB   12/12/2020   WN;1280;OAK;PHX                   SAN GERMAN LOS ALTOS   TAMAULIPAS         MX    68186   129426132@AIRLINE.KIWI.COM
SXFB7S   11/9/2020   OB   11/26/2020   WN;3239;LAX;SFO                   MICHAELSIDE            NY                 US    20804   129426902@AIRLINE.KIWI.COM
SYPYFS   11/9/2020   OB   11/10/2020   WN;2164;MCO;ORF                   BENJAMINCHESTER        AL                 US    86964   129427573@AIRLINE.KIWI.COM
T2G3H9   11/9/2020   OB    12/7/2020   WN;1610;CUN;BWI                   HAROLDBURGH            MN                 US    41450   129428167@AIRLINE.KIWI.COM
T2G3H9   11/9/2020   OB    12/7/2020   WN;1610;CUN;BWI                   HAROLDBURGH            MN                 US    41450   129428167@AIRLINE.KIWI.COM
T2U7KI   11/9/2020   OB   12/13/2020   WN;2247;CLT;BWI;WN;331;BWI;MIA    ALBERTTOWN             GA                 US    88000   129428299@AIRLINE.KIWI.COM
T2U7KI   11/9/2020   OB   12/13/2020   WN;2247;CLT;BWI;WN;331;BWI;MIA    ALBERTTOWN             GA                 US    88000   129428299@AIRLINE.KIWI.COM
T4R5UK   11/9/2020   OB   12/24/2020   WN;4619;RDU;MDW;WN;4910;MDW;LGA   EAST BRIAN             POSAVSKI KANTON    BA    44832   129429564@AIRLINE.KIWI.COM
T4R5UK   11/9/2020   OB   12/25/2020   WN;8941;BOS;LGA                   EAST BRIAN             POSAVSKI KANTON    BA    44832   129429564@AIRLINE.KIWI.COM
T4VY4D   11/9/2020   OB   11/25/2020   WN;4623;PVD;MCO                   COLEMANFURT            MS                 US     2561   129429520@AIRLINE.KIWI.COM
T56WRX   11/9/2020   OB   12/17/2020   WN;1022;ATL;DEN                   WEST MANUELTON         IL                 US    38241   129429498@AIRLINE.KIWI.COM
T65783   11/9/2020   OB    11/6/2020   WN;1130;OAK;LAX                   EAST PETER             WY                 US    99266   122053228@AIRLINE.KIWI.COM
T65783   11/9/2020   OB    11/9/2020   WN;2813;LAX;MDW;WN;2813;MDW;BWI   EAST PETER             WY                 US    99266   122053228@AIRLINE.KIWI.COM
T7OG8O   11/9/2020   OB   12/20/2020   WN;985;LGA;MDW                    EAST WILLIAMLAND       ID                 US    24685   129430191@AIRLINE.KIWI.COM
TBFZUI   11/9/2020   OB   11/23/2020   WN;1764;RDU;BNA                   GRAYMOUTH              AR                 US    44410   129431533@AIRLINE.KIWI.COM
TBFZUI   11/9/2020   RT   11/27/2020   WN;909;BNA;RDU                    GRAYMOUTH              AR                 US    44410   129431533@AIRLINE.KIWI.COM
TDAO8M   11/9/2020   OB   12/11/2020   WN;4262;OAK;DEN                   KATHERINEMOUTH         TX                 US    97400   129432039@AIRLINE.KIWI.COM
TDAO8M   11/9/2020   OB   12/11/2020   WN;4262;OAK;DEN                   KATHERINEMOUTH         TX                 US    97400   129432039@AIRLINE.KIWI.COM
TDAO8M   11/9/2020   RT   12/14/2020   WN;3598;DEN;OAK                   KATHERINEMOUTH         TX                 US    97400   129432039@AIRLINE.KIWI.COM
TDAO8M   11/9/2020   RT   12/14/2020   WN;3598;DEN;OAK                   KATHERINEMOUTH         TX                 US    97400   129432039@AIRLINE.KIWI.COM
TDQQAY   11/9/2020   OB   12/14/2020   WN;4986;STL;DEN                   CLIFFORDPORT           MI                 US    76335   129432039@AIRLINE.KIWI.COM
TDQQAY   11/9/2020   OB   12/14/2020   WN;4986;STL;DEN                   CLIFFORDPORT           MI                 US    76335   129432039@AIRLINE.KIWI.COM
TEFHN5   11/9/2020   OB   12/19/2020   WN;37;PHL;DAL                     WEST DAVID             IN                 US    76003   129432424@AIRLINE.KIWI.COM
TF7LWB   11/9/2020   OB   11/26/2020   WN;4262;OAK;DEN                   PEPRBORDDS             GOA                IN    80638   129432864@AIRLINE.KIWI.COM
TF7LWB   11/9/2020   OB   11/26/2020   WN;4262;OAK;DEN                   PEPRBORDDS             GOA                IN    80638   129432864@AIRLINE.KIWI.COM
TFNL9G   11/9/2020   OB   11/26/2020   WN;4954;DEN;STL                   VISTAARNN              CHHATTISGARH       IN    11080   129432864@AIRLINE.KIWI.COM
TFNL9G   11/9/2020   OB   11/26/2020   WN;4954;DEN;STL                   VISTAARNN              CHHATTISGARH       IN    11080   129432864@AIRLINE.KIWI.COM
TMB3C9   11/9/2020   OB   11/13/2020   WN;285;PHX;OKC                    WEST JUSTINSIDE        TX                 US    29602   129436252@AIRLINE.KIWI.COM
TN86W6   11/9/2020   OB   12/19/2020   WN;2087;SAN;SFO                   NEW ERIN               AL                 US    99730   129436230@AIRLINE.KIWI.COM
TN86W6   11/9/2020   OB   12/19/2020   WN;2087;SAN;SFO                   NEW ERIN               AL                 US    99730   129436230@AIRLINE.KIWI.COM
TTKFC6   11/9/2020   OB   11/23/2020   WN;3255;ROC;BWI                   MEYERPORT              NE                 US    19688   129441928@AIRLINE.KIWI.COM
TZ9UOF   11/9/2020   OB   11/27/2020   WN;952;MCO;BWI;WN;118;BWI;ORF     DAVIDTON               NH                 US    40835   129448143@AIRLINE.KIWI.COM
TZ9UOF   11/9/2020   OB   11/27/2020   WN;952;MCO;BWI;WN;118;BWI;ORF     DAVIDTON               NH                 US    40835   129448143@AIRLINE.KIWI.COM
TZNIW4   11/9/2020   OB   11/26/2020   WN;3644;HOU;BWI                   NORTH DAKOTA           ND                 US    10076   129434437@AIRLINE.KIWI.COM
TZNIW4   11/9/2020   OB   11/26/2020   WN;3644;HOU;BWI                   NORTH DAKOTA           ND                 US    10076   129434437@AIRLINE.KIWI.COM
TZNIW4   11/9/2020   OB   11/26/2020   WN;3644;HOU;BWI                   NORTH DAKOTA           ND                 US    10076   129434437@AIRLINE.KIWI.COM
U2LFDT   11/9/2020   OB     1/2/2021   WN;6722;AUS;HOU;WN;1955;HOU;ATL   JOSEPHMOUTH            AZ                 US    10321   129449452@AIRLINE.KIWI.COM
UHG5RU   11/9/2020   OB   11/23/2020   WN;4598;ATL;PHL                   JOHNSONSHIRE           OR                 US    43692   129467239@AIRLINE.KIWI.COM
UIKWNP   11/9/2020   OB   11/14/2020   WN;2181;BWI;DTW                   BUTLERPORT             AZ                 US    15788   129468680@AIRLINE.KIWI.COM
UIRDMX   11/9/2020   OB   11/23/2020   WN;4598;ATL;PHL                   EAST JEFFREY           VA                 US    70449   129468691@AIRLINE.KIWI.COM
UJNNI4   11/9/2020   OB   12/29/2020   WN;1213;PHX;MDW                   NORTH ANGELICA         GA                 US    18968   129469780@AIRLINE.KIWI.COM
ULD38R   11/9/2020   OB   12/27/2020   WN;4832;STL;DTW                   SOUTH DENISETOWN       TX                 US    97690   129472497@AIRLINE.KIWI.COM
ULFELO   11/9/2020   OB    11/9/2020   WN;1223;LAX;LAS                   LAKE LAWRENCEBURGH     TX                 US     1825   129472860@AIRLINE.KIWI.COM
UMYIVF   11/9/2020   OB   11/12/2020   WN;1082;AUS;MSY                   NEW SUSAN              NY                 US    21647   129474004@AIRLINE.KIWI.COM
UNG6U5   11/9/2020   OB   11/30/2020   WN;4880;SAT;LAX                   KRISTINABERG           MA                 US    95316   129475467@AIRLINE.KIWI.COM
UNLWVT   11/9/2020   OB   11/30/2020   WN;4880;SAT;LAX                   EAST TERRISTAD         MI                 US    96709   129475467@AIRLINE.KIWI.COM
UQHPHV   11/9/2020   OB   12/12/2020   WN;4725;PHL;MCO                   EAST LAURALAND         KY                 US    94890   129479647@AIRLINE.KIWI.COM
URO9NS   11/9/2020   OB   11/16/2020   WN;1245;BOS;DEN                   WEST ALEXIS            NV                 US    97015   129481143@AIRLINE.KIWI.COM
URWZAR   11/9/2020   OB   11/15/2020   WN;1308;TPA;DAL;WN;344;DAL;AUS    CATHYSHIRE             MO                 US    86200   129481616@AIRLINE.KIWI.COM
URZAZ8   11/9/2020   OB   11/26/2020   WN;3294;HOU;MIA                   GORZOW WIELKOPOLSKI    OPOLSKIE           PL    45316   129480857@AIRLINE.KIWI.COM
USZ4OJ   11/9/2020   OB    12/1/2020   WN;373;CLT;BWI;WN;984;BWI;TPA     TRANBURY               IA                 US    87089   129483134@AIRLINE.KIWI.COM
UTQXKE   11/9/2020   OB   11/26/2020   WN;1453;SDF;MCO                   WEST TRAVIS            WI                 US    63482   129482650@AIRLINE.KIWI.COM




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UTQXKE    11/9/2020   OB   11/26/2020   WN;1453;SDF;MCO                   WEST TRAVIS            WI                     US   63482   129482650@AIRLINE.KIWI.COM
UUA54W    11/9/2020   OB   11/10/2020   WN;1438;FLL;ATL;WN;2434;ATL;IND   DA MATA                PARA                   BR   10950   129484542@AIRLINE.KIWI.COM
UW6CKW    11/9/2020   OB   11/27/2020   WN;1101;SAT;DAL;WN;1142;DAL;TUL   NORTH KATHERINE        MI                     US   92418   129487699@AIRLINE.KIWI.COM
UZ2UBA    11/9/2020   OB     1/4/2021   WN;1051;MIA;BWI;WN;1212;BWI;BOS   ZHU XIAN               GANSU SHENG            CN   88610   129491406@AIRLINE.KIWI.COM
V2OACP    11/9/2020   OB    12/6/2020   WN;1625;DAL;HOU;WN;1411;HOU;LAX   EAST KRISTIPORT        SC                     US    3032   129493991@AIRLINE.KIWI.COM
V3WTZJ    11/9/2020   OB   11/19/2020   WN;294;OKC;DEN;WN;2501;DEN;TUS    WILLIAMSMOUTH          AK                     US   38965   129496059@AIRLINE.KIWI.COM
V3Z8WZ    11/9/2020   OB   11/22/2020   WN;604;TUS;DEN;WN;1510;DEN;OKC    NEW CAROLINE           KS                     US   19057   129497082@AIRLINE.KIWI.COM
V4RH9V    11/9/2020   OB   11/16/2020   WN;344;DEN;ABQ                    NEW PATRICKBOROUGH     TN                     US    6496   129497797@AIRLINE.KIWI.COM
V4S6E5    11/9/2020   OB     1/1/2021   WN;2527;DEN;BWI;WN;1923;BWI;BOS   EAST KRISTI            MI                     US    4766   129497544@AIRLINE.KIWI.COM
V52LAL    11/9/2020   OB   12/11/2020   WN;1652;TPA;SJU                   BERD                   VAYOC JOR              AM    3401   129497390@AIRLINE.KIWI.COM
V553CV    11/9/2020   OB   11/10/2020   WN;2636;MDW;MSP                   ANGELICAMOUTH          KY                     US   90735   129498325@AIRLINE.KIWI.COM
V5MJNS    11/9/2020   OB   11/26/2020   WN;6600;CLT;BWI                   NEW MICHAEL            RI                     US   77826   129497929@AIRLINE.KIWI.COM
V5MJNS    11/9/2020   OB   11/26/2020   WN;6600;CLT;BWI                   NEW MICHAEL            RI                     US   77826   129497929@AIRLINE.KIWI.COM
V6JU7M    11/9/2020   OB   12/15/2020   WN;2576;FLL;MDW;WN;2636;MDW;MSP   ELIZABETHSHIRE         WI                     US   58543   129500052@AIRLINE.KIWI.COM
V8BQ73    11/9/2020   OB   11/10/2020   WN;2002;ATL;BNA                   WEST JARED             HI                     US   74871   129501922@AIRLINE.KIWI.COM
VACKL2    11/9/2020   OB    12/7/2020   WN;101;PHX;LAX                    ARNESEN                NORDTRONDELAG          NO   41463   129504111@AIRLINE.KIWI.COM
VAIJBP    11/9/2020   OB   11/19/2020   WN;831;ATL;CMH                    MENDES                 CO                     US   14109   129489789@AIRLINE.KIWI.COM
VBYUPS    11/9/2020   OB   11/24/2020   WN;1764;TUS;LAS                   ABIGAILSHIRE           MO                     US   33711   129502681@AIRLINE.KIWI.COM
VBYUPS    11/9/2020   RT   11/30/2020   WN;1773;LAS;TUS                   ABIGAILSHIRE           MO                     US   33711   129502681@AIRLINE.KIWI.COM
VC5EFQ    11/9/2020   OB   12/17/2020   WN;1522;SMF;LAX                   PORT CHARLES           NM                     US   25305   129506619@AIRLINE.KIWI.COM
VCYNJV    11/9/2020   OB   11/25/2020   WN;6513;DEN;IND                   SIMSVIEW               KS                     US   18601   129506685@AIRLINE.KIWI.COM
VD96ET    11/9/2020   OB     1/3/2021   WN;4405;MCO;SAT                   SOUTH JUDITH           EDINBURGH CITY OF      GB   70347   129507323@AIRLINE.KIWI.COM
VDDP9B    11/9/2020   OB   12/23/2020   WN;3649;LAS;TUL                   NEW JEFFREYSIDE        OR                     US   66942   129506971@AIRLINE.KIWI.COM
VEJW62    11/9/2020   OB   11/27/2020   WN;377;AUS;BNA;WN;405;BNA;BOS     LAKE JAMES             OK                     US   59402   129508225@AIRLINE.KIWI.COM
VEJW62    11/9/2020   OB   11/27/2020   WN;377;AUS;BNA;WN;405;BNA;BOS     LAKE JAMES             OK                     US   59402   129508225@AIRLINE.KIWI.COM
VENSAQ    11/9/2020   OB    12/6/2020   WN;3276;BNA;FLL                   SAN GUILLERMINA LOS    GUANAJUATO             MX   20957   129495190@AIRLINE.KIWI.COM
VEQ8IY    11/9/2020   OB   11/27/2020   WN;562;FLL;HOU;WN;562;HOU;SAN     GILLESPIEHAVEN         LA                     US   55468   129509006@AIRLINE.KIWI.COM
VF86HN    11/9/2020   OB    12/5/2020   WN;1529;DEN;LAS                   NORTH NICHOLASVIEW     IA                     US   22730   129508819@AIRLINE.KIWI.COM
VGJC6U    11/9/2020   OB     1/7/2021   WN;219;CUN;MDW                    NUEVA DOMINICANA       SINALOA                MX   67117   129510590@AIRLINE.KIWI.COM
VGUH5Q    11/9/2020   OB    1/11/2021   WN;6278;STL;DEN                   GARRETTLAND            MT                     US   23125   129510623@AIRLINE.KIWI.COM
VHPN6B    11/9/2020   OB   12/27/2020   WN;3578;DEN;OAK                   SOUTH REBECCA          MS                     US   12921   129511800@AIRLINE.KIWI.COM
VHQQC6    11/9/2020   OB   11/19/2020   WN;854;MDW;MSP                    EAST JOHN              TN                     US   15875   129511437@AIRLINE.KIWI.COM
VHQQC6    11/9/2020   OB   11/19/2020   WN;854;MDW;MSP                    EAST JOHN              TN                     US   15875   129511437@AIRLINE.KIWI.COM
VHSD3R    11/9/2020   OB   12/20/2020   WN;1489;SMF;LAS                   SAN CAMILO LOS BAJOS   SONORA                 MX   59457   129511635@AIRLINE.KIWI.COM
VIIAJU    11/9/2020   OB    2/18/2021   WN;3236;DEN;BWI;WN;102;BWI;MIA    DEVGRH                 KARNATAKA              IN    3317   129512229@AIRLINE.KIWI.COM
VIKKLX    11/9/2020   OB   11/26/2020   WN;4145;MIA;TPA                   NUEVA REPUBLICA DOMI   CIUDAD DE MEXICO       MX   78829   129512229@AIRLINE.KIWI.COM
VJKGW7    11/9/2020   OB    12/1/2020   WN;1229;SEA;OAK;WN;1148;OAK;LAX   LAKE MELISSA           ID                     US   58224   129512966@AIRLINE.KIWI.COM
VKBWMX    11/9/2020   OB     1/3/2021   WN;1149;LAX;SMF                   HARRELLFURT            UT                     US   98489   129513560@AIRLINE.KIWI.COM
VKFMG4    11/9/2020   OB   12/18/2020   WN;1385;OAK;PHX                   NVLPRAASII             SUDUR PASHCHIMANCHAL   NP   20667   129513087@AIRLINE.KIWI.COM
VMYLQA    11/9/2020   OB   11/11/2020   WN;2699;SLC;DEN;WN;3639;DEN;ONT   EAST FELICIA           ND                     US   16955   129514902@AIRLINE.KIWI.COM
VNJCG4    11/9/2020   OB     1/9/2021   WN;2480;HNL;OAK                   LAKE DANIELSTAD        OR                     US   59241   129515034@AIRLINE.KIWI.COM
J4VGZB   11/10/2020   OB   12/28/2020   WN;1216;AUS;STL                   LORILAND               SC                     US   73435   129550124@AIRLINE.KIWI.COM
J4VGZB   11/10/2020   OB   12/28/2020   WN;1216;AUS;STL                   LORILAND               SC                     US   73435   129550124@AIRLINE.KIWI.COM
J4VGZB   11/10/2020   OB   12/28/2020   WN;1216;AUS;STL                   LORILAND               SC                     US   73435   129550124@AIRLINE.KIWI.COM
J6NSLH   11/10/2020   OB   11/11/2020   WN;4115;MEM;ATL                   RUSSELLMOUTH           AR                     US   42068   129551972@AIRLINE.KIWI.COM
J8BQ9X   11/10/2020   OB   12/21/2020   WN;626;BWI;DAL                    KAJARAN                VAYOC JOR              AM   20660   129554227@AIRLINE.KIWI.COM
J8DGB2   11/10/2020   OB   11/25/2020   WN;2410;BWI;ATL;WN;6758;ATL;JAX   ONEALBURY              NV                     US   73121   129554172@AIRLINE.KIWI.COM
J8F6B4   11/10/2020   OB   11/24/2020   WN;3939;LAX;TUS                   BARRETTTOWN            IL                     US   88150   129554524@AIRLINE.KIWI.COM
JBIKPX   11/10/2020   OB    12/7/2020   WN;3642;LAS;HOU                   LAKE LARRY             AK                     US   85446   129558066@AIRLINE.KIWI.COM
JBIKPX   11/10/2020   OB    12/7/2020   WN;3642;LAS;HOU                   LAKE LARRY             AK                     US   85446   129558066@AIRLINE.KIWI.COM
JEMIM6   11/10/2020   OB   12/17/2020   WN;614;MCO;DEN                    PORT KATELYNSIDE       RI                     US   14503   129561652@AIRLINE.KIWI.COM
JEMIM6   11/10/2020   RT   12/20/2020   WN;2138;DEN;MCO                   PORT KATELYNSIDE       RI                     US   14503   129561652@AIRLINE.KIWI.COM
JFOAMR   11/10/2020   OB   12/20/2020   WN;1334;RIC;ATL                   NORTH CHRISTOPHER      KY                     US   27411   129563104@AIRLINE.KIWI.COM
JFOAMR   11/10/2020   RT     1/5/2021   WN;1333;ATL;RIC                   NORTH CHRISTOPHER      KY                     US   27411   129563104@AIRLINE.KIWI.COM
JHVI76   11/10/2020   OB   11/23/2020   WN;3505;HOU;SAN                   SOUTH CARLASTAD        IN                     US   43276   129566382@AIRLINE.KIWI.COM
JICUXG   11/10/2020   OB   11/28/2020   WN;845;LAS;RNO                    NORTH PATRICK          FL                     US   78444   129566305@AIRLINE.KIWI.COM
JJ4URJ   11/10/2020   OB    12/6/2020   WN;4161;BUR;OAK                   EAST ALBERT            WA                     US   54064   129567163@AIRLINE.KIWI.COM
JKLHFF   11/10/2020   OB   11/29/2020   WN;3649;DEN;SFO                   SANCHEZLESBAINS        LA REUNION             FR   92780   129569704@AIRLINE.KIWI.COM
JOPIGI   11/10/2020   OB   12/26/2020   WN;6702;LAS;SEA                   EAST KEITHLAND         NE                     US   34427   129575006@AIRLINE.KIWI.COM
JPGBWL   11/10/2020   OB   11/10/2020   WN;4686;MSY;MDW;WN;2195;MDW;CLE   VICTORFORT             NM                     US   63384   129574236@AIRLINE.KIWI.COM
JQSCK7   11/10/2020   OB   11/27/2020   WN;6401;DTW;BNA;WN;6832;BNA;ATL   LAKE CARRIE            MI                     US   77752   129577140@AIRLINE.KIWI.COM
JSNU96   11/10/2020   OB   12/10/2020   WN;2996;DSM;DEN                   NUEVA NAMIBIA          HIDALGO                MX   91849   129579351@AIRLINE.KIWI.COM
JSPH2W   11/10/2020   OB   12/14/2020   WN;4306;PHX;DEN                   OSWIECIM               LUBUSKIE               PL   70374   129579351@AIRLINE.KIWI.COM
JTT8IP   11/10/2020   OB   11/23/2020   WN;1621;CLT;STL;WN;1632;STL;PHL   EAST WAYNE             TN                     US   32485   129581089@AIRLINE.KIWI.COM
JVMEJX   11/10/2020   OB   12/21/2020   WN;1555;LGB;DEN                   EAST ANDREW            MD                     US   29865   129584620@AIRLINE.KIWI.COM
JVMEJX   11/10/2020   OB   12/21/2020   WN;1555;LGB;DEN                   EAST ANDREW            MD                     US   29865   129584620@AIRLINE.KIWI.COM
JVRIUH   11/10/2020   OB   12/20/2020   WN;662;MIA;HOU;WN;1524;HOU;SAT    KULMBACH               BAYERN                 DE   38416   129584719@AIRLINE.KIWI.COM
JVRIUH   11/10/2020   OB   12/20/2020   WN;662;MIA;HOU;WN;1524;HOU;SAT    KULMBACH               BAYERN                 DE   38416   129584719@AIRLINE.KIWI.COM
JVRIUH   11/10/2020   OB   12/20/2020   WN;662;MIA;HOU;WN;1524;HOU;SAT    KULMBACH               BAYERN                 DE   38416   129584719@AIRLINE.KIWI.COM
JVRIUH   11/10/2020   OB   12/20/2020   WN;662;MIA;HOU;WN;1524;HOU;SAT    KULMBACH               BAYERN                 DE   38416   129584719@AIRLINE.KIWI.COM
JVX9YJ   11/10/2020   OB   12/21/2020   WN;1374;DEN;MDW                   WEST JOHN              NJ                     US   41456   129584620@AIRLINE.KIWI.COM
JVX9YJ   11/10/2020   OB   12/21/2020   WN;1374;DEN;MDW                   WEST JOHN              NJ                     US   41456   129584620@AIRLINE.KIWI.COM
JWDUPO   11/10/2020   OB   11/24/2020   WN;6716;JAX;ATL;WN;4102;ATL;MEM   NICOLESTAD             LA                     US   72515   129584972@AIRLINE.KIWI.COM
JWGGRZ   11/10/2020   OB   12/28/2020   WN;325;MDW;LAS                    DAVIDFURT              DE                     US   89507   129584620@AIRLINE.KIWI.COM
JWGGRZ   11/10/2020   OB   12/28/2020   WN;325;MDW;LAS                    DAVIDFURT              DE                     US   89507   129584620@AIRLINE.KIWI.COM
JWQ8RQ   11/10/2020   OB   11/11/2020   WN;1081;BNA;PHL                   JULIAMOUTH             NC                     US   90611   129585764@AIRLINE.KIWI.COM
JWXS8E   11/10/2020   OB   11/10/2020   WN;2877;SJC;LAX                   P KONDOPOGA            TULSKAYA OBLAST        RU   22854   129585720@AIRLINE.KIWI.COM
JX5JAS   11/10/2020   OB   11/24/2020   WN;3572;FLL;AUS                   SOUTH SUE              PA                     US   24649   129585918@AIRLINE.KIWI.COM
JXP6XA   11/10/2020   OB   11/20/2020   WN;6013;DAL;SMF                   PARKSBERG              WA                     US   87170   129586842@AIRLINE.KIWI.COM
JY6RJO   11/10/2020   OB    12/7/2020   WN;2385;LGB;DEN                   SOUTH JESSICABURY      AZ                     US    4583   129582299@AIRLINE.KIWI.COM
JYBD2M   11/10/2020   OB   11/20/2020   WN;2229;OAK;SEA                   LAKE KRISTINA          AZ                     US   56293   129588030@AIRLINE.KIWI.COM
JYIU39   11/10/2020   OB   12/19/2020   WN;146;OAK;LGB                    JULIELAND              NM                     US   29101   129582299@AIRLINE.KIWI.COM
JYR2P3   11/10/2020   OB   11/20/2020   WN;923;PHX;BWI;WN;536;BWI;PVD     PATRICKPORT            MN                     US   24270   129588646@AIRLINE.KIWI.COM
JZ9FBQ   11/10/2020   OB   11/29/2020   WN;1829;PVD;MDW;WN;3980;MDW;PHX   WEST REBECCA           NM                     US   80569   129588646@AIRLINE.KIWI.COM
JZYQRJ   11/10/2020   OB     1/3/2021   WN;4735;MCO;PHL                   RAEWYNNEATH            BAY OF PLENTY          NZ   57342   129589647@AIRLINE.KIWI.COM
JZYQRJ   11/10/2020   OB     1/3/2021   WN;4735;MCO;PHL                   RAEWYNNEATH            BAY OF PLENTY          NZ   57342   129589647@AIRLINE.KIWI.COM
JZZSUD   11/10/2020   OB   12/29/2020   WN;1265;LAX;PHX                   NEW SCOTTBOROUGH       MN                     US   60473   129590230@AIRLINE.KIWI.COM
K2UA8M   11/10/2020   OB   11/13/2020   WN;1232;PIT;LAS;WN;1232;LAS;SAN   ALEXANDERHAVEN         MN                     US   10702   129591605@AIRLINE.KIWI.COM
K2XOXR   11/10/2020   OB   12/22/2020   WN;586;HNL;OGG;WN;1457;OGG;SMF    COLLINSSTAD            MD                     US   31963   129591176@AIRLINE.KIWI.COM
K37ILH   11/10/2020   OB   11/29/2020   WN;6556;PHX;SEA                   NORTH JUDITH           MS                     US   41936   129591143@AIRLINE.KIWI.COM
K3DMMT   11/10/2020   OB   11/27/2020   WN;1476;DEN;ABQ                   LAKE JEREMYMOUTH       TX                     US    2221   129591968@AIRLINE.KIWI.COM
K3DMMT   11/10/2020   OB   11/27/2020   WN;1476;DEN;ABQ                   LAKE JEREMYMOUTH       TX                     US    2221   129591968@AIRLINE.KIWI.COM
K3TBN5   11/10/2020   OB    12/7/2020   WN;3490;IND;ATL                   ROBERTSFORT            LA                     US    1758   129592661@AIRLINE.KIWI.COM
K3TBN5   11/10/2020   OB    12/7/2020   WN;3490;IND;ATL                   ROBERTSFORT            LA                     US    1758   129592661@AIRLINE.KIWI.COM
K4Q65P   11/10/2020   OB   11/24/2020   WN;1143;DCA;HOU;WN;3246;HOU;OMA   EAST KRISTENVIEW       CO                     US   53778   129593255@AIRLINE.KIWI.COM
K4QC8B   11/10/2020   OB   11/22/2020   WN;1164;OMA;DEN                   WEST AMYTON            RI                     US   79304   129593255@AIRLINE.KIWI.COM
K54FQZ   11/10/2020   OB   12/27/2020   WN;6743;SEA;OAK;WN;4379;OAK;LAX   LAKE ERICASHIRE        KY                     US   69931   129593486@AIRLINE.KIWI.COM
K54FQZ   11/10/2020   OB   12/27/2020   WN;6743;SEA;OAK;WN;4379;OAK;LAX   LAKE ERICASHIRE        KY                     US   69931   129593486@AIRLINE.KIWI.COM
K5UFQ3   11/10/2020   OB     1/7/2021   WN;3294;MIA;BWI;WN;408;BWI;CVG    KINGBOROUGH            MI                     US   49223   129594894@AIRLINE.KIWI.COM
K5VB5X   11/10/2020   OB   11/13/2020   WN;933;BWI;HOU                    ROBERTVIEW             BORMLA                 MT   93403   129594597@AIRLINE.KIWI.COM
K5VB5X   11/10/2020   OB   11/13/2020   WN;933;BWI;HOU                    ROBERTVIEW             BORMLA                 MT   93403   129594597@AIRLINE.KIWI.COM
K6TC7C   11/10/2020   OB    12/3/2020   WN;1411;HOU;LAX                   JENNIFERBERG           CA                     US   30943   129564633@AIRLINE.KIWI.COM
K6TC7C   11/10/2020   OB    12/3/2020   WN;1411;HOU;LAX                   JENNIFERBERG           CA                     US   30943   129564633@AIRLINE.KIWI.COM
K9IDME   11/10/2020   OB   12/17/2020   WN;381;SNA;SMF                    TONILAND               OH                     US   56048   129599481@AIRLINE.KIWI.COM
KA3NE4   11/10/2020   OB   12/24/2020   WN;2792;SMF;SNA                   ADAMSSIDE              CT                     US    4780   129599712@AIRLINE.KIWI.COM
KBGGKQ   11/10/2020   OB     1/3/2021   WN;2682;MDW;BOS                   PORT MELISSABERG       MN                     US   75688   127715775.1498593@AIRLINE.KIWI.COM
KCBA5R   11/10/2020   OB   12/17/2020   WN;1148;OAK;LAX                   WEST SAMANTHAFURT      IL                     US   63284   129602748@AIRLINE.KIWI.COM




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KCBA5R   11/10/2020   OB   12/17/2020   WN;1148;OAK;LAX                   WEST SAMANTHAFURT    IL                      US   63284   129602748@AIRLINE.KIWI.COM
KD589F   11/10/2020   OB   12/18/2020   WN;209;LAX;OAK                    LAKE ELIZABETHSTAD   VT                      US   65391   129603342@AIRLINE.KIWI.COM
KD589F   11/10/2020   OB   12/18/2020   WN;209;LAX;OAK                    LAKE ELIZABETHSTAD   VT                      US   65391   129603342@AIRLINE.KIWI.COM
KHOG8C   11/10/2020   OB   11/23/2020   WN;2784;MDW;OMA                   BRENTSIDE            IL                      US   41562   129608226@AIRLINE.KIWI.COM
KHW39L   11/10/2020   OB    12/1/2020   WN;1024;OMA;MDW                   SCOTTBOROUGH         NM                      US   69820   129608226@AIRLINE.KIWI.COM
KHY7WI   11/10/2020   OB    12/3/2020   WN;4973;BNA;DCA                   AMANDAPORT           SHETLAND ISLANDS        GB   23837   129608545@AIRLINE.KIWI.COM
KIGFPF   11/10/2020   OB   11/11/2020   WN;2016;ATL;BWI;WN;2016;BWI;BUF   NORTH AMBERFURT      GA                      US   89106   129608512@AIRLINE.KIWI.COM
KLALQW   11/10/2020   OB   11/29/2020   WN;3159;ELP;HOU;WN;2111;HOU;CRP   ELIZABETHSIDE        LA                      US   79204   129610921@AIRLINE.KIWI.COM
KLN4ZL   11/10/2020   OB   12/26/2020   WN;550;FLL;DAL;WN;1994;DAL;SJC    NEW MARIA            MS                      US   57731   129610943@AIRLINE.KIWI.COM
KNDTJN   11/10/2020   OB   11/26/2020   WN;4131;MIA;HOU                   EAST JAMES           ID                      US   19752   129612373@AIRLINE.KIWI.COM
KNDTJN   11/10/2020   OB   11/26/2020   WN;4131;MIA;HOU                   EAST JAMES           ID                      US   19752   129612373@AIRLINE.KIWI.COM
KNDTJN   11/10/2020   OB   11/26/2020   WN;4131;MIA;HOU                   EAST JAMES           ID                      US   19752   129612373@AIRLINE.KIWI.COM
KNJISK   11/10/2020   OB   11/25/2020   WN;4660;MDW;LAS                   PERKINSBOROUGH       GA                      US   16997   129612406@AIRLINE.KIWI.COM
KNJISK   11/10/2020   OB   11/25/2020   WN;4660;MDW;LAS                   PERKINSBOROUGH       GA                      US   16997   129612406@AIRLINE.KIWI.COM
VP8SU6   11/10/2020   OB    12/2/2020   WN;4693;LAS;BWI                   DUSTINTOWN           GA                      US   32596   129516442@AIRLINE.KIWI.COM
VPTWAY   11/10/2020   OB   12/22/2020   WN;233;MSP;MDW                    PATTERSONHAVEN       VA                      US   79699   129517168@AIRLINE.KIWI.COM
VPTWAY   11/10/2020   OB   12/22/2020   WN;233;MSP;MDW                    PATTERSONHAVEN       VA                      US   79699   129517168@AIRLINE.KIWI.COM
VQFOK8   11/10/2020   OB   12/27/2020   WN;4442;MDW;MSP                   MARKTON              MI                      US   98253   129517168@AIRLINE.KIWI.COM
VQFOK8   11/10/2020   OB   12/27/2020   WN;4442;MDW;MSP                   MARKTON              MI                      US   98253   129517168@AIRLINE.KIWI.COM
VQGP3H   11/10/2020   OB   12/22/2020   WN;233;MSP;MDW                    BROWNBOROUGH         RI                      US   51166   129517674@AIRLINE.KIWI.COM
VR2KTP   11/10/2020   OB   12/27/2020   WN;4442;MDW;MSP                   CURTISLAND           NJ                      US   89631   129517674@AIRLINE.KIWI.COM
VR3HP7   11/10/2020   OB   12/22/2020   WN;233;MSP;MDW                    NEW ANNA             DE                      US   87095   129517993@AIRLINE.KIWI.COM
VRLO8R   11/10/2020   OB   12/27/2020   WN;4442;MDW;MSP                   WEST LARRYTON        OH                      US   81967   129517993@AIRLINE.KIWI.COM
VRPYFR   11/10/2020   OB   12/18/2020   WN;214;BWI;BDL                    VYAAS                SETI                    NP   42222   129518169@AIRLINE.KIWI.COM
VRSVBO   11/10/2020   OB   11/19/2020   WN;561;BNA;ATL                    SOUTH MATTHEWFURT    NE                      US   30733   129518323@AIRLINE.KIWI.COM
VRVZO9   11/10/2020   OB   12/23/2020   WN;1799;PIT;BWI;WN;2688;BWI;BDL   PORT ROBERTA         VT                      US   92753   129518367@AIRLINE.KIWI.COM
VT68VC   11/10/2020   OB     1/2/2021   WN;2163;ATL;RIC                   WEST MARIE           CO                      US   96063   129519093@AIRLINE.KIWI.COM
VTFYAL   11/10/2020   OB   12/26/2020   WN;2394;RIC;ATL;WN;1980;ATL;PHX   HUANGTON             WA                      US   30735   129519093@AIRLINE.KIWI.COM
VTQJAD   11/10/2020   OB   11/29/2020   WN;4108;MCO;ORF                   EAST JANETSTAD       WI                      US   29190   129519291@AIRLINE.KIWI.COM
VTSDCC   11/10/2020   OB     1/2/2021   WN;6832;PHX;ATL                   KATHERINEBOROUGH     NV                      US   63609   129519093@AIRLINE.KIWI.COM
VW58VG   11/10/2020   OB   11/10/2020   WN;4791;LAS;AMA                   WATSONBURY           NV                      US   44947   129520446@AIRLINE.KIWI.COM
VW9UCK   11/10/2020   OB   12/19/2020   WN;6894;DSM;DEN                   SMITHBERG            IA                      US   53810   129520303@AIRLINE.KIWI.COM
VWMQO6   11/10/2020   OB   12/23/2020   WN;4112;DTW;BWI;WN;331;BWI;MIA    NEW ERINMOUTH        IN                      US   26064   129520666@AIRLINE.KIWI.COM
VY436H   11/10/2020   OB   11/10/2020   WN;4306;OAK;PHX                   WEBBBERG             ID                      US   99038   129521216@AIRLINE.KIWI.COM
VZFR34   11/10/2020   OB   11/24/2020   WN;2275;OAK;PDX                   PORT SHARON          OR                      US   26685   129522492@AIRLINE.KIWI.COM
VZQI5L   11/10/2020   OB   11/12/2020   WN;599;FLL;STL;WN;2010;STL;LAS    WEST ENZO            NORTHWEST TERRITORIES   CA   72654   129522745@AIRLINE.KIWI.COM
W2KX8Z   11/10/2020   OB   11/13/2020   WN;244;BOS;BWI                    ANTUNEZFORT          MANITOBA                CA    1874   129523141@AIRLINE.KIWI.COM
W4VN75   11/10/2020   OB    12/2/2020   WN;1805;AUA;BWI;WN;3559;BWI;PIT   SMITHPORT            WY                      US   77323   129524516@AIRLINE.KIWI.COM
W4VN75   11/10/2020   OB    12/2/2020   WN;1805;AUA;BWI;WN;3559;BWI;PIT   SMITHPORT            WY                      US   77323   129524516@AIRLINE.KIWI.COM
W5G4KE   11/10/2020   OB   11/20/2020   WN;1395;DAL;LAS                   EAST KIMBERLY        NE                      US   68160   129524285@AIRLINE.KIWI.COM
W5N4KZ   11/10/2020   OB   11/24/2020   WN;975;MCI;HOU;WN;1058;HOU;MIA    BLONDELSURTECHER     SEINEETMARNE            FR   63098   129524934@AIRLINE.KIWI.COM
W5YOYL   11/10/2020   OB   11/24/2020   WN;975;MCI;HOU;WN;1058;HOU;MIA    TARRAGONA            SALAMANCA               ES   29183   129524791@AIRLINE.KIWI.COM
W7JSNI   11/10/2020   OB   11/16/2020   WN;1610;CUN;BWI                   LAKE PATRICIA        WY                      US   31077   129525726@AIRLINE.KIWI.COM
W8BPAO   11/10/2020   OB   12/22/2020   WN;977;SAT;BWI;WN;1045;BWI;GRR    SOUTH SEANTON        CO                      US   50319   129526320@AIRLINE.KIWI.COM
W8YXXT   11/10/2020   OB     1/2/2021   WN;59;GRR;MDW;WN;1853;MDW;SAT     EAST DONNAFORT       VA                      US   62330   129526716@AIRLINE.KIWI.COM
W9SY8D   11/10/2020   OB   11/10/2020   WN;2461;ATL;CMH                   BOYERTON             IL                      US    5124   129526969@AIRLINE.KIWI.COM
W9SY8D   11/10/2020   OB   11/10/2020   WN;2461;ATL;CMH                   BOYERTON             IL                      US    5124   129526969@AIRLINE.KIWI.COM
W9SY8D   11/10/2020   OB   11/10/2020   WN;2461;ATL;CMH                   BOYERTON             IL                      US    5124   129526969@AIRLINE.KIWI.COM
WA82WR   11/10/2020   OB    12/7/2020   WN;4936;LAX;HOU;WN;1539;HOU;MCO   EAST ADAM            NV                      US   80827   129527497@AIRLINE.KIWI.COM
WAFPKY   11/10/2020   OB    12/7/2020   WN;4936;LAX;HOU;WN;1539;HOU;MCO   NORTH VANESSA        LA                      US   27664   129527497@AIRLINE.KIWI.COM
WB5PW2   11/10/2020   OB    12/7/2020   WN;4919;PHX;AUS                   MONICASHIRE          NC                      US   49681   129099421@AIRLINE.KIWI.COM
WB5PW2   11/10/2020   OB    12/7/2020   WN;4919;PHX;AUS                   MONICASHIRE          NC                      US   49681   129099421@AIRLINE.KIWI.COM
WB5PW2   11/10/2020   RT     1/4/2021   WN;1393;AUS;PHX                   MONICASHIRE          NC                      US   49681   129099421@AIRLINE.KIWI.COM
WB5PW2   11/10/2020   RT     1/4/2021   WN;1393;AUS;PHX                   MONICASHIRE          NC                      US   49681   129099421@AIRLINE.KIWI.COM
WBOYX7   11/10/2020   OB    12/1/2020   WN;933;DTW;BWI                    ANNAVIEW             ID                      US   29872   129528190@AIRLINE.KIWI.COM
WCTD7M   11/10/2020   OB     4/6/2021   WN;1775;MDW;LGA                   NUEVA NAURU          AGUASCALIENTES          MX   86763   129528432@AIRLINE.KIWI.COM
WCTD7M   11/10/2020   OB     4/6/2021   WN;1775;MDW;LGA                   NUEVA NAURU          AGUASCALIENTES          MX   86763   129528432@AIRLINE.KIWI.COM
WCTD7M   11/10/2020   OB     4/6/2021   WN;1775;MDW;LGA                   NUEVA NAURU          AGUASCALIENTES          MX   86763   129528432@AIRLINE.KIWI.COM
WF2ZWS   11/10/2020   OB   11/16/2020   WN;373;CLT;BWI                    WEST KEVIN           IA                      US    3726   129529697@AIRLINE.KIWI.COM
WF4GKW   11/10/2020   OB   12/19/2020   WN;1619;OAK;BOI                   NORTH PHILLIPBERG    FL                      US   50779   129529829@AIRLINE.KIWI.COM
WF4GKW   11/10/2020   OB   12/19/2020   WN;1619;OAK;BOI                   NORTH PHILLIPBERG    FL                      US   50779   129529829@AIRLINE.KIWI.COM
WF4GKW   11/10/2020   RT   12/26/2020   WN;596;BOI;OAK                    NORTH PHILLIPBERG    FL                      US   50779   129529829@AIRLINE.KIWI.COM
WF4GKW   11/10/2020   RT   12/26/2020   WN;596;BOI;OAK                    NORTH PHILLIPBERG    FL                      US   50779   129529829@AIRLINE.KIWI.COM
WFKRKT   11/10/2020   OB   12/20/2020   WN;3360;ATL;LGA                   NORTH KARENSTAD      OR                      US   46319   129530115@AIRLINE.KIWI.COM
WFKRKT   11/10/2020   OB   12/20/2020   WN;3360;ATL;LGA                   NORTH KARENSTAD      OR                      US   46319   129530115@AIRLINE.KIWI.COM
WFKRKT   11/10/2020   OB   12/20/2020   WN;3360;ATL;LGA                   NORTH KARENSTAD      OR                      US   46319   129530115@AIRLINE.KIWI.COM
WKGXX2   11/10/2020   OB   11/29/2020   WN;4324;MSY;LAX                   DELEONBOROUGH        MN                      US   75020   129532359@AIRLINE.KIWI.COM
WKGXX2   11/10/2020   OB   11/29/2020   WN;4324;MSY;LAX                   DELEONBOROUGH        MN                      US   75020   129532359@AIRLINE.KIWI.COM
WKJ3ZP   11/10/2020   OB   11/16/2020   WN;154;ATL;LGA                    HUELVA               PALENCIA                ES    1210   129532887@AIRLINE.KIWI.COM
WKJQYI   11/10/2020   OB   11/29/2020   WN;4324;MSY;LAX                   STEPHENBURGH         WI                      US   44416   129532359@AIRLINE.KIWI.COM
KOEQGS   11/11/2020   OB   11/25/2020   WN;4935;PDX;SJC                   NORTH MICHAELTON     OH                      US   46446   129613253@AIRLINE.KIWI.COM
KOEQGS   11/11/2020   RT   11/26/2020   WN;4083;SJC;PDX                   NORTH MICHAELTON     OH                      US   46446   129613253@AIRLINE.KIWI.COM
KOWHVL   11/11/2020   OB   12/19/2020   WN;1052;SJC;LAX                   PORT KYLEMOUTH       VT                      US   92502   129610800@AIRLINE.KIWI.COM
KQBULQ   11/11/2020   OB    3/23/2021   WN;1559;PHX;HOU;WN;467;HOU;MIA    PORT ULFET           BINGOL                  TR   56018   127217970.1498665@AIRLINE.KIWI.COM
KS4AMG   11/11/2020   OB   11/15/2020   WN;960;PHX;SNA                    EAST CODYFURT        NY                      US   81400   129615233@AIRLINE.KIWI.COM
KTN35V   11/11/2020   OB   11/11/2020   WN;2411;ATL;SDF                   OLIVIAVILLE          FL                      US   92796   129616289@AIRLINE.KIWI.COM
KTQ5L3   11/11/2020   OB   11/25/2020   WN;332;MIA;BWI                    EAST ANGELA          MO                      US   50765   129616157@AIRLINE.KIWI.COM
KTQ5L3   11/11/2020   RT   11/29/2020   WN;331;BWI;MIA                    EAST ANGELA          MO                      US   50765   129616157@AIRLINE.KIWI.COM
KUB43I   11/11/2020   OB     1/2/2021   WN;6926;DTW;BNA;WN;2145;BNA;JAX   WEST JOHNTOWN        ND                      US   67849   129616740@AIRLINE.KIWI.COM
KUB43I   11/11/2020   OB     1/2/2021   WN;6926;DTW;BNA;WN;2145;BNA;JAX   WEST JOHNTOWN        ND                      US   67849   129616740@AIRLINE.KIWI.COM
KUB43I   11/11/2020   OB     1/2/2021   WN;6926;DTW;BNA;WN;2145;BNA;JAX   WEST JOHNTOWN        ND                      US   67849   129616740@AIRLINE.KIWI.COM
KUB43I   11/11/2020   OB     1/2/2021   WN;6926;DTW;BNA;WN;2145;BNA;JAX   WEST JOHNTOWN        ND                      US   67849   129616740@AIRLINE.KIWI.COM
KUB43I   11/11/2020   OB     1/2/2021   WN;6926;DTW;BNA;WN;2145;BNA;JAX   WEST JOHNTOWN        ND                      US   67849   129616740@AIRLINE.KIWI.COM
KVEHGP   11/11/2020   OB   11/25/2020   WN;1876;BOS;BWI;WN;5060;BWI;CVG   SANDERSMOUTH         NC                      US   77131   129617433@AIRLINE.KIWI.COM
KVRL7J   11/11/2020   OB   11/26/2020   WN;1468;SAN;LAS                   NEW REBECCA          SC                      US   47764   129617818@AIRLINE.KIWI.COM
KVUCKU   11/11/2020   OB   12/22/2020   WN;978;CMH;MCO                    SHHR AYD             KHORASANE SHEMALI       IR   65233   129617510@AIRLINE.KIWI.COM
KWWFSW   11/11/2020   OB     1/1/2021   WN;2708;MDW;ATL                   LAKE MICHELESIDE     IL                      US   60615   129618302@AIRLINE.KIWI.COM
KX64RD   11/11/2020   OB   12/29/2020   WN;224;ATL;MDW                    JORGEHAVEN           NM                      US   13687   129618269@AIRLINE.KIWI.COM
KXAWBJ   11/11/2020   OB   11/22/2020   WN;3335;ROC;BWI                   SOUTH LAURATON       OK                      US   93350   129615123@AIRLINE.KIWI.COM
KXCAVE   11/11/2020   OB   11/24/2020   WN;3451;DEN;MDW                   PAULBURY             UT                      US   67996   129618423@AIRLINE.KIWI.COM
KYAOQC   11/11/2020   OB   11/11/2020   WN;2263;ATL;CMH                   TAPIASIDE            VA                      US   71368   129619259@AIRLINE.KIWI.COM
KYG2PQ   11/11/2020   OB   12/17/2020   WN;523;ATL;JAX                    NORTH PAMELA         NJ                      US   26483   129619083@AIRLINE.KIWI.COM
KYJD8Z   11/11/2020   OB   11/27/2020   WN;1803;LGB;LAS                   NORTH MELISSA        WICKLOW                 IE   78912   129619336@AIRLINE.KIWI.COM
KYLJPO   11/11/2020   OB   12/17/2020   WN;623;DEN;ATL                    ASHLEYMOUTH          AK                      US   78245   129619083@AIRLINE.KIWI.COM
KYVYCM   11/11/2020   OB   11/30/2020   WN;4829;ABQ;DEN                   BOWERSTOWN           AL                      US   55541   129615299@AIRLINE.KIWI.COM
KZ4OL8   11/11/2020   OB    12/6/2020   WN;2466;DEN;SMF                   EAST CRYSTALLAND     NC                      US   84554   128014326.1498692@AIRLINE.KIWI.COM
KZRB5N   11/11/2020   OB   12/14/2020   WN;2527;DEN;BWI                   HARRISFORT           TX                      US   82223   129620095@AIRLINE.KIWI.COM
KZRB5N   11/11/2020   OB   12/14/2020   WN;2527;DEN;BWI                   HARRISFORT           TX                      US   82223   129620095@AIRLINE.KIWI.COM
KZRB5N   11/11/2020   OB   12/14/2020   WN;2527;DEN;BWI                   HARRISFORT           TX                      US   82223   129620095@AIRLINE.KIWI.COM
KZRB5N   11/11/2020   OB   12/14/2020   WN;2527;DEN;BWI                   HARRISFORT           TX                      US   82223   129620095@AIRLINE.KIWI.COM
L3D5Y5   11/11/2020   OB   11/20/2020   WN;1034;PIT;DEN;WN;1366;DEN;BUR   PORT GEORGE          WY                      US   34514   129621030@AIRLINE.KIWI.COM
L3TN8S   11/11/2020   OB   12/17/2020   WN;1337;SNA;SMF                   DA CONCEICAO         PARA                    BR   75879   129621261@AIRLINE.KIWI.COM
L5N54H   11/11/2020   OB   11/26/2020   WN;4619;RDU;MDW                   NORTH JOHNMOUTH      DE                      US   71713   129622097@AIRLINE.KIWI.COM
L5OKOI   11/11/2020   OB   11/27/2020   WN;381;CMH;BWI;WN;303;BWI;BOS     NEW NATALIEPORT      OH                      US   74164   129622218@AIRLINE.KIWI.COM
L6CEZP   11/11/2020   OB    12/1/2020   WN;810;HOU;LAX                    WEST TIMOTHY         ZEBBUG GHAWDEX          MT   68588   129622757@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   OB     1/1/2021   WN;3129;BUR;LAS                   SCHROEDERSIDE        WY                      US   46908   129623483@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   OB     1/1/2021   WN;3129;BUR;LAS                   SCHROEDERSIDE        WY                      US   46908   129623483@AIRLINE.KIWI.COM




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L7TBN2   11/11/2020   OB     1/1/2021   WN;3129;BUR;LAS                   SCHROEDERSIDE          WY                       US   46908   129623483@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   OB     1/1/2021   WN;3129;BUR;LAS                   SCHROEDERSIDE          WY                       US   46908   129623483@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   RT     1/3/2021   WN;3275;LAS;BUR                   SCHROEDERSIDE          WY                       US   46908   129623483@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   RT     1/3/2021   WN;3275;LAS;BUR                   SCHROEDERSIDE          WY                       US   46908   129623483@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   RT     1/3/2021   WN;3275;LAS;BUR                   SCHROEDERSIDE          WY                       US   46908   129623483@AIRLINE.KIWI.COM
L7TBN2   11/11/2020   RT     1/3/2021   WN;3275;LAS;BUR                   SCHROEDERSIDE          WY                       US   46908   129623483@AIRLINE.KIWI.COM
L7WV5U   11/11/2020   OB   11/23/2020   WN;6505;PHX;SMF                   SANDRACHESTER          WI                       US   25573   129623571@AIRLINE.KIWI.COM
L7WV5U   11/11/2020   OB   11/23/2020   WN;6505;PHX;SMF                   SANDRACHESTER          WI                       US   25573   129623571@AIRLINE.KIWI.COM
L7XY3Y   11/11/2020   OB   11/20/2020   WN;1503;PDX;SMF;WN;6022;SMF;BOI   PORT LINDSAYLAND       KY                       US   49520   129623384@AIRLINE.KIWI.COM
L8P4YI   11/11/2020   OB   11/30/2020   WN;3563;ATL;SAT                   NEW GREGORYSIDE        IA                       US   87243   129623769@AIRLINE.KIWI.COM
LA9WXT   11/11/2020   OB    12/5/2020   WN;3667;OAK;DEN                   TURIDEID               TELEMARK                 NO   19841   129622680@AIRLINE.KIWI.COM
LAE3ST   11/11/2020   OB   11/23/2020   WN;4575;DEN;CLT                   PETERSVIEW             AR                       US   53891   129624374@AIRLINE.KIWI.COM
LANV6P   11/11/2020   OB   11/21/2020   WN;1845;LAS;PHX                   SMITHVILLE             WI                       US   90428   129624770@AIRLINE.KIWI.COM
LD74KD   11/11/2020   OB   12/28/2020   WN;112;LAS;ABQ                    WEST CHELSEA           FL                       US   74717   129625870@AIRLINE.KIWI.COM
LD74KD   11/11/2020   OB   12/28/2020   WN;112;LAS;ABQ                    WEST CHELSEA           FL                       US   74717   129625870@AIRLINE.KIWI.COM
LDRF87   11/11/2020   OB   12/23/2020   WN;6711;ABQ;DAL;WN;26;DAL;IND     FREDERICKHAVEN         VT                       US   20160   129625870@AIRLINE.KIWI.COM
LDRF87   11/11/2020   OB   12/23/2020   WN;6711;ABQ;DAL;WN;26;DAL;IND     FREDERICKHAVEN         VT                       US   20160   129625870@AIRLINE.KIWI.COM
LG45ZC   11/11/2020   OB   11/26/2020   WN;3933;MCI;BWI                   ASM                    HARYANA                  IN   23020   129627487@AIRLINE.KIWI.COM
LIB2ZK   11/11/2020   OB   12/19/2020   WN;1461;SJC;PHX;WN;105;PHX;ATL    FRANKSIDE              TX                       US   87791   129628367@AIRLINE.KIWI.COM
LITAD4   11/11/2020   OB   11/22/2020   WN;1005;AUS;MDW                   SOUTH DONALDHAVEN      IN                       US   37603   129629071@AIRLINE.KIWI.COM
LKZPI9   11/11/2020   OB   11/11/2020   WN;1148;HNL;OAK;WN;1151;OAK;PHX   WEST JOEL              WI                       US   50083   129630237@AIRLINE.KIWI.COM
LLX8JF   11/11/2020   OB    12/1/2020   WN;893;SAT;PHX;WN;215;PHX;SMF     PHAADR                 GOA                      IN   47430   129631337@AIRLINE.KIWI.COM
LM3NBV   11/11/2020   OB    12/1/2020   WN;893;SAT;PHX;WN;215;PHX;SMF     AMROHAA                BIHAR                    IN     912   129631337@AIRLINE.KIWI.COM
LM5A38   11/11/2020   OB   11/14/2020   WN;1636;ATL;DAL;WN;2458;DAL;OAK   LAKE CHAD              ME                       US   99025   129631227@AIRLINE.KIWI.COM
LMNHED   11/11/2020   OB    12/1/2020   WN;893;SAT;PHX;WN;215;PHX;SMF     MOKOKCUNG              DAMAN AND DIU            IN   17758   129631337@AIRLINE.KIWI.COM
LSWZ2Q   11/11/2020   OB   12/19/2020   WN;1974;SFO;SAN                   SIMPSONVILLE           HOUNSLOW                 GB   91715   129637013@AIRLINE.KIWI.COM
LTLEJ2   11/11/2020   OB    12/3/2020   WN;1962;MCO;MDW;WN;1394;MDW;SFO   MURPHYHAVEN            DORSET                   GB    1372   129637013@AIRLINE.KIWI.COM
M4T555   11/11/2020   OB   11/13/2020   WN;1318;PVD;BWI;WN;1012;BWI;PIT   PORT HEATHERSHIRE      MO                       US   82256   129647650@AIRLINE.KIWI.COM
M5RQE7   11/11/2020   OB   12/17/2020   WN;209;LAX;OAK                    JAMESCHESTER           TX                       US   88756   129648871@AIRLINE.KIWI.COM
M5RQE7   11/11/2020   RT     1/5/2021   WN;1148;OAK;LAX                   JAMESCHESTER           TX                       US   88756   129648871@AIRLINE.KIWI.COM
M6H8RE   11/11/2020   OB   11/14/2020   WN;1536;ALB;BWI;WN;6670;BWI;RSW   SOUTH CHRISTINE        MIDTJYLLAND              DK   25839   129649927@AIRLINE.KIWI.COM
MC5UTI   11/11/2020   OB   11/20/2020   WN;1319;PVD;BWI                   OSBORNECHESTER         LEMESOS                  CY   79030   129656252@AIRLINE.KIWI.COM
MCG86I   11/11/2020   OB   11/18/2020   WN;2026;ATL;DEN                   D SUNTAR               UDMURTSKAYA RESPUBLIKA   RU   79003   129657374@AIRLINE.KIWI.COM
ME273E   11/11/2020   OB   11/26/2020   WN;2931;AUS;BNA                   LAKE KIMBERLYSHIRE     AR                       US   10849   129658969@AIRLINE.KIWI.COM
MHS2PF   11/11/2020   OB   11/29/2020   WN;3572;IND;BWI                   LAKE CHRISTOPHER       MD                       US   64759   129663281@AIRLINE.KIWI.COM
MJYRWU   11/11/2020   OB   11/23/2020   WN;4795;RDU;MDW                   SOUTH STEPHENBOROUGH   NE                       US   62712   129666944@AIRLINE.KIWI.COM
MKHM9S   11/11/2020   OB    12/8/2020   WN;3167;MSP;DEN;WN;2642;DEN;OAK   LAKE JAIMEVIEW         OR                       US   66917   129667747@AIRLINE.KIWI.COM
MKHM9S   11/11/2020   OB    12/8/2020   WN;3167;MSP;DEN;WN;2642;DEN;OAK   LAKE JAIMEVIEW         OR                       US   66917   129667747@AIRLINE.KIWI.COM
MMB9PD   11/11/2020   OB   11/26/2020   WN;6945;BNA;DEN                   VARKAUS                POHJOISSAVO              FI   81261   129669507@AIRLINE.KIWI.COM
MOER72   11/11/2020   OB   11/29/2020   WN;1998;ATL;BWI                   DANIELLETON            OK                       US   70424   129671949@AIRLINE.KIWI.COM
MPAQAT   11/11/2020   OB   11/29/2020   WN;2681;STL;CLT                   DAADRAA AUR NAAGR HV   HIMACHAL PRADESH         IN   30566   129673060@AIRLINE.KIWI.COM
MQ9L8G   11/11/2020   OB   12/28/2020   WN;584;IND;HOU;WN;696;HOU;AUS     KRISTOPHERTOWN         CO                       US   28003   129675117@AIRLINE.KIWI.COM
MR9TFL   11/11/2020   OB    12/4/2020   WN;2730;CLT;DEN                   OCONNORMOUTH           AK                       US   67492   129675546@AIRLINE.KIWI.COM
MR9TFL   11/11/2020   RT    12/6/2020   WN;2323;DEN;CLT                   OCONNORMOUTH           AK                       US   67492   129675546@AIRLINE.KIWI.COM
MRGYQ6   11/11/2020   OB   12/28/2020   WN;879;LIH;HNL                    WEST YOLANDA           ND                       US   83016   129676140@AIRLINE.KIWI.COM
MTQ46C   11/11/2020   OB   12/19/2020   WN;1909;DTW;BWI;WN;1360;BWI;JAX   LEONARDTOWN            OH                       US   97892   129679473@AIRLINE.KIWI.COM
MTQ46C   11/11/2020   OB   12/19/2020   WN;1909;DTW;BWI;WN;1360;BWI;JAX   LEONARDTOWN            OH                       US   97892   129679473@AIRLINE.KIWI.COM
MTQ46C   11/11/2020   OB   12/19/2020   WN;1909;DTW;BWI;WN;1360;BWI;JAX   LEONARDTOWN            OH                       US   97892   129679473@AIRLINE.KIWI.COM
MTQ46C   11/11/2020   OB   12/19/2020   WN;1909;DTW;BWI;WN;1360;BWI;JAX   LEONARDTOWN            OH                       US   97892   129679473@AIRLINE.KIWI.COM
MTQ46C   11/11/2020   OB   12/19/2020   WN;1909;DTW;BWI;WN;1360;BWI;JAX   LEONARDTOWN            OH                       US   97892   129679473@AIRLINE.KIWI.COM
MTQ46C   11/11/2020   OB   12/19/2020   WN;1909;DTW;BWI;WN;1360;BWI;JAX   LEONARDTOWN            OH                       US   97892   129679473@AIRLINE.KIWI.COM
MUEINW   11/11/2020   OB   11/30/2020   WN;1051;MIA;BWI;WN;4130;BWI;CLE   CRAWFORDTOWN           RI                       US   15063   129680078@AIRLINE.KIWI.COM
MVIUEL   11/11/2020   OB   12/16/2020   WN;4356;PHX;SJC                   MICHAELCHESTER         IL                       US    4889   129680760@AIRLINE.KIWI.COM
MWQHAZ   11/11/2020   OB   11/25/2020   WN;3527;BWI;ROC                   WEST JOHNSIDE          VA                       US   11045   129682520@AIRLINE.KIWI.COM
N24LU3   11/11/2020   OB   12/11/2020   WN;3134;DTW;BWI                   NORTH JESSICA          NV                       US    5197   129687195@AIRLINE.KIWI.COM
N3ZYAM   11/11/2020   OB   11/11/2020   WN;3418;RNO;LAS                   HARRISBERG             ND                       US    5414   129689659@AIRLINE.KIWI.COM
N5BGJB   11/11/2020   OB   11/24/2020   WN;2052;CLT;DEN                   NEW LAURA              NM                       US    8729   129691254@AIRLINE.KIWI.COM
N5TLHI   11/11/2020   OB   12/20/2020   WN;1441;MDW;MCI                   EAST KATHRYNBERG       NC                       US   23530   129691309@AIRLINE.KIWI.COM
N6M5AS   11/11/2020   OB   12/12/2020   WN;2966;MCO;PHL                   PORT DAVID             MS                       US   30833   129692783@AIRLINE.KIWI.COM
N6M5AS   11/11/2020   OB   12/12/2020   WN;2966;MCO;PHL                   PORT DAVID             MS                       US   30833   129692783@AIRLINE.KIWI.COM
N6TT7J   11/11/2020   OB   11/15/2020   WN;590;HNL;OGG                    PORT RICARDOFORT       KY                       US   73368   129693916@AIRLINE.KIWI.COM
N6U286   11/11/2020   OB    12/5/2020   WN;3814;BNA;TPA;WN;1065;TPA;MIA   CEUTA                  TARRAGONA                ES    7799   129693003@AIRLINE.KIWI.COM
N74HNC   11/11/2020   OB   11/12/2020   WN;588;OGG;HNL                    SOUTH JOHN             AZ                       US   23951   129693916@AIRLINE.KIWI.COM
N7ZYPL   11/11/2020   OB   11/24/2020   WN;1057;MIA;HOU;WN;2754;HOU;AUS   AVILA                  LUGO                     ES   73870   129694807@AIRLINE.KIWI.COM
NC87DE   11/11/2020   OB   11/29/2020   WN;2646;DAL;LAS                   NORTH ALEXANDER        CO                       US   68616   129699812@AIRLINE.KIWI.COM
NC9JJX   11/11/2020   OB    12/1/2020   WN;1585;PHX;SAN                   AMBERSTAD              PA                       US   36637   129699229@AIRLINE.KIWI.COM
NCNRDK   11/11/2020   OB   11/30/2020   WN;3525;LAS;LAX                   CRYSTALPORT            TX                       US   13768   129699812@AIRLINE.KIWI.COM
NCQOMK   11/11/2020   MD   12/27/2020   WN;4018;LGA;MDW                   BCELII                 WEST BENGAL              IN   86938   129699988@AIRLINE.KIWI.COM
NCQOMK   11/11/2020   OB   12/18/2020   WN;463;MDW;DCA                    BCELII                 WEST BENGAL              IN   86938   129699988@AIRLINE.KIWI.COM
NCX7M6   11/11/2020   OB    12/3/2020   WN;2340;BWI;OAK                   SOUTH TRACY            HI                       US   43681   129700615@AIRLINE.KIWI.COM
NESXWN   11/11/2020   OB     1/7/2021   WN;3294;MIA;BWI;WN;3604;BWI;RDU   WEST MITCHELL          OK                       US   68461   129701693@AIRLINE.KIWI.COM
NF99XI   11/11/2020   OB     1/4/2021   WN;1268;OAK;KOA                   PORT GREGORYFURT       WV                       US   80152   129701297@AIRLINE.KIWI.COM
NFPGGL   11/11/2020   OB   11/12/2020   WN;575;SNA;LAS                    KELLYTOWN              PA                       US   88839   129702298@AIRLINE.KIWI.COM
NFVAUD   11/11/2020   OB   11/21/2020   WN;791;LAS;HOU                    MICHELLEMOUTH          AR                       US   72659   129702353@AIRLINE.KIWI.COM
NFVAUD   11/11/2020   OB   11/21/2020   WN;791;LAS;HOU                    MICHELLEMOUTH          AR                       US   72659   129702353@AIRLINE.KIWI.COM
NGH66Q   11/11/2020   OB   12/16/2020   WN;2282;BNA;MDW;WN;3306;MDW;MIA   ANGELAVIEW             WY                       US   49760   129702716@AIRLINE.KIWI.COM
NGN6XO   11/11/2020   OB   12/12/2020   WN;2206;RIC;ATL                   CHARLESVILLE           CORK                     IE   11370   129702452@AIRLINE.KIWI.COM
NHG57Y   11/11/2020   OB   11/25/2020   WN;3939;TUS;DEN;WN;4193;DEN;MSP   NORTH RICHARD          DE                       US   84267   129703497@AIRLINE.KIWI.COM
NI8LOE   11/11/2020   OB    1/21/2021   WN;1533;ATL;DAL                   MARILYNSHIRE           WY                       US   41748   129703871@AIRLINE.KIWI.COM
NI8LOE   11/11/2020   RT    1/25/2021   WN;354;DAL;ATL                    MARILYNSHIRE           WY                       US   41748   129703871@AIRLINE.KIWI.COM
NIYH5N   11/11/2020   OB    12/7/2020   WN;569;DEN;OAK                    NORTH DONALDBURGH      MS                       US   50008   129704410@AIRLINE.KIWI.COM
NJ6WBD   11/11/2020   OB    12/7/2020   WN;1268;OAK;KOA                   ZACHARYMOUTH           OR                       US   97820   129704410@AIRLINE.KIWI.COM
NJOS5U   11/11/2020   OB   12/10/2020   WN;3454;STL;LIT                   KAYLALAND              GA                       US   11491   129705323@AIRLINE.KIWI.COM
NJOS5U   11/11/2020   RT   12/14/2020   WN;2166;LIT;STL                   KAYLALAND              GA                       US   11491   129705323@AIRLINE.KIWI.COM
NKEIZG   11/11/2020   OB   11/12/2020   WN;1192;SJC;MDW;WN;2277;MDW;RDU   THOMPSONBURGH          AK                       US   17569   129705554@AIRLINE.KIWI.COM
NKEP3F   11/11/2020   OB    2/24/2021   WN;1068;SLC;OAK;WN;808;OAK;HNL    WEST MARKVIEW          KY                       US   33326   129705994@AIRLINE.KIWI.COM
NKEP3F   11/11/2020   OB    2/24/2021   WN;1068;SLC;OAK;WN;808;OAK;HNL    WEST MARKVIEW          KY                       US   33326   129705994@AIRLINE.KIWI.COM
NKERYJ   11/11/2020   OB     1/7/2021   WN;3294;MIA;BWI;WN;3604;BWI;RDU   SOUTH MELANIEFURT      ND                       US   88684   129701913@AIRLINE.KIWI.COM
NM2C8U   11/11/2020   OB   11/27/2020   WN;6318;DSM;DEN                   LAKE LAURAVIEW         UT                       US   64350   129706863@AIRLINE.KIWI.COM
NNV73I   11/11/2020   OB   11/20/2020   WN;749;SAT;BWI;WN;401;BWI;ROC     NORTH MICHAELBURGH     NE                       US   42947   129707611@AIRLINE.KIWI.COM
NOBSJ6   11/11/2020   OB   11/28/2020   WN;2388;SAN;SFO                   SOUTH GAVINVILLE       AR                       US   62491   129707776@AIRLINE.KIWI.COM
NOBSJ6   11/11/2020   OB   11/28/2020   WN;2388;SAN;SFO                   SOUTH GAVINVILLE       AR                       US   62491   129707776@AIRLINE.KIWI.COM
NRWAQG   11/12/2020   OB   12/28/2020   WN;659;CLE;BWI;WN;381;BWI;ORF     WRIGHTCHESTER          VA                       US   14975   129709910@AIRLINE.KIWI.COM
NSXLY3   11/12/2020   OB     1/5/2021   WN;1540;ORF;BWI;WN;1475;BWI;CLE   CLEVELAND              OH                       US   44110   129710284@AIRLINE.KIWI.COM
NSXLY3   11/12/2020   OB     1/5/2021   WN;1540;ORF;BWI;WN;1475;BWI;CLE   NEW KATIE              VA                       US   96393   129710284@AIRLINE.KIWI.COM
NUISGH   11/12/2020   OB    12/8/2020   WN;815;CMH;MDW                    JUSTINVIEW             AZ                       US   36894   129710955@AIRLINE.KIWI.COM
NUISGH   11/12/2020   OB    12/8/2020   WN;815;CMH;MDW                    JUSTINVIEW             AZ                       US   36894   129710955@AIRLINE.KIWI.COM
NUJIV9   11/12/2020   OB    12/8/2020   WN;2055;MDW;SAN                   WEST IEVA              ALYTAUS APSKRITIS        LT    1785   129710955@AIRLINE.KIWI.COM
NUJIV9   11/12/2020   OB    12/8/2020   WN;2055;MDW;SAN                   WEST IEVA              ALYTAUS APSKRITIS        LT    1785   129710955@AIRLINE.KIWI.COM
NUPNKL   11/12/2020   OB   12/12/2020   WN;4436;BNA;JAX                   SOUTH HENRY            NH                       US   88086   129710614@AIRLINE.KIWI.COM
NUPQ5M   11/12/2020   OB   11/24/2020   WN;1831;FLL;HOU                   MISTO OPANAS           TERNOPILSKA OBLAST       UA   59881   129710603@AIRLINE.KIWI.COM
NUXCPN   11/12/2020   OB   11/26/2020   WN;2443;MCO;MDW;WN;6583;MDW;AUS   WEST AARONFURT         NE                       US   99389   129711109@AIRLINE.KIWI.COM
NUXCPN   11/12/2020   OB   11/26/2020   WN;2443;MCO;MDW;WN;6583;MDW;AUS   WEST AARONFURT         NE                       US   99389   129711109@AIRLINE.KIWI.COM
NVJOEH   11/12/2020   OB   11/12/2020   WN;499;DTW;MDW;WN;499;MDW;HOU     EAST ANGELAMOUTH       IA                       US   73754   129711428@AIRLINE.KIWI.COM
NXX2GT   11/12/2020   OB   12/14/2020   WN;3413;RNO;LAS                   ABBOTTVIEW             PA                       US    4580   129712781@AIRLINE.KIWI.COM
NXXHAA   11/12/2020   OB   12/19/2020   WN;1483;SAT;BWI                   WEST GARY              ID                       US   67091   129712979@AIRLINE.KIWI.COM
NXXHAA   11/12/2020   RT     1/3/2021   WN;4601;BWI;SAT                   WEST GARY              ID                       US   67091   129712979@AIRLINE.KIWI.COM




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NY2SFP   11/12/2020   OB    1/28/2021   WN;2775;DAL;LGA                   LAKE STEPHANIEBOROUG   DE                  US    89790   129713012@AIRLINE.KIWI.COM
NY2SFP   11/12/2020   OB    1/28/2021   WN;2775;DAL;LGA                   LAKE STEPHANIEBOROUG   DE                  US    89790   129713012@AIRLINE.KIWI.COM
NY5UHP   11/12/2020   OB     2/1/2021   WN;3346;LGA;DAL                   ENGLISHBURGH           ND                  US     4645   129713012@AIRLINE.KIWI.COM
NY5UHP   11/12/2020   OB     2/1/2021   WN;3346;LGA;DAL                   ENGLISHBURGH           ND                  US     4645   129713012@AIRLINE.KIWI.COM
NYCLDM   11/12/2020   OB   11/24/2020   WN;1057;MIA;HOU;WN;2754;HOU;AUS   SIGNAGI                IMERETI             GE    66049   129713111@AIRLINE.KIWI.COM
NZO862   11/12/2020   OB    12/5/2020   WN;3727;OKC;STL;WN;4731;STL;DSM   SOUTH ANTHONY          DE                  US    85366   129713826@AIRLINE.KIWI.COM
NZRE25   11/12/2020   OB    12/5/2020   WN;4347;TUS;LAS;WN;1146;LAS;LAX   JESSICAHAVEN           FL                  US    35259   129713804@AIRLINE.KIWI.COM
O3N725   11/12/2020   OB   11/13/2020   WN;642;OAK;DEN;WN;1230;DEN;CLE    ALLENBURGH             CA                  US     4355   129714739@AIRLINE.KIWI.COM
O4BIBX   11/12/2020   OB   12/31/2020   WN;4191;MSP;MDW                   SOUTH ERICPORT         IA                  US    24444   129715113@AIRLINE.KIWI.COM
O4IXH8   11/12/2020   OB    12/6/2020   WN;2199;DAL;FLL                   CHARLESTON             MO                  US    15526   129715080@AIRLINE.KIWI.COM
O4IXH8   11/12/2020   OB    12/6/2020   WN;2199;DAL;FLL                   CHARLESTON             MO                  US    15526   129715080@AIRLINE.KIWI.COM
O4IXH8   11/12/2020   OB    12/6/2020   WN;2199;DAL;FLL                   CHARLESTON             MO                  US    15526   129715080@AIRLINE.KIWI.COM
O4IXH8   11/12/2020   RT   12/15/2020   WN;3209;FLL;DAL                   CHARLESTON             MO                  US    15526   129715080@AIRLINE.KIWI.COM
O4IXH8   11/12/2020   RT   12/15/2020   WN;3209;FLL;DAL                   CHARLESTON             MO                  US    15526   129715080@AIRLINE.KIWI.COM
O4IXH8   11/12/2020   RT   12/15/2020   WN;3209;FLL;DAL                   CHARLESTON             MO                  US    15526   129715080@AIRLINE.KIWI.COM
O4UVMQ   11/12/2020   OB   12/26/2020   WN;115;MEM;MDW;WN;2273;MDW;MSP    ORTIZSTAD              KY                  US    82922   129715113@AIRLINE.KIWI.COM
O5WU5F   11/12/2020   OB     1/9/2021   WN;4683;LAS;HOU                   CLIFFORDVIEW           OK                  US    43697   129715861@AIRLINE.KIWI.COM
O5WU5F   11/12/2020   OB     1/9/2021   WN;4683;LAS;HOU                   CLIFFORDVIEW           OK                  US    43697   129715861@AIRLINE.KIWI.COM
O5WU5F   11/12/2020   OB     1/9/2021   WN;4683;LAS;HOU                   CLIFFORDVIEW           OK                  US    43697   129715861@AIRLINE.KIWI.COM
O66GXE   11/12/2020   OB     1/6/2021   WN;545;HOU;LAS                    KNOXMOUTH              KY                  US     3889   129715861@AIRLINE.KIWI.COM
O66GXE   11/12/2020   OB     1/6/2021   WN;545;HOU;LAS                    KNOXMOUTH              KY                  US     3889   129715861@AIRLINE.KIWI.COM
O66GXE   11/12/2020   OB     1/6/2021   WN;545;HOU;LAS                    KNOXMOUTH              KY                  US     3889   129715861@AIRLINE.KIWI.COM
O8JB45   11/12/2020   OB   12/15/2020   WN;1914;LGA;MDW;WN;4491;MDW;DTW   WEST KYLE              GA                  US     8658   129717137@AIRLINE.KIWI.COM
OB2YGF   11/12/2020   OB    12/1/2020   WN;3333;DEN;ATL                   TAI DONG XIAN          HSINCHUI CITY       TW    50255   129718589@AIRLINE.KIWI.COM
OB32WL   11/12/2020   OB    12/7/2020   WN;3203;BNA;FLL                   SOUTH PETER            NM                  US    15478   129718633@AIRLINE.KIWI.COM
OB7G9K   11/12/2020   OB    12/4/2020   WN;4246;FLL;BNA                   NEW JILL               WI                  US    47033   129718446@AIRLINE.KIWI.COM
ODVXTA   11/12/2020   OB   11/27/2020   WN;102;BWI;MIA                    SOUTH STEVENVILLE      WA                  US    27503   129720184@AIRLINE.KIWI.COM
OEM3XN   11/12/2020   OB    12/2/2020   WN;3737;LAX;LAS;WN;3737;LAS;GEG   SOUTH CHRISTOPHERBUR   MA                  US    62824   129720415@AIRLINE.KIWI.COM
OEWBRZ   11/12/2020   OB   12/23/2020   WN;324;BWI;MIA                    PETAJAVESI             LAPPI               FI    16583   129720646@AIRLINE.KIWI.COM
OEZBIQ   11/12/2020   OB   11/25/2020   WN;1063;TPA;MIA                   D BATAISK              KAMCHATSKIY KRAY    RU    24584   129715465@AIRLINE.KIWI.COM
OEZBIQ   11/12/2020   OB   11/25/2020   WN;1063;TPA;MIA                   D BATAISK              KAMCHATSKIY KRAY    RU    24584   129715465@AIRLINE.KIWI.COM
OEZBIQ   11/12/2020   OB   11/25/2020   WN;1063;TPA;MIA                   D BATAISK              KAMCHATSKIY KRAY    RU    24584   129715465@AIRLINE.KIWI.COM
OG73BK   11/12/2020   OB   11/13/2020   WN;653;TUS;LAS;WN;1544;LAS;ONT    NEW MANUEL             WA                  US    22992   129721317@AIRLINE.KIWI.COM
OGZBEM   11/12/2020   OB   11/17/2020   WN;4465;ONT;LAS;WN;2402;LAS;TUS   NEW ELIZABETH          SD                  US    75509   129721317@AIRLINE.KIWI.COM
OHKDTC   11/12/2020   OB   12/19/2020   WN;6841;RNO;DEN                   SAN MICAELA LOS BAJO   JALISCO             MX    37252   129721966@AIRLINE.KIWI.COM
OJVGOZ   11/12/2020   OB   12/29/2020   WN;280;BWI;AUS                    EGER                   HAJDUBIHAR          HU    31782   129723517@AIRLINE.KIWI.COM
OMHDCE   11/12/2020   OB   12/21/2020   WN;154;ATL;LGA                    HUNTLAND               TN                  US    38592   129724870@AIRLINE.KIWI.COM
OMHDCE   11/12/2020   OB   12/21/2020   WN;154;ATL;LGA                    HUNTLAND               TN                  US    38592   129724870@AIRLINE.KIWI.COM
OMHDCE   11/12/2020   RT     1/2/2021   WN;2271;LGA;ATL                   HUNTLAND               TN                  US    38592   129724870@AIRLINE.KIWI.COM
OMHDCE   11/12/2020   RT     1/2/2021   WN;2271;LGA;ATL                   HUNTLAND               TN                  US    38592   129724870@AIRLINE.KIWI.COM
OMYUK3   11/12/2020   OB   11/12/2020   WN;6986;CMH;MDW;WN;530;MDW;DTW    PORT LEONARDBURGH      BRASOV              RO    11882   129725200@AIRLINE.KIWI.COM
ONSLBV   11/12/2020   OB   11/30/2020   WN;2998;DEN;FLL                   WEST AMY               IA                  US     5035   129722021@AIRLINE.KIWI.COM
OQXEVK   11/12/2020   OB   12/19/2020   WN;2269;ATL;MCO;WN;29;MCO;SAT     FISHERVIEW             AR                  US    79359   129727730@AIRLINE.KIWI.COM
PB3EJ9   11/12/2020   OB   12/13/2020   WN;4608;PHX;LAX                   MADSEN                 OSLO                NO     6684   129748916@AIRLINE.KIWI.COM
PGAFDH   11/12/2020   OB   11/12/2020   WN;664;TPA;MSY                    EAST TINA              AL                  US     2124   129754922@AIRLINE.KIWI.COM
PHMWN6   11/12/2020   OB   11/29/2020   WN;4193;MEM;MDW;WN;4193;MDW;DTW   COOKMOUTH              PA                  US    94502   129756462@AIRLINE.KIWI.COM
PJEPFH   11/12/2020   OB   12/14/2020   WN;4297;PIT;DEN;WN;2642;DEN;OAK   PORT KAYLASHIRE        PA                  US    40844   129759608@AIRLINE.KIWI.COM
PKLEAJ   11/12/2020   OB   12/12/2020   WN;1919;BWI;ATL                   EAST GARY              PA                  US    99100   129760895@AIRLINE.KIWI.COM
PKLEAJ   11/12/2020   RT   12/17/2020   WN;631;ATL;BWI                    EAST GARY              PA                  US    99100   129760895@AIRLINE.KIWI.COM
PNNXAC   11/12/2020   OB   12/31/2020   WN;244;BOS;BWI;WN;2221;BWI;MIA    OLIVEIRA DO SUL        SERGIPE             BR    62514   129764470@AIRLINE.KIWI.COM
PNUNE3   11/12/2020   OB   11/26/2020   WN;2746;ATL;FLL                   SEONGNAMSI             SEOUL TEUGBYEOLSI   KR    18501   129764778@AIRLINE.KIWI.COM
POMWCM   11/12/2020   OB   11/14/2020   WN;2878;HOU;MDW                   CHARLOTTESHIRE         AR                  US    64763   129765625@AIRLINE.KIWI.COM
PP642V   11/12/2020   OB   11/28/2020   WN;6505;TUL;PHX                   NEW BRENDASTAD         NV                  US    15305   129766043@AIRLINE.KIWI.COM
PPQEAI   11/12/2020   OB   11/28/2020   WN;6505;TUL;PHX                   TIMOTHYTON             IA                  US      592   129766450@AIRLINE.KIWI.COM
PRIABW   11/12/2020   OB   11/24/2020   WN;2965;DEN;AUS                   BROWNHAVEN             FL                  US    42268   129768001@AIRLINE.KIWI.COM
PRNJH5   11/12/2020   OB   11/23/2020   WN;2784;MDW;OMA                   SOUTH ROBERT           NH                  US    53810   129768826@AIRLINE.KIWI.COM
PT4Q33   11/12/2020   OB    12/1/2020   WN;3333;DEN;ATL                   SIMPSONFORT            OK                  US    31562   129769860@AIRLINE.KIWI.COM
PVBGFN   11/12/2020   OB   12/15/2020   WN;3995;RDU;BWI                   SANTOS                 MINAS GERAIS        BR    40420   129773182@AIRLINE.KIWI.COM
PVDQX8   11/12/2020   OB     1/6/2021   WN;1335;RNO;DEN;WN;241;DEN;RDU    PIRES                  PARA                BR    12632   129773182@AIRLINE.KIWI.COM
PVMSJD   11/12/2020   OB   12/26/2020   WN;56;PHX;HOU                     DEBORAHTOWN            MT                  US    14699   129772918@AIRLINE.KIWI.COM
PVMSJD   11/12/2020   OB   12/26/2020   WN;56;PHX;HOU                     DEBORAHTOWN            MT                  US    14699   129772918@AIRLINE.KIWI.COM
PVX68B   11/12/2020   OB   12/15/2020   WN;2755;BWI;LAS;WN;2755;LAS;RNO   NOGUEIRA DE CORREIA    SERGIPE             BR    63950   129773182@AIRLINE.KIWI.COM
PWQPFQ   11/12/2020   OB   11/12/2020   WN;2008;LAX;SMF                   WHITEMOUTH             WI                  US    45148   129774843@AIRLINE.KIWI.COM
PXEBAW   11/12/2020   OB   11/21/2020   WN;6836;DEN;OKC                   SARAHHAVEN             TX                  US    73568   129775052@AIRLINE.KIWI.COM
PXEBAW   11/12/2020   OB   11/21/2020   WN;6836;DEN;OKC                   SARAHHAVEN             TX                  US    73568   129775052@AIRLINE.KIWI.COM
PXEBAW   11/12/2020   OB   11/21/2020   WN;6836;DEN;OKC                   SARAHHAVEN             TX                  US    73568   129775052@AIRLINE.KIWI.COM
PXHYMP   11/12/2020   OB    12/3/2020   WN;2817;ATL;LGA                   PHILIPMOUTH            MS                  US    27280   129775327@AIRLINE.KIWI.COM
PZCFGA   11/12/2020   OB   11/23/2020   WN;3687;DAL;PHX                   CRAWFORDTON            WV                  US    31007   129777637@AIRLINE.KIWI.COM
PZF3IY   11/12/2020   OB   11/19/2020   WN;781;CLE;BNA;WN;169;BNA;BOS     EAST ZACHARY           AL                  US    53898   129770542@AIRLINE.KIWI.COM
Q229VU   11/12/2020   OB   11/12/2020   WN;339;HOU;MSY                    SOUTH SYLVIA           WA                  US    32645   129778539@AIRLINE.KIWI.COM
Q243QJ   11/12/2020   OB    12/3/2020   WN;4145;MIA;TPA;WN;2606;TPA;DEN   BELLBOROUGH            DE                  US    65230   129778275@AIRLINE.KIWI.COM
Q243QJ   11/12/2020   OB    12/3/2020   WN;4145;MIA;TPA;WN;2606;TPA;DEN   BELLBOROUGH            DE                  US    65230   129778275@AIRLINE.KIWI.COM
Q243QJ   11/12/2020   OB    12/3/2020   WN;4145;MIA;TPA;WN;2606;TPA;DEN   BELLBOROUGH            DE                  US    65230   129778275@AIRLINE.KIWI.COM
Q243QJ   11/12/2020   RT    12/6/2020   WN;2088;DEN;HOU;WN;661;HOU;MIA    BELLBOROUGH            DE                  US    65230   129778275@AIRLINE.KIWI.COM
Q243QJ   11/12/2020   RT    12/6/2020   WN;2088;DEN;HOU;WN;661;HOU;MIA    BELLBOROUGH            DE                  US    65230   129778275@AIRLINE.KIWI.COM
Q243QJ   11/12/2020   RT    12/6/2020   WN;2088;DEN;HOU;WN;661;HOU;MIA    BELLBOROUGH            DE                  US    65230   129778275@AIRLINE.KIWI.COM
Q34EWF   11/12/2020   OB   12/21/2020   WN;484;JAX;HOU                    NORTH CODY             ID                  US    29667   129779386@AIRLINE.KIWI.COM
Q34EWF   11/12/2020   OB   12/21/2020   WN;484;JAX;HOU                    NORTH CODY             ID                  US    29667   129779386@AIRLINE.KIWI.COM
Q3XD9A   11/12/2020   OB     1/2/2021   WN;2096;LGA;BNA;WN;6924;BNA;STL   MILLERBURGH            MN                  US    62447   129780563@AIRLINE.KIWI.COM
Q45RW5   11/12/2020   OB   12/20/2020   WN;1216;STL;MDW;WN;2172;MDW;LGA   NEW TRAVIS             NV                  US    66906   129780563@AIRLINE.KIWI.COM
QB3JN7   11/12/2020   OB   11/26/2020   WN;4732;PWM;BWI;WN;2221;BWI;MIA   MARLENEVIEW            SYDDANMARK          DK    91145   129789264@AIRLINE.KIWI.COM
QBRKDQ   11/12/2020   OB   12/21/2020   WN;831;ATL;CMH                    UNDERWOODFORT          NV                  US    39299   129789495@AIRLINE.KIWI.COM
QDQJV7   11/12/2020   OB    12/8/2020   WN;4557;PHL;DEN                   PORT SHERRYTOWN        LA                  US     9602   129791937@AIRLINE.KIWI.COM
QEBIKO   11/12/2020   OB   11/13/2020   WN;1033;PHX;SAN                   PORT CRYSTAL           IA                  US    80585   129792465@AIRLINE.KIWI.COM
QFJE75   11/12/2020   OB   11/16/2020   WN;2813;HOU;LAX                   LEVYSHIRE              CA                  US    65282   129793158@AIRLINE.KIWI.COM
QFQWHQ   11/12/2020   OB     3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA               ID    59220   129793609@AIRLINE.KIWI.COM
QFQWHQ   11/12/2020   OB     3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA               ID    59220   129793609@AIRLINE.KIWI.COM
QFQWHQ   11/12/2020   OB     3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA               ID    59220   129793609@AIRLINE.KIWI.COM
QFQWHQ   11/12/2020   OB     3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA               ID    59220   129793609@AIRLINE.KIWI.COM
QFQWHQ   11/12/2020   OB     3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA               ID    59220   129793609@AIRLINE.KIWI.COM
QFQWHQ   11/12/2020   OB     3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA               ID    59220   129793609@AIRLINE.KIWI.COM
QH89YV   11/12/2020   OB     1/3/2021   WN;3812;LAS;MCO                   DANIELLEBURGH          MI                  US    88760   129794687@AIRLINE.KIWI.COM
QI53WZ   11/12/2020   OB    12/6/2020   WN;2510;BOS;MDW                   JOHNSONVILLE           VA                  US    77148   129795644@AIRLINE.KIWI.COM
QIY2D2   11/12/2020   OB   11/17/2020   WN;2461;RSW;ATL;WN;2938;ATL;PHL   SOUTH WANDAMOUTH       WY                  US    51199   129796326@AIRLINE.KIWI.COM
QJAGEI   11/12/2020   OB    12/1/2020   WN;1432;SEA;SJC;WN;1165;SJC;BUR   NEW BETHANYVIEW        MA                  US    19866   129796425@AIRLINE.KIWI.COM
QJKZCH   11/12/2020   OB   11/13/2020   WN;1213;MDW;HOU;WN;999;HOU;SAT    DARRENTON              IN                  US    69693   129797118@AIRLINE.KIWI.COM
QKHK7I   11/12/2020   OB   12/23/2020   WN;3983;ATL;FLL;WN;3983;FLL;BUF   SOUTH KELSEYVILLE      OH                  US    70860   129797569@AIRLINE.KIWI.COM
QLJWVU   11/12/2020   OB   12/25/2020   WN;397;LAS;PHX                    DIXONTON               MN                  US    23923   129796832@AIRLINE.KIWI.COM
QN644V   11/12/2020   OB   12/18/2020   WN;6828;ATL;LAS                   NORTH JACQUELINEHAVE   KS                  US    17818   128688714.1499720@AIRLINE.KIWI.COM
QNE9UQ   11/12/2020   OB   12/24/2020   WN;4078;MIA;MDW                   EAST CHRISTOPHER       HI                  US    13475   129799560@AIRLINE.KIWI.COM
QNKZJ4   11/12/2020   OB   12/23/2020   WN;2054;ONT;LAS                   NORTH ROBERTFORT       NV                  US    99441   129799725@AIRLINE.KIWI.COM
QNKZJ4   11/12/2020   RT     1/4/2021   WN;1073;LAS;ONT                   NORTH ROBERTFORT       NV                  US    99441   129799725@AIRLINE.KIWI.COM
QNNRY3   11/12/2020   OB   12/24/2020   WN;3426;MDW;OMA                   PETERSMOUTH            VA                  US    83385   129799692@AIRLINE.KIWI.COM
QO2UBN   11/12/2020   OB    12/1/2020   WN;1261;LAS;PHX                   EAST JOESHIRE          FL                  US    67759   129800176@AIRLINE.KIWI.COM
QPSNQD   11/13/2020   OB   11/20/2020   WN;900;BNA;BWI;WN;1245;BWI;BOS    NEW CARLVILLE          NC                  US    50214   129801100@AIRLINE.KIWI.COM
QQSE8L   11/13/2020   OB   11/24/2020   WN;1638;LGB;SMF                   WATTSCHESTER           NH                  US    48098   129801573@AIRLINE.KIWI.COM
QQSE8L   11/13/2020   OB   11/24/2020   WN;1638;LGB;SMF                   WATTSCHESTER           NH                  US    48098   129801573@AIRLINE.KIWI.COM




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QQSE8L   11/13/2020   RT   11/27/2020   WN;1167;SMF;LGB                   WATTSCHESTER           NH                   US   48098   129801573@AIRLINE.KIWI.COM
QQSE8L   11/13/2020   RT   11/27/2020   WN;1167;SMF;LGB                   WATTSCHESTER           NH                   US   48098   129801573@AIRLINE.KIWI.COM
QRM5CY   11/13/2020   OB    12/7/2020   WN;3262;FLL;MDW                   TYLERHAVEN             NM                   US   41401   129801540@AIRLINE.KIWI.COM
QRM5CY   11/13/2020   OB    12/7/2020   WN;3262;FLL;MDW                   TYLERHAVEN             NM                   US   41401   129801540@AIRLINE.KIWI.COM
QS4INS   11/13/2020   OB    1/15/2021   WN;2234;LAX;STL;WN;2234;STL;BNA   EAST BRYAN             AK                   US   68102   129802057@AIRLINE.KIWI.COM
QS4INS   11/13/2020   OB    1/15/2021   WN;2234;LAX;STL;WN;2234;STL;BNA   EAST BRYAN             AK                   US   68102   129802057@AIRLINE.KIWI.COM
QS4INS   11/13/2020   RT    1/18/2021   WN;2809;BNA;LAX                   EAST BRYAN             AK                   US   68102   129802057@AIRLINE.KIWI.COM
QS4INS   11/13/2020   RT    1/18/2021   WN;2809;BNA;LAX                   EAST BRYAN             AK                   US   68102   129802057@AIRLINE.KIWI.COM
QS7KNJ   11/13/2020   OB   11/23/2020   WN;3717;TUL;LAS;WN;1848;LAS;SMF   NORTH PRESTON          NC                   US   65736   129801936@AIRLINE.KIWI.COM
QS7KNJ   11/13/2020   OB   11/23/2020   WN;3717;TUL;LAS;WN;1848;LAS;SMF   NORTH PRESTON          NC                   US   65736   129801936@AIRLINE.KIWI.COM
QTGRGQ   11/13/2020   OB   11/17/2020   WN;2675;BWI;CLT                   LAKE REBECCATON        MD                   US   46659   129802684@AIRLINE.KIWI.COM
QUQ4JX   11/13/2020   OB   11/13/2020   WN;1817;LAX;OAK                   PORT NANCY             SD                   US   53727   129803102@AIRLINE.KIWI.COM
QV8YTS   11/13/2020   OB   12/18/2020   WN;452;SAT;BNA;WN;1368;BNA;DCA    BENNETTCHESTER         MD                   US   30918   129803311@AIRLINE.KIWI.COM
QV8YTS   11/13/2020   RT     1/3/2021   WN;3364;DCA;HOU;WN;2759;HOU;SAT   BENNETTCHESTER         MD                   US   30918   129803311@AIRLINE.KIWI.COM
QWBIYK   11/13/2020   OB   12/21/2020   WN;1184;STL;DEN                   SANTOS DO SUL          SANTA CATARINA       BR   95764   129803850@AIRLINE.KIWI.COM
QWFQ6S   11/13/2020   OB    1/20/2021   WN;3167;MSP;DEN                   STEVENMOUTH            MD                   US   18246   129803993@AIRLINE.KIWI.COM
QWFQ6S   11/13/2020   OB    1/20/2021   WN;3167;MSP;DEN                   STEVENMOUTH            MD                   US   18246   129803993@AIRLINE.KIWI.COM
QXI4DT   11/13/2020   OB   12/27/2020   WN;4060;PBI;MDW;WN;6885;MDW;SLC   SOUTH LUKE             ID                   US   29231   129805104@AIRLINE.KIWI.COM
QY622W   11/13/2020   OB   11/13/2020   WN;353;MDW;MEM                    WEST BRENDAPORT        NH                   US   87691   129805324@AIRLINE.KIWI.COM
QY9ZHW   11/13/2020   OB   11/13/2020   WN;886;MCO;BNA                    EAST KAYLAFORT         VT                   US   55241   129804620@AIRLINE.KIWI.COM
R249UF   11/13/2020   OB   11/27/2020   WN;1063;TPA;MIA                   WEST MICHELE           NC                   US   78471   129806479@AIRLINE.KIWI.COM
R2H8JS   11/13/2020   OB   12/15/2020   WN;4873;SMF;LAS                   D OREKHOVOZUEVO        ROSTOVSKAYA OBLAST   RU   89676   129805467@AIRLINE.KIWI.COM
R37635   11/13/2020   OB   11/27/2020   WN;562;FLL;HOU                    CLINESHIRE             DE                   US   47570   129807315@AIRLINE.KIWI.COM
R388CC   11/13/2020   OB   11/22/2020   WN;325;MCO;MDW;WN;6999;MDW;CLT    SOUTH BRENDA           KS                   US   42605   129807425@AIRLINE.KIWI.COM
R4Q864   11/13/2020   OB   12/15/2020   WN;2761;JAX;BWI                   EAST HARRY             AK                   US   26122   129807975@AIRLINE.KIWI.COM
R4Q864   11/13/2020   RT     1/5/2021   WN;472;BWI;JAX                    EAST HARRY             AK                   US   26122   129807975@AIRLINE.KIWI.COM
R6CSML   11/13/2020   OB   11/15/2020   WN;643;LAS;LAX                    LAURAPORT              SD                   US    1863   129808756@AIRLINE.KIWI.COM
R6NYE5   11/13/2020   OB   11/28/2020   WN;6504;PHX;TUL                   EAST BRADTON           OR                   US   90506   129809108@AIRLINE.KIWI.COM
R7ISZ4   11/13/2020   OB   11/29/2020   WN;1284;PSP;PHX;WN;3997;PHX;ATL   WEST JAMES             ND                   US   43458   129809581@AIRLINE.KIWI.COM
R88QTP   11/13/2020   OB   11/23/2020   WN;3485;HOU;MIA                   POWELLSHIRE            KILDARE              IE   33931   129809867@AIRLINE.KIWI.COM
R92AZN   11/13/2020   OB   12/31/2020   WN;2357;IND;ATL                   NEW WENDY              MA                   US   92412   129810384@AIRLINE.KIWI.COM
R92AZN   11/13/2020   OB   12/31/2020   WN;2357;IND;ATL                   NEW WENDY              MA                   US   92412   129810384@AIRLINE.KIWI.COM
R9LBW5   11/13/2020   OB     1/5/2021   WN;2888;CLT;DEN                   MISTO MILENA           LVIVSKA OBLAST       UA   73629   129810142@AIRLINE.KIWI.COM
R9LBW5   11/13/2020   OB     1/5/2021   WN;2888;CLT;DEN                   MISTO MILENA           LVIVSKA OBLAST       UA   73629   129810142@AIRLINE.KIWI.COM
R9WHA7   11/13/2020   OB   12/27/2020   WN;2441;LAX;SLC                   IANAZOVCHESTER         PLEVEN               BG   81846   129810439@AIRLINE.KIWI.COM
R9WHA7   11/13/2020   OB   12/27/2020   WN;2441;LAX;SLC                   IANAZOVCHESTER         PLEVEN               BG   81846   129810439@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   OB   12/20/2020   WN;394;FLL;ATL                    WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   OB   12/20/2020   WN;394;FLL;ATL                    WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   OB   12/20/2020   WN;394;FLL;ATL                    WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   OB   12/20/2020   WN;394;FLL;ATL                    WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   OB   12/20/2020   WN;394;FLL;ATL                    WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   RT     1/1/2021   WN;4207;ATL;FLL                   WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   RT     1/1/2021   WN;4207;ATL;FLL                   WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   RT     1/1/2021   WN;4207;ATL;FLL                   WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   RT     1/1/2021   WN;4207;ATL;FLL                   WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RAVC9Q   11/13/2020   RT     1/1/2021   WN;4207;ATL;FLL                   WALKERMOUTH            AL                   US   94211   129811352@AIRLINE.KIWI.COM
RBSHRF   11/13/2020   OB   11/22/2020   WN;6890;DEN;SMF                   NEW MARGARETSIDE       VT                   US   27426   129811627@AIRLINE.KIWI.COM
RCUDFW   11/13/2020   OB    12/6/2020   WN;4743;RDU;ATL;WN;4115;ATL;MSY   NEW BOBMOUTH           AL                   US   41164   129812507@AIRLINE.KIWI.COM
RD9WH2   11/13/2020   OB    12/4/2020   WN;1236;DEN;SAT                   SMITHVIEW              IN                   US   15181   129812518@AIRLINE.KIWI.COM
RE2M7Q   11/13/2020   OB   11/20/2020   WN;891;MSP;MCO                    BELLSIDE               TX                   US   21592   129812804@AIRLINE.KIWI.COM
RE5FKU   11/13/2020   OB   11/24/2020   WN;1887;MSY;HOU                   JAMESFURT              UT                   US   38024   129812815@AIRLINE.KIWI.COM
RE85DB   11/13/2020   OB   12/26/2020   WN;22;LAS;BOI                     NORTH NICHOLASSTAD     VA                   US   38540   129808668@AIRLINE.KIWI.COM
RED8MJ   11/13/2020   OB   11/13/2020   WN;135;ATL;STL                    LAKE DIANEMOUTH        NM                   US   33783   129812925@AIRLINE.KIWI.COM
RFD6VG   11/13/2020   OB    1/19/2021   WN;2205;DEN;ABQ                   ATTNANGPUCHHEIM        VORARLBERG           AT   59264   129813266@AIRLINE.KIWI.COM
RHDH2M   11/13/2020   OB   11/13/2020   WN;827;OAK;LAS                    PORT THOMASSTAD        MA                   US   95236   129814102@AIRLINE.KIWI.COM
RIN6C7   11/13/2020   OB    12/4/2020   WN;1948;PWM;BWI                   ANTHONYBOROUGH         NE                   US    1580   129814993@AIRLINE.KIWI.COM
RK269U   11/13/2020   OB   12/26/2020   WN;1806;DEN;ATL                   NORTH DAVIDTON         TN                   US    2405   129815983@AIRLINE.KIWI.COM
RK269U   11/13/2020   RT     1/3/2021   WN;1896;ATL;BNA;WN;4695;BNA;DEN   NORTH DAVIDTON         TN                   US    2405   129815983@AIRLINE.KIWI.COM
RKC5II   11/13/2020   OB     1/3/2021   WN;1860;DEN;ATL                   NEW JOHN               KS                   US   12086   129815829@AIRLINE.KIWI.COM
RKC5II   11/13/2020   OB     1/3/2021   WN;1860;DEN;ATL                   NEW JOHN               KS                   US   12086   129815829@AIRLINE.KIWI.COM
RKC5II   11/13/2020   OB     1/3/2021   WN;1860;DEN;ATL                   NEW JOHN               KS                   US   12086   129815829@AIRLINE.KIWI.COM
RLLMSG   11/13/2020   OB     1/4/2021   WN;738;PDX;SJC                    REBECCATOWN            LA                   US   85310   129816753@AIRLINE.KIWI.COM
RLWMDN   11/13/2020   OB   12/23/2020   WN;3525;BWI;AUS                   LAKE BARBARAVILLE      CT                   US   28850   129817039@AIRLINE.KIWI.COM
RPGTH2   11/13/2020   OB    12/8/2020   WN;1454;DEN;MSP                   ROBBINSMOUTH           SD                   US   90003   129819052@AIRLINE.KIWI.COM
RQKISA   11/13/2020   OB   11/20/2020   WN;638;TUL;DEN;WN;1164;DEN;SJC    LAKE JOSHUAMOUTH       NV                   US   99646   129819833@AIRLINE.KIWI.COM
RYMP2P   11/13/2020   OB   12/20/2020   WN;413;LAS;LAX                    CYNTHIABURGH           NC                   US   19100   129827951@AIRLINE.KIWI.COM
RYMP2P   11/13/2020   OB   12/20/2020   WN;413;LAS;LAX                    CYNTHIABURGH           NC                   US   19100   129827951@AIRLINE.KIWI.COM
RYWOTR   11/13/2020   OB   12/20/2020   WN;413;LAS;LAX                    LAKE JOANNMOUTH        TX                   US   69921   129827951@AIRLINE.KIWI.COM
RYWOTR   11/13/2020   OB   12/20/2020   WN;413;LAS;LAX                    LAKE JOANNMOUTH        TX                   US   69921   129827951@AIRLINE.KIWI.COM
S245I3   11/13/2020   OB   11/27/2020   WN;1123;BWI;FLL                   SOUTH SARAH            NH                   US    9348   129829293@AIRLINE.KIWI.COM
S8B6D6   11/13/2020   OB   12/26/2020   WN;1670;PIT;BWI;WN;1398;BWI;RDU   PORT ANDREW            UT                   US   15298   129836091@AIRLINE.KIWI.COM
S8FWJ9   11/13/2020   OB    12/4/2020   WN;1236;DEN;SAT                   NEW JENNIFERPORT       ID                   US   66442   129836652@AIRLINE.KIWI.COM
SHOXPU   11/13/2020   OB   12/31/2020   WN;4141;MIA;TPA                   LAKE AMYPORT           NC                   US   67314   129847311@AIRLINE.KIWI.COM
SIEB2V   11/13/2020   OB   11/15/2020   WN;749;SAT;BWI                    PORT ALLISONFORT       NM                   US   84817   129847993@AIRLINE.KIWI.COM
SKYKX6   11/13/2020   OB   11/13/2020   WN;1149;LAX;SMF                   SOUTH VALERIE          IL                   US   86780   129850820@AIRLINE.KIWI.COM
SPH4UY   11/13/2020   OB   11/21/2020   WN;988;MCO;BNA;WN;1486;BNA;LAX    LAKE RONALD            AK                   US   15024   129855583@AIRLINE.KIWI.COM
SPSQWJ   11/13/2020   OB   11/21/2020   WN;988;MCO;BNA;WN;1486;BNA;LAX    SOUTH MARC             VT                   US   81622   129855583@AIRLINE.KIWI.COM
SPZSHZ   11/13/2020   OB    12/4/2020   WN;3611;MDW;PHX                   SOUTH LAURENFORT       OK                   US   80765   129856089@AIRLINE.KIWI.COM
SPZSHZ   11/13/2020   OB    12/4/2020   WN;3611;MDW;PHX                   SOUTH LAURENFORT       OK                   US   80765   129856089@AIRLINE.KIWI.COM
SPZSHZ   11/13/2020   OB    12/4/2020   WN;3611;MDW;PHX                   SOUTH LAURENFORT       OK                   US   80765   129856089@AIRLINE.KIWI.COM
SQ6WPV   11/13/2020   OB    12/8/2020   WN;3841;PHX;MDW                   NORTH STEVEN           MD                   US   88911   129856617@AIRLINE.KIWI.COM
SR877K   11/13/2020   OB    12/7/2020   WN;3841;PHX;MDW                   NORTH JOHNMOUTH        MN                   US    9261   129857112@AIRLINE.KIWI.COM
SRMGHY   11/13/2020   OB   11/15/2020   WN;1461;SJC;PHX                   ZALEC                  TRNOVSKA VAS         SI   23743   129857706@AIRLINE.KIWI.COM
SRSADA   11/13/2020   OB   12/13/2020   WN;2817;DAL;ATL                   SOUTH CHRISTINECHEST   ND                   US   80984   129858509@AIRLINE.KIWI.COM
SRSADA   11/13/2020   OB   12/13/2020   WN;2817;DAL;ATL                   SOUTH CHRISTINECHEST   ND                   US   80984   129858509@AIRLINE.KIWI.COM
SS2WR3   11/13/2020   OB   11/19/2020   WN;1116;MDW;ATL;WN;910;ATL;RDU    SABRINAFURT            FL                   US   22227   129858168@AIRLINE.KIWI.COM
SS2WR3   11/13/2020   RT    12/1/2020   WN;807;RDU;MDW                    SABRINAFURT            FL                   US   22227   129858168@AIRLINE.KIWI.COM
SSYKKT   11/13/2020   OB   11/21/2020   WN;1486;BNA;LAX                   THOMPSONTOWN           VT                   US   84644   129859367@AIRLINE.KIWI.COM
ST9ADZ   11/13/2020   OB   11/13/2020   WN;2008;LAX;SMF                   LAKE JACOB             CO                   US   63032   129859994@AIRLINE.KIWI.COM
STGQEZ   11/13/2020   OB   12/26/2020   WN;2294;DEN;LIT                   ANDREAMOUTH            WY                   US   40531   129859389@AIRLINE.KIWI.COM
STGQEZ   11/13/2020   OB   12/26/2020   WN;2294;DEN;LIT                   ANDREAMOUTH            WY                   US   40531   129859389@AIRLINE.KIWI.COM
SU5JUK   11/13/2020   OB   12/28/2020   WN;45;GEG;DEN                     BRIANBERG              IA                   US   75997   129860775@AIRLINE.KIWI.COM
SUABEV   11/13/2020   OB   11/13/2020   WN;1253;OAK;BUR                   NEW ROBINTON           AR                   US   57349   129861402@AIRLINE.KIWI.COM
SUMZOY   11/13/2020   OB   11/21/2020   WN;4353;HOU;STL;WN;2005;STL;LGA   AMANDAHAVEN            AK                   US   60052   129860830@AIRLINE.KIWI.COM
SUZJZI   11/13/2020   OB    12/1/2020   WN;658;HOU;MDW;WN;1138;MDW;DCA    KEITHHAVEN             OH                   US   31876   129861468@AIRLINE.KIWI.COM
SV7MI3   11/13/2020   OB     1/2/2021   WN;1764;BWI;AUS                   CNBAA                  KARNATAKA            IN   45642   129861677@AIRLINE.KIWI.COM
SWJBPC   11/13/2020   OB    12/1/2020   WN;101;PHX;LAX                    NEW BRANDONMOUTH       AR                   US   15322   129863481@AIRLINE.KIWI.COM
SZK2FG   11/13/2020   OB   11/24/2020   WN;1896;DEN;BWI                   S SALEKHARD            ROSTOVSKAYA OBLAST   RU   59573   129864592@AIRLINE.KIWI.COM
SZUKSA   11/13/2020   OB   11/23/2020   WN;4148;MCO;MDW;WN;3747;MDW;CLT   EAST LAURA             ID                   US    6871   129867386@AIRLINE.KIWI.COM
SZUKSA   11/13/2020   OB   11/23/2020   WN;4148;MCO;MDW;WN;3747;MDW;CLT   EAST LAURA             ID                   US    6871   129867386@AIRLINE.KIWI.COM
T2LCED   11/13/2020   OB    12/6/2020   WN;2817;DAL;ATL                   SOUTH TIFFANYBURY      AZ                   US   71050   129868486@AIRLINE.KIWI.COM
T45OBP   11/13/2020   OB   11/26/2020   WN;845;MSP;MDW                    JACKSONSHIRE           RI                   US   98651   129870015@AIRLINE.KIWI.COM
T57U49   11/13/2020   OB   11/13/2020   WN;1568;ATL;MEM                   SOUTH TRACYPORT        MA                   US   25322   129871302@AIRLINE.KIWI.COM
T57U49   11/13/2020   OB   11/13/2020   WN;1568;ATL;MEM                   SOUTH TRACYPORT        MA                   US   25322   129871302@AIRLINE.KIWI.COM
T6KX9D   11/13/2020   OB   12/20/2020   WN;851;DEN;STL;WN;763;STL;LIT     NORTH GREGORY          IL                   US   71103   129873436@AIRLINE.KIWI.COM
T8H43K   11/13/2020   OB    12/7/2020   WN;2938;ATL;PHL                   SEANSIDE               MD                   US   71968   129874382@AIRLINE.KIWI.COM
TA9LDL   11/13/2020   OB    12/8/2020   WN;3121;ATL;MDW                   ROSSFORT               VA                   US   39359   129876417@AIRLINE.KIWI.COM




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TAAVGG   11/13/2020   OB   11/26/2020   WN;2221;BWI;MIA                   WISEVILLE              HI                     US   13399   129876307@AIRLINE.KIWI.COM
TAHKKS   11/13/2020   OB   12/11/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   NEW MEREDITHMOUTH      SC                     US   35316   129876725@AIRLINE.KIWI.COM
TB7FOO   11/13/2020   OB   12/11/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   EAST CHRISTINE         PA                     US   14485   129877330@AIRLINE.KIWI.COM
TCHVNR   11/13/2020   OB   11/23/2020   WN;2942;SLC;SMF                   RACHELMOUTH            NH                     US   56547   129878309@AIRLINE.KIWI.COM
TD8A8E   11/13/2020   OB   11/20/2020   WN;277;BOS;BWI;WN;331;BWI;MIA     WEST ANDREWSHIRE       HI                     US   54846   129879552@AIRLINE.KIWI.COM
TFEMSV   11/13/2020   OB   11/15/2020   WN;643;LAS;LAX                    REBEKAHTON             MD                     US   55195   129882104@AIRLINE.KIWI.COM
TIUOJ6   11/13/2020   OB   11/25/2020   WN;3270;MDW;BNA                   RAMOSCHESTER           GA                     US   76987   129884843@AIRLINE.KIWI.COM
TJLGDC   11/13/2020   OB   12/27/2020   WN;4787;MDW;BWI                   MASONTON               MA                     US   28581   129885316@AIRLINE.KIWI.COM
TKHOE5   11/13/2020   OB   12/28/2020   WN;1202;BOS;MDW;WN;593;MDW;DEN    SOUTH MARY             MI                     US   85295   129885789@AIRLINE.KIWI.COM
TKLMXQ   11/13/2020   OB   12/24/2020   WN;3020;BOI;LAS;WN;397;LAS;PHX    MARTINEZHAVEN          IN                     US    4259   129886383@AIRLINE.KIWI.COM
TKLMXQ   11/13/2020   RT     1/3/2021   WN;4808;PHX;SMF;WN;1971;SMF;BOI   MARTINEZHAVEN          IN                     US    4259   129886383@AIRLINE.KIWI.COM
TLHHZP   11/13/2020   OB   11/16/2020   WN;413;PDX;LAS;WN;413;LAS;LAX     KLKH ALAGIR            BURYATIYA RESPUBLIKA   RU   56695   129883886@AIRLINE.KIWI.COM
TMCUCR   11/13/2020   OB    12/1/2020   WN;2168;PHX;DAL                   SOUTH SHAWNA           AL                     US    5821   129887538@AIRLINE.KIWI.COM
TMQ563   11/13/2020   OB    12/2/2020   WN;2817;DAL;ATL                   EMILYCHESTER           OK                     US   63410   129887538@AIRLINE.KIWI.COM
TPAW4Y   11/13/2020   OB    12/4/2020   WN;2383;BWI;DEN                   JAMESSHIRE             OR                     US   21984   129889166@AIRLINE.KIWI.COM
TRZ4D7   11/14/2020   OB    12/5/2020   WN;3973;ORF;BWI;WN;4355;BWI;TPA   NORTH DANIELLE         WY                     US   52289   129891531@AIRLINE.KIWI.COM
TS5992   11/14/2020   OB   11/27/2020   WN;1522;SMF;LAX                   ROBERTSTON             DE                     US    3370   129891575@AIRLINE.KIWI.COM
TS5992   11/14/2020   OB   11/27/2020   WN;1522;SMF;LAX                   ROBERTSTON             DE                     US    3370   129891575@AIRLINE.KIWI.COM
TSELV7   11/14/2020   OB    2/15/2021   WN;2026;ATL;DEN                   WEST KRISTINSTAD       FL                     US   36130   129891542@AIRLINE.KIWI.COM
TSVVXB   11/14/2020   OB   12/14/2020   WN;4118;MDW;PHX                   SOUTH CODY             NJ                     US   92305   129892334@AIRLINE.KIWI.COM
TSZJFI   11/14/2020   OB    2/15/2021   WN;2026;ATL;DEN                   PORT JASMIN            DE                     US   80196   129891982@AIRLINE.KIWI.COM
TTLBNJ   11/14/2020   OB   12/11/2020   WN;4615;PHX;MDW                   SOUTH BRENDA           WA                     US   49681   129892334@AIRLINE.KIWI.COM
TW58YU   11/14/2020   OB   12/17/2020   WN;815;CMH;MDW;WN;1011;MDW;MIA    PORT SAMANTHASTAD      WA                     US   85773   129894336@AIRLINE.KIWI.COM
TW58YU   11/14/2020   RT   12/22/2020   WN;1051;MIA;BWI;WN;692;BWI;CMH    PORT SAMANTHASTAD      WA                     US   85773   129894336@AIRLINE.KIWI.COM
TWN5RB   11/14/2020   OB   12/17/2020   WN;815;CMH;MDW;WN;1011;MDW;MIA    MICHAELSIDE            ND                     US   36155   129894336@AIRLINE.KIWI.COM
TWN5RB   11/14/2020   RT   12/22/2020   WN;1051;MIA;BWI;WN;692;BWI;CMH    MICHAELSIDE            ND                     US   36155   129894336@AIRLINE.KIWI.COM
TWSSBK   11/14/2020   OB   11/23/2020   WN;4598;ATL;PHL                   EAST COURTNEY          WV                     US   64781   129894677@AIRLINE.KIWI.COM
TWSSBK   11/14/2020   OB   11/23/2020   WN;4598;ATL;PHL                   EAST COURTNEY          WV                     US   64781   129894677@AIRLINE.KIWI.COM
TWV5VQ   11/14/2020   OB    4/11/2021   WN;810;MDW;DEN;WN;1918;DEN;OMA    IDRIJA                 SENCUR                 SI   60528   129894413@AIRLINE.KIWI.COM
TXFTU5   11/14/2020   OB   11/23/2020   WN;4598;ATL;PHL                   LAKE ERICFURT          TN                     US   68542   129894677@AIRLINE.KIWI.COM
TXJEP8   11/14/2020   OB    2/15/2021   WN;2026;ATL;DEN                   BRADYBURGH             NV                     US   14483   129894765@AIRLINE.KIWI.COM
TZKXSK   11/14/2020   OB   11/18/2020   WN;3199;BUF;BWI                   CRAIGPORT              IL                     US   61689   129895799@AIRLINE.KIWI.COM
U2C9IQ   11/14/2020   OB   11/28/2020   WN;695;PHX;LAS                    WEST ROY               SD                     US   34108   129895964@AIRLINE.KIWI.COM
U2ZRD7   11/14/2020   OB    2/15/2021   WN;2026;ATL;DEN                   STONESHIRE             OH                     US   93203   129896481@AIRLINE.KIWI.COM
U336XZ   11/14/2020   OB     1/2/2021   WN;2111;BWI;MDW;WN;2337;MDW;SFO   JIMENEZTOWN            AK                     US   43059   129895810@AIRLINE.KIWI.COM
U3823R   11/14/2020   OB   12/20/2020   WN;909;LAS;BNA                    LAKE MORGANBERG        NC                     US   55075   129896536@AIRLINE.KIWI.COM
U3QC6U   11/14/2020   OB   12/16/2020   WN;244;BOS;BWI;WN;811;BWI;PUJ     BIALOGARD              MALOPOLSKIE            PL   44442   129896470@AIRLINE.KIWI.COM
U3QC6U   11/14/2020   OB   12/16/2020   WN;244;BOS;BWI;WN;811;BWI;PUJ     BIALOGARD              MALOPOLSKIE            PL   44442   129896470@AIRLINE.KIWI.COM
U5R8A8   11/14/2020   OB   12/14/2020   WN;2323;DEN;CLT                   TATEPORT               AL                     US   90896   129897955@AIRLINE.KIWI.COM
U5R8A8   11/14/2020   OB   12/14/2020   WN;2323;DEN;CLT                   TATEPORT               AL                     US   90896   129897955@AIRLINE.KIWI.COM
U5S35N   11/14/2020   OB   12/29/2020   WN;1320;PVD;MCO;WN;2008;MCO;MSY   EAST SAMANTHA          FL                     US   34687   129898010@AIRLINE.KIWI.COM
U5S35N   11/14/2020   RT     1/3/2021   WN;3723;MSY;MDW;WN;4935;MDW;PVD   EAST SAMANTHA          FL                     US   34687   129898010@AIRLINE.KIWI.COM
U5U8JM   11/14/2020   OB    2/15/2021   WN;2026;ATL;DEN                   EAST ABIGAILMOUTH      KY                     US    7866   129897713@AIRLINE.KIWI.COM
U9AG2D   11/14/2020   OB    12/7/2020   WN;3075;MIA;BWI                   WEST CODY              NV                     US   95486   129899660@AIRLINE.KIWI.COM
UAJ2G6   11/14/2020   OB    12/9/2020   WN;3182;AUS;HOU;WN;3294;HOU;MIA   DENNISVIEW             SC                     US   37505   129900133@AIRLINE.KIWI.COM
UFDPBJ   11/14/2020   OB   11/20/2020   WN;1607;BWI;CUN                   WEST KIM               OR                     US   93847   129901937@AIRLINE.KIWI.COM
UFDPBJ   11/14/2020   RT   11/23/2020   WN;1608;CUN;BWI                   WEST KIM               OR                     US   93847   129901937@AIRLINE.KIWI.COM
UHZHJ5   11/14/2020   OB   11/21/2020   WN;1625;SJC;HNL                   SELO VENIIAMIN         SEVASTOPOL             UA   29538   129902663@AIRLINE.KIWI.COM
UJP2YM   11/14/2020   OB   11/21/2020   WN;1625;SJC;HNL                   KHUTIR IAREMA          VOLYNSKA OBLAST        UA   81286   129903389@AIRLINE.KIWI.COM
UJP2YM   11/14/2020   RT   11/29/2020   WN;462;HNL;SJC                    KHUTIR IAREMA          VOLYNSKA OBLAST        UA   81286   129903389@AIRLINE.KIWI.COM
UMJNZN   11/14/2020   OB   11/22/2020   WN;2888;CLT;DEN                   WILLIAMSSHIRE          MN                     US   77229   129904841@AIRLINE.KIWI.COM
UVC7LS   11/14/2020   OB    12/7/2020   WN;1282;OAK;HNL                   LAKE KENNETHVIEW       AZ                     US   60124   129909098@AIRLINE.KIWI.COM
UWM6FV   11/14/2020   OB    12/4/2020   WN;2746;ATL;FLL                   BELLFURT               TX                     US   44440   129909868@AIRLINE.KIWI.COM
VMI62N   11/14/2020   OB   11/23/2020   WN;2233;AUS;HOU;WN;3366;HOU;OKC   PORT RAYMOND           CA                     US   89215   129929701@AIRLINE.KIWI.COM
VNFVOI   11/14/2020   OB   11/14/2020   WN;3788;ATL;MDW                   CRYSTALVILLE           KS                     US   58868   129930889@AIRLINE.KIWI.COM
VO6XNJ   11/14/2020   OB   11/28/2020   WN;2163;HOU;JAX                   WEST KEITHTOWN         GA                     US   17501   129931560@AIRLINE.KIWI.COM
VP4KZV   11/14/2020   OB   12/23/2020   WN;3270;ALB;MDW;WN;3843;MDW;DAL   NICOLEBURY             LA                     US   13569   129932055@AIRLINE.KIWI.COM
VRC9HC   11/14/2020   OB   12/17/2020   WN;281;DEN;TUL                    NORTH BRANDON          OR                     US   80017   129934266@AIRLINE.KIWI.COM
VRC9HC   11/14/2020   OB   12/17/2020   WN;281;DEN;TUL                    NORTH BRANDON          OR                     US   80017   129934266@AIRLINE.KIWI.COM
VRD66I   11/14/2020   OB   11/23/2020   WN;4273;CHS;MDW;WN;1974;MDW;OKC   NORTH TIMOTHYBURY      OH                     US   52056   129934475@AIRLINE.KIWI.COM
VRGQ2T   11/14/2020   OB   11/25/2020   WN;4229;MIA;HOU                   SYDNEYBERG             GREVENMACHER           LU   43913   129934288@AIRLINE.KIWI.COM
VRSFGT   11/14/2020   OB   11/27/2020   WN;499;DEN;DTW                    BLEVINSTOWN            ME                     US   32009   129934772@AIRLINE.KIWI.COM
VSP5D5   11/14/2020   OB   12/18/2020   WN;6852;ATL;HOU;WN;6853;HOU;ELP   MICHEALLAND            HI                     US   75935   129935443@AIRLINE.KIWI.COM
VSP5D5   11/14/2020   RT     1/3/2021   WN;3159;ELP;HOU;WN;2190;HOU;ATL   MICHEALLAND            HI                     US   75935   129935443@AIRLINE.KIWI.COM
VT6ZVF   11/14/2020   OB   11/28/2020   WN;2163;HOU;JAX                   SOLOMONFURT            NH                     US   73562   129931560@AIRLINE.KIWI.COM
VUHNAX   11/14/2020   OB   11/30/2020   WN;2973;HOU;STL                   AHMDNGR                TAMIL NADU             IN   34315   129936983@AIRLINE.KIWI.COM
VW4XHJ   11/14/2020   OB    12/6/2020   WN;4547;PHL;ATL                   ROBERTTON              AZ                     US    2145   129938633@AIRLINE.KIWI.COM
VXYTVT   11/14/2020   OB   11/25/2020   WN;4846;SEA;DEN                   EAST TAMMYPORT         NJ                     US   34688   129940151@AIRLINE.KIWI.COM
VYSUXV   11/14/2020   OB     1/8/2021   WN;3604;BWI;RDU                   EVANSPORT              MD                     US   12135   129941592@AIRLINE.KIWI.COM
VZE6PL   11/14/2020   OB   11/15/2020   WN;337;RDU;BWI                    WEST REBECCAVIEW       WI                     US   86433   129941592@AIRLINE.KIWI.COM
W2XYTN   11/14/2020   OB   11/16/2020   WN;2171;LGA;MDW;WN;4469;MDW;OKC   SARAHBURGH             SOUTHWARK              GB   33868   129943660@AIRLINE.KIWI.COM
W48QK4   11/14/2020   OB     1/3/2021   WN;2106;MCI;OAK;WN;4061;OAK;RNO   DONNATON               LA                     US   75774   129944452@AIRLINE.KIWI.COM
W55E29   11/14/2020   OB     1/1/2021   WN;2346;BOS;MDW;WN;1394;MDW;SFO   PORT ALAN              PA                     US   24342   129946509@AIRLINE.KIWI.COM
W63LCR   11/14/2020   OB   11/25/2020   WN;1767;MCO;MDW                   EAST BRANDONHAVEN      AR                     US   90699   129946663@AIRLINE.KIWI.COM
W63LCR   11/14/2020   OB   11/25/2020   WN;1767;MCO;MDW                   EAST BRANDONHAVEN      AR                     US   90699   129946663@AIRLINE.KIWI.COM
WBYQVW   11/14/2020   OB   11/15/2020   WN;166;TPA;CMH                    THOMASCHESTER          GREVENMACHER           LU   93809   129952141@AIRLINE.KIWI.COM
WD9NV4   11/14/2020   OB   12/26/2020   WN;1730;TUS;HOU;WN;6728;HOU;BNA   JOSEPHSTAD             KALKARA                MT   55556   129953802@AIRLINE.KIWI.COM
WD9NV4   11/14/2020   RT     1/4/2021   WN;1561;BNA;DEN;WN;2501;DEN;TUS   JOSEPHSTAD             KALKARA                MT   55556   129953802@AIRLINE.KIWI.COM
WEIZKD   11/14/2020   OB   12/18/2020   WN;1241;PHX;BNA;WN;1053;BNA;LGA   SOUTH JULIE            KY                     US   58827   129954847@AIRLINE.KIWI.COM
WEJ7K5   11/14/2020   OB     1/7/2021   WN;6232;SLC;LAS                   FREDRIKSJOEN           OPPLAND                NO   82521   129953703@AIRLINE.KIWI.COM
WGB3F7   11/14/2020   OB   11/20/2020   WN;1582;MSY;ATL                   LUDWIGSLUST            HESSEN                 DE   27901   129955683@AIRLINE.KIWI.COM
WGZ57Q   11/14/2020   OB   11/27/2020   WN;369;CLE;MDW;WN;369;MDW;OMA     FORDFURT               MA                     US    6392   129956541@AIRLINE.KIWI.COM
WKLDEC   11/14/2020   OB   11/14/2020   WN;594;ITO;HNL                    WEST BOBBYBURY         MI                     US   25531   129959104@AIRLINE.KIWI.COM
WKLIJJ   11/14/2020   OB   11/15/2020   WN;1148;HNL;OAK                   SOUTH CALVINSTAD       NE                     US   63408   129959104@AIRLINE.KIWI.COM
WNZJC5   11/14/2020   OB    12/3/2020   WN;4196;MSP;MDW                   WEST CATHERINEBOROUG   MN                     US   20196   129961271@AIRLINE.KIWI.COM
WOKC4N   11/14/2020   OB   11/18/2020   WN;595;HNL;ITO                    LAKE GREGLAND          ME                     US   75303   129961458@AIRLINE.KIWI.COM
J2KUQS   11/15/2020   OB   11/16/2020   WN;1281;PHX;OAK                   LAKE JULIEVIEW         OK                     US   17084   129966452@AIRLINE.KIWI.COM
J32FG3   11/15/2020   OB   11/17/2020   WN;4131;MIA;HOU;WN;1059;HOU;MSY   ANDREAVILLE            ME                     US   79217   129966727@AIRLINE.KIWI.COM
J32FG3   11/15/2020   OB   11/17/2020   WN;4131;MIA;HOU;WN;1059;HOU;MSY   ANDREAVILLE            ME                     US   79217   129966727@AIRLINE.KIWI.COM
J4YC5T   11/15/2020   OB   11/30/2020   WN;4447;SJC;PDX                   PORT JOHN              NV                     US   12866   129967420@AIRLINE.KIWI.COM
J4YC5T   11/15/2020   OB   11/30/2020   WN;4447;SJC;PDX                   PORT JOHN              NV                     US   12866   129967420@AIRLINE.KIWI.COM
J5GS9A   11/15/2020   OB    12/4/2020   WN;642;OAK;DEN                    EAST LAURA             IA                     US   92198   129967475@AIRLINE.KIWI.COM
J5PED8   11/15/2020   OB   11/23/2020   WN;4299;LGA;BNA;WN;3891;BNA;HOU   MARSHALLFURT           NV                     US   52464   129967640@AIRLINE.KIWI.COM
J5TVEZ   11/15/2020   OB   11/25/2020   WN;4920;HOU;DTW                   LAKE KAYLEE            CO                     US   28306   129967816@AIRLINE.KIWI.COM
J74SR3   11/15/2020   OB   12/28/2020   WN;718;SAT;LAS                    JOHNVILLE              CA                     US   37850   129968135@AIRLINE.KIWI.COM
J7H2NB   11/15/2020   OB   12/28/2020   WN;718;SAT;LAS                    STEPHANIEBERG          ID                     US   97247   129968102@AIRLINE.KIWI.COM
J7MLOM   11/15/2020   OB   11/15/2020   WN;271;BUR;SMF                    HARRYHAVEN             EAST DUNBARTONSHIRE    GB   41041   129968498@AIRLINE.KIWI.COM
J9N52L   11/15/2020   OB    12/7/2020   WN;2581;DEN;CVG                   PORT ALEXISVIEW        IL                     US   98724   129969510@AIRLINE.KIWI.COM
J9N52L   11/15/2020   OB    12/7/2020   WN;2581;DEN;CVG                   PORT ALEXISVIEW        IL                     US   98724   129969510@AIRLINE.KIWI.COM
J9N52L   11/15/2020   OB    12/7/2020   WN;2581;DEN;CVG                   PORT ALEXISVIEW        IL                     US   98724   129969510@AIRLINE.KIWI.COM
J9WT2R   11/15/2020   OB   12/20/2020   WN;1054;ATL;PHL                   EAST DEANNA            CT                     US   98185   129969862@AIRLINE.KIWI.COM
JAECCY   11/15/2020   OB   11/25/2020   WN;3848;SAN;DEN                   SOUTH CRYSTAL          OK                     US   14646   129969543@AIRLINE.KIWI.COM
JEHWV7   11/15/2020   OB    12/6/2020   WN;1459;OAK;MDW                   SAN ANDREA DE LA MON   SAN LUIS POTOSI        MX   79959   129971248@AIRLINE.KIWI.COM
JF9YBO   11/15/2020   OB   11/23/2020   WN;324;MIA;HOU                    WEST GLENNSIDE         ID                     US   60728   129971567@AIRLINE.KIWI.COM
JHUO9R   11/15/2020   OB   12/14/2020   WN;4207;ATL;FLL                   EAST KAREN             AR                     US   72698   129972832@AIRLINE.KIWI.COM
JHVBPU   11/15/2020   OB   11/22/2020   WN;2888;CLT;DEN                   NORTH TIMOTHYVIEW      AZ                     US   93503   129973052@AIRLINE.KIWI.COM
JHVBPU   11/15/2020   OB   11/22/2020   WN;2888;CLT;DEN                   NORTH TIMOTHYVIEW      AZ                     US   93503   129973052@AIRLINE.KIWI.COM




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JHVBPU   11/15/2020   OB   11/22/2020   WN;2888;CLT;DEN                   NORTH TIMOTHYVIEW    AZ                      US   93503   129973052@AIRLINE.KIWI.COM
JI25F4   11/15/2020   OB   12/11/2020   WN;2246;FLL;ATL                   SWANSONMOUTH         WA                      US   99626   129972832@AIRLINE.KIWI.COM
JJHNF9   11/15/2020   OB   11/22/2020   WN;1441;MDW;MCI                   BERNARDMOUTH         WI                      US   39220   129973866@AIRLINE.KIWI.COM
JK9TGQ   11/15/2020   OB   11/29/2020   WN;4152;MCI;MDW                   JOHNLAND             NC                      US   15710   129973866@AIRLINE.KIWI.COM
JOR2MX   11/15/2020   OB   11/30/2020   WN;2486;DAL;MCO                   NASCIMENTO           RIO DE JANEIRO          BR   21698   129972810@AIRLINE.KIWI.COM
JOR2MX   11/15/2020   OB   11/30/2020   WN;2486;DAL;MCO                   NASCIMENTO           RIO DE JANEIRO          BR   21698   129972810@AIRLINE.KIWI.COM
JOR2MX   11/15/2020   OB   11/30/2020   WN;2486;DAL;MCO                   NASCIMENTO           RIO DE JANEIRO          BR   21698   129972810@AIRLINE.KIWI.COM
JVDWTA   11/15/2020   OB   12/14/2020   WN;2625;DEN;HOU;WN;661;HOU;MIA    EAST TAMI            CA                      US   19322   129978596@AIRLINE.KIWI.COM
JVDWTA   11/15/2020   OB   12/14/2020   WN;2625;DEN;HOU;WN;661;HOU;MIA    EAST TAMI            CA                      US   19322   129978596@AIRLINE.KIWI.COM
KFPOO9   11/15/2020   OB   11/24/2020   WN;4803;RIC;ATL                   LAKE MONICA          MI                      US    9311   129991345@AIRLINE.KIWI.COM
KHITJN   11/15/2020   OB    12/4/2020   WN;2739;ONT;PHX;WN;2739;PHX;SAT   WALSHCHESTER         MA                      US    7580   129992335@AIRLINE.KIWI.COM
KHITJN   11/15/2020   OB    12/4/2020   WN;2739;ONT;PHX;WN;2739;PHX;SAT   WALSHCHESTER         MA                      US    7580   129992335@AIRLINE.KIWI.COM
KHITJN   11/15/2020   RT    12/6/2020   WN;2243;SAT;PHX;WN;1077;PHX;ONT   WALSHCHESTER         MA                      US    7580   129992335@AIRLINE.KIWI.COM
KHITJN   11/15/2020   RT    12/6/2020   WN;2243;SAT;PHX;WN;1077;PHX;ONT   WALSHCHESTER         MA                      US    7580   129992335@AIRLINE.KIWI.COM
KHU69I   11/15/2020   OB   11/25/2020   WN;4621;MDW;DEN                   JULIEVIEW            AR                      US   99367   129993105@AIRLINE.KIWI.COM
KJOSI8   11/15/2020   OB   11/29/2020   WN;4417;ELP;LAS;WN;1706;LAS;MCI   PORT TREVOR          NM                      US   54372   129994392@AIRLINE.KIWI.COM
KK8ZSJ   11/15/2020   OB   12/30/2020   WN;1225;BWI;CHS                   MITCHELLVIEW         WA                      US   78233   129995074@AIRLINE.KIWI.COM
KLWSX6   11/15/2020   OB   12/24/2020   WN;14;MDW;HOU                     D KHASAN             ARKHANGELSKAYA OBLAST   RU   91344   129995206@AIRLINE.KIWI.COM
KLWSX6   11/15/2020   OB   12/24/2020   WN;14;MDW;HOU                     D KHASAN             ARKHANGELSKAYA OBLAST   RU   91344   129995206@AIRLINE.KIWI.COM
KOFKFX   11/15/2020   OB   12/23/2020   WN;6010;HOU;MSY                   LAKE JILL            MA                      US   99179   129998935@AIRLINE.KIWI.COM
KTWG6F   11/15/2020   OB    12/7/2020   WN;2516;HOU;MCO                   ISAACBURGH           CT                      US   49430   130003390@AIRLINE.KIWI.COM
KU3FZZ   11/15/2020   OB    12/3/2020   WN;3981;MCO;HOU                   DALTONSHIRE          CT                      US   48892   130003390@AIRLINE.KIWI.COM
KUHGXV   11/15/2020   OB   12/13/2020   WN;815;CMH;MDW;WN;3306;MDW;MIA    RUSSELLBOROUGH       DE                      US   11302   129006647.1500907@AIRLINE.KIWI.COM
KUHGXV   11/15/2020   OB   12/13/2020   WN;815;CMH;MDW;WN;3306;MDW;MIA    RUSSELLBOROUGH       DE                      US   11302   129006647.1500907@AIRLINE.KIWI.COM
KUHGXV   11/15/2020   OB   12/13/2020   WN;815;CMH;MDW;WN;3306;MDW;MIA    RUSSELLBOROUGH       DE                      US   11302   129006647.1500907@AIRLINE.KIWI.COM
KUMCA8   11/15/2020   OB     1/1/2021   WN;1816;ABQ;DEN                   ALVES DA PRAIA       SAO PAULO               BR   91067   130003676@AIRLINE.KIWI.COM
KUMCA8   11/15/2020   OB     1/1/2021   WN;1816;ABQ;DEN                   ALVES DA PRAIA       SAO PAULO               BR   91067   130003676@AIRLINE.KIWI.COM
KWUVE7   11/15/2020   OB    12/6/2020   WN;3487;DEN;SLC                   NEW MICHELLESHIRE    KY                      US   81433   130004237@AIRLINE.KIWI.COM
KWZA5N   11/15/2020   OB   12/27/2020   WN;3649;JAX;BWI;WN;4112;BWI;ISP   LAKE JAMES           OH                      US   45408   130005623@AIRLINE.KIWI.COM
KX6N4H   11/15/2020   OB   12/27/2020   WN;3649;JAX;BWI;WN;4112;BWI;ISP   SOUTH JANE           ME                      US    4615   130005623@AIRLINE.KIWI.COM
KXI9NO   11/15/2020   OB   11/22/2020   WN;904;ATL;DEN                    BANKSTOWN            KY                      US   20390   130006019@AIRLINE.KIWI.COM
KXI9NO   11/15/2020   OB   11/22/2020   WN;904;ATL;DEN                    BANKSTOWN            KY                      US   20390   130006019@AIRLINE.KIWI.COM
KXSQZK   11/15/2020   OB    12/6/2020   WN;2199;DAL;FLL                   DUARTE               ACRE                    BR   18961   130006173@AIRLINE.KIWI.COM
KXSQZK   11/15/2020   RT   12/15/2020   WN;3209;FLL;DAL                   DUARTE               ACRE                    BR   18961   130006173@AIRLINE.KIWI.COM
KYISTK   11/15/2020   OB    12/7/2020   WN;594;ITO;HNL                    ZACHARYMOUTH         RI                      US    1976   130007449@AIRLINE.KIWI.COM
KYJQXW   11/15/2020   OB    12/5/2020   WN;1462;PHX;SJC                   BOUCHET              AUBE                    FR   87065   130006998@AIRLINE.KIWI.COM
KYK2O5   11/15/2020   OB    12/8/2020   WN;3264;LAX;DEN;WN;5024;DEN;RSW   LAKE PATRICIABERG    ND                      US    8896   130007449@AIRLINE.KIWI.COM
KYQ8MG   11/15/2020   OB   11/24/2020   WN;3304;FLL;MDW                   ANTHONYFURT          ME                      US   21992   130007548@AIRLINE.KIWI.COM
KZ4W9Z   11/15/2020   OB   11/23/2020   WN;905;MBJ;BWI;WN;2445;BWI;FLL    ANGELASIDE           AR                      US   43057   130007548@AIRLINE.KIWI.COM
KZ7C9W   11/15/2020   OB   11/23/2020   WN;905;MBJ;BWI;WN;2445;BWI;FLL    MATTHEWBURY          CO                      US   58371   130007724@AIRLINE.KIWI.COM
KZBROX   11/15/2020   OB   11/24/2020   WN;3304;FLL;MDW                   WEST MICHAEL         KY                      US   21841   130007724@AIRLINE.KIWI.COM
KZWBIB   11/15/2020   OB   11/18/2020   WN;3306;MDW;MIA                   LAURASHIRE           MS                      US   15095   130008252@AIRLINE.KIWI.COM
L28UUP   11/15/2020   OB   12/12/2020   WN;2887;FLL;PIT                   CITRKUUTT            KERALA                  IN   41715   130008802@AIRLINE.KIWI.COM
L28UUP   11/15/2020   OB   12/12/2020   WN;2887;FLL;PIT                   CITRKUUTT            KERALA                  IN   41715   130008802@AIRLINE.KIWI.COM
L5ESDP   11/15/2020   OB   11/27/2020   WN;499;DEN;DTW                    NEW CYNTHIA          NH                      US   37954   130011948@AIRLINE.KIWI.COM
L5TLPB   11/15/2020   OB   11/27/2020   WN;1476;SLC;DEN                   BENNETTVIEW          MI                      US   17719   130011948@AIRLINE.KIWI.COM
L6AC6Z   11/15/2020   OB   11/25/2020   WN;2536;BUF;MDW;WN;1767;MDW;OMA   WEBBLAND             TASMANIA                AU   29109   130012960@AIRLINE.KIWI.COM
L826W6   11/15/2020   OB   12/20/2020   WN;984;TPA;HOU;WN;1524;HOU;SAT    NORTH TRAVIS         NV                      US   51114   130014632@AIRLINE.KIWI.COM
L8FUGE   11/15/2020   OB     1/2/2021   WN;824;LAX;SJC;WN;1556;SJC;STL    MELO DOS DOURADOS    PARAIBA                 BR   93859   130015017@AIRLINE.KIWI.COM
LA5WMH   11/15/2020   OB   11/24/2020   WN;3848;SAN;DEN                   WEST EUGENETOWN      KY                      US   88481   130016326@AIRLINE.KIWI.COM
LB3DKR   11/15/2020   OB   11/23/2020   WN;3608;RDU;DAL;WN;5004;DAL;SAN   NORTH VINCENT        KS                      US   10416   130017008@AIRLINE.KIWI.COM
LBI9KB   11/15/2020   OB   12/21/2020   WN;140;PVD;DCA                    NORTH AARONFURT      KY                      US   26663   130017756@AIRLINE.KIWI.COM
LD4HHW   11/15/2020   OB   11/29/2020   WN;4218;MDW;ALB                   NORTH JENNIFERFORT   OR                      US   11091   130019307@AIRLINE.KIWI.COM
LEM4LB   11/15/2020   OB   11/16/2020   WN;591;OGG;HNL                    LAKE LISA            NM                      US   28982   130020814@AIRLINE.KIWI.COM
LHPOG5   11/15/2020   OB   11/16/2020   WN;510;FLL;MDW;WN;535;MDW;CVG     CASEYTON             NE                      US   37523   130023047@AIRLINE.KIWI.COM
LIGPFR   11/15/2020   OB   11/16/2020   WN;154;ATL;LGA                    SOUTH LANCE          NH                      US   50548   130023619@AIRLINE.KIWI.COM
LIIWYI   11/15/2020   OB   11/17/2020   WN;2817;ATL;LGA                   ROBERTBURY           ID                      US   68230   130023487@AIRLINE.KIWI.COM
LIL2G9   11/15/2020   OB   12/21/2020   WN;447;DEN;ATL                    WEST CAITLYN         NJ                      US   64842   130023531@AIRLINE.KIWI.COM
LLHXQ7   11/15/2020   OB   11/21/2020   WN;1275;LAS;SLC                   LEBEDEVPORT          PARNUMAA                EE   52290   130024939@AIRLINE.KIWI.COM
LLHXQ7   11/15/2020   OB   11/21/2020   WN;1275;LAS;SLC                   LEBEDEVPORT          PARNUMAA                EE   52290   130024939@AIRLINE.KIWI.COM
LLPC3R   11/15/2020   OB   11/20/2020   WN;1196;IND;PHX                   WEST KAYLAMOUTH      LA                      US   27083   130025049@AIRLINE.KIWI.COM
LLPC3R   11/15/2020   RT    12/1/2020   WN;399;PHX;IND                    WEST KAYLAMOUTH      LA                      US   27083   130025049@AIRLINE.KIWI.COM
LMGM9Z   11/15/2020   OB   11/21/2020   WN;1443;CMH;BWI;WN;1947;BWI;CHS   NEW JASMINETON       KS                      US   48447   130025500@AIRLINE.KIWI.COM
LMGM9Z   11/15/2020   RT   11/23/2020   WN;4490;CHS;BNA;WN;4504;BNA;CMH   NEW JASMINETON       KS                      US   48447   130025500@AIRLINE.KIWI.COM
LQ87DT   11/15/2020   OB   12/23/2020   WN;3880;MCI;ATL                   LAURAFURT            GA                      US   19376   130027359@AIRLINE.KIWI.COM
WSFV4I   11/15/2020   OB   11/21/2020   WN;1056;HOU;MIA                   PORT AARON           SC                      US   95986   129963218@AIRLINE.KIWI.COM
WSFV4I   11/15/2020   OB   11/21/2020   WN;1056;HOU;MIA                   PORT AARON           SC                      US   95986   129963218@AIRLINE.KIWI.COM
WVMV2E   11/15/2020   OB   11/24/2020   WN;3572;AUS;STL                   LAKE MARIA           WI                      US   81552   129964538@AIRLINE.KIWI.COM
WWUSHL   11/15/2020   OB   11/15/2020   WN;6845;SDF;MDW                   TATEBURGH            NM                      US   55441   129965099@AIRLINE.KIWI.COM
WWXZLE   11/15/2020   OB   12/19/2020   WN;6848;ELP;HOU;WN;1056;HOU;MIA   WEST TIFFANYBURGH    KS                      US   52898   129336449.1500673@AIRLINE.KIWI.COM
WZNGXN   11/15/2020   OB    12/6/2020   WN;2850;DEN;PHL                   WEST JESSICAFORT     OK                      US   83789   129966276@AIRLINE.KIWI.COM
LR24IC   11/16/2020   OB    12/5/2020   WN;2724;FLL;BNA                   CERMANY              TRNAVSKY KRAJ           SK   61986   130027722@AIRLINE.KIWI.COM
LR24IC   11/16/2020   OB    12/5/2020   WN;2724;FLL;BNA                   CERMANY              TRNAVSKY KRAJ           SK   61986   130027722@AIRLINE.KIWI.COM
LR24IC   11/16/2020   OB    12/5/2020   WN;2724;FLL;BNA                   CERMANY              TRNAVSKY KRAJ           SK   61986   130027722@AIRLINE.KIWI.COM
LRMITZ   11/16/2020   OB   12/23/2020   WN;1974;DEN;JAX                   EAST JESSICABURY     NE                      US   64486   130028118@AIRLINE.KIWI.COM
LRMITZ   11/16/2020   RT   12/29/2020   WN;291;JAX;DEN                    EAST JESSICABURY     NE                      US   64486   130028118@AIRLINE.KIWI.COM
LSJ3JG   11/16/2020   OB   11/16/2020   WN;1074;TPA;DEN;WN;511;DEN;OAK    JULIEMOUTH           WA                      US   46241   130028448@AIRLINE.KIWI.COM
LTK6BZ   11/16/2020   OB   12/20/2020   WN;842;LAS;LGB;WN;842;LGB;SMF     NORTH BRANDONBERG    MO                      US   62316   130028965@AIRLINE.KIWI.COM
LVTWZB   11/16/2020   OB    12/7/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   MIGUELVIEW           NE                      US   60131   130029603@AIRLINE.KIWI.COM
LVVZYB   11/16/2020   OB     1/3/2021   WN;2093;MCI;ATL                   PORT THOMAS          CT                      US    9739   130029691@AIRLINE.KIWI.COM
LVX87F   11/16/2020   OB   12/23/2020   WN;3689;SFO;LAX;WN;3689;LAX;HOU   VIEJA KIRGUISTAN     TLAXCALA                MX   46325   130029856@AIRLINE.KIWI.COM
LVX87F   11/16/2020   OB   12/23/2020   WN;3689;SFO;LAX;WN;3689;LAX;HOU   VIEJA KIRGUISTAN     TLAXCALA                MX   46325   130029856@AIRLINE.KIWI.COM
LWWD7N   11/16/2020   OB   12/27/2020   WN;3102;SJC;SNA                   NATALIESHIRE         AK                      US   42382   130030780@AIRLINE.KIWI.COM
LWWD7N   11/16/2020   RT   12/30/2020   WN;222;SNA;SJC                    NATALIESHIRE         AK                      US   42382   130030780@AIRLINE.KIWI.COM
LZBANF   11/16/2020   OB     1/3/2021   WN;3618;CLT;MDW;WN;2013;MDW;GRR   TROYBURGH            TN                      US   79328   130031924@AIRLINE.KIWI.COM
M3BKD5   11/16/2020   OB    12/2/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   KELLERVILLE          UNSKOSANSKI KANTON      BA   28496   130032463@AIRLINE.KIWI.COM
M3RJNT   11/16/2020   OB   11/21/2020   WN;268;BNA;BWI;WN;560;BWI;BOS     KARENTON             NY                      US   45821   130033013@AIRLINE.KIWI.COM
M48L9M   11/16/2020   OB   11/24/2020   WN;2388;BUR;SMF                   STACEYBURGH          IA                      US   14616   130033288@AIRLINE.KIWI.COM
M4TYKU   11/16/2020   OB   11/30/2020   WN;2797;RDU;FLL                   PORTERSTAD           MA                      US   38377   130033816@AIRLINE.KIWI.COM
M5BMBD   11/16/2020   OB   11/26/2020   WN;3226;FLL;HOU                   KHUTIR SEMEN         ZAKARPATSKA OBLAST      UA   11849   130034036@AIRLINE.KIWI.COM
M5BMBD   11/16/2020   OB   11/26/2020   WN;3226;FLL;HOU                   KHUTIR SEMEN         ZAKARPATSKA OBLAST      UA   11849   130034036@AIRLINE.KIWI.COM
M5D7HK   11/16/2020   OB   11/29/2020   WN;1058;HOU;MIA                   SELISHCHE NAZAR      TERNOPILSKA OBLAST      UA   21247   130034036@AIRLINE.KIWI.COM
M5D7HK   11/16/2020   OB   11/29/2020   WN;1058;HOU;MIA                   SELISHCHE NAZAR      TERNOPILSKA OBLAST      UA   21247   130034036@AIRLINE.KIWI.COM
M5OJH9   11/16/2020   OB    12/5/2020   WN;2798;LAX;DEN                   RIVERSPORT           VT                      US    6321   130034289@AIRLINE.KIWI.COM
M5OJH9   11/16/2020   RT    12/9/2020   WN;2098;DEN;LAX                   RIVERSPORT           VT                      US    6321   130034289@AIRLINE.KIWI.COM
M5YKRI   11/16/2020   OB   11/18/2020   WN;2978;BOS;BWI;WN;3551;BWI;CVG   PHTEHPUR             NAGALAND                IN      68   130034245@AIRLINE.KIWI.COM
M5YKRI   11/16/2020   RT    12/1/2020   WN;2399;CVG;BWI;WN;303;BWI;BOS    PHTEHPUR             NAGALAND                IN      68   130034245@AIRLINE.KIWI.COM
M6P4NP   11/16/2020   OB   12/21/2020   WN;1374;DEN;MDW                   MARGARETLAND         MD                      US   37451   130034498@AIRLINE.KIWI.COM
M6P4NP   11/16/2020   RT   12/31/2020   WN;3285;MDW;DEN                   MARGARETLAND         MD                      US   37451   130034498@AIRLINE.KIWI.COM
M794G4   11/16/2020   OB   12/19/2020   WN;1632;ROC;BWI;WN;897;BWI;ATL    LAKE JENNIFER        AL                      US   31714   130034762@AIRLINE.KIWI.COM
MA99FV   11/16/2020   OB   12/11/2020   WN;2707;ATL;LGA                   DIANEPORT            CA                      US   83513   130035928@AIRLINE.KIWI.COM
MB5G7L   11/16/2020   OB   11/24/2020   WN;3187;DEN;OKC                   LAURABURY            WY                      US   29317   130036159@AIRLINE.KIWI.COM
MBPCJ9   11/16/2020   OB   11/29/2020   WN;3703;DEN;PDX                   AADILAABAAD          MIZORAM                 IN   95533   130036742@AIRLINE.KIWI.COM
MBRCYI   11/16/2020   OB   11/16/2020   WN;6983;SMF;LAS;WN;318;LAS;TUS    PORT KIMBERLYBURY    SD                      US   91337   130036544@AIRLINE.KIWI.COM
MBRCYI   11/16/2020   OB   11/16/2020   WN;6983;SMF;LAS;WN;318;LAS;TUS    PORT KIMBERLYBURY    SD                      US   91337   130036544@AIRLINE.KIWI.COM
MBT6XQ   11/16/2020   OB   11/29/2020   WN;4777;MDW;LAX                   SOUTH ROBERTLAND     MS                      US   33801   130036423@AIRLINE.KIWI.COM
MEADSD   11/16/2020   OB   11/21/2020   WN;1071;BDL;MCO;WN;1757;MCO;ATL   KUZMICE              TRNAVSKY KRAJ           SK   68161   130037919@AIRLINE.KIWI.COM




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MH7K7P   11/16/2020   OB   12/18/2020   WN;1155;IAD;ATL;WN;938;ATL;STL    JILONPR                ASSAM                   IN   52365   130038920@AIRLINE.KIWI.COM
MHZE66   11/16/2020   OB   12/25/2020   WN;1933;STL;MDW;WN;1933;MDW;SJC   ANNTPUR                HIMACHAL PRADESH        IN   66254   130039305@AIRLINE.KIWI.COM
MM4X2K   11/16/2020   OB   12/22/2020   WN;3360;ATL;LGA                   NEW MARIA              NE                      US   71655   130041582@AIRLINE.KIWI.COM
MMB57Z   11/16/2020   OB     1/5/2021   WN;480;DEN;CMH                    LAKE ROBERT            CT                      US    2466   130041615@AIRLINE.KIWI.COM
MMGZ5J   11/16/2020   OB     1/5/2021   WN;480;DEN;CMH                    RODRIGUEZSIDE          LA                      US   40868   130041538@AIRLINE.KIWI.COM
MMIDJN   11/16/2020   OB     1/5/2021   WN;480;DEN;CMH                    SOUTH MATTHEW          WV                      US   42820   130041923@AIRLINE.KIWI.COM
MMQ2JC   11/16/2020   OB     1/5/2021   WN;1328;PHX;DEN                   WEST KRISTENBOROUGH    AK                      US   47432   130041615@AIRLINE.KIWI.COM
MMSSJD   11/16/2020   OB     1/5/2021   WN;1328;PHX;DEN                   GEORGECHESTER          ID                      US   28535   130042088@AIRLINE.KIWI.COM
MMU6NV   11/16/2020   OB     1/5/2021   WN;1328;PHX;DEN                   LAKE ROBINHAVEN        AL                      US   61244   130041538@AIRLINE.KIWI.COM
MN36GH   11/16/2020   OB     1/5/2021   WN;480;DEN;CMH                    SOUTH KARENCHESTER     FL                      US    8388   130041747@AIRLINE.KIWI.COM
MN5WHU   11/16/2020   OB     1/5/2021   WN;480;DEN;CMH                    LAKE NICHOLASMOUTH     AZ                      US   66579   130042088@AIRLINE.KIWI.COM
MN68J5   11/16/2020   OB     1/5/2021   WN;1328;PHX;DEN                   NORTH RYANMOUTH        PA                      US   86825   130041747@AIRLINE.KIWI.COM
MN95JE   11/16/2020   OB     1/5/2021   WN;480;DEN;CMH                    PORT LISAHAVEN         SC                      US    6086   130041934@AIRLINE.KIWI.COM
MN9B6O   11/16/2020   OB     1/5/2021   WN;1328;PHX;DEN                   STACEYBOROUGH          WY                      US   65593   130041934@AIRLINE.KIWI.COM
MNARA8   11/16/2020   OB     1/5/2021   WN;1328;PHX;DEN                   SOUTH NICOLEBERG       ID                      US   55422   130041923@AIRLINE.KIWI.COM
MNCMR4   11/16/2020   OB   11/16/2020   WN;1538;OAK;LAS;WN;647;LAS;TUS    ANDREWBERG             PA                      US   97067   130042308@AIRLINE.KIWI.COM
MNFOH5   11/16/2020   OB   11/16/2020   WN;1253;OAK;BUR;WN;1295;BUR;PHX   JAMESTON               AL AQABAH               JO   49922   130042385@AIRLINE.KIWI.COM
MNH4IB   11/16/2020   OB   11/30/2020   WN;1844;SEA;DEN                   LISASTAD               FL                      US    4388   130039030@AIRLINE.KIWI.COM
MOP2AD   11/16/2020   OB    12/3/2020   WN;5037;TUL;DEN                   MAUREENSHIRE           NV                      US    3215   130042275@AIRLINE.KIWI.COM
NE9FVO   11/16/2020   OB   11/23/2020   WN;2303;BOS;MDW                   NEW PETERSIDE          OR                      US   33394   130063615@AIRLINE.KIWI.COM
NG9OTZ   11/16/2020   OB   11/25/2020   WN;1065;TPA;MIA                   NORTH ANTHONY          NJ                      US   98676   130066156@AIRLINE.KIWI.COM
NI3KHJ   11/16/2020   OB   11/16/2020   WN;1285;PHX;PSP                   NORTH EDWARD           WI                      US   91333   130067784@AIRLINE.KIWI.COM
NOOKHJ   11/16/2020   OB   11/21/2020   WN;1529;LAX;OAK                   EAST MICHAEL           IN                      US   86359   130075572@AIRLINE.KIWI.COM
NOR989   11/16/2020   OB   11/17/2020   WN;3136;OKC;DEN                   MANNBOROUGH            VA                      US   70119   130074978@AIRLINE.KIWI.COM
NOZUMZ   11/16/2020   OB   11/16/2020   WN;3360;ATL;LGA                   NORTH MICHAELVIEW      DE                      US   33900   130075781@AIRLINE.KIWI.COM
NQLQVU   11/16/2020   OB   11/21/2020   WN;1806;ATL;MEM                   SOUTH TONYATOWN        WV                      US    3738   130077431@AIRLINE.KIWI.COM
NRAHH7   11/16/2020   OB   11/23/2020   WN;3409;BNA;PIT                   POLUGUROS              ARKADIA                 GR   12300   130078597@AIRLINE.KIWI.COM
NWATEJ   11/16/2020   OB    1/10/2021   WN;1305;RNO;DEN;WN;1361;DEN;MEM   EAST KAREN             KS                      US   59373   130084735@AIRLINE.KIWI.COM
NXAHQY   11/16/2020   OB   11/26/2020   WN;3075;MIA;BWI                   OLIVIJASHIRE           ALYTAUS APSKRITIS       LT   23628   130085516@AIRLINE.KIWI.COM
NY7RDI   11/16/2020   OB     1/1/2021   WN;1454;SEA;DEN                   AN FANG JUN JU NAN T   CHIBA                   JP   64879   130085791@AIRLINE.KIWI.COM
NY7RDI   11/16/2020   OB     1/1/2021   WN;1454;SEA;DEN                   AN FANG JUN JU NAN T   CHIBA                   JP   64879   130085791@AIRLINE.KIWI.COM
NY7RDI   11/16/2020   OB     1/1/2021   WN;1454;SEA;DEN                   AN FANG JUN JU NAN T   CHIBA                   JP   64879   130085791@AIRLINE.KIWI.COM
NYVUV5   11/16/2020   OB   11/17/2020   WN;4559;DEN;SJC                   D SHELEKHOV            DAGESTAN RESPUBLIKA     RU   36880   130086880@AIRLINE.KIWI.COM
NZ2375   11/16/2020   OB   12/23/2020   WN;4625;PDX;OAK                   WEST NICOLAS           MT                      US   50766   130087936@AIRLINE.KIWI.COM
NZQYEN   11/16/2020   OB    12/1/2020   WN;1319;PVD;BWI;WN;6743;BWI;HOU   BURNSSIDE              IA                      US   87278   130088585@AIRLINE.KIWI.COM
NZQYEN   11/16/2020   RT    12/8/2020   WN;3644;HOU;BWI;WN;2995;BWI;PVD   BURNSSIDE              IA                      US   87278   130088585@AIRLINE.KIWI.COM
O2JHT4   11/16/2020   OB   12/25/2020   WN;2130;CHS;MDW;WN;2636;MDW;MSP   LAKE ROBERT            AK                      US   38798   130087078@AIRLINE.KIWI.COM
O2ON8C   11/16/2020   OB   12/29/2020   WN;1037;LAX;SFO                   EAST JOHNHAVEN         NC                      US   32960   130088629@AIRLINE.KIWI.COM
O5L79I   11/16/2020   OB   11/30/2020   WN;3572;FLL;AUS                   SKINNERFURT            CT                      US   92668   130092457@AIRLINE.KIWI.COM
O5Q9RZ   11/16/2020   OB    12/1/2020   WN;1077;PHX;ONT                   EAST YVONNE            MA                      US   79698   130093227@AIRLINE.KIWI.COM
O6IJTI   11/16/2020   OB   12/22/2020   WN;135;LGA;ATL;WN;2040;ATL;GSP    EAST HEATHERHAVEN      AK                      US    3760   130094327@AIRLINE.KIWI.COM
O768H4   11/16/2020   OB   12/16/2020   WN;2199;MAF;DAL                   MEGANBURY              MS                      US   65214   130095273@AIRLINE.KIWI.COM
O7DUPO   11/16/2020   OB   12/21/2020   WN;6983;DEN;ATL                   NEW JESSICASHIRE       OR                      US   93706   130095075@AIRLINE.KIWI.COM
O7F5KJ   11/16/2020   OB   12/16/2020   WN;2956;DAL;ATL                   EAST BRITTANYVIEW      OH                      US   59837   130095273@AIRLINE.KIWI.COM
O83LNS   11/16/2020   OB   11/25/2020   WN;4130;BWI;CLE                   BAIRDTON               MT                      US   20826   130096340@AIRLINE.KIWI.COM
O8D3UI   11/16/2020   OB   12/22/2020   WN;1216;MDW;LAS                   EAST JONATHANVILLE     AL                      US   76075   130096395@AIRLINE.KIWI.COM
O9BMTW   11/16/2020   OB   12/24/2020   WN;3302;BWI;CLE                   PORT TIFFANY           MN                      US   64609   130097759@AIRLINE.KIWI.COM
O9BMTW   11/16/2020   RT     1/3/2021   WN;5051;CLE;BWI                   PORT TIFFANY           MN                      US   64609   130097759@AIRLINE.KIWI.COM
O9UWQO   11/16/2020   OB   11/23/2020   WN;1749;PHX;LAS                   BAILEYHAVEN            VA                      US   62713   130098639@AIRLINE.KIWI.COM
O9UWQO   11/16/2020   OB   11/23/2020   WN;1749;PHX;LAS                   BAILEYHAVEN            VA                      US   62713   130098639@AIRLINE.KIWI.COM
O9Y6YE   11/16/2020   OB   11/28/2020   WN;1063;TPA;MIA                   ELISABETHVIK           OSTFOLD                 NO   17095   130098419@AIRLINE.KIWI.COM
O9ZP9A   11/16/2020   OB   11/22/2020   WN;495;MSY;BNA;WN;405;BNA;BOS     KAITLINBERG            OH                      US   76153   130098298@AIRLINE.KIWI.COM
OA787Y   11/16/2020   OB     1/4/2021   WN;6958;RNO;LAS                   LNSHSHYBYBURGH         NABLUS                  PS   35986   130095812@AIRLINE.KIWI.COM
OAQCZ7   11/16/2020   OB   11/22/2020   WN;495;MSY;BNA;WN;405;BNA;BOS     DYLANVIEW              IL                      US   99330   130099079@AIRLINE.KIWI.COM
OASA6M   11/16/2020   OB   11/22/2020   WN;495;MSY;BNA;WN;405;BNA;BOS     AARONCHESTER           KS                      US    8528   130099629@AIRLINE.KIWI.COM
OD3UDL   11/16/2020   OB   11/21/2020   WN;1521;ATL;LGA                   EAST THOMASBOROUGH     NH                      US     639   130102049@AIRLINE.KIWI.COM
ODI6VX   11/16/2020   OB    12/1/2020   WN;6724;SAT;DEN;WN;1074;DEN;SEA   RHONDAVIEW             RI                      US   65448   130101961@AIRLINE.KIWI.COM
OEUFIY   11/16/2020   OB    12/2/2020   WN;4539;PHX;SLC                   SOUTH REBECCA          CA                      US   81543   130103743@AIRLINE.KIWI.COM
OEVSQL   11/16/2020   OB   12/20/2020   WN;219;CUN;MDW                    HARDINSIDE             CT                      US   58089   130103534@AIRLINE.KIWI.COM
OFQ7N2   11/16/2020   OB   11/18/2020   WN;3804;LGA;STL;WN;4982;STL;DEN   NEW ERICLAND           NY                      US   99729   130103897@AIRLINE.KIWI.COM
OFYBSS   11/16/2020   OB   12/29/2020   WN;1002;HOU;BNA                   KIMBERLYFORT           TN                      US   76781   130104282@AIRLINE.KIWI.COM
OFYBSS   11/16/2020   RT     1/2/2021   WN;6729;BNA;HOU                   KIMBERLYFORT           TN                      US   76781   130104282@AIRLINE.KIWI.COM
OIALSC   11/16/2020   OB   11/16/2020   WN;1320;SAN;SFO                   PHILLIPHAVEN           MT                      US   28347   130107065@AIRLINE.KIWI.COM
OIC477   11/16/2020   OB   11/17/2020   WN;2776;BWI;LAX                   FRANKLINSIDE           SC                      US    2092   130106647@AIRLINE.KIWI.COM
OJ7TRO   11/16/2020   OB   11/18/2020   WN;824;LAX;SJC                    ABOLSBURY              ADAZU NOVADS            LV   50588   130107659@AIRLINE.KIWI.COM
OK3WQ8   11/16/2020   OB     1/9/2021   WN;2238;SAN;DEN                   LAKE GLORIA            CO                      US   28918   129081986.1501494@AIRLINE.KIWI.COM
OL3336   11/16/2020   OB   12/11/2020   WN;2730;CLT;DEN                   NEW APRILBURY          IN                      US   90687   130109859@AIRLINE.KIWI.COM
OL3336   11/16/2020   RT   12/16/2020   WN;2323;DEN;CLT                   NEW APRILBURY          IN                      US   90687   130109859@AIRLINE.KIWI.COM
OMSI2S   11/16/2020   OB   11/19/2020   WN;220;BWI;CLE                    KARLAMOUTH             NY                      US   76555   130111025@AIRLINE.KIWI.COM
OOWAAR   11/16/2020   OB   12/28/2020   WN;1259;PIT;BWI;WN;299;BWI;ATL    LAKE ALEXANDER         OH                      US   91158   130112477@AIRLINE.KIWI.COM
OQA9G5   11/16/2020   OB    12/1/2020   WN;2040;DAL;ATL                   TROYPORT               WA                      US   53575   130112873@AIRLINE.KIWI.COM
OQP7JB   11/16/2020   OB    1/16/2021   WN;1057;MIA;HOU;WN;20;HOU;DAL     DOUGLASPORT            CT                      US    8817   130112873@AIRLINE.KIWI.COM
OR4GCA   11/16/2020   OB    12/3/2020   WN;4686;MSY;MDW                   NEW CHRISTINA          FL                      US    8840   130113621@AIRLINE.KIWI.COM
OR4GCA   11/16/2020   OB    12/3/2020   WN;4686;MSY;MDW                   NEW CHRISTINA          FL                      US    8840   130113621@AIRLINE.KIWI.COM
ORIJ3A   11/16/2020   OB   12/20/2020   WN;984;TPA;HOU;WN;2565;HOU;HRL    NORTH BRITTANYLAND     RI                      US   38070   130113555@AIRLINE.KIWI.COM
OT7PP8   11/17/2020   OB   11/17/2020   WN;5040;HOU;ATL                   HARRISFORT             CA                      US   98201   130114578@AIRLINE.KIWI.COM
OUOTD9   11/17/2020   OB   12/25/2020   WN;3110;DEN;PSP                   EAST MICHAELMOUTH      KS                      US   38548   130115425@AIRLINE.KIWI.COM
OUT69S   11/17/2020   OB     1/1/2021   WN;1145;PSP;DEN                   BAKERMOUTH             WA                      US   56543   130115425@AIRLINE.KIWI.COM
OVQCD5   11/17/2020   OB   11/17/2020   WN;1948;BWI;BNA                   DIPAAYL                MADHYA PASHCHIMANCHAL   NP   47050   130115810@AIRLINE.KIWI.COM
OYDZNN   11/17/2020   OB   12/19/2020   WN;966;MCI;FLL                    NORTH CASEY            MD                      US   70047   130117207@AIRLINE.KIWI.COM
OZD4A4   11/17/2020   OB    12/1/2020   WN;382;DEN;HOU                    SAN WILFRIDO DE LA M   YUCATAN                 MX   97200   130117856@AIRLINE.KIWI.COM
OZJRKB   11/17/2020   OB   12/16/2020   WN;4745;RDU;BWI;WN;331;BWI;MIA    SOUTH JULIEFURT        NC                      US   43040   130118010@AIRLINE.KIWI.COM
OZJRKB   11/17/2020   OB   12/16/2020   WN;4745;RDU;BWI;WN;331;BWI;MIA    SOUTH JULIEFURT        NC                      US   43040   130118010@AIRLINE.KIWI.COM
OZJRKB   11/17/2020   RT     1/8/2021   WN;4078;MIA;MDW;WN;2482;MDW;RDU   SOUTH JULIEFURT        NC                      US   43040   130118010@AIRLINE.KIWI.COM
OZJRKB   11/17/2020   RT     1/8/2021   WN;4078;MIA;MDW;WN;2482;MDW;RDU   SOUTH JULIEFURT        NC                      US   43040   130118010@AIRLINE.KIWI.COM
P29DIC   11/17/2020   OB   11/24/2020   WN;5555;DEN;ICT                   WEST LUCASLAND         MD                      US   47801   130117438@AIRLINE.KIWI.COM
P2PFVQ   11/17/2020   OB   11/27/2020   WN;269;GEG;SJC                    NORTH JEFF             LA                      US   69304   130118560@AIRLINE.KIWI.COM
P43J4H   11/17/2020   OB   11/19/2020   WN;135;ATL;STL                    MENDEZVILLE            CT                      US    5334   130119154@AIRLINE.KIWI.COM
P698RY   11/17/2020   OB   12/18/2020   WN;726;ITO;HNL;WN;1129;HNL;SMF    DENISEBURY             NC                      US    9925   130120166@AIRLINE.KIWI.COM
P6GSUS   11/17/2020   OB   11/24/2020   WN;4800;RDU;STL;WN;1970;STL;MSP   EAST BETH              OR                      US   16933   130120408@AIRLINE.KIWI.COM
P6GSUS   11/17/2020   OB   11/24/2020   WN;4800;RDU;STL;WN;1970;STL;MSP   EAST BETH              OR                      US   16933   130120408@AIRLINE.KIWI.COM
P6L5T6   11/17/2020   OB    12/5/2020   WN;1529;DEN;LAS                   SWEENEYTON             NC                      US    5795   130120298@AIRLINE.KIWI.COM
P6L5T6   11/17/2020   OB    12/5/2020   WN;1529;DEN;LAS                   SWEENEYTON             NC                      US    5795   130120298@AIRLINE.KIWI.COM
P7CV5E   11/17/2020   OB   12/25/2020   WN;2956;DAL;ATL                   WEST ERIC              HI                      US   40602   130120661@AIRLINE.KIWI.COM
P7II3Y   11/17/2020   OB   11/25/2020   WN;4808;PHX;SMF                   SOUTH BRIANCHESTER     LA                      US    5851   130120716@AIRLINE.KIWI.COM
P7L2CK   11/17/2020   OB   11/17/2020   WN;4862;OAK;LAS                   LAKE LISA              KY                      US   45948   130120397@AIRLINE.KIWI.COM
P7MKST   11/17/2020   OB    12/1/2020   WN;6723;CLT;MDW;WN;1232;MDW;PIT   RTNNGR                 GANDAKI                 NP   27755   130120859@AIRLINE.KIWI.COM
P829UO   11/17/2020   OB   11/27/2020   WN;6318;DSM;DEN                   AGRTLAA                BIHAR                   IN   21493   130121090@AIRLINE.KIWI.COM
P9LIEA   11/17/2020   OB   12/11/2020   WN;5034;TPA;MDW                   HEATHERTON             AZ                      US   74871   130121805@AIRLINE.KIWI.COM
P9LIEA   11/17/2020   OB   12/11/2020   WN;5034;TPA;MDW                   HEATHERTON             AZ                      US   74871   130121805@AIRLINE.KIWI.COM
P9LIEA   11/17/2020   RT   12/13/2020   WN;3544;MDW;TPA                   HEATHERTON             AZ                      US   74871   130121805@AIRLINE.KIWI.COM
P9LIEA   11/17/2020   RT   12/13/2020   WN;3544;MDW;TPA                   HEATHERTON             AZ                      US   74871   130121805@AIRLINE.KIWI.COM
P9UNUQ   11/17/2020   OB   12/18/2020   WN;6983;DEN;ATL                   NEW JENNIFERHAVEN      VA                      US   54034   130118417@AIRLINE.KIWI.COM
PA2OEO   11/17/2020   OB   11/24/2020   WN;102;BWI;MIA                    D BALASHOV             SARATOVSKAYA OBLAST     RU   22608   130121926@AIRLINE.KIWI.COM
PA2OEO   11/17/2020   OB   11/24/2020   WN;1896;DEN;BWI                   D BALASHOV             SARATOVSKAYA OBLAST     RU   22608   130121926@AIRLINE.KIWI.COM
PAFRCY   11/17/2020   OB   12/23/2020   WN;3078;DEN;BWI                   XASHURI                SAMEGRELOZEMO SVANETI   GE   18916   130122201@AIRLINE.KIWI.COM
PATBVY   11/17/2020   OB   12/19/2020   WN;2111;BWI;MDW;WN;2337;MDW;SFO   LORILAND               CO                      US   79657   130122344@AIRLINE.KIWI.COM




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PATBVY   11/17/2020   OB   12/19/2020   WN;2111;BWI;MDW;WN;2337;MDW;SFO   LORILAND               CO                     US   79657   130122344@AIRLINE.KIWI.COM
PAYZ9N   11/17/2020   OB    3/11/2021   WN;2112;ONT;PHX;WN;382;PHX;ATL    HOBBSFURT              RI                     US    9135   130122289@AIRLINE.KIWI.COM
PAYZ9N   11/17/2020   OB    3/11/2021   WN;2112;ONT;PHX;WN;382;PHX;ATL    HOBBSFURT              RI                     US    9135   130122289@AIRLINE.KIWI.COM
PAYZ9N   11/17/2020   RT    3/15/2021   WN;2186;ATL;DEN;WN;2110;DEN;ONT   HOBBSFURT              RI                     US    9135   130122289@AIRLINE.KIWI.COM
PAYZ9N   11/17/2020   RT    3/15/2021   WN;2186;ATL;DEN;WN;2110;DEN;ONT   HOBBSFURT              RI                     US    9135   130122289@AIRLINE.KIWI.COM
PE5AQS   11/17/2020   OB   12/24/2020   WN;4676;CMH;ATL                   AGRTLAA                TAMIL NADU             IN   87823   130123950@AIRLINE.KIWI.COM
PE6RVL   11/17/2020   OB    3/28/2021   WN;433;ATL;IND                    ASM                    DELHI                  IN    6087   130124115@AIRLINE.KIWI.COM
PE6RVL   11/17/2020   OB    3/28/2021   WN;433;ATL;IND                    ASM                    DELHI                  IN    6087   130124115@AIRLINE.KIWI.COM
PEMWYW   11/17/2020   OB    3/22/2021   WN;1723;IND;ATL                   PHAADR                 CHANDIGARH             IN   41734   130124104@AIRLINE.KIWI.COM
PEMWYW   11/17/2020   OB    3/22/2021   WN;1723;IND;ATL                   PHAADR                 CHANDIGARH             IN   41734   130124104@AIRLINE.KIWI.COM
PEPE86   11/17/2020   OB    12/9/2020   WN;2239;BNA;FLL                   SOUTH JOSHUAMOUTH      OR                     US   83426   130124313@AIRLINE.KIWI.COM
PESN4N   11/17/2020   OB   11/27/2020   WN;6332;MDW;MSP                   SAN FEDERICO LOS ALT   JALISCO                MX   11873   130124203@AIRLINE.KIWI.COM
PGIRJX   11/17/2020   OB    12/1/2020   WN;366;DEN;BWI                    EAST CRAIG             VA                     US   93356   130125369@AIRLINE.KIWI.COM
PGMLDU   11/17/2020   OB     4/5/2021   WN;705;ECP;BNA                    EAST STEPHANIE         KY                     US   24380   126506545.1501557@AIRLINE.KIWI.COM
PHIUSS   11/17/2020   OB    12/2/2020   WN;4145;MIA;TPA                   WEST JOHN              MN                     US   86564   130126282@AIRLINE.KIWI.COM
PKLWOO   11/17/2020   OB   12/23/2020   WN;2462;OAK;MDW;WN;4998;MDW;STL   WEST NICOLE            MT                     US   64640   130127118@AIRLINE.KIWI.COM
PKU87G   11/17/2020   OB   12/17/2020   WN;155;ATL;LGA                    PRUITTCHESTER          NJ                     US   68938   130128053@AIRLINE.KIWI.COM
PKXOTI   11/17/2020   OB   11/22/2020   WN;994;MDW;DEN                    CRUZBURGH              MO                     US   95870   130127382@AIRLINE.KIWI.COM
PNUYLU   11/17/2020   OB    12/5/2020   WN;4293;ONT;PHX                   PORT BRYANHAVEN        LA                     US     700   130130011@AIRLINE.KIWI.COM
QEXXDD   11/17/2020   OB    12/3/2020   WN;2730;CLT;DEN;WN;2029;DEN;SFO   MOYERVILLE             MD                     US   41216   130153507@AIRLINE.KIWI.COM
QFJTLU   11/17/2020   OB    12/3/2020   WN;2730;CLT;DEN;WN;2029;DEN;SFO   WEST ERIN              SC                     US   10886   130153507@AIRLINE.KIWI.COM
QFRF63   11/17/2020   OB    12/7/2020   WN;2088;DEN;HOU                   TAI BAO SHI            HUALIEN                TW   67398   130153584@AIRLINE.KIWI.COM
QI45TZ   11/17/2020   OB   12/26/2020   WN;1770;ATL;HOU;WN;6847;HOU;ELP   EAST TAMMYBOROUGH      NJ                     US   91323   130156356@AIRLINE.KIWI.COM
QI45TZ   11/17/2020   OB   12/26/2020   WN;1770;ATL;HOU;WN;6847;HOU;ELP   EAST TAMMYBOROUGH      NJ                     US   91323   130156356@AIRLINE.KIWI.COM
QK6PZM   11/17/2020   OB   11/30/2020   WN;2152;DEN;MSY                   FRANKTON               NC                     US   24269   130158545@AIRLINE.KIWI.COM
QK6PZM   11/17/2020   OB   11/30/2020   WN;2152;DEN;MSY                   FRANKTON               NC                     US   24269   130158545@AIRLINE.KIWI.COM
QL3JW4   11/17/2020   OB    12/7/2020   WN;1438;ATL;RIC                   JOSHUATOWN             DE                     US   34338   130159964@AIRLINE.KIWI.COM
QLEOV3   11/17/2020   OB   11/17/2020   WN;1493;SMF;LAS                   MIGUELFORT             MI                     US   10054   130160349@AIRLINE.KIWI.COM
QMLSJW   11/17/2020   OB   12/22/2020   WN;1607;BWI;CUN                   SAN GRACIELA DE LA M   TAMAULIPAS             MX   94924   130119099.1501794@AIRLINE.KIWI.COM
QMLSJW   11/17/2020   OB   12/22/2020   WN;1607;BWI;CUN                   SAN GRACIELA DE LA M   TAMAULIPAS             MX   94924   130119099.1501794@AIRLINE.KIWI.COM
QNWJMX   11/17/2020   OB   12/20/2020   WN;112;STL;ATL;WN;1333;ATL;RIC    EAST RANDYBURGH        OR                     US   78742   130163627@AIRLINE.KIWI.COM
QNYMFO   11/17/2020   OB   11/25/2020   WN;2867;MCO;MCI;WN;2867;MCI;LAX   NEW RONALDPORT         VA                     US   33706   130163572@AIRLINE.KIWI.COM
QOLS7N   11/17/2020   OB   11/24/2020   WN;1800;MSY;RDU                   CATHERINEFURT          NC                     US   94301   130164705@AIRLINE.KIWI.COM
QPYJG4   11/17/2020   OB    12/1/2020   WN;1805;AUA;BWI                   DOYLEFORT              CENTRAL BEDFORDSHIRE   GB   12675   130166146@AIRLINE.KIWI.COM
QQETSH   11/17/2020   OB   12/10/2020   WN;2026;ATL;DEN                   NEW DEBRAVILLE         VT                     US   84663   130168016@AIRLINE.KIWI.COM
QQETSH   11/17/2020   RT   12/13/2020   WN;2968;DEN;ATL                   NEW DEBRAVILLE         VT                     US   84663   130168016@AIRLINE.KIWI.COM
QRN5O7   11/17/2020   OB   11/26/2020   WN;2823;ATL;BWI;WN;2995;BWI;PVD   NEW BRIANSTAD          OH                     US    2340   130169380@AIRLINE.KIWI.COM
QUWJON   11/17/2020   OB   11/18/2020   WN;2773;ATL;BNA;WN;6818;BNA;PIT   WILLIAMSPORT           WA                     US   13960   130173252@AIRLINE.KIWI.COM
QWZCTW   11/17/2020   OB   12/14/2020   WN;2016;ATL;BWI;WN;3551;BWI;CVG   FRENCHBOROUGH          CT                     US    6164   130175771@AIRLINE.KIWI.COM
QXC227   11/17/2020   OB   12/20/2020   WN;1082;DEN;AUS                   MELISSAFURT            OH                     US   56545   130176695@AIRLINE.KIWI.COM
QXC227   11/17/2020   OB   12/20/2020   WN;1082;DEN;AUS                   MELISSAFURT            OH                     US   56545   130176695@AIRLINE.KIWI.COM
QYIB7Y   11/17/2020   OB   12/27/2020   WN;3361;GSP;ATL                   HODGEFURT              ME                     US   15785   130178048@AIRLINE.KIWI.COM
QZD9SE   11/17/2020   OB   11/17/2020   WN;4788;OMA;MDW                   EAST TERRI             VA                     US   40194   130179038@AIRLINE.KIWI.COM
QZHJBN   11/17/2020   OB   11/29/2020   WN;1725;ATL;MCO                   KAYLABURGH             DE                     US   77569   125544188.1501870@AIRLINE.KIWI.COM
QZHJBN   11/17/2020   OB   11/29/2020   WN;1725;ATL;MCO                   KAYLABURGH             DE                     US   77569   125544188.1501870@AIRLINE.KIWI.COM
QZHJBN   11/17/2020   OB   11/29/2020   WN;1725;ATL;MCO                   KAYLABURGH             DE                     US   77569   125544188.1501870@AIRLINE.KIWI.COM
QZHJBN   11/17/2020   OB   11/29/2020   WN;1725;ATL;MCO                   KAYLABURGH             DE                     US   77569   125544188.1501870@AIRLINE.KIWI.COM
QZHJBN   11/17/2020   OB   11/29/2020   WN;1725;ATL;MCO                   KAYLABURGH             DE                     US   77569   125544188.1501870@AIRLINE.KIWI.COM
R2J3WB   11/17/2020   OB   11/25/2020   WN;4405;CVG;MCO                   PERRYSIDE              AL                     US   44838   130180501@AIRLINE.KIWI.COM
R2QLAG   11/17/2020   OB   12/17/2020   WN;1245;BWI;BOS                   NEW JOE                SD                     US   52117   130181073@AIRLINE.KIWI.COM
R335MW   11/17/2020   OB   12/23/2020   WN;3690;MCO;DEN                   NORTH REGINASHIRE      IN                     US   41645   130181865@AIRLINE.KIWI.COM
R4U9IW   11/17/2020   OB     1/1/2021   WN;2516;BWI;HOU                   NEW BRITTANYSHIRE      LA                     US   72022   130183834@AIRLINE.KIWI.COM
R4U9IW   11/17/2020   RT     1/5/2021   WN;2284;HOU;BWI                   NEW BRITTANYSHIRE      LA                     US   72022   130183834@AIRLINE.KIWI.COM
R5TY88   11/17/2020   OB   11/18/2020   WN;2713;MSY;DAL                   WEST GARY              ME                     US   26198   130185462@AIRLINE.KIWI.COM
R5YVBZ   11/17/2020   OB    12/9/2020   WN;3642;LAS;HOU;WN;661;HOU;MIA    BRITTANYBURGH          WA                     US   10198   130185847@AIRLINE.KIWI.COM
R9JDYT   11/17/2020   OB    12/7/2020   WN;3236;DEN;BWI                   PORT TAMMIE            HI                     US   51642   130190654@AIRLINE.KIWI.COM
R9JDYT   11/17/2020   OB    12/7/2020   WN;3236;DEN;BWI                   PORT TAMMIE            HI                     US   51642   130190654@AIRLINE.KIWI.COM
RCRXLG   11/17/2020   OB   12/14/2020   WN;2675;BWI;CLT                   EAST MARTHASTAD        OK                     US   38854   130194537@AIRLINE.KIWI.COM
RCRXLG   11/17/2020   OB   12/14/2020   WN;2675;BWI;CLT                   EAST MARTHASTAD        OK                     US   38854   130194537@AIRLINE.KIWI.COM
RCY3OJ   11/17/2020   OB   12/24/2020   WN;3927;PHX;DAL                   PORTERPORT             FL                     US   39517   130194713@AIRLINE.KIWI.COM
RE746D   11/17/2020   OB    12/3/2020   WN;2730;CLT;DEN                   JENNIFERBERG           NM                     US   70897   130196143@AIRLINE.KIWI.COM
RE746D   11/17/2020   RT    12/7/2020   WN;2323;DEN;CLT                   JENNIFERBERG           NM                     US   70897   130196143@AIRLINE.KIWI.COM
REGSA9   11/17/2020   OB    12/8/2020   WN;2577;MIA;HOU;WN;1589;HOU;LAS   ROBERTFURT             TX                     US   65728   130197397@AIRLINE.KIWI.COM
RGX9W9   11/17/2020   OB   11/25/2020   WN;2052;CLT;DEN                   EAST KATHERINE         NC                     US   46925   130198717@AIRLINE.KIWI.COM
RH2Y88   11/17/2020   OB    12/3/2020   WN;2566;LAS;HOU                   HICKSBURGH             OR                     US    1093   130199663@AIRLINE.KIWI.COM
RHNNYQ   11/17/2020   OB    12/1/2020   WN;763;DEN;CLT                    PORT JESSICA           KY                     US   14317   130199762@AIRLINE.KIWI.COM
RHT2DV   11/17/2020   OB   11/26/2020   WN;4877;SMF;LGB                   MELINDABURGH           IN                     US   11419   130200279@AIRLINE.KIWI.COM
RHZWOV   11/17/2020   OB   12/22/2020   WN;655;SAT;DAL                    CINNPH                 UTTAR PRADESH          IN   82134   130200191@AIRLINE.KIWI.COM
RJB7O2   11/17/2020   OB   11/29/2020   WN;4959;SNA;SMF;WN;4959;SMF;PDX   EAST JEREMY            ME                     US   82037   130201698@AIRLINE.KIWI.COM
RJM9PN   11/17/2020   OB    12/9/2020   WN;3189;PHL;MDW;WN;2457;MDW;LAS   SPENCERLAND            AR                     US   84787   130202457@AIRLINE.KIWI.COM
RKI6MX   11/17/2020   OB   11/26/2020   WN;4858;LAS;TPA;WN;4147;TPA;MIA   CIRAALAA               MANIPUR                IN   85908   130203084@AIRLINE.KIWI.COM
RKNJUI   11/17/2020   OB   11/22/2020   WN;381;SNA;SMF                    SOUTH JEFF             PA                     US   99375   130202974@AIRLINE.KIWI.COM
RLH5JS   11/17/2020   OB    12/6/2020   WN;2675;BWI;CLT                   BRANDONVIEW            LA                     US    6221   130203865@AIRLINE.KIWI.COM
RLK9CN   11/17/2020   OB    12/3/2020   WN;2247;CLT;BWI;WN;1609;BWI;CUN   PORT SARAH             NM                     US    7679   130203865@AIRLINE.KIWI.COM
RLZHUH   11/17/2020   OB   11/24/2020   WN;4336;FLL;RDU                   SAMUELMOUTH            MD                     US   68439   130204008@AIRLINE.KIWI.COM
RM9RUP   11/17/2020   OB   11/24/2020   WN;4164;MIA;MDW;WN;2049;MDW;BOS   EAST BRANDONBOROUGH    NH                     US   11016   130204635@AIRLINE.KIWI.COM
RN6WAI   11/17/2020   OB   11/18/2020   WN;3561;ITO;HNL;WN;590;HNL;OGG    PAULTOWN               NH                     US   59856   130205724@AIRLINE.KIWI.COM
RN6WAI   11/17/2020   RT   11/28/2020   WN;733;OGG;HNL;WN;595;HNL;ITO     PAULTOWN               NH                     US   59856   130205724@AIRLINE.KIWI.COM
RNRF9S   11/17/2020   OB   12/19/2020   WN;164;PVD;MCO                    PORT YMM               RAFAH                  PS   85505   130205350@AIRLINE.KIWI.COM
RTKUQP   11/18/2020   OB   12/26/2020   WN;1886;DEN;DAL                   LATASHATOWN            AR                     US   13314   130209937@AIRLINE.KIWI.COM
RTKUQP   11/18/2020   OB   12/26/2020   WN;1886;DEN;DAL                   LATASHATOWN            AR                     US   13314   130209937@AIRLINE.KIWI.COM
RVHXX7   11/18/2020   OB    3/15/2021   WN;2094;LAS;LAX                   SOUTH MARTHA           MT                     US   41287   130210828@AIRLINE.KIWI.COM
RVNKUF   11/18/2020   OB   11/26/2020   WN;4115;MDW;STL                   ALEJANDRABOROUGH       CT                     US   47512   130211004@AIRLINE.KIWI.COM
RW44IO   11/18/2020   OB     1/3/2021   WN;1877;ABQ;SAN                   CHARLESFURT            UT                     US   87396   130211543@AIRLINE.KIWI.COM
RXO4YP   11/18/2020   OB   11/25/2020   WN;1210;PHX;SMF                   EDWARDVILLE            OK                     US   49903   130200961@AIRLINE.KIWI.COM
RXO4YP   11/18/2020   OB   11/25/2020   WN;1210;PHX;SMF                   EDWARDVILLE            OK                     US   49903   130200961@AIRLINE.KIWI.COM
RXO4YP   11/18/2020   OB   11/25/2020   WN;1210;PHX;SMF                   EDWARDVILLE            OK                     US   49903   130200961@AIRLINE.KIWI.COM
RYKIKK   11/18/2020   OB   11/25/2020   WN;4193;MSY;DEN;WN;3052;DEN;SMF   NEW BRENDANFORT        KY                     US   98594   130212841@AIRLINE.KIWI.COM
RYNR7S   11/18/2020   OB   11/25/2020   WN;3789;PNS;DAL                   PORT JOSEPHSTAD        MD                     US   11822   130213171@AIRLINE.KIWI.COM
RZ5FOP   11/18/2020   OB   11/20/2020   WN;1008;ATL;BWI;WN;401;BWI;ROC    SOUTH STEPHANIE        SC                     US   22067   130213259@AIRLINE.KIWI.COM
RZPNCA   11/18/2020   OB   11/27/2020   WN;486;DEN;IND                    YANGPORT               AL                     US   88752   130213633@AIRLINE.KIWI.COM
S2V5LM   11/18/2020   OB    12/9/2020   WN;4557;PHL;DEN;WN;4346;DEN;LAX   BARRYFURT              GA                     US   69723   130214480@AIRLINE.KIWI.COM
S33MHF   11/18/2020   OB   12/13/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   WEST JAMESVILLE        TX                     US   69474   130214480@AIRLINE.KIWI.COM
S3RWUL   11/18/2020   OB   11/25/2020   WN;3789;PNS;DAL                   ROBINSONLAND           MI                     US   61237   130214887@AIRLINE.KIWI.COM
S6MHMS   11/18/2020   OB   12/26/2020   WN;1927;OMA;MDW                   EAST BENJAMINCHESTER   NC                     US   79496   130216152@AIRLINE.KIWI.COM
S6W9SC   11/18/2020   OB   12/23/2020   WN;2772;PHX;BWI                   MENDEZMOUTH            SD                     US   24693   130216262@AIRLINE.KIWI.COM
S72QJ9   11/18/2020   OB   12/16/2020   WN;1978;STL;RSW                   HALLCHESTER            TN                     US   74484   130216361@AIRLINE.KIWI.COM
S7728S   11/18/2020   OB   11/26/2020   WN;642;OAK;DEN;WN;4512;DEN;IND    ARMSTRONGBURGH         TX                     US   68120   130216097@AIRLINE.KIWI.COM
S7IDP9   11/18/2020   OB    12/2/2020   WN;3321;RSW;STL                   DAVIDSONVILLE          CA                     US   38176   130216361@AIRLINE.KIWI.COM
S7N4II   11/18/2020   OB   11/24/2020   WN;4660;MDW;LAS;WN;3542;LAS;ONT   NEW ERIKATOWN          MN                     US   30797   130216691@AIRLINE.KIWI.COM
S7Q539   11/18/2020   OB   11/22/2020   WN;369;BNA;DCA                    EAST JESSEBOROUGH      NY                     US   51426   130216328@AIRLINE.KIWI.COM
S8I2VM   11/18/2020   OB   12/23/2020   WN;1881;PVD;BWI;WN;2299;BWI;AUS   NEW JEREMY             ID                     US   62973   130217285@AIRLINE.KIWI.COM
S8VMTZ   11/18/2020   OB   11/20/2020   WN;2888;CLT;DEN                   LAKE JOHNATHANMOUTH    IL                     US    9225   130217230@AIRLINE.KIWI.COM
S8YJ3H   11/18/2020   OB     1/5/2021   WN;422;DEN;HOU;WN;1058;HOU;MIA    NORTH RANDYSIDE        UT                     US   60758   130217527@AIRLINE.KIWI.COM
S8YJ3H   11/18/2020   OB     1/5/2021   WN;422;DEN;HOU;WN;1058;HOU;MIA    NORTH RANDYSIDE        UT                     US   60758   130217527@AIRLINE.KIWI.COM
S95AMM   11/18/2020   OB   11/19/2020   WN;244;ATL;MDW;WN;1427;MDW;DTW    TANNERSIDE             NJ                     US    5926   130217340@AIRLINE.KIWI.COM
S9EGZE   11/18/2020   OB   12/24/2020   WN;3254;ATL;RDU                   NORTH KATHRYNBURGH     NC                     US    5183   130217923@AIRLINE.KIWI.COM




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S9EGZE   11/18/2020   OB   12/24/2020   WN;3254;ATL;RDU                   NORTH KATHRYNBURGH     NC                     US    5183   130217923@AIRLINE.KIWI.COM
S9FW4R   11/18/2020   OB     1/2/2021   WN;205;ATL;HOU                    WHITELAND              CA                     US   85978   130213908@AIRLINE.KIWI.COM
S9TIA4   11/18/2020   OB   12/23/2020   WN;4063;MDW;BWI                   FITZGERALDVILLE        TN                     US   18688   130217912@AIRLINE.KIWI.COM
SACH6M   11/18/2020   OB    12/6/2020   WN;2624;PDX;DEN                   ROBERTFORT             AL                     US   36614   130218385@AIRLINE.KIWI.COM
SACH6M   11/18/2020   OB    12/6/2020   WN;2624;PDX;DEN                   ROBERTFORT             AL                     US   36614   130218385@AIRLINE.KIWI.COM
SARNF4   11/18/2020   OB   11/25/2020   WN;2052;CLT;DEN                   LAKE TIFFANY           VT                     US   76905   130217263@AIRLINE.KIWI.COM
SARNF4   11/18/2020   RT    12/1/2020   WN;763;DEN;CLT                    LAKE TIFFANY           VT                     US   76905   130217263@AIRLINE.KIWI.COM
SCB7BT   11/18/2020   OB   12/18/2020   WN;931;MDW;LAS                    LAKE DIANESTAD         ME                     US   70345   130219375@AIRLINE.KIWI.COM
SDXFFT   11/18/2020   OB   11/19/2020   WN;272;MCO;MBJ                    JACOBSSHIRE            GA                     US   86435   130220464@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SE8T28   11/18/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NEW CLINTON            LA                     US   38217   130220563@AIRLINE.KIWI.COM
SESDY4   11/18/2020   OB     1/3/2021   WN;6903;MSY;DEN                   PORT DIANATON          CA                     US   55938   130220948@AIRLINE.KIWI.COM
SETS5D   11/18/2020   OB   11/25/2020   WN;4534;BUR;OAK                   NEW NICOLESTAD         MI                     US   43642   130220838@AIRLINE.KIWI.COM
SEY58H   11/18/2020   OB     1/8/2021   WN;433;DEN;ATL;WN;4115;ATL;MSY    SOUTH LARRY            TN                     US   71494   130220948@AIRLINE.KIWI.COM
SFICEW   11/18/2020   OB   12/20/2020   WN;281;DEN;TUL                    SOUTH RBH              HEBRON                 PS   12397   130221091@AIRLINE.KIWI.COM
SFXXQL   11/18/2020   OB    12/9/2020   WN;2098;DEN;LAX                   PORT RACHEL            NJ                     US   36155   130221575@AIRLINE.KIWI.COM
SGHP4U   11/18/2020   OB   12/21/2020   WN;1131;LAX;SMF                   TUCKERBOROUGH          NH                     US   59025   130221938@AIRLINE.KIWI.COM
SGHP4U   11/18/2020   RT   12/26/2020   WN;333;SMF;LAX                    TUCKERBOROUGH          NH                     US   59025   130221938@AIRLINE.KIWI.COM
SH9VK9   11/18/2020   OB    12/2/2020   WN;2775;DAL;LGA                   IBARRALAND             MA                     US   30699   130222422@AIRLINE.KIWI.COM
SHHPTU   11/18/2020   OB     1/3/2021   WN;3939;LAX;TUS                   OBRIENHAVEN            KY                     US   12535   130222642@AIRLINE.KIWI.COM
SJBYEZ   11/18/2020   OB   11/27/2020   WN;629;SFO;PHX                    ERICABURGH             WV                     US   24321   130223280@AIRLINE.KIWI.COM
SJBYEZ   11/18/2020   OB   11/27/2020   WN;629;SFO;PHX                    ERICABURGH             WV                     US   24321   130223280@AIRLINE.KIWI.COM
SM5MHL   11/18/2020   OB   11/25/2020   WN;1897;ATL;LAS;WN;2495;LAS;SMF   ELLISMOUTH             AK                     US   63527   130224699@AIRLINE.KIWI.COM
SNROG7   11/18/2020   OB   12/31/2020   WN;4842;PHX;SMF;WN;4842;SMF;SEA   KAJARAN                SIRAK                  AM   38385   130225601@AIRLINE.KIWI.COM
SOILZ7   11/18/2020   OB    12/2/2020   WN;244;BOS;BWI;WN;2221;BWI;MIA    EAST DENNISPORT        WESTERN AUSTRALIA      AU   26601   130226107@AIRLINE.KIWI.COM
SRBNDX   11/18/2020   OB   12/30/2020   WN;171;ORF;BWI;WN;849;BWI;CLT     MICHAELVIEW            MN                     US   80363   130228098@AIRLINE.KIWI.COM
SRBNDX   11/18/2020   OB   12/30/2020   WN;171;ORF;BWI;WN;849;BWI;CLT     MICHAELVIEW            MN                     US   80363   130228098@AIRLINE.KIWI.COM
SSG64J   11/18/2020   OB   11/29/2020   WN;4752;MCI;MKE                   NORTH JONATHANFORT     WI                     US   67565   130229308@AIRLINE.KIWI.COM
SSG64J   11/18/2020   OB   11/29/2020   WN;4752;MCI;MKE                   NORTH JONATHANFORT     WI                     US   67565   130229308@AIRLINE.KIWI.COM
ST975S   11/18/2020   OB   11/22/2020   WN;610;PDX;OAK;WN;2532;OAK;GEG    EAST DAVIDBURGH        SC                     US   75190   130229407@AIRLINE.KIWI.COM
T6JGRT   11/18/2020   OB   11/22/2020   WN;1493;LAX;PHX                   DUGA RESA              GRAD ZAGREB            HR   10744   130238592@AIRLINE.KIWI.COM
T94T4J   11/18/2020   OB   11/25/2020   WN;6781;PHX;DAL                   JASONMOUTH             KS                     US   56218   130241606@AIRLINE.KIWI.COM
T94T4J   11/18/2020   RT    12/1/2020   WN;902;DAL;PHX                    JASONMOUTH             KS                     US   56218   130241606@AIRLINE.KIWI.COM
TE2Z49   11/18/2020   OB   11/26/2020   WN;6957;ELP;DAL;WN;6659;DAL;BHM   SOUTH JOHNNYVILLE      NY                     US   72488   130246281@AIRLINE.KIWI.COM
TH7NNB   11/18/2020   OB    12/8/2020   WN;3266;PVD;BWI;WN;2924;BWI;ORF   LAKE HAILEYBOROUGH     NM                     US   73757   130249471@AIRLINE.KIWI.COM
TOSZ33   11/18/2020   OB   11/20/2020   WN;939;BWI;BNA                    NEW VERNON             MT                     US   76201   130258832@AIRLINE.KIWI.COM
TRTCW9   11/18/2020   OB   11/29/2020   WN;6266;ATL;HOU                   NORTH TERESA           NM                     US   32241   130263045@AIRLINE.KIWI.COM
TSA3LB   11/18/2020   OB   11/25/2020   WN;3391;HOU;ATL                   EAST JADE              PA                     US    3849   130263045@AIRLINE.KIWI.COM
TTGV92   11/18/2020   OB    12/2/2020   WN;2739;SAT;DEN                   PORT DAVID             RI                     US   13446   130264387@AIRLINE.KIWI.COM
TTKZG8   11/18/2020   OB   11/26/2020   WN;1969;MDW;DEN                   TRAORE                 ALPESDEHAUTEPROVENCE   FR   39896   130264695@AIRLINE.KIWI.COM
TU4UC8   11/18/2020   OB   11/30/2020   WN;3049;DEN;HOU;WN;4670;HOU;SAT   RACHELMOUTH            NY                     US    4511   130265025@AIRLINE.KIWI.COM
TVZRCG   11/18/2020   OB   12/18/2020   WN;158;HOU;LAS                    PEKANBARU              SULAWESI               ID   44401   130267126@AIRLINE.KIWI.COM
TVZRCG   11/18/2020   OB   12/18/2020   WN;158;HOU;LAS                    PEKANBARU              SULAWESI               ID   44401   130267126@AIRLINE.KIWI.COM
TVZRCG   11/18/2020   RT   12/21/2020   WN;1396;LAS;HOU                   PEKANBARU              SULAWESI               ID   44401   130267126@AIRLINE.KIWI.COM
TVZRCG   11/18/2020   RT   12/21/2020   WN;1396;LAS;HOU                   PEKANBARU              SULAWESI               ID   44401   130267126@AIRLINE.KIWI.COM
TWS2UO   11/18/2020   OB    12/8/2020   WN;1954;AMA;LAS;WN;1534;LAS;SMF   PORT KAYLA             OR                     US   96175   130268039@AIRLINE.KIWI.COM
TYUFR3   11/18/2020   OB   11/24/2020   WN;3718;ATL;STL;WN;3295;STL;TUL   WEST KATHERINEFORT     OR                     US   60655   130270008@AIRLINE.KIWI.COM
TZVM4P   11/18/2020   OB     1/3/2021   WN;2278;PDX;SMF                   SOUTH MICHEAL          VT                     US   65148   130271999@AIRLINE.KIWI.COM
U26SRB   11/18/2020   OB   11/24/2020   WN;2019;FLL;PIT                   LAKE KIMBERLY          QORMI                  MT   41262   130272043@AIRLINE.KIWI.COM
U28QFN   11/18/2020   OB   11/24/2020   WN;4657;PIT;FLL                   COURTNEYPORT           LEMESOS                CY    2540   130272043@AIRLINE.KIWI.COM
U29VG4   11/18/2020   OB   11/27/2020   WN;1427;PHX;SNA                   WEST CHADPORT          GA                     US   62270   130272340@AIRLINE.KIWI.COM
U2A9D4   11/18/2020   OB     1/2/2021   WN;6988;SMF;PDX                   NORTH THOMASLAND       TX                     US   69622   130271999@AIRLINE.KIWI.COM
U2EGJ9   11/18/2020   OB   12/23/2020   WN;2240;SAT;HOU;WN;4273;HOU;BNA   WEST WILLIAM           NY                     US   35852   130262330@AIRLINE.KIWI.COM
U2JMAS   11/18/2020   OB   11/25/2020   WN;2697;CLT;BWI;WN;4467;BWI;MCO   LAKE STEPHANIETOWN     AZ                     US    3827   130271944@AIRLINE.KIWI.COM
U2RFHL   11/18/2020   OB   11/24/2020   WN;4657;PIT;FLL                   WEST KRISTINBURY       MD                     US   36823   130273077@AIRLINE.KIWI.COM
U3PFI7   11/18/2020   OB   12/12/2020   WN;1607;BWI;CUN                   CASEYSIDE              NC                     US   40105   130274672@AIRLINE.KIWI.COM
U3Q3IQ   11/18/2020   OB    3/20/2021   WN;2218;PHX;MSP                   LAKE NICOLASBURGH      KS                     US   87045   130274474@AIRLINE.KIWI.COM
U4PWP3   11/18/2020   OB    12/2/2020   WN;3767;LAX;DAL;WN;2956;DAL;ATL   SUWEONSI YEONGTONGGU   JEJUDO                 KR   29238   130275552@AIRLINE.KIWI.COM
U62MSA   11/18/2020   OB   12/28/2020   WN;3372;LGA;TPA                   BROWNMOUTH             NH                     US   18328   130277257@AIRLINE.KIWI.COM
U64XYK   11/18/2020   OB   12/24/2020   WN;3940;ABQ;DEN                   EDWARDFORT             MO                     US   39600   130277741@AIRLINE.KIWI.COM
U6KGFX   11/18/2020   OB   12/12/2020   WN;1607;BWI;CUN                   JOHNNYBOROUGH          ND                     US   81845   130278324@AIRLINE.KIWI.COM
U6KGFX   11/18/2020   OB   12/12/2020   WN;1607;BWI;CUN                   JOHNNYBOROUGH          ND                     US   81845   130278324@AIRLINE.KIWI.COM
U6KGFX   11/18/2020   RT   12/16/2020   WN;1608;CUN;BWI                   JOHNNYBOROUGH          ND                     US   81845   130278324@AIRLINE.KIWI.COM
U6KGFX   11/18/2020   RT   12/16/2020   WN;1608;CUN;BWI                   JOHNNYBOROUGH          ND                     US   81845   130278324@AIRLINE.KIWI.COM
U99HC8   11/18/2020   OB   12/16/2020   WN;815;CMH;MDW                    PORT LORIBERG          NV                     US   74519   130280304@AIRLINE.KIWI.COM
UAN7JC   11/18/2020   OB   11/25/2020   WN;4651;PHL;BNA;WN;1621;BNA;CLT   SUMMERFORT             CO                     US   21250   130282911@AIRLINE.KIWI.COM
UASLG3   11/18/2020   OB   12/11/2020   WN;3212;HOU;TPA                   WEST KEVINTOWN         AK                     US   39854   130283010@AIRLINE.KIWI.COM
UCUIB3   11/18/2020   OB   11/29/2020   WN;3320;PHX;MCO                   OPOLE                  POMORSKIE              PL   34946   130285034@AIRLINE.KIWI.COM
UEPURN   11/18/2020   OB     1/6/2021   WN;1378;JAX;ATL;WN;846;ATL;RIC    NEW KAITLYNMOUTH       NJ                     US   45976   130286618@AIRLINE.KIWI.COM
UF8VUG   11/18/2020   OB   12/25/2020   WN;6400;OAK;SAN                   YI LAN XIAN            KAOHSIUNG CITY         TW   46438   130288147@AIRLINE.KIWI.COM
UFDAUF   11/18/2020   OB   12/26/2020   WN;1114;MIA;HOU;WN;6761;HOU;AUS   JOSEPHCHESTER          OH                     US   93452   130287498@AIRLINE.KIWI.COM
UFDAUF   11/18/2020   OB   12/26/2020   WN;1114;MIA;HOU;WN;6761;HOU;AUS   JOSEPHCHESTER          OH                     US   93452   130287498@AIRLINE.KIWI.COM
UFDAUF   11/18/2020   RT     1/3/2021   WN;1785;AUS;HOU;WN;3485;HOU;MIA   JOSEPHCHESTER          OH                     US   93452   130287498@AIRLINE.KIWI.COM
UFDAUF   11/18/2020   RT     1/3/2021   WN;1785;AUS;HOU;WN;3485;HOU;MIA   JOSEPHCHESTER          OH                     US   93452   130287498@AIRLINE.KIWI.COM
UFJ4XL   11/18/2020   OB   12/29/2020   WN;444;DAL;MDW                    MANNVIEW               NH                     US   73118   130288455@AIRLINE.KIWI.COM
UG2A5X   11/18/2020   OB   11/25/2020   WN;2190;RDU;BWI                   MONTGOMERYMOUTH        CT                     US   33003   130288675@AIRLINE.KIWI.COM
UG2A5X   11/18/2020   OB   11/25/2020   WN;2190;RDU;BWI                   MONTGOMERYMOUTH        CT                     US   33003   130288675@AIRLINE.KIWI.COM
UG2A5X   11/18/2020   RT   11/28/2020   WN;1398;BWI;RDU                   MONTGOMERYMOUTH        CT                     US   33003   130288675@AIRLINE.KIWI.COM
UG2A5X   11/18/2020   RT   11/28/2020   WN;1398;BWI;RDU                   MONTGOMERYMOUTH        CT                     US   33003   130288675@AIRLINE.KIWI.COM
UG3CX7   11/18/2020   OB   12/29/2020   WN;114;MDW;BUF                    LAKE GEOFFREY          NH                     US   92819   130288455@AIRLINE.KIWI.COM
UG8BAY   11/18/2020   OB   12/22/2020   WN;6968;GEG;DEN;WN;895;DEN;DAL    JENNIFERBURGH          MI                     US   39002   130288455@AIRLINE.KIWI.COM
UJNISZ   11/18/2020   OB   11/21/2020   WN;1593;BUF;MCO;WN;1158;MCO;ATL   MANSIZSHIRE            ESKISEHIR              TR   86941   130291073@AIRLINE.KIWI.COM
UK2IJL   11/18/2020   OB   11/24/2020   WN;3939;LAS;LAX                   WEST BRUCESHIRE        NC                     US   35179   130291986@AIRLINE.KIWI.COM
UK3YMZ   11/18/2020   OB     1/2/2021   WN;26;BNA;JAX                     JONATHANMOUTH          TX                     US   15692   130292250@AIRLINE.KIWI.COM
UK9NMZ   11/18/2020   OB    12/7/2020   WN;1914;LGA;MDW;WN;2925;MDW;DAL   WEST DANIELLEBURY      MN                     US   66091   130293174@AIRLINE.KIWI.COM
UKF9DV   11/18/2020   OB   12/10/2020   WN;2944;SDF;ATL                   NICHOLASVIEW           VT                     US   22957   130292987@AIRLINE.KIWI.COM
UKF9DV   11/18/2020   OB   12/10/2020   WN;2944;SDF;ATL                   NICHOLASVIEW           VT                     US   22957   130292987@AIRLINE.KIWI.COM
UKF9DV   11/18/2020   OB   12/10/2020   WN;2944;SDF;ATL                   NICHOLASVIEW           VT                     US   22957   130292987@AIRLINE.KIWI.COM
UKF9DV   11/18/2020   OB   12/10/2020   WN;2944;SDF;ATL                   NICHOLASVIEW           VT                     US   22957   130292987@AIRLINE.KIWI.COM
UKF9DV   11/18/2020   OB   12/10/2020   WN;2944;SDF;ATL                   NICHOLASVIEW           VT                     US   22957   130292987@AIRLINE.KIWI.COM
UKKXMR   11/18/2020   OB    12/7/2020   WN;1914;LGA;MDW;WN;2925;MDW;DAL   WILSONBOROUGH          LUXEMBOURG             LU   45704   130293174@AIRLINE.KIWI.COM
UKOKH3   11/18/2020   OB   11/19/2020   WN;278;MDW;ATL                    MISTO IEFREM           RIVNENSKA OBLAST       UA    7636   130293735@AIRLINE.KIWI.COM
ULN7BU   11/18/2020   OB   11/19/2020   WN;902;DAL;PHX;WN;6156;PHX;PVR    VIEJA NAMIBIA          TAMAULIPAS             MX   14225   130294604@AIRLINE.KIWI.COM
UMD5XK   11/18/2020   OB    12/3/2020   WN;2016;ATL;BWI                   ANTHONYBERG            ND                     US   63342   130294802@AIRLINE.KIWI.COM
UOVK4P   11/18/2020   OB   11/29/2020   WN;4598;PHL;STL                   LAKE DAVID             SD                     US   82179   129103755.1502573@AIRLINE.KIWI.COM
UPNTOY   11/18/2020   OB    12/2/2020   WN;661;HOU;MIA                    WEST NICOLETON         NH                     US   20489   130297673@AIRLINE.KIWI.COM
UR5KTD   11/18/2020   OB   11/24/2020   WN;1064;MIA;TPA                   BONDVIEW               RI                     US   23949   130298652@AIRLINE.KIWI.COM
J2DCUN   11/19/2020   OB   11/19/2020   WN;561;ATL;HOU;WN;810;HOU;LAX     NORTH KRISTEN          WA                     US   42159   130365092@AIRLINE.KIWI.COM
J5H2D4   11/19/2020   OB   11/27/2020   WN;348;LAS;LGB                    NORTH RYAN             OR                     US   37066   130369602@AIRLINE.KIWI.COM
J5YIGG   11/19/2020   OB   11/23/2020   WN;1846;SAT;DEN;WN;3703;DEN;PDX   NORTH DESTINYMOUTH     IN                     US   47990   130369767@AIRLINE.KIWI.COM
J6NNDA   11/19/2020   OB    12/7/2020   WN;2938;ATL;PHL                   LAKE LEONARD           WI                     US   14358   130370570@AIRLINE.KIWI.COM




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J6R9QL   11/19/2020   OB    12/9/2020   WN;3368;ATL;HOU;WN;661;HOU;MIA    SOUTH NICHOLAS         KS                    US   80290   130370768@AIRLINE.KIWI.COM
J6XBHI   11/19/2020   OB    12/3/2020   WN;4937;SMF;LGB;WN;2735;LGB;AUS   SAN MONICA LOS BAJOS   SINALOA               MX   35907   130367831@AIRLINE.KIWI.COM
J7AU6O   11/19/2020   OB   12/14/2020   WN;2374;TPA;BWI;WN;2675;BWI;CLT   DAWSONBURGH            AK                    US   35554   130371010@AIRLINE.KIWI.COM
J7AU6O   11/19/2020   OB   12/14/2020   WN;2374;TPA;BWI;WN;2675;BWI;CLT   DAWSONBURGH            AK                    US   35554   130371010@AIRLINE.KIWI.COM
J7HLNS   11/19/2020   OB   12/11/2020   WN;2247;CLT;BWI;WN;4749;BWI;TPA   STRICKLANDVIEW         FL                    US   42828   130371010@AIRLINE.KIWI.COM
J7HLNS   11/19/2020   OB   12/11/2020   WN;2247;CLT;BWI;WN;4749;BWI;TPA   STRICKLANDVIEW         FL                    US   42828   130371010@AIRLINE.KIWI.COM
J93932   11/19/2020   OB   12/10/2020   WN;3655;MDW;LAX                   MARTINEZVILLE          AR                    US   84174   130373694@AIRLINE.KIWI.COM
J93932   11/19/2020   OB   12/10/2020   WN;3655;MDW;LAX                   MARTINEZVILLE          AR                    US   84174   130373694@AIRLINE.KIWI.COM
J93932   11/19/2020   RT   12/13/2020   WN;2110;LAX;MDW                   MARTINEZVILLE          AR                    US   84174   130373694@AIRLINE.KIWI.COM
J93932   11/19/2020   RT   12/13/2020   WN;2110;LAX;MDW                   MARTINEZVILLE          AR                    US   84174   130373694@AIRLINE.KIWI.COM
JA9GBP   11/19/2020   OB   11/21/2020   WN;2366;RDU;STL                   SOUTH TAMI             SC                    US   43878   130375311@AIRLINE.KIWI.COM
JB2ULT   11/19/2020   OB   12/11/2020   WN;3100;SEA;LAS                   BRANDIBURGH            NY                    US   69505   130375861@AIRLINE.KIWI.COM
JB8Z8K   11/19/2020   OB   12/14/2020   WN;1900;LAS;SEA                   WEST LEONARD           SC                    US   19050   130375861@AIRLINE.KIWI.COM
JDEGBA   11/19/2020   OB   11/25/2020   WN;4110;ORF;MCO;WN;1670;MCO;ATL   LAKE TIMOTHY           AL                    US   94790   130378336@AIRLINE.KIWI.COM
JDEGBA   11/19/2020   OB   11/25/2020   WN;4110;ORF;MCO;WN;1670;MCO;ATL   LAKE TIMOTHY           AL                    US   94790   130378336@AIRLINE.KIWI.COM
JEUSJJ   11/19/2020   OB    12/5/2020   WN;1641;ATL;DAL                   AMANDAFURT             HI                    US   98944   130380327@AIRLINE.KIWI.COM
JH5JMS   11/19/2020   OB   12/11/2020   WN;753;HNL;KOA                    LAKE CHRISTOPHER       SC                    US   35407   130381724@AIRLINE.KIWI.COM
JHSYOT   11/19/2020   OB   12/19/2020   WN;2006;ELP;PHX                   LAKE JULIEBURY         NH                    US   97465   130382703@AIRLINE.KIWI.COM
JK8L9Y   11/19/2020   OB   12/16/2020   WN;1923;BWI;BOS                   NORTH SHERIBURY        NE                    US   25372   130384518@AIRLINE.KIWI.COM
JKYKWA   11/19/2020   OB    12/9/2020   WN;1978;SMF;STL;WN;1933;STL;MDW   MICHELEVILLE           NH                    US    7487   130385596@AIRLINE.KIWI.COM
JKYKWA   11/19/2020   RT   12/13/2020   WN;2208;MDW;STL;WN;2814;STL;SMF   MICHELEVILLE           NH                    US    7487   130385596@AIRLINE.KIWI.COM
JL7BYX   11/19/2020   OB    12/1/2020   WN;1089;FLL;MDW                   NORTH SHEILA           UT                    US   24894   130385530@AIRLINE.KIWI.COM
JMFRJP   11/19/2020   OB   11/27/2020   WN;135;LGA;ATL;WN;144;ATL;OKC     JENNIFERVILLE          MS                    US   79293   130386795@AIRLINE.KIWI.COM
JMREPV   11/19/2020   OB    12/1/2020   WN;1089;FLL;MDW                   DARRELLLAND            MD                    US   84414   130387081@AIRLINE.KIWI.COM
JMREPV   11/19/2020   OB    12/1/2020   WN;1089;FLL;MDW                   DARRELLLAND            MD                    US   84414   130387081@AIRLINE.KIWI.COM
JMREPV   11/19/2020   OB    12/1/2020   WN;1089;FLL;MDW                   DARRELLLAND            MD                    US   84414   130387081@AIRLINE.KIWI.COM
JMS2N6   11/19/2020   OB   11/30/2020   WN;6864;DEN;OMA                   SOUTH JON              WV                    US   47465   130386652@AIRLINE.KIWI.COM
JOWPEQ   11/19/2020   OB   11/20/2020   WN;27;LAX;LAS                     LESLIESIDE             OH                    US   58122   130388764@AIRLINE.KIWI.COM
JP7HR6   11/19/2020   OB    12/5/2020   WN;1457;SMF;LAS                   NEW DANIELLE           NH                    US   88226   130389149@AIRLINE.KIWI.COM
JQ5SYU   11/19/2020   OB    12/4/2020   WN;4908;SLC;DEN                   SOUTH DENNIS           HI                    US   75922   130389688@AIRLINE.KIWI.COM
JQ5SYU   11/19/2020   OB    12/4/2020   WN;4908;SLC;DEN                   SOUTH DENNIS           HI                    US   75922   130389688@AIRLINE.KIWI.COM
JQWZPM   11/19/2020   OB    12/6/2020   WN;4202;ATL;DEN;WN;3927;DEN;LAX   NUEVA GABON            SAN LUIS POTOSI       MX   11551   130390326@AIRLINE.KIWI.COM
JROS5W   11/19/2020   OB   12/31/2020   WN;2572;SMF;DEN                   BRANDONVIEW            TN                    US   65727   130390788@AIRLINE.KIWI.COM
JSDIOV   11/19/2020   OB     1/7/2021   WN;4158;DEN;SMF                   ERIKAFORT              WA                    US   19460   130391129@AIRLINE.KIWI.COM
JSDIOV   11/19/2020   OB     1/7/2021   WN;4158;DEN;SMF                   ERIKAFORT              WA                    US   19460   130391129@AIRLINE.KIWI.COM
UVVJNB   11/19/2020   OB   12/24/2020   WN;642;OAK;DEN                    GARRISONFORT           MN                    US    6043   130300456@AIRLINE.KIWI.COM
UVVJNB   11/19/2020   OB   12/24/2020   WN;642;OAK;DEN                    GARRISONFORT           MN                    US    6043   130300456@AIRLINE.KIWI.COM
UVVJNB   11/19/2020   RT   12/27/2020   WN;2462;DEN;OAK                   GARRISONFORT           MN                    US    6043   130300456@AIRLINE.KIWI.COM
UVVJNB   11/19/2020   RT   12/27/2020   WN;2462;DEN;OAK                   GARRISONFORT           MN                    US    6043   130300456@AIRLINE.KIWI.COM
UVWBUY   11/19/2020   OB   12/24/2020   WN;2421;AUS;STL                   BETHVIEW               UT                    US   64633   130300610@AIRLINE.KIWI.COM
UY9WIK   11/19/2020   OB   12/23/2020   WN;3566;SFO;LAX                   NEW SEANSIDE           WA                    US   94546   130301875@AIRLINE.KIWI.COM
UYY7MQ   11/19/2020   OB   11/27/2020   WN;1366;MDW;ATL                   PORT AUSTINSIDE        VA                    US   21870   130302656@AIRLINE.KIWI.COM
UYYNXO   11/19/2020   OB   12/16/2020   WN;4191;MSP;MDW                   STEPHANIEPORT          SD                    US   39850   130302887@AIRLINE.KIWI.COM
UYYNXO   11/19/2020   OB   12/16/2020   WN;4191;MSP;MDW                   STEPHANIEPORT          SD                    US   39850   130302887@AIRLINE.KIWI.COM
UYYNXO   11/19/2020   OB   12/16/2020   WN;4191;MSP;MDW                   STEPHANIEPORT          SD                    US   39850   130302887@AIRLINE.KIWI.COM
UYYNXO   11/19/2020   OB   12/16/2020   WN;4191;MSP;MDW                   STEPHANIEPORT          SD                    US   39850   130302887@AIRLINE.KIWI.COM
UYYNXO   11/19/2020   OB   12/16/2020   WN;4191;MSP;MDW                   STEPHANIEPORT          SD                    US   39850   130302887@AIRLINE.KIWI.COM
UYYNXO   11/19/2020   OB   12/16/2020   WN;4191;MSP;MDW                   STEPHANIEPORT          SD                    US   39850   130302887@AIRLINE.KIWI.COM
UZAMB3   11/19/2020   OB   11/26/2020   WN;4141;MIA;TPA                   GUTIERREZSTAD          MT                    US    8952   130303173@AIRLINE.KIWI.COM
UZZCRR   11/19/2020   OB     1/5/2021   WN;630;IND;ATL;WN;1333;ATL;RIC    REEDSTAD               IA                    US   53237   130303250@AIRLINE.KIWI.COM
V3FDY2   11/19/2020   OB   12/23/2020   WN;1060;MIA;TPA                   BALEARES               CATALUNYA             ES    5133   128841647.1502606@AIRLINE.KIWI.COM
V3ZKLW   11/19/2020   OB   12/28/2020   WN;1061;TPA;MIA                   TARRAGONA              HUESCA                ES   28697   128841647.1502606@AIRLINE.KIWI.COM
V57XIP   11/19/2020   OB   12/25/2020   WN;4287;LAX;SMF                   JACQUELINEFORT         DE                    US   29284   130305043@AIRLINE.KIWI.COM
V5XQ2A   11/19/2020   OB   12/24/2020   WN;2534;BWI;MCI                   SOUTH MARYTOWN         MT                    US   39725   130306000@AIRLINE.KIWI.COM
V5XQ2A   11/19/2020   RT   12/29/2020   WN;900;MCI;BNA;WN;900;BNA;BWI     SOUTH MARYTOWN         MT                    US   39725   130306000@AIRLINE.KIWI.COM
V5Y7QZ   11/19/2020   OB   11/25/2020   WN;3855;FLL;MCO                   EAST GARYBERG          MA                    US   61906   130305582@AIRLINE.KIWI.COM
V6QKVS   11/19/2020   OB   11/22/2020   WN;1608;CUN;BWI;WN;517;BWI;TPA    JOSEPHMOUTH            WV                    US   77986   130306330@AIRLINE.KIWI.COM
V7IZMR   11/19/2020   OB     2/4/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA   RYANCHESTER            MD                    US   89248   130306671@AIRLINE.KIWI.COM
V7JKS4   11/19/2020   OB   11/30/2020   WN;1633;MDW;PHX                   DAVIDSONBURGH          IN                    US   48787   130306759@AIRLINE.KIWI.COM
V7JMAT   11/19/2020   OB   11/22/2020   WN;643;LAS;LAX                    ENGLISHBERG            KS                    US   45627   130304526@AIRLINE.KIWI.COM
V7JMAT   11/19/2020   OB   11/22/2020   WN;643;LAS;LAX                    ENGLISHBERG            KS                    US   45627   130304526@AIRLINE.KIWI.COM
V7ZUR6   11/19/2020   OB   11/20/2020   WN;1111;OAK;BWI                   NORTH JAMESPORT        RI                    US   53762   130306891@AIRLINE.KIWI.COM
V83U6Z   11/19/2020   OB   12/22/2020   WN;629;SFO;PHX;WN;1167;PHX;SAT    MICHAELVILLE           AR                    US   33164   130306792@AIRLINE.KIWI.COM
V8J33J   11/19/2020   OB   11/22/2020   WN;1090;MSY;BWI;WN;331;BWI;MIA    NEW ANGELAMOUTH        NJ                    US    5358   130307496@AIRLINE.KIWI.COM
V8J33J   11/19/2020   RT   11/25/2020   WN;662;MIA;HOU;WN;1856;HOU;MSY    NEW ANGELAMOUTH        NJ                    US    5358   130307496@AIRLINE.KIWI.COM
VC9LOR   11/19/2020   OB   11/25/2020   WN;2009;MAF;DAL;WN;3148;DAL;MEM   WEST SAMUELSHIRE       PA                    US   51939   130309256@AIRLINE.KIWI.COM
VC9LOR   11/19/2020   OB   11/25/2020   WN;2009;MAF;DAL;WN;3148;DAL;MEM   WEST SAMUELSHIRE       PA                    US   51939   130309256@AIRLINE.KIWI.COM
VCJM9L   11/19/2020   OB    12/9/2020   WN;2804;CVG;BWI                   DONNABOROUGH           AL MINYA              EG   19717   130309498@AIRLINE.KIWI.COM
VCSLCA   11/19/2020   OB   11/25/2020   WN;2009;MAF;DAL;WN;3148;DAL;MEM   PRESTONSTAD            AL                    US   12756   130309256@AIRLINE.KIWI.COM
VCZXYG   11/19/2020   OB     1/7/2021   WN;5027;DAL;MAF                   NORTH AUSTINSIDE       LA                    US   58392   130309509@AIRLINE.KIWI.COM
VD9CLF   11/19/2020   OB   12/13/2020   WN;3551;BWI;CVG                   JENNINGSLAND           AL BAHR AL AHMAR      EG   82481   130309498@AIRLINE.KIWI.COM
VD9CLF   11/19/2020   OB   12/16/2020   WN;3551;BWI;CVG                   JENNINGSLAND           AL BAHR AL AHMAR      EG   82481   130309498@AIRLINE.KIWI.COM
VDE625   11/19/2020   OB   11/30/2020   WN;3078;DEN;BWI                   WEST TODDBURGH         DE                    US   63550   130309630@AIRLINE.KIWI.COM
VDNDUX   11/19/2020   OB   11/19/2020   WN;494;ATL;MSY                    K SOSNOGORSK           TVERSKAYA OBLAST      RU    2479   130309894@AIRLINE.KIWI.COM
VDOVO8   11/19/2020   OB    12/6/2020   WN;2987;MDW;ATL                   DA ROCHA VERDE         FERNANDO DE NORONHA   BR   89455   130309927@AIRLINE.KIWI.COM
VET26N   11/19/2020   OB     1/6/2021   WN;1216;MDW;LAS                   LAKE MARY              IA                    US   37340   130310521@AIRLINE.KIWI.COM
VEUE8A   11/19/2020   OB     1/8/2021   WN;4941;LAS;MDW                   NEW ALEXSTAD           WV                    US   84151   130310521@AIRLINE.KIWI.COM
VFYAGG   11/19/2020   OB   11/22/2020   WN;663;MSY;TPA;WN;1061;TPA;MIA    CHRISTOPHERBOROUGH     MI                    US   18608   130311203@AIRLINE.KIWI.COM
VFYAGG   11/19/2020   RT   11/25/2020   WN;332;MIA;BWI;WN;1749;BWI;MSY    CHRISTOPHERBOROUGH     MI                    US   18608   130311203@AIRLINE.KIWI.COM
VGP3LW   11/19/2020   OB   12/10/2020   WN;2863;MDW;FLL                   WALKERMOUTH            FL                    US   49719   130311280@AIRLINE.KIWI.COM
VHBE35   11/19/2020   OB   11/19/2020   WN;1385;SAN;OAK                   PORT GABRIELLA         RI                    US   84778   130311533@AIRLINE.KIWI.COM
VN9A4H   11/19/2020   OB   12/12/2020   WN;4407;TPA;BWI                   MARYMOUTH              AK                    US   80170   130314217@AIRLINE.KIWI.COM
VN9A4H   11/19/2020   OB   12/12/2020   WN;4407;TPA;BWI                   MARYMOUTH              AK                    US   80170   130314217@AIRLINE.KIWI.COM
VPQXON   11/19/2020   OB   11/19/2020   WN;1385;SAN;OAK                   WEST RONALD            ME                    US   90678   130315669@AIRLINE.KIWI.COM
VPQXON   11/19/2020   OB   11/19/2020   WN;1385;SAN;OAK                   WEST RONALD            ME                    US   90678   130315669@AIRLINE.KIWI.COM
VS3Q8O   11/19/2020   OB   12/21/2020   WN;729;ITO;HNL                    NORTH MASON            WA                    US   25404   130317297@AIRLINE.KIWI.COM
VS3Q8O   11/19/2020   OB   12/21/2020   WN;729;ITO;HNL                    NORTH MASON            WA                    US   25404   130317297@AIRLINE.KIWI.COM
VS9AZV   11/19/2020   OB   12/23/2020   WN;2856;CLT;PHX                   SOUTH DONNASIDE        VA                    US   48002   130317209@AIRLINE.KIWI.COM
VU4D6U   11/19/2020   OB    12/6/2020   WN;1454;SEA;DEN                   NORTH STEVEN           MD                    US   11965   130311874@AIRLINE.KIWI.COM
VU8STM   11/19/2020   OB   12/26/2020   WN;6702;LAS;SEA                   EAST AMANDA            SD                    US   45114   130311874@AIRLINE.KIWI.COM
VUFA4F   11/19/2020   OB    1/13/2021   WN;2853;SMF;SNA                   SOUTH JOSESHIRE        LA                    US    3870   130318518@AIRLINE.KIWI.COM
VUFA4F   11/19/2020   OB    1/13/2021   WN;2853;SMF;SNA                   SOUTH JOSESHIRE        LA                    US    3870   130318518@AIRLINE.KIWI.COM
VUFBX7   11/19/2020   OB   12/10/2020   WN;3033;SNA;SMF                   WEST NICOLE            ID                    US   70552   130318518@AIRLINE.KIWI.COM
VUFBX7   11/19/2020   OB   12/10/2020   WN;3033;SNA;SMF                   WEST NICOLE            ID                    US   70552   130318518@AIRLINE.KIWI.COM
VVT5KA   11/19/2020   OB    1/28/2021   WN;3642;LAS;HOU;WN;661;HOU;MIA    PATRICKMOUTH           MN                    US    4656   130319717@AIRLINE.KIWI.COM
VVT5KA   11/19/2020   RT    1/31/2021   WN;2221;MIA;HOU;WN;4982;HOU;LAS   PATRICKMOUTH           MN                    US    4656   130319717@AIRLINE.KIWI.COM
VVWP9L   11/19/2020   OB   11/23/2020   WN;1062;MIA;TPA;WN;1684;TPA;BWI   SLOANFURT              WV                    US   14310   130319420@AIRLINE.KIWI.COM
VW4POA   11/19/2020   OB    1/28/2021   WN;3642;LAS;HOU;WN;661;HOU;MIA    LAKE BENJAMINCHESTER   TX                    US   76214   130319717@AIRLINE.KIWI.COM
VW4POA   11/19/2020   RT    1/31/2021   WN;2221;MIA;HOU;WN;4982;HOU;LAS   LAKE BENJAMINCHESTER   TX                    US   76214   130319717@AIRLINE.KIWI.COM
W7A4BR   11/19/2020   OB   12/19/2020   WN;1981;MDW;DCA                   JESSECHESTER           ID                    US   87405   130328616@AIRLINE.KIWI.COM
W7JLXB   11/19/2020   OB   12/17/2020   WN;464;DCA;MDW                    WEST CHERYL            NC                    US   23578   130328616@AIRLINE.KIWI.COM
W8KK6W   11/19/2020   OB   12/22/2020   WN;545;LAS;MDW                    NORTH TODDBERG         NY                    US   82375   130330145@AIRLINE.KIWI.COM
W8KX38   11/19/2020   OB   12/18/2020   WN;1274;MDW;LAS                   ERINSHIRE              HI                    US   10136   130330145@AIRLINE.KIWI.COM
WB5NB5   11/19/2020   OB   11/25/2020   WN;4660;ATL;MDW                   LAKE SHARONSTAD        MT                    US   99727   130333137@AIRLINE.KIWI.COM
WCH82M   11/19/2020   OB     1/2/2021   WN;1106;MEM;MCO                   SOUTH KELSEYMOUTH      AL BALQA              JO   78972   130334578@AIRLINE.KIWI.COM
WECKYU   11/19/2020   OB    12/1/2020   WN;941;ATL;MDW                    SOUTH MANDYSTAD        VT                    US   35141   130336261@AIRLINE.KIWI.COM
WFV5JW   11/19/2020   OB   11/22/2020   WN;1087;BWI;RDU                   NORTH ELIZABETH        VA                    US   38442   130338263@AIRLINE.KIWI.COM




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WHLQX8   11/19/2020   OB   11/22/2020   WN;1090;MSY;BWI;WN;142;BWI;MIA    WEST KARENVILLE        AL                     US   81034   130339748@AIRLINE.KIWI.COM
WHLQX8   11/19/2020   RT   11/25/2020   WN;4164;MIA;MDW;WN;2706;MDW;MSY   WEST KARENVILLE        AL                     US   81034   130339748@AIRLINE.KIWI.COM
WJVN24   11/19/2020   OB   12/13/2020   WN;2164;MCO;ORF                   SELLERSFURT            MAYO                   IE   61339   130344137@AIRLINE.KIWI.COM
WKZSP8   11/19/2020   OB   11/22/2020   WN;1090;MSY;BWI;WN;142;BWI;MIA    SOUTH KATIEVILLE       AL                     US   97174   130344588@AIRLINE.KIWI.COM
WKZSP8   11/19/2020   RT   11/25/2020   WN;4164;MIA;MDW;WN;2706;MDW;MSY   SOUTH KATIEVILLE       AL                     US   97174   130344588@AIRLINE.KIWI.COM
WPSLQI   11/19/2020   OB    12/6/2020   WN;569;DEN;OAK                    MICHAELSTAD            AS SADIS MIN UKTUBAR   EG   35767   130351738@AIRLINE.KIWI.COM
WQK579   11/19/2020   OB    12/6/2020   WN;2730;CLT;DEN                   GONZALEZBURGH          ASYUT                  EG   19385   130351738@AIRLINE.KIWI.COM
WRQ5UH   11/19/2020   OB   11/26/2020   WN;6363;ELP;HOU;WN;3069;HOU;DEN   BOECHAT                ZUG                    CH   63505   130353531@AIRLINE.KIWI.COM
WSQ8O8   11/19/2020   OB    12/7/2020   WN;1454;SEA;DEN;WN;2827;DEN;LGA   WEST TROY              MA                     US   42424   130355555@AIRLINE.KIWI.COM
WSQ8O8   11/19/2020   OB    12/7/2020   WN;1454;SEA;DEN;WN;2827;DEN;LGA   WEST TROY              MA                     US   42424   130355555@AIRLINE.KIWI.COM
WULQEF   11/19/2020   OB   12/22/2020   WN;933;PHX;DTW                    SOUTH MARVIN           NJ                     US   31291   130358030@AIRLINE.KIWI.COM
WVSKRD   11/19/2020   OB   11/22/2020   WN;1090;MSY;BWI;WN;142;BWI;MIA    SANTOSTOWN             MN                     US   99232   130358712@AIRLINE.KIWI.COM
WVSKRD   11/19/2020   RT   11/25/2020   WN;4164;MIA;MDW;WN;2706;MDW;MSY   SANTOSTOWN             MN                     US   99232   130358712@AIRLINE.KIWI.COM
WW397M   11/19/2020   OB   12/14/2020   WN;4246;MSY;HOU;WN;3294;HOU;MIA   WEST CHRISTOPHERBORO   LUXEMBOURG             LU   41292   130359680@AIRLINE.KIWI.COM
WWFLB6   11/19/2020   OB   12/21/2020   WN;1436;SFO;DEN;WN;1055;DEN;ICT   HUGHESTON              ND                     US   82736   130359812@AIRLINE.KIWI.COM
WYVFOU   11/19/2020   OB   11/24/2020   WN;3618;CLT;MDW;WN;3806;MDW;BDL   LAKE PHILLIP           KY                     US   35225   130363299@AIRLINE.KIWI.COM
WYVFOU   11/19/2020   RT   11/28/2020   WN;1797;BDL;BWI;WN;23;BWI;CLT     LAKE PHILLIP           KY                     US   35225   130363299@AIRLINE.KIWI.COM
WZ37MP   11/19/2020   OB    12/7/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    THOMASVIEW             WI                     US   49754   130363508@AIRLINE.KIWI.COM
WZ87BJ   11/19/2020   OB   11/26/2020   WN;2978;BNA;BOS                   NEW DANIEL             NUNAVUT                CA    4410   130364025@AIRLINE.KIWI.COM
WZVJKP   11/19/2020   OB    12/7/2020   WN;2938;ATL;PHL                   CHELSEASTAD            OR                     US   46627   130364619@AIRLINE.KIWI.COM
WZVJKP   11/19/2020   OB    12/7/2020   WN;2938;ATL;PHL                   CHELSEASTAD            OR                     US   46627   130364619@AIRLINE.KIWI.COM
3GIZ3O   11/20/2020   OB   12/24/2020   WN;3644;HOU;BWI                   NEW AMYBURY            TN                     US   94562   126672227@AIRLINE.KIWI.COM
JTF4HN   11/20/2020   OB   11/20/2020   WN;156;LGA;ATL                    TIFFANYVILLE           OK                     US   37955   130392284@AIRLINE.KIWI.COM
JTFARY   11/20/2020   OB   12/22/2020   WN;224;ATL;MDW                    PORT WENDYSIDE         VA                     US   74546   130392339@AIRLINE.KIWI.COM
JTO84T   11/20/2020   OB   12/20/2020   WN;1116;MDW;ATL                   NORTH EVANCHESTER      CA                     US   70276   130392108@AIRLINE.KIWI.COM
JX5OHX   11/20/2020   OB   11/23/2020   WN;4701;HOU;BNA                   WEST CASEY             GA                     US   23404   130394693@AIRLINE.KIWI.COM
JX5RZH   11/20/2020   OB   11/21/2020   WN;223;BNA;HOU                    EDWARDSBURGH           VT                     US   63580   130394693@AIRLINE.KIWI.COM
JXK9MW   11/20/2020   OB    12/1/2020   WN;179;PHX;SJC                    CHURCHMOUTH            CO                     US   73279   130395177@AIRLINE.KIWI.COM
JXV4P6   11/20/2020   OB   12/11/2020   WN;3139;SNA;OAK                   LAKE LYNNMOUTH         AL                     US   87151   130394858@AIRLINE.KIWI.COM
JXV4P6   11/20/2020   OB   12/11/2020   WN;3139;SNA;OAK                   LAKE LYNNMOUTH         AL                     US   87151   130394858@AIRLINE.KIWI.COM
JXV4P6   11/20/2020   RT   12/13/2020   WN;2613;OAK;SNA                   LAKE LYNNMOUTH         AL                     US   87151   130394858@AIRLINE.KIWI.COM
JXV4P6   11/20/2020   RT   12/13/2020   WN;2613;OAK;SNA                   LAKE LYNNMOUTH         AL                     US   87151   130394858@AIRLINE.KIWI.COM
K2FJD8   11/20/2020   OB    12/2/2020   WN;219;CUN;MDW                    RYANFURT               AL                     US   57228   130397102@AIRLINE.KIWI.COM
K2ZY4D   11/20/2020   OB    12/2/2020   WN;219;CUN;MDW                    NORTH ERIC             AR                     US   83061   130397091@AIRLINE.KIWI.COM
K3CPSY   11/20/2020   OB   11/21/2020   WN;1271;ONT;OAK                   BENJAMINHAVEN          VA                     US    4344   130397465@AIRLINE.KIWI.COM
K3CPSY   11/20/2020   RT   11/23/2020   WN;3359;OAK;ONT                   BENJAMINHAVEN          VA                     US    4344   130397465@AIRLINE.KIWI.COM
K495WI   11/20/2020   OB   11/20/2020   WN;1181;LGA;ATL                   PORT MICHAEL           DE                     US   84554   130398246@AIRLINE.KIWI.COM
K4EIR7   11/20/2020   OB    12/4/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   DAWNPORT               LA                     US   59173   130398202@AIRLINE.KIWI.COM
K4EIR7   11/20/2020   OB    12/4/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   DAWNPORT               LA                     US   59173   130398202@AIRLINE.KIWI.COM
K4EIR7   11/20/2020   OB    12/4/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   DAWNPORT               LA                     US   59173   130398202@AIRLINE.KIWI.COM
K5AWZY   11/20/2020   OB   11/20/2020   WN;885;BUF;BWI;WN;837;BWI;ATL     MICHAELTON             UT                     US   67663   130398554@AIRLINE.KIWI.COM
K5N4QQ   11/20/2020   OB    12/5/2020   WN;15;MCI;DEN                     RONALDBOROUGH          VT                     US   63286   130385882@AIRLINE.KIWI.COM
K5N4QQ   11/20/2020   OB    12/5/2020   WN;15;MCI;DEN                     RONALDBOROUGH          VT                     US   63286   130385882@AIRLINE.KIWI.COM
K5N4QQ   11/20/2020   OB    12/5/2020   WN;15;MCI;DEN                     RONALDBOROUGH          VT                     US   63286   130385882@AIRLINE.KIWI.COM
K743SB   11/20/2020   OB   11/20/2020   WN;1076;ONT;PHX                   SOUTH EUGENEBERG       HI                     US   57167   130399808@AIRLINE.KIWI.COM
K7KKI9   11/20/2020   OB    1/30/2021   WN;3809;PHL;MCO                   JAMESBOROUGH           MD                     US   14708   130399863@AIRLINE.KIWI.COM
K7KKI9   11/20/2020   RT     2/7/2021   WN;2631;MCO;PHL                   JAMESBOROUGH           MD                     US   14708   130399863@AIRLINE.KIWI.COM
K9VJQ5   11/20/2020   OB   12/18/2020   WN;972;ATL;MCO                    LEAHTOWN               LA                     US   80167   130401150@AIRLINE.KIWI.COM
KBX6CU   11/20/2020   OB   11/20/2020   WN;885;BUF;BWI;WN;837;BWI;ATL     BRYANTBURY             AL                     US   64249   130402558@AIRLINE.KIWI.COM
KDTMSW   11/20/2020   OB   11/26/2020   WN;4382;DEN;SEA                   WEST EDWARDBOROUGH     CT                     US    3323   130403372@AIRLINE.KIWI.COM
KHNXQW   11/20/2020   OB    1/12/2021   WN;4131;MIA;HOU;WN;4707;HOU;AUS   SMALLHAVEN             AR                     US   25249   130402283@AIRLINE.KIWI.COM
KHNXQW   11/20/2020   OB    1/12/2021   WN;4131;MIA;HOU;WN;4707;HOU;AUS   SMALLHAVEN             AR                     US   25249   130402283@AIRLINE.KIWI.COM
KHNXQW   11/20/2020   OB    1/12/2021   WN;4131;MIA;HOU;WN;4707;HOU;AUS   SMALLHAVEN             AR                     US   25249   130402283@AIRLINE.KIWI.COM
KJEUEE   11/20/2020   OB   11/23/2020   WN;1124;OAK;LAS                   NORTH CHRISTINETON     WV                     US    8055   130405693@AIRLINE.KIWI.COM
KL5W83   11/20/2020   OB   11/20/2020   WN;1582;MSY;ATL                   MCINTOSHPORT           FL                     US   91651   130406716@AIRLINE.KIWI.COM
KRWTW3   11/20/2020   OB   12/28/2020   WN;5;DAL;HOU;WN;1058;HOU;MIA      SOUTH DANIEL           MS                     US   90925   130411193@AIRLINE.KIWI.COM
KTZF7G   11/20/2020   OB   11/23/2020   WN;4193;MSY;DEN;WN;1631;DEN;BHM   PORT MICHELLE          SD                     US   31178   130412491@AIRLINE.KIWI.COM
KURULB   11/20/2020   OB   11/22/2020   WN;1472;STL;LAX                   NORMANMOUTH            SD                     US   31548   130413085@AIRLINE.KIWI.COM
KXTAZV   11/20/2020   OB   12/16/2020   WN;3553;ISP;BWI;WN;2689;BWI;JAX   WEST ANNETTE           RI                     US   65224   130416275@AIRLINE.KIWI.COM
LAL8FR   11/20/2020   OB    12/7/2020   WN;3203;BNA;FLL                   EAST TODD              MI                     US   56955   130426362@AIRLINE.KIWI.COM
LDG5RK   11/20/2020   OB   12/16/2020   WN;2834;DAL;BWI                   MENDOZATOWN            CA                     US   18291   130429387@AIRLINE.KIWI.COM
LIPOGQ   11/20/2020   OB   11/20/2020   WN;709;SMF;SEA                    LAKE BRIANA            NC                     US   44968   130436735@AIRLINE.KIWI.COM
LJ3UCK   11/20/2020   OB     1/4/2021   WN;2138;DEN;MCO                   MARIACHESTER           RI                     US   13177   130437351@AIRLINE.KIWI.COM
LKLV9B   11/20/2020   OB   11/24/2020   WN;3445;LIT;STL;WN;3252;STL;OKC   PAYNETOWN              PA                     US   41055   130438341@AIRLINE.KIWI.COM
LMD5QC   11/20/2020   OB   11/30/2020   WN;3361;CMH;TPA;WN;1063;TPA;MIA   NEW MONIQUE            NH                     US    8358   130440387@AIRLINE.KIWI.COM
LNXE8Y   11/20/2020   OB   11/22/2020   WN;202;LGA;BNA;WN;891;BNA;CLE     MICHAELVILLE           NY                     US    2068   130442202@AIRLINE.KIWI.COM
LO3XDV   11/20/2020   OB   11/21/2020   WN;2231;MSP;BNA;WN;1621;BNA;RDU   ALMERIA                ALICANTE               ES   89554   130442279@AIRLINE.KIWI.COM
LPOJ5W   11/20/2020   OB   11/20/2020   WN;6419;MSY;DEN                   ST SORTAVALA           ADYGEYA RESPUBLIKA     RU   22009   130443797@AIRLINE.KIWI.COM
LR9Z3T   11/20/2020   OB    12/5/2020   WN;3504;TPA;PHL                   SOUTH SUECHESTER       NM                     US   69677   130446305@AIRLINE.KIWI.COM
LRQG5E   11/20/2020   OB   11/26/2020   WN;1654;TPA;STL                   BHAADURGDDH            RAJASTHAN              IN   58326   130446690@AIRLINE.KIWI.COM
LS84J5   11/20/2020   OB   12/18/2020   WN;1229;PHL;DEN                   SARAHSHIRE             ID                     US   63418   130447097@AIRLINE.KIWI.COM
LSXFCG   11/20/2020   OB   12/27/2020   WN;2115;DSM;LAS                   NORTH JULIA            NC                     US   87293   130448175@AIRLINE.KIWI.COM
LTB8PW   11/20/2020   OB   12/17/2020   WN;325;MDW;LAS                    NEW JOHNTOWN           AL                     US   55920   130448758@AIRLINE.KIWI.COM
LTJN2T   11/20/2020   OB   11/25/2020   WN;2034;FLL;ATL                   WEST ARTHURVILLE       VA                     US   76668   130448164@AIRLINE.KIWI.COM
LUCFZ9   11/20/2020   OB   11/20/2020   WN;281;ONT;DEN;WN;827;DEN;FLL     PORT PETER             TX                     US   19789   130450166@AIRLINE.KIWI.COM
LUHOGG   11/20/2020   OB   11/24/2020   WN;1143;DEN;MDW                   JOHANSTROM             SORTRONDELAG           NO   34455   130449759@AIRLINE.KIWI.COM
LUJEXM   11/20/2020   OB   12/15/2020   WN;2042;ATL;HOU;WN;3294;HOU;MIA   NORTH BRADLEYFORT      NH                     US   61315   130450100@AIRLINE.KIWI.COM
LVA57U   11/20/2020   OB   11/28/2020   WN;1823;MHT;BWI                   JESSEPORT              ME                     US   99270   130451035@AIRLINE.KIWI.COM
LVJWI4   11/20/2020   OB   12/24/2020   WN;3498;ATL;TPA                   THOMASFORT             NM                     US   26674   130450782@AIRLINE.KIWI.COM
LVJWI4   11/20/2020   OB   12/24/2020   WN;3498;ATL;TPA                   THOMASFORT             NM                     US   26674   130450782@AIRLINE.KIWI.COM
LWF3XR   11/20/2020   OB   11/28/2020   WN;2081;MCO;MDW                   WEST MELANIEBERG       CA                     US   19336   130451937@AIRLINE.KIWI.COM
LWLA9H   11/20/2020   OB   11/27/2020   WN;3333;DEN;ATL                   LAKE RANDALLTON        CA                     US   56056   130452388@AIRLINE.KIWI.COM
LWQGXK   11/20/2020   OB   12/20/2020   WN;1493;LAX;PHX                   NEW JOYCEBURY          BEXLEY                 GB   87964   130453004@AIRLINE.KIWI.COM
LWRVX3   11/20/2020   OB   12/30/2020   WN;1675;LAS;MDW                   JESSICATON             ME                     US   43962   130452355@AIRLINE.KIWI.COM
LWRVX3   11/20/2020   OB   12/30/2020   WN;1675;LAS;MDW                   JESSICATON             ME                     US   43962   130452355@AIRLINE.KIWI.COM
LX9WA4   11/20/2020   OB   11/27/2020   WN;6872;MDW;RDU                   MCMILLANVILLE          MS                     US   76629   130453389@AIRLINE.KIWI.COM
LXPPU8   11/20/2020   OB    12/6/2020   WN;3294;MIA;BWI;WN;4776;BWI;AUS   WEST RAVENHAVEN        FL                     US   93390   130453367@AIRLINE.KIWI.COM
M38XPF   11/20/2020   OB   11/25/2020   WN;1787;ATL;TPA                   LAKE HOLLYVIEW         TN                     US   95145   130458339@AIRLINE.KIWI.COM
M4PC4F   11/20/2020   OB   11/20/2020   WN;353;MDW;MEM                    BHAADURGNJ             MIZORAM                IN   45274   130460165@AIRLINE.KIWI.COM
M5BS3A   11/20/2020   OB   12/17/2020   WN;125;MSY;DEN                    LAKE ADAMSHIRE         ID                     US   91926   130461111@AIRLINE.KIWI.COM
M5GI9P   11/20/2020   OB    12/1/2020   WN;6872;ATL;MSY;WN;1519;MSY;LAX   NORTH RICHARD          OK                     US   95680   130460099@AIRLINE.KIWI.COM
M5ON6J   11/20/2020   OB   11/22/2020   WN;1003;OKC;MDW;WN;1181;MDW;LGA   D KAMENNOMOSTSKII      TVERSKAYA OBLAST       RU   55627   130462200@AIRLINE.KIWI.COM
M5YGZF   11/20/2020   OB   11/24/2020   WN;4621;LGA;MDW;WN;1974;MDW;OKC   ST IASHKUL             PERMSKIY KRAY          RU    5695   130462200@AIRLINE.KIWI.COM
M6FFVI   11/20/2020   OB    12/3/2020   WN;2987;MDW;ATL                   PORT GARY              NM                     US   59922   130462761@AIRLINE.KIWI.COM
M6R3HG   11/20/2020   OB   12/19/2020   WN;2108;DCA;MDW                   RIVERAPORT             NJ                     US   17556   130464191@AIRLINE.KIWI.COM
M743SX   11/20/2020   OB   12/28/2020   WN;314;MDW;BWI                    NEW MICHAEL            TN                     US   49522   130464708@AIRLINE.KIWI.COM
M82M3I   11/20/2020   OB   12/26/2020   WN;1851;DAL;FLL                   KAYLEETOWN             WA                     US   34166   130465005@AIRLINE.KIWI.COM
M83M2G   11/20/2020   OB     1/2/2021   WN;2182;PHX;ELP                   DYERMOUTH              MI                     US   35261   130458702@AIRLINE.KIWI.COM
M8KFTY   11/20/2020   OB    12/4/2020   WN;4161;BUR;OAK                   NORTH MARIO            AK                     US   51025   130466941@AIRLINE.KIWI.COM
M9WKV7   11/20/2020   OB   12/14/2020   WN;4965;LAS;DAL                   WEST SHEILA            NV                     US   84382   130469680@AIRLINE.KIWI.COM
MCDWG6   11/20/2020   OB   11/30/2020   WN;2052;CLT;DEN                   SABRINABURY            FL                     US   95722   130467810@AIRLINE.KIWI.COM
MCRGVU   11/20/2020   OB     1/3/2021   WN;4860;MDW;DAL                   KENNEDYLAND            MI                     US   69855   130473915@AIRLINE.KIWI.COM
MCTZLM   11/20/2020   OB   11/23/2020   WN;6700;LAS;ONT                   TRACYBURGH             OH                     US   29864   130474036@AIRLINE.KIWI.COM
MDPFEE   11/20/2020   OB    12/1/2020   WN;1538;OAK;LAS                   NORTH JOHNTOWN         CT                     US    9893   130474256@AIRLINE.KIWI.COM
MDPFEE   11/20/2020   RT    12/7/2020   WN;2011;LAS;OAK                   NORTH JOHNTOWN         CT                     US    9893   130474256@AIRLINE.KIWI.COM
MED8F8   11/20/2020   OB   12/20/2020   WN;6938;AUS;ATL;WN;910;ATL;RDU    JESSEVILLE             WY                     US   34951   130477633@AIRLINE.KIWI.COM
MEL9JY   11/20/2020   OB   11/29/2020   WN;4176;BWI;DTW                   SANTIAGO DO CACEM      PORTO                  PT   31563   130478821@AIRLINE.KIWI.COM




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MFNV5A   11/20/2020   OB   11/29/2020   WN;3163;MSY;TPA;WN;1061;TPA;MIA   WEST ALISHA            WV               US    99462   130482671@AIRLINE.KIWI.COM
MFQIDK   11/20/2020   OB   11/26/2020   WN;4131;MIA;HOU;WN;1059;HOU;MSY   CHAVEZSIDE             TN               US    52041   130482671@AIRLINE.KIWI.COM
MIKCIM   11/20/2020   OB    12/3/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    JOHNFURT               SC               US    62882   130491537@AIRLINE.KIWI.COM
MIKCIM   11/20/2020   OB    12/3/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    JOHNFURT               SC               US    62882   130491537@AIRLINE.KIWI.COM
MIKCIM   11/20/2020   OB    12/3/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    JOHNFURT               SC               US    62882   130491537@AIRLINE.KIWI.COM
MIKCIM   11/20/2020   OB    12/3/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    JOHNFURT               SC               US    62882   130491537@AIRLINE.KIWI.COM
MIKCIM   11/20/2020   OB    12/3/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    JOHNFURT               SC               US    62882   130491537@AIRLINE.KIWI.COM
MIKCIM   11/20/2020   OB    12/3/2020   WN;2446;SLC;OAK;WN;808;OAK;HNL    JOHNFURT               SC               US    62882   130491537@AIRLINE.KIWI.COM
MK4U5G   11/20/2020   OB    12/4/2020   WN;3115;MDW;ATL                   CHRISTOPHERFORT        LA               US    14335   130497917@AIRLINE.KIWI.COM
MKZ932   11/20/2020   OB   11/25/2020   WN;3148;DTW;MDW;WN;1215;MDW;RDU   AUDREYCHESTER          PA               US    87688   130499347@AIRLINE.KIWI.COM
MLGM45   11/20/2020   OB   12/21/2020   WN;267;SAN;SMF                    DIANEVILLE             FL               US    74001   130501085@AIRLINE.KIWI.COM
MMTNCA   11/20/2020   OB    12/3/2020   WN;535;CVG;DEN                    SOUTH GEORGE           SD               US      762   130505914@AIRLINE.KIWI.COM
MO54I2   11/20/2020   OB     1/5/2021   WN;1225;PHL;ATL;WN;1333;ATL;RIC   NEW WHITNEY            LA               US    84864   130507751@AIRLINE.KIWI.COM
MOH7I6   11/20/2020   OB   11/20/2020   WN;1493;LAX;PHX                   JONESBOROUGH           SD               US    74313   130508763@AIRLINE.KIWI.COM
MP7C4D   11/20/2020   OB   12/21/2020   WN;652;PHX;DEN;WN;6744;DEN;DSM    SIENFURT               VARNA            BG    34106   130511843@AIRLINE.KIWI.COM
MP7C4D   11/20/2020   OB   12/21/2020   WN;652;PHX;DEN;WN;6744;DEN;DSM    SIENFURT               VARNA            BG    34106   130511843@AIRLINE.KIWI.COM
MPFH38   11/20/2020   OB    12/6/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   SOUTH ANITALAND        DIEKIRCH         LU    59331   130511755@AIRLINE.KIWI.COM
MPM8VX   11/20/2020   OB     1/1/2021   WN;2871;CHS;DAL;WN;3013;DAL;AUS   JOHNSONPORT            ID               US    66659   130511733@AIRLINE.KIWI.COM
MSC6P8   11/20/2020   OB   12/21/2020   WN;848;MCI;DAL                    NORTH WILLIAMSHIRE     VT               US    23715   130518839@AIRLINE.KIWI.COM
MSJ3ZP   11/20/2020   OB     1/6/2021   WN;142;BWI;MIA                    PORT JACQUELINE        KY               US    39068   130520511@AIRLINE.KIWI.COM
MTU382   11/21/2020   OB   11/27/2020   WN;101;PHX;LAX                    NORTH JILL             AZ               US    70311   122789249.1503864@AIRLINE.KIWI.COM
MVFF39   11/21/2020   OB   11/21/2020   WN;1384;ATL;IND                   EAST KRISTYLAND        NJ               US    19657   130527254@AIRLINE.KIWI.COM
MW343Q   11/21/2020   OB   11/21/2020   WN;6;HOU;DAL                      BURNSSHIRE             AL               US    20447   130528508@AIRLINE.KIWI.COM
MW3UDH   11/21/2020   OB   11/26/2020   WN;1515;DTW;MDW                   PRESTONLAND            IL               US    25843   130528310@AIRLINE.KIWI.COM
MW48UV   11/21/2020   OB    12/3/2020   WN;2730;CLT;DEN                   EAST KAREN             WV               US    28225   130527881@AIRLINE.KIWI.COM
MW48UV   11/21/2020   OB    12/3/2020   WN;2730;CLT;DEN                   EAST KAREN             WV               US    28225   130527881@AIRLINE.KIWI.COM
MWADUT   11/21/2020   OB   11/29/2020   WN;4130;BWI;CLE                   THOMASBERG             KY               US    14863   130529839@AIRLINE.KIWI.COM
MWPKET   11/21/2020   OB   12/14/2020   WN;3239;LAS;LAX                   MURPHYBERG             TX               US    41744   130531456@AIRLINE.KIWI.COM
MXFBR8   11/21/2020   OB    12/1/2020   WN;244;ATL;MDW                    LAKE STEVENPORT        AK               US    29849   130531346@AIRLINE.KIWI.COM
MXRUXP   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   SOUTH TYLER            KS               US    18881   130533073@AIRLINE.KIWI.COM
MXRUXP   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   SOUTH TYLER            KS               US    18881   130533073@AIRLINE.KIWI.COM
MXRUXP   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   SOUTH TYLER            KS               US    18881   130533073@AIRLINE.KIWI.COM
MXRUXP   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   SOUTH TYLER            KS               US    18881   130533073@AIRLINE.KIWI.COM
MXRUXP   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   SOUTH TYLER            KS               US    18881   130533073@AIRLINE.KIWI.COM
MXRUXP   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   SOUTH TYLER            KS               US    18881   130533073@AIRLINE.KIWI.COM
MYC9FQ   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   WOODMOUTH              SC               US    68088   130533073@AIRLINE.KIWI.COM
MYC9FQ   11/21/2020   OB   12/25/2020   WN;6530;MCO;DEN                   WOODMOUTH              SC               US    68088   130533073@AIRLINE.KIWI.COM
MZAEIF   11/21/2020   OB   11/30/2020   WN;102;BWI;MIA                    SANTA COMBA DAO        GUARDA           PT    82076   130536824@AIRLINE.KIWI.COM
MZAEIF   11/21/2020   OB   11/30/2020   WN;102;BWI;MIA                    SANTA COMBA DAO        GUARDA           PT    82076   130536824@AIRLINE.KIWI.COM
N4UR9P   11/21/2020   OB    12/1/2020   WN;370;BWI;DEN                    CONTRERASBERG          KS               US    99362   130543941@AIRLINE.KIWI.COM
N5A8A9   11/21/2020   OB   11/23/2020   WN;6516;LAX;BWI                   BRIANNAHAVEN           NY               US    36776   130545459@AIRLINE.KIWI.COM
N5L7M5   11/21/2020   OB     1/3/2021   WN;1809;BWI;ATL                   WEST VERONICA          SD               US      763   130546416@AIRLINE.KIWI.COM
N5L7M5   11/21/2020   OB     1/3/2021   WN;1809;BWI;ATL                   WEST VERONICA          SD               US      763   130546416@AIRLINE.KIWI.COM
N696OE   11/21/2020   OB     1/2/2021   WN;771;SJC;PHX                    WEST JAMES             OH               US    94175   130548209@AIRLINE.KIWI.COM
N6HSBQ   11/21/2020   OB   12/14/2020   WN;2467;BWI;DEN                   ESTESFURT              SC               US    58173   130548473@AIRLINE.KIWI.COM
N6HSBQ   11/21/2020   OB   12/14/2020   WN;2467;BWI;DEN                   ESTESFURT              SC               US    58173   130548473@AIRLINE.KIWI.COM
N6KAWY   11/21/2020   OB   12/28/2020   WN;733;OGG;HNL                    OSBORNESIDE            DE               US    42927   130547373@AIRLINE.KIWI.COM
N6KAWY   11/21/2020   OB   12/28/2020   WN;733;OGG;HNL                    OSBORNESIDE            DE               US    42927   130547373@AIRLINE.KIWI.COM
N6S975   11/21/2020   OB   11/26/2020   WN;2288;BNA;TPA;WN;4147;TPA;MIA   NEW THOMASTOWN         VT               US    75042   130548913@AIRLINE.KIWI.COM
N6Y3KO   11/21/2020   OB   12/14/2020   WN;3398;DEN;ONT                   KRISTINPORT            CT               US    19104   130548473@AIRLINE.KIWI.COM
N6Y3KO   11/21/2020   OB   12/14/2020   WN;3398;DEN;ONT                   KRISTINPORT            CT               US    19104   130548473@AIRLINE.KIWI.COM
N86NW9   11/21/2020   OB   11/29/2020   WN;1567;LGB;DEN                   EAST ROBERT            CA               US     7715   130553027@AIRLINE.KIWI.COM
N9UMIN   11/21/2020   OB   12/18/2020   WN;6877;ATL;DEN                   LAKE AUSTINTOWN        MA               US    88413   130556822@AIRLINE.KIWI.COM
N9UMIN   11/21/2020   OB   12/18/2020   WN;6877;ATL;DEN                   LAKE AUSTINTOWN        MA               US    88413   130556822@AIRLINE.KIWI.COM
N9WXVB   11/21/2020   OB   11/29/2020   WN;1880;STL;MDW;WN;4730;MDW;DAL   SNDHIKHRK              RAPTI            NP     9198   130556327@AIRLINE.KIWI.COM
NASKYM   11/21/2020   OB   11/27/2020   WN;984;MDW;ATL                    HERNANDEZSHIRE         OH               US    68282   130558406@AIRLINE.KIWI.COM
NAXD9P   11/21/2020   OB   12/13/2020   WN;2548;MCO;BWI                   EAST ANDREW            TN               US    74755   130558824@AIRLINE.KIWI.COM
NAXD9P   11/21/2020   OB   12/13/2020   WN;2548;MCO;BWI                   EAST ANDREW            TN               US    74755   130558824@AIRLINE.KIWI.COM
NAXD9P   11/21/2020   OB   12/13/2020   WN;2548;MCO;BWI                   EAST ANDREW            TN               US    74755   130558824@AIRLINE.KIWI.COM
NAXM2D   11/21/2020   OB   11/28/2020   WN;459;DAL;LAS                    EAST VERNONVIEW        ME               US    63615   130558175@AIRLINE.KIWI.COM
NB7P4S   11/21/2020   OB   11/29/2020   WN;5053;DAL;ABQ;WN;2786;ABQ;LAX   BLEVINSFURT            KY               US    21466   130559902@AIRLINE.KIWI.COM
NB7P4S   11/21/2020   OB   11/29/2020   WN;5053;DAL;ABQ;WN;2786;ABQ;LAX   BLEVINSFURT            KY               US    21466   130559902@AIRLINE.KIWI.COM
NDAXAV   11/21/2020   OB   11/23/2020   WN;5031;LAX;ABQ                   NORTH MARCTON          AZ               US    44757   130564797@AIRLINE.KIWI.COM
NFNGRH   11/21/2020   OB   11/28/2020   WN;512;MDW;ATL                    NORTH ANGELA           KY               US    22358   130569956@AIRLINE.KIWI.COM
NGBQGS   11/21/2020   OB    12/4/2020   WN;4826;HOU;LAX                   REEDSTAD               NV               US    55559   130570352@AIRLINE.KIWI.COM
NGBQGS   11/21/2020   OB    12/4/2020   WN;4826;HOU;LAX                   REEDSTAD               NV               US    55559   130570352@AIRLINE.KIWI.COM
NGHW3H   11/21/2020   OB   11/21/2020   WN;283;DTW;MDW;WN;1307;MDW;LAX    JONESLAND              DE               US    11547   130570583@AIRLINE.KIWI.COM
NGS7US   11/21/2020   OB     1/3/2021   WN;4311;MSY;BWI;WN;3955;BWI;MCI   KIMBERLYBURY           FL               US    42146   130570550@AIRLINE.KIWI.COM
NH9LJQ   11/21/2020   OB   12/19/2020   WN;2406;SFO;SAN                   SAN ESTELA LOS BAJOS   NAYARIT          MX    48975   130570946@AIRLINE.KIWI.COM
NH9LJQ   11/21/2020   OB   12/19/2020   WN;2406;SFO;SAN                   SAN ESTELA LOS BAJOS   NAYARIT          MX    48975   130570946@AIRLINE.KIWI.COM
NHPQ88   11/21/2020   OB   12/12/2020   WN;4819;DEN;OAK;WN;1268;OAK;KOA   TRAVISLAND             ME               US    83868   130534580@AIRLINE.KIWI.COM
NJ36LE   11/21/2020   OB   12/21/2020   WN;1021;SJC;SAN                   SOUTH KRISTIMOUTH      MD               US    56070   130571584@AIRLINE.KIWI.COM
NJ36LE   11/21/2020   OB   12/21/2020   WN;1021;SJC;SAN                   SOUTH KRISTIMOUTH      MD               US    56070   130571584@AIRLINE.KIWI.COM
NJG3D8   11/21/2020   OB   11/21/2020   WN;283;DTW;MDW;WN;2179;MDW;ATL    EAST SARAHFORT         MI               US    78731   130571815@AIRLINE.KIWI.COM
NKGGIS   11/21/2020   OB   11/21/2020   WN;1381;ONT;LAS                   ANGELACHESTER          IA               US    66330   130572629@AIRLINE.KIWI.COM
NKN5AL   11/21/2020   OB    12/4/2020   WN;3796;MDW;ATL                   EAST SERGIO            IN               US    68973   130572662@AIRLINE.KIWI.COM
NLCUJ7   11/21/2020   OB    12/6/2020   WN;3948;ATL;FLL                   EAST JILLFURT          AL               US    73505   130573080@AIRLINE.KIWI.COM
NLVYSB   11/21/2020   OB   12/23/2020   WN;1981;SJC;SAN                   DAALKHOLAA             MIZORAM          IN    21589   130573267@AIRLINE.KIWI.COM
NNJ6XC   11/21/2020   OB   11/26/2020   WN;6516;SJC;LAS                   HOLTMOUTH              LA               US     7396   130573894@AIRLINE.KIWI.COM
NNPMFO   11/21/2020   OB   12/19/2020   WN;6886;DEN;SAT                   DUSTINVILLE            RI               US     6764   130573817@AIRLINE.KIWI.COM
NNYZVZ   11/21/2020   OB   11/29/2020   WN;2252;LAS;ONT;WN;2252;ONT;SJC   WEST SCOTT             WI               US    91476   130573894@AIRLINE.KIWI.COM
NP2K7Q   11/21/2020   OB   11/28/2020   WN;1832;PHL;ATL                   EAST ROBERTBURGH       AR               US    52314   130574400@AIRLINE.KIWI.COM
NPSU6X   11/21/2020   OB   11/21/2020   WN;2390;SJC;BUR                   HALLLAND               NJ               US    10178   130574906@AIRLINE.KIWI.COM
NPSU6X   11/21/2020   RT   11/22/2020   WN;1558;BUR;SJC                   HALLLAND               NJ               US    10178   130574906@AIRLINE.KIWI.COM
NQZAL8   11/21/2020   OB   11/30/2020   WN;1935;SMF;DEN;WN;3078;DEN;BWI   LAKE DYLAN             OH               US    32762   130575324@AIRLINE.KIWI.COM
NR3YAP   11/21/2020   OB   11/25/2020   WN;5044;BWI;STL;WN;2132;STL;SMF   WALLACEVIEW            RI               US    57684   130575324@AIRLINE.KIWI.COM
NRNXOV   11/21/2020   OB   11/22/2020   WN;1087;ATL;BWI;WN;1322;BWI;BUF   WEST DANNY             SC               US     3350   130575456@AIRLINE.KIWI.COM
NS6KD9   11/21/2020   OB   11/29/2020   WN;5555;DEN;ICT                   EAST TERESALAND        NE               US    53431   130575698@AIRLINE.KIWI.COM
NUKIBY   11/21/2020   OB   11/22/2020   WN;1506;SMF;SAN                   WEST MISTYSIDE         MO               US    17151   130576963@AIRLINE.KIWI.COM
NWBRP3   11/21/2020   OB   12/18/2020   WN;549;SJC;LAS                    DONNACHESTER           MN               US    41630   130577711@AIRLINE.KIWI.COM
NXGYB4   11/21/2020   OB    12/3/2020   WN;3749;LAX;MDW;WN;3115;MDW;ATL   NEW ALLENBURY          MS               US    40078   130578316@AIRLINE.KIWI.COM
NXGYB4   11/21/2020   RT    12/7/2020   WN;4202;ATL;DEN;WN;3927;DEN;LAX   NEW ALLENBURY          MS               US    40078   130578316@AIRLINE.KIWI.COM
OE7NIH   11/21/2020   OB     1/1/2021   WN;4131;MIA;HOU;WN;4707;HOU;AUS   JIA YI XIAN            TAITUNG          TW    99460   130588634@AIRLINE.KIWI.COM
OILHKS   11/21/2020   OB    12/8/2020   WN;2651;LAX;DEN                   PALMERMOUTH            OK               US    50419   130591197@AIRLINE.KIWI.COM
OILHKS   11/21/2020   OB    12/8/2020   WN;2651;LAX;DEN                   PALMERMOUTH            OK               US    50419   130591197@AIRLINE.KIWI.COM
OJ3WK7   11/21/2020   OB   11/22/2020   WN;154;ATL;LGA                    AMYHAVEN               WA               US    91583   130591846@AIRLINE.KIWI.COM
OKA943   11/21/2020   OB   11/24/2020   WN;4135;LAS;SDF                   JENNIFERBOROUGH        CA               US    73097   130592187@AIRLINE.KIWI.COM
OQGS2I   11/21/2020   OB    1/13/2021   WN;3256;MDW;MCO                   SHANNONPORT            MD               US    97398   130597610@AIRLINE.KIWI.COM
OQGS2I   11/21/2020   OB    1/13/2021   WN;3256;MDW;MCO                   SHANNONPORT            MD               US    97398   130597610@AIRLINE.KIWI.COM
ORU4YS   11/21/2020   OB    12/6/2020   WN;3948;ATL;FLL                   GARCIABERG             FL               US    32641   130598886@AIRLINE.KIWI.COM
ORZT8N   11/21/2020   OB   12/22/2020   WN;1442;MCO;DEN                   SHANNONFORT            CT               US    93561   130598424@AIRLINE.KIWI.COM
ORZT8N   11/21/2020   OB   12/22/2020   WN;1442;MCO;DEN                   SHANNONFORT            CT               US    93561   130598424@AIRLINE.KIWI.COM
OSSMCT   11/21/2020   OB   12/18/2020   WN;156;LGA;ATL                    LAKE JONATHAN          CA               US    41881   130599117@AIRLINE.KIWI.COM
OUS3RV   11/21/2020   OB   12/28/2020   WN;631;ATL;BWI;WN;214;BWI;BDL     SOUTH JOSHUA           SD               US    72327   130601108@AIRLINE.KIWI.COM
OWVNOV   11/21/2020   OB   11/21/2020   WN;2307;OAK;LAS                   WILLIAMSBOROUGH        TN               US    45440   130602659@AIRLINE.KIWI.COM
OWVNOV   11/21/2020   OB   11/21/2020   WN;2307;OAK;LAS                   WILLIAMSBOROUGH        TN               US    45440   130602659@AIRLINE.KIWI.COM
OXCIMU   11/21/2020   OB   11/28/2020   WN;2044;DCA;ATL                   ANDREWHAVEN            HI               US    12815   130603297@AIRLINE.KIWI.COM




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P2WU2S   11/21/2020   OB   11/21/2020   WN;1009;ONT;PHX                   JENNIFERBURY           VT                    US   75122   130606168@AIRLINE.KIWI.COM
P3CDXQ   11/21/2020   OB   11/24/2020   WN;2891;FLL;PIT                   EAST GLENN             OR                    US   19187   130606872@AIRLINE.KIWI.COM
P3X68V   11/21/2020   OB   11/29/2020   WN;3584;STL;RDU                   CHANTOWN               NC                    US   57717   130607389@AIRLINE.KIWI.COM
P5EKPV   11/21/2020   OB   12/18/2020   WN;581;ATL;DEN                    LOPEZTON               DE                    US   88036   130556822.1504148@AIRLINE.KIWI.COM
P5SYIA   11/21/2020   OB    12/5/2020   WN;2766;FLL;TPA                   EAST KIARA             CT                    US   14476   130609567@AIRLINE.KIWI.COM
P696JF   11/21/2020   OB   12/30/2020   WN;1057;MIA;HOU;WN;108;HOU;PVR    KELLYHAVEN             NJ                    US   20005   130610975@AIRLINE.KIWI.COM
P6BPT5   11/21/2020   OB   12/25/2020   WN;1225;BWI;CHS                   SOUTH JENNIFER         FL                    US   88364   129995074.1504156@AIRLINE.KIWI.COM
P7FDHS   11/21/2020   OB   12/13/2020   WN;661;HOU;MIA                    CASTELLON              MADRID COMUNIDAD DE   ES   40073   130612119@AIRLINE.KIWI.COM
P7FDHS   11/21/2020   OB   12/13/2020   WN;661;HOU;MIA                    CASTELLON              MADRID COMUNIDAD DE   ES   40073   130612119@AIRLINE.KIWI.COM
P7J8FY   11/21/2020   OB   11/24/2020   WN;2127;PHX;TPA                   SAINT MARYSEBOURG      LOZERE                FR   24704   130612988@AIRLINE.KIWI.COM
P8TPZQ   11/21/2020   OB   12/22/2020   WN;328;CUN;HOU                    PATELBURGH             LEEDS                 GB   15930   130614165@AIRLINE.KIWI.COM
P9J6Z6   11/21/2020   OB   12/22/2020   WN;815;HOU;PNS                    NORTH ARTHUR           ESSEX                 GB   30946   130614165@AIRLINE.KIWI.COM
PBUM3K   11/21/2020   OB    12/6/2020   WN;3749;LAX;MDW;WN;2950;MDW;CLE   LAKE DEANNASTAD        CO                    US   11721   130616156@AIRLINE.KIWI.COM
PCD5EJ   11/21/2020   OB    12/5/2020   WN;2480;OAK;LAX                   EAST LAWRENCESHIRE     DE                    US   14317   130616761@AIRLINE.KIWI.COM
PDXV87   11/21/2020   OB   12/16/2020   WN;4873;SMF;LAS                   MOSLEYTON              RI                    US   62611   130617938@AIRLINE.KIWI.COM
PE83YW   11/21/2020   OB   12/18/2020   WN;581;ATL;DEN                    PHILLIPSBURGH          SC                    US    7093   130556822.1504148@AIRLINE.KIWI.COM
PFXU5K   11/21/2020   OB   12/20/2020   WN;1467;SAN;SJC                   SAN ROSARIO DE LA MO   BAJA CALIFORNIA SUR   MX   61054   130621304@AIRLINE.KIWI.COM
PFXU5K   11/21/2020   OB   12/20/2020   WN;1467;SAN;SJC                   SAN ROSARIO DE LA MO   BAJA CALIFORNIA SUR   MX   61054   130621304@AIRLINE.KIWI.COM
PFXU5K   11/21/2020   OB   12/20/2020   WN;1467;SAN;SJC                   SAN ROSARIO DE LA MO   BAJA CALIFORNIA SUR   MX   61054   130621304@AIRLINE.KIWI.COM
PHV7RM   11/21/2020   OB   12/18/2020   WN;1229;PHL;DEN                   NORTH REBECCASIDE      MD                    US    1496   130626034@AIRLINE.KIWI.COM
PHV7RM   11/21/2020   OB   12/18/2020   WN;1229;PHL;DEN                   NORTH REBECCASIDE      MD                    US    1496   130626034@AIRLINE.KIWI.COM
PJI4EW   11/21/2020   OB   11/23/2020   WN;3018;MDW;BUF                   PORT ERIN              OH                    US   64170   130632700@AIRLINE.KIWI.COM
PJI4EW   11/21/2020   OB   11/23/2020   WN;4194;ATL;MDW;WN;4194;MDW;BUF   PORT ERIN              OH                    US   64170   130632700@AIRLINE.KIWI.COM
PKFNCK   11/21/2020   OB   12/20/2020   WN;841;STL;MDW;WN;314;MDW;BWI     NEW MICHAEL            AR                    US   38718   130635780@AIRLINE.KIWI.COM
PKFNCK   11/21/2020   RT     1/2/2021   WN;1842;BWI;MDW;WN;240;MDW;STL    NEW MICHAEL            AR                    US   38718   130635780@AIRLINE.KIWI.COM
PL8RSX   11/21/2020   OB   12/26/2020   WN;2103;PHX;DAL                   NORTH ERICMOUTH        RI                    US   15991   130638035@AIRLINE.KIWI.COM
PLZQ3N   11/21/2020   OB   11/22/2020   WN;1262;PHX;LAS                   PORT JESSICA           IN                    US   50113   130641214@AIRLINE.KIWI.COM
PO6ROV   11/21/2020   OB   11/25/2020   WN;4699;PHX;HOU;WN;1058;HOU;MIA   PERERABURY             SASKATCHEWAN          CA   27541   130647176@AIRLINE.KIWI.COM
PO6ROV   11/21/2020   OB   11/25/2020   WN;4699;PHX;HOU;WN;1058;HOU;MIA   PERERABURY             SASKATCHEWAN          CA   27541   130647176@AIRLINE.KIWI.COM
POD5SK   11/21/2020   OB   12/29/2020   WN;1314;BNA;CMH                   EAST REBEKAH           IL                    US   49226   130650135@AIRLINE.KIWI.COM
PQNLI2   11/21/2020   OB    12/5/2020   WN;1051;MIA;BWI                   KIMBERLYVILLE          PA                    US   91034   130657032@AIRLINE.KIWI.COM
PR72LL   11/21/2020   OB   11/24/2020   WN;4817;GEG;DEN                   SHAWFORT               NJ                    US    7697   130656966@AIRLINE.KIWI.COM
PRTWTE   11/21/2020   OB     2/2/2021   WN;4589;DEN;SMF                   PORT THOMASPORT        WESTERN               GH   97382   130657978@AIRLINE.KIWI.COM
PSCNDU   11/21/2020   OB   11/22/2020   WN;169;BNA;BOS                    WEST PATRICIAMOUTH     MT                    US   47876   130170865.1504226@AIRLINE.KIWI.COM
PSCNDU   11/21/2020   OB   11/22/2020   WN;169;BNA;BOS                    WEST PATRICIAMOUTH     MT                    US   47876   130170865.1504226@AIRLINE.KIWI.COM
PSH7RD   11/21/2020   OB    12/3/2020   WN;2700;CLE;MDW;WN;3989;MDW;LAX   ADRIANFORT             IN                    US   17414   130660332@AIRLINE.KIWI.COM
PSH7RD   11/21/2020   RT    12/7/2020   WN;3920;LAX;MDW;WN;2195;MDW;CLE   ADRIANFORT             IN                    US   17414   130660332@AIRLINE.KIWI.COM
PSSTZP   11/21/2020   OB   11/28/2020   WN;454;PHX;LAS                    EAST MEGANVILLE        ND                    US   46109   130661740@AIRLINE.KIWI.COM
PTP3VR   11/21/2020   OB    12/6/2020   WN;102;BWI;MIA                    PYHTAA                 LAPPI                 FI   64625   130664589@AIRLINE.KIWI.COM
PUDELW   11/22/2020   OB   11/29/2020   WN;1847;ATL;LGA                   LAKE CHELSEA           HI                    US    9874   130666184@AIRLINE.KIWI.COM
PUDELW   11/22/2020   OB   11/29/2020   WN;1847;ATL;LGA                   LAKE CHELSEA           HI                    US    9874   130666184@AIRLINE.KIWI.COM
PUQ7FW   11/22/2020   OB   12/13/2020   WN;2941;PHL;DEN;WN;2098;DEN;LAX   SMITHMOUTH             FL                    US   58379   130666954@AIRLINE.KIWI.COM
PVI3GS   11/22/2020   OB    1/15/2021   WN;2438;CLE;BNA                   EAST ANNATOWN          MO                    US   27075   130668197@AIRLINE.KIWI.COM
PVL9XO   11/22/2020   OB   12/23/2020   WN;2784;OMA;DAL                   SOUTH DAVIDSTAD        DE                    US   53480   130670199@AIRLINE.KIWI.COM
PVTBBE   11/22/2020   OB   12/13/2020   WN;5024;DEN;RSW                   BARNETTSHIRE           CT                    US   13257   130667823@AIRLINE.KIWI.COM
PWGJ6W   11/22/2020   OB   11/26/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   MACKCHESTER            SD                    US   81565   130672476@AIRLINE.KIWI.COM
PWI5FS   11/22/2020   OB   11/30/2020   WN;4290;LAS;LGB                   NEW ROBERTSHIRE        MD                    US   83215   130671574@AIRLINE.KIWI.COM
PWI5FS   11/22/2020   OB   11/30/2020   WN;4290;LAS;LGB                   NEW ROBERTSHIRE        MD                    US   83215   130671574@AIRLINE.KIWI.COM
PX3M9J   11/22/2020   OB   11/22/2020   WN;154;ATL;LGA                    NORTH ASHLEY           IN                    US    5197   130674093@AIRLINE.KIWI.COM
PX42WH   11/22/2020   OB    12/6/2020   WN;1954;LAS;ONT                   PORT MICHAELCHESTER    MT                    US   10183   130674181@AIRLINE.KIWI.COM
PYU3CO   11/22/2020   OB   11/30/2020   WN;4765;PHX;LAS                   PORT JOSEPH            ND                    US    5936   130286915.1504246@AIRLINE.KIWI.COM
PZLM89   11/22/2020   OB   12/17/2020   WN;6877;ATL;DEN                   HIGGINSBOROUGH         FL                    US    3193   130680814@AIRLINE.KIWI.COM
PZUL2H   11/22/2020   OB   11/24/2020   WN;2052;CLT;DEN                   HOHAVEN                SD                    US   42459   130681650@AIRLINE.KIWI.COM
PZZMIY   11/22/2020   OB   12/17/2020   WN;6877;ATL;DEN                   PORT STEVEN            IN                    US   82209   130680814@AIRLINE.KIWI.COM
Q2UAQL   11/22/2020   OB   11/27/2020   WN;1090;BWI;ATL                   WEST THOMAS            WARWICKSHIRE          GB   29937   130683454@AIRLINE.KIWI.COM
Q3DQ5N   11/22/2020   OB    12/5/2020   WN;3466;ATL;HOU                   TIFFANYMOUTH           AR                    US   52726   130683960@AIRLINE.KIWI.COM
Q3SLIZ   11/22/2020   OB   11/29/2020   WN;2052;CLT;DEN                   LUCASBERG              IN                    US   60499   130686006@AIRLINE.KIWI.COM
Q5Q9PQ   11/22/2020   OB   12/26/2020   WN;6894;DSM;DEN;WN;6719;DEN;PDX   NEW LESLIESTAD         AZ                    US   10902   130690230@AIRLINE.KIWI.COM
Q5Q9PQ   11/22/2020   OB   12/26/2020   WN;6894;DSM;DEN;WN;6719;DEN;PDX   NEW LESLIESTAD         AZ                    US   10902   130690230@AIRLINE.KIWI.COM
Q5Q9PQ   11/22/2020   OB   12/26/2020   WN;6894;DSM;DEN;WN;6719;DEN;PDX   NEW LESLIESTAD         AZ                    US   10902   130690230@AIRLINE.KIWI.COM
Q7QKIW   11/22/2020   OB   12/14/2020   WN;2651;LAX;DEN                   NKTHNGSTAD             SI SA KET             TH   67448   130695125@AIRLINE.KIWI.COM
Q8QML6   11/22/2020   OB   11/26/2020   WN;2730;CLT;DEN                   STEVENSPORT            ID                    US   71816   130700372@AIRLINE.KIWI.COM
QAKZ2U   11/22/2020   OB   11/22/2020   WN;1224;SMF;DEN;WN;3333;DEN;ATL   XIU RONG SHI           QINGHAI SHENG         CN   84688   130704409@AIRLINE.KIWI.COM
QBUJZS   11/22/2020   OB    12/3/2020   WN;3920;LAX;MDW                   NORTH TRAVIS           NY                    US   20090   130706829@AIRLINE.KIWI.COM
QDH8FL   11/22/2020   OB   11/30/2020   WN;3358;SFO;PHX                   STEWARTTOWN            MS                    US   44677   130710195@AIRLINE.KIWI.COM
QF7KJM   11/22/2020   OB    12/3/2020   WN;3264;LAX;DEN;WN;2629;DEN;ATL   SOUTH SHERRIBOROUGH    KY                    US    2986   130714078@AIRLINE.KIWI.COM
QF7KJM   11/22/2020   OB    12/3/2020   WN;3264;LAX;DEN;WN;2629;DEN;ATL   SOUTH SHERRIBOROUGH    KY                    US    2986   130714078@AIRLINE.KIWI.COM
QH8CHU   11/22/2020   OB    12/8/2020   WN;1990;ATL;BWI                   ERICSIDE               OH                    US   83351   130716443@AIRLINE.KIWI.COM
QH9NU8   11/22/2020   OB   11/23/2020   WN;1890;DAL;LAX                   PORT SHAWNBERG         IA                    US   34912   130716509@AIRLINE.KIWI.COM
QH9NU8   11/22/2020   RT   11/25/2020   WN;2341;LAX;DAL                   PORT SHAWNBERG         IA                    US   34912   130716509@AIRLINE.KIWI.COM
QHP6LN   11/22/2020   OB   11/26/2020   WN;1466;SLC;LAS;WN;4827;LAS;SMF   SOUTH TERESA           AK                    US   73615   130716630@AIRLINE.KIWI.COM
QHXMHX   11/22/2020   OB   11/29/2020   WN;1766;MCO;DTW                   VICTORIATOWN           ID                    US   11406   130716707@AIRLINE.KIWI.COM
QHXMHX   11/22/2020   OB   11/29/2020   WN;1766;MCO;DTW                   VICTORIATOWN           ID                    US   11406   130716707@AIRLINE.KIWI.COM
QHXMHX   11/22/2020   OB   11/29/2020   WN;1766;MCO;DTW                   VICTORIATOWN           ID                    US   11406   130716707@AIRLINE.KIWI.COM
QHXMHX   11/22/2020   OB   11/29/2020   WN;1766;MCO;DTW                   VICTORIATOWN           ID                    US   11406   130716707@AIRLINE.KIWI.COM
QHXMHX   11/22/2020   OB   11/29/2020   WN;1766;MCO;DTW                   VICTORIATOWN           ID                    US   11406   130716707@AIRLINE.KIWI.COM
QI22GP   11/22/2020   OB    12/2/2020   WN;1564;SJC;PHX                   BROWNVILLE             TN                    US    3363   130716872@AIRLINE.KIWI.COM
QIZG8J   11/22/2020   OB    12/6/2020   WN;3136;OKC;DEN                   NEW MATTHEW            WI                    US   52598   130717114@AIRLINE.KIWI.COM
QNDKLG   11/22/2020   OB     1/4/2021   WN;837;ATL;BNA;WN;405;BNA;BOS     MONTGOMERYLAND         IA                    US   32177   130718632@AIRLINE.KIWI.COM
QOFH7T   11/22/2020   OB   12/16/2020   WN;4844;SFO;DEN                   GONZALEZPORT           OR                    US   28128   130719237@AIRLINE.KIWI.COM
QOGAMV   11/22/2020   OB   12/16/2020   WN;1664;DEN;MEM                   SOUTH RAYMOND          WI                    US   72292   130719237@AIRLINE.KIWI.COM
QPNZAJ   11/22/2020   OB   12/17/2020   WN;6939;LAS;ONT                   PORT CASEY             MS                    US   22019   130719578@AIRLINE.KIWI.COM
QTDJJV   11/22/2020   OB   11/25/2020   WN;4164;MIA;MDW;WN;2706;MDW;MSY   HOLTHAVEN              AK                    US   66579   130720458@AIRLINE.KIWI.COM
QYNFM9   11/22/2020   OB   12/16/2020   WN;1664;DEN;MEM                   SOUTH LAUREN           GA                    US   29519   130723131@AIRLINE.KIWI.COM
QZ26HK   11/22/2020   OB   12/16/2020   WN;4844;SFO;DEN                   SOUTH MORGANBURY       IN                    US   31906   130723131@AIRLINE.KIWI.COM
R5AZQD   11/22/2020   OB    12/2/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   LAKE JENNIFER          PA                    US   73902   130725595@AIRLINE.KIWI.COM
RBUCOI   11/22/2020   OB   12/21/2020   WN;6972;ATL;DEN                   SOUTH JASON            IA                    US   80711   130729676@AIRLINE.KIWI.COM
RGQN76   11/22/2020   OB   11/27/2020   WN;1326;MSY;MDW;WN;1424;MDW;MSP   GARCIABERG             MN                    US   93330   130732888@AIRLINE.KIWI.COM
RLX8JY   11/22/2020   OB   11/25/2020   WN;4229;MIA;HOU;WN;2120;HOU;AUS   GUIPUZCOA              GIRONA                ES   48004   130736870@AIRLINE.KIWI.COM
RLX8JY   11/22/2020   RT   11/29/2020   WN;2111;AUS;HOU;WN;3482;HOU;MIA   GUIPUZCOA              GIRONA                ES   48004   130736870@AIRLINE.KIWI.COM
RM3V36   11/22/2020   OB   11/30/2020   WN;2052;CLT;DEN                   MURPHYSHIRE            OH                    US   39079   130736738@AIRLINE.KIWI.COM
RO8U8N   11/22/2020   OB   11/25/2020   WN;4531;ATL;MDW;WN;1751;MDW;DTW   CALDEIRA               ACRE                  BR   22103   130738773@AIRLINE.KIWI.COM
RPXCPZ   11/22/2020   OB   11/25/2020   WN;1876;BOS;BWI;WN;324;BWI;MIA    NILSEN                 SORTRONDELAG          NO   68410   130740423@AIRLINE.KIWI.COM
RSLHUF   11/22/2020   OB   11/30/2020   WN;4101;SLC;PHX                   JACKSONLAND            VT                    US   82948   130742656@AIRLINE.KIWI.COM
RSUQLC   11/22/2020   OB   12/14/2020   WN;3749;LAX;MDW;WN;3262;MDW;PHL   LAKE RICHARDCHESTER    NH                    US   25714   130742403@AIRLINE.KIWI.COM
RSUQLC   11/22/2020   OB   12/14/2020   WN;3749;LAX;MDW;WN;3262;MDW;PHL   LAKE RICHARDCHESTER    NH                    US   25714   130742403@AIRLINE.KIWI.COM
RV96OM   11/22/2020   OB   11/29/2020   WN;3747;LAS;MDW                   CHOJNICE               WIELKOPOLSKIE         PL   70589   130744724@AIRLINE.KIWI.COM
RV96OM   11/22/2020   OB   11/29/2020   WN;3747;LAS;MDW                   CHOJNICE               WIELKOPOLSKIE         PL   70589   130744724@AIRLINE.KIWI.COM
RV9HHI   11/22/2020   OB   11/22/2020   WN;499;DTW;MDW;WN;457;MDW;ATL     ALICIACHESTER          NM                    US   47608   130744669@AIRLINE.KIWI.COM
RYK9OH   11/22/2020   OB   11/29/2020   WN;1612;CUN;BWI                   RIBEIRO GRANDE         AMAPA                 BR    7973   130746946@AIRLINE.KIWI.COM
RZZMVG   11/22/2020   OB   11/24/2020   WN;4029;SNA;LAS                   ROCHA DE NUNES         BAHIA                 BR   98925   130679857.1504480@AIRLINE.KIWI.COM
S228RJ   11/22/2020   OB   11/25/2020   WN;3730;ICT;STL;WN;3584;STL;RDU   LAKE CASSIDY           NH                    US   51257   130748761@AIRLINE.KIWI.COM
S2AG85   11/22/2020   OB     1/6/2021   WN;1116;MDW;ATL                   RITTERTON              NH                    US   48869   130749443@AIRLINE.KIWI.COM
S3Q9NQ   11/22/2020   OB   11/26/2020   WN;2461;RSW;ATL;WN;2970;ATL;IAD   NORTH LAURABOROUGH     IA                    US   46054   130750609@AIRLINE.KIWI.COM
S49QCD   11/22/2020   OB   12/18/2020   WN;106;SMF;GEG                    EAST JOSEPH            PA                    US   47862   130750708@AIRLINE.KIWI.COM
S49QCD   11/22/2020   RT   12/26/2020   WN;1961;GEG;SMF                   EAST JOSEPH            PA                    US   47862   130750708@AIRLINE.KIWI.COM
S4RVIN   11/22/2020   OB   11/29/2020   WN;1633;MDW;PHX                   JASMINELAND            WI                    US    9354   130751269@AIRLINE.KIWI.COM




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S59Y8Z   11/22/2020   OB   11/30/2020   WN;4922;DTW;DEN                   NORTH DANIELLEVILLE    WI                     US   36985   130751995@AIRLINE.KIWI.COM
S65LM2   11/22/2020   OB     1/6/2021   WN;1398;TPA;MIA                   WEST TRACEYPORT        DE                     US   74795   130752391@AIRLINE.KIWI.COM
S7B5IH   11/22/2020   OB    12/5/2020   WN;1014;MIA;MDW                   ERICMOUTH              MT                     US    9886   130757308@AIRLINE.KIWI.COM
S7B5IH   11/22/2020   OB    12/5/2020   WN;1014;MIA;MDW                   ERICMOUTH              MT                     US    9886   130757308@AIRLINE.KIWI.COM
S8TTVS   11/22/2020   OB   12/23/2020   WN;3929;STL;ATL                   SHELLYVIEW             MO                     US   86829   130761125@AIRLINE.KIWI.COM
S8TTVS   11/22/2020   OB   12/23/2020   WN;3929;STL;ATL                   SHELLYVIEW             MO                     US   86829   130761125@AIRLINE.KIWI.COM
S9BPIL   11/22/2020   OB   12/26/2020   WN;1862;SMF;LGB;WN;1862;LGB;PHX   NEW NATHANBURY         UT                     US   85590   130763028@AIRLINE.KIWI.COM
SB4RHK   11/22/2020   OB   11/25/2020   WN;4966;TPA;BNA                   NEW ASHLEYVILLE        RABAT MALTA            MT   23838   130768979@AIRLINE.KIWI.COM
SD6MQL   11/22/2020   OB   11/22/2020   WN;1352;BWI;JAX                   SOUTH JESSE            WY                     US   51794   130776107@AIRLINE.KIWI.COM
SDXKT8   11/22/2020   OB    12/3/2020   WN;4202;ATL;DEN                   BARRYBERG              MD                     US   39736   130776250@AIRLINE.KIWI.COM
SECCX3   11/22/2020   OB   12/23/2020   WN;6889;AUS;MCI                   MICHAELVIEW            AK                     US    6500   130778879@AIRLINE.KIWI.COM
SECCX3   11/22/2020   OB   12/23/2020   WN;6889;AUS;MCI                   MICHAELVIEW            AK                     US    6500   130778879@AIRLINE.KIWI.COM
SEIT65   11/22/2020   OB   11/24/2020   WN;1697;PHX;OAK                   BOAKYEFORT             NORTHERN               GH   74344   130779319@AIRLINE.KIWI.COM
SGCYS5   11/22/2020   OB   12/13/2020   WN;3203;BNA;FLL                   POWELLPORT             GA                     US    2852   130786667@AIRLINE.KIWI.COM
SHLQFF   11/22/2020   OB   12/16/2020   WN;4844;SFO;DEN                   WEST JAIMEMOUTH        WA                     US   40064   130791716@AIRLINE.KIWI.COM
SHR53V   11/22/2020   OB    12/7/2020   WN;2273;MCO;MDW                   KATHERINEBERG          VA                     US   23443   130789648@AIRLINE.KIWI.COM
SHYV3W   11/22/2020   OB   12/24/2020   WN;808;OAK;HNL                    CLARKSIDE              PA                     US   11343   130790253@AIRLINE.KIWI.COM
SHYV3W   11/22/2020   OB   12/24/2020   WN;808;OAK;HNL                    CLARKSIDE              PA                     US   11343   130790253@AIRLINE.KIWI.COM
SIB9FL   11/22/2020   OB   12/16/2020   WN;1664;DEN;MEM                   LAKE CARLAMOUTH        CT                     US   11895   130791716@AIRLINE.KIWI.COM
SIUH94   11/22/2020   OB    12/8/2020   WN;1444;SAT;PHX                   TIFFANYSHIRE           OK                     US   79383   130794455@AIRLINE.KIWI.COM
SJISSU   11/22/2020   OB    12/4/2020   WN;4551;PHL;BNA;WN;2713;BNA;MSY   GONZALEZSURPELLETIER   OISE                   FR   56806   130797271@AIRLINE.KIWI.COM
SNCVWY   11/22/2020   OB   12/13/2020   WN;2268;BNA;HOU                   MAYSIDE                VT                     US   32298   130809074@AIRLINE.KIWI.COM
SNGP54   11/22/2020   OB     1/8/2021   WN;2851;SAN;SMF                   JOSEPHVIEW             AZ                     US   89940   130808788@AIRLINE.KIWI.COM
SNGP54   11/22/2020   OB     1/8/2021   WN;2851;SAN;SMF                   JOSEPHVIEW             AZ                     US   89940   130808788@AIRLINE.KIWI.COM
SPGSNX   11/22/2020   OB   11/30/2020   WN;3078;DEN;BWI                   MCCONNELLPORT          MT                     US   20722   130814420@AIRLINE.KIWI.COM
SS6XI9   11/22/2020   OB   11/25/2020   WN;2862;IND;AUS                   ROGERHAVEN             MI                     US   68924   130821372@AIRLINE.KIWI.COM
STNWJ4   11/22/2020   OB     2/7/2021   WN;2699;DEN;MCO                   NEW SAMANTHA           CA                     US   19645   130825871@AIRLINE.KIWI.COM
SVN82J   11/23/2020   OB   11/24/2020   WN;5048;BUR;DEN                   SHERIBURGH             TX                     US   74135   130831591@AIRLINE.KIWI.COM
SWYWET   11/23/2020   OB   11/25/2020   WN;4553;OMA;STL;WN;3133;STL;BNA   GARZAPORT              MO                     US   28874   130835947@AIRLINE.KIWI.COM
SWYWET   11/23/2020   OB   11/25/2020   WN;4553;OMA;STL;WN;3133;STL;BNA   GARZAPORT              MO                     US   28874   130835947@AIRLINE.KIWI.COM
SWYWET   11/23/2020   OB   11/25/2020   WN;4553;OMA;STL;WN;3133;STL;BNA   GARZAPORT              MO                     US   28874   130835947@AIRLINE.KIWI.COM
SYHBVK   11/23/2020   OB   12/19/2020   WN;2150;MCO;DAL                   NEW ANGELA             CA                     US   47702   130839434@AIRLINE.KIWI.COM
T2H944   11/23/2020   OB   12/11/2020   WN;2246;FLL;ATL                   SOUTH GLENN            WV                     US    2591   130844747@AIRLINE.KIWI.COM
T2H944   11/23/2020   RT   12/13/2020   WN;4207;ATL;FLL                   SOUTH GLENN            WV                     US    2591   130844747@AIRLINE.KIWI.COM
T3LKEU   11/23/2020   OB   11/23/2020   WN;4504;LAX;OAK                   CAMERONBOROUGH         RI                     US   77253   130850797@AIRLINE.KIWI.COM
T55C28   11/23/2020   OB   11/29/2020   WN;3880;MCI;ATL                   NEW JONATHAN           TN                     US   17004   130854229@AIRLINE.KIWI.COM
T6CENY   11/23/2020   OB   11/23/2020   WN;4553;ATL;HOU;WN;6720;HOU;ELP   PORT CHARLES           MS                     US   73773   130859047@AIRLINE.KIWI.COM
T6ZVP6   11/23/2020   OB   11/30/2020   WN;2712;ATL;RIC                   JOSEPHBURY             IN                     US   60366   130860048@AIRLINE.KIWI.COM
T7AEHV   11/23/2020   OB   11/30/2020   WN;2712;ATL;RIC                   LAKE AMANDA            RI                     US    5841   130860081@AIRLINE.KIWI.COM
T7N3RM   11/23/2020   OB   11/23/2020   WN;2057;PHX;BUR                   SAN GABRIEL LOS ALTO   CIUDAD DE MEXICO       MX     582   130860829@AIRLINE.KIWI.COM
T7N3RM   11/23/2020   OB   11/23/2020   WN;2057;PHX;BUR                   SAN GABRIEL LOS ALTO   CIUDAD DE MEXICO       MX     582   130860829@AIRLINE.KIWI.COM
T7N3RM   11/23/2020   OB   11/23/2020   WN;2057;PHX;BUR                   SAN GABRIEL LOS ALTO   CIUDAD DE MEXICO       MX     582   130860829@AIRLINE.KIWI.COM
T7Y8EG   11/23/2020   OB   11/23/2020   WN;306;CUN;HOU;WN;6720;HOU;ELP    LUBUKLINGGAU           SULAWESI               ID   20494   130863843@AIRLINE.KIWI.COM
T8WA4N   11/23/2020   OB   12/13/2020   WN;101;PHX;LAX                    SOUTH CHRISTOPHER      NV                     US   15349   130865702@AIRLINE.KIWI.COM
T9HWDA   11/23/2020   OB   11/29/2020   WN;4774;TPA;ATL                   NORTH CRYSTAL          KS                     US   43481   130868815@AIRLINE.KIWI.COM
T9HWDA   11/23/2020   OB   11/29/2020   WN;4774;TPA;ATL                   NORTH CRYSTAL          KS                     US   43481   130868815@AIRLINE.KIWI.COM
TANDP4   11/23/2020   OB   11/29/2020   WN;3491;PHX;SJC                   BHDRK                  CHANDIGARH             IN   70001   130871114@AIRLINE.KIWI.COM
TCIQRQ   11/23/2020   OB   11/23/2020   WN;3018;MDW;BUF                   KYLEBERG               OR                     US   33609   130872060@AIRLINE.KIWI.COM
TCIQRQ   11/23/2020   OB   11/23/2020   WN;4194;ATL;MDW                   KYLEBERG               OR                     US   33609   130872060@AIRLINE.KIWI.COM
TE4F5D   11/23/2020   OB   12/15/2020   WN;218;MDW;CUN                    NUEVA ARABIA SAUDITA   ZACATECAS              MX   57938   130872918@AIRLINE.KIWI.COM
TEGHDQ   11/23/2020   OB   11/28/2020   WN;2354;SJU;BWI;WN;560;BWI;BOS    SWIEBODZICE            LODZKIE                PL   64825   130873028@AIRLINE.KIWI.COM
TEWPBJ   11/23/2020   OB   12/14/2020   WN;4844;SFO;DEN;WN;3978;DEN;MCI   PORT JAMES             NM                     US   98496   130873237@AIRLINE.KIWI.COM
TEXJU6   11/23/2020   OB   12/21/2020   WN;1533;MCI;OAK                   WEST STEVEN            WA                     US   10498   130873237@AIRLINE.KIWI.COM
TJVIWX   11/23/2020   OB   11/23/2020   WN;3467;ATL;HOU;WN;2203;HOU;ELP   BRIANBURGH             GA                     US   27189   130875756@AIRLINE.KIWI.COM
TKBPVN   11/23/2020   OB   12/16/2020   WN;2193;CLT;MDW;WN;2457;MDW;LAS   MIKETOWN               NY                     US   83564   130875921@AIRLINE.KIWI.COM
TKBPVN   11/23/2020   OB   12/16/2020   WN;2193;CLT;MDW;WN;2457;MDW;LAS   MIKETOWN               NY                     US   83564   130875921@AIRLINE.KIWI.COM
TKBPVN   11/23/2020   OB   12/16/2020   WN;2193;CLT;MDW;WN;2457;MDW;LAS   MIKETOWN               NY                     US   83564   130875921@AIRLINE.KIWI.COM
TKBPVN   11/23/2020   OB   12/16/2020   WN;2193;CLT;MDW;WN;2457;MDW;LAS   MIKETOWN               NY                     US   83564   130875921@AIRLINE.KIWI.COM
TLCHO2   11/23/2020   OB     1/5/2021   WN;1333;ATL;RIC                   NORTH KHNAATHIP        PHANGNGA               TH   59451   130876207@AIRLINE.KIWI.COM
TNJP8J   11/23/2020   OB   12/12/2020   WN;4037;MDW;TPA                   HESSCHESTER            LA                     US   31101   130877703@AIRLINE.KIWI.COM
TNZCUT   11/23/2020   OB   12/12/2020   WN;4051;SAN;MDW                   PORT BRANDI            VT                     US   50838   130877703@AIRLINE.KIWI.COM
TQ9TRC   11/23/2020   OB   11/24/2020   WN;2404;SNA;SMF                   PORT RUBEN             AR                     US   54179   130879111@AIRLINE.KIWI.COM
U6KBR3   11/23/2020   OB   11/24/2020   WN;4920;SFO;SAN                   WEST JEFFCHESTER       MO                     US   53390   130905456@AIRLINE.KIWI.COM
U9EROW   11/23/2020   OB   11/23/2020   WN;3939;LAS;LAX                   SOUTH GREGORYTOWN      GA                     US   86267   130908822@AIRLINE.KIWI.COM
U9UBHC   11/23/2020   OB   11/26/2020   WN;4118;BWI;FLL                   WEST JILLIAN           DE                     US   17425   130909196@AIRLINE.KIWI.COM
UF6S8R   11/23/2020   OB   12/14/2020   WN;1453;MCO;DAL;WN;2589;DAL;LAX   HEIDIPORT              AL                     US   78304   130914817@AIRLINE.KIWI.COM
UF6S8R   11/23/2020   OB   12/14/2020   WN;1453;MCO;DAL;WN;2589;DAL;LAX   HEIDIPORT              AL                     US   78304   130914817@AIRLINE.KIWI.COM
UH35NN   11/23/2020   OB   11/23/2020   WN;2614;SJU;TPA                   CALLAHANBOROUGH        MD                     US   34619   130916082@AIRLINE.KIWI.COM
UM46VJ   11/23/2020   OB   11/23/2020   WN;2472;SDF;DAL;WN;1554;DAL;STL   DANIELPORT             NV                     US   63169   130922616@AIRLINE.KIWI.COM
UORDR5   11/23/2020   OB   12/11/2020   WN;3029;BNA;MCO                   CARSONMOUTH            IA                     US   42240   130925784@AIRLINE.KIWI.COM
UQSRYO   11/23/2020   OB   12/11/2020   WN;2730;CLT;DEN                   EAST NATHANBOROUGH     MT                     US   54668   130928248@AIRLINE.KIWI.COM
UR9B7C   11/23/2020   OB   11/28/2020   WN;1945;ATL;TPA;WN;1061;TPA;MIA   SOUTH SAAKHR           PHANGNGA               TH   11713   130928886@AIRLINE.KIWI.COM
USZD7V   11/23/2020   OB   11/23/2020   WN;1869;BNA;STL;WN;3287;STL;LIT   WEST TINA              VT                     US   29020   130930910@AIRLINE.KIWI.COM
UTWB4N   11/23/2020   OB    12/6/2020   WN;2467;BWI;DEN                   JEREMIAHVILLE          NJ                     US   31432   130931823@AIRLINE.KIWI.COM
UUGM6I   11/23/2020   OB   12/19/2020   WN;1983;SAN;BWI                   WEST JOHN              AZ                     US    4754   130931823@AIRLINE.KIWI.COM
UUYC43   11/23/2020   OB    12/3/2020   WN;2042;ATL;HOU                   WEST PRISCILLAVIEW     CT                     US   63913   130933275@AIRLINE.KIWI.COM
UXOWX9   11/23/2020   OB    12/3/2020   WN;257;BOS;BWI;WN;2755;BWI;LAS    ELIZABETHBURY          SD                     US   75806   130936322@AIRLINE.KIWI.COM
UXOWX9   11/23/2020   OB    12/3/2020   WN;257;BOS;BWI;WN;2755;BWI;LAS    ELIZABETHBURY          SD                     US   75806   130936322@AIRLINE.KIWI.COM
UXOWX9   11/23/2020   OB    12/3/2020   WN;257;BOS;BWI;WN;2755;BWI;LAS    ELIZABETHBURY          SD                     US   75806   130936322@AIRLINE.KIWI.COM
UXOWX9   11/23/2020   OB    12/3/2020   WN;257;BOS;BWI;WN;2755;BWI;LAS    ELIZABETHBURY          SD                     US   75806   130936322@AIRLINE.KIWI.COM
UY7C4D   11/23/2020   OB   12/27/2020   WN;4529;LAS;MDW;WN;6999;MDW;RDU   EAST MEGANTON          PA                     US   27429   130936399@AIRLINE.KIWI.COM
UYNPNN   11/23/2020   OB   11/26/2020   WN;1265;LAX;PHX                   SOUTH LAWRENCEFURT     IN                     US   33976   130937477@AIRLINE.KIWI.COM
UYWPSQ   11/23/2020   OB   11/26/2020   WN;4868;SJC;MDW;WN;2611;MDW;FLL   BANKSFORT              NC                     US   17291   130937488@AIRLINE.KIWI.COM
V25C7I   11/23/2020   OB   11/25/2020   WN;4467;AUS;BNA                   WEST WESLEYSIDE        IL                     US   47243   130939039@AIRLINE.KIWI.COM
V47F4I   11/23/2020   OB   12/17/2020   WN;2241;BWI;MHT                   ARAGAO DE GOIAS        PERNAMBUCO             BR   91527   130940909@AIRLINE.KIWI.COM
V47F4I   11/23/2020   OB   12/17/2020   WN;2241;BWI;MHT                   ARAGAO DE GOIAS        PERNAMBUCO             BR   91527   130940909@AIRLINE.KIWI.COM
V47F4I   11/23/2020   RT   12/20/2020   WN;1351;MHT;BWI                   ARAGAO DE GOIAS        PERNAMBUCO             BR   91527   130940909@AIRLINE.KIWI.COM
V47F4I   11/23/2020   RT   12/20/2020   WN;1351;MHT;BWI                   ARAGAO DE GOIAS        PERNAMBUCO             BR   91527   130940909@AIRLINE.KIWI.COM
V539XB   11/23/2020   OB   11/25/2020   WN;3096;SAN;LAS                   PACEBOROUGH            OH                     US   32056   130941943@AIRLINE.KIWI.COM
V5APFX   11/23/2020   OB   12/15/2020   WN;3927;DEN;LAX                   JESSICAMOUTH           FL                     US   46116   130941987@AIRLINE.KIWI.COM
V5BYJD   11/23/2020   OB   12/15/2020   WN;2730;CLT;DEN                   DAVIDTON               AL                     US   90638   130941987@AIRLINE.KIWI.COM
V5NTLA   11/23/2020   OB   11/25/2020   WN;4800;MDW;MEM                   LAKE CHRISTY           MT                     US   84837   130943329@AIRLINE.KIWI.COM
V5NTLA   11/23/2020   RT   11/29/2020   WN;3647;MEM;MDW                   LAKE CHRISTY           MT                     US   84837   130943329@AIRLINE.KIWI.COM
VDPSK9   11/23/2020   OB    12/7/2020   WN;2466;DEN;SMF                   SOUTH PETER            VA                     US   20794   130952888@AIRLINE.KIWI.COM
VEPF7B   11/23/2020   OB   11/30/2020   WN;3983;ATL;FLL                   SAWYERFORT             FL                     US    4269   130954395@AIRLINE.KIWI.COM
VEX4I4   11/23/2020   OB   11/30/2020   WN;3983;ATL;FLL                   LAKE LAURABERG         HI                     US   92456   130954395@AIRLINE.KIWI.COM
VGDXBU   11/23/2020   OB   12/20/2020   WN;535;CVG;DEN                    K STUPINO              MORDOVIYA RESPUBLIKA   RU   75942   130955880@AIRLINE.KIWI.COM
VH7STH   11/23/2020   OB   12/30/2020   WN;943;ORF;MDW;WN;6905;MDW;SMF    SOUTH JENNIFERSHIRE    WY                     US   18846   130957090@AIRLINE.KIWI.COM
VHQ8N4   11/23/2020   OB   11/25/2020   WN;4194;ATL;MDW;WN;4194;MDW;BUF   AMANDABERG             AL                     US   30077   130958113@AIRLINE.KIWI.COM
VHQ8N4   11/23/2020   OB   11/25/2020   WN;4194;ATL;MDW;WN;4194;MDW;BUF   AMANDABERG             AL                     US   30077   130958113@AIRLINE.KIWI.COM
VJ4UQY   11/23/2020   OB   12/19/2020   WN;474;PNS;BNA;WN;1304;BNA;ATL    BARNESPORT             OH                     US   17172   130959268@AIRLINE.KIWI.COM
VJ4UQY   11/23/2020   RT   12/27/2020   WN;1605;ATL;BNA;WN;1764;BNA;PNS   BARNESPORT             OH                     US   17172   130959268@AIRLINE.KIWI.COM
VJ5DJH   11/23/2020   OB   11/24/2020   WN;4137;HOU;MDW                   PORT GAIL              HILLINGDON             GB   29574   130958828@AIRLINE.KIWI.COM
VJLN8T   11/23/2020   OB   11/30/2020   WN;4336;FLL;RDU                   AARONBOROUGH           WY                     US   65971   130959257@AIRLINE.KIWI.COM
VJO7DM   11/23/2020   OB   11/25/2020   WN;2034;ATL;JAX                   KELLYHAVEN             GA                     US   66140   130959620@AIRLINE.KIWI.COM
VJPNCL   11/23/2020   OB    12/4/2020   WN;3368;ATL;HOU;WN;1411;HOU;LAX   NORTH JUSTINBERG       NC                     US   43695   130959356@AIRLINE.KIWI.COM
VJPNCL   11/23/2020   OB    12/4/2020   WN;3368;ATL;HOU;WN;1411;HOU;LAX   NORTH JUSTINBERG       NC                     US   43695   130959356@AIRLINE.KIWI.COM




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VJPNCL   11/23/2020   OB    12/4/2020   WN;3368;ATL;HOU;WN;1411;HOU;LAX   NORTH JUSTINBERG       NC                    US   43695   130959356@AIRLINE.KIWI.COM
VJPNCL   11/23/2020   OB    12/4/2020   WN;3368;ATL;HOU;WN;1411;HOU;LAX   NORTH JUSTINBERG       NC                    US   43695   130959356@AIRLINE.KIWI.COM
VKDKKB   11/23/2020   OB    12/1/2020   WN;2888;CLT;DEN                   WEST ERICBERG          MI                    US   89977   130960753@AIRLINE.KIWI.COM
VLATI9   11/23/2020   OB   12/14/2020   WN;3749;LAX;MDW;WN;3262;MDW;PHL   SOUTH JEFFERYPORT      OH                    US   64611   130961424@AIRLINE.KIWI.COM
VLIR6P   11/23/2020   OB   11/24/2020   WN;2054;ONT;LAS                   LAKE KENNETH           MI                    US   52187   130961545@AIRLINE.KIWI.COM
VLIR6P   11/23/2020   RT   11/28/2020   WN;6992;LAS;ONT                   LAKE KENNETH           MI                    US   52187   130961545@AIRLINE.KIWI.COM
VMZHQR   11/23/2020   OB     1/2/2021   WN;3246;MSY;ATL;WN;2358;ATL;BWI   DA PAZ                 SANTA CATARINA        BR   18415   130963305@AIRLINE.KIWI.COM
VNGYFN   11/23/2020   OB   12/31/2020   WN;2938;ATL;PHL                   NORTH CHAD             NH                    US   95182   130963206@AIRLINE.KIWI.COM
VNNHLN   11/23/2020   OB    12/4/2020   WN;3264;LAX;DEN;WN;2629;DEN;ATL   NEW SARAHBURGH         CT                    US   95846   130963217@AIRLINE.KIWI.COM
VPPPO6   11/23/2020   OB   12/12/2020   WN;3612;ATL;LAS;WN;1146;LAS;LAX   CHRISTINATOWN          AK                    US   79633   130964801@AIRLINE.KIWI.COM
VQP69G   11/23/2020   OB    12/5/2020   WN;1715;MCO;MEM                   WEBBHAVEN              IL                    US   65003   130965439@AIRLINE.KIWI.COM
VQSWXX   11/23/2020   OB   12/14/2020   WN;4557;PHL;DEN                   JENNIFERBURGH          IL                    US   20952   130965175@AIRLINE.KIWI.COM
VQVAU5   11/23/2020   OB   12/14/2020   WN;569;DEN;OAK;WN;1282;OAK;HNL    EAST MICHELLE          CO                    US   47528   130965175@AIRLINE.KIWI.COM
VRLTBH   11/23/2020   OB   12/20/2020   WN;344;DEN;ABQ                    AJMER                  MIZORAM               IN   18710   130966440@AIRLINE.KIWI.COM
VRNXRQ   11/23/2020   OB   12/26/2020   WN;2013;ABQ;HOU;WN;780;HOU;AUS    BOWERSCHESTER          NC                    US   88124   130966462@AIRLINE.KIWI.COM
VSDWEV   11/23/2020   OB   12/30/2020   WN;1216;AUS;STL                   EAST AWESI             NORTHERN              GH   85592   130967034@AIRLINE.KIWI.COM
VSDWEV   11/23/2020   RT     1/5/2021   WN;376;STL;AUS                    EAST AWESI             NORTHERN              GH   85592   130967034@AIRLINE.KIWI.COM
VTD35I   11/23/2020   OB   12/12/2020   WN;3414;MCO;PHL                   CALDWELLBURGH          NM                    US    9939   130967276@AIRLINE.KIWI.COM
VTLOXR   11/23/2020   OB   11/26/2020   WN;2875;DAL;LAS                   SAN SOFIA DE LA MONT   QUINTANA ROO          MX   60489   130967584@AIRLINE.KIWI.COM
VUBXZV   11/23/2020   OB    12/5/2020   WN;3816;PHL;MDW;WN;3484;MDW;LAS   LAKE MACKENZIEMOUTH    TN                    US   40366   130968233@AIRLINE.KIWI.COM
J2Y9QP   11/24/2020   OB   11/29/2020   WN;4299;BNA;ECP                   RUSSOTOWN              MN                    US   61120   130991905@AIRLINE.KIWI.COM
J3JJFK   11/24/2020   OB    12/2/2020   WN;3920;LAX;MDW                   ROWLANDPORT            WY                    US   77521   130992202@AIRLINE.KIWI.COM
J46HM7   11/24/2020   OB    12/4/2020   WN;2346;ATL;TPA;WN;4147;TPA;MIA   PORT MEGHAN            OH                    US   96074   130992994@AIRLINE.KIWI.COM
J46HM7   11/24/2020   OB    12/4/2020   WN;2346;ATL;TPA;WN;4147;TPA;MIA   PORT MEGHAN            OH                    US   96074   130992994@AIRLINE.KIWI.COM
J47NE8   11/24/2020   OB    12/6/2020   WN;4141;MIA;TPA;WN;5011;TPA;ATL   SOUTH MICHAEL          SD                    US   40533   130992994@AIRLINE.KIWI.COM
J47NE8   11/24/2020   OB    12/6/2020   WN;4141;MIA;TPA;WN;5011;TPA;ATL   SOUTH MICHAEL          SD                    US   40533   130992994@AIRLINE.KIWI.COM
J4JMNE   11/24/2020   OB    12/9/2020   WN;2941;PHL;DEN;WN;2098;DEN;LAX   HILLBOROUGH            LA                    US   24226   130993423@AIRLINE.KIWI.COM
JA4LDR   11/24/2020   OB   11/27/2020   WN;403;ATL;BNA;WN;468;BNA;DTW     JOSHUAMOUTH            CO                    US   19357   130998615@AIRLINE.KIWI.COM
JGTDE8   11/24/2020   OB   11/24/2020   WN;4531;ATL;MDW;WN;1751;MDW;DTW   WEST NICOLEPORT        MD                    US   25950   131004544@AIRLINE.KIWI.COM
JNMJAI   11/24/2020   OB   11/30/2020   WN;1798;FLL;BNA                   NEW KATHERINEMOUTH     MI                    US   24635   131012354@AIRLINE.KIWI.COM
JQ6FBG   11/24/2020   OB   11/30/2020   WN;2666;DAL;LAS                   MARYPORT               NC                    US   71143   130985305.1505343@AIRLINE.KIWI.COM
JRWS4D   11/24/2020   OB   12/20/2020   WN;715;LAS;ATL                    LAKE KRISTEN           ID                    US   37667   131016490@AIRLINE.KIWI.COM
JRWS4D   11/24/2020   OB   12/20/2020   WN;715;LAS;ATL                    LAKE KRISTEN           ID                    US   37667   131016490@AIRLINE.KIWI.COM
JRWS4D   11/24/2020   OB   12/20/2020   WN;715;LAS;ATL                    LAKE KRISTEN           ID                    US   37667   131016490@AIRLINE.KIWI.COM
JTYENJ   11/24/2020   OB   12/23/2020   WN;3467;RIC;ATL                   EDWARDSLAND            AR                    US   21713   131019361@AIRLINE.KIWI.COM
JVLEG5   11/24/2020   OB   11/25/2020   WN;4256;LAS;ELP                   MASONTOWN              CT                    US   12723   131021187@AIRLINE.KIWI.COM
JVLEG5   11/24/2020   OB   11/25/2020   WN;4256;LAS;ELP                   MASONTOWN              CT                    US   12723   131021187@AIRLINE.KIWI.COM
JVLEG5   11/24/2020   OB   11/25/2020   WN;4256;LAS;ELP                   MASONTOWN              CT                    US   12723   131021187@AIRLINE.KIWI.COM
JVLEG5   11/24/2020   OB   11/25/2020   WN;4256;LAS;ELP                   MASONTOWN              CT                    US   12723   131021187@AIRLINE.KIWI.COM
JVLEG5   11/24/2020   OB   11/25/2020   WN;4256;LAS;ELP                   MASONTOWN              CT                    US   12723   131021187@AIRLINE.KIWI.COM
JVX5BA   11/24/2020   OB   12/13/2020   WN;3551;BWI;CVG                   EAST NANCY             LA                    US   76788   131021506@AIRLINE.KIWI.COM
JW2HL4   11/24/2020   OB    12/1/2020   WN;293;AUS;TPA;WN;1065;TPA;MIA    EAST NICHOLAS          KY                    US   26560   131019592@AIRLINE.KIWI.COM
JWAMUH   11/24/2020   OB   11/26/2020   WN;4131;MIA;HOU;WN;108;HOU;PVR    VIEJA MAURICIO         ZACATECAS             MX   75211   131021583@AIRLINE.KIWI.COM
JWAMUH   11/24/2020   RT   11/29/2020   WN;6269;PVR;HOU;WN;1056;HOU;MIA   VIEJA MAURICIO         ZACATECAS             MX   75211   131021583@AIRLINE.KIWI.COM
JWY4B6   11/24/2020   OB    12/1/2020   WN;1172;OMA;PHX;WN;1172;PHX;BUF   NEW AUSTINVIEW         LEMESOS               CY   54338   130012960.1505399@AIRLINE.KIWI.COM
JYDBGA   11/24/2020   OB   12/21/2020   WN;346;SJU;BWI;WN;350;BWI;SAT     KAPELLEBRUG            ZEELAND               NL   82239   131023816@AIRLINE.KIWI.COM
K2R7Y2   11/24/2020   OB    12/6/2020   WN;2699;DEN;MCO                   NORTH NEILBERG         IN                    US   36300   131027160@AIRLINE.KIWI.COM
K2R7Y2   11/24/2020   OB    12/6/2020   WN;2699;DEN;MCO                   NORTH NEILBERG         IN                    US   36300   131027160@AIRLINE.KIWI.COM
K2R7Y2   11/24/2020   OB    12/6/2020   WN;2699;DEN;MCO                   NORTH NEILBERG         IN                    US   36300   131027160@AIRLINE.KIWI.COM
K338ZK   11/24/2020   OB    12/9/2020   WN;3927;LAX;PHX                   JESSEBOROUGH           WV                    US   94290   131023541@AIRLINE.KIWI.COM
K37J5O   11/24/2020   OB   12/10/2020   WN;2739;SAT;DEN                   NEW DAVID              IA                    US   71480   131028711@AIRLINE.KIWI.COM
K37J5O   11/24/2020   OB   12/10/2020   WN;2739;SAT;DEN                   NEW DAVID              IA                    US   71480   131028711@AIRLINE.KIWI.COM
K37J5O   11/24/2020   RT   12/13/2020   WN;2638;DEN;SAT                   NEW DAVID              IA                    US   71480   131028711@AIRLINE.KIWI.COM
K37J5O   11/24/2020   RT   12/13/2020   WN;2638;DEN;SAT                   NEW DAVID              IA                    US   71480   131028711@AIRLINE.KIWI.COM
K45TEX   11/24/2020   OB    12/4/2020   WN;2323;DEN;CLT                   PAMELAVIEW             AK                    US   22928   131029382@AIRLINE.KIWI.COM
K7WOWC   11/24/2020   OB   12/21/2020   WN;1181;LGA;ATL                   WEST LINDA             OH                    US    9000   131035498@AIRLINE.KIWI.COM
KA3AZ8   11/24/2020   OB   11/25/2020   WN;1800;MCO;MSY                   PORT NATALIE           IN                    US   17353   131038633@AIRLINE.KIWI.COM
KAW6NV   11/24/2020   OB    12/5/2020   WN;2218;HOU;MDW                   WEST JESSICABURY       MS                    US   17769   131039898@AIRLINE.KIWI.COM
KB7N7B   11/24/2020   OB   11/26/2020   WN;2446;SLC;OAK                   TRANTOWN               MI                    US   44644   131040019@AIRLINE.KIWI.COM
KBRYID   11/24/2020   OB   11/28/2020   WN;1623;MCI;PDX                   SOUTH LATOYA           OK                    US   79136   131040855@AIRLINE.KIWI.COM
KCJAEU   11/24/2020   OB    12/6/2020   WN;6702;MCO;HOU                   CHRISTINEBURGH         OR                    US   79912   131041273@AIRLINE.KIWI.COM
KCKMGA   11/24/2020   OB   11/27/2020   WN;14;MDW;HOU                     GIBSONTOWN             AK                    US   72137   131041812@AIRLINE.KIWI.COM
KCOYKW   11/24/2020   OB    12/1/2020   WN;881;SJD;HOU;WN;2523;HOU;FLL    MURPHYLAND             TX                    US   27652   131041339@AIRLINE.KIWI.COM
KDMHJQ   11/24/2020   OB   11/29/2020   WN;3542;SMF;SAN                   SOUTH LAURA            MD                    US   55049   131044089@AIRLINE.KIWI.COM
KDPLXY   11/24/2020   OB   11/25/2020   WN;4055;PBI;BWI;WN;3649;BWI;LAS   NEALBURY               MS                    US   67922   131043726@AIRLINE.KIWI.COM
KF2HQ7   11/24/2020   OB    12/6/2020   WN;2026;ATL;DEN                   CHRISTOPHERSIDE        TN                    US   28605   131045057@AIRLINE.KIWI.COM
KF5K6Q   11/24/2020   OB   12/12/2020   WN;3466;ATL;HOU;WN;2270;HOU;MIA   WEST DONALD            AL                    US   49785   131045200@AIRLINE.KIWI.COM
KF9BFA   11/24/2020   OB    12/6/2020   WN;2026;ATL;DEN                   JAMIESTAD              VT                    US    2543   131044859@AIRLINE.KIWI.COM
KFQ66S   11/24/2020   OB   11/27/2020   WN;3360;ATL;LGA                   SAN RENATO LOS ALTOS   MEXICO                MX   88321   131046058@AIRLINE.KIWI.COM
KFQ66S   11/24/2020   OB   11/27/2020   WN;3360;ATL;LGA                   SAN RENATO LOS ALTOS   MEXICO                MX   88321   131046058@AIRLINE.KIWI.COM
KFZULC   11/24/2020   OB   12/23/2020   WN;3304;ATL;TPA                   STEPHANIEPORT          SC                    US   66131   131045211@AIRLINE.KIWI.COM
KHP9GT   11/24/2020   OB    12/3/2020   WN;2850;DEN;PHL                   NEW RICKYMOUTH         AR                    US   63262   131047598@AIRLINE.KIWI.COM
KIWNRO   11/24/2020   OB   11/27/2020   WN;147;ABQ;LAS                    ARNOLDBURY             OK                    US   47148   131049138@AIRLINE.KIWI.COM
KKD7AP   11/24/2020   OB    12/8/2020   WN;2809;CVG;MDW                   KATHERINEFURT          MO                    US   20017   131050975@AIRLINE.KIWI.COM
KLKJOV   11/24/2020   OB    12/8/2020   WN;5037;TUL;DEN                   TUAL                   SUMATERA UTARA        ID   44029   131051822@AIRLINE.KIWI.COM
KLXHIK   11/24/2020   OB     1/3/2021   WN;4028;SFO;DEN;WN;4028;DEN;SDF   S KAMENSKURALSKII      PRIMORSKIY KRAY       RU   35146   131052064@AIRLINE.KIWI.COM
KN9DJ5   11/24/2020   OB   11/25/2020   WN;37;MEM;DAL;WN;3745;DAL;TUL     PORT DONNAPORT         LA                    US   31988   131054044@AIRLINE.KIWI.COM
KNG5J6   11/24/2020   OB    12/6/2020   WN;3368;ATL;HOU;WN;1411;HOU;LAX   STEPHANIEBOROUGH       HI                    US    3681   131054869@AIRLINE.KIWI.COM
KNSWPP   11/24/2020   OB    12/6/2020   WN;3368;ATL;HOU;WN;1411;HOU;LAX   NEW DEBRA              WY                    US    9357   131054891@AIRLINE.KIWI.COM
KPC896   11/24/2020   OB   12/22/2020   WN;1298;PHX;PVR                   VIEJA GEORGIA          CHIAPAS               MX   27406   131056068@AIRLINE.KIWI.COM
KPKGJE   11/24/2020   OB   11/25/2020   WN;26;DAL;IND                     MCPHERSONMOUTH         RI                    US   86502   131056486@AIRLINE.KIWI.COM
KQWZGB   11/24/2020   OB   11/25/2020   WN;4009;ATL;HOU                   NORTH CHAD             TX                    US   37752   131057388@AIRLINE.KIWI.COM
KUIKNP   11/24/2020   OB   11/26/2020   WN;3989;LAX;LAS                   DE KNIPE               FLEVOLAND             NL   52017   131060050@AIRLINE.KIWI.COM
KUWXUA   11/24/2020   OB   12/10/2020   WN;1997;MCO;DEN                   LAKE WILLIAM           MA                    US   66200   131059995@AIRLINE.KIWI.COM
KUYZJL   11/24/2020   OB   11/24/2020   WN;2306;SJC;ONT                   VIEJA VANUATU          TABASCO               MX   21573   131058158@AIRLINE.KIWI.COM
VVPD5P   11/24/2020   OB   12/22/2020   WN;562;FLL;HOU;WN;893;HOU;SAT     SOUTH BRIANBURGH       MS                    US   48707   130962216@AIRLINE.KIWI.COM
VVPD5P   11/24/2020   OB   12/22/2020   WN;562;FLL;HOU;WN;893;HOU;SAT     SOUTH BRIANBURGH       MS                    US   48707   130962216@AIRLINE.KIWI.COM
VVPD5P   11/24/2020   RT     1/3/2021   WN;2242;SAT;HOU;WN;2034;HOU;FLL   SOUTH BRIANBURGH       MS                    US   48707   130962216@AIRLINE.KIWI.COM
VVPD5P   11/24/2020   RT     1/3/2021   WN;2242;SAT;HOU;WN;2034;HOU;FLL   SOUTH BRIANBURGH       MS                    US   48707   130962216@AIRLINE.KIWI.COM
VVSTVC   11/24/2020   OB   11/29/2020   WN;1060;MIA;TPA;WN;3384;TPA;LGA   VALPACOS               BEJA                  PT   37930   130969124@AIRLINE.KIWI.COM
VW3BIA   11/24/2020   OB    12/1/2020   WN;866;MEM;MCO                    PORT TIMOTHY           NV                    US   84642   130965153@AIRLINE.KIWI.COM
VW3BIA   11/24/2020   OB    12/1/2020   WN;866;MEM;MCO                    PORT TIMOTHY           NV                    US   84642   130965153@AIRLINE.KIWI.COM
VW3BIA   11/24/2020   OB    12/1/2020   WN;866;MEM;MCO                    PORT TIMOTHY           NV                    US   84642   130965153@AIRLINE.KIWI.COM
VWZ4EQ   11/24/2020   OB   12/20/2020   WN;715;HOU;OKC                    CORYVILLE              MT                    US   17044   130969652@AIRLINE.KIWI.COM
VX6VCR   11/24/2020   OB   11/29/2020   WN;4787;JAX;ATL;WN;6951;ATL;MSY   EAST THOMAS            MT                    US    8236   130969674@AIRLINE.KIWI.COM
W2ADN8   11/24/2020   OB   12/23/2020   WN;1788;SJC;HOU                   MERRITTMOUTH           MT                    US   26084   130971027@AIRLINE.KIWI.COM
W2AV74   11/24/2020   OB   12/26/2020   WN;48;HOU;DAL;WN;1994;DAL;SJC     YANGSTAD               AR                    US   39741   130971027@AIRLINE.KIWI.COM
W4SORN   11/24/2020   OB   11/26/2020   WN;3989;LAX;LAS                   WEST JONATHAN          MO                    US   80484   130972204@AIRLINE.KIWI.COM
W5L37Z   11/24/2020   OB    12/8/2020   WN;2006;RDU;BWI                   JOHNSONPORT            MA                    US   32080   130973194@AIRLINE.KIWI.COM
W5WC2Q   11/24/2020   OB    12/7/2020   WN;2328;PHX;SNA                   ANTHONYCHESTER         PA                    US   24120   130973029@AIRLINE.KIWI.COM
W64C9P   11/24/2020   OB     1/3/2021   WN;3726;PHL;ATL                   ARROYOLAND             RI                    US   86741   130973172@AIRLINE.KIWI.COM
W6OTC6   11/24/2020   OB   12/18/2020   WN;235;SLC;LAX                    NUEVA BELARUS          PUEBLA                MX   47479   130973535@AIRLINE.KIWI.COM
W88YUM   11/24/2020   OB   12/18/2020   WN;153;ATL;HOU                    NEW BRANDONSIDE        MA                    US   63374   130974206@AIRLINE.KIWI.COM
WA9QSI   11/24/2020   OB   12/12/2020   WN;3466;ATL;HOU;WN;2270;HOU;MIA   DIXONTON               MN                    US   29643   130975284@AIRLINE.KIWI.COM
WBOXQM   11/24/2020   OB   11/24/2020   WN;6966;MSY;ATL                   PORT ANNASTAD          WV                    US   44620   130976131@AIRLINE.KIWI.COM
WCAM6S   11/24/2020   OB    12/7/2020   WN;3989;MCO;MDW                   BRYANTBURGH            AR                    US   23414   130976824@AIRLINE.KIWI.COM
WCKOZS   11/24/2020   OB   11/26/2020   WN;6957;ELP;DAL;WN;4016;DAL;MCO   NUEVA CONGO            MICHOACAN DE OCAMPO   MX   74983   128806161.1505156@AIRLINE.KIWI.COM




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WDPFGW   11/24/2020   OB   11/26/2020   WN;2084;LAS;LAX                   LAINEDAN               MEURTHEETMOSELLE      FR   56222   130977308@AIRLINE.KIWI.COM
WDX29G   11/24/2020   OB   11/24/2020   WN;4394;BNA;HOU                   CRAIGTOWN              LA                    US    9064   130977638@AIRLINE.KIWI.COM
WDX29G   11/24/2020   RT   11/24/2020   WN;1936;HOU;BNA                   CRAIGTOWN              LA                    US    9064   130977638@AIRLINE.KIWI.COM
WE4YV7   11/24/2020   OB    12/9/2020   WN;4973;SAT;BNA                   ALEXANDERSTAD          SC                    US     861   130977726@AIRLINE.KIWI.COM
WENHVY   11/24/2020   OB   11/24/2020   WN;1873;LAX;HOU;WN;2096;HOU;ATL   NEW STEVENMOUTH        TX                    US    3343   130977935@AIRLINE.KIWI.COM
WJIPOY   11/24/2020   OB   12/15/2020   WN;3028;SAN;PHX;WN;2739;PHX;SAT   BROWNFORT              SC                    US   36277   130980388@AIRLINE.KIWI.COM
WJIPOY   11/24/2020   RT   12/26/2020   WN;433;SAT;SAN                    BROWNFORT              SC                    US   36277   130980388@AIRLINE.KIWI.COM
WLNGRT   11/24/2020   OB   12/17/2020   WN;746;BNA;SAT                    VIEJA BANGLADESH       SAN LUIS POTOSI       MX   15649   130979915@AIRLINE.KIWI.COM
WLNGRT   11/24/2020   OB   12/17/2020   WN;746;BNA;SAT                    VIEJA BANGLADESH       SAN LUIS POTOSI       MX   15649   130979915@AIRLINE.KIWI.COM
WM2HS9   11/24/2020   OB   11/29/2020   WN;4959;SMF;PDX                   NUEVA CONGO            BAJA CALIFORNIA       MX   10948   130981675@AIRLINE.KIWI.COM
WUPZ7R   11/24/2020   OB   11/24/2020   WN;3166;MAF;LAS                   WEST PEDROHAVEN        WV                    US   67972   130986680@AIRLINE.KIWI.COM
WVKZSP   11/24/2020   OB    12/6/2020   WN;3402;DEN;DAL                   SAN CRISTIAN LOS ALT   OAXACA                MX   51831   130987043@AIRLINE.KIWI.COM
WVOVGL   11/24/2020   OB    12/3/2020   WN;2713;DAL;DEN                   SAN ENRIQUE LOS BAJO   MICHOACAN DE OCAMPO   MX   17434   130987043@AIRLINE.KIWI.COM
WXFXHY   11/24/2020   OB   11/25/2020   WN;1457;OGG;SMF;WN;4435;SMF;DEN   EAST KATHLEEN          NV                    US   96965   130989276@AIRLINE.KIWI.COM
2SLPHF   11/25/2020   OB   11/25/2020   WN;1621;CLT;STL;WN;2715;STL;DEN   HOHAVEN                SD                    US   42459   130681650@AIRLINE.KIWI.COM
2XK8WG   11/25/2020   OB   11/25/2020   WN;3556;SAN;PHX;WN;3724;PHX;SAT   KENNETH                NJ                    US   82343   123894353@AIRLINE.KIWI.COM
2XK8WG   11/25/2020   RT   11/29/2020   WN;2027;SAT;DEN;WN;4922;DEN;SAN   KENNETH                NJ                    US   82343   123894353@AIRLINE.KIWI.COM
KXQR7O   11/25/2020   OB   12/19/2020   WN;2028;STL;MDW;WN;857;MDW;CMH    LAKE APRILFURT         AL MAFRAQ             JO   53481   131061898@AIRLINE.KIWI.COM
KXQR7O   11/25/2020   RT     1/2/2021   WN;177;CMH;MDW;WN;6707;MDW;STL    LAKE APRILFURT         AL MAFRAQ             JO   53481   131061898@AIRLINE.KIWI.COM
KXY3OB   11/25/2020   OB    12/7/2020   WN;4202;ATL;DEN;WN;3927;DEN;LAX   LOPEZVILLE             IA                    US   82599   131062030@AIRLINE.KIWI.COM
L2TGQ9   11/25/2020   OB   11/25/2020   WN;1613;ATL;RDU                   MEYERBURY              AZ                    US   77616   131063383@AIRLINE.KIWI.COM
L56VDD   11/25/2020   OB    12/2/2020   WN;3982;PHX;SAT                   WILSONTON              AZ                    US   43285   131064703@AIRLINE.KIWI.COM
L6A8B6   11/25/2020   OB   11/29/2020   WN;4735;MCO;PHL                   SAMANTHABURGH          NY                    US   21011   131065286@AIRLINE.KIWI.COM
L8WQYV   11/25/2020   OB     1/2/2021   WN;986;STL;ATL                    EAST ARTHUR            KY                    US   66667   131053582@AIRLINE.KIWI.COM
LA6RQT   11/25/2020   OB   11/25/2020   WN;2442;SAT;DAL;WN;6802;DAL;MSY   BRYANVIEW              NY                    US   77214   131054154@AIRLINE.KIWI.COM
LA6RQT   11/25/2020   OB   11/25/2020   WN;2442;SAT;DAL;WN;6802;DAL;MSY   BRYANVIEW              NY                    US   77214   131054154@AIRLINE.KIWI.COM
LAZS75   11/25/2020   OB   11/25/2020   WN;3485;HOU;MIA                   SANTIAGOMOUTH          MA                    US   77714   131068630@AIRLINE.KIWI.COM
LB8MG4   11/25/2020   OB    12/4/2020   WN;2730;CLT;DEN                   MICHAELMOUTH           NH                    US   88405   131068201@AIRLINE.KIWI.COM
LC3ASF   11/25/2020   OB   11/27/2020   WN;1019;SJU;TPA                   EAST RITA              CENTRAL               GH   78946   131068927@AIRLINE.KIWI.COM
LC3ASF   11/25/2020   RT    12/6/2020   WN;1652;TPA;SJU                   EAST RITA              CENTRAL               GH   78946   131068927@AIRLINE.KIWI.COM
LC7CJY   11/25/2020   OB   12/23/2020   WN;2358;PHX;LAS                   WATERSCHESTER          SD                    US   83250   131069147@AIRLINE.KIWI.COM
LDRZPL   11/25/2020   OB    2/10/2021   WN;2775;DAL;LGA                   OSBORNE FLATS          SOUTHLAND             NZ   77023   129631502.1505726@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LDZAHX   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS                CH   46428   131070291@AIRLINE.KIWI.COM
LEDKWI   11/25/2020   OB    12/5/2020   WN;4363;ATL;RIC                   EAST BRYAN             MA                    US   31614   131070841@AIRLINE.KIWI.COM
LEMCI8   11/25/2020   OB   11/25/2020   WN;2089;BWI;LAX                   NEW RENEE              HI                    US   61475   131070698@AIRLINE.KIWI.COM
LFJ7HC   11/25/2020   OB   12/11/2020   WN;4423;PHX;DEN                   HARDINGHAVEN           NC                    US   60464   131071105@AIRLINE.KIWI.COM
LFMFU8   11/25/2020   OB   12/10/2020   WN;2544;BNA;DEN                   SOUTH PATRICIASIDE     OH                    US   90392   131071358@AIRLINE.KIWI.COM
LFMFU8   11/25/2020   RT   12/13/2020   WN;2522;DEN;BNA                   SOUTH PATRICIASIDE     OH                    US   90392   131071358@AIRLINE.KIWI.COM
LFMST4   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS                    US   21074   131071534@AIRLINE.KIWI.COM
LFMST4   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS                    US   21074   131071534@AIRLINE.KIWI.COM
LFMST4   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS                    US   21074   131071534@AIRLINE.KIWI.COM
LFMST4   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS                    US   21074   131071534@AIRLINE.KIWI.COM
LFTP8G   11/25/2020   OB   11/25/2020   WN;1696;BWI;BOS                   BUCEONSI OJEONGGU      GANGWEONDO            KR   39478   131071556@AIRLINE.KIWI.COM
LHKT44   11/25/2020   OB   12/16/2020   WN;2003;BWI;HOU                   GRIFFINFORT            MI                    US   28430   131072579@AIRLINE.KIWI.COM
LHVIHX   11/25/2020   OB   11/25/2020   WN;4601;ATL;BWI;WN;3429;BWI;PIT   LEEMOUTH               NY                    US   58284   131072557@AIRLINE.KIWI.COM
LI6AVH   11/25/2020   OB   12/11/2020   WN;3250;BNA;MDW                   GREGORYLAND            NY                    US   44685   131072766@AIRLINE.KIWI.COM
LI9CV9   11/25/2020   OB   12/11/2020   WN;2510;MDW;LAX                   EAST STEVENSTAD        VA                    US   33880   131072766@AIRLINE.KIWI.COM
LIILXZ   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV                    US   96013   131072887@AIRLINE.KIWI.COM
LIILXZ   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV                    US   96013   131072887@AIRLINE.KIWI.COM
LIILXZ   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV                    US   96013   131072887@AIRLINE.KIWI.COM
LIILXZ   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV                    US   96013   131072887@AIRLINE.KIWI.COM
LIILXZ   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV                    US   96013   131072887@AIRLINE.KIWI.COM
LIILXZ   11/25/2020   OB     4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV                    US   96013   131072887@AIRLINE.KIWI.COM
LJEY4E   11/25/2020   OB    12/8/2020   WN;2383;BWI;DEN                   DOBRICHOVICE           PRACHATICE            CZ   49034   131073470@AIRLINE.KIWI.COM
LJN96S   11/25/2020   OB    12/8/2020   WN;281;DEN;TUL                    PEMATANGSIANTAR        RIAU                  ID   94826   131073470@AIRLINE.KIWI.COM
LKUEPZ   11/25/2020   OB   11/25/2020   WN;2715;ATL;STL                   NORTH JULIA            UT                    US   82274   131074141@AIRLINE.KIWI.COM
LKW8K8   11/25/2020   OB     1/9/2021   WN;1011;MDW;MIA                   ALICIASTAD             VT                    US   10001   131074009@AIRLINE.KIWI.COM
LLNFZI   11/25/2020   OB    12/2/2020   WN;4557;PHL;DEN;WN;4346;DEN;LAX   LAKE MEGHANSHIRE       NH                    US   83272   131074372@AIRLINE.KIWI.COM
LLNFZI   11/25/2020   RT   12/25/2020   WN;3264;LAX;DEN;WN;4433;DEN;PHL   LAKE MEGHANSHIRE       NH                    US   83272   131074372@AIRLINE.KIWI.COM
LO8U5E   11/25/2020   OB   12/13/2020   WN;2672;BWI;BDL                   NEW CHRISTINA          ME                    US   51334   131075637@AIRLINE.KIWI.COM
LOYOUZ   11/25/2020   OB   11/27/2020   WN;575;SNA;LAS                    TAYLORSHIRE            AZ                    US   64207   131076110@AIRLINE.KIWI.COM
LOYOUZ   11/25/2020   OB   11/27/2020   WN;575;SNA;LAS                    TAYLORSHIRE            AZ                    US   64207   131076110@AIRLINE.KIWI.COM
LP7N2S   11/25/2020   OB   12/18/2020   WN;2888;CLT;DEN                   CITRDURG               GUJARAT               IN   62017   131076517@AIRLINE.KIWI.COM
LPBOHE   11/25/2020   OB   12/18/2020   WN;694;DEN;AUS                    DEVAAS                 JAMMU AND KASHMIR     IN   71034   131076517@AIRLINE.KIWI.COM
LQ5AIB   11/25/2020   OB   12/16/2020   WN;2003;BWI;HOU                   NORTH BRITTANYBERG     MN                    US   43515   131077056@AIRLINE.KIWI.COM
LQMDL5   11/25/2020   OB   11/25/2020   WN;2849;LAX;STL;WN;4607;STL;BDL   NORTH CASSANDRA        VT                    US   10004   131077441@AIRLINE.KIWI.COM
LR77M8   11/25/2020   OB    12/5/2020   WN;3727;PHL;DEN                   NORTH SAMUEL           WY                    US   45263   131077914@AIRLINE.KIWI.COM
LW8ONC   11/25/2020   OB   12/22/2020   WN;1265;LAX;PHX                   GIETEN                 OVERIJSSEL            NL   20344   131080807@AIRLINE.KIWI.COM
LXDIQW   11/25/2020   OB   12/10/2020   WN;2590;MDW;LAS                   THOMASSTAD             AZ                    US   48109   131082391@AIRLINE.KIWI.COM
LXDIQW   11/25/2020   OB   12/10/2020   WN;2590;MDW;LAS                   THOMASSTAD             AZ                    US   48109   131082391@AIRLINE.KIWI.COM
LZFSP8   11/25/2020   OB   11/29/2020   WN;4398;LAS;DAL                   NORTH MARYMOUTH        KY                    US   82544   131083942@AIRLINE.KIWI.COM
M85L9A   11/25/2020   OB    12/3/2020   WN;4124;MDW;SMF                   CARRIETON              NC                    US   91895   131090146@AIRLINE.KIWI.COM
M86E4P   11/25/2020   OB    12/8/2020   WN;845;MSP;MDW                    LOWERYLAND             TX                    US   10719   131077254@AIRLINE.KIWI.COM
M86E4P   11/25/2020   OB    12/9/2020   WN;3751;MDW;CMH                   LOWERYLAND             TX                    US   10719   131077254@AIRLINE.KIWI.COM
M8EVYW   11/25/2020   OB    12/3/2020   WN;5029;TPA;MDW                   PORT BETHANY           WY                    US   54474   131090146@AIRLINE.KIWI.COM
MEYNU4   11/25/2020   OB     2/1/2021   WN;2855;PDX;LAS                   NEW PHILIPMOUTH        CT                    US   17996   131097351@AIRLINE.KIWI.COM
MFJB4P   11/25/2020   OB    12/6/2020   WN;3402;DEN;DAL                   KHUTIR VALENTINA       ODESKA OBLAST         UA   49880   131097714@AIRLINE.KIWI.COM
MFJB4P   11/25/2020   OB    12/6/2020   WN;3402;DEN;DAL                   KHUTIR VALENTINA       ODESKA OBLAST         UA   49880   131097714@AIRLINE.KIWI.COM
MG5MMV   11/25/2020   OB   11/25/2020   WN;4553;ATL;HOU                   VIEJA GRANADA          CAMPECHE              MX    4431   131098770@AIRLINE.KIWI.COM
MG5MMV   11/25/2020   OB   11/25/2020   WN;4553;ATL;HOU                   VIEJA GRANADA          CAMPECHE              MX    4431   131098770@AIRLINE.KIWI.COM
MGCKZT   11/25/2020   OB   11/25/2020   WN;4553;ATL;HOU                   NUEVA PALAU            GUANAJUATO            MX   33573   131098770@AIRLINE.KIWI.COM
MJXZRM   11/25/2020   OB   11/25/2020   WN;1266;LAX;OAK                   PORT THOMAS            OH                    US   11072   131103203@AIRLINE.KIWI.COM
MRCJGV   11/25/2020   OB   11/26/2020   WN;3408;MAF;LAS;WN;1954;LAS;ONT   SOUTH ROBERT           MS                    US   33035   131112267@AIRLINE.KIWI.COM
MRCJGV   11/25/2020   OB   11/26/2020   WN;3408;MAF;LAS;WN;1954;LAS;ONT   SOUTH ROBERT           MS                    US   33035   131112267@AIRLINE.KIWI.COM
MRP828   11/25/2020   OB    12/9/2020   WN;2746;RDU;ATL                   NEW BARBARASHIRE       VT                    US   98055   131113114@AIRLINE.KIWI.COM
MRQSW5   11/25/2020   OB   11/25/2020   WN;4101;ATL;TPA                   NEW BRANDY             AK                    US   20705   131112839@AIRLINE.KIWI.COM
MU6VDJ   11/25/2020   OB   11/25/2020   WN;4075;RDU;ATL;WN;2333;ATL;RSW   WEST CURTISLAND        MO                    US    1413   131115248@AIRLINE.KIWI.COM
MV8VZA   11/25/2020   OB   11/28/2020   WN;512;MDW;ATL                    STANLEYLAND            IN                    US   37508   131117151@AIRLINE.KIWI.COM
MV8VZA   11/25/2020   OB   11/28/2020   WN;512;MDW;ATL                    STANLEYLAND            IN                    US   37508   131117151@AIRLINE.KIWI.COM
MW3HIS   11/25/2020   OB   12/18/2020   WN;14;MDW;HOU                     LEWISTOWN              OR                    US   45271   131118559@AIRLINE.KIWI.COM
MW8KGK   11/25/2020   OB   11/26/2020   WN;3226;FLL;HOU;WN;3006;HOU;SJD   SHANNONHAVEN           TN                    US   42496   131118394@AIRLINE.KIWI.COM
MWNHDS   11/25/2020   OB   11/25/2020   WN;5078;OAK;LAX                   DIXONVIEW              MT                    US   40612   131118625@AIRLINE.KIWI.COM
N3AGR2   11/25/2020   OB   11/29/2020   WN;4777;PNS;BNA;WN;6804;BNA;DEN   NORTH PAUL             WY                    US   52993   131122068@AIRLINE.KIWI.COM
N3SDIX   11/25/2020   OB   12/27/2020   WN;2682;CLE;MDW;WN;1829;MDW;AUS   NORTH SERGIO           ME                    US   66341   131124400@AIRLINE.KIWI.COM
N7PXIA   11/25/2020   OB   12/26/2020   WN;2107;LGA;TPA                   KLKH TEMRIUK           SMOLENSKAYA OBLAST    RU   41081   131130285@AIRLINE.KIWI.COM
N7VSWJ   11/25/2020   OB   11/25/2020   WN;4993;SMF;LAX                   NEW MARGARET           MO                    US   69439   131130450@AIRLINE.KIWI.COM
N7VSWJ   11/25/2020   OB   11/25/2020   WN;4993;SMF;LAX                   NEW MARGARET           MO                    US   69439   131130450@AIRLINE.KIWI.COM
N8GEPB   11/25/2020   OB   12/26/2020   WN;1884;AUS;BNA                   WEST SYLVIAMOUTH       HI                    US   96868   131130747@AIRLINE.KIWI.COM
N8GEPB   11/25/2020   RT     1/1/2021   WN;2437;BNA;AUS                   WEST SYLVIAMOUTH       HI                    US   96868   131130747@AIRLINE.KIWI.COM
N9GSII   11/25/2020   OB    12/3/2020   WN;4547;PHL;ATL;WN;4115;ATL;MSY   EAST DOUGLAS           RI                    US   92821   131133145@AIRLINE.KIWI.COM




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NC6CWS   11/25/2020   OB   12/23/2020   WN;1771;MCI;BNA;WN;3614;BNA;TPA   RICHARDSHIRE           RI                       US   79981   131136225@AIRLINE.KIWI.COM
NCN94P   11/25/2020   OB     1/2/2021   WN;268;BNA;BWI;WN;560;BWI;BOS     BHAADURGDDH            DADRA AND NAGAR HAVELI   IN   24605   131113818@AIRLINE.KIWI.COM
NCW7WJ   11/25/2020   OB    12/3/2020   WN;2773;ATL;BNA;WN;3585;BNA;DTW   HERNANDEZFURT          WV                       US   75381   131137369@AIRLINE.KIWI.COM
NCW7WJ   11/25/2020   OB    12/3/2020   WN;2773;ATL;BNA;WN;3585;BNA;DTW   HERNANDEZFURT          WV                       US   75381   131137369@AIRLINE.KIWI.COM
NCW7WJ   11/25/2020   OB    12/3/2020   WN;2773;ATL;BNA;WN;3585;BNA;DTW   HERNANDEZFURT          WV                       US   75381   131137369@AIRLINE.KIWI.COM
NDEVHR   11/25/2020   OB    12/9/2020   WN;3306;MDW;MIA                   JAMESBURY              IA                       US   48202   131137842@AIRLINE.KIWI.COM
NDEVHR   11/25/2020   OB    12/9/2020   WN;3306;MDW;MIA                   JAMESBURY              IA                       US   48202   131137842@AIRLINE.KIWI.COM
NFG62K   11/25/2020   OB    12/2/2020   WN;4851;MDW;TPA                   NORTH BRUCE            OK                       US    3945   131140306@AIRLINE.KIWI.COM
NFKDPE   11/25/2020   OB    12/2/2020   WN;776;LAS;MDW                    QUINNSHIRE             WA                       US   39152   131140394@AIRLINE.KIWI.COM
NHEXMQ   11/25/2020   OB    12/3/2020   WN;4145;MIA;TPA;WN;4727;TPA;STL   ANGELAPORT             NE                       US   23009   131142957@AIRLINE.KIWI.COM
NHEXMQ   11/25/2020   OB    12/3/2020   WN;4145;MIA;TPA;WN;4727;TPA;STL   ANGELAPORT             NE                       US   23009   131142957@AIRLINE.KIWI.COM
NHEXMQ   11/25/2020   OB    12/3/2020   WN;4145;MIA;TPA;WN;4727;TPA;STL   ANGELAPORT             NE                       US   23009   131142957@AIRLINE.KIWI.COM
NI2W5U   11/25/2020   OB   11/25/2020   WN;3732;MDW;MSP                   NORTH MATTHEWPORT      MS                       US   60366   131143474@AIRLINE.KIWI.COM
NI9HTM   11/25/2020   OB   11/29/2020   WN;4018;DAL;LGA                   SOUTH JAMESVILLE       OH                       US   82094   131144453@AIRLINE.KIWI.COM
NJOO58   11/25/2020   OB   11/26/2020   WN;2986;DEN;BUR                   WEST KARLCHESTER       UT                       US   33415   131139569@AIRLINE.KIWI.COM
NJP63B   11/25/2020   OB   11/25/2020   WN;3137;BWI;BOS                   SOUTH CARRIECHESTER    MI                       US   68106   131144805@AIRLINE.KIWI.COM
NL5MQH   11/25/2020   OB   11/25/2020   WN;2144;FLL;BWI                   NORTH TAMMYLAND        MA                       US   45434   129207771@AIRLINE.KIWI.COM
NMSGS9   11/25/2020   OB   12/22/2020   WN;1229;PHL;DEN                   RICHARDBOROUGH         UT                       US   71087   131149073@AIRLINE.KIWI.COM
NNO6AX   11/25/2020   OB   11/28/2020   WN;2294;CLT;DEN                   CKRDHRPUR              KERALA                   IN   80454   131149942@AIRLINE.KIWI.COM
NOEOLN   11/25/2020   OB   12/18/2020   WN;1468;SAN;LAS                   JAMESFURT              SC                       US   88671   131150371@AIRLINE.KIWI.COM
NOMWY5   11/25/2020   OB   11/28/2020   WN;163;ATL;MKE                    NICHOLSONHAVEN         NV                       US   22659   131151273@AIRLINE.KIWI.COM
NOP72O   11/25/2020   OB    12/5/2020   WN;3066;LAS;DEN                   DELACRUZMOUTH          NH                       US   88908   131151394@AIRLINE.KIWI.COM
NOP72O   11/25/2020   OB    12/5/2020   WN;3066;LAS;DEN                   DELACRUZMOUTH          NH                       US   88908   131151394@AIRLINE.KIWI.COM
NOVTW9   11/25/2020   OB   12/20/2020   WN;536;DTW;BWI                    PORT STACY             MI                       US   12650   131151218@AIRLINE.KIWI.COM
NPAFMQ   11/25/2020   OB    12/9/2020   WN;4809;PHX;SAN                   EAST CANDACEMOUTH      ND                       US   84968   131152010@AIRLINE.KIWI.COM
NPAFMQ   11/25/2020   OB    12/9/2020   WN;4809;PHX;SAN                   EAST CANDACEMOUTH      ND                       US   84968   131152010@AIRLINE.KIWI.COM
NPY2S6   11/25/2020   OB   12/18/2020   WN;412;LGB;PHX                    NORTH DONNAMOUTH       MI                       US   38847   131152802@AIRLINE.KIWI.COM
NPY2S6   11/25/2020   RT   12/21/2020   WN;619;PHX;LGB                    NORTH DONNAMOUTH       MI                       US   38847   131152802@AIRLINE.KIWI.COM
NRFZWG   11/25/2020   OB   11/27/2020   WN;1241;PHX;BNA                   DELEONPORT             OH                       US   71513   131153858@AIRLINE.KIWI.COM
NSKYBN   11/25/2020   OB    12/4/2020   WN;273;MBJ;MCO                    CARSONVILLE            PA                       US   30688   131154606@AIRLINE.KIWI.COM
NTJC6R   11/25/2020   OB    1/11/2021   WN;479;RDU;BWI                    CARRON AN DER AARE     SANKT GALLEN             CH   87195   131155211@AIRLINE.KIWI.COM
NU3FLV   11/25/2020   OB   12/14/2020   WN;2595;DEN;STL                   HARDYBERG              SD                       US   18759   131156080@AIRLINE.KIWI.COM
NU4G7Q   11/25/2020   OB   12/26/2020   WN;1697;LAS;DEN                   SINGLETONCHESTER       NC                       US   96640   131155497@AIRLINE.KIWI.COM
NV8TLG   11/25/2020   OB   11/26/2020   WN;3406;LAS;SFO                   SALAZARFURT            IL                       US   85705   131155255@AIRLINE.KIWI.COM
NVXLDZ   11/26/2020   OB   11/26/2020   WN;5067;STL;ATL                   WALLACEFURT            SD                       US   47554   131157202@AIRLINE.KIWI.COM
NW4BM2   11/26/2020   OB   11/28/2020   WN;1063;TPA;MIA                   ANTHONYPORT            UT                       US   67929   131157840@AIRLINE.KIWI.COM
NWFRDA   11/26/2020   OB   12/14/2020   WN;2753;DCA;MDW;WN;2753;MDW;OAK   PONTEVEDRA             CANARIAS                 ES    2768   131157796@AIRLINE.KIWI.COM
NZQM53   11/26/2020   OB   11/30/2020   WN;6500;ATL;LGA                   K UGLEGORSK            PENZENSKAYA OBLAST       RU   36280   131159688@AIRLINE.KIWI.COM
O2RO82   11/26/2020   OB   11/26/2020   WN;2104;HOU;PHX                   NEW JOHNSHIRE          NH                       US   96029   131160271@AIRLINE.KIWI.COM
O2XV7X   11/26/2020   OB   11/26/2020   WN;6969;DAL;LAX                   EAST RYANBOROUGH       ME                       US   31905   131160293@AIRLINE.KIWI.COM
O37F7Y   11/26/2020   OB   12/14/2020   WN;2323;DEN;CLT                   WEST KELSEY            WI                       US   14668   131160139@AIRLINE.KIWI.COM
O37F7Y   11/26/2020   OB   12/14/2020   WN;2323;DEN;CLT                   WEST KELSEY            WI                       US   14668   131160139@AIRLINE.KIWI.COM
O4WIQT   11/26/2020   OB   12/21/2020   WN;876;ELP;PHX                    WEST CARRIE            AZ                       US   72773   131160931@AIRLINE.KIWI.COM
O6QSSY   11/26/2020   OB   11/26/2020   WN;2051;ATL;MDW;WN;3306;MDW;MIA   SOUTH JENNIFERLAND     OH                       US    6323   131162295@AIRLINE.KIWI.COM
O9UINR   11/26/2020   OB    12/2/2020   WN;2850;DEN;PHL                   PORT PETERBURGH        OR                       US   64008   131163868@AIRLINE.KIWI.COM
OD88ZD   11/26/2020   OB   12/20/2020   WN;1056;HOU;MIA                   SAN TRINIDAD DE LA M   GUANAJUATO               MX   68613   131165617@AIRLINE.KIWI.COM
OERLWI   11/26/2020   OB   11/29/2020   WN;4457;DEN;PHX;WN;4457;PHX;SAT   KRNAA                  MAHARASHTRA              IN   95674   131166068@AIRLINE.KIWI.COM
OIMSVY   11/26/2020   OB   11/26/2020   WN;4809;PHX;SAN                   WEST JOSE              WI                       US    2736   131168499@AIRLINE.KIWI.COM
OKWBJ6   11/26/2020   OB   11/26/2020   WN;2773;ATL;BNA                   EAST LAURA             IL                       US   47129   131169731@AIRLINE.KIWI.COM
OKWBJ6   11/26/2020   OB   11/27/2020   WN;380;ATL;TPA                    EAST LAURA             IL                       US   47129   131169731@AIRLINE.KIWI.COM
OM5SYQ   11/26/2020   OB   12/25/2020   WN;4145;MIA;TPA;WN;4727;TPA;STL   LUUMAKI                KESKIPOHJANMAA           FI   87591   131170534@AIRLINE.KIWI.COM
OSRR2W   11/26/2020   OB   12/31/2020   WN;2636;MDW;MSP                   WILLIAMSVIEW           SD                       US   77001   131168147@AIRLINE.KIWI.COM
OSRR2W   11/26/2020   OB   12/31/2020   WN;2636;MDW;MSP                   WILLIAMSVIEW           SD                       US   77001   131168147@AIRLINE.KIWI.COM
OVKJPH   11/26/2020   OB   11/26/2020   WN;2484;DAL;MSY                   JACOBHAVEN             NJ                       US   88630   131176936@AIRLINE.KIWI.COM
OWEAWY   11/26/2020   OB   11/28/2020   WN;701;BHM;LAS;WN;1542;LAS;OAK    ALLENFURT              FL                       US   13330   131177420@AIRLINE.KIWI.COM
OWU9XL   11/26/2020   OB   11/26/2020   WN;3517;SAN;DEN;WN;2850;DEN;PHL   SANDOVALTON            NM                       US   49524   131178014@AIRLINE.KIWI.COM
OZYZPI   11/26/2020   OB   11/26/2020   WN;6658;MSY;DAL                   WEST CHRISTOPHER       WV                       US    5152   131180412@AIRLINE.KIWI.COM
P2AXP2   11/26/2020   OB   11/26/2020   WN;3124;DTW;BNA;WN;2432;BNA;TPA   WEST JOHN              VA                       US   25633   131181039@AIRLINE.KIWI.COM
P2AXP2   11/26/2020   OB   11/26/2020   WN;3124;DTW;BNA;WN;2432;BNA;TPA   WEST JOHN              VA                       US   25633   131181039@AIRLINE.KIWI.COM
P6Q5FC   11/26/2020   OB    12/8/2020   WN;2642;DEN;OAK                   GUERRABURY             AZ                       US   82610   131185043@AIRLINE.KIWI.COM
PA46YO   11/26/2020   OB    12/2/2020   WN;6383;TPA;BNA;WN;2809;BNA;LAX   NORTH KAREN            WI                       US    5393   131188882@AIRLINE.KIWI.COM
PAAYGU   11/26/2020   OB    12/4/2020   WN;2510;MDW;LAX                   MORRISTOWN             GA                       US   26338   131188882@AIRLINE.KIWI.COM
PBQD6J   11/26/2020   OB   11/26/2020   WN;2180;BWI;MDW                   SOLOMONVIEW            NH                       US   68675   131190543@AIRLINE.KIWI.COM
PC4WAP   11/26/2020   OB   12/22/2020   WN;765;AUS;MCO;WN;198;MCO;MKE     YOUNGMOUTH             HI                       US   84021   126950032.1506314@AIRLINE.KIWI.COM
PCRR5V   11/26/2020   OB   12/15/2020   WN;3368;ATL;HOU;WN;661;HOU;MIA    TRZIC                  KOSTEL                   SI   73810   131163802.1506433@AIRLINE.KIWI.COM
PNAFT6   11/26/2020   OB   11/26/2020   WN;2228;ATL;MCO                   WEST BRANDONVIEW       WALTHAM FOREST           GB   34298   129798460.1506502@AIRLINE.KIWI.COM
PNONUU   11/26/2020   OB    12/2/2020   WN;2730;CLT;DEN                   NEW JULIETOWN          CO                       US   13257   131201642@AIRLINE.KIWI.COM
PNPF7X   11/26/2020   OB   12/15/2020   WN;2470;DEN;MCI                   DOUGLASBURY            MD                       US   22016   131190488@AIRLINE.KIWI.COM
POXIRV   11/26/2020   OB   12/11/2020   WN;3273;STL;DEN                   SOUTH GARRETT          UT                       US   65502   131205316@AIRLINE.KIWI.COM
POXIRV   11/26/2020   RT   12/13/2020   WN;4954;DEN;STL                   SOUTH GARRETT          UT                       US   65502   131205316@AIRLINE.KIWI.COM
PRWJOR   11/26/2020   OB    1/13/2021   WN;2257;SFO;PHX                   LORICHESTER            WI                       US   12301   131208286@AIRLINE.KIWI.COM
PS4KRP   11/26/2020   OB   11/26/2020   WN;3517;SAN;DEN;WN;2850;DEN;PHL   NORTH DOUGLASBURY      MS                       US   14122   131208451@AIRLINE.KIWI.COM
PSI86H   11/26/2020   OB   11/26/2020   WN;1534;LAS;SMF                   NORTH CORYBOROUGH      AZ                       US   66867   128268855.1506544@AIRLINE.KIWI.COM
PSNIN3   11/26/2020   OB   12/23/2020   WN;1833;FLL;MSY                   EAST DAWNCHESTER       OR                       US   89604   131209650@AIRLINE.KIWI.COM
PSOZ4O   11/26/2020   OB   11/26/2020   WN;5008;ATL;RSW                   LAKE JUSTIN            SD                       US   77150   131208748@AIRLINE.KIWI.COM
PSREBU   11/26/2020   OB    12/4/2020   WN;2247;CLT;BWI;WN;331;BWI;MIA    SHANEPORT              FL                       US   15390   131209683@AIRLINE.KIWI.COM
PSREBU   11/26/2020   OB    12/4/2020   WN;2247;CLT;BWI;WN;331;BWI;MIA    SHANEPORT              FL                       US   15390   131209683@AIRLINE.KIWI.COM
PV7JVY   11/26/2020   OB   12/17/2020   WN;1076;ONT;PHX                   SOUTH RICHARD          DE                       US    9332   131212499@AIRLINE.KIWI.COM
PWWJLM   11/26/2020   OB    2/17/2021   WN;726;ITO;HNL;WN;1148;HNL;OAK    ARMSTRONGPORT          MD                       US   64929   128330026.1506562@AIRLINE.KIWI.COM
PY2RJW   11/26/2020   OB   12/18/2020   WN;841;MDW;PHX                    NEW DONNAFURT          NE                       US   74282   131216107@AIRLINE.KIWI.COM
PY2RJW   11/26/2020   OB   12/18/2020   WN;841;MDW;PHX                    NEW DONNAFURT          NE                       US   74282   131216107@AIRLINE.KIWI.COM
PZHLX3   11/26/2020   OB    12/8/2020   WN;4141;MIA;TPA;WN;2661;TPA;LAS   SOUTH THERESA          OK                       US   83562   131217812@AIRLINE.KIWI.COM
PZHLX3   11/26/2020   OB    12/8/2020   WN;4141;MIA;TPA;WN;2661;TPA;LAS   SOUTH THERESA          OK                       US   83562   131217812@AIRLINE.KIWI.COM
PZHLX3   11/26/2020   RT   12/11/2020   WN;4858;LAS;TPA;WN;4147;TPA;MIA   SOUTH THERESA          OK                       US   83562   131217812@AIRLINE.KIWI.COM
PZHLX3   11/26/2020   RT   12/11/2020   WN;4858;LAS;TPA;WN;4147;TPA;MIA   SOUTH THERESA          OK                       US   83562   131217812@AIRLINE.KIWI.COM
PZZQSM   11/26/2020   OB   11/26/2020   WN;6800;BNA;CMH                   EAST TYLERSTAD         UT                       US   92703   131217570@AIRLINE.KIWI.COM
Q33FNZ   11/26/2020   OB   12/28/2020   WN;748;JAX;BWI                    ROSESIDE               TN                       US   47780   131220012@AIRLINE.KIWI.COM
Q33QMT   11/26/2020   OB     1/5/2021   WN;846;ATL;RIC                    SOUTH STEVEN           MS                       US   48169   131220045@AIRLINE.KIWI.COM
Q36WF3   11/26/2020   OB   11/26/2020   WN;845;MSP;MDW                    DANIELSBURGH           MD                       US   42609   131219924@AIRLINE.KIWI.COM
Q3HQIG   11/26/2020   OB   12/18/2020   WN;1212;BOS;BNA                   NEW MARK               RI                       US   21125   131220012@AIRLINE.KIWI.COM
Q3TI5R   11/26/2020   OB   11/26/2020   WN;3254;ATL;RDU                   SOUTH TINAVILLE        MA                       US   57489   131220199@AIRLINE.KIWI.COM
Q4Q8MB   11/26/2020   OB   11/26/2020   WN;5040;HOU;ATL                   BRIANVIEW              MN                       US   79357   131221200@AIRLINE.KIWI.COM
Q52RGN   11/26/2020   OB    12/3/2020   WN;1028;CUN;DEN                   PORT DIANA             CA                       US   60643   131222190@AIRLINE.KIWI.COM
Q5ATV2   11/26/2020   OB    12/4/2020   WN;4382;DEN;SEA                   SOUTH MICHAEL          IN                       US   61996   131222190@AIRLINE.KIWI.COM
Q5MVKT   11/26/2020   OB    12/4/2020   WN;4382;DEN;SEA                   SAINT ROBERT           MORBIHAN                 FR   42794   131222795@AIRLINE.KIWI.COM
Q63C4N   11/26/2020   OB    12/3/2020   WN;1028;CUN;DEN                   HAMONNEC               VALDEMARNE               FR   17300   131222795@AIRLINE.KIWI.COM
Q79VK8   11/26/2020   OB     1/4/2021   WN;1503;LAS;MSY                   EAST ANDREW            MI                       US   89839   131223807@AIRLINE.KIWI.COM
Q7CFIA   11/26/2020   OB   12/14/2020   WN;4153;MKE;DEN                   MICHAELFORT            MI                       US    8796   131223928@AIRLINE.KIWI.COM
Q8LAYP   11/26/2020   OB    12/5/2020   WN;3057;LAS;DAL                   VIOLABERG              SJAELLAND                DK    5445   131224313@AIRLINE.KIWI.COM
Q8LMEK   11/26/2020   OB   11/26/2020   WN;845;MSP;MDW                    JACKSONMOUTH           AR                       US   25741   131226601@AIRLINE.KIWI.COM
Q95X94   11/26/2020   OB   11/26/2020   WN;3167;MSP;DEN;WN;2606;DEN;PHX   SCOTTBOROUGH           NY                       US   94847   131227030@AIRLINE.KIWI.COM
Q95X94   11/26/2020   OB   11/26/2020   WN;3167;MSP;DEN;WN;2606;DEN;PHX   SCOTTBOROUGH           NY                       US   94847   131227030@AIRLINE.KIWI.COM
QARR9L   11/26/2020   OB   11/26/2020   WN;1725;HOU;DAL                   BROWNTOWN              NY                       US    4933   131229120@AIRLINE.KIWI.COM
QAX7TA   11/26/2020   OB   12/30/2020   WN;1181;LGA;ATL                   DUNNCHESTER            PA                       US   39071   131228724@AIRLINE.KIWI.COM
QB4YKM   11/26/2020   OB   11/28/2020   WN;1841;BHM;TPA                   WEST JULIA             ME                       US   71487   131229417@AIRLINE.KIWI.COM
QBRMNG   11/26/2020   OB   11/26/2020   WN;2877;LAX;LAS                   CHARLESSIDE            MI                       US    7179   131229879@AIRLINE.KIWI.COM
QCMJVS   11/26/2020   OB   12/28/2020   WN;232;MHT;MCO                    ROBERTVIEW             NM                       US   44818   131231210@AIRLINE.KIWI.COM




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QCMJVS   11/26/2020   OB   12/28/2020   WN;232;MHT;MCO                    ROBERTVIEW             NM                      US   44818   131231210@AIRLINE.KIWI.COM
QDIO4H   11/26/2020   OB   12/19/2020   WN;1607;BWI;CUN                   MICHAELCHESTER         VA                      US   51783   131233344@AIRLINE.KIWI.COM
QDIO4H   11/26/2020   RT   12/26/2020   WN;1606;CUN;BWI                   MICHAELCHESTER         VA                      US   51783   131233344@AIRLINE.KIWI.COM
QDZXBR   11/26/2020   OB   11/29/2020   WN;3891;BNA;HOU                   WILLIAMBERG            MSIDA                   MT   23522   131233707@AIRLINE.KIWI.COM
QFM69W   11/26/2020   OB   11/27/2020   WN;1105;OAK;BNA;WN;747;BNA;MCO    LAKE PATRICK           PAFOS                   CY   11432   131235522@AIRLINE.KIWI.COM
QFQI58   11/26/2020   OB   11/27/2020   WN;854;MDW;MSP                    P KATAVIVANOVSK        ORLOVSKAYA OBLAST       RU   22170   131235654@AIRLINE.KIWI.COM
QHWOS6   11/26/2020   OB   11/29/2020   WN;1693;TPA;BWI;WN;5060;BWI;CVG   AHMDNGR                GOA                     IN   47025   131238063@AIRLINE.KIWI.COM
QK2M7E   11/26/2020   OB   12/31/2020   WN;3338;MDW;TPA                   NORTH ROBERT           TN                      US   50947   131239647@AIRLINE.KIWI.COM
QKJ6AC   11/26/2020   OB   11/27/2020   WN;373;BWI;CVG                    CERVANTESMOUTH         WI                      US   33713   131239922@AIRLINE.KIWI.COM
QLGHR6   11/26/2020   OB    12/5/2020   WN;2511;DAL;MDW                   DAVISBURGH             CT                      US   45113   131241704@AIRLINE.KIWI.COM
QLI736   11/26/2020   OB    12/5/2020   WN;2511;DAL;MDW                   WEST AMANDA            VT                      US   84112   131241099@AIRLINE.KIWI.COM
QLS6CX   11/26/2020   OB   11/27/2020   WN;324;MIA;HOU                    PARKSVIEW              WI                      US   24284   131241957@AIRLINE.KIWI.COM
QMDOX6   11/26/2020   OB    1/11/2021   WN;1541;SFO;SAN                   PETERSMOUTH            OH                      US   86044   131242188@AIRLINE.KIWI.COM
QMJTKQ   11/26/2020   OB    12/3/2020   WN;2925;MDW;DAL                   ROBINMOUTH             IA                      US   78589   131242089@AIRLINE.KIWI.COM
QN4Q6F   11/26/2020   OB    1/24/2021   WN;332;MIA;BWI;WN;3933;BWI;DTW    PORT BIELFORT          QUEBEC                  CA   32113   131242991@AIRLINE.KIWI.COM
QN4Q6F   11/26/2020   OB    1/24/2021   WN;332;MIA;BWI;WN;3933;BWI;DTW    PORT BIELFORT          QUEBEC                  CA   32113   131242991@AIRLINE.KIWI.COM
QNOYH8   11/26/2020   OB   12/19/2020   WN;474;PNS;BNA;WN;474;BNA;RDU     NEW CHARLESBOROUGH     UT                      US    5044   131243354@AIRLINE.KIWI.COM
QNOYH8   11/26/2020   RT   12/26/2020   WN;1402;RDU;BNA;WN;2251;BNA;PNS   NEW CHARLESBOROUGH     UT                      US    5044   131243354@AIRLINE.KIWI.COM
QON288   11/26/2020   OB   12/14/2020   WN;3069;HOU;DEN                   NEW BARRYBURGH         KS                      US   48236   131244058@AIRLINE.KIWI.COM
QON288   11/26/2020   RT   12/17/2020   WN;593;DEN;HOU                    NEW BARRYBURGH         KS                      US   48236   131244058@AIRLINE.KIWI.COM
QORQ6D   11/26/2020   OB    12/3/2020   WN;1028;CUN;DEN                   VIEJA YEMEN            CAMPECHE                MX   98130   131244300@AIRLINE.KIWI.COM
QRCQQK   11/26/2020   OB   12/24/2020   WN;1489;SMF;LAS;WN;2319;LAS;TUS   PATRICIATON            ME                      US   85123   131246379@AIRLINE.KIWI.COM
QSUNMH   11/26/2020   OB    12/3/2020   WN;1028;CUN;DEN                   SAN NATALIA LOS ALTO   BAJA CALIFORNIA SUR     MX    9178   131247083@AIRLINE.KIWI.COM
QW4VKB   11/27/2020   OB   11/29/2020   WN;6978;LAS;TUS                   NUEVA REPUBLICA CENT   PUEBLA                  MX   14585   131249349@AIRLINE.KIWI.COM
QXY29R   11/27/2020   OB   11/27/2020   WN;837;BWI;ATL                    LAKE BRITTANYBERG      SC                      US   83383   131250251@AIRLINE.KIWI.COM
QY2OMX   11/27/2020   OB   12/20/2020   WN;1027;CMH;DEN                   CRYSTALBURGH           NC                      US   23845   131250218@AIRLINE.KIWI.COM
QYKS2M   11/27/2020   OB   12/16/2020   WN;4306;PHX;DEN                   NORTH DREW             AK                      US   15700   131250471@AIRLINE.KIWI.COM
QYMF6P   11/27/2020   OB   11/27/2020   WN;1222;SMF;SNA                   PORT ELIZABETHVILLE    OH                      US   32223   131250394@AIRLINE.KIWI.COM
QZRFEK   11/27/2020   OB     1/2/2021   WN;59;GRR;MDW;WN;59;MDW;BNA       CAROLYNSHIRE           KY                      US   52473   130269832.1506794@AIRLINE.KIWI.COM
R5EQZS   11/27/2020   OB   11/27/2020   WN;6404;DTW;BNA;WN;831;BNA;ATL    LAKE TERESA            WV                      US   27349   131252847@AIRLINE.KIWI.COM
R5EQZS   11/27/2020   OB   11/27/2020   WN;6404;DTW;BNA;WN;831;BNA;ATL    LAKE TERESA            WV                      US   27349   131252847@AIRLINE.KIWI.COM
RA5JGC   11/27/2020   OB    12/4/2020   WN;2576;HOU;FLL                   PORT JOANNEPORT        MN                      US   60836   131254706@AIRLINE.KIWI.COM
RA5LSN   11/27/2020   OB   11/27/2020   WN;1320;MCO;FLL                   MENDES DA MATA         ESPIRITO SANTO          BR   57697   123736723.1506763@AIRLINE.KIWI.COM
RDNRWK   11/27/2020   OB   11/27/2020   WN;1087;MSY;ATL                   EAST BRETTSHIRE        AR                      US   74500   131256741@AIRLINE.KIWI.COM
REOTJN   11/27/2020   OB   11/27/2020   WN;243;LAS;BUR                    GEIJSTEREN             GRONINGEN               NL   15000   131257335@AIRLINE.KIWI.COM
RFE8Z3   11/27/2020   OB   12/14/2020   WN;3927;LAX;PHX;WN;2740;PHX;ELP   KARENFURT              CT                      US    7493   131245818@AIRLINE.KIWI.COM
RFE8Z3   11/27/2020   OB   12/14/2020   WN;3927;LAX;PHX;WN;2740;PHX;ELP   KARENFURT              CT                      US    7493   131245818@AIRLINE.KIWI.COM
RFE8Z3   11/27/2020   OB   12/14/2020   WN;3927;LAX;PHX;WN;2740;PHX;ELP   KARENFURT              CT                      US    7493   131245818@AIRLINE.KIWI.COM
RFYJTX   11/27/2020   OB   12/18/2020   WN;1319;BUR;LAS;WN;1319;LAS;BOI   WILLIAMSSIDE           SD                      US   16327   131257863@AIRLINE.KIWI.COM
RFYJTX   11/27/2020   OB   12/18/2020   WN;1319;BUR;LAS;WN;1319;LAS;BOI   WILLIAMSSIDE           SD                      US   16327   131257863@AIRLINE.KIWI.COM
RHSEW2   11/27/2020   OB   12/28/2020   WN;486;DEN;IND                    THOMPSONSIDE           CA                      US   85717   131258743@AIRLINE.KIWI.COM
RIVYS3   11/27/2020   OB   12/11/2020   WN;2383;BWI;DEN                   NORTH CORYBURY         SD                      US   70294   131259315@AIRLINE.KIWI.COM
RK3B9X   11/27/2020   OB   12/23/2020   WN;6012;SAN;RNO                   THOMASBERG             VA                      US   80961   131259887@AIRLINE.KIWI.COM
RK3PSR   11/27/2020   OB     1/3/2021   WN;3527;PVD;BWI                   NORTH DANIEL           MA                      US   36186   131259766@AIRLINE.KIWI.COM
RKGHRK   11/27/2020   OB   12/27/2020   WN;3527;PVD;BWI                   LAKE STANLEYMOUTH      MN                      US   45174   131260030@AIRLINE.KIWI.COM
RMO2HU   11/27/2020   OB    12/3/2020   WN;2863;MDW;FLL                   NEW MADELINE           TN                      US   92554   131246170@AIRLINE.KIWI.COM
RMO2HU   11/27/2020   OB    12/3/2020   WN;2863;MDW;FLL                   NEW MADELINE           TN                      US   92554   131246170@AIRLINE.KIWI.COM
RMO2HU   11/27/2020   OB    12/3/2020   WN;2863;MDW;FLL                   NEW MADELINE           TN                      US   92554   131246170@AIRLINE.KIWI.COM
ROOS72   11/27/2020   OB    12/6/2020   WN;430;ATL;PHX                    NEW ROBERT             UT                      US   44519   131261845@AIRLINE.KIWI.COM
ROOS72   11/27/2020   OB    12/6/2020   WN;430;ATL;PHX                    NEW ROBERT             UT                      US   44519   131261845@AIRLINE.KIWI.COM
RPPC8W   11/27/2020   OB   12/18/2020   WN;689;DEN;OMA                    VIEJA PAPUA NUEVA GU   QUINTANA ROO            MX   98140   131262549@AIRLINE.KIWI.COM
RRS9TO   11/27/2020   OB   12/23/2020   WN;4610;BDL;MDW                   EAST MARIA             WY                      US   32995   131263726@AIRLINE.KIWI.COM
RSK7WS   11/27/2020   OB   11/27/2020   WN;792;SLC;LAS                    RYANTON                ID                      US   84658   131264111@AIRLINE.KIWI.COM
RSXHU9   11/27/2020   OB   11/28/2020   WN;2001;DTW;STL;WN;1841;STL;ATL   LAKE ROBERT            RI                      US   76494   131264749@AIRLINE.KIWI.COM
RUJ84U   11/27/2020   OB    12/8/2020   WN;3115;MDW;ATL                   SAN MARIO DE LA MONT   YUCATAN                 MX   84815   131264947@AIRLINE.KIWI.COM
RZX32W   11/27/2020   OB   12/20/2020   WN;1396;LAS;HOU                   ALLISONSIDE            MI                      US   73087   131269457@AIRLINE.KIWI.COM
RZXM7N   11/27/2020   OB   12/14/2020   WN;4141;MIA;TPA                   SOUTH JAMES            WI                      US   94532   131269831@AIRLINE.KIWI.COM
S2GJGU   11/27/2020   OB   12/14/2020   WN;4141;MIA;TPA                   ANDERSONBERG           DE                      US   60655   131270271@AIRLINE.KIWI.COM
S4LPG8   11/27/2020   OB    12/2/2020   WN;2823;ATL;BWI;WN;4413;BWI;BDL   SOUTH CRYSTAL          CA                      US   69467   131272196@AIRLINE.KIWI.COM
S5PJG2   11/27/2020   OB     1/4/2021   WN;915;DEN;MKE                    LAMBSTAD               NH                      US   62589   131273230@AIRLINE.KIWI.COM
S7DHAA   11/27/2020   OB   11/27/2020   WN;1249;HOU;MEM                   LAKE JOHN              MA                      US   24908   131274880@AIRLINE.KIWI.COM
S7DHAA   11/27/2020   RT   11/30/2020   WN;2754;MEM;HOU                   LAKE JOHN              MA                      US   24908   131274880@AIRLINE.KIWI.COM
SCA2GJ   11/27/2020   OB   12/27/2020   WN;1773;OMA;LAS                   D BRATSK               NOVOSIBIRSKAYA OBLAST   RU   55925   131279786@AIRLINE.KIWI.COM
SM4YVZ   11/27/2020   OB   12/27/2020   WN;2697;CLT;BWI                   KIMBERLYBERG           FL                      US    3982   131292821@AIRLINE.KIWI.COM
SNJQSZ   11/27/2020   OB   11/27/2020   WN;24;HOU;DAL;WN;990;DAL;LBB      NEW PATRICIABERG       NY                      US   25893   125846600@AIRLINE.KIWI.COM
SRGLD3   11/27/2020   OB   12/17/2020   WN;614;MCO;DEN                    NICOLEBURY             NY                      US   92748   127631394@AIRLINE.KIWI.COM
SRGLD3   11/27/2020   RT   12/20/2020   WN;494;DEN;MCO                    NICOLEBURY             NY                      US   92748   127631394@AIRLINE.KIWI.COM
SSIFOT   11/27/2020   OB     1/3/2021   WN;6824;ATL;LAS                   WEST JASONFORT         AZ                      US   63521   131299608@AIRLINE.KIWI.COM
SVP3KV   11/27/2020   OB     1/4/2021   WN;706;RSW;PIT                    EAST TERRI             OK                      US   69196   131304492@AIRLINE.KIWI.COM
SVP3KV   11/27/2020   OB     1/4/2021   WN;706;RSW;PIT                    EAST TERRI             OK                      US   69196   131304492@AIRLINE.KIWI.COM
SW2NFR   11/27/2020   OB   11/29/2020   WN;3011;MKE;STL                   HENDERSONHAVEN         AZ                      US   56329   131304745@AIRLINE.KIWI.COM
SW458T   11/27/2020   OB   12/13/2020   WN;2522;DEN;BNA                   AMANDATOWN             UT                      US   48993   131305064@AIRLINE.KIWI.COM
SWAYXY   11/27/2020   OB   12/15/2020   WN;3250;BNA;MDW                   PORT SEAN              WY                      US    6811   131304712@AIRLINE.KIWI.COM
SWHXYU   11/27/2020   OB   12/27/2020   WN;2441;RDU;PHX                   LAKE BRENDAMOUTH       AK                      US   84804   131305581@AIRLINE.KIWI.COM
SWML87   11/27/2020   OB   12/11/2020   WN;2516;DEN;SEA                   NORTH SHAWNVILLE       NC                      US   43954   131305460@AIRLINE.KIWI.COM
SWNCK6   11/27/2020   OB    12/6/2020   WN;2823;ATL;BWI;WN;2823;BWI;ROC   LAKE JESSICABERG       WI                      US   40572   131305801@AIRLINE.KIWI.COM
SWNCK6   11/27/2020   OB    12/6/2020   WN;2823;ATL;BWI;WN;2823;BWI;ROC   LAKE JESSICABERG       WI                      US   40572   131305801@AIRLINE.KIWI.COM
SWQYV5   11/27/2020   OB   12/11/2020   WN;5014;ATL;DEN                   MARKBURY               LA                      US   89063   131305460@AIRLINE.KIWI.COM
SXDXOS   11/27/2020   OB   11/30/2020   WN;1847;ROC;RSW;WN;1847;RSW;ATL   NORTH LISA             AL                      US    5217   131306318@AIRLINE.KIWI.COM
SZYCH5   11/27/2020   OB   12/15/2020   WN;474;MDW;LGA                    CHERRYVILLE            CO                      US   40308   131309409@AIRLINE.KIWI.COM
SZYCH5   11/27/2020   OB   12/15/2020   WN;474;MDW;LGA                    CHERRYVILLE            CO                      US   40308   131309409@AIRLINE.KIWI.COM
T3R3UK   11/27/2020   OB    12/3/2020   WN;2730;CLT;DEN                   ANDREVILLE             SD                      US   68632   131312115@AIRLINE.KIWI.COM
T3WGYJ   11/27/2020   OB    12/8/2020   WN;2713;DAL;DEN                   HUGHESVILLE            IA                      US   47256   131311576@AIRLINE.KIWI.COM
T4RO8M   11/27/2020   OB    12/1/2020   WN;278;MDW;ATL                    WEST ERINVILLE         OH                      US   61823   131312984@AIRLINE.KIWI.COM
T4RS3X   11/27/2020   OB   12/11/2020   WN;2510;BOS;MDW;WN;3558;MDW;LAS   NORTH BRENDABERG       KY                      US   52408   131313699@AIRLINE.KIWI.COM
T5HICS   11/27/2020   OB    12/5/2020   WN;2336;CVG;MDW;WN;3001;MDW;PHX   ISAIAHBURY             OR                      US   56425   131314282@AIRLINE.KIWI.COM
T67GZV   11/27/2020   OB   12/31/2020   WN;2944;SDF;ATL                   NORTH JEFFREYSIDE      NJ                      US    1451   131315404@AIRLINE.KIWI.COM
T8J722   11/27/2020   OB   12/11/2020   WN;2510;BOS;MDW;WN;3558;MDW;LAS   SOUTH DEVIN            IL                      US   39316   131317824@AIRLINE.KIWI.COM
T8Y8EK   11/27/2020   OB   12/16/2020   WN;5035;SJU;FLL                   LAKE MARKSIDE          REPUBLIKA SRPSKA        BA   76966   131318253@AIRLINE.KIWI.COM
TB8JWG   11/27/2020   OB   12/10/2020   WN;2026;ATL;DEN                   NEW MELANIE            WY                      US   89624   131321696@AIRLINE.KIWI.COM
TBFKKH   11/27/2020   OB   12/14/2020   WN;2634;DEN;ATL                   DANIELTOWN             OH                      US   21970   131321696@AIRLINE.KIWI.COM
TCQJUW   11/27/2020   OB    2/20/2021   WN;2036;MIA;BWI;WN;3560;BWI;CLT   JOSEPHVILLE            SD                      US   97125   131323940@AIRLINE.KIWI.COM
TCQJUW   11/27/2020   OB    2/20/2021   WN;2036;MIA;BWI;WN;3560;BWI;CLT   JOSEPHVILLE            SD                      US   97125   131323940@AIRLINE.KIWI.COM
TDO3NQ   11/27/2020   OB   12/11/2020   WN;2510;BOS;MDW;WN;3558;MDW;LAS   EAST WENDYBURY         OK                      US   34776   131324501@AIRLINE.KIWI.COM
TGEVSW   11/27/2020   OB   12/20/2020   WN;1102;AUS;HOU                   EREWAN                 ARMAVIR                 AM   20651   131328285@AIRLINE.KIWI.COM
TGEVSW   11/27/2020   OB   12/20/2020   WN;1102;AUS;HOU                   EREWAN                 ARMAVIR                 AM   20651   131328285@AIRLINE.KIWI.COM
TH65AY   11/27/2020   OB   12/11/2020   WN;3448;TPA;MSY                   YAN ZHOU SHI           GUANGDONG SHENG         CN   48555   131327064@AIRLINE.KIWI.COM
THOD9N   11/27/2020   OB    12/5/2020   WN;2975;PHL;TPA                   SANCHEZSHIRE           OR                      US     542   131329803@AIRLINE.KIWI.COM
THOD9N   11/27/2020   OB    12/5/2020   WN;2975;PHL;TPA                   SANCHEZSHIRE           OR                      US     542   131329803@AIRLINE.KIWI.COM
THOD9N   11/27/2020   OB    12/5/2020   WN;2975;PHL;TPA                   SANCHEZSHIRE           OR                      US     542   131329803@AIRLINE.KIWI.COM
THOD9N   11/27/2020   OB    12/5/2020   WN;2975;PHL;TPA                   SANCHEZSHIRE           OR                      US     542   131329803@AIRLINE.KIWI.COM
TI9NOF   11/27/2020   OB   12/28/2020   WN;101;PHX;LAX                    PORT JOHN              CA                      US   21174   131330859@AIRLINE.KIWI.COM
TJ9R7E   11/27/2020   OB   12/11/2020   WN;1493;SMF;LAS                   TREVORMOUTH            AL                      US   36750   131332201@AIRLINE.KIWI.COM
TJPMV3   11/27/2020   OB   12/20/2020   WN;697;AUS;DAL                    SOUTH JOSE             NV                      US   30522   131332575@AIRLINE.KIWI.COM
TKBZGV   11/27/2020   OB   12/12/2020   WN;4174;SFO;LAS                   WILLIAMSBOROUGH        WA                      US    5436   131332630@AIRLINE.KIWI.COM
TKBZGV   11/27/2020   OB   12/12/2020   WN;4174;SFO;LAS                   WILLIAMSBOROUGH        WA                      US    5436   131332630@AIRLINE.KIWI.COM
TLY8EY   11/27/2020   OB   11/29/2020   WN;2190;DAL;HOU;WN;3166;HOU;MAF   SHEILASTAD             LA                      US   14522   131334291@AIRLINE.KIWI.COM




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TN96KH   11/27/2020   OB   12/23/2020   WN;3436;LGA;ATL                   SAMANTHAVIEW           NC                      US   94674   131335402@AIRLINE.KIWI.COM
TNLPMJ   11/27/2020   OB   12/23/2020   WN;1375;SAN;HNL                   PORT JOHNNYBURGH       WV                      US    4819   131335523@AIRLINE.KIWI.COM
TT9C96   11/27/2020   OB   11/28/2020   WN;456;AUS;BNA;WN;1449;BNA;LGA    WEST SUSANBERG         MI                      US   28577   131341045@AIRLINE.KIWI.COM
TTO5P8   11/27/2020   OB    1/28/2021   WN;219;CUN;MDW                    RODRIGUES ALEGRE       ACRE                    BR   82772   131341760@AIRLINE.KIWI.COM
TTO5P8   11/27/2020   OB    1/28/2021   WN;219;CUN;MDW                    RODRIGUES ALEGRE       ACRE                    BR   82772   131341760@AIRLINE.KIWI.COM
TVHGPL   11/27/2020   OB   11/28/2020   WN;2307;OAK;LAS                   NORTH AMANDATON        VA                      US   38297   131342640@AIRLINE.KIWI.COM
TWG8DM   11/27/2020   OB   12/14/2020   WN;1515;DEN;DTW                   GRAYSTAD               MN                      US   15385   131343597@AIRLINE.KIWI.COM
TWGECB   11/28/2020   OB   12/11/2020   WN;3744;LAX;LAS                   RUIZTON                NJ                      US   66875   131343674@AIRLINE.KIWI.COM
TWYHUZ   11/28/2020   OB   12/31/2020   WN;3134;DTW;BWI;WN;398;BWI;RDU    REYESMOUTH             UT                      US   76893   131343795@AIRLINE.KIWI.COM
TWYHUZ   11/28/2020   OB   12/31/2020   WN;3134;DTW;BWI;WN;398;BWI;RDU    REYESMOUTH             UT                      US   76893   131343795@AIRLINE.KIWI.COM
TXL7QB   11/28/2020   OB   11/28/2020   WN;1743;MSY;HOU                   WHITEBERG              HI                      US   22854   131344356@AIRLINE.KIWI.COM
TYA67U   11/28/2020   OB    12/4/2020   WN;3468;BOI;DEN;WN;4833;DEN;SDF   PORT JOSEPH            NV                      US   95614   131344675@AIRLINE.KIWI.COM
TZVEIL   11/28/2020   OB   11/28/2020   WN;2055;LAS;LAX                   WEST KATHERINEBURGH    LA                      US   69395   131345863@AIRLINE.KIWI.COM
TZVEIL   11/28/2020   OB   11/28/2020   WN;2055;LAS;LAX                   WEST KATHERINEBURGH    LA                      US   69395   131345863@AIRLINE.KIWI.COM
U2SZ38   11/28/2020   OB   12/15/2020   WN;1454;SEA;DEN;WN;2575;DEN;MDW   TERRYBOROUGH           KS                      US   63276   131346402@AIRLINE.KIWI.COM
U4N5PZ   11/28/2020   OB   12/13/2020   WN;2730;CLT;DEN                   NEW JESSE              WY                      US   96178   131346963@AIRLINE.KIWI.COM
U6USLL   11/28/2020   OB   12/16/2020   WN;4557;PHL;DEN;WN;3886;DEN;LAS   EAST BRIANTON          NJ                      US   28910   131348503@AIRLINE.KIWI.COM
U75C6A   11/28/2020   OB   12/27/2020   WN;4803;ATL;MCI                   SOUTH CARLOS           WY                      US   83512   131348734@AIRLINE.KIWI.COM
U7NRZY   11/28/2020   OB   11/28/2020   WN;591;OGG;HNL                    NORTH SANDRA           IN                      US   43981   131349108@AIRLINE.KIWI.COM
U7NRZY   11/28/2020   OB   11/28/2020   WN;591;OGG;HNL                    NORTH SANDRA           IN                      US   43981   131349108@AIRLINE.KIWI.COM
U7Q5PU   11/28/2020   OB   12/19/2020   WN;441;STL;DAL                    HEATHERHAVEN           OH                      US   54518   131348987@AIRLINE.KIWI.COM
U7Q5PU   11/28/2020   RT   12/28/2020   WN;1480;DAL;STL                   HEATHERHAVEN           OH                      US   54518   131348987@AIRLINE.KIWI.COM
U8ETXJ   11/28/2020   OB    12/4/2020   WN;3264;LAX;DEN;WN;4433;DEN;PHL   JING MEN XIAN          HUBEI SHENG             CN   37846   131349240@AIRLINE.KIWI.COM
U8SXUF   11/28/2020   OB   12/23/2020   WN;1633;RDU;MDW                   MICHAELBURGH           IA                      US    4808   131349878@AIRLINE.KIWI.COM
U8VVQN   11/28/2020   OB    1/13/2021   WN;1990;ATL;BWI;WN;2672;BWI;BDL   CKRDHRPUR              CHHATTISGARH            IN   63455   131349790@AIRLINE.KIWI.COM
UBHIT5   11/28/2020   OB   12/28/2020   WN;1216;AUS;STL                   TYLERTON               GA                      US   27849   131351121@AIRLINE.KIWI.COM
UBHIT5   11/28/2020   RT     1/3/2021   WN;4891;STL;AUS                   TYLERTON               GA                      US   27849   131351121@AIRLINE.KIWI.COM
UDJPQS   11/28/2020   OB   12/11/2020   WN;569;DEN;OAK                    NIXONMOUTH             NY                      US   38870   131352430@AIRLINE.KIWI.COM
UE7NH5   11/28/2020   OB     2/5/2021   WN;4904;SJU;MCO                   SOUTH LINDABURGH       KS                      US   33968   131352397@AIRLINE.KIWI.COM
UE7NH5   11/28/2020   OB     2/5/2021   WN;4904;SJU;MCO                   SOUTH LINDABURGH       KS                      US   33968   131352397@AIRLINE.KIWI.COM
UE7NH5   11/28/2020   RT    2/13/2021   WN;979;MCO;SJU                    SOUTH LINDABURGH       KS                      US   33968   131352397@AIRLINE.KIWI.COM
UE7NH5   11/28/2020   RT    2/13/2021   WN;979;MCO;SJU                    SOUTH LINDABURGH       KS                      US   33968   131352397@AIRLINE.KIWI.COM
UEKPGK   11/28/2020   OB   12/10/2020   WN;3299;GRR;MDW                   EAST KRISTENBERG       AR                      US   67425   131352639@AIRLINE.KIWI.COM
UG43JJ   11/28/2020   OB   12/31/2020   WN;4207;MSY;ATL;WN;2002;ATL;BNA   MELANIESIDE            NM                      US   71888   131353893@AIRLINE.KIWI.COM
UG43JJ   11/28/2020   RT     1/5/2021   WN;409;BNA;MSY                    MELANIESIDE            NM                      US   71888   131353893@AIRLINE.KIWI.COM
UIT5BS   11/28/2020   OB   11/28/2020   WN;6841;SLC;LAS;WN;686;LAS;SNA    WEST TIMOTHY           IA                      US   26526   131355081@AIRLINE.KIWI.COM
UOPTKO   11/28/2020   OB    1/22/2021   WN;2247;CLT;BWI;WN;6243;BWI;DEN   LAKE JENNIFER          IN                      US   44334   131357512@AIRLINE.KIWI.COM
UOPTKO   11/28/2020   OB    1/22/2021   WN;2247;CLT;BWI;WN;6243;BWI;DEN   LAKE JENNIFER          IN                      US   44334   131357512@AIRLINE.KIWI.COM
UPX8FB   11/28/2020   OB   12/27/2020   WN;3976;SJU;MDW;WN;4273;MDW;OMA   SOUTH DAVIDBURY        NM                      US   58761   131357864@AIRLINE.KIWI.COM
UR9GEB   11/28/2020   OB   12/20/2020   WN;2010;RDU;STL                   PORT JAMES             NC                      US   33003   131358414@AIRLINE.KIWI.COM
URFRNH   11/28/2020   OB   12/22/2020   WN;492;ONT;HOU                    EAST JESSICA           MD                      US   51264   131358326@AIRLINE.KIWI.COM
URFRNH   11/28/2020   OB   12/22/2020   WN;492;ONT;HOU                    EAST JESSICA           MD                      US   51264   131358326@AIRLINE.KIWI.COM
URFRNH   11/28/2020   RT     1/4/2021   WN;1499;HOU;ONT                   EAST JESSICA           MD                      US   51264   131358326@AIRLINE.KIWI.COM
URFRNH   11/28/2020   RT     1/4/2021   WN;1499;HOU;ONT                   EAST JESSICA           MD                      US   51264   131358326@AIRLINE.KIWI.COM
UTRDB5   11/28/2020   OB    1/14/2021   WN;1236;DEN;SAT                   WEST NICOLE            NJ                      US   23619   131359481@AIRLINE.KIWI.COM
UUVM23   11/28/2020   OB   12/19/2020   WN;667;MDW;HOU                    CHADBOROUGH            OK                      US   46311   131360031@AIRLINE.KIWI.COM
UW65KH   11/28/2020   OB   11/28/2020   WN;2307;OAK;LAS                   RODRIGUEZSHIRE         ME                      US   49278   131360394@AIRLINE.KIWI.COM
UXYOUM   11/28/2020   OB   12/13/2020   WN;3639;DEN;ONT                   PHTHPUR                GOA                     IN   66033   131361230@AIRLINE.KIWI.COM
UY6OFG   11/28/2020   OB   12/13/2020   WN;3273;STL;DEN                   AKOLAA                 UTTAR PRADESH           IN   92556   131361230@AIRLINE.KIWI.COM
V7Q35D   11/28/2020   OB    1/19/2021   WN;3803;JAX;ATL                   SOUTH JENNIFERSHIRE    OR                      US   51833   131365190@AIRLINE.KIWI.COM
VFHVUD   11/28/2020   OB   12/31/2020   WN;2978;BOS;BWI;WN;102;BWI;MIA    OSTERBURG              MECKLENBURGVORPOMMERN   DE   69447   131371174@AIRLINE.KIWI.COM
VM5THF   11/28/2020   OB    12/6/2020   WN;2875;LAS;SNA                   NEW STEVENSTAD         MN                      US   13847   131376883@AIRLINE.KIWI.COM
VM8NWS   11/28/2020   OB   12/17/2020   WN;52;RNO;LAX                     EAST AMANDA            PA                      US   33048   131377246@AIRLINE.KIWI.COM
VNTEGL   11/28/2020   OB   12/13/2020   WN;1367;DEN;PHX                   NORTH NICHOLASBOROUG   WA                      US   37668   131378632@AIRLINE.KIWI.COM
VNXT83   11/28/2020   OB   11/29/2020   WN;2751;DEN;ONT                   LISAVIEW               MT                      US   18017   131378797@AIRLINE.KIWI.COM
VOBJYC   11/28/2020   OB   12/13/2020   WN;4557;PHL;DEN                   LISIDE                 WA                      US   44907   131378632@AIRLINE.KIWI.COM
VOGNYT   11/28/2020   OB   12/29/2020   WN;1012;MCO;MSP                   PORT CHASE             WA                      US   38939   131378852@AIRLINE.KIWI.COM
VPTEMW   11/28/2020   OB     1/3/2021   WN;3148;DTW;MDW;WN;1215;MDW;RDU   PORT WILLIAM           AK                      US   34871   131380271@AIRLINE.KIWI.COM
VQT372   11/28/2020   OB   12/19/2020   WN;210;RDU;MDW;WN;1668;MDW;DTW    WEST PATRICIABERG      ND                      US   97172   131380986@AIRLINE.KIWI.COM
VTBAPO   11/28/2020   OB    12/7/2020   WN;3685;LAS;PHX                   EAST PEGGY             NM                      US    6879   131384011@AIRLINE.KIWI.COM
VTD6BI   11/28/2020   OB    12/7/2020   WN;3685;LAS;PHX                   PORT NATHANIEL         MD                      US   80807   131383362@AIRLINE.KIWI.COM
VXYYAX   11/28/2020   OB   12/11/2020   WN;3207;BDL;MDW;WN;2987;MDW;ATL   EAST JAY               IN                      US   92402   131387795@AIRLINE.KIWI.COM
W2NT48   11/28/2020   OB   11/30/2020   WN;2049;MDW;BOS                   NORTH FRANCESCABERG    LANCASHIRE              GB   23550   131391183@AIRLINE.KIWI.COM
W3DJMH   11/28/2020   OB   12/19/2020   WN;2191;ELP;HOU;WN;1834;HOU;ATL   PORT JENNIFERSHIRE     AK                      US   43361   131392030@AIRLINE.KIWI.COM
W3DJMH   11/28/2020   RT     1/2/2021   WN;1770;ATL;HOU;WN;6847;HOU;ELP   PORT JENNIFERSHIRE     AK                      US   43361   131392030@AIRLINE.KIWI.COM
W3TQIY   11/28/2020   OB    12/7/2020   WN;4982;DEN;HOU                   EAST ALEXIS            MT                      US   62951   131391689@AIRLINE.KIWI.COM
W5AN7V   11/28/2020   OB    12/4/2020   WN;2775;DAL;LGA                   UMEA                   AP                      US   66930   131359382@AIRLINE.KIWI.COM
W79XF9   11/28/2020   OB    12/8/2020   WN;2527;DEN;BWI                   WEST CRYSTAL           MS                      US   32456   131395561@AIRLINE.KIWI.COM
W83TK4   11/28/2020   OB     1/3/2021   WN;6626;RDU;HOU;WN;6627;HOU;LAX   COLEMANSTAD            NH                      US   27782   131396584@AIRLINE.KIWI.COM
W8RBS5   11/28/2020   OB   12/26/2020   WN;1692;MSY;DAL                   RODGERSPORT            SD                      US   55776   131397211@AIRLINE.KIWI.COM
W8RBS5   11/28/2020   RT   12/28/2020   WN;1204;DAL;MSY                   RODGERSPORT            SD                      US   55776   131397211@AIRLINE.KIWI.COM
WACCZV   11/28/2020   OB   12/20/2020   WN;4444;OAK;MDW                   PORT DONALDHAVEN       ME                      US   47570   131399334@AIRLINE.KIWI.COM
WAG33C   11/28/2020   OB   12/22/2020   WN;1139;MDW;OAK                   TELAVI                 TBILISI                 GE     731   131400214@AIRLINE.KIWI.COM
WAK7E5   11/28/2020   OB   12/22/2020   WN;143;ATL;MDW                    BOLNISI                ABKHAZIA                GE   19985   131400214@AIRLINE.KIWI.COM
WDE8GZ   11/28/2020   OB   11/30/2020   WN;1383;SAN;OAK                   NEW JEAN               WI                      US   61835   131402755@AIRLINE.KIWI.COM
WDV4PN   11/28/2020   OB    1/11/2021   WN;1061;JAX;BNA                   NEW JENNA              WV                      US    8252   131403261@AIRLINE.KIWI.COM
WF2NYC   11/28/2020   OB   12/15/2020   WN;4131;MIA;HOU                   FREITAS DOS DOURADOS   ACRE                    BR   72424   131404427@AIRLINE.KIWI.COM
WG9GCN   11/28/2020   OB   11/29/2020   WN;1787;ATL;TPA;WN;1827;TPA;BDL   GONZALEZMOUTH          NH                      US   36251   131406033@AIRLINE.KIWI.COM
WGZ95V   11/28/2020   OB   11/29/2020   WN;1911;ATL;CLE                   STRICKLANDTON          AL                      US   42333   131407452@AIRLINE.KIWI.COM
WH84ZT   11/28/2020   OB   12/28/2020   WN;465;MDW;PHX                    NORTH PATRICIA         MI                      US    7492   131407419@AIRLINE.KIWI.COM
WQRRPS   11/28/2020   OB    12/8/2020   WN;2941;PHL;DEN;WN;2098;DEN;LAX   EAST DAMON             LA                      US    4482   131415449@AIRLINE.KIWI.COM
WS8PGJ   11/28/2020   OB   12/16/2020   WN;2247;CLT;BWI;WN;3195;BWI;MCO   COLINCHESTER           VA                      US   93040   131416439@AIRLINE.KIWI.COM
WS8PGJ   11/28/2020   OB   12/16/2020   WN;2247;CLT;BWI;WN;3195;BWI;MCO   COLINCHESTER           VA                      US   93040   131416439@AIRLINE.KIWI.COM
WS8PGJ   11/28/2020   RT   12/20/2020   WN;921;MCO;BWI;WN;849;BWI;CLT     COLINCHESTER           VA                      US   93040   131416439@AIRLINE.KIWI.COM
WS8PGJ   11/28/2020   RT   12/20/2020   WN;921;MCO;BWI;WN;849;BWI;CLT     COLINCHESTER           VA                      US   93040   131416439@AIRLINE.KIWI.COM
WV2OPD   11/28/2020   OB   11/29/2020   WN;2299;MHT;BWI;WN;2422;BWI;BNA   HERNANDEZFURT          IN                      US   64016   131417924@AIRLINE.KIWI.COM
WX2XRR   11/28/2020   OB   12/10/2020   WN;4868;SJC;MDW                   P PORONAISK            SAMARASKAYA OBLAST      RU   49207   131418936@AIRLINE.KIWI.COM
J5GN4J   11/29/2020   OB    12/1/2020   WN;625;ATL;LAS;WN;114;LAS;SMF     PHAADR                 TRIPURA                 IN   53359   131422379@AIRLINE.KIWI.COM
J7JUEQ   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    WEST REBECCABERG       WA                      US   71956   131423193@AIRLINE.KIWI.COM
J7JUEQ   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    WEST REBECCABERG       WA                      US   71956   131423193@AIRLINE.KIWI.COM
J7JUEQ   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   WEST REBECCABERG       WA                      US   71956   131423193@AIRLINE.KIWI.COM
J7JUEQ   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   WEST REBECCABERG       WA                      US   71956   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   OB   12/20/2020   WN;677;IAD;MCO                    NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
J7MAMB   11/29/2020   RT   12/26/2020   WN;4545;MCO;IAD                   NEW KATELYN            NY                      US   84620   131423193@AIRLINE.KIWI.COM
JADAFE   11/29/2020   OB   12/27/2020   WN;1746;LAS;PHX                   LINDATON               HI                      US   48431   131424370@AIRLINE.KIWI.COM
JB3ZNH   11/29/2020   OB    12/5/2020   WN;494;DEN;MCO                    NORTH SHANNON          NV                      US   89968   131424205.1507735@AIRLINE.KIWI.COM
JDDV5P   11/29/2020   OB   12/27/2020   WN;2797;RDU;FLL                   WEST ROBINLAND         NM                      US   24861   131425822@AIRLINE.KIWI.COM
JDLYCN   11/29/2020   OB    12/7/2020   WN;4941;LAS;MDW                   THOMPSONTOWN           MA                      US    7040   131425800@AIRLINE.KIWI.COM
JDLYCN   11/29/2020   OB    12/7/2020   WN;4941;LAS;MDW                   THOMPSONTOWN           MA                      US    7040   131425800@AIRLINE.KIWI.COM




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JDUWMQ   11/29/2020   OB    12/5/2020   WN;4570;SMF;DEN                   GALLEGOSBOROUGH       WV                    US   94641   131425855@AIRLINE.KIWI.COM
JDUWMQ   11/29/2020   RT   12/12/2020   WN;2641;DEN;SMF                   GALLEGOSBOROUGH       WV                    US   94641   131425855@AIRLINE.KIWI.COM
JH43YL   11/29/2020   OB   12/14/2020   WN;1962;MCO;MDW                   ZACHARYBERG           FL                    US   96899   131426878@AIRLINE.KIWI.COM
JH43YL   11/29/2020   OB   12/14/2020   WN;1962;MCO;MDW                   ZACHARYBERG           FL                    US   96899   131426878@AIRLINE.KIWI.COM
JIQMLQ   11/29/2020   OB    12/2/2020   WN;2823;ATL;BWI;WN;4413;BWI;BDL   SCHMITTBURY           VA                    US    7724   131426075@AIRLINE.KIWI.COM
JIQMLQ   11/29/2020   OB    12/2/2020   WN;2823;ATL;BWI;WN;4413;BWI;BDL   SCHMITTBURY           VA                    US    7724   131426075@AIRLINE.KIWI.COM
JIQMLQ   11/29/2020   OB    12/2/2020   WN;2823;ATL;BWI;WN;4413;BWI;BDL   SCHMITTBURY           VA                    US    7724   131426075@AIRLINE.KIWI.COM
JMQO6K   11/29/2020   OB    12/2/2020   WN;2016;ATL;BWI;WN;2016;BWI;BUF   EAST TINA             NJ                    US   47527   131429122@AIRLINE.KIWI.COM
JMWTOY   11/29/2020   OB    12/1/2020   WN;1025;BUF;BWI;WN;1090;BWI;ATL   NATHANIELTON          VA                    US   16823   131429122@AIRLINE.KIWI.COM
JNH9OS   11/29/2020   OB     1/1/2021   WN;2221;MIA;HOU                   MALI LOSINJ           KARLOVACKA ZUPANIJA   HR   61011   131429430@AIRLINE.KIWI.COM
JNS5K2   11/29/2020   OB   12/28/2020   WN;660;HOU;MIA                    THESSALONIKE          KYKLADES              GR    5160   131429430@AIRLINE.KIWI.COM
JQD4W7   11/29/2020   OB    1/10/2021   WN;3988;LAS;DAL                   MISTO ADA             TERNOPILSKA OBLAST    UA   77264   131430090@AIRLINE.KIWI.COM
JQD4W7   11/29/2020   OB    1/10/2021   WN;3988;LAS;DAL                   MISTO ADA             TERNOPILSKA OBLAST    UA   77264   131430090@AIRLINE.KIWI.COM
JZBNM9   11/29/2020   OB   11/29/2020   WN;4023;LAS;LAX                   LAKE NICOLEMOUTH      MS                    US   45641   131433544@AIRLINE.KIWI.COM
K52FO8   11/29/2020   OB   12/11/2020   WN;2713;DEN;CMH                   ALLENSTAD             IN                    US   18097   131435920@AIRLINE.KIWI.COM
K52FO8   11/29/2020   OB   12/11/2020   WN;2713;DEN;CMH                   ALLENSTAD             IN                    US   18097   131435920@AIRLINE.KIWI.COM
K52FO8   11/29/2020   OB   12/11/2020   WN;2713;DEN;CMH                   ALLENSTAD             IN                    US   18097   131435920@AIRLINE.KIWI.COM
K5IQZP   11/29/2020   OB   12/13/2020   WN;2938;ATL;PHL                   RODRIGUEZMOUTH        AZ                    US   66162   131436371@AIRLINE.KIWI.COM
K5IQZP   11/29/2020   OB   12/13/2020   WN;2938;ATL;PHL                   RODRIGUEZMOUTH        AZ                    US   66162   131436371@AIRLINE.KIWI.COM
K5P79I   11/29/2020   OB    12/1/2020   WN;153;ATL;HOU;WN;6812;HOU;LAX    NEW RICHARD           OR                    US   97162   131436536@AIRLINE.KIWI.COM
K6GD8J   11/29/2020   OB   12/19/2020   WN;362;BWI;SDF                    ST ZHIGANSK           IVANOVSKAYA OBLAST    RU   72818   131437108@AIRLINE.KIWI.COM
KNGF6C   11/29/2020   OB   11/30/2020   WN;3838;HRL;HOU;WN;3690;HOU;DCA   VARSSELDER            SABA                  NL   69868   131449714@AIRLINE.KIWI.COM
KNQIHT   11/29/2020   OB   11/29/2020   WN;3939;LAS;LAX                   HEATHERSTAD           OR                    US   97007   131450352@AIRLINE.KIWI.COM
KOGHNH   11/29/2020   OB   11/29/2020   WN;3939;LAS;LAX                   SARAHBOROUGH          NY                    US   95141   131450297@AIRLINE.KIWI.COM
KOJ74X   11/29/2020   OB   12/18/2020   WN;814;BDL;BWI;WN;324;BWI;MIA     KATHERINESIDE         VT                    US   98949   131450814@AIRLINE.KIWI.COM
KOJ74X   11/29/2020   RT   12/21/2020   WN;1051;MIA;BWI;WN;214;BWI;BDL    KATHERINESIDE         VT                    US   98949   131450814@AIRLINE.KIWI.COM
KPHPZP   11/29/2020   OB   11/29/2020   WN;4531;ATL;MDW;WN;1751;MDW;DTW   WEST RICHARD          KY                    US   37081   131451397@AIRLINE.KIWI.COM
KWV3B9   11/29/2020   OB    12/4/2020   WN;3207;BDL;MDW;WN;2987;MDW;ATL   CASEYTON              OH                    US   14333   131458063@AIRLINE.KIWI.COM
KXKWRI   11/29/2020   OB   11/30/2020   WN;2769;PVD;MCO                   FRANCISCOHAVEN        WV                    US   16581   131454290@AIRLINE.KIWI.COM
KZUFW7   11/29/2020   OB   12/24/2020   WN;3500;IND;BWI;WN;331;BWI;MIA    GOYANGSI DEOGYANGGU   CHUNGCHEONGNAMDO      KR   21950   131460593@AIRLINE.KIWI.COM
KZUFW7   11/29/2020   OB   12/24/2020   WN;3500;IND;BWI;WN;331;BWI;MIA    GOYANGSI DEOGYANGGU   CHUNGCHEONGNAMDO      KR   21950   131460593@AIRLINE.KIWI.COM
KZUFW7   11/29/2020   OB   12/24/2020   WN;3500;IND;BWI;WN;331;BWI;MIA    GOYANGSI DEOGYANGGU   CHUNGCHEONGNAMDO      KR   21950   131460593@AIRLINE.KIWI.COM
KZUFW7   11/29/2020   OB   12/24/2020   WN;3500;IND;BWI;WN;331;BWI;MIA    GOYANGSI DEOGYANGGU   CHUNGCHEONGNAMDO      KR   21950   131460593@AIRLINE.KIWI.COM
KZUFW7   11/29/2020   OB   12/24/2020   WN;3500;IND;BWI;WN;331;BWI;MIA    GOYANGSI DEOGYANGGU   CHUNGCHEONGNAMDO      KR   21950   131460593@AIRLINE.KIWI.COM
L2EAO6   11/29/2020   OB   12/27/2020   WN;1058;MIA;BWI;WN;4446;BWI;IND   NORTH MAREN           SYDDANMARK            DK   68029   131460593@AIRLINE.KIWI.COM
L2EAO6   11/29/2020   OB   12/27/2020   WN;1058;MIA;BWI;WN;4446;BWI;IND   NORTH MAREN           SYDDANMARK            DK   68029   131460593@AIRLINE.KIWI.COM
L2EAO6   11/29/2020   OB   12/27/2020   WN;1058;MIA;BWI;WN;4446;BWI;IND   NORTH MAREN           SYDDANMARK            DK   68029   131460593@AIRLINE.KIWI.COM
L2EAO6   11/29/2020   OB   12/27/2020   WN;1058;MIA;BWI;WN;4446;BWI;IND   NORTH MAREN           SYDDANMARK            DK   68029   131460593@AIRLINE.KIWI.COM
L2EAO6   11/29/2020   OB   12/27/2020   WN;1058;MIA;BWI;WN;4446;BWI;IND   NORTH MAREN           SYDDANMARK            DK   68029   131460593@AIRLINE.KIWI.COM
L2EI6M   11/29/2020   OB   12/15/2020   WN;2795;CMH;RSW                   JOSEPHMOUTH           MA                    US   60935   131461132@AIRLINE.KIWI.COM
L3E9I9   11/29/2020   OB   11/30/2020   WN;6995;ONT;LAS;WN;6978;LAS;TUS   SHEENASTAD            OR                    US   64239   131462221@AIRLINE.KIWI.COM
L4ENLP   11/29/2020   OB   12/18/2020   WN;6940;ONT;LAS                   YANGFURT              OK                    US   24407   131463827@AIRLINE.KIWI.COM
L6C3AB   11/29/2020   OB   12/28/2020   WN;1028;CUN;DEN                   JENNABURY             NJ                    US   23469   131465499@AIRLINE.KIWI.COM
L727LQ   11/29/2020   OB   12/17/2020   WN;281;DEN;TUL                    SOUTH RUTHLAND        MO                    US    9655   131466808@AIRLINE.KIWI.COM
L72YO9   11/29/2020   OB   12/13/2020   WN;2042;ATL;HOU                   SEANTON               MN                    US   60572   131466412@AIRLINE.KIWI.COM
L8B5VQ   11/29/2020   OB   12/23/2020   WN;4795;RDU;MDW;WN;4193;MDW;DTW   WEST TARA             HI                    US   75608   131468150@AIRLINE.KIWI.COM
LB8K22   11/29/2020   OB   12/23/2020   WN;3542;SAN;BNA                   NEUULM                HESSEN                DE   40952   131473012@AIRLINE.KIWI.COM
LBI2Q5   11/29/2020   OB   12/13/2020   WN;5014;ATL;DEN                   SOUTH JOSEPHCHESTER   OR                    US   77513   131473463@AIRLINE.KIWI.COM
LGPV3A   11/29/2020   OB   12/24/2020   WN;883;OAK;OGG                    DANIELSURTEXIER       VIENNE                FR    4127   131477984@AIRLINE.KIWI.COM
LGPV3A   11/29/2020   OB   12/24/2020   WN;883;OAK;OGG                    DANIELSURTEXIER       VIENNE                FR    4127   131477984@AIRLINE.KIWI.COM
LGPV3A   11/29/2020   OB   12/24/2020   WN;883;OAK;OGG                    DANIELSURTEXIER       VIENNE                FR    4127   131477984@AIRLINE.KIWI.COM
LGQIP5   11/29/2020   OB   12/11/2020   WN;2577;MIA;HOU;WN;3405;HOU;IND   VELASQUEZVILLE        WI                    US   86699   131478754@AIRLINE.KIWI.COM
LGQRER   11/29/2020   OB   12/24/2020   WN;2753;MDW;OAK                   ROCHER                CANTAL                FR    7663   131477984@AIRLINE.KIWI.COM
LGQRER   11/29/2020   OB   12/24/2020   WN;2753;MDW;OAK                   ROCHER                CANTAL                FR    7663   131477984@AIRLINE.KIWI.COM
LGQRER   11/29/2020   OB   12/24/2020   WN;2753;MDW;OAK                   ROCHER                CANTAL                FR    7663   131477984@AIRLINE.KIWI.COM
LJ7P32   11/29/2020   OB   11/29/2020   WN;4467;BNA;ATL                   SOUTH KAYLEECHESTER   CO                    US   55273   131480877@AIRLINE.KIWI.COM
LJQ6AW   11/29/2020   OB   11/29/2020   WN;5055;SMF;ONT                   CIRMIRII              PUNJAB                IN   76958   131481075@AIRLINE.KIWI.COM
LKQL6E   11/29/2020   OB     1/2/2021   WN;1615;STL;BWI;WN;1114;BWI;MIA   RAMOSPORT             VT                    US   17288   131482274@AIRLINE.KIWI.COM
LKQL6E   11/29/2020   OB     1/2/2021   WN;1615;STL;BWI;WN;1114;BWI;MIA   RAMOSPORT             VT                    US   17288   131482274@AIRLINE.KIWI.COM
LLIGEP   11/29/2020   OB    12/6/2020   WN;4382;DEN;SEA                   NORTH DANIELLE        IA                    US   28163   131482670@AIRLINE.KIWI.COM
LLIGEP   11/29/2020   OB    12/6/2020   WN;4382;DEN;SEA                   NORTH DANIELLE        IA                    US   28163   131482670@AIRLINE.KIWI.COM
LLZSFH   11/29/2020   OB   12/25/2020   WN;4865;SJC;LGB                   SUSANMOUTH            WESTERN AUSTRALIA     AU   27215   131484397@AIRLINE.KIWI.COM
LM5LUW   11/29/2020   OB   12/27/2020   WN;1750;LGB;SJC                   ABOVYAN               VAYOC JOR             AM   14480   131484397@AIRLINE.KIWI.COM
LMVV2T   11/29/2020   OB   12/13/2020   WN;2634;DEN;ATL                   MURPHYSHIRE           UT                    US   47246   130168016.1508047@AIRLINE.KIWI.COM
LN3A4D   11/29/2020   OB   12/13/2020   WN;2943;DEN;SLC                   WEST LINDSEYTOWN      FL                    US   91106   131485046@AIRLINE.KIWI.COM
LNEMJA   11/29/2020   OB   12/13/2020   WN;1059;BWI;DEN                   SOUTH JACKIEFORT      NH                    US   26029   131485046@AIRLINE.KIWI.COM
LNVIYO   11/29/2020   OB   12/19/2020   WN;2036;SAT;DEN;WN;1628;DEN;TUS   BACSMINDSZENTNEMETI   DUNAUJVAROS           HU   17944   131485497@AIRLINE.KIWI.COM
LO4QUY   11/29/2020   OB     1/4/2021   WN;6724;TUS;DEN;WN;6990;DEN;SAT   SOUTH JOSHUAVIEW      MAAN                  JO   91592   131485497@AIRLINE.KIWI.COM
LOU5AB   11/29/2020   OB   12/11/2020   WN;2510;BWI;BOS                   WEST MITCHELL         NY                    US   10391   131486124@AIRLINE.KIWI.COM
LP33XR   11/29/2020   OB   12/22/2020   WN;1068;SLC;OAK;WN;1480;OAK;BUR   LA CORUNA             ALICANTE              ES   50876   131477940@AIRLINE.KIWI.COM
LP33XR   11/29/2020   OB   12/22/2020   WN;1068;SLC;OAK;WN;1480;OAK;BUR   LA CORUNA             ALICANTE              ES   50876   131477940@AIRLINE.KIWI.COM
LP9UUL   11/29/2020   OB    12/1/2020   WN;1039;LAX;MDW                   LAKE NICHOLE          MS                    US   99901   131486542@AIRLINE.KIWI.COM
LRP4AM   11/29/2020   OB   11/29/2020   WN;4972;LAX;SJC                   PORT SHAWN            NY                    US   92908   131487906@AIRLINE.KIWI.COM
LTQ3VV   11/29/2020   OB    12/6/2020   WN;3454;HOU;STL                   SOUTH NATALIEFORT     GA                    US   46623   131489875@AIRLINE.KIWI.COM
LU9RXO   11/29/2020   OB   11/30/2020   WN;61;STL;DAL;WN;61;DAL;HOU       JENNIFERSTAD          NC                    US   18194   131489875@AIRLINE.KIWI.COM
LUNNBZ   11/29/2020   OB    12/1/2020   WN;1053;BNA;LGA                   NOVA BYSTRICE         KROMERIZ              CZ   32135   131490524@AIRLINE.KIWI.COM
WYUKC6   11/29/2020   OB   11/29/2020   WN;1215;RDU;BWI                   HESSFORT              FL                    US   84749   131420146@AIRLINE.KIWI.COM
WZPSNC   11/29/2020   OB   11/29/2020   WN;1215;RDU;BWI                   CYNTHIABERG           VA                    US   39401   131420278@AIRLINE.KIWI.COM
LX9KZ5   11/30/2020   OB    12/7/2020   WN;2279;DAL;LAX                   VICTORIAPORT          MI                    US   55696   131492152@AIRLINE.KIWI.COM
LX9KZ5   11/30/2020   RT   12/10/2020   WN;4805;LAX;DAL                   VICTORIAPORT          MI                    US   55696   131492152@AIRLINE.KIWI.COM
LXQ59X   11/30/2020   OB    12/4/2020   WN;2446;SLC;OAK;WN;784;OAK;OGG    SOUTH GEORGE          WA                    US    9877   131492042@AIRLINE.KIWI.COM
LXQ59X   11/30/2020   OB    12/4/2020   WN;2446;SLC;OAK;WN;784;OAK;OGG    SOUTH GEORGE          WA                    US    9877   131492042@AIRLINE.KIWI.COM
LXQ59X   11/30/2020   OB    12/4/2020   WN;2446;SLC;OAK;WN;784;OAK;OGG    SOUTH GEORGE          WA                    US    9877   131492042@AIRLINE.KIWI.COM
LZQHD9   11/30/2020   OB    12/6/2020   WN;4413;BWI;BDL                   LAKE LYNNBURY         IN                    US   65592   131493307@AIRLINE.KIWI.COM
M5T6LM   11/30/2020   OB   12/17/2020   WN;224;ATL;MDW                    SOSABOROUGH           HI                    US   58423   131495595@AIRLINE.KIWI.COM
M5X7FR   11/30/2020   OB   12/24/2020   WN;4476;MTJ;DEN                   NORTH JOANNHAVEN      KS                    US   57069   131495694@AIRLINE.KIWI.COM
M6R2M8   11/30/2020   OB   12/17/2020   WN;688;SJC;GEG                    ROSESIDE              NM                    US   45194   131496134@AIRLINE.KIWI.COM
M89PI7   11/30/2020   OB   11/30/2020   WN;1896;BNA;PHX                   JUSTINSIDE            DE                    US   16121   131496849@AIRLINE.KIWI.COM
M8JA7E   11/30/2020   OB   12/26/2020   WN;1404;RDU;BWI                   LINDSAYPORT           MN                    US   39704   131496827@AIRLINE.KIWI.COM
M8QTH9   11/30/2020   OB   12/26/2020   WN;1404;RDU;BWI                   NUEVA MONACO          AGUASCALIENTES        MX   72314   131496893@AIRLINE.KIWI.COM
MAP33M   11/30/2020   OB    12/1/2020   WN;1128;CMH;MDW                   MOKOKCUNG             TRIPURA               IN   74051   131498114@AIRLINE.KIWI.COM
MAS2XI   11/30/2020   OB    12/2/2020   WN;4937;PHX;MSY                   WEST ANDREA           NE                    US   44467   131497883@AIRLINE.KIWI.COM
MAS4J9   11/30/2020   OB   12/19/2020   WN;1749;SMF;SNA                   GUI LAN SHI           SHANDONG SHENG        CN   11806   131497872@AIRLINE.KIWI.COM
MCERNB   11/30/2020   OB   12/18/2020   WN;1467;SAN;SJC                   NICHOLASBERG          AR                    US    6899   131498950@AIRLINE.KIWI.COM
MDJQD3   11/30/2020   OB   12/13/2020   WN;281;DEN;TUL                    EAST NICHOLASSIDE     UT                    US   47723   131499060@AIRLINE.KIWI.COM
MEDD88   11/30/2020   OB    12/1/2020   WN;1225;ATL;MCO;WN;1225;MCO;BDL   BROWNINGVILLE         OK                    US   13408   131499445@AIRLINE.KIWI.COM
MEYC8X   11/30/2020   OB    2/28/2021   WN;4246;HOU;FLL                   AMANDACHESTER         LARNAKA               CY   77935   131499544@AIRLINE.KIWI.COM
MF2FSG   11/30/2020   OB    12/4/2020   WN;2685;CLE;BWI;WN;2221;BWI;MIA   EAST DAVIDSHIRE       CT                    US   33656   131499654@AIRLINE.KIWI.COM
MF2FSG   11/30/2020   OB    12/4/2020   WN;2685;CLE;BWI;WN;2221;BWI;MIA   EAST DAVIDSHIRE       CT                    US   33656   131499654@AIRLINE.KIWI.COM
MF2FSG   11/30/2020   RT    12/6/2020   WN;332;MIA;BWI;WN;1657;BWI;CLE    EAST DAVIDSHIRE       CT                    US   33656   131499654@AIRLINE.KIWI.COM
MF2FSG   11/30/2020   RT    12/6/2020   WN;332;MIA;BWI;WN;1657;BWI;CLE    EAST DAVIDSHIRE       CT                    US   33656   131499654@AIRLINE.KIWI.COM
MGFTUB   11/30/2020   OB    12/1/2020   WN;536;DTW;BWI                    DIANABERG             HOUNSLOW              GB    9252   131500182@AIRLINE.KIWI.COM
MHB2KQ   11/30/2020   OB   12/23/2020   WN;1215;MDW;RDU                   AMRAAVTII             CHANDIGARH            IN   39913   131500820@AIRLINE.KIWI.COM
MIPWPL   11/30/2020   OB    12/6/2020   WN;2699;DEN;MCO                   MEGANSIDE             MO                    US    3805   131501502@AIRLINE.KIWI.COM
MJW3M4   11/30/2020   OB    12/2/2020   WN;1265;LAX;PHX                   LAKE CHELSEAFURT      WA                    US   27019   131502052@AIRLINE.KIWI.COM
MKD9ZW   11/30/2020   OB     1/6/2021   WN;692;ATL;MCI                    PATRICIAMOUTH         SD                    US    6620   131502151@AIRLINE.KIWI.COM
ML5HJX   11/30/2020   OB    12/7/2020   WN;2217;ATL;DAL                   SIHEUNGSI             GANGWEONDO            KR   59771   131502580@AIRLINE.KIWI.COM




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MLAO76   11/30/2020   OB    12/1/2020   WN;527;IND;BWI                    ANNBURY                KS                        US   56299   131502624@AIRLINE.KIWI.COM
MLWWUS   11/30/2020   OB   12/18/2020   WN;1188;DEN;LGB                   ADAMLAND               OR                        US   38933   131502965@AIRLINE.KIWI.COM
MLWWUS   11/30/2020   RT     1/3/2021   WN;1567;LGB;DEN                   ADAMLAND               OR                        US   38933   131502965@AIRLINE.KIWI.COM
MM57I8   11/30/2020   OB   12/20/2020   WN;950;TPA;BWI                    MICHAELSHIRE           NH                        US   80610   131503064@AIRLINE.KIWI.COM
MMYUFF   11/30/2020   OB   12/13/2020   WN;1966;ATL;DEN                   FITZPATRICKSHIRE       KS                        US   34457   131503449@AIRLINE.KIWI.COM
MO6KIL   11/30/2020   OB   12/13/2020   WN;4615;PHX;MDW                   MELISSAMOUTH           MD                        US   40650   131503856@AIRLINE.KIWI.COM
MVY8K5   11/30/2020   OB   12/11/2020   WN;1491;SMF;LAS                   NEW JENNIFER           RI                        US    1174   131507970@AIRLINE.KIWI.COM
MVY8K5   11/30/2020   OB   12/11/2020   WN;1491;SMF;LAS                   NEW JENNIFER           RI                        US    1174   131507970@AIRLINE.KIWI.COM
MW3H2Q   11/30/2020   OB   12/18/2020   WN;221;OKC;ATL                    DARLENECHESTER         MT                        US   36701   131508003@AIRLINE.KIWI.COM
MW3H2Q   11/30/2020   RT   12/20/2020   WN;542;ATL;DEN;WN;291;DEN;OKC     DARLENECHESTER         MT                        US   36701   131508003@AIRLINE.KIWI.COM
MWUMGC   11/30/2020   OB     1/4/2021   WN;335;ISP;MCO;WN;335;MCO;ATL     WILSONLAND             ID                        US    4794   131508190@AIRLINE.KIWI.COM
MX55Z7   11/30/2020   OB   12/14/2020   WN;2247;CLT;BWI                   SOTOHAVEN              TN                        US   68350   131508619@AIRLINE.KIWI.COM
MXQCKM   11/30/2020   OB   12/14/2020   WN;2625;DEN;HOU                   NEW CYNTHIA            TX                        US   72628   131508883@AIRLINE.KIWI.COM
MZ5K3E   11/30/2020   OB   11/30/2020   WN;2256;LAX;HOU;WN;4005;HOU;MCO   SAUNDERSBURGH          OK                        US   80358   131509675@AIRLINE.KIWI.COM
N2X3NN   11/30/2020   OB   11/30/2020   WN;2256;LAX;HOU;WN;4005;HOU;MCO   LAKE DAVID             SD                        US   35306   131510907@AIRLINE.KIWI.COM
N64W5J   11/30/2020   OB   11/30/2020   WN;1884;MSY;HOU;WN;2759;HOU;SAT   COBBTOWN               CO                        US   48029   131512073@AIRLINE.KIWI.COM
N6AJSK   11/30/2020   OB   11/30/2020   WN;1705;SLC;LAS;WN;4447;LAS;SEA   SOUTH DENNIS           MS                        US    6744   131510170@AIRLINE.KIWI.COM
N6JXUH   11/30/2020   OB   12/11/2020   WN;2221;MIA;HOU                   LEON                   PALENCIA                  ES   43559   131514141@AIRLINE.KIWI.COM
N924NL   11/30/2020   OB     1/6/2021   WN;465;HOU;DEN                    BRANDYPORT             NV                        US   71536   131516946@AIRLINE.KIWI.COM
N924NL   11/30/2020   OB     1/6/2021   WN;465;HOU;DEN                    BRANDYPORT             NV                        US   71536   131516946@AIRLINE.KIWI.COM
N924NL   11/30/2020   RT    1/10/2021   WN;2088;DEN;HOU                   BRANDYPORT             NV                        US   71536   131516946@AIRLINE.KIWI.COM
N924NL   11/30/2020   RT    1/10/2021   WN;2088;DEN;HOU                   BRANDYPORT             NV                        US   71536   131516946@AIRLINE.KIWI.COM
NH22DC   11/30/2020   OB   12/11/2020   WN;2466;DAL;DEN                   DANIELTON              CA                        US    3829   131428176@AIRLINE.KIWI.COM
NH2MP9   11/30/2020   OB   12/11/2020   WN;2713;DEN;CMH                   DANIELTON              CA                        US    3829   131428176@AIRLINE.KIWI.COM
NITKNT   11/30/2020   OB   12/15/2020   WN;2755;LAS;RNO                   NORTH ANDREA           TX                        US   18157   131528683@AIRLINE.KIWI.COM
NLC5FN   11/30/2020   OB     1/3/2021   WN;4198;BWI;MCI                   SOUTH CHELSEA          CT                        US   70002   131532148@AIRLINE.KIWI.COM
NNAQGC   11/30/2020   OB   12/14/2020   WN;3226;FLL;HOU                   LAKE PAIGE             ME                        US   79896   131534359@AIRLINE.KIWI.COM
NNV434   11/30/2020   OB   12/11/2020   WN;2730;CLT;DEN                   TYLERSHIRE             FL                        US   27045   131534931@AIRLINE.KIWI.COM
NT4B72   11/30/2020   OB   12/26/2020   WN;1828;MDW;ATL                   SOUTH TANYAFURT        CO                        US   74276   131541421@AIRLINE.KIWI.COM
NTKU4A   11/30/2020   OB   12/24/2020   WN;2412;MCI;MDW                   EAST ROBINHAVEN        NC                        US   96133   131542510@AIRLINE.KIWI.COM
NULSA5   11/30/2020   OB   12/22/2020   WN;1192;MDW;CLT                   TURCIANKY              ZILINSKY KRAJ             SK   50503   131544138@AIRLINE.KIWI.COM
NUOXCB   11/30/2020   OB   11/30/2020   WN;4531;ATL;MDW;WN;3018;MDW;BUF   DIAZSHIRE              TX                        US   97929   131543324@AIRLINE.KIWI.COM
NX8SPS   11/30/2020   OB   12/14/2020   WN;2634;DEN;ATL                   MELISSABOROUGH         LA                        US   38035   131546426@AIRLINE.KIWI.COM
O2NLIL   11/30/2020   OB   12/13/2020   WN;2770;MCO;DEN                   PHTHPUR                JHARKHAND                 IN   90520   131550870@AIRLINE.KIWI.COM
O2P9MI   11/30/2020   OB   12/13/2020   WN;2770;MCO;DEN                   BHDRK                  LAKSHADWEEP               IN   77561   131550870@AIRLINE.KIWI.COM
O38PJZ   11/30/2020   OB   12/10/2020   WN;3744;LAX;LAS                   PORT YVONNE            PA                        US   94757   131552377@AIRLINE.KIWI.COM
O4BQMX   11/30/2020   OB   12/23/2020   WN;4457;SAN;SJC                   NORTH HOWARD           CA                        US   52573   131554456@AIRLINE.KIWI.COM
O4SIJZ   11/30/2020   OB   12/21/2020   WN;850;ATL;LIT                    SAN PIERFRANCESCO      PESARO E URBINO           IT     861   131554467@AIRLINE.KIWI.COM
O548OP   11/30/2020   OB   12/10/2020   WN;4279;MSY;TPA                   LAKE REBECCA           AL                        US   27330   131554478@AIRLINE.KIWI.COM
O578P4   11/30/2020   OB   12/19/2020   WN;2126;MCI;BNA;WN;1948;BNA;MKE   LAKE DONNAHAVEN        HI                        US   46334   131555017@AIRLINE.KIWI.COM
O5G6LH   11/30/2020   OB   12/29/2020   WN;1065;TPA;MIA                   PORT DAVIDTON          MD                        US   37014   131556029@AIRLINE.KIWI.COM
O5S72H   11/30/2020   OB   12/26/2020   WN;2108;DCA;MDW                   EAST JEREMY            NJ                        US   82181   131556304@AIRLINE.KIWI.COM
O6QXSI   11/30/2020   OB   12/23/2020   WN;1287;PHX;PSP;WN;1287;PSP;OAK   NEW TERESAMOUTH        CO                        US    7463   131558163@AIRLINE.KIWI.COM
O7UKY2   11/30/2020   OB   12/19/2020   WN;1926;ELP;PHX                   DIXONHAVEN             MA                        US   46591   131560495@AIRLINE.KIWI.COM
O7US5O   11/30/2020   OB    12/7/2020   WN;3426;LAS;MDW                   SOUTH JAMESTOWN        CO                        US   98823   131560286@AIRLINE.KIWI.COM
O8IM8R   11/30/2020   OB   12/19/2020   WN;1702;PHX;CVG                   FITZGERALDBOROUGH      FL                        US   92311   131560495@AIRLINE.KIWI.COM
O8JBI5   11/30/2020   OB     1/3/2021   WN;2786;CVG;HOU;WN;4417;HOU;ELP   MURPHYVIEW             HI                        US   21117   131560495@AIRLINE.KIWI.COM
O958Y2   11/30/2020   OB   11/30/2020   WN;3566;SFO;LAX                   VIEJA MAURICIO         MORELOS                   MX   81403   131561672@AIRLINE.KIWI.COM
OAPZSO   11/30/2020   OB    12/5/2020   WN;3802;DEN;IND                   JAMESSIDE              ME                        US   78217   131563916@AIRLINE.KIWI.COM
OAW8JR   11/30/2020   OB   11/30/2020   WN;4034;BWI;MDW                   NORTH GLORIALAND       WV                        US   94855   131564411@AIRLINE.KIWI.COM
OBBVPO   11/30/2020   OB   11/30/2020   WN;4918;PHX;MKE                   MICHAELFURT            DE                        US   33367   131566083@AIRLINE.KIWI.COM
OBQ4VU   11/30/2020   OB     1/4/2021   WN;1065;TPA;MIA                   S GREMIACHINSK BURIA   CHECHENSKAYA RESPUBLIKA   RU   86441   131566875@AIRLINE.KIWI.COM
OBVYJQ   11/30/2020   OB   12/14/2020   WN;2323;DEN;CLT                   LEACHTOWN              MA                        US   91978   131566941@AIRLINE.KIWI.COM
OBVYJQ   11/30/2020   OB   12/14/2020   WN;2323;DEN;CLT                   LEACHTOWN              MA                        US   91978   131566941@AIRLINE.KIWI.COM
OCBP39   11/30/2020   OB   12/23/2020   WN;2341;LAX;DAL                   EAST JASONMOUTH        MN                        US    3671   131567095@AIRLINE.KIWI.COM
OCBP39   11/30/2020   RT   12/30/2020   WN;603;DAL;LAX                    EAST JASONMOUTH        MN                        US    3671   131567095@AIRLINE.KIWI.COM
ODTSJ6   11/30/2020   OB   12/13/2020   WN;2088;DEN;HOU                   WEST SHARONFURT        MD                        US   20650   131570285@AIRLINE.KIWI.COM
OEAMHB   11/30/2020   OB   12/23/2020   WN;4993;SMF;LAX                   WEST FELICIA           AK                        US   22666   131570076@AIRLINE.KIWI.COM
OEOYNR   11/30/2020   OB   12/11/2020   WN;474;MDW;LGA                    SOUTH AARON            TX                        US   14257   131570835@AIRLINE.KIWI.COM
OEOYNR   11/30/2020   OB   12/11/2020   WN;474;MDW;LGA                    SOUTH AARON            TX                        US   14257   131570835@AIRLINE.KIWI.COM
OF2IJT   11/30/2020   OB   12/18/2020   WN;8;HOU;DAL;WN;632;DAL;LBB       LAKE CORNELIU          SALAJ                     RO   98564   131571704@AIRLINE.KIWI.COM
OF2IJT   11/30/2020   RT    2/27/2021   WN;4733;LBB;DAL;WN;49;DAL;HOU     LAKE CORNELIU          SALAJ                     RO   98564   131571704@AIRLINE.KIWI.COM
OFA9XU   11/30/2020   OB   12/18/2020   WN;6838;STL;PHX                   GRAYFORT               FL                        US   55516   131571737@AIRLINE.KIWI.COM
OHC58B   11/30/2020   OB   12/18/2020   WN;6856;PHL;ATL                   PORT BROOKEFURT        CA                        US   95945   131574817@AIRLINE.KIWI.COM
OHC9K3   11/30/2020   OB   12/15/2020   WN;4143;TPA;MIA                   CELJE                  LJUBNO                    SI   65362   131574542@AIRLINE.KIWI.COM
OHLSNW   11/30/2020   OB   12/20/2020   WN;1054;ATL;PHL                   MICHELLESTAD           OH                        US   44616   131574817@AIRLINE.KIWI.COM
OJM728   11/30/2020   OB    12/8/2020   WN;4557;PHL;DEN                   PORT HAILEYBERG        ND                        US   71495   131229967.1508638@AIRLINE.KIWI.COM
OKO3DS   11/30/2020   OB    12/1/2020   WN;582;LAS;SMF                    WEST SCOTTBURGH        MI                        US   47294   131578656@AIRLINE.KIWI.COM
OKQH9J   11/30/2020   OB   12/20/2020   WN;1324;RDU;ATL                   WEST ALICIA            AL                        US   14433   131578766@AIRLINE.KIWI.COM
OLELED   11/30/2020   OB   12/18/2020   WN;639;DEN;TPA                    ORTEGABERG             NV                        US   22940   131579492@AIRLINE.KIWI.COM
OMDY6A   11/30/2020   OB   12/27/2020   WN;3169;LAS;MAF                   SAN CLAUDIA DE LA MO   COAHUILA DE ZARAGOZA      MX   29862   131580493@AIRLINE.KIWI.COM
ONT7S7   11/30/2020   OB    12/9/2020   WN;2651;LAX;DEN                   PORT LOUISBERG         IA                        US   10336   131582517@AIRLINE.KIWI.COM
OPB3HE   11/30/2020   OB    12/8/2020   WN;4246;MSY;HOU;WN;3294;HOU;MIA   LAKE MAUREEN           VT                        US   38287   131584541@AIRLINE.KIWI.COM
OQCEBN   11/30/2020   OB   12/24/2020   WN;2601;PHX;ONT                   BALLTOWN               OK                        US   52669   131585641@AIRLINE.KIWI.COM
OQCEBN   11/30/2020   RT   12/27/2020   WN;3222;ONT;PHX                   BALLTOWN               OK                        US   52669   131585641@AIRLINE.KIWI.COM
OR8PDH   11/30/2020   OB    12/7/2020   WN;2026;ATL;DEN                   BROOKSBURGH            NY                        US   65855   131585586@AIRLINE.KIWI.COM
ORCYJY   11/30/2020   OB   12/18/2020   WN;1015;MDW;PHX                   SOUTH CHRISTINAFURT    AZ                        US   68193   131586455@AIRLINE.KIWI.COM
OSFNXC   11/30/2020   OB   12/24/2020   WN;5016;ORF;BWI;WN;3111;BWI;BOS   FAULKNERSTAD           NV                        US   90023   131587478@AIRLINE.KIWI.COM
OSIJ4U   11/30/2020   OB   12/27/2020   WN;1876;BOS;BWI;WN;4785;BWI;ORF   JENNIFERCHESTER        ID                        US   12052   131587478@AIRLINE.KIWI.COM
OU78MS   11/30/2020   OB    1/24/2021   WN;2147;BDL;BWI;WN;1607;BWI;CUN   WEST JOSEPHBURY        WY                        US   97992   131587863@AIRLINE.KIWI.COM
OUHZEL   11/30/2020   OB   12/16/2020   WN;1667;SLC;PHX                   MARCIABURY             MA                        US   84905   131590085@AIRLINE.KIWI.COM
OVQ63T   11/30/2020   OB    12/3/2020   WN;3338;SFO;MDW;WN;1941;MDW;BUF   PORT JANSHIRE          QUEBEC                    CA   63559   131590514@AIRLINE.KIWI.COM
OWCY9F   11/30/2020   OB    12/8/2020   WN;2288;MSY;BNA;WN;4766;BNA;PHL   PAYNEBURGH             NM                        US   32556   131591361@AIRLINE.KIWI.COM
OY2BP9    12/1/2020   OB   12/16/2020   WN;2577;MIA;HOU                   SMITHCHESTER           LUXEMBOURG                LU    5286   131592241@AIRLINE.KIWI.COM
OY8AJV    12/1/2020   OB   12/15/2020   WN;2735;LGB;AUS                   NEW CHRISTOPHERVILLE   CO                        US    6181   131592681@AIRLINE.KIWI.COM
OY9XWV    12/1/2020   OB     1/6/2021   WN;1041;TPA;STL                   WEST APRIL             MO                        US   48864   131592439@AIRLINE.KIWI.COM
OYD46B    12/1/2020   OB   12/13/2020   WN;4693;DEN;OAK                   NORTH EDWARD           KS                        US   74949   131592681@AIRLINE.KIWI.COM
OYUOIN    12/1/2020   OB   12/15/2020   WN;2528;OAK;DEN;WN;2528;DEN;AUS   PORT DAVIDSTAD         WI                        US   91331   131592681@AIRLINE.KIWI.COM
OYV7IV    12/1/2020   OB   12/18/2020   WN;1558;LAS;BUR                   EVANSVIEW              NC                        US    5290   131593209@AIRLINE.KIWI.COM
OZ4DYI    12/1/2020   OB   12/18/2020   WN;1127;LAS;DAL                   HOWARDVILLE            CA                        US   60293   131593352@AIRLINE.KIWI.COM
OZ4M74    12/1/2020   OB    12/8/2020   WN;2996;DSM;DEN;WN;2810;DEN;PHX   SOUTH BRENDA           MT                        US   74379   131581835@AIRLINE.KIWI.COM
OZ4M74    12/1/2020   OB    12/8/2020   WN;2996;DSM;DEN;WN;2810;DEN;PHX   SOUTH BRENDA           MT                        US   74379   131581835@AIRLINE.KIWI.COM
OZ4M74    12/1/2020   OB    12/8/2020   WN;2996;DSM;DEN;WN;2810;DEN;PHX   SOUTH BRENDA           MT                        US   74379   131581835@AIRLINE.KIWI.COM
OZRLPU    12/1/2020   OB   12/17/2020   WN;566;DTW;DEN                    CORYMOUTH              MO                        US   98697   131593484@AIRLINE.KIWI.COM
OZXWFH    12/1/2020   OB    12/4/2020   WN;2011;DEN;LAS                   DUSTINBERG             PA                        US   90612   131593770@AIRLINE.KIWI.COM
P2FM27    12/1/2020   OB   12/19/2020   WN;897;BDL;BWI;WN;1709;BWI;MIA    EAST ANTHONY           NV                        US   94127   131594496@AIRLINE.KIWI.COM
P2FM27    12/1/2020   OB   12/19/2020   WN;897;BDL;BWI;WN;1709;BWI;MIA    EAST ANTHONY           NV                        US   94127   131594496@AIRLINE.KIWI.COM
P47L4L    12/1/2020   OB     1/6/2021   WN;545;HOU;LAS                    NICHOLASHAVEN          MT                        US   27417   131595288@AIRLINE.KIWI.COM
P47L4L    12/1/2020   OB     1/6/2021   WN;545;HOU;LAS                    NICHOLASHAVEN          MT                        US   27417   131595288@AIRLINE.KIWI.COM
P47L4L    12/1/2020   RT    1/23/2021   WN;4683;LAS;HOU                   NICHOLASHAVEN          MT                        US   27417   131595288@AIRLINE.KIWI.COM
P47L4L    12/1/2020   RT    1/23/2021   WN;4683;LAS;HOU                   NICHOLASHAVEN          MT                        US   27417   131595288@AIRLINE.KIWI.COM
P4JMIT    12/1/2020   OB   12/19/2020   WN;37;DAL;HOU                     JEFFREYBURY            NE                        US   53212   131595706@AIRLINE.KIWI.COM
P4O63U    12/1/2020   OB   12/17/2020   WN;815;CMH;MDW                    RAYHAVEN               AK                        US   35633   131596333@AIRLINE.KIWI.COM
P4O63U    12/1/2020   RT   12/28/2020   WN;943;MDW;CMH                    RAYHAVEN               AK                        US   35633   131596333@AIRLINE.KIWI.COM
P4VN5O    12/1/2020   OB   12/19/2020   WN;701;DAL;BHM                    NORTH NICHOLAS         NM                        US   98458   131595706.1508765@AIRLINE.KIWI.COM
P59EWW    12/1/2020   OB   12/17/2020   WN;1024;MDW;PHX                   CARLSONBURGH           MT                        US   74651   131596333@AIRLINE.KIWI.COM
P5J5ZM    12/1/2020   OB    1/14/2021   WN;4042;FLL;BWI;WN;2978;BWI;GSP   CUNHA DO SUL           ACRE                      BR   48201   131596663@AIRLINE.KIWI.COM




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P78VIK   12/1/2020   OB   12/11/2020   WN;2730;CLT;DEN                   LAKE TARASHIRE         RI                          US   67963   131597433@AIRLINE.KIWI.COM
P7VCXX   12/1/2020   OB   12/24/2020   WN;2370;BUF;TPA                   PITTSFORT              NY                          US   84849   131597972@AIRLINE.KIWI.COM
P8I6WF   12/1/2020   OB   12/24/2020   WN;3787;BNA;HOU;WN;6515;HOU;SAT   NEW JESSICA            MD                          US   23773   131598797@AIRLINE.KIWI.COM
P8V3RW   12/1/2020   OB     1/2/2021   WN;512;MDW;ATL;WN;2163;ATL;RIC    TOU FEN                KAOHSIUNG                   TW   28427   131598841@AIRLINE.KIWI.COM
P99652   12/1/2020   OB   12/19/2020   WN;1328;PHX;MKE                   WEST THOMAS            AK                          US   23062   131599303@AIRLINE.KIWI.COM
P9ZZFB   12/1/2020   OB   12/19/2020   WN;1798;DEN;SAT                   HOGANCHESTER           CA                          US   95027   131599534@AIRLINE.KIWI.COM
PA7D52   12/1/2020   OB    12/6/2020   WN;3182;AUS;HOU;WN;3294;HOU;MIA   EDWINTON               GA                          US   54136   131599831@AIRLINE.KIWI.COM
PAP3NQ   12/1/2020   OB   12/25/2020   WN;3294;MIA;BWI;WN;1948;BWI;BNA   DEVGRH                 MANIPUR                     IN   75093   131600095@AIRLINE.KIWI.COM
PAP3NQ   12/1/2020   OB   12/25/2020   WN;3294;MIA;BWI;WN;1948;BWI;BNA   DEVGRH                 MANIPUR                     IN   75093   131600095@AIRLINE.KIWI.COM
PAP3NQ   12/1/2020   OB   12/25/2020   WN;3294;MIA;BWI;WN;1948;BWI;BNA   DEVGRH                 MANIPUR                     IN   75093   131600095@AIRLINE.KIWI.COM
PB74FN   12/1/2020   OB    12/1/2020   WN;424;DAL;AMA                    DENISEBURY             NC                          US   37822   131600271@AIRLINE.KIWI.COM
PDOYIU   12/1/2020   OB   12/27/2020   WN;1838;ABQ;DEN                   RUIZFORT               NM                          US   65161   131602328@AIRLINE.KIWI.COM
PFAB98   12/1/2020   OB   12/30/2020   WN;156;LGA;ATL                    PORT JESSICAVIEW       KS                          US   22089   131603197@AIRLINE.KIWI.COM
PG5HHE   12/1/2020   OB     1/2/2021   WN;2053;RDU;BWI                   SARAHLAND              AZ ZARQA                    JO   79113   131603615@AIRLINE.KIWI.COM
PGW7S4   12/1/2020   OB   12/13/2020   WN;4382;DEN;SEA                   GOMEZMOUTH             HI                          US   53356   131603736@AIRLINE.KIWI.COM
PH3YWB   12/1/2020   OB    12/8/2020   WN;2642;DEN;OAK                   CHRISTOPHERSTAD        AR                          US   49787   131604033@AIRLINE.KIWI.COM
PHAN7P   12/1/2020   OB     1/4/2021   WN;1314;PNS;BNA;WN;1053;BNA;LGA   G KURTAMYSH            PERMSKIY KRAY               RU   62480   131604022@AIRLINE.KIWI.COM
PHED9J   12/1/2020   OB    12/7/2020   WN;2247;CLT;BWI;WN;4749;BWI;TPA   ASHLEYBURGH            AL                          US   41643   131604044@AIRLINE.KIWI.COM
PHED9J   12/1/2020   OB    12/7/2020   WN;2247;CLT;BWI;WN;4749;BWI;TPA   ASHLEYBURGH            AL                          US   41643   131604044@AIRLINE.KIWI.COM
PHJA9D   12/1/2020   OB     1/5/2021   WN;249;MCO;STL                    BNDR YSYN              KOHGILUYEH VA BUYER AHMAD   IR   30216   131604407@AIRLINE.KIWI.COM
PKYXX3   12/1/2020   OB   12/13/2020   WN;3529;AUS;DEN                   WHITESHIRE             HI                          US   32505   131606409@AIRLINE.KIWI.COM
PMPTSG   12/1/2020   OB    12/1/2020   WN;821;MDW;BOS                    PORT JASONFORT         CO                          US   71940   131607630@AIRLINE.KIWI.COM
PNCRKZ   12/1/2020   OB   12/23/2020   WN;37;MEM;DAL                     DANIELMOUTH            AK                          US   78694   131607751@AIRLINE.KIWI.COM
PNCRKZ   12/1/2020   RT     1/1/2021   WN;2204;DAL;MEM                   DANIELMOUTH            AK                          US   78694   131607751@AIRLINE.KIWI.COM
PQ9YSQ   12/1/2020   OB   12/17/2020   WN;614;MCO;DEN                    TRACEYBURY             HI                          US   15385   131609500@AIRLINE.KIWI.COM
PQ9YSQ   12/1/2020   RT   12/20/2020   WN;2138;DEN;MCO                   TRACEYBURY             HI                          US   15385   131609500@AIRLINE.KIWI.COM
PQLUSJ   12/1/2020   OB    2/26/2021   WN;3230;OKC;HOU                   NEW DAVIDFURT          IN                          US   17319   131608994@AIRLINE.KIWI.COM
PQLUSJ   12/1/2020   OB    2/26/2021   WN;3230;OKC;HOU                   NEW DAVIDFURT          IN                          US   17319   131608994@AIRLINE.KIWI.COM
PRWM7U   12/1/2020   OB     1/3/2021   WN;1670;MCO;ATL                   KENNETHLAND            NV                          US   59135   131610061@AIRLINE.KIWI.COM
PTRSNQ   12/1/2020   OB   12/27/2020   WN;1746;LAS;PHX                   NEW WILLIAM            CT                          US   22759   131610952@AIRLINE.KIWI.COM
PUVQQM   12/1/2020   OB     1/9/2021   WN;50;HOU;DAL                     EMMATON                RI                          US   48384   131608785@AIRLINE.KIWI.COM
PXSXZA   12/1/2020   OB   12/17/2020   WN;245;DEN;BOS                    SOUTH DALE             SC                          US   66148   131613405@AIRLINE.KIWI.COM
PXYYA9   12/1/2020   OB   12/11/2020   WN;2510;BOS;MDW                   NORTH ANTHONYSTAD      NH                          US   79216   131613405@AIRLINE.KIWI.COM
PYAQQN   12/1/2020   OB   12/11/2020   WN;3285;MDW;DEN                   WILSONBURY             MN                          US   64747   131613405@AIRLINE.KIWI.COM
PYDX8Y   12/1/2020   OB   12/18/2020   WN;226;MSY;BNA                    COOKCHESTER            PA                          US   58007   131613889@AIRLINE.KIWI.COM
PZVXPA   12/1/2020   OB   12/11/2020   WN;3264;LAX;DEN;WN;4433;DEN;PHL   SOUTH TODD             MO                          US    2135   131614417@AIRLINE.KIWI.COM
PZVXPA   12/1/2020   RT   12/18/2020   WN;920;PHL;MDW;WN;782;MDW;LAX     SOUTH TODD             MO                          US    2135   131614417@AIRLINE.KIWI.COM
Q38D39   12/1/2020   OB    12/1/2020   WN;271;BUR;SMF                    PORT AMY               RI                          US   99668   131615737@AIRLINE.KIWI.COM
Q3S2DB   12/1/2020   OB   12/15/2020   WN;4864;LAS;OAK                   SOUTH MARY             VT                          US   77726   131615990@AIRLINE.KIWI.COM
Q6A2YV   12/1/2020   OB   12/11/2020   WN;2996;DSM;DEN;WN;2810;DEN;PHX   JASMINEFORT            NY                          US   35483   131617607@AIRLINE.KIWI.COM
Q8ZWQ6   12/1/2020   OB    12/1/2020   WN;1424;MDW;MSP                   WAGNERBURGH            AZ                          US   72315   131620643@AIRLINE.KIWI.COM
Q9PJOW   12/1/2020   OB    12/3/2020   WN;3989;LAX;LAS                   NORTH EMILYTON         CO                          US   85244   131610721@AIRLINE.KIWI.COM
Q9PJOW   12/1/2020   OB    12/3/2020   WN;3989;LAX;LAS                   NORTH EMILYTON         CO                          US   85244   131610721@AIRLINE.KIWI.COM
QLSLSK   12/1/2020   OB    12/9/2020   WN;4557;PHL;DEN;WN;4346;DEN;LAX   THOMASBURY             WA                          US   20257   131634965@AIRLINE.KIWI.COM
QMT6Q2   12/1/2020   OB    12/4/2020   WN;3989;LAX;LAS                   SARAVIEW               UT                          US     837   131595277.1509112@AIRLINE.KIWI.COM
QVTSQ3   12/1/2020   OB   12/28/2020   WN;1124;OAK;LAS                   DANIELBOROUGH          PA                          US   15885   131647824@AIRLINE.KIWI.COM
QVWMJQ   12/1/2020   OB     1/3/2021   WN;1698;TPA;BWI                   EAST DAVID             MT                          US   97154   131648198@AIRLINE.KIWI.COM
QVY8HU   12/1/2020   OB   12/26/2020   WN;1256;ATL;STL;WN;1698;STL;LIT   QUARTO RENZO LAZIALE   VIBO VALENTIA               IT   89256   131648583@AIRLINE.KIWI.COM
QW87EP   12/1/2020   OB     1/3/2021   WN;2984;DEN;DAL                   WEBERCHESTER           UT                          US    6577   131649078@AIRLINE.KIWI.COM
QWOA3O   12/1/2020   OB   12/19/2020   WN;1692;DAL;DEN                   LAKE JULIANFURT        MO                          US   41349   131649078@AIRLINE.KIWI.COM
QYSGMY   12/1/2020   OB   12/18/2020   WN;909;BNA;RDU                    SANDERSBOROUGH         NH                          US   89137   131652422@AIRLINE.KIWI.COM
QYSGMY   12/1/2020   RT   12/20/2020   WN;807;RDU;MDW;WN;411;MDW;BNA     SANDERSBOROUGH         NH                          US   89137   131652422@AIRLINE.KIWI.COM
R3SZIS   12/1/2020   OB   12/22/2020   WN;1062;MIA;TPA;WN;6786;TPA;BNA   LAKE DANIELLAND        MA                          US    5719   131655865@AIRLINE.KIWI.COM
R3XSL3   12/1/2020   OB    12/1/2020   WN;1519;MSY;LAX                   JOHNMOUTH              NV                          US   91751   131656756@AIRLINE.KIWI.COM
R5EPPL   12/1/2020   OB   12/20/2020   WN;846;STL;ATL                    BARNESBERG             NC                          US   10603   131657966@AIRLINE.KIWI.COM
R66I2W   12/1/2020   OB     1/2/2021   WN;1479;ATL;RIC                   NEW ISAACLAND          MI                          US   96454   131659033@AIRLINE.KIWI.COM
R6Z4PR   12/1/2020   OB   12/28/2020   WN;330;RDU;PHX                    DESIREELAND            WA                          US   51399   131660815@AIRLINE.KIWI.COM
R8U99X   12/1/2020   OB    3/14/2021   WN;1301;TUS;LAS                   STACYPORT              CT                          US   18911   131662652@AIRLINE.KIWI.COM
R8U99X   12/1/2020   RT    3/17/2021   WN;200;LAS;TUS                    STACYPORT              CT                          US   18911   131662652@AIRLINE.KIWI.COM
R9WVAT   12/1/2020   OB    12/1/2020   WN;577;SJC;LAX                    JUAN XIAN              SICHUAN SHENG               CN   63573   131664467@AIRLINE.KIWI.COM
R9WVAT   12/1/2020   OB    12/1/2020   WN;577;SJC;LAX                    JUAN XIAN              SICHUAN SHENG               CN   63573   131664467@AIRLINE.KIWI.COM
RA59T8   12/1/2020   OB   12/10/2020   WN;4325;PHX;LAS                   TERESAHAVEN            WV                          US   10839   129533437.1509348@AIRLINE.KIWI.COM
RB7WNB   12/1/2020   OB   12/29/2020   WN;1396;LAS;HOU                   DEBORAHSTAD            NC                          US    8880   131666920@AIRLINE.KIWI.COM
RC2W7N   12/1/2020   OB   12/15/2020   WN;3321;LAS;LAX                   NEW PATRICIATOWN       MA                          US   97704   131667899@AIRLINE.KIWI.COM
RC8XPC   12/1/2020   OB    12/6/2020   WN;1782;ATL;MCI                   HALLHAVEN              LA                          US   75673   131668625@AIRLINE.KIWI.COM
RDOJUR   12/1/2020   OB   12/27/2020   WN;1866;MCO;BNA;WN;1764;BNA;PNS   ZHAO DAO SHI           IWATE                       JP   48265   131670253@AIRLINE.KIWI.COM
RDOJUR   12/1/2020   OB   12/27/2020   WN;1866;MCO;BNA;WN;1764;BNA;PNS   ZHAO DAO SHI           IWATE                       JP   48265   131670253@AIRLINE.KIWI.COM
REGA9O   12/1/2020   OB   12/18/2020   WN;833;STL;BNA;WN;1171;BNA;DTW    WEST MONIQUELAND       VA                          US   16511   131671067@AIRLINE.KIWI.COM
REGA9O   12/1/2020   OB   12/18/2020   WN;833;STL;BNA;WN;1171;BNA;DTW    WEST MONIQUELAND       VA                          US   16511   131671067@AIRLINE.KIWI.COM
REOEAA   12/1/2020   OB   12/24/2020   WN;3640;AUS;MDW                   NATASHASIDE            TX                          US   96107   131671617@AIRLINE.KIWI.COM
REVFJB   12/1/2020   OB   12/27/2020   WN;5082;MDW;MCI;WN;3534;MCI;AUS   LAKE JENNIFER          MI                          US   61385   131671617@AIRLINE.KIWI.COM
RF5TWO   12/1/2020   OB   12/22/2020   WN;1184;DEN;LAS                   JESUSVILLE             GA                          US   30756   131671342@AIRLINE.KIWI.COM
RF5TWO   12/1/2020   OB   12/22/2020   WN;1184;DEN;LAS                   JESUSVILLE             GA                          US   30756   131671342@AIRLINE.KIWI.COM
RF6EK6   12/1/2020   OB    12/9/2020   WN;4557;PHL;DEN;WN;4346;DEN;LAX   LAKE TIMOTHY           NV                          US   34808   131671991@AIRLINE.KIWI.COM
RF6EK6   12/1/2020   RT   12/13/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   LAKE TIMOTHY           NV                          US   34808   131671991@AIRLINE.KIWI.COM
RFWPO2   12/1/2020   OB   12/11/2020   WN;2066;STL;LAS                   SOUTH ROBERTMOUTH      MO                          US   29360   131673212@AIRLINE.KIWI.COM
RG5RVZ   12/1/2020   OB    12/3/2020   WN;4943;PHX;SMF                   VASQUEZHAVEN           MO                          US   64596   131673718@AIRLINE.KIWI.COM
RG8RKN   12/1/2020   OB    12/6/2020   WN;4512;DEN;IND                   LAKE PATRICIAVIEW      WV                          US    4269   131657317@AIRLINE.KIWI.COM
RGMWYV   12/1/2020   OB   12/17/2020   WN;964;MCO;HOU                    EAST MELANIELAND       MI                          US   61614   131673938@AIRLINE.KIWI.COM
RGMWYV   12/1/2020   OB   12/17/2020   WN;964;MCO;HOU                    EAST MELANIELAND       MI                          US   61614   131673938@AIRLINE.KIWI.COM
RGVLKP   12/1/2020   OB   12/28/2020   WN;3335;ROC;BWI;WN;244;BWI;ATL    NEW NICOLE             IL                          US   14813   131675027@AIRLINE.KIWI.COM
RI44A5   12/1/2020   OB   12/13/2020   WN;2730;CLT;DEN                   NORTH JEROME           PA                          US   91934   131676578@AIRLINE.KIWI.COM
RJH62L   12/1/2020   OB   12/29/2020   WN;1543;SNA;LAS                   MARKSHIRE              NE                          US    2993   131678965@AIRLINE.KIWI.COM
RJHSDB   12/1/2020   OB   12/29/2020   WN;771;SJC;PHX                    NORTH SHERYLFURT       ME                          US   40106   131678140@AIRLINE.KIWI.COM
RKZ7VP   12/1/2020   OB   12/18/2020   WN;143;FLL;ATL                    WEBBBOROUGH            FL                          US   24783   131680285@AIRLINE.KIWI.COM
RLK7G8   12/1/2020   OB    12/8/2020   WN;2273;MCO;MDW                   SOUTH BRANDON          DE                          US   55880   131680758@AIRLINE.KIWI.COM
RMKGS8   12/1/2020   OB   12/15/2020   WN;281;DEN;TUL                    ANDREWTOWN             MA                          US   30288   131682056@AIRLINE.KIWI.COM
RMMPN7   12/1/2020   OB   12/31/2020   WN;2250;GEG;LAS;WN;397;LAS;PHX    WEST MISTYMOUTH        CT                          US   33109   131682045@AIRLINE.KIWI.COM
RNCOUJ   12/1/2020   OB   12/20/2020   WN;439;SJC;DAL                    EAST BRIAN             AK                          US   74436   131683068@AIRLINE.KIWI.COM
RNCOUJ   12/1/2020   OB   12/20/2020   WN;439;SJC;DAL                    EAST BRIAN             AK                          US   74436   131683068@AIRLINE.KIWI.COM
RNCOUJ   12/1/2020   OB   12/20/2020   WN;439;SJC;DAL                    EAST BRIAN             AK                          US   74436   131683068@AIRLINE.KIWI.COM
RNCOUJ   12/1/2020   RT     1/5/2021   WN;24;DAL;SJC                     EAST BRIAN             AK                          US   74436   131683068@AIRLINE.KIWI.COM
RNCOUJ   12/1/2020   RT     1/5/2021   WN;24;DAL;SJC                     EAST BRIAN             AK                          US   74436   131683068@AIRLINE.KIWI.COM
RNCOUJ   12/1/2020   RT     1/5/2021   WN;24;DAL;SJC                     EAST BRIAN             AK                          US   74436   131683068@AIRLINE.KIWI.COM
RQXPMZ   12/1/2020   OB   12/14/2020   WN;3725;LAX;HOU;WN;2569;HOU;ATL   STEPHANIEBURY          NC                          US   70870   131686907@AIRLINE.KIWI.COM
RSBB9B   12/1/2020   OB   12/24/2020   WN;4141;MIA;TPA                   WYATTTOWN              MO                          US   35203   131688139@AIRLINE.KIWI.COM
RSBB9B   12/1/2020   RT   12/26/2020   WN;1065;TPA;MIA                   WYATTTOWN              MO                          US   35203   131688139@AIRLINE.KIWI.COM
RTWSMJ   12/1/2020   OB   12/26/2020   WN;2110;MSP;MDW                   HENRYSTAD              HI                          US   10728   131689360@AIRLINE.KIWI.COM
RUB3VV   12/1/2020   OB   12/23/2020   WN;3118;SAT;BWI;WN;3508;BWI;PVD   PORT JASONSTAD         MI                          US   44369   131690097@AIRLINE.KIWI.COM
RUR9SA   12/1/2020   OB   12/29/2020   WN;1318;PVD;BWI;WN;6362;BWI;SAT   SHELLEYMOUTH           VT                          US   99255   131690097@AIRLINE.KIWI.COM
RV9IK5   12/1/2020   OB    12/4/2020   WN;1280;OAK;PHX                   LAKE TIMOTHY           NH                          US   53616   131690625@AIRLINE.KIWI.COM
RVB3UT   12/1/2020   OB     1/3/2021   WN;3762;BWI;DEN                   PAULBURY               CT                          US   92512   131691043@AIRLINE.KIWI.COM
RVBYZ8   12/1/2020   OB    12/2/2020   WN;4246;MSY;HOU;WN;3435;HOU;OAK   LAKE KATHLEEN          GA                          US   57031   131690625@AIRLINE.KIWI.COM
RVCQFW   12/1/2020   OB    12/4/2020   WN;4937;PHX;MSY                   GREENPORT              OH                          US    6271   131690625@AIRLINE.KIWI.COM
RVJVMY   12/1/2020   OB   12/11/2020   WN;2527;DEN;BWI                   DIANAMOUTH             AL                          US   29835   131691043@AIRLINE.KIWI.COM
RWHADN   12/1/2020   OB   12/15/2020   WN;3767;SFO;LAX                   SCHEINFELD             SAARLAND                    DE    8172   131691593@AIRLINE.KIWI.COM
RX4ADC   12/1/2020   OB   12/27/2020   WN;3983;ATL;FLL                   MARIFJORD              NORDLAND                    NO   92411   131692275@AIRLINE.KIWI.COM




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RX4ADC   12/1/2020   OB   12/27/2020   WN;3983;ATL;FLL                   MARIFJORD              NORDLAND               NO   92411   131692275@AIRLINE.KIWI.COM
RXMMRK   12/1/2020   OB   12/27/2020   WN;3983;ATL;FLL                   KLKH CHEBARKUL         YAROSLAVSKAYA OBLAST   RU   31387   131692275@AIRLINE.KIWI.COM
RXMMRK   12/1/2020   OB   12/27/2020   WN;3983;ATL;FLL                   KLKH CHEBARKUL         YAROSLAVSKAYA OBLAST   RU   31387   131692275@AIRLINE.KIWI.COM
RXZ5XV   12/1/2020   OB   12/31/2020   WN;2164;MCO;ORF                   DANIELVIEW             TX                     US    4136   131692616@AIRLINE.KIWI.COM
RXZ5XV   12/1/2020   RT     1/3/2021   WN;4110;ORF;MCO                   DANIELVIEW             TX                     US    4136   131692616@AIRLINE.KIWI.COM
RY3JQI   12/2/2020   OB    12/6/2020   WN;4618;MDW;RDU                   CINNPH                 JAMMU AND KASHMIR      IN   74100   131693078@AIRLINE.KIWI.COM
RYSXP9   12/2/2020   OB    1/20/2021   WN;1588;BWI;MSY                   NEW JILL               KS                     US   76552   131693430@AIRLINE.KIWI.COM
RYU5GO   12/2/2020   OB    12/6/2020   WN;3551;BUF;BWI                   JACOBHAVEN             TN                     US    7565   131693342@AIRLINE.KIWI.COM
RYU5GO   12/2/2020   RT   12/16/2020   WN;2728;BWI;BUF                   JACOBHAVEN             TN                     US    7565   131693342@AIRLINE.KIWI.COM
S2IZ62   12/2/2020   OB   12/17/2020   WN;772;MCI;ATL                    WILKINSMOUTH           LEFKOSIA               CY   15445   131694607@AIRLINE.KIWI.COM
S2KMQT   12/2/2020   OB   12/21/2020   WN;6976;BNA;DEN                   RICHARDMOUTH           NH                     US   46912   131695102@AIRLINE.KIWI.COM
S2VLTP   12/2/2020   OB   12/21/2020   WN;511;DEN;OAK                    MARYMOUTH              TX                     US   71735   131695102@AIRLINE.KIWI.COM
S3FH3Y   12/2/2020   OB     1/4/2021   WN;1333;ATL;RIC                   WEST JULIA             TN                     US   43296   131695465@AIRLINE.KIWI.COM
S3HGF6   12/2/2020   OB    12/8/2020   WN;4751;ATL;MDW                   DAVIDTOWN              AL                     US   54073   131695377@AIRLINE.KIWI.COM
S3L6NX   12/2/2020   OB    1/20/2021   WN;4596;PHX;LAS                   MENDES                 DISTRITO FEDERAL       BR   38436   131672706@AIRLINE.KIWI.COM
S3O6OP   12/2/2020   OB   12/19/2020   WN;2367;RIC;ATL                   LAKE KATHERINEFURT     NY                     US   49257   131695476@AIRLINE.KIWI.COM
S3TD9D   12/2/2020   OB   12/19/2020   WN;2367;RIC;ATL                   NORTH DAWNTOWN         ID                     US   72372   131695465@AIRLINE.KIWI.COM
S44KBO   12/2/2020   OB     1/4/2021   WN;1333;ATL;RIC                   LAKE RACHEL            NV                     US   90473   131695476@AIRLINE.KIWI.COM
S4JEUJ   12/2/2020   OB    1/10/2021   WN;4382;DEN;SEA                   NORTH STEVEN           TN                     US   51725   131695674@AIRLINE.KIWI.COM
S4WHAX   12/2/2020   OB   12/20/2020   WN;492;ONT;HOU                    SEMARANG               BANGKA BELITUNG        ID   21227   131696136@AIRLINE.KIWI.COM
S539QX   12/2/2020   OB   12/17/2020   WN;745;MDW;TPA                    SCOTTSHIRE             MT                     US   60456   131696268@AIRLINE.KIWI.COM
S54H4W   12/2/2020   OB   12/17/2020   WN;641;OAK;SNA                    SPARTE                 KASTORIA               GR   50137   131696499@AIRLINE.KIWI.COM
S6DT96   12/2/2020   OB     1/2/2021   WN;2197;SJC;SAN                   CARLTON                NC                     US   12692   131696851@AIRLINE.KIWI.COM
S7QRXN   12/2/2020   OB   12/26/2020   WN;519;SFO;LAS;WN;61;LAS;SAT      SAN RAMON DE LA MONT   GUERRERO               MX   69513   131697984@AIRLINE.KIWI.COM
S7QRXN   12/2/2020   OB   12/26/2020   WN;519;SFO;LAS;WN;61;LAS;SAT      SAN RAMON DE LA MONT   GUERRERO               MX   69513   131697984@AIRLINE.KIWI.COM
S7SYFQ   12/2/2020   OB   12/17/2020   WN;1249;PHX;DEN                   MORGANSIDE             OK                     US   26556   131697841@AIRLINE.KIWI.COM
S7SYFQ   12/2/2020   OB   12/17/2020   WN;1249;PHX;DEN                   MORGANSIDE             OK                     US   26556   131697841@AIRLINE.KIWI.COM
S7T3PN   12/2/2020   OB     1/9/2021   WN;50;HOU;DAL                     EMILYBOROUGH           MN                     US   30882   131667591@AIRLINE.KIWI.COM
S7UI3K   12/2/2020   OB    12/4/2020   WN;1423;SAN;SFO                   EMILYVILLE             ID                     US   47023   131697830@AIRLINE.KIWI.COM
S7UI3K   12/2/2020   OB    12/4/2020   WN;1423;SAN;SFO                   EMILYVILLE             ID                     US   47023   131697830@AIRLINE.KIWI.COM
S7WDTT   12/2/2020   OB    1/28/2021   WN;1325;AUS;STL                   NORTH BILLYSTAD        LA                     US   33291   130300610.1509504@AIRLINE.KIWI.COM
S8DBJR   12/2/2020   OB   12/22/2020   WN;6020;HOU;OKC                   SAN ESMERALDA LOS AL   CHIHUAHUA              MX   35367   131697049@AIRLINE.KIWI.COM
S8SJG8   12/2/2020   OB   12/15/2020   WN;2651;LAX;DEN;WN;2850;DEN;PHL   SAWYERSTAD             PA                     US   71651   131698941@AIRLINE.KIWI.COM
S9HFT7   12/2/2020   OB    12/9/2020   WN;3767;SFO;LAX                   SOUTH JAKOBSFURT       CESVAINES NOVADS       LV   27589   131699447@AIRLINE.KIWI.COM
S9O9A6   12/2/2020   OB   12/19/2020   WN;6848;ELP;HOU;WN;1056;HOU;MIA   SOUTH MARIA            MD                     US   50182   131698270@AIRLINE.KIWI.COM
SA4ZYQ   12/2/2020   OB   12/19/2020   WN;1615;STL;BWI;WN;1709;BWI;MIA   MELILLA                ANDALUCIA              ES   71298   131699645@AIRLINE.KIWI.COM
SAKMLU   12/2/2020   OB   12/19/2020   WN;1237;RDU;ATL                   GOMEZVIEW              CO                     US   28551   131700283@AIRLINE.KIWI.COM
SB63AA   12/2/2020   OB    1/10/2021   WN;297;MCO;MSP                    PORT WILLIAMSTAD       IL                     US   52796   131700734@AIRLINE.KIWI.COM
SB63AA   12/2/2020   OB    1/10/2021   WN;297;MCO;MSP                    PORT WILLIAMSTAD       IL                     US   52796   131700734@AIRLINE.KIWI.COM
SCLBFR   12/2/2020   OB     1/2/2021   WN;2362;PWM;BWI;WN;1398;BWI;RDU   NORTH GARY             CO                     US    9359   131701229@AIRLINE.KIWI.COM
SD2ZQE   12/2/2020   OB     1/1/2021   WN;1923;BUF;BWI;WN;4572;BWI;ATL   MARKMOUTH              FL                     US   50875   131701592@AIRLINE.KIWI.COM
SD9DES   12/2/2020   OB    12/2/2020   WN;1990;ATL;BWI;WN;2672;BWI;BDL   MARTINEZMOUTH          DE                     US   87419   131701724@AIRLINE.KIWI.COM
SDUI7W   12/2/2020   OB   12/23/2020   WN;2123;AUS;ATL;WN;2109;ATL;GSP   NORTH CYNTHIASHIRE     MO                     US   49369   131701735@AIRLINE.KIWI.COM
SEEIOL   12/2/2020   OB    12/9/2020   WN;2730;CLT;DEN                   LEWISBURGH             IN                     US   28153   131701988@AIRLINE.KIWI.COM
SEPNUF   12/2/2020   OB   12/10/2020   WN;4596;PHX;LAS                   EAST JULIEFURT         TN                     US   37689   129938688.1509514@AIRLINE.KIWI.COM
SEVES4   12/2/2020   OB    12/9/2020   WN;4145;MIA;TPA;WN;1642;TPA;IND   EAST ELIZABETHFORT     OK                     US   14230   131702417@AIRLINE.KIWI.COM
SEVES4   12/2/2020   OB    12/9/2020   WN;4145;MIA;TPA;WN;1642;TPA;IND   EAST ELIZABETHFORT     OK                     US   14230   131702417@AIRLINE.KIWI.COM
SEVES4   12/2/2020   OB    12/9/2020   WN;4145;MIA;TPA;WN;1642;TPA;IND   EAST ELIZABETHFORT     OK                     US   14230   131702417@AIRLINE.KIWI.COM
SF5SEU   12/2/2020   OB    1/22/2021   WN;1466;SLC;LAS                   TAMMYBERG              MO                     US   46104   131702923@AIRLINE.KIWI.COM
SF6BBE   12/2/2020   OB    1/25/2021   WN;1362;LAS;SLC                   PORT SAMUELSHIRE       ME                     US   29805   131702923@AIRLINE.KIWI.COM
SFG5SK   12/2/2020   OB   12/18/2020   WN;1004;MDW;LAS                   JOSHUAHAVEN            NY                     US   41545   131703121@AIRLINE.KIWI.COM
SFG5SK   12/2/2020   OB   12/18/2020   WN;1004;MDW;LAS                   JOSHUAHAVEN            NY                     US   41545   131703121@AIRLINE.KIWI.COM
SFG5SK   12/2/2020   OB   12/18/2020   WN;1004;MDW;LAS                   JOSHUAHAVEN            NY                     US   41545   131703121@AIRLINE.KIWI.COM
SFMQNZ   12/2/2020   OB     1/3/2021   WN;1796;PHX;DEN;WN;4028;DEN;SDF   WEST TINASTAD          SC                     US   92672   131703330@AIRLINE.KIWI.COM
SFYN87   12/2/2020   OB   12/10/2020   WN;4589;DEN;SMF                   WEST MICHAEL           VT                     US   27449   131703143@AIRLINE.KIWI.COM
SGDMUF   12/2/2020   OB   12/11/2020   WN;2700;CLE;MDW;WN;3989;MDW;LAX   THOMPSONFURT           MD                     US     643   131703473@AIRLINE.KIWI.COM
SGECLN   12/2/2020   OB    12/6/2020   WN;2730;CLT;DEN                   BRUCEBOROUGH           SC                     US   15256   131703792@AIRLINE.KIWI.COM
SGRO9R   12/2/2020   OB   12/16/2020   WN;3749;LAX;MDW;WN;4409;MDW;DTW   LAKE CHELSEASHIRE      RI                     US   78222   131703913@AIRLINE.KIWI.COM
SH9NWN   12/2/2020   OB    12/6/2020   WN;2730;CLT;DEN                   SOUTH PHYLLISSIDE      NV                     US   52939   131704155@AIRLINE.KIWI.COM
SHCKX9   12/2/2020   OB    12/5/2020   WN;2379;DEN;SEA                   STADTSCHLAINING        WIEN                   AT   33259   131704199@AIRLINE.KIWI.COM
SHQOFE   12/2/2020   OB     1/2/2021   WN;4353;STL;RDU                   CHANDLERTOWN           AK                     US   80092   131704529@AIRLINE.KIWI.COM
SHZXHG   12/2/2020   OB    12/6/2020   WN;2730;CLT;DEN                   NORTH MOGENSSHIRE      SJAELLAND              DK   65981   131704815@AIRLINE.KIWI.COM
SIF4IB   12/2/2020   OB    1/13/2021   WN;3993;MDW;MCO                   ENGLISHBURY            MT                     US   58488   131704705@AIRLINE.KIWI.COM
SIF4IB   12/2/2020   RT    1/19/2021   WN;1962;MCO;MDW                   ENGLISHBURY            MT                     US   58488   131704705@AIRLINE.KIWI.COM
SIIZ7H   12/2/2020   OB    12/4/2020   WN;3140;DTW;MDW;WN;3306;MDW;MIA   SUSANHAVEN             NJ                     US    9442   131705046@AIRLINE.KIWI.COM
SJPQBD   12/2/2020   OB   12/24/2020   WN;4724;PVD;BWI;WN;331;BWI;MIA    SHMBHUNAATH            BAGMATI                NP   38128   131705299@AIRLINE.KIWI.COM
SJPQBD   12/2/2020   OB   12/24/2020   WN;4724;PVD;BWI;WN;331;BWI;MIA    SHMBHUNAATH            BAGMATI                NP   38128   131705299@AIRLINE.KIWI.COM
SJWLRA   12/2/2020   OB    3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ                     US   93332   131705838@AIRLINE.KIWI.COM
SJWLRA   12/2/2020   OB    3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ                     US   93332   131705838@AIRLINE.KIWI.COM
SJWLRA   12/2/2020   OB    3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ                     US   93332   131705838@AIRLINE.KIWI.COM
SJWLRA   12/2/2020   OB    3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ                     US   93332   131705838@AIRLINE.KIWI.COM
SK7HTU   12/2/2020   OB   12/11/2020   WN;3927;PHX;DAL                   PORT SCOTTBURY         MO                     US   10739   131705871@AIRLINE.KIWI.COM
SKCSC9   12/2/2020   OB   12/20/2020   WN;423;OAK;SEA                    D ISHIM                SANKTPETERBURG         RU   89142   131705904@AIRLINE.KIWI.COM
SKCSC9   12/2/2020   OB   12/20/2020   WN;423;OAK;SEA                    D ISHIM                SANKTPETERBURG         RU   89142   131705904@AIRLINE.KIWI.COM
SKCSC9   12/2/2020   OB   12/20/2020   WN;423;OAK;SEA                    D ISHIM                SANKTPETERBURG         RU   89142   131705904@AIRLINE.KIWI.COM
SKCSC9   12/2/2020   RT     1/3/2021   WN;6613;SEA;OAK                   D ISHIM                SANKTPETERBURG         RU   89142   131705904@AIRLINE.KIWI.COM
SKCSC9   12/2/2020   RT     1/3/2021   WN;6613;SEA;OAK                   D ISHIM                SANKTPETERBURG         RU   89142   131705904@AIRLINE.KIWI.COM
SKCSC9   12/2/2020   RT     1/3/2021   WN;6613;SEA;OAK                   D ISHIM                SANKTPETERBURG         RU   89142   131705904@AIRLINE.KIWI.COM
SNGK85   12/2/2020   OB   12/11/2020   WN;3343;LGA;ATL                   SOUTH KELLYMOUTH       WI                     US   74789   131706828.1509536@AIRLINE.KIWI.COM
SOPLJD   12/2/2020   OB   12/17/2020   WN;293;AUS;TPA;WN;1065;TPA;MIA    LAKE DONNABURGH        KANTON SARAJEVO        BA   87765   131708522@AIRLINE.KIWI.COM
SOYOQM   12/2/2020   OB   12/20/2020   WN;1274;MDW;LAS                   LONGBURY               IN                     US    8276   131708280@AIRLINE.KIWI.COM
SP8RXX   12/2/2020   OB   12/16/2020   WN;2904;SMF;SAN                   EAST GAVINSHIRE        NY                     US   19815   131708632@AIRLINE.KIWI.COM
SPH359   12/2/2020   OB   12/22/2020   WN;422;DEN;HOU                    SOUTH JESSEFORT        VT                     US   34676   131708742@AIRLINE.KIWI.COM
SPKGHW   12/2/2020   OB   12/21/2020   WN;1051;MIA;BWI;WN;765;BWI;AUS    PORT TYWBLAND          JIZAN                  SA   75708   131708522@AIRLINE.KIWI.COM
SPSXZR   12/2/2020   OB   12/19/2020   WN;2054;SAN;SMF                   EAST NICHOLAS          NJ                     US   63094   131708632@AIRLINE.KIWI.COM
SSR9GB   12/2/2020   OB   12/21/2020   WN;1115;MDW;GRR                   JASONSHIRE             MN                     US   56948   131709875@AIRLINE.KIWI.COM
STKIW7   12/2/2020   OB    12/3/2020   WN;3385;BWI;MDW                   EAST LWN               AL QASIM               SA   70921   131710381@AIRLINE.KIWI.COM
SV2C7P   12/2/2020   OB    12/3/2020   WN;2151;BNA;CLE                   PORT JENNIFERFORT      WY                     US   32234   131711107@AIRLINE.KIWI.COM
SWY4DB   12/2/2020   OB    12/4/2020   WN;4566;DEN;DSM                   EAST TARACHESTER       MN                     US   50106   129545405.1509573@AIRLINE.KIWI.COM
SWY4DB   12/2/2020   OB    12/4/2020   WN;4566;DEN;DSM                   EAST TARACHESTER       MN                     US   50106   129545405.1509573@AIRLINE.KIWI.COM
SY6ATA   12/2/2020   OB    12/3/2020   WN;3239;LAX;SFO                   NICHOLASVIEW           AZ                     US   54962   131712911@AIRLINE.KIWI.COM
SYF7DF   12/2/2020   OB   12/23/2020   WN;1742;ONT;HOU;WN;6870;HOU;SAT   SMALLTON               AK                     US   15845   131713230@AIRLINE.KIWI.COM
SYFEXG   12/2/2020   OB   12/23/2020   WN;1742;ONT;HOU;WN;6870;HOU;SAT   JONATHANBERG           TX                     US   60205   131713230@AIRLINE.KIWI.COM
SYFEXG   12/2/2020   OB   12/23/2020   WN;1742;ONT;HOU;WN;6870;HOU;SAT   JONATHANBERG           TX                     US   60205   131713230@AIRLINE.KIWI.COM
SYO2HU   12/2/2020   OB   12/23/2020   WN;1742;ONT;HOU;WN;6870;HOU;SAT   JULIEHAVEN             IL                     US   89973   131713230@AIRLINE.KIWI.COM
SYUQ25   12/2/2020   OB    12/2/2020   WN;1124;OAK;LAS                   WEST NATALIETON        TN                     US   30703   131713791@AIRLINE.KIWI.COM
T2LM4D   12/2/2020   OB   12/18/2020   WN;6723;DEN;SAN                   MUELLERVILLE           OK                     US   43419   131715254@AIRLINE.KIWI.COM
T3LYKC   12/2/2020   OB   12/27/2020   WN;3717;TUL;LAS;WN;4290;LAS;LGB   PORT CHRISTIAN         MT                     US   97147   131716079@AIRLINE.KIWI.COM
T3LYKC   12/2/2020   OB   12/27/2020   WN;3717;TUL;LAS;WN;4290;LAS;LGB   PORT CHRISTIAN         MT                     US   97147   131716079@AIRLINE.KIWI.COM
T58CVE   12/2/2020   OB    12/7/2020   WN;1148;HNL;OAK;WN;4913;OAK;PDX   BARBOSA                RIO GRANDE DO NORTE    BR   45675   131716915@AIRLINE.KIWI.COM
T99CVF   12/2/2020   OB   12/11/2020   WN;3519;DEN;IND                   FISCHERVILLE           AK                     US   99433   131690163@AIRLINE.KIWI.COM
T99CVF   12/2/2020   OB   12/11/2020   WN;3519;DEN;IND                   FISCHERVILLE           AK                     US   99433   131690163@AIRLINE.KIWI.COM
TIEPL9   12/2/2020   OB    12/2/2020   WN;352;ROC;BWI;WN;3604;BWI;RDU    WEST SHERI             WA                     US   76636   131730632@AIRLINE.KIWI.COM
TPCOQB   12/2/2020   OB   12/25/2020   WN;1280;OAK;PHX                   NORTH ETHANSTAD        MA                     US   37938   131739399@AIRLINE.KIWI.COM
TPQ4HX   12/2/2020   OB   12/23/2020   WN;3892;BWI;TPA                   P VITIM                TVERSKAYA OBLAST       RU   77426   131739630@AIRLINE.KIWI.COM
TQPUO9   12/2/2020   OB   12/23/2020   WN;331;BWI;MIA                    WEST DEAN              CO                     US   42111   131741093@AIRLINE.KIWI.COM
TQPUO9   12/2/2020   RT    1/20/2021   WN;3294;MIA;BWI                   WEST DEAN              CO                     US   42111   131741093@AIRLINE.KIWI.COM




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TQVECF   12/2/2020   OB    12/9/2020   WN;2575;MCO;DEN                   REIDLAND              TN                  US    46239   131742754@AIRLINE.KIWI.COM
TQVECF   12/2/2020   OB    12/9/2020   WN;2575;MCO;DEN                   REIDLAND              TN                  US    46239   131742754@AIRLINE.KIWI.COM
TS8XE7   12/2/2020   OB   12/23/2020   WN;2751;ATL;PIT                   PORT LISABURGH        AL                  US    15661   131743348@AIRLINE.KIWI.COM
TSGN5H   12/2/2020   OB   12/13/2020   WN;3318;DEN;ABQ                   SOUTH KEVINTOWN       MD                  US    73723   131744239@AIRLINE.KIWI.COM
TSRJC7   12/2/2020   OB   12/13/2020   WN;6714;MCO;DEN                   BARRONVIEW            MT                  US    98597   131744239@AIRLINE.KIWI.COM
TU7Z5J   12/2/2020   OB   12/24/2020   WN;2510;BWI;BOS                   SUSANVILLE            NC                  US    13238   131746065@AIRLINE.KIWI.COM
TU7Z5J   12/2/2020   RT   12/27/2020   WN;1697;BOS;BWI                   SUSANVILLE            NC                  US    13238   131746065@AIRLINE.KIWI.COM
U32JT8   12/2/2020   OB   12/17/2020   WN;452;PHL;DEN                    NEW BRYANBERG         NC                  US    35223   131755459@AIRLINE.KIWI.COM
U3VKQI   12/2/2020   OB   12/27/2020   WN;4524;MDW;CHS                   MONICACHESTER         CT                  US    58023   131757450@AIRLINE.KIWI.COM
U47JYG   12/2/2020   OB   12/27/2020   WN;1902;BNA;JAX                   SOUTH LISABERG        OR                  US    31871   131757538@AIRLINE.KIWI.COM
U47JYG   12/2/2020   OB   12/27/2020   WN;1902;BNA;JAX                   SOUTH LISABERG        OR                  US    31871   131757538@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   OB   12/23/2020   WN;1847;ROC;RSW;WN;1847;RSW;ATL   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   OB   12/23/2020   WN;1847;ROC;RSW;WN;1847;RSW;ATL   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   OB   12/23/2020   WN;1847;ROC;RSW;WN;1847;RSW;ATL   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   OB   12/23/2020   WN;1847;ROC;RSW;WN;1847;RSW;ATL   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   OB   12/23/2020   WN;1847;ROC;RSW;WN;1847;RSW;ATL   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   RT     1/3/2021   WN;1725;ATL;MCO;WN;3249;MCO;ROC   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   RT     1/3/2021   WN;1725;ATL;MCO;WN;3249;MCO;ROC   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   RT     1/3/2021   WN;1725;ATL;MCO;WN;3249;MCO;ROC   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   RT     1/3/2021   WN;1725;ATL;MCO;WN;3249;MCO;ROC   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U4DCYD   12/2/2020   RT     1/3/2021   WN;1725;ATL;MCO;WN;3249;MCO;ROC   WEST SOPHIA           HI                  US    62620   131757318@AIRLINE.KIWI.COM
U5FWA7   12/2/2020   OB   12/16/2020   WN;244;BOS;BWI;WN;2221;BWI;MIA    SELO LARISA           ZAPORIZKA OBLAST    UA    19701   131759518@AIRLINE.KIWI.COM
U76MRF   12/2/2020   OB   12/23/2020   WN;2697;BWI;PWM                   LAKE HEATHER          NM                  US     3961   131761960@AIRLINE.KIWI.COM
U7PLJ2   12/2/2020   OB   12/16/2020   WN;2446;SLC;OAK;WN;784;OAK;OGG    SOUTH JAMIE           LA                  US    80514   131761850@AIRLINE.KIWI.COM
U7PLJ2   12/2/2020   OB   12/16/2020   WN;2446;SLC;OAK;WN;784;OAK;OGG    SOUTH JAMIE           LA                  US    80514   131761850@AIRLINE.KIWI.COM
U8JGAB   12/2/2020   OB   12/24/2020   WN;3373;PHX;LGB                   ANNACHESTER           MO                  US    92566   131763082@AIRLINE.KIWI.COM
U8JGAB   12/2/2020   OB   12/24/2020   WN;3373;PHX;LGB                   ANNACHESTER           MO                  US    92566   131763082@AIRLINE.KIWI.COM
U8JGAB   12/2/2020   OB   12/24/2020   WN;3373;PHX;LGB                   ANNACHESTER           MO                  US    92566   131763082@AIRLINE.KIWI.COM
U8JGAB   12/2/2020   RT   12/27/2020   WN;4125;LGB;PHX                   ANNACHESTER           MO                  US    92566   131763082@AIRLINE.KIWI.COM
U8JGAB   12/2/2020   RT   12/27/2020   WN;4125;LGB;PHX                   ANNACHESTER           MO                  US    92566   131763082@AIRLINE.KIWI.COM
U8JGAB   12/2/2020   RT   12/27/2020   WN;4125;LGB;PHX                   ANNACHESTER           MO                  US    92566   131763082@AIRLINE.KIWI.COM
U8OPUL   12/2/2020   OB   12/24/2020   WN;3326;PDX;OAK                   EAST ALICIA           VT                  US      640   131348151@AIRLINE.KIWI.COM
U9ACVJ   12/2/2020   OB   12/28/2020   WN;324;MIA;HOU;WN;1326;HOU;MSY    MCKAYBURY             MS                  US    81022   131765018@AIRLINE.KIWI.COM
U9DM43   12/2/2020   OB   12/18/2020   WN;52;LAX;HOU                     MISTO SOLOMON         SEVASTOPOL          UA    41040   131765161@AIRLINE.KIWI.COM
U9DM43   12/2/2020   RT   12/22/2020   WN;27;HOU;LAX                     MISTO SOLOMON         SEVASTOPOL          UA    41040   131765161@AIRLINE.KIWI.COM
UBDAR8   12/2/2020   OB   12/24/2020   WN;427;MCI;STL                    PHAMSTAD              SD                  US    78219   131767097@AIRLINE.KIWI.COM
UBDAR8   12/2/2020   RT   12/27/2020   WN;1810;STL;MCI                   PHAMSTAD              SD                  US    78219   131767097@AIRLINE.KIWI.COM
UD843J   12/2/2020   OB    1/26/2021   WN;4042;MDW;FLL                   MCBRIDEBOROUGH        TX                  US    63062   131770463@AIRLINE.KIWI.COM
UD843J   12/2/2020   OB    1/26/2021   WN;4042;MDW;FLL                   MCBRIDEBOROUGH        TX                  US    63062   131770463@AIRLINE.KIWI.COM
UD843J   12/2/2020   OB    1/26/2021   WN;4042;MDW;FLL                   MCBRIDEBOROUGH        TX                  US    63062   131770463@AIRLINE.KIWI.COM
UD843J   12/2/2020   RT     2/3/2021   WN;3262;FLL;MDW                   MCBRIDEBOROUGH        TX                  US    63062   131770463@AIRLINE.KIWI.COM
UD843J   12/2/2020   RT     2/3/2021   WN;3262;FLL;MDW                   MCBRIDEBOROUGH        TX                  US    63062   131770463@AIRLINE.KIWI.COM
UD843J   12/2/2020   RT     2/3/2021   WN;3262;FLL;MDW                   MCBRIDEBOROUGH        TX                  US    63062   131770463@AIRLINE.KIWI.COM
UDKYQ8   12/2/2020   OB    1/19/2021   WN;2978;BOS;BWI                   WATERSFORT            OR                  US    24057   131770881@AIRLINE.KIWI.COM
UDKYQ8   12/2/2020   RT    1/22/2021   WN;1923;BWI;BOS                   WATERSFORT            OR                  US    24057   131770881@AIRLINE.KIWI.COM
UEBXPQ   12/2/2020   OB    12/2/2020   WN;3321;LAS;LAX                   NEW LINDA             CT                  US    94017   131771453@AIRLINE.KIWI.COM
UEU8Y5   12/2/2020   OB   12/21/2020   WN;1403;SAT;DEN;WN;477;DEN;HDN    WILLIAMSFURT          SC                  US    88059   131772685@AIRLINE.KIWI.COM
UEU8Y5   12/2/2020   OB   12/21/2020   WN;1403;SAT;DEN;WN;477;DEN;HDN    WILLIAMSFURT          SC                  US    88059   131772685@AIRLINE.KIWI.COM
UEUTMK   12/2/2020   OB   12/30/2020   WN;910;ATL;RDU                    NEW ROBERT            OK                  US    50968   131772949@AIRLINE.KIWI.COM
UF9XWN   12/2/2020   OB   12/10/2020   WN;244;BOS;BWI;WN;2221;BWI;MIA    LAKE ALEX             OK                  US    99935   131773433@AIRLINE.KIWI.COM
UF9XWN   12/2/2020   OB   12/10/2020   WN;244;BOS;BWI;WN;2221;BWI;MIA    LAKE ALEX             OK                  US    99935   131773433@AIRLINE.KIWI.COM
UFIGIE   12/2/2020   OB    12/6/2020   WN;3406;LAS;SFO                   PORT BENJAMINTON      SD                  US    44262   131774071@AIRLINE.KIWI.COM
UG3BT4   12/2/2020   OB    1/17/2021   WN;4262;OAK;DEN                   DANIELTOWN            MA                  US     2601   131775050@AIRLINE.KIWI.COM
UHXDZD   12/2/2020   OB   12/22/2020   WN;45;DEN;LIT                     HUDSONSHIRE           OK                  US    17850   131777228@AIRLINE.KIWI.COM
UIAIRD   12/2/2020   OB   12/30/2020   WN;1142;LIT;DAL;WN;1053;DAL;MCI   WISEBURGH             MI                  US    94350   131778141@AIRLINE.KIWI.COM
UISBEW   12/2/2020   OB   12/10/2020   WN;1950;MCO;HOU                   PORT ANGELAVIEW       NY                  US    50118   131777789@AIRLINE.KIWI.COM
UJOIEF   12/2/2020   OB   12/11/2020   WN;1933;DSM;STL;WN;4666;STL;PHX   MARYBURGH             TASMANIA            AU    28900   131779505@AIRLINE.KIWI.COM
UJOIEF   12/2/2020   RT   12/14/2020   WN;2634;PHX;DEN;WN;4566;DEN;DSM   MARYBURGH             TASMANIA            AU    28900   131779505@AIRLINE.KIWI.COM
UJRMXO   12/2/2020   OB   12/19/2020   WN;739;MKE;BNA;WN;600;BNA;AUS     EAST PAIGE            WV                  US    39119   131779736@AIRLINE.KIWI.COM
UJY2UI   12/2/2020   OB   12/14/2020   WN;2467;BWI;DEN                   DIANASIDE             NV                  US    71333   131779868@AIRLINE.KIWI.COM
UJY2UI   12/2/2020   RT   12/17/2020   WN;1352;DEN;BWI                   DIANASIDE             NV                  US    71333   131779868@AIRLINE.KIWI.COM
UK3XPO   12/2/2020   OB   12/11/2020   WN;3321;LAS;LAX                   CAROLYNMOUTH          AR                  US    92918   131780473@AIRLINE.KIWI.COM
UKIP2I   12/2/2020   OB   12/16/2020   WN;4736;BWI;CMH                   NEW THOMASBURY        DE                  US    89403   131780737@AIRLINE.KIWI.COM
UKIP2I   12/2/2020   RT   12/23/2020   WN;4504;CMH;BWI                   NEW THOMASBURY        DE                  US    89403   131780737@AIRLINE.KIWI.COM
UMEMJP   12/2/2020   OB    12/3/2020   WN;3640;LAS;DEN                   STRONGTOWN            UT                  US     9028   131783718@AIRLINE.KIWI.COM
UPI2KI   12/2/2020   OB    12/3/2020   WN;4692;LAS;SAN                   WELLSTON              MT                  US    39085   131782046@AIRLINE.KIWI.COM
UQGITF   12/2/2020   OB   12/25/2020   WN;3085;DEN;MCO                   PORT CYNTHIA          MN                  US    10119   131787766@AIRLINE.KIWI.COM
UUADRJ   12/2/2020   OB   12/17/2020   WN;112;STL;ATL;WN;772;ATL;FLL     SOUTH WILLIAMBURY     NV                  US    74670   131741863@AIRLINE.KIWI.COM
UUBKH9   12/2/2020   OB   12/15/2020   WN;4858;LAS;TPA;WN;4147;TPA;MIA   NEW PAULAVIEW         CARNIKAVAS NOVADS   LV    78318   131791770@AIRLINE.KIWI.COM
UUL57U   12/2/2020   OB   12/14/2020   WN;2863;MDW;FLL                   LAKE DENISEFORT       HI                  US     2020   131791715@AIRLINE.KIWI.COM
UUQ5ZW   12/2/2020   OB   12/28/2020   WN;1051;MIA;BWI;WN;634;BWI;STL    ROBYNHAVEN            MN                  US    95918   131741863@AIRLINE.KIWI.COM
UV8EZG   12/2/2020   OB    12/9/2020   WN;1816;ABQ;DEN                   BARCELONA             LUGO                ES    15222   131792375@AIRLINE.KIWI.COM
46N47B   12/3/2020   OB    12/3/2020   WN;3264;LAX;DEN;WN;2629;DEN;ATL   SOUTH SHERRIBOROUGH   KY                  US     2986   130714078@AIRLINE.KIWI.COM
J2M5YO   12/3/2020   OB    1/16/2021   WN;2059;FLL;BWI                   TUCKERLAND            IA                  US    72666   131858342@AIRLINE.KIWI.COM
JBW5CU   12/3/2020   OB    12/7/2020   WN;2723;HOU;MIA                   SOUTH PAMELASHIRE     ME                  US    35338   131870277@AIRLINE.KIWI.COM
JBY6YZ   12/3/2020   OB     1/7/2021   WN;105;OAK;SNA                    WEST WALTERMOUTH      HI                  US    50154   130301347.1511081@AIRLINE.KIWI.COM
JDZJLP   12/3/2020   OB    12/7/2020   WN;5067;STL;ATL                   MURPHYBURGH           DE                  US    14974   131867648@AIRLINE.KIWI.COM
JEDMLD   12/3/2020   OB   12/21/2020   WN;1164;OMA;DEN                   ANTHONYVILLE          MO                  US     6846   131872389@AIRLINE.KIWI.COM
JEDMLD   12/3/2020   OB   12/21/2020   WN;1164;OMA;DEN                   ANTHONYVILLE          MO                  US     6846   131872389@AIRLINE.KIWI.COM
JELMGC   12/3/2020   OB    12/6/2020   WN;689;DEN;OMA                    EAST KEITHTON         TN                  US    13166   131873797@AIRLINE.KIWI.COM
JISGU3   12/3/2020   OB   12/26/2020   WN;2305;GRR;MDW;WN;512;MDW;ATL    TINACHESTER           MN                  US    51022   131879286@AIRLINE.KIWI.COM
JIW7PX   12/3/2020   OB     1/6/2021   WN;597;SJC;HNL                    NEW RITABERG          MO                  US    88504   131878241@AIRLINE.KIWI.COM
JJ7ZHZ   12/3/2020   OB     1/3/2021   WN;2441;PHX;LAX                   SOUTH BRADLEY         OK                  US    24294   131879572@AIRLINE.KIWI.COM
JJ9CN5   12/3/2020   OB     1/6/2021   WN;630;IND;ATL;WN;1333;ATL;RIC    MARSHALLPORT          TN                  US    60665   129601692.1511193@AIRLINE.KIWI.COM
JJI7FP   12/3/2020   OB    1/14/2021   WN;1278;HNL;OAK                   LAKE KRISTA           NH                  US    45154   131878241@AIRLINE.KIWI.COM
JJNG3C   12/3/2020   OB   12/22/2020   WN;1241;BNA;FLL                   NEW LINDSAY           FL                  US    69140   131879737@AIRLINE.KIWI.COM
JJNG3C   12/3/2020   RT   12/26/2020   WN;2224;FLL;BNA                   NEW LINDSAY           FL                  US    69140   131879737@AIRLINE.KIWI.COM
JKCEQJ   12/3/2020   OB   12/20/2020   WN;6983;DEN;ATL                   LAKE NATHANTON        NJ                  US    56808   131881189@AIRLINE.KIWI.COM
JLSD2V   12/3/2020   OB   12/26/2020   WN;2408;BWI;DAL                   WEST CHARLOTTE        OK                  US    24581   131881970@AIRLINE.KIWI.COM
JMPBEM   12/3/2020   OB   12/28/2020   WN;2079;SDF;ATL                   NEW CYNTHIASHIRE      KY                  US    86076   131883873@AIRLINE.KIWI.COM
JNA6HG   12/3/2020   OB   12/13/2020   WN;3655;MDW;LAX                   SELISHCHE DANILO      KHERSONSKA OBLAST   UA    67839   131885050@AIRLINE.KIWI.COM
JQFA9L   12/3/2020   OB   12/22/2020   WN;1005;BNA;DEN                   PORT KRISTIE          NV                  US    72633   131887910@AIRLINE.KIWI.COM
JRTWZS   12/3/2020   OB   12/20/2020   WN;405;BNA;BOS                    NORTH REBECCA         NM                  US    19538   131889197@AIRLINE.KIWI.COM
JS5BCK   12/3/2020   OB    1/30/2021   WN;1491;SMF;LAS                   EAST BENJAMINFORT     PA                  US    95196   131889791@AIRLINE.KIWI.COM
JS5BCK   12/3/2020   RT     2/3/2021   WN;1534;LAS;SMF                   EAST BENJAMINFORT     PA                  US    95196   131889791@AIRLINE.KIWI.COM
JSRM94   12/3/2020   OB    12/5/2020   WN;734;ABQ;PHX;WN;734;PHX;SAN     EAST WILLIAMSTAD      MI                  US    40640   131890275@AIRLINE.KIWI.COM
JTPN2U   12/3/2020   OB     1/2/2021   WN;1718;MCO;MCI                   NEW BRANDON           MI                  US     5755   131809194.1511306@AIRLINE.KIWI.COM
JTUMC7   12/3/2020   OB    12/4/2020   WN;2875;DAL;LAS;WN;2875;LAS;SNA   JAMESLAND             CO                  US    47052   131892123@AIRLINE.KIWI.COM
JUVWNI   12/3/2020   OB    1/11/2021   WN;1438;ATL;RIC                   LAKE JULIETOWN        MI                  US    57719   131892728@AIRLINE.KIWI.COM
JVZLNX   12/3/2020   OB    12/6/2020   WN;4141;MIA;TPA;WN;2661;TPA;LAS   SCOTTSHIRE            LA                  US    97697   131893762@AIRLINE.KIWI.COM
JWRRCB   12/3/2020   OB   12/18/2020   WN;1006;MEM;DAL;WN;829;DAL;AUS    MARTINSHIRE           FL                  US    52404   131893960@AIRLINE.KIWI.COM
JXNXT5   12/3/2020   OB   12/28/2020   WN;106;ABQ;PHX                    SOUTH SARAH           AL                  US    41962   131867681@AIRLINE.KIWI.COM
JYI265   12/3/2020   OB   12/26/2020   WN;2072;SAN;DEN                   KEVINPORT             MO                  US    61221   131894697@AIRLINE.KIWI.COM
V2MCN7   12/3/2020   OB    1/18/2021   WN;2636;MDW;MSP                   SOUTH JENNIFERHAVEN   MT                  US    27659   131796203@AIRLINE.KIWI.COM
V3W2DT   12/3/2020   OB    1/16/2021   WN;4468;LAS;SEA                   WILSONLAND            IA                  US    67353   128249836.1510345@AIRLINE.KIWI.COM
V3W2DT   12/3/2020   OB    1/16/2021   WN;4468;LAS;SEA                   WILSONLAND            IA                  US    67353   128249836.1510345@AIRLINE.KIWI.COM
V425NH   12/3/2020   OB   12/29/2020   WN;1519;MSY;LAX;WN;227;LAX;SFO    ERINFORT              ME                  US    81799   131797182@AIRLINE.KIWI.COM




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V4LIFJ   12/3/2020   OB   12/12/2020   WN;1928;MDW;HOU;WN;2890;HOU;MIA   DARLENESTAD            KS                     US   64003   131797633@AIRLINE.KIWI.COM
V52NC3   12/3/2020   OB   12/19/2020   WN;1860;SAT;PHX;WN;1810;PHX;SAN   PETERSMOUTH            OR                     US   70692   131797754@AIRLINE.KIWI.COM
V57LJM   12/3/2020   OB   12/30/2020   WN;293;MDW;AUS                    PORT JON               OR                     US    5994   131797787@AIRLINE.KIWI.COM
V58NOP   12/3/2020   OB    1/13/2021   WN;3993;MDW;MCO                   WEST CHARLES           MA                     US   81357   131798172@AIRLINE.KIWI.COM
V58NOP   12/3/2020   RT    1/19/2021   WN;1962;MCO;MDW                   WEST CHARLES           MA                     US   81357   131798172@AIRLINE.KIWI.COM
V5WB3F   12/3/2020   OB   12/25/2020   WN;2500;BWI;FLL                   DOMINGUEZLAND          GA                     US   24754   131798436@AIRLINE.KIWI.COM
V62IQV   12/3/2020   OB   12/31/2020   WN;2346;ATL;TPA                   STEPHANIESHIRE         AZ                     US    4577   131798502@AIRLINE.KIWI.COM
V6AYCT   12/3/2020   OB   12/30/2020   WN;1181;MDW;LGA;WN;1181;LGA;ATL   NEW FRANK              AZ                     US   21415   131798502@AIRLINE.KIWI.COM
V7FAYJ   12/3/2020   OB   12/27/2020   WN;1832;MCO;HOU                   COREYMOUTH             ID                     US   38741   131799415@AIRLINE.KIWI.COM
V7SY9O   12/3/2020   OB   12/19/2020   WN;1404;RDU;BWI                   PORT JIM               DE                     US   40464   131799338@AIRLINE.KIWI.COM
V8E5U5   12/3/2020   OB    12/9/2020   WN;2651;DEN;HOU                   PAYNEHAVEN             IL                     US   24869   131799844@AIRLINE.KIWI.COM
V9A23J   12/3/2020   OB    12/3/2020   WN;3388;MDW;MCO                   CARLCHESTER            PA                     US   79517   131800768@AIRLINE.KIWI.COM
V9C5LM   12/3/2020   OB    12/6/2020   WN;332;MIA;BWI;WN;3111;BWI;BOS    PORT TYLERBURGH        PA                     US   75870   131800581@AIRLINE.KIWI.COM
V9E5LM   12/3/2020   OB   12/19/2020   WN;1886;DEN;DAL;WN;1886;DAL;BNA   LAKE MELISSATOWN       IA                     US   59410   131800416@AIRLINE.KIWI.COM
V9E5LM   12/3/2020   OB   12/19/2020   WN;1886;DEN;DAL;WN;1886;DAL;BNA   LAKE MELISSATOWN       IA                     US   59410   131800416@AIRLINE.KIWI.COM
V9X8QA   12/3/2020   OB   12/19/2020   WN;1907;TUS;DEN                   ABBOTTPORT             NY                     US   10880   131800713@AIRLINE.KIWI.COM
V9X8QA   12/3/2020   RT     1/3/2021   WN;6692;DEN;TUS                   ABBOTTPORT             NY                     US   10880   131800713@AIRLINE.KIWI.COM
VA4NEV   12/3/2020   OB   12/17/2020   WN;1061;TPA;MIA                   NUEVA MYANMAR          TLAXCALA               MX   95175   131801164@AIRLINE.KIWI.COM
VAC3SS   12/3/2020   OB     1/6/2021   WN;733;OGG;HNL                    CAO TUN XIAN           CHIAYI                 TW   60024   131801054@AIRLINE.KIWI.COM
VD4HZV   12/3/2020   OB   12/20/2020   WN;440;HOU;BWI                    HEVEADORP              BONAIRE                NL   41443   131803375@AIRLINE.KIWI.COM
VEIDWZ   12/3/2020   OB   12/23/2020   WN;3980;PHX;OKC                   NORTH JASON            NM                     US   98478   131804420@AIRLINE.KIWI.COM
VGOXJY   12/3/2020   OB   12/29/2020   WN;1062;MIA;TPA                   PATRICKMOUTH           OR                     US   19301   131805652@AIRLINE.KIWI.COM
VGOXJY   12/3/2020   RT     1/2/2021   WN;1065;TPA;MIA                   PATRICKMOUTH           OR                     US   19301   131805652@AIRLINE.KIWI.COM
VGSFJ2   12/3/2020   OB    12/5/2020   WN;3526;FLL;DAL;WN;3404;DAL;LAS   TURNERSHIRE            SD                     US   14049   131805784@AIRLINE.KIWI.COM
VH5OMM   12/3/2020   OB   12/27/2020   WN;545;LAS;MDW                    PAKMOUTH               SAMUT PRAKAN           TH   63935   131806059@AIRLINE.KIWI.COM
VH5OMM   12/3/2020   OB   12/27/2020   WN;545;LAS;MDW                    PAKMOUTH               SAMUT PRAKAN           TH   63935   131806059@AIRLINE.KIWI.COM
VJCSN7   12/3/2020   OB    12/3/2020   WN;4936;SMF;LAX                   NEW STEPHENBURGH       WY                     US   65587   131805487@AIRLINE.KIWI.COM
VKDWWU   12/3/2020   OB     1/9/2021   WN;3727;STL;ATL                   LAKE JENNIFERSTAD      WV                     US   36123   131807830@AIRLINE.KIWI.COM
VL7WPU   12/3/2020   OB   12/11/2020   WN;2042;ATL;HOU                   KEVINVIEW              CO                     US   54531   131808292@AIRLINE.KIWI.COM
VL7WPU   12/3/2020   RT   12/13/2020   WN;5040;HOU;ATL                   KEVINVIEW              CO                     US   54531   131808292@AIRLINE.KIWI.COM
VLPGHA   12/3/2020   OB   12/18/2020   WN;135;LGA;ATL                    MEDINATON              TN                     US   97381   131808930@AIRLINE.KIWI.COM
VMYBQA   12/3/2020   OB     1/2/2021   WN;2106;MDW;MCI                   NEW DARIUS             AZ                     US   38703   131809194@AIRLINE.KIWI.COM
VPFTL7   12/3/2020   OB   12/23/2020   WN;2899;MDW;MSP                   SHML FTMYSRYN          MAZANDARAN             IR   14612   131811064@AIRLINE.KIWI.COM
VPFTL7   12/3/2020   OB   12/23/2020   WN;2899;MDW;MSP                   SHML FTMYSRYN          MAZANDARAN             IR   14612   131811064@AIRLINE.KIWI.COM
VPQ9U8   12/3/2020   OB   12/24/2020   WN;3924;MCI;MDW                   AADILAABAAD            PUDUCHERRY             IN   35565   131811185@AIRLINE.KIWI.COM
VPS79D   12/3/2020   OB   12/28/2020   WN;1202;BOS;MDW;WN;188;MDW;MCI    PHTEHGDDH              UTTARAKHAND            IN   28367   131811185@AIRLINE.KIWI.COM
VQC68W   12/3/2020   OB   12/11/2020   WN;1265;LAX;PHX                   WALLACEBURY            VA                     US   39608   131811658@AIRLINE.KIWI.COM
VQVMST   12/3/2020   OB     2/6/2021   WN;1057;MIA;HOU;WN;2326;HOU;LAX   RANGITANGA             OTAGO                  NZ   93620   131274209.1510440@AIRLINE.KIWI.COM
VRGV2N   12/3/2020   OB   12/18/2020   WN;221;ATL;IAD                    EAST HALEY             VT                     US   83717   131810437@AIRLINE.KIWI.COM
VSBTS5   12/3/2020   OB   12/17/2020   WN;6816;SAN;LAS                   KOPER                  LJUBNO                 SI   20447   131812274@AIRLINE.KIWI.COM
VTTBP3   12/3/2020   OB    12/9/2020   WN;2730;CLT;DEN                   WEBBVILLE              MA                     US   43560   131813913@AIRLINE.KIWI.COM
VU8F4E   12/3/2020   OB   12/20/2020   WN;959;ABQ;DEN                    FITZGERALDFORT         OK                     US   28079   131813649@AIRLINE.KIWI.COM
VU8F4E   12/3/2020   OB   12/20/2020   WN;959;ABQ;DEN                    FITZGERALDFORT         OK                     US   28079   131813649@AIRLINE.KIWI.COM
VU8F4E   12/3/2020   OB   12/20/2020   WN;959;ABQ;DEN                    FITZGERALDFORT         OK                     US   28079   131813649@AIRLINE.KIWI.COM
VU8F4E   12/3/2020   OB   12/20/2020   WN;959;ABQ;DEN                    FITZGERALDFORT         OK                     US   28079   131813649@AIRLINE.KIWI.COM
VUV2EB   12/3/2020   OB   12/11/2020   WN;4192;MDW;DEN                   NORTH JOHN             OH                     US   44797   131813990@AIRLINE.KIWI.COM
VZUSRR   12/3/2020   OB   12/17/2020   WN;1148;OAK;LAX                   JUSTINBURY             OH                     US    8993   131817983@AIRLINE.KIWI.COM
W2D2N4   12/3/2020   OB   12/31/2020   WN;4223;RDU;BNA                   MAARSSEN               ARUBA                  NL   45047   131818764@AIRLINE.KIWI.COM
W2D2N4   12/3/2020   OB   12/31/2020   WN;4223;RDU;BNA                   MAARSSEN               ARUBA                  NL   45047   131818764@AIRLINE.KIWI.COM
W2D2N4   12/3/2020   OB   12/31/2020   WN;4223;RDU;BNA                   MAARSSEN               ARUBA                  NL   45047   131818764@AIRLINE.KIWI.COM
W2D2N4   12/3/2020   RT     1/3/2021   WN;1771;BNA;RDU                   MAARSSEN               ARUBA                  NL   45047   131818764@AIRLINE.KIWI.COM
W2D2N4   12/3/2020   RT     1/3/2021   WN;1771;BNA;RDU                   MAARSSEN               ARUBA                  NL   45047   131818764@AIRLINE.KIWI.COM
W2D2N4   12/3/2020   RT     1/3/2021   WN;1771;BNA;RDU                   MAARSSEN               ARUBA                  NL   45047   131818764@AIRLINE.KIWI.COM
W2STPX   12/3/2020   OB   12/24/2020   WN;4354;DEN;PHX;WN;2740;PHX;ELP   JESSICAMOUTH           IL                     US   27968   131819083@AIRLINE.KIWI.COM
W57THI   12/3/2020   OB     1/6/2021   WN;379;CMH;ATL;WN;1333;ATL;RIC    NEW JOSHUAPORT         MO                     US   65993   129663666.1510548@AIRLINE.KIWI.COM
W6GWZF   12/3/2020   OB   12/24/2020   WN;3226;FLL;HOU;WN;4710;HOU;ECP   LAKE MARYTON           VA                     US   31901   131821855@AIRLINE.KIWI.COM
W6GWZF   12/3/2020   OB   12/24/2020   WN;3226;FLL;HOU;WN;4710;HOU;ECP   LAKE MARYTON           VA                     US   31901   131821855@AIRLINE.KIWI.COM
W6GWZF   12/3/2020   OB   12/24/2020   WN;3226;FLL;HOU;WN;4710;HOU;ECP   LAKE MARYTON           VA                     US   31901   131821855@AIRLINE.KIWI.COM
W9RGRL   12/3/2020   OB   12/23/2020   WN;2303;MDW;FLL                   LAKE CHRISTOPHERMOUT   IL                     US   79509   131825474@AIRLINE.KIWI.COM
WHKONB   12/3/2020   OB     1/9/2021   WN;3531;MIA;HOU;WN;1711;HOU;LAS   S KALININGRAD          SAKHALINSKAYA OBLAST   RU   59315   131834923@AIRLINE.KIWI.COM
WIF6I4   12/3/2020   OB    12/3/2020   WN;4858;LAS;TPA;WN;4147;TPA;MIA   RONALDCHESTER          LA                     US   58866   131835913@AIRLINE.KIWI.COM
WJFQM7   12/3/2020   OB   12/21/2020   WN;725;MCO;PVD                    EAST PAULSHIRE         WI                     US   40379   131836969@AIRLINE.KIWI.COM
WJRT6J   12/3/2020   OB   12/26/2020   WN;1447;PVD;DCA                   NEW ROGER              KY                     US   37280   131836969@AIRLINE.KIWI.COM
WJXK5U   12/3/2020   OB   12/22/2020   WN;1493;LAX;PHX                   NORTH JOHNNYSTAD       SD                     US   55548   131836144@AIRLINE.KIWI.COM
WNRP7K   12/3/2020   OB    12/7/2020   WN;3406;LAS;SFO                   JAMESLAND              GA                     US   42448   131842139@AIRLINE.KIWI.COM
WR2XAB   12/3/2020   OB   12/27/2020   WN;5053;ATL;DAL                   DAVISBOROUGH           PA                     US   75128   131847606@AIRLINE.KIWI.COM
WRGCF4   12/3/2020   OB   12/17/2020   WN;603;MDW;DAL;WN;603;DAL;LAX     BRIGGSFURT             VA                     US   55133   131847914@AIRLINE.KIWI.COM
WTOLRA   12/3/2020   OB   12/29/2020   WN;1123;BWI;FLL                   CHENCHESTER            CO                     US   80456   131850444@AIRLINE.KIWI.COM
WTOLRA   12/3/2020   OB   12/29/2020   WN;1123;BWI;FLL                   CHENCHESTER            CO                     US   80456   131850444@AIRLINE.KIWI.COM
WVQM8C   12/3/2020   OB   12/11/2020   WN;2042;ATL;HOU                   CODYTOWN               MS                     US   27554   131852688@AIRLINE.KIWI.COM
WVQM8C   12/3/2020   OB   12/11/2020   WN;2042;ATL;HOU                   CODYTOWN               MS                     US   27554   131852688@AIRLINE.KIWI.COM
WVQM8C   12/3/2020   OB   12/11/2020   WN;2042;ATL;HOU                   CODYTOWN               MS                     US   27554   131852688@AIRLINE.KIWI.COM
WVQM8C   12/3/2020   RT   12/13/2020   WN;5040;HOU;ATL                   CODYTOWN               MS                     US   27554   131852688@AIRLINE.KIWI.COM
WVQM8C   12/3/2020   RT   12/13/2020   WN;5040;HOU;ATL                   CODYTOWN               MS                     US   27554   131852688@AIRLINE.KIWI.COM
WVQM8C   12/3/2020   RT   12/13/2020   WN;5040;HOU;ATL                   CODYTOWN               MS                     US   27554   131852688@AIRLINE.KIWI.COM
WX3FEI   12/3/2020   OB   12/22/2020   WN;330;RDU;PHX                    HESSMOUTH              MD                     US   95603   131854239@AIRLINE.KIWI.COM
WX3FEI   12/3/2020   RT     1/3/2021   WN;1884;PHX;RDU                   HESSMOUTH              MD                     US   95603   131854239@AIRLINE.KIWI.COM
WY5YQG   12/3/2020   OB    12/4/2020   WN;783;LAS;OAK                    VILLANUEVABURY         LA                     US   85916   131854668@AIRLINE.KIWI.COM
WY5YQG   12/3/2020   OB    12/4/2020   WN;783;LAS;OAK                    VILLANUEVABURY         LA                     US   85916   131854668@AIRLINE.KIWI.COM
WY5YQG   12/3/2020   OB    12/4/2020   WN;783;LAS;OAK                    VILLANUEVABURY         LA                     US   85916   131854668@AIRLINE.KIWI.COM
WY5YQG   12/3/2020   OB    12/4/2020   WN;783;LAS;OAK                    VILLANUEVABURY         LA                     US   85916   131854668@AIRLINE.KIWI.COM
WY9PDF   12/3/2020   OB   12/21/2020   WN;28;DAL;ELP                     EAST MICHAELFORT       DE                     US   43891   131855724@AIRLINE.KIWI.COM
WYJYXQ   12/3/2020   OB   12/27/2020   WN;1605;ATL;BNA;WN;2427;BNA;ORF   CAMERONTOWN            OK                     US   30055   131855581@AIRLINE.KIWI.COM
K2IXHW   12/4/2020   OB   12/29/2020   WN;1306;BWI;MCI                   LAKE NATHANBURGH       FL                     US   58079   131896930@AIRLINE.KIWI.COM
K34KWH   12/4/2020   OB   12/23/2020   WN;4564;ONT;DEN                   LAKE DAISY             RI                     US   62120   131896765@AIRLINE.KIWI.COM
K34KWH   12/4/2020   RT   12/28/2020   WN;693;DEN;ONT                    LAKE DAISY             RI                     US   62120   131896765@AIRLINE.KIWI.COM
K3GR8E   12/4/2020   OB   12/15/2020   WN;4523;DEN;OKC                   JAMIEPORT              AR                     US   54711   131897194@AIRLINE.KIWI.COM
K3GR8E   12/4/2020   OB   12/15/2020   WN;4523;DEN;OKC                   JAMIEPORT              AR                     US   54711   131897194@AIRLINE.KIWI.COM
K3J4IU   12/4/2020   OB   12/14/2020   WN;4824;SAT;HOU;WN;3212;HOU;TPA   STACYBERG              OK                     US   27087   131897348@AIRLINE.KIWI.COM
K4UF64   12/4/2020   OB    12/7/2020   WN;3182;AUS;HOU;WN;3294;HOU;MIA   PACHECOPORT            VT                     US   18520   131898041@AIRLINE.KIWI.COM
K52CR3   12/4/2020   OB     1/3/2021   WN;2681;CLT;HOU;WN;3044;HOU;PHX   STEPHANIEVILLE         LA                     US   61434   131898228@AIRLINE.KIWI.COM
K52CR3   12/4/2020   OB     1/3/2021   WN;2681;CLT;HOU;WN;3044;HOU;PHX   STEPHANIEVILLE         LA                     US   61434   131898228@AIRLINE.KIWI.COM
K5UA6K   12/4/2020   OB     1/6/2021   WN;1333;ATL;RIC                   CARLHAVEN              OH                     US   73150   129692376.1511353@AIRLINE.KIWI.COM
K64UER   12/4/2020   OB   12/31/2020   WN;642;OAK;DEN                    SARAHFORT              UT                     US   75181   131898734@AIRLINE.KIWI.COM
K64UER   12/4/2020   OB   12/31/2020   WN;642;OAK;DEN                    SARAHFORT              UT                     US   75181   131898734@AIRLINE.KIWI.COM
K64UER   12/4/2020   OB   12/31/2020   WN;642;OAK;DEN                    SARAHFORT              UT                     US   75181   131898734@AIRLINE.KIWI.COM
K7P649   12/4/2020   OB    12/6/2020   WN;3907;LAS;LAX                   WEST DAVIDPORT         ME                     US   52835   131899713@AIRLINE.KIWI.COM
K86DZH   12/4/2020   OB   12/17/2020   WN;447;DEN;ATL                    PAMELAMOUTH            CA                     US   31390   131899669@AIRLINE.KIWI.COM
K9LWHY   12/4/2020   OB   12/20/2020   WN;3335;ROC;BWI                   K SHARIA               IVANOVSKAYA OBLAST     RU   20656   131900868@AIRLINE.KIWI.COM
K9LWHY   12/4/2020   OB   12/20/2020   WN;3335;ROC;BWI                   K SHARIA               IVANOVSKAYA OBLAST     RU   20656   131900868@AIRLINE.KIWI.COM
K9LWHY   12/4/2020   RT   12/28/2020   WN;401;BWI;ROC                    K SHARIA               IVANOVSKAYA OBLAST     RU   20656   131900868@AIRLINE.KIWI.COM
K9LWHY   12/4/2020   RT   12/28/2020   WN;401;BWI;ROC                    K SHARIA               IVANOVSKAYA OBLAST     RU   20656   131900868@AIRLINE.KIWI.COM
K9SYEO   12/4/2020   OB   12/11/2020   WN;2713;DAL;DEN                   LAMBERTBERG            CA                     US   24363   131901099@AIRLINE.KIWI.COM
KAL3T9   12/4/2020   OB    12/4/2020   WN;590;HNL;OGG                    K VELIKII USTIUG       STAVROPOLSKIY KRAY     RU   60876   131901583@AIRLINE.KIWI.COM
KAL3T9   12/4/2020   OB    12/4/2020   WN;590;HNL;OGG                    K VELIKII USTIUG       STAVROPOLSKIY KRAY     RU   60876   131901583@AIRLINE.KIWI.COM
KBIW8S   12/4/2020   OB   12/26/2020   WN;1706;MCO;BWI                   NEW AMBER              CT                     US   64959   131901924@AIRLINE.KIWI.COM
KCYNIU   12/4/2020   OB     1/4/2021   WN;1324;ATL;MSY                   PAULASIDE              OFFALY                 IE    4609   131903079@AIRLINE.KIWI.COM




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KEA2LH   12/4/2020   OB   12/11/2020   WN;2575;MCO;DEN                   MCCLAINSIDE            OR                   US   43729   131903948@AIRLINE.KIWI.COM
KEA2LH   12/4/2020   OB   12/11/2020   WN;2575;MCO;DEN                   MCCLAINSIDE            OR                   US   43729   131903948@AIRLINE.KIWI.COM
KEA2LH   12/4/2020   OB   12/11/2020   WN;2575;MCO;DEN                   MCCLAINSIDE            OR                   US   43729   131903948@AIRLINE.KIWI.COM
KGOP47   12/4/2020   OB    12/5/2020   WN;708;AUS;CUN                    VIEJA ISRAEL           QUERETARO            MX    2828   131905367@AIRLINE.KIWI.COM
KIYJOG   12/4/2020   OB   12/21/2020   WN;142;BWI;MIA                    BELLTOWN               MD                   US   41399   131906390@AIRLINE.KIWI.COM
KJ2BJ3   12/4/2020   OB   12/20/2020   WN;810;HOU;LAX                    PORT MICHELLELAND      PA                   US   15113   131906489@AIRLINE.KIWI.COM
KKRU7J   12/4/2020   OB    12/9/2020   WN;3927;LAX;PHX;WN;4539;PHX;SLC   SAUNDERSBURY           KY                   US   84020   131907424@AIRLINE.KIWI.COM
KMFX6P   12/4/2020   OB    12/4/2020   WN;2395;PHX;HOU;WN;3459;HOU;TUL   JOHNVILLE              NY                   US   63233   131906797@AIRLINE.KIWI.COM
KMFX6P   12/4/2020   OB    12/4/2020   WN;2395;PHX;HOU;WN;3459;HOU;TUL   JOHNVILLE              NY                   US   63233   131906797@AIRLINE.KIWI.COM
KOA54N   12/4/2020   OB     1/2/2021   WN;1873;MCO;RDU                   PORT KEVINLAND         NY                   US   61979   131909184@AIRLINE.KIWI.COM
KODWPZ   12/4/2020   OB   12/25/2020   WN;1265;LAX;PHX                   TAMMYPORT              ME                   US   52070   131909195@AIRLINE.KIWI.COM
KPHO2C   12/4/2020   OB   12/14/2020   WN;5040;HOU;ATL                   ROGERSFURT             NC                   US   14373   131909514@AIRLINE.KIWI.COM
KRXTB2   12/4/2020   OB   12/24/2020   WN;845;MSP;MDW;WN;1459;MDW;DCA    EAST JAMESPORT         NJ                   US   63504   131910614@AIRLINE.KIWI.COM
KVGKEL   12/4/2020   OB    12/9/2020   WN;3182;AUS;HOU;WN;3294;HOU;MIA   CAMPBELLVILLE          SD                   US   75469   131912165@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KVJ5WB   12/4/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;6219;BWI;DEN    BONNIEBERG             AZ                   US   19029   131912033@AIRLINE.KIWI.COM
KX73LF   12/4/2020   OB   12/18/2020   WN;913;PHX;BWI                    PORT SHARONVILLE       MO                   US   65380   131913353@AIRLINE.KIWI.COM
KXHXNM   12/4/2020   OB     1/3/2021   WN;6608;DEN;GEG                   MOODYVIEW              KY                   US   71253   131909624@AIRLINE.KIWI.COM
KXHXNM   12/4/2020   OB     1/3/2021   WN;6608;DEN;GEG                   MOODYVIEW              KY                   US   71253   131909624@AIRLINE.KIWI.COM
KXHXNM   12/4/2020   OB     1/3/2021   WN;6608;DEN;GEG                   MOODYVIEW              KY                   US   71253   131909624@AIRLINE.KIWI.COM
KXHXNM   12/4/2020   OB     1/3/2021   WN;6608;DEN;GEG                   MOODYVIEW              KY                   US   71253   131909624@AIRLINE.KIWI.COM
KXHXNM   12/4/2020   OB     1/3/2021   WN;6608;DEN;GEG                   MOODYVIEW              KY                   US   71253   131909624@AIRLINE.KIWI.COM
KZQUIY   12/4/2020   OB     1/7/2021   WN;3642;LAS;HOU;WN;661;HOU;MIA    LAKE KIMBERLYSIDE      AL                   US   38956   131915355@AIRLINE.KIWI.COM
KZQUIY   12/4/2020   OB     2/1/2021   WN;4131;MIA;HOU                   LAKE KIMBERLYSIDE      AL                   US   38956   131915355@AIRLINE.KIWI.COM
L3C8BM   12/4/2020   OB   12/11/2020   WN;4557;PHL;DEN                   WEST CHARLES           DE                   US   69872   131916059@AIRLINE.KIWI.COM
L4SKHL   12/4/2020   OB    2/11/2021   WN;1387;PHX;OAK                   SELISHCHE LES          SUMS KA OBLAST       UA   87451   131917093@AIRLINE.KIWI.COM
L9YYSZ   12/4/2020   OB   12/13/2020   WN;2730;CLT;DEN                   EAST MICHAELHAVEN      NY                   US   38771   131912429@AIRLINE.KIWI.COM
L9YYSZ   12/4/2020   OB   12/13/2020   WN;2730;CLT;DEN                   EAST MICHAELHAVEN      NY                   US   38771   131912429@AIRLINE.KIWI.COM
LHHGGO   12/4/2020   OB     1/6/2021   WN;379;CMH;ATL;WN;1333;ATL;RIC    NORTH MARIA            FL                   US   42183   130143398.1511568@AIRLINE.KIWI.COM
LI2GDN   12/4/2020   OB   12/11/2020   WN;2708;MDW;ATL                   AMANDABERG             WV                   US   10020   131928995@AIRLINE.KIWI.COM
LMVV3C   12/4/2020   OB   12/14/2020   WN;2996;DSM;DEN                   CINDYMOUTH             MN                   US   21023   131934154@AIRLINE.KIWI.COM
LP4NRQ   12/4/2020   OB   12/11/2020   WN;2713;DAL;DEN                   LAKE CAROLINETON       WY                   US   51901   131935452@AIRLINE.KIWI.COM
LQ3III   12/4/2020   OB   12/21/2020   WN;1212;DAL;BWI;WN;1087;BWI;RDU   SOUTH AUTUMN           CA                   US   79107   131938697@AIRLINE.KIWI.COM
LQBQG5   12/4/2020   OB     1/4/2021   WN;2496;RDU;BNA;WN;21;BNA;DAL     HOOPERBURGH            AR                   US   24892   131938697@AIRLINE.KIWI.COM
LTL487   12/4/2020   OB   12/11/2020   WN;1510;DEN;OKC                   SARAHVILLE             NJ                   US   62325   131942184@AIRLINE.KIWI.COM
LTLFU3   12/4/2020   OB   12/24/2020   WN;4566;DEN;DSM                   WEST HEATHER           WI                   US   98573   131942525@AIRLINE.KIWI.COM
LTLFU3   12/4/2020   RT     1/3/2021   WN;6894;DSM;DEN                   WEST HEATHER           WI                   US   98573   131942525@AIRLINE.KIWI.COM
LW4IY3   12/4/2020   OB    12/8/2020   WN;2900;ATL;HOU                   ALLISONBOROUGH         MO                   US   34372   131946012@AIRLINE.KIWI.COM
LWIDDO   12/4/2020   OB   12/21/2020   WN;603;MCO;MDW                    ZACHARYBERG            FL                   US   96899   131426878@AIRLINE.KIWI.COM
LWQ7O9   12/4/2020   OB    12/6/2020   WN;1466;SLC;LAS;WN;3203;LAS;ONT   PORT LANCE             TX                   US   16786   131946562@AIRLINE.KIWI.COM
LY8EDY   12/4/2020   OB   12/27/2020   WN;3436;LGA;ATL                   MICHAELVILLE           IN                   US   94882   131947761@AIRLINE.KIWI.COM
LY8EDY   12/4/2020   OB   12/27/2020   WN;3436;LGA;ATL                   MICHAELVILLE           IN                   US   94882   131947761@AIRLINE.KIWI.COM
LYDL6R   12/4/2020   OB    12/5/2020   WN;3951;PVD;MCO                   NEW LAURA              IL                   US   69489   131948399@AIRLINE.KIWI.COM
LYQ3TP   12/4/2020   OB   12/11/2020   WN;272;MCO;MBJ                    LANESIDE               CA                   US   44972   131948300@AIRLINE.KIWI.COM
LZBBFE   12/4/2020   OB   12/22/2020   WN;103;MEM;MDW;WN;1011;MDW;MIA    EAST SARAHCHESTER      NC                   US   56919   131948828@AIRLINE.KIWI.COM
LZHU4W   12/4/2020   OB     1/4/2021   WN;153;ATL;HOU                    DAVISPORT              NJ                   US   18389   131949466@AIRLINE.KIWI.COM
M3F2FC   12/4/2020   OB   12/26/2020   WN;2293;LGB;DEN                   NEW KATHLEENMOUTH      NY                   US   96099   131951457@AIRLINE.KIWI.COM
M3F2FC   12/4/2020   OB   12/26/2020   WN;2293;LGB;DEN                   NEW KATHLEENMOUTH      NY                   US   96099   131951457@AIRLINE.KIWI.COM
M3Y7Q6   12/4/2020   OB   12/27/2020   WN;1835;TUS;DEN                   NORTH JESSICA          MN                   US   53403   131952150@AIRLINE.KIWI.COM
M5A92N   12/4/2020   OB     1/6/2021   WN;1053;MCI;BNA                   VIANA DO CASTELO       SANTAREM             PT   70756   130750323.1511894@AIRLINE.KIWI.COM
M5UQZV   12/4/2020   OB     1/6/2021   WN;332;MIA;BWI;WN;685;BWI;IND     VARGASTOWN             NM                   US   66350   131954504@AIRLINE.KIWI.COM
M5UQZV   12/4/2020   OB     1/6/2021   WN;332;MIA;BWI;WN;685;BWI;IND     VARGASTOWN             NM                   US   66350   131954504@AIRLINE.KIWI.COM
M6H3MQ   12/4/2020   OB   12/13/2020   WN;4078;MIA;MDW;WN;2482;MDW;RDU   WEST KELSEYBERG        OK                   US    4976   131955472@AIRLINE.KIWI.COM
M6S8Z4   12/4/2020   OB     1/2/2021   WN;1237;ATL;FLL                   TAMARASIDE             SC                   US   49321   131956154@AIRLINE.KIWI.COM
M74KTU   12/4/2020   OB    12/6/2020   WN;2672;CHS;BWI                   MATTHEWTON             NE                   US   93445   131956264@AIRLINE.KIWI.COM
M7DQXW   12/4/2020   OB   12/19/2020   WN;1214;ORF;BWI;WN;2128;BWI;GRR   WEST RICHARD           WA                   US   86681   131956275@AIRLINE.KIWI.COM
M7OYPT   12/4/2020   OB   12/19/2020   WN;1832;PHL;ATL                   TUCKERVIEW             CA                   US   56456   131956583@AIRLINE.KIWI.COM
M7WR2N   12/4/2020   OB   12/24/2020   WN;3803;ATL;MSY                   NEW TINASTAD           NC                   US   58713   131956891@AIRLINE.KIWI.COM
M8ICPF   12/4/2020   OB   12/15/2020   WN;3203;LAS;ONT                   NEW ALAN               VA                   US   10495   131957474@AIRLINE.KIWI.COM
M92KOY   12/4/2020   OB   12/22/2020   WN;1249;PHX;DEN                   WILLIAMSHIRE           TX                   US   20244   131957738@AIRLINE.KIWI.COM
M92KOY   12/4/2020   OB   12/22/2020   WN;1249;PHX;DEN                   WILLIAMSHIRE           TX                   US   20244   131957738@AIRLINE.KIWI.COM
M9ZNNJ   12/4/2020   OB   12/19/2020   WN;2443;PDX;DEN                   KATHLEENSHIRE          VT                   US   93364   131959245@AIRLINE.KIWI.COM
MBSZNK   12/4/2020   OB   12/30/2020   WN;155;ATL;LGA                    SOUTH SHERRY           DE                   US   24605   131961489@AIRLINE.KIWI.COM
MD636L   12/4/2020   OB     1/3/2021   WN;4598;ATL;PHL                   SOUTH PAULCHESTER      CT                   US   16228   131964052@AIRLINE.KIWI.COM
MEMA3P   12/4/2020   OB   12/11/2020   WN;2088;DEN;HOU;WN;661;HOU;MIA    CHAVEZTOWN             IN                   US   51989   131965713@AIRLINE.KIWI.COM
MFEPMK   12/4/2020   OB    12/7/2020   WN;2950;MSY;DAL                   RUSHLAND               MA                   US   39835   131965746@AIRLINE.KIWI.COM
MGBXAO   12/4/2020   OB   12/23/2020   WN;3747;SLC;DEN                   AALDEN                 ZEELAND              NL   33234   131966956@AIRLINE.KIWI.COM
MIF3GP   12/4/2020   OB     1/3/2021   WN;3689;ATL;MDW                   JOHNSONBERG            AZ                   US   93452   131969310@AIRLINE.KIWI.COM
MJUDHW   12/4/2020   OB   12/30/2020   WN;155;ATL;LGA                    NORTH RONALDHAVEN      TN                   US   54382   131971147@AIRLINE.KIWI.COM
MKQDQH   12/4/2020   OB   12/28/2020   WN;675;RIC;ATL                    LAKE LEAH              TN                   US    5009   131971521@AIRLINE.KIWI.COM
MKXM68   12/4/2020   OB   12/11/2020   WN;1933;DSM;STL;WN;4666;STL;PHX   WEST GREGLAND          NJ                   US   69802   131972500@AIRLINE.KIWI.COM
MKXM68   12/4/2020   RT   12/14/2020   WN;2634;PHX;DEN;WN;4566;DEN;DSM   WEST GREGLAND          NJ                   US   69802   131972500@AIRLINE.KIWI.COM
ML7TSD   12/4/2020   OB   12/13/2020   WN;3189;PHL;MDW                   K NEFTEKAMSK           KALUZHSKAYA OBLAST   RU   68107   131972665@AIRLINE.KIWI.COM
MMG7OO   12/4/2020   OB   12/13/2020   WN;4517;DEN;PDX                   LAKE DENNISLAND        NH                   US   28320   131973534@AIRLINE.KIWI.COM
MMPN8O   12/4/2020   OB   12/11/2020   WN;2651;LAX;DEN                   MARTINEZMOUTH          MA                   US   18254   131974601@AIRLINE.KIWI.COM
MMXUF8   12/4/2020   OB   12/28/2020   WN;6709;STL;MDW;WN;2277;MDW;RDU   KRISTINSHIRE           RI                   US   11525   131974810@AIRLINE.KIWI.COM
MOT7W7   12/4/2020   OB   12/18/2020   WN;434;TUL;DEN                    NEW SAMANTHA           OH                   US   34559   131976548@AIRLINE.KIWI.COM
MPITQU   12/4/2020   OB   12/22/2020   WN;688;BUR;SJC;WN;688;SJC;GEG     NEW BRITTANYHAVEN      NH                   US   67618   131977714@AIRLINE.KIWI.COM
MR6EDL   12/4/2020   OB    12/5/2020   WN;1468;SAN;LAS                   JONESMOUTH             NV                   US   39404   131978737@AIRLINE.KIWI.COM
MRPL3R   12/4/2020   OB   12/31/2020   WN;5014;ATL;DEN                   MICHEALBURY            SC                   US   13519   131979122@AIRLINE.KIWI.COM
MRPL3R   12/4/2020   OB   12/31/2020   WN;5014;ATL;DEN                   MICHEALBURY            SC                   US   13519   131979122@AIRLINE.KIWI.COM
MRY5DV   12/4/2020   OB   12/27/2020   WN;1554;STL;FLL                   BARBOSA DE ARAGAO      RORAIMA              BR    4623   131979375@AIRLINE.KIWI.COM
MSA7D9   12/4/2020   OB     2/4/2021   WN;3338;TPA;HOU;WN;568;HOU;MDW    LAKE JOSHUA            VT                   US   46489   131979683@AIRLINE.KIWI.COM
MSA7D9   12/4/2020   RT     2/7/2021   WN;3544;MDW;TPA                   LAKE JOSHUA            VT                   US   46489   131979683@AIRLINE.KIWI.COM
MSHYMG   12/4/2020   OB   12/16/2020   WN;1610;CUN;BWI                   NORTH BRIANBOROUGH     AR                   US   82071   131980662@AIRLINE.KIWI.COM
MSQAJS   12/4/2020   OB   12/13/2020   WN;2775;DAL;LGA                   CHRISTOPHERPORT        HI                   US   20966   131980750@AIRLINE.KIWI.COM
MSQAJS   12/4/2020   OB   12/13/2020   WN;2775;DAL;LGA                   CHRISTOPHERPORT        HI                   US   20966   131980750@AIRLINE.KIWI.COM
MT3A62   12/4/2020   OB    12/9/2020   WN;135;ATL;STL;WN;3956;STL;DSM    JESSESHIRE             NJ                   US   32759   131981377@AIRLINE.KIWI.COM
MUE9UR   12/4/2020   OB   12/11/2020   WN;3082;ATL;MCO                   S GLAZOV               KRASNODARSKIY KRAY   RU   89878   131982543@AIRLINE.KIWI.COM
MUE9UR   12/4/2020   RT   12/13/2020   WN;3558;MCO;ATL                   S GLAZOV               KRASNODARSKIY KRAY   RU   89878   131982543@AIRLINE.KIWI.COM
MVBYEC   12/4/2020   OB     1/5/2021   WN;1018;DAL;TPA;WN;1018;TPA;MIA   PORT TRACY             EASTERN              GH   51293   131982983@AIRLINE.KIWI.COM
N2EJA9   12/5/2020   OB    12/5/2020   WN;2312;HOU;DAL                   LISASIDE               CA                   US   65553   131987229@AIRLINE.KIWI.COM
N3MWZ5   12/5/2020   OB   12/14/2020   WN;4145;MIA;TPA;WN;2606;TPA;DEN   NORTH ANDREW           KY                   US   17808   131987944@AIRLINE.KIWI.COM
N3XYGO   12/5/2020   OB   12/13/2020   WN;2540;MCO;ATL                   NORTH MISTYLAND        MT                   US   90336   131988527@AIRLINE.KIWI.COM
N4XMQG   12/5/2020   OB     2/3/2021   WN;197;FLL;SJU                    TAMARABOROUGH          MT                   US   66266   131988934@AIRLINE.KIWI.COM
N4XMQG   12/5/2020   OB     2/3/2021   WN;197;FLL;SJU                    TAMARABOROUGH          MT                   US   66266   131988934@AIRLINE.KIWI.COM
N5KTSP   12/5/2020   OB   12/18/2020   WN;278;MDW;ATL                    GRAYVIEW               MI                   US   57389   131989363@AIRLINE.KIWI.COM
N5WWCX   12/5/2020   OB   12/23/2020   WN;2037;SAT;HOU;WN;4005;HOU;MCO   JOSEPHPORT             ME                   US   83768   131989759@AIRLINE.KIWI.COM
N6TQ9Y   12/5/2020   OB   12/11/2020   WN;1933;DSM;STL;WN;4666;STL;PHX   EAST CHNMTHIDAAMOUTH   PHETCHABURI          TH   33364   131990188@AIRLINE.KIWI.COM
N6TQ9Y   12/5/2020   RT   12/13/2020   WN;4423;PHX;DEN;WN;4566;DEN;DSM   EAST CHNMTHIDAAMOUTH   PHETCHABURI          TH   33364   131990188@AIRLINE.KIWI.COM
N7PFIY   12/5/2020   OB   12/24/2020   WN;3933;MCI;BWI                   LAKE KIMBERLY          CO                   US   37191   131990991@AIRLINE.KIWI.COM
N8V3UM   12/5/2020   OB   12/10/2020   WN;2950;DAL;MDW                   MORANFORT              NM                   US   32195   131991376@AIRLINE.KIWI.COM




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N8ZKQV   12/5/2020   OB    12/5/2020   WN;3001;ATL;MDW;WN;3329;MDW;DTW   NEW THOMAS             AR                    US   58401   131991409@AIRLINE.KIWI.COM
N9ASP7   12/5/2020   OB   12/18/2020   WN;6990;DEN;SAT                   FOXBURY                RI                    US   83793   131991475@AIRLINE.KIWI.COM
NAUTGL   12/5/2020   OB   12/25/2020   WN;4536;PHX;SAN                   WESTFURT               DE                    US    4468   131992146@AIRLINE.KIWI.COM
NAUTGL   12/5/2020   OB   12/25/2020   WN;4536;PHX;SAN                   WESTFURT               DE                    US    4468   131992146@AIRLINE.KIWI.COM
NB4US6   12/5/2020   OB    1/19/2021   WN;784;OAK;OGG;WN;1784;OGG;KOA    REYESSTAD              WV                    US   12890   131992674@AIRLINE.KIWI.COM
NB4US6   12/5/2020   RT    1/26/2021   WN;3624;KOA;OAK                   REYESSTAD              WV                    US   12890   131992674@AIRLINE.KIWI.COM
NB75L3   12/5/2020   OB    1/19/2021   WN;4756;RNO;OAK                   DEANNATON              MS                    US   91527   131992674@AIRLINE.KIWI.COM
NB75L3   12/5/2020   RT    1/26/2021   WN;3743;OAK;RNO                   DEANNATON              MS                    US   91527   131992674@AIRLINE.KIWI.COM
NBR69K   12/5/2020   OB   12/11/2020   WN;4933;LAX;PHX                   KIMBERLYBURY           GA                    US   19909   131993004@AIRLINE.KIWI.COM
NBZFFW   12/5/2020   OB    12/5/2020   WN;1685;ATL;PHX;WN;3894;PHX;SFO   RACHELVIEW             WI                    US   18074   131993235@AIRLINE.KIWI.COM
NBZFFW   12/5/2020   OB    12/5/2020   WN;1685;ATL;PHX;WN;3894;PHX;SFO   RACHELVIEW             WI                    US   18074   131993235@AIRLINE.KIWI.COM
NE4PRY   12/5/2020   OB   12/11/2020   WN;1933;DSM;STL;WN;4666;STL;PHX   EAST KEVINCHESTER      ME                    US   25055   131994555@AIRLINE.KIWI.COM
NE4PRY   12/5/2020   RT   12/14/2020   WN;2634;PHX;DEN;WN;4566;DEN;DSM   EAST KEVINCHESTER      ME                    US   25055   131994555@AIRLINE.KIWI.COM
NEW73P   12/5/2020   OB     1/5/2021   WN;1333;ATL;RIC                   CHRISTOPHERFORT        NM                    US   78215   131994401@AIRLINE.KIWI.COM
NF9QPX   12/5/2020   OB   12/28/2020   WN;350;MCI;BWI;WN;368;BWI;ORF     NEW DENISEHAVEN        IA                    US   96997   131994929@AIRLINE.KIWI.COM
NF9QPX   12/5/2020   OB   12/28/2020   WN;350;MCI;BWI;WN;368;BWI;ORF     NEW DENISEHAVEN        IA                    US   96997   131994929@AIRLINE.KIWI.COM
NGYDLM   12/5/2020   OB   12/31/2020   WN;352;ROC;BWI;WN;1646;BWI;ATL    NEW MICHAEL            MA                    US   65445   131995754@AIRLINE.KIWI.COM
NH27OU   12/5/2020   OB   12/31/2020   WN;352;ROC;BWI;WN;1646;BWI;ATL    PHILIPTOWN             ND                    US   70487   131995754@AIRLINE.KIWI.COM
NH27OU   12/5/2020   OB   12/31/2020   WN;352;ROC;BWI;WN;1646;BWI;ATL    PHILIPTOWN             ND                    US   70487   131995754@AIRLINE.KIWI.COM
NH4DC5   12/5/2020   OB     1/4/2021   WN;1087;ATL;BWI;WN;395;BWI;ROC    NEW SARAH              SD                    US   80541   131995754@AIRLINE.KIWI.COM
NHC9E2   12/5/2020   OB    12/9/2020   WN;2288;BNA;TPA;WN;4147;TPA;MIA   SANTA CRUZ DE TENERI   MALAGA                ES   42504   131995600@AIRLINE.KIWI.COM
NHC9E2   12/5/2020   OB    12/9/2020   WN;2288;BNA;TPA;WN;4147;TPA;MIA   SANTA CRUZ DE TENERI   MALAGA                ES   42504   131995600@AIRLINE.KIWI.COM
NHE5GB   12/5/2020   OB     1/4/2021   WN;1087;ATL;BWI;WN;395;BWI;ROC    NORTH MICHAELTON       VT                    US   82543   131995754@AIRLINE.KIWI.COM
NHE5GB   12/5/2020   OB     1/4/2021   WN;1087;ATL;BWI;WN;395;BWI;ROC    NORTH MICHAELTON       VT                    US   82543   131995754@AIRLINE.KIWI.COM
NIKEXY   12/5/2020   OB   12/26/2020   WN;1786;BWI;PVD                   JASONPORT              AL FAYYUM             EG   28574   131996381@AIRLINE.KIWI.COM
NIQN3V   12/5/2020   OB   12/16/2020   WN;1610;CUN;BWI                   PEREZCHESTER           IN                    US    2303   131996425@AIRLINE.KIWI.COM
NK8S97   12/5/2020   OB     1/3/2021   WN;2140;PHX;DEN                   VIEJA GRECIA           HIDALGO               MX   48780   131997151@AIRLINE.KIWI.COM
NKO3KB   12/5/2020   OB     1/5/2021   WN;1094;ELP;HOU;WN;600;HOU;OKC    LUNABURGH              FL                    US   97925   131997437@AIRLINE.KIWI.COM
NL48PX   12/5/2020   OB   12/22/2020   WN;551;ATL;FLL                    MARSHALLBERG           HI                    US   32766   131997811@AIRLINE.KIWI.COM
NLVK7C   12/5/2020   OB   12/21/2020   WN;206;MCO;ORF                    LAKE RHONDA            ME                    US   71857   131997899@AIRLINE.KIWI.COM
NM8VDT   12/5/2020   OB   12/11/2020   WN;2234;LAX;STL;WN;4099;STL;ATL   LAKE KAYLA             OR                    US   36798   131998174@AIRLINE.KIWI.COM
NO7EEF   12/5/2020   OB   12/27/2020   WN;1670;MCO;ATL                   ALEXANDERMOUTH         WI                    US   18354   131996546@AIRLINE.KIWI.COM
NQCNTA   12/5/2020   OB   12/12/2020   WN;2206;RIC;ATL;WN;2920;ATL;FLL   JASMINECHESTER         IL                    US   18683   131999538@AIRLINE.KIWI.COM
NQCNTA   12/5/2020   OB   12/12/2020   WN;2206;RIC;ATL;WN;2920;ATL;FLL   JASMINECHESTER         IL                    US   18683   131999538@AIRLINE.KIWI.COM
NRPDGD   12/5/2020   OB     1/5/2021   WN;786;OGG;OAK                    ALLENBERG              KY                    US    4991   132000286@AIRLINE.KIWI.COM
NTJFYF   12/5/2020   OB   12/28/2020   WN;27;LAX;LAS;WN;2261;LAS;SLC     LAKE CHRISTINA         CO                    US   88575   132001331@AIRLINE.KIWI.COM
NTJFYF   12/5/2020   OB   12/28/2020   WN;27;LAX;LAS;WN;2261;LAS;SLC     LAKE CHRISTINA         CO                    US   88575   132001331@AIRLINE.KIWI.COM
NXAICZ   12/5/2020   OB     1/6/2021   WN;516;DEN;PHX                    WEST ANTHONYMOUTH      TN                    US    6366   129898032.1512380@AIRLINE.KIWI.COM
NZKQQ8   12/5/2020   OB   12/15/2020   WN;5034;TPA;MDW                   KELSEYBERG             WV                    US   49296   132004521@AIRLINE.KIWI.COM
NZS7FS   12/5/2020   OB   12/14/2020   WN;3919;MCI;LAX                   WEST MICHAEL           CO                    US   12007   132004345@AIRLINE.KIWI.COM
NZS7FS   12/5/2020   RT   12/21/2020   WN;829;LAX;MCI                    WEST MICHAEL           CO                    US   12007   132004345@AIRLINE.KIWI.COM
O89GLI   12/5/2020   OB   12/24/2020   WN;3368;ATL;HOU                   PORT STUART            ME                    US    4835   132008338@AIRLINE.KIWI.COM
O89GLI   12/5/2020   OB   12/24/2020   WN;3368;ATL;HOU                   PORT STUART            ME                    US    4835   132008338@AIRLINE.KIWI.COM
O89GLI   12/5/2020   RT   12/26/2020   WN;1013;HOU;ATL                   PORT STUART            ME                    US    4835   132008338@AIRLINE.KIWI.COM
O89GLI   12/5/2020   RT   12/26/2020   WN;1013;HOU;ATL                   PORT STUART            ME                    US    4835   132008338@AIRLINE.KIWI.COM
OCTC9X   12/5/2020   OB   12/26/2020   WN;1663;BWI;ATL;WN;1663;ATL;MCI   DE LUCA VENETO         PUGLIA                IT   20569   132011407@AIRLINE.KIWI.COM
OLGMUN   12/5/2020   OB   12/29/2020   WN;1587;SJU;FLL                   CLARKSIDE              NJ                    US   28750   132018414@AIRLINE.KIWI.COM
OLGMUN   12/5/2020   OB   12/29/2020   WN;1587;SJU;FLL                   CLARKSIDE              NJ                    US   28750   132018414@AIRLINE.KIWI.COM
ONG3SS   12/5/2020   OB     2/1/2021   WN;3920;LAX;MDW                   NEW SANDRA             NJ                    US   65669   132021021@AIRLINE.KIWI.COM
ONG3SS   12/5/2020   OB     2/1/2021   WN;3920;LAX;MDW                   NEW SANDRA             NJ                    US   65669   132021021@AIRLINE.KIWI.COM
ONJ5JE   12/5/2020   OB    1/29/2021   WN;3989;MDW;LAX                   NORTH ASHLEY           IL                    US   34738   132021021@AIRLINE.KIWI.COM
ONJ5JE   12/5/2020   OB    1/29/2021   WN;3989;MDW;LAX                   NORTH ASHLEY           IL                    US   34738   132021021@AIRLINE.KIWI.COM
OSRPJ3   12/5/2020   OB   12/17/2020   WN;1074;DEN;SEA                   WEST CASSANDRALAND     ID                    US   87244   131990177.1512559@AIRLINE.KIWI.COM
OSRPJ3   12/5/2020   OB   12/17/2020   WN;1074;DEN;SEA                   WEST CASSANDRALAND     ID                    US   87244   131990177.1512559@AIRLINE.KIWI.COM
OSRPJ3   12/5/2020   OB   12/17/2020   WN;1074;DEN;SEA                   WEST CASSANDRALAND     ID                    US   87244   131990177.1512559@AIRLINE.KIWI.COM
OSRPJ3   12/5/2020   OB   12/17/2020   WN;1074;DEN;SEA                   WEST CASSANDRALAND     ID                    US   87244   131990177.1512559@AIRLINE.KIWI.COM
OUS96B   12/5/2020   OB     1/3/2021   WN;3885;STL;FLL                   LANEMOUTH              HI                    US   26365   132027841@AIRLINE.KIWI.COM
OVZ7ZN   12/5/2020   OB     1/2/2021   WN;324;MIA;HOU                    K BEREZNIKI            PENZENSKAYA OBLAST    RU   52398   132028776@AIRLINE.KIWI.COM
OVZ7ZN   12/5/2020   OB     1/2/2021   WN;324;MIA;HOU                    K BEREZNIKI            PENZENSKAYA OBLAST    RU   52398   132028776@AIRLINE.KIWI.COM
OVZ7ZN   12/5/2020   OB     1/2/2021   WN;324;MIA;HOU                    K BEREZNIKI            PENZENSKAYA OBLAST    RU   52398   132028776@AIRLINE.KIWI.COM
OVZ7ZN   12/5/2020   OB     1/2/2021   WN;324;MIA;HOU                    K BEREZNIKI            PENZENSKAYA OBLAST    RU   52398   132028776@AIRLINE.KIWI.COM
OY94HO   12/5/2020   OB    1/12/2021   WN;4131;MIA;HOU                   EAST AUDREY            HI                    US   28318   131536284.1512623@AIRLINE.KIWI.COM
OYTPVY   12/5/2020   OB   12/26/2020   WN;1947;BOS;BWI                   NORTH DAVIDFURT        TX                    US   44284   132032428@AIRLINE.KIWI.COM
P24NLP   12/5/2020   OB   12/21/2020   WN;1522;LAX;DEN;WN;281;DEN;TUL    NORTH JAMIE            NV                    US   52268   132034001@AIRLINE.KIWI.COM
P2EIIR   12/5/2020   OB    12/7/2020   WN;2104;HOU;PHX;WN;3026;PHX;OKC   JAVIERCHESTER          AZ                    US   83408   132029370@AIRLINE.KIWI.COM
P2EIIR   12/5/2020   OB    12/7/2020   WN;2104;HOU;PHX;WN;3026;PHX;OKC   JAVIERCHESTER          AZ                    US   83408   132029370@AIRLINE.KIWI.COM
P2RMDZ   12/5/2020   OB    12/8/2020   WN;4773;STL;MCI                   PORT TERESASHIRE       MA                    US   96895   132035068@AIRLINE.KIWI.COM
P3QY3U   12/5/2020   OB     1/6/2021   WN;726;ITO;HNL                    MATTHEWCHESTER         KS                    US   43985   132035673@AIRLINE.KIWI.COM
P5U5OO   12/5/2020   OB     1/5/2021   WN;394;FLL;ATL;WN;1333;ATL;RIC    HALLFORT               OH                    US   84908   132038302@AIRLINE.KIWI.COM
P85U2F   12/5/2020   OB   12/25/2020   WN;3297;DEN;MKE                   SAN RAMIRO LOS ALTOS   TABASCO               MX   27840   132040942@AIRLINE.KIWI.COM
PBNPH7   12/5/2020   OB   12/19/2020   WN;41;OAK;BUR                     MELISSASHIRE           ME                    US   44278   132044990@AIRLINE.KIWI.COM
PCCMTQ   12/5/2020   OB   12/18/2020   WN;537;PVD;BWI;WN;350;BWI;SAT     PORT LISAFORT          VT                    US   60189   132046508@AIRLINE.KIWI.COM
PD7IH5   12/5/2020   OB   12/22/2020   WN;1048;MDW;PHX                   WEST DANIEL            ID                    US   44869   132047355@AIRLINE.KIWI.COM
PD7IH5   12/5/2020   OB   12/22/2020   WN;1048;MDW;PHX                   WEST DANIEL            ID                    US   44869   132047355@AIRLINE.KIWI.COM
PD7IH5   12/5/2020   OB   12/22/2020   WN;1048;MDW;PHX                   WEST DANIEL            ID                    US   44869   132047355@AIRLINE.KIWI.COM
PDEB8F   12/5/2020   OB   12/27/2020   WN;3687;PHX;MDW                   WEST JAMIE             UT                    US   70492   132047355@AIRLINE.KIWI.COM
PDEB8F   12/5/2020   OB   12/27/2020   WN;3687;PHX;MDW                   WEST JAMIE             UT                    US   70492   132047355@AIRLINE.KIWI.COM
PDEB8F   12/5/2020   OB   12/27/2020   WN;3687;PHX;MDW                   WEST JAMIE             UT                    US   70492   132047355@AIRLINE.KIWI.COM
PE9BLO   12/5/2020   OB     1/3/2021   WN;4575;DEN;CLT                   PORT STEPHANIEFURT     OR                    US   42369   132047894@AIRLINE.KIWI.COM
PE9BLO   12/5/2020   OB     1/3/2021   WN;4575;DEN;CLT                   PORT STEPHANIEFURT     OR                    US   42369   132047894@AIRLINE.KIWI.COM
PFDLP4   12/5/2020   OB   12/11/2020   WN;2978;BOS;BWI;WN;102;BWI;MIA    DAWNFURT               NV                    US   64115   132049489@AIRLINE.KIWI.COM
PFDLP4   12/5/2020   RT   12/13/2020   WN;3075;MIA;BWI;WN;2510;BWI;BOS   DAWNFURT               NV                    US   64115   132049489@AIRLINE.KIWI.COM
PFHMM2   12/5/2020   OB   12/12/2020   WN;2436;MCO;HOU                   NORTH MATTHEWPORT      NV                    US   58449   132049291@AIRLINE.KIWI.COM
PFMLGM   12/5/2020   OB    3/24/2021   WN;1018;CUN;DEN                   BRIANVILLE             PA                    US   17301   132049742@AIRLINE.KIWI.COM
PFRN7E   12/5/2020   OB   12/18/2020   WN;1102;AUS;HOU;WN;715;HOU;OKC    TRACEYSHIRE            PA                    US   68225   132003729@AIRLINE.KIWI.COM
PFVOQ6   12/5/2020   OB    12/6/2020   WN;2576;PHX;HOU;WN;307;HOU;CUN    COXBURGH               FL                    US   84006   132049929@AIRLINE.KIWI.COM
PFVOQ6   12/5/2020   OB    12/6/2020   WN;2576;PHX;HOU;WN;307;HOU;CUN    COXBURGH               FL                    US   84006   132049929@AIRLINE.KIWI.COM
PFYX62   12/5/2020   OB     1/4/2021   WN;931;HOU;MCI                    SELISHCHE LIZA         CHERNIVETSKA OBLAST   UA   63952   132050072@AIRLINE.KIWI.COM
PHD97S   12/5/2020   OB   12/16/2020   WN;1607;BWI;CUN                   WEST JON               RI                    US   99339   132051612@AIRLINE.KIWI.COM
PHD97S   12/5/2020   OB   12/16/2020   WN;1607;BWI;CUN                   WEST JON               RI                    US   99339   132051612@AIRLINE.KIWI.COM
PIP4SG   12/5/2020   OB   12/22/2020   WN;180;LAS;BWI;WN;1352;BWI;JAX    RYANTON                NY                    US   75445   132052745@AIRLINE.KIWI.COM
PJ9DK8   12/5/2020   OB    12/5/2020   WN;734;PHX;SAN                    MICHELLEFORT           MI                    US   37527   132053735@AIRLINE.KIWI.COM
PKQ58H   12/5/2020   OB   12/21/2020   WN;373;CLT;BWI                    REEDLAND               WI                    US   40879   132054626@AIRLINE.KIWI.COM
PMAB9N   12/5/2020   OB   12/31/2020   WN;1360;MDW;FLL                   JOHNSONFURT            FL                    US   97722   132056540@AIRLINE.KIWI.COM
PMAB9N   12/5/2020   OB   12/31/2020   WN;1360;MDW;FLL                   JOHNSONFURT            FL                    US   97722   132056540@AIRLINE.KIWI.COM
PMH4KY   12/5/2020   OB   12/19/2020   WN;6848;ELP;HOU;WN;2256;HOU;BWI   WEST JERRY             AL                    US   74213   132056771@AIRLINE.KIWI.COM
PMYKIH   12/5/2020   OB   12/27/2020   WN;1736;STL;RDU                   WENDYTON               AR                    US   67220   132057244@AIRLINE.KIWI.COM
POZMSV   12/5/2020   OB    1/15/2021   WN;3422;LGA;DEN                   FRANKLAND              MD                    US   77779   132059191@AIRLINE.KIWI.COM
PROQGQ   12/5/2020   OB     1/3/2021   WN;3542;BNA;SAT                   KLKH KOLPASHEVO        PRIMORSKIY KRAY       RU   13601   132060885@AIRLINE.KIWI.COM
PS4WHU   12/5/2020   OB   12/25/2020   WN;3948;ATL;FLL                   NORTH JENNIFER         AZ                    US   93507   132061743@AIRLINE.KIWI.COM
PS82Z7   12/5/2020   OB    12/7/2020   WN;3111;CLT;BWI;WN;2039;BWI;CMH   NEW KRISTINCHESTER     NM                    US   73797   132061578@AIRLINE.KIWI.COM
PSM4SL   12/5/2020   OB    12/6/2020   WN;594;ITO;HNL                    TIFFANYMOUTH           NM                    US   34471   132062029@AIRLINE.KIWI.COM
PSM4SL   12/5/2020   OB    12/6/2020   WN;594;ITO;HNL                    TIFFANYMOUTH           NM                    US   34471   132062029@AIRLINE.KIWI.COM
PTCIKE   12/5/2020   OB    2/13/2021   WN;4725;DEN;PHL                   NEW LYNN               WA                    US   61694   132062524@AIRLINE.KIWI.COM
PUUFNR   12/5/2020   OB     1/3/2021   WN;4028;SFO;DEN                   HUMPHREYMOUTH          WV                    US   80680   132063393@AIRLINE.KIWI.COM
PX4HIS   12/5/2020   OB   12/13/2020   WN;1515;DEN;DTW                   LOPEZSTAD              MN                    US   40048   132064691@AIRLINE.KIWI.COM
PX4HIS   12/5/2020   OB   12/13/2020   WN;1515;DEN;DTW                   LOPEZSTAD              MN                    US   40048   132064691@AIRLINE.KIWI.COM




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PXQC7F   12/5/2020   OB   12/18/2020   WN;663;MSY;TPA                    NEW DAVIDPORT          VA                    US   19988   132065318@AIRLINE.KIWI.COM
PYN333   12/5/2020   OB     1/4/2021   WN;6887;SAT;DEN                   JUDENBURG              KARNTEN               AT   71556   132065219@AIRLINE.KIWI.COM
Q32EGO   12/6/2020   OB   12/19/2020   WN;6705;RDU;MDW                   ERICTON                TX                    US   15936   132067276@AIRLINE.KIWI.COM
Q4J4BN   12/6/2020   OB   12/30/2020   WN;1334;RIC;ATL                   DAVIDHAVEN             WY                    US   61328   132067870@AIRLINE.KIWI.COM
Q5SXXO   12/6/2020   OB   12/14/2020   WN;4517;DEN;PDX                   LAKE ROBERT            MS                    US   77725   132068673@AIRLINE.KIWI.COM
QAJQ9L   12/6/2020   OB   12/25/2020   WN;2369;DEN;LGB                   SOUTH KIMBERLYTON      OK                    US   99760   132070565@AIRLINE.KIWI.COM
QAK9VE   12/6/2020   OB   12/28/2020   WN;1188;LGB;OAK;WN;2229;OAK;SEA   WOODSHIRE              NJ                    US    9039   132070565@AIRLINE.KIWI.COM
QBKBJD   12/6/2020   OB   12/10/2020   WN;2978;BOS;BWI;WN;102;BWI;MIA    COSTELA                SANTA CATARINA        BR   95621   132071346@AIRLINE.KIWI.COM
QBWY3B   12/6/2020   OB    1/11/2021   WN;1487;SMF;HNL                   TYLERSTAD              NH                    US   74405   132071610@AIRLINE.KIWI.COM
QBWY3B   12/6/2020   OB    1/11/2021   WN;1487;SMF;HNL                   TYLERSTAD              NH                    US   74405   132071610@AIRLINE.KIWI.COM
QC6H82   12/6/2020   OB    1/14/2021   WN;1534;LAS;SMF                   SELISHCHE LEON         LUHANSKA OBLAST       UA   47414   128896768.1512860@AIRLINE.KIWI.COM
QCCMHN   12/6/2020   OB   12/24/2020   WN;3271;PHX;MDW                   TODDFORT               CO                    US   34850   132071588@AIRLINE.KIWI.COM
QCE5M4   12/6/2020   OB     3/3/2021   WN;1148;HNL;OAK;WN;4862;OAK;LAS   NORTH VERONICA         IL                    US   30120   132071610@AIRLINE.KIWI.COM
QCE5M4   12/6/2020   OB     3/3/2021   WN;1148;HNL;OAK;WN;4862;OAK;LAS   NORTH VERONICA         IL                    US   30120   132071610@AIRLINE.KIWI.COM
QD7BL8   12/6/2020   OB    1/26/2021   WN;4707;PNS;HOU;WN;3069;HOU;DEN   ROTHCHESTER            ID                    US   29547   132071973@AIRLINE.KIWI.COM
QGPDNX   12/6/2020   OB   12/13/2020   WN;6798;DEN;MCO                   K URUSMARTAN           ORLOVSKAYA OBLAST     RU     703   132072897@AIRLINE.KIWI.COM
QGX4MQ   12/6/2020   OB   12/23/2020   WN;5015;LAS;SJC                   ILAAHAABAAD            JAMMU AND KASHMIR     IN   69912   132073249@AIRLINE.KIWI.COM
QHDL37   12/6/2020   OB    1/16/2021   WN;3588;ATL;MSY                   EAST DALE              VT                    US   39773   132073491@AIRLINE.KIWI.COM
QHDL37   12/6/2020   OB    1/16/2021   WN;3588;ATL;MSY                   EAST DALE              VT                    US   39773   132073491@AIRLINE.KIWI.COM
QHIGK7   12/6/2020   OB   12/29/2020   WN;247;BNA;MDW;WN;2277;MDW;RDU    CHARLESVILLE           ND                    US   96420   132073942@AIRLINE.KIWI.COM
QHPEVD   12/6/2020   OB   12/23/2020   WN;3765;MSY;BNA;WN;2472;BNA;PHL   PORT GINA              NH                    US    6929   132073876@AIRLINE.KIWI.COM
QITSCL   12/6/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QITSCL   12/6/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT                    US   90133   132074228@AIRLINE.KIWI.COM
QJ2OGU   12/6/2020   OB    12/6/2020   WN;4933;LAX;PHX                   NORTH NATALIEVILLE     IA                    US   23233   132074470@AIRLINE.KIWI.COM
QMRSYJ   12/6/2020   OB   12/22/2020   WN;106;ABQ;PHX                    CYNTHIASHIRE           RI                    US   81709   132076505@AIRLINE.KIWI.COM
QMU68Z   12/6/2020   OB   12/17/2020   WN;1223;LAX;LAS                   TORRESFORT             AK                    US   18210   132076604@AIRLINE.KIWI.COM
QN3FSZ   12/6/2020   OB   12/19/2020   WN;2215;MIA;TPA;WN;1841;TPA;STL   PORT DANAMOUTH         NY                    US   20080   132076846@AIRLINE.KIWI.COM
QO5PIU   12/6/2020   OB   12/20/2020   WN;464;MDW;PHX                    PORT JACOBFURT         KS                    US   12590   132077264@AIRLINE.KIWI.COM
QO98WO   12/6/2020   OB   12/17/2020   WN;1315;PHX;MDW                   RICHARDMOUTH           CO                    US   94380   132077264@AIRLINE.KIWI.COM
QOM29S   12/6/2020   OB   12/11/2020   WN;3405;HOU;IND                   SOUTH MARYSHIRE        MD                    US   43174   132077451@AIRLINE.KIWI.COM
QRQV9B   12/6/2020   OB   12/24/2020   WN;1943;RSW;MDW                   LITTLE FALL 38         WY                    US    5166   132074426@AIRLINE.KIWI.COM
QRQV9B   12/6/2020   OB   12/24/2020   WN;1943;RSW;MDW                   LITTLE FALL 38         WY                    US    5166   132074426@AIRLINE.KIWI.COM
QRZYRZ   12/6/2020   OB   12/29/2020   WN;405;MDW;BNA;WN;1587;BNA;LGA    SOUTH ELIZABETHFORT    PR                    US   28403   132074426@AIRLINE.KIWI.COM
QRZYRZ   12/6/2020   OB   12/29/2020   WN;405;MDW;BNA;WN;1587;BNA;LGA    SOUTH ELIZABETHFORT    PR                    US   28403   132074426@AIRLINE.KIWI.COM
QUPK4K   12/6/2020   OB   12/14/2020   WN;3639;DEN;ONT                   INGRAMHAVEN            KY                    US   95286   132079530@AIRLINE.KIWI.COM
QUV7AJ   12/6/2020   OB   12/23/2020   WN;4375;LAS;HOU                   AMYSTAD                OR                    US   92480   132079442@AIRLINE.KIWI.COM
QUV7AJ   12/6/2020   OB   12/23/2020   WN;4375;LAS;HOU                   AMYSTAD                OR                    US   92480   132079442@AIRLINE.KIWI.COM
QUY7VG   12/6/2020   OB   12/15/2020   WN;2996;DSM;DEN                   SWEENEYVILLE           OH                    US   36833   132079475@AIRLINE.KIWI.COM
QWH9ON   12/6/2020   OB    12/6/2020   WN;3833;LGB;PHX                   HENG BANG SHI HE JIA   FUKUI                 JP    7438   132080322@AIRLINE.KIWI.COM
R2U2PA   12/6/2020   OB     1/7/2021   WN;3240;FLL;MCO                   EAST MICHAEL           OH                    US   55799   132062172.1512884@AIRLINE.KIWI.COM
R37ODE   12/6/2020   OB   12/26/2020   WN;1534;SJC;MDW;WN;64;MDW;BNA     ANDERSONSTAD           WA                    US   90672   132082082@AIRLINE.KIWI.COM
R3TGU5   12/6/2020   OB   12/26/2020   WN;1777;BNA;SJC                   MARKBURGH              VA                    US   20155   132082214@AIRLINE.KIWI.COM
RCFCYA   12/6/2020   OB   12/25/2020   WN;732;HNL;OGG                    HENG BANG SHI GANG N   TOTTORI               JP   78596   132086570@AIRLINE.KIWI.COM
RCFCYA   12/6/2020   OB   12/25/2020   WN;732;HNL;OGG                    HENG BANG SHI GANG N   TOTTORI               JP   78596   132086570@AIRLINE.KIWI.COM
RFEWV8   12/6/2020   OB    12/6/2020   WN;110;SJC;SAN                    MARTINBURGH            IA                    US   69768   132088561@AIRLINE.KIWI.COM
ROC3AU   12/6/2020   OB   12/18/2020   WN;375;CLT;MDW;WN;145;MDW;MCO     SOUTH MARYBURGH        OH                    US   93695   132095480@AIRLINE.KIWI.COM
RPS2TN   12/6/2020   OB   12/21/2020   WN;324;MIA;HOU;WN;744;HOU;AUS     REBECCAFURT            AMMOCHOSTOS           CY   98056   131592241.1513006@AIRLINE.KIWI.COM
RRNXW8   12/6/2020   OB   12/21/2020   WN;197;FLL;SJU                    GREGORYHAVEN           DE                    US   30411   132098956@AIRLINE.KIWI.COM
RSJZ9O   12/6/2020   OB   12/27/2020   WN;4832;DTW;BNA;WN;6737;BNA;CHS   SAMANTHAVILLE          RI                    US   58752   132099462@AIRLINE.KIWI.COM
RSJZ9O   12/6/2020   RT   12/31/2020   WN;2151;CHS;BNA;WN;4149;BNA;DTW   SAMANTHAVILLE          RI                    US   58752   132099462@AIRLINE.KIWI.COM
RT2TMY   12/6/2020   OB   12/23/2020   WN;1061;TPA;MIA                   WEST GERARDMOUTH       TELFORD AND WREKIN    GB   46461   132099759@AIRLINE.KIWI.COM
RY3VOL   12/6/2020   OB    12/6/2020   WN;2823;ATL;BWI;WN;2823;BWI;ROC   NEW JOHNSHIRE          IN                    US   62719   132105369@AIRLINE.KIWI.COM
S247CR   12/6/2020   OB    12/6/2020   WN;4141;MIA;TPA                   SOUTH MICHAEL          SD                    US   40533   130992994@AIRLINE.KIWI.COM
S2FROV   12/6/2020   OB   12/20/2020   WN;593;DEN;HOU                    WEST DAVIDFORT         ME                    US   91335   132107701@AIRLINE.KIWI.COM
S2FROV   12/6/2020   OB   12/20/2020   WN;593;DEN;HOU                    WEST DAVIDFORT         ME                    US   91335   132107701@AIRLINE.KIWI.COM
S2Q63H   12/6/2020   OB   12/28/2020   WN;221;OKC;ATL;WN;221;ATL;IAD     POWERSVILLE            MD                    US   50075   132106964@AIRLINE.KIWI.COM
S3DOLS   12/6/2020   OB     1/6/2021   WN;667;AUS;FLL                    SALES DO AMPARO        FERNANDO DE NORONHA   BR   91398   132108548@AIRLINE.KIWI.COM
S3RW8A   12/6/2020   OB   12/23/2020   WN;1700;CMH;MCO                   LAKE JORGE             DE                    US   12479   132109065@AIRLINE.KIWI.COM
S3RW8A   12/6/2020   OB   12/23/2020   WN;1700;CMH;MCO                   LAKE JORGE             DE                    US   12479   132109065@AIRLINE.KIWI.COM
S3RW8A   12/6/2020   RT     1/2/2021   WN;633;MCO;CMH                    LAKE JORGE             DE                    US   12479   132109065@AIRLINE.KIWI.COM
S3RW8A   12/6/2020   RT     1/2/2021   WN;633;MCO;CMH                    LAKE JORGE             DE                    US   12479   132109065@AIRLINE.KIWI.COM
S3UOXW   12/6/2020   OB    12/6/2020   WN;4720;DEN;SAN;WN;4720;SAN;SFO   JEFFREYFORT            LA                    US   13256   127728964.1513066@AIRLINE.KIWI.COM
S4O7XZ   12/6/2020   OB    1/13/2021   WN;5084;LAS;OAK                   PATRICIABURGH          NJ                    US   18588   132110154@AIRLINE.KIWI.COM
S4PZQJ   12/6/2020   OB    1/13/2021   WN;1541;HOU;LAS                   NORTH JENNIFERBOROUG   LA                    US    9201   132110154@AIRLINE.KIWI.COM
S6AQ5R   12/6/2020   OB   12/19/2020   WN;1948;MSY;BNA;WN;2001;BNA;DTW   SELISHCHE KLAVDIIA     ZHYTOMYRSKA OBLAST    UA   10916   132111727@AIRLINE.KIWI.COM
S7UFLJ   12/6/2020   OB   12/27/2020   WN;3133;STL;BNA;WN;4053;BNA;RDU   ROBERTBOROUGH          WV                    US   37945   132057244.1513101@AIRLINE.KIWI.COM
S8BTTQ   12/6/2020   OB   12/23/2020   WN;4767;MDW;DEN;WN;4767;DEN;SFO   WOODVIEW               CO                    US   87766   132113663@AIRLINE.KIWI.COM
S8BTTQ   12/6/2020   RT   12/27/2020   WN;4077;SFO;LAX;WN;4077;LAX;MDW   WOODVIEW               CO                    US   87766   132113663@AIRLINE.KIWI.COM
S9PNIY   12/6/2020   OB   12/16/2020   WN;4820;DEN;LIT                   RODNEYFORT             KY                    US   89643   132115302@AIRLINE.KIWI.COM
SA9K35   12/6/2020   OB   12/15/2020   WN;3642;LAS;HOU                   SAN CAROLINA DE LA M   HIDALGO               MX   25609   132116369@AIRLINE.KIWI.COM
SA9K35   12/6/2020   OB   12/15/2020   WN;3642;LAS;HOU                   SAN CAROLINA DE LA M   HIDALGO               MX   25609   132116369@AIRLINE.KIWI.COM
SA9K35   12/6/2020   OB   12/15/2020   WN;3642;LAS;HOU                   SAN CAROLINA DE LA M   HIDALGO               MX   25609   132116369@AIRLINE.KIWI.COM
SA9K35   12/6/2020   OB   12/15/2020   WN;3642;LAS;HOU                   SAN CAROLINA DE LA M   HIDALGO               MX   25609   132116369@AIRLINE.KIWI.COM
SBCUFL   12/6/2020   OB    12/6/2020   WN;3907;LAS;LAX                   PORT DAVIDSIDE         NE                    US   51370   132116842@AIRLINE.KIWI.COM
SBCUFL   12/6/2020   OB    12/6/2020   WN;3907;LAS;LAX                   PORT DAVIDSIDE         NE                    US   51370   132116842@AIRLINE.KIWI.COM
SBMTQK   12/6/2020   OB   12/13/2020   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TURNERSTAD             OR                    US   33904   132117953@AIRLINE.KIWI.COM
SBMTQK   12/6/2020   OB   12/13/2020   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TURNERSTAD             OR                    US   33904   132117953@AIRLINE.KIWI.COM
SC6U9L   12/6/2020   OB   12/21/2020   WN;260;PHX;MDW                    EAST VALERIETON        OK                    US   60170   132118327@AIRLINE.KIWI.COM
SEL8TI   12/6/2020   OB   12/23/2020   WN;1904;ABQ;MDW                   GONZALEZBURY           IA                    US    6476   132121693@AIRLINE.KIWI.COM
SEZLP5   12/6/2020   OB    12/8/2020   WN;4480;ORF;BWI;WN;822;BWI;SJU    BILGEMOUTH             TOKAT                 TR     722   132121770@AIRLINE.KIWI.COM
SFBMUZ   12/6/2020   OB   12/23/2020   WN;1620;PHX;LAS                   WUPORT                 HI                    US   90527   132123013@AIRLINE.KIWI.COM
SFBMUZ   12/6/2020   OB   12/23/2020   WN;1620;PHX;LAS                   WUPORT                 HI                    US   90527   132123013@AIRLINE.KIWI.COM
SGFEG4   12/6/2020   OB   12/30/2020   WN;1109;SEA;SJC;WN;1564;SJC;PHX   NORTH NICHOLAS         GA                    US   30156   132123596@AIRLINE.KIWI.COM
SGFEG4   12/6/2020   OB   12/30/2020   WN;1109;SEA;SJC;WN;1564;SJC;PHX   NORTH NICHOLAS         GA                    US   30156   132123596@AIRLINE.KIWI.COM
SHW9PU   12/6/2020   OB    12/9/2020   WN;2576;PHX;HOU;WN;661;HOU;MIA    REIJMERSTOK            SABA                  NL   76687   132121935@AIRLINE.KIWI.COM
SP4KT5   12/6/2020   OB   12/20/2020   WN;1545;STL;MKE                   TORNIO                 KANTAHAME             FI   76654   132124289@AIRLINE.KIWI.COM
SPDKDC   12/6/2020   OB     1/2/2021   WN;878;CLE;MDW                    MELIN                  VLAAMSBRABANT         BE   40239   132124289@AIRLINE.KIWI.COM
SPRAS2   12/6/2020   OB   12/27/2020   WN;3918;BOS;BNA                   CANTABRIA              TERUEL                ES   85440   132133749@AIRLINE.KIWI.COM
SPRAS2   12/6/2020   RT    1/19/2021   WN;2978;BNA;BOS                   CANTABRIA              TERUEL                ES   85440   132133749@AIRLINE.KIWI.COM
SSQCSF   12/6/2020   OB   12/29/2020   WN;846;ATL;RIC                    JASONVILLE             NC                    US   53897   132136895@AIRLINE.KIWI.COM
ST9ZC9   12/6/2020   OB   12/16/2020   WN;1664;DEN;MEM                   WEST KYLE              CROYDON               GB   18464   132137181@AIRLINE.KIWI.COM
STSMP6   12/6/2020   OB   12/23/2020   WN;1058;MIA;BWI;WN;1894;BWI;BNA   DALTONBOROUGH          OH                    US   71192   132137258@AIRLINE.KIWI.COM
SUQ4A6   12/6/2020   OB     1/4/2021   WN;6937;LAX;HOU                   RIOSFORT               OH                    US   57342   132138402@AIRLINE.KIWI.COM
SUTWNV   12/6/2020   OB   12/31/2020   WN;3140;DTW;MDW;WN;2346;MDW;MCI   NEW LAURENTON          AL                    US   23340   132138842@AIRLINE.KIWI.COM
SVNLGM   12/6/2020   OB   12/14/2020   WN;2516;HOU;MCO                   CHAVEZBERG             MS                    US   96536   132139161@AIRLINE.KIWI.COM
SXBFSL   12/6/2020   OB   12/17/2020   WN;1352;ATL;HOU;WN;6933;HOU;LAX   SOUTH PAIGESTAD        TN                    US   99476   132140866@AIRLINE.KIWI.COM
SY35K3   12/6/2020   OB    1/17/2021   WN;4720;DTW;DEN                   GILLTOWN               MS                    US   88999   131044804.1513276@AIRLINE.KIWI.COM
2NHJMV   12/7/2020   OB     1/3/2021   WN;1844;DAL;BWI                   ELAINEBERG             LEWISHAM              GB   88002   132185438@AIRLINE.KIWI.COM
2PICMT   12/7/2020   OB   12/14/2020   WN;2577;MIA;HOU;WN;3405;HOU;IND   ROBERTFORT             IL                    US   36710   132190828@AIRLINE.KIWI.COM
2POYWP   12/7/2020   OB    12/7/2020   WN;3223;MDW;MEM                   LAKE MICHAEL           NV                    US   49313   132191026@AIRLINE.KIWI.COM
2QS4QP   12/7/2020   OB    2/27/2021   WN;3808;ATL;DEN                   WEST CHRISTOPHERBURY   UT                    US    6774   131986954.1513605@AIRLINE.KIWI.COM




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2QS4QP   12/7/2020   OB    2/27/2021   WN;3808;ATL;DEN                   WEST CHRISTOPHERBURY   UT                      US    6774   131986954.1513605@AIRLINE.KIWI.COM
2QS4QP   12/7/2020   OB    2/27/2021   WN;3808;ATL;DEN                   WEST CHRISTOPHERBURY   UT                      US    6774   131986954.1513605@AIRLINE.KIWI.COM
2RIRLA   12/7/2020   OB   12/27/2020   WN;3602;MDW;JAX                   CARTERMOUTH            FL                      US   29961   132196691@AIRLINE.KIWI.COM
2RY3TO   12/7/2020   OB   12/15/2020   WN;4512;PDX;DEN;WN;4192;DEN;MCO   KHUTIR GEORGII         MYKOLAIVSKA OBLAST      UA   18038   132196394@AIRLINE.KIWI.COM
2RY3TO   12/7/2020   OB   12/15/2020   WN;4512;PDX;DEN;WN;4192;DEN;MCO   KHUTIR GEORGII         MYKOLAIVSKA OBLAST      UA   18038   132196394@AIRLINE.KIWI.COM
2S4XJQ   12/7/2020   OB   12/11/2020   WN;2558;MDW;BOS                   HANNAMOUTH             AL                      US    7812   132198737@AIRLINE.KIWI.COM
2S9S5L   12/7/2020   OB    12/7/2020   WN;2835;STL;BWI                   NEW CHRISTINEHAVEN     UT                      US   98082   132199144@AIRLINE.KIWI.COM
2SEQLQ   12/7/2020   OB   12/13/2020   WN;2510;BOS;MDW                   SAMPSONPORT            GA                      US   61369   132199595@AIRLINE.KIWI.COM
2UELYN   12/7/2020   OB     1/2/2021   WN;2293;TUL;STL                   ANTHONYBERG            CT                      US   17067   132204160@AIRLINE.KIWI.COM
2UELYN   12/7/2020   OB     1/2/2021   WN;2293;TUL;STL                   ANTHONYBERG            CT                      US   17067   132204160@AIRLINE.KIWI.COM
2UR4DG   12/7/2020   OB    12/7/2020   WN;3803;ATL;MSY                   SAMANTHAVIEW           DE                      US   58338   132206118@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2V9DCZ   12/7/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS                      US   29017   132206844@AIRLINE.KIWI.COM
2VFLEV   12/7/2020   OB    12/7/2020   WN;6709;OAK;LAS                   PORT AMANDA            OH                      US   43649   132207768@AIRLINE.KIWI.COM
2VSUQ7   12/7/2020   OB   12/26/2020   WN;2053;RDU;BWI                   AARONFORT              UT                      US   37800   132208560@AIRLINE.KIWI.COM
2VWP6J   12/7/2020   OB   12/11/2020   WN;2016;ATL;BWI;WN;102;BWI;MIA    EAST RYANHAVEN         IA                      US   51674   132208945@AIRLINE.KIWI.COM
2VWP6J   12/7/2020   RT   12/13/2020   WN;4141;MIA;TPA;WN;5011;TPA;ATL   EAST RYANHAVEN         IA                      US   51674   132208945@AIRLINE.KIWI.COM
2WLWZ9   12/7/2020   OB   12/24/2020   WN;244;BOS;BWI;WN;4719;BWI;DTW    PORT JEFFREYCHESTER    GA                      US   85396   132209418@AIRLINE.KIWI.COM
2WQKDW   12/7/2020   OB   12/18/2020   WN;773;DTW;BNA;WN;831;BNA;ATL     PORT CAROLINE          NE                      US   91942   132211541@AIRLINE.KIWI.COM
2XHKRX   12/7/2020   OB   12/31/2020   WN;352;ROC;BWI;WN;1646;BWI;ATL    LAKE ELIZABETHVIEW     OK                      US   49419   132212267@AIRLINE.KIWI.COM
2XHKRX   12/7/2020   RT     1/4/2021   WN;1087;ATL;BWI;WN;395;BWI;ROC    LAKE ELIZABETHVIEW     OK                      US   49419   132212267@AIRLINE.KIWI.COM
2XZ8VE   12/7/2020   OB     1/3/2021   WN;2106;LAS;DEN                   JACKSONBERG            LA                      US   54379   132215853@AIRLINE.KIWI.COM
2XZ8VE   12/7/2020   OB     1/3/2021   WN;2106;LAS;DEN                   JACKSONBERG            LA                      US   54379   132215853@AIRLINE.KIWI.COM
2XZ8VE   12/7/2020   OB     1/3/2021   WN;2106;LAS;DEN                   JACKSONBERG            LA                      US   54379   132215853@AIRLINE.KIWI.COM
2Y467B   12/7/2020   OB   12/22/2020   WN;1124;OAK;LAS                   RONALDCHESTER          HI                      US   94818   132216557@AIRLINE.KIWI.COM
2YHYM2   12/7/2020   OB     1/1/2021   WN;5037;DEN;BWI;WN;5013;BWI;ORF   NEW ANTHONY            PA                      US   64352   132217096@AIRLINE.KIWI.COM
2YHYM2   12/7/2020   OB     1/1/2021   WN;5037;DEN;BWI;WN;5013;BWI;ORF   NEW ANTHONY            PA                      US   64352   132217096@AIRLINE.KIWI.COM
2YPISY   12/7/2020   OB    1/13/2021   WN;3422;LGA;DEN                   G CHELIABINSK          ADYGEYA RESPUBLIKA      RU   41132   132218240@AIRLINE.KIWI.COM
2YS6YK   12/7/2020   OB    1/19/2021   WN;2827;DEN;LGA                   G ERBOGACHEN           VOLGOGRADSKAYA OBLAST   RU    5858   132218240@AIRLINE.KIWI.COM
2Z7I4F   12/7/2020   OB    12/8/2020   WN;2026;ATL;DEN;WN;2029;DEN;SFO   EAST ADAM              AZ                      US   64380   132219516@AIRLINE.KIWI.COM
2Z7I4F   12/7/2020   OB    12/8/2020   WN;2026;ATL;DEN;WN;2029;DEN;SFO   EAST ADAM              AZ                      US   64380   132219516@AIRLINE.KIWI.COM
2ZCQMT   12/7/2020   OB   12/17/2020   WN;507;PHX;SEA                    WELCHLAND              SD                      US   71592   127629062.1513781@AIRLINE.KIWI.COM
2ZY5Q5   12/7/2020   OB   12/15/2020   WN;218;MDW;CUN                    PORT KRYSTAL           GA                      US   69188   132222662@AIRLINE.KIWI.COM
34HK3N   12/7/2020   OB     1/3/2021   WN;3464;HOU;MCO                   NORTH TYLERSHIRE       NC                      US   42318   132228294@AIRLINE.KIWI.COM
34VIJJ   12/7/2020   OB   12/17/2020   WN;2888;CLT;DEN                   JUSTINMOUTH            ND                      US   44523   132230835@AIRLINE.KIWI.COM
35D25A   12/7/2020   OB   12/27/2020   WN;1926;ABQ;PHX                   WEST ANTHONY           PA                      US   80563   132231770@AIRLINE.KIWI.COM
35LUER   12/7/2020   OB   12/31/2020   WN;2083;AUS;BWI                   EAST BRANDON           NY                      US   69596   132233343@AIRLINE.KIWI.COM
36TXYF   12/7/2020   OB    12/8/2020   WN;4780;LAS;BOI                   LAKE ETHANBOROUGH      MS                      US   14538   132235862@AIRLINE.KIWI.COM
37E6QD   12/7/2020   OB   12/30/2020   WN;24;HOU;DAL                     ROKYCANY               BRATISLAVSKY KRAJ       SK   72324   132237116@AIRLINE.KIWI.COM
37E6T3   12/7/2020   OB   12/15/2020   WN;3103;LAS;HOU                   NICOLEFURT             IA                      US   53666   132237666@AIRLINE.KIWI.COM
37NF9F   12/7/2020   OB   12/23/2020   WN;1478;BWI;CLT                   SOUTH ALYSSASIDE       FL                      US   67659   132238205@AIRLINE.KIWI.COM
37OFYS   12/7/2020   OB   12/30/2020   WN;1361;DEN;MEM                   NEW ERICTOWN           IN                      US    4720   132237941@AIRLINE.KIWI.COM
38AS8I   12/7/2020   OB   12/23/2020   WN;332;MIA;BWI;WN;1721;BWI;STL    WHITNEYSHIRE           OR                      US   64327   132238964@AIRLINE.KIWI.COM
38HDUS   12/7/2020   OB   12/24/2020   WN;4900;LGB;SMF                   JOHNMOUTH              ID                      US   33811   132239382@AIRLINE.KIWI.COM
38HDUS   12/7/2020   RT   12/27/2020   WN;2269;SMF;LGB                   JOHNMOUTH              ID                      US   33811   132239382@AIRLINE.KIWI.COM
38VCP4   12/7/2020   OB    1/28/2021   WN;2570;BWI;MHT                   TARABURGH              GA                      US   70364   132239877@AIRLINE.KIWI.COM
38WNA4   12/7/2020   OB     1/1/2021   WN;3254;AUS;ATL;WN;3254;ATL;RDU   MOORESIDE              CO                      US   31706   132239822@AIRLINE.KIWI.COM
38WNA4   12/7/2020   OB     1/1/2021   WN;3254;AUS;ATL;WN;3254;ATL;RDU   MOORESIDE              CO                      US   31706   132239822@AIRLINE.KIWI.COM
39EEHX   12/7/2020   OB   12/14/2020   WN;332;MIA;BWI;WN;3111;BWI;BOS    JOYSHIRE               MA                      US   61163   132240900@AIRLINE.KIWI.COM
T3LEYS   12/7/2020   OB   12/15/2020   WN;1950;MCO;HOU                   NEW DIANA              SD                      US   88426   132143385@AIRLINE.KIWI.COM
T3LEYS   12/7/2020   OB   12/15/2020   WN;1950;MCO;HOU                   NEW DIANA              SD                      US   88426   132143385@AIRLINE.KIWI.COM
T3OVZW   12/7/2020   OB   12/10/2020   WN;2730;CLT;DEN                   MORRISBOROUGH          AK                      US   30930   132143451@AIRLINE.KIWI.COM
T54CMF   12/7/2020   OB    1/24/2021   WN;3655;MDW;LAX                   JOSEPHSHIRE            IL                      US   21986   132144936@AIRLINE.KIWI.COM
T59OCR   12/7/2020   OB    1/20/2021   WN;3920;LAX;MDW                   PORT MELISSAHAVEN      NV                      US   25802   132144936@AIRLINE.KIWI.COM
T685XV   12/7/2020   OB   12/20/2020   WN;956;SAT;HOU;WN;27;HOU;LAX      MOOREHAVEN             TX                      US   37453   132145519@AIRLINE.KIWI.COM
T685XV   12/7/2020   OB   12/20/2020   WN;956;SAT;HOU;WN;27;HOU;LAX      MOOREHAVEN             TX                      US   37453   132145519@AIRLINE.KIWI.COM
T7288O   12/7/2020   OB   12/12/2020   WN;2364;BWI;DEN;WN;2379;DEN;SEA   WEST ROBERT            WI                      US   23110   132146025@AIRLINE.KIWI.COM
T7V4ZB   12/7/2020   OB   12/22/2020   WN;1320;MCO;FLL                   LAKE KYLEFURT          WV                      US   19640   132146080@AIRLINE.KIWI.COM
T8N5ZE   12/7/2020   OB    1/26/2021   WN;1667;SLC;PHX                   MADISONSTAD            NE                      US   96196   132146806@AIRLINE.KIWI.COM
TB9ZNX   12/7/2020   OB    12/7/2020   WN;3757;LAX;OAK                   SOUTH KYLEBERG         TN                      US   37291   132148434@AIRLINE.KIWI.COM
TBGT6Z   12/7/2020   OB   12/23/2020   WN;4797;RDU;BWI;WN;1744;BWI;DTW   LAKE DAVIDFORT         NH                      US   21651   132148610@AIRLINE.KIWI.COM
TBGT6Z   12/7/2020   RT   12/30/2020   WN;6907;DTW;MDW;WN;2277;MDW;RDU   LAKE DAVIDFORT         NH                      US   21651   132148610@AIRLINE.KIWI.COM
TBLHDG   12/7/2020   OB    12/7/2020   WN;332;MIA;BWI;WN;3933;BWI;DTW    NORTH HEATHER          HI                      US   15063   132148335@AIRLINE.KIWI.COM
TCI8GW   12/7/2020   OB   12/13/2020   WN;4941;LAS;MDW                   JONATHANMOUTH          KS                      US    6720   132148962@AIRLINE.KIWI.COM
TD98MZ   12/7/2020   OB   12/13/2020   WN;4941;LAS;MDW                   ADAMSBERG              RI                      US   96131   132148962@AIRLINE.KIWI.COM
TE3XZV   12/7/2020   OB   12/17/2020   WN;527;IND;BWI                    DAWSONSHIRE            DIEKIRCH                LU   66182   132149941@AIRLINE.KIWI.COM
TI4V8A   12/7/2020   OB   12/15/2020   WN;3285;DEN;SFO                   SAN SERAFIN DE LA MO   OAXACA                  MX   47258   132153021@AIRLINE.KIWI.COM
TIG2VI   12/7/2020   OB   12/20/2020   WN;238;CHS;BWI                    HUELVA                 ALAVA                   ES   87626   132153164@AIRLINE.KIWI.COM
TIG2VI   12/7/2020   OB   12/20/2020   WN;238;CHS;BWI                    HUELVA                 ALAVA                   ES   87626   132153164@AIRLINE.KIWI.COM
TKUZN2   12/7/2020   OB   12/24/2020   WN;1466;SLC;LAS;WN;2615;LAS;SNA   PORT SCOTT             NJ                      US   92582   132154627@AIRLINE.KIWI.COM
TL3N3S   12/7/2020   OB   12/24/2020   WN;1466;SLC;LAS;WN;2615;LAS;SNA   ANDERSONBURY           OR                      US    2172   132154847@AIRLINE.KIWI.COM
TL65YO   12/7/2020   OB   12/12/2020   WN;1934;BOS;BWI;WN;2150;BWI;MIA   KAUNKAFORT             BURGAS                  BG   84461   132154539@AIRLINE.KIWI.COM
TLD7U7   12/7/2020   OB   12/24/2020   WN;1466;SLC;LAS;WN;2615;LAS;SNA   SOUTH AARONPORT        VT                      US    4129   132154660@AIRLINE.KIWI.COM
TLPZBR   12/7/2020   OB   12/24/2020   WN;1466;SLC;LAS;WN;2615;LAS;SNA   LAKE ANGELAFURT        CO                      US    7170   132155045@AIRLINE.KIWI.COM
TLVTIK   12/7/2020   OB   12/28/2020   WN;1225;BWI;CHS                   PORT ARIEL             IL                      US   58104   132155430@AIRLINE.KIWI.COM
TM4GOT   12/7/2020   OB   12/17/2020   WN;2452;DEN;MSY                   PORT KIMBERLY          MS                      US   59344   132155397@AIRLINE.KIWI.COM
TOJNDT   12/7/2020   OB    12/9/2020   WN;4724;PVD;BWI;WN;4977;BWI;RSW   ROBERTSONBERG          NJ                      US    3398   132156321@AIRLINE.KIWI.COM
TOMDVZ   12/7/2020   OB   12/26/2020   WN;283;DTW;MDW;WN;1825;MDW;OMA    DARRELLBURGH           PA                      US   93507   132156420@AIRLINE.KIWI.COM
TPTBKW   12/7/2020   OB    12/9/2020   WN;4465;ONT;LAS                   NEW CHRISTINATOWN      ME                      US    8613   132157300@AIRLINE.KIWI.COM
TQPEEZ   12/7/2020   OB   12/21/2020   WN;1429;OAK;DEN                   EAST BLAKE             ID                      US   80890   132157619@AIRLINE.KIWI.COM
TQPEEZ   12/7/2020   RT   12/26/2020   WN;951;DEN;OAK                    EAST BLAKE             ID                      US   80890   132157619@AIRLINE.KIWI.COM
TR7XR7   12/7/2020   OB   12/21/2020   WN;1429;OAK;DEN                   AMBERTOWN              FL                      US   86600   132157608@AIRLINE.KIWI.COM
TR7XR7   12/7/2020   RT   12/26/2020   WN;951;DEN;OAK                    AMBERTOWN              FL                      US   86600   132157608@AIRLINE.KIWI.COM
TV43G7   12/7/2020   OB    1/20/2021   WN;3924;MCI;MDW                   PORT CHELSEA           KAFR ASH SHAYKH         EG   21667   132159830@AIRLINE.KIWI.COM
TW7IYJ   12/7/2020   OB   12/11/2020   WN;2026;ATL;DEN;WN;2029;DEN;SFO   SOUTH HANNAHFORT       MD                      US   32382   132160391@AIRLINE.KIWI.COM
TW7IYJ   12/7/2020   OB   12/11/2020   WN;2026;ATL;DEN;WN;2029;DEN;SFO   SOUTH HANNAHFORT       MD                      US   32382   132160391@AIRLINE.KIWI.COM
TWXP2L   12/7/2020   OB     1/8/2021   WN;2516;BWI;HOU                   EAST DALE              CO                      US   62187   132160963@AIRLINE.KIWI.COM
TWXP2L   12/7/2020   RT    1/11/2021   WN;149;HOU;BWI                    EAST DALE              CO                      US   62187   132160963@AIRLINE.KIWI.COM
U2KCRU   12/7/2020   OB   12/19/2020   WN;2365;SJC;BUR                   DEREKHAVEN             LA                      US   47794   132162877@AIRLINE.KIWI.COM
U84MJH   12/7/2020   OB   12/22/2020   WN;198;SJU;MCO;WN;198;MCO;MKE     CRAIGBOROUGH           GA                      US   22517   132167673@AIRLINE.KIWI.COM
U84MJH   12/7/2020   OB   12/22/2020   WN;198;SJU;MCO;WN;198;MCO;MKE     CRAIGBOROUGH           GA                      US   22517   132167673@AIRLINE.KIWI.COM
UBCEK3   12/7/2020   OB     1/2/2021   WN;1290;SAT;DEN;WN;1521;DEN;MSP   KELLYBOROUGH           DE                      US   40926   132170533@AIRLINE.KIWI.COM
UBP5L5   12/7/2020   OB   12/29/2020   WN;891;MSP;MCO;WN;655;MCO;SAT     NORTH MARIO            KY                      US   75337   132170533@AIRLINE.KIWI.COM
UHUA5S   12/7/2020   OB   12/23/2020   WN;6878;ATL;MEM                   LAKE SCOTT             NY                      US    8536   132177892@AIRLINE.KIWI.COM
UHUA5S   12/7/2020   RT   12/27/2020   WN;2233;MEM;ATL                   LAKE SCOTT             NY                      US    8536   132177892@AIRLINE.KIWI.COM
39V6FC   12/8/2020   OB   12/15/2020   WN;4246;MSY;HOU;WN;3294;HOU;MIA   COLLEENVIEW            UT                      US    8255   132237215@AIRLINE.KIWI.COM
3AOJNW   12/8/2020   OB   12/13/2020   WN;4945;ELP;PHX;WN;1077;PHX;ONT   CALEBBURY              PA                      US   12030   132243166@AIRLINE.KIWI.COM
3ARIVQ   12/8/2020   OB   12/21/2020   WN;548;ELP;PHX;WN;787;PHX;RDU     JASMINELAND            MN                      US   88150   132243078@AIRLINE.KIWI.COM
3ASBYK   12/8/2020   OB   12/28/2020   WN;1333;GSP;ATL;WN;1333;ATL;RIC   PRATTHAVEN             WV                      US   42984   132243232@AIRLINE.KIWI.COM
3AUUAM   12/8/2020   OB   12/11/2020   WN;4072;LAS;BUR                   MARTINFURT             LA                      US   61728   132243947@AIRLINE.KIWI.COM
3BCUN8   12/8/2020   OB   12/28/2020   WN;1044;MHT;BWI;WN;1319;BWI;BNA   SOUTH CHARLESHAVEN     IA                      US   12580   132244651@AIRLINE.KIWI.COM




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3BCUN8   12/8/2020   RT     1/6/2021   WN;1335;BNA;BWI;WN;2241;BWI;MHT        SOUTH CHARLESHAVEN    IA                        US   12580   132244651@AIRLINE.KIWI.COM
3BLZEG   12/8/2020   OB   12/26/2020   WN;1626;SMF;LAS                        DENISEBERG            VA                        US   27273   132244563@AIRLINE.KIWI.COM
3CBS6Z   12/8/2020   OB   12/13/2020   WN;4776;BWI;AUS                        SHANNONMOUTH          MO                        US   26632   132245960@AIRLINE.KIWI.COM
3CCK3U   12/8/2020   OB   12/23/2020   WN;2515;IND;DEN;WN;1797;DEN;OMA        SOUTH ALEXANDRIA      HI                        US   69017   132245883@AIRLINE.KIWI.COM
3CYFO6   12/8/2020   OB   12/28/2020   WN;782;MSP;MDW;WN;499;MDW;HOU          HUERTASTAD            IN                        US   99699   132247192@AIRLINE.KIWI.COM
3CYP8X   12/8/2020   OB     1/6/2021   WN;915;DEN;MKE                         NEW GAVIN             TN                        US   47363   132247225@AIRLINE.KIWI.COM
3CYP8X   12/8/2020   OB     1/6/2021   WN;915;DEN;MKE                         NEW GAVIN             TN                        US   47363   132247225@AIRLINE.KIWI.COM
3CYP8X   12/8/2020   OB     1/6/2021   WN;915;DEN;MKE                         NEW GAVIN             TN                        US   47363   132247225@AIRLINE.KIWI.COM
3CYP8X   12/8/2020   OB     1/6/2021   WN;915;DEN;MKE                         NEW GAVIN             TN                        US   47363   132247225@AIRLINE.KIWI.COM
3D7WWQ   12/8/2020   OB     1/5/2021   WN;1519;LAX;DEN                        SOUTH JESUSMOUTH      ME                        US   45070   132247225@AIRLINE.KIWI.COM
3D7WWQ   12/8/2020   OB     1/5/2021   WN;1519;LAX;DEN                        SOUTH JESUSMOUTH      ME                        US   45070   132247225@AIRLINE.KIWI.COM
3D7WWQ   12/8/2020   OB     1/5/2021   WN;1519;LAX;DEN                        SOUTH JESUSMOUTH      ME                        US   45070   132247225@AIRLINE.KIWI.COM
3D7WWQ   12/8/2020   OB     1/5/2021   WN;1519;LAX;DEN                        SOUTH JESUSMOUTH      ME                        US   45070   132247225@AIRLINE.KIWI.COM
3DCQKO   12/8/2020   OB   12/14/2020   WN;3927;PHX;DAL                        PORT AMBER            TX                        US   46813   132247489@AIRLINE.KIWI.COM
3DKBXF   12/8/2020   OB   12/19/2020   WN;1404;RDU;BWI;WN;1788;BWI;BDL        NEW JULIAVIEW         CO                        US   77803   132248072@AIRLINE.KIWI.COM
3DV4DW   12/8/2020   OB    1/15/2021   WN;1607;BWI;CUN                        GROSUPLJE             NOVO MESTO                SI   52115   132248809@AIRLINE.KIWI.COM
3DV4DW   12/8/2020   RT    1/19/2021   WN;1608;CUN;BWI                        GROSUPLJE             NOVO MESTO                SI   52115   132248809@AIRLINE.KIWI.COM
3DWBE5   12/8/2020   OB   12/28/2020   WN;1300;PHX;SAT                        ESPINOZAMOUTH         ND                        US   12228   132248699@AIRLINE.KIWI.COM
3E35QR   12/8/2020   OB     1/3/2021   WN;3939;TUS;DEN                        SUSANHAVEN            CO                        US   33151   132249128@AIRLINE.KIWI.COM
3E35QR   12/8/2020   OB     1/3/2021   WN;3939;TUS;DEN                        SUSANHAVEN            CO                        US   33151   132249128@AIRLINE.KIWI.COM
3E3FNR   12/8/2020   OB   12/21/2020   WN;326;SAT;PHX                         ALEXANDERLAND         NM                        US   75504   132248699@AIRLINE.KIWI.COM
3EIDK8   12/8/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA        LANECHESTER           GA                        US   28309   132249678@AIRLINE.KIWI.COM
3EIDK8   12/8/2020   OB    2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA        LANECHESTER           GA                        US   28309   132249678@AIRLINE.KIWI.COM
3EIDK8   12/8/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL        LANECHESTER           GA                        US   28309   132249678@AIRLINE.KIWI.COM
3EIDK8   12/8/2020   RT    2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL        LANECHESTER           GA                        US   28309   132249678@AIRLINE.KIWI.COM
3FICQK   12/8/2020   OB    1/28/2021   WN;4547;PHL;ATL                        MARYBURY              AL                        US   13536   132250734@AIRLINE.KIWI.COM
3GCP7R   12/8/2020   OB   12/21/2020   WN;1162;STL;DEN                        MHOTTRII              MECHI                     NP   80004   132252032@AIRLINE.KIWI.COM
3GOW9V   12/8/2020   OB   12/31/2020   WN;1966;DEN;LAS                        ZGORZELEC             LODZKIE                   PL   91236   132252934@AIRLINE.KIWI.COM
3H37AP   12/8/2020   OB   12/14/2020   WN;3212;TPA;MDW                        WEST ALEXANDERBERG    AK                        US   44112   132253517@AIRLINE.KIWI.COM
3H7TK2   12/8/2020   OB   12/25/2020   WN;3228;LIT;DEN                        LEEBURY               UT                        US   96122   132253297@AIRLINE.KIWI.COM
3H9AMD   12/8/2020   OB   12/28/2020   WN;100;ABQ;DAL                         NORTH JULIELAND       WA                        US   95935   132253297@AIRLINE.KIWI.COM
3HH8EG   12/8/2020   OB   12/17/2020   WN;2888;CLT;DEN                        NEVEKLOV              ZNOJMO                    CZ   13548   132253891@AIRLINE.KIWI.COM
3HH8EG   12/8/2020   OB   12/17/2020   WN;2888;CLT;DEN                        NEVEKLOV              ZNOJMO                    CZ   13548   132253891@AIRLINE.KIWI.COM
3HH8EG   12/8/2020   OB   12/17/2020   WN;2888;CLT;DEN                        NEVEKLOV              ZNOJMO                    CZ   13548   132253891@AIRLINE.KIWI.COM
3HH8EG   12/8/2020   OB   12/17/2020   WN;2888;CLT;DEN                        NEVEKLOV              ZNOJMO                    CZ   13548   132253891@AIRLINE.KIWI.COM
3HH8EG   12/8/2020   OB   12/17/2020   WN;2888;CLT;DEN                        NEVEKLOV              ZNOJMO                    CZ   13548   132253891@AIRLINE.KIWI.COM
3I6NCG   12/8/2020   OB     1/7/2021   WN;4720;SAN;SFO                        LAKE JACKIEBURY       IN                        US   35633   132254441@AIRLINE.KIWI.COM
3I8A8U   12/8/2020   OB   12/27/2020   WN;1811;ONT;MDW;WN;2526;MDW;CHS        ROBINSONFURT          MT                        US   89925   132254628@AIRLINE.KIWI.COM
3IAEBE   12/8/2020   OB     1/4/2021   WN;984;ATL;BWI;WN;1580;BWI;MDW         RONALDMOUTH           ID                        US   24816   132254782@AIRLINE.KIWI.COM
3IHHKA   12/8/2020   OB   12/28/2020   WN;221;ATL;IAD                         LAKE STEPHEN          SD                        US     983   132254760@AIRLINE.KIWI.COM
3JJ6SH   12/8/2020   OB     1/6/2021   WN;1281;PHX;OAK;WN;1268;OAK;KOA        KELSEYBERG            CA                        US   87496   132256542@AIRLINE.KIWI.COM
3JP5L2   12/8/2020   OB   12/15/2020   WN;3155;ELP;HOU                        SEANVIEW              IN                        US   37590   132256410@AIRLINE.KIWI.COM
3JZDPS   12/8/2020   OB     1/6/2021   WN;1281;PHX;OAK;WN;1268;OAK;KOA        PORT MADISONPORT      CA                        US   62745   132257026@AIRLINE.KIWI.COM
3K6JPT   12/8/2020   OB   12/11/2020   WN;4912;SLC;LAS;WN;4780;LAS;BOI        LAKE MEGANTOWN        CA                        US   78525   132257257@AIRLINE.KIWI.COM
3KGW3I   12/8/2020   OB   12/30/2020   WN;3333;DEN;ATL                        DAVIDBOROUGH          MA                        US   12320   132257279@AIRLINE.KIWI.COM
3KOKUH   12/8/2020   OB   12/24/2020   WN;3558;ATL;MDW                        EAST JEFFREY          KS                        US   91286   132258027@AIRLINE.KIWI.COM
3KOKUH   12/8/2020   RT   12/27/2020   WN;3613;MDW;ATL                        EAST JEFFREY          KS                        US   91286   132258027@AIRLINE.KIWI.COM
3NPFMA   12/8/2020   OB     1/5/2021   WN;1364;BUR;LAS                        TERESABERG            AL                        US   87937   132262647@AIRLINE.KIWI.COM
3NSGIT   12/8/2020   OB   12/19/2020   WN;1958;PHX;LAX                        REEDHAVEN             UT                        US   81083   132263087@AIRLINE.KIWI.COM
3O2R2G   12/8/2020   OB   12/13/2020   WN;317;HOU;CUN                         BOONEBOROUGH          CA                        US   41754   132261723@AIRLINE.KIWI.COM
3O2R2G   12/8/2020   OB   12/13/2020   WN;317;HOU;CUN                         BOONEBOROUGH          CA                        US   41754   132261723@AIRLINE.KIWI.COM
3O2R2G   12/8/2020   OB   12/13/2020   WN;317;HOU;CUN                         BOONEBOROUGH          CA                        US   41754   132261723@AIRLINE.KIWI.COM
3PSRW5   12/8/2020   OB    12/8/2020   WN;3907;LAS;LAX                        CAITLYNPORT           NV                        US   70084   132266475@AIRLINE.KIWI.COM
3SYVH8   12/8/2020   OB     1/1/2021   WN;2298;LAX;HOU                        NORTH JEREMYCHESTER   TN                        US   94518   132273548@AIRLINE.KIWI.COM
3T4FZN   12/8/2020   OB     1/5/2021   WN;3334;HOU;LAS                        SIMMONSSIDE           VT                        US   37956   132273548@AIRLINE.KIWI.COM
3TMZMN   12/8/2020   OB   12/14/2020   WN;1454;SEA;DEN                        SOUTH PETER           IL                        US   75952   132158587.1514094@AIRLINE.KIWI.COM
3UFQF3   12/8/2020   OB   12/25/2020   WN;2776;BWI;LAX                        EAST JENNIFERBURY     OR                        US   24529   132277420@AIRLINE.KIWI.COM
3UFQF3   12/8/2020   OB   12/25/2020   WN;2776;BWI;LAX                        EAST JENNIFERBURY     OR                        US   24529   132277420@AIRLINE.KIWI.COM
3WETAS   12/8/2020   OB   12/28/2020   WN;423;LAX;OAK                         LUND                  VASTERBOTTENS LAN         SE   44159   132282788@AIRLINE.KIWI.COM
3X4HM5   12/8/2020   OB   12/23/2020   WN;3482;MIA;BWI;WN;2086;BWI;MKE        SOUTH JAMES           WV                        US   69625   132285032@AIRLINE.KIWI.COM
3X4HM5   12/8/2020   RT   12/28/2020   WN;1136;MKE;BWI;WN;102;BWI;MIA         SOUTH JAMES           WV                        US   69625   132285032@AIRLINE.KIWI.COM
3ZTGKY   12/8/2020   OB   12/18/2020   WN;773;DTW;BNA                         WEST JULIE            CT                        US   77828   132292413@AIRLINE.KIWI.COM
439T58   12/8/2020   OB    12/9/2020   WN;1990;ATL;BWI                        TINATON               TN                        US    3141   132297187@AIRLINE.KIWI.COM
43BQCH   12/8/2020   OB   12/27/2020   WN;3576;JAX;BWI;WN;4176;BWI;DTW        NEW JEFFREY           IA                        US   78721   132297132@AIRLINE.KIWI.COM
43BQCH   12/8/2020   OB   12/27/2020   WN;3576;JAX;BWI;WN;4176;BWI;DTW        NEW JEFFREY           IA                        US   78721   132297132@AIRLINE.KIWI.COM
43BSNM   12/8/2020   OB   12/24/2020   WN;3587;DTW;BNA;WN;3127;BNA;JAX        ESTRADAVIEW           CO                        US   33743   132297132@AIRLINE.KIWI.COM
43BSNM   12/8/2020   OB   12/24/2020   WN;3587;DTW;BNA;WN;3127;BNA;JAX        ESTRADAVIEW           CO                        US   33743   132297132@AIRLINE.KIWI.COM
44UOBA   12/8/2020   OB    1/12/2021   WN;441;ATL;DEN;WN;3927;DEN;LAX         WEST EMMAHAVEN        LA                        US   96162   132301224@AIRLINE.KIWI.COM
44UOBA   12/8/2020   OB    1/12/2021   WN;441;ATL;DEN;WN;3927;DEN;LAX         WEST EMMAHAVEN        LA                        US   96162   132301224@AIRLINE.KIWI.COM
456GFR   12/8/2020   OB     1/1/2021   WN;6702;DEN;FLL                        SOLOMONCHESTER        AZ                        US   22638   132302533@AIRLINE.KIWI.COM
45AO6F   12/8/2020   OB   12/31/2020   WN;1148;OAK;LAX                        RICHARDBERG           KS                        US   18505   132301620@AIRLINE.KIWI.COM
45ROEY   12/8/2020   OB     1/1/2021   WN;6702;DEN;FLL                        NEW KIMBERLY          SC                        US   20677   132304645@AIRLINE.KIWI.COM
46CLH8   12/8/2020   OB    1/10/2021   WN;1211;MDW;ORF                        EAST HEIDI            MT                        US   35622   132304700@AIRLINE.KIWI.COM
46CLH8   12/8/2020   OB    1/10/2021   WN;1211;MDW;ORF                        EAST HEIDI            MT                        US   35622   132304700@AIRLINE.KIWI.COM
46CS4M   12/8/2020   OB     1/3/2021   WN;4475;HOU;TUL;WN;4475;TUL;STL        FIORE LIGURE          BRESCIA                   IT   34719   132305679@AIRLINE.KIWI.COM
46QRGI   12/8/2020   OB    12/8/2020   WN;3254;ATL;RDU                        LEWISTOWN             AE                        US   97212   132301510@AIRLINE.KIWI.COM
46QRGI   12/8/2020   OB    12/8/2020   WN;3254;ATL;RDU                        LEWISTOWN             AE                        US   97212   132301510@AIRLINE.KIWI.COM
46W2JW   12/8/2020   OB     1/3/2021   WN;4336;FLL;RDU;WN;4243;RDU;BNA        NEW KIMBERLY          PA                        US   71412   132307307@AIRLINE.KIWI.COM
476ZEG   12/8/2020   OB   12/24/2020   WN;4982;HOU;LAS                        WALTERMOUTH           FL                        US   18610   132308968@AIRLINE.KIWI.COM
476ZEG   12/8/2020   RT   12/27/2020   WN;4418;LAS;HOU                        WALTERMOUTH           FL                        US   18610   132308968@AIRLINE.KIWI.COM
478UET   12/8/2020   OB     1/3/2021   WN;2797;RDU;FLL                        LAKE MARIA            OK                        US   49327   132309276@AIRLINE.KIWI.COM
47JVVD   12/8/2020   OB    12/8/2020   WN;2457;PIT;MDW;WN;2627;MDW;OKC        SESTO DANTE VENETO    BRINDISI                  IT    5521   132309650@AIRLINE.KIWI.COM
47NM95   12/8/2020   OB    12/8/2020   WN;2073;LGB;SJC                        SAN OMAR LOS ALTOS    CHIHUAHUA                 MX   53060   132309947@AIRLINE.KIWI.COM
48BYNT   12/8/2020   OB   12/26/2020   WN;2158;MDW;SAN;WN;2158;SAN;PHX        EAST ANNAMOUTH        IL                        US   44310   132312367@AIRLINE.KIWI.COM
48BYNT   12/8/2020   OB   12/26/2020   WN;2158;MDW;SAN;WN;2158;SAN;PHX        EAST ANNAMOUTH        IL                        US   44310   132312367@AIRLINE.KIWI.COM
48MVFT   12/8/2020   OB   12/22/2020   WN;920;DEN;PHL                         MELISSATOWN           OK                        US    6635   132313335@AIRLINE.KIWI.COM
48YT9A   12/8/2020   OB     1/2/2021   WN;2177;LAX;PHX                        YRBSHIRE              AL HUDUD ASH SHAMALIYAH   SA   11923   132313247@AIRLINE.KIWI.COM
48ZRCE   12/8/2020   OB    1/17/2021   WN;2631;MCO;PHL                        NORTH MELISSA         CO                        US   62155   132313599@AIRLINE.KIWI.COM
498OA7   12/8/2020   OB   12/21/2020   WN;2610;OAK;PHX                        WEST KELLYBURY        WI                        US   96579   132314435@AIRLINE.KIWI.COM
4A8ZWQ   12/8/2020   OB    12/8/2020   WN;3410;DAL;TPA                        JESUSBURY             NJ                        US   56290   132317460@AIRLINE.KIWI.COM
4AUJFF   12/8/2020   OB     1/2/2021   WN;1631;LAS;ATL                        PORT IANMOUTH         RI                        US   47253   132319154@AIRLINE.KIWI.COM
4AVVAU   12/8/2020   OB   12/29/2020   WN;406;BUR;OAK                         PORT LAUREN           OR                        US   11333   132318967@AIRLINE.KIWI.COM
4B9YNW   12/8/2020   OB   12/27/2020   WN;1051;MIA;BWI                        KINGVIEW              OH                        US   77273   132319836@AIRLINE.KIWI.COM
4BC2E6   12/8/2020   OB     1/2/2021   WN;1631;LAS;ATL                        SVETA NEDELJA         GRAD ZAGREB               HR   30687   132320606@AIRLINE.KIWI.COM
4BEG55   12/8/2020   OB   12/28/2020   WN;1352;DEN;BWI                        DA CUNHA              AMAZONAS                  BR   74455   129620249.1514389@AIRLINE.KIWI.COM
4BNK5S   12/8/2020   OB    1/15/2021   WN;2987;MDW;ATL                        NORTH MARCUSBURGH     IL                        US   63028   132321090@AIRLINE.KIWI.COM
4C6FGS   12/8/2020   OB   12/17/2020   WN;1051;MIA;BWI;WN;1090;BWI;ATL;WN;109 NEW WILLIAMTOWN       VT                        US   36194   132322938@AIRLINE.KIWI.COM
4C6FGS   12/8/2020   OB   12/17/2020   WN;1051;MIA;BWI;WN;1090;BWI;ATL;WN;109 NEW WILLIAMTOWN       VT                        US   36194   132322938@AIRLINE.KIWI.COM
4CQF65   12/8/2020   OB   12/10/2020   WN;1059;MEM;HOU;WN;4826;HOU;LAX        PORT JOSEPHVIEW       MS                        US   24070   132325699@AIRLINE.KIWI.COM
4D3YOE   12/8/2020   OB   12/23/2020   WN;4876;LAX;AUS                        DELGADOSTAD           AR                        US   19263   132326469@AIRLINE.KIWI.COM
4E5ZUF   12/8/2020   OB   12/14/2020   WN;3737;LAX;LAS                        NEW REBECCAVILLE      NE                        US   87442   132329252@AIRLINE.KIWI.COM
4E8LMC   12/8/2020   OB     1/2/2021   WN;1947;BOS;BWI                        DANIELBOROUGH         MS                        US   68120   132328977@AIRLINE.KIWI.COM
4EHLHH   12/8/2020   OB   12/27/2020   WN;3690;HOU;DCA                        EAST MICHAELBOROUGH   AZ                        US   69521   132330231@AIRLINE.KIWI.COM
4ENDPD   12/8/2020   OB     1/7/2021   WN;4720;DTW;DEN                        SOUTH AARON           MI                        US   40817   132330781@AIRLINE.KIWI.COM
4ENDPD   12/8/2020   OB     1/7/2021   WN;4720;DTW;DEN                        SOUTH AARON           MI                        US   40817   132330781@AIRLINE.KIWI.COM
4EYB2M   12/8/2020   OB   12/29/2020   WN;1408;PHX;AUS;WN;1005;AUS;MDW        HERNANDEZTOWN         NV                        US   48615   132332530@AIRLINE.KIWI.COM
4GTTUS   12/8/2020   OB   12/15/2020   WN;2051;ATL;MDW                        WAGNERSTAD            OK                        US    9035   132337854@AIRLINE.KIWI.COM




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4H2M5X   12/8/2020   OB    1/20/2021   WN;332;MIA;BWI                    PONCEMOUTH             CA                  US    90376   132337865@AIRLINE.KIWI.COM
4H7NG9   12/8/2020   OB   12/24/2020   WN;5014;ATL;DEN                   PATRICIALAND           KY                  US     7194   132338470@AIRLINE.KIWI.COM
4H7NG9   12/8/2020   OB   12/24/2020   WN;5014;ATL;DEN                   PATRICIALAND           KY                  US     7194   132338470@AIRLINE.KIWI.COM
4HE7AF   12/8/2020   OB   12/24/2020   WN;5014;ATL;DEN                   WELLSTOWN              NJ                  US    17365   132339130@AIRLINE.KIWI.COM
4IDGDF   12/8/2020   OB     1/4/2021   WN;492;PHX;ONT                    NORTH CHARLESBURY      SC                  US    22451   132342056@AIRLINE.KIWI.COM
4IDWY5   12/8/2020   OB   12/26/2020   WN;2303;OMA;MDW;WN;1696;MDW;ATL   ADAMPORT               OR                  US    46464   132341418@AIRLINE.KIWI.COM
4IFOXV   12/8/2020   OB   12/25/2020   WN;1466;SLC;LAS                   SOUTH DYLANMOUTH       IA                  US    99885   132341847@AIRLINE.KIWI.COM
4J45YA   12/8/2020   OB   12/20/2020   WN;1026;MDW;MSP                   SOUTH JACOBSTAD        FL                  US     6710   132343233@AIRLINE.KIWI.COM
4J45YA   12/8/2020   RT   12/27/2020   WN;2054;MSP;MDW                   SOUTH JACOBSTAD        FL                  US     6710   132343233@AIRLINE.KIWI.COM
4J57Y2   12/8/2020   OB   12/25/2020   WN;4433;DEN;PHL                   CHAVEZBURGH            OH                  US    65888   132342914@AIRLINE.KIWI.COM
4JJ7SZ   12/8/2020   OB   12/10/2020   WN;3147;MDW;MEM                   KELLYSHIRE             NV                  US    59016   132344388@AIRLINE.KIWI.COM
4JJ7SZ   12/8/2020   OB   12/10/2020   WN;3147;MDW;MEM                   KELLYSHIRE             NV                  US    59016   132344388@AIRLINE.KIWI.COM
4JSYSU   12/8/2020   OB   12/11/2020   WN;3145;MEM;MDW                   WEST BENJAMINMOUTH     AZ                  US    75601   132344388@AIRLINE.KIWI.COM
4JSYSU   12/8/2020   OB   12/11/2020   WN;3145;MEM;MDW                   WEST BENJAMINMOUTH     AZ                  US    75601   132344388@AIRLINE.KIWI.COM
4K39KJ   12/8/2020   OB     1/3/2021   WN;4801;OAK;PHX;WN;4044;PHX;HOU   EAST PHILLIP           TN                  US    60144   132344971@AIRLINE.KIWI.COM
4K39KJ   12/8/2020   OB     1/3/2021   WN;4801;OAK;PHX;WN;4044;PHX;HOU   EAST PHILLIP           TN                  US    60144   132344971@AIRLINE.KIWI.COM
4K3LT2   12/8/2020   OB   12/25/2020   WN;1914;LGA;MDW                   DAVIDCHESTER           MI                  US    74537   132074426@AIRLINE.KIWI.COM
4K3LT2   12/8/2020   OB   12/25/2020   WN;1914;LGA;MDW                   DAVIDCHESTER           MI                  US    74537   132074426@AIRLINE.KIWI.COM
4KUBKC   12/8/2020   OB   12/18/2020   WN;1053;AUS;DAL                   NEW MOLLYPORT          IA                  US    80624   132346412@AIRLINE.KIWI.COM
224Q4D   12/9/2020   OB   12/17/2020   WN;578;GRR;DEN;WN;720;DEN;SJD     CLARKSIDE              GA                  US    22766   132366531@AIRLINE.KIWI.COM
22BIAM   12/9/2020   OB    3/13/2021   WN;2456;TPA;MSP                   PORT TARA              KY                  US    72190   132351384@AIRLINE.KIWI.COM
22GNQC   12/9/2020   OB   12/13/2020   WN;2925;SAN;PHX                   NEW KAREN              MN                  US    32582   132367290@AIRLINE.KIWI.COM
24HDNH   12/9/2020   OB   12/18/2020   WN;1212;DAL;BWI                   BALEARES               -                   -      2394   132363869@AIRLINE.KIWI.COM
268B6P   12/9/2020   OB   12/23/2020   WN;3437;HOU;LAS                   MICHAELMOUTH           MT                  US    77786   132375441@AIRLINE.KIWI.COM
28FJT7   12/9/2020   OB   12/23/2020   WN;1742;ONT;HOU;WN;6870;HOU;SAT   NEW MATTHEW            WI                  US    75409   132380314@AIRLINE.KIWI.COM
28ZA5Y   12/9/2020   OB    12/9/2020   WN;3370;HOU;PHX                   RUSSELLSIDE            ND                  US    43863   132382338@AIRLINE.KIWI.COM
2BTF3C   12/9/2020   OB   12/19/2020   WN;6901;JAX;ATL;WN;6970;ATL;PHL   HARPERVILLE            NV                  US    11922   132390786@AIRLINE.KIWI.COM
2CJYHM   12/9/2020   OB    12/9/2020   WN;2931;BNA;MDW;WN;2636;MDW;MSP   SAN LUIS DE LA MONTA   CAMPECHE            MX    52320   132392920@AIRLINE.KIWI.COM
2CJYHM   12/9/2020   OB    12/9/2020   WN;2931;BNA;MDW;WN;2636;MDW;MSP   SAN LUIS DE LA MONTA   CAMPECHE            MX    52320   132392920@AIRLINE.KIWI.COM
2CUJLK   12/9/2020   OB    12/9/2020   WN;3385;PVD;BWI;WN;2675;BWI;CLT   EAST CHRISTINEMOUTH    WY                  US    70179   132394064@AIRLINE.KIWI.COM
2DNION   12/9/2020   OB   12/24/2020   WN;2116;PIT;MDW;WN;3927;MDW;MSP   EAST ALAN              ID                  US    23570   132396473@AIRLINE.KIWI.COM
2DNION   12/9/2020   RT   12/28/2020   WN;821;MSP;MDW;WN;1232;MDW;PIT    EAST ALAN              ID                  US    23570   132396473@AIRLINE.KIWI.COM
2FBRJU   12/9/2020   OB   12/24/2020   WN;3167;MDW;MSP                   KARENVILLE             WY                  US    57900   132401170@AIRLINE.KIWI.COM
2H78XW   12/9/2020   OB    12/9/2020   WN;4072;LAS;BUR                   WEST ALBERTMOUTH       FL                  US    89865   132406549@AIRLINE.KIWI.COM
2HOFHF   12/9/2020   OB     1/4/2021   WN;1003;MDW;DEN;WN;1510;DEN;OKC   EAST TRAVISHAVEN       MI                  US    84866   132407253@AIRLINE.KIWI.COM
2HP2IR   12/9/2020   OB   12/16/2020   WN;2051;ATL;MDW;WN;3989;MDW;LAX   WEST ALBERT            UT                  US    51821   132407517@AIRLINE.KIWI.COM
2HVHVS   12/9/2020   OB   12/23/2020   WN;6877;ATL;DEN                   LAKE CYNTHIALAND       KS                  US    44833   132408749@AIRLINE.KIWI.COM
2I3O2R   12/9/2020   OB    1/12/2021   WN;2636;MDW;MSP                   VALLET                 NOUVELLECALEDONIE   FR    23775   132408441@AIRLINE.KIWI.COM
2IEVPV   12/9/2020   OB   12/31/2020   WN;4246;MSY;HOU                   NEW ALEX               MS                  US    67210   132410245@AIRLINE.KIWI.COM
2IEVPV   12/9/2020   RT     1/2/2021   WN;734;HOU;MSY                    NEW ALEX               MS                  US    67210   132410245@AIRLINE.KIWI.COM
2IWR6A   12/9/2020   OB    1/19/2021   WN;4517;DEN;PDX                   WESTTON                AL                  US    33548   132410201@AIRLINE.KIWI.COM
2J3NTX   12/9/2020   OB   12/26/2020   WN;995;ATL;FLL                    AMBERVILLE             LA                  US    40178   132411829@AIRLINE.KIWI.COM
2JMXID   12/9/2020   OB     1/3/2021   WN;4073;MCO;PHL                   PORT JACQUELINE        SD                  US     1428   132413600@AIRLINE.KIWI.COM
2JMXID   12/9/2020   OB     1/3/2021   WN;4073;MCO;PHL                   PORT JACQUELINE        SD                  US     1428   132413600@AIRLINE.KIWI.COM
2K8BZA   12/9/2020   OB   12/12/2020   WN;1608;CUN;BWI                   EAST GLORIA            NC                  US    57140   130164089.1515055@AIRLINE.KIWI.COM
2KGFPR   12/9/2020   OB   12/24/2020   WN;3373;PHX;LGB                   EAST MARIESTAD         SC                  US    79109   132415844@AIRLINE.KIWI.COM
2KGFPR   12/9/2020   OB   12/24/2020   WN;3373;PHX;LGB                   EAST MARIESTAD         SC                  US    79109   132415844@AIRLINE.KIWI.COM
2KGFPR   12/9/2020   RT   12/26/2020   WN;1862;LGB;PHX                   EAST MARIESTAD         SC                  US    79109   132415844@AIRLINE.KIWI.COM
2KGFPR   12/9/2020   RT   12/26/2020   WN;1862;LGB;PHX                   EAST MARIESTAD         SC                  US    79109   132415844@AIRLINE.KIWI.COM
2KVTZC   12/9/2020   OB   12/27/2020   WN;4598;ATL;PHL                   CORYFORT               NH                  US    94853   132418847@AIRLINE.KIWI.COM
2KVTZC   12/9/2020   OB   12/27/2020   WN;4598;ATL;PHL                   CORYFORT               NH                  US    94853   132418847@AIRLINE.KIWI.COM
2LF8BY   12/9/2020   OB   12/26/2020   WN;1738;MCI;ATL;WN;1313;ATL;JAX   NORTH ALBERTFURT       WY                  US    17417   132419551@AIRLINE.KIWI.COM
2LU69J   12/9/2020   OB   12/24/2020   WN;6519;ATL;PHL                   NORTH RACHEL           MD                  US    19516   132421311@AIRLINE.KIWI.COM
2LU69J   12/9/2020   RT   12/29/2020   WN;6856;PHL;ATL                   NORTH RACHEL           MD                  US    19516   132421311@AIRLINE.KIWI.COM
2M5UMX   12/9/2020   OB   12/12/2020   WN;4478;TUL;PHX                   WHITETON               OK                  US    77403   132422565@AIRLINE.KIWI.COM
2M7RN6   12/9/2020   OB   12/19/2020   WN;58;OKC;DEN                     ELLISTOWN              UT                  US    21481   132423412@AIRLINE.KIWI.COM
2M7RN6   12/9/2020   RT     1/6/2021   WN;1510;DEN;OKC                   ELLISTOWN              UT                  US    21481   132423412@AIRLINE.KIWI.COM
2MJPFP   12/9/2020   OB   12/21/2020   WN;6747;DEN;SEA                   MONIQUETON             IA                  US    63013   132424732@AIRLINE.KIWI.COM
2MTJBE   12/9/2020   OB   12/15/2020   WN;783;LAS;OAK;WN;784;OAK;OGG     EAST MARIEBURY         OH                  US    72247   132425326@AIRLINE.KIWI.COM
2MTJBE   12/9/2020   OB   12/15/2020   WN;783;LAS;OAK;WN;784;OAK;OGG     EAST MARIEBURY         OH                  US    72247   132425326@AIRLINE.KIWI.COM
2MX532   12/9/2020   OB   12/19/2020   WN;1471;FLL;SJU                   DANIELSEN              NORDTRONDELAG       NO    63580   132424831@AIRLINE.KIWI.COM
2O3BJH   12/9/2020   OB   12/27/2020   WN;1766;DTW;BWI;WN;2445;BWI;FLL   LINDSEYBOROUGH         MO                  US    28512   132429154@AIRLINE.KIWI.COM
2O5CFC   12/9/2020   OB     1/6/2021   WN;186;BWI;CHS                    LYONSBERG              MD                  US    97829   132429308@AIRLINE.KIWI.COM
2OBSV7   12/9/2020   OB   12/17/2020   WN;6788;DAL;DEN                   RAMIREZFURT            NE                  US     8772   132429143@AIRLINE.KIWI.COM
2OBSV7   12/9/2020   RT   12/21/2020   WN;6761;DEN;DAL                   RAMIREZFURT            NE                  US     8772   132429143@AIRLINE.KIWI.COM
2OHT3Y   12/9/2020   OB    12/9/2020   WN;4722;SFO;LAX                   GOODWINSTAD            MO                  US     8075   132431299@AIRLINE.KIWI.COM
2OK8ZC   12/9/2020   OB   12/29/2020   WN;407;MCI;MDW;WN;1138;MDW;DCA    MICHAELSHIRE           SD                  US    22302   132430430@AIRLINE.KIWI.COM
2OK8ZC   12/9/2020   RT    1/17/2021   WN;2044;DCA;MDW;WN;1441;MDW;MCI   MICHAELSHIRE           SD                  US    22302   132430430@AIRLINE.KIWI.COM
2PL6PB   12/9/2020   OB   12/29/2020   WN;837;DEN;BWI                    HARRISONCHESTER        RI                  US     5855   132434995@AIRLINE.KIWI.COM
2PO6U5   12/9/2020   OB   12/23/2020   WN;4212;BWI;DEN                   SCOTTSHIRE             IL                  US    41585   132434544@AIRLINE.KIWI.COM
2QLD3L   12/9/2020   OB   12/26/2020   WN;2271;OAK;MDW                   NUEVA BAHREIN          TAMAULIPAS          MX    54365   132437349@AIRLINE.KIWI.COM
2QOSJU   12/9/2020   OB   12/13/2020   WN;4159;SMF;BUR                   JAMIECHESTER           IL                  US    59660   132438339@AIRLINE.KIWI.COM
2RGRZI   12/9/2020   OB   12/18/2020   WN;1190;ATL;HOU                   TAMMYBURGH             MT                  US    50325   132441078@AIRLINE.KIWI.COM
2RLU5G   12/9/2020   OB   12/23/2020   WN;3109;DEN;BWI                   WILLIAMSTOWN           WY                  US    84110   132441001@AIRLINE.KIWI.COM
2RMUGW   12/9/2020   OB   12/24/2020   WN;6505;PHX;SLC                   NICHOLASBOROUGH        FL                  US    10878   132440583@AIRLINE.KIWI.COM
2RTDNO   12/9/2020   OB   12/28/2020   WN;747;SAT;DAL;WN;1389;DAL;TUL    SOUTH NATHAN           NM                  US    57211   132441705@AIRLINE.KIWI.COM
2SGMB9   12/9/2020   OB   12/29/2020   WN;967;MDW;CMH                    PORT CRYSTALHAVEN      KS                  US    89717   132442739@AIRLINE.KIWI.COM
4L5K2N   12/9/2020   OB    12/9/2020   WN;3172;LAS;BUR                   SMITHVILLE             AR                  US     2400   132346874@AIRLINE.KIWI.COM
4LWMH7   12/9/2020   OB    1/16/2021   WN;3788;DEN;ATL                   ETIENNESURMER          JURA                FR    48764   132348029@AIRLINE.KIWI.COM
4LWMH7   12/9/2020   OB    1/16/2021   WN;3788;DEN;ATL                   ETIENNESURMER          JURA                FR    48764   132348029@AIRLINE.KIWI.COM
4LYXPP   12/9/2020   OB     1/2/2021   WN;6970;ATL;PHL                   TRANSTAD               AZ                  US    97185   132348601@AIRLINE.KIWI.COM
4MV47S   12/9/2020   OB   12/14/2020   WN;3236;DEN;BWI;WN;2068;BWI;ISP   NEW NICHOLAS           ND                  US    81914   132349547@AIRLINE.KIWI.COM
4NL7SB   12/9/2020   OB   12/13/2020   WN;2581;DEN;CVG                   BARBARASHIRE           IA                  US    87145   132350482@AIRLINE.KIWI.COM
4O7EBG   12/9/2020   OB     1/7/2021   WN;1941;MDW;BUF                   SAINT JACQUES          MORBIHAN            FR    10537   132350933@AIRLINE.KIWI.COM
4O7EBG   12/9/2020   OB     1/7/2021   WN;1941;MDW;BUF                   SAINT JACQUES          MORBIHAN            FR    10537   132350933@AIRLINE.KIWI.COM
4OC8MN   12/9/2020   OB   12/31/2020   WN;2685;CLE;BWI                   LAKE TONI              AR                  US    12640   132350251@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   OB   12/31/2020   WN;3075;MIA;BWI                   RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   OB   12/31/2020   WN;3075;MIA;BWI                   RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   OB   12/31/2020   WN;3075;MIA;BWI                   RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   OB   12/31/2020   WN;3075;MIA;BWI                   RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   OB   12/31/2020   WN;3075;MIA;BWI                   RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   RT     1/3/2021   WN;102;BWI;MIA                    RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   RT     1/3/2021   WN;102;BWI;MIA                    RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   RT     1/3/2021   WN;102;BWI;MIA                    RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   RT     1/3/2021   WN;102;BWI;MIA                    RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4OIL8U   12/9/2020   RT     1/3/2021   WN;102;BWI;MIA                    RILEYBOROUGH           AZ                  US    83259   132351494@AIRLINE.KIWI.COM
4PLZRC   12/9/2020   OB   12/20/2020   WN;2360;STL;PHL                   CHRISTINEMOUTH         AZ                  US    48804   132352990@AIRLINE.KIWI.COM
4PO466   12/9/2020   OB   12/28/2020   WN;931;MDW;LAS                    PORT MARYVIEW          NM                  US    57944   132352748@AIRLINE.KIWI.COM
4PREGU   12/9/2020   OB   12/28/2020   WN;692;BWI;CMH                    NEW EVAN               KS                  US    74787   132353320@AIRLINE.KIWI.COM
4PTUZ5   12/9/2020   OB     1/3/2021   WN;4825;SAN;MDW                   KENDRAFURT             LA                  US    95962   132352748@AIRLINE.KIWI.COM
4PUSNQ   12/9/2020   OB   12/27/2020   WN;1057;MIA;HOU;WN;6865;HOU;AUS   LAKE DYLANSTAD         MO                  US    67503   132353056@AIRLINE.KIWI.COM
4PUSNQ   12/9/2020   OB   12/27/2020   WN;1057;MIA;HOU;WN;6865;HOU;AUS   LAKE DYLANSTAD         MO                  US    67503   132353056@AIRLINE.KIWI.COM
4PUZT9   12/9/2020   OB   12/21/2020   WN;1184;DEN;LAS                   HODGESBERG             AL WADI AL JADID    EG    58575   132353089@AIRLINE.KIWI.COM
4Q6X4N   12/9/2020   OB    1/24/2021   WN;1370;BNA;HOU;WN;2723;HOU;MIA   PAULPORT               FL                  US    78297   132353980@AIRLINE.KIWI.COM
4QVZI2   12/9/2020   OB   12/15/2020   WN;4462;ONT;SJC                   NUEVA GUINEA BISSAU    MEXICO              MX    83536   132354981@AIRLINE.KIWI.COM
4REDT3   12/9/2020   OB     1/3/2021   WN;4869;CLT;DAL;WN;3721;DAL;SAT   WEST DAVIDFORT         NV                  US    20804   132355564@AIRLINE.KIWI.COM
4S5WFU   12/9/2020   OB   12/23/2020   WN;2057;DAL;BWI                   MICHELDAN              HAUTESALPES         FR    68549   132356620@AIRLINE.KIWI.COM




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4S5WFU    12/9/2020   OB   12/23/2020   WN;2057;DAL;BWI                   MICHELDAN              HAUTESALPES             FR   68549   132356620@AIRLINE.KIWI.COM
4S5WFU    12/9/2020   RT   12/27/2020   WN;4592;BWI;DAL                   MICHELDAN              HAUTESALPES             FR   68549   132356620@AIRLINE.KIWI.COM
4S5WFU    12/9/2020   RT   12/27/2020   WN;4592;BWI;DAL                   MICHELDAN              HAUTESALPES             FR   68549   132356620@AIRLINE.KIWI.COM
4S8MO6    12/9/2020   OB   12/11/2020   WN;2572;BUR;SMF                   FRAZIERSIDE            LA                      US   81589   132356675@AIRLINE.KIWI.COM
4SAGLI    12/9/2020   OB   12/17/2020   WN;45;DEN;LIT                     LAKE CASSIDYSTAD       NV                      US   17323   132356686@AIRLINE.KIWI.COM
4SBETT    12/9/2020   OB   12/17/2020   WN;1174;LAS;DEN                   SNOWMOUTH              NE                      US   54794   132356686@AIRLINE.KIWI.COM
4SCJ2S    12/9/2020   OB   12/24/2020   WN;55;IAD;ATL                     PORT TIMOTHYPORT       IL                      US   33150   132357060@AIRLINE.KIWI.COM
4SCJ2S    12/9/2020   RT   12/30/2020   WN;157;ATL;IAD                    PORT TIMOTHYPORT       IL                      US   33150   132357060@AIRLINE.KIWI.COM
4STJOE    12/9/2020   OB     1/7/2021   WN;1607;BWI;CUN                   SAN ANTONIA LOS ALTO   PUEBLA                  MX   78886   126825655.1514538@AIRLINE.KIWI.COM
4SU9UC    12/9/2020   OB     1/3/2021   WN;4765;LAS;RNO                   PORT JOSEPHTOWN        KS                      US   85823   132357236@AIRLINE.KIWI.COM
4SU9UC    12/9/2020   OB     1/3/2021   WN;4765;LAS;RNO                   PORT JOSEPHTOWN        KS                      US   85823   132357236@AIRLINE.KIWI.COM
4T45KP    12/9/2020   OB   12/28/2020   WN;124;MDW;BWI;WN;102;BWI;MIA     RUSSELLMOUTH           KS                      US   48631   132358127@AIRLINE.KIWI.COM
4T7MHK    12/9/2020   OB   12/26/2020   WN;1658;PHX;MDW                   LAKE JEANNE            CT                      US   70562   132358061@AIRLINE.KIWI.COM
4TBTQ2    12/9/2020   OB   12/25/2020   WN;4141;MIA;TPA                   SUTTONBOROUGH          SC                      US   73993   132358083@AIRLINE.KIWI.COM
4TBTQ2    12/9/2020   OB   12/25/2020   WN;4141;MIA;TPA                   SUTTONBOROUGH          SC                      US   73993   132358083@AIRLINE.KIWI.COM
4TSX44    12/9/2020   OB     1/4/2021   WN;6808;BWI;DEN                   SOUTH JAIME            PA                      US   16342   132358864@AIRLINE.KIWI.COM
4TSX44    12/9/2020   OB     1/4/2021   WN;6808;BWI;DEN                   SOUTH JAIME            PA                      US   16342   132358864@AIRLINE.KIWI.COM
4TSX44    12/9/2020   RT     1/7/2021   WN;6244;DEN;BWI                   SOUTH JAIME            PA                      US   16342   132358864@AIRLINE.KIWI.COM
4TSX44    12/9/2020   RT     1/7/2021   WN;6244;DEN;BWI                   SOUTH JAIME            PA                      US   16342   132358864@AIRLINE.KIWI.COM
4TTTJ3    12/9/2020   OB   12/15/2020   WN;4961;DEN;SAN                   SOUTH STEVEN           LA                      US   59008   132355509@AIRLINE.KIWI.COM
4TY5Q5    12/9/2020   OB   12/22/2020   WN;143;ATL;MDW                    SOUTH ASHLEYCHESTER    AZ                      US   24910   132359106@AIRLINE.KIWI.COM
4U835Q    12/9/2020   OB   12/31/2020   WN;559;LAX;DAL                    NEW ALEXISTOWN         NJ                      US   66478   132359909@AIRLINE.KIWI.COM
4U835Q    12/9/2020   OB   12/31/2020   WN;559;LAX;DAL                    NEW ALEXISTOWN         NJ                      US   66478   132359909@AIRLINE.KIWI.COM
4U835Q    12/9/2020   RT     1/3/2021   WN;1700;DAL;LAX                   NEW ALEXISTOWN         NJ                      US   66478   132359909@AIRLINE.KIWI.COM
4U835Q    12/9/2020   RT     1/3/2021   WN;1700;DAL;LAX                   NEW ALEXISTOWN         NJ                      US   66478   132359909@AIRLINE.KIWI.COM
4UEF8L    12/9/2020   OB    1/10/2021   WN;3273;OMA;STL                   GAUSHAALAA             MADHYA PASHCHIMANCHAL   NP   64306   132359799@AIRLINE.KIWI.COM
4UEF8L    12/9/2020   OB    1/10/2021   WN;3273;OMA;STL                   GAUSHAALAA             MADHYA PASHCHIMANCHAL   NP   64306   132359799@AIRLINE.KIWI.COM
4XXGON    12/9/2020   OB    1/28/2021   WN;783;LAS;OAK;WN;808;OAK;HNL     JULIAMOUTH             ND                      US   42012   132363671@AIRLINE.KIWI.COM
4XXGON    12/9/2020   OB    1/28/2021   WN;783;LAS;OAK;WN;808;OAK;HNL     JULIAMOUTH             ND                      US   42012   132363671@AIRLINE.KIWI.COM
4Y8TLM    12/9/2020   OB   12/13/2020   WN;2730;CLT;DEN                   NORTH JENNIFER         WI                      US   41946   132364089@AIRLINE.KIWI.COM
4Y8TLM    12/9/2020   OB   12/13/2020   WN;2730;CLT;DEN                   NORTH JENNIFER         WI                      US   41946   132364089@AIRLINE.KIWI.COM
4ZUD7J    12/9/2020   OB   12/27/2020   WN;4803;MCI;MDW;WN;3806;MDW;BDL   RAUTAVAARA             PIRKANMAA               FI   75262   132366190@AIRLINE.KIWI.COM
2WJI6B   12/10/2020   OB   12/17/2020   WN;2888;CLT;DEN                   SETTIMO QUASIMODO CA   UMBRIA                  IT   35553   132450769@AIRLINE.KIWI.COM
2WJI6B   12/10/2020   OB   12/17/2020   WN;2888;CLT;DEN                   SETTIMO QUASIMODO CA   UMBRIA                  IT   35553   132450769@AIRLINE.KIWI.COM
2WRUQM   12/10/2020   OB   12/26/2020   WN;324;MIA;HOU                    JESSICABURY            IA                      US   69863   132451561@AIRLINE.KIWI.COM
2YCACL   12/10/2020   OB   12/31/2020   WN;1646;BWI;ATL                   PORT LUCASHAVEN        TX                      US   88676   132453860@AIRLINE.KIWI.COM
2YESR7   12/10/2020   OB   12/23/2020   WN;3451;HOU;LAX                   WEST MEGANVIEW         MA                      US   25084   132453904@AIRLINE.KIWI.COM
2YRS6H   12/10/2020   OB   12/26/2020   WN;1404;RDU;BWI                   LINMOUTH               AK                      US   75019   132454465@AIRLINE.KIWI.COM
2Z3JML   12/10/2020   OB   12/17/2020   WN;27;LAX;LAS                     SOUTH WILLIAM          WI                      US   74531   132455070@AIRLINE.KIWI.COM
32DD5K   12/10/2020   OB   12/23/2020   WN;1129;HNL;SMF;WN;4959;SMF;PDX   POPEBURY               VA                      US   25506   132456632@AIRLINE.KIWI.COM
32H9YU   12/10/2020   OB   12/23/2020   WN;6771;DSM;DEN                   CHERYLVILLE            DE                      US   38519   132456115@AIRLINE.KIWI.COM
33J7GI   12/10/2020   OB   12/21/2020   WN;1117;MSP;MDW                   VIESVILLE              LUXEMBOURG              BE   48669   132430386@AIRLINE.KIWI.COM
33LAR8   12/10/2020   OB   12/31/2020   WN;4948;SNA;LAS                   JOSHUAHAVEN            NE                      US   64932   132459272@AIRLINE.KIWI.COM
33LAR8   12/10/2020   OB   12/31/2020   WN;4948;SNA;LAS                   JOSHUAHAVEN            NE                      US   64932   132459272@AIRLINE.KIWI.COM
33R7G7   12/10/2020   OB   12/18/2020   WN;124;TPA;MDW                    NORTH NOAHPORT         MN                      US   28983   132459591@AIRLINE.KIWI.COM
344NRP   12/10/2020   OB   12/18/2020   WN;777;MDW;OAK                    SOUTH JOHNPORT         IL                      US   76288   132459591@AIRLINE.KIWI.COM
34BPLT   12/10/2020   OB   12/30/2020   WN;1042;LAS;MDW                   LAKE EMILY             GA                      US   17315   132460361@AIRLINE.KIWI.COM
34BPLT   12/10/2020   OB   12/30/2020   WN;1042;LAS;MDW                   LAKE EMILY             GA                      US   17315   132460361@AIRLINE.KIWI.COM
34BPLT   12/10/2020   RT     1/3/2021   WN;4660;MDW;LAS                   LAKE EMILY             GA                      US   17315   132460361@AIRLINE.KIWI.COM
34BPLT   12/10/2020   RT     1/3/2021   WN;4660;MDW;LAS                   LAKE EMILY             GA                      US   17315   132460361@AIRLINE.KIWI.COM
34RF4E   12/10/2020   OB   12/16/2020   WN;1360;MDW;FLL                   WARDVILLE              CA                      US   83248   132460790@AIRLINE.KIWI.COM
34RF4E   12/10/2020   RT   12/19/2020   WN;1917;FLL;MDW                   WARDVILLE              CA                      US   83248   132460790@AIRLINE.KIWI.COM
35U9DD   12/10/2020   OB    1/15/2021   WN;3223;LAS;MDW                   WEST RACHEL            RI                      US   85408   132462396@AIRLINE.KIWI.COM
35U9DD   12/10/2020   RT    1/19/2021   WN;2457;MDW;LAS                   WEST RACHEL            RI                      US   85408   132462396@AIRLINE.KIWI.COM
35UV2O   12/10/2020   OB   12/25/2020   WN;4720;DTW;DEN;WN;1667;DEN;SLC   WEST AMANDA            PA                      US   32171   132462825@AIRLINE.KIWI.COM
35XSYO   12/10/2020   OB   12/18/2020   WN;277;BOS;BWI;WN;1322;BWI;BUF    LAKE ALEX              CO                      US   88299   132463111@AIRLINE.KIWI.COM
362OBX   12/10/2020   OB   12/23/2020   WN;1935;DEN;RDU                   HARRYTOWN              NJ                      US   55232   132463386@AIRLINE.KIWI.COM
36GM6A   12/10/2020   OB     1/3/2021   WN;2464;DAL;RDU                   MARTINEZTON            MN                      US   50107   132464057@AIRLINE.KIWI.COM
36GM6A   12/10/2020   OB     1/3/2021   WN;2464;DAL;RDU                   MARTINEZTON            MN                      US   50107   132464057@AIRLINE.KIWI.COM
37B5MN   12/10/2020   OB   12/28/2020   WN;1122;HOU;LAS                   EAST EDWARDMOUTH       NY                      US    5124   132465014@AIRLINE.KIWI.COM
37NLIF   12/10/2020   OB   12/10/2020   WN;4285;OAK;LAX;WN;2298;LAX;HOU   TOMMYVILLE             OR                      US   15464   132465652@AIRLINE.KIWI.COM
37QUQA   12/10/2020   OB   12/24/2020   WN;3321;LAS;LAX                   NORTH ROBERTFORT       TN                      US   69071   132465619@AIRLINE.KIWI.COM
386QGN   12/10/2020   OB   12/17/2020   WN;266;SMF;SAN                    KIMBERLYVIEW           MT                      US    6420   132466103@AIRLINE.KIWI.COM
386QGN   12/10/2020   OB   12/17/2020   WN;266;SMF;SAN                    KIMBERLYVIEW           MT                      US    6420   132466103@AIRLINE.KIWI.COM
386QGN   12/10/2020   OB   12/17/2020   WN;266;SMF;SAN                    KIMBERLYVIEW           MT                      US    6420   132466103@AIRLINE.KIWI.COM
386QGN   12/10/2020   OB   12/17/2020   WN;266;SMF;SAN                    KIMBERLYVIEW           MT                      US    6420   132466103@AIRLINE.KIWI.COM
386QGN   12/10/2020   OB   12/17/2020   WN;266;SMF;SAN                    KIMBERLYVIEW           MT                      US    6420   132466103@AIRLINE.KIWI.COM
38AHUK   12/10/2020   OB   12/18/2020   WN;465;DEN;MDW                    TAYLORSTAD             SD                      US   81037   132466257@AIRLINE.KIWI.COM
38AJIR   12/10/2020   OB   12/18/2020   WN;730;SLC;DEN                    KELLYCHESTER           HI                      US   97116   132466257@AIRLINE.KIWI.COM
39M7SA   12/10/2020   OB   12/26/2020   WN;2367;MCO;BWI;WN;1811;BWI;DTW   WHITNEYBURGH           SD                      US    8185   132468380@AIRLINE.KIWI.COM
39NIN2   12/10/2020   OB     1/4/2021   WN;1469;RNO;LAS                   JEREMYFORT             OH                      US   95557   132465355@AIRLINE.KIWI.COM
3A4DAP   12/10/2020   OB   12/30/2020   WN;324;BWI;MIA                    BRENDAFURT             MN                      US   69397   132468776@AIRLINE.KIWI.COM
3B862D   12/10/2020   OB   12/27/2020   WN;4970;SMF;AUS                   NORTH ARIANA           WY                      US   51876   132470690@AIRLINE.KIWI.COM
3C6UX9   12/10/2020   OB     1/3/2021   WN;1488;HNL;SAN                   HUANGBERG              MN                      US   29550   132471680@AIRLINE.KIWI.COM
3CX65Z   12/10/2020   OB    1/11/2021   WN;1385;SAN;OAK;WN;4298;OAK;PDX   LAKE FELICIAFORT       WA                      US   86616   132473363@AIRLINE.KIWI.COM
3DDBXZ   12/10/2020   OB   12/18/2020   WN;111;MCO;DAL                    RICHARDSONSIDE         FL                      US   77328   132474474@AIRLINE.KIWI.COM
3DDBXZ   12/10/2020   RT   12/21/2020   WN;290;DAL;MCO                    RICHARDSONSIDE         FL                      US   77328   132474474@AIRLINE.KIWI.COM
3F2FR4   12/10/2020   OB     1/9/2021   WN;2270;MIA;BWI                   MILLERHAVEN            OK                      US   65458   132468028@AIRLINE.KIWI.COM
3IYBKX   12/10/2020   OB   12/24/2020   WN;4686;RDU;MCO                   LAKE THOMAS            SC                      US   89774   132488675@AIRLINE.KIWI.COM
3JB9UK   12/10/2020   OB   12/10/2020   WN;3276;LAX;BNA;WN;2151;BNA;CLE   WEST CHRISTOPHERTON    HI                      US   69369   132489159@AIRLINE.KIWI.COM
3JFIJB   12/10/2020   OB   12/18/2020   WN;1223;LAX;LAS;WN;959;LAS;ATL    PORT JENNIFER          DE                      US   72715   132489687@AIRLINE.KIWI.COM
3JRDF3   12/10/2020   OB   12/10/2020   WN;3145;MEM;MDW                   PORT MEGAN             ID                      US   76974   132491095@AIRLINE.KIWI.COM
3KRZ6I   12/10/2020   OB   12/10/2020   WN;2544;BNA;DEN                   SOUTH PATRICIASIDE     OH                      US   90392   131071358@AIRLINE.KIWI.COM
3KRZ6I   12/10/2020   RT   12/13/2020   WN;2522;DEN;BNA                   SOUTH PATRICIASIDE     OH                      US   90392   131071358@AIRLINE.KIWI.COM
3LKMGF   12/10/2020   OB   12/13/2020   WN;4024;BNA;LGA                   PHTHPUR                WEST BENGAL             IN   84657   132495704@AIRLINE.KIWI.COM
3NW55Z   12/10/2020   OB   12/18/2020   WN;1184;DEN;LAS                   PORT ANN               MI                      US   10458   132502183@AIRLINE.KIWI.COM
3PW43W   12/10/2020   OB   12/31/2020   WN;5034;MDW;BWI;WN;102;BWI;MIA    WEST MICHAELTOWN       AR                      US   55719   132508761@AIRLINE.KIWI.COM
3PW43W   12/10/2020   OB   12/31/2020   WN;5034;MDW;BWI;WN;102;BWI;MIA    WEST MICHAELTOWN       AR                      US   55719   132508761@AIRLINE.KIWI.COM
3QLALA   12/10/2020   OB     1/4/2021   WN;1210;PHX;SMF;WN;1291;SMF;OGG   KENTVIEW               AZ                      US   86780   132511203@AIRLINE.KIWI.COM
3QLALA   12/10/2020   OB     1/4/2021   WN;1210;PHX;SMF;WN;1291;SMF;OGG   KENTVIEW               AZ                      US   86780   132511203@AIRLINE.KIWI.COM
3SPR98   12/10/2020   OB   12/19/2020   WN;2294;DEN;LIT                   RENEEVIEW              OH                      US   83638   132512952@AIRLINE.KIWI.COM
3SZI29   12/10/2020   OB   12/11/2020   WN;559;LAX;DAL;WN;2204;DAL;MEM    SEANVIEW               MO                      US   85467   132518166@AIRLINE.KIWI.COM
3SZI29   12/10/2020   OB   12/11/2020   WN;559;LAX;DAL;WN;2204;DAL;MEM    SEANVIEW               MO                      US   85467   132518166@AIRLINE.KIWI.COM
3T29YG   12/10/2020   OB   12/26/2020   WN;995;ATL;FLL                    NORTH SCOTTLAND        FL                      US   19186   132519101@AIRLINE.KIWI.COM
3U335N   12/10/2020   OB   12/19/2020   WN;1238;SAN;PHX                   NORTH MIRANDA          MT                      US   38975   132521389@AIRLINE.KIWI.COM
3U9J9G   12/10/2020   OB     1/4/2021   WN;147;LAS;DEN;WN;1510;DEN;OKC    SCOTTCHESTER           DE                      US   62308   132522379@AIRLINE.KIWI.COM
3W9ZD7   12/10/2020   OB   12/21/2020   WN;619;PHX;LGB                    PORT AMY               TX                      US   25774   132528902@AIRLINE.KIWI.COM
3WD4UC   12/10/2020   OB   12/21/2020   WN;1555;LGB;DEN;WN;2138;DEN;MCO   CYNTHIABURGH           AR                      US   46513   132528902@AIRLINE.KIWI.COM
3WXT68   12/10/2020   OB   12/27/2020   WN;3746;TUL;DAL;WN;5004;DAL;SAN   STEPHANIESHIRE         CT                      US   75069   132530783@AIRLINE.KIWI.COM
3WXT68   12/10/2020   OB   12/27/2020   WN;3746;TUL;DAL;WN;5004;DAL;SAN   STEPHANIESHIRE         CT                      US   75069   132530783@AIRLINE.KIWI.COM
3WXT68   12/10/2020   OB   12/27/2020   WN;3746;TUL;DAL;WN;5004;DAL;SAN   STEPHANIESHIRE         CT                      US   75069   132530783@AIRLINE.KIWI.COM
3X28DW   12/10/2020   OB   12/27/2020   WN;3746;TUL;DAL;WN;5004;DAL;SAN   THOMPSONSHIRE          WY                      US   74950   132530783@AIRLINE.KIWI.COM
3ZA44M   12/10/2020   OB   12/18/2020   WN;1062;MIA;TPA                   TRANFORT               ME                      US   66500   132538571@AIRLINE.KIWI.COM
3ZSBKU   12/10/2020   OB   12/18/2020   WN;1054;ATL;PHL                   NEW CHRISTINE          NY                      US   68352   132539858@AIRLINE.KIWI.COM
3ZSBKU   12/10/2020   OB   12/18/2020   WN;1054;ATL;PHL                   NEW CHRISTINE          NY                      US   68352   132539858@AIRLINE.KIWI.COM
3ZSBKU   12/10/2020   OB   12/18/2020   WN;1054;ATL;PHL                   NEW CHRISTINE          NY                      US   68352   132539858@AIRLINE.KIWI.COM
3ZTE4G   12/10/2020   OB   12/19/2020   WN;2294;DEN;LIT                   TIMOTHYLAND            MI                      US    2089   132540485@AIRLINE.KIWI.COM




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424RM5   12/10/2020   OB   12/19/2020   WN;1791;SEA;DEN                   LAKE SAMUEL            IN                        US   26883   132540485@AIRLINE.KIWI.COM
42L97E   12/10/2020   OB   12/28/2020   WN;45;GEG;DEN;WN;3369;DEN;JAX     LISASIDE               KS                        US   20781   132535194@AIRLINE.KIWI.COM
42L97E   12/10/2020   OB   12/28/2020   WN;45;GEG;DEN;WN;3369;DEN;JAX     LISASIDE               KS                        US   20781   132535194@AIRLINE.KIWI.COM
42NGHR   12/10/2020   OB   12/21/2020   WN;1164;OMA;DEN                   LAURATOWN              TN                        US   51596   132540056@AIRLINE.KIWI.COM
42SW6K   12/10/2020   OB     1/8/2021   WN;4131;MIA;HOU                   SAINT VICTORLESBAINS   ALLIER                    FR   26825   132543048@AIRLINE.KIWI.COM
43M559   12/10/2020   OB    2/17/2021   WN;400;LAS;LAX                    BIN XIAN               QINGHAI SHENG             CN   82310   132544874@AIRLINE.KIWI.COM
43O792   12/10/2020   OB   12/20/2020   WN;964;MCO;HOU;WN;6732;HOU;LAX    NGUYENCHESTER          VT                        US   96480   132546359@AIRLINE.KIWI.COM
43O792   12/10/2020   OB   12/28/2020   WN;6938;LAX;DAL                   NGUYENCHESTER          VT                        US   96480   132546359@AIRLINE.KIWI.COM
44BC3G   12/10/2020   OB   12/11/2020   WN;2443;PVD;MCO                   MARTINEZCHESTER        TX                        US   43599   132548119@AIRLINE.KIWI.COM
44BC3G   12/10/2020   RT   12/17/2020   WN;532;MCO;PVD                    MARTINEZCHESTER        TX                        US   43599   132548119@AIRLINE.KIWI.COM
44J587   12/10/2020   OB    1/14/2021   WN;1299;PVR;PHX                   CHRISTOPHERBURY        OK                        US   63674   132546975@AIRLINE.KIWI.COM
44J587   12/10/2020   OB    1/14/2021   WN;1299;PVR;PHX                   CHRISTOPHERBURY        OK                        US   63674   132546975@AIRLINE.KIWI.COM
459NZF   12/10/2020   OB   12/19/2020   WN;1811;AUS;STL                   RONALDMOUTH            UT                        US   13622   132551408@AIRLINE.KIWI.COM
459NZF   12/10/2020   RT   12/28/2020   WN;1216;STL;MDW;WN;920;MDW;AUS    RONALDMOUTH            UT                        US   13622   132551408@AIRLINE.KIWI.COM
45BTVM   12/10/2020   OB   12/18/2020   WN;1601;MDW;HOU                   HAILEYSTAD             TN                        US   61947   132551507@AIRLINE.KIWI.COM
45BTVM   12/10/2020   RT   12/19/2020   WN;31;HOU;MDW                     HAILEYSTAD             TN                        US   61947   132551507@AIRLINE.KIWI.COM
45VYZI   12/10/2020   OB   12/19/2020   WN;1634;DEN;OMA                   ROBINLAND              ND                        US   52076   132250866.1515840@AIRLINE.KIWI.COM
46LBSF   12/10/2020   OB   12/10/2020   WN;4873;SMF;LAS                   KATHERINEBERG          DE                        US   43451   132554356@AIRLINE.KIWI.COM
477DQ6   12/10/2020   OB   12/13/2020   WN;1222;SMF;SNA                   NEALMOUTH              OK                        US   69878   132555324@AIRLINE.KIWI.COM
47BNOC   12/10/2020   OB   12/24/2020   WN;3385;PVD;BWI;WN;1646;BWI;ATL   CRUZPORT               SD                        US   47101   132555665@AIRLINE.KIWI.COM
47QI54   12/10/2020   OB   12/22/2020   WN;829;LAX;MCI                    MEDINAFORT             MN                        US   54000   132004345.1515849@AIRLINE.KIWI.COM
47R3OE   12/10/2020   OB   12/12/2020   WN;2481;PVD;BWI                   LAKE HUNTER            RI                        US   60602   132556743@AIRLINE.KIWI.COM
47R3OE   12/10/2020   RT   12/12/2020   WN;3820;BWI;PVD                   LAKE HUNTER            RI                        US   60602   132556743@AIRLINE.KIWI.COM
47XGPW   12/10/2020   OB     1/4/2021   WN;394;FLL;ATL;WN;1333;ATL;RIC    WEST MARGARETBOROUGH   PA                        US    4290   132556930@AIRLINE.KIWI.COM
47XGPW   12/10/2020   OB     1/4/2021   WN;394;FLL;ATL;WN;1333;ATL;RIC    WEST MARGARETBOROUGH   PA                        US    4290   132556930@AIRLINE.KIWI.COM
48QZFY   12/10/2020   OB     1/6/2021   WN;1200;FLL;BWI                   MELILLA                A CORUNA                  ES   70050   132558184@AIRLINE.KIWI.COM
493VJU   12/10/2020   OB   12/18/2020   WN;1437;LAX;HOU                   CORTEZVILLE            NM                        US   35771   132558602@AIRLINE.KIWI.COM
493VJU   12/10/2020   RT   12/21/2020   WN;2813;HOU;LAX                   CORTEZVILLE            NM                        US   35771   132558602@AIRLINE.KIWI.COM
22GH78   12/11/2020   OB   12/18/2020   WN;773;DTW;BNA;WN;831;BNA;ATL     NEW JAIME              FL                        US    4253   132609730@AIRLINE.KIWI.COM
22IOZ4   12/11/2020   OB   12/19/2020   WN;2165;IND;TPA;WN;1061;TPA;MIA   MORGANSHIRE            TX                        US   91796   132609103@AIRLINE.KIWI.COM
22QSED   12/11/2020   OB   12/23/2020   WN;6961;ONT;LAS                   NEW JANETTOWN          MT                        US   66446   132609719@AIRLINE.KIWI.COM
23SXSR   12/11/2020   OB    1/10/2021   WN;2516;DEN;SEA                   NORTH LAURENPORT       AR                        US   70415   132613107@AIRLINE.KIWI.COM
244MJQ   12/11/2020   OB   12/23/2020   WN;3747;SLC;DEN                   EAST BRANDI            OK                        US   34317   132614416@AIRLINE.KIWI.COM
248AC4   12/11/2020   OB     1/5/2021   WN;799;SAT;HOU;WN;931;HOU;MCI     SHARONCHESTER          MI                        US   53742   132614086@AIRLINE.KIWI.COM
248AC4   12/11/2020   OB     1/5/2021   WN;799;SAT;HOU;WN;931;HOU;MCI     SHARONCHESTER          MI                        US   53742   132614086@AIRLINE.KIWI.COM
248GO5   12/11/2020   OB   12/21/2020   WN;663;HOU;MSY                    ANDERSENTOWN           WY                        US   27289   132614548@AIRLINE.KIWI.COM
24BOLZ   12/11/2020   OB    1/14/2021   WN;2247;CLT;BWI;WN;1633;BWI;MCO   ANDREAVILLE            WA                        US    9216   132614999@AIRLINE.KIWI.COM
25CQ83   12/11/2020   OB   12/22/2020   WN;293;AUS;TPA;WN;1065;TPA;MIA    PORT PARKERVILLE       MO                        US   31128   132617958@AIRLINE.KIWI.COM
265X6A   12/11/2020   OB   12/28/2020   WN;1185;LAX;BNA;WN;561;BNA;ATL    MCGEEFURT              HI                        US   71423   132619201@AIRLINE.KIWI.COM
268ELM   12/11/2020   OB     1/6/2021   WN;2392;SFO;PHX                   SCOTTFURT              SREDNJOBOSANSKI KANTON    BA   85168   132619311@AIRLINE.KIWI.COM
26P2BR   12/11/2020   OB   12/14/2020   WN;822;BWI;SJU                    TARNOWSKIE GORY        DOLNOSLASKIE              PL   77501   132621412@AIRLINE.KIWI.COM
26P2BR   12/11/2020   OB   12/14/2020   WN;822;BWI;SJU                    TARNOWSKIE GORY        DOLNOSLASKIE              PL   77501   132621412@AIRLINE.KIWI.COM
272QJH   12/11/2020   OB   12/16/2020   WN;2577;MIA;HOU;WN;2567;HOU;MSY   NEW SARAPORT           NH                        US   74278   132622050@AIRLINE.KIWI.COM
27JE5Q   12/11/2020   OB   12/20/2020   WN;361;SMF;DEN                    PORT WANDABURY         MI                        US   46220   132623073@AIRLINE.KIWI.COM
27VHLQ   12/11/2020   OB     1/6/2021   WN;1074;STL;TPA                   PORT LISASHIRE         MI                        US   97729   131592439.1516280@AIRLINE.KIWI.COM
28HNXF   12/11/2020   OB   12/22/2020   WN;322;LAS;SNA                    LAKE JAMESTOWN         MD                        US   70376   132625746@AIRLINE.KIWI.COM
29TJVL   12/11/2020   OB   12/18/2020   WN;486;DEN;IND                    MELANIEBURY            RI                        US   24782   132080894.1516318@AIRLINE.KIWI.COM
29W346   12/11/2020   OB     1/3/2021   WN;1766;DTW;BWI                   LISAVIEW               NM                        US   61719   132629959@AIRLINE.KIWI.COM
29ZBZ4   12/11/2020   OB   12/18/2020   WN;1003;OKC;MDW;WN;1181;MDW;LGA   MICHAELLAND            OR                        US   57567   132630795@AIRLINE.KIWI.COM
2AS94X   12/11/2020   OB   12/15/2020   WN;4072;LAS;BUR                   PORT MARIAHAVEN        AR                        US   92294   132633083@AIRLINE.KIWI.COM
2C5FC6   12/11/2020   OB   12/20/2020   WN;802;LAS;BWI                    SOUTH BRETTCHESTER     AL                        US   82219   132637637@AIRLINE.KIWI.COM
2CEBWN   12/11/2020   OB   12/31/2020   WN;352;ROC;BWI;WN;2675;BWI;CLT    REEDHAVEN              NE                        US   55689   132639342@AIRLINE.KIWI.COM
2CJ2ZK   12/11/2020   OB   12/19/2020   WN;1976;IND;CUN                   AVILA                  LUGO                      ES    9700   132638649@AIRLINE.KIWI.COM
2CVKIP   12/11/2020   OB   12/26/2020   WN;1678;BNA;BOS                   PEREZSTAD              MI                        US   28900   132640299@AIRLINE.KIWI.COM
2D78WQ   12/11/2020   OB   12/13/2020   WN;4149;PHL;BNA                   NEW JOSEPHSIDE         WI                        US   35772   132640497@AIRLINE.KIWI.COM
2ETSCS   12/11/2020   OB   12/20/2020   WN;653;LAS;OAK                    NORTH THOMAS           MS                        US   43387   132645810@AIRLINE.KIWI.COM
2FPDSC   12/11/2020   OB    1/24/2021   WN;458;BNA;MDW;WN;3131;MDW;GRR    NORTH MARYSHIRE        SC                        US   18885   132648032@AIRLINE.KIWI.COM
2FXIHG   12/11/2020   OB   12/30/2020   WN;642;OAK;DEN                    RITTERBURGH            WV                        US   18231   132648043@AIRLINE.KIWI.COM
2GCRQI   12/11/2020   OB   12/13/2020   WN;3228;LIT;DEN;WN;3886;DEN;LAS   PHOENIX                AZ                        US   85001   132646107@AIRLINE.KIWI.COM
2GCRQI   12/11/2020   OB   12/13/2020   WN;3228;LIT;DEN;WN;3886;DEN;LAS   PHOENIX                AZ                        US   85001   132646107@AIRLINE.KIWI.COM
2GEGCM   12/11/2020   OB     1/4/2021   WN;598;HOU;ATL                    NEW JACOBFURT          ME                        US   25639   132649176@AIRLINE.KIWI.COM
2GEGCM   12/11/2020   OB     1/4/2021   WN;598;HOU;ATL                    NEW JACOBFURT          ME                        US   25639   132649176@AIRLINE.KIWI.COM
2GJMLH   12/11/2020   OB   12/30/2020   WN;642;OAK;DEN                    WASHINGTONCHESTER      NV                        US   93970   132647339@AIRLINE.KIWI.COM
2H3WUX   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    HANSENMOUTH            DE                        US   65793   132650397@AIRLINE.KIWI.COM
2H47ZA   12/11/2020   OB   12/12/2020   WN;4555;MSP;MDW                   NEW BRIAN              SC                        US   71776   132651046@AIRLINE.KIWI.COM
2HUR9Q   12/11/2020   OB    3/11/2021   WN;467;MIA;BWI                    NORTH AARONBURGH       AL                        US   78516   132651992@AIRLINE.KIWI.COM
2HUR9Q   12/11/2020   OB    3/11/2021   WN;467;MIA;BWI                    NORTH AARONBURGH       AL                        US   78516   132651992@AIRLINE.KIWI.COM
2I852R   12/11/2020   OB   12/12/2020   WN;2201;CHS;BWI;WN;1628;BWI;ORF   KINGVILLE              UT                        US     589   132652883@AIRLINE.KIWI.COM
2ITMJH   12/11/2020   OB     1/3/2021   WN;3613;MDW;ATL                   SAN DANIELA LOS ALTO   JALISCO                   MX   31236   132654775@AIRLINE.KIWI.COM
2ITMJH   12/11/2020   OB     1/3/2021   WN;3613;MDW;ATL                   SAN DANIELA LOS ALTO   JALISCO                   MX   31236   132654775@AIRLINE.KIWI.COM
2IUYOX   12/11/2020   OB   12/19/2020   WN;1879;HNL;OGG                   GRIFFINFURT            WV                        US   72926   132654632@AIRLINE.KIWI.COM
2IUYOX   12/11/2020   OB   12/19/2020   WN;1879;HNL;OGG                   GRIFFINFURT            WV                        US   72926   132654632@AIRLINE.KIWI.COM
2J74V5   12/11/2020   OB    1/13/2021   WN;648;DEN;ICT                    CARRIESTAD             NJ                        US   87851   131356181.1516415@AIRLINE.KIWI.COM
2J74V5   12/11/2020   OB    1/13/2021   WN;648;DEN;ICT                    CARRIESTAD             NJ                        US   87851   131356181.1516415@AIRLINE.KIWI.COM
2J74V5   12/11/2020   OB    1/13/2021   WN;648;DEN;ICT                    CARRIESTAD             NJ                        US   87851   131356181.1516415@AIRLINE.KIWI.COM
2JD3IX   12/11/2020   OB   12/12/2020   WN;4738;ATL;DEN;WN;4738;DEN;SMF   NEW KYLE               OK                        US   43398   132655193@AIRLINE.KIWI.COM
2JD3IX   12/11/2020   OB   12/12/2020   WN;4738;ATL;DEN;WN;4738;DEN;SMF   NEW KYLE               OK                        US   43398   132655193@AIRLINE.KIWI.COM
2JNGWB   12/11/2020   OB     1/3/2021   WN;1956;HOU;LAX                   WEST HECTORBERG        ND                        US   93176   132655776@AIRLINE.KIWI.COM
49B3RU   12/11/2020   OB   12/29/2020   WN;21;STL;BNA;WN;226;BNA;CLE      PEPRBORDDS             KERALA                    IN   32954   132559262@AIRLINE.KIWI.COM
49B3RU   12/11/2020   OB   12/29/2020   WN;21;STL;BNA;WN;226;BNA;CLE      PEPRBORDDS             KERALA                    IN   32954   132559262@AIRLINE.KIWI.COM
49CLOI   12/11/2020   OB   12/25/2020   WN;4579;PHX;DAL                   LAKE PATRICKLAND       NE                        US    9228   132559482@AIRLINE.KIWI.COM
49G2PP   12/11/2020   OB   12/11/2020   WN;2723;HOU;MIA                   EDWARDSHAVEN           WV                        US   97643   132559812@AIRLINE.KIWI.COM
4AK5RF   12/11/2020   OB     1/2/2021   WN;1642;HOU;MDW                   DOUGLASBURGH           NH                        US   44921   132561462@AIRLINE.KIWI.COM
4B3FMH   12/11/2020   OB   12/18/2020   WN;864;DEN;OAK                    GREGORYVIEW            MS                        US   69954   132561957@AIRLINE.KIWI.COM
4B6NS5   12/11/2020   OB   12/18/2020   WN;338;OAK;LAS                    ZAMBROW                KUJAWSKOPOMORSKIE         PL   84265   132562188@AIRLINE.KIWI.COM
4BABO3   12/11/2020   OB   12/14/2020   WN;2580;RIC;MCO;WN;2438;MCO;FLL   JOSHUATOWN             NM                        US   44028   132562562@AIRLINE.KIWI.COM
4BW6AL   12/11/2020   OB   12/18/2020   WN;1012;MSP;DEN;WN;864;DEN;OAK    WEST LINDSAYBOROUGH    CO                        US   57378   132563145@AIRLINE.KIWI.COM
4C9632   12/11/2020   OB   12/20/2020   WN;338;OAK;LAS                    NORTH MADISON          WV                        US   92875   132563585@AIRLINE.KIWI.COM
4COW56   12/11/2020   OB   12/23/2020   WN;4299;LGA;BNA;WN;3765;BNA;FLL   NORTH JOSHUAPORT       CT                        US   51223   132564300@AIRLINE.KIWI.COM
4DD5KN   12/11/2020   OB   12/18/2020   WN;820;LAX;BNA;WN;834;BNA;ATL     LAKE JAMES             VA                        US   79789   132565279@AIRLINE.KIWI.COM
4DVONJ   12/11/2020   OB   12/11/2020   WN;4974;MDW;RSW                   KRISTINAPORT           WI                        US   18844   132565961@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E5359   12/11/2020   OB    3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA                        US   66162   132565620@AIRLINE.KIWI.COM
4E6WSS   12/11/2020   OB     1/3/2021   WN;3315;HOU;MCO                   EDWARDSTON             WI                        US   11224   132566445@AIRLINE.KIWI.COM
4E8GH4   12/11/2020   OB     1/5/2021   WN;1549;LAS;LAX                   D ALEKSANDROV          KALININGRADSKAYA OBLAST   RU   74321   132566126@AIRLINE.KIWI.COM
4EANLB   12/11/2020   OB   12/24/2020   WN;3379;BNA;PNS                   LAURAVILLE             SC                        US   41881   132566643@AIRLINE.KIWI.COM
4F99SQ   12/11/2020   OB   12/20/2020   WN;1343;SAN;SMF;WN;926;SMF;PDX    CHRISTINAMOUTH         PA                        US     583   132568139@AIRLINE.KIWI.COM
4FKXIZ   12/11/2020   OB     1/4/2021   WN;147;LAS;DEN;WN;1510;DEN;OKC    RONALDSHIRE            NH                        US   49231   132568590@AIRLINE.KIWI.COM
4FS4KC   12/11/2020   OB   12/27/2020   WN;6885;MDW;SLC                   GHOY                   NAMUR                     BE   93987   132568722@AIRLINE.KIWI.COM
4FVE7T   12/11/2020   OB   12/17/2020   WN;1503;PDX;SMF;WN;1503;SMF;SAN   JOHNSONBURGH           ME                        US   10522   132568546@AIRLINE.KIWI.COM
4FVE7T   12/11/2020   OB   12/17/2020   WN;1503;PDX;SMF;WN;1503;SMF;SAN   JOHNSONBURGH           ME                        US   10522   132568546@AIRLINE.KIWI.COM




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4FZUTB   12/11/2020   OB   12/26/2020   WN;102;BWI;MIA                    SOUTH LISAMOUTH       TN                         US   30297   132569162@AIRLINE.KIWI.COM
4FZUTB   12/11/2020   OB   12/26/2020   WN;102;BWI;MIA                    SOUTH LISAMOUTH       TN                         US   30297   132569162@AIRLINE.KIWI.COM
4GCRHQ   12/11/2020   OB   12/31/2020   WN;3388;MDW;MCO                   WEST JAMESVIEW        KY                         US   95865   132569624@AIRLINE.KIWI.COM
4GCRHQ   12/11/2020   OB   12/31/2020   WN;3388;MDW;MCO                   WEST JAMESVIEW        KY                         US   95865   132569624@AIRLINE.KIWI.COM
4GOIM3   12/11/2020   OB     1/3/2021   WN;1790;MCO;DCA                   LI XIAN               ANHUI SHENG                CN   96621   132569789@AIRLINE.KIWI.COM
4GPMQM   12/11/2020   OB   12/20/2020   WN;1507;SAN;SMF                   NEW TAMMY             AR                         US   39247   132570108@AIRLINE.KIWI.COM
4GRUH9   12/11/2020   OB     1/3/2021   WN;1790;MCO;DCA                   QIAN XIAN             GUANGXI ZHUANGZU ZIZHIQU   CN   89645   132569668@AIRLINE.KIWI.COM
4GUPYP   12/11/2020   OB   12/22/2020   WN;1803;LGB;LAS                   WEST MARIA            WV                         US   65360   132570592@AIRLINE.KIWI.COM
4GUPYP   12/11/2020   RT   12/25/2020   WN;2073;LAS;LGB                   WEST MARIA            WV                         US   65360   132570592@AIRLINE.KIWI.COM
4GW26D   12/11/2020   OB   12/19/2020   WN;2421;SAN;SJC                   LORIMOUTH             NJ                         US   82101   132552112@AIRLINE.KIWI.COM
4H4B8B   12/11/2020   OB   12/11/2020   WN;535;CVG;DEN;WN;1966;DEN;LAS    PORT CAROLVILLE       AK                         US   98014   132570922@AIRLINE.KIWI.COM
4H4B8B   12/11/2020   OB   12/11/2020   WN;535;CVG;DEN;WN;1966;DEN;LAS    PORT CAROLVILLE       AK                         US   98014   132570922@AIRLINE.KIWI.COM
4IACRS   12/11/2020   OB     1/3/2021   WN;2223;GEG;DEN                   PORT TIMOTHYLAND      NJ                         US   26515   132572451@AIRLINE.KIWI.COM
4IACRS   12/11/2020   OB     1/3/2021   WN;2223;GEG;DEN                   PORT TIMOTHYLAND      NJ                         US   26515   132572451@AIRLINE.KIWI.COM
4IBE7Q   12/11/2020   OB     1/6/2021   WN;1049;OMA;PHX                   SOUTH TREVOR          NH                         US   37081   132572396@AIRLINE.KIWI.COM
4IH6RF   12/11/2020   OB   12/31/2020   WN;3322;SNA;PHX                   NEW LAURA             ID                         US   52753   132572858@AIRLINE.KIWI.COM
4IH6RF   12/11/2020   OB   12/31/2020   WN;3322;SNA;PHX                   NEW LAURA             ID                         US   52753   132572858@AIRLINE.KIWI.COM
4ISUSJ   12/11/2020   OB   12/14/2020   WN;3558;MCO;ATL                   NEW WILLIAMSIDE       UT                         US   47319   132573078@AIRLINE.KIWI.COM
4JBPA5   12/11/2020   OB   12/12/2020   WN;4062;SAN;PHX                   SCOTTLAND             NV                         US   19693   132573551@AIRLINE.KIWI.COM
4JEJL7   12/11/2020   OB   12/12/2020   WN;4380;PHX;BNA                   NEW JASON             IA                         US   36832   132573551@AIRLINE.KIWI.COM
4KHZ94   12/11/2020   OB   12/23/2020   WN;3613;DEN;SNA                   SMITHTON              WI                         US   66661   132575179@AIRLINE.KIWI.COM
4KX8Z9   12/11/2020   OB   12/31/2020   WN;4945;ELP;PHX                   CASTILLOVILLE         MI                         US   25468   132575157@AIRLINE.KIWI.COM
4LFGX9   12/11/2020   OB   12/11/2020   WN;3203;LAS;ONT                   EAST MARKSTAD         MD                         US    7679   132576257@AIRLINE.KIWI.COM
4MZFNQ   12/11/2020   OB   12/17/2020   WN;2888;CLT;DEN                   GREENFURT             SC                         US   66855   132578358@AIRLINE.KIWI.COM
4RV6J5   12/11/2020   OB   12/17/2020   WN;529;BNA;LGA                    GRACEBERG             MS                         US   23802   132587158@AIRLINE.KIWI.COM
4S7F3D   12/11/2020   OB   12/24/2020   WN;3121;ATL;MDW                   JONESFURT             IL                         US   62727   132588621@AIRLINE.KIWI.COM
4SLFVP   12/11/2020   OB   12/27/2020   WN;3469;MDW;ATL                   MULLINSTON            IN                         US   13703   132589435@AIRLINE.KIWI.COM
4T69V6   12/11/2020   OB   12/11/2020   WN;4849;STL;HOU                   WEST MEAGANVILLE      MO                         US    5093   132590678@AIRLINE.KIWI.COM
4XHVG8   12/11/2020   OB   12/27/2020   WN;2311;DCA;STL                   EAST CHRISTINALAND    PA                         US   25809   132600886@AIRLINE.KIWI.COM
4XN8GV   12/11/2020   OB   12/24/2020   WN;4818;STL;DCA                   ASHLEEVIEW            AK                         US   63882   132600886@AIRLINE.KIWI.COM
2KO279   12/12/2020   OB   12/26/2020   WN;2108;ATL;LGA                   BARNETTTOWN           WV                         US   92907   132656810@AIRLINE.KIWI.COM
2KPVX6   12/12/2020   OB   12/20/2020   WN;915;MCI;DEN                    JUSTINSIDE            NH                         US   23004   132657008@AIRLINE.KIWI.COM
2KPVX6   12/12/2020   OB   12/20/2020   WN;915;MCI;DEN                    JUSTINSIDE            NH                         US   23004   132657008@AIRLINE.KIWI.COM
2KQRPM   12/12/2020   OB     1/8/2021   WN;4246;FLL;BNA;WN;1623;BNA;LAS   ANDERSONSTAD          TN                         US   15085   132657283@AIRLINE.KIWI.COM
2KQRPM   12/12/2020   OB     1/8/2021   WN;4246;FLL;BNA;WN;1623;BNA;LAS   ANDERSONSTAD          TN                         US   15085   132657283@AIRLINE.KIWI.COM
2LQ5R2   12/12/2020   OB   12/23/2020   WN;979;MCO;SJU                    KRISTINHAVEN          NM                         US   54533   132658592@AIRLINE.KIWI.COM
2LQ5R2   12/12/2020   OB   12/23/2020   WN;979;MCO;SJU                    KRISTINHAVEN          NM                         US   54533   132658592@AIRLINE.KIWI.COM
2LQ5R2   12/12/2020   OB   12/23/2020   WN;979;MCO;SJU                    KRISTINHAVEN          NM                         US   54533   132658592@AIRLINE.KIWI.COM
2LSIL6   12/12/2020   OB   12/24/2020   WN;3813;OKC;STL                   HANNAHMOUTH           MA                         US   92135   132658812@AIRLINE.KIWI.COM
2LSIL6   12/12/2020   RT   12/28/2020   WN;1481;STL;OKC                   HANNAHMOUTH           MA                         US   92135   132658812@AIRLINE.KIWI.COM
2MZU9P   12/12/2020   OB   12/15/2020   WN;197;FLL;SJU                    MENDES DO NORTE       RIO DE JANEIRO             BR   55435   132660462@AIRLINE.KIWI.COM
2OBBXW   12/12/2020   OB   12/20/2020   WN;841;STL;MDW;WN;967;MDW;CMH     ANGELATOWN            MD                         US   48725   132661793@AIRLINE.KIWI.COM
2OBBXW   12/12/2020   RT   12/27/2020   WN;6883;CMH;BNA;WN;2681;BNA;STL   ANGELATOWN            MD                         US   48725   132661793@AIRLINE.KIWI.COM
2P26W3   12/12/2020   OB   12/19/2020   WN;1958;PHX;LAX                   WEST HANNAH           NM                         US   43473   132662728@AIRLINE.KIWI.COM
2P26W3   12/12/2020   RT     1/3/2021   WN;1265;LAX;PHX                   WEST HANNAH           NM                         US   43473   132662728@AIRLINE.KIWI.COM
2Q75JT   12/12/2020   OB   12/12/2020   WN;1983;BUR;LAS                   KLKH ELABUGA          NOVOSIBIRSKAYA OBLAST      RU   47656   132664048@AIRLINE.KIWI.COM
2QWX93   12/12/2020   OB   12/14/2020   WN;5011;TPA;ATL                   BENNETTTOWN           MT                         US   55975   132664719@AIRLINE.KIWI.COM
2RTHUL   12/12/2020   OB   12/15/2020   WN;2624;PDX;DEN                   WILLIAMSSTAD          WA                         US   23986   132665566@AIRLINE.KIWI.COM
2S3BDE   12/12/2020   OB   12/29/2020   WN;1145;OAK;PSP                   WILSONMOUTH           WY                         US    4190   132665819@AIRLINE.KIWI.COM
2SPON6   12/12/2020   OB   12/18/2020   WN;626;BWI;DAL                    NORTH BRENDA          VA                         US   16796   132666765@AIRLINE.KIWI.COM
2T8DNS   12/12/2020   OB     1/3/2021   WN;4575;DEN;CLT                   RYANHAVEN             VA                         US   38926   132667007@AIRLINE.KIWI.COM
2T8DNS   12/12/2020   OB     1/3/2021   WN;4575;DEN;CLT                   RYANHAVEN             VA                         US   38926   132667007@AIRLINE.KIWI.COM
2TJWOO   12/12/2020   OB     1/3/2021   WN;4457;PHX;SAT                   SAN FIDEL LOS BAJOS   COAHUILA DE ZARAGOZA       MX   78884   132667678@AIRLINE.KIWI.COM
2UFM68   12/12/2020   OB   12/27/2020   WN;3576;JAX;BWI;WN;4176;BWI;DTW   PATRICIAFURT          OK                         US   87393   132668503@AIRLINE.KIWI.COM
2ULZS9   12/12/2020   OB   12/25/2020   WN;2077;BNA;JAX                   BROWNBOROUGH          NM                         US   20781   132668503@AIRLINE.KIWI.COM
2UXE7Z   12/12/2020   OB   12/19/2020   WN;1790;DEN;PHX                   MALLORYMOUTH          AK                         US   45476   132669075@AIRLINE.KIWI.COM
2UXE7Z   12/12/2020   OB   12/19/2020   WN;1790;DEN;PHX                   MALLORYMOUTH          AK                         US   45476   132669075@AIRLINE.KIWI.COM
2VOM5R   12/12/2020   OB   12/21/2020   WN;753;HNL;KOA                    NOVAKLAND             NJ                         US   22165   132669559@AIRLINE.KIWI.COM
2VOM5R   12/12/2020   RT     1/1/2021   WN;754;KOA;HNL                    NOVAKLAND             NJ                         US   22165   132669559@AIRLINE.KIWI.COM
2VQJDB   12/12/2020   OB   12/23/2020   WN;4832;STL;DTW                   JOHNBURGH             KS                         US   49917   132669790@AIRLINE.KIWI.COM
2W8Q8R   12/12/2020   OB   12/23/2020   WN;2190;RDU;BWI                   NORTH PAMELA          WY                         US   45437   132670054@AIRLINE.KIWI.COM
2X79RV   12/12/2020   OB   12/28/2020   WN;6889;DTW;BNA;WN;561;BNA;ATL    TIFFANYPORT           MS                         US   25879   132670890@AIRLINE.KIWI.COM
2X79RV   12/12/2020   OB   12/28/2020   WN;6889;DTW;BNA;WN;561;BNA;ATL    TIFFANYPORT           MS                         US   25879   132670890@AIRLINE.KIWI.COM
2X79RV   12/12/2020   RT     1/1/2021   WN;2002;ATL;BNA;WN;4149;BNA;DTW   TIFFANYPORT           MS                         US   25879   132670890@AIRLINE.KIWI.COM
2X79RV   12/12/2020   RT     1/1/2021   WN;2002;ATL;BNA;WN;4149;BNA;DTW   TIFFANYPORT           MS                         US   25879   132670890@AIRLINE.KIWI.COM
2YDAKS   12/12/2020   OB   12/19/2020   WN;1860;SAT;PHX;WN;1898;PHX;LGB   EAST TODD             GA                         US   34134   132672177@AIRLINE.KIWI.COM
2YDAKS   12/12/2020   OB   12/19/2020   WN;1860;SAT;PHX;WN;1898;PHX;LGB   EAST TODD             GA                         US   34134   132672177@AIRLINE.KIWI.COM
2YQP4O   12/12/2020   OB   12/12/2020   WN;3407;MCO;DCA                   EAST CHARLESBERG      NE                         US   62876   132672815@AIRLINE.KIWI.COM
2Z8O9F   12/12/2020   OB   12/12/2020   WN;2480;HNL;OAK;WN;2729;OAK;DEN   PORT DANIELLE         WESTERN AUSTRALIA          AU   29909   117171956.1516489@AIRLINE.KIWI.COM
386LF8   12/12/2020   OB   12/15/2020   WN;3031;BNA;MCI                   NORTH LAURIEFORT      AK                         US   59600   132682594@AIRLINE.KIWI.COM
39UNGH   12/12/2020   OB   12/16/2020   WN;1619;MAF;HOU;WN;1059;HOU;MSY   TYLERSIDE             VT                         US   84471   132687181@AIRLINE.KIWI.COM
3AH3TB   12/12/2020   OB   12/12/2020   WN;2711;HRL;HOU;WN;40;HOU;DAL     BADAN                 TRNAVSKY KRAJ              SK    7357   132688149@AIRLINE.KIWI.COM
3BRC9Q   12/12/2020   OB   12/19/2020   WN;1400;FLL;ATL                   LEBON                 AVEYRON                    FR   78701   132688127@AIRLINE.KIWI.COM
3DM3RN   12/12/2020   OB   12/19/2020   WN;2063;BOS;BWI;WN;402;BWI;CLE    MITCHELLBOROUGH       AK                         US   82371   132693913@AIRLINE.KIWI.COM
3DWRHO   12/12/2020   OB   12/20/2020   WN;346;SJU;BWI;WN;1261;BWI;DTW    WHARENUI              NELSON CITY                NZ   61594   132694815@AIRLINE.KIWI.COM
3EFGHM   12/12/2020   OB     1/3/2021   WN;4575;DEN;CLT                   WEST JAMESTOWN        AL                         US   45392   132695860@AIRLINE.KIWI.COM
3EFGHM   12/12/2020   OB     1/3/2021   WN;4575;DEN;CLT                   WEST JAMESTOWN        AL                         US   45392   132695860@AIRLINE.KIWI.COM
3F8CHE   12/12/2020   OB   12/26/2020   WN;1948;BNA;MKE                   YOUNGBURY             UT                         US    8099   132697664@AIRLINE.KIWI.COM
3FBKNQ   12/12/2020   OB   12/23/2020   WN;1719;MKE;BNA                   LAURENSTAD            MN                         US   53189   132697664@AIRLINE.KIWI.COM
3FI6MZ   12/12/2020   OB   12/22/2020   WN;763;DEN;CLT                    EAST EVANPORT         SD                         US   42925   132698280@AIRLINE.KIWI.COM
3G5JMQ   12/12/2020   OB    1/12/2021   WN;4423;PHX;DEN                   WEST CRYSTAL          ME                         US    3210   132699886@AIRLINE.KIWI.COM
3GFMIK   12/12/2020   OB   12/19/2020   WN;2044;JAX;BNA;WN;1665;BNA;LAS   NORTH LUKELAND        AK                         US   93403   132700139@AIRLINE.KIWI.COM
3H6YG5   12/12/2020   OB   12/24/2020   WN;2776;BWI;LAX                   NEW ROBINBOROUGH      CT                         US   72503   132701525@AIRLINE.KIWI.COM
3H6YG5   12/12/2020   OB   12/24/2020   WN;2776;BWI;LAX                   NEW ROBINBOROUGH      CT                         US   72503   132701525@AIRLINE.KIWI.COM
3H78II   12/12/2020   OB   12/27/2020   WN;6920;CHS;BNA;WN;1901;BNA;PHL   WEST JAMESVIEW        AL                         US   30282   132701855@AIRLINE.KIWI.COM
3H78II   12/12/2020   OB   12/27/2020   WN;6920;CHS;BNA;WN;1901;BNA;PHL   WEST JAMESVIEW        AL                         US   30282   132701855@AIRLINE.KIWI.COM
3H78II   12/12/2020   OB   12/27/2020   WN;6920;CHS;BNA;WN;1901;BNA;PHL   WEST JAMESVIEW        AL                         US   30282   132701855@AIRLINE.KIWI.COM
3HNCX9   12/12/2020   OB   12/12/2020   WN;2251;MCO;BHM                   PORT SEAN             SD                         US   47601   132702163@AIRLINE.KIWI.COM
3HNCX9   12/12/2020   OB   12/12/2020   WN;2251;MCO;BHM                   PORT SEAN             SD                         US   47601   132702163@AIRLINE.KIWI.COM
3HRZ7C   12/12/2020   OB   12/18/2020   WN;1366;MDW;ATL                   CHERYLMOUTH           TX                         US   70680   132702757@AIRLINE.KIWI.COM
3HZD2T   12/12/2020   OB   12/18/2020   WN;1295;SJC;BUR                   JONESSIDE             DE                         US   15535   132703516@AIRLINE.KIWI.COM
3ICTK3   12/12/2020   OB   12/18/2020   WN;770;LAX;MSY                    NEW ADAMCHESTER       LA                         US    7294   132703549@AIRLINE.KIWI.COM
3IKAAB   12/12/2020   OB    1/12/2021   WN;385;DEN;PHX                    TIMOTHYTOWN           NJ                         US   13526   132699886.1516676@AIRLINE.KIWI.COM
3IU7R8   12/12/2020   OB   12/20/2020   WN;1558;BUR;SJC                   SALINASLAND           TN                         US   70794   132705353@AIRLINE.KIWI.COM
3JBSZM   12/12/2020   OB   12/28/2020   WN;6889;DTW;BNA;WN;561;BNA;ATL    ANDREWTON             AR                         US   73447   132706420@AIRLINE.KIWI.COM
3JF9MZ   12/12/2020   OB   12/12/2020   WN;1095;STL;LGA                   VINCENTPORT           NM                         US   29903   132706057@AIRLINE.KIWI.COM
3K6GZM   12/12/2020   OB   12/26/2020   WN;1960;MSP;MDW                   EAST CARRIEBURGH      SD                         US   65395   132707652@AIRLINE.KIWI.COM
3KRBBH   12/12/2020   OB   12/23/2020   WN;420;HDN;DAL;WN;3480;DAL;SNA    PHILLIPMOUTH          NM                         US   71081   132709599@AIRLINE.KIWI.COM
3LKUQ4   12/12/2020   OB   12/24/2020   WN;2527;DEN;BWI                   PORT STACY            RI                         US   55162   132711898@AIRLINE.KIWI.COM
3LVPV4   12/12/2020   OB   12/24/2020   WN;4551;PHL;BNA;WN;2077;BNA;JAX   ANTHONYSIDE           IN                         US   43105   132712591@AIRLINE.KIWI.COM
3N73GC   12/12/2020   OB   12/23/2020   WN;3745;MDW;DAL                   GRANTSIDE             MA                         US    3940   132715374@AIRLINE.KIWI.COM
3N73GC   12/12/2020   OB   12/23/2020   WN;3745;MDW;DAL                   GRANTSIDE             MA                         US    3940   132715374@AIRLINE.KIWI.COM
3N73GC   12/12/2020   RT     1/3/2021   WN;4370;DAL;MDW                   GRANTSIDE             MA                         US    3940   132715374@AIRLINE.KIWI.COM
3N73GC   12/12/2020   RT     1/3/2021   WN;4370;DAL;MDW                   GRANTSIDE             MA                         US    3940   132715374@AIRLINE.KIWI.COM
3OTK9W   12/12/2020   OB   12/19/2020   WN;944;DAL;ELP                    LAKE JOSEPHBERG       HI                         US   87467   132718278@AIRLINE.KIWI.COM
3OWYTO   12/12/2020   OB   12/28/2020   WN;384;DEN;IND                    LAKE JAMESMOUTH       MI                         US   81385   132718817@AIRLINE.KIWI.COM
3P5KEF   12/12/2020   OB   12/18/2020   WN;1193;BNA;DAL                   SOUTH TERESAHAVEN     AR                         US   15547   132718278@AIRLINE.KIWI.COM




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3PFAUD   12/12/2020   OB   12/16/2020   WN;3989;LAX;LAS;WN;1423;LAS;SLC   FOWLERNEATH            SOUTHLAND          NZ    89999   132720247@AIRLINE.KIWI.COM
3Q3L4K   12/12/2020   OB     1/6/2021   WN;1172;OMA;PHX                   NEW DAVIDBURY          HI                 US    15464   132720907@AIRLINE.KIWI.COM
3QILND   12/12/2020   OB   12/25/2020   WN;535;CVG;DEN                    SOUTH KATIE            UT                 US     7052   129711758.1516751@AIRLINE.KIWI.COM
3QILND   12/12/2020   RT   12/31/2020   WN;2581;DEN;CVG                   SOUTH KATIE            UT                 US     7052   129711758.1516751@AIRLINE.KIWI.COM
3QM7KP   12/12/2020   OB   12/25/2020   WN;535;CVG;DEN                    PORT SAMANTHA          IA                 US    89308   129711758.1516751@AIRLINE.KIWI.COM
3QM7KP   12/12/2020   RT   12/31/2020   WN;2581;DEN;CVG                   PORT SAMANTHA          IA                 US    89308   129711758.1516751@AIRLINE.KIWI.COM
3R3KMN   12/12/2020   OB   12/23/2020   WN;591;OGG;HNL                    GARCIAPORT             SASKATCHEWAN       CA    65633   132723514@AIRLINE.KIWI.COM
3R863N   12/12/2020   OB   12/20/2020   WN;2205;DEN;ABQ                   COOKSTAD               VA                 US    41946   132724174@AIRLINE.KIWI.COM
3RO8PV   12/12/2020   OB   12/19/2020   WN;1423;AUS;PHX;WN;101;PHX;LAX    JESSICAVILLE           AL                 US    25046   132724988@AIRLINE.KIWI.COM
3RO8PV   12/12/2020   OB   12/19/2020   WN;1423;AUS;PHX;WN;101;PHX;LAX    JESSICAVILLE           AL                 US    25046   132724988@AIRLINE.KIWI.COM
3RXWID   12/12/2020   OB     1/4/2021   WN;155;ATL;LGA                    LISAFORT               MS                 US    51090   132725120@AIRLINE.KIWI.COM
3SW9OG   12/12/2020   OB   12/25/2020   WN;3299;GRR;MDW;WN;2362;MDW;BNA   SOUTH RONALDVILLE      CA                 US    71017   132727155@AIRLINE.KIWI.COM
3TJ5SJ   12/12/2020   OB   12/31/2020   WN;3587;DTW;BNA                   WELLSSIDE              OK                 US    17267   132727705@AIRLINE.KIWI.COM
3TUBSI   12/12/2020   OB   12/27/2020   WN;5071;BWI;FLL                   MILLERMOUTH            AL                 US    26009   132728134@AIRLINE.KIWI.COM
3UYHJU   12/12/2020   OB   12/31/2020   WN;2411;BWI;ATL                   BROWNVILLE             WI                 US    48589   132729575@AIRLINE.KIWI.COM
3VE362   12/12/2020   OB   12/13/2020   WN;1059;MEM;HOU                   NEW KIMBERLYBURY       NY                 US    39803   132730268@AIRLINE.KIWI.COM
UEBDPP   12/12/2020   OB   12/13/2020   WN;3134;DTW;BWI;WN;1804;BWI;AUA   THOMASSTAD             KS                 US    15386   128519050@AIRLINE.KIWI.COM
22YTL4   12/13/2020   OB     1/4/2021   WN;2171;LGA;MDW;WN;4469;MDW;OKC   PORT DEANNALAND        NY                 US    53263   132794475@AIRLINE.KIWI.COM
22YTL4   12/13/2020   RT     1/8/2021   WN;474;OKC;MDW;WN;469;MDW;LGA     PORT DEANNALAND        NY                 US    53263   132794475@AIRLINE.KIWI.COM
23HHT6   12/13/2020   OB   12/23/2020   WN;1906;SLC;DEN                   SOUTH VINCENTVIEW      VA                 US    22563   132795300@AIRLINE.KIWI.COM
23S4VR   12/13/2020   OB   12/21/2020   WN;1229;DEN;SEA                   KEVINVILLE             OH                 US    40782   132698555.1517095@AIRLINE.KIWI.COM
24HA6H   12/13/2020   OB    1/25/2021   WN;5084;LAS;OAK;WN;1282;OAK;HNL   CASSANDRAVIEW          KS                 US    51068   132798347@AIRLINE.KIWI.COM
24HA6H   12/13/2020   OB    1/25/2021   WN;5084;LAS;OAK;WN;1282;OAK;HNL   CASSANDRAVIEW          KS                 US    51068   132798347@AIRLINE.KIWI.COM
24KW4X   12/13/2020   OB    1/25/2021   WN;2590;MDW;LAS                   COMBSCHESTER           NE                 US    24644   132798347@AIRLINE.KIWI.COM
24KW4X   12/13/2020   OB    1/25/2021   WN;2590;MDW;LAS                   COMBSCHESTER           NE                 US    24644   132798347@AIRLINE.KIWI.COM
25LXRV   12/13/2020   OB   12/26/2020   WN;2200;SMF;DEN;WN;2247;DEN;TPA   BRADFORDFURT           GA                 US    66636   132800558@AIRLINE.KIWI.COM
25XAOB   12/13/2020   OB   12/25/2020   WN;2804;CVG;BWI;WN;2510;BWI;BOS   DHAARVAADD             MADHYA PRADESH     IN    79858   132800800@AIRLINE.KIWI.COM
25XAOB   12/13/2020   OB   12/25/2020   WN;2804;CVG;BWI;WN;2510;BWI;BOS   DHAARVAADD             MADHYA PRADESH     IN    79858   132800800@AIRLINE.KIWI.COM
25XAOB   12/13/2020   RT     1/4/2021   WN;277;BOS;BWI;WN;373;BWI;CVG     DHAARVAADD             MADHYA PRADESH     IN    79858   132800800@AIRLINE.KIWI.COM
25XAOB   12/13/2020   RT     1/4/2021   WN;277;BOS;BWI;WN;373;BWI;CVG     DHAARVAADD             MADHYA PRADESH     IN    79858   132800800@AIRLINE.KIWI.COM
27959D   12/13/2020   OB     1/2/2021   WN;6913;ATL;MEM                   DIAZLAND               AK                 US    18899   132802527@AIRLINE.KIWI.COM
27B43D   12/13/2020   OB    1/18/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC   NEW MADELINE           DE                 US    58357   132802780@AIRLINE.KIWI.COM
27DH7C   12/13/2020   OB   12/20/2020   WN;1202;BOS;MDW;WN;1006;MDW;MEM   ALIIGDDH               ASSAM              IN    86342   132802879@AIRLINE.KIWI.COM
283HV3   12/13/2020   OB   12/20/2020   WN;244;MDW;DEN                    LYNNCHESTER            MS                 US    98878   132803616@AIRLINE.KIWI.COM
3WFRSM   12/13/2020   OB   12/13/2020   WN;1667;DEN;SLC                   EAST SHELLY            FL                 US    32688   132731566@AIRLINE.KIWI.COM
3WFRSM   12/13/2020   OB   12/13/2020   WN;1667;DEN;SLC                   EAST SHELLY            FL                 US    32688   132731566@AIRLINE.KIWI.COM
3WFRSM   12/13/2020   OB   12/13/2020   WN;1667;DEN;SLC                   EAST SHELLY            FL                 US    32688   132731566@AIRLINE.KIWI.COM
3WFRSM   12/13/2020   OB   12/13/2020   WN;1667;DEN;SLC                   EAST SHELLY            FL                 US    32688   132731566@AIRLINE.KIWI.COM
3WFRSM   12/13/2020   OB   12/13/2020   WN;1667;DEN;SLC                   EAST SHELLY            FL                 US    32688   132731566@AIRLINE.KIWI.COM
3WRI49   12/13/2020   OB     3/1/2021   WN;4997;STL;MDW;WN;3306;MDW;MIA   NEW ASHLEYFORT         AK                 US    54346   132731775@AIRLINE.KIWI.COM
3WWY5C   12/13/2020   OB     1/8/2021   WN;914;RSW;HOU                    LAKE SUSAN             TX                 US    49140   132732050@AIRLINE.KIWI.COM
3WWY5C   12/13/2020   RT    1/22/2021   WN;372;HOU;RSW                    LAKE SUSAN             TX                 US    49140   132732050@AIRLINE.KIWI.COM
3X5NJW   12/13/2020   OB     1/2/2021   WN;1062;MIA;TPA;WN;498;TPA;LGA    PORT GARYHAVEN         ND                 US    20105   132732226@AIRLINE.KIWI.COM
3X5NJW   12/13/2020   OB     1/2/2021   WN;1062;MIA;TPA;WN;498;TPA;LGA    PORT GARYHAVEN         ND                 US    20105   132732226@AIRLINE.KIWI.COM
3XDKDV   12/13/2020   OB     1/2/2021   WN;6970;ATL;PHL                   TAYLORTOWN             MI                 US    89890   132732281@AIRLINE.KIWI.COM
3XVKGS   12/13/2020   OB   12/13/2020   WN;3803;ATL;MSY                   BROWNBERG              IA                 US    17904   132732941@AIRLINE.KIWI.COM
3Y84S3   12/13/2020   OB   12/27/2020   WN;3436;LGA;ATL                   LISASIDE               MA                 US    49602   132733480@AIRLINE.KIWI.COM
3Y84S3   12/13/2020   OB   12/27/2020   WN;3436;LGA;ATL                   LISASIDE               MA                 US    49602   132733480@AIRLINE.KIWI.COM
3Y84S3   12/13/2020   OB   12/27/2020   WN;3436;LGA;ATL                   LISASIDE               MA                 US    49602   132733480@AIRLINE.KIWI.COM
3Y9DNH   12/13/2020   OB   12/29/2020   WN;1053;DAL;MCI                   KRISTINLAND            RI                 US    43410   132733403@AIRLINE.KIWI.COM
3YAEF6   12/13/2020   OB     1/3/2021   WN;4498;MCI;DAL                   SUZANNEVIEW            DE                 US    22912   132733403@AIRLINE.KIWI.COM
3YS8GU   12/13/2020   OB   12/17/2020   WN;941;ATL;MDW                    THOMASVIEW             AZ                 US    16350   132730367@AIRLINE.KIWI.COM
3YS8GU   12/13/2020   OB   12/17/2020   WN;941;ATL;MDW                    THOMASVIEW             AZ                 US    16350   132730367@AIRLINE.KIWI.COM
3YS8GU   12/13/2020   OB   12/17/2020   WN;941;ATL;MDW                    THOMASVIEW             AZ                 US    16350   132730367@AIRLINE.KIWI.COM
3YS8GU   12/13/2020   OB   12/17/2020   WN;941;ATL;MDW                    THOMASVIEW             AZ                 US    16350   132730367@AIRLINE.KIWI.COM
3YS8GU   12/13/2020   OB   12/17/2020   WN;941;ATL;MDW                    THOMASVIEW             AZ                 US    16350   132730367@AIRLINE.KIWI.COM
3ZAEO7   12/13/2020   OB   12/23/2020   WN;2034;FLL;ATL                   LAKE BENJAMIN          OH                 US    72471   132734261@AIRLINE.KIWI.COM
3ZAEO7   12/13/2020   OB   12/23/2020   WN;2034;FLL;ATL                   LAKE BENJAMIN          OH                 US    72471   132734261@AIRLINE.KIWI.COM
3ZAEO7   12/13/2020   RT   12/27/2020   WN;3843;ATL;FLL                   LAKE BENJAMIN          OH                 US    72471   132734261@AIRLINE.KIWI.COM
3ZAEO7   12/13/2020   RT   12/27/2020   WN;3843;ATL;FLL                   LAKE BENJAMIN          OH                 US    72471   132734261@AIRLINE.KIWI.COM
3ZSTA9   12/13/2020   OB   12/26/2020   WN;1972;ATL;LGA                   SOUTH AUDREYPORT       WI                 US    37440   132735141@AIRLINE.KIWI.COM
42G77R   12/13/2020   OB   12/27/2020   WN;2427;ORF;BWI;WN;1824;BWI;BOS   LAKE JEREMY            MN                 US    61969   132735647@AIRLINE.KIWI.COM
43YLE4   12/13/2020   OB   12/27/2020   WN;3507;LAS;ATL                   GWANGJUSI              GYEONGSANGBUKDO    KR    92018   132736725@AIRLINE.KIWI.COM
445S6H   12/13/2020   OB     1/3/2021   WN;4920;HOU;DTW                   NEW DREW               WV                 US    83762   132734404@AIRLINE.KIWI.COM
45WZT6   12/13/2020   OB   12/13/2020   WN;3262;MDW;PHL                   PORT MELODY            OK                 US    31930   132738353@AIRLINE.KIWI.COM
464GNF   12/13/2020   OB   12/14/2020   WN;2437;BNA;AUS                   JORDANSTAD             SD                 US    60317   132738364@AIRLINE.KIWI.COM
46NFBA   12/13/2020   OB   12/27/2020   WN;1758;CLE;MDW;WN;3806;MDW;BDL   LEETON                 VT                 US    52577   132738727@AIRLINE.KIWI.COM
486ADA   12/13/2020   OB   12/15/2020   WN;2730;CLT;DEN                   EAST JEFF              REPUBLIKA SRPSKA   BA    26181   132739772@AIRLINE.KIWI.COM
489OR9   12/13/2020   OB   12/15/2020   WN;244;BOS;BWI;WN;3302;BWI;CLE    WEST DENISE            AZ                 US    66842   132740366@AIRLINE.KIWI.COM
48WG4O   12/13/2020   OB   12/16/2020   WN;4131;MIA;HOU;WN;4707;HOU;AUS   HARRISMOUTH            IA                 US    32024   132740795@AIRLINE.KIWI.COM
48YBQV   12/13/2020   OB   12/24/2020   WN;2978;BOS;BWI                   EAST NATHANIEL         NM                 US    51224   132740707@AIRLINE.KIWI.COM
497BCR   12/13/2020   OB   12/25/2020   WN;3140;DTW;MDW;WN;2702;MDW;LGA   PASCALBOURG            PASDECALAIS        FR    14120   132741015@AIRLINE.KIWI.COM
497BCR   12/13/2020   OB   12/25/2020   WN;3140;DTW;MDW;WN;2702;MDW;LGA   PASCALBOURG            PASDECALAIS        FR    14120   132741015@AIRLINE.KIWI.COM
497BCR   12/13/2020   OB   12/25/2020   WN;3140;DTW;MDW;WN;2702;MDW;LGA   PASCALBOURG            PASDECALAIS        FR    14120   132741015@AIRLINE.KIWI.COM
497BCR   12/13/2020   OB   12/25/2020   WN;3140;DTW;MDW;WN;2702;MDW;LGA   PASCALBOURG            PASDECALAIS        FR    14120   132741015@AIRLINE.KIWI.COM
49GQNA   12/13/2020   OB   12/30/2020   WN;1482;PHX;MSP                   DANASIDE               NY                 US    23528   132741290@AIRLINE.KIWI.COM
49HL8P   12/13/2020   OB   12/24/2020   WN;4180;OMA;DEN                   BRYANTMOUTH            WY                 US    99660   132741334@AIRLINE.KIWI.COM
4C9S2X   12/13/2020   OB    1/27/2021   WN;3203;RDU;BNA                   WEST BROOKE            ND                 US    88618   132743633@AIRLINE.KIWI.COM
4C9S2X   12/13/2020   RT     2/1/2021   WN;4222;BNA;RDU                   WEST BROOKE            ND                 US    88618   132743633@AIRLINE.KIWI.COM
4D4BK5   12/13/2020   OB   12/18/2020   WN;792;SLC;LAS                    PORT ROBERT            NH                 US    19178   132744843@AIRLINE.KIWI.COM
4F8PFF   12/13/2020   OB   12/23/2020   WN;5025;SLC;DEN;WN;3880;DEN;MCI   LAURAPORT              RI                 US    36573   132747670@AIRLINE.KIWI.COM
4HPQH7   12/13/2020   OB   12/23/2020   WN;4157;PHX;SJC                   WEST CHRISTINACHESTE   NJ                 US    51824   132751652@AIRLINE.KIWI.COM
4KQM5A   12/13/2020   OB   12/28/2020   WN;1533;MCI;OAK;WN;1387;OAK;LAX   EAST PRISCILLAVIEW     IN                 US    54859   132757713@AIRLINE.KIWI.COM
4MXQDO   12/13/2020   OB     1/2/2021   WN;2256;HOU;BWI                   NEW JOSHUASHIRE        FL                 US     4016   132762234@AIRLINE.KIWI.COM
4NP2AF   12/13/2020   OB   12/27/2020   WN;2505;IND;ATL                   LAKE FREDERICK         NV                 US    18928   132763521@AIRLINE.KIWI.COM
4OL92T   12/13/2020   OB   12/20/2020   WN;815;MDW;HOU;WN;661;HOU;MIA     BELA POD BEZDEZEM      -                  -     19306   131708940.1517033@AIRLINE.KIWI.COM
4OL92T   12/13/2020   OB   12/20/2020   WN;815;MDW;HOU;WN;661;HOU;MIA     BELA POD BEZDEZEM      -                  -     19306   131708940.1517033@AIRLINE.KIWI.COM
4OPING   12/13/2020   OB     1/4/2021   WN;57;IND;DEN                     CARLOSSHIRE            CO                 US    70815   132765490@AIRLINE.KIWI.COM
4Q5M9B   12/13/2020   OB   12/20/2020   WN;3360;ATL;LGA                   NORTH MAKAYLA          NH                 US    54743   132768647@AIRLINE.KIWI.COM
4Q5M9B   12/13/2020   OB   12/20/2020   WN;3360;ATL;LGA                   NORTH MAKAYLA          NH                 US    54743   132768647@AIRLINE.KIWI.COM
4RDWRA   12/13/2020   OB     1/2/2021   WN;1521;ATL;LGA                   WEST AMBER             TN                 US    45333   132771133@AIRLINE.KIWI.COM
4S4ZMY   12/13/2020   OB   12/13/2020   WN;2298;LAX;HOU;WN;2567;HOU;MSY   KARENLAND              WV                 US    44647   132772530@AIRLINE.KIWI.COM
4S7YHW   12/13/2020   OB    1/27/2021   WN;590;HNL;OGG                    NAKKILA                UUSIMAA            FI    81065   132772915@AIRLINE.KIWI.COM
4S7YHW   12/13/2020   OB    1/27/2021   WN;590;HNL;OGG                    NAKKILA                UUSIMAA            FI    81065   132772915@AIRLINE.KIWI.COM
4S7YHW   12/13/2020   OB    1/27/2021   WN;590;HNL;OGG                    NAKKILA                UUSIMAA            FI    81065   132772915@AIRLINE.KIWI.COM
4S7YHW   12/13/2020   OB    1/27/2021   WN;590;HNL;OGG                    NAKKILA                UUSIMAA            FI    81065   132772915@AIRLINE.KIWI.COM
4SJWX9   12/13/2020   OB   12/14/2020   WN;4131;MIA;HOU;WN;3435;HOU;OAK   PORT DESTINYFURT       CO                 US    41779   132773355@AIRLINE.KIWI.COM
4T9SO3   12/13/2020   OB   12/27/2020   WN;4319;BNA;SAN                   PORT ALYSSABERG        KS                 US    64762   132775093@AIRLINE.KIWI.COM
4TQ4T8   12/13/2020   OB    1/10/2021   WN;3348;LGA;ATL                   WILLIAMSBURGH          ND                 US    62342   132775665@AIRLINE.KIWI.COM
4TYHSH   12/13/2020   OB   12/15/2020   WN;3408;LAS;RNO                   JAMESSIDE              MI                 US    70459   132720632.1517085@AIRLINE.KIWI.COM
4TYHSH   12/13/2020   OB   12/15/2020   WN;3408;LAS;RNO                   JAMESSIDE              MI                 US    70459   132720632.1517085@AIRLINE.KIWI.COM
4USQK8   12/13/2020   OB     1/5/2021   WN;560;FLL;AUS;WN;912;AUS;SAN     WEST LYNNMOUTH         TN                 US    23948   132778954@AIRLINE.KIWI.COM
4V6ESF   12/13/2020   OB     1/3/2021   WN;4800;PHL;MDW;WN;3104;MDW;LAS   BARTONSTAD             IA                 US    11593   132778976@AIRLINE.KIWI.COM
4WW22U   12/13/2020   OB   12/27/2020   WN;4930;MCO;DEN                   DAVISVIEW              ND                 US    60526   132784113@AIRLINE.KIWI.COM
4XAHID   12/13/2020   OB   12/13/2020   WN;3262;MDW;PHL                   PORT MELODY            OK                 US    31930   132738353@AIRLINE.KIWI.COM
4XAPSQ   12/13/2020   OB    2/12/2021   WN;3640;LAS;DEN;WN;4433;DEN;PHL   WEST KATHERINE         TN                 US    92350   132785059@AIRLINE.KIWI.COM
4XAPSQ   12/13/2020   OB    2/12/2021   WN;3640;LAS;DEN;WN;4433;DEN;PHL   WEST KATHERINE         TN                 US    92350   132785059@AIRLINE.KIWI.COM




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4XAPSQ   12/13/2020   RT    2/15/2021   WN;930;PHL;DEN;WN;856;DEN;LAS     WEST KATHERINE         TN                    US   92350   132785059@AIRLINE.KIWI.COM
4XAPSQ   12/13/2020   RT    2/15/2021   WN;930;PHL;DEN;WN;856;DEN;LAS     WEST KATHERINE         TN                    US   92350   132785059@AIRLINE.KIWI.COM
4XL765   12/13/2020   OB   12/22/2020   WN;730;SLC;DEN;WN;858;DEN;PIT     ROBERTFORT             HI                    US   76834   132786203@AIRLINE.KIWI.COM
4XS3KI   12/13/2020   OB   12/28/2020   WN;262;SFO;BUR                    PAULSTAD               NC                    US    1850   132786555@AIRLINE.KIWI.COM
4XWGED   12/13/2020   OB   12/27/2020   WN;3853;SEA;LAS                   CATHERINEVIEW          WY                    US   49024   132786940@AIRLINE.KIWI.COM
4YFOEX   12/13/2020   OB   12/19/2020   WN;1681;TPA;HOU;WN;1984;HOU;HRL   WEST KEVINVILLE        MS                    US   62355   132788117@AIRLINE.KIWI.COM
4YJKIO   12/13/2020   OB   12/28/2020   WN;3360;ATL;LGA                   COLONMOUTH             ID                    US   11122   132788832@AIRLINE.KIWI.COM
4YULZP   12/13/2020   OB    2/25/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA    STEPHENSBERG           MD                    US   54339   132789690@AIRLINE.KIWI.COM
4ZJAVW   12/13/2020   OB   12/21/2020   WN;277;BOS;BWI;WN;331;BWI;MIA     NUVAAKOTT              LUMBINI               NP    4132   132790933@AIRLINE.KIWI.COM
4ZJBOP   12/13/2020   OB   12/14/2020   WN;4936;SMF;LAX                   SOUTH REBEKAH          AMMOCHOSTOS           CY    2881   132790867@AIRLINE.KIWI.COM
4ZQKUM   12/13/2020   OB     1/6/2021   WN;1057;MIA;HOU;WN;668;HOU;SLC    TEIXEIRA               PIAUI                 BR   11126   132789789@AIRLINE.KIWI.COM
4ZWAOF   12/13/2020   OB   12/31/2020   WN;2600;MDW;HOU                   TAYLORBURGH            WI                    US   94051   132792319@AIRLINE.KIWI.COM
4ZWAOF   12/13/2020   OB   12/31/2020   WN;2600;MDW;HOU                   TAYLORBURGH            WI                    US   94051   132792319@AIRLINE.KIWI.COM
4ZWAOF   12/13/2020   RT     1/4/2021   WN;658;HOU;MDW                    TAYLORBURGH            WI                    US   94051   132792319@AIRLINE.KIWI.COM
4ZWAOF   12/13/2020   RT     1/4/2021   WN;658;HOU;MDW                    TAYLORBURGH            WI                    US   94051   132792319@AIRLINE.KIWI.COM
293MSU   12/14/2020   OB   12/29/2020   WN;965;LAX;DAL                    GRAHAMFORT             LEMESOS               CY   54503   132805013@AIRLINE.KIWI.COM
2ALCC7   12/14/2020   OB   12/28/2020   WN;1137;OAK;LAX                   SOUTH MICHAEL          CA                    US   50735   132806454@AIRLINE.KIWI.COM
2AWXX7   12/14/2020   OB   12/19/2020   WN;785;KOA;OGG                    LAKE ROBERT            TX                    US   80356   132807180@AIRLINE.KIWI.COM
2AWXX7   12/14/2020   OB   12/19/2020   WN;785;KOA;OGG                    LAKE ROBERT            TX                    US   80356   132807180@AIRLINE.KIWI.COM
2AWXX7   12/14/2020   OB   12/19/2020   WN;785;KOA;OGG                    LAKE ROBERT            TX                    US   80356   132807180@AIRLINE.KIWI.COM
2AWXX7   12/14/2020   OB   12/19/2020   WN;785;KOA;OGG                    LAKE ROBERT            TX                    US   80356   132807180@AIRLINE.KIWI.COM
2B2HIH   12/14/2020   OB    2/16/2021   WN;4264;DEN;MSP                   DIANESIDE              MT                    US   79229   132807378@AIRLINE.KIWI.COM
2B2HIH   12/14/2020   OB    2/16/2021   WN;4264;DEN;MSP                   DIANESIDE              MT                    US   79229   132807378@AIRLINE.KIWI.COM
2B3RYK   12/14/2020   OB   12/22/2020   WN;831;ATL;CMH                    WEST THOMAS            WY                    US    1025   132807345@AIRLINE.KIWI.COM
2B5K5P   12/14/2020   OB   12/28/2020   WN;3372;LGA;TPA                   SOUTH NICOLE           TN                    US   67730   132807532@AIRLINE.KIWI.COM
2BFNTB   12/14/2020   OB    2/24/2021   WN;2809;CVG;MDW;WN;3306;MDW;MIA   NORTH GLORIATOWN       TX                    US   72953   132807675@AIRLINE.KIWI.COM
2BFNTB   12/14/2020   OB    2/24/2021   WN;2809;CVG;MDW;WN;3306;MDW;MIA   NORTH GLORIATOWN       TX                    US   72953   132807675@AIRLINE.KIWI.COM
2BTIQ7   12/14/2020   OB   12/23/2020   WN;1714;DEN;MKE                   AUSTINBOROUGH          CO                    US   73501   132808247@AIRLINE.KIWI.COM
2C8KON   12/14/2020   OB   12/23/2020   WN;1971;DEN;SLC                   DIANAVIEW              MS                    US   26155   132808621@AIRLINE.KIWI.COM
2C8KON   12/14/2020   OB   12/23/2020   WN;1971;DEN;SLC                   DIANAVIEW              MS                    US   26155   132808621@AIRLINE.KIWI.COM
2CDTM6   12/14/2020   OB   12/23/2020   WN;3109;MCO;DEN                   WEST JEFFREY           SD                    US   76433   132808621@AIRLINE.KIWI.COM
2CDTM6   12/14/2020   OB   12/23/2020   WN;3109;MCO;DEN                   WEST JEFFREY           SD                    US   76433   132808621@AIRLINE.KIWI.COM
2CUXYD   12/14/2020   OB   12/14/2020   WN;4549;ATL;MEM                   BRANDONHAVEN           IL                    US   53661   132809259@AIRLINE.KIWI.COM
2EP5TH   12/14/2020   OB   12/20/2020   WN;6761;DEN;DAL                   JOHNSONSIDE            IL                    US    2677   132811591@AIRLINE.KIWI.COM
2ERBCM   12/14/2020   OB    1/31/2021   WN;3429;LAS;DEN                   PORT RYAN              MN                    US   82245   132811294@AIRLINE.KIWI.COM
2ETM6V   12/14/2020   OB   12/28/2020   WN;1582;AMA;DAL;WN;11;DAL;HOU     JOHNSONMOUTH           DE                    US   81994   132811569@AIRLINE.KIWI.COM
2EUCUL   12/14/2020   OB    1/31/2021   WN;3429;LAS;DEN                   WEST VANESSAFURT       WY                    US   28384   132811536@AIRLINE.KIWI.COM
2EVQ4P   12/14/2020   OB    1/31/2021   WN;3429;LAS;DEN                   EAST MASON             VA                    US   15927   132811437@AIRLINE.KIWI.COM
2EWYGJ   12/14/2020   OB   12/27/2020   WN;3156;DAL;RNO;WN;3156;RNO;SAN   MEGANTOWN              UT                    US   83574   132811591@AIRLINE.KIWI.COM
2F8OUC   12/14/2020   OB    1/14/2021   WN;157;SLC;OAK;WN;1282;OAK;HNL    NEW BRYANFORT          AK                    US   42888   132812174@AIRLINE.KIWI.COM
2F8OUC   12/14/2020   OB    1/14/2021   WN;157;SLC;OAK;WN;1282;OAK;HNL    NEW BRYANFORT          AK                    US   42888   132812174@AIRLINE.KIWI.COM
2FV237   12/14/2020   OB   12/28/2020   WN;1334;RIC;ATL                   LAKE CHRISTOPHERTON    MS                    US   98293   132813252@AIRLINE.KIWI.COM
2GCAF3   12/14/2020   OB   12/20/2020   WN;985;LGA;MDW                    ISAKBERG               KIRKLARELI            TR   23548   132813274@AIRLINE.KIWI.COM
2GFJCS   12/14/2020   OB   12/18/2020   WN;369;CLE;MDW                    LAKE JAMESMOUTH        TN                    US   20491   132814033@AIRLINE.KIWI.COM
2GQGVR   12/14/2020   OB   12/20/2020   WN;1223;LAX;LAS;WN;959;LAS;ATL    SARAHSIDE              HI                    US   61552   132814462@AIRLINE.KIWI.COM
2GXFGQ   12/14/2020   OB   12/27/2020   WN;4808;SMF;PDX                   MORGANPORT             AL                    US   98865   132814847@AIRLINE.KIWI.COM
2GXFGQ   12/14/2020   OB   12/27/2020   WN;4808;SMF;PDX                   MORGANPORT             AL                    US   98865   132814847@AIRLINE.KIWI.COM
2GYUFO   12/14/2020   OB   12/31/2020   WN;4158;DEN;SMF                   LAKE BRIANBOROUGH      ID                    US   38841   132814946@AIRLINE.KIWI.COM
2H2FRD   12/14/2020   OB   12/31/2020   WN;4158;DEN;SMF                   HOLTLAND               UT                    US   28008   132814891@AIRLINE.KIWI.COM
2H2FRD   12/14/2020   OB   12/31/2020   WN;4158;DEN;SMF                   HOLTLAND               UT                    US   28008   132814891@AIRLINE.KIWI.COM
2H4QBU   12/14/2020   OB   12/31/2020   WN;3072;MSP;DEN                   RIVERABURGH            WA                    US   47635   132814946@AIRLINE.KIWI.COM
2H9SOB   12/14/2020   OB   12/31/2020   WN;3072;MSP;DEN                   NORTH ERIK             KY                    US   64634   132814891@AIRLINE.KIWI.COM
2H9SOB   12/14/2020   OB   12/31/2020   WN;3072;MSP;DEN                   NORTH ERIK             KY                    US   64634   132814891@AIRLINE.KIWI.COM
2I2VY7   12/14/2020   OB   12/15/2020   WN;3551;BWI;CVG                   SOUTH DIAMONDBERG      AL MAFRAQ             JO   57907   132815804@AIRLINE.KIWI.COM
2JMASH   12/14/2020   OB   12/20/2020   WN;499;DEN;DTW                    SOUTH ANNAPORT         RI                    US   90664   132817608@AIRLINE.KIWI.COM
2KEU37   12/14/2020   OB   12/20/2020   WN;335;MCO;ATL                    VALERIEBURGH           LA                    US    6765   132818499@AIRLINE.KIWI.COM
2KEU37   12/14/2020   OB   12/20/2020   WN;335;MCO;ATL                    VALERIEBURGH           LA                    US    6765   132818499@AIRLINE.KIWI.COM
2KKPUA   12/14/2020   OB   12/18/2020   WN;563;LAS;SJC                    AARONBURGH             NY                    US   17304   132818477@AIRLINE.KIWI.COM
2KKPUA   12/14/2020   RT   12/21/2020   WN;549;SJC;LAS                    AARONBURGH             NY                    US   17304   132818477@AIRLINE.KIWI.COM
2NT4W4   12/14/2020   OB   12/20/2020   WN;3360;ATL;LGA                   COREYFORT              GA                    US   64882   132820589@AIRLINE.KIWI.COM
2QO2LE   12/14/2020   OB   12/30/2020   WN;1193;SMF;PHX                   MARKPORT               AZ                    US   42596   132829807@AIRLINE.KIWI.COM
2QZIIC   12/14/2020   OB   12/14/2020   WN;879;LIH;HNL                    NORTH NICOLEBURY       CT                    US   72343   132830027@AIRLINE.KIWI.COM
2QZIIC   12/14/2020   OB   12/14/2020   WN;879;LIH;HNL                    NORTH NICOLEBURY       CT                    US   72343   132830027@AIRLINE.KIWI.COM
2TIUZP   12/14/2020   OB   12/18/2020   WN;335;MCO;ATL                    JEFFREYLAND            AK                    US   55194   132836616@AIRLINE.KIWI.COM
2YVKGG   12/14/2020   OB   12/14/2020   WN;3121;ATL;MDW;WN;4491;MDW;DTW   RENEEFURT              MO                    US   92308   132850058@AIRLINE.KIWI.COM
2Z8DH3   12/14/2020   OB   12/23/2020   WN;4018;LGA;MDW;WN;1751;MDW;DTW   K NOVOKUZNETSK         ROSTOVSKAYA OBLAST    RU   41186   132850751@AIRLINE.KIWI.COM
2ZRMPF   12/14/2020   OB   12/15/2020   WN;2042;ATL;HOU                   SOLOMONSHIRE           SD                    US   87131   132853413@AIRLINE.KIWI.COM
32AWHV   12/14/2020   OB   12/15/2020   WN;4577;DAL;ATL                   LAKE ASHLEY            MO                    US   43597   132853732@AIRLINE.KIWI.COM
33NXUU   12/14/2020   OB     1/8/2021   WN;1665;MEM;DEN                   WEST SUSAN             WA                    US   23390   132857912@AIRLINE.KIWI.COM
33NXUU   12/14/2020   RT    1/17/2021   WN;1361;DEN;MEM                   WEST SUSAN             WA                    US   23390   132857912@AIRLINE.KIWI.COM
34Q2HH   12/14/2020   OB     1/4/2021   WN;1015;ATL;DCA                   MOOREFORT              CT                    US   56910   132860200@AIRLINE.KIWI.COM
34WS58   12/14/2020   OB   12/14/2020   WN;2098;DEN;LAX                   ROLLINSLAND            GA                    US   32756   132861179@AIRLINE.KIWI.COM
35B6BI   12/14/2020   OB   12/24/2020   WN;3447;BWI;HOU                   NEW MDH                NABLUS                PS   37715   132862026@AIRLINE.KIWI.COM
35UZOA   12/14/2020   OB     1/6/2021   WN;3372;LGA;TPA                   D ROSTOVNADONU         MAGADANSKAYA OBLAST   RU   42163   132863841@AIRLINE.KIWI.COM
36P9OY   12/14/2020   OB   12/14/2020   WN;2900;ATL;HOU                   SOUTH RACHEL           ID                    US   71186   132866503@AIRLINE.KIWI.COM
36XVWF   12/14/2020   OB   12/14/2020   WN;4773;MSY;HOU;WN;2298;HOU;SAT   EAST KELLIBOROUGH      FL                    US   87777   132867218@AIRLINE.KIWI.COM
36ZW5E   12/14/2020   OB   12/26/2020   WN;1133;IAD;ATL                   S IASHKUL              ROSTOVSKAYA OBLAST    RU   66804   132867999@AIRLINE.KIWI.COM
3874ZO   12/14/2020   OB   12/19/2020   WN;1937;FLL;ATL                   TRACYVIEW              TN                    US   87319   132870793@AIRLINE.KIWI.COM
38VRYK   12/14/2020   OB   12/15/2020   WN;3993;MDW;MCO                   SOUTH JACK             SC                    US   63543   132873543@AIRLINE.KIWI.COM
395VNE   12/14/2020   OB     1/2/2021   WN;4353;DEN;LAX                   LAURABERG              WI                    US    9044   132873917@AIRLINE.KIWI.COM
39VJYM   12/14/2020   OB     1/4/2021   WN;1111;BNA;FLL                   NORTH JOHN             SC                    US   36111   132875765@AIRLINE.KIWI.COM
39VJYM   12/14/2020   OB     1/4/2021   WN;1111;BNA;FLL                   NORTH JOHN             SC                    US   36111   132875765@AIRLINE.KIWI.COM
39VJYM   12/14/2020   OB     1/4/2021   WN;1111;BNA;FLL                   NORTH JOHN             SC                    US   36111   132875765@AIRLINE.KIWI.COM
39VJYM   12/14/2020   OB     1/4/2021   WN;1111;BNA;FLL                   NORTH JOHN             SC                    US   36111   132875765@AIRLINE.KIWI.COM
39YJO2   12/14/2020   OB   12/22/2020   WN;1319;BNA;DAL                   CHERYLSHIRE            OR                    US   84701   132876007@AIRLINE.KIWI.COM
3ADIHI   12/14/2020   OB    1/31/2021   WN;3655;MDW;LAX                   EAST SCOTT             NH                    US   86296   131423908.1517784@AIRLINE.KIWI.COM
3AK6RN   12/14/2020   OB   12/15/2020   WN;3714;LAX;BWI                   WEST LATOYA            OH                    US   67578   132878691@AIRLINE.KIWI.COM
3ATIGS   12/14/2020   OB   12/23/2020   WN;4403;OMA;DEN                   NORTH PHILIPFORT       UT                    US   33319   132878702@AIRLINE.KIWI.COM
3B4EQ9   12/14/2020   OB   12/15/2020   WN;3075;MIA;BWI;WN;2293;BWI;PVD   WEBBBOROUGH            IN                    US    3606   132879692@AIRLINE.KIWI.COM
3BNUNI   12/14/2020   OB   12/29/2020   WN;157;MKE;DEN                    MICHAELBERG            OR                    US   76831   132881870@AIRLINE.KIWI.COM
3BRKQ3   12/14/2020   OB   12/24/2020   WN;1360;MDW;FLL                   SOUTH BENJAMIN         MA                    US   88927   132881111@AIRLINE.KIWI.COM
3C28OC   12/14/2020   OB     2/3/2021   WN;3640;LAS;DEN;WN;4433;DEN;PHL   EAST ANTHONYMOUTH      TX                    US   88378   132882596@AIRLINE.KIWI.COM
3C28OC   12/14/2020   OB     2/3/2021   WN;3640;LAS;DEN;WN;4433;DEN;PHL   EAST ANTHONYMOUTH      TX                    US   88378   132882596@AIRLINE.KIWI.COM
3CXH97   12/14/2020   OB   12/20/2020   WN;485;HOU;ATL                    EAST ABIGAIL           IL                    US   60219   132885687@AIRLINE.KIWI.COM
3D74WH   12/14/2020   OB   12/27/2020   WN;4985;ONT;LAS                   EAST LARRY             HI                    US   75283   132886039@AIRLINE.KIWI.COM
3D74WH   12/14/2020   RT   12/30/2020   WN;6939;LAS;ONT                   EAST LARRY             HI                    US   75283   132886039@AIRLINE.KIWI.COM
3DEPRZ   12/14/2020   OB     1/3/2021   WN;1847;ATL;LGA                   NEW JASON              TX                    US   71119   132887073@AIRLINE.KIWI.COM
3DIVVN   12/14/2020   OB     1/8/2021   WN;4780;LAS;BOI                   SAN CLARA DE LA MONT   MICHOACAN DE OCAMPO   MX   45941   132884752@AIRLINE.KIWI.COM
3DIVVN   12/14/2020   OB     1/8/2021   WN;4780;LAS;BOI                   SAN CLARA DE LA MONT   MICHOACAN DE OCAMPO   MX   45941   132884752@AIRLINE.KIWI.COM
3DPVJT   12/14/2020   OB     1/2/2021   WN;2072;SAN;DEN                   CYNTHIASIDE            MI                    US   93199   132886721@AIRLINE.KIWI.COM
3E6GHA   12/14/2020   OB   12/16/2020   WN;4562;BNA;PHX                   WEST SHAWNBURY         ID                    US   39090   132888635@AIRLINE.KIWI.COM
3E6URK   12/14/2020   OB   12/16/2020   WN;4809;PHX;SAN                   NEW BRIANNALAND        NM                    US   68832   132888635@AIRLINE.KIWI.COM
3E8PVV   12/14/2020   OB   12/23/2020   WN;965;LAX;DAL                    MATTHEWCHESTER         NC                    US   43939   132888415@AIRLINE.KIWI.COM
3FDTGM   12/14/2020   OB     1/3/2021   WN;2605;PIT;STL                   BALLFORT               MI                    US   45517   132892474@AIRLINE.KIWI.COM
3FFJN8   12/14/2020   OB   12/15/2020   WN;3995;RDU;BWI                   SOUTH SHAWN            NY                    US   36802   132893079@AIRLINE.KIWI.COM
3FLLEE   12/14/2020   OB     1/3/2021   WN;3613;MDW;ATL                   MUNOZSHIRE             MT                    US   51626   132893497@AIRLINE.KIWI.COM
3FMH83   12/14/2020   OB     1/3/2021   WN;4007;MCO;AUS                   HESTERBOROUGH          OR                    US   20999   132893189@AIRLINE.KIWI.COM




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3FUI95   12/14/2020   OB   12/18/2020   WN;1164;OMA;DEN                   DUSTINTOWN             OK                       US   41911   132894311@AIRLINE.KIWI.COM
3FUI95   12/14/2020   RT   12/21/2020   WN;689;DEN;OMA                    DUSTINTOWN             OK                       US   41911   132894311@AIRLINE.KIWI.COM
3FV38B   12/14/2020   OB   12/15/2020   WN;1900;SMF;BUR                   NEW MARYBOROUGH        NM                       US   97890   132893959@AIRLINE.KIWI.COM
3FWBRM   12/14/2020   OB    1/26/2021   WN;2699;SLC;DEN;WN;858;DEN;AUS    SOUTH ADAMBERG         MA                       US   60128   132868175.1517837@AIRLINE.KIWI.COM
3G6CCJ   12/14/2020   OB    1/22/2021   WN;739;AUS;DEN                    NORTH KELLYVILLE       PA                       US   44100   132868175.1517837@AIRLINE.KIWI.COM
3GI7SH   12/14/2020   OB   12/25/2020   WN;4762;CLT;DAL;WN;3410;DAL;TPA   MATTHEWBERG            AK                       US   24695   132895081@AIRLINE.KIWI.COM
3GOD2F   12/14/2020   OB   12/25/2020   WN;3072;MSP;DEN                   ROBERTFURT             MO                       US   89211   132895785@AIRLINE.KIWI.COM
3H8NNB   12/14/2020   OB   12/27/2020   WN;2027;DEN;SEA                   WEST ROBERTSHIRE       MA                       US   24681   132897028@AIRLINE.KIWI.COM
3HRHPM   12/14/2020   OB   12/19/2020   WN;1674;MCI;MDW                   CEUTA                  GIPUZKOA                 ES   92063   132898403@AIRLINE.KIWI.COM
3JKGB2   12/15/2020   OB   12/20/2020   WN;1051;MIA;BWI                   BRNO                   SOUTHERN MORAVIA         CZ    6250   129155290@AIRLINE.KIWI.COM
3JKGB2   12/15/2020   OB   12/20/2020   WN;1051;MIA;BWI                   BRNO                   SOUTHERN MORAVIA         CZ    6250   129155290@AIRLINE.KIWI.COM
3JKGB2   12/15/2020   OB   12/20/2020   WN;1051;MIA;BWI                   BRNO                   SOUTHERN MORAVIA         CZ    6250   129155290@AIRLINE.KIWI.COM
3JKGB2   12/15/2020   OB   12/20/2020   WN;1051;MIA;BWI                   BRNO                   SOUTHERN MORAVIA         CZ    6250   129155290@AIRLINE.KIWI.COM
3JKGB2   12/15/2020   OB   12/20/2020   WN;1051;MIA;BWI                   BRNO                   SOUTHERN MORAVIA         CZ    6250   129155290@AIRLINE.KIWI.COM
3JW3W7   12/15/2020   OB   12/15/2020   WN;135;ATL;STL;WN;3956;STL;DSM    SOUTH AMBERBURGH       SWINDON                  GB   17374   132902671@AIRLINE.KIWI.COM
3JWKMS   12/15/2020   OB     1/3/2021   WN;4769;PHL;ATL                   LAKE CRYSTAL           MA                       US   54968   132902858@AIRLINE.KIWI.COM
3K6Y9N   12/15/2020   OB   12/23/2020   WN;4735;MCO;PHL                   FORDHAVEN              WY                       US   50808   132903364@AIRLINE.KIWI.COM
3KT4WJ   12/15/2020   OB   12/23/2020   WN;4506;DEN;DTW                   WEST SARAHTOWN         TN                       US   54366   132904519@AIRLINE.KIWI.COM
3L4LM6   12/15/2020   OB   12/26/2020   WN;1536;MDW;PHX                   JONESMOUTH             CA                       US   53755   132905135@AIRLINE.KIWI.COM
3L4LM6   12/15/2020   OB   12/26/2020   WN;1536;MDW;PHX                   JONESMOUTH             CA                       US   53755   132905135@AIRLINE.KIWI.COM
3LFTTL   12/15/2020   OB    1/24/2021   WN;6244;DEN;BWI                   LAKE DARRELL           WV                       US   90523   132906147@AIRLINE.KIWI.COM
3LHYYQ   12/15/2020   OB   12/22/2020   WN;622;DEN;PDX                    NEW WENDYFURT          TX                       US   61716   132905619@AIRLINE.KIWI.COM
3LNQ5V   12/15/2020   OB    2/12/2021   WN;2516;BWI;HOU                   GREGORYMOUTH           MN                       US    1993   132906422@AIRLINE.KIWI.COM
3LNQ5V   12/15/2020   OB    2/12/2021   WN;2516;BWI;HOU                   GREGORYMOUTH           MN                       US    1993   132906422@AIRLINE.KIWI.COM
3LNQ5V   12/15/2020   RT    2/14/2021   WN;3644;HOU;BWI                   GREGORYMOUTH           MN                       US    1993   132906422@AIRLINE.KIWI.COM
3LNQ5V   12/15/2020   RT    2/14/2021   WN;3644;HOU;BWI                   GREGORYMOUTH           MN                       US    1993   132906422@AIRLINE.KIWI.COM
3LOUZX   12/15/2020   OB    1/20/2021   WN;1059;BWI;DEN                   CASEYVIEW              ME                       US   69025   132906147@AIRLINE.KIWI.COM
3LQ4SD   12/15/2020   OB   12/23/2020   WN;6751;PHX;LAS                   ANGELCHESTER           MD                       US   71803   131601833.1517909@AIRLINE.KIWI.COM
3NQSY9   12/15/2020   OB     1/6/2021   WN;3334;HOU;LAS                   RUTHBURY               IN                       US   76643   132909821@AIRLINE.KIWI.COM
3O3YDJ   12/15/2020   OB   12/22/2020   WN;553;MDW;HOU                    PORT FRANK             PA                       US   99222   132910228@AIRLINE.KIWI.COM
3O83GN   12/15/2020   OB   12/28/2020   WN;6829;ATL;PHX                   FRANCOHAVEN            VT                       US   79092   132910481@AIRLINE.KIWI.COM
3OELTW   12/15/2020   OB   12/23/2020   WN;3726;PHL;ATL;WN;6824;ATL;LAS   WEST DANIELLE          NE                       US   66483   132910547@AIRLINE.KIWI.COM
3OELTW   12/15/2020   OB   12/23/2020   WN;3726;PHL;ATL;WN;6824;ATL;LAS   WEST DANIELLE          NE                       US   66483   132910547@AIRLINE.KIWI.COM
3OELTW   12/15/2020   OB   12/23/2020   WN;3726;PHL;ATL;WN;6824;ATL;LAS   WEST DANIELLE          NE                       US   66483   132910547@AIRLINE.KIWI.COM
3OELTW   12/15/2020   OB   12/23/2020   WN;3726;PHL;ATL;WN;6824;ATL;LAS   WEST DANIELLE          NE                       US   66483   132910547@AIRLINE.KIWI.COM
3OFTRF   12/15/2020   OB   12/28/2020   WN;138;LAS;DEN;WN;920;DEN;PHL     FLETCHERMOUTH          OR                       US   98931   132910547@AIRLINE.KIWI.COM
3OFTRF   12/15/2020   OB   12/28/2020   WN;138;LAS;DEN;WN;920;DEN;PHL     FLETCHERMOUTH          OR                       US   98931   132910547@AIRLINE.KIWI.COM
3OFTRF   12/15/2020   OB   12/28/2020   WN;138;LAS;DEN;WN;920;DEN;PHL     FLETCHERMOUTH          OR                       US   98931   132910547@AIRLINE.KIWI.COM
3OFTRF   12/15/2020   OB   12/28/2020   WN;138;LAS;DEN;WN;920;DEN;PHL     FLETCHERMOUTH          OR                       US   98931   132910547@AIRLINE.KIWI.COM
3ON94B   12/15/2020   OB   12/19/2020   WN;686;LAS;SNA                    EAST JOHNTOWN          ME                       US   25847   132910701@AIRLINE.KIWI.COM
3PADQJ   12/15/2020   OB   12/24/2020   WN;1489;SMF;LAS;WN;3633;LAS;ATL   EAST BRIAN             WI                       US   65126   132911757@AIRLINE.KIWI.COM
3PB3KV   12/15/2020   OB     1/1/2021   WN;4745;RDU;BWI                   JOSEPHFORT             VT                       US   74886   132911988@AIRLINE.KIWI.COM
3PB3KV   12/15/2020   RT     1/4/2021   WN;1351;BWI;RDU                   JOSEPHFORT             VT                       US   74886   132911988@AIRLINE.KIWI.COM
3PSHN9   12/15/2020   OB   12/22/2020   WN;553;MDW;HOU                    WILLIAMSBURY           VT                       US   72161   132912483@AIRLINE.KIWI.COM
3PVSIC   12/15/2020   OB   12/22/2020   WN;244;BOS;BWI;WN;1607;BWI;CUN    VIEJA PALAU            BAJA CALIFORNIA SUR      MX   77899   131787733.1517946@AIRLINE.KIWI.COM
3Q42N4   12/15/2020   OB   12/28/2020   WN;337;RDU;BWI;WN;337;BWI;LAS     LAURITSENBURY          NORDJYLLAND              DK   53847   132912923@AIRLINE.KIWI.COM
3Q42N4   12/15/2020   OB   12/28/2020   WN;337;RDU;BWI;WN;337;BWI;LAS     LAURITSENBURY          NORDJYLLAND              DK   53847   132912923@AIRLINE.KIWI.COM
3Q42N4   12/15/2020   RT     1/2/2021   WN;2050;LAS;BWI;WN;2050;BWI;RDU   LAURITSENBURY          NORDJYLLAND              DK   53847   132912923@AIRLINE.KIWI.COM
3Q42N4   12/15/2020   RT     1/2/2021   WN;2050;LAS;BWI;WN;2050;BWI;RDU   LAURITSENBURY          NORDJYLLAND              DK   53847   132912923@AIRLINE.KIWI.COM
3Q42R9   12/15/2020   OB   12/21/2020   WN;493;DEN;SAN                    SOUTH JOYCE            TX                       US   29815   132912824@AIRLINE.KIWI.COM
3Q49YJ   12/15/2020   OB   12/21/2020   WN;2888;CLT;DEN                   WEST CHRISTOPHER       MN                       US   41494   132912824@AIRLINE.KIWI.COM
3R5HK6   12/15/2020   OB     1/5/2021   WN;200;STL;LGA                    HENRYFURT              MD                       US   61974   132914353@AIRLINE.KIWI.COM
3RHGZV   12/15/2020   OB   12/23/2020   WN;1726;LGB;LAS                   RANDALLSTAD            OR                       US   82966   132914694@AIRLINE.KIWI.COM
3RU7NW   12/15/2020   OB   12/26/2020   WN;1732;LAS;LGB                   EAST KEVINBOROUGH      MO                       US   86440   132915409@AIRLINE.KIWI.COM
3SN2LF   12/15/2020   OB   12/17/2020   WN;662;MIA;HOU;WN;780;HOU;AUS     TQIBULI                MTSKHETAMTIANETI         GE   52735   132915970@AIRLINE.KIWI.COM
3SUZMB   12/15/2020   OB   12/15/2020   WN;218;MDW;CUN                    SAN ALEJANDRO LOS BA   TABASCO                  MX   64871   132917048@AIRLINE.KIWI.COM
3SUZMB   12/15/2020   OB   12/15/2020   WN;218;MDW;CUN                    SAN ALEJANDRO LOS BA   TABASCO                  MX   64871   132917048@AIRLINE.KIWI.COM
3V9N5T   12/15/2020   OB   12/23/2020   WN;1787;ATL;TPA                   TOMBOROUGH             NY                       US   16810   132920194@AIRLINE.KIWI.COM
3VQQP6   12/15/2020   OB   12/30/2020   WN;1096;OMA;DEN                   JACQUELINETOWN         IL                       US   48038   132921074@AIRLINE.KIWI.COM
3WXWZK   12/15/2020   OB   12/26/2020   WN;1950;ONT;PHX                   COURTNEYVIEW           OH                       US   35965   132922328@AIRLINE.KIWI.COM
3Y84JO   12/15/2020   OB   12/30/2020   WN;915;MCI;DEN                    WATERSMOUTH            NY                       US   54742   132924374@AIRLINE.KIWI.COM
3Y84JO   12/15/2020   OB   12/30/2020   WN;915;MCI;DEN                    WATERSMOUTH            NY                       US   54742   132924374@AIRLINE.KIWI.COM
3YD7DM   12/15/2020   OB     1/4/2021   WN;440;HOU;BWI                    EAST AMANDA            CA                       US   27386   132924539@AIRLINE.KIWI.COM
42ZSQU   12/15/2020   OB    1/27/2021   WN;2576;PHX;HOU                   NEW SANDRA             NM                       US   74656   132930336@AIRLINE.KIWI.COM
45WGNX   12/15/2020   OB    1/10/2021   WN;3388;MDW;MCO                   KIMBERLYBURY           NM                       US   29395   132936837@AIRLINE.KIWI.COM
45WGNX   12/15/2020   OB    1/10/2021   WN;3388;MDW;MCO                   KIMBERLYBURY           NM                       US   29395   132936837@AIRLINE.KIWI.COM
48KZDC   12/15/2020   OB   12/19/2020   WN;192;AUS;MCO                    LAKE NATHANIELTON      OH                       US   32886   132943800@AIRLINE.KIWI.COM
48TX2G   12/15/2020   OB   12/15/2020   WN;2577;MIA;HOU;WN;1589;HOU;LAS   NORTH CINDYSIDE        AR                       US   11482   132944922@AIRLINE.KIWI.COM
4BR5UD   12/15/2020   OB   12/18/2020   WN;114;MDW;BUF                    NORTH STEPHENHAVEN     MS                       US   99837   132952446@AIRLINE.KIWI.COM
4DBSSN   12/15/2020   OB   12/24/2020   WN;2129;MDW;CHS                   ST KAMENSKSHAKHTINSK   NIZHEGORODSKAYA OBLAST   RU   15647   132956021@AIRLINE.KIWI.COM
4DH42S   12/15/2020   OB   12/30/2020   WN;135;BWI;BUF                    KEITHPORT              LA                       US    9232   132956857@AIRLINE.KIWI.COM
4DPE6D   12/15/2020   OB   12/30/2020   WN;1261;HOU;BWI                   SOUTH KIMBERLY         WY                       US   21918   132956857@AIRLINE.KIWI.COM
4EF5LE   12/15/2020   OB   12/19/2020   WN;1939;ELP;LAS                   NORTH FELICIA          MS                       US   63096   132944592@AIRLINE.KIWI.COM
4ET4OS   12/15/2020   OB   12/26/2020   WN;2385;MDW;SAN                   WATERSBURY             VT                       US   34781   132959013@AIRLINE.KIWI.COM
4FFY3K   12/15/2020   OB   12/31/2020   WN;3339;MDW;TPA                   MATTHEWTOWN            SC                       US    2639   132960421@AIRLINE.KIWI.COM
4FFY3K   12/15/2020   OB   12/31/2020   WN;3339;MDW;TPA                   MATTHEWTOWN            SC                       US    2639   132960421@AIRLINE.KIWI.COM
4FFY3K   12/15/2020   OB   12/31/2020   WN;3339;MDW;TPA                   MATTHEWTOWN            SC                       US    2639   132960421@AIRLINE.KIWI.COM
4FFY3K   12/15/2020   OB   12/31/2020   WN;3339;MDW;TPA                   MATTHEWTOWN            SC                       US    2639   132960421@AIRLINE.KIWI.COM
4FVI5J   12/15/2020   OB   12/17/2020   WN;919;PDX;OAK;WN;575;OAK;SNA     LYNCHFURT              UT                       US   84532   132962093@AIRLINE.KIWI.COM
4GA5HM   12/15/2020   OB   12/27/2020   WN;2526;MCO;HOU                   LAKE COLLIN            CT                       US   35678   132962599@AIRLINE.KIWI.COM
4GPFMC   12/15/2020   OB   12/23/2020   WN;4117;MCO;MDW                   NORTH SAMUELBURGH      GA                       US   39912   132964832@AIRLINE.KIWI.COM
4GRJDH   12/15/2020   OB     1/6/2021   WN;1229;DEN;SEA                   LAKE ALEC              ID                       US   91852   132964964@AIRLINE.KIWI.COM
4GRJDH   12/15/2020   OB     1/6/2021   WN;1229;DEN;SEA                   LAKE ALEC              ID                       US   91852   132964964@AIRLINE.KIWI.COM
4GUW44   12/15/2020   OB     1/9/2021   WN;6261;MSY;HOU;WN;2409;HOU;MIA   SAN ELVIRA LOS BAJOS   ZACATECAS                MX   77228   132964172@AIRLINE.KIWI.COM
4GYGJW   12/15/2020   OB   12/23/2020   WN;1749;PHX;LAS                   NORTH MANDY            NY                       US   17013   132965404@AIRLINE.KIWI.COM
4I72GZ   12/15/2020   OB   12/31/2020   WN;1466;SLC;LAS;WN;3337;LAS;PDX   VANESSABURGH           PA                       US   25257   132966867@AIRLINE.KIWI.COM
4I7SLW   12/15/2020   OB   12/25/2020   WN;4961;DEN;SAN                   LAKE PAMELABURY        GA                       US   50680   132967868@AIRLINE.KIWI.COM
4ILJUJ   12/15/2020   OB     1/2/2021   WN;1873;RDU;HOU;WN;1679;HOU;ELP   DANIELTOWN             NM                       US   47052   132970640@AIRLINE.KIWI.COM
4IWG37   12/15/2020   OB     1/4/2021   WN;1184;STL;DEN                   VALDEZVIEW             IN                       US   44809   132971047@AIRLINE.KIWI.COM
4IXMQ8   12/15/2020   OB     1/4/2021   WN;1289;DEN;SEA                   NEW BRETTBURGH         LA                       US   10551   132971047@AIRLINE.KIWI.COM
4JF8B6   12/15/2020   OB    2/19/2021   WN;4980;MDW;PHX                   NORTH JONATHAN         MT                       US   89592   132972873@AIRLINE.KIWI.COM
4KMYRE   12/15/2020   OB     1/6/2021   WN;852;DAL;LGA                    NINOCMINDA             SAMTSKHEJAVAKHETI        GE   61100   132975799@AIRLINE.KIWI.COM
4KP9FX   12/15/2020   OB     1/3/2021   WN;3403;HOU;BWI                   ANDREAFORT             VA                       US   40404   132977031@AIRLINE.KIWI.COM
4L339X   12/15/2020   OB   12/30/2020   WN;287;BWI;HOU                    KARASTAD               UT                       US   70025   132977031@AIRLINE.KIWI.COM
4LJQYM   12/15/2020   OB   12/27/2020   WN;2052;CLT;DEN                   JONESSHIRE             NH                       US   14395   132979748@AIRLINE.KIWI.COM
4LLMJ2   12/15/2020   OB   12/23/2020   WN;1790;MCO;DCA                   SOUTH ANN              AL                       US   53028   132979286@AIRLINE.KIWI.COM
4LMF7H   12/15/2020   OB   12/30/2020   WN;287;BWI;HOU                    NORTH TYLER            HI                       US   79571   132979759@AIRLINE.KIWI.COM
4LQ6YY   12/15/2020   OB   12/27/2020   WN;3690;DCA;MCO                   PORT JOSEPH            OR                       US   44978   132979286@AIRLINE.KIWI.COM
4LQ923   12/15/2020   OB     1/3/2021   WN;3403;HOU;BWI                   SOUTH MATTHEW          TX                       US   59205   132979759@AIRLINE.KIWI.COM
4MFYFV   12/15/2020   OB     2/2/2021   WN;815;CMH;MDW;WN;3306;MDW;MIA    EAST JENNIFER          NC                       US   13268   132974952@AIRLINE.KIWI.COM
4MKHER   12/15/2020   OB   12/24/2020   WN;2600;MDW;HOU                   SEANTON                GA                       US   33121   132983026@AIRLINE.KIWI.COM
4MMOD2   12/15/2020   OB   12/19/2020   WN;1989;PIT;MDW;WN;2103;MDW;AUS   WEST KYLE              MD                       US   42908   132982817@AIRLINE.KIWI.COM
4MRE62   12/15/2020   OB   12/19/2020   WN;1749;SEA;LAS                   NASIK                  AL                       US   42201   132968781@AIRLINE.KIWI.COM
4NASYU   12/15/2020   OB   12/29/2020   WN;536;DTW;BWI;WN;984;BWI;TPA     TAYLORBURY             MS                       US   26157   132984049@AIRLINE.KIWI.COM
4NBAR2   12/15/2020   OB   12/25/2020   WN;4980;MCI;MDW;WN;2636;MDW;MSP   HERNANDEZBURY          HI                       US   81491   132985270@AIRLINE.KIWI.COM
4NEVAQ   12/15/2020   OB   12/28/2020   WN;1074;DEN;SEA                   NORTH DAVIDBOROUGH     MN                       US   33485   132984786@AIRLINE.KIWI.COM
4NMCO9   12/15/2020   OB   12/23/2020   WN;591;OGG;HNL                    JARVISPORT             OK                       US   70702   132985787@AIRLINE.KIWI.COM




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4NRVQV   12/15/2020   OB   12/27/2020   WN;2384;DEN;IND                   MITCHELLSIDE           IA                US    82287   132985754@AIRLINE.KIWI.COM
4NRYLW   12/15/2020   OB     1/2/2021   WN;966;CMH;MDW;WN;240;MDW;STL     ROBERTMOUTH            NJ                US    34938   132986986@AIRLINE.KIWI.COM
4NTZCB   12/15/2020   OB   12/30/2020   WN;1555;LGB;DEN                   NEW ANNA               WI                US    80232   132986634@AIRLINE.KIWI.COM
4NTZCB   12/15/2020   OB   12/30/2020   WN;1555;LGB;DEN                   NEW ANNA               WI                US    80232   132986634@AIRLINE.KIWI.COM
4O5LFR   12/15/2020   OB   12/24/2020   WN;3365;HOU;ATL                   WEST TARAPORT          ME                US     2192   132984907@AIRLINE.KIWI.COM
4O5LFR   12/15/2020   OB   12/24/2020   WN;3365;HOU;ATL                   WEST TARAPORT          ME                US     2192   132984907@AIRLINE.KIWI.COM
4OUODI   12/15/2020   OB    1/17/2021   WN;3402;ONT;DEN;WN;3943;DEN;BOS   SAUNDERSBURGH          HI                US    86042   132990099@AIRLINE.KIWI.COM
4P5GXH   12/15/2020   OB    1/18/2021   WN;479;MCO;RDU                    DIANABURGH             AK                US    12279   132991188@AIRLINE.KIWI.COM
4PO3VP   12/15/2020   OB    1/10/2021   WN;244;BOS;BWI                    SOSTANJ                CERKNICA          SI    37481   132991738@AIRLINE.KIWI.COM
4Q8PPB   12/15/2020   OB   12/22/2020   WN;140;BNA;SAN                    SOUTH JOHN             ME                US    84287   132849167.1518547@AIRLINE.KIWI.COM
4QC8KX   12/15/2020   OB     1/4/2021   WN;909;BNA;RDU                    NORTH DOUGLAS          IL                US    18654   132073942.1518548@AIRLINE.KIWI.COM
4QKVSH   12/15/2020   OB     1/1/2021   WN;4941;LAS;MDW                   NEW ELIZABETHSIDE      AR                US    76585   132994444@AIRLINE.KIWI.COM
4R2VCE   12/15/2020   OB   12/27/2020   WN;3563;ATL;SAT                   PORT CANDICE           MI                US    45357   132995940@AIRLINE.KIWI.COM
4R6ZD8   12/15/2020   OB   12/29/2020   WN;455;ATL;SAT                    DANIELLEFURT           VA                US    96786   132995775@AIRLINE.KIWI.COM
4RTOU2   12/15/2020   OB   12/15/2020   WN;3321;LAS;LAX                   TIFFANYFORT            HI                US    58437   132997832@AIRLINE.KIWI.COM
4SIL6V   12/15/2020   OB   12/18/2020   WN;399;PHX;IND                    EAST RONALD            RI                US    60982   132999273@AIRLINE.KIWI.COM
4SO8U9   12/15/2020   OB   12/26/2020   WN;2268;DEN;PDX                   VIEJA OMAN             NUEVO LEON        MX    12379   132998998@AIRLINE.KIWI.COM
4SO8U9   12/15/2020   RT   12/31/2020   WN;4512;PDX;DEN                   VIEJA OMAN             NUEVO LEON        MX    12379   132998998@AIRLINE.KIWI.COM
4SSWFI   12/15/2020   OB   12/20/2020   WN;1577;HOU;BNA                   SELENAFURT             OH                US    63231   133000230@AIRLINE.KIWI.COM
4SWSI9   12/15/2020   OB     1/3/2021   WN;1750;LAS;DEN                   WEST JENNIFERTON       WI                US    23883   132999922@AIRLINE.KIWI.COM
4T2YP2   12/15/2020   OB     1/3/2021   WN;1831;BNA;FLL                   PATRICIASTAD           OH                US    48442   132999911@AIRLINE.KIWI.COM
4T2YP2   12/15/2020   OB     1/3/2021   WN;1831;BNA;FLL                   PATRICIASTAD           OH                US    48442   132999911@AIRLINE.KIWI.COM
4T8NRN   12/15/2020   OB   12/27/2020   WN;1057;MIA;HOU;WN;6826;HOU;LAX   TONYAVILLE             DE                US    38945   133000461@AIRLINE.KIWI.COM
4T8NRN   12/15/2020   OB   12/27/2020   WN;1057;MIA;HOU;WN;6826;HOU;LAX   TONYAVILLE             DE                US    38945   133000461@AIRLINE.KIWI.COM
4TB94Y   12/15/2020   OB   12/27/2020   WN;4553;OMA;STL                   PORT PAULBOROUGH       WV                US     6810   133001275@AIRLINE.KIWI.COM
4TBSAX   12/15/2020   OB     1/4/2021   WN;1417;SDF;BWI                   KEVINFORT              CA                US    13075   133000659@AIRLINE.KIWI.COM
4TTXEA   12/15/2020   OB   12/29/2020   WN;1229;PHL;DEN                   NORTH JUSTINVIEW       KS                US    25326   133001957@AIRLINE.KIWI.COM
4UIEXT   12/15/2020   OB   12/17/2020   WN;1090;MSY;BWI;WN;366;BWI;ALB    AMYTOWN                GA                US    63573   133002991@AIRLINE.KIWI.COM
227EOY   12/16/2020   OB     1/2/2021   WN;2213;MDW;ABQ                   ROBERTLAND             SD                US    73005   133012000@AIRLINE.KIWI.COM
22CRG6   12/16/2020   OB   12/21/2020   WN;872;SAN;SMF                    MCLEANVIEW             TX                US    91720   133012374@AIRLINE.KIWI.COM
22CRG6   12/16/2020   OB   12/21/2020   WN;872;SAN;SMF                    MCLEANVIEW             TX                US    91720   133012374@AIRLINE.KIWI.COM
22CRG6   12/16/2020   OB   12/21/2020   WN;872;SAN;SMF                    MCLEANVIEW             TX                US    91720   133012374@AIRLINE.KIWI.COM
22CRG6   12/16/2020   OB   12/21/2020   WN;872;SAN;SMF                    MCLEANVIEW             TX                US    91720   133012374@AIRLINE.KIWI.COM
22CRG6   12/16/2020   OB   12/21/2020   WN;872;SAN;SMF                    MCLEANVIEW             TX                US    91720   133012374@AIRLINE.KIWI.COM
22GAUE   12/16/2020   OB     1/4/2021   WN;1156;OKC;DEN                   LAKE ELIZABETH         WA                US    58261   133012165@AIRLINE.KIWI.COM
22GAUE   12/16/2020   OB     1/4/2021   WN;1156;OKC;DEN                   LAKE ELIZABETH         WA                US    58261   133012165@AIRLINE.KIWI.COM
22OVLL   12/16/2020   OB   12/26/2020   WN;2275;LAX;MDW                   SMITHVIEW              WV                US    44817   133012737@AIRLINE.KIWI.COM
22RNBN   12/16/2020   OB   12/27/2020   WN;4104;MDW;ORF                   PORT CHRISTINAHAVEN    AK                US    52604   133012737@AIRLINE.KIWI.COM
23JXAE   12/16/2020   OB     1/9/2021   WN;2981;LAS;HOU                   JOSEPHVILLE            HI                US    32147   133014321@AIRLINE.KIWI.COM
23JXKT   12/16/2020   OB    1/12/2021   WN;3069;HOU;DEN                   SOUTH TROY             CT                US    34738   133014321@AIRLINE.KIWI.COM
24BPPK   12/16/2020   OB   12/31/2020   WN;2877;LAX;LAS                   PORT TIFFANYBERG       MI                US    77637   133015047@AIRLINE.KIWI.COM
24BPPK   12/16/2020   OB   12/31/2020   WN;2877;LAX;LAS                   PORT TIFFANYBERG       MI                US    77637   133015047@AIRLINE.KIWI.COM
24MCUL   12/16/2020   OB     1/8/2021   WN;4780;LAS;BOI                   BURNSHAVEN             DE                US    64241   133015520@AIRLINE.KIWI.COM
24OMLA   12/16/2020   OB     1/3/2021   WN;1740;ATL;IND                   CURTISVIEW             ME                US    69388   133015531@AIRLINE.KIWI.COM
24ORNQ   12/16/2020   OB   12/23/2020   WN;1564;SJC;PHX                   THOMPSONVIEW           FL                US    50039   133015740@AIRLINE.KIWI.COM
24ORNQ   12/16/2020   OB   12/23/2020   WN;1564;SJC;PHX                   THOMPSONVIEW           FL                US    50039   133015740@AIRLINE.KIWI.COM
24QJC5   12/16/2020   OB   12/22/2020   WN;380;ATL;TPA                    LAKE MELISSAHAVEN      NV                US    80598   133015960@AIRLINE.KIWI.COM
2534ML   12/16/2020   OB     1/5/2021   WN;1057;MIA;HOU;WN;554;HOU;ABQ    HODGESIDE              IA                US    38026   133016499@AIRLINE.KIWI.COM
2534ML   12/16/2020   OB     1/5/2021   WN;1057;MIA;HOU;WN;554;HOU;ABQ    HODGESIDE              IA                US    38026   133016499@AIRLINE.KIWI.COM
25KYPS   12/16/2020   OB   12/28/2020   WN;123;MDW;LGA                    SUWEONSI JANGANGU      GYEONGSANGNAMDO   KR    36683   133017533@AIRLINE.KIWI.COM
25M55F   12/16/2020   OB     1/1/2021   WN;3321;LAS;LAX                   CHRISTOPHERSHIRE       WI                US    88174   133017687@AIRLINE.KIWI.COM
25T3G9   12/16/2020   OB     1/2/2021   WN;540;LAS;ATL                    KIRBYMOUTH             TN                US    99671   133017841@AIRLINE.KIWI.COM
25T3G9   12/16/2020   OB     1/2/2021   WN;540;LAS;ATL                    KIRBYMOUTH             TN                US    99671   133017841@AIRLINE.KIWI.COM
25T3G9   12/16/2020   OB     1/2/2021   WN;540;LAS;ATL                    KIRBYMOUTH             TN                US    99671   133017841@AIRLINE.KIWI.COM
25U7DJ   12/16/2020   OB   12/30/2020   WN;112;STL;ATL                    DAVISHAVEN             NJ                US    52888   133017566@AIRLINE.KIWI.COM
25U7DJ   12/16/2020   RT     1/2/2021   WN;2271;ATL;STL                   DAVISHAVEN             NJ                US    52888   133017566@AIRLINE.KIWI.COM
25YWUX   12/16/2020   OB     1/2/2021   WN;2271;ATL;STL                   LAKE JULIEFURT         CT                US    48720   133018028@AIRLINE.KIWI.COM
265ER9   12/16/2020   OB   12/31/2020   WN;4099;STL;ATL                   FISHERSTAD             SC                US    87442   133018028@AIRLINE.KIWI.COM
266YOP   12/16/2020   OB   12/16/2020   WN;1377;MDW;OAK                   SERGIOBOROUGH          MO                US    64962   133018237@AIRLINE.KIWI.COM
26P78M   12/16/2020   OB   12/27/2020   WN;1058;MIA;BWI                   NEW ZACHARY            ND                US    19000   133018567@AIRLINE.KIWI.COM
26RD7F   12/16/2020   OB    1/17/2021   WN;1640;HOU;FLL                   ERICSTAD               NH                US    99028   133018809@AIRLINE.KIWI.COM
26V8XH   12/16/2020   OB    1/14/2021   WN;3062;FLL;HOU                   KEVINLAND              AK                US    30328   133018809@AIRLINE.KIWI.COM
26XZSX   12/16/2020   OB   12/27/2020   WN;1906;STL;SLC                   LAKE KIARATOWN         TX                US    29893   133018457@AIRLINE.KIWI.COM
27E8M9   12/16/2020   OB   12/27/2020   WN;5005;SNA;DAL;WN;3707;DAL;RSW   SOUTH THANATCHA        UDON THANI        TH    27626   133019524@AIRLINE.KIWI.COM
27HT7Z   12/16/2020   OB   12/30/2020   WN;6937;LAX;HOU                   ERICABURGH             CA                US    21152   133019799@AIRLINE.KIWI.COM
27PKX9   12/16/2020   OB   12/30/2020   WN;1691;MKE;MCO                   STEPHENSTON            VT                US    69137   133019964@AIRLINE.KIWI.COM
27WFVO   12/16/2020   OB     1/2/2021   WN;1740;SJC;SEA                   LAKE MEGAN             HI                US    82702   133020371@AIRLINE.KIWI.COM
28NJT4   12/16/2020   OB   12/26/2020   WN;474;MDW;DAL                    BRENDAHAVEN            FL                US    16780   133021339@AIRLINE.KIWI.COM
28NJT4   12/16/2020   RT   12/28/2020   WN;535;DAL;MDW                    BRENDAHAVEN            FL                US    16780   133021339@AIRLINE.KIWI.COM
28NKYX   12/16/2020   OB     1/6/2021   WN;1004;DEN;RSW                   VIEJA AZERBAIYAN       GUERRERO          MX    94202   133021460@AIRLINE.KIWI.COM
28W2UU   12/16/2020   OB   12/31/2020   WN;3100;SEA;LAS                   WEBBFORT               NV                US    89773   133021504@AIRLINE.KIWI.COM
292KUG   12/16/2020   OB   12/19/2020   WN;2107;LGA;TPA;WN;2117;TPA;FLL   ANGELAFURT             OR                US    59360   133021779@AIRLINE.KIWI.COM
2A6Q8F   12/16/2020   OB   12/17/2020   WN;815;CMH;MDW;WN;854;MDW;MSP     NOAHBERG               NY                US    56402   133023517@AIRLINE.KIWI.COM
2AVYND   12/16/2020   OB   12/25/2020   WN;2804;CVG;BWI;WN;2834;BWI;TPA   MANUELBERG             MD                US    22071   133024133@AIRLINE.KIWI.COM
2AVYND   12/16/2020   OB   12/25/2020   WN;2804;CVG;BWI;WN;2834;BWI;TPA   MANUELBERG             MD                US    22071   133024133@AIRLINE.KIWI.COM
2CQ5PG   12/16/2020   OB     1/4/2021   WN;2425;SEA;DEN                   NORTH JON              CO                US    64417   133027158@AIRLINE.KIWI.COM
2CWJKQ   12/16/2020   OB     1/4/2021   WN;763;DEN;CLT                    NORTH MICHAEL          ND                US    49235   133027158@AIRLINE.KIWI.COM
2E7HKW   12/16/2020   OB   12/29/2020   WN;1026;MSP;PHX                   PORT JERRYBOROUGH      LA                US    73194   133029787@AIRLINE.KIWI.COM
2FBOVY   12/16/2020   OB     1/5/2021   WN;1149;LAX;SMF                   NEW SHAUN              MO                US    39639   133010977@AIRLINE.KIWI.COM
2FOUXR   12/16/2020   OB    1/31/2021   WN;1291;DEN;SLC                   WILSONSTAD             PA                US    86916   133033593@AIRLINE.KIWI.COM
2GOTZN   12/16/2020   OB   12/16/2020   WN;3587;DTW;BNA                   SOUTH TODDBURGH        ME                US    95707   132998316@AIRLINE.KIWI.COM
2JZIRV   12/16/2020   OB   12/30/2020   WN;6855;HOU;ATL                   SOUTH JULIE            NJ                US    81550   133042811@AIRLINE.KIWI.COM
2KETCS   12/16/2020   OB   12/19/2020   WN;2212;DAL;MDW                   PORT LHFN              RAFAH             PS    37508   133044208@AIRLINE.KIWI.COM
2L5M6K   12/16/2020   OB     1/6/2021   WN;850;LIT;DEN                    GONZALEZSIDE           KS                US    30462   133045726@AIRLINE.KIWI.COM
2L5M6K   12/16/2020   OB     1/6/2021   WN;850;LIT;DEN                    GONZALEZSIDE           KS                US    30462   133045726@AIRLINE.KIWI.COM
2LLB4P   12/16/2020   OB    1/16/2021   WN;1919;BWI;ATL                   EAST TINASIDE          MS                US    68446   133046628@AIRLINE.KIWI.COM
2NYB68   12/16/2020   OB   12/24/2020   WN;3168;ELP;PHX;WN;4423;PHX;DEN   LISATOWN               OK                US    92126   133050764@AIRLINE.KIWI.COM
2PFCQO   12/16/2020   OB   12/22/2020   WN;692;FLL;ATL                    EAST JAMES             WV                US     2336   133056627@AIRLINE.KIWI.COM
2PFKNI   12/16/2020   OB     1/2/2021   WN;1901;DEN;MSP                   KRISTASIDE             VT                US    36760   133056440@AIRLINE.KIWI.COM
2PH4RE   12/16/2020   OB     1/2/2021   WN;6991;DEN;SAN                   RAYMONDSHIRE           OK                US    58466   133056748@AIRLINE.KIWI.COM
2PLG3K   12/16/2020   OB     1/2/2021   WN;1918;ATL;DEN                   LAKE DANACHESTER       VT                US    34131   133056748@AIRLINE.KIWI.COM
2PUUYS   12/16/2020   OB   12/26/2020   WN;995;ATL;FLL                    NORTH BETHFURT         MO                US    86275   133057276@AIRLINE.KIWI.COM
2QCFUC   12/16/2020   OB   12/23/2020   WN;3880;LGA;MDW;WN;4193;MDW;DTW   JUDYHAVEN              LA                US    21235   133058937@AIRLINE.KIWI.COM
2QCFUC   12/16/2020   RT   12/26/2020   WN;6926;DTW;BNA;WN;1449;BNA;LGA   JUDYHAVEN              LA                US    21235   133058937@AIRLINE.KIWI.COM
2QE7ZZ   12/16/2020   OB   12/26/2020   WN;2354;BWI;ATL                   ADKINSSIDE             MT                US    62556   133059289@AIRLINE.KIWI.COM
2QE8PE   12/16/2020   OB   12/23/2020   WN;4575;DEN;CLT                   SOUTH BRIAN            CT                US    81948   133059333@AIRLINE.KIWI.COM
2QRHT3   12/16/2020   OB   12/22/2020   WN;1257;TUL;PHX                   NEW JACOB              NV                US     9783   133060191@AIRLINE.KIWI.COM
2RAKB4   12/16/2020   OB    1/10/2021   WN;3069;HOU;DEN;WN;2323;DEN;CLT   WILLIAMSBURGH          WY                US    84909   133062314@AIRLINE.KIWI.COM
2RGMKF   12/16/2020   OB   12/28/2020   WN;626;DAL;LAS                    SOUTH CHAD             NE                US    37565   133062435@AIRLINE.KIWI.COM
2SB7FA   12/16/2020   OB     1/8/2021   WN;1950;MCO;HOU                   SOUTH PATRICKBOROUGH   ID                US     1742   133061841@AIRLINE.KIWI.COM
2SWUKL   12/16/2020   OB     1/2/2021   WN;2231;MSP;BNA;WN;1621;BNA;RDU   EAST BRETTCHESTER      OH                US     6575   133066186@AIRLINE.KIWI.COM
2T8O8F   12/16/2020   OB   12/18/2020   WN;770;LAX;MSY                    RIVERABOROUGH          MO                US    95080   133067220@AIRLINE.KIWI.COM
2TAAOB   12/16/2020   OB   12/16/2020   WN;2589;LAX;OAK                   KEVINFURT              VT                US    21763   133066857@AIRLINE.KIWI.COM
2U82KR   12/16/2020   OB   12/24/2020   WN;2467;BWI;DEN                   BAKERSHIRE             IA                US    82603   133070025@AIRLINE.KIWI.COM
2UDA3V   12/16/2020   OB   12/28/2020   WN;983;AUS;LAX                    JACKSONSTAD            NM                US    83692   133070212@AIRLINE.KIWI.COM
2UDA3V   12/16/2020   OB   12/28/2020   WN;983;AUS;LAX                    JACKSONSTAD            NM                US    83692   133070212@AIRLINE.KIWI.COM
2VHX9J   12/16/2020   OB   12/23/2020   WN;4660;MDW;LAS                   AFUATOWN               CENTRAL           GH    20515   133073974@AIRLINE.KIWI.COM




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2VS963   12/16/2020   OB   12/24/2020   WN;3343;LGA;ATL                         NEW RONALDBOROUGH      WY                    US    17909   133075195@AIRLINE.KIWI.COM
2VVUER   12/16/2020   OB     1/2/2021   WN;1761;PHL;STL                         CIECHANOW              MAZOWIECKIE           PL     1327   133074480@AIRLINE.KIWI.COM
2Z8URQ   12/16/2020   OB   12/18/2020   WN;127;BNA;SAT                          BROWNMOUTH             MS                    US    83267   133085260@AIRLINE.KIWI.COM
2ZBQCG   12/16/2020   OB     2/3/2021   WN;1258;BWI;CVG                         PORT REBECCA           TN                    US    45164   133084534@AIRLINE.KIWI.COM
2ZSUV3   12/16/2020   OB     1/2/2021   WN;540;LAS;ATL                          TURNERTOWN             WV                    US    18692   133086459@AIRLINE.KIWI.COM
2ZUE6S   12/16/2020   OB   12/27/2020   WN;1766;MCO;DTW                         NEW PENNY              PA                    US    73017   133087229@AIRLINE.KIWI.COM
2ZUE6S   12/16/2020   OB   12/27/2020   WN;1766;MCO;DTW                         NEW PENNY              PA                    US    73017   133087229@AIRLINE.KIWI.COM
325ZTI   12/16/2020   OB   12/27/2020   WN;1898;LGA;TPA                         DAVISFURT              NV                    US    65242   133060939@AIRLINE.KIWI.COM
329SMJ   12/16/2020   OB   12/23/2020   WN;4116;DCA;FLL                         RICARDOBERG            AL ISKANDARIYAH       EG    10555   133088120@AIRLINE.KIWI.COM
32MSV8   12/16/2020   OB     1/1/2021   WN;3226;FLL;HOU                         KATHLEENTOWN           KY                    US    21187   133088461@AIRLINE.KIWI.COM
33GVXF   12/16/2020   OB   12/27/2020   WN;3137;BWI;BOS                         LAKE DANIEL            SC                    US    61110   133088384@AIRLINE.KIWI.COM
33H5WF   12/16/2020   OB   12/24/2020   WN;4961;DEN;SAN                         NEW CHRISTINA          MD                    US     1951   133088241@AIRLINE.KIWI.COM
33MCKD   12/16/2020   OB     1/3/2021   WN;1746;DEN;GEG                         LAKE EMILYMOUTH        NJ                    US    85112   133092256@AIRLINE.KIWI.COM
33MCKD   12/16/2020   OB     1/3/2021   WN;1746;DEN;GEG                         LAKE EMILYMOUTH        NJ                    US    85112   133092256@AIRLINE.KIWI.COM
33MCKD   12/16/2020   OB     1/3/2021   WN;1746;DEN;GEG                         LAKE EMILYMOUTH        NJ                    US    85112   133092256@AIRLINE.KIWI.COM
33MCKD   12/16/2020   OB     1/3/2021   WN;1746;DEN;GEG                         LAKE EMILYMOUTH        NJ                    US    85112   133092256@AIRLINE.KIWI.COM
359A7L   12/16/2020   OB     1/4/2021   WN;725;MCO;PVD                          WEST JOHN              RI                    US    26497   133095490@AIRLINE.KIWI.COM
35RJYK   12/16/2020   OB   12/27/2020   WN;2140;RDU;AUS                         PORT ALLEN             GA                    US    90448   133097514@AIRLINE.KIWI.COM
35SMNC   12/16/2020   OB   12/30/2020   WN;773;DTW;BNA                          HERNANDEZVIEW          NH                    US    57677   133097393@AIRLINE.KIWI.COM
36BN38   12/16/2020   OB   12/23/2020   WN;4211;OAK;LAS                         NORTH DAVIDLAND        AL                    US    78988   133098328@AIRLINE.KIWI.COM
36V9GS   12/16/2020   OB   12/27/2020   WN;2486;DEN;DAL;WN;4815;DAL;LIT         AUTUMNHAVEN            AZ                    US    29127   133099285@AIRLINE.KIWI.COM
36WMDX   12/16/2020   OB   12/23/2020   WN;2045;ATL;HOU                         JASMINETOWN            MS                    US    63548   133099186@AIRLINE.KIWI.COM
3792T5   12/16/2020   OB   12/30/2020   WN;1137;AUS;DEN                         PORT REGINALDFORT      LA                    US    85882   133100011@AIRLINE.KIWI.COM
37A5BX   12/16/2020   OB     1/4/2021   WN;653;LAS;OAK                          FORDFURT               KY                    US     3607   133099967@AIRLINE.KIWI.COM
37AGB2   12/16/2020   OB   12/23/2020   WN;5025;SLC;DEN                         NORTH JEREMYTOWN       MA                    US    49020   133100473@AIRLINE.KIWI.COM
4VN67X   12/16/2020   OB   12/16/2020   WN;822;BWI;SJU                          DAVIDTON               WA                    US    39323   133005037@AIRLINE.KIWI.COM
4W4V4H   12/16/2020   OB     1/1/2021   WN;4563;SJC;DEN;WN;3943;DEN;BOS         TAMMYHAVEN             VA                    US    48758   133005521@AIRLINE.KIWI.COM
4WY4S6   12/16/2020   OB   12/27/2020   WN;4007;MCO;AUS                         NORTH ISAACBURY        AL                    US    35662   133006522@AIRLINE.KIWI.COM
4WYBTT   12/16/2020   OB   12/29/2020   WN;593;FLL;MDW                          NORTH JUANVIEW         TX                    US    54688   133006995@AIRLINE.KIWI.COM
4XENNN   12/16/2020   OB     1/3/2021   WN;3939;TUS;DEN                         PATRICIACHESTER        AR                    US    66551   133007402@AIRLINE.KIWI.COM
4XR7Z7   12/16/2020   OB   12/16/2020   WN;3026;PHX;OKC                         SOUTH ROY              MD                    US    88426   133008172@AIRLINE.KIWI.COM
4XTYV5   12/16/2020   OB   12/24/2020   WN;2051;ATL;MDW                         SOUTH ANTHONY          ND                    US    76634   133008381@AIRLINE.KIWI.COM
4Y9D48   12/16/2020   OB   12/31/2020   WN;4547;PHL;ATL                         NEW ANGELICA           CA                    US    20894   133008832@AIRLINE.KIWI.COM
4Y9D48   12/16/2020   OB   12/31/2020   WN;4547;PHL;ATL                         NEW ANGELICA           CA                    US    20894   133008832@AIRLINE.KIWI.COM
4Y9IYA   12/16/2020   OB   12/18/2020   WN;985;LGA;MDW;WN;1011;MDW;MIA          CHRISTOPHERBOROUGH     HI                    US    23908   133008612@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039 JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB     4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO          JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039 JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB     4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO          JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039 JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB     4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO          JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039 JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB     4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO          JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039 JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB     4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO          JILLSHIRE              TX                    US    63572   133009415@AIRLINE.KIWI.COM
4YPACU   12/16/2020   OB     1/2/2021   WN;2358;ATL;BWI                         EAST ROBERTTON         AK                    US    11869   133009701@AIRLINE.KIWI.COM
4YSXYQ   12/16/2020   OB     2/5/2021   WN;2730;CLT;DEN                         NEW CURTIS             IA                    US    52675   133010174@AIRLINE.KIWI.COM
4YTJGG   12/16/2020   OB   12/27/2020   WN;2715;RIC;ATL                         BROWNFURT              SD                    US     3074   133009646@AIRLINE.KIWI.COM
4YU44T   12/16/2020   OB   12/29/2020   WN;340;DEN;OKC                          PORT CLINTON           ME                    US    20338   133009316@AIRLINE.KIWI.COM
4YU44T   12/16/2020   OB   12/29/2020   WN;340;DEN;OKC                          PORT CLINTON           ME                    US    20338   133009316@AIRLINE.KIWI.COM
4YXJM3   12/16/2020   OB   12/27/2020   WN;1697;BOS;BWI;WN;4930;BWI;MCO         KLKH PEVEK             ZABAJKALSKIJ KRAJ     RU    60059   133010042@AIRLINE.KIWI.COM
4YYJSG   12/16/2020   OB     1/2/2021   WN;1249;PHX;DEN                         KARLSKRONA             BLEKINGE LAN          SE    17747   133010152@AIRLINE.KIWI.COM
4ZG7R7   12/16/2020   OB   12/23/2020   WN;4832;RSW;STL;WN;4832;STL;DTW         LAKE MICHAELBOROUGH    QUEBEC                CA    35599   133010856@AIRLINE.KIWI.COM
4ZG7R7   12/16/2020   OB   12/23/2020   WN;4832;RSW;STL;WN;4832;STL;DTW         LAKE MICHAELBOROUGH    QUEBEC                CA    35599   133010856@AIRLINE.KIWI.COM
4ZG7R7   12/16/2020   OB   12/23/2020   WN;4832;RSW;STL;WN;4832;STL;DTW         LAKE MICHAELBOROUGH    QUEBEC                CA    35599   133010856@AIRLINE.KIWI.COM
4ZJWNL   12/16/2020   OB   12/30/2020   WN;653;LAS;OAK                          LOPEZSTAD              OR                    US     9954   133010680@AIRLINE.KIWI.COM
4ZJWNL   12/16/2020   OB   12/30/2020   WN;653;LAS;OAK                          LOPEZSTAD              OR                    US     9954   133010680@AIRLINE.KIWI.COM
4ZN2CP   12/16/2020   OB   12/23/2020   WN;4832;RSW;STL;WN;4832;STL;DTW         LAKE BRIANMOUTH        WV                    US    72454   133010856@AIRLINE.KIWI.COM
37XMDL   12/17/2020   OB   12/28/2020   WN;572;SAN;MDW                          WEST KARASTAD          RI                    US    12517   133101584@AIRLINE.KIWI.COM
387DUI   12/17/2020   OB     1/3/2021   WN;3730;LAS;ICT                         NORTH ANGELA           ME                    US    40817   133101716@AIRLINE.KIWI.COM
387DUI   12/17/2020   OB     1/3/2021   WN;3730;LAS;ICT                         NORTH ANGELA           ME                    US    40817   133101716@AIRLINE.KIWI.COM
38EEZY   12/17/2020   OB   12/31/2020   WN;1377;DEN;MDW                         SOUTH MELISSA          MD                    US    94104   133102112@AIRLINE.KIWI.COM
38KGMY   12/17/2020   OB   12/30/2020   WN;595;HNL;ITO                          NICOLEBERG             AK                    US    10409   133101694@AIRLINE.KIWI.COM
38TRQG   12/17/2020   OB   12/30/2020   WN;595;HNL;ITO                          SOUTH AMBERBURGH       TN                    US    71816   133101694@AIRLINE.KIWI.COM
38VQTI   12/17/2020   OB   12/31/2020   WN;2310;DEN;SEA                         WEST CASSANDRATOWN     MN                    US    53823   133102552@AIRLINE.KIWI.COM
38VQTI   12/17/2020   OB   12/31/2020   WN;2310;DEN;SEA                         WEST CASSANDRATOWN     MN                    US    53823   133102552@AIRLINE.KIWI.COM
38VQTI   12/17/2020   OB   12/31/2020   WN;2310;DEN;SEA                         WEST CASSANDRATOWN     MN                    US    53823   133102552@AIRLINE.KIWI.COM
38YQ7L   12/17/2020   OB   12/28/2020   WN;1587;BNA;LGA                         ERICMOUTH              MT                    US     3591   133103212@AIRLINE.KIWI.COM
3A8TO9   12/17/2020   OB   12/23/2020   WN;3021;BUR;OAK                         EAST MICHAEL           AK                    US     8578   133104917@AIRLINE.KIWI.COM
3AITYD   12/17/2020   OB   12/17/2020   WN;1389;ELP;DAL                         SAN ESTELA DE LA MON   CHIHUAHUA             MX     3966   133105698@AIRLINE.KIWI.COM
3B8KLS   12/17/2020   OB   12/18/2020   WN;1181;MDW;LGA                         KEVINFURT              MO                    US    25992   133106270@AIRLINE.KIWI.COM
3BDZNW   12/17/2020   OB   12/25/2020   WN;3115;MDW;ATL                         BROWNSIDE              HI                    US     4646   133106611@AIRLINE.KIWI.COM
3BDZNW   12/17/2020   OB   12/25/2020   WN;3115;MDW;ATL                         BROWNSIDE              HI                    US     4646   133106611@AIRLINE.KIWI.COM
3BGEIP   12/17/2020   OB   12/31/2020   WN;3172;TUS;LAS;WN;3203;LAS;ONT         THORENS                ZUG                   CH    71364   133106831@AIRLINE.KIWI.COM
3BRE8Q   12/17/2020   OB   12/23/2020   WN;4101;SLC;PHX                         PORT ANDREABERG        WA                    US    42484   133107821@AIRLINE.KIWI.COM
3BSGXF   12/17/2020   OB     1/4/2021   WN;1033;PHX;SAN                         PORT DANA              NC                    US    17267   133107337@AIRLINE.KIWI.COM
3BWOTR   12/17/2020   OB   12/25/2020   WN;2938;ATL;PHL                         NANCYLAND              VT                    US    92597   133107964@AIRLINE.KIWI.COM
3C6TKI   12/17/2020   OB    1/19/2021   WN;2838;MCO;STL;WN;3956;STL;DSM         EAST ADAMFORT          KY                    US     1662   133107898@AIRLINE.KIWI.COM
3CKB8Q   12/17/2020   OB   12/20/2020   WN;319;PDX;DEN                          LAKE KIMVILLE          NY                    US    75367   133109185@AIRLINE.KIWI.COM
3COBI5   12/17/2020   OB   12/27/2020   WN;2653;GSP;ATL;WN;4075;ATL;DEN         BETHANYVILLE           SD                    US    40937   133109405@AIRLINE.KIWI.COM
3CQQX4   12/17/2020   OB   12/20/2020   WN;3333;DEN;ATL                         NORTH JENNIFER         FL                    US    41778   133109185@AIRLINE.KIWI.COM
3D8KBJ   12/17/2020   OB   12/20/2020   WN;1062;MIA;TPA;WN;6786;TPA;BNA         WEST CHRISTOPHER       WA                    US    47530   133110054@AIRLINE.KIWI.COM
3D9TN3   12/17/2020   OB   12/26/2020   WN;1749;SEA;LAS                         SOUTH DANIELHAVEN      MT                    US    85655   133110208@AIRLINE.KIWI.COM
3DDXA8   12/17/2020   OB     1/5/2021   WN;6216;DEN;BWI                         SOUTH JOHN             MO                    US     8932   133109658@AIRLINE.KIWI.COM
3DDXA8   12/17/2020   OB     1/5/2021   WN;6216;DEN;BWI                         SOUTH JOHN             MO                    US     8932   133109658@AIRLINE.KIWI.COM
3DDXA8   12/17/2020   OB     1/5/2021   WN;6216;DEN;BWI                         SOUTH JOHN             MO                    US     8932   133109658@AIRLINE.KIWI.COM
3DFCBZ   12/17/2020   OB   12/17/2020   WN;991;DAL;LIT                          SAN CARLA DE LA MONT   CAMPECHE              MX    24559   133110494@AIRLINE.KIWI.COM
3E8ETH   12/17/2020   OB   12/23/2020   WN;1687;STL;AUS                         PORT BRENT             NC                    US    39490   133111374@AIRLINE.KIWI.COM
3E8ETH   12/17/2020   OB   12/23/2020   WN;1687;STL;AUS                         PORT BRENT             NC                    US    39490   133111374@AIRLINE.KIWI.COM
3EC3EC   12/17/2020   OB     1/5/2021   WN;452;PHL;DEN;WN;687;DEN;GEG           LAKE HEATHER           NM                    US    37162   133111583@AIRLINE.KIWI.COM
3ECL3I   12/17/2020   OB   12/27/2020   WN;3572;AUS;STL                         RHONDASHIRE            ME                    US    18569   133111374@AIRLINE.KIWI.COM
3ECL3I   12/17/2020   OB   12/27/2020   WN;3572;AUS;STL                         RHONDASHIRE            ME                    US    18569   133111374@AIRLINE.KIWI.COM
3EFYIJ   12/17/2020   OB   12/18/2020   WN;1188;ICT;DEN;WN;773;DEN;PDX          SOUTH CHERYLPORT       NH                    US    62774   133111902@AIRLINE.KIWI.COM
3EGZCE   12/17/2020   OB     1/3/2021   WN;3052;DEN;SMF                         SOUTH JUDITHTON        AK                    US    91111   133111044@AIRLINE.KIWI.COM
3F8KTV   12/17/2020   OB     1/6/2021   WN;920;PHL;MDW                          RAMIREZTON             OK                    US    25619   133112705@AIRLINE.KIWI.COM
3FEKKZ   12/17/2020   OB     1/6/2021   WN;324;MIA;HOU                          WATKINSFORT            IA                    US    30478   133113244@AIRLINE.KIWI.COM
3FMH9G   12/17/2020   OB   12/30/2020   WN;619;BUF;PHX;WN;1298;PHX;PVR          STEVENTOWN             NV                    US    94898   133113134@AIRLINE.KIWI.COM
3FPAXD   12/17/2020   OB   12/17/2020   WN;355;DEN;PHX                          PORT SAMANTHAPORT      OR                    US    26063   132734514.1519256@AIRLINE.KIWI.COM
3FQLGN   12/17/2020   OB     2/7/2021   WN;3841;PHX;MDW                         NEW JEANETTESTAD       MT                    US    34598   133113816@AIRLINE.KIWI.COM
3FR99G   12/17/2020   OB     1/3/2021   WN;4135;LAS;SDF                         WEST ALEXIS            UT                    US    67986   133113486@AIRLINE.KIWI.COM
3FR99G   12/17/2020   OB     1/3/2021   WN;4135;LAS;SDF                         WEST ALEXIS            UT                    US    67986   133113486@AIRLINE.KIWI.COM
3G9O4L   12/17/2020   OB     2/7/2021   WN;3841;PHX;MDW                         ROBINPORT              UT                    US    59341   133114454@AIRLINE.KIWI.COM
3GB7RU   12/17/2020   OB     1/3/2021   WN;1736;RDU;DEN                         GEORGEMOUTH            UT                    US    37535   133114245@AIRLINE.KIWI.COM
3GBYLS   12/17/2020   OB   12/27/2020   WN;4292;MSP;MDW                         SOUTH GARRYBURGH       STIRLING              GB    76169   133114410@AIRLINE.KIWI.COM
3GEIFJ   12/17/2020   OB     2/7/2021   WN;3841;PHX;MDW                         FIGUEROAVILLE          KY                    US    16938   133114619@AIRLINE.KIWI.COM
3GQEDV   12/17/2020   OB    1/31/2021   WN;3185;FLL;BNA;WN;3585;BNA;DTW         SOUTH ALLISON          AR                    US    59930   133115290@AIRLINE.KIWI.COM
3GQEDV   12/17/2020   OB    1/31/2021   WN;3185;FLL;BNA;WN;3585;BNA;DTW         SOUTH ALLISON          AR                    US    59930   133115290@AIRLINE.KIWI.COM




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3GTPNF   12/17/2020   OB    2/17/2021   WN;3611;MDW;PHX                     EDWARDSLAND            WI                          US   93628   133115279@AIRLINE.KIWI.COM
3GTPNF   12/17/2020   RT    2/24/2021   WN;4615;PHX;MDW                     EDWARDSLAND            WI                          US   93628   133115279@AIRLINE.KIWI.COM
3I62XX   12/17/2020   OB   12/25/2020   WN;1816;ABQ;DEN                     SMITHBERG              MI                          US   64421   133109669@AIRLINE.KIWI.COM
3IUUDI   12/17/2020   OB     1/2/2021   WN;2247;DEN;TPA                     NEW JOHN               TN                          US   76505   133117842@AIRLINE.KIWI.COM
3IUUDI   12/17/2020   OB     1/2/2021   WN;2247;DEN;TPA                     NEW JOHN               TN                          US   76505   133117842@AIRLINE.KIWI.COM
3JESHH   12/17/2020   OB   12/20/2020   WN;1599;DEN;SLC                     DONALDBURGH            NH                          US   18372   133118788@AIRLINE.KIWI.COM
3KH6W8   12/17/2020   OB     1/3/2021   WN;2223;BOS;MDW;WN;3732;MDW;MSP     JAMESLAND              CT                          US   29083   133119767@AIRLINE.KIWI.COM
3KSEO7   12/17/2020   OB   12/25/2020   WN;1564;SJC;PHX                     PORT KATHERINEBERG     MA                          US   40070   133120020@AIRLINE.KIWI.COM
3N9HNA   12/17/2020   OB   12/27/2020   WN;5062;DEN;MCI                     NUEVA SURINAME         TAMAULIPAS                  MX   19741   133123485@AIRLINE.KIWI.COM
3N9HNA   12/17/2020   RT   12/29/2020   WN;557;MCI;DEN                      NUEVA SURINAME         TAMAULIPAS                  MX   19741   133123485@AIRLINE.KIWI.COM
3NECO9   12/17/2020   OB   12/26/2020   WN;1249;PHX;DEN                     SAN FERNANDO LOS BAJ   TAMAULIPAS                  MX   36686   133123485@AIRLINE.KIWI.COM
3NECO9   12/17/2020   RT   12/30/2020   WN;355;DEN;PHX                      SAN FERNANDO LOS BAJ   TAMAULIPAS                  MX   36686   133123485@AIRLINE.KIWI.COM
3RRSVL   12/17/2020   OB    1/15/2021   WN;1336;BWI;DEN                     PORT ANNFURT           CO                          US   58171   133131449@AIRLINE.KIWI.COM
3RRSVL   12/17/2020   OB    1/15/2021   WN;1336;BWI;DEN                     PORT ANNFURT           CO                          US   58171   133131449@AIRLINE.KIWI.COM
3VWPIQ   12/17/2020   OB   12/24/2020   WN;4836;SEA;OAK                     CHRISTINACHESTER       CO                          US     722   133137532.1519452@AIRLINE.KIWI.COM
432IIY   12/17/2020   OB   12/20/2020   WN;843;LAX;BWI;WN;135;BWI;BUF       NEW TONI               MO                          US   56954   133156474@AIRLINE.KIWI.COM
43LASN   12/17/2020   OB   12/24/2020   WN;3124;DTW;BNA;WN;2438;BNA;MCO     PORT ZACHARY           NH                          US   53510   133157442@AIRLINE.KIWI.COM
44VF3R   12/17/2020   OB   12/25/2020   WN;2220;MDW;BNA;WN;2438;BNA;MCO;WN;2CRUZBERG               KS                          US   50850   133160797@AIRLINE.KIWI.COM
44VF3R   12/17/2020   OB   12/25/2020   WN;2220;MDW;BNA;WN;2438;BNA;MCO;WN;2CRUZBERG               KS                          US   50850   133160797@AIRLINE.KIWI.COM
44VF3R   12/17/2020   RT     1/1/2021   WN;2246;FLL;ATL;WN;3558;ATL;MDW     CRUZBERG               KS                          US   50850   133160797@AIRLINE.KIWI.COM
44VF3R   12/17/2020   RT     1/1/2021   WN;2246;FLL;ATL;WN;3558;ATL;MDW     CRUZBERG               KS                          US   50850   133160797@AIRLINE.KIWI.COM
45PBDN   12/17/2020   OB     1/4/2021   WN;551;FLL;TPA;WN;4443;TPA;LGA      PORT JUSTINBERG        TX                          US   75829   133163360@AIRLINE.KIWI.COM
45PBDN   12/17/2020   OB     1/4/2021   WN;551;FLL;TPA;WN;4443;TPA;LGA      PORT JUSTINBERG        TX                          US   75829   133163360@AIRLINE.KIWI.COM
47GWZU   12/17/2020   OB   12/23/2020   WN;6807;DTW;MDW;WN;3304;MDW;ATL     LAKE BETHANYMOUTH      RI                          US   75476   133169168@AIRLINE.KIWI.COM
47WK3S   12/17/2020   OB    1/19/2021   WN;3080;ECP;HOU;WN;2298;HOU;SAT     GONZALESFORT           WA                          US   64780   133170433@AIRLINE.KIWI.COM
4A3IRL   12/17/2020   OB   12/24/2020   WN;2708;MDW;ATL                     LAKE KENNETH           MO                          US   62825   133176241@AIRLINE.KIWI.COM
4AEIVA   12/17/2020   OB   12/19/2020   WN;109;PVR;HOU;WN;1834;HOU;ATL      SOUTH SORINASIDE       HARGHITA                    RO   46377   133176791@AIRLINE.KIWI.COM
4AFS7D   12/17/2020   OB   12/18/2020   WN;727;HNL;ITO                      MISTO ZLATOSLAVA       TERNOPILSKA OBLAST          UA   74181   133176582@AIRLINE.KIWI.COM
4AGQ7V   12/17/2020   OB   12/20/2020   WN;532;STL;MCO;WN;2222;MCO;SJU      BRANDONMOUTH           EAST DUNBARTONSHIRE         GB   59398   133074480.1519676@AIRLINE.KIWI.COM
4CCQPY   12/17/2020   OB   12/21/2020   WN;1389;SAN;PHX;WN;787;PHX;RDU      NORTH BOBLAND          CO                          US   52964   133183127@AIRLINE.KIWI.COM
4EVLFL   12/17/2020   OB   12/24/2020   WN;2956;DAL;ATL                     JOHNSONBERG            AK                          US   69220   133177121@AIRLINE.KIWI.COM
4F3MZY   12/17/2020   OB    1/12/2021   WN;3185;FLL;BNA;WN;1081;BNA;PHL     NORTH KIMBERLYPORT     NM                          US   77206   133190013@AIRLINE.KIWI.COM
4FFEBA   12/17/2020   OB   12/17/2020   WN;406;BUR;OAK                      LAURAMOUTH             WA                          US   92721   133190772@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FLBFO   12/17/2020   OB     1/5/2021   WN;730;SLC;DEN;WN;258;DEN;OMA       NEW JASON              AL                          US   41439   133191531@AIRLINE.KIWI.COM
4FZ4B9   12/17/2020   OB   12/29/2020   WN;2399;CVG;BWI                     ELIZABETHFURT          RI                          US   18096   133192323@AIRLINE.KIWI.COM
4HOENZ   12/17/2020   OB     1/5/2021   WN;1805;AUA;BWI;WN;1475;BWI;CLE     SOUTH GEORGE           LA                          US   15573   133195051@AIRLINE.KIWI.COM
J3AX2F   12/17/2020   OB   12/29/2020   WN;585;BOI;LAS;WN;585;LAS;SLC       EAST MAUREEN           AR                          US   11417   128908758@AIRLINE.KIWI.COM
J3AX2F   12/17/2020   OB     1/2/2021   WN;1773;SLC;PHX                     EAST MAUREEN           AR                          US   11417   128908758@AIRLINE.KIWI.COM
246L3J   12/18/2020   OB   12/18/2020   WN;1223;LAX;LAS                     WEST CHAAYCHAY         NAKHON PATHOM               TH   63051   133227985@AIRLINE.KIWI.COM
24WG6T   12/18/2020   OB   12/19/2020   WN;2097;BNA;MCO                     ELIZABETHVILLE         AZ                          US   90036   133230075@AIRLINE.KIWI.COM
297S26   12/18/2020   OB   12/26/2020   WN;6926;DTW;BNA;WN;1304;BNA;ATL     NORTH TONYBOROUGH      WI                          US   84003   133238072@AIRLINE.KIWI.COM
2ED5JP   12/18/2020   OB   12/27/2020   WN;4601;ATL;BWI;WN;2445;BWI;FLL     WEST TRACY             WI                          US   29873   133251316@AIRLINE.KIWI.COM
2GG2WW   12/18/2020   OB     1/9/2021   WN;3171;SFO;SAN;WN;3171;SAN;PHX     WEST KELLY             AZ                          US   17028   133257289@AIRLINE.KIWI.COM
2GG2WW   12/18/2020   OB     1/9/2021   WN;3171;SFO;SAN;WN;3171;SAN;PHX     WEST KELLY             AZ                          US   17028   133257289@AIRLINE.KIWI.COM
2GNXPB   12/18/2020   OB   12/29/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA     D IOSHKAROLA           SAKHA RESPUBLIKA YAKUTIYA   RU    3541   133258950@AIRLINE.KIWI.COM
2GNXPB   12/18/2020   OB   12/29/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA     D IOSHKAROLA           SAKHA RESPUBLIKA YAKUTIYA   RU    3541   133258950@AIRLINE.KIWI.COM
2GPXWS   12/18/2020   OB   12/18/2020   WN;1131;LAX;SMF                     EAST THOMASSIDE        MO                          US   92657   133259841@AIRLINE.KIWI.COM
2GZYL6   12/18/2020   OB   12/24/2020   WN;4861;SNA;OAK;WN;3743;OAK;RNO     EAST DANIELLAND        UT                          US   85936   133215390@AIRLINE.KIWI.COM
2H2V83   12/18/2020   OB   12/30/2020   WN;634;BWI;STL                      VICTORIATOWN           MI                          US    6392   133260743@AIRLINE.KIWI.COM
2H2V83   12/18/2020   RT     1/4/2021   WN;1216;STL;MDW;WN;998;MDW;BWI      VICTORIATOWN           MI                          US    6392   133260743@AIRLINE.KIWI.COM
2HKEZM   12/18/2020   OB   12/20/2020   WN;1057;MIA;HOU;WN;1803;HOU;OAK     ROYMOUTH               TX                          US   80144   133264307@AIRLINE.KIWI.COM
2HKEZM   12/18/2020   RT   12/22/2020   WN;618;OAK;HOU;WN;661;HOU;MIA       ROYMOUTH               TX                          US   80144   133264307@AIRLINE.KIWI.COM
2HWYHV   12/18/2020   OB    1/19/2021   WN;3020;BOI;LAS;WN;4982;LAS;SMF     LAKE MATTHEWTON        FL                          US   17625   133266936@AIRLINE.KIWI.COM
2HYH87   12/18/2020   OB     1/3/2021   WN;1936;HOU;BNA                     NORTH BENJAMIN         KS                          US    7096   133267222@AIRLINE.KIWI.COM
2HYH87   12/18/2020   OB     1/3/2021   WN;1936;HOU;BNA                     NORTH BENJAMIN         KS                          US    7096   133267222@AIRLINE.KIWI.COM
2HZO7O   12/18/2020   OB   12/28/2020   WN;532;DSM;STL;WN;337;STL;RDU       COOKSIDE               NY                          US   42788   133267145@AIRLINE.KIWI.COM
2HZO7O   12/18/2020   OB   12/28/2020   WN;532;DSM;STL;WN;337;STL;RDU       COOKSIDE               NY                          US   42788   133267145@AIRLINE.KIWI.COM
2HZO7O   12/18/2020   OB   12/28/2020   WN;532;DSM;STL;WN;337;STL;RDU       COOKSIDE               NY                          US   42788   133267145@AIRLINE.KIWI.COM
2I8WUT   12/18/2020   OB   12/25/2020   WN;4145;MIA;TPA;WN;2606;TPA;DEN     BNDR MHMDLY            GILAN                       IR   40757   133267728@AIRLINE.KIWI.COM
2IB98U   12/18/2020   OB   12/26/2020   WN;2107;LGA;TPA;WN;2117;TPA;FLL     WEST CHARLESMOUTH      AL GHARBIYAH                EG   44689   133268322@AIRLINE.KIWI.COM
2IKH2S   12/18/2020   OB   12/19/2020   WN;2362;BWI;DEN                     CLARKETON              VT                          US   62377   132847198.1520239@AIRLINE.KIWI.COM
2JD5TK   12/18/2020   OB   12/30/2020   WN;1199;PVD;BWI;WN;938;BWI;ATL      ANTHONYVILLE           GA                          US   15509   133274559@AIRLINE.KIWI.COM
2JG8OU   12/18/2020   OB    1/30/2021   WN;3759;LAX;DEN;WN;64;DEN;RSW       EAST SCOTT             KS                          US   50403   133274328@AIRLINE.KIWI.COM
2JG8OU   12/18/2020   OB    1/30/2021   WN;3759;LAX;DEN;WN;64;DEN;RSW       EAST SCOTT             KS                          US   50403   133274328@AIRLINE.KIWI.COM
2JG8OU   12/18/2020   RT     2/4/2021   WN;914;RSW;HOU;WN;3631;HOU;LAX      EAST SCOTT             KS                          US   50403   133274328@AIRLINE.KIWI.COM
2JG8OU   12/18/2020   RT     2/4/2021   WN;914;RSW;HOU;WN;3631;HOU;LAX      EAST SCOTT             KS                          US   50403   133274328@AIRLINE.KIWI.COM
2JLW5V   12/18/2020   OB   12/19/2020   WN;1521;ATL;LGA                     SUAREZBURGH            TX                          US   96700   133275681@AIRLINE.KIWI.COM
2JRGY3   12/18/2020   OB     1/2/2021   WN;1258;ONT;PHX;WN;2268;PHX;MSP     HARTOLA                SATAKUNTA                   FI   18478   133276726@AIRLINE.KIWI.COM
2JROI2   12/18/2020   OB   12/19/2020   WN;328;CUN;HOU                      SAN SILVIA LOS BAJOS   QUERETARO                   MX   49861   133276528@AIRLINE.KIWI.COM
2JROI2   12/18/2020   OB   12/19/2020   WN;328;CUN;HOU                      SAN SILVIA LOS BAJOS   QUERETARO                   MX   49861   133276528@AIRLINE.KIWI.COM
2JTSAN   12/18/2020   OB   12/19/2020   WN;30;HOU;DAL;WN;1860;DAL;SAT       NUEVA JAPON            CIUDAD DE MEXICO            MX   45864   133276528@AIRLINE.KIWI.COM
2JTSAN   12/18/2020   OB   12/19/2020   WN;30;HOU;DAL;WN;1860;DAL;SAT       NUEVA JAPON            CIUDAD DE MEXICO            MX   45864   133276528@AIRLINE.KIWI.COM
2KDMRS   12/18/2020   OB     1/2/2021   WN;1972;ATL;LGA                     DANIELPORT             LA                          US   48304   133279377@AIRLINE.KIWI.COM
2KDMRS   12/18/2020   RT     1/6/2021   WN;156;LGA;ATL                      DANIELPORT             LA                          US   48304   133279377@AIRLINE.KIWI.COM
2KLOUU   12/18/2020   OB   12/28/2020   WN;160;PDX;DEN;WN;1236;DEN;SAT      LAKE KRISTYTON         NE                          US    4357   133281038@AIRLINE.KIWI.COM
2KMWKT   12/18/2020   OB     1/9/2021   WN;1020;SAN;LAS                     WEST THOMASFURT        DE                          US   98605   133280312@AIRLINE.KIWI.COM
2KPR6F   12/18/2020   OB   12/26/2020   WN;1718;SAT;LAS;WN;2073;LAS;PDX     NEW TRAVISSTAD         OH                          US   66531   133281038@AIRLINE.KIWI.COM
2KT7A2   12/18/2020   OB   12/27/2020   WN;4009;ATL;HOU                     LAKE MATTHEW           ID                          US   78822   133281500@AIRLINE.KIWI.COM
2MFVBY   12/18/2020   OB   12/31/2020   WN;4401;MAF;HOU;WN;2567;HOU;MSY     NORTH STEPHANIEBERG    IN                          US   62355   133288474@AIRLINE.KIWI.COM
2MY9T6   12/18/2020   OB    1/12/2021   WN;4982;STL;DEN;WN;4782;DEN;OMA     ALVAREZPORT            IL                          US    9806   133290322@AIRLINE.KIWI.COM
2N7GKY   12/18/2020   OB    1/13/2021   WN;4788;OMA;MDW;WN;4115;MDW;STL     MILLSVIEW              OK                          US   29963   133291048@AIRLINE.KIWI.COM
4JWID6   12/18/2020   OB   12/18/2020   WN;1334;RIC;ATL;WN;494;ATL;MSY      WILLIAMBURY            TX                          US   13454   133199880@AIRLINE.KIWI.COM
4K3ZPD   12/18/2020   OB   12/18/2020   WN;1437;LAX;HOU                     SOUTH TONIBOROUGH      FL                          US   32304   132244068.1519768@AIRLINE.KIWI.COM
4KGNP3   12/18/2020   OB   12/25/2020   WN;3134;DTW;BWI;WN;2546;BWI;MCO     MARKTOWN               IL                          US   50985   133200419@AIRLINE.KIWI.COM
4KGNP3   12/18/2020   OB   12/25/2020   WN;3134;DTW;BWI;WN;2546;BWI;MCO     MARKTOWN               IL                          US   50985   133200419@AIRLINE.KIWI.COM
4KGNP3   12/18/2020   OB   12/25/2020   WN;3134;DTW;BWI;WN;2546;BWI;MCO     MARKTOWN               IL                          US   50985   133200419@AIRLINE.KIWI.COM
4KLEJP   12/18/2020   OB   12/23/2020   WN;2111;AUS;HOU;WN;2034;HOU;FLL     MOOREMOUTH             DE                          US   71543   133200496@AIRLINE.KIWI.COM
4KLEJP   12/18/2020   RT     1/3/2021   WN;3572;FLL;AUS                     MOOREMOUTH             DE                          US   71543   133200496@AIRLINE.KIWI.COM
4L4BGH   12/18/2020   OB   12/19/2020   WN;170;CVG;PHX                      HUERTAPORT             NY                          US   84340   133202102@AIRLINE.KIWI.COM
4LQ6SR   12/18/2020   OB     1/5/2021   WN;1051;MIA;BWI;WN;765;BWI;AUS      CHAVEZSTAD             ID                          US   73991   133203037@AIRLINE.KIWI.COM
4LRFS6   12/18/2020   OB   12/19/2020   WN;2055;LAS;LAX                     D KOVROV               BRYANSKAYA OBLAST           RU     578   133203026@AIRLINE.KIWI.COM
4M4Q2A   12/18/2020   OB   12/21/2020   WN;135;LGA;ATL;WN;772;ATL;FLL       SAMARINDA              PAPUA                       ID   44910   133203345@AIRLINE.KIWI.COM
4NXQE9   12/18/2020   OB   12/18/2020   WN;904;ATL;DEN;WN;416;DEN;SFO       EAST ANDREWHAVEN       WA                          US   31318   133206667@AIRLINE.KIWI.COM
4O49EM   12/18/2020   OB   12/18/2020   WN;904;ATL;DEN;WN;416;DEN;SFO       EAST NATALIE           CT                          US   46243   133206667@AIRLINE.KIWI.COM
4Q4MC5   12/18/2020   OB     1/7/2021   WN;1028;CUN;DEN                     LAKE JAMES             IA                          US   27439   133209670@AIRLINE.KIWI.COM
4RQ8C7   12/18/2020   OB   12/21/2020   WN;169;BOS;BWI;WN;102;BWI;MIA       NORTH ROGERPORT        VOLTA                       GH   44266   133212024@AIRLINE.KIWI.COM
4RSB24   12/18/2020   OB   12/25/2020   WN;2438;CLE;BNA;WN;3276;BNA;FLL     PORT MORGAN            WV                          US   47879   133211782@AIRLINE.KIWI.COM
4RSB24   12/18/2020   OB   12/25/2020   WN;2438;CLE;BNA;WN;3276;BNA;FLL     PORT MORGAN            WV                          US   47879   133211782@AIRLINE.KIWI.COM
4RWBUE   12/18/2020   OB   12/18/2020   WN;1139;DCA;MDW                     LAKE KATIE             WV                          US   33466   133212200@AIRLINE.KIWI.COM
4SJ2LW   12/18/2020   OB   12/27/2020   WN;4898;ELP;PHX;WN;2140;PHX;DEN     LAKE ANNE              NH                          US   94641   133212805@AIRLINE.KIWI.COM




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4SXFRE   12/18/2020   OB   12/18/2020   WN;351;DAL;DEN                    WEAVERBERG             LA                          US   38870   133213256@AIRLINE.KIWI.COM
4SXFRE   12/18/2020   OB   12/18/2020   WN;351;DAL;DEN                    WEAVERBERG             LA                          US   38870   133213256@AIRLINE.KIWI.COM
4SY7J6   12/18/2020   OB   12/26/2020   WN;1836;PDX;PHX;WN;6255;PHX;PVR   SOUTH DAVIDSIDE        IA                          US    7465   133213366@AIRLINE.KIWI.COM
4SY7J6   12/18/2020   OB   12/26/2020   WN;1836;PDX;PHX;WN;6255;PHX;PVR   SOUTH DAVIDSIDE        IA                          US    7465   133213366@AIRLINE.KIWI.COM
4UHG74   12/18/2020   OB   12/20/2020   WN;615;SAN;PHX;WN;913;PHX;BWI     LAKE KYLEPORT          TN                          US   47048   132897600.1519838@AIRLINE.KIWI.COM
4VKJ3R   12/18/2020   OB   12/29/2020   WN;1068;SLC;OAK;WN;808;OAK;HNL    DANIELPORT             OH                          US   84984   133216358@AIRLINE.KIWI.COM
4W2TVA   12/18/2020   OB    4/18/2021   WN;638;LAX;MSY                    GARCIALAND             WA                          US   51375   133216963@AIRLINE.KIWI.COM
4W2TVA   12/18/2020   OB    4/18/2021   WN;638;LAX;MSY                    GARCIALAND             WA                          US   51375   133216963@AIRLINE.KIWI.COM
4W62MY   12/18/2020   OB     1/2/2021   WN;1941;GEG;DEN;WN;6893;DEN;DSM   COXHAVEN               MS                          US   73700   133217183@AIRLINE.KIWI.COM
4YOHC7   12/18/2020   OB   12/18/2020   WN;782;MSP;MDW                    ELIZABETHSTAD          IN                          US   36972   133220428@AIRLINE.KIWI.COM
4ZDHPT   12/18/2020   OB   12/19/2020   WN;1976;IND;CUN                   VIEJA REPUBLICA ARAB   SONORA                      MX   15616   133222045@AIRLINE.KIWI.COM
2NYWM5   12/19/2020   OB     1/8/2021   WN;4941;PDX;LAS                   LAKE MELVINLAND        NH                          US   33341   133293611@AIRLINE.KIWI.COM
2NZIME   12/19/2020   OB     1/3/2021   WN;1478;BWI;CLT                   ANTHONYHAVEN           CA                          US   81802   133293963@AIRLINE.KIWI.COM
2O446O   12/19/2020   OB    1/10/2021   WN;3326;LAS;PDX                   BURGESSBURY            MD                          US   43667   133293611@AIRLINE.KIWI.COM
2OINQW   12/19/2020   OB   12/21/2020   WN;1077;ELP;PHX;WN;1393;PHX;LAX   MORROWSTAD             NY                          US   91801   133295305@AIRLINE.KIWI.COM
2OIQFA   12/19/2020   OB   12/22/2020   WN;130;ELP;DAL;WN;852;DAL;LGA     SOUTH JAIMESHIRE       RI                          US   43917   133294920@AIRLINE.KIWI.COM
2OKCMA   12/19/2020   OB     1/8/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS   MARIABURY              AZ                          US   36820   133295206@AIRLINE.KIWI.COM
2OKCMA   12/19/2020   OB     1/8/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS   MARIABURY              AZ                          US   36820   133295206@AIRLINE.KIWI.COM
2OKCMA   12/19/2020   RT    1/10/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA   MARIABURY              AZ                          US   36820   133295206@AIRLINE.KIWI.COM
2OKCMA   12/19/2020   RT    1/10/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA   MARIABURY              AZ                          US   36820   133295206@AIRLINE.KIWI.COM
2PM5SL   12/19/2020   OB   12/26/2020   WN;6926;DTW;BNA;WN;1304;BNA;ATL   NORTH NICHOLAS         NM                          US   22720   133298011@AIRLINE.KIWI.COM
2PXJVM   12/19/2020   OB   12/21/2020   WN;827;SAT;DEN;WN;1035;DEN;MSP    EAST AUDREYPORT        AZ                          US   92413   133298880@AIRLINE.KIWI.COM
2PYKEQ   12/19/2020   OB   12/19/2020   WN;667;ATL;MDW;WN;6875;MDW;DTW    JOSEPHTON              HI                          US   50347   133297252@AIRLINE.KIWI.COM
2PYKEQ   12/19/2020   OB   12/19/2020   WN;667;ATL;MDW;WN;6875;MDW;DTW    JOSEPHTON              HI                          US   50347   133297252@AIRLINE.KIWI.COM
2RXY2C   12/19/2020   OB     1/2/2021   WN;1798;BNA;DEN;WN;333;DEN;SMF    NEW BRIANNA            MS                          US    1290   133303489@AIRLINE.KIWI.COM
2RYROF   12/19/2020   OB   12/28/2020   WN;330;RDU;PHX;WN;840;PHX;LGB     PORT JORDANSTAD        AL                          US   84583   133216072@AIRLINE.KIWI.COM
2RYROF   12/19/2020   OB   12/28/2020   WN;330;RDU;PHX;WN;840;PHX;LGB     PORT JORDANSTAD        AL                          US   84583   133216072@AIRLINE.KIWI.COM
2RYROF   12/19/2020   OB   12/28/2020   WN;330;RDU;PHX;WN;840;PHX;LGB     PORT JORDANSTAD        AL                          US   84583   133216072@AIRLINE.KIWI.COM
2S6HRT   12/19/2020   OB   12/19/2020   WN;1799;ATL;CMH                   EAST STEPHANIESTAD     IA                          US   78329   133303742@AIRLINE.KIWI.COM
2SILPO   12/19/2020   OB   12/19/2020   WN;2100;MCO;FLL                   NORTH STEPHANIE        VA                          US   32895   133304402@AIRLINE.KIWI.COM
2SKTYD   12/19/2020   OB     1/3/2021   WN;4417;DSM;STL;WN;3252;STL;OKC   OWENMOUTH              VA                          US   88151   133304600@AIRLINE.KIWI.COM
2TNFUT   12/19/2020   OB    1/14/2021   WN;1609;BWI;CUN                   JENNIFERBURGH          AK                          US   82299   133307207@AIRLINE.KIWI.COM
2U2IOO   12/19/2020   OB   12/19/2020   WN;2033;TPA;DAL;WN;208;DAL;SAT    SOUTH MONICATON        NEWFOUNDLAND AND LABRADOR   CA   67906   133308263@AIRLINE.KIWI.COM
2UFWWB   12/19/2020   OB     1/2/2021   WN;6722;AUS;HOU                   LAKE JESSICA           MS                          US   49148   133309330@AIRLINE.KIWI.COM
2UFWWB   12/19/2020   OB     1/2/2021   WN;6722;AUS;HOU                   LAKE JESSICA           MS                          US   49148   133309330@AIRLINE.KIWI.COM
2UJH52   12/19/2020   OB   12/22/2020   WN;843;LAX;BWI;WN;135;BWI;BUF     BONILLAPORT            MS                          US   26571   133309594@AIRLINE.KIWI.COM
2WSR78   12/19/2020   OB   12/27/2020   WN;1887;MSY;HOU;WN;1143;HOU;SAT   JASONMOUTH             KS                          US   99435   133316337@AIRLINE.KIWI.COM
32BSEL   12/19/2020   OB   12/23/2020   WN;3563;SAT;DAL;WN;3420;DAL;OMA   EAST ROBERTLAND        NM                          US   18253   133327788@AIRLINE.KIWI.COM
32F6FM   12/19/2020   OB   12/19/2020   WN;1423;AUS;PHX                   JESSICAVILLE           AL                          US   25046   132724988@AIRLINE.KIWI.COM
32I8TS   12/19/2020   OB   12/19/2020   WN;2212;DAL;MDW                   WEST DAVIDVILLE        MP                          US   20392   133323619@AIRLINE.KIWI.COM
33DCMK   12/19/2020   OB    1/20/2021   WN;2478;PHX;ABQ                   CALIGOLA SALENTINO     PESCARA                     IT   30130   133331682@AIRLINE.KIWI.COM
33FPVQ   12/19/2020   OB    1/26/2021   WN;3940;ABQ;DEN                   BORGO BORTOLO DEL FR   PISA                        IT   68252   133331682@AIRLINE.KIWI.COM
34JCKH   12/19/2020   OB    1/11/2021   WN;205;RDU;MDW                    JOHNPORT               NM                          US   16323   133336016@AIRLINE.KIWI.COM
34WCJ2   12/19/2020   OB   12/19/2020   WN;2067;ATL;LAS;WN;1535;LAS;SJC   BAKERPORT              IL                          US   34396   133338172@AIRLINE.KIWI.COM
34YJ34   12/19/2020   OB   12/20/2020   WN;1334;RIC;ATL                   PORT AMANDA            SD                          US   24484   133338216@AIRLINE.KIWI.COM
35GFTO   12/19/2020   OB   12/31/2020   WN;1923;BUF;BWI;WN;1923;BWI;BOS   MARTINPORT             DE                          US   81749   133340042@AIRLINE.KIWI.COM
366F4U   12/19/2020   OB     1/2/2021   WN;914;BNA;LGA                    SOUTH ANGELA           FL                          US   33014   133343606@AIRLINE.KIWI.COM
36VB4I   12/19/2020   OB   12/29/2020   WN;1053;AUS;DAL                   NELSONSIDE             CT                          US   82492   133347621@AIRLINE.KIWI.COM
36XKPY   12/19/2020   OB   12/26/2020   WN;6926;DTW;BNA;WN;1304;BNA;ATL   ANDREAHAVEN            NM                          US   15825   133347951@AIRLINE.KIWI.COM
3759X2   12/19/2020   OB   12/26/2020   WN;3246;MSY;ATL                   MATTHEWBERG            MD                          US   56889   133348501@AIRLINE.KIWI.COM
378Z8L   12/19/2020   OB     1/2/2021   WN;2117;FLL;PIT;WN;1989;PIT;MDW   JENNIFERVIEW           OK                          US   84941   133349777@AIRLINE.KIWI.COM
37BJGT   12/19/2020   OB   12/28/2020   WN;126;MDW;MCO;WN;747;MCO;FLL     NORTH HOWARDSIDE       MA                          US   40365   133349777@AIRLINE.KIWI.COM
37MWYZ   12/19/2020   OB     1/2/2021   WN;2321;AUS;MCO;WN;2152;MCO;PVD   LAKE PAMELA            AR                          US   43396   133351878@AIRLINE.KIWI.COM
3843YD   12/19/2020   OB    1/16/2021   WN;3962;RDU;BWI                   AMANDATOWN             UT                          US    2930   133353528@AIRLINE.KIWI.COM
3843YD   12/19/2020   OB    1/16/2021   WN;3962;RDU;BWI                   AMANDATOWN             UT                          US    2930   133353528@AIRLINE.KIWI.COM
3843YD   12/19/2020   RT    1/18/2021   WN;2692;BWI;RDU                   AMANDATOWN             UT                          US    2930   133353528@AIRLINE.KIWI.COM
3843YD   12/19/2020   RT    1/18/2021   WN;2692;BWI;RDU                   AMANDATOWN             UT                          US    2930   133353528@AIRLINE.KIWI.COM
38TTDS   12/19/2020   OB   12/27/2020   WN;2783;CVG;MDW;WN;1835;MDW;TUS   HERNANDEZTOWN          UT                          US   78814   133358357@AIRLINE.KIWI.COM
39C9G9   12/19/2020   OB     1/2/2021   WN;2322;LBB;DAL;WN;2461;DAL;DEN   GAILLARD               GIRONDE                     FR    4171   133360183@AIRLINE.KIWI.COM
3ALAUM   12/19/2020   OB     1/2/2021   WN;1875;DEN;BWI;WN;1709;BWI;MIA   TAMASINEMETI           EGER                        HU   30075   133365298@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB     3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG    WILLIESIDE             OH                          US   33935   133367597@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB     3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG    WILLIESIDE             OH                          US   33935   133367597@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB     3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG    WILLIESIDE             OH                          US   33935   133367597@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB     3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG    WILLIESIDE             OH                          US   33935   133367597@AIRLINE.KIWI.COM
3BOFRH   12/19/2020   OB     1/4/2021   WN;1378;JAX;ATL                   PARKERTOWN             AL                          US   34414   133368851@AIRLINE.KIWI.COM
3BOFRH   12/19/2020   OB     1/5/2021   WN;403;ATL;BNA                    PARKERTOWN             AL                          US   34414   133368851@AIRLINE.KIWI.COM
3BRZY5   12/19/2020   OB   12/29/2020   WN;484;BNA;JAX                    NORTH JENNIFERMOUTH    MS                          US   19530   133368851@AIRLINE.KIWI.COM
3BT8O3   12/19/2020   OB   12/20/2020   WN;1424;MDW;MSP                   SOUTH BARBARAFORT      ME                          US   50404   133369159@AIRLINE.KIWI.COM
3C653W   12/20/2020   OB   12/29/2020   WN;142;MIA;HOU;WN;6801;HOU;DEN    VILA NOVA DE GAIA      SETUBAL                     PT   16360   133370083@AIRLINE.KIWI.COM
3C653W   12/20/2020   OB   12/29/2020   WN;142;MIA;HOU;WN;6801;HOU;DEN    VILA NOVA DE GAIA      SETUBAL                     PT   16360   133370083@AIRLINE.KIWI.COM
3CAM94   12/20/2020   OB   12/31/2020   WN;4745;RDU;BWI;WN;3596;BWI;PIT   SOUTH CINDYCHESTER     OH                          US   20535   132435732.1520777@AIRLINE.KIWI.COM
3CD23W   12/20/2020   OB   12/30/2020   WN;6949;SEA;LAS                   ANDREASIDE             NJ                          US   64830   133370787@AIRLINE.KIWI.COM
3CD23W   12/20/2020   RT     1/2/2021   WN;2112;LAS;OAK;WN;2372;OAK;SEA   ANDREASIDE             NJ                          US   64830   133370787@AIRLINE.KIWI.COM
3CQM8K   12/20/2020   OB     1/4/2021   WN;1012;PIT;MCO;WN;201;MCO;RDU    BERGERMOUTH            NJ                          US   65028   132620411.1520785@AIRLINE.KIWI.COM
3E5UWR   12/20/2020   OB   12/29/2020   WN;1561;DTW;BNA;WN;1111;BNA;FLL   PORT CHRISTINALAND     NV                          US   52392   133375209@AIRLINE.KIWI.COM
3EJSH7   12/20/2020   OB   12/26/2020   WN;791;LAS;HOU;WN;1058;HOU;MIA    G VELIKII USTIUG       ARKHANGELSKAYA OBLAST       RU   65607   133376232@AIRLINE.KIWI.COM
3EOH5A   12/20/2020   OB   12/26/2020   WN;791;LAS;HOU;WN;1058;HOU;MIA    D KISLOVODSK           TATARSTAN RESPUBLIKA        RU    7136   133376232@AIRLINE.KIWI.COM
3FB5AJ   12/20/2020   OB    1/13/2021   WN;2232;OMA;DEN;WN;4382;DEN;SEA   JOSHUAMOUTH            WY                          US   28982   133378036@AIRLINE.KIWI.COM
3FVZ8Z   12/20/2020   OB     1/5/2021   WN;2577;MIA;HOU                   PORT WALTER            UT                          US   80763   133379543@AIRLINE.KIWI.COM
3G267K   12/20/2020   OB    1/20/2021   WN;609;PHX;OAK                    THOMASTOWN             WA                          US   93804   133379807@AIRLINE.KIWI.COM
3GBJ85   12/20/2020   OB   12/26/2020   WN;1679;HRL;HOU;WN;1636;HOU;BWI   WHANGATANGIKIWI        WEST COAST                  NZ   21381   133380357@AIRLINE.KIWI.COM
3GFO37   12/20/2020   OB   12/23/2020   WN;1810;HOU;TPA                   SOUTH CHRISTOPHERBER   LA                          US   42192   133380808@AIRLINE.KIWI.COM
3GPWKZ   12/20/2020   OB     1/2/2021   WN;6865;ATL;IND                   NEW SAMUELHAVEN        WA                          US   75932   133381347@AIRLINE.KIWI.COM
3GPWKZ   12/20/2020   OB     1/2/2021   WN;6865;ATL;IND                   NEW SAMUELHAVEN        WA                          US   75932   133381347@AIRLINE.KIWI.COM
3H4VZD   12/20/2020   OB   12/21/2020   WN;1210;PHX;SMF                   IZIPOVCE               BANSKOBYSTRICKY KRAJ        SK   80556   133382546@AIRLINE.KIWI.COM
3H7M8P   12/20/2020   OB   12/24/2020   WN;2246;FLL;ATL                   SOUTH MICHAEL          LA                          US   40628   133382689@AIRLINE.KIWI.COM
3H7M8P   12/20/2020   RT   12/28/2020   WN;166;ATL;TPA;WN;321;TPA;FLL     SOUTH MICHAEL          LA                          US   40628   133382689@AIRLINE.KIWI.COM
3HEA44   12/20/2020   OB     1/1/2021   WN;4423;PHX;DEN;WN;4566;DEN;DSM   LAKE MARTHA            CO                          US    6429   133383118@AIRLINE.KIWI.COM
3HYVTN   12/20/2020   OB     3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG    BECKERTON              DE                          US   93431   133383855@AIRLINE.KIWI.COM
3HYVTN   12/20/2020   OB     3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG    BECKERTON              DE                          US   93431   133383855@AIRLINE.KIWI.COM
3I79H7   12/20/2020   OB     2/4/2021   WN;4145;MIA;TPA;WN;6002;TPA;AUS   RIVERAFORT             AL                          US   28249   133384581@AIRLINE.KIWI.COM
3I9H8B   12/20/2020   OB    1/31/2021   WN;3182;AUS;HOU;WN;3294;HOU;MIA   ANNETOWN               MD                          US   63169   133384449@AIRLINE.KIWI.COM
3IF3FM   12/20/2020   OB   12/26/2020   WN;1794;LAX;PHX;WN;2429;PHX;RDU   NEW JORDAN             MN                          US    4772   133384757@AIRLINE.KIWI.COM
3JE9NN   12/20/2020   OB   12/20/2020   WN;910;ATL;RDU                    WEST MADISON           IN                          US   52743   133386374@AIRLINE.KIWI.COM
3QI3HO   12/20/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   LAKE CONNIEBURGH       OH                          US   88823   133410915@AIRLINE.KIWI.COM
3QNWZI   12/20/2020   OB   12/23/2020   WN;2993;DEN;DAL;WN;3148;DAL;MEM   NORTH BRIANCHESTER     KY                          US   29403   131857638.1521014@AIRLINE.KIWI.COM
3RWESN   12/20/2020   OB     1/4/2021   WN;891;HOU;BNA                    RANDALLSHIRE           KS                          US   77314   133417812@AIRLINE.KIWI.COM
3RWESN   12/20/2020   OB     1/5/2021   WN;909;BNA;RDU                    RANDALLSHIRE           KS                          US   77314   133417812@AIRLINE.KIWI.COM
3S3CRF   12/20/2020   OB     1/3/2021   WN;6865;HOU;AUS;WN;3891;AUS;RDU   PORT MICHAEL           DE                          US   26318   133417680@AIRLINE.KIWI.COM
3SE9UO   12/20/2020   OB   12/20/2020   WN;2008;LAX;SMF                   EAST KATHRYNMOUTH      WV                          US   51962   133420144@AIRLINE.KIWI.COM
3SKQ44   12/20/2020   OB   12/21/2020   WN;2224;MCO;BNA                   PORT AMYTON            HI                          US   25525   133420881@AIRLINE.KIWI.COM
3SKQ44   12/20/2020   OB   12/21/2020   WN;2224;MCO;BNA                   PORT AMYTON            HI                          US   25525   133420881@AIRLINE.KIWI.COM
3SKQ44   12/20/2020   OB   12/21/2020   WN;2224;MCO;BNA                   PORT AMYTON            HI                          US   25525   133420881@AIRLINE.KIWI.COM
3SVZKK   12/20/2020   OB    1/11/2021   WN;5013;MIA;TPA;WN;6112;TPA;RDU   SARAHMOUTH             NJ                          US    5212   133422300@AIRLINE.KIWI.COM
3SVZKK   12/20/2020   OB    1/11/2021   WN;5013;MIA;TPA;WN;6112;TPA;RDU   SARAHMOUTH             NJ                          US    5212   133422300@AIRLINE.KIWI.COM
3T26LJ   12/20/2020   OB     1/6/2021   WN;1062;MIA;TPA;WN;1366;TPA;DEN   TIRAKHMNMOUTH          ANG THONG                   TH   84199   133422894@AIRLINE.KIWI.COM
3T62OM   12/20/2020   OB    3/25/2021   WN;795;HOU;CZM                    NORTH WILLIAMSIDE      SC                          US   23127   133423906@AIRLINE.KIWI.COM




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3T62OM   12/20/2020   OB    3/25/2021   WN;795;HOU;CZM                    NORTH WILLIAMSIDE     SC                   US   23127   133423906@AIRLINE.KIWI.COM
3T85XG   12/20/2020   OB    3/18/2021   WN;798;CZM;HOU                    BRYANTTOWN            HI                   US   39913   133423906@AIRLINE.KIWI.COM
3T85XG   12/20/2020   OB    3/18/2021   WN;798;CZM;HOU                    BRYANTTOWN            HI                   US   39913   133423906@AIRLINE.KIWI.COM
3TDNZI   12/20/2020   OB     1/4/2021   WN;403;ATL;BNA                    BLAKEBURGH            MT                   US   26689   133425292@AIRLINE.KIWI.COM
3TIP9B   12/20/2020   OB   12/21/2020   WN;403;ATL;BNA;WN;6752;BNA;DTW    DIXONSIDE             OR                   US   89490   133426579@AIRLINE.KIWI.COM
3TMB66   12/20/2020   OB   12/21/2020   WN;941;ATL;MDW                    NORTH CURTIS          OH                   US    4989   133426469@AIRLINE.KIWI.COM
3TSYV7   12/20/2020   OB    1/13/2021   WN;1805;AUA;BWI                   LAKE STEPHANIEPORT    GA                   US   25638   133427899@AIRLINE.KIWI.COM
3TSYV7   12/20/2020   OB    1/14/2021   WN;2510;BWI;BOS                   LAKE STEPHANIEPORT    GA                   US   25638   133427899@AIRLINE.KIWI.COM
3TSYV7   12/20/2020   OB    1/13/2021   WN;1805;AUA;BWI                   LAKE STEPHANIEPORT    GA                   US   25638   133427899@AIRLINE.KIWI.COM
3TSYV7   12/20/2020   OB    1/14/2021   WN;2510;BWI;BOS                   LAKE STEPHANIEPORT    GA                   US   25638   133427899@AIRLINE.KIWI.COM
3TYGIZ   12/20/2020   OB   12/28/2020   WN;332;MIA;BWI;WN;476;BWI;DEN     WEST DAVID            MI                   US   25091   133429164@AIRLINE.KIWI.COM
3UZ37V   12/20/2020   OB   12/24/2020   WN;1081;MKE;BNA;WN;2077;BNA;JAX   LAKE BROOKEFURT       RI                   US    7511   133434268@AIRLINE.KIWI.COM
3WHLVK   12/20/2020   OB   12/27/2020   WN;3765;MSY;BNA;WN;4428;BNA;BOS   NEW JEREMYSHIRE       ME                   US   39330   133441616@AIRLINE.KIWI.COM
3WW2JS   12/20/2020   OB   12/20/2020   WN;778;OAK;HOU                    BEI QU                IBARAKI              JP   56342   122163745@AIRLINE.KIWI.COM
3Y4GQ7   12/20/2020   OB    1/10/2021   WN;4754;MDW;BNA;WN;229;BNA;ORF    PORT SCOTTLAND        LA                   US   58168   133448381@AIRLINE.KIWI.COM
3Y7U2W   12/20/2020   OB   12/26/2020   WN;1955;MCO;HOU;WN;2236;HOU;OAK   HENRYVIEW             MO                   US   58277   133448381@AIRLINE.KIWI.COM
3Y9H5Y   12/20/2020   OB    1/10/2021   WN;4291;OAK;MDW                   HARRINGTONSHIRE       MT                   US   21839   133448381@AIRLINE.KIWI.COM
S7XECJ   12/20/2020   OB   12/20/2020   WN;1073;LAS;ONT                   LAKE JOANNMOUTH       TX                   US   69921   129827951@AIRLINE.KIWI.COM
3YRCWT   12/21/2020   OB   12/23/2020   WN;4075;ATL;DEN;WN;3649;DEN;SFO   NEW KATHERINESIDE     ME                   US   23104   133450658@AIRLINE.KIWI.COM
3YTR7X   12/21/2020   OB     1/4/2021   WN;501;DEN;OAK;WN;808;OAK;HNL     DUNAKESZI             PECS                 HU   55309   133450889@AIRLINE.KIWI.COM
3YTR7X   12/21/2020   OB     1/4/2021   WN;501;DEN;OAK;WN;808;OAK;HNL     DUNAKESZI             PECS                 HU   55309   133450889@AIRLINE.KIWI.COM
3YTR7X   12/21/2020   OB     1/4/2021   WN;501;DEN;OAK;WN;808;OAK;HNL     DUNAKESZI             PECS                 HU   55309   133450889@AIRLINE.KIWI.COM
3YTR7X   12/21/2020   OB     1/4/2021   WN;501;DEN;OAK;WN;808;OAK;HNL     DUNAKESZI             PECS                 HU   55309   133450889@AIRLINE.KIWI.COM
3YTR7X   12/21/2020   OB     1/4/2021   WN;501;DEN;OAK;WN;808;OAK;HNL     DUNAKESZI             PECS                 HU   55309   133450889@AIRLINE.KIWI.COM
3Z9N6U   12/21/2020   OB    1/22/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS   NORTH MICHAELMOUTH    OH                   US   53374   133452220@AIRLINE.KIWI.COM
3Z9N6U   12/21/2020   OB    1/22/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS   NORTH MICHAELMOUTH    OH                   US   53374   133452220@AIRLINE.KIWI.COM
3ZV4RI   12/21/2020   OB    1/12/2021   WN;4012;RSW;BWI;WN;3933;BWI;DTW   BROWNBURGH            DE                   US   19524   133454486@AIRLINE.KIWI.COM
3ZV4RI   12/21/2020   OB    1/12/2021   WN;4012;RSW;BWI;WN;3933;BWI;DTW   BROWNBURGH            DE                   US   19524   133454486@AIRLINE.KIWI.COM
3ZWJSH   12/21/2020   OB     1/5/2021   WN;1116;MCO;BWI;WN;1245;BWI;BOS   MALANG                SULAWESI BARAT       ID   18228   133454772@AIRLINE.KIWI.COM
427PB4   12/21/2020   OB    1/14/2021   WN;479;BWI;LAX                    NORTH ELIZABETHPORT   CA                   US   65546   133455575@AIRLINE.KIWI.COM
427RHZ   12/21/2020   OB     1/5/2021   WN;227;MDW;LAX;WN;1149;LAX;SMF    JOYCECHESTER          SC                   US   93501   133455586@AIRLINE.KIWI.COM
42EQWC   12/21/2020   OB   12/31/2020   WN;3486;SAT;HOU;WN;553;HOU;ELP    AMANDAHAVEN           WY                   US   69628   133456070@AIRLINE.KIWI.COM
42EQWC   12/21/2020   RT     1/5/2021   WN;393;ELP;DAL;WN;509;DAL;SAT     AMANDAHAVEN           WY                   US   69628   133456070@AIRLINE.KIWI.COM
42VD4W   12/21/2020   OB   12/24/2020   WN;4207;MSY;ATL;WN;2746;ATL;FLL   WEST BLAKE            IN                   US   59273   133449954@AIRLINE.KIWI.COM
42VD4W   12/21/2020   OB   12/24/2020   WN;4207;MSY;ATL;WN;2746;ATL;FLL   WEST BLAKE            IN                   US   59273   133449954@AIRLINE.KIWI.COM
42VD4W   12/21/2020   OB   12/24/2020   WN;4207;MSY;ATL;WN;2746;ATL;FLL   WEST BLAKE            IN                   US   59273   133449954@AIRLINE.KIWI.COM
42Y2EL   12/21/2020   OB    1/10/2021   WN;456;DAL;LAX                    LAKE MARKSIDE         ID                   US   10390   133457357@AIRLINE.KIWI.COM
4344TR   12/21/2020   OB     1/2/2021   WN;1158;ATL;MSY                   NEW RICHARD           AZ                   US   63119   133449954@AIRLINE.KIWI.COM
4344TR   12/21/2020   OB     1/2/2021   WN;1158;ATL;MSY                   NEW RICHARD           AZ                   US   63119   133449954@AIRLINE.KIWI.COM
4344TR   12/21/2020   OB     1/2/2021   WN;1158;ATL;MSY                   NEW RICHARD           AZ                   US   63119   133449954@AIRLINE.KIWI.COM
43DZBV   12/21/2020   OB    1/10/2021   WN;4131;MIA;HOU;WN;4707;HOU;AUS   SOUTH JOSE            IA                   US   60428   133458039@AIRLINE.KIWI.COM
43MQGQ   12/21/2020   OB    1/21/2021   WN;4512;PDX;DEN                   DONALDVIEW            DE                   US   11682   133459414@AIRLINE.KIWI.COM
43PJ32   12/21/2020   OB   12/23/2020   WN;4299;LGA;BNA;WN;3765;BNA;FLL   WEST DEBBIEMOUTH      IL                   US   43225   133459436@AIRLINE.KIWI.COM
43PJ32   12/21/2020   OB   12/23/2020   WN;4299;LGA;BNA;WN;3765;BNA;FLL   WEST DEBBIEMOUTH      IL                   US   43225   133459436@AIRLINE.KIWI.COM
43PRFH   12/21/2020   OB   12/25/2020   WN;3787;LGA;BNA                   KELLYSHIRE            VT                   US   50284   133459546@AIRLINE.KIWI.COM
43WUDI   12/21/2020   OB   12/30/2020   WN;602;PHX;HOU;WN;661;HOU;MIA     PORT RYANTON          NE                   US   72981   133459744@AIRLINE.KIWI.COM
442M95   12/21/2020   OB     1/4/2021   WN;273;MBJ;MCO                    JESSICAHAVEN          NV                   US   62164   133460327@AIRLINE.KIWI.COM
44FJ8G   12/21/2020   OB     1/2/2021   WN;2196;SAT;DEN;WN;806;DEN;GEG    PARKERSIDE            ME                   US   63778   133461526@AIRLINE.KIWI.COM
44HART   12/21/2020   OB   12/27/2020   WN;1896;ATL;BNA;WN;4680;BNA;LGA   LAKE BETHANY          KY                   US   76095   133461405@AIRLINE.KIWI.COM
4572X4   12/21/2020   OB    2/24/2021   WN;930;PHL;DEN;WN;856;DEN;LAS     KELSEYBERG            ND                   US   63202   133462681@AIRLINE.KIWI.COM
4572X4   12/21/2020   OB    2/24/2021   WN;930;PHL;DEN;WN;856;DEN;LAS     KELSEYBERG            ND                   US   63202   133462681@AIRLINE.KIWI.COM
45B65K   12/21/2020   OB   12/21/2020   WN;209;LAX;OAK                    WEST MICHAEL          NM                   US   13417   133462989@AIRLINE.KIWI.COM
45K7N6   12/21/2020   OB   12/30/2020   WN;455;ATL;SAT                    DANAVILLE             IA                   US   20784   133463352@AIRLINE.KIWI.COM
45K7N6   12/21/2020   RT     1/3/2021   WN;5025;SAT;ATL                   DANAVILLE             IA                   US   20784   133463352@AIRLINE.KIWI.COM
45NNZ9   12/21/2020   OB    2/21/2021   WN;2855;PDX;LAS                   PORT JULIATON         AK                   US   82520   133463792@AIRLINE.KIWI.COM
45NNZ9   12/21/2020   OB    2/21/2021   WN;2855;PDX;LAS                   PORT JULIATON         AK                   US   82520   133463792@AIRLINE.KIWI.COM
45VQNF   12/21/2020   OB   12/26/2020   WN;25;DSM;DEN;WN;2348;DEN;SLC     AADILAABAAD           MAHARASHTRA          IN   32748   133464122@AIRLINE.KIWI.COM
46TLCC   12/21/2020   OB   12/28/2020   WN;406;LGA;BNA                    WEST BRADLEY          AL QAHIRAH           EG   21823   133465981@AIRLINE.KIWI.COM
46WJYQ   12/21/2020   OB    1/13/2021   WN;3075;MIA;BWI                   KHUTIR ONISIM         VOLYNSKA OBLAST      UA   65798   133466300@AIRLINE.KIWI.COM
477VYQ   12/21/2020   OB   12/21/2020   WN;1295;SJC;BUR                   AMYMOUTH              NJ                   US   43568   133467092@AIRLINE.KIWI.COM
48DOES   12/21/2020   OB   12/22/2020   WN;1378;ATL;IND                   ADAMSFORT             WY                   US   83629   133470073@AIRLINE.KIWI.COM
48EJTU   12/21/2020   OB   12/22/2020   WN;403;ATL;BNA;WN;6752;BNA;DTW    NEW NICOLEFURT        KY                   US   96750   133470326@AIRLINE.KIWI.COM
4D337F   12/21/2020   OB    1/17/2021   WN;3532;OMA;DEN;WN;2516;DEN;SEA   EAST NICHOLAS         AR                   US   87204   133489785@AIRLINE.KIWI.COM
4D337F   12/21/2020   RT    1/30/2021   WN;4232;SEA;DEN;WN;16;DEN;OMA     EAST NICHOLAS         AR                   US   87204   133489785@AIRLINE.KIWI.COM
4EZ3IS   12/21/2020   OB     1/5/2021   WN;1050;FLL;BNA;WN;529;BNA;LGA    SELISHCHE IEVGEN      MYKOLAIVSKA OBLAST   UA   76733   133499718@AIRLINE.KIWI.COM
4EZ3IS   12/21/2020   OB     1/5/2021   WN;1050;FLL;BNA;WN;529;BNA;LGA    SELISHCHE IEVGEN      MYKOLAIVSKA OBLAST   UA   76733   133499718@AIRLINE.KIWI.COM
4G2CUJ   12/21/2020   OB   12/21/2020   WN;127;CMH;BNA                    NEW ROBYN             GA                   US    5706   133506472@AIRLINE.KIWI.COM
4G43FZ   12/21/2020   OB    1/11/2021   WN;4145;MIA;TPA;WN;6002;TPA;AUS   NORTH GERALD          IN                   US   67258   133506659@AIRLINE.KIWI.COM
4GBQP6   12/21/2020   OB   12/24/2020   WN;1609;BWI;CUN                   ANDREAFURT            OH                   US   77622   133508221@AIRLINE.KIWI.COM
4GBQP6   12/21/2020   RT   12/28/2020   WN;1610;CUN;BWI                   ANDREAFURT            OH                   US   77622   133508221@AIRLINE.KIWI.COM
4GETPW   12/21/2020   OB    1/14/2021   WN;2412;MCI;MDW;WN;3652;MDW;BDL   SHARPBOROUGH          WI                   US   79951   133508650@AIRLINE.KIWI.COM
4GETPW   12/21/2020   OB    1/14/2021   WN;2412;MCI;MDW;WN;3652;MDW;BDL   SHARPBOROUGH          WI                   US   79951   133508650@AIRLINE.KIWI.COM
4GETPW   12/21/2020   RT    1/18/2021   WN;3207;BDL;MDW;WN;1441;MDW;MCI   SHARPBOROUGH          WI                   US   79951   133508650@AIRLINE.KIWI.COM
4GETPW   12/21/2020   RT    1/18/2021   WN;3207;BDL;MDW;WN;1441;MDW;MCI   SHARPBOROUGH          WI                   US   79951   133508650@AIRLINE.KIWI.COM
4HDV48   12/21/2020   OB   12/21/2020   WN;1334;MCO;MSY                   EAST TIMOTHY          KY                   US    8451   133514491@AIRLINE.KIWI.COM
4HFXWO   12/21/2020   OB   12/28/2020   WN;226;CLE;MDW;WN;227;MDW;LAX     PERRYBOROUGH          CT                   US   45107   133514282@AIRLINE.KIWI.COM
4HFXWO   12/21/2020   OB   12/28/2020   WN;226;CLE;MDW;WN;227;MDW;LAX     PERRYBOROUGH          CT                   US   45107   133514282@AIRLINE.KIWI.COM
4HRA9V   12/21/2020   OB   12/31/2020   WN;2247;CLT;BWI                   NEW LISA              IL                   US   19587   133516625@AIRLINE.KIWI.COM
4I7NPK   12/21/2020   OB   12/23/2020   WN;3723;BUR;SMF;WN;3723;SMF;GEG   SHAMLOWGH             ARMAVIR              AM   24850   133519331@AIRLINE.KIWI.COM
4I7NPK   12/21/2020   RT   12/27/2020   WN;4817;GEG;DEN;WN;3119;DEN;BUR   SHAMLOWGH             ARMAVIR              AM   24850   133519331@AIRLINE.KIWI.COM
4IA4MN   12/21/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   SELISHCHE MIKHAILO    RESPUBLIKA KRYM      UA   10313   133518561@AIRLINE.KIWI.COM
4IA4MN   12/21/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   SELISHCHE MIKHAILO    RESPUBLIKA KRYM      UA   10313   133518561@AIRLINE.KIWI.COM
4IA4MN   12/21/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   SELISHCHE MIKHAILO    RESPUBLIKA KRYM      UA   10313   133518561@AIRLINE.KIWI.COM
4IPWVH   12/21/2020   OB   12/23/2020   WN;3880;LGA;MDW;WN;4162;MDW;MIA   STEVEPORT             FLORIANA             MT   11996   133522631@AIRLINE.KIWI.COM
4J952C   12/21/2020   OB     1/5/2021   WN;120;ALB;MDW;WN;3659;MDW;PDX    NEW JEFFREYHAVEN      NC                   US   26610   133524765@AIRLINE.KIWI.COM
4J952C   12/21/2020   OB     1/5/2021   WN;120;ALB;MDW;WN;3659;MDW;PDX    NEW JEFFREYHAVEN      NC                   US   26610   133524765@AIRLINE.KIWI.COM
4JAEWO   12/21/2020   OB   12/26/2020   WN;1678;OMA;DAL;WN;1647;DAL;MCO   THOMASSHIRE           CA                   US   68787   133525073@AIRLINE.KIWI.COM
4JAEWO   12/21/2020   OB   12/26/2020   WN;1678;OMA;DAL;WN;1647;DAL;MCO   THOMASSHIRE           CA                   US   68787   133525073@AIRLINE.KIWI.COM
4JAEWO   12/21/2020   OB   12/26/2020   WN;1678;OMA;DAL;WN;1647;DAL;MCO   THOMASSHIRE           CA                   US   68787   133525073@AIRLINE.KIWI.COM
4JGXAN   12/21/2020   OB     1/6/2021   WN;513;SMF;HOU;WN;350;HOU;BNA     PORT PAUL             ID                   US   91287   133526085@AIRLINE.KIWI.COM
4JIFLF   12/21/2020   OB   12/30/2020   WN;1202;BOS;MDW;WN;854;MDW;MSP    NEW DAVIDFURT         WV                   US   18420   133526591@AIRLINE.KIWI.COM
4KJVNW   12/21/2020   OB    1/10/2021   WN;2516;BWI;HOU;WN;3172;HOU;TUS   BAILEYTOWN            TX                   US   41959   133533015@AIRLINE.KIWI.COM
4KZCT4   12/21/2020   OB   12/25/2020   WN;4279;MSY;TPA;WN;4147;TPA;MIA   DAVISLAND             KY                   US   88938   133535083@AIRLINE.KIWI.COM
4MXHN2   12/21/2020   OB    2/19/2021   WN;519;HOU;TUL                    EAST KELLYCHESTER     ND                   US   92584   133543476@AIRLINE.KIWI.COM
4MXHN2   12/21/2020   OB    2/19/2021   WN;519;HOU;TUL                    EAST KELLYCHESTER     ND                   US   92584   133543476@AIRLINE.KIWI.COM
4N4AYE   12/21/2020   OB     1/3/2021   WN;4417;DSM;STL;WN;4891;STL;AUS   WEST RICHARDHAVEN     NJ                   US   97788   133544334@AIRLINE.KIWI.COM
4N4AYE   12/21/2020   OB     1/3/2021   WN;4417;DSM;STL;WN;4891;STL;AUS   WEST RICHARDHAVEN     NJ                   US   97788   133544334@AIRLINE.KIWI.COM
4NDH6N   12/21/2020   OB   12/22/2020   WN;629;SFO;PHX                    LAKE DAVIDLAND        KERYNEIA             CY   26911   131080807.1522045@AIRLINE.KIWI.COM
23CO5Z   12/22/2020   OB   12/31/2020   WN;4702;PIT;TPA                   NEW ANTHONYCHESTER    CA                   US   65360   133592734@AIRLINE.KIWI.COM
23YB8D   12/22/2020   OB   12/22/2020   WN;382;DEN;HOU                    SOUTH JULIESHIRE      IN                   US   38393   133028753.1522530@AIRLINE.KIWI.COM
23YB8D   12/22/2020   OB   12/22/2020   WN;382;DEN;HOU                    SOUTH JULIESHIRE      IN                   US   38393   133028753.1522530@AIRLINE.KIWI.COM
23YB8D   12/22/2020   OB   12/22/2020   WN;382;DEN;HOU                    SOUTH JULIESHIRE      IN                   US   38393   133028753.1522530@AIRLINE.KIWI.COM
23YB8D   12/22/2020   OB   12/22/2020   WN;382;DEN;HOU                    SOUTH JULIESHIRE      IN                   US   38393   133028753.1522530@AIRLINE.KIWI.COM
247EFP   12/22/2020   OB    3/29/2021   WN;273;MBJ;MCO                    PORT ANDREW           ID                   US   43671   133595352@AIRLINE.KIWI.COM
24DUPK   12/22/2020   OB   12/23/2020   WN;5078;OAK;LAX                   EAST PETER            AK                   US   14138   133596892@AIRLINE.KIWI.COM
24EI3X   12/22/2020   OB     2/8/2021   WN;5009;TPA;ATL;WN;5009;ATL;MEM   DILLONSIDE            TN                   US    7207   133596452@AIRLINE.KIWI.COM
24EI3X   12/22/2020   OB     2/8/2021   WN;5009;TPA;ATL;WN;5009;ATL;MEM   DILLONSIDE            TN                   US    7207   133596452@AIRLINE.KIWI.COM




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24GL3H   12/22/2020   OB     2/5/2021   WN;466;MEM;TPA                           LAKE ANDREW            MN                  US    3125   133596452@AIRLINE.KIWI.COM
24GL3H   12/22/2020   OB     2/5/2021   WN;466;MEM;TPA                           LAKE ANDREW            MN                  US    3125   133596452@AIRLINE.KIWI.COM
2557CD   12/22/2020   OB   12/30/2020   WN;6982;DEN;PDX                          NICOLETON              OR                  US   78448   133600335@AIRLINE.KIWI.COM
256AWO   12/22/2020   OB     2/8/2021   WN;218;MDW;CUN                           SAN OSWALDO LOS BAJO   OAXACA              MX   46750   133599862@AIRLINE.KIWI.COM
256CA9   12/22/2020   OB   12/25/2020   WN;219;CUN;MDW                           VIEJA REPUBLICA DEMO   PUEBLA              MX   79622   133599862@AIRLINE.KIWI.COM
256X8W   12/22/2020   OB   12/24/2020   WN;1515;DTW;MDW;WN;1914;MDW;SLC          BHAADURGDDH            MADHYA PRADESH      IN   85293   133600258@AIRLINE.KIWI.COM
25RTRH   12/22/2020   OB   12/26/2020   WN;1655;DTW;BWI;WN;35;BWI;MCO            SOUTH ROSE             MO                  US    3462   133603965@AIRLINE.KIWI.COM
25RTRH   12/22/2020   OB   12/26/2020   WN;1655;DTW;BWI;WN;35;BWI;MCO            SOUTH ROSE             MO                  US    3462   133603965@AIRLINE.KIWI.COM
25ZBSV   12/22/2020   OB   12/30/2020   WN;1432;SEA;SJC;WN;607;SJC;LAS           PORT ROBIN             OK                  US    6558   133604053@AIRLINE.KIWI.COM
2632GH   12/22/2020   OB     2/9/2021   WN;157;SLC;OAK;WN;883;OAK;OGG            KEVINTOWN              AZ                  US   81431   133605428@AIRLINE.KIWI.COM
2632GH   12/22/2020   OB     2/9/2021   WN;157;SLC;OAK;WN;883;OAK;OGG            KEVINTOWN              AZ                  US   81431   133605428@AIRLINE.KIWI.COM
26IX4B   12/22/2020   OB   12/30/2020   WN;1432;SEA;SJC;WN;607;SJC;LAS           NEW MARY               FL                  US   78838   133606539@AIRLINE.KIWI.COM
26NEKR   12/22/2020   OB   12/23/2020   WN;3885;LGA;STL;WN;1384;STL;OKC          DUSTINSIDE             ND                  US   83893   133608761@AIRLINE.KIWI.COM
27C3E3   12/22/2020   OB   12/25/2020   WN;4022;MDW;BWI;WN;331;BWI;MIA           ROBINSONLAND           VT                  US   54990   133612061@AIRLINE.KIWI.COM
27E5L7   12/22/2020   OB     1/6/2021   WN;1028;CUN;DEN                          NORTH KAYLABURY        CT                  US   14548   133612930@AIRLINE.KIWI.COM
27KR8W   12/22/2020   OB    1/17/2021   WN;2624;PDX;DEN;WN;5014;DEN;MKE          EAST WILLIAMTOWN       CA                  US   24533   133614173@AIRLINE.KIWI.COM
27OHCU   12/22/2020   OB    1/14/2021   WN;2401;MKE;DEN;WN;4517;DEN;PDX          LAKE GREGORYBERG       NJ                  US   23380   133614173@AIRLINE.KIWI.COM
289SNE   12/22/2020   OB    1/14/2021   WN;1281;PHX;OAK                          JOHNSONBURGH           FL                  US   33201   133617473@AIRLINE.KIWI.COM
28JVI2   12/22/2020   OB   12/25/2020   WN;4751;RIC;ATL;WN;3959;ATL;TPA          SOUTH JEREMY           LA                  US   65993   133619629@AIRLINE.KIWI.COM
28KMJ6   12/22/2020   OB   12/23/2020   WN;1788;BUR;SJC                          NEW DANIEL             ME                  US   80973   133619431@AIRLINE.KIWI.COM
29SRDM   12/22/2020   OB   12/23/2020   WN;1714;DEN;MKE                          NEW CHRISTOPHERSHIRE   NV                  US   29780   133624865@AIRLINE.KIWI.COM
2ADAAG   12/22/2020   OB   12/24/2020   WN;2823;ATL;BWI;WN;3559;BWI;PIT          SOUTH CYNTHIABURGH     NY                  US   79133   133627087@AIRLINE.KIWI.COM
2ADC2T   12/22/2020   OB     1/3/2021   WN;6859;LAS;SAN;WN;4975;SAN;SFO          RICHARDLAND            MT                  US   29990   133626746@AIRLINE.KIWI.COM
2AFNPF   12/22/2020   OB   12/25/2020   WN;3787;LGA;BNA;WN;3203;BNA;FLL          CASTRO                 CEARA               BR   20705   133627351@AIRLINE.KIWI.COM
2ASMG7   12/22/2020   OB   12/25/2020   WN;3167;MSP;DEN;WN;2606;DEN;PHX          WEST RACHEL            NV                  US   35877   133628726@AIRLINE.KIWI.COM
2ASMG7   12/22/2020   OB   12/25/2020   WN;3167;MSP;DEN;WN;2606;DEN;PHX          WEST RACHEL            NV                  US   35877   133628726@AIRLINE.KIWI.COM
2B5HRJ   12/22/2020   OB   12/23/2020   WN;1911;ATL;CLE                          PORT LUCASBOROUGH      CO                  US   82058   133629793@AIRLINE.KIWI.COM
2BF9F5   12/22/2020   OB     1/2/2021   WN;6822;SLC;LAS;WN;2131;LAS;MCI          NEW STEPHEN            NH                  US   39326   133630849@AIRLINE.KIWI.COM
2BTOKL   12/22/2020   OB    3/29/2021   WN;1278;LAX;DEN;WN;993;DEN;DTW           EAST BRANDYTOWN        OH                  US   81317   133631817@AIRLINE.KIWI.COM
2C44A6   12/22/2020   OB   12/27/2020   WN;2886;MSY;HOU;WN;4670;HOU;SAT          GREENFURT              AL                  US   45886   133633016@AIRLINE.KIWI.COM
2C44A6   12/22/2020   OB   12/27/2020   WN;2886;MSY;HOU;WN;4670;HOU;SAT          GREENFURT              AL                  US   45886   133633016@AIRLINE.KIWI.COM
4NWAVK   12/22/2020   OB   12/28/2020   WN;662;MIA;HOU;WN;780;HOU;AUS            LAKE GUZEYMOUTH        AMASYA              TR   12302   133547084@AIRLINE.KIWI.COM
4NYFQX   12/22/2020   OB   12/22/2020   WN;1087;ATL;BWI;WN;395;BWI;ROC           HUNTBERG               ENGLAND             GB   64061   133547271@AIRLINE.KIWI.COM
4PLZ5Y   12/22/2020   OB   12/24/2020   WN;5014;ATL;DEN                          NORTH CHRISTINE        CT                  US   22048   133547150@AIRLINE.KIWI.COM
4PLZ5Y   12/22/2020   OB   12/24/2020   WN;5014;ATL;DEN                          NORTH CHRISTINE        CT                  US   22048   133547150@AIRLINE.KIWI.COM
4PYU3U   12/22/2020   OB   12/24/2020   WN;1447;SAT;PHX;WN;2602;PHX;PDX          SELISHCHE MIKITA       ODESKA OBLAST       UA   15127   133553013@AIRLINE.KIWI.COM
4PYU3U   12/22/2020   RT     1/5/2021   WN;1433;PDX;PHX;WN;1167;PHX;SAT          SELISHCHE MIKITA       ODESKA OBLAST       UA   15127   133553013@AIRLINE.KIWI.COM
4QIACL   12/22/2020   OB   12/22/2020   WN;764;HOU;FLL                           NORTH NICOLESTAD       FL                  US   21513   133554421@AIRLINE.KIWI.COM
4R9T76   12/22/2020   OB    1/19/2021   WN;4413;DTW;BWI                          LAMBLAND               NY                  US   49807   133556621@AIRLINE.KIWI.COM
4RD8SF   12/22/2020   OB   12/28/2020   WN;365;CLE;DEN;WN;423;DEN;LAX            PORT ASHLEYSIDE        WA                  US   26246   133557149@AIRLINE.KIWI.COM
4RDTV8   12/22/2020   OB   12/28/2020   WN;155;ATL;LGA                           LAKE CHRISTOPHER       SC                  US   83339   133552782@AIRLINE.KIWI.COM
4SAGM2   12/22/2020   OB   12/28/2020   WN;959;ABQ;DEN                           VIEJA FINLANDIA        MORELOS             MX   67099   133559569@AIRLINE.KIWI.COM
4SAGM2   12/22/2020   OB   12/28/2020   WN;959;ABQ;DEN                           VIEJA FINLANDIA        MORELOS             MX   67099   133559569@AIRLINE.KIWI.COM
4SDA65   12/22/2020   OB   12/28/2020   WN;432;DEN;MDW                           SAN DANIELA LOS BAJO   CIUDAD DE MEXICO    MX   37334   133559569@AIRLINE.KIWI.COM
4SDA65   12/22/2020   OB   12/28/2020   WN;432;DEN;MDW                           SAN DANIELA LOS BAJO   CIUDAD DE MEXICO    MX   37334   133559569@AIRLINE.KIWI.COM
4TICLC   12/22/2020   OB   12/23/2020   WN;1812;SLC;LAS;WN;3710;LAS;SJC          ZHONG LI               HSINCHU             TW   87995   133563133@AIRLINE.KIWI.COM
4TNNZF   12/22/2020   OB   12/22/2020   WN;1101;SAN;SLC                          NEW JOHNPORT           LA                  US   69691   133563474@AIRLINE.KIWI.COM
4TUFBS   12/22/2020   OB     1/4/2021   WN;904;ATL;DEN                           PORT JEFFERY           WI                  US   28091   133555741@AIRLINE.KIWI.COM
4TXEPI   12/22/2020   OB     1/3/2021   WN;6989;ISP;BWI;WN;4212;BWI;DEN          ROBINBERG              NY                  US   21645   133563507@AIRLINE.KIWI.COM
4U3UQE   12/22/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA          NEW KEVINSHIRE         DE                  US   33675   133564354@AIRLINE.KIWI.COM
4U8E7N   12/22/2020   OB   12/22/2020   WN;794;LAS;SJC;WN;1470;SJC;SNA           NEW BEVERLYTOWN        CT                  US   10185   133564662@AIRLINE.KIWI.COM
4X87IC   12/22/2020   OB   12/30/2020   WN;499;MDW;HOU                           CERVANTESFURT          RI                  US   31052   133573957@AIRLINE.KIWI.COM
4YYS3S   12/22/2020   OB    2/13/2021   WN;3345;LAS;RNO                          NORTH KIMBERLYTOWN     CT                  US   90646   133582064@AIRLINE.KIWI.COM
4Z47SG   12/22/2020   OB    1/25/2021   WN;3264;LAX;DEN;WN;4433;DEN;PHL          ANNFORT                PA                  US   32052   133582262@AIRLINE.KIWI.COM
4Z47SG   12/22/2020   OB    1/25/2021   WN;3264;LAX;DEN;WN;4433;DEN;PHL          ANNFORT                PA                  US   32052   133582262@AIRLINE.KIWI.COM
4Z47SG   12/22/2020   RT    1/29/2021   WN;1461;PHL;MDW;WN;3655;MDW;LAX          ANNFORT                PA                  US   32052   133582262@AIRLINE.KIWI.COM
4Z47SG   12/22/2020   RT    1/29/2021   WN;1461;PHL;MDW;WN;3655;MDW;LAX          ANNFORT                PA                  US   32052   133582262@AIRLINE.KIWI.COM
2CDRVL   12/23/2020   OB   12/23/2020   WN;11;HOU;LBB                            WEST ROBERTVILLE       VA                  US   75098   133634215@AIRLINE.KIWI.COM
2CDRVL   12/23/2020   RT   12/25/2020   WN;3777;LBB;DAL;WN;1625;DAL;HOU          WEST ROBERTVILLE       VA                  US   75098   133634215@AIRLINE.KIWI.COM
2CGYE9   12/23/2020   OB    1/31/2021   WN;2577;MIA;HOU                          MILLERTON              PA                  US   30512   133634534@AIRLINE.KIWI.COM
2CI7F8   12/23/2020   OB   12/23/2020   WN;3861;ELP;PHX;WN;3477;PHX;LAX          NEW MELISSA            GA                  US   29594   133634303@AIRLINE.KIWI.COM
2CKQEF   12/23/2020   OB    1/13/2021   WN;1268;OAK;KOA                          LAKE ROBERTBERG        FL                  US   22482   133634424@AIRLINE.KIWI.COM
2CKQEF   12/23/2020   OB    1/13/2021   WN;1268;OAK;KOA                          LAKE ROBERTBERG        FL                  US   22482   133634424@AIRLINE.KIWI.COM
2CKZ6L   12/23/2020   OB    1/19/2021   WN;3624;KOA;OAK;WN;2340;OAK;DEN          NORTH JAMES            AR                  US   41938   133634424@AIRLINE.KIWI.COM
2CKZ6L   12/23/2020   OB    1/19/2021   WN;3624;KOA;OAK;WN;2340;OAK;DEN          NORTH JAMES            AR                  US   41938   133634424@AIRLINE.KIWI.COM
2D2ZXF   12/23/2020   OB    1/14/2021   WN;3933;BWI;DTW                          ANGELACHESTER          MI                  US   38869   133635623@AIRLINE.KIWI.COM
2DGEVG   12/23/2020   OB    1/16/2021   WN;2413;MIA;TPA;WN;5065;TPA;SJU          WEST STEPHEN           DE                  US   77691   133635975@AIRLINE.KIWI.COM
2DGEVG   12/23/2020   OB    1/16/2021   WN;2413;MIA;TPA;WN;5065;TPA;SJU          WEST STEPHEN           DE                  US   77691   133635975@AIRLINE.KIWI.COM
2E4JRW   12/23/2020   OB   12/27/2020   WN;4075;ATL;DEN;WN;4922;DEN;SAN          SOUTH JULIE            MA                  US   71360   133638296@AIRLINE.KIWI.COM
2ELVYO   12/23/2020   OB   12/23/2020   WN;3464;ATL;RIC                          WEST FRED              KS                  US   12468   133639913@AIRLINE.KIWI.COM
2EQDLU   12/23/2020   OB   12/30/2020   WN;6889;DTW;BNA;WN;561;BNA;ATL           FOXTON                 NV                  US   84816   133640067@AIRLINE.KIWI.COM
2F6YAV   12/23/2020   OB   12/23/2020   WN;4237;ATL;DEN;WN;4767;DEN;SFO          SOUTH JOSHUA           CO                  US   94975   133641134@AIRLINE.KIWI.COM
2FAJCP   12/23/2020   OB     1/4/2021   WN;1134;BOS;BNA                          PORT KELLY             MO                  US   84351   133641057@AIRLINE.KIWI.COM
2FAJCP   12/23/2020   RT     1/7/2021   WN;2978;BNA;BOS                          PORT KELLY             MO                  US   84351   133641057@AIRLINE.KIWI.COM
2FFKBN   12/23/2020   OB    1/13/2021   WN;1268;OAK;KOA                          WEST LORISIDE          WA                  US   95496   133641728@AIRLINE.KIWI.COM
2FJPVY   12/23/2020   OB   12/23/2020   WN;6871;PHL;ATL                          ROBERTSHAVEN           WV                  US   61721   133641937@AIRLINE.KIWI.COM
2FJPVY   12/23/2020   OB   12/23/2020   WN;6871;PHL;ATL                          ROBERTSHAVEN           WV                  US   61721   133641937@AIRLINE.KIWI.COM
2FLF9M   12/23/2020   OB     1/4/2021   WN;1060;MIA;TPA                          NORTH JAMESVIEW        AR                  US   89300   133642377@AIRLINE.KIWI.COM
2FUJ5G   12/23/2020   OB   12/23/2020   WN;2159;PVD;MCO;WN;4102;MCO;ATL          PORT BRAD              NJ                  US   32450   133642927@AIRLINE.KIWI.COM
2FXVOO   12/23/2020   OB   12/26/2020   WN;945;ATL;BWI;WN;62;BWI;PVD             EAST JAMIE             OR                  US   34056   133642927@AIRLINE.KIWI.COM
2GFREM   12/23/2020   OB   12/23/2020   WN;1837;MDW;HOU;WN;1630;HOU;HRL          WEST KEVINFORT         OK                  US   22700   133644533@AIRLINE.KIWI.COM
2GIQVF   12/23/2020   OB   12/23/2020   WN;2203;MKE;STL;WN;1554;STL;FLL          WHEELERLAND            MD                  US    7899   133644544@AIRLINE.KIWI.COM
2GRH6G   12/23/2020   OB   12/23/2020   WN;2441;LAX;SLC                          FROHNLEITEN            BURGENLAND          AT   25385   133645435@AIRLINE.KIWI.COM
2GXVNA   12/23/2020   OB     1/2/2021   WN;2111;LGA;STL;WN;550;STL;FLL           RILEYTOWN              MS                  US   25207   133638153@AIRLINE.KIWI.COM
2GYIA2   12/23/2020   OB   12/23/2020   WN;1894;LAX;MSY                          NORTH ROBINMOUTH       WY                  US   97257   133645831@AIRLINE.KIWI.COM
2GYIA2   12/23/2020   OB   12/23/2020   WN;1894;LAX;MSY                          NORTH ROBINMOUTH       WY                  US   97257   133645831@AIRLINE.KIWI.COM
2H3TU2   12/23/2020   OB   12/25/2020   WN;1966;ATL;DEN                          RICHARDBOROUGH         CA                  US   17593   133646447@AIRLINE.KIWI.COM
2H6OQT   12/23/2020   OB   12/23/2020   WN;1911;FLL;ATL                          NEW STEPHEN            WA                  US    6038   133646843@AIRLINE.KIWI.COM
2H6OQT   12/23/2020   OB   12/23/2020   WN;1911;FLL;ATL                          NEW STEPHEN            WA                  US    6038   133646843@AIRLINE.KIWI.COM
2H6OQT   12/23/2020   OB   12/23/2020   WN;1911;FLL;ATL                          NEW STEPHEN            WA                  US    6038   133646843@AIRLINE.KIWI.COM
2H6OQT   12/23/2020   OB   12/23/2020   WN;1911;FLL;ATL                          NEW STEPHEN            WA                  US    6038   133646843@AIRLINE.KIWI.COM
2HA9IP   12/23/2020   OB     1/3/2021   WN;2027;SAT;DEN;WN;3649;DEN;SFO          NEW HYDYBURY           AL QASIM            SA   19667   133647305@AIRLINE.KIWI.COM
2HA9IP   12/23/2020   OB     1/3/2021   WN;2027;SAT;DEN;WN;3649;DEN;SFO          NEW HYDYBURY           AL QASIM            SA   19667   133647305@AIRLINE.KIWI.COM
2HDL6A   12/23/2020   OB    1/12/2021   WN;2298;LAX;HOU;WN;2298;HOU;SAT          SOUTH WEENAMOUTH       SYDDANMARK          DK    2005   133647437@AIRLINE.KIWI.COM
2HDL6A   12/23/2020   OB    1/12/2021   WN;2298;LAX;HOU;WN;2298;HOU;SAT          SOUTH WEENAMOUTH       SYDDANMARK          DK    2005   133647437@AIRLINE.KIWI.COM
2HDL6A   12/23/2020   OB    1/12/2021   WN;2298;LAX;HOU;WN;2298;HOU;SAT          SOUTH WEENAMOUTH       SYDDANMARK          DK    2005   133647437@AIRLINE.KIWI.COM
2HDL6A   12/23/2020   OB    1/12/2021   WN;2298;LAX;HOU;WN;2298;HOU;SAT          SOUTH WEENAMOUTH       SYDDANMARK          DK    2005   133647437@AIRLINE.KIWI.COM
2HDZUU   12/23/2020   OB     1/3/2021   WN;2027;SAT;DEN;WN;3649;DEN;SFO          RWSTY MHMDHSYN         KHORASANE SHEMALI   IR   86139   133647305@AIRLINE.KIWI.COM
2HDZUU   12/23/2020   OB     1/3/2021   WN;2027;SAT;DEN;WN;3649;DEN;SFO          RWSTY MHMDHSYN         KHORASANE SHEMALI   IR   86139   133647305@AIRLINE.KIWI.COM
2IGMO8   12/23/2020   OB     1/5/2021   WN;1174;LAS;DEN                          KIMSTAD                VT                  US    1564   133649637@AIRLINE.KIWI.COM
2IJ8S3   12/23/2020   OB     1/5/2021   WN;241;DEN;RDU                           NORTH AMBER            NY                  US     582   133649637@AIRLINE.KIWI.COM
2IJB4F   12/23/2020   OB     1/5/2021   WN;3360;ATL;LGA                          ORTIZSIDE              OH                  US    7455   133649956@AIRLINE.KIWI.COM
2IJORM   12/23/2020   OB   12/30/2020   WN;493;ABQ;DEN;WN;1245;DEN;LAS           WEST DAWN              WV                  US   93376   133649637@AIRLINE.KIWI.COM
2J2SMO   12/23/2020   OB   12/23/2020   WN;2081;ATL;DCA;WN;3009;DCA;MKE          NORTH AMANDA           WV                  US   76132   133650803@AIRLINE.KIWI.COM
2KYZS9   12/23/2020   OB   12/24/2020   WN;2411;BWI;ATL                          SOUTH GARY             UT                  US   45331   133656237@AIRLINE.KIWI.COM
2LAH2D   12/23/2020   OB   12/23/2020   WN;2666;LAS;DEN;WN;3892;DEN;CVG          EAST MEGAN             KY                  US   11098   133307493.1523162@AIRLINE.KIWI.COM
2MNTBD   12/23/2020   OB   12/23/2020   WN;3726;PHL;ATL;WN;3726;ATL;LIT;WN;3726; WEST DANIELLE          NE                  US   66483   132910547@AIRLINE.KIWI.COM




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2MNTBD   12/23/2020   OB   12/23/2020   WN;6824;ATL;LAS                          WEST DANIELLE          NE                      US        66483   132910547@AIRLINE.KIWI.COM
2MNTBD   12/23/2020   OB   12/23/2020   WN;3726;PHL;ATL;WN;3726;ATL;LIT;WN;3726; WEST DANIELLE          NE                      US        66483   132910547@AIRLINE.KIWI.COM
2MNTBD   12/23/2020   OB   12/23/2020   WN;6824;ATL;LAS                          WEST DANIELLE          NE                      US        66483   132910547@AIRLINE.KIWI.COM
2MQI6G   12/23/2020   OB   12/23/2020   WN;1860;ATL;HOU;WN;4920;HOU;DTW          WEST NATHANMOUTH       AR                      US        88662   133662089@AIRLINE.KIWI.COM
2N5VNQ   12/23/2020   OB   12/23/2020   WN;6824;ATL;LAS                          WEST DANIELLE          NE                      US        66483   132910547@AIRLINE.KIWI.COM
2N5VNQ   12/23/2020   OB   12/23/2020   WN;6824;ATL;LAS                          WEST DANIELLE          NE                      US        66483   132910547@AIRLINE.KIWI.COM
2NCB3B   12/23/2020   OB   12/23/2020   WN;4018;LGA;MDW;WN;1751;MDW;DTW          ZUNIGAHAVEN            HI                      US        25195   133665400@AIRLINE.KIWI.COM
2NFE4E   12/23/2020   OB   12/23/2020   WN;2303;MDW;FLL                          LAKE CHRISTOPHERMOUT   IL                      US        79509   131825474@AIRLINE.KIWI.COM
2NIR9F   12/23/2020   OB     1/2/2021   WN;2215;MIA;TPA                          UJLIGETFA              MISKOLC                 HU        15653   133641024.1523082@AIRLINE.KIWI.COM
2NIR9F   12/23/2020   OB     1/2/2021   WN;2215;MIA;TPA                          UJLIGETFA              MISKOLC                 HU        15653   133641024.1523082@AIRLINE.KIWI.COM
2ODSLW   12/23/2020   OB   12/23/2020   WN;37;MEM;DAL;WN;37;DAL;HOU              SOUTH RICHARDFURT      NM                      US        86356   133669701@AIRLINE.KIWI.COM
2ODSLW   12/23/2020   OB   12/23/2020   WN;61;DAL;HOU                            SOUTH RICHARDFURT      NM                      US        86356   133669701@AIRLINE.KIWI.COM
2OKTBF   12/23/2020   OB     1/5/2021   WN;709;TPA;HOU;WN;668;HOU;SLC            REIDBURY               NJ                      US         6808   133670966@AIRLINE.KIWI.COM
2ONCSI   12/23/2020   OB    1/23/2021   WN;324;MIA;HOU                           SOUTH KATHYHAVEN       NH                      US        38679   133671395@AIRLINE.KIWI.COM
2OUGXS   12/23/2020   OB     1/3/2021   WN;6751;PHX;LAS;WN;3762;LAS;BHM          FIELDSPORT             IN                      US        74761   133672363@AIRLINE.KIWI.COM
2PGWLE   12/23/2020   OB   12/26/2020   WN;2269;ATL;MCO;WN;2269;MCO;PVD          EAST JOSEPHBURY        OH                      US        41027   133675245@AIRLINE.KIWI.COM
2QQOHW   12/23/2020   OB   12/23/2020   WN;4711;BWI;JAX                          JOHNSONSHIRE           RI                      US        97886   133681185@AIRLINE.KIWI.COM
2QSRFK   12/23/2020   OB     1/7/2021   WN;404;CMH;BWI;WN;2221;BWI;MIA           PORT GEORGEPORT        PA                      US        48235   133681493@AIRLINE.KIWI.COM
2QVXNU   12/23/2020   OB   12/24/2020   WN;3147;MDW;MEM                          BRYANBOROUGH           OR                      US        17328   133681405@AIRLINE.KIWI.COM
2QVXNU   12/23/2020   RT   12/26/2020   WN;115;MEM;MDW                           BRYANBOROUGH           OR                      US        17328   133681405@AIRLINE.KIWI.COM
2QZK4S   12/23/2020   OB   12/23/2020   WN;4800;MDW;MEM                          NELSONTON              LA                      US        76523   133682450@AIRLINE.KIWI.COM
2QZK4S   12/23/2020   RT   12/27/2020   WN;3647;MEM;MDW                          NELSONTON              LA                      US        76523   133682450@AIRLINE.KIWI.COM
2R4Z2Y   12/23/2020   OB   12/24/2020   WN;4099;STL;ATL                          MCCOYBURGH             SD                      US        16843   133682802@AIRLINE.KIWI.COM
2RKN45   12/23/2020   OB     1/2/2021   WN;2063;BOS;BWI;WN;1727;BWI;BUF          HANCOCKVILLE           RI                      US        41586   133684793@AIRLINE.KIWI.COM
2RT4TE   12/23/2020   OB     1/5/2021   WN;226;BNA;CLE                           WEST MARYTOWN          CA                      US        22250   133685673@AIRLINE.KIWI.COM
2RT4TE   12/23/2020   OB     1/5/2021   WN;226;BNA;CLE                           WEST MARYTOWN          CA                      US        22250   133685673@AIRLINE.KIWI.COM
2SA5V3   12/23/2020   OB   12/23/2020   WN;1847;ATL;LGA                          LAKE JENNIFER          MT                      US        30784   133688896@AIRLINE.KIWI.COM
2SA5V3   12/23/2020   OB   12/23/2020   WN;1847;ATL;LGA                          LAKE JENNIFER          MT                      US        30784   133688896@AIRLINE.KIWI.COM
2SIGQS   12/23/2020   OB   12/24/2020   WN;3289;MKE;MCO;WN;4121;MCO;DAL          ROBERTSTON             ID                      US        27056   133689248@AIRLINE.KIWI.COM
2SIUJ4   12/23/2020   OB   12/27/2020   WN;1669;BHM;MCO;WN;2526;MCO;HOU          PORT ALEXANDER         MO                      US        41939   133690271@AIRLINE.KIWI.COM
2SUFTS   12/23/2020   OB   12/23/2020   WN;4621;LGA;MDW                          NEW DAVIDVILLE         UT                      US        59745   133691206@AIRLINE.KIWI.COM
2SWSS7   12/23/2020   OB   12/24/2020   WN;2046;ATL;HOU                          MILLERVILLE            IN                      US         7724   133691800@AIRLINE.KIWI.COM
2T2AIG   12/23/2020   OB   12/23/2020   WN;4102;MCO;ATL                          SOUTH STACY            OK                      US        25117   133692075@AIRLINE.KIWI.COM
2T89ZF   12/23/2020   OB   12/24/2020   WN;2002;ATL;BNA;WN;4149;BNA;DTW          RONNIEMOUTH            OK                      US         2076   133693659@AIRLINE.KIWI.COM
2T8NZZ   12/23/2020   OB     5/3/2021   WN;110;HNL;LIH                           SAULGAU                HAMBURG                 DE        60927   133693626@AIRLINE.KIWI.COM
2T8NZZ   12/23/2020   RT     5/9/2021   WN;1102;LIH;HNL                          SAULGAU                HAMBURG                 DE        60927   133693626@AIRLINE.KIWI.COM
2TMA5A   12/23/2020   OB   12/23/2020   WN;3929;ATL;SAT                          SOUTH JULIAFORT        WY                      US        90826   133695639@AIRLINE.KIWI.COM
2UBEWH   12/23/2020   OB   12/24/2020   WN;4686;RDU;MCO;WN;2160;MCO;MKE          SOUTH TERESA           RI                      US        88509   133698576@AIRLINE.KIWI.COM
2UFFO6   12/23/2020   OB   12/24/2020   WN;5034;BWI;MSY                          WEST RUTHLAND          WV                      US        98508   133699643@AIRLINE.KIWI.COM
2UFFO6   12/23/2020   OB   12/24/2020   WN;5034;BWI;MSY                          WEST RUTHLAND          WV                      US        98508   133699643@AIRLINE.KIWI.COM
2UGCTF   12/23/2020   OB   12/25/2020   WN;3111;CLT;BWI;WN;5016;BWI;ALB          MELENDEZMOUTH          NV                      US        30177   133700039@AIRLINE.KIWI.COM
2UQNC2   12/23/2020   OB   12/24/2020   WN;4207;MSY;ATL                          TERRYBURGH             WA                      US        27633   133701579@AIRLINE.KIWI.COM
2UW7PY   12/23/2020   OB   12/24/2020   WN;3948;ATL;FLL                          COLLINSBURGH           IA                      US         3188   133702239@AIRLINE.KIWI.COM
2UWX4C   12/23/2020   OB   12/24/2020   WN;1059;MEM;HOU;WN;3294;HOU;MIA          LLORENSFURT            NUNAVUT                 CA        98705   133702448@AIRLINE.KIWI.COM
2UZXQS   12/23/2020   OB   12/23/2020   WN;2089;LAX;LAS                          WESLEYLAND             DE                      US         5369   133702591@AIRLINE.KIWI.COM
2UZXQS   12/23/2020   OB   12/23/2020   WN;2089;LAX;LAS                          WESLEYLAND             DE                      US         5369   133702591@AIRLINE.KIWI.COM
2VHJYZ   12/23/2020   OB   12/23/2020   WN;4014;DAL;MDW                          NEW MARYTON            PA                      US        56789   133704450@AIRLINE.KIWI.COM
2VHMML   12/23/2020   OB   12/24/2020   WN;4223;RDU;BNA                          DANIELLEMOUTH          MT                      US        45893   133704571@AIRLINE.KIWI.COM
2VVDME   12/23/2020   OB   12/24/2020   WN;2936;DCA;ATL                          NEW REGINASHIRE        IL                      US        46143   133706551@AIRLINE.KIWI.COM
2W3X7N   12/23/2020   OB   12/27/2020   WN;1970;MSP;LAS;WN;6750;LAS;PHX          LAKE ERIKTOWN          FL                      US        58625   133707046@AIRLINE.KIWI.COM
2W6WRO   12/23/2020   OB   12/24/2020   WN;1449;ALB;BWI;WN;1646;BWI;ATL          MCKINNEYVIEW           ND                      US        13877   133707211@AIRLINE.KIWI.COM
2W8OJK   12/23/2020   OB   12/24/2020   WN;3611;HOU;MDW;WN;4409;MDW;DTW          STEVENBURY             SD                      US        33728   133707475@AIRLINE.KIWI.COM
2WB4WD   12/23/2020   OB   12/24/2020   WN;2936;DCA;ATL                          LAKE REGINALD          AR                      US        73574   133707530@AIRLINE.KIWI.COM
2WBWRH   12/23/2020   OB   12/24/2020   WN;3134;DTW;BWI;WN;2411;BWI;ATL          CHASEFORT              CA                      US        38741   133703845@AIRLINE.KIWI.COM
2WHWKW   12/23/2020   OB   12/24/2020   WN;3348;LGA;ATL                          ALINGSAS               VARMLANDS LAN           SE        95919   133708982@AIRLINE.KIWI.COM
2XASBQ   12/23/2020   OB    1/22/2021   WN;197;FLL;SJU                           LAKE RICHARD           AZ                      US        50659   133711677@AIRLINE.KIWI.COM
2XC78F   12/23/2020   OB    3/22/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL          SOUTH LINDA            KY                      US        26810   133712381@AIRLINE.KIWI.COM
2XKPEP   12/23/2020   OB   12/25/2020   WN;2286;SJC;DEN                          KRISTINBURY            NV                      US        12446   133712854@AIRLINE.KIWI.COM
2XN5FC   12/23/2020   OB   12/24/2020   WN;2996;DSM;DEN;WN;3465;DEN;BOI          MICHAELBURGH           MS                      US        44362   133713470@AIRLINE.KIWI.COM
2XYYYB   12/23/2020   OB   12/24/2020   WN;2685;CLE;BWI;WN;2924;BWI;ORF          SMITHTON               NY                      US        92411   133714746@AIRLINE.KIWI.COM
2Y638T   12/23/2020   OB   12/24/2020   WN;2232;OMA;DEN                          NORTH CHARLES          WI                      US        16715   133448821.1523670@AIRLINE.KIWI.COM
2YLNQ2   12/23/2020   OB   12/23/2020   WN;4023;LAS;LAX                          LUCEROHAVEN            MT                      US        26022   133716352@AIRLINE.KIWI.COM
2YMGZM   12/23/2020   OB    1/19/2021   WN;4522;PDX;MDW;WN;2255;MDW;BOS          FRYEBERG               WA                      US        44746   133715714@AIRLINE.KIWI.COM
2YN4WN   12/23/2020   OB   12/31/2020   WN;2438;CLE;BNA;WN;1966;BNA;ATL          JAMESTOWN              DE                      US        96335   133716473@AIRLINE.KIWI.COM
2YN4WN   12/23/2020   RT     1/3/2021   WN;1605;ATL;BNA;WN;3397;BNA;CLE          JAMESTOWN              DE                      US        96335   133716473@AIRLINE.KIWI.COM
2YOG2Z   12/23/2020   OB   12/24/2020   WN;3107;OKC;HOU;WN;2567;HOU;MSY          ELLISBURGH             TN                      US        51600   133716055@AIRLINE.KIWI.COM
2YYGW3   12/24/2020   OB   12/31/2020   WN;2220;MDW;BNA;WN;1966;BNA;ATL          SOUTH DOUGLAS          NJ                      US        30441   133717529@AIRLINE.KIWI.COM
2Z4RE4   12/24/2020   OB   12/24/2020   WN;2996;DSM;DEN;WN;2884;DEN;DAL          LOPEZBURGH             CT                      US        52294   133718035@AIRLINE.KIWI.COM
2Z4RE4   12/24/2020   OB   12/24/2020   WN;2996;DSM;DEN;WN;2884;DEN;DAL          LOPEZBURGH             CT                      US        52294   133718035@AIRLINE.KIWI.COM
2Z4RE4   12/24/2020   RT   12/27/2020   WN;1554;DAL;STL;WN;2075;STL;DSM          LOPEZBURGH             CT                      US        52294   133718035@AIRLINE.KIWI.COM
2Z4RE4   12/24/2020   RT   12/27/2020   WN;1554;DAL;STL;WN;2075;STL;DSM          LOPEZBURGH             CT                      US        52294   133718035@AIRLINE.KIWI.COM
2Z6EK9   12/24/2020   OB   12/26/2020   WN;1891;MSP;DEN;WN;2036;DEN;BOI          NEW HARRY              CT                      US         2349   133718376@AIRLINE.KIWI.COM
2ZLYVG   12/24/2020   OB     1/9/2021   WN;4347;TUS;LAS;WN;58;LAS;SJC            NORTH WILLIAMBOROUGH   MD                      US        64902   133719531@AIRLINE.KIWI.COM
323KK3   12/24/2020   OB   12/24/2020   WN;3134;DTW;BWI;WN;2221;BWI;MIA          JEVGENILAND            POLVAMAA                EE        94411   133720741@AIRLINE.KIWI.COM
32DB3G   12/24/2020   OB   12/24/2020   WN;4305;PDX;SMF                          TIFFANYBURY            MN                      US        37580   133721467@AIRLINE.KIWI.COM
32IV9D   12/24/2020   OB   12/24/2020   WN;3134;DTW;BWI;WN;2411;BWI;ATL          SUTTONMOUTH            SD                      US        79972   133722149@AIRLINE.KIWI.COM
32K4OX   12/24/2020   OB   12/24/2020   WN;4409;MDW;DTW                          NORTH JODIPORT         IN                      US        90025   133721984@AIRLINE.KIWI.COM
334R2I   12/24/2020   OB   12/24/2020   WN;1914;LGA;MDW                          EAST JILL              MO                      US        51900   133723304@AIRLINE.KIWI.COM
33EUEN   12/24/2020   OB   12/26/2020   WN;1748;MDW;BWI;WN;2458;BWI;FLL          KERRMOUTH              AL                      US        43333   133724052@AIRLINE.KIWI.COM
33EUEN   12/24/2020   OB   12/26/2020   WN;1748;MDW;BWI;WN;2458;BWI;FLL          KERRMOUTH              AL                      US        43333   133724052@AIRLINE.KIWI.COM
33RAKG   12/24/2020   OB   12/24/2020   WN;4577;ATL;MCO;WN;3708;MCO;SJU          NEW KATHERINE          PA                      US        52205   133724580@AIRLINE.KIWI.COM
33RAKG   12/24/2020   OB   12/24/2020   WN;4577;ATL;MCO;WN;3708;MCO;SJU          NEW KATHERINE          PA                      US        52205   133724580@AIRLINE.KIWI.COM
3446KD   12/24/2020   OB   12/25/2020   WN;3787;LGA;BNA;WN;3203;BNA;FLL          WALKERSTAD             IN                      US        70325   133725119@AIRLINE.KIWI.COM
348CI5   12/24/2020   OB   12/24/2020   WN;661;HOU;MIA                           CHRISTINESIDE          CA                      US        41231   133725372@AIRLINE.KIWI.COM
34D63X   12/24/2020   OB   12/31/2020   WN;2438;CLE;BNA;WN;1966;BNA;ATL          VELASQUEZVILLE         OR                      US        61056   133725614@AIRLINE.KIWI.COM
34GNQ8   12/24/2020   OB    1/28/2021   WN;3548;IND;TPA                          WEST IAN               ID                      US         2224   133725735@AIRLINE.KIWI.COM
34T5UF   12/24/2020   OB   12/27/2020   WN;3787;LGA;BNA;WN;5056;BNA;FLL          MARTINEZSHIRE          FL                      US        94099   133726615@AIRLINE.KIWI.COM
34T5UF   12/24/2020   OB   12/27/2020   WN;3787;LGA;BNA;WN;5056;BNA;FLL          NA                     NA                      US   NA           133726615@AIRLINE.KIWI.COM
34T5UF   12/24/2020   OB   12/27/2020   WN;3787;LGA;BNA;WN;5056;BNA;FLL          MARTINEZSHIRE          FL                      US        94099   133726615@AIRLINE.KIWI.COM
34T5UF   12/24/2020   OB   12/27/2020   WN;3787;LGA;BNA;WN;5056;BNA;FLL          NA                     NA                      US   NA           133726615@AIRLINE.KIWI.COM
34YI9J   12/24/2020   OB   12/24/2020   WN;2499;ONT;LAS                          NORTH CHARLES          CT                      US        77973   133727297@AIRLINE.KIWI.COM
352YEK   12/24/2020   OB   12/24/2020   WN;2620;HOU;SAN                          GUERREROFURT           AL                      US        43739   133727451@AIRLINE.KIWI.COM
355UMD   12/24/2020   OB     1/5/2021   WN;1058;MIA;BWI;WN;280;BWI;AUS           KLKH SIBAI             KHABAROVSKIY KRAY       RU        92769   133727605@AIRLINE.KIWI.COM
355UMD   12/24/2020   OB     1/5/2021   WN;1058;MIA;BWI;WN;280;BWI;AUS           KLKH SIBAI             KHABAROVSKIY KRAY       RU        92769   133727605@AIRLINE.KIWI.COM
359NEL   12/24/2020   OB   12/24/2020   WN;3321;LAS;LAX                          EAST PATRICIA          IA                      US        85763   133727715@AIRLINE.KIWI.COM
35JKF8   12/24/2020   OB   12/25/2020   WN;4196;MSP;MDW;WN;1878;MDW;BWI          WEST PAULSTAD          OK                      US        97614   133728386@AIRLINE.KIWI.COM
36LOSO   12/24/2020   OB    2/15/2021   WN;1459;OAK;MDW                          BROWNLAND              NOVA SCOTIA             CA        67393   133730388@AIRLINE.KIWI.COM
36LOSO   12/24/2020   OB    2/16/2021   WN;4980;MCI;MDW                          BROWNLAND              NOVA SCOTIA             CA        67393   133730388@AIRLINE.KIWI.COM
36M5OV   12/24/2020   OB    1/30/2021   WN;1509;MDW;OAK                          LAKE KELLI             NORTHWEST TERRITORIES   CA        11109   133730388@AIRLINE.KIWI.COM
388VKO   12/24/2020   OB   12/24/2020   WN;2817;ATL;LGA                          ALEJANDRABURY          GA                      US        28229   133733908@AIRLINE.KIWI.COM
38ANS6   12/24/2020   OB   12/24/2020   WN;2577;MIA;HOU;WN;5040;HOU;ATL          EAST GEORGINABURY      ANGUS                   GB        83935   133734194@AIRLINE.KIWI.COM
38CYGI   12/24/2020   OB     1/5/2021   WN;438;MCO;DAL;WN;2008;DAL;LAX           EAST TANYA             WI                      US        16936   133734238@AIRLINE.KIWI.COM
38GVFM   12/24/2020   OB   12/24/2020   WN;2702;MDW;LGA                          NEW CHRISTOPHERBOROU   NH                      US         8350   133734282@AIRLINE.KIWI.COM
38MGUR   12/24/2020   OB   12/31/2020   WN;3787;LGA;BNA;WN;3959;BNA;ATL          WEST JOHNBERG          KS                      US         5349   133734634@AIRLINE.KIWI.COM
38MGUR   12/24/2020   OB   12/31/2020   WN;3787;LGA;BNA;WN;3959;BNA;ATL          WEST JOHNBERG          KS                      US         5349   133734634@AIRLINE.KIWI.COM
38MGUR   12/24/2020   OB   12/31/2020   WN;3787;LGA;BNA;WN;3959;BNA;ATL          WEST JOHNBERG          KS                      US         5349   133734634@AIRLINE.KIWI.COM
38MGUR   12/24/2020   RT     1/5/2021   WN;154;ATL;LGA                           WEST JOHNBERG          KS                      US         5349   133734634@AIRLINE.KIWI.COM




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38MGUR   12/24/2020   RT     1/5/2021   WN;154;ATL;LGA                    WEST JOHNBERG          KS                     US    5349   133734634@AIRLINE.KIWI.COM
38MGUR   12/24/2020   RT     1/5/2021   WN;154;ATL;LGA                    WEST JOHNBERG          KS                     US    5349   133734634@AIRLINE.KIWI.COM
3A6RXM   12/24/2020   OB   12/24/2020   WN;1646;BWI;ATL                   NEW MARIAHCHESTER      NE                     US   52485   133739925@AIRLINE.KIWI.COM
3AAU7T   12/24/2020   OB   12/24/2020   WN;3147;MDW;MEM                   MICHAELTON             AL                     US   66446   133739991@AIRLINE.KIWI.COM
3AAU7T   12/24/2020   OB   12/24/2020   WN;3147;MDW;MEM                   MICHAELTON             AL                     US   66446   133739991@AIRLINE.KIWI.COM
3DD4MO   12/24/2020   OB   12/28/2020   WN;1208;AUS;PHX;WN;1208;PHX;SLC   NORTH LISA             SD                     US   70715   133751640@AIRLINE.KIWI.COM
3DIURV   12/24/2020   OB   12/24/2020   WN;1966;BNA;ATL                   EAST THOMAS            IA                     US   73156   133752652@AIRLINE.KIWI.COM
3DUTUI   12/24/2020   OB   12/25/2020   WN;3804;LGA;STL                   ANDERSONLAND           DE                     US   80834   133753884@AIRLINE.KIWI.COM
3EITSH   12/24/2020   OB   12/27/2020   WN;1998;ATL;BWI;WN;5060;BWI;CVG   NELSONMOUTH            HI                     US    6917   133756942@AIRLINE.KIWI.COM
3EV4AH   12/24/2020   OB   12/24/2020   WN;2263;ATL;CMH                   LAKE ALAN              HI                     US   77250   133758504@AIRLINE.KIWI.COM
3EV4AH   12/24/2020   RT   12/28/2020   WN;380;CMH;ATL                    LAKE ALAN              HI                     US   77250   133758504@AIRLINE.KIWI.COM
3EVI82   12/24/2020   OB   12/24/2020   WN;3830;DEN;HOU                   GUADALAJARA            GRANADA                ES   40379   133758757@AIRLINE.KIWI.COM
3EZWIO   12/24/2020   OB   12/24/2020   WN;3422;LGA;DEN;WN;1966;DEN;LAS   WILLIAMBERG            UT                     US   84396   133759439@AIRLINE.KIWI.COM
3EZWIO   12/24/2020   OB   12/24/2020   WN;3422;LGA;DEN;WN;1966;DEN;LAS   WILLIAMBERG            UT                     US   84396   133759439@AIRLINE.KIWI.COM
3EZWIO   12/24/2020   OB   12/24/2020   WN;3422;LGA;DEN;WN;1966;DEN;LAS   WILLIAMBERG            UT                     US   84396   133759439@AIRLINE.KIWI.COM
3FMOSX   12/24/2020   OB   12/24/2020   WN;2823;ATL;BWI;WN;3933;BWI;DTW   NEW ALICIA             MN                     US   57019   133761639@AIRLINE.KIWI.COM
3G7IY9   12/24/2020   OB     1/8/2021   WN;4145;MIA;TPA;WN;2606;TPA;DEN   NORTH WILLIAMCHESTER   NJ                     US   43538   133764158@AIRLINE.KIWI.COM
3G8NAS   12/24/2020   OB    1/10/2021   WN;2088;DEN;HOU;WN;661;HOU;MIA    WEST CHRISTINEVILLE    AK                     US   92419   133764158@AIRLINE.KIWI.COM
3GKRZR   12/24/2020   OB   12/24/2020   WN;3324;MEM;MDW;WN;3655;MDW;LAX   HENDRICKSTON           WV                     US   81539   133765335@AIRLINE.KIWI.COM
3GRPAD   12/24/2020   OB   12/24/2020   WN;3256;MDW;MCO                   SOUTH MONICABURY       MO                     US    8792   133766303@AIRLINE.KIWI.COM
3GRPAD   12/24/2020   OB   12/24/2020   WN;3256;MDW;MCO                   SOUTH MONICABURY       MO                     US    8792   133766303@AIRLINE.KIWI.COM
3HINQD   12/24/2020   OB   12/24/2020   WN;1459;MDW;DCA                   WEST CONNIEVIEW        MO                     US   51021   133769834@AIRLINE.KIWI.COM
3I56OE   12/24/2020   OB   12/25/2020   WN;3348;LGA;ATL                   MARTINEZVIEW           SC                     US    1350   133772507@AIRLINE.KIWI.COM
3I6428   12/24/2020   OB    1/31/2021   WN;4246;MSY;HOU;WN;1619;HOU;DAL   GEORGEVIEW             DE                     US   59527   133772386@AIRLINE.KIWI.COM
3IRKYZ   12/24/2020   OB   12/25/2020   WN;4908;SLC;DEN;WN;3978;DEN;MCI   NEW BILLY              TX                     US   71702   133775147@AIRLINE.KIWI.COM
3J69YE   12/24/2020   OB   12/27/2020   WN;3618;DTW;HOU;WN;4799;HOU;ATL   EAST DANIELLE          NJ                     US    4518   133776940@AIRLINE.KIWI.COM
3JSRBM   12/24/2020   OB   12/25/2020   WN;4207;ATL;FLL                   WEST KAYLA             LA                     US   25938   133779437@AIRLINE.KIWI.COM
3JSRBM   12/24/2020   OB   12/25/2020   WN;4207;ATL;FLL                   WEST KAYLA             LA                     US   25938   133779437@AIRLINE.KIWI.COM
3JUK2U   12/24/2020   OB   12/25/2020   WN;3804;LGA;STL;WN;5072;STL;FLL   ANGELAVILLE            CT                     US   96537   133779536@AIRLINE.KIWI.COM
3JUK2U   12/24/2020   OB   12/25/2020   WN;3804;LGA;STL;WN;5072;STL;FLL   ANGELAVILLE            CT                     US   96537   133779536@AIRLINE.KIWI.COM
3K2B82   12/24/2020   OB   12/26/2020   WN;2030;ISP;BWI;WN;2294;BWI;CLT   EAST ERIN              NV                     US   85774   133780746@AIRLINE.KIWI.COM
3KBQ3L   12/24/2020   OB   12/25/2020   WN;3368;ATL;HOU;WN;307;HOU;CUN    RUTHBERG               VA                     US   96675   133781758@AIRLINE.KIWI.COM
3KBQ3L   12/24/2020   OB   12/25/2020   WN;3368;ATL;HOU;WN;307;HOU;CUN    RUTHBERG               VA                     US   96675   133781758@AIRLINE.KIWI.COM
3KBQ3L   12/24/2020   OB   12/25/2020   WN;3368;ATL;HOU;WN;307;HOU;CUN    RUTHBERG               VA                     US   96675   133781758@AIRLINE.KIWI.COM
3KDQC7   12/24/2020   OB   12/25/2020   WN;1515;DTW;MDW;WN;2987;MDW;ATL   KYLEBURY               MI                     US   36269   133781846@AIRLINE.KIWI.COM
3KFEND   12/24/2020   OB   12/25/2020   WN;4207;ATL;FLL                   PORT JOHN              AZ                     US    4075   133781967@AIRLINE.KIWI.COM
3KSRO4   12/24/2020   OB   12/24/2020   WN;3321;LAS;LAX                   DEVINFORT              PA                     US   83692   133782704@AIRLINE.KIWI.COM
3LBAUJ   12/24/2020   OB   12/26/2020   WN;6926;DTW;BNA                   EAST REBECCA           IL                     US   53983   133784541@AIRLINE.KIWI.COM
3LMT2Y   12/24/2020   OB     1/1/2021   WN;2002;ATL;BNA;WN;4149;BNA;DTW   JOEPORT                HI                     US   63394   133785135@AIRLINE.KIWI.COM
3LNN36   12/24/2020   OB   12/25/2020   WN;2051;ATL;MDW                   PAMELALAND             OK                     US   35227   133786015@AIRLINE.KIWI.COM
3LROG2   12/24/2020   OB   12/24/2020   WN;605;PHX;BUR                    JOHNSHIRE              AK                     US   95500   133786147@AIRLINE.KIWI.COM
3LXR4O   12/24/2020   OB   12/24/2020   WN;3321;LAS;LAX                   MADISONSIDE            NH                     US   68111   133786719@AIRLINE.KIWI.COM
3LXTGH   12/24/2020   OB   12/25/2020   WN;1493;SMF;LAS                   SOUTH ILGI             DUZCE                  TR   77325   133786411@AIRLINE.KIWI.COM
3LXTGH   12/24/2020   OB   12/25/2020   WN;1493;SMF;LAS                   SOUTH ILGI             DUZCE                  TR   77325   133786411@AIRLINE.KIWI.COM
3M99GX   12/24/2020   OB   12/26/2020   WN;2063;BOS;BWI;WN;102;BWI;MIA    BUSHVIEW               OH                     US   93655   133787236@AIRLINE.KIWI.COM
3MKGQ8   12/24/2020   OB   12/25/2020   WN;2799;CRP;HOU;WN;3294;HOU;MIA   RIVASBURY              FL                     US   59497   133788138@AIRLINE.KIWI.COM
PKOMPF   12/24/2020   OB   12/26/2020   WN;1013;HOU;ATL                   PORT STUART            ME                     US    4835   132008338@AIRLINE.KIWI.COM
Q3ZT8G   12/24/2020   OB   12/31/2020   WN;3134;DTW;BWI;WN;565;BWI;CLT    REYESMOUTH             UT                     US   76893   131343795@AIRLINE.KIWI.COM
Q9V2FH   12/24/2020   OB   12/28/2020   WN;873;BOI;OAK;WN;2610;OAK;PHX    EAST MAUREEN           AR                     US   11417   128908758@AIRLINE.KIWI.COM
3OCQ3P   12/25/2020   OB    1/17/2021   WN;3273;STL;DEN;WN;2516;DEN;SEA   RICKYSHIRE             IA                     US    3210   133791966@AIRLINE.KIWI.COM
3OS329   12/25/2020   OB    3/20/2021   WN;1385;PHX;SDF                   NORTH JOHNNYTON        FL                     US   24980   133792450@AIRLINE.KIWI.COM
3PIU9U   12/25/2020   OB     1/3/2021   WN;1796;DAL;LGA                   EAST DANA              OK                     US   81406   133793308@AIRLINE.KIWI.COM
3PM2HW   12/25/2020   OB   12/27/2020   WN;4014;LGA;DAL                   SOUTH BRETTVILLE       VA                     US   29401   133793308@AIRLINE.KIWI.COM
3PM2HW   12/25/2020   OB   12/27/2020   WN;4014;LGA;DAL                   SOUTH BRETTVILLE       VA                     US   29401   133793308@AIRLINE.KIWI.COM
3PM2HW   12/25/2020   OB   12/27/2020   WN;4014;LGA;DAL                   SOUTH BRETTVILLE       VA                     US   29401   133793308@AIRLINE.KIWI.COM
3PM2HW   12/25/2020   OB   12/27/2020   WN;4014;LGA;DAL                   SOUTH BRETTVILLE       VA                     US   29401   133793308@AIRLINE.KIWI.COM
3PM2HW   12/25/2020   OB   12/27/2020   WN;4014;LGA;DAL                   SOUTH BRETTVILLE       VA                     US   29401   133793308@AIRLINE.KIWI.COM
3Q5BGV   12/25/2020   OB   12/25/2020   WN;4191;MSP;MDW                   JEFFREYBURY            TX                     US   93597   133794738@AIRLINE.KIWI.COM
3QOCCB   12/25/2020   OB     1/3/2021   WN;1706;TPA;DEN;WN;4524;DEN;SEA   PORT DYLAN             OK                     US   87098   133563507.1524305@AIRLINE.KIWI.COM
3QPRLB   12/25/2020   OB   12/25/2020   WN;845;MSP;MDW;WN;3324;MDW;CMH    SOUTH BEVERLYMOUTH     ME                     US   33495   133786466@AIRLINE.KIWI.COM
3QQBDG   12/25/2020   OB   12/27/2020   WN;3143;CVG;PHX;WN;4765;PHX;LAS   PRESTONVILLE           NC                     US   23141   133795772@AIRLINE.KIWI.COM
3QZU57   12/25/2020   OB   12/25/2020   WN;4191;MSP;MDW                   NORTH MARIAMOUTH       WY                     US   54409   133796190@AIRLINE.KIWI.COM
3ROZOJ   12/25/2020   OB   12/25/2020   WN;1652;TPA;SJU                   GRAHAMSTAD             GA                     US   16909   133797466@AIRLINE.KIWI.COM
3ROZOJ   12/25/2020   RT   12/27/2020   WN;2928;SJU;TPA                   GRAHAMSTAD             GA                     US   16909   133797466@AIRLINE.KIWI.COM
3RZD4L   12/25/2020   OB   12/25/2020   WN;4619;RDU;MDW;WN;1914;MDW;SLC   JENNIFERTOWN           NJ                     US   90228   133797972@AIRLINE.KIWI.COM
3RZD4L   12/25/2020   OB   12/25/2020   WN;4619;RDU;MDW;WN;1914;MDW;SLC   JENNIFERTOWN           NJ                     US   90228   133797972@AIRLINE.KIWI.COM
3RZD4L   12/25/2020   OB   12/25/2020   WN;4619;RDU;MDW;WN;1914;MDW;SLC   JENNIFERTOWN           NJ                     US   90228   133797972@AIRLINE.KIWI.COM
3S69FQ   12/25/2020   OB   12/25/2020   WN;1515;DTW;MDW;WN;2987;MDW;ATL   ORTEGAHAVEN            IL                     US   44066   133798225@AIRLINE.KIWI.COM
3SMYV5   12/25/2020   OB    1/18/2021   WN;754;KOA;HNL                    RWSTY NZNYN            KHORASANE SHEMALI      IR   73494   133799314@AIRLINE.KIWI.COM
3SMYV5   12/25/2020   OB    1/18/2021   WN;754;KOA;HNL                    RWSTY NZNYN            KHORASANE SHEMALI      IR   73494   133799314@AIRLINE.KIWI.COM
3SVYPL   12/25/2020   OB   12/25/2020   WN;3989;LAX;LAS                   JACOBSTAD              KY                     US   80561   133799633@AIRLINE.KIWI.COM
3SYD5K   12/25/2020   OB   12/25/2020   WN;4202;ATL;DEN                   JONATHONMOUTH          CA                     US   85071   133799963@AIRLINE.KIWI.COM
3T2K62   12/25/2020   OB   12/25/2020   WN;3307;GEG;OAK;WN;4441;OAK;ONT   LAKE ASHLEYLAND        AK                     US   57742   133799952@AIRLINE.KIWI.COM
3T2K62   12/25/2020   OB   12/25/2020   WN;3307;GEG;OAK;WN;4441;OAK;ONT   LAKE ASHLEYLAND        AK                     US   57742   133799952@AIRLINE.KIWI.COM
3T3GKR   12/25/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   EAST RILEY             OK                     US   27393   133800106@AIRLINE.KIWI.COM
3T4VQU   12/25/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   REYSURGONZALEZ         OISE                   FR   67821   133800106@AIRLINE.KIWI.COM
3TA7HR   12/25/2020   OB   12/28/2020   WN;169;BOS;BWI                    PATRICIATON            ID                     US   77240   133800458@AIRLINE.KIWI.COM
3TW5YS   12/25/2020   OB     1/1/2021   WN;430;ATL;PHX;WN;2002;PHX;LGB    JENNIFERCHESTER        MD                     US   50066   133799259@AIRLINE.KIWI.COM
3TW5YS   12/25/2020   OB     1/1/2021   WN;430;ATL;PHX;WN;2002;PHX;LGB    JENNIFERCHESTER        MD                     US   50066   133799259@AIRLINE.KIWI.COM
3U4BDP   12/25/2020   OB   12/26/2020   WN;1702;PHX;CVG                   NORTH AMANDA           MN                     US   55762   133801492@AIRLINE.KIWI.COM
3UGXZ3   12/25/2020   OB   12/25/2020   WN;845;MSP;MDW;WN;3324;MDW;CMH    ANTHONYVIEW            WY                     US   50442   133802504@AIRLINE.KIWI.COM
3YFBJ5   12/25/2020   OB    1/16/2021   WN;2413;MIA;TPA;WN;6057;TPA;SDF   CORDOBA                CASTILLALA MANCHA      ES   79089   133812228@AIRLINE.KIWI.COM
42NTAH   12/25/2020   OB   12/25/2020   WN;3744;LAX;LAS                   KARENMOUTH             RI                     US   89915   133820016@AIRLINE.KIWI.COM
43BW67   12/25/2020   OB    1/22/2021   WN;3075;MIA;BWI;WN;3596;BWI;PIT   WALTERPORT             IA                     US   47147   133821622@AIRLINE.KIWI.COM
44PXPJ   12/25/2020   OB    1/13/2021   WN;6001;AUS;TPA                   POKRYVAC               NITRIANSKY KRAJ        SK   23457   133826451@AIRLINE.KIWI.COM
455BH4   12/25/2020   OB   12/25/2020   WN;4945;ELP;PHX                   WEST JESSICA           KS                     US   57104   133828178@AIRLINE.KIWI.COM
459EIT   12/25/2020   OB   12/27/2020   WN;4299;LGA;BNA;WN;3765;BNA;FLL   LESLIENEATH            NELSON CITY            NZ   90332   133828618@AIRLINE.KIWI.COM
45TISX   12/25/2020   OB   12/26/2020   WN;788;LGA;DEN                    KLKH SURGUT KHANT      SARATOVSKAYA OBLAST    RU   16602   133830081@AIRLINE.KIWI.COM
45W3D8   12/25/2020   OB   12/26/2020   WN;788;LGA;DEN                    S BIISK                NOVGORODSKAYA OBLAST   RU   86492   133830136@AIRLINE.KIWI.COM
45XE8A   12/25/2020   OB     1/5/2021   WN;1242;FLL;BWI;WN;1261;BWI;DTW   ROLLINSTON             NH                     US   89945   133830664@AIRLINE.KIWI.COM
45XE8A   12/25/2020   OB     1/5/2021   WN;1242;FLL;BWI;WN;1261;BWI;DTW   ROLLINSTON             NH                     US   89945   133830664@AIRLINE.KIWI.COM
45XE8A   12/25/2020   OB     1/5/2021   WN;1242;FLL;BWI;WN;1261;BWI;DTW   ROLLINSTON             NH                     US   89945   133830664@AIRLINE.KIWI.COM
45XIVW   12/25/2020   OB   12/25/2020   WN;2823;ATL;BWI;WN;3933;BWI;DTW   DIAMONDTOWN            WA                     US   35787   133830906@AIRLINE.KIWI.COM
46823X   12/25/2020   OB   12/25/2020   WN;3082;ATL;MCO                   SPARKSCHESTER          MD                     US   68081   133831346@AIRLINE.KIWI.COM
46823X   12/25/2020   OB   12/25/2020   WN;3082;ATL;MCO                   SPARKSCHESTER          MD                     US   68081   133831346@AIRLINE.KIWI.COM
46IPXZ   12/25/2020   OB     1/1/2021   WN;2707;ATL;LGA                   WATTSBURGH             NM                     US   31129   133832710@AIRLINE.KIWI.COM
46KQK5   12/25/2020   OB   12/25/2020   WN;1914;LGA;MDW;WN;3388;MDW;MCO   G SOSNOVYI BOR         DAGESTAN RESPUBLIKA    RU   15260   133829179@AIRLINE.KIWI.COM
46KQK5   12/25/2020   OB   12/25/2020   WN;1914;LGA;MDW;WN;3388;MDW;MCO   G SOSNOVYI BOR         DAGESTAN RESPUBLIKA    RU   15260   133829179@AIRLINE.KIWI.COM
46KQK5   12/25/2020   OB   12/25/2020   WN;1914;LGA;MDW;WN;3388;MDW;MCO   G SOSNOVYI BOR         DAGESTAN RESPUBLIKA    RU   15260   133829179@AIRLINE.KIWI.COM
46KQK5   12/25/2020   OB   12/25/2020   WN;1914;LGA;MDW;WN;3388;MDW;MCO   G SOSNOVYI BOR         DAGESTAN RESPUBLIKA    RU   15260   133829179@AIRLINE.KIWI.COM
46MOZ8   12/25/2020   OB   12/28/2020   WN;135;LGA;ATL                    JOHNVIEW               KS                     US   71346   133833249@AIRLINE.KIWI.COM
479PZR   12/25/2020   OB     1/2/2021   WN;1765;BNA;TPA;WN;1065;TPA;MIA   LANDSKRONA             VASTRA GOTALANDS LAN   SE    2100   133835724@AIRLINE.KIWI.COM
47D82G   12/25/2020   OB   12/27/2020   WN;1898;LGA;TPA;WN;1065;TPA;MIA   LAKE SHERYLVIEW        NJ                     US   22712   133835746@AIRLINE.KIWI.COM
47D82G   12/25/2020   OB   12/27/2020   WN;1898;LGA;TPA;WN;1065;TPA;MIA   LAKE SHERYLVIEW        NJ                     US   22712   133835746@AIRLINE.KIWI.COM
47O9DI   12/25/2020   OB   12/27/2020   WN;1898;LGA;TPA;WN;1065;TPA;MIA   NORTH SAMANTHA         MN                     US   34199   133835746@AIRLINE.KIWI.COM
487OQN   12/25/2020   OB     1/4/2021   WN;1060;MIA;TPA                   SELISHCHE VOLODIMIR    ZAKARPATSKA OBLAST     UA   75564   133839607@AIRLINE.KIWI.COM
48U6TG   12/25/2020   OB   12/25/2020   WN;2877;LAX;LAS                   NORTH STEVE            WI                     US   99887   133841609@AIRLINE.KIWI.COM




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48VQSR            12/25/2020   OB     1/9/2021   WN;3759;LAX;DEN;WN;4725;DEN;PHL        KIMBERLYBERG           SC                        US       55578   133841950@AIRLINE.KIWI.COM
48WRYC            12/25/2020   OB    3/19/2021   WN;878;IAD;MDW;WN;1285;MDW;MCO         PORT MELISSA           MD                        US       73752   133842005@AIRLINE.KIWI.COM
494E3W            12/25/2020   OB     1/4/2021   WN;1610;CUN;BWI                        BURNETTVIEW            WA                        US       71972   133842775@AIRLINE.KIWI.COM
498ULR            12/25/2020   OB   12/27/2020   WN;4009;ATL;HOU;WN;3485;HOU;MIA        STOKESSHIRE            CT                        US       77717   133843259@AIRLINE.KIWI.COM
49X9TW            12/25/2020   OB    1/27/2021   WN;3830;SNA;DEN                        NEW HTM                AR RIYAD                  SA       63527   133845679@AIRLINE.KIWI.COM
49X9TW            12/25/2020   OB    1/27/2021   WN;3830;SNA;DEN                        NEW HTM                AR RIYAD                  SA       63527   133845679@AIRLINE.KIWI.COM
4ABXIP            12/25/2020   OB   12/27/2020   WN;1605;ATL;BNA;WN;1764;BNA;PNS        WEST CHERYL            PA                        US       51480   133846570@AIRLINE.KIWI.COM
4BKEVD            12/25/2020   OB   12/27/2020   WN;4797;RDU;BWI;WN;4810;BWI;PBI        FRANKVILLE             IA                        US       29606   133850310@AIRLINE.KIWI.COM
4BX6TH            12/25/2020   OB   12/26/2020   WN;1838;SJU;MCO                        SOUTH JEREMY           IA                        US       23858   133851256@AIRLINE.KIWI.COM
4BX6TH            12/25/2020   OB   12/26/2020   WN;1838;SJU;MCO                        SOUTH JEREMY           IA                        US       23858   133851256@AIRLINE.KIWI.COM
4C65YV            12/25/2020   OB   12/26/2020   WN;6934;LAX;HOU;WN;1056;HOU;MIA        VIEJA BURUNDI          COLIMA                    MX       88752   133851773@AIRLINE.KIWI.COM
4COUAW            12/26/2020   OB     1/6/2021   WN;1003;ELP;HOU;WN;668;HOU;SLC         NEW JOHNTON            NH                        US       61878   133853170@AIRLINE.KIWI.COM
4CZCSF            12/26/2020   OB   12/26/2020   WN;1277;ORF;BWI;WN;1360;BWI;JAX        WEST ANNE              GA                        US       70894   133851377@AIRLINE.KIWI.COM
4DCQVF            12/26/2020   OB   12/28/2020   WN;933;DTW;BWI                         HEATHERPORT            NH                        US       84921   133854776@AIRLINE.KIWI.COM
4DJ8JT            12/26/2020   OB   12/30/2020   WN;1012;MSP;DEN;WN;2455;DEN;PHX        WEST MICHAELSTAD       AR                        US       43049   133855062@AIRLINE.KIWI.COM
4DJ8JT            12/26/2020   OB   12/30/2020   WN;1012;MSP;DEN;WN;2455;DEN;PHX        WEST MICHAELSTAD       AR                        US       43049   133855062@AIRLINE.KIWI.COM
4DJ8JT            12/26/2020   OB   12/30/2020   WN;1012;MSP;DEN;WN;2455;DEN;PHX        WEST MICHAELSTAD       AR                        US       43049   133855062@AIRLINE.KIWI.COM
4DZ2YP            12/26/2020   OB   12/27/2020   WN;1998;ATL;BWI;WN;1998;BWI;IND;WN;1998EAST LORETTAMOUTH      NJ                        US       84004   133856140@AIRLINE.KIWI.COM
4E8BWM            12/26/2020   OB   12/27/2020   WN;2100;DTW;DAL                        PORT JOSHUABURGH       WA                        US        4192   133856789@AIRLINE.KIWI.COM
4F7Z7M            12/26/2020   OB   12/27/2020   WN;1901;CVG;MDW;WN;2976;MDW;PHX        NEW MICHELLESHIRE      MN                        US       34962   133858615@AIRLINE.KIWI.COM
4FCWME            12/26/2020   OB    1/28/2021   WN;4608;LAX;OAK;WN;1282;OAK;HNL        DANIELVILLE            HI                        US       56130   133858879@AIRLINE.KIWI.COM
4FCWME            12/26/2020   OB    1/28/2021   WN;4608;LAX;OAK;WN;1282;OAK;HNL        DANIELVILLE            HI                        US       56130   133858879@AIRLINE.KIWI.COM
4FCWME            12/26/2020   OB    1/28/2021   WN;4608;LAX;OAK;WN;1282;OAK;HNL        DANIELVILLE            HI                        US       56130   133858879@AIRLINE.KIWI.COM
4FCWME            12/26/2020   OB    1/28/2021   WN;4608;LAX;OAK;WN;1282;OAK;HNL        DANIELVILLE            HI                        US       56130   133858879@AIRLINE.KIWI.COM
4FGQNR            12/26/2020   OB   12/29/2020   WN;166;ATL;TPA;WN;321;TPA;FLL          PATRICKPORT            LA                        US       72511   133859374@AIRLINE.KIWI.COM
4GFSIK            12/26/2020   OB    3/29/2021   WN;2186;ATL;DEN;WN;362;DEN;LAX         MORGANFURT             NM                        US       67416   133861233@AIRLINE.KIWI.COM
4GFSIK            12/26/2020   OB    3/29/2021   WN;2186;ATL;DEN;WN;362;DEN;LAX         MORGANFURT             NM                        US       67416   133861233@AIRLINE.KIWI.COM
4GFSIK            12/26/2020   RT     4/1/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL        MORGANFURT             NM                        US       67416   133861233@AIRLINE.KIWI.COM
4GFSIK            12/26/2020   RT     4/1/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL        MORGANFURT             NM                        US       67416   133861233@AIRLINE.KIWI.COM
4GIBWB            12/26/2020   OB   12/27/2020   WN;4211;GEG;SJC;WN;4556;SJC;BUR        PORT RANDYBOROUGH      OK                        US       86762   133861519@AIRLINE.KIWI.COM
4HLS4T            12/26/2020   OB    2/16/2021   WN;752;KOA;HNL;WN;1488;HNL;SAN         PORT DIANA             MT                        US       94245   133863092@AIRLINE.KIWI.COM
4HOFXX            12/26/2020   OB   12/26/2020   WN;1485;SAT;DAL                        NEW RACHEL             CO                        US       29535   133863037@AIRLINE.KIWI.COM
4HYWCJ            12/26/2020   OB   12/31/2020   WN;2346;ATL;TPA                        DANIELSLAND            GA                        US       26677   133863818@AIRLINE.KIWI.COM
4I3HBD            12/26/2020   OB   12/27/2020   WN;2013;GRR;BWI                        NEW JAMIE              UT                        US       95380   133863884@AIRLINE.KIWI.COM
4IBINJ            12/26/2020   OB   12/26/2020   WN;6871;PHL;ATL                        SMITHFURT              DE                        US       42291   133864115@AIRLINE.KIWI.COM
4IXOW8            12/26/2020   OB   12/26/2020   WN;1960;MSP;MDW;WN;2108;MDW;ATL        VALDEZBURGH            WV                        US       39381   133865644@AIRLINE.KIWI.COM
4J5RQV            12/26/2020   OB   12/28/2020   WN;1322;CVG;BWI;WN;337;BWI;LAS         SHERRYBOROUGH          TX                        US       97395   133866062@AIRLINE.KIWI.COM
4JBVYH            12/26/2020   OB    1/31/2021   WN;4806;SFO;PHX;WN;4937;PHX;MSY        LEEVIEW                OR                        US       44087   133865303@AIRLINE.KIWI.COM
4KLNRE            12/26/2020   OB   12/27/2020   WN;4575;BOI;SMF;WN;4575;SMF;SNA        SOUTH BRITTANY         MD                        US       51782   133869329@AIRLINE.KIWI.COM
4NNAFX            12/26/2020   OB   12/26/2020   WN;1660;HOU;DEN                        WEST STEPHANIEBOROUG   KS                        US       37402   133876820@AIRLINE.KIWI.COM
4NZBPZ            12/26/2020   OB   12/29/2020   WN;517;MKE;STL;WN;963;STL;FLL          SOUTH CASSANDRABURGH   NE                        US       92182   133878140@AIRLINE.KIWI.COM
4OBWYW            12/26/2020   OB   12/27/2020   WN;3192;MCO;FLL                        LAKE HEATHER           MI                        US       61188   133879515@AIRLINE.KIWI.COM
4OQX2F            12/26/2020   OB   12/26/2020   WN;2258;MCO;BNA                        NEW JAMES              NJ                        US       91700   133880505@AIRLINE.KIWI.COM
4OZ9KK            12/26/2020   OB   12/27/2020   WN;3482;MIA;BWI;WN;3843;BWI;ORF        VICKIBOROUGH           TN                        US       21604   133881308@AIRLINE.KIWI.COM
4S6H5G            12/26/2020   OB     1/4/2021   WN;326;PHX;OAK                         ROBERTBURY             NE                        US       47215   133891659@AIRLINE.KIWI.COM
4SM97W            12/26/2020   OB     1/2/2021   WN;6805;SLC;MDW;WN;1640;MDW;TPA        REEDVIEW               NE                        US       62769   133893540@AIRLINE.KIWI.COM
4SMFEU            12/26/2020   OB     1/2/2021   WN;6805;SLC;MDW;WN;1640;MDW;TPA        LAKE MICHAEL           UT                        US       14887   133893540@AIRLINE.KIWI.COM
4SP7ZS            12/26/2020   OB   12/27/2020   WN;2332;BUF;BWI;WN;2726;BWI;ATL        LEGIONOWO              PODKARPACKIE              PL       62154   133894343@AIRLINE.KIWI.COM
4T64OV            12/26/2020   OB     1/4/2021   WN;3360;ATL;LGA                        NEW HOLLY              FL                        US       80035   133895652@AIRLINE.KIWI.COM
4T65BQ            12/26/2020   OB   12/29/2020   WN;337;MKE;STL;WN;1177;STL;FLL         LARRYMOUTH             CO                        US       51944   133895696@AIRLINE.KIWI.COM
4TIPT3            12/26/2020   OB   12/27/2020   WN;1898;LGA;TPA;WN;1065;TPA;MIA        AMANDAFORT             MA                        US       52070   133896972@AIRLINE.KIWI.COM
4TJQE6            12/26/2020   OB   12/27/2020   WN;1898;LGA;TPA;WN;1065;TPA;MIA        MELILLA                ALICANTE                  ES       95765   133897247@AIRLINE.KIWI.COM
4TRR2V            12/26/2020   OB   12/27/2020   WN;4863;TUS;LAS;WN;4807;LAS;OAK        ADAMSVILLE             ND                        US       14791   133898369@AIRLINE.KIWI.COM
4TYT54            12/26/2020   OB   12/27/2020   WN;3855;MSP;DEN;WN;2772;DEN;PHX        WEST ALYSSA            NY                        US       61159   131596003.1525086@AIRLINE.KIWI.COM
4U3GR9            12/26/2020   OB    3/27/2021   WN;2386;SLC;DEN;WN;365;DEN;MCO         MARSHALLMOUTH          WV                        US       44278   133900239@AIRLINE.KIWI.COM
4U4F4Z            12/26/2020   OB     1/4/2021   WN;403;ATL;BNA;WN;939;BNA;MDW;WN;142 KRISTIEFURT              MT                        US       37952   133900195@AIRLINE.KIWI.COM
4U4F4Z            12/26/2020   OB     1/4/2021   WN;403;ATL;BNA;WN;939;BNA;MDW;WN;142 KRISTIEFURT              MT                        US       37952   133900195@AIRLINE.KIWI.COM
4U6X9Z            12/26/2020   OB     4/3/2021   WN;1342;MCO;SDF;WN;1342;SDF;DEN;WN;753GARRETTBOROUGH          MT                        US       74891   133900239@AIRLINE.KIWI.COM
4U7437            12/26/2020   OB   12/29/2020   WN;849;LGA;BNA                         LAKE LIAMCHESTER       LIVERPOOL                 GB       41349   132867636.1525149@AIRLINE.KIWI.COM
4U7OEQ            12/26/2020   OB   12/29/2020   WN;536;DTW;BWI;WN;837;BWI;ATL          NEW ERICA              WA                        US       74938   133900569@AIRLINE.KIWI.COM
4U9QOP            12/26/2020   OB   12/26/2020   WN;6402;LAX;OAK                        NEW HELENHAVEN         VT                        US       50314   133900899@AIRLINE.KIWI.COM
4UBIGB            12/26/2020   OB     1/5/2021   WN;1610;CUN;BWI                        PORT PATRICK           KY                        US       53392   133900888@AIRLINE.KIWI.COM
4UKIAS            12/26/2020   OB    1/28/2021   WN;1923;BOS;DEN;WN;1966;DEN;LAS        JENNIFERTOWN           NY                        US       19196   133901911@AIRLINE.KIWI.COM
4URFBO            12/26/2020   OB     1/4/2021   WN;563;LAS;SJC;WN;563;SJC;SEA          ANYANGSI MANANGU       GYEONGSANGNAMDO           KR       71405   133902725@AIRLINE.KIWI.COM
4URFBO            12/26/2020   OB     1/4/2021   WN;563;LAS;SJC;WN;563;SJC;SEA          ANYANGSI MANANGU       GYEONGSANGNAMDO           KR       71405   133902725@AIRLINE.KIWI.COM
4URFBO            12/26/2020   OB     1/4/2021   WN;563;LAS;SJC;WN;563;SJC;SEA          ANYANGSI MANANGU       GYEONGSANGNAMDO           KR       71405   133902725@AIRLINE.KIWI.COM
4URFBO            12/26/2020   OB     1/4/2021   WN;563;LAS;SJC;WN;563;SJC;SEA          ANYANGSI MANANGU       GYEONGSANGNAMDO           KR       71405   133902725@AIRLINE.KIWI.COM
4URFBO            12/26/2020   OB     1/4/2021   WN;563;LAS;SJC;WN;563;SJC;SEA          ANYANGSI MANANGU       GYEONGSANGNAMDO           KR       71405   133902725@AIRLINE.KIWI.COM
4URFBO            12/26/2020   OB     1/4/2021   WN;563;LAS;SJC;WN;563;SJC;SEA          ANYANGSI MANANGU       GYEONGSANGNAMDO           KR       71405   133902725@AIRLINE.KIWI.COM
4W6DXQ            12/26/2020   OB   12/27/2020   WN;2751;ATL;PIT                        LAKE MELINDATOWN       AR                        US       97778   133908126@AIRLINE.KIWI.COM
4XDH48            12/26/2020   OB   12/27/2020   WN;1810;FLL;STL;WN;1810;STL;MCI        NORTH TERRI            SD                        US       66901   133911954@AIRLINE.KIWI.COM
4XZ9LB            12/26/2020   OB   12/27/2020   WN;3469;MDW;ATL                        NEW BOB                OH                        US       29610   133914187@AIRLINE.KIWI.COM
4XZDZN            12/26/2020   OB   12/27/2020   WN;6904;IND;ATL                        NEW PETER              GA                        US       98381   133914022@AIRLINE.KIWI.COM
4Y4OYY            12/26/2020   OB     1/3/2021   WN;4651;PHL;BNA;WN;1621;BNA;CLT        NEW JESSICA            WA                        US       77051   133914121@AIRLINE.KIWI.COM
4Y4WPO            12/26/2020   OB   12/30/2020   WN;638;TUL;DEN;WN;1082;DEN;AUS         NORTH LORI             FL                        US       48550   133914374@AIRLINE.KIWI.COM
W229T3            12/26/2020   OB   12/26/2020   WN;2233;BWI;TPA                        -                      -                         -    -           133861354@AIRLINE.KIWI.COM
W29WJG            12/26/2020   OB   12/26/2020   WN;2233;BWI;TPA                        -                      -                         -    -           133861354@AIRLINE.KIWI.COM
W2LDLM            12/26/2020   OB   12/26/2020   WN;2233;BWI;TPA                        -                      -                         -    -           133861354@AIRLINE.KIWI.COM
W3QYMF            12/26/2020   OB   12/26/2020   WN;1716;BWI;TPA                        -                      -                         -    -           133448909@AIRLINE.KIWI.COM
22E4YE            12/27/2020   OB   12/30/2020   WN;501;DEN;OAK;WN;784;OAK;OGG          PORT JENNIFER          AZ                        US       41595   133919720@AIRLINE.KIWI.COM
22HF48            12/27/2020   OB   12/29/2020   WN;6889;DTW;BNA;WN;561;BNA;ATL         TUCKERBURGH            AR                        US       73170   133919940@AIRLINE.KIWI.COM
22TVCC            12/27/2020   OB   12/27/2020   WN;5028;SLC;LAX                        JOHNSONBERG            GA                        US       11042   133920864@AIRLINE.KIWI.COM
22TVCC            12/27/2020   OB   12/27/2020   WN;5028;SLC;LAX                        JOHNSONBERG            GA                        US       11042   133920864@AIRLINE.KIWI.COM
22Y5V5            12/27/2020   OB    1/11/2021   WN;2809;MCO;BNA;WN;2809;BNA;LAX        PORT EVELYN            KS                        US       67964   133920446@AIRLINE.KIWI.COM
23JBYG            12/27/2020   OB   12/27/2020   WN;4418;OKC;MDW                        AADILAABAAD            RAJASTHAN                 IN       25247   133922283@AIRLINE.KIWI.COM
246PE8            12/27/2020   OB   12/29/2020   WN;933;DTW;BWI;WN;299;BWI;ATL          PORT ANTHONY           TX                        US        2426   133923823@AIRLINE.KIWI.COM
24LHJ6            12/27/2020   OB   12/31/2020   WN;4217;MSY;BNA                        WEST LEAHPORT          MD                        US        6068   133924835@AIRLINE.KIWI.COM
2536U6            12/27/2020   OB   12/27/2020   WN;2646;DAL;LAS                        NEW MELINDA            UT                        US       80096   133925550@AIRLINE.KIWI.COM
25I7NQ            12/27/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;352;BWI;MDW          NORTH NATASHAMOUTH     CA                        US       25640   133926584@AIRLINE.KIWI.COM
25I7NQ            12/27/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;352;BWI;MDW          NORTH NATASHAMOUTH     CA                        US       25640   133926584@AIRLINE.KIWI.COM
25I7NQ            12/27/2020   OB     1/5/2021   WN;660;MIA;BWI;WN;352;BWI;MDW          NORTH NATASHAMOUTH     CA                        US       25640   133926584@AIRLINE.KIWI.COM
25K4FG            12/27/2020   OB   12/27/2020   WN;4324;MSY;LAX                        LAKE LAUREN            PA                        US       43791   133926606@AIRLINE.KIWI.COM
25K4FG            12/27/2020   OB   12/27/2020   WN;4324;MSY;LAX                        LAKE LAUREN            PA                        US       43791   133926606@AIRLINE.KIWI.COM
269JET            12/27/2020   OB     1/3/2021   WN;2227;DEN;LAS;WN;4023;LAS;LAX        G CHEBOKSARY           KALININGRADSKAYA OBLAST   RU       16597   133927992@AIRLINE.KIWI.COM
26EYC7            12/27/2020   OB     2/8/2021   WN;1978;STL;RSW                        LAKE SHANNONBURGH      WV                        US       75765   133928366@AIRLINE.KIWI.COM
26FG5K            12/27/2020   OB     2/5/2021   WN;6250;RSW;STL                        REBECCAVILLE           TN                        US       99789   133928366@AIRLINE.KIWI.COM
26HEPN            12/27/2020   OB   12/29/2020   WN;1022;ATL;DEN                        CARDENASVILLE          IN                        US       39769   133928663@AIRLINE.KIWI.COM
26LEI4            12/27/2020   OB   12/29/2020   WN;622;DEN;PDX                         NEW LOUIS              NV                        US       91007   133928663@AIRLINE.KIWI.COM
26ZT5C            12/27/2020   OB   12/30/2020   WN;892;PHL;BNA;WN;1111;BNA;FLL         LAKE THEODORE          MO                        US       73000   133929378@AIRLINE.KIWI.COM
27HI7N            12/27/2020   OB   12/27/2020   WN;324;MIA;HOU                         LAKE MARK              ND                        US       68253   133930159@AIRLINE.KIWI.COM
27QHVL            12/27/2020   OB   12/28/2020   WN;3372;LGA;TPA                        LAKE WILLIAM           IL                        US       10134   133930841@AIRLINE.KIWI.COM
27SMOM            12/27/2020   OB   12/28/2020   WN;1503;SMF;SAN                        LITTLEBURGH            WI                        US       20039   133930797@AIRLINE.KIWI.COM
27SMOM            12/27/2020   OB   12/28/2020   WN;1503;SMF;SAN                        LITTLEBURGH            WI                        US       20039   133930797@AIRLINE.KIWI.COM
         284569   12/27/2020   OB     1/5/2021   WN;1421;MCO;BNA;WN;1171;BNA;DTW        MOTESICE               NITRIANSKY KRAJ           SK       73710   133931622@AIRLINE.KIWI.COM
288V4J            12/27/2020   OB     1/3/2021   WN;3087;LAS;OAK;WN;2550;OAK;SEA        WEBBBOROUGH            SD                        US       77592   133931776@AIRLINE.KIWI.COM
288V4J            12/27/2020   OB     1/3/2021   WN;3087;LAS;OAK;WN;2550;OAK;SEA        WEBBBOROUGH            SD                        US       77592   133931776@AIRLINE.KIWI.COM
288V4J            12/27/2020   OB     1/3/2021   WN;3087;LAS;OAK;WN;2550;OAK;SEA        WEBBBOROUGH            SD                        US       77592   133931776@AIRLINE.KIWI.COM




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28GLNC   12/27/2020   OB   12/28/2020   WN;1124;OAK;LAS                   NASICE                 LICKOSENJSKA ZUPANIJA   HR   95223   133932260@AIRLINE.KIWI.COM
28GLNC   12/27/2020   RT   12/28/2020   WN;1119;LAS;OAK                   NASICE                 LICKOSENJSKA ZUPANIJA   HR   95223   133932260@AIRLINE.KIWI.COM
28MHDN   12/27/2020   OB   12/29/2020   WN;1609;BWI;CUN                   PORT JESSICA           NH                      US   74521   133932524@AIRLINE.KIWI.COM
28PXV6   12/27/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   NORTH BRANDYLAND       CO                      US   10874   133932766@AIRLINE.KIWI.COM
29LZIO   12/27/2020   OB    1/25/2021   WN;474;OKC;MDW;WN;470;MDW;CLE     GARYSTAD               MI                      US   54141   133934746@AIRLINE.KIWI.COM
29WX9K   12/27/2020   OB   12/27/2020   WN;1609;BWI;CUN                   EAST LUKE              MO                      US   63345   133935527@AIRLINE.KIWI.COM
2AGM7V   12/27/2020   OB   12/29/2020   WN;773;DTW;BNA                    SHELBYFURT             NY                      US   41994   133936704@AIRLINE.KIWI.COM
2AMLFT   12/27/2020   OB   12/27/2020   WN;3806;BDL;MCO;WN;3192;MCO;FLL   SINGLETONVIEW          OK                      US   28758   133936858@AIRLINE.KIWI.COM
2BGCND   12/27/2020   OB   12/28/2020   WN;598;HOU;ATL;WN;598;ATL;IND     SCOTTSHIRE             KS                      US   59896   133939432@AIRLINE.KIWI.COM
2DGHXL   12/27/2020   OB     1/3/2021   WN;3732;BNA;DTW                   EAST JACQUELINEMOUTH   WY                      US   98882   133945053@AIRLINE.KIWI.COM
2DH7TA   12/27/2020   OB   12/27/2020   WN;4832;DTW;BNA                   KIMSTAD                ID                      US   56532   133945053@AIRLINE.KIWI.COM
2DR4A9   12/27/2020   OB   12/27/2020   WN;2100;DTW;DAL;WN;2427;DAL;ATL   NEW SUSANVILLE         WV                      US   27321   133946824@AIRLINE.KIWI.COM
2EA2VU   12/27/2020   OB     1/3/2021   WN;3399;CLE;HOU;WN;3399;HOU;LAX   LAKE SHANNON           PA                      US   25201   133948463@AIRLINE.KIWI.COM
2EJN7V   12/27/2020   OB   12/28/2020   WN;985;LGA;MDW;WN;1011;MDW;MIA    KLKH MOKSHAN           ORLOVSKAYA OBLAST       RU   67600   133948793@AIRLINE.KIWI.COM
2ENEC4   12/27/2020   OB   12/27/2020   WN;3965;HOU;BWI                   NEW KRISTINA           IN                      US   10463   133949255@AIRLINE.KIWI.COM
2EO98E   12/27/2020   OB   12/27/2020   WN;3929;ATL;SAT                   SOUTH DAVID            NJ                      US   76512   133949497@AIRLINE.KIWI.COM
2EO98E   12/27/2020   OB   12/27/2020   WN;3929;ATL;SAT                   SOUTH DAVID            NJ                      US   76512   133949497@AIRLINE.KIWI.COM
2ERWVZ   12/27/2020   OB   12/27/2020   WN;4564;ATL;DAL                   GEORGEBOROUGH          ZEBBUG GHAWDEX          MT   70053   133950223@AIRLINE.KIWI.COM
2F7U8T   12/27/2020   OB   12/27/2020   WN;4018;LGA;MDW;WN;2802;MDW;FLL   SOUTH KAYLASHIRE       OR                      US   53513   133951488@AIRLINE.KIWI.COM
2FEO3H   12/27/2020   OB   12/27/2020   WN;3732;DTW;MDW;WN;4800;MDW;MEM   LOGANPORT              TASMAN DISTRICT         NZ   97569   133952049@AIRLINE.KIWI.COM
2FGRB2   12/27/2020   OB    1/18/2021   WN;352;ROC;BWI                    NORTH LISA             WV                      US   93467   133952302@AIRLINE.KIWI.COM
2FW7U2   12/27/2020   OB   12/27/2020   WN;4075;ATL;DEN;WN;4922;DEN;SAN   MARTINEZBERG           IN                      US   41008   133953776@AIRLINE.KIWI.COM
2IDX5E   12/27/2020   OB   12/28/2020   WN;933;DTW;BWI                    PORT JULIAFURT         WY                      US    5298   133963654@AIRLINE.KIWI.COM
2INQU3   12/27/2020   OB   12/28/2020   WN;1352;ATL;HOU;WN;661;HOU;MIA    EAST RYANCHESTER       AK                      US   56246   133964446@AIRLINE.KIWI.COM
2INQU3   12/27/2020   OB   12/28/2020   WN;1352;ATL;HOU;WN;661;HOU;MIA    EAST RYANCHESTER       AK                      US   56246   133964446@AIRLINE.KIWI.COM
2INQU3   12/27/2020   OB   12/28/2020   WN;1352;ATL;HOU;WN;661;HOU;MIA    EAST RYANCHESTER       AK                      US   56246   133964446@AIRLINE.KIWI.COM
2J6XDQ   12/27/2020   OB   12/28/2020   WN;155;ATL;LGA                    RIVERSHAVEN            WI                      US   80428   133967020@AIRLINE.KIWI.COM
2J832T   12/27/2020   OB   12/31/2020   WN;3902;MCI;BNA;WN;1966;BNA;ATL   WEST MARCUSSHIRE       MN                      US   91231   133967053@AIRLINE.KIWI.COM
2JDRHP   12/27/2020   OB   12/28/2020   WN;904;ATL;DEN;WN;416;DEN;SFO     SOUTH MARIAPORT        AK                      US    9414   133967768@AIRLINE.KIWI.COM
2JS8EB   12/27/2020   OB    1/16/2021   WN;6304;BNA;DCA                   NEW DIANA              OH                      US   58235   133968912@AIRLINE.KIWI.COM
2KYOH5   12/27/2020   OB     1/7/2021   WN;2685;CLE;BWI;WN;822;BWI;SJU    VIGILSIDE              NORTHWEST TERRITORIES   CA   49608   133973378@AIRLINE.KIWI.COM
2KYOH5   12/27/2020   OB     1/7/2021   WN;2685;CLE;BWI;WN;822;BWI;SJU    VIGILSIDE              NORTHWEST TERRITORIES   CA   49608   133973378@AIRLINE.KIWI.COM
2KYOH5   12/27/2020   OB     1/7/2021   WN;2685;CLE;BWI;WN;822;BWI;SJU    VIGILSIDE              NORTHWEST TERRITORIES   CA   49608   133973378@AIRLINE.KIWI.COM
2KYQWV   12/27/2020   OB    2/11/2021   WN;4836;SEA;OAK                   LAKE KIMBERLYVILLE     IA                      US   87818   133973444@AIRLINE.KIWI.COM
2L7V5L   12/27/2020   OB     1/3/2021   WN;26;IND;BWI;WN;3598;BWI;RDU     WEST JONATHANFORT      UT                      US   75383   133973939@AIRLINE.KIWI.COM
2LABD5   12/27/2020   OB   12/31/2020   WN;3787;LGA;BNA;WN;3203;BNA;FLL   CHRISTINEBOROUGH       AK                      US   68603   133974687@AIRLINE.KIWI.COM
2LABD5   12/27/2020   RT     1/4/2021   WN;551;FLL;TPA;WN;4443;TPA;LGA    CHRISTINEBOROUGH       AK                      US   68603   133974687@AIRLINE.KIWI.COM
2M7PQ4   12/27/2020   OB    1/14/2021   WN;3749;LAX;MDW;WN;4294;MDW;PIT   MARTINCHESTER          WI                      US    4619   133977316@AIRLINE.KIWI.COM
2MC527   12/27/2020   OB   12/29/2020   WN;985;LGA;MDW;WN;1011;MDW;MIA    LAKE JEFFREYBERG       WY                      US   90591   133978130@AIRLINE.KIWI.COM
2MPIAR   12/27/2020   OB   12/28/2020   WN;516;SMF;HOU;WN;1056;HOU;MIA    BOONELAND              ME                      US   78489   133979230@AIRLINE.KIWI.COM
2N3ZWT   12/27/2020   OB   12/28/2020   WN;282;SAN;LAS;WN;574;LAS;AMA     PINEDAFORT             WI                      US   21105   133979967@AIRLINE.KIWI.COM
2N7MDK   12/27/2020   OB   12/30/2020   WN;14;MDW;HOU                     PORT GARYHAVEN         MT                      US   54982   133980561@AIRLINE.KIWI.COM
2N7MDK   12/27/2020   OB   12/30/2020   WN;14;MDW;HOU                     PORT GARYHAVEN         MT                      US   54982   133980561@AIRLINE.KIWI.COM
2N7MDK   12/27/2020   RT     1/3/2021   WN;3669;HOU;STL;WN;6689;STL;MDW   PORT GARYHAVEN         MT                      US   54982   133980561@AIRLINE.KIWI.COM
2N7MDK   12/27/2020   RT     1/3/2021   WN;3669;HOU;STL;WN;6689;STL;MDW   PORT GARYHAVEN         MT                      US   54982   133980561@AIRLINE.KIWI.COM
2NAD5I   12/27/2020   OB     1/5/2021   WN;2888;DEN;MCI                   CLERCSURPINTO          ARIEGE                  FR   60490   133980803@AIRLINE.KIWI.COM
2NF6HG   12/27/2020   OB   12/28/2020   WN;1352;ATL;HOU;WN;661;HOU;MIA    DASTAKERT              ARAGACOTN               AM   10626   133980726@AIRLINE.KIWI.COM
2NFN7H   12/27/2020   OB     1/5/2021   WN;1057;MIA;HOU;WN;1352;HOU;DEN   PERRETBOEUF            RHONE                   FR   84264   133980803@AIRLINE.KIWI.COM
2NH526   12/27/2020   OB     1/5/2021   WN;1057;MIA;HOU;WN;1352;HOU;DEN   ZARAGOZA               ALICANTE                ES   46971   133980990@AIRLINE.KIWI.COM
4YY38G   12/27/2020   OB   12/27/2020   WN;3538;ATL;DAL;WN;4685;DAL;AMA   DAMONVILLE             IL                      US   86320   133917080@AIRLINE.KIWI.COM
4Z4P8E   12/27/2020   OB   12/27/2020   WN;2715;RIC;ATL                   WEST DAVID             ND                      US   92981   133917168@AIRLINE.KIWI.COM
4ZQFUX   12/27/2020   OB    1/16/2021   WN;1487;SMF;HNL                   REYESSIDE              SC                      US   87525   133918488@AIRLINE.KIWI.COM
4ZW8MW   12/27/2020   OB   12/27/2020   WN;2350;ATL;FLL                   EAST CODY              CA                      US   49379   133919148@AIRLINE.KIWI.COM
2NUBPX   12/28/2020   OB   12/28/2020   WN;1352;ATL;HOU;WN;661;HOU;MIA    EAST LOUIS             MD                      US   53084   133981903@AIRLINE.KIWI.COM
2O2Y3X   12/28/2020   OB   12/30/2020   WN;410;SAN;DAL;WN;992;DAL;FLL     RICHARDVILLE           UT                      US     550   133982398@AIRLINE.KIWI.COM
2OWZ8V   12/28/2020   OB     1/3/2021   WN;3270;RSW;BWI;WN;2086;BWI;MKE   PORT KATIE             MN                      US   14855   133984257@AIRLINE.KIWI.COM
2OY5MW   12/28/2020   OB   12/28/2020   WN;598;HOU;ATL                    WEST ALEX              NV                      US   13546   133984444@AIRLINE.KIWI.COM
2P8FEH   12/28/2020   OB   12/28/2020   WN;1164;OMA;DEN;WN;340;DEN;OKC    TIMOTHYMOUTH           KY                      US   93633   133984873@AIRLINE.KIWI.COM
2PGADD   12/28/2020   OB     1/3/2021   WN;3669;HOU;STL;WN;6689;STL;MDW   PITTSSTAD              OR                      US   88257   133985500@AIRLINE.KIWI.COM
2PQVYC   12/28/2020   OB    1/10/2021   WN;2651;LAX;DEN;WN;2850;DEN;PHL   NORTH BENJAMINPORT     ND                      US   60144   133986006@AIRLINE.KIWI.COM
2PV72H   12/28/2020   OB    1/10/2021   WN;2651;LAX;DEN;WN;2850;DEN;PHL   NORTH ASHLEYFORT       CA                      US   36554   133986237@AIRLINE.KIWI.COM
2Q4NCO   12/28/2020   OB   12/31/2020   WN;3787;LGA;BNA;WN;3959;BNA;ATL   GREENPORT              NV                      US   33833   133986677@AIRLINE.KIWI.COM
2Q75I8   12/28/2020   OB    1/10/2021   WN;2651;LAX;DEN;WN;2850;DEN;PHL   SOUTH RYAN             NE                      US   14552   133986941@AIRLINE.KIWI.COM
2QKNN3   12/28/2020   OB   12/29/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   NEW AMANDA             OH                      US   12314   133987700@AIRLINE.KIWI.COM
2QNHEZ   12/28/2020   OB   12/28/2020   WN;999;MDW;FLL                    STEVENVILLE            NC                      US    8837   133988063@AIRLINE.KIWI.COM
2QXETD   12/28/2020   OB   12/30/2020   WN;435;DAL;LAX;WN;435;LAX;LAS     BRANDYTOWN             VT                      US   87992   133988459@AIRLINE.KIWI.COM
2R6XU8   12/28/2020   OB    4/15/2021   WN;3292;RDU;DAL;WN;142;DAL;AUS    BENNETTHAVEN           MO                      US   99189   133989108@AIRLINE.KIWI.COM
2R7DII   12/28/2020   OB     3/2/2021   WN;1148;HNL;OAK;WN;1148;OAK;LAX   PORT JOSHUA            AZ                      US   25750   133988899@AIRLINE.KIWI.COM
2R9O6K   12/28/2020   OB   12/29/2020   WN;802;LAS;BWI;WN;102;BWI;MIA     GUERREROBERG           MANITOBA                CA   68234   133989163@AIRLINE.KIWI.COM
2R9O6K   12/28/2020   OB   12/29/2020   WN;802;LAS;BWI;WN;102;BWI;MIA     GUERREROBERG           MANITOBA                CA   68234   133989163@AIRLINE.KIWI.COM
2RKQQA   12/28/2020   OB     1/5/2021   WN;1007;FLL;BNA;WN;247;BNA;MDW    GARRETTHAVEN           AZ ZARQA                JO   79363   133989614@AIRLINE.KIWI.COM
2RKQQA   12/28/2020   OB     1/5/2021   WN;1007;FLL;BNA;WN;247;BNA;MDW    GARRETTHAVEN           AZ ZARQA                JO   79363   133989614@AIRLINE.KIWI.COM
2S83P8   12/28/2020   OB   12/29/2020   WN;244;BWI;ATL                    HOLLYSTAD              HI                      US   41980   133991198@AIRLINE.KIWI.COM
2S83P8   12/28/2020   OB   12/29/2020   WN;244;BWI;ATL                    HOLLYSTAD              HI                      US   41980   133991198@AIRLINE.KIWI.COM
2SA5YP   12/28/2020   OB     1/3/2021   WN;6865;HOU;AUS;WN;4330;AUS;OAK   LEONARDPORT            MT                      US   30845   133991275@AIRLINE.KIWI.COM
2SETKS   12/28/2020   OB   12/28/2020   WN;1520;BNA;AUS                   BENNETTPORT            WY                      US   63735   133991572@AIRLINE.KIWI.COM
2T2XH7   12/28/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   NEW SHARON             UT                      US   65659   133992914@AIRLINE.KIWI.COM
2T3UJZ   12/28/2020   OB   12/28/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   SOUTH MICHAEL          SC                      US   57886   133992914@AIRLINE.KIWI.COM
2UGH66   12/28/2020   OB   12/28/2020   WN;517;MKE;STL                    SOUTH AMY              LA                      US   23053   133995488@AIRLINE.KIWI.COM
2V7OHS   12/28/2020   OB   12/29/2020   WN;6236;PHX;MKE                   GAVINFURT              OK                      US   88791   133997193@AIRLINE.KIWI.COM
2VMJMF   12/28/2020   OB   12/28/2020   WN;6889;DTW;BNA;WN;561;BNA;ATL    SOUTH JEREMYBERG       DE                      US   49549   133999338@AIRLINE.KIWI.COM
2WBXGT   12/28/2020   OB   12/28/2020   WN;2285;CLE;BNA;WN;1414;BNA;PNS   OWENSTOWN              FL                      US   34567   134000889@AIRLINE.KIWI.COM
2WNAIO   12/28/2020   OB   12/31/2020   WN;2016;ATL;BWI;WN;102;BWI;MIA    MICHAELFURT            MD                      US   47144   134001912@AIRLINE.KIWI.COM
2ZYO6D   12/28/2020   OB     1/2/2021   WN;2249;MCO;BWI;WN;2354;BWI;ATL   TORRESSIDE             IA                      US   50400   134015717@AIRLINE.KIWI.COM
33853A   12/28/2020   OB     1/2/2021   WN;1929;FLL;BWI;WN;2225;BWI;BOS   ALISONTON              MN                      US    5594   134020128@AIRLINE.KIWI.COM
33853A   12/28/2020   OB     1/2/2021   WN;1929;FLL;BWI;WN;2225;BWI;BOS   ALISONTON              MN                      US    5594   134020128@AIRLINE.KIWI.COM
33853A   12/28/2020   OB     1/2/2021   WN;1929;FLL;BWI;WN;2225;BWI;BOS   ALISONTON              MN                      US    5594   134020128@AIRLINE.KIWI.COM
33EMGE   12/28/2020   OB     1/1/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL   GAGRA                  SHIDA KARTLI            GE   94252   134020832@AIRLINE.KIWI.COM
33HWUX   12/28/2020   OB    1/24/2021   WN;6002;TPA;AUS                   SOUTH SARALAND         GA                      US   27750   134021052@AIRLINE.KIWI.COM
33SONK   12/28/2020   OB     1/2/2021   WN;2321;PHX;DEN                   EAST DANIELTON         NY                      US   83556   134022625@AIRLINE.KIWI.COM
3466K2   12/28/2020   OB   12/28/2020   WN;837;ATL;BNA;WN;1414;BNA;PNS    HUFFMANBOROUGH         CT                      US   51898   134024693@AIRLINE.KIWI.COM
34AQLC   12/28/2020   OB   12/29/2020   WN;232;MCO;DEN;WN;511;DEN;OAK     KIMBERLYLAND           RI                      US   98816   134024594@AIRLINE.KIWI.COM
35GJAT   12/28/2020   OB   12/29/2020   WN;1540;ORF;BWI;WN;220;BWI;CLE    JACKSONSIDE            KY                      US    2689   134030215@AIRLINE.KIWI.COM
35LDT5   12/28/2020   OB     1/3/2021   WN;1847;ATL;LGA                   VINCENTFORT            RI                      US   78384   134031304@AIRLINE.KIWI.COM
35N7N6   12/28/2020   OB   12/28/2020   WN;1008;ATL;BWI                   RYANPORT               LA                      US   31569   134031601@AIRLINE.KIWI.COM
35SKLG   12/28/2020   OB   12/28/2020   WN;467;ATL;FLL                    LAKE WILLIAM           ME                      US   91724   134032613@AIRLINE.KIWI.COM
363WEU   12/28/2020   OB   12/28/2020   WN;1352;ATL;HOU                   EAST RYANCHESTER       AK                      US   56246   133964446@AIRLINE.KIWI.COM
36K8DX   12/28/2020   OB   12/31/2020   WN;2978;BOS;BWI;WN;3984;BWI;FLL   NORTH RACHEL           ID                      US   77130   134036221@AIRLINE.KIWI.COM
36R8ZY   12/28/2020   OB   12/31/2020   WN;4973;SAT;BNA;WN;4973;BNA;DCA   MALAGA                 MADRID                  ES    7012   134036969@AIRLINE.KIWI.COM
36R8ZY   12/28/2020   RT     1/6/2021   WN;455;DCA;ATL;WN;455;ATL;SAT     MALAGA                 MADRID                  ES    7012   134036969@AIRLINE.KIWI.COM
36TVYS   12/28/2020   OB   12/30/2020   WN;1221;SJC;DEN;WN;6990;DEN;SAT   NUEVA PANAMA           COAHUILA DE ZARAGOZA    MX   12758   134037981@AIRLINE.KIWI.COM
36XKPC   12/28/2020   OB   12/30/2020   WN;6831;AUS;PHX;WN;1298;PHX;PVR   ZACHARYLAND            TN                      US    8970   134038718@AIRLINE.KIWI.COM
36XKPC   12/28/2020   OB   12/30/2020   WN;6831;AUS;PHX;WN;1298;PHX;PVR   ZACHARYLAND            TN                      US    8970   134038718@AIRLINE.KIWI.COM
37F88O   12/28/2020   OB     1/9/2021   WN;6052;SAT;TPA;WN;5065;TPA;SJU   EAST DAVIDBOROUGH      OK                      US   69177   134040445@AIRLINE.KIWI.COM
37HCKC   12/28/2020   OB   12/30/2020   WN;3372;LGA;TPA;WN;1061;TPA;MIA   PORT BRIANTON          MN                      US   87237   134040390@AIRLINE.KIWI.COM
37HE97   12/28/2020   OB   12/30/2020   WN;1242;FLL;BWI;WN;528;BWI;LAS    SOUTH TROYMOUTH        MD                      US   55772   134040665@AIRLINE.KIWI.COM
38LTVF   12/28/2020   OB   12/29/2020   WN;758;RDU;BNA;WN;1123;BNA;STL    PEPRBORDDS             AE                      US   30984   134040621@AIRLINE.KIWI.COM




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38O9G2   12/28/2020   OB   12/30/2020   WN;1033;SAN;AUS;WN;1033;AUS;DAL        SOUTH MICHAEL          GA                         US   78048   134046979@AIRLINE.KIWI.COM
38VXDQ   12/28/2020   OB    1/10/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS        RICHARDVILLE           MN                         US   53207   134047804@AIRLINE.KIWI.COM
38WM8A   12/28/2020   OB    1/18/2021   WN;4820;DEN;LIT                        SHANNONVIEW            NC                         US   16329   134035143@AIRLINE.KIWI.COM
393AY2   12/28/2020   OB    1/10/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS        WEST TAYLORVILLE       MI                         US    1360   134048112@AIRLINE.KIWI.COM
396QCW   12/28/2020   OB   12/29/2020   WN;1326;SMF;LAX                        P ADLER                UDMURTSKAYA RESPUBLIKA     RU   88054   134048596@AIRLINE.KIWI.COM
39D94G   12/28/2020   OB     1/4/2021   WN;154;ATL;LGA                         WEST JOSHUA            AK                         US    1721   134050312@AIRLINE.KIWI.COM
39GGZN   12/28/2020   MD    1/10/2021   WN;332;MIA;BWI                         ST NIZHNII NOVGOROD    KHAKASIYA RESPUBLIKA       RU   63744   134050345@AIRLINE.KIWI.COM
39GGZN   12/28/2020   MD    1/10/2021   WN;332;MIA;BWI                         ST NIZHNII NOVGOROD    KHAKASIYA RESPUBLIKA       RU   63744   134050345@AIRLINE.KIWI.COM
39GGZN   12/28/2020   OB     1/4/2021   WN;1025;BUF;BWI;WN;324;BWI;MIA         ST NIZHNII NOVGOROD    KHAKASIYA RESPUBLIKA       RU   63744   134050345@AIRLINE.KIWI.COM
39GGZN   12/28/2020   OB     1/4/2021   WN;1025;BUF;BWI;WN;324;BWI;MIA         ST NIZHNII NOVGOROD    KHAKASIYA RESPUBLIKA       RU   63744   134050345@AIRLINE.KIWI.COM
39GGZN   12/28/2020   RT    1/11/2021   WN;2728;BWI;BUF                        ST NIZHNII NOVGOROD    KHAKASIYA RESPUBLIKA       RU   63744   134050345@AIRLINE.KIWI.COM
39GGZN   12/28/2020   RT    1/11/2021   WN;2728;BWI;BUF                        ST NIZHNII NOVGOROD    KHAKASIYA RESPUBLIKA       RU   63744   134050345@AIRLINE.KIWI.COM
3A85OS   12/28/2020   OB   12/29/2020   WN;536;DTW;BWI;WN;837;BWI;ATL          BROWNFURT              NV                         US   13322   134052996@AIRLINE.KIWI.COM
3A85OS   12/28/2020   OB   12/29/2020   WN;536;DTW;BWI;WN;837;BWI;ATL          BROWNFURT              NV                         US   13322   134052996@AIRLINE.KIWI.COM
3AEIHJ   12/28/2020   OB   12/29/2020   WN;1181;LGA;ATL                        NEW MELANIE            RI                         US   17191   134053766@AIRLINE.KIWI.COM
3AHGUU   12/28/2020   OB   12/30/2020   WN;970;MSP;LAS                         ANTHONYMOUTH           MO                         US   32409   134054415@AIRLINE.KIWI.COM
3AHGUU   12/28/2020   OB   12/30/2020   WN;970;MSP;LAS                         ANTHONYMOUTH           MO                         US   32409   134054415@AIRLINE.KIWI.COM
3AHGUU   12/28/2020   RT     1/3/2021   WN;1783;LAS;STL;WN;1970;STL;MSP        ANTHONYMOUTH           MO                         US   32409   134054415@AIRLINE.KIWI.COM
3AHGUU   12/28/2020   RT     1/3/2021   WN;1783;LAS;STL;WN;1970;STL;MSP        ANTHONYMOUTH           MO                         US   32409   134054415@AIRLINE.KIWI.COM
3AHSEQ   12/28/2020   OB     2/9/2021   WN;590;HNL;OGG                         DUGO SELO              BRODSKOPOSAVSKA ZUPANIJA   HR   61364   134054030@AIRLINE.KIWI.COM
3AHSEQ   12/28/2020   OB     2/9/2021   WN;590;HNL;OGG                         DUGO SELO              BRODSKOPOSAVSKA ZUPANIJA   HR   61364   134054030@AIRLINE.KIWI.COM
3AHSEQ   12/28/2020   OB     2/9/2021   WN;590;HNL;OGG                         DUGO SELO              BRODSKOPOSAVSKA ZUPANIJA   HR   61364   134054030@AIRLINE.KIWI.COM
3ASL7N   12/28/2020   OB    1/18/2021   WN;966;SLC;OAK;WN;784;OAK;OGG          SOUTH BEVERLY          AK                         US   75355   134055075@AIRLINE.KIWI.COM
3ASL7N   12/28/2020   OB    1/18/2021   WN;966;SLC;OAK;WN;784;OAK;OGG          SOUTH BEVERLY          AK                         US   75355   134055075@AIRLINE.KIWI.COM
3ASL7N   12/28/2020   OB    1/18/2021   WN;966;SLC;OAK;WN;784;OAK;OGG          SOUTH BEVERLY          AK                         US   75355   134055075@AIRLINE.KIWI.COM
3ATBSZ   12/28/2020   OB     1/7/2021   WN;3737;LAX;LAS                        EAST RYAN              AL                         US   87971   134054943@AIRLINE.KIWI.COM
3AXV37   12/28/2020   OB   12/29/2020   WN;536;DTW;BWI;WN;837;BWI;ATL          WEST LISABURGH         ND                         US   47506   134055559@AIRLINE.KIWI.COM
3B7228   12/28/2020   OB   12/31/2020   WN;1900;SEA;SMF;WN;4873;SMF;LAS        AMRPUR                 ARUNACHAL PRADESH          IN   48017   134055856@AIRLINE.KIWI.COM
3BALVI   12/28/2020   OB     1/4/2021   WN;1060;MIA;TPA;WN;1558;TPA;LAS        HUDSONSTAD             VA                         US    1262   134056582@AIRLINE.KIWI.COM
3BS6P5   12/28/2020   OB   12/29/2020   WN;933;DTW;BWI;WN;299;BWI;ATL          MORGANCHESTER          RI                         US   85677   134057836@AIRLINE.KIWI.COM
3BXWWV   12/28/2020   OB   12/31/2020   WN;4724;PVD;BWI;WN;2604;BWI;DAL        JENNIFERVIEW           KS                         US   43057   134058254@AIRLINE.KIWI.COM
3C5D7Y   12/28/2020   OB    3/29/2021   WN;249;LAS;MSP                         WEST MONICAPORT        SC                         US   96178   134058837@AIRLINE.KIWI.COM
3C9KJM   12/28/2020   OB   12/30/2020   WN;970;MSP;LAS                         JUANBURGH              HI                         US   54490   134059013@AIRLINE.KIWI.COM
3C9KJM   12/28/2020   OB   12/30/2020   WN;970;MSP;LAS                         JUANBURGH              HI                         US   54490   134059013@AIRLINE.KIWI.COM
3C9KJM   12/28/2020   RT     1/3/2021   WN;1783;LAS;STL;WN;1970;STL;MSP        JUANBURGH              HI                         US   54490   134059013@AIRLINE.KIWI.COM
3C9KJM   12/28/2020   RT     1/3/2021   WN;1783;LAS;STL;WN;1970;STL;MSP        JUANBURGH              HI                         US   54490   134059013@AIRLINE.KIWI.COM
NNWG8P   12/28/2020   OB   12/20/2020   WN;394;FLL;ATL                         WALKERMOUTH            AL                         US   94211   129811352@AIRLINE.KIWI.COM
NNWG8P   12/28/2020   RT   12/30/2020   WN;551;ATL;FLL                         WALKERMOUTH            AL                         US   94211   129811352@AIRLINE.KIWI.COM
3CMXGV   12/29/2020   OB   12/31/2020   WN;3587;DTW;BNA;WN;2437;BNA;AUS        STEWARTSHIRE           TN                         US   68030   134059849@AIRLINE.KIWI.COM
3CMXGV   12/29/2020   OB   12/31/2020   WN;3587;DTW;BNA;WN;2437;BNA;AUS        STEWARTSHIRE           TN                         US   68030   134059849@AIRLINE.KIWI.COM
3CY9MW   12/29/2020   OB     1/2/2021   WN;1932;FLL;DEN;WN;1619;DEN;SFO        THOMASLAND             PA                         US   57784   134060993@AIRLINE.KIWI.COM
3CY9MW   12/29/2020   OB     1/2/2021   WN;1932;FLL;DEN;WN;1619;DEN;SFO        THOMASLAND             PA                         US   57784   134060993@AIRLINE.KIWI.COM
3CY9MW   12/29/2020   OB     1/2/2021   WN;1932;FLL;DEN;WN;1619;DEN;SFO        THOMASLAND             PA                         US   57784   134060993@AIRLINE.KIWI.COM
3D8YMF   12/29/2020   OB     2/1/2021   WN;218;MDW;CUN                         PORT ELIZABETH         HI                         US    6371   134062346@AIRLINE.KIWI.COM
3D8YMF   12/29/2020   OB     2/1/2021   WN;218;MDW;CUN                         PORT ELIZABETH         HI                         US    6371   134062346@AIRLINE.KIWI.COM
3DZARH   12/29/2020   OB     1/4/2021   WN;1060;MIA;TPA;WN;1558;TPA;LAS        RAYFORT                VT                         US   22063   134064271@AIRLINE.KIWI.COM
3EP952   12/29/2020   OB     1/3/2021   WN;3437;LAS;SNA;WN;1746;SNA;BNA        EAST JEREMY            OR                         US   40662   134065382@AIRLINE.KIWI.COM
3FA497   12/29/2020   OB    1/16/2021   WN;4070;SAN;SMF                        LAKE MEGANBURY         SC                         US   39413   134066812@AIRLINE.KIWI.COM
3FBTLH   12/29/2020   OB   12/29/2020   WN;551;ATL;FLL                         JERRYBURY              UT                         US   14068   134066680@AIRLINE.KIWI.COM
3FCCTV   12/29/2020   OB   12/30/2020   WN;755;OAK;SAN;WN;1468;SAN;LAS         NEW JOHNTON            NH                         US   17999   134067087@AIRLINE.KIWI.COM
3FCCTV   12/29/2020   OB   12/30/2020   WN;755;OAK;SAN;WN;1468;SAN;LAS         NEW JOHNTON            NH                         US   17999   134067087@AIRLINE.KIWI.COM
3FCCTV   12/29/2020   OB   12/30/2020   WN;755;OAK;SAN;WN;1468;SAN;LAS         NEW JOHNTON            NH                         US   17999   134067087@AIRLINE.KIWI.COM
3FDFGC   12/29/2020   OB    1/21/2021   WN;1900;SEA;SMF                        NORTH DANIEL           CO                         US   61892   134067164@AIRLINE.KIWI.COM
3FDQKD   12/29/2020   OB     1/6/2021   WN;1232;LAS;SAN                        KWIDZYN                WIELKOPOLSKIE              PL   95776   134067252@AIRLINE.KIWI.COM
3FR6J5   12/29/2020   OB     1/3/2021   WN;4636;DEN;SJC;WN;4972;SJC;SEA        DIXONVIEW              ID                         US   91147   134068286@AIRLINE.KIWI.COM
3FR6J5   12/29/2020   OB     1/3/2021   WN;4636;DEN;SJC;WN;4972;SJC;SEA        DIXONVIEW              ID                         US   91147   134068286@AIRLINE.KIWI.COM
3FULBI   12/29/2020   OB   12/29/2020   WN;403;ATL;BNA;WN;1050;BNA;PNS         ALLENTON               WA                         US    8023   134068264@AIRLINE.KIWI.COM
3FULBI   12/29/2020   RT     1/3/2021   WN;4428;PNS;BNA;WN;4467;BNA;ATL        ALLENTON               WA                         US    8023   134068264@AIRLINE.KIWI.COM
3GJUXO   12/29/2020   OB   12/30/2020   WN;1101;DAL;SAN;WN;1101;SAN;SLC        CHARLESBERG            ID                         US   33589   134070321@AIRLINE.KIWI.COM
3GJUXO   12/29/2020   OB   12/30/2020   WN;1101;DAL;SAN;WN;1101;SAN;SLC        CHARLESBERG            ID                         US   33589   134070321@AIRLINE.KIWI.COM
3GJUXO   12/29/2020   OB   12/30/2020   WN;1101;DAL;SAN;WN;1101;SAN;SLC        CHARLESBERG            ID                         US   33589   134070321@AIRLINE.KIWI.COM
3GJUXO   12/29/2020   OB   12/30/2020   WN;1101;DAL;SAN;WN;1101;SAN;SLC        CHARLESBERG            ID                         US   33589   134070321@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GST9F   12/29/2020   OB   12/31/2020   WN;1966;ATL;DEN                        NUEVA CONGO            AGUASCALIENTES             MX   69091   134066757@AIRLINE.KIWI.COM
3GXZX7   12/29/2020   OB   12/31/2020   WN;2540;MCO;ATL                        TAMMYSHIRE             AP                         US   68769   134061235@AIRLINE.KIWI.COM
3HRAUJ   12/29/2020   OB   12/29/2020   WN;2105;OAK;LAS                        WEST JONATHAN          CA                         US   88518   134072620@AIRLINE.KIWI.COM
3IVY6S   12/29/2020   OB   12/29/2020   WN;1219;PHX;HOU;WN;2523;HOU;FLL        PORT EUSEBIU           VASLUI                     RO    3333   134075216@AIRLINE.KIWI.COM
3JDMJ5   12/29/2020   OB   12/31/2020   WN;2346;BOS;MDW;WN;2863;MDW;FLL        RASMUSSENBOROUGH       SYDDANMARK                 DK   21681   134075876@AIRLINE.KIWI.COM
3JVBUS   12/29/2020   OB   12/31/2020   WN;824;LAX;SJC;WN;3278;SJC;LAS         WEST PATRICIA          NH                         US   20531   134077383@AIRLINE.KIWI.COM
3K9MJQ   12/29/2020   OB   12/29/2020   WN;3336;IND;MCO;WN;397;MCO;AUS         LAURAFORT              NH                         US   76136   134078307@AIRLINE.KIWI.COM
3OD9DO   12/29/2020   OB     1/2/2021   WN;2215;MIA;TPA;WN;1852;TPA;ATL        CLEMENTSMOUTH          SD                         US   74423   134092772@AIRLINE.KIWI.COM
3PWR9E   12/29/2020   OB   12/31/2020   WN;2647;IND;PHX;WN;4666;PHX;AUS        MATHISBURGH            MO                         US   48631   134099834@AIRLINE.KIWI.COM
3QDCD4   12/29/2020   OB   12/29/2020   WN;566;DTW;DEN;WN;281;DEN;TUL          KENNETHSHIRE           CO                         US   36205   134102353@AIRLINE.KIWI.COM
3QMGL3   12/29/2020   OB   12/30/2020   WN;1022;CMH;DAL;WN;1022;DAL;ATL        DARLENETON             VA                         US   61210   134103695@AIRLINE.KIWI.COM
3QMGL3   12/29/2020   OB   12/30/2020   WN;1022;CMH;DAL;WN;1022;DAL;ATL        DARLENETON             VA                         US   61210   134103695@AIRLINE.KIWI.COM
3QMGL3   12/29/2020   OB   12/30/2020   WN;1022;CMH;DAL;WN;1022;DAL;ATL        DARLENETON             VA                         US   61210   134103695@AIRLINE.KIWI.COM
3QMGL3   12/29/2020   RT     1/2/2021   WN;1799;ATL;CMH                        DARLENETON             VA                         US   61210   134103695@AIRLINE.KIWI.COM
3QMGL3   12/29/2020   RT     1/2/2021   WN;1799;ATL;CMH                        DARLENETON             VA                         US   61210   134103695@AIRLINE.KIWI.COM
3QMGL3   12/29/2020   RT     1/2/2021   WN;1799;ATL;CMH                        DARLENETON             VA                         US   61210   134103695@AIRLINE.KIWI.COM
3R4W6G   12/29/2020   OB    1/20/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS        BARRONTOWN             WI                         US   48748   134105642@AIRLINE.KIWI.COM
3RVWMT   12/29/2020   OB    4/11/2021   WN;1538;MCO;MDW;WN;488;MDW;LAX         SOUTH CHRISTOPHERBUR   UT                         US   29193   134109723@AIRLINE.KIWI.COM
3RZBY4   12/29/2020   OB    4/11/2021   WN;1538;MCO;MDW;WN;488;MDW;LAX         ROJASHAVEN             AR                         US   47077   134109723@AIRLINE.KIWI.COM
3RZONL   12/29/2020   OB    1/15/2021   WN;2411;BWI;ATL                        SAMPSONLAND            VT                         US   57187   134109866@AIRLINE.KIWI.COM
3RZONL   12/29/2020   OB    1/15/2021   WN;2411;BWI;ATL                        SAMPSONLAND            VT                         US   57187   134109866@AIRLINE.KIWI.COM
3S29CY   12/29/2020   OB     1/2/2021   WN;1704;CVG;DEN;WN;2405;DEN;SFO        HARRINGTONSHIRE        MA                         US   36567   134109536@AIRLINE.KIWI.COM
3SBSTU   12/29/2020   OB   12/30/2020   WN;166;ATL;TPA;WN;1061;TPA;MIA         HORNEPORT              NH                         US    4981   134111483@AIRLINE.KIWI.COM
3SFKTU   12/29/2020   OB   12/30/2020   WN;166;ATL;TPA;WN;1061;TPA;MIA         WEST WILLIAMTOWN       OK                         US   30655   134111483@AIRLINE.KIWI.COM
3SPVJT   12/29/2020   OB    5/26/2021   WN;400;OKC;DEN;WN;3126;DEN;LAS         PORT KARLABURGH        SC                         US   77468   134113562@AIRLINE.KIWI.COM
3SPVJT   12/29/2020   OB    5/26/2021   WN;400;OKC;DEN;WN;3126;DEN;LAS         PORT KARLABURGH        SC                         US   77468   134113562@AIRLINE.KIWI.COM
3SVD8X   12/29/2020   OB   12/30/2020   WN;1540;ORF;BWI;WN;528;BWI;LAS         NORTH SARAHBERG        OH                         US   14977   134114915@AIRLINE.KIWI.COM
3SVD8X   12/29/2020   OB   12/30/2020   WN;1540;ORF;BWI;WN;528;BWI;LAS         NORTH SARAHBERG        OH                         US   14977   134114915@AIRLINE.KIWI.COM
3SVZO4   12/29/2020   OB     1/1/2021   WN;2606;DAL;TPA;WN;2606;TPA;DEN;WN;251 GERALDSHIRE            OH                         US   86994   134114893@AIRLINE.KIWI.COM
3SY5AB   12/29/2020   OB     1/3/2021   WN;4636;DEN;SJC;WN;4972;SJC;SEA        JUANSHIRE              AR                         US    6136   134114893@AIRLINE.KIWI.COM
3TBKU6   12/29/2020   OB   12/30/2020   WN;694;DEN;AUS                         MARYFURT               IL                         US   58264   134116312@AIRLINE.KIWI.COM
3UTV35   12/29/2020   OB   12/30/2020   WN;6856;PHL;ATL                        WEST DAVIDVIEW         OH                         US   83083   134124507@AIRLINE.KIWI.COM
3VCLMW   12/29/2020   OB   12/30/2020   WN;849;LGA;BNA;WN;831;BNA;ATL          NEW CINDYMOUTH         MS                         US   97185   134126872@AIRLINE.KIWI.COM
3VCLMW   12/29/2020   OB   12/30/2020   WN;849;LGA;BNA;WN;831;BNA;ATL          NEW CINDYMOUTH         MS                         US   97185   134126872@AIRLINE.KIWI.COM
3W4H4O   12/29/2020   OB   12/30/2020   WN;144;OKC;HOU;WN;358;HOU;FLL          SHERRYFURT             WY                         US   80405   134130733@AIRLINE.KIWI.COM
3W4ZMU   12/29/2020   OB   12/30/2020   WN;1225;PHL;ATL                        LAKE COLINFURT         CA                         US   21599   134130315@AIRLINE.KIWI.COM
3X2R5S   12/29/2020   OB   12/29/2020   WN;2610;OAK;PHX                        MICHAELHAVEN           NE                         US   86685   134134286@AIRLINE.KIWI.COM
3X7O8Q   12/29/2020   OB     1/3/2021   WN;1365;PHX;OAK                        FOXSIDE                AR                         US   14781   134134286@AIRLINE.KIWI.COM
3XH93H   12/29/2020   OB    7/16/2021   WN;898;ONT;LAS;WN;2621;LAS;ATL         NORTH MARISABOROUGH    IL                         US   37875   134135298@AIRLINE.KIWI.COM




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3XHJZ6   12/29/2020   OB     1/2/2021   WN;2451;MCO;AUS                   JOANNBERG              UT                   US   84078   134126399@AIRLINE.KIWI.COM
3XHJZ6   12/29/2020   OB     1/2/2021   WN;2451;MCO;AUS                   JOANNBERG              UT                   US   84078   134126399@AIRLINE.KIWI.COM
3XI7QL   12/29/2020   OB    1/10/2021   WN;5013;MIA;TPA;WN;5011;TPA;ATL   SARALAND               ME                   US   29838   134135760@AIRLINE.KIWI.COM
3XNTLQ   12/29/2020   OB    1/10/2021   WN;5013;MIA;TPA;WN;5011;TPA;ATL   EVANSLAND              SD                   US    4442   134135771@AIRLINE.KIWI.COM
3XPFZ3   12/29/2020   OB   12/30/2020   WN;802;LAX;LAS                    QUINNSTAD              OR                   US    3844   134135903@AIRLINE.KIWI.COM
3XX34T   12/29/2020   OB     1/5/2021   WN;931;MAF;HOU;WN;339;HOU;MSY     SOUTH DARLENE          KS                   US    4703   134136728@AIRLINE.KIWI.COM
3Y26IU   12/29/2020   OB   12/30/2020   WN;304;MEM;HOU                    KANETOWN               RI                   US   87594   134137344@AIRLINE.KIWI.COM
3YSOXH   12/29/2020   OB    3/21/2021   WN;942;ATL;BNA;WN;536;BNA;MCO     ANTHONYLAND            WY                   US   12520   134139456@AIRLINE.KIWI.COM
3YSOXH   12/29/2020   OB    3/21/2021   WN;942;ATL;BNA;WN;536;BNA;MCO     ANTHONYLAND            WY                   US   12520   134139456@AIRLINE.KIWI.COM
424YFY   12/30/2020   OB     1/2/2021   WN;23;DTW;BNA;WN;914;BNA;LGA      NORTH MICHAELSIDE      NH                   US   71353   134142470@AIRLINE.KIWI.COM
425FDI   12/30/2020   OB   12/30/2020   WN;1212;BOS;BNA                   NORTH NICOLEMOUTH      GA                   US   53631   134142129@AIRLINE.KIWI.COM
4295TE   12/30/2020   OB   12/31/2020   WN;3959;ATL;TPA;WN;4147;TPA;MIA   LAKE REBECCA           RI                   US   47355   134142613@AIRLINE.KIWI.COM
42FUMF   12/30/2020   OB     1/4/2021   WN;6890;SLC;DEN;WN;687;DEN;GEG    CHADBURGH              CA                   US   62542   134139577@AIRLINE.KIWI.COM
42FUMF   12/30/2020   OB     1/4/2021   WN;6890;SLC;DEN;WN;687;DEN;GEG    CHADBURGH              CA                   US   62542   134139577@AIRLINE.KIWI.COM
42FUMF   12/30/2020   OB     1/4/2021   WN;6890;SLC;DEN;WN;687;DEN;GEG    CHADBURGH              CA                   US   62542   134139577@AIRLINE.KIWI.COM
42QGRG   12/30/2020   OB    5/24/2021   WN;2096;HNL;SAN                   NATALIESTAD            IN                   US   54839   127451852.1526851@AIRLINE.KIWI.COM
43ELCE   12/30/2020   OB   12/31/2020   WN;3406;SFO;SAN;WN;1468;SAN;LAS   SOUTH MEAGAN           UT                   US    2825   134144868@AIRLINE.KIWI.COM
43IA49   12/30/2020   OB    3/18/2021   WN;1841;MSP;HOU;WN;2131;HOU;SRQ   WASHINGTONBURY         MN                   US    3469   134145407@AIRLINE.KIWI.COM
43JCWJ   12/30/2020   OB    3/22/2021   WN;1499;SRQ;HOU;WN;209;HOU;MSP    EAST MONICA            ID                   US   64994   134145407@AIRLINE.KIWI.COM
43N43W   12/30/2020   OB   12/30/2020   WN;941;ATL;MDW                    CALDWELLBERG           VT                   US   25169   134145418@AIRLINE.KIWI.COM
43Y4X8   12/30/2020   OB     1/4/2021   WN;837;ATL;BNA;WN;1587;BNA;LGA    NORTH STEPHANIE        KY                   US   97310   134073621@AIRLINE.KIWI.COM
442OQC   12/30/2020   OB   12/31/2020   WN;3348;LGA;ATL                   ROBERTCHESTER          TX                   US   41683   134146188@AIRLINE.KIWI.COM
44JWSW   12/30/2020   OB   12/30/2020   WN;802;LAX;LAS                    WEST MORGAN            TX                   US   49959   134147332@AIRLINE.KIWI.COM
44OBQM   12/30/2020   OB     1/1/2021   WN;3233;FLL;HOU;WN;3631;HOU;LAX   LAKE MONICAFURT        MN                   US   32771   134147497@AIRLINE.KIWI.COM
44PXRJ   12/30/2020   OB     1/1/2021   WN;3233;FLL;HOU;WN;3631;HOU;LAX   LAKE CATHERINEBOROUG   NY                   US   77631   134147497@AIRLINE.KIWI.COM
44SJ8P   12/30/2020   OB   12/30/2020   WN;933;DTW;BWI;WN;940;BWI;BDL     NORTH JUSTINFURT       ME                   US   30527   134147585@AIRLINE.KIWI.COM
44TPOK   12/30/2020   OB   12/31/2020   WN;1423;SFO;LAS                   HALLHAVEN              WA                   US   27144   134147684@AIRLINE.KIWI.COM
45AKZ8   12/30/2020   OB   12/30/2020   WN;499;DTW;MDW;WN;920;MDW;AUS     JOSESIDE               AL                   US   18270   134148443@AIRLINE.KIWI.COM
45IIB8   12/30/2020   OB   12/30/2020   WN;133;ATL;MCO                    GREGORYTON             WA                   US   96962   134149257@AIRLINE.KIWI.COM
45IIB8   12/30/2020   OB   12/30/2020   WN;133;ATL;MCO                    GREGORYTON             WA                   US   96962   134149257@AIRLINE.KIWI.COM
45IIB8   12/30/2020   OB   12/30/2020   WN;133;ATL;MCO                    GREGORYTON             WA                   US   96962   134149257@AIRLINE.KIWI.COM
45OFD2   12/30/2020   OB   12/31/2020   WN;1423;SFO;LAS                   PORT BRIAN             IL                   US     858   134149158@AIRLINE.KIWI.COM
465BOV   12/30/2020   OB     1/1/2021   WN;4202;ATL;DEN                   SOUTH VICTORIATON      IA                   US   91405   134150071@AIRLINE.KIWI.COM
46CNW7   12/30/2020   OB     1/2/2021   WN;2215;MIA;TPA;WN;1852;TPA;ATL   SOUTH MATTHEW          CO                   US    1863   134150896@AIRLINE.KIWI.COM
46CNW7   12/30/2020   OB     1/2/2021   WN;2215;MIA;TPA;WN;1852;TPA;ATL   SOUTH MATTHEW          CO                   US    1863   134150896@AIRLINE.KIWI.COM
46JIYD   12/30/2020   OB   12/30/2020   WN;406;LGA;BNA;WN;228;BNA;LAS     LAKE DARREN            ME                   US   53629   134151501@AIRLINE.KIWI.COM
46RS82   12/30/2020   OB   12/31/2020   WN;102;BWI;MIA                    WEST KIMBERLY          MA                   US   44248   134152238@AIRLINE.KIWI.COM
46TLCU   12/30/2020   OB    1/10/2021   WN;3075;MIA;BWI                   PETERSBURGH            IA                   US   27524   134152469@AIRLINE.KIWI.COM
46Z2P3   12/30/2020   OB   12/31/2020   WN;102;BWI;MIA                    NORTH DANATON          FL                   US   37496   134152513@AIRLINE.KIWI.COM
472S2S   12/30/2020   OB   12/30/2020   WN;228;BWI;JAX;WN;1378;JAX;ATL    LAKE NATALIE           NV                   US   43230   134152777@AIRLINE.KIWI.COM
47CAUD   12/30/2020   OB     1/5/2021   WN;224;ATL;MDW;WN;463;MDW;DCA     LAKE STACEY            AL                   US   36207   134153305@AIRLINE.KIWI.COM
47ILXM   12/30/2020   OB   12/30/2020   WN;2399;CVG;BWI;WN;738;BWI;LAS    PORT KIMBERLY          UT                   US   31531   134154064@AIRLINE.KIWI.COM
47L3MG   12/30/2020   OB   12/30/2020   WN;1190;ATL;HOU                   TERRIVIEW              OR                   US   76102   134154196@AIRLINE.KIWI.COM
47L3MG   12/30/2020   OB   12/30/2020   WN;1190;ATL;HOU                   TERRIVIEW              OR                   US   76102   134154196@AIRLINE.KIWI.COM
47T72O   12/30/2020   OB   12/30/2020   WN;156;LGA;ATL                    NEW ERIKVILLE          NC                   US   15512   134154372@AIRLINE.KIWI.COM
48RVJ6   12/30/2020   OB     1/2/2021   WN;2096;LGA;BNA;WN;6729;BNA;HOU   PORT GERALDPORT        RI                   US   94849   134157111@AIRLINE.KIWI.COM
48VXVN   12/30/2020   OB     1/5/2021   WN;980;FLL;BWI;WN;1212;BWI;BOS    EAST JOHNATHANHAVEN    TX                   US    1071   134157177@AIRLINE.KIWI.COM
48VXVN   12/30/2020   OB     1/5/2021   WN;980;FLL;BWI;WN;1212;BWI;BOS    EAST JOHNATHANHAVEN    TX                   US    1071   134157177@AIRLINE.KIWI.COM
48XVJM   12/30/2020   OB   12/30/2020   WN;1216;STL;MDW;WN;457;MDW;ATL    PORT JOHNBURGH         TX                   US   62805   134157309@AIRLINE.KIWI.COM
4C8CW5   12/30/2020   OB     1/2/2021   WN;559;HOU;MDW;WN;1813;MDW;ORF    LAKE CARLOSSHIRE       DE                   US   61185   133791592.1527043@AIRLINE.KIWI.COM
4ECCBA   12/30/2020   OB     1/3/2021   WN;1749;SAT;MCO;WN;4968;MCO;BNA   MORRISBURY             ND                   US   81241   134177186@AIRLINE.KIWI.COM
4ED2S4   12/30/2020   OB   12/30/2020   WN;900;BWI;GSP;WN;900;GSP;ATL     SAMPSONSTAD            LA                   US   80894   134177351@AIRLINE.KIWI.COM
4F44MD   12/30/2020   OB   12/30/2020   WN;1249;MEM;MDW                   MCINTYREFORT           NC                   US    6600   134181817@AIRLINE.KIWI.COM
4FL5W4   12/30/2020   OB   12/31/2020   WN;3558;MDW;LAS                   NORTH BRYAN            ID                   US   95904   134183874@AIRLINE.KIWI.COM
4FPVMH   12/30/2020   OB     1/5/2021   WN;1062;MIA;TPA;WN;2277;TPA;MDW   SOUTH CHRISTIAN        TX                   US   85822   134183775@AIRLINE.KIWI.COM
4FSD9U   12/30/2020   OB     1/3/2021   WN;1793;IND;LAS                   EAST CARRIEBURGH       GA                   US   23051   134184732@AIRLINE.KIWI.COM
4FU9V5   12/30/2020   OB   12/31/2020   WN;4306;OAK;PHX                   LAKE TIMOTHYMOUTH      TN                   US   21174   134184831@AIRLINE.KIWI.COM
4FU9V5   12/30/2020   OB   12/31/2020   WN;4306;OAK;PHX                   LAKE TIMOTHYMOUTH      TN                   US   21174   134184831@AIRLINE.KIWI.COM
4FZIB9   12/30/2020   OB   12/31/2020   WN;2255;BOS;BWI;WN;3933;BWI;DTW   GARDNERVILLE           ND                   US   94216   134185689@AIRLINE.KIWI.COM
4G53Q2   12/30/2020   OB   12/31/2020   WN;4416;OMA;PHX                   SOUTH RACHEL           KS                   US   14899   134186184@AIRLINE.KIWI.COM
4GEEOX   12/30/2020   OB    1/27/2021   WN;3611;HOU;MDW                   WAIWHITU               CANTERBURY           NZ   60745   134186602@AIRLINE.KIWI.COM
4GHZB3   12/30/2020   OB   12/30/2020   WN;380;ATL;TPA                    EAST KAYLAHAVEN        NM                   US   43752   134187680@AIRLINE.KIWI.COM
4GHZB3   12/30/2020   RT     1/3/2021   WN;3689;TPA;ATL                   EAST KAYLAHAVEN        NM                   US   43752   134187680@AIRLINE.KIWI.COM
4GLBWH   12/30/2020   OB   12/30/2020   WN;2456;ATL;DAL                   LEWISTON               MN                   US   46285   134188274@AIRLINE.KIWI.COM
4H8X2T   12/30/2020   OB     1/1/2021   WN;1609;BWI;CUN                   VIEJA ZIMBABWE         MORELOS              MX   94783   134191046@AIRLINE.KIWI.COM
4HDGD8   12/30/2020   OB    1/21/2021   WN;595;HNL;ITO                    MATTHEWSTAD            IA                   US   80496   134191145@AIRLINE.KIWI.COM
4HLAG8   12/30/2020   OB   12/31/2020   WN;2438;CLE;BNA;WN;4773;BNA;MSY   LAKE JENNIFERMOUTH     NH                   US   33915   134193004@AIRLINE.KIWI.COM
4HOS6C   12/30/2020   OB   12/30/2020   WN;1128;CMH;MDW;WN;920;MDW;AUS    SINGLETONHAVEN         MA                   US   57426   134193851@AIRLINE.KIWI.COM
4HQWG5   12/30/2020   OB     1/3/2021   WN;4302;MSY;BNA;WN;3397;BNA;CLE   SMITHBURY              VT                   US   50000   134193004@AIRLINE.KIWI.COM
4IFARH   12/30/2020   OB   12/31/2020   WN;2023;MDW;MSY                   AMROHAA                NAGALAND             IN   27813   134196832@AIRLINE.KIWI.COM
4IFZVM   12/30/2020   OB   12/30/2020   WN;1070;BNA;SJC                   PORT JOSHUAMOUTH       NV                   US    1010   134197679@AIRLINE.KIWI.COM
4IIH7S   12/30/2020   OB     1/4/2021   WN;403;ATL;BNA                    LAKE JENNIFERFORT      WA                   US   56116   134197437@AIRLINE.KIWI.COM
4IMDXT   12/30/2020   OB   12/31/2020   WN;4191;MSP;MDW;WN;2346;MDW;MCI   PORT ASHLEYPORT        OH                   US   80157   134198031@AIRLINE.KIWI.COM
4IMZAA   12/30/2020   OB   12/30/2020   WN;504;LAX;SJC;WN;549;SJC;LAS     JAREDBURY              OR                   US    4499   134198757@AIRLINE.KIWI.COM
4IOJTO   12/30/2020   OB    1/15/2021   WN;2577;MIA;HOU;WN;2635;HOU;MEM   S TOMSK                MOSKOVSKAYA OBLAST   RU   24925   134198405@AIRLINE.KIWI.COM
4JE53Y   12/30/2020   OB     1/4/2021   WN;403;ATL;BNA                    HOLTSHIRE              MD                   US   75347   134202211@AIRLINE.KIWI.COM
4JMK9L   12/30/2020   OB     1/6/2021   WN;2138;DEN;MCO                   JEFFREYSHIRE           CT                   US   25949   134203069@AIRLINE.KIWI.COM
4JR3ZO   12/30/2020   OB   12/31/2020   WN;55;IAD;ATL                     STEPHANIELAND          NY                   US   62816   134203861@AIRLINE.KIWI.COM
4JV5S6   12/30/2020   OB   12/31/2020   WN;3498;ATL;TPA                   EAST DANIEL            HI                   US    9330   134204774@AIRLINE.KIWI.COM
4KR3WS   12/30/2020   OB   12/31/2020   WN;2900;ATL;HOU                   FORDCHESTER            WI                   US   47779   134208866@AIRLINE.KIWI.COM
4KUBE6   12/30/2020   OB   12/31/2020   WN;352;ROC;BWI;WN;2531;BWI;TPA    SOUTH PHYLLIS          MA                   US   23336   134208536@AIRLINE.KIWI.COM
4L53QJ   12/30/2020   OB     1/1/2021   WN;3134;DTW;BWI;WN;906;BWI;MBJ    EAST MICHELLELAND      SC                   US   72895   134209856@AIRLINE.KIWI.COM
4L9YZD   12/30/2020   OB     1/4/2021   WN;403;ATL;BNA                    NEW JESSICA            IL                   US   16827   134210186@AIRLINE.KIWI.COM
4LFRRT   12/30/2020   OB     1/2/2021   WN;2112;LAS;OAK                   SOUTH JOSE             KY                   US   59831   134211319@AIRLINE.KIWI.COM
4LHCKW   12/30/2020   OB   12/31/2020   WN;3959;ATL;TPA;WN;4147;TPA;MIA   BARBERLAND             MS                   US   68779   134211088@AIRLINE.KIWI.COM
4LPBAF   12/30/2020   OB   12/31/2020   WN;3500;IND;BWI;WN;2107;BWI;MCI   FLYNNBERG              AK                   US   96022   134211209@AIRLINE.KIWI.COM
4LPBAF   12/30/2020   OB   12/31/2020   WN;3500;IND;BWI;WN;2107;BWI;MCI   FLYNNBERG              AK                   US   96022   134211209@AIRLINE.KIWI.COM
4LU63C   12/30/2020   OB   12/31/2020   WN;3587;DTW;BNA;WN;2437;BNA;AUS   MEDINABERG             IA                   US   82854   134212892@AIRLINE.KIWI.COM
4LZPZU   12/30/2020   OB    3/13/2021   WN;3199;HOU;LAX                   HENDERSONMOUTH         MT                   US   98004   134213090@AIRLINE.KIWI.COM
4LZQDC   12/30/2020   OB    3/20/2021   WN;1738;HNL;SJC;WN;1738;SJC;LAX   SHEPHERDHAVEN          WY                   US   63625   134213090@AIRLINE.KIWI.COM
4M5RKW   12/30/2020   OB     1/4/2021   WN;1128;PHX;DEN;WN;1128;DEN;CMH   CARLSONBURGH           MT                   US   74651   131596333@AIRLINE.KIWI.COM
4M7CD7   12/30/2020   OB   12/31/2020   WN;845;MDW;AUS                    JOHNSONBURGH           AL ISKANDARIYAH      EG   44699   134212980@AIRLINE.KIWI.COM
4MGR62   12/30/2020   OB     1/3/2021   WN;1058;HOU;MIA                   NEW KELLY              DE                   US    2032   134215103@AIRLINE.KIWI.COM
4MLU9K   12/30/2020   OB    1/12/2021   WN;930;PHL;DEN;WN;856;DEN;LAS     AMANDAHAVEN            OK                   US   96201   134215785@AIRLINE.KIWI.COM
4N2YED   12/30/2020   OB   12/31/2020   WN;3995;MCO;RDU;WN;2746;RDU;ATL   PORT JEREMYBURGH       WESTERN              GH   21409   134216918@AIRLINE.KIWI.COM
4N2YED   12/30/2020   OB   12/31/2020   WN;3995;MCO;RDU;WN;2746;RDU;ATL   PORT JEREMYBURGH       WESTERN              GH   21409   134216918@AIRLINE.KIWI.COM
4NC644   12/30/2020   OB   12/31/2020   WN;2116;MDW;STL;WN;3422;STL;LGA   BRIANMOUTH             MN                   US   28398   134217897@AIRLINE.KIWI.COM
4NEBJI   12/30/2020   OB   12/31/2020   WN;2700;CLE;MDW;WN;4033;MDW;DCA   JESSEBURGH             GA                   US   23589   134218150@AIRLINE.KIWI.COM
4NERG6   12/30/2020   OB   12/31/2020   WN;2569;HOU;ATL                   EAST JASONVILLE        CA                   US   43276   134218018@AIRLINE.KIWI.COM
4NFYA8   12/30/2020   OB   12/31/2020   WN;4697;PIT;RSW;WN;3496;RSW;ATL   WEST MARIA             NH                   US   32292   134218271@AIRLINE.KIWI.COM
4NGNNZ   12/30/2020   OB     1/4/2021   WN;972;ATL;MCO;WN;972;MCO;PIT     CAITLINTON             WV                   US    5072   134218271@AIRLINE.KIWI.COM
4NNTFG   12/30/2020   OB   12/31/2020   WN;5008;MEM;ATL;WN;2434;ATL;IND   PORT TIMOTHYSIDE       OR                   US   47872   134218711@AIRLINE.KIWI.COM
4NOAID   12/30/2020   OB     1/7/2021   WN;423;HOU;LAS                    HARRYSIDE              UT                   US   26500   133217249.1527313@AIRLINE.KIWI.COM
4NOMGK   12/30/2020   OB   12/31/2020   WN;4191;MSP;MDW;WN;2558;MDW;BOS   NORTH EUGENEFORT       AZ                   US   65460   134219173@AIRLINE.KIWI.COM
4NOMGK   12/30/2020   RT     1/3/2021   WN;1851;BOS;MDW;WN;2899;MDW;MSP   NORTH EUGENEFORT       AZ                   US   65460   134219173@AIRLINE.KIWI.COM
4NPZNE   12/30/2020   OB     1/7/2021   WN;316;CUN;HOU                    NORTH THOMASMOUTH      IN                   US   73883   133217249.1527313@AIRLINE.KIWI.COM
4NSPNQ   12/30/2020   OB     1/2/2021   WN;2163;JAX;ATL;WN;2358;ATL;BWI   JESSICABERG            ND                   US    3079   134219437@AIRLINE.KIWI.COM




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4NY338   12/30/2020   OB   12/31/2020   WN;1646;CLE;BWI;WN;3984;BWI;FLL   NEW ANTHONY            OR                     US   92147   134219855@AIRLINE.KIWI.COM
22QR3C   12/31/2020   OB     2/8/2021   WN;4145;TPA;STL                   LAKE SARAHBURGH        AL                     US   54538   134254274@AIRLINE.KIWI.COM
238O8D   12/31/2020   OB     1/2/2021   WN;1125;LAS;OAK;WN;2259;OAK;LAX   WEST KRISTINE          MA                     US   15861   134256089@AIRLINE.KIWI.COM
24HAPC   12/31/2020   OB   12/31/2020   WN;2746;RDU;ATL                   MELISSABERG            MA                     US   75641   134259961@AIRLINE.KIWI.COM
24IIWW   12/31/2020   OB     1/1/2021   WN;3948;ATL;FLL                   ANDREWBERG             NY                     US   11173   134260830@AIRLINE.KIWI.COM
24KD6W   12/31/2020   OB     1/1/2021   WN;4790;SAN;LAS                   SOUTH PATRICIAFORT     SC                     US   24378   134231515.1527598@AIRLINE.KIWI.COM
24LKX7   12/31/2020   OB   12/31/2020   WN;4413;DTW;BWI;WN;3111;BWI;BOS   MICHAELBERG            SC                     US   86867   134260676@AIRLINE.KIWI.COM
25DJYC   12/31/2020   OB   12/31/2020   WN;4413;DTW;BWI                   LAKE JEREMYTOWN        OR                     US   64981   134264218@AIRLINE.KIWI.COM
25LZEP   12/31/2020   OB     1/1/2021   WN;2039;BWI;CMH                   KEVINSIDE              IL                     US   75071   134265142@AIRLINE.KIWI.COM
25M4VH   12/31/2020   OB   12/31/2020   WN;4720;DEN;SAN                   EAST PETER             MA                     US   46330   134264911@AIRLINE.KIWI.COM
25U2CI   12/31/2020   OB     1/2/2021   WN;1534;LAX;LAS                   ASHLEYBERG             SC                     US   96847   134265857@AIRLINE.KIWI.COM
25UP5Q   12/31/2020   OB     1/3/2021   WN;4972;LAX;SJC;WN;4972;SJC;SEA   NORTH CASSANDRA        IL                     US    2781   134265857@AIRLINE.KIWI.COM
25ZAR5   12/31/2020   OB    1/16/2021   WN;1916;MSY;LAS;WN;5084;LAS;OAK   NORTH DAVID            MI                     US   87648   134266330@AIRLINE.KIWI.COM
268UAN   12/31/2020   OB    1/13/2021   WN;4757;SLC;HOU;WN;3459;HOU;TUL   NEW CORYLAND           OH                     US   56836   134267100@AIRLINE.KIWI.COM
26CIW4   12/31/2020   OB    1/21/2021   WN;2572;PHX;BUR                   GRIFFINVILLE           WA                     US   87555   134268167@AIRLINE.KIWI.COM
26DJ5K   12/31/2020   OB     3/7/2021   WN;1273;LAS;ATL                   WILLIAMSIDE            NC                     US   65879   134140743.1527632@AIRLINE.KIWI.COM
26PATV   12/31/2020   OB   12/31/2020   WN;3082;ATL;MCO                   LISAFURT               CO                     US   55101   134269663@AIRLINE.KIWI.COM
26YO8L   12/31/2020   OB   12/31/2020   WN;2193;CLT;MDW;WN;2636;MDW;MSP   WEST SCOTTTON          CO                     US    1642   134271500@AIRLINE.KIWI.COM
27DIDA   12/31/2020   OB     1/2/2021   WN;1400;LAS;MKE;WN;1400;MKE;FLL   PALMERSHIRE            TX                     US   84900   134273172@AIRLINE.KIWI.COM
27UGZT   12/31/2020   OB     1/3/2021   WN;1057;MIA;HOU;WN;6627;HOU;LAX   WEST JASON             ND                     US   75970   134275460@AIRLINE.KIWI.COM
283TZM   12/31/2020   OB     1/4/2021   WN;1008;ATL;BWI;WN;135;BWI;BUF    LESLIEBERG             AR                     US   41781   134276230@AIRLINE.KIWI.COM
284I3L   12/31/2020   OB     1/2/2021   WN;1743;MSY;HOU;WN;1953;HOU;PHX   LAKE MIRANDA           WV                     US   33462   134276593@AIRLINE.KIWI.COM
287NJV   12/31/2020   OB     1/3/2021   WN;4636;DEN;SJC;WN;4972;SJC;SEA   MELISSASTAD            NC                     US   25326   134276868@AIRLINE.KIWI.COM
28HPRE   12/31/2020   OB     1/3/2021   WN;4636;DEN;SJC;WN;4972;SJC;SEA   KATELYNMOUTH           OR                     US    7979   134277649@AIRLINE.KIWI.COM
28OFSB   12/31/2020   OB     1/2/2021   WN;1828;CLT;BWI;WN;2451;BWI;IND   WEST KARENBURY         AK                     US   52424   134278419@AIRLINE.KIWI.COM
28PYBB   12/31/2020   OB     1/5/2021   WN;551;FLL;TPA;WN;4443;TPA;LGA    DIXONSTAD              MD                     US   52988   134278551@AIRLINE.KIWI.COM
28TFGY   12/31/2020   OB     1/2/2021   WN;429;FLL;TPA;WN;2103;TPA;CLE    JESSEMOUTH             OR                     US   79219   134279035@AIRLINE.KIWI.COM
28XYLK   12/31/2020   OB     1/1/2021   WN;2597;MCO;ATL                   PORT DAVIDBERG         TX                     US   40454   134279343@AIRLINE.KIWI.COM
28XYLK   12/31/2020   OB     1/1/2021   WN;2597;MCO;ATL                   PORT DAVIDBERG         TX                     US   40454   134279343@AIRLINE.KIWI.COM
29E8UD   12/31/2020   OB     1/1/2021   WN;135;ATL;STL                    CHRISTOPHERMOUTH       SC                     US   56048   134280597@AIRLINE.KIWI.COM
29FHWH   12/31/2020   OB     1/1/2021   WN;3907;LAS;LAX                   REYESSTAD              PA                     US   71546   134280531@AIRLINE.KIWI.COM
29GUUL   12/31/2020   OB     2/1/2021   WN;3487;DAL;SAT                   WEST CINDYVIEW         TN                     US   13041   134280784@AIRLINE.KIWI.COM
29GUUL   12/31/2020   OB     2/1/2021   WN;3487;DAL;SAT                   WEST CINDYVIEW         TN                     US   13041   134280784@AIRLINE.KIWI.COM
2A8NGQ   12/31/2020   OB    1/28/2021   WN;157;SLC;OAK;WN;1282;OAK;HNL    LA SA SHI              HAINAN SHENG           CN   99748   134279750@AIRLINE.KIWI.COM
2A8NGQ   12/31/2020   OB    1/28/2021   WN;157;SLC;OAK;WN;1282;OAK;HNL    LA SA SHI              HAINAN SHENG           CN   99748   134279750@AIRLINE.KIWI.COM
2ACF22   12/31/2020   OB     1/1/2021   WN;3907;LAS;LAX                   SOUTH NICOLESTAD       LA                     US   85585   134283798@AIRLINE.KIWI.COM
2AHKS5   12/31/2020   OB    1/17/2021   WN;4969;ATL;DCA                   NORTH KATHLEENTOWN     GA                     US   99264   134284227@AIRLINE.KIWI.COM
2AN5D4   12/31/2020   OB    2/17/2021   WN;2164;BHM;MCO;WN;2438;MCO;FLL   NEW ANTHONY            IN                     US   61740   134284744@AIRLINE.KIWI.COM
2AN5D4   12/31/2020   RT    2/24/2021   WN;3203;FLL;DAL;WN;2683;DAL;BHM   NEW ANTHONY            IN                     US   61740   134284744@AIRLINE.KIWI.COM
2AVF54   12/31/2020   OB     1/1/2021   WN;3744;LAX;LAS;WN;2883;LAS;ELP   JOHNSONTON             ND                     US    8250   134284997@AIRLINE.KIWI.COM
2BOTHO   12/31/2020   OB     1/5/2021   WN;1555;DEN;BWI                   WOODSCHESTER           HI                     US   82312   134273799.1527730@AIRLINE.KIWI.COM
2BPZX7   12/31/2020   OB   12/31/2020   WN;4933;LAX;PHX                   PORT ERIN              ND                     US    9803   134287230@AIRLINE.KIWI.COM
2CAH6X   12/31/2020   OB    1/18/2021   WN;3920;LAX;MDW                   CARVALHO DOS DOURADO   ESPIRITO SANTO         BR   23880   134288132@AIRLINE.KIWI.COM
2CDQ2K   12/31/2020   OB     1/1/2021   WN;3989;LAX;LAS                   NICHOLASFURT           TX                     US    8648   134288506@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB     4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO     LAKE REGINABURY        NY                     US   97042   134288363@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB     4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO     LAKE REGINABURY        NY                     US   97042   134288363@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB     4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO     LAKE REGINABURY        NY                     US   97042   134288363@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB     4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO     LAKE REGINABURY        NY                     US   97042   134288363@AIRLINE.KIWI.COM
2CFJSZ   12/31/2020   OB     1/1/2021   WN;3989;LAX;LAS                   EAST KELLYTOWN         OK                     US   95606   134288495@AIRLINE.KIWI.COM
2CFYUZ   12/31/2020   OB     1/1/2021   WN;3989;LAX;LAS                   SOUTH KENNETHMOUTH     WA                     US   32697   134288440@AIRLINE.KIWI.COM
4O6YUS   12/31/2020   OB     1/8/2021   WN;2253;TPA;DAL;WN;3457;DAL;LBB   LAKE THNCHAYFORT       RATCHABURI             TH   94727   134220042@AIRLINE.KIWI.COM
4OGWI5   12/31/2020   OB     1/2/2021   WN;791;LAS;HOU;WN;1930;HOU;BOS    EDWARDBURY             TN                     US   40069   134221087@AIRLINE.KIWI.COM
4OK2T4   12/31/2020   OB   12/31/2020   WN;6701;DAL;SLC                   CHARLESBERG            ID                     US   33589   134070321@AIRLINE.KIWI.COM
4OK2T4   12/31/2020   OB   12/31/2020   WN;6701;DAL;SLC                   CHARLESBERG            ID                     US   33589   134070321@AIRLINE.KIWI.COM
4OZO6P   12/31/2020   OB     1/1/2021   WN;3321;LAS;LAX                   NORTH CARLAPORT        VT                     US   74814   134222825@AIRLINE.KIWI.COM
4OZO6P   12/31/2020   OB     1/1/2021   WN;3321;LAS;LAX                   NORTH CARLAPORT        VT                     US   74814   134222825@AIRLINE.KIWI.COM
4P3LKB   12/31/2020   OB     1/1/2021   WN;2221;MIA;HOU                   SOUTH DAVID            SD                     US   65691   134222825@AIRLINE.KIWI.COM
4P3LKB   12/31/2020   OB     1/1/2021   WN;2221;MIA;HOU                   SOUTH DAVID            SD                     US   65691   134222825@AIRLINE.KIWI.COM
4P4C9P   12/31/2020   OB   12/31/2020   WN;3041;BNA;BWI                   NEW ARIEL              AZ                     US   95798   134222572@AIRLINE.KIWI.COM
4Q3O8R   12/31/2020   OB   12/31/2020   WN;2673;BDL;BWI;WN;2675;BWI;CLT   MORGANFURT             NY                     US   11182   134225058@AIRLINE.KIWI.COM
4QHOE7   12/31/2020   OB     1/3/2021   WN;3584;MSP;STL;WN;2519;STL;CMH   NEW CRYSTAL            RI                     US   83339   134226114@AIRLINE.KIWI.COM
4QHV3L   12/31/2020   OB   12/31/2020   WN;3755;CMH;MDW;WN;2636;MDW;MSP   NORTH MATTHEWTOWN      MI                     US   91613   134226114@AIRLINE.KIWI.COM
4QMH94   12/31/2020   OB     1/2/2021   WN;1843;ATL;TPA;WN;498;TPA;LGA    COXHAVEN               NJ                     US   93857   134226422@AIRLINE.KIWI.COM
4QMH94   12/31/2020   OB     1/2/2021   WN;1843;ATL;TPA;WN;498;TPA;LGA    COXHAVEN               NJ                     US   93857   134226422@AIRLINE.KIWI.COM
4QQSEH   12/31/2020   OB     1/2/2021   WN;1843;ATL;TPA;WN;498;TPA;LGA    ERINBURY               MS                     US   19554   134226422@AIRLINE.KIWI.COM
4QZ2CD   12/31/2020   OB   12/31/2020   WN;3725;LAX;HOU                   TRANFORT               OK                     US   17823   134227280@AIRLINE.KIWI.COM
4R5T5Z   12/31/2020   OB   12/31/2020   WN;3804;LGA;STL;WN;5067;STL;ATL   PEREZBURGH             AK                     US   59540   134227775@AIRLINE.KIWI.COM
4R8RG7   12/31/2020   OB     1/1/2021   WN;3927;LAX;PHX;WN;2740;PHX;ELP   EAST WENDYBURGH        AR                     US    1633   134227577@AIRLINE.KIWI.COM
4RI4CP   12/31/2020   OB   12/31/2020   WN;5009;TPA;ATL                   GREGCHESTER            DE                     US   13461   134228358@AIRLINE.KIWI.COM
4ROV94   12/31/2020   OB    1/14/2021   WN;3199;BUF;BWI;WN;1804;BWI;AUA   LAKE JOHNNYTOWN        MA                     US   95135   134228468@AIRLINE.KIWI.COM
4ROV94   12/31/2020   RT    1/17/2021   WN;1805;AUA;BWI;WN;2584;BWI;BUF   LAKE JOHNNYTOWN        MA                     US   95135   134228468@AIRLINE.KIWI.COM
4RUA8V   12/31/2020   OB   12/31/2020   WN;4686;MSY;MDW;WN;845;MDW;AUS    WEST COLLEEN           MD                     US   44771   134228798@AIRLINE.KIWI.COM
4RVMMT   12/31/2020   OB     1/2/2021   WN;1843;ATL;TPA;WN;498;TPA;LGA    KAITLYNCHESTER         WV                     US   14352   134226422@AIRLINE.KIWI.COM
4RYV6S   12/31/2020   OB     1/1/2021   WN;4015;STL;DAL;WN;4015;DAL;CMH   SMITHBOROUGH           DE                     US   27001   134229117@AIRLINE.KIWI.COM
4RZ2XH   12/31/2020   OB   12/31/2020   WN;2193;CLT;MDW;WN;4491;MDW;DTW   SOUTH ROBERTTON        OK                     US    7386   134229095@AIRLINE.KIWI.COM
4RZY9J   12/31/2020   OB   12/31/2020   WN;2746;RDU;ATL                   LAKE RUSSELL           MEDWAY                 GB   55320   134229084@AIRLINE.KIWI.COM
4RZY9J   12/31/2020   OB   12/31/2020   WN;2746;RDU;ATL                   LAKE RUSSELL           MEDWAY                 GB   55320   134229084@AIRLINE.KIWI.COM
4S2DEB   12/31/2020   OB   12/31/2020   WN;4047;BWI;JAX                   GEORGEBOROUGH          KS                     US    3965   134229194@AIRLINE.KIWI.COM
4S2DEB   12/31/2020   OB   12/31/2020   WN;4047;BWI;JAX                   GEORGEBOROUGH          KS                     US    3965   134229194@AIRLINE.KIWI.COM
4S3ZXN   12/31/2020   OB   12/31/2020   WN;3107;OKC;HOU                   PORT COLLEENFORT       CA                     US   81020   134229117@AIRLINE.KIWI.COM
4S49PF   12/31/2020   OB   12/31/2020   WN;2739;ONT;PHX;WN;1444;PHX;ELP   WALTONVILLE            IA                     US   91289   134229337@AIRLINE.KIWI.COM
4SFP9P   12/31/2020   OB     1/4/2021   WN;972;ATL;MCO;WN;206;MCO;ORF     LAKE ALEXBURY          MT                     US   63257   134229645@AIRLINE.KIWI.COM
4SHEBL   12/31/2020   OB    1/14/2021   WN;352;ROC;BWI;WN;2593;BWI;BOS    HECTORBERG             NH                     US   48216   134229722@AIRLINE.KIWI.COM
4SHEBL   12/31/2020   RT    1/17/2021   WN;2255;BOS;BWI;WN;2823;BWI;ROC   HECTORBERG             NH                     US   48216   134229722@AIRLINE.KIWI.COM
4SN57S   12/31/2020   OB     1/1/2021   WN;1444;PHX;ELP                   NORTH LESLIEHAVEN      WI                     US   24617   134230063@AIRLINE.KIWI.COM
4SRRT5   12/31/2020   OB   12/31/2020   WN;2558;MDW;BOS                   KELLERTOWN             AL                     US   12722   134228171@AIRLINE.KIWI.COM
4TCE6C   12/31/2020   OB   12/31/2020   WN;3587;DTW;BNA                   LAKE LAURA             MT                     US   88468   134231537@AIRLINE.KIWI.COM
4TQWUM   12/31/2020   OB     1/2/2021   WN;1834;HRL;HOU                   SOUTH KARENVIEW        OH                     US   46458   134228853@AIRLINE.KIWI.COM
4TS97O   12/31/2020   OB     1/3/2021   WN;1624;DCA;MDW;WN;4370;MDW;SMF   MOSSTOWN               TN                     US   28678   134232582@AIRLINE.KIWI.COM
4U8MND   12/31/2020   OB     1/1/2021   WN;3907;LAS;LAX                   CARTERSHIRE            RI                     US   81224   134233132@AIRLINE.KIWI.COM
4U8MND   12/31/2020   OB     1/1/2021   WN;3907;LAS;LAX                   CARTERSHIRE            RI                     US   81224   134233132@AIRLINE.KIWI.COM
4U8MND   12/31/2020   OB     1/1/2021   WN;3907;LAS;LAX                   CARTERSHIRE            RI                     US   81224   134233132@AIRLINE.KIWI.COM
4UAUWQ   12/31/2020   OB   12/31/2020   WN;4147;TPA;MIA                   NEW EMMATON            PRINCE EDWARD ISLAND   CA   72906   134233253@AIRLINE.KIWI.COM
4UN43J   12/31/2020   OB     1/6/2021   WN;1421;MCO;BNA;WN;823;BNA;LAX    WILLIAMVIEW            HI                     US    7795   134233880@AIRLINE.KIWI.COM
4UPORJ   12/31/2020   OB   12/31/2020   WN;4720;DTW;DEN;WN;4986;DEN;MSP   EAST JOHNMOUTH         TX                     US   92392   134234375@AIRLINE.KIWI.COM
4USBRT   12/31/2020   OB     1/6/2021   WN;1212;BOS;BNA;WN;472;BNA;LAS    PERRYVIEW              ME                     US   75871   134234298@AIRLINE.KIWI.COM
4UU6N6   12/31/2020   OB   12/31/2020   WN;4720;DTW;DEN;WN;3927;DEN;LAX   MILLSSTAD              NORTH SOMERSET         GB   92815   134234276@AIRLINE.KIWI.COM
4UU6N6   12/31/2020   OB   12/31/2020   WN;4720;DTW;DEN;WN;3927;DEN;LAX   MILLSSTAD              NORTH SOMERSET         GB   92815   134234276@AIRLINE.KIWI.COM
4V2GSZ   12/31/2020   OB   12/31/2020   WN;4751;RIC;ATL                   NORTH DOUGLAS          SC                     US    9767   134234837@AIRLINE.KIWI.COM
4V2TPF   12/31/2020   OB   12/31/2020   WN;2883;SMF;SAN                   SCHWARTZSIDE           ID                     US   29641   134234947@AIRLINE.KIWI.COM
4VNW2P   12/31/2020   OB   12/31/2020   WN;4223;RDU;BNA;WN;2437;BNA;AUS   TRAVISBURGH            NC                     US   78008   134236454@AIRLINE.KIWI.COM
4W3P5C   12/31/2020   OB     1/6/2021   WN;1225;BDL;BWI;WN;803;BWI;PHX    WEST SAMANTHAFORT      VT                     US   35354   134233715@AIRLINE.KIWI.COM
4W3P5C   12/31/2020   OB     1/6/2021   WN;1225;BDL;BWI;WN;803;BWI;PHX    WEST SAMANTHAFORT      VT                     US   35354   134233715@AIRLINE.KIWI.COM
4W3P5C   12/31/2020   OB     1/6/2021   WN;1225;BDL;BWI;WN;803;BWI;PHX    WEST SAMANTHAFORT      VT                     US   35354   134233715@AIRLINE.KIWI.COM
4W5NM6   12/31/2020   OB   12/31/2020   WN;3082;ATL;MCO                   NIEUWERKERKEN          OOSTVLAANDEREN         BE   23655   134237268@AIRLINE.KIWI.COM
4W75BQ   12/31/2020   OB   12/31/2020   WN;3124;DTW;BNA                   SOUTH JAMES            CA                     US   79836   134237378@AIRLINE.KIWI.COM
4WJ8BT   12/31/2020   OB   12/31/2020   WN;3532;OMA;DEN;WN;2606;DEN;PHX   PORT ANDREW            VT                     US   46166   134239237@AIRLINE.KIWI.COM




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4WO8JB   12/31/2020   OB     1/8/2021   WN;1336;BWI;DEN                   MACDONALDBERG        WY                  US     2298   134232791@AIRLINE.KIWI.COM
4WO8JB   12/31/2020   OB     1/8/2021   WN;1336;BWI;DEN                   MACDONALDBERG        WY                  US     2298   134232791@AIRLINE.KIWI.COM
4YKSON   12/31/2020   OB     1/1/2021   WN;776;LAS;MDW;WN;4792;MDW;CVG    ALEXISBURGH          AK                  US    25999   134246068@AIRLINE.KIWI.COM
4YQ7H2   12/31/2020   OB   12/31/2020   WN;3239;LAS;LAX                   CHARLESFORT          NY                  US    54529   134246552@AIRLINE.KIWI.COM
2D55AB     1/1/2021   OB     1/3/2021   WN;1970;ATL;AUS;WN;1970;AUS;STL   DELEONSHIRE          NJ                  US    70378   134290101@AIRLINE.KIWI.COM
2D7P6O     1/1/2021   OB    1/11/2021   WN;4078;MIA;MDW                   MONICAPORT           CA                  US    75950   134290244@AIRLINE.KIWI.COM
2DI6ZQ     1/1/2021   OB    3/22/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL   EAST MARISSA         FL                  US    61350   134290695@AIRLINE.KIWI.COM
2EZ3N7     1/1/2021   OB     1/1/2021   WN;3780;DAL;ABQ;WN;3781;ABQ;LAS   NORTH JOHNTOWN       AZ                  US    37362   134293401@AIRLINE.KIWI.COM
2EZ78I     1/1/2021   OB    1/14/2021   WN;38;HOU;DAL                     LAKE AMBER           KY                  US    44380   134293456@AIRLINE.KIWI.COM
2F67DS     1/1/2021   OB     1/2/2021   WN;1542;LAS;OAK                   WEST ASHLEY          IA                  US    92980   134293841@AIRLINE.KIWI.COM
2FA4IA     1/1/2021   OB     1/1/2021   WN;2522;BNA;MCO                   CLARKVILLE           TN                  US    71118   134293874@AIRLINE.KIWI.COM
2FHBLH     1/1/2021   OB     1/1/2021   WN;3633;LAS;ATL                   PORT TRACEYFURT      IA                  US    20669   134294391@AIRLINE.KIWI.COM
2FOS8U     1/1/2021   OB     1/2/2021   WN;1750;LAS;SEA                   SOUTH JAMES          NC                  US    85242   134294831@AIRLINE.KIWI.COM
2FV8RG     1/1/2021   OB     1/1/2021   WN;1236;DEN;SAT                   MAXWELLMOUTH         TN                  US    21901   134294897@AIRLINE.KIWI.COM
2FWPZ7     1/1/2021   OB     1/1/2021   WN;3134;DTW;BWI;WN;2411;BWI;ATL   MELISSALAND          PA                  US    53016   134295348@AIRLINE.KIWI.COM
2FWPZ7     1/1/2021   RT     1/5/2021   WN;1197;ATL;BNA;WN;1171;BNA;DTW   MELISSALAND          PA                  US    53016   134295348@AIRLINE.KIWI.COM
2G8L8L     1/1/2021   OB     3/1/2021   WN;1129;HNL;SMF                   JONESTOWN            NC                  US    35438   134295293@AIRLINE.KIWI.COM
2GNTVD     1/1/2021   OB     1/1/2021   WN;2084;LAS;LAX                   NORTH GREGORY        OR                  US    83001   134296184@AIRLINE.KIWI.COM
2H7DCP     1/1/2021   OB     1/3/2021   WN;3747;CLT;BNA;WN;6631;BNA;CMH   SOUTH CYNTHIA        ME                  US    71124   134296998@AIRLINE.KIWI.COM
2HQXAB     1/1/2021   OB    1/20/2021   WN;2310;DEN;SEA                   SOUTH HEATHERTON     RI                  US    46167   134297559@AIRLINE.KIWI.COM
2HZLKF     1/1/2021   OB     1/1/2021   WN;2758;ORF;BWI;WN;1923;BWI;BOS   SOUTH JESSEBERG      NH                  US     6457   134298175@AIRLINE.KIWI.COM
2HZLKF     1/1/2021   RT     1/3/2021   WN;1876;BOS;BWI;WN;4785;BWI;ORF   SOUTH JESSEBERG      NH                  US     6457   134298175@AIRLINE.KIWI.COM
2IDXTN     1/1/2021   OB    1/29/2021   WN;4675;SJC;PHX                   EAST TASHA           TX                  US    36520   134298824@AIRLINE.KIWI.COM
2IDXTN     1/1/2021   OB    1/29/2021   WN;4675;SJC;PHX                   EAST TASHA           TX                  US    36520   134298824@AIRLINE.KIWI.COM
2IMC54     1/1/2021   OB     1/3/2021   WN;2712;ATL;RIC                   EAST JAMESBURY       CA                  US    95600   134299077@AIRLINE.KIWI.COM
2IXANR     1/1/2021   OB     1/4/2021   WN;855;LAS;MSP                    JERMAINECHESTER      CO                  US    56986   134299506@AIRLINE.KIWI.COM
2IYQUD     1/1/2021   OB     1/4/2021   WN;647;ELP;LAS                    WALKERCHESTER        ND                  US    58948   134299506@AIRLINE.KIWI.COM
2J5PXW     1/1/2021   OB     1/1/2021   WN;3321;LAS;LAX                   BRADLEYTON           AR                  US    26013   134299836@AIRLINE.KIWI.COM
2J5VPL     1/1/2021   OB     1/1/2021   WN;135;ATL;STL;WN;2116;STL;ICT    LINDSEYHAVEN         HILLINGDON          GB    60820   134299737@AIRLINE.KIWI.COM
2J64Z8     1/1/2021   OB     1/3/2021   WN;4582;DEN;STL                   CROSSTON             IA                  US    98799   134298472@AIRLINE.KIWI.COM
2JFJ6I     1/1/2021   OB     1/4/2021   WN;6955;DEN;SEA                   LAKE EDWIN           HI                  US    15215   134300276@AIRLINE.KIWI.COM
2JHM8S     1/1/2021   OB     1/5/2021   WN;358;CHS;MDW;WN;1331;MDW;DEN    EAST JOSHUA          VT                  US    50631   134300364@AIRLINE.KIWI.COM
2JKVWI     1/1/2021   OB     1/5/2021   WN;697;AUS;DAL;WN;1476;DAL;DCA    LJBRBOROUGH          MAKKAH              SA    60239   134300342@AIRLINE.KIWI.COM
2JPX2C     1/1/2021   OB     1/4/2021   WN;1414;PIT;BNA;WN;1123;BNA;STL   NEW ANNETTE          AZ                  US    40440   134300837@AIRLINE.KIWI.COM
2JRRNP     1/1/2021   OB     1/5/2021   WN;3333;DEN;ATL                   CITTUUR              TELANGANA           IN     8310   134301398@AIRLINE.KIWI.COM
2JRRNP     1/1/2021   OB     1/5/2021   WN;3333;DEN;ATL                   CITTUUR              TELANGANA           IN     8310   134301398@AIRLINE.KIWI.COM
2JTY7H     1/1/2021   OB     1/1/2021   WN;2461;ATL;CMH                   TANYABURY            TX                  US    68508   134301288@AIRLINE.KIWI.COM
2JXG5Z     1/1/2021   OB     1/6/2021   WN;2285;BWI;CLE                   TERESAFORT           MT                  US     3403   134301684@AIRLINE.KIWI.COM
2KUDCS     1/1/2021   OB     1/1/2021   WN;553;HOU;ELP                    PORT JESSICA         AZ                  US    43351   134303378@AIRLINE.KIWI.COM
2L8DNI     1/1/2021   OB     1/6/2021   WN;1587;FLL;BNA;WN;1587;BNA;LGA   PHILIPBERG           IN                  US    34528   134304412@AIRLINE.KIWI.COM
2LSZIC     1/1/2021   OB     1/1/2021   WN;2020;PHX;SJD                   SMITHTOWN            MI                  US     5547   134305666@AIRLINE.KIWI.COM
2LSZIC     1/1/2021   OB     1/1/2021   WN;2020;PHX;SJD                   SMITHTOWN            MI                  US     5547   134305666@AIRLINE.KIWI.COM
2NBAYT     1/1/2021   OB    1/27/2021   WN;2699;DEN;MCO                   NEW BRENDA           PA                  US    80849   134301343@AIRLINE.KIWI.COM
2NBAYT     1/1/2021   OB    1/27/2021   WN;2699;DEN;MCO                   NEW BRENDA           PA                  US    80849   134301343@AIRLINE.KIWI.COM
2NBAYT     1/1/2021   OB    1/27/2021   WN;2699;DEN;MCO                   NEW BRENDA           PA                  US    80849   134301343@AIRLINE.KIWI.COM
2NBAYT     1/1/2021   OB    1/27/2021   WN;2699;DEN;MCO                   NEW BRENDA           PA                  US    80849   134301343@AIRLINE.KIWI.COM
2OCWIG     1/1/2021   OB     1/2/2021   WN;2271;ATL;STL                   ANDREWSBURGH         IN                  US    27182   134222484.1527898@AIRLINE.KIWI.COM
2OCWIG     1/1/2021   OB     1/2/2021   WN;2271;ATL;STL                   ANDREWSBURGH         IN                  US    27182   134222484.1527898@AIRLINE.KIWI.COM
2PSCMB     1/1/2021   OB     1/2/2021   WN;734;HRL;HOU;WN;2201;HOU;RDU    RYANHAVEN            AZ                  US    64211   134319603@AIRLINE.KIWI.COM
2QMIQE     1/1/2021   OB     1/1/2021   WN;2084;LAS;LAX                   PORT TIMOTHYSHIRE    OH                  US    74405   134322903@AIRLINE.KIWI.COM
2RO982     1/1/2021   OB    2/23/2021   WN;4078;MIA;MDW;WN;2636;MDW;MSP   NEW TAYLOR           TN                  US    37483   134326995@AIRLINE.KIWI.COM
2RTLUK     1/1/2021   OB     1/1/2021   WN;2707;ATL;LGA                   NORTH OVLI           NORDJYLLAND         DK    34513   134327732@AIRLINE.KIWI.COM
2RV66D     1/1/2021   OB     1/1/2021   WN;1423;SFO;LAS                   DEVGRH               KARNATAKA           IN     1842   134327853@AIRLINE.KIWI.COM
2RV66D     1/1/2021   OB     1/1/2021   WN;1423;SFO;LAS                   DEVGRH               KARNATAKA           IN     1842   134327853@AIRLINE.KIWI.COM
2SP4O9     1/1/2021   OB     1/2/2021   WN;2001;DAL;BNA;WN;1948;BNA;MKE   JUSTINMOUTH          OK                  US    77837   134331428@AIRLINE.KIWI.COM
2SP98H     1/1/2021   OB     1/1/2021   WN;1966;ATL;DEN;WN;3285;DEN;SFO   WEST WYATTVILLE      AK                  US    69042   134331890@AIRLINE.KIWI.COM
2T5XM7     1/1/2021   OB     1/2/2021   WN;1521;ATL;LGA                   MAYCHESTER           HOUNSLOW            GB    75983   134333991@AIRLINE.KIWI.COM
2TM66B     1/1/2021   OB    1/11/2021   WN;5013;MIA;TPA;WN;5013;TPA;BNA   EMIDIO SALENTINO     VENETO              IT    24953   134335311@AIRLINE.KIWI.COM
2TP22Z     1/1/2021   OB     1/4/2021   WN;852;MSY;DAL;WN;133;DAL;LIT     PORT SHAWN           WA                  US    34863   134336829@AIRLINE.KIWI.COM
2TQY7B     1/1/2021   OB     1/2/2021   WN;2357;TPA;CMH;WN;966;CMH;MDW    SELISHCHE TARAS      KHERSONSKA OBLAST   UA    56697   134336983@AIRLINE.KIWI.COM
2TT4BT     1/1/2021   OB     1/2/2021   WN;2357;TPA;CMH;WN;966;CMH;MDW    NEW ELIZABETHMOUTH   MA                  US    49971   134336983@AIRLINE.KIWI.COM
2TV9BJ     1/1/2021   OB     1/5/2021   WN;1050;FLL;BNA;WN;529;BNA;LGA    NORTH FRANK          IL                  US    18646   134338006@AIRLINE.KIWI.COM
2TVZ7O     1/1/2021   OB     1/2/2021   WN;1521;ATL;LGA                   PORT TASHA           WY                  US    40220   134337456@AIRLINE.KIWI.COM
2TZKL7     1/1/2021   OB     1/1/2021   WN;2369;HOU;DEN                   MILLERSHIRE          FL                  US    33249   134338369@AIRLINE.KIWI.COM
2U38T2     1/1/2021   OB    1/17/2021   WN;4969;ATL;DCA                   JACQUELINESIDE       FL                  US    90309   134338193@AIRLINE.KIWI.COM
2UBGHU     1/1/2021   OB     1/1/2021   WN;2369;HOU;DEN                   NEW AMYBERG          LA                  US    55468   134335630@AIRLINE.KIWI.COM
2UNP5Y     1/1/2021   OB    1/28/2021   WN;3792;LGA;MDW                   MICHAELSTAD          IN                  US    65351   134341856@AIRLINE.KIWI.COM
2UNP5Y     1/1/2021   RT     2/2/2021   WN;5151;MDW;STL;WN;3422;STL;LGA   MICHAELSTAD          IN                  US    65351   134341856@AIRLINE.KIWI.COM
2UQ7ZJ     1/1/2021   OB     1/3/2021   WN;6969;CHS;BNA;WN;6873;BNA;DAL   NORTH MALLORY        WY                  US    86186   134342043@AIRLINE.KIWI.COM
2URZJF     1/1/2021   OB     1/6/2021   WN;402;MKE;DEN;WN;582;DEN;TUL     BONNIESTAD           VA                  US    20326   134341361@AIRLINE.KIWI.COM
2URZJF     1/1/2021   OB     1/6/2021   WN;402;MKE;DEN;WN;582;DEN;TUL     BONNIESTAD           VA                  US    20326   134341361@AIRLINE.KIWI.COM
2UTQXD     1/1/2021   OB    1/28/2021   WN;2708;LGA;MDW                   NEW SALLY            ID                  US    89785   134342879@AIRLINE.KIWI.COM
2UTQXD     1/1/2021   RT     2/2/2021   WN;5151;MDW;STL;WN;3422;STL;LGA   NEW SALLY            ID                  US    89785   134342879@AIRLINE.KIWI.COM
2UX54R     1/1/2021   OB     1/4/2021   WN;1610;CUN;BWI                   NEW JUSTINFURT       IL                  US    56912   134343374@AIRLINE.KIWI.COM
2UZDYB     1/1/2021   OB    1/13/2021   WN;1461;PHL;MDW;WN;2457;MDW;LAS   COLTONFORT           AR                  US    32529   134343308@AIRLINE.KIWI.COM
2V8BZP     1/1/2021   OB     1/1/2021   WN;3321;LAS;LAX                   NICOLEMOUTH          RI                  US    88425   134344716@AIRLINE.KIWI.COM
2V8BZP     1/1/2021   OB     1/1/2021   WN;3321;LAS;LAX                   NICOLEMOUTH          RI                  US    88425   134344716@AIRLINE.KIWI.COM
2V8R67     1/1/2021   OB     1/3/2021   WN;4273;HOU;BNA;WN;3732;BNA;DTW   SOUTH JUSTIN         MN                  US    69652   134344298@AIRLINE.KIWI.COM
2V9WOI     1/1/2021   OB    1/28/2021   WN;3792;LGA;MDW                   EAST PAULFURT        NM                  US     9839   134344903@AIRLINE.KIWI.COM
2V9WOI     1/1/2021   RT     2/2/2021   WN;5151;MDW;STL;WN;3422;STL;LGA   EAST PAULFURT        NM                  US     9839   134344903@AIRLINE.KIWI.COM
2VIJ49     1/1/2021   OB     1/2/2021   WN;2108;ATL;LGA                   SOUTH TARATON        MI                  US    84701   134345816@AIRLINE.KIWI.COM
2VIXAJ     1/1/2021   OB     1/1/2021   WN;2707;ATL;LGA                   EAST JASON           TX                  US    38430   134345970@AIRLINE.KIWI.COM
2VKB88     1/1/2021   OB     1/2/2021   WN;667;MCO;ATL                    LAWRENCEBERG         WY                  US      905   134345662@AIRLINE.KIWI.COM
2VLGWG     1/1/2021   OB     1/4/2021   WN;403;ATL;BNA;WN;468;BNA;DTW     GARCIATON            ND                  US    12033   134346179@AIRLINE.KIWI.COM
2VLR4Y     1/1/2021   OB     1/2/2021   WN;2213;BNA;MDW                   NEW DEBBIE           SC                  US    22879   134346311@AIRLINE.KIWI.COM
2VM4HY     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   ROBERTHAVEN          MO                  US    54584   134346113@AIRLINE.KIWI.COM
2VM4HY     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   ROBERTHAVEN          MO                  US    54584   134346113@AIRLINE.KIWI.COM
2VM4HY     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   ROBERTHAVEN          MO                  US    54584   134346113@AIRLINE.KIWI.COM
2VNPKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NORTH JEFFREY        OR                  US    91748   134346113@AIRLINE.KIWI.COM
2VNPKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NORTH JEFFREY        OR                  US    91748   134346113@AIRLINE.KIWI.COM
2VNPKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NORTH JEFFREY        OR                  US    91748   134346113@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   EAST DEANNA          MI                  US    65506   134346553@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   EAST DEANNA          MI                  US    65506   134346553@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   EAST DEANNA          MI                  US    65506   134346553@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB     3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL   EAST DEANNA          MI                  US    65506   134346553@AIRLINE.KIWI.COM
2VPRX6     1/1/2021   OB     1/2/2021   WN;1951;MCO;DTW                   BOYLEHAVEN           MA                  US    36990   134346443@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NEW ZACHARYFURT      IN                  US    62106   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NEW ZACHARYFURT      IN                  US    62106   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NEW ZACHARYFURT      IN                  US    62106   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB    2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO   NEW ZACHARYFURT      IN                  US    62106   134346553@AIRLINE.KIWI.COM
2VTTNL     1/1/2021   OB     1/2/2021   WN;1062;MIA;TPA;WN;498;TPA;LGA    NEW SARAHBERG        NJ                  US    41442   134346784@AIRLINE.KIWI.COM
2W37GU     1/1/2021   OB     1/1/2021   WN;2084;LAS;LAX                   JONESHAVEN           CA                  US    27086   134348291@AIRLINE.KIWI.COM
2W3IZA     1/1/2021   OB    1/22/2021   WN;469;MDW;LGA                    KATHLEENSTAD         MD                  US    93456   134348379@AIRLINE.KIWI.COM
2W3IZA     1/1/2021   RT    1/25/2021   WN;1914;LGA;MDW                   KATHLEENSTAD         MD                  US    93456   134348379@AIRLINE.KIWI.COM
2W92PH     1/1/2021   OB     1/3/2021   WN;2697;CLT;BWI;WN;4055;BWI;BUF   NEW ROSE             NJ                  US    54682   134348918@AIRLINE.KIWI.COM
2W9499     1/1/2021   OB    1/28/2021   WN;3792;LGA;MDW                   SOUTH DAWNVILLE      NY                  US    79285   134348687@AIRLINE.KIWI.COM
2W9499     1/1/2021   RT     2/2/2021   WN;5151;MDW;STL;WN;3422;STL;LGA   SOUTH DAWNVILLE      NY                  US    79285   134348687@AIRLINE.KIWI.COM




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2WOS7O            1/1/2021   OB   1/19/2021   WN;2838;MCO;STL;WN;3956;STL;DSM     PAULHAVEN              NJ                          US       18694   134350458@AIRLINE.KIWI.COM
2WTA8F            1/1/2021   OB    1/2/2021   WN;2047;FLL;HOU                     SOUTH PAULA            CO                          US       35577   134350755@AIRLINE.KIWI.COM
2WYC83            1/1/2021   OB    1/4/2021   WN;403;ATL;BNA;WN;468;BNA;DTW       SOUTH ERIK             WI                          US       12189   134351283@AIRLINE.KIWI.COM
2WYC83            1/1/2021   OB    1/4/2021   WN;403;ATL;BNA;WN;468;BNA;DTW       SOUTH ERIK             WI                          US       12189   134351283@AIRLINE.KIWI.COM
2WYC83            1/1/2021   OB    1/4/2021   WN;403;ATL;BNA;WN;468;BNA;DTW       SOUTH ERIK             WI                          US       12189   134351283@AIRLINE.KIWI.COM
2X5AJJ            1/1/2021   OB    1/5/2021   WN;1562;TPA;BWI;WN;1212;BWI;BOS     MATHEWVILLE            MO                          US       95030   134351690@AIRLINE.KIWI.COM
2XD99M            1/1/2021   OB    1/4/2021   WN;1208;SLC;DEN;WN;291;DEN;OKC      SLUPSK                 WIELKOPOLSKIE               PL       12735   134352867@AIRLINE.KIWI.COM
2XEFFW            1/1/2021   OB    1/2/2021   WN;1521;ATL;LGA                     BREWERVILLE            AK                          US       56185   134353098@AIRLINE.KIWI.COM
2XOAC3            1/1/2021   OB    1/3/2021   WN;4564;ONT;DEN;WN;5025;DEN;SAT     BILLYBERG              AZ                          US       57721   134354044@AIRLINE.KIWI.COM
2Y3FKR            1/1/2021   OB   1/12/2021   WN;1662;TUL;HOU;WN;4826;HOU;LAX     PORT SARA              NV                          US       25266   134355386@AIRLINE.KIWI.COM
2YE34E            1/1/2021   OB    1/2/2021   WN;6823;LAS;ATL                     JONESSHIRE             CO                          US       52254   134356090@AIRLINE.KIWI.COM
2YFWM9            1/1/2021   OB    1/2/2021   WN;857;MDW;CMH;WN;857;CMH;BWI;WN;13 NORTH DANIELFORT       VT                          US       22986   134354616@AIRLINE.KIWI.COM
2YJFLO            1/1/2021   OB    1/2/2021   WN;2185;MCO;BWI;WN;1842;BWI;MDW     NEW KARENTOWN          WV                          US       27486   134356750@AIRLINE.KIWI.COM
2YJFLO            1/1/2021   OB    1/2/2021   WN;2185;MCO;BWI;WN;1842;BWI;MDW     NEW KARENTOWN          WV                          US       27486   134356750@AIRLINE.KIWI.COM
2YJFLO            1/1/2021   OB    1/2/2021   WN;2185;MCO;BWI;WN;1842;BWI;MDW     NEW KARENTOWN          WV                          US       27486   134356750@AIRLINE.KIWI.COM
2YJFLO            1/1/2021   OB    1/2/2021   WN;2185;MCO;BWI;WN;1842;BWI;MDW     NEW KARENTOWN          WV                          US       27486   134356750@AIRLINE.KIWI.COM
2YLNYC            1/1/2021   OB    1/2/2021   WN;2046;CLT;BWI;WN;36;BWI;BDL       SOUTH JODY             GA                          US       41037   134356970@AIRLINE.KIWI.COM
2YRIOF            1/1/2021   OB    1/8/2021   WN;5151;MDW;STL;WN;3292;STL;TUL     ROYER                  MAYOTTE                     FR       55112   134357069@AIRLINE.KIWI.COM
2YXHZT            1/1/2021   OB    1/3/2021   WN;3747;CLT;BNA;WN;1695;BNA;DCA     LAKE MICHELEBURGH      MN                          US       41003   134357608@AIRLINE.KIWI.COM
2Z47MT            1/1/2021   OB    1/2/2021   WN;791;LAS;HOU;WN;661;HOU;MIA       G ROSSOSH              SAKHA RESPUBLIKA YAKUTIYA   RU       40116   134357861@AIRLINE.KIWI.COM
2Z47MT            1/1/2021   OB    1/2/2021   WN;791;LAS;HOU;WN;661;HOU;MIA       G ROSSOSH              SAKHA RESPUBLIKA YAKUTIYA   RU       40116   134357861@AIRLINE.KIWI.COM
2Z62IV            1/1/2021   OB    1/6/2021   WN;394;FLL;ATL;WN;1333;ATL;RIC      SOUTH LORIBOROUGH      MN                          US       65976   134358059@AIRLINE.KIWI.COM
2Z9IP7            1/1/2021   OB    1/2/2021   WN;1930;JAX;HOU;WN;1767;HOU;OKC     CAROLFURT              TX                          US       83501   134358312@AIRLINE.KIWI.COM
LSKC43            1/1/2021   OB    1/1/2021   WN;3041;BNA;BWI;WN;3041;BWI;MCO     -                      -                           -    -           132361075@AIRLINE.KIWI.COM
M27ICV            1/1/2021   OB    1/2/2021   WN;1755;MCO;CMH;WN;6881;CMH;BNA     -                      -                           -    -           131612096@AIRLINE.KIWI.COM
M2IOZK            1/1/2021   OB    1/2/2021   WN;1755;MCO;CMH;WN;6881;CMH;BNA     -                      -                           -    -           131612096@AIRLINE.KIWI.COM
2ZLF5L            1/2/2021   OB    1/2/2021   WN;1521;ATL;LGA                     WEST BRIAN             UT                          US       71107   134359060@AIRLINE.KIWI.COM
2ZNURR            1/2/2021   OB    1/8/2021   WN;3879;LIT;DAL;WN;3780;DAL;ABQ     NEW JACOBSTAD          RI                          US       27709   134356805@AIRLINE.KIWI.COM
2ZOF6L            1/2/2021   OB   3/17/2021   WN;1394;PHL;ATL;WN;736;ATL;OAK      SOUTH JONATHANTOWN     FL                          US       39779   134358884@AIRLINE.KIWI.COM
2ZQNJO            1/2/2021   OB    1/3/2021   WN;4590;ORF;BWI;WN;2299;BWI;AUS     EAST KIMBERLY          IL                          US       98318   134359467@AIRLINE.KIWI.COM
2ZXIBD            1/2/2021   OB    1/5/2021   WN;394;FLL;ATL;WN;656;ATL;CLE       STEVENSIDE             WA                          US       75565   134359654@AIRLINE.KIWI.COM
3277U2            1/2/2021   OB    1/4/2021   WN;1060;MIA;TPA;WN;1034;TPA;PIT     KIMBERLYBURGH          WV                          US       32845   134360369@AIRLINE.KIWI.COM
327SZN            1/2/2021   OB    1/5/2021   WN;1062;MIA;TPA;WN;2277;TPA;MDW     ROBERTSTON             LA                          US       58241   134358972@AIRLINE.KIWI.COM
327SZN            1/2/2021   OB    1/5/2021   WN;1062;MIA;TPA;WN;2277;TPA;MDW     ROBERTSTON             LA                          US       58241   134358972@AIRLINE.KIWI.COM
32EVSO            1/2/2021   OB    1/5/2021   WN;812;PUJ;BWI;WN;3369;BWI;CVG      PHILIPSHIRE            AMMOCHOSTOS                 CY       31472   134361271@AIRLINE.KIWI.COM
32T4S3            1/2/2021   OB    1/2/2021   WN;2188;MDW;HOU;WN;6847;HOU;ELP     PORT ANNABOROUGH       NJ                          US       76981   134362085@AIRLINE.KIWI.COM
32WDLP            1/2/2021   OB    1/3/2021   WN;1839;SAN;SMF                     NEW AMYSHIRE           MN                          US       70480   134362129@AIRLINE.KIWI.COM
32WDLP            1/2/2021   OB    1/3/2021   WN;1839;SAN;SMF                     NEW AMYSHIRE           MN                          US       70480   134362129@AIRLINE.KIWI.COM
332MXT            1/2/2021   OB    1/5/2021   WN;1333;GSP;ATL;WN;656;ATL;CLE      NORTH XAVIER           NM                          US       61834   134362415@AIRLINE.KIWI.COM
33AIKC            1/2/2021   OB    1/2/2021   WN;1681;TPA;HOU;WN;6847;HOU;ELP     WEST CARLY             KY                          US       97120   134363064@AIRLINE.KIWI.COM
33C9ZB            1/2/2021   OB    1/3/2021   WN;591;OGG;HNL;WN;2591;HNL;ITO      ROBERTOFURT            NH                          US       90170   134363075@AIRLINE.KIWI.COM
33LE7A            1/2/2021   OB    1/2/2021   WN;2402;SDF;DAL                     REYNOLDSSIDE           AR                          US       73392   134363878@AIRLINE.KIWI.COM
33LE7A            1/2/2021   OB    1/2/2021   WN;2402;SDF;DAL                     REYNOLDSSIDE           AR                          US       73392   134363878@AIRLINE.KIWI.COM
33OYS7            1/2/2021   OB    1/2/2021   WN;2181;DAL;AMA                     PORT MICHAELBURY       ID                          US       36630   134363878@AIRLINE.KIWI.COM
33OYS7            1/2/2021   OB    1/2/2021   WN;2181;DAL;AMA                     PORT MICHAELBURY       ID                          US       36630   134363878@AIRLINE.KIWI.COM
33PF5A            1/2/2021   OB    1/4/2021   WN;841;PHX;DEN                      SOUTH TERESA           NM                          US       94522   134364164@AIRLINE.KIWI.COM
33PF5A            1/2/2021   OB    1/4/2021   WN;841;PHX;DEN                      SOUTH TERESA           NM                          US       94522   134364164@AIRLINE.KIWI.COM
33RUYW            1/2/2021   OB    1/5/2021   WN;1060;MIA;TPA;WN;6100;TPA;RDU     FOSTERCHESTER          NM                          US       24576   134364142@AIRLINE.KIWI.COM
33RUYW            1/2/2021   OB    1/5/2021   WN;1060;MIA;TPA;WN;6100;TPA;RDU     FOSTERCHESTER          NM                          US       24576   134364142@AIRLINE.KIWI.COM
33T3PU            1/2/2021   OB   3/13/2021   WN;1084;HNL;SJC;WN;1492;SJC;DEN     EAST DANIEL            NH                          US       19223   134364153@AIRLINE.KIWI.COM
33TMTQ            1/2/2021   OB   2/16/2021   WN;569;DEN;OAK;WN;1282;OAK;HNL      PORT JAMES             LA                          US       29252   134364153@AIRLINE.KIWI.COM
         344356   1/2/2021   OB    1/2/2021   WN;1932;FLL;DEN;WN;1619;DEN;SFO     SOUTH TRAVIS           OK                          US        1548   134364780@AIRLINE.KIWI.COM
349C6M            1/2/2021   OB    1/5/2021   WN;2577;MIA;HOU                     SHELTONTOWN            MT                          US       70791   134365143@AIRLINE.KIWI.COM
34BTHQ            1/2/2021   OB    1/2/2021   WN;6822;SLC;LAS;WN;1178;LAS;SAN     AYERSBOROUGH           AK                          US       41280   134365616@AIRLINE.KIWI.COM
34BTHQ            1/2/2021   OB    1/2/2021   WN;6822;SLC;LAS;WN;1178;LAS;SAN     AYERSBOROUGH           AK                          US       41280   134365616@AIRLINE.KIWI.COM
35BNTQ            1/2/2021   OB    1/2/2021   WN;6970;ATL;PHL                     GINAFURT               MT                          US       49739   134367244@AIRLINE.KIWI.COM
35BPYV            1/2/2021   OB    1/5/2021   WN;2577;MIA;HOU;WN;810;HOU;LAX      WEST MADISON           AL                          US        5874   134367167@AIRLINE.KIWI.COM
35NQU5            1/2/2021   OB    1/3/2021   WN;2697;CLT;BWI                     SMITHCHESTER           KY                          US       67775   134365957@AIRLINE.KIWI.COM
35RBZA            1/2/2021   OB    1/3/2021   WN;3535;IND;HOU;WN;1706;HOU;AUS     JOSHUACHESTER          NH                          US       13158   134368102@AIRLINE.KIWI.COM
35X8BD            1/2/2021   OB    1/2/2021   WN;2181;FLL;BWI;WN;1797;BWI;LAX     NEW JAYVILLE           CO                          US       74089   134368531@AIRLINE.KIWI.COM
36JXIY            1/2/2021   OB    1/2/2021   WN;456;AUS;BNA;WN;474;BNA;RDU       NORTH CRYSTAL          NY                          US       23758   134369862@AIRLINE.KIWI.COM
36VMLF            1/2/2021   OB    1/4/2021   WN;499;DTW;MDW;WN;935;MDW;STL       PORT JENNIFERBURY      IA                          US       32031   134370698@AIRLINE.KIWI.COM
379JF7            1/2/2021   OB    1/4/2021   WN;1089;FLL;MDW                     PORT LORIMOUTH         MO                          US       85100   134371545@AIRLINE.KIWI.COM
37WWKO            1/2/2021   OB    1/3/2021   WN;3747;CLT;BNA                     ADAMSTON               MT                          US       24903   134372799@AIRLINE.KIWI.COM
386ZH6            1/2/2021   OB    1/9/2021   WN;2902;LAX;LAS                     COLLINSFURT            NM                          US       22943   134373118@AIRLINE.KIWI.COM
38CTJH            1/2/2021   OB    1/2/2021   WN;1863;ORF;BWI;WN;23;BWI;CLT       MADDOXPORT             KS                          US       73736   134373316@AIRLINE.KIWI.COM
398XZ7            1/2/2021   OB    1/3/2021   WN;2752;LAS;ATL                     EAST LISA              AL                          US        1128   134375582@AIRLINE.KIWI.COM
398XZ7            1/2/2021   OB    1/3/2021   WN;2752;LAS;ATL                     EAST LISA              AL                          US        1128   134375582@AIRLINE.KIWI.COM
3C45FH            1/2/2021   OB    1/2/2021   WN;2243;MDW;LAX;WN;2243;LAX;SFO     THOMASLAND             PA                          US       57784   134060993@AIRLINE.KIWI.COM
3C45FH            1/2/2021   OB    1/2/2021   WN;408;FLL;MDW;WN;408;MDW;PHX       THOMASLAND             PA                          US       57784   134060993@AIRLINE.KIWI.COM
3C45FH            1/2/2021   OB    1/2/2021   WN;2243;MDW;LAX;WN;2243;LAX;SFO     THOMASLAND             PA                          US       57784   134060993@AIRLINE.KIWI.COM
3C45FH            1/2/2021   OB    1/2/2021   WN;408;FLL;MDW;WN;408;MDW;PHX       THOMASLAND             PA                          US       57784   134060993@AIRLINE.KIWI.COM
3CIDQ9            1/2/2021   OB    1/3/2021   WN;3843;FLL;BWI                     NORTH JACOB            MT                          US       70342   134385779@AIRLINE.KIWI.COM
3CIPXB            1/2/2021   OB    1/2/2021   WN;1631;ATL;PHL                     BOOKERHAVEN            KY                          US       61204   134386384@AIRLINE.KIWI.COM
3E2TGV            1/2/2021   OB    1/2/2021   WN;540;LAS;ATL                      WEST TRACY             NC                          US        7072   134392676@AIRLINE.KIWI.COM
3E9HNE            1/2/2021   OB    1/5/2021   WN;346;SJU;BWI;WN;1261;BWI;DTW      BRANDONBURY            KS                          US       45777   134393545@AIRLINE.KIWI.COM
3F5F29            1/2/2021   OB    1/2/2021   WN;6849;HOU;DEN;WN;1715;DEN;MDW     EAST TERRI             AZ                          US       57177   134396966@AIRLINE.KIWI.COM
3FFEAB            1/2/2021   OB    1/3/2021   WN;1787;ATL;TPA;WN;1682;TPA;ALB     JEFFREYHAVEN           ME                          US       23125   134398286@AIRLINE.KIWI.COM
3FG395            1/2/2021   OB    1/3/2021   WN;1799;BWI;BOS                     SOUTH KENDRA           MO                          US       85577   134398319@AIRLINE.KIWI.COM
3FLKO9            1/2/2021   OB    1/3/2021   WN;4898;ELP;PHX;WN;4765;PHX;LAS     PORT JOSEPMOUTH        ALBERTA                     CA       92352   134399540@AIRLINE.KIWI.COM
3FLQVQ            1/2/2021   OB    1/2/2021   WN;2046;CLT;BWI                     WEST DOUGLASBURGH      AL                          US       32533   134399562@AIRLINE.KIWI.COM
3FOA5C            1/2/2021   OB    1/2/2021   WN;1161;SJU;MDW                     WEST ASHLEYVIEW        AR                          US       41284   134399463@AIRLINE.KIWI.COM
3FOA5C            1/2/2021   OB    1/3/2021   WN;4193;MDW;DTW                     WEST ASHLEYVIEW        AR                          US       41284   134399463@AIRLINE.KIWI.COM
3FOX5T            1/2/2021   OB    1/2/2021   WN;1516;LAS;RDU                     NORTH JENNIFER         ND                          US       83878   134400024@AIRLINE.KIWI.COM
3FSYS3            1/2/2021   OB    1/2/2021   WN;1885;LAS;PHX                     EAST BRANDONBERG       NV                          US       76411   134400530@AIRLINE.KIWI.COM
3G4SYT            1/2/2021   OB    1/3/2021   WN;4475;TUL;STL;WN;3420;STL;MCO     SHERIFURT              DE                          US       22639   134401729@AIRLINE.KIWI.COM
3GYYM4            1/2/2021   OB    1/3/2021   WN;3584;MSP;STL;WN;4417;STL;ATL     EAST DANIELMOUTH       DE                          US       75005   134405392@AIRLINE.KIWI.COM
3HED8H            1/2/2021   OB    1/3/2021   WN;1703;ELP;SAT                     COOPERFORT             WI                          US        5365   134407647@AIRLINE.KIWI.COM
3I2N26            1/2/2021   OB    1/3/2021   WN;2697;CLT;BWI;WN;3867;BWI;SAT     DAVIDVILLE             OK                          US       50821   134410320@AIRLINE.KIWI.COM
3I62QK            1/2/2021   OB    1/3/2021   WN;1995;MSY;ATL                     NORTH DOUGLAS          MN                          US       86442   134410243@AIRLINE.KIWI.COM
3J8ERX            1/2/2021   OB    1/3/2021   WN;3961;DEN;MDW                     CYNTHIATON             MI                          US       17219   134416557@AIRLINE.KIWI.COM
3JQ7X2            1/2/2021   OB    1/6/2021   WN;1046;CLT;BWI;WN;940;BWI;BDL      EAST CATHY             FL                          US       91553   134418471@AIRLINE.KIWI.COM
3JQ7X2            1/2/2021   OB    1/6/2021   WN;1046;CLT;BWI;WN;940;BWI;BDL      EAST CATHY             FL                          US       91553   134418471@AIRLINE.KIWI.COM
3K5QD2            1/2/2021   OB    1/3/2021   WN;3464;HOU;MCO;WN;678;MCO;CLE      JOSEPHMOUTH            HI                          US       34458   134420363@AIRLINE.KIWI.COM
3K6VUI            1/2/2021   OB    1/3/2021   WN;3387;MDW;LGA                     SCOTTFURT              ID                          US       81202   134420682@AIRLINE.KIWI.COM
3KE9TY            1/2/2021   OB    1/3/2021   WN;2738;LAS;MSP                     PORT DANIEL            AZ                          US       18162   134422266@AIRLINE.KIWI.COM
3KHN49            1/2/2021   OB    1/3/2021   WN;2096;ATL;MCO;WN;3971;MCO;BUF     WEST CHARLENEBOROUGH   RI                          US       37267   134422508@AIRLINE.KIWI.COM
3KUQX4            1/2/2021   OB    1/6/2021   WN;402;MKE;DEN;WN;582;DEN;TUL       NORTH DANASHIRE        MA                          US       75799   134421045@AIRLINE.KIWI.COM
3L3F8K            1/2/2021   OB    1/5/2021   WN;981;MCO;BWI;WN;368;BWI;ORF       WILLIAMSCHESTER        VT                          US        2028   134425181@AIRLINE.KIWI.COM
3L3VVD            1/2/2021   OB    1/4/2021   WN;1057;MIA;HOU;WN;108;HOU;PVR      NORTH JUDY             FL                          US       89443   134425445@AIRLINE.KIWI.COM
3L5RZ3            1/2/2021   OB    1/5/2021   WN;1003;ELP;HOU                     CAMERONCHESTER         MA                          US       49509   134425610@AIRLINE.KIWI.COM
3L7G5G            1/2/2021   OB   3/20/2021   WN;2972;LGB;PHX;WN;1094;PHX;BNA     MORGANBURY             WA                          US       35159   134425632@AIRLINE.KIWI.COM
3L7G5G            1/2/2021   OB   3/20/2021   WN;2972;LGB;PHX;WN;1094;PHX;BNA     MORGANBURY             WA                          US       35159   134425632@AIRLINE.KIWI.COM
3L86BB            1/2/2021   OB    1/3/2021   WN;3399;CLE;HOU;WN;2027;HOU;SAT     RICHARDVILLE           FL                          US       65407   134425720@AIRLINE.KIWI.COM
3LAG3K            1/2/2021   OB   3/25/2021   WN;1027;BNA;LAX                     KYLETON                CT                          US        4493   134425632@AIRLINE.KIWI.COM
3LAG3K            1/2/2021   OB   3/25/2021   WN;1027;BNA;LAX                     KYLETON                CT                          US        4493   134425632@AIRLINE.KIWI.COM
3LBX55            1/2/2021   OB    1/2/2021   WN;2346;LAS;LAX                     KEITHSIDE              SD                          US       69285   134426369@AIRLINE.KIWI.COM




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3LEW5Y    1/2/2021   OB    1/3/2021   WN;6824;ATL;LAS;WN;2291;LAS;SFO   CARLOSFORT             UT                    US   50903   134426193@AIRLINE.KIWI.COM
3LOX37    1/2/2021   OB    4/7/2021   WN;1723;RSW;STL                   EAST AMBER             MA                    US   85011   134427711@AIRLINE.KIWI.COM
3LOX37    1/2/2021   OB    4/7/2021   WN;1723;RSW;STL                   EAST AMBER             MA                    US   85011   134427711@AIRLINE.KIWI.COM
3LQHYG    1/2/2021   OB    4/3/2021   WN;3150;STL;RSW                   EAST AMYCHESTER        MN                    US    8924   134427711@AIRLINE.KIWI.COM
3LQHYG    1/2/2021   OB    4/3/2021   WN;3150;STL;RSW                   EAST AMYCHESTER        MN                    US    8924   134427711@AIRLINE.KIWI.COM
3LQUFQ    1/2/2021   OB    1/3/2021   WN;1857;ATL;PHX;WN;4898;PHX;BUR   SUSANVIEW              CO                    US   52825   134428129@AIRLINE.KIWI.COM
3LT68S    1/2/2021   OB    1/3/2021   WN;1894;LAX;MSY                   NEW SOPHIABOROUGH      ND                    US   16666   134427942@AIRLINE.KIWI.COM
3LVEZZ    1/2/2021   OB    1/5/2021   WN;193;BHM;MDW;WN;1192;MDW;CLT    NEW GREGORYBOROUGH     NY                    US   65246   134428503@AIRLINE.KIWI.COM
3LZ7DR    1/2/2021   OB    1/3/2021   WN;4014;LGA;DAL                   PORT STEVELAND         KY                    US   87582   134427590@AIRLINE.KIWI.COM
3M3WL8    1/2/2021   OB    1/3/2021   WN;1060;MIA;TPA                   ROBERTTOWN             NC                    US   47378   134429449@AIRLINE.KIWI.COM
3M8TLD    1/2/2021   OB    1/3/2021   WN;2106;ELP;PHX;WN;6921;PHX;SMF   DANIELBURGH            IN                    US   71483   134430230@AIRLINE.KIWI.COM
3N2TDW    1/2/2021   OB    1/3/2021   WN;794;LAS;SJC                    MCMAHONSTAD            VA                    US   69807   134433090@AIRLINE.KIWI.COM
3NU3PP    1/2/2021   OB    1/3/2021   WN;6970;ATL;PHL                   LAKE BARBARALAND       FL                    US   35112   134435642@AIRLINE.KIWI.COM
3NUJNZ    1/2/2021   OB    1/3/2021   WN;2223;BOS;MDW                   CIUDAD                 HUELVA                ES    5128   134435950@AIRLINE.KIWI.COM
3NZO6E    1/2/2021   OB    1/3/2021   WN;1835;JAX;MDW                   EAST DANIELLEVILLE     WI                    US   72020   134436269@AIRLINE.KIWI.COM
3NZO6E    1/2/2021   OB    1/3/2021   WN;1974;JAX;MDW                   EAST DANIELLEVILLE     WI                    US   72020   134436269@AIRLINE.KIWI.COM
3O2LR3    1/2/2021   OB    1/3/2021   WN;1705;LAS;PHX                   NICHOLASCHESTER        OK                    US   46779   134436181@AIRLINE.KIWI.COM
3P257T    1/3/2021   OB    1/3/2021   WN;2106;AUS;ELP                   PORT LORIFORT          CA                    US   27868   134438403@AIRLINE.KIWI.COM
3P2XAW    1/3/2021   OB    1/3/2021   WN;2697;CLT;BWI;WN;3556;BWI;SAN   WEST KYLESIDE          IA                    US   26206   134438502@AIRLINE.KIWI.COM
3P7PWV    1/3/2021   OB    1/3/2021   WN;1708;HOU;ATL                   MARTINEZCHESTER        ID                    US   41011   134437952@AIRLINE.KIWI.COM
3PF7DX    1/3/2021   OB    1/5/2021   WN;1060;MIA;TPA;WN;6104;TPA;PHL   PEREZHAVEN             KS                    US   74043   134439547@AIRLINE.KIWI.COM
3PJNVX    1/3/2021   OB   1/19/2021   WN;6302;ATL;DCA                   WEST JACKIE            VT                    US   99751   134439888@AIRLINE.KIWI.COM
3PJNVX    1/3/2021   OB   1/19/2021   WN;6302;ATL;DCA                   WEST JACKIE            VT                    US   99751   134439888@AIRLINE.KIWI.COM
3POVF4    1/3/2021   OB    1/4/2021   WN;1025;BUF;BWI;WN;634;BWI;STL    MARIABOROUGH           AR                    US   12292   134440119@AIRLINE.KIWI.COM
3PW7MS    1/3/2021   OB    2/1/2021   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TING TIAN SHI          TOKYO                 JP   68439   134440922@AIRLINE.KIWI.COM
3PW7MS    1/3/2021   OB    2/1/2021   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TING TIAN SHI          TOKYO                 JP   68439   134440922@AIRLINE.KIWI.COM
3PW7MS    1/3/2021   OB    2/1/2021   WN;3075;MIA;BWI;WN;2510;BWI;BOS   TING TIAN SHI          TOKYO                 JP   68439   134440922@AIRLINE.KIWI.COM
3PW7MS    1/3/2021   RT   2/10/2021   WN;2978;BOS;BWI;WN;102;BWI;MIA    TING TIAN SHI          TOKYO                 JP   68439   134440922@AIRLINE.KIWI.COM
3PW7MS    1/3/2021   RT   2/10/2021   WN;2978;BOS;BWI;WN;102;BWI;MIA    TING TIAN SHI          TOKYO                 JP   68439   134440922@AIRLINE.KIWI.COM
3PW7MS    1/3/2021   RT   2/10/2021   WN;2978;BOS;BWI;WN;102;BWI;MIA    TING TIAN SHI          TOKYO                 JP   68439   134440922@AIRLINE.KIWI.COM
3PY4MN    1/3/2021   OB    1/4/2021   WN;647;LAS;TUS                    MEININGEN              THURINGEN             DE   34610   134440878@AIRLINE.KIWI.COM
3Q9WH9    1/3/2021   OB    1/3/2021   WN;1058;HOU;MIA                   TIMTON                 MT                    US   63328   134441318@AIRLINE.KIWI.COM
3QNB9H    1/3/2021   OB    1/3/2021   WN;1896;ATL;BNA;WN;4680;BNA;LGA   LANCHXUTI              TBILISI               GE   51592   134442737@AIRLINE.KIWI.COM
3QRKWZ    1/3/2021   OB    1/5/2021   WN;974;FLL;MDW;WN;2172;MDW;LGA    NORTH NICHOLAS         ID                    US   20102   134442825@AIRLINE.KIWI.COM
3QX27W    1/3/2021   OB    1/4/2021   WN;561;ATL;HOU;WN;553;HOU;ELP     LAKE THOMASSIDE        OK                    US   60279   134443342@AIRLINE.KIWI.COM
3R6QZR    1/3/2021   OB    1/3/2021   WN;3747;CLT;BNA;WN;4680;BNA;LGA   GARCIAMOUTH            HI                    US   61445   134443837@AIRLINE.KIWI.COM
3R8R4Q    1/3/2021   OB    2/1/2021   WN;1059;MSY;BWI                   NORTH JAMIESHIRE       AR                    US   73663   134444156@AIRLINE.KIWI.COM
3RA8FN    1/3/2021   OB    1/3/2021   WN;3812;LAS;MCO                   NASHIK                 IN                    US   42200   134440999@AIRLINE.KIWI.COM
3ROPVI    1/3/2021   OB    1/5/2021   WN;332;MIA;BWI;WN;843;BWI;MDW     WEST DOUGLASLAND       WV                    US   93817   134445223@AIRLINE.KIWI.COM
3S2TX5    1/3/2021   OB    1/3/2021   WN;4394;BNA;HOU;WN;4670;HOU;SAT   JENNIFERFORT           AR                    US   22248   134446070@AIRLINE.KIWI.COM
3S3KFY    1/3/2021   OB   5/17/2021   WN;1028;CUN;DEN                   MEDINAFURT             FL                    US   27106   134445784@AIRLINE.KIWI.COM
3S3KFY    1/3/2021   OB   5/17/2021   WN;1028;CUN;DEN                   MEDINAFURT             FL                    US   27106   134445784@AIRLINE.KIWI.COM
3S9VGT    1/3/2021   OB    1/3/2021   WN;3613;MDW;ATL                   KIMBERLYBURGH          AR                    US    3405   134446587@AIRLINE.KIWI.COM
3SIZ6I    1/3/2021   OB    1/4/2021   WN;6882;LAS;ATL                   WEST BRANDON           CO                    US   20372   134447082@AIRLINE.KIWI.COM
3T35LK    1/3/2021   OB    1/3/2021   WN;3584;MSP;STL;WN;4417;STL;ATL   ULVILA                 LAPPI                 FI   11138   134448512@AIRLINE.KIWI.COM
3TAIGE    1/3/2021   OB    1/3/2021   WN;3464;MCO;ATL                   LAKE AARONBURY         CA                    US   33077   134449161@AIRLINE.KIWI.COM
3TBCK4    1/3/2021   OB    1/9/2021   WN;3504;MDW;TPA                   KLKH KHOSTA            KARELIYA RESPUBLIKA   RU   17174   134449117@AIRLINE.KIWI.COM
3TFB34    1/3/2021   OB    1/3/2021   WN;2431;LAS;SAN                   ASHLEYLAND             VA                    US   58441   134449183@AIRLINE.KIWI.COM
3TYQV2    1/3/2021   OB    1/4/2021   WN;6877;ATL;DEN;WN;1035;DEN;MSP   BENSONBURGH            MN                    US   86040   134450206@AIRLINE.KIWI.COM
3U7T9Z    1/3/2021   OB   4/29/2021   WN;506;SFO;SAN                    REBECCATON             NC                    US   19732   134433607@AIRLINE.KIWI.COM
3UROPI    1/3/2021   OB    1/3/2021   WN;2256;LAX;HOU;WN;4005;HOU;MCO   MEGANBERG              TN                    US   33705   134344111.1528579@AIRLINE.KIWI.COM
3US7PA    1/3/2021   OB    1/3/2021   WN;3525;LAS;LAX                   FOXBURY                ID                    US   43689   134344111.1528579@AIRLINE.KIWI.COM
3V8CLK    1/3/2021   OB    1/3/2021   WN;2179;PHX;AUS                   FARMERVILLE            CA                    US   98124   134452527@AIRLINE.KIWI.COM
3W7RNJ    1/3/2021   OB    1/3/2021   WN;6884;ATL;DEN;WN;1791;DEN;MSP   NEW TOM                GA                    US   27697   134454760@AIRLINE.KIWI.COM
3WOW7C    1/3/2021   OB    1/3/2021   WN;1746;LAS;PHX                   PORT DAWNBERG          MD                    US   86770   134456388@AIRLINE.KIWI.COM
3XSTZ4    1/3/2021   OB    1/3/2021   WN;4553;ATL;HOU;WN;3380;HOU;BUR   PORT BARBARA           WV                    US   98724   134459358@AIRLINE.KIWI.COM
3ZE925    1/3/2021   OB    1/3/2021   WN;6962;PHL;ATL                   LAKE ERIKMOUTH         WY                    US   88616   134465067@AIRLINE.KIWI.COM
42H7YI    1/3/2021   OB    1/4/2021   WN;1513;DEN;STL                   WONGVIEW               OR                    US   83054   134469907@AIRLINE.KIWI.COM
42Q57O    1/3/2021   OB    1/4/2021   WN;125;MSY;DEN;WN;423;DEN;LAX     BRUCEMOUTH             ME                    US   41446   134471337@AIRLINE.KIWI.COM
43QMUE    1/3/2021   OB    1/4/2021   WN;1054;ATL;PHL                   LINDASIDE              ND                    US   77449   134475946@AIRLINE.KIWI.COM
43QMUE    1/3/2021   OB    1/4/2021   WN;1054;ATL;PHL                   LINDASIDE              ND                    US   77449   134475946@AIRLINE.KIWI.COM
43QMUE    1/3/2021   OB    1/4/2021   WN;1054;ATL;PHL                   LINDASIDE              ND                    US   77449   134475946@AIRLINE.KIWI.COM
44B9M2    1/3/2021   OB    1/4/2021   WN;492;HOU;ATL                    MARGARETTON            WY                    US   33738   134478410@AIRLINE.KIWI.COM
44KTK7    1/3/2021   OB    1/4/2021   WN;328;CUN;HOU;WN;999;HOU;SAT     SAN ANDREA LOS BAJOS   CIUDAD DE MEXICO      MX   22505   134480621@AIRLINE.KIWI.COM
44R7RR    1/3/2021   OB   1/18/2021   WN;1610;CUN;BWI                   LAKE ANDREA            LA                    US   95296   134480973@AIRLINE.KIWI.COM
44YXML    1/3/2021   OB    1/3/2021   WN;3393;TPA;MCI                   THOMPSONFURT           WA                    US   74540   134481886@AIRLINE.KIWI.COM
458Q66    1/3/2021   OB    1/3/2021   WN;2299;PIT;MDW;WN;3512;MDW;HOU   SCHROEDERFORT          OH                    US   38893   134482788@AIRLINE.KIWI.COM
45AFXP    1/3/2021   OB    1/4/2021   WN;1437;DEN;MCI                   VIEJA UZBEKISTAN       NAYARIT               MX   15720   134481963@AIRLINE.KIWI.COM
45FEW2    1/3/2021   OB    1/3/2021   WN;1835;ATL;IAD                   KELLEYBOROUGH          AL                    US   85438   134483646@AIRLINE.KIWI.COM
45GSN3    1/3/2021   OB    1/4/2021   WN;465;HOU;DEN;WN;465;DEN;MDW     SHERIVILLE             MS                    US   80171   134483756@AIRLINE.KIWI.COM
46284J    1/3/2021   OB    1/3/2021   WN;6952;LAS;SEA                   NORTH CONNORBURY       MA                    US    9419   134487089@AIRLINE.KIWI.COM
469SBL    1/3/2021   OB   1/20/2021   WN;3529;AUS;DEN;WN;3927;DEN;LAX   JONESTON               GA                    US   55000   134488816@AIRLINE.KIWI.COM
469SBL    1/3/2021   RT   1/26/2021   WN;2298;LAX;HOU;WN;3003;HOU;AUS   JONESTON               GA                    US   55000   134488816@AIRLINE.KIWI.COM
46EKTZ    1/3/2021   OB    1/3/2021   WN;1056;HOU;MIA                   LAKE EMILY             MT                    US   72003   134487133@AIRLINE.KIWI.COM
46GBWA    1/3/2021   OB    1/3/2021   WN;3745;DAL;TUL                   EAST SYDNEYSHIRE       IN                    US   15692   134487947@AIRLINE.KIWI.COM
46GBWA    1/3/2021   OB    1/3/2021   WN;3745;DAL;TUL                   EAST SYDNEYSHIRE       IN                    US   15692   134487947@AIRLINE.KIWI.COM
46HFUE    1/3/2021   OB    1/3/2021   WN;3862;LAX;DEN;WN;1935;DEN;RDU   SOUTH MEGAN            KS                    US   14457   134489586@AIRLINE.KIWI.COM
46OGPH    1/3/2021   OB    1/4/2021   WN;6840;ATL;PHL                   LAKE MARYCHESTER       OR                    US   28302   134491126@AIRLINE.KIWI.COM
46PQCC    1/3/2021   OB    1/3/2021   WN;4506;DTW;STL                   NEW COLE               AK                    US   12746   134491159@AIRLINE.KIWI.COM
475OJD    1/3/2021   OB    1/3/2021   WN;4981;SMF;LAS                   LAKE HANNAHBOROUGH     MT                    US     621   134492732@AIRLINE.KIWI.COM
47MTNF    1/3/2021   OB    1/3/2021   WN;4447;LAS;SEA                   PORT CHARLES           NH                    US   13053   134495823@AIRLINE.KIWI.COM
48595J    1/3/2021   OB    1/7/2021   WN;218;MDW;CUN                    VIEJA ALBANIA          JALISCO               MX   97713   134498254@AIRLINE.KIWI.COM
48595J    1/3/2021   OB    1/7/2021   WN;218;MDW;CUN                    VIEJA ALBANIA          JALISCO               MX   97713   134498254@AIRLINE.KIWI.COM
488SH3    1/3/2021   OB   1/17/2021   WN;2537;PHX;DEN;WN;1454;DEN;MSP   WEST JOHN              WA                    US   72837   134498826@AIRLINE.KIWI.COM
488SH3    1/3/2021   OB   1/17/2021   WN;2537;PHX;DEN;WN;1454;DEN;MSP   WEST JOHN              WA                    US   72837   134498826@AIRLINE.KIWI.COM
48FOYJ    1/3/2021   OB    1/5/2021   WN;535;CVG;DEN;WN;1218;DEN;SMF    WHITEBERG              AL                    US   51683   134500289@AIRLINE.KIWI.COM
48QKEU    1/3/2021   OB    1/4/2021   WN;1090;ATL;RDU                   JOSHUAVIEW             PA                    US   60229   134502027@AIRLINE.KIWI.COM
48UVLW    1/3/2021   OB    1/6/2021   WN;1060;MIA;TPA;WN;745;TPA;ATL    WEST WILLIAMBURGH      MN                    US   96942   134502236@AIRLINE.KIWI.COM
49CQZB    1/3/2021   OB   1/15/2021   WN;3134;DTW;BWI;WN;4118;BWI;FLL   BENNETTBURGH           ME                    US   66923   134504634@AIRLINE.KIWI.COM
49CQZB    1/3/2021   RT   1/18/2021   WN;3185;FLL;BNA;WN;3585;BNA;DTW   BENNETTBURGH           ME                    US   66923   134504634@AIRLINE.KIWI.COM
49D6HL    1/3/2021   OB    1/4/2021   WN;1331;MCO;ISP                   PORT TONYA             WY                    US   62349   134504458@AIRLINE.KIWI.COM
49SWMZ    1/3/2021   OB    1/4/2021   WN;1090;ATL;RDU                   SOUTH AMBER            OR                    US   19383   134507549@AIRLINE.KIWI.COM
49VYTO    1/3/2021   OB    1/4/2021   WN;831;ATL;CMH                    OCONNORMOUTH           MA                    US    9509   134507769@AIRLINE.KIWI.COM
49Z9DR    1/3/2021   OB    1/3/2021   WN;2976;MDW;PHX                   TANYABURY              NH                    US   87970   134508396@AIRLINE.KIWI.COM
4AGD5K    1/3/2021   OB    1/4/2021   WN;6840;ATL;PHL                   CONNIESTAD             CT                    US   11107   134509683@AIRLINE.KIWI.COM
4AZ7TR    1/3/2021   OB    1/6/2021   WN;1014;MIA;MDW;WN;2172;MDW;LGA   ROTTENMANN             NIEDEROSTERREICH      AT   17165   134511905@AIRLINE.KIWI.COM
4B228J    1/3/2021   OB    1/4/2021   WN;144;ATL;OKC                    BETHANYCHESTER         MO                    US   92962   134512532@AIRLINE.KIWI.COM
4B228J    1/3/2021   OB    1/4/2021   WN;144;ATL;OKC                    BETHANYCHESTER         MO                    US   92962   134512532@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                    IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                    IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                    IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                    IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX   IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX   IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX   IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX   IANSIDE                TX                    US   59004   134513676@AIRLINE.KIWI.COM
4BIDGA    1/3/2021   OB    1/4/2021   WN;221;ATL;IAD                    COOPERBERG             ME                    US   68107   134513896@AIRLINE.KIWI.COM




                                                                                                                                                           Appx. 325
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4BIDGA    1/3/2021   OB    1/4/2021   WN;221;ATL;IAD                          COOPERBERG            ME                      US   68107   134513896@AIRLINE.KIWI.COM
4BMAZF    1/3/2021   OB    1/4/2021   WN;6840;ATL;PHL                         NEW IANVILLE          KY                      US   54564   134514435@AIRLINE.KIWI.COM
4BMJGF    1/3/2021   OB    1/5/2021   WN;980;FLL;BWI;WN;1212;BWI;BOS          JESUS                 PARA                    BR   21595   134514270@AIRLINE.KIWI.COM
4BMJGF    1/3/2021   OB    1/5/2021   WN;980;FLL;BWI;WN;1212;BWI;BOS          JESUS                 PARA                    BR   21595   134514270@AIRLINE.KIWI.COM
4BMJGF    1/3/2021   OB    1/5/2021   WN;980;FLL;BWI;WN;1212;BWI;BOS          JESUS                 PARA                    BR   21595   134514270@AIRLINE.KIWI.COM
4BMQOU    1/3/2021   OB    1/5/2021   WN;2172;MDW;LGA                         EAST JAMESVIEW        OK                      US   95532   134514600@AIRLINE.KIWI.COM
4C3O8P    1/3/2021   OB    1/5/2021   WN;1066;FLL;MCO;WN;654;MCO;CVG          PAULTON               AZ                      US   23442   134515799@AIRLINE.KIWI.COM
4C5QSQ    1/3/2021   OB    1/4/2021   WN;582;DEN;TUL                          CHARLESHAVEN          FL                      US   87940   134515744@AIRLINE.KIWI.COM
4C8K4C    1/3/2021   OB    1/4/2021   WN;221;ATL;IAD                          LAKE TAMARA           IA                      US    2391   134516371@AIRLINE.KIWI.COM
4CA2UO    1/3/2021   OB    1/5/2021   WN;1062;MIA;TPA;WN;1568;TPA;ATL         WEST AMBER            OH                      US   34606   134516437@AIRLINE.KIWI.COM
4CU7K2    1/3/2021   OB    1/6/2021   WN;1066;MCO;PHX;WN;1266;PHX;LAX         MAYBURY               AR                      US    9684   134518241@AIRLINE.KIWI.COM
4D5DPW    1/4/2021   OB   1/18/2021   WN;6291;DCA;ATL                         BLACKMOUTH            PA                      US   13450   134519011@AIRLINE.KIWI.COM
4D5DPW    1/4/2021   RT   1/19/2021   WN;6302;ATL;DCA                         BLACKMOUTH            PA                      US   13450   134519011@AIRLINE.KIWI.COM
4D9UEM    1/4/2021   OB    1/9/2021   WN;217;CUN;MDW                          NEW JAMESMOUTH        OK                      US   50103   134512411@AIRLINE.KIWI.COM
4E7VZJ    1/4/2021   OB    1/4/2021   WN;1582;DAL;MSY;WN;1582;MSY;ATL         JENNIFERTON           FL                      US   80846   134521552@AIRLINE.KIWI.COM
4EH58M    1/4/2021   OB   1/29/2021   WN;1059;MEM;HOU;WN;3;HOU;SAN            BOOKERBERG            MS                      US   20063   134522278@AIRLINE.KIWI.COM
4ELJK6    1/4/2021   OB    1/4/2021   WN;959;LAS;ATL                          WEST LISAFORT         KS                      US   25751   134523037@AIRLINE.KIWI.COM
4ELJK6    1/4/2021   OB    1/4/2021   WN;959;LAS;ATL                          WEST LISAFORT         KS                      US   25751   134523037@AIRLINE.KIWI.COM
4EQ6G2    1/4/2021   OB    1/3/2021   WN;1705;LAS;PHX                         PORT NATALIEVILLE     SC                      US   27808   134523543@AIRLINE.KIWI.COM
4EVHEU    1/4/2021   OB    1/4/2021   WN;144;ATL;OKC                          CARRILLOBURGH         KY                      US   62662   134524181@AIRLINE.KIWI.COM
4EWQLL    1/4/2021   OB    1/6/2021   WN;154;ATL;LGA                          MASONBERG             MN                      US   20354   134523906@AIRLINE.KIWI.COM
4F2DUR    1/4/2021   OB    2/2/2021   WN;2246;ATL;STL                         KATHERINEBURGH        TX                      US   23314   134524093@AIRLINE.KIWI.COM
4F6XBO    1/4/2021   OB    1/4/2021   WN;1225;ATL;MCO;WN;849;MCO;ISP          HALLLAND              MA                      US   14044   134524808@AIRLINE.KIWI.COM
4F6XBO    1/4/2021   OB    1/4/2021   WN;1225;ATL;MCO;WN;849;MCO;ISP          HALLLAND              MA                      US   14044   134524808@AIRLINE.KIWI.COM
4F6XBO    1/4/2021   OB    1/4/2021   WN;1225;ATL;MCO;WN;849;MCO;ISP          HALLLAND              MA                      US   14044   134524808@AIRLINE.KIWI.COM
4F9VI5    1/4/2021   OB    1/4/2021   WN;1334;ATL;MCO                         PORT RANDY            OH                      US   62162   134525259@AIRLINE.KIWI.COM
4F9VI5    1/4/2021   OB    1/5/2021   WN;162;MCO;PVD                          PORT RANDY            OH                      US   62162   134525259@AIRLINE.KIWI.COM
4FCVCM    1/4/2021   OB   1/17/2021   WN;3176;MDW;DAL;WN;3481;DAL;MTJ         WEST BECKYVIEW        NH                      US   20165   134525512@AIRLINE.KIWI.COM
4FM4AY    1/4/2021   OB    1/5/2021   WN;154;ATL;LGA                          NEW CHRISTINEVILLE    SD                      US   26783   134526150@AIRLINE.KIWI.COM
4GAJM5    1/4/2021   OB    1/4/2021   WN;6840;ATL;PHL                         PRICESTAD             AL                      US   44819   134527558@AIRLINE.KIWI.COM
4GGSE7    1/4/2021   OB    1/5/2021   WN;112;ATL;PHX;WN;855;PHX;LAS;WN;855;LA RODRIGUEZSIDE         AR                      US   53951   134528196@AIRLINE.KIWI.COM
4GTDH8    1/4/2021   OB    1/4/2021   WN;643;LAS;LAX                          LAKE DENISE           UT                      US   90595   134529307@AIRLINE.KIWI.COM
4GTV7Q    1/4/2021   OB    2/9/2021   WN;4862;OAK;LAS                         MARYPORT              MA                      US   97470   134529318@AIRLINE.KIWI.COM
4H6LYS    1/4/2021   OB    1/4/2021   WN;643;LAS;LAX                          ROBERTMOUTH           MT                      US   22371   134529791@AIRLINE.KIWI.COM
4HB5ER    1/4/2021   OB    1/4/2021   WN;1054;ATL;PHL                         ADAMSBURGH            OK                      US   45010   134530121@AIRLINE.KIWI.COM
4HB5ER    1/4/2021   OB    1/4/2021   WN;1054;ATL;PHL                         ADAMSBURGH            OK                      US   45010   134530121@AIRLINE.KIWI.COM
4I8TZG    1/4/2021   OB    1/9/2021   WN;2153;MIA;BWI;WN;2749;BWI;CLE         WEST SARAH            SC                      US   98040   134531760@AIRLINE.KIWI.COM
4I9OGB    1/4/2021   OB   1/31/2021   WN;1900;LAS;SEA                         NORTH COURTNEY        AL                      US   93405   134531958@AIRLINE.KIWI.COM
4IA3MW    1/4/2021   OB   1/31/2021   WN;1900;LAS;SEA                         LAKE KRISTEN          MT                      US    7621   134531914@AIRLINE.KIWI.COM
4IKLGB    1/4/2021   OB    1/4/2021   WN;6840;ATL;PHL                         MARCUSTON             ID                      US    9423   134532673@AIRLINE.KIWI.COM
4IQ9ZR    1/4/2021   OB   1/26/2021   WN;1515;DTW;MDW                         EAST SCOTTSIDE        ND                      US   36180   134532453@AIRLINE.KIWI.COM
4ISIKH    1/4/2021   OB   1/18/2021   WN;1461;PHL;MDW;WN;3122;MDW;ABQ         TIMOTHYLAND           ND                      US    6893   134532893@AIRLINE.KIWI.COM
4JITWJ    1/4/2021   OB   5/15/2021   WN;1260;HNL;LGB                         LAKE CARL             MD                      US   19253   134534455@AIRLINE.KIWI.COM
4JL73O    1/4/2021   OB   1/19/2021   WN;2758;ORF;BWI                         DAWNBURGH             NJ                      US   84568   134534433@AIRLINE.KIWI.COM
4JUZ8T    1/4/2021   OB    1/4/2021   WN;1533;MCI;OAK                         NEW LUIS              WY                      US    4245   134535115@AIRLINE.KIWI.COM
4MDFNM    1/4/2021   OB    1/6/2021   WN;1051;MIA;BWI;WN;1090;BWI;ATL         BARCELONA             ZARAGOZA                ES   18034   134542870@AIRLINE.KIWI.COM
4NI74X    1/4/2021   OB    1/4/2021   WN;6840;ATL;PHL                         ZUNIGAVIEW            IN                      US    6995   134549756@AIRLINE.KIWI.COM
4NXN26    1/4/2021   OB    1/4/2021   WN;1090;ATL;RDU                         TAMISHIRE             WI                      US   93416   134552319@AIRLINE.KIWI.COM
4O57ZU    1/4/2021   OB    1/5/2021   WN;551;FLL;TPA;WN;4443;TPA;LGA          WARNERSIDE            SC                      US   63191   134552583@AIRLINE.KIWI.COM
4OGMQK    1/4/2021   OB    1/5/2021   WN;155;ATL;LGA                          DAVIDTOWN             KY                      US   65367   134554332@AIRLINE.KIWI.COM
4R5HWS    1/4/2021   OB    1/5/2021   WN;643;LAS;LAX                          TERRYBURY             MS                      US   26590   134572878@AIRLINE.KIWI.COM
4R5TBP    1/4/2021   OB    1/5/2021   WN;3360;ATL;LGA                         ANGELATOWN            IA                      US   40141   134571998@AIRLINE.KIWI.COM
4R748Y    1/4/2021   OB    1/4/2021   WN;6840;ATL;PHL                         SOUTH LAURA           IA                      US    2186   134572075@AIRLINE.KIWI.COM
4RHL5X    1/4/2021   OB   1/26/2021   WN;2636;MDW;MSP                         SOUTH JEREMIAH        WY                      US   38204   134575133@AIRLINE.KIWI.COM
4S9733    1/4/2021   OB   1/26/2021   WN;3168;ELP;PHX                         LAKE JOSHUA           SD                      US   91669   134580402@AIRLINE.KIWI.COM
4SDS3Y    1/4/2021   OB   1/21/2021   WN;2931;BNA;MDW                         HARRISBURGH           NM                      US   81544   134581920@AIRLINE.KIWI.COM
4SP23M    1/4/2021   OB    1/5/2021   WN;1062;MIA;TPA;WN;1568;TPA;ATL         ZUGDIDI               IMERETI                 GE   37337   134583647@AIRLINE.KIWI.COM
4SP23M    1/4/2021   OB    1/5/2021   WN;1062;MIA;TPA;WN;1568;TPA;ATL         ZUGDIDI               IMERETI                 GE   37337   134583647@AIRLINE.KIWI.COM
4T74WB    1/4/2021   OB   3/22/2021   WN;1107;HNL;LGB                         JONATHANVILLE         KS                      US   12574   134586595@AIRLINE.KIWI.COM
4T8QDI    1/4/2021   OB   3/18/2021   WN;728;ATL;BNA;WN;705;BNA;LAX           ALLENBURY             WA                      US   43496   134586595@AIRLINE.KIWI.COM
4TEDQN    1/4/2021   OB   3/23/2021   WN;2150;LGB;PHX;WN;382;PHX;ATL          LAKE BARBARATON       KS                      US   41729   134586595@AIRLINE.KIWI.COM
4TEP94    1/4/2021   OB    1/5/2021   WN;1256;FLL;PVD                         BRAYSTAD              WY                      US   78814   134588960@AIRLINE.KIWI.COM
4TEP94    1/4/2021   OB    1/5/2021   WN;1256;FLL;PVD                         BRAYSTAD              WY                      US   78814   134588960@AIRLINE.KIWI.COM
4TRKLJ    1/4/2021   OB    1/5/2021   WN;155;ATL;LGA                          TANYATON              WV                      US   35929   134590720@AIRLINE.KIWI.COM
4TRS7B    1/4/2021   OB    2/1/2021   WN;4969;ATL;DCA                         LAKE REBECCALAND      OK                      US   42894   134590797@AIRLINE.KIWI.COM
4TRS7B    1/4/2021   OB    2/1/2021   WN;4969;ATL;DCA                         LAKE REBECCALAND      OK                      US   42894   134590797@AIRLINE.KIWI.COM
4U4VUM    1/4/2021   OB    1/4/2021   WN;1054;ATL;PHL                         KAYLAMOUTH            UT                      US   19109   134593250@AIRLINE.KIWI.COM
4UBP5V    1/4/2021   OB   1/19/2021   WN;3134;DTW;BWI;WN;822;BWI;SJU          LAKE ELLIOTTON        EASTERN                 GH   73129   134594669@AIRLINE.KIWI.COM
4UD7EM    1/4/2021   OB    1/5/2021   WN;3360;ATL;LGA                         WEST COLLIN           WA                      US   80924   134594933@AIRLINE.KIWI.COM
4UFS3P    1/4/2021   OB   1/12/2021   WN;2982;DEN;BNA                         JESSICAHAVEN          WV                      US   17228   134595516@AIRLINE.KIWI.COM
4UQGBN    1/4/2021   OB   2/11/2021   WN;4470;STL;MKE                         NORTH BRENTMOUTH      MT                      US   46684   134597430@AIRLINE.KIWI.COM
4UQGBN    1/4/2021   RT   2/15/2021   WN;2121;MKE;STL                         NORTH BRENTMOUTH      MT                      US   46684   134597430@AIRLINE.KIWI.COM
4V25HG    1/4/2021   OB    1/5/2021   WN;499;DTW;MDW;WN;1326;MDW;OMA          NORTH JOSEPHCHESTER   AR                      US   72160   134600257@AIRLINE.KIWI.COM
4V4PAT    1/4/2021   OB    1/4/2021   WN;2008;LAX;SMF;WN;1431;SMF;SEA         HOLTMOUTH             PA                      US   33344   134600587@AIRLINE.KIWI.COM
4WMCDV    1/4/2021   OB    1/5/2021   WN;155;ATL;LGA                          SAMUELMOUTH           WV                      US   75137   134610762@AIRLINE.KIWI.COM
4WU69Q    1/4/2021   OB    1/5/2021   WN;472;JAX;BNA                          EAST WILLIAMSTAD      LA                      US   87493   133368851.1529376@AIRLINE.KIWI.COM
4X22Z3    1/4/2021   OB   1/28/2021   WN;2402;LAS;TUS                         VALENCIABERG          AZ                      US   70955   134613875@AIRLINE.KIWI.COM
4X3MDV    1/4/2021   OB   1/25/2021   WN;2499;ONT;LAS                         SHEPHERDBURGH         CA                      US   14813   134613666@AIRLINE.KIWI.COM
4X3MDV    1/4/2021   OB   1/25/2021   WN;2499;ONT;LAS                         SHEPHERDBURGH         CA                      US   14813   134613666@AIRLINE.KIWI.COM
4XKH3L    1/4/2021   OB    1/5/2021   WN;403;ATL;BNA;WN;468;BNA;DTW           EAST SHANNON          NC                      US   31889   134616471@AIRLINE.KIWI.COM
4XKH3L    1/4/2021   OB    1/5/2021   WN;403;ATL;BNA;WN;468;BNA;DTW           EAST SHANNON          NC                      US   31889   134616471@AIRLINE.KIWI.COM
4Y836K    1/4/2021   OB    1/5/2021   WN;1404;MCO;ORF                         SANCHEZVILLE          CA                      US   52283   134620013@AIRLINE.KIWI.COM
4YA2JZ    1/4/2021   OB    1/4/2021   WN;6937;LAX;HOU                         RIOSFORT              OH                      US   57342   132138402@AIRLINE.KIWI.COM
4YEAWE    1/4/2021   OB    1/6/2021   WN;2577;MIA;HOU;WN;810;HOU;LAX          KARLSTAD              JONKOPINGS LAN          SE   38710   134620772@AIRLINE.KIWI.COM
4YLZZ2    1/4/2021   OB    1/5/2021   WN;1404;MCO;ORF                         STEVENHAVEN           MA                      US   67308   134621388@AIRLINE.KIWI.COM
4YOVFU    1/4/2021   OB    1/5/2021   WN;1249;MEM;MDW                         PORT EMILY            NE                      US   99308   134621157@AIRLINE.KIWI.COM
4YUIEB    1/4/2021   OB    1/5/2021   WN;558;MCO;STL;WN;558;STL;DSM           ZARY                  DOLNOSLASKIE            PL   42496   134622752@AIRLINE.KIWI.COM
4Z9FHV    1/4/2021   OB    1/5/2021   WN;657;FLL;MCO;WN;335;MCO;ATL           LAKE VANESSASHIRE     WY                      US   64482   134624325@AIRLINE.KIWI.COM
4Z9P7H    1/4/2021   OB    1/5/2021   WN;1249;MEM;MDW                         ASHLEYPORT            UT                      US   31847   134624534@AIRLINE.KIWI.COM
UMRR62    1/4/2021   OB    1/4/2021   WN;1087;ATL;BWI                         NORTH MICHAELTON      VT                      US   82543   131995754@AIRLINE.KIWI.COM
22QAWO    1/5/2021   OB   1/28/2021   WN;3245;LAS;ONT                         NORTH BRANDON         MN                      US   57759   134629209@AIRLINE.KIWI.COM
22QAWO    1/5/2021   RT    2/2/2021   WN;2499;ONT;LAS                         NORTH BRANDON         MN                      US   57759   134629209@AIRLINE.KIWI.COM
22SXV3    1/5/2021   OB    1/5/2021   WN;155;ATL;LGA                          WENDYHAVEN            IA                      US   20556   134629418@AIRLINE.KIWI.COM
23VRMA    1/5/2021   OB    1/5/2021   WN;155;ATL;LGA                          NEW KATHERINE         UT                      US   45442   134632916@AIRLINE.KIWI.COM
23VRMA    1/5/2021   OB    1/5/2021   WN;155;ATL;LGA                          NEW KATHERINE         UT                      US   45442   134632916@AIRLINE.KIWI.COM
23VRMA    1/5/2021   OB    1/5/2021   WN;155;ATL;LGA                          NEW KATHERINE         UT                      US   45442   134632916@AIRLINE.KIWI.COM
23VRMA    1/5/2021   OB    1/5/2021   WN;155;ATL;LGA                          NEW KATHERINE         UT                      US   45442   134632916@AIRLINE.KIWI.COM
245JH8    1/5/2021   OB    2/4/2021   WN;352;ROC;BWI                          MCGUIRESHIRE          CO                      US   55425   134633004@AIRLINE.KIWI.COM
252WT9    1/5/2021   OB    1/5/2021   WN;1003;ELP;HOU;WN;658;HOU;MDW          VIEJA MICRONESIA      QUINTANA ROO            MX    9062   134635897@AIRLINE.KIWI.COM
25IJMS    1/5/2021   OB    1/5/2021   WN;1549;LAS;LAX                         MARYBURGH             OH                      US   71077   134636711@AIRLINE.KIWI.COM
262GZQ    1/5/2021   OB    1/5/2021   WN;908;FLL;DAL;WN;603;DAL;LAX           SOUTH BNNBERG         AL QASIM                SA   53690   134638680@AIRLINE.KIWI.COM
26XQZG    1/5/2021   OB    1/5/2021   WN;1320;FLL;BWI;WN;849;BWI;CLT          EAST DANIELLE         KY                      US   72395   134640946@AIRLINE.KIWI.COM
272KCE    1/5/2021   OB   1/11/2021   WN;4982;DEN;HOU                         LAKE JASON            CA                      US   80102   134639945@AIRLINE.KIWI.COM
28DD7W    1/5/2021   OB    1/6/2021   WN;928;HOU;MDW                          NORTH KELLYSTAD       DE                      US   15758   134645368@AIRLINE.KIWI.COM
28FHZF    1/5/2021   OB    1/5/2021   WN;647;ELP;LAS;WN;1401;LAS;MKE          BREWERMOUTH           VA                      US   23522   134645016@AIRLINE.KIWI.COM
295WA5    1/5/2021   OB    1/5/2021   WN;1117;MDW;CLE                         JOHNBOROUGH           KS                      US   67357   134647139@AIRLINE.KIWI.COM
299CO9    1/5/2021   OB    2/9/2021   WN;2518;BUR;PHX                         ERICAVIEW             LA                      US   96410   134647073@AIRLINE.KIWI.COM




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29LHRK    1/5/2021   OB    1/5/2021   WN;1054;ATL;PHL                   BARBARAVIEW           WI               US    69192   134647249@AIRLINE.KIWI.COM
29VO78    1/5/2021   OB    1/6/2021   WN;999;FLL;HOU;WN;27;HOU;LAX      BRIANBURY             DE               US    30366   134650329@AIRLINE.KIWI.COM
2AEFVT    1/5/2021   OB    1/5/2021   WN;908;FLL;DAL;WN;603;DAL;LAX     WEST MOLLY            FL               US    60658   134651825@AIRLINE.KIWI.COM
2DI5NU    1/5/2021   OB    1/5/2021   WN;1320;FLL;BWI;WN;1261;BWI;DTW   NORTH GREGORYVIEW     WI               US    73218   134669755@AIRLINE.KIWI.COM
2E9A8P    1/5/2021   OB    1/5/2021   WN;143;ATL;MDW;WN;1452;MDW;DTW    LAURAFORT             NM               US    78063   134674155@AIRLINE.KIWI.COM
2F9CGF    1/5/2021   OB    1/6/2021   WN;1019;SJU;TPA                   HOPKINSFURT           AR               US    79953   134680139@AIRLINE.KIWI.COM
2F9CGF    1/5/2021   OB    1/6/2021   WN;1019;SJU;TPA                   HOPKINSFURT           AR               US    79953   134680139@AIRLINE.KIWI.COM
2FHVK5    1/5/2021   OB    1/6/2021   WN;1050;FLL;BNA;WN;529;BNA;LGA    BERRYVIEW             NE               US    38960   134682746@AIRLINE.KIWI.COM
2FHVK5    1/5/2021   OB    1/6/2021   WN;1050;FLL;BNA;WN;529;BNA;LGA    BERRYVIEW             NE               US    38960   134682746@AIRLINE.KIWI.COM
2GCMN6    1/5/2021   OB   3/29/2021   WN;1109;OAK;LAX                   SCOTTFURT             MD               US    17604   134688675@AIRLINE.KIWI.COM
2GH5IT    1/5/2021   OB    1/5/2021   WN;1069;TPA;PHL                   DOMINICFURT           WI               US     9292   134690193@AIRLINE.KIWI.COM
2GMIDO    1/5/2021   OB    1/5/2021   WN;1421;MCO;BNA;WN;1587;BNA;LGA   LAKE HEATHER          AJLUN            JO    19777   134690710@AIRLINE.KIWI.COM
2GMIDO    1/5/2021   OB    1/5/2021   WN;1421;MCO;BNA;WN;1587;BNA;LGA   LAKE HEATHER          AJLUN            JO    19777   134690710@AIRLINE.KIWI.COM
2GSDO3    1/5/2021   OB    1/6/2021   WN;1019;SJU;TPA                   WEST DAVID            MS               US    59945   134691755@AIRLINE.KIWI.COM
2HDG9J    1/5/2021   OB    1/6/2021   WN;155;ATL;LGA                    WEST STACYBOROUGH     UT               US     9956   134695946@AIRLINE.KIWI.COM
2HH4RO    1/5/2021   OB    1/6/2021   WN;907;MBJ;BWI                    TORRESFURT            AK               US     7647   134696683@AIRLINE.KIWI.COM
2HSIWU    1/5/2021   OB    3/4/2021   WN;159;SJC;LAX                    GABRIELFURT           LA               US    38872   134696870@AIRLINE.KIWI.COM
2IZY44    1/5/2021   OB    1/5/2021   WN;1014;MIA;MDW                   NORTH NATASHAMOUTH    CA               US    25640   133926584@AIRLINE.KIWI.COM
2JHBYX    1/5/2021   OB    3/2/2021   WN;2211;MEM;DAL                   WEBERLAND             TN               US    92007   134707243@AIRLINE.KIWI.COM
2JNJ9I    1/5/2021   OB    1/6/2021   WN;1014;MIA;MDW;WN;2172;MDW;LGA   DANMOUTH              FL               US    74304   134711434@AIRLINE.KIWI.COM
2JNJ9I    1/5/2021   OB    1/6/2021   WN;1014;MIA;MDW;WN;2172;MDW;LGA   DANMOUTH              FL               US    74304   134711434@AIRLINE.KIWI.COM
2JNJ9I    1/5/2021   OB    1/6/2021   WN;1014;MIA;MDW;WN;2172;MDW;LGA   DANMOUTH              FL               US    74304   134711434@AIRLINE.KIWI.COM
2KPWYC    1/5/2021   OB    1/6/2021   WN;1294;PHX;STL                   EAST JENNIFER         NJ               US    87322   134717759@AIRLINE.KIWI.COM
2KXJNQ    1/5/2021   OB   1/29/2021   WN;1914;LGA;MDW                   WEST MARYCHESTER      KS               US    34352   134718892@AIRLINE.KIWI.COM
2KXJNQ    1/5/2021   RT    2/2/2021   WN;5151;MDW;STL;WN;3422;STL;LGA   WEST MARYCHESTER      KS               US    34352   134718892@AIRLINE.KIWI.COM
2L9KBH    1/5/2021   OB   2/21/2021   WN;1898;CLT;DEN;WN;2029;DEN;SFO   NORTH GEORGE          IL               US    56444   134718364@AIRLINE.KIWI.COM
2M2ZTZ    1/5/2021   OB    2/6/2021   WN;594;ITO;HNL                    JUSTINMOUTH           ID               US    17924   134726735@AIRLINE.KIWI.COM
2MLQBD    1/5/2021   OB   1/13/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC   TYLERVIEW             DE               US    87656   134730431@AIRLINE.KIWI.COM
2MVEKT    1/5/2021   OB    1/6/2021   WN;1242;FLL;BWI;WN;940;BWI;BDL    NORTH ROBERT          VA               US    30157   134730970@AIRLINE.KIWI.COM
2MVEYJ    1/5/2021   OB    1/6/2021   WN;1238;ATL;IAD                   ANNFURT               OR               US    53783   134730475@AIRLINE.KIWI.COM
2O4OXZ    1/5/2021   OB   1/19/2021   WN;185;PHX;CLE                    AARONSHIRE            GA               US    21401   134736745@AIRLINE.KIWI.COM
4ZV8FR    1/5/2021   OB    2/9/2021   WN;1609;BWI;CUN                   WEST NICOLEBERG       ND               US    97188   134626294@AIRLINE.KIWI.COM
4ZV8FR    1/5/2021   OB    2/9/2021   WN;1609;BWI;CUN                   WEST NICOLEBERG       ND               US    97188   134626294@AIRLINE.KIWI.COM
4ZV8FR    1/5/2021   RT   2/14/2021   WN;1610;CUN;BWI                   WEST NICOLEBERG       ND               US    97188   134626294@AIRLINE.KIWI.COM
4ZV8FR    1/5/2021   RT   2/14/2021   WN;1610;CUN;BWI                   WEST NICOLEBERG       ND               US    97188   134626294@AIRLINE.KIWI.COM
2OQCH2    1/6/2021   OB    1/6/2021   WN;1421;ATL;BWI;WN;1561;BWI;DTW   LAKE JESSE            AL               US    43677   134738945@AIRLINE.KIWI.COM
2ORY4Z    1/6/2021   OB    1/6/2021   WN;1054;ATL;PHL                   LAKE JASMINEBURY      SD               US    25370   134739484@AIRLINE.KIWI.COM
2OSVUY    1/6/2021   OB    1/6/2021   WN;1421;ATL;BWI;WN;1561;BWI;DTW   NEW LORIFURT          IN               US    22864   134738912@AIRLINE.KIWI.COM
2PMDQR    1/6/2021   OB    2/9/2021   WN;4408;OMA;MDW                   HOLMESLAND            NY               US    97696   134741794@AIRLINE.KIWI.COM
2PMDQR    1/6/2021   OB    2/9/2021   WN;4408;OMA;MDW                   HOLMESLAND            NY               US    97696   134741794@AIRLINE.KIWI.COM
2PNSF2    1/6/2021   OB    1/6/2021   WN;51;MCO;DEN;WN;1;DEN;SJC        TRACYSTAD             ME               US    61455   134742421@AIRLINE.KIWI.COM
2PNSF2    1/6/2021   OB    1/6/2021   WN;51;MCO;DEN;WN;1;DEN;SJC        TRACYSTAD             ME               US    61455   134742421@AIRLINE.KIWI.COM
2QV8VC    1/6/2021   OB   3/20/2021   WN;2614;LAX;DEN;WN;2494;DEN;MSP   NORTH GWVILLE         AL BAHAH         SA    70009   134745402@AIRLINE.KIWI.COM
2QWIHC    1/6/2021   OB   3/12/2021   WN;1811;MSP;PHX;WN;1569;PHX;LAX   PORT DYTON            NAJRAN           SA    38427   134745402@AIRLINE.KIWI.COM
2RDKGW    1/6/2021   OB   2/16/2021   WN;205;ORD;DEN;WN;115;DEN;OMA     NORTH ANDREABURY      TN               US    47099   134746810@AIRLINE.KIWI.COM
2RDKGW    1/6/2021   OB   2/16/2021   WN;205;ORD;DEN;WN;115;DEN;OMA     NORTH ANDREABURY      TN               US    47099   134746810@AIRLINE.KIWI.COM
2RGA8L    1/6/2021   OB    1/6/2021   WN;1014;MIA;MDW;WN;1452;MDW;DTW   EAST DAVIDVILLE       ME               US    12166   134747635@AIRLINE.KIWI.COM
2RHPUU    1/6/2021   OB    2/4/2021   WN;352;ROC;BWI                    PORT CORYMOUTH        MT               US    39920   134747987@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP   PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP   PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP   PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP   PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP   PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP   PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL    PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL    PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL    PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL    PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL    PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL    PORT DESTINY          AL               US    82648   134748328@AIRLINE.KIWI.COM
2S5PK4    1/6/2021   OB    1/6/2021   WN;1428;MCI;BNA                   POVOA DE VARZIM       LISBOA           PT    58817   130750323.1530117@AIRLINE.KIWI.COM
2SPNJR    1/6/2021   OB    1/6/2021   WN;941;ATL;MDW                    LAKE STEPHANIE        KY               US    50903   134751628@AIRLINE.KIWI.COM
2UBC62    1/6/2021   OB   1/20/2021   WN;4801;OAK;PHX                   NEW DEANNAMOUTH       CA               US    56783   134753355@AIRLINE.KIWI.COM
2UCTNJ    1/6/2021   OB    1/6/2021   WN;1050;FLL;BNA;WN;529;BNA;LGA    WEST MELISSA          CA               US    74739   134756490@AIRLINE.KIWI.COM
2UJVL2    1/6/2021   OB    1/6/2021   WN;413;LAS;LAX                    WEST NICOLE           ND               US    36027   134756875@AIRLINE.KIWI.COM
2V6OUP    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   NORTH CHRISTOPHER     MN               US    70836   134758635@AIRLINE.KIWI.COM
2V6OUP    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   NORTH CHRISTOPHER     MN               US    70836   134758635@AIRLINE.KIWI.COM
2V6OUP    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   NORTH CHRISTOPHER     MN               US    70836   134758635@AIRLINE.KIWI.COM
2V6OUP    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   NORTH CHRISTOPHER     MN               US    70836   134758635@AIRLINE.KIWI.COM
2V9YBH    1/6/2021   OB    1/7/2021   WN;1206;ATL;CLE                   CAMPOSHAVEN           IN               US    77972   134758437@AIRLINE.KIWI.COM
2VW4BX    1/6/2021   OB   1/12/2021   WN;4285;OAK;LAX                   ODONNELLSIDE          DE               US    59951   134753366.1530187@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   OB   1/15/2021   WN;3343;LGA;ATL                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   RT   1/19/2021   WN;2707;ATL;LGA                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   RT   1/19/2021   WN;2707;ATL;LGA                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   RT   1/19/2021   WN;2707;ATL;LGA                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
2XZ9VM    1/6/2021   RT   1/19/2021   WN;2707;ATL;LGA                   WEST MARYVIEW         OK               US    27130   134758624@AIRLINE.KIWI.COM
32X3H7    1/6/2021   OB    1/6/2021   WN;1587;FLL;BNA;WN;1587;BNA;LGA   SOUTH HEATHERFORT     OK               US    99483   134783473@AIRLINE.KIWI.COM
333E4H    1/6/2021   OB    3/1/2021   WN;3124;DTW;BNA;WN;2220;BNA;STL   WILLIAMSSIDE          ND               US    93500   134782648@AIRLINE.KIWI.COM
33PDNJ    1/6/2021   OB   1/15/2021   WN;4954;DEN;STL                   LAKE JUANCHESTER      IN               US    85261   134761528@AIRLINE.KIWI.COM
33PDNJ    1/6/2021   OB   1/15/2021   WN;4954;DEN;STL                   LAKE JUANCHESTER      IN               US    85261   134761528@AIRLINE.KIWI.COM
33PDNJ    1/6/2021   OB   1/15/2021   WN;4954;DEN;STL                   LAKE JUANCHESTER      IN               US    85261   134761528@AIRLINE.KIWI.COM
33PDNJ    1/6/2021   OB   1/15/2021   WN;4954;DEN;STL                   LAKE JUANCHESTER      IN               US    85261   134761528@AIRLINE.KIWI.COM
33PDNJ    1/6/2021   OB   1/15/2021   WN;4954;DEN;STL                   LAKE JUANCHESTER      IN               US    85261   134761528@AIRLINE.KIWI.COM
33RC94    1/6/2021   OB    1/6/2021   WN;673;MCO;HOU;WN;810;HOU;LAX     WEST VANESSA          WY               US    36225   134788291@AIRLINE.KIWI.COM
33RC94    1/6/2021   OB    1/6/2021   WN;673;MCO;HOU;WN;810;HOU;LAX     WEST VANESSA          WY               US    36225   134788291@AIRLINE.KIWI.COM
34P8RY    1/6/2021   OB   1/11/2021   WN;5013;MIA;TPA;WN;5013;TPA;BNA   PORT DEBRAHAVEN       OH               US    74477   134793505@AIRLINE.KIWI.COM
35K62B    1/6/2021   OB    1/6/2021   WN;1587;FLL;BNA;WN;1587;BNA;LGA   PORT TIMOTHYBOROUGH   CO               US    76379   134800853@AIRLINE.KIWI.COM
35R6TL    1/6/2021   OB    1/6/2021   WN;1587;FLL;BNA;WN;1587;BNA;LGA   MORTONPORT            UT               US    46690   134800776@AIRLINE.KIWI.COM
35R6TL    1/6/2021   OB    1/6/2021   WN;1587;FLL;BNA;WN;1587;BNA;LGA   MORTONPORT            UT               US    46690   134800776@AIRLINE.KIWI.COM
35R6TL    1/6/2021   OB    1/6/2021   WN;1587;FLL;BNA;WN;1587;BNA;LGA   MORTONPORT            UT               US    46690   134800776@AIRLINE.KIWI.COM
36MHQI    1/6/2021   OB   1/24/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW    LAKE SARAHLAND        AR               US    62534   134808553@AIRLINE.KIWI.COM
36MHQI    1/6/2021   OB   1/24/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW    LAKE SARAHLAND        AR               US    62534   134808553@AIRLINE.KIWI.COM
36QIUF    1/6/2021   OB    1/6/2021   WN;181;DAL;TPA                    MITCHELLSIDE          MA               US    62616   128368460.1530538@AIRLINE.KIWI.COM
36TKKV    1/6/2021   OB   1/20/2021   WN;2362;MDW;BNA                   GONZALEZBURGH         IA               US    82832   134809642@AIRLINE.KIWI.COM
377GBZ    1/6/2021   OB    1/6/2021   WN;1054;ATL;PHL                   IANSIDE               KS               US    49823   134812579@AIRLINE.KIWI.COM
37ASUN    1/6/2021   OB   1/27/2021   WN;2773;ATL;BNA;WN;3379;BNA;PNS   NORTH DEBBIE          CA               US    91222   134813987@AIRLINE.KIWI.COM
37LMWT    1/6/2021   OB   1/28/2021   WN;2800;MCI;DAL                   EAST JENNIFER         KY               US    82429   134816506@AIRLINE.KIWI.COM
37LMWT    1/6/2021   RT   1/31/2021   WN;4980;DAL;MCI                   EAST JENNIFER         KY               US    82429   134816506@AIRLINE.KIWI.COM
383E6S    1/6/2021   OB   2/18/2021   WN;196;TUL;HOU;WN;5003;HOU;TPA    RODNEYFURT            IN               US    89383   134819817@AIRLINE.KIWI.COM
383E6S    1/6/2021   OB   2/18/2021   WN;196;TUL;HOU;WN;5003;HOU;TPA    RODNEYFURT            IN               US    89383   134819817@AIRLINE.KIWI.COM
383E6S    1/6/2021   RT   2/23/2021   WN;5018;TPA;DAL;WN;1511;DAL;TUL   RODNEYFURT            IN               US    89383   134819817@AIRLINE.KIWI.COM
383E6S    1/6/2021   RT   2/23/2021   WN;5018;TPA;DAL;WN;1511;DAL;TUL   RODNEYFURT            IN               US    89383   134819817@AIRLINE.KIWI.COM
38ZXOJ    1/6/2021   OB   1/24/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW    MATTHEWBURGH          AR               US    52909   134829145@AIRLINE.KIWI.COM
393X22    1/6/2021   OB    1/6/2021   WN;353;MDW;MEM                    THOMPSONBOROUGH       IN               US    19976   134829541@AIRLINE.KIWI.COM




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394B7O    1/6/2021   OB    3/9/2021   WN;1362;LAS;SLC                   MOTIHAARII             ODISHA               IN    7239   134829563@AIRLINE.KIWI.COM
3A5KGG    1/6/2021   OB   1/24/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW    MELINDAFORT            TN                   US   73243   134837373@AIRLINE.KIWI.COM
3ALDE6    1/6/2021   OB    1/6/2021   WN;1284;MDW;MSP                   FIGUEROAFURT           AK                   US   83528   134840574@AIRLINE.KIWI.COM
3AO5ZA    1/6/2021   OB    1/6/2021   WN;338;OAK;LAS                    TINATON                MI                   US   42073   134841102@AIRLINE.KIWI.COM
3AQEKT    1/6/2021   OB   2/10/2021   WN;2220;MDW;BNA                   SOUTH JESSICATOWN      IA                   US   77594   134839331@AIRLINE.KIWI.COM
3BYGAL    1/6/2021   OB   1/12/2021   WN;3989;MCO;MDW;WN;3989;MDW;LAX   KEVINTON               VA                   US   33785   134847746@AIRLINE.KIWI.COM
3C9732    1/6/2021   OB   1/13/2021   WN;4192;DEN;MCO                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3C9732    1/6/2021   OB   1/13/2021   WN;4192;DEN;MCO                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3C9732    1/6/2021   OB   1/13/2021   WN;4192;DEN;MCO                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3C9732    1/6/2021   OB   1/13/2021   WN;4192;DEN;MCO                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3C9732    1/6/2021   OB   1/13/2021   WN;4192;DEN;MCO                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3CGAQ9    1/6/2021   OB   1/13/2021   WN;4908;SLC;DEN                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3CGAQ9    1/6/2021   OB   1/13/2021   WN;4908;SLC;DEN                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3CGAQ9    1/6/2021   OB   1/13/2021   WN;4908;SLC;DEN                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3CGAQ9    1/6/2021   OB   1/13/2021   WN;4908;SLC;DEN                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3CGAQ9    1/6/2021   OB   1/13/2021   WN;4908;SLC;DEN                   SHORTBERG              AZ                   US   23564   134833182@AIRLINE.KIWI.COM
3CW4NX    1/6/2021   OB    1/7/2021   WN;2346;ATL;TPA                   JAMESBURY              ME                   US   83474   134851475@AIRLINE.KIWI.COM
3DK8RY    1/7/2021   OB    1/7/2021   WN;2817;ATL;LGA                   IBARRASHIRE            KY                   US   64516   134853961@AIRLINE.KIWI.COM
3EPZ56    1/7/2021   OB    1/7/2021   WN;391;STL;LAS                    WEST MICHAEL           UT                   US   10095   134858273@AIRLINE.KIWI.COM
3EZCL8    1/7/2021   OB   3/11/2021   WN;1166;PHX;MCI                   PORT YVETTE            OH                   US   36551   134859593@AIRLINE.KIWI.COM
3GMZCH    1/7/2021   OB   3/17/2021   WN;290;MCI;DCA;WN;290;DCA;ATL     WOODSLAND              OK                   US   35231   134864642@AIRLINE.KIWI.COM
3HGPLU    1/7/2021   OB    1/7/2021   WN;3558;MDW;LAS;WN;4864;LAS;OAK   WEST PATRICIATOWN      MI                   US   82267   134867326@AIRLINE.KIWI.COM
3HJW2L    1/7/2021   OB    1/7/2021   WN;2707;ATL;LGA                   BANKSBURY              MN                   US   71661   134865907@AIRLINE.KIWI.COM
3I9HE6    1/7/2021   OB    2/2/2021   WN;3245;LAS;ONT                   GLENHAVEN              IN                   US   55335   134869680@AIRLINE.KIWI.COM
3I9HE6    1/7/2021   OB    2/2/2021   WN;3245;LAS;ONT                   GLENHAVEN              IN                   US   55335   134869680@AIRLINE.KIWI.COM
3IOG6P    1/7/2021   OB   1/25/2021   WN;1017;LAS;SAN                   STEPHENCHESTER         ND                   US   66231   134870703@AIRLINE.KIWI.COM
3J9TTL    1/7/2021   OB    2/6/2021   WN;1899;ONT;SJC                   EAST THERESABURY       NJ                   US   50619   134872518@AIRLINE.KIWI.COM
3J9TTL    1/7/2021   RT   2/15/2021   WN;4464;SJC;ONT                   EAST THERESABURY       NJ                   US   50619   134872518@AIRLINE.KIWI.COM
3LDSXU    1/7/2021   OB   1/27/2021   WN;1609;BWI;CUN                   EAST EVANTON           IA                   US   57774   134880746@AIRLINE.KIWI.COM
3SS3V6    1/7/2021   OB   2/14/2021   WN;479;RDU;BWI                    SAARLOUIS              NORDRHEINWESTFALEN   DE   64435   134923855@AIRLINE.KIWI.COM
3TJX2T    1/7/2021   OB   1/31/2021   WN;4842;SMF;SEA                   WEST CALEB             IA                   US   76696   134928893@AIRLINE.KIWI.COM
3U654X    1/7/2021   OB    2/6/2021   WN;4098;HOU;MSY                   ANTHONYBERG            CT                   US   35739   134626162.1531377@AIRLINE.KIWI.COM
3U86MY    1/7/2021   OB    2/6/2021   WN;3281;MAF;HOU                   HOWARDBERG             VA                   US    4053   134626162.1531377@AIRLINE.KIWI.COM
3UG3Q9    1/7/2021   OB    2/1/2021   WN;519;HOU;TUL                    JACKSONBURGH           TX                   US   88821   134934041@AIRLINE.KIWI.COM
3UI39C    1/7/2021   OB    2/1/2021   WN;519;HOU;TUL                    NEW TERESAVIEW         DE                   US   21548   134933612@AIRLINE.KIWI.COM
3UIOZZ    1/7/2021   OB   1/29/2021   WN;196;TUL;HOU                    WILLIAMSMOUTH          FL                   US    6991   134934041@AIRLINE.KIWI.COM
3UJBZG    1/7/2021   OB    1/8/2021   WN;3343;LGA;ATL                   BRYANTTOWN             MD                   US   61867   134934107@AIRLINE.KIWI.COM
3UJR3I    1/7/2021   OB   1/29/2021   WN;196;TUL;HOU                    EAST ROBINFORT         MA                   US   39900   134933612@AIRLINE.KIWI.COM
3UYCMI    1/7/2021   OB    2/4/2021   WN;352;ROC;BWI                    HEATHERVILLE           AZ                   US   31379   134936835@AIRLINE.KIWI.COM
3VDRMW    1/7/2021   OB    3/4/2021   WN;3100;LAS;STL                   LAKE MATTHEW           UT                   US   61061   134939090@AIRLINE.KIWI.COM
3VZ2FG    1/7/2021   OB   1/17/2021   WN;2938;ATL;PHL                   NORTH CODY             AR                   US   28969   134870362@AIRLINE.KIWI.COM
3VZ2FG    1/7/2021   OB   1/17/2021   WN;2938;ATL;PHL                   NORTH CODY             AR                   US   28969   134870362@AIRLINE.KIWI.COM
3WJ9UG    1/7/2021   OB    3/2/2021   WN;2255;BWI;ORF                   CARLACHESTER           NH                   US    6144   134945019@AIRLINE.KIWI.COM
3WJ9UG    1/7/2021   OB    3/2/2021   WN;2255;BWI;ORF                   CARLACHESTER           NH                   US    6144   134945019@AIRLINE.KIWI.COM
3WJ9UG    1/7/2021   OB    3/2/2021   WN;2255;BWI;ORF                   CARLACHESTER           NH                   US    6144   134945019@AIRLINE.KIWI.COM
3XYU6M    1/7/2021   OB    1/8/2021   WN;3927;LAX;PHX;WN;2740;PHX;ELP   NUEVA GEORGIA          QUERETARO            MX   81778   134953456@AIRLINE.KIWI.COM
3ZQ8YT    1/7/2021   OB    1/9/2021   WN;1608;CUN;BWI                   VIEJA CHAD             AGUASCALIENTES       MX   47873   134959759@AIRLINE.KIWI.COM
42SBNY    1/8/2021   OB    1/8/2021   WN;2078;BNA;PIT                   BARRERABURY            KY                   US   43904   134961640@AIRLINE.KIWI.COM
43L549    1/8/2021   OB    2/2/2021   WN;2785;LAS;SNA                   JESSICAFORT            CT                   US   85671   134964027@AIRLINE.KIWI.COM
43XIWX    1/8/2021   OB    4/1/2021   WN;1560;HOU;PNS                   JACOBSTAD              UT                   US   82740   134964676@AIRLINE.KIWI.COM
43XIWX    1/8/2021   RT    4/5/2021   WN;889;PNS;HOU                    JACOBSTAD              UT                   US   82740   134964676@AIRLINE.KIWI.COM
43ZIYN    1/8/2021   OB    4/1/2021   WN;1454;OKC;HOU                   EAST REBECCABURY       CT                   US   79302   134964676@AIRLINE.KIWI.COM
43ZIYN    1/8/2021   RT    4/6/2021   WN;407;HOU;OKC                    EAST REBECCABURY       CT                   US   79302   134964676@AIRLINE.KIWI.COM
44IJ6N    1/8/2021   OB   2/18/2021   WN;2573;ONT;PHX                   HENDERSONFURT          HI                   US   47857   134966293@AIRLINE.KIWI.COM
44Y9HM    1/8/2021   OB   2/17/2021   WN;4908;SLC;DEN                   TUCKERSTAD             MA                   US   34673   134967063@AIRLINE.KIWI.COM
44Y9HM    1/8/2021   OB   2/17/2021   WN;4908;SLC;DEN                   TUCKERSTAD             MA                   US   34673   134967063@AIRLINE.KIWI.COM
45GX2E    1/8/2021   OB    1/9/2021   WN;1964;MCO;MDW                   ALIIGDDH               WEST BENGAL          IN   28305   134968603@AIRLINE.KIWI.COM
45SXWZ    1/8/2021   OB    1/8/2021   WN;4792;CVG;BWI;WN;3041;BWI;MCO   DARRENTOWN             SD                   US   73263   134969417@AIRLINE.KIWI.COM
45SXWZ    1/8/2021   OB    1/8/2021   WN;4792;CVG;BWI;WN;3041;BWI;MCO   DARRENTOWN             SD                   US   73263   134969417@AIRLINE.KIWI.COM
46GQ3Y    1/8/2021   OB   1/31/2021   WN;6289;SAN;LAS                   NEW STEVEN             MT                   US   93747   134970671@AIRLINE.KIWI.COM
46GQ3Y    1/8/2021   OB   1/31/2021   WN;6289;SAN;LAS                   NEW STEVEN             MT                   US   93747   134970671@AIRLINE.KIWI.COM
46JIRQ    1/8/2021   OB    1/9/2021   WN;1531;MSP;MDW;WN;1554;MDW;BUF   EAST JUSTINVILLE       CA                   US   15100   134971496@AIRLINE.KIWI.COM
46OMLL    1/8/2021   OB   1/20/2021   WN;4031;DAL;SLC                   SOUTH LAURA            TX                   US   64165   134971672@AIRLINE.KIWI.COM
46OMLL    1/8/2021   OB   1/20/2021   WN;4031;DAL;SLC                   SOUTH LAURA            TX                   US   64165   134971672@AIRLINE.KIWI.COM
473EFS    1/8/2021   OB   1/14/2021   WN;3121;ATL;MDW                   RILEYFURT              AR                   US   38742   134972706@AIRLINE.KIWI.COM
473EFS    1/8/2021   OB   1/14/2021   WN;3121;ATL;MDW                   RILEYFURT              AR                   US   38742   134972706@AIRLINE.KIWI.COM
49QL7Q    1/8/2021   OB    1/8/2021   WN;1541;SAN;DEN                   ALAANG                 HARYANA              IN   53807   134978866@AIRLINE.KIWI.COM
49QL7Q    1/8/2021   RT   1/20/2021   WN;4961;DEN;SAN                   ALAANG                 HARYANA              IN   53807   134978866@AIRLINE.KIWI.COM
4B2RNX    1/8/2021   OB    1/8/2021   WN;3833;LGB;PHX;WN;1478;PHX;LAS   SAN FIDEL DE LA MONT   MORELOS              MX   51037   134980054@AIRLINE.KIWI.COM
4H5XHH    1/8/2021   OB    1/9/2021   WN;4664;LAX;PHX;WN;4154;PHX;LAS   EAST CHRISTINA         NH                   US   14270   135011371@AIRLINE.KIWI.COM
4HB24U    1/8/2021   OB    1/8/2021   WN;5013;MIA;TPA                   MARIABURY              AZ                   US   36820   133295206@AIRLINE.KIWI.COM
4HM4YG    1/8/2021   OB    1/9/2021   WN;1036;FLL;TPA;WN;2413;TPA;MDW   WEST SHELBYTOWN        HI                   US   68116   135013285@AIRLINE.KIWI.COM
4HMZV2    1/8/2021   OB    1/9/2021   WN;1677;LGA;ATL                   CURTISPORT             SC                   US   51785   135010887@AIRLINE.KIWI.COM
4IB3OU    1/8/2021   OB    1/8/2021   WN;400;LAS;LAX                    DOUGLASFURT            TX                   US   39041   135009886@AIRLINE.KIWI.COM
4IB3OU    1/8/2021   OB    1/8/2021   WN;400;LAS;LAX                    DOUGLASFURT            TX                   US   39041   135009886@AIRLINE.KIWI.COM
4IQF5X    1/8/2021   OB   1/11/2021   WN;4031;MDW;DAL                   GREGORYVIEW            HAMRUN               MT   27106   135013967@AIRLINE.KIWI.COM
4IQF5X    1/8/2021   OB   1/11/2021   WN;4031;MDW;DAL                   GREGORYVIEW            HAMRUN               MT   27106   135013967@AIRLINE.KIWI.COM
4IQF5X    1/8/2021   OB   1/11/2021   WN;4031;MDW;DAL                   GREGORYVIEW            HAMRUN               MT   27106   135013967@AIRLINE.KIWI.COM
4IQF5X    1/8/2021   OB   1/11/2021   WN;4031;MDW;DAL                   GREGORYVIEW            HAMRUN               MT   27106   135013967@AIRLINE.KIWI.COM
4J4K4M    1/8/2021   OB    1/9/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW   SOUTH LUKE             GU                   US   69137   135025418@AIRLINE.KIWI.COM
4JAQFP    1/8/2021   OB    1/9/2021   WN;1677;LGA;ATL                   PORT JAMES             VA                   US    6387   135010161@AIRLINE.KIWI.COM
4JWBXH    1/8/2021   OB    1/8/2021   WN;2707;ATL;LGA                   SOUTH DEREK            OH                   US   40335   135030698@AIRLINE.KIWI.COM
4JY4J2    1/8/2021   OB   1/10/2021   WN;3343;LGA;ATL                   PACHECOBOROUGH         AL                   US   68650   135029312@AIRLINE.KIWI.COM
4JY4J2    1/8/2021   OB   1/10/2021   WN;3343;LGA;ATL                   PACHECOBOROUGH         AL                   US   68650   135029312@AIRLINE.KIWI.COM
4JY4J2    1/8/2021   OB   1/10/2021   WN;3343;LGA;ATL                   PACHECOBOROUGH         AL                   US   68650   135029312@AIRLINE.KIWI.COM
4K3CTP    1/8/2021   OB   1/29/2021   WN;3448;TPA;MSY                   ANTHONYMOUTH           CO                   US   31562   135028003@AIRLINE.KIWI.COM
4KSH24    1/8/2021   OB    1/8/2021   WN;6289;SAN;LAS                   RIVERASIDE             NJ                   US   13847   135035945@AIRLINE.KIWI.COM
4L2FW2    1/8/2021   OB    1/9/2021   WN;135;LGA;ATL                    JESSICASHIRE           DE                   US    9874   135036660@AIRLINE.KIWI.COM
4LNEDV    1/8/2021   OB    1/9/2021   WN;135;LGA;ATL                    NORTH JULIAVILLE       OK                   US   98321   135039377@AIRLINE.KIWI.COM
4M3G8Y    1/8/2021   OB    1/8/2021   WN;4873;SMF;LAS                   THOMPSONFORT           DE                   US   39190   135038948@AIRLINE.KIWI.COM
4NCLNU    1/8/2021   OB   1/29/2021   WN;1493;SMF;LAS                   NORTH CINDY            OR                   US   85649   135045350@AIRLINE.KIWI.COM
24WLOY    1/9/2021   OB   1/10/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW   NEW MARK               OK                   US    6912   135092815@AIRLINE.KIWI.COM
266BCN    1/9/2021   OB   1/10/2021   WN;3343;LGA;ATL                   KOBARID                PODVELKA             SI   87666   135098656@AIRLINE.KIWI.COM
266BCN    1/9/2021   OB   1/10/2021   WN;3343;LGA;ATL                   KOBARID                PODVELKA             SI   87666   135098656@AIRLINE.KIWI.COM
27UQPO    1/9/2021   OB   1/10/2021   WN;3448;TPA;MSY                   NEW MELISSA            TN                   US   25888   135105905@AIRLINE.KIWI.COM
288JIZ    1/9/2021   OB   1/10/2021   WN;3937;PHX;ABQ                   WEST CHELSEAFURT       NY                   US   19580   135107456@AIRLINE.KIWI.COM
28QAJU    1/9/2021   OB   1/10/2021   WN;807;PBI;DCA                    WEST KATHRYNHAVEN      WY                   US   89621   135109392@AIRLINE.KIWI.COM
29QENL    1/9/2021   OB   2/17/2021   WN;286;MCO;RSW                    NEW TIMOTHYHAVEN       MD                   US   60348   135115563@AIRLINE.KIWI.COM
29QENL    1/9/2021   OB   2/17/2021   WN;286;MCO;RSW                    NEW TIMOTHYHAVEN       MD                   US   60348   135115563@AIRLINE.KIWI.COM
29QYG3    1/9/2021   OB   3/27/2021   WN;1385;PHX;SDF                   DAWNFURT               NM                   US   36377   133792450.1532823@AIRLINE.KIWI.COM
2C3UJH    1/9/2021   OB   1/10/2021   WN;3348;LGA;ATL                   EAST MATTHEW           TN                   US   87831   135123725@AIRLINE.KIWI.COM
2C54I6    1/9/2021   OB   1/10/2021   WN;400;LAS;LAX                    LAKE PAULA             LA                   US   72807   135123615@AIRLINE.KIWI.COM
4Q6INC    1/9/2021   OB   1/29/2021   WN;6289;SAN;LAS                   JOHNHAVEN              PA                   US   45715   135056515@AIRLINE.KIWI.COM
4Q6INC    1/9/2021   OB   1/29/2021   WN;6289;SAN;LAS                   JOHNHAVEN              PA                   US   45715   135056515@AIRLINE.KIWI.COM
4Q8NTQ    1/9/2021   OB    2/1/2021   WN;1453;LAS;SAN                   SOUTH RACHEL           UT                   US   43081   135056515@AIRLINE.KIWI.COM
4Q8NTQ    1/9/2021   OB    2/1/2021   WN;1453;LAS;SAN                   SOUTH RACHEL           UT                   US   43081   135056515@AIRLINE.KIWI.COM
4QBW25    1/9/2021   OB    2/5/2021   WN;2705;DAL;AUS                   LAKE TONI              SC                   US   82737   135056779@AIRLINE.KIWI.COM




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4QBW25    1/9/2021   RT    2/7/2021   WN;800;AUS;DAL                    LAKE TONI              SC                    US   82737   135056779@AIRLINE.KIWI.COM
4QGSRY    1/9/2021   OB    1/9/2021   WN;1958;FLL;SJU                   SOUTH SCOTTVIEW        MO                    US   46929   135057318@AIRLINE.KIWI.COM
4QGUM5    1/9/2021   OB    1/9/2021   WN;1130;OAK;LAX                   LAKE SHEILASIDE        NJ                    US   69999   135057439@AIRLINE.KIWI.COM
4QHL6C    1/9/2021   OB    1/9/2021   WN;32;ATL;LGA                     MARCUSBERG             NJ                    US   72620   135057263@AIRLINE.KIWI.COM
4QHL6C    1/9/2021   OB    1/9/2021   WN;32;ATL;LGA                     MARCUSBERG             NJ                    US   72620   135057263@AIRLINE.KIWI.COM
4QHL6C    1/9/2021   OB    1/9/2021   WN;32;ATL;LGA                     MARCUSBERG             NJ                    US   72620   135057263@AIRLINE.KIWI.COM
4QHYS4    1/9/2021   OB   1/10/2021   WN;6815;SJU;FLL                   MINDYSTAD              MD                    US   29267   135057318@AIRLINE.KIWI.COM
4QLD5A    1/9/2021   OB   1/10/2021   WN;3343;LGA;ATL                   MATTHEWBURY            TN                    US   56790   135057549@AIRLINE.KIWI.COM
4QO9VG    1/9/2021   OB   1/10/2021   WN;3343;LGA;ATL                   PORT MELANIE           MN                    US   89225   135057703@AIRLINE.KIWI.COM
4QSSU2    1/9/2021   OB    1/9/2021   WN;32;ATL;LGA                     WEST MARKBERG          SD                    US    9879   135057989@AIRLINE.KIWI.COM
4QZUAF    1/9/2021   OB    1/9/2021   WN;2975;PHL;TPA                   WEST MICHAEL           GA                    US   73984   135058737@AIRLINE.KIWI.COM
4QZUAF    1/9/2021   RT   1/12/2021   WN;742;TPA;PHL                    WEST MICHAEL           GA                    US   73984   135058737@AIRLINE.KIWI.COM
4RW8V5    1/9/2021   OB   3/18/2021   WN;668;CLE;BNA;WN;1576;BNA;ECP    CARSONHAVEN            PR                    US   30934   135041016@AIRLINE.KIWI.COM
4S85UN    1/9/2021   OB   2/26/2021   WN;5034;BWI;MSY                   SOUTH CHRISTIAN        NV                    US   95221   135061575@AIRLINE.KIWI.COM
4S85UN    1/9/2021   OB   2/26/2021   WN;5034;BWI;MSY                   SOUTH CHRISTIAN        NV                    US   95221   135061575@AIRLINE.KIWI.COM
4S8M89    1/9/2021   OB   2/23/2021   WN;2624;PDX;DEN                   PORT JOSHUABURY        FL                    US   49238   135060552@AIRLINE.KIWI.COM
4SBRPX    1/9/2021   OB   2/13/2021   WN;2852;DEN;PDX                   WAYNEFURT              AZ                    US   12636   135060552@AIRLINE.KIWI.COM
4SD2FH    1/9/2021   OB    1/9/2021   WN;36;MDW;DAL;WN;795;DAL;FLL      PORT RAYMOND           AR                    US   45982   135059518@AIRLINE.KIWI.COM
4SD2FH    1/9/2021   OB    1/9/2021   WN;36;MDW;DAL;WN;795;DAL;FLL      PORT RAYMOND           AR                    US   45982   135059518@AIRLINE.KIWI.COM
4SE6GI    1/9/2021   OB   1/10/2021   WN;2707;ATL;LGA                   WEST JOSEPH            TX                    US   20205   135062004@AIRLINE.KIWI.COM
4SIY3Y    1/9/2021   OB    1/9/2021   WN;2413;MIA;TPA;WN;6116;TPA;AUS   WEST SEANBURGH         IL                    US   21999   135062290@AIRLINE.KIWI.COM
4U6JUM    1/9/2021   OB   1/10/2021   WN;3294;MIA;BWI;WN;5016;BWI;ALB   VIEJA ESLOVAQUIA       MORELOS               MX   52100   135064479@AIRLINE.KIWI.COM
4U6VYV    1/9/2021   OB   1/26/2021   WN;3111;OAK;DAL;WN;3111;DAL;CLT   SUSANSIDE              AR                    US   64212   135065997@AIRLINE.KIWI.COM
4XSEJV    1/9/2021   OB   1/16/2021   WN;4027;GRR;MDW;WN;4555;MDW;LGA   FISHERMOUTH            AZ                    US   80390   135058957@AIRLINE.KIWI.COM
2EWCG9   1/10/2021   OB   1/10/2021   WN;417;DEN;IAD                    KYLEMOUTH              MS                    US   34423   135131359@AIRLINE.KIWI.COM
2EWCG9   1/10/2021   OB   1/10/2021   WN;417;DEN;IAD                    KYLEMOUTH              MS                    US   34423   135131359@AIRLINE.KIWI.COM
2F2LTO   1/10/2021   OB   1/10/2021   WN;2840;MDW;OMA;WN;2840;OMA;DAL   WEST FREDERICKSIDE     NM                    US   29826   135131700@AIRLINE.KIWI.COM
2FLEHR   1/10/2021   OB    2/1/2021   WN;5007;STL;PHX                   WEST RYANBERG          WY                    US   96126   135132723@AIRLINE.KIWI.COM
2FLEHR   1/10/2021   RT    2/8/2021   WN;3539;PHX;STL                   WEST RYANBERG          WY                    US   96126   135132723@AIRLINE.KIWI.COM
2FLKBE   1/10/2021   OB   2/17/2021   WN;4873;SMF;LAS                   ARSLANVIEW             ERZURUM               TR   74905   135132514@AIRLINE.KIWI.COM
2FT2ME   1/10/2021   OB   2/13/2021   WN;2005;BUR;OAK                   BENNETTMOUTH           ID                    US   77333   135133163@AIRLINE.KIWI.COM
2H9RYT   1/10/2021   OB    4/5/2021   WN;2049;PHX;LAS;WN;2049;LAS;SNA   JOHNSONFURT            MA                    US   49882   135135781@AIRLINE.KIWI.COM
2H9RYT   1/10/2021   OB    4/5/2021   WN;2049;PHX;LAS;WN;2049;LAS;SNA   JOHNSONFURT            MA                    US   49882   135135781@AIRLINE.KIWI.COM
2HCGP5   1/10/2021   OB    4/7/2021   WN;2104;DEN;STL                   NEW JOSEPH             HI                    US   25883   135135781@AIRLINE.KIWI.COM
2HCGP5   1/10/2021   OB    4/7/2021   WN;2104;DEN;STL                   NEW JOSEPH             HI                    US   25883   135135781@AIRLINE.KIWI.COM
2HENLF   1/10/2021   OB    4/7/2021   WN;1438;SNA;DEN                   BAILEYLAND             ND                    US   90468   135135781@AIRLINE.KIWI.COM
2HENLF   1/10/2021   OB    4/7/2021   WN;1438;SNA;DEN                   BAILEYLAND             ND                    US   90468   135135781@AIRLINE.KIWI.COM
2IKMZM   1/10/2021   OB   1/10/2021   WN;4727;FLL;TPA;WN;4858;TPA;MDW   NORTH JESSICA          UT                    US   96372   135138927@AIRLINE.KIWI.COM
2ISGWN   1/10/2021   OB   1/10/2021   WN;1446;PIT;BWI;WN;2221;BWI;MIA   EAST ELIZABETHFURT     CO                    US   43228   135136452@AIRLINE.KIWI.COM
2MR6RD   1/10/2021   OB   1/10/2021   WN;1438;ATL;RIC                   KRISTENSHIRE           NE                    US   33766   135147078@AIRLINE.KIWI.COM
2MTEXI   1/10/2021   OB   1/10/2021   WN;3725;LAX;HOU;WN;4279;HOU;MSY   STEVENSONVILLE         IN                    US   55171   135147177@AIRLINE.KIWI.COM
2N5EXR   1/10/2021   OB    2/1/2021   WN;2770;MCO;DEN                   SAETHER                BUSKERUD              NO   57362   135139994@AIRLINE.KIWI.COM
2O2L3V   1/10/2021   OB   1/10/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY   EAST GREGG             TX                    US   20437   135150862@AIRLINE.KIWI.COM
2R5T9A   1/10/2021   OB   2/14/2021   WN;4279;TPA;MIA                   PORT SAMANTHA          WV                    US    2075   135162236@AIRLINE.KIWI.COM
2R5T9A   1/10/2021   OB   2/14/2021   WN;4279;TPA;MIA                   PORT SAMANTHA          WV                    US    2075   135162236@AIRLINE.KIWI.COM
2R8J82   1/10/2021   OB   1/10/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA   LAKE JESSICA           PA                    US   69054   135162291@AIRLINE.KIWI.COM
2R8J82   1/10/2021   OB   1/10/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA   LAKE JESSICA           PA                    US   69054   135162291@AIRLINE.KIWI.COM
2SFPX6   1/10/2021   OB   1/15/2021   WN;1610;CUN;BWI                   WEST PEGGYCHESTER      WY                    US   30986   134962080.1533165@AIRLINE.KIWI.COM
2T9ICQ   1/10/2021   OB   1/10/2021   WN;360;ATL;BWI;WN;2584;BWI;BUF    MARYBERG               TX                    US   29097   135171333@AIRLINE.KIWI.COM
2TQCJK   1/10/2021   OB   4/16/2021   WN;2417;DTW;BNA;WN;4504;BNA;MIA   WILLIAMSSTAD           DE                    US   63474   135173401@AIRLINE.KIWI.COM
2TQCJK   1/10/2021   OB   4/16/2021   WN;2417;DTW;BNA;WN;4504;BNA;MIA   WILLIAMSSTAD           DE                    US   63474   135173401@AIRLINE.KIWI.COM
2U5A9Y   1/10/2021   OB   1/31/2021   WN;4791;LAS;AMA                   RICHARDSBURGH          TX                    US   48689   135175183@AIRLINE.KIWI.COM
2VDUO8   1/10/2021   OB   1/13/2021   WN;441;ATL;DEN                    MOOREFURT              NY                    US   20242   135181134@AIRLINE.KIWI.COM
2VXWW2   1/10/2021   OB    2/9/2021   WN;2624;PDX;DEN;WN;5014;DEN;MKE   HENDERSONHAVEN         MT                    US   50698   135183554@AIRLINE.KIWI.COM
2VXWW2   1/10/2021   OB    2/9/2021   WN;2624;PDX;DEN;WN;5014;DEN;MKE   HENDERSONHAVEN         MT                    US   50698   135183554@AIRLINE.KIWI.COM
2WAIPS   1/10/2021   OB   2/12/2021   WN;4041;MDW;DEN                   JORDANSIDE             CAVAN                 IE   57663   135184533@AIRLINE.KIWI.COM
2WDZZM   1/10/2021   OB   1/18/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA   NORTH DAWN             ID                    US   98818   135184874@AIRLINE.KIWI.COM
2WP7PU   1/10/2021   OB   1/10/2021   WN;400;LAS;LAX                    ELLIOTTVILLE           TN                    US   93541   131602042.1533275@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI   NEW CHERYL             AL                    US   22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI   NEW CHERYL             AL                    US   22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI   NEW CHERYL             AL                    US   22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   RT   3/22/2021   WN;452;MCI;LAX                    NEW CHERYL             AL                    US   22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   RT   3/22/2021   WN;452;MCI;LAX                    NEW CHERYL             AL                    US   22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   RT   3/22/2021   WN;452;MCI;LAX                    NEW CHERYL             AL                    US   22181   135191914@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI   PORT MICHELE           OH                    US   52335   135192530@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI   PORT MICHELE           OH                    US   52335   135192530@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   RT   3/15/2021   WN;452;MCI;LAX                    PORT MICHELE           OH                    US   52335   135192530@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   RT   3/15/2021   WN;452;MCI;LAX                    PORT MICHELE           OH                    US   52335   135192530@AIRLINE.KIWI.COM
2ZNK8W   1/10/2021   OB   1/11/2021   WN;5013;MIA;TPA;WN;6112;TPA;RDU   RWSTY STYSH            FARS                  IR   52530   135196600@AIRLINE.KIWI.COM
2ZWXQF   1/10/2021   OB    3/7/2021   WN;903;DEN;LGA                    WEST AARONCHESTER      MN                    US    8670   135197623@AIRLINE.KIWI.COM
325ROD   1/10/2021   OB   1/17/2021   WN;2216;DEN;PDX                   GERALDVILLE            WY                    US   61831   135198140@AIRLINE.KIWI.COM
32CXRF   1/10/2021   OB   1/11/2021   WN;4305;SMF;ONT                   WEST AMANDA            SD                    US   66723   135198976@AIRLINE.KIWI.COM
32RGN7   1/11/2021   OB   1/11/2021   WN;2576;FLL;MDW;WN;4910;MDW;LGA   SOUTH SANDRATON        GA                    US   95781   135200197@AIRLINE.KIWI.COM
32RGN7   1/11/2021   OB   1/11/2021   WN;2576;FLL;MDW;WN;4910;MDW;LGA   SOUTH SANDRATON        GA                    US   95781   135200197@AIRLINE.KIWI.COM
32TGSN   1/11/2021   OB   1/11/2021   WN;4115;MEM;ATL                   SOUTH KYLESHIRE        MD                    US   34838   135200076@AIRLINE.KIWI.COM
33S8AD   1/11/2021   OB   1/19/2021   WN;4973;SAT;BNA;WN;4973;BNA;DCA   EAST JENNIFER          LA                    US   13999   135192695@AIRLINE.KIWI.COM
33S8AD   1/11/2021   OB   1/19/2021   WN;4973;SAT;BNA;WN;4973;BNA;DCA   EAST JENNIFER          LA                    US   13999   135192695@AIRLINE.KIWI.COM
33S8AD   1/11/2021   OB   1/19/2021   WN;4973;SAT;BNA;WN;4973;BNA;DCA   EAST JENNIFER          LA                    US   13999   135192695@AIRLINE.KIWI.COM
33S8AD   1/11/2021   OB   1/19/2021   WN;4973;SAT;BNA;WN;4973;BNA;DCA   EAST JENNIFER          LA                    US   13999   135192695@AIRLINE.KIWI.COM
33S8AD   1/11/2021   OB   1/19/2021   WN;4973;SAT;BNA;WN;4973;BNA;DCA   EAST JENNIFER          LA                    US   13999   135192695@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                   WEST SHANNONSTAD       MD                    US   52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                   WEST SHANNONSTAD       MD                    US   52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                   WEST SHANNONSTAD       MD                    US   52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                   WEST SHANNONSTAD       MD                    US   52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                   WEST SHANNONSTAD       MD                    US   52740   135205422@AIRLINE.KIWI.COM
34YAVR   1/11/2021   OB   1/11/2021   WN;4287;LAX;SMF;WN;4987;SMF;PDX   WEST CHRISTOPHERHAVE   NC                    US   42945   135205598@AIRLINE.KIWI.COM
36L2LE   1/11/2021   OB    2/2/2021   WN;1923;BOS;DEN;WN;4517;DEN;PDX   NEW PAULMOUTH          IN                    US   77528   135209129@AIRLINE.KIWI.COM
36L2LE   1/11/2021   RT    2/8/2021   WN;2624;PDX;DEN;WN;3943;DEN;BOS   NEW PAULMOUTH          IN                    US   77528   135209129@AIRLINE.KIWI.COM
37SRKD   1/11/2021   OB   1/14/2021   WN;845;MSP;MDW;WN;3324;MDW;CMH    AMYFORT                NM                    US   94819   135209063@AIRLINE.KIWI.COM
38F6GY   1/11/2021   OB   1/11/2021   WN;3803;JAX;ATL;WN;2746;ATL;FLL   ADAMSHAVEN             TX                    US   50045   135213166@AIRLINE.KIWI.COM
38KD4Y   1/11/2021   OB   1/31/2021   WN;6279;SLC;HOU;WN;1539;HOU;MCO   JONESFORT              MA                    US   19058   135213386@AIRLINE.KIWI.COM
38KD4Y   1/11/2021   RT    2/7/2021   WN;3981;MCO;HOU;WN;6251;HOU;SLC   JONESFORT              MA                    US   19058   135213386@AIRLINE.KIWI.COM
3AQT82   1/11/2021   OB   1/31/2021   WN;4092;ONT;OAK                   PORT WILLIAM           MT                    US   20682   135219337@AIRLINE.KIWI.COM
3CDNKG   1/11/2021   OB   1/11/2021   WN;586;HNL;OGG                    SELISHCHE SEMEN        CHERNIHIVSKA OBLAST   UA   19175   135219282@AIRLINE.KIWI.COM
3CDNKG   1/11/2021   OB   1/11/2021   WN;586;HNL;OGG                    SELISHCHE SEMEN        CHERNIHIVSKA OBLAST   UA   19175   135219282@AIRLINE.KIWI.COM
3EN57Y   1/11/2021   OB    7/9/2021   WN;2963;ATL;LAS                   BETHPORT               NE                    US   60389   135238939@AIRLINE.KIWI.COM
3EN57Y   1/11/2021   RT   7/15/2021   WN;932;LAS;ATL                    BETHPORT               NE                    US   60389   135238939@AIRLINE.KIWI.COM
3GIG7G   1/11/2021   OB   1/12/2021   WN;4078;MIA;MDW;WN;1459;MDW;DCA   KLKH KOVROV            KAMCHATSKIY KRAY      RU   50777   135249664@AIRLINE.KIWI.COM
3GM4QI   1/11/2021   OB   1/25/2021   WN;2044;ABQ;DAL;WN;2044;DAL;DCA   NORTH JOSETOWN         VA                    US   82418   135250214@AIRLINE.KIWI.COM
3HEQFZ   1/11/2021   OB   1/13/2021   WN;219;CUN;MDW                    CAROLBURGH             MO                    US   15419   135253778@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   OB   6/17/2021   WN;392;DTW;MDW;WN;3069;MDW;ATL    MCCULLOUGHLAND         NM                    US   86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   OB   6/17/2021   WN;392;DTW;MDW;WN;3069;MDW;ATL    MCCULLOUGHLAND         NM                    US   86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   OB   6/17/2021   WN;392;DTW;MDW;WN;3069;MDW;ATL    MCCULLOUGHLAND         NM                    US   86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   RT   6/21/2021   WN;1907;ATL;MDW;WN;2505;MDW;DTW   MCCULLOUGHLAND         NM                    US   86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   RT   6/21/2021   WN;1907;ATL;MDW;WN;2505;MDW;DTW   MCCULLOUGHLAND         NM                    US   86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   RT   6/21/2021   WN;1907;ATL;MDW;WN;2505;MDW;DTW   MCCULLOUGHLAND         NM                    US   86322   135258970@AIRLINE.KIWI.COM
3IFC5V   1/11/2021   OB   2/19/2021   WN;5009;TPA;ATL                   SMITHBURGH             AR                    US   14069   135014110@AIRLINE.KIWI.COM




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3IFC5V   1/11/2021   OB   2/19/2021   WN;5009;TPA;ATL                   SMITHBURGH             AR                   US   14069   135014110@AIRLINE.KIWI.COM
3KEOBG   1/11/2021   OB   1/11/2021   WN;3907;LAS;LAX                   BROWNVIEW              MI                   US   64212   135274271@AIRLINE.KIWI.COM
3L87GE   1/11/2021   OB   1/18/2021   WN;3640;LAS;DEN;WN;1454;DEN;MSP   RONALDBOROUGH          MA                   US   32773   135275525@AIRLINE.KIWI.COM
3LE35J   1/11/2021   OB   2/11/2021   WN;1560;SNA;PHX                   LAMBERTSIDE            GA                   US   31600   135280607@AIRLINE.KIWI.COM
3LV27V   1/11/2021   OB    4/1/2021   WN;1394;ATL;PNS                   RICHMONDTOWN           SD                   US   86916   135282400@AIRLINE.KIWI.COM
3LV27V   1/11/2021   OB    4/1/2021   WN;1394;ATL;PNS                   RICHMONDTOWN           SD                   US   86916   135282400@AIRLINE.KIWI.COM
3LV27V   1/11/2021   OB    4/1/2021   WN;1394;ATL;PNS                   RICHMONDTOWN           SD                   US   86916   135282400@AIRLINE.KIWI.COM
3LVQ24   1/11/2021   OB   3/29/2021   WN;889;PNS;HOU                    NELSONFORT             NM                   US   25956   135282400@AIRLINE.KIWI.COM
3LVQ24   1/11/2021   OB   3/29/2021   WN;889;PNS;HOU                    NELSONFORT             NM                   US   25956   135282400@AIRLINE.KIWI.COM
3LVQ24   1/11/2021   OB   3/29/2021   WN;889;PNS;HOU                    NELSONFORT             NM                   US   25956   135282400@AIRLINE.KIWI.COM
3MRWO6   1/11/2021   OB   3/13/2021   WN;2231;MCI;HOU;WN;873;HOU;STL    WEST KEITH             MD                   US   13100   135281773@AIRLINE.KIWI.COM
3MXNT7   1/11/2021   OB   6/18/2021   WN;3141;COS;DEN;WN;3141;DEN;ATL   LAMBERTCHESTER         PA                   US   25969   135287856@AIRLINE.KIWI.COM
3MXNT7   1/11/2021   OB   6/18/2021   WN;3141;COS;DEN;WN;3141;DEN;ATL   LAMBERTCHESTER         PA                   US   25969   135287856@AIRLINE.KIWI.COM
3MXNT7   1/11/2021   OB   6/18/2021   WN;3141;COS;DEN;WN;3141;DEN;ATL   LAMBERTCHESTER         PA                   US   25969   135287856@AIRLINE.KIWI.COM
3N6K5C   1/11/2021   OB    3/3/2021   WN;4936;SMF;LAX                   EAST CHARLENEVIEW      OK                   US   22475   135288890@AIRLINE.KIWI.COM
3NJZOL   1/11/2021   OB   1/15/2021   WN;4305;PDX;SMF;WN;4305;SMF;ONT   VASQUEZLAND            MT                   US    9969   135291013@AIRLINE.KIWI.COM
3NOIPJ   1/11/2021   OB   2/15/2021   WN;1149;LAX;SMF                   LAKE DANIELMOUTH       MI                   US    6435   135288197@AIRLINE.KIWI.COM
3NSITR   1/11/2021   OB   1/13/2021   WN;876;MCO;DAL;WN;2330;DAL;MSY    S APSHERONSK           KRASNODARSKIY KRAY   RU   82379   135291519@AIRLINE.KIWI.COM
3OE4R3   1/11/2021   OB   1/12/2021   WN;2026;ATL;DEN;WN;2029;DEN;SFO   ROBLESVIEW             IL                   US   22614   135294302@AIRLINE.KIWI.COM
3OG354   1/11/2021   OB    2/6/2021   WN;6273;SAN;LAS                   LAKE DENISE            NE                   US   70269   135294676@AIRLINE.KIWI.COM
3OG354   1/11/2021   RT    2/8/2021   WN;4692;LAS;SAN                   LAKE DENISE            NE                   US   70269   135294676@AIRLINE.KIWI.COM
3PS3CL   1/12/2021   OB    2/5/2021   WN;2739;ONT;PHX                   ERICCHESTER            WI                   US   52880   135297855@AIRLINE.KIWI.COM
3QECTB   1/12/2021   OB   1/12/2021   WN;4131;MIA;HOU                   LAKE RONALD            AZ                   US   34454   135299494@AIRLINE.KIWI.COM
3RCAQD   1/12/2021   OB   1/25/2021   WN;4791;LAS;AMA                   VIEJA PAKISTAN         CAMPECHE             MX   62035   135302420@AIRLINE.KIWI.COM
3RE4YN   1/12/2021   OB   3/14/2021   WN;1269;MDW;LGA                   NORTH DANIEL           AZ                   US   12866   135284611@AIRLINE.KIWI.COM
3RE4YN   1/12/2021   OB   3/14/2021   WN;1269;MDW;LGA                   NORTH DANIEL           AZ                   US   12866   135284611@AIRLINE.KIWI.COM
3RMBAE   1/12/2021   OB   3/20/2021   WN;2640;LGA;MDW                   NEW SITIWAT            AL                   US    8120   135284611@AIRLINE.KIWI.COM
3RMBAE   1/12/2021   OB   3/20/2021   WN;2640;LGA;MDW                   NEW SITIWAT            AL                   US    8120   135284611@AIRLINE.KIWI.COM
3ROWXZ   1/12/2021   OB   1/12/2021   WN;4042;FLL;BWI;WN;715;BWI;BUF    OBRIENFURT             NJ                   US    6309   135303432@AIRLINE.KIWI.COM
3RQDLW   1/12/2021   OB   1/12/2021   WN;1438;FLL;ATL                   PATTONVILLE            HI                   US   39213   135303344@AIRLINE.KIWI.COM
3S2E9F   1/12/2021   OB   1/12/2021   WN;4042;MDW;FLL                   PORT ALEXISMOUTH       MO                   US   84311   135304906@AIRLINE.KIWI.COM
3SC4AX   1/12/2021   OB   3/25/2021   WN;1433;SMF;LAX                   NEW MICHAELFURT        KS                   US   40565   135304763@AIRLINE.KIWI.COM
3SL5LG   1/12/2021   OB   1/14/2021   WN;4720;DTW;DEN;WN;2728;DEN;MSY   EVELYNSHIRE            OR                   US   39417   135298416@AIRLINE.KIWI.COM
3SOBZB   1/12/2021   OB   1/12/2021   WN;2744;ATL;RDU                   EDWARDFORT             WY                   US   55612   135306611@AIRLINE.KIWI.COM
3SQGJM   1/12/2021   OB   1/19/2021   WN;1608;CUN;BWI                   FARMERVILLE            VT                   US   51609   135304356@AIRLINE.KIWI.COM
3SQGJM   1/12/2021   OB   1/19/2021   WN;1608;CUN;BWI                   FARMERVILLE            VT                   US   51609   135304356@AIRLINE.KIWI.COM
3T48OL   1/12/2021   OB   1/12/2021   WN;569;DEN;OAK;WN;883;OAK;OGG     SELISHCHE OLEKSANDR    ZAKARPATSKA OBLAST   UA   58145   135307359@AIRLINE.KIWI.COM
3T48OL   1/12/2021   OB   1/12/2021   WN;569;DEN;OAK;WN;883;OAK;OGG     SELISHCHE OLEKSANDR    ZAKARPATSKA OBLAST   UA   58145   135307359@AIRLINE.KIWI.COM
3T48OL   1/12/2021   OB   1/12/2021   WN;569;DEN;OAK;WN;883;OAK;OGG     SELISHCHE OLEKSANDR    ZAKARPATSKA OBLAST   UA   58145   135307359@AIRLINE.KIWI.COM
3T4GDU   1/12/2021   OB   1/12/2021   WN;4042;MDW;FLL                   THOMASTOWN             FL                   US   14509   135307755@AIRLINE.KIWI.COM
3TJIUI   1/12/2021   OB   1/12/2021   WN;3075;MIA;BWI;WN;2293;BWI;PVD   NORTH SUSAN            IA                   US   89287   135308844@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                    NGUYENSTAD             MS                   US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                    NGUYENSTAD             MS                   US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                    NGUYENSTAD             MS                   US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                    NGUYENSTAD             MS                   US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                    NGUYENSTAD             MS                   US   74654   135309119@AIRLINE.KIWI.COM
3U6JX6   1/12/2021   OB   1/12/2021   WN;3075;MIA;BWI;WN;2510;BWI;BOS   JYLNLAND               DEIR EL BALAH        PS   63145   135310417@AIRLINE.KIWI.COM
3UQCWJ   1/12/2021   OB    2/7/2021   WN;4310;LAS;SJC                   EAST TERESA            OR                   US   81785   135311792@AIRLINE.KIWI.COM
3UZ7BJ   1/12/2021   OB   1/12/2021   WN;569;DEN;OAK;WN;1282;OAK;HNL    LAKE TAMMY             IL                   US   58377   132800426.1534025@AIRLINE.KIWI.COM
3UZ7BJ   1/12/2021   OB   1/12/2021   WN;569;DEN;OAK;WN;1282;OAK;HNL    LAKE TAMMY             IL                   US   58377   132800426.1534025@AIRLINE.KIWI.COM
3VZHBQ   1/12/2021   OB   1/12/2021   WN;3924;MCI;MDW;WN;2558;MDW;BOS   VIEJA LESOTHO          NUEVO LEON           MX   51924   135314949@AIRLINE.KIWI.COM
3WJGTK   1/12/2021   OB   1/12/2021   WN;2107;BWI;MCI                   NATASHABERG            KS                   US   27994   135304532@AIRLINE.KIWI.COM
3WJGTK   1/12/2021   OB   1/12/2021   WN;2107;BWI;MCI                   NATASHABERG            KS                   US   27994   135304532@AIRLINE.KIWI.COM
3WJGTK   1/12/2021   OB   1/12/2021   WN;2107;BWI;MCI                   NATASHABERG            KS                   US   27994   135304532@AIRLINE.KIWI.COM
3YB9WF   1/12/2021   OB   1/12/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA   NORTH RONALDTOWN       MO                   US   60010   135321549@AIRLINE.KIWI.COM
3ZK9R6   1/12/2021   OB   2/13/2021   WN;2418;LAX;SFO                   ROBERTSIDE             KY                   US   23264   135326818@AIRLINE.KIWI.COM
45IW5P   1/12/2021   OB   1/14/2021   WN;4385;SEA;OAK;WN;4862;OAK;LAS   BURIEN                 WA                   US   98168   135321076@AIRLINE.KIWI.COM
45IW5P   1/12/2021   OB   1/14/2021   WN;4385;SEA;OAK;WN;4862;OAK;LAS   BURIEN                 WA                   US   98168   135321076@AIRLINE.KIWI.COM
4649PF   1/12/2021   OB    3/4/2021   WN;398;BWI;RDU                    BARTLETTCHESTER        ME                   US   83302   135351447@AIRLINE.KIWI.COM
4649PF   1/12/2021   OB    3/4/2021   WN;398;BWI;RDU                    BARTLETTCHESTER        ME                   US   83302   135351447@AIRLINE.KIWI.COM
4649PF   1/12/2021   RT    3/7/2021   WN;241;RDU;BWI                    BARTLETTCHESTER        ME                   US   83302   135351447@AIRLINE.KIWI.COM
4649PF   1/12/2021   RT    3/7/2021   WN;241;RDU;BWI                    BARTLETTCHESTER        ME                   US   83302   135351447@AIRLINE.KIWI.COM
47BFFB   1/12/2021   OB   1/13/2021   WN;4955;LAS;SJC                   MUNOZMOUTH             NJ                   US    1544   135357695@AIRLINE.KIWI.COM
47PSGK   1/12/2021   OB    3/1/2021   WN;3559;BWI;PIT                   KYLETOWN               PA                   US   83618   135359499@AIRLINE.KIWI.COM
486NSA   1/12/2021   OB    2/2/2021   WN;4285;OAK;LAX                   SOUTH JODISIDE         AR                   US   52552   135362238@AIRLINE.KIWI.COM
486NSA   1/12/2021   RT    2/2/2021   WN;456;LAX;OAK                    SOUTH JODISIDE         AR                   US   52552   135362238@AIRLINE.KIWI.COM
48LMRQ   1/12/2021   OB   1/13/2021   WN;6815;SJU;FLL                   WILSONMOUTH            AR                   US    7573   135364669@AIRLINE.KIWI.COM
4938JD   1/12/2021   OB   1/12/2021   WN;2408;LGB;LAS                   WEST KEVIN             SC                   US   79792   135368332@AIRLINE.KIWI.COM
49GMO5   1/12/2021   OB   1/13/2021   WN;4692;LAS;SAN                   BRYANTBURGH            ND                   US   57779   135360247@AIRLINE.KIWI.COM
4BXPJT   1/12/2021   OB   1/15/2021   WN;3170;PHX;HOU;WN;506;HOU;CVG    STEPHEN MOUNT 51       MP                   US   33124   135376439@AIRLINE.KIWI.COM
4BXPJT   1/12/2021   OB   1/15/2021   WN;3170;PHX;HOU;WN;506;HOU;CVG    STEPHEN MOUNT 51       MP                   US   33124   135376439@AIRLINE.KIWI.COM
4DPTBG   1/12/2021   OB   1/13/2021   WN;1067;MKE;PHX                   WEST SUSAN             AZ                   US   18223   135389375@AIRLINE.KIWI.COM
4FTZUK   1/13/2021   OB   2/13/2021   WN;2554;LAS;ONT                   FRENCHLAND             DE                   US   39872   135394457@AIRLINE.KIWI.COM
4HLSCK   1/13/2021   OB   3/12/2021   WN;1961;MDW;MIA                   JOELCHESTER            IN                   US   75659   135400914@AIRLINE.KIWI.COM
4HLSCK   1/13/2021   OB   3/12/2021   WN;1961;MDW;MIA                   JOELCHESTER            IN                   US   75659   135400914@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                    EAST ALICIABURGH       HI                   US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                    EAST ALICIABURGH       HI                   US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                    EAST ALICIABURGH       HI                   US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                    EAST ALICIABURGH       HI                   US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                    EAST ALICIABURGH       HI                   US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                    EAST ALICIABURGH       HI                   US   65044   135402003@AIRLINE.KIWI.COM
4I4Z22   1/13/2021   OB   1/13/2021   WN;845;MSP;MDW;WN;2987;MDW;ATL    JEFFREYVIEW            WI                   US   20823   135402399@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK   NORTH ASHLEY           KY                   US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK   NORTH ASHLEY           KY                   US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK   NORTH ASHLEY           KY                   US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK   NORTH ASHLEY           KY                   US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK   NORTH ASHLEY           KY                   US   23440   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                   WALKERSHIRE            AZ                   US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                   WALKERSHIRE            AZ                   US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                   WALKERSHIRE            AZ                   US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                   WALKERSHIRE            AZ                   US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                   WALKERSHIRE            AZ                   US   47577   135402520@AIRLINE.KIWI.COM
4IISCM   1/13/2021   OB   2/20/2021   WN;3201;SAT;DAL;WN;36;DAL;ELP     NORTH WILLIAM          CA                   US   21953   135403433@AIRLINE.KIWI.COM
4IIY2Q   1/13/2021   OB   1/27/2021   WN;3426;MDW;OMA                   G LOTOSHINO            SAMARASKAYA OBLAST   RU    4697   135392730@AIRLINE.KIWI.COM
4IN7QA   1/13/2021   OB   2/10/2021   WN;3168;ELP;PHX;WN;2739;PHX;SAT   NEW RUSSELLTON         MI                   US   69418   135403433@AIRLINE.KIWI.COM
4J3CQU   1/13/2021   OB   1/15/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL   DONNATOWN              FL                   US   28019   135400320@AIRLINE.KIWI.COM
4J3CQU   1/13/2021   OB   1/15/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL   DONNATOWN              FL                   US   28019   135400320@AIRLINE.KIWI.COM
4J3CQU   1/13/2021   OB   1/15/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL   DONNATOWN              FL                   US   28019   135400320@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                   EAST JAMESPORT         NY                   US   89540   135405908@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                   EAST JAMESPORT         NY                   US   89540   135405908@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                   EAST JAMESPORT         NY                   US   89540   135405908@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                   EAST JAMESPORT         NY                   US   89540   135405908@AIRLINE.KIWI.COM
4K7WZP   1/13/2021   OB   1/29/2021   WN;1607;BWI;CUN                   JUANTON                MS                   US   13395   135407052@AIRLINE.KIWI.COM
4K7WZP   1/13/2021   OB   1/29/2021   WN;1607;BWI;CUN                   JUANTON                MS                   US   13395   135407052@AIRLINE.KIWI.COM
4K7WZP   1/13/2021   RT    2/4/2021   WN;1608;CUN;BWI                   JUANTON                MS                   US   13395   135407052@AIRLINE.KIWI.COM
4K7WZP   1/13/2021   RT    2/4/2021   WN;1608;CUN;BWI                   JUANTON                MS                   US   13395   135407052@AIRLINE.KIWI.COM
4KW77S   1/13/2021   OB   1/13/2021   WN;1950;BUF;MCO                   SAN EUGENIA DE LA MO   HIDALGO              MX   27157   135409285@AIRLINE.KIWI.COM




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4MPSP3   1/13/2021   OB   1/13/2021   WN;1466;SLC;LAS                      NEW CHERYL          MS                    US   21489   135414884@AIRLINE.KIWI.COM
4N63AR   1/13/2021   OB   1/30/2021   WN;3674;MDW;LGA                      KLKH BOGUCHAR       ORLOVSKAYA OBLAST     RU   98657   135416006@AIRLINE.KIWI.COM
4N63AR   1/13/2021   OB   1/30/2021   WN;3674;MDW;LGA                      KLKH BOGUCHAR       ORLOVSKAYA OBLAST     RU   98657   135416006@AIRLINE.KIWI.COM
4N8BKK   1/13/2021   OB   1/23/2021   WN;3210;LGA;MDW                      K NADYM             MAGADANSKAYA OBLAST   RU   96521   135416006@AIRLINE.KIWI.COM
4N8BKK   1/13/2021   OB   1/23/2021   WN;3210;LGA;MDW                      K NADYM             MAGADANSKAYA OBLAST   RU   96521   135416006@AIRLINE.KIWI.COM
4NP4UX   1/13/2021   OB   1/15/2021   WN;4836;SEA;OAK;WN;4757;OAK;LAS      RALEIGH             NC                    US   14556   135409780@AIRLINE.KIWI.COM
4Q275C   1/13/2021   OB   1/29/2021   WN;1607;BWI;CUN                      LINDSEYSHIRE        CT                    US   50896   135427743@AIRLINE.KIWI.COM
4QRCFJ   1/13/2021   OB   2/23/2021   WN;5013;TPA;BNA;WN;4973;BNA;DCA      ANGELASTAD          NH                    US   61949   135430812@AIRLINE.KIWI.COM
4VHUFO   1/13/2021   OB   1/14/2021   WN;2577;MIA;HOU;WN;423;HOU;LAS       MATTHEWSMOUTH       ME                    US   37000   135456860@AIRLINE.KIWI.COM
4VKX8M   1/13/2021   OB   1/17/2021   WN;2268;BNA;HOU;WN;2268;HOU;SAT      PORT DAVIDSIDE      CT                    US   12571   135457597@AIRLINE.KIWI.COM
4WLSZJ   1/13/2021   OB    2/3/2021   WN;2298;HOU;SAT                      WEST ANTHONYHAVEN   LA                    US   87192   135463977@AIRLINE.KIWI.COM
4XXAIT   1/13/2021   OB   2/19/2021   WN;2493;MCI;DAL                      EAST STEPHENFORT    PA                    US   81920   135470027@AIRLINE.KIWI.COM
4XXAIT   1/13/2021   OB   2/19/2021   WN;2493;MCI;DAL                      EAST STEPHENFORT    PA                    US   81920   135470027@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN       LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN       LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN       LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN       LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;260LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;260LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;260LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;260LISAHAVEN           IN                    US   37261   135476000@AIRLINE.KIWI.COM




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PNR_REC_LOC_ID PNR_CRE_DT ITIN_PART FLT_DEP_DT ITIN                                BILL_CITY             BILL_ST_PRVC         BILL_CNTRY BILL_ZIP EMAIL
KM9GDS            8/14/2020 OB         8/29/2020 WN;1567;FLL;BWI;WN;1250;BWI;CLE   GARCIABURGH           ME                   US            21640 121525283@KACHIPYTEL.COM
LAFA7J            8/14/2020 OB         8/24/2020 WN;950;PHL;BNA                    MATTHEWCHESTER        NV                   US            96165 121546744@KACHIPYTEL.COM
LMPQU9            8/14/2020 OB         8/15/2020 WN;1362;MSY;DEN;WN;1150;DEN;SEA   NEW PETERMOUTH        NY                   US            66184 121556006@KACHIPYTEL.COM
OJI5KF            8/15/2020 OB         8/26/2020 WN;1679;DAL;MCI;WN;1235;MCI;MDW   NICHOLSONBOROUGH      SOUTHLAND            NZ            96138 121611490@KACHIPYTEL.COM
OOFUMC            8/15/2020 OB         8/20/2020 WN;1797;DEN;BNA                   BUCKLEYTON            NH                   US            19254 121566808@KACHIPYTEL.COM
OOFUMC            8/15/2020 OB         8/20/2020 WN;1797;DEN;BNA                   BUCKLEYTON            NH                   US            19254 121566808@KACHIPYTEL.COM
RQB6UD            8/16/2020 OB         9/12/2020 WN;961;DCA;BNA;WN;2505;BNA;MDW    EAST KYLIESHIRE       CT                   US            80594 121665379@KACHIPYTEL.COM
S9VCYJ            8/16/2020 OB         8/19/2020 WN;1562;BNA;AUS;WN;959;AUS;MSY    NEW NEILBOROUGH       MD                   US            76814 121680020@KACHIPYTEL.COM
S9VCYJ            8/16/2020 OB         8/19/2020 WN;1562;BNA;AUS;WN;959;AUS;MSY    NEW NEILBOROUGH       MD                   US            76814 121680020@KACHIPYTEL.COM
SX5VGO            8/16/2020 OB         8/20/2020 WN;404;ATL;MKE;WN;1291;MKE;STL    MARIEMOUTH            WI                   US            29928 121678194@KACHIPYTEL.COM
SY4YXI            8/28/2020 OB          9/2/2020 WN;1672;ATL;SAT;WN;1438;SAT;MCO   SAN SOFIA LOS BAJOS   CAMPECHE             MX            21988 122762112@KACHIPYTEL.COM
L57KPT            8/30/2020 OB         9/21/2020 WN;1952;DAL;STL                   EAST BRENTLAND        IL                   US             4543 122879724@KACHIPYTEL.COM
SX854H             9/1/2020 OB          9/3/2020 WN;1672;ATL;SAT;WN;1438;SAT;MCO   LAURASIDE             RI                   US            86773 123102122@KACHIPYTEL.COM
TWSR4L             9/2/2020 OB        11/14/2020 WN;2444;STL;PHX                   EAST DONALDTOWN       VT                   US            89507 123116213@KACHIPYTEL.COM
TX99K8             9/2/2020 OB        11/16/2020 WN;1100;PHX;STL                   MICHAELBOROUGH        DE                   US            85069 123116213@KACHIPYTEL.COM
JCN6AQ             9/3/2020 OB          9/5/2020 WN;917;MSP;BNA;WN;1382;BNA;MDW    SANCHEZBERG           RI                   US            83725 123222121@KACHIPYTEL.COM
OD2OLM             9/4/2020 OB          9/5/2020 WN;846;MCO;DAL;WN;52;DAL;LAX      DONALDMOUTH           OK                   US            12853 123386670@KACHIPYTEL.COM
ODN938             9/4/2020 OB          9/7/2020 WN;1923;DAL;MCO;WN;139;MCO;SDF    EMILYVIEW             IA                   US            58060 123386670@KACHIPYTEL.COM
LXR58R             9/7/2020 OB          9/9/2020 WN;1581;BOS;BNA;WN;1548;BNA;MDW   PORT STACY            VT                   US            18138 123679061@KACHIPYTEL.COM
MFCOIR             9/8/2020 OB         9/21/2020 WN;2186;LGB;SMF;WN;2126;SMF;PHX   SALGOTARJAN           TATABANYA            HU            92617 123685958@KACHIPYTEL.COM
SEMXU7             9/9/2020 OB         9/25/2020 WN;273;MBJ;MCO                    NEW MELODYMOUTH       VA                   US            70863 123859296@KACHIPYTEL.COM
V5LOIA            9/10/2020 OB        11/19/2020 WN;1055;ICT;STL                   NORTH DIANEVILLE      MT                   US            63725 123930543@KACHIPYTEL.COM
V5LOIA            9/10/2020 OB        11/19/2020 WN;1055;ICT;STL                   NORTH DIANEVILLE      MT                   US            63725 123930543@KACHIPYTEL.COM
VLAMD5            9/10/2020 OB         9/23/2020 WN;1581;BOS;BNA;WN;1548;BNA;MDW   UMEA                  JAMTLANDS LAN        SE            62909 123947780@KACHIPYTEL.COM
VLAMD5            9/10/2020 OB         9/23/2020 WN;1581;BOS;BNA;WN;1548;BNA;MDW   UMEA                  JAMTLANDS LAN        SE            62909 123947780@KACHIPYTEL.COM
VLAMD5            9/10/2020 OB         9/23/2020 WN;1581;BOS;BNA;WN;1548;BNA;MDW   UMEA                  JAMTLANDS LAN        SE            62909 123947780@KACHIPYTEL.COM
WJHFGG            9/10/2020 OB         9/14/2020 WN;40;OAK;HOU;WN;2450;HOU;FLL     AMYBOROUGH            NC                   US            53829 123982111@KACHIPYTEL.COM
LPCN4H            9/11/2020 OB         9/18/2020 WN;1873;CLT;MDW;WN;2215;MDW;MCO   KARENBURY             ME                   US            43664 124065425@KACHIPYTEL.COM
WTAB8C            9/11/2020 OB         9/21/2020 WN;1906;HOU;PHX;WN;1074;PHX;LAS   EAST RYANTON          NV                   US            84834 123986577@KACHIPYTEL.COM
MFRKWD            9/12/2020 OB         9/16/2020 WN;1592;BOS;DEN                   PORT CHRISTIEBURY     HI                   US            58705 124080935@KACHIPYTEL.COM
MSP9U3            9/12/2020 OB        12/20/2020 WN;238;CHS;BWI                    KHVRCHILKOVVIEW       PAZARDZHIK           BG            23951 124085456@KACHIPYTEL.COM
S7GO2A            9/13/2020 OB         11/8/2020 WN;964;MCO;HOU                    PAULLAND              MS                   US            94347 124191771@KACHIPYTEL.COM
S7GO2A            9/13/2020 OB         11/8/2020 WN;964;MCO;HOU                    PAULLAND              MS                   US            94347 124191771@KACHIPYTEL.COM
SMS4YI            9/13/2020 OB         9/18/2020 WN;2014;OMA;DAL;WN;106;DAL;MDW    BRIGITATOWN           SLIVEN               BG            67149 124202507@KACHIPYTEL.COM
VXV2BZ            9/14/2020 OB         9/18/2020 WN;143;BNA;MCO                    NEW MATTHEW           OH                   US            62399 124285271@KACHIPYTEL.COM
WFN3PD            9/14/2020 OB         9/15/2020 WN;2497;OMA;LAS                   NORTH JAMESCHESTER    MS                   US            96632 124306787@KACHIPYTEL.COM
M7JJVJ            9/15/2020 OB         9/28/2020 WN;2614;DAL;BWI;WN;555;BWI;BOS    EAST SAMUEL           UT                   US            29786 124417953@KACHIPYTEL.COM
M7JJVJ            9/15/2020 OB         9/28/2020 WN;2614;DAL;BWI;WN;555;BWI;BOS    EAST SAMUEL           UT                   US            29786 124417953@KACHIPYTEL.COM
MJT9IS            9/16/2020 OB         9/18/2020 WN;2278;BNA;PHX                   NEW SANDRA            NJ                   US            38815 124424234@KACHIPYTEL.COM
MUOSXT            9/16/2020 OB         9/18/2020 WN;2205;MDW;DEN;WN;174;DEN;LGA    DORSEYLAND            PA                   US            29171 124428359@KACHIPYTEL.COM
S2IMJE            9/17/2020 OB         9/20/2020 WN;1964;DAL;TPA;WN;2068;TPA;ATL   SMITHBURGH            MI                   US             1805 124584405@KACHIPYTEL.COM
SBR85Q            9/17/2020 OB        10/26/2020 WN;40;OAK;HOU;WN;2430;HOU;AUS     ASHLEYBERG            SC                   US            57538 124595394@KACHIPYTEL.COM
SBR85Q            9/17/2020 OB        10/26/2020 WN;40;OAK;HOU;WN;2430;HOU;AUS     ASHLEYBERG            SC                   US            57538 124595394@KACHIPYTEL.COM
SBVVCL            9/17/2020 OB        10/23/2020 WN;1987;HOU;OAK;WN;2301;OAK;ONT   NORTH SHAWN           TX                   US            13648 124595394@KACHIPYTEL.COM
SBVVCL            9/17/2020 OB        10/23/2020 WN;1987;HOU;OAK;WN;2301;OAK;ONT   NORTH SHAWN           TX                   US            13648 124595394@KACHIPYTEL.COM
SKNKPF            9/17/2020 OB        10/28/2020 WN;2325;OMA;LAS                   LAKE ELIZABETHSHIRE   GA                   US            72123 124606251@KACHIPYTEL.COM
SKNKPF            9/17/2020 OB        10/28/2020 WN;2325;OMA;LAS                   LAKE ELIZABETHSHIRE   GA                   US            72123 124606251@KACHIPYTEL.COM
U4X2QN            9/18/2020 OB         9/27/2020 WN;2414;RDU;BWI                   RAMOSSIDE             NUNAVUT              CA            52285 124643409@KACHIPYTEL.COM
U4X2QN            9/18/2020 OB         9/27/2020 WN;2414;RDU;BWI                   RAMOSSIDE             NUNAVUT              CA            52285 124643409@KACHIPYTEL.COM
U5BQ9R            9/18/2020 OB         9/24/2020 WN;2470;SEA;SMF;WN;993;SMF;ONT    NORTH SUSAN           AZ                   US            24665 124643783@KACHIPYTEL.COM
VL92K3            9/18/2020 OB         9/23/2020 WN;822;HOU;MDW;WN;2289;MDW;MEM    DANIELSPORT           PA                   US            38951 124689829@KACHIPYTEL.COM
VQ7BGM            9/18/2020 OB         9/18/2020 WN;2072;LGA;ATL                   LEWISSHIRE            WY                   US            97825 124698640@KACHIPYTEL.COM
WADLAV            9/18/2020 OB         9/19/2020 WN;2006;BWI;DAL                   NEW STEPHENBURGH      NC                   US            71168 124719034@KACHIPYTEL.COM
JOUDWO            9/19/2020 OB         9/19/2020 WN;1926;LAS;SAT;WN;2088;SAT;HOU   EAST JASON            SC                   US            92717 124742772@KACHIPYTEL.COM
M6UIP5            9/19/2020 OB         9/23/2020 WN;140;MCO;BWI;WN;1029;BWI;CVG    NORTH CHRISTINE       KS                   US            89837 124805879@KACHIPYTEL.COM
QGWQV9            9/21/2020 OB         9/24/2020 WN;1807;SFO;DEN                   KHUTIR OKSANA         KYIVSKA OBLAST       UA            67636 124890722@KACHIPYTEL.COM
SJW49T            9/21/2020 OB         9/22/2020 WN;1970;DEN;STL                   NORTH AUSTIN          DE                   US            16477 124954236@KACHIPYTEL.COM
SMFJQH            9/21/2020 OB         9/22/2020 WN;1807;SFO;DEN;WN;133;DEN;PHX    LAKE JASMINE          MN                   US            93488 124956095@KACHIPYTEL.COM
SUQ39G            9/21/2020 OB         10/8/2020 WN;2400;PHX;SJC;WN;1870;SJC;SNA   RIVASSHIRE            OR                   US            28670 124968767@KACHIPYTEL.COM
SUQ39G            9/21/2020 OB         10/8/2020 WN;2400;PHX;SJC;WN;1870;SJC;SNA   RIVASSHIRE            OR                   US            28670 124968767@KACHIPYTEL.COM
TNP6YP            9/22/2020 OB         9/22/2020 WN;1941;SAT;LAS;WN;2609;LAS;TUL   NEW NATHANVILLE       CA                   US            63033 124987214@KACHIPYTEL.COM
U5GVXI            9/22/2020 OB         9/27/2020 WN;1385;BNA;DEN;WN;2312;DEN;LAS   MICHAELHAVEN          LA                   US            61124 124993341@KACHIPYTEL.COM
W447EF            9/22/2020 OB         9/29/2020 WN;1964;DAL;TPA;WN;2068;TPA;ATL   WILSONSHIRE           ME                   US            15148 125058483@KACHIPYTEL.COM
W447EF            9/22/2020 OB         9/29/2020 WN;1964;DAL;TPA;WN;2068;TPA;ATL   WILSONSHIRE           ME                   US            15148 125058483@KACHIPYTEL.COM
WDYETO            9/22/2020 OB         9/23/2020 WN;2338;PDX;MDW;WN;2496;MDW;AUS   WEST ERICMOUTH        SD                   US            66214 125070484@KACHIPYTEL.COM
WVHIJ2            9/22/2020 OB         9/26/2020 WN;1840;CLE;BWI                   EAST BRIANHAVEN       UT                   US            46712 125085653@KACHIPYTEL.COM
K6U5TF            9/23/2020 OB        10/13/2020 WN;6602;MEM;DAL                   PEREZMOUTH            AL                   US            91077 125107521@KACHIPYTEL.COM
K6U5TF            9/23/2020 OB        10/13/2020 WN;6602;MEM;DAL                   PEREZMOUTH            AL                   US            91077 125107521@KACHIPYTEL.COM
K6U5TF            9/23/2020 OB        10/13/2020 WN;6602;MEM;DAL                   PEREZMOUTH            AL                   US            91077 125107521@KACHIPYTEL.COM
L2QACU            9/23/2020 OB         9/23/2020 WN;2338;PDX;MDW                   WEST ERICMOUTH        SD                   US            66214 125070484@KACHIPYTEL.COM
LDOVXC            9/23/2020 OB        10/13/2020 WN;341;LGA;BNA                    KIMBERLYSHIRE         OH                   US            43026 125151169@KACHIPYTEL.COM
OPJUAN            9/24/2020 OB         9/25/2020 WN;2326;MSY;LAS;WN;2567;LAS;STL   REYESTOWN             IA                   US            70137 125251896@KACHIPYTEL.COM
P9HLKT            9/24/2020 OB         9/30/2020 WN;1590;BOS;BWI;WN;1800;BWI;MDW   NEW CALEB             OR                   US            85339 125276525@KACHIPYTEL.COM
PK862X            9/24/2020 OB        12/26/2020 WN;2250;FLL;BWI;WN;36;BWI;BDL     LAKE HANNAHSIDE       TX                   US             7540 125288559@KACHIPYTEL.COM
QLNDYJ            9/25/2020 OB         9/29/2020 WN;830;LAS;DAL;WN;2604;DAL;ABQ    JEFFERSONSHIRE        TN                   US            20427 125309613@KACHIPYTEL.COM
VSRNDA            9/26/2020 OB        11/18/2020 WN;3262;FLL;MDW                   NEW ALFRED            RI                   US            59993 124984299.1463764.1464338@KACHIPYTEL.COM
JIPC53            9/27/2020 OB         9/30/2020 WN;183;BOS;BWI;WN;2614;BWI;MDW    SOUTH NORMABURY       KS                   US            34626 125474415@KACHIPYTEL.COM
Q8J3OB            9/29/2020 OB         10/1/2020 WN;2497;OMA;LAS                   EAST MICHAEL          VA                   US            40883 124606251.1467525@KACHIPYTEL.COM
S6BRN3            9/29/2020 OB         10/1/2020 WN;2497;OMA;LAS                   KIMBERLYBERG          PA                   US            81048 124606251.1467525@KACHIPYTEL.COM
W2EGSP            9/30/2020 OB         10/8/2020 WN;341;LGA;BNA;WN;665;BNA;ATL     KRISTIEVILLE          OH                   US            20069 125810861@KACHIPYTEL.COM
W2EGSP            9/30/2020 OB         10/8/2020 WN;341;LGA;BNA;WN;665;BNA;ATL     KRISTIEVILLE          OH                   US            20069 125810861@KACHIPYTEL.COM
W2EGSP            9/30/2020 OB         10/8/2020 WN;341;LGA;BNA;WN;665;BNA;ATL     KRISTIEVILLE          OH                   US            20069 125810861@KACHIPYTEL.COM
W2EGSP            9/30/2020 OB         10/8/2020 WN;341;LGA;BNA;WN;665;BNA;ATL     KRISTIEVILLE          OH                   US            20069 125810861@KACHIPYTEL.COM
WLAIFG            9/30/2020 OB         12/9/2020 WN;3956;MCO;BNA                   NECHANICE             HRADEC KRALOVE       CZ            67010 125835138@KACHIPYTEL.COM
LNY6I6            10/1/2020 OB        11/16/2020 WN;1196;IND;PHX                   SCOTTBURY             MS                   US            28288 125922830@KACHIPYTEL.COM
MEDJQN            10/1/2020 OB         10/4/2020 WN;2002;FLL;BWI;WN;2597;BWI;BDL   PORT SHARON           MA                   US            79236 125950451@KACHIPYTEL.COM
QIAUBT            10/3/2020 OB         11/3/2020 WN;2213;STL;MCO;WN;1421;MCO;IND   EVANSBERG             VA                   US            18789 126063872@KACHIPYTEL.COM
QIL3PT            10/3/2020 OB         11/6/2020 WN;558;MCO;STL;WN;1472;STL;LAX    WEST ROBERT           MI                   US            39160 126063872@KACHIPYTEL.COM
SZ2UOZ            10/3/2020 OB        10/20/2020 WN;341;LGA;BNA;WN;1522;BNA;DAL    EAST MARK             CA                   US            99814 126132721@KACHIPYTEL.COM
LYFLW3            10/5/2020 OB         10/9/2020 WN;1269;PHL;STL                   EAST MATTHEWVILLE     WA                   US            35593 126324231@KACHIPYTEL.COM
NF7TNV            10/6/2020 OB        10/13/2020 WN;1109;LAX;OAK;WN;364;OAK;BOI    PORT JAMES            IA                   US            15728 126358551@KACHIPYTEL.COM
OY9MDZ            10/6/2020 OB         10/7/2020 WN;2498;SLC;OAK;WN;2129;OAK;DEN   LAKE ALEXANDERTON     NV                   US            84304 126413078@KACHIPYTEL.COM
QGXPYA            10/7/2020 OB        10/24/2020 WN;2168;AUS;BNA;WN;2505;BNA;MDW   SOUTH JORGEVILLE      KY                   US            45891 126459498@KACHIPYTEL.COM
QGXPYA            10/7/2020 OB        10/24/2020 WN;2168;AUS;BNA;WN;2505;BNA;MDW   SOUTH JORGEVILLE      KY                   US            45891 126459498@KACHIPYTEL.COM
T2HOTF            10/7/2020 OB        10/28/2020 WN;1807;SFO;DEN;WN;1142;DEN;BUR   EAST ADRIANMOUTH      LA                   US            66264 126535970@KACHIPYTEL.COM
J7PCDK            10/9/2020 OB        10/11/2020 WN;396;ALB;BWI                    WEST TIFFANYFURT      CA                   US            82762 126666023@KACHIPYTEL.COM
KW7EE2            10/9/2020 OB        10/10/2020 WN;2143;LGA;DEN;WN;734;DEN;OKC    HODGESFURT            UT                   US            97371 126719582@KACHIPYTEL.COM
LWZXPR            10/9/2020 OB        10/10/2020 WN;183;BOS;BWI                    PORTERBOROUGH         TN                   US            17856 126758753@KACHIPYTEL.COM
PLNODJ           10/11/2020 OB        10/12/2020 WN;2319;HOU;DEN;WN;2037;DEN;MCI   ZUGDIDI               KVEMO KARTLI         GE            60070 126843046@KACHIPYTEL.COM
PR96TB           10/11/2020 OB         11/5/2020 WN;1803;LGB;LAS                   WEST NATHANIELSTAD    OH                   US            34475 126844729@KACHIPYTEL.COM
RYDRTS           10/11/2020 OB        10/15/2020 WN;2530;TUS;LAS;WN;2439;LAS;DEN   SAINT JULIETTE        MEUSE                FR            33314 126905801@KACHIPYTEL.COM
JJ5QHX           10/13/2020 OB        10/14/2020 WN;55;MKE;LAS;WN;2609;LAS;TUL     CRANETOWN             WV                   US            64107 127082714@KACHIPYTEL.COM
MNM29M           10/14/2020 OB         12/5/2020 WN;3638;MSY;PHX;WN;4358;PHX;DAL   PORT DOMINIC          TX                   US            31757 127189205@KACHIPYTEL.COM
SCSBMV           10/16/2020 OB        10/28/2020 WN;2265;DAL;BWI;WN;950;BWI;BOS    NATHANBOROUGH         OH                   US            76033 127366756@KACHIPYTEL.COM
SEYHFJ           10/16/2020 OB         11/1/2020 WN;64;PVD;MCO;WN;15;MCO;BUF       MOREAUSURMER          HAUTESPYRENEES       FR            22543 127369418@KACHIPYTEL.COM
KCCS2A           10/18/2020 OB        10/20/2020 WN;40;OAK;HOU;WN;2450;HOU;FLL     NORRISFURT            MI                   US            97657 127507820@KACHIPYTEL.COM
KI3EMI           10/18/2020 OB         12/4/2020 WN;2474;ECP;DAL;WN;2956;DAL;ATL   BYOWREGHAVAN          ARMAVIR              AM             2270 127513848@KACHIPYTEL.COM
Q58XMJ           10/20/2020 OB        10/24/2020 WN;2143;LGA;DEN;WN;130;DEN;MDW    ANGELASIDE            IL                   US            52905 127679068@KACHIPYTEL.COM




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RCGAGC   10/21/2020   OB    11/2/2020 WN;2260;BWI;CLE                   ANNAMOUTH             MS                US   94205 127726566@KACHIPYTEL.COM
T9G7MU   10/21/2020   OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   MELENDEZBOROUGH       MT                US   15412 127785427@KACHIPYTEL.COM
T9G7MU   10/21/2020   OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   MELENDEZBOROUGH       MT                US   15412 127785427@KACHIPYTEL.COM
T9G7MU   10/21/2020   OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   MELENDEZBOROUGH       MT                US   15412 127785427@KACHIPYTEL.COM
T9G7MU   10/21/2020   OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   MELENDEZBOROUGH       MT                US   15412 127785427@KACHIPYTEL.COM
T9G7MU   10/21/2020   OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   MELENDEZBOROUGH       MT                US   15412 127785427@KACHIPYTEL.COM
T9G7MU   10/21/2020   OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   MELENDEZBOROUGH       MT                US   15412 127785427@KACHIPYTEL.COM
WGQWLR   10/22/2020   OB   10/27/2020 WN;6576;TPA;LAS;WN;1379;LAS;MSY   VINCENTSTAD           UT                US   40729 127894536@KACHIPYTEL.COM
L985P7   10/23/2020   OB   10/27/2020 WN;2259;MSY;BWI;WN;140;BWI;BOS    SOUTH JONATHANSIDE    AMMAN AL ASIMAH   JO   58747 127993514@KACHIPYTEL.COM
LCLFV6   10/23/2020   OB   11/13/2020 WN;578;GRR;DEN;WN;6836;DEN;STL    JOANBURY              MI                US   23869 127997430@KACHIPYTEL.COM
LCQLWZ   10/23/2020   OB   11/16/2020 WN;299;DEN;GRR;WN;1045;GRR;MDW    LAKE ADRIANLAND       DE                US   24727 127997430@KACHIPYTEL.COM
LX99LD   10/23/2020   OB    11/2/2020 WN;1900;DAL;BNA;WN;1894;BNA;LGA   LAKE SAMANTHAFURT     VT                US   98434 128027306@KACHIPYTEL.COM
J95Y6A   10/27/2020   OB   10/28/2020 WN;1590;BOS;BWI;WN;1800;BWI;MDW   TAMMYTON              RI                US   70461 128318124@KACHIPYTEL.COM
KJENBZ   10/28/2020   OB     1/6/2021 WN;39;DAL;HOU;WN;1056;HOU;MIA     SOUTH JEREMY          VT                US   37893 128368460@KACHIPYTEL.COM
KYGRPZ   10/28/2020   OB   11/18/2020 WN;2828;DAL;BNA;WN;3031;BNA;MCI   NEW DAVIDHAVEN        OH                US   58932 128376402@KACHIPYTEL.COM
MIQ99Y   10/28/2020   OB   11/11/2020 WN;2271;HOU;BWI                   GDDHIMAAII            NARAYANI          NP   15878 128424021@KACHIPYTEL.COM
MWWXE2   10/28/2020   OB    12/7/2020 WN;2921;DAL;SAN;WN;1385;SAN;OAK   MCDANIELSIDE          LA                US   60175 128442853@KACHIPYTEL.COM
O5WZNI   10/29/2020   OB   10/30/2020 WN;2594;BOI;LAS;WN;1466;LAS;DEN   JENNIFERTON           IL                US   48985 128473928@KACHIPYTEL.COM
RPHSZM   10/30/2020   OB    1/24/2021 WN;3294;MIA;BWI;WN;4776;BWI;AUS   SOUTH VANESSATOWN     MD                US   31976 128583576@KACHIPYTEL.COM
TU9F3Z   10/31/2020   OB   10/31/2020 WN;2135;DAL;LAS                   NORTH ZACHARYBURY     VT                US    1512 128657793@KACHIPYTEL.COM
TUGLZX   10/31/2020   OB   10/31/2020 WN;2135;DAL;LAS                   WEST JOHN             MN                US   13357 128657760@KACHIPYTEL.COM
U3G9RX   10/31/2020   OB   10/31/2020 WN;2014;OMA;DAL;WN;1901;DAL;DEN   PHTHPUR               ASSAM             IN   51218 128660235@KACHIPYTEL.COM
KHDGEX    11/1/2020   OB   11/11/2020 WN;6383;TPA;BNA;WN;4149;BNA;DTW   CARPENTERSIDE         MO                US   33818 128760918@KACHIPYTEL.COM
KOSZ7A    11/1/2020   OB    11/6/2020 WN;8;DAL;BNA;WN;1053;BNA;LGA      WEST PETERMOUTH       NH                US   90952 128768882@KACHIPYTEL.COM
KOSZ7A    11/1/2020   OB    11/6/2020 WN;8;DAL;BNA;WN;1053;BNA;LGA      WEST PETERMOUTH       NH                US   90952 128768882@KACHIPYTEL.COM
KY7LG7    11/1/2020   OB   12/14/2020 WN;2234;LAX;STL;WN;3301;STL;FLL   WEST JOHN             IL                US   45424 128780278@KACHIPYTEL.COM
KY7LG7    11/1/2020   OB   12/14/2020 WN;2234;LAX;STL;WN;3301;STL;FLL   WEST JOHN             IL                US   45424 128780278@KACHIPYTEL.COM
LXMN4V    11/2/2020   OB    11/5/2020 WN;406;LGA;BNA;WN;747;BNA;MCO     TYLERLAND             NH                US   13601 128801684@KACHIPYTEL.COM
NOTAOH    11/2/2020   OB   11/12/2020 WN;373;CLT;BWI;WN;1526;BWI;MCO    SHANEBERG             WI                US   50915 128866386@KACHIPYTEL.COM
NUKC29    11/2/2020   OB    11/3/2020 WN;909;LGA;ATL;WN;127;ATL;MCO     MEDINAMOUTH           TX                US   41805 128875879@KACHIPYTEL.COM
O4AOIH    11/2/2020   OB    11/3/2020 WN;2497;OMA;LAS;WN;2252;LAS;DEN   SINTKRUIS             OOSTVLAANDEREN    BE   27009 128887605@KACHIPYTEL.COM
OC966W    11/2/2020   OB    11/4/2020 WN;4268;OAK;BWI;WN;3984;BWI;FLL   MILLERVILLE           AK                US   28604 128895239@KACHIPYTEL.COM
ORYSWT    11/3/2020   OB   12/12/2020 WN;3511;MCI;MCO                   MARIABURGH            IN                US   78697 128906734@KACHIPYTEL.COM
OYIWBP    11/3/2020   OB   11/10/2020 WN;2083;AUS;BWI;WN;3995;BWI;PBI   EAST ALEXANDRA        MD                US   59987 128910892@KACHIPYTEL.COM
SZ89W9    11/4/2020   OB   11/10/2020 WN;4268;OAK;BWI;WN;3984;BWI;FLL   NORTH RACHELBURGH     OR                US   64713 129037821@KACHIPYTEL.COM
TB6NSM    11/4/2020   OB   11/16/2020 WN;166;ATL;TPA;WN;1061;TPA;MIA    SANCHEZMOUTH          RI                US   72338 129048964@KACHIPYTEL.COM
TB6NSM    11/4/2020   OB   11/16/2020 WN;166;ATL;TPA;WN;1061;TPA;MIA    SANCHEZMOUTH          RI                US   72338 129048964@KACHIPYTEL.COM
TZYAZ2    11/4/2020   OB   12/16/2020 WN;2083;AUS;BWI;WN;331;BWI;MIA    SOUTH PATRICK         MS                US   96261 129079775@KACHIPYTEL.COM
U2A8TP    11/4/2020   OB   11/17/2020 WN;4681;PIT;BWI;WN;2221;BWI;MIA   VICKIBERG             MI                US   69852 129080644@KACHIPYTEL.COM
U3234I    11/4/2020   OB    11/7/2020 WN;1715;AUS;BWI                   PARKERBERG            AK                US   28686 129079775.1494743@KACHIPYTEL.COM
UG5FMP    11/4/2020   OB   11/14/2020 WN;3193;LGA;ATL                   PORT TERRIBOROUGH     MS                US   17342 129094878@KACHIPYTEL.COM
UG5FMP    11/4/2020   OB   11/14/2020 WN;3193;LGA;ATL                   PORT TERRIBOROUGH     MS                US   17342 129094878@KACHIPYTEL.COM
UG5FMP    11/4/2020   OB   11/14/2020 WN;3193;LGA;ATL                   PORT TERRIBOROUGH     MS                US   17342 129094878@KACHIPYTEL.COM
UI97EQ    11/4/2020   OB    11/9/2020 WN;1326;LAX;HOU;WN;358;HOU;FLL    NORTH JEANVIEW        SD                US   57972 129096495@KACHIPYTEL.COM
UIB76V    11/4/2020   OB     1/4/2021 WN;694;SJC;DEN;WN;614;DEN;LGB     LAKE SARAHFORT        CA                US   42039 129096374@KACHIPYTEL.COM
J5UYZS    11/5/2020   OB   11/15/2020 WN;1058;MIA;BWI;WN;6529;BWI;MCO   NORTH ELIZABETH       AL                US   29093 129179556@KACHIPYTEL.COM
JCAFYC    11/5/2020   OB   11/11/2020 WN;3587;DTW;BNA;WN;2931;BNA;MDW   WEST KEVIN            NJ                US   29499 129187542@KACHIPYTEL.COM
JCW9GF    11/5/2020   OB    11/9/2020 WN;1334;RIC;ATL                   EAST ZACHARY          TN                US   11898 129188180@KACHIPYTEL.COM
JGGD95    11/5/2020   OB    11/9/2020 WN;1225;PHL;ATL;WN;379;ATL;RSW    BRANDYFURT            AK                US   32573 129190809@KACHIPYTEL.COM
UQ3K54    11/5/2020   OB   11/16/2020 WN;332;MIA;BWI                    PORT ERIKASHIRE       AL                US    6521 129101005@KACHIPYTEL.COM
UYFKCR    11/5/2020   OB    11/8/2020 WN;206;BNA;MCO;WN;1320;MCO;FLL    BROWNVILLE            ME                US    6608 129105779@KACHIPYTEL.COM
UYFKCR    11/5/2020   OB    11/8/2020 WN;206;BNA;MCO;WN;1320;MCO;FLL    BROWNVILLE            ME                US    6608 129105779@KACHIPYTEL.COM
WBFRZ7    11/5/2020   OB   12/30/2020 WN;244;BWI;ATL;WN;831;ATL;CMH     WELLSHAVEN            NY                US   84350 129143883@KACHIPYTEL.COM
WBKN5Z    11/5/2020   OB     1/2/2021 WN;1788;ATL;BWI;WN;6716;BWI;SDF   JONESPORT             UT                US   21004 129143883@KACHIPYTEL.COM
WQB5IZ    11/5/2020   OB   11/13/2020 WN;835;LAX;STL;WN;963;STL;FLL     MICHAELSIDE           NE                US   76739 129162451@KACHIPYTEL.COM
WURJPC    11/5/2020   OB   11/11/2020 WN;3185;FLL;BNA;WN;8890;BNA;LAS   ROBINLAND             GA                US   73609 129168743@KACHIPYTEL.COM
JQIFSN    11/6/2020   OB   11/15/2020 WN;214;MCO;BWI                    NORTH JOSHUA          SC                US   83924 129197464@KACHIPYTEL.COM
JWZWW5    11/6/2020   OB    11/6/2020 WN;6852;LAX;HOU;WN;553;HOU;ELP    SOUTH ROBINFORT       OH                US   47190 129199983@KACHIPYTEL.COM
JXSFQP    11/6/2020   OB    12/4/2020 WN;2654;SAT;BWI                   NEW ERINMOUTH         FL                US   88168 129200742@KACHIPYTEL.COM
JXSFQP    11/6/2020   OB    12/4/2020 WN;2654;SAT;BWI                   NEW ERINMOUTH         FL                US   88168 129200742@KACHIPYTEL.COM
K5TXWQ    11/6/2020   OB    11/6/2020 WN;821;BOS;BWI;WN;843;BWI;MDW     SANCHEZBERG           HI                US   79728 129203217@KACHIPYTEL.COM
KDOV4A    11/6/2020   OB    12/7/2020 WN;2740;AUS;PHX;WN;2994;PHX;OKC   MICHAELPORT           NV                US   87381 129206726@KACHIPYTEL.COM
LD7LF3    11/6/2020   OB   11/15/2020 WN;660;MIA;BWI;WN;6529;BWI;MCO    ARROYOPORT            MS                US   68481 129237999@KACHIPYTEL.COM
LD7LF3    11/6/2020   OB   11/15/2020 WN;660;MIA;BWI;WN;6529;BWI;MCO    ARROYOPORT            MS                US   68481 129237999@KACHIPYTEL.COM
LPD8VK    11/6/2020   OB   11/30/2020 WN;6509;SAT;MDW;WN;3732;MDW;MSP   SOUTH JEFFREY         KS                US   18381 129253289@KACHIPYTEL.COM
LPDC4H    11/6/2020   OB   11/30/2020 WN;6509;SAT;MDW;WN;3732;MDW;MSP   NORTH CYNTHIA         SC                US   14865 129253289@KACHIPYTEL.COM
LRD8K6    11/6/2020   OB    11/9/2020 WN;949;BUF;TPA;WN;2277;TPA;MDW    HOLLYHAVEN            MI                US   98829 129255577@KACHIPYTEL.COM
LXNLSG    11/6/2020   OB   11/13/2020 WN;126;LGA;MDW;WN;6649;MDW;MCO    NEW PAULBOROUGH       MT                US   43565 129262991@KACHIPYTEL.COM
LXNLSG    11/6/2020   OB   11/13/2020 WN;126;LGA;MDW;WN;6649;MDW;MCO    NEW PAULBOROUGH       MT                US   43565 129262991@KACHIPYTEL.COM
LY5KTT    11/6/2020   OB   11/18/2020 WN;4022;MDW;BWI;WN;1923;BWI;BOS   WEST DOROTHYBURGH     MI                US   10461 129263255@KACHIPYTEL.COM
LY5KTT    11/6/2020   OB   11/18/2020 WN;4022;MDW;BWI;WN;1923;BWI;BOS   WEST DOROTHYBURGH     MI                US   10461 129263255@KACHIPYTEL.COM
LYFSLS    11/6/2020   OB   11/10/2020 WN;1623;TPA;BNA;WN;4766;BNA;PHL   LAKE JAMES            DE                US   73593 129264179@KACHIPYTEL.COM
M6C8PH    11/6/2020   OB   11/21/2020 WN;2026;ATL;TPA;WN;1061;TPA;MIA   EAST JULIAMOUTH       NH                US   44649 129268579@KACHIPYTEL.COM
M6WTHL    11/6/2020   OB   12/20/2020 WN;373;CLT;BWI;WN;1199;BWI;FLL    GINASTAD              KY                US   10551 129271934@KACHIPYTEL.COM
MC255E    11/6/2020   OB   11/17/2020 WN;2995;DAL;BWI;WN;3933;BWI;DTW   SOUTH JOSEPHSIDE      IA                US   63556 129276125@KACHIPYTEL.COM
MDE6T2    11/6/2020   OB   11/17/2020 WN;3294;MIA;BWI                   GILLBURY              GA                US   91823 129277456@KACHIPYTEL.COM
MJYBDH    11/6/2020   OB   11/27/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     HARRISFORT            FL                US    7253 129281328@KACHIPYTEL.COM
MS8HQY    11/7/2020   OB    11/7/2020 WN;3664;LAS;STL;WN;5118;STL;FLL   MILLERBURGH           KS                US   28691 129286190@KACHIPYTEL.COM
N34SAI    11/7/2020   OB    12/1/2020 WN;660;MIA;BWI;WN;1136;BWI;MCO    SOUTH MARYCHESTER     NV                US   76210 129289479@KACHIPYTEL.COM
NCQTRD    11/7/2020   OB    12/6/2020 WN;3343;LGA;ATL;WN;3948;ATL;FLL   NORTH KRYSTAL         KS                US   75420 129293582@KACHIPYTEL.COM
NE6BAX    11/7/2020   OB    12/9/2020 WN;1950;MCO;HOU;WN;2723;HOU;MIA   JACKSONBERG           AR                US   81384 129294011@KACHIPYTEL.COM
OA6ELI    11/7/2020   OB   11/13/2020 WN;169;BOS;BWI;WN;843;BWI;MDW     NORTH ROBERTCHESTER   MI                US   93330 129313074@KACHIPYTEL.COM
OGIEQS    11/7/2020   OB   11/27/2020 WN;156;LGA;ATL;WN;6866;ATL;RSW    CHAPMANBURGH          CA                US   67346 129319960@KACHIPYTEL.COM
OSMSU2    11/7/2020   OB    1/19/2021 WN;1990;ATL;BWI;WN;331;BWI;MIA    HOLMESVILLE           FL                US     862 129331444@KACHIPYTEL.COM
OSSFU7    11/7/2020   MD    1/24/2021 WN;791;IAD;ATL                    TIMOTHYPORT           KS                US   75144 129331444@KACHIPYTEL.COM
OSSFU7    11/7/2020   OB    1/24/2021 WN;2411;ATL;SDF                   TIMOTHYPORT           KS                US   75144 129331444@KACHIPYTEL.COM
OWJ29Q    11/7/2020   OB    11/9/2020 WN;1480;BUR;DAL;WN;2392;DAL;FLL   MARYTOWN              CT                US   74632 129334953@KACHIPYTEL.COM
OXE4PW    11/7/2020   OB    12/4/2020 WN;3886;LAS;SAT;WN;3486;SAT;HOU   BROWNFORT             AL                US   79008 129335822@KACHIPYTEL.COM
OXE4PW    11/7/2020   OB    12/4/2020 WN;3886;LAS;SAT;WN;3486;SAT;HOU   BROWNFORT             AL                US   79008 129335822@KACHIPYTEL.COM
OY4XTK    11/7/2020   OB   11/13/2020 WN;293;AUS;TPA;WN;671;TPA;FLL     ELLISFURT             MN                US   95957 129336735@KACHIPYTEL.COM
OYBEEB    11/7/2020   OB   11/16/2020 WN;1555;TPA;AUS;WN;6023;AUS;MSY   PORT EDWARDSTAD       IA                US   58456 129336735@KACHIPYTEL.COM
OYENAY    11/7/2020   OB   12/21/2020 WN;892;PHL;BNA;WN;302;BNA;MCO     EAST JUSTIN           IL                US   68378 129336867@KACHIPYTEL.COM
P3IN6A    11/7/2020   OB    12/7/2020 WN;4367;BOI;OAK;WN;1148;OAK;LAX   ALAANG                TRIPURA           IN   45155 129340849@KACHIPYTEL.COM
P8YNYE    11/7/2020   OB   11/15/2020 WN;214;MCO;BWI;WN;331;BWI;MIA     EAST TERESAMOUTH      TX                US    6259 129344776@KACHIPYTEL.COM
PCI975    11/7/2020   OB   11/15/2020 WN;277;BOS;BWI;WN;331;BWI;MIA     AKOLAA                JHARKHAND         IN   58830 129347933@KACHIPYTEL.COM
PF5KWY    11/7/2020   OB    12/4/2020 WN;2003;ATL;BWI;WN;4505;BWI;FLL   EAST PATTYLAND        ME                US    1463 129349792@KACHIPYTEL.COM
PF5KWY    11/7/2020   OB    12/4/2020 WN;2003;ATL;BWI;WN;4505;BWI;FLL   EAST PATTYLAND        ME                US    1463 129349792@KACHIPYTEL.COM
PGIN3R    11/7/2020   OB     1/1/2021 WN;3348;LGA;ATL                   DEHRAA                MIZORAM           IN   82237 129350771@KACHIPYTEL.COM
PGIN3R    11/7/2020   OB     1/1/2021 WN;3348;LGA;ATL                   DEHRAA                MIZORAM           IN   82237 129350771@KACHIPYTEL.COM
PHC8JY    11/7/2020   OB   12/14/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    WEST EMILY            PA                US   28955 129351662@KACHIPYTEL.COM
PIONTR    11/7/2020   OB   12/28/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    ROBERTSHIRE           FL                US   17460 129352146@KACHIPYTEL.COM
PIONTR    11/7/2020   OB   12/28/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    ROBERTSHIRE           FL                US   17460 129352146@KACHIPYTEL.COM
PIONTR    11/7/2020   OB   12/28/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    ROBERTSHIRE           FL                US   17460 129352146@KACHIPYTEL.COM
PIONTR    11/7/2020   OB   12/28/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    ROBERTSHIRE           FL                US   17460 129352146@KACHIPYTEL.COM
PIONTR    11/7/2020   OB   12/28/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    ROBERTSHIRE           FL                US   17460 129352146@KACHIPYTEL.COM
PLNT3A    11/7/2020   OB    12/7/2020 WN;3254;MDW;AUS;WN;2931;AUS;BNA   MALDONADOBURGH        KY                US   60591 129354137@KACHIPYTEL.COM
PLS98D    11/7/2020   OB    11/9/2020 WN;715;ATL;OMA                    NORTH TAMARA          FL                US   79545 129354522@KACHIPYTEL.COM
PO6ANH    11/8/2020   OB    1/18/2021 WN;1990;ATL;BWI                   ANDREWBOROUGH         TN                US   19743 129355501@KACHIPYTEL.COM
PP55ST    11/8/2020   OB    1/21/2021 WN;4572;BWI;ATL                   LAKE DOUGLASVILLE     ND                US   36886 129355820@KACHIPYTEL.COM




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PPPFWG    11/8/2020 OB    1/19/2021 WN;1990;ATL;BWI                   WEBERTON             DE                     US   13139 129355820@KACHIPYTEL.COM
PVD67U    11/8/2020 OB    12/6/2020 WN;2606;DAL;TPA;WN;4147;TPA;MIA   SOUTH DEBRA          NH                     US   29902 129357679@KACHIPYTEL.COM
PVZ8WZ    11/8/2020 OB    12/5/2020 WN;2844;TPA;DAL;WN;2366;DAL;CLT   NEW STEVEN           MS                     US   95090 129357679@KACHIPYTEL.COM
PWADM3    11/8/2020 OB   11/26/2020 WN;4743;AUS;BWI                   AUSTINTON            CA                     US   85113 129357976@KACHIPYTEL.COM
QMP643    11/8/2020 OB    11/8/2020 WN;745;MDW;TPA;WN;6093;TPA;PIT    NEW LORI             VT                     US   60737 129367095@KACHIPYTEL.COM
R5EQY8    11/8/2020 OB   12/21/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     PORT LISABURY        NJ                     US   23548 129378788@KACHIPYTEL.COM
RNGTTP    11/8/2020 OB    11/8/2020 WN;1008;ATL;BWI                   SIMSBOROUGH          NV                     US   37592 129394342@KACHIPYTEL.COM
RNGTTP    11/8/2020 OB    11/8/2020 WN;1008;ATL;BWI                   SIMSBOROUGH          NV                     US   37592 129394342@KACHIPYTEL.COM
RW6SN4    11/8/2020 OB    1/19/2021 WN;2107;TPA;BWI;WN;1923;BWI;BOS   EAST ERICA           OR                     US   26785 129402636@KACHIPYTEL.COM
RW6SN4    11/8/2020 OB    1/19/2021 WN;2107;TPA;BWI;WN;1923;BWI;BOS   EAST ERICA           OR                     US   26785 129402636@KACHIPYTEL.COM
RWNZQE    11/8/2020 OB    1/19/2021 WN;2107;TPA;BWI;WN;1923;BWI;BOS   EAST BRITTANYSHIRE   OK                     US   29009 129402757@KACHIPYTEL.COM
RWNZQE    11/8/2020 OB    1/19/2021 WN;2107;TPA;BWI;WN;1923;BWI;BOS   EAST BRITTANYSHIRE   OK                     US   29009 129402757@KACHIPYTEL.COM
S2DEII    11/8/2020 OB   11/15/2020 WN;952;MCO;BWI;WN;331;BWI;MIA     NEW EMILY            AL                     US   49000 129406387@KACHIPYTEL.COM
SJ4O2C    11/8/2020 OB   11/12/2020 WN;100;OMA;LAS;WN;775;LAS;DEN     HEATHERMOUTH         AZ                     US   57505 129420709@KACHIPYTEL.COM
SMX7BN    11/9/2020 OB    11/9/2020 WN;252;STL;SMF;WN;6022;SMF;BOI    SOUTH JESSICA        RI                     US   69959 129422502@KACHIPYTEL.COM
SUFM2B    11/9/2020 OB   11/19/2020 WN;1349;BOS;BWI;WN;1580;BWI;MDW   BASSFORT             PA                     US   67552 129425175@KACHIPYTEL.COM
SUIZLQ    11/9/2020 OB    12/2/2020 WN;1654;TPA;STL;WN;3422;STL;LGA   WEST WAYNEFORT       ID                     US   38036 129425560@KACHIPYTEL.COM
SV34DO    11/9/2020 OB    12/6/2020 WN;2622;STL;TPA;WN;4147;TPA;MIA   LAKE LANCEPORT       AZ                     US    5678 129425802@KACHIPYTEL.COM
SZZH3J    11/9/2020 OB    1/19/2021 WN;1990;ATL;BWI                   BAKERTON             MD                     US   46981 129428123@KACHIPYTEL.COM
T25FIC    11/9/2020 OB    1/21/2021 WN;953;BWI;ATL                    CARLOSTON            AL                     US   56315 129428123@KACHIPYTEL.COM
T63GGN    11/9/2020 OB   12/23/2020 WN;2019;PIT;PHX;WN;6842;PHX;AUS   EAST JOHN            WA                     US   20576 129429927@KACHIPYTEL.COM
TE93XE    11/9/2020 OB    12/3/2020 WN;1914;LGA;MDW;WN;2925;MDW;DAL   NEW ANDREW           AZ                     US   27185 129432413@KACHIPYTEL.COM
TE93XE    11/9/2020 OB    12/3/2020 WN;1914;LGA;MDW;WN;2925;MDW;DAL   NEW ANDREW           AZ                     US   27185 129432413@KACHIPYTEL.COM
U2KUNR    11/9/2020 OB   11/16/2020 WN;952;MCO;BWI;WN;331;BWI;MIA     NEW MEGANVIEW        MN                     US   51875 129449815@KACHIPYTEL.COM
U2KUNR    11/9/2020 OB   11/16/2020 WN;952;MCO;BWI;WN;331;BWI;MIA     NEW MEGANVIEW        MN                     US   51875 129449815@KACHIPYTEL.COM
UFPXRO    11/9/2020 OB    11/9/2020 WN;1155;IAD;ATL;WN;3360;ATL;LGA   KARLSKRONA           GOTLANDS LAN           SE   89682 129464522@KACHIPYTEL.COM
USPCH8    11/9/2020 OB   11/13/2020 WN;293;AUS;TPA;WN;671;TPA;FLL     JOHNSTONTOWN         MT                     US   14745 129481616@KACHIPYTEL.COM
UUOY6D    11/9/2020 OB   12/28/2020 WN;101;PHX;LAX;WN;1037;LAX;SFO    JOANNASHIRE          UT                     US    4461 129485114@KACHIPYTEL.COM
V2C2E2    11/9/2020 OB    12/3/2020 WN;2622;STL;TPA;WN;4147;TPA;MIA   WEST KAYLAVIEW       MO                     US   62077 129494200@KACHIPYTEL.COM
VAR8SQ    11/9/2020 OB   12/21/2020 WN;1555;TPA;AUS                   EAST BENJAMINPORT    FL                     US   58741 129504529@KACHIPYTEL.COM
VEQE4T    11/9/2020 OB   12/25/2020 WN;2166;STL;DAL;WN;2956;DAL;ATL   EAST JANICE          WY                     US   73689 129509171@KACHIPYTEL.COM
VFJ6J4    11/9/2020 OB   12/27/2020 WN;1554;DAL;STL                   MELANIEFORT          NH                     US   86229 129509171@KACHIPYTEL.COM
VGHHYS    11/9/2020 OB   11/13/2020 WN;169;BOS;BWI;WN;843;BWI;MDW     HALLFURT             UT                     US   61261 129510304@KACHIPYTEL.COM
VJCV5H    11/9/2020 OB   11/18/2020 WN;1148;HNL;OAK;WN;4913;OAK;PDX   BOBBYBURGH           WA                     US   47442 129512746@KACHIPYTEL.COM
JBH6LJ   11/10/2020 OB    12/3/2020 WN;3370;HOU;PHX                   GARYBURY             WY                     US   72439 129558066@KACHIPYTEL.COM
JBH6LJ   11/10/2020 OB    12/3/2020 WN;3370;HOU;PHX                   GARYBURY             WY                     US   72439 129558066@KACHIPYTEL.COM
JO8MYI   11/10/2020 OB   11/16/2020 WN;631;ATL;BWI;WN;142;BWI;MIA     EAST PATRICKLAND     IN                     US   52870 129574852@KACHIPYTEL.COM
K9DFFG   11/10/2020 OB   11/15/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA    EAST BRIAN           WV                     US    1363 129598458@KACHIPYTEL.COM
KAG6MA   11/10/2020 OB    12/8/2020 WN;5013;BNA;BWI                   TIMOTHYBERG          WA                     US   43573 129599998@KACHIPYTEL.COM
KEG2K5   11/10/2020 OB   12/10/2020 WN;4762;CLT;DAL;WN;2199;DAL;FLL   PORT KARA            SC                     US   60052 129604618@KACHIPYTEL.COM
KEG2K5   11/10/2020 OB   12/10/2020 WN;4762;CLT;DAL;WN;2199;DAL;FLL   PORT KARA            SC                     US   60052 129604618@KACHIPYTEL.COM
KF26A6   11/10/2020 OB   11/13/2020 WN;1334;RIC;ATL;WN;467;ATL;FLL    OLIVERBURGH          CA                     US   45745 129605916@KACHIPYTEL.COM
VROM23   11/10/2020 OB   12/14/2020 WN;2673;BDL;BWI                   BAAGLUNG             LUMBINI                NP   62778 129518169@KACHIPYTEL.COM
VX9Z9T   11/10/2020 OB   12/24/2020 WN;4141;MIA;TPA;WN;3448;TPA;MSY   EAST DANIEL          RI                     US   39253 129520666@KACHIPYTEL.COM
W3N6Y8   11/10/2020 OB   11/10/2020 WN;4268;OAK;BWI;WN;3984;BWI;FLL   COXHAVEN             OH                     US   85516 129523614@KACHIPYTEL.COM
W3N6Y8   11/10/2020 OB   11/10/2020 WN;4268;OAK;BWI;WN;3984;BWI;FLL   COXHAVEN             OH                     US   85516 129523614@KACHIPYTEL.COM
WFFIV3   11/10/2020 OB   12/17/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     NICHOLASBURGH        ND                     US   82824 129530115@KACHIPYTEL.COM
WFFIV3   11/10/2020 OB   12/17/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     NICHOLASBURGH        ND                     US   82824 129530115@KACHIPYTEL.COM
WFFIV3   11/10/2020 OB   12/17/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     NICHOLASBURGH        ND                     US   82824 129530115@KACHIPYTEL.COM
WKBZL4   11/10/2020 OB   11/12/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     VYSNY ZIPOV          BANSKOBYSTRICKY KRAJ   SK   18432 129532887@KACHIPYTEL.COM
KPESQ2   11/11/2020 OB    12/1/2020 WN;1203;LAS;BWI;WN;392;BWI;BDL    LAKE ABIGAILTOWN     OK                     US   31615 129613462@KACHIPYTEL.COM
KPESQ2   11/11/2020 OB    12/1/2020 WN;1203;LAS;BWI;WN;392;BWI;BDL    LAKE ABIGAILTOWN     OK                     US   31615 129613462@KACHIPYTEL.COM
KPESQ2   11/11/2020 OB    12/1/2020 WN;1203;LAS;BWI;WN;392;BWI;BDL    LAKE ABIGAILTOWN     OK                     US   31615 129613462@KACHIPYTEL.COM
KPESQ2   11/11/2020 OB    12/1/2020 WN;1203;LAS;BWI;WN;392;BWI;BDL    LAKE ABIGAILTOWN     OK                     US   31615 129613462@KACHIPYTEL.COM
KTLCC8   11/11/2020 OB   11/16/2020 WN;194;BWI;DAL                    PORT AMBERSIDE       WV                     US   75003 129616399@KACHIPYTEL.COM
KUIKL5   11/11/2020 OB   11/13/2020 WN;774;TPA;BWI;WN;849;BWI;CLT     KIRSTENSHIRE         PA                     US   10259 129616685@KACHIPYTEL.COM
KVFUEI   11/11/2020 OB     1/3/2021 WN;4456;MCO;CMH;WN;6883;CMH;BNA   JNWB STYSH           QOM                    IR   92418 129617642@KACHIPYTEL.COM
KWCTPO   11/11/2020 OB   11/13/2020 WN;156;LGA;ATL;WN;467;ATL;FLL     LAKE JUSTINSHIRE     NORTHERN               GH   79609 129618148@KACHIPYTEL.COM
KWCTPO   11/11/2020 OB   11/13/2020 WN;156;LGA;ATL;WN;467;ATL;FLL     LAKE JUSTINSHIRE     NORTHERN               GH   79609 129618148@KACHIPYTEL.COM
L2CNVE   11/11/2020 OB   11/12/2020 WN;1349;BOS;BWI;WN;1580;BWI;MDW   TERRIVIEW            TX                     US   34149 129620579@KACHIPYTEL.COM
L4TK4I   11/11/2020 OB   11/16/2020 WN;375;CLT;MDW                    CALDWELLMOUTH        NV                     US   35682 129621459@KACHIPYTEL.COM
L8QOUE   11/11/2020 OB   11/11/2020 WN;2823;ATL;BWI;WN;3933;BWI;DTW   SODERTALJE           VASTERNORRLANDS LAN    SE   20927 129623890@KACHIPYTEL.COM
L8RFX3   11/11/2020 OB   11/15/2020 WN;494;ATL;MSY;WN;1326;MSY;MDW    EDWARDBERG           VT                     US   32522 129623725@KACHIPYTEL.COM
LAYSBP   11/11/2020 OB   11/14/2020 WN;2236;CLE;LAS;WN;4495;LAS;OKC   WESTBOROUGH          CT                     US    5865 129624539@KACHIPYTEL.COM
LC2LF8   11/11/2020 OB   11/18/2020 WN;2761;JAX;BWI                   PORT EMILYSHIRE      VA                     US   55642 129625540@KACHIPYTEL.COM
LD3L7T   11/11/2020 OB   11/12/2020 WN;6494;MKE;PHX;WN;1098;PHX;OKC   WALLSLAND            ME                     US   35077 129625947@KACHIPYTEL.COM
MHPRKM   11/11/2020 OB   11/17/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   PORT WENDY           UPPER WEST             GH   55718 129663490@KACHIPYTEL.COM
MK4CU9   11/11/2020 OB   11/27/2020 WN;135;LGA;ATL;WN;6557;ATL;TPA    LESLIEBURGH          CA                     US   88407 129667450@KACHIPYTEL.COM
MLARZG   11/11/2020 OB   11/15/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA    BECKERSIDE           TN                     US   70410 129668451@KACHIPYTEL.COM
N2JEDG   11/11/2020 OB   11/12/2020 WN;169;BOS;BWI;WN;352;BWI;MDW     PORT LUIS            ND                     US   27849 129687899@KACHIPYTEL.COM
N8L39F   11/11/2020 OB   11/16/2020 WN;1583;ATL;HOU                   KIMBERLYLAND         PA                     US   20460 129695632@KACHIPYTEL.COM
N9FXHV   11/11/2020 OB   11/17/2020 WN;1878;ABQ;MDW;WN;474;MDW;LGA    EAST BRANDON         VT                     US   92287 129696688@KACHIPYTEL.COM
NC5DTD   11/11/2020 OB   11/13/2020 WN;235;LAX;DAL;WN;472;DAL;DEN     ERICAMOUTH           TX                     US   12256 129699009@KACHIPYTEL.COM
NE5Y6T   11/11/2020 OB   11/17/2020 WN;3294;MIA;BWI;WN;1657;BWI;CLE   ALLENVILLE           WV                     US   56369 129701374@KACHIPYTEL.COM
NE5Y6T   11/11/2020 OB   11/17/2020 WN;3294;MIA;BWI;WN;1657;BWI;CLE   ALLENVILLE           WV                     US   56369 129701374@KACHIPYTEL.COM
NNVD9B   11/11/2020 OB   11/12/2020 WN;745;ATL;DAL;WN;6825;DAL;ECP    SAMANTHACHESTER      AL                     US   76498 129707237@KACHIPYTEL.COM
NPSZM8   11/12/2020 OB   11/30/2020 WN;4283;MSP;BWI                   JEANETTETOWN         MO                     US    3459 129708975@KACHIPYTEL.COM
NZU6WD   11/12/2020 OB   12/10/2020 WN;3348;LGA;ATL                   ROGERSBURGH          MA                     US   32817 129711439@KACHIPYTEL.COM
NZU6WD   11/12/2020 OB   12/10/2020 WN;3348;LGA;ATL                   ROGERSBURGH          MA                     US   32817 129711439@KACHIPYTEL.COM
O5R2AS   11/12/2020 OB   11/16/2020 WN;1051;MIA;BWI;WN;2285;BWI;CLE   NEW PAULLAND         AK                     US   20550 129179556.1499330@KACHIPYTEL.COM
OCEPA9   11/12/2020 OB   11/16/2020 WN;1051;MIA;BWI;WN;2285;BWI;CLE   DEBBIEBURGH          FL                     US   18156 129719348@KACHIPYTEL.COM
ODSRGW   11/12/2020 OB   11/22/2020 WN;660;MIA;BWI;WN;298;BWI;MCO     NICHOLASSIDE         NJ                     US   15283 129720184@KACHIPYTEL.COM
PBELLQ   11/12/2020 OB   11/15/2020 WN;6516;MDW;BNA;WN;169;BNA;BOS    THOMASPORT           AK                     US   91928 129749653@KACHIPYTEL.COM
PBELLQ   11/12/2020 OB   11/15/2020 WN;6516;MDW;BNA;WN;169;BNA;BOS    THOMASPORT           AK                     US   91928 129749653@KACHIPYTEL.COM
PBX3DW   11/12/2020 OB   11/16/2020 WN;621;BNA;MDW;WN;1011;MDW;MIA    EAST MICHELLEBERG    SD                     US   78082 129749653@KACHIPYTEL.COM
PBX3DW   11/12/2020 OB   11/16/2020 WN;621;BNA;MDW;WN;1011;MDW;MIA    EAST MICHELLEBERG    SD                     US   78082 129749653@KACHIPYTEL.COM
PCYWD4   11/12/2020 OB   11/26/2020 WN;4982;HOU;LAS                   WEST STACYTOWN       SD                     US   30986 129751457@KACHIPYTEL.COM
PDCGFD   11/12/2020 OB   11/26/2020 WN;4982;HOU;LAS                   PORT AMY             CT                     US    9678 129751457@KACHIPYTEL.COM
PDCGFD   11/12/2020 OB   11/26/2020 WN;4982;HOU;LAS                   PORT AMY             CT                     US    9678 129751457@KACHIPYTEL.COM
PH63OU   11/12/2020 OB    12/1/2020 WN;366;DEN;BWI;WN;102;BWI;MIA     WEST SUWIJUK         CHIANG RAI             TH    6226 129756242@KACHIPYTEL.COM
PH63OU   11/12/2020 OB    12/1/2020 WN;366;DEN;BWI;WN;102;BWI;MIA     WEST SUWIJUK         CHIANG RAI             TH    6226 129756242@KACHIPYTEL.COM
PLLCA4   11/12/2020 OB   11/16/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA    WILSONSHIRE          GA                     US   57216 129761742@KACHIPYTEL.COM
PTCJFD   11/12/2020 OB   11/13/2020 WN;1042;LAS;MDW;WN;6637;MDW;FLL   PORT WENDY           IA                     US   27753 129770718@KACHIPYTEL.COM
PWU3RH   11/12/2020 OB   11/25/2020 WN;1692;FLL;STL;WN;3387;STL;MDW   POWELLFURT           HI                     US   91725 129774579@KACHIPYTEL.COM
PYXR4P   11/12/2020 OB    12/4/2020 WN;2917;PHX;AUS                   MICHAELSTAD          AK                     US    3378 129777527@KACHIPYTEL.COM
PZFAKX   11/12/2020 OB    12/6/2020 WN;2135;AUS;PHX;WN;3026;PHX;OKC   MELISSABERG          MO                     US   11908 129777527@KACHIPYTEL.COM
Q8NLPP   11/12/2020 OB   11/20/2020 WN;124;MDW;BWI                    BORJATOWN            MANITOBA               CA   79691 129786415@KACHIPYTEL.COM
QD86LB   11/12/2020 OB   11/22/2020 WN;1203;LAS;BWI;WN;6819;BWI;BDL   STRAZ NAD NEZARKOU   USTI NAD LABEM         CZ    9899 129790771@KACHIPYTEL.COM
QGLHQX   11/12/2020 OB   11/19/2020 WN;1213;PHX;MDW;WN;1026;MDW;MSP   GALLEGOSFURT         VA                     US    7227 129794489@KACHIPYTEL.COM
QM39PO   11/12/2020 OB   11/24/2020 WN;4283;MSP;BWI;WN;1410;BWI;MDW   BROWNMOUTH           SD                     US    5725 129798845@KACHIPYTEL.COM
QOSLE7   11/12/2020 OB   11/19/2020 WN;1427;DTW;PHX;WN;1295;PHX;DEN   NORTH RAYMOND        GA                     US     880 129800638@KACHIPYTEL.COM
QRGSNB   11/13/2020 OB   11/17/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   STN HSYN             GOLESTAN               IR   62060 129801760@KACHIPYTEL.COM
QSWE3T   11/13/2020 OB   11/15/2020 WN;332;MIA;BWI                    SOUTH JAMESBURGH     RI                     US   22782 129802332@KACHIPYTEL.COM
QSWE3T   11/13/2020 OB   11/16/2020 WN;2285;BWI;CLE                   SOUTH JAMESBURGH     RI                     US   22782 129802332@KACHIPYTEL.COM
QT2I5C   11/13/2020 OB   11/15/2020 WN;332;MIA;BWI                    SOUTH ERIC           OK                     US   14867 129802332@KACHIPYTEL.COM
QT2I5C   11/13/2020 OB   11/16/2020 WN;2285;BWI;CLE                   SOUTH ERIC           OK                     US   14867 129802332@KACHIPYTEL.COM
QW3PRC   11/13/2020 OB    12/6/2020 WN;4973;BNA;DCA;WN;4974;DCA;MDW   JOSEPHSHIRE          MI                     US   62744 129803718@KACHIPYTEL.COM
QW3PRC   11/13/2020 OB    12/6/2020 WN;4973;BNA;DCA;WN;4974;DCA;MDW   JOSEPHSHIRE          MI                     US   62744 129803718@KACHIPYTEL.COM
QZ8XNE   11/13/2020 OB   11/18/2020 WN;3041;BNA;BWI;WN;3111;BWI;BOS   LAKE RWBYNHAVEN      DEIR EL BALAH          PS   94493 129805830@KACHIPYTEL.COM




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 R2LAGK   11/13/2020 OB     1/3/2021 WN;1970;ATL;AUS;WN;1785;AUS;HOU   LAKE BRUCE             HI              US   37273 129806655@KACHIPYTEL.COM
 R3ECWI   11/13/2020 OB   11/16/2020 WN;1225;PHL;ATL;WN;379;ATL;RSW    PORT DARLENE           WY              US   72120 129806996@KACHIPYTEL.COM
 R4G5GM   11/13/2020 OB   11/16/2020 WN;1583;ATL;HOU;WN;1056;HOU;MIA   MEYERMOUTH             IA              US   79545 129807810@KACHIPYTEL.COM
 RA337N   11/13/2020 OB    12/3/2020 WN;2622;STL;TPA                   LAKE BRIANLAND         NE              US   82271 129810560@KACHIPYTEL.COM
 RLZTVB   11/13/2020 OB   12/18/2020 WN;118;AUS;BWI                    ROBERTFORT             WI              US   55256 129816907@KACHIPYTEL.COM
 RTD9A5   11/13/2020 OB   11/15/2020 WN;136;ATL;AUS;WN;1082;AUS;MSY    EAST JESSICA           AK              US   40118 129822770@KACHIPYTEL.COM
 SDJ5GH   11/13/2020 OB   11/18/2020 WN;2438;BNA;MCO;WN;2563;MCO;IND   SHARONSTAD             NE              US    3921 129842471@KACHIPYTEL.COM
 SE98AQ   11/13/2020 OB   11/16/2020 WN;1087;MCO;BNA;WN;1587;BNA;LGA   NORTH SHARILAND        KS              US   48758 129842471@KACHIPYTEL.COM
 SPLPTX   11/13/2020 OB    12/7/2020 WN;2182;BNA;AUS;WN;2917;AUS;DAL   NEW DEREKVIEW          TOWER HAMLETS   GB   75483 129855935@KACHIPYTEL.COM
 SPLPTX   11/13/2020 OB    12/7/2020 WN;2182;BNA;AUS;WN;2917;AUS;DAL   NEW DEREKVIEW          TOWER HAMLETS   GB   75483 129855935@KACHIPYTEL.COM
 SPQSDF   11/13/2020 OB    12/4/2020 WN;2931;AUS;BNA;WN;4024;BNA;LGA   NORTH ALICE            ISLINGTON       GB    5935 129855715@KACHIPYTEL.COM
 SPQSDF   11/13/2020 OB    12/4/2020 WN;2931;AUS;BNA;WN;4024;BNA;LGA   NORTH ALICE            ISLINGTON       GB    5935 129855715@KACHIPYTEL.COM
 SRSVJG   11/13/2020 OB   11/19/2020 WN;332;MIA;BWI;WN;220;BWI;CLE     PATRICIAVIEW           AZ              US   13355 129858025@KACHIPYTEL.COM
 SU6QMJ   11/13/2020 OB   12/24/2020 WN;4743;AUS;BWI;WN;3111;BWI;BOS   DEVGRH                 PUNJAB          IN   93025 129861171@KACHIPYTEL.COM
 SUOWJI   11/13/2020 OB     1/5/2021 WN;618;OAK;HOU;WN;773;HOU;TUS     WYATTVIEW              NM              US   85213 129861369@KACHIPYTEL.COM
 SUOWJI   11/13/2020 OB     1/5/2021 WN;618;OAK;HOU;WN;773;HOU;TUS     WYATTVIEW              NM              US   85213 129861369@KACHIPYTEL.COM
 SUOWJI   11/13/2020 OB     1/5/2021 WN;618;OAK;HOU;WN;773;HOU;TUS     WYATTVIEW              NM              US   85213 129861369@KACHIPYTEL.COM
 SUQI9T   11/13/2020 OB   12/24/2020 WN;3435;HOU;OAK;WN;4899;OAK;LGB   NORTH KELLY            AK              US   18674 129861369@KACHIPYTEL.COM
 SUQI9T   11/13/2020 OB   12/24/2020 WN;3435;HOU;OAK;WN;4899;OAK;LGB   NORTH KELLY            AK              US   18674 129861369@KACHIPYTEL.COM
 SUQI9T   11/13/2020 OB   12/24/2020 WN;3435;HOU;OAK;WN;4899;OAK;LGB   NORTH KELLY            AK              US   18674 129861369@KACHIPYTEL.COM
 SV4U8H   11/13/2020 OB   11/24/2020 WN;1143;DCA;HOU;WN;4670;HOU;SAT   LAKE BONNIE            MS              US   60905 129861468@KACHIPYTEL.COM
 SWE2WJ   11/13/2020 OB   11/16/2020 WN;384;CMH;LAS;WN;125;LAS;OMA     EAST ROBERTFORT        HI              US   30415 129863492@KACHIPYTEL.COM
 T22XDK   11/13/2020 OB   11/16/2020 WN;1006;TPA;MDW;WN;928;MDW;PHL    LAKE JERRYLAND         NC              US   63734 129867694@KACHIPYTEL.COM
 TA5PP7   11/13/2020 OB   11/20/2020 WN;921;MCO;BWI;WN;102;BWI;MIA     SOUTH NICHOLAS         UT              US   63479 129876549@KACHIPYTEL.COM
 TPBESC   11/13/2020 OB   11/22/2020 WN;738;SJC;LGB                    TRIBENII               LAKSHADWEEP     IN   39347 129889672@KACHIPYTEL.COM
 TPBESC   11/13/2020 OB   11/22/2020 WN;794;LAS;SJC                    TRIBENII               LAKSHADWEEP     IN   39347 129889672@KACHIPYTEL.COM
 TUISG3   11/14/2020 OB   11/17/2020 WN;135;ATL;STL;WN;1941;STL;MDW    PORT TIMOTHY           MA              US   25574 129893401@KACHIPYTEL.COM
 TWUYFD   11/14/2020 OB     4/1/2021 WN;1641;OMA;MDW                   VILA FRANCA DE XIRA    SANTAREM        PT   27408 129894413@KACHIPYTEL.COM
 U3OWPN   11/14/2020 OB   11/17/2020 WN;3191;FLL;BWI;WN;1923;BWI;BOS   MILLERBOROUGH          FL              US   50369 129896558@KACHIPYTEL.COM
 U6MPE2   11/14/2020 OB   11/28/2020 WN;660;MIA;BWI;WN;1748;BWI;MCO    MICHAELBURGH           LA              US   76602 129898318@KACHIPYTEL.COM
 U7B6SJ   11/14/2020 OB   11/16/2020 WN;6357;LAS;BWI;WN;1261;BWI;DTW   NORTH JESUSBOROUGH     TN              US   75682 129898483@KACHIPYTEL.COM
 U8JI6S   11/14/2020 OB   11/16/2020 WN;1225;PHL;ATL;WN;379;ATL;RSW    WEST RICHARDSHIRE      CA              US   63850 129899154@KACHIPYTEL.COM
 UAOHXH   11/14/2020 OB   11/16/2020 WN;631;ATL;BWI                    PORT ALLISON           PA              US   92644 129900265@KACHIPYTEL.COM
 UCUO9Q   11/14/2020 OB   11/19/2020 WN;1427;DTW;PHX;WN;1295;PHX;DEN   PORT BRETTLAND         MI              US   25896 129900870@KACHIPYTEL.COM
 UEK8DD   11/14/2020 OB   11/20/2020 WN;378;BNA;HOU                    MOOREPORT              WI              US   52793 129901651@KACHIPYTEL.COM
 UEK8DD   11/14/2020 OB   11/21/2020 WN;223;HOU;TUL                    MOOREPORT              WI              US   52793 129901651@KACHIPYTEL.COM
 UEUSGK   11/14/2020 OB   11/23/2020 WN;4701;HOU;BNA;WN;4467;BNA;ATL   NEW ALEXANDERBURGH     LA              US   69993 129901651@KACHIPYTEL.COM
 UL4HJL   11/14/2020 OB   11/16/2020 WN;923;PHX;BWI;WN;331;BWI;MIA     SOUTH NATHANMOUTH      MD              US   41029 129904038@KACHIPYTEL.COM
 UTP5J6   11/14/2020 OB   11/14/2020 WN;4662;AUS;LAS;WN;3144;LAS;IND   JEFFREYHAVEN           SD              US   27273 129908328@KACHIPYTEL.COM
 VA4NI8   11/14/2020 OB   11/30/2020 WN;4299;LGA;BNA;WN;2526;BNA;MCO   BLANCHARDSIDE          LA              US   92547 129918580@KACHIPYTEL.COM
 VQ7S8E   11/14/2020 OB   11/21/2020 WN;2262;MDW;BWI;WN;1709;BWI;MIA   LAKE JESUSFORT         TN              US   55779 129933309@KACHIPYTEL.COM
 VQ7YCS   11/14/2020 OB   11/22/2020 WN;352;BWI;MDW;WN;457;MDW;ATL     ANNEPORT               NV              US    6510 129933309@KACHIPYTEL.COM
 VTDYQH   11/14/2020 OB   11/18/2020 WN;2446;SNA;PHX;WN;6848;PHX;LAS   ZEBRAK                 -               -    78215 129935597@KACHIPYTEL.COM
 VXZPS9   11/14/2020 OB   11/27/2020 WN;374;CVG;BWI;WN;102;BWI;MIA     SOUTH JILLBERG         CO              US   63009 129940613@KACHIPYTEL.COM
 W2V3L5   11/14/2020 OB   11/18/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   NORTH JEREMIAHBOROUG   RI              US   50065 129943275@KACHIPYTEL.COM
 W9ZIZM   11/14/2020 OB   11/30/2020 WN;4598;PHL;STL;WN;2681;STL;CLT   LAKE TERESA            WA              US   63501 129950568@KACHIPYTEL.COM
 WBD5Y4   11/14/2020 OB   11/16/2020 WN;244;MDW;DEN;WN;245;DEN;BOS     DIACONUVIEW            BUZAU           RO   37744 129952152@KACHIPYTEL.COM
 WBD5Y4   11/14/2020 OB   11/16/2020 WN;244;MDW;DEN;WN;245;DEN;BOS     DIACONUVIEW            BUZAU           RO   37744 129952152@KACHIPYTEL.COM
 WNL5DO   11/14/2020 OB    12/4/2020 WN;4788;OMA;MDW;WN;1969;MDW;DEN   PADILLABOROUGH         NH              US   47156 129961128@KACHIPYTEL.COM
 WPN9AY   11/14/2020 OB    12/7/2020 WN;2739;SAT;DEN;WN;4300;DEN;SNA   CAMERONPORT            NJ              US   45150 129961942@KACHIPYTEL.COM
 JELJWE   11/15/2020 OB   11/18/2020 WN;3948;FLL;MDW;WN;1933;MDW;SJC   PORT JOHN              WA              US   60979 129971028@KACHIPYTEL.COM
 JEMNSZ   11/15/2020 OB   11/17/2020 WN;2083;AUS;BWI;WN;331;BWI;MIA    PORT ROBERT            OR              US   24777 129971578@KACHIPYTEL.COM
 JF2C7U   11/15/2020 OB    12/3/2020 WN;2016;ATL;BWI                   LAKE JEFFREY           NM              US   11889 129971721@KACHIPYTEL.COM
 JFG49W   11/15/2020 OB    12/7/2020 WN;2574;BWI;ATL                   NORTH ZACHARYLAND      RI              US   39672 129971721@KACHIPYTEL.COM
 JMTP6F   11/15/2020 OB    12/2/2020 WN;1534;LAS;SMF;WN;4902;SMF;LGB   SOUTH REBECCATOWN      WA              US    5903 129974834@KACHIPYTEL.COM
 KIMJ49   11/15/2020 OB    12/1/2020 WN;631;ATL;BWI;WN;142;BWI;MIA     EAST KARENMOUTH        MN              US    8109 129993919@KACHIPYTEL.COM
 KPEXOV   11/15/2020 OB   11/16/2020 WN;2277;TPA;MDW                   PORT GLENN             IN              US   37428 129999331@KACHIPYTEL.COM
 KS5BQT   11/15/2020 OB   11/16/2020 WN;384;CMH;LAS;WN;125;LAS;OMA     NEW BRIANBURGH         WV              US   61483 130001905@KACHIPYTEL.COM
 KS9EJQ   11/15/2020 OB   11/17/2020 WN;3294;MIA;BWI;WN;3041;BWI;MCO   WILSONMOUTH            NM              US   29985 130001465@KACHIPYTEL.COM
 KXHM47   11/15/2020 OB   12/11/2020 WN;1447;PHX;SNA                   WEST AUSTINMOUTH       ID              US   81636 130006624@KACHIPYTEL.COM
 KY46ES   11/15/2020 OB   12/15/2020 WN;2141;SNA;PHX                   WEST CHRISTOPHERBURG   CO              US   41924 130006624@KACHIPYTEL.COM
 L6YKTB   11/15/2020 OB    3/30/2021 WN;299;MSP;DEN;WN;710;DEN;OAK     JENNIFERCHESTER        OH              US   27831 130013455@KACHIPYTEL.COM
 L6YKTB   11/15/2020 OB    3/30/2021 WN;299;MSP;DEN;WN;710;DEN;OAK     JENNIFERCHESTER        OH              US   27831 130013455@KACHIPYTEL.COM
 L6YKTB   11/15/2020 OB    3/30/2021 WN;299;MSP;DEN;WN;710;DEN;OAK     JENNIFERCHESTER        OH              US   27831 130013455@KACHIPYTEL.COM
 L6YKTB   11/15/2020 OB    3/30/2021 WN;299;MSP;DEN;WN;710;DEN;OAK     JENNIFERCHESTER        OH              US   27831 130013455@KACHIPYTEL.COM
 L95SU4   11/15/2020 OB   11/23/2020 WN;1404;BNA;BWI;WN;102;BWI;MIA    TINAPORT               WV              US    7142 130015314@KACHIPYTEL.COM
 L95SU4   11/15/2020 OB   11/23/2020 WN;1404;BNA;BWI;WN;102;BWI;MIA    TINAPORT               WV              US    7142 130015314@KACHIPYTEL.COM
 LAAE23   11/15/2020 OB   11/15/2020 WN;660;MIA;BWI                    ARROYOPORT             MS              US   68481 129237999@KACHIPYTEL.COM
 LGILP4   11/15/2020 OB   11/24/2020 WN;2682;MDW;BOS                   PORT JONATHANFORT      RI              US   51067 130021925@KACHIPYTEL.COM
 LJGOXB   11/15/2020 OB   12/12/2020 WN;4254;SLC;OAK;WN;642;OAK;DEN    WEST DALESIDE          WV              US   49815 130024136@KACHIPYTEL.COM
 LMVLDI   11/15/2020 OB   11/16/2020 WN;1087;ATL;BWI;WN;1245;BWI;BOS   WALKERBURY             ME              US   30084 130025830@KACHIPYTEL.COM
 LNC2HH   11/15/2020 OB   11/18/2020 WN;3203;RDU;BNA;WN;2978;BNA;BOS   PORT SMHMAAYPORT       NONTHABURI      TH   27089 130026083@KACHIPYTEL.COM
 LOVJZC   11/15/2020 OB   11/16/2020 WN;6357;LAS;BWI;WN;982;BWI;FLL    ALVAREZMOUTH           HI              US   73449 130026919@KACHIPYTEL.COM
 LQR9HK   11/15/2020 OB    12/2/2020 WN;3757;LAX;OAK                   PERRYVILLE             AK              US   24247 130027590@KACHIPYTEL.COM
 WXBLBA   11/15/2020 OB   11/23/2020 WN;4018;LGA;MDW;WN;1891;MDW;FLL   JASMINELAND            PA              US   35111 129965209@KACHIPYTEL.COM
 LRE6CS   11/16/2020 OB   11/16/2020 WN;1087;ATL;BWI;WN;1245;BWI;BOS   SMITHLAND              FL              US   83894 130027887@KACHIPYTEL.COM
 LSVQ4G   11/16/2020 OB   11/16/2020 WN;244;ATL;MDW;WN;821;MDW;BOS     SOUTH LAURIE           CT              US   69714 130028866@KACHIPYTEL.COM
 LT58QS   11/16/2020 OB   11/16/2020 WN;1087;ATL;BWI;WN;1245;BWI;BOS   NORTH SHANESIDE        NC              US   49834 130028800@KACHIPYTEL.COM
 M3AZ9V   11/16/2020 OB    12/9/2020 WN;1990;ATL;BWI                   KELLIFURT              SC              US   96031 130032441@KACHIPYTEL.COM
 M3DFJP   11/16/2020 OB   12/14/2020 WN;4572;BWI;ATL                   MAXWELLBURGH           MO              US   54698 130032441@KACHIPYTEL.COM
 M5FJSJ   11/16/2020 OB   11/18/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   MARIALAND              TN              US   50934 130033992@KACHIPYTEL.COM
 M5OSSI   11/16/2020 OB   11/21/2020 WN;2262;MDW;BWI;WN;2225;BWI;BOS   EAST NATHANSTAD        PA              US   96992 130033959@KACHIPYTEL.COM
 M7IZV5   11/16/2020 OB   11/16/2020 WN;831;ATL;CMH;WN;6989;CMH;MDW    PACHECOCHESTER         WV              US   44416 130034740@KACHIPYTEL.COM
 M7IZV5   11/16/2020 OB   11/16/2020 WN;831;ATL;CMH;WN;6989;CMH;MDW    PACHECOCHESTER         WV              US   44416 130034740@KACHIPYTEL.COM
 MARMB4   11/16/2020 OB   11/23/2020 WN;3421;MDW;HOU                   WEST DONALD            CA              US   45904 130036005@KACHIPYTEL.COM
 MBY8XZ   11/16/2020 OB   11/17/2020 WN;4936;LAX;HOU;WN;1640;HOU;FLL   JONESSIDE              NH              US   44190 130036885@KACHIPYTEL.COM
 MHI3JN   11/16/2020 OB   11/16/2020 WN;959;PDX;LAS;WN;647;LAS;TUS     PORT NINABERG          NM              US   62347 130038997@KACHIPYTEL.COM
 MIS686   11/16/2020 OB   11/16/2020 WN;941;ATL;MDW;WN;821;MDW;BOS     LAKE NATHANBERG        CO              US   53732 130039679@KACHIPYTEL.COM
 MIS686   11/16/2020 OB   11/16/2020 WN;941;ATL;MDW;WN;821;MDW;BOS     LAKE NATHANBERG        CO              US   53732 130039679@KACHIPYTEL.COM
 MM68DY   11/16/2020 OB     1/2/2021 WN;2271;LGA;ATL;WN;2110;ATL;BNA   RODRIGUEZSTAD          NY              US   18959 130041582@KACHIPYTEL.COM
 MPQI6Q   11/16/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;467;ATL;FLL     NEW TOM                RI              US   69779 130043749@KACHIPYTEL.COM
 MQEMAN   11/16/2020 OB   11/26/2020 WN;2288;BNA;TPA                   NEW AMY                LA              US   66744 130044178@KACHIPYTEL.COM
 NLLJ82   11/16/2020 OB   11/26/2020 WN;6600;CLT;BWI                   PENNINGTONBURY         OR              US   57603 130071689@KACHIPYTEL.COM
 NPDKF8   11/16/2020 OB   11/24/2020 WN;1849;SEA;OAK;WN;1768;OAK;DEN   MARKSHAVEN             GA              US    2400 130075803@KACHIPYTEL.COM
 NRFS4Z   11/16/2020 OB   11/20/2020 WN;215;PIT;BNA;WN;6895;BNA;MCI    NUEVA SUIZA            QUERETARO       MX    7214 130078597@KACHIPYTEL.COM
 NRTEDX   11/16/2020 OB    12/6/2020 WN;5013;BNA;BWI;WN;102;BWI;MIA    ALAANG                 PUNJAB          IN   65502 130079433@KACHIPYTEL.COM
 NUOD8C   11/16/2020 OB   11/17/2020 WN;2459;BWI;DAL;WN;2622;DAL;STL   COLESIDE               CO              US   90922 130081985@KACHIPYTEL.COM
 NXMEER   11/16/2020 OB    12/1/2020 WN;6723;CLT;MDW                   VIEJA BRUNEI DARUSSA   NAYARIT         MX   11862 130086484@KACHIPYTEL.COM
 NXVSHJ   11/16/2020 OB    12/1/2020 WN;984;ATL;BWI;WN;1199;BWI;FLL    MARIAMOUTH             AK              US   60989 130086825@KACHIPYTEL.COM
 NZ3XUD   11/16/2020 OB   11/23/2020 WN;4018;LGA;MDW;WN;2802;MDW;FLL   SOUTH HELEN            MN              US   36258 130087353@KACHIPYTEL.COM
 O8IZKT   11/16/2020 OB   11/29/2020 WN;5051;CLE;BWI;WN;324;BWI;MIA    PORT DAVID             OK              US    3246 130096340@KACHIPYTEL.COM
 ODJYAH   11/16/2020 OB   11/24/2020 WN;4237;MDW;BNA                   THOMASBURGH            OR              US   62019 130102302@KACHIPYTEL.COM
 OFBH4I   11/16/2020 OB   11/27/2020 WN;244;BOS;BWI;WN;313;BWI;MDW     SOUTH MARIAPORT        PA              US   83211 130103479@KACHIPYTEL.COM
 OFH2KY   11/16/2020 OB   11/18/2020 WN;2234;LAX;STL;WN;2421;STL;MCO   PORT CARLOSSHIRE       VA              US   83071 130104161@KACHIPYTEL.COM
 ON5WCH   11/16/2020 OB   11/17/2020 WN;2051;ATL;MDW                   JEFFREYPORT            MA              US   15784 130111245@KACHIPYTEL.COM
 ONA3CT   11/16/2020 OB   11/23/2020 WN;4299;LGA;BNA                   NORTH ANNASIDE         SC              US   52480 130111080@KACHIPYTEL.COM
 ONBQVE   11/16/2020 OB   11/17/2020 WN;1997;MCO;DEN;WN;6890;DEN;SMF   EAST DARLENELAND       OK              US   33954 130111564@KACHIPYTEL.COM
 OPY5ZF   11/16/2020 OB   11/20/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     SOUTH MARTINVILLE      NH              US   83435 130112763@KACHIPYTEL.COM
 OQB4OK   11/16/2020 OB   11/29/2020 WN;4283;MSP;BWI;WN;331;BWI;MIA    NEW AARONPORT          IL              US    7056 130113093@KACHIPYTEL.COM




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OSSJUO   11/17/2020 OB   11/22/2020 WN;1051;MIA;BWI                         NATHANPORT             WY                    US    31557 130114369@KACHIPYTEL.COM
OY8BNX   11/17/2020 OB   11/22/2020 WN;1203;LAS;BWI;WN;6017;BWI;BOS         SOUTH DYLAN            GA                    US    74050 130117141@KACHIPYTEL.COM
OYE7HN   11/17/2020 OB   11/18/2020 WN;6571;BWI;LAS;WN;3416;LAS;RNO         WEST TOMFURT           WY                    US     3894 130117141@KACHIPYTEL.COM
P42XY8   11/17/2020 OB   11/17/2020 WN;1667;TUS;LAS;WN;2585;LAS;BOI         SAN DOLORES LOS ALTO   PUEBLA                MX    17351 130119088@KACHIPYTEL.COM
P578XF   11/17/2020 OB   11/19/2020 WN;837;ATL;BNA                          EAST GILBERT           GA                    US    17284 130119561@KACHIPYTEL.COM
PB9TJO   11/17/2020 OB   11/30/2020 WN;6893;SLC;SAN;WN;6774;SAN;PHX         JOSHUABURY             MN                    US    20932 130122498@KACHIPYTEL.COM
PFBGPY   11/17/2020 OB   11/17/2020 WN;1534;LAS;SMF;WN;2853;SMF;SNA         SUAREZTOWN             NV                    US    41703 130124830@KACHIPYTEL.COM
PGXABM   11/17/2020 OB   11/17/2020 WN;6810;RDU;MDW;WN;2255;MDW;BOS         FLOYDSIDE              CO                    US      927 130125864@KACHIPYTEL.COM
PUFJVQ   11/17/2020 OB   11/24/2020 WN;2856;CLT;PHX;WN;4846;PHX;SFO         KNOXVILLE              FL                    US    28556 130135049@KACHIPYTEL.COM
Q9DCDI   11/17/2020 OB   11/22/2020 WN;1058;MIA;BWI;WN;220;BWI;CLE          GIBSONMOUTH            MN                    US    60653 130147446@KACHIPYTEL.COM
QNQARD   11/17/2020 OB   11/20/2020 WN;1134;BOS;BNA;WN;939;BNA;MDW          JADEBURGH              NC                    US    11273 130164034@KACHIPYTEL.COM
QOUJWS   11/17/2020 OB     1/2/2021 WN;2394;ATL;STL;WN;2297;STL;TUL         JESUSVILLE             GA                    US    88866 130165277@KACHIPYTEL.COM
QPGESU   11/17/2020 OB   11/21/2020 WN;1523;RSW;MDW;WN;1081;MDW;CLE         LAKE SHAWNHAVEN        IA                    US     6210 130166751@KACHIPYTEL.COM
QSIR6H   11/17/2020 OB   11/20/2020 WN;1134;BOS;BNA;WN;939;BNA;MDW          VICTORBERG             AR                    US    34349 130170865@KACHIPYTEL.COM
QSIR6H   11/17/2020 OB   11/20/2020 WN;1134;BOS;BNA;WN;939;BNA;MDW          VICTORBERG             AR                    US    34349 130170865@KACHIPYTEL.COM
QVPVM9   11/17/2020 OB   11/23/2020 WN;4490;CHS;BNA;WN;4504;BNA;CMH         PORT LEONARDVILLE      IL                    US    92493 130174231@KACHIPYTEL.COM
QVPVM9   11/17/2020 OB   11/23/2020 WN;4490;CHS;BNA;WN;4504;BNA;CMH         PORT LEONARDVILLE      IL                    US    92493 130174231@KACHIPYTEL.COM
QX43II   11/17/2020 OB   12/13/2020 WN;4704;TPA;BWI;WN;2675;BWI;CLT         ORRBURGH               UT                    US    34606 130176640@KACHIPYTEL.COM
QX43II   11/17/2020 OB   12/13/2020 WN;4704;TPA;BWI;WN;2675;BWI;CLT         ORRBURGH               UT                    US    34606 130176640@KACHIPYTEL.COM
R35M7O   11/17/2020 OB   11/19/2020 WN;631;ATL;BWI;WN;1212;BWI;BOS          SOUTH LAUREN           MO                    US     9058 130181579@KACHIPYTEL.COM
R3DJNI   11/17/2020 OB   11/18/2020 WN;4751;ATL;MDW                         WELLSMOUTH             KY                    US    76037 130182393@KACHIPYTEL.COM
RBU3HQ   11/17/2020 OB   11/29/2020 WN;3918;BOS;BNA                         FOSTERFURT             NC                    US    20757 130193932@KACHIPYTEL.COM
RCGTKO   11/17/2020 OB    12/5/2020 WN;3589;TPA;BWI;WN;3560;BWI;CLT         STEVENSONHAVEN         FL                    US    67731 130194372@KACHIPYTEL.COM
RCGTKO   11/17/2020 OB    12/5/2020 WN;3589;TPA;BWI;WN;3560;BWI;CLT         STEVENSONHAVEN         FL                    US    67731 130194372@KACHIPYTEL.COM
RCXSUE   11/17/2020 OB   11/22/2020 WN;744;AUS;BNA;WN;510;BNA;BWI           NORTH MICHAEL          WA                    US    72995 130195219@KACHIPYTEL.COM
RCXSUE   11/17/2020 OB   11/22/2020 WN;744;AUS;BNA;WN;510;BNA;BWI           NORTH MICHAEL          WA                    US    72995 130195219@KACHIPYTEL.COM
RGW4TP   11/17/2020 OB   12/18/2020 WN;1090;MSY;BWI;WN;331;BWI;MIA          WEST ANDRE             NE                    US    35213 130199773@KACHIPYTEL.COM
RJOA5G   11/17/2020 OB   11/20/2020 WN;835;LAX;STL;WN;963;STL;FLL           SOUTH WILLIAM          AK                    US    72814 130202347@KACHIPYTEL.COM
RS3B99   11/18/2020 OB   11/18/2020 WN;4291;OAK;MDW;WN;1360;MDW;FLL         VINCENTBURY            WI                    US    96684 130208848@KACHIPYTEL.COM
RYALMB   11/18/2020 OB   11/30/2020 WN;1740;FLL;ATL;WN;3880;ATL;RIC         CONLEYMOUTH            LA                    US    13381 130213028@KACHIPYTEL.COM
RYALMB   11/18/2020 OB   11/30/2020 WN;1740;FLL;ATL;WN;3880;ATL;RIC         CONLEYMOUTH            LA                    US    13381 130213028@KACHIPYTEL.COM
S3CYOE   11/18/2020 OB    12/4/2020 WN;2246;ATL;STL;WN;3301;STL;FLL         LAKE ANDREA            DE                    US    24864 130214623@KACHIPYTEL.COM
S3CYOE   11/18/2020 OB    12/4/2020 WN;2246;ATL;STL;WN;3301;STL;FLL         LAKE ANDREA            DE                    US    24864 130214623@KACHIPYTEL.COM
S58R85   11/18/2020 OB    12/7/2020 WN;2016;ATL;BWI;WN;3984;BWI;FLL         PORT JOSEPHBURY        KS                    US    24821 130215294@KACHIPYTEL.COM
S68LGN   11/18/2020 OB   11/20/2020 WN;1533;MCI;OAK;WN;714;OAK;PDX          PORT CAROLSIDE         MD                    US    42641 130215811@KACHIPYTEL.COM
S7AXKK   11/18/2020 OB   11/25/2020 WN;4075;RDU;ATL;WN;2653;ATL;PBI         COOKMOUTH              IL                    US    61770 130216559@KACHIPYTEL.COM
S7K6WF   11/18/2020 OB   11/30/2020 WN;1894;BWI;BNA                         DUSTINCHESTER          ME                    US    28514 130216504@KACHIPYTEL.COM
S7ULOH   11/18/2020 OB   11/24/2020 WN;2786;LAX;SJC;WN;2786;SJC;DEN;WN;2786 NORTH JACQUELINE       WI                    US    70959 130216922@KACHIPYTEL.COM
S9IOPT   11/18/2020 OB    12/6/2020 WN;3714;LAX;BWI;WN;1657;BWI;CLE         LUCASFURT              FL                    US    95673 130217802@KACHIPYTEL.COM
S9IOPT   11/18/2020 OB    12/6/2020 WN;3714;LAX;BWI;WN;1657;BWI;CLE         LUCASFURT              FL                    US    95673 130217802@KACHIPYTEL.COM
S9IOPT   11/18/2020 OB    12/6/2020 WN;3714;LAX;BWI;WN;1657;BWI;CLE         LUCASFURT              FL                    US    95673 130217802@KACHIPYTEL.COM
S9P87D   11/18/2020 OB   12/20/2020 WN;313;BWI;MDW;WN;1440;MDW;MHT          WEST CHRISTINATON      NC                    US    68677 130217912@KACHIPYTEL.COM
SB6VET   11/18/2020 OB    12/1/2020 WN;675;RIC;ATL;WN;772;ATL;FLL           SOUTH GLORIA           MS                    US    51946 130218517@KACHIPYTEL.COM
SDHHLP   11/18/2020 OB   11/24/2020 WN;4403;OMA;DEN;WN;2027;DEN;SEA         SOUTH DAVIDBURGH       ME                    US    46685 130219991@KACHIPYTEL.COM
SIQPNP   11/18/2020 OB   12/18/2020 WN;984;ATL;BWI                          EVANSPORT              IL                    US    14730 130223324@KACHIPYTEL.COM
T4NJ89   11/18/2020 OB   11/28/2020 WN;1761;PHL;STL;WN;1676;STL;RSW         DARRELLTON             ME                    US     1985 130237195@KACHIPYTEL.COM
T4NJ89   11/18/2020 OB   11/28/2020 WN;1761;PHL;STL;WN;1676;STL;RSW         DARRELLTON             ME                    US     1985 130237195@KACHIPYTEL.COM
TJ7SUV   11/18/2020 OB   11/19/2020 WN;1136;MKE;BWI;WN;102;BWI;MIA          SOUTH MICHAELTOWN      HI                    US     5284 130252584@KACHIPYTEL.COM
TLTZ7F   11/18/2020 OB   11/26/2020 WN;6382;BNA;TPA;WN;4147;TPA;MIA         BOHUSOVICE NAD OHRI    LIBERECKY KRAJ        CZ     7699 130255268@KACHIPYTEL.COM
TLXTJE   11/18/2020 OB   11/25/2020 WN;1866;MCO;BNA;WN;4302;BNA;LGA         LAKE ERINTOWN          AL                    US    97087 130256082@KACHIPYTEL.COM
TM2HOQ   11/18/2020 OB   11/26/2020 WN;6383;TPA;BNA;WN;4766;BNA;PHL         SMITHHAVEN             OR                    US     2077 130255862@KACHIPYTEL.COM
TOJAU7   11/18/2020 OB   11/25/2020 WN;4075;RDU;ATL;WN;2653;ATL;PBI         ERIKCHESTER            PA                    US    23036 130258601@KACHIPYTEL.COM
TOPDJH   11/18/2020 OB   11/21/2020 WN;1979;SJC;DEN;WN;483;DEN;SAT          JASONVILLE             OH                    US    76494 130258469@KACHIPYTEL.COM
TRTHXL   11/18/2020 OB   11/20/2020 WN;524;MDW;DEN;WN;1097;DEN;OMA          KNUROW                 LUBUSKIE              PL    48712 130262352@KACHIPYTEL.COM
U25AB6   11/18/2020 OB   11/30/2020 WN;3584;MSP;STL                         NORTH JERRYBERG        MO                    US    38242 130271482@KACHIPYTEL.COM
U3DFUY   11/18/2020 OB   11/19/2020 WN;835;LAX;STL;WN;1442;STL;MCO          PORT MARIA             VT                    US    43853 130273814@KACHIPYTEL.COM
U3WFD8   11/18/2020 OB   11/25/2020 WN;1751;BNA;MDW;WN;2049;MDW;BOS         DYLANBERG              CA                    US    55354 130274023@KACHIPYTEL.COM
U3WFD8   11/18/2020 OB   11/25/2020 WN;1751;BNA;MDW;WN;2049;MDW;BOS         DYLANBERG              CA                    US    55354 130274023@KACHIPYTEL.COM
U82S2Q   11/18/2020 OB   11/23/2020 WN;1744;DTW;PHX;WN;1620;PHX;LAS         SOUTH ZACHARY          NY                    US    57085 130279996@KACHIPYTEL.COM
U88ULC   11/18/2020 OB   11/22/2020 WN;631;ATL;BWI                          EAST JORDANBERG        LA                    US    35374 130280249@KACHIPYTEL.COM
U8BFN7   11/18/2020 OB   11/22/2020 WN;631;ATL;BWI                          SARATON                ND                    US    64256 130280942@KACHIPYTEL.COM
U8EXTM   11/18/2020 OB   11/20/2020 WN;1236;LAS;SAN;WN;1075;SAN;SFO         LAKE SHERISIDE         SC                    US    29673 130280975@KACHIPYTEL.COM
U8EXTM   11/18/2020 OB   11/20/2020 WN;1236;LAS;SAN;WN;1075;SAN;SFO         LAKE SHERISIDE         SC                    US    29673 130280975@KACHIPYTEL.COM
UABEXP   11/18/2020 OB   12/14/2020 WN;5032;TPA;HOU                         JAMIECHESTER           AR                    US     3683 130283010@KACHIPYTEL.COM
UF6EPH   11/18/2020 OB   11/24/2020 WN;4194;ATL;MDW;WN;1676;MDW;BOS         EAST AMYBURGH          MD                    US    96155 130287960@KACHIPYTEL.COM
UF6EPH   11/18/2020 OB   11/24/2020 WN;4194;ATL;MDW;WN;1676;MDW;BOS         EAST AMYBURGH          MD                    US    96155 130287960@KACHIPYTEL.COM
UIGGXI   11/18/2020 OB   11/26/2020 WN;3804;LGA;STL;WN;5072;STL;FLL         NORTH EILEENFORT       VA                    US    44756 130290908@KACHIPYTEL.COM
ULA86H   11/18/2020 OB   11/26/2020 WN;3075;MIA;BWI;WN;3160;BWI;MCO         WILLIAMSPORT           AK                    US    78429 130293592@KACHIPYTEL.COM
UOIS98   11/18/2020 OB   11/19/2020 WN;919;PDX;OAK;WN;818;OAK;MCI           SMITHBURGH             OR                    US    64130 130296628@KACHIPYTEL.COM
J4LR3N   11/19/2020 OB   11/25/2020 WN;1773;OMA;LAS;WN;2106;LAS;DEN         NEW TONYAHAVEN         FL                    US    18193 130368227@KACHIPYTEL.COM
J4LR3N   11/19/2020 OB   11/25/2020 WN;1773;OMA;LAS;WN;2106;LAS;DEN         NEW TONYAHAVEN         FL                    US    18193 130368227@KACHIPYTEL.COM
J6NEEQ   11/19/2020 OB   11/25/2020 WN;3851;MCO;STL                         DAVISSIDE              VA                    US     7181 130370361@KACHIPYTEL.COM
J6NEEQ   11/19/2020 OB   11/25/2020 WN;3851;MCO;STL                         DAVISSIDE              VA                    US     7181 130370361@KACHIPYTEL.COM
J6NEEQ   11/19/2020 OB   11/25/2020 WN;3851;MCO;STL                         DAVISSIDE              VA                    US     7181 130370361@KACHIPYTEL.COM
J6WR6F   11/19/2020 OB   11/21/2020 WN;600;PHL;BNA;WN;1678;BNA;BOS          YANISAMOUTH            LOP BURI              TH    48026 130345259.1503036@KACHIPYTEL.COM
JAAMD9   11/19/2020 OB   11/20/2020 WN;941;ATL;MDW;WN;114;MDW;BUF           MILLERHAVEN            ND                    US     1657 130374607@KACHIPYTEL.COM
JCVAUI   11/19/2020 OB   11/21/2020 WN;1917;SMF;AUS;WN;1874;AUS;MCO         KRNAA                  PUDUCHERRY            IN     9219 130378028@KACHIPYTEL.COM
JD38UN   11/19/2020 OB   12/12/2020 WN;2238;SAN;DEN                         NEW TODD               AL                    US    86250 127616060.1503084@KACHIPYTEL.COM
JD54SA   11/19/2020 OB   11/30/2020 WN;2120;AUS;SMF;WN;4959;SMF;PDX         CITRKUUTT              DAMAN AND DIU         IN    47348 130378028@KACHIPYTEL.COM
JDJ3TO   11/19/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA         PORT JOHNHAVEN         MS                    US     7411 130378193@KACHIPYTEL.COM
JE87SX   11/19/2020 OB    12/2/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA          LEWISBURGH             AZ                    US    57208 130379744@KACHIPYTEL.COM
JFQTEE   11/19/2020 OB   11/20/2020 WN;1087;ATL;BWI;WN;1322;BWI;BUF         SOUTH TODDSHIRE        NJ                    US    51349 130380822@KACHIPYTEL.COM
JH5W5P   11/19/2020 OB    12/3/2020 WN;3357;AUS;MDW;WN;2255;MDW;BOS         STEPHANIELAND          CA                    US    74665 130381889@KACHIPYTEL.COM
JHG58C   11/19/2020 OB   11/25/2020 WN;4821;RSW;BWI;WN;1799;BWI;BOS         NORTH JAMES            OK                    US     3636 130382109@KACHIPYTEL.COM
JPUWZ9   11/19/2020 OB   11/20/2020 WN;1433;PDX;PHX;WN;508;PHX;MCI          NORTH MIKE             NM                    US    90314 130389611@KACHIPYTEL.COM
JQPKO5   11/19/2020 OB   11/20/2020 WN;1090;MSY;BWI                         WEAVERVIEW             WY                    US    90913 130390623@KACHIPYTEL.COM
JRBO9Z   11/19/2020 OB   11/23/2020 WN;3745;LAS;MDW;WN;1740;MDW;FLL         WRIGHTTON              LA                    US     5111 130390447@KACHIPYTEL.COM
JS69BC   11/19/2020 OB    12/4/2020 WN;1923;BOS;DEN;WN;1966;DEN;LAS         DUNNVIEW               RI                    US    17340 130391349@KACHIPYTEL.COM
JSL7SF   11/19/2020 OB   11/20/2020 WN;1116;BWI;MDW;WN;6014;MDW;CLT         KELLYTOWN              NH                    US    80918 130391206@KACHIPYTEL.COM
JT3HEA   11/19/2020 OB   11/22/2020 WN;1090;MSY;BWI;WN;331;BWI;MIA          BRIANFORT              AK                    US     8283 130390623.1503177@KACHIPYTEL.COM
V549CK   11/19/2020 OB   11/29/2020 WN;4752;MKE;BWI                         TRIBENII               TRIPURA               IN    90881 130305406@KACHIPYTEL.COM
V695TS   11/19/2020 OB   11/19/2020 WN;584;IND;HOU;WN;696;HOU;AUS           NORTH REGINA           MD                    US    14180 130305945@KACHIPYTEL.COM
V7VBQL   11/19/2020 OB   11/22/2020 WN;6822;PHX;MDW;WN;1042;MDW;MSP         CALDERONLAND           NM                    US    59225 130306759@KACHIPYTEL.COM
V9Z8MZ   11/19/2020 OB   11/23/2020 WN;2806;DAL;BWI;WN;4284;BWI;ISP         SOUTH AUTUMNFORT       RI                    US    85597 130307881@KACHIPYTEL.COM
VGDBE6   11/19/2020 OB   11/24/2020 WN;2653;ATL;PBI;WN;4225;PBI;ISP         LAWRENCEFORT           MD                    US    89130 130311104@KACHIPYTEL.COM
VGFPWK   11/19/2020 OB   11/20/2020 WN;843;LAX;BWI;WN;940;BWI;BDL           LAKE RYANTON           ID                    US    54074 130311269@KACHIPYTEL.COM
VGTBF4   11/19/2020 OB   11/19/2020 WN;39;LAS;DAL;WN;2392;DAL;FLL           WRIGHTTOWN             LA                    US    75404 130311489@KACHIPYTEL.COM
VH3ZQQ   11/19/2020 OB   12/14/2020 WN;3262;FLL;MDW;WN;2188;MDW;CLT         TORRESBERG             KY                    US    26518 130311412@KACHIPYTEL.COM
VJHI5U   11/19/2020 OB   11/25/2020 WN;4283;MSP;BWI                         WILLIAMSHAVEN          VT                    US    12568 130312347@KACHIPYTEL.COM
WEXO89   11/19/2020 OB   11/22/2020 WN;1427;DTW;PHX;WN;1601;PHX;LAS         WEST MICHAEL           TN                    US    85606 130336558@KACHIPYTEL.COM
WG359J   11/19/2020 OB   11/29/2020 WN;4797;RDU;BWI                         COLLINSBURY            NV                    US    47024 130338263@KACHIPYTEL.COM
WHNRYS   11/19/2020 OB   11/20/2020 WN;135;ATL;STL                          WEST SARAH             GA                    US     9220 130340177@KACHIPYTEL.COM
WIXFPR   11/19/2020 OB    12/7/2020 WN;2180;BWI;MDW                         COCHRANVIEW            IL                    US    97615 130342322@KACHIPYTEL.COM
WJ34WP   11/19/2020 OB    12/3/2020 WN;4022;MDW;BWI;WN;4727;BWI;FLL         LAKE JESSE             NJ                    US    94259 130342322@KACHIPYTEL.COM
WKJHGG   11/19/2020 OB   11/20/2020 WN;1458;ONT;MDW;WN;432;MDW;FLL          TURNERBERG             HI                    US    94581 130344456@KACHIPYTEL.COM
WL6Y5U   11/19/2020 OB   11/22/2020 WN;892;PHL;BNA;WN;1111;BNA;FLL          NUEVA SUDAN DEL SUR    CHIAPAS               MX    98891 130345259@KACHIPYTEL.COM
WPAQAP   11/19/2020 OB   11/20/2020 WN;1008;ATL;BWI;WN;401;BWI;ROC          KIMBERLYLAND           HI                    US    27992 130350616@KACHIPYTEL.COM
WR93LQ   11/19/2020 OB   11/20/2020 WN;1008;ATL;BWI;WN;401;BWI;ROC          PORT MANUEL            LA                    US    18798 130353894@KACHIPYTEL.COM
WSM9NW   11/19/2020 OB   11/22/2020 WN;154;LGA;STL;WN;1369;STL;MCO          BCELII                 CHHATTISGARH          IN    95458 130354895@KACHIPYTEL.COM




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WU92IL   11/19/2020 OB   11/24/2020 WN;1676;BOS;DEN;WN;1906;DEN;LAS        NEW LISAMOUTH          TX                    US   84566 130356875@KACHIPYTEL.COM
WUUNQ8   11/19/2020 OB   11/20/2020 WN;821;BOS;BWI;WN;843;BWI;MDW          NORTH RACHEL           TN                    US   42674 130357645@KACHIPYTEL.COM
WYZSQX   11/19/2020 OB   11/22/2020 WN;206;BNA;MCO;WN;1320;MCO;FLL         NORTH KRISTEN          NC                    US   94879 130363629@KACHIPYTEL.COM
JSZGMD   11/20/2020 OB   11/23/2020 WN;3745;LAS;MDW;WN;1740;MDW;FLL        KNIGHTSIDE             NC                    US   25033 130392086@KACHIPYTEL.COM
K2P49S   11/20/2020 OB   12/23/2020 WN;1894;MSY;BWI                        NEW LAURIEMOUTH        PA                    US   37411 130397190@KACHIPYTEL.COM
K5JQR3   11/20/2020 OB    12/6/2020 WN;1923;BOS;DEN                        BERRYMOUTH             OR                    US   22232 130398653@KACHIPYTEL.COM
KA7OYF   11/20/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA        PORT KENNETHBURY       KS                    US   47770 130401238@KACHIPYTEL.COM
KIH9EB   11/20/2020 OB   11/27/2020 WN;1117;MSP;MDW;WN;821;MDW;BOS         WRIGHTBOROUGH          RI                    US   36023 130405737@KACHIPYTEL.COM
KIVIH6   11/20/2020 OB   11/25/2020 WN;1998;ATL;BWI                        EAST JERRYBOROUGH      CT                    US   29032 130405649@KACHIPYTEL.COM
KMLTUD   11/20/2020 OB   11/20/2020 WN;465;HOU;DEN;WN;1361;DEN;MEM         BENJAMINBOROUGH        ND                    US   21677 130407849@KACHIPYTEL.COM
KMRWLX   11/20/2020 OB   11/20/2020 WN;2813;LAX;MDW                        SOUTH DWAYNE           NE                    US   29462 130407794@KACHIPYTEL.COM
KNOFQT   11/20/2020 OB   11/24/2020 WN;3851;MCO;STL;WN;2052;STL;LGA        CHLOETOWN              MD                    US   83427 130408157@KACHIPYTEL.COM
L6RS63   11/20/2020 OB   11/23/2020 WN;4311;MSY;BWI;WN;331;BWI;MIA         MIKEVILLE              VA                    US   59589 130422259@KACHIPYTEL.COM
L8F7F7   11/20/2020 OB   11/23/2020 WN;1058;MIA;BWI;WN;4353;BWI;CLE        NEW JACK               MA                    US   18651 130423491@KACHIPYTEL.COM
LBW7Z5   11/20/2020 OB   11/20/2020 WN;1008;ATL;BWI;WN;135;BWI;BUF         VELASQUEZTON           NY                    US   53140 130427968@KACHIPYTEL.COM
LFCZKD   11/20/2020 OB   11/23/2020 WN;1616;ATL;MDW;WN;4162;MDW;MIA        NEW JOSEPH             AR                    US    8784 130432346@KACHIPYTEL.COM
LKSEF7   11/20/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;1809;BWI;ATL        SOUTH WILLIAM          ID                    US   71529 130439342@KACHIPYTEL.COM
LNJ37I   11/20/2020 OB   11/23/2020 WN;4531;ATL;MDW;WN;3018;MDW;BUF        CARLOSBURY             OR                    US   84072 130441289@KACHIPYTEL.COM
LNJ37I   11/20/2020 OB   11/23/2020 WN;4531;ATL;MDW;WN;3018;MDW;BUF        CARLOSBURY             OR                    US   84072 130441289@KACHIPYTEL.COM
LQKL3A   11/20/2020 OB   11/25/2020 WN;1051;MIA;BWI;WN;4130;BWI;CLE        HANNAHSTAD             OH                    US   96742 130445579@KACHIPYTEL.COM
LQKL3A   11/20/2020 OB   11/25/2020 WN;1051;MIA;BWI;WN;4130;BWI;CLE        HANNAHSTAD             OH                    US   96742 130445579@KACHIPYTEL.COM
LTQB5A   11/20/2020 OB   11/23/2020 WN;2049;MDW;BOS                        NORTH ANTHONY          KS                    US   19703 130449055@KACHIPYTEL.COM
LTQB5A   11/20/2020 OB   11/23/2020 WN;4194;ATL;MDW                        NORTH ANTHONY          KS                    US   19703 130449055@KACHIPYTEL.COM
LX6Y7S   11/20/2020 OB   11/23/2020 WN;4795;RDU;MDW;WN;1953;MDW;LGA        EAST DILLONPORT        AR                    US   36421 130453389@KACHIPYTEL.COM
M86TXI   11/20/2020 OB    12/2/2020 WN;2247;CLT;BWI                        BARBARAPORT            MT                    US   10483 130466754@KACHIPYTEL.COM
MASG73   11/20/2020 OB   11/24/2020 WN;4475;BWI;MSY;WN;6929;MSY;BNA        FRANKLINFURT           MS                    US   97614 130470219@KACHIPYTEL.COM
MAYZWR   11/20/2020 OB   11/28/2020 WN;6501;MSY;BWI;WN;102;BWI;MIA         NEW CYNTHIATON         NV                    US   14958 130470219@KACHIPYTEL.COM
MBFQU7   11/20/2020 OB   11/25/2020 WN;2054;MSP;MDW;WN;3970;MDW;MCO        ADAMSBOROUGH           EAST SUSSEX           GB   82872 130470868@KACHIPYTEL.COM
MC8XWR   11/20/2020 OB     1/9/2021 WN;6113;RDU;TPA;WN;4050;TPA;MIA        BANKSMOUTH             WY                    US   92371 130472573@KACHIPYTEL.COM
MC8XWR   11/20/2020 OB     1/9/2021 WN;6113;RDU;TPA;WN;4050;TPA;MIA        BANKSMOUTH             WY                    US   92371 130472573@KACHIPYTEL.COM
MCCYVT   11/20/2020 OB     1/7/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL        NORTH ANGELATOWN       AR                    US   19733 130472573@KACHIPYTEL.COM
MCCYVT   11/20/2020 OB     1/7/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL        NORTH ANGELATOWN       AR                    US   19733 130472573@KACHIPYTEL.COM
MEAIN2   11/20/2020 OB    12/2/2020 WN;3611;JAX;HOU;WN;2609;HOU;ATL        MELISSAMOUTH           NV                    US   16642 130477512@KACHIPYTEL.COM
MEGGAB   11/20/2020 OB   11/27/2020 WN;536;DTW;BWI;WN;1245;BWI;BOS         PORT ARTURASTOWN       KLAIPEDOS APSKRITIS   LT    9227 130478821@KACHIPYTEL.COM
MELQSM   11/20/2020 OB     1/3/2021 WN;1621;CLT;STL;WN;5044;STL;MCO        KEMIONSAARI            SATAKUNTA             FI   93274 130477479@KACHIPYTEL.COM
MEV9DP   11/20/2020 OB   11/21/2020 WN;1604;PDX;PHX;WN;1795;PHX;ABQ        WEST SARAH             VA                    US    7208 130480889@KACHIPYTEL.COM
MGP29C   11/20/2020 OB   11/23/2020 WN;4884;ATL;BWI;WN;1824;BWI;BOS        LANDRYVILLE            PA                    US   32741 130485960@KACHIPYTEL.COM
MI37QY   11/20/2020 OB   11/24/2020 WN;3885;LGA;STL;WN;2313;STL;DAL;WN;2363RICHARDSTAD            NV                    US   56190 130489315@KACHIPYTEL.COM
MKJVJA   11/20/2020 OB   11/23/2020 WN;4884;ATL;BWI;WN;1824;BWI;BOS        RAMSEYMOUTH            WA                    US   69284 130498764@KACHIPYTEL.COM
MKULX8   11/20/2020 OB    12/6/2020 WN;3558;ATL;MDW;WN;2510;MDW;LAX        PORT MATTHEW           FL                    US   87510 130498742@KACHIPYTEL.COM
MKWQU8   11/20/2020 OB   12/10/2020 WN;2823;ATL;BWI                        MCDONALDFORT           NY                    US   47622 130499435@KACHIPYTEL.COM
MLVAII   11/20/2020 OB    12/6/2020 WN;3558;ATL;MDW;WN;2510;MDW;LAX        KARENBOROUGH           AR                    US   67022 130502603@KACHIPYTEL.COM
MMBSOG   11/20/2020 OB    12/1/2020 WN;675;RIC;ATL;WN;772;ATL;FLL          ISABELPORT             NUNAVUT               CA   41561 130503351@KACHIPYTEL.COM
MMXHNR   11/20/2020 OB   11/22/2020 WN;1008;ATL;BWI;WN;401;BWI;ROC         SOUTH CHRISTOPHERBOR   DE                    US   28162 130506167@KACHIPYTEL.COM
MOFTPK   11/20/2020 OB   11/24/2020 WN;4553;ATL;HOU                        MYERSVILLE             TX                    US   30261 130509478@KACHIPYTEL.COM
MP7D6O   11/20/2020 OB   11/24/2020 WN;6516;LAX;BWI                        ANDRADEMOUTH           MD                    US   14516 130510567@KACHIPYTEL.COM
MP7D6O   11/20/2020 OB   11/25/2020 WN;1833;BWI;FLL                        ANDRADEMOUTH           MD                    US   14516 130510567@KACHIPYTEL.COM
MP7XNR   11/20/2020 OB   11/21/2020 WN;1777;JAX;BNA;WN;1678;BNA;BOS        EAST KARA              NJ                    US    1516 130510864@KACHIPYTEL.COM
MQ223E   11/20/2020 OB    12/7/2020 WN;1782;PHX;ATL;WN;2707;ATL;LGA        JORDANBOROUGH          OH                    US   81016 130514439@KACHIPYTEL.COM
MQITAW   11/20/2020 OB    12/4/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX         JOCELYNSIDE            IA                    US   93673 130514439@KACHIPYTEL.COM
MQLAPE   11/20/2020 OB   11/23/2020 WN;3726;PHL;ATL;WN;2505;ATL;RSW        DENISEHAVEN            NJ                    US   37271 130515121@KACHIPYTEL.COM
MQQSHE   11/20/2020 OB   11/22/2020 WN;639;HOU;DEN                         LINSIDE                MT                    US   88649 130516078@KACHIPYTEL.COM
MS2TO8   11/20/2020 OB   12/19/2020 WN;6742;AUS;MCI                        KATHRYNCHESTER         ND                    US   11410 130518839@KACHIPYTEL.COM
MX5PUE   11/21/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA        PORT ROYSHIRE          MA                    US    9948 130530785@KACHIPYTEL.COM
MYARNW   11/21/2020 OB   11/23/2020 WN;332;MIA;BWI;WN;1894;BWI;BNA         EAST SCOTTBOROUGH      SD                    US   92496 130534943@KACHIPYTEL.COM
N6BVZV   11/21/2020 OB   11/22/2020 WN;140;DCA;BNA;WN;302;BNA;MCO          LAKE GRACE             ND                    US   37464 130547032@KACHIPYTEL.COM
N73XQX   11/21/2020 OB   11/23/2020 WN;3939;TUS;DEN;WN;3177;DEN;BOI        SHEPHERDTON            OR                    US   76803 129703497.1503892@KACHIPYTEL.COM
N9QGGY   11/21/2020 OB   11/23/2020 WN;3819;CLE;BWI;WN;102;BWI;MIA         PORT JAMIE             MT                    US   89611 130555810@KACHIPYTEL.COM
N9ZVSV   11/21/2020 OB   11/25/2020 WN;1554;DAL;STL;WN;5002;STL;MDW        MORNG                  RAPTI                 NP   21853 130556327@KACHIPYTEL.COM
NANXQU   11/21/2020 OB   11/27/2020 WN;439;SJC;DAL;WN;1424;DAL;MDW         AMANDACHESTER          VT                    US   78897 130559330@KACHIPYTEL.COM
NASRNO   11/21/2020 OB   11/26/2020 WN;6967;LAX;DAL;WN;4016;DAL;MCO        NORTH BRUCEVIEW        WY                    US   69981 130558175@KACHIPYTEL.COM
NBBFYA   11/21/2020 OB   11/26/2020 WN;6967;LAX;DAL;WN;4016;DAL;MCO        PAULHAVEN              WA                    US   84699 130559902@KACHIPYTEL.COM
NBBFYA   11/21/2020 OB   11/26/2020 WN;6967;LAX;DAL;WN;4016;DAL;MCO        PAULHAVEN              WA                    US   84699 130559902@KACHIPYTEL.COM
NDECAV   11/21/2020 OB   11/23/2020 WN;1058;MIA;BWI;WN;4353;BWI;CLE        KRYSTALFORT            NJ                    US   34102 130565116@KACHIPYTEL.COM
NKXNBO   11/21/2020 OB   11/24/2020 WN;3068;LGA;ATL;WN;2350;ATL;FLL        PORT VERONICA          NH                    US   42263 130572915@KACHIPYTEL.COM
NRUD4Y   11/21/2020 OB   12/21/2020 WN;1090;MSY;BWI                        LAKE JOHNLAND          IL                    US   67494 130575522@KACHIPYTEL.COM
NRUD4Y   11/21/2020 OB   12/21/2020 WN;358;MSY;HOU;WN;1261;HOU;BWI         LAKE JOHNLAND          IL                    US   67494 130575522@KACHIPYTEL.COM
O4BRCG   11/21/2020 OB    12/2/2020 WN;430;ATL;PHX                         LAKE KENNETH           AZ                    US   63742 130580901@KACHIPYTEL.COM
O73G5B   11/21/2020 OB   11/22/2020 WN;536;DTW;BWI                         WEST TIMOTHY           PA                    US   76930 130583156@KACHIPYTEL.COM
O73G5B   11/21/2020 OB   11/23/2020 WN;4112;DTW;BWI                        WEST TIMOTHY           PA                    US   76930 130583156@KACHIPYTEL.COM
O9AONT   11/21/2020 OB   11/23/2020 WN;4531;ATL;MDW;WN;3018;MDW;BUF        CRYSTALBURY            ME                    US   36494 130584960@KACHIPYTEL.COM
OJVEX9   11/21/2020 OB   11/21/2020 WN;1485;SDF;LAS;WN;2368;LAS;OMA        COLLINSLAND            MA                    US   17539 130592187@KACHIPYTEL.COM
OMXRUK   11/21/2020 OB   11/24/2020 WN;1215;RDU;BWI;WN;1824;BWI;BOS        BURNETTLAND            SC                    US   52804 130594695@KACHIPYTEL.COM
ONSUPI   11/21/2020 OB   11/29/2020 WN;6985;CLT;MDW;WN;3950;MDW;STL        RUSSELLBURY            ME                    US    4330 130595003@KACHIPYTEL.COM
ONSUPI   11/21/2020 OB   11/29/2020 WN;6985;CLT;MDW;WN;3950;MDW;STL        RUSSELLBURY            ME                    US    4330 130595003@KACHIPYTEL.COM
OQFUOZ   11/21/2020 OB   11/27/2020 WN;551;FLL;TPA;WN;4443;TPA;LGA         LAKE NATALIEBERG       NH                    US   48821 130597445@KACHIPYTEL.COM
ORQKAT   11/21/2020 OB    12/6/2020 WN;1438;FLL;ATL                        NEW MARGARETFURT       RI                    US    8597 130598886@KACHIPYTEL.COM
OU7898   11/21/2020 OB   12/13/2020 WN;2548;MCO;BWI                        NEW CHRISTOPHERBURGH   DE                    US   87622 130600085@KACHIPYTEL.COM
OXXWY6   11/21/2020 OB   11/24/2020 WN;3885;LGA;STL;WN;5051;STL;BNA        WANNE                  LIMBURG               BE   37777 130603715@KACHIPYTEL.COM
OY9IKM   11/21/2020 OB   12/13/2020 WN;2548;MCO;BWI;WN;102;BWI;MIA         WEST MEGANTON          MI                    US   74553 130604254@KACHIPYTEL.COM
P2L8P5   11/21/2020 OB   11/27/2020 WN;135;LGA;ATL;WN;379;ATL;RSW          NORTH AMANDA           RI                    US   39197 130606146@KACHIPYTEL.COM
P3Y94P   11/21/2020 OB   11/25/2020 WN;1790;DCA;ATL                        GRACEFURT              MT                    US   57248 130607917@KACHIPYTEL.COM
P56X5E   11/21/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA        SULLIVANBURY           MT                    US   86373 130609083@KACHIPYTEL.COM
P5VCTC   11/21/2020 OB   11/22/2020 WN;277;BOS;BWI;WN;1116;BWI;MDW         MICHAELCHESTER         DE                    US   87845 130609974@KACHIPYTEL.COM
P5YWC8   11/21/2020 OB   11/25/2020 WN;4884;ATL;BWI                        WEST TAMMYCHESTER      MO                    US    6100 130610216@KACHIPYTEL.COM
P8BNFN   11/21/2020 OB   11/22/2020 WN;154;LGA;STL;WN;1369;STL;MCO         G BELOIARSKII          PENZENSKAYA OBLAST    RU   93331 130613318@KACHIPYTEL.COM
PAV6K7   11/21/2020 OB   11/22/2020 WN;561;DCA;BNA;WN;747;BNA;MCO          PORT JACLYNBOROUGH     IL                    US   41423 130615837@KACHIPYTEL.COM
PAXD3H   11/21/2020 OB   11/28/2020 WN;1829;MSY;ATL;WN;1631;ATL;PHL        LAKE CONNORMOUTH       GA                    US   54113 130615749@KACHIPYTEL.COM
PB2GWC   11/21/2020 OB   11/26/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA        RODRIGUEZLAND          OK                    US   45204 130615628@KACHIPYTEL.COM
PJ2J7S   11/21/2020 OB   11/24/2020 WN;4553;ATL;HOU;WN;1056;HOU;MIA        NICHOLSLAND            WA                    US   67878 130630841@KACHIPYTEL.COM
POFAAR   11/21/2020 OB   11/24/2020 WN;1058;MIA;BWI;WN;4353;BWI;CLE        PORT KALEIATOWN        VRATSA                BG   65229 130648793@KACHIPYTEL.COM
PQSCSY   11/21/2020 OB    12/1/2020 WN;499;DTW;MDW;WN;2172;MDW;LGA         NEW TIMOTHY            ID                    US   21814 130655228@KACHIPYTEL.COM
PSRJGI   11/21/2020 OB   11/24/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW        LAKE KATHYMOUTH        AL                    US   56720 130660750@KACHIPYTEL.COM
PSRJGI   11/21/2020 OB   11/24/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW        LAKE KATHYMOUTH        AL                    US   56720 130660750@KACHIPYTEL.COM
PTKCUL   11/21/2020 OB   11/24/2020 WN;3068;LGA;ATL;WN;4735;ATL;MCO        LAKE JANICE            FL                    US   78073 130664545@KACHIPYTEL.COM
PTKCUL   11/21/2020 OB   11/24/2020 WN;3068;LGA;ATL;WN;4735;ATL;MCO        LAKE JANICE            FL                    US   78073 130664545@KACHIPYTEL.COM
PTSQ2N   11/21/2020 OB   11/24/2020 WN;1758;CLE;MDW;WN;1740;MDW;FLL        WEST ANDREWBOROUGH     TN                    US   21146 130664039@KACHIPYTEL.COM
Q2AJPL   11/22/2020 OB   11/27/2020 WN;855;PHX;LAS                         WEST DENNISBURGH       ND                    US   51000 130682178@KACHIPYTEL.COM
Q33XM2   11/22/2020 OB   11/25/2020 WN;1613;ATL;RDU;WN;1633;RDU;MDW        WHITELAND              SD                    US   10270 130683157@KACHIPYTEL.COM
Q4DZ5Z   11/22/2020 OB   11/26/2020 WN;3959;ATL;TPA;WN;4147;TPA;MIA        NEW JAMES              VT                    US   26209 130688327@KACHIPYTEL.COM
Q6GUBU   11/22/2020 OB   11/26/2020 WN;2051;ATL;MDW                        LEECHESTER             WI                    US   88909 130693013@KACHIPYTEL.COM
Q8VJEL   11/22/2020 OB   11/24/2020 WN;1758;CLE;MDW;WN;1740;MDW;FLL        EAST HEATHER           MS                    US   36437 130700713@KACHIPYTEL.COM
Q983RF   11/22/2020 OB   11/27/2020 WN;536;DTW;BWI                         RAMIREZFURT            VT                    US   79857 130701494@KACHIPYTEL.COM
Q9K9LE   11/22/2020 OB   11/28/2020 WN;2449;MCI;PHX;WN;1664;PHX;DAL        NEW BRIANBURY          WY                    US   51436 130701571@KACHIPYTEL.COM
QACVQ2   11/22/2020 OB   12/21/2020 WN;2222;BNA;BWI;WN;331;BWI;MIA         G BALASHIKHA           MOSKOVSKAYA OBLAST    RU    3354 130703991@KACHIPYTEL.COM
QACVQ2   11/22/2020 OB   12/21/2020 WN;2222;BNA;BWI;WN;331;BWI;MIA         G BALASHIKHA           MOSKOVSKAYA OBLAST    RU    3354 130703991@KACHIPYTEL.COM
QAUVGX   11/22/2020 OB   11/22/2020 WN;158;HOU;LAS;WN;1166;LAS;LBB         EAST WILLIAM           GA                    US   30065 130705366@KACHIPYTEL.COM
QCBRYQ   11/22/2020 OB   11/23/2020 WN;4884;ATL;BWI;WN;1215;BWI;BUF        JIMENEZPORT            MS                    US    6793 130708479@KACHIPYTEL.COM
QCF26V   11/22/2020 OB   11/25/2020 WN;2789;MSP;MDW;WN;1676;MDW;BOS        OLSONSIDE              CA                    US   56461 130708292@KACHIPYTEL.COM




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 QDC3OO   11/22/2020 OB   12/21/2020 WN;1432;SEA;SJC;WN;607;SJC;LAS    NEW JEFFREYMOUTH       VT                 US   34667 130709205@KACHIPYTEL.COM
 QDC3OO   11/22/2020 OB   12/21/2020 WN;1432;SEA;SJC;WN;607;SJC;LAS    NEW JEFFREYMOUTH       VT                 US   34667 130709205@KACHIPYTEL.COM
 QDZTTR   11/22/2020 OB   11/28/2020 WN;1669;TPA;BWI;WN;1875;BWI;BOS   EAST ASHLEY            NJ                 US   74370 130712175@KACHIPYTEL.COM
 QGYFCW   11/22/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA   NORTH LISA             NH                 US   84597 130716432@KACHIPYTEL.COM
 QGYFCW   11/22/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA   NORTH LISA             NH                 US   84597 130716432@KACHIPYTEL.COM
 QJV58R   11/22/2020 OB    12/3/2020 WN;4608;LAX;OAK;WN;1963;OAK;BOI   CARTERMOUTH            MS                 US    4461 130717356@KACHIPYTEL.COM
 QRAC8V   11/22/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;6866;ATL;RSW    CNBAA                  JHARKHAND          IN   19477 130720029@KACHIPYTEL.COM
 QX2ZTB   11/22/2020 OB   11/27/2020 WN;169;BOS;BWI;WN;374;BWI;RSW     NEW DONALD             FL                 US   18352 130722570@KACHIPYTEL.COM
 RW5HK8   11/22/2020 OB   11/26/2020 WN;3075;MIA;BWI;WN;3596;BWI;PIT   MARIAHTOWN             AL                 US   94823 130745043@KACHIPYTEL.COM
 RW5HK8   11/22/2020 OB   11/26/2020 WN;3075;MIA;BWI;WN;3596;BWI;PIT   MARIAHTOWN             AL                 US   94823 130745043@KACHIPYTEL.COM
 RXDURD   11/22/2020 OB   12/14/2020 WN;3254;AUS;ATL;WN;3803;ATL;MSY   NEW JACKBURGH          GA                 US   68939 130746099@KACHIPYTEL.COM
 RYOPPF   11/22/2020 OB    12/1/2020 WN;1330;RDU;MDW                   HALESIDE               IA                 US   99861 130747276@KACHIPYTEL.COM
 S5OXEN   11/22/2020 OB   11/24/2020 WN;3885;LGA;STL;WN;3387;STL;MDW   NORTH MELIHCANCHESTE   IZMIR              TR   38751 130752787@KACHIPYTEL.COM
 S6GUM3   11/22/2020 OB   11/24/2020 WN;3885;LGA;STL;WN;3387;STL;MDW   JARUTHIPHAVEN          BOLU               TR   80383 130753689@KACHIPYTEL.COM
 S79RU8   11/22/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     DAKOTABERG             ND                 US   24760 130756648@KACHIPYTEL.COM
 SE7COP   11/22/2020 OB   12/27/2020 WN;6755;MCI;AUS;WN;1970;AUS;STL   JAMESBURGH             NC                 US   47153 130779946@KACHIPYTEL.COM
 SE7COP   11/22/2020 OB   12/27/2020 WN;6755;MCI;AUS;WN;1970;AUS;STL   JAMESBURGH             NC                 US   47153 130779946@KACHIPYTEL.COM
 SEKUGE   11/22/2020 OB   11/23/2020 WN;1750;LAS;DEN;WN;2223;DEN;BOS   HUGHESBOROUGH          OK                 US   83017 130780694@KACHIPYTEL.COM
 SEKUGE   11/22/2020 OB   11/23/2020 WN;1750;LAS;DEN;WN;2223;DEN;BOS   HUGHESBOROUGH          OK                 US   83017 130780694@KACHIPYTEL.COM
 SIN2SB   11/22/2020 OB    12/4/2020 WN;4751;RIC;ATL;WN;4207;ATL;FLL   ERINBURY               ND                 US   34590 130795236@KACHIPYTEL.COM
 SIN2SB   11/22/2020 OB    12/4/2020 WN;4751;RIC;ATL;WN;4207;ATL;FLL   ERINBURY               ND                 US   34590 130795236@KACHIPYTEL.COM
 SIWMH9   11/22/2020 OB   11/25/2020 WN;4769;PHL;ATL                   BRIANFURT              MI                 US   39370 130793663@KACHIPYTEL.COM
 SKR4KT   11/22/2020 OB   11/27/2020 WN;2496;RDU;BNA;WN;1241;BNA;FLL   LAKE ANTONIO           ND                 US   13399 130799911@KACHIPYTEL.COM
 SN26C9   11/22/2020 OB     1/5/2021 WN;869;SMF;SAN                    LAKE JENNIFERMOUTH     FL                 US   36209 130808810@KACHIPYTEL.COM
 SN26C9   11/22/2020 OB     1/5/2021 WN;869;SMF;SAN                    LAKE JENNIFERMOUTH     FL                 US   36209 130808810@KACHIPYTEL.COM
 SN4R68   11/22/2020 OB    12/3/2020 WN;2116;MDW;STL;WN;5072;STL;FLL   NORTH CHRISTOPHER      NH                 US   50146 130806676@KACHIPYTEL.COM
 SNU7BH   11/22/2020 OB   11/23/2020 WN;2876;MCO;MDW                   KONNEVESI              UUSIMAA            FI   63245 130809811@KACHIPYTEL.COM
 SQOJGY   11/22/2020 OB   11/25/2020 WN;6756;ATL;DCA                   SMITHFURT              NM                 US   41073 130818611@KACHIPYTEL.COM
 SVAJH8   11/23/2020 OB   11/23/2020 WN;2519;SEA;STL;WN;1554;STL;FLL   UNDERWOODVILLE         AR                 US   25525 130830997@KACHIPYTEL.COM
 SVAJH8   11/23/2020 OB   11/23/2020 WN;2519;SEA;STL;WN;1554;STL;FLL   UNDERWOODVILLE         AR                 US   25525 130830997@KACHIPYTEL.COM
 SVAJH8   11/23/2020 OB   11/23/2020 WN;2519;SEA;STL;WN;1554;STL;FLL   UNDERWOODVILLE         AR                 US   25525 130830997@KACHIPYTEL.COM
 SVAJH8   11/23/2020 OB   11/23/2020 WN;2519;SEA;STL;WN;1554;STL;FLL   UNDERWOODVILLE         AR                 US   25525 130830997@KACHIPYTEL.COM
 SVYUII   11/23/2020 OB   11/28/2020 WN;1732;CLE;TPA;WN;1065;TPA;MIA   NORTH DAWN             MA                 US   23144 130833461@KACHIPYTEL.COM
 SVYUII   11/23/2020 OB   11/28/2020 WN;1732;CLE;TPA;WN;1065;TPA;MIA   NORTH DAWN             MA                 US   23144 130833461@KACHIPYTEL.COM
 SVYUII   11/23/2020 OB   11/28/2020 WN;1732;CLE;TPA;WN;1065;TPA;MIA   NORTH DAWN             MA                 US   23144 130833461@KACHIPYTEL.COM
 SYJ5HY   11/23/2020 OB   11/23/2020 WN;2962;MDW;BNA                   NORTH ROBERT           WV                 US   27633 130841337@KACHIPYTEL.COM
 SYKFVF   11/23/2020 OB   11/23/2020 WN;2033;PDX;MDW                   NEW CLIFFORDVIEW       MN                 US    6820 130841337@KACHIPYTEL.COM
 T2IOX4   11/23/2020 OB    12/6/2020 WN;2568;ATL;LAS;WN;3321;LAS;LAX   SOUTH JUANCHESTER      GA                 US   40016 130845473@KACHIPYTEL.COM
 T3MSFB   11/23/2020 OB   11/30/2020 WN;3765;MSY;BNA;WN;2472;BNA;PHL   WEST ANTHONYMOUTH      IN                 US    9320 130838598@KACHIPYTEL.COM
 T4F64A   11/23/2020 OB   11/30/2020 WN;2942;AUS;SLC                   MYERSFURT              SD                 US   65616 130853096@KACHIPYTEL.COM
 T52I34   11/23/2020 OB   11/25/2020 WN;2123;SLC;AUS;WN;2184;AUS;ELP   CHRISHAVEN             ID                 US   67628 130853096@KACHIPYTEL.COM
 T5E96T   11/23/2020 OB   11/25/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW   LAKE FRANCISCO         ME                 US   84232 130854229@KACHIPYTEL.COM
 T5VGKE   11/23/2020 OB   11/24/2020 WN;3745;LAS;MDW;WN;1676;MDW;BOS   LAKE KATHY             KS                 US    5633 130856165@KACHIPYTEL.COM
 T6TEE8   11/23/2020 OB   11/23/2020 WN;4803;ATL;MCI;WN;4803;MCI;MDW   NEW ROBERT             OK                 US   63366 130860290@KACHIPYTEL.COM
 T79KJ2   11/23/2020 OB   11/25/2020 WN;4283;MSP;BWI;WN;1799;BWI;BOS   THOMASBOROUGH          CT                 US   98033 130859850@KACHIPYTEL.COM
 T8BR8Z   11/23/2020 OB   11/23/2020 WN;3689;ATL;MDW;WN;4194;MDW;BUF   EAST SONYASIDE         CO                 US   94367 130865141@KACHIPYTEL.COM
 T8WGS3   11/23/2020 OB   11/25/2020 WN;4769;PHL;ATL                   EAST JOHNBERG          AR                 US   65637 130866626@KACHIPYTEL.COM
 TA6X6K   11/23/2020 OB   11/27/2020 WN;1034;ATL;TPA;WN;1063;TPA;MIA   LAKE ERICSHIRE         GA                 US   18766 130868815@KACHIPYTEL.COM
 TA6X6K   11/23/2020 OB   11/27/2020 WN;1034;ATL;TPA;WN;1063;TPA;MIA   LAKE ERICSHIRE         GA                 US   18766 130868815@KACHIPYTEL.COM
 TADYGI   11/23/2020 OB   11/23/2020 WN;1894;MSY;BWI;WN;3892;BWI;TPA   NOAHCHESTER            MA                 US   20570 130871224@KACHIPYTEL.COM
 TBF2YF   11/23/2020 OB   11/23/2020 WN;3689;ATL;MDW;WN;4194;MDW;BUF   WEST HERBERT           UT                 US   32449 130871510@KACHIPYTEL.COM
 TBOBE4   11/23/2020 OB   11/23/2020 WN;1998;ATL;BWI                   NEW MARK               UT                 US   65873 130871950@KACHIPYTEL.COM
 TC37U6   11/23/2020 OB   11/26/2020 WN;4022;MDW;BWI;WN;1923;BWI;BOS   SOUTH ALLENPORT        MD                 US   84939 130871818@KACHIPYTEL.COM
 TC66S6   11/23/2020 OB   11/30/2020 WN;4044;DCA;MDW                   MARTINEZMOUTH          MO                 US   83928 130871818@KACHIPYTEL.COM
 TEOJMO   11/23/2020 OB   11/23/2020 WN;4063;PHX;MDW;WN;2899;MDW;MSP   STEVENSBURY            AK                 US    6269 130873171@KACHIPYTEL.COM
 TESV8D   11/23/2020 OB    12/1/2020 WN;1058;MIA;BWI;WN;220;BWI;CLE    GARRISONBERG           MS                 US   10280 130873457@KACHIPYTEL.COM
 TETOLN   11/23/2020 OB    12/1/2020 WN;1058;MIA;BWI;WN;220;BWI;CLE    ANTONIOSTAD            ME                 US   27068 130873259@KACHIPYTEL.COM
 TI477P   11/23/2020 OB   11/24/2020 WN;4456;AUS;BWI;WN;4446;BWI;IND   MOTIHAARII             HIMACHAL PRADESH   IN   69245 130874436@KACHIPYTEL.COM
 TIB83V   11/23/2020 OB    12/2/2020 WN;3189;PHL;MDW                   JOESAARBERG            HIIUMAA            EE   84909 130874832@KACHIPYTEL.COM
 TJYQFF   11/23/2020 OB   11/30/2020 WN;2072;ATL;STL;WN;3387;STL;MDW   BURKETOWN              ID                 US   84156 130875932@KACHIPYTEL.COM
 TKBYFQ   11/23/2020 OB   11/24/2020 WN;2549;BWI;PHX                   DANIELBOROUGH          PA                 US   14270 130876108@KACHIPYTEL.COM
 TMNJHX   11/23/2020 OB   11/23/2020 WN;4601;ATL;BWI;WN;1766;BWI;BUF   CARTERBURGH            MA                 US   39952 130877307@KACHIPYTEL.COM
 TNQS2L   11/23/2020 OB   11/27/2020 WN;719;AUS;BWI;WN;685;BWI;IND     SOUTH ANDREA           IA                 US   12592 130877769@KACHIPYTEL.COM
 TQCOJE   11/23/2020 OB   11/23/2020 WN;1058;MIA;BWI;WN;4155;BWI;MCO   NEW MELVIN             NE                 US   24626 130879155@KACHIPYTEL.COM
 TTIRSB   11/23/2020 OB   11/25/2020 WN;1906;SLC;DEN;WN;1959;DEN;LAX   SOUTH JAMESBOROUGH     MI                 US    8166 130883247@KACHIPYTEL.COM
 TUTIF2   11/23/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;4930;BWI;MCO   BRIANCHESTER           NE                 US   61424 130887130@KACHIPYTEL.COM
 TUTIF2   11/23/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;4930;BWI;MCO   BRIANCHESTER           NE                 US   61424 130887130@KACHIPYTEL.COM
 TUTIF2   11/23/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;4930;BWI;MCO   BRIANCHESTER           NE                 US   61424 130887130@KACHIPYTEL.COM
 TUTIF2   11/23/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;4930;BWI;MCO   BRIANCHESTER           NE                 US   61424 130887130@KACHIPYTEL.COM
 UBLTVT   11/23/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;2086;BWI;MKE   SOUTH GINA             NY                 US    3647 130910923@KACHIPYTEL.COM
 UD56S7   11/23/2020 OB   11/23/2020 WN;3482;MIA;BWI;WN;2086;BWI;MKE   NORTH JUSTIN           AK                 US   70021 130911990@KACHIPYTEL.COM
 UIJSFY   11/23/2020 OB   12/21/2020 WN;1090;MSY;BWI;WN;142;BWI;MIA    ROBERTSHIRE            MT                 US   14406 130918095@KACHIPYTEL.COM
 UN9ZFW   11/23/2020 OB   11/23/2020 WN;2515;IND;DEN                   EAST MARK              NH                 US   27824 130923969@KACHIPYTEL.COM
 UPH2J7   11/23/2020 OB   11/27/2020 WN;1334;ATL;MCO;WN;1185;MCO;BUF   MEYERSFURT             NJ                 US   43502 130926708@KACHIPYTEL.COM
 UPUFSS   11/23/2020 OB   11/24/2020 WN;3689;ATL;MDW;WN;4194;MDW;BUF   MURRAYFURT             IN                 US   55573 130926895@KACHIPYTEL.COM
 UV744J   11/23/2020 OB   11/23/2020 WN;332;MIA;BWI;WN;2464;BWI;PWM    BROWNBERG              VA                 US    9637 130933374@KACHIPYTEL.COM
 UZQYEB   11/23/2020 OB   11/24/2020 WN;4336;OKC;PHX                   NORTH SHERRYBURGH      OK                 US   13745 130937994@KACHIPYTEL.COM
 V2HFMW   11/23/2020 OB   11/30/2020 WN;4767;FLL;MDW;WN;2410;MDW;CLE   LAKE KRISTY            CO                 US   15285 130939413@KACHIPYTEL.COM
 V6GGJ8   11/23/2020 OB   11/28/2020 WN;2144;LAX;STL;WN;1757;STL;MCO   CHERYLVIEW             AL                 US   78093 130943967@KACHIPYTEL.COM
 V6MTIO   11/23/2020 OB    12/8/2020 WN;2319;BOI;LAS;WN;3239;LAS;LAX   NORTH MARKMOUTH        ME                 US    1725 130943890@KACHIPYTEL.COM
 V6TYNA   11/23/2020 OB   12/11/2020 WN;2585;LAS;BOI;WN;4367;BOI;OAK   EAST ROBERT            KS                 US   61773 130943890@KACHIPYTEL.COM
 V7MVDF   11/23/2020 OB   11/25/2020 WN;1790;DCA;ATL;WN;4735;ATL;MCO   SALASSHIRE             WY                 US   28932 130945991@KACHIPYTEL.COM
 V7MVDF   11/23/2020 OB   11/25/2020 WN;1790;DCA;ATL;WN;4735;ATL;MCO   SALASSHIRE             WY                 US   28932 130945991@KACHIPYTEL.COM
 V8RHKI   11/23/2020 OB   11/24/2020 WN;2300;LAS;BWI;WN;1824;BWI;BOS   CAMERONFURT            LA                 US   43220 130946805@KACHIPYTEL.COM
 VBLGKX   11/23/2020 OB   11/26/2020 WN;4547;PHL;ATL;WN;6865;ATL;RSW   LAWRENCETOWN           AR                 US   68368 130950919@KACHIPYTEL.COM
 VBWECC   11/23/2020 OB   11/26/2020 WN;3804;LGA;STL;WN;4994;STL;MCO   WEST LAUREN            WI                 US   47091 130950985@KACHIPYTEL.COM
 VCFU3K   11/23/2020 OB    12/6/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   LAKE FRANK             LA                 US   13196 130952041@KACHIPYTEL.COM
 VEABY6   11/23/2020 OB   11/24/2020 WN;3776;PDX;PHX;WN;3810;PHX;ABQ   HURLEYVIEW             KY                 US   35206 130954043@KACHIPYTEL.COM
 VETMAV   11/23/2020 OB   11/28/2020 WN;734;MSY;TPA;WN;1063;TPA;MIA    HUGHESBURY             OK                 US    8651 130954923@KACHIPYTEL.COM
 VETMAV   11/23/2020 OB   11/28/2020 WN;734;MSY;TPA;WN;1063;TPA;MIA    HUGHESBURY             OK                 US    8651 130954923@KACHIPYTEL.COM
 VFGOM7   11/23/2020 OB   11/25/2020 WN;4055;BUF;RSW;WN;1847;RSW;ATL   NEW JERRYLAND          NC                 US   75167 130955495@KACHIPYTEL.COM
 VKE3VX   11/23/2020 OB   11/26/2020 WN;2531;LAS;BWI;WN;3984;BWI;FLL   HUNTERBURY             VA                 US   89948 130960544@KACHIPYTEL.COM
 VNV3L5   11/23/2020 OB   12/29/2020 WN;6272;AUS;ATL                   LAKE ANDREWFORT        IL                 US    1478 130963327@KACHIPYTEL.COM
 VQHICB   11/23/2020 OB   11/24/2020 WN;1846;SAT;DEN;WN;4881;DEN;OAK   NEW SCOTTPORT          MS                 US   55727 130965483@KACHIPYTEL.COM
 VRODZH   11/23/2020 OB   11/26/2020 WN;4547;PHL;ATL;WN;6865;ATL;RSW   EAST LISASTAD          NJ                 US   14821 130966737@KACHIPYTEL.COM
 VT52EV   11/23/2020 OB   11/27/2020 WN;135;LGA;ATL;WN;379;ATL;RSW     LAKE JAMESLAND         NC                 US   79449 130967254@KACHIPYTEL.COM
 VT52EV   11/23/2020 OB   11/27/2020 WN;135;LGA;ATL;WN;379;ATL;RSW     LAKE JAMESLAND         NC                 US   79449 130967254@KACHIPYTEL.COM
 VTLQSE   11/23/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     NORTH ADAMTON          CO                 US    3855 130967683@KACHIPYTEL.COM
 VTP369   11/23/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;2266;BWI;ROC   MATHEWBURGH            TN                 US   56952 130967870@KACHIPYTEL.COM
 VTP369   11/23/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;2266;BWI;ROC   MATHEWBURGH            TN                 US   56952 130967870@KACHIPYTEL.COM
 VTP369   11/23/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;2266;BWI;ROC   MATHEWBURGH            TN                 US   56952 130967870@KACHIPYTEL.COM
 VTP369   11/23/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;2266;BWI;ROC   MATHEWBURGH            TN                 US   56952 130967870@KACHIPYTEL.COM
 J2E4SP   11/24/2020 OB   11/28/2020 WN;2269;ATL;MCO;WN;192;MCO;BUF    LINDSEYBURGH           NJ                 US   81896 130991333@KACHIPYTEL.COM
 JJAOIN   11/24/2020 OB   11/24/2020 WN;6516;LAX;BWI                   WEST MICHAELTON        MT                 US   96100 131006601@KACHIPYTEL.COM
 JJAOIN   11/24/2020 OB   11/25/2020 WN;1833;BWI;FLL                   WEST MICHAELTON        MT                 US   96100 131006601@KACHIPYTEL.COM
 JJX9YY   11/24/2020 OB   11/30/2020 WN;3726;PHL;ATL                   MICHAELBURGH           NY                 US   52810 131007734@KACHIPYTEL.COM
 JR8KPE   11/24/2020 OB   11/28/2020 WN;1965;MDW;AUS                   NEW MICHEAL            CO                 US   17555 131015643@KACHIPYTEL.COM
 JT5KYE   11/24/2020 OB   11/27/2020 WN;6632;MDW;AUS;WN;348;AUS;DAL    JOSEPHCHESTER          DE                 US    9806 131018459@KACHIPYTEL.COM
 JT9S2P   11/24/2020 OB   11/28/2020 WN;2436;SMF;MDW;WN;878;MDW;MCO    NORTH BRANDONVIEW      NC                 US   59163 131018305@KACHIPYTEL.COM




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 JYQ9TT   11/24/2020 OB   11/25/2020 WN;1998;ATL;BWI;WN;2266;BWI;ROC   GUZMANPORT             AZ                    US   43029 131024322@KACHIPYTEL.COM
 JZAUUU   11/24/2020 OB    12/1/2020 WN;675;ATL;LAS;WN;1549;LAS;LAX    LAKE PAMELA            OK                    US    5376 131025081@KACHIPYTEL.COM
 JZAUUU   11/24/2020 OB    12/1/2020 WN;675;ATL;LAS;WN;1549;LAS;LAX    LAKE PAMELA            OK                    US    5376 131025081@KACHIPYTEL.COM
 K3LZHS   11/24/2020 OB    12/4/2020 WN;2634;PHX;DEN                   HOLLYSIDE              NM                    US   64631 131029382@KACHIPYTEL.COM
 K55XXN   11/24/2020 OB   11/25/2020 WN;3843;AUS;ATL;WN;2726;ATL;IND   TAMMYFORT              NC                    US   96423 131031681@KACHIPYTEL.COM
 K5IENC   11/24/2020 OB   11/26/2020 WN;244;BOS;BWI;WN;2180;BWI;MDW    LISALAND               IA                    US   55768 131032297@KACHIPYTEL.COM
 K7EF4A   11/24/2020 OB   11/27/2020 WN;531;BUR;BNA;WN;1111;BNA;FLL    AMANDAVIEW             WV                    US   44077 131034431@KACHIPYTEL.COM
 K7EF4A   11/24/2020 OB   11/27/2020 WN;531;BUR;BNA;WN;1111;BNA;FLL    AMANDAVIEW             WV                    US   44077 131034431@KACHIPYTEL.COM
 K7JH3Q   11/24/2020 OB    12/6/2020 WN;3294;MIA;BWI;WN;3604;BWI;RDU   NEW JESUS              WA                    US   32097 131034783@KACHIPYTEL.COM
 K9JKOW   11/24/2020 OB   11/25/2020 WN;4455;ATL;LGA                   SAN VICTOR LOS ALTOS   YUCATAN               MX   79673 131037346@KACHIPYTEL.COM
 K9JKOW   11/24/2020 OB   11/25/2020 WN;4455;ATL;LGA                   SAN VICTOR LOS ALTOS   YUCATAN               MX   79673 131037346@KACHIPYTEL.COM
 KC6PBP   11/24/2020 OB   11/27/2020 WN;1177;OMA;STL;WN;1162;STL;DEN   BRENDACHESTER          OK                    US   21692 131041130@KACHIPYTEL.COM
 KE5DBI   11/24/2020 OB   11/29/2020 WN;1739;SAN;SMF;WN;4959;SMF;PDX   SHEPHERDSIDE           NH                    US   43353 131044089@KACHIPYTEL.COM
 KE8XD5   11/24/2020 OB   11/25/2020 WN;4884;ATL;BWI;WN;2093;BWI;ROC   SALASSTAD              MI                    US    4752 131044650@KACHIPYTEL.COM
 KFCUWE   11/24/2020 OB   11/25/2020 WN;3068;LGA;ATL;WN;4735;ATL;MCO   CATHYBURGH             DE                    US   96553 131046058@KACHIPYTEL.COM
 KFCUWE   11/24/2020 OB   11/25/2020 WN;3068;LGA;ATL;WN;4735;ATL;MCO   CATHYBURGH             DE                    US   96553 131046058@KACHIPYTEL.COM
 KFNBZ3   11/24/2020 OB   11/25/2020 WN;3843;AUS;ATL;WN;2726;ATL;IND   HELENSIDE              IL                    US   24570 131045717@KACHIPYTEL.COM
 KFPZXD   11/24/2020 OB   11/30/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA   NEW EMILYBOROUGH       WV                    US   40648 131045761@KACHIPYTEL.COM
 KG4KOQ   11/24/2020 OB   11/27/2020 WN;849;LGA;BNA;WN;831;BNA;ATL     SOUTH ROBERTFURT       FL                    US   65494 131046168@KACHIPYTEL.COM
 KGNMUM   11/24/2020 OB   11/25/2020 WN;3391;ATL;MCO;WN;2076;MCO;BUF   ANSANSI                DAEJEON GWANGYEOGSI   KR   15452 131047400@KACHIPYTEL.COM
 KHL7SA   11/24/2020 OB   11/26/2020 WN;3422;LGA;DEN;WN;2587;DEN;RNO   TIMOTHYVILLE           OH                    US   74263 131048247@KACHIPYTEL.COM
 KJPTOW   11/24/2020 OB    12/5/2020 WN;2798;LAX;DEN;WN;5133;DEN;BOI   SOUTH MICHAEL          RI                    US    6296 131050238@KACHIPYTEL.COM
 KJPTOW   11/24/2020 OB    12/5/2020 WN;2798;LAX;DEN;WN;5133;DEN;BOI   SOUTH MICHAEL          RI                    US    6296 131050238@KACHIPYTEL.COM
 KKIJFF   11/24/2020 OB   12/31/2020 WN;6748;OAK;HOU                   NORTH EDWARD           WY                    US   46156 131050744@KACHIPYTEL.COM
 KKYUJ3   11/24/2020 OB   11/29/2020 WN;1744;DTW;PHX;WN;1620;PHX;LAS   SOUTH SYDNEYTOWN       KS                    US   85372 131051580@KACHIPYTEL.COM
 KLRLOB   11/24/2020 OB   11/26/2020 WN;4246;FLL;BNA;WN;3587;BNA;MKE   PORT ANGELA            WI                    US    8453 131052878@KACHIPYTEL.COM
 KM34IA   11/24/2020 OB    12/4/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    KELLYTOWN              WA                    US   92269 131052471@KACHIPYTEL.COM
 KM34IA   11/24/2020 OB    12/4/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    KELLYTOWN              WA                    US   92269 131052471@KACHIPYTEL.COM
 KM42V4   11/24/2020 OB    12/6/2020 WN;1782;PHX;ATL;WN;2707;ATL;LGA   BRANDONBURGH           MT                    US   95471 131052471@KACHIPYTEL.COM
 KM42V4   11/24/2020 OB    12/6/2020 WN;1782;PHX;ATL;WN;2707;ATL;LGA   BRANDONBURGH           MT                    US   95471 131052471@KACHIPYTEL.COM
 KOVH6B   11/24/2020 OB   11/27/2020 WN;156;LGA;ATL                    SNOWVILLE              OR                    US   57421 131055628@KACHIPYTEL.COM
 KPCFPX   11/24/2020 OB   11/27/2020 WN;1054;MCO;ATL;WN;3360;ATL;LGA   MACDONALDLAND          AK                    US   99448 131056662@KACHIPYTEL.COM
 KS2R2O   11/24/2020 OB   11/26/2020 WN;3075;MIA;BWI;WN;3160;BWI;MCO   SOUTH CYNTHIA          AK                    US   46101 131057872@KACHIPYTEL.COM
 KSSUJP   11/24/2020 OB    12/2/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    BRENTFURT              SC                    US   74577 131058741@KACHIPYTEL.COM
 KSSUJP   11/24/2020 OB    12/2/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    BRENTFURT              SC                    US   74577 131058741@KACHIPYTEL.COM
 KTXJMA   11/24/2020 OB   11/27/2020 WN;610;PDX;OAK;WN;152;OAK;BOI     PAMELATOWN             WY                    US   18838 131059126@KACHIPYTEL.COM
 KTXJMA   11/24/2020 OB   11/27/2020 WN;610;PDX;OAK;WN;152;OAK;BOI     PAMELATOWN             WY                    US   18838 131059126@KACHIPYTEL.COM
 VUYX6V   11/24/2020 OB   11/30/2020 WN;2123;AUS;ATL                   WEST KENNETHVILLE      SC                    US   16512 130968299@KACHIPYTEL.COM
 W2AIAZ   11/24/2020 OB   11/28/2020 WN;2094;ATL;MDW;WN;2436;MDW;BUF   EAST MAKAYLA           KS                    US   80644 130971346@KACHIPYTEL.COM
 W46GMX   11/24/2020 OB   11/27/2020 WN;156;LGA;ATL                    PORT SETH              AK                    US   74048 130972072@KACHIPYTEL.COM
 W5KWCI   11/24/2020 OB   11/25/2020 WN;3835;LAX;SAT;WN;1749;SAT;MCO   NORTH MICHELLE         HI                    US   29411 130973084@KACHIPYTEL.COM
 W5ZYN6   11/24/2020 OB   11/26/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   PORT REBECCABURGH      IN                    US    4356 130973326@KACHIPYTEL.COM
 W6OAWT   11/24/2020 OB    12/1/2020 WN;293;AUS;TPA;WN;1065;TPA;MIA    ANTRGT                 PUDUCHERRY            IN   12843 130973810@KACHIPYTEL.COM
 W7RQR5   11/24/2020 OB   11/30/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW   TRANSTAD               TN                    US   18487 130974261@KACHIPYTEL.COM
 W8H48M   11/24/2020 OB   11/25/2020 WN;3994;MCI;TPA                   RONALDCHESTER          OR                    US   90946 130974261@KACHIPYTEL.COM
 WBYAOZ   11/24/2020 OB   11/30/2020 WN;4601;ATL;BWI                   TAYLORFURT             OH                    US   24810 130976175@KACHIPYTEL.COM
 WBYAOZ   11/24/2020 OB    12/1/2020 WN;395;BWI;ROC                    TAYLORFURT             OH                    US   24810 130976175@KACHIPYTEL.COM
 WC7BGA   11/24/2020 OB   11/30/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW   SHERMANBOROUGH         VA                    US   88848 130974943@KACHIPYTEL.COM
 WEAXPK   11/24/2020 OB   11/25/2020 WN;2431;SAN;BWI;WN;2445;BWI;FLL   EAST TIMOTHY           ME                    US   20985 130977682@KACHIPYTEL.COM
 WGAIJL   11/24/2020 OB   11/27/2020 WN;225;MCO;BNA                    EAST STEPHEN           MN                    US    1519 130978958@KACHIPYTEL.COM
 WH9KNA   11/24/2020 OB   11/24/2020 WN;2300;LAS;BWI;WN;1824;BWI;BOS   HAYNESPORT             DE                    US   85247 130979189@KACHIPYTEL.COM
 WTKTEG   11/24/2020 OB   11/26/2020 WN;1377;MDW;OAK;WN;5078;OAK;LAX   JOHNCHESTER            IA                    US   65348 130985745@KACHIPYTEL.COM
 WVGMTD   11/24/2020 OB    12/3/2020 WN;2247;CLT;BWI                   NEW JOSEPHBOROUGH      FL                    US   22377 130987120@KACHIPYTEL.COM
 WVKLHM   11/24/2020 OB   11/24/2020 WN;6936;LAS;MDW;WN;2049;MDW;BOS   SINGHSIDE              IL                    US   66465 130987406@KACHIPYTEL.COM
 KXRCHT   11/25/2020 OB   11/28/2020 WN;667;MCO;ATL;WN;2108;ATL;LGA    KRAMERMOUTH            NV                    US   75591 131061964@KACHIPYTEL.COM
 KZ35GE   11/25/2020 OB   11/26/2020 WN;6933;ATL;MDW;WN;1941;MDW;BUF   PORT GINA              WA                    US   38474 131062316@KACHIPYTEL.COM
 KZWF4D   11/25/2020 OB   12/15/2020 WN;2510;MDW;LAX                   MARCIATOWN             MT                    US   78483 131063108@KACHIPYTEL.COM
 L4626T   11/25/2020 OB     1/8/2021 WN;2846;RNO;DEN                   FLYNNCHESTER           MO                    US   30215 131064054@KACHIPYTEL.COM
 L4626T   11/25/2020 OB     1/8/2021 WN;2846;RNO;DEN                   FLYNNCHESTER           MO                    US   30215 131064054@KACHIPYTEL.COM
 L4626T   11/25/2020 OB     1/8/2021 WN;2846;RNO;DEN                   FLYNNCHESTER           MO                    US   30215 131064054@KACHIPYTEL.COM
 L5M539   11/25/2020 OB   11/25/2020 WN;6934;DCA;ATL;WN;2096;ATL;MCO   HERNANDEZBURGH         FL                    US   60245 131065176@KACHIPYTEL.COM
 L698SF   11/25/2020 OB   11/25/2020 WN;2932;DCA;BNA;WN;5056;BNA;FLL   PORT SEAN              SD                    US   48220 131065264@KACHIPYTEL.COM
 L6YEIY   11/25/2020 OB   11/27/2020 WN;820;LAX;BNA;WN;302;BNA;MCO     NEW KRISTAFORT         NY                    US   15531 131065847@KACHIPYTEL.COM
 L9GNBZ   11/25/2020 OB    12/5/2020 WN;2206;RIC;ATL                   WEST JILLSHIRE         OK                    US   40553 131067233@KACHIPYTEL.COM
 L9IUHI   11/25/2020 OB    12/1/2020 WN;527;DEN;TPA;WN;1063;TPA;MIA    PORT ASHLEYFORT        VA                    US   92384 131067453@KACHIPYTEL.COM
 L9P9PN   11/25/2020 OB    12/5/2020 WN;1975;TPA;BWI;WN;63;BWI;BOS     VALERIEVILLE           OH                    US    2630 131067134@KACHIPYTEL.COM
 LB45UE   11/25/2020 OB   11/30/2020 WN;1058;MIA;BWI                   HENDERSONMOUTH         RI                    US   67219 131068256@KACHIPYTEL.COM
 LB45UE   11/25/2020 OB    12/2/2020 WN;3302;BWI;CLE                   HENDERSONMOUTH         RI                    US   67219 131068256@KACHIPYTEL.COM
 LBEU58   11/25/2020 OB   11/25/2020 WN;2505;ATL;RSW;WN;4822;RSW;MCO   COLLINSBOROUGH         NH                    US   81145 131068707@KACHIPYTEL.COM
 LESOZJ   11/25/2020 OB   11/25/2020 WN;4394;MDW;BNA;WN;3133;BNA;BOS   LAKE CHRISTINA         SC                    US    5709 131070863@KACHIPYTEL.COM
 LFBDN4   11/25/2020 OB   11/25/2020 WN;1894;LAX;MSY;WN;4270;MSY;FLL   LAKE ROBERT            HI                    US   55556 131071094@KACHIPYTEL.COM
 LFBDN4   11/25/2020 OB   11/25/2020 WN;1894;LAX;MSY;WN;4270;MSY;FLL   LAKE ROBERT            HI                    US   55556 131071094@KACHIPYTEL.COM
 LFZSVH   11/25/2020 OB   11/29/2020 WN;1697;BOS;BWI;WN;2190;BWI;BUF   GOYANGSI               GANGWEONDO            KR   11741 131071688@KACHIPYTEL.COM
 LGYNTP   11/25/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     EAST ROBERT            VT                    US   35092 131072051@KACHIPYTEL.COM
 LGYNTP   11/25/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     EAST ROBERT            VT                    US   35092 131072051@KACHIPYTEL.COM
 LHGVZC   11/25/2020 OB   11/25/2020 WN;3822;MDW;BWI                   HOUSEFORT              NM                    US   46951 131072172@KACHIPYTEL.COM
 LHRLF9   11/25/2020 OB   11/28/2020 WN;2159;LAX;SAT;WN;1774;SAT;MCO   WEST AARON             DUMYAT                EG    8273 131072491@KACHIPYTEL.COM
 LIJQZV   11/25/2020 OB    12/6/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   ALYSSACHESTER          HI                    US   84058 131072766@KACHIPYTEL.COM
 LKHPEB   11/25/2020 OB   11/27/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     LISASTAD               AZ                    US   13231 131073855@KACHIPYTEL.COM
 LM6H7X   11/25/2020 OB    12/4/2020 WN;3343;LGA;ATL;WN;3490;ATL;RSW   EAST ALLISON           WY                    US    9940 131074636@KACHIPYTEL.COM
 LNWEFI   11/25/2020 OB    12/8/2020 WN;2673;BDL;BWI;WN;102;BWI;MIA    SOUTH ASHLEYCHESTER    CT                    US   88328 131075637@KACHIPYTEL.COM
 LNZ3K2   11/25/2020 OB   11/25/2020 WN;4455;ATL;LGA                   WALLTOWN               UT                    US   17603 131075890@KACHIPYTEL.COM
 LQ4VSR   11/25/2020 OB   11/25/2020 WN;1857;ATL;PHX;WN;2441;PHX;LAX   CHRISTOPHERTOWN        NM                    US   21846 131077078@KACHIPYTEL.COM
 LQPSHP   11/25/2020 OB   11/25/2020 WN;4175;SLC;SAN;WN;4946;SAN;LAS   AMBERLAND              WV                    US   46482 131077298@KACHIPYTEL.COM
 LTSAGC   11/25/2020 OB    12/7/2020 WN;5034;MDW;BWI;WN;102;BWI;MIA    PECKTON                SD                    US   66312 131079212@KACHIPYTEL.COM
 LTZ9PA   11/25/2020 OB    12/5/2020 WN;3594;BWI;MDW                   EAST APRIL             UT                    US    3575 131079509@KACHIPYTEL.COM
 LVFWOV   11/25/2020 OB   11/28/2020 WN;1621;MCO;BNA;WN;914;BNA;LGA    EAST JASONBOROUGH      NJ                    US   51790 131080323@KACHIPYTEL.COM
 LX749Y   11/25/2020 OB   11/26/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   NEW VALERIE            DE                    US   66745 131081797@KACHIPYTEL.COM
 MHEVNZ   11/25/2020 OB   11/26/2020 WN;6959;ATL;MDW;WN;1941;MDW;BUF   NEW BRANDONTON         WY                    US   24758 131100574@KACHIPYTEL.COM
 MN97SR   11/25/2020 OB   11/26/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   EAST JENNIFER          KS                    US   82183 131107141@KACHIPYTEL.COM
 MQ7D5I   11/25/2020 OB   11/26/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   DANIELLETON            GA                    US   19498 131110683@KACHIPYTEL.COM
 MQU7HS   11/25/2020 OB    12/2/2020 WN;2247;CLT;BWI;WN;3195;BWI;MCO   MARKTON                OK                    US   56781 131111618@KACHIPYTEL.COM
 MRNJ4O   11/25/2020 OB    12/2/2020 WN;3540;IND;RSW;WN;4012;RSW;BWI   MONICAFORT             SC                    US   62079 131112432@KACHIPYTEL.COM
 MSZ4EQ   11/25/2020 OB   11/26/2020 WN;6933;ATL;MDW;WN;1941;MDW;BUF   LAKE SCOTTBURY         UT                    US   68033 131113774@KACHIPYTEL.COM
 MVLOHE   11/25/2020 OB   11/25/2020 WN;4531;ATL;MDW;WN;3018;MDW;BUF   PORT KRISTIVILLE       KS                    US   97838 131117151@KACHIPYTEL.COM
 MVLOHE   11/25/2020 OB   11/25/2020 WN;4531;ATL;MDW;WN;3018;MDW;BUF   PORT KRISTIVILLE       KS                    US   97838 131117151@KACHIPYTEL.COM
 MW75BY   11/25/2020 OB   12/18/2020 WN;6879;GEG;DEN;WN;926;DEN;SMF    JENNIFERBURGH          NM                    US   39818 131117976@KACHIPYTEL.COM
 MXXCV5   11/25/2020 OB   11/26/2020 WN;6959;ATL;MDW;WN;1941;MDW;BUF   LAKE MARK              UT                    US   84877 131120341@KACHIPYTEL.COM
 N5TFJ6   11/25/2020 OB   11/30/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA   LAKE CAROLYN           SC                    US   65399 131127436@KACHIPYTEL.COM
 NCGJ2P   11/25/2020 OB   12/13/2020 WN;3435;HOU;OAK;WN;2959;OAK;ONT   KELLERMOUTH            VT                    US   63182 131137160@KACHIPYTEL.COM
 NCGJ2P   11/25/2020 OB   12/13/2020 WN;3435;HOU;OAK;WN;2959;OAK;ONT   KELLERMOUTH            VT                    US   63182 131137160@KACHIPYTEL.COM
 NCGJ2P   11/25/2020 OB   12/13/2020 WN;3435;HOU;OAK;WN;2959;OAK;ONT   KELLERMOUTH            VT                    US   63182 131137160@KACHIPYTEL.COM
 NCRFHO   11/25/2020 OB    12/8/2020 WN;4756;OAK;HOU;WN;2356;HOU;MDW   PORT RONALDFORT        MT                    US   35445 131137160@KACHIPYTEL.COM
 NCRFHO   11/25/2020 OB    12/8/2020 WN;4756;OAK;HOU;WN;2356;HOU;MDW   PORT RONALDFORT        MT                    US   35445 131137160@KACHIPYTEL.COM
 NCRFHO   11/25/2020 OB    12/8/2020 WN;4756;OAK;HOU;WN;2356;HOU;MDW   PORT RONALDFORT        MT                    US   35445 131137160@KACHIPYTEL.COM
 NG2RVV   11/25/2020 OB   11/29/2020 WN;1875;MKE;TPA;WN;1061;TPA;MIA   WEST PAIGELAND         WA                    US   73715 131140889@KACHIPYTEL.COM
 NJN7XH   11/25/2020 OB   11/26/2020 WN;6959;ATL;MDW;WN;1941;MDW;BUF   WATTSMOUTH             MN                    US   76313 131145256@KACHIPYTEL.COM
 NJTPOH   11/25/2020 OB   11/28/2020 WN;1965;MDW;AUS;WN;1928;AUS;DAL   EAST WILLIAM           MD                    US   11832 131145454@KACHIPYTEL.COM
 NMPTBY   11/25/2020 OB     3/4/2021 WN;3368;ATL;HOU                   NORTH CALVINBURY       AK                    US   89531 131149205@KACHIPYTEL.COM




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 NMUI5O   11/25/2020 OB     3/8/2021 WN;1015;SAT;ATL;WN;2079;ATL;MSY   BENSONVIEW             IA                US    8092 131149205@KACHIPYTEL.COM
 NO94AL   11/25/2020 OB    12/4/2020 WN;2046;ATL;HOU                   MYERSSHIRE             RI                US   70182 131150910@KACHIPYTEL.COM
 NPVI67   11/25/2020 OB   11/26/2020 WN;6959;ATL;MDW;WN;1941;MDW;BUF   ROBBINSBOROUGH         RI                US   70005 131152384@KACHIPYTEL.COM
 NSEPVR   11/25/2020 OB    12/1/2020 WN;621;BNA;MDW;WN;1011;MDW;MIA    MIABOROUGH             KY                US   91688 131154430@KACHIPYTEL.COM
 NX3FFZ   11/26/2020 OB   11/26/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   LAKE JOHNTON           FL                US   74376 131158126@KACHIPYTEL.COM
 NYUMB4   11/26/2020 OB   11/26/2020 WN;6369;IND;ATL;WN;4743;ATL;AUS   BREWERVIEW             IA                US    1101 131159259@KACHIPYTEL.COM
 NZOD84   11/26/2020 OB   11/28/2020 WN;1965;MDW;AUS;WN;708;AUS;CUN    EAST JONATHAN          FL                US   22936 131159446@KACHIPYTEL.COM
 NZS7K5   11/26/2020 OB   11/26/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   EAST DYMH              HAIL              SA   29301 131159688@KACHIPYTEL.COM
 O2RI4B   11/26/2020 OB   12/22/2020 WN;805;RSW;ATL;WN;3360;ATL;LGA    POTTERCHESTER          LA                US   83150 131160238@KACHIPYTEL.COM
 O8GGKE   11/26/2020 OB   12/18/2020 WN;1505;OKC;LAS;WN;1122;LAS;STL   SOUTH JOHNBERG         MT                US   45534 131163373@KACHIPYTEL.COM
 OCDU84   11/26/2020 OB   11/26/2020 WN;4969;ATL;DCA;WN;4971;DCA;BNA   SOUTH BRETT            NY                US   11726 131165243@KACHIPYTEL.COM
 OD3WYZ   11/26/2020 OB   11/26/2020 WN;4487;BUF;MDW;WN;2987;MDW;ATL   CABRERAMOUTH           CA                US    9822 131165540@KACHIPYTEL.COM
 ODUKTD   11/26/2020 OB   11/26/2020 WN;3236;SAT;DEN;WN;569;DEN;OAK    TRIBENII               DELHI             IN   93225 131165793@KACHIPYTEL.COM
 OFAKNX   11/26/2020 OB   11/28/2020 WN;2367;RIC;ATL;WN;1237;ATL;FLL   SHANNONFORT            NH                US   59442 131166486@KACHIPYTEL.COM
 OFPA53   11/26/2020 OB   11/28/2020 WN;2367;RIC;ATL;WN;1237;ATL;FLL   SOUTH CHARLESBURGH     OH                US   95634 131166541@KACHIPYTEL.COM
 OGHZGB   11/26/2020 OB    12/2/2020 WN;2288;MSY;BNA;WN;4766;BNA;PHL   BROWNBERG              ME                US   83658 131167520@KACHIPYTEL.COM
 OGHZGB   11/26/2020 OB    12/2/2020 WN;2288;MSY;BNA;WN;4766;BNA;PHL   BROWNBERG              ME                US   83658 131167520@KACHIPYTEL.COM
 OGI6F9   11/26/2020 OB    12/7/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    JENNIFERFURT           NY                US   96907 131167432@KACHIPYTEL.COM
 OGI6F9   11/26/2020 OB    12/7/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    JENNIFERFURT           NY                US   96907 131167432@KACHIPYTEL.COM
 ONXEXO   11/26/2020 OB   11/26/2020 WN;1990;ATL;BWI;WN;3502;BWI;ROC   NEW KYLEPORT           MA                US   92455 131171843@KACHIPYTEL.COM
 ONXEXO   11/26/2020 OB   11/26/2020 WN;1990;ATL;BWI;WN;3502;BWI;ROC   NEW KYLEPORT           MA                US   92455 131171843@KACHIPYTEL.COM
 ONXEXO   11/26/2020 OB   11/26/2020 WN;1990;ATL;BWI;WN;3502;BWI;ROC   NEW KYLEPORT           MA                US   92455 131171843@KACHIPYTEL.COM
 ONXEXO   11/26/2020 OB   11/26/2020 WN;1990;ATL;BWI;WN;3502;BWI;ROC   NEW KYLEPORT           MA                US   92455 131171843@KACHIPYTEL.COM
 OR84DR   11/26/2020 OB   11/26/2020 WN;1990;ATL;BWI;WN;2728;BWI;BUF   SAMANTHAVILLE          NV                US   47896 131174076@KACHIPYTEL.COM
 OR84DR   11/26/2020 OB   11/26/2020 WN;1990;ATL;BWI;WN;2728;BWI;BUF   SAMANTHAVILLE          NV                US   47896 131174076@KACHIPYTEL.COM
 ORUK6D   11/26/2020 OB   11/27/2020 WN;1433;PDX;PHX;WN;508;PHX;MCI    EAST GILBERT           ND                US   48173 131174417@KACHIPYTEL.COM
 PETSRN   11/26/2020 OB   11/28/2020 WN;4354;CLE;BWI;WN;560;BWI;BOS    JAMESVIEW              KY                US   98956 131193953@KACHIPYTEL.COM
 PJO48Z   11/26/2020 OB   11/26/2020 WN;2016;ATL;BWI;WN;2823;BWI;ROC   LAKE MARGARETPORT      VT                US   40668 131199574@KACHIPYTEL.COM
 PP4AVC   11/26/2020 OB   12/11/2020 WN;2461;RSW;ATL                   CRAWFORDBURGH          MD                US   22752 131205239@KACHIPYTEL.COM
 PSEOCG   11/26/2020 OB   12/10/2020 WN;2855;PDX;LAS                   STEPHENVILLE           HI                US   11154 131209001@KACHIPYTEL.COM
 PT7Q8A   11/26/2020 OB   12/25/2020 WN;2234;LAX;STL;WN;4099;STL;ATL   EAST JOSE              WA                US   45404 131209529@KACHIPYTEL.COM
 PXWMGZ   11/26/2020 OB   11/26/2020 WN;4608;LAX;OAK;WN;4321;OAK;SLC   LAKE JACOB             MI                US   12345 131216063@KACHIPYTEL.COM
 PZ55AI   11/26/2020 OB   11/26/2020 WN;535;CVG;DEN;WN;2606;DEN;PHX    VIEJA BRASIL           BAJA CALIFORNIA   MX   15171 131216866@KACHIPYTEL.COM
 PZ55AI   11/26/2020 OB   11/26/2020 WN;535;CVG;DEN;WN;2606;DEN;PHX    VIEJA BRASIL           BAJA CALIFORNIA   MX   15171 131216866@KACHIPYTEL.COM
 Q8GHUG   11/26/2020 OB    12/4/2020 WN;3343;LGA;ATL;WN;3490;ATL;RSW   PORT LOGANVIEW         MD                US    7943 131226117@KACHIPYTEL.COM
 Q9R5UR   11/26/2020 OB    12/6/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    LAKE KENNETH           NY                US   64746 131227932@KACHIPYTEL.COM
 QC6DKG   11/26/2020 OB   11/30/2020 WN;4884;ATL;BWI                   EAST DANIELBERG        ND                US   87374 131231221@KACHIPYTEL.COM
 QHV9ZO   11/26/2020 OB   11/27/2020 WN;1301;PHX;ATL;WN;2079;ATL;MSY   AMYTON                 CT                US   47281 131238085@KACHIPYTEL.COM
 QLIZSR   11/26/2020 OB   11/29/2020 WN;3892;CVG;BWI                   TRANMOUTH              MO                US   91361 131241528@KACHIPYTEL.COM
 QM457H   11/26/2020 OB   11/29/2020 WN;2715;ATL;STL;WN;3730;STL;DTW   LELYSTAD               SINT EUSTATIUS    NL   80012 131241803@KACHIPYTEL.COM
 QPMQV9   11/26/2020 OB    12/1/2020 WN;143;ATL;MDW;WN;2435;MDW;BDL    NORTH KIMBERLY         MN                US   30692 131245136@KACHIPYTEL.COM
 QSOOOS   11/26/2020 OB   11/27/2020 WN;516;SMF;HOU;WN;1802;HOU;MCO    NEW MICHAELPORT        IL                US   94807 131247006@KACHIPYTEL.COM
 QTJYQM   11/26/2020 OB   11/30/2020 WN;4769;MCO;MDW;WN;3387;MDW;LGA   BARRETTMOUTH           NY                US   53674 131247446@KACHIPYTEL.COM
 QV4HLD   11/26/2020 OB   11/27/2020 WN;1117;MSP;MDW                   WEST HENRYBURY         WA                US   15154 131248854@KACHIPYTEL.COM
 QW2PWE   11/27/2020 OB   11/27/2020 WN;770;LAX;MSY;WN;1082;MSY;MCO    NORTH MARK             IL                US   78714 131249294@KACHIPYTEL.COM
 R95DUH   11/27/2020 OB   11/29/2020 WN;3246;FLL;HOU;WN;4318;HOU;MSY   REBEKAHMOUTH           IN                US   14219 131254321@KACHIPYTEL.COM
 R976A2   11/27/2020 OB    1/15/2021 WN;3379;HOU;BNA;WN;1909;BNA;SAT   PORT SARAHHAVEN        MI                US   92328 131254156@KACHIPYTEL.COM
 R976A2   11/27/2020 OB    1/15/2021 WN;3379;HOU;BNA;WN;1909;BNA;SAT   PORT SARAHHAVEN        MI                US   92328 131254156@KACHIPYTEL.COM
 RAJBQS   11/27/2020 OB   11/29/2020 WN;1701;TPA;DAL;WN;1866;DAL;DTW   EAST TRACIMOUTH        NV                US   38933 131255212@KACHIPYTEL.COM
 RB7VKE   11/27/2020 OB    12/3/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    RODRIGUEZSTAD          IL                US   10807 131255465@KACHIPYTEL.COM
 RDCWPD   11/27/2020 OB   11/27/2020 WN;51;MCO;DEN                     NORTH MARKFORT         IA                US   89138 131256312@KACHIPYTEL.COM
 RG6A76   11/27/2020 OB    12/2/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   HALEYHAVEN             WI                US   85990 131257885@KACHIPYTEL.COM
 RJZSKW   11/27/2020 OB   11/27/2020 WN;689;FLL;DEN                    EVANSMOUTH             IL                US   20680 131259865@KACHIPYTEL.COM
 RMOJ6W   11/27/2020 OB   11/27/2020 WN;1334;ATL;MCO;WN;1185;MCO;BUF   NORTH CHRISTOPHERVIL   CT                US   96494 131261009@KACHIPYTEL.COM
 RMVSLQ   11/27/2020 OB    12/7/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   WILSONVIEW             UT                US   34579 131260855@KACHIPYTEL.COM
 RXJPVW   11/27/2020 OB   11/27/2020 WN;941;ATL;MDW                    ORTIZFURT              NC                US   12077 131267235@KACHIPYTEL.COM
 RXJPVW   11/27/2020 OB   11/27/2020 WN;941;ATL;MDW                    ORTIZFURT              NC                US   12077 131267235@KACHIPYTEL.COM
 S8YGU7   11/27/2020 OB    12/7/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   PORT JESSICABERG       OK                US   43549 131276134@KACHIPYTEL.COM
 SEZFCM   11/27/2020 OB   11/29/2020 WN;1725;ATL;MCO;WN;3249;MCO;ROC   JAMESHAVEN             UT                US   12626 131283823@KACHIPYTEL.COM
 SPFMUN   11/27/2020 OB   11/28/2020 WN;2367;ATL;MCO;WN;192;MCO;BUF    PORT JAMESBERG         MA                US   88483 131296616@KACHIPYTEL.COM
 SQDBG6   11/27/2020 OB    12/1/2020 WN;1087;MCO;BNA;WN;1587;BNA;LGA   VIEJA SWAZILANDIA      SONORA            MX   52526 131297364@KACHIPYTEL.COM
 STJLSE   11/27/2020 OB   11/27/2020 WN;1366;ATL;TPA                   LAKE ERICSHIRE         GA                US   18766 130868815@KACHIPYTEL.COM
 STKJL8   11/27/2020 OB   12/13/2020 WN;2107;TPA;BWI;WN;2510;BWI;BOS   WEST MICHAEL           AZ                US   80429 131301566@KACHIPYTEL.COM
 STWNKA   11/27/2020 OB   11/29/2020 WN;3148;DTW;MDW;WN;2682;MDW;BOS   SOUTH GARYBURGH        NE                US   49514 131302479@KACHIPYTEL.COM
 SU74KI   11/27/2020 OB   11/28/2020 WN;1845;PHX;ATL                   WEST SONYABOROUGH      KS                US   17295 131302501@KACHIPYTEL.COM
 SUUBDD   11/27/2020 OB   12/13/2020 WN;1878;MDW;BWI;WN;2593;BWI;BOS   EAST GARYMOUTH         MA                US   32059 131303139@KACHIPYTEL.COM
 SV28B8   11/27/2020 OB   11/30/2020 WN;3726;PHL;ATL;WN;2505;ATL;RSW   EAST JEFFREY           NY                US   49312 131303656@KACHIPYTEL.COM
 SV3EE7   11/27/2020 OB   12/26/2020 WN;2108;DCA;MDW;WN;6875;MDW;DTW   EAST JEAN              TN                US   87615 131303139@KACHIPYTEL.COM
 SYGC89   11/27/2020 OB   11/28/2020 WN;2075;LAX;HOU;WN;1849;HOU;MCO   BENJAMINFORT           CO                US    8656 131307803@KACHIPYTEL.COM
 SZ6VHZ   11/27/2020 OB    12/5/2020 WN;3394;LAX;HOU;WN;2218;HOU;MDW   JOHNNYSIDE             TN                US   21398 131308562@KACHIPYTEL.COM
 SZ6VHZ   11/27/2020 OB    12/5/2020 WN;3394;LAX;HOU;WN;2218;HOU;MDW   JOHNNYSIDE             TN                US   21398 131308562@KACHIPYTEL.COM
 SZTLI7   11/27/2020 OB   11/28/2020 WN;1237;ATL;FLL;WN;23;FLL;BUF     ROBERTSTAD             NH                US   90760 131309134@KACHIPYTEL.COM
 T25L94   11/27/2020 OB   12/10/2020 WN;1914;LGA;MDW;WN;4491;MDW;DTW   BROWNFURT              WV                US   96424 131309409@KACHIPYTEL.COM
 T25L94   11/27/2020 OB   12/10/2020 WN;1914;LGA;MDW;WN;4491;MDW;DTW   BROWNFURT              WV                US   96424 131309409@KACHIPYTEL.COM
 T4CAAZ   11/27/2020 OB   11/28/2020 WN;2094;ATL;MDW                   WEST JOHNATHANVILLE    KS                US   14088 131312544@KACHIPYTEL.COM
 T4CAAZ   11/27/2020 OB   11/28/2020 WN;2094;ATL;MDW                   WEST JOHNATHANVILLE    KS                US   14088 131312544@KACHIPYTEL.COM
 TDXP9S   11/27/2020 OB    12/1/2020 WN;1008;ATL;BWI                   EAST AMYTON            MT                US   13258 131325381@KACHIPYTEL.COM
 TE3WCF   11/27/2020 OB    12/4/2020 WN;3343;LGA;ATL;WN;3490;ATL;RSW   EAST SARAH             NE                US   95770 131325227@KACHIPYTEL.COM
 TFCUHZ   11/27/2020 OB    12/4/2020 WN;3075;MIA;BWI;WN;2527;BWI;BNA   NORTH DEREK            KS                US   26995 131327174@KACHIPYTEL.COM
 THFSRH   11/27/2020 OB    12/5/2020 WN;565;CLT;DAL;WN;3242;DAL;MCO    AGRTLAA                KARNATAKA         IN   90685 131329407@KACHIPYTEL.COM
 THFSRH   11/27/2020 OB    12/5/2020 WN;565;CLT;DAL;WN;3242;DAL;MCO    AGRTLAA                KARNATAKA         IN   90685 131329407@KACHIPYTEL.COM
 TTDLC6   11/27/2020 OB   12/31/2020 WN;4572;BWI;ATL;WN;3254;ATL;RDU   WENDYBOROUGH           MD                US    2595 131341122@KACHIPYTEL.COM
 TTHQF3   11/27/2020 OB    12/2/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   DONNATON               NC                US   96708 131341639@KACHIPYTEL.COM
 TUN3UT   11/27/2020 OB   11/30/2020 WN;3042;FLL;TPA;WN;3384;TPA;LGA   RODRIGUEZPORT          ID                US   18216 131342398@KACHIPYTEL.COM
 TUN3UT   11/27/2020 OB   11/30/2020 WN;3042;FLL;TPA;WN;3384;TPA;LGA   RODRIGUEZPORT          ID                US   18216 131342398@KACHIPYTEL.COM
 TUV423   11/27/2020 OB    12/5/2020 WN;4658;PHL;MCO;WN;2214;MCO;SJU   ALEXALAND              IA                US   12560 131342541@KACHIPYTEL.COM
 TVAIDZ   11/27/2020 OB   12/19/2020 WN;2059;IND;ATL                   NORTH JUSTIN           CA                US   14669 131342629@KACHIPYTEL.COM
 4A9IP4   11/28/2020 OB   11/28/2020 WN;1965;MDW;AUS                   HILLSIDE               IL                US   60162 131159446@KACHIPYTEL.COM
 TXX8AE   11/28/2020 OB   12/29/2020 WN;6272;AUS;ATL;WN;938;ATL;STL    HOLWIERDE              SINT EUSTATIUS    NL   75094 131344609@KACHIPYTEL.COM
 TXX8AE   11/28/2020 OB   12/29/2020 WN;6272;AUS;ATL;WN;938;ATL;STL    HOLWIERDE              SINT EUSTATIUS    NL   75094 131344609@KACHIPYTEL.COM
 U2AFP2   11/28/2020 OB   11/30/2020 WN;6838;ATL;DCA;WN;6880;DCA;MDW   MATTHEWBERG            AR                US   66794 131345698@KACHIPYTEL.COM
 U2U33H   11/28/2020 OB    12/2/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   EAST KAYLA             GA                US   26858 131346204@KACHIPYTEL.COM
 U4PNWG   11/28/2020 OB    12/4/2020 WN;2531;LAS;BWI;WN;3111;BWI;BOS   EAST MARIATOWN         SD                US    3229 131347172@KACHIPYTEL.COM
 U97BLK   11/28/2020 OB   12/18/2020 WN;571;FLL;STL;WN;6709;STL;MDW    NEW LARRY              ID                US    7443 131350131@KACHIPYTEL.COM
 U9LMHA   11/28/2020 OB   11/30/2020 WN;1846;SFO;MDW;WN;1692;MDW;MCO   WILLIAMLAND            CO                US   67218 131349999@KACHIPYTEL.COM
 U9N9VN   11/28/2020 OB   12/12/2020 WN;3351;STL;FLL;WN;29;FLL;ATL     AMYFURT                ME                US   42970 131350131@KACHIPYTEL.COM
 UI8EQU   11/28/2020 OB   11/28/2020 WN;1237;ATL;FLL;WN;23;FLL;BUF     PORT PAUL              MD                US   47935 131354817@KACHIPYTEL.COM
 UJ2Z3Y   11/28/2020 OB   11/28/2020 WN;1237;ATL;FLL;WN;23;FLL;BUF     NORTH DIANATON         GA                US   40757 131355114@KACHIPYTEL.COM
 UMSPC9   11/28/2020 OB    12/6/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   WEST SCOTT             MA                US   68353 131356566@KACHIPYTEL.COM
 UO6YWD   11/28/2020 OB    12/5/2020 WN;4134;ATL;BWI;WN;4466;BWI;BUF   NGUYENSHIRE            CA                US   94006 131357534@KACHIPYTEL.COM
 UVX8VZ   11/28/2020 OB   11/28/2020 WN;2103;CLE;MDW;WN;1941;MDW;BOS   PORT JOHN              WV                US   51209 131360141@KACHIPYTEL.COM
 V9YFSS   11/28/2020 OB    12/7/2020 WN;2247;CLT;BWI                   KIMBERLYFORT           VA                US   19650 131367236@KACHIPYTEL.COM
 VO6B22   11/28/2020 OB    12/1/2020 WN;126;LGA;MDW;WN;1250;MDW;MCO    COOKHAVEN              NY                US   88105 131378731@KACHIPYTEL.COM
 VYR3YX   11/28/2020 OB   12/13/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   RAYMONDFURT            NM                US   58908 131388807@KACHIPYTEL.COM
 VYR3YX   11/28/2020 OB   12/13/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   RAYMONDFURT            NM                US   58908 131388807@KACHIPYTEL.COM
 VYR3YX   11/28/2020 OB   12/13/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   RAYMONDFURT            NM                US   58908 131388807@KACHIPYTEL.COM
 VYR3YX   11/28/2020 OB   12/13/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   RAYMONDFURT            NM                US   58908 131388807@KACHIPYTEL.COM
 VZ8CA7   11/28/2020 OB   11/29/2020 WN;1866;DTW;MDW;WN;2049;MDW;BOS   NEALHAVEN              AR                US   97240 131389324@KACHIPYTEL.COM
 VZGQOX   11/28/2020 OB   12/12/2020 WN;4714;CLE;PHX;WN;2085;PHX;LAX   ANTHONYMOUTH           VT                US   79621 131389247@KACHIPYTEL.COM




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 W2N4UJ   11/28/2020 OB   11/29/2020 WN;1875;MKE;TPA;WN;1061;TPA;MIA   EAST ANDREA            UT                      US   69956 131391205@KACHIPYTEL.COM
 W3GU58   11/28/2020 OB    12/7/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    DONALDPORT             NE                      US   71529 131392426@KACHIPYTEL.COM
 W48QZ9   11/28/2020 OB   12/20/2020 WN;335;MCO;ATL                    PORT ROBERTVIEW        GA                      US   52013 131392701@KACHIPYTEL.COM
 W48QZ9   11/28/2020 RT     1/4/2021 WN;133;ATL;MCO                    PORT ROBERTVIEW        GA                      US   52013 131392701@KACHIPYTEL.COM
 W4QV27   11/28/2020 OB    12/2/2020 WN;2685;CLE;BWI;WN;2221;BWI;MIA   THOMASMOUTH            LA                      US   35768 131392910@KACHIPYTEL.COM
 WAKCY2   11/28/2020 OB   11/29/2020 WN;6998;SMF;DAL                   LAKE MARIO             IL                      US   66958 131400082@KACHIPYTEL.COM
 WCVU63   11/28/2020 OB    12/3/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   EAST ANDREA            SD                      US   28381 131402095@KACHIPYTEL.COM
 WDGZSE   11/28/2020 OB   11/30/2020 WN;4884;ATL;BWI;WN;2093;BWI;ROC   KATHERINEHAVEN         CA                      US   59381 131403250@KACHIPYTEL.COM
 WEGJSG   11/28/2020 OB    12/5/2020 WN;2324;RSW;ATL;WN;2297;ATL;LGA   WEST LINDA             WV                      US   19612 131403965@KACHIPYTEL.COM
 WHIMZR   11/28/2020 OB    12/4/2020 WN;3368;ATL;HOU;WN;661;HOU;MIA    MATTHEWSPORT           MN                      US   56376 131407529@KACHIPYTEL.COM
 WI9FXF   11/28/2020 OB    12/1/2020 WN;118;AUS;BWI;WN;331;BWI;MIA     WEST JAMES             WA                      US   37194 131408376@KACHIPYTEL.COM
 WJXEFL   11/28/2020 OB   12/11/2020 WN;4547;PHL;ATL;WN;3490;ATL;RSW   APRILMOUTH             IN                      US    1383 131410015@KACHIPYTEL.COM
 WL672Z   11/28/2020 OB    12/8/2020 WN;1990;ATL;BWI;WN;331;BWI;MIA    BAXTERVILLE            MD                      US   65051 131410785@KACHIPYTEL.COM
 WLACET   11/28/2020 OB    12/1/2020 WN;621;BNA;MDW;WN;1011;MDW;MIA    JOSEPHVILLE            WA                      US   96265 131411368@KACHIPYTEL.COM
 WNBMVN   11/28/2020 OB   12/23/2020 WN;4510;RDU;TPA                   SOUTH CAROLBOROUGH     KS                      US   61115 131413128@KACHIPYTEL.COM
 WNO8UA   11/28/2020 OB    1/18/2021 WN;3804;LGA;STL;WN;5072;STL;FLL   QUARTO NINFA CALABRO   ISERNIA                 IT   62316 131412743@KACHIPYTEL.COM
 WRVW4H   11/28/2020 OB   12/11/2020 WN;2246;ATL;STL;WN;1933;STL;MDW   JASONVIEW              WY                      US   10251 131415966@KACHIPYTEL.COM
 WSVH3N   11/28/2020 OB    12/2/2020 WN;5034;MDW;BWI;WN;2593;BWI;BOS   MORILLOLAND            NOVA SCOTIA             CA   56427 131416835@KACHIPYTEL.COM
 WU6VSA   11/28/2020 OB   11/30/2020 WN;3258;HOU;MCO                   SAN ABRAHAM LOS ALTO   CHIAPAS                 MX   31432 131417253@KACHIPYTEL.COM
 WVTAYB   11/28/2020 OB   11/29/2020 WN;1725;ATL;MCO;WN;3249;MCO;ROC   PORT MARYBURY          ND                      US   64466 131418353@KACHIPYTEL.COM
 J3JIRH   11/29/2020 OB    12/1/2020 WN;941;ATL;MDW;WN;114;MDW;BUF     DAVISFORT              NV                      US   57052 131421675@KACHIPYTEL.COM
 J3RAF4   11/29/2020 OB   12/20/2020 WN;376;STL;AUS                    AKUMAAFURT             UPPER WEST              GH   46709 131421521@KACHIPYTEL.COM
 J9OMKW   11/29/2020 OB   12/16/2020 WN;4385;SEA;OAK;WN;1148;OAK;LAX   GEORGECHESTER          NE                      US    6603 131424051@KACHIPYTEL.COM
 JAM9U8   11/29/2020 OB   12/11/2020 WN;2568;ATL;LAS                   GONZALESVIEW           FL                      US   73092 131424381@KACHIPYTEL.COM
 JAMSHK   11/29/2020 OB    12/2/2020 WN;1914;LGA;MDW;WN;3388;MDW;MCO   AGRTLAA                ANDHRA PRADESH          IN   85272 131424634@KACHIPYTEL.COM
 JDBORD   11/29/2020 OB   11/29/2020 WN;2034;FLL;ATL;WN;1613;ATL;RDU   JOSEBERG               WA                      US   47529 131425745@KACHIPYTEL.COM
 JDBORD   11/29/2020 OB   11/29/2020 WN;2034;FLL;ATL;WN;1613;ATL;RDU   JOSEBERG               WA                      US   47529 131425745@KACHIPYTEL.COM
 JDM58F   11/29/2020 OB   11/29/2020 WN;1937;SDF;DEN;WN;3261;DEN;MCI   WEST BRIDGET           IL                      US   18717 131425789@KACHIPYTEL.COM
 JHY94S   11/29/2020 OB    12/5/2020 WN;4461;PIT;LAS;WN;4468;LAS;SEA   NORTH ELIZABETHHAVEN   ID                      US   76717 131427373@KACHIPYTEL.COM
 JISFU5   11/29/2020 OB    12/5/2020 WN;3452;ATL;HOU;WN;2409;HOU;MIA   JENNINGSTOWN           WY                      US   47034 131427659@KACHIPYTEL.COM
 JNXLMY   11/29/2020 OB    12/1/2020 WN;900;ATL;MDW                    HARRISONFORT           NC                      US   10772 131429529@KACHIPYTEL.COM
 JQLWKC   11/29/2020 OB   12/10/2020 WN;2664;BOS;BNA;WN;2931;BNA;MDW   PORT JESSE             DE                      US   92909 131430123@KACHIPYTEL.COM
 K2V2FD   11/29/2020 OB   11/30/2020 WN;4405;OAK;MDW;WN;4968;MDW;MCO   ANTHONYTOWN            ME                      US   49637 131434787@KACHIPYTEL.COM
 K8B3JN   11/29/2020 OB    12/4/2020 WN;1878;MDW;BWI;WN;2593;BWI;BOS   NEW CRYSTAL            TN                      US    2350 131438450@KACHIPYTEL.COM
 K9MV9I   11/29/2020 OB   11/29/2020 WN;1630;MDW;TPA;WN;4135;TPA;BUF   WELCHTON               TN                      US   31543 131439517@KACHIPYTEL.COM
 K9N7ZS   11/29/2020 OB    12/2/2020 WN;2208;TPA;MDW;WN;2255;MDW;BOS   LAKE MEGAN             AL                      US    6253 131439517@KACHIPYTEL.COM
 KDN2DK   11/29/2020 OB   12/17/2020 WN;921;MCO;BWI;WN;849;BWI;CLT     LAKE JESSICASHIRE      MN                      US   11287 131442036@KACHIPYTEL.COM
 KDN2DK   11/29/2020 OB   12/17/2020 WN;921;MCO;BWI;WN;849;BWI;CLT     LAKE JESSICASHIRE      MN                      US   11287 131442036@KACHIPYTEL.COM
 KO5WMC   11/29/2020 OB   11/29/2020 WN;4920;HOU;DTW;WN;3732;DTW;MDW   POWERSLAND             SC                      US   11994 131450099@KACHIPYTEL.COM
 KSP55U   11/29/2020 OB   12/14/2020 WN;5013;BNA;BWI                   AADILAABAAD            SIKKIM                  IN   95078 131454114@KACHIPYTEL.COM
 KUVWD8   11/29/2020 OB    12/7/2020 WN;1909;DCA;BNA                   KHDDGPUR               NAGALAND                IN   70267 131455929@KACHIPYTEL.COM
 KVCK7P   11/29/2020 OB    12/4/2020 WN;3787;LGA;BNA                   RIGGSFURT              HI                      US   38388 131456391@KACHIPYTEL.COM
 KW785I   11/29/2020 OB    12/5/2020 WN;2832;DTW;BWI                   DANIELCHESTER          VT                      US   83426 131457161@KACHIPYTEL.COM
 L3Y9EP   11/29/2020 OB   11/30/2020 WN;1872;PHX;MDW;WN;4405;MDW;CVG   LAKE SARAH             AL                      US   91796 131462749@KACHIPYTEL.COM
 L4VR2G   11/29/2020 OB   11/30/2020 WN;1998;ATL;BWI;WN;1215;BWI;BUF   NORTH DAVIS            MERSRAGA NOVADS         LV   48817 131464014@KACHIPYTEL.COM
 L5BF8S   11/29/2020 OB   11/30/2020 WN;1872;PHX;MDW;WN;4405;MDW;CVG   PORT HEATHERBOROUGH    IL                      US   97763 131465059@KACHIPYTEL.COM
 LEM53C   11/29/2020 OB    12/9/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    HAMPTONFORT            SD                      US   46495 131476807@KACHIPYTEL.COM
 LEUGE3   11/29/2020 OB    12/3/2020 WN;1990;ATL;BWI                   BLAIRFURT              OH                      US   61414 131476719@KACHIPYTEL.COM
 LFF4SK   11/29/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   LAKE JAMES             CO                      US   62157 131477423@KACHIPYTEL.COM
 LGOK52   11/29/2020 OB   11/30/2020 WN;3717;ATL;DEN;WN;2967;DEN;DSM   DUSTINHAVEN            MA                      US   54507 131478369@KACHIPYTEL.COM
 LISK5P   11/29/2020 OB   11/30/2020 WN;4524;SEA;MDW;WN;2706;MDW;MSY   NEW MICHAEL            NH                      US   89550 131480800@KACHIPYTEL.COM
 LIU6Y4   11/29/2020 OB   11/30/2020 WN;3403;HOU;BWI                   EAST CYNTHIA           MO                      US   65291 131480250@KACHIPYTEL.COM
 LJF4UW   11/29/2020 OB    12/2/2020 WN;2042;ATL;HOU;WN;3294;HOU;MIA   AMYBURGH               RI                      US   27094 131481493@KACHIPYTEL.COM
 LJUVQ6   11/29/2020 OB    12/9/2020 WN;2823;ATL;BWI;WN;3111;BWI;BOS   NORTH CALEBFORT        AR                      US   96362 131481933@KACHIPYTEL.COM
 LLC2KH   11/29/2020 OB   11/30/2020 WN;4601;ATL;BWI                   WEST KYLELAND          SD                      US   47500 131483286@KACHIPYTEL.COM
 LLC2KH   11/29/2020 OB    12/1/2020 WN;395;BWI;ROC                    WEST KYLELAND          SD                      US   47500 131483286@KACHIPYTEL.COM
 LOVSQ7   11/29/2020 OB   12/21/2020 WN;221;OKC;ATL                    SULLIVANMOUTH          NE                      US   39436 131486168@KACHIPYTEL.COM
 LOYA2X   11/29/2020 OB    12/2/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   SOUTH JOSHUALAND       TX                      US   13079 131485926@KACHIPYTEL.COM
 LP6JNY   11/29/2020 OB   12/21/2020 WN;221;OKC;ATL                    LAKE JAMIE             IL                      US   18370 131486223@KACHIPYTEL.COM
 LSCIN2   11/29/2020 OB   12/14/2020 WN;4743;RDU;ATL                   PEDROSHIRE             MD                      US    4109 131488764@KACHIPYTEL.COM
 LSCIN2   11/29/2020 OB   12/14/2020 WN;4743;RDU;ATL                   PEDROSHIRE             MD                      US    4109 131488764@KACHIPYTEL.COM
 LSCIN2   11/29/2020 OB   12/14/2020 WN;4743;RDU;ATL                   PEDROSHIRE             MD                      US    4109 131488764@KACHIPYTEL.COM
 WXE8ZK   11/29/2020 OB   12/21/2020 WN;6540;PDX;PHX                   GALVANMOUTH            SC                      US   63558 131419398@KACHIPYTEL.COM
 WXWQK9   11/29/2020 OB   11/29/2020 WN;1725;ATL;MCO;WN;3249;MCO;ROC   ALLISONFORT            PA                      US   21208 131419871@KACHIPYTEL.COM
 LY6XUN   11/30/2020 OB    12/6/2020 WN;2051;ATL;MDW                   NEW NICHOLAS           NJ                      US   71990 131492768@KACHIPYTEL.COM
 LZMRXK   11/30/2020 OB    12/6/2020 WN;3236;DEN;BWI;WN;102;BWI;MIA    JONATHANSIDE           VT                      US   70268 131493307@KACHIPYTEL.COM
 M33WFH   11/30/2020 OB   12/10/2020 WN;2941;PHL;DEN;WN;1966;DEN;LAS   DAADRAA AUR NAAGR HV   HARYANA                 IN   12331 131494297@KACHIPYTEL.COM
 M5E48W   11/30/2020 OB   12/14/2020 WN;4775;SAN;BWI;WN;3041;BWI;MCO   SOSATOWN               NC                      US   44849 131495727@KACHIPYTEL.COM
 M5E48W   11/30/2020 OB   12/14/2020 WN;4775;SAN;BWI;WN;3041;BWI;MCO   SOSATOWN               NC                      US   44849 131495727@KACHIPYTEL.COM
 M6BLIZ   11/30/2020 OB    12/2/2020 WN;2016;ATL;BWI;WN;2584;BWI;BUF   WEST SUSAN             MT                      US   77088 131495925@KACHIPYTEL.COM
 MAL6EB   11/30/2020 OB    12/2/2020 WN;3028;SAN;PHX;WN;2502;PHX;SFO   PORT MATTHEW           WI                      US   63632 131497883@KACHIPYTEL.COM
 MBNJAC   11/30/2020 OB   11/30/2020 WN;3359;ONT;DEN;WN;3177;DEN;BOI   SIGMARINGEN            MECKLENBURGVORPOMMERN   DE    9918 131498191@KACHIPYTEL.COM
 MC2F9C   11/30/2020 OB    12/7/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    LAKE PATRICIA          NE                      US   49448 131498598@KACHIPYTEL.COM
 MCNVGF   11/30/2020 OB    12/3/2020 WN;3346;LGA;DAL;WN;2199;DAL;FLL   PORT WALTER            RI                      US   98817 131498818@KACHIPYTEL.COM
 MD2WON   11/30/2020 OB   11/30/2020 WN;6915;BWI;LAX                   EAST AHSEN             MUS                     TR   94189 131499093@KACHIPYTEL.COM
 MEZGMA   11/30/2020 OB   12/17/2020 WN;993;FLL;HOU;WN;568;HOU;MDW     EAST EFTIMIE           ARGES                   RO   43124 131499544@KACHIPYTEL.COM
 MJWL7Z   11/30/2020 OB   11/30/2020 WN;4876;LAX;AUS                   CLARKPORT              SC                      US   98627 131502008@KACHIPYTEL.COM
 ML78FV   11/30/2020 OB    12/1/2020 WN;3334;HOU;LAS;WN;931;LAS;MAF    PAMELATON              SC                      US   89850 131502602@KACHIPYTEL.COM
 MLYNFY   11/30/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   JAMESTOWN              TX                      US    5274 131502954@KACHIPYTEL.COM
 N6ZJOM   11/30/2020 OB   11/30/2020 WN;4524;SEA;MDW;WN;2706;MDW;MSY   NEW RICHARDBOROUGH     AZ                      US   15341 131515274@KACHIPYTEL.COM
 NI4KUJ   11/30/2020 OB    12/7/2020 WN;2083;AUS;BWI;WN;331;BWI;MIA    NIXONFORT              IN                      US   20768 131527737@KACHIPYTEL.COM
 NIZH57   11/30/2020 OB    12/1/2020 WN;980;FLL;BWI                    SHARILAND              VT                      US   86250 131529156@KACHIPYTEL.COM
 NKJYZ5   11/30/2020 OB   11/30/2020 WN;2052;PHX;STL;WN;3295;STL;TUL   WEST MATTHEWVIEW       ID                      US   67320 131530278@KACHIPYTEL.COM
 NL5YEO   11/30/2020 OB   12/19/2020 WN;1934;MCI;BWI                   NORTH ASHLEYBERG       ND                      US   20814 131532148@KACHIPYTEL.COM
 NNL945   11/30/2020 OB    12/1/2020 WN;941;ATL;MDW                    SOUTH PETER            NH                      US   80746 131534887@KACHIPYTEL.COM
 NP6NYG   11/30/2020 OB   12/20/2020 WN;1128;OKC;PHX;WN;1159;PHX;HOU   LARSONLAND             OR                      US   30748 131537043@KACHIPYTEL.COM
 NVBQ4H   11/30/2020 OB   12/27/2020 WN;3618;CLT;MDW;WN;1866;MDW;PHL   RAZNANY                NITRIANSKY KRAJ         SK   70722 131544138@KACHIPYTEL.COM
 NVFOLE   11/30/2020 OB    12/7/2020 WN;2834;DAL;BWI;WN;4572;BWI;ATL   SOUTH BRIANSIDE        ND                      US   19768 131545271@KACHIPYTEL.COM
 NVM3O2   11/30/2020 OB    1/13/2021 WN;2739;SAT;DEN;WN;4187;DEN;DAL   PORT TAMARA            MS                      US   49221 131544457@KACHIPYTEL.COM
 NXBWCI   11/30/2020 OB    12/2/2020 WN;6382;BNA;TPA;WN;1642;TPA;IND   HERVE                  ILEDEFRANCE             FR   84044 131546932@KACHIPYTEL.COM
 NXVIWD   11/30/2020 OB   12/24/2020 WN;4969;ATL;DCA;WN;4971;DCA;BNA   KEVINSHIRE             MD                      US   42780 131547680@KACHIPYTEL.COM
 O2YN2V   11/30/2020 OB   11/30/2020 WN;4636;DEN;SJC;WN;5082;SJC;LAX   BRANDYBOROUGH          NEW SOUTH WALES         AU   26464 131551816@KACHIPYTEL.COM
 O5OLUT   11/30/2020 OB    12/1/2020 WN;941;ATL;MDW;WN;114;MDW;BUF     NORTH BRADLEYBURY      WI                      US   74782 131555523@KACHIPYTEL.COM
 O6K7R5   11/30/2020 OB   12/29/2020 WN;1555;TPA;AUS;WN;1082;AUS;MSY   NORTH MARGARETFORT     LA                      US    3987 131556909@KACHIPYTEL.COM
 ODRAV5   11/30/2020 OB    12/6/2020 WN;4536;PDX;PHX;WN;4425;PHX;MCI   CHERRYTOWN             NC                      US   57651 131569614@KACHIPYTEL.COM
 ODW7GL   11/30/2020 OB    12/4/2020 WN;2320;TUS;DEN;WN;5014;DEN;MKE   NORTH BOBBY            NY                      US   43028 131570098@KACHIPYTEL.COM
 OE98JH   11/30/2020 OB   12/13/2020 WN;2708;LGA;MDW                   EAST PAULTON           AL                      US    6165 131570835@KACHIPYTEL.COM
 OE98JH   11/30/2020 OB   12/13/2020 WN;2708;LGA;MDW                   EAST PAULTON           AL                      US    6165 131570835@KACHIPYTEL.COM
 OKVTBJ   11/30/2020 OB   12/16/2020 WN;3448;TPA;MSY                   LAKE CHRISTINE         IA                      US   13025 131578557@KACHIPYTEL.COM
 OLNI5R   11/30/2020 OB    12/4/2020 WN;2228;ATL;MCO                   EAST JENNIFERMOUTH     OR                      US   38892 131579987@KACHIPYTEL.COM
 OLQ4VB   11/30/2020 OB    12/6/2020 WN;2597;MCO;ATL                   NORTH HOWARDPORT       TN                      US   76936 131579987@KACHIPYTEL.COM
 ON8T6O   11/30/2020 OB    12/5/2020 WN;2747;PHL;BNA                   VANESSAVILLE           MT                      US   52371 131582143@KACHIPYTEL.COM
 ON8T6O   11/30/2020 OB    12/5/2020 WN;2747;PHL;BNA                   VANESSAVILLE           MT                      US   52371 131582143@KACHIPYTEL.COM
 ONIYCC   11/30/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   BRYANMOUTH             SC                      US   32153 131583034@KACHIPYTEL.COM
 ONRD92   11/30/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   SUJJABORIBOONBURY      NAKHON RATCHASIMA       TH   82044 131583012@KACHIPYTEL.COM
 OR35YS   11/30/2020 OB    12/2/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   NEW DEANNA             MA                      US   21070 131504868@KACHIPYTEL.COM
 OR35YS   11/30/2020 OB    12/2/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   NEW DEANNA             MA                      US   21070 131504868@KACHIPYTEL.COM
 OSH2V9   11/30/2020 OB   12/10/2020 WN;4202;ATL;DEN                   EAST LINDA             CT                      US   64326 131587269@KACHIPYTEL.COM
 OUXA2C   11/30/2020 OB    12/1/2020 WN;941;ATL;MDW;WN;114;MDW;BUF     NORTH SARAHMOUTH       KY                      US   99813 131590503@KACHIPYTEL.COM




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 OUYRWK   11/30/2020 OB   12/23/2020 WN;1720;TPA;STL;WN;3851;STL;MSY   KIMBERLYBURGH         TN               US   17215 131590151@KACHIPYTEL.COM
 OYN3FI    12/1/2020 OB    12/1/2020 WN;941;ATL;MDW                    MCPHERSONSHIRE        AZ               US   51850 131593055@KACHIPYTEL.COM
 P3E2X3    12/1/2020 OB   12/29/2020 WN;373;BWI;CVG                    HENDERSONTOWN         RI               US   97675 131594870@KACHIPYTEL.COM
 P7I7TY    12/1/2020 OB    12/2/2020 WN;4751;ATL;MDW                   EAST CHRISTOPHER      LA               US   53615 131598346@KACHIPYTEL.COM
 P8N679    12/1/2020 OB     1/6/2021 WN;369;SAT;BNA;WN;1745;BNA;HOU    TONYATON              OR               US   42976 131598797@KACHIPYTEL.COM
 P96RXH    12/1/2020 OB   12/12/2020 WN;761;MKE;PHX;WN;4414;PHX;DEN    JESSICACHESTER        CA               US   86166 131599303@KACHIPYTEL.COM
 PAOEQ6    12/1/2020 OB    12/1/2020 WN;6939;RNO;LAS;WN;1493;LAS;LAX   WILLISVILLE           NV               US   83325 131599842@KACHIPYTEL.COM
 PC8L6F    12/1/2020 OB   12/22/2020 WN;1334;RIC;ATL;WN;467;ATL;FLL    JONATHANMOUTH         ME               US   38979 131601118@KACHIPYTEL.COM
 PF7KIF    12/1/2020 OB    12/7/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   PORT JASONSHIRE       PA               US   29997 131602889@KACHIPYTEL.COM
 PFHYUG    12/1/2020 OB   12/11/2020 WN;2703;SEA;PHX;WN;2901;PHX;DEN   LAKE ANNA             OK               US   76264 131593319@KACHIPYTEL.COM
 PFLVCD    12/1/2020 OB   12/20/2020 WN;299;HOU;PHX;WN;285;PHX;OKC     EVANBURGH             LA               US    7172 131603065@KACHIPYTEL.COM
 PG4NOU    12/1/2020 OB   12/17/2020 WN;1091;STL;HOU                   EAST MORGAN           FL               US    9659 131603098@KACHIPYTEL.COM
 PHGIAM    12/1/2020 OB   12/22/2020 WN;1442;STL;MCO;WN;126;MCO;BWI    BGT MBYN              BUSHEHR          IR   43196 131604473@KACHIPYTEL.COM
 PHHQNH    12/1/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   GINABURGH             ND               US   11350 131604055@KACHIPYTEL.COM
 PHZUTW    12/1/2020 OB     2/1/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO   GARYPORT              NM               US   79336 131604858@KACHIPYTEL.COM
 PHZUTW    12/1/2020 OB     2/1/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO   GARYPORT              NM               US   79336 131604858@KACHIPYTEL.COM
 PKDZJR    12/1/2020 OB   12/10/2020 WN;1909;BNA;SAT                   EAST JOSEPH           FL               US   56698 131606277@KACHIPYTEL.COM
 PKDZJR    12/1/2020 OB   12/10/2020 WN;1909;BNA;SAT                   EAST JOSEPH           FL               US   56698 131606277@KACHIPYTEL.COM
 PMPEDN    12/1/2020 OB    12/1/2020 WN;941;ATL;MDW;WN;114;MDW;BUF     JOSHUAVILLE           AR               US   85886 131607630@KACHIPYTEL.COM
 PZ3S6Q    12/1/2020 OB   12/11/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   GABRIELLALAND         UT               US   84573 131614153@KACHIPYTEL.COM
 PZ3S6Q    12/1/2020 OB   12/11/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   GABRIELLALAND         UT               US   84573 131614153@KACHIPYTEL.COM
 PZ3S6Q    12/1/2020 OB   12/11/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   GABRIELLALAND         UT               US   84573 131614153@KACHIPYTEL.COM
 PZ3S6Q    12/1/2020 OB   12/11/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   GABRIELLALAND         UT               US   84573 131614153@KACHIPYTEL.COM
 PZ3S6Q    12/1/2020 OB   12/11/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   GABRIELLALAND         UT               US   84573 131614153@KACHIPYTEL.COM
 Q47QMM    12/1/2020 OB    12/1/2020 WN;1246;MCO;MDW;WN;1139;MDW;OAK   HAILEYCHESTER         OR               US   76892 131616287@KACHIPYTEL.COM
 QDVVIU    12/1/2020 OB    12/1/2020 WN;1008;ATL;BWI;WN;135;BWI;BUF    ROWLANDBOROUGH        VT               US   30713 131626187@KACHIPYTEL.COM
 QFHXP9    12/1/2020 OB    12/4/2020 WN;2705;AUS;PHX;WN;2994;PHX;OKC   BAILEYVIEW            PA               US    1898 131628068@KACHIPYTEL.COM
 QOYH76    12/1/2020 OB    12/4/2020 WN;2647;IND;PHX;WN;4666;PHX;AUS   NORTH LISA            AK               US    7880 131638760@KACHIPYTEL.COM
 QR4U7R    12/1/2020 OB   12/11/2020 WN;2046;ATL;HOU;WN;2723;HOU;MIA   HAASVILLE             FL               US   25676 131642335@KACHIPYTEL.COM
 QSVE2O    12/1/2020 OB    12/1/2020 WN;1008;ATL;BWI                   MICHAELBERG           KS               US   15197 131644040@KACHIPYTEL.COM
 QUW89A    12/1/2020 OB   12/10/2020 WN;1950;BUF;MCO;WN;2597;MCO;ATL   JOHNSONHAVEN          AR               US   93937 131646262@KACHIPYTEL.COM
 QYNCVW    12/1/2020 OB    12/7/2020 WN;2016;ATL;BWI;WN;2823;BWI;ROC   NEW JENNIFERBOROUGH   KY               US   39520 131652301@KACHIPYTEL.COM
 R2PWPM    12/1/2020 OB    12/4/2020 WN;4551;PHL;BNA;WN;2432;BNA;TPA   ELIZABETHSIDE         MS               US   23713 131654424@KACHIPYTEL.COM
 R4MOOX    12/1/2020 OB   12/27/2020 WN;3867;BNA;BWI;WN;3602;BWI;GRR   ORTEGACHESTER         TN               US   62250 131657757@KACHIPYTEL.COM
 R6T74G    12/1/2020 OB    12/3/2020 WN;3959;MCO;BNA;WN;4973;BNA;DCA   NORTH ANTHONYBERG     NC               US   34499 131660133@KACHIPYTEL.COM
 R7BVME    12/1/2020 OB    12/3/2020 WN;3959;MCO;BNA;WN;4973;BNA;DCA   NORTH WILLIE          NM               US   50095 131660430@KACHIPYTEL.COM
 R7UCF5    12/1/2020 OB   12/17/2020 WN;835;LAX;STL;WN;1442;STL;MCO    EAST JON              TX               US   87917 131661376@KACHIPYTEL.COM
 R9226R    12/1/2020 OB    12/8/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   FERGUSONMOUTH         IL               US   93364 131663081@KACHIPYTEL.COM
 RBWD9Z    12/1/2020 OB    12/3/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   YOUNGPORT             UT               US   89887 131609170@KACHIPYTEL.COM
 RC878A    12/1/2020 OB   12/12/2020 WN;3831;AUS;ATL;WN;2099;ATL;MCO   PORT STEPHANIE        PA               US   26454 131667074@KACHIPYTEL.COM
 RC878A    12/1/2020 OB   12/12/2020 WN;3831;AUS;ATL;WN;2099;ATL;MCO   PORT STEPHANIE        PA               US   26454 131667074@KACHIPYTEL.COM
 RCBZCX    12/1/2020 OB    12/8/2020 WN;4743;ATL;AUS;WN;2917;AUS;DAL   MICHAELLAND           ND               US   13835 131667074@KACHIPYTEL.COM
 RCBZCX    12/1/2020 OB    12/8/2020 WN;4743;ATL;AUS;WN;2917;AUS;DAL   MICHAELLAND           ND               US   13835 131667074@KACHIPYTEL.COM
 RG8JTA    12/1/2020 OB    12/7/2020 WN;4003;SJU;MCO;WN;2438;MCO;FLL   SIRAAHAA              PURWANCHAL       NP   18821 131674411@KACHIPYTEL.COM
 RGQW36    12/1/2020 OB   12/11/2020 WN;4542;PDX;SMF;WN;3313;SMF;SAN   MCCANNLAND            OK               US   77805 131657713@KACHIPYTEL.COM
 RI56C9    12/1/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   WEST ROBIN            MA               US   81527 131676622@KACHIPYTEL.COM
 RI56C9    12/1/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   WEST ROBIN            MA               US   81527 131676622@KACHIPYTEL.COM
 RI9IAV    12/1/2020 OB    12/4/2020 WN;1394;RSW;MDW;WN;3262;MDW;PHL   PORT AMY              MA               US   94890 131677150@KACHIPYTEL.COM
 RJL7PN    12/1/2020 OB   12/23/2020 WN;847;PHX;SJC;WN;1726;SJC;LGB    LAWRENCELAND          MS               US   81445 131678525@KACHIPYTEL.COM
 RJLFLE    12/1/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   ALYSSAHAVEN           NC               US   12251 131678877@KACHIPYTEL.COM
 RJLFLE    12/1/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   ALYSSAHAVEN           NC               US   12251 131678877@KACHIPYTEL.COM
 RKUH4T    12/1/2020 OB   12/18/2020 WN;244;BWI;ATL                    EAST SARAHTOWN        PA               US   83564 131680527@KACHIPYTEL.COM
 RL7YAF    12/1/2020 OB   12/21/2020 WN;1008;ATL;BWI;WN;135;BWI;BUF    NEW CATHY             AR               US   37332 131680527@KACHIPYTEL.COM
 RMNLHY    12/1/2020 OB    12/8/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    RADOVLJICA            ROGASOVCI        SI   34605 131682694@KACHIPYTEL.COM
 RNL7CR    12/1/2020 OB   12/24/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   LAKE CRAIG            VT               US   17114 131683585@KACHIPYTEL.COM
 RPTBIT    12/1/2020 OB    1/19/2021 WN;3448;MSY;PHX;WN;4583;PHX;SAT   SINGLETONCHESTER      AL               US   68000 131685774@KACHIPYTEL.COM
 RR2OVO    12/1/2020 OB    12/2/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   EAST BREANNAVILLE     MA               US    6836 131687545@KACHIPYTEL.COM
 RRIG5N    12/1/2020 OB    12/4/2020 WN;4022;MDW;BWI;WN;2510;BWI;BOS   STEVENSONFURT         SD               US   17197 131687292@KACHIPYTEL.COM
 RXRSRT    12/1/2020 OB    12/4/2020 WN;332;MIA;BWI;WN;1657;BWI;CLE    NEW JOSHUACHESTER     IL               US   86910 131692627@KACHIPYTEL.COM
 RXLDRE    12/2/2020 OB    12/2/2020 WN;3956;MCO;BNA;WN;4973;BNA;DCA   PORT SARA             CO               US   95805 131692847@KACHIPYTEL.COM
 RXLDRE    12/2/2020 OB    12/2/2020 WN;3956;MCO;BNA;WN;4973;BNA;DCA   PORT SARA             CO               US   95805 131692847@KACHIPYTEL.COM
 RY2OXK    12/2/2020 OB   12/10/2020 WN;3176;RDU;MDW;WN;2863;MDW;FLL   ALAANG                DELHI            IN   99044 131693078@KACHIPYTEL.COM
 RYI3HK    12/2/2020 OB    1/13/2021 WN;1059;MSY;BWI;WN;102;BWI;MIA    TIFFANYFURT           FL               US   79762 131693276@KACHIPYTEL.COM
 RYINJ9    12/2/2020 OB    12/3/2020 WN;2936;DCA;ATL;WN;3490;ATL;RSW   HUNTVIEW              KY               US   75660 131693144@KACHIPYTEL.COM
 RYXHSI    12/2/2020 OB   12/16/2020 WN;1878;ABQ;MDW;WN;3611;MDW;PHX   EAST TAMMYSHIRE       CA               US   93315 131693738@KACHIPYTEL.COM
 RZW6SS    12/2/2020 OB    12/4/2020 WN;4745;RDU;BWI;WN;331;BWI;MIA    MCDONALDVIEW          LA               US   98701 131694255@KACHIPYTEL.COM
 S2WGVZ    12/2/2020 OB    12/2/2020 WN;3236;SAT;DEN;WN;569;DEN;OAK    NORTH JOHN            NY               US   78073 131695322@KACHIPYTEL.COM
 S75VSU    12/2/2020 OB    12/5/2020 WN;3081;LAS;MDW;WN;3908;MDW;FLL   GUZMANBURY            AR               US   44618 131697401@KACHIPYTEL.COM
 S7WVEV    12/2/2020 OB   12/12/2020 WN;3772;PHX;BWI                   PORT MORGANHAVEN      UT               US   81881 131697951@KACHIPYTEL.COM
 S7WVEV    12/2/2020 OB   12/12/2020 WN;3772;PHX;BWI                   PORT MORGANHAVEN      UT               US   81881 131697951@KACHIPYTEL.COM
 S98HBI    12/2/2020 OB   12/20/2020 WN;432;BNA;AUS;WN;1082;AUS;MSY    COLLINSMOUTH          IL               US   57758 131699304@KACHIPYTEL.COM
 S98HBI    12/2/2020 OB   12/20/2020 WN;432;BNA;AUS;WN;1082;AUS;MSY    COLLINSMOUTH          IL               US   57758 131699304@KACHIPYTEL.COM
 S9E2RO    12/2/2020 OB   12/17/2020 WN;169;AUS;BNA;WN;1002;BNA;MCO    LAKE KRISTINAPORT     IN               US   54349 131699304@KACHIPYTEL.COM
 S9E2RO    12/2/2020 OB   12/17/2020 WN;169;AUS;BNA;WN;1002;BNA;MCO    LAKE KRISTINAPORT     IN               US   54349 131699304@KACHIPYTEL.COM
 SAJW6S    12/2/2020 OB    12/2/2020 WN;4579;PHX;DAL;WN;3735;DAL;TUL   GALLAIX               HAINAUT          BE   84301 131699898@KACHIPYTEL.COM
 SB2JBE    12/2/2020 OB   12/13/2020 WN;3256;BWI;MDW;WN;2482;MDW;RDU   BLANKENSHIPVILLE      MS               US    7658 131700723@KACHIPYTEL.COM
 SB3II6    12/2/2020 OB    12/2/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   PORT BENJAMIN         OR               US   92674 131700679@KACHIPYTEL.COM
 SBEO6H    12/2/2020 OB   12/11/2020 WN;1878;MDW;BWI;WN;102;BWI;MIA    EAST ERICAFURT        SC               US   40256 131700723@KACHIPYTEL.COM
 SGGKVB    12/2/2020 OB    12/2/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   SCY                   WESTVLAANDEREN   BE   50557 131703847@KACHIPYTEL.COM
 SH9OO8    12/2/2020 OB    12/7/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    NEW VICKIETON         ME               US   80940 131704353@KACHIPYTEL.COM
 SHOUUZ    12/2/2020 OB    12/4/2020 WN;1646;BWI;ATL                   EMILYCHESTER          CO               US   94215 131704353@KACHIPYTEL.COM
 SIV2LC    12/2/2020 OB    1/24/2021 WN;2664;BOS;BNA;WN;2437;BNA;AUS   JIAN PING SHI         HENAN SHENG      CN   85164 131701515@KACHIPYTEL.COM
 SJ6N8O    12/2/2020 OB    12/2/2020 WN;1534;LAS;SMF;WN;4902;SMF;LGB   NEW DANIEL            VA               US   16239 131705145@KACHIPYTEL.COM
 SJ6N8O    12/2/2020 OB    12/2/2020 WN;1534;LAS;SMF;WN;4902;SMF;LGB   NEW DANIEL            VA               US   16239 131705145@KACHIPYTEL.COM
 SKDD35    12/2/2020 OB    12/4/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   NEW TROYSTAD          PA               US   54831 131706003@KACHIPYTEL.COM
 SKU7JU    12/2/2020 OB    12/2/2020 WN;1534;LAS;SMF;WN;4902;SMF;LGB   MCGEELAND             AR               US   60019 131705970@KACHIPYTEL.COM
 SLPPPK    12/2/2020 OB    12/7/2020 WN;2978;BOS;BWI;WN;102;BWI;MIA    WEST KEVINBERG        ME               US   70986 131706663@KACHIPYTEL.COM
 SMAKZY    12/2/2020 OB    12/4/2020 WN;3343;LGA;ATL                   LAKE ANGELABOROUGH    MN               US   34625 131706828@KACHIPYTEL.COM
 SUDCLW    12/2/2020 OB    12/2/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   MITCHELLTON           CT               US   74111 131710722@KACHIPYTEL.COM
 SZXYU2    12/2/2020 OB    12/2/2020 WN;4941;PDX;LAS;WN;2402;LAS;TUS   EAST AMANDA           CA               US   17243 131714297@KACHIPYTEL.COM
 TBEWQK    12/2/2020 OB    12/6/2020 WN;4042;FLL;BWI;WN;3559;BWI;PIT   NEW KARA              MD               US   33086 131723460@KACHIPYTEL.COM
 TKXEDA    12/2/2020 OB   12/17/2020 WN;1320;FLL;BWI;WN;849;BWI;CLT    WHITEBOROUGH          UT               US   55444 131734658@KACHIPYTEL.COM
 TPGW7W    12/2/2020 OB   12/27/2020 WN;1281;PHX;OAK;WN;4129;OAK;LGB   PORT STEPHANIE        IA               US    4510 131739399@KACHIPYTEL.COM
 TR6NWO    12/2/2020 OB    12/4/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   SOUTH MICHAEL         SD               US   70203 131742149@KACHIPYTEL.COM
 TSTVQ2    12/2/2020 OB   12/18/2020 WN;775;MSY;LAS;WN;2274;LAS;SAT    MARTINLAND            AZ               US   38009 131744767@KACHIPYTEL.COM
 TW2ZCU    12/2/2020 OB    12/5/2020 WN;4712;CMH;LAS;WN;3290;LAS;MCI   SOUTH STEPHANIELAND   AZ               US   68612 131749244@KACHIPYTEL.COM
 TWW4QC    12/2/2020 OB    12/6/2020 WN;3294;MIA;BWI;WN;1657;BWI;CLE   CNBAA                 HARYANA          IN   72846 131750168@KACHIPYTEL.COM
 TY9GL3    12/2/2020 OB    12/4/2020 WN;2487;SMF;PHX;WN;4325;PHX;LAS   NEW JENNIFER          NY               US   91554 131752588@KACHIPYTEL.COM
 TZRT7T    12/2/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   PHILLIPSSIDE          MT               US   68598 131754040@KACHIPYTEL.COM
 U3U3J6    12/2/2020 OB   12/23/2020 WN;4273;CHS;MDW                   ROBERTBURGH           AL               US    8233 131757208@KACHIPYTEL.COM
 U8ODQX    12/2/2020 OB    12/5/2020 WN;2741;ATL;BWI;WN;2150;BWI;MIA   PORT JACK             CO               US   23856 131763929@KACHIPYTEL.COM
 U8S7K2    12/2/2020 OB   12/31/2020 WN;2395;PHX;HOU                   KELLYVILLE            ME               US   20589 131764039@KACHIPYTEL.COM
 UBS6AC    12/2/2020 OB    12/5/2020 WN;3314;FLL;STL;WN;1095;STL;LGA   WEST JACOBBURGH       NC               US   87706 131767779@KACHIPYTEL.COM
 UBS6AC    12/2/2020 OB    12/5/2020 WN;3314;FLL;STL;WN;1095;STL;LGA   WEST JACOBBURGH       NC               US   87706 131767779@KACHIPYTEL.COM
 UD5H5V    12/2/2020 OB    12/4/2020 WN;3297;GEG;DEN                   WEST AMYBURGH         WI               US   50570 131770199@KACHIPYTEL.COM
 UEW5UA    12/2/2020 OB   12/23/2020 WN;4075;RDU;ATL;WN;5025;ATL;BWI   PORT ALANMOUTH        GA               US   84982 131772949@KACHIPYTEL.COM
 UHAREW    12/2/2020 OB    12/5/2020 WN;2063;DTW;PHX;WN;4133;PHX;DEN   MONTGOMERYBERG        NH               US   13777 131776359@KACHIPYTEL.COM
 UHHNH9    12/2/2020 OB    12/9/2020 WN;3517;SAN;DEN;WN;4517;DEN;PDX   EAST WANDASIDE        FL               US   91846 131776766@KACHIPYTEL.COM
 UILRW4    12/2/2020 OB     1/4/2021 WN;660;MIA;BWI                    NEW SEAN              VA               US    7105 131778207@KACHIPYTEL.COM




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 UILRW4   12/2/2020 OB     1/4/2021 WN;660;MIA;BWI                    NEW SEAN               VA                    US    7105 131778207@KACHIPYTEL.COM
 UJ5X5U   12/2/2020 OB   12/10/2020 WN;2234;LAX;STL;WN;1933;STL;MDW   ALLENSIDE              AZ                    US   98301 131779164@KACHIPYTEL.COM
 UJ5X5U   12/2/2020 OB   12/10/2020 WN;2234;LAX;STL;WN;1933;STL;MDW   ALLENSIDE              AZ                    US   98301 131779164@KACHIPYTEL.COM
 UJXSBW   12/2/2020 OB    1/15/2021 WN;1019;SJU;TPA;WN;2288;TPA;MIA   NOVA GORICA            BENEDIKT              SI   29106 131779923@KACHIPYTEL.COM
 UJXSBW   12/2/2020 OB    1/15/2021 WN;1019;SJU;TPA;WN;2288;TPA;MIA   NOVA GORICA            BENEDIKT              SI   29106 131779923@KACHIPYTEL.COM
 UK9MII   12/2/2020 OB   12/11/2020 WN;1623;BNA;LAS;WN;4310;LAS;SJC   NORTH CAROLFORT        AZ                    US   42739 131780473@KACHIPYTEL.COM
 UKJOQT   12/2/2020 OB    12/6/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   LAKE EDWARDBERG        NJ                    US   37735 131780473@KACHIPYTEL.COM
 UMGUFX   12/2/2020 OB    12/3/2020 WN;4941;PDX;LAS                   WEST BRIAN             MO                    US   63104 131783058@KACHIPYTEL.COM
 UR4EDS   12/2/2020 OB   12/16/2020 WN;2193;CLT;MDW;WN;3388;MDW;MCO   SENAKI                 SHIDA KARTLI          GE   86659 131788305@KACHIPYTEL.COM
 UR9MG5   12/2/2020 OB    1/14/2021 WN;6001;AUS;TPA                   EAST RICKEYCHESTER     NV                    US   13524 131789086@KACHIPYTEL.COM
 URH3ZJ   12/2/2020 OB    12/7/2020 WN;1646;CLE;BWI;WN;102;BWI;MIA    NORTH SHEILAVILLE      NJ                    US   66868 131788690@KACHIPYTEL.COM
 J3TH75   12/3/2020 OB    12/8/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    PIERCEBERG             MS                    US   86156 131860245@KACHIPYTEL.COM
 J4IAJY   12/3/2020 OB   12/13/2020 WN;2527;BNA;HOU;WN;2723;HOU;MIA   JOHNMOUTH              CT                    US   78398 131861257@KACHIPYTEL.COM
 J67CZY   12/3/2020 OB   12/16/2020 WN;2855;PDX;LAS;WN;4912;LAS;SNA   LAKE STEVEN            ID                    US   67424 131863325@KACHIPYTEL.COM
 J6HR5V   12/3/2020 OB    12/6/2020 WN;3948;FLL;MDW;WN;4910;MDW;LGA   RAMINTAVILLE           TELSIU APSKRITIS      LT   87804 131863039@KACHIPYTEL.COM
 J6VFFE   12/3/2020 OB    12/6/2020 WN;2654;SAT;BWI                   ALEXANDERSIDE          NJ                    US   69850 131863985@KACHIPYTEL.COM
 J6YMPB   12/3/2020 OB    12/4/2020 WN;3301;STL;FLL;WN;1360;FLL;BWI   NEW IANHAVEN           MO                    US   42779 131863974@KACHIPYTEL.COM
 J7BYHK   12/3/2020 OB    12/7/2020 WN;3292;FLL;STL;WN;3422;STL;LGA   LAKE MIGUELTON         MT                    US   10871 131863974@KACHIPYTEL.COM
 JBXVSL   12/3/2020 OB    12/6/2020 WN;2577;MIA;HOU;WN;2567;HOU;MSY   GRIMESSHIRE            WV                    US   57606 131870277@KACHIPYTEL.COM
 JEDWCQ   12/3/2020 OB    12/4/2020 WN;3343;LGA;ATL;WN;3959;ATL;TPA   WEST PAULBOROUGH       TN                    US   13837 131872862@KACHIPYTEL.COM
 JKH8QT   12/3/2020 OB    12/4/2020 WN;2003;ATL;BWI;WN;2016;BWI;BUF   CHELSEALAND            AK                    US   97859 131880826@KACHIPYTEL.COM
 JKX92P   12/3/2020 OB   12/11/2020 WN;2307;BOI;DEN;WN;3927;DEN;LAX   LAKE PATRICIABURGH     WI                    US   45413 131881288@KACHIPYTEL.COM
 JNR5MB   12/3/2020 OB   12/13/2020 WN;2193;CLT;MDW;WN;3388;MDW;MCO   SELO IEVGEN            CHERNIVETSKA OBLAST   UA   92409 131885050@KACHIPYTEL.COM
 JNUVFS   12/3/2020 OB    12/4/2020 WN;2753;DCA;MDW;WN;3993;MDW;MCO   LAKE RYAN              ND                    US   20203 131884874@KACHIPYTEL.COM
 JO65WH   12/3/2020 OB    12/9/2020 WN;1923;BWI;BOS                   RANDALLTOWN            PA                    US   79063 131885380@KACHIPYTEL.COM
 JO65WH   12/3/2020 OB    12/9/2020 WN;4022;MDW;BWI                   RANDALLTOWN            PA                    US   79063 131885380@KACHIPYTEL.COM
 JO65WH   12/3/2020 OB    12/9/2020 WN;4033;MDW;DCA                   RANDALLTOWN            PA                    US   79063 131885380@KACHIPYTEL.COM
 JR98TL   12/3/2020 OB   12/10/2020 WN;3767;SFO;LAX;WN;3989;LAX;LAS   EAST CONNYVILLE        MIDTJYLLAND           DK   67742 131876448@KACHIPYTEL.COM
 JRC7YN   12/3/2020 OB   12/18/2020 WN;277;BOS;BWI;WN;277;BWI;TPA     COLEPORT               KY                    US   63119 131889197@KACHIPYTEL.COM
 JUWPVF   12/3/2020 OB     1/7/2021 WN;4751;RIC;ATL;WN;4207;ATL;FLL   NEW NANCYTOWN          MA                    US   71683 131892728@KACHIPYTEL.COM
 JVIGCE   12/3/2020 OB    12/6/2020 WN;3368;ATL;HOU;WN;661;HOU;MIA    PORT JULIAN            SD                    US   40044 131893355@KACHIPYTEL.COM
 JYDVXK   12/3/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   VISTAARNN              MANIPUR               IN   65340 131894961@KACHIPYTEL.COM
 UZUAWA   12/3/2020 OB    12/6/2020 WN;3787;LGA;BNA;WN;2438;BNA;MCO   EAST LORITOWN          AZ                    US   43599 131796027@KACHIPYTEL.COM
 V382MR   12/3/2020 OB    12/4/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   ROBERTMOUTH            SD                    US   19062 131797050@KACHIPYTEL.COM
 V3VSKI   12/3/2020 OB    12/3/2020 WN;2915;DAL;PHX;WN;3026;PHX;OKC   LAS PALMAS             AVILA                 ES   65615 131797325@KACHIPYTEL.COM
 V4KCJM   12/3/2020 OB     1/4/2021 WN;137;AUS;MDW;WN;712;MDW;MSY     SOUTH JUDYSHIRE        AR                    US   25589 131797952@KACHIPYTEL.COM
 V9BDTP   12/3/2020 OB   12/13/2020 WN;1438;FLL;ATL;WN;2707;ATL;LGA   HAAPAJARVI             POHJANMAA             FI   68594 131800471@KACHIPYTEL.COM
 V9BDTP   12/3/2020 OB   12/13/2020 WN;1438;FLL;ATL;WN;2707;ATL;LGA   HAAPAJARVI             POHJANMAA             FI   68594 131800471@KACHIPYTEL.COM
 VAGSSA   12/3/2020 OB   12/12/2020 WN;1677;LGA;ATL;WN;2099;ATL;MCO   SOUTH LAWRENCE         SLIGO                 IE   34709 131801593@KACHIPYTEL.COM
 VBV56W   12/3/2020 OB     1/4/2021 WN;660;MIA;BWI;WN;1242;BWI;BNA    NEW TIMOTHYVILLE       NE                    US   34483 131802682@KACHIPYTEL.COM
 VI3ZD6   12/3/2020 OB   12/16/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA   NEW JON                AR                    US   87245 131806301@KACHIPYTEL.COM
 VIAXBJ   12/3/2020 OB    12/8/2020 WN;2597;MCO;ATL;WN;2707;ATL;LGA   CRUZCHESTER            UT                    US   49993 131806763@KACHIPYTEL.COM
 VIBJXQ   12/3/2020 OB    12/6/2020 WN;2228;ATL;MCO;WN;4577;MCO;BUF   EAST ELIZABETHSIDE     NE                    US   42422 131806697@KACHIPYTEL.COM
 VJ8QDX   12/3/2020 OB   12/14/2020 WN;3956;MCO;BNA                   NORTH THOMAS           WI                    US   55315 131807203@KACHIPYTEL.COM
 VK9X6N   12/3/2020 OB   12/14/2020 WN;3633;LAS;ATL;WN;2746;ATL;FLL   EAST JOSEBURY          FL                    US   73693 131807599@KACHIPYTEL.COM
 VOBU2H   12/3/2020 OB    12/4/2020 WN;1878;MDW;BWI;WN;2593;BWI;BOS   NORTH JAYFORT          VT                    US   92698 131810503@KACHIPYTEL.COM
 VOJ6UF   12/3/2020 OB    12/5/2020 WN;2258;MDW;BWI;WN;63;BWI;BOS     SOUTH ROBERTBERG       WY                    US   67529 131810426@KACHIPYTEL.COM
 VQTOEX   12/3/2020 OB    12/3/2020 WN;4393;OMA;LAS;WN;1667;LAS;DEN   LAKE COREYSTAD         MN                    US   93018 131811977@KACHIPYTEL.COM
 VTNGJB   12/3/2020 OB     1/3/2021 WN;4283;MSP;BWI;WN;331;BWI;MIA    WEST MELISSA           SC                    US   10978 131813440@KACHIPYTEL.COM
 VUFP9O   12/3/2020 OB   12/11/2020 WN;3792;LGA;MDW                   NORTH MICHAELVILLE     MN                    US   11212 131813990@KACHIPYTEL.COM
 W4NG4S   12/3/2020 OB    12/4/2020 WN;2208;TPA;MDW;WN;474;MDW;LGA    MOOREHAVEN             WY                    US   59983 131820183@KACHIPYTEL.COM
 W54NAH   12/3/2020 OB    12/4/2020 WN;2016;ATL;BWI;WN;2823;BWI;ROC   BOYERFORT              DE                    US    6555 131820645@KACHIPYTEL.COM
 WAW66P   12/3/2020 OB    12/3/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     SOUTH DUSTINMOUTH      IL                    US   36526 131827146@KACHIPYTEL.COM
 WAW66P   12/3/2020 OB    12/3/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     SOUTH DUSTINMOUTH      IL                    US   36526 131827146@KACHIPYTEL.COM
 WL5B2X   12/3/2020 OB    12/6/2020 WN;3787;LGA;BNA;WN;2438;BNA;MCO   SOUTH RAYMOND          MI                    US   52669 131839224@KACHIPYTEL.COM
 WRBS57   12/3/2020 OB   12/10/2020 WN;3172;TUS;LAS;WN;3337;LAS;PDX   GARCIABURY             NV                    US   22722 131847221@KACHIPYTEL.COM
 WRW47S   12/3/2020 OB     1/2/2021 WN;907;MBJ;BWI;WN;102;BWI;MIA     NEW ANNETTE            IA                    US   22770 131848002@KACHIPYTEL.COM
 WTV8YG   12/3/2020 OB    12/5/2020 WN;4134;ATL;BWI;WN;4466;BWI;BUF   PORT CHARLES           SD                    US   97767 131850367@KACHIPYTEL.COM
 WTWFMY   12/3/2020 OB     1/9/2021 WN;1958;BUF;FLL;WN;995;FLL;ATL    MALONESHIRE            KY                    US   25071 131848772@KACHIPYTEL.COM
 K255BN   12/4/2020 OB    12/4/2020 WN;2638;SAT;LAS;WN;4310;LAS;SJC   EAST KELLYSIDE         TN                    US   14694 131896534@KACHIPYTEL.COM
 K255BN   12/4/2020 OB    12/4/2020 WN;2638;SAT;LAS;WN;4310;LAS;SJC   EAST KELLYSIDE         TN                    US   14694 131896534@KACHIPYTEL.COM
 K6TX8S   12/4/2020 OB    12/4/2020 WN;2761;JAX;BWI;WN;3111;BWI;BOS   PHTHPUR                MANIPUR               IN   62756 131899042@KACHIPYTEL.COM
 K6TX8S   12/4/2020 OB    12/4/2020 WN;2761;JAX;BWI;WN;3111;BWI;BOS   PHTHPUR                MANIPUR               IN   62756 131899042@KACHIPYTEL.COM
 KDCHY8   12/4/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;3306;MDW;MIA   SOUTH EILEEN           IA                    US   24604 131903211@KACHIPYTEL.COM
 KGWOJ6   12/4/2020 OB    12/4/2020 WN;3522;IND;HOU;WN;4707;HOU;AUS   SAN NOELIA DE LA MON   MORELOS               MX   19412 131905367@KACHIPYTEL.COM
 KHHU8A   12/4/2020 OB    12/4/2020 WN;3343;LGA;ATL;WN;3959;ATL;TPA   JACOBSTAD              LA                    US   62384 131905950@KACHIPYTEL.COM
 KIA5SH   12/4/2020 OB   12/12/2020 WN;3036;DEN;BWI                   WEBBSTAD               CA                    US   80670 131906324@KACHIPYTEL.COM
 KIVJSY   12/4/2020 OB   12/12/2020 WN;3834;PHX;DEN                   WEST KEVIN             WY                    US   42874 131906324@KACHIPYTEL.COM
 KKOS4B   12/4/2020 OB    12/4/2020 WN;2066;STL;LAS;WN;2905;LAS;OKC   CHARLESBURGH           VT                    US   71547 131907578@KACHIPYTEL.COM
 KMWZD9   12/4/2020 OB    12/5/2020 WN;1685;ATL;PHX;WN;3641;PHX;MCI   SANFORDCHESTER         ME                    US   24710 131908469@KACHIPYTEL.COM
 KOH4JS   12/4/2020 OB   12/13/2020 WN;2193;CLT;MDW;WN;3388;MDW;MCO   NORTH BRIANFURT        NC                    US   21252 131909305@KACHIPYTEL.COM
 KOSUWU   12/4/2020 OB   12/12/2020 WN;2741;ATL;BWI                   NORTH MONICA           CT                    US   31457 131909426@KACHIPYTEL.COM
 KPZ9B5   12/4/2020 OB    12/5/2020 WN;2163;LAX;HOU;WN;2403;HOU;MCO   NEW JAMES              KS                    US   96990 131910141@KACHIPYTEL.COM
 KTJ5NX   12/4/2020 OB    12/7/2020 WN;1990;ATL;BWI;WN;331;BWI;MIA    EAST STEVEN            NV                    US   77554 131911340@KACHIPYTEL.COM
 KVHSMR   12/4/2020 OB    12/4/2020 WN;2823;ATL;BWI;WN;2584;BWI;BUF   NORTH BILLY            CT                    US   36841 131912110@KACHIPYTEL.COM
 KWT7TM   12/4/2020 OB   12/20/2020 WN;122;BWI;PHX                    ERIKAFORT              NV                    US   80389 131913353@KACHIPYTEL.COM
 KYDPEH   12/4/2020 OB    12/7/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   CHRISTOPHERMOUTH       KY                    US   70820 131914552@KACHIPYTEL.COM
 KYTNMC   12/4/2020 OB    12/5/2020 WN;3162;DEN;HOU                   PORT ANDREAPORT        NM                    US   25484 131914574@KACHIPYTEL.COM
 KZSJWP   12/4/2020 OB    12/7/2020 WN;1990;ATL;BWI;WN;331;BWI;MIA    WEST GARY              KS                    US   52963 131915542@KACHIPYTEL.COM
 L495PH   12/4/2020 OB     2/7/2021 WN;1280;OAK;PHX                   SELISHCHE ANDRII       KYIVSKA MISKA RADA    UA   52250 131917093@KACHIPYTEL.COM
 L9HH22   12/4/2020 OB    12/8/2020 WN;4003;SJU;MCO;WN;2438;MCO;FLL   BAD AUSSEE             NIEDEROSTERREICH      AT   38035 131920349@KACHIPYTEL.COM
 LIE2BB   12/4/2020 OB   12/18/2020 WN;921;HOU;MCO                    PORT KELLY             NH                    US   93063 131928687@KACHIPYTEL.COM
 LMHSMN   12/4/2020 OB    12/4/2020 WN;2647;IND;PHX;WN;4666;PHX;AUS   MCFARLANDTON           AK                    US   25763 131933450@KACHIPYTEL.COM
 M2TEZW   12/4/2020 OB   12/15/2020 WN;3995;MCO;RDU;WN;2746;RDU;ATL   LAKE CARLYSHIRE        AZ                    US   34700 131951325@KACHIPYTEL.COM
 M2Y7PG   12/4/2020 OB    12/5/2020 WN;2741;ATL;BWI;WN;3636;BWI;BUF   LAKE ERIC              ME                    US   68689 131951006@KACHIPYTEL.COM
 M36DXK   12/4/2020 OB    12/7/2020 WN;2016;ATL;BWI                   BAILEYMOUTH            KY                    US   86791 131951908@KACHIPYTEL.COM
 M5GB7W   12/4/2020 OB     1/4/2021 WN;984;ATL;BWI                    GORIS                  ARMAVIR               AM   40730 131954427@KACHIPYTEL.COM
 M8HG79   12/4/2020 OB   12/11/2020 WN;2246;ATL;STL;WN;2421;STL;MCO   PORT FELICIA           HI                    US   23716 131951732@KACHIPYTEL.COM
 M9PFOP   12/4/2020 OB   12/11/2020 WN;5037;TUL;DEN                   HERNANDEZSHIRE         TN                    US   81159 131959905@KACHIPYTEL.COM
 MBSUH7   12/4/2020 OB    12/4/2020 WN;3172;TUS;LAS;WN;3337;LAS;PDX   SOUTH RAYMOND          MI                    US   69847 131962149@KACHIPYTEL.COM
 MDEBTJ   12/4/2020 OB   12/21/2020 WN;290;OMA;DAL                    GUERREROFURT           GA                    US   69708 131964096@KACHIPYTEL.COM
 MJHCQ6   12/4/2020 OB     1/8/2021 WN;4143;BUF;TPA;WN;2434;TPA;ATL   WEST HOLLYBOROUGH      NY                    US   77788 131970212@KACHIPYTEL.COM
 MKJJ9T   12/4/2020 OB    12/8/2020 WN;2580;RIC;MCO;WN;2438;MCO;FLL   JENSENVIEW             KS                    US   63891 131971532@KACHIPYTEL.COM
 MKJJ9T   12/4/2020 OB    12/8/2020 WN;2580;RIC;MCO;WN;2438;MCO;FLL   JENSENVIEW             KS                    US   63891 131971532@KACHIPYTEL.COM
 MRJ7ST   12/4/2020 OB   12/24/2020 WN;3292;FLL;STL;WN;3422;STL;LGA   MOURA                  RIO DE JANEIRO        BR     847 131979375@KACHIPYTEL.COM
 MSXIYC   12/4/2020 OB    12/9/2020 WN;1466;SLC;LAS;WN;3321;LAS;LAX   LAMBERTFORT            MA                    US    4454 131980530@KACHIPYTEL.COM
 MSXIYC   12/4/2020 OB    12/9/2020 WN;1466;SLC;LAS;WN;3321;LAS;LAX   LAMBERTFORT            MA                    US    4454 131980530@KACHIPYTEL.COM
 MTWLN2   12/4/2020 OB    12/7/2020 WN;3191;FLL;BWI;WN;1923;BWI;BOS   DIAZBOROUGH            NV                    US   95076 131982026@KACHIPYTEL.COM
 MZSG2N   12/4/2020 OB   12/17/2020 WN;1568;DEN;TPA;WN;1065;TPA;MIA   WARECHESTER            CT                    US   80678 131986657@KACHIPYTEL.COM
 35PWAK   12/5/2020 OB    12/5/2020 WN;2063;DTW;PHX;WN;4133;PHX;DEN   MONTGOMERYBERG         NH                    US   13777 131776359@KACHIPYTEL.COM
 N4AFG5   12/5/2020 OB    12/5/2020 WN;3126;LAX;BNA;WN;3434;BNA;MCO   ROYMOUTH               MO                    US   65108 131988472@KACHIPYTEL.COM
 N6ON3V   12/5/2020 OB   12/11/2020 WN;2548;MCO;BWI;WN;2675;BWI;CLT   EAST CHLOEVILLE        ME                    US   11558 131989792@KACHIPYTEL.COM
 N9AJHT   12/5/2020 OB    12/7/2020 WN;4805;SFO;LAX                   WOODBURGH              GA                    US   30599 131991893@KACHIPYTEL.COM
 NA4GF2   12/5/2020 OB   12/10/2020 WN;4031;MDW;DAL;WN;1438;DAL;FLL   GREENBURY              AK                    US   67367 131992201@KACHIPYTEL.COM
 NKHTIO   12/5/2020 OB    1/15/2021 WN;3276;LAX;BNA;WN;4766;BNA;PHL   NORTH TAMMYFURT        PA                    US   46447 131997547@KACHIPYTEL.COM
 NKHTIO   12/5/2020 OB    1/15/2021 WN;3276;LAX;BNA;WN;4766;BNA;PHL   NORTH TAMMYFURT        PA                    US   46447 131997547@KACHIPYTEL.COM
 NLT86D   12/5/2020 OB   12/23/2020 WN;2662;CHS;DAL;WN;2321;DAL;BNA   EAST PETER             GA                    US   13981 131997998@KACHIPYTEL.COM
 NLT86D   12/5/2020 OB   12/23/2020 WN;2662;CHS;DAL;WN;2321;DAL;BNA   EAST PETER             GA                    US   13981 131997998@KACHIPYTEL.COM
 NMLB5P   12/5/2020 OB   12/11/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    LAKE HENRY             WV                    US   38527 131998196@KACHIPYTEL.COM




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NWRK7F   12/5/2020 OB   12/30/2020 WN;140;DCA;BNA                    NEW CHADSHIRE         ID                       US   80215 132002849@KACHIPYTEL.COM
NWXBG8   12/5/2020 OB   12/14/2020 WN;4248;MSY;MDW                   DAWNLAND              WV                       US   97057 132003069@KACHIPYTEL.COM
OCGZN5   12/5/2020 OB    12/9/2020 WN;3239;BWI;LAS;WN;1900;LAS;SEA   HEATHERMOUTH          MA                       US   58057 132011528@KACHIPYTEL.COM
OD3XHR   12/5/2020 OB   12/13/2020 WN;2531;LAS;BWI;WN;3111;BWI;BOS   JAMESPORT             SD                       US   49328 132011748@KACHIPYTEL.COM
OHIKF4   12/5/2020 OB    1/31/2021 WN;907;MBJ;BWI;WN;102;BWI;MIA     PORT NATALIEBERG      PA                       US   55078 132015389@KACHIPYTEL.COM
OUYFSV   12/5/2020 OB   12/27/2020 WN;1692;FLL;STL;WN;5051;STL;BNA   GREENCHESTER          OK                       US    9036 132027841@KACHIPYTEL.COM
P3K4AM   12/5/2020 OB   12/22/2020 WN;221;OKC;ATL                    NEW PETERHAVEN        MN                       US   86592 132035915@KACHIPYTEL.COM
PBYZS5   12/5/2020 OB   12/10/2020 WN;2016;ATL;BWI                   PORT WESLEYSTAD       MA                       US   37658 132038775@KACHIPYTEL.COM
PDE3NW   12/5/2020 OB    12/6/2020 WN;2051;ATL;MDW;WN;2558;MDW;BOS   PORT SHERRISTAD       CT                       US   41932 132047300@KACHIPYTEL.COM
PIPQG5   12/5/2020 OB   12/17/2020 WN;1378;JAX;ATL                   APRILPORT             AK                       US   85404 132052745@KACHIPYTEL.COM
PKKDK5   12/5/2020 OB   12/13/2020 WN;2104;PHX;BWI;WN;5034;BWI;MSY   LAKE ERIC             NV                       US   96213 132054901@KACHIPYTEL.COM
PNTISL   12/5/2020 OB    12/7/2020 WN;4118;FLL;MDW;WN;3558;MDW;LAS   POCIUSLAND            MARIJAMPOLES APSKRITIS   LT   58020 132058190@KACHIPYTEL.COM
POT4R6   12/5/2020 OB   12/12/2020 WN;1715;AUS;BWI;WN;2150;BWI;MIA   TECKLENBURG           SACHSEN                  DE   53828 132051183@KACHIPYTEL.COM
PZAJP9   12/5/2020 OB    12/7/2020 WN;4118;MDW;PHX;WN;4945;PHX;OMA   MICHAELVILLE          DE                       US   38641 132065890@KACHIPYTEL.COM
PZAJP9   12/5/2020 OB    12/7/2020 WN;4118;MDW;PHX;WN;4945;PHX;OMA   MICHAELVILLE          DE                       US   38641 132065890@KACHIPYTEL.COM
PZAJP9   12/5/2020 OB    12/7/2020 WN;4118;MDW;PHX;WN;4945;PHX;OMA   MICHAELVILLE          DE                       US   38641 132065890@KACHIPYTEL.COM
PZWTKO   12/5/2020 OB     1/7/2021 WN;2785;TPA;DEN;WN;4264;DEN;MSP   JOSHUAMOUTH           MT                       US   25894 132066275@KACHIPYTEL.COM
PZWTKO   12/5/2020 OB     1/7/2021 WN;2785;TPA;DEN;WN;4264;DEN;MSP   JOSHUAMOUTH           MT                       US   25894 132066275@KACHIPYTEL.COM
4SDLSE   12/6/2020 OB    12/6/2020 WN;3640;AUS;MDW;WN;2627;MDW;OKC   NORTH GINA            IN                       US   40455 132074448@KACHIPYTEL.COM
Q2XR9R   12/6/2020 OB    12/8/2020 WN;1980;SFO;DEN;WN;1966;DEN;LAS   CHARLESVIEW           TN                       US   90508 132067023@KACHIPYTEL.COM
Q47LOD   12/6/2020 OB   12/12/2020 WN;3820;LAX;BWI                   PORT SARAHVILLE       TX                       US    5013 132067815@KACHIPYTEL.COM
Q8S6BH   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW HEATHERPORT       CT                       US   72422 132069751@KACHIPYTEL.COM
Q8S6BH   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW HEATHERPORT       CT                       US   72422 132069751@KACHIPYTEL.COM
Q8S6BH   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW HEATHERPORT       CT                       US   72422 132069751@KACHIPYTEL.COM
Q8S6BH   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW HEATHERPORT       CT                       US   72422 132069751@KACHIPYTEL.COM
QBRIAL   12/6/2020 OB    12/8/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    WEST JUSTINTON        ID                       US   73686 132071643@KACHIPYTEL.COM
QBRIAL   12/6/2020 OB    12/8/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    WEST JUSTINTON        ID                       US   73686 132071643@KACHIPYTEL.COM
QD72NX   12/6/2020 OB    12/9/2020 WN;2282;BNA;MDW;WN;3306;MDW;MIA   KELLYHAVEN            CO                       US    1400 132072083@KACHIPYTEL.COM
QDG3W4   12/6/2020 OB   12/10/2020 WN;2346;ATL;TPA                   GUZMANFORT            CT                       US   38798 132072050@KACHIPYTEL.COM
QJ25RK   12/6/2020 OB   12/17/2020 WN;508;SEA;PHX;WN;1550;PHX;DEN    WHITEFURT             GA                       US   64808 132074305@KACHIPYTEL.COM
QJ2PBM   12/6/2020 OB    12/6/2020 WN;3640;AUS;MDW;WN;2627;MDW;OKC   NORTH GINA            IN                       US   40455 132074448@KACHIPYTEL.COM
QKKC2H   12/6/2020 OB   12/20/2020 WN;1266;LAX;OAK;WN;152;OAK;BOI    CHRISTENSENBURY       OH                       US    9234 132075515@KACHIPYTEL.COM
QKMQY4   12/6/2020 OB    12/6/2020 WN;55;IAD;ATL;WN;2746;ATL;FLL     COBBMOUTH             OK                       US   95705 132075460@KACHIPYTEL.COM
QKV7J2   12/6/2020 OB   12/19/2020 WN;163;ATL;MKE;WN;556;MKE;MCO     LAKE KAYLEEBURGH      WY                       US   40864 132075350@KACHIPYTEL.COM
QKV7J2   12/6/2020 OB   12/19/2020 WN;163;ATL;MKE;WN;556;MKE;MCO     LAKE KAYLEEBURGH      WY                       US   40864 132075350@KACHIPYTEL.COM
QKV7J2   12/6/2020 OB   12/19/2020 WN;163;ATL;MKE;WN;556;MKE;MCO     LAKE KAYLEEBURGH      WY                       US   40864 132075350@KACHIPYTEL.COM
QKV7J2   12/6/2020 OB   12/19/2020 WN;163;ATL;MKE;WN;556;MKE;MCO     LAKE KAYLEEBURGH      WY                       US   40864 132075350@KACHIPYTEL.COM
QKVPIW   12/6/2020 OB    12/6/2020 WN;3912;MCI;DEN;WN;4517;DEN;PDX   SAN LILIA LOS ALTOS   CHIHUAHUA                MX    9112 132075757@KACHIPYTEL.COM
QKVPIW   12/6/2020 OB    12/6/2020 WN;3912;MCI;DEN;WN;4517;DEN;PDX   SAN LILIA LOS ALTOS   CHIHUAHUA                MX    9112 132075757@KACHIPYTEL.COM
QNV92T   12/6/2020 OB   12/14/2020 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WEST BETH             MI                       US   37676 132077187@KACHIPYTEL.COM
QNV92T   12/6/2020 OB   12/14/2020 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WEST BETH             MI                       US   37676 132077187@KACHIPYTEL.COM
QNV92T   12/6/2020 OB   12/14/2020 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WEST BETH             MI                       US   37676 132077187@KACHIPYTEL.COM
QNV92T   12/6/2020 OB   12/14/2020 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WEST BETH             MI                       US   37676 132077187@KACHIPYTEL.COM
QNV92T   12/6/2020 OB   12/14/2020 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WEST BETH             MI                       US   37676 132077187@KACHIPYTEL.COM
QP9VDW   12/6/2020 OB    12/7/2020 WN;3981;MCO;HOU;WN;661;HOU;MIA    FUSSEN                MECKLENBURGVORPOMMERN    DE    5271 132077803@KACHIPYTEL.COM
QSNBY2   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW BRIANVILLE        DE                       US   75969 132079057@KACHIPYTEL.COM
QSNBY2   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW BRIANVILLE        DE                       US   75969 132079057@KACHIPYTEL.COM
QSNBY2   12/6/2020 OB   12/14/2020 WN;2925;PHX;MDW;WN;2636;MDW;MSP   NEW BRIANVILLE        DE                       US   75969 132079057@KACHIPYTEL.COM
QTMY6M   12/6/2020 OB    12/6/2020 WN;4429;ONT;DEN;WN;1667;DEN;SLC   NEW MICHAELMOUTH      WY                       US   52129 132079310@KACHIPYTEL.COM
QVGLW9   12/6/2020 OB    12/8/2020 WN;4003;SJU;MCO                   SOUTH VETSA           YAMBOL                   BG   67346 132079739@KACHIPYTEL.COM
R2LCSA   12/6/2020 OB    12/6/2020 WN;535;CVG;DEN;WN;2606;DEN;PHX    ROBERTSMOUTH          NY                       US   78946 132081917@KACHIPYTEL.COM
RRTLZW   12/6/2020 OB   12/12/2020 WN;2258;MDW;BWI                   AL BN ZFRBURGH        ASIR                     SA   31244 132099396@KACHIPYTEL.COM
RT75KY   12/6/2020 OB   12/19/2020 WN;163;ATL;MKE;WN;556;MKE;MCO     NEW TYLERBOROUGH      GA                       US   95002 132099968@KACHIPYTEL.COM
RTJXIR   12/6/2020 OB    12/6/2020 WN;3254;AUS;ATL;WN;2434;ATL;IND   HENDERSONHAVEN        ND                       US   35062 132100969@KACHIPYTEL.COM
RVYBYB   12/6/2020 OB    12/6/2020 WN;2051;ATL;MDW                   WEST ROBIN            MA                       US   81527 131676622@KACHIPYTEL.COM
S52PFC   12/6/2020 OB   12/18/2020 WN;1261;HOU;BWI;WN;3369;BWI;CVG   JORDANFORT            CA                       US   95849 132110638@KACHIPYTEL.COM
S7ZOX4   12/6/2020 OB    12/7/2020 WN;5067;STL;ATL;WN;2744;ATL;RDU   WEST DANIEL           AR                       US    6572 132113212@KACHIPYTEL.COM
S8OJIW   12/6/2020 OB   12/16/2020 WN;2705;MCO;DAL;WN;3111;DAL;CLT   HAILEYSHIRE           SD                       US   95038 132114169@KACHIPYTEL.COM
SBRHUN   12/6/2020 OB   12/16/2020 WN;3292;FLL;STL;WN;3422;STL;LGA   SOUTH ANGELA          KS                       US   70747 132118195@KACHIPYTEL.COM
SBRHUN   12/6/2020 OB   12/16/2020 WN;3292;FLL;STL;WN;3422;STL;LGA   SOUTH ANGELA          KS                       US   70747 132118195@KACHIPYTEL.COM
SGNJEM   12/6/2020 OB    12/7/2020 WN;2823;ATL;BWI;WN;5016;BWI;ALB   PORT MICHAELMOUTH     OR                       US   53551 132123343@KACHIPYTEL.COM
SJ734G   12/6/2020 OB   12/13/2020 WN;4844;SFO;DEN;WN;3907;DEN;LAS   PORT CATHERINE        MA                       US   53747 132127259@KACHIPYTEL.COM
SM2PII   12/6/2020 OB    12/7/2020 WN;2234;LAX;STL;WN;2421;STL;MCO   KEITHBOROUGH          LA                       US   51489 132130482@KACHIPYTEL.COM
SO4GRN   12/6/2020 OB   12/13/2020 WN;4704;TPA;BWI;WN;2675;BWI;CLT   EAST LORI             CO                       US   58163 131301566.1513225@KACHIPYTEL.COM
SP5MPX   12/6/2020 OB   12/23/2020 WN;2862;IND;AUS;WN;6889;AUS;MCI   NEW SANDRA            MN                       US   39049 132132473@KACHIPYTEL.COM
SREN6A   12/6/2020 OB    12/7/2020 WN;2016;ATL;BWI;WN;5016;BWI;ALB   PORT WILLIAMBURGH     OK                       US   16841 132135553@KACHIPYTEL.COM
SS5IYY   12/6/2020 OB    1/10/2021 WN;208;STL;SLC;WN;1338;SLC;DEN    NEW JEREMIAHCHESTER   WA                       US   54265 132135894@KACHIPYTEL.COM
SS5IYY   12/6/2020 OB    1/10/2021 WN;208;STL;SLC;WN;1338;SLC;DEN    NEW JEREMIAHCHESTER   WA                       US   54265 132135894@KACHIPYTEL.COM
SSM8A4   12/6/2020 OB   12/13/2020 WN;2510;MCO;BWI                   NEW NICOLEBURY        FL                       US   32123 132136939@KACHIPYTEL.COM
SSM8A4   12/6/2020 OB   12/13/2020 WN;2510;MCO;BWI                   NEW NICOLEBURY        FL                       US   32123 132136939@KACHIPYTEL.COM
SSXPAZ   12/6/2020 OB    12/7/2020 WN;2016;ATL;BWI;WN;5016;BWI;ALB   KATHLEENHAVEN         DE                       US   33254 132136884@KACHIPYTEL.COM
SV3PKI   12/6/2020 OB   12/11/2020 WN;3981;MCO;HOU                   WILLIAMSONMOUTH       AK                       US   44668 132139161@KACHIPYTEL.COM
SVOF2T   12/6/2020 OB   12/12/2020 WN;4134;ATL;BWI;WN;2371;BWI;ALB   DOUGLASFORT           MT                       US   16943 132139689@KACHIPYTEL.COM
2PLIOJ   12/7/2020 OB   12/22/2020 WN;155;ATL;LGA                    COURTNEYCHESTER       MI                       US   41062 132190806@KACHIPYTEL.COM
2PSBKC   12/7/2020 OB     1/1/2021 WN;55;IAD;ATL;WN;3082;ATL;MCO     WEST AMANDABERG       KY                       US   63925 132191114@KACHIPYTEL.COM
2RJJ45   12/7/2020 OB   12/10/2020 WN;2606;DAL;TPA                   KLINELAND             VT                       US   18380 132196460@KACHIPYTEL.COM
2VRJ98   12/7/2020 OB   12/14/2020 WN;332;MIA;BWI;WN;1657;BWI;CLE    PORT ASHLEY           OH                       US   16086 132208241@KACHIPYTEL.COM
2W359B   12/7/2020 OB   12/10/2020 WN;3959;ATL;TPA;WN;4147;TPA;MIA   MOOREMOUTH            AZ                       US   51568 132209539@KACHIPYTEL.COM
2X8GOC   12/7/2020 OB   12/19/2020 WN;945;ATL;BWI;WN;102;BWI;MIA     CANDICEBURGH          NH                       US   45841 132212784@KACHIPYTEL.COM
2XBJX2   12/7/2020 OB   12/25/2020 WN;2574;BWI;ATL;WN;3254;ATL;RDU   WEST KATHLEEN         NJ                       US   94493 132212784@KACHIPYTEL.COM
2XBPWF   12/7/2020 OB   12/19/2020 WN;1603;TPA;MCI;WN;163;MCI;ATL    NORTH KATHERINE       FL                       US   14065 132213521@KACHIPYTEL.COM
2ZSJ99   12/7/2020 OB   12/10/2020 WN;4551;PHL;BNA;WN;2432;BNA;TPA   PORT AUSTINMOUTH      NH                       US    4359 132221485@KACHIPYTEL.COM
32JHY4   12/7/2020 OB   12/10/2020 WN;2016;ATL;BWI                   NEW CATHYLAND         FL                       US   49102 132224532@KACHIPYTEL.COM
32M35V   12/7/2020 OB   12/24/2020 WN;3804;LGA;STL;WN;4978;STL;DAL   JEFFREYBURGH          NH                       US   65361 132224202@KACHIPYTEL.COM
33H5OY   12/7/2020 OB   12/24/2020 WN;3704;LAS;STL;WN;3301;STL;FLL   FOSTERFORT            NM                       US   43844 132226226@KACHIPYTEL.COM
36ROLX   12/7/2020 OB   12/18/2020 WN;1219;PHX;HOU;WN;1102;HOU;CVG   WEST TANYAPORT        IA                       US   29492 132236115@KACHIPYTEL.COM
37WEVN   12/7/2020 OB   12/21/2020 WN;373;CLT;BWI;WN;1526;BWI;MCO    NEW JESSICABERG       NM                       US   42459 132238205@KACHIPYTEL.COM
38WF2U   12/7/2020 OB    1/28/2021 WN;1059;MSY;BWI;WN;1552;BWI;MHT   EAST LAURENSIDE       MN                       US   50508 132239877@KACHIPYTEL.COM
39AWC4   12/7/2020 OB   12/15/2020 WN;3611;MDW;PHX;WN;3972;PHX;LAX   ERICMOUTH             KY                       US   95434 132240735@KACHIPYTEL.COM
39U4MU   12/7/2020 OB   12/19/2020 WN;1937;FLL;ATL;WN;2176;ATL;MDW   PORT AMANDA           NH                       US   36590 132241648@KACHIPYTEL.COM
T79OUE   12/7/2020 OB    12/8/2020 WN;2516;BWI;HOU;WN;307;HOU;CUN    NORTH PAULFURT        UT                       US   92132 132145739@KACHIPYTEL.COM
TDGSFF   12/7/2020 OB   12/19/2020 WN;2050;LAS;BWI;WN;1709;BWI;MIA   DANIELHAVEN           AL                       US   54717 132149270@KACHIPYTEL.COM
TDGSFF   12/7/2020 OB   12/19/2020 WN;2050;LAS;BWI;WN;1709;BWI;MIA   DANIELHAVEN           AL                       US   54717 132149270@KACHIPYTEL.COM
TDTTC5   12/7/2020 OB   12/13/2020 WN;3500;IND;BWI                   GWANGJUSI             GWANGJU GWANGYEOGSI      KR   26066 132149512@KACHIPYTEL.COM
TFZLFK   12/7/2020 OB   12/11/2020 WN;845;MSP;MDW                    WEST COLLINBERG       NJ                       US   62626 132151162@KACHIPYTEL.COM
TJ64AL   12/7/2020 OB   12/18/2020 WN;631;ATL;BWI;WN;142;BWI;MIA     BRYANFURT             MI                       US    7482 132153307@KACHIPYTEL.COM
TMJ92Q   12/7/2020 OB   12/17/2020 WN;1176;SFO;DEN;WN;1184;DEN;LAS   STEPHENVILLE          NV                       US   15323 132155397@KACHIPYTEL.COM
TV9Z6Y   12/7/2020 OB    12/7/2020 WN;2328;HOU;PHX;WN;4583;PHX;SAT   PORT DAVIDPORT        RI                       US   99620 132160105@KACHIPYTEL.COM
TX4C4B   12/7/2020 OB    12/7/2020 WN;2042;ATL;HOU                   RODRIGUEZVILLE        NM                       US   87574 132160941@KACHIPYTEL.COM
ULRKT8   12/7/2020 OB    12/8/2020 WN;5007;STL;PHX;WN;3026;PHX;OKC   PORT DANNYPORT        KENSINGTON AND CHELSEA   GB    9988 132182336@KACHIPYTEL.COM
3AIAMZ   12/8/2020 OB   12/14/2020 WN;2116;PIT;MDW;WN;3306;MDW;MIA   SAPUNDZHIEVASIDE      VRATSA                   BG   37036 132242858@KACHIPYTEL.COM
3BVBVM   12/8/2020 OB   12/15/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    POWELLCHESTER         KY                       US   34162 132245542@KACHIPYTEL.COM
3BWES8   12/8/2020 OB   12/15/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    PORT ERIC             KY                       US   53265 132245531@KACHIPYTEL.COM
3C6ZPI   12/8/2020 OB   12/11/2020 WN;2083;AUS;BWI;WN;331;BWI;MIA    EAST JENNIFER         UT                       US   59240 132245960@KACHIPYTEL.COM
3CCF5S   12/8/2020 OB   12/18/2020 WN;2223;MCO;BNA;WN;529;BNA;LGA    PORT MIGUELMOUTH      MT                       US   80739 132246213@KACHIPYTEL.COM
3DUI42   12/8/2020 OB   12/19/2020 WN;1929;BNA;AUS                   TAMMYBURGH            DE                       US   36918 132248754@KACHIPYTEL.COM
3DWNUJ   12/8/2020 OB   12/22/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA    NORTH LINDSAY         MO                       US   69056 132248567@KACHIPYTEL.COM
3E33B3   12/8/2020 OB   12/16/2020 WN;2664;BOS;BNA;WN;2931;BNA;MDW   CARLOSCHESTER         CT                       US   55266 132248985@KACHIPYTEL.COM
3E33B3   12/8/2020 OB   12/16/2020 WN;2664;BOS;BNA;WN;2931;BNA;MDW   CARLOSCHESTER         CT                       US   55266 132248985@KACHIPYTEL.COM




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 3E33B3    12/8/2020 OB   12/16/2020 WN;2664;BOS;BNA;WN;2931;BNA;MDW   CARLOSCHESTER          CT                  US   55266 132248985@KACHIPYTEL.COM
 3E6U3U    12/8/2020 OB   12/14/2020 WN;5037;TUL;DEN;WN;4346;DEN;LAX   PORT MELISSASHIRE      WA                  US   44909 132249227@KACHIPYTEL.COM
 3FLHW7    12/8/2020 OB   12/13/2020 WN;4805;SFO;LAX;WN;2877;LAX;LAS   NEW NICHOLASSIDE       ID                  US   85417 132250646@KACHIPYTEL.COM
 3GIBXM    12/8/2020 OB   12/11/2020 WN;3804;LGA;STL;WN;4994;STL;MCO   NORTH MICHELLE         DE                  US   38544 132252054@KACHIPYTEL.COM
 3H8FSE    12/8/2020 OB    12/8/2020 WN;2016;ATL;BWI;WN;5016;BWI;ALB   LAKE ERICCHESTER       ME                  US   25683 132253660@KACHIPYTEL.COM
 3IHRLB    12/8/2020 OB   12/27/2020 WN;2806;DAL;BWI;WN;4284;BWI;ISP   MARTINBOROUGH          WI                  US   37201 132255002@KACHIPYTEL.COM
 3KJS57    12/8/2020 OB   12/31/2020 WN;2243;SAT;PHX;WN;2740;PHX;ELP   EAST CHARLESLAND       OH                  US   26081 132257719@KACHIPYTEL.COM
 3KXNSM    12/8/2020 OB   12/22/2020 WN;631;ATL;BWI;WN;142;BWI;MIA     JING SHI               XIZANG ZIZHIQU      CN   39701 132258236@KACHIPYTEL.COM
 3KY2IU    12/8/2020 OB   12/24/2020 WN;2411;BWI;ATL;WN;4547;ATL;GSP   ANNTPUR                MEGHALAYA           IN   29492 132258236@KACHIPYTEL.COM
 3LEBLG    12/8/2020 OB   12/19/2020 WN;2323;PHL;PHX                   LEWISMOUTH             DE                  US   25595 132258918@KACHIPYTEL.COM
 3LHSAL    12/8/2020 OB   12/24/2020 WN;2016;ATL;BWI                   JONESMOUTH             NM                  US   20064 132259050@KACHIPYTEL.COM
 3M9WLN    12/8/2020 OB   12/17/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO    NORTH JAMIE            SC                  US   11081 132260260@KACHIPYTEL.COM
 3MHY7K    12/8/2020 OB   12/12/2020 WN;1179;STL;BWI;WN;2201;BWI;RDU   SINGKAWANG             LAMPUNG             ID   88474 132261085@KACHIPYTEL.COM
 3NHYOG    12/8/2020 OB     1/3/2021 WN;2404;SNA;SMF;WN;1457;SMF;LAS   NICOLEBURY             MT                  US   26602 132262559@KACHIPYTEL.COM
 3WVSJM    12/8/2020 OB    12/8/2020 WN;346;SJU;BWI;WN;3111;BWI;BOS    SOUTH PATRICK          CLARE               IE    4781 132284196@KACHIPYTEL.COM
 3WVSJM    12/8/2020 OB    12/8/2020 WN;346;SJU;BWI;WN;3111;BWI;BOS    SOUTH PATRICK          CLARE               IE    4781 132284196@KACHIPYTEL.COM
 3X9Z9A    12/8/2020 OB   12/11/2020 WN;5072;FLL;BWI;WN;3111;BWI;BOS   SCOTTBURY              NE                  US   20478 132285087@KACHIPYTEL.COM
 43NCK8    12/8/2020 OB   12/17/2020 WN;643;LAX;SMF                    PORT JAMES             GA                  US    3511 132297550@KACHIPYTEL.COM
 45AMKO    12/8/2020 OB   12/13/2020 WN;3292;FLL;STL                   WILLIAMSTON            ME                  US   41161 132303193@KACHIPYTEL.COM
 45COVE    12/8/2020 OB   12/10/2020 WN;3301;STL;FLL                   CRAIGLAND              HI                  US   43471 132303193@KACHIPYTEL.COM
 45R5IZ    12/8/2020 OB     1/7/2021 WN;1370;BWI;BNA;WN;4226;BNA;RDU   ZUBRI                  KARLOVY VARY        CZ   97165 132304524@KACHIPYTEL.COM
 48J696    12/8/2020 OB   12/21/2020 WN;1352;ATL;HOU;WN;661;HOU;MIA    SOUTH BRIAN            NY                  US   50715 132312840@KACHIPYTEL.COM
 48JQV7    12/8/2020 OB   12/11/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    PORT MADISON           MD                  US   27188 132312455@KACHIPYTEL.COM
 49PG49    12/8/2020 OB   12/19/2020 WN;945;ATL;BWI;WN;102;BWI;MIA     NORTH MIGUEL           SD                  US   22298 132315799@KACHIPYTEL.COM
 49Y3FH    12/8/2020 OB   12/12/2020 WN;3520;ATL;RSW;WN;6716;RSW;MDW   BANKSTON               RI                  US   67484 132316745@KACHIPYTEL.COM
 4B7LWD    12/8/2020 OB   12/13/2020 WN;2288;BNA;TPA;WN;4147;TPA;MIA   EAST GEOFFREYPORT      FL                  US   88921 132320375@KACHIPYTEL.COM
 4B9ADO    12/8/2020 OB   12/15/2020 WN;1623;TPA;BNA;WN;4766;BNA;PHL   LAKE NATALIEVIEW       HI                  US   96430 132320375@KACHIPYTEL.COM
 4D6OTU    12/8/2020 OB   12/20/2020 WN;124;MDW;BWI;WN;102;BWI;MIA     WEST SAMANTHAMOUTH     NV                  US   66478 132326095@KACHIPYTEL.COM
 4D6OTU    12/8/2020 OB   12/20/2020 WN;124;MDW;BWI;WN;102;BWI;MIA     WEST SAMANTHAMOUTH     NV                  US   66478 132326095@KACHIPYTEL.COM
 4E7QGG    12/8/2020 OB   12/13/2020 WN;2340;BWI;OAK;WN;3598;OAK;GEG   JUSTINTON              MS                  US   40712 132329417@KACHIPYTEL.COM
 4EALGD    12/8/2020 OB   12/10/2020 WN;2016;ATL;BWI;WN;4413;BWI;BDL   WEST RYANBURGH         VA                  US   19047 132329571@KACHIPYTEL.COM
 4EC9OP    12/8/2020 OB   12/11/2020 WN;4268;OAK;BWI;WN;3984;BWI;FLL   JAMESFORT              KY                  US   93989 132329417@KACHIPYTEL.COM
 4EE89E    12/8/2020 OB   12/10/2020 WN;2016;ATL;BWI                   BARRETTSTAD            FL                  US   11061 132329582@KACHIPYTEL.COM
 4EQHFX    12/8/2020 OB   12/11/2020 WN;2046;ATL;HOU;WN;2723;HOU;MIA   WAYNEMOUTH             UT                  US   47408 132331177@KACHIPYTEL.COM
 4FAEDO    12/8/2020 OB   12/13/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   SOUTH DANIEL           ME                  US   15248 132332761@KACHIPYTEL.COM
 4FAEDO    12/8/2020 OB   12/13/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   SOUTH DANIEL           ME                  US   15248 132332761@KACHIPYTEL.COM
 4FEQVE    12/8/2020 OB   12/13/2020 WN;27;DAL;HOU                     GILBERTVILLE           WV                  US   26363 132334125@KACHIPYTEL.COM
 4FTEEZ    12/8/2020 OB   12/18/2020 WN;375;CLT;MDW                    RODNEYBURGH            LA                  US   62755 132334532@KACHIPYTEL.COM
 4GXM9H    12/8/2020 OB   12/15/2020 WN;1990;ATL;BWI                   SOUTH COLIN            NJ                  US   31767 132334048@KACHIPYTEL.COM
 4H84HC    12/8/2020 OB    12/9/2020 WN;4022;MDW;BWI;WN;1923;BWI;BOS   SOUTH BRANDON          AZ                  US   77682 132338580@KACHIPYTEL.COM
 4HH7TO    12/8/2020 OB   12/11/2020 WN;2068;MCO;BWI;WN;2995;BWI;PVD   LORIFORT               NV                  US   40089 132339647@KACHIPYTEL.COM
 4I4TGQ    12/8/2020 OB   12/16/2020 WN;3714;LAX;BWI;WN;102;BWI;MIA    EAST GERALDVIEW        NE                  US   84695 132341429@KACHIPYTEL.COM
 4JA7PB    12/8/2020 OB   12/19/2020 WN;2402;DAL;AUS;WN;1964;AUS;DEN   NORTH MELISSA          CT                  US   40260 132343200@KACHIPYTEL.COM
 4JDSI7    12/8/2020 OB   12/14/2020 WN;4702;PIT;TPA;WN;4143;TPA;MIA   SOUTH CLAIRE           WV                  US   62987 132343530@KACHIPYTEL.COM
 4KU76X    12/8/2020 OB     1/4/2021 WN;156;LGA;ATL;WN;467;ATL;FLL     NORTH DIANE            FL                  US   45061 132346368@KACHIPYTEL.COM
 4KU76X    12/8/2020 OB     1/4/2021 WN;156;LGA;ATL;WN;467;ATL;FLL     NORTH DIANE            FL                  US   45061 132346368@KACHIPYTEL.COM
 24CUBP    12/9/2020 OB     1/3/2021 WN;3787;LGA;BNA;WN;5056;BNA;FLL   EMILYFURT              KY                  US   28113 132365255@KACHIPYTEL.COM
 24CUBP    12/9/2020 OB     1/3/2021 WN;3787;LGA;BNA;WN;5056;BNA;FLL   EMILYFURT              KY                  US   28113 132365255@KACHIPYTEL.COM
 2669NE    12/9/2020 OB   12/20/2020 WN;485;DEN;HOU;WN;54;HOU;DAL      ROSEMOUTH              WY                  US   89472 132375441@KACHIPYTEL.COM
 2C824N    12/9/2020 OB   12/10/2020 WN;2590;MDW;LAS;WN;2905;LAS;OKC   WEST BETHANYPORT       KY                  US   75038 132392150@KACHIPYTEL.COM
 2E385Y    12/9/2020 OB    1/16/2021 WN;3425;PHL;MDW                   LONGVILLE              UT                  US   39484 132397947@KACHIPYTEL.COM
 2E385Y    12/9/2020 OB    1/16/2021 WN;3425;PHL;MDW                   LONGVILLE              UT                  US   39484 132397947@KACHIPYTEL.COM
 2J4YXI    12/9/2020 OB   12/18/2020 WN;631;ATL;BWI                    NORTH PAM              FL                  US   16547 132412159@KACHIPYTEL.COM
 2KB9J7    12/9/2020 OB     1/4/2021 WN;658;TPA;BWI                    BARNESMOUTH            AZ                  US   99001 132416504@KACHIPYTEL.COM
 2KB9J7    12/9/2020 OB     1/4/2021 WN;658;TPA;BWI                    BARNESMOUTH            AZ                  US   99001 132416504@KACHIPYTEL.COM
 2KDBAV    12/9/2020 OB   12/19/2020 WN;19;DAL;HOU;WN;661;HOU;MIA      PORTERFURT             NJ                  US   16170 132415701@KACHIPYTEL.COM
 2L73RS    12/9/2020 OB   12/10/2020 WN;2823;ATL;BWI                   SCHNEIDERTOWN          NJ                  US   82509 132419386@KACHIPYTEL.COM
 2LEUQ6    12/9/2020 OB   12/15/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    WATKINSHAVEN           SD                  US   56499 132420629@KACHIPYTEL.COM
 2MP42R    12/9/2020 OB   12/17/2020 WN;1561;DTW;BNA;WN;1587;BNA;LGA   SOLOMONLAND            CT                  US   17682 132425062@KACHIPYTEL.COM
 2NDABW    12/9/2020 OB   12/14/2020 WN;3406;SFO;SAN;WN;1468;SAN;LAS   NEW CHRISTOPHER        WI                  US   70156 132427350@KACHIPYTEL.COM
 2OZRGE    12/9/2020 OB   12/13/2020 WN;1997;MCO;DEN;WN;1454;DEN;MSP   WATSONSHIRE            MO                  US   72730 132431596@KACHIPYTEL.COM
 2PAFNQ    12/9/2020 OB     1/6/2021 WN;523;OMA;ATL;WN;651;ATL;STL     ABBOTTPORT             UT                  US   63532 132433983@KACHIPYTEL.COM
 2PXNJH    12/9/2020 OB   12/18/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     RAMIREZCHESTER         MO                  US   48682 132435787@KACHIPYTEL.COM
 2QP36U    12/9/2020 OB   12/14/2020 WN;3787;LGA;BNA;WN;3188;BNA;MCO   CIPLUN                 KARNATAKA           IN   71383 132438757@KACHIPYTEL.COM
 2R6PJX    12/9/2020 OB   12/14/2020 WN;3413;RNO;LAS;WN;3907;LAS;LAX   VIPAVSKI KRIZ          BISTRICA OB SOTLI   SI   62740 132440099@KACHIPYTEL.COM
 2SP5WE    12/9/2020 OB   12/17/2020 WN;984;ATL;BWI                    MARSHALLLAND           NC                  US   15230 132444048@KACHIPYTEL.COM
 2SP5WE    12/9/2020 OB   12/17/2020 WN;984;ATL;BWI                    MARSHALLLAND           NC                  US   15230 132444048@KACHIPYTEL.COM
 2SP5WE    12/9/2020 OB   12/17/2020 WN;984;ATL;BWI                    MARSHALLLAND           NC                  US   15230 132444048@KACHIPYTEL.COM
 2T2KTD    12/9/2020 OB   12/20/2020 WN;643;LAX;SMF;WN;872;SMF;BOI     VINCENTBOROUGH         TX                  US   49189 132444609@KACHIPYTEL.COM
 2UHX7I    12/9/2020 OB   12/16/2020 WN;4762;CLT;DAL;WN;3410;DAL;TPA   NEW NICOLEMOUTH        TX                  US   34846 132448206@KACHIPYTEL.COM
 2UK63P    12/9/2020 OB     1/6/2021 WN;118;AUS;BWI;WN;331;BWI;MIA     CAMPBELLTOWN           MA                  US   34943 132448184@KACHIPYTEL.COM
 2UKDNQ    12/9/2020 OB   12/12/2020 WN;2579;MDW;ATL                   JOHNHAVEN              NY                  US    4304 132447546@KACHIPYTEL.COM
 2VKRH5    12/9/2020 OB   12/14/2020 WN;2208;TPA;MDW;WN;2255;MDW;BOS   AMBERTOWN              KY                  US    5482 132449284@KACHIPYTEL.COM
 4MXJ7F    12/9/2020 OB   12/12/2020 WN;4526;SFO;DEN;WN;1529;DEN;LAS   DEVAAS                 ANDHRA PRADESH      IN   43302 132349877@KACHIPYTEL.COM
 4OGAFA    12/9/2020 OB   12/19/2020 WN;177;FLL;DEN;WN;4353;DEN;LAX    HAMILTONFURT           UT                  US   97157 132351296@KACHIPYTEL.COM
 4Q7P3K    12/9/2020 OB    12/9/2020 WN;3185;FLL;BNA;WN;4551;BNA;MKE   OLSENSTAD              IA                  US   92199 132353661@KACHIPYTEL.COM
 4U7Y8Q    12/9/2020 OB   12/18/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     KINGTON                SD                  US   17911 132359645@KACHIPYTEL.COM
 4VKBCY    12/9/2020 OB     1/4/2021 WN;2813;HOU;LAX                   KRYSTALVILLE           MS                  US   61898 132361537@KACHIPYTEL.COM
 4W3LEU    12/9/2020 OB   12/20/2020 WN;314;MDW;BWI                    EAST ALEJANDRO         VA                  US   23906 132362098@KACHIPYTEL.COM
 4XQ8AR    12/9/2020 OB    12/9/2020 WN;4756;OAK;HOU                   MICHAELFURT            MN                  US    9872 132363165@KACHIPYTEL.COM
 4YHWS9    12/9/2020 OB    12/9/2020 WN;4022;MDW;BWI                   NORTH GEORGE           GA                  US   68009 132364628@KACHIPYTEL.COM
 2WLGOE   12/10/2020 OB   12/10/2020 WN;3704;LAS;STL;WN;3301;STL;FLL   NEW SARAHHAVEN         NV                  US   16303 132450956@KACHIPYTEL.COM
 2X85W5   12/10/2020 OB   12/10/2020 WN;4908;SLC;DEN;WN;3927;DEN;LAX   NUEVA SUECIA           TAMAULIPAS          MX   81935 132452221@KACHIPYTEL.COM
 2X85W5   12/10/2020 OB   12/10/2020 WN;4908;SLC;DEN;WN;3927;DEN;LAX   NUEVA SUECIA           TAMAULIPAS          MX   81935 132452221@KACHIPYTEL.COM
 2X85W5   12/10/2020 OB   12/10/2020 WN;4908;SLC;DEN;WN;3927;DEN;LAX   NUEVA SUECIA           TAMAULIPAS          MX   81935 132452221@KACHIPYTEL.COM
 2XPHYV   12/10/2020 OB    1/19/2021 WN;2728;BUF;DEN;WN;5014;DEN;MKE   LAKE JESSICASIDE       AK                  US   81216 132453189@KACHIPYTEL.COM
 2YD5H4   12/10/2020 OB   12/19/2020 WN;1871;STL;HOU                   SOUTH MATTHEW          MS                  US   53393 132454080@KACHIPYTEL.COM
 2YG58K   12/10/2020 OB   12/19/2020 WN;2323;PHL;PHX                   NORTH CHRISTYLAND      CA                  US   27735 132454124@KACHIPYTEL.COM
 2YSRN7   12/10/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA   NORTH SARAH            MI                  US   19098 132454553@KACHIPYTEL.COM
 2ZUM9A   12/10/2020 OB   12/12/2020 WN;2741;ATL;BWI;WN;2150;BWI;MIA   STEPHENSHIRE           TN                  US   91101 132456093@KACHIPYTEL.COM
 32V7YI   12/10/2020 OB   12/12/2020 WN;2741;ATL;BWI;WN;2150;BWI;MIA   PATRICIAMOUTH          VA                  US   88911 132457589@KACHIPYTEL.COM
 338ITJ   12/10/2020 OB   12/16/2020 WN;3787;LGA;BNA;WN;2438;BNA;MCO   RAMOSLAND              MI                  US   79874 132458403@KACHIPYTEL.COM
 33IDHW   12/10/2020 OB   12/20/2020 WN;634;STL;TPA                    PORT MONICA            TN                  US   35130 132459107@KACHIPYTEL.COM
 33L9ZZ   12/10/2020 OB   12/16/2020 WN;3804;LGA;STL;WN;4008;STL;RSW   GONZALESSTAD           MI                  US    8189 132458513@KACHIPYTEL.COM
 34HZPA   12/10/2020 OB   12/10/2020 WN;3368;ATL;HOU;WN;2516;HOU;MCO   EAST DIANE             NM                  US   91021 132460196@KACHIPYTEL.COM
 34ZUPE   12/10/2020 OB     1/3/2021 WN;1998;ATL;BWI                   NORTH ERICCHESTER      VA                  US   44856 132461681@KACHIPYTEL.COM
 3524NP   12/10/2020 OB   12/13/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA    NEW PHRAKHRUUPLADSUW   AS                  US   65282 132455279@KACHIPYTEL.COM
 35Q6XS   12/10/2020 OB   12/13/2020 WN;3191;FLL;BWI;WN;1923;BWI;BOS   NICOLEHAVEN            NE                  US   52299 132462605@KACHIPYTEL.COM
 37PS2C   12/10/2020 OB   12/11/2020 WN;3714;LAX;BWI                   MICHAELMOUTH           IN                  US   41336 132465410@KACHIPYTEL.COM
 39J6HE   12/10/2020 OB   12/15/2020 WN;1990;ATL;BWI                   NORTH WILLIAM          UT                  US   90915 132468457@KACHIPYTEL.COM
 3AIVRN   12/10/2020 OB   12/19/2020 WN;332;MIA;BWI                    ROMANHAVEN             WI                  US   86537 132469370@KACHIPYTEL.COM
 3B96NT   12/10/2020 OB   12/13/2020 WN;2346;ATL;TPA;WN;4147;TPA;MIA   NORTH MONICA           ME                  US    1707 132470437@KACHIPYTEL.COM
 3E5CBS   12/10/2020 OB   12/10/2020 WN;3308;LGB;SMF;WN;1493;SMF;LAS   NORTH ALICE            OH                  US   73685 132475068@KACHIPYTEL.COM
 3FQHGE   12/10/2020 OB   12/14/2020 WN;3343;LGA;ATL                   NEW PAUL               LA                  US   74111 132479644@KACHIPYTEL.COM
 3FW96A   12/10/2020 OB   12/20/2020 WN;6702;ATL;PHX;WN;840;PHX;LGB    EAST MATTHEW           KS                  US     805 132478841@KACHIPYTEL.COM
 3LJ58A   12/10/2020 OB   12/12/2020 WN;3434;LGA;BNA;WN;2494;BNA;FLL   AJMER                  MEGHALAYA           IN   66055 132495704@KACHIPYTEL.COM
 3LV9DB   12/10/2020 OB   12/23/2020 WN;1896;ATL;BNA                   LAKE AMANDAMOUTH       AL                  US   83116 132496815@KACHIPYTEL.COM
 3M2AGM   12/10/2020 OB   12/13/2020 WN;2531;RNO;LAS;WN;3239;LAS;LAX   PORT MICHELEFORT       FL                  US   33356 132496804@KACHIPYTEL.COM
 3OIDZU   12/10/2020 OB   12/13/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   EAST JUSTIN            MD                  US   12132 132505351@KACHIPYTEL.COM




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 3OMA6C   12/10/2020 OB   12/11/2020 WN;2590;MDW;LAS;WN;2905;LAS;OKC      EAST MARIAH            PA                       US   93050 132504966@KACHIPYTEL.COM
 3P34KM   12/10/2020 OB   12/27/2020 WN;6750;LAS;PHX                      ANDERSONLAND           AZ                       US    3947 132506330@KACHIPYTEL.COM
 3PH37T   12/10/2020 OB   12/14/2020 WN;3179;FLL;ATL;WN;4969;ATL;DCA      JEREMIAHBURGH          OH                       US   59958 132507771@KACHIPYTEL.COM
 3PMX3L   12/10/2020 OB   12/12/2020 WN;3802;IND;LAS                      GUTIERREZFORT          SD                       US   19398 132508728@KACHIPYTEL.COM
 3PQVLU   12/10/2020 OB    2/27/2021 WN;1738;DEN;TPA;WN;3546;TPA;MIA      EAST JASON             LA                       US   83706 132507540@KACHIPYTEL.COM
 3PQVLU   12/10/2020 OB    2/27/2021 WN;1738;DEN;TPA;WN;3546;TPA;MIA      EAST JASON             LA                       US   83706 132507540@KACHIPYTEL.COM
 3Q9UW8   12/10/2020 OB   12/28/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO       EAST SYDNEYVIEW        CT                       US   62847 132510334@KACHIPYTEL.COM
 3STJAF   12/10/2020 OB   12/12/2020 WN;2766;TPA;DEN;WN;4603;DEN;MSP      STACYTOWN              OK                       US   70626 132518562@KACHIPYTEL.COM
 3STJAF   12/10/2020 OB   12/12/2020 WN;2766;TPA;DEN;WN;4603;DEN;MSP      STACYTOWN              OK                       US   70626 132518562@KACHIPYTEL.COM
 3U6UYU   12/10/2020 OB     1/1/2021 WN;3230;OKC;HOU;WN;3172;HOU;TUS;WN;31PORT BARBARATON        GA                       US   33773 132522379@KACHIPYTEL.COM
 3UMSR7   12/10/2020 OB   12/11/2020 WN;4035;MDW;DEN;WN;2827;DEN;LGA      GOMEZBURY              WV                       US   17978 132524095@KACHIPYTEL.COM
 3UXLEZ   12/10/2020 OB   12/23/2020 WN;2697;CLT;BWI                      EAST CURTISBERG        KS                       US   20521 132524909@KACHIPYTEL.COM
 3VIQSN   12/10/2020 OB   12/11/2020 WN;3920;LAX;MDW;WN;3388;MDW;MCO      CYNTHIACHESTER         MD                       US   40119 132526493@KACHIPYTEL.COM
 3W9IEY   12/10/2020 OB   12/19/2020 WN;2323;PHL;PHX;WN;695;PHX;LAS       NEW DAVID              SC                       US   93153 132528858@KACHIPYTEL.COM
 3XNA4R   12/10/2020 OB   12/22/2020 WN;1343;SAN;SMF;WN;926;SMF;PDX       WEST CHRISTIANVIEW     WA                       US   60955 132533621@KACHIPYTEL.COM
 3ZC77Z   12/10/2020 OB   12/26/2020 WN;1237;PVD;MDW;WN;115;MDW;PIT       SMITHLAND              CA                       US   63287 132538329@KACHIPYTEL.COM
 3ZOXZQ   12/10/2020 OB   12/13/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO      MILLSFURT              MD                       US   54703 132540243@KACHIPYTEL.COM
 42FENC   12/10/2020 OB    1/18/2021 WN;4973;SAT;BNA;WN;1370;BNA;HOU      RANDALLBERG            MS                       US   74962 132542245@KACHIPYTEL.COM
 42G4DM   12/10/2020 OB    1/15/2021 WN;1909;BNA;SAT                      ROBINSONBOROUGH        VT                       US    4627 132542245@KACHIPYTEL.COM
 43BA9F   12/10/2020 OB   12/21/2020 WN;985;LGA;MDW;WN;1202;MDW;MCO       ANSEONGSI              DAEJEON GWANGYEOGSI      KR    7086 132545347@KACHIPYTEL.COM
 44A9F4   12/10/2020 OB   12/14/2020 WN;5013;BNA;BWI;WN;102;BWI;MIA       WEST ELIZABETHLAND     WA                       US   66645 132548086@KACHIPYTEL.COM
 44QJZK   12/10/2020 OB   12/12/2020 WN;3193;LGA;ATL;WN;4530;ATL;TPA      NORTH RHONDA           UT                       US   21817 132549989@KACHIPYTEL.COM
 44QZQT   12/10/2020 OB   12/18/2020 WN;773;DTW;BNA;WN;529;BNA;LGA        HILLBURY               TX                       US   66486 132549208@KACHIPYTEL.COM
 478Q8M   12/10/2020 OB   12/12/2020 WN;2741;ATL;BWI;WN;2087;BWI;FLL      JACKSONFORT            TX                       US   39555 132555159@KACHIPYTEL.COM
 478Q8M   12/10/2020 OB   12/12/2020 WN;2741;ATL;BWI;WN;2087;BWI;FLL      JACKSONFORT            TX                       US   39555 132555159@KACHIPYTEL.COM
 478Q8M   12/10/2020 OB   12/12/2020 WN;2741;ATL;BWI;WN;2087;BWI;FLL      JACKSONFORT            TX                       US   39555 132555159@KACHIPYTEL.COM
 22886S   12/11/2020 OB   12/19/2020 WN;1861;LAX;SMF;WN;2245;SMF;BOI      SUSANSHIRE             DE                       US   55615 132608399@KACHIPYTEL.COM
 2299IB   12/11/2020 OB   12/23/2020 WN;6865;ATL;IND;WN;3798;IND;MCO      LAKE GREGORY           CT                       US   54989 132608949@KACHIPYTEL.COM
 24KXQB   12/11/2020 OB   12/23/2020 WN;4075;RDU;ATL;WN;1847;ATL;LGA      WEST MARYVIEW          WY                       US   78268 132615725@KACHIPYTEL.COM
 25PAP4   12/11/2020 OB   12/22/2020 WN;2389;ATL;BWI                      VESZPREM               VESZPREM                 HU   42993 132618794@KACHIPYTEL.COM
 269VYW   12/11/2020 OB   12/12/2020 WN;4635;PHX;MDW;WN;3057;MDW;CVG      SOUTH KEITH            TX                       US   33357 132619872@KACHIPYTEL.COM
 26W249   12/11/2020 OB   12/24/2020 WN;3240;FLL;MCO;WN;1474;MCO;SJU      DAVIDLAND              NC                       US   29958 132621324@KACHIPYTEL.COM
 275HLR   12/11/2020 OB   12/13/2020 WN;3212;HOU;TPA;WN;2434;TPA;ATL      SIMPSONFORT            WY                       US   98385 132622171@KACHIPYTEL.COM
 27O3KP   12/11/2020 OB   12/24/2020 WN;3468;BOI;DEN                      AMANDACHESTER          CO                       US   46679 132623634@KACHIPYTEL.COM
 27O3KP   12/11/2020 OB   12/24/2020 WN;3468;BOI;DEN                      AMANDACHESTER          CO                       US   46679 132623634@KACHIPYTEL.COM
 27O3KP   12/11/2020 OB   12/24/2020 WN;3468;BOI;DEN                      AMANDACHESTER          CO                       US   46679 132623634@KACHIPYTEL.COM
 28FE8X   12/11/2020 OB   12/16/2020 WN;3343;LGA;ATL                      BROWNLAND              MS                       US   95125 132625218@KACHIPYTEL.COM
 28G2MZ   12/11/2020 OB   12/14/2020 WN;1490;LAS;SMF;WN;2703;SMF;SEA      AMANDACHESTER          AK                       US   74910 132625581@KACHIPYTEL.COM
 28JCZS   12/11/2020 OB   12/12/2020 WN;2741;ATL;BWI;WN;2150;BWI;MIA      CITRDURG               BIHAR                    IN   78110 132626527@KACHIPYTEL.COM
 28SO2Y   12/11/2020 OB    1/11/2021 WN;2307;BOI;DEN                      COLEMANSHIRE           AL                       US   77365 132626747@KACHIPYTEL.COM
 297SD4   12/11/2020 OB   12/22/2020 WN;523;RSW;STL;WN;200;STL;LGA        GRAYFURT               ID                       US   90238 132628617@KACHIPYTEL.COM
 2997HL   12/11/2020 OB   12/22/2020 WN;981;MCO;BWI;WN;102;BWI;MIA        TIFFANYLAND            AZ                       US   13360 132628342@KACHIPYTEL.COM
 29LLB3   12/11/2020 OB   12/18/2020 WN;118;AUS;BWI                       SOUTH CASSANDRA        AR                       US   75967 132629937@KACHIPYTEL.COM
 29LLB3   12/11/2020 OB   12/18/2020 WN;118;AUS;BWI                       SOUTH CASSANDRA        AR                       US   75967 132629937@KACHIPYTEL.COM
 29WLOT   12/11/2020 OB   12/12/2020 WN;4303;PHX;HOU;WN;2833;HOU;BNA      WEST RONALD            GA                       US   96744 132630575@KACHIPYTEL.COM
 2AABAG   12/11/2020 OB    1/15/2021 WN;1019;SJU;TPA;WN;2288;TPA;MIA      NORTH WENDY            NC                       US    2333 132631565@KACHIPYTEL.COM
 2ASBX7   12/11/2020 OB   12/24/2020 WN;3189;PHL;MDW;WN;3655;MDW;LAX      JOYCEFURT              MS                       US   99084 132633457@KACHIPYTEL.COM
 2BK5T2   12/11/2020 OB   12/12/2020 WN;3802;IND;LAS;WN;4580;LAS;AUS      HAYESBURY              UT                       US   22476 132635701@KACHIPYTEL.COM
 2CPG23   12/11/2020 OB   12/16/2020 WN;2664;BOS;BNA;WN;2931;BNA;MDW      WEST STEFANIE          OR                       US   56842 132640299@KACHIPYTEL.COM
 2EXJRU   12/11/2020 OB   12/17/2020 WN;1136;TPA;BNA;WN;169;BNA;BOS       LAKE ANDREW            AR                       US   77667 132646063@KACHIPYTEL.COM
 2EXJRU   12/11/2020 OB   12/17/2020 WN;1136;TPA;BNA;WN;169;BNA;BOS       LAKE ANDREW            AR                       US   77667 132646063@KACHIPYTEL.COM
 2EXJRU   12/11/2020 OB   12/17/2020 WN;1136;TPA;BNA;WN;169;BNA;BOS       LAKE ANDREW            AR                       US   77667 132646063@KACHIPYTEL.COM
 2GUSED   12/11/2020 OB    1/30/2021 WN;3219;LGA;STL                      IRWINBERG              KS                       US   15292 132649748@KACHIPYTEL.COM
 2HXTKL   12/11/2020 OB   12/14/2020 WN;2208;TPA;MDW;WN;3115;MDW;ATL      SOUTH CHELSEABERG      TN                       US   62809 132652806@KACHIPYTEL.COM
 2ITS4K   12/11/2020 OB   12/23/2020 WN;4930;LAS;BWI;WN;102;BWI;MIA       MICHAELFORT            WY                       US   21059 132654335@KACHIPYTEL.COM
 2J79SG   12/11/2020 OB    1/28/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX       PORT LINDSAYBURGH      ID                       US    2185 132655325@KACHIPYTEL.COM
 2J79SG   12/11/2020 OB    1/28/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX       PORT LINDSAYBURGH      ID                       US    2185 132655325@KACHIPYTEL.COM
 2JFSFB   12/11/2020 OB   12/31/2020 WN;3725;LAX;HOU;WN;3172;HOU;TUS      NEW MARKBURGH          KY                       US   16944 132655776@KACHIPYTEL.COM
 2JMSC9   12/11/2020 OB   12/14/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO      WEST JOSETOWN          GA                       US   71199 132655886@KACHIPYTEL.COM
 49ADEY   12/11/2020 OB   12/12/2020 WN;3802;IND;LAS;WN;4580;LAS;AUS      LAKE TAYLOR            AK                       US   12539 132559317@KACHIPYTEL.COM
 49EZAF   12/11/2020 OB   12/13/2020 WN;2577;MIA;HOU;WN;2528;HOU;BNA      LAKE DEBORAHFURT       MD                       US   43312 132559812@KACHIPYTEL.COM
 4AT9R3   12/11/2020 OB   12/23/2020 WN;3747;CLT;BNA;WN;3765;BNA;FLL      PODHORANY              BANSKOBYSTRICKY KRAJ     SK   48942 132561572@KACHIPYTEL.COM
 4AT9R3   12/11/2020 OB   12/23/2020 WN;3747;CLT;BNA;WN;3765;BNA;FLL      PODHORANY              BANSKOBYSTRICKY KRAJ     SK   48942 132561572@KACHIPYTEL.COM
 4B2IRR   12/11/2020 OB   12/12/2020 WN;2732;TPA;HOU;WN;2714;HOU;ATL      WESLEYFORT             AR                       US   48435 132562056@KACHIPYTEL.COM
 4BOML5   12/11/2020 OB   12/14/2020 WN;5072;FLL;BWI;WN;1657;BWI;CLE      NELSONSHIRE            CT                       US   41481 132562727@KACHIPYTEL.COM
 4CGV48   12/11/2020 OB   12/11/2020 WN;3103;LAS;HOU;WN;1640;HOU;FLL      PORT JULIANBURY        ME                       US   70564 132563992@KACHIPYTEL.COM
 4DP6BG   12/11/2020 OB   12/14/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO      EAST RACHELFURT        MO                       US   34872 132566016@KACHIPYTEL.COM
 4DSDDO   12/11/2020 OB   12/15/2020 WN;1943;RSW;MDW;WN;2195;MDW;CLE      GRACEMOUTH             ND                       US   85846 132565961@KACHIPYTEL.COM
 4FNLIP   12/11/2020 OB   12/25/2020 WN;4917;SLC;MDW;WN;2950;MDW;CLE      EAST RANDALLVIEW       AMMAN AL ASIMAH          JO   38905 132568568@KACHIPYTEL.COM
 4FP8FU   12/11/2020 OB     1/1/2021 WN;3230;OKC;HOU;WN;3172;HOU;TUS;WN;31PEREZSTAD              NH                       US   32744 132568590@KACHIPYTEL.COM
 4GDZ2Q   12/11/2020 OB   12/21/2020 WN;1041;TPA;STL;WN;846;STL;ATL       TODDSTAD               SD                       US   46898 132569503@KACHIPYTEL.COM
 4H2MBE   12/11/2020 OB    1/10/2021 WN;4124;MDW;SMF;WN;4159;SMF;BUR      MARTHASTAD             IL                       US   98999 132570900@KACHIPYTEL.COM
 4HAJGM   12/11/2020 OB   12/18/2020 WN;161;SMF;MDW;WN;712;MDW;MSY        NORTH STEPHANIE        FL                       US   64582 132570900@KACHIPYTEL.COM
 4JS4PG   12/11/2020 OB   12/13/2020 WN;4801;OAK;PHX;WN;3322;PHX;HOU      MORENOBURY             OH                       US   23618 132573177@KACHIPYTEL.COM
 4M2DWQ   12/11/2020 OB   12/15/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO      WEST KELLYSIDE         CA                       US   30708 132576796@KACHIPYTEL.COM
 4M8JCI   12/11/2020 OB   12/13/2020 WN;2104;PHX;BWI;WN;5034;BWI;MSY      PORT JOSEPHMOUTH       FL                       US   18563 132577346@KACHIPYTEL.COM
 4NIL5B   12/11/2020 OB   12/31/2020 WN;4941;PDX;LAS;WN;4827;LAS;SMF      REESESHIRE             SC                       US   38170 132578512@KACHIPYTEL.COM
 4NIL5B   12/11/2020 OB   12/31/2020 WN;4941;PDX;LAS;WN;4827;LAS;SMF      REESESHIRE             SC                       US   38170 132578512@KACHIPYTEL.COM
 4NIL5B   12/11/2020 OB   12/31/2020 WN;4941;PDX;LAS;WN;4827;LAS;SMF      REESESHIRE             SC                       US   38170 132578512@KACHIPYTEL.COM
 4OZ4EC   12/11/2020 OB   12/17/2020 WN;221;ATL;IAD                       SOUTH MATTHEWBOROUGH   WY                       US    3266 132581174@KACHIPYTEL.COM
 4QLTBA   12/11/2020 OB   12/12/2020 WN;3193;LGA;ATL;WN;4530;ATL;TPA      SOUTH PERRY            AZ                       US   39412 132583968@KACHIPYTEL.COM
 4XLO7Y   12/11/2020 OB   12/12/2020 WN;3219;LGA;STL                      EAST ALEXISCHESTER     TN                       US   17570 132601227@KACHIPYTEL.COM
 4XTWFU   12/11/2020 OB   12/11/2020 WN;2016;ATL;BWI;WN;3984;BWI;FLL      HESSCHESTER            OR                       US   79129 132601755@KACHIPYTEL.COM
 4XTWFU   12/11/2020 OB   12/11/2020 WN;2016;ATL;BWI;WN;3984;BWI;FLL      HESSCHESTER            OR                       US   79129 132601755@KACHIPYTEL.COM
 4YKER9   12/11/2020 OB   12/12/2020 WN;4537;ATL;IND;WN;3327;IND;TPA      CHARLESVILLE           VT                       US   73323 132604208@KACHIPYTEL.COM
 4Z6AYP   12/11/2020 OB   12/19/2020 WN;2048;LAS;BNA;WN;2141;BNA;FLL      CAMPBELLBURY           VT                       US   41399 132606210@KACHIPYTEL.COM
 4Z6LW6   12/11/2020 OB   12/16/2020 WN;1623;BNA;LAS;WN;2402;LAS;TUS      PORT TAMARATON         NJ                       US   79248 132606210@KACHIPYTEL.COM
 2KU336   12/12/2020 OB   12/16/2020 WN;2288;BNA;TPA;WN;4147;TPA;MIA      LEWISLAND              MO                       US   11471 132657272@KACHIPYTEL.COM
 2KZUWY   12/12/2020 OB   12/17/2020 WN;1136;TPA;BNA;WN;169;BNA;BOS       NORTH CRYSTALSHIRE     TN                       US   46401 132657272@KACHIPYTEL.COM
 2LH9LI   12/12/2020 OB   12/18/2020 WN;631;ATL;BWI                       NEW AMANDAMOUTH        KY                       US   70486 132658339@KACHIPYTEL.COM
 2LQMP2   12/12/2020 OB   12/16/2020 WN;4904;SJU;MCO;WN;2631;MCO;PHL      WALTERSMOUTH           NE                       US   97344 132658306@KACHIPYTEL.COM
 2LQMP2   12/12/2020 OB   12/16/2020 WN;4904;SJU;MCO;WN;2631;MCO;PHL      WALTERSMOUTH           NE                       US   97344 132658306@KACHIPYTEL.COM
 2LQMP2   12/12/2020 OB   12/16/2020 WN;4904;SJU;MCO;WN;2631;MCO;PHL      WALTERSMOUTH           NE                       US   97344 132658306@KACHIPYTEL.COM
 2NAVPZ   12/12/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA      TAYLORSTAD             WI                       US   68841 132660638@KACHIPYTEL.COM
 2NNTIK   12/12/2020 OB   12/15/2020 WN;4692;LAS;SAN                      NEW BETH               WV                       US    3116 132661056@KACHIPYTEL.COM
 2ORNY6   12/12/2020 OB   12/12/2020 WN;3686;OAK;MDW;WN;4668;MDW;MCO      SAN DALIA LOS ALTOS    MORELOS                  MX   86375 132662475@KACHIPYTEL.COM
 2OTL3W   12/12/2020 OB   12/14/2020 WN;1377;MDW;OAK;WN;5078;OAK;LAX      NUEVA JAMAICA          COLIMA                   MX   33944 132662475@KACHIPYTEL.COM
 2PRBH8   12/12/2020 OB   12/12/2020 WN;3193;LGA;ATL;WN;4530;ATL;TPA      RENEEBOROUGH           NY                       US   34085 132663575@KACHIPYTEL.COM
 2R4SND   12/12/2020 OB    1/30/2021 WN;2763;FLL;STL;WN;3748;STL;MDW      EAST MARK              NM                       US   91980 132664829@KACHIPYTEL.COM
 2R4SND   12/12/2020 OB    1/30/2021 WN;2763;FLL;STL;WN;3748;STL;MDW      EAST MARK              NM                       US   91980 132664829@KACHIPYTEL.COM
 2SBHD6   12/12/2020 OB   12/17/2020 WN;1242;FLL;BWI;WN;242;BWI;BOS       PACCOT                 APPENZELL AUSSERRHODEN   CH   52300 132665940@KACHIPYTEL.COM
 2SPJTB   12/12/2020 OB   12/12/2020 WN;1677;LGA;ATL;WN;1677;ATL;TPA      NEW BRIANVIEW          HI                       US   59146 132666369@KACHIPYTEL.COM
 2TIS34   12/12/2020 OB   12/18/2020 WN;1397;DAL;BWI;WN;2156;BWI;ISP      JOSEPHBURY             IA                       US   99152 132667480@KACHIPYTEL.COM
 2TIS34   12/12/2020 OB   12/18/2020 WN;1397;DAL;BWI;WN;2156;BWI;ISP      JOSEPHBURY             IA                       US   99152 132667480@KACHIPYTEL.COM
 2U5KKX   12/12/2020 OB   12/19/2020 WN;2271;LGA;ATL;WN;1736;ATL;DAL      EAST MELISSA           MS                       US   85261 132668239@KACHIPYTEL.COM
 2UH4CB   12/12/2020 OB   12/12/2020 WN;1677;LGA;ATL                      WEST ELIZABETH         TN                       US   78229 132668349@KACHIPYTEL.COM
 2UHETB   12/12/2020 OB   12/24/2020 WN;3587;DTW;BNA;WN;3127;BNA;JAX      WEST DAVIDVILLE        NJ                       US   13882 132668503@KACHIPYTEL.COM
 2UOP8J   12/12/2020 OB   12/18/2020 WN;124;MDW;BWI                       WEST CHRISTOPHERSHIR   NJ                       US   24396 132668712@KACHIPYTEL.COM
 34YFHN   12/12/2020 OB   12/12/2020 WN;3977;MDW;MCO;WN;1992;MCO;ISP      WEST JOEL              VT                       US   35836 132678161@KACHIPYTEL.COM




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 39EXPQ   12/12/2020 OB   12/18/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NEW ALICE            AZ                   US   30301 132685916@KACHIPYTEL.COM
 3BK7B8   12/12/2020 OB   12/17/2020 WN;631;ATL;BWI;WN;984;BWI;TPA     JOHNSONSHIRE         MD                   US   86853 132690184@KACHIPYTEL.COM
 3C4JJS   12/12/2020 OB   12/19/2020 WN;1893;CLT;MDW                   NORTH CHRISTOPHER    CA                   US   12141 132691262@KACHIPYTEL.COM
 3C6X8O   12/12/2020 OB   12/20/2020 WN;2171;LGA;MDW                   ELIZABETHVIEW        NH                   US   82795 132691394@KACHIPYTEL.COM
 3C6X8O   12/12/2020 OB   12/20/2020 WN;2171;LGA;MDW                   ELIZABETHVIEW        NH                   US   82795 132691394@KACHIPYTEL.COM
 3DLJYA   12/12/2020 OB   12/16/2020 WN;4115;ATL;MSY                   SELO LEONID          KYIVSKA MISKA RADA   UA   75799 132694397@KACHIPYTEL.COM
 3E5CYY   12/12/2020 OB   12/15/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   PORT JOSHUA          NY                   US   76084 132695299@KACHIPYTEL.COM
 3E5CYY   12/12/2020 OB   12/15/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   PORT JOSHUA          NY                   US   76084 132695299@KACHIPYTEL.COM
 3EJ6LX   12/12/2020 OB   12/23/2020 WN;2549;BWI;PHX;WN;1567;PHX;LGB   ANNATOWN             IN                   US   32404 132696223@KACHIPYTEL.COM
 3EJ6LX   12/12/2020 OB   12/23/2020 WN;2549;BWI;PHX;WN;1567;PHX;LGB   ANNATOWN             IN                   US   32404 132696223@KACHIPYTEL.COM
 3EJ6LX   12/12/2020 OB   12/23/2020 WN;2549;BWI;PHX;WN;1567;PHX;LGB   ANNATOWN             IN                   US   32404 132696223@KACHIPYTEL.COM
 3FDGEC   12/12/2020 OB   12/19/2020 WN;1715;SAN;DEN;WN;1657;DEN;FLL   SANCHEZMOUTH         DE                   US   81460 132697422@KACHIPYTEL.COM
 3FHF95   12/12/2020 OB   12/22/2020 WN;652;PHX;DEN;WN;233;DEN;MSP     CATHYVILLE           WA                   US   37256 132698280@KACHIPYTEL.COM
 3H5P7Q   12/12/2020 OB   12/17/2020 WN;143;ATL;MDW;WN;1573;MDW;TPA    EAST CHERYLPORT      AR                   US    8953 132701602@KACHIPYTEL.COM
 3IMAZF   12/12/2020 OB   12/20/2020 WN;1090;MSY;BWI;WN;142;BWI;MIA    NEW CHRISTOPHERTON   MN                   US   24363 132704539@KACHIPYTEL.COM
 3JHBBF   12/12/2020 OB   12/21/2020 WN;135;LGA;ATL;WN;6700;ATL;RSW    SOUTH AARONCHESTER   WY                   US   82415 132706695@KACHIPYTEL.COM
 3KCBAT   12/12/2020 OB   12/21/2020 WN;122;BWI;PHX;WN;619;PHX;LGB     PORT KEVIN           TN                   US   36477 132708136@KACHIPYTEL.COM
 3LGCDW   12/12/2020 OB   12/15/2020 WN;3348;LGA;ATL;WN;3082;ATL;MCO   EAST RHONDABURY      RI                   US   22017 132710897@KACHIPYTEL.COM
 3LJP5Z   12/12/2020 OB   12/19/2020 WN;59;MDW;BNA;WN;506;BNA;FLL      WADESHIRE            WI                   US   97051 132711260@KACHIPYTEL.COM
 3LK57N   12/12/2020 OB   12/13/2020 WN;2026;ATL;DEN                   PORT HEIDI           VT                   US   74588 132712052@KACHIPYTEL.COM
 3LK57N   12/12/2020 OB   12/13/2020 WN;2026;ATL;DEN                   PORT HEIDI           VT                   US   74588 132712052@KACHIPYTEL.COM
 3LNMN7   12/12/2020 OB   12/14/2020 WN;430;ATL;PHX;WN;4945;PHX;OMA    LAKE SAMUELBURY      AZ                   US   91527 132711645@KACHIPYTEL.COM
 3NZAUY   12/12/2020 OB   12/13/2020 WN;3292;FLL;STL;WN;3422;STL;LGA   WEST JOSEPH          FL                   US   94816 132717145@KACHIPYTEL.COM
 3OL3SB   12/12/2020 OB   12/20/2020 WN;895;RNO;DEN;WN;1543;DEN;SNA    WARESIDE             HI                   US   18083 132718289@KACHIPYTEL.COM
 3PBJYV   12/12/2020 OB   12/20/2020 WN;126;LGA;MDW;WN;432;MDW;FLL     LAKE STEPHENHAVEN    ID                   US   72889 132720203@KACHIPYTEL.COM
 3PBJYV   12/12/2020 OB   12/20/2020 WN;126;LGA;MDW;WN;432;MDW;FLL     LAKE STEPHENHAVEN    ID                   US   72889 132720203@KACHIPYTEL.COM
 3PDXVW   12/12/2020 OB   12/29/2020 WN;125;MSY;DEN                    WEST CHASE           AR                   US   36489 132719939@KACHIPYTEL.COM
 3PDXVW   12/12/2020 OB   12/30/2020 WN;6891;DEN;DSM                   WEST CHASE           AR                   US   36489 132719939@KACHIPYTEL.COM
 3Q4NRJ   12/12/2020 OB   12/19/2020 WN;2007;LGA;ATL;WN;1083;ATL;RSW   WOODFURT             WY                   US   54664 132721633@KACHIPYTEL.COM
 3QTY5N   12/12/2020 OB     1/3/2021 WN;3467;RIC;ATL;WN;4101;ATL;TPA   DAVISFORT            NM                   US   98292 132722843@KACHIPYTEL.COM
 3SE8HV   12/12/2020 OB   12/26/2020 WN;1891;MSY;BWI                   LAKE MATTHEW         AL                   US   13805 132726121@KACHIPYTEL.COM
 3SYROA   12/12/2020 OB   12/15/2020 WN;3828;OAK;SNA;WN;2901;SNA;LAS   MARISSASHIRE         WI                   US   82990 132727012@KACHIPYTEL.COM
 3SYROA   12/12/2020 OB   12/15/2020 WN;3828;OAK;SNA;WN;2901;SNA;LAS   MARISSASHIRE         WI                   US   82990 132727012@KACHIPYTEL.COM
 3THJEA   12/12/2020 OB   12/13/2020 WN;2703;SEA;PHX;WN;2478;PHX;ABQ   MANUELBERG           VT                   US   95699 132727276@KACHIPYTEL.COM
 3VDNLT   12/12/2020 OB   12/15/2020 WN;4805;SFO;LAX;WN;2877;LAX;LAS   JENNIFERCHESTER      VT                   US   45706 132730246@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/30/2020 WN;6804;DCA;DAL                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/31/2020 WN;2279;DAL;LAX                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/30/2020 WN;6804;DCA;DAL                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/31/2020 WN;2279;DAL;LAX                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/30/2020 WN;6804;DCA;DAL                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/31/2020 WN;2279;DAL;LAX                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/30/2020 WN;6804;DCA;DAL                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 226CDD   12/13/2020 OB   12/31/2020 WN;2279;DAL;LAX                   WILLIAMLAND          FL                   US    8418 132792418@KACHIPYTEL.COM
 229MUQ   12/13/2020 OB   12/14/2020 WN;2936;DCA;ATL                   SOUTH KIARAHAVEN     NE                   US   60697 132793177@KACHIPYTEL.COM
 22XU6V   12/13/2020 OB   12/18/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    PORT CINDY           CO                   US   24186 132795201@KACHIPYTEL.COM
 24OIF4   12/13/2020 OB     1/3/2021 WN;1621;CLT;STL;WN;3851;STL;MSY   DEVGRH               MADHYA PRADESH       IN    5017 132798996@KACHIPYTEL.COM
 24ZYGU   12/13/2020 OB   12/27/2020 WN;1998;ATL;BWI                   SOUTH NATHANBURGH    AL                   US   85389 132799084@KACHIPYTEL.COM
 25A7B3   12/13/2020 OB   12/16/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   FOSTERBERG           SC                   US   67180 132799909@KACHIPYTEL.COM
 25A7B3   12/13/2020 OB   12/16/2020 WN;3343;LGA;ATL;WN;2228;ATL;MCO   FOSTERBERG           SC                   US   67180 132799909@KACHIPYTEL.COM
 25AH6D   12/13/2020 OB   12/18/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO    LAKE CLARENCEMOUTH   TX                   US   43542 132799689@KACHIPYTEL.COM
 25JM45   12/13/2020 OB   12/19/2020 WN;1593;BUF;MCO                   NORTH ANGELABERG     CA                   US   53498 132800107@KACHIPYTEL.COM
 25LVIP   12/13/2020 OB   12/23/2020 WN;2643;TPA;MDW;WN;6905;MDW;SMF   WEST SHAWN           CT                   US   74532 132800558@KACHIPYTEL.COM
 25NJG5   12/13/2020 OB   12/23/2020 WN;6905;MDW;SMF                   NEW NICOLE           MS                   US   60032 132800558@KACHIPYTEL.COM
 285UOW   12/13/2020 OB   12/26/2020 WN;1492;LAS;SMF;WN;816;SMF;SEA    NORTH CHRISTINE      WI                   US   52003 132803847@KACHIPYTEL.COM
 28B43U   12/13/2020 OB   12/26/2020 WN;2313;AUS;LAS;WN;1492;LAS;SMF   PORT ANTHONYVILLE    ID                   US   34080 132803847@KACHIPYTEL.COM
 3VWXYB   12/13/2020 OB   12/21/2020 WN;763;CLT;STL                    NEW CHARLES          HI                   US   77997 132730961@KACHIPYTEL.COM
 3XHC3B   12/13/2020 OB   12/13/2020 WN;4743;RDU;ATL;WN;3490;ATL;RSW   WEST FELICIABERG     NY                   US   54738 132732512@KACHIPYTEL.COM
 429OZX   12/13/2020 OB   12/22/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     WILLIAMMOUTH         MD                   US   32317 132735394@KACHIPYTEL.COM
 45B2CB   12/13/2020 OB   12/25/2020 WN;2703;SEA;PHX;WN;2901;PHX;DEN   CALEBLAND            MD                   US    7441 132737759@KACHIPYTEL.COM
 45FMY2   12/13/2020 OB   12/15/2020 WN;2408;SEA;SJC;WN;4965;SJC;LAS   SOYLUBERG            BITLIS               TR   25956 132737990@KACHIPYTEL.COM
 45HACQ   12/13/2020 OB   12/13/2020 WN;3642;LAS;HOU;WN;661;HOU;MIA    HAWKINSBOROUGH       IA                   US   68701 132738056@KACHIPYTEL.COM
 45MSFV   12/13/2020 OB   12/13/2020 WN;2077;AUS;BNA;WN;2713;BNA;MSY   TODDFORT             OR                   US   33229 132738221@KACHIPYTEL.COM
 478BVK   12/13/2020 OB   12/20/2020 WN;1568;DEN;TPA;WN;1065;TPA;MIA   LAKE AMANDAVIEW      CA                   US   84120 132739574@KACHIPYTEL.COM
 47T2HM   12/13/2020 OB    1/28/2021 WN;3454;HOU;STL;WN;1365;STL;LIT   EAST VALERIEHAVEN    TN                   US   14336 132740025@KACHIPYTEL.COM
 47ZBAY   12/13/2020 OB    1/14/2021 WN;4988;STL;HOU;WN;2490;HOU;OKC   PORT DANIEL          AZ                   US   64142 132740025@KACHIPYTEL.COM
 4AL2EK   12/13/2020 OB   12/19/2020 WN;2262;MDW;BWI;WN;2225;BWI;BOS   WEST MARTHAFURT      AR                   US   73412 132742137@KACHIPYTEL.COM
 4B3NQ5   12/13/2020 OB   12/16/2020 WN;1534;LAS;SMF;WN;4842;SMF;SEA   HENSLEYSIDE          NY                   US   90881 132742577@KACHIPYTEL.COM
 4CCFQZ   12/13/2020 OB   12/23/2020 WN;4112;DTW;BWI                   SOUTH STEVENVIEW     NV                   US   48479 132743842@KACHIPYTEL.COM
 4CSWSR   12/13/2020 OB   12/13/2020 WN;3348;LGA;ATL;WN;3498;ATL;TPA   PORT MICHELLEBERG    ND                   US   65333 132744326@KACHIPYTEL.COM
 4D9HOO   12/13/2020 OB   12/17/2020 WN;1440;SFO;MDW;WN;126;MDW;MCO    JUANFORT             KY                   US   15053 132744887@KACHIPYTEL.COM
 4DIC7K   12/13/2020 OB   12/20/2020 WN;143;ATL;MDW;WN;432;MDW;FLL     NEW BRITTANY         PA                   US   99483 132745448@KACHIPYTEL.COM
 4EKYNP   12/13/2020 OB   12/13/2020 WN;3348;LGA;ATL;WN;3498;ATL;TPA   NEW RONALDSIDE       UT                   US   57242 132746801@KACHIPYTEL.COM
 4L33I8   12/13/2020 OB   12/13/2020 WN;2548;MCO;BWI;WN;102;BWI;MIA    LAKE DANIELPORT      OH                   US   11424 132758956@KACHIPYTEL.COM
 4MIPDT   12/13/2020 OB   12/13/2020 WN;3170;PHX;HOU;WN;2618;HOU;BNA   CAROLYNSHIRE         IN                   US   85850 132761464@KACHIPYTEL.COM
 4N3G24   12/13/2020 OB   12/19/2020 WN;1662;BWI;STL;WN;2394;STL;HOU   DOMINIQUEPORT        NY                   US   72796 132762234@KACHIPYTEL.COM
 4NL8HV   12/13/2020 OB   12/23/2020 WN;6865;ATL;IND;WN;3798;IND;MCO   SARAHVIEW            OK                   US   40728 132763521@KACHIPYTEL.COM
 4PEOMI   12/13/2020 OB   12/18/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO    LEWISLAND            NM                   US   39302 132767063@KACHIPYTEL.COM
 4Q7HEM   12/13/2020 OB   12/17/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     PORT CARLYBURGH      LA                   US   60313 132768647@KACHIPYTEL.COM
 4Q7HEM   12/13/2020 OB   12/17/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     PORT CARLYBURGH      LA                   US   60313 132768647@KACHIPYTEL.COM
 4QT78I   12/13/2020 OB   12/13/2020 WN;2863;FLL;DEN;WN;4300;DEN;SNA   LAKE JAMES           QINA                 EG   63758 132770033@KACHIPYTEL.COM
 4QT78I   12/13/2020 OB   12/13/2020 WN;2863;FLL;DEN;WN;4300;DEN;SNA   LAKE JAMES           QINA                 EG   63758 132770033@KACHIPYTEL.COM
 4QXQVP   12/13/2020 OB   12/18/2020 WN;1008;ATL;BWI                   NORTH PETERCHESTER   CT                   US   35827 132770154@KACHIPYTEL.COM
 4RKXJQ   12/13/2020 OB   12/27/2020 WN;4769;MCO;MDW;WN;3618;MDW;DTW   TERRYSIDE            IN                   US   46857 132771815@KACHIPYTEL.COM
 4SFIXV   12/13/2020 OB   12/13/2020 WN;1589;MDW;HOU;WN;2528;HOU;BNA   NEW JORDAN           NJ                   US    5758 132773289@KACHIPYTEL.COM
 4U3OHO   12/13/2020 OB   12/24/2020 WN;2246;ATL;STL;WN;3301;STL;FLL   JOHNVIEW             ND                   US   48891 132777205@KACHIPYTEL.COM
 4U3OHO   12/13/2020 OB   12/24/2020 WN;2246;ATL;STL;WN;3301;STL;FLL   JOHNVIEW             ND                   US   48891 132777205@KACHIPYTEL.COM
 4VQZXY   12/13/2020 OB   12/22/2020 WN;1090;MSY;BWI;WN;331;BWI;MIA    WENDYSTAD            DE                   US   61116 132780725@KACHIPYTEL.COM
 4W5IEP   12/13/2020 OB   12/20/2020 WN;124;MDW;BWI                    WEST JOSEPHPORT      TN                   US   29065 132781968@KACHIPYTEL.COM
 4WJ8XJ   12/13/2020 OB   12/15/2020 WN;3830;SNA;DEN;WN;2863;DEN;BOI   TATEBURGH            WI                   US   17749 132782914@KACHIPYTEL.COM
 4WMNRB   12/13/2020 OB   12/21/2020 WN;2171;LGA;MDW;WN;1128;MDW;DAL   CARLOSLAND           MO                   US   63940 132782694@KACHIPYTEL.COM
 4WVOBS   12/13/2020 OB   12/28/2020 WN;584;IND;HOU;WN;1180;HOU;GSP    SOUTH JAMES          CT                   US   58087 132783277@KACHIPYTEL.COM
 4WYN85   12/13/2020 OB   12/14/2020 WN;4003;SJU;MCO                   NEW GABRIELLEVIEW    AZ                   US   74070 132784465@KACHIPYTEL.COM
 4WYN85   12/13/2020 OB   12/14/2020 WN;4003;SJU;MCO                   NEW GABRIELLEVIEW    AZ                   US   74070 132784465@KACHIPYTEL.COM
 4X2YM3   12/13/2020 OB   12/15/2020 WN;4833;GEG;DEN;WN;3912;DEN;BUR   WEST RICARDO         MT                   US    6381 132784850@KACHIPYTEL.COM
 4XS7EC   12/13/2020 OB   12/27/2020 WN;2849;LAX;STL;WN;1632;STL;PHL   EAST JOHN            CA                   US   77212 132786170@KACHIPYTEL.COM
 4YHEKY   12/13/2020 OB   12/26/2020 WN;2007;LGA;ATL                   NORTH GARY           WV                   US   22803 132788051@KACHIPYTEL.COM
 4Z3WP2   12/13/2020 OB   12/17/2020 WN;198;SJU;MCO                    SOUTH JUSTIN         PA                   US   16180 132790328@KACHIPYTEL.COM
 4ZP78R   12/13/2020 OB   12/21/2020 WN;703;BWI;LAS                    BRIGGSBERG           KY                   US    4359 132791439@KACHIPYTEL.COM
 28KA3B   12/14/2020 OB     2/3/2021 WN;4973;SAT;BNA                   ANNTNAAG             GUJARAT              IN   97245 132804045@KACHIPYTEL.COM
 29VU6O   12/14/2020 OB   12/26/2020 WN;2161;MCO;BWI                   NORTH MISTY          OH                   US   82850 132806124@KACHIPYTEL.COM
 2AC86G   12/14/2020 OB   12/23/2020 WN;1266;LAX;OAK                   LAKE RUSSELLBURGH    RI                   US   63316 132806454@KACHIPYTEL.COM
 2AQNBN   12/14/2020 OB   12/17/2020 WN;448;MSY;HOU;WN;661;HOU;MIA     SOUTH BRITTANY       RI                   US    2770 132806718@KACHIPYTEL.COM
 2CYN8Z   12/14/2020 OB     1/8/2021 WN;2423;BWI;AUS;WN;239;AUS;SJC    PORT DANIEL          AK                   US   49789 132809347@KACHIPYTEL.COM
 2D5ZU6   12/14/2020 OB   12/16/2020 WN;3804;LGA;STL;WN;5072;STL;FLL   LESLIEFURT           TX                   US   99111 132809699@KACHIPYTEL.COM
 2D8N64   12/14/2020 OB   12/19/2020 WN;1788;ATL;BWI;WN;1792;BWI;FLL   NICHOLASBURY         DE                   US   69671 132809897@KACHIPYTEL.COM
 2DKBKF   12/14/2020 OB     1/8/2021 WN;4743;AUS;BWI                   HILLVIEW             NE                   US   44048 132809974@KACHIPYTEL.COM
 2DKBKF   12/14/2020 OB     1/8/2021 WN;4743;AUS;BWI                   HILLVIEW             NE                   US   44048 132809974@KACHIPYTEL.COM
 2EQUGP   12/14/2020 OB   12/14/2020 WN;3406;HOU;LAS;WN;2905;LAS;OKC   HARRISTOWN           IN                   US   92388 132811250@KACHIPYTEL.COM
 2FFIA4   12/14/2020 OB   12/14/2020 WN;3725;LAX;HOU;WN;4279;HOU;MSY   NEW JASON            ME                   US   94319 132812218@KACHIPYTEL.COM




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 2FOCEF   12/14/2020 OB   12/21/2020 WN;1043;BDL;BWI;WN;331;BWI;MIA        SOUTH JOSEPHBURGH      ID                   US   72448 132812746@KACHIPYTEL.COM
 2G5ELK   12/14/2020 OB   12/18/2020 WN;126;MDW;MCO;WN;747;MCO;FLL         SAN MARIA ELENA DE L   NUEVO LEON           MX   52556 132813120@KACHIPYTEL.COM
 2G5ELK   12/14/2020 OB   12/18/2020 WN;126;MDW;MCO;WN;747;MCO;FLL         SAN MARIA ELENA DE L   NUEVO LEON           MX   52556 132813120@KACHIPYTEL.COM
 2G5WWC   12/14/2020 OB   12/18/2020 WN;1427;SEA;MDW;WN;244;MDW;DEN        VIEJA GAMBIA           SONORA               MX   67101 132813120@KACHIPYTEL.COM
 2G5WWC   12/14/2020 OB   12/18/2020 WN;1427;SEA;MDW;WN;244;MDW;DEN        VIEJA GAMBIA           SONORA               MX   67101 132813120@KACHIPYTEL.COM
 2H7DDD   12/14/2020 OB   12/24/2020 WN;4542;PDX;SMF;WN;1222;SMF;SNA       NORTH ERICASTAD        AL                   US   54104 132814847@KACHIPYTEL.COM
 2H7DDD   12/14/2020 OB   12/24/2020 WN;4542;PDX;SMF;WN;1222;SMF;SNA       NORTH ERICASTAD        AL                   US   54104 132814847@KACHIPYTEL.COM
 2HKJHB   12/14/2020 OB   12/25/2020 WN;3389;SFO;SAN;WN;2883;SAN;LAS       MARIOFORT              AZ                   US   22121 132815617@KACHIPYTEL.COM
 2JAUL8   12/14/2020 OB   12/23/2020 WN;6833;LAS;HOU;WN;3485;HOU;MIA       FISCHERHAVEN           KS                   US   67910 132817311@KACHIPYTEL.COM
 2JHJI9   12/14/2020 OB   12/20/2020 WN;1122;HOU;LAS                       SOUTH CHARLES          NM                   US   74252 132817311@KACHIPYTEL.COM
 2KI28J   12/14/2020 OB   12/18/2020 WN;972;ATL;MCO;WN;1320;MCO;FLL        NORTH JILL             OH                   US   88427 132818499@KACHIPYTEL.COM
 2KI28J   12/14/2020 OB   12/18/2020 WN;972;ATL;MCO;WN;1320;MCO;FLL        NORTH JILL             OH                   US   88427 132818499@KACHIPYTEL.COM
 2T8R4Z   12/14/2020 OB   12/17/2020 WN;1334;RIC;ATL;WN;467;ATL;FLL        LAKE CHRISTOPHERTOWN   NV                   US   54309 132835901@KACHIPYTEL.COM
 2TEVXL   12/14/2020 OB   12/22/2020 WN;523;RSW;STL;WN;200;STL;LGA         KINGTOWN               TN                   US   26016 132836759@KACHIPYTEL.COM
 2X25XF   12/14/2020 OB   12/17/2020 WN;1584;TPA;PHX;WN;650;PHX;TUL        PORT STEVENMOUTH       TN                   US   87879 132845559@KACHIPYTEL.COM
 2ZJWFO   12/14/2020 OB    1/14/2021 WN;3176;MDW;DAL;WN;22;DAL;FLL         NEW ROBERTPORT         VA                   US   19409 132852577@KACHIPYTEL.COM
 32NOWQ   12/14/2020 OB   12/26/2020 WN;2144;LAX;STL;WN;441;STL;DAL        BRANDITON              FL                   US   75136 132855261@KACHIPYTEL.COM
 32OHKS   12/14/2020 OB   12/14/2020 WN;4003;SJU;MCO                       NEW GABRIELLEVIEW      AZ                   US   74070 132784465@KACHIPYTEL.COM
 33OC5S   12/14/2020 OB   12/18/2020 WN;6723;DEN;SAN;WN;1467;SAN;SJC       NORTH JENNIFERTON      NY                   US   30583 132855547@KACHIPYTEL.COM
 33OC5S   12/14/2020 OB   12/18/2020 WN;6723;DEN;SAN;WN;1467;SAN;SJC       NORTH JENNIFERTON      NY                   US   30583 132855547@KACHIPYTEL.COM
 378IDJ   12/14/2020 OB     1/4/2021 WN;161;SEA;SMF;WN;855;SMF;PHX;WN;855;PSELO OSTAP             MYKOLAIVSKA OBLAST   UA   25017 132867735@KACHIPYTEL.COM
 378IDJ   12/14/2020 OB     1/4/2021 WN;161;SEA;SMF;WN;855;SMF;PHX;WN;855;PSELO OSTAP             MYKOLAIVSKA OBLAST   UA   25017 132867735@KACHIPYTEL.COM
 378IDJ   12/14/2020 OB     1/4/2021 WN;161;SEA;SMF;WN;855;SMF;PHX;WN;855;PSELO OSTAP             MYKOLAIVSKA OBLAST   UA   25017 132867735@KACHIPYTEL.COM
 378IDJ   12/14/2020 OB     1/4/2021 WN;161;SEA;SMF;WN;855;SMF;PHX;WN;855;PSELO OSTAP             MYKOLAIVSKA OBLAST   UA   25017 132867735@KACHIPYTEL.COM
 379R4F   12/14/2020 OB   12/17/2020 WN;143;ATL;MDW;WN;1573;MDW;TPA        NOVAKSTAD              NV                   US   88543 132868186@KACHIPYTEL.COM
 37GGSY   12/14/2020 OB   12/22/2020 WN;837;DEN;BWI;WN;331;BWI;MIA         FRANKLINBURGH          MA                   US   55259 132868516@KACHIPYTEL.COM
 37XK9Q   12/14/2020 OB   12/21/2020 WN;1195;ORF;BWI;WN;1525;BWI;ISP       CLAUDIATON             PA                   US   43566 132870243@KACHIPYTEL.COM
 38THIQ   12/14/2020 OB   12/21/2020 WN;1520;SNA;SJC                       NEW LINDAVILLE         OK                   US   29171 132872564@KACHIPYTEL.COM
 398KOT   12/14/2020 OB   12/21/2020 WN;956;HOU;ATL;WN;133;ATL;MCO         GILLESPIETOWN          IA                   US   42012 132873312@KACHIPYTEL.COM
 39A4VM   12/14/2020 OB   12/18/2020 WN;6852;ATL;HOU;WN;358;HOU;FLL        EAST KEVIN             CO                   US   41793 132873312@KACHIPYTEL.COM
 39FEDH   12/14/2020 OB   12/17/2020 WN;1246;MCO;MDW;WN;2172;MDW;LGA       WEST AIMEE             KY                   US   86640 132874203@KACHIPYTEL.COM
 3AFQ2U   12/14/2020 OB   12/19/2020 WN;2176;ATL;MDW;WN;1640;MDW;TPA       JOSEPHVIEW             WV                   US   65545 132878097@KACHIPYTEL.COM
 3AJUP5   12/14/2020 OB     1/5/2021 WN;820;LAX;BNA;WN;834;BNA;ATL         JEREMYMOUTH            AK                   US   65368 132877943@KACHIPYTEL.COM
 3AKUUT   12/14/2020 OB   12/19/2020 WN;2074;TPA;IND;WN;2059;IND;ATL       WEST LISA              WA                   US   80006 132878284@KACHIPYTEL.COM
 3AYF58   12/14/2020 OB   12/19/2020 WN;163;ATL;MKE                        HENSLEYBURY            ME                   US   79922 132879890@KACHIPYTEL.COM
 3CT6S8   12/14/2020 OB   12/25/2020 WN;352;ROC;BWI                        SOUTH JOSESIDE         LA                   US   71459 132884202@KACHIPYTEL.COM
 3D24YT   12/14/2020 OB   12/17/2020 WN;6852;ATL;HOU;WN;358;HOU;FLL        PORT BENJAMINMOUTH     VA                   US   54124 132885687@KACHIPYTEL.COM
 3FMTJ2   12/14/2020 OB     1/2/2021 WN;1957;DCA;STL;WN;1407;STL;MCO       GREENSIDE              AZ                   US   30403 132892760@KACHIPYTEL.COM
 3FPQ33   12/14/2020 OB   12/15/2020 WN;3920;LAX;MDW;WN;3388;MDW;MCO       JACKTOWN               TN                   US   26600 132890538@KACHIPYTEL.COM
 3FUQET   12/14/2020 OB   12/19/2020 WN;426;ABQ;BWI                        AMRAAVTII              MAHARASHTRA          IN   36637 132894322@KACHIPYTEL.COM
 3GNSXM   12/14/2020 OB   12/24/2020 WN;3239;BWI;LAS;WN;2073;LAS;LGB       NORTH GREGORYVILLE     VA                   US   31465 132895829@KACHIPYTEL.COM
 3GNSXM   12/14/2020 OB   12/24/2020 WN;3239;BWI;LAS;WN;2073;LAS;LGB       NORTH GREGORYVILLE     VA                   US   31465 132895829@KACHIPYTEL.COM
 3H525H   12/14/2020 OB    1/31/2021 WN;4858;LAS;TPA;WN;2288;TPA;MIA       CONNERVILLE            WV                   US   10528 132897402@KACHIPYTEL.COM
 3H5OVI   12/14/2020 OB   12/20/2020 WN;558;MCO;STL                        LAKE THOMAS            MI                   US   61223 132897490@KACHIPYTEL.COM
 3HEW7Q   12/14/2020 OB   12/17/2020 WN;532;STL;MCO;WN;201;MCO;RDU         WEST BRYANBURY         CO                   US   65787 132897490@KACHIPYTEL.COM
 3HOIWB   12/14/2020 OB    1/14/2021 WN;2947;OKC;PHX;WN;1480;PHX;STL       LAKE TIMOTHYVIEW       KS                   US   68382 132898183@KACHIPYTEL.COM
 3ICWST   12/14/2020 OB   12/31/2020 WN;2193;CLT;MDW;WN;3388;MDW;MCO       NEW KARI               IN                   US   27920 132899503@KACHIPYTEL.COM
 3IT8JY   12/14/2020 OB   12/28/2020 WN;802;LAS;BWI;WN;102;BWI;MIA         NEW DAVID              RI                   US   31615 132900548@KACHIPYTEL.COM
 3IT8JY   12/14/2020 OB   12/28/2020 WN;802;LAS;BWI;WN;102;BWI;MIA         NEW DAVID              RI                   US   31615 132900548@KACHIPYTEL.COM
 3IXJN4   12/14/2020 OB   12/30/2020 WN;136;ATL;AUS                        LAKE ANDREA            MS                   US   64580 132900845@KACHIPYTEL.COM
 OTGEIT   12/14/2020 OB   12/14/2020 WN;3786;PHX;MDW                       NEW BRIANVILLE         DE                   US   75969 132079057@KACHIPYTEL.COM
 OTGEIT   12/14/2020 OB   12/15/2020 WN;3927;MDW;MSP                       NEW BRIANVILLE         DE                   US   75969 132079057@KACHIPYTEL.COM
 OTGEIT   12/14/2020 OB   12/14/2020 WN;3786;PHX;MDW                       NEW BRIANVILLE         DE                   US   75969 132079057@KACHIPYTEL.COM
 OTGEIT   12/14/2020 OB   12/15/2020 WN;3927;MDW;MSP                       NEW BRIANVILLE         DE                   US   75969 132079057@KACHIPYTEL.COM
 3LIVPI   12/15/2020 OB   12/22/2020 WN;563;LAS;SJC;WN;738;SJC;LGB         NORTH ADAMVILLE        AR                   US   82706 132905564@KACHIPYTEL.COM
 3MPSK5   12/15/2020 OB   12/19/2020 WN;2094;LGA;ATL;WN;2242;ATL;MCO       SINGHFURT              WA                   US   67535 132908457@KACHIPYTEL.COM
 3OPRI4   12/15/2020 OB   12/19/2020 WN;788;LGA;DEN;WN;1704;DEN;ABQ        NORTH JODISHIRE        AR                   US   74510 132911328@KACHIPYTEL.COM
 3OQW4V   12/15/2020 OB   12/17/2020 WN;324;MIA;HOU                        ALEXANDRAFURT          CT                   US   67786 132911020@KACHIPYTEL.COM
 3P65TK   12/15/2020 OB     1/3/2021 WN;6626;RDU;HOU;WN;3485;HOU;MIA       CHRISTINASHIRE         KY                   US   38890 132911669@KACHIPYTEL.COM
 3PMBEE   12/15/2020 OB   12/20/2020 WN;910;FLL;DEN;WN;1119;DEN;LAS        SOUTH CHARLES          MT                   US   39627 132912384@KACHIPYTEL.COM
 3Q45OE   12/15/2020 OB   12/22/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA        KATHLEENSIDE           MN                   US   31526 132912879@KACHIPYTEL.COM
 3QG9Q2   12/15/2020 OB    1/11/2021 WN;5018;TPA;DAL;WN;3111;DAL;CLT       SOUTH AUSTIN           WY                   US   37046 132913143@KACHIPYTEL.COM
 3QG9Q2   12/15/2020 OB    1/11/2021 WN;5018;TPA;DAL;WN;3111;DAL;CLT       SOUTH AUSTIN           WY                   US   37046 132913143@KACHIPYTEL.COM
 3R4HPB   12/15/2020 OB   12/31/2020 WN;3804;LGA;STL;WN;4994;STL;MCO       STEVENTON              GA                   US   72426 132914353@KACHIPYTEL.COM
 3RCF2C   12/15/2020 OB   12/17/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO        EAST CHRISTOPHER       OR                   US   33660 132914903@KACHIPYTEL.COM
 3SMJHM   12/15/2020 OB   12/20/2020 WN;1039;SFO;LAX;WN;27;LAX;LAS         SOUTH JENNIFERFORT     NM                   US   96848 132916465@KACHIPYTEL.COM
 3SPME5   12/15/2020 OB   12/24/2020 WN;4608;LAX;OAK;WN;1963;OAK;BOI       MCDANIELMOUTH          CT                   US   92371 132916465@KACHIPYTEL.COM
 3SXDAW   12/15/2020 OB   12/19/2020 WN;878;CLE;MDW;WN;1899;MDW;RSW        WEST MICHAELVILLE      NH                   US   41758 132917455@KACHIPYTEL.COM
 3TW6QO   12/15/2020 OB   12/16/2020 WN;3714;LAX;BWI;WN;3236;BWI;PBI       PERRYTON               KS                   US   27592 132918478@KACHIPYTEL.COM
 3VMTOB   12/15/2020 OB   12/23/2020 WN;4412;SEA;SMF;WN;1457;SMF;LAS       SOUTH KEVIN            TX                   US   91079 132920931@KACHIPYTEL.COM
 3VMTOB   12/15/2020 OB   12/23/2020 WN;4412;SEA;SMF;WN;1457;SMF;LAS       SOUTH KEVIN            TX                   US   91079 132920931@KACHIPYTEL.COM
 3WFY2B   12/15/2020 OB   12/15/2020 WN;4615;PHX;MDW;WN;4792;MDW;CVG       PORT PETER             OR                   US   78057 132921580@KACHIPYTEL.COM
 3XSGWJ   12/15/2020 OB   12/18/2020 WN;629;SFO;PHX;WN;1222;PHX;LAS        GARCIAFORT             CT                   US   22816 132923879@KACHIPYTEL.COM
 44AAVK   12/15/2020 OB   12/20/2020 WN;6990;PHX;ATL;WN;494;ATL;MSY        EAST BRIAN             NM                   US   65554 132933658@KACHIPYTEL.COM
 45XZV6   12/15/2020 OB   12/20/2020 WN;325;MCO;MDW;WN;821;MDW;BOS         NORTH KELLYBERG        AR                   US   55471 132936837@KACHIPYTEL.COM
 45XZV6   12/15/2020 OB   12/20/2020 WN;325;MCO;MDW;WN;821;MDW;BOS         NORTH KELLYBERG        AR                   US   55471 132936837@KACHIPYTEL.COM
 4DZD7G   12/15/2020 OB   12/22/2020 WN;915;RSW;BWI;WN;242;BWI;BOS         HEATHERSIDE            KS                   US   17918 132957429@KACHIPYTEL.COM
 4DZD7G   12/15/2020 OB   12/22/2020 WN;915;RSW;BWI;WN;242;BWI;BOS         HEATHERSIDE            KS                   US   17918 132957429@KACHIPYTEL.COM
 4EROYZ   12/15/2020 OB   12/25/2020 WN;2580;RIC;MCO;WN;2438;MCO;FLL       NIELSENTON             OH                   US   15040 132959233@KACHIPYTEL.COM
 4FQOCZ   12/15/2020 OB   12/23/2020 WN;4292;MSP;MDW;WN;2873;MDW;MCO       WEST ALICEMOUTH        NY                   US   49625 132961884@KACHIPYTEL.COM
 4GDMAX   12/15/2020 OB   12/24/2020 WN;2016;ATL;BWI;WN;102;BWI;MIA        NORTH HECTORBERG       OK                   US   20196 132963061@KACHIPYTEL.COM
 4GT8QL   12/15/2020 OB   12/30/2020 WN;455;DCA;ATL                        POTTERBOROUGH          WY                   US   18186 132963842@KACHIPYTEL.COM
 4H4A7F   12/15/2020 OB   12/18/2020 WN;395;TPA;BWI;WN;1245;BWI;BOS        JOSEPHSTAD             WV                   US   27203 132965833@KACHIPYTEL.COM
 4H886C   12/15/2020 OB   12/18/2020 WN;631;ATL;BWI;WN;277;BWI;TPA         EAST TAMMYMOUTH        MT                   US   94290 132966339@KACHIPYTEL.COM
 4HEZZC   12/15/2020 OB   12/16/2020 WN;3704;LAS;STL;WN;3301;STL;FLL       LOUISTON               PA                   US   80155 132966284@KACHIPYTEL.COM
 4HEZZC   12/15/2020 OB   12/16/2020 WN;3704;LAS;STL;WN;3301;STL;FLL       LOUISTON               PA                   US   80155 132966284@KACHIPYTEL.COM
 4HFH9T   12/15/2020 OB   12/21/2020 WN;638;DEN;MCO;WN;304;MCO;MEM         PORT TIFFANY           WV                   US    5090 132967175@KACHIPYTEL.COM
 4HFYY7   12/15/2020 OB   12/22/2020 WN;6967;SJU;BWI;WN;331;BWI;MIA        MISTO VALENTIN         ODESKA OBLAST        UA   75097 132966746@KACHIPYTEL.COM
 4HFYY7   12/15/2020 OB   12/22/2020 WN;6967;SJU;BWI;WN;331;BWI;MIA        MISTO VALENTIN         ODESKA OBLAST        UA   75097 132966746@KACHIPYTEL.COM
 4I2FBR   12/15/2020 OB   12/15/2020 WN;2298;LAX;HOU;WN;2567;HOU;MSY       SAINT MICHELLE         ALLIER               FR   15696 132968682@KACHIPYTEL.COM
 4IBUKM   12/15/2020 OB    1/18/2021 WN;430;ATL;PHX                        NEW ADAMVILLE          IA                   US   70233 132968847@KACHIPYTEL.COM
 4IIDDM   12/15/2020 OB    1/16/2021 WN;2844;TPA;DAL;WN;2366;DAL;CLT       WEST HEIDILAND         CT                   US   49115 132969628@KACHIPYTEL.COM
 4IIDDM   12/15/2020 OB    1/16/2021 WN;2844;TPA;DAL;WN;2366;DAL;CLT       WEST HEIDILAND         CT                   US   49115 132969628@KACHIPYTEL.COM
 4IQDKI   12/15/2020 OB    1/22/2021 WN;2606;DAL;TPA;WN;2288;TPA;MIA       GONZALEZBURGH          AL                   US   65437 132970321@KACHIPYTEL.COM
 4IQDKI   12/15/2020 OB    1/22/2021 WN;2606;DAL;TPA;WN;2288;TPA;MIA       GONZALEZBURGH          AL                   US   65437 132970321@KACHIPYTEL.COM
 4IVXO3   12/15/2020 OB   12/16/2020 WN;2518;BUR;PHX;WN;4325;PHX;LAS       PORT ANTHONY           WA                   US   80324 132971025@KACHIPYTEL.COM
 4JH223   12/15/2020 OB   12/29/2020 WN;938;BWI;ATL                        SHELLYFURT             NM                   US   70214 132972741@KACHIPYTEL.COM
 4JJB8O   12/15/2020 OB   12/20/2020 WN;984;ATL;BWI;WN;1199;BWI;FLL        ALEXANDRAMOUTH         GA                   US   57658 132972741@KACHIPYTEL.COM
 4JKGL4   12/15/2020 OB     1/5/2021 WN;1117;CLE;PHX;WN;840;PHX;LGB        MEGANHAVEN             AR                   US   23376 132973797@KACHIPYTEL.COM
 4KHAZL   12/15/2020 OB   12/26/2020 WN;1133;ATL;DEN;WN;1521;DEN;MSP       ASHLEYMOUTH            TN                   US   63930 132975579@KACHIPYTEL.COM
 4LNFDB   12/15/2020 OB   12/24/2020 WN;4974;DCA;MDW;WN;3388;MDW;MCO       CHRISSIDE              CO                   US   83360 132979066@KACHIPYTEL.COM
 4LQBDZ   12/15/2020 OB   12/17/2020 WN;941;ATL;MDW;WN;657;MDW;FLL         EAST KIMBERLY          IA                   US   97151 132980111@KACHIPYTEL.COM
 4LXEXD   12/15/2020 OB   12/21/2020 WN;984;MDW;ATL;WN;551;ATL;FLL         NICOLEBURGH            MN                   US   27089 132980111@KACHIPYTEL.COM
 4MB4NL   12/15/2020 OB   12/18/2020 WN;1272;PHX;MDW                       EAST ROBERT            SD                   US   15324 132981981@KACHIPYTEL.COM
 4MKPEJ   12/15/2020 OB   12/27/2020 WN;2962;HOU;MDW;WN;1751;MDW;DTW HEATHERBURY                  SC                   US   88483 132982729@KACHIPYTEL.COM
 4NDX4V   12/15/2020 OB   12/20/2020 WN;1591;MDW;AUS;WN;1033;AUS;DAL       ANNEBURY               SD                   US    2604 132984676@KACHIPYTEL.COM
 4NGXAO   12/15/2020 OB   12/20/2020 WN;910;FLL;DEN;WN;1119;DEN;LAS        LAKE KATELYN           AL                   US   98554 132985446@KACHIPYTEL.COM
 4NJNJ2   12/15/2020 OB   12/23/2020 WN;2671;SJU;MCO                       NEW DANIEL             NC                   US   46441 132985160@KACHIPYTEL.COM
 4NJNJ2   12/15/2020 OB   12/23/2020 WN;2671;SJU;MCO                       NEW DANIEL             NC                   US   46441 132985160@KACHIPYTEL.COM




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 4NVK24   12/15/2020 OB   12/23/2020 WN;4811;PDX;SJC;WN;1634;SJC;SNA       SOUTH JOYCE            HI                        US   18700 132987063@KACHIPYTEL.COM
 4NYGN4   12/15/2020 OB   12/23/2020 WN;3885;LGA;STL;WN;2313;STL;DAL       WATKINSSHIRE           VA                        US   27744 132987371@KACHIPYTEL.COM
 4NYXIP   12/15/2020 OB   12/18/2020 WN;1229;SEA;OAK;WN;648;OAK;DEN        NEW KATRINAHAVEN       SC                        US   83543 132987239@KACHIPYTEL.COM
 4NYXIP   12/15/2020 OB   12/18/2020 WN;1229;SEA;OAK;WN;648;OAK;DEN        NEW KATRINAHAVEN       SC                        US   83543 132987239@KACHIPYTEL.COM
 4NYXIP   12/15/2020 OB   12/18/2020 WN;1229;SEA;OAK;WN;648;OAK;DEN        NEW KATRINAHAVEN       SC                        US   83543 132987239@KACHIPYTEL.COM
 4NYXIP   12/15/2020 OB   12/18/2020 WN;1229;SEA;OAK;WN;648;OAK;DEN        NEW KATRINAHAVEN       SC                        US   83543 132987239@KACHIPYTEL.COM
 4O3CRI   12/15/2020 OB   12/23/2020 WN;3885;LGA;STL;WN;2313;STL;DAL       PORT SHANNON           AR                        US   46955 132987371@KACHIPYTEL.COM
 4O6E3Y   12/15/2020 OB   12/22/2020 WN;561;ATL;HOU;WN;810;HOU;LAX         ADRIANHAVEN            CO                        US   98580 132988075@KACHIPYTEL.COM
 4PT3R3   12/15/2020 OB   12/24/2020 WN;5023;DAL;MCO;WN;4390;MCO;ISP       P NURLAT               KHABAROVSKIY KRAY         RU   31282 132992772@KACHIPYTEL.COM
 4PZTRY   12/15/2020 OB   12/22/2020 WN;156;LGA;ATL;WN;133;ATL;MCO         SOUTH SIANMOUTH        ANTRIM AND NEWTOWNABBEY   GB   18186 132992695@KACHIPYTEL.COM
 4QVO2M   12/15/2020 OB   12/16/2020 WN;2026;ATL;DEN                       EGHEGNADZOR            SIRAK                     AM   20994 132995137@KACHIPYTEL.COM
 4QXVII   12/15/2020 OB   12/19/2020 WN;766;TPA;MDW;WN;2271;MDW;LGA        MICHAELBURGH           ME                        US   44224 132995764@KACHIPYTEL.COM
 4QXVII   12/15/2020 OB   12/19/2020 WN;766;TPA;MDW;WN;2271;MDW;LGA        MICHAELBURGH           ME                        US   44224 132995764@KACHIPYTEL.COM
 4QYLCC   12/15/2020 OB   12/15/2020 WN;3828;OAK;SNA                       MARISSASHIRE           WI                        US   82990 132727012@KACHIPYTEL.COM
 4RPQ3I   12/15/2020 OB     1/7/2021 WN;534;PHX;STL                        BHAADURGNJ             MADHYA PRADESH            IN   83807 132997645@KACHIPYTEL.COM
 4SL6ZX   12/15/2020 OB     1/6/2021 WN;835;LAX;STL                        SOUTH HARALAMBIELAND   TELEORMAN                 RO   58557 132999009@KACHIPYTEL.COM
 4SPBZK   12/15/2020 OB   12/18/2020 WN;243;LAS;BUR;WN;1254;BUR;SFO        ANTONIOSHIRE           RI                        US   24805 132999801@KACHIPYTEL.COM
 4SXIET   12/15/2020 OB   12/18/2020 WN;1745;BNA;HOU                       JERRYTON               IA                        US   89436 132999845@KACHIPYTEL.COM
 4SY5DK   12/15/2020 OB   12/16/2020 WN;2042;ATL;HOU;WN;4246;HOU;FLL       HARRISBURGH            CA                        US   33123 132999878@KACHIPYTEL.COM
 4SYSPJ   12/15/2020 OB   12/31/2020 WN;3185;FLL;BNA;WN;3959;BNA;ATL       WEST MARCIAHAVEN       MD                        US   33197 132999911@KACHIPYTEL.COM
 4SZGZQ   12/15/2020 OB   12/31/2020 WN;3185;FLL;BNA;WN;3959;BNA;ATL       SOUTH KIRKBURGH        AL                        US   30708 132999911@KACHIPYTEL.COM
 4TFPNE   12/15/2020 OB   12/16/2020 WN;3348;LGA;ATL;WN;3498;ATL;TPA       TUCKERTOWN             FL                        US   32283 133000824@KACHIPYTEL.COM
 22JVJJ   12/16/2020 OB   12/24/2020 WN;4743;RDU;ATL;WN;4743;ATL;AUS;WN;274NORTH LINDSAYBURGH     KS                        US   97109 133012660@KACHIPYTEL.COM
 22NVOK   12/16/2020 OB   12/22/2020 WN;375;CLT;MDW;WN;145;MDW;MCO         SALAZARBERG            NY                        US   46444 133012638@KACHIPYTEL.COM
 22PL8T   12/16/2020 OB   12/24/2020 WN;430;ATL;PHX                        ANGELCHESTER           ND                        US   26473 133012660@KACHIPYTEL.COM
 237PHO   12/16/2020 OB   12/24/2020 WN;2408;SEA;SJC;WN;4965;SJC;LAS       NEW ERIN               AL                        US   99688 133013463@KACHIPYTEL.COM
 23GWKW   12/16/2020 OB     1/2/2021 WN;1604;PHX;SMF;WN;1694;SMF;SNA       EAST JESSICA           NE                        US   20167 133014189@KACHIPYTEL.COM
 23GWKW   12/16/2020 OB     1/2/2021 WN;1604;PHX;SMF;WN;1694;SMF;SNA       EAST JESSICA           NE                        US   20167 133014189@KACHIPYTEL.COM
 23GWKW   12/16/2020 OB     1/2/2021 WN;1604;PHX;SMF;WN;1694;SMF;SNA       EAST JESSICA           NE                        US   20167 133014189@KACHIPYTEL.COM
 23JMKT   12/16/2020 OB   12/17/2020 WN;6839;PHX;STL;WN;763;STL;LIT        BERRYBURY              OR                        US   36643 133014332@KACHIPYTEL.COM
 23OJWH   12/16/2020 OB   12/31/2020 WN;3271;SMF;PHX;WN;2002;PHX;LGB       LAKE JESSICATON        WI                        US   11456 133014189@KACHIPYTEL.COM
 23OJWH   12/16/2020 OB   12/31/2020 WN;3271;SMF;PHX;WN;2002;PHX;LGB       LAKE JESSICATON        WI                        US   11456 133014189@KACHIPYTEL.COM
 23OJWH   12/16/2020 OB   12/31/2020 WN;3271;SMF;PHX;WN;2002;PHX;LGB       LAKE JESSICATON        WI                        US   11456 133014189@KACHIPYTEL.COM
 23THR9   12/16/2020 OB    3/26/2021 WN;2080;DTW;DEN;WN;854;DEN;LAX        SOUTH MARY             ND                        US   77231 133014442@KACHIPYTEL.COM
 2442MR   12/16/2020 OB   12/16/2020 WN;3343;LGA;ATL;WN;3959;ATL;TPA       SOUTH RICHARD          CT                        US   36685 133015102@KACHIPYTEL.COM
 244DDF   12/16/2020 OB   12/18/2020 WN;1058;MIA;BWI;WN;242;BWI;BOS        SOUTH YVONNELAND       WI                        US   90776 133014860@KACHIPYTEL.COM
 25C5X2   12/16/2020 OB   12/28/2020 WN;635;STL;MCO;WN;678;MCO;CLE         BANKSBOROUGH           AR                        US   64987 133017060@KACHIPYTEL.COM
 25C5X2   12/16/2020 OB   12/28/2020 WN;635;STL;MCO;WN;678;MCO;CLE         BANKSBOROUGH           AR                        US   64987 133017060@KACHIPYTEL.COM
 26XFE6   12/16/2020 OB   12/23/2020 WN;332;MIA;BWI;WN;1721;BWI;STL        LYNCHMOUTH             CO                        US   33845 133018985@KACHIPYTEL.COM
 27AL2X   12/16/2020 OB   12/16/2020 WN;4675;SJC;PHX                       JENNIFERSTAD           HI                        US   22185 133019502@KACHIPYTEL.COM
 27XUCX   12/16/2020 OB   12/23/2020 WN;3950;SEA;SJC;WN;4636;SJC;LAS       LAKE JUDYBURY          GA                        US   30115 133020371@KACHIPYTEL.COM
 28CH9F   12/16/2020 OB   12/28/2020 WN;1294;PHX;STL                       BREWERMOUTH            AL                        US   70360 133020987@KACHIPYTEL.COM
 28G4MM   12/16/2020 OB   12/24/2020 WN;4666;STL;PHX;WN;4945;PHX;OMA       SOUTH DAVIDTON         TN                        US   43661 133020987@KACHIPYTEL.COM
 28T3X5   12/16/2020 OB   12/16/2020 WN;4171;MKE;PHX;WN;3026;PHX;OKC       LAKE ANDREATON         AL                        US   23129 133021515@KACHIPYTEL.COM
 28TJJX   12/16/2020 OB   12/21/2020 WN;221;OKC;ATL;WN;154;ATL;LGA         GALLAND                GLARUS                    CH   20693 133021746@KACHIPYTEL.COM
 2APQ8J   12/16/2020 OB   12/16/2020 WN;2046;ATL;HOU;WN;2723;HOU;MIA       EAST MARIACHESTER      LA                        US   51577 133024265@KACHIPYTEL.COM
 2D9QTI   12/16/2020 OB   12/23/2020 WN;1751;LAX;BNA                       STEVENHAVEN            LA                        US   51519 133028544@KACHIPYTEL.COM
 2ETHPT   12/16/2020 OB    1/21/2021 WN;4941;PDX;LAS                       PETERSMOUTH            CO                        US   38725 133031503@KACHIPYTEL.COM
 2GJH8J   12/16/2020 OB   12/24/2020 WN;2744;ATL;RDU;WN;2006;RDU;BWI       NEW EDWARD             WY                        US   58149 133035617@KACHIPYTEL.COM
 2GR7IX   12/16/2020 OB     1/4/2021 WN;112;ATL;PHX                        NORTH MELISSAMOUTH     LA                        US   94774 133036255@KACHIPYTEL.COM
 2H4B5Y   12/16/2020 OB   12/20/2020 WN;820;LAX;BNA;WN;302;BNA;MCO         KATHLEENCHESTER        NE                        US   23859 133029677@KACHIPYTEL.COM
 2KT7VG   12/16/2020 OB   12/20/2020 WN;112;ATL;PHX;WN;650;PHX;TUL         WEST MATTHEW           NJ                        US   71098 133045671@KACHIPYTEL.COM
 2KYGWH   12/16/2020 OB   12/21/2020 WN;1136;TPA;BNA;WN;1053;BNA;LGA       WEST CHRISTOPHERBURG   MN                        US   32503 133046111@KACHIPYTEL.COM
 2KYGWH   12/16/2020 OB   12/21/2020 WN;1136;TPA;BNA;WN;1053;BNA;LGA       WEST CHRISTOPHERBURG   MN                        US   32503 133046111@KACHIPYTEL.COM
 2L5KC7   12/16/2020 OB   12/23/2020 WN;6808;BNA;TPA;WN;1065;TPA;MIA       LAKE SERGIOBURY        NH                        US   73623 133046111@KACHIPYTEL.COM
 2L5KC7   12/16/2020 OB   12/23/2020 WN;6808;BNA;TPA;WN;1065;TPA;MIA       LAKE SERGIOBURY        NH                        US   73623 133046111@KACHIPYTEL.COM
 2LFBTX   12/16/2020 OB    1/18/2021 WN;1990;ATL;BWI                       ROMANVIEW              WV                        US   37009 133046947@KACHIPYTEL.COM
 2LMCQ5   12/16/2020 OB   12/17/2020 WN;178;LAX;DAL;WN;230;DAL;MCO         THOMASBURY             DE                        US   10383 133046683@KACHIPYTEL.COM
 2NQGM2   12/16/2020 OB   12/24/2020 WN;1990;ATL;BWI;WN;4749;BWI;TPA       EAST PAULTON           FL                        US   90869 133051721@KACHIPYTEL.COM
 2O6MI4   12/16/2020 OB   12/27/2020 WN;4651;PHL;BNA;WN;1621;BNA;CLT       SOUTH LORI             MT                        US   10073 133052887@KACHIPYTEL.COM
 2POTJZ   12/16/2020 OB   12/20/2020 WN;1173;STL;DEN                       YVETTESTAD             NC                        US   34892 133056396@KACHIPYTEL.COM
 2Q8ZHW   12/16/2020 OB   12/17/2020 WN;984;ATL;BWI                        MEGANBURGH             NE                        US   91595 133058926@KACHIPYTEL.COM
 2RQCMA   12/16/2020 OB   12/20/2020 WN;6918;ATL;AUS                       EAST STEPHANIETOWN     NC                        US   53912 133062908@KACHIPYTEL.COM
 2U4FZK   12/16/2020 OB    1/10/2021 WN;791;IAD;ATL;WN;3082;ATL;MCO        CIRAALAA               HIMACHAL PRADESH          IN   68356 133069420@KACHIPYTEL.COM
 2U4FZK   12/16/2020 OB    1/10/2021 WN;791;IAD;ATL;WN;3082;ATL;MCO        CIRAALAA               HIMACHAL PRADESH          IN   68356 133069420@KACHIPYTEL.COM
 2UBVU8   12/16/2020 OB   12/24/2020 WN;569;DEN;OAK;WN;4096;OAK;SEA        JULIEBERG              KY                        US   37922 133070025@KACHIPYTEL.COM
 2UCPXH   12/16/2020 OB   12/17/2020 WN;156;LGA;ATL;WN;133;ATL;MCO         SAMUELPORT             MA                        US   28178 133069915@KACHIPYTEL.COM
 2UFD35   12/16/2020 OB   12/22/2020 WN;153;ATL;HOU;WN;1058;HOU;MIA        SOUTH BRIANVILLE       CA                        US   89128 133070740@KACHIPYTEL.COM
 2UI26K   12/16/2020 OB   12/26/2020 WN;2065;LAS;MCO;WN;1140;MCO;PHL       WOLFEFORT              AZ                        US   71509 133070916@KACHIPYTEL.COM
 2UI26K   12/16/2020 OB   12/26/2020 WN;2065;LAS;MCO;WN;1140;MCO;PHL       WOLFEFORT              AZ                        US   71509 133070916@KACHIPYTEL.COM
 2VBCJU   12/16/2020 OB   12/20/2020 WN;6748;ATL;HOU;WN;358;HOU;FLL        WEST SCOTTTOWN         RI                        US   51456 133073754@KACHIPYTEL.COM
 2VH63O   12/16/2020 OB   12/17/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO        DAISYVILLE             IL                        US   73115 133073930@KACHIPYTEL.COM
 2VLZSD   12/16/2020 OB   12/23/2020 WN;3618;CLT;MDW                       MANSAVILLE             UPPER EAST                GH    4118 133073974@KACHIPYTEL.COM
 2VRNL2   12/16/2020 OB    1/16/2021 WN;4002;SAT;MCO;WN;3637;MCO;MSY       BLACKTON               SC                        US   72802 133074942@KACHIPYTEL.COM
 2VRNL2   12/16/2020 OB    1/16/2021 WN;4002;SAT;MCO;WN;3637;MCO;MSY       BLACKTON               SC                        US   72802 133074942@KACHIPYTEL.COM
 2W645O   12/16/2020 OB   12/23/2020 WN;2942;AUS;SLC                       JOHNVIEW               MO                        US   69399 133075954@KACHIPYTEL.COM
 2W645O   12/16/2020 OB   12/23/2020 WN;2942;AUS;SLC                       JOHNVIEW               MO                        US   69399 133075954@KACHIPYTEL.COM
 2WES5V   12/16/2020 OB   12/18/2020 WN;395;TPA;BWI;WN;6914;BWI;SJU        SOUTH MARYMOUTH        SC                        US   71778 133077032@KACHIPYTEL.COM
 2XAGJF   12/16/2020 OB   12/22/2020 WN;6748;ATL;HOU                       GEORGEFURT             NM                        US   63367 133079243@KACHIPYTEL.COM
 2YYQC4   12/16/2020 OB   12/21/2020 WN;1242;FLL;BWI;WN;242;BWI;BOS        SOUTH TYRONE           WI                        US   57748 133083984@KACHIPYTEL.COM
 2Z8KOV   12/16/2020 OB   12/19/2020 WN;2162;LAS;ONT;WN;1619;ONT;OAK       CLARKBOROUGH           WA                        US   20341 133085326@KACHIPYTEL.COM
 2Z8RHB   12/16/2020 OB   12/26/2020 WN;2117;AUS;TPA                       NEW RONNIE             WY                        US   68401 133084512@KACHIPYTEL.COM
 32AMNJ   12/16/2020 OB   12/30/2020 WN;136;ATL;AUS;WN;1082;AUS;MSY        EAST MARY              OR                        US   97204 133088131@KACHIPYTEL.COM
 33DDC8   12/16/2020 OB   12/17/2020 WN;1335;BNA;BWI;WN;3369;BWI;CVG       EAST TANNERFORT        KS                        US   56538 133090485@KACHIPYTEL.COM
 33J5JZ   12/16/2020 OB   12/21/2020 WN;1090;MSY;BWI;WN;142;BWI;MIA        SOUTH PATRICIA         VA                        US    6068 133091882@KACHIPYTEL.COM
 33PYYQ   12/16/2020 OB   12/19/2020 WN;1929;FLL;BWI;WN;1732;BWI;CLE       MARGARETCHESTER        MN                        US   52300 133092454@KACHIPYTEL.COM
 34ISIV   12/16/2020 OB   12/24/2020 WN;2871;CHS;DAL;WN;2775;DAL;LGA       PORT VICKI             PA                        US   20512 133094346@KACHIPYTEL.COM
 34K4J4   12/16/2020 OB   12/19/2020 WN;1688;BWI;MCO;WN;1158;MCO;ATL       LAKE TIMOTHY           NC                        US   35593 133094599@KACHIPYTEL.COM
 34K4J4   12/16/2020 OB   12/19/2020 WN;1688;BWI;MCO;WN;1158;MCO;ATL       LAKE TIMOTHY           NC                        US   35593 133094599@KACHIPYTEL.COM
 34SQUL   12/16/2020 OB     2/8/2021 WN;2500;BNA;DEN;WN;4566;DEN;DSM       SOUTH KRISTEN          PA                        US   33045 133095138@KACHIPYTEL.COM
 37UT79   12/16/2020 OB     1/1/2021 WN;2180;BNA;BWI;WN;331;BWI;MIA        MIRANDATOWN            GA                        US   58967 133101067@KACHIPYTEL.COM
 37UT79   12/16/2020 OB     1/1/2021 WN;2180;BNA;BWI;WN;331;BWI;MIA        MIRANDATOWN            GA                        US   58967 133101067@KACHIPYTEL.COM
 4UQC3N   12/16/2020 OB   12/16/2020 WN;3348;LGA;ATL;WN;3498;ATL;TPA       SIMPSONSIDE            NC                        US   43900 133003343@KACHIPYTEL.COM
 4V4CNX   12/16/2020 OB   12/21/2020 WN;907;MBJ;BWI                        LAKE ROBERT            NE                        US   62599 133003805@KACHIPYTEL.COM
 4V4CNX   12/16/2020 OB   12/21/2020 WN;907;MBJ;BWI                        LAKE ROBERT            NE                        US   62599 133003805@KACHIPYTEL.COM
 4V8LGN   12/16/2020 OB   12/30/2020 WN;581;IAD;ATL;WN;1225;ATL;MCO        FOLEYFORT              CT                        US   19449 133004311@KACHIPYTEL.COM
 4VF6DZ   12/16/2020 OB   12/24/2020 WN;2708;LGA;MDW;WN;3256;MDW;MCO       BGT LY                 TEHRAN                    IR   74201 133004344@KACHIPYTEL.COM
 4VF6DZ   12/16/2020 OB   12/24/2020 WN;2708;LGA;MDW;WN;3256;MDW;MCO       BGT LY                 TEHRAN                    IR   74201 133004344@KACHIPYTEL.COM
 4VNQP8   12/16/2020 OB   12/24/2020 WN;4743;ATL;AUS;WN;4065;AUS;LGB       KEVINMOUTH             AZ                        US    3352 133004696@KACHIPYTEL.COM
 4VRY88   12/16/2020 OB   12/24/2020 WN;4743;ATL;AUS;WN;4065;AUS;LGB       NORTH STEPHENTOWN      IA                        US   85520 133004861@KACHIPYTEL.COM
 4W6QVG   12/16/2020 OB     1/1/2021 WN;2288;BNA;TPA;WN;4147;TPA;MIA       NECHANICE              CESKA LIPA                CZ   92687 133005675@KACHIPYTEL.COM
 4W6QVG   12/16/2020 OB     1/1/2021 WN;2288;BNA;TPA;WN;4147;TPA;MIA       NECHANICE              CESKA LIPA                CZ   92687 133005675@KACHIPYTEL.COM
 4W6QVG   12/16/2020 OB     1/1/2021 WN;2288;BNA;TPA;WN;4147;TPA;MIA       NECHANICE              CESKA LIPA                CZ   92687 133005675@KACHIPYTEL.COM
 4W8CCB   12/16/2020 OB   12/30/2020 WN;1136;TPA;BNA;WN;468;BNA;DTW        PREROV                 -                         -    35945 133005675@KACHIPYTEL.COM
 4W8CCB   12/16/2020 OB   12/30/2020 WN;1136;TPA;BNA;WN;468;BNA;DTW        PREROV                 -                         -    35945 133005675@KACHIPYTEL.COM
 4W8CCB   12/16/2020 OB   12/30/2020 WN;1136;TPA;BNA;WN;468;BNA;DTW        PREROV                 -                         -    35945 133005675@KACHIPYTEL.COM
 4WB4NL   12/16/2020 OB     1/1/2021 WN;2288;BNA;TPA;WN;4147;TPA;MIA       SOUTH KIMBERLY         MT                        US    3905 133005851@KACHIPYTEL.COM
 4WPAD4   12/16/2020 OB   12/16/2020 WN;2544;BNA;DEN;WN;1367;DEN;PHX       RUTHSTAD               MS                        US   63346 133006302@KACHIPYTEL.COM
 4WZVLQ   12/16/2020 OB   12/18/2020 WN;802;LAS;BWI;WN;982;BWI;FLL         EAST ASHLEY            KS                        US   60399 133007270@KACHIPYTEL.COM




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4XQQ69   12/16/2020   OB   12/18/2020 WN;1533;MCI;OAK;WN;714;OAK;PDX    LAKE JAMES             IL                         US   45128 133007930@KACHIPYTEL.COM
4YJHKW   12/16/2020   OB   12/18/2020 WN;1008;ATL;BWI;WN;749;BWI;MCO    THOMASVILLE            OH                         US   16986 133009613@KACHIPYTEL.COM
4YWHWI   12/16/2020   OB   12/27/2020 WN;2076;BUF;LAS;WN;4023;LAS;LAX   NGUYENFURT             TN                         US   41732 133010119@KACHIPYTEL.COM
4Z2477   12/16/2020   OB   12/19/2020 WN;4556;LAS;PHX;WN;1761;PHX;SEA   LAKE JERRYFURT         WV                         US   37348 133010031@KACHIPYTEL.COM
4Z2477   12/16/2020   OB   12/19/2020 WN;4556;LAS;PHX;WN;1761;PHX;SEA   LAKE JERRYFURT         WV                         US   37348 133010031@KACHIPYTEL.COM
4Z77XC   12/16/2020   OB   12/23/2020 WN;3358;SFO;PHX;WN;4765;PHX;LAS   DYERBURY               SC                         US   67966 133010383@KACHIPYTEL.COM
4Z794V   12/16/2020   OB   12/16/2020 WN;6737;SEA;PHX;WN;1925;PHX;LAS   NORTH WILLIAMFURT      NV                         US   88133 133010592@KACHIPYTEL.COM
4ZMITX   12/16/2020   OB   12/24/2020 WN;2003;ATL;BWI;WN;2273;BWI;MCO   WEST JONATHANTOWN      WY                         US   29146 133010724@KACHIPYTEL.COM
4ZS9B7   12/16/2020   OB   12/22/2020 WN;793;SAN;BWI;WN;2156;BWI;ISP    BCELII                 ANDHRA PRADESH             IN   73713 133011483@KACHIPYTEL.COM
4ZY56O   12/16/2020   OB   12/19/2020 WN;1735;MEM;MCO;WN;2147;MCO;AUS   PEREZBERG              CO                         US   36631 133010801@KACHIPYTEL.COM
37YFMB   12/17/2020   OB     1/3/2021 WN;2789;DCA;BNA;WN;4701;BNA;MCO   NORTH LAUREN           KS                         US   38657 133101595@KACHIPYTEL.COM
37YFMB   12/17/2020   OB     1/3/2021 WN;2789;DCA;BNA;WN;4701;BNA;MCO   NORTH LAUREN           KS                         US   38657 133101595@KACHIPYTEL.COM
38F6OA   12/17/2020   OB   12/25/2020 WN;2978;BOS;BWI;WN;3984;BWI;FLL   STEPHANIEBOROUGH       LA                         US   51841 133102057@KACHIPYTEL.COM
38HY76   12/17/2020   OB   12/21/2020 WN;406;LGA;BNA;WN;302;BNA;MCO     NORTH LATOYAVILLE      UT                         US   20495 133102002@KACHIPYTEL.COM
38N5PO   12/17/2020   OB   12/19/2020 WN;1832;PHL;ATL;WN;6912;ATL;RSW   WEST ASHLEYSHIRE       NJ                         US   13054 133102123@KACHIPYTEL.COM
38V6OX   12/17/2020   OB   12/17/2020 WN;414;SNA;SMF;WN;106;SMF;GEG     WEST EDWARD            HI                         US   13105 133102420@KACHIPYTEL.COM
38V6OX   12/17/2020   OB   12/17/2020 WN;414;SNA;SMF;WN;106;SMF;GEG     WEST EDWARD            HI                         US   13105 133102420@KACHIPYTEL.COM
38ZW5P   12/17/2020   OB   12/17/2020 WN;724;PHL;MCO;WN;657;MCO;SJU     NEW TYLERBOROUGH       WY                         US    8152 133103080@KACHIPYTEL.COM
392K4M   12/17/2020   OB   12/19/2020 WN;1832;PHL;ATL;WN;6912;ATL;RSW   CRYSTALFORT            AR                         US    6198 133103278@KACHIPYTEL.COM
397EJM   12/17/2020   OB   12/24/2020 WN;1444;SAT;PHX;WN;2722;PHX;LGB   SAN MARGARITA LOS BA   QUERETARO                  MX   17669 133103190@KACHIPYTEL.COM
39F5B2   12/17/2020   OB   12/19/2020 WN;1146;ATL;MDW;WN;1841;MDW;BHM;WNBETTYMOUTH             PA                         US   39807 133101133@KACHIPYTEL.COM
39IYCK   12/17/2020   OB   12/18/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     PORT ANDRESBURY        VT                         US   34864 133103806@KACHIPYTEL.COM
39PZVC   12/17/2020   OB   12/23/2020 WN;4689;DAL;BNA;WN;4302;BNA;LGA   NEW TIMOTHY            WI                         US   96500 133104125@KACHIPYTEL.COM
3AGUBS   12/17/2020   OB   12/17/2020 WN;1219;PHX;HOU;WN;1102;HOU;CVG   CRAWFORDVILLE          FL                         US   67034 133105280@KACHIPYTEL.COM
3AGUBS   12/17/2020   OB   12/17/2020 WN;1219;PHX;HOU;WN;1102;HOU;CVG   CRAWFORDVILLE          FL                         US   67034 133105280@KACHIPYTEL.COM
3AJLW9   12/17/2020   OB   12/19/2020 WN;1788;ATL;BWI;WN;1792;BWI;FLL   HAMILTONPORT           VT                         US   10491 133105709@KACHIPYTEL.COM
3AW6ZH   12/17/2020   OB   12/20/2020 WN;1054;MCO;ATL;WN;3360;ATL;LGA   EAST JENNIFERBURGH     PA                         US   98155 133105797@KACHIPYTEL.COM
3BMLK8   12/17/2020   OB     1/3/2021 WN;4299;LGA;BNA;WN;3765;BNA;FLL   PHTHPUR                TAMIL NADU                 IN   81163 133107007@KACHIPYTEL.COM
3BQOFH   12/17/2020   OB   12/22/2020 WN;747;BNA;MCO;WN;133;MCO;IND     MICHELLEHAVEN          SC                         US    1792 133107260@KACHIPYTEL.COM
3BQOFH   12/17/2020   OB   12/22/2020 WN;747;BNA;MCO;WN;133;MCO;IND     MICHELLEHAVEN          SC                         US    1792 133107260@KACHIPYTEL.COM
3BS2HE   12/17/2020   OB   12/20/2020 WN;301;MCO;BNA;WN;1053;BNA;LGA    LAKE DANNY             WV                         US   56928 133107260@KACHIPYTEL.COM
3BS2HE   12/17/2020   OB   12/20/2020 WN;301;MCO;BNA;WN;1053;BNA;LGA    LAKE DANNY             WV                         US   56928 133107260@KACHIPYTEL.COM
3CU8CM   12/17/2020   OB   12/19/2020 WN;1932;FLL;DEN;WN;2365;DEN;LAS   PORT CHRISTINA         TN                         US    3617 133109383@KACHIPYTEL.COM
3DTDL4   12/17/2020   OB   12/27/2020 WN;4287;LAX;SMF                   NORTH REBECCA          AR                         US   30783 133111143@KACHIPYTEL.COM
3DXFEN   12/17/2020   OB    1/16/2021 WN;6273;SAN;LAS                   EAST ROBINBURY         CO                         US   74236 133110923@KACHIPYTEL.COM
3EO8RY   12/17/2020   OB   12/17/2020 WN;1066;FLL;MCO;WN;1474;MCO;SJU   NORTH JERMAINE         DE                         US   28926 133111957@KACHIPYTEL.COM
3G2WOR   12/17/2020   OB   12/23/2020 WN;1793;CLT;BWI                   NEW ANTONIO            MS                         US   35474 133114267@KACHIPYTEL.COM
3GM93M   12/17/2020   OB   12/17/2020 WN;1242;FLL;BWI;WN;719;BWI;MKE    JENNIFERLAND           SC                         US   61003 133115125@KACHIPYTEL.COM
3GMR4I   12/17/2020   OB   12/20/2020 WN;1123;BWI;FLL;WN;197;FLL;SJU    BROCKVILLE             MN                         US   63301 133115125@KACHIPYTEL.COM
3GRJMI   12/17/2020   OB   12/20/2020 WN;6748;ATL;HOU;WN;358;HOU;FLL    ALEXANDERVILLE         IL                         US   76777 133115059@KACHIPYTEL.COM
3GU6CT   12/17/2020   OB   12/17/2020 WN;2425;SEA;DEN;WN;1119;DEN;LAS   REESELAND              LA                         US   89028 133115004@KACHIPYTEL.COM
3GU6CT   12/17/2020   OB   12/17/2020 WN;2425;SEA;DEN;WN;1119;DEN;LAS   REESELAND              LA                         US   89028 133115004@KACHIPYTEL.COM
3GV3GO   12/17/2020   OB   12/20/2020 WN;6748;ATL;HOU;WN;358;HOU;FLL    NORTH NATASHA          WY                         US   60299 133115378@KACHIPYTEL.COM
3H24J7   12/17/2020   OB   12/24/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    WEST SANDRATOWN        DE                         US   37767 133113365@KACHIPYTEL.COM
3HL46E   12/17/2020   OB   12/18/2020 WN;243;IND;LAS                    NORTH HEATHER          ID                         US   69361 133116137@KACHIPYTEL.COM
3I6NQL   12/17/2020   OB   12/20/2020 WN;6748;ATL;HOU;WN;358;HOU;FLL    PERSINGEN              SABA                       NL   78984 133116863@KACHIPYTEL.COM
3ISMR2   12/17/2020   OB   12/19/2020 WN;1321;TPA;DEN;WN;1798;DEN;SAT   NORTH ROBERTFURT       VA                         US   39067 133117644@KACHIPYTEL.COM
3ISMR2   12/17/2020   OB   12/19/2020 WN;1321;TPA;DEN;WN;1798;DEN;SAT   NORTH ROBERTFURT       VA                         US   39067 133117644@KACHIPYTEL.COM
3JQMZI   12/17/2020   OB     1/8/2021 WN;2611;DAL;MDW;WN;4910;MDW;LGA   RAMIREZVILLE           MS                         US   41986 133118865@KACHIPYTEL.COM
3KCH2U   12/17/2020   OB   12/21/2020 WN;692;FLL;ATL                    JENNIFERVIEW           RI                         US   51084 133119646@KACHIPYTEL.COM
3KIXFX   12/17/2020   OB   12/29/2020 WN;157;ATL;IAD                    SOUTH ANTHONYMOUTH     IN                         US   49886 133119844@KACHIPYTEL.COM
3L4KMF   12/17/2020   OB   12/27/2020 WN;3822;MDW;BWI                   SOUTH SUSANSHIRE       TN                         US   48379 133120768@KACHIPYTEL.COM
3LBM6C   12/17/2020   OB     1/2/2021 WN;1842;BWI;MDW                   PORT STEPHANIESIDE     TN                         US   93355 133120768@KACHIPYTEL.COM
3MJVE9   12/17/2020   OB   12/24/2020 WN;1059;MSY;BWI;WN;102;BWI;MIA    RICHARDSONBURGH        LA                         US   49664 133122858@KACHIPYTEL.COM
3PPTSW   12/17/2020   OB   12/20/2020 WN;582;LAS;SMF;WN;1431;SMF;SEA    WEST HOLLY             ND                         US   65922 133127962@KACHIPYTEL.COM
3PQPQC   12/17/2020   OB    1/31/2021 WN;2408;SEA;SJC                   CITRKUUTT              MAHARASHTRA                IN   29853 133127797@KACHIPYTEL.COM
3RNIBD   12/17/2020   OB    1/18/2021 WN;2479;DEN;BWI                   LAKE DUANESTAD         IA                         US   29720 133131449@KACHIPYTEL.COM
3RNIBD   12/17/2020   OB    1/18/2021 WN;2479;DEN;BWI                   LAKE DUANESTAD         IA                         US   29720 133131449@KACHIPYTEL.COM
3W5UIY   12/17/2020   OB   12/20/2020 WN;244;ATL;MDW;WN;658;MDW;TPA     NEW CURTIS             UT                         US   59225 133142328@KACHIPYTEL.COM
3XLA4L   12/17/2020   OB   12/17/2020 WN;1334;ATL;MCO;WN;657;MCO;SJU    KIMBERLYSTAD           ID                         US    8562 133144506@KACHIPYTEL.COM
42IL2B   12/17/2020   OB   12/18/2020 WN;1098;MCO;LAS                   CADIZ                  SORIA                      ES    5618 133153724@KACHIPYTEL.COM
42IL2B   12/17/2020   OB   12/18/2020 WN;1098;MCO;LAS                   CADIZ                  SORIA                      ES    5618 133153724@KACHIPYTEL.COM
42IL2B   12/17/2020   OB   12/18/2020 WN;1098;MCO;LAS                   CADIZ                  SORIA                      ES    5618 133153724@KACHIPYTEL.COM
445HPQ   12/17/2020   OB   12/24/2020 WN;4608;LAX;OAK;WN;1963;OAK;BOI   CARTERVILLE            NM                         US   41731 133159664@KACHIPYTEL.COM
45MU9Z   12/17/2020   OB    1/21/2021 WN;4720;DTW;DEN;WN;2728;DEN;MSY   PORT DAVID             UT                         US   25147 133163393@KACHIPYTEL.COM
45SXWA   12/17/2020   OB   12/25/2020 WN;4666;STL;PHX;WN;2994;PHX;OKC   MICHELEVIEW            AZ                         US    7843 133163954@KACHIPYTEL.COM
45T2P3   12/17/2020   OB   12/20/2020 WN;6840;PHX;STL;WN;599;STL;TUL    WEST VANESSAFORT       AR                         US   17523 133163954@KACHIPYTEL.COM
485V45   12/17/2020   OB   12/24/2020 WN;2003;ATL;BWI;WN;2273;BWI;MCO   CARRIETOWN             OK                         US   24662 133170224@KACHIPYTEL.COM
48TTSK   12/17/2020   OB   12/28/2020 WN;585;BOI;LAS                    EAST JON               NV                         US   73507 133173095@KACHIPYTEL.COM
48YHMX   12/17/2020   OB   12/21/2020 WN;529;DAL;BNA;WN;939;BNA;MDW     SOUTH SAMANTHA         WV                         US   54163 133173337@KACHIPYTEL.COM
48YHMX   12/17/2020   OB   12/21/2020 WN;529;DAL;BNA;WN;939;BNA;MDW     SOUTH SAMANTHA         WV                         US   54163 133173337@KACHIPYTEL.COM
48ZSV4   12/17/2020   OB   12/24/2020 WN;3539;BNA;DAL;WN;2199;DAL;FLL   ALBERTVIEW             NY                         US   21294 133173337@KACHIPYTEL.COM
48ZSV4   12/17/2020   OB   12/24/2020 WN;3539;BNA;DAL;WN;2199;DAL;FLL   ALBERTVIEW             NY                         US   21294 133173337@KACHIPYTEL.COM
49B9JV   12/17/2020   OB     1/1/2021 WN;3276;LAX;BNA                   LAKE JUDITH            MN                         US   81750 133174283@KACHIPYTEL.COM
49QWFG   12/17/2020   OB     1/1/2021 WN;3189;PHL;MDW;WN;2457;MDW;LAS   DEHRAA                 PUDUCHERRY                 IN    5929 133175691@KACHIPYTEL.COM
4A4EOE   12/17/2020   OB   12/22/2020 WN;244;ATL;MDW                    LAKE MICHAEL           WA                         US   41261 133176241@KACHIPYTEL.COM
4BDKQV   12/17/2020   OB   12/25/2020 WN;4921;SLC;PHX;WN;4954;PHX;DEN   JACQUELINESHIRE        MT                         US   68124 133180025@KACHIPYTEL.COM
4C62CI   12/17/2020   OB     1/1/2021 WN;3663;LAS;MDW                   MILLSMOUTH             UT                         US   93877 133183006@KACHIPYTEL.COM
4C8UKE   12/17/2020   OB     1/1/2021 WN;2066;STL;LAS;WN;2905;LAS;OKC   SOUTH MIGUELVIEW       MS                         US   25612 133182643@KACHIPYTEL.COM
4CTPVU   12/17/2020   OB   12/30/2020 WN;1375;SAN;HNL                   JANEVIEW               CENTRAL BEDFORDSHIRE       GB   95339 133185019@KACHIPYTEL.COM
4CUJ59   12/17/2020   OB   12/24/2020 WN;2193;CLT;MDW;WN;3388;MDW;MCO   NEW JENNIFER           NE                         US   27058 133184293@KACHIPYTEL.COM
4D45OA   12/17/2020   OB   12/21/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    PENNINGTONVILLE        WY                         US   62985 133185382@KACHIPYTEL.COM
4D9RVH   12/17/2020   OB   12/18/2020 WN;6938;LAX;DAL;WN;290;DAL;MCO    RAMOSBERG              DE                         US   28872 133185591@KACHIPYTEL.COM
4DGYJX   12/17/2020   OB   12/29/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     NEW NANCY              NE                         US   83152 133186042@KACHIPYTEL.COM
4E59OW   12/17/2020   OB   12/20/2020 WN;6898;FLL;MCO;WN;2222;MCO;SJU   WEST ANTONIO           DE                         US   88328 133187868@KACHIPYTEL.COM
4E8AJ6   12/17/2020   OB     1/9/2021 WN;3183;SMF;PHX;WN;4139;PHX;PDX   EAST SARAH             NC                         US   42919 133188495@KACHIPYTEL.COM
4EXIKW   12/17/2020   OB   12/20/2020 WN;900;ATL;MDW                    BAKERTOWN              MO                         US   39080 133189804@KACHIPYTEL.COM
4GJTHA   12/17/2020   OB     1/6/2021 WN;1568;DEN;TPA;WN;1398;TPA;MIA   NEW JOSHUA             ME                         US   48707 132147334.1519743@KACHIPYTEL.COM
4IMD47   12/17/2020   OB     1/3/2021 WN;3853;LAS;BNA                   K OBOIAN               ASTRAKHANSKAYA OBLAST      RU   55231 133196624@KACHIPYTEL.COM
4IMG73   12/17/2020   OB   12/18/2020 WN;224;ATL;MDW                    WEST DEANNA            CO                         US   91275 133197108@KACHIPYTEL.COM
4IMWJT   12/17/2020   OB   12/31/2020 WN;2437;BNA;AUS                   NIN                    SIBENSKOKNINSKA ZUPANIJA   HR    1436 133196624@KACHIPYTEL.COM
4ISFNL   12/17/2020   OB     1/3/2021 WN;3853;LAS;BNA                   NEW ANDREW             DE                         US   76702 133197570@KACHIPYTEL.COM
4J3YWP   12/17/2020   OB   12/31/2020 WN;2437;BNA;AUS                   NORTH MICHAELSTAD      AR                         US   76780 133197570@KACHIPYTEL.COM
22EU7U   12/18/2020   OB   12/18/2020 WN;6938;LAX;DAL;WN;290;DAL;MCO    NORTH HEATHERTON       DE                         US   58674 133224025@KACHIPYTEL.COM
236KBG   12/18/2020   OB   12/18/2020 WN;6801;HOU;DEN;WN;687;DEN;GEG    PORT MICHAELBERG       OK                         US   76136 133225268@KACHIPYTEL.COM
265VE8   12/18/2020   OB   12/19/2020 WN;2265;MDW;BNA;WN;1678;BNA;BOS   NORTH AMBERBERG        CA                         US   84312 133232319@KACHIPYTEL.COM
26AHBC   12/18/2020   OB   12/19/2020 WN;1877;AUS;MCO                   EAST BRENT             CT                         US   99110 133232649@KACHIPYTEL.COM
2B4ZLK   12/18/2020   OB   12/19/2020 WN;1347;SAT;PHX;WN;146;PHX;SEA    CUNNINGHAMSHIRE        NH                         US   34390 133242219@KACHIPYTEL.COM
2B9DG2   12/18/2020   OB    1/18/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO   PORTERSHIRE            NE                         US   24050 133242890@KACHIPYTEL.COM
2BSVFN   12/18/2020   OB   12/26/2020 WN;1777;JAX;BNA;WN;2024;BNA;PHL   LAKE KATELYN           OK                         US   66964 133244012@KACHIPYTEL.COM
2CX5K7   12/18/2020   OB   12/21/2020 WN;745;ATL;DAL;WN;230;DAL;MCO     ANTHONYTOWN            NY                         US   16347 133247169@KACHIPYTEL.COM
2D57SB   12/18/2020   OB   12/30/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     CANNONMOUTH            CO                         US   24151 133247521@KACHIPYTEL.COM
2D57SB   12/18/2020   OB   12/30/2020 WN;612;MDW;BNA;WN;169;BNA;BOS     CANNONMOUTH            CO                         US   24151 133247521@KACHIPYTEL.COM
2D5OLJ   12/18/2020   OB   12/21/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    MORRISFORT             DE                         US   27711 133248060@KACHIPYTEL.COM
2D9PQH   12/18/2020   OB   12/18/2020 WN;938;BWI;ATL;WN;3360;ATL;LGA    LAKE JAMESLAND         MO                         US   82311 133248060@KACHIPYTEL.COM
2EP8JT   12/18/2020   OB   12/24/2020 WN;1990;ATL;BWI;WN;4749;BWI;TPA   NORTH DEBBIE           KS                         US   18023 133251844@KACHIPYTEL.COM
2FG5TE   12/18/2020   OB   12/18/2020 WN;553;MDW;HOU;WN;715;HOU;OKC     LAKE JESSICACHESTER    NJ                         US   72049 133253296@KACHIPYTEL.COM
2FPVQB   12/18/2020   OB   12/23/2020 WN;3163;MSY;TPA;WN;1061;TPA;MIA   PORT ALANBURY          VT                         US   15755 133252493@KACHIPYTEL.COM
2FUWLI   12/18/2020   OB   12/23/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA   WEST MICHAELBURY       WI                         US   66543 133254517@KACHIPYTEL.COM




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 2FXF2U   12/18/2020 OB   12/31/2020 WN;3995;MCO;RDU;WN;2746;RDU;ATL   JISSEBELAARII          DAMAN AND DIU        IN   90131 133255892@KACHIPYTEL.COM
 2G3CF8   12/18/2020 OB   12/18/2020 WN;1022;ATL;DEN;WN;687;DEN;GEG    EAST SIMBER            TUNCELI              TR    3174 133255815@KACHIPYTEL.COM
 2G4GHW   12/18/2020 OB   12/25/2020 WN;4686;RDU;MCO                   ALAANG                 RAJASTHAN            IN   96539 133255738@KACHIPYTEL.COM
 2G7XMW   12/18/2020 OB    1/26/2021 WN;2576;PHX;HOU;WN;2623;HOU;ABQ   NEW LISA               NV                   US   32060 133257036@KACHIPYTEL.COM
 2GLLJ3   12/18/2020 OB   12/23/2020 WN;1894;LAX;MSY;WN;1477;MSY;MCO   CHARLESSTAD            MN                   US    8756 133258774@KACHIPYTEL.COM
 2GSQCK   12/18/2020 OB   12/23/2020 WN;3535;IND;HOU;WN;1706;HOU;AUS   OLIVIAFURT             IL                   US    6271 133260292@KACHIPYTEL.COM
 2HXX4B   12/18/2020 OB   12/30/2020 WN;375;CLT;MDW;WN;928;MDW;PHL     LAKE PAULAVILLE        MERSRAGA NOVADS      LV   55098 133267057@KACHIPYTEL.COM
 2HYHBM   12/18/2020 OB   12/19/2020 WN;2159;LAX;SAT;WN;1774;SAT;MCO   ZUNIGASTAD             NC                   US   38131 133267013@KACHIPYTEL.COM
 2HZRQR   12/18/2020 OB   12/31/2020 WN;2527;BNA;HOU;WN;2723;HOU;MIA   NORTH JULIEVIEW        UT                   US   60980 133267222@KACHIPYTEL.COM
 2HZRQR   12/18/2020 OB   12/31/2020 WN;2527;BNA;HOU;WN;2723;HOU;MIA   NORTH JULIEVIEW        UT                   US   60980 133267222@KACHIPYTEL.COM
 2I4UDX   12/18/2020 OB    3/25/2021 WN;1024;BNA;DEN;WN;1422;DEN;SEA   LAKE ALLISONPORT       GA                   US   96211 133267585@KACHIPYTEL.COM
 2I7DK4   12/18/2020 OB   12/31/2020 WN;2247;CLT;BWI;WN;3195;BWI;MCO   BARNESBOROUGH          AZ                   US   31008 133267805@KACHIPYTEL.COM
 2JBI4G   12/18/2020 OB   12/19/2020 WN;2094;LGA;ATL;WN;2242;ATL;MCO   PORT ANTHONY           WI                   US   85462 133274526@KACHIPYTEL.COM
 2JBUA9   12/18/2020 OB   12/19/2020 WN;2094;LGA;ATL;WN;2242;ATL;MCO   COOKCHESTER            PA                   US   88001 133274152@KACHIPYTEL.COM
 2JK6MS   12/18/2020 OB   12/22/2020 WN;1415;SAT;PHX;WN;866;PHX;MEM    MONROEVIEW             WA                   US   69414 133275351@KACHIPYTEL.COM
 2JL59W   12/18/2020 OB   12/22/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA    NORTH AMY              NJ                   US   84016 133275263@KACHIPYTEL.COM
 2JOQ84   12/18/2020 OB    1/24/2021 WN;3714;LAX;BWI;WN;3984;BWI;FLL   NORTH PARIN            TAK                  TH   61082 133276066@KACHIPYTEL.COM
 2JROP2   12/18/2020 OB   12/22/2020 WN;820;LAX;BNA                    NEW NANCYHAVEN         MD                   US   53903 133276748@KACHIPYTEL.COM
 2JTW7J   12/18/2020 OB   12/24/2020 WN;102;BWI;MIA                    JANETFORT              MS                   US    4267 133276638@KACHIPYTEL.COM
 2JTW7J   12/18/2020 OB   12/24/2020 WN;2083;AUS;BWI                   JANETFORT              MS                   US    4267 133276638@KACHIPYTEL.COM
 2K2LB5   12/18/2020 OB     1/2/2021 WN;456;BWI;AUS                    NEW MICHELLEPORT       TN                   US   55532 133278090@KACHIPYTEL.COM
 2K5BEC   12/18/2020 OB   12/26/2020 WN;1772;PHX;HOU;WN;2225;HOU;ABQ   WEST KATHERINESHIRE    DE                   US   17119 133278079@KACHIPYTEL.COM
 2KE8Y9   12/18/2020 OB   12/21/2020 WN;1324;MSY;DEN                   PORT JOHNMOUTH         NE                   US   47124 133279124@KACHIPYTEL.COM
 2KR95X   12/18/2020 OB   12/20/2020 WN;221;OKC;ATL;WN;154;ATL;LGA     TAYLORMOUTH            VT                   US    4926 133281643@KACHIPYTEL.COM
 2KR95X   12/18/2020 OB   12/20/2020 WN;221;OKC;ATL;WN;154;ATL;LGA     TAYLORMOUTH            VT                   US    4926 133281643@KACHIPYTEL.COM
 2LEWBP   12/18/2020 OB   12/19/2020 WN;512;FLL;MDW;WN;1941;MDW;BOS    WILSONVILLE            ND                   US   94740 133284492@KACHIPYTEL.COM
 2LIRVJ   12/18/2020 OB   12/19/2020 WN;2144;LAX;STL                   LYNNMOUTH              MT                   US   61811 133284360@KACHIPYTEL.COM
 2LJI7K   12/18/2020 OB   12/29/2020 WN;523;RSW;STL;WN;200;STL;LGA     SOUTH ANDREW           CT                   US   23710 133284679@KACHIPYTEL.COM
 2LJI7K   12/18/2020 OB   12/29/2020 WN;523;RSW;STL;WN;200;STL;LGA     SOUTH ANDREW           CT                   US   23710 133284679@KACHIPYTEL.COM
 2LJI7K   12/18/2020 OB   12/29/2020 WN;523;RSW;STL;WN;200;STL;LGA     SOUTH ANDREW           CT                   US   23710 133284679@KACHIPYTEL.COM
 2LJI7K   12/18/2020 OB   12/29/2020 WN;523;RSW;STL;WN;200;STL;LGA     SOUTH ANDREW           CT                   US   23710 133284679@KACHIPYTEL.COM
 2LJSAI   12/18/2020 OB   12/24/2020 WN;4008;STL;RSW;WN;372;RSW;CLE    GARRETTBURGH           MT                   US   98176 133284679@KACHIPYTEL.COM
 2LJSAI   12/18/2020 OB   12/24/2020 WN;4008;STL;RSW;WN;372;RSW;CLE    GARRETTBURGH           MT                   US   98176 133284679@KACHIPYTEL.COM
 2LJSAI   12/18/2020 OB   12/24/2020 WN;4008;STL;RSW;WN;372;RSW;CLE    GARRETTBURGH           MT                   US   98176 133284679@KACHIPYTEL.COM
 2LJSAI   12/18/2020 OB   12/24/2020 WN;4008;STL;RSW;WN;372;RSW;CLE    GARRETTBURGH           MT                   US   98176 133284679@KACHIPYTEL.COM
 2LKFVU   12/18/2020 OB   12/21/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     ARROYOBURGH            LA                   US   67520 133284998@KACHIPYTEL.COM
 2LKFVU   12/18/2020 OB   12/21/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     ARROYOBURGH            LA                   US   67520 133284998@KACHIPYTEL.COM
 2LU46D   12/18/2020 OB   12/19/2020 WN;2094;LGA;ATL;WN;2242;ATL;MCO   LAKE LESLIEPORT        IN                   US   17737 133285790@KACHIPYTEL.COM
 2M5H6O   12/18/2020 OB   12/23/2020 WN;6783;DEN;STL;WN;3950;STL;SEA   SOUTH MASON            IN                   US   92429 133287374@KACHIPYTEL.COM
 2M72JU   12/18/2020 OB   12/21/2020 WN;582;LAS;SMF;WN;1431;SMF;SEA    MORENOVIEW             IA                   US   23765 133287418@KACHIPYTEL.COM
 2MID8O   12/18/2020 OB   12/22/2020 WN;1366;RSW;MDW                   GREENVIEW              OH                   US   68748 133289200@KACHIPYTEL.COM
 2MQVT3   12/18/2020 OB     1/1/2021 WN;3167;PHX;MDW;WN;3167;MDW;MSP   WEST SYDNEYSHIRE       CA                   US   63533 133289552@KACHIPYTEL.COM
 2N6LRH   12/18/2020 OB    1/26/2021 WN;471;MEM;MCO;WN;4121;MCO;DAL    SOUTH JONATHAN         NV                   US   48859 133290982@KACHIPYTEL.COM
 4J6XAS   12/18/2020 OB     1/3/2021 WN;3853;LAS;BNA                   NORTH SEBASTIAN        SYDDANMARK           DK   22118 133198208@KACHIPYTEL.COM
 4J7538   12/18/2020 OB   12/22/2020 WN;770;LAX;MSY;WN;1082;MSY;MCO    NORTH MIKE             OH                   US    8588 133197977@KACHIPYTEL.COM
 4JDOLT   12/18/2020 OB   12/31/2020 WN;2437;BNA;AUS                   CHUBRIKSIDE            SHUMEN               BG   17487 133198208@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JI862   12/18/2020 OB   12/18/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH HEATHER          VA                   US   84695 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4JJ3ZV   12/18/2020 OB   12/22/2020 WN;1042;LAS;MDW;WN;2435;MDW;BDL   PORTERSIDE             CA                   US   77577 133198373@KACHIPYTEL.COM
 4K45FN   12/18/2020 OB   12/24/2020 WN;2917;PHX;AUS;WN;4065;AUS;LGB   NEW LUCAS              IN                   US   20792 133198604@KACHIPYTEL.COM
 4K64RY   12/18/2020 OB   12/19/2020 WN;2094;ATL;MDW;WN;177;MDW;FLL    CLAYMOUTH              NC                   US   83615 133199858@KACHIPYTEL.COM
 4KA5ZU   12/18/2020 OB     1/7/2021 WN;2927;STL;AUS                   NEW CHRISTOPHERLAND    MT                   US   24519 133199968@KACHIPYTEL.COM
 4KT2WM   12/18/2020 OB   12/23/2020 WN;1710;PHL;BNA;WN;3765;BNA;FLL   SI JIE DAO SHI         YAMANASHI            JP   47306 133201112@KACHIPYTEL.COM
 4KVBBP   12/18/2020 OB   12/18/2020 WN;413;PDX;LAS;WN;1004;LAS;ABQ    BENTONLAND             IA                   US   20892 133201673@KACHIPYTEL.COM
 4L2T32   12/18/2020 OB   12/23/2020 WN;2849;LAX;STL;WN;1892;STL;DCA   PORT MARY              PA                   US   34939 133201662@KACHIPYTEL.COM
 4M6OSD   12/18/2020 OB     1/2/2021 WN;2026;TPA;BWI;WN;1875;BWI;BOS   SHML LY                AZARBAYJANE GHARBI   IR   49692 133203477@KACHIPYTEL.COM
 4M6OSD   12/18/2020 OB     1/2/2021 WN;2026;TPA;BWI;WN;1875;BWI;BOS   SHML LY                AZARBAYJANE GHARBI   IR   49692 133203477@KACHIPYTEL.COM
 4MSJJR   12/18/2020 OB   12/22/2020 WN;2079;ATL;MSY                   NORTH CAROLYN          AK                   US   71400 133204687@KACHIPYTEL.COM
 4MUVFJ   12/18/2020 OB   12/19/2020 WN;2094;ATL;MDW;WN;2086;MDW;MCO;WNANDERSONVIEW           OH                   US   74393 133204896@KACHIPYTEL.COM
 4NK8EP   12/18/2020 OB   12/27/2020 WN;1970;ATL;AUS;WN;1785;AUS;HOU   PORT MARCUSTOWN        SD                   US   29170 133206227@KACHIPYTEL.COM
 4NK8EP   12/18/2020 OB   12/27/2020 WN;1970;ATL;AUS;WN;1785;AUS;HOU   PORT MARCUSTOWN        SD                   US   29170 133206227@KACHIPYTEL.COM
 4NK8EP   12/18/2020 OB   12/27/2020 WN;1970;ATL;AUS;WN;1785;AUS;HOU   PORT MARCUSTOWN        SD                   US   29170 133206227@KACHIPYTEL.COM
 4NK8EP   12/18/2020 OB   12/27/2020 WN;1970;ATL;AUS;WN;1785;AUS;HOU   PORT MARCUSTOWN        SD                   US   29170 133206227@KACHIPYTEL.COM
 4NPGDE   12/18/2020 OB   12/24/2020 WN;3254;AUS;ATL;WN;2746;ATL;FLL   EAST LISAVIEW          MA                   US    6203 133206227@KACHIPYTEL.COM
 4NPGDE   12/18/2020 OB   12/24/2020 WN;3254;AUS;ATL;WN;2746;ATL;FLL   EAST LISAVIEW          MA                   US    6203 133206227@KACHIPYTEL.COM
 4NPGDE   12/18/2020 OB   12/24/2020 WN;3254;AUS;ATL;WN;2746;ATL;FLL   EAST LISAVIEW          MA                   US    6203 133206227@KACHIPYTEL.COM
 4NPGDE   12/18/2020 OB   12/24/2020 WN;3254;AUS;ATL;WN;2746;ATL;FLL   EAST LISAVIEW          MA                   US    6203 133206227@KACHIPYTEL.COM
 4O6M9M   12/18/2020 OB    1/17/2021 WN;4042;FLL;BWI;WN;680;BWI;MDW    LAKE BRUCECHESTER      OH                   US   15763 133206931@KACHIPYTEL.COM
 4QVAQ5   12/18/2020 OB    1/28/2021 WN;3157;SAT;LAS;WN;2905;LAS;OKC   RHONDASTAD             WY                   US   32270 133210660@KACHIPYTEL.COM
 4QVAQ5   12/18/2020 OB    1/28/2021 WN;3157;SAT;LAS;WN;2905;LAS;OKC   RHONDASTAD             WY                   US   32270 133210660@KACHIPYTEL.COM
 4RVWWJ   12/18/2020 OB   12/18/2020 WN;282;SAN;LAS;WN;575;LAS;SFO     S USTDZHEGUTA          KURGANSKAYA OBLAST   RU   72888 133212211@KACHIPYTEL.COM
 4S8J4D   12/18/2020 OB   12/20/2020 WN;1591;MDW;AUS;WN;1033;AUS;DAL   NORTH KENT             MA                   US   68442 133212497@KACHIPYTEL.COM
 4SF5OV   12/18/2020 OB   12/19/2020 WN;1146;ATL;MDW                   EAST CRAIG             VT                   US   16034 133212453@KACHIPYTEL.COM
 4SWPQZ   12/18/2020 OB   12/27/2020 WN;2849;LAX;STL;WN;1632;STL;PHL   DAVISMOUTH             MT                   US   22725 133213146@KACHIPYTEL.COM
 4SWPQZ   12/18/2020 OB   12/27/2020 WN;2849;LAX;STL;WN;1632;STL;PHL   DAVISMOUTH             MT                   US   22725 133213146@KACHIPYTEL.COM
 4TO83M   12/18/2020 OB     1/5/2021 WN;1189;BOI;PHX;WN;460;PHX;SMF    ANTHONYBURGH           VT                   US   88201 133213905@KACHIPYTEL.COM
 4TO83M   12/18/2020 OB     1/5/2021 WN;1189;BOI;PHX;WN;460;PHX;SMF    ANTHONYBURGH           VT                   US   88201 133213905@KACHIPYTEL.COM
 4TO83M   12/18/2020 OB     1/5/2021 WN;1189;BOI;PHX;WN;460;PHX;SMF    ANTHONYBURGH           VT                   US   88201 133213905@KACHIPYTEL.COM
 4TO83M   12/18/2020 OB     1/5/2021 WN;1189;BOI;PHX;WN;460;PHX;SMF    ANTHONYBURGH           VT                   US   88201 133213905@KACHIPYTEL.COM
 4UHETQ   12/18/2020 OB   12/28/2020 WN;381;CMH;BWI;WN;142;BWI;MIA     MCKEECHESTER           PA                   US   26062 133215038@KACHIPYTEL.COM
 4VA3QY   12/18/2020 OB   12/30/2020 WN;6563;LAX;BNA;WN;747;BNA;MCO    WEST WHITNEY           CA                   US   58057 133215852@KACHIPYTEL.COM
 4VA3QY   12/18/2020 OB   12/30/2020 WN;6563;LAX;BNA;WN;747;BNA;MCO    WEST WHITNEY           CA                   US   58057 133215852@KACHIPYTEL.COM
 4W3MFD   12/18/2020 OB    4/28/2021 WN;1501;MSY;OAK;WN;680;OAK;LGB    WEST VICTOR            NC                   US   30070 133216963@KACHIPYTEL.COM
 4W3MFD   12/18/2020 OB    4/28/2021 WN;1501;MSY;OAK;WN;680;OAK;LGB    WEST VICTOR            NC                   US   30070 133216963@KACHIPYTEL.COM
 4ZYZ58   12/18/2020 OB   12/18/2020 WN;6938;LAX;DAL;WN;290;DAL;MCO    YATESBERG              WY                   US    4350 133223365@KACHIPYTEL.COM
 2N7GKB   12/19/2020 OB   12/19/2020 WN;3245;LAX;DAL;WN;6721;DAL;SLC   WEST CHARLESBOROUGH    NJ                   US    1386 133291510@KACHIPYTEL.COM
 2NJRR2   12/19/2020 OB   12/22/2020 WN;984;ATL;BWI;WN;1199;BWI;FLL    PATTYHAVEN             NC                   US   60646 133292335@KACHIPYTEL.COM
 2NM7CI   12/19/2020 OB   12/19/2020 WN;1940;FLL;IND;WN;2162;IND;LAS   PORT MARYVILLE         IA                   US   89388 133292610@KACHIPYTEL.COM
 2NNKIO   12/19/2020 OB   12/23/2020 WN;4553;ATL;HOU;WN;1056;HOU;MIA   MICHAELSTAD            AZ                   US   29973 133292632@KACHIPYTEL.COM
 2O3ZRZ   12/19/2020 OB    1/18/2021 WN;3207;BDL;MDW                   EAST THOMASSIDE        NV                   US   34889 133293787@KACHIPYTEL.COM
 2O5QL2   12/19/2020 OB     1/1/2021 WN;2247;CLT;BWI;WN;3160;BWI;MCO   NORTH COURTNEYBOROUG   RI                   US   74853 133293963@KACHIPYTEL.COM
 2OIOGC   12/19/2020 OB   12/26/2020 WN;1133;ATL;DEN;WN;1521;DEN;MSP   LAKE DONNAVILLE        HI                   US   69015 133295184@KACHIPYTEL.COM
 2OIOGC   12/19/2020 OB   12/26/2020 WN;1133;ATL;DEN;WN;1521;DEN;MSP   LAKE DONNAVILLE        HI                   US   69015 133295184@KACHIPYTEL.COM
 2OIOGC   12/19/2020 OB   12/26/2020 WN;1133;ATL;DEN;WN;1521;DEN;MSP   LAKE DONNAVILLE        HI                   US   69015 133295184@KACHIPYTEL.COM
 2OMPFL   12/19/2020 OB   12/26/2020 WN;1690;PHL;DEN;WN;1398;DEN;LGB   ROSSVIEW               CT                   US   32159 133295349@KACHIPYTEL.COM
 2OOI76   12/19/2020 OB   12/19/2020 WN;2094;LGA;ATL;WN;2242;ATL;MCO   LAKE TERESA            ID                   US   56252 133295756@KACHIPYTEL.COM
 2OTUZ3   12/19/2020 OB   12/24/2020 WN;1990;ATL;BWI;WN;4749;BWI;TPA   PORT VANESSA           NE                   US    5670 133296262@KACHIPYTEL.COM
 2PPMZG   12/19/2020 OB   12/26/2020 WN;6752;OKC;DEN;WN;2414;DEN;SMF   DAVISBURY              AK                   US   59205 133298231@KACHIPYTEL.COM




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2QGVCL   12/19/2020 OB   12/22/2020 WN;770;LAX;MSY;WN;1082;MSY;MCO    FITZGERALDHAVEN      NM                 US    2028 133299562@KACHIPYTEL.COM
2QGVCL   12/19/2020 OB   12/22/2020 WN;770;LAX;MSY;WN;1082;MSY;MCO    FITZGERALDHAVEN      NM                 US    2028 133299562@KACHIPYTEL.COM
2QNGIJ   12/19/2020 OB   12/19/2020 WN;667;ATL;MDW;WN;6875;MDW;DTW    AGUIRREMOUTH         OR                 US   66284 133300321@KACHIPYTEL.COM
2QW4U4   12/19/2020 OB   12/19/2020 WN;1146;ATL;MDW                   MATTHEWMOUTH         AR                 US   69783 133301025@KACHIPYTEL.COM
2R8YQW   12/19/2020 OB   12/19/2020 WN;2086;MCO;PHX                   NORTH SHANNONHAVEN   MT                 US   34983 133301300@KACHIPYTEL.COM
2REPSZ   12/19/2020 OB    2/14/2021 WN;4153;MKE;DEN;WN;4382;DEN;SEA   MAYBOROUGH           MS                 US   66930 133301993@KACHIPYTEL.COM
2RWM2D   12/19/2020 OB   12/24/2020 WN;2438;CLE;BNA                   THOMPSONSIDE         WY                 US   78945 133303324@KACHIPYTEL.COM
2T8FML   12/19/2020 OB   12/27/2020 WN;1828;MDW;LAX;WN;3451;LAX;SFO   JOSHUABURGH          CA                 US   46929 133306217@KACHIPYTEL.COM
2T8FML   12/19/2020 OB   12/27/2020 WN;1828;MDW;LAX;WN;3451;LAX;SFO   JOSHUABURGH          CA                 US   46929 133306217@KACHIPYTEL.COM
2TDMD2   12/19/2020 OB   12/19/2020 WN;2380;ATL;BWI;WN;1811;BWI;DTW   LAKE ERICA           HI                 US   49128 133306679@KACHIPYTEL.COM
2TFQI2   12/19/2020 OB     1/9/2021 WN;3057;DAL;MDW;WN;3298;MDW;MCI   OURENSE              PONTEVEDRA         ES   15239 133306415@KACHIPYTEL.COM
2UA4TJ   12/19/2020 OB   12/22/2020 WN;156;LGA;ATL                    HODGEFURT            ID                 US   90717 133308670@KACHIPYTEL.COM
2WQFJG   12/19/2020 OB     1/8/2021 WN;2855;PDX;LAS                   NORTH JERRY          VT                 US    8542 133315710@KACHIPYTEL.COM
2WQFJG   12/19/2020 OB     1/8/2021 WN;2855;PDX;LAS                   NORTH JERRY          VT                 US    8542 133315710@KACHIPYTEL.COM
2WYFOP   12/19/2020 OB   12/19/2020 WN;2007;ATL;MDW                   PORT DAVIDSIDE       TN                 US   49987 133317008@KACHIPYTEL.COM
2XT5QS   12/19/2020 OB   12/19/2020 WN;2176;ATL;MDW;WN;968;MDW;FLL    SMITHHAVEN           IN                 US   24957 133317008.1520485@KACHIPYTEL.COM
2XYR6D   12/19/2020 OB   12/23/2020 WN;4553;ATL;HOU;WN;1056;HOU;MIA   NORTH LISAMOUTH      WI                 US   69048 133320759@KACHIPYTEL.COM
2YH94K   12/19/2020 OB   12/22/2020 WN;1090;MSY;BWI;WN;331;BWI;MIA    EAST THERESAFORT     ND                 US   40784 133322046@KACHIPYTEL.COM
2YU3DE   12/19/2020 OB   12/19/2020 WN;667;ATL;MDW;WN;6875;MDW;DTW    WILLIAMTON           KS                 US   15617 133322805@KACHIPYTEL.COM
2ZCSZ3   12/19/2020 OB   12/24/2020 WN;4547;PHL;ATL;WN;3490;ATL;RSW   JACKSONBOROUGH       WA                 US   71023 133324367@KACHIPYTEL.COM
334GLZ   12/19/2020 OB     1/4/2021 WN;1033;PHX;SAN                   WASHINGTONSIDE       NY                 US   54638 133330879@KACHIPYTEL.COM
33XFSW   12/19/2020 OB     1/9/2021 WN;2741;ATL;BWI                   EAST KENNETH         MA                 US   83736 133334223@KACHIPYTEL.COM
33XSHB   12/19/2020 OB   12/19/2020 WN;2086;MCO;PHX;WN;2003;PHX;OAK   VELLOFORT            LAANEMAA           EE   64982 133334410@KACHIPYTEL.COM
34775I   12/19/2020 OB   12/19/2020 WN;2007;ATL;MDW;WN;1668;MDW;DTW   JOHNSONVILLE         WV                 US   37220 133334850@KACHIPYTEL.COM
34BDHM   12/19/2020 OB   12/27/2020 WN;4598;PHL;STL;WN;2681;STL;CLT   MILESTON             VA                 US   72842 133335268@KACHIPYTEL.COM
34FOBL   12/19/2020 OB   12/23/2020 WN;3885;LGA;STL;WN;3387;STL;MDW   KHDDGPUR             RAJASTHAN          IN   20671 133335774@KACHIPYTEL.COM
34M9EW   12/19/2020 OB   12/19/2020 WN;1811;DTW;MDW;WN;1696;MDW;ATL   LAKE DAVIDSIDE       KY                 US   17233 133336863@KACHIPYTEL.COM
34NEMX   12/19/2020 OB   12/26/2020 WN;2405;PHL;DEN;WN;4353;DEN;LAX   MOKOKCUNG            ODISHA             IN   67286 133336489@KACHIPYTEL.COM
34WKA5   12/19/2020 OB   12/25/2020 WN;3368;ATL;HOU;WN;2576;HOU;FLL   HENRYMOUTH           HI                 US   79394 133338073@KACHIPYTEL.COM
3588DL   12/19/2020 OB   12/23/2020 WN;1894;LAX;MSY;WN;1477;MSY;MCO   NEW TIFFANY          NE                 US   48809 133339118@KACHIPYTEL.COM
35F74W   12/19/2020 OB   12/26/2020 WN;497;MCO;DEN;WN;1692;DEN;MSP    GEORGETON            WOKINGHAM          GB   39097 133339580@KACHIPYTEL.COM
35OFJD   12/19/2020 OB   12/20/2020 WN;244;ATL;MDW;WN;1427;MDW;DTW    ANITASTAD            GA                 US   95577 133340911@KACHIPYTEL.COM
3648M4   12/19/2020 OB   12/22/2020 WN;6792;SEA;DEN;WN;1245;DEN;LAS   NORTH NANCY          NV                 US   37376 133343617@KACHIPYTEL.COM
366TIL   12/19/2020 OB     1/8/2021 WN;2500;FLL;BNA;WN;2151;BNA;CLE   LAKE JOY             NE                 US   14990 133343001@KACHIPYTEL.COM
368FYI   12/19/2020 OB     1/8/2021 WN;2500;FLL;BNA;WN;2151;BNA;CLE   PETERMOUTH           ME                 US   39582 133344013@KACHIPYTEL.COM
36R72A   12/19/2020 OB   12/24/2020 WN;4115;ATL;MSY;WN;4279;MSY;TPA   ANDERSONFORT         WY                 US   91307 133346939@KACHIPYTEL.COM
36SHJX   12/19/2020 OB     1/1/2021 WN;3368;ATL;HOU;WN;2576;HOU;FLL   WEST DARRELL         VT                 US   63569 133347214@KACHIPYTEL.COM
36SXPP   12/19/2020 OB     1/2/2021 WN;1829;MSY;ATL;WN;1843;ATL;TPA   LAKE MICHELLESHIRE   KY                 US   50066 133346939@KACHIPYTEL.COM
36TJFH   12/19/2020 OB     1/1/2021 WN;3368;ATL;HOU;WN;2576;HOU;FLL   DAVISVIEW            MO                 US   74628 133347082@KACHIPYTEL.COM
374ALD   12/19/2020 OB   12/23/2020 WN;4857;ATL;MSY;WN;3851;MSY;TPA   NORTH KRISTEN        MN                 US   18531 133348501@KACHIPYTEL.COM
37C4FN   12/19/2020 OB   12/19/2020 WN;1148;OAK;LAX;WN;1493;LAX;PHX   LAKE SARAH           MS                 US   64796 133349502@KACHIPYTEL.COM
37L2A3   12/19/2020 OB   12/23/2020 WN;3467;RIC;ATL;WN;2350;ATL;FLL   JANETON              NE                 US   54562 133350789@KACHIPYTEL.COM
37NYJ2   12/19/2020 OB   12/29/2020 WN;125;MSY;DEN;WN;763;DEN;CLT     VALENCIAVIEW         DE                 US   40708 133352131@KACHIPYTEL.COM
38AW7X   12/19/2020 OB   12/23/2020 WN;4412;SEA;SMF;WN;1457;SMF;LAS   NORTH BENJAMINPORT   FL                 US   63631 133355277@KACHIPYTEL.COM
38BD33   12/19/2020 OB   12/20/2020 WN;6014;TPA;DAL;WN;1022;DAL;ATL   LAKE JESSICA         NJ                 US   83448 133355035@KACHIPYTEL.COM
38CCM4   12/19/2020 OB   12/20/2020 WN;6720;DTW;MDW;WN;278;MDW;ATL    HARVEYFORT           NJ                 US   58058 133355079@KACHIPYTEL.COM
393UXC   12/19/2020 OB   12/20/2020 WN;244;ATL;MDW;WN;1427;MDW;DTW    WRIGHTBOROUGH        OR                 US   26153 133359017@KACHIPYTEL.COM
396D2F   12/19/2020 OB   12/25/2020 WN;2700;CLE;MDW;WN;2558;MDW;BOS   LAKE BRIANNATON      WI                 US   20968 133359446@KACHIPYTEL.COM
39ETJH   12/19/2020 OB   12/24/2020 WN;4196;MSP;MDW                   WEST MIGUEL          MO                 US   55066 133360282@KACHIPYTEL.COM
39WR4C   12/19/2020 OB   12/20/2020 WN;143;ATL;MDW;WN;530;MDW;DTW     WEST LISA            SC                 US    8316 133362372@KACHIPYTEL.COM
3ASQQ5   12/19/2020 OB   12/31/2020 WN;2247;CLT;BWI;WN;3195;BWI;MCO   SOUTH JUANBOROUGH    OR                 US   18486 133365914@KACHIPYTEL.COM
3AVKR9   12/19/2020 OB     1/3/2021 WN;2299;BWI;AUS                   PORT AMBERBERG       GA                 US   84699 133366442@KACHIPYTEL.COM
3BB3B7   12/19/2020 OB   12/23/2020 WN;5062;DEN;MCI                   EAST ASHLEEMOUTH     WV                 US   96789 133367674@KACHIPYTEL.COM
3BFB5T   12/19/2020 OB   12/20/2020 WN;244;ATL;MDW;WN;1427;MDW;DTW    HAMPTONVILLE         CO                 US   43683 133367520@KACHIPYTEL.COM
3BJRL9   12/19/2020 OB   12/22/2020 WN;1087;ATL;BWI;WN;331;BWI;MIA    NEW HEATHERFORT      TX                 US   78001 133368213@KACHIPYTEL.COM
3BOQI7   12/19/2020 OB   12/20/2020 WN;1352;ATL;HOU;WN;661;HOU;MIA    CASEYFORT            OK                 US   23017 133368752@KACHIPYTEL.COM
3BRF6Y   12/19/2020 OB   12/23/2020 WN;3068;LGA;ATL;WN;4101;ATL;TPA   PORT ANTHONYLAND     MT                 US   59295 133368774@KACHIPYTEL.COM
3C8SZR   12/20/2020 OB   12/26/2020 WN;6869;ATL;PHX;WN;488;PHX;MSP    WILLIAMSBERG         WA                 US   42550 133370369@KACHIPYTEL.COM
3C8SZR   12/20/2020 OB   12/26/2020 WN;6869;ATL;PHX;WN;488;PHX;MSP    WILLIAMSBERG         WA                 US   42550 133370369@KACHIPYTEL.COM
3CNW3N   12/20/2020 OB   12/28/2020 WN;112;ATL;PHX;WN;549;PHX;LGB     EAST JUSTINBERG      RI                 US   18287 133371436@KACHIPYTEL.COM
3D2357   12/20/2020 OB   12/20/2020 WN;175;ONT;LAS                    SOUTH CODY           MA                 US   52612 133372316@KACHIPYTEL.COM
3D4K75   12/20/2020 OB   12/20/2020 WN;984;ATL;BWI;WN;6960;BWI;SJU    SCOTTSIDE            AL                 US    6262 133372635@KACHIPYTEL.COM
3D5VWV   12/20/2020 OB   12/26/2020 WN;2052;MKE;LAS;WN;1649;LAS;DEN   ALAANG               NAGALAND           IN   89038 133372602@KACHIPYTEL.COM
3D9ZHS   12/20/2020 OB   12/25/2020 WN;6529;FLL;DEN;WN;1966;DEN;LAS   PORT DERRICK         NC                 US   68729 133372987@KACHIPYTEL.COM
3DDAKT   12/20/2020 OB   12/23/2020 WN;1690;TPA;MSY                   WEST GARYTON         FL                 US   91098 133373262@KACHIPYTEL.COM
3DHAJY   12/20/2020 OB   12/20/2020 WN;1060;MIA;TPA;WN;745;TPA;ATL    NEW JODIBURY         OH                 US   57961 133373570@KACHIPYTEL.COM
3DJMU6   12/20/2020 OB    1/26/2021 WN;1941;STL;MDW;WN;4409;MDW;DTW   NORTH KATHYBOROUGH   WY                 US   13842 133373801@KACHIPYTEL.COM
3DJMU6   12/20/2020 OB    1/26/2021 WN;1941;STL;MDW;WN;4409;MDW;DTW   NORTH KATHYBOROUGH   WY                 US   13842 133373801@KACHIPYTEL.COM
3DLJRY   12/20/2020 OB   12/22/2020 WN;984;TPA;HOU;WN;485;HOU;ATL     PYUTTHAAN            LUMBINI            NP   68913 133373647@KACHIPYTEL.COM
3DZTZ9   12/20/2020 OB     1/4/2021 WN;793;SAN;BWI;WN;6004;BWI;ISP    LAKE CARLOS          TX                 US   52387 133374791@KACHIPYTEL.COM
3EGEN8   12/20/2020 OB   12/21/2020 WN;156;LGA;ATL                    ARROYOBURGH          LA                 US   67520 133284998@KACHIPYTEL.COM
3EH7KE   12/20/2020 OB   12/31/2020 WN;430;ATL;PHX;WN;3972;PHX;LAX    COOKEBURY            TN                 US   64914 133376023@KACHIPYTEL.COM
3EHZWA   12/20/2020 OB     1/4/2021 WN;1301;PHX;ATL;WN;2079;ATL;MSY   CRYSTALSIDE          DE                 US   62924 133376023@KACHIPYTEL.COM
3EOS6P   12/20/2020 OB   12/22/2020 WN;126;LGA;MDW;WN;432;MDW;FLL     NORTH HEATHER        IA                 US   12495 133376694@KACHIPYTEL.COM
3F6AFA   12/20/2020 OB     1/2/2021 WN;945;ATL;BWI;WN;102;BWI;MIA     ELLISONBOROUGH       ID                 US   65429 133377783@KACHIPYTEL.COM
3FA83O   12/20/2020 OB     1/2/2021 WN;945;ATL;BWI;WN;102;BWI;MIA     CARPENTERMOUTH       ID                 US   68784 133378025@KACHIPYTEL.COM
3FDS3U   12/20/2020 OB   12/29/2020 WN;6889;DTW;BNA;WN;747;BNA;MCO    SILVAMOUTH           MT                 US   32079 133378091@KACHIPYTEL.COM
3FMECK   12/20/2020 OB     1/2/2021 WN;945;ATL;BWI;WN;102;BWI;MIA     DARRYLVILLE          NE                 US   99435 133378652@KACHIPYTEL.COM
3FZ852   12/20/2020 OB   12/27/2020 WN;1613;ATL;RDU;WN;4510;RDU;TPA   PORT KARENCHESTER    OH                 US   52642 133379972@KACHIPYTEL.COM
3G3CSS   12/20/2020 OB   12/30/2020 WN;6839;PHX;STL                   BRADSHAWSHIRE        MO                 US   40366 133380126@KACHIPYTEL.COM
3G3FHH   12/20/2020 OB   12/22/2020 WN;1090;MSY;BWI                   SOUTH DANIELLE       MD                 US   23642 133380181@KACHIPYTEL.COM
3GIMUA   12/20/2020 OB   12/29/2020 WN;984;TPA;HOU;WN;485;HOU;ATL     KEITHTON             IN                 US   88804 133380808@KACHIPYTEL.COM
3GKAQG   12/20/2020 OB   12/29/2020 WN;6863;IND;ATL;WN;6271;ATL;AUS   LAKE MICHAELFORT     IL                 US   26703 133381094@KACHIPYTEL.COM
3GKAQG   12/20/2020 OB   12/29/2020 WN;6863;IND;ATL;WN;6271;ATL;AUS   LAKE MICHAELFORT     IL                 US   26703 133381094@KACHIPYTEL.COM
3GP283   12/20/2020 OB   12/28/2020 WN;122;BWI;PHX;WN;619;PHX;LGB     PORT VINCENTBERG     TUZLANSKI KANTON   BA   24344 133381171@KACHIPYTEL.COM
3GSBXW   12/20/2020 OB   12/22/2020 WN;1109;SEA;SJC;WN;549;SJC;LAS    JISSEBELAARII        KARNATAKA          IN   63494 133381380@KACHIPYTEL.COM
3H4W8D   12/20/2020 OB   12/22/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     EAST RICHARD         IN                 US   17218 133382392@KACHIPYTEL.COM
3H8R6M   12/20/2020 OB   12/20/2020 WN;403;ATL;BNA;WN;468;BNA;DTW     WEST CHRISTOPHER     IL                 US   14121 133382656@KACHIPYTEL.COM
3LK4AT   12/20/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA   NEW SHANNONMOUTH     NC                 US   89737 133392270@KACHIPYTEL.COM
3LPZ6C   12/20/2020 OB   12/27/2020 WN;1828;MDW;LAX                   LAKE BILLYPORT       WY                 US   92219 133392754@KACHIPYTEL.COM
3N3Y6X   12/20/2020 OB   12/24/2020 WN;2408;SEA;SJC;WN;4965;SJC;LAS   ANTRGT               TAMIL NADU         IN   16418 133397275@KACHIPYTEL.COM
3ND8ZM   12/20/2020 OB   12/20/2020 WN;499;DTW;MDW                    HULLCHESTER          PA                 US   38280 133398760@KACHIPYTEL.COM
3OQPNY   12/20/2020 OB   12/23/2020 WN;1766;DTW;BWI;WN;3137;BWI;BOS   NORTH JACQUELINE     ND                 US   16302 132743842.1520957@KACHIPYTEL.COM
3POGVW   12/20/2020 OB   12/29/2020 WN;631;ATL;BWI;WN;277;BWI;TPA     DMANISI              GURIA              GE   51901 133407714@KACHIPYTEL.COM
3POGVW   12/20/2020 OB   12/29/2020 WN;631;ATL;BWI;WN;277;BWI;TPA     DMANISI              GURIA              GE   51901 133407714@KACHIPYTEL.COM
3Q683M   12/20/2020 OB   12/28/2020 WN;6889;DTW;BNA;WN;747;BNA;MCO    SANTANATOWN          CO                 US   60160 133409463@KACHIPYTEL.COM
3Q683M   12/20/2020 OB   12/28/2020 WN;6889;DTW;BNA;WN;747;BNA;MCO    SANTANATOWN          CO                 US   60160 133409463@KACHIPYTEL.COM
3QAYCL   12/20/2020 OB   12/25/2020 WN;3948;FLL;MDW;WN;2457;MDW;LAS   ROSALESVIEW          MD                 US   59710 133410233@KACHIPYTEL.COM
3QAYCL   12/20/2020 OB   12/25/2020 WN;3948;FLL;MDW;WN;2457;MDW;LAS   ROSALESVIEW          MD                 US   59710 133410233@KACHIPYTEL.COM
3QMW32   12/20/2020 OB     1/5/2021 WN;631;ATL;BWI                    RAYMONDFORT          MO                 US   88941 133411278@KACHIPYTEL.COM
3QNYCO   12/20/2020 OB   12/24/2020 WN;1943;RSW;MDW;WN;2195;MDW;CLE   KARASHIRE            CA                 US   17623 133411751@KACHIPYTEL.COM
3QSYH7   12/20/2020 OB   12/28/2020 WN;6829;ATL;PHX                   SOUTH CHRISTOPHER    AK                 US   74229 133411806@KACHIPYTEL.COM
3QVBKL   12/20/2020 OB    1/18/2021 WN;1990;ATL;BWI                   WEST JANEBOROUGH     AZ                 US   12481 133412356@KACHIPYTEL.COM
3QX26S   12/20/2020 OB   12/29/2020 WN;631;ATL;BWI;WN;1212;BWI;BOS    NORTH BRITTANY       GREVENMACHER       LU   76251 133412686@KACHIPYTEL.COM
3RFF5N   12/20/2020 OB   12/21/2020 WN;1320;FLL;BWI;WN;6960;BWI;SJU   EAST DEVIN           NY                 US   58967 133414875@KACHIPYTEL.COM
3RQGI7   12/20/2020 OB   12/20/2020 WN;1519;MSY;LAX;WN;1493;LAX;PHX   SMITHTON             NY                 US   49731 133416382@KACHIPYTEL.COM
3S8QLC   12/20/2020 OB   12/21/2020 WN;197;BNA;FLL;WN;321;FLL;IND     JOSEPHCHESTER        LA                 US   94035 133418582@KACHIPYTEL.COM
3S8QLC   12/20/2020 OB   12/21/2020 WN;197;BNA;FLL;WN;321;FLL;IND     JOSEPHCHESTER        LA                 US   94035 133418582@KACHIPYTEL.COM
3SANIE   12/20/2020 OB   12/24/2020 WN;4246;FLL;BNA;WN;2931;BNA;MDW   NORTH ROBERT         ID                 US   19627 133418956@KACHIPYTEL.COM




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 3SANIE   12/20/2020 OB   12/24/2020 WN;4246;FLL;BNA;WN;2931;BNA;MDW       NORTH ROBERT           ID                  US   19627 133418956@KACHIPYTEL.COM
 3SHJ8B   12/20/2020 OB   12/27/2020 WN;4601;ATL;BWI                       OROSZHARASZTI          HODMEZOVASARHELY    HU   77331 133420914@KACHIPYTEL.COM
 3SHS4S   12/20/2020 OB   12/23/2020 WN;4711;SJU;BWI                       CRUZBERG               OH                  US   51350 133420023@KACHIPYTEL.COM
 3SHS4S   12/20/2020 OB   12/23/2020 WN;4711;SJU;BWI                       CRUZBERG               OH                  US   51350 133420023@KACHIPYTEL.COM
 3SSJK7   12/20/2020 OB   12/27/2020 WN;3451;SFO;DEN;WN;2227;DEN;LAS       PHILLIPBURY            SD                  US    4537 133421827@KACHIPYTEL.COM
 3TL8Y7   12/20/2020 OB    1/28/2021 WN;6009;SAT;TPA;WN;3448;TPA;MSY       VANCEMOUTH             NC                  US   97866 133426535@KACHIPYTEL.COM
 3TL8Y7   12/20/2020 OB    1/28/2021 WN;6009;SAT;TPA;WN;3448;TPA;MSY       VANCEMOUTH             NC                  US   97866 133426535@KACHIPYTEL.COM
 3TNHW4   12/20/2020 OB   12/27/2020 WN;2049;AUS;MDW;WN;4800;MDW;MEM KHDDGPUR                     MEGHALAYA           IN   30933 133426986@KACHIPYTEL.COM
 3TNHW4   12/20/2020 OB   12/27/2020 WN;2049;AUS;MDW;WN;4800;MDW;MEM KHDDGPUR                     MEGHALAYA           IN   30933 133426986@KACHIPYTEL.COM
 3TPG2T   12/20/2020 OB   12/23/2020 WN;3261;DEN;MCI;WN;4152;MCI;MDW       LAKE EMMAFORT          MS                  US    8732 133427349@KACHIPYTEL.COM
 3TSUGT   12/20/2020 OB   12/27/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW       WEST LARRY             MO                  US   50608 133427833@KACHIPYTEL.COM
 3TVQSX   12/20/2020 OB   12/23/2020 WN;2256;LAX;HOU;WN;4005;HOU;MCO       SOUTH CHERYL           NV                  US   12025 133427844@KACHIPYTEL.COM
 3U84SH   12/20/2020 OB   12/24/2020 WN;2764;CMH;DAL;WN;2470;DAL;ECP       MOTIHAARII             JAMMU AND KASHMIR   IN   21711 133430473@KACHIPYTEL.COM
 3UIEVV   12/20/2020 OB   12/24/2020 WN;3920;LAX;MDW;WN;2636;MDW;MSP       LAKE BRIANVILLE        MI                  US    5646 133431804@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UK27S   12/20/2020 OB     1/5/2021 WN;1249;MEM;MDW                       ASHLEYMOUTH            LA                  US   24292 133432112@KACHIPYTEL.COM
 3UY6CU   12/20/2020 OB   12/23/2020 WN;3068;LGA;ATL;WN;4101;ATL;TPA       MARTINVIEW             EAST RENFREWSHIRE   GB   66757 133434928@KACHIPYTEL.COM
 3V43YC   12/20/2020 OB   12/26/2020 WN;1237;RDU;ATL                       WEST JEREMY            KY                  US   26304 133435533@KACHIPYTEL.COM
 3WTAKJ   12/20/2020 OB     1/8/2021 WN;3959;TPA;BWI;WN;3111;BWI;BOS       GRAYBURGH              SD                  US   15665 133442870@KACHIPYTEL.COM
 3XCDTF   12/20/2020 OB    2/26/2021 WN;388;CLE;DEN;WN;1898;DEN;LGB        WEST TANYA             HI                  US   79201 133445103@KACHIPYTEL.COM
 3Y9BZB   12/20/2020 OB   12/23/2020 WN;3068;LGA;ATL;WN;4101;ATL;TPA       ACOSTAVIEW             AR                  US   60103 133449041@KACHIPYTEL.COM
 3YHYCG   12/20/2020 OB   12/24/2020 WN;5013;TPA;BNA;WN;1966;BNA;ATL       SOUTH SCOTT            AZ                  US   22699 133449525@KACHIPYTEL.COM
 3YPARR   12/21/2020 OB    4/20/2021 WN;2272;SJU;MCO;WN;503;MCO;PHL        HAWKINSSIDE            MN                  US   85823 133450702@KACHIPYTEL.COM
 3YPARR   12/21/2020 OB    4/20/2021 WN;2272;SJU;MCO;WN;503;MCO;PHL        HAWKINSSIDE            MN                  US   85823 133450702@KACHIPYTEL.COM
 3YPARR   12/21/2020 OB    4/20/2021 WN;2272;SJU;MCO;WN;503;MCO;PHL        HAWKINSSIDE            MN                  US   85823 133450702@KACHIPYTEL.COM
 3Z2S84   12/21/2020 OB   12/23/2020 WN;2424;PHX;DEN                       SOUTH SUZANNETOWN      LA                  US   52225 133452110@KACHIPYTEL.COM
 3Z5TXQ   12/21/2020 OB     1/3/2021 WN;1620;RSW;MKE;WN;3004;MKE;DCA       NEW JAMESFORT          NJ                  US   42996 133451945@KACHIPYTEL.COM
 3ZHJV2   12/21/2020 OB   12/21/2020 WN;662;MIA;HOU                        EAST TYLERMOUTH        KY                  US   45884 133453342@KACHIPYTEL.COM
 4265XG   12/21/2020 OB   12/30/2020 WN;6868;SMF;MDW;WN;1221;MDW;DCA       MICHELLEFURT           SC                  US   89442 133455586@KACHIPYTEL.COM
 427D32   12/21/2020 OB   12/21/2020 WN;637;LAS;HOU;WN;1056;HOU;MIA        ILAAHAABAAD            GOA                 IN   90017 133455751@KACHIPYTEL.COM
 42ZPIT   12/21/2020 OB   12/22/2020 WN;6729;LAX;DAL;WN;290;DAL;MCO        WEST LOUISSHIRE        IN                  US   48637 133457357@KACHIPYTEL.COM
 437FMZ   12/21/2020 OB     1/3/2021 WN;1613;ATL;RDU;WN;4510;RDU;TPA       VICTORTON              OR                  US   92327 133457720@KACHIPYTEL.COM
 43GR8G   12/21/2020 OB     1/1/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX        ANDRETON               IN                  US   32441 133458721@KACHIPYTEL.COM
 43GR8G   12/21/2020 OB     1/1/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX        ANDRETON               IN                  US   32441 133458721@KACHIPYTEL.COM
 43HG33   12/21/2020 OB   12/21/2020 WN;1212;BOS;BNA;WN;410;BNA;MDW        CITRDURG               WEST BENGAL         IN   32728 133459062@KACHIPYTEL.COM
 43JAQH   12/21/2020 OB   12/26/2020 WN;1133;ATL;DEN;WN;1521;DEN;MSP       NEW KIMBERLYTON        CA                  US    8731 133458886@KACHIPYTEL.COM
 43JAQH   12/21/2020 OB   12/26/2020 WN;1133;ATL;DEN;WN;1521;DEN;MSP       NEW KIMBERLYTON        CA                  US    8731 133458886@KACHIPYTEL.COM
 43U8J7   12/21/2020 OB   12/30/2020 WN;452;PHL;DEN;WN;1245;DEN;LAS        ANDERSONVIEW           SD                  US   21271 133459777@KACHIPYTEL.COM
 43US7W   12/21/2020 OB     1/4/2021 WN;161;SEA;SMF;WN;855;SMF;PHX;WN;855;PPORT ANNA              NV                  US   62493 133459832@KACHIPYTEL.COM
 44D78D   12/21/2020 OB   12/24/2020 WN;1990;ATL;BWI;WN;4749;BWI;TPA       JENNIFERSHIRE          MI                  US   91407 133461119@KACHIPYTEL.COM
 44JACK   12/21/2020 OB   12/21/2020 WN;843;LAX;BWI;WN;940;BWI;BDL         EAST TINA              WY                  US   30088 133461658@KACHIPYTEL.COM
 44OPCK   12/21/2020 OB   12/26/2020 WN;1829;RDU;DAL;WN;38;DAL;STL         SOUTH ROBERT           NH                  US    9599 133461922@KACHIPYTEL.COM
 44ZJ74   12/21/2020 OB   12/24/2020 WN;2016;ATL;BWI;WN;3984;BWI;FLL       CLINEMOUTH             MO                  US   13750 133462351@KACHIPYTEL.COM
 45CEB3   12/21/2020 OB   12/26/2020 WN;995;ATL;FLL;WN;429;FLL;TPA         LAKE LINDABOROUGH      OK                  US   19949 133462813@KACHIPYTEL.COM
 45KDZ5   12/21/2020 OB     1/2/2021 WN;2088;SAN;STL;WN;1882;STL;FLL       SOUTH SHANNON          RI                  US   79863 133463605@KACHIPYTEL.COM
 45OYIB   12/21/2020 OB   12/22/2020 WN;52;LAX;HOU;WN;2523;HOU;FLL         KIMBERLYMOUTH          ND                  US   24949 133463847@KACHIPYTEL.COM
 45V4WT   12/21/2020 OB   12/30/2020 WN;665;OAK;ONT;WN;6940;ONT;LAS        LAKE CHERYL            NV                  US   80275 133464045@KACHIPYTEL.COM
 4627WE   12/21/2020 OB   12/23/2020 WN;2081;ATL;DCA;WN;4777;DCA;TPA       SOUTH SHERI            ND                  US   99832 133464529@KACHIPYTEL.COM
 462FNJ   12/21/2020 OB   12/26/2020 WN;2044;DCA;ATL;WN;1820;ATL;MCO       TANYABOROUGH           CT                  US   47974 133464529@KACHIPYTEL.COM
 46687U   12/21/2020 OB   12/26/2020 WN;1738;MCI;ATL;WN;1806;ATL;MEM       EAST NANCY             GA                  US   86301 133464463@KACHIPYTEL.COM
 46687U   12/21/2020 OB   12/26/2020 WN;1738;MCI;ATL;WN;1806;ATL;MEM       EAST NANCY             GA                  US   86301 133464463@KACHIPYTEL.COM
 479BKF   12/21/2020 OB   12/29/2020 WN;611;STL;PHX;WN;525;PHX;AUS         JIMENEZBURY            MD                  US   38865 133467059@KACHIPYTEL.COM
 479BKF   12/21/2020 OB   12/29/2020 WN;611;STL;PHX;WN;525;PHX;AUS         JIMENEZBURY            MD                  US   38865 133467059@KACHIPYTEL.COM
 47DEYJ   12/21/2020 OB     1/3/2021 WN;3650;DAL;STL;WN;1663;STL;LGA       JOSEPHVIEW             LA                  US   40055 133467180@KACHIPYTEL.COM
 47DEYJ   12/21/2020 OB     1/3/2021 WN;3650;DAL;STL;WN;1663;STL;LGA       JOSEPHVIEW             LA                  US   40055 133467180@KACHIPYTEL.COM
 49BGKT   12/21/2020 OB   12/21/2020 WN;820;LAX;BNA;WN;302;BNA;MCO         NEW BRIAN              KS                  US   92028 133473219@KACHIPYTEL.COM
 49K24D   12/21/2020 OB   12/28/2020 WN;161;SEA;SMF;WN;1224;SMF;DEN        LAURAHAVEN             MI                  US   33750 133474022@KACHIPYTEL.COM
 49K24D   12/21/2020 OB   12/28/2020 WN;161;SEA;SMF;WN;1224;SMF;DEN        LAURAHAVEN             MI                  US   33750 133474022@KACHIPYTEL.COM
 49K24D   12/21/2020 OB   12/28/2020 WN;161;SEA;SMF;WN;1224;SMF;DEN        LAURAHAVEN             MI                  US   33750 133474022@KACHIPYTEL.COM
 49K24D   12/21/2020 OB   12/28/2020 WN;161;SEA;SMF;WN;1224;SMF;DEN        LAURAHAVEN             MI                  US   33750 133474022@KACHIPYTEL.COM
 49TMC3   12/21/2020 OB     1/8/2021 WN;1900;SEA;SMF;WN;4873;SMF;LAS       JOHNLAND               NE                  US    4683 133475199@KACHIPYTEL.COM
 4CZ475   12/21/2020 OB   12/24/2020 WN;3185;FLL;BNA;WN;2978;BNA;BOS       SOUTH MICHEAL          ID                  US    6830 133489686@KACHIPYTEL.COM
 4CZ475   12/21/2020 OB   12/24/2020 WN;3185;FLL;BNA;WN;2978;BNA;BOS       SOUTH MICHEAL          ID                  US    6830 133489686@KACHIPYTEL.COM
 4CZ475   12/21/2020 OB   12/24/2020 WN;3185;FLL;BNA;WN;2978;BNA;BOS       SOUTH MICHEAL          ID                  US    6830 133489686@KACHIPYTEL.COM
 4CZ475   12/21/2020 OB   12/24/2020 WN;3185;FLL;BNA;WN;2978;BNA;BOS       SOUTH MICHEAL          ID                  US    6830 133489686@KACHIPYTEL.COM
 4CZ475   12/21/2020 OB   12/24/2020 WN;3185;FLL;BNA;WN;2978;BNA;BOS       SOUTH MICHEAL          ID                  US    6830 133489686@KACHIPYTEL.COM
 4DJ8GA   12/21/2020 OB   12/25/2020 WN;3948;ATL;FLL;WN;4727;FLL;TPA       HARRISONSIDE           WI                  US   80555 133491864@KACHIPYTEL.COM
 4DVWFI   12/21/2020 OB   12/23/2020 WN;4009;ATL;HOU;WN;3485;HOU;MIA       CRYSTALTON             NV                  US   54525 133493943@KACHIPYTEL.COM
 4EDZQ8   12/21/2020 OB   12/27/2020 WN;2190;RDU;BWI;WN;5071;BWI;FLL       NORTH CORY             OR                  US   93697 133495978@KACHIPYTEL.COM
 4EW2SF   12/21/2020 OB   12/23/2020 WN;6865;ATL;IND;WN;3798;IND;MCO       JUSTINMOUTH            NH                  US   15933 133499498@KACHIPYTEL.COM
 4FVSR3   12/21/2020 OB   12/23/2020 WN;1744;PHX;HOU                       NEW JESSEVIEW          AL                  US   16443 133505449@KACHIPYTEL.COM
 4G4S8I   12/21/2020 OB     1/2/2021 WN;945;ATL;BWI                        JOSHUAVIEW             MS                  US   54405 133506076@KACHIPYTEL.COM
 4GGC8C   12/21/2020 OB   12/24/2020 WN;1914;LGA;MDW;WN;3388;MDW;MCO       ROBERTHAVEN            ID                  US   30914 133508166@KACHIPYTEL.COM
 4HPPKD   12/21/2020 OB     1/3/2021 WN;1605;ATL;BNA;WN;3867;BNA;BWI       EAST STEPHANIEBOROUG   ND                  US   88494 133516009@KACHIPYTEL.COM
 4HPPKD   12/21/2020 OB     1/3/2021 WN;1605;ATL;BNA;WN;3867;BNA;BWI       EAST STEPHANIEBOROUG   ND                  US   88494 133516009@KACHIPYTEL.COM
 4HPPKD   12/21/2020 OB     1/3/2021 WN;1605;ATL;BNA;WN;3867;BNA;BWI       EAST STEPHANIEBOROUG   ND                  US   88494 133516009@KACHIPYTEL.COM
 4HPPKD   12/21/2020 OB     1/3/2021 WN;1605;ATL;BNA;WN;3867;BNA;BWI       EAST STEPHANIEBOROUG   ND                  US   88494 133516009@KACHIPYTEL.COM
 4IEZD5   12/21/2020 OB   12/24/2020 WN;2917;PHX;AUS;WN;4065;AUS;LGB       PHTHPUR                TELANGANA           IN    1585 133519925@KACHIPYTEL.COM
 4IIIMQ   12/21/2020 OB   12/24/2020 WN;2003;ATL;BWI;WN;2273;BWI;MCO       ELIZABETHBURY          NM                  US   52839 133520816@KACHIPYTEL.COM
 4IQAPB   12/21/2020 OB   12/22/2020 WN;770;LAX;MSY;WN;1082;MSY;MCO        RAYBERG                TN                  US   17660 133521982@KACHIPYTEL.COM
 4IRS96   12/21/2020 OB   12/25/2020 WN;1923;BOS;DEN;WN;3912;DEN;BUR       LAKE SONYATON          AK                  US   27262 133522323@KACHIPYTEL.COM
 4J3I6C   12/21/2020 OB   12/25/2020 WN;4520;LAS;PHX                       KEVINCHESTER           NM                  US   86032 133524028@KACHIPYTEL.COM
 4J5UL3   12/21/2020 OB     1/2/2021 WN;2188;MDW;HOU;WN;1058;HOU;MIA       KENNEDYBURY            CT                  US   37092 133524226@KACHIPYTEL.COM
 4J5UL3   12/21/2020 OB     1/2/2021 WN;2188;MDW;HOU;WN;1058;HOU;MIA       KENNEDYBURY            CT                  US   37092 133524226@KACHIPYTEL.COM
 4JFAFI   12/21/2020 OB    1/20/2021 WN;346;SJU;BWI                        ELLENCHESTER           MO                  US   32816 133526250@KACHIPYTEL.COM
 4JFAFI   12/21/2020 OB    1/20/2021 WN;346;SJU;BWI                        ELLENCHESTER           MO                  US   32816 133526250@KACHIPYTEL.COM
 4JVZLK   12/21/2020 OB   12/25/2020 WN;1490;LAS;SMF;WN;2703;SMF;SEA       MOORESIDE              MT                  US    3833 133528714@KACHIPYTEL.COM
 4K847U   12/21/2020 OB   12/26/2020 WN;1628;LAS;SAN;WN;2087;SAN;SFO       GONZALEZMOUTH          AL                  US   99332 133531750@KACHIPYTEL.COM
 4KI23L   12/21/2020 OB   12/28/2020 WN;703;BWI;LAS;WN;842;LAS;LGB         SOUTH SARAH            NM                  US    3070 133533433@KACHIPYTEL.COM
 4LFCYW   12/21/2020 OB   12/23/2020 WN;1766;DTW;BWI;WN;3137;BWI;BOS       PEARSONSIDE            MN                  US    5089 133537294@KACHIPYTEL.COM
 4LJS2R   12/21/2020 OB   12/22/2020 WN;984;ATL;BWI;WN;6960;BWI;SJU        ANGIETOWN              FL                  US   73459 133537877@KACHIPYTEL.COM
 4LUO66   12/21/2020 OB   12/25/2020 WN;3346;LGA;DAL;WN;3410;DAL;TPA       KLKH VORONEZH          KOMI RESPUBLIKA     RU   19184 133539769@KACHIPYTEL.COM
 4MNV6S   12/21/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;3572;BWI;FLL       JOHNSHIRE              SC                  US   78032 133542871@KACHIPYTEL.COM
 22L9I5   12/22/2020 OB   12/24/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO       WEST MELISSAHAVEN      MD                  US   90189 133588906@KACHIPYTEL.COM
 22NGA4   12/22/2020 OB     1/3/2021 WN;4800;PHL;MDW;WN;3104;MDW;LAS       NORTH SHANNONHAVEN     NE                  US   58575 133589379@KACHIPYTEL.COM
 23Y2E4   12/22/2020 OB   12/26/2020 WN;2007;LGA;ATL;WN;1820;ATL;MCO       POLLARDBURY            VT                  US    5362 133594516@KACHIPYTEL.COM
 23ZCD5   12/22/2020 OB   12/23/2020 WN;2671;SJU;MCO;WN;3192;MCO;FLL       WEST KAREN             AL                  US   36667 133594923@KACHIPYTEL.COM
 249QU3   12/22/2020 OB   12/26/2020 WN;2094;LGA;ATL;WN;6912;ATL;RSW       BUCEONSI SOSAGU        CHUNGCHEONGNAMDO    KR   64810 133595990@KACHIPYTEL.COM
 24KUAK   12/22/2020 OB   12/27/2020 WN;5262;LAX;OAK;WN;4211;OAK;LAS       BRYANFORT              AK                  US   49789 133597244@KACHIPYTEL.COM
 24O9VW   12/22/2020 OB   12/26/2020 WN;1730;LGA;MDW;WN;1154;MDW;SJU       NORTH KEITH            NC                  US   33471 133598322@KACHIPYTEL.COM
 24O9VW   12/22/2020 OB   12/26/2020 WN;1730;LGA;MDW;WN;1154;MDW;SJU       NORTH KEITH            NC                  US   33471 133598322@KACHIPYTEL.COM
 24O9VW   12/22/2020 OB   12/26/2020 WN;1730;LGA;MDW;WN;1154;MDW;SJU       NORTH KEITH            NC                  US   33471 133598322@KACHIPYTEL.COM
 24O9VW   12/22/2020 OB   12/26/2020 WN;1730;LGA;MDW;WN;1154;MDW;SJU       NORTH KEITH            NC                  US   33471 133598322@KACHIPYTEL.COM
 24O9VW   12/22/2020 OB   12/26/2020 WN;1730;LGA;MDW;WN;1154;MDW;SJU       NORTH KEITH            NC                  US   33471 133598322@KACHIPYTEL.COM




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 24O9VW            12/22/2020 OB   12/26/2020 WN;1730;LGA;MDW;WN;1154;MDW;SJU   NORTH KEITH            NC                    US   33471 133598322@KACHIPYTEL.COM
 24UP47            12/22/2020 OB   12/22/2020 WN;1266;LAX;OAK;WN;511;OAK;RNO    LAKE ALEXISSIDE        MA                    US   86222 133599136@KACHIPYTEL.COM
 252UK3            12/22/2020 OB   12/27/2020 WN;1889;HOU;BWI                   PORT NUTKRITABURY      TRANG                 TH   93364 133599840@KACHIPYTEL.COM
 252UK3            12/22/2020 OB   12/27/2020 WN;4102;HOU;BWI                   PORT NUTKRITABURY      TRANG                 TH   93364 133599840@KACHIPYTEL.COM
 258ZPP            12/22/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;233;DEN;MSP      CHRISTOPHERSIDE        HI                    US   57559 133600335@KACHIPYTEL.COM
 25BVM2            12/22/2020 OB   12/27/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW   PORT RONNIESIDE        OR                    US   34268 133601501@KACHIPYTEL.COM
 25GO6A            12/22/2020 OB   12/27/2020 WN;4148;ATL;MCI;WN;4152;MCI;MDW   SHELTONCHESTER         WV                    US   50619 133601974@KACHIPYTEL.COM
 25R5MV            12/22/2020 OB    1/14/2021 WN;3989;MDW;LAX;WN;3239;LAX;SFO   LAKE NATHAN            TX                    US   20972 133603778@KACHIPYTEL.COM
 26KN4F            12/22/2020 OB     1/5/2021 WN;1014;MIA;MDW;WN;2172;MDW;LGA   NEW HANNAHFURT         IA                    US   27076 133608156@KACHIPYTEL.COM
 26KN4F            12/22/2020 OB     1/5/2021 WN;1014;MIA;MDW;WN;2172;MDW;LGA   NEW HANNAHFURT         IA                    US   27076 133608156@KACHIPYTEL.COM
 26N4A4            12/22/2020 OB     1/2/2021 WN;2102;LGA;MDW;WN;2319;MDW;FLL   ASHTARAK               TAVUS                 AM   36050 133608024@KACHIPYTEL.COM
 26W75X            12/22/2020 OB     1/5/2021 WN;1090;MSY;BWI;WN;142;BWI;MIA    WEST JOYBERG           NE                    US   52423 133609553@KACHIPYTEL.COM
 26W75X            12/22/2020 OB     1/5/2021 WN;1090;MSY;BWI;WN;142;BWI;MIA    WEST JOYBERG           NE                    US   52423 133609553@KACHIPYTEL.COM
 275C5G            12/22/2020 OB   12/24/2020 WN;1623;BNA;LAS;WN;2402;LAS;TUS   MILLERBOROUGH          IN                    US   39829 133610939@KACHIPYTEL.COM
 2768YL            12/22/2020 OB   12/26/2020 WN;3339;ATL;DCA;WN;3338;DCA;TPA   LAKE AMBER             WY                    US   39202 133611500@KACHIPYTEL.COM
 2768YL            12/22/2020 OB   12/26/2020 WN;3339;ATL;DCA;WN;3338;DCA;TPA   LAKE AMBER             WY                    US   39202 133611500@KACHIPYTEL.COM
 2768YL            12/22/2020 OB   12/26/2020 WN;3339;ATL;DCA;WN;3338;DCA;TPA   LAKE AMBER             WY                    US   39202 133611500@KACHIPYTEL.COM
 27B7TF            12/22/2020 OB     1/2/2021 WN;2356;BWI;ATL;WN;1926;ATL;GSP   JUDITHBERG             WI                    US   62416 133611500@KACHIPYTEL.COM
 27B7TF            12/22/2020 OB     1/2/2021 WN;2356;BWI;ATL;WN;1926;ATL;GSP   JUDITHBERG             WI                    US   62416 133611500@KACHIPYTEL.COM
 27B7TF            12/22/2020 OB     1/2/2021 WN;2356;BWI;ATL;WN;1926;ATL;GSP   JUDITHBERG             WI                    US   62416 133611500@KACHIPYTEL.COM
 27J3KF            12/22/2020 OB   12/28/2020 WN;363;LAS;SAN;WN;1320;SAN;SFO    BREANNATON             MS                    US   70050 133612842@KACHIPYTEL.COM
 27J3KF            12/22/2020 OB   12/28/2020 WN;363;LAS;SAN;WN;1320;SAN;SFO    BREANNATON             MS                    US   70050 133612842@KACHIPYTEL.COM
 27MDSH            12/22/2020 OB   12/29/2020 WN;384;BOI;DEN;WN;614;DEN;LGB     TRICIAHAVEN            VA                    US   78338 133613491@KACHIPYTEL.COM
 27NXGC            12/22/2020 OB   12/27/2020 WN;4601;ATL;BWI;WN;3892;BWI;TPA   NEW JACQUELINESTAD     TX                    US   56311 133614129@KACHIPYTEL.COM
 27NXGC            12/22/2020 OB   12/27/2020 WN;4601;ATL;BWI;WN;3892;BWI;TPA   NEW JACQUELINESTAD     TX                    US   56311 133614129@KACHIPYTEL.COM
 27VY8K            12/22/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;3572;BWI;FLL   NORTH TRACYFORT        WI                    US   55649 133615680@KACHIPYTEL.COM
 27XN43            12/22/2020 OB     1/4/2021 WN;820;LAX;BNA;WN;891;BNA;CLE     EAST DANIELLETOWN      VA                    US   10521 133615691@KACHIPYTEL.COM
 27XN43            12/22/2020 OB     1/4/2021 WN;820;LAX;BNA;WN;891;BNA;CLE     EAST DANIELLETOWN      VA                    US   10521 133615691@KACHIPYTEL.COM
 285ACT            12/22/2020 OB   12/23/2020 WN;3436;LGA;ATL;WN;3843;ATL;FLL   EAST JILLIANPORT       CT                    US   61630 133617352@KACHIPYTEL.COM
 286FBZ            12/22/2020 OB    1/23/2021 WN;4167;OMA;DEN                   SAN CARIDAD LOS ALTO   GUANAJUATO            MX   61558 133617088@KACHIPYTEL.COM
 28VQXQ            12/22/2020 OB     1/8/2021 WN;2044;DCA;MDW                   NEW JENNIFER           IL                    US    8194 133621565@KACHIPYTEL.COM
 2939QP            12/22/2020 OB    1/11/2021 WN;1588;MDW;BWI                   NEW THERESA            NY                    US   25714 133621565@KACHIPYTEL.COM
          297334   12/22/2020 OB   12/29/2020 WN;629;SFO;PHX;WN;1601;PHX;LAS    JOHNBOROUGH            NM                    US   83838 133621862@KACHIPYTEL.COM
          297334   12/22/2020 OB   12/29/2020 WN;629;SFO;PHX;WN;1601;PHX;LAS    JOHNBOROUGH            NM                    US   83838 133621862@KACHIPYTEL.COM
 29FXYY            12/22/2020 OB     1/2/2021 WN;1748;MDW;BWI;WN;102;BWI;MIA    HARRISMOUTH            NE                    US   78241 133623468@KACHIPYTEL.COM
 29GSUR            12/22/2020 OB   12/23/2020 WN;3525;LAX;BWI;WN;1844;BWI;PBI   WEBBHAVEN              GA                    US   28438 133623523@KACHIPYTEL.COM
 29PK4G            12/22/2020 OB   12/31/2020 WN;3041;DAL;BNA;WN;4024;BNA;LGA   JUAREZBURGH            VT                    US   64230 133624535@KACHIPYTEL.COM
 29PK4G            12/22/2020 OB   12/31/2020 WN;3041;DAL;BNA;WN;4024;BNA;LGA   JUAREZBURGH            VT                    US   64230 133624535@KACHIPYTEL.COM
 29W7ND            12/22/2020 OB     1/4/2021 WN;1087;ATL;BWI;WN;331;BWI;MIA    REGINAMOUTH            HI                    US   29535 133625723@KACHIPYTEL.COM
 29WYYJ            12/22/2020 OB     1/4/2021 WN;1087;ATL;BWI;WN;331;BWI;MIA    MCDANIELTOWN           AR                    US   19365 133625437@KACHIPYTEL.COM
 29X4FV            12/22/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     EAST RACHELBURY        GA                    US   46555 133625723@KACHIPYTEL.COM
 29XPW7            12/22/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     SOUTH TROY             AR                    US   79873 133625437@KACHIPYTEL.COM
 2AGXG8            12/22/2020 OB   12/23/2020 WN;3068;LGA;ATL;WN;2350;ATL;FLL   BRIANSIDE              MI                    US   86025 133627549@KACHIPYTEL.COM
 2ANDDJ            12/22/2020 OB     1/7/2021 WN;2083;AUS;BWI;WN;331;BWI;MIA    NEW MATTHEW            AL                    US   12215 133628352@KACHIPYTEL.COM
 2ATUBS            12/22/2020 OB   12/23/2020 WN;1125;LAS;OAK                   SOUTH CYNTHIASIDE      IL                    US   27891 133629056@KACHIPYTEL.COM
 2B5KDI            12/22/2020 OB   12/25/2020 WN;2217;ATL;DAL;WN;1438;DAL;FLL   KINGSTAD               MO                    US   15303 133629870@KACHIPYTEL.COM
 2B5VHX            12/22/2020 OB   12/28/2020 WN;161;SEA;SMF                    BERNARDHAVEN           AL                    US   62436 133629562@KACHIPYTEL.COM
 2B6VN2            12/22/2020 OB   12/23/2020 WN;4018;LGA;MDW;WN;2462;MDW;TPA   NEW EDWARDFURT         ID                    US   98255 133630002@KACHIPYTEL.COM
 2BHD3Z            12/22/2020 OB   12/23/2020 WN;3068;LGA;ATL;WN;4735;ATL;MCO   NEW ROBERT             GA                    US   87644 133631454@KACHIPYTEL.COM
 2BZRCE            12/22/2020 OB   12/25/2020 WN;1878;MDW;BWI;WN;2593;BWI;BOS   BAILEYVILLE            MN                    US    3353 133633115@KACHIPYTEL.COM
 4NJB4J            12/22/2020 OB   12/22/2020 WN;1327;RDU;BWI;WN;634;BWI;STL    CHRISTENSENMOUTH       OH                    US   46154 133545753@KACHIPYTEL.COM
 4NW64H            12/22/2020 OB   12/28/2020 WN;136;ATL;AUS;WN;1082;AUS;MSY    PORT VICTORIAHAVEN     RI                    US   55530 133547183@KACHIPYTEL.COM
 4NWHCX            12/22/2020 OB   12/22/2020 WN;1473;SJU;MCO;WN;1320;MCO;FLL   ORMOZ                  PUCONCI               SI   85588 133546710@KACHIPYTEL.COM
 4NXH2K            12/22/2020 OB   12/23/2020 WN;2123;AUS;ATL;WN;1740;ATL;IND   JUSTINBURGH            NH                    US    9015 133547183@KACHIPYTEL.COM
 4O2OZM            12/22/2020 OB   12/22/2020 WN;324;MIA;HOU;WN;132;HOU;MCO     COLLEENVIEW            MT                    US   17252 133547623@KACHIPYTEL.COM
 4O4RD3            12/22/2020 OB   12/23/2020 WN;2123;AUS;ATL;WN;1740;ATL;IND   NEW FRANK              ME                    US   22063 133547634@KACHIPYTEL.COM
 4O8NK3            12/22/2020 OB   12/28/2020 WN;136;ATL;AUS;WN;1082;AUS;MSY    NEW MICHAELFORT        IN                    US   84939 133547634@KACHIPYTEL.COM
 4OA2HA            12/22/2020 OB   12/24/2020 WN;3558;ATL;MDW;WN;4851;MDW;TPA   DAVIDFORT              IL                    US   26237 133547744@KACHIPYTEL.COM
 4P2OSP            12/22/2020 OB   12/22/2020 WN;1537;STL;LAS;WN;434;LAS;TUL    SARAHMOUTH             OH                    US   94972 133550274@KACHIPYTEL.COM
 4P9PPO            12/22/2020 OB   12/27/2020 WN;1744;DTW;PHX;WN;1620;PHX;LAS   PORT COLLIN            ME                    US   86638 133551165@KACHIPYTEL.COM
 4PMEOG            12/22/2020 OB   12/27/2020 WN;3542;SAT;LAS;WN;3513;LAS;PDX   EDWARDSBOROUGH         AR                    US   64050 133552133@KACHIPYTEL.COM
 4QF2GM            12/22/2020 OB   12/22/2020 WN;993;FLL;HOU;WN;485;HOU;ATL     SOUTH KELLYLAND        WI                    US   92969 133554421@KACHIPYTEL.COM
 4QJG2H            12/22/2020 OB   12/30/2020 WN;112;ATL;PHX;WN;549;PHX;LGB     CHRISTOPHERTON         TX                    US   17800 133554388@KACHIPYTEL.COM
 4QOL43            12/22/2020 OB     1/3/2021 WN;4795;RDU;MDW;WN;4162;MDW;MIA   AHMDAABAAD             MAHARASHTRA           IN   54335 133554894@KACHIPYTEL.COM
 4QOL43            12/22/2020 OB     1/3/2021 WN;4795;RDU;MDW;WN;4162;MDW;MIA   AHMDAABAAD             MAHARASHTRA           IN   54335 133554894@KACHIPYTEL.COM
 4QPLUB            12/22/2020 OB   12/23/2020 WN;2681;CLT;HOU;WN;1936;HOU;BNA   SOUTH FERNANDO         TN                    US   77906 133555004@KACHIPYTEL.COM
 4QQS2U            12/22/2020 OB     1/1/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX    NEW PATRICK            IL                    US   41530 133555290@KACHIPYTEL.COM
 4R6HKJ            12/22/2020 OB   12/22/2020 WN;1181;LGA;ATL                   RODRIGUEZBURGH         SC                    US   69507 133556115@KACHIPYTEL.COM
 4R6HKJ            12/22/2020 OB   12/22/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     RODRIGUEZBURGH         SC                    US   69507 133556115@KACHIPYTEL.COM
 4RH8PF            12/22/2020 OB   12/30/2020 WN;136;ATL;AUS;WN;1082;AUS;MSY    WEST CHRISTOPHER       UT                    US   96046 133557259@KACHIPYTEL.COM
 4RKJMS            12/22/2020 OB   12/26/2020 WN;762;IND;FLL;WN;6400;FLL;RDU    KENNETHMOUTH           ND                    US   90221 133557688@KACHIPYTEL.COM
 4SCASA            12/22/2020 OB   12/22/2020 WN;6748;ATL;HOU;WN;358;HOU;FLL    WEST AMY               DE                    US   15430 133559789@KACHIPYTEL.COM
 4SNWQV            12/22/2020 OB   12/30/2020 WN;1137;LAX;AUS                   EAST WILLIAM           HI                    US   27649 133560526@KACHIPYTEL.COM
 4TB7RB            12/22/2020 OB   12/23/2020 WN;4018;LGA;MDW;WN;4438;MDW;ATL   PETERSBOROUGH          MI                    US   35982 133562011@KACHIPYTEL.COM
 4UYBUV            12/22/2020 OB   12/22/2020 WN;1222;PHX;LAS                   NORTH JACOBSIDE        NC                    US   25027 133566389@KACHIPYTEL.COM
 4WSW4H            12/22/2020 OB   12/22/2020 WN;244;ATL;MDW;WN;1427;MDW;DTW    PORT DON               SC                    US   75142 133572593@KACHIPYTEL.COM
 4WSW4H            12/22/2020 OB   12/22/2020 WN;244;ATL;MDW;WN;1427;MDW;DTW    PORT DON               SC                    US   75142 133572593@KACHIPYTEL.COM
 4XLW4W            12/22/2020 OB     1/6/2021 WN;1090;ATL;RDU                   BENNETTHAVEN           VT                    US   90982 133576058@KACHIPYTEL.COM
 4ZM73C            12/22/2020 OB     1/4/2021 WN;412;PHX;DEN;WN;1035;DEN;MSP    SOUTH BRIAN            MN                    US    9595 133584935@KACHIPYTEL.COM
 2CABGR            12/23/2020 OB   12/28/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA    WEST LISAMOUTH         TN                    US   14441 133633775@KACHIPYTEL.COM
 2CFQKZ            12/23/2020 OB   12/24/2020 WN;4596;PHX;LAS;WN;3103;LAS;HOU   EAST JOSHUA            PA                    US   89153 133634490@KACHIPYTEL.COM
 2D5LPK            12/23/2020 OB   12/28/2020 WN;517;MKE;STL;WN;517;STL;BWI     PORT MARK              MD                    US   13719 133636283@KACHIPYTEL.COM
 2D5P79            12/23/2020 OB   12/26/2020 WN;856;LAX;BWI;WN;1727;BWI;BUF    EAST ANDRE             IL                    US   79903 133636162@KACHIPYTEL.COM
 2DXAG4            12/23/2020 OB   12/23/2020 WN;4193;DTW;MCO;WN;3409;MCO;SJU   ZHANGSTAD              GA                    US    3341 133637999@KACHIPYTEL.COM
 2EEUCY            12/23/2020 OB   12/30/2020 WN;107;SEA;SMF;WN;1457;SMF;LAS    DENNISBERG             AZ                    US   33568 133639330@KACHIPYTEL.COM
 2EMYGM            12/23/2020 OB   12/28/2020 WN;1074;TPA;DEN;WN;1035;DEN;MSP   GRAYBOROUGH            MI                    US   22693 133639539@KACHIPYTEL.COM
 2ERCWV            12/23/2020 OB   12/23/2020 WN;2856;CLT;PHX;WN;3591;PHX;DAL   SERGIOFORT             CT                    US   42747 133640342@KACHIPYTEL.COM
 2EXI38            12/23/2020 OB   12/23/2020 WN;1995;MSY;ATL;WN;4102;ATL;MEM   LAKE MATTHEW           IA                    US   61921 133640386@KACHIPYTEL.COM
 2F2VKQ            12/23/2020 OB   12/26/2020 WN;1772;PHX;HOU;WN;1846;HOU;TUL   VANGBOROUGH            MI                    US   36595 133640529@KACHIPYTEL.COM
 2F2VKQ            12/23/2020 OB   12/26/2020 WN;1772;PHX;HOU;WN;1846;HOU;TUL   VANGBOROUGH            MI                    US   36595 133640529@KACHIPYTEL.COM
 2F78XP            12/23/2020 OB    1/11/2021 WN;6009;SAT;TPA;WN;3448;TPA;MSY   NORTH JOHNVIEW         MT                    US   40921 133640914@KACHIPYTEL.COM
 2FS24F            12/23/2020 OB   12/31/2020 WN;2247;CLT;BWI;WN;3195;BWI;MCO   DAVIDSIDE              NH                    US   58949 133642685@KACHIPYTEL.COM
 2FS24F            12/23/2020 OB   12/31/2020 WN;2247;CLT;BWI;WN;3195;BWI;MCO   DAVIDSIDE              NH                    US   58949 133642685@KACHIPYTEL.COM
 2G69PI            12/23/2020 OB   12/25/2020 WN;257;BOS;BWI;WN;2273;BWI;MCO    NORTH REGINAFORT       AR                    US   81648 133643840@KACHIPYTEL.COM
 2G69PI            12/23/2020 OB   12/25/2020 WN;257;BOS;BWI;WN;2273;BWI;MCO    NORTH REGINAFORT       AR                    US   81648 133643840@KACHIPYTEL.COM
 2G6BAX            12/23/2020 OB   12/30/2020 WN;1034;PIT;DEN;WN;3218;DEN;STL   DANIELTON              AR                    US   60936 133643532@KACHIPYTEL.COM
 2GQ2PC            12/23/2020 OB   12/27/2020 WN;4287;LAX;SMF;WN;1132;SMF;PHX   LAKE JENNIFER          CO                    US   29295 133645039@KACHIPYTEL.COM
 2HF2XQ            12/23/2020 OB    1/18/2021 WN;3245;LAS;ONT;WN;4092;ONT;OAK   LAKE AMBER             NC                    US   15251 133647470@KACHIPYTEL.COM
 2HFG6M            12/23/2020 OB    1/15/2021 WN;2499;ONT;LAS;WN;4757;LAS;SLC   LAKE TERRI             WY                    US   75349 133647470@KACHIPYTEL.COM
 2HO2AQ            12/23/2020 OB    1/10/2021 WN;4720;DTW;DEN                   ROBERTMOUTH            VA                    US   69679 133648064@KACHIPYTEL.COM
 2HZBWB            12/23/2020 OB   12/29/2020 WN;221;OKC;ATL                    MISTO DEMIAN           CHERNIHIVSKA OBLAST   UA   25776 133648757@KACHIPYTEL.COM
 2IGBAE            12/23/2020 OB     1/3/2021 WN;4636;DEN;SJC;WN;4972;SJC;SEA   PORT SHIRLEY           AR                    US   18594 133649692@KACHIPYTEL.COM
 2IHMDZ            12/23/2020 OB     1/3/2021 WN;4636;DEN;SJC;WN;4972;SJC;SEA   AGRTLAA                CHANDIGARH            IN   39558 133649945@KACHIPYTEL.COM
 2J9KNS            12/23/2020 OB   12/29/2020 WN;1342;SFO;SAN;WN;1503;SAN;LAS   MATTHEWBURGH           CO                    US   13433 133651342@KACHIPYTEL.COM
 2JRY92            12/23/2020 OB   12/30/2020 WN;161;SEA;SMF;WN;1224;SMF;DEN    LAKE ERICA             NC                    US   83535 133652783@KACHIPYTEL.COM
 2JVJCO            12/23/2020 OB    1/15/2021 WN;3276;LAX;BNA;WN;2931;BNA;MDW   PORT ALLISON           IA                    US    8532 133645941@KACHIPYTEL.COM
 2K6YNR            12/23/2020 OB   12/23/2020 WN;1806;SMF;STL                   LAKE WILLIAMSTAD       SC                    US   94692 133653795@KACHIPYTEL.COM
 2NH3G7            12/23/2020 OB   12/31/2020 WN;1623;BNA;LAS;WN;4310;LAS;SJC   EAST OSCAR             SC                    US   60010 133666082@KACHIPYTEL.COM
 2ODO6F            12/23/2020 OB     1/7/2021 WN;1154;SEA;PHX                   WILLIAMVIEW            ND                    US    3847 133669151@KACHIPYTEL.COM




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 2P3QCM   12/23/2020 OB   12/27/2020 WN;4972;STL;LAX;WN;5031;LAX;ABQ   PORT KEITH             KS                       US   93226 133672924@KACHIPYTEL.COM
 2PPFRA   12/23/2020 OB   12/24/2020 WN;2246;ATL;STL                   JONESVILLE             AL                       US    1663 133675927@KACHIPYTEL.COM
 2PT83S   12/23/2020 OB     1/2/2021 WN;1992;DAL;AUS;WN;2444;AUS;MDW   AITRPRASITHTHIPORT     LOEI                     TH   88415 133675751@KACHIPYTEL.COM
 2Q4RG8   12/23/2020 OB     1/3/2021 WN;6996;DEN;OKC;WN;6632;OKC;STL   ORTIZTOWN              KY                       US   86298 133677269@KACHIPYTEL.COM
 2QKN4J   12/23/2020 OB     1/6/2021 WN;1012;MSP;DEN;WN;2455;DEN;PHX   HIGGINSPORT            PA                       US   39192 133680382@KACHIPYTEL.COM
 2RAC2S   12/23/2020 OB     2/3/2021 WN;1997;MCO;DEN;WN;1454;DEN;MSP   LAKE BRADLEYFURT       WA                       US   33277 133683319@KACHIPYTEL.COM
 2ROSLV   12/23/2020 OB     1/6/2021 WN;781;CLE;BNA                    HORNVIEW               NJ                       US   95775 133685673@KACHIPYTEL.COM
 2ROSLV   12/23/2020 OB     1/6/2021 WN;781;CLE;BNA                    HORNVIEW               NJ                       US   95775 133685673@KACHIPYTEL.COM
 2RTNAK   12/23/2020 OB   12/26/2020 WN;2007;LGA;ATL;WN;1820;ATL;MCO   RAMSEYSHIRE            ND                       US   66731 133686421@KACHIPYTEL.COM
 2S4SFM   12/23/2020 OB   12/28/2020 WN;135;LGA;ATL                    EAST VALERIESHIRE      MI                       US   62779 133687917@KACHIPYTEL.COM
 2SBWH9   12/23/2020 OB   12/23/2020 WN;3776;PDX;PHX;WN;3810;PHX;ABQ   NEW ZACHARYSTAD        TN                       US   31789 133688335@KACHIPYTEL.COM
 2SBWH9   12/23/2020 OB   12/23/2020 WN;3776;PDX;PHX;WN;3810;PHX;ABQ   NEW ZACHARYSTAD        TN                       US   31789 133688335@KACHIPYTEL.COM
 2SDT6T   12/23/2020 OB   12/28/2020 WN;1427;DTW;PHX;WN;1295;PHX;DEN   EAST TRACI             NC                       US   20477 133688995@KACHIPYTEL.COM
 2SDT6T   12/23/2020 OB   12/28/2020 WN;1427;DTW;PHX;WN;1295;PHX;DEN   EAST TRACI             NC                       US   20477 133688995@KACHIPYTEL.COM
 2SIENH   12/23/2020 OB     1/9/2021 WN;2097;DAL;ELP;WN;2860;ELP;HOU   CHRISTIANMOUTH         AL                       US   31247 133689831@KACHIPYTEL.COM
 2SUJMR   12/23/2020 OB   12/24/2020 WN;2516;BWI;HOU;WN;317;HOU;CUN    WEST BRUCEVIEW         PA                       US   66478 133691426@KACHIPYTEL.COM
 2T49DO   12/23/2020 OB   12/24/2020 WN;1990;ATL;BWI;WN;3195;BWI;MCO   RICHARDSPORT           STIRLING                 GB   45566 133692680@KACHIPYTEL.COM
 2TX5CP   12/23/2020 OB   12/26/2020 WN;2100;FLL;DCA;WN;2044;DCA;ATL   NORTH MARYVIEW         MD                       US   51385 133696387@KACHIPYTEL.COM
 2U4JOP   12/23/2020 OB   12/26/2020 WN;2007;LGA;ATL;WN;1820;ATL;MCO   WEST DENISE            OK                       US   15467 133698081@KACHIPYTEL.COM
 2UDI5K   12/23/2020 OB   12/26/2020 WN;1891;MSY;BWI;WN;391;BWI;FLL    NORTH COURTNEY         IA                       US   70159 133699643@KACHIPYTEL.COM
 2UDI5K   12/23/2020 OB   12/26/2020 WN;1891;MSY;BWI;WN;391;BWI;FLL    NORTH COURTNEY         IA                       US   70159 133699643@KACHIPYTEL.COM
 2V34ZA   12/23/2020 OB   12/28/2020 WN;1245;BOS;DEN;WN;1366;DEN;BUR   LAURAMOUTH             DE                       US   93188 133702415@KACHIPYTEL.COM
 2VBWUF   12/23/2020 OB   12/23/2020 WN;1705;SLC;LAS;WN;4023;LAS;LAX   GARYMOUTH              AR                       US   70025 133704615@KACHIPYTEL.COM
 2VBWUF   12/23/2020 OB   12/23/2020 WN;1705;SLC;LAS;WN;4023;LAS;LAX   GARYMOUTH              AR                       US   70025 133704615@KACHIPYTEL.COM
 2VZ8YN   12/23/2020 OB   12/23/2020 WN;1705;SLC;LAS;WN;4023;LAS;LAX   NEW KRISTIN            CA                       US   64676 133706606@KACHIPYTEL.COM
 2WJBXM   12/23/2020 OB   12/26/2020 WN;2094;LGA;ATL;WN;6912;ATL;RSW   EAST JEREMYBURY        NE                       US   48242 133709059@KACHIPYTEL.COM
 2WJV2D   12/23/2020 OB   12/24/2020 WN;2728;BUF;DEN;WN;5014;DEN;MKE   NEW REGINASTAD         VT                       US   16342 133708575@KACHIPYTEL.COM
 2WKJ9M   12/23/2020 OB   12/26/2020 WN;6869;ATL;PHX;WN;488;PHX;MSP    NORTH KIMBERLYFORT     VT                       US   93346 133708740@KACHIPYTEL.COM
 2WO398   12/23/2020 OB     1/3/2021 WN;1749;LAS;SAT                   NEW BRENDA             KS                       US   32329 133709983@KACHIPYTEL.COM
 2WO398   12/23/2020 OB     1/3/2021 WN;1749;LAS;SAT                   NEW BRENDA             KS                       US   32329 133709983@KACHIPYTEL.COM
 2WQUD7   12/23/2020 OB     1/3/2021 WN;3765;MSY;BNA;WN;3614;BNA;TPA   DILLONBOROUGH          ND                       US   33749 133709994@KACHIPYTEL.COM
 2WRXQA   12/23/2020 OB     1/2/2021 WN;2167;SAN;BNA                   WEST TINAMOUTH         CO                       US   59972 133710225@KACHIPYTEL.COM
 2WSER5   12/23/2020 OB   12/24/2020 WN;2228;ATL;MCO;WN;3708;MCO;SJU   JONATHANVILLE          UT                       US    5320 133710577@KACHIPYTEL.COM
 2WSF3O   12/23/2020 OB   12/31/2020 WN;2638;SAT;LAS;WN;3337;LAS;PDX   STEPHENBOROUGH         CT                       US   31759 133709983@KACHIPYTEL.COM
 2WSF3O   12/23/2020 OB   12/31/2020 WN;2638;SAT;LAS;WN;3337;LAS;PDX   STEPHENBOROUGH         CT                       US   31759 133709983@KACHIPYTEL.COM
 2WTZV5   12/23/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;653;LAS;OAK    DURANSHIRE             NV                       US    5158 133710643@KACHIPYTEL.COM
 2X3ZO9   12/23/2020 OB   12/29/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA    HERRERASTAD            DE                       US   34844 133711391@KACHIPYTEL.COM
 2X4YHJ   12/23/2020 OB     1/3/2021 WN;3584;MSP;STL                   WEST EDWARDBURY        ID                       US   36820 133711193@KACHIPYTEL.COM
 2X5C2E   12/23/2020 OB   12/26/2020 WN;2249;MCO;BWI;WN;560;BWI;BOS    PATRICIALAND           UT                       US   52976 133711809@KACHIPYTEL.COM
 2X9K3R   12/23/2020 OB   12/30/2020 WN;1537;STL;LAS;WN;434;LAS;TUL    AMBAAJII               PUNJAB                   IN   91099 133712062@KACHIPYTEL.COM
 2X9K3R   12/23/2020 OB   12/30/2020 WN;1537;STL;LAS;WN;434;LAS;TUL    AMBAAJII               PUNJAB                   IN   91099 133712062@KACHIPYTEL.COM
 2XAQDC   12/23/2020 OB   12/24/2020 WN;1623;BNA;LAS;WN;2402;LAS;TUS   HUDSONBERG             NC                       US   57621 133712282@KACHIPYTEL.COM
 2XCEWZ   12/23/2020 OB   12/26/2020 WN;2007;LGA;ATL                   PORT ASHLEYSIDE        WY                       US   90437 133712293@KACHIPYTEL.COM
 2Y8O5Q   12/23/2020 OB   12/30/2020 WN;112;PHX;LAS                    SOUTH KELLY            GA                       US    5379 133715076@KACHIPYTEL.COM
 2YF5JD   12/23/2020 OB   12/31/2020 WN;2247;CLT;BWI;WN;3195;BWI;MCO   MEREDITHHAVEN          OH                       US   79332 133715406@KACHIPYTEL.COM
 2YUDRR   12/23/2020 OB     1/8/2021 WN;4790;LAS;BNA;WN;4024;BNA;LGA   SOUTH LAURA            OR                       US   98595 133717309@KACHIPYTEL.COM
 2YYRCP   12/24/2020 OB   12/24/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   WILLISLAND             LA                       US   84034 133717573@KACHIPYTEL.COM
 2Z7GEV   12/24/2020 OB   12/24/2020 WN;2785;TPA;DEN;WN;2728;DEN;MSY   LAKE LAURIE            ID                       US    5797 133717991@KACHIPYTEL.COM
 2ZANLY   12/24/2020 OB     1/3/2021 WN;1421;DEN;TPA;WN;1065;TPA;MIA   EAST MICHELETON        MN                       US   76992 133718497@KACHIPYTEL.COM
 2ZDCR9   12/24/2020 OB   12/24/2020 WN;4287;LAX;SMF;WN;4873;SMF;LAS   EAST LUCASHAVEN        AZ                       US   44597 133719245@KACHIPYTEL.COM
 32CGK9   12/24/2020 OB   12/25/2020 WN;2664;BOS;BNA;WN;2931;BNA;MDW   EAST REBECCA           HI                       US   70219 133721676@KACHIPYTEL.COM
 32CI95   12/24/2020 OB     1/4/2021 WN;1568;DEN;TPA;WN;1065;TPA;MIA   BCELII                 GOA                      IN   72776 133721632@KACHIPYTEL.COM
 32CQU7   12/24/2020 OB    2/27/2021 WN;2724;FLL;BNA;WN;2349;BNA;MDW   PAAKAALAA              TELANGANA                IN   30277 133719971@KACHIPYTEL.COM
 32EFY2   12/24/2020 OB   12/29/2020 WN;649;TPA;DEN;WN;233;DEN;MSP     AKHNUUR                KERALA                   IN    1257 133721632@KACHIPYTEL.COM
 336VL9   12/24/2020 OB   12/27/2020 WN;1410;MDW;AUS;WN;4726;AUS;DAL   PORT BETHVIEW          NM                       US   58180 133723502@KACHIPYTEL.COM
 33CT24   12/24/2020 OB   12/24/2020 WN;2516;MCO;DEN;WN;3285;DEN;SFO   MEJIACHESTER           WY                       US   70205 133723887@KACHIPYTEL.COM
 34FWSY   12/24/2020 OB   12/24/2020 WN;4287;LAX;SMF                   NORTH CHRISTOPHERVIE   OH                       US   74608 133725746@KACHIPYTEL.COM
 34XAVM   12/24/2020 OB   12/29/2020 WN;2008;LAX;SMF;WN;1457;SMF;LAS   PORT GABRIELVIEW       WA                       US    8405 133727110@KACHIPYTEL.COM
 353X72   12/24/2020 OB   12/24/2020 WN;1973;SAN;HOU;WN;3172;HOU;TUS   SOUTH JOSE             KY                       US   62679 133727572@KACHIPYTEL.COM
 35MKS8   12/24/2020 OB   12/26/2020 WN;1730;LGA;MDW                   LEEBERG                LA                       US   46498 133728573@KACHIPYTEL.COM
 35OBZY   12/24/2020 OB   12/27/2020 WN;3822;MDW;BWI;WN;1824;BWI;BOS   NEW MARYSTAD           CO                       US   12224 133728507@KACHIPYTEL.COM
 35OBZY   12/24/2020 OB   12/27/2020 WN;3822;MDW;BWI;WN;1824;BWI;BOS   NEW MARYSTAD           CO                       US   12224 133728507@KACHIPYTEL.COM
 368ZEB   12/24/2020 OB   12/26/2020 WN;2007;LGA;ATL;WN;1820;ATL;MCO   NEW KEVIN              KS                       US   75369 133729849@KACHIPYTEL.COM
 3792WL   12/24/2020 OB   12/27/2020 WN;1796;PHX;DEN;WN;2666;DEN;MSP   DIXONBURGH             MN                       US   79452 133731554@KACHIPYTEL.COM
 37K6VA   12/24/2020 OB     1/4/2021 WN;1008;ATL;BWI                   COLEMANCHESTER         IN                       US   13477 133732676@KACHIPYTEL.COM
 37REUX   12/24/2020 OB   12/24/2020 WN;2871;CHS;DAL;WN;2892;DAL;MCO   ANNTOWN                OK                       US   41068 133732984@KACHIPYTEL.COM
 37UPTH   12/24/2020 OB     1/3/2021 WN;1751;LAX;BNA;WN;1674;BNA;MCO   ESTARREJA              LEIRIA                   PT   41386 133733325@KACHIPYTEL.COM
 38P6C9   12/24/2020 OB   12/28/2020 WN;660;MIA;BWI                    CRISTIANBOROUGH        ND                       US   93800 133735008@KACHIPYTEL.COM
 3BKICO   12/24/2020 OB   12/27/2020 WN;1835;JAX;MDW;WN;4726;MDW;PIT   NEW BILLY              NH                       US   52468 133743918@KACHIPYTEL.COM
 3EB993   12/24/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NORTH CHRISTIANTOWN    WV                       US   70764 133755776@KACHIPYTEL.COM
 3EB993   12/24/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NORTH CHRISTIANTOWN    WV                       US   70764 133755776@KACHIPYTEL.COM
 3EB993   12/24/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NORTH CHRISTIANTOWN    WV                       US   70764 133755776@KACHIPYTEL.COM
 3EB993   12/24/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NORTH CHRISTIANTOWN    WV                       US   70764 133755776@KACHIPYTEL.COM
 3EB993   12/24/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NORTH CHRISTIANTOWN    WV                       US   70764 133755776@KACHIPYTEL.COM
 3EB993   12/24/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;1526;BWI;MCO    NORTH CHRISTIANTOWN    WV                       US   70764 133755776@KACHIPYTEL.COM
 3ELGYI   12/24/2020 OB     1/4/2021 WN;1209;LAS;BWI                   PORT SHELLYBERG        WY                       US   70324 133757096@KACHIPYTEL.COM
 3ELGYI   12/24/2020 OB     1/4/2021 WN;1209;LAS;BWI                   PORT SHELLYBERG        WY                       US   70324 133757096@KACHIPYTEL.COM
 3EOG5H   12/24/2020 OB   12/30/2020 WN;1242;FLL;BWI;WN;242;BWI;BOS    JASONHAVEN             AZ                       US   60536 133757074@KACHIPYTEL.COM
 3F4FEY   12/24/2020 OB   12/29/2020 WN;821;MSP;MDW;WN;464;MDW;PHX     PORT LINDATON          IL                       US    6005 133759219@KACHIPYTEL.COM
 3F4FEY   12/24/2020 OB   12/29/2020 WN;821;MSP;MDW;WN;464;MDW;PHX     PORT LINDATON          IL                       US    6005 133759219@KACHIPYTEL.COM
 3FK9LD   12/24/2020 OB   12/28/2020 WN;833;LAX;SLC;WN;6818;SLC;LAS    PORT TROYHAVEN         TX                       US   43435 133761331@KACHIPYTEL.COM
 3FZH8Z   12/24/2020 OB   12/25/2020 WN;2804;CVG;BWI;WN;4954;BWI;PHX   EAST LORICHESTER       WY                       US   97335 133763630@KACHIPYTEL.COM
 3GAWFB   12/24/2020 OB   12/27/2020 WN;1781;LAS;MCO;WN;1901;MCO;CVG   SOUTH TARA             NE                       US   53786 133764235@KACHIPYTEL.COM
 3GKY9T   12/24/2020 OB   12/30/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    KELLIFORT              SD                       US   38969 133765797@KACHIPYTEL.COM
 3GKY9T   12/24/2020 OB   12/30/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    KELLIFORT              SD                       US   38969 133765797@KACHIPYTEL.COM
 3GP2XM   12/24/2020 OB   12/30/2020 WN;124;MDW;BWI                    ARNOLDPORT             ID                       US    3527 133765995@KACHIPYTEL.COM
 3GY6D2   12/24/2020 OB     1/4/2021 WN;124;MDW;BWI;WN;102;BWI;MIA     MARYLAND               WA                       US   46625 133767238@KACHIPYTEL.COM
 3HLNV8   12/24/2020 OB   12/29/2020 WN;326;MCO;RSW;WN;6836;RSW;ATL    MELISSAHAVEN           NY                       US   24165 133770538@KACHIPYTEL.COM
 3I79VL   12/24/2020 OB    1/22/2021 WN;4720;DTW;DEN;WN;2728;DEN;MSY   MANNMOUTH              ID                       US   61002 133772749@KACHIPYTEL.COM
 3I79VL   12/24/2020 OB    1/22/2021 WN;4720;DTW;DEN;WN;2728;DEN;MSY   MANNMOUTH              ID                       US   61002 133772749@KACHIPYTEL.COM
 3I9UI4   12/24/2020 OB     1/5/2021 WN;1008;ATL;BWI                   LAKE TAMMY             TX                       US   95749 133773486@KACHIPYTEL.COM
 3IHFVP   12/24/2020 OB   12/27/2020 WN;1744;DTW;PHX;WN;3861;PHX;DEN   WEST MICHELLE          KY                       US   24321 133773959@KACHIPYTEL.COM
 3IKJ3K   12/24/2020 OB    1/25/2021 WN;3704;LAS;STL;WN;1933;STL;MDW   HORNEBERG              WY                       US   68897 133774641@KACHIPYTEL.COM
 3ILU9Z   12/24/2020 OB    1/22/2021 WN;2590;MDW;LAS                   BALLBOROUGH            FL                       US   53451 133774641@KACHIPYTEL.COM
 3ITLOI   12/24/2020 OB   12/25/2020 WN;4608;LAX;OAK;WN;4862;OAK;LAS   NORTH TAMARA           IA                       US   28983 133775510@KACHIPYTEL.COM
 3JMU4H   12/24/2020 OB   12/28/2020 WN;1324;MSY;DEN;WN;6955;DEN;SEA   MICHAELVIEW            IA                       US   52127 133778348@KACHIPYTEL.COM
 3JPBNU   12/24/2020 OB    1/21/2021 WN;2083;AUS;BWI;WN;331;BWI;MIA    LAKE CHRISTINE         UT                       US   34221 133779206@KACHIPYTEL.COM
 3JQTXZ   12/24/2020 OB   12/26/2020 WN;2015;MCO;BWI;WN;897;BWI;ATL    NORTH TYRONECHESTER    OR                       US   12291 133778865@KACHIPYTEL.COM
 3K8TS8   12/24/2020 OB   12/26/2020 WN;6001;RDU;FLL;WN;966;FLL;CMH    TORRESSIDE             TX                       US   19554 133781395@KACHIPYTEL.COM
 3KQGF9   12/24/2020 OB   12/26/2020 WN;44;BUR;OAK;WN;1846;OAK;LAS     JASMINMOUTH            MT                       US   82995 133782528@KACHIPYTEL.COM
 3L9ALM   12/24/2020 OB   12/25/2020 WN;3920;LAX;MDW;WN;3388;MDW;MCO   SOUTH MICHAELTON       FL                       US   62770 133784035@KACHIPYTEL.COM
 3LKQ45   12/24/2020 OB   12/30/2020 WN;1210;PHX;SMF;WN;1522;SMF;LAX   MIRANDAFORT            CO                       US   93568 133785465@KACHIPYTEL.COM
 3LXFON   12/24/2020 OB   12/27/2020 WN;1848;LAS;SMF                   FERGUSONSHIRE          ZENICKODOBOJSKI KANTON   BA     630 133786411@KACHIPYTEL.COM
 3LXFON   12/24/2020 OB   12/27/2020 WN;1848;LAS;SMF                   FERGUSONSHIRE          ZENICKODOBOJSKI KANTON   BA     630 133786411@KACHIPYTEL.COM
 3MAYM2   12/24/2020 OB   12/28/2020 WN;1427;DTW;PHX;WN;1295;PHX;DEN   WEST NICOLAS           NV                       US   89153 133787610@KACHIPYTEL.COM
 3MBW5Q   12/24/2020 OB   12/26/2020 WN;2007;LGA;ATL;WN;1820;ATL;MCO   JULIEMOUTH             AZ                       US   96619 133787643@KACHIPYTEL.COM
 3N6HMS   12/24/2020 OB   12/28/2020 WN;658;MDW;TPA;WN;1065;TPA;MIA    SMITHMOUTH             RI                       US   43226 133789106@KACHIPYTEL.COM
 3NYL3H   12/25/2020 OB   12/27/2020 WN;4832;DTW;BNA;WN;2913;BNA;PHX   PORT ALICIAVILLE       KS                       US    1318 133791097@KACHIPYTEL.COM
 3NZAK9   12/25/2020 OB     1/2/2021 WN;2356;AUS;BWI;WN;102;BWI;MIA    AHMDNGR                JHARKHAND                IN   77352 133791350@KACHIPYTEL.COM




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3OO3CB   12/25/2020 OB   12/25/2020 WN;2699;SLC;DEN;WN;2098;DEN;LAX         EAST MISTY            GA                   US   60278 133792230@KACHIPYTEL.COM
3OTWKR   12/25/2020 OB    3/13/2021 WN;3041;SDF;PHX;WN;981;PHX;MCI          EAST JUDY             FL                   US   60189 133792450@KACHIPYTEL.COM
3P6HSV   12/25/2020 OB     1/1/2021 WN;2917;PHX;AUS;WN;4065;AUS;LGB         CITTUUR               BIHAR                IN    9037 133793099@KACHIPYTEL.COM
3P98SR   12/25/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO           SOUTH ROBERTBERG      IA                   US   76792 133793341@KACHIPYTEL.COM
3PY9XO   12/25/2020 OB   12/29/2020 WN;1349;BOS;BWI;WN;1116;BWI;MDW         AMBAAJII              PUDUCHERRY           IN    2930 133794639@KACHIPYTEL.COM
3PYSX6   12/25/2020 OB   12/25/2020 WN;5014;ATL;DEN;WN;4264;DEN;MSP         EAST COREY            TX                   US   45351 133794551@KACHIPYTEL.COM
3PYSX6   12/25/2020 OB   12/25/2020 WN;5014;ATL;DEN;WN;4264;DEN;MSP         EAST COREY            TX                   US   45351 133794551@KACHIPYTEL.COM
3QB94X   12/25/2020 OB   12/25/2020 WN;3704;LAS;STL;WN;3301;STL;FLL         WOODSBOROUGH          WV                   US   25147 133795211@KACHIPYTEL.COM
3QCEZD   12/25/2020 OB   12/29/2020 WN;983;DEN;AUS;WN;1005;AUS;MDW          WEST PAUL             MS                   US   87342 133795057@KACHIPYTEL.COM
3QEGD2   12/25/2020 OB   12/25/2020 WN;2182;AUS;DEN;WN;3519;DEN;IND         BROWNPORT             WI                   US   80797 133795057@KACHIPYTEL.COM
3QTF6J   12/25/2020 OB     1/6/2021 WN;599;FLL;STL;WN;1472;STL;LAX          MA AN SHAN XIAN       ANHUI SHENG          CN   79708 133793847@KACHIPYTEL.COM
3RA57J   12/25/2020 OB   12/28/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS          WEST ADRIENNEFORT     TN                   US   95693 133796597@KACHIPYTEL.COM
3RPBK6   12/25/2020 OB   12/30/2020 WN;1008;ATL;BWI                         SOUTH MICHEAL         CT                   US    4850 133797488@KACHIPYTEL.COM
3S8JMD   12/25/2020 OB   12/25/2020 WN;3927;MSP;DEN;WN;3943;DEN;BOS         EAST BRENDASHIRE      OK                   US   15215 133798423@KACHIPYTEL.COM
3SIGT3   12/25/2020 OB   12/27/2020 WN;2856;CLT;PHX;WN;3591;PHX;DAL         LAKE BRANDONFURT      NE                   US   56534 133799204@KACHIPYTEL.COM
3SNU5P   12/25/2020 OB   12/25/2020 WN;3927;MSP;DEN;WN;3943;DEN;BOS         SHERMANMOUTH          KS                   US   94299 133799545@KACHIPYTEL.COM
3SUDVJ   12/25/2020 OB     1/3/2021 WN;4855;SAN;STL;WN;4607;STL;BDL         BRANDONHAVEN          MN                   US   18197 133799589@KACHIPYTEL.COM
3SUDVJ   12/25/2020 OB     1/3/2021 WN;4855;SAN;STL;WN;4607;STL;BDL         BRANDONHAVEN          MN                   US   18197 133799589@KACHIPYTEL.COM
3U8XOP   12/25/2020 MD   12/27/2020 WN;6741;SEA;SMF                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 MD   12/27/2020 WN;6741;SEA;SMF                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 MD   12/27/2020 WN;6741;SEA;SMF                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 MD   12/27/2020 WN;6741;SEA;SMF                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 OB   12/27/2020 WN;4976;SMF;LAS                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 OB   12/27/2020 WN;4976;SMF;LAS                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 OB   12/27/2020 WN;4976;SMF;LAS                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3U8XOP   12/25/2020 OB   12/27/2020 WN;4976;SMF;LAS                         JONESTOWN             NV                   US    6879 133800887@KACHIPYTEL.COM
3UAW4G   12/25/2020 OB    1/20/2021 WN;220;SMF;DEN;WN;2820;DEN;ONT          BILLYVIEW             WY                   US     647 133801932@KACHIPYTEL.COM
3V4FTA   12/25/2020 OB   12/26/2020 WN;6869;ATL;PHX;WN;488;PHX;MSP          MULLENCHESTER         WY                   US   66441 133804066@KACHIPYTEL.COM
3VVIXA   12/25/2020 OB   12/29/2020 WN;446;LGA;DEN;WN;1374;DEN;MDW          WEST EDWARD           GA                   US   11202 133805760@KACHIPYTEL.COM
3WC6WN   12/25/2020 OB   12/29/2020 WN;1558;LAS;BUR;WN;406;BUR;OAK          THOMPSONTOWN          UT                   US   44555 133806904@KACHIPYTEL.COM
3WH5DW   12/25/2020 OB   12/29/2020 WN;557;SAT;LAS;WN;855;LAS;MSP           SOUTH HOLLYBOROUGH    IL                   US   55038 133806904@KACHIPYTEL.COM
425M96   12/25/2020 OB   12/28/2020 WN;631;ATL;BWI;WN;142;BWI;MIA           KRISTINAPORT          NE                   US   98090 133818333@KACHIPYTEL.COM
436X38   12/25/2020 OB     1/4/2021 WN;1219;PHX;HOU;WN;1102;HOU;CVG         YUSIDE                ND                   US    6190 133821358@KACHIPYTEL.COM
436X38   12/25/2020 OB     1/4/2021 WN;1219;PHX;HOU;WN;1102;HOU;CVG         YUSIDE                ND                   US    6190 133821358@KACHIPYTEL.COM
436X38   12/25/2020 OB     1/4/2021 WN;1219;PHX;HOU;WN;1102;HOU;CVG         YUSIDE                ND                   US    6190 133821358@KACHIPYTEL.COM
44RUQL   12/25/2020 OB   12/26/2020 WN;2094;LGA;ATL;WN;6912;ATL;RSW         NEW VANESSAFORT       MD                   US    7221 133826869@KACHIPYTEL.COM
453RPH   12/25/2020 OB   12/28/2020 WN;126;LGA;MDW                          MARKFORT              ME                   US    9438 133827595@KACHIPYTEL.COM
45SNBZ   12/25/2020 OB   12/26/2020 WN;1521;MSY;DEN;WN;4353;DEN;LAX         PORT BRANDONFORT      NY                   US   87633 133830191@KACHIPYTEL.COM
46MJGC   12/25/2020 OB   12/28/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA          NORTH AUSTIN          RI                   US   45632 133832710@KACHIPYTEL.COM
46QEMX   12/25/2020 OB   12/29/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA          MARKSHIRE             MO                   US   33978 133833502@KACHIPYTEL.COM
46XAXD   12/25/2020 OB     1/4/2021 WN;770;LAX;MSY;WN;1082;MSY;MCO          LAKE MARK             CT                   US   78344 133834129@KACHIPYTEL.COM
47KV6C   12/25/2020 OB   12/28/2020 WN;156;LGA;ATL                          KYLEFURT              MS                   US   58106 133837330@KACHIPYTEL.COM
47MS26   12/25/2020 OB     1/1/2021 WN;3787;LGA;BNA                         EAST DANIEL           NJ                   US   54582 133837396@KACHIPYTEL.COM
488HCY   12/25/2020 OB   12/30/2020 WN;6274;DTW;PHX;WN;1295;PHX;DEN         WEST DANIELLE         AL                   US   57346 133839508@KACHIPYTEL.COM
48CJF2   12/25/2020 OB   12/30/2020 WN;6274;DTW;PHX;WN;1295;PHX;DEN         DODSONSIDE            MT                   US   32958 133839464@KACHIPYTEL.COM
48LEQ6   12/25/2020 OB     1/4/2021 WN;136;ATL;AUS;WN;1082;AUS;MSY          NEW MICHELLE          KS                   US   55802 133840806@KACHIPYTEL.COM
48LG3O   12/25/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO           SOUTH STACY           AZ                   US   94262 133840883@KACHIPYTEL.COM
49HN5P   12/25/2020 OB     1/3/2021 WN;4636;DEN;SJC;WN;4972;SJC;SEA         CIRAALAA              JAMMU AND KASHMIR    IN   24359 133844073@KACHIPYTEL.COM
49LKFE   12/25/2020 OB   12/26/2020 WN;1589;LGB;OAK;WN;1846;OAK;LAS         WEST JEREMYVILLE      LA                   US    3508 133844183@KACHIPYTEL.COM
4A7A5D   12/25/2020 OB   12/26/2020 WN;2094;LGA;ATL;WN;6912;ATL;RSW         NEW TODD              RABAT GHAWDEX        MT   14383 133845855@KACHIPYTEL.COM
4A7A5D   12/25/2020 OB   12/26/2020 WN;2094;LGA;ATL;WN;6912;ATL;RSW         NEW TODD              RABAT GHAWDEX        MT   14383 133845855@KACHIPYTEL.COM
4AF2TT   12/25/2020 OB     1/2/2021 WN;2065;LAS;MCO;WN;1140;MCO;PHL         LAKE JENNIFER         CT                   US   34777 133846691@KACHIPYTEL.COM
4AF2TT   12/25/2020 OB     1/2/2021 WN;2065;LAS;MCO;WN;1140;MCO;PHL         LAKE JENNIFER         CT                   US   34777 133846691@KACHIPYTEL.COM
4AKLRC   12/25/2020 OB   12/27/2020 WN;3689;ATL;MDW;WN;3618;MDW;DTW         LAKE ANITABERG        NE                   US   16137 133847637@KACHIPYTEL.COM
4AKPKK   12/25/2020 OB   12/26/2020 WN;1828;MDW;ATL;WN;2108;ATL;LGA         NEW CHRISTINEMOUTH    VT                   US   93293 133847802@KACHIPYTEL.COM
4AO3XE   12/25/2020 OB     1/2/2021 WN;2088;SAN;STL;WN;1882;STL;FLL         BHDRK                 KERALA               IN   88657 133847714@KACHIPYTEL.COM
4APV3U   12/25/2020 OB   12/27/2020 WN;2245;MEM;PHX;WN;3143;PHX;OKC         PORT VALERIESIDE      MS                   US   37648 133848066@KACHIPYTEL.COM
4AWON7   12/25/2020 OB   12/27/2020 WN;1728;MCO;MDW;WN;1851;MDW;OAK         PORT STEVEN           CA                   US   42259 133848869@KACHIPYTEL.COM
4AWON7   12/25/2020 OB   12/27/2020 WN;1728;MCO;MDW;WN;1851;MDW;OAK         PORT STEVEN           CA                   US   42259 133848869@KACHIPYTEL.COM
4AZ9HZ   12/25/2020 OB   12/30/2020 WN;112;PHX;LAS;WN;855;LAS;MSP           EAST KRISTIFURT       NH                   US   17522 133849012@KACHIPYTEL.COM
4AZ9HZ   12/25/2020 OB   12/30/2020 WN;112;PHX;LAS;WN;855;LAS;MSP           EAST KRISTIFURT       NH                   US   17522 133849012@KACHIPYTEL.COM
4B2JPC   12/25/2020 OB     1/2/2021 WN;2103;CLE;MDW;WN;2319;MDW;FLL         SELISHCHE MIROSLAV    DONETSKA OBLAST      UA   74364 133849188@KACHIPYTEL.COM
4B3P46   12/25/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO         WEST APRILMOUTH       RI                   US   48749 133849034@KACHIPYTEL.COM
4B3P46   12/25/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO         WEST APRILMOUTH       RI                   US   48749 133849034@KACHIPYTEL.COM
4B5QGT   12/25/2020 OB   12/26/2020 WN;2288;OMA;PHX;WN;1892;PHX;STL         MISTO IRENA           KHMELNYTSKA OBLAST   UA   10832 133849111@KACHIPYTEL.COM
4B5QGT   12/25/2020 OB   12/26/2020 WN;2288;OMA;PHX;WN;1892;PHX;STL         MISTO IRENA           KHMELNYTSKA OBLAST   UA   10832 133849111@KACHIPYTEL.COM
4BTTRT   12/25/2020 OB     1/2/2021 WN;2200;PDX;SMF;WN;1749;SMF;SNA         LAKE THOMAS           ID                   US   82814 133850849@KACHIPYTEL.COM
4CEIBU   12/26/2020 OB   12/29/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA          EAST MATTHEW          TN                   US   26535 133852323@KACHIPYTEL.COM
4CKPCO   12/26/2020 OB     1/6/2021 WN;1014;MIA;MDW;WN;457;MDW;ATL          WEST TERESABERG       CT                   US   71597 133853038@KACHIPYTEL.COM
4CUQFA   12/26/2020 OB   12/30/2020 WN;135;LGA;ATL;WN;144;ATL;OKC           SOUTH KATHLEENMOUTH   UT                   US   31536 133853852@KACHIPYTEL.COM
4D4SQD   12/26/2020 OB   12/26/2020 WN;2271;LGA;ATL;WN;1736;ATL;DAL         CURTISLAND            MO                   US   73360 133854380@KACHIPYTEL.COM
4D4SQD   12/26/2020 OB   12/26/2020 WN;2271;LGA;ATL;WN;1736;ATL;DAL         CURTISLAND            MO                   US   73360 133854380@KACHIPYTEL.COM
4DA328   12/26/2020 OB    1/10/2021 WN;1654;TPA;STL;WN;3422;STL;LGA         RSHDVILLE             AL MADINAH           SA   43808 133854413@KACHIPYTEL.COM
4DEG3X   12/26/2020 OB   12/26/2020 WN;1783;BWI;LAS;WN;1681;LAS;RNO         WILSONHAVEN           OH                   US   31323 133854886@KACHIPYTEL.COM
4DTRYM   12/26/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO           PORT TIMOTHYHAVEN     SC                   US   35450 133855931@KACHIPYTEL.COM
4DUQ96   12/26/2020 OB     1/3/2021 WN;4283;MSP;BWI;WN;4467;BWI;MCO         BARRETTBURY           ROSCOMMON            IE   71599 133855843@KACHIPYTEL.COM
4EALU8   12/26/2020 OB   12/27/2020 WN;4884;ATL;BWI;WN;1824;BWI;BOS         NEW SHANNONMOUTH      NM                   US   46110 133856767@KACHIPYTEL.COM
4EE8HU   12/26/2020 OB   12/26/2020 WN;1941;MDW;BOS                         NORTH ANGELASTAD      OK                   US   29026 133857130@KACHIPYTEL.COM
4EE8HU   12/26/2020 OB   12/26/2020 WN;1941;MDW;BOS                         NORTH ANGELASTAD      OK                   US   29026 133857130@KACHIPYTEL.COM
4EGQQF   12/26/2020 OB   12/30/2020 WN;1437;DEN;MCI;WN;818;MCI;MDW          SOUTH LEAHPORT        WA                   US   94430 131778141.1524758@KACHIPYTEL.COM
4ELE4Q   12/26/2020 OB   12/26/2020 WN;1640;BNA;MDW;WN;1759;MDW;CVG         WEST JOSEPHSIDE       NJ                   US   38869 133857394@KACHIPYTEL.COM
4EQUTA   12/26/2020 OB   12/26/2020 WN;995;ATL;FLL;WN;6355;FLL;SJU          PORT JEFFREYBURY      HI                   US   88541 133857955@KACHIPYTEL.COM
4ETZY8   12/26/2020 OB   12/26/2020 WN;1332;LAX;PHX;WN;1635;PHX;LAS         NEW CHRISTINE         AR                   US    1753 133858307@KACHIPYTEL.COM
4FH4YY   12/26/2020 OB   12/26/2020 WN;6869;ATL;PHX;WN;488;PHX;MSP          SMITHMOUTH            UT                   US   26504 133859209@KACHIPYTEL.COM
4FRW7M   12/26/2020 OB   12/26/2020 WN;6869;ATL;PHX;WN;488;PHX;MSP          CHELSEYSHIRE          TN                   US   98796 133860155@KACHIPYTEL.COM
4FXXU8   12/26/2020 OB   12/26/2020 WN;2094;LGA;ATL;WN;6912;ATL;RSW         LAKE BRITTANY         PA                   US   24560 133860452@KACHIPYTEL.COM
4GBJFJ   12/26/2020 OB   12/26/2020 WN;1932;FLL;DEN;WN;2365;DEN;LAS         RUSE                  NAKLO                SI   61681 133861189@KACHIPYTEL.COM
4GBS5F   12/26/2020 OB     1/4/2021 WN;1008;ATL;BWI;WN;749;BWI;MCO          LAKE DAVID            UT                   US   81613 133861079@KACHIPYTEL.COM
4GT97S   12/26/2020 OB   12/26/2020 WN;1640;MDW;TPA;WN;2374;TPA;BUF         WEST JACOBFURT        LA                   US   24398 133862245@KACHIPYTEL.COM
4GT97S   12/26/2020 OB   12/26/2020 WN;1640;MDW;TPA;WN;2374;TPA;BUF         WEST JACOBFURT        LA                   US   24398 133862245@KACHIPYTEL.COM
4GVTU8   12/26/2020 OB   12/30/2020 WN;1073;MKE;LAS;WN;122;LAS;OKC          SERANG                SULAWESI UTARA       ID   88708 133862289@KACHIPYTEL.COM
4HCA2O   12/26/2020 OB     1/1/2021 WN;430;ATL;PHX;WN;2002;PHX;LGB          CHRISTOPHERBERG       AL                   US    6048 133862674@KACHIPYTEL.COM
4HCFNW   12/26/2020 OB   12/28/2020 WN;423;SDF;DEN;WN;138;DEN;MKE           NORTH DEBORAH         OR                   US   62836 133862531@KACHIPYTEL.COM
4HEQ9R   12/26/2020 OB   12/28/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA          MCDONALDFORT          CO                   US   39410 133862784@KACHIPYTEL.COM
4HGAGD   12/26/2020 OB   12/28/2020 WN;1026;MSP;PHX;WN;526;PHX;SFO          NORTH KELLYTON        VT                   US   42853 133862806@KACHIPYTEL.COM
4HJM5R   12/26/2020 OB   12/26/2020 WN;1237;ATL;FLL;WN;6355;FLL;SJU         JOHNNYSTAD            AK                   US   99869 133863004@KACHIPYTEL.COM
4HLZCL   12/26/2020 OB   12/26/2020 WN;762;IND;FLL;WN;6400;FLL;RDU          CLINEBURGH            WI                   US   18138 133863180@KACHIPYTEL.COM
4HTIA8   12/26/2020 OB   12/29/2020 WN;800;MEM;PHX;WN;6834;PHX;AUS          EAST JENNIFERVILLE    CO                   US   32604 133863587@KACHIPYTEL.COM
4HTUO3   12/26/2020 OB     1/1/2021 WN;4015;MCO;STL;WN;4818;STL;DCA         AMRPUR                GOA                  IN   39640 133863488@KACHIPYTEL.COM
4IKYKK   12/26/2020 OB   12/30/2020 WN;156;LGA;ATL                          CATHERINEHAVEN        MN                   US   25530 133864885@KACHIPYTEL.COM
4IWNQH   12/26/2020 OB   12/26/2020 WN;1321;TPA;DEN                         LAKE DENISEFORT       MI                   US   20343 133865875@KACHIPYTEL.COM
4J2SLV   12/26/2020 OB   12/31/2020 WN;2016;ATL;BWI;WN;2531;BWI;TPA         GARCIASTAD            AL                   US   26051 133865941@KACHIPYTEL.COM
4J4HEP   12/26/2020 OB     1/4/2021 WN;938;BWI;ATL                          MICHEALTON            DE                   US   37831 133865941@KACHIPYTEL.COM
4JEUA4   12/26/2020 OB   12/30/2020 WN;1229;SEA;OAK;WN;6268;OAK;LAS         BARBOSA DE PEREIRA    GOIAS                BR   83397 133866480@KACHIPYTEL.COM
4JVZCR   12/26/2020 OB   12/26/2020 WN;1237;ATL;FLL;WN;2250;FLL;BWI;WN;1727 PORT SCOTT            ME                   US   19613 133867569@KACHIPYTEL.COM
4JXWO3   12/26/2020 OB     1/7/2021 WN;812;PUJ;BWI;WN;4413;BWI;BDL          WEST NICHOLASSIDE     FL                   US   25827 133867459@KACHIPYTEL.COM
4KAQEE   12/26/2020 OB   12/30/2020 WN;996;DEN;CVG                          NORTH BONNIE          NV                   US   40061 133868449@KACHIPYTEL.COM
4KLK7F   12/26/2020 OB   12/26/2020 WN;64;MDW;BNA;WN;1678;BNA;BOS           WEST KATHERINEHAVEN   HI                   US   18623 133868977@KACHIPYTEL.COM
4KMT98   12/26/2020 OB   12/26/2020 WN;64;MDW;BNA;WN;1678;BNA;BOS           PORT KIMBERLY         WI                   US   67054 133869285@KACHIPYTEL.COM




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 4OTUE2   12/26/2020 OB   12/30/2020 WN;523;OMA;ATL;WN;938;ATL;STL     PORT MICHAEL           AZ                    US   85352 133880989@KACHIPYTEL.COM
 4OXXEK   12/26/2020 OB   12/26/2020 WN;2176;ATL;MDW;WN;6875;MDW;DTW   WEST NORMANLAND        TN                    US    7197 133880956@KACHIPYTEL.COM
 4R5F3D   12/26/2020 OB   12/27/2020 WN;2179;BNA;DEN;WN;6837;DEN;PHX   PACHECOBURGH           IA                    US    4142 133887809@KACHIPYTEL.COM
 4RLC2F   12/26/2020 OB   12/26/2020 WN;2271;LGA;ATL;WN;1736;ATL;DAL   NORTH TAMMYMOUTH       CT                    US   79443 133889701@KACHIPYTEL.COM
 4RN63X   12/26/2020 OB   12/27/2020 WN;1060;MIA;TPA;WN;3666;TPA;SJU   VALONGO                LISBOA                PT   89015 133889426@KACHIPYTEL.COM
 4S5JSQ   12/26/2020 OB   12/30/2020 WN;1280;OAK;PHX;WN;855;PHX;LAS    SOUTH MICHAEL          CO                    US   29082 133891659@KACHIPYTEL.COM
 4S8TEZ   12/26/2020 OB   12/28/2020 WN;555;FLL;BWI;WN;6914;BWI;SJU    DIXONVIEW              SD                    US   77955 133891637@KACHIPYTEL.COM
 4SDNQP   12/26/2020 OB     1/4/2021 WN;793;SAN;BWI;WN;242;BWI;BOS     NEW TYLERHAVEN         WY                    US   55349 133892693@KACHIPYTEL.COM
 4SDNQP   12/26/2020 OB     1/4/2021 WN;793;SAN;BWI;WN;242;BWI;BOS     NEW TYLERHAVEN         WY                    US   55349 133892693@KACHIPYTEL.COM
 4SLAGT   12/26/2020 OB    1/12/2021 WN;2180;BNA;BWI;WN;331;BWI;MIA    WEST DANIEL            OK                    US   16815 133893386@KACHIPYTEL.COM
 4SRPDM   12/26/2020 OB     1/3/2021 WN;2313;BOS;STL;WN;3387;STL;MDW   NEW KRISTINALAND       VT                    US   48025 133893958@KACHIPYTEL.COM
 4T56HG   12/26/2020 OB   12/30/2020 WN;1432;SEA;SJC;WN;1221;SJC;DEN   NUEVA SAN VICENTE Y    MICHOACAN DE OCAMPO   MX   37048 133892726@KACHIPYTEL.COM
 4T56HG   12/26/2020 OB   12/30/2020 WN;1432;SEA;SJC;WN;1221;SJC;DEN   NUEVA SAN VICENTE Y    MICHOACAN DE OCAMPO   MX   37048 133892726@KACHIPYTEL.COM
 4T8ONR   12/26/2020 OB   12/31/2020 WN;3343;LGA;ATL;WN;3959;ATL;TPA   SOUTH LEONARD          NJ                    US   61921 133895652@KACHIPYTEL.COM
 4TOU8H   12/26/2020 OB   12/28/2020 WN;1469;SEA;DEN;WN;566;DEN;LAS    PORT LISA              RI                    US    8988 133898215@KACHIPYTEL.COM
 4U8KAB   12/26/2020 OB   12/28/2020 WN;1225;ATL;MCO;WN;2222;MCO;SJU   DERRICKTON             WI                    US   50064 133900811@KACHIPYTEL.COM
 4V6HXU   12/26/2020 OB   12/27/2020 WN;4884;ATL;BWI                   PORT TREVOR            AR                    US   72308 133904496@KACHIPYTEL.COM
 4VETJ7   12/26/2020 OB   12/29/2020 WN;243;LAS;BUR;WN;1254;BUR;SFO    SANDVIKEN              KALMAR LAN            SE   41470 133905222@KACHIPYTEL.COM
 4VK6YQ   12/26/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   LEWISBOROUGH           TX                    US   87791 133906080@KACHIPYTEL.COM
 4VK6YQ   12/26/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   LEWISBOROUGH           TX                    US   87791 133906080@KACHIPYTEL.COM
 4VTFFS   12/26/2020 OB   12/31/2020 WN;2434;TPA;ATL;WN;2707;ATL;LGA   SOUTH JEFFREY          WV                    US   59489 133906850@KACHIPYTEL.COM
 4WDM96   12/26/2020 OB     1/7/2021 WN;2603;MKE;TPA;WN;4143;TPA;MIA   PORT MARISSA           SD                    US   20515 133908335@KACHIPYTEL.COM
 4WLE2P   12/26/2020 OB   12/30/2020 WN;233;MSP;MDW;WN;782;MDW;LAX     WEST KRISTIN           RI                    US   72947 133909358@KACHIPYTEL.COM
 4WLJ74   12/26/2020 OB     1/2/2021 WN;734;MDW;MSP;WN;2268;MSP;DEN    NORTH MARK             IA                    US   57004 133909358@KACHIPYTEL.COM
 4X26IW   12/26/2020 OB     1/6/2021 WN;1090;ATL;RDU;WN;6101;RDU;TPA   MCGUIREMOUTH           WY                    US   98562 133910623@KACHIPYTEL.COM
 4XFD6I   12/26/2020 OB   12/30/2020 WN;2389;ATL;BWI                   EAST CHRISTINE         MA                    US   68848 133912284@KACHIPYTEL.COM
 4XLQM2   12/26/2020 OB   12/27/2020 WN;1744;DTW;PHX;WN;4404;PHX;MCI   EAST CHRISTOPHERLAND   FL                    US   34956 133912537@KACHIPYTEL.COM
 4XTSKA   12/26/2020 OB   12/31/2020 WN;1990;ATL;BWI;WN;3195;BWI;MCO   TODDFORT               NV                    US   22213 133913670@KACHIPYTEL.COM
 4YC2FF   12/26/2020 OB   12/29/2020 WN;999;FLL;HOU;WN;1326;HOU;MSY    EAST JEFFERY           SC                    US   38764 133914957@KACHIPYTEL.COM
 4YETQH   12/26/2020 OB     1/5/2021 WN;2277;TPA;MDW;WN;1452;MDW;DTW   SOUTH STEVEN           OH                    US    8247 133915166@KACHIPYTEL.COM
 4YETQH   12/26/2020 OB     1/5/2021 WN;2277;TPA;MDW;WN;1452;MDW;DTW   SOUTH STEVEN           OH                    US    8247 133915166@KACHIPYTEL.COM
 4YGMIP   12/26/2020 OB   12/28/2020 WN;6877;ATL;DEN;WN;1035;DEN;MSP   DANIELLEHAVEN          KY                    US   65207 133915309@KACHIPYTEL.COM
 4YUJV8   12/26/2020 OB   12/30/2020 WN;561;DCA;BNA;WN;747;BNA;MCO     ARTHURBOROUGH          OR                    US   97840 133916486@KACHIPYTEL.COM
 4YWOEZ   12/26/2020 OB    1/18/2021 WN;6291;DCA;ATL;WN;3082;ATL;MCO   JOYCEFURT              VT                    US   65677 133916519@KACHIPYTEL.COM
 4YWOEZ   12/26/2020 OB    1/18/2021 WN;6291;DCA;ATL;WN;3082;ATL;MCO   JOYCEFURT              VT                    US   65677 133916519@KACHIPYTEL.COM
 4YY3YM   12/26/2020 OB   12/30/2020 WN;984;ATL;BWI;WN;1136;BWI;MCO    RAANIITAAL             ASSAM                 IN   79383 133916706@KACHIPYTEL.COM
 4YY3YM   12/26/2020 OB   12/30/2020 WN;984;ATL;BWI;WN;1136;BWI;MCO    RAANIITAAL             ASSAM                 IN   79383 133916706@KACHIPYTEL.COM
 4Z4KIQ   12/26/2020 OB   12/27/2020 WN;2738;MSP;BNA;WN;4428;BNA;BOS   HANSENLAND             RI                    US   40749 133916893@KACHIPYTEL.COM
 22AHAN   12/27/2020 OB   12/27/2020 WN;1998;ATL;BWI;WN;4229;BWI;MIA   SUSANCHESTER           IA                    US   77875 133919566@KACHIPYTEL.COM
 22HGB5   12/27/2020 OB   12/27/2020 WN;2653;TPA;BWI;WN;6965;BWI;SJU   RONALDVILLE            OR                    US   10778 133919918@KACHIPYTEL.COM
 22L43Z   12/27/2020 OB   12/27/2020 WN;4783;DCA;DAL;WN;2375;DAL;FLL   NORTH DANIEL           ND                    US   96092 133920314@KACHIPYTEL.COM
 22P4IA   12/27/2020 OB   12/31/2020 WN;2995;DAL;BWI;WN;4420;BWI;PWM   NORTH LEONARD          CA                    US   57182 133920314@KACHIPYTEL.COM
 2345Y6   12/27/2020 OB    1/19/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS   LAKE LINDABURY         HI                    US   48523 133921205@KACHIPYTEL.COM
 2345Y6   12/27/2020 OB    1/19/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS   LAKE LINDABURY         HI                    US   48523 133921205@KACHIPYTEL.COM
 239NKM   12/27/2020 OB    1/10/2021 WN;1914;LGA;MDW;WN;3388;MDW;MCO   KIMBERLYFORT           ME                    US   72293 133921733@KACHIPYTEL.COM
 23U75L   12/27/2020 OB     1/2/2021 WN;1631;LAS;ATL;WN;6913;ATL;MEM   SOUTH AUSTIN           ME                    US   92695 133923119@KACHIPYTEL.COM
 23U75L   12/27/2020 OB     1/2/2021 WN;1631;LAS;ATL;WN;6913;ATL;MEM   SOUTH AUSTIN           ME                    US   92695 133923119@KACHIPYTEL.COM
 24JJOX   12/27/2020 OB   12/28/2020 WN;1583;ATL;HOU;WN;1056;HOU;MIA   NORTH BILLYTON         LA                    US   49522 133924593@KACHIPYTEL.COM
 24MUYE   12/27/2020 OB   12/29/2020 WN;956;HOU;ATL;WN;2079;ATL;MSY    MARTINCHESTER          OH                    US   91475 133924593@KACHIPYTEL.COM
 24ONNV   12/27/2020 OB   12/27/2020 WN;6886;SAT;DEN;WN;1849;DEN;SEA   NEW HAYLEYLAND         AK                    US   59838 133924945@KACHIPYTEL.COM
 25FWDY   12/27/2020 OB   12/27/2020 WN;3525;LAX;BWI;WN;1844;BWI;PBI   EAST SHARI             AR                    US   88367 133926419@KACHIPYTEL.COM
 25KEWK   12/27/2020 OB   12/27/2020 WN;1793;IND;LAS;WN;2049;LAS;AUS   NEW MELISSA            CA                    US   48262 133926815@KACHIPYTEL.COM
 25QIUC   12/27/2020 OB   12/30/2020 WN;1229;SEA;OAK;WN;648;OAK;DEN    NEW KAYLEE             SC                    US   55124 133927035@KACHIPYTEL.COM
 26HGLL   12/27/2020 OB   12/27/2020 WN;3689;ATL;MDW;WN;3618;MDW;DTW   MICHELLEMOUTH          NY                    US    7215 133928289@KACHIPYTEL.COM
 26HGLL   12/27/2020 OB   12/27/2020 WN;3689;ATL;MDW;WN;3618;MDW;DTW   MICHELLEMOUTH          NY                    US    7215 133928289@KACHIPYTEL.COM
 26HGLL   12/27/2020 OB   12/27/2020 WN;3689;ATL;MDW;WN;3618;MDW;DTW   MICHELLEMOUTH          NY                    US    7215 133928289@KACHIPYTEL.COM
 26UKNZ   12/27/2020 OB   12/27/2020 WN;3689;ATL;MDW;WN;3618;MDW;DTW   SYDNEYSHIRE            ME                    US   29654 133929004@KACHIPYTEL.COM
 26UKNZ   12/27/2020 OB   12/27/2020 WN;3689;ATL;MDW;WN;3618;MDW;DTW   SYDNEYSHIRE            ME                    US   29654 133929004@KACHIPYTEL.COM
 26XS2A   12/27/2020 OB     1/2/2021 WN;1578;TPA;BWI;WN;2225;BWI;BOS   LANEBOROUGH            GA                    US    9834 133929301@KACHIPYTEL.COM
 29DYYO   12/27/2020 OB   12/30/2020 WN;135;LGA;ATL                    WEST KELLYFORT         MT                    US   82385 133934042@KACHIPYTEL.COM
 29MNCF   12/27/2020 OB   12/30/2020 WN;413;PDX;LAS;WN;827;LAS;SAT     LAKE KIMBERLYBOROUGH   FL                    US   31103 133935098@KACHIPYTEL.COM
 29Q8JS   12/27/2020 OB   12/30/2020 WN;413;PDX;LAS;WN;827;LAS;SAT     BENJAMINFORT           IA                    US    6501 133934834@KACHIPYTEL.COM
 29Z2WW   12/27/2020 OB     1/2/2021 WN;2249;MCO;BWI;WN;2354;BWI;ATL   EAST KAITLYN           LA                    US   49151 133935527@KACHIPYTEL.COM
 2C6JYU   12/27/2020 OB   12/27/2020 WN;4125;MDW;DEN;WN;1602;DEN;LAX   JOSHUABURGH            CA                    US   46929 133306217@KACHIPYTEL.COM
 2CJFLQ   12/27/2020 OB     1/5/2021 WN;1537;LAS;OAK;WN;1329;OAK;SEA   ROBERTBOROUGH          LA                    US   97107 133942314@KACHIPYTEL.COM
 2ERHTK   12/27/2020 OB   12/30/2020 WN;135;ATL;STL;WN;634;STL;TPA     LAKE BRENDA            IA                    US    2984 133949684@KACHIPYTEL.COM
 2F693F   12/27/2020 OB   12/27/2020 WN;1897;IND;ATL;WN;1835;ATL;IAD   WEST ERICA             MI                    US   96968 133951510@KACHIPYTEL.COM
 2FI87A   12/27/2020 OB    1/18/2021 WN;6304;BNA;DCA;WN;2044;DCA;MDW   JUSTINFORT             FL                    US   28611 133952544@KACHIPYTEL.COM
 2G7QA6   12/27/2020 OB   12/28/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    NORTH KENNETH          MD                    US   36266 133954513@KACHIPYTEL.COM
 2HKNYB   12/27/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;233;DEN;MSP      NORTH SAALINII         NAKHON SI THAMMARAT   TH    5375 133960002@KACHIPYTEL.COM
 2HUYGZ   12/27/2020 OB   12/29/2020 WN;1167;MDW;SMF;WN;106;SMF;GEG    PORT MARTINS           RUNDALES NOVADS       LV   60867 133961641@KACHIPYTEL.COM
 2HVCC2   12/27/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     NORTH JASON            VA                    US   29040 133961696@KACHIPYTEL.COM
 2I2PCV   12/27/2020 OB   12/28/2020 WN;820;LAX;BNA;WN;302;BNA;MCO     CLARKPORT              CT                    US   38336 133962367@KACHIPYTEL.COM
 2I652C   12/27/2020 OB   12/28/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA    NEW MATTHEWLAND        NC                    US   33397 133962631@KACHIPYTEL.COM
 2IBXT4   12/27/2020 OB   12/28/2020 WN;224;ATL;MDW;WN;6864;MDW;DTW    LAKE KARA              NY                    US   59391 133963313@KACHIPYTEL.COM
 2IDVGP   12/27/2020 OB    1/28/2021 WN;2622;STL;TPA;WN;1642;TPA;IND   AARONVILLE             TN                    US   40145 133963379@KACHIPYTEL.COM
 2IGYCJ   12/27/2020 OB   12/29/2020 WN;618;OAK;HOU;WN;132;HOU;MCO     SOUTH MAUREENSTAD      IL                    US   26275 133964171@KACHIPYTEL.COM
 2IJO7P   12/27/2020 OB     1/7/2021 WN;3276;LAX;BNA;WN;2522;BNA;MCO   SOUTH PETERVILLE       ID                    US   78262 133964006@KACHIPYTEL.COM
 2IP9WU   12/27/2020 OB   12/30/2020 WN;1193;PHX;TPA;WN;1065;TPA;MIA   SOUTH SCOTTTOWN        ME                    US   85861 133964798@KACHIPYTEL.COM
 2IUCYE   12/27/2020 OB    1/16/2021 WN;6303;DCA;BNA;WN;3434;BNA;MCO   MURILLOSTAD            AL                    US   36680 133952544@KACHIPYTEL.COM
 2IW7SQ   12/27/2020 OB   12/30/2020 WN;1060;MIA;TPA;WN;1034;TPA;PIT   NYAAKOAABERG           VOLTA                 GH   68659 133966184@KACHIPYTEL.COM
 2J5SKV   12/27/2020 OB   12/28/2020 WN;224;ATL;MDW;WN;6864;MDW;DTW    NORTH LISA             WV                    US   36221 133966712@KACHIPYTEL.COM
 2JEYSX   12/27/2020 OB     1/1/2021 WN;569;DEN;OAK;WN;4096;OAK;SEA    SHIRLEYLAND            UT                    US   45402 133967427@KACHIPYTEL.COM
 2JJL9L   12/27/2020 OB   12/30/2020 WN;1427;DTW;PHX;WN;1295;PHX;DEN   EAST JESSE             CO                    US   76762 133967944@KACHIPYTEL.COM
 2JUPG4   12/27/2020 OB     1/9/2021 WN;2494;DCA;BNA                   MENDEZSHIRE            MS                    US   92603 133968912@KACHIPYTEL.COM
 2K7PUD   12/27/2020 OB     1/3/2021 WN;1924;OAK;SAN;WN;4946;SAN;LAS   ANNBERG                IL                    US   50423 133970903@KACHIPYTEL.COM
 2KCKR5   12/27/2020 OB     1/3/2021 WN;4330;AUS;OAK;WN;5083;OAK;LAX   ZACHARYVILLE           SD                    US   67883 133970903@KACHIPYTEL.COM
 2KFC69   12/27/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     JILLTON                NH                    US   36077 133971695@KACHIPYTEL.COM
 2L5QGB   12/27/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     NORTH JESSICA          AZ                    US   55277 133974027@KACHIPYTEL.COM
 2LDNFR   12/27/2020 OB    1/20/2021 WN;2286;SJC;DEN;WN;4720;DEN;SAN   PORT RITA              WV                    US    5214 133974753@KACHIPYTEL.COM
 2LVIJX   12/27/2020 OB   12/28/2020 WN;984;ATL;BWI;WN;6914;BWI;SJU    JASONSTAD              UT                    US   89265 133976799@KACHIPYTEL.COM
 2MW4TT   12/27/2020 OB   12/30/2020 WN;136;ATL;AUS;WN;1082;AUS;MSY    EAST DENISE            FL                    US   65304 133979879@KACHIPYTEL.COM
 2N2NFK   12/27/2020 OB     1/6/2021 WN;1229;SEA;OAK;WN;338;OAK;LAS    NANCYFURT              PA                    US   27809 133980165@KACHIPYTEL.COM
 2NIXZ6   12/27/2020 OB   12/29/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    BRITTANYVIEW           NY                    US   25750 133981023@KACHIPYTEL.COM
 2NODBI   12/27/2020 OB   12/30/2020 WN;835;LAX;STL;WN;1442;STL;MCO    WEST MICHELLEBURGH     AK                    US   98490 133981419@KACHIPYTEL.COM
 4Z2OQJ   12/27/2020 OB   12/28/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA    PORT MICHELLE          GA                    US   21520 133864698@KACHIPYTEL.COM
 4ZDOAZ   12/27/2020 OB   12/27/2020 WN;3843;FLL;BWI                   TAYLORSHIRE            MA                    US   24782 133917696@KACHIPYTEL.COM
 4ZDOAZ   12/27/2020 OB   12/27/2020 WN;3843;FLL;BWI                   TAYLORSHIRE            MA                    US   24782 133917696@KACHIPYTEL.COM
 4ZDW7I   12/27/2020 OB     1/2/2021 WN;1407;PHX;STL;WN;2297;STL;TUL   WATSONPORT             TN                    US   58670 133917982@KACHIPYTEL.COM
 4ZGVXK   12/27/2020 OB     1/3/2021 WN;2942;SLC;SMF;WN;1132;SMF;PHX   NORTH CHERYLFURT       KS                    US   91795 133918015@KACHIPYTEL.COM
 4ZGVXK   12/27/2020 OB     1/3/2021 WN;2942;SLC;SMF;WN;1132;SMF;PHX   NORTH CHERYLFURT       KS                    US   91795 133918015@KACHIPYTEL.COM
 4ZPIT7   12/27/2020 OB   12/29/2020 WN;112;PHX;LAS                    SOUTH DANIELVILLE      OK                    US   61856 133918345@KACHIPYTEL.COM
 2NPH65   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    SOUTH JAMIELAND        MT                    US   61530 133981738@KACHIPYTEL.COM
 2NPH65   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    SOUTH JAMIELAND        MT                    US   61530 133981738@KACHIPYTEL.COM
 2NPH65   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    SOUTH JAMIELAND        MT                    US   61530 133981738@KACHIPYTEL.COM
 2NPH65   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    SOUTH JAMIELAND        MT                    US   61530 133981738@KACHIPYTEL.COM
 2NPH65   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    SOUTH JAMIELAND        MT                    US   61530 133981738@KACHIPYTEL.COM
 2NPH65   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    SOUTH JAMIELAND        MT                    US   61530 133981738@KACHIPYTEL.COM
 2ODVEV   12/28/2020 OB     1/3/2021 WN;4726;BNA;AUS                   PHAADR                 CHANDIGARH            IN   12492 133983201@KACHIPYTEL.COM




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2OL597   12/28/2020 OB   12/28/2020 WN;689;FLL;DEN                    BOYDFORT              MT                  US   49736 133983586@KACHIPYTEL.COM
2OQ874   12/28/2020 OB     1/7/2021 WN;748;JAX;BWI                    SABRINATON            MT                  US   49999 133984136@KACHIPYTEL.COM
2OV8KW   12/28/2020 OB   12/28/2020 WN;156;LGA;ATL                    OLIVEIRA              MINAS GERAIS        BR   22262 133984422@KACHIPYTEL.COM
2PGR7L   12/28/2020 OB   12/28/2020 WN;1427;DTW;PHX                   JAMESLAND             MI                  US   56131 133985577@KACHIPYTEL.COM
2PPDX9   12/28/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     PORT WANDA            NV                  US   93185 133986050@KACHIPYTEL.COM
2PS24F   12/28/2020 OB   12/31/2020 WN;2395;PHX;HOU                   DAVIDFORT             IA                  US   77655 133985984@KACHIPYTEL.COM
2PXP8S   12/28/2020 OB     1/4/2021 WN;290;OMA;DAL;WN;472;DAL;DEN     MORRISFURT            MT                  US   39245 133986633@KACHIPYTEL.COM
2PYWQN   12/28/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   HARPERMOUTH           NE                  US   44875 133986369@KACHIPYTEL.COM
2PYWQN   12/28/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   HARPERMOUTH           NE                  US   44875 133986369@KACHIPYTEL.COM
2Q296E   12/28/2020 OB   12/30/2020 WN;124;MDW;BWI                    DANAFORT              SC                  US   86544 133986743@KACHIPYTEL.COM
2Q296E   12/28/2020 OB   12/30/2020 WN;124;MDW;BWI                    DANAFORT              SC                  US   86544 133986743@KACHIPYTEL.COM
2QUHVB   12/28/2020 OB   12/29/2020 WN;1433;PDX;PHX;WN;1382;PHX;ABQ   JENNIFERBOROUGH       SC                  US   41053 133988602@KACHIPYTEL.COM
2QWP6B   12/28/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     PORT STACEYVILLE      FL                  US   73749 133988481@KACHIPYTEL.COM
2R5OWC   12/28/2020 OB   12/30/2020 WN;135;LGA;ATL;WN;1034;ATL;TPA    NEW SUSANLAND         ME                  US   57801 133988877@KACHIPYTEL.COM
2R6H37   12/28/2020 OB    1/17/2021 WN;2838;MCO;STL                   SOUTH JUSTIN          NJ                  US   66096 133989053@KACHIPYTEL.COM
2R7DA6   12/28/2020 OB   12/28/2020 WN;180;LAS;BWI;WN;3369;BWI;CVG    NORTH JOSE            CT                  US   21058 133988888@KACHIPYTEL.COM
2RI4UG   12/28/2020 OB     1/2/2021 WN;1829;ATL;RDU;WN;1420;RDU;FLL   WEST RICHARDTOWN      ND                  US   30801 133989702@KACHIPYTEL.COM
2RI4UG   12/28/2020 OB     1/2/2021 WN;1829;ATL;RDU;WN;1420;RDU;FLL   WEST RICHARDTOWN      ND                  US   30801 133989702@KACHIPYTEL.COM
2S2TJ9   12/28/2020 OB    2/18/2021 WN;3276;LAX;BNA;WN;4773;BNA;MSY   MICHAELVIEW           OK                  US   12802 133990769@KACHIPYTEL.COM
2S2TJ9   12/28/2020 OB    2/18/2021 WN;3276;LAX;BNA;WN;4773;BNA;MSY   MICHAELVIEW           OK                  US   12802 133990769@KACHIPYTEL.COM
2S8B9G   12/28/2020 OB   12/30/2020 WN;618;OAK;HOU;WN;21;HOU;TUS      CHADTON               ID                  US   98199 133991066@KACHIPYTEL.COM
2SCCGU   12/28/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA   LAKE MICHAELBOROUGH   OH                  US   17650 133991385@KACHIPYTEL.COM
2SCCGU   12/28/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA   LAKE MICHAELBOROUGH   OH                  US   17650 133991385@KACHIPYTEL.COM
2SFQTC   12/28/2020 OB   12/28/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     IOANIVOTON            SOFIA               BG   41937 133991429@KACHIPYTEL.COM
2SWJ3V   12/28/2020 OB   12/28/2020 WN;1320;MCO;FLL;WN;143;FLL;ATL    CHERYLSTAD            NM                  US   78196 133992727@KACHIPYTEL.COM
2T6UWX   12/28/2020 OB     1/3/2021 WN;3939;LAS;LAX                   MARYTON               VT                  US   83981 133993123@KACHIPYTEL.COM
2T956A   12/28/2020 OB   12/28/2020 WN;747;MCO;FLL                    MCKINNEYBURGH         IA                  US    9688 133993079@KACHIPYTEL.COM
2T9B2A   12/28/2020 OB    1/20/2021 WN;2938;PHL;DEN                   EAST BRIDGETCHESTER   MI                  US   30921 133993035@KACHIPYTEL.COM
2TAQR9   12/28/2020 OB   12/30/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    LAKE DEAN             WA                  US   70584 133993343@KACHIPYTEL.COM
2TMUMT   12/28/2020 OB   12/31/2020 WN;4042;FLL;BWI;WN;2593;BWI;BOS   PORT KATHERINETON     NE                  US   91680 133993849@KACHIPYTEL.COM
2TMUMT   12/28/2020 OB   12/31/2020 WN;4042;FLL;BWI;WN;2593;BWI;BOS   PORT KATHERINETON     NE                  US   91680 133993849@KACHIPYTEL.COM
2TOYW8   12/28/2020 OB   12/29/2020 WN;1123;BWI;FLL;WN;197;FLL;SJU    NORTH ROBINPORT       FL                  US   17801 133993849@KACHIPYTEL.COM
2TOYW8   12/28/2020 OB   12/29/2020 WN;1123;BWI;FLL;WN;197;FLL;SJU    NORTH ROBINPORT       FL                  US   17801 133993849@KACHIPYTEL.COM
2U9A2X   12/28/2020 OB     1/6/2021 WN;2008;LAX;SMF;WN;1457;SMF;LAS   SANDRAMOUTH           KS                  US   32650 133994905@KACHIPYTEL.COM
2UHIAA   12/28/2020 OB     1/1/2021 WN;3959;MCO;BNA;WN;2978;BNA;BOS   HANSENFORT            YUKON TERRITORY     CA   48704 133995411@KACHIPYTEL.COM
2UHIAA   12/28/2020 OB     1/1/2021 WN;3959;MCO;BNA;WN;2978;BNA;BOS   HANSENFORT            YUKON TERRITORY     CA   48704 133995411@KACHIPYTEL.COM
2VK62A   12/28/2020 OB     1/1/2021 WN;6716;FLL;DEN;WN;2098;DEN;LAX   ERICBERG              OR                  US   87814 133998304@KACHIPYTEL.COM
2WUYD5   12/28/2020 OB   12/29/2020 WN;1600;TUS;MDW;WN;535;MDW;CVG    WEST LISA             TX                  US   90839 134003078@KACHIPYTEL.COM
2WY3II   12/28/2020 OB   12/29/2020 WN;1352;ATL;HOU                   JULIAFURT             MS                  US   23932 134003452@KACHIPYTEL.COM
2XGBYP   12/28/2020 OB    1/13/2021 WN;3292;FLL;STL;WN;3422;STL;LGA   RAMIREZBERG           DE                  US   65361 134005498@KACHIPYTEL.COM
2XGEXU   12/28/2020 OB   12/28/2020 WN;143;ATL;MDW;WN;530;MDW;DTW     PORT JENNATON         TN                  US   66233 134005872@KACHIPYTEL.COM
2XH986   12/28/2020 OB     1/6/2021 WN;1177;STL;FLL;WN;1259;FLL;PIT   NORTH COREYBOROUGH    IN                  US   92289 134005498@KACHIPYTEL.COM
2XVPLW   12/28/2020 OB   12/28/2020 WN;1427;DTW;PHX                   GUERREROTON           VA                  US   11682 134007027@KACHIPYTEL.COM
332LTG   12/28/2020 OB   12/28/2020 WN;6917;TPA;BNA;WN;834;BNA;ATL    LAKE DAVIDBERG        WV                  US   20260 134019006@KACHIPYTEL.COM
33FQZ7   12/28/2020 OB    1/21/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA   SOUTH ALEJANDRO       NH                  US   53356 134021052@KACHIPYTEL.COM
33I3P2   12/28/2020 OB     1/3/2021 WN;4299;LGA;BNA;WN;4701;BNA;MCO   KENNETHBURGH          ID                  US   41962 134020777@KACHIPYTEL.COM
33YEJ8   12/28/2020 OB     1/2/2021 WN;1521;LGA;DAL;WN;644;DAL;MCO    CAMPBELLFURT          JARASH              JO   85160 134020832.1525993@KACHIPYTEL.COM
344H6R   12/28/2020 OB    1/18/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB    REBEKAHTOWN           MS                  US   19002 134024022@KACHIPYTEL.COM
347RBI   12/28/2020 OB    1/16/2021 WN;3800;AUS;PHX;WN;3696;PHX;LAX   EDWINTON              SD                  US   29626 134024022@KACHIPYTEL.COM
34DBRM   12/28/2020 OB   12/28/2020 WN;1427;DTW;PHX;WN;840;PHX;LGB    WILSONMOUTH           MA                  US   41764 134025507@KACHIPYTEL.COM
34XOTJ   12/28/2020 OB     2/4/2021 WN;430;ATL;PHX;WN;425;PHX;LGB     PINEDAMOUTH           ID                  US   43315 134028345@KACHIPYTEL.COM
352I9Q   12/28/2020 OB   12/31/2020 WN;2002;ATL;BNA;WN;2522;BNA;MCO   PORT SHARONMOUTH      IA                  US   73885 134029115@KACHIPYTEL.COM
355PZ2   12/28/2020 OB   12/29/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    CARTERVIEW            NE                  US   91337 134029357@KACHIPYTEL.COM
355PZ2   12/28/2020 OB   12/29/2020 WN;135;LGA;ATL;WN;1225;ATL;MCO    CARTERVIEW            NE                  US   91337 134029357@KACHIPYTEL.COM
35EKNU   12/28/2020 OB   12/28/2020 WN;900;ATL;MDW;WN;1424;MDW;MSP    CHRISTOPHERMOUTH      MT                  US   54785 134029995@KACHIPYTEL.COM
35EKNU   12/28/2020 OB   12/28/2020 WN;900;ATL;MDW;WN;1424;MDW;MSP    CHRISTOPHERMOUTH      MT                  US   54785 134029995@KACHIPYTEL.COM
35GO8B   12/28/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   NEWTONSHIRE           FL                  US   65935 134030578@KACHIPYTEL.COM
35GO8B   12/28/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   NEWTONSHIRE           FL                  US   65935 134030578@KACHIPYTEL.COM
35GO8B   12/28/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   NEWTONSHIRE           FL                  US   65935 134030578@KACHIPYTEL.COM
35GO8B   12/28/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   NEWTONSHIRE           FL                  US   65935 134030578@KACHIPYTEL.COM
35GO8B   12/28/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   NEWTONSHIRE           FL                  US   65935 134030578@KACHIPYTEL.COM
35GO8B   12/28/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   NEWTONSHIRE           FL                  US   65935 134030578@KACHIPYTEL.COM
35ILTS   12/28/2020 OB   12/29/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     SEANMOUTH             MS                  US   43560 134031304@KACHIPYTEL.COM
35PEOP   12/28/2020 OB   12/28/2020 WN;1266;LAX;OAK;WN;1188;OAK;SLC   HESSVIEW              AR                  US   36669 134031799@KACHIPYTEL.COM
35RVFY   12/28/2020 OB     1/1/2021 WN;2917;PHX;AUS;WN;4065;AUS;LGB   BHDRK                 MAHARASHTRA         IN   84118 134032096@KACHIPYTEL.COM
369JVJ   12/28/2020 OB     2/5/2021 WN;2346;MCI;ATL;WN;3121;ATL;MDW   EAST AMY              NV                  US   98462 134035088@KACHIPYTEL.COM
36GNYQ   12/28/2020 OB   12/29/2020 WN;692;MDW;BWI;WN;1245;BWI;BOS    MOTIHAARII            JAMMU AND KASHMIR   IN   29929 134035682@KACHIPYTEL.COM
36RVUR   12/28/2020 OB   12/31/2020 WN;4941;PDX;LAS;WN;3020;LAS;DEN   SOUTH BRIDGET         ME                  US   74116 134036914@KACHIPYTEL.COM
36UULP   12/28/2020 OB   12/30/2020 WN;1210;PHX;SMF;WN;1522;SMF;LAX   NEW KELLYSTAD         IL                  US   27519 134037431@KACHIPYTEL.COM
36UYG4   12/28/2020 OB     1/2/2021 WN;1829;ATL;RDU;WN;1420;RDU;FLL   NEW WILLIAM           AL                  US   68617 134038036@KACHIPYTEL.COM
375FQ8   12/28/2020 OB     1/3/2021 WN;3482;MIA;BWI                   BOBBYHAVEN            MS                  US   27630 134039279@KACHIPYTEL.COM
376MAW   12/28/2020 OB    1/10/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL   JASONLAND             VT                  US   83102 134039169@KACHIPYTEL.COM
376MAW   12/28/2020 OB    1/10/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL   JASONLAND             VT                  US   83102 134039169@KACHIPYTEL.COM
377TAI   12/28/2020 OB     1/7/2021 WN;6113;RDU;TPA                   LAKE ALAN             MI                  US   28744 134039169@KACHIPYTEL.COM
377TAI   12/28/2020 OB     1/8/2021 WN;4143;TPA;MIA                   LAKE ALAN             MI                  US   28744 134039169@KACHIPYTEL.COM
377TAI   12/28/2020 OB     1/7/2021 WN;6113;RDU;TPA                   LAKE ALAN             MI                  US   28744 134039169@KACHIPYTEL.COM
377TAI   12/28/2020 OB     1/8/2021 WN;4143;TPA;MIA                   LAKE ALAN             MI                  US   28744 134039169@KACHIPYTEL.COM
37BUBC   12/28/2020 OB     1/1/2021 WN;4003;SJU;MCO;WN;2438;MCO;FLL   CRYSTALBURGH          AL                  US   83931 134040027@KACHIPYTEL.COM
38A6VO   12/28/2020 OB   12/30/2020 WN;949;BUF;TPA;WN;2277;TPA;MDW    KRISTABURY            IN                  US   70594 134044878@KACHIPYTEL.COM
38A6VO   12/28/2020 OB   12/30/2020 WN;949;BUF;TPA;WN;2277;TPA;MDW    KRISTABURY            IN                  US   70594 134044878@KACHIPYTEL.COM
38DKQE   12/28/2020 OB   12/29/2020 WN;6803;DEN;HOU                   NIELSENSIDE           NH                  US   82917 134045637@KACHIPYTEL.COM
38MGJR   12/28/2020 OB   12/31/2020 WN;5013;TPA;BNA;WN;1966;BNA;ATL   MELENDEZSTAD          UT                  US   85350 134046429@KACHIPYTEL.COM
38Q7T6   12/28/2020 OB     1/2/2021 WN;735;DEN;SMF;WN;816;SMF;SEA     CNBAA                 MADHYA PRADESH      IN     703 134047518@KACHIPYTEL.COM
38X4CB   12/28/2020 OB   12/31/2020 WN;4413;DTW;BWI;WN;3111;BWI;BOS   GEORGEMOUTH           KS                  US   23302 134047705@KACHIPYTEL.COM
38X4CB   12/28/2020 OB   12/31/2020 WN;4413;DTW;BWI;WN;3111;BWI;BOS   GEORGEMOUTH           KS                  US   23302 134047705@KACHIPYTEL.COM
38X4CB   12/28/2020 OB   12/31/2020 WN;4413;DTW;BWI;WN;3111;BWI;BOS   GEORGEMOUTH           KS                  US   23302 134047705@KACHIPYTEL.COM
396SY4   12/28/2020 OB   12/31/2020 WN;4547;PHL;ATL                   CHAMBERSTOWN          KY                  US   21962 134049223@KACHIPYTEL.COM
396SY4   12/28/2020 OB   12/31/2020 WN;4547;PHL;ATL                   CHAMBERSTOWN          KY                  US   21962 134049223@KACHIPYTEL.COM
396SY4   12/28/2020 OB   12/31/2020 WN;4547;PHL;ATL                   CHAMBERSTOWN          KY                  US   21962 134049223@KACHIPYTEL.COM
397QE4   12/28/2020 OB     1/6/2021 WN;984;ATL;BWI;WN;1526;BWI;MCO    JONATHONBOROUGH       GA                  US   10085 134048937@KACHIPYTEL.COM
39A6D3   12/28/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     EAST BRENDATOWN       NV                  US   93848 134050037@KACHIPYTEL.COM
39DXWQ   12/28/2020 OB   12/31/2020 WN;3348;LGA;ATL                   NORTH TROY            AZ                  US   16606 134050312@KACHIPYTEL.COM
39HJ7T   12/28/2020 OB   12/30/2020 WN;933;DTW;BWI;WN;242;BWI;BOS     SALA SARDO            ORISTANO            IT   81494 134050785@KACHIPYTEL.COM
39K8F9   12/28/2020 OB     1/2/2021 WN;2314;PHX;BNA;WN;1651;BNA;MSP   LOPEZBURY             GA                  US   55814 134039213@KACHIPYTEL.COM
39QA7R   12/28/2020 OB   12/30/2020 WN;6563;LAX;BNA                   RICHARDSHIRE          MT                  US    6947 134051610@KACHIPYTEL.COM
39TOES   12/28/2020 OB   12/31/2020 WN;2900;ATL;HOU;WN;568;HOU;MDW    WEST CHRISTINEVILLE   ME                  US   68404 134051621@KACHIPYTEL.COM
39UZX3   12/28/2020 OB     1/4/2021 WN;1210;PHX;SMF;WN;1522;SMF;LAX   STACEYLAND            PA                  US   84820 134051522@KACHIPYTEL.COM
39Y7NW   12/28/2020 OB     1/1/2021 WN;2083;AUS;BWI;WN;3195;BWI;MCO   TARRAGONA             CEUTA               ES   85217 134052105@KACHIPYTEL.COM
3A3M52   12/28/2020 OB     1/1/2021 WN;3348;LGA;ATL                   AMBERSIDE             DE                  US   90092 134052215@KACHIPYTEL.COM
3AAL3B   12/28/2020 OB     1/5/2021 WN;563;LAS;SJC                    WEST LAUREN           UT                  US   75994 134053590@KACHIPYTEL.COM
3AJOEX   12/28/2020 OB     1/3/2021 WN;2736;CMH;LAS;WN;3700;LAS;OMA   SOUTH SCOTTBURGH      DE                  US   61453 134054437@KACHIPYTEL.COM
3AJOEX   12/28/2020 OB     1/3/2021 WN;2736;CMH;LAS;WN;3700;LAS;OMA   SOUTH SCOTTBURGH      DE                  US   61453 134054437@KACHIPYTEL.COM
3AMJDW   12/28/2020 OB     1/1/2021 WN;2002;ATL;BNA;WN;2522;BNA;MCO   NEW JORDANMOUTH       RI                  US    3417 134054767@KACHIPYTEL.COM
3B2TD8   12/28/2020 OB     1/2/2021 WN;2248;LAS;MDW                   WEST WALTER           CA                  US   22006 134055790@KACHIPYTEL.COM
3B3VI4   12/28/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   WEST LORI             KY                  US   78919 134055790@KACHIPYTEL.COM
3B4OHJ   12/28/2020 OB   12/29/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     SOUTH RICHARD         WY                  US   58728 134056109@KACHIPYTEL.COM
3B8Q6J   12/28/2020 OB    1/15/2021 WN;2931;AUS;BNA;WN;5006;BNA;DAL   ROSSCHESTER           CO                  US   14659 134056593@KACHIPYTEL.COM
3BF2MW   12/28/2020 OB     1/6/2021 WN;1051;MIA;BWI;WN;6803;BWI;SJU   WILLIAMPORT           NE                  US   36957 134056824@KACHIPYTEL.COM
3BFUG2   12/28/2020 OB   12/31/2020 WN;1589;MDW;HOU;WN;3459;HOU;TUL   SOUTH SIERRA          HI                  US   99013 134056890@KACHIPYTEL.COM




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3BPV3U   12/28/2020 OB     1/6/2021 WN;1051;MIA;BWI;WN;6803;BWI;SJU   PORT ELIZABETHSIDE     RI                 US    1712 134057583@KACHIPYTEL.COM
3BPVI3   12/28/2020 OB     1/1/2021 WN;1962;MCO;MDW                   CINDYBERG              MD                 US   98894 134057693@KACHIPYTEL.COM
3BPVI3   12/28/2020 OB     1/1/2021 WN;4910;MDW;LGA                   CINDYBERG              MD                 US   98894 134057693@KACHIPYTEL.COM
3BUWQ6   12/28/2020 OB     1/4/2021 WN;802;LAS;BWI;WN;242;BWI;BOS     BRYANBERG              NC                 US   32848 134057924@KACHIPYTEL.COM
3BVF3J   12/28/2020 OB   12/31/2020 WN;3239;BWI;LAS;WN;1900;LAS;SEA   MELISSACHESTER         AL                 US   32541 134057924@KACHIPYTEL.COM
3BXMXK   12/28/2020 OB   12/29/2020 WN;984;ATL;BWI;WN;6914;BWI;SJU    EAST WHITNEY           GA                 US   46335 134058034@KACHIPYTEL.COM
3BXPYE   12/28/2020 OB   12/31/2020 WN;3239;BWI;LAS;WN;1900;LAS;SEA   EDWARDSTON             CO                 US   82077 134058364@KACHIPYTEL.COM
3BYBPT   12/28/2020 OB     1/1/2021 WN;2411;BWI;ATL                   NORTH BRANDON          MS                 US   93688 134058034@KACHIPYTEL.COM
3C2VXX   12/28/2020 OB   12/29/2020 WN;125;MSY;DEN;WN;1252;DEN;PHX    TRACYBERG              FL                 US   95433 134058320@KACHIPYTEL.COM
3C2VXX   12/28/2020 OB   12/29/2020 WN;125;MSY;DEN;WN;1252;DEN;PHX    TRACYBERG              FL                 US   95433 134058320@KACHIPYTEL.COM
3C36RU   12/28/2020 OB     1/4/2021 WN;802;LAS;BWI;WN;242;BWI;BOS     CRYSTALSHIRE           NV                 US   79159 134058364@KACHIPYTEL.COM
3C6REA   12/28/2020 OB    3/26/2021 WN;1841;MSP;HOU;WN;827;HOU;PHX    GLORIAMOUTH            NC                 US   57071 134058837@KACHIPYTEL.COM
3CAN74   12/28/2020 OB   12/29/2020 WN;1116;MDW;ATL;WN;3360;ATL;LGA   RENAULT                WALLISETFUTUNA     FR   94310 134059189@KACHIPYTEL.COM
3CFP4W   12/28/2020 OB   12/29/2020 WN;854;MSP;DEN;WN;157;DEN;ATL     MANGUALDE              COIMBRA            PT   93077 134059365@KACHIPYTEL.COM
3CFP4W   12/28/2020 OB   12/29/2020 WN;854;MSP;DEN;WN;157;DEN;ATL     MANGUALDE              COIMBRA            PT   93077 134059365@KACHIPYTEL.COM
3CFP4W   12/28/2020 OB   12/29/2020 WN;854;MSP;DEN;WN;157;DEN;ATL     MANGUALDE              COIMBRA            PT   93077 134059365@KACHIPYTEL.COM
3D2PFK   12/29/2020 OB     1/3/2021 WN;3613;TPA;DEN;WN;6756;DEN;TUL   WEST CHRISTOPHERBERG   ND                 US   15106 134061708@KACHIPYTEL.COM
3DBB9B   12/29/2020 OB    1/14/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   CYNTHIAMOUTH           KY                 US   60156 134062588@KACHIPYTEL.COM
3DGTYO   12/29/2020 OB   12/29/2020 WN;135;LGA;ATL                    EAST PATRICIATOWN      TX                 US   59041 134062654@KACHIPYTEL.COM
3DI2AA   12/29/2020 OB   12/31/2020 WN;2568;ATL;LAS                   LANEMOUTH              DE                 US   33312 134062786@KACHIPYTEL.COM
3DI2AA   12/29/2020 OB   12/31/2020 WN;2568;ATL;LAS                   LANEMOUTH              DE                 US   33312 134062786@KACHIPYTEL.COM
3DPAQM   12/29/2020 OB   12/31/2020 WN;2664;BOS;BNA;WN;2522;BNA;MCO   FARMERMOUTH            AR                 US   14455 134063325@KACHIPYTEL.COM
3DTHEX   12/29/2020 OB     1/5/2021 WN;593;FLL;MDW;WN;1117;MDW;CLE    GONZALEZMOUTH          AZ                 US   34249 134063589@KACHIPYTEL.COM
3DTHEX   12/29/2020 OB     1/5/2021 WN;593;FLL;MDW;WN;1117;MDW;CLE    GONZALEZMOUTH          AZ                 US   34249 134063589@KACHIPYTEL.COM
3E4JKE   12/29/2020 OB   12/30/2020 WN;1320;FLL;BWI;WN;6914;BWI;SJU   EAST DEBBIEBURGH       WA                 US   81693 134064304@KACHIPYTEL.COM
3E4JKE   12/29/2020 OB   12/30/2020 WN;1320;FLL;BWI;WN;6914;BWI;SJU   EAST DEBBIEBURGH       WA                 US   81693 134064304@KACHIPYTEL.COM
3E4JKE   12/29/2020 OB   12/30/2020 WN;1320;FLL;BWI;WN;6914;BWI;SJU   EAST DEBBIEBURGH       WA                 US   81693 134064304@KACHIPYTEL.COM
3E4JKE   12/29/2020 OB   12/30/2020 WN;1320;FLL;BWI;WN;6914;BWI;SJU   EAST DEBBIEBURGH       WA                 US   81693 134064304@KACHIPYTEL.COM
3E5599   12/29/2020 OB    2/13/2021 WN;3800;AUS;PHX;WN;2063;PHX;LGB   BHAADURGNJ             HIMACHAL PRADESH   IN   73534 134064216@KACHIPYTEL.COM
3E5599   12/29/2020 OB    2/13/2021 WN;3800;AUS;PHX;WN;2063;PHX;LGB   BHAADURGNJ             HIMACHAL PRADESH   IN   73534 134064216@KACHIPYTEL.COM
3ERUW8   12/29/2020 OB   12/31/2020 WN;2434;TPA;ATL;WN;2707;ATL;LGA   HOOPERCHESTER          KY                 US   94388 134065536@KACHIPYTEL.COM
3ESNSB   12/29/2020 OB     1/1/2021 WN;4572;PHX;BWI;WN;3551;BWI;CVG   NICOLEPORT             VA                 US   80319 134065591@KACHIPYTEL.COM
3F2YZ7   12/29/2020 OB   12/31/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   FERRARO SARDO          SARDEGNA           IT   83929 134066152@KACHIPYTEL.COM
3F2YZ7   12/29/2020 OB   12/31/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   FERRARO SARDO          SARDEGNA           IT   83929 134066152@KACHIPYTEL.COM
3F3BB7   12/29/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   EAST LISA              KY                 US   86273 134066471@KACHIPYTEL.COM
3F3BB7   12/29/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   EAST LISA              KY                 US   86273 134066471@KACHIPYTEL.COM
3F9DQ7   12/29/2020 OB    1/14/2021 WN;4842;PHX;SMF;WN;2904;SMF;SAN   WEST DANASTAD          NJ                 US   41046 134066834@KACHIPYTEL.COM
3F9DQ7   12/29/2020 OB    1/14/2021 WN;4842;PHX;SMF;WN;2904;SMF;SAN   WEST DANASTAD          NJ                 US   41046 134066834@KACHIPYTEL.COM
3F9LNF   12/29/2020 OB     1/3/2021 WN;4077;LAX;MDW;WN;2899;MDW;MSP   NEW ROBINBOROUGH       IN                 US   34792 134066603@KACHIPYTEL.COM
3FARUL   12/29/2020 OB   12/29/2020 WN;1082;MSP;DEN;WN;623;DEN;ATL    WEST JESSICA           WA                 US   55073 134067032@KACHIPYTEL.COM
3FC53Y   12/29/2020 OB   12/31/2020 WN;4385;SEA;OAK;WN;2340;OAK;DEN   SOUTH FLAVIIAVIEW      MONTANA            BG   42753 134067120@KACHIPYTEL.COM
3FGLCH   12/29/2020 OB     1/3/2021 WN;3096;SAN;LAS;WN;2291;LAS;SFO   BLOT                   OISE               FR   13563 134067252@KACHIPYTEL.COM
3FM25V   12/29/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   PORT JIMMY             NJ                 US   77326 134067813@KACHIPYTEL.COM
3FM25V   12/29/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   PORT JIMMY             NJ                 US   77326 134067813@KACHIPYTEL.COM
3FMUP9   12/29/2020 OB     1/5/2021 WN;631;ATL;BWI;WN;142;BWI;MIA     SANDOVALPORT           WV                 US   43576 134067846@KACHIPYTEL.COM
3FQRFO   12/29/2020 OB   12/30/2020 WN;1046;OAK;DAL;WN;230;DAL;MCO    HOROROHEHORO           NELSON CITY        NZ   89413 134068055@KACHIPYTEL.COM
3FXLJ8   12/29/2020 OB     1/7/2021 WN;2603;MKE;TPA;WN;4143;TPA;MIA   NORTH KYLE             UT                 US   87641 134068550@KACHIPYTEL.COM
3G4892   12/29/2020 OB   12/30/2020 WN;154;LGA;STL;WN;1369;STL;MCO    VERNAR                 TRENCIANSKY KRAJ   SK   61815 134068858@KACHIPYTEL.COM
3GFURJ   12/29/2020 OB   12/29/2020 WN;1181;LGA;ATL                   RACHAELPORT            NE                 US   39568 134069826@KACHIPYTEL.COM
3GJKDM   12/29/2020 OB     1/4/2021 WN;1087;ATL;BWI;WN;331;BWI;MIA    JENNATOWN              NM                 US   15096 134070035@KACHIPYTEL.COM
3GOFGU   12/29/2020 OB   12/29/2020 WN;630;IND;ATL;WN;6852;ATL;HOU    LAKE DANIEL            MI                 US   33589 134070662@KACHIPYTEL.COM
3GRSY3   12/29/2020 OB     1/1/2021 WN;3633;LAS;ATL;WN;2746;ATL;FLL   LAKE COLIN             SD                 US   31030 134071025@KACHIPYTEL.COM
3H4XL4   12/29/2020 OB   12/29/2020 WN;649;TPA;DEN;WN;45;DEN;LIT      SOUTH JOHNSIDE         TN                 US   18808 134071531@KACHIPYTEL.COM
3H4XL4   12/29/2020 OB   12/29/2020 WN;649;TPA;DEN;WN;45;DEN;LIT      SOUTH JOHNSIDE         TN                 US   18808 134071531@KACHIPYTEL.COM
3HS9NB   12/29/2020 OB   12/29/2020 WN;1202;MDW;MCO;WN;2079;MCO;SDF   LAKE DEBRA             CT                 US   82583 134072719@KACHIPYTEL.COM
3HTVLK   12/29/2020 OB   12/31/2020 WN;4115;MCO;MDW;WN;4910;MDW;LGA   BLAKESHIRE             WV                 US   77110 134072719@KACHIPYTEL.COM
3HYGES   12/29/2020 OB   12/29/2020 WN;156;LGA;ATL;WN;133;ATL;MCO     DANIELLEPORT           NY                 US   84036 134073357@KACHIPYTEL.COM
3I28DB   12/29/2020 OB     1/5/2021 WN;593;FLL;MDW                    MATABURY               GA                 US   52683 134073170@KACHIPYTEL.COM
3I6GQ7   12/29/2020 OB     1/2/2021 WN;907;MBJ;BWI;WN;102;BWI;MIA     LAKE BRANDON           TX                 US   18119 134073533@KACHIPYTEL.COM
3I86DY   12/29/2020 OB   12/31/2020 WN;5020;TPA;DEN;WN;1454;DEN;MSP   NEW JESSICA            MT                 US   65588 134073522@KACHIPYTEL.COM
3I8ZSY   12/29/2020 OB   12/30/2020 WN;630;IND;ATL;WN;136;ATL;AUS     NORTH JEANPORT         KS                 US   28933 134073720@KACHIPYTEL.COM
3I99IL   12/29/2020 OB   12/29/2020 WN;1068;SLC;OAK                   NEW CHARLES            KS                 US   42954 134073423@KACHIPYTEL.COM
3I9QHO   12/29/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     NORTH ROBERT           VA                 US   82450 134073786@KACHIPYTEL.COM
3ILJK8   12/29/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     SCOTTBURGH             AK                 US   54649 134074061@KACHIPYTEL.COM
3IWQGH   12/29/2020 OB     1/5/2021 WN;603;MCO;MDW;WN;1192;MDW;CLT    NYAAKOSIDE             UPPER WEST         GH   83331 134074952@KACHIPYTEL.COM
3JCQUZ   12/29/2020 OB     1/1/2021 WN;3223;LAS;MDW;WN;1360;MDW;FLL   WEST AMANDA            VT                 US   69826 134076041@KACHIPYTEL.COM
3JCQUZ   12/29/2020 OB     1/1/2021 WN;3223;LAS;MDW;WN;1360;MDW;FLL   WEST AMANDA            VT                 US   69826 134076041@KACHIPYTEL.COM
3JEDL3   12/29/2020 OB   12/29/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    NEW AUSTIN             MT                 US   42939 134076041@KACHIPYTEL.COM
3JEDL3   12/29/2020 OB   12/29/2020 WN;1274;MDW;LAS;WN;566;LAS;SEA    NEW AUSTIN             MT                 US   42939 134076041@KACHIPYTEL.COM
3JRDL7   12/29/2020 OB   12/29/2020 WN;1116;MDW;ATL;WN;3360;ATL;LGA   DAVISCHESTER           MOSTA              MT   20821 134076855@KACHIPYTEL.COM
3JTTIE   12/29/2020 OB     1/2/2021 WN;1960;MSP;MDW;WN;2407;MDW;PHX   TRIBENII               JHARKHAND          IN   83614 134077284@KACHIPYTEL.COM
3KL6AS   12/29/2020 OB     1/5/2021 WN;967;MCO;MDW;WN;1026;MDW;MSP    EAST HEATHERCHESTER    VA                 US   34733 134079418@KACHIPYTEL.COM
3KN3QV   12/29/2020 OB    1/15/2021 WN;2193;CLT;MDW                   CARLOSBOROUGH          VT                 US   98491 134079451@KACHIPYTEL.COM
3NUFRT   12/29/2020 OB     1/6/2021 WN;1051;MIA;BWI;WN;2285;BWI;CLE   WHITNEYPORT            MO                 US   76319 134091430@KACHIPYTEL.COM
3O422R   12/29/2020 OB     1/2/2021 WN;907;MBJ;BWI;WN;102;BWI;MIA     NEW SARAHCHESTER       KY                 US   68133 134092046@KACHIPYTEL.COM
3O422R   12/29/2020 OB     1/2/2021 WN;907;MBJ;BWI;WN;102;BWI;MIA     NEW SARAHCHESTER       KY                 US   68133 134092046@KACHIPYTEL.COM
3OP2VB   12/29/2020 OB     1/6/2021 WN;675;RIC;ATL;WN;772;ATL;FLL     PORT DAVID             HI                 US   41248 134094037@KACHIPYTEL.COM
3PCL7P   12/29/2020 OB     1/4/2021 WN;112;ATL;PHX;WN;1196;PHX;GEG    EAST TIMOTHY           ME                 US   41631 134096974@KACHIPYTEL.COM
3PK3C2   12/29/2020 OB   12/30/2020 WN;247;MDW;DAL;WN;247;DAL;LAS     REEDVILLE              NJ                 US   47325 134099031@KACHIPYTEL.COM
3QGLX5   12/29/2020 OB     1/4/2021 WN;107;SEA;SMF                    LARABOROUGH            VT                 US     628 134102672@KACHIPYTEL.COM
3QPLCG   12/29/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;665;DEN;OAK      JENNIFERTOWN           VT                 US   57628 134103046@KACHIPYTEL.COM
3QPLCG   12/29/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;665;DEN;OAK      JENNIFERTOWN           VT                 US   57628 134103046@KACHIPYTEL.COM
3QPLCG   12/29/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;665;DEN;OAK      JENNIFERTOWN           VT                 US   57628 134103046@KACHIPYTEL.COM
3QPLCG   12/29/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;665;DEN;OAK      JENNIFERTOWN           VT                 US   57628 134103046@KACHIPYTEL.COM
3QPLCG   12/29/2020 OB   12/30/2020 WN;51;MCO;DEN;WN;665;DEN;OAK      JENNIFERTOWN           VT                 US   57628 134103046@KACHIPYTEL.COM
3R26C3   12/29/2020 OB    1/13/2021 WN;41;DAL;HOU;WN;2723;HOU;MIA     LISALAND               MT                 US   81979 134105796@KACHIPYTEL.COM
3R4EFA   12/29/2020 OB   12/30/2020 WN;6863;IND;ATL;WN;6271;ATL;AUS   PORT ALEXANDRIA        DE                 US   54723 134105983@KACHIPYTEL.COM
3R6FTR   12/29/2020 OB    1/13/2021 WN;41;DAL;HOU;WN;2723;HOU;MIA     KEVINVILLE             MN                 US   96752 134105840@KACHIPYTEL.COM
3RI8V3   12/29/2020 OB   12/31/2020 WN;4994;STL;MCO;WN;1945;MCO;CMH   JACOBBERG              MD                 US   69317 134107941@KACHIPYTEL.COM
3RIKSR   12/29/2020 OB     1/1/2021 WN;3663;LAS;MDW;WN;2611;MDW;FLL   CONWAYLAND             NM                 US   18735 134108062@KACHIPYTEL.COM
3RIKSR   12/29/2020 OB     1/1/2021 WN;3663;LAS;MDW;WN;2611;MDW;FLL   CONWAYLAND             NM                 US   18735 134108062@KACHIPYTEL.COM
3RK27F   12/29/2020 OB   12/29/2020 WN;52;LAX;HOU                     SOUTH CHRISTINACHEST   OH                 US   62374 134108425@KACHIPYTEL.COM
3RLROT   12/29/2020 OB     1/5/2021 WN;1008;ATL;BWI;WN;749;BWI;MCO    LAKE MATHEW            ME                 US   96360 134108392@KACHIPYTEL.COM
3RNLKP   12/29/2020 OB     1/4/2021 WN;983;MCO;STL;WN;200;STL;LGA     FERNANDEZCHESTER       TN                 US   22279 134107941@KACHIPYTEL.COM
3ROTNC   12/29/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   NEW CONNIE             NC                 US   18190 134108953@KACHIPYTEL.COM
3ROTNC   12/29/2020 OB   12/31/2020 WN;3558;ATL;MDW;WN;3256;MDW;MCO   NEW CONNIE             NC                 US   18190 134108953@KACHIPYTEL.COM
3SCFQT   12/29/2020 OB   12/29/2020 WN;2008;LAX;SMF;WN;1457;SMF;LAS   NURIABERG              NEW BRUNSWICK      CA   53664 134111912@KACHIPYTEL.COM
3SL68D   12/29/2020 OB     1/3/2021 WN;3745;LAS;MDW;WN;1740;MDW;FLL   EAST THOMASTOWN        NC                 US   12772 134112825@KACHIPYTEL.COM
3SRKV5   12/29/2020 OB   12/31/2020 WN;3111;OAK;DAL                   WEST KRISTINCHESTER    IL                 US   18210 134113529@KACHIPYTEL.COM
3SSXP6   12/29/2020 OB     1/3/2021 WN;4057;PHL;MDW;WN;4162;MDW;MIA   JISSEBELAARII          UTTAR PRADESH      IN   28098 133175691.1526669@KACHIPYTEL.COM
3ST7JQ   12/29/2020 OB     1/4/2021 WN;631;ATL;BWI;WN;277;BWI;TPA     NORTH CYNTHIA          DE                 US   46922 134114321@KACHIPYTEL.COM
3T6QI4   12/29/2020 OB   12/31/2020 WN;3121;ATL;MDW;WN;4491;MDW;DTW   SEANTOWN               MO                 US   94710 134116125@KACHIPYTEL.COM
3TP3GF   12/29/2020 OB     1/9/2021 WN;1685;ATL;PHX;WN;3641;PHX;MCI   LAKE ISAIAHLAND        MA                 US   64736 134118534@KACHIPYTEL.COM
3TRZ7B   12/29/2020 OB     1/4/2021 WN;984;MDW;ATL;WN;551;ATL;FLL     CAROLTOWN              MD                 US   43581 134118897@KACHIPYTEL.COM
3TXOT5   12/29/2020 OB   12/31/2020 WN;3422;LGA;DEN;WN;2587;DEN;RNO   PORT MIRANDA           OR                 US   19582 134119579@KACHIPYTEL.COM
3TZNOE   12/29/2020 OB   12/30/2020 WN;1123;BWI;FLL;WN;197;FLL;SJU    LAKE ANTHONY           MN                 US   85481 134120690@KACHIPYTEL.COM
3UAHMU   12/29/2020 OB     1/1/2021 WN;3348;LGA;ATL;WN;3082;ATL;MCO   PORT JENNIFER          VA                 US   41606 134121922@KACHIPYTEL.COM
3UH7M6   12/29/2020 OB     1/3/2021 WN;3119;LGA;DEN;WN;1613;DEN;RNO   JAMESTON               MO                 US   72754 134122934@KACHIPYTEL.COM
3UH7M6   12/29/2020 OB     1/3/2021 WN;3119;LGA;DEN;WN;1613;DEN;RNO   JAMESTON               MO                 US   72754 134122934@KACHIPYTEL.COM




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 3UIDTR            12/29/2020 OB   12/30/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    RICKEYCHESTER        VA                         US   60734 134123044@KACHIPYTEL.COM
 3UIDTR            12/29/2020 OB   12/30/2020 WN;314;MDW;BWI;WN;1245;BWI;BOS    RICKEYCHESTER        VA                         US   60734 134123044@KACHIPYTEL.COM
 3UKQZI            12/29/2020 OB     1/5/2021 WN;366;DEN;BWI;WN;102;BWI;MIA     PORT KEVIN           IL                         US   49173 134123495@KACHIPYTEL.COM
 3V922Z            12/29/2020 OB   12/31/2020 WN;845;MSP;MDW;WN;3388;MDW;MCO    FISHERMOUTH          AR                         US   13894 134126311@KACHIPYTEL.COM
 3VFQ37            12/29/2020 OB   12/30/2020 WN;156;LGA;ATL                    STEVENTON            NE                         US   40512 134127609@KACHIPYTEL.COM
 3VHMQT            12/29/2020 OB     1/1/2021 WN;3338;TPA;HOU                   JOHNSTONBURGH        DE                         US   51947 134127620@KACHIPYTEL.COM
 3VHS7D            12/29/2020 OB     1/7/2021 WN;239;AUS;SJC;WN;2408;SJC;LGB    PORT KENDRAHAVEN     NC                         US   82209 134127499@KACHIPYTEL.COM
 3VY5IL            12/29/2020 OB    1/15/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO   SOUTH GREGORY        DE                         US   18492 134130095@KACHIPYTEL.COM
 3W8UFZ            12/29/2020 OB    1/24/2021 WN;1933;STL;MDW;WN;3324;MDW;CMH   THOMASSIDE           MS                         US   52436 134130590@KACHIPYTEL.COM
 3WBT6Y            12/29/2020 OB    1/11/2021 WN;4690;PIT;DEN;WN;4693;DEN;OAK   EAST SALLYSIDE       MI                         US   81440 134131437@KACHIPYTEL.COM
 3WSZTE            12/29/2020 OB   12/30/2020 WN;493;ABQ;DEN;WN;1289;DEN;SEA    LAKE KEVIN           CA                         US   12832 134133197@KACHIPYTEL.COM
 3WV292            12/29/2020 OB     1/5/2021 WN;161;SMF;MDW;WN;1565;MDW;MSY    EAST KIMBERLY        UT                         US   14914 134133780@KACHIPYTEL.COM
 3X8V4C            12/29/2020 OB   12/31/2020 WN;2500;BNA;DEN;WN;4820;DEN;LIT   WALKERBERG           SD                         US   16460 134134726@KACHIPYTEL.COM
 3XRUJ9            12/29/2020 OB     1/2/2021 WN;1067;LGA;MDW;WN;2014;MDW;MCO   GRAHAMLAND           VA                         US   76676 134136684@KACHIPYTEL.COM
 3XXRTB            12/29/2020 OB     1/1/2021 WN;3075;MIA;BWI                   EAST MORGAN          CT                         US   42500 134136673@KACHIPYTEL.COM
 3YA84W            12/29/2020 OB   12/30/2020 WN;2345;IND;BWI;WN;1319;BWI;BNA   DICKERSONVIEW        PA                         US   45622 134138202@KACHIPYTEL.COM
 3YA84W            12/29/2020 OB   12/30/2020 WN;2345;IND;BWI;WN;1319;BWI;BNA   DICKERSONVIEW        PA                         US   45622 134138202@KACHIPYTEL.COM
 3YDBU5            12/29/2020 OB   12/30/2020 WN;2888;CLT;DEN;WN;6267;DEN;MSY   WASHINGTONBURY       IA                         US   69860 134138301@KACHIPYTEL.COM
 3YIQW9            12/29/2020 OB     1/1/2021 WN;1059;MSY;BWI;WN;102;BWI;MIA    EAST MEGANBOROUGH    ID                         US    5793 134138675@KACHIPYTEL.COM
 3YP5AC            12/29/2020 OB     1/1/2021 WN;2208;TPA;MDW;WN;2255;MDW;BOS   NORTH REBEKAHLAND    MD                         US   71538 134139126@KACHIPYTEL.COM
 3YUF4Y            12/29/2020 OB     1/5/2021 WN;1019;SJU;TPA                   NORTH MARIALAND      NH                         US   26967 134139808@KACHIPYTEL.COM
 3YY2GG            12/29/2020 OB     1/2/2021 WN;1067;LGA;MDW;WN;2014;MDW;MCO   LAKE LISA            MT                         US   55087 134139665@KACHIPYTEL.COM
 3Z6H3S            12/29/2020 OB   12/30/2020 WN;1082;MSP;DEN;WN;959;DEN;PDX    DAVIDSONSIDE         AZ                         US   47297 134140094@KACHIPYTEL.COM
 3Z7EBJ            12/30/2020 OB     1/1/2021 WN;2234;LAX;STL;WN;2421;STL;MCO   EAST RYANMOUTH       MO                         US    2336 134140435@KACHIPYTEL.COM
 3ZD5QK            12/30/2020 OB    1/10/2021 WN;239;AUS;SJC;WN;2877;SJC;LAX    AHMDAABAAD           HIMACHAL PRADESH           IN   95840 134140468@KACHIPYTEL.COM
 3ZVPXT            12/30/2020 OB     1/2/2021 WN;234;MSP;MDW;WN;2303;MDW;PHX    PORT MICHELLE        MN                         US   83889 134141645@KACHIPYTEL.COM
 4222D7            12/30/2020 OB     1/2/2021 WN;2213;BNA;MDW;WN;1078;MDW;MIA   SWEENEYTON           MD                         US   77955 134141997@KACHIPYTEL.COM
 427ATE            12/30/2020 OB     1/2/2021 WN;1765;LAX;BNA;WN;1651;BNA;MSP   RACHELSTAD           AK                         US   95760 134142426@KACHIPYTEL.COM
 42CBKS            12/30/2020 OB    1/10/2021 WN;4986;STL;DEN                   NEW AUTUMN           DE                         US   23508 134142767@KACHIPYTEL.COM
 42H5XF            12/30/2020 OB   12/30/2020 WN;1201;BWI;OAK;WN;2532;OAK;GEG   PATRICKTOWN          KY                         US   22273 134142976@KACHIPYTEL.COM
 42HTJK            12/30/2020 OB     1/1/2021 WN;3343;LGA;ATL;WN;2228;ATL;MCO   CAROLYNFORT          UT                         US   44968 134142800@KACHIPYTEL.COM
 42HTJK            12/30/2020 OB     1/1/2021 WN;3343;LGA;ATL;WN;2228;ATL;MCO   CAROLYNFORT          UT                         US   44968 134142800@KACHIPYTEL.COM
 42IYLH            12/30/2020 OB     1/1/2021 WN;3348;LGA;ATL                   ALEXANDERMOUTH       OH                         US    5768 134143383@KACHIPYTEL.COM
 42SDC3            12/30/2020 OB   12/30/2020 WN;1082;MSP;DEN;WN;959;DEN;PDX    PORT MATTHEW         ME                         US   37826 134143691@KACHIPYTEL.COM
 42SDC3            12/30/2020 OB   12/30/2020 WN;1082;MSP;DEN;WN;959;DEN;PDX    PORT MATTHEW         ME                         US   37826 134143691@KACHIPYTEL.COM
 42VOMM            12/30/2020 OB     1/1/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WEST OZGE            CANAKKALE                  TR   35844 134144296@KACHIPYTEL.COM
 42Z98P            12/30/2020 OB   12/31/2020 WN;2936;DCA;ATL;WN;4547;ATL;GSP   KIMBERLYFORT         SC                         US   28271 134144153@KACHIPYTEL.COM
 43KQ5T            12/30/2020 OB   12/30/2020 WN;382;DEN;HOU;WN;484;HOU;ABQ     MATTHEWMOUTH         AL                         US    9747 134145495@KACHIPYTEL.COM
 43KQ5T            12/30/2020 OB   12/30/2020 WN;382;DEN;HOU;WN;484;HOU;ABQ     MATTHEWMOUTH         AL                         US    9747 134145495@KACHIPYTEL.COM
 43KQ5T            12/30/2020 OB   12/30/2020 WN;382;DEN;HOU;WN;484;HOU;ABQ     MATTHEWMOUTH         AL                         US    9747 134145495@KACHIPYTEL.COM
 43KQ5T            12/30/2020 OB   12/30/2020 WN;382;DEN;HOU;WN;484;HOU;ABQ     MATTHEWMOUTH         AL                         US    9747 134145495@KACHIPYTEL.COM
 43OGGB            12/30/2020 OB     1/1/2021 WN;3348;LGA;ATL                   NEW KRISTS           NERETAS NOVADS             LV   16576 134145561@KACHIPYTEL.COM
 43RHAE            12/30/2020 OB   12/31/2020 WN;2500;BWI;FLL;WN;197;FLL;SJU    NORTH JAVIER         NJ                         US   69171 134145649@KACHIPYTEL.COM
 43VVXU            12/30/2020 OB     1/1/2021 WN;3348;LGA;ATL                   EAST LINDA           OR                         US    3949 134146287@KACHIPYTEL.COM
 43VVXU            12/30/2020 OB     1/1/2021 WN;3348;LGA;ATL                   EAST LINDA           OR                         US    3949 134146287@KACHIPYTEL.COM
 449VOX            12/30/2020 OB    1/10/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WILLISLAND           AK                         US    9891 134146474@KACHIPYTEL.COM
 449VOX            12/30/2020 OB    1/10/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WILLISLAND           AK                         US    9891 134146474@KACHIPYTEL.COM
 449VOX            12/30/2020 OB    1/10/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   WILLISLAND           AK                         US    9891 134146474@KACHIPYTEL.COM
 44D22J            12/30/2020 OB     1/5/2021 WN;843;LAX;BWI;WN;1475;BWI;CLE    NEW CHRISTOPHER      ID                         US   51526 134146815@KACHIPYTEL.COM
 44HZRO            12/30/2020 OB     1/9/2021 WN;4236;MCO;MDW;WN;3715;MDW;CLT   NEW MARIO            MI                         US   25073 134146991@KACHIPYTEL.COM
 44KGCC            12/30/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     JONESBURY            MT                         US   56410 134147299@KACHIPYTEL.COM
 44MXX8            12/30/2020 OB     1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA   NIELSENSTAD          KS                         US   20424 134147431@KACHIPYTEL.COM
 44V7QI            12/30/2020 OB     1/1/2021 WN;4547;PHL;ATL                   NEW BRANDONSIDE      NM                         US   55342 134148003@KACHIPYTEL.COM
 45A5I8            12/30/2020 OB     1/3/2021 WN;6607;ONT;DEN;WN;6608;DEN;GEG   WEST ELIJAH          NV                         US   62654 134148410@KACHIPYTEL.COM
 45KJDQ            12/30/2020 OB     2/8/2021 WN;4015;MCO;STL;WN;4818;STL;DCA   NEW MEGAN            MD                         US   88302 134149213@KACHIPYTEL.COM
 45NB2Z            12/30/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     JASONCHESTER         WY                         US   30595 134149499@KACHIPYTEL.COM
 45PE9D            12/30/2020 OB     2/4/2021 WN;4994;STL;MCO;WN;4390;MCO;ISP   NICHOLASPORT         OK                         US   59495 134149290@KACHIPYTEL.COM
 45SQCA            12/30/2020 OB    1/12/2021 WN;3644;HOU;BWI;WN;470;BWI;ATL    PATRICKBERG          UT                         US   30364 134149719@KACHIPYTEL.COM
          468937   12/30/2020 OB   12/31/2020 WN;4191;MSP;MDW;WN;2558;MDW;BOS   SOUTH MARKSTAD       DE                         US   81142 134150731@KACHIPYTEL.COM
 468JI9            12/30/2020 OB     1/6/2021 WN;363;BWI;MCO;WN;494;MCO;ATL     IONELAPORT           IASI                       RO   49961 134150808@KACHIPYTEL.COM
 468MLQ            12/30/2020 OB     1/8/2021 WN;2068;MCO;BWI                   TAI BEI SHI          TAITUNG                    TW   50096 134150808@KACHIPYTEL.COM
 46FTF6            12/30/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH SARAHFORT      KS                         US   17379 134151611@KACHIPYTEL.COM
 46FTF6            12/30/2020 OB   12/30/2020 WN;2260;MDW;LAS;WN;1469;LAS;GEG   NORTH SARAHFORT      KS                         US   17379 134151611@KACHIPYTEL.COM
 46O69L            12/30/2020 OB     1/1/2021 WN;2246;ATL;STL;WN;427;STL;TPA    SOUTH TIFFANY        AZ                         US    3773 134151886@KACHIPYTEL.COM
 47HZ4D            12/30/2020 OB     1/3/2021 WN;1051;MIA;BWI                   LAKE JENNIFERMOUTH   WI                         US   31960 134153833@KACHIPYTEL.COM
 47VAS4            12/30/2020 OB     1/3/2021 WN;2054;MSP;MDW;WN;3320;MDW;PHX   NORTH RACHELFORT     ND                         US   11019 134154647@KACHIPYTEL.COM
 47ZEMG            12/30/2020 OB     1/2/2021 WN;2065;LAS;MCO;WN;2101;MCO;BDL   DE ANGELIS VENETO    RIMINI                     IT   21051 134154944@KACHIPYTEL.COM
 48ILBH            12/30/2020 OB   12/30/2020 WN;1087;ATL;BWI;WN;1561;BWI;DTW   LAKE DENNIS          IN                         US   15973 134156627@KACHIPYTEL.COM
 48OXQT            12/30/2020 OB   12/31/2020 WN;2855;PDX;LAS;WN;3781;LAS;AUS   ESTRADASIDE          RI                         US   34460 134156748@KACHIPYTEL.COM
 48YA3I            12/30/2020 OB     1/2/2021 WN;1965;MDW;AUS;WN;1928;AUS;DAL   WESTSHIRE            IL                         US   35569 134157606@KACHIPYTEL.COM
 48ZVFK            12/30/2020 OB   12/31/2020 WN;2855;PDX;LAS;WN;3781;LAS;AUS   PETERSONVIEW         IN                         US   39384 134157551@KACHIPYTEL.COM
 4EU9OG            12/30/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     DAVISSHIRE           CO                         US   12648 134180574@KACHIPYTEL.COM
 4EV45K            12/30/2020 OB     1/4/2021 WN;984;ATL;BWI                    NORTH CYNTHIA        ND                         US   90793 134180574@KACHIPYTEL.COM
 4EWSSP            12/30/2020 OB     1/8/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA   JASONSIDE            KS                         US   62324 134180783@KACHIPYTEL.COM
 4F8VLT            12/30/2020 OB    1/11/2021 WN;3294;MIA;BWI;WN;3559;BWI;PIT   SMITHLAND            CT                         US   28757 134182059@KACHIPYTEL.COM
 4FA5Q8            12/30/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     CHRISTIANTON         LA                         US   34910 134182587@KACHIPYTEL.COM
 4G8FVO            12/30/2020 OB   12/31/2020 WN;4720;DTW;DEN;WN;4986;DEN;MSP   MIGUELTOWN           PA                         US   82005 134186701@KACHIPYTEL.COM
 4GDHV8            12/30/2020 OB   12/30/2020 WN;107;SEA;SMF;WN;1457;SMF;LAS    WRIGHTTOWN           NC                         US   17468 134186745@KACHIPYTEL.COM
 4H9742            12/30/2020 OB   12/31/2020 WN;4572;PHX;BWI;WN;3551;BWI;CVG   ALLENBURGH           CO                         US   29961 134190760@KACHIPYTEL.COM
 4HRLXJ            12/30/2020 OB     1/5/2021 WN;4469;TPA;MDW;WN;457;MDW;ATL    NEW MEGHAN           KY                         US   11167 134193455@KACHIPYTEL.COM
 4IPO2G            12/30/2020 OB     1/4/2021 WN;923;PHX;BWI;WN;373;BWI;CVG     DORISLAND            PA                         US   83477 134198515@KACHIPYTEL.COM
 4IY39O            12/30/2020 OB     1/4/2021 WN;923;PHX;BWI;WN;373;BWI;CVG     SOUTH ROBERT         IA                         US   77741 134199461@KACHIPYTEL.COM
 4J3HB5            12/30/2020 OB   12/31/2020 WN;6716;FLL;DEN;WN;3259;DEN;SJC   MONTOYAPORT          HI                         US   64603 134200506@KACHIPYTEL.COM
 4JB7OA            12/30/2020 OB     1/4/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL    ANDREABURGH          OK                         US   94713 134202178@KACHIPYTEL.COM
 4JB7OA            12/30/2020 OB     1/4/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL    ANDREABURGH          OK                         US   94713 134202178@KACHIPYTEL.COM
 4JBWOY            12/30/2020 OB   12/31/2020 WN;1925;PHX;LAS;WN;4864;LAS;OAK   OLSONLAND            TX                         US   61858 134201859@KACHIPYTEL.COM
 4JHAKI            12/30/2020 OB     1/4/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL    KENDRASTAD           MO                         US   12370 134202706@KACHIPYTEL.COM
 4JLNAW            12/30/2020 OB     1/6/2021 WN;384;BOI;DEN;WN;1002;DEN;LAX    DAVISTOWN            ND                         US   26712 134203069@KACHIPYTEL.COM
 4JUQTW            12/30/2020 OB    1/14/2021 WN;360;ATL;BWI                    ERICSIDE             MA                         US   79264 134204367@KACHIPYTEL.COM
 4KFVKX            12/30/2020 OB     1/4/2021 WN;585;LAS;SLC;WN;235;SLC;LAX     NICOLESHIRE          AL                         US   69126 134206644@KACHIPYTEL.COM
 4KHIFU            12/30/2020 OB     1/5/2021 WN;1162;STL;DEN;WN;241;DEN;RDU    G KRASNOVISHERSK     BASHKORTOSTAN RESPUBLIKA   RU   41410 134207524@KACHIPYTEL.COM
 4KHIFU            12/30/2020 OB     1/5/2021 WN;1162;STL;DEN;WN;241;DEN;RDU    G KRASNOVISHERSK     BASHKORTOSTAN RESPUBLIKA   RU   41410 134207524@KACHIPYTEL.COM
 4KHIFU            12/30/2020 OB     1/5/2021 WN;1162;STL;DEN;WN;241;DEN;RDU    G KRASNOVISHERSK     BASHKORTOSTAN RESPUBLIKA   RU   41410 134207524@KACHIPYTEL.COM
 4KKHRH            12/30/2020 OB    1/15/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB    PORT RUTHFORT        MI                         US   27990 134207425@KACHIPYTEL.COM
 4KL5EF            12/30/2020 OB    1/17/2021 WN;2705;AUS;PHX;WN;3373;PHX;LGB   GONZALEZFORT         TN                         US   83316 134207425@KACHIPYTEL.COM
 4L4C82            12/30/2020 OB    1/15/2021 WN;2931;AUS;BNA;WN;5006;BNA;DAL   ANDERSONTON          CA                         US   48924 134210175@KACHIPYTEL.COM
 4LRP4Z            12/30/2020 OB    1/18/2021 WN;3191;FLL;BWI;WN;1923;BWI;BOS   ARIELVILLE           MS                         US   37304 134212419@KACHIPYTEL.COM
 4LXTGN            12/30/2020 OB    3/21/2021 WN;1049;LAX;HOU;WN;742;HOU;MSY    SMITHFURT            CA                         US   71009 134213090@KACHIPYTEL.COM
 4M4JWS            12/30/2020 OB   12/31/2020 WN;3239;BWI;LAS;WN;4325;LAS;GEG   NEW JEFFERYBERG      VT                         US   17371 134214344@KACHIPYTEL.COM
 4M5HFF            12/30/2020 OB     1/2/2021 WN;2296;LAS;BWI;WN;36;BWI;BDL     EAST NATALIEVIEW     OH                         US   71932 134214344@KACHIPYTEL.COM
 4MAZZQ            12/30/2020 OB     1/6/2021 WN;1204;DAL;MSY                   SOUTH AMY            RI                         US   37738 134214399@KACHIPYTEL.COM
 4MBQ8D            12/30/2020 OB   12/31/2020 WN;4743;RDU;ATL;WN;2246;ATL;STL   LAKE KELLYTON        VT                         US   25105 134214608@KACHIPYTEL.COM
 4MKVE4            12/30/2020 OB   12/31/2020 WN;4131;MIA;HOU;WN;2516;HOU;MCO   EAST TREVOR          MD                         US   73215 134215103@KACHIPYTEL.COM
 4MNIWR            12/30/2020 OB     1/1/2021 WN;3368;ATL;HOU;WN;2576;HOU;FLL   JACKSONTOWN          MD                         US   10942 134215466@KACHIPYTEL.COM
 4MOUYD            12/30/2020 OB     1/2/2021 WN;1542;LAS;OAK;WN;1935;OAK;LAX   FLORESBURY           GA                         US   79137 134215598@KACHIPYTEL.COM
 4MWYAX            12/30/2020 OB   12/31/2020 WN;2863;FLL;DEN;WN;3259;DEN;SJC   WEST REGINACHESTER   KY                         US   50885 134216522@KACHIPYTEL.COM
 4MY7F9            12/30/2020 OB   12/31/2020 WN;4743;RDU;ATL;WN;2246;ATL;STL   NORTH JOSEPH         NH                         US   93703 134216577@KACHIPYTEL.COM
 4N947L            12/30/2020 OB     1/3/2021 WN;2230;TPA;BWI;WN;3732;BWI;ORF   RODRIGUEZVIEW        MA                         US   30307 134217413@KACHIPYTEL.COM
 4NAFQV            12/30/2020 OB   12/31/2020 WN;4035;MDW;DEN;WN;479;DEN;HDN    JESSICABOROUGH       NE                         US   76022 134217688@KACHIPYTEL.COM




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 4NDQ9H   12/30/2020 OB     1/3/2021 WN;4009;ATL;HOU;WN;3485;HOU;MIA   VILLANUEVAPORT       AL                    US   96881 134218018@KACHIPYTEL.COM
 4NOE26   12/30/2020 OB   12/31/2020 WN;4743;RDU;ATL;WN;2246;ATL;STL   NEW EMMASHIRE        HI                    US   76307 134218810@KACHIPYTEL.COM
 4NUUXP   12/30/2020 OB   12/31/2020 WN;55;IAD;ATL;WN;3082;ATL;MCO     MCLAUGHLINSHIRE      IN                    US   37885 134219569@KACHIPYTEL.COM
 4NXTQV   12/30/2020 OB     1/4/2021 WN;1087;ATL;BWI;WN;331;BWI;MIA    NEW JESSICA          TX                    US   30087 134219569@KACHIPYTEL.COM
 228QMO   12/31/2020 OB   12/31/2020 WN;430;ATL;PHX                    EAST LORI            PA                    US   21758 134252261@KACHIPYTEL.COM
 228QMO   12/31/2020 OB     1/1/2021 WN;3026;PHX;OKC                   EAST LORI            PA                    US   21758 134252261@KACHIPYTEL.COM
 229C64   12/31/2020 OB   12/31/2020 WN;2528;AUS;HOU                   ALYSSAFORT           ME                    US   84957 134251986@KACHIPYTEL.COM
 22LWMS   12/31/2020 OB     1/1/2021 WN;2208;TPA;MDW;WN;4792;MDW;CVG   CHRISTINEBOROUGH     ME                    US   53074 134253383@KACHIPYTEL.COM
 22W2HI   12/31/2020 OB     2/4/2021 WN;2622;STL;TPA;WN;1642;TPA;IND   EAST DIANAVIEW       KY                    US   39095 134254659@KACHIPYTEL.COM
 22WV8R   12/31/2020 OB     1/5/2021 WN;244;ATL;MDW;WN;658;MDW;TPA     PARKBURGH            ND                    US   64877 134254461@KACHIPYTEL.COM
 23VHLN   12/31/2020 OB     1/1/2021 WN;3343;LGA;ATL;WN;2228;ATL;MCO   KYLESTAD             NY                    US   42619 134258080@KACHIPYTEL.COM
 245SBW   12/31/2020 OB     1/5/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL    LAKE AMY             SC                    US   16939 134259279@KACHIPYTEL.COM
 24CRLJ   12/31/2020 OB     1/4/2021 WN;468;DEN;BNA;WN;6924;BNA;STL    RITASIDE             TN                    US   64800 134259818@KACHIPYTEL.COM
 24CSOM   12/31/2020 OB     1/1/2021 WN;2042;ATL;HOU;WN;3212;HOU;TPA   PORT LEONARD         GA                    US   66399 134259939@KACHIPYTEL.COM
 24CSOM   12/31/2020 OB     1/1/2021 WN;2042;ATL;HOU;WN;3212;HOU;TPA   PORT LEONARD         GA                    US   66399 134259939@KACHIPYTEL.COM
 24QKKE   12/31/2020 OB     1/4/2021 WN;561;DCA;BNA                    NORTH MICHAEL        CA                    US   74361 134261204@KACHIPYTEL.COM
 24R4YS   12/31/2020 OB    1/15/2021 WN;2346;MCI;ATL                   NEW BIANCA           OH                    US   22987 134261776@KACHIPYTEL.COM
 24REL4   12/31/2020 OB    1/10/2021 WN;184;CLE;PHX;WN;425;PHX;LGB     DAVIDBURGH           MD                    US   23673 134262040@KACHIPYTEL.COM
 252VH6   12/31/2020 OB     1/2/2021 WN;1738;ATL;PIT;WN;955;PIT;BNA    EAST CURTIS          HI                    US   73301 134262612@KACHIPYTEL.COM
 25EPMM   12/31/2020 OB     1/1/2021 WN;4287;LAX;SMF                   EAST KELSEYTOWN      CO                    US   44629 134263448@KACHIPYTEL.COM
 25KOUH   12/31/2020 OB     1/1/2021 WN;346;SJU;BWI                    JENNIFERTON          RI                    US   61767 134265142@KACHIPYTEL.COM
 25VBB9   12/31/2020 OB     1/2/2021 WN;1456;HOU;MDW;WN;6003;MDW;MEM   NORRISBERG           TX                    US   93082 134266209@KACHIPYTEL.COM
 262Q93   12/31/2020 OB   12/31/2020 WN;2703;SEA;PHX;WN;2478;PHX;ABQ   SOUTH KELLY          ME                    US   62793 134267221@KACHIPYTEL.COM
 264IT5   12/31/2020 OB     1/5/2021 WN;244;ATL;MDW;WN;658;MDW;TPA     WEST MICHAELTON      CT                    US   93843 134267199@KACHIPYTEL.COM
 26655H   12/31/2020 OB     1/5/2021 WN;1008;ATL;BWI;WN;749;BWI;MCO    JENNIFERCHESTER      ND                    US   79897 134267089@KACHIPYTEL.COM
 26655H   12/31/2020 OB     1/5/2021 WN;1008;ATL;BWI;WN;749;BWI;MCO    JENNIFERCHESTER      ND                    US   79897 134267089@KACHIPYTEL.COM
 269ULW   12/31/2020 OB     1/5/2021 WN;1143;DEN;STL                   NORTH COLTONPORT     IL                    US    4929 134268167@KACHIPYTEL.COM
 26E3SG   12/31/2020 OB     1/5/2021 WN;258;BUR;DEN                    EAST GREGORY         NC                    US   31774 134268167@KACHIPYTEL.COM
 26EPWY   12/31/2020 OB    1/21/2021 WN;5007;STL;PHX;WN;2572;PHX;BUR   LAKE ASHLEY          WI                    US   85318 134268167@KACHIPYTEL.COM
 26LLEH   12/31/2020 OB   12/31/2020 WN;3121;ATL;MDW;WN;4491;MDW;DTW   SNOWTON              AL                    US   90038 134269751@KACHIPYTEL.COM
 26M9T3   12/31/2020 OB     1/3/2021 WN;1800;MSY;RDU;WN;2797;RDU;FLL   BONNIESIDE           NH                    US    8378 134269718@KACHIPYTEL.COM
 26O4Z2   12/31/2020 OB    1/10/2021 WN;456;MDW;DAL                    PORT GAILHAVEN       FL                    US   72947 134269861@KACHIPYTEL.COM
 26TF53   12/31/2020 OB     1/2/2021 WN;1738;ATL;PIT                   SMITHBURY            SD                    US   67381 134270774@KACHIPYTEL.COM
 26V754   12/31/2020 OB     1/5/2021 WN;536;DTW;BWI;WN;651;BWI;ATL     TIFFANYSIDE          KS                    US   65755 134270906@KACHIPYTEL.COM
 26V754   12/31/2020 OB     1/5/2021 WN;536;DTW;BWI;WN;651;BWI;ATL     TIFFANYSIDE          KS                    US   65755 134270906@KACHIPYTEL.COM
 26ZI6T   12/31/2020 OB     1/1/2021 WN;3348;LGA;ATL;WN;3082;ATL;MCO   NORTH NICHOLAS       MI                    US    6331 134271412@KACHIPYTEL.COM
 279E3E   12/31/2020 OB    1/19/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS   JASONBERG            MD                    US   34451 134272831@KACHIPYTEL.COM
 279E3E   12/31/2020 OB    1/19/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS   JASONBERG            MD                    US   34451 134272831@KACHIPYTEL.COM
 27C6VE   12/31/2020 OB     1/3/2021 WN;1870;FLL;BWI;WN;4475;BWI;MSY   SOUTH PENNY          MD                    US   98128 134272534@KACHIPYTEL.COM
 27VTYF   12/31/2020 OB     1/3/2021 WN;1850;AUS;BWI;WN;331;BWI;MIA    EAST MARTINFURT      NJ                    US   36845 134275108@KACHIPYTEL.COM
 27WMKA   12/31/2020 OB     1/4/2021 WN;782;MSP;MDW;WN;1048;MDW;PHX    TRANSTAD             HI                    US   34612 134275878@KACHIPYTEL.COM
 27ZAY6   12/31/2020 OB     1/4/2021 WN;156;LGA;ATL                    LAKE TARATON         IN                    US   15180 134275834@KACHIPYTEL.COM
 27ZAY6   12/31/2020 OB     1/4/2021 WN;156;LGA;ATL                    LAKE TARATON         IN                    US   15180 134275834@KACHIPYTEL.COM
 27ZAY6   12/31/2020 OB     1/4/2021 WN;156;LGA;ATL                    LAKE TARATON         IN                    US   15180 134275834@KACHIPYTEL.COM
 28DP8G   12/31/2020 OB     1/2/2021 WN;31;BWI;HOU                     AJMER                PUDUCHERRY            IN   79431 134277836@KACHIPYTEL.COM
 28FGCC   12/31/2020 OB     1/1/2021 WN;4547;PHL;ATL;WN;2461;ATL;CMH   SOUTH MATTHEWSHIRE   NV                    US   95587 134277616@KACHIPYTEL.COM
 28K6P2   12/31/2020 OB     1/1/2021 WN;2708;MDW;ATL;WN;2707;ATL;LGA   NORTH EMILY          CT                    US   54342 134278386@KACHIPYTEL.COM
 2953OI   12/31/2020 OB     1/1/2021 WN;2208;TPA;MDW;WN;4792;MDW;CVG   NORTH JULIEBOROUGH   CO                    US   17123 134280190@KACHIPYTEL.COM
 29ERRU   12/31/2020 OB     1/3/2021 WN;2507;OAK;BWI;WN;3889;BWI;FLL   JONESTOWN            MI                    US   14250 134280795@KACHIPYTEL.COM
 29FIOC   12/31/2020 OB    1/28/2021 WN;6009;SAT;TPA;WN;3448;TPA;MSY   AVILAVILLE           OK                    US   41727 134280784@KACHIPYTEL.COM
 29FIOC   12/31/2020 OB    1/28/2021 WN;6009;SAT;TPA;WN;3448;TPA;MSY   AVILAVILLE           OK                    US   41727 134280784@KACHIPYTEL.COM
 29I5SA   12/31/2020 OB    1/12/2021 WN;3500;IND;BWI;WN;331;BWI;MIA    CROSSBOROUGH         VA                    US   91697 134280916@KACHIPYTEL.COM
 29NY53   12/31/2020 OB    1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA   ALLISONHAVEN         WY                    US   43365 134281708@KACHIPYTEL.COM
 29OIN2   12/31/2020 OB    1/16/2021 WN;4389;STL;TPA;WN;2094;TPA;ATL   ERINMOUTH            NY                    US   65054 134281917@KACHIPYTEL.COM
 29OPMM   12/31/2020 OB    1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA   STEPHANIEMOUTH       KS                    US   41533 134281741@KACHIPYTEL.COM
 29PO7O   12/31/2020 OB     1/1/2021 WN;2875;DAL;LAS;WN;4395;LAS;MAF   VIEJA COTE DIVOIRE   MICHOACAN DE OCAMPO   MX   88815 134282027@KACHIPYTEL.COM
 29S4NV   12/31/2020 OB     1/4/2021 WN;843;LAX;BWI;WN;135;BWI;BUF     WEST MICHAEL         AZ                    US    3863 134281895@KACHIPYTEL.COM
 29UV6R   12/31/2020 OB    1/16/2021 WN;4389;STL;TPA;WN;2094;TPA;ATL   ATKINSTON            WV                    US   98772 134282148@KACHIPYTEL.COM
 29X8F9   12/31/2020 OB    1/14/2021 WN;3993;MDW;MCO;WN;2438;MCO;FLL   SYLVIAVILLE          ME                    US   81398 134282753@KACHIPYTEL.COM
 2A3OOK   12/31/2020 OB   12/31/2020 WN;2638;SAT;LAS                   LAKE LAURA           WY                    US   27888 134235024@KACHIPYTEL.COM
 2AVWF9   12/31/2020 OB     1/4/2021 WN;631;ATL;BWI;WN;277;BWI;TPA     REYNOLDSBERG         AR                    US   84111 134285470@KACHIPYTEL.COM
 2AWQM6   12/31/2020 OB     1/5/2021 WN;513;DEN;SMF;WN;709;SMF;SEA     LISATOWN             AR                    US   64054 134285129@KACHIPYTEL.COM
 2BJBH3   12/31/2020 OB     1/1/2021 WN;3343;LGA;ATL;WN;2228;ATL;MCO   GLOVERBURGH          AZ                    US   29339 134286713@KACHIPYTEL.COM
 2C4FYE   12/31/2020 OB     1/1/2021 WN;3348;LGA;ATL;WN;3082;ATL;MCO   NORTH ETHANVILLE     CT                    US   49838 134287802@KACHIPYTEL.COM
 2CD3EY   12/31/2020 OB     1/3/2021 WN;4504;OAK;BNA;WN;1674;BNA;MCO   TAMMYVILLE           UT                    US   83593 134288242@KACHIPYTEL.COM
 2CLIOS   12/31/2020 OB     1/1/2021 WN;6716;FLL;DEN;WN;3259;DEN;SJC   TAMMYTON             PA                    US   87980 134289122@KACHIPYTEL.COM
 4OC4YP   12/31/2020 OB   12/31/2020 WN;4743;RDU;ATL;WN;2246;ATL;STL   PORT KARLA           NH                    US   59325 134220669@KACHIPYTEL.COM
 4OIH8P   12/31/2020 OB     1/4/2021 WN;631;ATL;BWI;WN;277;BWI;TPA     JEFFREYLAND          NM                    US   30248 134221351@KACHIPYTEL.COM
 4OJRJJ   12/31/2020 OB   12/31/2020 WN;3787;LGA;BNA;WN;3787;BNA;HOU   SOUTH WILLIAMSHIRE   MI                    US   12729 134221098@KACHIPYTEL.COM
 4OMWWG   12/31/2020 OB     1/4/2021 WN;941;ATL;MDW;WN;145;MDW;MCO     MICHELLEBOROUGH      WV                    US   81383 134221604@KACHIPYTEL.COM
 4OO7IO   12/31/2020 OB   12/31/2020 WN;6716;FLL;DEN                   FRANKLINMOUTH        MA                    US   96165 134221747@KACHIPYTEL.COM
 4OP7T8   12/31/2020 OB   12/31/2020 WN;5014;ATL;DEN;WN;4264;DEN;MSP   SAMANTHASHIRE        WA                    US   54239 134221769@KACHIPYTEL.COM
 4OPPAS   12/31/2020 OB     1/5/2021 WN;1352;ATL;HOU;WN;661;HOU;MIA    SOUTH JACOB          CO                    US     593 134221901@KACHIPYTEL.COM
 4OPPAS   12/31/2020 OB     1/5/2021 WN;1352;ATL;HOU;WN;661;HOU;MIA    SOUTH JACOB          CO                    US     593 134221901@KACHIPYTEL.COM
 4ORW6H   12/31/2020 OB     1/2/2021 WN;2001;DAL;BNA;WN;914;BNA;LGA    PHILIPBOROUGH        WI                    US   99798 134222231@KACHIPYTEL.COM
 4OVW6N   12/31/2020 OB   12/31/2020 WN;2304;GEG;LAS;WN;4072;LAS;BUR   STEVENBERG           AL                    US   26353 134222088@KACHIPYTEL.COM
 4OX565   12/31/2020 OB     1/2/2021 WN;2001;DAL;BNA;WN;914;BNA;LGA    EAST CHERYL          MA                    US   52622 134222385@KACHIPYTEL.COM
 4PIUAQ   12/31/2020 OB     4/2/2021 WN;241;BDL;TPA                    WEST DANIEL          KS                    US   42282 134223760@KACHIPYTEL.COM
 4PIUAQ   12/31/2020 OB     4/2/2021 WN;241;BDL;TPA                    WEST DANIEL          KS                    US   42282 134223760@KACHIPYTEL.COM
 4PIUAQ   12/31/2020 OB     4/2/2021 WN;241;BDL;TPA                    WEST DANIEL          KS                    US   42282 134223760@KACHIPYTEL.COM
 4PIUAQ   12/31/2020 OB     4/2/2021 WN;241;BDL;TPA                    WEST DANIEL          KS                    US   42282 134223760@KACHIPYTEL.COM
 4PMSOB   12/31/2020 OB   12/31/2020 WN;4572;PHX;BWI;WN;3551;BWI;CVG   HUNTERVILLE          SC                    US   13281 134224068@KACHIPYTEL.COM
 4PSRM8   12/31/2020 OB    1/12/2021 WN;3927;MSP;DEN;WN;2770;DEN;PHX   MARIALAND            NE                    US   55792 134224640@KACHIPYTEL.COM
 4PTHPA   12/31/2020 OB   12/31/2020 WN;3522;IND;HOU;WN;2490;HOU;OKC   DUKETON              VA                    US   12438 134224695@KACHIPYTEL.COM
 4PWAFU   12/31/2020 OB     1/4/2021 WN;1427;DTW;PHX;WN;1295;PHX;DEN   WEST BRIAN           ID                    US   59624 134224860@KACHIPYTEL.COM
 4PXC96   12/31/2020 OB    1/10/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   LAKE LAURABOROUGH    VT                    US   45284 134224849@KACHIPYTEL.COM
 4PXC96   12/31/2020 OB    1/10/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   LAKE LAURABOROUGH    VT                    US   45284 134224849@KACHIPYTEL.COM
 4Q7B9V   12/31/2020 OB     4/2/2021 WN;241;BDL;TPA                    PORT NICOLEFURT      IA                    US   87414 134225311@KACHIPYTEL.COM
 4Q7B9V   12/31/2020 OB     4/2/2021 WN;241;BDL;TPA                    PORT NICOLEFURT      IA                    US   87414 134225311@KACHIPYTEL.COM
 4QKQ2H   12/31/2020 OB   12/31/2020 WN;4941;PDX;LAS;WN;4827;LAS;SMF   NORTH MARYBERG       NM                    US   18558 134226323@KACHIPYTEL.COM
 4QKQ2H   12/31/2020 OB   12/31/2020 WN;4941;PDX;LAS;WN;4827;LAS;SMF   NORTH MARYBERG       NM                    US   18558 134226323@KACHIPYTEL.COM
 4QL3P2   12/31/2020 OB   12/31/2020 WN;3959;ATL;TPA;WN;4727;TPA;STL   PORT EARL            NM                    US   80513 134226433@KACHIPYTEL.COM
 4QOMXL   12/31/2020 OB    1/11/2021 WN;1059;MSY;BWI                   NEW RICHARDFORT      MA                    US   88474 134226389@KACHIPYTEL.COM
 4QOYYP   12/31/2020 OB   12/31/2020 WN;3338;TPA;HOU;WN;3065;HOU;JAX   PORT LARRYMOUTH      RI                    US   59725 134226433@KACHIPYTEL.COM
 4QVU87   12/31/2020 OB     1/5/2021 WN;492;ONT;HOU;WN;1056;HOU;MIA    NEW THOMASVILLE      WA                    US   83760 134227148@KACHIPYTEL.COM
 4RLOGN   12/31/2020 OB     1/4/2021 WN;941;ATL;MDW                    SOUTH JERRYCHESTER   CO                    US   86200 134228545@KACHIPYTEL.COM
 4ROL89   12/31/2020 OB     1/8/2021 WN;3140;DTW;MDW;WN;3993;MDW;MCO   WEST MADISON         MA                    US   18614 134228633@KACHIPYTEL.COM
 4S32YY   12/31/2020 OB     1/2/2021 WN;1751;JAX;BWI;WN;878;BWI;PIT    EAST MATTHEW         NH                    US   78401 134229194@KACHIPYTEL.COM
 4S32YY   12/31/2020 OB     1/2/2021 WN;1751;JAX;BWI;WN;878;BWI;PIT    EAST MATTHEW         NH                    US   78401 134229194@KACHIPYTEL.COM
 4S75FB   12/31/2020 OB   12/31/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   COOKBURY             WA                    US   25160 134229326@KACHIPYTEL.COM
 4S75FB   12/31/2020 OB   12/31/2020 WN;3276;LAX;BNA;WN;2522;BNA;MCO   COOKBURY             WA                    US   25160 134229326@KACHIPYTEL.COM
 4SD9AV   12/31/2020 OB     1/2/2021 WN;2247;OAK;BWI;WN;195;BWI;MCO    AMROHAA              HARYANA               IN   14318 134229810@KACHIPYTEL.COM
 4SY3A6   12/31/2020 OB     1/3/2021 WN;2054;MSP;MDW;WN;3320;MDW;PHX   CRAIGSHIRE           GA                    US   11196 134230657@KACHIPYTEL.COM
 4T2RL8   12/31/2020 OB     1/1/2021 WN;4608;LAX;OAK                   JEREMYCHESTER        SD                    US   40506 134230976@KACHIPYTEL.COM
 4T73FA   12/31/2020 OB     1/2/2021 WN;2033;HOU;PIT;WN;2041;PIT;BWI   SOUTH TRACEYSHIRE    OH                    US   85358 134231251@KACHIPYTEL.COM
 4TQ9J9   12/31/2020 OB     2/8/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB   CASTANEDAVIEW        MA                    US   91183 134232373@KACHIPYTEL.COM
 4U33UQ   12/31/2020 OB    1/19/2021 WN;3368;ATL;HOU;WN;661;HOU;MIA    NORTH AUSTIN         NM                    US   21632 134233066@KACHIPYTEL.COM
 4U7S3F   12/31/2020 OB     1/4/2021 WN;926;DEN;SMF;WN;1431;SMF;SEA    MULLENMOUTH          WA                    US   14712 134231999@KACHIPYTEL.COM
 4UOFFH   12/31/2020 OB   12/31/2020 WN;2855;PDX;LAS;WN;4780;LAS;BOI   EAST HEATHER         SC                    US   97904 134234221@KACHIPYTEL.COM




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 4UWIWA   12/31/2020 OB     1/8/2021 WN;4756;OAK;HOU;WN;2356;HOU;MDW       NORTH TIMOTHY          NV                    US   84483 134234540@KACHIPYTEL.COM
 4UWNO2   12/31/2020 OB     1/8/2021 WN;4756;OAK;HOU;WN;2356;HOU;MDW       SIMMONSMOUTH           HI                    US   22548 134234551@KACHIPYTEL.COM
 4V2YND   12/31/2020 OB   12/31/2020 WN;2638;SAT;LAS;WN;3337;LAS;PDX       LAKE LAURA             WY                    US   27888 134235024@KACHIPYTEL.COM
 4V2YND   12/31/2020 OB   12/31/2020 WN;2638;SAT;LAS;WN;3337;LAS;PDX       LAKE LAURA             WY                    US   27888 134235024@KACHIPYTEL.COM
 4V2YND   12/31/2020 OB   12/31/2020 WN;2638;SAT;LAS;WN;3337;LAS;PDX       LAKE LAURA             WY                    US   27888 134235024@KACHIPYTEL.COM
 4V3B2A   12/31/2020 OB     1/8/2021 WN;4756;OAK;HOU                       SAMUELBURY             GA                    US   30916 134234749@KACHIPYTEL.COM
 4VPI5N   12/31/2020 OB     1/2/2021 WN;2007;LGA;ATL;WN;6006;ATL;RSW       GARCIASIDE             NH                    US   26313 134236399@KACHIPYTEL.COM
 4VY5VQ   12/31/2020 OB   12/31/2020 WN;2755;BWI;LAS;WN;3337;LAS;PDX       NEW WSYLCHESTER        NAJRAN                SA   22275 134237070@KACHIPYTEL.COM
 4WC57O   12/31/2020 OB     1/1/2021 WN;4202;ATL;DEN                       REEDSIDE               WV                    US   44223 134238247@KACHIPYTEL.COM
 4WGVAG   12/31/2020 OB    1/13/2021 WN;4838;SEA;SMF;WN;1493;SMF;LAS       NORTH MARYPORT         TN                    US   18876 134238984@KACHIPYTEL.COM
 4YFQPD   12/31/2020 OB     1/1/2021 WN;776;LAS;MDW;WN;4792;MDW;CVG        JAMESBURY              LA                    US   10097 134245716@KACHIPYTEL.COM
 4YVSHP   12/31/2020 OB    1/10/2021 WN;3294;MIA;BWI;WN;2593;BWI;BOS       BANKSTON               WV                    US   23112 134246761@KACHIPYTEL.COM
 4Z2QJA   12/31/2020 OB     1/3/2021 WN;1404;BNA;BWI;WN;102;BWI;MIA        EAST JULIEMOUTH        NJ                    US    1581 134247564@KACHIPYTEL.COM
 4Z753L   12/31/2020 OB    1/11/2021 WN;715;ATL;BWI;WN;102;BWI;MIA         PORT DANIELHAVEN       NM                    US    4369 134248125@KACHIPYTEL.COM
 4ZDUS5   12/31/2020 OB     1/3/2021 WN;4504;LAX;OAK;WN;2177;OAK;BUR;WN;21 NORTH TRAVISSTAD       CA                    US   37649 134248576@KACHIPYTEL.COM
 4ZEET2   12/31/2020 OB   12/31/2020 WN;1148;OAK;LAX;WN;4933;LAX;PHX       NORTH EMILYMOUTH       WY                    US   26971 134248576@KACHIPYTEL.COM
 2CYU5V     1/1/2021 OB     1/5/2021 WN;967;MCO;MDW;WN;1366;MDW;ATL        NORTH TAYLORBERG       OK                    US   81183 134289859@KACHIPYTEL.COM
 2D2NQ7     1/1/2021 OB     1/1/2021 WN;3343;LGA;ATL;WN;2228;ATL;MCO       ANDREWSIDE             IL                    US   81389 134289980@KACHIPYTEL.COM
 2ECBYA     1/1/2021 OB     1/6/2021 WN;692;MDW;BWI                        BAKERVIEW              CT                    US   37868 134292433@KACHIPYTEL.COM
 2EH82I     1/1/2021 OB     1/4/2021 WN;121;GEG;LAS;WN;1544;LAS;ONT        LAKE ROBERTOFORT       CT                    US   58255 134292532@KACHIPYTEL.COM
 2ETJVC     1/1/2021 OB     1/4/2021 WN;2284;HOU;BWI;WN;331;BWI;MIA        ANGELAFORT             WY                    US   12559 134293368@KACHIPYTEL.COM
 2EVTKR     1/1/2021 OB     1/5/2021 WN;224;ATL;MDW                        BELLSTAD               MO                    US   66356 134293313@KACHIPYTEL.COM
 2F3UPB     1/1/2021 OB     1/1/2021 WN;2931;AUS;BNA;WN;5006;BNA;DAL       ZUNIGASTAD             AL                    US   62024 134293654@KACHIPYTEL.COM
 2FGD9F     1/1/2021 OB     1/1/2021 WN;332;MIA;BWI;WN;4420;BWI;PWM        NORTH BRITTANY         MO                    US   67191 134294336@KACHIPYTEL.COM
 2GI4PC     1/1/2021 OB     1/4/2021 WN;1087;ATL;BWI;WN;331;BWI;MIA        NEW ANTHONY            ND                    US    8282 134296096@KACHIPYTEL.COM
 2GYHQR     1/1/2021 OB     1/1/2021 WN;3348;LGA;ATL;WN;3082;ATL;MCO       WEST BILL              IL                    US   11582 134296514@KACHIPYTEL.COM
 2H8XLR     1/1/2021 OB     1/4/2021 WN;585;LAS;SLC;WN;235;SLC;LAX         WEST TROY              KY                    US   36875 134297152@KACHIPYTEL.COM
 2J2UQZ     1/1/2021 OB     1/1/2021 WN;4145;MIA;TPA;WN;2834;TPA;MKE       SOUTH LORIMOUTH        PA                    US   68930 134299693@KACHIPYTEL.COM
 2J9N4G     1/1/2021 OB     1/1/2021 WN;4145;MIA;TPA;WN;2834;TPA;MKE       CASEYSIDE              SC                    US   18338 134299693@KACHIPYTEL.COM
 2JXHUA     1/1/2021 OB     1/1/2021 WN;1646;CLE;BWI;WN;3111;BWI;BOS       EAST MATTHEW           GA                    US   69049 134301684@KACHIPYTEL.COM
 2JZT4J     1/1/2021 OB     1/1/2021 WN;3663;LAS;MDW;WN;2611;MDW;FLL       CARDENASBURY           NJ                    US   11077 134302014@KACHIPYTEL.COM
 2LCWB4     1/1/2021 OB     1/4/2021 WN;1087;ATL;BWI                       NORTH ALLISON          CA                    US   41645 134304489@KACHIPYTEL.COM
 2ODRZL     1/1/2021 OB     1/1/2021 WN;3121;ATL;MDW;WN;3388;MDW;MCO       JUANLAND               SC                    US   22621 134314972@KACHIPYTEL.COM
 2R7D4G     1/1/2021 OB     1/1/2021 WN;2002;ATL;BNA;WN;2522;BNA;MCO       COOPERTOWN             NV                    US   63688 134325312@KACHIPYTEL.COM
 2SSEOE     1/1/2021 OB     1/6/2021 WN;527;IND;BWI;WN;3369;BWI;CVG        NAN TOU XIAN           TAITUNG               TW   32582 134332462@KACHIPYTEL.COM
 2STJZM     1/1/2021 OB     1/9/2021 WN;2249;BWI;IND;WN;6259;IND;ATL       HUESCA                 TARRAGONA             ES   39439 134332462@KACHIPYTEL.COM
 2T5C4I     1/1/2021 OB     1/4/2021 WN;660;MIA;BWI;WN;1351;BWI;RDU        CANDICEFURT            AK                    US   96131 134334189@KACHIPYTEL.COM
 2TVSQV     1/1/2021 OB     1/4/2021 WN;843;LAX;BWI;WN;135;BWI;BUF         JONESMOUTH             NH                    US   69113 134337181@KACHIPYTEL.COM
 2TWFEU     1/1/2021 OB     1/2/2021 WN;6928;SJU;BWI;WN;35;BWI;MCO         NORTH ADAM             NH                    US   43918 134337654@KACHIPYTEL.COM
 2TWFEU     1/1/2021 OB     1/2/2021 WN;6928;SJU;BWI;WN;35;BWI;MCO         NORTH ADAM             NH                    US   43918 134337654@KACHIPYTEL.COM
 2UNQQ2     1/1/2021 OB    1/10/2021 WN;430;ATL;PHX;WN;425;PHX;LGB         MICHAELMOUTH           CT                    US   45624 134341911@KACHIPYTEL.COM
 2UNQQ2     1/1/2021 OB    1/10/2021 WN;430;ATL;PHX;WN;425;PHX;LGB         MICHAELMOUTH           CT                    US   45624 134341911@KACHIPYTEL.COM
 2V7593     1/1/2021 OB     1/3/2021 WN;4212;MCO;BWI;WN;2653;BWI;GSP       NORTH RICHARDSHIRE     AZ                    US   85458 134344232@KACHIPYTEL.COM
 2V8I49     1/1/2021 OB     1/3/2021 WN;3732;ORF;BNA                       PORT DIANETOWN         OK                    US   76804 134344881@KACHIPYTEL.COM
 2V8I49     1/1/2021 OB     1/4/2021 WN;773;BNA;ECP                        PORT DIANETOWN         OK                    US   76804 134344881@KACHIPYTEL.COM
 2V8I49     1/1/2021 OB     1/3/2021 WN;3732;ORF;BNA                       PORT DIANETOWN         OK                    US   76804 134344881@KACHIPYTEL.COM
 2V8I49     1/1/2021 OB     1/4/2021 WN;773;BNA;ECP                        PORT DIANETOWN         OK                    US   76804 134344881@KACHIPYTEL.COM
 2VGIB2     1/1/2021 OB     1/6/2021 WN;2813;LAX;MDW                       NORTH ALVINHAVEN       NM                    US   69513 134345200@KACHIPYTEL.COM
 2VGIB2     1/1/2021 OB     1/6/2021 WN;2813;LAX;MDW                       NORTH ALVINHAVEN       NM                    US   69513 134345200@KACHIPYTEL.COM
 2W3ATS     1/1/2021 OB    1/24/2021 WN;477;PHX;MCI;WN;2800;MCI;DAL        PORT TIMOTHYBERG       MN                    US   38992 134347719@KACHIPYTEL.COM
 2WHZJS     1/1/2021 OB     1/2/2021 WN;2215;MIA;TPA;WN;1036;TPA;DAL;WN;103NORTH JOSEPH           NJ                    US    8718 134349875@KACHIPYTEL.COM
 2X6NP2     1/1/2021 OB     1/4/2021 WN;746;JAX;BNA                        NEW DENISEBOROUGH      LA                    US   13040 134351723@KACHIPYTEL.COM
 2XXUDV     1/1/2021 OB     1/2/2021 WN;2372;SEA;STL;WN;1882;STL;FLL       MICHELLEHAVEN          NY                    US   85897 134355144@KACHIPYTEL.COM
 2XYXBG     1/1/2021 OB     1/6/2021 WN;1421;ATL;BWI;WN;331;BWI;MIA        WEST TOMMY             GA                    US    8256 134355023@KACHIPYTEL.COM
 2Y276M     1/1/2021 OB    3/21/2021 WN;1870;SJU;TPA;WN;1100;TPA;FLL       ASHLEYSTAD             RI                    US   21822 134355518@KACHIPYTEL.COM
 2Y276M     1/1/2021 OB    3/21/2021 WN;1870;SJU;TPA;WN;1100;TPA;FLL       ASHLEYSTAD             RI                    US   21822 134355518@KACHIPYTEL.COM
 2Y276M     1/1/2021 OB    3/21/2021 WN;1870;SJU;TPA;WN;1100;TPA;FLL       ASHLEYSTAD             RI                    US   21822 134355518@KACHIPYTEL.COM
 2Y276M     1/1/2021 OB    3/21/2021 WN;1870;SJU;TPA;WN;1100;TPA;FLL       ASHLEYSTAD             RI                    US   21822 134355518@KACHIPYTEL.COM
 2Y276M     1/1/2021 OB    3/21/2021 WN;1870;SJU;TPA;WN;1100;TPA;FLL       ASHLEYSTAD             RI                    US   21822 134355518@KACHIPYTEL.COM
 2YQBC9     1/1/2021 OB     1/4/2021 WN;984;MDW;ATL                        NORTH ANTONIOCHESTER   MS                    US   80073 134357333@KACHIPYTEL.COM
 2YUNU2     1/1/2021 OB     1/5/2021 WN;244;ATL;MDW                        NORTH KAYLASHIRE       HI                    US   86030 134357333@KACHIPYTEL.COM
 2YY8A8     1/1/2021 OB     1/8/2021 WN;3170;PHX;HOU;WN;506;HOU;CVG        CLINECHESTER           OK                    US   49087 134357630@KACHIPYTEL.COM
 2YY8CH     1/1/2021 OB     1/4/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL        MICHAELMOUTH           NV                    US   89102 134357663@KACHIPYTEL.COM
 2Z69TC     1/1/2021 OB     1/4/2021 WN;941;ATL;MDW;WN;6864;MDW;DTW        ALEXANDERHAVEN         NV                    US   14818 134357971@KACHIPYTEL.COM
 2Z9SU3     1/1/2021 OB     1/4/2021 WN;1087;ATL;BWI                       AMANDASHIRE            HI                    US   56730 134358224@KACHIPYTEL.COM
 2ZGUGE     1/2/2021 OB     1/4/2021 WN;1196;IND;PHX;WN;526;PHX;SFO        NEW MARGARET           IA                    US   62921 134357894@KACHIPYTEL.COM
 2ZTV5M     1/2/2021 OB     1/4/2021 WN;516;SMF;HOU;WN;1802;HOU;MCO        ANGELALAND             KY                    US   49877 134359511@KACHIPYTEL.COM
 2ZTV5M     1/2/2021 OB     1/4/2021 WN;516;SMF;HOU;WN;1802;HOU;MCO        ANGELALAND             KY                    US   49877 134359511@KACHIPYTEL.COM
 2ZW47X     1/2/2021 OB     1/8/2021 WN;3199;BUF;BWI;WN;2510;BWI;BOS       NORTH TANYA            WV                    US   58365 134359874@KACHIPYTEL.COM
 32LKYR     1/2/2021 OB     1/4/2021 WN;1427;DTW;PHX;WN;1601;PHX;LAS       LAKE WILLIAM           VA                    US   55680 134361436@KACHIPYTEL.COM
 32OZUD     1/2/2021 OB     1/3/2021 WN;1831;LAX;SLC;WN;1812;SLC;LAS       EAST SETH              DE                    US   34600 134361689@KACHIPYTEL.COM
 32SGWX     1/2/2021 OB     1/3/2021 WN;2027;SAT;DEN;WN;4695;DEN;SJC       VIEJA ESPANA           COLIMA                MX   46467 134362316@KACHIPYTEL.COM
 333FF3     1/2/2021 OB     1/2/2021 WN;1407;PHX;STL;WN;2297;STL;TUL       NEW TIMOTHY            PA                    US   33259 134362701@KACHIPYTEL.COM
 339FON     1/2/2021 OB     1/4/2021 WN;156;LGA;ATL;WN;467;ATL;FLL         LAKE VICKIBOROUGH      OR                    US   61144 134363196@KACHIPYTEL.COM
 33MIMF     1/2/2021 OB    3/12/2021 WN;702;DTW;MDW;WN;1940;MDW;ATL        NORTH PATRICIA         UT                    US   78886 134363856@KACHIPYTEL.COM
 33NLA7     1/2/2021 OB     1/5/2021 WN;692;MDW;BWI;WN;908;BWI;FLL         NEW SARAH              WA                    US   11099 134364065@KACHIPYTEL.COM
 33TVKN     1/2/2021 OB     1/6/2021 WN;313;BWI;MDW;WN;1366;MDW;ATL        PORT MICHAEL           AZ                    US   48822 134364307@KACHIPYTEL.COM
 33VDUR     1/2/2021 OB     1/5/2021 WN;1584;TPA;PHX                       NORTH JOHNFURT         KY                    US   76015 134364516@KACHIPYTEL.COM
 345ACI     1/2/2021 OB     1/3/2021 WN;1810;PHX;HOU;WN;3485;HOU;MIA       LAKE COURTNEYBERG      IN                    US   23447 134365231@KACHIPYTEL.COM
 349XQD     1/2/2021 OB     1/2/2021 WN;1051;MIA;BWI                       CRYSTALMOUTH           WA                    US   21472 134365253@KACHIPYTEL.COM
 34BS6Z     1/2/2021 OB    1/18/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA       LAKE CHRISTOPHER       NY                    US   64215 134365429@KACHIPYTEL.COM
 34STBG     1/2/2021 OB     1/2/2021 WN;2108;TPA;DCA;WN;297;DCA;AUS        MICHAELBURY            TN                    US   38045 134366342@KACHIPYTEL.COM
 34ULJQ     1/2/2021 OB     1/2/2021 WN;1819;CLT;DAL                       LOVOSICE               LIBEREC               CZ   76225 134366419@KACHIPYTEL.COM
 35CNR9     1/2/2021 OB     1/6/2021 WN;1262;PHX;LAS;WN;348;LAS;LGB        SOUTH JASON            NH                    US   76440 134367090@KACHIPYTEL.COM
 35COEQ     1/2/2021 OB     1/6/2021 WN;1168;LAS;PHX;WN;1393;PHX;LAX       DOUGLASFORT            PA                    US    6894 134367090@KACHIPYTEL.COM
 35L9FM     1/2/2021 OB     1/4/2021 WN;314;MDW;BWI;WN;1245;BWI;BOS        EAST MEGAN             MA                    US   89179 134367728@KACHIPYTEL.COM
 35PM3A     1/2/2021 OB     1/8/2021 WN;791;ATL;HOU                        NORTH LAURATOWN        NV                    US   70677 134367772@KACHIPYTEL.COM
 36CONG     1/2/2021 OB     1/5/2021 WN;224;ATL;MDW;WN;1011;MDW;MIA        PHAADR                 JHARKHAND             IN    6178 134369499@KACHIPYTEL.COM
 36EPYA     1/2/2021 OB     1/2/2021 WN;4556;LAS;PHX;WN;1898;PHX;LGB       SOUTH ANTHONYSIDE      NV                    US    3105 134369741@KACHIPYTEL.COM
 36QP94     1/2/2021 OB     1/2/2021 WN;2098;DAL;BWI;WN;1214;BWI;PWM       POCEONSI               GYEONGSANGBUKDO       KR    7299 134370599@KACHIPYTEL.COM
 36QP94     1/2/2021 OB     1/2/2021 WN;2098;DAL;BWI;WN;1214;BWI;PWM       POCEONSI               GYEONGSANGBUKDO       KR    7299 134370599@KACHIPYTEL.COM
 36XO8D     1/2/2021 OB     1/4/2021 WN;153;ATL;HOU;WN;764;HOU;FLL         TINAHAVEN              IA                    US   67751 134371072@KACHIPYTEL.COM
 3739QB     1/2/2021 OB     1/2/2021 WN;2007;LGA;ATL;WN;1820;ATL;MCO       NICOLELAND             OH                    US   67317 134371105@KACHIPYTEL.COM
 37ALSO     1/2/2021 OB     1/2/2021 WN;1653;ATL;PHX                       NEW KIMBERLYPORT       CO                    US   86174 134371490@KACHIPYTEL.COM
 37H985     1/2/2021 OB     1/9/2021 WN;2391;SAT;LAS;WN;1759;LAS;LGB       NORTH JOHNLAND         UT                    US   70791 134371424@KACHIPYTEL.COM
 38ASWA     1/2/2021 OB     1/5/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL        TAYLORSHIRE            ND                    US    2192 134373041@KACHIPYTEL.COM
 396MCM     1/2/2021 OB     1/6/2021 WN;1058;MIA;BWI;WN;1475;BWI;CLE       CALDAS DA RAINHA       VISEU                 PT   71384 134374955@KACHIPYTEL.COM
 39EUQU     1/2/2021 OB     1/2/2021 WN;2179;MDW;ATL;WN;6913;ATL;MEM       NORTH JOHN             FL                    US   94191 134376000@KACHIPYTEL.COM
 39KO55     1/2/2021 OB     1/2/2021 WN;1916;HOU;PHX;WN;2080;PHX;GEG       TINABURY               NE                    US   60156 134376330@KACHIPYTEL.COM
 39OE29     1/2/2021 OB     1/2/2021 WN;1916;HOU;PHX;WN;2080;PHX;GEG       PORT EMILY             WI                    US   52603 134376330@KACHIPYTEL.COM
 3AE9FQ     1/2/2021 OB     1/3/2021 WN;4808;PHX;SMF;WN;4976;SMF;LAS       ROBBINSBOROUGH         ND                    US   61405 134378189@KACHIPYTEL.COM
 3E4E2P     1/2/2021 OB     1/6/2021 WN;277;BOS;BWI                        ST KOMSOMOLSKNAAMURE   SARATOVSKAYA OBLAST   RU   35740 134393105@KACHIPYTEL.COM
 3E4E2P     1/2/2021 OB     1/6/2021 WN;277;BOS;BWI                        ST KOMSOMOLSKNAAMURE   SARATOVSKAYA OBLAST   RU   35740 134393105@KACHIPYTEL.COM
 3ELHIA     1/2/2021 OB     1/2/2021 WN;1902;PHX;MDW;WN;1081;MDW;CLE       DAVIDTOWN              VT                    US   94997 134394810@KACHIPYTEL.COM
 3F38XZ     1/2/2021 OB    1/27/2021 WN;2026;ATL;DEN;WN;4346;DEN;LAX       SMITHCHESTER           CT                    US   52348 134397076@KACHIPYTEL.COM
 3FIT7T     1/2/2021 OB     1/5/2021 WN;321;FLL;IND;WN;730;IND;ATL         PORT VALERIE           UT                    US   60459 134399089@KACHIPYTEL.COM
 3FV254     1/2/2021 OB     2/8/2021 WN;3804;LGA;STL                       NEW CARLABURY          SJAELLAND             DK   20605 134400079@KACHIPYTEL.COM
 3FV254     1/2/2021 OB     2/8/2021 WN;3804;LGA;STL                       NEW CARLABURY          SJAELLAND             DK   20605 134400079@KACHIPYTEL.COM
 3FV254     1/2/2021 OB     2/8/2021 WN;3804;LGA;STL                       NEW CARLABURY          SJAELLAND             DK   20605 134400079@KACHIPYTEL.COM




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3GJ8U5   1/2/2021 OB    1/3/2021 WN;1739;OMA;PHX;WN;4125;PHX;TUL   FRANKFURT              AZ                       US   98272 134403665@KACHIPYTEL.COM
3GJTU2   1/2/2021 OB    1/3/2021 WN;4930;LAS;BWI;WN;102;BWI;MIA    NICHOLASMOUTH          SD                       US   43658 134403115@KACHIPYTEL.COM
3GWGXH   1/2/2021 OB    1/7/2021 WN;332;MIA;BWI;WN;1657;BWI;CLE    GEORGEBURGH            VT                       US    3635 134405304@KACHIPYTEL.COM
3H9YT5   1/2/2021 OB    1/3/2021 WN;3806;LAX;MDW;WN;4968;MDW;MCO   SOUTH PAULA            WV                       US   78820 134406965@KACHIPYTEL.COM
3HAD6Z   1/2/2021 OB    1/5/2021 WN;1320;FLL;BWI                   EAST JESSICAFURT       SREDNJOBOSANSKI KANTON   BA   42991 134402532@KACHIPYTEL.COM
3HATB8   1/2/2021 OB    1/3/2021 WN;1998;ATL;BWI;WN;4229;BWI;MIA   LAMTOWN                MA                       US   63106 134406943@KACHIPYTEL.COM
3HIWFL   1/2/2021 OB    1/9/2021 WN;4647;LAX;MDW;WN;4668;MDW;MCO   NEW ERIC               NC                       US   78984 134408021@KACHIPYTEL.COM
3HNDHK   1/2/2021 OB    1/3/2021 WN;3926;DCA;STL;WN;3926;STL;HOU   SOUTH MANUELTOWN       UT                       US   48092 134408857@KACHIPYTEL.COM
3IEIUC   1/2/2021 OB   1/10/2021 WN;3704;LAS;STL;WN;3301;STL;FLL   PORT SAMANTHA          MN                       US    8092 134411233@KACHIPYTEL.COM
3IZRMP   1/2/2021 OB    1/3/2021 WN;3482;MIA;BWI;WN;4711;BWI;JAX   WEST MELISSA           ID                       US   34427 134414302@KACHIPYTEL.COM
3J2CPG   1/2/2021 OB   1/10/2021 WN;3170;PHX;HOU;WN;506;HOU;CVG    P ARSENEV              SAMARASKAYA OBLAST       RU   70422 134414225@KACHIPYTEL.COM
3K4C4R   1/2/2021 OB    1/4/2021 WN;499;DTW;MDW;WN;457;MDW;ATL     HEATHERSTAD            MA                       US   97114 134420110@KACHIPYTEL.COM
3K5FOB   1/2/2021 OB    1/5/2021 WN;1421;ATL;BWI                   LAKE ZACHARYFORT       WI                       US   90440 134421023@KACHIPYTEL.COM
3KJO6F   1/2/2021 OB   1/12/2021 WN;3714;LAX;BWI                   SOUTH KIMBERLY         MD                       US   84797 134422222@KACHIPYTEL.COM
3L8CWL   1/2/2021 OB    1/7/2021 WN;3368;ATL;HOU                   SOUTH JAMIESHIRE       OK                       US   88072 134396053@KACHIPYTEL.COM
3LDJ4T   1/2/2021 OB    1/4/2021 WN;1125;LAS;OAK;WN;1130;OAK;LAX   JENNIFERVILLE          KS                       US   24657 134426633@KACHIPYTEL.COM
3LEY3N   1/2/2021 OB    1/8/2021 WN;715;ATL;BWI;WN;102;BWI;MIA     NEW TIMOTHYBURGH       CA                       US   86176 134426237@KACHIPYTEL.COM
3LFLCM   1/2/2021 OB    1/5/2021 WN;933;DTW;BWI;WN;242;BWI;BOS     WEST ANTHONY           IL                       US    6439 134426677@KACHIPYTEL.COM
3M4263   1/2/2021 OB    1/5/2021 WN;224;ATL;MDW;WN;1011;MDW;MIA    SCOTTHAVEN             TX                       US   88360 134429339@KACHIPYTEL.COM
3MZIF6   1/2/2021 OB    1/7/2021 WN;1990;ATL;BWI;WN;331;BWI;MIA    JODYFORT               CA                       US   16689 134432221@KACHIPYTEL.COM
3N9SJL   1/2/2021 OB    1/7/2021 WN;206;IND;PHX;WN;4118;PHX;SFO    WEST SCOTTFURT         OK                       US   92153 134433354@KACHIPYTEL.COM
3N9Y62   1/2/2021 OB   1/10/2021 WN;239;AUS;SJC;WN;2408;SJC;LGB    PORT SUSANHAVEN        ND                       US    8318 134433849@KACHIPYTEL.COM
3NB6AB   1/2/2021 OB    1/6/2021 WN;774;TPA;BWI                    HARPERBURGH            MT                       US   25872 134433717@KACHIPYTEL.COM
3NQAVX   1/2/2021 OB    1/3/2021 WN;3806;LAX;MDW;WN;4968;MDW;MCO   WOODBERG               NM                       US   45694 134435246@KACHIPYTEL.COM
3O32O4   1/2/2021 OB    1/5/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL    JOSHUAFURT             WI                       US   93556 134436049@KACHIPYTEL.COM
3OCTUM   1/3/2021 OB    1/4/2021 WN;154;HOU;ATL;WN;745;ATL;DAL     GARCIASIDE             CO                       US   31246 134436709@KACHIPYTEL.COM
3OUF5S   1/3/2021 OB    1/7/2021 WN;1997;MCO;DEN;WN;1454;DEN;MSP   FIELDSHAVEN            ME                       US   50620 134438073@KACHIPYTEL.COM
3OUF5S   1/3/2021 OB    1/7/2021 WN;1997;MCO;DEN;WN;1454;DEN;MSP   FIELDSHAVEN            ME                       US   50620 134438073@KACHIPYTEL.COM
3OUF5S   1/3/2021 OB    1/7/2021 WN;1997;MCO;DEN;WN;1454;DEN;MSP   FIELDSHAVEN            ME                       US   50620 134438073@KACHIPYTEL.COM
3P5PG9   1/3/2021 OB    1/7/2021 WN;2466;DEN;SMF                   LAKE BRIAN             CO                       US   40045 134438183@KACHIPYTEL.COM
3P772W   1/3/2021 OB   1/13/2021 WN;3239;BWI;LAS;WN;2073;LAS;LGB   BARBARAMOUTH           AZ                       US   97543 134439096@KACHIPYTEL.COM
3PN7RC   1/3/2021 OB    1/6/2021 WN;188;MDW;MCI;WN;225;MCI;FLL     LARRYTOWN              DE                       US   60958 134439701@KACHIPYTEL.COM
3PPHTW   1/3/2021 OB    1/9/2021 WN;4662;ATL;AUS;WN;2454;AUS;MCO   DAVIDSTAD              SD                       US   11577 134432001@KACHIPYTEL.COM
3QOWJO   1/3/2021 OB    1/8/2021 WN;1900;SEA;SMF;WN;4873;SMF;LAS   KEVINBURGH             NV                       US   80390 134442935@KACHIPYTEL.COM
3R2YCT   1/3/2021 OB    1/4/2021 WN;709;HOU;SMF;WN;106;SMF;GEG     PORT JUANSTAD          DE                       US   68929 134443386@KACHIPYTEL.COM
3R2YCT   1/3/2021 OB    1/4/2021 WN;709;HOU;SMF;WN;106;SMF;GEG     PORT JUANSTAD          DE                       US   68929 134443386@KACHIPYTEL.COM
3R9CWR   1/3/2021 OB   1/14/2021 WN;4149;PHL;BNA;WN;2664;BNA;JAX   NICHOLASFORT           HI                       US   43200 134443947@KACHIPYTEL.COM
3RB5ZI   1/3/2021 OB    1/3/2021 WN;3806;LAX;MDW;WN;4968;MDW;MCO   CASEYBURGH             NH                       US   15204 134444299@KACHIPYTEL.COM
3RC5MG   1/3/2021 OB   1/30/2021 WN;1464;BWI;MSY;WN;4376;MSY;MCO   MARKVIEW               NV                       US   23367 134444156@KACHIPYTEL.COM
3RQPGU   1/3/2021 OB   1/10/2021 WN;4818;SAN;STL;WN;3301;STL;FLL   KNOXMOUTH              IA                       US   75107 134441615@KACHIPYTEL.COM
3RZAAA   1/3/2021 OB    1/3/2021 WN;1859;ATL;PHX;WN;1567;PHX;LGB   WEST ADAM              WY                       US   72689 134445652@KACHIPYTEL.COM
3RZWQ2   1/3/2021 OB    1/3/2021 WN;1798;FLL;BNA;WN;3867;BNA;BWI   SARAHSTAD              MI                       US    6359 134446070@KACHIPYTEL.COM
3S4IO4   1/3/2021 OB    1/7/2021 WN;4287;LAX;SMF;WN;4873;SMF;LAS   PURBACH AM NEUSIEDLE   WIEN                     AT   58286 134446246@KACHIPYTEL.COM
3S4IO4   1/3/2021 OB    1/7/2021 WN;4287;LAX;SMF;WN;4873;SMF;LAS   PURBACH AM NEUSIEDLE   WIEN                     AT   58286 134446246@KACHIPYTEL.COM
3S6FVW   1/3/2021 OB    1/3/2021 WN;1831;LAX;SLC;WN;1812;SLC;LAS   EAST ROBERT            IN                       US   51409 134445960@KACHIPYTEL.COM
3S6FVW   1/3/2021 OB    1/3/2021 WN;1831;LAX;SLC;WN;1812;SLC;LAS   EAST ROBERT            IN                       US   51409 134445960@KACHIPYTEL.COM
3SBBPN   1/3/2021 OB    1/5/2021 WN;143;ATL;MDW                    NEW ROSSVILLE          LA                       US    1347 134446829@KACHIPYTEL.COM
3SBW7W   1/3/2021 OB   1/24/2021 WN;3714;LAX;BWI;WN;102;BWI;MIA    MAYERMOUTH             MA                       US   46903 134446433@KACHIPYTEL.COM
3SFO37   1/3/2021 OB   1/10/2021 WN;4172;MCO;MDW;WN;2510;MDW;LAX   JACLYNBURY             NY                       US   34198 134447280@KACHIPYTEL.COM
3SMROZ   1/3/2021 OB   1/30/2021 WN;2082;FLL;PHX;WN;2085;PHX;LAX   BARNBACH               WIEN                     AT   30304 134447720@KACHIPYTEL.COM
3SYBAN   1/3/2021 OB    1/5/2021 WN;510;FLL;MDW;WN;1116;MDW;ATL    GUNZENHAUSEN           BRANDENBURG              DE   39843 134448457@KACHIPYTEL.COM
3TJVH7   1/3/2021 OB    1/4/2021 WN;585;LAS;SLC;WN;235;SLC;LAX     SAN MARIA ELENA DE L   CHIHUAHUA                MX   64623 134449733@KACHIPYTEL.COM
3UNM5Q   1/3/2021 OB    1/3/2021 WN;1668;ROC;MCO;WN;2096;MCO;PVD   MARTOWNI               VAYOC JOR                AM   23962 134451273@KACHIPYTEL.COM
3VGDP6   1/3/2021 OB    1/4/2021 WN;962;LAS;OAK;WN;1387;OAK;LAX    SOUTH JOSEPHMOUTH      NE                       US   92051 134453176@KACHIPYTEL.COM
3W5BSW   1/3/2021 OB    1/5/2021 WN;2008;LAX;SMF;WN;1457;SMF;LAS   LOPEZMOUTH             VT                       US   59179 134454573@KACHIPYTEL.COM
3W5SV3   1/3/2021 OB    1/3/2021 WN;3806;LAX;MDW;WN;4968;MDW;MCO   MCPHERSONTON           NV                       US   54113 134454672@KACHIPYTEL.COM
3YFRBI   1/3/2021 OB    1/3/2021 WN;3018;LAS;MDW;WN;2802;MDW;FLL   DUNNMOUTH              LA                       US   15494 134461382@KACHIPYTEL.COM
3YKFBH   1/3/2021 OB    1/6/2021 WN;1051;MIA;BWI;WN;2285;BWI;CLE   ISAACCHESTER           WA                       US   45966 134462328@KACHIPYTEL.COM
3ZI84H   1/3/2021 OB    1/3/2021 WN;2081;ATL;DCA                   LAKE MICHAELBOROUGH    OH                       US   17650 133991385@KACHIPYTEL.COM
3ZMOLW   1/3/2021 OB    1/4/2021 WN;802;LAS;BWI;WN;3369;BWI;CVG    KEVINBOROUGH           AZ                       US    1488 134466167@KACHIPYTEL.COM
3ZUK87   1/3/2021 OB    1/3/2021 WN;1058;MIA;BWI;WN;1809;BWI;ATL   NORTH HOLLY            KS                       US   93317 134467432@KACHIPYTEL.COM
42IRQT   1/3/2021 OB   1/17/2021 WN;1385;SAN;OAK                   BUCKHAVEN              KS                       US   59891 134469841@KACHIPYTEL.COM
42YMBW   1/3/2021 OB    1/3/2021 WN;1866;DTW;MDW;WN;2049;MDW;BOS   EAST THOMAS            OK                       US   17875 134471975@KACHIPYTEL.COM
43GD9L   1/3/2021 OB    1/6/2021 WN;161;SEA;SMF;WN;1224;SMF;DEN    WEST LISA              IN                       US   17053 134474956@KACHIPYTEL.COM
44TOKQ   1/3/2021 OB    1/4/2021 WN;660;MIA;BWI;WN;1351;BWI;RDU    SOUTH CHAD             ID                       US   17525 134481138@KACHIPYTEL.COM
45F3TE   1/3/2021 OB    1/7/2021 WN;6004;LGA;TPA                   G VILIUISK             KURGANSKAYA OBLAST       RU   26685 134483833@KACHIPYTEL.COM
45F3TE   1/3/2021 OB    1/8/2021 WN;4143;TPA;MIA                   G VILIUISK             KURGANSKAYA OBLAST       RU   26685 134483833@KACHIPYTEL.COM
45F3TE   1/3/2021 OB    1/7/2021 WN;6004;LGA;TPA                   G VILIUISK             KURGANSKAYA OBLAST       RU   26685 134483833@KACHIPYTEL.COM
45F3TE   1/3/2021 OB    1/8/2021 WN;4143;TPA;MIA                   G VILIUISK             KURGANSKAYA OBLAST       RU   26685 134483833@KACHIPYTEL.COM
45U9G8   1/3/2021 OB    1/4/2021 WN;166;ATL;TPA;WN;395;TPA;BWI     STEVENSHAVEN           AZ                       US   95663 134486627@KACHIPYTEL.COM
46D7ZC   1/3/2021 OB    1/6/2021 WN;821;MSP;MDW;WN;464;MDW;PHX     SMITHBOROUGH           MT                       US   94890 134489245@KACHIPYTEL.COM
474GDI   1/3/2021 OB    1/4/2021 WN;3362;DAL;MDW                   NEW JUSTIN             KY                       US   26490 134492413@KACHIPYTEL.COM
474GDI   1/3/2021 OB    1/4/2021 WN;3362;DAL;MDW                   NEW JUSTIN             KY                       US   26490 134492413@KACHIPYTEL.COM
47AENN   1/3/2021 OB   1/11/2021 WN;2307;BOI;DEN                   NORTH STEPHANIEBERG    CA                       US   16828 132626747.1528789@KACHIPYTEL.COM
47B8KC   1/3/2021 OB    1/5/2021 WN;510;FLL;MDW;WN;1116;MDW;ATL    S SERAFIMOVICH         KURSKAYA OBLAST          RU    4378 134493766@KACHIPYTEL.COM
47CCKH   1/3/2021 OB   4/19/2021 WN;1805;AUA;BWI;WN;2520;BWI;MIA   NORTH VICTORIAFURT     IN                       US   27856 134494074@KACHIPYTEL.COM
47LV8Y   1/3/2021 OB    1/9/2021 WN;3466;ATL;HOU;WN;2890;HOU;MIA   SUSANTOWN              MS                       US    1293 134495944@KACHIPYTEL.COM
47NM89   1/3/2021 OB   1/10/2021 WN;2609;HOU;ATL;WN;5067;ATL;MCO   MORGANSHIRE            AR                       US    1420 134495944@KACHIPYTEL.COM
47ZAX7   1/3/2021 OB    1/6/2021 WN;2008;LAX;SMF;WN;1457;SMF;LAS   DAVIDSHIRE             FL                       US   85650 134497209@KACHIPYTEL.COM
484HS4   1/3/2021 OB    1/5/2021 WN;321;FLL;IND                    NEW JEREMY             VT                       US    5226 134497649@KACHIPYTEL.COM
484HS4   1/3/2021 OB    1/6/2021 WN;321;FLL;IND;WN;730;IND;ATL     NEW JEREMY             VT                       US    5226 134497649@KACHIPYTEL.COM
48HWET   1/3/2021 OB    1/5/2021 WN;510;FLL;MDW;WN;1116;MDW;ATL    NUNEZTON               HI                       US   93943 134500839@KACHIPYTEL.COM
48NGKQ   1/3/2021 OB   1/10/2021 WN;3704;LAS;STL                   ANDREACHESTER          NJ                       US    4994 134501763@KACHIPYTEL.COM
48O6TA   1/3/2021 OB    1/4/2021 WN;835;LAX;STL;WN;1442;STL;MCO    MICHAELVIEW            AL                       US    1523 134501488@KACHIPYTEL.COM
48O6TA   1/3/2021 OB    1/4/2021 WN;835;LAX;STL;WN;1442;STL;MCO    MICHAELVIEW            AL                       US    1523 134501488@KACHIPYTEL.COM
4926WB   1/3/2021 OB    1/4/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL    WEST KIMBERLY          MA                       US   76252 134503226@KACHIPYTEL.COM
49MMIX   1/3/2021 OB    1/6/2021 WN;1014;MIA;MDW;WN;2172;MDW;LGA   NORTH WILLIAM          WA                       US   30401 134506471@KACHIPYTEL.COM
49TNBS   1/3/2021 OB   1/13/2021 WN;3343;ATL;STL;WN;3422;STL;LGA   BECKERCHESTER          MT                       US   89287 134507351@KACHIPYTEL.COM
49XT2R   1/3/2021 OB    1/4/2021 WN;1125;LAS;OAK;WN;1130;OAK;LAX   WEST SCOTTFORT         WV                       US   45247 134507571@KACHIPYTEL.COM
4ACBH6   1/3/2021 OB    1/9/2021 WN;6055;DCA;TPA;WN;2094;TPA;ATL   ROBERTSTON             AL BUHAYRAH              EG   64583 134509507@KACHIPYTEL.COM
4AD9I2   1/3/2021 OB    1/8/2021 WN;953;ATL;BNA                    EAST VIRGINIA          ME                       US   21014 134509826@KACHIPYTEL.COM
4AFTPH   1/3/2021 OB    1/9/2021 WN;4574;LAX;OAK;WN;4819;OAK;LAS   NEW JENNIFER           CT                       US   18594 134509738@KACHIPYTEL.COM
4AO2EZ   1/3/2021 OB    1/9/2021 WN;3001;ATL;MDW                   PORT KENNETH           NM                       US   48115 134510387@KACHIPYTEL.COM
4B2HNT   1/3/2021 OB    1/8/2021 WN;2046;ATL;HOU;WN;2723;HOU;MIA   FITZPATRICKFORT        ID                       US   94871 134512224@KACHIPYTEL.COM
4B4RKW   1/3/2021 OB   1/11/2021 WN;715;ATL;BWI;WN;102;BWI;MIA     PORT KENDRA            TX                       US   72479 134507659@KACHIPYTEL.COM
4B4RKW   1/3/2021 OB   1/11/2021 WN;715;ATL;BWI;WN;102;BWI;MIA     PORT KENDRA            TX                       US   72479 134507659@KACHIPYTEL.COM
4B74WY   1/3/2021 OB   1/26/2021 WN;346;SJU;BWI                    COSTA DO OESTE         ACRE                     BR   94467 134512972@KACHIPYTEL.COM
4B74WY   1/3/2021 OB   1/26/2021 WN;346;SJU;BWI                    COSTA DO OESTE         ACRE                     BR   94467 134512972@KACHIPYTEL.COM
4B74WY   1/3/2021 OB   1/26/2021 WN;346;SJU;BWI                    COSTA DO OESTE         ACRE                     BR   94467 134512972@KACHIPYTEL.COM
4B74WY   1/3/2021 OB   1/26/2021 WN;346;SJU;BWI                    COSTA DO OESTE         ACRE                     BR   94467 134512972@KACHIPYTEL.COM
4B9EUR   1/3/2021 OB    1/9/2021 WN;3001;ATL;MDW                   SILVABOROUGH           MT                       US   53175 134512730@KACHIPYTEL.COM
4BNXY9   1/3/2021 OB    1/4/2021 WN;1014;MIA;MDW;WN;353;MDW;MEM    WEST JULIA             NY                       US   74446 134514589@KACHIPYTEL.COM
4BXQIR   1/3/2021 OB    1/5/2021 WN;135;ATL;STL;WN;634;STL;TPA     NEW RICHARDMOUTH       ME                       US   66560 134515480@KACHIPYTEL.COM
4C5ROY   1/3/2021 OB    1/6/2021 WN;154;LGA;STL;WN;1481;STL;OKC    WEST KELLYVIEW         MS                       US   32425 134515909@KACHIPYTEL.COM
4C5ROY   1/3/2021 OB    1/6/2021 WN;154;LGA;STL;WN;1481;STL;OKC    WEST KELLYVIEW         MS                       US   32425 134515909@KACHIPYTEL.COM
4C7FKS   1/3/2021 OB    1/4/2021 WN;138;LAS;DEN;WN;996;DEN;CVG     JOHNSONSTAD            KS                       US   60460 134516107@KACHIPYTEL.COM
4CAA4O   1/3/2021 OB   1/11/2021 WN;715;ATL;BWI;WN;102;BWI;MIA     CITRKUUTT              HIMACHAL PRADESH         IN   62590 134516426@KACHIPYTEL.COM
4CJ8R5   1/3/2021 OB    1/6/2021 WN;1008;ATL;BWI;WN;749;BWI;MCO    PORT MARKBURY          WY                       US   36567 134517240@KACHIPYTEL.COM
4CJ8R5   1/3/2021 OB    1/6/2021 WN;1008;ATL;BWI;WN;749;BWI;MCO    PORT MARKBURY          WY                       US   36567 134517240@KACHIPYTEL.COM




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 4CPYMS   1/3/2021 OB    1/4/2021 WN;1583;ATL;HOU;WN;1056;HOU;MIA      ZHANGCHESTER           GA               US   38812 134517933@KACHIPYTEL.COM
 4D6XIB   1/4/2021 OB    1/4/2021 WN;962;LAS;OAK;WN;1387;OAK;LAX       ADAMSFORT              TX               US   24663 134518989@KACHIPYTEL.COM
 4DEMND   1/4/2021 OB    1/6/2021 WN;1014;MIA;MDW;WN;2172;MDW;LGA      JOSHUAPORT             SD               US   67268 134519605@KACHIPYTEL.COM
 4DIS8L   1/4/2021 OB    1/7/2021 WN;4572;BWI;ATL;WN;1966;ATL;DEN      VALETTEDAN             ISERE            FR   70768 134519869@KACHIPYTEL.COM
 4DJROE   1/4/2021 OB    1/5/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL       THIERRYSURDUPONT       PAYSDELALOIRE    FR   91528 134519869@KACHIPYTEL.COM
 4DRBIN   1/4/2021 OB    1/5/2021 WN;941;ATL;MDW;WN;1427;MDW;DTW       BILLYPORT              VT               US   57119 134520584@KACHIPYTEL.COM
 4E4G3M   1/4/2021 OB    1/6/2021 WN;460;PHX;SMF;WN;1084;SMF;LGB       GARRETTVIEW            KS               US   75436 134521783@KACHIPYTEL.COM
 4EBJ3C   1/4/2021 OB    1/4/2021 WN;657;HOU;MDW;WN;6708;MDW;STL       WINTERSWIJK HUPPEL     LIMBURG          NL   77875 134522267@KACHIPYTEL.COM
 4EV4KD   1/4/2021 OB   1/30/2021 WN;3727;STL;ATL;WN;4537;ATL;IND      PEARSONTON             AZ               US   65098 134524093@KACHIPYTEL.COM
 4EWFJX   1/4/2021 OB    1/8/2021 WN;1394;RSW;MDW;WN;3262;MDW;PHL      EAST DENISEVILLE       MS               US   93548 134524159@KACHIPYTEL.COM
 4GOGK5   1/4/2021 OB    1/4/2021 WN;1053;DAL;MCI;WN;189;MCI;MDW       NEW JUSTIN             KY               US   26490 134492413@KACHIPYTEL.COM
 4GUITP   1/4/2021 OB    1/4/2021 WN;112;ATL;PHX;WN;1196;PHX;GEG       RHODESBURY             NH               US   90651 134529516@KACHIPYTEL.COM
 4HDRV7   1/4/2021 OB    1/5/2021 WN;1196;IND;PHX;WN;6265;PHX;MSP      JOHNSONCHESTER         OK               US   51930 134530297@KACHIPYTEL.COM
 4HM7TY   1/4/2021 OB    1/5/2021 WN;346;SJU;BWI;WN;749;BWI;MCO        SOUTH RENEEMOUTH       NH               US   19901 134530814@KACHIPYTEL.COM
 4I6N5Y   1/4/2021 OB    1/4/2021 WN;574;GEG;LAS                       DAVIDMOUTH             MO               US   19967 134531595@KACHIPYTEL.COM
 4JASQA   1/4/2021 OB    1/4/2021 WN;1246;PHX;DAL                      SOUTH DAVID            VT               US   59479 134534125@KACHIPYTEL.COM
 4JBUGX   1/4/2021 OB    1/4/2021 WN;1397;DAL;BWI                      LAKE JAMESSHIRE        OH               US   39071 134534125@KACHIPYTEL.COM
 4LU67B   1/4/2021 OB    1/5/2021 WN;941;ATL;MDW;WN;1427;MDW;DTW       KIMPORT                LA               US   55173 134541770@KACHIPYTEL.COM
 4ODFYW   1/4/2021 OB    1/6/2021 WN;660;MIA;BWI;WN;1136;BWI;MCO       WEST JONATHANPORT      UT               US   87569 134553573@KACHIPYTEL.COM
 4OTD5Q   1/4/2021 OB   1/22/2021 WN;3804;LGA;STL;WN;5072;STL;FLL      VAUGHNSTAD             TX               US   43858 134556598@KACHIPYTEL.COM
 4PJG5W   1/4/2021 OB    1/5/2021 WN;962;LAS;OAK;WN;1387;OAK;LAX       CYNTHIACHESTER         KY               US   21843 134560679@KACHIPYTEL.COM
 4PSBP3   1/4/2021 OB    1/8/2021 WN;4196;MSP;MDW;WN;3611;MDW;PHX      DIANESTAD              KY               US   75988 134563451@KACHIPYTEL.COM
 4QVXIT   1/4/2021 OB    1/5/2021 WN;941;ATL;MDW;WN;1427;MDW;DTW       PORT TIFFANYLAND       NM               US   15929 134571217@KACHIPYTEL.COM
 4ROXAG   1/4/2021 OB   1/15/2021 WN;1528;DEN;AUS                      NEW WILLIAM            SD               US   51633 134575760@KACHIPYTEL.COM
 4RTNF6   1/4/2021 OB   1/22/2021 WN;2135;AUS;PHX;WN;4608;PHX;LAX      ROBERTSONPORT          MN               US   77621 134576827@KACHIPYTEL.COM
 4S78U2   1/4/2021 OB   1/25/2021 WN;4973;BNA;DCA;WN;2044;DCA;MDW      BRITTANYSIDE           ID               US   57997 134580688@KACHIPYTEL.COM
 4SBYV7   1/4/2021 OB   1/18/2021 WN;1909;DCA;BNA;WN;3959;BNA;ATL      ANDREWMOUTH            UT               US   69221 134580688@KACHIPYTEL.COM
 4SCC57   1/4/2021 OB    1/7/2021 WN;2220;MDW;BNA;WN;2438;BNA;MCO;WN;PORT AMBERFORT           OK               US   88780 134581920@KACHIPYTEL.COM
 4SJMC2   1/4/2021 OB   1/19/2021 WN;3804;LGA;STL;WN;4994;STL;MCO      LA CORUNA              CADIZ            ES   17884 134583064@KACHIPYTEL.COM
 4SLUG6   1/4/2021 OB   1/19/2021 WN;3804;LGA;STL;WN;4994;STL;MCO      MELILLA                LLEIDA           ES   33025 134582624@KACHIPYTEL.COM
 4SUUAO   1/4/2021 OB   1/16/2021 WN;1513;RIC;ATL;WN;2829;ATL;FLL      CRAIGMOUTH             MO               US   36626 134584571@KACHIPYTEL.COM
 4T6T2B   1/4/2021 OB    1/5/2021 WN;952;MCO;BWI;WN;142;BWI;MIA        WATSONBOROUGH          MO               US   32648 134585583@KACHIPYTEL.COM
 4UBBXP   1/4/2021 OB    1/5/2021 WN;941;ATL;MDW;WN;1427;MDW;DTW       EAST DANIELLESTAD      UT               US   87683 134595307@KACHIPYTEL.COM
 4UGL9M   1/4/2021 OB    1/9/2021 WN;5415;BNA;DEN;WN;2911;DEN;MCI      GARCIALAND             OK               US   23101 134595516@KACHIPYTEL.COM
 4UJIQT   1/4/2021 OB   1/18/2021 WN;3343;ATL;STL;WN;3422;STL;LGA      KELSEYCHESTER          MS               US   39695 134595659@KACHIPYTEL.COM
 4UJIQT   1/4/2021 OB   1/18/2021 WN;3343;ATL;STL;WN;3422;STL;LGA      KELSEYCHESTER          MS               US   39695 134595659@KACHIPYTEL.COM
 4UQ76Q   1/4/2021 OB    1/4/2021 WN;2008;LAX;SMF;WN;1457;SMF;LAS      WEST HEATHERVILLE      MA               US   15629 134598442@KACHIPYTEL.COM
 4URFZB   1/4/2021 OB   1/10/2021 WN;3633;LAS;ATL;WN;2746;ATL;FLL      KORNWERDERZAND         NOORDHOLLAND     NL   69817 134598728@KACHIPYTEL.COM
 4URSVM   1/4/2021 OB    1/8/2021 WN;4042;FLL;BWI                      MARQUEZFURT            CT               US   32565 134598310@KACHIPYTEL.COM
 4V7F4S   1/4/2021 OB   1/10/2021 WN;4608;LAX;OAK;WN;4862;OAK;LAS      NORTH REGINALDSIDE     VT               US   58640 134601038@KACHIPYTEL.COM
 4WO3H6   1/4/2021 OB    1/8/2021 WN;3203;RDU;BNA;WN;2773;BNA;DEN;WN;2 TAYLORVIEW             MS               US    6882 134610630@KACHIPYTEL.COM
 4WWJV9   1/4/2021 OB    1/6/2021 WN;1490;LAS;SMF;WN;503;SMF;LAX       CARROLLFORT            MI               US   61478 134613864@KACHIPYTEL.COM
 4X34VC   1/4/2021 OB    1/5/2021 WN;765;MKE;BWI;WN;331;BWI;MIA        PORT ELIZABETHMOUTH    WY               US   40567 134613809@KACHIPYTEL.COM
 4XRTXP   1/4/2021 OB   1/13/2021 WN;2438;CLE;BNA;WN;3276;BNA;FLL      PORT ROBIN             OK               US   77547 134617593@KACHIPYTEL.COM
 4XUVJM   1/4/2021 OB    1/5/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL       WEST TYLER             VT               US   99163 134617890@KACHIPYTEL.COM
 4YDZM5   1/4/2021 OB   1/24/2021 WN;2246;ATL;STL;WN;3301;STL;FLL      RIVASMOUTH             MS               US   48256 134620728@KACHIPYTEL.COM
 4YDZM5   1/4/2021 OB   1/24/2021 WN;2246;ATL;STL;WN;3301;STL;FLL      RIVASMOUTH             MS               US   48256 134620728@KACHIPYTEL.COM
 4YDZM5   1/4/2021 OB   1/24/2021 WN;2246;ATL;STL;WN;3301;STL;FLL      RIVASMOUTH             MS               US   48256 134620728@KACHIPYTEL.COM
 4YGWJX   1/4/2021 OB    1/5/2021 WN;843;LAX;BWI;WN;940;BWI;BDL        FORDHAVEN              NY               US   74959 134620618@KACHIPYTEL.COM
 4YN4IP   1/4/2021 OB    1/5/2021 WN;524;CVG;MDW;WN;1048;MDW;PHX       SOUTH KURT             ASWAN            EG   72868 134622037@KACHIPYTEL.COM
 4YNGBV   1/4/2021 OB   1/12/2021 WN;2739;SAT;DEN                      LAKE ADRIANFORT        CT               US   66893 134621575@KACHIPYTEL.COM
 4YOMM6   1/4/2021 OB    1/5/2021 WN;984;ATL;BWI;WN;1199;BWI;FLL       EDWINVILLE             GA               US   70845 134622466@KACHIPYTEL.COM
 4YPUU4   1/4/2021 OB    1/5/2021 WN;631;ATL;BWI;WN;142;BWI;MIA        KARENBURGH             TX               US   32464 134621960@KACHIPYTEL.COM
 4YVGOS   1/4/2021 OB   1/17/2021 WN;3714;LAX;BWI                      LOPEZSIDE              MS               US   16735 134622884@KACHIPYTEL.COM
 4YVNBU   1/4/2021 OB    1/5/2021 WN;395;TPA;BWI;WN;1197;BWI;ATL       LAKE STEPHENTON        GA               US   69057 134622950@KACHIPYTEL.COM
 4YVNBU   1/4/2021 OB    1/5/2021 WN;395;TPA;BWI;WN;1197;BWI;ATL       LAKE STEPHENTON        GA               US   69057 134622950@KACHIPYTEL.COM
 4YVNBU   1/4/2021 OB    1/5/2021 WN;395;TPA;BWI;WN;1197;BWI;ATL       LAKE STEPHENTON        GA               US   69057 134622950@KACHIPYTEL.COM
 224GY5   1/5/2021 OB    1/5/2021 WN;1591;AUS;OAK;WN;714;OAK;PDX       MARTHABERG             OR               US   24012 134627020@KACHIPYTEL.COM
 229MCT   1/5/2021 OB   1/19/2021 WN;2234;LAX;STL                      ELIZABETHSIDE          NJ               US   70006 134627691@KACHIPYTEL.COM
 229MCT   1/5/2021 OB   1/19/2021 WN;2234;LAX;STL                      ELIZABETHSIDE          NJ               US   70006 134627691@KACHIPYTEL.COM
 22E7W5   1/5/2021 OB    1/5/2021 WN;1266;LAX;OAK                      AYALABERG              CA               US   64471 134627801@KACHIPYTEL.COM
 22WMG7   1/5/2021 OB    1/7/2021 WN;2770;MCO;DEN                      SAWYERFURT             IA               US   61671 134629704@KACHIPYTEL.COM
 22X7BN   1/5/2021 OB    1/5/2021 WN;631;ATL;BWI                       OLIVERMOUTH            DE               US   24246 134629462@KACHIPYTEL.COM
 23DMD9   1/5/2021 OB   1/10/2021 WN;3601;PIT;BWI;WN;102;BWI;MIA       LEACHCHESTER           HI               US   69150 134631123@KACHIPYTEL.COM
 23F7R3   1/5/2021 OB    1/5/2021 WN;984;ATL;BWI                       NEW KELSEY             NM               US   95338 134631464@KACHIPYTEL.COM
 24GU8A   1/5/2021 OB    1/8/2021 WN;3276;LAX;BNA;WN;2522;BNA;MCO      NORTH ANTHONY          WA               US   24013 134634390@KACHIPYTEL.COM
 24TH8I   1/5/2021 OB    1/8/2021 WN;3644;HOU;BWI                      WEST JAMES             LA               US   93013 134635039@KACHIPYTEL.COM
 24Y7ZD   1/5/2021 OB    1/6/2021 WN;1066;MCO;PHX;WN;1252;PHX;OAK      JASONVIEW              HI               US   55332 134635809@KACHIPYTEL.COM
 2549UX   1/5/2021 OB    1/6/2021 WN;923;PHX;BWI;WN;373;BWI;CVG        PORT JENNIFERSTAD      MD               US   45920 134635941@KACHIPYTEL.COM
 25E8J8   1/5/2021 OB    1/5/2021 WN;224;ATL;MDW;WN;1011;MDW;MIA       PORT KERRYPORT         MT               US   38892 134636623@KACHIPYTEL.COM
 25QPEM   1/5/2021 OB    1/8/2021 WN;2606;DAL;TPA;WN;6012;TPA;SDF      HOWARDLAND             TN               US   70074 134637998@KACHIPYTEL.COM
 25VH6A   1/5/2021 OB   1/10/2021 WN;2434;TPA;ATL                      KATHLEENVILLE          NV               US   62706 134637998@KACHIPYTEL.COM
 263U8E   1/5/2021 OB    1/6/2021 WN;1170;PHX;BNA;WN;350;BNA;CLE       WEST ANA               TN               US   73888 134638383@KACHIPYTEL.COM
 263U8E   1/5/2021 OB    1/6/2021 WN;1170;PHX;BNA;WN;350;BNA;CLE       WEST ANA               TN               US   73888 134638383@KACHIPYTEL.COM
 265XA3   1/5/2021 OB    1/7/2021 WN;3085;DEN;MCO;WN;2548;MCO;BWI      SOUTH PETEFORT         MIDTJYLLAND      DK   63377 134638724@KACHIPYTEL.COM
 26GKMX   1/5/2021 OB    1/5/2021 WN;494;ATL;MSY                       EAST CINDY             MI               US   99691 134639571@KACHIPYTEL.COM
 28RM43   1/5/2021 OB    1/5/2021 WN;802;LAS;BWI;WN;3369;BWI;CVG       LAKE BARBARA           CO               US   71851 134646028@KACHIPYTEL.COM
 28Z3N7   1/5/2021 OB   1/11/2021 WN;3254;AUS;ATL;WN;3082;ATL;MCO      JEFFERSONBURY          MN               US   25247 134646501@KACHIPYTEL.COM
 29GIRG   1/5/2021 OB    1/9/2021 WN;4738;DEN;SMF                      WEST TINABURY          MI               US   86914 134647810@KACHIPYTEL.COM
 29V7GU   1/5/2021 OB   1/10/2021 WN;4287;LAX;SMF;WN;4873;SMF;LAS      NORTH MICHELLE         SD               US   17852 134649427@KACHIPYTEL.COM
 2BGAAV   1/5/2021 OB   1/10/2021 WN;2531;LAS;BWI                      EAST ANGELA            NV               US   80253 134625645@KACHIPYTEL.COM
 2BIJKT   1/5/2021 OB    1/8/2021 WN;3239;BWI;LAS;WN;1900;LAS;SEA      KIMTON                 SC               US    1544 134625645@KACHIPYTEL.COM
 2BQFF9   1/5/2021 OB    1/5/2021 WN;1433;PDX;PHX;WN;1382;PHX;ABQ      MCDONALDSHIRE          MN               US   45250 134659591@KACHIPYTEL.COM
 2DH65J   1/5/2021 OB    1/5/2021 WN;2008;LAX;SMF                      SAN OSWALDO DE LA MO   MORELOS          MX   15885 134669469@KACHIPYTEL.COM
 2EGDK2   1/5/2021 OB   1/14/2021 WN;1909;DCA;BNA;WN;2438;BNA;MCO      LAKE ANGELABOROUGH     KS               US   29684 134674991@KACHIPYTEL.COM
 2EQQCY   1/5/2021 OB   1/15/2021 WN;470;CLE;BWI;WN;102;BWI;MIA        NEW AARONBURY          DE               US   28604 134677345@KACHIPYTEL.COM
 2EYDGR   1/5/2021 OB    1/7/2021 WN;4187;MSY;DEN;WN;2098;DEN;LAX      NORTH JANETBURGH       AK               US   85169 134678555@KACHIPYTEL.COM
 2EYDGR   1/5/2021 OB    1/7/2021 WN;4187;MSY;DEN;WN;2098;DEN;LAX      NORTH JANETBURGH       AK               US   85169 134678555@KACHIPYTEL.COM
 2FGVE3   1/5/2021 OB   1/11/2021 WN;3804;LGA;STL;WN;5072;STL;FLL      EAST JEANMOUTH         MI               US   64634 134682207@KACHIPYTEL.COM
 2GUJ3M   1/5/2021 OB   1/24/2021 WN;3254;AUS;ATL;WN;3803;ATL;MSY      BETHCHESTER            NM               US   55541 134692118@KACHIPYTEL.COM
 2HNN8F   1/5/2021 OB   1/10/2021 WN;2044;DCA;MDW;WN;2987;MDW;ATL      STEPHENSHIRE           NH               US   40046 134698201@KACHIPYTEL.COM
 2HNO7Q   1/5/2021 OB    1/8/2021 WN;4022;MDW;BWI;WN;4727;BWI;FLL      PORT JOSESIDE          MS               US   56109 134698201@KACHIPYTEL.COM
 2HTVPY   1/5/2021 OB   1/10/2021 WN;2699;SLC;DEN                      PAULMOUTH              IL               US   71060 134698234@KACHIPYTEL.COM
 2HTVPY   1/5/2021 OB   1/10/2021 WN;3927;DEN;LAX                      PAULMOUTH              IL               US   71060 134698234@KACHIPYTEL.COM
 2HTVPY   1/5/2021 OB   1/10/2021 WN;6233;LAS;SLC                      PAULMOUTH              IL               US   71060 134698234@KACHIPYTEL.COM
 2HU7JA   1/5/2021 OB   1/10/2021 WN;2699;SLC;DEN                      RAMIREZPORT            MO               US   83501 134698234@KACHIPYTEL.COM
 2HU7JA   1/5/2021 OB   1/10/2021 WN;3927;DEN;LAX                      RAMIREZPORT            MO               US   83501 134698234@KACHIPYTEL.COM
 2HU7JA   1/5/2021 OB   1/10/2021 WN;6233;LAS;SLC                      RAMIREZPORT            MO               US   83501 134698234@KACHIPYTEL.COM
 2HWJOI   1/5/2021 OB    1/6/2021 WN;2389;ATL;BWI                      BISHOPBERG             OH               US   21645 134699246@KACHIPYTEL.COM
 2HWJOI   1/5/2021 OB    1/6/2021 WN;2389;ATL;BWI                      BISHOPBERG             OH               US   21645 134699246@KACHIPYTEL.COM
 2IL8UW   1/5/2021 OB   1/10/2021 WN;3276;LAX;BNA;WN;2522;BNA;MCO      ZHONG YE QU            HYOGO            JP   83652 134703679@KACHIPYTEL.COM
 2J2HDL   1/5/2021 OB   1/12/2021 WN;3487;SLC;DAL;WN;2934;DAL;PHX      KLKH KIZHI             OMSKAYA OBLAST   RU   61736 134706374@KACHIPYTEL.COM
 2JNZRZ   1/5/2021 OB   1/13/2021 WN;1658;TUL;DAL;WN;482;DAL;PHX       RIOSBOROUGH            CT               US   75123 134711192@KACHIPYTEL.COM
 2JP4K7   1/5/2021 OB    1/7/2021 WN;3787;LGA;BNA;WN;3188;BNA;MCO      SOUTH SUZANNEBURY      ID               US   73069 134712105@KACHIPYTEL.COM
 2JP4K7   1/5/2021 OB    1/7/2021 WN;3787;LGA;BNA;WN;3188;BNA;MCO      SOUTH SUZANNEBURY      ID               US   73069 134712105@KACHIPYTEL.COM
 2JQ3RQ   1/5/2021 OB    1/6/2021 WN;631;ATL;BWI;WN;6803;BWI;SJU       GARCIABURY             GA               US   40090 134711544@KACHIPYTEL.COM
 2JS2SI   1/5/2021 OB   1/13/2021 WN;3422;LGA;DEN;WN;2606;DEN;PHX      PARKERSIDE             FL               US   17653 134712083@KACHIPYTEL.COM
 2KE4DH   1/5/2021 OB    1/6/2021 WN;1170;PHX;BNA                      NORTH NILMOUTH         ALBERTA          CA   71759 134715790@KACHIPYTEL.COM
 2KEMUN   1/5/2021 OB    1/9/2021 WN;6228;RSW;MDW;WN;4555;MDW;LGA      DIAZLAND               AR               US   34770 134716516@KACHIPYTEL.COM




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2KEMUN   1/5/2021 OB    1/9/2021 WN;6228;RSW;MDW;WN;4555;MDW;LGA        DIAZLAND               AR                    US   34770 134716516@KACHIPYTEL.COM
2LKEVQ   1/5/2021 OB    1/6/2021 WN;1019;SJU;TPA                        TUAL                   KEPULAUAN RIAU        ID   50963 134723171@KACHIPYTEL.COM
2LUZHK   1/5/2021 OB   1/11/2021 WN;1490;LAS;SMF;WN;4877;SMF;LGB        HAYNESHAVEN            KS                    US   40117 134725371@KACHIPYTEL.COM
2MY3H4   1/5/2021 OB    1/6/2021 WN;1421;ATL;BWI;WN;1561;BWI;DTW        TRANTOWN               IN                    US   14600 134731762@KACHIPYTEL.COM
2N2VDA   1/5/2021 OB   1/10/2021 WN;3429;LAS;DEN;WN;3927;DEN;LAX        EAST DENISEBURGH       NM                    US   95711 134732257@KACHIPYTEL.COM
2NC27H   1/5/2021 OB    1/6/2021 WN;1366;RSW;MDW;WN;821;MDW;BOS         NEW ROBERTVILLE        WY                    US     589 134733676@KACHIPYTEL.COM
2NQSV5   1/5/2021 OB    1/6/2021 WN;1051;MIA;BWI;WN;1054;BWI;MCO        ASHLEYTON              NV                    US   91604 134735304@KACHIPYTEL.COM
2NZ5W8   1/5/2021 OB   1/21/2021 WN;184;CLE;PHX;WN;3972;PHX;LAX         ROBERTCHESTER          MS                    US   71662 134736745@KACHIPYTEL.COM
2O6KCH   1/5/2021 OB   1/29/2021 WN;4943;PHX;SMF;WN;1493;SMF;LAS        ROYFURT                HI                    US   42318 134737350@KACHIPYTEL.COM
2OZASL   1/6/2021 OB   1/12/2021 WN;2770;CMH;MCO;WN;986;MCO;PIT;WN;98 CAROLINESIDE             MS                    US   65323 134740122@KACHIPYTEL.COM
2P5PMJ   1/6/2021 OB    1/9/2021 WN;4530;TPA;MCI;WN;3511;MCI;MCO;WN;35 HENSONMOUTH             AK                    US    7723 134740551@KACHIPYTEL.COM
2P6BCP   1/6/2021 OB    1/7/2021 WN;3075;MIA;BWI                        WEST MARTIN            PA                    US   24678 134740507@KACHIPYTEL.COM
2P6BCP   1/6/2021 OB    1/7/2021 WN;3075;MIA;BWI                        WEST MARTIN            PA                    US   24678 134740507@KACHIPYTEL.COM
2PCDFK   1/6/2021 OB    1/6/2021 WN;1051;MIA;BWI;WN;6803;BWI;SJU        NEW STEPHANIE          AR                    US   39102 134741365@KACHIPYTEL.COM
2PDVJT   1/6/2021 OB   1/13/2021 WN;4838;SEA;SMF;WN;4839;SMF;PHX        NEW GEORGE             DE                    US   99375 134741167@KACHIPYTEL.COM
2PKKIW   1/6/2021 OB   1/20/2021 WN;346;SJU;BWI                         KOTA ADMINISTRASI JA   SUMATERA              ID   49302 134741860@KACHIPYTEL.COM
2PWWV4   1/6/2021 OB   1/15/2021 WN;2692;BWI;RDU;WN;205;RDU;MDW         SMITHMOUTH             CO                    US   53975 134742410@KACHIPYTEL.COM
2Q3FGR   1/6/2021 OB   1/17/2021 WN;2006;RDU;BWI;WN;3559;BWI;PIT        NEW RICHARDTOWN        LA                    US   71723 134742410@KACHIPYTEL.COM
2Q94BZ   1/6/2021 OB   1/14/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB        EAST SUEBOROUGH        WV                    US   93878 134743818@KACHIPYTEL.COM
2QBJ89   1/6/2021 OB    1/6/2021 WN;909;LAS;BNA;WN;1053;BNA;LGA         WILLIAMFORT            ND                    US   18400 134744148@KACHIPYTEL.COM
2QFCD3   1/6/2021 OB    1/9/2021 WN;5237;BNA;LAS;WN;4482;LAS;LGB        ROBERTATON             GA                    US   39041 134744148@KACHIPYTEL.COM
2QJOBP   1/6/2021 OB   3/16/2021 WN;496;MIA;BNA;WN;172;BNA;TPA          RHODESMOUTH            SD                    US   67137 134744654@KACHIPYTEL.COM
2QJOBP   1/6/2021 OB   3/16/2021 WN;496;MIA;BNA;WN;172;BNA;TPA          RHODESMOUTH            SD                    US   67137 134744654@KACHIPYTEL.COM
2QTBCY   1/6/2021 OB   1/29/2021 WN;2764;CMH;DAL                        PORT LISAFURT          WA                    US   45606 134745303@KACHIPYTEL.COM
2R8S8J   1/6/2021 OB   1/12/2021 WN;2753;DCA;MDW;WN;2753;MDW;OAK;WNMICHELEMOUTH                IA                    US   64576 134747173@KACHIPYTEL.COM
2R94RH   1/6/2021 OB    1/6/2021 WN;289;DAL;MDW;WN;1006;MDW;MEM         YOUNGBURGH             WA                    US   20646 134747140@KACHIPYTEL.COM
2RJMZ4   1/6/2021 OB   1/11/2021 WN;938;TPA;IND;WN;3490;IND;ATL         CAMPBELLMOUTH          RI                    US   44230 134747910@KACHIPYTEL.COM
2RJMZ4   1/6/2021 OB   1/11/2021 WN;938;TPA;IND;WN;3490;IND;ATL         CAMPBELLMOUTH          RI                    US   44230 134747910@KACHIPYTEL.COM
2RJMZ4   1/6/2021 OB   1/11/2021 WN;938;TPA;IND;WN;3490;IND;ATL         CAMPBELLMOUTH          RI                    US   44230 134747910@KACHIPYTEL.COM
2RJMZ4   1/6/2021 OB   1/11/2021 WN;938;TPA;IND;WN;3490;IND;ATL         CAMPBELLMOUTH          RI                    US   44230 134747910@KACHIPYTEL.COM
2RJMZ4   1/6/2021 OB   1/11/2021 WN;938;TPA;IND;WN;3490;IND;ATL         CAMPBELLMOUTH          RI                    US   44230 134747910@KACHIPYTEL.COM
2RJMZ4   1/6/2021 OB   1/11/2021 WN;938;TPA;IND;WN;3490;IND;ATL         CAMPBELLMOUTH          RI                    US   44230 134747910@KACHIPYTEL.COM
2RTZJ2   1/6/2021 OB    1/6/2021 WN;289;DAL;MDW;WN;1006;MDW;MEM         LAKE LINDABURGH        HI                    US   17455 134747107@KACHIPYTEL.COM
2SX5GE   1/6/2021 OB   1/11/2021 WN;2246;ATL;STL                        EDWARDSBURGH           TX                    US   15618 134752211@KACHIPYTEL.COM
2T27VK   1/6/2021 OB   3/12/2021 WN;298;LAX;DEN;WN;746;DEN;ATL          NICOLETON              WV                    US   50978 134752563@KACHIPYTEL.COM
2T5N8H   1/6/2021 OB   1/13/2021 WN;3804;LGA;STL;WN;212;STL;PHX         SOUTH SUSANBOROUGH     TN                    US   49808 134752673@KACHIPYTEL.COM
2T94BR   1/6/2021 OB   1/10/2021 WN;1962;MCO;MDW;WN;3262;MDW;PHL        NEW JOHN               HI                    US    4925 134752739@KACHIPYTEL.COM
2T94BR   1/6/2021 OB   1/10/2021 WN;1962;MCO;MDW;WN;3262;MDW;PHL        NEW JOHN               HI                    US    4925 134752739@KACHIPYTEL.COM
2UBC2S   1/6/2021 OB    1/6/2021 WN;1421;ATL;BWI;WN;1561;BWI;DTW        LORIPORT               NE                    US   73911 134756237@KACHIPYTEL.COM
2UE8PB   1/6/2021 OB   1/26/2021 WN;4720;DTW;DEN;WN;4720;DEN;SAN;WN;4 KEVINTON                 IL                    US   85851 134756677@KACHIPYTEL.COM
2UF6LY   1/6/2021 OB   1/15/2021 WN;2883;LAS;ELP;WN;4945;ELP;PHX        WALTERSFURT            UT                    US   82217 134756017@KACHIPYTEL.COM
2V8GDH   1/6/2021 OB    1/7/2021 WN;2234;LAX;STL;WN;3301;STL;FLL        STOKESSTAD             KS                    US    9863 134758778@KACHIPYTEL.COM
2VFD9Q   1/6/2021 OB   1/16/2021 WN;4151;SEA;SMF;WN;4066;SMF;DEN        NEW NICOLESTAD         KY                    US    2204 134759559@KACHIPYTEL.COM
2WLFRI   1/6/2021 OB   1/11/2021 WN;4743;ATL;AUS;WN;417;AUS;DEN         LOPEZFURT              OH                    US   13700 134763475@KACHIPYTEL.COM
2XVK27   1/6/2021 OB    1/7/2021 WN;1265;LAX;PHX;WN;1478;PHX;LAS        LAKE JESSICA           CA                    US    2817 134768788@KACHIPYTEL.COM
32BFK7   1/6/2021 OB    1/8/2021 WN;1534;LAS;SMF;WN;3035;SMF;LAX        EAST LISATON           MS                    US   73263 134778963@KACHIPYTEL.COM
32Q5CG   1/6/2021 OB    1/6/2021 WN;1583;ATL;HOU;WN;1056;HOU;MIA        VANESSATON             NC                    US   92092 134782219@KACHIPYTEL.COM
34R92D   1/6/2021 OB   1/10/2021 WN;3075;MIA;BWI                        WEST JAIME             PA                    US   46993 134793923@KACHIPYTEL.COM
35EYK6   1/6/2021 OB    1/7/2021 WN;3787;LGA;BNA;WN;3188;BNA;MCO        BRYANTVIEW             KY                    US   16398 134798818@KACHIPYTEL.COM
35HT49   1/6/2021 OB   1/30/2021 WN;23;BWI;HOU;WN;4550;HOU;BHM          EAST ASHLEYLAND        NY                    US   52580 134799698@KACHIPYTEL.COM
36I9YV   1/6/2021 OB    1/6/2021 WN;277;BOS;BWI                         ST KOMSOMOLSKNAAMURE   SARATOVSKAYA OBLAST   RU   35740 134393105@KACHIPYTEL.COM
36M923   1/6/2021 OB   1/13/2021 WN;4849;STL;HOU;WN;2114;HOU;PNS        CITTUUR                SIKKIM                IN    3552 134809081@KACHIPYTEL.COM
36PYNY   1/6/2021 OB   1/16/2021 WN;2349;BNA;MDW                        EAST LINDA             AZ                    US   28498 134809642@KACHIPYTEL.COM
37GPUO   1/6/2021 OB   1/17/2021 WN;1059;MSY;BWI;WN;102;BWI;MIA         LARRYBERG              WY                    US   74274 134814537@KACHIPYTEL.COM
37GPUO   1/6/2021 OB   1/17/2021 WN;1059;MSY;BWI;WN;102;BWI;MIA         LARRYBERG              WY                    US   74274 134814537@KACHIPYTEL.COM
37YQQH   1/6/2021 OB   2/23/2021 WN;5018;TPA;DAL;WN;2330;DAL;MSY        SERRANOBURY            WY                    US    5505 134819817@KACHIPYTEL.COM
37YQQH   1/6/2021 OB   2/23/2021 WN;5018;TPA;DAL;WN;2330;DAL;MSY        SERRANOBURY            WY                    US    5505 134819817@KACHIPYTEL.COM
383P34   1/6/2021 OB   2/16/2021 WN;2606;DAL;TPA;WN;4279;TPA;MIA        NORTH DONNAMOUTH       NY                    US   20934 134819817@KACHIPYTEL.COM
383P34   1/6/2021 OB   2/16/2021 WN;2606;DAL;TPA;WN;4279;TPA;MIA        NORTH DONNAMOUTH       NY                    US   20934 134819817@KACHIPYTEL.COM
38EZDP   1/6/2021 OB   1/11/2021 WN;2234;LAX;STL                        DANATON                RI                    US   72606 134825053@KACHIPYTEL.COM
38EZDP   1/6/2021 OB   1/12/2021 WN;2234;LAX;STL;WN;1325;STL;MCO        DANATON                RI                    US   72606 134825053@KACHIPYTEL.COM
38GNK9   1/6/2021 OB   1/16/2021 WN;3820;LAX;BWI;WN;2749;BWI;CLE        EAST JUSTINSTAD        SD                    US   45684 134824404@KACHIPYTEL.COM
38GNK9   1/6/2021 OB   1/16/2021 WN;3820;LAX;BWI;WN;2749;BWI;CLE        EAST JUSTINSTAD        SD                    US   45684 134824404@KACHIPYTEL.COM
38LZ2B   1/6/2021 OB   1/11/2021 WN;3294;MIA;BWI;WN;1657;BWI;CLE        LAALBNDII              GANDAKI               NP   96214 134826032@KACHIPYTEL.COM
39J63U   1/6/2021 OB   1/16/2021 WN;4658;PHL;MCO;WN;3783;MCO;MCI        LEBLANCSTAD            WV                    US   14793 134832511@KACHIPYTEL.COM
39J63U   1/6/2021 OB   1/16/2021 WN;4658;PHL;MCO;WN;3783;MCO;MCI        LEBLANCSTAD            WV                    US   14793 134832511@KACHIPYTEL.COM
39JFG3   1/6/2021 OB    1/8/2021 WN;2622;STL;TPA;WN;1642;TPA;IND        NORTH PATRICIAHAVEN    MI                    US   73827 134833809@KACHIPYTEL.COM
39MBB9   1/6/2021 OB   1/18/2021 WN;3343;ATL;STL                        LAURASTAD              ID                    US   71808 134833105@KACHIPYTEL.COM
39VHSF   1/6/2021 OB   1/11/2021 WN;5013;TPA;BNA                        JASONFORT              OH                    US   64803 134836537@KACHIPYTEL.COM
39XV6H   1/6/2021 OB   1/13/2021 WN;3959;BNA;ATL;WN;3959;ATL;TPA;WN;228 BENJAMINVIEW           MD                    US   94804 134837329@KACHIPYTEL.COM
3A7G4Y   1/6/2021 OB   1/16/2021 WN;3434;LGA;BNA;WN;2494;BNA;FLL        NEW MICHAELCHESTER     AL WADI AL JADID      EG   48038 134837934@KACHIPYTEL.COM
3AAIZF   1/6/2021 OB   1/10/2021 WN;1900;SEA;SMF;WN;4873;SMF;LAS        JACKSONTON             HI                    US   55389 134838539@KACHIPYTEL.COM
3ADAFL   1/6/2021 OB   3/16/2021 WN;496;MIA;BNA;WN;172;BNA;TPA          TREVORSIDE             KS                    US   28445 134839672@KACHIPYTEL.COM
3AG9RJ   1/6/2021 OB   1/10/2021 WN;4745;RDU;BWI                        BHAAGLPUR              HIMACHAL PRADESH      IN   21311 134840431@KACHIPYTEL.COM
3ALMVU   1/6/2021 OB   3/18/2021 WN;1839;MCO;MDW;WN;1839;MDW;LAX        SOUTH JOHN             SC                    US   66845 134840882@KACHIPYTEL.COM
3ALMVU   1/6/2021 OB   3/18/2021 WN;1839;MCO;MDW;WN;1839;MDW;LAX        SOUTH JOHN             SC                    US   66845 134840882@KACHIPYTEL.COM
3AUEUM   1/6/2021 OB   1/21/2021 WN;3792;LGA;MDW                        JAMESBERG              OH                    US   63790 134842367@KACHIPYTEL.COM
3AXYNO   1/6/2021 OB   1/17/2021 WN;3714;LAX;BWI;WN;1657;BWI;CLE        TERRELLMOUTH           CO                    US   17846 134843357@KACHIPYTEL.COM
3BVUTB   1/6/2021 OB   2/18/2021 WN;3276;LAX;BNA;WN;2522;BNA;MCO        PORT STEPHANIE         ME                    US   59307 134847350@KACHIPYTEL.COM
3CCSO5   1/6/2021 OB    1/9/2021 WN;2551;MCO;MDW;WN;4555;MDW;LGA        DANIELFURT             SD                    US   36052 134849242@KACHIPYTEL.COM
3COSPM   1/6/2021 OB   1/22/2021 WN;4751;RIC;ATL;WN;4207;ATL;FLL        NORTH KRYSTALMOUTH     MI                    US   85739 134851101@KACHIPYTEL.COM
3CP5YC   1/6/2021 OB   1/23/2021 WN;2964;IND;DEN;WN;62;DEN;STL          ROBERTBURY             WV                    US   58594 134850309@KACHIPYTEL.COM
3CQJXJ   1/6/2021 OB    1/7/2021 WN;456;MDW;DAL                         RONALDTOWN             AK                    US   98137 134850496@KACHIPYTEL.COM
3D6G4Z   1/6/2021 OB    1/7/2021 WN;3276;LAX;BNA;WN;4226;BNA;RDU        PORT DILLON            SC                    US   61667 134853147@KACHIPYTEL.COM
3D7CP4   1/6/2021 OB   1/15/2021 WN;4364;OKC;LAS                        NORTH MARKSIDE         NC                    US   24011 134438183.1530832@KACHIPYTEL.COM
3D7OO8   1/6/2021 OB   1/18/2021 WN;3792;LGA;MDW;WN;4042;MDW;FLL        MILLERTOWN             VA                    US    6640 134852839@KACHIPYTEL.COM
3DA9IX   1/6/2021 OB    1/7/2021 WN;938;TPA;IND                         BARTLETTFORT           IA                    US    5939 134852861@KACHIPYTEL.COM
3DQ3LT   1/7/2021 OB    1/8/2021 WN;2083;AUS;BWI;WN;4727;BWI;FLL        VEGABERG               MD                    US   35092 134854720@KACHIPYTEL.COM
3E32J2   1/7/2021 OB   1/31/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB         DAWNBURY               ND                    US   86297 134856293@KACHIPYTEL.COM
3E32J2   1/7/2021 OB   1/31/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB         DAWNBURY               ND                    US   86297 134856293@KACHIPYTEL.COM
3E3FJS   1/7/2021 OB   1/29/2021 WN;2705;AUS;PHX;WN;3373;PHX;LGB        WILLIAMPORT            WV                    US   41486 134856293@KACHIPYTEL.COM
3E3FJS   1/7/2021 OB   1/29/2021 WN;2705;AUS;PHX;WN;3373;PHX;LGB        WILLIAMPORT            WV                    US   41486 134856293@KACHIPYTEL.COM
3E4WQA   1/7/2021 OB   1/14/2021 WN;3993;MDW;MCO;WN;2438;MCO;FLL        NEW BREANNAFORT        WI                    US   40800 134856579@KACHIPYTEL.COM
3EEGRG   1/7/2021 OB   1/11/2021 WN;1059;MSY;BWI                        TRISTANBOROUGH         AR                    US   86110 134857558@KACHIPYTEL.COM
3EHGMA   1/7/2021 OB   1/10/2021 WN;3262;FLL;MDW                        DARIJAFURT             KLAIPEDOS APSKRITIS   LT   11964 134857481@KACHIPYTEL.COM
3EV5DP   1/7/2021 OB    1/7/2021 WN;3927;MDW;MSP;WN;3927;MSP;DEN;WN; NORTH CLAUDIA             WA                    US   95865 134858867@KACHIPYTEL.COM
3EXPLE   1/7/2021 OB   1/17/2021 WN;2443;MCO;MDW                        SOUTH BRANDON          UT                    US   62874 134859109@KACHIPYTEL.COM
3F2CM2   1/7/2021 OB   3/18/2021 WN;2086;MCI;PHX;WN;1877;PHX;LAX        JACKSTAD               OR                    US   57707 134859593@KACHIPYTEL.COM
3F3MRH   1/7/2021 OB   1/15/2021 WN;3993;MDW;MCO;WN;2438;MCO;FLL        SOUTH REBECCAVILLE     LA                    US   12351 134859483@KACHIPYTEL.COM
3FDDOF   1/7/2021 OB   1/13/2021 WN;1541;SFO;SAN                        MARTINVIEW             DE                    US   47997 134860275@KACHIPYTEL.COM
3FEEIH   1/7/2021 OB    1/9/2021 WN;4738;DEN;SMF;WN;3099;SMF;SEA        PORTERSIDE             CT                    US   75694 134860385@KACHIPYTEL.COM
3FEEIH   1/7/2021 OB    1/9/2021 WN;4738;DEN;SMF;WN;3099;SMF;SEA        PORTERSIDE             CT                    US   75694 134860385@KACHIPYTEL.COM
3FIOB5   1/7/2021 OB    1/7/2021 WN;3176;RDU;MDW;WN;2558;MDW;BOS        SOUTH ASHLEY           OK                    US   70979 134861265@KACHIPYTEL.COM
3FVABW   1/7/2021 OB    1/8/2021 WN;3264;LAX;DEN;WN;3907;DEN;LAS        CHARLESBURY            CA                    US   46070 134862750@KACHIPYTEL.COM
3FVABW   1/7/2021 OB    1/8/2021 WN;3264;LAX;DEN;WN;3907;DEN;LAS        CHARLESBURY            CA                    US   46070 134862750@KACHIPYTEL.COM
3GBTDI   1/7/2021 OB   1/15/2021 WN;4246;FLL;BNA;WN;2151;BNA;CLE        WHITESHIRE             WA                    US   50979 134863487@KACHIPYTEL.COM
3GBTDI   1/7/2021 OB   1/15/2021 WN;4246;FLL;BNA;WN;2151;BNA;CLE        WHITESHIRE             WA                    US   50979 134863487@KACHIPYTEL.COM
3GNFWC   1/7/2021 OB   1/22/2021 WN;715;ATL;BWI;WN;3933;BWI;DTW         EAST RHONDA            NH                    US   28739 134865038@KACHIPYTEL.COM
3GNFWC   1/7/2021 OB   1/22/2021 WN;715;ATL;BWI;WN;3933;BWI;DTW         EAST RHONDA            NH                    US   28739 134865038@KACHIPYTEL.COM




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 3GPBGU   1/7/2021 OB   1/15/2021 WN;2838;MCO;STL;WN;310;STL;CLT          PORT GERALDVIEW        UT                    US    9273 134865049@KACHIPYTEL.COM
 3GPBGU   1/7/2021 OB   1/15/2021 WN;2838;MCO;STL;WN;310;STL;CLT          PORT GERALDVIEW        UT                    US    9273 134865049@KACHIPYTEL.COM
 3GPNT7   1/7/2021 OB   1/11/2021 WN;3121;ATL;MDW                         POTTSFURT              LA                    US   27861 134865148@KACHIPYTEL.COM
 3GS9I8   1/7/2021 OB    1/8/2021 WN;3062;FLL;HOU;WN;568;HOU;MDW          NEW DANIELLETOWN       NJ                    US   33286 134864950@KACHIPYTEL.COM
 3GVBVZ   1/7/2021 OB    1/8/2021 WN;3062;FLL;HOU;WN;568;HOU;MDW          NUEVA REPUBLICA CHEC   CHIHUAHUA             MX   52529 134865357@KACHIPYTEL.COM
 3GVBVZ   1/7/2021 OB    1/8/2021 WN;3062;FLL;HOU;WN;568;HOU;MDW          NUEVA REPUBLICA CHEC   CHIHUAHUA             MX   52529 134865357@KACHIPYTEL.COM
 3H68HR   1/7/2021 OB   1/10/2021 WN;4836;SEA;OAK;WN;4757;OAK;LAS         DERRICKMOUTH           ID                    US   44989 134866710@KACHIPYTEL.COM
 3HF4A4   1/7/2021 OB   1/18/2021 WN;764;CVG;HOU;WN;3294;HOU;MIA          LEONARDTON             WY                    US   79256 134867678@KACHIPYTEL.COM
 3HMMFB   1/7/2021 OB   1/10/2021 WN;4836;SEA;OAK;WN;4757;OAK;LAS         NEW AMANDA             ME                    US   51212 134868217@KACHIPYTEL.COM
 3I2GI2   1/7/2021 OB    1/9/2021 WN;3664;LAS;STL;WN;5118;STL;FLL         NEW ADAMFORT           DE                    US   86641 134869262@KACHIPYTEL.COM
 3I2GI2   1/7/2021 OB    1/9/2021 WN;3664;LAS;STL;WN;5118;STL;FLL         NEW ADAMFORT           DE                    US   86641 134869262@KACHIPYTEL.COM
 3I2GI2   1/7/2021 OB    1/9/2021 WN;3664;LAS;STL;WN;5118;STL;FLL         NEW ADAMFORT           DE                    US   86641 134869262@KACHIPYTEL.COM
 3IBKWQ   1/7/2021 OB    1/8/2021 WN;4838;SEA;SMF;WN;1493;SMF;LAS         NORTH JOSHUASHIRE      SD                    US   74578 134870263@KACHIPYTEL.COM
 3IBKWQ   1/7/2021 OB    1/8/2021 WN;4838;SEA;SMF;WN;1493;SMF;LAS         NORTH JOSHUASHIRE      SD                    US   74578 134870263@KACHIPYTEL.COM
 3IHMIO   1/7/2021 OB   1/18/2021 WN;4969;ATL;DCA;WN;2044;DCA;MDW         NEW DYLANPORT          LA                    US   77366 134870747@KACHIPYTEL.COM
 3IK6PN   1/7/2021 OB   1/12/2021 WN;2104;HOU;PHX;WN;1478;PHX;LAS;WN;14 WEST ANGELASHIRE         AZ                    US   66713 134870802@KACHIPYTEL.COM
 3IM6SR   1/7/2021 OB   1/18/2021 WN;3170;PHX;HOU;WN;1640;HOU;FLL         MARTINEZBURY           ME                    US   46845 134870802@KACHIPYTEL.COM
 3JBW8C   1/7/2021 OB   1/14/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB         ASHLEYVIEW             ND                    US   75003 134872804@KACHIPYTEL.COM
 3JDUE9   1/7/2021 OB   1/17/2021 WN;2537;PHX;DEN;WN;1454;DEN;MSP         LAKE HANNAHBURGH       KS                    US   59723 134873002@KACHIPYTEL.COM
 3JFMSU   1/7/2021 OB   4/19/2021 WN;790;MCI;PHX                          WEST KARLTON           NM                    US   88540 134873750@KACHIPYTEL.COM
 3JJ8EY   1/7/2021 OB   4/15/2021 WN;3431;PHX;MCI                         NORTH BARBARA          KS                    US   38540 134873750@KACHIPYTEL.COM
 3JM43T   1/7/2021 OB   1/13/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA         MICHAELBOROUGH         FL                    US   52752 134874069@KACHIPYTEL.COM
 3K9PIN   1/7/2021 OB    1/7/2021 WN;2573;ONT;PHX;WN;4539;PHX;SLC         WILLIAMSBERG           NY                    US    8876 134877028@KACHIPYTEL.COM
 3NWCZF   1/7/2021 OB    1/7/2021 WN;3264;LAX;DEN;WN;3907;DEN;LAS         PORT RYANBOROUGH       WA                    US   96657 134894958@KACHIPYTEL.COM
 3OAMNQ   1/7/2021 OB    1/8/2021 WN;3343;STL;LAS;WN;2905;LAS;OKC         LAKE OLIVIAVIEW        MS                    US   23531 134896707@KACHIPYTEL.COM
 3OCYZQ   1/7/2021 OB    1/8/2021 WN;3343;STL;LAS;WN;2905;LAS;OKC         EAST CHRISTINA         SC                    US   25274 134896597@KACHIPYTEL.COM
 3OEGN2   1/7/2021 OB   1/11/2021 WN;3704;LAS;STL;WN;3301;STL;FLL         DIAZLAND               MI                    US    8239 134896597@KACHIPYTEL.COM
 3OFZLR   1/7/2021 OB   1/11/2021 WN;3704;LAS;STL;WN;3301;STL;FLL         ALLENVIEW              VA                    US   76830 134896707@KACHIPYTEL.COM
 3PFPFU   1/7/2021 OB    1/9/2021 WN;43;RDU;BNA;WN;2885;BNA;BOS           JOHNTOWN               SC                    US   57532 134901888@KACHIPYTEL.COM
 3PI2WS   1/7/2021 OB   1/15/2021 WN;3276;LAX;BNA;WN;4766;BNA;PHL         LAKE MICHAEL           TX                    US   79324 133423620@KACHIPYTEL.COM
 3QH44B   1/7/2021 OB   1/14/2021 WN;3134;DTW;BWI;WN;4749;BWI;TPA         WILLIAMSTAD            IA                    US   98594 134909060@KACHIPYTEL.COM
 3QH44B   1/7/2021 OB   1/14/2021 WN;3134;DTW;BWI;WN;4749;BWI;TPA         WILLIAMSTAD            IA                    US   98594 134909060@KACHIPYTEL.COM
 3RU7K2   1/7/2021 OB   1/16/2021 WN;1399;RDU;LAS;WN;4580;LAS;AUS         BRANDIVIEW             TN                    US   51532 134917992@KACHIPYTEL.COM
 3T856I   1/7/2021 OB   1/17/2021 WN;2744;ATL;RDU                         PORT MARCOBURGH        MI                    US   40134 134926957@KACHIPYTEL.COM
 3TCYKY   1/7/2021 OB   1/15/2021 WN;3134;DTW;BWI;WN;2546;BWI;MCO         TATEVILLE              AR                    US   11779 134927980@KACHIPYTEL.COM
 3TCYKY   1/7/2021 OB   1/15/2021 WN;3134;DTW;BWI;WN;2546;BWI;MCO         TATEVILLE              AR                    US   11779 134927980@KACHIPYTEL.COM
 3TCYKY   1/7/2021 OB   1/15/2021 WN;3134;DTW;BWI;WN;2546;BWI;MCO         TATEVILLE              AR                    US   11779 134927980@KACHIPYTEL.COM
 3TCYKY   1/7/2021 OB   1/15/2021 WN;3134;DTW;BWI;WN;2546;BWI;MCO         TATEVILLE              AR                    US   11779 134927980@KACHIPYTEL.COM
 3TMGN8   1/7/2021 OB   1/29/2021 WN;1900;SEA;SMF;WN;4873;SMF;LAS         SCOTTSIDE              IA                    US   71474 134928893@KACHIPYTEL.COM
 3TT8DC   1/7/2021 OB   1/11/2021 WN;2577;MIA;HOU;WN;2567;HOU;MSY         ZHONG YANG QU          EHIME                 JP   65473 134929487@KACHIPYTEL.COM
 3TWZSJ   1/7/2021 OB    1/7/2021 WN;4287;LAX;SMF;WN;4873;SMF;LAS         NUEVA SERBIA           QUERETARO             MX   43338 134931093@KACHIPYTEL.COM
 3UXZI7   1/7/2021 OB    1/8/2021 WN;2247;CLT;BWI;WN;1923;BWI;BOS         RACHAELHAVEN           OK                    US   33960 134936461@KACHIPYTEL.COM
 3VMWX5   1/7/2021 OB   1/11/2021 WN;2051;ATL;MDW;WN;2508;MDW;TPA         BENNETTSIDE            CA                    US   41774 134940443@KACHIPYTEL.COM
 3VQ7R5   1/7/2021 OB   1/31/2021 WN;1852;HOU;PHX;WN;4583;PHX;SAT         SOUTH AMY              FL                    US   74400 134941114@KACHIPYTEL.COM
 3VTMMC   1/7/2021 OB   1/21/2021 WN;3170;PHX;HOU;WN;506;HOU;CVG          LAKE JOHNHAVEN         CT                    US   61805 134941114@KACHIPYTEL.COM
 3VV23O   1/7/2021 OB    1/9/2021 WN;1685;ATL;PHX                         EAST JOHN              RI                    US   36855 134941444@KACHIPYTEL.COM
 3W9OET   1/7/2021 OB   1/28/2021 WN;2619;HOU;DEN                         JACOBMOUTH             MS                    US   46937 134943270@KACHIPYTEL.COM
 3WGV6A   1/7/2021 OB   1/12/2021 WN;3226;FLL;HOU                         NORTH LUKAS            KLAIPEDOS APSKRITIS   LT   78656 134944623@KACHIPYTEL.COM
 3WL26U   1/7/2021 OB    3/2/2021 WN;2374;TPA;BWI;WN;102;BWI;MIA          SOUTH CHRISTOPHER      ND                    US   70758 134945019@KACHIPYTEL.COM
 3WL26U   1/7/2021 OB    3/2/2021 WN;2374;TPA;BWI;WN;102;BWI;MIA          SOUTH CHRISTOPHER      ND                    US   70758 134945019@KACHIPYTEL.COM
 3WL26U   1/7/2021 OB    3/2/2021 WN;2374;TPA;BWI;WN;102;BWI;MIA          SOUTH CHRISTOPHER      ND                    US   70758 134945019@KACHIPYTEL.COM
 3WM948   1/7/2021 OB   4/19/2021 WN;1805;AUA;BWI;WN;240;BWI;FLL          WEST BRITTANYSIDE      OK                    US   16097 134945899@KACHIPYTEL.COM
 3WREDC   1/7/2021 OB    1/8/2021 WN;2234;LAX;STL;WN;1325;STL;MCO         PORT CHRISTINEBURY     WV                    US   49901 134946867@KACHIPYTEL.COM
 3WZYJ2   1/7/2021 OB    1/9/2021 WN;2747;PHL;BNA;WN;3434;BNA;MCO         FLORESBURY             OR                    US   63566 134948561@KACHIPYTEL.COM
 3X8OGL   1/7/2021 OB   1/10/2021 WN;3091;DEN;MCO;WN;286;MCO;RSW          MOORESHIRE             CA                    US   61680 134949628@KACHIPYTEL.COM
 3XKWAD   1/7/2021 OB   1/22/2021 WN;2234;LAX;STL;WN;3301;STL;FLL         SOUTH NATHAN           PA                    US    1378 134950695@KACHIPYTEL.COM
 3XLYWN   1/7/2021 OB   1/17/2021 WN;2744;ATL;RDU                         NORTH GREGORYBURGH     PA                    US    7657 134951410@KACHIPYTEL.COM
 3XPR9T   1/7/2021 OB    1/8/2021 WN;455;DCA;ATL;WN;4115;ATL;MSY;WN;4115NEW MATTHEW              AL                    US   78984 134948473@KACHIPYTEL.COM
 3XQ9ZV   1/7/2021 OB   1/15/2021 WN;2028;AUS;LAS;WN;3239;LAS;LAX         JEFFERYFURT            ME                    US   15044 134951927@KACHIPYTEL.COM
 3Y2PLL   1/7/2021 OB    1/9/2021 WN;1641;ATL;DAL;WN;2885;DAL;BNA;WN;288NEW PATRICK              SD                    US   81613 134952895@KACHIPYTEL.COM
 3Y3EGK   1/7/2021 OB   1/20/2021 WN;4971;DCA;BNA                         BLACKBURGH             MS                    US   48045 134953665@KACHIPYTEL.COM
 3Y459W   1/7/2021 OB   1/17/2021 WN;6016;BNA;DCA                         ANGELICAFURT           MO                    US   68192 134953324@KACHIPYTEL.COM
 3YKAIM   1/7/2021 OB   1/19/2021 WN;2246;ATL;STL;WN;427;STL;TPA          ASHLEYVILLE            PA                    US   30605 134955656@KACHIPYTEL.COM
 3Z85KJ   1/7/2021 OB   1/18/2021 WN;3959;TPA;BWI;WN;3111;BWI;BOS         SONIASHIRE             TX                    US   82768 134957779@KACHIPYTEL.COM
 3ZJS5T   1/7/2021 OB   1/17/2021 WN;2744;ATL;RDU                         KRISTAHAVEN            NC                    US    6941 134958890@KACHIPYTEL.COM
 3ZNJND   1/7/2021 OB    1/8/2021 WN;3343;LGA;ATL;WN;2744;ATL;RDU         ZHANG JIA GANG XIAN    SHANXI SHENG          CN   82287 134959286@KACHIPYTEL.COM
 428ALF   1/8/2021 OB   1/10/2021 WN;2863;MDW;FLL                         WEST DANIEL            MO                    US   48176 134960826@KACHIPYTEL.COM
 42SB58   1/8/2021 OB   1/12/2021 WN;2969;DCA;STL;WN;2622;STL;TPA         NEW NICHOLASSHIRE      SD                    US   29693 134961651@KACHIPYTEL.COM
 42TLW3   1/8/2021 OB    2/7/2021 WN;3704;LAS;STL;WN;3301;STL;FLL         CLARKFURT              CO                    US   99764 134961827@KACHIPYTEL.COM
 42U7NQ   1/8/2021 OB   1/19/2021 WN;2531;LAS;BWI                         BROWNTOWN              IA                    US   20896 134962080@KACHIPYTEL.COM
 43BCXS   1/8/2021 OB   1/10/2021 WN;2438;CLE;BNA;WN;3276;BNA;FLL         PORT JESSICASIDE       WY                    US   24907 134963279@KACHIPYTEL.COM
 43CUBU   1/8/2021 OB   1/10/2021 WN;3633;LAS;ATL;WN;2746;ATL;FLL         GARCIABERG             VA                    US   16293 134963180@KACHIPYTEL.COM
 43CY62   1/8/2021 OB   1/10/2021 WN;3633;LAS;ATL;WN;2746;ATL;FLL         NORTH PATRICK          NC                    US   85525 134963499@KACHIPYTEL.COM
 43QCSM   1/8/2021 OB    1/8/2021 WN;2046;ATL;HOU;WN;2723;HOU;MIA         HENDERSONMOUTH         KS                    US   27361 134964456@KACHIPYTEL.COM
 43QU8J   1/8/2021 OB    1/8/2021 WN;2046;ATL;HOU;WN;2723;HOU;MIA         VILLARREALSHIRE        OK                    US   13859 134964467@KACHIPYTEL.COM
 43WK25   1/8/2021 OB    2/5/2021 WN;2838;MCO;STL;WN;310;STL;CLT          RODGERSVILLE           TX                    US   51052 134964643@KACHIPYTEL.COM
 445SDN   1/8/2021 OB   1/13/2021 WN;3239;BWI;LAS;WN;1900;LAS;SEA         GOODMANMOUTH           IN                    US   11721 134964984@KACHIPYTEL.COM
 446ZCZ   1/8/2021 OB   1/16/2021 WN;4109;LAS;BWI;WN;1087;BWI;BOS         MICHELLETON            MT                    US   92726 134964984@KACHIPYTEL.COM
 459UZK   1/8/2021 OB   1/20/2021 WN;157;SLC;OAK                          INGRAMMOUTH            ME                    US   18596 134967800@KACHIPYTEL.COM
 45A48I   1/8/2021 OB   1/11/2021 WN;2606;TPA;DEN;WN;2606;DEN;PHX         PORT CHRISTOPHER       TX                    US   12145 134967778@KACHIPYTEL.COM
 462FRP   1/8/2021 OB   1/11/2021 WN;4145;MIA;TPA;WN;6007;TPA;PHL         PORT TONYA             MI                    US   98697 134970099@KACHIPYTEL.COM
 465UQT   1/8/2021 OB   1/15/2021 WN;2580;RIC;MCO;WN;2438;MCO;FLL         EAST VICTORIA          ID                    US   37416 134970561@KACHIPYTEL.COM
 46AAPV   1/8/2021 OB   1/15/2021 WN;2580;RIC;MCO;WN;2438;MCO;FLL         RONALDTOWN             KS                    US   58154 134970539@KACHIPYTEL.COM
 46LGR3   1/8/2021 OB   1/20/2021 WN;157;SLC;OAK;WN;4166;OAK;LGB          PHILLIPTON             NY                    US    6077 134971672@KACHIPYTEL.COM
 46LGR3   1/8/2021 OB   1/20/2021 WN;157;SLC;OAK;WN;4166;OAK;LGB          PHILLIPTON             NY                    US    6077 134971672@KACHIPYTEL.COM
 46VZGG   1/8/2021 OB   1/18/2021 WN;2708;LGA;MDW;WN;4172;MDW;DAL         LAKE LESLIEPORT        AR                    US   43154 134972354@KACHIPYTEL.COM
 46VZGG   1/8/2021 OB   1/18/2021 WN;2708;LGA;MDW;WN;4172;MDW;DAL         LAKE LESLIEPORT        AR                    US   43154 134972354@KACHIPYTEL.COM
 46VZGG   1/8/2021 OB   1/18/2021 WN;2708;LGA;MDW;WN;4172;MDW;DAL         LAKE LESLIEPORT        AR                    US   43154 134972354@KACHIPYTEL.COM
 476QTL   1/8/2021 OB    1/9/2021 WN;3450;MDW;ATL                         SHIELDSTON             UT                    US   94783 134972706@KACHIPYTEL.COM
 476QTL   1/8/2021 OB    1/9/2021 WN;3450;MDW;ATL                         SHIELDSTON             UT                    US   94783 134972706@KACHIPYTEL.COM
 47OCDO   1/8/2021 OB   1/13/2021 WN;2744;ATL;RDU                         KELLYMOUTH             AR                    US   65792 134974015@KACHIPYTEL.COM
 49AKX4   1/8/2021 OB   1/10/2021 WN;2234;LAX;STL;WN;3301;STL;FLL         AMRPUR                 BIHAR                 IN    8374 134977711@KACHIPYTEL.COM
 49BDOE   1/8/2021 OB   1/11/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL         SOUTH JEFFERY          MS                    US   45592 134977557@KACHIPYTEL.COM
 49IANW   1/8/2021 OB    2/1/2021 WN;1017;HOU;SNA;WN;2999;SNA;LAS         NEW ALEXANDER          MI                    US   52552 134978459@KACHIPYTEL.COM
 49KAHT   1/8/2021 OB   1/28/2021 WN;686;SNA;HOU;WN;553;HOU;ELP           TRAVISPORT             TN                    US   16714 134978459@KACHIPYTEL.COM
 4JA3Y2   1/8/2021 OB   1/17/2021 WN;4172;MCO;MDW;WN;2510;MDW;LAX         JUSTINHAVEN            NV                    US    7539 135024505@KACHIPYTEL.COM
 4JANM7   1/8/2021 OB   1/14/2021 WN;4727;FLL;TPA;WN;4858;TPA;MDW         BRANDIBERG             VA                    US   12738 135017190@KACHIPYTEL.COM
 4JB2D2   1/8/2021 OB   1/12/2021 WN;3338;MDW;TPA;WN;2288;TPA;MIA         MONTOYASIDE            DE                    US   40933 135016189@KACHIPYTEL.COM
 4JB4ZK   1/8/2021 OB    1/9/2021 WN;2670;STL;MCO;WN;1715;MCO;MEM         ANDERSONSIDE           KY                    US   35034 135027739@KACHIPYTEL.COM
 4JBE5E   1/8/2021 OB   1/11/2021 WN;3233;TPA;FLL;WN;1438;FLL;ATL;WN;1438;EAST DEBORAH           AZ                    US   25179 135017190@KACHIPYTEL.COM
 4JBL4B   1/8/2021 OB   1/17/2021 WN;1394;RSW;MDW;WN;3167;MDW;MSP         LAKE CHRISTOPHERSHIR   AK                    US   35784 135027849@KACHIPYTEL.COM
 4JBQA7   1/8/2021 OB   1/13/2021 WN;4015;MCO;STL                         MURILLOBERG            KY                    US    9275 135027739@KACHIPYTEL.COM
 4JC74D   1/8/2021 OB   2/27/2021 WN;3186;LBB;DAL;WN;9;DAL;HOU            VINCENTMOUTH           IN                    US     918 135018730@KACHIPYTEL.COM
 4JC74D   1/8/2021 OB   2/27/2021 WN;3186;LBB;DAL;WN;9;DAL;HOU            VINCENTMOUTH           IN                    US     918 135018730@KACHIPYTEL.COM
 4JC74D   1/8/2021 OB   2/27/2021 WN;3186;LBB;DAL;WN;9;DAL;HOU            VINCENTMOUTH           IN                    US     918 135018730@KACHIPYTEL.COM
 4JC74D   1/8/2021 OB   2/27/2021 WN;3186;LBB;DAL;WN;9;DAL;HOU            VINCENTMOUTH           IN                    US     918 135018730@KACHIPYTEL.COM
 4JC74D   1/8/2021 OB   2/27/2021 WN;3186;LBB;DAL;WN;9;DAL;HOU            VINCENTMOUTH           IN                    US     918 135018730@KACHIPYTEL.COM
 4JCKBZ   1/8/2021 OB   1/13/2021 WN;1900;SEA;SMF                         LAKE ADAMBURGH         NE                    US   89850 135022921@KACHIPYTEL.COM
 4JCONF   1/8/2021 OB   1/11/2021 WN;157;SLC;OAK;WN;1148;OAK;LAX          MCDOWELLLAND           OH                    US   82959 135025011@KACHIPYTEL.COM




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4JDA8E    1/8/2021 OB   1/17/2021 WN;2083;AUS;BWI;WN;331;BWI;MIA        BARRETTTOWN            GA                   US   61291 135027387@KACHIPYTEL.COM
4JLGOM    1/8/2021 OB   1/23/2021 WN;1715;MEM;MDW;WN;4080;MDW;DAL       CRYSTALHAVEN           ND                   US   23041 135020589@KACHIPYTEL.COM
4JRCON    1/8/2021 OB   1/17/2021 WN;2838;MCO;STL;WN;310;STL;CLT        WEST NATALIE           UT                   US    2696 135013604@KACHIPYTEL.COM
4JRCON    1/8/2021 OB   1/17/2021 WN;2838;MCO;STL;WN;310;STL;CLT        WEST NATALIE           UT                   US    2696 135013604@KACHIPYTEL.COM
4K6ELP    1/8/2021 OB   1/11/2021 WN;1922;SJD;PHX;WN;1557;PHX;SNA       SAN ARIADNA LOS BAJO   SINALOA              MX   28159 135031974@KACHIPYTEL.COM
4KCKOP    1/8/2021 OB    1/9/2021 WN;3716;HOU;BWI                       NEW MATTHEW            SC                   US   77389 135032986@KACHIPYTEL.COM
4KR9EX    1/8/2021 OB    1/9/2021 WN;1685;ATL;PHX;WN;6268;PHX;MSP       PERRYTON               ME                   US    9041 135035373@KACHIPYTEL.COM
4KRGBF    1/8/2021 OB   1/20/2021 WN;2268;BNA;HOU                       WEST DONNASHIRE        SD                   US   57326 135030753@KACHIPYTEL.COM
4KRGBF    1/8/2021 OB   1/20/2021 WN;2268;BNA;HOU                       WEST DONNASHIRE        SD                   US   57326 135030753@KACHIPYTEL.COM
4KSBW9    1/8/2021 OB   1/17/2021 WN;1394;RSW;MDW                       CLARKEBURGH            FL                   US   13191 135027849@KACHIPYTEL.COM
4KSS7D    1/8/2021 OB    1/9/2021 WN;3087;LAS;OAK;WN;2655;OAK;LGB       DANIELVIEW             IN                   US   69153 135036022@KACHIPYTEL.COM
4KTETA    1/8/2021 OB   1/19/2021 WN;6113;RDU;TPA;WN;2288;TPA;MIA       EAST VERONICATON       HULWAN               EG   24947 135035857@KACHIPYTEL.COM
4L3Y6V    1/8/2021 OB   1/11/2021 WN;715;ATL;BWI;WN;102;BWI;MIA         LEWISTON               NJ                   US   77996 135036968@KACHIPYTEL.COM
4M5JJ4    1/8/2021 OB    2/3/2021 WN;2135;AUS;PHX;WN;4608;PHX;LAX       EAST VALERIE           WA                   US   27091 135041621@KACHIPYTEL.COM
4M5ZK6    1/8/2021 OB   1/13/2021 WN;1980;SFO;DEN;WN;4264;DEN;MSP       BENJAMINBURY           NM                   US   20997 135041830@KACHIPYTEL.COM
4MNR98    1/8/2021 OB   1/11/2021 WN;2044;DCA;MDW;WN;3339;MDW;TPA       SOUTH SHELLEYBURY      OH                   US   37199 135044910@KACHIPYTEL.COM
4MRWSR    1/8/2021 OB    1/9/2021 WN;957;MDW;BWI;WN;3541;BWI;MIA        CHAVEZHAVEN            MN                   US   90792 135044910@KACHIPYTEL.COM
4NCHCY    1/8/2021 OB    1/9/2021 WN;1269;ONT;LAS;WN;6208;LAS;SLC       NORTH NICHOLAS         MI                   US   34098 135047726@KACHIPYTEL.COM
4O8NQY    1/8/2021 OB   1/12/2021 WN;845;MSP;MDW                        ERINFORT               DE                   US   77710 135050223@KACHIPYTEL.COM
4OM794    1/8/2021 OB   1/12/2021 WN;3324;MEM;MDW;WN;845;MDW;AUS        NEW MAURICEMOUTH       SC                   US   14236 135051576@KACHIPYTEL.COM
4OWS89    1/8/2021 OB   1/10/2021 WN;456;MDW;DAL                        JASONTOWN              CO                   US   72160 135052753@KACHIPYTEL.COM
23PA2J    1/9/2021 OB    1/9/2021 WN;3450;MDW;ATL                       SHIELDSTON             UT                   US   94783 134972706@KACHIPYTEL.COM
23Y57N    1/9/2021 OB   5/26/2021 WN;204;AUS;LAS;WN;961;LAS;LAX         WEST HEATHERMOUTH      MA                   US   24766 135088943@KACHIPYTEL.COM
23YCYN    1/9/2021 OB   1/12/2021 WN;4364;OKC;LAS;WN;1900;LAS;SEA       WEST RICARDO           WA                   US   85979 135088679@KACHIPYTEL.COM
24OVCK    1/9/2021 OB   1/16/2021 WN;4026;RSW;MDW                       SOUTH JOSEPHLAND       ID                   US   45242 135091495@KACHIPYTEL.COM
24OVCK    1/9/2021 OB   1/16/2021 WN;4026;RSW;MDW                       SOUTH JOSEPHLAND       ID                   US   45242 135091495@KACHIPYTEL.COM
26WAH2    1/9/2021 OB   2/13/2021 WN;1529;BOI;DEN                       DOUGLASBERG            WY                   US   37760 135101956@KACHIPYTEL.COM
26WAH2    1/9/2021 OB   2/13/2021 WN;1529;BOI;DEN                       DOUGLASBERG            WY                   US   37760 135101956@KACHIPYTEL.COM
2757Z8    1/9/2021 OB   1/13/2021 WN;3292;FLL;STL;WN;3422;STL;LGA       HARDINPORT             HI                   US    1013 135102682@KACHIPYTEL.COM
27AL9X    1/9/2021 OB   1/10/2021 WN;1782;PHX;ATL;WN;3803;ATL;MSY       SOUTH DAWN             WY                   US    2938 135102902@KACHIPYTEL.COM
27PKLC    1/9/2021 OB   1/10/2021 WN;4686;MSY;MDW                       PORT SARAHTON          OR                   US   89428 135105388@KACHIPYTEL.COM
28Y742    1/9/2021 OB   1/12/2021 WN;2051;ATL;MDW;WN;2508;MDW;TPA       SOUTH ROBERTBOROUGH    PA                   US   64128 135111625@KACHIPYTEL.COM
28YY78    1/9/2021 OB   1/15/2021 WN;4115;ATL;MSY                       NEW SCOTTMOUTH         MA                   US   32144 135111768@KACHIPYTEL.COM
29KE5Q    1/9/2021 OB   1/30/2021 WN;3425;PHL;MDW;WN;3083;MDW;LAS       BEI NAN                TAIPEI               TW   75070 135114793@KACHIPYTEL.COM
29KE5Q    1/9/2021 OB   1/30/2021 WN;3425;PHL;MDW;WN;3083;MDW;LAS       BEI NAN                TAIPEI               TW   75070 135114793@KACHIPYTEL.COM
29RMAZ    1/9/2021 OB   1/14/2021 WN;5067;ATL;MCO                       TAYLORFURT             NM                   US   53843 135115178@KACHIPYTEL.COM
29RMAZ    1/9/2021 OB   1/14/2021 WN;5067;ATL;MCO                       TAYLORFURT             NM                   US   53843 135115178@KACHIPYTEL.COM
29UTGN    1/9/2021 OB   3/19/2021 WN;417;SDF;DEN;WN;1377;DEN;DAL        JASONBERG              MA                   US   62861 133792450.1532823@KACHIPYTEL.COM
29XW84    1/9/2021 OB   1/14/2021 WN;559;LAX;DAL                        SOUTH JOSEPORT         NH                   US   54680 135116443@KACHIPYTEL.COM
2AT87X    1/9/2021 OB   1/17/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA       EAST MEGANFURT         MS                   US   18062 135119149@KACHIPYTEL.COM
2AU3HV    1/9/2021 OB   1/11/2021 WN;1461;PHL;MDW;WN;3388;MDW;MCO       NORTH CASEY            HI                   US   52883 135118951@KACHIPYTEL.COM
2B5FVA    1/9/2021 OB   1/18/2021 WN;4551;PHL;BNA                       PORT MONICA            PA                   US   80851 135120590@KACHIPYTEL.COM
2BOONE    1/9/2021 OB   1/13/2021 WN;4547;PHL;ATL                       WEST CASEY             KY                   US    6370 135122350@KACHIPYTEL.COM
2C38VL    1/9/2021 OB   1/10/2021 WN;3343;LGA;ATL;WN;3343;ATL;STL       P SEMLIACHIKI          MOSKOVSKAYA OBLAST   RU   65607 135123351@KACHIPYTEL.COM
2CC97H    1/9/2021 OB   1/10/2021 WN;239;AUS;SJC;WN;2408;SJC;LGB        NEW GINA               PA                   US   28627 135124044@KACHIPYTEL.COM
2CQPA3    1/9/2021 OB    2/5/2021 WN;417;BNA;AUS;WN;4065;AUS;LGB        SOUTH TIMOTHYBURGH     AL                   US   52990 135125738@KACHIPYTEL.COM
2CS2NC    1/9/2021 OB    2/7/2021 WN;2077;AUS;BNA                       MASSEYHAVEN            WV                   US   82052 135125815@KACHIPYTEL.COM
4P97UV    1/9/2021 OB   1/12/2021 WN;2042;ATL;HOU;WN;3294;HOU;MIA       LAKE SARA              OK                   US   17768 135054128@KACHIPYTEL.COM
4Q4G9V    1/9/2021 OB    1/9/2021 WN;4134;ATL;BWI;WN;2181;BWI;DTW       KARATOWN               MT                   US   44400 135056064@KACHIPYTEL.COM
4Q9OMK    1/9/2021 OB    1/9/2021 WN;3801;PHL;ATL;WN;2206;ATL;MCO       KAYLATOWN              IA                   US   11816 135055580@KACHIPYTEL.COM
4QKVWC    1/9/2021 OB   1/11/2021 WN;3796;MDW;ATL                       SOSASTAD               OK                   US   13385 135057692@KACHIPYTEL.COM
4QLBGT    1/9/2021 OB   1/10/2021 WN;1267;MDW;HOU;WN;2723;HOU;MIA       JOHNSONBERG            IA                   US   26971 135057494@KACHIPYTEL.COM
4QVSW4    1/9/2021 OB   1/14/2021 WN;3343;LGA;ATL;WN;3948;ATL;FLL       WEST SARAHBURGH        NY                   US    8156 135058330@KACHIPYTEL.COM
4R4LVC    1/9/2021 OB   1/13/2021 WN;1569;LAS;SNA                       JULIABOROUGH           NE                   US   43775 135058836@KACHIPYTEL.COM
4RFB3V    1/9/2021 OB    1/9/2021 WN;3801;PHL;ATL;WN;2206;ATL;MCO       HANNAHSHIRE            NY                   US   61713 135059771@KACHIPYTEL.COM
4RGEA2    1/9/2021 OB   1/17/2021 WN;1210;PHX;SMF;WN;1154;SMF;SEA       MCKENZIEHAVEN          NC                   US   61693 135059672@KACHIPYTEL.COM
4S2DD7    1/9/2021 OB    1/9/2021 WN;3801;PHL;ATL                       LAKE MARTINBURGH       KY                   US   22994 135061124@KACHIPYTEL.COM
4S4HLY    1/9/2021 OB    1/9/2021 WN;4712;MCO;CMH;WN;4712;CMH;LAS;WN;5EAST RITA                SHETLAND ISLANDS     GB   40956 135061047@KACHIPYTEL.COM
4S83V4    1/9/2021 OB   2/28/2021 WN;1059;MSY;BWI;WN;1878;BWI;TPA       ANGELFURT              NY                   US   54165 135061575@KACHIPYTEL.COM
4S83V4    1/9/2021 OB   2/28/2021 WN;1059;MSY;BWI;WN;1878;BWI;TPA       ANGELFURT              NY                   US   54165 135061575@KACHIPYTEL.COM
4SBKQC    1/9/2021 OB   1/12/2021 WN;2470;DAL;SAT;WN;1597;SAT;HOU;WN;159EAST ROBERTTON         NV                   US   42485 135061718@KACHIPYTEL.COM
4SE9EW    1/9/2021 OB    1/9/2021 WN;4635;PHX;MDW;WN;3057;MDW;CVG       WEST WENDY             NE                   US   16396 135061839@KACHIPYTEL.COM
4SHT8S    1/9/2021 OB   1/30/2021 WN;3574;BNA;PHX                       PORT MONICA            KY                   US   82607 135062334@KACHIPYTEL.COM
4SHT8S    1/9/2021 OB   1/30/2021 WN;3574;BNA;PHX                       PORT MONICA            KY                   US   82607 135062334@KACHIPYTEL.COM
4SHT8S    1/9/2021 OB   1/30/2021 WN;3574;BNA;PHX                       PORT MONICA            KY                   US   82607 135062334@KACHIPYTEL.COM
4SJ33W    1/9/2021 OB   2/28/2021 WN;1059;MSY;BWI;WN;1878;BWI;TPA       SNYDERTON              CO                   US   43485 135061905@KACHIPYTEL.COM
4SQG87    1/9/2021 OB   1/13/2021 WN;791;IAD;ATL;WN;2346;ATL;TPA        HOLLYPORT              KS                   US   92936 135062796@KACHIPYTEL.COM
4SUOTK    1/9/2021 OB    1/9/2021 WN;4134;ATL;BWI;WN;2181;BWI;DTW       WEST BRENT             OH                   US   23602 135062796@KACHIPYTEL.COM
4T2K2O    1/9/2021 OB   1/11/2021 WN;3989;MCO;MDW                       WEST KEITH             SC                   US   11766 135063401@KACHIPYTEL.COM
4T5JD9    1/9/2021 OB   1/14/2021 WN;170;MCO;DEN;WN;3927;DEN;LAX        BRYCEHAVEN             HI                   US   52761 135063346@KACHIPYTEL.COM
4TD8FN    1/9/2021 OB   1/22/2021 WN;4720;DTW;DEN;WN;2728;DEN;MSY       LAKE RUSSELL           OK                   US   77917 135063973@KACHIPYTEL.COM
4TIV73    1/9/2021 OB   1/17/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA       GATESBURY              UT                   US   20689 135064347@KACHIPYTEL.COM
4TIV73    1/9/2021 OB   1/17/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA       GATESBURY              UT                   US   20689 135064347@KACHIPYTEL.COM
4TO4TJ    1/9/2021 OB    1/9/2021 WN;1513;RIC;ATL;WN;2099;ATL;MCO       STANLEYBURY            AK                   US   84970 135064611@KACHIPYTEL.COM
4TRBNW    1/9/2021 OB   1/10/2021 WN;3640;LAS;DEN;WN;3927;DEN;LAX       SOUTH SAMANTHAMOUTH    IN                   US   51555 135064875@KACHIPYTEL.COM
4UIMBX    1/9/2021 OB   1/10/2021 WN;2863;MDW;FLL                       STEPHANIEFORT          GA                   US   36909 135066525@KACHIPYTEL.COM
4UKHQA    1/9/2021 OB    1/9/2021 WN;4741;PHX;LAS;WN;4045;LAS;SEA       THORNTONBERG           WV                   US   87297 135066668@KACHIPYTEL.COM
4V6HHK    1/9/2021 OB    1/9/2021 WN;1677;LGA;ATL                       JENNIFERFURT           CT                   US    9462 135067790@KACHIPYTEL.COM
4VDDO3    1/9/2021 OB   1/12/2021 WN;4813;ONT;SMF                       PEREZTOWN              CT                   US   24000 135068043@KACHIPYTEL.COM
4VEJHX    1/9/2021 OB   1/12/2021 WN;170;MCO;DEN;WN;3927;DEN;LAX        RUBENVILLE             SC                   US   77871 135067922@KACHIPYTEL.COM
4VXF8U    1/9/2021 OB   1/20/2021 WN;4115;ATL;MSY                       PARKSHIRE              NH                   US    5866 135069198@KACHIPYTEL.COM
4YD9EP    1/9/2021 OB    1/9/2021 WN;2981;RNO;LAS                       KINGBURY               NJ                   US   77778 135076414@KACHIPYTEL.COM
4ZFJAG    1/9/2021 OB   1/17/2021 WN;6281;ATL;IND;WN;1296;IND;DEN       GREENHAVEN             WOLVERHAMPTON        GB   24415 135079890@KACHIPYTEL.COM
2FMBTA   1/10/2021 OB   1/10/2021 WN;3240;FLL;MCO;WN;2631;MCO;PHL       DAVIDBURY              MS                   US   69506 135132668@KACHIPYTEL.COM
2GMG7C   1/10/2021 OB   1/15/2021 WN;3134;DTW;BWI;WN;2510;BWI;BOS       KENNETHMOUTH           MT                   US   43996 135134604@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2GS4A2   1/10/2021 OB   1/24/2021 WN;475;MCI;PHX;WN;3927;PHX;DAL        LOPEZBERG              OH                   US   58977 135134780@KACHIPYTEL.COM
2HC72S   1/10/2021 OB    4/5/2021 WN;2182;STL;HOU;WN;407;HOU;OKC        MEGANVIEW              MN                   US   30000 135135781@KACHIPYTEL.COM
2HC72S   1/10/2021 OB    4/5/2021 WN;2182;STL;HOU;WN;407;HOU;OKC        MEGANVIEW              MN                   US   30000 135135781@KACHIPYTEL.COM
2HVJLJ   1/10/2021 OB   1/11/2021 WN;4031;MDW;DAL;WN;1438;DAL;FLL       SARAHFURT              ID                   US   20652 135137145@KACHIPYTEL.COM
2HVJLJ   1/10/2021 OB   1/11/2021 WN;4031;MDW;DAL;WN;1438;DAL;FLL       SARAHFURT              ID                   US   20652 135137145@KACHIPYTEL.COM
2HYR4S   1/10/2021 OB   1/11/2021 WN;1461;PHL;MDW;WN;3388;MDW;MCO       SOUTH RANDALL          TX                   US   14223 135137332@KACHIPYTEL.COM
2IALRP   1/10/2021 OB   1/11/2021 WN;4015;MCO;STL;WN;4818;STL;DCA       EAST DORIS             AZ                   US   31969 135137926@KACHIPYTEL.COM
2IGEHM   1/10/2021 OB   1/10/2021 WN;5072;FLL;BWI;WN;5016;BWI;ALB       RODRIGUEZMOUTH         CT                   US   30242 135138267@KACHIPYTEL.COM
2II3E7   1/10/2021 OB   1/10/2021 WN;3642;LAS;HOU;WN;661;HOU;MIA        LAKE CHRISTINA         VA                   US   92974 135138454@KACHIPYTEL.COM
2JEG34   1/10/2021 OB   1/13/2021 WN;2234;LAX;STL;WN;1325;STL;MCO       EAST JESSICAVILLE      KY                   US   93271 135140467@KACHIPYTEL.COM
2JLTXT   1/10/2021 OB   1/13/2021 WN;4522;PDX;MDW;WN;3262;MDW;PHL       MATTHEWTON             NJ                   US   49193 135140654@KACHIPYTEL.COM
2JVBPA   1/10/2021 OB   1/17/2021 WN;4172;MCO;MDW                       ROGERSCHESTER          DE                   US   81528 135141336@KACHIPYTEL.COM
2JYY2Y   1/10/2021 OB   1/24/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO       SCHULTZVILLE           UT                   US   22537 135141325@KACHIPYTEL.COM
2JZEKN   1/10/2021 OB   1/14/2021 WN;3993;MDW;MCO                       PORT BRANDONFURT       NC                   US    6844 135141336@KACHIPYTEL.COM
2K27FI   1/10/2021 OB   1/10/2021 WN;3429;LAS;DEN;WN;6245;DEN;STL       BATESFURT              WY                   US   16428 135141501@KACHIPYTEL.COM
2M2VZB   1/10/2021 OB   1/22/2021 WN;1900;SEA;SMF;WN;4873;SMF;LAS       EAST KODCHAPORN        SA KAEO              TH   87144 135145109@KACHIPYTEL.COM
2MZW6E   1/10/2021 OB   1/10/2021 WN;1667;SLC;PHX;WN;425;PHX;LGB        PORT ZACHARY           WV                   US   41878 135147265@KACHIPYTEL.COM
2P9VHN   1/10/2021 OB   1/18/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL       STEPHENSMOUTH          NM                   US   97347 135155603@KACHIPYTEL.COM




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 2RW5ZA   1/10/2021   OB   1/16/2021 WN;1625;FLL;DAL                         NORTH DOUGLASHAVEN     NE                    US   66317 135165063@KACHIPYTEL.COM
 2RZ7X3   1/10/2021   OB   1/26/2021 WN;2611;DAL;MDW;WN;4910;MDW;LGA         RUSSELLTON             MO                    US    9901 135165118@KACHIPYTEL.COM
 2S9B3G   1/10/2021   OB   1/15/2021 WN;3;DAL;HOU                            BRADLEYPORT            MD                    US   99282 135166702@KACHIPYTEL.COM
 2S9HRF   1/10/2021   OB   1/13/2021 WN;1533;ATL;DAL;WN;1438;DAL;FLL         PORT BRENDA            IL                    US   15713 135166702@KACHIPYTEL.COM
 2S9TPH   1/10/2021   OB   3/25/2021 WN;833;CLE;DEN;WN;324;DEN;LGB           NORTH WILLIAMLAND      IL                    US   94035 135166878@KACHIPYTEL.COM
 2SHXEU   1/10/2021   OB   1/11/2021 WN;3685;LAS;PHX;WN;2722;PHX;LGB         KARENMOUTH             CO                    US   16266 135167802@KACHIPYTEL.COM
 2SIZQL   1/10/2021   OB   1/11/2021 WN;157;SLC;OAK;WN;1148;OAK;LAX          MONTANARI NELLEMILIA   LECCE                 IT   52061 135168660@KACHIPYTEL.COM
 2SIZQL   1/10/2021   OB   1/11/2021 WN;157;SLC;OAK;WN;1148;OAK;LAX          MONTANARI NELLEMILIA   LECCE                 IT   52061 135168660@KACHIPYTEL.COM
 2SOD9F   1/10/2021   OB   1/13/2021 WN;4702;PIT;TPA;WN;4143;TPA;MIA         KENDRALAND             KS                    US   82741 135169342@KACHIPYTEL.COM
 2SYURT   1/10/2021   OB   1/12/2021 WN;1125;LAS;OAK;WN;4899;OAK;LGB         EAST LAURATON          WY                    US   76262 135169826@KACHIPYTEL.COM
 2T7XE9   1/10/2021   OB   3/25/2021 WN;833;CLE;DEN;WN;324;DEN;LGB           CHRISTOPHERTON         GA                    US   37577 135170772@KACHIPYTEL.COM
 2TK9MC   1/10/2021   OB   1/11/2021 WN;3115;MDW;ATL;WN;2746;ATL;FLL         BULLOCKPORT            ID                    US   55765 135172939@KACHIPYTEL.COM
 2TY9YL   1/10/2021   OB   1/19/2021 WN;3468;BOI;DEN;WN;2369;DEN;LGB         SOUTH DAVIDVILLE       MD                    US   93918 135173863@KACHIPYTEL.COM
 2TYDXD   1/10/2021   OB   1/11/2021 WN;3115;MDW;ATL;WN;2746;ATL;FLL         EAST COLIN             WV                    US   98748 135173984@KACHIPYTEL.COM
 2UET9M   1/10/2021   OB   1/11/2021 WN;1962;MCO;MDW;WN;3262;MDW;PHL         WALLERBURY             KS                    US   60784 135177031@KACHIPYTEL.COM
 2UJWVB   1/10/2021   OB   1/12/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW          NORTH DENNIS           NC                    US   70640 135177086@KACHIPYTEL.COM
 2V8OQ5   1/10/2021   OB   1/22/2021 WN;4936;LAX;HOU;WN;2723;HOU;MIA         WEST JASON             TX                    US   55771 135180529@KACHIPYTEL.COM
 2VD9HZ   1/10/2021   OB   1/13/2021 WN;2466;DEN;SMF;WN;4842;SMF;SEA         KATIEVIEW              SC                    US   49739 135181134@KACHIPYTEL.COM
 2VKOPQ   1/10/2021   OB   1/11/2021 WN;876;MCO;DAL;WN;2044;DAL;DCA          GLORIABURY             MA                    US   46467 135181926@KACHIPYTEL.COM
 2VQIIF   1/10/2021   OB   1/14/2021 WN;220;SMF;DEN;WN;3943;DEN;BOS          EMILYTON               UT                    US   68479 135182773@KACHIPYTEL.COM
 2VXJCT   1/10/2021   OB   2/18/2021 WN;391;STL;LAS;WN;1017;LAS;SAN          CHRISTOPHERTOWN        PA                    US   89812 135183675@KACHIPYTEL.COM
 2VXJCT   1/10/2021   OB   2/18/2021 WN;391;STL;LAS;WN;1017;LAS;SAN          CHRISTOPHERTOWN        PA                    US   89812 135183675@KACHIPYTEL.COM
 2VYOX3   1/10/2021   OB   2/22/2021 WN;3704;LAS;STL;WN;4099;STL;ATL;WN;4099;LAKE DARRYLFURT        AR                    US   30863 135183675@KACHIPYTEL.COM
 2VYOX3   1/10/2021   OB   2/22/2021 WN;3704;LAS;STL;WN;4099;STL;ATL;WN;4099;LAKE DARRYLFURT        AR                    US   30863 135183675@KACHIPYTEL.COM
 2W3LHV   1/10/2021   OB   1/16/2021 WN;2359;PVD;BWI                         LAKE BRYCEPORT         AR                    US    4431 135183719@KACHIPYTEL.COM
 2W7EVC   1/10/2021   OB   2/15/2021 WN;910;DEN;MDW                          GORZOW WIELKOPOLSKI    MAZOWIECKIE           PL   84182 135184533@KACHIPYTEL.COM
 2W7EVC   1/10/2021   OB   2/16/2021 WN;3663;MDW;SEA                         GORZOW WIELKOPOLSKI    MAZOWIECKIE           PL   84182 135184533@KACHIPYTEL.COM
 2WG28Y   1/10/2021   OB   1/11/2021 WN;3121;ATL;MDW;WN;2576;MDW;DTW         LAKE MICHAELSHIRE      NM                    US   39801 135185677@KACHIPYTEL.COM
 2Y9CO6   1/10/2021   OB   1/17/2021 WN;4936;LAX;HOU;WN;2723;HOU;MIA         HERNANDEZHAVEN         VA                    US   54143 135191793@KACHIPYTEL.COM
 2YANE5   1/10/2021   OB   1/13/2021 WN;2744;ATL;RDU                         VICTORMOUTH            MN                    US    8986 135192145@KACHIPYTEL.COM
 2YF33N   1/10/2021   OB   2/16/2021 WN;3830;SNA;DEN                         PORT ALBERT            MA                    US   55632 135192750@KACHIPYTEL.COM
 2YF33N   1/10/2021   OB   2/16/2021 WN;3830;SNA;DEN                         PORT ALBERT            MA                    US   55632 135192750@KACHIPYTEL.COM
 2Z2B78   1/10/2021   OB   1/17/2021 WN;1061;JAX;BNA;WN;4226;BNA;RDU         WEST PAULA             MO                    US   87641 135194686@KACHIPYTEL.COM
 2Z5UQF   1/10/2021   OB   2/13/2021 WN;4109;SAT;LAS;WN;1020;LAS;ELP         SMITHBERG              MT                    US   43565 135194994@KACHIPYTEL.COM
 2Z5UQF   1/10/2021   OB   2/13/2021 WN;4109;SAT;LAS;WN;1020;LAS;ELP         SMITHBERG              MT                    US   43565 135194994@KACHIPYTEL.COM
 2Z93JU   1/10/2021   OB   1/12/2021 WN;3233;FLL;HOU;WN;914;HOU;CHS          RODRIGUEZCHESTER       OK                    US    3728 135195456@KACHIPYTEL.COM
 2ZM3J2   1/10/2021   OB   1/22/2021 WN;4936;LAX;HOU;WN;2723;HOU;MIA         SOLISPORT              SD                    US   55275 135197095@KACHIPYTEL.COM
 2ZYXJF   1/10/2021   OB   1/12/2021 WN;3041;DAL;BNA                         PORT ERIC              KY                    US   24158 135197964@KACHIPYTEL.COM
 32E786   1/10/2021   OB   1/21/2021 WN;2234;LAX;STL;WN;3301;STL;FLL         SOUTH SAMANTHA         MO                    US   78179 135198932@KACHIPYTEL.COM
 32PUK8   1/11/2021   OB   1/17/2021 WN;3792;LGA;MDW;WN;3176;MDW;DAL         CLARKVIEW              NM                    US   19144 135199955@KACHIPYTEL.COM
 337X8J   1/11/2021   OB   1/15/2021 WN;2773;ATL;BNA;WN;2432;BNA;TPA         NORTH SHERI            RI                    US   61694 135201495@KACHIPYTEL.COM
 33KIA2   1/11/2021   OB   1/11/2021 WN;3075;MIA;BWI                         SZEKKOVESD             VESZPREM COUNTY       HU   93579 135202551@KACHIPYTEL.COM
 33LKVE   1/11/2021   OB   1/11/2021 WN;5151;MDW;STL;WN;5072;STL;FLL         NEW MARCVIEW           SC                    US   83961 135202617@KACHIPYTEL.COM
 33UP4Q   1/11/2021   OB   4/23/2021 WN;1326;DTW;STL;WN;1326;STL;MSY;WN;999TYLERFORT                RI                    US   32193 135203376@KACHIPYTEL.COM
 345GXD   1/11/2021   OB   1/12/2021 WN;3121;ATL;MDW;WN;2576;MDW;DTW         PORT DARIJAPORT        KLAIPEDOS APSKRITIS   LT   21123 135203893@KACHIPYTEL.COM
 346TOR   1/11/2021   OB   1/19/2021 WN;1280;OAK;PHX                         STACEYVIEW             OR                    US     525 135203772@KACHIPYTEL.COM
 346TOR   1/11/2021   OB   1/19/2021 WN;1280;OAK;PHX                         STACEYVIEW             OR                    US     525 135203772@KACHIPYTEL.COM
 349PMO   1/11/2021   OB   1/15/2021 WN;715;ABQ;DEN;WN;4382;DEN;SEA          SOUTH ASHLEYFORT       WV                    US   74240 135203321@KACHIPYTEL.COM
 34H9P2   1/11/2021   OB   1/11/2021 WN;1461;PHL;MDW                         NEW JEFFREYFORT        IN                    US   58170 135204388@KACHIPYTEL.COM
 34M8EC   1/11/2021   OB   1/11/2021 WN;2995;DAL;BWI;WN;4420;BWI;PWM         BORGO ARDUINO          FROSINONE             IT   77561 135204850@KACHIPYTEL.COM
 35CC4J   1/11/2021   OB   1/17/2021 WN;184;CLE;PHX;WN;425;PHX;LGB           GOLDENTOWN             IA                    US   78393 135206379@KACHIPYTEL.COM
 35FHE4   1/11/2021   OB   1/15/2021 WN;2744;ATL;RDU                         WEST SHAWNSIDE         MA                    US   37792 135206808@KACHIPYTEL.COM
 35YSOJ   1/11/2021   OB   1/11/2021 WN;3075;MIA;BWI                         LAKE TOKOZ             IGDIR                 TR    5363 135207787@KACHIPYTEL.COM
 35YSOJ   1/11/2021   OB   1/11/2021 WN;3075;MIA;BWI                         LAKE TOKOZ             IGDIR                 TR    5363 135207787@KACHIPYTEL.COM
 35YSOJ   1/11/2021   OB   1/11/2021 WN;3075;MIA;BWI                         LAKE TOKOZ             IGDIR                 TR    5363 135207787@KACHIPYTEL.COM
 36ELUH   1/11/2021   OB   3/23/2021 WN;2090;SAN;ATL;WN;1871;ATL;FLL         SCHWARTZTON            NC                    US   70158 135209140@KACHIPYTEL.COM
 36H6OW   1/11/2021   OB   3/23/2021 WN;2090;SAN;ATL;WN;1871;ATL;FLL         KATIEBERG              TX                    US   64685 135209041@KACHIPYTEL.COM
 36KYMO   1/11/2021   OB   3/23/2021 WN;2090;SAN;ATL;WN;1871;ATL;FLL         SAN CRISTAL DE LA MO   ZACATECAS             MX   22843 135209536@KACHIPYTEL.COM
 36P6T6   1/11/2021   OB   3/23/2021 WN;2090;SAN;ATL;WN;1871;ATL;FLL         NICHOLASTOWN           OR                    US   88961 135209415@KACHIPYTEL.COM
 375N2U   1/11/2021   OB   1/18/2021 WN;4279;HOU;MSY;WN;6284;MSY;MCO         MURPHYVILLE            WV                    US   24335 135210702@KACHIPYTEL.COM
 3788GB   1/11/2021   OB   1/11/2021 WN;2051;ATL;MDW;WN;2558;MDW;BOS         PORT DYLANTON          MD                    US   67638 135210625@KACHIPYTEL.COM
 378CSD   1/11/2021   OB   1/11/2021 WN;1534;LAS;SMF                         NEW ALYSSA             CO                    US   90394 135210636@KACHIPYTEL.COM
 378CSD   1/11/2021   OB   1/11/2021 WN;1534;LAS;SMF                         NEW ALYSSA             CO                    US   90394 135210636@KACHIPYTEL.COM
 378LDF   1/11/2021   OB   1/17/2021 WN;4246;MSY;HOU;WN;3294;HOU;MIA         DAVISHAVEN             NV                    US   30666 135210702@KACHIPYTEL.COM
 379KO3   1/11/2021   OB   1/17/2021 WN;4042;FLL;BWI;WN;2675;BWI;CLT         EAST AMBERSHIRE        RI                    US   66924 135210196@KACHIPYTEL.COM
 37HSFJ   1/11/2021   OB   1/11/2021 WN;2104;PHX;BWI                         GAYCHESTER             FGURA                 MT   52401 135211505@KACHIPYTEL.COM
 37K3IL   1/11/2021   OB   1/15/2021 WN;4954;BWI;PHX                         GRB NYM                HORMOZGAN             IR   40551 135211505@KACHIPYTEL.COM
 37NCR3   1/11/2021   OB   1/16/2021 WN;2469;DCA;ATL                         LAKE TINA              NY                    US   58516 135211725@KACHIPYTEL.COM
 37QJ3L   1/11/2021   OB   1/17/2021 WN;417;AUS;DEN;WN;2369;DEN;LGB          WELCHMOUTH             MN                    US   85478 135211956@KACHIPYTEL.COM
 37QJQJ   1/11/2021   OB   1/12/2021 WN;2969;DCA;STL;WN;2622;STL;TPA         DANIELLELAND           CO                    US   56583 135212121@KACHIPYTEL.COM
 38DC5M   1/11/2021   OB   3/12/2021 WN;465;SAN;SMF;WN;1702;SMF;SEA          VARDENIS               VAYOC JOR             AM   33821 135213210@KACHIPYTEL.COM
 38DC5M   1/11/2021   OB   3/12/2021 WN;465;SAN;SMF;WN;1702;SMF;SEA          VARDENIS               VAYOC JOR             AM   33821 135213210@KACHIPYTEL.COM
 38DWZZ   1/11/2021   OB   3/14/2021 WN;846;SMF;SAN;WN;2983;SAN;LAS          HAYDENVILLE            AL                    US    1108 135213210@KACHIPYTEL.COM
 38DWZZ   1/11/2021   OB   3/14/2021 WN;846;SMF;SAN;WN;2983;SAN;LAS          HAYDENVILLE            AL                    US    1108 135213210@KACHIPYTEL.COM
 395LFU   1/11/2021   OB   1/11/2021 WN;2051;ATL;MDW;WN;2558;MDW;BOS         NORTH MIRANDASIDE      CT                    US   89825 135214486@KACHIPYTEL.COM
 39HVK4   1/11/2021   OB   1/17/2021 WN;2744;ATL;RDU                         BARRYVILLE             CA                    US   41063 135215542@KACHIPYTEL.COM
 39X486   1/11/2021   OB   1/11/2021 WN;3402;ONT;DEN                         LUND                   STOCKHOLMS LAN        SE   85839 135216884@KACHIPYTEL.COM
 3AMLEK   1/11/2021   OB   1/18/2021 WN;4577;ATL;MCO;WN;2273;MCO;MDW         NEW ALEXANDRA          MO                    US   39693 135218985@KACHIPYTEL.COM
 3AMLEK   1/11/2021   OB   1/18/2021 WN;4577;ATL;MCO;WN;2273;MCO;MDW         NEW ALEXANDRA          MO                    US   39693 135218985@KACHIPYTEL.COM
 3B7TL9   1/11/2021   OB   1/11/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS         DANIELLETON            WV                    US   50363 135221306@KACHIPYTEL.COM
 3C56RW   1/11/2021   OB   1/12/2021 WN;4912;SLC;LAS;WN;3907;LAS;LAX         PORT MICHAELSTAD       SD                    US   32266 135225189@KACHIPYTEL.COM
 3FC3TU   1/11/2021   OB   1/17/2021 WN;1059;MSY;BWI;WN;102;BWI;MIA          MCDONALDMOUTH          AR                    US   46147 135242679@KACHIPYTEL.COM
 3FVR7W   1/11/2021   OB   1/12/2021 WN;3993;MDW;MCO                         JOHNSTONPORT           NH                    US   10811 135245110@KACHIPYTEL.COM
 3GF2NU   1/11/2021   OB   1/12/2021 WN;3121;ATL;MDW;WN;2576;MDW;DTW         SOUTH BARBARABURY      NC                    US   30439 135248476@KACHIPYTEL.COM
 3GSJOQ   1/11/2021   OB   1/11/2021 WN;4912;LAS;SNA;WN;3033;SNA;SMF         DA PAZ                 RIO GRANDE DO SUL     BR   14721 135250797@KACHIPYTEL.COM
 3HQG8F   1/11/2021   OB   1/15/2021 WN;4551;PHL;BNA;WN;2432;BNA;TPA         SOUTH CARRIE           NM                    US   39236 135256352@KACHIPYTEL.COM
 3IF8MU   1/11/2021   OB    2/2/2021 WN;4720;DTW;DEN;WN;2595;DEN;STL         LAKE VALERIETOWN       VT                    US   66684 135006509@KACHIPYTEL.COM
 3IOR2Q   1/11/2021   OB    3/5/2021 WN;430;ATL;PHX;WN;425;PHX;LGB           LAKE TAMMYFURT         NJ                    US   33187 135263205@KACHIPYTEL.COM
 3IOR2Q   1/11/2021   OB    3/5/2021 WN;430;ATL;PHX;WN;425;PHX;LGB           LAKE TAMMYFURT         NJ                    US   33187 135263205@KACHIPYTEL.COM
 3IQ6J8   1/11/2021   OB   1/13/2021 WN;4608;LAX;OAK;WN;4862;OAK;LAS         ANDRADEMOUTH           AR                    US   70949 135263843@KACHIPYTEL.COM
 3J2M25   1/11/2021   OB   1/14/2021 WN;1490;LAS;SMF;WN;4877;SMF;LGB         EAST KARILAND          CO                    US   48788 135265581@KACHIPYTEL.COM
 3J2TZ5   1/11/2021   OB   1/13/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW          BROWNVIEW              NJ                    US   91344 135264536@KACHIPYTEL.COM
 3J2TZ5   1/11/2021   OB   1/13/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW          BROWNVIEW              NJ                    US   91344 135264536@KACHIPYTEL.COM
 3J3C56   1/11/2021   OB   1/18/2021 WN;3292;FLL;STL;WN;3422;STL;LGA         CUNHA DA MATA          PIAUI                 BR   68275 135264723@KACHIPYTEL.COM
 3J9TKO   1/11/2021   OB   1/11/2021 WN;1461;PHL;MDW;WN;3388;MDW;MCO         CHRISTINEFORT          NM                    US   77573 135266879@KACHIPYTEL.COM
 3JA73Y   1/11/2021   OB   1/17/2021 WN;735;PHX;MDW;WN;2636;MDW;MSP          TINATOWN               KY                    US   66207 135266120@KACHIPYTEL.COM
 3JV4PI   1/11/2021   OB   1/12/2021 WN;907;MBJ;BWI;WN;102;BWI;MIA           BROOKSVILLE            KY                    US   38350 135270003@KACHIPYTEL.COM
 3KSKAX   1/11/2021   OB   1/12/2021 WN;3121;ATL;MDW;WN;2576;MDW;DTW         BECKYSIDE              MN                    US   41600 135277329@KACHIPYTEL.COM
 3L43J3   1/11/2021   OB   1/14/2021 WN;3115;MDW;ATL                         SUZANNEFURT            CA                    US    8955 135278000@KACHIPYTEL.COM
 3L4WOX   1/11/2021   OB   1/15/2021 WN;2107;TPA;BWI;WN;953;BWI;ATL          STEPHENSVIEW           IA                    US   47581 135278055@KACHIPYTEL.COM
 3LOMV3   1/11/2021   OB    2/1/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB         NORTH ALICESIDE        NH                    US   18155 135265295@KACHIPYTEL.COM
 3LSUDJ   1/11/2021   OB   1/17/2021 WN;6112;TPA;RDU                         PIERCEBURGH            LA                    US   82901 135282653@KACHIPYTEL.COM
 3MC428   1/11/2021   OB   1/14/2021 WN;3343;LGA;ATL                         LAKE HANNAHPORT        WI                    US   44857 135284765@KACHIPYTEL.COM
 3MDUPK   1/11/2021   OB   1/13/2021 WN;2044;DCA;MDW                         WEST ZACHARYVIEW       NE                    US   96850 135284886@KACHIPYTEL.COM
 3MDUPK   1/11/2021   OB   1/14/2021 WN;2508;MDW;TPA                         WEST ZACHARYVIEW       NE                    US   96850 135284886@KACHIPYTEL.COM
 3MXAVC   1/11/2021   OB   1/14/2021 WN;3343;LGA;ATL;WN;3948;ATL;FLL         EAST ERICPORT          PA                    US   18865 135288164@KACHIPYTEL.COM
 3MZQNL   1/11/2021   OB    2/7/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA         NEW JENNIFERCHESTER    NV                    US   40440 135288725@KACHIPYTEL.COM
 3N36P3   1/11/2021   OB   1/24/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA         JEREMIAHMOUTH          NY                    US   58463 135288406@KACHIPYTEL.COM
 3N6VYO   1/11/2021   OB   1/26/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL         YVONNEMOUTH            WA                    US   90545 135288846@KACHIPYTEL.COM




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3NTEJZ   1/11/2021 OB    5/1/2021 WN;3725;STL;MCO;WN;1340;MCO;BNA;WN;13NEW PAMELAVIEW        NE               US    50883 135292553@KACHIPYTEL.COM
3NTEJZ   1/11/2021 OB    5/1/2021 WN;3725;STL;MCO;WN;1340;MCO;BNA;WN;13NEW PAMELAVIEW        NE               US    50883 135292553@KACHIPYTEL.COM
3NZCNZ   1/11/2021 OB   1/12/2021 WN;3121;ATL;MDW                      MOOREPORT             NH               US    79288 135292828@KACHIPYTEL.COM
3NZEKY   1/11/2021 OB   1/12/2021 WN;441;ATL;DEN;WN;4986;DEN;MSP       KINGBURY              TX               US    85384 135292718@KACHIPYTEL.COM
3O66BG   1/11/2021 OB    2/7/2021 WN;4762;CLT;DAL;WN;2199;DAL;FLL      MARTINVILLE           LA               US    46688 135293499@KACHIPYTEL.COM
3O66BG   1/11/2021 OB    2/7/2021 WN;4762;CLT;DAL;WN;2199;DAL;FLL      MARTINVILLE           LA               US    46688 135293499@KACHIPYTEL.COM
3O66BG   1/11/2021 OB    2/7/2021 WN;4762;CLT;DAL;WN;2199;DAL;FLL      MARTINVILLE           LA               US    46688 135293499@KACHIPYTEL.COM
3OJ94S   1/11/2021 OB   1/20/2021 WN;2785;TPA;DEN;WN;4264;DEN;MSP      ANDERSONMOUTH         PA               US    25925 135294632@KACHIPYTEL.COM
3ORPIQ   1/11/2021 OB   1/13/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA      SOUTH WILLIAMMOUTH    WI               US    94250 135295457@KACHIPYTEL.COM
3OZA53   1/11/2021 OB   1/29/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL      NOLANMOUTH            NY               US     2063 135295974@KACHIPYTEL.COM
3PBN6F   1/11/2021 OB   1/13/2021 WN;3294;MIA;BWI;WN;680;BWI;MDW       LAURAPORT             PA               US    41067 135296425@KACHIPYTEL.COM
3PKOKO   1/12/2021 OB   2/22/2021 WN;3611;JAX;HOU;WN;3611;HOU;MDW;WN;4BREWERSTAD             UT               US    54611 135296920@KACHIPYTEL.COM
3PKOKO   1/12/2021 OB   2/22/2021 WN;3611;JAX;HOU;WN;3611;HOU;MDW;WN;4BREWERSTAD             UT               US    54611 135296920@KACHIPYTEL.COM
3Q5IFV   1/12/2021 OB   1/16/2021 WN;4712;LAS;SJC;WN;3733;SJC;LAX      SOUTH HEATHER         MI               US    58445 135298878@KACHIPYTEL.COM
3QA84D   1/12/2021 OB   1/25/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB      KELLYSHIRE            NJ               US    45892 135299021@KACHIPYTEL.COM
3QA84D   1/12/2021 OB   1/25/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB      KELLYSHIRE            NJ               US    45892 135299021@KACHIPYTEL.COM
3QA84D   1/12/2021 OB   1/25/2021 WN;4743;ATL;AUS;WN;4065;AUS;LGB      KELLYSHIRE            NJ               US    45892 135299021@KACHIPYTEL.COM
3QCCC3   1/12/2021 OB   1/25/2021 WN;360;ATL;BWI;WN;3041;BWI;MCO       EAST JENNIFER         NJ               US    12249 135299450@KACHIPYTEL.COM
3QCCC3   1/12/2021 OB   1/25/2021 WN;360;ATL;BWI;WN;3041;BWI;MCO       EAST JENNIFER         NJ               US    12249 135299450@KACHIPYTEL.COM
3QI65W   1/12/2021 OB   1/22/2021 WN;4936;LAX;HOU;WN;2723;HOU;MIA      NORTH XAVIER          AR               US    21455 135300264@KACHIPYTEL.COM
3QMZUE   1/12/2021 OB   1/27/2021 WN;2835;STL;BWI;WN;2039;BWI;CMH      CHARLESTOWN           WI               US    55719 135300517@KACHIPYTEL.COM
3QRWM2   1/12/2021 OB   1/18/2021 WN;184;CLE;PHX;WN;425;PHX;LGB        LAKE RACHEL           FL               US    48596 135300561@KACHIPYTEL.COM
3RGNUZ   1/12/2021 OB   1/20/2021 WN;2770;MCO;DEN;WN;2369;DEN;LGB      PORT REBECCACHESTER   ME               US    56508 135302464@KACHIPYTEL.COM
3RGNUZ   1/12/2021 OB   1/20/2021 WN;2770;MCO;DEN;WN;2369;DEN;LGB      PORT REBECCACHESTER   ME               US    56508 135302464@KACHIPYTEL.COM
3RVWCQ   1/12/2021 OB   1/12/2021 WN;2282;BNA;MDW;WN;2558;MDW;BOS      PATTONBERG            NH               US    41826 135304224@KACHIPYTEL.COM
3S8M52   1/12/2021 OB   1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA      ANGELABURY            TX               US    27400 135305676@KACHIPYTEL.COM
3S8M52   1/12/2021 OB   1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA      ANGELABURY            TX               US    27400 135305676@KACHIPYTEL.COM
3S8M52   1/12/2021 OB   1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA      ANGELABURY            TX               US    27400 135305676@KACHIPYTEL.COM
3S8M52   1/12/2021 OB   1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA      ANGELABURY            TX               US    27400 135305676@KACHIPYTEL.COM
3S8M52   1/12/2021 OB   1/14/2021 WN;1654;TPA;STL;WN;3422;STL;LGA      ANGELABURY            TX               US    27400 135305676@KACHIPYTEL.COM
3SENUT   1/12/2021 OB   1/12/2021 WN;2083;AUS;BWI;WN;1633;BWI;MCO      NORTH SEAN            GA               US      856 135305797@KACHIPYTEL.COM
3SLDJI   1/12/2021 OB    4/7/2021 WN;1669;MEM;MCO;WN;137;MCO;DAL       EAST LARRY            CO               US    31100 135306556@KACHIPYTEL.COM
3T889W   1/12/2021 OB   1/16/2021 WN;4647;LAX;MDW;WN;4668;MDW;MCO      SOUTH JOSEPHBERG      MD               US    93243 135308096@KACHIPYTEL.COM
3TE758   1/12/2021 OB   1/21/2021 WN;2104;PHX;BWI;WN;408;BWI;CVG       EAST NATHAN           MN               US    98842 135308173@KACHIPYTEL.COM
3TGOXK   1/12/2021 OB   1/12/2021 WN;3115;MDW;ATL;WN;2746;ATL;FLL      LAURENVILLE           CT               US    87554 135308316@KACHIPYTEL.COM
3TIYHK   1/12/2021 OB    6/3/2021 WN;825;MSP;BNA;WN;1546;BNA;DEN       EAST TROYVIEW         NY               US    12031 135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021 OB    6/3/2021 WN;825;MSP;BNA;WN;1546;BNA;DEN       EAST TROYVIEW         NY               US    12031 135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021 OB    6/3/2021 WN;825;MSP;BNA;WN;1546;BNA;DEN       EAST TROYVIEW         NY               US    12031 135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021 OB    6/3/2021 WN;825;MSP;BNA;WN;1546;BNA;DEN       EAST TROYVIEW         NY               US    12031 135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021 OB    6/3/2021 WN;825;MSP;BNA;WN;1546;BNA;DEN       EAST TROYVIEW         NY               US    12031 135309119@KACHIPYTEL.COM
3TXQJ6   1/12/2021 OB   1/14/2021 WN;3348;LGA;ATL;WN;2746;ATL;FLL      DANIELFORT            IA               US    60745 135310109@KACHIPYTEL.COM
3TXQJ6   1/12/2021 OB   1/14/2021 WN;3348;LGA;ATL;WN;2746;ATL;FLL      DANIELFORT            IA               US    60745 135310109@KACHIPYTEL.COM
3TZ7HG   1/12/2021 OB   1/18/2021 WN;2298;LAX;HOU;WN;3003;HOU;AUS      DOUGLASBURY           ME               US    80188 135310351@KACHIPYTEL.COM
3U99OV   1/12/2021 OB   1/16/2021 WN;2777;SNA;OAK;WN;4819;OAK;LAS      HEATHBURY             NJ               US    44424 135310494@KACHIPYTEL.COM
3UKNM2   1/12/2021 OB   1/12/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW       LOUISTOWN             WA               US    45430 135311341@KACHIPYTEL.COM
3UKNM2   1/12/2021 OB   1/12/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW       LOUISTOWN             WA               US    45430 135311341@KACHIPYTEL.COM
3UMVA8   1/12/2021 OB    2/5/2021 WN;4035;SJC;LAS;WN;400;LAS;LAX       FITZGERALDBERG        WV               US    56505 135311792@KACHIPYTEL.COM
3UPTL8   1/12/2021 OB    2/6/2021 WN;4178;DAL;STL;WN;3219;STL;MSY      JOSEPHSHIRE           WI               US    48893 135311935@KACHIPYTEL.COM
3UPTL8   1/12/2021 OB    2/6/2021 WN;4178;DAL;STL;WN;3219;STL;MSY      JOSEPHSHIRE           WI               US    48893 135311935@KACHIPYTEL.COM
3URBIN   1/12/2021 OB    2/8/2021 WN;4015;STL;DAL;WN;2748;DAL;LIT      SOUTH BRENDA          MI               US    32650 135311935@KACHIPYTEL.COM
3URBIN   1/12/2021 OB    2/8/2021 WN;4015;STL;DAL;WN;2748;DAL;LIT      SOUTH BRENDA          MI               US    32650 135311935@KACHIPYTEL.COM
3UTROT   1/12/2021 OB   1/15/2021 WN;6285;MSP;PHX;WN;3373;PHX;LGB      ROBERTSLAND           PA               US    98059 135311990@KACHIPYTEL.COM
3UZ6EM   1/12/2021 OB   1/18/2021 WN;1461;PHL;MDW                      EAST CHLOE            MO               US    93655 135312375@KACHIPYTEL.COM
3VDNRP   1/12/2021 OB   1/12/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW       SULLIVANCHESTER       IN               US    76584 135313442@KACHIPYTEL.COM
3VFRLD   1/12/2021 OB   1/15/2021 WN;4287;LAX;SMF;WN;4873;SMF;LAS      ANDERSONTOWN          VT               US    17524 135313398@KACHIPYTEL.COM
3VGAOW   1/12/2021 OB   1/16/2021 WN;135;LGA;ATL;WN;1641;ATL;DAL       SOUTH ERICA           AK               US    96826 135313343@KACHIPYTEL.COM
3YDGET   1/12/2021 OB   1/18/2021 WN;715;ATL;BWI                       RAMIREZFURT           IN               US    73120 135321791@KACHIPYTEL.COM
42UPRT   1/12/2021 OB   1/15/2021 WN;3276;LAX;BNA;WN;4773;BNA;MSY      ASHLEYBERG            OK               US    19165 135333308@KACHIPYTEL.COM
43YURY   1/12/2021 OB   1/16/2021 WN;2090;BNA;HOU                      GONZALEZTON           NH               US    29617 135339952@KACHIPYTEL.COM
44SWQB   1/12/2021 OB   1/17/2021 WN;1059;MSY;BWI;WN;102;BWI;MIA       LAKE CARRIE           MS               US    60693 135344660@KACHIPYTEL.COM
44XYYT   1/12/2021 OB   1/13/2021 WN;3343;ATL;STL;WN;3422;STL;LGA      NORTH WILLIAMMOUTH    IA               US    34845 135345573@KACHIPYTEL.COM
45CMWG   1/12/2021 OB   1/12/2021 WN;715;ATL;BWI;WN;3933;BWI;DTW       NORTH STEVEN          WV               US    94562 135347575@KACHIPYTEL.COM
45EWJS   1/12/2021 OB   1/16/2021 WN;6116;TPA;AUS;WN;3831;AUS;ATL      PORT SARAHMOUTH       IN               US     7164 135347113@KACHIPYTEL.COM
465ZT6   1/12/2021 OB   2/22/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB       SMITHPORT             IN               US    37113 135350754@KACHIPYTEL.COM
465ZT6   1/12/2021 OB   2/22/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB       SMITHPORT             IN               US    37113 135350754@KACHIPYTEL.COM
46P36D   1/12/2021 OB   1/15/2021 WN;4686;RDU;MCO                      SOUTH STEVENMOUTH     ID               US    50145 135297129.1534331@KACHIPYTEL.COM
46P36D   1/12/2021 OB   1/15/2021 WN;4686;RDU;MCO                      SOUTH STEVENMOUTH     ID               US    50145 135297129.1534331@KACHIPYTEL.COM
46P36D   1/12/2021 OB   1/15/2021 WN;4686;RDU;MCO                      SOUTH STEVENMOUTH     ID               US    50145 135297129.1534331@KACHIPYTEL.COM
46U8AX   1/12/2021 OB   1/15/2021 WN;3226;FLL;HOU;WN;3611;HOU;MDW      LAKE ANDRE            MI               US    92004 135354802@KACHIPYTEL.COM
475SKE   1/12/2021 OB   4/26/2021 WN;1516;MSY;DEN;WN;1126;DEN;SAT      YA CHUAN SHI          AKITA            JP    14118 135356210@KACHIPYTEL.COM
478EBJ   1/12/2021 OB    2/4/2021 WN;2661;TPA;LAS;WN;3416;LAS;RNO      ARNISHAVEN            KOCENU NOVADS    LV    90615 135357519@KACHIPYTEL.COM
47P3SS   1/12/2021 OB    3/1/2021 WN;812;PUJ;BWI;WN;1597;BWI;ORD       SOUTH LATOYABURGH     VT               US    28323 135359499@KACHIPYTEL.COM
47TMPZ   1/12/2021 OB   1/15/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA      GUERREROSHIRE         OH               US    33852 135359906@KACHIPYTEL.COM
47XFXT   1/12/2021 OB   1/22/2021 WN;2705;AUS;PHX;WN;3972;PHX;LAX      WEST OLIVIABOROUGH    TX               US    91706 135361182@KACHIPYTEL.COM
48N8RN   1/12/2021 OB   1/18/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL      FRYFORT               GA               US    70135 135365230@KACHIPYTEL.COM
48OCYC   1/12/2021 OB   1/14/2021 WN;1438;FLL;ATL                      EAST SHAWNVIEW        AMMOCHOSTOS      CY    68320 135365604@KACHIPYTEL.COM
48OCYC   1/12/2021 OB   1/14/2021 WN;1438;FLL;ATL                      EAST SHAWNVIEW        AMMOCHOSTOS      CY    68320 135365604@KACHIPYTEL.COM
48VEAN   1/12/2021 OB   1/14/2021 WN;3993;MDW;MCO;WN;2438;MCO;FLL      NEW DONNAFORT         NV               US    51229 135366704@KACHIPYTEL.COM
48XLDM   1/12/2021 OB   1/14/2021 WN;240;MDW;HOU;WN;3294;HOU;MIA       KATHRYNMOUTH          GA               US    30026 135367287@KACHIPYTEL.COM
4949UL   1/12/2021 OB   1/27/2021 WN;4988;STL;HOU;WN;2490;HOU;OKC      ALEXANDERFURT         MN               US    53543 135367441@KACHIPYTEL.COM
496W6L   1/12/2021 OB   1/16/2021 WN;3801;PHL;ATL;WN;1477;ATL;RSW      PORT JENNIFER         TX               US    49525 135368068@KACHIPYTEL.COM
49TWD9   1/12/2021 OB   1/17/2021 WN;4615;PHX;MDW;WN;3167;MDW;MSP      MICHAELFORT           MS               US    67464 135370730@KACHIPYTEL.COM
49TWD9   1/12/2021 OB   1/17/2021 WN;4615;PHX;MDW;WN;3167;MDW;MSP      MICHAELFORT           MS               US    67464 135370730@KACHIPYTEL.COM
49UWNC   1/12/2021 OB   1/18/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL      BROWNSIDE             CA               US    42633 135372369@KACHIPYTEL.COM
4AHEBW   1/12/2021 OB   1/13/2021 WN;2753;DCA;MDW;WN;3338;MDW;TPA      AARONBOROUGH          WI               US    39535 135375636@KACHIPYTEL.COM
4AOKDZ   1/12/2021 OB   1/14/2021 WN;5029;TPA;MDW;WN;4033;MDW;DCA      WEST MIKE             NC               US    21684 135377429@KACHIPYTEL.COM
4AP6EM   1/12/2021 OB   1/25/2021 WN;4756;OAK;HOU;WN;2356;HOU;MDW      PHTEHGDDH             GOA              IN    65697 135376758@KACHIPYTEL.COM
4AP6EM   1/12/2021 OB   1/25/2021 WN;4756;OAK;HOU;WN;2356;HOU;MDW      PHTEHGDDH             GOA              IN    65697 135376758@KACHIPYTEL.COM
4APEIC   1/12/2021 OB   1/14/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG      DAHL                  OSTFOLD          NO    57654 135376758@KACHIPYTEL.COM
4APEIC   1/12/2021 OB   1/14/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG      DAHL                  OSTFOLD          NO    57654 135376758@KACHIPYTEL.COM
4ATYWZ   1/12/2021 OB   1/20/2021 WN;6113;RDU;TPA;WN;2288;TPA;MIA      LEWISSHIRE            TN               US     6263 135378045@KACHIPYTEL.COM
4AVSF3   1/12/2021 OB   2/14/2021 WN;3179;FLL;ATL                      NORTH DESIREESTAD     GA               US    38529 135377792@KACHIPYTEL.COM
4AXUHD   1/12/2021 OB   1/14/2021 WN;4954;PHX;DEN                      DAWNVIEW              OH               US    74453 135378023@KACHIPYTEL.COM
4AXUHD   1/12/2021 OB   1/14/2021 WN;4954;PHX;DEN                      DAWNVIEW              OH               US    74453 135378023@KACHIPYTEL.COM
4AYHDV   1/12/2021 OB   1/17/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL      JONATHANLAND          OK               US    85304 135378045@KACHIPYTEL.COM
4AZYUM   1/12/2021 OB    2/1/2021 WN;4751;RIC;ATL;WN;4207;ATL;FLL      JULIAFURT             WV               US     9089 135378584@KACHIPYTEL.COM
4AZYUM   1/12/2021 OB    2/1/2021 WN;4751;RIC;ATL;WN;4207;ATL;FLL      JULIAFURT             WV               US     9089 135378584@KACHIPYTEL.COM
4CDZSO   1/12/2021 OB   1/13/2021 WN;824;LAX;SJC;WN;3278;SJC;LAS       MISTO OSTAP           SEVASTOPOL       UA    23366 135384535@KACHIPYTEL.COM
4CTOIS   1/12/2021 OB   1/19/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG      RICHVILLE             IA               US    80824 135386559@KACHIPYTEL.COM
4DITIE   1/12/2021 OB   1/17/2021 WN;4775;SAN;BWI;WN;3984;BWI;FLL      LUCASLAND             HI               US    72977 135388968@KACHIPYTEL.COM
225M5V   1/13/2021 OB   1/18/2021 WN;6004;LGA;TPA;WN;2288;TPA;MIA      JOSEPHBOROUGH         TN               US    50528 135478904@KACHIPYTEL.COM
22A5B8   1/13/2021 OB   1/14/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG      ROBERTSTAD            JARASH           JO    46078 135479520@KACHIPYTEL.COM
22A5B8   1/13/2021 OB   1/14/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG      ROBERTSTAD            JARASH           JO    46078 135479520@KACHIPYTEL.COM
22A5B8   1/13/2021 OB   1/14/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG      ROBERTSTAD            JARASH           JO    46078 135479520@KACHIPYTEL.COM
22QVJU   1/13/2021 OB   1/16/2021 WN;1677;LGA;ATL;WN;2829;ATL;FLL      NEW KAREN             AZ               US    55443 135480917@KACHIPYTEL.COM
232O5G   1/13/2021 OB   1/31/2021 WN;4692;LAS;SAN;WN;4720;SAN;SFO      SOUTH STEVEN          RI               US    86080 135477089@KACHIPYTEL.COM
4E9LAP   1/13/2021 OB   1/14/2021 WN;4413;DTW;BWI;WN;3111;BWI;BOS      BAKERMOUTH            CO               US    24917 135390959@KACHIPYTEL.COM
4EG4CJ   1/13/2021 OB   1/16/2021 WN;3001;ATL;MDW;WN;2440;MDW;FLL      ERICKSONSIDE          IN               US    48791 135391927@KACHIPYTEL.COM
4ETMHV   1/13/2021 OB   1/15/2021 WN;4751;ATL;MDW                      PORT NICHOLE          MT               US     4417 135392136@KACHIPYTEL.COM




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4EZN5U   1/13/2021 OB   1/14/2021 WN;2770;MCO;DEN;WN;4961;DEN;SAN        NORTH KIMBERLY       VT                     US   12799 135392554@KACHIPYTEL.COM
4F24JN   1/13/2021 OB   1/17/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA        JASONSIDE            KS                     US   97745 135393709@KACHIPYTEL.COM
4FAF4V   1/13/2021 OB   1/16/2021 WN;1677;LGA;ATL                        VEGAHAVEN            ID                     US   24718 135394006@KACHIPYTEL.COM
4FLODA   1/13/2021 OB   1/23/2021 WN;1685;ATL;PHX;WN;6268;PHX;MSP        STEVENMOUTH          KS                     US   75436 135395117@KACHIPYTEL.COM
4FLODA   1/13/2021 OB   1/23/2021 WN;1685;ATL;PHX;WN;6268;PHX;MSP        STEVENMOUTH          KS                     US   75436 135395117@KACHIPYTEL.COM
4FLODA   1/13/2021 OB   1/23/2021 WN;1685;ATL;PHX;WN;6268;PHX;MSP        STEVENMOUTH          KS                     US   75436 135395117@KACHIPYTEL.COM
4FLODA   1/13/2021 OB   1/23/2021 WN;1685;ATL;PHX;WN;6268;PHX;MSP        STEVENMOUTH          KS                     US   75436 135395117@KACHIPYTEL.COM
4FP3NR   1/13/2021 OB   1/24/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA        NORTH MICHAEL        WI                     US   48465 135395084@KACHIPYTEL.COM
4FP3NR   1/13/2021 OB   1/24/2021 WN;6001;AUS;TPA;WN;2288;TPA;MIA        NORTH MICHAEL        WI                     US   48465 135395084@KACHIPYTEL.COM
4FUGIJ   1/13/2021 OB    2/1/2021 WN;430;ATL;PHX;WN;425;PHX;LGB          EAST JAMESBERG       LA                     US   53486 135375812@KACHIPYTEL.COM
4G5BPO   1/13/2021 OB   1/13/2021 WN;2234;LAX;STL;WN;3301;STL;FLL        JEREMIAHSTAD         CO                     US   67938 135396767@KACHIPYTEL.COM
4G7MW2   1/13/2021 OB   1/16/2021 WN;3425;PHL;MDW;WN;4006;MDW;RSW        KARLTON              ME                     US   91748 135396690@KACHIPYTEL.COM
4G8LWY   1/13/2021 OB   1/17/2021 WN;1521;OAK;DEN;WN;4986;DEN;MSP        HALMSTAD             BLEKINGE LAN           SE   69326 135396734@KACHIPYTEL.COM
4G94PB   1/13/2021 OB   1/16/2021 WN;738;BWI;LAS;WN;3345;LAS;RNO         EAST JOE             AL                     US   43946 135396228@KACHIPYTEL.COM
4GCTUM   1/13/2021 OB   1/18/2021 WN;2531;LAS;BWI;WN;4413;BWI;BDL        SMITHFURT            NM                     US   21881 135396228@KACHIPYTEL.COM
4GL5UO   1/13/2021 OB   1/18/2021 WN;4246;MSY;HOU;WN;3294;HOU;MIA        WEST APRILTON        AL                     US   47914 135398219@KACHIPYTEL.COM
4GNAVY   1/13/2021 OB   1/21/2021 WN;2809;MCO;BNA;WN;4226;BNA;RDU        NORTH ANGELAFURT     KS                     US   13756 135398274@KACHIPYTEL.COM
4H3FSJ   1/13/2021 OB   1/15/2021 WN;2438;CLE;BNA;WN;3276;BNA;FLL        WEST TRAVIS          VA                     US   86421 135399198@KACHIPYTEL.COM
4H6LY4   1/13/2021 OB   1/15/2021 WN;3640;LAS;DEN;WN;3927;DEN;LAX        CHENBERG             OK                     US   83468 135399594@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4H6OG2   1/13/2021 OB   1/19/2021 WN;1588;MDW;BWI;WN;3984;BWI;FLL        SOUTH ALEXA          HI                     US   85558 135399407@KACHIPYTEL.COM
4HAKUJ   1/13/2021 OB   1/15/2021 WN;2438;CLE;BNA;WN;3276;BNA;FLL        NATALIEVIEW          NY                     US   20834 135399154@KACHIPYTEL.COM
4HAPFK   1/13/2021 OB   1/18/2021 WN;4572;BWI;ATL;WN;1966;ATL;DEN        EAST ANTHONY         CA                     US   83911 135400089@KACHIPYTEL.COM
4HBEYL   1/13/2021 OB   1/15/2021 WN;360;ATL;BWI;WN;3041;BWI;MCO         NEW RONALDTON        CA                     US   12217 135400089@KACHIPYTEL.COM
4HF5N5   1/13/2021 OB   1/17/2021 WN;3348;LGA;ATL;WN;2746;ATL;FLL        NORTH NICOLEVIEW     PA                     US   66728 135400408@KACHIPYTEL.COM
4HSWE5   1/13/2021 OB   2/11/2021 WN;3927;MSP;DEN;WN;2595;DEN;STL        PORT SABRINA         IL                     US   57328 135401651@KACHIPYTEL.COM
4HSWE5   1/13/2021 OB   2/11/2021 WN;3927;MSP;DEN;WN;2595;DEN;STL        PORT SABRINA         IL                     US   57328 135401651@KACHIPYTEL.COM
4HSWE5   1/13/2021 OB   2/11/2021 WN;3927;MSP;DEN;WN;2595;DEN;STL        PORT SABRINA         IL                     US   57328 135401651@KACHIPYTEL.COM
4HSWE5   1/13/2021 OB   2/11/2021 WN;3927;MSP;DEN;WN;2595;DEN;STL        PORT SABRINA         IL                     US   57328 135401651@KACHIPYTEL.COM
4HSWE5   1/13/2021 OB   2/11/2021 WN;3927;MSP;DEN;WN;2595;DEN;STL        PORT SABRINA         IL                     US   57328 135401651@KACHIPYTEL.COM
4HUJ6T   1/13/2021 OB   1/18/2021 WN;2708;LGA;MDW;WN;4172;MDW;DAL        CARDENASFURT         MS                     US   44634 135401464@KACHIPYTEL.COM
4HX6AY   1/13/2021 OB   1/13/2021 WN;1658;TUL;DAL;WN;2279;DAL;LAX        RIOSBOROUGH          CT                     US   75123 134711192@KACHIPYTEL.COM
4HX6AY   1/13/2021 OB   1/13/2021 WN;1658;TUL;DAL;WN;2279;DAL;LAX        TULSA                OK                     US   74107 134711192@KACHIPYTEL.COM
4HX6AY   1/13/2021 OB   1/13/2021 WN;1658;TUL;DAL;WN;2279;DAL;LAX        RIOSBOROUGH          CT                     US   75123 134711192@KACHIPYTEL.COM
4HX6AY   1/13/2021 OB   1/13/2021 WN;1658;TUL;DAL;WN;2279;DAL;LAX        TULSA                OK                     US   74107 134711192@KACHIPYTEL.COM
4HXVIR   1/13/2021 OB   1/13/2021 WN;2548;MCO;BWI;WN;3604;BWI;RDU        NORTH PAUL           MT                     US   96559 135401838@KACHIPYTEL.COM
4HZVQH   1/13/2021 OB   2/14/2021 WN;184;CLE;PHX;WN;425;PHX;LGB          MOOREPORT            UT                     US   80087 135402058@KACHIPYTEL.COM
4I56KU   1/13/2021 OB   1/18/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL        MAHONEYBURY          AR                     US   69616 135402135@KACHIPYTEL.COM
4IDHGK   1/13/2021 OB   1/15/2021 WN;6291;DCA;ATL;WN;540;ATL;PBI         PORT MARGARET        WA                     US   97776 135402850@KACHIPYTEL.COM
4IFRJN   1/13/2021 OB   1/16/2021 WN;6302;ATL;DCA;WN;2494;DCA;BNA;WN;249PORT ROYSIDE          LA                     US   77703 135402850@KACHIPYTEL.COM
4IHE6B   1/13/2021 OB   1/16/2021 WN;1677;LGA;ATL                        SOUTH JOSEPH         SC                     US   18447 135403312@KACHIPYTEL.COM
4IL5ZR   1/13/2021 OB   1/17/2021 WN;2234;LAX;STL                        WEST JEFFREYMOUTH    MN                     US    4070 135403565@KACHIPYTEL.COM
4IMU4P   1/13/2021 OB   1/27/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO        D VORONEZH           KALMYKIYA RESPUBLIKA   RU   34569 135392730@KACHIPYTEL.COM
4IPJE4   1/13/2021 OB   1/15/2021 WN;3787;LGA;BNA;WN;3203;BNA;FLL        CHRISTOPHERTON       AR                     US   25320 135403730@KACHIPYTEL.COM
4IPJE4   1/13/2021 OB   1/15/2021 WN;3787;LGA;BNA;WN;3203;BNA;FLL        CHRISTOPHERTON       AR                     US   25320 135403730@KACHIPYTEL.COM
4ITK46   1/13/2021 OB   1/13/2021 WN;6113;RDU;TPA;WN;2288;TPA;MIA        OROZCOPORT           ND                     US   36296 135403741@KACHIPYTEL.COM
4ITSF9   1/13/2021 OB   1/18/2021 WN;6112;TPA;RDU;WN;2746;RDU;ATL        MICHAELBURY          DE                     US   29863 135403741@KACHIPYTEL.COM
4IVCAW   1/13/2021 OB   1/14/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL        SHARONFORT           CA                     US   50758 135404379@KACHIPYTEL.COM
4J72Y6   1/13/2021 OB   1/27/2021 WN;5342;LAS;DAL;WN;2199;DAL;FLL        WEST SALLYMOUTH      RENFREWSHIRE           GB   99630 135404588@KACHIPYTEL.COM
4JAZM3   1/13/2021 OB   1/18/2021 WN;2793;DAL;STL;WN;3422;STL;LGA        STEPHENCHESTER       PA                     US   30824 135393775.1534564@KACHIPYTEL.COM
4JGOB2   1/13/2021 OB   2/11/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX         FAITHBURY            KS                     US   10048 135405391@KACHIPYTEL.COM
4JGOB2   1/13/2021 OB   2/11/2021 WN;430;ATL;PHX;WN;3972;PHX;LAX         FAITHBURY            KS                     US   10048 135405391@KACHIPYTEL.COM
4JUTB4   1/13/2021 OB   2/18/2021 WN;1438;FLL;ATL;WN;2707;ATL;LGA        WATSONBERG           IA                     US   98390 133796663.1534592@KACHIPYTEL.COM
4JUTB4   1/13/2021 OB   2/18/2021 WN;1438;FLL;ATL;WN;2707;ATL;LGA        WATSONBERG           IA                     US   98390 133796663.1534592@KACHIPYTEL.COM
4JZ87F   1/13/2021 OB   1/17/2021 WN;4115;ATL;MSY;WN;4279;MSY;TPA        ROYMOUTH             MI                     US   28924 135406711@KACHIPYTEL.COM
4KI35U   1/13/2021 OB   1/13/2021 WN;1534;LAS;SMF;WN;4902;SMF;LGB        WEST THERESAHAVEN    NY                     US   21115 135408031@KACHIPYTEL.COM
4KKJMY   1/13/2021 OB   1/13/2021 WN;35;DAL;HOU;WN;1597;HOU;HRL          DONNAFORT            CA                     US   74742 135408119@KACHIPYTEL.COM
4KLECE   1/13/2021 OB   1/13/2021 WN;5009;TPA;ATL;WN;4969;ATL;DCA        NORTH MICHAEL        CT                     US   45124 135408383@KACHIPYTEL.COM
4L4XET   1/13/2021 OB   1/15/2021 WN;3170;PHX;HOU;WN;506;HOU;CVG         SOUTH LAURIESIDE     FL                     US   31226 135409340@KACHIPYTEL.COM
4L9DAX   1/13/2021 OB   1/31/2021 WN;371;SAT;DAL;WN;2800;DAL;MSY         EAST ALANSIDE        AL                     US   80540 135410110@KACHIPYTEL.COM
4LKKX5   1/13/2021 OB   1/18/2021 WN;2044;DAL;DCA;WN;2044;DCA;MDW;WN;4MICHAELBERG             VA                     US   33912 135411507@KACHIPYTEL.COM
4LKKX5   1/13/2021 OB   1/18/2021 WN;2044;DAL;DCA;WN;2044;DCA;MDW;WN;4MICHAELBERG             VA                     US   33912 135411507@KACHIPYTEL.COM
4M794D   1/13/2021 OB   1/13/2021 WN;4858;LAS;TPA;WN;2288;TPA;MIA        YANGMOUTH            PA                     US    2394 135413377@KACHIPYTEL.COM
4MJENL   1/13/2021 OB   1/21/2021 WN;2705;AUS;PHX;WN;3373;PHX;LGB        DIANEVILLE           CA                     US    9876 135414521@KACHIPYTEL.COM
4MMPPG   1/13/2021 OB   1/22/2021 WN;3020;BOI;LAS                        LAKE JOSHUA          IL                     US   70053 135414565@KACHIPYTEL.COM
4O9TUM   1/13/2021 OB   1/21/2021 WN;3558;ISP;MCO;WN;4121;MCO;DAL        MAUREENSIDE          ND                     US   46913 135419262@KACHIPYTEL.COM
4O9TUM   1/13/2021 OB   1/21/2021 WN;3558;ISP;MCO;WN;4121;MCO;DAL        MAUREENSIDE          ND                     US   46913 135419262@KACHIPYTEL.COM
4OMVD5   1/13/2021 OB   1/16/2021 WN;3219;LGA;STL;WN;3219;STL;MSY;WN;4376EAST TARA            NM                     US    6226 135422177@KACHIPYTEL.COM
4OZPVU   1/13/2021 OB   1/20/2021 WN;2288;MSY;BNA;WN;4149;BNA;DTW        HAASSIDE             IL                     US   77895 135423365@KACHIPYTEL.COM
4OZPVU   1/13/2021 OB   1/20/2021 WN;2288;MSY;BNA;WN;4149;BNA;DTW        HAASSIDE             IL                     US   77895 135423365@KACHIPYTEL.COM
4PEF2K   1/13/2021 OB   1/23/2021 WN;3417;RDU;BWI;WN;2150;BWI;MIA        LAKE DAVIDVIEW       NH                     US   79833 135423728@KACHIPYTEL.COM
4QQCZQ   1/13/2021 OB   1/20/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS        NEW DANA             WY                     US   96641 135430911@KACHIPYTEL.COM
4QQCZQ   1/13/2021 OB   1/20/2021 WN;2531;LAS;BWI;WN;3111;BWI;BOS        NEW DANA             WY                     US   96641 135430911@KACHIPYTEL.COM
4RPPEV   1/13/2021 OB   1/18/2021 WN;1059;MSY;BWI                        WEST JESSICA         AR                     US    7575 135436367@KACHIPYTEL.COM
4RY6LQ   1/13/2021 OB   1/25/2021 WN;6011;SDF;TPA;WN;4143;TPA;MIA        CAROLBERG            NV                     US   13214 135437258@KACHIPYTEL.COM
4SE4O4   1/13/2021 OB   1/14/2021 WN;3343;LGA;ATL;WN;5067;ATL;MCO        CUNNINGHAMPORT       CT                     US   24836 135439238@KACHIPYTEL.COM
4TGAAS   1/13/2021 OB   1/17/2021 WN;1978;SMF;STL;WN;1325;STL;MCO        PORT MICHAEL         GA                     US   78979 135445684@KACHIPYTEL.COM
4TGAAS   1/13/2021 OB   1/17/2021 WN;1978;SMF;STL;WN;1325;STL;MCO        PORT MICHAEL         GA                     US   78979 135445684@KACHIPYTEL.COM
4TH8XD   1/13/2021 OB   1/23/2021 WN;19;BOI;LAS                          MARYTON              AZ                     US   14320 135414565.1534872@KACHIPYTEL.COM
4TXDCY   1/13/2021 OB   1/29/2021 WN;2576;PHX;HOU;WN;2623;HOU;ABQ        LAKE DANIEL          WY                     US    7190 135448390@KACHIPYTEL.COM
4U7FZ3   1/13/2021 OB   1/16/2021 WN;5084;DEN;LAS;WN;3877;LAS;MDW        SCOTTTOWN            GA                     US   41218 135450524@KACHIPYTEL.COM
4UFE29   1/13/2021 OB   1/22/2021 WN;2107;BWI;MCI;WN;4980;MCI;MDW        AMRAAVTII            BIHAR                  IN   47105 135451338@KACHIPYTEL.COM
4UGEBJ   1/13/2021 OB   1/18/2021 WN;3933;MCI;BWI;WN;1657;BWI;CLE        SBHAAPTINE           GUJARAT                IN   43255 135451338@KACHIPYTEL.COM
4UHB28   1/13/2021 OB   1/16/2021 WN;1636;ATL;DAL;WN;2433;DAL;MCO        KATHERINEBERG        NY                     US   93432 135451932@KACHIPYTEL.COM
4USEJB   1/13/2021 OB    2/2/2021 WN;2104;HOU;PHX;WN;3026;PHX;OKC        PORT JESSICATOWN     MS                     US   46157 135454044@KACHIPYTEL.COM
4UWR8N   1/13/2021 OB   1/31/2021 WN;2969;DCA;STL;WN;2220;STL;MCO        REBECCABURGH         SC                     US   82572 135454132@KACHIPYTEL.COM
4UZT39   1/13/2021 OB   1/18/2021 WN;6004;LGA;TPA;WN;2288;TPA;MIA        SOUTH JON            MT                     US   20692 135455045@KACHIPYTEL.COM
4V9ITT   1/13/2021 OB   1/16/2021 WN;3963;RDU;BNA;WN;4369;BNA;FLL        SOUTH KRISTEN        MN                     US   27382 135456156@KACHIPYTEL.COM
4V9RD8   1/13/2021 OB   1/17/2021 WN;4115;ATL;MSY                        SOUTH MICHAELMOUTH   TX                     US   62699 135455430@KACHIPYTEL.COM
4VFXEE   1/13/2021 OB   1/22/2021 WN;170;MCO;DEN                         NORTH DONALD         SC                     US   68461 135457278@KACHIPYTEL.COM
4VNQ75   1/13/2021 OB   1/18/2021 WN;4969;ATL;DCA                        MURPHYSTAD           KY                     US   65299 135458147@KACHIPYTEL.COM
4VNS5X   1/13/2021 OB   1/17/2021 WN;4836;SEA;OAK                        AJMER                HARYANA                IN   19942 135457762@KACHIPYTEL.COM
4W2WRM   1/13/2021 OB   1/24/2021 WN;4849;STL;HOU;WN;1102;HOU;DEN        PORT ROBIN           OR                     US   41388 135461040@KACHIPYTEL.COM
4W2WRM   1/13/2021 OB   1/24/2021 WN;4849;STL;HOU;WN;1102;HOU;DEN        PORT ROBIN           OR                     US   41388 135461040@KACHIPYTEL.COM
4W8OQG   1/13/2021 OB   1/17/2021 WN;4196;MSP;MDW;WN;3611;MDW;PHX        DIANAFURT            AR                     US    6993 135461997@KACHIPYTEL.COM
4WAYY7   1/13/2021 OB   1/24/2021 WN;2746;RDU;ATL                        WILLISBURY           AK                     US   82515 135461942@KACHIPYTEL.COM
4WCI8C   1/13/2021 OB   1/21/2021 WN;2744;ATL;RDU                        PORT SHERRIBURY      WY                     US   48400 135461942@KACHIPYTEL.COM
4YFUPA   1/13/2021 OB   1/14/2021 WN;2042;ATL;HOU;WN;3212;HOU;TPA        PORT ANDREA          IN                     US     750 135473030@KACHIPYTEL.COM
4YPRTF   1/13/2021 OB   3/28/2021 WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWEAST AMANDA          NM                     US   55617 135474020@KACHIPYTEL.COM
4YPRTF   1/13/2021 OB   3/28/2021 WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWEAST AMANDA          NM                     US   55617 135474020@KACHIPYTEL.COM
4YVGVI   1/13/2021 OB   3/28/2021 WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWKIMBERLYMOUTH        WV                     US   34652 135474207@KACHIPYTEL.COM
4YVGVI   1/13/2021 OB   3/28/2021 WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWKIMBERLYMOUTH        WV                     US   34652 135474207@KACHIPYTEL.COM
4Z9HIM   1/13/2021 OB   1/16/2021 WN;3425;PHL;MDW;WN;4006;MDW;RSW        NEW LUKEFORT         HI                     US   47906 135475934@KACHIPYTEL.COM
4ZBKZR   1/13/2021 OB   1/25/2021 WN;4145;MIA;TPA;WN;6111;TPA;DCA        NEW MICHAEL          LEMESOS                CY   61112 135475901@KACHIPYTEL.COM




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 4ZPYEX   1/13/2021 OB    4/8/2021 WN;519;SJU;MCO;WN;1542;MCO;FLL    LAKE STEFANICHESTER    VELIKO TARNOVO   BG   13774 135477540@KACHIPYTEL.COM
 4ZRQFO   1/13/2021 OB   1/18/2021 WN;1490;LAS;SMF;WN;4877;SMF;LGB   SAN HERNAN LOS BAJOS   SONORA           MX    1482 135477991@KACHIPYTEL.COM




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PNR_REC_LOC_ID   PNR_CRE_DT     ITIN_PART FLT_DEP_DT ITIN                                     BILL_CITY             BILL_ST_PRVC           BILL_CNTRY BILL_ZIP EMAIL
23YO4P              1/14/2021   OB           2/16/2021 WN;1556;LAS;TUS                        EAST JAMIE            VT                     US            88401 135484294@AIRLINE.KIWI.COM
24594W              1/14/2021   OB           1/18/2021 WN;4042;FLL;BWI;WN;470;BWI;ATL         DAVILAMOUTH           CA                     US            14735 135483821@AIRLINE.KIWI.COM
24U28Y              1/14/2021   OB           1/15/2021 WN;400;LAS;LAX                         EAST BETTY            FL                     US            59302 135486703@AIRLINE.KIWI.COM
25NH2W              1/14/2021   OB            2/3/2021 WN;1154;SEA;PHX                        NORTH ANGELVIEW       AL                     US            82200 135483392.1535109@AIRLINE.KIWI.COM
25XQ6I              1/14/2021   OB           1/15/2021 WN;3313;SMF;SAN                        EAST PHILIPTOWN       CT                     US            80308 135490817@AIRLINE.KIWI.COM
26K5P3              1/14/2021   OB           2/14/2021 WN;2761;JAX;BWI;WN;3933;BWI;DTW        SOUTH MEGANFORT       AK                     US            29229 135492192@AIRLINE.KIWI.COM
26K5P3              1/14/2021   OB           2/14/2021 WN;2761;JAX;BWI;WN;3933;BWI;DTW        SOUTH MEGANFORT       AK                     US            29229 135492192@AIRLINE.KIWI.COM
26K5P3              1/14/2021   OB           2/14/2021 WN;2761;JAX;BWI;WN;3933;BWI;DTW        SOUTH MEGANFORT       AK                     US            29229 135492192@AIRLINE.KIWI.COM
26K5P3              1/14/2021   OB           2/14/2021 WN;2761;JAX;BWI;WN;3933;BWI;DTW        SOUTH MEGANFORT       AK                     US            29229 135492192@AIRLINE.KIWI.COM
26K5P3              1/14/2021   OB           2/14/2021 WN;2761;JAX;BWI;WN;3933;BWI;DTW        SOUTH MEGANFORT       AK                     US            29229 135492192@AIRLINE.KIWI.COM
26XMHY              1/14/2021   OB           1/16/2021 WN;217;CUN;MDW                         MOOREVIEW             OR                     US             4315 135492940@AIRLINE.KIWI.COM
26XMHY              1/14/2021   OB           1/16/2021 WN;217;CUN;MDW                         MOOREVIEW             OR                     US             4315 135492940@AIRLINE.KIWI.COM
26XMHY              1/14/2021   OB           1/16/2021 WN;217;CUN;MDW                         MOOREVIEW             OR                     US             4315 135492940@AIRLINE.KIWI.COM
27GQ6C              1/14/2021   OB           1/14/2021 WN;185;MDW;MSY                         BENNETTBURGH          MT                     US             9953 135494469@AIRLINE.KIWI.COM
27GQ6C              1/14/2021   OB           1/14/2021 WN;185;MDW;MSY                         BENNETTBURGH          MT                     US             9953 135494469@AIRLINE.KIWI.COM
27GQ6C              1/14/2021   OB           1/14/2021 WN;185;MDW;MSY                         BENNETTBURGH          MT                     US             9953 135494469@AIRLINE.KIWI.COM
27GQ6C              1/14/2021   OB           1/14/2021 WN;185;MDW;MSY                         BENNETTBURGH          MT                     US             9953 135494469@AIRLINE.KIWI.COM
27XWOO              1/14/2021   OB           1/22/2021 WN;1059;BWI;DEN                        ESTRADACHESTER        SC                     US            65928 135491675@AIRLINE.KIWI.COM
27XWOO              1/14/2021   OB           1/22/2021 WN;1059;BWI;DEN                        ESTRADACHESTER        SC                     US            65928 135491675@AIRLINE.KIWI.COM
27XWOO              1/14/2021   OB           1/22/2021 WN;1059;BWI;DEN                        ESTRADACHESTER        SC                     US            65928 135491675@AIRLINE.KIWI.COM
27XWOO              1/14/2021   OB           1/22/2021 WN;1059;BWI;DEN                        ESTRADACHESTER        SC                     US            65928 135491675@AIRLINE.KIWI.COM
287TTX              1/14/2021   OB           1/23/2021 WN;2297;ATL;LGA                        ROBERTVIEW            LA                     US            84983 135496427@AIRLINE.KIWI.COM
28XMCR              1/14/2021   OB           1/19/2021 WN;2540;MCO;ATL                        NEW KIMBERLYSHIRE     ME                     US            46163 135496284@AIRLINE.KIWI.COM
293L4S              1/14/2021   OB           1/18/2021 WN;4042;FLL;BWI;WN;470;BWI;ATL         EAST BRITTANY         NC                     US             9117 135483436@AIRLINE.KIWI.COM
2A6GCE              1/14/2021   OB            2/5/2021 WN;3927;MSP;DEN;WN;1336;DEN;TPA        WHITESHIRE            TX                     US            25225 135500365@AIRLINE.KIWI.COM
2CN3WU              1/14/2021   OB           1/25/2021 WN;4849;DEN;STL                        SOUTH THOMASTON       WY                     US            21823 135502928@AIRLINE.KIWI.COM
2DWG6V              1/14/2021   OB           1/18/2021 WN;3075;MIA;BWI;WN;4022;BWI;PWM        SELISHCHE IVAN        KYIVSKA OBLAST         UA            69068 135513697@AIRLINE.KIWI.COM
2E5QNQ              1/14/2021   OB           1/14/2021 WN;2592;ELP;LAS                        VIEJA SUIZA           DURANGO                MX            44246 135516073@AIRLINE.KIWI.COM
2GWYN4              1/14/2021   OB           1/14/2021 WN;5008;MEM;ATL                        HARTMANSTAD           HI                     US            33493 135530879@AIRLINE.KIWI.COM
2GX6RO              1/14/2021   OB            2/6/2021 WN;4612;MDW;OMA                        DAALKHOLAA            TAMIL NADU             IN             9956 135530538@AIRLINE.KIWI.COM
2GX6RO              1/14/2021   OB            2/6/2021 WN;4612;MDW;OMA                        DAALKHOLAA            TAMIL NADU             IN             9956 135530538@AIRLINE.KIWI.COM
2HGWWY              1/14/2021   OB           1/14/2021 WN;456;LAX;OAK                         LUNASIDE              HI                     US            42418 135533816@AIRLINE.KIWI.COM
2HGWWY              1/14/2021   RT           1/15/2021 WN;1148;OAK;LAX                        LUNASIDE              HI                     US            42418 135533816@AIRLINE.KIWI.COM
2HUKF2              1/14/2021   OB           1/14/2021 WN;436;DEN;SAT                         SOUTH MATTHEWMOUTH    WI                     US            51927 135535675@AIRLINE.KIWI.COM
2IIC8N              1/14/2021   OB           3/27/2021 WN;4;OAK;LAS                           EAST THOMAS           NV                     US            79324 135539305@AIRLINE.KIWI.COM
2ILTQS              1/14/2021   OB           2/10/2021 WN;1597;SAT;HOU                        LAKE ROBERT           IA                     US            48261 135538546@AIRLINE.KIWI.COM
2IMYIK              1/14/2021   OB           3/23/2021 WN;1692;LGA;DEN;WN;343;DEN;OAK         NEW BENJAMINPORT      FL                     US            44041 135539305@AIRLINE.KIWI.COM
2MJAJ9              1/14/2021   OB           2/11/2021 WN;3807;STL;OKC                        NEW KAYLA             ME                     US             8665 135562031@AIRLINE.KIWI.COM
2MJAJ9              1/14/2021   RT           2/13/2021 WN;64;OKC;STL                          NEW KAYLA             ME                     US             8665 135562031@AIRLINE.KIWI.COM
2NO6HZ              1/14/2021   OB            3/8/2021 WN;1839;PHX;MKE                        CUEVASLAND            IN                     US            61567 135567674@AIRLINE.KIWI.COM
2NO6HZ              1/14/2021   OB            3/8/2021 WN;1839;PHX;MKE                        CUEVASLAND            IN                     US            61567 135567674@AIRLINE.KIWI.COM
2OJPZ9              1/14/2021   OB           1/15/2021 WN;845;MSP;MDW                         ALLENLAND             CT                     US             6505 135570963@AIRLINE.KIWI.COM
2P6DYP              1/14/2021   OB           1/14/2021 WN;3172;LAS;BUR                        G NEFEDOVA            SVERDLOVSKAYA OBLAST   RU            54134 135572833@AIRLINE.KIWI.COM
2PBV2N              1/14/2021   OB           1/24/2021 WN;2863;MDW;FLL                        WEST MONICAFORT       NV                     US            15558 135573845@AIRLINE.KIWI.COM
W6IOQS              1/14/2021   OB            4/1/2021 WN;1364;SJU;BWI;WN;1245;BWI;BDL        JEFFREYSIDE           MT                     US            37127 129279964@AIRLINE.KIWI.COM
2QRU3W              1/15/2021   OB            4/2/2021 WN;2192;SEA;SMF;WN;684;SMF;PHX         PORT RONALDSIDE       NE                     US            11734 135578355@AIRLINE.KIWI.COM
2QRU3W              1/15/2021   RT            4/9/2021 WN;1882;PHX;SEA                        PORT RONALDSIDE       NE                     US            11734 135578355@AIRLINE.KIWI.COM
2QX3PB              1/15/2021   OB           1/15/2021 WN;3725;LAX;HOU;WN;4279;HOU;MSY        WILLIAMSCHESTER       WY                     US            32592 135578762@AIRLINE.KIWI.COM
2RVQKH              1/15/2021   OB           1/15/2021 WN;3343;LGA;ATL                        LAKE KATHRYN          MS                     US            74051 135580599@AIRLINE.KIWI.COM
2SV9JS              1/15/2021   OB           1/15/2021 WN;1344;SMF;ONT                        NORTH TAMMY           DE                     US             7163 135582964@AIRLINE.KIWI.COM
2SVLPL              1/15/2021   OB           1/19/2021 WN;883;OAK;OGG                         HAMPTONSHIRE          DE                     US            10158 135574076@AIRLINE.KIWI.COM
2SVLPL              1/15/2021   OB           1/19/2021 WN;883;OAK;OGG                         HAMPTONSHIRE          DE                     US            10158 135574076@AIRLINE.KIWI.COM
2TKQAO              1/15/2021   OB           1/15/2021 WN;2592;ELP;LAS;WN;400;LAS;LAX         VIEJA SUIZA           DURANGO                MX            44246 135516073@AIRLINE.KIWI.COM
2TPUDK              1/15/2021   OB           1/16/2021 WN;4537;FLL;ATL                        HOLLANDSIDE           TX                     US             3432 135585263@AIRLINE.KIWI.COM
2UPXMK              1/15/2021   OB           1/21/2021 WN;2904;SMF;SAN                        EAST LAURAHAVEN       WV                     US            76239 135587738@AIRLINE.KIWI.COM
2USXWT              1/15/2021   OB           1/15/2021 WN;2457;PIT;MDW                        NORTH JASON           MD                     US            19115 135587727@AIRLINE.KIWI.COM
2UUOAN              1/15/2021   OB           1/18/2021 WN;2604;SAN;SMF                        WEST JOSEPHSHIRE      MS                     US            12915 135587738@AIRLINE.KIWI.COM
2VI2ZC              1/15/2021   OB           1/15/2021 WN;1438;FLL;ATL                        SHHR MBYN             QOM                    IR            95014 135589377@AIRLINE.KIWI.COM
2VLC8J              1/15/2021   OB           1/15/2021 WN;3343;LGA;ATL                        LAKE JACQUELINEFURT   CO                     US             6999 135589355@AIRLINE.KIWI.COM
2VLR2O              1/15/2021   OB           1/15/2021 WN;1438;FLL;ATL                        LAKE CALVINTOWN       CO                     US            21049 135589476@AIRLINE.KIWI.COM
2VPA2I              1/15/2021   OB            2/1/2021 WN;3111;DAL;CLT                        OCONNORCHESTER        MI                     US            65219 135589707@AIRLINE.KIWI.COM
2WG8HE              1/15/2021   OB           1/18/2021 WN;1521;DEN;AUS;WN;1521;AUS;HOU;WN;47 LAURIETON              HI                     US            51889 135591467@AIRLINE.KIWI.COM
3234DM              1/15/2021   OB           1/15/2021 WN;4536;PHX;SAN                        WEST CHARLESSHIRE     NH                     US            87912 135604854@AIRLINE.KIWI.COM
32823N              1/15/2021   OB           1/15/2021 WN;1019;SJU;TPA                        SUWEONSI              GYEONGGIDO             KR            47714 135605778@AIRLINE.KIWI.COM
35UEK7              1/15/2021   OB           1/29/2021 WN;2634;PHX;DEN                        EAST ELIZABETH        TN                     US             3017 135624049@AIRLINE.KIWI.COM
35YSGA              1/15/2021   OB           1/15/2021 WN;3422;LGA;DEN;WN;1966;DEN;LAS        WARRENFORT            MA                     US            20851 135624236@AIRLINE.KIWI.COM
36VOZF              1/15/2021   OB           1/16/2021 WN;217;CUN;MDW                         MILLERBOROUGH         MI                     US            37008 135626590@AIRLINE.KIWI.COM
36VOZF              1/15/2021   OB           1/16/2021 WN;217;CUN;MDW                         MILLERBOROUGH         MI                     US            37008 135626590@AIRLINE.KIWI.COM
36VOZF              1/15/2021   OB           1/16/2021 WN;217;CUN;MDW                         MILLERBOROUGH         MI                     US            37008 135626590@AIRLINE.KIWI.COM
37D56Q              1/15/2021   OB           2/11/2021 WN;2580;RIC;MCO;WN;2438;MCO;FLL        STEINBURGH            MO                     US            62226 135631452@AIRLINE.KIWI.COM
37D56Q              1/15/2021   RT           2/15/2021 WN;3240;FLL;MCO;WN;3240;MCO;RIC        STEINBURGH            MO                     US            62226 135631452@AIRLINE.KIWI.COM
37I24W              1/15/2021   OB           2/11/2021 WN;2580;RIC;MCO;WN;2438;MCO;FLL        WAGNERBURY            MD                     US            26818 135631474@AIRLINE.KIWI.COM
37I24W              1/15/2021   RT           2/15/2021 WN;3240;FLL;MCO;WN;3240;MCO;RIC        WAGNERBURY            MD                     US            26818 135631474@AIRLINE.KIWI.COM
385X8W              1/15/2021   OB           1/15/2021 WN;4801;OAK;PHX                        SOUTH ZACHARY         NE                     US            96097 134509958.1536045@AIRLINE.KIWI.COM
39ULWH              1/15/2021   OB            4/3/2021 WN;1530;PHX;MSP                        LAKE MATTHEWTON       AE                     US            30640 135637392@AIRLINE.KIWI.COM
3AFEPV              1/15/2021   OB           1/15/2021 WN;3339;MDW;TPA                        PIERCEBURGH           TX                     US            43594 135646555@AIRLINE.KIWI.COM
3B75HW              1/15/2021   OB           1/20/2021 WN;1652;TPA;SJU                        WEST KATHERINELAND    UT                     US            27940 135650350@AIRLINE.KIWI.COM
3B7XFJ              1/15/2021   OB           1/16/2021 WN;3023;SJU;TPA                        NEW JEREMY            WA                     US            20134 135650350@AIRLINE.KIWI.COM
3BJXGU              1/15/2021   OB            3/3/2021 WN;569;BWI;DEN;WN;569;DEN;OAK;WN;1268; TORRESBURY            LEFKOSIA               CY            86136 135484173.1536161@AIRLINE.KIWI.COM
3C992C              1/15/2021   OB           1/16/2021 WN;3461;MDW;BNA;WN;2763;BNA;ECP        JEFFREYBERG           WY                     US            47945 135654772@AIRLINE.KIWI.COM
3CT3HQ              1/15/2021   OB           1/19/2021 WN;1490;LAS;SMF;WN;1154;SMF;SEA        RACHELBERG            FL                     US            91475 135649239@AIRLINE.KIWI.COM
3CT3HQ              1/15/2021   OB           1/19/2021 WN;1490;LAS;SMF;WN;1154;SMF;SEA        RACHELBERG            FL                     US            91475 135649239@AIRLINE.KIWI.COM
3D8XAG              1/15/2021   OB           6/21/2021 WN;976;BOS;STL;WN;1812;STL;SLC         NORTH HEATHERBURY     ID                     US            84166 135658831@AIRLINE.KIWI.COM
3D8XAG              1/15/2021   OB           6/21/2021 WN;976;BOS;STL;WN;1812;STL;SLC         NORTH HEATHERBURY     ID                     US            84166 135658831@AIRLINE.KIWI.COM
3D8XAG              1/15/2021   OB           6/21/2021 WN;976;BOS;STL;WN;1812;STL;SLC         NORTH HEATHERBURY     ID                     US            84166 135658831@AIRLINE.KIWI.COM
3D8XAG              1/15/2021   OB           6/21/2021 WN;976;BOS;STL;WN;1812;STL;SLC         NORTH HEATHERBURY     ID                     US            84166 135658831@AIRLINE.KIWI.COM
3DKTFQ              1/15/2021   OB           1/16/2021 WN;3023;SJU;TPA                        ELLISCHESTER          NH                     US            40280 135661614@AIRLINE.KIWI.COM
3DKTFQ              1/15/2021   OB           1/16/2021 WN;3023;SJU;TPA                        ELLISCHESTER          NH                     US            40280 135661614@AIRLINE.KIWI.COM
3EH8DO              1/15/2021   OB           1/29/2021 WN;469;MDW;LGA                         NEW MELISSABOROUGH    MO                     US            40864 135664628@AIRLINE.KIWI.COM
3G39HO              1/16/2021   OB           1/17/2021 WN;5014;ATL;DEN;WN;4264;DEN;MSP        SOUTH NINA            OK                     US             4551 135667719@AIRLINE.KIWI.COM
3G4KVY              1/16/2021   OB           1/19/2021 WN;316;CUN;HOU                         NORTH DAVID           ME                     US             7919 135666564@AIRLINE.KIWI.COM
3GPJH8              1/16/2021   OB           1/16/2021 WN;3890;LAX;LAS                        WILSONFORT            MO                     US            35166 135669017@AIRLINE.KIWI.COM
3JGTD8              1/16/2021   OB           3/17/2021 WN;256;PHX;SAT;WN;256;SAT;HOU;WN;256;H LAKE NICHOLASBERG     MO                     US            80595 135674781@AIRLINE.KIWI.COM
3JGTD8              1/16/2021   OB           3/17/2021 WN;256;PHX;SAT;WN;256;SAT;HOU;WN;256;H LAKE NICHOLASBERG     MO                     US            80595 135674781@AIRLINE.KIWI.COM
3JX4FZ              1/16/2021   OB           1/21/2021 WN;4202;MSY;ATL                        PORT VICTORIAFURT     IL                     US            27019 135675584@AIRLINE.KIWI.COM
3L4VXQ              1/16/2021   OB           1/16/2021 WN;2163;LAX;HOU                        COOLEYPORT            NV                     US            93566 135678213@AIRLINE.KIWI.COM
3M4R2K              1/16/2021   OB           3/21/2021 WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE            NH                     US            92685 135678092@AIRLINE.KIWI.COM
3M4R2K              1/16/2021   OB           3/21/2021 WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE            NH                     US            92685 135678092@AIRLINE.KIWI.COM
3M4R2K              1/16/2021   OB           3/21/2021 WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE            NH                     US            92685 135678092@AIRLINE.KIWI.COM
3M4R2K              1/16/2021   OB           3/21/2021 WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE            NH                     US            92685 135678092@AIRLINE.KIWI.COM




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3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE           NH                     US     92685 135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE           NH                     US     92685 135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW        LAKE AIMEE           NH                     US     92685 135678092@AIRLINE.KIWI.COM
3MTBMM   1/16/2021   OB   1/17/2021   WN;4145;MIA;TPA;WN;771;TPA;MKE         MICHELLEHAVEN        SD                     US     15660 135682481@AIRLINE.KIWI.COM
3T7SZ2   1/16/2021   OB   1/26/2021   WN;1438;FLL;ATL;WN;1438;ATL;RIC        MARKVILLE            AR                     US     44610 135703227@AIRLINE.KIWI.COM
3TS8GU   1/16/2021   OB   1/16/2021   WN;4333;LAS;LAX                        LAKE DAVID           KS                     US     74017 135705449@AIRLINE.KIWI.COM
3TS8GU   1/16/2021   OB   1/16/2021   WN;4333;LAS;LAX                        LAKE DAVID           KS                     US     74017 135705449@AIRLINE.KIWI.COM
3UWO6H   1/16/2021   OB    4/1/2021   WN;924;FLL;BWI;WN;1531;BWI;ORD         KATHERINEPORT        NJ                     US     69479 135710619@AIRLINE.KIWI.COM
3WQE6V   1/16/2021   OB   1/17/2021   WN;3239;LAS;LAX                        LEONARDTOWN          GA                     US     25817 135719067@AIRLINE.KIWI.COM
3WQE6V   1/16/2021   OB   1/17/2021   WN;3239;LAS;LAX                        LEONARDTOWN          GA                     US     25817 135719067@AIRLINE.KIWI.COM
3XI7TF   1/16/2021   OB    2/8/2021   WN;1278;HNL;OAK                        NEW SEAN             AR                     US     17582 135722059@AIRLINE.KIWI.COM
3Y8SHL   1/16/2021   OB   1/16/2021   WN;1733;HNL;KOA                        K KASPIISK           KIROVSKAYA OBLAST      RU     29106 135724787@AIRLINE.KIWI.COM
3Y8SHL   1/16/2021   OB   1/16/2021   WN;1733;HNL;KOA                        K KASPIISK           KIROVSKAYA OBLAST      RU     29106 135724787@AIRLINE.KIWI.COM
3Z6JBT   1/16/2021   OB   1/16/2021   WN;1457;SMF;LAS                        EAST SAMUEL          MS                     US     58227 135728197@AIRLINE.KIWI.COM
42NJGU   1/16/2021   OB   1/17/2021   WN;2773;ATL;BNA;WN;3585;BNA;DTW        MORGANPORT           TN                     US     71383 135731959@AIRLINE.KIWI.COM
44P2IK   1/17/2021   OB   1/17/2021   WN;4294;MDW;PIT                        ANTONIOTON           TX                     US     26927 135736502@AIRLINE.KIWI.COM
46382P   1/17/2021   OB   1/18/2021   WN;735;PHX;MDW;WN;2195;MDW;CLE         MOURA DO OESTE       SANTA CATARINA         BR     92228 135738911@AIRLINE.KIWI.COM
46EJ7N   1/17/2021   OB   1/23/2021   WN;1494;BUF;BWI                        SOUTH DANA           MI                     US     60799 135739483@AIRLINE.KIWI.COM
46JJEC   1/17/2021   OB   1/17/2021   WN;2577;MIA;HOU;WN;2298;HOU;SAT        LAKE TYLER           GA                     US     41322 135739967@AIRLINE.KIWI.COM
46TCHX   1/17/2021   OB   1/18/2021   WN;6003;TPA;LGA                        LEEMOUTH             DE                     US     12409 135740264@AIRLINE.KIWI.COM
47F4CH   1/17/2021   OB   1/17/2021   WN;2288;MDW;MSY                        WEST TAMARABURY      ND                     US     46601 135741287@AIRLINE.KIWI.COM
47R82Z   1/17/2021   OB   1/17/2021   WN;2246;FLL;ATL                        NEW KARENTOWN        AL                     US     18203 135741914@AIRLINE.KIWI.COM
48F6PZ   1/17/2021   OB   1/17/2021   WN;2576;FLL;MDW                        EAST ELIZABETH       MN                     US     77273 135742574@AIRLINE.KIWI.COM
4AENFA   1/17/2021   OB   1/17/2021   WN;3179;FLL;ATL                        WEST CLARE           WOKINGHAM              GB     82624 135745643@AIRLINE.KIWI.COM
4AKZJ3   1/17/2021   OB   1/18/2021   WN;3075;MIA;BWI;WN;953;BWI;ATL         LAWRENCEVIEW         NY                     US     40597 135745951@AIRLINE.KIWI.COM
4BGOAQ   1/17/2021   OB   1/18/2021   WN;1491;SMF;LAS                        PORT LARRY           SC                     US     52455 135747656@AIRLINE.KIWI.COM
4BZ25F   1/17/2021   OB   3/22/2021   WN;1053;TUS;OAK                        GONDOMAR             CA                     US     83028 135745995@AIRLINE.KIWI.COM
4CH4TH   1/17/2021   OB   1/17/2021   WN;3167;MDW;MSP                        BRADHAVEN            RI                     US     93356 135749636@AIRLINE.KIWI.COM
4G9TVS   1/17/2021   OB   1/18/2021   WN;4549;ATL;MEM                        NEW GREGORYBERG      WY                     US      7353 135762385@AIRLINE.KIWI.COM
4IO5AG   1/17/2021   OB   1/18/2021   WN;1962;MCO;MDW;WN;4409;MDW;DTW        HALLHAVEN            VA                     US     63735 135770393@AIRLINE.KIWI.COM
4IO5AG   1/17/2021   OB   1/18/2021   WN;1962;MCO;MDW;WN;4409;MDW;DTW        HALLHAVEN            VA                     US     63735 135770393@AIRLINE.KIWI.COM
4ITTJA   1/17/2021   OB   1/17/2021   WN;3131;MDW;GRR                        GARCIAPORT           MN                     US     90773 135771504@AIRLINE.KIWI.COM
4LKFQR   1/17/2021   OB   1/17/2021   WN;2707;ATL;LGA                        HARTMANBERG          MI                     US     84379 135782471@AIRLINE.KIWI.COM
4LNQDP   1/17/2021   OB   1/17/2021   WN;3020;LAS;DEN                        RODGERSFURT          CA                     US     56584 135783560@AIRLINE.KIWI.COM
4LT93W   1/17/2021   OB   1/18/2021   WN;794;LAS;SJC;WN;159;SJC;LAX          EAST GREGORY         WA                     US     85129 135784121@AIRLINE.KIWI.COM
4MXP8Q   1/17/2021   OB   1/18/2021   WN;2707;ATL;LGA                        LAKE ADAM            DE                     US     69889 135787619@AIRLINE.KIWI.COM
4OH8MN   1/17/2021   OB   1/18/2021   WN;2577;MIA;HOU;WN;423;HOU;LAS         SCOTTSTAD            KS                     US     80142 135792910@AIRLINE.KIWI.COM
4OH8MN   1/17/2021   OB   1/18/2021   WN;2577;MIA;HOU;WN;423;HOU;LAS         SCOTTSTAD            KS                     US     80142 135792910@AIRLINE.KIWI.COM
4OH8MN   1/17/2021   OB   1/18/2021   WN;2577;MIA;HOU;WN;423;HOU;LAS         SCOTTSTAD            KS                     US     80142 135792910@AIRLINE.KIWI.COM
4OUACL   1/17/2021   OB   2/22/2021   WN;1387;PHX;OAK                        NORTH RACHEL         HI                     US     18695 135793702@AIRLINE.KIWI.COM
4OWUJS   1/17/2021   OB   1/18/2021   WN;1634;CLT;STL                        WEST JAMESBURGH      MN                     US      8211 135794318@AIRLINE.KIWI.COM
22B46U   1/18/2021   OB   1/31/2021   WN;6278;STL;DEN                        WEST BRIANBURY       ID                     US     43206 135821147@AIRLINE.KIWI.COM
22DBUD   1/18/2021   OB   1/31/2021   WN;3927;DEN;LAX                        RHONDATOWN           KS                     US     13687 135821147@AIRLINE.KIWI.COM
23FBTJ   1/18/2021   OB   1/18/2021   WN;3967;MCO;BWI;WN;3111;BWI;BOS        SOUTH SONYA          WV                     US     44153 135826559@AIRLINE.KIWI.COM
23VXVB   1/18/2021   OB   1/18/2021   WN;3268;LAS;DAL;WN;22;DAL;FLL          SOUTH STEPHENHAVEN   KS                     US     49386 135828506@AIRLINE.KIWI.COM
254FQE   1/18/2021   OB   1/19/2021   WN;2540;MCO;ATL                        NEW GINA             GA                     US     91004 135832345@AIRLINE.KIWI.COM
254FQE   1/18/2021   OB   1/19/2021   WN;2540;MCO;ATL                        NEW GINA             GA                     US     91004 135832345@AIRLINE.KIWI.COM
258SG4   1/18/2021   OB   1/18/2021   WN;3146;HOU;PHX;WN;3982;PHX;SAT        WEBBLAND             WY                     US     56434 135830794@AIRLINE.KIWI.COM
258SG4   1/18/2021   OB   1/18/2021   WN;3146;HOU;PHX;WN;3982;PHX;SAT        WEBBLAND             WY                     US     56434 135830794@AIRLINE.KIWI.COM
25O7GO   1/18/2021   OB   1/18/2021   WN;2434;TPA;ATL                        NORTH RYANBOROUGH    RI                     US     26223 135834743@AIRLINE.KIWI.COM
25O7GO   1/18/2021   OB   1/18/2021   WN;2434;TPA;ATL                        NORTH RYANBOROUGH    RI                     US     26223 135834743@AIRLINE.KIWI.COM
26TPXQ   1/18/2021   OB   1/18/2021   WN;4608;LAX;OAK                        LAKE GERALDBURGH     MO                     US     38178 135841563@AIRLINE.KIWI.COM
279VDS   1/18/2021   OB    4/2/2021   WN;1691;SEA;OAK;WN;1204;OAK;LAX;WN;120 CARROLLTOWN          ND                     US     79197 135844181@AIRLINE.KIWI.COM
27DIFK   1/18/2021   OB   1/19/2021   WN;569;BWI;DEN;WN;569;DEN;OAK;WN;883;OBUCKFURT              ID                     US     87787 135844291@AIRLINE.KIWI.COM
27E7BP   1/18/2021   OB   5/13/2021   WN;1698;MDW;FLL                        EAST AMANDA          WA                     US     67825 135568719@AIRLINE.KIWI.COM
27E7BP   1/18/2021   OB   5/13/2021   WN;1698;MDW;FLL                        EAST AMANDA          WA                     US     67825 135568719@AIRLINE.KIWI.COM
27H2MY   1/18/2021   OB   5/21/2021   WN;434;FLL;MDW                         KELLYSTAD            NY                     US     31029 135568719@AIRLINE.KIWI.COM
27H2MY   1/18/2021   OB   5/21/2021   WN;434;FLL;MDW                         KELLYSTAD            NY                     US     31029 135568719@AIRLINE.KIWI.COM
27ZO7C   1/18/2021   OB   2/20/2021   WN;4503;MCO;MDW;WN;4672;MDW;DTW        SOUTH KEVINHAVEN     DE                     US     72656 135847261@AIRLINE.KIWI.COM
29TTNP   1/18/2021   OB   1/19/2021   WN;3959;MCO;BNA                        DELMASBOURG          GERS                   FR     67386 135852816@AIRLINE.KIWI.COM
2A5I7M   1/18/2021   OB   1/19/2021   WN;1206;ATL;CLE                        PEREZBERG            AK                     US     53021 135860175@AIRLINE.KIWI.COM
2A6EUT   1/18/2021   OB   1/25/2021   WN;953;ATL;BNA;WN;4766;BNA;PHL         MARTINEZBURGH        KY                     US     89816 135860670@AIRLINE.KIWI.COM
2BFBXL   1/18/2021   OB   1/19/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        NORTH DONNATON       ID                     US     92700 135866973@AIRLINE.KIWI.COM
2BWH66   1/18/2021   OB   1/18/2021   WN;1733;HNL;KOA                        CHRISTINEBURY        WY                     US     36895 135869272@AIRLINE.KIWI.COM
2BWH66   1/18/2021   OB   1/18/2021   WN;1733;HNL;KOA                        CHRISTINEBURY        WY                     US     36895 135869272@AIRLINE.KIWI.COM
2BXK9Y   1/18/2021   OB   1/18/2021   WN;1387;PHX;OAK                        SIMPSONSTAD          NM                     US     78690 135870174@AIRLINE.KIWI.COM
2CIGZZ   1/18/2021   OB   1/19/2021   WN;2026;ATL;DEN;WN;4158;DEN;SMF        NEW JULIABERG        MA                     US     29166 135872264@AIRLINE.KIWI.COM
2CSJ7V   1/18/2021   OB   1/19/2021   WN;3348;LGA;ATL                        LAKE DAVIDTON        ID                     US     22866 135873276@AIRLINE.KIWI.COM
2CSJ7V   1/18/2021   RT   1/24/2021   WN;2817;ATL;LGA                        LAKE DAVIDTON        ID                     US     22866 135873276@AIRLINE.KIWI.COM
2DAT3X   1/18/2021   OB   3/28/2021   WN;525;PHX;LAS;WN;474;LAS;CMH          LAKE REBECCAHAVEN    MS                     US     41699 135856171.1537208@AIRLINE.KIWI.COM
4T36IS   1/18/2021   OB   1/18/2021   WN;1019;SJU;TPA                        SOUTH JOYCESIDE      MI                     US     39629 135801743@AIRLINE.KIWI.COM
4T36IS   1/18/2021   OB   1/18/2021   WN;1019;SJU;TPA                        SOUTH JOYCESIDE      MI                     US     39629 135801743@AIRLINE.KIWI.COM
4UEZN4   1/18/2021   OB   1/18/2021   WN;2938;ATL;PHL                        EAST MELANIETON      NV                     US     53766 135804636@AIRLINE.KIWI.COM
4UFARQ   1/18/2021   OB   1/18/2021   WN;2773;ATL;BNA;WN;4222;BNA;RDU        NEW TYLER            WV                     US     17970 135804438@AIRLINE.KIWI.COM
4UHDAI   1/18/2021   OB   1/18/2021   WN;3948;FLL;MDW;WN;4910;MDW;LGA        LAKE LISA            WY                     US     84062 135804614@AIRLINE.KIWI.COM
4V2FWH   1/18/2021   OB   1/24/2021   WN;1533;ATL;DAL                        HALLVILLE            VT                     US     42286 135805868@AIRLINE.KIWI.COM
4VV5UI   1/18/2021   OB    2/6/2021   WN;1741;MCO;LAS;WN;1146;LAS;LAX        RAYMONDBOROUGH       IN                     US     68040 135807661@AIRLINE.KIWI.COM
4VV5UI   1/18/2021   OB    2/6/2021   WN;1741;MCO;LAS;WN;1146;LAS;LAX        RAYMONDBOROUGH       IN                     US     68040 135807661@AIRLINE.KIWI.COM
4XLI3A   1/18/2021   OB   1/18/2021   WN;2707;ATL;LGA                        CHRISTOPHERMOUTH     DE                     US     88780 135811489@AIRLINE.KIWI.COM
4XNCET   1/18/2021   OB   1/18/2021   WN;2707;ATL;LGA                        NORTH ELLEN          RI                     US     26934 135811489@AIRLINE.KIWI.COM
2FRXF6   1/19/2021   OB   1/19/2021   WN;3633;LAS;ATL                        WEST CHLOEFORT       NC                     US     71275 135882307@AIRLINE.KIWI.COM
2H7HIP   1/19/2021   OB   1/19/2021   WN;2938;ATL;PHL                        SOUTH BRANDIFORT     NC                     US      4687 135885112@AIRLINE.KIWI.COM
2JRTTE   1/19/2021   OB   1/19/2021   WN;986;MCO;PIT                         PORT LESLIETON       CA                     US     33430 135307139.1537326@AIRLINE.KIWI.COM
2JTYLZ   1/19/2021   OB   1/21/2021   WN;6004;LGA;TPA;WN;2288;TPA;MIA        KLKH BRIANSK         SAKHALINSKAYA OBLAST   RU     64221 135890172@AIRLINE.KIWI.COM
2S6C4D   1/19/2021   OB   2/22/2021   WN;481;MCO;MEM                         ANDREWSBOROUGH       OK                     US     51023 135924030@AIRLINE.KIWI.COM
2T65JE   1/19/2021   OB   3/21/2021   WN;2054;SFO;DEN;WN;993;DEN;DTW         NEW CAROLYNVILLE     NE                     US     44878 135930872@AIRLINE.KIWI.COM
2T65JE   1/19/2021   OB   3/21/2021   WN;2054;SFO;DEN;WN;993;DEN;DTW         NEW CAROLYNVILLE     NE                     US     44878 135930872@AIRLINE.KIWI.COM
2U6M7T   1/19/2021   OB   2/19/2021   WN;4532;OAK;PDX                        LAKE ANNETTEHAVEN    ID                     US     86798 135937472@AIRLINE.KIWI.COM
2U8FEB   1/19/2021   OB   2/21/2021   WN;3326;PDX;OAK                        EAST SPENCERSIDE     AK                     US     27129 135937472@AIRLINE.KIWI.COM
2UG2R8   1/19/2021   OB   1/19/2021   WN;2707;ATL;LGA                        SOUTH TYLER          AL                     US     24573 135938066@AIRLINE.KIWI.COM
2UUYSX   1/19/2021   OB   1/20/2021   WN;4910;MDW;LGA                        SCHMIDTLAND          NH                     US     93078 135941080@AIRLINE.KIWI.COM
2WTVSK   1/19/2021   OB   1/29/2021   WN;2611;DAL;MDW                        NEW CODY             IA                     US      8743 135951376@AIRLINE.KIWI.COM
2WTVSK   1/19/2021   OB   1/29/2021   WN;2611;DAL;MDW                        NEW CODY             IA                     US      8743 135951376@AIRLINE.KIWI.COM
2WXLHU   1/19/2021   OB    3/3/2021   WN;4279;MSY;TPA;WN;4279;TPA;MIA        DYLANHAVEN           MN                     US     52570 135953059@AIRLINE.KIWI.COM
2WXLHU   1/19/2021   OB    3/3/2021   WN;4279;MSY;TPA;WN;4279;TPA;MIA        DYLANHAVEN           MN                     US     52570 135953059@AIRLINE.KIWI.COM
2ZK2IH   1/19/2021   OB   1/20/2021   WN;3989;LAX;LAS                        LAKE ERICTON         ME                     US     71065 135964444@AIRLINE.KIWI.COM
2ZQFHF   1/19/2021   OB   1/20/2021   WN;2263;ATL;CMH                        SAN INES LOS BAJOS   MICHOACAN DE OCAMPO    DM   -       135963102@AIRLINE.KIWI.COM
2ZQFHF   1/19/2021   OB   1/20/2021   WN;2263;ATL;CMH                        SAN INES LOS BAJOS   MICHOACAN DE OCAMPO    DM   -       135963102@AIRLINE.KIWI.COM
32F3AQ   1/19/2021   OB   2/15/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC        GORDONSTAD           NE                     US     19444 135968140@AIRLINE.KIWI.COM
32H8PS   1/19/2021   OB   2/11/2021   WN;2580;RIC;MCO;WN;2438;MCO;FLL        EVANSSIDE            PA                     US     48476 135968140@AIRLINE.KIWI.COM
33FQTK   1/19/2021   OB   2/21/2021   WN;3989;MCO;MDW                        NASHIK               AK                     US     42201 135959131@AIRLINE.KIWI.COM




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33FQTK   1/19/2021   OB   2/21/2021   WN;3989;MCO;MDW                   NASHIK                 AK                      US   42201   135959131@AIRLINE.KIWI.COM
33FQTK   1/19/2021   OB   2/21/2021   WN;3989;MCO;MDW                   NASHIK                 AK                      US   42201   135959131@AIRLINE.KIWI.COM
33FQTK   1/19/2021   OB   2/21/2021   WN;3989;MCO;MDW                   NASHIK                 AK                      US   42201   135959131@AIRLINE.KIWI.COM
34TEBU   1/20/2021   OB   1/21/2021   WN;2084;LAS;LAX                   WEST CHRISTIANCHESTE   IN                      US   85826   135974971@AIRLINE.KIWI.COM
34U3RD   1/20/2021   OB    3/8/2021   WN;1268;OAK;KOA                   DIAS DO NORTE          AMAPA                   BR     885   135974861@AIRLINE.KIWI.COM
367URA   1/20/2021   OB   2/27/2021   WN;4527;PDX;SJC                   MILLERPORT             AL                      US   81142   135978447@AIRLINE.KIWI.COM
38AWR8   1/20/2021   OB   6/23/2021   WN;1456;MIA;HOU;WN;2827;HOU;SAT   PORT MATTHEWMOUTH      WICKLOW                 IE   72768   135983265@AIRLINE.KIWI.COM
38AWR8   1/20/2021   OB   6/23/2021   WN;1456;MIA;HOU;WN;2827;HOU;SAT   PORT MATTHEWMOUTH      WICKLOW                 IE   72768   135983265@AIRLINE.KIWI.COM
38AWR8   1/20/2021   OB   6/23/2021   WN;1456;MIA;HOU;WN;2827;HOU;SAT   PORT MATTHEWMOUTH      WICKLOW                 IE   72768   135983265@AIRLINE.KIWI.COM
394B3I   1/20/2021   OB   2/11/2021   WN;257;BOS;BWI                    GRB NYYSH              SISTAN VA BALUCHESTAN   IR   10013   135985036@AIRLINE.KIWI.COM
394W6C   1/20/2021   OB   2/15/2021   WN;2593;BWI;BOS                   NORTH ELEONORA         IALOMITA                RO   28598   135985036@AIRLINE.KIWI.COM
3A28ZI   1/20/2021   OB   1/21/2021   WN;1148;HNL;OAK;WN;2340;OAK;DEN   LYNNSTAD               RI                      US   38304   135986774@AIRLINE.KIWI.COM
3AJMZ8   1/20/2021   OB   1/20/2021   WN;4022;MDW;BWI                   NORTH ROBERT           ME                      US   92119   135987797@AIRLINE.KIWI.COM
3G3RGR   1/20/2021   OB   1/20/2021   WN;6111;TPA;DCA                   LHSYNYVIEW             DEIR EL BALAH           PS   28040   136012866@AIRLINE.KIWI.COM
3J7ZVU   1/20/2021   OB   1/20/2021   WN;2434;TPA;ATL                   MALMO                  GA                      US   36584   136012866@AIRLINE.KIWI.COM
3JLLYY   1/20/2021   OB   8/15/2021   WN;2732;LGA;BWI;WN;1255;BWI;ORD   EAST ROBERTO           AK                      US   53720   133277870.1538129@AIRLINE.KIWI.COM
3JLLYY   1/20/2021   OB   8/15/2021   WN;2732;LGA;BWI;WN;1255;BWI;ORD   EAST ROBERTO           AK                      US   53720   133277870.1538129@AIRLINE.KIWI.COM
3JRCPF   1/20/2021   OB   1/20/2021   WN;3624;OAK;SAN                   LAKE CAROLYN           IN                      US   87214   136031324@AIRLINE.KIWI.COM
3JRCPF   1/20/2021   RT   1/22/2021   WN;1385;SAN;OAK                   LAKE CAROLYN           IN                      US   87214   136031324@AIRLINE.KIWI.COM
3PZ53R   1/20/2021   OB   2/10/2021   WN;2255;MDW;BOS                   DAWNPORT               NM                      US   59473   136061145@AIRLINE.KIWI.COM
3RDG7Z   1/21/2021   OB   1/22/2021   WN;2510;BWI;BOS;WN;2510;BOS;MDW   HOWARDSHIRE            AZ                      US   36641   136064346@AIRLINE.KIWI.COM
3S9ZTJ   1/21/2021   OB   1/29/2021   WN;1607;BWI;CUN                   PORT MIKAYLAVILLE      IN                      US   54453   136066788@AIRLINE.KIWI.COM
3S9ZTJ   1/21/2021   RT    2/4/2021   WN;1608;CUN;BWI                   PORT MIKAYLAVILLE      IN                      US   54453   136066788@AIRLINE.KIWI.COM
3SSVQ4   1/21/2021   OB   3/26/2021   WN;1559;PHX;HOU;WN;467;HOU;MIA    NORTH TIMOTHYTON       NM                      US    5824   136067855@AIRLINE.KIWI.COM
3SVYDL   1/21/2021   OB   4/26/2021   WN;1206;MDW;LGA                   MEGANBURGH             LA                      US   49401   128636761.1538319@AIRLINE.KIWI.COM
3TO3IM   1/21/2021   OB   1/21/2021   WN;38;HOU;DAL                     GIBSONMOUTH            ND                      US   70287   136069681@AIRLINE.KIWI.COM
3UKE8A   1/21/2021   OB   1/21/2021   WN;3134;DTW;BWI;WN;2411;BWI;ATL   WEST TERRI             SC                      US   56187   136071540@AIRLINE.KIWI.COM
3VPATC   1/21/2021   OB    2/4/2021   WN;1966;ATL;DEN                   LAKE MARKSTAD          OH                      US   50689   136073168@AIRLINE.KIWI.COM
3VPATC   1/21/2021   OB    2/4/2021   WN;1966;ATL;DEN                   LAKE MARKSTAD          OH                      US   50689   136073168@AIRLINE.KIWI.COM
3VPATC   1/21/2021   RT    2/6/2021   WN;3788;DEN;ATL                   LAKE MARKSTAD          OH                      US   50689   136073168@AIRLINE.KIWI.COM
3VPATC   1/21/2021   RT    2/6/2021   WN;3788;DEN;ATL                   LAKE MARKSTAD          OH                      US   50689   136073168@AIRLINE.KIWI.COM
3W99NQ   1/21/2021   OB   1/21/2021   WN;1597;SAT;HOU;WN;553;HOU;ELP    NEW KENNETHSIDE        WI                      US   45067   136075148@AIRLINE.KIWI.COM
45OGLT   1/21/2021   OB   2/13/2021   WN;4721;BOS;MDW                   GOODMANBOROUGH         MT                      US   91596   136104848@AIRLINE.KIWI.COM
45OGLT   1/21/2021   OB   2/13/2021   WN;4721;BOS;MDW                   GOODMANBOROUGH         MT                      US   91596   136104848@AIRLINE.KIWI.COM
464IFZ   1/21/2021   OB   1/29/2021   WN;6005;MKE;TPA                   CHANCHESTER            TX                      US   52491   136108203@AIRLINE.KIWI.COM
4C7SQN   1/21/2021   OB    2/2/2021   WN;824;LAX;SJC                    P USTORDYNSKII         NOVOSIBIRSKAYA OBLAST   RU   91405   136141137@AIRLINE.KIWI.COM
4C7SQN   1/21/2021   RT    2/9/2021   WN;2877;SJC;LAX                   P USTORDYNSKII         NOVOSIBIRSKAYA OBLAST   RU   91405   136141137@AIRLINE.KIWI.COM
2337UD   1/22/2021   OB   3/27/2021   WN;2614;LAX;DEN;WN;2494;DEN;MSP   PENNINGTONBURY         OR                      US   52492   136237167@AIRLINE.KIWI.COM
2337UD   1/22/2021   OB   3/27/2021   WN;2614;LAX;DEN;WN;2494;DEN;MSP   PENNINGTONBURY         OR                      US   52492   136237167@AIRLINE.KIWI.COM
4GGOMW   1/22/2021   OB   1/22/2021   WN;184;CLE;PHX                    EAST JANEBURGH         TX                      US   58419   136155063@AIRLINE.KIWI.COM
4HL6I2   1/22/2021   OB   1/22/2021   WN;3170;PHX;HOU                   SOUTH KATHRYN          KS                      US   31608   136157692@AIRLINE.KIWI.COM
4HQ7FE   1/22/2021   OB   1/22/2021   WN;5067;ATL;MCO                   FERRELLLAND            IN                      US   72490   136158451@AIRLINE.KIWI.COM
4J6VCP   1/22/2021   OB    3/1/2021   WN;3035;SMF;LAX                   KILKIS                 GREVENA                 GR   27311   136162070@AIRLINE.KIWI.COM
4J7PBH   1/22/2021   OB   1/23/2021   WN;2902;LAX;LAS                   TOMMYMOUTH             TX                      US   48072   136162235@AIRLINE.KIWI.COM
4JAT6H   1/22/2021   OB   2/22/2021   WN;3936;MCI;PHX;WN;2502;PHX;SFO   KHUTIR LEONID          ZAPORIZKA OBLAST        UA   57233   136162356@AIRLINE.KIWI.COM
4K6CQO   1/22/2021   OB   1/22/2021   WN;3744;LAX;LAS                   VIEJA MAURITANIA       CHIHUAHUA               MX   66989   136164512@AIRLINE.KIWI.COM
4P5DVV   1/22/2021   OB   1/22/2021   WN;3989;LAX;LAS                   WRIGHTSTAD             KY                      US   88627   136178416@AIRLINE.KIWI.COM
4UY7LU   1/22/2021   OB   1/22/2021   WN;2568;ATL;LAS                   HAMILTONMOUTH          NE                      US   79147   136208875@AIRLINE.KIWI.COM
4UY7LU   1/22/2021   OB   1/22/2021   WN;2568;ATL;LAS                   HAMILTONMOUTH          NE                      US   79147   136208875@AIRLINE.KIWI.COM
4VXCL8   1/22/2021   OB   1/25/2021   WN;2073;LAS;LGB;WN;2073;LGB;SJC   SAN CRISTINA LOS BAJ   QUERETARO               MX   80456   136214617@AIRLINE.KIWI.COM
4WJG7M   1/22/2021   OB   1/22/2021   WN;2592;ELP;LAS                   NEW CHRISTOPHER        MT                      US   18592   136218071@AIRLINE.KIWI.COM
4WOO6N   1/22/2021   OB   1/24/2021   WN;721;SJD;DEN;WN;4589;DEN;SMF    VIEJA REPUBLICA DEMO   MEXICO                  MX   49164   136218896@AIRLINE.KIWI.COM
4WOO6N   1/22/2021   OB   1/24/2021   WN;721;SJD;DEN;WN;4589;DEN;SMF    VIEJA REPUBLICA DEMO   MEXICO                  MX   49164   136218896@AIRLINE.KIWI.COM
4WVOK4   1/22/2021   OB   1/22/2021   WN;3041;BWI;MCO                   EAST MARIA             OR                      US   25063   136220920@AIRLINE.KIWI.COM
4ZHLJM   1/22/2021   OB   2/12/2021   WN;1471;LAS;ONT                   WARNERHAVEN            GA                      US   11801   136231392@AIRLINE.KIWI.COM
4ZHOBV   1/22/2021   OB   2/17/2021   WN;4465;ONT;LAS                   DAVIDVILLE             LA                      US   59075   136231392@AIRLINE.KIWI.COM
25JGAZ   1/23/2021   OB   3/28/2021   WN;4446;ATL;LAS;WN;4446;LAS;LAX   BENJAMINLAND           WY                      US   49360   136243657@AIRLINE.KIWI.COM
25XG99   1/23/2021   OB   1/24/2021   WN;2775;DAL;LGA                   SOUTH MARIAPORT        VT                      US   97875   136244163@AIRLINE.KIWI.COM
26D4A9   1/23/2021   OB   1/24/2021   WN;3264;LAX;DEN;WN;1454;DEN;MSP   NORTH CYNTHIA          NJ                      US   74603   136245021@AIRLINE.KIWI.COM
26JTCT   1/23/2021   OB   1/23/2021   WN;1958;FLL;SJU                   GABRIELSTAD            NM                      US   31505   136245384@AIRLINE.KIWI.COM
27BOD5   1/23/2021   OB   3/14/2021   WN;1526;SAN;LAS                   SAN DIEGO              CA                      US   92102   107496928@AIRLINE.KIWI.COM
27BOD5   1/23/2021   OB   3/14/2021   WN;1526;SAN;LAS                   SAN DIEGO              CA                      US   92102   107496928@AIRLINE.KIWI.COM
27BOD5   1/23/2021   RT   3/16/2021   WN;1564;LAS;SAN                   SAN DIEGO              CA                      US   92102   107496928@AIRLINE.KIWI.COM
27BOD5   1/23/2021   RT   3/16/2021   WN;1564;LAS;SAN                   SAN DIEGO              CA                      US   92102   107496928@AIRLINE.KIWI.COM
28ER3H   1/23/2021   OB   1/23/2021   WN;4134;ATL;BWI;WN;362;BWI;PVD    AARONBERG              MI                      US    6984   136249630@AIRLINE.KIWI.COM
294RT7   1/23/2021   OB   1/25/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA   ANDERSONPORT           AZ                      US   59662   136250477@AIRLINE.KIWI.COM
29923C   1/23/2021   OB   5/17/2021   WN;769;PHX;SFO                    EAST JAMES             RI                      US   80047   136250510@AIRLINE.KIWI.COM
2BD7VK   1/23/2021   OB   1/24/2021   WN;1302;CMH;ATL                   WEST INGRIDA           AZ                      US   32433   136251214@AIRLINE.KIWI.COM
2BD7VK   1/23/2021   OB   1/24/2021   WN;1302;CMH;ATL                   WEST INGRIDA           AZ                      US   32433   136251214@AIRLINE.KIWI.COM
2JQYU5   1/23/2021   OB   1/23/2021   WN;4555;MSP;MDW                   TIFFANYLAND            ME                      US   43932   136280122@AIRLINE.KIWI.COM
2KXZ8C   1/23/2021   OB   1/24/2021   WN;4904;SJU;MCO                   KENDARI                KALIMANTAN              ID   45448   136284973@AIRLINE.KIWI.COM
2N44HN   1/23/2021   OB   1/24/2021   WN;1923;BUF;BWI;WN;1923;BWI;BOS   GERGANTOWN             DOBRICH                 BG   27602   136292849@AIRLINE.KIWI.COM
2O2B7I   1/23/2021   OB   1/26/2021   WN;306;CUN;HOU                    NORTH THOMAS           KS                      US   56747   136296996@AIRLINE.KIWI.COM
2OMR7C   1/23/2021   OB   1/27/2021   WN;1028;CUN;DEN                   PAULABOROUGH           NV                      US    9979   135983243.1539673@AIRLINE.KIWI.COM
2REBBQ   1/24/2021   OB   2/12/2021   WN;384;DEN;IND                    PATRICIASTAD           WV                      US    2036   136300890@AIRLINE.KIWI.COM
2REBBQ   1/24/2021   OB   2/12/2021   WN;384;DEN;IND                    PATRICIASTAD           WV                      US    2036   136300890@AIRLINE.KIWI.COM
2V8E9O   1/24/2021   OB   1/24/2021   WN;2775;DAL;LGA                   PORTERLAND             CT                      US   61185   136312935@AIRLINE.KIWI.COM
2Z7L8S   1/24/2021   OB   1/24/2021   WN;4727;FLL;TPA;WN;6111;TPA;DCA   JOHNSTONHAVEN          NH                      US   87283   136320811@AIRLINE.KIWI.COM
35PEFG   1/24/2021   OB   1/24/2021   WN;5014;ATL;DEN                   WEST RONALD            MS                      US   14229   136334154@AIRLINE.KIWI.COM
35V5KD   1/24/2021   OB   1/24/2021   WN;3558;ATL;MDW                   SOUTH DONALDVIEW       ME                      US   45094   136334363@AIRLINE.KIWI.COM
38BQXH   1/24/2021   OB   2/15/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC   BLACKFURT              MA                      US   99714   136343570@AIRLINE.KIWI.COM
38BQXH   1/24/2021   OB   2/15/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC   BLACKFURT              MA                      US   99714   136343570@AIRLINE.KIWI.COM
38N5LY   1/24/2021   OB   3/14/2021   WN;304;SLC;MDW;WN;1633;MDW;TPA    SMITHBURY              WA                      US   38458   136344989@AIRLINE.KIWI.COM
38PNQL   1/24/2021   OB   1/24/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW    WEST SARAHSHIRE        IL                      US   13538   136345550@AIRLINE.KIWI.COM
3AY5N9   1/24/2021   OB   1/24/2021   WN;400;LAS;LAX                    OWENSFURT              ME                      US   95231   136357936@AIRLINE.KIWI.COM
3B7RNR   1/24/2021   OB   1/25/2021   WN;456;DAL;LAX;WN;456;LAX;OAK     LAKE BRITTANYSHIRE     RI                      US   46731   136358442@AIRLINE.KIWI.COM
3B7RNR   1/24/2021   OB   1/25/2021   WN;456;DAL;LAX;WN;456;LAX;OAK     LAKE BRITTANYSHIRE     RI                      US   46731   136358442@AIRLINE.KIWI.COM
3BMNQ8   1/24/2021   OB   1/25/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA   RODRIGUEZBOROUGH       KS                      US   34003   136360466@AIRLINE.KIWI.COM
3CFEG3   1/24/2021   OB   1/25/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA   WEST JACQUELINEBOROU   FL                      US   92487   136363909@AIRLINE.KIWI.COM
3DMFIW   1/24/2021   OB   1/25/2021   WN;3416;LAS;RNO                   KEVINFORT              VA                      US   51332   136367880@AIRLINE.KIWI.COM
3DMFIW   1/24/2021   OB   1/25/2021   WN;3416;LAS;RNO                   KEVINFORT              VA                      US   51332   136367880@AIRLINE.KIWI.COM
3ENB9T   1/24/2021   OB   1/28/2021   WN;316;CUN;HOU                    WEST CHRISTOPHERPORT   NJ                      US   84368   136370861@AIRLINE.KIWI.COM
3FMO4A   1/25/2021   OB   1/25/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA   ZHU TIAN SHI           CHIAY CITY              TW   51671   136373072@AIRLINE.KIWI.COM
3GV4I2   1/25/2021   OB   2/19/2021   WN;2654;SAT;BWI                   NEW DEBORAH            SC                      US   95515   136375250@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                   EAST MELISSA           WI                      US    5760   136376460@AIRLINE.KIWI.COM




                                                                                                                                                              Appx. 376
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3IZKNO    1/25/2021   OB   1/25/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA       SAN KARINA LOS ALTOS   YUCATAN               MX   85455   136379848@AIRLINE.KIWI.COM
3IZKNO    1/25/2021   RT   1/28/2021   WN;6004;LGA;TPA;WN;2288;TPA;MIA       SAN KARINA LOS ALTOS   YUCATAN               MX   85455   136379848@AIRLINE.KIWI.COM
3JMX7B    1/25/2021   OB   1/25/2021   WN;3725;LAX;HOU;WN;4279;HOU;MSY       MARSHALLMOUTH          ID                    US   49720   136381036@AIRLINE.KIWI.COM
3K2B5Y    1/25/2021   OB   2/23/2021   WN;2390;BUR;LAS                       SOUTH CHRISTINA        ND                    US   28582   136381751@AIRLINE.KIWI.COM
3K3ZQ6    1/25/2021   OB   2/27/2021   WN;3947;LAS;BUR                       NORMAVIEW              OH                    US   47756   136381751@AIRLINE.KIWI.COM
3KAU8Q    1/25/2021   OB   1/30/2021   WN;1826;BNA;PNS;WN;1826;PNS;HOU;WN;289SOUTH JASONTOWN        OK                    US   72697   136379463@AIRLINE.KIWI.COM
3KKHOF    1/25/2021   OB   1/25/2021   WN;4079;PHX;BNA                       NORTH CHRISTINE        PA                    US   36340   136382675@AIRLINE.KIWI.COM
3KLBYL    1/25/2021   OB   1/25/2021   WN;3725;LAX;HOU;WN;4279;HOU;MSY       CAMERONMOUTH           NH                    US   82974   136382873@AIRLINE.KIWI.COM
3KSU6C    1/25/2021   OB   1/25/2021   WN;3131;HOU;MDW                       SAN BARBARA DE LA MO   ZACATECAS             MX    8794   136383126@AIRLINE.KIWI.COM
3L6SJK    1/25/2021   OB   1/31/2021   WN;479;MCO;RDU                        KELLIMOUTH             AR                    US   29834   136384061@AIRLINE.KIWI.COM
3M7L3Z    1/25/2021   OB    2/1/2021   WN;4031;MDW;DAL                       LAKE ZACHARY           MT                    US   17606   136385194@AIRLINE.KIWI.COM
3N286U    1/25/2021   OB   1/26/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA       K NOVAIA IGIRMA        DAGESTAN RESPUBLIKA   RU   47863   136388472@AIRLINE.KIWI.COM
3N286U    1/25/2021   OB   1/26/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA       K NOVAIA IGIRMA        DAGESTAN RESPUBLIKA   RU   47863   136388472@AIRLINE.KIWI.COM
3N286U    1/25/2021   OB   1/26/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA       K NOVAIA IGIRMA        DAGESTAN RESPUBLIKA   RU   47863   136388472@AIRLINE.KIWI.COM
3N286U    1/25/2021   OB   1/26/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA       K NOVAIA IGIRMA        DAGESTAN RESPUBLIKA   RU   47863   136388472@AIRLINE.KIWI.COM
3N286U    1/25/2021   OB   1/26/2021   WN;5013;MIA;TPA;WN;6003;TPA;LGA       K NOVAIA IGIRMA        DAGESTAN RESPUBLIKA   RU   47863   136388472@AIRLINE.KIWI.COM
3OWULI    1/25/2021   OB   1/25/2021   WN;953;ATL;BNA;WN;4149;BNA;DTW        CLARKCHESTER           AR                    US   76000   136395666@AIRLINE.KIWI.COM
3PVKWY    1/25/2021   OB   2/20/2021   WN;4436;BNA;JAX                       REBECCAFURT            MS                    US   96645   136400550@AIRLINE.KIWI.COM
3SN9AF    1/25/2021   OB   1/25/2021   WN;3291;TUL;DAL                       BRUCEPORT              WI                    US   35434   136416093@AIRLINE.KIWI.COM
3TEXRK    1/25/2021   OB   1/25/2021   WN;3223;MDW;MEM                       NEW TRAVIS             MT                    US   89094   136418909@AIRLINE.KIWI.COM
3WBH63    1/25/2021   OB   2/25/2021   WN;1275;ATL;BNA                       TOMMOUTH               UPPER EAST            GH   77686   136434408@AIRLINE.KIWI.COM
3WBJZF    1/25/2021   OB   1/25/2021   WN;2084;LAS;LAX                       LAKE MEGANBURGH        ID                    US   44231   136434430@AIRLINE.KIWI.COM
3WBJZF    1/25/2021   OB   1/25/2021   WN;2084;LAS;LAX                       LAKE MEGANBURGH        ID                    US   44231   136434430@AIRLINE.KIWI.COM
3WVTRV    1/25/2021   OB   1/26/2021   WN;2809;MCO;BNA                       ALLENTOWN              ND                    US   74005   136437829@AIRLINE.KIWI.COM
3X4I85    1/25/2021   OB   1/25/2021   WN;3907;LAS;LAX                       NORTH SHELLEYFORT      NH                    US   17801   136438335@AIRLINE.KIWI.COM
3X4I85    1/25/2021   OB   1/25/2021   WN;3907;LAS;LAX                       NORTH SHELLEYFORT      NH                    US   17801   136438335@AIRLINE.KIWI.COM
3XGOGB    1/25/2021   OB   1/25/2021   WN;2084;LAS;LAX                       SOUTH JOHN             NE                    US   65222   136440656@AIRLINE.KIWI.COM
3Y36KR    1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                       SANDRATON              NC                    US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR    1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                       SANDRATON              NC                    US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR    1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                       SANDRATON              NC                    US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR    1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                       SANDRATON              NC                    US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR    1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                       SANDRATON              NC                    US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR    1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                       SANDRATON              NC                    US   10796   136443681@AIRLINE.KIWI.COM
3Y3IUR    1/25/2021   OB   1/25/2021   WN;2084;LAS;LAX                       SOUTH MICHELLESTAD     MD                    US   63549   136443835@AIRLINE.KIWI.COM
3Y5LEF    1/25/2021   OB   1/25/2021   WN;400;LAS;LAX                        STEVENVIEW             MS                    US    6263   136444715@AIRLINE.KIWI.COM
3YEX69    1/25/2021   OB   4/15/2021   WN;3549;SLC;SJC                       DA SILVASURLECOMTE     HAUTESALPES           FR   80352   136435002@AIRLINE.KIWI.COM
3ZQBXE    1/25/2021   OB   2/21/2021   WN;3111;OAK;DAL;WN;2199;DAL;FLL       ORTIZFURT              MS                    US   84439   136452085@AIRLINE.KIWI.COM
4996DW    1/26/2021   OB   3/26/2021   WN;1730;DEN;BNA                       BRNO                   BRNO                  CZ   62500   134837791@AIRLINE.KIWI.COM
4996DW    1/26/2021   OB   3/26/2021   WN;1730;DEN;BNA                       BRNO                   BRNO                  CZ   62500   134837791@AIRLINE.KIWI.COM
4C9ZOP    1/26/2021   OB   1/26/2021   WN;1490;LAS;SMF                       WANDALAND              CT                    US    5567   136481158@AIRLINE.KIWI.COM
4DM8E7    1/26/2021   OB   1/26/2021   WN;1150;OGG;OAK;WN;2340;OAK;DEN       EAST ISAACVILLE        LUXEMBOURG            LU   35785   136486328@AIRLINE.KIWI.COM
4DM8E7    1/26/2021   OB   1/26/2021   WN;1150;OGG;OAK;WN;2340;OAK;DEN       EAST ISAACVILLE        LUXEMBOURG            LU   35785   136486328@AIRLINE.KIWI.COM
4DM8E7    1/26/2021   OB   1/26/2021   WN;1150;OGG;OAK;WN;2340;OAK;DEN       EAST ISAACVILLE        LUXEMBOURG            LU   35785   136486328@AIRLINE.KIWI.COM
4E4XG9    1/26/2021   OB    2/5/2021   WN;4041;MDW;DEN                       DONALDTON              NV                    US   49699   136477385@AIRLINE.KIWI.COM
4E4XG9    1/26/2021   OB    2/5/2021   WN;4041;MDW;DEN                       DONALDTON              NV                    US   49699   136477385@AIRLINE.KIWI.COM
4GZBSO    1/26/2021   OB   2/20/2021   WN;4091;SAT;DAL                       SOUTH JAMESVIEW        OK                    US   81510   136504621@AIRLINE.KIWI.COM
4H5YLM    1/26/2021   OB   2/21/2021   WN;2470;DAL;SAT                       LAKE BRITTNEYTON       SC                    US   17165   136504621@AIRLINE.KIWI.COM
4HF6Q9    1/26/2021   OB   1/26/2021   WN;715;ATL;BWI;WN;715;BWI;BUF         ROTHFORT               NV                    US   63857   136506645@AIRLINE.KIWI.COM
4HRJQH    1/26/2021   OB   1/27/2021   WN;4862;OAK;LAS                       CHRISTINABURGH         WY                    US   53825   136509197@AIRLINE.KIWI.COM
4JGK3T    1/26/2021   OB   1/26/2021   WN;4539;PHX;SLC                       GUERRACHESTER          TN                    US   80527   136517865@AIRLINE.KIWI.COM
4JW2A6    1/26/2021   OB   1/26/2021   WN;2479;DEN;BWI                       IBARRASIDE             LA                    US   26413   136520472@AIRLINE.KIWI.COM
4KK68D    1/26/2021   OB    2/7/2021   WN;4776;BWI;AUS                       SOUTH JOHNFORT         KY                    US   12104   136524575@AIRLINE.KIWI.COM
4KY3KE    1/26/2021   OB   2/19/2021   WN;3587;DTW;BNA;WN;2522;BNA;MCO       BECKYBURGH             OK                    US   32647   136525730@AIRLINE.KIWI.COM
4KY3KE    1/26/2021   RT   2/22/2021   WN;3010;MCO;SDF;WN;3010;SDF;MDW;WN;25BECKYBURGH              OK                    US   32647   136525730@AIRLINE.KIWI.COM
4L633F    1/26/2021   OB   2/10/2021   WN;4910;MDW;LGA                       ALISONBURGH            MS                    US    2214   136527721@AIRLINE.KIWI.COM
4LAZEB    1/26/2021   OB   1/26/2021   WN;3849;MDW;SAN                       DUKEMOUTH              GA                    US   42713   136528425@AIRLINE.KIWI.COM
4MNBIC    1/26/2021   OB   1/26/2021   WN;2987;MDW;ATL                       HERNANDEZFORT          MO                    US   19809   136535443@AIRLINE.KIWI.COM
4N9ADU    1/26/2021   OB   2/18/2021   WN;2548;BWI;SAT                       LAKE SALLY             NH                    US   62320   136538446@AIRLINE.KIWI.COM
4Q2TJ5    1/26/2021   OB    2/8/2021   WN;6007;TPA;PHL                       NORTH JASON            AK                    US   48968   136550040@AIRLINE.KIWI.COM
4Q2TJ5    1/26/2021   OB    2/8/2021   WN;6007;TPA;PHL                       NORTH JASON            AK                    US   48968   136550040@AIRLINE.KIWI.COM
4QNJEK    1/26/2021   OB   2/11/2021   WN;1149;LAX;SMF                       BARRETTCHESTER         NJ                    US   60171   136550898@AIRLINE.KIWI.COM
25HYGK    1/27/2021   OB   1/28/2021   WN;3956;MCO;BNA                       NORTH JASMIN           RI                    US   83902   136592170@AIRLINE.KIWI.COM
25HYGK    1/27/2021   OB   1/28/2021   WN;3956;MCO;BNA                       NORTH JASMIN           RI                    US   83902   136592170@AIRLINE.KIWI.COM
26RADK    1/27/2021   OB   1/28/2021   WN;3749;LAX;MDW;WN;470;MDW;CLE        DAVIDFURT              ID                    US   13852   136594612@AIRLINE.KIWI.COM
27XACB    1/27/2021   OB   1/27/2021   WN;4608;LAX;OAK                       EAST KRISTENSTAD       OR                    US   10255   136605315@AIRLINE.KIWI.COM
2999QG    1/27/2021   OB    2/1/2021   WN;2629;DEN;ATL                       PORT APRIL             FL                    US    4732   136607471@AIRLINE.KIWI.COM
2999QG    1/27/2021   OB    2/1/2021   WN;2629;DEN;ATL                       PORT APRIL             FL                    US    4732   136607471@AIRLINE.KIWI.COM
29G2I5    1/27/2021   OB   2/20/2021   WN;3769;SNA;SJC                       KAANYCIPURM            LAKSHADWEEP           IN   98783   136613158@AIRLINE.KIWI.COM
29RJRI    1/27/2021   OB    2/8/2021   WN;2850;DEN;PHL                       NORTH STACEY           WA                    US   71633   136614676@AIRLINE.KIWI.COM
29WF5J    1/27/2021   OB    2/3/2021   WN;3948;FLL;MDW                       PORTLAND               OR                    US   97205   136612498@AIRLINE.KIWI.COM
29YYI2    1/27/2021   OB   1/27/2021   WN;1140;LAX;LAS                       NEW KATHERINE          MS                    US   35674   136615556@AIRLINE.KIWI.COM
2AS7PF    1/27/2021   OB    3/1/2021   WN;3075;MIA;BWI;WN;3596;BWI;PIT       PEGGYFURT              CO                    US   56496   136620000@AIRLINE.KIWI.COM
2AY8TH    1/27/2021   OB   2/17/2021   WN;4291;OAK;MDW;WN;4618;MDW;RDU       PORT JENNIFER          PA                    US   89847   136621342@AIRLINE.KIWI.COM
2B99PI    1/27/2021   OB   1/28/2021   WN;3749;LAX;MDW;WN;470;MDW;CLE        MCDONALDVILLE          KS                    US   94739   136622123@AIRLINE.KIWI.COM
2BMT9G    1/27/2021   OB   2/13/2021   WN;3154;LAX;MDW                       WEST JENNIFERSIDE      WA                    US   17585   136624125@AIRLINE.KIWI.COM
2BMT9G    1/27/2021   OB   2/13/2021   WN;3154;LAX;MDW                       WEST JENNIFERSIDE      WA                    US   17585   136624125@AIRLINE.KIWI.COM
2BNZW5    1/27/2021   OB   1/27/2021   WN;4386;OAK;BUR                       TAYLORVIEW             IN                    US   29189   136624400@AIRLINE.KIWI.COM
2BQIN7    1/27/2021   OB    2/5/2021   WN;1267;MDW;HOU                       LANEPORT               IN                    US   99788   136625071@AIRLINE.KIWI.COM
2BTFI5    1/27/2021   OB   2/19/2021   WN;2863;FLL;DEN                       WEST AMYVIEW           MS                    US   25367   136625236@AIRLINE.KIWI.COM
2BTFI5    1/27/2021   OB   2/19/2021   WN;2863;FLL;DEN                       WEST AMYVIEW           MS                    US   25367   136625236@AIRLINE.KIWI.COM
2BU2LY    1/27/2021   OB   2/28/2021   WN;1649;ORD;PHX                       SOUTH DARRELL          MO                    US   70250   136625181@AIRLINE.KIWI.COM
2BU2LY    1/27/2021   OB   2/28/2021   WN;1649;ORD;PHX                       SOUTH DARRELL          MO                    US   70250   136625181@AIRLINE.KIWI.COM
2BX6EY    1/27/2021   OB    3/7/2021   WN;3336;IND;MCO                       NORTH KIM              IA                    US   67867   135739406.1541490@AIRLINE.KIWI.COM
2C5ZEG    1/27/2021   OB    7/2/2021   WN;902;PHX;MCI                        SANDERSFORT            OH                    US   20202   136626963@AIRLINE.KIWI.COM
2C5ZEG    1/27/2021   RT   7/11/2021   WN;790;MCI;PHX                        SANDERSFORT            OH                    US   20202   136626963@AIRLINE.KIWI.COM
2CEGXJ    1/27/2021   OB    2/2/2021   WN;2279;DAL;LAX                       MELISSAFORT            RI                    US   74908   136623421@AIRLINE.KIWI.COM
2CJC9S    1/27/2021   OB    2/8/2021   WN;2310;DEN;SEA                       TIMOTHYMOUTH           VT                    US   37991   136628756@AIRLINE.KIWI.COM
2D7KGG    1/27/2021   OB    2/1/2021   WN;4259;OAK;BUR                       JAMESHAVEN             MA                    US   75151   136631814@AIRLINE.KIWI.COM
2DGYVF    1/27/2021   OB    2/2/2021   WN;3343;ATL;STL;WN;3422;STL;LGA       NORTH SARAHPORT        SC                    US    9209   136632386@AIRLINE.KIWI.COM
2DGYVF    1/27/2021   OB    2/3/2021   WN;2817;ATL;LGA                       NORTH SARAHPORT        SC                    US    9209   136632386@AIRLINE.KIWI.COM
2DGYVF    1/27/2021   OB    2/2/2021   WN;3343;ATL;STL;WN;3422;STL;LGA       NORTH SARAHPORT        SC                    US    9209   136632386@AIRLINE.KIWI.COM
2DGYVF    1/27/2021   OB    2/3/2021   WN;2817;ATL;LGA                       NORTH SARAHPORT        SC                    US    9209   136632386@AIRLINE.KIWI.COM
2DO3SI    1/27/2021   OB   2/14/2021   WN;4149;BNA;DTW                       LAKE MARKFORT          NH                    US   37676   136633629@AIRLINE.KIWI.COM
2E2H4L    1/27/2021   OB    2/8/2021   WN;2216;DEN;PDX                       WEST MICHAELLAND       MI                    US   57831   136634377@AIRLINE.KIWI.COM
2FJRCS    1/27/2021   OB   2/25/2021   WN;4577;ATL;MCO                       NORTH JASON            ID                    US    7161   136638689@AIRLINE.KIWI.COM
2FQWR9    1/27/2021   OB   2/18/2021   WN;4196;MSP;MDW;WN;3544;MDW;TPA       LAKE MONICA            NH                    US   81015   136638733@AIRLINE.KIWI.COM
2FQWR9    1/27/2021   OB   2/18/2021   WN;4196;MSP;MDW;WN;3544;MDW;TPA       LAKE MONICA            NH                    US   81015   136638733@AIRLINE.KIWI.COM
2FR3VN    1/27/2021   OB   2/11/2021   WN;1645;ATL;MSY                       CHRISTOPHERLAND        NM                    US   95902   136639085@AIRLINE.KIWI.COM
2FTIR4    1/27/2021   OB    2/3/2021   WN;1459;OAK;MDW                       NORTH AMANDA           AL                    US   92378   136639371@AIRLINE.KIWI.COM
2FUQLX    1/27/2021   OB    2/3/2021   WN;1459;OAK;MDW                       NORTH CESARMOUTH       OK                    US   23399   136639349@AIRLINE.KIWI.COM
2FUQLX    1/27/2021   OB    2/3/2021   WN;1459;OAK;MDW                       NORTH CESARMOUTH       OK                    US   23399   136639349@AIRLINE.KIWI.COM




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4R467M    1/27/2021   OB    2/9/2021   WN;3755;CMH;MDW                       NELLUUR               LAKSHADWEEP             IN   99189   136552790@AIRLINE.KIWI.COM
4R8TQE    1/27/2021   OB   2/15/2021   WN;3239;LAX;SFO                       CHUN MEI XIAN         YUNNAN SHENG            CN   67443   136553186@AIRLINE.KIWI.COM
4SFG5R    1/27/2021   OB   2/11/2021   WN;1362;SFO;LAS                       EAST JEANFURT         HI                      US    6404   136556442@AIRLINE.KIWI.COM
4SREDF    1/27/2021   OB   2/16/2021   WN;1541;LAS;SFO                       PORT KARENFURT        OH                      US   54747   136557355@AIRLINE.KIWI.COM
4STPYW    1/27/2021   OB   2/15/2021   WN;2970;ATL;IAD                       LAKE ANGELABURY       AL                      US    4089   136557553@AIRLINE.KIWI.COM
4T7926    1/27/2021   OB   2/11/2021   WN;6606;MDW;SLC                       SOUTH MEGANFURT       WY                      US    9670   136558521@AIRLINE.KIWI.COM
4T7926    1/27/2021   OB   2/11/2021   WN;6606;MDW;SLC                       SOUTH MEGANFURT       WY                      US    9670   136558521@AIRLINE.KIWI.COM
4TWHJ9    1/27/2021   OB   6/20/2021   WN;2364;MCO;ATL;WN;2086;ATL;OAK       DICKSONSHIRE          AR                      US   76347   136560534@AIRLINE.KIWI.COM
4UQGXO    1/27/2021   OB   2/14/2021   WN;3017;DEN;ABQ                       BANKSVILLE            GA                      US   17898   136562800@AIRLINE.KIWI.COM
4V5D3E    1/27/2021   OB   1/31/2021   WN;3254;ATL;RDU                       LAKE DEVIN            NJ                      US   85770   136559577@AIRLINE.KIWI.COM
4W2JBQ    1/27/2021   OB   2/10/2021   WN;3737;LAX;LAS                       GARYSHIRE             NH                      US   58682   136565660@AIRLINE.KIWI.COM
4WGYYO    1/27/2021   OB    2/2/2021   WN;3767;LAX;DAL                       SHELTONMOUTH          MD                      US   86942   136566749@AIRLINE.KIWI.COM
4X7EV4    1/27/2021   OB   2/11/2021   WN;4908;SLC;DEN                       GRANADA               ILLES BALEARS           ES   86971   136568245@AIRLINE.KIWI.COM
4XWO3C    1/27/2021   OB   2/11/2021   WN;4908;SLC;DEN                       CAMPBELLBERG          NC                      US   74632   136553967@AIRLINE.KIWI.COM
4YCYJ6    1/27/2021   OB   2/12/2021   WN;430;PHX;HOU                        PORT TIMOTHYFURT      VA                      US   99484   136571171@AIRLINE.KIWI.COM
4ZH8YZ    1/27/2021   OB   1/29/2021   WN;4690;PIT;DEN;WN;4693;DEN;OAK       RANDALLCHESTER        RI                      US   28098   136567893@AIRLINE.KIWI.COM
2GANQC    1/28/2021   OB   2/19/2021   WN;5008;MEM;ATL                       LAKE TYLER            WI                      US   15961   136640163@AIRLINE.KIWI.COM
2GANQC    1/28/2021   RT   2/22/2021   WN;5009;ATL;MEM                       LAKE TYLER            WI                      US   15961   136640163@AIRLINE.KIWI.COM
2GFNZT    1/28/2021   OB   1/29/2021   WN;400;LAS;LAX                        BRANDYPORT            WA                      US   72908   136640317@AIRLINE.KIWI.COM
2JHSMX    1/28/2021   OB   2/12/2021   WN;715;ATL;BWI;WN;715;BWI;BUF         HUFFMANSHIRE          DE                      US   70245   136360697.1541594@AIRLINE.KIWI.COM
2JIB5B    1/28/2021   OB   2/22/2021   WN;3544;MDW;TPA                       NORTH THOMAS          NH                      US   76275   136647566@AIRLINE.KIWI.COM
2JMV6W    1/28/2021   OB   2/22/2021   WN;1889;DEN;MDW                       MARIECHESTER          CO                      US   46029   136647566@AIRLINE.KIWI.COM
2KMOE3    1/28/2021   OB   3/17/2021   WN;1953;SMF;LGB                       NEW MACKENZIEVIEW     CA                      US   33628   136649161@AIRLINE.KIWI.COM
2KR8OL    1/28/2021   OB    2/4/2021   WN;4115;MSY;MCO;WN;3708;MCO;SJU       SAN LIBERTO LIDO      OLBIATEMPIO             IT   44488   132866008.1541551@AIRLINE.KIWI.COM
2RQHKI    1/28/2021   OB    2/1/2021   WN;360;ATL;BWI;WN;2584;BWI;BUF        PORT LINDA            WY                      US   41355   136673009@AIRLINE.KIWI.COM
2TRS3M    1/28/2021   OB   2/21/2021   WN;3124;DTW;BNA;WN;1211;BNA;RSW       NORTH SARAFURT        MT                      US   27212   136683866@AIRLINE.KIWI.COM
2TRS3M    1/28/2021   OB   2/21/2021   WN;3124;DTW;BNA;WN;1211;BNA;RSW       NORTH SARAFURT        MT                      US   27212   136683866@AIRLINE.KIWI.COM
2TRS3M    1/28/2021   RT   2/24/2021   WN;3256;RSW;BWI;WN;3256;BWI;MDW;WN;2 NORTH SARAFURT         MT                      US   27212   136683866@AIRLINE.KIWI.COM
2TRS3M    1/28/2021   RT   2/24/2021   WN;3256;RSW;BWI;WN;3256;BWI;MDW;WN;2 NORTH SARAFURT         MT                      US   27212   136683866@AIRLINE.KIWI.COM
2X638Z    1/28/2021   OB   1/28/2021   WN;3082;ATL;MCO                       NORTH DENISETON       ME                      US   50720   136700190@AIRLINE.KIWI.COM
2Y9GKB    1/28/2021   OB   1/28/2021   WN;4862;OAK;LAS                       EAST JENNIFER         GA                      US   33662   136705415@AIRLINE.KIWI.COM
33R8L8    1/28/2021   OB    2/1/2021   WN;3959;BNA;ATL;WN;3959;ATL;TPA       GILBERTFURT           MT                      US   92728   136715711@AIRLINE.KIWI.COM
36672U    1/29/2021   OB    2/2/2021   WN;3343;ATL;STL;WN;3422;STL;LGA       WEST MITCHELLVIEW     GA                      US   16388   136724973@AIRLINE.KIWI.COM
36AWE6    1/29/2021   OB    2/7/2021   WN;3271;SMF;PHX;WN;3271;PHX;MDW       SOUTH BRIANMOUTH      NH                      US     777   136725358@AIRLINE.KIWI.COM
36EZRN    1/29/2021   OB   3/11/2021   WN;590;ATL;BNA;WN;590;BNA;SJC         VIJYVAATTAA           CHANDIGARH              IN   78227   136725457@AIRLINE.KIWI.COM
38GWGA    1/29/2021   OB   2/18/2021   WN;4305;SMF;ONT                       LAKE JOSEPH           NJ                      US   30578   136730341@AIRLINE.KIWI.COM
38QOFG    1/29/2021   OB   2/11/2021   WN;3343;LGA;ATL                       ROBERTFORT            AK                      US   33167   136730539@AIRLINE.KIWI.COM
38QOFG    1/29/2021   OB   2/11/2021   WN;3343;LGA;ATL                       ROBERTFORT            AK                      US   33167   136730539@AIRLINE.KIWI.COM
39YGKW    1/29/2021   OB   2/23/2021   WN;4259;PDX;OAK                       KARENLAND             VA                      US   36286   136733597@AIRLINE.KIWI.COM
3AH32I    1/29/2021   OB    2/3/2021   WN;2672;BWI;BDL                       HMYDCHESTER           AR RIYAD                SA   93245   136730891@AIRLINE.KIWI.COM
3AH32I    1/29/2021   OB    2/3/2021   WN;2672;BWI;BDL                       HMYDCHESTER           AR RIYAD                SA   93245   136730891@AIRLINE.KIWI.COM
3AH32I    1/29/2021   OB    2/3/2021   WN;2672;BWI;BDL                       HMYDCHESTER           AR RIYAD                SA   93245   136730891@AIRLINE.KIWI.COM
3AH32I    1/29/2021   OB    2/3/2021   WN;2672;BWI;BDL                       HMYDCHESTER           AR RIYAD                SA   93245   136730891@AIRLINE.KIWI.COM
3BABTV    1/29/2021   OB   4/21/2021   WN;179;SJU;MCO                        PORT RYAN             MS                      US   66777   136703039@AIRLINE.KIWI.COM
3BABTV    1/29/2021   OB   4/21/2021   WN;179;SJU;MCO                        PORT RYAN             MS                      US   66777   136703039@AIRLINE.KIWI.COM
3BPJHT    1/29/2021   OB    3/2/2021   WN;101;PHX;LAX                        SAN MARGARITA DE LA   AGUASCALIENTES          MX   95944   136737557@AIRLINE.KIWI.COM
3J7BK6    1/29/2021   OB   1/29/2021   WN;6289;SAN;LAS                       KATHRYNMOUTH          FL                      US   31734   136767466@AIRLINE.KIWI.COM
3J7YY9    1/29/2021   OB   1/29/2021   WN;4099;STL;ATL                       KELSEYFORT            NC                      US   52587   136767180@AIRLINE.KIWI.COM
3JVSGM    1/29/2021   OB   1/29/2021   WN;2253;DAL;MDW                       LAKE GABRIELLETOWN    VT                      US   77407   136771217@AIRLINE.KIWI.COM
3JVSGM    1/29/2021   OB   1/29/2021   WN;2253;DAL;MDW                       LAKE GABRIELLETOWN    VT                      US   77407   136771217@AIRLINE.KIWI.COM
3LJQJY    1/29/2021   OB    2/3/2021   WN;433;DEN;ATL                        DEBRABERG             AZ                      US   93789   136778774@AIRLINE.KIWI.COM
3OCEI6    1/29/2021   OB    2/2/2021   WN;244;BOS;BWI;WN;1607;BWI;CUN        LOPEZBERG             OH                      US   74567   136791149@AIRLINE.KIWI.COM
3P5A35    1/29/2021   OB   2/11/2021   WN;3072;MSP;DEN                       EAST KELLYFURT        MA                      US   19332   136794603@AIRLINE.KIWI.COM
3P9DXS    1/29/2021   OB   2/11/2021   WN;3072;MSP;DEN                       NELSONMOUTH           NM                      US   24720   136794999@AIRLINE.KIWI.COM
3UHGE8    1/30/2021   OB   3/28/2021   WN;1974;BNA;ATL;WN;1634;ATL;MSY       JESSICASTAD           CT                      US   41176   136807286.1542605@AIRLINE.KIWI.COM
3UWAUT    1/30/2021   OB   3/24/2021   WN;1428;RNO;DEN;WN;746;DEN;ATL        LAKE AARON            OH                      US   79343   136808749@AIRLINE.KIWI.COM
3W63BX    1/30/2021   OB   2/21/2021   WN;354;LIT;STL                        PORT JACQUELINE       IL                      US   61561   136811004@AIRLINE.KIWI.COM
3W63BX    1/30/2021   RT   2/27/2021   WN;4471;STL;LIT                       PORT JACQUELINE       IL                      US   61561   136811004@AIRLINE.KIWI.COM
43TMB5    1/30/2021   OB    3/4/2021   WN;938;IND;ATL;WN;1645;ATL;MSY        ROBINSONVIEW          ID                      US   29035   136823434@AIRLINE.KIWI.COM
43TMB5    1/30/2021   OB    3/4/2021   WN;938;IND;ATL;WN;1645;ATL;MSY        ROBINSONVIEW          ID                      US   29035   136823434@AIRLINE.KIWI.COM
47A75O    1/30/2021   OB   2/24/2021   WN;3465;IAD;DEN;WN;2843;DEN;RNO       SOUTH MOLLY           SC                      US   15742   136834500@AIRLINE.KIWI.COM
4EZ93Y    1/30/2021   OB   3/22/2021   WN;226;DSM;STL;WN;1995;STL;CUN        ADAMSMOUTH            OR                      US    5573   136861703@AIRLINE.KIWI.COM
23PM6E    1/31/2021   OB   3/30/2021   WN;976;HNL;OGG                        PORT ERICSIDE         OH                      US   15787   136918507@AIRLINE.KIWI.COM
23PM6E    1/31/2021   OB   3/30/2021   WN;976;HNL;OGG                        PORT ERICSIDE         OH                      US   15787   136918507@AIRLINE.KIWI.COM
24H4E4    1/31/2021   OB   2/25/2021   WN;3136;OKC;DEN;WN;2596;DEN;GEG       ROBERTCHESTER         CT                      US   71521   136920190@AIRLINE.KIWI.COM
24H4E4    1/31/2021   RT    3/1/2021   WN;2304;GEG;LAS;WN;2905;LAS;OKC       ROBERTCHESTER         CT                      US   71521   136920190@AIRLINE.KIWI.COM
4RDIAG    1/31/2021   OB   1/31/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX       NORTH TONYBOROUGH     NM                      US   61919   136883604@AIRLINE.KIWI.COM
4V6BLZ    1/31/2021   OB   1/31/2021   WN;2667;LAS;MCI                       GARCIAFURT            TX                      US   93027   136895385@AIRLINE.KIWI.COM
4VO2YU    1/31/2021   OB   1/31/2021   WN;3121;ATL;MDW;WN;2636;MDW;MSP       SOUTH TRAVISBURY      WY                      US   36605   136897354@AIRLINE.KIWI.COM
4W93X5    1/31/2021   OB   1/31/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA       LAKE REGINALDMOUTH    CA                      US   90230   136899235@AIRLINE.KIWI.COM
4WBALR    1/31/2021   OB    2/1/2021   WN;4969;ATL;DCA                       LAKE REBECCALAND      OK                      US   42894   134590797@AIRLINE.KIWI.COM
4XKKCD    1/31/2021   OB   1/31/2021   WN;5014;DEN;MKE                       WHITESTAD             LA                      US    1492   136904592@AIRLINE.KIWI.COM
4XTWAS    1/31/2021   OB    2/1/2021   WN;3010;SDF;MDW;WN;3265;MDW;GRR       MU DAN XIAN           TAITUNG                 TW   76506   136905879@AIRLINE.KIWI.COM
4XZBM4    1/31/2021   OB    2/6/2021   WN;3432;MDW;DEN                       LAMBERTMOUTH          AZ                      US   94943   136906990@AIRLINE.KIWI.COM
258T3U     2/1/2021   OB   2/27/2021   WN;4132;PIT;MDW;WN;3141;MDW;PDX       SARASHIRE             GA                      US   59928   136921521@AIRLINE.KIWI.COM
2BJOI6     2/1/2021   OB   2/26/2021   WN;2628;OAK;ONT                       JENSENBURGH           CT                      US   57926   136931300@AIRLINE.KIWI.COM
2BJOI6     2/1/2021   RT    3/1/2021   WN;4816;ONT;OAK                       JENSENBURGH           CT                      US   57926   136931300@AIRLINE.KIWI.COM
2BJZE7     2/1/2021   OB   2/24/2021   WN;2601;PHX;ONT                       WOODSTON              OR                      US   26275   136931410@AIRLINE.KIWI.COM
2DKNLA     2/1/2021   OB    2/9/2021   WN;1588;MDW;BWI;WN;2593;BWI;BOS       NORTH MICHAELMOUTH    UT                      US   89068   135209129.1543302@AIRLINE.KIWI.COM
2DND8F     2/1/2021   OB    2/9/2021   WN;1932;DEN;MDW                       SOUTH MICHAEL         MD                      US    2185   135209129.1543302@AIRLINE.KIWI.COM
2EATP8     2/1/2021   OB   2/12/2021   WN;2820;DEN;ONT                       SOUTH TINA            CA                      US    6700   136940397@AIRLINE.KIWI.COM
2FUWNP     2/1/2021   OB   2/21/2021   WN;2707;ATL;LGA                       ANNLAND               KS                      US   78560   136947393@AIRLINE.KIWI.COM
2I76EG     2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                       LAKE SETHLAND         AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG     2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                       LAKE SETHLAND         AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG     2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                       LAKE SETHLAND         AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG     2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                       LAKE SETHLAND         AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG     2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                       LAKE SETHLAND         AL                      US   61875   136933181@AIRLINE.KIWI.COM
2JRUS6     2/1/2021   OB   2/24/2021   WN;3422;LGA;DEN                       K LUGA                LENINGRADSKAYA OBLAST   RU   11967   136965334@AIRLINE.KIWI.COM
2M2R5S     2/1/2021   OB    2/1/2021   WN;845;MSP;MDW                        EAST KIMBERLYFORT     HI                      US    5679   136975839@AIRLINE.KIWI.COM
2MADW3     2/1/2021   OB    2/1/2021   WN;2636;MDW;MSP                       LYNNBURGH             RI                      US   88384   136976620@AIRLINE.KIWI.COM
2NB75D     2/1/2021   OB    2/1/2021   WN;400;LAS;LAX                        HERNANDEZBERG         AK                      US   45539   136983363@AIRLINE.KIWI.COM
2QDIL8     2/1/2021   OB    2/9/2021   WN;1521;DEN;AUS;WN;1521;AUS;HOU;WN;21 YOUNGBOROUGH          MT                      US   30502   136996321@AIRLINE.KIWI.COM
UKWFYZ     2/1/2021   OB   1/26/2021   WN;4042;MDW;FLL                       MCBRIDEBOROUGH        TX                      US   63062   131770463@AIRLINE.KIWI.COM
UKWFYZ     2/1/2021   OB    2/3/2021   WN;3191;FLL;BWI                       MCBRIDEBOROUGH        TX                      US   63062   131770463@AIRLINE.KIWI.COM
UKWFYZ     2/1/2021   OB   1/26/2021   WN;4042;MDW;FLL                       MCBRIDEBOROUGH        TX                      US   63062   131770463@AIRLINE.KIWI.COM
UKWFYZ     2/1/2021   OB    2/3/2021   WN;3191;FLL;BWI                       MCBRIDEBOROUGH        TX                      US   63062   131770463@AIRLINE.KIWI.COM
2SGU9M     2/2/2021   OB    3/9/2021   WN;4287;LAX;SMF                       GUERRAHAVEN           NM                      US   55979   137001601@AIRLINE.KIWI.COM
2SGU9M     2/2/2021   OB    3/9/2021   WN;4287;LAX;SMF                       GUERRAHAVEN           NM                      US   55979   137001601@AIRLINE.KIWI.COM
2UMFFX     2/2/2021   OB    3/7/2021   WN;802;LAS;BWI;WN;1261;BWI;DTW        SIMSFORT              PA                      US   71028   137006265@AIRLINE.KIWI.COM
2UMFFX     2/2/2021   OB    3/7/2021   WN;802;LAS;BWI;WN;1261;BWI;DTW        SIMSFORT              PA                      US   71028   137006265@AIRLINE.KIWI.COM
2XEKIB     2/2/2021   OB   2/17/2021   WN;4131;MIA;HOU;WN;427;HOU;MCI;WN;427BRITTANYVIEW           UT                      US   18641   137012183@AIRLINE.KIWI.COM




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2XF6RY   2/2/2021   OB   3/11/2021   WN;1110;LAX;SMF                        S SEIMCHAN             SMOLENSKAYA OBLAST   RU   32596   137012106@AIRLINE.KIWI.COM
2XF6RY   2/2/2021   OB   3/11/2021   WN;1110;LAX;SMF                        S SEIMCHAN             SMOLENSKAYA OBLAST   RU   32596   137012106@AIRLINE.KIWI.COM
2XHUEK   2/2/2021   OB   2/17/2021   WN;4131;MIA;HOU;WN;427;HOU;MCI;WN;427VICTORPORT               NH                   US   92997   137012183@AIRLINE.KIWI.COM
2YAZ7D   2/2/2021   OB   2/16/2021   WN;1898;CLT;DEN                        BRIANMOUTH             OR                   US   24832   137013987@AIRLINE.KIWI.COM
2YAZ7D   2/2/2021   OB   2/16/2021   WN;1898;CLT;DEN                        BRIANMOUTH             OR                   US   24832   137013987@AIRLINE.KIWI.COM
2YAZ7D   2/2/2021   OB   2/16/2021   WN;1898;CLT;DEN                        BRIANMOUTH             OR                   US   24832   137013987@AIRLINE.KIWI.COM
2YAZ7D   2/2/2021   OB   2/16/2021   WN;1898;CLT;DEN                        BRIANMOUTH             OR                   US   24832   137013987@AIRLINE.KIWI.COM
2YAZ7D   2/2/2021   OB   2/16/2021   WN;1898;CLT;DEN                        BRIANMOUTH             OR                   US   24832   137013987@AIRLINE.KIWI.COM
2YAZ7D   2/2/2021   OB   2/16/2021   WN;1898;CLT;DEN                        BRIANMOUTH             OR                   US   24832   137013987@AIRLINE.KIWI.COM
2YK9H6   2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                        MARIAHFURT             NY                   US   22226   136926185@AIRLINE.KIWI.COM
2YK9H6   2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                        MARIAHFURT             NY                   US   22226   136926185@AIRLINE.KIWI.COM
2YK9H6   2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                        MARIAHFURT             NY                   US   22226   136926185@AIRLINE.KIWI.COM
2YK9H6   2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                        MARIAHFURT             NY                   US   22226   136926185@AIRLINE.KIWI.COM
34JOZE   2/2/2021   OB    2/5/2021   WN;4315;SEA;DEN                        KARENSTAD              AL                   US   42061   137021577@AIRLINE.KIWI.COM
34JOZE   2/2/2021   OB    2/5/2021   WN;4315;SEA;DEN                        KARENSTAD              AL                   US   42061   137021577@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38L2AD   2/2/2021   OB   2/19/2021   WN;3075;MIA;BWI;WN;4022;BWI;PWM        NORTH MICHELLE         NE                   US    8593   137053796@AIRLINE.KIWI.COM
38ZP9F   2/2/2021   OB    2/2/2021   WN;1438;ATL;RIC                        EAST JOHN              ME                   US   99198   137056249@AIRLINE.KIWI.COM
39C5DW   2/2/2021   OB    2/2/2021   WN;1296;IND;DEN;WN;2369;DEN;LGB        LISATON                OH                   US   30388   137057503@AIRLINE.KIWI.COM
39C5DW   2/2/2021   RT    2/4/2021   WN;2385;LGB;DEN;WN;384;DEN;IND         LISATON                OH                   US   30388   137057503@AIRLINE.KIWI.COM
39XJAF   2/2/2021   OB   3/23/2021   WN;527;DCA;JAX                         JAMESMOUTH             NM                   US   66195   137060088@AIRLINE.KIWI.COM
3A3LWE   2/2/2021   OB    2/2/2021   WN;1966;ATL;DEN;WN;3285;DEN;SFO        MORANCHESTER           MS                   US   16443   137060011@AIRLINE.KIWI.COM
3AMDCM   2/2/2021   OB    2/9/2021   WN;1305;MDW;OAK                        NORTH JENNIFERCHESTE   SD                   US   13799   137063179@AIRLINE.KIWI.COM
3FPVYJ   2/2/2021   OB    2/6/2021   WN;315;HOU;CUN                         DEANNATON              NH                   US   47826   137087170@AIRLINE.KIWI.COM
3HMSOD   2/3/2021   OB    2/5/2021   WN;2722;PHX;LGB                        STEPHANIEVILLE         NC                   US   90567   137088094@AIRLINE.KIWI.COM
3JET93   2/3/2021   OB    8/6/2021   WN;3069;SEA;MDW                        WINTERSFURT            WY                   US   87507   137095926@AIRLINE.KIWI.COM
3JET93   2/3/2021   OB    8/6/2021   WN;3069;SEA;MDW                        WINTERSFURT            WY                   US   87507   137095926@AIRLINE.KIWI.COM
3JYZ2A   2/3/2021   OB   2/25/2021   WN;3317;GRR;DEN                        RHODESVIEW             TX                   US    3472   137097708@AIRLINE.KIWI.COM
3JYZ2A   2/3/2021   RT    3/1/2021   WN;3328;DEN;GRR                        RHODESVIEW             TX                   US    3472   137097708@AIRLINE.KIWI.COM
3JZH5G   2/3/2021   OB   3/19/2021   WN;473;COS;LAS                         LINDSAYFURT            NE                   US   86901   137097356@AIRLINE.KIWI.COM
3JZH5G   2/3/2021   RT   3/22/2021   WN;472;LAS;COS                         LINDSAYFURT            NE                   US   86901   137097356@AIRLINE.KIWI.COM
3NNMDD   2/3/2021   OB    2/5/2021   WN;390;LAS;PHX                         LAKE CAMERONBOROUGH    EAST AYRSHIRE        GB   82357   137103164@AIRLINE.KIWI.COM
3VOQAH   2/3/2021   OB   2/13/2021   WN;3816;PHL;MDW;WN;3645;MDW;OKC;WN;3NORTH EVAN                ID                   US   81518   137138903@AIRLINE.KIWI.COM
3VOQAH   2/3/2021   OB   2/13/2021   WN;3816;PHL;MDW;WN;3645;MDW;OKC;WN;3NORTH EVAN                ID                   US   81518   137138903@AIRLINE.KIWI.COM
3W9I9O   2/3/2021   OB    2/3/2021   WN;185;CLE;MDW;WN;4910;MDW;LGA         NICHOLASSTAD           ND                   US   19026   137141752@AIRLINE.KIWI.COM
3W9I9O   2/3/2021   OB    2/3/2021   WN;185;CLE;MDW;WN;4910;MDW;LGA         NICHOLASSTAD           ND                   US   19026   137141752@AIRLINE.KIWI.COM
3XUSYT   2/3/2021   OB    2/3/2021   WN;2707;ATL;LGA                        CARPENTERBOROUGH       RI                   US   19721   137148517@AIRLINE.KIWI.COM
3Z2F38   2/3/2021   OB    2/3/2021   WN;4264;DEN;MSP                        S KARGOPOL             MURMANSKAYA OBLAST   RU   23306   137154831@AIRLINE.KIWI.COM
43YG8S   2/3/2021   OB   3/13/2021   WN;1788;OAK;LAX                        NORTH CODY             AK                   US   80113   137148044@AIRLINE.KIWI.COM
43YG8S   2/3/2021   OB   3/13/2021   WN;1788;OAK;LAX                        NORTH CODY             AK                   US   80113   137148044@AIRLINE.KIWI.COM
44KTA2   2/3/2021   OB   3/15/2021   WN;1055;ELP;PHX;WN;1055;PHX;SFO        EAST NICHOLASMOUTH     AR                   US   75499   137167778@AIRLINE.KIWI.COM
455IA4   2/3/2021   OB   2/27/2021   WN;2112;BWI;CVG                        PORT HANNAH            NY                   US   86970   137169593@AIRLINE.KIWI.COM
45AO45   2/3/2021   OB   2/24/2021   WN;2804;CVG;BWI                        THORNTONMOUTH          OR                   US   99936   137169593@AIRLINE.KIWI.COM
45H84J   2/4/2021   OB   2/27/2021   WN;2112;BWI;CVG                        ISAIAHTOWN             NH                   US   48023   137170616@AIRLINE.KIWI.COM
469DUR   2/4/2021   OB    2/9/2021   WN;1888;PHX;LAS                        FISHERSIDE             CA                   US   91508   137102878@AIRLINE.KIWI.COM
48XAOF   2/4/2021   OB    2/6/2021   WN;2997;LAS;SLC                        WEST JOSEPHBOROUGH     CA                   US    9701   137178778@AIRLINE.KIWI.COM
48XAOF   2/4/2021   OB    2/6/2021   WN;2997;LAS;SLC                        WEST JOSEPHBOROUGH     CA                   US    9701   137178778@AIRLINE.KIWI.COM
494EHM   2/4/2021   OB   2/24/2021   WN;648;DEN;ICT                         JULIEPORT              AL                   US   61512   137179086@AIRLINE.KIWI.COM
49EP56   2/4/2021   OB   2/12/2021   WN;309;MSP;LAS                         NEW JIMMOUTH           HOVEDSTADEN          DK   50500   137176006@AIRLINE.KIWI.COM
4A6MB6   2/4/2021   OB   2/13/2021   WN;3466;ATL;HOU;WN;4999;HOU;OKC        DONALDPORT             AZ                   US   60457   137181308@AIRLINE.KIWI.COM
4A6MB6   2/4/2021   RT   2/18/2021   WN;6001;OKC;ATL                        DONALDPORT             AZ                   US   60457   137181308@AIRLINE.KIWI.COM
4FR3Z5   2/4/2021   OB   3/17/2021   WN;1008;HNL;ITO                        BROWNLAND              MN                   US    9401   137198501@AIRLINE.KIWI.COM
4KCSNM   2/4/2021   OB   2/16/2021   WN;431;BWI;PBI                         NORTH GARYSIDE         WV                   US    6403   137219918@AIRLINE.KIWI.COM
4LTAHC   2/4/2021   OB    4/2/2021   WN;303;BOS;STL;WN;1995;STL;CUN         NORTH DANIELMOUTH      GA                   US   58813   137226771@AIRLINE.KIWI.COM
4N8UTU   2/4/2021   OB    3/2/2021   WN;845;AUS;DAL;WN;2892;DAL;MCO         MUELLERSIDE            SC                   US   12117   137232964@AIRLINE.KIWI.COM
4ODPCA   2/4/2021   OB   2/12/2021   WN;757;STL;LAX;WN;757;LAX;DEN          NORTH AMANDA           MT                   US   87591   137238332@AIRLINE.KIWI.COM
4ODPCA   2/4/2021   OB   2/12/2021   WN;757;STL;LAX;WN;757;LAX;DEN          NORTH AMANDA           MT                   US   87591   137238332@AIRLINE.KIWI.COM
4OXGYP   2/4/2021   OB   3/30/2021   WN;1154;DEN;MCI                        SOUTH JENNIFERCHESTE   CA                   US   73016   137228157@AIRLINE.KIWI.COM
27SAUE   2/5/2021   OB   3/28/2021   WN;1723;IND;ATL;WN;1723;ATL;DCA        SOUTH KERRI            KS                   US   75173   137290274@AIRLINE.KIWI.COM
28IQD6   2/5/2021   OB    2/5/2021   WN;2577;MIA;HOU;WN;423;HOU;LAS         JONESTOWN              ND                   US    1699   137293167@AIRLINE.KIWI.COM
2AA37N   2/5/2021   OB   3/25/2021   WN;2040;DCA;FLL                        LAURENVILLE            FL                   US   79041   137300361@AIRLINE.KIWI.COM
2AA37N   2/5/2021   OB   3/25/2021   WN;2040;DCA;FLL                        LAURENVILLE            FL                   US   79041   137300361@AIRLINE.KIWI.COM
2AGGO2   2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT         MICHAELTON             WA                   US   53066   137301043@AIRLINE.KIWI.COM
2AGGO2   2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT         MICHAELTON             WA                   US   53066   137301043@AIRLINE.KIWI.COM
2AZV6G   2/5/2021   OB    2/5/2021   WN;2457;PIT;MDW;WN;1441;MDW;MCI        NICHOLASMOUTH          AR                   US   16066   137303936@AIRLINE.KIWI.COM
2B65HU   2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT         TRACYVIEW              MN                   US   33962   137305212@AIRLINE.KIWI.COM
2B65HU   2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT         TRACYVIEW              MN                   US   33962   137305212@AIRLINE.KIWI.COM
2B65HU   2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT         TRACYVIEW              MN                   US   33962   137305212@AIRLINE.KIWI.COM
2CHRU5   2/5/2021   OB    2/5/2021   WN;4465;ONT;LAS                        PORT REBECCA           VA                   US   99203   137311350@AIRLINE.KIWI.COM
2EDO2W   2/5/2021   OB   3/16/2021   WN;1330;ATL;MDW;WN;2192;MDW;SEA        MORALESHAVEN           KY                   US   65146   137319094@AIRLINE.KIWI.COM
2FV6ST   2/5/2021   OB    2/8/2021   WN;2288;TPA;MIA                        GUTIERREZTON           TN                   US   74943   137323857@AIRLINE.KIWI.COM
4TKWPV   2/5/2021   OB   2/11/2021   WN;3959;BNA;ATL;WN;3959;ATL;TPA;WN;4279BODIN                  BOUCHESDURHONE       FR   80914   137252566@AIRLINE.KIWI.COM
4UY4D3   2/5/2021   OB    5/6/2021   WN;1524;GEG;DEN;WN;653;DEN;TUL         RUSSOBURGH             ME                   US   15116   137257967@AIRLINE.KIWI.COM
4UY4D3   2/5/2021   OB    5/6/2021   WN;1524;GEG;DEN;WN;653;DEN;TUL         RUSSOBURGH             ME                   US   15116   137257967@AIRLINE.KIWI.COM
4WBLUV   2/5/2021   OB    2/5/2021   WN;4937;SMF;LGB                        JOHNTON                MI                   US   69151   137260453@AIRLINE.KIWI.COM
4WDB6D   2/5/2021   OB    3/6/2021   WN;3667;OAK;DEN;WN;722;DEN;SJD         WEST LINDA             WV                   US   40158   137260915@AIRLINE.KIWI.COM
4XJ9TJ   2/5/2021   OB   2/25/2021   WN;441;MSP;MDW;WN;3265;MDW;GRR         WEST CHERYL            MN                   US   80856   137256130@AIRLINE.KIWI.COM
4XJ9TJ   2/5/2021   OB   2/25/2021   WN;441;MSP;MDW;WN;3265;MDW;GRR         WEST CHERYL            MN                   US   80856   137256130@AIRLINE.KIWI.COM
4XJ9TJ   2/5/2021   OB   2/25/2021   WN;441;MSP;MDW;WN;3265;MDW;GRR         WEST CHERYL            MN                   US   80856   137256130@AIRLINE.KIWI.COM
4XNRX4   2/5/2021   OB    2/7/2021   WN;5014;ATL;DEN                        DUNNTOWN               DE                   US   25560   137263577@AIRLINE.KIWI.COM
4XQKMK   2/5/2021   OB    2/7/2021   WN;4315;SEA;DEN                        RODRIGUEZMOUTH         FL                   US   25206   137263819@AIRLINE.KIWI.COM
2HATVW   2/6/2021   OB   6/25/2021   WN;1261;FLL;SJU                        PITEA                  UPPSALA LAN          SE   93056   137327520@AIRLINE.KIWI.COM
2HATVW   2/6/2021   OB   6/25/2021   WN;1261;FLL;SJU                        PITEA                  UPPSALA LAN          SE   93056   137327520@AIRLINE.KIWI.COM
2HATVW   2/6/2021   OB   6/25/2021   WN;1261;FLL;SJU                        PITEA                  UPPSALA LAN          SE   93056   137327520@AIRLINE.KIWI.COM
2HCJOC   2/6/2021   OB   6/20/2021   WN;3356;SAN;AUS;WN;279;AUS;FLL         NEW MATTHEWBURGH       EASTERN              GH   75800   137327520@AIRLINE.KIWI.COM
2HCJOC   2/6/2021   OB   6/20/2021   WN;3356;SAN;AUS;WN;279;AUS;FLL         NEW MATTHEWBURGH       EASTERN              GH   75800   137327520@AIRLINE.KIWI.COM
2HCJOC   2/6/2021   OB   6/20/2021   WN;3356;SAN;AUS;WN;279;AUS;FLL         NEW MATTHEWBURGH       EASTERN              GH   75800   137327520@AIRLINE.KIWI.COM
2HJ8BT   2/6/2021   OB   5/20/2021   WN;1601;HNL;OGG                        WEST KEVINFURT         WI                   US   31493   137328004@AIRLINE.KIWI.COM
2HJ8BT   2/6/2021   OB   5/20/2021   WN;1601;HNL;OGG                        WEST KEVINFURT         WI                   US   31493   137328004@AIRLINE.KIWI.COM
2JATY7   2/6/2021   OB   3/19/2021   WN;1699;MIA;BWI;WN;1699;BWI;RDU        KEVINBURY              WY                   US    3811   137331986@AIRLINE.KIWI.COM
2JNM4D   2/6/2021   OB   3/19/2021   WN;1699;MIA;BWI;WN;1699;BWI;RDU        BRANDONFORT            DE                   US   85379   137332800@AIRLINE.KIWI.COM
2MHAA8   2/6/2021   OB   3/27/2021   WN;3076;MDW;LAS                        LAKE FRANKLIN          IL                   US   97615   137334780@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                         EAST DENISESHIRE       TX                   US   86298   137328466@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                         EAST DENISESHIRE       TX                   US   86298   137328466@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                         EAST DENISESHIRE       TX                   US   86298   137328466@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                         EAST DENISESHIRE       TX                   US   86298   137328466@AIRLINE.KIWI.COM




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2NWJYJ     2/6/2021   OB   2/20/2021   WN;3594;MDW;LAX                         TYLERTON               MS                  US    94155   137333548@AIRLINE.KIWI.COM
2NX9GM     2/6/2021   OB   2/13/2021   WN;2063;BWI;DTW;WN;2063;DTW;PHX;WN;20LAKE AMANDA               KS                  US    19349   137340819@AIRLINE.KIWI.COM
2RX2WW     2/6/2021   OB   4/12/2021   WN;1511;LAS;DEN;WN;1511;DEN;PHL         EAST ROBERTVIEW        AL                  US    22181   137352567@AIRLINE.KIWI.COM
2XUXYY     2/6/2021   MD   2/12/2021   WN;2255;BOS;BWI                         AMANDAMOUTH            DE                  US    81329   137374072@AIRLINE.KIWI.COM
2XUXYY     2/6/2021   OB   2/11/2021   WN;1923;BUF;BWI;WN;1923;BWI;BOS         AMANDAMOUTH            DE                  US    81329   137374072@AIRLINE.KIWI.COM
2XUXYY     2/6/2021   RT   2/14/2021   WN;715;BWI;BUF                          AMANDAMOUTH            DE                  US    81329   137374072@AIRLINE.KIWI.COM
2YJT6N     2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW           EAST DIANA             OK                  US    25443   137376635@AIRLINE.KIWI.COM
2YJT6N     2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW           EAST DIANA             OK                  US    25443   137376635@AIRLINE.KIWI.COM
2YJT6N     2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW           EAST DIANA             OK                  US    25443   137376635@AIRLINE.KIWI.COM
2YJT6N     2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW           EAST DIANA             OK                  US    25443   137376635@AIRLINE.KIWI.COM
2ZL73Z     2/6/2021   OB    3/7/2021   WN;1050;FLL;BNA;WN;939;BNA;MDW          CAMPBELLMOUTH          IA                  US    83082   137381332@AIRLINE.KIWI.COM
32AN5Y     2/6/2021   OB    2/6/2021   WN;1099;LAS;SFO                         LAKE DARRENPORT        WV                  US    35354   137383719@AIRLINE.KIWI.COM
32AN5Y     2/6/2021   OB    2/6/2021   WN;1099;LAS;SFO                         LAKE DARRENPORT        WV                  US    35354   137383719@AIRLINE.KIWI.COM
32AN5Y     2/6/2021   OB    2/6/2021   WN;1099;LAS;SFO                         LAKE DARRENPORT        WV                  US    35354   137383719@AIRLINE.KIWI.COM
32AN5Y     2/6/2021   OB    2/6/2021   WN;1099;LAS;SFO                         LAKE DARRENPORT        WV                  US    35354   137383719@AIRLINE.KIWI.COM
32AN5Y     2/6/2021   OB    2/6/2021   WN;1099;LAS;SFO                         LAKE DARRENPORT        WV                  US    35354   137383719@AIRLINE.KIWI.COM
32DY8W     2/6/2021   OB    2/6/2021   WN;3661;BUR;LAS                         ANDERSONMOUTH          WI                  US    66064   137383983@AIRLINE.KIWI.COM
32DY8W     2/6/2021   OB    2/6/2021   WN;3661;BUR;LAS                         ANDERSONMOUTH          WI                  US    66064   137383983@AIRLINE.KIWI.COM
32ICH7     2/6/2021   OB   2/28/2021   WN;5013;MIA;TPA                         SELO ROZALIIA          LUHANSKA OBLAST     UA    54663   137384511@AIRLINE.KIWI.COM
33RQSN     2/6/2021   OB   3/24/2021   WN;1398;LAX;DEN                         NEW DANIELHAVEN        MD                  US    51611   137388130@AIRLINE.KIWI.COM
36298S     2/7/2021   OB   3/22/2021   WN;1077;LAX;SMF                         BROWNSTAD              UT                  US    44733   137393850@AIRLINE.KIWI.COM
3659DG     2/7/2021   OB   3/23/2021   WN;894;SMF;LAX                          NOAHVIEW               NV                  US    15414   137393850@AIRLINE.KIWI.COM
3988FJ     2/7/2021   OB   2/28/2021   WN;1459;OAK;MDW;WN;2576;MDW;DTW         PAULHAVEN              KS                  US    57819   137399108@AIRLINE.KIWI.COM
3B9WF3     2/7/2021   OB    2/9/2021   WN;845;MSP;MDW                          WEST SCOTT             NY                  US    10427   137402771@AIRLINE.KIWI.COM
3BC682     2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                         WEST LESLIE            MT                  US    83676   137402782@AIRLINE.KIWI.COM
3BC682     2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                         WEST LESLIE            MT                  US    83676   137402782@AIRLINE.KIWI.COM
3BC682     2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                         WEST LESLIE            MT                  US    83676   137402782@AIRLINE.KIWI.COM
3BC682     2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                         WEST LESLIE            MT                  US    83676   137402782@AIRLINE.KIWI.COM
3K3NXV     2/7/2021   OB    2/7/2021   WN;1236;DEN;SAT                         PORT HEATHER           ID                  US    39370   134281774.1546330@AIRLINE.KIWI.COM
3KNCLA     2/7/2021   OB    2/8/2021   WN;2466;DAL;DEN;WN;4566;DEN;DSM         JEFFREYBURGH           PA                  US    99187   137425244@AIRLINE.KIWI.COM
3LB8MD     2/7/2021   OB    2/7/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         WEST SHAUN             OR                  US     7862   137427455@AIRLINE.KIWI.COM
3MG4QU     2/7/2021   OB    2/7/2021   WN;2084;LAS;LAX                         GREGORYBOROUGH         UT                  US    36871   137433065@AIRLINE.KIWI.COM
3NQEPG     2/7/2021   OB   2/17/2021   WN;2502;PHX;SFO                         NEW ANA                OH                  US    42935   137437718@AIRLINE.KIWI.COM
3OPWXF     2/7/2021   OB   3/26/2021   WN;4459;LGA;ATL;WN;4459;ATL;MEM         NORTH JACQUELINE       FL                  US    11950   137441337@AIRLINE.KIWI.COM
3PPVPA     2/7/2021   OB   4/21/2021   WN;1098;HNL;LIH                         WEST CRYSTALVILLE      MS                  US    53246   137444329@AIRLINE.KIWI.COM
3PPVPA     2/7/2021   OB   4/21/2021   WN;1098;HNL;LIH                         WEST CRYSTALVILLE      MS                  US    53246   137444329@AIRLINE.KIWI.COM
3PZUGU     2/7/2021   OB   2/11/2021   WN;197;FLL;SJU                          PRVT                   AL                  US    82427   137442052@AIRLINE.KIWI.COM
3PZUGU     2/7/2021   OB   2/11/2021   WN;197;FLL;SJU                          PRVT                   AL                  US    82427   137442052@AIRLINE.KIWI.COM
3RWYPH     2/7/2021   OB   3/13/2021   WN;3083;RSW;HOU;WN;2773;HOU;MSP         SOUTH AMANDA           ID                  US    63948   137450225@AIRLINE.KIWI.COM
3RWYPH     2/7/2021   OB   3/13/2021   WN;3083;RSW;HOU;WN;2773;HOU;MSP         SOUTH AMANDA           ID                  US    63948   137450225@AIRLINE.KIWI.COM
3S7E4C     2/7/2021   OB    3/3/2021   WN;2624;PDX;DEN                         SEONGNAMSI             SEOUL TEUGBYEOLSI   KR    44218   137450478@AIRLINE.KIWI.COM
3V5PUP     2/8/2021   OB    2/8/2021   WN;3212;TPA;MDW;WN;4172;MDW;DAL         PORT KATELYN           AR                  US     9938   137455538@AIRLINE.KIWI.COM
3VQ9ND     2/8/2021   OB    2/8/2021   WN;715;ATL;BWI;WN;715;BWI;BUF           ANDREWTON              AK                  US    77304   137457166@AIRLINE.KIWI.COM
3XO8NX     2/8/2021   OB   2/12/2021   WN;1028;CUN;DEN                         SAN LORENZO DE LA MO   HIDALGO             MX    51730   137460686@AIRLINE.KIWI.COM
49TL2N     2/8/2021   OB    2/8/2021   WN;6012;TPA;SDF                         NEW DEBORAHBURY        DE                  US    49111   137499153@AIRLINE.KIWI.COM
4A6GTC     2/8/2021   OB    2/8/2021   WN;2516;MCO;DEN;WN;2098;DEN;LAX         JULIEVIEW              MN                  US    15931   137501133@AIRLINE.KIWI.COM
4A9ZGD     2/8/2021   OB    2/8/2021   WN;2516;MCO;DEN;WN;2098;DEN;LAX         TYLERCHESTER           CA                  US    95648   137501617@AIRLINE.KIWI.COM
4ADQH8     2/8/2021   OB    2/8/2021   WN;2516;MCO;DEN;WN;2098;DEN;LAX         WALKERFORT             WY                  US    93755   137502321@AIRLINE.KIWI.COM
4B297I     2/8/2021   OB    3/1/2021   WN;1376;HNL;SJC                         NORTH STEPHANIESHIRE   CO                  US     4203   137505665@AIRLINE.KIWI.COM
4B297I     2/8/2021   OB    3/1/2021   WN;1376;HNL;SJC                         NORTH STEPHANIESHIRE   CO                  US     4203   137505665@AIRLINE.KIWI.COM
4C4LHH     2/8/2021   OB    3/4/2021   WN;3326;PDX;OAK;WN;4862;OAK;LAS         PORT JULIE             CA                  US    46830   137511484@AIRLINE.KIWI.COM
4C4LHH     2/8/2021   RT    3/8/2021   WN;1537;LAS;OAK;WN;14;OAK;PDX           PORT JULIE             CA                  US    46830   137511484@AIRLINE.KIWI.COM
4CE65W     2/8/2021   OB    2/8/2021   WN;400;LAS;LAX                          JEREMYSHIRE            NM                  US    52917   137513497@AIRLINE.KIWI.COM
4CGIM2     2/8/2021   OB   2/15/2021   WN;2999;LAS;DEN                         LAKE MICHELEBURGH      RI                  US    50066   137511308@AIRLINE.KIWI.COM
4CGIM2     2/8/2021   OB   2/16/2021   WN;498;DEN;ORD                          LAKE MICHELEBURGH      RI                  US    50066   137511308@AIRLINE.KIWI.COM
4CRFDD     2/8/2021   OB    3/1/2021   WN;560;FLL;DAL;WN;2493;DAL;RNO          AMYSHIRE               AL                  US    55310   137514839@AIRLINE.KIWI.COM
4CRFDD     2/8/2021   OB    3/1/2021   WN;560;FLL;DAL;WN;2493;DAL;RNO          AMYSHIRE               AL                  US    55310   137514839@AIRLINE.KIWI.COM
4DZGTI     2/8/2021   OB    2/8/2021   WN;390;LAS;PHX                          PORT RYANFURT          IA                  US    61183   137520086@AIRLINE.KIWI.COM
4EDHOV     2/8/2021   OB    2/8/2021   WN;400;LAS;LAX                          NORTH CATHERINE        ME                  US    84093   137522088@AIRLINE.KIWI.COM
4EGZ8Q     2/8/2021   OB   2/16/2021   WN;3907;MCI;DEN                         HOLLYBOROUGH           WA                  US    45430   137522495@AIRLINE.KIWI.COM
4EGZ8Q     2/8/2021   OB   2/16/2021   WN;3907;MCI;DEN                         HOLLYBOROUGH           WA                  US    45430   137522495@AIRLINE.KIWI.COM
4F8AF3     2/8/2021   OB   2/11/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         ABIGAILBURGH           GA                  US    77271   137519096@AIRLINE.KIWI.COM
4F8AF3     2/8/2021   OB   2/11/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         ABIGAILBURGH           GA                  US    77271   137519096@AIRLINE.KIWI.COM
4F8AF3     2/8/2021   OB   2/11/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         ABIGAILBURGH           GA                  US    77271   137519096@AIRLINE.KIWI.COM
4F8AF3     2/8/2021   OB   2/11/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         ABIGAILBURGH           GA                  US    77271   137519096@AIRLINE.KIWI.COM
4F8AF3     2/8/2021   OB   2/11/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         ABIGAILBURGH           GA                  US    77271   137519096@AIRLINE.KIWI.COM
4GYXC4     2/8/2021   OB   2/22/2021   WN;1877;DTW;DEN;WN;2785;DEN;LAS         BROWNVIEW              AR                  US    67868   137516533@AIRLINE.KIWI.COM
4GZPOP     2/8/2021   OB   3/12/2021   WN;1738;HNL;SJC;WN;1738;SJC;LAX         CASSIEFORT             AR                  US    99532   137530855@AIRLINE.KIWI.COM
4GZPOP     2/8/2021   OB   3/12/2021   WN;1738;HNL;SJC;WN;1738;SJC;LAX         CASSIEFORT             AR                  US    99532   137530855@AIRLINE.KIWI.COM
24BZSO     2/9/2021   OB   2/12/2021   WN;470;CLE;BWI;WN;2531;BWI;TPA          CASTROSIDE             MN                  US    50692   137611903@AIRLINE.KIWI.COM
4I2L8E     2/9/2021   OB    2/9/2021   WN;1588;TPA;MDW;WN;1588;MDW;BWI;WN;3EAST MELISSAVILLE          NE                  US    52741   137534100@AIRLINE.KIWI.COM
4IP2FC     2/9/2021   OB   2/17/2021   WN;4674;BNA;CMH;WN;3424;CMH;BWI         NEW YORK               NY                  US    10001   137522099@AIRLINE.KIWI.COM
4IP2FC     2/9/2021   OB   2/17/2021   WN;4674;BNA;CMH;WN;3424;CMH;BWI         NEW YORK               NY                  US    10001   137522099@AIRLINE.KIWI.COM
4JR5FQ     2/9/2021   OB   2/23/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS         JAMESBOROUGH           NH                  US    40712   137538929@AIRLINE.KIWI.COM
4K7VHQ     2/9/2021   OB   4/19/2021   WN;2679;LAX;SLC                         EAST SHAWN             CO                  US    45617   137539974@AIRLINE.KIWI.COM
4KC2A5     2/9/2021   OB   3/25/2021   WN;1873;SLC;LAX                         PORT RYANFURT          MS                  US    43833   137540656@AIRLINE.KIWI.COM
4KC2A5     2/9/2021   RT   3/28/2021   WN;820;LAX;SLC                          PORT RYANFURT          MS                  US    43833   137540656@AIRLINE.KIWI.COM
4MCE29     2/9/2021   OB   4/27/2021   WN;2683;LAS;PDX                         JULIESIDE              AR                  US    42785   137545397@AIRLINE.KIWI.COM
4VBBPX     2/9/2021   OB   2/16/2021   WN;3276;LAX;BNA                         JUSTINFORT             NJ                  US    45354   137568838@AIRLINE.KIWI.COM
4VJI26     2/9/2021   OB    2/9/2021   WN;400;LAS;LAX                          DEANBOROUGH            NE                  US    32952   137579035@AIRLINE.KIWI.COM
4VLX4R     2/9/2021   OB    2/9/2021   WN;6007;TPA;PHL                         HERRERASTAD            UT                  US     1393   137578661@AIRLINE.KIWI.COM
4VSV9A     2/9/2021   OB    2/9/2021   WN;3907;LAS;LAX                         DFSD                   SDG                 IN   422009   137578221@AIRLINE.KIWI.COM
4WY3WB     2/9/2021   OB   3/13/2021   WN;3304;TPA;CVG                         MANNBURY               MA                  US    47871   137587538@AIRLINE.KIWI.COM
4WY3WB     2/9/2021   OB   3/13/2021   WN;3304;TPA;CVG                         MANNBURY               MA                  US    47871   137587538@AIRLINE.KIWI.COM
4XSUMV     2/9/2021   OB    2/9/2021   WN;390;LAS;PHX                          JONESMOUTH             CO                  US    90494   137593060@AIRLINE.KIWI.COM
4YUKUI     2/9/2021   OB    2/9/2021   WN;390;LAS;PHX                          PORT SCOTTFURT         UT                  US     9266   137599396@AIRLINE.KIWI.COM
4Z3TKB     2/9/2021   OB    2/9/2021   WN;2084;LAS;LAX                         EAST MICHAELMOUTH      OH                  US    22902   137600100@AIRLINE.KIWI.COM
4ZHIG5     2/9/2021   OB   4/25/2021   WN;3253;BNA;DCA                         MARIONHAVEN            BRISTOL CITY OF     GB    89518   137602190@AIRLINE.KIWI.COM
278UUW    2/10/2021   OB   2/18/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL         CRAIGBOROUGH           ID                  US     5756   137623277@AIRLINE.KIWI.COM
28852F    2/10/2021   OB   3/14/2021   WN;541;ATL;IAD                          MICHAELBURGH           TN                  US     8433   137626137@AIRLINE.KIWI.COM
28DVVJ    2/10/2021   OB   2/15/2021   WN;6019;SAN;SLC                         PORT SANDRAMOUTH       MA                  US    16221   137626511@AIRLINE.KIWI.COM
28VQYJ    2/10/2021   OB   2/11/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;25 SOUTH OLIVIATON          IN                  US    26513   137627996@AIRLINE.KIWI.COM
28VQYJ    2/10/2021   OB   2/11/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;25 SOUTH OLIVIATON          IN                  US    26513   137627996@AIRLINE.KIWI.COM
29L7B8    2/10/2021   OB    3/1/2021   WN;4562;HOU;BNA;WN;5006;BNA;DAL         LAKE EDWARDTOWN        CA                  US     7300   137622298@AIRLINE.KIWI.COM
2A4HAV    2/10/2021   OB    3/7/2021   WN;156;ATL;SDF;WN;156;SDF;BWI;WN;1052;B JEREMIAHBURGH          NM                  US    25774   137625312@AIRLINE.KIWI.COM
2A5WP9    2/10/2021   OB   3/25/2021   WN;605;MDW;OAK                          GABRIELBOROUGH         WY                  US    15274   137631318@AIRLINE.KIWI.COM
2A5WP9    2/10/2021   RT   3/28/2021   WN;2152;OAK;MDW                         GABRIELBOROUGH         WY                  US    15274   137631318@AIRLINE.KIWI.COM
2BHABA    2/10/2021   OB   2/12/2021   WN;6517;MSY;DEN                         WEST JASMINEFORT       KS                  US    81805   137632770@AIRLINE.KIWI.COM
2GIHY8    2/10/2021   OB   2/18/2021   WN;2500;FLL;BNA;WN;2500;BNA;DEN         JENNIFERPORT           AL                  US    13485   137636070@AIRLINE.KIWI.COM
2KCRXP    2/10/2021   OB   2/10/2021   WN;3989;LAX;LAS                         LAKE DOMINIC           FL                  US    59426   137673184@AIRLINE.KIWI.COM
2LII5G    2/10/2021   OB   2/10/2021   WN;1515;DTW;MDW;WN;2987;MDW;ATL         BEI NAN SHI            TAIPEI              TW    90870   137678871@AIRLINE.KIWI.COM




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2M85MA   2/10/2021   OB    3/8/2021   WN;1329;OAK;SEA                        GRIFFINMOUTH         FL                US   16480   137681808@AIRLINE.KIWI.COM
2MIT2Q   2/10/2021   OB   2/28/2021   WN;2702;MDW;LGA                        PORT TYLER           AR                US   86185   137683832@AIRLINE.KIWI.COM
2MPM63   2/10/2021   OB   3/26/2021   WN;1313;MSP;SAN                        MOOREBERG            HI                US    4868   137684415@AIRLINE.KIWI.COM
2MX67D   2/10/2021   OB   3/26/2021   WN;1313;MSP;SAN                        SOUTH ISABELFORT     ME                US   89551   137685548@AIRLINE.KIWI.COM
2NCVJF   2/10/2021   OB   2/10/2021   WN;1515;DTW;MDW;WN;2987;MDW;ATL        CHRISTOPHERBERG      RI                US   86345   137688243@AIRLINE.KIWI.COM
2NI6MK   2/10/2021   OB   2/10/2021   WN;3631;HOU;LAX                        ANNASIDE             IA                US   63917   137403145.1547923@AIRLINE.KIWI.COM
2Q87GM   2/10/2021   OB   2/10/2021   WN;2785;LAS;SNA                        ANDREATOWN           CO                US   30168   137701729@AIRLINE.KIWI.COM
2R8U5N   2/10/2021   OB   2/10/2021   WN;1468;SAN;LAS                        LAKE JOCELYN         SD                US   11324   137705359@AIRLINE.KIWI.COM
2RBBGV   2/10/2021   OB   3/15/2021   WN;1199;LAS;BUR                        WHITESIDE            NV                US   74573   137705733@AIRLINE.KIWI.COM
2RBBGV   2/10/2021   RT   3/16/2021   WN;1200;BUR;LAS                        WHITESIDE            NV                US   74573   137705733@AIRLINE.KIWI.COM
2SE54G   2/10/2021   OB   2/25/2021   WN;3;HOU;SAN                           MORALESHAVEN         WI                US   12708   137709627@AIRLINE.KIWI.COM
2SQ5L2   2/10/2021   OB   2/17/2021   WN;4078;MIA;MDW                        PHILLIPSHAVEN        KY                US   34066   137710540@AIRLINE.KIWI.COM
2SV54R   2/10/2021   OB   2/17/2021   WN;4078;MIA;MDW                        YVONNEBURGH          CO                US   88796   137710540@AIRLINE.KIWI.COM
2T4YY3   2/11/2021   OB   2/21/2021   WN;3655;MDW;LAX                        EMILYMOUTH           NM                US   13151   137711519@AIRLINE.KIWI.COM
2T4YY3   2/11/2021   OB   2/21/2021   WN;3655;MDW;LAX                        EMILYMOUTH           NM                US   13151   137711519@AIRLINE.KIWI.COM
2VKFVH   2/11/2021   OB   2/11/2021   WN;3343;LGA;ATL                        MARNEULI             KAKHETI           GE   17187   137716689@AIRLINE.KIWI.COM
2WCQTZ   2/11/2021   OB   2/25/2021   WN;2707;ATL;LGA                        ANITASTAD            DE                US   39782   137719351@AIRLINE.KIWI.COM
2WTKEP   2/11/2021   OB   2/15/2021   WN;5013;MIA;TPA;WN;6931;TPA;MKE        EAST ERIC            MS                US   41677   137719142@AIRLINE.KIWI.COM
2X53IA   2/11/2021   OB   4/16/2021   WN;868;MDW;MSY                         WEST DUSTINBERG      FL                US    4916   137721254@AIRLINE.KIWI.COM
2X68MT   2/11/2021   OB   4/16/2021   WN;2778;BWI;MDW                        CURTISBURGH          MA                US   73235   137721254@AIRLINE.KIWI.COM
2XLG2I   2/11/2021   OB   2/11/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL        MOOREMOUTH           NY                US   88291   137722409@AIRLINE.KIWI.COM
2XP8MY   2/11/2021   OB    3/5/2021   WN;55;CLE;ATL                          JULIEBURGH           ID                US   82123   137722310@AIRLINE.KIWI.COM
2XP8MY   2/11/2021   RT    3/8/2021   WN;656;ATL;CLE                         JULIEBURGH           ID                US   82123   137722310@AIRLINE.KIWI.COM
2XT3Y9   2/11/2021   OB   2/14/2021   WN;991;PHX;ORD                         WEST NICOLE          TX                US   77158   137722893@AIRLINE.KIWI.COM
2Y5VG2   2/11/2021   OB   3/31/2021   WN;21;HOU;RSW                          MURPHYHAVEN          AZ                US   59457   137723795@AIRLINE.KIWI.COM
2Y8U9Y   2/11/2021   OB   2/17/2021   WN;3285;DEN;SFO                        LAKE ROBERTBURY      MD                US   55758   137723487@AIRLINE.KIWI.COM
2Y9FG4   2/11/2021   OB   2/11/2021   WN;540;ATL;PBI                         WASHINGTONSHIRE      AK                US   28737   137722805@AIRLINE.KIWI.COM
339XII   2/11/2021   OB    3/8/2021   WN;975;LAS;PHX;WN;933;PHX;DTW          NEW PATRICIA         CA                US    4164   137732221@AIRLINE.KIWI.COM
339XII   2/11/2021   OB    3/8/2021   WN;975;LAS;PHX;WN;933;PHX;DTW          NEW PATRICIA         CA                US    4164   137732221@AIRLINE.KIWI.COM
33YPEX   2/11/2021   OB   2/14/2021   WN;4702;PIT;TPA;WN;4143;TPA;MIA        PITTSBURGH           AR                US   15231   137725335@AIRLINE.KIWI.COM
3577JM   2/11/2021   OB   2/26/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL        FLORIDA              FL                US   32819   137725511@AIRLINE.KIWI.COM
3577JM   2/11/2021   OB   2/26/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL        FLORIDA              FL                US   32819   137725511@AIRLINE.KIWI.COM
36OQSS   2/11/2021   OB    3/6/2021   WN;4672;DCA;FLL                        ADAMBURGH            IA                US   89212   137746411@AIRLINE.KIWI.COM
39V2AN   2/11/2021   OB   3/11/2021   WN;419;MCO;AUS                         JOSEPHBURGH          MS                US    3064   137761415@AIRLINE.KIWI.COM
3DOLB5   2/11/2021   OB   2/18/2021   WN;595;HNL;ITO                         PORT MELISSAMOUTH    KY                US   59710   137779994@AIRLINE.KIWI.COM
3DOLB5   2/11/2021   RT    3/1/2021   WN;594;ITO;HNL                         PORT MELISSAMOUTH    KY                US   59710   137779994@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                        WEST KATHYFORT       CA                US   61267   137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                        WEST KATHYFORT       CA                US   61267   137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                        WEST KATHYFORT       CA                US   61267   137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                        WEST KATHYFORT       CA                US   61267   137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                        WEST KATHYFORT       CA                US   61267   137788739@AIRLINE.KIWI.COM
3FZUGI   2/11/2021   OB   3/21/2021   WN;2136;DEN;SNA                        JASONSTAD            VT                US   94848   137791170@AIRLINE.KIWI.COM
3H3RND   2/11/2021   OB   2/20/2021   WN;387;CUN;BNA;WN;2885;BNA;BOS         NEW BRYCE            CT                US   22452   137794536@AIRLINE.KIWI.COM
3IG25C   2/12/2021   OB   2/23/2021   WN;1610;CUN;BWI                        VIEJA ESPANA         CA                US   18384   137791027@AIRLINE.KIWI.COM
3IH5OZ   2/12/2021   OB    3/3/2021   WN;1609;BWI;CUN                        VIEJA ESPANA         AL                US   18384   137791027@AIRLINE.KIWI.COM
3IOACQ   2/12/2021   OB    3/8/2021   WN;656;ATL;CLE                         NEW CLAYTON          AR                US   21211   137798111@AIRLINE.KIWI.COM
3IP8IX   2/12/2021   OB    3/5/2021   WN;55;CLE;ATL                          NORTH AMBERTON       TN                US   45296   137798111@AIRLINE.KIWI.COM
3J7XRA   2/12/2021   OB   2/14/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        NEW LAURASHIRE       IL                US   20140   137798155@AIRLINE.KIWI.COM
3JS6IS   2/12/2021   OB   2/15/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC        DEBORAHBOROUGH       PA                US   16890   137800685@AIRLINE.KIWI.COM
3JZ6AV   2/12/2021   OB   2/19/2021   WN;2580;RIC;MCO;WN;2438;MCO;FLL        WEST MICHAEL         GA                US   67998   137801345@AIRLINE.KIWI.COM
3JZ6AV   2/12/2021   OB   2/19/2021   WN;2580;RIC;MCO;WN;2438;MCO;FLL        WEST MICHAEL         GA                US   67998   137801345@AIRLINE.KIWI.COM
3JZ6AV   2/12/2021   RT   2/21/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC        WEST MICHAEL         GA                US   67998   137801345@AIRLINE.KIWI.COM
3JZ6AV   2/12/2021   RT   2/21/2021   WN;3240;FLL;MCO;WN;3240;MCO;RIC        WEST MICHAEL         GA                US   67998   137801345@AIRLINE.KIWI.COM
3MIFV8   2/12/2021   OB   2/18/2021   WN;779;DEN;DAL                         LAKE SEANHAVEN       LA                US   99442   137807109@AIRLINE.KIWI.COM
3MY2UK   2/12/2021   OB   2/16/2021   WN;858;BUR;DEN;WN;1016;DEN;PIT         JOSHUABURY           IN                US   47761   137807043@AIRLINE.KIWI.COM
3N5KPJ   2/12/2021   OB   2/15/2021   WN;2840;MDW;OMA                        WEST DERRICK         WA                US   76134   137809067@AIRLINE.KIWI.COM
3NCZLJ   2/12/2021   OB   2/19/2021   WN;3781;LAS;AUS                        BAKERVIEW            AZ                US    5345   137807230@AIRLINE.KIWI.COM
3NCZLJ   2/12/2021   OB   2/19/2021   WN;3781;LAS;AUS                        BAKERVIEW            AZ                US    5345   137807230@AIRLINE.KIWI.COM
3NCZLJ   2/12/2021   OB   2/19/2021   WN;3781;LAS;AUS                        BAKERVIEW            AZ                US    5345   137807230@AIRLINE.KIWI.COM
3NCZLJ   2/12/2021   OB   2/19/2021   WN;3781;LAS;AUS                        BAKERVIEW            AZ                US    5345   137807230@AIRLINE.KIWI.COM
3OBE86   2/12/2021   OB   2/12/2021   WN;3240;FLL;MCO                        PAULSHIRE            PA                US    3830   137811190@AIRLINE.KIWI.COM
3OIO55   2/12/2021   OB   2/12/2021   WN;2708;LGA;MDW;WN;3256;MDW;MCO        RAKUSY               KY                US   64422   137809683@AIRLINE.KIWI.COM
3PTQ8S   2/12/2021   OB   2/12/2021   WN;3264;LAX;DEN;WN;2629;DEN;ATL        HICKSTOWN            LA                US   17275   137815337@AIRLINE.KIWI.COM
3UZQ7J   2/12/2021   OB    5/4/2021   WN;3465;SNA;SMF                        KRISTENPORT          SC                US   71779   137835313@AIRLINE.KIWI.COM
3WLNGU   2/12/2021   OB   2/12/2021   WN;4514;OKC;DEN                        AMYHAVEN             VT                US   90571   137841682@AIRLINE.KIWI.COM
3WP6TD   2/12/2021   OB   2/12/2021   WN;2346;ATL;TPA                        LAKE RAYMOND         SD                US   58516   137843266@AIRLINE.KIWI.COM
3WY92U   2/12/2021   OB    3/2/2021   WN;1541;HOU;LAS                        DAWSONHAVEN          GA                US   36304   137843882@AIRLINE.KIWI.COM
3X8G9M   2/12/2021   OB   2/12/2021   WN;3933;BWI;DTW                        WILCOXLAND           NV                US   93573   137845389@AIRLINE.KIWI.COM
3XA8EU   2/12/2021   OB   2/17/2021   WN;131;DEN;CUN                         EAST AUDREY          ND                US   52648   137845400@AIRLINE.KIWI.COM
3XC55V   2/12/2021   OB   3/11/2021   WN;419;MCO;AUS                         NEW RICHARD          WY                US   29482   137845774@AIRLINE.KIWI.COM
3XLVMT   2/12/2021   OB   2/12/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        PORT MISTYBURY       TX                US   32348   137847644@AIRLINE.KIWI.COM
3Y7JWA   2/12/2021   OB   2/12/2021   WN;791;ATL;HOU;WN;4406;HOU;DEN         PORT PAMELACHESTER   AK                US    2254   137849459@AIRLINE.KIWI.COM
3YJQIN   2/12/2021   OB   2/12/2021   WN;400;LAS;LAX                         DAWNTON              ID                US   20613   137851780@AIRLINE.KIWI.COM
3Z2HGZ   2/12/2021   OB   3/11/2021   WN;419;MCO;AUS                         NORTH JULIA          SC                US   78394   137853826@AIRLINE.KIWI.COM
3ZRIXX   2/12/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        LAKE DANIELCHESTER   SD                US   93133   137848579@AIRLINE.KIWI.COM
3ZRIXX   2/12/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        LAKE DANIELCHESTER   SD                US   93133   137848579@AIRLINE.KIWI.COM
3ZRIXX   2/12/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        LAKE DANIELCHESTER   SD                US   93133   137848579@AIRLINE.KIWI.COM
3ZRIXX   2/12/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        LAKE DANIELCHESTER   SD                US   93133   137848579@AIRLINE.KIWI.COM
3ZRIXX   2/12/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        LAKE DANIELCHESTER   SD                US   93133   137848579@AIRLINE.KIWI.COM
3ZY2AB   2/12/2021   OB    3/5/2021   WN;4547;PHL;ATL                        NEW KATIEHAVEN       SC                US   82406   137858182@AIRLINE.KIWI.COM
423GQK   2/12/2021   OB    3/5/2021   WN;4547;PHL;ATL                        NORTH DANIELHAVEN    AZ                US   25992   137858523@AIRLINE.KIWI.COM
43JCXZ   2/12/2021   OB   2/12/2021   WN;8809;PDX;OAK                        TARRAGONA            CASTELLON         ES   73734   137864749@AIRLINE.KIWI.COM
43U2IG   2/12/2021   OB   2/13/2021   WN;4146;SEA;OAK;WN;3684;OAK;LGB;WN;368 GAILBURGH            PA                US   70582   137865761@AIRLINE.KIWI.COM
446K2I   2/12/2021   OB   3/12/2021   WN;1024;BUR;PHX                        EAST PAUL            NJ                US   87925   137866311@AIRLINE.KIWI.COM
446K2I   2/12/2021   RT   3/20/2021   WN;835;PHX;BUR                         EAST PAUL            NJ                US   87925   137866311@AIRLINE.KIWI.COM
48T64Z   2/13/2021   OB    3/8/2021   WN;975;LAS;PHX;WN;933;PHX;DTW          SOUTH HEATHERFORT    NM                US   44303   137880314@AIRLINE.KIWI.COM
4AAUJL   2/13/2021   OB    4/8/2021   WN;3662;ORD;BNA                        BRYANTON             NY                US   26475   137882767@AIRLINE.KIWI.COM
4LWVXV   2/13/2021   OB   2/13/2021   WN;2829;ATL;FLL                        LAKE STEVEN          FL                US   53103   137911653@AIRLINE.KIWI.COM
4MBRPV   2/13/2021   OB    3/8/2021   WN;516;BNA;ORD                         MEJIAMOUTH           IN                US   78116   137914931@AIRLINE.KIWI.COM
4MMQMW   2/13/2021   OB    3/8/2021   WN;516;BNA;ORD                         EAST WANDAFURT       AK                US   48173   137915899@AIRLINE.KIWI.COM
4MVN8G   2/13/2021   OB    3/8/2021   WN;516;BNA;ORD                         AMANDACHESTER        PA                US   35342   137916108@AIRLINE.KIWI.COM
4OFS6O   2/13/2021   OB   3/19/2021   WN;1870;BHM;MDW;WN;2192;MDW;SEA        PORT PATRICIA        IN                US   41092   137923203@AIRLINE.KIWI.COM
4SGRU4   2/13/2021   OB   2/16/2021   WN;479;MCO;RDU;WN;479;RDU;BWI          FOGACA               AL                US    6773   137931739@AIRLINE.KIWI.COM
4T6Z4W   2/13/2021   OB   3/13/2021   WN;2762;MHT;BWI;WN;1502;BWI;PHX        HERNANDEZTOWN        WA                US   48481   137935798@AIRLINE.KIWI.COM
4T6Z4W   2/13/2021   RT   3/20/2021   WN;2905;PHX;BWI;WN;2759;BWI;MHT        HERNANDEZTOWN        WA                US   48481   137935798@AIRLINE.KIWI.COM
23EBSQ   2/14/2021   OB   2/14/2021   WN;3744;LAX;LAS                        JOSEPHBERG           UT                US   65949   137949691@AIRLINE.KIWI.COM
23R4F8   2/14/2021   OB   4/13/2021   WN;2567;LAS;ONT                        AMBERCHESTER         OK                US    4496   137780016.1549211@AIRLINE.KIWI.COM
24SZA4   2/14/2021   OB   2/14/2021   WN;1978;BUR;SMF                        NEW DAVID            TN                US   18736   137953849@AIRLINE.KIWI.COM
29KNJ6   2/14/2021   OB   2/14/2021   WN;400;LAS;LAX                         NEW TIFFANYBURY      AZ                US   80276   137967731@AIRLINE.KIWI.COM
29OIAS   2/14/2021   OB   2/14/2021   WN;3167;MSP;DEN                        VIRGINIAVILLE        CO                US   61477   137967687@AIRLINE.KIWI.COM
29OVXJ   2/14/2021   OB   2/14/2021   WN;400;LAS;LAX                         SOUTH BILLYTON       WV                US   53611   137967731@AIRLINE.KIWI.COM




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2AKD3B    2/14/2021   OB    3/7/2021   WN;656;ATL;CLE                         SOUTH COLLEEN          WY                 US   88674   137970767@AIRLINE.KIWI.COM
2AKD3B    2/14/2021   OB    3/7/2021   WN;656;ATL;CLE                         SOUTH COLLEEN          WY                 US   88674   137970767@AIRLINE.KIWI.COM
2AY7UL    2/14/2021   OB   2/14/2021   WN;1438;ATL;RIC                        NICHOLASSTAD           UT                 US   62813   137972142@AIRLINE.KIWI.COM
2B2CTN    2/14/2021   OB   5/16/2021   WN;2047;SJC;OGG                        JAMESSHIRE             AR                 US    8917   137972582@AIRLINE.KIWI.COM
2B2CTN    2/14/2021   OB   5/16/2021   WN;2047;SJC;OGG                        JAMESSHIRE             AR                 US    8917   137972582@AIRLINE.KIWI.COM
2BHWAR    2/14/2021   OB   2/14/2021   WN;229;BNA;ORF;WN;229;ORF;MDW          SOUTH LEONARD          MO                 US   49963   137974001@AIRLINE.KIWI.COM
2CUYH9    2/14/2021   OB   2/14/2021   WN;400;LAS;LAX                         NEW FLOAREA            BUCURESTI          RO   69572   137980095@AIRLINE.KIWI.COM
2E5TP5    2/14/2021   OB   2/14/2021   WN;1701;LAS;SNA                        NEW CRISTINA           UT                 US   47376   137984451@AIRLINE.KIWI.COM
2E6EPD    2/14/2021   OB   2/14/2021   WN;1701;LAS;SNA                        WEST JOHNSIDE          NM                 US   82643   137984110@AIRLINE.KIWI.COM
4WABC5    2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                        PORT KIMBERLY          MS                 US   17850   137941265@AIRLINE.KIWI.COM
4WABC5    2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                        PORT KIMBERLY          MS                 US   17850   137941265@AIRLINE.KIWI.COM
4WABC5    2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                        PORT KIMBERLY          MS                 US   17850   137941265@AIRLINE.KIWI.COM
4WABC5    2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                        PORT KIMBERLY          MS                 US   17850   137941265@AIRLINE.KIWI.COM
4WGF7A    2/14/2021   OB   4/29/2021   WN;270;MDW;HOU                         BRENDABERG             WV                 US   21146   137941375@AIRLINE.KIWI.COM
4WGF7A    2/14/2021   RT    5/3/2021   WN;1262;HOU;MDW                        BRENDABERG             WV                 US   21146   137941375@AIRLINE.KIWI.COM
4XMYVX    2/14/2021   OB    4/6/2021   WN;1441;LAX;SMF                        SELO ROZALIIA          LVIVSKA OBLAST     UA   72733   137943740@AIRLINE.KIWI.COM
4XMYVX    2/14/2021   OB    4/6/2021   WN;1441;LAX;SMF                        SELO ROZALIIA          LVIVSKA OBLAST     UA   72733   137943740@AIRLINE.KIWI.COM
4XMYVX    2/14/2021   OB    4/6/2021   WN;1441;LAX;SMF                        SELO ROZALIIA          LVIVSKA OBLAST     UA   72733   137943740@AIRLINE.KIWI.COM
2JDN3R    2/15/2021   OB   3/23/2021   WN;1175;BNA;CMH                        HICKSCHESTER           LA                 US   36148   137996859@AIRLINE.KIWI.COM
2JE2YL    2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA        LA CORUNA              MURCIA REGION DE   ES   27595   137997035@AIRLINE.KIWI.COM
2JE2YL    2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA        LA CORUNA              MURCIA REGION DE   ES   27595   137997035@AIRLINE.KIWI.COM
2JE2YL    2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA        LA CORUNA              MURCIA REGION DE   ES   27595   137997035@AIRLINE.KIWI.COM
2JE2YL    2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA        LA CORUNA              MURCIA REGION DE   ES   27595   137997035@AIRLINE.KIWI.COM
2JKP3H    2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ        GUADALAJARA            ZARAGOZA           ES    9101   137997288@AIRLINE.KIWI.COM
2JKP3H    2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ        GUADALAJARA            ZARAGOZA           ES    9101   137997288@AIRLINE.KIWI.COM
2JKP3H    2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ        GUADALAJARA            ZARAGOZA           ES    9101   137997288@AIRLINE.KIWI.COM
2JKP3H    2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ        GUADALAJARA            ZARAGOZA           ES    9101   137997288@AIRLINE.KIWI.COM
2JOGJS    2/15/2021   OB   5/12/2021   WN;1112;FAT;LAS                        SOUTH CAROL            AL                 US   59155   137997673@AIRLINE.KIWI.COM
2JOGJS    2/15/2021   RT   5/15/2021   WN;1113;LAS;FAT                        SOUTH CAROL            AL                 US   59155   137997673@AIRLINE.KIWI.COM
2LXCHV    2/15/2021   OB   2/16/2021   WN;317;HOU;CUN                         FINLEYPORT             NM                 US   50184   137785065.1549539@AIRLINE.KIWI.COM
2NM8S5    2/15/2021   OB   3/31/2021   WN;1873;SLC;LAX                        JUSTINMOUTH            IN                 US   52351   138004427@AIRLINE.KIWI.COM
2NM8S5    2/15/2021   OB   3/31/2021   WN;1873;SLC;LAX                        JUSTINMOUTH            IN                 US   52351   138004427@AIRLINE.KIWI.COM
2NM8S5    2/15/2021   OB   3/31/2021   WN;1873;SLC;LAX                        JUSTINMOUTH            IN                 US   52351   138004427@AIRLINE.KIWI.COM
2OYV9J    2/15/2021   OB   2/18/2021   WN;4305;PDX;SMF;WN;4305;SMF;ONT        PORT DEANNALAND        AL                 US   21267   138008024@AIRLINE.KIWI.COM
2WLZTE    2/15/2021   OB   3/16/2021   WN;1034;BNA;CLT                        NORTH SARAH            MT                 US   38607   138037273@AIRLINE.KIWI.COM
2WLZTE    2/15/2021   OB   3/16/2021   WN;1034;BNA;CLT                        NORTH SARAH            MT                 US   38607   138037273@AIRLINE.KIWI.COM
2WPY2Q    2/15/2021   OB   2/15/2021   WN;2208;DEN;MSP                        BLACKBURNCHESTER       NE                 US   31895   138038318@AIRLINE.KIWI.COM
2WQSSP    2/15/2021   OB   2/15/2021   WN;2208;DEN;MSP                        EAST WILLIEBERG        AK                 US   19168   138038318@AIRLINE.KIWI.COM
2XWHAT    2/15/2021   OB   2/15/2021   WN;1154;SEA;PHX                        SOUTH JOSEPH           GA                 US   37899   138043488@AIRLINE.KIWI.COM
2ZJ4K9    2/15/2021   OB   2/16/2021   WN;3551;TPA;BUF;WN;3551;BUF;BWI;WN;408 WEST KAREN             CT                 US   12638   138052277@AIRLINE.KIWI.COM
32LWIM    2/15/2021   OB   2/18/2021   WN;4084;PDX;SJC;WN;1571;SJC;SNA        NEW SAMANTHA           ND                 US   83597   138058217@AIRLINE.KIWI.COM
32LWIM    2/15/2021   RT   2/22/2021   WN;4913;SNA;OAK;WN;4913;OAK;PDX        NEW SAMANTHA           ND                 US   83597   138058217@AIRLINE.KIWI.COM
32SEH9    2/15/2021   OB   2/18/2021   WN;109;PVR;HOU                         KARICHESTER            OR                 US   82824   137000985.1549841@AIRLINE.KIWI.COM
32SEH9    2/15/2021   OB   2/18/2021   WN;109;PVR;HOU                         KARICHESTER            OR                 US   82824   137000985.1549841@AIRLINE.KIWI.COM
33KMJT    2/15/2021   OB   3/10/2021   WN;408;BWI;CVG                         HEIDIBURY              UT                 US   40525   138062518@AIRLINE.KIWI.COM
33NH2J    2/15/2021   OB   3/10/2021   WN;2534;MHT;BWI                        REBECCABURY            UT                 US   34126   138062518@AIRLINE.KIWI.COM
39OEKC    2/16/2021   OB   4/20/2021   WN;962;MIA;BNA;WN;962;BNA;MSP          NEW VICTORIA           OH                 US   48063   138082153@AIRLINE.KIWI.COM
39OEKC    2/16/2021   OB   4/20/2021   WN;962;MIA;BNA;WN;962;BNA;MSP          NEW VICTORIA           OH                 US   48063   138082153@AIRLINE.KIWI.COM
3BY3U3    2/16/2021   OB   2/22/2021   WN;4145;MIA;TPA                        HALLTOWN               CA                 US   85683   138087169@AIRLINE.KIWI.COM
3BZ788    2/16/2021   OB   2/18/2021   WN;3136;OKC;DEN                        EAST REBECCAMOUTH      OR                 US   69766   138086894@AIRLINE.KIWI.COM
3D76MA    2/16/2021   OB    3/1/2021   WN;3140;DTW;MDW;WN;2702;MDW;LGA        WEST CALVIN            RI                 US   39617   138086300@AIRLINE.KIWI.COM
3D76MA    2/16/2021   OB    3/1/2021   WN;3140;DTW;MDW;WN;2702;MDW;LGA        WEST CALVIN            RI                 US   39617   138086300@AIRLINE.KIWI.COM
3E2DQ9    2/16/2021   OB   2/24/2021   WN;3203;BNA;FLL                        EAST ERIKSHIRE         MO                 US    3299   138092878@AIRLINE.KIWI.COM
3FM2P8    2/16/2021   OB   2/16/2021   WN;2875;LAS;SNA;WN;2875;SNA;SJC;WN;2877PORT EILEEN            CA                 US   72933   138098400@AIRLINE.KIWI.COM
3FM2P8    2/16/2021   OB   2/16/2021   WN;2875;LAS;SNA;WN;2875;SNA;SJC;WN;2877PORT EILEEN            CA                 US   72933   138098400@AIRLINE.KIWI.COM
3GV2MP    2/16/2021   OB   2/16/2021   WN;3022;SNA;LAS                        WEST JAMESBURY         OR                 US     626   138104582@AIRLINE.KIWI.COM
3JD5ED    2/16/2021   OB   2/16/2021   WN;4842;PHX;SMF;WN;4842;SMF;SEA        FRASERTON              BEDFORD            GB   65222   138116385@AIRLINE.KIWI.COM
3MIINP    2/16/2021   OB   2/17/2021   WN;1059;MSY;BWI;WN;1059;BWI;DEN        LEAHVIEW               ID                 US    9348   138133457@AIRLINE.KIWI.COM
3MJ9LJ    2/16/2021   OB   3/24/2021   WN;2186;ATL;DEN;WN;1024;DEN;SFO        PORT CHRISTOPHER       MT                 US   20843   138132698@AIRLINE.KIWI.COM
3MPB9N    2/16/2021   OB   2/19/2021   WN;2996;DSM;DEN;WN;4982;DEN;HOU        PRICETON               VT                 US   85057   138134172@AIRLINE.KIWI.COM
3MRV6O    2/16/2021   OB   3/17/2021   WN;845;HOU;SAN                         LAKE BRANDONBERG       TN                 US   62512   138134337@AIRLINE.KIWI.COM
3N2ZS5    2/16/2021   OB   2/17/2021   WN;239;AUS;SJC                         RILEYLAND              IN                 US    3728   137927086.1550260@AIRLINE.KIWI.COM
3N4P9P    2/16/2021   OB   2/17/2021   WN;1564;SJC;PHX                        NEW KELLYPORT          TN                 US   19889   137927086.1550260@AIRLINE.KIWI.COM
3NENZH    2/16/2021   OB   2/22/2021   WN;2051;ATL;MDW                        NEW JOHN               SD                 US   94260   138137560@AIRLINE.KIWI.COM
3NENZH    2/16/2021   OB   2/22/2021   WN;2051;ATL;MDW                        NEW JOHN               SD                 US   94260   138137560@AIRLINE.KIWI.COM
3NU353    2/16/2021   OB   2/17/2021   WN;4118;FLL;MDW                        NEW CATHERINE          HI                 US    1923   138140453@AIRLINE.KIWI.COM
3O54TM    2/16/2021   OB   2/19/2021   WN;1593;SNA;DEN                        NEW CHRISTOPHER        UT                 US   12076   138141663@AIRLINE.KIWI.COM
3O7DE3    2/16/2021   OB   2/17/2021   WN;2618;HOU;BNA;WN;2618;BNA;ATL        LAKE CRAIG             UT                 US    2525   138142158@AIRLINE.KIWI.COM
3O8UMD    2/16/2021   OB   2/16/2021   WN;2723;HOU;MIA                        SAN DANIELA LOS BAJO   QUERETARO          MX   45948   138141443@AIRLINE.KIWI.COM
3OGW9M    2/16/2021   OB   2/16/2021   WN;2323;DEN;CLT                        NEW MARY               FL                 US   89866   138143786@AIRLINE.KIWI.COM
3OO7SX    2/16/2021   OB   2/17/2021   WN;2884;DEN;DAL                        RYANMOUTH              AZ                 US   90566   138144006@AIRLINE.KIWI.COM
3OQ7MJ    2/16/2021   OB   2/17/2021   WN;2346;ATL;TPA;WN;4279;TPA;MIA        MARYSHIRE              FL                 US   89676   138145117@AIRLINE.KIWI.COM
3OR9DZ    2/16/2021   OB    3/8/2021   WN;403;ATL;BNA;WN;468;BNA;DTW          LAKE ROBERT            NJ                 US   79770   138144501@AIRLINE.KIWI.COM
3OVNIX    2/16/2021   OB    3/8/2021   WN;403;ATL;BNA;WN;468;BNA;DTW          PORT JOHNMOUTH         MI                 US   88850   138145062@AIRLINE.KIWI.COM
3PN7FT    2/16/2021   OB   2/17/2021   WN;794;LAS;SJC;WN;159;SJC;LAX          JEREMYMOUTH            UT                 US   84513   138148307@AIRLINE.KIWI.COM
3PN7FT    2/16/2021   OB   2/17/2021   WN;794;LAS;SJC;WN;159;SJC;LAX          JEREMYMOUTH            UT                 US   84513   138148307@AIRLINE.KIWI.COM
3PN7FT    2/16/2021   OB   2/17/2021   WN;794;LAS;SJC;WN;159;SJC;LAX          JEREMYMOUTH            UT                 US   84513   138148307@AIRLINE.KIWI.COM
3PN7FT    2/16/2021   OB   2/17/2021   WN;794;LAS;SJC;WN;159;SJC;LAX          JEREMYMOUTH            UT                 US   84513   138148307@AIRLINE.KIWI.COM
3PP2AN    2/16/2021   OB   2/24/2021   WN;4158;DEN;SMF                        EAST BRADLEY           MO                 US   95240   138148857@AIRLINE.KIWI.COM
3PP2AN    2/16/2021   RT    3/1/2021   WN;4925;SMF;DEN                        EAST BRADLEY           MO                 US   95240   138148857@AIRLINE.KIWI.COM
3PPSS7    2/16/2021   OB   2/24/2021   WN;2026;ATL;DEN                        BLACKSTAD              VT                 US   50972   138148857@AIRLINE.KIWI.COM
3PR5WV    2/16/2021   OB    3/1/2021   WN;2634;DEN;ATL                        CLARKFORT              AZ                 US   49674   138148857@AIRLINE.KIWI.COM
3PWWUP    2/16/2021   OB   2/22/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS        NAGELE                 FL                 US   66579   138090117@AIRLINE.KIWI.COM
3Q9K5A    2/16/2021   OB   3/14/2021   WN;4446;LAS;LAX                        SCHMIDTFURT            TX                 US    4210   138151123@AIRLINE.KIWI.COM
3QGNP3    2/16/2021   OB   3/22/2021   WN;341;PHX;DTW                         MCGUIREHAVEN           CO                 US   29169   138152245@AIRLINE.KIWI.COM
3QODCD    2/16/2021   OB   2/17/2021   WN;3435;HOU;OAK;WN;3040;OAK;SNA        WEST MELANIETON        NE                 US   31368   138153081@AIRLINE.KIWI.COM
3QWSJU    2/16/2021   OB   2/19/2021   WN;5029;MDW;CLE;WN;55;CLE;ATL          PORT MONICA            WV                 US   30915   138154269@AIRLINE.KIWI.COM
3QXRJL    2/16/2021   OB   2/21/2021   WN;953;ATL;BNA;WN;495;BNA;ORD          JERRYSIDE              GA                 US   90533   138154269@AIRLINE.KIWI.COM
3R76K8    2/16/2021   OB   4/10/2021   WN;2933;OAK;SAN                        MORGANVILLE            ND                 US   26299   138154720@AIRLINE.KIWI.COM
3R76K8    2/16/2021   RT   4/18/2021   WN;892;SAN;OAK                         MORGANVILLE            ND                 US   26299   138154720@AIRLINE.KIWI.COM
3RJTOF    2/16/2021   OB    3/3/2021   WN;2323;DEN;CLT                        NATHANCHESTER          AR                 US   54317   138155776@AIRLINE.KIWI.COM
3RKXM3    2/16/2021   OB    3/3/2021   WN;2323;DEN;CLT                        NEW BETH               AZ                 US   33025   138155809@AIRLINE.KIWI.COM
3RZLEK    2/16/2021   OB   2/16/2021   WN;4305;SMF;ONT                        CLARKSHIRE             VT                 US    6367   138157481@AIRLINE.KIWI.COM
3S5IUB    2/16/2021   OB   3/21/2021   WN;597;DEN;BUF                         NORTH COLETOWN         NE                 US   60539   138158174@AIRLINE.KIWI.COM
3SCQ7I    2/16/2021   OB    3/6/2021   WN;1551;MSY;DEN;WN;2641;DEN;SMF        CARRBERG               MT                 US   80462   138158702@AIRLINE.KIWI.COM
3SD8NL    2/16/2021   OB   2/18/2021   WN;2104;HOU;PHX                        JACKSHIRE              WY                 US   58442   136811785.1550368@AIRLINE.KIWI.COM
3SITDT    2/16/2021   OB   2/17/2021   WN;2841;DAL;DEN                        NEW ROBERT             CO                 US   72779   136731122.1550372@AIRLINE.KIWI.COM
3SXGMR    2/16/2021   OB   2/17/2021   WN;1898;CLT;DEN;WN;1426;DEN;BUR;WN;142 SOUTH JAMES            SD                 US   92538   138160220@AIRLINE.KIWI.COM
3T9VMD    2/16/2021   OB   2/23/2021   WN;4536;PHX;SAN                        PARKERSTAD             KS                 US   41572   138161056@AIRLINE.KIWI.COM
3TD3IW    2/16/2021   OB   2/18/2021   WN;4476;DEN;MSY                        WEST LAURATON          IL                 US   83009   138161320@AIRLINE.KIWI.COM
3TD44O    2/16/2021   OB    3/6/2021   WN;4114;ONT;DEN                        NEW KELLYVILLE         CO                 US   74463   138161254@AIRLINE.KIWI.COM




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3TD44O    2/16/2021   OB    3/6/2021   WN;4114;ONT;DEN                       NEW KELLYVILLE        CO                 US    74463   138161254@AIRLINE.KIWI.COM
3TINEY    2/16/2021   OB   2/24/2021   WN;1541;LAS;SFO                       WEST SARABURGH        MI                 US    34475   138161529@AIRLINE.KIWI.COM
3TKMCP    2/17/2021   OB   3/13/2021   WN;1471;DEN;ONT                       NORTH GREGORY         MI                 US    89675   138161793@AIRLINE.KIWI.COM
3TKMCP    2/17/2021   OB   3/13/2021   WN;1471;DEN;ONT                       NORTH GREGORY         MI                 US    89675   138161793@AIRLINE.KIWI.COM
3TSYD4    2/17/2021   OB   2/20/2021   WN;32;ATL;LGA                         LEAHBOROUGH           AZ                 US    82695   138162321@AIRLINE.KIWI.COM
3U4L48    2/17/2021   OB   2/22/2021   WN;4192;MDW;DEN                       JASONBURY             CA                 US    36180   138162805@AIRLINE.KIWI.COM
3U6KUM    2/17/2021   OB   2/17/2021   WN;3304;BNA;SRQ                       MONIQUETON            TN                 US    96081   138163003@AIRLINE.KIWI.COM
3U7BEI    2/17/2021   OB   2/19/2021   WN;1424;ORD;BNA;WN;3959;BNA;ATL       NEW SHAWNFORT         WI                 US    29441   138163091@AIRLINE.KIWI.COM
3U8YY7    2/17/2021   OB   2/17/2021   WN;2775;DAL;LGA                       PAGARALAM             SULAWESI SELATAN   ID    74476   138162981@AIRLINE.KIWI.COM
3UKCGQ    2/17/2021   OB   4/23/2021   WN;2637;BNA;MIA                       MADISONBURY           NC                 US    44874   138163883@AIRLINE.KIWI.COM
3UKCGQ    2/17/2021   OB   4/23/2021   WN;2637;BNA;MIA                       MADISONBURY           NC                 US    44874   138163883@AIRLINE.KIWI.COM
3V6R68    2/17/2021   OB   2/17/2021   WN;192;CHS;HOU                        ELLISTOWN             MO                 US    24408   138164994@AIRLINE.KIWI.COM
3V6R68    2/17/2021   OB   2/18/2021   WN;3435;HOU;OAK;WN;3040;OAK;SNA       ELLISTOWN             MO                 US    24408   138164994@AIRLINE.KIWI.COM
3V6R68    2/17/2021   OB   2/17/2021   WN;192;CHS;HOU                        ELLISTOWN             MO                 US    24408   138164994@AIRLINE.KIWI.COM
3V6R68    2/17/2021   OB   2/18/2021   WN;3435;HOU;OAK;WN;3040;OAK;SNA       ELLISTOWN             MO                 US    24408   138164994@AIRLINE.KIWI.COM
3V7XAO    2/17/2021   OB   2/17/2021   WN;4908;SLC;DEN;WN;4782;DEN;OMA       WHITESIDE             SC                 US    37871   138165192@AIRLINE.KIWI.COM
3VGYIW    2/17/2021   OB    3/4/2021   WN;2566;LAS;HOU                       PORT JIMMYCHESTER     MT                 US    52863   138165489@AIRLINE.KIWI.COM
3VGYIW    2/17/2021   RT    3/8/2021   WN;158;HOU;LAS                        PORT JIMMYCHESTER     MT                 US    52863   138165489@AIRLINE.KIWI.COM
3VLBFK    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        ARNOLDBURY            CT                 US    49480   138165995@AIRLINE.KIWI.COM
3VYOSU    2/17/2021   OB   2/17/2021   WN;4982;LAS;SMF                       KARENMOUTH            SD                 US    41617   138166567@AIRLINE.KIWI.COM
3WBI2U    2/17/2021   OB   2/17/2021   WN;4131;MIA;HOU                       BROWNHAVEN            NY                 US    95015   138167491@AIRLINE.KIWI.COM
3WFILE    2/17/2021   OB   2/27/2021   WN;2455;DEN;PHX                       RICHARDMOUTH          NY                 US    10269   138167161@AIRLINE.KIWI.COM
3WHFJY    2/17/2021   OB    3/4/2021   WN;4187;DEN;DAL                       CHRISTINAVIEW         ND                 US    95077   138167711@AIRLINE.KIWI.COM
3WJDXA    2/17/2021   OB   2/17/2021   WN;3028;SAN;PHX                       WEST ABIGAIL          MD                 US    90242   138168184@AIRLINE.KIWI.COM
3WJG85    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        REEDSTAD              AZ                 US    96227   138167788@AIRLINE.KIWI.COM
3WJG85    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        REEDSTAD              AZ                 US    96227   138167788@AIRLINE.KIWI.COM
3WP6VN    2/17/2021   OB   2/18/2021   WN;3919;MCI;LAX                       ORTEGAMOUTH           GA                 US    72262   138168283@AIRLINE.KIWI.COM
3X57JL    2/17/2021   OB   2/17/2021   WN;328;CUN;HOU                        NORTH ERIC            MN                 US    46550   137342359.1550432@AIRLINE.KIWI.COM
3X6VYI    2/17/2021   OB   2/21/2021   WN;953;ATL;BNA;WN;4024;BNA;LGA        HANSONBURY            KS                 US    97432   138169636@AIRLINE.KIWI.COM
3X768N    2/17/2021   OB   2/17/2021   WN;1701;LAS;SNA                       FERGUSONMOUTH         OH                 US    35506   138169570@AIRLINE.KIWI.COM
3X825N    2/17/2021   OB   2/17/2021   WN;1059;HOU;MSY                       DANIELBOROUGH         NY                 US     8418   138169922@AIRLINE.KIWI.COM
3XFFYD    2/17/2021   OB   2/27/2021   WN;2878;HOU;MDW                       SOUTH OSCAR           NV                 US     3158   138170494@AIRLINE.KIWI.COM
3XFOAK    2/17/2021   OB   3/21/2021   WN;197;ATL;RDU                        PORT JESSICA          NH                 US    28405   138170307@AIRLINE.KIWI.COM
3XGSAD    2/17/2021   OB   2/22/2021   WN;219;CUN;MDW;WN;1660;MDW;MCI        VIEJA OMAN            QUERETARO          MX    57651   138170131@AIRLINE.KIWI.COM
3XH58E    2/17/2021   OB   2/20/2021   WN;4132;PIT;MDW;WN;1509;MDW;OAK       NORTH VICTORLAND      AL MAFRAQ          JO    30270   138170329@AIRLINE.KIWI.COM
3XKCFG    2/17/2021   OB   2/19/2021   WN;4259;OAK;BUR                       RWSTY HNNH            QOM                IR    67164   138170703@AIRLINE.KIWI.COM
3XKCFG    2/17/2021   OB   2/19/2021   WN;4259;OAK;BUR                       RWSTY HNNH            QOM                IR    67164   138170703@AIRLINE.KIWI.COM
3XTQIZ    2/17/2021   OB   2/17/2021   WN;2672;BWI;BDL                       CECILIEHELLE          HEDMARK            NO    16139   138171154@AIRLINE.KIWI.COM
3XUOYQ    2/17/2021   OB   2/19/2021   WN;2443;MCO;MDW                       CHRISTINECHESTER      VA                 US    47655   137926767.1550437@AIRLINE.KIWI.COM
3YEWEW    2/17/2021   OB    3/3/2021   WN;2622;STL;TPA                       PORT HALEY            UT                 US    71515   138172485@AIRLINE.KIWI.COM
3YEWEW    2/17/2021   OB    3/3/2021   WN;2622;STL;TPA                       PORT HALEY            UT                 US    71515   138172485@AIRLINE.KIWI.COM
3YFJ6D    2/17/2021   OB   2/19/2021   WN;4192;MDW;DEN                       LAKE JOSHUABURY       AZ                 US    63263   138172881@AIRLINE.KIWI.COM
3YHAQ7    2/17/2021   OB   2/17/2021   WN;5013;MIA;TPA;WN;5011;TPA;ATL       LAKE JOHN             MN                 US    32226   138172650@AIRLINE.KIWI.COM
3YHGYN    2/17/2021   OB    3/3/2021   WN;2622;STL;TPA                       NORTH CRYSTALMOUTH    OR                 US    46449   138172485@AIRLINE.KIWI.COM
3YJZ4N    2/17/2021   OB   2/27/2021   WN;2578;BUR;OAK                       STN MLYKH             GILAN              IR    46515   138172782@AIRLINE.KIWI.COM
3YOYL8    2/17/2021   OB   2/17/2021   WN;4078;MIA;MDW;WN;3285;MDW;DEN;WN; EAST LAURA              CO                 US    73841   138173101@AIRLINE.KIWI.COM
3YZI3K    2/17/2021   OB   2/19/2021   WN;5493;ONT;DEN                       KUMPKOONNM            KERALA             IN    93231   138174036@AIRLINE.KIWI.COM
3YZZ2P    2/17/2021   OB   3/11/2021   WN;1224;MIA;MDW;WN;2090;MDW;MSP       NORTH TIMOTHYVIEW     ME                 US    11030   138173750@AIRLINE.KIWI.COM
3ZZ6CR    2/17/2021   OB   2/28/2021   WN;2820;ONT;SJC                       THORNTONBURGH         UT                 US    61459   138176115@AIRLINE.KIWI.COM
3ZZ6CR    2/17/2021   OB   2/28/2021   WN;2820;ONT;SJC                       THORNTONBURGH         UT                 US    61459   138176115@AIRLINE.KIWI.COM
42LM9A    2/17/2021   OB   2/17/2021   WN;1362;SFO;LAS                       MELINDALAND           NH                 US    26471   138177842@AIRLINE.KIWI.COM
42U4PZ    2/17/2021   OB   2/27/2021   WN;2433;DAL;MCO                       ANTHONYLAND           NE                 US    45262   138178755@AIRLINE.KIWI.COM
44B4YS    2/17/2021   OB    3/3/2021   WN;149;HOU;BWI                        SOUTH ALEXANDERSIDE   NY                 US    15178   138183254@AIRLINE.KIWI.COM
44B4YS    2/17/2021   RT    3/4/2021   WN;2223;BWI;HOU                       SOUTH ALEXANDERSIDE   NY                 US    15178   138183254@AIRLINE.KIWI.COM
44TBCO    2/17/2021   OB   2/17/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX       EAST CHASECHESTER     HI                 US    41875   138185509@AIRLINE.KIWI.COM
456KLB    2/17/2021   OB    3/4/2021   WN;3786;PHX;MDW                       SOUTH BRIANBOROUGH    PA                 US    95375   138187236@AIRLINE.KIWI.COM
45D4O7    2/17/2021   OB   2/18/2021   WN;2028;AUS;LAS                       ERNESTHAVEN           VA                 US    97688   138187478@AIRLINE.KIWI.COM
45ROEJ    2/17/2021   OB   2/17/2021   WN;3243;SJU;MCO                       JARVISFURT            NC                 US    96713   138189711@AIRLINE.KIWI.COM
45ROEJ    2/17/2021   OB   2/17/2021   WN;3243;SJU;MCO                       JARVISFURT            NC                 US    96713   138189711@AIRLINE.KIWI.COM
466KHK    2/17/2021   OB   2/19/2021   WN;1764;PBI;ATL                       DHSTN BS              FARS               IR    10475   138192186@AIRLINE.KIWI.COM
46UGY4    2/17/2021   OB   2/18/2021   WN;3348;LGA;ATL                       NEW KEVIN             CO                 US    93952   138195090@AIRLINE.KIWI.COM
46UGY4    2/17/2021   OB   2/18/2021   WN;3348;LGA;ATL                       NEW KEVIN             CO                 US    93952   138195090@AIRLINE.KIWI.COM
47TZVQ    2/17/2021   OB   2/20/2021   WN;898;FLL;STL;WN;1095;STL;LGA        LAKE MELISSA          GA                 US    90127   138199820@AIRLINE.KIWI.COM
48L3X4    2/17/2021   OB   2/17/2021   WN;2707;ATL;LGA                       WILSONTOWN            ME                 US    36882   138203670@AIRLINE.KIWI.COM
492LML    2/17/2021   OB   3/22/2021   WN;833;MDW;CLE                        NEW ANDREW            CO                 US    89087   138206497@AIRLINE.KIWI.COM
49DTXE    2/17/2021   OB   2/25/2021   WN;791;IAD;ATL;WN;3082;ATL;MCO        SANDERSBERG           TN                 US     5194   138207575@AIRLINE.KIWI.COM
49NKOS    2/17/2021   OB   2/19/2021   WN;1424;ORD;BNA;WN;3959;BNA;ATL       ANDRADETOWN           NV                 US    89473   138176687@AIRLINE.KIWI.COM
4A56Z2    2/17/2021   OB   2/17/2021   WN;919;LAX;LAS                        KEVINFORT             AL                 US    75113   138211480@AIRLINE.KIWI.COM
4A63LH    2/17/2021   OB   2/17/2021   WN;2999;SNA;LAS                       MERRITTBERG           WV                 US    10504   138211766@AIRLINE.KIWI.COM
4A89A5    2/17/2021   OB   2/18/2021   WN;198;SJU;MCO                        JENNIFERSIDE          TX                 US    62740   138212206@AIRLINE.KIWI.COM
4A89A5    2/17/2021   OB   2/18/2021   WN;198;SJU;MCO                        JENNIFERSIDE          TX                 US    62740   138212206@AIRLINE.KIWI.COM
4ANZDZ    2/17/2021   OB   2/22/2021   WN;4264;DEN;MSP                       WATKINSVILLE          OR                 US    14545   138214769@AIRLINE.KIWI.COM
4AQSYI    2/17/2021   OB   3/21/2021   WN;1212;MDW;LAS                       BRYANTFORT            OH                 US    36660   138214659@AIRLINE.KIWI.COM
4AQSYI    2/17/2021   OB   3/21/2021   WN;1212;MDW;LAS                       BRYANTFORT            OH                 US    36660   138214659@AIRLINE.KIWI.COM
4B6VWD    2/17/2021   OB    3/3/2021   WN;715;DEN;ATL                        EAST EMMA             ME                 US    82473   138216749@AIRLINE.KIWI.COM
4BA7U2    2/17/2021   OB   2/25/2021   WN;5067;ATL;MCO                       DEANSHIRE             VA                 US     2726   138217145@AIRLINE.KIWI.COM
4BB4I7    2/17/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;305;HOU;CUN        ERMES SARDO           RIMINI             IT    65489   138217640@AIRLINE.KIWI.COM
4BB4I7    2/17/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;305;HOU;CUN        ERMES SARDO           RIMINI             IT    65489   138217640@AIRLINE.KIWI.COM
4BB4I7    2/17/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;305;HOU;CUN        ERMES SARDO           RIMINI             IT    65489   138217640@AIRLINE.KIWI.COM
4BR9FU    2/17/2021   OB   2/20/2021   WN;3808;ATL;DEN;WN;1668;DEN;ORD       SDG                   SDG                IN   422009   138166237@AIRLINE.KIWI.COM
4CPTRQ    2/17/2021   OB   2/17/2021   WN;4187;DEN;DAL                       THOMPSONVILLE         CT                 US    42465   137914766.1550730@AIRLINE.KIWI.COM
4D29ZE    2/17/2021   OB   2/17/2021   WN;4099;ATL;PHL                       NEW CHRISTOPHER       MO                 US    24402   138224977@AIRLINE.KIWI.COM
4DET5V    2/17/2021   OB   2/17/2021   WN;919;LAX;LAS                        MICHAELBERG           IA                 US    76364   138227837@AIRLINE.KIWI.COM
4DKB2M    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        EAST GREG             AZ                 US    79529   138228464@AIRLINE.KIWI.COM
4DKB2M    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        EAST GREG             AZ                 US    79529   138228464@AIRLINE.KIWI.COM
4FJRRK    2/17/2021   OB   2/17/2021   WN;5078;OAK;LAX                       NEW JAMESBURGH        ID                 US    75692   138237891@AIRLINE.KIWI.COM
4FLRIY    2/17/2021   OB    3/3/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;25 SOUTH MELISSA         AK                 US    70421   138226924@AIRLINE.KIWI.COM
4FSKR3    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        SOUTH SARAMOUTH       AK                 US     6952   138239035@AIRLINE.KIWI.COM
4FSKR3    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        SOUTH SARAMOUTH       AK                 US     6952   138239035@AIRLINE.KIWI.COM
4FTEPJ    2/17/2021   OB    3/5/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;25 DAVIDSONBURY          AK                 US    44723   138226561@AIRLINE.KIWI.COM
4FWH7A    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        LAKE TODDMOUTH        HI                 US    37713   138239827@AIRLINE.KIWI.COM
4FWH7A    2/17/2021   OB   2/17/2021   WN;400;LAS;LAX                        LAKE TODDMOUTH        HI                 US    37713   138239827@AIRLINE.KIWI.COM
4H69NF    2/17/2021   OB   3/23/2021   WN;2122;LIH;HNL                       NEW LINDSAY           WY                 US    95839   138242489@AIRLINE.KIWI.COM
4HHIPI    2/17/2021   OB   3/18/2021   WN;1962;MIA;DEN;WN;1962;DEN;SAN;WN;165LOS ANGELES           CA                 US    90045   138241609@AIRLINE.KIWI.COM
4HJ26B    2/17/2021   OB   4/29/2021   WN;1177;LAX;DEN;WN;415;DEN;ATL        PORT SHELLY           ND                 US    26901   138244645@AIRLINE.KIWI.COM
4HJ26B    2/17/2021   RT    5/2/2021   WN;1075;ATL;SAT;WN;1075;SAT;LAX       PORT SHELLY           ND                 US    26901   138244645@AIRLINE.KIWI.COM
4IXTKB    2/18/2021   OB   3/12/2021   WN;1574;PHX;MDW;WN;2165;MDW;BOS       ARMSTRONGVILLE        ID                 US    28999   138248484@AIRLINE.KIWI.COM
4IXTKB    2/18/2021   RT   3/16/2021   WN;303;BOS;STL;WN;686;STL;PHX         ARMSTRONGVILLE        ID                 US    28999   138248484@AIRLINE.KIWI.COM
4KBY3D    2/18/2021   OB   5/20/2021   WN;375;GEG;PHX;WN;1410;PHX;SFO        RICHARDSONBURY        AR                 US    48213   138251839@AIRLINE.KIWI.COM
4KCUBN    2/18/2021   OB   3/24/2021   WN;3423;ATL;SAN                       EAST KATHLEEN         MD                 US    18025   138252026@AIRLINE.KIWI.COM
4MFTS9    2/18/2021   OB   2/18/2021   WN;2618;HOU;BNA;WN;2618;BNA;ATL       JOSEPHSIDE            WY                 US    18215   138256811@AIRLINE.KIWI.COM




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4MVV9O   2/18/2021 OB   2/18/2021 WN;2618;HOU;BNA;WN;2618;BNA;ATL   RODNEYMOUTH     CT          US    57001 138257856@AIRLINE.KIWI.COM
4NGWCY   2/18/2021 OB    3/3/2021 WN;2346;MCI;ATL;WN;2434;ATL;IND   HENDERSONVIEW   MI          US    99827 138249364@AIRLINE.KIWI.COM
4NGWCY   2/18/2021 OB    3/3/2021 WN;2346;MCI;ATL;WN;2434;ATL;IND   HENDERSONVIEW   MI          US    99827 138249364@AIRLINE.KIWI.COM




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PNR_REC_LOC_ID PNR_CRE_DT ITIN_PART FLT_DEP_DT ITIN                                BILL_CITY              BILL_ST_PRVC       BILL_CNTRY BILL_ZIP EMAIL
235GXP            1/14/2021 OB         1/24/2021 WN;412;DAL;BWI                    TAMMYSIDE              MT                 US            46119 135481643@KACHIPYTEL.COM
235GXP            1/14/2021 OB         1/24/2021 WN;771;BWI;TPA                    TAMMYSIDE              MT                 US            46119 135481643@KACHIPYTEL.COM
237T4B            1/14/2021 OB         1/14/2021 WN;3343;LGA;ATL;WN;5067;ATL;MCO   LAKE LYDIA             TX                 US            66938 135482292@KACHIPYTEL.COM
23N4AM            1/14/2021 OB         1/19/2021 WN;2028;AUS;LAS;WN;3326;LAS;PDX   WRIGHTLAND             TX                 US            73220 135483513@KACHIPYTEL.COM
23RX6N            1/14/2021 OB         1/25/2021 WN;3276;LAX;BNA;WN;2522;BNA;MCO   VEGAVILLE              WI                 US            51881 135483667@KACHIPYTEL.COM
23VBFB            1/14/2021 OB         1/16/2021 WN;1677;LGA;ATL;WN;2829;ATL;FLL   NEW HANNAHMOUTH        AL                 US            61764 135484195@KACHIPYTEL.COM
24FY5R            1/14/2021 OB         1/15/2021 WN;800;PHX;AUS;WN;4065;AUS;LGB    SOUTH JOSEPHBOROUGH    IL                 US            69236 135485944@KACHIPYTEL.COM
24HM6P            1/14/2021 OB         1/24/2021 WN;4751;RIC;ATL;WN;3948;ATL;FLL   EDWARDSSIDE            NE                 US            87683 135485295@KACHIPYTEL.COM
24MH4Q            1/14/2021 OB         1/17/2021 WN;4773;RSW;STL;WN;3422;STL;LGA   WEST MONICA            MS                 US             9515 135486263@KACHIPYTEL.COM
253W2H            1/14/2021 OB         1/17/2021 WN;4385;SEA;OAK;WN;1151;OAK;PHX   MARYBURGH              ND                 US            72346 135484525@KACHIPYTEL.COM
254OIU            1/14/2021 OB         1/18/2021 WN;2395;PHX;HOU;WN;3459;HOU;TUL   SERRANOSTAD            CO                 US            51766 135487506@KACHIPYTEL.COM
25E93S            1/14/2021 OB         1/18/2021 WN;2104;PHX;BWI;WN;408;BWI;CVG    SOUTH KATHERINECHEST   HI                 US            26565 135488980@KACHIPYTEL.COM
25JEYE            1/14/2021 OB         1/14/2021 WN;4954;BWI;PHX;WN;3382;PHX;SEA   WEST JASONBURY         NE                 US            24941 135488980@KACHIPYTEL.COM
25SF56            1/14/2021 OB         2/12/2021 WN;2664;BOS;BNA;WN;2931;BNA;MDW   FOSTERMOUTH            NC                 US            70641 135490366@KACHIPYTEL.COM
26M9ZG            1/14/2021 OB         1/16/2021 WN;1677;LGA;ATL;WN;2829;ATL;FLL   PORT TODDMOUTH         LA                 US            67210 135492423@KACHIPYTEL.COM
27ERBP            1/14/2021 OB         1/18/2021 WN;4838;SEA;SMF;WN;1493;SMF;LAS   PORT BRIANSTAD         UT                 US            93747 135493974@KACHIPYTEL.COM
27F4G3            1/14/2021 OB         1/28/2021 WN;4943;PHX;SMF;WN;1344;SMF;ONT   DEBRABOROUGH           RI                 US            85883 135494293@KACHIPYTEL.COM
27HIFK            1/14/2021 OB          3/7/2021 WN;1042;LAS;MDW;WN;535;MDW;CVG    CHARLESSHIRE           AR                 US            67104 135494381@KACHIPYTEL.COM
27HIFK            1/14/2021 OB          3/7/2021 WN;1042;LAS;MDW;WN;535;MDW;CVG    CHARLESSHIRE           AR                 US            67104 135494381@KACHIPYTEL.COM
27I6KB            1/14/2021 OB         1/19/2021 WN;360;ATL;BWI                    JAMIEHAVEN             ND                 US            19139 135493754@KACHIPYTEL.COM
286OBX            1/14/2021 OB         1/16/2021 WN;135;LGA;ATL;WN;2920;ATL;FLL    MARKSHIRE              NY                 US            88862 135495998@KACHIPYTEL.COM
28DTYO            1/14/2021 OB         1/21/2021 WN;2753;DCA;MDW                   NORTH JEFFREY          WY                 US            86350 135496746@KACHIPYTEL.COM
28GSLA            1/14/2021 OB         2/13/2021 WN;4002;SAT;MCO;WN;3637;MCO;MSY   COXMOUTH               NE                 US            78541 135496867@KACHIPYTEL.COM
28OLW9            1/14/2021 OB         1/24/2021 WN;2835;STL;BWI;WN;1657;BWI;CLE   JAMESFORT              CT                 US             2585 135497494@KACHIPYTEL.COM
28TD8U            1/14/2021 OB         1/22/2021 WN;2969;DCA;STL                   NORTH KIMBERLYSTAD     WV                 US            16333 135497494@KACHIPYTEL.COM
292V6N            1/14/2021 OB         1/20/2021 WN;3978;DEN;MCI;WN;4980;MCI;MDW   LAURABOROUGH           MS                 US            25582 135498143@KACHIPYTEL.COM
29JQBN            1/14/2021 OB         1/14/2021 WN;1534;LAS;SMF;WN;4902;SMF;LGB   EAST DONALD            MS                 US            81151 135498770@KACHIPYTEL.COM
2BGZIE            1/14/2021 OB         1/14/2021 WN;205;RDU;MDW;WN;3339;MDW;TPA    LOPEZFURT              CA                 US            79106 135504721@KACHIPYTEL.COM
2BJUTL            1/14/2021 OB         1/24/2021 WN;3343;STL;LAS;WN;2905;LAS;OKC   JEFFREYCHESTER         AZ                 US            69593 135505183@KACHIPYTEL.COM
2C3W2T            1/14/2021 OB         1/18/2021 WN;1588;TPA;MDW;WN;1305;MDW;OAK   SAWAHLUNTO             JAWA TIMUR         ID            20354 135507218@KACHIPYTEL.COM
2FR5MT            1/14/2021 OB         1/30/2021 WN;3664;LAS;STL                   SHAWNBURY              NH                 US            92665 135525445@KACHIPYTEL.COM
2GM36Y            1/14/2021 OB         1/23/2021 WN;6256;ATL;IND;WN;3327;IND;TPA   CHAUVINSURMER          HAUTESAONE         FR            16882 135528998@KACHIPYTEL.COM
2GM36Y            1/14/2021 OB         1/23/2021 WN;6256;ATL;IND;WN;3327;IND;TPA   CHAUVINSURMER          HAUTESAONE         FR            16882 135528998@KACHIPYTEL.COM
2GOZ29            1/14/2021 OB         1/14/2021 WN;715;ATL;BWI;WN;3933;BWI;DTW    EDWARDSHAVEN           DE                 US            18646 135530263@KACHIPYTEL.COM
2H4FUH            1/14/2021 OB         1/14/2021 WN;2174;ORF;MCO;WN;4577;MCO;BUF   JESSICABOROUGH         HI                 US            23619 135532089@KACHIPYTEL.COM
2HHLZQ            1/14/2021 OB         1/17/2021 WN;240;MDW;HOU;WN;1619;HOU;DAL    JOHNSONBURGH           PA                 US             8236 135533497@KACHIPYTEL.COM
2HNHMY            1/14/2021 OB         1/14/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW    GYOR                   KOMAROMESZTERGOM   HU            89627 135534949@KACHIPYTEL.COM
2HXE4E            1/14/2021 OB         1/17/2021 WN;4615;PHX;MDW;WN;3167;MDW;MSP   SOUTH TRACIHAVEN       KS                 US            20422 135535609@KACHIPYTEL.COM
2HYKDY            1/14/2021 OB         1/25/2021 WN;3907;DEN;LAS                   WEST JONATHANFURT      LA                 US            82441 135536181@KACHIPYTEL.COM
2I2VWJ            1/14/2021 OB         1/18/2021 WN;3429;LAS;DEN;WN;3927;DEN;LAX   WEST JESSESIDE         VA                 US             4157 135536181@KACHIPYTEL.COM
2IAIKR            1/14/2021 OB         1/17/2021 WN;1782;PHX;ATL                   COLELAND               IA                 US            14947 135537853@KACHIPYTEL.COM
2ICAO2            1/14/2021 OB         1/14/2021 WN;360;ATL;BWI;WN;3933;BWI;DTW    PORT DAVID             GA                 US            57565 135538392@KACHIPYTEL.COM
2IDVJ6            1/14/2021 OB         1/15/2021 WN;4115;ATL;MSY                   COURTNEYBURGH          WI                 US            33715 135538040@KACHIPYTEL.COM
2IKXHR            1/14/2021 OB         1/18/2021 WN;4413;DTW;BWI                   JEFFERYBURY            NC                 US            23180 135539393@KACHIPYTEL.COM
2IYOEN            1/14/2021 OB         1/24/2021 WN;1453;SDF;MCO                   WEST JULIEPORT         OH                 US             1230 135541780@KACHIPYTEL.COM
2JA8YQ            1/14/2021 OB         1/15/2021 WN;3435;HOU;OAK;WN;1017;OAK;GEG   WILKINSMOUTH           MD                 US            97056 135543628@KACHIPYTEL.COM
2K2BZ7            1/14/2021 OB         1/24/2021 WN;2193;CLT;MDW;WN;3388;MDW;MCO   REYNOLDSSTAD           AL                 US            92155 135548006@KACHIPYTEL.COM
2KJ46M            1/14/2021 OB         1/25/2021 WN;3714;LAX;BWI                   NORTH ELIZABETHMOUTH   KS                 US            20963 135550327@KACHIPYTEL.COM
2KJ46M            1/14/2021 OB         1/25/2021 WN;3714;LAX;BWI                   NORTH ELIZABETHMOUTH   KS                 US            20963 135550327@KACHIPYTEL.COM
2KJ46M            1/14/2021 OB         1/25/2021 WN;3714;LAX;BWI                   NORTH ELIZABETHMOUTH   KS                 US            20963 135550327@KACHIPYTEL.COM
2KUFCM            1/14/2021 OB         1/15/2021 WN;2042;ATL;HOU;WN;3212;HOU;TPA   NORTH JOHN             ME                 US            79905 135552076@KACHIPYTEL.COM
2KWWBW            1/14/2021 OB         1/18/2021 WN;2770;MCO;DEN;WN;4961;DEN;SAN   NEW KIMBERLYSTAD       ME                 US            65117 135553528@KACHIPYTEL.COM
2KXQKX            1/14/2021 OB         1/16/2021 WN;3085;DEN;MCO;WN;1424;MCO;MCI   EAST ALLISON           VA                 US             2654 135553528@KACHIPYTEL.COM
2KXQKX            1/14/2021 OB         1/16/2021 WN;3085;DEN;MCO;WN;1424;MCO;MCI   EAST ALLISON           VA                 US             2654 135553528@KACHIPYTEL.COM
2KYD25            1/14/2021 OB         1/17/2021 WN;3558;ATL;MDW;WN;2611;MDW;FLL   WEST ETHAN             GA                 US            16464 135553407@KACHIPYTEL.COM
2KYZNK            1/14/2021 OB         1/24/2021 WN;4994;STL;MCO;WN;2597;MCO;ATL   ELLENBOROUGH           MS                 US            98256 135554188@KACHIPYTEL.COM
2L4PES            1/14/2021 OB         1/21/2021 WN;2838;MCO;STL;WN;310;STL;CLT    REEDFORT               IA                 US            32283 135554188@KACHIPYTEL.COM
2L5IQY            1/14/2021 OB         1/18/2021 WN;2770;MCO;DEN;WN;4961;DEN;SAN   MORGANVILLE            RI                 US            13525 135553528@KACHIPYTEL.COM
2L7ZK7            1/14/2021 OB         1/16/2021 WN;135;LGA;ATL;WN;2206;ATL;MCO    SOUTH STEPHEN          FL                 US            30446 135554936@KACHIPYTEL.COM
2L7ZK7            1/14/2021 OB         1/16/2021 WN;135;LGA;ATL;WN;2206;ATL;MCO    SOUTH STEPHEN          FL                 US            30446 135554936@KACHIPYTEL.COM
2MBDWZ            1/14/2021 OB         1/15/2021 WN;2028;AUS;LAS;WN;3326;LAS;PDX   LAKE RYANMOUTH         NC                 US            41468 135561371@KACHIPYTEL.COM
2MD2HT            1/14/2021 OB         1/17/2021 WN;2051;ATL;MDW;WN;2508;MDW;TPA   WEST LINDATON          NM                 US            62463 135561712@KACHIPYTEL.COM
2MP6EP            1/14/2021 OB         1/16/2021 WN;135;LGA;ATL;WN;2206;ATL;MCO    JESSICABURY            AR                 US            18684 135563263@KACHIPYTEL.COM
2MP6EP            1/14/2021 OB         1/16/2021 WN;135;LGA;ATL;WN;2206;ATL;MCO    JESSICABURY            AR                 US            18684 135563263@KACHIPYTEL.COM
2MV4OR            1/14/2021 OB         1/25/2021 WN;3714;LAX;BWI;WN;3984;BWI;FLL   EAST BRANDON           LA                 US            28209 135564748@KACHIPYTEL.COM
2MVYHH            1/14/2021 OB         1/17/2021 WN;735;PHX;MDW;WN;2636;MDW;MSP    WELLSSHIRE             MO                 US            43219 135564792@KACHIPYTEL.COM
2MVYHH            1/14/2021 OB         1/17/2021 WN;735;PHX;MDW;WN;2636;MDW;MSP    WELLSSHIRE             MO                 US            43219 135564792@KACHIPYTEL.COM
2N3FJR            1/14/2021 OB         1/22/2021 WN;3927;DEN;LAX                   JAMESLAND              UT                 US             3561 135564869@KACHIPYTEL.COM
2N5FN4            1/14/2021 OB         1/25/2021 WN;2744;ATL;RDU                   DAVISTON               NM                 US            90573 135565232@KACHIPYTEL.COM
2N9WNI            1/14/2021 OB         1/15/2021 WN;4118;BWI;FLL;WN;6812;FLL;SJU   NORTH ASHLEY           HI                 US            50037 135565639@KACHIPYTEL.COM
2N9WNI            1/14/2021 OB         1/15/2021 WN;4118;BWI;FLL;WN;6812;FLL;SJU   NORTH ASHLEY           HI                 US            50037 135565639@KACHIPYTEL.COM
2N9XBF            1/14/2021 OB          4/4/2021 WN;907;MBJ;BWI;WN;236;BWI;FLL     LAKE KEVINLAND         MA                 US            39841 135566167@KACHIPYTEL.COM
2NAI6V            1/14/2021 OB         1/17/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   HAMILTONBOROUGH        OH                 US            15821 135565639@KACHIPYTEL.COM
2NAI6V            1/14/2021 OB         1/17/2021 WN;5072;FLL;BWI;WN;1657;BWI;CLE   HAMILTONBOROUGH        OH                 US            15821 135565639@KACHIPYTEL.COM
2NM6BY            1/14/2021 OB         1/14/2021 WN;1900;SEA;SMF                   LAKE ADAMBURGH         NE                 US            89850 135022921@KACHIPYTEL.COM
2NN5XI            1/14/2021 OB         1/24/2021 WN;3704;LAS;STL                   WELCHLAND              HI                 US            76325 135567729@KACHIPYTEL.COM
2NSZTG            1/14/2021 OB         1/23/2021 WN;4109;SAT;LAS;WN;4482;LAS;LGB   DONNABURGH             TN                 US            47561 135568037@KACHIPYTEL.COM
2O56XD            1/14/2021 OB         1/17/2021 WN;2708;LGA;MDW;WN;2611;MDW;FLL   SOUTH LAURAMOUTH       TX                 US            30911 135569093@KACHIPYTEL.COM
2OU3N8            1/14/2021 OB         1/22/2021 WN;3468;BOI;DEN;WN;2369;DEN;LGB   MARYMOUTH              IL                 US            17751 135572316@KACHIPYTEL.COM
2P3L92            1/14/2021 OB         1/15/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA   NEW CHASE              WV                 US            30898 135572844@KACHIPYTEL.COM
2PDRYK            1/14/2021 OB         1/24/2021 WN;4997;STL;MDW;WN;5029;MDW;CLE   LAKE MOLLY             UT                 US            38358 135573845@KACHIPYTEL.COM
2PF22U            1/14/2021 OB         1/22/2021 WN;3292;FLL;STL;WN;310;STL;CLT    LAKE NICOLESHIRE       RI                 US            83854 135573845@KACHIPYTEL.COM
2PQK7H            1/15/2021 OB         1/16/2021 WN;135;LGA;ATL;WN;2206;ATL;MCO    LAKE TRAVIS            CO                 US            46102 135575484@KACHIPYTEL.COM
2Q2HBQ            1/15/2021 OB         1/15/2021 WN;5020;TPA;DEN;WN;569;DEN;OAK    WEST EDWARDMOUTH       WI                 US            91928 135575924@KACHIPYTEL.COM
2Q36X4            1/15/2021 OB         1/15/2021 WN;4547;PHL;ATL;WN;2744;ATL;RDU   CRUZBOROUGH            CO                 US            20497 135576177@KACHIPYTEL.COM
2QCGVW            1/15/2021 OB         1/22/2021 WN;2746;RDU;ATL;WN;3082;ATL;MCO   NEW AMANDA             MI                 US            80361 135576870@KACHIPYTEL.COM
2QCGVW            1/15/2021 OB         1/22/2021 WN;2746;RDU;ATL;WN;3082;ATL;MCO   NEW AMANDA             MI                 US            80361 135576870@KACHIPYTEL.COM
2QCGVW            1/15/2021 OB         1/22/2021 WN;2746;RDU;ATL;WN;3082;ATL;MCO   NEW AMANDA             MI                 US            80361 135576870@KACHIPYTEL.COM
2QCH2G            1/15/2021 OB         1/24/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA   SOUTH JEFF             DE                 US            26424 135576870@KACHIPYTEL.COM
2QCH2G            1/15/2021 OB         1/24/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA   SOUTH JEFF             DE                 US            26424 135576870@KACHIPYTEL.COM
2QCH2G            1/15/2021 OB         1/24/2021 WN;2744;ATL;RDU;WN;6113;RDU;TPA   SOUTH JEFF             DE                 US            26424 135576870@KACHIPYTEL.COM
2QSWSI            1/15/2021 OB         1/15/2021 WN;3587;DTW;BNA;WN;1271;BNA;ATL   CANNONVILLE            RI                 US            41824 135578476@KACHIPYTEL.COM
2QT3AP            1/15/2021 OB         1/17/2021 WN;1210;PHX;SMF                   CLARKSIDE              WI                 US            21425 135578377@KACHIPYTEL.COM
2QT3AP            1/15/2021 OB         1/17/2021 WN;1210;PHX;SMF                   CLARKSIDE              WI                 US            21425 135578377@KACHIPYTEL.COM
2QWFGD            1/15/2021 OB         1/16/2021 WN;2766;TPA;DEN;WN;4334;DEN;SFO   TYRONEBOROUGH          PA                 US            58662 135578751@KACHIPYTEL.COM
2R287O            1/15/2021 OB         1/18/2021 WN;1990;ATL;BWI                   NEW JASON              OH                 US            74989 135578960@KACHIPYTEL.COM
2R287O            1/15/2021 OB         1/18/2021 WN;1990;ATL;BWI                   NEW JASON              OH                 US            74989 135578960@KACHIPYTEL.COM
2RG27H            1/15/2021 OB         1/17/2021 WN;2051;ATL;MDW;WN;2508;MDW;TPA   GRAYMOUTH              ID                 US            82231 135579796@KACHIPYTEL.COM
2RIU52            1/15/2021 OB         2/14/2021 WN;184;CLE;PHX;WN;425;PHX;LGB     EAST DANIELVILLE       MS                 US            74384 135579972@KACHIPYTEL.COM
2RL26D            1/15/2021 OB         2/14/2021 WN;184;CLE;PHX;WN;425;PHX;LGB     BRENTBOROUGH           OH                 US            82788 135579917@KACHIPYTEL.COM
2ROEGE            1/15/2021 OB         1/20/2021 WN;4702;PIT;TPA;WN;4143;TPA;MIA   NICOLEBOROUGH          WA                 US            35802 135580192@KACHIPYTEL.COM
2ROEGE            1/15/2021 OB         1/20/2021 WN;4702;PIT;TPA;WN;4143;TPA;MIA   NICOLEBOROUGH          WA                 US            35802 135580192@KACHIPYTEL.COM
2ROEGE            1/15/2021 OB         1/20/2021 WN;4702;PIT;TPA;WN;4143;TPA;MIA   NICOLEBOROUGH          WA                 US            35802 135580192@KACHIPYTEL.COM
2ROEGE            1/15/2021 OB         1/20/2021 WN;4702;PIT;TPA;WN;4143;TPA;MIA   NICOLEBOROUGH          WA                 US            35802 135580192@KACHIPYTEL.COM




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2ROEGE   1/15/2021   OB   1/20/2021   WN;4702;PIT;TPA;WN;4143;TPA;MIA        NICOLEBOROUGH          WA               US   35802   135580192@KACHIPYTEL.COM
2ROEGE   1/15/2021   OB   1/20/2021   WN;4702;PIT;TPA;WN;4143;TPA;MIA        NICOLEBOROUGH          WA               US   35802   135580192@KACHIPYTEL.COM
2ROEGE   1/15/2021   OB   1/20/2021   WN;4702;PIT;TPA;WN;4143;TPA;MIA        NICOLEBOROUGH          WA               US   35802   135580192@KACHIPYTEL.COM
2ROEGE   1/15/2021   OB   1/20/2021   WN;4702;PIT;TPA;WN;4143;TPA;MIA        NICOLEBOROUGH          WA               US   35802   135580192@KACHIPYTEL.COM
2ROEGE   1/15/2021   OB   1/20/2021   WN;4702;PIT;TPA;WN;4143;TPA;MIA        NICOLEBOROUGH          WA               US   35802   135580192@KACHIPYTEL.COM
2S4SP6   1/15/2021   OB   1/15/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL        PORT TERESA            LA               US   20197   135581116@KACHIPYTEL.COM
2SMXKJ   1/15/2021   OB   1/22/2021   WN;6001;AUS;TPA;WN;2288;TPA;MIA        NORTH ANDREW           ND               US   31478   135582381@KACHIPYTEL.COM
2SNHKP   1/15/2021   OB   1/28/2021   WN;475;MCI;PHX;WN;3927;PHX;DAL         CRYSTALVIEW            SC               US   79790   135582249@KACHIPYTEL.COM
2SRX45   1/15/2021   OB   1/19/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA        JOHNMOUTH              MI               US   81416   135574076@KACHIPYTEL.COM
2SRX45   1/15/2021   OB   1/19/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA        JOHNMOUTH              MI               US   81416   135574076@KACHIPYTEL.COM
2T2MO4   1/15/2021   OB   1/18/2021   WN;2960;ONT;SMF                        SAMUELBURGH            GA               US   45072   135583228@KACHIPYTEL.COM
2TG5PQ   1/15/2021   OB   1/16/2021   WN;2334;LAS;PHX                        WEST TIFFANYVIEW       SD               US   91239   135584218@KACHIPYTEL.COM
2U9KUV   1/15/2021   OB   1/22/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        JESSICAFURT            HI               US   13301   135586176@KACHIPYTEL.COM
2UG3P2   1/15/2021   OB   1/18/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL        ETHANSTAD              CT               US   10917   135587122@KACHIPYTEL.COM
2UPFHR   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL                        LAKE CYNTHIATON        NM               US   46741   135587672@KACHIPYTEL.COM
2V49UY   1/15/2021   OB   1/17/2021   WN;3585;JAX;BNA;WN;2978;BNA;BOS        HEATHERFURT            NC               US   43580   135588717@KACHIPYTEL.COM
2V6V2G   1/15/2021   OB   1/15/2021   WN;2028;AUS;LAS;WN;3326;LAS;PDX        WEST ANDREA            WA               US   25166   135588794@KACHIPYTEL.COM
2VG3WQ   1/15/2021   OB   1/16/2021   WN;4679;OAK;LAS;WN;2902;LAS;MCO        WEST KHSH              NAJRAN           SA   19497   135589267@KACHIPYTEL.COM
2VJKKS   1/15/2021   OB   1/17/2021   WN;5084;LAS;OAK;WN;1148;OAK;LAX        OLIVEIRA DAS PEDRAS    PARA             BR   91377   135589267@KACHIPYTEL.COM
2VRQB5   1/15/2021   OB   1/29/2021   WN;4762;CLT;DAL;WN;3410;DAL;TPA        TIMOTHYBURGH           NY               US   82403   135589641@KACHIPYTEL.COM
2WCVPY   1/15/2021   OB   1/18/2021   WN;1990;ATL;BWI;WN;4727;BWI;FLL        GABRIELAVIEW           VA               US   78805   135591401@KACHIPYTEL.COM
2WNP77   1/15/2021   OB   1/28/2021   WN;4704;TPA;BWI;WN;2675;BWI;CLT        NEW PAMELABERG         RI               US   40565   135592424@KACHIPYTEL.COM
2YFJSW   1/15/2021   OB   1/20/2021   WN;360;ATL;BWI                         GREENBERG              ME               US   34162   135598287@KACHIPYTEL.COM
2YFZ6S   1/15/2021   OB   1/17/2021   WN;4954;PHX;DEN                        PORT KARENHAVEN        LA               US    1441   135598265@KACHIPYTEL.COM
2YOQAC   1/15/2021   OB   2/15/2021   WN;3807;STL;OKC                        KELLITOWN              MD               US   68528   135599552@KACHIPYTEL.COM
2YR6NF   1/15/2021   OB    2/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB          NORTH JEANETTELAND     NC               US   32892   135599464@KACHIPYTEL.COM
2YR6NF   1/15/2021   OB    2/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB          NORTH JEANETTELAND     NC               US   32892   135599464@KACHIPYTEL.COM
2YSSK3   1/15/2021   OB   2/19/2021   WN;177;PHX;DAL;WN;2748;DAL;LIT         SOUTH KARABOROUGH      MO               US   28357   135599552@KACHIPYTEL.COM
33ND7N   1/15/2021   OB   1/15/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        JORDANMOUTH            CT               US   49450   135612664@KACHIPYTEL.COM
354YIY   1/15/2021   OB   1/18/2021   WN;3368;ATL;HOU                        JOANNCHESTER           WV               US    7602   135620408@KACHIPYTEL.COM
35V7ID   1/15/2021   OB   1/23/2021   WN;3763;MCI;PHX;WN;3428;PHX;BNA        NEW JAMES              ND               US   81543   135624049@KACHIPYTEL.COM
36MQH4   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        BAKERCHESTER           DE               US   31966   135627404@KACHIPYTEL.COM
36P95M   1/15/2021   OB   1/20/2021   WN;404;CMH;BWI;WN;2149;BWI;CHS         SHARONTON              OH               US   72596   135628658@KACHIPYTEL.COM
37HOED   1/15/2021   OB   1/22/2021   WN;1059;HOU;MSY;WN;4115;MSY;MCO        NEW VALERIE            KS               US   41790   135631683@KACHIPYTEL.COM
37IC5J   1/15/2021   OB   1/25/2021   WN;4246;MSY;HOU;WN;3294;HOU;MIA        PORT RANDALL           WV               US   63866   135631683@KACHIPYTEL.COM
38FCF9   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        JONATHANTOWN           MI               US   74113   135637216@KACHIPYTEL.COM
38L7RH   1/15/2021   OB   1/22/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        LAKE KEVINFURT         HI               US   47892   135637524@KACHIPYTEL.COM
38L7RH   1/15/2021   OB   1/22/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        LAKE KEVINFURT         HI               US   47892   135637524@KACHIPYTEL.COM
38L9IV   1/15/2021   OB   1/18/2021   WN;3346;LGA;DAL                        KADRIBOROUGH           SAAREMAA         EE   88189   135637304@KACHIPYTEL.COM
3924XR   1/15/2021   OB   1/16/2021   WN;2612;FLL;BWI;WN;2214;BWI;MCO;WN;2214NORTH CYNTHIACHESTER   MT               US   13400   135639537@KACHIPYTEL.COM
393HUM   1/15/2021   OB   1/16/2021   WN;2612;FLL;BWI;WN;2214;BWI;MCO;WN;2214NEW FRANCISCO          PA               US   61406   135640186@KACHIPYTEL.COM
393HUM   1/15/2021   OB   1/16/2021   WN;2612;FLL;BWI;WN;2214;BWI;MCO;WN;2214NEW FRANCISCO          PA               US   61406   135640186@KACHIPYTEL.COM
396HKT   1/15/2021   OB   1/18/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL        JAMESTON               KS               US   78653   135640626@KACHIPYTEL.COM
39J7FX   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        MADDOXLAND             AK               US   64832   135642606@KACHIPYTEL.COM
39MTPN   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        CARRIEHAVEN            SC               US   40995   135642485@KACHIPYTEL.COM
3AAFRD   1/15/2021   OB   1/29/2021   WN;430;ATL;PHX                         NEW ROBERT             AK               US   52133   135646236@KACHIPYTEL.COM
3AG4Y5   1/15/2021   OB   1/18/2021   WN;1588;TPA;MDW;WN;2708;MDW;ATL        TYRONEBURY             MI               US   92423   135646555@KACHIPYTEL.COM
3AU477   1/15/2021   OB   1/21/2021   WN;2744;ATL;RDU;WN;6113;RDU;TPA        DEBORAHBOROUGH         VT               US    3830   135648590@KACHIPYTEL.COM
3B3KU2   1/15/2021   OB   1/18/2021   WN;4551;PHL;BNA;WN;539;BNA;RSW         RAIMONDSVILLE          KEKAVAS NOVADS   LV   32451   135649294@KACHIPYTEL.COM
3B5VX7   1/15/2021   OB   1/27/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS        BRANDONCHESTER         VT               US    8819   135649547@KACHIPYTEL.COM
3BDXVJ   1/15/2021   OB    3/9/2021   WN;4917;SLC;MDW;WN;470;MDW;CLE         SOUTH CHRISTOPHERSHI   NH               US   83013   135646896@KACHIPYTEL.COM
3BDXVJ   1/15/2021   OB    3/9/2021   WN;4917;SLC;MDW;WN;470;MDW;CLE         SOUTH CHRISTOPHERSHI   NH               US   83013   135646896@KACHIPYTEL.COM
3C37UI   1/15/2021   OB   1/22/2021   WN;1997;MCO;DEN;WN;1454;DEN;MSP        ROBINSONTON            MT               US    6838   135650273@KACHIPYTEL.COM
3C5VDO   1/15/2021   OB   1/16/2021   WN;135;LGA;ATL                         HANNAHFORT             OK               US   48745   135654508@KACHIPYTEL.COM
3C5VDO   1/15/2021   OB   1/16/2021   WN;135;LGA;ATL                         HANNAHFORT             OK               US   48745   135654508@KACHIPYTEL.COM
3CB7YG   1/15/2021   OB   1/23/2021   WN;4703;MKE;LAS;WN;934;LAS;TPA         PORT TAMMY             HI               US   96018   135655663@KACHIPYTEL.COM
3CGHYP   1/15/2021   OB   2/16/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        WEST ROBERTO           NJ               US   22489   135656741@KACHIPYTEL.COM
3CJ3ZI   1/15/2021   OB   2/19/2021   WN;776;LAS;MDW;WN;2255;MDW;BOS         SOUTH ALEXANDER        SC               US   14699   135656741@KACHIPYTEL.COM
3CL44Q   1/15/2021   OB   2/16/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        EAST DANIELBOROUGH     KS               US   71407   135657148@KACHIPYTEL.COM
3CNQBM   1/15/2021   OB   2/22/2021   WN;2531;LAS;BWI;WN;1597;BWI;ORD        LAKE DANNY             TN               US   79549   135657148@KACHIPYTEL.COM
3CSLCB   1/15/2021   OB   1/17/2021   WN;3429;LAS;DEN                        PORT JONATHAN          TX               US   78348   135657907@KACHIPYTEL.COM
3DQPXV   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        WEST RONALD            TN               US   64267   135662274@KACHIPYTEL.COM
3DQPXV   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        WEST RONALD            TN               US   64267   135662274@KACHIPYTEL.COM
3DVYPX   1/15/2021   OB   2/12/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL        THERESABURY            FL               US   86499   135662626@KACHIPYTEL.COM
3DZ6WE   1/15/2021   OB   1/19/2021   WN;2744;ATL;RDU;WN;6113;RDU;TPA        WEST MELANIETON        NY               US   19498   135663110@KACHIPYTEL.COM
3E2QQK   1/15/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        PORT AMANDASIDE        MI               US   81109   135662978@KACHIPYTEL.COM
3E8Q6M   1/15/2021   OB   1/18/2021   WN;534;PHX;STL                         COLLINSBOROUGH         MS               US   12969   135663880@KACHIPYTEL.COM
3E8Q6M   1/15/2021   OB   1/19/2021   WN;534;PHX;STL;WN;1941;STL;MDW         COLLINSBOROUGH         MS               US   12969   135663880@KACHIPYTEL.COM
3E9PPK   1/15/2021   OB   1/18/2021   WN;3103;LAS;HOU;WN;1640;HOU;FLL        JOHNSTOWN              ID               US   59153   135663671@KACHIPYTEL.COM
3EA2IM   1/15/2021   OB   1/16/2021   WN;2861;HOU;LAS;WN;4495;LAS;OKC        PRICEBOROUGH           AL               US   28426   135663671@KACHIPYTEL.COM
3EEDZQ   1/15/2021   OB   1/22/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL        VERONICAMOUTH          AZ               US   17678   135664155@KACHIPYTEL.COM
3F55WL   1/16/2021   OB   1/22/2021   WN;2531;RNO;LAS;WN;3239;LAS;LAX        ROBERTOMOUTH           RI               US   90202   135665640@KACHIPYTEL.COM
3F55WL   1/16/2021   OB   1/22/2021   WN;2531;RNO;LAS;WN;3239;LAS;LAX        ROBERTOMOUTH           RI               US   90202   135665640@KACHIPYTEL.COM
3F55WL   1/16/2021   OB   1/22/2021   WN;2531;RNO;LAS;WN;3239;LAS;LAX        ROBERTOMOUTH           RI               US   90202   135665640@KACHIPYTEL.COM
3F55WL   1/16/2021   OB   1/22/2021   WN;2531;RNO;LAS;WN;3239;LAS;LAX        ROBERTOMOUTH           RI               US   90202   135665640@KACHIPYTEL.COM
3FA6B2   1/16/2021   OB   1/16/2021   WN;3759;LAX;DEN;WN;5084;DEN;LAS        LAKE AMYVILLE          SD               US   64294   135665970@KACHIPYTEL.COM
3FAVH2   1/16/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        WEST SHAWNPORT         IA               US   92443   135666080@KACHIPYTEL.COM
3FAVH2   1/16/2021   OB   1/16/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        WEST SHAWNPORT         IA               US   92443   135666080@KACHIPYTEL.COM
3FKYAI   1/16/2021   OB   1/17/2021   WN;4385;SEA;OAK;WN;1151;OAK;PHX        TRIBENII               DELHI            IN    5250   135666839@KACHIPYTEL.COM
3FMITX   1/16/2021   OB   1/20/2021   WN;2531;LAS;BWI;WN;3111;BWI;BOS        NEW TIMOTHY            KS               US   47913   135666828@KACHIPYTEL.COM
3FT28S   1/16/2021   OB   1/17/2021   WN;3558;ATL;MDW;WN;2611;MDW;FLL        JOHNSONHAVEN           WV               US   39194   135667455@KACHIPYTEL.COM
3FT28S   1/16/2021   OB   1/17/2021   WN;3558;ATL;MDW;WN;2611;MDW;FLL        JOHNSONHAVEN           WV               US   39194   135667455@KACHIPYTEL.COM
3FUDQK   1/16/2021   OB   1/16/2021   WN;2798;LAX;DEN;WN;1529;DEN;LAS        SOUTH MANUEL           MO               US    8692   135667356@KACHIPYTEL.COM
3G2DYU   1/16/2021   OB   1/16/2021   WN;2852;HOU;DEN;WN;66;DEN;GEG          DAWNVIEW               WY               US   19074   135667851@KACHIPYTEL.COM
3G7V4A   1/16/2021   OB   1/17/2021   WN;1852;DEN;HOU;WN;44;HOU;DAL          LAKE DIANESHIRE        AR               US   38170   135667851@KACHIPYTEL.COM
3GE9HG   1/16/2021   OB   1/18/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB        JACKBURGH              AK               US   92235   135668236@KACHIPYTEL.COM
3GJJGK   1/16/2021   OB   1/18/2021   WN;3787;LGA;BNA                        ASHLEYMOUTH            IN               US   28973   135668742@KACHIPYTEL.COM
3GU3MM   1/16/2021   OB   1/16/2021   WN;2632;PHX;STL;WN;3314;STL;TUL        SMITHTOWN              WA               US   84422   135669138@KACHIPYTEL.COM
3HFJJJ   1/16/2021   OB   1/17/2021   WN;2051;ATL;MDW                        EAST MAXWELLMOUTH      VT               US   23614   135670139@KACHIPYTEL.COM
3HIG6O   1/16/2021   OB   1/26/2021   WN;4246;MSY;HOU;WN;3294;HOU;MIA        NORTH WDYMOUTH         NAJRAN           SA   25633   135670480@KACHIPYTEL.COM
3HTFH9   1/16/2021   OB   1/16/2021   WN;4151;SEA;SMF;WN;3183;SMF;PHX        ERICBERG               CT               US   55899   135671184@KACHIPYTEL.COM
3I3YFD   1/16/2021   OB   1/28/2021   WN;4015;MCO;STL;WN;2208;STL;LAX        NEW TONYPORT           WA               US   63601   135671558@KACHIPYTEL.COM
3I8J2K   1/16/2021   OB   1/16/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW        NEW JOANNE             NV               US    6274   135672020@KACHIPYTEL.COM
3IAJ9U   1/16/2021   OB   1/16/2021   WN;135;LGA;ATL;WN;2920;ATL;FLL         GREENBERG              WA               US   34162   135672042@KACHIPYTEL.COM
3IB9C4   1/16/2021   OB   1/24/2021   WN;2692;JAX;BWI;WN;1878;BWI;TPA        LEWISBERG              NE               US   54003   135672317@KACHIPYTEL.COM
3IG9CZ   1/16/2021   OB   1/17/2021   WN;4596;PHX;LAS;WN;4790;LAS;BNA        NEW HMDHAVEN           GAZA             PS   14607   135672713@KACHIPYTEL.COM
3IJP6S   1/16/2021   OB   1/19/2021   WN;4520;LAS;PHX;WN;3972;PHX;LAX        DA MATA                CEARA            BR   33794   135672713@KACHIPYTEL.COM
3ILLNA   1/16/2021   OB   1/16/2021   WN;3484;MDW;LAS;WN;2760;LAS;TUL        MOOREVIEW              AZ               US   73949   135673175@KACHIPYTEL.COM
3ILLNA   1/16/2021   OB   1/16/2021   WN;3484;MDW;LAS;WN;2760;LAS;TUL        MOOREVIEW              AZ               US   73949   135673175@KACHIPYTEL.COM
3INQ9B   1/16/2021   OB   1/18/2021   WN;2042;ATL;HOU;WN;3212;HOU;TPA        NEW TONILAND           DE               US   22993   135673340@KACHIPYTEL.COM
3JIBBE   1/16/2021   OB   1/21/2021   WN;1275;ATL;BNA;WN;3188;BNA;MCO        DARIUSSTAD             OK               US   34068   135669974@KACHIPYTEL.COM
3JL8YC   1/16/2021   OB   1/16/2021   WN;135;LGA;ATL                         BARRYTON               OR               US   70045   135675210@KACHIPYTEL.COM
3JXT3C   1/16/2021   OB   1/18/2021   WN;4115;ATL;MSY;WN;4279;MSY;TPA        HOOVERMOUTH            TX               US   25717   135675584@KACHIPYTEL.COM
3K3QJH   1/16/2021   OB   1/17/2021   WN;2234;LAX;STL;WN;1325;STL;MCO        DAVIDVILLE             MO               US   32798   135675969@KACHIPYTEL.COM
3K49ZF   1/16/2021   OB   1/17/2021   WN;2234;LAX;STL;WN;1325;STL;MCO        EAST STEVENBURY        WI               US   26984   135675969@KACHIPYTEL.COM




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3K63D7   1/16/2021   OB   1/17/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA         PORT MASON             UT                    US   73185   135675936@KACHIPYTEL.COM
3K7ZQP   1/16/2021   OB   1/16/2021   WN;135;LGA;ATL                          SHANNONFORT            NV                    US   78531   135676046@KACHIPYTEL.COM
3K8V8N   1/16/2021   OB   1/29/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS         JACQUELINEBURGH        UT                    US   70781   135676200@KACHIPYTEL.COM
3L3GIX   1/16/2021   OB   1/16/2021   WN;1625;FLL;DAL;WN;2801;DAL;ATL         NORTH PATRICIA         MO                    US   23868   135678147@KACHIPYTEL.COM
3L94OH   1/16/2021   OB    2/2/2021   WN;986;MCO;PIT;WN;986;PIT;PHX;WN;425;PHXSOUTH DANIELTON        ME                    US   82406   135678675@KACHIPYTEL.COM
3QJIIF   1/16/2021   OB   1/16/2021   WN;1677;LGA;ATL                         BRANDYBOROUGH          GA                    US   89795   135694339@KACHIPYTEL.COM
3RYIG6   1/16/2021   OB   1/19/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL         WEST JAMESBOROUGH      RI                    US   90422   135698849@KACHIPYTEL.COM
3S2YJO   1/16/2021   OB   1/20/2021   WN;360;ATL;BWI                          NEW BRIAN              MO                    US    7737   135699234@KACHIPYTEL.COM
3S2YJO   1/16/2021   OB   1/21/2021   WN;451;BWI;MCO                          NEW BRIAN              MO                    US    7737   135699234@KACHIPYTEL.COM
3S2YJO   1/16/2021   OB   1/20/2021   WN;360;ATL;BWI                          NEW BRIAN              MO                    US    7737   135699234@KACHIPYTEL.COM
3S2YJO   1/16/2021   OB   1/21/2021   WN;451;BWI;MCO                          NEW BRIAN              MO                    US    7737   135699234@KACHIPYTEL.COM
3SNTUZ   1/16/2021   OB   1/16/2021   WN;3788;ATL;MDW;WN;4037;MDW;TPA         NEW TIMOTHY            CA                    US   80145   135701324@KACHIPYTEL.COM
3UKQGE   1/16/2021   OB   1/19/2021   WN;907;MBJ;BWI                          DENNISFURT             SANNAT                MT    3771   135709035@KACHIPYTEL.COM
3UOINZ   1/16/2021   OB   1/29/2021   WN;4223;RDU;BNA;WN;2522;BNA;MCO         NORTH ASHLEYPORT       NH                    US   11252   135709827@KACHIPYTEL.COM
3UPF9Q   1/16/2021   OB   1/23/2021   WN;3463;MDW;BWI;WN;3557;BWI;BOS         WEST BRITTNEYBURGH     KS                    US   30228   135709816@KACHIPYTEL.COM
3UPXAL   1/16/2021   OB   1/29/2021   WN;4223;RDU;BNA;WN;2522;BNA;MCO         NEW LESLIEMOUTH        NM                    US   81662   135709728@KACHIPYTEL.COM
3UU2UR   1/16/2021   OB   2/28/2021   WN;430;ATL;PHX;WN;3972;PHX;LAX          JASONHAVEN             DE                    US    1304   135710454@KACHIPYTEL.COM
3V88G4   1/16/2021   OB   1/20/2021   WN;907;MBJ;BWI                          EIVINDSTRAND           OPPLAND               NO   77694   135709035.1536452@KACHIPYTEL.COM
3VVNZ3   1/16/2021   OB   1/22/2021   WN;3787;LGA;BNA                         CHRISTINABURGH         VA                    US   90317   135714722@KACHIPYTEL.COM
3VVNZ3   1/16/2021   OB   1/22/2021   WN;3787;LGA;BNA                         CHRISTINABURGH         VA                    US   90317   135714722@KACHIPYTEL.COM
3WQM5E   1/16/2021   OB   1/20/2021   WN;3346;LGA;DAL;WN;2199;DAL;FLL         NORRKOPING             JAMTLANDS LAN         SE    9917   135718693@KACHIPYTEL.COM
3X7YHK   1/16/2021   OB   1/17/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         LAKE WILLIAMBOROUGH    ID                    US   24425   135720398@KACHIPYTEL.COM
3Y3HZH   1/16/2021   OB   1/22/2021   WN;2246;ATL;STL;WN;427;STL;TPA          SETHSIDE               OR                    US   93001   135724490@KACHIPYTEL.COM
3YHJRP   1/16/2021   OB   1/17/2021   WN;3558;ATL;MDW;WN;2611;MDW;FLL         COLEMANBOROUGH         WY                    US   67125   135725557@KACHIPYTEL.COM
3YJ8KW   1/16/2021   OB   1/24/2021   WN;2044;DCA;MDW;WN;3388;MDW;MCO         MATTHEWMOUTH           AL                    US   98845   135725876@KACHIPYTEL.COM
3YNTUI   1/16/2021   OB   1/26/2021   WN;4287;LAX;SMF                         NEW JUANPORT           IL                    US   31741   135726404@KACHIPYTEL.COM
427PGD   1/16/2021   OB   1/17/2021   WN;3435;HOU;OAK;WN;1017;OAK;GEG         ALEXANDRABOROUGH       CA                    US   40398   135730727@KACHIPYTEL.COM
43477R   1/16/2021   OB   1/17/2021   WN;1943;RSW;MDW;WN;2482;MDW;RDU         JOSHUAPORT             MD                    US   53494   135733235@KACHIPYTEL.COM
43477R   1/16/2021   OB   1/17/2021   WN;1943;RSW;MDW;WN;2482;MDW;RDU         JOSHUAPORT             MD                    US   53494   135733235@KACHIPYTEL.COM
43477R   1/16/2021   OB   1/17/2021   WN;1943;RSW;MDW;WN;2482;MDW;RDU         JOSHUAPORT             MD                    US   53494   135733235@KACHIPYTEL.COM
43477R   1/16/2021   OB   1/17/2021   WN;1943;RSW;MDW;WN;2482;MDW;RDU         JOSHUAPORT             MD                    US   53494   135733235@KACHIPYTEL.COM
43477R   1/16/2021   OB   1/17/2021   WN;1943;RSW;MDW;WN;2482;MDW;RDU         JOSHUAPORT             MD                    US   53494   135733235@KACHIPYTEL.COM
43TMJG   1/17/2021   OB   1/22/2021   WN;4487;BUF;MDW;WN;3655;MDW;LAX         WEST CARLAVIEW         NOVA SCOTIA           CA   24644   135734786@KACHIPYTEL.COM
4467SY   1/17/2021   OB   1/17/2021   WN;2051;ATL;MDW;WN;2508;MDW;TPA         DAWSONSTAD             MS                    US   99148   135735644@KACHIPYTEL.COM
449MPQ   1/17/2021   OB   1/17/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS         NEW REBECCA            WY                    US   96320   135735853@KACHIPYTEL.COM
44DBG5   1/17/2021   OB   1/19/2021   WN;417;BNA;AUS                          NORTH VANESSASIDE      AZ                    US   88510   135735831@KACHIPYTEL.COM
44FZ49   1/17/2021   OB    2/3/2021   WN;2931;AUS;BNA                         CHARLESFURT            MN                    US   25646   135736128@KACHIPYTEL.COM
44UVZ9   1/17/2021   OB   1/20/2021   WN;3640;AUS;MDW                         KHIOS                  SAMOS                 GR   82470   135736777@KACHIPYTEL.COM
44UVZ9   1/17/2021   OB   1/20/2021   WN;3640;AUS;MDW                         KHIOS                  SAMOS                 GR   82470   135736777@KACHIPYTEL.COM
45D2AE   1/17/2021   OB   1/17/2021   WN;1914;LGA;MDW;WN;3388;MDW;MCO         SOUTH CASSANDRA        HI                    US   15833   135737448@KACHIPYTEL.COM
45DY4A   1/17/2021   OB   1/17/2021   WN;2051;ATL;MDW;WN;2508;MDW;TPA         EAST STACEY            WY                    US   92386   135737338@KACHIPYTEL.COM
45KM7T   1/17/2021   OB   1/22/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL         BRYANFORT              CA                    US   97762   135737822@KACHIPYTEL.COM
45QT44   1/17/2021   OB   2/14/2021   WN;2753;DCA;MDW;WN;3989;MDW;LAX         LAKE GREGORYHAVEN      CO                    US   75859   135738119@KACHIPYTEL.COM
45QT44   1/17/2021   OB   2/14/2021   WN;2753;DCA;MDW;WN;3989;MDW;LAX         LAKE GREGORYHAVEN      CO                    US   75859   135738119@KACHIPYTEL.COM
46AW6G   1/17/2021   OB   1/17/2021   WN;2838;MCO;STL;WN;3422;STL;LGA         PORT JOHN              NM                    US   57544   135739285@KACHIPYTEL.COM
46GWQO   1/17/2021   OB   1/17/2021   WN;1962;MCO;MDW                         REBECCAHAVEN           MO                    US   30685   135739868@KACHIPYTEL.COM
46IJTQ   1/17/2021   OB   1/20/2021   WN;1990;ATL;BWI;WN;3160;BWI;MCO         MATTHEWVILLE           MI                    US   93326   135739670@KACHIPYTEL.COM
46IJTQ   1/17/2021   OB   1/20/2021   WN;1990;ATL;BWI;WN;3160;BWI;MCO         MATTHEWVILLE           MI                    US   93326   135739670@KACHIPYTEL.COM
46ZCYE   1/17/2021   OB   1/17/2021   WN;4836;SEA;OAK;WN;4757;OAK;LAS         NICHOLASMOUTH          NY                    US    4006   135740792@KACHIPYTEL.COM
474GMP   1/17/2021   OB   3/13/2021   WN;2402;MSY;DAL;WN;2392;DAL;LAX         BOOTHTON               WV                    US   63854   135740957@KACHIPYTEL.COM
474GMP   1/17/2021   OB   3/13/2021   WN;2402;MSY;DAL;WN;2392;DAL;LAX         BOOTHTON               WV                    US   63854   135740957@KACHIPYTEL.COM
47L9BJ   1/17/2021   OB   1/29/2021   WN;4690;PIT;DEN;WN;4693;DEN;OAK         JUSTINSHIRE            OR                    US   76170   135741474@KACHIPYTEL.COM
486CGG   1/17/2021   OB   1/17/2021   WN;3365;HOU;ATL;WN;5009;ATL;MEM         SANDRASHIRE            NV                    US   71499   135742387@KACHIPYTEL.COM
48AXL2   1/17/2021   OB   1/24/2021   WN;2753;DCA;MDW;WN;3993;MDW;MCO         LAKE CARLOSBERG        NY                    US   88656   135742563@KACHIPYTEL.COM
48AXL2   1/17/2021   OB   1/24/2021   WN;2753;DCA;MDW;WN;3993;MDW;MCO         LAKE CARLOSBERG        NY                    US   88656   135742563@KACHIPYTEL.COM
48ZEZM   1/17/2021   OB   1/17/2021   WN;1925;PHX;LAS                         LISAFURT               HI                    US   22593   135743674@KACHIPYTEL.COM
48ZEZM   1/17/2021   OB   1/17/2021   WN;3833;LGB;PHX                         LISAFURT               HI                    US   22593   135743674@KACHIPYTEL.COM
48ZEZM   1/17/2021   OB   1/17/2021   WN;1925;PHX;LAS                         LISAFURT               HI                    US   22593   135743674@KACHIPYTEL.COM
48ZEZM   1/17/2021   OB   1/17/2021   WN;3833;LGB;PHX                         LISAFURT               HI                    US   22593   135743674@KACHIPYTEL.COM
495I3M   1/17/2021   OB   1/17/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX         NORTH JOHN             NH                    US   91717   135744048@KACHIPYTEL.COM
495N6J   1/17/2021   OB   1/17/2021   WN;3191;FLL;BWI                         LANDRYSTAD             OK                    US   13927   135743883@KACHIPYTEL.COM
49NZUQ   1/17/2021   OB   1/20/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO         LAKE DANIELLE          OK                    US   19526   135744631@KACHIPYTEL.COM
49PV3R   1/17/2021   OB   1/17/2021   WN;6110;DCA;TPA                         EVANSTON               KY                    US   41035   135744785@KACHIPYTEL.COM
4ADLIO   1/17/2021   OB   1/25/2021   WN;2247;CLT;BWI;WN;1633;BWI;MCO         DEVGRH                 ASSAM                 IN   70738   135745775@KACHIPYTEL.COM
4DI649   1/17/2021   OB   1/17/2021   WN;2046;ATL;HOU                         LAKE ROBERTBURY        CT                    US   49157   135753178@KACHIPYTEL.COM
4DI649   1/17/2021   OB   1/17/2021   WN;2046;ATL;HOU                         LAKE ROBERTBURY        CT                    US   49157   135753178@KACHIPYTEL.COM
4E33LU   1/17/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL         PORT THOMASSHIRE       DE                    US   54927   135755499@KACHIPYTEL.COM
4EGVPY   1/17/2021   OB   1/25/2021   WN;4743;ATL;AUS                         JEREMYSTAD             ND                    US   29433   135756621@KACHIPYTEL.COM
4FQEDV   1/17/2021   OB   1/17/2021   WN;4078;MIA;MDW                         ANNAFURT               NE                    US   68390   135760350@KACHIPYTEL.COM
4H7LYA   1/17/2021   OB    2/8/2021   WN;736;MKE;PHX                          CHRISTINEFURT          MO                    US   79600   135764739@KACHIPYTEL.COM
4IQXIQ   1/17/2021   OB   1/21/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL         JOSHUAMOUTH            AK                    US   48031   135770965@KACHIPYTEL.COM
4IU6ZN   1/17/2021   OB   1/25/2021   WN;2931;AUS;BNA                         ANTIOCH                TN                    US   37013   135771284@KACHIPYTEL.COM
4IU6ZN   1/17/2021   OB   1/25/2021   WN;2931;AUS;BNA                         WEST GEORGE            CO                    US   72805   135771284@KACHIPYTEL.COM
4IUUIQ   1/17/2021   OB   1/20/2021   WN;417;BNA;AUS                          ANTIOCH                TN                    US   37013   135771284@KACHIPYTEL.COM
4IUUIQ   1/17/2021   OB   1/20/2021   WN;417;BNA;AUS                          JESSESHIRE             SD                    US   39144   135771284@KACHIPYTEL.COM
4JAZXQ   1/17/2021   OB   1/25/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL         EAST LAURA             CO                    US   12189   135772813@KACHIPYTEL.COM
4JAZXQ   1/17/2021   OB   1/25/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL         EAST LAURA             CO                    US   12189   135772813@KACHIPYTEL.COM
4JCSKJ   1/17/2021   OB   1/18/2021   WN;35;ATL;DAL;WN;30;DAL;MCO             LAKE BRANDONSIDE       WV                    US   98094   135773506@KACHIPYTEL.COM
4JCSKJ   1/17/2021   OB   1/18/2021   WN;35;ATL;DAL;WN;30;DAL;MCO             LAKE BRANDONSIDE       WV                    US   98094   135773506@KACHIPYTEL.COM
4JI9F9   1/17/2021   OB   1/17/2021   WN;2046;ATL;HOU;WN;2723;HOU;MIA         LAKE ROBERTBURY        CT                    US   49157   135753178@KACHIPYTEL.COM
4K6VVG   1/17/2021   OB   1/22/2021   WN;3343;ATL;STL;WN;2622;STL;TPA         PADILLABOROUGH         KY                    US   81960   135776256@KACHIPYTEL.COM
4KNG8E   1/17/2021   OB   1/20/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO         LAKE TAMMY             RI                    US   83763   135778742@KACHIPYTEL.COM
4MEI7J   1/17/2021   OB   3/16/2021   WN;2067;MSY;DEN;WN;854;DEN;LAX          MIRANDAPORT            IA                    US   43254   135785386@KACHIPYTEL.COM
4MHQP4   1/17/2021   OB   1/25/2021   WN;938;TPA;IND                          AMROHAA                CHANDIGARH            IN   16628   135785738@KACHIPYTEL.COM
4N3P5Q   1/17/2021   OB   1/22/2021   WN;3348;LGA;ATL                         LAKE LINDSAYTOWN       MT                    US   41418   135788422@KACHIPYTEL.COM
4N3P5Q   1/17/2021   OB   1/22/2021   WN;3348;LGA;ATL                         LAKE LINDSAYTOWN       MT                    US   41418   135788422@KACHIPYTEL.COM
4NAAAZ   1/17/2021   OB   1/20/2021   WN;1990;ATL;BWI;WN;3160;BWI;MCO         COHENTOWN              WV                    US   50239   135788840@KACHIPYTEL.COM
4ND6HD   1/17/2021   OB   1/29/2021   WN;4842;PHX;SMF;WN;4873;SMF;LAS         SOUTH JOHNSHIRE        WY                    US   85124   135789709@KACHIPYTEL.COM
4O5ORN   1/17/2021   OB   1/18/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         RODRIGUEZSTAD          ID                    US   82584   135791535@KACHIPYTEL.COM
4OSLKM   1/17/2021   OB   2/22/2021   WN;3370;HOU;PHX;WN;4583;PHX;SAT         TERRYMOUTH             AL                    US   97642   135793702@KACHIPYTEL.COM
4OTFVB   1/17/2021   OB   2/19/2021   WN;2875;LAS;SNA;WN;686;SNA;HOU          JONESFURT              KY                    US   24007   135793702@KACHIPYTEL.COM
4P9O85   1/17/2021   OB    2/1/2021   WN;4762;CLT;DAL;WN;800;DAL;MCO          G SASOVO               VOLOGODSKAYA OBLAST   RU   76941   135795154@KACHIPYTEL.COM
4PPBRO   1/17/2021   OB   1/21/2021   WN;2744;ATL;RDU;WN;6113;RDU;TPA         PORT DONALDVIEW        WA                    US   70715   135796001@KACHIPYTEL.COM
229ALU   1/18/2021   OB   1/28/2021   WN;2234;LAX;STL;WN;3301;STL;FLL         EAST JUAN              NM                    US   52037   135821147@KACHIPYTEL.COM
22UZYY   1/18/2021   OB   1/19/2021   WN;2369;HOU;DEN;WN;2642;DEN;OAK         TIFFANYHAVEN           WY                    US   53005   135823578@KACHIPYTEL.COM
25WGWU   1/18/2021   OB    2/2/2021   WN;332;MIA;BWI                          NAN FANG ZONG SHI      MIE                   JP   24994   135835986@KACHIPYTEL.COM
26K78F   1/18/2021   OB   1/19/2021   WN;2234;LAX;STL;WN;1325;STL;MCO         WEST ANDREASTAD        CONWY                 GB   83880   135839682@KACHIPYTEL.COM
27BY4B   1/18/2021   OB   1/24/2021   WN;2351;DCA;DAL;WN;2253;DAL;MDW         KATHERINELAND          MS                    US   66185   135844709@KACHIPYTEL.COM
27KAIX   1/18/2021   OB   1/25/2021   WN;417;BNA;AUS;WN;4065;AUS;LGB          GRIFFITHPORT           SC                    US   18335   135845842@KACHIPYTEL.COM
27NR4K   1/18/2021   OB   1/22/2021   WN;2077;AUS;BNA;WN;2438;BNA;MCO         WEST CHRISTOPHERBERG   WA                    US   39346   135845842@KACHIPYTEL.COM
27OR65   1/18/2021   OB   1/27/2021   WN;2740;AUS;PHX;WN;425;PHX;LGB          LAKE TREVORFORT        MA                    US   82025   135846425@KACHIPYTEL.COM
286O8V   1/18/2021   OB   1/23/2021   WN;3629;MSY;HOU;WN;2890;HOU;MIA         JACQUELINELAND         MS                    US   87690   135848636@KACHIPYTEL.COM
286V3Z   1/18/2021   OB    2/4/2021   WN;205;RDU;MDW;WN;3388;MDW;MCO          JACQUELINELAND         PA                    US   87690   135849329@KACHIPYTEL.COM
286V3Z   1/18/2021   OB    2/4/2021   WN;205;RDU;MDW;WN;3388;MDW;MCO          JACQUELINELAND         PA                    US   87690   135849329@KACHIPYTEL.COM
288U5N   1/18/2021   OB   1/22/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL          KELLYBERG              OH                    US   25652   135849835@KACHIPYTEL.COM




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28XFHG   1/18/2021   OB   1/24/2021   WN;2838;MCO;STL;WN;3422;STL;LGA         LEETON                 WA                US   47707   135853718@KACHIPYTEL.COM
2973AE   1/18/2021   OB   1/20/2021   WN;2979;SMF;MDW;WN;458;MDW;MCO          CHASETON               CT                US   24982   135854774@KACHIPYTEL.COM
29CNC7   1/18/2021   OB   1/18/2021   WN;2395;PHX;HOU;WN;3459;HOU;TUL         KARENHAVEN             NC                US   77802   135856578@KACHIPYTEL.COM
29CVG5   1/18/2021   OB   1/24/2021   WN;2838;MCO;STL;WN;3422;STL;LGA         SOUTH EMILYSHIRE       WY                US   85975   135855764@KACHIPYTEL.COM
29LO6P   1/18/2021   OB   1/19/2021   WN;3936;MCI;PHX;WN;3026;PHX;OKC         ZHANGMOUTH             KS                US   83139   135857865@KACHIPYTEL.COM
29UD82   1/18/2021   OB   1/26/2021   WN;3522;IND;HOU;WN;3294;HOU;MIA         HALLBURY               VT                US   29965   135859031@KACHIPYTEL.COM
29V8BG   1/18/2021   OB   1/29/2021   WN;2700;CLE;MDW                         SOUTH AARON            PA                US   22902   135859504@KACHIPYTEL.COM
29WHEJ   1/18/2021   OB    2/1/2021   WN;5029;MDW;CLE                         SOUTH DONALDTON        NH                US   49971   135859504@KACHIPYTEL.COM
2A3QXB   1/18/2021   OB   1/23/2021   WN;3801;PHL;ATL;WN;1477;ATL;RSW         NORTH CURTIS           WV                US   29303   135860670@KACHIPYTEL.COM
2AJW5K   1/18/2021   OB    2/8/2021   WN;17;DAL;HOU                           NEW MICHAEL            ID                US   34803   135862342@KACHIPYTEL.COM
2AJW5K   1/18/2021   OB    2/8/2021   WN;17;DAL;HOU                           NEW MICHAEL            ID                US   34803   135862342@KACHIPYTEL.COM
2B5T7Q   1/18/2021   OB   1/21/2021   WN;3170;PHX;HOU;WN;506;HOU;CVG          MARTINSIDE             PA                US    3448   135865268@KACHIPYTEL.COM
2B82DN   1/18/2021   OB   1/22/2021   WN;3239;BWI;LAS;WN;1900;LAS;SEA         MATTHEWFORT            SC                US    5700   135865752@KACHIPYTEL.COM
2B898G   1/18/2021   OB   1/23/2021   WN;2895;HOU;PHX;WN;4497;PHX;GEG         NORTH CAMERON          WV                US    5445   135865268@KACHIPYTEL.COM
2BD7GP   1/18/2021   OB   1/25/2021   WN;2531;LAS;BWI;WN;3111;BWI;BOS         BETHSHIRE              MA                US   68107   135866830@KACHIPYTEL.COM
2BDVNZ   1/18/2021   OB   1/25/2021   WN;2531;LAS;BWI;WN;3111;BWI;BOS         CONNIEMOUTH            NJ                US   43450   135865939@KACHIPYTEL.COM
2BEUKU   1/18/2021   OB   1/22/2021   WN;3239;BWI;LAS;WN;1900;LAS;SEA         MURPHYCHESTER          WA                US    8346   135866423@KACHIPYTEL.COM
2BH6H3   1/18/2021   OB   1/19/2021   WN;5084;LAS;OAK;WN;4096;OAK;SEA         SOUTH BRIANMOUTH       AR                US   37585   135867567@KACHIPYTEL.COM
2BJ6H8   1/18/2021   OB   1/19/2021   WN;3241;TUS;LAS;WN;3663;LAS;MDW;WN;366 SOUTH DANIELLE          VA                US   83355   135867765@KACHIPYTEL.COM
2BOP3Y   1/18/2021   OB   2/19/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         EAST LISABERG          CA                US    7602   135868337@KACHIPYTEL.COM
2CH3C6   1/18/2021   OB   1/20/2021   WN;3685;LAS;PHX;WN;4608;PHX;LAX         WEST CHRISTOPHER       WV                US   55727   135871912@KACHIPYTEL.COM
2DCSHB   1/18/2021   OB   1/22/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL          AKOTOMOUTH             UPPER WEST        GH   47900   135874860@KACHIPYTEL.COM
2DKN3A   1/18/2021   OB   1/25/2021   WN;2500;BWI;FLL;WN;2246;FLL;ATL         EAST REBECCABURGH      TX                US   85264   135875861@KACHIPYTEL.COM
2DKN3A   1/18/2021   OB   1/25/2021   WN;2500;BWI;FLL;WN;2246;FLL;ATL         EAST REBECCABURGH      TX                US   85264   135875861@KACHIPYTEL.COM
2DS2IQ   1/18/2021   OB    2/8/2021   WN;5074;PHX;BNA                         SOUTH JOSEPHBERG       KS                US   63072   135876950@KACHIPYTEL.COM
2E5KGG   1/18/2021   OB   1/22/2021   WN;2744;ATL;RDU;WN;6113;RDU;TPA         WEST AARONMOUTH        NE                US   22789   135877577@KACHIPYTEL.COM
2EIDQX   1/18/2021   OB   1/19/2021   WN;3079;BUR;DEN;WN;3907;DEN;LAS         LAKE ALEXANDERMOUTH    CA                US   44194   135879304@KACHIPYTEL.COM
2EJXN2   1/18/2021   OB   1/20/2021   WN;953;ATL;BNA;WN;4149;BNA;DTW          ROBERTFORT             MA                US   79151   135879128@KACHIPYTEL.COM
4Q2ND2   1/18/2021   OB   1/25/2021   WN;4720;DTW;DEN;WN;2728;DEN;MSY         SOUTH JENNIFERMOUTH    AK                US   55237   135796991@KACHIPYTEL.COM
4QGM5V   1/18/2021   OB   2/19/2021   WN;2531;LAS;BWI;WN;3111;BWI;BOS         NORTH BRANDI           WV                US   68965   135797717@KACHIPYTEL.COM
4QIVNE   1/18/2021   OB   2/15/2021   WN;2755;BWI;LAS                         STRONGLAND             AK                US   17535   135797717@KACHIPYTEL.COM
4QO5R9   1/18/2021   OB   1/18/2021   WN;3368;ATL;HOU;WN;2576;HOU;FLL         JAMESSHIRE             OH                US   71173   135798069@KACHIPYTEL.COM
4R88ZA   1/18/2021   OB    2/9/2021   WN;2785;TPA;DEN;WN;4264;DEN;MSP         SOUTH CATHERINETON     KS                US   73143   135798795@KACHIPYTEL.COM
4R8SNO   1/18/2021   OB   3/25/2021   WN;137;SJU;MCO;WN;137;MCO;DAL;WN;289;DWEST CHLOE               PETERBOROUGH      GB   41953   135744158@KACHIPYTEL.COM
4R8SNO   1/18/2021   OB   3/25/2021   WN;137;SJU;MCO;WN;137;MCO;DAL;WN;289;DWEST CHLOE               PETERBOROUGH      GB   41953   135744158@KACHIPYTEL.COM
4R8SNO   1/18/2021   OB   3/25/2021   WN;137;SJU;MCO;WN;137;MCO;DAL;WN;289;DWEST CHLOE               PETERBOROUGH      GB   41953   135744158@KACHIPYTEL.COM
4R9OKM   1/18/2021   OB   1/18/2021   WN;4743;ATL;AUS;WN;4743;AUS;BWI;WN;3933ADKINSMOUTH             VA                US   98999   135798960@KACHIPYTEL.COM
4R9OKM   1/18/2021   OB   1/18/2021   WN;4743;ATL;AUS;WN;4743;AUS;BWI;WN;3933ADKINSMOUTH             VA                US   98999   135798960@KACHIPYTEL.COM
4RB7SW   1/18/2021   OB   2/22/2021   WN;2294;BNA;PHX;WN;2722;PHX;LGB         LISATOWN               NJ                US   10546   135798696@KACHIPYTEL.COM
4RB7SW   1/18/2021   OB   2/22/2021   WN;2294;BNA;PHX;WN;2722;PHX;LGB         LISATOWN               NJ                US   10546   135798696@KACHIPYTEL.COM
4S2YEZ   1/18/2021   OB   1/22/2021   WN;3749;LAX;MDW;WN;3167;MDW;MSP         EAST KRISTINEFURT      TX                US   94735   135799928@KACHIPYTEL.COM
4S2YEZ   1/18/2021   OB   1/22/2021   WN;3749;LAX;MDW;WN;3167;MDW;MSP         EAST KRISTINEFURT      TX                US   94735   135799928@KACHIPYTEL.COM
4SA4YX   1/18/2021   OB   1/18/2021   WN;1990;ATL;BWI                         SOUTH STACEY           MD                US   92217   135800401@KACHIPYTEL.COM
4SECA3   1/18/2021   OB   1/20/2021   WN;3236;SAT;DEN                         LAKE TIMOTHY           FL                US    2672   135800379@KACHIPYTEL.COM
4SECA3   1/18/2021   OB   1/20/2021   WN;3236;SAT;DEN                         LAKE TIMOTHY           FL                US    2672   135800379@KACHIPYTEL.COM
4SNJSX   1/18/2021   OB   1/18/2021   WN;1332;SJC;PHX;WN;4583;PHX;SAT         CARMENMOUTH            IN                US   61843   135800973@KACHIPYTEL.COM
4SNJSX   1/18/2021   OB   1/18/2021   WN;1332;SJC;PHX;WN;4583;PHX;SAT         CARMENMOUTH            IN                US   61843   135800973@KACHIPYTEL.COM
4SNJSX   1/18/2021   OB   1/18/2021   WN;1332;SJC;PHX;WN;4583;PHX;SAT         CARMENMOUTH            IN                US   61843   135800973@KACHIPYTEL.COM
4SNJSX   1/18/2021   OB   1/18/2021   WN;1332;SJC;PHX;WN;4583;PHX;SAT         CARMENMOUTH            IN                US   61843   135800973@KACHIPYTEL.COM
4ST5HU   1/18/2021   OB   1/18/2021   WN;2042;ATL;HOU;WN;3212;HOU;TPA         BRIANHAVEN             MD                US   39856   135801490@KACHIPYTEL.COM
4TMR5Z   1/18/2021   OB   1/18/2021   WN;2863;FLL;DEN;WN;1966;DEN;LAS         WEST ROBERT            SD                US   25331   135802986@KACHIPYTEL.COM
4TMR5Z   1/18/2021   OB   1/18/2021   WN;2863;FLL;DEN;WN;1966;DEN;LAS         WEST ROBERT            SD                US   25331   135802986@KACHIPYTEL.COM
4UHPZ8   1/18/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL         NORTH CALVINBURGH      AR                US   94235   135804625@KACHIPYTEL.COM
4UZ2WF   1/18/2021   OB   1/19/2021   WN;3896;MSY;HOU;WN;3631;HOU;LAX         LAKE EMILY             CA                US   83371   135805450@KACHIPYTEL.COM
4V4C9Q   1/18/2021   OB   1/18/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;251WEST WENDY               NV                US   72649   135805901@KACHIPYTEL.COM
4VF8DC   1/18/2021   OB   1/20/2021   WN;3075;MIA;BWI                         SOUTH JESUSCHESTER     DE                US   40744   135806319@KACHIPYTEL.COM
4VNKT7   1/18/2021   OB   1/24/2021   WN;2104;PHX;BWI;WN;408;BWI;CVG          NICHOLSONSTAD          AL                US   44530   135807298@KACHIPYTEL.COM
4WDCNJ   1/18/2021   OB   1/22/2021   WN;4790;LAS;BNA;WN;1271;BNA;ATL         NORTH OWEN             NORTH YORKSHIRE   GB   83374   135808398@KACHIPYTEL.COM
4XCJBC   1/18/2021   OB   1/27/2021   WN;2104;PHX;BWI;WN;408;BWI;CVG          FROSTMOUTH             MS                US    3818   135811016@KACHIPYTEL.COM
4YIK9C   1/18/2021   OB   1/18/2021   WN;3454;HOU;STL;WN;4015;STL;DAL         THOMASHAVEN            CA                US   99231   135814327@KACHIPYTEL.COM
2FS38X   1/19/2021   OB   1/29/2021   WN;2744;ATL;RDU                         LAKE CHERYLVILLE       MS                US   69300   135882175@KACHIPYTEL.COM
2G9JVE   1/19/2021   OB   2/17/2021   WN;4762;CLT;DAL;WN;2199;DAL;FLL         WEST CLAUDIA           RI                US   94112   135883462@KACHIPYTEL.COM
2GZBVE   1/19/2021   OB    2/1/2021   WN;2193;CLT;MDW;WN;3388;MDW;MCO         JONESFURT              MA                US   30556   135884749@KACHIPYTEL.COM
2HJFTF   1/19/2021   OB   1/22/2021   WN;2246;ATL;STL;WN;427;STL;TPA          WEST MICHAELFORT       MD                US    6826   135885849@KACHIPYTEL.COM
2HP9DQ   1/19/2021   OB    2/3/2021   WN;3787;LGA;BNA;WN;539;BNA;RSW          CASEYPORT              NH                US   28729   135886311@KACHIPYTEL.COM
2HPALM   1/19/2021   OB   1/22/2021   WN;5978;DEN;MCI                         LAKE JACOBMOUTH        MS                US   34007   135886267@KACHIPYTEL.COM
2HQTIN   1/19/2021   OB   1/19/2021   WN;1265;LAX;PHX;WN;1478;PHX;LAS         EAST NICOLEVIEW        CA                US   19922   135886454@KACHIPYTEL.COM
2IBICQ   1/19/2021   OB   1/19/2021   WN;824;LAX;SJC;WN;3278;SJC;LAS          PORT BRIAN             VT                US   46197   135886740@KACHIPYTEL.COM
2J6H72   1/19/2021   OB   1/20/2021   WN;2058;TUS;DEN;WN;2310;DEN;SEA         SOUTH EDWARD           AL                US    6542   135889028@KACHIPYTEL.COM
2JJ7D9   1/19/2021   OB   1/20/2021   WN;3920;LAX;MDW;WN;3388;MDW;MCO         LAKE LORITOWN          NJ                US   20242   135889688@KACHIPYTEL.COM
2K2M9N   1/19/2021   OB   1/19/2021   WN;1490;LAS;SMF;WN;1154;SMF;SEA         PORT ERICAHAVEN        IA                US   85511   135890645@KACHIPYTEL.COM
2K395X   1/19/2021   OB   1/22/2021   WN;2461;RSW;ATL;WN;2938;ATL;PHL         WALKERFURT             NY                US   75127   135890436@KACHIPYTEL.COM
2KBO7J   1/19/2021   OB   1/19/2021   WN;1588;MDW;BWI                         NEW MARTHA             DE                US   29864   135891503@KACHIPYTEL.COM
2KDQX9   1/19/2021   OB   1/20/2021   WN;164;SEA;MDW;WN;1878;MDW;BWI          ALEXISFORT             OK                US   81455   135891503@KACHIPYTEL.COM
2LJE76   1/19/2021   OB   1/20/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         BOBBYBURGH             NE                US   63959   135894242@KACHIPYTEL.COM
2LN75I   1/19/2021   OB   3/12/2021   WN;2106;AUS;PHX;WN;786;PHX;SAN          EAST KIMBERLY          MN                US   43828   135894044@KACHIPYTEL.COM
2LV5H9   1/19/2021   OB   1/19/2021   WN;2746;RDU;ATL;WN;540;ATL;PBI          CHERYLCHESTER          IN                US   30616   135895155@KACHIPYTEL.COM
2LY3E3   1/19/2021   OB   1/22/2021   WN;2600;MDW;HOU;WN;30;HOU;DAL           LAKE MICHAEL           AR                US   97810   135895320@KACHIPYTEL.COM
2P2DPQ   1/19/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL         WALKERFORT             AR                US   85532   135907376@KACHIPYTEL.COM
2Q29HV   1/19/2021   OB   2/19/2021   WN;1515;DTW;MDW;WN;2253;MDW;MCO         LISAPORT               VA                US   76408   135912700@KACHIPYTEL.COM
2S4E96   1/19/2021   OB   2/19/2021   WN;471;MEM;MCO;WN;2597;MCO;ATL          EAST LAURA             ND                US   75598   135924030@KACHIPYTEL.COM
2TH5AW   1/19/2021   OB   3/29/2021   WN;1979;MIA;HOU;WN;760;HOU;LAX          NORTH MICHAELFURT      AZ                US   74825   135933149@KACHIPYTEL.COM
2UCNPC   1/19/2021   OB   1/22/2021   WN;3343;LGA;ATL                         JOHNBOROUGH            FL                US   30993   135938022@KACHIPYTEL.COM
2UFLHB   1/19/2021   OB   1/22/2021   WN;3343;ATL;STL;WN;2622;STL;TPA         PATELBURY              NV                US   35950   135938176@KACHIPYTEL.COM
2VGHZN   1/19/2021   OB    2/6/2021   WN;4642;LAS;AUS;WN;795;AUS;DAL;WN;795;DAS PUSHKINO MOSK        ALTAYSKIY KRAY    RU   52809   135943665@KACHIPYTEL.COM
2VTMRQ   1/19/2021   OB   1/22/2021   WN;4751;RIC;ATL;WN;3948;ATL;FLL         WEST ASHLEY            ND                US   80238   135945502@KACHIPYTEL.COM
2WJHBZ   1/19/2021   OB    2/1/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA         NEW BARBARA            FL                US   69379   135949594@KACHIPYTEL.COM
2WR4IB   1/19/2021   OB   1/23/2021   WN;2881;MDW;DAL;WN;2885;DAL;BNA;WN;28 WAREBURY                 VT                US   83308   135951376@KACHIPYTEL.COM
2WR4IB   1/19/2021   OB   1/23/2021   WN;2881;MDW;DAL;WN;2885;DAL;BNA;WN;28 WAREBURY                 VT                US   83308   135951376@KACHIPYTEL.COM
2WR4IB   1/19/2021   OB   1/23/2021   WN;2881;MDW;DAL;WN;2885;DAL;BNA;WN;28 WAREBURY                 VT                US   83308   135951376@KACHIPYTEL.COM
2WWOSC   1/19/2021   OB   1/29/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA         NEW PAMELAPORT         MT                US   24590   135952707@KACHIPYTEL.COM
2XB4EQ   1/19/2021   OB   1/29/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA         SOUTH LAURIE           WV                US   63601   135954016@KACHIPYTEL.COM
2XKDOD   1/19/2021   OB   1/24/2021   WN;3964;MCO;BWI                         PHTHPUR                TAMIL NADU        IN   75447   135954808@KACHIPYTEL.COM
2XRPHP   1/19/2021   OB   1/31/2021   WN;2793;DAL;STL;WN;3422;STL;LGA         SAINTE ALPHONSEBOURG   PARIS             FR   32192   135956194@KACHIPYTEL.COM
2XRPHP   1/19/2021   OB   1/31/2021   WN;35;DAL;HOU;WN;2618;HOU;BNA           SAINTE ALPHONSEBOURG   PARIS             FR   32192   135956194@KACHIPYTEL.COM
2XUFAS   1/19/2021   OB   1/21/2021   WN;4596;PHX;LAS                         WEST DAVID             ME                US   13753   135956689@KACHIPYTEL.COM
2XVVM2   1/19/2021   OB   1/22/2021   WN;2246;ATL;STL;WN;427;STL;TPA          CORDOVAPORT            MS                US   76090   135957129@KACHIPYTEL.COM
2XZVH9   1/19/2021   OB   2/20/2021   WN;4574;OAK;HOU;WN;2218;HOU;MDW         CHRISTOPHERPORT        CO                US   56905   135957426@KACHIPYTEL.COM
2XZVH9   1/19/2021   OB   2/20/2021   WN;4574;OAK;HOU;WN;2218;HOU;MDW         CHRISTOPHERPORT        CO                US   56905   135957426@KACHIPYTEL.COM
2Y7O8L   1/19/2021   OB   1/25/2021   WN;3209;FLL;DAL;WN;1453;DAL;LAS         MICHELLESHIRE          IN                US   72203   135958097@KACHIPYTEL.COM
2YOQ8D   1/19/2021   OB   1/30/2021   WN;4183;PHX;SMF;WN;3099;SMF;SEA         NORTH MARYSTAD         KS                US   75225   135961221@KACHIPYTEL.COM
2YOQ8D   1/19/2021   OB   1/30/2021   WN;4183;PHX;SMF;WN;3099;SMF;SEA         NORTH MARYSTAD         KS                US   75225   135961221@KACHIPYTEL.COM
2YSFYO   1/19/2021   OB   1/21/2021   WN;1888;PHX;LAS                         KARENBERG              PA                US   66542   135961584@KACHIPYTEL.COM
2YXOG5   1/19/2021   OB   1/22/2021   WN;2773;ATL;BNA;WN;2432;BNA;TPA         GEORGESHIRE            ID                US   51425   135962090@KACHIPYTEL.COM
2Z3IO6   1/19/2021   OB   1/21/2021   WN;1973;SAN;HOU                         SOUTH SEAN             OH                US   29797   135962464@KACHIPYTEL.COM




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2Z4E25            1/19/2021   OB   2/16/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA           NORTH WILLIAMFORT    UT               US   52993   135962706@KACHIPYTEL.COM
2ZAEN9            1/19/2021   OB    2/1/2021   WN;569;DEN;OAK;WN;4096;OAK;SEA           LAKE JENNIFER        UT               US   53250   135963135@KACHIPYTEL.COM
2ZQ286            1/19/2021   OB   1/20/2021   WN;2537;PHX;DEN;WN;2310;DEN;SEA          LAKE ROBERTBERG      NE               US   75099   135965599@KACHIPYTEL.COM
3237CA            1/19/2021   OB   1/24/2021   WN;1990;ATL;BWI                          NORTH DAVIDBOROUGH   MD               US   44510   135966226@KACHIPYTEL.COM
32AS86            1/19/2021   OB   1/22/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB           LAKE KIMBERLY        AR               US    7538   135967733@KACHIPYTEL.COM
32AS86            1/19/2021   OB   1/22/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB           LAKE KIMBERLY        AR               US    7538   135967733@KACHIPYTEL.COM
32PTBF            1/19/2021   OB   1/23/2021   WN;2881;MDW;DAL;WN;2885;DAL;BNA;WN;28 SOUTH KAITLINBERG       ME               US   10051   135968976@KACHIPYTEL.COM
32Y4GS            1/19/2021   OB    2/2/2021   WN;3468;BOI;DEN                          SOUTH JANICE         NV               US   53360   135969867@KACHIPYTEL.COM
33MFXA            1/20/2021   OB   1/21/2021   WN;4954;PHX;DEN;WN;2516;DEN;SEA          JOANNSTAD            AK               US   20450   135971748@KACHIPYTEL.COM
348OE5            1/20/2021   OB    2/5/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW          LESTERSIDE           AZ               US   81954   135973431@KACHIPYTEL.COM
34EWQR            1/20/2021   OB   1/20/2021   WN;1888;PHX;LAS;WN;1900;LAS;SEA          EAST STEPHANIE       KS               US   86718   135973794@KACHIPYTEL.COM
34NET3            1/20/2021   OB   1/22/2021   WN;2246;ATL;STL                          JOHNSONPORT          MT               US   27002   135974135@KACHIPYTEL.COM
34O9GL            1/20/2021   OB    2/2/2021   WN;3468;BOI;DEN;WN;2369;DEN;LGB          NORTH KATHERINE      AR               US   20171   135974619@KACHIPYTEL.COM
34YTX9            1/20/2021   OB   1/20/2021   WN;559;LAX;DAL;WN;2484;DAL;MSY           NEW ROBERT           NV               US   97915   135975422@KACHIPYTEL.COM
352LWJ            1/20/2021   OB    2/1/2021   WN;205;RDU;MDW;WN;3388;MDW;MCO           RICARDOSIDE          NH               US   85307   135975114@KACHIPYTEL.COM
353PES            1/20/2021   OB   1/25/2021   WN;4131;MIA;HOU                          NORTH VINCENT        AK               US   66474   135975191@KACHIPYTEL.COM
35B3GI            1/20/2021   OB   1/20/2021   WN;3294;MIA;BWI;WN;5016;BWI;ALB          SZOLNOK              PECS             HU   81635   135975895@KACHIPYTEL.COM
35WMF2            1/20/2021   OB   1/22/2021   WN;4743;ATL;AUS;WN;417;AUS;DEN           SOUTH JESSICAMOUTH   WY               US   90536   135977435@KACHIPYTEL.COM
35Z7RX            1/20/2021   OB   1/27/2021   WN;4936;LAX;HOU;WN;2723;HOU;MIA          CLAYTONVIEW          NC               US   50668   135977831@KACHIPYTEL.COM
35Z7RX            1/20/2021   OB   1/27/2021   WN;4936;LAX;HOU;WN;2723;HOU;MIA          CLAYTONVIEW          NC               US   50668   135977831@KACHIPYTEL.COM
35ZIBA            1/20/2021   OB   1/20/2021   WN;4838;SEA;SMF;WN;3271;SMF;PHX          DIANATON             ND               US   36035   135977853@KACHIPYTEL.COM
         369564   1/20/2021   OB   1/25/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL           WEST KEVINFURT       FL               US   47651   135978524@KACHIPYTEL.COM
36BFNF            1/20/2021   OB   1/22/2021   WN;3348;LGA;ATL                          JENNIFERBURY         DE               US   14905   135978304@KACHIPYTEL.COM
36IX55            1/20/2021   OB   1/20/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS          LAKE KATHRYNMOUTH    WA               US   19716   135978810@KACHIPYTEL.COM
36K9ON            1/20/2021   OB   3/26/2021   WN;1349;SAT;DAL;WN;1289;DAL;FLL          NEW RONALDFURT       NY               US   19096   135978997@KACHIPYTEL.COM
36LZ7B            1/20/2021   OB   1/22/2021   WN;332;MIA;BWI;WN;1657;BWI;CLE           MICHAELBOROUGH       PA               US   96894   135978887@KACHIPYTEL.COM
36MXEU            1/20/2021   OB   3/29/2021   WN;2042;TPA;BUF;WN;2042;BUF;MDW;WN;204NEW CYNTHIA             MN               US   99009   135978997@KACHIPYTEL.COM
36QYTI            1/20/2021   OB    2/7/2021   WN;239;AUS;SJC;WN;2877;SJC;LAX           RANDALLBURY          KY               US    6085   135979404@KACHIPYTEL.COM
36S76Z            1/20/2021   OB   1/20/2021   WN;2877;LAX;MDW                          STEVENVIEW           RI               US   56335   135979448@KACHIPYTEL.COM
36UBXP            1/20/2021   OB   1/20/2021   WN;1888;PHX;LAS;WN;1900;LAS;SEA          SOUTH SARA           HI               US   63529   135979756@KACHIPYTEL.COM
36ZSCK            1/20/2021   OB   1/21/2021   WN;2590;MDW;LAS;WN;2905;LAS;OKC          KIMBERLYVIEW         MT               US   51630   135980515@KACHIPYTEL.COM
373NGF            1/20/2021   OB   1/22/2021   WN;3343;ATL;STL;WN;2622;STL;TPA          PORT PETERHAVEN      OH               US   61974   135980581@KACHIPYTEL.COM
373NGF            1/20/2021   OB   1/22/2021   WN;3343;ATL;STL;WN;2622;STL;TPA          PORT PETERHAVEN      OH               US   61974   135980581@KACHIPYTEL.COM
373NGF            1/20/2021   OB   1/22/2021   WN;3343;ATL;STL;WN;2622;STL;TPA          PORT PETERHAVEN      OH               US   61974   135980581@KACHIPYTEL.COM
376IFP            1/20/2021   OB   1/24/2021   WN;3223;LAS;MDW;WN;1360;MDW;FLL          PORT ANGELA          ID               US   17802   135980515@KACHIPYTEL.COM
377HEX            1/20/2021   OB    2/3/2021   WN;2969;STL;SAN;WN;2620;SAN;OAK          BRADYBERG            HI               US     642   135980922@KACHIPYTEL.COM
37BVH4            1/20/2021   OB   1/26/2021   WN;2883;SAN;LAS;WN;3100;LAS;STL          DAVIDCHESTER         NM               US   73131   135980922@KACHIPYTEL.COM
37SA6I            1/20/2021   OB   3/14/2021   WN;296;BOS;BWI;WN;2876;BWI;ORD           ROGERSSIDE           AK               US   95246   135982110@KACHIPYTEL.COM
37U3YM            1/20/2021   OB   1/20/2021   WN;3075;MIA;BWI;WN;4830;BWI;ALB          LAKE CARLA           NUNAVUT          CA   37523   135982055@KACHIPYTEL.COM
389C9B            1/20/2021   OB   1/20/2021   WN;332;MIA;BWI;WN;5016;BWI;ALB           TAYLORTON            KS               US   63683   135983012@KACHIPYTEL.COM
38A9PW            1/20/2021   OB   2/15/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA           LAKE MICHEALSHIRE    NJ               US   69442   135983045@KACHIPYTEL.COM
38SQ44            1/20/2021   OB   1/27/2021   WN;4562;BNA;PHX;WN;425;PHX;LGB           NORTH JASMINEPORT    NC               US   14634   135984508@KACHIPYTEL.COM
38UZOV            1/20/2021   OB   1/31/2021   WN;2854;SNA;SMF                          VEGASIDE             KY               US   66691   135984486@KACHIPYTEL.COM
394R28            1/20/2021   OB    2/4/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS          GIBBSHAVEN           ME               US   74415   135985245@KACHIPYTEL.COM
394R28            1/20/2021   OB    2/4/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS          GIBBSHAVEN           ME               US   74415   135985245@KACHIPYTEL.COM
397BUY            1/20/2021   OB   1/25/2021   WN;149;HOU;BWI;WN;331;BWI;MIA            NEW ASHLEYVILLE      MA               US   29748   135985311@KACHIPYTEL.COM
398P93            1/20/2021   OB   1/21/2021   WN;3241;TUS;LAS                          RHONDAVILLE          AL               US   22743   135985014@KACHIPYTEL.COM
399HHV            1/20/2021   OB   1/22/2021   WN;3343;ATL;STL;WN;2622;STL;TPA          LAKE JOHN            SD               US   58635   135985212@KACHIPYTEL.COM
399SKY            1/20/2021   OB   1/22/2021   WN;2516;BWI;HOU;WN;307;HOU;CUN           EAST PAULPORT        NM               US   36629   135985311@KACHIPYTEL.COM
39A2ST            1/20/2021   OB   1/27/2021   WN;1515;DTW;MDW                          FOXBOROUGH           SD               US   55328   135985014@KACHIPYTEL.COM
39HHIG            1/20/2021   OB   1/30/2021   WN;3816;PHL;MDW;WN;3404;MDW;MCO          CITRKUUTT            TAMIL NADU       IN   82608   135985927@KACHIPYTEL.COM
3BUUA2            1/20/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          PARRISHPORT          MO               US   45491   135986323@KACHIPYTEL.COM
3BYRN6            1/20/2021   OB   1/21/2021   WN;441;ATL;DEN;WN;4986;DEN;MSP           SORAWUTTON           PHAYAO           TH   60719   135993341@KACHIPYTEL.COM
3CKZCJ            1/20/2021   OB   1/20/2021   WN;867;MDW;LAS;WN;2905;LAS;OKC           EAST TIMOTHY         WV               US   11840   135995255@KACHIPYTEL.COM
3CKZCJ            1/20/2021   OB   1/20/2021   WN;867;MDW;LAS;WN;2905;LAS;OKC           EAST TIMOTHY         WV               US   11840   135995255@KACHIPYTEL.COM
3CPITL            1/20/2021   OB   1/20/2021   WN;3435;HOU;OAK                          DAKOTASTAD           KY               US   54139   135996641@KACHIPYTEL.COM
3CVH44            1/20/2021   OB   1/30/2021   WN;2063;DTW;PHX;WN;4064;PHX;HOU;WN;406SOUTH CAROLINE          KY               US   73697   135988116@KACHIPYTEL.COM
3CVH44            1/20/2021   OB   1/30/2021   WN;2063;DTW;PHX;WN;4064;PHX;HOU;WN;406SOUTH CAROLINE          KY               US   73697   135988116@KACHIPYTEL.COM
3FLZBH            1/20/2021   OB   1/24/2021   WN;2246;ATL;STL;WN;3301;STL;FLL          SHARONCHESTER        IN               US   22052   136011139@KACHIPYTEL.COM
3GGIGU            1/20/2021   OB   1/29/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS          WEST LAUREN          WA               US   29908   136014340@KACHIPYTEL.COM
3GGIGU            1/20/2021   OB   1/29/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS          WEST LAUREN          WA               US   29908   136014340@KACHIPYTEL.COM
3H9X5F            1/20/2021   OB   1/23/2021   WN;1492;LAS;SMF;WN;3099;SMF;SEA          COLLINSSIDE          MN               US   32759   136019004@KACHIPYTEL.COM
3HSDFX            1/20/2021   OB   1/24/2021   WN;1305;DEN;MDW;WN;3663;MDW;SEA          BRIANSIDE            MD               US   62650   136021138@KACHIPYTEL.COM
3I4958            1/20/2021   OB   1/22/2021   WN;3338;SFO;MDW;WN;458;MDW;MCO           BRITTANYBURY         WA               US   31283   136022425@KACHIPYTEL.COM
3I4LLT            1/20/2021   OB   1/23/2021   WN;5084;LAS;OAK;WN;2015;OAK;LGB          NEW SUMMER           SD               US   64906   136022205@KACHIPYTEL.COM
3IJ2IP            1/20/2021   OB   1/22/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           LAKE JILL            WY               US   42057   136024977@KACHIPYTEL.COM
3IUM9Z            1/20/2021   OB   1/20/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           NORTH RACHEL         MT               US   85536   136026528@KACHIPYTEL.COM
3K22VH            1/20/2021   OB   2/20/2021   WN;3922;BDL;TPA;WN;60;TPA;MIA            PORT DEBBIE          HI               US   73123   136032237@KACHIPYTEL.COM
3KXJNN            1/20/2021   OB   1/24/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL           INTOOR               CHANDIGARH       IN   79860   135954808.1538184@KACHIPYTEL.COM
3L32QF            1/20/2021   OB   1/29/2021   WN;1948;PWM;BWI;WN;2654;BWI;RSW          FOLEYVILLE           NH               US   75825   136038144@KACHIPYTEL.COM
3LLKVG            1/20/2021   OB   1/22/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP          NORTH CALEB          CO               US   92523   136040531@KACHIPYTEL.COM
3MF4JO            1/20/2021   OB   1/29/2021   WN;3343;ATL;STL;WN;4986;STL;DEN;WN;4986;DDAVIDPORT            NY               US   23108   136045965@KACHIPYTEL.COM
3MOSFC            1/20/2021   OB   1/30/2021   WN;2082;FLL;PHX;WN;2085;PHX;LAX          WEST EDWARD          CT               US   10345   136046405@KACHIPYTEL.COM
3MTDW7            1/20/2021   OB   1/31/2021   WN;930;PHL;DEN;WN;856;DEN;LAS            NEW JOSEPHHAVEN      TX               US   84343   136048011@KACHIPYTEL.COM
3MTKDE            1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB           BADAJOZ              ALAVA            ES   14762   136047527@KACHIPYTEL.COM
3MTKDE            1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB           BADAJOZ              ALAVA            ES   14762   136047527@KACHIPYTEL.COM
3MTSVQ            1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL          CHRISTINABURGH       AL FAYYUM        EG    3812   136047527@KACHIPYTEL.COM
3MTSVQ            1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL          CHRISTINABURGH       AL FAYYUM        EG    3812   136047527@KACHIPYTEL.COM
3MTSVQ            1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL          CHRISTINABURGH       AL FAYYUM        EG    3812   136047527@KACHIPYTEL.COM
3MTSVQ            1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL          CHRISTINABURGH       AL FAYYUM        EG    3812   136047527@KACHIPYTEL.COM
3MVDXA            1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB           SERPA                BEJA             PT   41989   136047527@KACHIPYTEL.COM
3MVDXA            1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB           SERPA                BEJA             PT   41989   136047527@KACHIPYTEL.COM
3MXJ9D            1/20/2021   OB   1/31/2021   WN;569;DEN;OAK;WN;4096;OAK;SEA           PORT ELIZABETH       WY               US   53799   136048011@KACHIPYTEL.COM
3N6Y9A            1/20/2021   OB   1/21/2021   WN;2537;PHX;DEN;WN;2310;DEN;SEA          NORTH BRYANSIDE      VT               US   24789   136049353@KACHIPYTEL.COM
3N8CBI            1/20/2021   OB   1/29/2021   WN;2286;SJC;DEN;WN;2522;DEN;BNA          CAMPBELLBOROUGH      ND               US   16936   136050266@KACHIPYTEL.COM
3NPS4N            1/20/2021   OB   1/21/2021   WN;3787;LGA;BNA;WN;3188;BNA;MCO          ZHENG ZHOU SHI       GUIZHOU SHENG    CN   92952   136052521@KACHIPYTEL.COM
3NPUS4            1/20/2021   OB   1/25/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          TIMOTHYMOUTH         OH               US   54761   136052224@KACHIPYTEL.COM
3NRGEP            1/20/2021   OB   1/31/2021   WN;2838;MCO;STL;WN;3422;STL;LGA          LAKE STEVEN          ND               US   76553   136053599@KACHIPYTEL.COM
3NTJN3            1/20/2021   OB    3/4/2021   WN;4925;SMF;DEN;WN;3927;DEN;LAX          PORT DENNIS          DE               US   21678   136053819@KACHIPYTEL.COM
3NXTTL            1/20/2021   OB   1/23/2021   WN;4683;MSP;MDW;WN;4683;MDW;MCI;WN;3JMMU                      GUJARAT          IN     844   136054809@KACHIPYTEL.COM
3OEH5F            1/20/2021   OB   1/23/2021   WN;1527;ATL;MDW                          PORT TAMMY           NY               US   36271   136056459@KACHIPYTEL.COM
3OEH5F            1/20/2021   OB   1/23/2021   WN;1527;ATL;MDW                          PORT TAMMY           NY               US   36271   136056459@KACHIPYTEL.COM
3OF38K            1/20/2021   OB   1/23/2021   WN;3081;LAS;MDW;WN;3908;MDW;FLL          SOUTH PATRICIAFURT   NY               US   18985   136056635@KACHIPYTEL.COM
3OJQBW            1/20/2021   OB   1/29/2021   WN;3294;MIA;BWI                          CURTISSHIRE          RI               US   30194   136056855@KACHIPYTEL.COM
3ONS96            1/20/2021   OB   1/22/2021   WN;3749;LAX;MDW;WN;1588;MDW;BWI;WN;1 LINDSEYVILLE             LA               US   46016   136056822@KACHIPYTEL.COM
3OW4J8            1/20/2021   OB   1/22/2021   WN;2664;BOS;BNA;WN;2931;BNA;MDW          LOPEZCHESTER         NY               US   61121   136058472@KACHIPYTEL.COM
3OYPUX            1/20/2021   OB   1/21/2021   WN;2979;SMF;MDW;WN;458;MDW;MCO           MARTINEZTON          WV               US    4516   136058351@KACHIPYTEL.COM
3OYUSY            1/20/2021   OB   1/25/2021   WN;1588;TPA;MDW;WN;3167;MDW;MSP          HOLLYFURT            ID               US   73119   136058076@KACHIPYTEL.COM
3P5S4K            1/20/2021   OB   1/22/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO          RYANSHIRE            NE               US   37417   136059187@KACHIPYTEL.COM
3PWIC3            1/20/2021   OB   1/21/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 MOOREBERG              OH               US   94621   136061134@KACHIPYTEL.COM
3QV27H            1/21/2021   OB    2/2/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO          SOUTH CHARLESMOUTH   WV               US   98199   136063697@KACHIPYTEL.COM
3R4YV2            1/21/2021   OB   1/25/2021   WN;2809;MCO;BNA;WN;4766;BNA;PHL          NORTH DONNABOROUGH   MO               US   69849   136063840@KACHIPYTEL.COM
3R8G5C            1/21/2021   OB   1/23/2021   WN;4738;DEN;SMF;WN;3099;SMF;SEA          JOOTPUUR             PUNJAB           IN   46083   136063774@KACHIPYTEL.COM
3R9JN6            1/21/2021   OB   1/22/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW          ROBERTBOROUGH        LA               US    5937   136064445@KACHIPYTEL.COM
3RBZ4Z            1/21/2021   OB   1/25/2021   WN;3796;MDW;ATL                          PORT JEFFREY         AK               US   71622   136064445@KACHIPYTEL.COM




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3RPAJU            1/21/2021   OB    3/8/2021   WN;1098;MCO;LAS;WN;1098;LAS;PHX;WN;840; NELSONFORT            SC                         US   80325   136065567@KACHIPYTEL.COM
3RPAJU            1/21/2021   OB    3/8/2021   WN;1098;MCO;LAS;WN;1098;LAS;PHX;WN;840; NELSONFORT            SC                         US   80325   136065567@KACHIPYTEL.COM
3RUURI            1/21/2021   OB   1/23/2021   WN;3801;PHL;ATL;WN;1477;ATL;RSW         CHERYLVILLE           RI                         US    3997   136065391@KACHIPYTEL.COM
3S7SI2            1/21/2021   OB   1/31/2021   WN;206;IND;PHX                          JOHNNYPORT            HI                         US   70889   136066766@KACHIPYTEL.COM
3S7UAD            1/21/2021   OB    2/1/2021   WN;3256;BWI;MDW                         TAAVNNKREE            BIHAR                      IN   42297   136066744@KACHIPYTEL.COM
3S9TBF            1/21/2021   OB   1/22/2021   WN;1588;MDW;BWI;WN;3111;BWI;BOS         KAANNNPUUR            BIHAR                      IN   89531   136066744@KACHIPYTEL.COM
3SAY99            1/21/2021   OB   1/25/2021   WN;470;MDW;CLE;WN;470;CLE;BWI;WN;3111;BPHYLLISBURGH           KS                         US   13174   136066733@KACHIPYTEL.COM
3SDN7Y            1/21/2021   OB    2/7/2021   WN;3630;LAS;ABQ;WN;3630;ABQ;HOU;WN;272 WALLACEBERG            LA                         US   83465   136066920@KACHIPYTEL.COM
3SDN7Y            1/21/2021   OB    2/7/2021   WN;3630;LAS;ABQ;WN;3630;ABQ;HOU;WN;272 WALLACEBERG            LA                         US   83465   136066920@KACHIPYTEL.COM
3SO49Q            1/21/2021   OB   1/24/2021   WN;845;MSP;MDW;WN;3189;MDW;PHX          CURTISBOROUGH         OK                         US   66698   136067459@KACHIPYTEL.COM
3SO49Q            1/21/2021   OB   1/24/2021   WN;845;MSP;MDW;WN;3189;MDW;PHX          CURTISBOROUGH         OK                         US   66698   136067459@KACHIPYTEL.COM
3T6LQ6            1/21/2021   OB   1/21/2021   WN;2761;JAX;BWI;WN;3111;BWI;BOS         PORT MARK             NV                         US   57651   136068350@KACHIPYTEL.COM
3T6LQ6            1/21/2021   OB   1/21/2021   WN;2761;JAX;BWI;WN;3111;BWI;BOS         PORT MARK             NV                         US   57651   136068350@KACHIPYTEL.COM
3T84FE            1/21/2021   OB   1/23/2021   WN;4350;LAS;PHX                         NORTH ASHLEYTON       TX                         US   57727   136068702@KACHIPYTEL.COM
3T9A2E            1/21/2021   OB   1/22/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         EAST PAULASIDE        CA                         US   21977   136068438@KACHIPYTEL.COM
3TARVY            1/21/2021   OB   1/21/2021   WN;4596;PHX;LAS                         PORT ANDREWMOUTH      DE                         US   29707   136068702@KACHIPYTEL.COM
3TARVY            1/21/2021   OB   1/21/2021   WN;5084;LAS;OAK                         PORT ANDREWMOUTH      DE                         US   29707   136068702@KACHIPYTEL.COM
3TGLH4            1/21/2021   OB   1/21/2021   WN;2220;STL;MCO;WN;4577;MCO;BUF         SOUTH MICHAELSHIRE    OK                         US    5186   136069439@KACHIPYTEL.COM
3TGLH4            1/21/2021   OB   1/21/2021   WN;2220;STL;MCO;WN;4577;MCO;BUF         SOUTH MICHAELSHIRE    OK                         US    5186   136069439@KACHIPYTEL.COM
3TGOIW            1/21/2021   OB   1/22/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         GREENHAVEN            NJ                         US   60444   136069307@KACHIPYTEL.COM
3U8V23            1/21/2021   OB   2/17/2021   WN;2220;MDW;BNA                         AARONBERG             WV                         US   29236   136070781@KACHIPYTEL.COM
3U8V23            1/21/2021   OB   2/17/2021   WN;2220;MDW;BNA                         AARONBERG             WV                         US   29236   136070781@KACHIPYTEL.COM
3UZKIC            1/21/2021   OB   1/26/2021   WN;715;ATL;BWI                          LAKE LORI             PAFOS                      CY   47961   136072618@KACHIPYTEL.COM
3V3EYE            1/21/2021   OB   1/21/2021   WN;2208;STL;LAX;WN;1140;LAX;LAS         EAST JOHN             AR                         US   25190   136072893@KACHIPYTEL.COM
3V3I6Y            1/21/2021   OB   1/21/2021   WN;3124;DTW;BNA;WN;3959;BNA;ATL         LAKE JAMIEBERG        KS                         US    2849   136072970@KACHIPYTEL.COM
3V5W6U            1/21/2021   OB   1/21/2021   WN;2739;SAT;DEN;WN;2516;DEN;SEA         PETERCHESTER          WV                         US   40073   136073058@KACHIPYTEL.COM
3VYAVQ            1/21/2021   OB   1/22/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX         LAKE BARRY            SC                         US   17368   136074774@KACHIPYTEL.COM
3VYAVQ            1/21/2021   OB   1/22/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX         LAKE BARRY            SC                         US   17368   136074774@KACHIPYTEL.COM
3VYAVQ            1/21/2021   OB   1/22/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX         LAKE BARRY            SC                         US   17368   136074774@KACHIPYTEL.COM
3W8WGU            1/21/2021   OB   1/21/2021   WN;4520;LAS;PHX;WN;3382;PHX;SEA         WEST STEPHANIE        NJ                         US   39843   136075390@KACHIPYTEL.COM
3WB5HH            1/21/2021   OB   1/21/2021   WN;4596;PHX;LAS;WN;1900;LAS;SEA         SOUTH JUDY            OH                         US   95235   136075390@KACHIPYTEL.COM
3WLNG3            1/21/2021   OB   1/31/2021   WN;3170;PHX;HOU;WN;506;HOU;CVG          ALLISONMOUTH          VA                         US   39836   136076204@KACHIPYTEL.COM
3WMMXT            1/21/2021   OB   1/30/2021   WN;6215;BNA;DEN;WN;4624;DEN;LGB         SINGHHAVEN            KS                         US   21110   136076072@KACHIPYTEL.COM
3WNS6O            1/21/2021   OB   1/31/2021   WN;4775;SAN;BWI                         EAST DANIELTON        OH                         US   73596   136076061@KACHIPYTEL.COM
3WYP7Y            1/21/2021   OB   1/21/2021   WN;2157;BDL;MCO;WN;2438;MCO;FLL         MICHAELSIDE           DE                         US   24265   136076732@KACHIPYTEL.COM
3XDG8U            1/21/2021   OB   1/23/2021   WN;4574;LAX;OAK;WN;4819;OAK;LAS         POOPAAL               JAMMU AND KASHMIR          IN   52102   136078118@KACHIPYTEL.COM
3XFHSU            1/21/2021   OB   1/29/2021   WN;2960;ONT;SMF;WN;4873;SMF;LAS         RILEYLAND             LA                         US   80491   136078162@KACHIPYTEL.COM
3XZWOX            1/21/2021   OB   1/22/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         PAULLAND              AZ                         US   87149   136079823@KACHIPYTEL.COM
3YYXTA            1/21/2021   OB   1/21/2021   WN;441;ATL;DEN;WN;4986;DEN;MSP          JASONCHESTER          SD                         US     738   136082276@KACHIPYTEL.COM
42GOK5            1/21/2021   OB   1/21/2021   WN;2516;MCO;DEN;WN;3285;DEN;SFO         AVURNGKPAAT           GOA                        IN   38976   136089118@KACHIPYTEL.COM
45G3PW            1/21/2021   OB   1/21/2021   WN;2746;RDU;ATL;WN;5008;ATL;RSW         SHAWNMOUTH            NE                         US    2586   136103627@KACHIPYTEL.COM
463E3Z            1/21/2021   OB   1/25/2021   WN;6006;TPA;MKE;WN;2640;MKE;BNA         BRADLEYLAND           CA                         US   75442   136108203@KACHIPYTEL.COM
         466267   1/21/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         DONALDMOUTH           HI                         US   72236   136107796@KACHIPYTEL.COM
46AJE3            1/21/2021   OB    2/3/2021   WN;3804;LGA;STL                         ST SOSNOVYI BOR       BASHKORTOSTAN RESPUBLIKA   RU   44692   136109116@KACHIPYTEL.COM
472MRP            1/21/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;102;BWI;MIA           AUNINSMOUTH           REZEKNES NOVADS            LV   46107   136113912@KACHIPYTEL.COM
47FQZK            1/21/2021   OB   1/22/2021   WN;3496;RSW;ATL;WN;3254;ATL;RDU         MICHELLESIDE          SD                         US   10898   136115782@KACHIPYTEL.COM
47ZFX9            1/21/2021   OB   1/28/2021   WN;3792;LGA;MDW;WN;3176;MDW;DAL         LAURAVILLE            NV                         US    4703   136119665@KACHIPYTEL.COM
48CE6H            1/21/2021   OB   1/26/2021   WN;4022;MDW;BWI;WN;4727;BWI;FLL         NEW KATHERINE         WI                         US   55715   136121920@KACHIPYTEL.COM
48RVT7            1/21/2021   OB   1/24/2021   WN;715;ATL;BWI                          MADDOXCHESTER         ME                         US   84924   136123284@KACHIPYTEL.COM
48VBU6            1/21/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         PORT ERIC             AK                         US   68440   136123570@KACHIPYTEL.COM
48VBU6            1/21/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         PORT ERIC             AK                         US   68440   136123570@KACHIPYTEL.COM
48VBU6            1/21/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         PORT ERIC             AK                         US   68440   136123570@KACHIPYTEL.COM
48VLNT            1/21/2021   OB   1/25/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS         JAMESMOUTH            NJ                         US   94077   136124395@KACHIPYTEL.COM
49NVV2            1/21/2021   OB   1/31/2021   WN;1275;ATL;BNA;WN;3585;BNA;DTW         CZERWIONKALESZCZYNY   WIELKOPOLSKIE              PL   31084   136128784@KACHIPYTEL.COM
49RGBM            1/21/2021   OB   1/26/2021   WN;3714;LAX;BWI;WN;3933;BWI;DTW         HILLMOUTH             ND                         US    3010   136128245@KACHIPYTEL.COM
4AAAK5            1/21/2021   OB   1/24/2021   WN;2107;TPA;BWI;WN;2757;BWI;JAX         NORTH DAVID           CO                         US   98126   136131743@KACHIPYTEL.COM
4ACX92            1/21/2021   OB   1/22/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         FITZGERALDMOUTH       PA                         US   23274   136132293@KACHIPYTEL.COM
4AG85V            1/21/2021   OB    2/9/2021   WN;4143;BUF;TPA;WN;6012;TPA;SDF         PAMELASIDE            UT                         US   85083   136132403@KACHIPYTEL.COM
4AG85V            1/21/2021   OB    2/9/2021   WN;4143;BUF;TPA;WN;6012;TPA;SDF         PAMELASIDE            UT                         US   85083   136132403@KACHIPYTEL.COM
4AG9KJ            1/21/2021   OB    2/1/2021   WN;715;ATL;BWI;WN;102;BWI;MIA           CALLAHANBOROUGH       WA                         US   18740   136132678@KACHIPYTEL.COM
4B7KWH            1/21/2021   OB   1/25/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA          NEW AMYPORT           CO                         US   72582   136136022@KACHIPYTEL.COM
4B8TRX            1/21/2021   OB   1/24/2021   WN;2708;LGA;MDW                         LAKE MELISSABERG      SC                         US   59847   136136110@KACHIPYTEL.COM
4BLNXQ            1/21/2021   OB   1/24/2021   WN;3663;LAS;MDW;WN;2611;MDW;FLL         MARYFURT              NV                         US   76458   136138068@KACHIPYTEL.COM
4BNNVB            1/21/2021   OB   1/22/2021   WN;2516;MCO;DEN                         P BELGOROD            NOVOSIBIRSKAYA OBLAST      RU   22757   136138728@KACHIPYTEL.COM
4BTH7Q            1/21/2021   OB   1/23/2021   WN;4151;SEA;SMF;WN;1491;SMF;LAS         HERNANDEZLAND         NJ                         US    1480   136139311@KACHIPYTEL.COM
4BTH7Q            1/21/2021   OB   1/23/2021   WN;4151;SEA;SMF;WN;1491;SMF;LAS         HERNANDEZLAND         NJ                         US    1480   136139311@KACHIPYTEL.COM
4BTH7Q            1/21/2021   OB   1/23/2021   WN;4151;SEA;SMF;WN;1491;SMF;LAS         HERNANDEZLAND         NJ                         US    1480   136139311@KACHIPYTEL.COM
4BXSAZ            1/21/2021   OB   2/19/2021   WN;2294;BNA;PHX;WN;2722;PHX;LGB         SUSANPORT             IA                         US   86518   136140422@KACHIPYTEL.COM
4BXSAZ            1/21/2021   OB   2/19/2021   WN;2294;BNA;PHX;WN;2722;PHX;LGB         SUSANPORT             IA                         US   86518   136140422@KACHIPYTEL.COM
4BXZJL            1/21/2021   OB   2/27/2021   WN;4380;PHX;BNA;WN;2833;BNA;ATL         SOUTH BRITTNEYVILLE   DE                         US   63765   136140422@KACHIPYTEL.COM
4BXZJL            1/21/2021   OB   2/27/2021   WN;4380;PHX;BNA;WN;2833;BNA;ATL         SOUTH BRITTNEYVILLE   DE                         US   63765   136140422@KACHIPYTEL.COM
4C2SWX            1/21/2021   OB   1/22/2021   WN;2234;LAX;STL;WN;1325;STL;MCO         BUTLERSIDE            SD                         US   32461   136140125@KACHIPYTEL.COM
4CI3QK            1/21/2021   OB   1/23/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW         NORTH JASON           LA                         US   41058   136142534@KACHIPYTEL.COM
4CK6DY            1/21/2021   OB   1/25/2021   WN;4022;MDW;BWI;WN;4727;BWI;FLL         NORTH LESLIEBOROUGH   SC                         US   12406   136142556@KACHIPYTEL.COM
4DBVTC            1/21/2021   OB   1/27/2021   WN;1588;MDW;BWI;WN;3984;BWI;FLL         SMITHPORT             MN                         US   29649   136145845@KACHIPYTEL.COM
4DCQ9Q            1/21/2021   OB   1/28/2021   WN;2044;DCA;MDW;WN;3388;MDW;MCO         EAST RICHARD          MT                         US   21956   136145845@KACHIPYTEL.COM
4DKWKB            1/21/2021   OB   2/25/2021   WN;4235;OKC;PHX;WN;3322;PHX;HOU         NEW MARKSTAD          ND                         US   31100   136146439@KACHIPYTEL.COM
4DMIV3            1/21/2021   OB   2/25/2021   WN;4235;OKC;PHX;WN;3322;PHX;HOU         NEW DANIELMOUTH       IN                         US   84111   136146703@KACHIPYTEL.COM
4DZ8QU            1/21/2021   OB    2/1/2021   WN;3041;DAL;BNA;WN;4149;BNA;DTW         GALLAGHERMOUTH        CA                         US    3388   136147968@KACHIPYTEL.COM
4EDYMJ            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         LORITOWN              WY                         US   26455   136149057@KACHIPYTEL.COM
4EDYMJ            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         LORITOWN              WY                         US   26455   136149057@KACHIPYTEL.COM
4EDYMJ            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         LORITOWN              WY                         US   26455   136149057@KACHIPYTEL.COM
4EDYMJ            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         LORITOWN              WY                         US   26455   136149057@KACHIPYTEL.COM
4EDYMJ            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         LORITOWN              WY                         US   26455   136149057@KACHIPYTEL.COM
4EDYMJ            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         LORITOWN              WY                         US   26455   136149057@KACHIPYTEL.COM
4ENUJ5            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         DENNISMOUTH           OH                         US    4613   136150212@KACHIPYTEL.COM
4ENUJ5            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         DENNISMOUTH           OH                         US    4613   136150212@KACHIPYTEL.COM
4ENUJ5            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         DENNISMOUTH           OH                         US    4613   136150212@KACHIPYTEL.COM
4ENUJ5            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         DENNISMOUTH           OH                         US    4613   136150212@KACHIPYTEL.COM
4ENUJ5            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         DENNISMOUTH           OH                         US    4613   136150212@KACHIPYTEL.COM
4ENUJ5            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         DENNISMOUTH           OH                         US    4613   136150212@KACHIPYTEL.COM
4EYACV            1/21/2021   OB   2/22/2021   WN;3379;HOU;BNA;WN;3539;BNA;DAL         LAKE JUSTINSIDE       MI                         US   69929   136150597@KACHIPYTEL.COM
4EYJND            1/21/2021   OB   2/19/2021   WN;3787;BNA;HOU;WN;2576;HOU;FLL         SOUTH MICHAEL         OK                         US   49435   136150597@KACHIPYTEL.COM
4F4775            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         MICHAELBURGH          NC                         US   43298   136150905@KACHIPYTEL.COM
4F4775            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         MICHAELBURGH          NC                         US   43298   136150905@KACHIPYTEL.COM
4F4775            1/21/2021   OB    2/1/2021   WN;4838;SEA;SMF                         MICHAELBURGH          NC                         US   43298   136150905@KACHIPYTEL.COM
4F7WQJ            1/21/2021   OB   1/26/2021   WN;2461;RSW;ATL;WN;2938;ATL;PHL         JOHNCHESTER           UT                         US   45029   136151158@KACHIPYTEL.COM
23F97H            1/22/2021   OB    2/1/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX         CLARKTOWN             NY                         US   54203   136237871@KACHIPYTEL.COM
4FDSY8            1/22/2021   OB   1/22/2021   WN;3343;LGA;ATL                         AUDVAER               AUSTAGDER                  NO   72421   136151543@KACHIPYTEL.COM
4FPYYV            1/22/2021   OB   1/22/2021   WN;3338;SFO;MDW;WN;458;MDW;MCO          ELIJAHHAVEN           AK                         US   70251   136152665@KACHIPYTEL.COM
4FQ57J            1/22/2021   OB   1/27/2021   WN;1490;LAS;SMF;WN;1154;SMF;SEA         EAST FELICIABURGH     LA                         US   83553   136152522@KACHIPYTEL.COM
4FRS8X            1/22/2021   OB   1/31/2021   WN;288;PHX;OAK;WN;4757;OAK;LAS          BLACKBURNTON          IA                         US     560   136152643@KACHIPYTEL.COM
4GDWLA            1/22/2021   OB   1/22/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB         NEW KAREN             MS                         US   22258   136154392@KACHIPYTEL.COM
4GHPVO            1/22/2021   OB   1/22/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         SHARIBURY             KY                         US   21807   136153446@KACHIPYTEL.COM
4GN7T5            1/22/2021   OB   1/27/2021   WN;715;ATL;BWI;WN;102;BWI;MIA           NORTH BRITTANY        KS                         US   17869   136155228@KACHIPYTEL.COM




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4H5V9U   1/22/2021   OB   1/25/2021   WN;4022;MDW;BWI;WN;4727;BWI;FLL          WEST REBEKAHTON        VA                     US   46190   136156625@KACHIPYTEL.COM
4HK9GE   1/22/2021   OB   1/23/2021   WN;4574;LAX;OAK;WN;4819;OAK;LAS          SOUTH CHRISTINABURY    AR                     US   91162   136158132@KACHIPYTEL.COM
4HN7WJ   1/22/2021   OB    2/2/2021   WN;1990;ATL;BWI                          EAST LEEBOROUGH        KS                     US    3094   136157890@KACHIPYTEL.COM
4I3T63   1/22/2021   OB   1/25/2021   WN;3704;LAS;STL;WN;3301;STL;FLL          LESTERBURGH            MT                     US   23637   136158968@KACHIPYTEL.COM
4IFF3V   1/22/2021   OB   1/23/2021   WN;1685;ATL;PHX;WN;6268;PHX;MSP          WEST ANALAND           MT                     US    4896   136159870@KACHIPYTEL.COM
4IKCYQ   1/22/2021   OB   1/23/2021   WN;1036;FLL;TPA;WN;5065;TPA;SJU          SOUTH LINDAVILLE       WV                     US   69448   136160706@KACHIPYTEL.COM
4IPXFF   1/22/2021   OB   1/23/2021   WN;3845;LAX;OAK                          LAKE RICHARD           ID                     US   35512   136160893@KACHIPYTEL.COM
4IR5E4   1/22/2021   OB   1/29/2021   WN;2606;DAL;TPA;WN;2288;TPA;MIA          NEW JILLSIDE           WV                     US   96761   136160904@KACHIPYTEL.COM
4IRLKQ   1/22/2021   OB    2/2/2021   WN;5018;TPA;DAL                          LAKE AMY               KS                     US   65447   136160904@KACHIPYTEL.COM
4ISLRR   1/22/2021   OB   1/28/2021   WN;2708;LGA;MDW                          SOUTH RICARDOPORT      WY                     US   73756   136161300@KACHIPYTEL.COM
4J4OB7   1/22/2021   OB   1/25/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS          PORT VALERIEHAVEN      NH                     US   31775   136161927@KACHIPYTEL.COM
4JDODG   1/22/2021   OB   2/17/2021   WN;4858;LAS;TPA                          LAKE GEORGEVILLE       MT                     US   49576   136162862@KACHIPYTEL.COM
4JDODG   1/22/2021   OB   2/17/2021   WN;4858;LAS;TPA                          LAKE GEORGEVILLE       MT                     US   49576   136162862@KACHIPYTEL.COM
4JDVV7   1/22/2021   OB   1/30/2021   WN;5084;LAS;OAK;WN;2015;OAK;LGB          MARTINFURT             KS                     US   84018   136162994@KACHIPYTEL.COM
4JDZK2   1/22/2021   OB   1/23/2021   WN;1400;PHL;FLL                          SOUTH KESTUTISCHESTE   KAUNO APSKRITIS        LT   29572   136159122@KACHIPYTEL.COM
4JI2IH   1/22/2021   OB    2/3/2021   WN;2247;CLT;BWI;WN;1633;BWI;MCO          JOHNSSHIRE             HI                     US   32110   136163313@KACHIPYTEL.COM
4JQL49   1/22/2021   OB   1/22/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO          LIAN KEGU SHI          MIYAZAKI               JP   10619   136163797@KACHIPYTEL.COM
4JUBS2   1/22/2021   OB   1/24/2021   WN;3920;LAX;MDW;WN;2636;MDW;MSP          DORISSIDE              TX                     US   58885   136164072@KACHIPYTEL.COM
4K4GSA   1/22/2021   OB   1/22/2021   WN;2516;MCO;DEN;WN;3285;DEN;SFO          WEST ALISONVIEW        AR                     US   72453   136164578@KACHIPYTEL.COM
4KC9UP   1/22/2021   OB   1/27/2021   WN;3749;LAX;MDW;WN;3167;MDW;MSP          DELGADOBOROUGH         NC                     US    4985   136164930@KACHIPYTEL.COM
4KC9UP   1/22/2021   OB   1/27/2021   WN;3749;LAX;MDW;WN;3167;MDW;MSP          DELGADOBOROUGH         NC                     US    4985   136164930@KACHIPYTEL.COM
4KIJI2   1/22/2021   OB   1/24/2021   WN;3663;LAS;MDW;WN;2611;MDW;FLL          LAKE DEREK             MS                     US   52672   136165172@KACHIPYTEL.COM
4KIK5A   1/22/2021   OB    2/1/2021   WN;2374;TPA;BWI;WN;2675;BWI;CLT          MARTINEZSHIRE          MS                     US   78592   136158880@KACHIPYTEL.COM
4LAE3M   1/22/2021   OB   1/22/2021   WN;783;LAS;OAK                           PORT WILLIAM           MA                     US   16868   136166921@KACHIPYTEL.COM
4LFS9G   1/22/2021   OB   1/23/2021   WN;1492;LAS;SMF;WN;3099;SMF;SEA          EVELYNMOUTH            WA                     US   96214   136167548@KACHIPYTEL.COM
4LMLC3   1/22/2021   OB   1/25/2021   WN;4115;MCO;MDW;WN;4910;MDW;LGA          NORTH CARL             NJ                     US   39635   136167526@KACHIPYTEL.COM
4MWVMA   1/22/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;102;BWI;MIA            SOUTH CHRISTOPHERBUR   WA                     US   39984   136170903@KACHIPYTEL.COM
4N3MWK   1/22/2021   OB   1/25/2021   WN;164;SEA;MDW;WN;4041;MDW;DEN           PORT CRYSTALVIEW       ND                     US   65750   136171772@KACHIPYTEL.COM
4QWFFQ   1/22/2021   OB   1/25/2021   WN;2051;ATL;MDW;WN;3306;MDW;MIA          EAST DONNA             AL                     US   20810   136186556@KACHIPYTEL.COM
4R5MYO   1/22/2021   OB   1/28/2021   WN;2221;MIA;HOU;WN;6284;HOU;MSY          NORTH HOLLY            OK                     US    1050   136188052@KACHIPYTEL.COM
4TUGQO   1/22/2021   OB   1/22/2021   WN;4775;SAN;BWI                          BANKSBURY              FL                     US   60359   136167691@KACHIPYTEL.COM
4U27OB   1/22/2021   OB    2/1/2021   WN;1634;CLT;STL;WN;1325;STL;MCO          ANGELATON              ND                     US   84641   136204288@KACHIPYTEL.COM
4U7K2H   1/22/2021   OB    2/1/2021   WN;3170;PHX;HOU;WN;506;HOU;CVG           NORTH CATHERINE        MA                     US   49043   136205674@KACHIPYTEL.COM
4UCPXG   1/22/2021   OB   2/24/2021   WN;5013;MIA;TPA;WN;5013;TPA;BNA;WN;4773NEW STEPHENFURT          WY                     US   65493   136205113@KACHIPYTEL.COM
4UIJYM   1/22/2021   OB   1/26/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA           NORTH LINDSAYBURY      MA                     US    9116   136207016@KACHIPYTEL.COM
4V36QY   1/22/2021   OB   2/19/2021   WN;1515;DTW;MDW;WN;2253;MDW;MCO          ALLENSIDE              AR                     US   37800   136209205@KACHIPYTEL.COM
4V57N6   1/22/2021   OB   1/25/2021   WN;1281;PHX;OAK                          WEST RICHARDTOWN       CT                     US   47710   136202550@KACHIPYTEL.COM
4V57N6   1/22/2021   OB   1/25/2021   WN;1281;PHX;OAK                          WEST RICHARDTOWN       CT                     US   47710   136202550@KACHIPYTEL.COM
4V5CE8   1/22/2021   OB    2/5/2021   WN;430;ATL;PHX                           TODDTOWN               SD                     US   37781   136209876@KACHIPYTEL.COM
4VIXB6   1/22/2021   OB    2/5/2021   WN;2208;MDW;STL;WN;2246;STL;BNA          EAST JOSEPH            MO                     US   49821   136211757@KACHIPYTEL.COM
4W278R   1/22/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;102;BWI;MIA            NORTH LAURIEVIEW       OR                     US   99252   136214364@KACHIPYTEL.COM
4W278R   1/22/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;102;BWI;MIA            NORTH LAURIEVIEW       OR                     US   99252   136214364@KACHIPYTEL.COM
4W278R   1/22/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;102;BWI;MIA            NORTH LAURIEVIEW       OR                     US   99252   136214364@KACHIPYTEL.COM
4WB9LO   1/22/2021   OB   1/22/2021   WN;3343;ATL;STL                          PORT PETERHAVEN        OH                     US   61974   135980581@KACHIPYTEL.COM
4WQZ9E   1/22/2021   OB   1/24/2021   WN;4520;LAS;PHX;WN;3382;PHX;SEA          WILEYVILLE             MS                     US   35651   136219149@KACHIPYTEL.COM
4X9EUS   1/22/2021   OB   1/23/2021   WN;2612;FLL;BWI;WN;2214;BWI;MCO;WN;2214WUTHI VILLE              UTHAI THANI            TH   24150   136221778@KACHIPYTEL.COM
4XJ4D3   1/22/2021   OB    2/2/2021   WN;2247;CLT;BWI;WN;771;BWI;TPA           MILLERMOUTH            WY                     US   59544   136223714@KACHIPYTEL.COM
4XM47N   1/22/2021   OB   1/23/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW          BRYANSIDE              MD                     US    1556   136224297@KACHIPYTEL.COM
4XOZEF   1/22/2021   OB   1/31/2021   WN;2838;MCO;STL;WN;3422;STL;LGA          EAST ROYBOROUGH        NM                     US   73423   136224110@KACHIPYTEL.COM
4XXTOS   1/22/2021   OB   1/26/2021   WN;3737;GEG;OAK;WN;4715;OAK;PSP          WEST ERINLAND          MS                     US   11812   136224704@KACHIPYTEL.COM
4Y78E8   1/22/2021   OB   1/23/2021   WN;3759;LAX;DEN;WN;5084;DEN;LAS          AMBERSTAD              PA                     US   14831   136226013@KACHIPYTEL.COM
4YDKGG   1/22/2021   OB   1/23/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW          SULLIVANMOUTH          GA                     US    6642   136227190@KACHIPYTEL.COM
4YKQC8   1/22/2021   OB   1/28/2021   WN;3072;MSP;DEN;WN;2810;DEN;PHX          WEST AMY               IL                     US   57104   136227971@KACHIPYTEL.COM
4Z9OCM   1/22/2021   OB    2/1/2021   WN;2193;CLT;MDW                          LAKE JEFFBURY          IL                     US   94217   136230116@KACHIPYTEL.COM
4ZKIHA   1/22/2021   OB   1/25/2021   WN;1210;PHX;SMF                          WEST TERESA            KY                     US   54851   136231832@KACHIPYTEL.COM
4ZOHQD   1/22/2021   OB   2/18/2021   WN;4806;SFO;PHX;WN;3373;PHX;LGB          EAST HALEYMOUTH        KS                     US   16745   136232184@KACHIPYTEL.COM
4ZTHED   1/22/2021   OB   1/24/2021   WN;2999;LAS;DEN;WN;2516;DEN;SEA          NEW GEORGE             RI                     US   61651   136233053@KACHIPYTEL.COM
4ZW65E   1/22/2021   OB   2/12/2021   WN;3079;BUR;DEN;WN;569;DEN;OAK           ROBERTTON              CT                     US   17426   136233306@KACHIPYTEL.COM
245R28   1/23/2021   OB   2/13/2021   WN;2747;PHL;BNA                          SOUTH IANMOUTH         MT                     US   68463   136239741@KACHIPYTEL.COM
245R28   1/23/2021   OB   2/17/2021   WN;3029;BNA;MCO                          SOUTH IANMOUTH         MT                     US   68463   136239741@KACHIPYTEL.COM
24GZGC   1/23/2021   OB   2/18/2021   WN;4954;BWI;PHX;WN;3373;PHX;LGB          WEST JILLIANMOUTH      NC                     US   40549   136240885@KACHIPYTEL.COM
24LR6X   1/23/2021   OB   1/24/2021   WN;4022;MDW;BWI;WN;2510;BWI;BOS          PORT ERICASHIRE        ID                     US   80875   136240841@KACHIPYTEL.COM
24S4JK   1/23/2021   OB   2/18/2021   WN;4954;BWI;PHX;WN;3373;PHX;LGB          LAKE SALLY             IN                     US   11494   136241743@KACHIPYTEL.COM
24Y4TR   1/23/2021   OB   1/25/2021   WN;2051;ATL;MDW;WN;3306;MDW;MIA          EAST BRIAN             NH                     US    8173   136242183@KACHIPYTEL.COM
256ACY   1/23/2021   OB   1/24/2021   WN;3326;PDX;OAK;WN;4715;OAK;PSP          WILLIAMBURGH           AL                     US   81190   136242414@KACHIPYTEL.COM
25I39J   1/23/2021   OB   1/27/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA           WESLEYVILLE            DE                     US   12018   136243525@KACHIPYTEL.COM
25NKSU   1/23/2021   OB    2/6/2021   WN;1493;SMF;LAS;WN;2554;LAS;ONT          ALEJANDROFURT          AR                     US   64305   136243855@KACHIPYTEL.COM
25W9FF   1/23/2021   OB   1/23/2021   WN;1492;LAS;SMF;WN;3099;SMF;SEA          LAKE PAUL              OK                     US   40367   136244295@KACHIPYTEL.COM
25YFG7   1/23/2021   OB   1/23/2021   WN;3128;BNA;LAS;WN;4350;LAS;PHX          SOUTH JOSHUASHIRE      ME                     US   11989   136244196@KACHIPYTEL.COM
263AUD   1/23/2021   OB   1/24/2021   WN;3920;LAX;MDW;WN;2636;MDW;MSP          PORT WILLIAM           IL                     US   16542   136244416@KACHIPYTEL.COM
26AGJ4   1/23/2021   OB   1/23/2021   WN;3645;MDW;OKC;WN;4339;OKC;BNA          NEW TIFFANY            AK                     US   20514   136244944@KACHIPYTEL.COM
26QQ9I   1/23/2021   OB   1/23/2021   WN;4574;LAX;OAK;WN;4819;OAK;LAS          PETERSONBURY           SC                     US    5919   136245956@KACHIPYTEL.COM
26U3HT   1/23/2021   OB    2/5/2021   WN;4762;CLT;DAL;WN;800;DAL;MCO           SOUTH REGINA           NC                     US   65454   136246187@KACHIPYTEL.COM
26U3HT   1/23/2021   OB    2/5/2021   WN;4762;CLT;DAL;WN;800;DAL;MCO           SOUTH REGINA           NC                     US   65454   136246187@KACHIPYTEL.COM
26W2BQ   1/23/2021   OB   1/24/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY          NATHANIELSTAD          AR                     US   93970   136246539@KACHIPYTEL.COM
26X74J   1/23/2021   OB   1/23/2021   WN;3648;LAS;SMF;WN;3581;SMF;LAX          LAKE KYLESHIRE         CO                     US   23795   136244372@KACHIPYTEL.COM
27FCOH   1/23/2021   OB   1/30/2021   WN;3171;SAN;PHX;WN;4543;PHX;MSP          NEW MICHELLE           WY                     US   12525   136247815@KACHIPYTEL.COM
27HFNZ   1/23/2021   OB   1/23/2021   WN;2679;DTW;BWI                          SOUTH ERICHAVEN        FL                     US   95678   136248068@KACHIPYTEL.COM
27L286   1/23/2021   OB   1/25/2021   WN;4833;GEG;DEN;WN;3532;DEN;TUS          EAST CHRISTOPHERMOUT   WA                     US   65375   136248123@KACHIPYTEL.COM
28DN74   1/23/2021   OB   1/23/2021   WN;3219;LGA;STL;WN;3219;STL;MSY;WN;4376; EAST DAVID             NE                     US   69330   136249399@KACHIPYTEL.COM
28LTAK   1/23/2021   OB   1/26/2021   WN;3886;DEN;LAS;WN;1900;LAS;SEA          MELISSATON             CO                     US    7891   136249817@KACHIPYTEL.COM
28ZXNP   1/23/2021   OB    2/2/2021   WN;2566;LAS;HOU                          AMANDAVILLE            NH                     US    1398   136250389@KACHIPYTEL.COM
28ZXNP   1/23/2021   OB    2/3/2021   WN;3294;HOU;MIA                          AMANDAVILLE            NH                     US    1398   136250389@KACHIPYTEL.COM
28ZXNP   1/23/2021   OB    2/2/2021   WN;2566;LAS;HOU                          AMANDAVILLE            NH                     US    1398   136250389@KACHIPYTEL.COM
28ZXNP   1/23/2021   OB    2/3/2021   WN;3294;HOU;MIA                          AMANDAVILLE            NH                     US    1398   136250389@KACHIPYTEL.COM
297ZRP   1/23/2021   OB   1/23/2021   WN;3128;BNA;LAS                          NORTH MELISSASIDE      OR                     US   65512   136250598@KACHIPYTEL.COM
2A2G9X   1/23/2021   OB    2/3/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA           VIEJA BOLIVIA          PUEBLA                 MX   62065   136251852@KACHIPYTEL.COM
2B4X2R   1/23/2021   OB    2/2/2021   WN;3134;DTW;BWI;WN;2510;BWI;BOS          EAST KYLETON           ID                     US   88520   136253755@KACHIPYTEL.COM
2BCORO   1/23/2021   OB   1/23/2021   WN;3764;ONT;MDW;WN;36;MDW;DAL;WN;36; LAKE CHRISTOPHER           WI                     US   82559   136253986@KACHIPYTEL.COM
2BINNP   1/23/2021   OB   1/31/2021   WN;1453;LAS;SAN                          PORT TRAVIS            PA                     US   36115   136254448@KACHIPYTEL.COM
2BJJK5   1/23/2021   OB   1/31/2021   WN;1453;LAS;SAN                          SOUTH JAMESFORT        WV                     US    4256   136254448@KACHIPYTEL.COM
2C3QQ3   1/23/2021   OB   1/28/2021   WN;3792;LGA;MDW                          EAST JEFFREY           ID                     US    2099   136255713@KACHIPYTEL.COM
2EA7EN   1/23/2021   OB   2/14/2021   WN;4971;DCA;BNA                          NORTH SARAH            OK                     US   79708   136261774@KACHIPYTEL.COM
2EYK3A   1/23/2021   OB   1/24/2021   WN;3075;MIA;BWI;WN;4830;BWI;ALB          D KOROLEV              NOVGORODSKAYA OBLAST   RU   42271   136264084@KACHIPYTEL.COM
2H85AH   1/23/2021   OB   1/23/2021   WN;4731;DSM;LAS;WN;2024;LAS;LIT          LAKE MELINDA           ND                     US   45480   136270827@KACHIPYTEL.COM
2HJ5PT   1/23/2021   OB    3/6/2021   WN;946;TPA;LAS;WN;4468;LAS;SEA           SIMMONSFORT            WY                     US    2696   136272532@KACHIPYTEL.COM
2HLYRW   1/23/2021   OB    3/9/2021   WN;4858;LAS;TPA;WN;4279;TPA;MIA          KRISTABOROUGH          CA                     US   73711   136272532@KACHIPYTEL.COM
2JCAEB   1/23/2021   OB   1/26/2021   WN;2580;RIC;MCO                          WEST JAMES             HI                     US   58621   136278285@KACHIPYTEL.COM
2K7IEE   1/23/2021   OB    2/1/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX          ORTIZSHIRE             WI                     US   83032   136281750@KACHIPYTEL.COM
2KAU6H   1/23/2021   OB   2/13/2021   WN;3944;BWI;LAS;WN;1759;LAS;LGB          THOMASTOWN             SD                     US   26910   136282861@KACHIPYTEL.COM
2KAU6H   1/23/2021   OB   2/13/2021   WN;3944;BWI;LAS;WN;1759;LAS;LGB          THOMASTOWN             SD                     US   26910   136282861@KACHIPYTEL.COM
2KKZ62   1/23/2021   OB   1/25/2021   WN;1210;PHX;SMF                          WARRENFURT             GA                     US   42165   136283543@KACHIPYTEL.COM
2KKZ62   1/23/2021   OB   1/25/2021   WN;1210;PHX;SMF                          WARRENFURT             GA                     US   42165   136283543@KACHIPYTEL.COM
2KPO4A   1/23/2021   OB   1/23/2021   WN;4252;PHX;LAS;WN;4468;LAS;SEA          REBECCACHESTER         MI                     US   66943   136284269@KACHIPYTEL.COM
2KQFOR   1/23/2021   OB   1/23/2021   WN;4252;PHX;LAS;WN;4468;LAS;SEA          REBECCACHESTER         PA                     US   66943   136284335@KACHIPYTEL.COM




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2LNEU7   1/23/2021   OB    2/5/2021   WN;1623;TPA;BNA                        NORTH LAURA          MN                       US   36500   136287756@KACHIPYTEL.COM
2LNEU7   1/23/2021   OB    2/5/2021   WN;1623;TPA;BNA                        NORTH LAURA          MN                       US   36500   136287756@KACHIPYTEL.COM
2N2IYV   1/23/2021   OB    2/1/2021   WN;3948;FLL;MDW                        STACEYMOUTH          PA                       US   21312   136293300@KACHIPYTEL.COM
2N388Q   1/23/2021   OB    2/1/2021   WN;3948;FLL;MDW                        LAKE BRIAN           MD                       US   73433   136293300@KACHIPYTEL.COM
2NBXW4   1/23/2021   OB    2/8/2021   WN;288;PHX;OAK                         KARENSIDE            ND                       US   42115   136294114@KACHIPYTEL.COM
2NDZMC   1/23/2021   OB   3/26/2021   WN;113;ABQ;OAK                         HEATHER VILLE        DAVAO ORIENTAL           PH   57891   136294906@KACHIPYTEL.COM
2NEHFM   1/23/2021   OB   1/26/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        EAST JAMESBURGH      OR                       US   83161   136294851@KACHIPYTEL.COM
2NGE29   1/23/2021   OB   1/24/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY        NORTH DAVID          NM                       US   87603   136294884@KACHIPYTEL.COM
2NJURG   1/23/2021   OB   1/29/2021   WN;715;ATL;BWI;WN;102;BWI;MIA          CYNTHIACHESTER       RI                       US   70896   136295049@KACHIPYTEL.COM
2OMF5N   1/23/2021   OB   2/24/2021   WN;451;SRQ;BWI;WN;953;BWI;ATL          WEST DESTINYSIDE     GA                       US   54905   136297711@KACHIPYTEL.COM
2PTNPV   1/23/2021   OB   2/24/2021   WN;2640;BNA;DEN;WN;2205;DEN;ABQ        NORTH MELANIE        SC                       US    3170   136302914@KACHIPYTEL.COM
2PUORE   1/23/2021   OB   1/26/2021   WN;360;ATL;BWI                         ROBERTMOUTH          ID                       US   42072   136302848@KACHIPYTEL.COM
2R9M4N   1/24/2021   OB    2/5/2021   WN;4751;RIC;ATL                        LAKE ANDREA          IL                       US   61335   136305994@KACHIPYTEL.COM
2RJPZ2   1/24/2021   OB   1/24/2021   WN;3967;MCO;BWI                        ANDREWSSHIRE         VT                       US    3575   136306258@KACHIPYTEL.COM
2S5KIC   1/24/2021   OB   1/27/2021   WN;953;ATL;BNA;WN;4149;BNA;DTW         SOUTH TAYLOR         LA                       US   59753   136307710@KACHIPYTEL.COM
2T5MIA   1/24/2021   OB    2/3/2021   WN;5020;TPA;DEN                        JEYPPUUR             NAGALAND                 IN   58196   136309173@KACHIPYTEL.COM
2U23E8   1/24/2021   OB   1/27/2021   WN;4042;FLL;BWI;WN;1657;BWI;CLE        WATKINSVIEW          WI                       US   90790   136310867@KACHIPYTEL.COM
2UEEQK   1/24/2021   OB   1/31/2021   WN;1634;CLT;STL;WN;1933;STL;MDW        BRENDAMOUTH          NM                       US   49997   136311417@KACHIPYTEL.COM
2UEEQK   1/24/2021   OB   1/31/2021   WN;1634;CLT;STL;WN;1933;STL;MDW        BRENDAMOUTH          NM                       US   49997   136311417@KACHIPYTEL.COM
2WBJ4X   1/24/2021   OB   1/24/2021   WN;3964;MCO;BWI                        BRENTLAND            CA                       US   34426   136306258.1539727@KACHIPYTEL.COM
2WL2PF   1/24/2021   OB   1/24/2021   WN;3062;FLL;HOU;WN;423;HOU;LAS         ELLISCHESTER         GA                       US   65885   136315399@KACHIPYTEL.COM
325DXR   1/24/2021   OB   1/24/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        JACKSONMOUTH         CA                       US   66837   136323033@KACHIPYTEL.COM
34X8OR   1/24/2021   OB   1/24/2021   WN;4078;MIA;MDW;WN;2457;MDW;LAS        WEST ANDREWMOUTH     GA                       US   44897   136331613@KACHIPYTEL.COM
36VH4S   1/24/2021   OB   1/25/2021   WN;5072;FLL;BWI;WN;3111;BWI;BOS        CYNTHIASTAD          MO                       US   37172   136338653@KACHIPYTEL.COM
36W8M9   1/24/2021   OB   1/25/2021   WN;3241;TUS;LAS;WN;1900;LAS;SEA        BROWNTOWN            ID                       US   35030   136338477@KACHIPYTEL.COM
37RO7F   1/24/2021   OB   3/19/2021   WN;538;MCI;TPA                         WILLIAMSCHESTER      WA                       US   28175   136341700@KACHIPYTEL.COM
37RO7F   1/24/2021   OB   3/19/2021   WN;538;MCI;TPA                         WILLIAMSCHESTER      WA                       US   28175   136341700@KACHIPYTEL.COM
37U542   1/24/2021   OB   3/22/2021   WN;1846;TPA;STL                        NEW NATHANSHIRE      FL                       US    2920   136342019@KACHIPYTEL.COM
37U542   1/24/2021   OB   3/22/2021   WN;1846;TPA;STL                        NEW NATHANSHIRE      FL                       US    2920   136342019@KACHIPYTEL.COM
39NZ9Y   1/24/2021   OB   1/26/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB        SAWYERTON            UT                       US   78632   136350632@KACHIPYTEL.COM
39Z3AL   1/24/2021   OB   1/25/2021   WN;3338;SFO;MDW;WN;458;MDW;MCO         EAST TRAVISMOUTH     ID                       US   43794   136352293@KACHIPYTEL.COM
3A3YAF   1/24/2021   OB    2/5/2021   WN;3551;BUF;BWI;WN;3111;BWI;BOS        JUAREZBOROUGH        VT                       US   97156   136343680@KACHIPYTEL.COM
3B8QZF   1/24/2021   OB   1/27/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA        FOSTERFORT           NV                       US   42072   136359234@KACHIPYTEL.COM
3B9ZDL   1/24/2021   OB   1/25/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB         NORTH PARKER         AK                       US   48955   136358651@KACHIPYTEL.COM
3BCDRV   1/24/2021   OB   1/27/2021   WN;3927;MSP;DEN                        JEFFREYPORT          OH                       US   49751   136359234@KACHIPYTEL.COM
3BT74F   1/24/2021   OB   1/27/2021   WN;1588;MDW;BWI                        MARKTON              WV                       US   39887   136361368@KACHIPYTEL.COM
3BTNKP   1/24/2021   OB   3/13/2021   WN;2402;MSY;DAL;WN;2392;DAL;LAX        TUCKERVILLE          AL                       US   61764   136361445@KACHIPYTEL.COM
3BW3X3   1/24/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW         EAST GRAEME          EAST RENFREWSHIRE        GB   55901   136361764@KACHIPYTEL.COM
3BW3X3   1/24/2021   OB   1/25/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW         EAST GRAEME          EAST RENFREWSHIRE        GB   55901   136361764@KACHIPYTEL.COM
3BXWWI   1/24/2021   OB    2/2/2021   WN;2044;DCA;MDW;WN;3388;MDW;MCO        NORTH ANTHONYLAND    AK                       US   58102   136361368@KACHIPYTEL.COM
3CTRKM   1/24/2021   OB    2/2/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         PORT NICOLE          UT                       US    4041   136365196@KACHIPYTEL.COM
3DGN6B   1/24/2021   OB    2/6/2021   WN;4123;SDF;BWI;WN;2150;BWI;MIA        LAWRENCEVILLE        MS                       US   60000   136367110@KACHIPYTEL.COM
3DGN6B   1/24/2021   OB    2/6/2021   WN;4123;SDF;BWI;WN;2150;BWI;MIA        LAWRENCEVILLE        MS                       US   60000   136367110@KACHIPYTEL.COM
3EB6TL   1/24/2021   OB    2/1/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        NEW AARON            NY                       US    9059   136370102@KACHIPYTEL.COM
3F3G77   1/24/2021   OB    2/5/2021   WN;6004;LGA;TPA                        SOUTH KRISTIN        IA                       US   54699   136371675@KACHIPYTEL.COM
3F4V4C   1/24/2021   OB    2/1/2021   WN;3041;BNA;BWI                        VALDEZBURY           WI                       US   60445   136371818@KACHIPYTEL.COM
3F5QTJ   1/24/2021   OB   1/30/2021   WN;3518;BWI;BNA;WN;1367;BNA;CHS        ROBERTSONTOWN        OK                       US   41095   136371818@KACHIPYTEL.COM
3FTHL9   1/25/2021   OB    2/5/2021   WN;6004;LGA;TPA                        NORTH ERICBOROUGH    IA                       US   69120   136373171@KACHIPYTEL.COM
3G3GXP   1/25/2021   OB   1/31/2021   WN;185;PHX;CLE;WN;185;CLE;MDW;WN;2636;MMAXBOROUGH           MN                       US   42493   136373743@KACHIPYTEL.COM
3G3GXP   1/25/2021   OB   1/31/2021   WN;185;PHX;CLE;WN;185;CLE;MDW;WN;2636;MMAXBOROUGH           MN                       US   42493   136373743@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS        LYNCHVIEW            FL                       US   30015   136376460@KACHIPYTEL.COM
3HMHSD   1/25/2021   OB    2/7/2021   WN;2775;DAL;LGA                        ORRSHIRE             NC                       US   10039   136376625@KACHIPYTEL.COM
3HMWNE   1/25/2021   OB   1/29/2021   WN;3787;LGA;BNA;WN;2438;BNA;MCO        MILLERLAND           IL                       US   70642   136376944@KACHIPYTEL.COM
3HMWNE   1/25/2021   OB   1/29/2021   WN;3787;LGA;BNA;WN;2438;BNA;MCO        MILLERLAND           IL                       US   70642   136376944@KACHIPYTEL.COM
3HZSMZ   1/25/2021   OB   1/25/2021   WN;3429;LAS;DEN;WN;3927;DEN;LAX        LAKE ANGELA          VT                       US   37872   136377692@KACHIPYTEL.COM
3HZSMZ   1/25/2021   OB   1/25/2021   WN;3429;LAS;DEN;WN;3927;DEN;LAX        LAKE ANGELA          VT                       US   37872   136377692@KACHIPYTEL.COM
3I4XLF   1/25/2021   OB   2/14/2021   WN;2664;BOS;BNA                        LAKE ANTHONY         WY                       US   81200   136377747@KACHIPYTEL.COM
3I4XLF   1/25/2021   OB   2/14/2021   WN;2664;BOS;BNA                        LAKE ANTHONY         WY                       US   81200   136377747@KACHIPYTEL.COM
3I6FMH   1/25/2021   OB   1/25/2021   WN;3558;ATL;MDW                        MELISSACHESTER       MD                       US   19812   136377780@KACHIPYTEL.COM
3IHEBI   1/25/2021   OB   1/25/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         WEST MAKAYLABURY     OH                       US   32726   136378363@KACHIPYTEL.COM
3IJBQZ   1/25/2021   OB    2/3/2021   WN;2028;AUS;LAS;WN;3239;LAS;LAX        NAAKPUUR             DADRA AND NAGAR HAVELI   IN   70526   136378594@KACHIPYTEL.COM
3J6PTB   1/25/2021   OB   1/27/2021   WN;1878;MDW;BWI;WN;2593;BWI;BOS        NORTH ANTHONY        OK                       US   70442   136379826@KACHIPYTEL.COM
3JNXLE   1/25/2021   OB   1/25/2021   WN;4756;OAK;HOU;WN;1539;HOU;MCO        VANESSABERG          MO                       US   94024   136381080@KACHIPYTEL.COM
3JRD7S   1/25/2021   OB   1/25/2021   WN;2773;ATL;BNA;WN;3585;BNA;DTW        SOUTH MICHELEVILLE   WI                       US   63617   136381025@KACHIPYTEL.COM
3KM8WA   1/25/2021   OB    2/6/2021   WN;4448;MHT;BWI;WN;3541;BWI;MIA        PREBEZA              ILEIA                    GR   52929   136382928@KACHIPYTEL.COM
3KPHJI   1/25/2021   OB   1/27/2021   WN;3644;HOU;BWI;WN;102;BWI;MIA         PRABUMULIH           SUMATERA                 ID   32763   136383038@KACHIPYTEL.COM
3M6I7P   1/25/2021   OB    2/7/2021   WN;3959;ATL;TPA;WN;2288;TPA;MIA        PORT TRAVIS          SD                       US   50630   136386030@KACHIPYTEL.COM
3MGYUD   1/25/2021   OB   1/25/2021   WN;1588;MDW;BWI;WN;3111;BWI;BOS        JEREMYSTAD           JARASH                   JO   54093   136386866@KACHIPYTEL.COM
3MKQAD   1/25/2021   OB   1/25/2021   WN;2863;FLL;DEN;WN;1966;DEN;LAS        WEST BRETTLAND       LUXEMBOURG               LU   34686   136209018@KACHIPYTEL.COM
3OE2QF   1/25/2021   OB   1/25/2021   WN;1438;FLL;ATL;WN;3254;ATL;RDU        ANGELAMOUTH          TN                       US    6053   136393543@KACHIPYTEL.COM
3OIPCW   1/25/2021   OB   1/25/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY        NORTH HEIDI          MI                       US   53460   136393983@KACHIPYTEL.COM
3OIPCW   1/25/2021   OB   1/25/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY        NORTH HEIDI          MI                       US   53460   136393983@KACHIPYTEL.COM
3OIPCW   1/25/2021   OB   1/25/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY        NORTH HEIDI          MI                       US   53460   136393983@KACHIPYTEL.COM
3PW4V8   1/25/2021   OB   2/23/2021   WN;2225;JAX;BNA;WN;4226;BNA;RDU        EAST CHRISTYFORT     HI                       US   87344   136400550@KACHIPYTEL.COM
3RJ97Q   1/25/2021   OB   1/29/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA        JESSICAFURT          KY                       US   97734   136410395@KACHIPYTEL.COM
3T4RRH   1/25/2021   OB   1/31/2021   WN;2728;BUF;DEN;WN;3943;DEN;BOS        EAST APRIL           GREVENMACHER             LU   92631   136417688@KACHIPYTEL.COM
3TUTMS   1/25/2021   OB   1/31/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO        NEW MICHAELFORT      ND                       US   44215   136421780@KACHIPYTEL.COM
3TVW3V   1/25/2021   OB   1/31/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO        MILLERBURY           IA                       US   83808   136421923@KACHIPYTEL.COM
3TZ9SA   1/25/2021   OB   1/30/2021   WN;2895;HOU;PHX                        HANNAHMOUTH          WV                       US   98674   136422462@KACHIPYTEL.COM
3UMWXO   1/25/2021   OB   2/19/2021   WN;456;MDW;DAL;WN;2199;DAL;FLL         DANIELFORT           RI                       US   56470   136425905@KACHIPYTEL.COM
3UNI4I   1/25/2021   OB   1/25/2021   WN;3121;ATL;MDW                        WEST GEOFFREY        NH                       US    7638   136425289@KACHIPYTEL.COM
3VHH46   1/25/2021   OB   1/28/2021   WN;910;DEN;MDW;WN;3663;MDW;SEA         LARSONCHESTER        VA                       US   82122   136429348@KACHIPYTEL.COM
3VID48   1/25/2021   OB   1/31/2021   WN;2500;BWI;FLL;WN;197;FLL;SJU         ROCHABURY            AR                       US   12287   136429425@KACHIPYTEL.COM
3VVAO7   1/25/2021   OB   1/26/2021   WN;4743;RDU;ATL;WN;3490;ATL;RSW        NEW LORIBURY         OH                       US   80381   136431999@KACHIPYTEL.COM
3WMPME   1/25/2021   OB    2/6/2021   WN;6113;RDU;TPA;WN;4050;TPA;MIA        EAST MICHAEL         MN                       US   63021   136435904@KACHIPYTEL.COM
3Y5VY7   1/25/2021   OB   1/27/2021   WN;477;PHX;MCI;WN;4773;MCI;BNA;WN;4773;NUEVA BARBADOS       AGUASCALIENTES           MX   64354   136444242@KACHIPYTEL.COM
3Y752I   1/25/2021   OB   4/18/2021   WN;595;LAS;MSY;WN;1267;MSY;ATL         WEST CYNTHIA         MS                       US   74069   136444319@KACHIPYTEL.COM
3Y78IP   1/25/2021   OB   4/14/2021   WN;212;MSY;LAS;WN;1110;LAS;LAX         EAST MICHELLEBERG    SC                       US   41581   136444319@KACHIPYTEL.COM
3Y78IP   1/25/2021   OB   4/14/2021   WN;212;MSY;LAS;WN;1110;LAS;LAX         EAST MICHELLEBERG    SC                       US   41581   136444319@KACHIPYTEL.COM
3Y84TB   1/25/2021   OB   4/18/2021   WN;595;LAS;MSY;WN;1267;MSY;ATL         JOHNSONBERG          AK                       US   75821   136444319@KACHIPYTEL.COM
3YE9TK   1/25/2021   OB   1/30/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO         NEW CALEBBOROUGH     SD                       US   88526   136445430@KACHIPYTEL.COM
3YI245   1/25/2021   OB   3/16/2021   WN;854;RDU;DEN;WN;1823;DEN;SMF;WN;1823PORT RYANHAVEN        ID                       US   21917   136446266@KACHIPYTEL.COM
3YI245   1/25/2021   OB   3/16/2021   WN;854;RDU;DEN;WN;1823;DEN;SMF;WN;1823PORT RYANHAVEN        ID                       US   21917   136446266@KACHIPYTEL.COM
3YWS5T   1/25/2021   OB    2/1/2021   WN;2708;LGA;MDW;WN;3256;MDW;MCO        NORTH ANTHONYSHIRE   NC                       US   31049   136448411@KACHIPYTEL.COM
3YWWHV   1/25/2021   OB   2/19/2021   WN;3500;IND;BWI;WN;2107;BWI;MCI        TERESABURGH          MI                       US   51358   136449181@KACHIPYTEL.COM
3Z3P6V   1/25/2021   OB    2/6/2021   WN;2368;CLT;BWI                        WEST KRISTEN         WI                       US   35563   136449093@KACHIPYTEL.COM
3ZTPXM   1/25/2021   OB    2/1/2021   WN;3182;AUS;HOU;WN;3294;HOU;MIA        DAVIDVILLE           MIDTJYLLAND              DK   38605   136452316@KACHIPYTEL.COM
3ZU2DE   1/25/2021   OB    2/7/2021   WN;2846;RNO;DEN;WN;2516;DEN;SEA        GAILLARD             ISERE                    FR    6517   136451953@KACHIPYTEL.COM
3ZUMTI   1/25/2021   OB   1/27/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        SOUTH STEVEN         NE                       US   88134   136452811@KACHIPYTEL.COM




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3ZUQO7   1/25/2021   OB    2/2/2021   WN;3601;PIT;BWI;WN;102;BWI;MIA          MICHAELMOUTH           LA              US   98824   136452547@KACHIPYTEL.COM
42OHSO   1/25/2021   OB   1/26/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS         NEW CRYSTALBURGH       DE              US   71531   136456628@KACHIPYTEL.COM
42OHSO   1/25/2021   OB   1/26/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS         NEW CRYSTALBURGH       DE              US   71531   136456628@KACHIPYTEL.COM
42UYQZ   1/25/2021   OB   1/26/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY         BRIANNAHAVEN           MO              US   61894   136457277@KACHIPYTEL.COM
439QHV   1/25/2021   OB   1/26/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS         THOMASHAVEN            TX              US   39908   136458652@KACHIPYTEL.COM
43QNLT   1/25/2021   OB    2/5/2021   WN;6004;LGA;TPA                         NEW CHRISTOPHERTOWN    TN              US   76269   136460313@KACHIPYTEL.COM
44EWML   1/26/2021   OB   1/29/2021   WN;5013;BNA;BWI;WN;102;BWI;MIA          NEW JAMES              RI              US    6220   136462370@KACHIPYTEL.COM
45K28H   1/26/2021   OB    2/2/2021   WN;2234;LAX;STL;WN;3301;STL;FLL         TARALAND               MD              US   49678   136465021@KACHIPYTEL.COM
45SFBU   1/26/2021   OB    2/6/2021   WN;2832;DTW;BWI                         VAANNIYMPAATTI         PUDUCHERRY      IN   33504   136465879@KACHIPYTEL.COM
46DVJ8   1/26/2021   OB   1/26/2021   WN;4792;CVG;BWI;WN;3984;BWI;FLL         FRANKTOWN              NH              US   51915   136467353@KACHIPYTEL.COM
46Q96I   1/26/2021   OB   1/29/2021   WN;1438;FLL;ATL;WN;3121;ATL;MDW         EAST DEVINFURT         SD              US   23387   136467650@KACHIPYTEL.COM
46VNTD   1/26/2021   OB    2/6/2021   WN;4500;MAF;LAS;WN;4489;LAS;MKE         TANNERSHIRE            KS              US    8544   136467958@KACHIPYTEL.COM
47ISVL   1/26/2021   OB   1/28/2021   WN;1588;MDW;BWI;WN;3984;BWI;FLL         EAST KELLYTON          NC              US   60386   136468937@KACHIPYTEL.COM
47JFEH   1/26/2021   OB    2/1/2021   WN;569;DEN;OAK;WN;4096;OAK;SEA          WEST TANNERBOROUGH     KS              US   57309   136468937@KACHIPYTEL.COM
47KN6Y   1/26/2021   OB   1/28/2021   WN;4291;OAK;MDW;WN;458;MDW;MCO          CUMMINGSFURT           WY              US   62828   136468937@KACHIPYTEL.COM
47P3IE   1/26/2021   OB    2/2/2021   WN;3448;TPA;MSY;WN;4686;MSY;MDW         NORTH CONNIEVILLE      NY              US   75500   136469982@KACHIPYTEL.COM
47P3IE   1/26/2021   OB    2/2/2021   WN;3448;TPA;MSY;WN;4686;MSY;MDW         NORTH CONNIEVILLE      NY              US   75500   136469982@KACHIPYTEL.COM
47PV5U   1/26/2021   OB   1/30/2021   WN;2763;FLL;STL;WN;3748;STL;MDW         LAKE AMY               MD              US   55171   136470048@KACHIPYTEL.COM
47VXAR   1/26/2021   OB   1/29/2021   WN;845;MSP;MDW                          KRISTENVILLE           MO              US   42900   136470444@KACHIPYTEL.COM
47YHWS   1/26/2021   OB   1/28/2021   WN;4936;SMF;LAX;WN;4936;LAX;HOU;WN;1539NORTH AMANDATON         NY              US   73480   136470719@KACHIPYTEL.COM
48SULR   1/26/2021   OB   1/31/2021   WN;4762;CLT;DAL;WN;2683;DAL;BHM         KEITHBERG              OH              US   54612   136472457@KACHIPYTEL.COM
4AELMH   1/26/2021   OB   1/31/2021   WN;2243;SAT;PHX;WN;4356;PHX;SJC         ERICBURY               AZ              US   82101   136475581@KACHIPYTEL.COM
4BAVLQ   1/26/2021   OB   1/29/2021   WN;715;ATL;BWI;WN;102;BWI;MIA           NEW KIMBERLY           MD              US   69915   136475515@KACHIPYTEL.COM
4BWWSS   1/26/2021   OB   1/27/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS         KUVHAATTI              JHARKHAND       IN   11646   136480597@KACHIPYTEL.COM
4C42LZ   1/26/2021   OB   1/27/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS         MATTHEWVILLE           WV              US   94337   136480696@KACHIPYTEL.COM
4DPWYC   1/26/2021   OB   1/27/2021   WN;1275;ATL;BNA;WN;3585;BNA;DTW         WEST CARLOS            NJ              US   26372   136480773@KACHIPYTEL.COM
4HI2G8   1/26/2021   OB   1/26/2021   WN;1993;GRR;BWI;WN;2039;BWI;CMH         CAMERONPORT            WY              US   41629   136507646@KACHIPYTEL.COM
4HS45Z   1/26/2021   OB    2/2/2021   WN;5084;LAS;OAK;WN;4096;OAK;SEA         TIFFANYBOROUGH         CO              US   83128   136509197@KACHIPYTEL.COM
4JPPQN   1/26/2021   OB    2/1/2021   WN;360;ATL;BWI                          FLYNNLAND              ID              US   44900   136519218@KACHIPYTEL.COM
4KB2AX   1/26/2021   OB    2/2/2021   WN;1927;PBI;BWI;WN;3111;BWI;BOS         PORT TONYBOROUGH       LA              US   55547   136522067@KACHIPYTEL.COM
4KNHWN   1/26/2021   OB    2/3/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA          DEVONMOUTH             CO              US   10645   136524575@KACHIPYTEL.COM
4LCEB3   1/26/2021   OB   3/28/2021   WN;455;BUF;DEN;WN;560;DEN;LAX           MACKBOROUGH            GA              US   23262   136527875@KACHIPYTEL.COM
4LCEB3   1/26/2021   OB   3/28/2021   WN;455;BUF;DEN;WN;560;DEN;LAX           MACKBOROUGH            GA              US   23262   136527875@KACHIPYTEL.COM
4M3FJO   1/26/2021   OB   3/11/2021   WN;286;PDX;SMF;WN;286;SMF;SAN;WN;857;SABURGESSBOROUGH          MA              US   44935   136532715@KACHIPYTEL.COM
4M5ET5   1/26/2021   OB    2/1/2021   WN;735;PHX;MDW                          EAST DERRICKMOUTH      MT              US   43972   136532143@KACHIPYTEL.COM
4MBMYJ   1/26/2021   OB    2/2/2021   WN;1619;HOU;DAL;WN;2775;DAL;LGA         JOESHIRE               ID              US   75002   136533914@KACHIPYTEL.COM
4MBMYJ   1/26/2021   OB    2/2/2021   WN;1619;HOU;DAL;WN;2775;DAL;LGA         JOESHIRE               ID              US   75002   136533914@KACHIPYTEL.COM
4MBMYJ   1/26/2021   OB    2/2/2021   WN;1619;HOU;DAL;WN;2775;DAL;LGA         JOESHIRE               ID              US   75002   136533914@KACHIPYTEL.COM
4MCMRR   1/26/2021   OB   1/29/2021   WN;2600;MDW;HOU;WN;661;HOU;MIA          NEW FRANK              GA              US   49796   136533914@KACHIPYTEL.COM
4MCSQD   1/26/2021   OB   1/29/2021   WN;2600;MDW;HOU;WN;661;HOU;MIA          BURGESSBURGH           VA              US   72839   136533914@KACHIPYTEL.COM
4MCSQD   1/26/2021   OB   1/29/2021   WN;2600;MDW;HOU;WN;661;HOU;MIA          BURGESSBURGH           VA              US   72839   136533914@KACHIPYTEL.COM
4MFQLU   1/26/2021   OB   1/27/2021   WN;3989;MCO;MDW;WN;2558;MDW;BOS         WEST KAYLAVILLE        ID              US   35403   136534904@KACHIPYTEL.COM
4MFW7Y   1/26/2021   OB    2/8/2021   WN;4997;STL;MDW;WN;5029;MDW;CLE         MADDENCHESTER          NV              US   50666   136534244@KACHIPYTEL.COM
4MGDSD   1/26/2021   OB    2/5/2021   WN;5151;MDW;STL;WN;4986;STL;DEN;WN;498 VINCENTBERG             UT              US   97901   136534244@KACHIPYTEL.COM
4NDO7H   1/26/2021   OB   2/22/2021   WN;2654;SAT;BWI;WN;5034;BWI;MSY         WEST LORIBERG          NY              US   65554   136538446@KACHIPYTEL.COM
4O9A6H   1/26/2021   OB    2/1/2021   WN;1534;LAS;SMF                         NEW KATHLEEN           RI              US   48279   136542153@KACHIPYTEL.COM
4OVJPK   1/26/2021   OB    3/5/2021   WN;3433;TPA;BNA;WN;2618;BNA;ATL         PORT LAURA             DE              US   92034   136287756.1541047@KACHIPYTEL.COM
4OVJPK   1/26/2021   OB    3/5/2021   WN;3433;TPA;BNA;WN;2618;BNA;ATL         PORT LAURA             DE              US   92034   136287756.1541047@KACHIPYTEL.COM
4OXHVK   1/26/2021   OB    3/1/2021   WN;3959;BNA;ATL;WN;3959;ATL;TPA;WN;4279;WARDBURY               TX              US   63536   136287129.1541052@KACHIPYTEL.COM
4OXHVK   1/26/2021   OB    3/1/2021   WN;3959;BNA;ATL;WN;3959;ATL;TPA;WN;4279;WARDBURY               TX              US   63536   136287129.1541052@KACHIPYTEL.COM
4OXNGF   1/26/2021   OB   1/28/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         CONWAYTON              SD              US   44695   136546443@KACHIPYTEL.COM
4OYCAI   1/26/2021   OB   1/28/2021   WN;3254;MDW;AUS                         JUSTINBURY             MADABA          JO   50992   136546234@KACHIPYTEL.COM
4OYCAI   1/26/2021   OB   1/28/2021   WN;3254;MDW;AUS                         JUSTINBURY             MADABA          JO   50992   136546234@KACHIPYTEL.COM
4P7J97   1/26/2021   OB   1/29/2021   WN;3241;TUS;LAS                         WEST THOMAS            OK              US   62742   136547323@KACHIPYTEL.COM
4PAX95   1/26/2021   OB   1/31/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL         TRACYCHESTER           GA              US    3053   136547763@KACHIPYTEL.COM
4PEZEX   1/26/2021   OB   1/31/2021   WN;2810;DEN;PHX;WN;2301;PHX;MCI         CHENMOUTH              TN              US   52987   136547664@KACHIPYTEL.COM
4PEZEX   1/26/2021   OB   1/31/2021   WN;2810;DEN;PHX;WN;2301;PHX;MCI         CHENMOUTH              TN              US   52987   136547664@KACHIPYTEL.COM
4PIZQN   1/26/2021   OB   1/27/2021   WN;958;LGB;SMF                          NEW KENNETH            DE              US   30252   136548511@KACHIPYTEL.COM
4PRZJO   1/26/2021   OB   1/29/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         LAKE STEPHANIE         CA              US   15398   136549402@KACHIPYTEL.COM
4PZDE5   1/26/2021   OB    2/5/2021   WN;6008;PHL;TPA;WN;2288;TPA;MIA         JEANTON                ME              US   36093   136550040@KACHIPYTEL.COM
4PZDE5   1/26/2021   OB    2/5/2021   WN;6008;PHL;TPA;WN;2288;TPA;MIA         JEANTON                ME              US   36093   136550040@KACHIPYTEL.COM
4Q76B2   1/26/2021   OB    2/3/2021   WN;4602;MCI;HOU;WN;2114;HOU;PNS         NORTH LINDSAYPORT      WA              US   49192   136550359@KACHIPYTEL.COM
4Q8JGH   1/26/2021   OB   1/31/2021   WN;3185;FLL;BNA;WN;2978;BNA;BOS         MARTINHAVEN            OK              US   50673   136550293@KACHIPYTEL.COM
4QAW5M   1/26/2021   OB   1/27/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX         EAST TAMMY             AZ              US    2881   136550678@KACHIPYTEL.COM
4QK7P6   1/26/2021   OB   1/27/2021   WN;3749;LAX;MDW                         WEST LORIVIEW          UT              US   95112   136551206@KACHIPYTEL.COM
4QOUJI   1/26/2021   OB   1/28/2021   WN;2654;SAT;BWI;WN;408;BWI;CVG          EDWINPORT              OK              US   30740   136551613@KACHIPYTEL.COM
4QZM7E   1/26/2021   OB   1/28/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         WALKERBURY             WY              US   57042   136552471@KACHIPYTEL.COM
22UY9L   1/27/2021   OB   1/27/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL         EAST BRADLEYBURY       MI              US   35709   136580818@KACHIPYTEL.COM
235LI6   1/27/2021   OB   1/27/2021   WN;2947;OKC;PHX                         EAST BRETTLAND         AK              US   54584   136581269@KACHIPYTEL.COM
244UTF   1/27/2021   OB   1/27/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW          JAROMERICE NAD ROKYT   PRAHAVYCHOD     CZ    1907   136586175@KACHIPYTEL.COM
2566L5   1/27/2021   OB    2/8/2021   WN;3429;LAS;DEN;WN;6245;DEN;STL;WN;3301 WEST SARAHBURY         OK              US   18200   136591389@KACHIPYTEL.COM
258YF4   1/27/2021   OB    2/6/2021   WN;4482;STL;LAS;WN;4168;LAS;TUS         HARRISONSIDE           NC              US   69429   136591389@KACHIPYTEL.COM
268ZRQ   1/27/2021   OB    2/5/2021   WN;2603;MKE;TPA;WN;4143;TPA;MIA         WEST TEMIZKALVIEW      SANLIURFA       TR   14951   136596031@KACHIPYTEL.COM
27RMH9   1/27/2021   OB    2/8/2021   WN;3292;FLL;STL;WN;3422;STL;LGA         ANGELAFURT             MN              US   99238   136604633@KACHIPYTEL.COM
27W4MB   1/27/2021   OB    2/5/2021   WN;3301;STL;FLL                         NEW JOSEPHFORT         MS              US   89553   136604633@KACHIPYTEL.COM
296O9C   1/27/2021   OB   2/11/2021   WN;6204;TPA;MKE;WN;4552;MKE;BWI         EAST JENNIFERSHIRE     LA              US   61882   136611431@KACHIPYTEL.COM
29CH2Y   1/27/2021   OB    2/3/2021   WN;4246;MSY;HOU;WN;3294;HOU;MIA         HARRINGTONHAVEN        VT              US   60678   136612102@KACHIPYTEL.COM
29S367   1/27/2021   OB   1/30/2021   WN;4672;DCA;FLL;WN;1958;FLL;SJU         NORTH DANIELVIEW       NH              US   69694   136614401@KACHIPYTEL.COM
2AG4ZE   1/27/2021   OB    2/8/2021   WN;3956;MCO;BNA;WN;3956;BNA;STL;WN;342 BONNIEHAVEN             SC              US   88129   136617855@KACHIPYTEL.COM
2AG4ZE   1/27/2021   OB    2/8/2021   WN;3956;MCO;BNA;WN;3956;BNA;STL;WN;342 BONNIEHAVEN             SC              US   88129   136617855@KACHIPYTEL.COM
2B9LLI   1/27/2021   OB   1/31/2021   WN;385;DEN;PHX;WN;6286;PHX;MSP          NORTH ROBERTSHIRE      CO              US   47799   136623201@KACHIPYTEL.COM
2BC8VW   1/27/2021   OB   1/30/2021   WN;4183;PHX;SMF;WN;3099;SMF;SEA         LAKE TERESA            AK              US   96489   136623025@KACHIPYTEL.COM
2BE7JR   1/27/2021   OB   1/29/2021   WN;4954;PHX;DEN;WN;2516;DEN;SEA         SOUTH SCOTT            AL              US   36574   136623201@KACHIPYTEL.COM
2CD4YG   1/27/2021   OB    2/8/2021   WN;4751;RIC;ATL;WN;3948;ATL;FLL         BROWNHAVEN             MD              US   29952   136628514@KACHIPYTEL.COM
2CH6K3   1/27/2021   OB   1/29/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         CLARKFORT              MI              US   81918   136623421@KACHIPYTEL.COM
2DF599   1/27/2021   OB   1/29/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         JOSEPHSHIRE            WI              US   36660   136632386@KACHIPYTEL.COM
2DF599   1/27/2021   OB   1/29/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         JOSEPHSHIRE            WI              US   36660   136632386@KACHIPYTEL.COM
2DHVGO   1/27/2021   OB    2/2/2021   WN;3294;MIA;BWI                         LAKE CALEB             MT              US   43858   136632617@KACHIPYTEL.COM
2DNYT9   1/27/2021   OB   1/30/2021   WN;4560;MSY;BWI;WN;1087;BWI;BOS         MELO DO AMPARO         SERGIPE         BR   94716   136633299@KACHIPYTEL.COM
2DWM8S   1/27/2021   OB    2/3/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA         NORTH HANNAHCHESTER    NH              US   32485   136634289@KACHIPYTEL.COM
2DWM8S   1/27/2021   OB    2/3/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA         NORTH HANNAHCHESTER    NH              US   32485   136634289@KACHIPYTEL.COM
2DYILK   1/27/2021   OB    2/3/2021   WN;1489;SMF;LAS;WN;1556;LAS;TUS         STONEHAVEN             AK              US   64603   136634289@KACHIPYTEL.COM
2DYILK   1/27/2021   OB    2/3/2021   WN;1489;SMF;LAS;WN;1556;LAS;TUS         STONEHAVEN             AK              US   64603   136634289@KACHIPYTEL.COM
2EDFUO   1/27/2021   OB   1/28/2021   WN;4235;OKC;PHX;WN;4666;PHX;AUS         NORTH STEPHENBURGH     MA              US   68847   136635411@KACHIPYTEL.COM
2F4O62   1/27/2021   OB    2/3/2021   WN;3787;LGA;BNA;WN;3188;BNA;MCO         COOKPORT               VA              US    6625   136637589@KACHIPYTEL.COM
2F9REY   1/27/2021   OB    2/2/2021   WN;3967;MCO;BWI                         EVANSSIDE              UT              US   43343   136637457@KACHIPYTEL.COM
2FAPPQ   1/27/2021   OB    2/1/2021   WN;4562;HOU;BNA;WN;3041;BNA;BWI         WILLIAMSFORT           NE              US   12960   136637765@KACHIPYTEL.COM
2FRDST   1/27/2021   OB   2/11/2021   WN;4629;MDW;BWI                         EAST JON               ME              US   42106   136638832@KACHIPYTEL.COM
4RJL45   1/27/2021   OB    2/4/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL         NEW SHARON             WV              US   26292   136554121@KACHIPYTEL.COM
4RPJZE   1/27/2021   OB   1/29/2021   WN;845;MSP;MDW;WN;3189;MDW;PHX          PORT ALYSSAVILLE       HI              US   52494   136554275@KACHIPYTEL.COM
4S6S2W   1/27/2021   OB    2/5/2021   WN;2298;LAX;HOU;WN;3003;HOU;AUS         JONESFURT              KY              US   73545   136555265@KACHIPYTEL.COM
4SLGC8   1/27/2021   OB   1/29/2021   WN;2978;BOS;BWI;WN;3041;BWI;MCO         LAKE DIVANNADIADODIA   PLEVEN          BG   83213   136557014@KACHIPYTEL.COM
4SQ7X4   1/27/2021   OB   1/29/2021   WN;3237;OMA;HOU;WN;2381;HOU;SLC;WN;23 MITCHELLBOROUGH          MIDLOTHIAN      GB   95180   136557278@KACHIPYTEL.COM
4SW3DH   1/27/2021   OB   1/29/2021   WN;2046;ATL;HOU;WN;2723;HOU;MIA         LONGBURGH              IA              US   98580   136557520@KACHIPYTEL.COM
4SYEN7   1/27/2021   OB   2/11/2021   WN;791;IAD;ATL;WN;2263;ATL;CMH          KATHLEENVIEW           HI              US   63061   136557553@KACHIPYTEL.COM




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4T84LV   1/27/2021   OB   1/30/2021   WN;4252;PHX;LAS;WN;4468;LAS;SEA          NORTH VANESSA         DE                      US   17700   136558466@KACHIPYTEL.COM
4TD4D8   1/27/2021   OB    2/2/2021   WN;876;MCO;DAL;WN;2775;DAL;LGA           LAKE NICOLE           WY                      US   17526   136558950@KACHIPYTEL.COM
4TEYEE   1/27/2021   OB    2/5/2021   WN;6008;PHL;TPA;WN;2288;TPA;MIA          ERICACHESTER          AK                      US   49226   136559005@KACHIPYTEL.COM
4TSGO8   1/27/2021   OB   1/29/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           NORTH LAURA           IL                      US   20855   136560259@KACHIPYTEL.COM
4TXSLC   1/27/2021   OB   1/27/2021   WN;783;LAS;OAK;WN;2331;OAK;SEA           SUSANMOUTH            VA                      US   14158   136560622@KACHIPYTEL.COM
4U659S   1/27/2021   OB    2/5/2021   WN;430;ATL;PHX;WN;425;PHX;LGB            RENEEBERG             AK                      US   60842   136561161@KACHIPYTEL.COM
4UDNQU   1/27/2021   OB    2/5/2021   WN;430;ATL;PHX                           JEFFSTAD              IN                      US    1714   136561502@KACHIPYTEL.COM
4UDNQU   1/27/2021   OB    2/5/2021   WN;430;ATL;PHX                           JEFFSTAD              IN                      US    1714   136561502@KACHIPYTEL.COM
4UGRZB   1/27/2021   OB   1/29/2021   WN;3959;MCO;BNA;WN;2978;BNA;BOS          NORTH PHILLIP         RI                      US     734   136562228@KACHIPYTEL.COM
4UM3ZM   1/27/2021   OB   1/27/2021   WN;783;LAS;OAK;WN;2331;OAK;SEA           HENRYHAVEN            ME                      US   61533   136562393@KACHIPYTEL.COM
4UM3ZM   1/27/2021   OB   1/27/2021   WN;783;LAS;OAK;WN;2331;OAK;SEA           HENRYHAVEN            ME                      US   61533   136562393@KACHIPYTEL.COM
4UU25N   1/27/2021   OB   1/29/2021   WN;6004;LGA;TPA;WN;2288;TPA;MIA          MORRISSHIRE           AL                      US   34320   136563328@KACHIPYTEL.COM
4UUPM3   1/27/2021   OB   1/29/2021   WN;4297;PIT;DEN;WN;2642;DEN;OAK          JOHNHAVEN             SC                      US   82906   136562327@KACHIPYTEL.COM
4VSHP7   1/27/2021   OB   1/31/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          CASTILLOLAND          ID                      US   66799   136565209@KACHIPYTEL.COM
4VUZOX   1/27/2021   OB   1/27/2021   WN;3167;PHX;MDW                          MEYERSBURGH           WV                      US   32655   136565473@KACHIPYTEL.COM
4VXWYQ   1/27/2021   OB   1/31/2021   WN;2208;STL;LAX;WN;1140;LAX;LAS          LAKE JEFFREYBURY      SD                      US   91224   136565682@KACHIPYTEL.COM
4W388O   1/27/2021   OB   1/28/2021   WN;2234;LAX;STL;WN;1325;STL;MCO          NORTH DEVIN           WI                      US   98450   136565682@KACHIPYTEL.COM
4W3W3L   1/27/2021   OB    2/1/2021   WN;2346;MCI;ATL;WN;2346;ATL;TPA;WN;1642; TAMMYTOWN             AZ                      US    4917   136566056@KACHIPYTEL.COM
4WDG9G   1/27/2021   OB    2/5/2021   WN;309;MSP;LAS;WN;400;LAS;LAX            WEST DAVIDVILLE       MS                      US   33505   136566606@KACHIPYTEL.COM
4XFBCN   1/27/2021   OB   1/29/2021   WN;3343;LGA;ATL                          WILLIAMBURY           ID                      US   22561   136568487@KACHIPYTEL.COM
4XX8CH   1/27/2021   OB    2/9/2021   WN;5072;FLL;BWI;WN;1657;BWI;CLE          WEST DAVIDSHIRE       MD                      US   40875   136570247@KACHIPYTEL.COM
4XX8CH   1/27/2021   OB    2/9/2021   WN;5072;FLL;BWI;WN;1657;BWI;CLE          WEST DAVIDSHIRE       MD                      US   40875   136570247@KACHIPYTEL.COM
4Y2IUN   1/27/2021   OB    2/8/2021   WN;2104;HOU;PHX;WN;2572;PHX;BUR          SOUTH ASHLEYPORT      IA                      US    3164   136570170@KACHIPYTEL.COM
4YTJSH   1/27/2021   OB   1/29/2021   WN;3322;PHX;HOU                          PORT MICHELLE         NJ                      US   40341   136572766@KACHIPYTEL.COM
4ZKAIX   1/27/2021   OB    2/2/2021   WN;3124;DTW;BNA;WN;3959;BNA;ATL          NORTH BLAKEBURGH      FL                      US   81112   136575285@KACHIPYTEL.COM
2FXJAY   1/28/2021   OB    2/1/2021   WN;3389;SFO;SAN;WN;2883;SAN;LAS          SOUTH SANDRATON       LA                      US    5399   136639635@KACHIPYTEL.COM
2GM5IZ   1/28/2021   OB    2/2/2021   WN;3134;DTW;BWI;WN;2510;BWI;BOS          TIRUNELVEELI          SIKKIM                  IN   22129   136640526@KACHIPYTEL.COM
2GZXHW   1/28/2021   OB    2/3/2021   WN;3297;GEG;DEN                          NORTH TYLERHAVEN      NM                      US   47876   136641417@KACHIPYTEL.COM
2H6ED5   1/28/2021   OB   1/29/2021   WN;2654;SAT;BWI;WN;408;BWI;CVG           LAKE SUSANMOUTH       NJ                      US   71220   136641824@KACHIPYTEL.COM
2H6ED5   1/28/2021   OB   1/29/2021   WN;2654;SAT;BWI;WN;408;BWI;CVG           LAKE SUSANMOUTH       NJ                      US   71220   136641824@KACHIPYTEL.COM
2HCX6B   1/28/2021   OB    2/5/2021   WN;309;MSP;LAS;WN;397;LAS;PHX            SWEENEYHAVEN          WI                      US   19980   136642011@KACHIPYTEL.COM
2HDZZH   1/28/2021   OB   1/29/2021   WN;2654;SAT;BWI;WN;408;BWI;CVG           JOSHUAFURT            LA                      US   29793   136642132@KACHIPYTEL.COM
2HDZZH   1/28/2021   OB   1/29/2021   WN;2654;SAT;BWI;WN;408;BWI;CVG           JOSHUAFURT            LA                      US   29793   136642132@KACHIPYTEL.COM
2HUXO4   1/28/2021   OB   1/28/2021   WN;1490;LAS;SMF;WN;1154;SMF;SEA          EAST JOHN             MO                      US   55359   136643540@KACHIPYTEL.COM
2I2AIJ   1/28/2021   OB   2/19/2021   WN;470;CLE;BWI;WN;3984;BWI;FLL           SOUTH JULIANBOROUGH   NV                      US   58780   136643716@KACHIPYTEL.COM
2I2TIP   1/28/2021   OB   1/28/2021   WN;4235;OKC;PHX                          ADAMTOWN              FL                      US   97378   136643991@KACHIPYTEL.COM
2IQZ5H   1/28/2021   OB   1/29/2021   WN;2003;BWI;HOU;WN;1539;HOU;MCO          NEW JESSICA           PA                      US   48512   136645652@KACHIPYTEL.COM
2J5NDR   1/28/2021   OB   2/22/2021   WN;2785;TPA;DEN;WN;4264;DEN;MSP          K PETUKHOVO           LENINGRADSKAYA OBLAST   RU    7445   136646323@KACHIPYTEL.COM
2JJJOK   1/28/2021   OB   2/19/2021   WN;2785;TPA;DEN;WN;2208;DEN;MSP          RALPHBURGH            SC                      US   46078   136647566@KACHIPYTEL.COM
2JQKTV   1/28/2021   OB   1/30/2021   WN;4723;MDW;AUS;WN;3831;AUS;ATL          NORTH MATTHEW         MA                      US   49894   136647962@KACHIPYTEL.COM
2JSZBM   1/28/2021   OB   1/29/2021   WN;4596;PHX;LAS;WN;1900;LAS;SEA          BROOKSSHIRE           NJ                      US   30010   136647874@KACHIPYTEL.COM
2KA7BZ   1/28/2021   OB   1/30/2021   WN;4252;PHX;LAS                          WRIGHTSIDE            MD                      US   61516   136648864@KACHIPYTEL.COM
2KFBUG   1/28/2021   OB   1/28/2021   WN;824;LAX;SJC;WN;3278;SJC;LAS           DOMINIQUEBURGH        SD                      US   47533   136649359@KACHIPYTEL.COM
2L3ZNQ   1/28/2021   OB   1/28/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO          SOUTH JOHNSHIRE       SC                      US   27902   136650393@KACHIPYTEL.COM
2L3ZNQ   1/28/2021   OB   1/28/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO          SOUTH JOHNSHIRE       SC                      US   27902   136650393@KACHIPYTEL.COM
2M4SS6   1/28/2021   OB    2/3/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           SOUTH KEVINCHESTER    MO                      US   33520   136652692@KACHIPYTEL.COM
2N69UF   1/28/2021   OB   1/31/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA          LAKE KIMBERLYMOUTH    ND                      US   76243   136655211@KACHIPYTEL.COM
2O57M7   1/28/2021   OB   1/28/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           PALANGKARAYA          JAMBI                   ID   77730   136657378@KACHIPYTEL.COM
2P6SH5   1/28/2021   OB   1/31/2021   WN;3209;FLL;DAL                          BARNESMOUTH           NM                      US   29010   136661767@KACHIPYTEL.COM
2P6SH5   1/28/2021   OB   1/31/2021   WN;3209;FLL;DAL                          LOS ANGELES           CA                      US   90008   136661767@KACHIPYTEL.COM
2QYUBU   1/28/2021   OB   1/28/2021   WN;3343;LGA;ATL                          SOUTH JOHNSHIRE       SC                      US   27902   136650393@KACHIPYTEL.COM
2SXQNO   1/28/2021   OB    2/8/2021   WN;4980;MCI;MDW                          WEST KATIE            ID                      US   57904   136680236@KACHIPYTEL.COM
2TL4P8   1/28/2021   OB   3/18/2021   WN;294;BOS;BNA;WN;1939;BNA;MDW           NORTH JOSHUATON       ND                      US    2588   136682612@KACHIPYTEL.COM
2TL4P8   1/28/2021   OB   3/18/2021   WN;294;BOS;BNA;WN;1939;BNA;MDW           NORTH JOSHUATON       ND                      US    2588   136682612@KACHIPYTEL.COM
2VPHKX   1/28/2021   OB    2/3/2021   WN;3787;LGA;BNA;WN;3203;BNA;FLL          WEST PAULA            VA                      US   47649   136693117@KACHIPYTEL.COM
2W5MSE   1/28/2021   OB    2/6/2021   WN;60;CMH;TPA                            GARCIAMOUTH           NM                      US   78462   136695812@KACHIPYTEL.COM
2W99ZY   1/28/2021   OB   1/28/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW          LAKE JOHN             WY                      US   50973   136696120@KACHIPYTEL.COM
2WSWOJ   1/28/2021   OB    2/7/2021   WN;3792;LGA;MDW;WN;3306;MDW;MIA          RIOSLAND              NY                      US   90133   136698870@KACHIPYTEL.COM
2X9RVZ   1/28/2021   OB    2/6/2021   WN;2881;MDW;DAL;WN;2885;DAL;BNA;WN;28 ANDREWSHIRE              MO                      US   82663   136701664@KACHIPYTEL.COM
2X9TRB   1/28/2021   OB    2/8/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA          SCOTTTOWN             KY                      US   89068   136701664@KACHIPYTEL.COM
2XHOCD   1/28/2021   OB    2/6/2021   WN;3839;DTW;DEN;WN;3627;DEN;LAS          EAST KAITLYNSIDE      MI                      US    6790   136701994@KACHIPYTEL.COM
2XHRG9   1/28/2021   OB    2/1/2021   WN;4838;SEA;SMF                          FITZGERALDBURGH       IL                      US   22339   136702555@KACHIPYTEL.COM
2XHTTC   1/28/2021   OB    2/1/2021   WN;1556;TUS;DEN;WN;2516;DEN;SEA          NORTH JIMSHIRE        MN                      US   88629   136702313@KACHIPYTEL.COM
2YTYTN   1/28/2021   OB   8/16/2021   WN;862;HOU;MDW;WN;3117;MDW;MEM           WARRENSTAD            SD                      US   13802   136708308@KACHIPYTEL.COM
2YV4II   1/28/2021   OB   1/30/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA          SHEENATOWN            IN                      US   46016   136708605@KACHIPYTEL.COM
2YX25B   1/28/2021   OB   8/13/2021   WN;2389;MDW;HOU;WN;247;HOU;MIA           WEST HOLLY            NM                      US   15954   136708308@KACHIPYTEL.COM
2ZAJHB   1/28/2021   OB   1/29/2021   WN;2863;DAL;MDW;WN;469;MDW;LGA           PORT MELANIE          PA                      US   66233   136710310@KACHIPYTEL.COM
2ZAJHB   1/28/2021   OB   1/29/2021   WN;2863;DAL;MDW;WN;469;MDW;LGA           PORT MELANIE          PA                      US   66233   136710310@KACHIPYTEL.COM
2ZALHT   1/28/2021   OB   1/31/2021   WN;2160;MCO;MKE                          LAKE CHRISTINA        HI                      US   32237   136710453@KACHIPYTEL.COM
2ZJLLM   1/28/2021   OB   1/29/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA          EAST WILLIAM          VT                      US    9871   136711267@KACHIPYTEL.COM
2ZJLLM   1/28/2021   OB   1/29/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA          EAST WILLIAM          VT                      US    9871   136711267@KACHIPYTEL.COM
2ZZ6L9   1/28/2021   OB   1/29/2021   WN;2390;BUR;LAS;WN;397;LAS;PHX           WEST RUTH             AR                      US   87950   136713379@KACHIPYTEL.COM
2ZZ6L9   1/28/2021   OB   1/29/2021   WN;2390;BUR;LAS;WN;397;LAS;PHX           WEST RUTH             AR                      US   87950   136713379@KACHIPYTEL.COM
32875P   1/28/2021   OB   1/30/2021   WN;4252;PHX;LAS;WN;4468;LAS;SEA          EAST KAREN            MI                      US   52017   136713863@KACHIPYTEL.COM
32KAGI   1/28/2021   OB   1/29/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS          WEST CHARLENE         HI                      US   55318   136715062@KACHIPYTEL.COM
32MYBI   1/28/2021   OB    2/4/2021   WN;4743;RDU;ATL;WN;4207;ATL;FLL          LOUISVILLE            ND                      US   56272   136715887@KACHIPYTEL.COM
339WFT   1/28/2021   OB   1/31/2021   WN;4042;MDW;FLL                          MACKENZIEPORT         NM                      US   92953   136718296@KACHIPYTEL.COM
33NQAF   1/28/2021   OB   1/30/2021   WN;4391;TPA;BNA;WN;2885;BNA;BOS          RITAMOUTH             DE                      US   95727   136715711@KACHIPYTEL.COM
34E4WX   1/28/2021   OB   1/29/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS          KRISTILAND            DE                      US   86341   136721024@KACHIPYTEL.COM
34UQ7X   1/29/2021   OB    2/2/2021   WN;164;SEA;MDW                           ANGELAHAVEN           IN                      US   98387   136722102@KACHIPYTEL.COM
34ZQW9   1/29/2021   OB    2/2/2021   WN;164;SEA;MDW                           SOUTH PATRICK         PA                      US   85854   136722377@KACHIPYTEL.COM
35H83L   1/29/2021   OB   2/24/2021   WN;2793;DAL;STL;WN;3422;STL;LGA          NORTH REBECCA         TX                      US   66558   136723510@KACHIPYTEL.COM
35H83L   1/29/2021   OB   2/24/2021   WN;2793;DAL;STL;WN;3422;STL;LGA          NORTH REBECCA         TX                      US   66558   136723510@KACHIPYTEL.COM
368EMB   1/29/2021   OB   1/29/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO          DAVIDSIDE             FL                      US   14738   136724973@KACHIPYTEL.COM
36BY8I   1/29/2021   OB    2/8/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL          DENISEMOUTH           NEWCASTLE UPON TYNE     GB   20900   136725292@KACHIPYTEL.COM
36DCQY   1/29/2021   OB    2/6/2021   WN;3560;BOS;BWI;WN;4355;BWI;TPA          THOMASFORT            FL                      US   15701   136725215@KACHIPYTEL.COM
36ECMS   1/29/2021   OB    2/5/2021   WN;4124;MDW;SMF;WN;4877;SMF;LGB          SOUTH ERIKLAND        CA                      US   88542   136725358@KACHIPYTEL.COM
36JRYG   1/29/2021   OB   1/29/2021   WN;4751;ATL;MDW;WN;3167;MDW;MSP          ELLIOTTVILLE          WALES CYMRU             GB   70923   136724885@KACHIPYTEL.COM
37IF8C   1/29/2021   OB   1/29/2021   WN;4118;MDW;PHX;WN;4945;PHX;OMA          MORRISONSHIRE         LA                      US   71562   136728185@KACHIPYTEL.COM
37OSX7   1/29/2021   OB   1/29/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY          JOSEPHBURGH           QUEBEC                  CA    7126   136728526@KACHIPYTEL.COM
389Z5X   1/29/2021   OB    2/6/2021   WN;3219;LGA;STL;WN;3219;STL;MSY;WN;2511; CHRISTOPHERMOUTH      MT                      US   49985   136729615@KACHIPYTEL.COM
38AEFA   1/29/2021   OB   1/29/2021   WN;3948;ATL;FLL;WN;2576;FLL;MDW;WN;2576 PERKINSTON             MI                      US   76847   136730055@KACHIPYTEL.COM
38CC4D   1/29/2021   OB    2/3/2021   WN;4743;RDU;ATL;WN;3490;ATL;RSW          CHERYLCHESTER         LA                      US   68766   136729791@KACHIPYTEL.COM
39NGUC   1/29/2021   OB   1/29/2021   WN;2535;AUS;LAS;WN;3337;LAS;PDX          MALLORYTON            KY                      US   95331   136733069@KACHIPYTEL.COM
39XSCN   1/29/2021   OB    2/1/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL          SHRQ HSYN             KHORASANE SHEMALI       IR   12913   136733839@KACHIPYTEL.COM
3AS8VG   1/29/2021   OB   2/12/2021   WN;2180;BWI;MDW;WN;4792;MDW;CVG          ALEXMOUTH             HACKNEY                 GB   38770   136735060@KACHIPYTEL.COM
3AXCMZ   1/29/2021   OB   1/29/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS          LAKE CHARLES          TX                      US    8760   136735456@KACHIPYTEL.COM
3AXCMZ   1/29/2021   OB   1/29/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS          LAKE CHARLES          TX                      US    8760   136735456@KACHIPYTEL.COM
3BBLVL   1/29/2021   OB    2/1/2021   WN;2234;LAX;STL;WN;1325;STL;MCO          NORTH CRAIGMOUTH      AL                      US   13367   136736600@KACHIPYTEL.COM
3BE7RA   1/29/2021   OB    2/9/2021   WN;3382;MCI;PHX;WN;4809;PHX;SAN          LAKE DOUGLASHAVEN     DE                      US   44019   136736611@KACHIPYTEL.COM
3BSPFI   1/29/2021   OB   1/30/2021   WN;4252;PHX;LAS                          SMITHFURT             MS                      US   19135   136737656@KACHIPYTEL.COM
3CJ7VR   1/29/2021   OB   1/29/2021   WN;3348;LGA;ATL                          PORT AARONMOUTH       WY                      US   84553   136739603@KACHIPYTEL.COM
3CJ7VR   1/29/2021   OB   1/29/2021   WN;3348;LGA;ATL                          PORT AARONMOUTH       WY                      US   84553   136739603@KACHIPYTEL.COM
3D8BOQ   1/29/2021   OB   2/12/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW          THOMASCHESTER         KY                      US   56187   136741792@KACHIPYTEL.COM
3DWV8V   1/29/2021   OB   1/29/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO          NELSONTOWN            GA                      US   38036   136744520@KACHIPYTEL.COM




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3ENWQB   1/29/2021   OB    3/7/2021   WN;1117;MSP;MDW;WN;658;MDW;TPA       SHAFFERFORT            NC                   US   31014   136746742@KACHIPYTEL.COM
3FUT4D   1/29/2021   OB   1/29/2021   WN;3920;LAX;MDW;WN;3388;MDW;MCO      BRITTNEYCHESTER        MD                   US    9305   136751538@KACHIPYTEL.COM
3HOEE9   1/29/2021   OB    3/4/2021   WN;2728;BUF;DEN;WN;5014;DEN;MKE      BAKERCHESTER           NY                   US   61804   136760030@KACHIPYTEL.COM
3HWOFH   1/29/2021   OB    2/8/2021   WN;2863;DAL;MDW;WN;469;MDW;LGA       ALBACETE               GALICIA              ES   37055   136761295@KACHIPYTEL.COM
3IJDNS   1/29/2021   OB    2/1/2021   WN;3020;BOI;LAS;WN;3020;LAS;DEN      WEBERBERG              NJ                   US   93149   136763583@KACHIPYTEL.COM
3JVEO5   1/29/2021   OB    2/3/2021   WN;2346;MCI;ATL                      FRANCISFURT            KS                   US   41983   136771272@KACHIPYTEL.COM
3K2DCD   1/29/2021   OB    2/4/2021   WN;4702;PIT;TPA;WN;3233;TPA;FLL      LAKE ANDREA            UT                   US   91750   136771976@KACHIPYTEL.COM
3K2DCD   1/29/2021   OB    2/4/2021   WN;4702;PIT;TPA;WN;3233;TPA;FLL      LAKE ANDREA            UT                   US   91750   136771976@KACHIPYTEL.COM
3L4P6Z   1/29/2021   OB   1/29/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS      SOUTH DAVID            WI                   US   12522   136776728@KACHIPYTEL.COM
3L4P6Z   1/29/2021   OB   1/29/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS      SOUTH DAVID            WI                   US   12522   136776728@KACHIPYTEL.COM
3L4P6Z   1/29/2021   OB   1/29/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS      SOUTH DAVID            WI                   US   12522   136776728@KACHIPYTEL.COM
3LJS9H   1/29/2021   OB   1/30/2021   WN;1636;ATL;DAL;WN;3303;DAL;DEN      VINCENTVILLE           WY                   US   66128   136778774@KACHIPYTEL.COM
3LUBTG   1/29/2021   OB   1/30/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA      SOUTH MALIK            MT                   US   96685   136779775@KACHIPYTEL.COM
3LVEE9   1/29/2021   OB   1/30/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA      NORTH WILLIAM          HI                   US    9307   136780149@KACHIPYTEL.COM
3LWT8B   1/29/2021   OB   1/31/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS      LAKE TROYSHIRE         ME                   US   78515   136780567@KACHIPYTEL.COM
3MA8LV   1/29/2021   OB    2/5/2021   WN;3804;LGA;STL;WN;5483;STL;DAL      ALEXFURT               TX                   US   86461   136781931@KACHIPYTEL.COM
3MDJUO   1/29/2021   OB    2/5/2021   WN;3134;DTW;BWI;WN;2510;BWI;BOS      EAST STEVENFURT        NJ                   US   63474   136770304@KACHIPYTEL.COM
3MSPRC   1/29/2021   OB   1/30/2021   WN;957;MDW;BWI;WN;1087;BWI;BOS       VILLARREALSIDE         IA                   US   58016   136784945@KACHIPYTEL.COM
3MVWDM   1/29/2021   OB    2/2/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA      JACOBFORT              WY                   US   25114   136784813@KACHIPYTEL.COM
3MVWDM   1/29/2021   OB    2/2/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA      JACOBFORT              WY                   US   25114   136784813@KACHIPYTEL.COM
3MXE8G   1/29/2021   OB   1/30/2021   WN;4664;LAX;PHX                      ANDRESMOUTH            AZ                   US   92453   136785044@KACHIPYTEL.COM
3MZFQ3   1/29/2021   OB   1/31/2021   WN;1387;PHX;OAK                      THOMASTON              OR                   US   52413   136785517@KACHIPYTEL.COM
3N96N2   1/29/2021   OB   2/24/2021   WN;535;CVG;DEN;WN;1966;DEN;LAS       BRIANSTAD              MI                   US   27914   136786353@KACHIPYTEL.COM
3O8RMU   1/29/2021   OB    2/4/2021   WN;1360;MDW;FLL                      LESTERMOUTH            VT                   US   33164   136791160@KACHIPYTEL.COM
3O9DZ7   1/29/2021   OB    2/2/2021   WN;2051;ATL;MDW;WN;3306;MDW;MIA      TAYLORMOUTH            VT                   US    1367   136791160@KACHIPYTEL.COM
3OHMHP   1/29/2021   OB   1/30/2021   WN;61;MSY;MDW;WN;3594;MDW;LAX        JENNIFERCHESTER        WV                   US   70890   136792106@KACHIPYTEL.COM
3OHMHP   1/29/2021   OB   1/30/2021   WN;61;MSY;MDW;WN;3594;MDW;LAX        JENNIFERCHESTER        WV                   US   70890   136792106@KACHIPYTEL.COM
3PXVPL   1/29/2021   OB   2/25/2021   WN;1634;CLT;STL;WN;2246;STL;BNA      WEST JESSICA           VA                   US   68741   136797947@KACHIPYTEL.COM
3Q34J9   1/29/2021   OB    2/1/2021   WN;5978;DEN;MCI                      BETHANYPORT            UT                   US   25940   136797474@KACHIPYTEL.COM
3QTSXY   1/29/2021   OB   1/30/2021   WN;3645;MDW;OKC;WN;3645;OKC;LAS      ORTIZBURGH             UT                   US   71967   136799960@KACHIPYTEL.COM
3RCJXZ   1/29/2021   OB   2/16/2021   WN;2234;LAX;STL                      NEW ALICIA             NJ                   US   34931   136801412@KACHIPYTEL.COM
3RCJXZ   1/29/2021   OB   2/18/2021   WN;2330;STL;DAL;WN;22;DAL;FLL        NEW ALICIA             NJ                   US   34931   136801412@KACHIPYTEL.COM
3RCJXZ   1/29/2021   OB   2/16/2021   WN;2234;LAX;STL                      NEW ALICIA             NJ                   US   34931   136801412@KACHIPYTEL.COM
3RCJXZ   1/29/2021   OB   2/18/2021   WN;2330;STL;DAL;WN;22;DAL;FLL        NEW ALICIA             NJ                   US   34931   136801412@KACHIPYTEL.COM
3RCJXZ   1/29/2021   OB   2/16/2021   WN;2234;LAX;STL                      NEW ALICIA             NJ                   US   34931   136801412@KACHIPYTEL.COM
3RCJXZ   1/29/2021   OB   2/18/2021   WN;2330;STL;DAL;WN;22;DAL;FLL        NEW ALICIA             NJ                   US   34931   136801412@KACHIPYTEL.COM
3RCZA9   1/29/2021   OB    2/1/2021   WN;2346;ATL;TPA;WN;2288;TPA;MIA      NEW MATTHEW            UT                   US   33322   136801555@KACHIPYTEL.COM
3REMPY   1/29/2021   OB    2/4/2021   WN;4124;MDW;SMF;WN;4839;SMF;PHX      NORTH MARKBURGH        MO                   US   79513   136801500@KACHIPYTEL.COM
3RWUZP   1/30/2021   OB    2/1/2021   WN;1275;ATL;BNA;WN;3585;BNA;DTW      EAST ELIZABETHMOUTH    MT                   US   27742   136802699@KACHIPYTEL.COM
3S2ERC   1/30/2021   OB   1/31/2021   WN;3264;LAX;DEN;WN;3907;DEN;LAS      KRISTENBURGH           PA                   US   54185   136802765@KACHIPYTEL.COM
3S8UNM   1/30/2021   OB    2/1/2021   WN;824;LAX;SJC;WN;3278;SJC;LAS       BGT TH                 MAZANDARAN           IR   26599   136803161@KACHIPYTEL.COM
3SDS9B   1/30/2021   OB   1/30/2021   WN;1677;LGA;ATL                      YATESBERG              IN                   US   70802   136803282@KACHIPYTEL.COM
3SDS9B   1/30/2021   OB   1/30/2021   WN;1677;LGA;ATL                      YATESBERG              IN                   US   70802   136803282@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP      BIALOGARD              WARMINSKOMAZURSKIE   PL    2954   136803392@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP      BIALOGARD              WARMINSKOMAZURSKIE   PL    2954   136803392@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP      BIALOGARD              WARMINSKOMAZURSKIE   PL    2954   136803392@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP      BIALOGARD              WARMINSKOMAZURSKIE   PL    2954   136803392@KACHIPYTEL.COM
3T454G   1/30/2021   OB   1/30/2021   WN;4518;DAL;BWI;WN;2588;BWI;PWM      ADAMSBOROUGH           UT                   US   93331   136804987@KACHIPYTEL.COM
3T866Z   1/30/2021   OB   1/31/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA      JENNIFERBOROUGH        AL                   US   63405   136805537@KACHIPYTEL.COM
3TA765   1/30/2021   OB    2/1/2021   WN;4801;OAK;PHX;WN;1925;PHX;LAS      MICHAELMOUTH           DE                   US   10837   136805537@KACHIPYTEL.COM
3TOHSR   1/30/2021   OB    2/8/2021   WN;3370;HOU;PHX;WN;605;PHX;BUR       NEW THERESASIDE        NJ                   US   14483   136806439@KACHIPYTEL.COM
3U7KAM   1/30/2021   OB   3/25/2021   WN;227;MSY;BNA;WN;188;BNA;PHL        NEW JENNIFER           MI                   US    8858   136807286@KACHIPYTEL.COM
3WHNE7   1/30/2021   OB   1/31/2021   WN;3179;FLL;ATL;WN;2744;ATL;RDU      PORT LISABURY          MO                   US   10639   136811543@KACHIPYTEL.COM
3WJGOH   1/30/2021   OB   1/31/2021   WN;3179;FLL;ATL;WN;2744;ATL;RDU      WEST JUSTINSTAD        CA                   US   24086   136811620@KACHIPYTEL.COM
3WMLOE   1/30/2021   OB    2/1/2021   WN;385;DEN;PHX;WN;3382;PHX;SEA       SALAZARFORT            IN                   US   58167   136811796@KACHIPYTEL.COM
3WPDR6   1/30/2021   OB   1/30/2021   WN;3834;PHX;DEN;WN;4554;DEN;SEA      BOYDHAVEN              VT                   US   97432   136811796@KACHIPYTEL.COM
3WW4CD   1/30/2021   OB    2/3/2021   WN;2443;MCO;MDW                      RODNEYPORT             MT                   US   21939   136812302@KACHIPYTEL.COM
3WW4CD   1/30/2021   OB    2/3/2021   WN;2443;MCO;MDW                      RODNEYPORT             MT                   US   21939   136812302@KACHIPYTEL.COM
3WW4CD   1/30/2021   OB    2/3/2021   WN;2443;MCO;MDW                      RODNEYPORT             MT                   US   21939   136812302@KACHIPYTEL.COM
3WW4CD   1/30/2021   OB    2/3/2021   WN;2443;MCO;MDW                      RODNEYPORT             MT                   US   21939   136812302@KACHIPYTEL.COM
3XV3CB   1/30/2021   OB   1/30/2021   WN;4574;LAX;OAK;WN;4819;OAK;LAS      NEW DAWNBERG           RI                   US   23862   136813710@KACHIPYTEL.COM
3XV3CB   1/30/2021   OB   1/30/2021   WN;4574;LAX;OAK;WN;4819;OAK;LAS      NEW DAWNBERG           RI                   US   23862   136813710@KACHIPYTEL.COM
43RIQU   1/30/2021   OB    2/3/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA      ALICIABURGH            KS                   US   86596   136823709@KACHIPYTEL.COM
43U38S   1/30/2021   OB    2/2/2021   WN;715;ATL;BWI;WN;102;BWI;MIA        WEST JASONHAVEN        NH                   US   32553   136823720@KACHIPYTEL.COM
43U38S   1/30/2021   OB    2/2/2021   WN;715;ATL;BWI;WN;102;BWI;MIA        WEST JASONHAVEN        NH                   US   32553   136823720@KACHIPYTEL.COM
43U38S   1/30/2021   OB    2/2/2021   WN;715;ATL;BWI;WN;102;BWI;MIA        WEST JASONHAVEN        NH                   US   32553   136823720@KACHIPYTEL.COM
44KVWL   1/30/2021   OB    2/4/2021   WN;164;SEA;MDW;WN;4294;MDW;PIT;WN;429NORTH DERRICK          KS                   US   75809   136825975@KACHIPYTEL.COM
47E95P   1/30/2021   OB   2/17/2021   WN;2351;DCA;DAL;WN;800;DAL;MCO       WEST MATTHEWBOROUGH    KS                   US   22272   136835402@KACHIPYTEL.COM
47VRSM   1/30/2021   OB    2/2/2021   WN;2051;ATL;MDW;WN;3306;MDW;MIA      PATRICIALAND           VT                   US   50988   136837360@KACHIPYTEL.COM
493VXI   1/30/2021   OB   2/23/2021   WN;2044;DCA;MDW;WN;2253;MDW;MCO      LOPEZMOUTH             TX                   US   50059   136841089@KACHIPYTEL.COM
49L2LN   1/30/2021   OB    2/4/2021   WN;4145;MIA;TPA;WN;6007;TPA;PHL      ERICTOWN               NE                   US   34940   136843608@KACHIPYTEL.COM
49LFBC   1/30/2021   OB   2/26/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO      IRAAJPAALLAIYM VIRUT   HIMACHAL PRADESH     IN   32684   136843399@KACHIPYTEL.COM
49REVJ   1/30/2021   OB    2/2/2021   WN;715;ATL;BWI;WN;102;BWI;MIA        NEW CHRISTOPHERBURGH   CO                   US   76793   136844444@KACHIPYTEL.COM
49S5FR   1/30/2021   OB    2/2/2021   WN;2673;BDL;BWI;WN;102;BWI;MIA       JESSICAHAVEN           RI                   US   88163   136844367@KACHIPYTEL.COM
4A3VAH   1/30/2021   OB    3/3/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB      NEW PAULFURT           MO                   US   87483   136845445@KACHIPYTEL.COM
4AQSNY   1/30/2021   OB   1/31/2021   WN;3264;LAX;DEN                      WEST DANIELLETOWN      ME                   US   71117   136848426@KACHIPYTEL.COM
4BB7FQ   1/30/2021   OB    2/2/2021   WN;3176;MDW;DAL;WN;22;DAL;FLL        PORT MATTHEW           NV                   US   80582   136849889@KACHIPYTEL.COM
4BLOA2   1/30/2021   OB    2/7/2021   WN;35;DAL;HOU;WN;2723;HOU;MIA        PORT STEPHANIE         UT                   US   25224   136851407@KACHIPYTEL.COM
4BMM27   1/30/2021   OB   1/30/2021   WN;4154;PHX;LAS                      SHEENATOWN             IN                   US   46016   136708605@KACHIPYTEL.COM
4C8T9Y   1/30/2021   OB    2/9/2021   WN;346;SJU;BWI;WN;3984;BWI;FLL       WEST DIANA             VA                   US   50285   136854036@KACHIPYTEL.COM
4C9UUX   1/30/2021   OB    2/2/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA       LAKE JANO              SYDDANMARK           DK   12577   136854300@KACHIPYTEL.COM
4CSOB2   1/30/2021   OB    2/6/2021   WN;2679;DTW;BWI;WN;1919;BWI;ATL      LAKE RACHELBERG        UT                   US   23090   136855796@KACHIPYTEL.COM
4CYBUZ   1/30/2021   OB    2/7/2021   WN;2220;MDW;BNA;WN;3029;BNA;MCO      DAVIDCHESTER           TX                   US   22617   136856357@KACHIPYTEL.COM
4DXOGR   1/30/2021   OB    2/2/2021   WN;2051;ATL;MDW;WN;3306;MDW;MIA      PORT JAMESVIEW         NE                   US   99619   136859074@KACHIPYTEL.COM
4EHKD8   1/30/2021   OB    2/4/2021   WN;3948;FLL;MDW                      MATTHEWHAVEN           NJ                   US   57432   136860669@KACHIPYTEL.COM
4EXZ2L   1/30/2021   OB    2/5/2021   WN;4042;FLL;BWI;WN;1657;BWI;CLE      HEIDIBO                NORDTRONDELAG        NO   29417   136861604@KACHIPYTEL.COM
4FZWNE   1/30/2021   OB   1/31/2021   WN;1125;LAS;OAK;WN;4899;OAK;LGB      EAST DANIEL            NJ                   US   44347   136864200@KACHIPYTEL.COM
4G7Q2Y   1/30/2021   OB    2/3/2021   WN;3115;MDW;ATL;WN;2746;ATL;FLL      NORTH SHELLEYMOUTH     AR                   US   31968   136864651@KACHIPYTEL.COM
22KGP8   1/31/2021   OB   2/21/2021   WN;4743;RDU;ATL;WN;3796;ATL;JAX      NORTH KEVIN            NC                   US   61746   136915592@KACHIPYTEL.COM
22LHNE   1/31/2021   OB    2/3/2021   WN;2234;LAX;STL;WN;3301;STL;FLL      SOUTH ELAINE           ND                   US   43593   136915515@KACHIPYTEL.COM
235VTG   1/31/2021   OB   2/10/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS      LAKE KEVIN             VA                   US   63556   136916879@KACHIPYTEL.COM
23EXSY   1/31/2021   OB    2/1/2021   WN;441;ATL;DEN                       LAKE DANA              MN                   US   77227   136917396@KACHIPYTEL.COM
23GOTG   1/31/2021   OB    2/9/2021   WN;3276;LAX;BNA;WN;2522;BNA;MCO      PORT PATRICIASHIRE     NV                   US   35460   136917935@KACHIPYTEL.COM
23PMNP   1/31/2021   OB    2/3/2021   WN;791;IAD;ATL;WN;3082;ATL;MCO       PREELI                 GOA                  IN   55429   136918166@KACHIPYTEL.COM
24TKGM   1/31/2021   OB    2/2/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP      MANNMOUTH              AL                   US   18160   136920652@KACHIPYTEL.COM
24W2ZB   1/31/2021   OB    2/1/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB      NORTH DOUGLAS          VA                   US   17212   136920938@KACHIPYTEL.COM
24Y7GN   1/31/2021   OB    2/2/2021   WN;1534;LAS;SMF                      SOUTH DANASHIRE        FL                   US   89002   136816273.1543262@KACHIPYTEL.COM
4GCUDO   1/31/2021   OB    2/2/2021   WN;2104;PHX;BWI;WN;408;BWI;CVG       PORT EMILY             DE                   US    3547   136864849@KACHIPYTEL.COM
4GD7F4   1/31/2021   OB    2/6/2021   WN;4109;LAS;BWI;WN;2181;BWI;DTW      SOUTH KARENSTAD        AK                   US   43677   136864827@KACHIPYTEL.COM
4GD7F4   1/31/2021   OB    2/6/2021   WN;4109;LAS;BWI;WN;2181;BWI;DTW      SOUTH KARENSTAD        AK                   US   43677   136864827@KACHIPYTEL.COM
4GSCR8   1/31/2021   OB    2/7/2021   WN;2307;BOI;DEN;WN;3110;DEN;PSP      NORTH ROBERTOSTAD      NY                   US    6345   136865454@KACHIPYTEL.COM
4GWREB   1/31/2021   OB    2/5/2021   WN;2710;CLE;MDW;WN;1360;MDW;FLL      WEST JAMESSHIRE        NE                   US   54754   136865927@KACHIPYTEL.COM
4HVAZQ   1/31/2021   OB    2/8/2021   WN;1059;MSY;BWI;WN;102;BWI;MIA       REBECCA VILLE          CAVITE               PH    7437   136867126@KACHIPYTEL.COM
4IIXRJ   1/31/2021   OB   1/31/2021   WN;2058;TUS;DEN;WN;2310;DEN;SEA      JASTRZEBIEZDROJ        MAZOWIECKIE          PL   30410   136868490@KACHIPYTEL.COM
4INW2O   1/31/2021   OB    2/5/2021   WN;1914;LGA;MDW;WN;3388;MDW;MCO      MISKOLC                DEBRECEN             HU   77038   136868732@KACHIPYTEL.COM




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4JMTE5   1/31/2021   OB    2/5/2021   WN;2466;DEN;SMF                        PENG HU              KAOHSIUNG CITY       TW   10544   136869975@KACHIPYTEL.COM
4NMZLI   1/31/2021   OB   1/31/2021   WN;3927;MSP;DEN;WN;2785;DEN;LAS        PORT JESSICA         KS                   US   53008   136876333@KACHIPYTEL.COM
4NX5RI   1/31/2021   OB    2/1/2021   WN;2104;PHX;BWI;WN;408;BWI;CVG         HILLCHESTER          MA                   US   39269   136876938@KACHIPYTEL.COM
4OZCFE   1/31/2021   OB   2/14/2021   WN;4838;SEA;SMF;WN;3271;SMF;PHX        VARGASLAND           FL                   US   42306   136878841@KACHIPYTEL.COM
4OZCFE   1/31/2021   OB   2/14/2021   WN;4838;SEA;SMF;WN;3271;SMF;PHX        VARGASLAND           FL                   US   42306   136878841@KACHIPYTEL.COM
4TU3D7   1/31/2021   OB   1/31/2021   WN;2810;DEN;PHX;WN;2301;PHX;MCI        CHENMOUTH            TN                   US   52987   136547664@KACHIPYTEL.COM
4UM3D5   1/31/2021   OB    2/1/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        PORT BARBARAFORT     AK                   US   30159   136894010@KACHIPYTEL.COM
4V4LLB   1/31/2021   OB    2/1/2021   WN;3368;ATL;HOU                        MILLERTOWN           CA                   US   57648   136895198@KACHIPYTEL.COM
4VUKSA   1/31/2021   OB   1/31/2021   WN;2395;PHX;HOU;WN;3459;HOU;TUL        LAKE ALEXIS          NM                   US   31515   136897827@KACHIPYTEL.COM
4VUKSA   1/31/2021   OB   1/31/2021   WN;2395;PHX;HOU;WN;3459;HOU;TUL        LAKE ALEXIS          NM                   US   31515   136897827@KACHIPYTEL.COM
4W45HJ   1/31/2021   OB    4/5/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG         MYERSSTAD            IN                   US   16650   136898718@KACHIPYTEL.COM
4W45HJ   1/31/2021   OB    4/5/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG         MYERSSTAD            IN                   US   16650   136898718@KACHIPYTEL.COM
4WB5KF   1/31/2021   OB    2/2/2021   WN;205;RDU;MDW;WN;3388;MDW;MCO         WEST CAMERON         PA                   US   15404   136899367@KACHIPYTEL.COM
4WN7GD   1/31/2021   OB    2/1/2021   WN;3704;LAS;STL                        EAST STEVENTOWN      SD                   US   93314   136900973@KACHIPYTEL.COM
4WUL56   1/31/2021   OB    2/1/2021   WN;2537;PHX;DEN;WN;2310;DEN;SEA        NORTH SPENCERFORT    WV                   US    8829   136901666@KACHIPYTEL.COM
4X3BUY   1/31/2021   OB    2/6/2021   WN;1677;ATL;TPA;WN;4050;TPA;MIA        LAKE EMILY           SC                   US   52227   136902810@KACHIPYTEL.COM
4XA3Z3   1/31/2021   OB    2/6/2021   WN;2579;MDW;ATL;WN;2829;ATL;FLL        NORTH JENNIFERBURY   MI                   US   58082   136903206@KACHIPYTEL.COM
4XA3Z3   1/31/2021   OB    2/6/2021   WN;2579;MDW;ATL;WN;2829;ATL;FLL        NORTH JENNIFERBURY   MI                   US   58082   136903206@KACHIPYTEL.COM
4XOX9S   1/31/2021   OB    2/6/2021   WN;2458;DAL;OAK;WN;1130;OAK;LAX        SONYAMOUTH           OR                   US   58294   136905604@KACHIPYTEL.COM
4XPRRQ   1/31/2021   OB    3/1/2021   WN;2077;AUS;BNA;WN;2713;BNA;MSY        PORT JENNIFER        DE                   US   19281   136905384@KACHIPYTEL.COM
4Y3JWO   1/31/2021   OB    2/4/2021   WN;170;DEN;MDW                         HALLBERG             NY                   US   25564   136906990@KACHIPYTEL.COM
4Y6NLA   1/31/2021   OB    2/2/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         EAST CYNTHIASHIRE    FL                   US   63910   136907991@KACHIPYTEL.COM
4YTJ34   1/31/2021   OB    2/1/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB        SOUTH BILLY          UT                   US   59240   136910455@KACHIPYTEL.COM
4YTJ34   1/31/2021   OB    2/1/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB        SOUTH BILLY          UT                   US   59240   136910455@KACHIPYTEL.COM
4Z27EF   1/31/2021   OB    2/2/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW         BENJAMINBURGH        ND                   US   51775   136910675@KACHIPYTEL.COM
4Z66KW   1/31/2021   OB   2/11/2021   WN;3468;BOI;DEN;WN;2369;DEN;LGB        PORT NICOLE          OK                   US   33525   136911665@KACHIPYTEL.COM
4Z7ZA6   1/31/2021   OB    2/9/2021   WN;4203;DEN;TPA;WN;4848;TPA;BWI        EAST ANDREWSTAD      RI                   US   81592   136911775@KACHIPYTEL.COM
4Z7ZA6   1/31/2021   OB    2/9/2021   WN;4203;DEN;TPA;WN;4848;TPA;BWI        EAST ANDREWSTAD      RI                   US   81592   136911775@KACHIPYTEL.COM
24Z9U6    2/1/2021   OB    2/9/2021   WN;4849;DEN;STL;WN;4666;STL;PHX        EAST DAVID           MA                   US   45047   136921092@KACHIPYTEL.COM
255GNT    2/1/2021   OB    2/1/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB         NEW PATRICIAHAVEN    OK                   US   36966   136920960@KACHIPYTEL.COM
255GNT    2/1/2021   OB    2/1/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB         NEW PATRICIAHAVEN    OK                   US   36966   136920960@KACHIPYTEL.COM
256JWM    2/1/2021   OB    2/8/2021   WN;2978;BOS;BWI;WN;2531;BWI;TPA        LAKE NICOLELAND      IA                   US   23088   136921257@KACHIPYTEL.COM
256JWM    2/1/2021   OB    2/8/2021   WN;2978;BOS;BWI;WN;2531;BWI;TPA        LAKE NICOLELAND      IA                   US   23088   136921257@KACHIPYTEL.COM
25TSPM    2/1/2021   OB    2/4/2021   WN;5007;STL;PHX                        KRISTIANSTAD         VASTMANLANDS LAN     SE   69210   136922467@KACHIPYTEL.COM
25UYBI    2/1/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA         GONZALESFURT         VA                   US   46716   136922346@KACHIPYTEL.COM
25UYBI    2/1/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA         GONZALESFURT         VA                   US   46716   136922346@KACHIPYTEL.COM
25XEHG    2/1/2021   OB    2/7/2021   WN;534;PHX;STL                         OREBRO               VASTMANLANDS LAN     SE   67625   136922467@KACHIPYTEL.COM
26B2O9    2/1/2021   OB    3/4/2021   WN;3254;MDW;AUS;WN;2931;AUS;BNA        JEYPPUUR             ODISHA               IN   48635   136923050@KACHIPYTEL.COM
26ED8I    2/1/2021   OB    3/7/2021   WN;182;AUS;MDW;WN;535;MDW;CVG          VEELUUR              MIZORAM              IN   88034   136923050@KACHIPYTEL.COM
26FKX9    2/1/2021   OB    2/3/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA         JASONFURT            WV                   US   51874   136923336@KACHIPYTEL.COM
26VWCM    2/1/2021   OB    2/1/2021   WN;4954;PHX;DEN;WN;2516;DEN;SEA        NORTH BRITTANY       VT                   US   77638   136923875@KACHIPYTEL.COM
27GNV3    2/1/2021   OB    2/3/2021   WN;4559;DEN;SJC;WN;110;SJC;SAN         NEW SAMUELPORT       LA                   US   95478   136924865@KACHIPYTEL.COM
27I8JY    2/1/2021   OB    2/4/2021   WN;3176;MDW;DAL;WN;22;DAL;FLL          HOLDENPORT           MO                   US   63447   136925019@KACHIPYTEL.COM
27JZRU    2/1/2021   OB    2/7/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA        NEW MORGANCHESTER    MD                   US   73260   136925019@KACHIPYTEL.COM
27OW5I    2/1/2021   OB    2/1/2021   WN;3179;FLL;ATL;WN;2744;ATL;RDU        NORTH CRISTIAN       KS                   US   33881   136925107@KACHIPYTEL.COM
27QC9S    2/1/2021   OB    2/7/2021   WN;6001;AUS;TPA                        SOUTH CYNTHIA        MA                   US   65856   136925217@KACHIPYTEL.COM
27SQ7T    2/1/2021   OB    2/1/2021   WN;1782;PHX;ATL;WN;3803;ATL;MSY        NEW ELAINE           WI                   US   32961   136925261@KACHIPYTEL.COM
27U9ZI    2/1/2021   OB    2/1/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB        WEST CALEBMOUTH      ID                   US   84531   136925349@KACHIPYTEL.COM
27U9ZI    2/1/2021   OB    2/1/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB        WEST CALEBMOUTH      ID                   US   84531   136925349@KACHIPYTEL.COM
27U9ZI    2/1/2021   OB    2/1/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB        WEST CALEBMOUTH      ID                   US   84531   136925349@KACHIPYTEL.COM
27XY8Y    2/1/2021   OB    2/1/2021   WN;2234;LAX;STL                        NORTH MARKBOROUGH    AR                   US    8261   136925756@KACHIPYTEL.COM
283LMR    2/1/2021   OB    2/8/2021   WN;3956;MCO;BNA;WN;3956;BNA;STL;WN;342 LAKE VICTORIABURGH   MI                   US   70164   136925734@KACHIPYTEL.COM
287MMO    2/1/2021   OB    2/6/2021   WN;2391;SAT;LAS                        JOSEVILLE            TX                   US   28944   136926042@KACHIPYTEL.COM
28GNX6    2/1/2021   OB   3/17/2021   WN;651;AUS;LAS;WN;818;LAS;LGB          PORT SARAVIEW        KY                   US   49266   136926163@KACHIPYTEL.COM
28GNX6    2/1/2021   OB   3/17/2021   WN;651;AUS;LAS;WN;818;LAS;LGB          PORT SARAVIEW        KY                   US   49266   136926163@KACHIPYTEL.COM
28GNX6    2/1/2021   OB   3/17/2021   WN;651;AUS;LAS;WN;818;LAS;LGB          PORT SARAVIEW        KY                   US   49266   136926163@KACHIPYTEL.COM
28J3TD    2/1/2021   OB   3/10/2021   WN;986;PIT;PHX;WN;3927;PHX;DAL         MILLERBURGH          SD                   US   73840   136926405@KACHIPYTEL.COM
29IKVT    2/1/2021   OB    2/1/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS        LAKE TIFFANYFORT     MN                   US   27166   136928110@KACHIPYTEL.COM
29T2OY    2/1/2021   OB    2/3/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS        AGUILARMOUTH         CA                   US   26524   136928726@KACHIPYTEL.COM
29T2OY    2/1/2021   OB    2/3/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS        AGUILARMOUTH         CA                   US   26524   136928726@KACHIPYTEL.COM
2A44KN    2/1/2021   OB    2/8/2021   WN;2247;CLT;BWI;WN;4749;BWI;TPA        LAKE RHONDA          ME                   US   45002   136928946@KACHIPYTEL.COM
2AHXHW    2/1/2021   OB    2/2/2021   WN;360;ATL;BWI                         RALPHBURGH           GA                   US   18954   136929617@KACHIPYTEL.COM
2B6SY4    2/1/2021   OB    2/1/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         MEYERSFURT           FL                   US   14914   136930552@KACHIPYTEL.COM
2CTCAY    2/1/2021   OB   2/12/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        PAULHAVEN            MN                   US   81586   136934644@KACHIPYTEL.COM
2CUV2T    2/1/2021   OB    2/6/2021   WN;3820;LAX;BWI;WN;2181;BWI;DTW        RUIZFORT             KY                   US   36653   136934578@KACHIPYTEL.COM
2D54KC    2/1/2021   OB   2/12/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        TUCKERPORT           AR                   US    9812   136935623@KACHIPYTEL.COM
2EAA3K    2/1/2021   OB   2/10/2021   WN;2934;ONT;DEN                        EAST WILLIAM         HI                   US   32472   136940397@KACHIPYTEL.COM
2EAA3K    2/1/2021   RT   2/13/2021   WN;4631;DEN;ONT                        EAST WILLIAM         HI                   US   32472   136940397@KACHIPYTEL.COM
2HTPCR    2/1/2021   OB    2/1/2021   WN;5084;LAS;OAK                        SOUTH JENNIFER       AL MINYA             EG   64646   136956204@KACHIPYTEL.COM
2HX8TV    2/1/2021   OB    2/1/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         ROBERTSBURY          AL                   US   79068   136956413@KACHIPYTEL.COM
2IIJ4M    2/1/2021   OB    2/1/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         NEW TANYA            SC                   US   13066   136959020@KACHIPYTEL.COM
2IS7J7    2/1/2021   OB    2/2/2021   WN;2003;ATL;BWI                        EAST STACEYBERG      UT                   US   63084   136959922@KACHIPYTEL.COM
2IXLG7    2/1/2021   OB    2/2/2021   WN;3075;MIA;BWI                        HERNANDEZBOROUGH     NC                   US   42845   136961330@KACHIPYTEL.COM
2JBGOQ    2/1/2021   OB    2/2/2021   WN;2770;MCO;DEN;WN;2770;DEN;PHX;WN;411PORT SHANE            CT                   US   47879   136962254@KACHIPYTEL.COM
2JTQ8J    2/1/2021   OB    2/3/2021   WN;4615;PHX;MDW;WN;4792;MDW;CVG        HEBERTFORT           AR                   US   37866   136965554@KACHIPYTEL.COM
2K5X72    2/1/2021   OB    2/4/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA        EAST KYLIE           NE                   US    7960   136966632@KACHIPYTEL.COM
2LQQF2    2/1/2021   OB    2/2/2021   WN;2770;MCO;DEN;WN;2369;DEN;LGB        BLAIRBURY            MT                   US   99739   136973716@KACHIPYTEL.COM
2M7HDV    2/1/2021   OB    2/2/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP        NORTH KIMBERLY       ND                   US    3151   136976235@KACHIPYTEL.COM
2M7HDV    2/1/2021   OB    2/2/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP        NORTH KIMBERLY       ND                   US    3151   136976235@KACHIPYTEL.COM
2N7485    2/1/2021   OB    2/2/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        JENNIFERHAVEN        VT                   US   66710   136982505@KACHIPYTEL.COM
2N7485    2/1/2021   OB    2/2/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        JENNIFERHAVEN        VT                   US   66710   136982505@KACHIPYTEL.COM
2N7S79    2/1/2021   OB    2/2/2021   WN;3426;LAS;MDW                        TYLERTON             AR                   US   63186   136982791@KACHIPYTEL.COM
2NFGTP    2/1/2021   OB    2/2/2021   WN;3704;LAS;STL;WN;3301;STL;FLL        APRILMOUTH           NE                   US   84467   136983858@KACHIPYTEL.COM
2OB6GJ    2/1/2021   OB    2/2/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        ROBERTFURT           NY                   US   18067   136988610@KACHIPYTEL.COM
2OB6GJ    2/1/2021   OB    2/2/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        ROBERTFURT           NY                   US   18067   136988610@KACHIPYTEL.COM
2OED73    2/1/2021   OB    2/4/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        HAWKINSMOUTH         KY                   US   62690   136988489@KACHIPYTEL.COM
2OF3HL    2/1/2021   OB   2/21/2021   WN;2104;HOU;PHX                        TUUTTUKKUTTI         RAJASTHAN            IN   51109   136988599@KACHIPYTEL.COM
2OPZFY    2/1/2021   OB    2/2/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW        NORTH GREGORY        AR                   US   98500   136990645@KACHIPYTEL.COM
2OR349    2/1/2021   OB    2/2/2021   WN;953;ATL;BNA;WN;4149;BNA;DTW         EAST RYANTOWN        SD                   US   43483   136989985@KACHIPYTEL.COM
2P29DE    2/1/2021   OB   2/11/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL        D BAVLY              SMOLENSKAYA OBLAST   RU   70755   136991657@KACHIPYTEL.COM
2Q5QGP    2/1/2021   OB   2/12/2021   WN;2740;AUS;PHX;WN;425;PHX;LGB         VTOOTRAA             PUDUCHERRY           IN    4769   136995243@KACHIPYTEL.COM
2Q8WUT    2/1/2021   OB    2/2/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL        PETERVILLE           IA                   US   81753   136995551@KACHIPYTEL.COM
2QMN44    2/1/2021   OB    2/9/2021   WN;2147;BDL;BWI;WN;4118;BWI;FLL        SOUTH JEFFREY        VT                   US   91155   136997157@KACHIPYTEL.COM
2QRWPC    2/1/2021   OB    2/2/2021   WN;1264;HOU;MDW                        RICHARDSSIDE         RI                   US   62732   136997619@KACHIPYTEL.COM
2QSEMQ    2/1/2021   OB    2/9/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA        JESSICAPORT          NC                   US   99109   136997784@KACHIPYTEL.COM
2R4WKJ    2/1/2021   OB    2/6/2021   WN;2212;CLE;BNA                        EAST BIANCA          LA                   US   66801   136998554@KACHIPYTEL.COM
2RKWNL    2/1/2021   OB    2/7/2021   WN;910;DEN;MDW;WN;3663;MDW;SEA         JAYBOROUGH           NY                   US   83980   136999687@KACHIPYTEL.COM
2RN3ZH    2/1/2021   OB    2/2/2021   WN;4743;RDU;ATL                        AXMETA               KAKHETI              GE   38998   136999918@KACHIPYTEL.COM
2RTRA7    2/2/2021   OB    2/3/2021   WN;2746;RDU;ATL;WN;540;ATL;PBI         WEST REBECCA         MO                   US   18241   137000380@KACHIPYTEL.COM
2S6FUL    2/2/2021   OB    2/2/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP        PETERSONPORT         AZ                   US   97746   137001117@KACHIPYTEL.COM
2S6JB3    2/2/2021   OB    2/2/2021   WN;5084;LAS;OAK;WN;4096;OAK;SEA        GARCIASHIRE          CA                   US    6920   137000908@KACHIPYTEL.COM
2S6JB3    2/2/2021   OB    2/2/2021   WN;5084;LAS;OAK;WN;4096;OAK;SEA        GARCIASHIRE          CA                   US    6920   137000908@KACHIPYTEL.COM
2SGRQY    2/2/2021   OB    2/2/2021   WN;4315;SEA;DEN;WN;3532;DEN;TUS        CIVKAACI             TRIPURA              IN   77789   137001447@KACHIPYTEL.COM
2SJTX3    2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL        SEANPORT             IN                   US   64216   137001876@KACHIPYTEL.COM
2SJTX3    2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL        SEANPORT             IN                   US   64216   137001876@KACHIPYTEL.COM




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2SJTX3   2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL         SEANPORT              IN                     US   64216   137001876@KACHIPYTEL.COM
2SJTX3   2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL         SEANPORT              IN                     US   64216   137001876@KACHIPYTEL.COM
2SL4X8   2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX         SOUTH MELISSA         TN                     US   83007   137001876@KACHIPYTEL.COM
2SL4X8   2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX         SOUTH MELISSA         TN                     US   83007   137001876@KACHIPYTEL.COM
2SL4X8   2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX         SOUTH MELISSA         TN                     US   83007   137001876@KACHIPYTEL.COM
2SL4X8   2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX         SOUTH MELISSA         TN                     US   83007   137001876@KACHIPYTEL.COM
2SL96A   2/2/2021   OB    2/4/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         PORT MICHELE          CA                     US   54629   137001942@KACHIPYTEL.COM
2SL96A   2/2/2021   OB    2/4/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         PORT MICHELE          CA                     US   54629   137001942@KACHIPYTEL.COM
2SW742   2/2/2021   OB   2/11/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA         WEST WILLIAMPORT      TN                     US    3531   137002657@KACHIPYTEL.COM
2UKARZ   2/2/2021   OB    2/3/2021   WN;4842;PHX;SMF                         MARIAVIEW             OK                     US   59446   137006155@KACHIPYTEL.COM
2UMIU5   2/2/2021   OB    2/5/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         PORT REBECCA          AZ                     US   37819   137006320@KACHIPYTEL.COM
2UOUC9   2/2/2021   OB    2/5/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS         JULIACHESTER          IN                     US   50076   137006441@KACHIPYTEL.COM
2V3JCL   2/2/2021   OB    2/8/2021   WN;205;RDU;MDW;WN;3388;MDW;MCO          NELLUUR               HIMACHAL PRADESH       IN   49381   137007167@KACHIPYTEL.COM
2V3JCL   2/2/2021   OB    2/8/2021   WN;205;RDU;MDW;WN;3388;MDW;MCO          NELLUUR               HIMACHAL PRADESH       IN   49381   137007167@KACHIPYTEL.COM
2V7C87   2/2/2021   OB    2/2/2021   WN;177;PHX;DAL;WN;3735;DAL;TUL          JOHNSONVIEW           CT                     US   42589   137007717@KACHIPYTEL.COM
2VAJ8O   2/2/2021   OB    2/2/2021   WN;3611;HOU;MDW;WN;3223;MDW;MEM         EAST CHRISTINETOWN    WY                     US   75365   137007783@KACHIPYTEL.COM
2VAJ8O   2/2/2021   OB    2/2/2021   WN;3611;HOU;MDW;WN;3223;MDW;MEM         EAST CHRISTINETOWN    WY                     US   75365   137007783@KACHIPYTEL.COM
2VAJ8O   2/2/2021   OB    2/2/2021   WN;3611;HOU;MDW;WN;3223;MDW;MEM         EAST CHRISTINETOWN    WY                     US   75365   137007783@KACHIPYTEL.COM
2VDXT7   2/2/2021   OB    2/6/2021   WN;3903;PIT;BWI;WN;2150;BWI;MIA         PORT GABRIELLAND      MA                     US    4171   137008168@KACHIPYTEL.COM
2VX2VU   2/2/2021   OB   2/18/2021   WN;3;DAL;HOU;WN;2268;HOU;SAT            PORT ERIKATOWN        AK                     US   36657   137009422@KACHIPYTEL.COM
2W4D3I   2/2/2021   OB    2/2/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS         BILLYVILLE            OR                     US   25620   137007816@KACHIPYTEL.COM
2XAQJM   2/2/2021   OB    2/5/2021   WN;736;MKE;PHX;WN;390;PHX;DEN           NEW MARYBOROUGH       NY                     US   67504   137012051@KACHIPYTEL.COM
2XAQJM   2/2/2021   OB    2/5/2021   WN;736;MKE;PHX;WN;390;PHX;DEN           NEW MARYBOROUGH       NY                     US   67504   137012051@KACHIPYTEL.COM
2XBK6T   2/2/2021   OB    2/9/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         LOPEZMOUTH            VA                     US   76565   137011952@KACHIPYTEL.COM
2YABB4   2/2/2021   OB    2/2/2021   WN;5084;LAS;OAK;WN;4096;OAK;SEA         YU ZANG DAO CUN       FUKUSHIMA              JP   76295   137013976@KACHIPYTEL.COM
2YARFI   2/2/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         WEST ANTONIOFORT      FL                     US   92816   137013987@KACHIPYTEL.COM
2YARFI   2/2/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         WEST ANTONIOFORT      FL                     US   92816   137013987@KACHIPYTEL.COM
2YARFI   2/2/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         WEST ANTONIOFORT      FL                     US   92816   137013987@KACHIPYTEL.COM
2YARFI   2/2/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         WEST ANTONIOFORT      FL                     US   92816   137013987@KACHIPYTEL.COM
2YARFI   2/2/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         WEST ANTONIOFORT      FL                     US   92816   137013987@KACHIPYTEL.COM
2YARFI   2/2/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         WEST ANTONIOFORT      FL                     US   92816   137013987@KACHIPYTEL.COM
2Z5FOS   2/2/2021   OB    2/2/2021   WN;1265;LAX;PHX;WN;1478;PHX;LAS         GOMEZCHESTER          ND                     US   96889   137016286@KACHIPYTEL.COM
33FDS4   2/2/2021   OB    2/3/2021   WN;3338;SFO;MDW;WN;458;MDW;MCO          LAKE TIMOTHY          PEMBROKE               MT   53836   137026967@KACHIPYTEL.COM
33HAD2   2/2/2021   OB    2/3/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         BENNETTBERG           OK                     US   53513   137027627@KACHIPYTEL.COM
33UX94   2/2/2021   OB    2/9/2021   WN;1588;MDW;BWI;WN;3984;BWI;FLL         ASHLEYFORT            VA                     US   86865   137029255@KACHIPYTEL.COM
34UB3B   2/2/2021   OB    2/2/2021   WN;2770;MCO;DEN;WN;2770;DEN;PHX         EAST JAMES            IL                     US   61926   137035448@KACHIPYTEL.COM
36R3ZI   2/2/2021   OB    2/3/2021   WN;2753;DCA;MDW;WN;2753;MDW;OAK;WN;4WEST JENNIFERBOROUGH      IA                     US   76550   137044413@KACHIPYTEL.COM
36T8R5   2/2/2021   OB    2/2/2021   WN;4223;RDU;BNA;WN;2522;BNA;MCO         KLKH SANKTPETERBURG   MORDOVIYA RESPUBLIKA   RU   13559   137044215@KACHIPYTEL.COM
37JRIL   2/2/2021   OB    2/4/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW          SHERRYFORT            ME                     US   24832   137048417@KACHIPYTEL.COM
37UQ2J   2/2/2021   OB    2/3/2021   WN;748;JAX;BWI;WN;1923;BWI;BOS          SURNAY VILLE          NONTHABURI             TH   77530   137050023@KACHIPYTEL.COM
37UQ2J   2/2/2021   OB    2/3/2021   WN;748;JAX;BWI;WN;1923;BWI;BOS          SURNAY VILLE          NONTHABURI             TH   77530   137050023@KACHIPYTEL.COM
389KYQ   2/2/2021   OB    2/2/2021   WN;3426;LAS;MDW;WN;2636;MDW;MSP         EAST JENNIFER         MN                     US   74249   137052564@KACHIPYTEL.COM
38LBFB   2/2/2021   OB   2/12/2021   WN;1933;STL;MDW;WN;2195;MDW;CLE         WEST MANUELFORT       WY                     US   48988   137053840@KACHIPYTEL.COM
38LXVG   2/2/2021   OB    2/6/2021   WN;3106;RNO;LAS;WN;3108;LAS;SAN         NEW SHANE             VA                     US   30059   137054731@KACHIPYTEL.COM
38MHOW   2/2/2021   OB   2/14/2021   WN;458;MDW;MCO                          EAST JANE             VA                     US   48431   137053840@KACHIPYTEL.COM
38SVUM   2/2/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA          HANNAHTOWN            WA                     US   31680   137055039@KACHIPYTEL.COM
38SVUM   2/2/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA          HANNAHTOWN            WA                     US   31680   137055039@KACHIPYTEL.COM
398PYU   2/2/2021   OB    2/8/2021   WN;3936;MCI;PHX;WN;4423;PHX;DEN         WENDYTOWN             AR                     US   26536   137056656@KACHIPYTEL.COM
39A9AS   2/2/2021   OB    2/6/2021   WN;884;PHX;MCI;WN;1339;MCI;DEN          HALEYSHIRE            SC                     US    6071   137056656@KACHIPYTEL.COM
39JYFK   2/2/2021   OB    2/2/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         ISAIAHBERG            AR                     US    9202   137058207@KACHIPYTEL.COM
39P5S2   2/2/2021   OB   2/11/2021   WN;1370;BWI;BNA;WN;1966;BNA;ATL         SCOTTBURGH            IL                     US   84964   137058768@KACHIPYTEL.COM
39PWF7   2/2/2021   OB    2/2/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW          PORT JOSEPHLAND       OK                     US   26998   137058834@KACHIPYTEL.COM
39PXUC   2/2/2021   OB   2/14/2021   WN;5013;BNA;BWI;WN;102;BWI;MIA          BLACKWELLSTAD         SC                     US   35454   137058768@KACHIPYTEL.COM
39YM7B   2/2/2021   OB    2/9/2021   WN;4149;PHL;BNA;WN;2522;BNA;MCO         RODRIGUEZBURY         MA                     US   50937   137060946@KACHIPYTEL.COM
3AFQBA   2/2/2021   OB    2/2/2021   WN;3294;MIA;BWI;WN;5016;BWI;ALB         HERNANDEZBOROUGH      NC                     US   42845   136961330@KACHIPYTEL.COM
3AM8OH   2/2/2021   OB    2/5/2021   WN;1459;OAK;MDW;WN;3388;MDW;MCO         NORTH DAVID           ND                     US   64170   137063179@KACHIPYTEL.COM
3ATA2A   2/2/2021   OB    2/5/2021   WN;3254;MDW;AUS;WN;6001;AUS;TPA         NEW BRENDAFURT        BRITISH COLUMBIA       CA   99350   137064389@KACHIPYTEL.COM
3B2YMQ   2/2/2021   OB    2/3/2021   WN;4191;MSP;MDW                         FRANCISCOSHIRE        UT                     US    3213   137065038@KACHIPYTEL.COM
3B3A3C   2/2/2021   OB    2/5/2021   WN;953;BWI;ATL                          JAMESBERG             IA                     US   56542   137065555@KACHIPYTEL.COM
3B3A3C   2/2/2021   OB    2/5/2021   WN;953;BWI;ATL                          JAMESBERG             IA                     US   56542   137065555@KACHIPYTEL.COM
3B8U76   2/2/2021   OB   2/16/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL         PORT EMILYFORT        PA                     US   67900   135849329.1544131@KACHIPYTEL.COM
3B8U76   2/2/2021   OB   2/16/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL         PORT EMILYFORT        PA                     US   67900   135849329.1544131@KACHIPYTEL.COM
3BJQAO   2/2/2021   OB    2/8/2021   WN;2461;ATL;CMH;WN;4766;CMH;BNA;WN;476PORT MADISONTOWN        HI                     US   91386   137068283@KACHIPYTEL.COM
3BO7PW   2/2/2021   OB    2/3/2021   WN;569;BWI;DEN;WN;569;DEN;OAK;WN;1303;OMEGANFURT              WY                     US   33840   137070120@KACHIPYTEL.COM
3BWLFQ   2/2/2021   OB    2/5/2021   WN;3239;BWI;LAS;WN;1900;LAS;SEA         NORTH JAMES           MI                     US   65659   137071671@KACHIPYTEL.COM
3BWLFQ   2/2/2021   OB    2/5/2021   WN;3239;BWI;LAS;WN;1900;LAS;SEA         NORTH JAMES           MI                     US   65659   137071671@KACHIPYTEL.COM
3C3IPI   2/2/2021   OB    2/9/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW         APRILTON              IL                     US   30295   137071671@KACHIPYTEL.COM
3C3IPI   2/2/2021   OB    2/9/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW         APRILTON              IL                     US   30295   137071671@KACHIPYTEL.COM
3C6X23   2/2/2021   OB    2/5/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         WILLIAMSLAND          ND                     US   44846   137072925@KACHIPYTEL.COM
3C6X23   2/2/2021   OB    2/5/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         WILLIAMSLAND          ND                     US   44846   137072925@KACHIPYTEL.COM
3D4QKT   2/2/2021   OB    2/3/2021   WN;2157;BDL;MCO;WN;2438;MCO;FLL         SOUTH TIMOTHY         KY                     US   39011   137077237@KACHIPYTEL.COM
3DOS94   2/2/2021   OB   2/19/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL         MYERSMOUTH            SC                     US   82660   137080130@KACHIPYTEL.COM
3DTZOU   2/2/2021   OB   2/12/2021   WN;2234;LAX;STL;WN;4099;STL;ATL         DAVILATON             TX                     US   33558   137080779@KACHIPYTEL.COM
3EUMK5   2/2/2021   OB    2/2/2021   WN;2193;CLT;MDW                         LAKE JEFFBURY         IL                     US   94217   136230116@KACHIPYTEL.COM
3FJ49K   2/2/2021   OB    2/3/2021   WN;1888;PHX;LAS                         WEST KATHYCHESTER     IA                     US   72444   137086620@KACHIPYTEL.COM
3FXVC2   2/2/2021   OB    2/5/2021   WN;914;RSW;HOU;WN;506;HOU;CVG           NEW KATHRYN           NY                     US   29552   137087445@KACHIPYTEL.COM
3GS5RN   2/3/2021   OB    2/5/2021   WN;966;SLC;OAK;WN;966;OAK;SNA;WN;1478;S NORTH STACEYVIEW      NY                     US   66208   137089799@KACHIPYTEL.COM
3H7FCH   2/3/2021   OB    2/4/2021   WN;1454;SEA;DEN;WN;170;DEN;MDW          WEST KRISTINESTAD     OR                     US   75207   137090558@KACHIPYTEL.COM
3I8IOV   2/3/2021   OB    2/4/2021   WN;783;LAS;OAK                          ELAINEFORT            KY                     US   39589   137093297@KACHIPYTEL.COM
3IMPC8   2/3/2021   OB    2/5/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         SOUTH EMILYBURY       VT                     US   12285   137094221@KACHIPYTEL.COM
3IRBDP   2/3/2021   OB    2/7/2021   WN;4042;FLL;BWI                         PEREZBURGH            NV                     US   39751   137094430@KACHIPYTEL.COM
3IRBDP   2/3/2021   OB    2/7/2021   WN;4042;FLL;BWI                         PEREZBURGH            NV                     US   39751   137094430@KACHIPYTEL.COM
3IRBDP   2/3/2021   OB    2/7/2021   WN;4042;FLL;BWI                         PEREZBURGH            NV                     US   39751   137094430@KACHIPYTEL.COM
3IZS9F   2/3/2021   OB    2/3/2021   WN;3254;MDW;AUS;WN;2931;AUS;BNA         RANDYMOUTH            KY                     US   12017   137095035@KACHIPYTEL.COM
3J6W66   2/3/2021   OB    2/3/2021   WN;3685;LAS;PHX;WN;2722;PHX;LGB         CONLEYTOWN            WV                     US   17767   137095365@KACHIPYTEL.COM
3JVQEB   2/3/2021   OB    2/4/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY         DEANNABURGH           WA                     US   65302   137097598@KACHIPYTEL.COM
3JYQPR   2/3/2021   OB    2/4/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW          BANDAR LAMPUNG        BENGKULU               ID   95538   137097433@KACHIPYTEL.COM
3K3XX2   2/3/2021   OB    2/9/2021   WN;2208;TPA;MDW                         KATHLEENFURT          LA                     US   96418   137097851@KACHIPYTEL.COM
3K6RSN   2/3/2021   OB    2/3/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW          NICHOLSONTON          MT                     US   16321   137097939@KACHIPYTEL.COM
3K7WZQ   2/3/2021   OB    2/3/2021   WN;3262;FLL;MDW;WN;2255;MDW;BOS         TERRYFURT             AL                     US   70205   137097741@KACHIPYTEL.COM
3KXQDU   2/3/2021   OB   2/20/2021   WN;2163;LAX;HOU;WN;3452;HOU;FLL         NEW CHELSEA           NM                     US   38289   137099457@KACHIPYTEL.COM
3KY3BR   2/3/2021   OB    2/4/2021   WN;3072;MSP;DEN;WN;4693;DEN;OAK;WN;469BRADLEYBURY             KY                     US   90234   137099699@KACHIPYTEL.COM
3L5LVG   2/3/2021   OB    2/5/2021   WN;3704;LAS;STL;WN;1933;STL;MDW         LAURIELAND            MT                     US   82513   137100117@KACHIPYTEL.COM
3M65M9   2/3/2021   OB    2/5/2021   WN;4936;LAX;HOU;WN;2723;HOU;MIA         KRISTIMOUTH           NC                     US   49057   137101712@KACHIPYTEL.COM
3MIXZQ   2/3/2021   OB   2/12/2021   WN;2304;GEG;LAS;WN;1701;LAS;SNA         NORTH JASON           MN                     US   29018   137102262@KACHIPYTEL.COM
3MIXZQ   2/3/2021   OB   2/12/2021   WN;2304;GEG;LAS;WN;1701;LAS;SNA         NORTH JASON           MN                     US   29018   137102262@KACHIPYTEL.COM
3MW7TY   2/3/2021   OB    2/3/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         WEST ALLISONBERG      AK                     US   91418   137103340@KACHIPYTEL.COM
3NBRZE   2/3/2021   OB    2/4/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY         EAST BRIAN            MS                     US   87969   137104407@KACHIPYTEL.COM
3NEG9C   2/3/2021   OB    2/4/2021   WN;3587;DTW;BNA                         CHRISTOPHERCHESTER    NM                     US   56523   137104495@KACHIPYTEL.COM
3NJC9T   2/3/2021   OB    2/3/2021   WN;2753;DCA;MDW;WN;2753;MDW;OAK         PORT CHRISTOPHER      TX                     US   57911   137104660@KACHIPYTEL.COM
3NJR53   2/3/2021   OB    2/5/2021   WN;3714;LAX;BWI;WN;431;BWI;PBI          GARCIAMOUTH           VA                     US   30054   137103505@KACHIPYTEL.COM
3O9HGF   2/3/2021   OB    2/4/2021   WN;3343;STL;LAS;WN;2905;LAS;OKC         NORTH RICHARDHAVEN    MS                     US   47349   137106651@KACHIPYTEL.COM
3O9MVB   2/3/2021   OB    2/3/2021   WN;2510;MCO;BWI;WN;1923;BWI;BOS         WEST EMILYBERG        AZ                     US   35565   137106618@KACHIPYTEL.COM
3OH8HY   2/3/2021   OB    2/4/2021   WN;2863;MDW;FLL;WN;203;FLL;ISP          RICHARDMOUTH          SD                     US   21031   137107344@KACHIPYTEL.COM
3TSNUN   2/3/2021   OB   2/19/2021   WN;2664;BOS;BNA;WN;495;BNA;ORD          WEST ISABELLATON      NE                     US   85605   137129718@KACHIPYTEL.COM




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3V847E   2/3/2021   OB    2/5/2021   WN;2664;BOS;BNA;WN;2931;BNA;MDW           NEW DORIS            GA                US   88399   137135823@KACHIPYTEL.COM
3WB7A8   2/3/2021   OB    2/4/2021   WN;4022;MDW;BWI;WN;1923;BWI;BOS           NEW GLENNTON         RI                US   45514   137141763@KACHIPYTEL.COM
3WIIZW   2/3/2021   OB    2/9/2021   WN;5072;FLL;BWI;WN;3111;BWI;BOS           MADELINETON          ME                US   58710   137142390@KACHIPYTEL.COM
3WKKRF   2/3/2021   OB    2/4/2021   WN;2809;MDW;MCO;WN;4390;MCO;ISP           PORT TERESA          VT                US   20821   137142885@KACHIPYTEL.COM
3WPJ3K   2/3/2021   OB    2/9/2021   WN;2268;BNA;HOU;WN;3294;HOU;MIA           EAST RACHAEL         ROCHDALE          GB   54640   137143545@KACHIPYTEL.COM
3WREFQ   2/3/2021   OB    2/9/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS           WEST YVETTELAND      ID                US   65467   137143138@KACHIPYTEL.COM
3WREFQ   2/3/2021   OB    2/9/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS           WEST YVETTELAND      ID                US   65467   137143138@KACHIPYTEL.COM
3WRKIT   2/3/2021   OB    2/7/2021   WN;2618;HOU;BNA;WN;1271;BNA;ATL           EAST JERRYHAVEN      HULWAN            EG   51326   137143545@KACHIPYTEL.COM
3WVVYS   2/3/2021   OB   2/12/2021   WN;5032;TPA;HOU                           NEW KENNETH          RI                US   34442   137144370@KACHIPYTEL.COM
3WX2HU   2/3/2021   OB   2/22/2021   WN;2793;DAL;STL;WN;3422;STL;LGA           MEDINABERG           UT                US   34335   137144062@KACHIPYTEL.COM
3X2LQE   2/3/2021   OB    2/9/2021   WN;3936;MCI;PHX;WN;4423;PHX;DEN           JENNINGSMOUTH        WY                US   46318   137144953@KACHIPYTEL.COM
3X2LQE   2/3/2021   OB    2/9/2021   WN;3936;MCI;PHX;WN;4423;PHX;DEN           JENNINGSMOUTH        WY                US   46318   137144953@KACHIPYTEL.COM
3X2LQE   2/3/2021   OB    2/9/2021   WN;3936;MCI;PHX;WN;4423;PHX;DEN           JENNINGSMOUTH        WY                US   46318   137144953@KACHIPYTEL.COM
3X2LQE   2/3/2021   OB    2/9/2021   WN;3936;MCI;PHX;WN;4423;PHX;DEN           JENNINGSMOUTH        WY                US   46318   137144953@KACHIPYTEL.COM
3XCMZJ   2/3/2021   OB   2/19/2021   WN;455;DCA;ATL;WN;4547;ATL;GSP            TAYLORHAVEN          UT                US   30239   137145646@KACHIPYTEL.COM
3XP38G   2/3/2021   OB   2/17/2021   WN;4936;LAX;HOU;WN;2723;HOU;MIA           DAVIDBOROUGH         FL                US   84320   137147978@KACHIPYTEL.COM
3XSLNA   2/3/2021   OB    2/9/2021   WN;907;MBJ;BWI;WN;3984;BWI;FLL            NORTH KARENBOROUGH   LA                US   22884   137148264@KACHIPYTEL.COM
3ZAS7H   2/3/2021   OB    2/6/2021   WN;3820;LAX;BWI;WN;2181;BWI;DTW           MCGUIREVIEW          CT                US   81222   137155700@KACHIPYTEL.COM
3ZWPCL   2/3/2021   OB    2/6/2021   WN;4672;DCA;FLL;WN;1958;FLL;SJU           HENRYVIEW            RI                US   41806   137158978@KACHIPYTEL.COM
42BK7U   2/3/2021   OB    2/7/2021   WN;1462;PHX;SJC;WN;3074;SJC;SNA           NEW STACY            NM                US   61243   137159979@KACHIPYTEL.COM
42EPZ3   2/3/2021   OB    2/5/2021   WN;1515;DTW;MDW;WN;4629;MDW;BWI           PORT ANITASTAD       KS                US   56177   137161211@KACHIPYTEL.COM
42SZ3U   2/3/2021   OB    2/9/2021   WN;3223;LAS;MDW;WN;4115;MDW;STL           PITEA                NORRBOTTENS LAN   SE   11943   137162993@KACHIPYTEL.COM
42ZHJQ   2/3/2021   OB    2/6/2021   WN;2881;MDW;DAL                           NEW DEANNA           MS                US   38082   137164049@KACHIPYTEL.COM
432TR8   2/3/2021   OB    2/8/2021   WN;2611;DAL;MDW;WN;2576;MDW;DTW           SOUTH SHELLY         CO                US   20756   137164049@KACHIPYTEL.COM
45I6HB   2/4/2021   OB    2/4/2021   WN;1265;LAX;PHX;WN;1478;PHX;LAS           LINDABURGH           WY                US   11632   137170473@KACHIPYTEL.COM
45PK7T   2/4/2021   OB    2/4/2021   WN;2537;PHX;DEN;WN;2310;DEN;SEA           NEW PATRICK          AR                US   18333   137171001@KACHIPYTEL.COM
45SL63   2/4/2021   OB    2/4/2021   WN;360;ATL;BWI                            SOUTH LEE            NV                US   75394   137171419@KACHIPYTEL.COM
46AIXW   2/4/2021   OB   2/21/2021   WN;412;DAL;BWI;WN;331;BWI;MIA             JEREMIAHBURGH        NY                US   42825   137172431@KACHIPYTEL.COM
46HARA   2/4/2021   OB   2/10/2021   WN;766;DAL;SNA;WN;766;SNA;SJC;WN;2408;SJCPAAVNKR               LAKSHADWEEP       IN   69797   137173091@KACHIPYTEL.COM
46QQJJ   2/4/2021   OB    2/4/2021   WN;4315;SEA;DEN;WN;3532;DEN;TUS           WENDYPORT            NE                US   66814   137173399@KACHIPYTEL.COM
46RBXJ   2/4/2021   OB   2/11/2021   WN;4838;SEA;SMF                           MITCHELLMOUTH        NV                US   40962   137173652@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/14/2021   WN;2664;BOS;BNA                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/16/2021   WN;1319;BNA;ORD                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/14/2021   WN;2664;BOS;BNA                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/16/2021   WN;1319;BNA;ORD                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/14/2021   WN;2664;BOS;BNA                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/16/2021   WN;1319;BNA;ORD                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/14/2021   WN;2664;BOS;BNA                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47KICL   2/4/2021   OB   2/16/2021   WN;1319;BNA;ORD                           LAKE SAMUEL          MT                US   39948   137175291@KACHIPYTEL.COM
47OOTK   2/4/2021   OB    2/8/2021   WN;2294;PHX;SAN;WN;1385;SAN;OAK           GIBBSFORT            NV                US   91831   137175610@KACHIPYTEL.COM
4874BH   2/4/2021   OB   2/11/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF            JULIEFORT            SC                US   13064   137176886@KACHIPYTEL.COM
488BSL   2/4/2021   OB   2/15/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA            PORT LEONARDSIDE     OK                US   83184   137176886@KACHIPYTEL.COM
48JC3F   2/4/2021   OB    2/8/2021   WN;4743;ATL;AUS;WN;800;AUS;DAL            PEREZLAND            IN                US   63220   137177590@KACHIPYTEL.COM
48JR8T   2/4/2021   OB    2/4/2021   WN;3134;DTW;BWI;WN;2510;BWI;BOS           LAKE ERICA           NV                US   45775   137177733@KACHIPYTEL.COM
48MWBH   2/4/2021   OB    2/6/2021   WN;6004;LGA;TPA;WN;4050;TPA;MIA           PORT SCOTT           TX                US   39799   137178239@KACHIPYTEL.COM
48O3YF   2/4/2021   OB    2/6/2021   WN;798;SMF;MDW                            NEW TAMMYVIEW        AK                US   18406   137178052@KACHIPYTEL.COM
48SPF9   2/4/2021   OB    2/6/2021   WN;4458;PIT;LAS;WN;2997;LAS;SLC           NEW TONYASTAD        IL                US   59923   137178778@KACHIPYTEL.COM
48SPF9   2/4/2021   OB    2/6/2021   WN;4458;PIT;LAS;WN;2997;LAS;SLC           NEW TONYASTAD        IL                US   59923   137178778@KACHIPYTEL.COM
49HIF5   2/4/2021   OB    2/6/2021   WN;3820;SFO;LAX;WN;3820;LAX;BWI;WN;2475 LAKE KEVINTOWN         FL                US   40140   137179812@KACHIPYTEL.COM
49ODQ3   2/4/2021   OB    2/9/2021   WN;2208;TPA;MDW;WN;2255;MDW;BOS           MICHAELBERG          MD                US   81843   137180659@KACHIPYTEL.COM
4AMHR8   2/4/2021   OB    2/5/2021   WN;2603;MKE;TPA;WN;4143;TPA;MIA           LAKE DAISYTOWN       UT                US   86771   137182430@KACHIPYTEL.COM
4AMHR8   2/4/2021   OB    2/5/2021   WN;2603;MKE;TPA;WN;4143;TPA;MIA           LAKE DAISYTOWN       UT                US   86771   137182430@KACHIPYTEL.COM
4ASTY7   2/4/2021   OB    2/4/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX           PORT DAVIDLAND       NV                US   94897   137183046@KACHIPYTEL.COM
4AZSZ9   2/4/2021   OB    2/8/2021   WN;1588;MDW;BWI;WN;3984;BWI;FLL           LAKE WILLIAM         GA                US   76354   137183475@KACHIPYTEL.COM
4B4FAC   2/4/2021   OB   2/14/2021   WN;3714;LAX;BWI                           JOHNSIDE             CT                US   40241   137183552@KACHIPYTEL.COM
4C38Y8   2/4/2021   OB    2/4/2021   WN;2246;FLL;ATL;WN;2246;ATL;STL;WN;4470;S SILVABURY            SC                US   76711   137185455@KACHIPYTEL.COM
4C38Y8   2/4/2021   OB    2/4/2021   WN;2246;FLL;ATL;WN;2246;ATL;STL;WN;4470;S SILVABURY            SC                US   76711   137185455@KACHIPYTEL.COM
4DR2DV   2/4/2021   OB    2/4/2021   WN;1900;SEA;SMF                           WEST LINDSAY         GA                US   86040   137190867@KACHIPYTEL.COM
4EGW4F   2/4/2021   OB    2/4/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY           ANDREATOWN           NE                US   59689   137193144@KACHIPYTEL.COM
4EGW4F   2/4/2021   OB    2/4/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY           ANDREATOWN           NE                US   59689   137193144@KACHIPYTEL.COM
4EGW4F   2/4/2021   OB    2/4/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY           ANDREATOWN           NE                US   59689   137193144@KACHIPYTEL.COM
4EXSLB   2/4/2021   OB    2/4/2021   WN;5342;LAS;DAL;WN;2626;DAL;STL           REGINACHESTER        GA                US   61742   137195674@KACHIPYTEL.COM
4FB9EX   2/4/2021   OB    2/4/2021   WN;1265;LAX;PHX;WN;1478;PHX;LAS           HERNANDEZSTAD        IA                US   66221   137196928@KACHIPYTEL.COM
4FB9EX   2/4/2021   OB    2/4/2021   WN;1265;LAX;PHX;WN;1478;PHX;LAS           HERNANDEZSTAD        IA                US   66221   137196928@KACHIPYTEL.COM
4FB9EX   2/4/2021   OB    2/4/2021   WN;1265;LAX;PHX;WN;1478;PHX;LAS           HERNANDEZSTAD        IA                US   66221   137196928@KACHIPYTEL.COM
4GO9DY   2/4/2021   OB    2/4/2021   WN;4702;PIT;TPA                           LAKE ANDREA          UT                US   91750   136771976@KACHIPYTEL.COM
4H6RCI   2/4/2021   OB    2/5/2021   WN;3422;LGA;DEN;WN;2587;DEN;RNO           MELISSABERG          FL                US   31938   137204309@KACHIPYTEL.COM
4IDHMW   2/4/2021   OB    2/4/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL           NORTH SHANNON        UT                US   77719   137209688@KACHIPYTEL.COM
4IILMX   2/4/2021   OB    2/4/2021   WN;2073;LAS;LGB;WN;4065;LGB;OAK           ALEXBURY             AR                US   18814   137210843@KACHIPYTEL.COM
4IIRU6   2/4/2021   OB   2/25/2021   WN;2838;MCO;STL;WN;534;STL;CLT            WEST ERINBURY        DE                US   22279   137211272@KACHIPYTEL.COM
4INJB9   2/4/2021   OB   2/24/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL           NEW REBECCA          OK                US   85526   137211272@KACHIPYTEL.COM
4KA5DU   2/4/2021   OB    2/5/2021   WN;4015;MCO;STL;WN;2208;STL;LAX           NANCYPORT            AL                US   64295   137219357@KACHIPYTEL.COM
4KC4VS   2/4/2021   OB   2/12/2021   WN;1927;PBI;BWI;WN;2570;BWI;MHT           PORT COLTON          SC                US   59604   137219918@KACHIPYTEL.COM
4KGDO3   2/4/2021   OB   2/15/2021   WN;4499;PBI;BWI                           WEST DENNIS          KS                US    5458   137219852@KACHIPYTEL.COM
4KHSLX   2/4/2021   OB    2/5/2021   WN;2313;BWI;HOU                           PORT ALICESHIRE      BUCKINGHAMSHIRE   GB   48345   137220006@KACHIPYTEL.COM
4KRU74   2/4/2021   OB    2/5/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA           NORTH NEIL           NJ                US   96593   137221733@KACHIPYTEL.COM
4KVAKC   2/4/2021   OB    2/6/2021   WN;3126;LAX;BNA;WN;3434;BNA;MCO           GLENNVIEW            NM                US   54185   137221931@KACHIPYTEL.COM
4KW3VI   2/4/2021   OB    2/5/2021   WN;4727;FLL;TPA;WN;771;TPA;MKE            JENNIFERHAVEN        ME                US   42242   137222096@KACHIPYTEL.COM
4KWFSM   2/4/2021   OB    2/7/2021   WN;2003;ATL;BWI                           SNELLVILLE           GA                US   30039   137222459@KACHIPYTEL.COM
4KWFSM   2/4/2021   OB    2/7/2021   WN;2003;ATL;BWI                           VAZQUEZPORT          AK                US   93434   137222459@KACHIPYTEL.COM
4L2LMI   2/4/2021   OB   2/19/2021   WN;2234;LAX;STL;WN;4818;STL;DCA           PORT CRYSTALBERG     VA                US   52304   137223196@KACHIPYTEL.COM
4L5H22   2/4/2021   OB    2/6/2021   WN;4662;ATL;AUS                           RIVERABOROUGH        TX                US   11797   137223878@KACHIPYTEL.COM
4LJBYG   2/4/2021   OB    2/7/2021   WN;4775;SAN;BWI                           TAYLORTON            RI                US   70828   137225121@KACHIPYTEL.COM
4LKUNV   2/4/2021   OB    2/5/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO           SOUTH ADAM           OK                US   36362   137225627@KACHIPYTEL.COM
4LN7MV   2/4/2021   OB    2/5/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY           WEST KAYLAFURT       GA                US   95783   137225748@KACHIPYTEL.COM
4LNGTT   2/4/2021   OB    2/5/2021   WN;2516;BWI;HOU;WN;2623;HOU;ABQ           SMITHVILLE           NC                US   62889   137225572@KACHIPYTEL.COM
4LQAA9   2/4/2021   OB    2/6/2021   WN;6055;DCA;TPA;WN;4020;TPA;SDF           LAKE GARYMOUTH       OH                US   13755   137226166@KACHIPYTEL.COM
4LQPDU   2/4/2021   OB    2/5/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY           SOUTH SARAHFORT      CO                US   92899   137225792@KACHIPYTEL.COM
4M2DPM   2/4/2021   OB   2/22/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS           CHRISTENSENSTAD      WI                US   70917   137226870@KACHIPYTEL.COM
4M3I9D   2/4/2021   OB   2/14/2021   WN;2664;BOS;BNA                           PAULLAND             KS                US   66133   137227112@KACHIPYTEL.COM
4M3I9D   2/4/2021   OB   2/16/2021   WN;1319;BNA;ORD                           PAULLAND             KS                US   66133   137227112@KACHIPYTEL.COM
4M6XUU   2/4/2021   OB    2/8/2021   WN;360;ATL;BWI                            PAULLAND             NH                US   66133   137227937@KACHIPYTEL.COM
4M956H   2/4/2021   OB    2/7/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB            NEW SARAH            MD                US   80177   137228674@KACHIPYTEL.COM
4MDLTW   2/4/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW           SOUTH KAYLAPORT      NE                US    1953   137229466@KACHIPYTEL.COM
4MDLTW   2/4/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW           SOUTH KAYLAPORT      NE                US    1953   137229466@KACHIPYTEL.COM
4ME83U   2/4/2021   OB    2/8/2021   WN;3787;LGA;BNA;WN;3203;BNA;FLL           BUTLERHAVEN          WA                US   22740   137229158@KACHIPYTEL.COM
4MF6M6   2/4/2021   OB    2/7/2021   WN;2220;MDW;BNA;WN;1966;BNA;ATL           ROTHMOUTH            IA                US   76906   137227101@KACHIPYTEL.COM
4MFMBR   2/4/2021   OB   2/28/2021   WN;4562;HOU;BNA                           NELSONBURY           KY                US   15339   137229466@KACHIPYTEL.COM
4MFMBR   2/4/2021   OB   2/28/2021   WN;4562;HOU;BNA                           NELSONBURY           KY                US   15339   137229466@KACHIPYTEL.COM
4N6I23   2/4/2021   OB    2/5/2021   WN;105;SNA;DEN;WN;1303;DEN;OAK;WN;1303 NORRISBURY              MN                US   73864   137233371@KACHIPYTEL.COM
4NH7ND   2/4/2021   OB    2/5/2021   WN;1385;SAN;OAK;WN;4801;OAK;PHX           BLACKVILLE           NH                US   86879   137234449@KACHIPYTEL.COM
4O2LKK   2/4/2021   OB   2/14/2021   WN;2044;DCA;MDW;WN;2253;MDW;MCO           RILEYCHESTER         GA                US   52620   137236583@KACHIPYTEL.COM
4O8BKQ   2/4/2021   OB    2/6/2021   WN;5237;BNA;LAS;WN;4168;LAS;TUS           SARAHTOWN            MT                US   13203   137237177@KACHIPYTEL.COM
4O8BKQ   2/4/2021   OB    2/6/2021   WN;5237;BNA;LAS;WN;4168;LAS;TUS           SARAHTOWN            MT                US   13203   137237177@KACHIPYTEL.COM
4OOFS8   2/4/2021   OB    2/5/2021   WN;535;CVG;DEN;WN;2606;DEN;PHX            SANDYTOWN            NJ                US    7998   137239696@KACHIPYTEL.COM




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4OQ3LH   2/4/2021   OB    2/5/2021   WN;4955;LAS;SJC;WN;2877;SJC;LAX         WEST BENJAMIN         MA                US    4760   137239641@KACHIPYTEL.COM
4OZEE5   2/4/2021   OB    2/5/2021   WN;6110;DCA;TPA;WN;2434;TPA;ATL;WN;2434 SOUTH MICHAELMOUTH    UT                US   35123   137240851@KACHIPYTEL.COM
4P3LAH   2/4/2021   OB    2/7/2021   WN;715;ATL;BWI;WN;102;BWI;MIA           WEST JOSEPHFURT       KS                US   84196   137241049@KACHIPYTEL.COM
4PJCR4   2/4/2021   OB   2/25/2021   WN;2740;AUS;PHX;WN;425;PHX;LGB          VAARNNAACI            UTTAR PRADESH     IN   11867   137242930@KACHIPYTEL.COM
4PP3WJ   2/4/2021   OB   2/10/2021   WN;1852;HOU;PHX;WN;2994;PHX;OKC         LAKE JUAN             MN                US   19004   137243733@KACHIPYTEL.COM
4PQEFT   2/4/2021   OB    2/5/2021   WN;2395;PHX;HOU;WN;3459;HOU;TUL         SOUTH TROYTOWN        NY                US   70486   137243733@KACHIPYTEL.COM
4PQZA4   2/4/2021   OB    2/8/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL         ROGERSPORT            AZ                US   39154   137243304@KACHIPYTEL.COM
4PSPPF   2/4/2021   OB    2/5/2021   WN;4941;PDX;LAS;WN;2402;LAS;TUS         JOHNSONLAND           HI                US   52920   137244217@KACHIPYTEL.COM
4Q57VL   2/4/2021   OB    2/8/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA          MATTHEWSFORT          VT                US   33103   137245009@KACHIPYTEL.COM
4Q57VL   2/4/2021   OB    2/8/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA          MATTHEWSFORT          VT                US   33103   137245009@KACHIPYTEL.COM
4Q6UK7   2/4/2021   OB    2/8/2021   WN;2246;ATL;STL;WN;1933;STL;MDW         NEW SHAWNBERG         NH                US   10096   137244899@KACHIPYTEL.COM
4QFEE3   2/4/2021   OB    2/5/2021   WN;2755;BWI;LAS;WN;397;LAS;PHX          WEST MELISSABERG      KY                US   10519   137246142@KACHIPYTEL.COM
4QNEO5   2/4/2021   OB    2/6/2021   WN;1400;PHL;FLL;WN;1958;FLL;SJU         WENDYMOUTH            AL                US   67481   137246846@KACHIPYTEL.COM
4QNEO5   2/4/2021   OB    2/6/2021   WN;1400;PHL;FLL;WN;1958;FLL;SJU         WENDYMOUTH            AL                US   67481   137246846@KACHIPYTEL.COM
4RAZRY   2/4/2021   OB    2/5/2021   WN;2537;PHX;DEN;WN;2310;DEN;SEA         NEW MARYLAND          SC                US   63536   137249222@KACHIPYTEL.COM
4RKFW6   2/4/2021   OB    2/8/2021   WN;6004;LGA;TPA;WN;2288;TPA;MIA         TODDLAND              WY                US   90928   137249684@KACHIPYTEL.COM
4RU6XF   2/4/2021   OB   2/10/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS         NEW DANIELBURGH       NH                US   58342   137250256@KACHIPYTEL.COM
4RU6XF   2/4/2021   OB   2/10/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS         NEW DANIELBURGH       NH                US   58342   137250256@KACHIPYTEL.COM
4S9MIM   2/4/2021   OB    2/8/2021   WN;1990;ATL;BWI                         THOMASCHESTER         NH                US   63269   137251202@KACHIPYTEL.COM
4S9MIM   2/4/2021   OB    2/8/2021   WN;1990;ATL;BWI                         THOMASCHESTER         NH                US   63269   137251202@KACHIPYTEL.COM
228YAZ   2/5/2021   OB    2/5/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         EAST DEBORAHBOROUGH   IA                US   23460   137269374@KACHIPYTEL.COM
22GB53   2/5/2021   OB   2/13/2021   WN;2741;ATL;BWI                         WALLACETOWN           POSAVSKI KANTON   BA   74362   137270100@KACHIPYTEL.COM
22GB53   2/5/2021   OB   2/15/2021   WN;3160;BWI;MCO                         WALLACETOWN           POSAVSKI KANTON   BA   74362   137270100@KACHIPYTEL.COM
237ORN   2/5/2021   OB    2/5/2021   WN;2234;LAX;STL;WN;1325;STL;MCO         LAKE KELLY            CT                US    4308   137272718@KACHIPYTEL.COM
23YXVM   2/5/2021   OB   2/13/2021   WN;4234;CLT;MDW;WN;2747;MDW;PHL         WEST JENNIFER         NE                US   83408   137275303@KACHIPYTEL.COM
24SMUP   2/5/2021   OB    2/5/2021   WN;3948;ATL;FLL;WN;2576;FLL;MDW;WN;2576 SOUTH ROSE            LA                US    5761   137278064@KACHIPYTEL.COM
25YOAE   2/5/2021   OB   2/19/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         WEST JESSICATOWN      WY                US   89884   137283190@KACHIPYTEL.COM
279K66   2/5/2021   OB   2/20/2021   WN;3727;PHL;DEN;WN;3974;DEN;LAX         EAST KIMBERLY         AL                US   45580   137287865@KACHIPYTEL.COM
27FS65   2/5/2021   OB    2/5/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         WEST DANIELLEMOUTH    SD                US   28277   137288624@KACHIPYTEL.COM
27JWBQ   2/5/2021   OB   2/19/2021   WN;4149;PHL;BNA;WN;3304;BNA;SRQ         NORTH JESSICAMOUTH    MT                US   53983   137288899@KACHIPYTEL.COM
27KLUV   2/5/2021   OB   2/22/2021   WN;4551;PHL;BNA;WN;3235;BNA;SRQ         DICKERSONSTAD         ME                US   67403   137288987@KACHIPYTEL.COM
27PSCS   2/5/2021   OB    2/5/2021   WN;1059;BWI;DEN                         NEW ROBERTHAVEN       OH                US   66345   137289581@KACHIPYTEL.COM
27PZI8   2/5/2021   OB    2/7/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         EAST ROBERTTON        NH                US   18255   137290087@KACHIPYTEL.COM
27QOL3   2/5/2021   OB    2/5/2021   WN;2746;RDU;ATL;WN;5008;ATL;RSW         LEESHIRE              ME                US   86576   137290230@KACHIPYTEL.COM
282Y6L   2/5/2021   OB   2/14/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         NELSONSIDE            CA                US   95693   137291088@KACHIPYTEL.COM
28HCO2   2/5/2021   OB    2/6/2021   WN;1420;BWI;LAX;WN;1149;LAX;SMF         SOUTH DONFURT         CA                US   79794   137293508@KACHIPYTEL.COM
28L2SI   2/5/2021   OB    2/5/2021   WN;3940;ABQ;DEN;WN;2479;DEN;BWI         BROWNINGVILLE         FL                US   25577   137293563@KACHIPYTEL.COM
28Q9X7   2/5/2021   OB    2/5/2021   WN;3532;OMA;DEN;WN;4517;DEN;PDX         ALLISONBERG           ID                US   79000   137294388@KACHIPYTEL.COM
2972H8   2/5/2021   OB    2/5/2021   WN;2761;JAX;BWI;WN;3111;BWI;BOS         CRYSTALCHESTER        HI                US   63089   137295928@KACHIPYTEL.COM
29B8HK   2/5/2021   OB    2/5/2021   WN;360;ATL;BWI                          NEW KENNETH           WI                US   27162   137295917@KACHIPYTEL.COM
29BBWK   2/5/2021   OB    2/8/2021   WN;715;ATL;BWI                          NICHOLASMOUTH         FL                US   16066   137296060@KACHIPYTEL.COM
29N2HN   2/5/2021   OB    2/5/2021   WN;953;BWI;ATL                          JAMESBERG             IA                US   56542   137065555@KACHIPYTEL.COM
29QXGL   2/5/2021   OB    2/7/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS         LEEFURT               NH                US   91149   137297831@KACHIPYTEL.COM
29W8D2   2/5/2021   OB    2/6/2021   WN;2686;PHX;MCO                         NETOLICE              SUMPERK           CZ   31810   137298623@KACHIPYTEL.COM
2A99WT   2/5/2021   OB   2/10/2021   WN;2785;TPA;DEN;WN;2728;DEN;MSY         SOUTH TINATON         MI                US   10398   137300207@KACHIPYTEL.COM
2AMDAF   2/5/2021   OB    2/6/2021   WN;1210;PHX;SMF;WN;4415;SMF;DAL;WN;441 MAXWELLMOUTH           ME                US   60981   137301527@KACHIPYTEL.COM
2AQHIC   2/5/2021   OB   2/18/2021   WN;4522;PDX;MDW;WN;3167;MDW;MSP         LISABURGH             CO                US   18219   137302748@KACHIPYTEL.COM
2AS75Z   2/5/2021   OB    2/5/2021   WN;41;DAL;HOU;WN;1597;HOU;HRL           NUEVA BENIN           ZACATECAS         MX   83561   137302396@KACHIPYTEL.COM
2AYLT5   2/5/2021   OB    2/5/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         LAKE MATTHEWFORT      LA                US   36887   137304310@KACHIPYTEL.COM
2AYLT5   2/5/2021   OB    2/5/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         LAKE MATTHEWFORT      LA                US   36887   137304310@KACHIPYTEL.COM
2AYLT5   2/5/2021   OB    2/5/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         LAKE MATTHEWFORT      LA                US   36887   137304310@KACHIPYTEL.COM
2B2AHO   2/5/2021   OB    2/9/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL         EAST JOHN             MN                US   48134   137303958@KACHIPYTEL.COM
2B2ZG5   2/5/2021   OB    2/5/2021   WN;2208;MDW;STL;WN;2246;STL;BNA         EAST JOSEPH           MO                US   49821   136211757@KACHIPYTEL.COM
2BEP99   2/5/2021   OB   2/10/2021   WN;4149;PHL;BNA                         EDWARDSIDE            OH                US   82291   137305718@KACHIPYTEL.COM
2BM6LP   2/5/2021   OB    2/6/2021   WN;3329;DTW;MCO;WN;5041;MCO;ATL         NEW MELVINTON         MA                US   15916   137306708@KACHIPYTEL.COM
2BMLZM   2/5/2021   OB   2/16/2021   WN;4858;LAS;TPA;WN;4279;TPA;MIA         ALEXISVIEW            NJ                US   22794   137307258@KACHIPYTEL.COM
2BNHA2   2/5/2021   OB    2/8/2021   WN;2157;BDL;MCO;WN;2438;MCO;FLL         NORTH DALTON          CT                US   35152   137306576@KACHIPYTEL.COM
2BQFW3   2/5/2021   OB   2/20/2021   WN;946;TPA;LAS;WN;2024;LAS;LIT          NORTH MARYSIDE        WA                US   12187   137307258@KACHIPYTEL.COM
2C87NP   2/5/2021   OB    2/6/2021   WN;1420;BWI;LAX                         JACOBSTON             CO                US   81126   137309293@KACHIPYTEL.COM
2CCUWF   2/5/2021   OB    3/1/2021   WN;1909;DCA;BNA;WN;2438;BNA;MCO         CASEYSTAD             VT                US   46641   137310063@KACHIPYTEL.COM
2CL5N4   2/5/2021   OB    2/9/2021   WN;2995;DAL;BWI;WN;3933;BWI;DTW         PRICEVILLE            NM                US   32428   137311262@KACHIPYTEL.COM
2CNA3K   2/5/2021   OB    2/7/2021   WN;2604;BWI;DAL;WN;2351;DAL;ABQ         WEST JASONLAND        OR                US   17157   137311262@KACHIPYTEL.COM
2D3UDF   2/5/2021   OB    2/6/2021   WN;3664;LAS;STL;WN;5118;STL;FLL         SIMMONSLAND           AK                US   77561   137313176@KACHIPYTEL.COM
2DBCY9   2/5/2021   OB   2/16/2021   WN;2705;AUS;PHX;WN;3972;PHX;LAX         STEVENBERG            WI                US   66865   137314309@KACHIPYTEL.COM
2DS8BY   2/5/2021   OB    2/6/2021   WN;4427;MIA;TPA;WN;3814;TPA;MKE         NORTH DANIELBURY      IL                US    4487   137316476@KACHIPYTEL.COM
2DYPO5   2/5/2021   OB    2/6/2021   WN;1400;PHL;FLL;WN;1958;FLL;SJU         ZHANGHAVEN            MT                US   86688   137318049@KACHIPYTEL.COM
2DZPDZ   2/5/2021   OB   2/14/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA          MELANIELAND           NE                US   63425   137318159@KACHIPYTEL.COM
2E3L84   2/5/2021   OB    2/8/2021   WN;2744;ATL;RDU;WN;6113;RDU;TPA         JIMENEZMOUTH          HI                US   84608   137318104@KACHIPYTEL.COM
2EG7UF   2/5/2021   OB    4/1/2021   WN;252;AUS;TPA;WN;2120;TPA;STL          NEW KAREN             TN                US   27822   137319303@KACHIPYTEL.COM
2EH7V4   2/5/2021   OB    2/6/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW         PORT KIMBERLYBURGH    UT                US   79674   137319182@KACHIPYTEL.COM
2EJJ3Q   2/5/2021   OB    4/4/2021   WN;1431;TPA;AUS;WN;2097;AUS;DAL         FRAZIERFORT           SC                US   22110   137319303@KACHIPYTEL.COM
2EODZY   2/5/2021   OB   2/20/2021   WN;3560;BOS;BWI;WN;1979;BWI;FLL         SOUTH KENNETH         RI                US   45806   137319853@KACHIPYTEL.COM
2EON84   2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS          JEYPPUUR              ANDHRA PRADESH    IN   43844   137319974@KACHIPYTEL.COM
2EON84   2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS          JEYPPUUR              ANDHRA PRADESH    IN   43844   137319974@KACHIPYTEL.COM
2EON84   2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS          JEYPPUUR              ANDHRA PRADESH    IN   43844   137319974@KACHIPYTEL.COM
2EON84   2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS          JEYPPUUR              ANDHRA PRADESH    IN   43844   137319974@KACHIPYTEL.COM
2EON84   2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS          JEYPPUUR              ANDHRA PRADESH    IN   43844   137319974@KACHIPYTEL.COM
2EOVRY   2/5/2021   OB    2/6/2021   WN;1559;ALB;MCO;WN;3973;MCO;ORF         CRUZSHIRE             NC                US   10118   137319809@KACHIPYTEL.COM
2ESLAP   2/5/2021   OB    2/7/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         SOUTH JOHN            MT                US   86658   137320601@KACHIPYTEL.COM
2EXPW8   2/5/2021   OB    2/9/2021   WN;4124;MDW;SMF;WN;3271;SMF;PHX         NORTH DAVID           WI                US   45500   137320964@KACHIPYTEL.COM
2EYUEV   2/5/2021   OB    2/6/2021   WN;2907;MSY;DAL;WN;2902;DAL;LAX         HARRISMOUTH           GA                US   79143   137321184@KACHIPYTEL.COM
2EYUEV   2/5/2021   OB    2/6/2021   WN;2907;MSY;DAL;WN;2902;DAL;LAX         HARRISMOUTH           GA                US   79143   137321184@KACHIPYTEL.COM
2F49TY   2/5/2021   OB    2/6/2021   WN;3329;DTW;MCO;WN;5041;MCO;ATL         KATELYNFURT           PA                US   73004   137320931@KACHIPYTEL.COM
2F4PW3   2/5/2021   OB   4/25/2021   WN;1719;LGB;SMF;WN;2101;SMF;LAS         EAST BROOKEVILLE      AL                US   23443   137320997@KACHIPYTEL.COM
2FGL29   2/5/2021   OB    2/7/2021   WN;4385;SEA;OAK;WN;1151;OAK;PHX         LAKE DAWNFURT         NC                US    3584   137322317@KACHIPYTEL.COM
2FGL29   2/5/2021   OB    2/7/2021   WN;4385;SEA;OAK;WN;1151;OAK;PHX         LAKE DAWNFURT         NC                US    3584   137322317@KACHIPYTEL.COM
2FGL29   2/5/2021   OB    2/7/2021   WN;4385;SEA;OAK;WN;1151;OAK;PHX         LAKE DAWNFURT         NC                US    3584   137322317@KACHIPYTEL.COM
2FGL29   2/5/2021   OB    2/7/2021   WN;4385;SEA;OAK;WN;1151;OAK;PHX         LAKE DAWNFURT         NC                US    3584   137322317@KACHIPYTEL.COM
2FRAQ4   2/5/2021   OB    2/6/2021   WN;4453;TPA;PHX;WN;6268;PHX;MSP         NEW EVAN              MS                US   39884   137323780@KACHIPYTEL.COM
2FTCA8   2/5/2021   OB   2/17/2021   WN;4022;MDW;BWI;WN;4727;BWI;FLL         SOUTH PATRICIATOWN    SC                US   43324   137323472@KACHIPYTEL.COM
2FU3GB   2/5/2021   OB    2/6/2021   WN;4427;MIA;TPA;WN;3814;TPA;MKE         JOSEPHTON             LA                US     722   137323857@KACHIPYTEL.COM
2GNZVK   2/5/2021   OB    2/7/2021   WN;867;MDW;LAS                          OLSONSTAD             MA                US   66979   137325815@KACHIPYTEL.COM
2GQ4X5   2/5/2021   OB    2/8/2021   WN;1990;ATL;BWI                         WILSONVIEW            ID                US   47189   137326013@KACHIPYTEL.COM
2GQ4X5   2/5/2021   OB    2/8/2021   WN;4743;ATL;AUS;WN;4743;AUS;BWI         WILSONVIEW            ID                US   47189   137326013@KACHIPYTEL.COM
4S7FY9   2/5/2021   OB    2/7/2021   WN;3601;PIT;BWI;WN;102;BWI;MIA          WEST EMILY            MN                US   47758   137251246@KACHIPYTEL.COM
4SADUQ   2/5/2021   OB    2/6/2021   WN;4738;ATL;DEN;WN;4738;DEN;SMF;WN;3099WEST DEBORAH           NM                US   53865   137251565@KACHIPYTEL.COM
4SDEIR   2/5/2021   OB    2/5/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         SARAHBURY             IA                US     711   137251994@KACHIPYTEL.COM
4SQ6OB   2/5/2021   OB    2/6/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO          NEW MICHAELPORT       NY                US   25314   137252654@KACHIPYTEL.COM
4TD99V   2/5/2021   OB    2/5/2021   WN;5072;FLL;BWI                         PAULTON               SC                US   51556   137253996@KACHIPYTEL.COM
4TD99V   2/5/2021   OB    2/5/2021   WN;5072;FLL;BWI                         SAUGERTIES            NY                US   12477   137253996@KACHIPYTEL.COM
4TOFXR   2/5/2021   OB   2/13/2021   WN;4391;TPA;BNA;WN;2833;BNA;ATL         GUILLETDAN            ILLEETVILAINE     FR   66920   137252566@KACHIPYTEL.COM
4TOG4H   2/5/2021   OB    2/5/2021   WN;2855;PDX;LAS                         GOULDSHIRE            GA                US   73285   137255063@KACHIPYTEL.COM
4TT8TU   2/5/2021   OB   2/23/2021   WN;2770;CMH;MCO;WN;2068;MCO;BWI         KIMFURT               TN                US   38899   137255448@KACHIPYTEL.COM
4U955B   2/5/2021   OB    2/7/2021   WN;3920;LAX;MDW;WN;845;MDW;AUS          WEST MATTHEW          NC                US   87884   137256042@KACHIPYTEL.COM
4UOKOA   2/5/2021   OB    2/5/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB         EAST RUSSELLHAVEN     NE                US   73188   137257208@KACHIPYTEL.COM




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4UOKOA   2/5/2021   OB    2/5/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB         EAST RUSSELLHAVEN      NE                  US   73188   137257208@KACHIPYTEL.COM
4UOKOA   2/5/2021   OB    2/5/2021   WN;5084;LAS;OAK;WN;4166;OAK;LGB         EAST RUSSELLHAVEN      NE                  US   73188   137257208@KACHIPYTEL.COM
4VRI7J   2/5/2021   OB    2/6/2021   WN;2632;PHX;STL;WN;3314;STL;TUL         LISASTAD               RI                  US    1258   137259683@KACHIPYTEL.COM
4VU2DZ   2/5/2021   OB    2/5/2021   WN;2516;MCO;DEN;WN;4517;DEN;PDX         KNIGHTMOUTH            MD                  US   92837   137259617@KACHIPYTEL.COM
4VVN2S   2/5/2021   OB    2/5/2021   WN;3075;MIA;BWI;WN;4830;BWI;ALB         VALENTINETOWN          WI                  US   61976   137259914@KACHIPYTEL.COM
4VWFDI   2/5/2021   OB    2/5/2021   WN;2028;AUS;LAS                         AUSTINFORT             WARWICKSHIRE        GB   66285   137259958@KACHIPYTEL.COM
4VYQVL   2/5/2021   OB   2/20/2021   WN;4482;STL;LAS;WN;2760;LAS;TUL         NORTH TONYMOUTH        OR                  US   90893   137260145@KACHIPYTEL.COM
4VZDT8   2/5/2021   OB   2/25/2021   WN;1639;ORD;BWI;WN;1370;BWI;BNA         FLORESBURY             MD                  US   36257   137260211@KACHIPYTEL.COM
4W4QEV   2/5/2021   OB   2/24/2021   WN;164;SEA;MDW;WN;4041;MDW;DEN          VTOOTRAA               ARUNACHAL PRADESH   IN   34253   137260354@KACHIPYTEL.COM
4WA6M2   2/5/2021   OB    2/6/2021   WN;3826;LGB;SMF;WN;1457;SMF;LAS         SOUTH CARLOSPORT       MD                  US   84472   137260453@KACHIPYTEL.COM
4WB9HR   2/5/2021   OB    2/6/2021   WN;4574;LAX;OAK;WN;3661;OAK;BUR;WN;366 CABRERAMOUTH            NJ                  US   40975   137260596@KACHIPYTEL.COM
4WBUEG   2/5/2021   OB    2/5/2021   WN;3435;HOU;OAK;WN;1017;OAK;GEG         EAST SHERRY            MS                  US    6464   137260948@KACHIPYTEL.COM
4WVRMA   2/5/2021   OB    2/7/2021   WN;3920;LAX;MDW;WN;845;MDW;AUS          MOODYBURY              AL                  US   84085   137262125@KACHIPYTEL.COM
4XMVK5   2/5/2021   OB    2/5/2021   WN;5067;ATL;MCO;WN;3708;MCO;SJU         SOUTH ANTHONY          OK                  US   79425   137263665@KACHIPYTEL.COM
4XQ6KU   2/5/2021   OB    2/5/2021   WN;3273;STL;DEN;WN;4517;DEN;PDX         NORTH MELISSA          OR                  US   19074   137264050@KACHIPYTEL.COM
4XZ7K6   2/5/2021   OB   3/10/2021   WN;2592;ELP;LAS;WN;2402;LAS;TUS         PORT TERRI             SC                  US   61671   137264325@KACHIPYTEL.COM
4XZ7K6   2/5/2021   OB   3/10/2021   WN;2592;ELP;LAS;WN;2402;LAS;TUS         PORT TERRI             SC                  US   61671   137264325@KACHIPYTEL.COM
4Y68CR   2/5/2021   OB    2/9/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL         NORTH JENNIFERCHESTE   MT                  US   40810   137264886@KACHIPYTEL.COM
4YE6CZ   2/5/2021   OB    2/9/2021   WN;3418;RNO;LAS;WN;1017;LAS;SAN         ERINTOWN               MD                  US   44638   137265183@KACHIPYTEL.COM
4YE6CZ   2/5/2021   OB    2/9/2021   WN;3418;RNO;LAS;WN;1017;LAS;SAN         ERINTOWN               MD                  US   44638   137265183@KACHIPYTEL.COM
4ZXWUA   2/5/2021   OB   2/10/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS         KATHRYNBOROUGH         MD                  US   74247   137268989@KACHIPYTEL.COM
2H92ZE   2/6/2021   OB    2/9/2021   WN;1914;LGA;MDW                         LAKE JEREMYMOUTH       MA                  US    7711   137326992@KACHIPYTEL.COM
2HDJGN   2/6/2021   OB    2/9/2021   WN;3956;MCO;BNA;WN;2978;BNA;BOS         SANDRABURGH            AR                  US   19660   137327663@KACHIPYTEL.COM
2HDJGN   2/6/2021   OB    2/9/2021   WN;3956;MCO;BNA;WN;2978;BNA;BOS         SANDRABURGH            AR                  US   19660   137327663@KACHIPYTEL.COM
2HFKXF   2/6/2021   OB    2/8/2021   WN;3757;LAX;OAK                         MELISSAHAVEN           PA                  US   83857   137327883@KACHIPYTEL.COM
2HKAIN   2/6/2021   OB    2/8/2021   WN;2077;AUS;BNA;WN;2773;BNA;DEN         NORTH MICHAEL          SD                  US   90104   137328367@KACHIPYTEL.COM
2HMVA8   2/6/2021   OB    2/8/2021   WN;715;ATL;BWI;WN;102;BWI;MIA           ALLISONVIEW            CO                  US   46980   137328180@KACHIPYTEL.COM
2HS8VF   2/6/2021   OB    2/8/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS         SELO AVGUSTIN          RIVNENSKA OBLAST    UA   68548   137328785@KACHIPYTEL.COM
2HZN36   2/6/2021   OB    2/6/2021   WN;738;BWI;LAS;WN;3108;LAS;SAN          EAST SHELIA            SD                  US   33813   137329126@KACHIPYTEL.COM
2HZN36   2/6/2021   OB    2/6/2021   WN;738;BWI;LAS;WN;3108;LAS;SAN          EAST SHELIA            SD                  US   33813   137329126@KACHIPYTEL.COM
2I2WUF   2/6/2021   OB    2/6/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO          CHASETON               VA                  US   14973   137329159@KACHIPYTEL.COM
2I5YPO   2/6/2021   OB    2/8/2021   WN;4084;PDX;SJC;WN;1571;SJC;SNA         HUBBARDSTAD            VA                  US    5555   137329445@KACHIPYTEL.COM
2IIUTK   2/6/2021   OB   2/20/2021   WN;4584;STL;TPA;WN;1758;TPA;BNA         CHRISTINEVIEW          WA                  US   17336   137330369@KACHIPYTEL.COM
2IMJQX   2/6/2021   OB   2/18/2021   WN;4954;BWI;PHX;WN;3373;PHX;LGB         SARAHCHESTER           OR                  US   95584   137330545@KACHIPYTEL.COM
2INNPN   2/6/2021   OB    2/6/2021   WN;2334;LAS;PHX                         MITCHELLBOROUGH        MA                  US   27004   137330578@KACHIPYTEL.COM
2ISZ64   2/6/2021   OB   2/26/2021   WN;1447;SAT;PHX;WN;2143;PHX;DAL         MORASHIRE              IA                  US   18057   137330963@KACHIPYTEL.COM
2ITBH2   2/6/2021   OB    2/6/2021   WN;6050;PHL;TPA;WN;4411;TPA;MDW         EAST CALVINTOWN        MI                  US   93667   137331062@KACHIPYTEL.COM
2IV6TD   2/6/2021   OB    2/7/2021   WN;1065;SAN;MDW;WN;1588;MDW;BWI         LAKE WILLIAMBOROUGH    IL                  US   24255   137330974@KACHIPYTEL.COM
2IZVJO   2/6/2021   OB   2/12/2021   WN;2304;GEG;LAS;WN;1701;LAS;SNA         PORT LINDA             ID                  US   28205   137331601@KACHIPYTEL.COM
2J5XAK   2/6/2021   OB   2/14/2021   WN;4754;BNA;DCA                         ALECSHIRE              ID                  US   12305   137331612@KACHIPYTEL.COM
2JSSRB   2/6/2021   OB    2/6/2021   WN;3087;LAS;OAK;WN;2655;OAK;LGB         NEW DOUGLAS            MIDLOTHIAN          GB   24423   137333229@KACHIPYTEL.COM
2K4SKJ   2/6/2021   OB   2/18/2021   WN;2461;ATL;CMH;WN;4766;CMH;BNA;WN;476SANDRASTAD               KS                  US   96031   137333757@KACHIPYTEL.COM
2K87E3   2/6/2021   OB    2/6/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO          SOUTH AARON            GA                  US   42702   137333867@KACHIPYTEL.COM
2KOYOD   2/6/2021   OB   2/24/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         MORALESMOUTH           OR                  US   43610   137334758@KACHIPYTEL.COM
2KRW2P   2/6/2021   OB    2/7/2021   WN;1478;PHX;LAS                         EAST AMANDA            FL                  US   27405   137334835@KACHIPYTEL.COM
2L5VSS   2/6/2021   OB    2/7/2021   WN;3338;SFO;MDW;WN;3262;MDW;PHL;WN;3 CHRISTOPHERSHIRE          MA                  US   24058   137335286@KACHIPYTEL.COM
2L5VUC   2/6/2021   OB    2/7/2021   WN;1478;PHX;LAS                         TAYLORMOUTH            MD                  US   69055   137335363@KACHIPYTEL.COM
2LONSP   2/6/2021   OB   2/14/2021   WN;783;LAS;OAK;WN;2331;OAK;SEA          ANNMOUTH               CA                  US   51846   137336793@KACHIPYTEL.COM
2LR5MT   2/6/2021   OB   2/13/2021   WN;2444;STL;PHX;WN;3099;PHX;LGB;WN;3099 POWELLTOWN             IA                  US    7166   137336793@KACHIPYTEL.COM
2LSJWQ   2/6/2021   OB    2/8/2021   WN;1978;SMF;STL                         NORTH JOSEPHBERG       AZ                  US   41252   137336793@KACHIPYTEL.COM
2M2PW5   2/6/2021   OB    2/6/2021   WN;3126;LAX;BNA;WN;3434;BNA;MCO         MICHELLESIDE           MN                  US   33414   137337277@KACHIPYTEL.COM
2M2PW5   2/6/2021   OB    2/6/2021   WN;3126;LAX;BNA;WN;3434;BNA;MCO         MICHELLESIDE           MN                  US   33414   137337277@KACHIPYTEL.COM
2M5DWL   2/6/2021   OB   2/11/2021   WN;2058;TUS;DEN                         MIGUELSTAD             KS                  US   83076   137337343@KACHIPYTEL.COM
2MBSCG   2/6/2021   OB    2/9/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS         PORT PAUL              NE                  US   56261   137337629@KACHIPYTEL.COM
2MBSCG   2/6/2021   OB    2/9/2021   WN;4413;DTW;BWI;WN;3111;BWI;BOS         PORT PAUL              NE                  US   56261   137337629@KACHIPYTEL.COM
2MJEA2   2/6/2021   OB    2/6/2021   WN;4183;PHX;SMF;WN;3099;SMF;SEA         PORT TIMOTHYHAVEN      KY                  US   25248   137338212@KACHIPYTEL.COM
2MKJ6W   2/6/2021   OB    2/6/2021   WN;4683;MSP;MDW;WN;3645;MDW;OKC;WN;3LUUTIYAANNNAA              DAMAN AND DIU       IN    4896   137338443@KACHIPYTEL.COM
2MLO25   2/6/2021   OB   2/10/2021   WN;2522;DEN;BNA;WN;1271;BNA;ATL         KARENTOWN              OR                  US   21892   137338432@KACHIPYTEL.COM
2NA7R4   2/6/2021   OB   2/11/2021   WN;1490;LAS;SMF;WN;1154;SMF;SEA         WEST BLAKE             MA                  US   47462   137339510@KACHIPYTEL.COM
2NAAIB   2/6/2021   OB   3/22/2021   WN;1140;HOU;PHX;WN;1078;PHX;MEM         SOUTH DAVID            AR                  US   60497   137339411@KACHIPYTEL.COM
2NIK7D   2/6/2021   OB    2/7/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP         KEITHVILLE             AK                  US   17391   137339983@KACHIPYTEL.COM
2NKXNH   2/6/2021   OB    2/6/2021   WN;3329;DTW;MCO;WN;5041;MCO;ATL         STEVENSIDE             CO                  US   65282   137340082@KACHIPYTEL.COM
2NL6EA   2/6/2021   OB   2/10/2021   WN;3959;MCO;BNA                         IBARRASIDE             PA                  US   31950   137339785@KACHIPYTEL.COM
2NY5CG   2/6/2021   OB   3/21/2021   WN;1247;OMA;PHX;WN;354;PHX;PDX          KIMFORT                ND                  US   54296   137340588@KACHIPYTEL.COM
2OPUUY   2/6/2021   OB    2/7/2021   WN;1588;MDW;BWI;WN;2593;BWI;BOS         WEST MICHAEL           UT                  US   58843   137342227@KACHIPYTEL.COM
2ORIP7   2/6/2021   OB    2/7/2021   WN;776;LAS;MDW;WN;3167;MDW;MSP          PORT KERRI             MD                  US   31727   137342227@KACHIPYTEL.COM
2P9KKO   2/6/2021   OB    2/6/2021   WN;1265;LAX;PHX;WN;4064;PHX;HOU;WN;4064WEST JAMIESHIRE         SD                  US   85468   137343492@KACHIPYTEL.COM
2PO65D   2/6/2021   OB   2/15/2021   WN;1649;DAL;ORD                         PETERSONHAVEN          ID                  US   44586   137345010@KACHIPYTEL.COM
2PQGHB   2/6/2021   OB    2/6/2021   WN;2163;LAX;HOU;WN;2403;HOU;MCO         JAMESFORT              MA                  US    6549   137344768@KACHIPYTEL.COM
2PTXDP   2/6/2021   OB   2/11/2021   WN;3539;BNA;DAL;WN;2199;DAL;FLL         PORT EDWARDBURGH       OH                  US   74014   137345010@KACHIPYTEL.COM
2PZD6D   2/6/2021   OB   2/16/2021   WN;4608;LAX;OAK                         LAKE JAMESCHESTER      NJ                  US   42095   137345967@KACHIPYTEL.COM
2Q2HIK   2/6/2021   OB    2/6/2021   WN;2414;LAS;MDW                         NEW JULIE              MS                  US   51330   137346220@KACHIPYTEL.COM
2Q367E   2/6/2021   OB   2/19/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         PORT NATALIE           MI                  US   91653   137346011@KACHIPYTEL.COM
2RXURQ   2/6/2021   OB    2/6/2021   WN;3616;MCI;PHX;WN;4139;PHX;PDX         NORTH CHRISTOPHER      AZ                  US   69888   137352644@KACHIPYTEL.COM
2S5TKO   2/6/2021   OB    2/6/2021   WN;6004;LGA;TPA;WN;4050;TPA;MIA         KARLSIDE               UT                  US   71781   137352996@KACHIPYTEL.COM
2TVYDH   2/6/2021   OB   2/13/2021   WN;2082;FLL;PHX;WN;2085;PHX;LAX         SCOTTTOWN              RI                  US   16148   137358837@KACHIPYTEL.COM
2UCE3Z   2/6/2021   OB   2/11/2021   WN;2234;LAX;STL;WN;1933;STL;MDW         FLORESMOUTH            LA                  US   76032   137359783@KACHIPYTEL.COM
2UKZW4   2/6/2021   OB   2/12/2021   WN;2753;MDW;OAK;WN;1017;OAK;GEG         NORTH MATTHEW          NY                  US   89378   137360410@KACHIPYTEL.COM
2V5SD7   2/6/2021   OB    2/6/2021   WN;2334;LAS;PHX;WN;2085;PHX;LAX         JOHNSTAD               SD                  US   80026   137362841@KACHIPYTEL.COM
2VC6ZA   2/6/2021   OB   2/26/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW         SOUTH TAYLORBOROUGH    AK                  US   32502   137363314@KACHIPYTEL.COM
2VC6ZA   2/6/2021   OB   2/26/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW         SOUTH TAYLORBOROUGH    AK                  US   32502   137363314@KACHIPYTEL.COM
2VYW3C   2/6/2021   OB    2/9/2021   WN;2604;BWI;DAL;WN;2713;DAL;DEN         LAKE CYNTHIA           TN                  US   41707   137365712@KACHIPYTEL.COM
2VYW3C   2/6/2021   OB    2/9/2021   WN;2604;BWI;DAL;WN;2713;DAL;DEN         LAKE CYNTHIA           TN                  US   41707   137365712@KACHIPYTEL.COM
2WEJMA   2/6/2021   OB    2/7/2021   WN;4838;SEA;SMF                         JACKSONBOROUGH         PA                  US    3184   137367824@KACHIPYTEL.COM
2WWYGW   2/6/2021   OB    2/7/2021   WN;3435;HOU;OAK;WN;1017;OAK;GEG         WEST SAMANTHAVILLE     WA                  US   49447   137369430@KACHIPYTEL.COM
2XDQYR   2/6/2021   OB   2/13/2021   WN;4513;LGA;MDW                         EAST DANIEL            EASTERN             GH   36126   137370948@KACHIPYTEL.COM
2XDQYR   2/6/2021   OB   2/14/2021   WN;2840;MDW;OMA;WN;2840;OMA;DAL         EAST DANIEL            EASTERN             GH   36126   137370948@KACHIPYTEL.COM
2XFEB9   2/6/2021   OB   2/14/2021   WN;1490;LAS;SMF;WN;349;SMF;LGB          REYNOLDSVIEW           AL                  US   81857   137371124@KACHIPYTEL.COM
2YKUWK   2/6/2021   OB   2/19/2021   WN;3587;DTW;BNA;WN;2618;BNA;ATL         SOUTH LOGANTOWN        AL                  US   82145   137377350@KACHIPYTEL.COM
2YQN8E   2/6/2021   OB   3/17/2021   WN;174;OAK;HOU;WN;209;HOU;MSP           ANNVILLE               WV                  US   32716   137377999@KACHIPYTEL.COM
2Z24A3   2/6/2021   OB   2/22/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL         LAKE CHRISTOPHERHAVE   NM                  US   97021   137379099@KACHIPYTEL.COM
2Z8RHW   2/6/2021   OB   3/16/2021   WN;500;BNA;HOU;WN;199;HOU;CMH           MICHAELSIDE            MO                  US    9267   137379715@KACHIPYTEL.COM
2Z8RHW   2/6/2021   OB   3/16/2021   WN;500;BNA;HOU;WN;199;HOU;CMH           MICHAELSIDE            MO                  US    9267   137379715@KACHIPYTEL.COM
2ZFOSW   2/6/2021   OB    2/9/2021   WN;4512;PDX;DEN;WN;3110;DEN;PSP         SOUTH JAMIE            AR                  US   16718   137380826@KACHIPYTEL.COM
2ZH84R   2/6/2021   OB   4/16/2021   WN;1511;BWI;LAS;WN;829;LAS;LGB          KIMBERLYBOROUGH        MI                  US   40401   137381288@KACHIPYTEL.COM
2ZLE4L   2/6/2021   OB   3/24/2021   WN;1727;BWI;OAK;WN;1589;OAK;LGB         GRAHAMLAND             NE                  US   14513   137381475@KACHIPYTEL.COM
2ZPMKB   2/6/2021   OB   3/31/2021   WN;391;OAK;BWI;WN;2038;BWI;ORD          TRAVISFORT             IA                  US   12918   137381475@KACHIPYTEL.COM
2ZQ7NJ   2/6/2021   OB    2/7/2021   WN;3241;TUS;LAS;WN;3737;LAS;GEG         NEW HAROLD             AK                  US   57415   137381706@KACHIPYTEL.COM
322K7T   2/6/2021   OB    2/7/2021   WN;2220;MDW;BNA;WN;4246;BNA;STL         NEW KATHY              NY                  US   43479   137382938@KACHIPYTEL.COM
329PG8   2/6/2021   OB    2/7/2021   WN;776;LAS;MDW;WN;3167;MDW;MSP          JOHNSONHAVEN           NJ                  US   34592   137383730@KACHIPYTEL.COM
329PG8   2/6/2021   OB    2/7/2021   WN;776;LAS;MDW;WN;3167;MDW;MSP          JOHNSONHAVEN           NJ                  US   34592   137383730@KACHIPYTEL.COM
329PG8   2/6/2021   OB    2/7/2021   WN;776;LAS;MDW;WN;3167;MDW;MSP          JOHNSONHAVEN           NJ                  US   34592   137383730@KACHIPYTEL.COM
32EWOQ   2/6/2021   OB   2/23/2021   WN;4943;PHX;SMF;WN;4902;SMF;LGB         KIMTON                 WY                  US   52852   137384357@KACHIPYTEL.COM
32GXPA   2/6/2021   OB   2/11/2021   WN;856;DEN;LAS;WN;2905;LAS;OKC          GEORGESIDE             CA                  US   21464   137384632@KACHIPYTEL.COM
32GXPA   2/6/2021   OB   2/11/2021   WN;856;DEN;LAS;WN;2905;LAS;OKC          GEORGESIDE             CA                  US   21464   137384632@KACHIPYTEL.COM




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32O3DC   2/6/2021   OB    2/7/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB           BISHOPSHIRE            MI                   US   59927   137384863@KACHIPYTEL.COM
32PVWF   2/6/2021   OB   2/20/2021   WN;3974;RDU;PHX;WN;2063;PHX;LGB          AGUIRREBOROUGH         MO                   US   50020   137385589@KACHIPYTEL.COM
32SE24   2/6/2021   OB    2/7/2021   WN;3072;MSP;DEN                          WEST ERICTON           MD                   US   28222   137385479@KACHIPYTEL.COM
334EPP   2/6/2021   OB    2/9/2021   WN;3276;LAX;BNA;WN;4149;BNA;DTW          NORTH ANTONIOVILLE     ID                   US   54718   137386491@KACHIPYTEL.COM
334YAT   2/6/2021   OB    2/9/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL          NORTH TASHA            IL                   US   25908   137386227@KACHIPYTEL.COM
33ODQX   2/6/2021   OB    2/8/2021   WN;3262;FLL;MDW;WN;3652;MDW;BDL          SOUTH KEVIN            OK                   US   92118   137388042@KACHIPYTEL.COM
349OPZ   2/6/2021   OB   3/10/2021   WN;2785;TPA;DEN;WN;4264;DEN;MSP          NORTH DAVIDSTAD        RI                   US   21548   137389681@KACHIPYTEL.COM
34M2KI   2/6/2021   OB    2/8/2021   WN;1515;DTW;MDW;WN;2987;MDW;ATL          CHRISTIANBURY          MD                   US   32892   137390495@KACHIPYTEL.COM
34ZLDS   2/6/2021   OB   2/22/2021   WN;1634;CLT;STL;WN;427;STL;TPA           SOUTH MELANIEPORT      VT                   US   14770   137391771@KACHIPYTEL.COM
35CBQI   2/6/2021   OB   2/14/2021   WN;1302;CMH;ATL                          SOUTH DAVIDVIEW        SC                   US   36361   137392244@KACHIPYTEL.COM
35K9PU   2/6/2021   OB   3/24/2021   WN;862;TPA;MCI;WN;1539;MCI;BNA;WN;1539; SRIINKR                 GOA                  IN   97836   137392970@KACHIPYTEL.COM
35P2DO   2/7/2021   OB    2/7/2021   WN;2622;STL;TPA                          CHRISTYTON             HI                   US   76562   137393278@KACHIPYTEL.COM
35P2DO   2/7/2021   OB    2/7/2021   WN;2622;STL;TPA                          CHRISTYTON             HI                   US   76562   137393278@KACHIPYTEL.COM
35VX8P   2/7/2021   OB    2/7/2021   WN;3226;FLL;HOU                          PORT MARYVIEW          AZ                   US   44157   137393773@KACHIPYTEL.COM
36475J   2/7/2021   OB    3/8/2021   WN;900;ATL;MDW;WN;935;MDW;STL            NOAHSHIRE              NY                   US   71928   137393894@KACHIPYTEL.COM
3676AT   2/7/2021   OB    3/5/2021   WN;3115;MDW;ATL;WN;4549;ATL;MEM          RICARDOLAND            HI                   US   47508   137393894@KACHIPYTEL.COM
372IFD   2/7/2021   OB   2/17/2021   WN;3343;ATL;STL;WN;2208;STL;DEN;WN;2208;DWEST PAMELATOWN        NV                   US   59285   137395368@KACHIPYTEL.COM
379W4W   2/7/2021   OB   2/14/2021   WN;4629;MDW;BWI                          PORT JANINA            VILANU NOVADS        LV   68116   137395588@KACHIPYTEL.COM
37A5MQ   2/7/2021   OB    2/7/2021   WN;3426;LAS;MDW;WN;2987;MDW;ATL          WEST DAISY             ND                   US   74432   137395698@KACHIPYTEL.COM
37JBAA   2/7/2021   OB    2/7/2021   WN;845;MSP;MDW;WN;2457;MDW;LAS           SCHIAVO UMBRO          UDINE                IT   21649   137395995@KACHIPYTEL.COM
37X6YL   2/7/2021   OB   2/14/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL           KUTTIYAATTM            KARNATAKA            IN   73012   137396501@KACHIPYTEL.COM
382IPA   2/7/2021   OB   2/13/2021   WN;4662;ATL;AUS;WN;3824;AUS;LGB          PUVNNNEECUVR           ASSAM                IN   80336   137396688@KACHIPYTEL.COM
385OCY   2/7/2021   OB   2/13/2021   WN;2082;FLL;PHX;WN;2085;PHX;LAX          PORT MICHELLE          NM                   US    6986   137396952@KACHIPYTEL.COM
38GNI5   2/7/2021   OB    2/7/2021   WN;3757;LAX;OAK;WN;4757;OAK;LAS          GRAYSTAD               SD                   US   49130   137397590@KACHIPYTEL.COM
38JOPK   2/7/2021   OB   2/26/2021   WN;4149;PHL;BNA;WN;3304;BNA;SRQ          OLSONVILLE             AZ                   US    8684   137397832@KACHIPYTEL.COM
392FXR   2/7/2021   OB   3/12/2021   WN;1935;MSY;PHX;WN;1882;PHX;SEA          NEW JUSTIN             MD                   US   72104   137398767@KACHIPYTEL.COM
392FXR   2/7/2021   OB   3/12/2021   WN;1935;MSY;PHX;WN;1882;PHX;SEA          NEW JUSTIN             MD                   US   72104   137398767@KACHIPYTEL.COM
39BLT2   2/7/2021   OB    2/7/2021   WN;2051;ATL;MDW                          SANDERSBURY            WI                   US   65650   137399482@KACHIPYTEL.COM
39CI3F   2/7/2021   OB    2/9/2021   WN;3920;LAX;MDW;WN;845;MDW;AUS           BARBARAPORT            NJ                   US    4354   137399251@KACHIPYTEL.COM
39EVVZ   2/7/2021   OB   2/11/2021   WN;6609;GRR;DEN;WN;2595;DEN;STL          LAKE KELLY             MN                   US   53935   137399427@KACHIPYTEL.COM
39EVVZ   2/7/2021   OB   2/11/2021   WN;6609;GRR;DEN;WN;2595;DEN;STL          LAKE KELLY             MN                   US   53935   137399427@KACHIPYTEL.COM
39FJ6K   2/7/2021   OB    2/9/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA           PORT JAYVILLE          UT                   US    8483   137399647@KACHIPYTEL.COM
39FJ6K   2/7/2021   OB    2/9/2021   WN;1990;ATL;BWI;WN;331;BWI;MIA           PORT JAYVILLE          UT                   US    8483   137399647@KACHIPYTEL.COM
39IUS5   2/7/2021   OB    2/9/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL          SOUTH ADAM             GA                   US   72603   137399658@KACHIPYTEL.COM
39PWT8   2/7/2021   OB    2/9/2021   WN;2288;MSY;BNA;WN;4766;BNA;PHL          HECTORBERG             WA                   US    9145   137400230@KACHIPYTEL.COM
39QMUP   2/7/2021   OB   2/14/2021   WN;2193;CLT;MDW;WN;2253;MDW;MCO          ROBERTSIDE             AR                   US   33719   137400219@KACHIPYTEL.COM
39SULI   2/7/2021   OB    2/8/2021   WN;2773;ATL;BNA;WN;3585;BNA;DTW          FOWLERBOROUGH          DE                   US   44316   137400351@KACHIPYTEL.COM
3A8JHC   2/7/2021   OB   2/13/2021   WN;3030;MSP;DEN;WN;2972;DEN;LGB          NORTH CARRIESHIRE      PA                   US   91946   137400945@KACHIPYTEL.COM
3A8KJQ   2/7/2021   OB   2/13/2021   WN;3030;MSP;DEN;WN;2972;DEN;LGB          JESSICALAND            AK                   US   61203   137400945@KACHIPYTEL.COM
3AWNUB   2/7/2021   OB    2/7/2021   WN;6283;MSY;HOU;WN;2369;HOU;DEN;WN;23 KHANTOWN                  NH                   US   70790   137401968@KACHIPYTEL.COM
3B63KO   2/7/2021   OB    2/9/2021   WN;3028;SAN;PHX;WN;2767;PHX;RNO          NORTH MELISSA          CA                   US   59410   137402529@KACHIPYTEL.COM
3BOC8O   2/7/2021   OB    2/7/2021   WN;1493;SMF;LAS                          MCGRATHTON             CO                   US   37932   137403222@KACHIPYTEL.COM
3BVXPX   2/7/2021   OB   2/22/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL          HAROLDTON              CO                   US   68354   137403431@KACHIPYTEL.COM
3BZZQD   2/7/2021   OB   2/19/2021   WN;919;LAX;LAS;WN;397;LAS;PHX            MELLE                  NORDRHEINWESTFALEN   DE   17927   137403838@KACHIPYTEL.COM
3C38Z6   2/7/2021   OB   2/10/2021   WN;2234;LAX;STL;WN;1933;STL;MDW          NORTH KEVINMOUTH       WA                   US   30428   137403959@KACHIPYTEL.COM
3CHAWP   2/7/2021   OB    2/7/2021   WN;3085;DEN;MCO;WN;4390;MCO;ISP          DEBORAHSHIRE           GA                   US   48796   137404454@KACHIPYTEL.COM
3CWN8B   2/7/2021   OB   2/22/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA           NORTH ERICSHIRE        ND                   US   64196   137404652@KACHIPYTEL.COM
3D8MUU   2/7/2021   OB    2/7/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF           SOUTH JOANNABURGH      DE                   US   86776   137405609@KACHIPYTEL.COM
3D8MUU   2/7/2021   OB    2/7/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF           SOUTH JOANNABURGH      DE                   US   86776   137405609@KACHIPYTEL.COM
3DII8M   2/7/2021   OB    2/7/2021   WN;3725;LAX;HOU;WN;4279;HOU;MSY          NELSONBOROUGH          FL                   US   53911   137406181@KACHIPYTEL.COM
3G65BI   2/7/2021   OB   2/21/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS          EAST KELLY             MS                   US   78431   137412066@KACHIPYTEL.COM
3GZZH2   2/7/2021   OB    2/8/2021   WN;1782;PHX;ATL;WN;360;ATL;BWI           LAKE MARIA             ND                   US   47583   137414277@KACHIPYTEL.COM
3INM47   2/7/2021   OB   3/12/2021   WN;1598;FLL;PHX;WN;2146;PHX;MSP          ALLENLAND              AL                   US   89327   137419084@KACHIPYTEL.COM
3INM47   2/7/2021   OB   3/12/2021   WN;1598;FLL;PHX;WN;2146;PHX;MSP          ALLENLAND              AL                   US   89327   137419084@KACHIPYTEL.COM
3IZG5L   2/7/2021   OB    2/7/2021   WN;2577;MIA;HOU;WN;423;HOU;LAS           ROBERTSMOUTH           NY                   US   50321   137419634@KACHIPYTEL.COM
3KOQLC   2/7/2021   OB    2/7/2021   WN;1589;MDW;HOU;WN;2635;HOU;MEM          SANTOSMOUTH            WV                   US   24857   137425926@KACHIPYTEL.COM
3LOL45   2/7/2021   OB    3/8/2021   WN;1115;GRR;DEN;WN;1035;DEN;MSP          HEBERTSTAD             OH                   US    1624   137428984@KACHIPYTEL.COM
3MHCKQ   2/7/2021   OB   3/27/2021   WN;2485;FLL;DEN;WN;2426;DEN;ORD          NEW DENNIS             HI                   US   11578   137432768@KACHIPYTEL.COM
3NEZYI   2/7/2021   OB   2/18/2021   WN;6001;OKC;ATL;WN;3558;ATL;MDW          LAKE PATRICIA          ND                   US   52629   137436651@KACHIPYTEL.COM
3NGMNO   2/7/2021   OB    2/8/2021   WN;3301;STL;FLL;WN;1360;FLL;BWI          EAST PEGGYBERG         VT                   US   58306   137437102@KACHIPYTEL.COM
3NP7QH   2/7/2021   OB    2/8/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA          NORTH SEANPORT         NY                   US   29116   137437938@KACHIPYTEL.COM
3NPPJS   2/7/2021   OB   2/17/2021   WN;2294;BNA;PHX;WN;847;PHX;SJC           WEST MICHAEL           IL                   US   85056   137437718@KACHIPYTEL.COM
3OJD3G   2/7/2021   OB    2/8/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS          NORTH WILLIAMBURY      WI                   US   39424   137439984@KACHIPYTEL.COM
3OLHAN   2/7/2021   OB    2/8/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS          PORT REBECCA           WI                   US    9942   137440204@KACHIPYTEL.COM
3OVY6W   2/7/2021   OB   2/10/2021   WN;670;BNA;LAS;WN;2073;LAS;LGB           NEW JULIANBURY         NM                   US   90288   137437718.1546436@KACHIPYTEL.COM
3OYBCN   2/7/2021   OB   2/13/2021   WN;3314;FLL;STL;WN;1095;STL;LGA          IRAAJPAALLAIYM VIRUT   UTTAR PRADESH        IN   89255   137441590@KACHIPYTEL.COM
3P4FQA   2/7/2021   OB    2/8/2021   WN;3223;LAS;MDW;WN;1360;MDW;FLL          PORT WILLIAMVILLE      IL                   US   82573   137442206@KACHIPYTEL.COM
3P8QE5   2/7/2021   OB   2/13/2021   WN;3484;LAS;SNA                          NORTH CHERYL           MN                   US   28891   137442965@KACHIPYTEL.COM
3Q3WIB   2/7/2021   OB   2/13/2021   WN;957;MDW;BWI;WN;1979;BWI;FLL           WEST STEPHANIE         NY                   US    8547   137445352@KACHIPYTEL.COM
3QGVTZ   2/7/2021   OB   2/18/2021   WN;1878;MDW;BWI;WN;2593;BWI;BOS          WEST ASHLEYPORT        CO                   US   14364   137447046@KACHIPYTEL.COM
3QKIMJ   2/7/2021   OB    3/4/2021   WN;680;BWI;MDW;WN;2195;MDW;CLE           WESTFURT               CO                   US   73196   137447607@KACHIPYTEL.COM
3QOK7R   2/7/2021   OB    3/7/2021   WN;692;MDW;BWI;WN;1245;BWI;BOS           NEW AUSTIN             WA                   US   65246   137447607@KACHIPYTEL.COM
3RD8E4   2/7/2021   OB    2/9/2021   WN;2107;TPA;BWI;WN;2510;BWI;BOS          KURTMOUTH              WI                   US   55472   137449279@KACHIPYTEL.COM
3RQ5NT   2/7/2021   OB   2/11/2021   WN;2863;FLL;DEN;WN;2098;DEN;LAX          TONYBURGH              CA                   US   59607   137449829@KACHIPYTEL.COM
3SCOXG   2/7/2021   OB    2/8/2021   WN;6112;TPA;RDU;WN;2746;RDU;ATL          PORT DENISE            IN                   US   98742   137451226@KACHIPYTEL.COM
3STAXX   2/8/2021   OB   2/10/2021   WN;3587;DTW;BNA;WN;1271;BNA;ATL          ADAMSVILLE             ND                   US   85819   137452117@KACHIPYTEL.COM
3T8ZC5   2/8/2021   OB    2/8/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY          NEW MARC               OH                   US   99538   137452711@KACHIPYTEL.COM
3TEJLZ   2/8/2021   OB   2/13/2021   WN;3196;ATL;SAT;WN;3201;SAT;DAL          EAST KEVINCHESTER      AK                   US   70622   137452953@KACHIPYTEL.COM
3TM3YG   2/8/2021   OB    2/9/2021   WN;715;ATL;BWI                           JOSEPHCHESTER          MI                   US   73386   137453195@KACHIPYTEL.COM
3TUR6D   2/8/2021   OB    2/8/2021   WN;4191;MSP;MDW;WN;867;MDW;LAS           LAKE JUSTINLAND        TN                   US   49207   137453503@KACHIPYTEL.COM
3TUR6D   2/8/2021   OB    2/8/2021   WN;4191;MSP;MDW;WN;867;MDW;LAS           LAKE JUSTINLAND        TN                   US   49207   137453503@KACHIPYTEL.COM
3UJCLQ   2/8/2021   OB   2/13/2021   WN;4507;ATL;STL;WN;3748;STL;MDW          NEW JOANNE             CA                   US   43421   137454801@KACHIPYTEL.COM
3UN2YZ   2/8/2021   OB   2/10/2021   WN;988;MCI;MCO                           MORRISTOWN             NV                   US   18250   137455186@KACHIPYTEL.COM
3URGE2   2/8/2021   OB    2/9/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           LAKE MELISSATOWN       GA                   US   56624   137455197@KACHIPYTEL.COM
3UVS2D   2/8/2021   OB   2/10/2021   WN;2764;CMH;DAL;WN;3176;DAL;BHM          CHANSTAD               IN                   US   30962   137455747@KACHIPYTEL.COM
3UYZCK   2/8/2021   OB    3/4/2021   WN;4158;DEN;SMF;WN;349;SMF;LGB           PORT ASHLEY            ND                   US   81330   137455626@KACHIPYTEL.COM
3VB5B5   2/8/2021   OB   2/21/2021   WN;680;BWI;MDW;WN;2576;MDW;DTW           PORT BRANDONTOWN       ME                   US   59013   137456176@KACHIPYTEL.COM
3VBY97   2/8/2021   OB   2/17/2021   WN;4022;MDW;BWI;WN;4727;BWI;FLL          SCOTTMOUTH             IL                   US   22113   137456176@KACHIPYTEL.COM
3VO4OT   2/8/2021   OB    2/8/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS          EAST BRITTANYFORT      AL                   US   26071   137457188@KACHIPYTEL.COM
3WPGKT   2/8/2021   OB    2/8/2021   WN;332;MIA;BWI                           EAST SHAWN             AL                   US   16007   137459201@KACHIPYTEL.COM
3WTLJZ   2/8/2021   OB    2/9/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW           LINDSEYTOWN            ME                   US   22477   137459575@KACHIPYTEL.COM
3WVJZ5   2/8/2021   OB    2/8/2021   WN;5009;TPA;ATL;WN;6281;ATL;IND          NEW NICHOLASMOUTH      AZ                   US   11081   137459432@KACHIPYTEL.COM
3X4BT5   2/8/2021   OB   2/16/2021   WN;1914;LGA;MDW;WN;347;MDW;DAL           EAST KAITLYNHAVEN      NH                   US   68853   137459685@KACHIPYTEL.COM
3XE8JJ   2/8/2021   OB    2/8/2021   WN;332;MIA;BWI                           LAKE CAITLIN           NJ                   US   63201   137460279@KACHIPYTEL.COM
3XHBJJ   2/8/2021   OB    2/8/2021   WN;4078;MIA;MDW                          SUSANMOUTH             AL                   US    2083   137460400@KACHIPYTEL.COM
3XHBJJ   2/8/2021   OB    2/8/2021   WN;4078;MIA;MDW                          SUSANMOUTH             AL                   US    2083   137460400@KACHIPYTEL.COM
3XHBJJ   2/8/2021   OB    2/8/2021   WN;4078;MIA;MDW                          SUSANMOUTH             AL                   US    2083   137460400@KACHIPYTEL.COM
3XHBJJ   2/8/2021   OB    2/8/2021   WN;4078;MIA;MDW                          SUSANMOUTH             AL                   US    2083   137460400@KACHIPYTEL.COM
3XT2R4   2/8/2021   OB    2/8/2021   WN;1950;MCO;HOU;WN;2369;HOU;DEN;WN;23NORTH TIMOTHY              SASKATCHEWAN         CA   12007   137461093@KACHIPYTEL.COM
3XTLG3   2/8/2021   OB    2/8/2021   WN;715;ATL;BWI                           DAWNSHIRE              AZ                   US   18864   137461115@KACHIPYTEL.COM
3XUFEB   2/8/2021   OB   2/16/2021   WN;2234;LAX;STL;WN;3301;STL;FLL          NEW CARL               WI                   US   96247   137461071@KACHIPYTEL.COM
3YSM9O   2/8/2021   OB    2/9/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP          BARRYSTAD              WA                   US   61358   137463018@KACHIPYTEL.COM
42BODZ   2/8/2021   OB   2/10/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS          NEW KEVIN              VA                   US   46083   137466901@KACHIPYTEL.COM
43FWKG   2/8/2021   OB    2/8/2021   WN;1973;SAN;HOU;WN;3644;HOU;BWI          LILLEMETSFURT          LAANEVIRUMAA         EE   91463   137472709@KACHIPYTEL.COM
4796OU   2/8/2021   OB    2/8/2021   WN;3010;MCO;SDF;WN;3010;SDF;MDW;WN;49 WEST BENJAMINBOROUGH      LA                   US    8344   137487427@KACHIPYTEL.COM




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47AG7I   2/8/2021   OB   2/20/2021   WN;4234;CLT;MDW;WN;2747;MDW;PHL         MANADO                 LAMPUNG            ID   13018   137487196@KACHIPYTEL.COM
47EQYU   2/8/2021   OB    2/8/2021   WN;3010;MCO;SDF;WN;3010;SDF;MDW;WN;49 EAST WENDY               GA                 US    8028   137487636@KACHIPYTEL.COM
47Q4WY   2/8/2021   OB   3/25/2021   WN;1089;LGA;DEN;WN;3074;DEN;ORD         EAST DONNABERG         WV                 US   44117   137488934@KACHIPYTEL.COM
47XTNY   2/8/2021   OB   3/19/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVSHML MRYM              BUSHEHR            IR   27856   137490518@KACHIPYTEL.COM
47XTNY   2/8/2021   OB   3/19/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVSHML MRYM              BUSHEHR            IR   27856   137490518@KACHIPYTEL.COM
486GQ6   2/8/2021   OB   2/13/2021   WN;1882;CLE;LAS;WN;4333;LAS;LAX         NEW LARRY              MA                 US   67195   137491354@KACHIPYTEL.COM
48KZAR   2/8/2021   OB    2/8/2021   WN;2438;MCO;FLL;WN;4508;FLL;BWI         AUSTINLAND             WV                 US   42894   137493312@KACHIPYTEL.COM
48PU38   2/8/2021   OB    2/9/2021   WN;5009;TPA;ATL;WN;2411;ATL;SDF         DONNABOROUGH           CT                 US   74822   137494038@KACHIPYTEL.COM
48SOB4   2/8/2021   OB    2/8/2021   WN;2438;MCO;FLL;WN;4508;FLL;BWI         NORTH CATHERINEMOUTH   MS                 US   36089   137494907@KACHIPYTEL.COM
49K4GJ   2/8/2021   OB    2/8/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         EMILYBOROUGH           OK                 US   26221   137498031@KACHIPYTEL.COM
49Q3FG   2/8/2021   OB    2/9/2021   WN;2208;TPA;MDW;WN;2255;MDW;BOS         WEST JODI              MO                 US   98211   137499296@KACHIPYTEL.COM
4A4NZF   2/8/2021   OB    2/9/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB         MCDONALDLAND           WI                 US   63344   137501012@KACHIPYTEL.COM
4ACLFN   2/8/2021   OB    2/9/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW          GARRISONBURGH          PA                 US   48527   137502882@KACHIPYTEL.COM
4AHQCP   2/8/2021   OB    2/9/2021   WN;3072;MSP;DEN;WN;856;DEN;LAS          LAWSONLAND             MO                 US   23414   137503476@KACHIPYTEL.COM
4ASWOX   2/8/2021   OB   2/23/2021   WN;2461;ATL;CMH;WN;4766;CMH;BNA         DOUGLASMOUTH           NY                 US   24908   137505027@KACHIPYTEL.COM
4AU8DK   2/8/2021   OB   2/25/2021   WN;2705;AUS;PHX;WN;3972;PHX;LAX         SOUTH DEVONFORT        MO                 US   25865   137504873@KACHIPYTEL.COM
4B7F2R   2/8/2021   OB    2/9/2021   WN;5023;DAL;MCO;WN;4390;MCO;ISP         PORT RUTHMOUTH         LA                 US   63609   137502365@KACHIPYTEL.COM
4B8IF5   2/8/2021   OB    2/9/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB         NEW EMILYSHIRE         AL                 US   52762   137507293@KACHIPYTEL.COM
4BLB3S   2/8/2021   OB    2/9/2021   WN;1210;PHX;SMF                         NORTH ANGELMOUTH       TX                 US   11696   137508976@KACHIPYTEL.COM
4BONX7   2/8/2021   OB    2/9/2021   WN;3072;MSP;DEN;WN;856;DEN;LAS          CHRISTINASIDE          NH                 US   89096   137509702@KACHIPYTEL.COM
4C53LQ   2/8/2021   OB   2/12/2021   WN;3714;LAX;BWI;WN;3933;BWI;DTW         EAST CAROLYNFURT       SC                 US   19609   137512276@KACHIPYTEL.COM
4C6WTB   2/8/2021   OB    2/9/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF          SOUTH MEGANSIDE        NH                 US   75465   137512276@KACHIPYTEL.COM
4CPRVV   2/8/2021   OB   2/13/2021   WN;3206;MDW;RSW;WN;3583;RSW;CMH         PORT ALEXANDER         WA                 US   94925   137515070@KACHIPYTEL.COM
4D2OL7   2/8/2021   OB    3/1/2021   WN;2225;JAX;BNA;WN;4766;BNA;PHL         PORT MARKSHIRE         MO                 US   64196   137516544@KACHIPYTEL.COM
4D44LU   2/8/2021   OB    2/9/2021   WN;3233;TPA;FLL;WN;3233;FLL;HOU;WN;506;HFRYEFORT               KS                 US   15713   137516313@KACHIPYTEL.COM
4D9CMH   2/8/2021   OB   3/15/2021   WN;1859;SJU;BWI;WN;1549;BWI;FLL         SCOTTVILLE             HI                 US   49026   137517017@KACHIPYTEL.COM
4DBSQB   2/8/2021   OB    2/9/2021   WN;4838;SEA;SMF;WN;1493;SMF;LAS         HARRISMOUTH            DE                 US   34122   137517578@KACHIPYTEL.COM
4DCKO9   2/8/2021   OB    2/9/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW         HOWARDMOUTH            IL                 US   81870   137517952@KACHIPYTEL.COM
4DGR66   2/8/2021   OB    2/9/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB         MALDONADOHAVEN         NH                 US   75027   137518469@KACHIPYTEL.COM
4DGR66   2/8/2021   OB    2/9/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB         MALDONADOHAVEN         NH                 US   75027   137518469@KACHIPYTEL.COM
4DGR66   2/8/2021   OB    2/9/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB         MALDONADOHAVEN         NH                 US   75027   137518469@KACHIPYTEL.COM
4DLRNU   2/8/2021   OB    2/9/2021   WN;346;SJU;BWI;WN;2531;BWI;TPA          DAVIDFORT              SD                 US   96466   137519019@KACHIPYTEL.COM
4DQJ9L   2/8/2021   OB    2/8/2021   WN;2611;DAL;MDW                         SOUTH SHELLY           CO                 US   20756   137164049@KACHIPYTEL.COM
4DRLJ7   2/8/2021   OB   2/14/2021   WN;1878;MDW;BWI;WN;2593;BWI;BOS         CHRISTYTOWN            NC                 US   52262   137519767@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/14/2021   WN;4971;DCA;BNA                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4DZQCP   2/8/2021   OB   2/18/2021   WN;2522;BNA;MCO                         YOUNGVIEW              MN                 US   86108   137520812@KACHIPYTEL.COM
4E6UKQ   2/8/2021   OB   2/11/2021   WN;2028;AUS;LAS                         PAULACHESTER           VT                 US   37576   137521494@KACHIPYTEL.COM
4E7FSS   2/8/2021   OB    3/5/2021   WN;2585;LAS;BOI;WN;4367;BOI;OAK         MISTYPORT              SD                 US   10095   137520966@KACHIPYTEL.COM
4E8JIO   2/8/2021   OB   2/26/2021   WN;3020;BOI;LAS;WN;400;LAS;LAX          SOUTH JON              MD                 US   75525   137520966@KACHIPYTEL.COM
4EB2B3   2/8/2021   OB   2/26/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL         ARMSTRONGBOROUGH       WI                 US   73943   137521659@KACHIPYTEL.COM
4EB2B3   2/8/2021   OB   2/26/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL         ARMSTRONGBOROUGH       WI                 US   73943   137521659@KACHIPYTEL.COM
4EB2B3   2/8/2021   OB   2/26/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL         ARMSTRONGBOROUGH       WI                 US   73943   137521659@KACHIPYTEL.COM
4EB4QN   2/8/2021   OB   2/21/2021   WN;2793;DAL;STL;WN;3422;STL;LGA         EAST SEAN              NH                 US   77990   137521505@KACHIPYTEL.COM
4EB4QN   2/8/2021   OB   2/21/2021   WN;2793;DAL;STL;WN;3422;STL;LGA         EAST SEAN              NH                 US   77990   137521505@KACHIPYTEL.COM
4ED5ND   2/8/2021   OB   2/22/2021   WN;4775;SAN;BWI;WN;2593;BWI;BOS         NEW MATTHEW            FL                 US   40041   137522242@KACHIPYTEL.COM
4ED698   2/8/2021   OB    2/9/2021   WN;3725;LAX;HOU;WN;4279;HOU;MSY         KINGPORT               KS                 US   91186   137521890@KACHIPYTEL.COM
4EF3WS   2/8/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         SILVASTAD              MS                 US   71153   137522495@KACHIPYTEL.COM
4EF3WS   2/8/2021   OB   2/16/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         SILVASTAD              MS                 US   71153   137522495@KACHIPYTEL.COM
4EPYL3   2/8/2021   OB    2/9/2021   WN;360;ATL;BWI                          EAST KEITH             AZ                 US   95882   137523375@KACHIPYTEL.COM
4EZII7   2/8/2021   OB   2/21/2021   WN;391;STL;LAS;WN;2402;LAS;TUS          NEW GINAPORT           LA                 US   40086   137524398@KACHIPYTEL.COM
4EZII7   2/8/2021   OB   2/21/2021   WN;391;STL;LAS;WN;2402;LAS;TUS          NEW GINAPORT           LA                 US   40086   137524398@KACHIPYTEL.COM
4EZII7   2/8/2021   OB   2/21/2021   WN;391;STL;LAS;WN;2402;LAS;TUS          NEW GINAPORT           LA                 US   40086   137524398@KACHIPYTEL.COM
4EZII7   2/8/2021   OB   2/21/2021   WN;391;STL;LAS;WN;2402;LAS;TUS          NEW GINAPORT           LA                 US   40086   137524398@KACHIPYTEL.COM
4F3O6I   2/8/2021   OB   2/16/2021   WN;3041;BNA;BWI                         GRAYVIEW               CT                 US   89684   137524794@KACHIPYTEL.COM
4F3O6I   2/8/2021   OB   2/16/2021   WN;3041;BNA;BWI                         GRAYVIEW               CT                 US   89684   137524794@KACHIPYTEL.COM
4F3O6I   2/8/2021   OB   2/16/2021   WN;3041;BNA;BWI                         GRAYVIEW               CT                 US   89684   137524794@KACHIPYTEL.COM
4F3O6I   2/8/2021   OB   2/16/2021   WN;3041;BNA;BWI                         GRAYVIEW               CT                 US   89684   137524794@KACHIPYTEL.COM
4FIK3Y   2/8/2021   OB    2/9/2021   WN;2051;ATL;MDW;WN;3927;MDW;MSP         WEST MICHAEL           CA                 US   55119   137526147@KACHIPYTEL.COM
4FIK3Y   2/8/2021   OB    2/9/2021   WN;2051;ATL;MDW;WN;3927;MDW;MSP         WEST MICHAEL           CA                 US   55119   137526147@KACHIPYTEL.COM
4FQ8Q4   2/8/2021   OB    2/9/2021   WN;3989;MCO;MDW;WN;4084;MDW;PDX         NEW MEGHAN             CO                 US    2629   137526994@KACHIPYTEL.COM
4FR78N   2/8/2021   OB    2/9/2021   WN;4191;MSP;MDW;WN;867;MDW;LAS          NORTH SERGIO           SD                 US   89116   137527335@KACHIPYTEL.COM
4FR98E   2/8/2021   OB   2/18/2021   WN;3240;FLL;MCO;WN;4015;MCO;STL         LEETON                 NY                 US   22301   137527005@KACHIPYTEL.COM
4FWYMY   2/8/2021   OB   2/10/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS         JAYTOWN                MD                 US   70198   137524596@KACHIPYTEL.COM
4G857W   2/8/2021   OB    3/7/2021   WN;1375;SAN;HNL;WN;753;HNL;KOA          BERRYVILLE             GA                 US   54763   137528622@KACHIPYTEL.COM
4G857W   2/8/2021   OB    3/7/2021   WN;1375;SAN;HNL;WN;753;HNL;KOA          BERRYVILLE             GA                 US   54763   137528622@KACHIPYTEL.COM
4GFPUN   2/8/2021   OB   2/14/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA          KOOLLLIKKOOTTU         SIKKIM             IN   26100   137529414@KACHIPYTEL.COM
4GFPUN   2/8/2021   OB   2/14/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA          KOOLLLIKKOOTTU         SIKKIM             IN   26100   137529414@KACHIPYTEL.COM
4GFPUN   2/8/2021   OB   2/14/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA          KOOLLLIKKOOTTU         SIKKIM             IN   26100   137529414@KACHIPYTEL.COM
4GFPUN   2/8/2021   OB   2/14/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA          KOOLLLIKKOOTTU         SIKKIM             IN   26100   137529414@KACHIPYTEL.COM
4GHBFQ   2/8/2021   OB    2/9/2021   WN;4118;FLL;MDW;WN;3558;MDW;LAS         TINAFURT               AR                 US   49814   137529425@KACHIPYTEL.COM
4GHBFQ   2/8/2021   OB    2/9/2021   WN;4118;FLL;MDW;WN;3558;MDW;LAS         TINAFURT               AR                 US   49814   137529425@KACHIPYTEL.COM
22926N   2/9/2021   OB   2/13/2021   WN;4045;SEA;SJC;WN;1564;SJC;PHX         RIVERAVIEW             ND                 US   99704   137605996@KACHIPYTEL.COM
22ZQ5O   2/9/2021   OB   2/16/2021   WN;1068;OAK;SNA;WN;2999;SNA;LAS         MATTHEWCHESTER         MI                 US   11952   137610198@KACHIPYTEL.COM
232CUB   2/9/2021   OB   2/10/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW          PORT SCOTTTOWN         TX                 US   46874   137610363@KACHIPYTEL.COM
23HMH5   2/9/2021   OB   2/10/2021   WN;3948;ATL;FLL;WN;2576;FLL;MDW;WN;2576 ENZIO VENETO           RIMINI             IT   59915   137611683@KACHIPYTEL.COM
244MEF   2/9/2021   OB   2/17/2021   WN;1914;LGA;MDW;WN;2253;MDW;MCO         JOHNMOUTH              FL                 US    9267   137614191@KACHIPYTEL.COM
2479U2   2/9/2021   OB   2/10/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         NORTH CHADBURY         NM                 US   61572   137613828@KACHIPYTEL.COM
24B282   2/9/2021   OB   2/12/2021   WN;569;BWI;DEN                          PENASHIRE              AL                 US   15387   137614719@KACHIPYTEL.COM
24B282   2/9/2021   OB   2/12/2021   WN;569;BWI;DEN                          PENASHIRE              AL                 US   15387   137614719@KACHIPYTEL.COM
24FV35   2/9/2021   OB   2/15/2021   WN;3757;LAX;OAK;WN;4757;OAK;LAS         NORTH GEORGESIDE       IL                 US   90274   137615115@KACHIPYTEL.COM
24L3GG   2/9/2021   OB   2/15/2021   WN;3134;DTW;BWI;WN;2411;BWI;ATL         PAULASTAD              MS                 US   18884   137615687@KACHIPYTEL.COM
24NXZP   2/9/2021   OB   2/11/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW          NEW WAYNEMOUTH         NV                 US   31127   137615962@KACHIPYTEL.COM
24P8EK   2/9/2021   OB   2/10/2021   WN;3796;MDW;ATL;WN;2246;ATL;STL         COOLAAPPUUR            TRIPURA            IN   55872   137616259@KACHIPYTEL.COM
24QWFS   2/9/2021   OB   2/10/2021   WN;360;ATL;BWI                          SARAHTOWN              AR                 US   21772   137616094@KACHIPYTEL.COM
24SCO8   2/9/2021   OB   2/24/2021   WN;3804;LGA;STL;WN;4483;STL;DAL         NORTH BRIANCHESTER     OK                 US   39065   137616171@KACHIPYTEL.COM
24VRQR   2/9/2021   OB   2/10/2021   WN;3124;DTW;BNA                         NEW JUSTIN             MT                 US   53385   137616853@KACHIPYTEL.COM
24VRQR   2/9/2021   OB   2/10/2021   WN;3124;DTW;BNA                         NEW JUSTIN             MT                 US   53385   137616853@KACHIPYTEL.COM
258XGF   2/9/2021   OB   2/16/2021   WN;4315;SEA;DEN                         LORIBURGH              MS                 US   96722   137617854@KACHIPYTEL.COM
25BFAE   2/9/2021   OB   2/10/2021   WN;1490;LAS;SMF;WN;4877;SMF;LGB         LAKE BENJAMINSTAD      SWANSEA ABERTAWE   GB   43965   137617799@KACHIPYTEL.COM
25D82Y   2/9/2021   OB   2/15/2021   WN;3804;LGA;STL;WN;5072;STL;FLL         EAST RICHARDSTAD       IN                 US   96512   137618294@KACHIPYTEL.COM
25GCPG   2/9/2021   OB   2/14/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA         STEELEHAVEN            IL                 US   49362   137618591@KACHIPYTEL.COM
25QPLY   2/9/2021   OB   2/10/2021   WN;1265;LAX;PHX                         DIANAVILLE             CO                 US   14611   137619581@KACHIPYTEL.COM
25SF5D   2/9/2021   OB   2/25/2021   WN;1370;BNA;HOU;WN;1640;HOU;FLL         WEST BRANDISTAD        SC                 US   37221   137619658@KACHIPYTEL.COM




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25SQMN    2/9/2021   OB   2/11/2021   WN;4615;PHX;MDW;WN;4792;MDW;CVG          HAMILTONPORT          WA                      US   29953   137619702@KACHIPYTEL.COM
25Z256    2/9/2021   OB   2/12/2021   WN;3343;LGA;ATL;WN;6002;ATL;OKC          ROBINSONBERG          TX                      US   98922   137619966@KACHIPYTEL.COM
4HDZ5N    2/9/2021   OB    2/9/2021   WN;2255;BOS;BWI;WN;2584;BWI;BUF          NEW JUDITHPORT        NV                      US   28377   137531746@KACHIPYTEL.COM
4HE4KK    2/9/2021   OB   2/13/2021   WN;1492;LAS;SMF                          HERNANDEZBERG         MI                      US   44791   137531823@KACHIPYTEL.COM
4HG49Y    2/9/2021   OB   4/16/2021   WN;426;BWI;LAS;WN;427;LAS;LGB            WEST JOSEVILLE        OK                      US   20172   137381288.1547045@KACHIPYTEL.COM
4HITBQ    2/9/2021   OB   2/18/2021   WN;2234;LAX;STL;WN;1933;STL;MDW          NEW JOSHUA            CA                      US   85523   137532318@KACHIPYTEL.COM
4HKZFU    2/9/2021   OB    2/9/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW          WEST LINDATON         ND                      US   64952   137532494@KACHIPYTEL.COM
4HQYUY    2/9/2021   OB   2/11/2021   WN;6201;OAK;SAN;WN;2883;SAN;LAS          AZEVEDO DA PRATA      ALAGOAS                 BR   83220   137532582@KACHIPYTEL.COM
4HQYUY    2/9/2021   OB   2/11/2021   WN;6201;OAK;SAN;WN;2883;SAN;LAS          AZEVEDO DA PRATA      ALAGOAS                 BR   83220   137532582@KACHIPYTEL.COM
4HSBQ5    2/9/2021   OB   2/10/2021   WN;534;PHX;STL;WN;1365;STL;LIT           NORTH JENNIFERTON     FL                      US   92340   137533418@KACHIPYTEL.COM
4HT2AV    2/9/2021   OB   2/13/2021   WN;4254;SLC;OAK;WN;3684;OAK;LGB;WN;3684PEREZCHESTER            VT                      US   79651   137533451@KACHIPYTEL.COM
4HT2AV    2/9/2021   OB   2/13/2021   WN;4254;SLC;OAK;WN;3684;OAK;LGB;WN;3684PEREZCHESTER            VT                      US   79651   137533451@KACHIPYTEL.COM
4I7GOW    2/9/2021   OB   2/12/2021   WN;3714;LAX;BWI;WN;3933;BWI;DTW          MAYMOUTH              OR                      US   96168   137534254@KACHIPYTEL.COM
4I7NMD    2/9/2021   OB    2/9/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW          PILAAY                TELANGANA               IN   10159   137534782@KACHIPYTEL.COM
4I8FNQ    2/9/2021   OB   2/23/2021   WN;791;IAD;ATL;WN;3082;ATL;MCO           SMITHMOUTH            MD                      US   29527   137534298@KACHIPYTEL.COM
4IAOJX    2/9/2021   OB   2/19/2021   WN;6003;OMA;ATL;WN;1966;ATL;DEN          JACOBVILLE            NJ                      US   28409   137534463@KACHIPYTEL.COM
4IAOJX    2/9/2021   OB   2/19/2021   WN;6003;OMA;ATL;WN;1966;ATL;DEN          JACOBVILLE            NJ                      US   28409   137534463@KACHIPYTEL.COM
4ICIFS    2/9/2021   OB    2/9/2021   WN;282;SAN;LAS;WN;2531;LAS;BWI           LAKE JUSTIN           MD                      US    9648   137535134@KACHIPYTEL.COM
4INBG5    2/9/2021   OB    2/9/2021   WN;346;SJU;BWI;WN;2531;BWI;TPA           NEW KELLY             SUNDERLAND              GB   18016   137536080@KACHIPYTEL.COM
4INBG5    2/9/2021   OB    2/9/2021   WN;346;SJU;BWI;WN;2531;BWI;TPA           NEW KELLY             SUNDERLAND              GB   18016   137536080@KACHIPYTEL.COM
4ISE2P    2/9/2021   OB   2/10/2021   WN;4836;SEA;OAK;WN;4757;OAK;LAS          SHAWNFURT             ID                      US   86801   137536168@KACHIPYTEL.COM
4J4S2S    2/9/2021   OB    2/9/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP          SOUTH CALVIN          ID                      US   81423   137537246@KACHIPYTEL.COM
4JCPLQ    2/9/2021   OB   2/25/2021   WN;2755;BWI;LAS;WN;3337;LAS;PDX          OSBORNLAND            CT                      US    5543   137537422@KACHIPYTEL.COM
4JE33Q    2/9/2021   OB   2/12/2021   WN;1914;LGA;MDW;WN;2627;MDW;OKC          EAST DAVIDBOROUGH     AL                      US   73476   137537741@KACHIPYTEL.COM
4JH3W2    2/9/2021   OB   2/11/2021   WN;244;BOS;BWI;WN;2180;BWI;MDW           WEST TYLERSTAD        SC                      US   82590   137537939@KACHIPYTEL.COM
4JH3W2    2/9/2021   OB   2/11/2021   WN;244;BOS;BWI;WN;2180;BWI;MDW           WEST TYLERSTAD        SC                      US   82590   137537939@KACHIPYTEL.COM
4JLKPU    2/9/2021   OB    2/9/2021   WN;3223;LAS;MDW                          WEST AMYSHIRE         TN                      US   70335   137538434@KACHIPYTEL.COM
4KC2S5    2/9/2021   OB   2/14/2021   WN;4124;MDW;SMF;WN;6022;SMF;SAN          BALDWINLAND           MI                      US   62447   137540502@KACHIPYTEL.COM
4KDUUW    2/9/2021   OB   3/12/2021   WN;2150;BWI;LAS;WN;465;LAS;LGB           SWEENEYTOWN           WY                      US    3643   137540777@KACHIPYTEL.COM
4KFHDQ    2/9/2021   OB   2/13/2021   WN;3196;ATL;SAT;WN;3201;SAT;DAL          LAKE KAYLABERG        CA                      US   90451   137540953@KACHIPYTEL.COM
4KHV67    2/9/2021   OB   2/10/2021   WN;3685;LAS;PHX;WN;2722;PHX;LGB          WEST SHAWN            DE                      US   13698   137541151@KACHIPYTEL.COM
4KLAVA    2/9/2021   OB   2/10/2021   WN;1997;MCO;DEN;WN;569;DEN;OAK           JONESMOUTH            IN                      US   28714   137541195@KACHIPYTEL.COM
4KRQ8P    2/9/2021   OB   2/20/2021   WN;1533;ORD;BWI;WN;1420;BWI;LAX          DIAZFORT              MO                      US   68779   137541635@KACHIPYTEL.COM
4KYABL    2/9/2021   OB   2/10/2021   WN;776;LAS;MDW;WN;3167;MDW;MSP           EAST MARKLAND         ID                      US   25910   137542482@KACHIPYTEL.COM
4L232X    2/9/2021   OB    2/9/2021   WN;1588;TPA;MDW;WN;3663;MDW;SEA          CISNEROSCHESTER       AR                      US   32633   137542405@KACHIPYTEL.COM
4L232X    2/9/2021   OB    2/9/2021   WN;1588;TPA;MDW;WN;3663;MDW;SEA          CISNEROSCHESTER       AR                      US   32633   137542405@KACHIPYTEL.COM
4L5KY8    2/9/2021   OB   2/12/2021   WN;3292;FLL;STL;WN;1941;STL;MDW          EAST RIINA            JARVAMAA                EE    4950   137542988@KACHIPYTEL.COM
4LF9UP    2/9/2021   OB    2/9/2021   WN;3551;TPA;BUF;WN;3551;BUF;BWI;WN;3111SOUTH JOSEPHVILLE       CO                      US   63808   137543538@KACHIPYTEL.COM
4LT9UC    2/9/2021   OB    2/9/2021   WN;3343;LGA;ATL                          MICHELLECHESTER       MO                      US    1327   137544616@KACHIPYTEL.COM
4LXBCD    2/9/2021   OB    2/9/2021   WN;1588;TPA;MDW;WN;3663;MDW;SEA          GARYFURT              OK                      US   42130   137544726@KACHIPYTEL.COM
4M3G7R    2/9/2021   OB    2/9/2021   WN;2863;FLL;DEN                          BRADLEYVIEW           WV                      US   47088   137544803@KACHIPYTEL.COM
4M9EIR    2/9/2021   OB    2/9/2021   WN;715;ATL;BWI                           EAST AMYTON           VA                      US   50079   137545441@KACHIPYTEL.COM
4ME7RX    2/9/2021   OB   2/17/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 CASEYFORT               WI                      US   64691   137545529@KACHIPYTEL.COM
4ME7RX    2/9/2021   OB   2/17/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 CASEYFORT               WI                      US   64691   137545529@KACHIPYTEL.COM
4MWT7P    2/9/2021   OB   2/28/2021   WN;4562;HOU;BNA;WN;1966;BNA;ATL          SOUTH CONNORBURGH     NE                      US   34273   137546354@KACHIPYTEL.COM
4MXNFR    2/9/2021   OB   2/10/2021   WN;534;PHX;STL;WN;1365;STL;LIT           EDWARDFURT            AZ                      US   12155   137546343@KACHIPYTEL.COM
4MYQBC    2/9/2021   OB    2/9/2021   WN;2531;LAS;BWI                          JACOBCHESTER          MO                      US   29403   137546629@KACHIPYTEL.COM
4N2IF4    2/9/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW          RYANMOUTH             KS                      US   38562   137546354@KACHIPYTEL.COM
4NY9EL    2/9/2021   OB   2/10/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           AMBERHAVEN            AZ                      US   21877   137548840@KACHIPYTEL.COM
4O2MIX    2/9/2021   OB   2/10/2021   WN;2607;PHX;DAL;WN;2044;DAL;DCA          NEW WILLIAMMOUTH      CA                      US   18023   137548554@KACHIPYTEL.COM
4O2MIX    2/9/2021   OB   2/10/2021   WN;2607;PHX;DAL;WN;2044;DAL;DCA          NEW WILLIAMMOUTH      CA                      US   18023   137548554@KACHIPYTEL.COM
4OCUU8    2/9/2021   OB    2/9/2021   WN;3368;ATL;HOU                          SHEPHERDHAVEN         NM                      US   74301   137549478@KACHIPYTEL.COM
4ODNPY    2/9/2021   OB   2/10/2021   WN;1888;PHX;LAS;WN;1900;LAS;SEA          TAHIKAWANGAURU        NORTH ISLAND            NZ   97777   137549500@KACHIPYTEL.COM
4OPJ55    2/9/2021   OB   2/20/2021   WN;3367;MCO;BWI;WN;3560;BWI;CLT          WHITEMOUTH            CO                      US   56137   137550820@KACHIPYTEL.COM
4PQQFN    2/9/2021   OB    2/9/2021   WN;800;PHX;AUS;WN;4065;AUS;LGB           SOUTH EDDIEPORT       IA                      US   31529   137553185@KACHIPYTEL.COM
4QVCHP    2/9/2021   OB    2/9/2021   WN;3167;MSP;DEN;WN;1966;DEN;LAS          NYSA                  MAZOWIECKIE             PL   44166   137557332@KACHIPYTEL.COM
4SGS6V    2/9/2021   OB   2/10/2021   WN;4858;LAS;TPA;WN;2288;TPA;MIA          BROWNSIDE             TN                      US   72205   137564108@KACHIPYTEL.COM
4T3TQT    2/9/2021   OB   2/25/2021   WN;3254;MDW;AUS;WN;4065;AUS;LGB          EAST ELIZABETH        TX                      US   51533   137566693@KACHIPYTEL.COM
4TOK2F    2/9/2021   OB   2/10/2021   WN;2978;BOS;BWI;WN;680;BWI;MDW           GREENBOROUGH          OH                      US   41205   137569564@KACHIPYTEL.COM
4USE39    2/9/2021   OB   2/12/2021   WN;2246;ATL;STL;WN;1933;STL;MDW          NEW DANIEL            VA                      US   75546   137574866@KACHIPYTEL.COM
4V8GI4    2/9/2021   OB   2/14/2021   WN;5013;MIA;TPA;WN;3448;TPA;MSY          SOUTH CHRISTINAVIEW   WY                      US   84211   137577154@KACHIPYTEL.COM
4V8IEY    2/9/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY          TORRESFORT            CO                      US   26638   137577286@KACHIPYTEL.COM
4VCMDH    2/9/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY          MARYHAVEN             AR                      US   70536   137577561@KACHIPYTEL.COM
4VCMDH    2/9/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY          MARYHAVEN             AR                      US   70536   137577561@KACHIPYTEL.COM
4VPTV4    2/9/2021   OB   2/12/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           COXBURGH              IA                      US   75669   137580179@KACHIPYTEL.COM
4VTEI4    2/9/2021   OB   2/16/2021   WN;5034;MDW;BWI;WN;3984;BWI;FLL          NORTH JOHN            OK                      US   44826   137580146@KACHIPYTEL.COM
4VTSEG    2/9/2021   OB   2/21/2021   WN;2044;DCA;MDW;WN;2253;MDW;MCO          JOELSTAD              LA                      US   48405   137580146@KACHIPYTEL.COM
4VX72Y    2/9/2021   OB   2/15/2021   WN;2969;DCA;STL                          NEW CRAIGMOUTH        NE                      US   59500   137580641@KACHIPYTEL.COM
4WUY7M    2/9/2021   OB   2/20/2021   WN;4560;MSY;BWI;WN;1597;BWI;ORD          SHAWNBOROUGH          ND                      US   29922   137587472@KACHIPYTEL.COM
4X2PMG    2/9/2021   OB   2/12/2021   WN;3725;LAX;HOU                          JEANNETOWN            NJ                      US   63243   137589188@KACHIPYTEL.COM
4X4H59    2/9/2021   OB   2/12/2021   WN;3343;LGA;ATL                          LONGTOWN              NC                      US   59822   137589111@KACHIPYTEL.COM
4X8HZR    2/9/2021   OB   2/17/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 ANTHONYTOWN             LA                      US    3455   137589507@KACHIPYTEL.COM
4XCL6C    2/9/2021   OB   2/22/2021   WN;907;MBJ;BWI;WN;3984;BWI;FLL           MELLEKFALVA           ERD                     HU   65590   137590134@KACHIPYTEL.COM
4XDFLO    2/9/2021   OB    2/9/2021   WN;3967;MCO;BWI;WN;3111;BWI;BOS          WEST ROBERTMOUTH      ID                      US   38263   137590717@KACHIPYTEL.COM
4XFJWR    2/9/2021   OB   2/10/2021   WN;3239;BWI;LAS;WN;3239;LAS;LAX;WN;4287; JOHNSONBERG           TX                      US   15198   137590057@KACHIPYTEL.COM
4XII4F    2/9/2021   OB    2/9/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           PORT KAYLEE           WA                      US   27694   137590871@KACHIPYTEL.COM
4XII4F    2/9/2021   OB    2/9/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           PORT KAYLEE           WA                      US   27694   137590871@KACHIPYTEL.COM
4Y8A8E    2/9/2021   OB   2/17/2021   WN;170;MCO;DEN;WN;3927;DEN;LAX           NORTH MICHAELSIDE     NH                      US   45271   137595348@KACHIPYTEL.COM
4YETHZ    2/9/2021   OB   2/10/2021   WN;2232;OMA;DEN;WN;2216;DEN;PDX          LAKE BETHANYBURY      VA                      US     556   137596822@KACHIPYTEL.COM
4YKSA6    2/9/2021   OB   2/12/2021   WN;2151;CHS;BNA;WN;2078;BNA;PIT          WEST REBECCALAND      TN                      US   26562   137598329@KACHIPYTEL.COM
4YUNCV    2/9/2021   OB   2/16/2021   WN;2101;AUS;DEN;WN;4346;DEN;LAX          LHAAN                 MADHYA PASHCHIMANCHAL   NP   62640   137599704@KACHIPYTEL.COM
4ZD98X    2/9/2021   OB   3/12/2021   WN;372;BUF;BWI;WN;2142;BWI;BOS           CLARKTOWN             FL                      US   50933   137594897@KACHIPYTEL.COM
4ZEK9J    2/9/2021   OB    3/6/2021   WN;2090;BNA;HOU;WN;2920;HOU;ATL          APRILBURGH            FL                      US    2830   137602091@KACHIPYTEL.COM
4ZEK9J    2/9/2021   OB    3/6/2021   WN;2090;BNA;HOU;WN;2920;HOU;ATL          APRILBURGH            FL                      US    2830   137602091@KACHIPYTEL.COM
4ZEM95    2/9/2021   OB   4/22/2021   WN;647;DCA;BNA;WN;776;BNA;CLE            LEONARDVIEW           GLASGOW CITY            GB   65141   137602190@KACHIPYTEL.COM
4ZESZX    2/9/2021   OB    3/9/2021   WN;4562;HOU;BNA;WN;5006;BNA;DAL          WENDYFORT             FL                      US   83589   137602091@KACHIPYTEL.COM
4ZESZX    2/9/2021   OB    3/9/2021   WN;4562;HOU;BNA;WN;5006;BNA;DAL          WENDYFORT             FL                      US   83589   137602091@KACHIPYTEL.COM
4ZMVR3    2/9/2021   OB   2/12/2021   WN;6020;SLC;SAN;WN;1541;SAN;DEN          NIINAMOUTH            RAPLAMAA                EE   78593   137603972@KACHIPYTEL.COM
26JPN5   2/10/2021   OB   4/22/2021   WN;432;OMA;LAS;WN;1943;LAS;SEA           SAMANTHAFORT          UT                      US    1997   137621770@KACHIPYTEL.COM
26LWZI   2/10/2021   OB   2/20/2021   WN;4642;LAS;AUS;WN;795;AUS;DAL;WN;795;DATODDSHIRE              KY                      US   75978   137621902@KACHIPYTEL.COM
26OAC2   2/10/2021   OB   2/23/2021   WN;2028;AUS;LAS;WN;3239;LAS;LAX          SOUTH JESSICA         CT                      US   59569   137621902@KACHIPYTEL.COM
26THWH   2/10/2021   OB   2/10/2021   WN;1124;OAK;LAS;WN;3737;LAS;GEG          LAKE ANNASHIRE        WA                      US   84229   137622518@KACHIPYTEL.COM
26THWH   2/10/2021   OB   2/10/2021   WN;1124;OAK;LAS;WN;3737;LAS;GEG          LAKE ANNASHIRE        WA                      US   84229   137622518@KACHIPYTEL.COM
273DNS   2/10/2021   OB   2/10/2021   WN;2755;BWI;LAS;WN;3337;LAS;PDX          JULIESIDE             MS                      US   54806   137623354@KACHIPYTEL.COM
2788Q3   2/10/2021   OB   2/10/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW           RICHARDSONSHIRE       LA                      US   90145   137623673@KACHIPYTEL.COM
27DC3E   2/10/2021   OB   2/10/2021   WN;441;ATL;DEN;WN;4986;DEN;MSP           PORT JAIMEPORT        DE                      US   36342   137624179@KACHIPYTEL.COM
27DC3E   2/10/2021   OB   2/10/2021   WN;441;ATL;DEN;WN;4986;DEN;MSP           PORT JAIMEPORT        DE                      US   36342   137624179@KACHIPYTEL.COM
27HM5W   2/10/2021   OB   2/12/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW           MOLLYSHIRE            NC                      US   66051   137624388@KACHIPYTEL.COM
27NCBB   2/10/2021   OB   2/13/2021   WN;3696;LAX;SJC;WN;1564;SJC;PHX          LEESHIRE              RI                      US    4328   137624751@KACHIPYTEL.COM
27R2SM   2/10/2021   OB   2/12/2021   WN;2664;BOS;BNA;WN;2931;BNA;MDW          EAST ELIJAH           IL                      US   56285   137625169@KACHIPYTEL.COM
27XH93   2/10/2021   OB   3/15/2021   WN;598;DTW;PHX;WN;6021;PHX;LAS           EAST MICHELLEMOUTH    AR                      US    9099   137625653@KACHIPYTEL.COM
27XH93   2/10/2021   OB   3/15/2021   WN;598;DTW;PHX;WN;6021;PHX;LAS           EAST MICHELLEMOUTH    AR                      US    9099   137625653@KACHIPYTEL.COM
283S3V   2/10/2021   OB   2/12/2021   WN;4022;MDW;BWI;WN;2510;BWI;BOS          CALLAHANVILLE         MD                      US   34512   137625763@KACHIPYTEL.COM
284HTC   2/10/2021   OB   2/15/2021   WN;3033;DEN;SNA;WN;3033;SNA;SMF;WN;484 MICHAELBERG             WY                      US    3117   137625884@KACHIPYTEL.COM
284HTC   2/10/2021   OB   2/15/2021   WN;3033;DEN;SNA;WN;3033;SNA;SMF;WN;484 MICHAELBERG             WY                      US    3117   137625884@KACHIPYTEL.COM




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288HYC   2/10/2021   OB   3/13/2021   WN;2534;IAD;ATL;WN;2780;ATL;GSP         LAKE TAYLOR            AL                 US   60271   137626137@KACHIPYTEL.COM
28B4KO   2/10/2021   OB   2/12/2021   WN;6020;SLC;SAN;WN;1541;SAN;DEN         PENNINGTONBERG         TN                 US   48645   137626511@KACHIPYTEL.COM
28C9EI   2/10/2021   OB   2/11/2021   WN;2234;LAX;STL;WN;4818;STL;DCA         CROSSSHIRE             OR                 US   99353   137626291@KACHIPYTEL.COM
28DOK9   2/10/2021   OB   2/11/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX         PORT ASHLEYBURY        GA                 US   40574   137626654@KACHIPYTEL.COM
28GDPP   2/10/2021   OB   5/15/2021   WN;3407;LAS;BNA;WN;3703;BNA;MIA         NORTH JAMES            WA                 US   20072   137626808@KACHIPYTEL.COM
28GDPP   2/10/2021   OB   5/15/2021   WN;3407;LAS;BNA;WN;3703;BNA;MIA         NORTH JAMES            WA                 US   20072   137626808@KACHIPYTEL.COM
28LI6Z   2/10/2021   OB   2/10/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX         NEW ROBIN              AK                 US   20932   137627325@KACHIPYTEL.COM
28LI6Z   2/10/2021   OB   2/10/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX         NEW ROBIN              AK                 US   20932   137627325@KACHIPYTEL.COM
28OOYY   2/10/2021   OB   3/25/2021   WN;2102;RNO;LAS;WN;2161;LAS;LAX         WEST JONATHAN          UT                 US   50603   137627611@KACHIPYTEL.COM
28OOYY   2/10/2021   OB   3/25/2021   WN;2102;RNO;LAS;WN;2161;LAS;LAX         WEST JONATHAN          UT                 US   50603   137627611@KACHIPYTEL.COM
28PQMJ   2/10/2021   OB   2/20/2021   WN;3645;MDW;OKC;WN;4718;OKC;DEN         NEW CARLAFURT          AL                 US   43733   137627941@KACHIPYTEL.COM
28T7CR   2/10/2021   OB    3/6/2021   WN;3715;OKC;MDW;WN;945;MDW;HOU          ANTHONYCHESTER         OR                 US   19413   137627941@KACHIPYTEL.COM
293OO7   2/10/2021   OB   2/10/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP         NUEVA CANADA           MEXICO             MX   51362   137628700@KACHIPYTEL.COM
293QGM   2/10/2021   OB   2/17/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         RANDYLAND              MA                 US   63150   137628557@KACHIPYTEL.COM
2947QX   2/10/2021   OB   2/10/2021   WN;5014;ATL;DEN                         PORT STEVEN            ID                 US   54706   137628689@KACHIPYTEL.COM
2947QX   2/10/2021   OB   2/10/2021   WN;5014;ATL;DEN                         PORT STEVEN            ID                 US   54706   137628689@KACHIPYTEL.COM
29AIM4   2/10/2021   OB   2/18/2021   WN;6002;ATL;OKC;WN;3107;OKC;HOU         CODYBURY               MT                 US   20325   137628898@KACHIPYTEL.COM
29S9TJ   2/10/2021   OB   2/10/2021   WN;2239;BNA;FLL;WN;1438;FLL;RIC         NORTH UNLEN            GIRESUN            TR   73750   137630889@KACHIPYTEL.COM
29W4K6   2/10/2021   OB   2/17/2021   WN;3714;LAX;BWI                         RENEEMOUTH             SC                 US   30746   137630768@KACHIPYTEL.COM
29W7LF   2/10/2021   OB   2/12/2021   WN;2773;ATL;BNA;WN;3585;BNA;DTW         KRISTINABERG           HI                 US   62630   137631109@KACHIPYTEL.COM
2A93JP   2/10/2021   OB   2/14/2021   WN;441;MSP;MDW;WN;2457;MDW;LAS          HOLAND                 WI                 US   32765   137631615@KACHIPYTEL.COM
2A93JP   2/10/2021   OB   2/14/2021   WN;441;MSP;MDW;WN;2457;MDW;LAS          HOLAND                 WI                 US   32765   137631615@KACHIPYTEL.COM
2AANWB   2/10/2021   OB   2/18/2021   WN;534;PHX;STL;WN;1365;STL;LIT          MARIATOWN              OR                 US   94933   137631714@KACHIPYTEL.COM
2AANWB   2/10/2021   OB   2/18/2021   WN;534;PHX;STL;WN;1365;STL;LIT          MARIATOWN              OR                 US   94933   137631714@KACHIPYTEL.COM
2AANWB   2/10/2021   OB   2/18/2021   WN;534;PHX;STL;WN;1365;STL;LIT          MARIATOWN              OR                 US   94933   137631714@KACHIPYTEL.COM
2ALN85   2/10/2021   OB   2/10/2021   WN;2770;MCO;DEN;WN;2369;DEN;LGB         WEST MANUELPORT        LA                 US   21637   137632407@KACHIPYTEL.COM
2APZS4   2/10/2021   OB   2/10/2021   WN;3075;MIA;BWI;WN;4830;BWI;ALB         AUSTINSTAD             AR                 US   74861   137632704@KACHIPYTEL.COM
2ASWJA   2/10/2021   OB   2/10/2021   WN;3920;LAX;MDW;WN;3388;MDW;MCO         NEW ALFREDPORT         GA                 US   13686   137633001@KACHIPYTEL.COM
2B35FQ   2/10/2021   OB   2/13/2021   WN;1402;DAL;DCA                         EAST JOSEPHVILLE       MO                 US   17782   137633694@KACHIPYTEL.COM
2BCANB   2/10/2021   OB   2/13/2021   WN;4507;ATL;STL;WN;3748;STL;MDW         AMRAAVTI               HIMACHAL PRADESH   IN   27452   137634420@KACHIPYTEL.COM
2BHEE3   2/10/2021   OB   2/22/2021   WN;4315;SEA;DEN;WN;4300;DEN;SNA         JAMESPORT              KS                 US   42781   137634409@KACHIPYTEL.COM
2BOIW6   2/10/2021   OB   2/10/2021   WN;4547;PHL;ATL                         JODIECHESTER           ISLES OF SCILLY    GB   25237   137635190@KACHIPYTEL.COM
2BTUTM   2/10/2021   OB   2/14/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL          LEBURY                 NY                 US   63203   137635157@KACHIPYTEL.COM
2BV6PD   2/10/2021   OB   2/17/2021   WN;4022;MDW;BWI;WN;1923;BWI;BOS         PORT CAITLINTOWN       AZ                 US   65531   137635289@KACHIPYTEL.COM
2BV6PD   2/10/2021   OB   2/17/2021   WN;4022;MDW;BWI;WN;1923;BWI;BOS         PORT CAITLINTOWN       AZ                 US   65531   137635289@KACHIPYTEL.COM
2BWTG6   2/10/2021   OB   2/13/2021   WN;2413;MIA;TPA                         LENDAVA                MIRNA PEC          SI   26243   137635718@KACHIPYTEL.COM
2C34ZU   2/10/2021   OB   2/13/2021   WN;1765;ATL;BNA;WN;4592;BNA;TPA         WILLIAMCHESTER         WA                 US   79076   137635784@KACHIPYTEL.COM
2C5DIP   2/10/2021   OB   2/10/2021   WN;4596;PHX;LAS                         KEVINBURY              WY                 US   70910   137636092@KACHIPYTEL.COM
2CEJV3   2/10/2021   OB   2/10/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY         JERRYVIEW              FL                 US   30100   137636818@KACHIPYTEL.COM
2CEYRO   2/10/2021   OB   5/10/2021   WN;1501;MSY;OAK;WN;680;OAK;LGB          LEELAND                WY                 US   38641   137636422@KACHIPYTEL.COM
2CEYRO   2/10/2021   OB   5/10/2021   WN;1501;MSY;OAK;WN;680;OAK;LGB          LEELAND                WY                 US   38641   137636422@KACHIPYTEL.COM
2CJT7W   2/10/2021   OB    3/7/2021   WN;112;ATL;PHX;WN;549;PHX;LGB           LAKE RONALD            TN                 US   75220   137637159@KACHIPYTEL.COM
2CZHSI   2/10/2021   OB   2/16/2021   WN;1978;BUR;SMF;WN;1491;SMF;LAS         LAKE ANDRETOWN         SC                 US   66955   137637995@KACHIPYTEL.COM
2EXWW5   2/10/2021   OB   2/16/2021   WN;3033;DEN;SNA;WN;3033;SNA;SMF;WN;484 KIMBERLYVIEW            NC                 US   59762   137643759@KACHIPYTEL.COM
2EXWW5   2/10/2021   OB   2/16/2021   WN;3033;DEN;SNA;WN;3033;SNA;SMF;WN;484 KIMBERLYVIEW            NC                 US   59762   137643759@KACHIPYTEL.COM
2F8A9X   2/10/2021   OB   2/13/2021   WN;4664;LAX;PHX;WN;3772;PHX;BWI         ALICIABOROUGH          SC                 US   87901   137645706@KACHIPYTEL.COM
2FXRGL   2/10/2021   OB   2/10/2021   WN;3714;LAX;BWI;WN;1588;BWI;MSY         SOUTH LINDASIDE        ME                 US   25108   137649732@KACHIPYTEL.COM
2IQMJP   2/10/2021   OB   2/20/2021   WN;4742;DCA;MDW;WN;3908;MDW;FLL         WEST DEBRA             AZ                 US   75017   137664956@KACHIPYTEL.COM
2IQMJP   2/10/2021   OB   2/20/2021   WN;4742;DCA;MDW;WN;3908;MDW;FLL         WEST DEBRA             AZ                 US   75017   137664956@KACHIPYTEL.COM
2ISCGO   2/10/2021   OB   3/22/2021   WN;539;CMH;BWI;WN;1777;BWI;MIA          MICHELLEBURGH          OR                 US   51726   137665726@KACHIPYTEL.COM
2JIPVR   2/10/2021   OB   2/15/2021   WN;2003;ATL;BWI;WN;1670;BWI;ORD         PAMELAPORT             DE                 US   20077   137668960@KACHIPYTEL.COM
2KMEUP   2/10/2021   OB   2/10/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS         JENKINSLAND            NY                 US   21340   137674471@KACHIPYTEL.COM
2KTSJW   2/10/2021   OB   2/15/2021   WN;1898;CLT;DEN;WN;4476;DEN;MSY;WN;4476WEST KATHRYNBERG        IN                 US   72332   137674900@KACHIPYTEL.COM
2LFRYD   2/10/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY         ANDERSONFURT           MI                 US   28226   137678530@KACHIPYTEL.COM
2LWBPV   2/10/2021   OB   2/21/2021   WN;2234;LAX;STL;WN;3301;STL;FLL         JOHNSONHAVEN           CA                 US   15174   137680268@KACHIPYTEL.COM
2LZXHE   2/10/2021   OB    3/5/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP         JASONBURGH             DE                 US   59432   137681808@KACHIPYTEL.COM
2M9WR9   2/10/2021   OB    4/2/2021   WN;1527;PDX;PHX;WN;1784;PHX;OAK         MELISSAFURT            UT                 US   36929   137682215@KACHIPYTEL.COM
2M9WR9   2/10/2021   OB    4/2/2021   WN;1527;PDX;PHX;WN;1784;PHX;OAK         MELISSAFURT            UT                 US   36929   137682215@KACHIPYTEL.COM
2M9WR9   2/10/2021   OB    4/2/2021   WN;1527;PDX;PHX;WN;1784;PHX;OAK         MELISSAFURT            UT                 US   36929   137682215@KACHIPYTEL.COM
2MI2VG   2/10/2021   OB   2/13/2021   WN;4703;MKE;LAS;WN;934;LAS;TPA          JAMESTON               ND                 US   44671   137684206@KACHIPYTEL.COM
2MK6K3   2/10/2021   OB   2/24/2021   WN;2708;LGA;MDW;WN;4172;MDW;DAL         NORTH WILLIAM          NM                 US     960   137683326@KACHIPYTEL.COM
2MQRDW   2/10/2021   OB   2/28/2021   WN;3379;HOU;BNA;WN;1319;BNA;ORD         FORDBURY               ND                 US   39481   137685009@KACHIPYTEL.COM
2MSPJZ   2/10/2021   OB   2/24/2021   WN;4790;BNA;HOU;WN;5040;HOU;ATL         TODDFURT               NJ                 US   25207   137685009@KACHIPYTEL.COM
2MTKGB   2/10/2021   OB   2/13/2021   WN;3483;SNA;LAS                         NEW ERICPORT           WY                 US   81144   137685570@KACHIPYTEL.COM
2MTKGB   2/10/2021   OB   2/13/2021   WN;3483;SNA;LAS                         NEW ERICPORT           WY                 US   81144   137685570@KACHIPYTEL.COM
2MTNHS   2/10/2021   OB   2/21/2021   WN;2467;BWI;DEN;WN;1898;DEN;LGB         NEW JASON              CT                 US   20255   137685713@KACHIPYTEL.COM
2MTNHS   2/10/2021   OB   2/21/2021   WN;2467;BWI;DEN;WN;1898;DEN;LGB         NEW JASON              CT                 US   20255   137685713@KACHIPYTEL.COM
2MW4TV   2/10/2021   OB   2/21/2021   WN;2467;BWI;DEN;WN;1898;DEN;LGB         NORTH JONATHANSTAD     GA                 US    8869   137685713@KACHIPYTEL.COM
2MYV3B   2/10/2021   OB   2/16/2021   WN;1990;ATL;BWI;WN;4727;BWI;FLL         WELLSTOWN              SD                 US    2518   137686241@KACHIPYTEL.COM
2MZHF5   2/10/2021   OB   2/19/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL         KENNETHLAND            ID                 US    3637   137686461@KACHIPYTEL.COM
2N66EJ   2/10/2021   OB   2/13/2021   WN;1743;PHX;LAS;WN;4045;LAS;SEA         PORT JUAN              NC                 US   13284   137686109@KACHIPYTEL.COM
2N66EJ   2/10/2021   OB   2/13/2021   WN;1743;PHX;LAS;WN;4045;LAS;SEA         PORT JUAN              NC                 US   13284   137686109@KACHIPYTEL.COM
2N6I5O   2/10/2021   OB   2/11/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW          POTTERFURT             MA                 US   91998   137686824@KACHIPYTEL.COM
2NBB7O   2/10/2021   OB   2/15/2021   WN;3948;ATL;FLL                         WELCHSHIRE             AR                 US   74455   137687550@KACHIPYTEL.COM
2NEBU6   2/10/2021   OB   2/12/2021   WN;2395;PHX;HOU;WN;3459;HOU;TUL         NORTH MICHAEL          MI                 US   18034   137688408@KACHIPYTEL.COM
2NGDFS   2/10/2021   OB   2/24/2021   WN;4015;MCO;STL;WN;4818;STL;DCA         JARVISVIEW             MI                 US   18493   137687671@KACHIPYTEL.COM
2NGDFS   2/10/2021   OB   2/24/2021   WN;4015;MCO;STL;WN;4818;STL;DCA         JARVISVIEW             MI                 US   18493   137687671@KACHIPYTEL.COM
2NMO8O   2/10/2021   OB   2/21/2021   WN;1059;BWI;DEN;WN;2369;DEN;LGB         STEPHANIESTAD          KS                 US   93852   137689552@KACHIPYTEL.COM
2O3PFP   2/10/2021   OB   2/26/2021   WN;2077;AUS;BNA;WN;2978;BNA;BOS         JEREMYPORT             NM                 US   51710   137692038@KACHIPYTEL.COM
2O6TVR   2/10/2021   OB   2/11/2021   WN;3348;LGA;ATL;WN;3254;ATL;RDU         JACKSONSIDE            NY                 US   72890   137693204@KACHIPYTEL.COM
2OJLHN   2/10/2021   OB   2/19/2021   WN;5034;MDW;BWI;WN;2593;BWI;BOS         WAIDHOFEN AN DER YBB   NIEDEROSTERREICH   AT   67180   137694755@KACHIPYTEL.COM
2OJLHN   2/10/2021   OB   2/19/2021   WN;5034;MDW;BWI;WN;2593;BWI;BOS         WAIDHOFEN AN DER YBB   NIEDEROSTERREICH   AT   67180   137694755@KACHIPYTEL.COM
2OL8P5   2/10/2021   OB   2/13/2021   WN;738;BWI;LAS;WN;4100;LAS;BUR;WN;4100;BPORT CARLABERG         KY                 US   45264   137695184@KACHIPYTEL.COM
2OZHAY   2/10/2021   OB   3/13/2021   WN;2875;BWI;STL;WN;2577;STL;LGB         FKHRFORT               KHAN YUNIS         PS   84208   137696559@KACHIPYTEL.COM
2P3NNG   2/10/2021   OB   3/20/2021   WN;2597;STL;BWI;WN;2619;BWI;CLE         WEST MNSWRTOWN         NORTH GAZA         PS   29880   137696999@KACHIPYTEL.COM
2P5QKQ   2/10/2021   OB   2/26/2021   WN;2246;ATL;STL;WN;3301;STL;FLL         ANGELAFURT             AR                 US   21474   137697164@KACHIPYTEL.COM
2P5QKQ   2/10/2021   OB   2/26/2021   WN;2246;ATL;STL;WN;3301;STL;FLL         ANGELAFURT             AR                 US   21474   137697164@KACHIPYTEL.COM
2PAF6B   2/10/2021   OB   2/17/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL         JOSEPHPORT             LA                 US   62739   137697824@KACHIPYTEL.COM
2PFAJT   2/10/2021   OB   2/11/2021   WN;1265;LAX;PHX;WN;4937;PHX;MSY         FRANKPORT              NM                 US   15394   137698352@KACHIPYTEL.COM
2PIRAJ   2/10/2021   OB   2/11/2021   WN;4393;OMA;LAS;WN;3630;LAS;ABQ         WEST TROY              WY                 US   22792   137699100@KACHIPYTEL.COM
2PIUKQ   2/10/2021   OB   2/11/2021   WN;4202;ATL;DEN                         PORT STEVEN            ID                 US   54706   137628689@KACHIPYTEL.COM
2PVI9Y   2/10/2021   OB   2/11/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB          GABRIELPORT            IA                 US   89542   137700871@KACHIPYTEL.COM
2Q33DD   2/10/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY         LEWISFURT              ME                 US   48177   137701564@KACHIPYTEL.COM
2QB76L   2/10/2021   OB   2/21/2021   WN;2234;LAX;STL;WN;3301;STL;FLL         KAAJUVAAKAA            DAMAN AND DIU      IN   69769   137702818@KACHIPYTEL.COM
2QLVQO   2/10/2021   OB   2/25/2021   WN;3326;PDX;OAK;WN;4715;OAK;PSP         NEW JENNIFER           WY                 US     796   137703368@KACHIPYTEL.COM
2R6N5W   2/10/2021   OB   2/12/2021   WN;2664;BOS;BNA;WN;2931;BNA;MDW         REYESFORT              WI                 US   85094   137705073@KACHIPYTEL.COM
2R6ZYB   2/10/2021   OB   2/11/2021   WN;3348;LGA;ATL                         NEW JILLFORT           WV                 US   95249   137705348@KACHIPYTEL.COM
2RFFUP   2/10/2021   OB   2/15/2021   WN;102;BWI;MIA                          POTTSBOROUGH           OR                 US   36731   137706635@KACHIPYTEL.COM
2RHRWW   2/10/2021   OB   2/17/2021   WN;3959;TPA;BWI;WN;3111;BWI;BOS         SOUTH MAUREEN          AZ                 US    3302   137706635@KACHIPYTEL.COM
2RO56Q   2/10/2021   OB   2/11/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP         NORTH CHRISTINA        TN                 US   62713   137707207@KACHIPYTEL.COM
2RT3YP   2/10/2021   OB   2/11/2021   WN;1888;PHX;LAS;WN;1900;LAS;SEA         NORTH DANIELLE         KS                 US   19162   137707790@KACHIPYTEL.COM
2RT3YP   2/10/2021   OB   2/11/2021   WN;1888;PHX;LAS;WN;1900;LAS;SEA         NORTH DANIELLE         KS                 US   19162   137707790@KACHIPYTEL.COM
2S3TNE   2/10/2021   OB   2/17/2021   WN;3959;TPA;BWI;WN;3111;BWI;BOS         EAST JORDAN            SD                 US    3772   137708384@KACHIPYTEL.COM
2S6ZTW   2/10/2021   OB   2/13/2021   WN;1807;PHX;SMF;WN;3099;SMF;SEA         LIUMOUTH               KS                 US   72742   137709055@KACHIPYTEL.COM
2SAFHJ   2/10/2021   OB   2/12/2021   WN;332;MIA;BWI;WN;5016;BWI;ALB          BAKERCHESTER           ID                 US   29058   137708747@KACHIPYTEL.COM




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2SCZ5X   2/10/2021   OB    3/1/2021   WN;4963;SAN;HOU                         EAST BENJAMIN          WY              US   78886   137709627@KACHIPYTEL.COM
2SK9PS   2/10/2021   OB   2/16/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL         NEW AMANDA             SD              US   36017   137709858@KACHIPYTEL.COM
2SO527   2/10/2021   OB   2/21/2021   WN;1424;ORD;BNA;WN;3203;BNA;FLL         NORTH NICHOLAS         AZ              US   64829   137710089@KACHIPYTEL.COM
2SSYWD   2/10/2021   OB   2/14/2021   WN;2346;MCI;ATL;WN;8816;ATL;HOU         VINCENTBURGH           WA              US   15130   137710474@KACHIPYTEL.COM
2SSIRN   2/11/2021   OB   2/12/2021   WN;3348;LGA;ATL;WN;3121;ATL;MDW         PORT STEPHENHAVEN      WA              US   95937   137710914@KACHIPYTEL.COM
2T5BDK   2/11/2021   OB   2/11/2021   WN;3233;TPA;FLL;WN;1438;FLL;ATL         NEW EMILY              TX              US    7360   137711134@KACHIPYTEL.COM
2T8PN6   2/11/2021   OB   2/12/2021   WN;776;LAS;MDW;WN;4409;MDW;DTW          CERVANTESTOWN          KS              US    8498   137711728@KACHIPYTEL.COM
2T9ZA3   2/11/2021   OB   2/21/2021   WN;1933;STL;MDW;WN;2195;MDW;CLE         SOUTH KARENCHESTER     AZ              US   59349   137711519@KACHIPYTEL.COM
2T9ZA3   2/11/2021   OB   2/21/2021   WN;1933;STL;MDW;WN;2195;MDW;CLE         SOUTH KARENCHESTER     AZ              US   59349   137711519@KACHIPYTEL.COM
2TBKA9   2/11/2021   OB   2/11/2021   WN;3630;MDW;LAS;WN;3737;LAS;GEG         MEGANLAND              MT              US   91613   137711728@KACHIPYTEL.COM
2TC6X4   2/11/2021   OB   2/11/2021   WN;5014;ATL;DEN;WN;4264;DEN;MSP         NORTH MIRANDABURGH     ID              US   98419   137712036@KACHIPYTEL.COM
2TCKQB   2/11/2021   OB   2/11/2021   WN;2042;ATL;HOU                         SOUTH JENNIFER         AK              US    7191   137711772@KACHIPYTEL.COM
2TH25Z   2/11/2021   OB   2/12/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA         PORT CHRISTOPHER       TN              US   49849   137711849@KACHIPYTEL.COM
2TH25Z   2/11/2021   OB   2/12/2021   WN;1281;PHX;OAK;WN;4096;OAK;SEA         PORT CHRISTOPHER       TN              US   49849   137711849@KACHIPYTEL.COM
2TZEZM   2/11/2021   OB   2/16/2021   WN;4941;PDX;LAS;WN;2402;LAS;TUS         DAVIDVIEW              KS              US   54217   137713554@KACHIPYTEL.COM
2U2DHB   2/11/2021   OB   2/16/2021   WN;1360;FLL;BWI                         BROWNPORT              LA              US   82689   137713719@KACHIPYTEL.COM
2U4CCW   2/11/2021   OB   2/16/2021   WN;824;LAX;SJC                          NORTH HEATHERPORT      MT              US   51349   137713631@KACHIPYTEL.COM
2U4CCW   2/11/2021   OB   2/17/2021   WN;2877;SJC;LAX;WN;2877;LAX;MDW         NORTH HEATHERPORT      MT              US   51349   137713631@KACHIPYTEL.COM
2U9JZA   2/11/2021   OB   2/18/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         BRANDYLAND             AZ              US   71936   137714060@KACHIPYTEL.COM
2U9JZA   2/11/2021   OB   2/18/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         BRANDYLAND             AZ              US   71936   137714060@KACHIPYTEL.COM
2UCSAH   2/11/2021   OB   2/11/2021   WN;1264;HOU;MDW                         MARYTON                IL              US   51296   137714544@KACHIPYTEL.COM
2UCSAH   2/11/2021   OB   2/11/2021   WN;3611;HOU;MDW                         MARYTON                IL              US   51296   137714544@KACHIPYTEL.COM
2UOA9Y   2/11/2021   OB   2/24/2021   WN;2243;SAT;PHX;WN;3927;PHX;DAL         SOUTH MATHILDESTAD     SJAELLAND       DK   66993   137715226@KACHIPYTEL.COM
2UTSQ9   2/11/2021   OB    5/2/2021   WN;19;DAL;HOU;WN;3404;HOU;MIA           EAST AUSTINBURGH       MT              US   80811   137715567@KACHIPYTEL.COM
2UTSQ9   2/11/2021   OB    5/2/2021   WN;19;DAL;HOU;WN;3404;HOU;MIA           EAST AUSTINBURGH       MT              US   80811   137715567@KACHIPYTEL.COM
2UUVDA   2/11/2021   OB   2/11/2021   WN;3630;MDW;LAS;WN;3737;LAS;GEG         SOUTH BRITTANYFURT     IL              US   52671   137715589@KACHIPYTEL.COM
2VAK73   2/11/2021   OB   2/22/2021   WN;4084;PDX;SJC;WN;1571;SJC;SNA         ROSEBERG               GA              US   49453   137716799@KACHIPYTEL.COM
2VJAEN   2/11/2021   OB   2/11/2021   WN;1888;PHX;LAS;WN;1900;LAS;SEA         KARENHAVEN             IA              US   27790   137716645@KACHIPYTEL.COM
2VP6FL   2/11/2021   OB   2/12/2021   WN;3422;LGA;DEN                         NEW RICHARDMOUTH       RI              US   82462   137717613@KACHIPYTEL.COM
2VRO7B   2/11/2021   OB   2/12/2021   WN;3422;LGA;DEN                         NICOLEBERG             NE              US   20747   137717613@KACHIPYTEL.COM
2VW6YS   2/11/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY         NORTH MARIA            OH              US   43183   137718218@KACHIPYTEL.COM
2W65DQ   2/11/2021   OB   2/16/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO         PORT DENNIS            UT              US   10025   137718482@KACHIPYTEL.COM
2WMB9M   2/11/2021   OB   2/14/2021   WN;4131;HOU;MCI;WN;3907;MCI;DEN         CONWAYBERG             NH              US   36274   137720066@KACHIPYTEL.COM
2WMB9M   2/11/2021   OB   2/14/2021   WN;4131;HOU;MCI;WN;3907;MCI;DEN         CONWAYBERG             NH              US   36274   137720066@KACHIPYTEL.COM
2WN69I   2/11/2021   OB   2/11/2021   WN;6012;MCI;HOU;WN;4235;HOU;OKC         SOUTH MICHAEL          VA              US   80335   137720066@KACHIPYTEL.COM
2WN69I   2/11/2021   OB   2/11/2021   WN;6012;MCI;HOU;WN;4235;HOU;OKC         SOUTH MICHAEL          VA              US   80335   137720066@KACHIPYTEL.COM
2WTY6M   2/11/2021   OB   2/19/2021   WN;1948;BWI;BNA;WN;2618;BNA;ATL         NEW TIMOTHYTON         MA              US     844   137720847@KACHIPYTEL.COM
2WV67M   2/11/2021   OB   2/21/2021   WN;3041;BNA;BWI;WN;4435;BWI;MCO         SCHULTZBURY            CT              US   73985   137720847@KACHIPYTEL.COM
2X3O2O   2/11/2021   OB   4/19/2021   WN;397;MSY;BWI;WN;2201;BWI;CLT          HEATHERBERG            NC              US   35768   137721254@KACHIPYTEL.COM
2XMDRR   2/11/2021   OB   2/18/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS         SOUTH JEANETTE         PA              US   65290   137722442@KACHIPYTEL.COM
2XRBXM   2/11/2021   OB    4/6/2021   WN;1473;MDW;SJC;WN;1185;SJC;SEA         NICOLE VILLE           QUEZON          PH   15140   137722618@KACHIPYTEL.COM
2XSXGF   2/11/2021   OB   3/23/2021   WN;2048;SJC;MDW;WN;633;MDW;MSP          JOHN VILLE             CAMARINES SUR   PH   96427   137722618@KACHIPYTEL.COM
2XWOQH   2/11/2021   OB   2/11/2021   WN;4090;MDW;PHX;WN;3026;PHX;OKC         PORT BRUCE             SD              US   14083   137722893@KACHIPYTEL.COM
2Y47SZ   2/11/2021   OB   2/17/2021   WN;3259;BHM;DEN                         ROLLINSVILLE           GA              US   19566   137723487@KACHIPYTEL.COM
2Y4AQ9   2/11/2021   OB   2/11/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY         EAST BENJAMIN          AL              US   60986   137723751@KACHIPYTEL.COM
2YA4FF   2/11/2021   OB   3/24/2021   WN;1770;RSW;HOU;WN;209;HOU;MSP          GRIFFITHLAND           DE              US   50498   137723795@KACHIPYTEL.COM
2YB32C   2/11/2021   OB   2/12/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW         LAKE CHERYL            MS              US   29841   137724147@KACHIPYTEL.COM
2YEXEF   2/11/2021   OB   2/14/2021   WN;4425;DEN;PHX;WN;2994;PHX;OKC         MUNCHEN                BRANDENBURG     DE   75641   137723784@KACHIPYTEL.COM
2YIMGI   2/11/2021   OB   2/12/2021   WN;206;IND;PHX;WN;2994;PHX;OKC          EAST JOSEPH            VT              US    5083   137724708@KACHIPYTEL.COM
2YTAE3   2/11/2021   OB   2/12/2021   WN;2606;TPA;DEN;WN;2516;DEN;SEA         JOHNSONSHIRE           PA              US    8254   137725170@KACHIPYTEL.COM
2YTT2U   2/11/2021   OB   2/14/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL         MICHELLESTAD           CO              US   72617   137725126@KACHIPYTEL.COM
32O98M   2/11/2021   OB   2/11/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         PORT ALICIA            CO              US   44233   137729977@KACHIPYTEL.COM
32O98M   2/11/2021   OB   2/11/2021   WN;3121;ATL;MDW;WN;2576;MDW;DTW         PORT ALICIA            CO              US   44233   137729977@KACHIPYTEL.COM
33CKXK   2/11/2021   OB   2/11/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW          NORTH AARONBURGH       AR              US   70024   137731671@KACHIPYTEL.COM
33QHZX   2/11/2021   OB   2/11/2021   WN;5084;LAS;OAK;WN;1148;OAK;LAX         FO UMBRO               PADOVA          IT   10079   137733706@KACHIPYTEL.COM
34ACJE   2/11/2021   OB   2/11/2021   WN;776;LAS;MDW                          MCGUIREMOUTH           NM              US   67530   137735147@KACHIPYTEL.COM
34ACJE   2/11/2021   OB   2/11/2021   WN;776;LAS;MDW                          MCGUIREMOUTH           NM              US   67530   137735147@KACHIPYTEL.COM
34Q6C4   2/11/2021   OB   2/16/2021   WN;2531;LAS;BWI;WN;1597;BWI;ORD         SOUTH BETTYBERG        ME              US    4289   137725247@KACHIPYTEL.COM
34Q6C4   2/11/2021   OB   2/16/2021   WN;2531;LAS;BWI;WN;1597;BWI;ORD         SOUTH BETTYBERG        ME              US    4289   137725247@KACHIPYTEL.COM
34S9D3   2/11/2021   OB   2/14/2021   WN;2773;ATL;BNA;WN;3585;BNA;DTW         SOUTH LINDA            AL              US   29742   137725610@KACHIPYTEL.COM
36KD7D   2/11/2021   OB   2/12/2021   WN;3539;MCO;BNA;WN;1966;BNA;ATL         STEVENFURT             WV              US    2124   137745179@KACHIPYTEL.COM
37PCBX   2/11/2021   OB   2/14/2021   WN;455;DCA;ATL;WN;1645;ATL;MSY;WN;1645;MNORTH MICHAELCHESTER   WA              US   94467   137751493@KACHIPYTEL.COM
37PE6M   2/11/2021   OB    3/9/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA          EAST LAURABURY         NC              US   84582   137751075@KACHIPYTEL.COM
37PE6M   2/11/2021   OB    3/9/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA          EAST LAURABURY         NC              US   84582   137751075@KACHIPYTEL.COM
38EJ9C   2/11/2021   OB   2/11/2021   WN;3422;LGA;DEN;WN;2863;DEN;BOI         JAMESBURY              WA              US    4821   137753935@KACHIPYTEL.COM
38R3N6   2/11/2021   OB    3/2/2021   WN;1877;DTW;DEN;WN;2785;DEN;LAS         HUFFPORT               NH              US   22175   137755552@KACHIPYTEL.COM
38XRGR   2/11/2021   OB   3/24/2021   WN;933;SJU;HOU;WN;1255;HOU;FLL          NORTH JESSEBERG        CO              US   50524   137756718@KACHIPYTEL.COM
392WSZ   2/11/2021   OB   2/11/2021   WN;4192;MDW;DEN;WN;1521;DEN;AUS         SOUTH SHANNONFURT      NC              US   89646   137756586@KACHIPYTEL.COM
39ENZR   2/11/2021   OB   2/12/2021   WN;3343;LGA;ATL;WN;4751;ATL;MDW         WEST RALPHFORT         IA              US   40015   137757961@KACHIPYTEL.COM
39HABD   2/11/2021   OB   2/12/2021   WN;651;MKE;PHX;WN;3026;PHX;OKC          KELLERLAND             MD              US   94849   137758819@KACHIPYTEL.COM
39IUR5   2/11/2021   OB   2/12/2021   WN;3348;LGA;ATL;WN;3121;ATL;MDW         JOHNNYVIEW             KY              US   38813   137759336@KACHIPYTEL.COM
39MWF7   2/11/2021   OB   2/13/2021   WN;4537;ATL;IND;WN;1730;IND;BWI;WN;2181;EAST CHARLES           UT              US   29544   137759600@KACHIPYTEL.COM
39P5MC   2/11/2021   OB   2/12/2021   WN;3343;LGA;ATL;WN;4751;ATL;MDW         FRENCHHAVEN            GA              US   53869   137761228@KACHIPYTEL.COM
3AC2UZ   2/11/2021   OB   2/19/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO          NORTH JEFFREY          IL              US   81974   137763417@KACHIPYTEL.COM
3ASZO8   2/11/2021   OB   2/13/2021   WN;6753;RSW;MDW                         NORTH SAMANTHA         MD              US    6511   137766530@KACHIPYTEL.COM
3ATQIM   2/11/2021   OB   2/12/2021   WN;3348;LGA;ATL;WN;2263;ATL;CMH         LAKE JACOB             TN              US   11714   137766178@KACHIPYTEL.COM
3C459A   2/11/2021   OB   2/12/2021   WN;2590;MDW;LAS                         LAKE TERESA            NE              US   96002   137771854@KACHIPYTEL.COM
3C459A   2/11/2021   OB   2/12/2021   WN;2590;MDW;LAS                         LAKE TERESA            NE              US   96002   137771854@KACHIPYTEL.COM
3C4WJL   2/11/2021   OB   2/12/2021   WN;5034;MDW;BWI                         TURNERFURT             NJ              US   84163   137772228@KACHIPYTEL.COM
3C55UF   2/11/2021   OB   2/14/2021   WN;4124;MDW;SMF;WN;349;SMF;LGB          UJJAINNN               GUJARAT         IN   59716   137771799@KACHIPYTEL.COM
3C6W7R   2/11/2021   OB   2/14/2021   WN;680;BWI;MDW;WN;3122;MDW;ABQ          NORTH BRITTANYSTAD     KS              US   68934   137772228@KACHIPYTEL.COM
3CAI6P   2/11/2021   OB   2/12/2021   WN;3343;LGA;ATL;WN;6002;ATL;OKC         WIGGINSHAVEN           NC              US   63073   137773438@KACHIPYTEL.COM
3CCQWP   2/11/2021   OB   2/17/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX         SOUTH VERONICACHESTE   MA              US    3119   137774109@KACHIPYTEL.COM
3CHRLY   2/11/2021   OB   2/13/2021   WN;3759;LAX;DEN;WN;4486;DEN;ICT;WN;4486 SOUTH ELIZABETH        HI              US   63167   137773944@KACHIPYTEL.COM
3CMEYU   2/11/2021   OB   2/18/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 LAKE CYNTHIA            MT              US   36798   137775858@KACHIPYTEL.COM
3CRVG3   2/11/2021   OB   2/12/2021   WN;4838;SEA;SMF;WN;349;SMF;LGB          BURNSBOROUGH           TX              US   93671   137776430@KACHIPYTEL.COM
3CU9EG   2/11/2021   OB   2/15/2021   WN;2516;HOU;MCO;WN;2438;MCO;FLL         ROBERTMOUTH            WI              US     809   137776452@KACHIPYTEL.COM
3D54JT   2/11/2021   OB   2/12/2021   WN;783;LAS;OAK;WN;3307;OAK;LGB          PORT MICHELEVILLE      OK              US   28657   137777959@KACHIPYTEL.COM
3DDBTE   2/11/2021   OB   2/13/2021   WN;3977;PHX;MDW;WN;3215;MDW;DCA         NORTH BRYANBURY        ME              US   14372   137779290@KACHIPYTEL.COM
3DNPMW   2/11/2021   OB   2/12/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY         COURTNEYMOUTH          MN              US   53023   137780423@KACHIPYTEL.COM
3DW2Q9   2/11/2021   OB   2/17/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         GREENBURGH             NV              US   40277   137782546@KACHIPYTEL.COM
3DW2Q9   2/11/2021   OB   2/17/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         GREENBURGH             NV              US   40277   137782546@KACHIPYTEL.COM
3DW2Q9   2/11/2021   OB   2/17/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         GREENBURGH             NV              US   40277   137782546@KACHIPYTEL.COM
3E37W2   2/11/2021   OB   2/19/2021   WN;4838;SEA;SMF;WN;349;SMF;LGB;WN;349;L KINGSTAD               SD              US   11977   137782469@KACHIPYTEL.COM
3E3YPJ   2/11/2021   OB   2/14/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         EAST MATTHEW           KY              US   67511   137783118@KACHIPYTEL.COM
3E4E2G   2/11/2021   OB   2/26/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP         TOLMIN                 OSILNICA        SI   16691   137783041@KACHIPYTEL.COM
3EE7W7   2/11/2021   OB   2/12/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW          NORTH SARAH            FL              US   23903   137784438@KACHIPYTEL.COM
3EE7W7   2/11/2021   OB   2/12/2021   WN;715;ATL;BWI;WN;3933;BWI;DTW          NORTH SARAH            FL              US   23903   137784438@KACHIPYTEL.COM
3F4BRN   2/11/2021   OB   2/25/2021   WN;2408;SEA;SJC;WN;1564;SJC;PHX         SOUTH BRADSTAD         FL              US   84337   137788035@KACHIPYTEL.COM
3FBSS2   2/11/2021   OB   2/23/2021   WN;3413;RNO;LAS;WN;3907;LAS;LAX         JOSHUASHIRE            MS              US   31458   137788497@KACHIPYTEL.COM
3FLGEB   2/11/2021   OB    3/8/2021   WN;1098;MCO;LAS;WN;1098;LAS;PHX;WN;840; PITTMANMOUTH           MO              US   74416   137789113@KACHIPYTEL.COM
3FVHHY   2/11/2021   OB   3/18/2021   WN;1438;SNA;DEN;WN;2029;DEN;SFO         WENDYFORT              TN              US   98067   137790972@KACHIPYTEL.COM
3FX9L4   2/11/2021   OB   2/12/2021   WN;257;BOS;BWI;WN;3256;BWI;MDW          HAYDENSTAD             MN              US   77312   137791401@KACHIPYTEL.COM
3G2AA4   2/11/2021   OB   2/20/2021   WN;3206;LGA;MDW;WN;36;MDW;DAL           SOUTH AKMANERSHIRE     ADANA           TR   72163   137791577@KACHIPYTEL.COM
3G6OD3   2/11/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL         WALKERBERG             WV              US   69522   137791478@KACHIPYTEL.COM




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3G6OD3   2/11/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL        WALKERBERG             WV                       US   69522   137791478@KACHIPYTEL.COM
3H7U63   2/11/2021   OB   2/13/2021   WN;1125;LAS;OAK;WN;2655;OAK;LGB        NORTH DONNAMOUTH       IL                       US   27554   137794646@KACHIPYTEL.COM
3H9DRE   2/11/2021   OB   2/12/2021   WN;1459;OAK;MDW                        JENKINSSHIRE           AK                       US   39622   137794866@KACHIPYTEL.COM
3HFHHC   2/11/2021   OB   2/12/2021   WN;1914;LGA;MDW;WN;2627;MDW;OKC        STACEBURGH             MANAWATUWANGANUI         NZ   93060   137795636@KACHIPYTEL.COM
3HHN4U   2/11/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW        GRIFFINBERG            NJ                       US   55738   137795724@KACHIPYTEL.COM
3HHRK9   2/11/2021   OB   2/12/2021   WN;2058;TUS;DEN;WN;3047;DEN;SEA        PORT JOSEPHTOWN        ME                       US   70945   137795504@KACHIPYTEL.COM
3HHRK9   2/11/2021   OB   2/12/2021   WN;2058;TUS;DEN;WN;3047;DEN;SEA        PORT JOSEPHTOWN        ME                       US   70945   137795504@KACHIPYTEL.COM
3HJBRC   2/11/2021   OB   2/28/2021   WN;3379;HOU;BNA;WN;1319;BNA;ORD        CARTERBURY             LA                       US    5735   137795724@KACHIPYTEL.COM
3HNYYV   2/11/2021   OB   2/12/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY        THOMASFORT             NV                       US   75372   137796043@KACHIPYTEL.COM
3I4KO4   2/12/2021   OB   2/12/2021   WN;3830;SNA;DEN;WN;4517;DEN;PDX        NORTH SARAHBERG        MN                       US   82386   137797099@KACHIPYTEL.COM
3IA2VQ   2/12/2021   OB   2/24/2021   WN;2135;PHX;SNA;WN;2999;SNA;LAS        SOUTH CARRIE           MT                       US   64337   137797462@KACHIPYTEL.COM
3IHH69   2/12/2021   OB   2/27/2021   WN;2209;RDU;MDW;WN;1723;MDW;MCO        EAST JOSHUALAND        CO                       US   32629   137797737@KACHIPYTEL.COM
3IIWZ9   2/12/2021   OB   2/13/2021   WN;4662;AUS;LAS;WN;4174;LAS;PDX        FLYNNFORT              LA                       US   39755   137797781@KACHIPYTEL.COM
3IIWZ9   2/12/2021   OB   2/13/2021   WN;4662;AUS;LAS;WN;4174;LAS;PDX        FLYNNFORT              LA                       US   39755   137797781@KACHIPYTEL.COM
3IIWZ9   2/12/2021   OB   2/13/2021   WN;4662;AUS;LAS;WN;4174;LAS;PDX        FLYNNFORT              LA                       US   39755   137797781@KACHIPYTEL.COM
3IIWZ9   2/12/2021   OB   2/13/2021   WN;4662;AUS;LAS;WN;4174;LAS;PDX        FLYNNFORT              LA                       US   39755   137797781@KACHIPYTEL.COM
3IMGZI   2/12/2021   OB    3/2/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL        GRAYTON                IA                       US   61425   137798166@KACHIPYTEL.COM
3INQF4   2/12/2021   OB   2/12/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY        DARLENEFORT            IA                       US   72606   137797979@KACHIPYTEL.COM
3INQG2   2/12/2021   OB   2/12/2021   WN;1125;LAS;OAK                        NORTH JOHNPORT         MS                       US   66803   137797924@KACHIPYTEL.COM
3IOT5H   2/12/2021   OB   2/12/2021   WN;244;BOS;BWI;WN;2180;BWI;MDW         IRAAJPAALLAIYM VIRUT   DADRA AND NAGAR HAVELI   IN   54005   137798441@KACHIPYTEL.COM
3J2SCA   2/12/2021   OB   2/13/2021   WN;2063;DTW;PHX;WN;4064;PHX;HOU;WN;406LAKE THOMASSHIRE        TX                       US   25705   137798925@KACHIPYTEL.COM
3JANH6   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        SOUTH JOHN             OR                       US   10051   137799717@KACHIPYTEL.COM
3JANH6   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        SOUTH JOHN             OR                       US   10051   137799717@KACHIPYTEL.COM
3JB4YK   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        EAST RITALAND          TN                       US   20122   137799717@KACHIPYTEL.COM
3JB4YK   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        EAST RITALAND          TN                       US   20122   137799717@KACHIPYTEL.COM
3JD9JL   2/12/2021   OB   2/13/2021   WN;3001;ATL;MDW                        GIBBSBOROUGH           ME                       US   25660   137799816@KACHIPYTEL.COM
3JDDGO   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        SOUTH MATTHEW          CT                       US   96504   137799673@KACHIPYTEL.COM
3JDDGO   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        SOUTH MATTHEW          CT                       US   96504   137799673@KACHIPYTEL.COM
3JEDF4   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        NGUYENTON              AR                       US   80313   137799673@KACHIPYTEL.COM
3JEDF4   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        NGUYENTON              AR                       US   80313   137799673@KACHIPYTEL.COM
3JNJEX   2/12/2021   OB   2/12/2021   WN;4921;SLC;PHX;WN;6113;PHX;MCI        PORT JENNIFER          PA                       US   35098   137800377@KACHIPYTEL.COM
3JPGLV   2/12/2021   OB   2/22/2021   WN;2470;DEN;MCI;WN;2412;MCI;MDW        LAKE JOSEPHVILLE       IA                       US    8443   137800927@KACHIPYTEL.COM
3JPLFP   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB        VICTORFORT             LA                       US   12166   137801081@KACHIPYTEL.COM
3JQ335   2/12/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW        EAST ZACHARY           VT                       US    6192   137800575@KACHIPYTEL.COM
3JQQQY   2/12/2021   OB   2/28/2021   WN;3379;HOU;BNA;WN;1319;BNA;ORD        NORTH JAMES            OK                       US   31154   137800575@KACHIPYTEL.COM
3JW33S   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW        LAKE DONNAMOUTH        RI                       US   44425   137801081@KACHIPYTEL.COM
3KQSK8   2/12/2021   OB   2/13/2021   WN;2074;FLL;BWI                        NEW JAMESSIDE          CO                       US   19133   137803204@KACHIPYTEL.COM
3KQSK8   2/12/2021   OB   2/14/2021   WN;4572;BWI;ATL                        NEW JAMESSIDE          CO                       US   19133   137803204@KACHIPYTEL.COM
3KVW4C   2/12/2021   OB   2/17/2021   WN;3496;RSW;ATL;WN;4099;ATL;PHL        PROCTORCHESTER         ND                       US   43514   137803435@KACHIPYTEL.COM
3KZY9J   2/12/2021   OB   2/18/2021   WN;1898;CLT;DEN;WN;4433;DEN;PHL        WEST VINCENTBERG       OR                       US   67778   137804084@KACHIPYTEL.COM
3L244H   2/12/2021   OB   2/12/2021   WN;2028;AUS;LAS;WN;3326;LAS;PDX        EDWARDSTOWN            TN                       US   75870   137803842@KACHIPYTEL.COM
3L56B9   2/12/2021   OB   2/12/2021   WN;4118;MDW;PHX;WN;4945;PHX;OMA        SOUTH JULIASHIRE       ID                       US   18367   137804018@KACHIPYTEL.COM
3L9ZWC   2/12/2021   OB   2/17/2021   WN;1461;PHL;MDW;WN;2253;MDW;MCO        DANIELTOWN             MS                       US   70803   137804337@KACHIPYTEL.COM
3LBBO4   2/12/2021   OB   2/12/2021   WN;2568;ATL;LAS;WN;1471;LAS;ONT        SHEATON                RI                       US   38492   137804579@KACHIPYTEL.COM
3LBBO4   2/12/2021   OB   2/12/2021   WN;2568;ATL;LAS;WN;1471;LAS;ONT        SHEATON                RI                       US   38492   137804579@KACHIPYTEL.COM
3LJ9DG   2/12/2021   OB   2/13/2021   WN;1527;ATL;MDW;WN;4672;MDW;DTW        WEST GINASTAD          NM                       US   98441   137805184@KACHIPYTEL.COM
3LNT26   2/12/2021   OB   2/12/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW         JOHNBOROUGH            VT                       US   65733   137805338@KACHIPYTEL.COM
3LR92J   2/12/2021   OB   2/13/2021   WN;1125;LAS;OAK;WN;2655;OAK;LGB        BROWNPORT              ND                       US    7024   137805492@KACHIPYTEL.COM
3LZXS6   2/12/2021   OB   2/12/2021   WN;1762;PHL;DEN                        LAKE MICHELLEFURT      FL                       US   42625   137806185@KACHIPYTEL.COM
3M2CJ9   2/12/2021   OB   2/14/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL        EAST ANGELAHAVEN       IN                       US   30563   137806361@KACHIPYTEL.COM
3MU87G   2/12/2021   OB   2/19/2021   WN;6003;OMA;ATL;WN;1966;ATL;DEN        WEST HEATHERSHIRE      MT                       US   92641   137808187@KACHIPYTEL.COM
3MYDIU   2/12/2021   OB   2/19/2021   WN;6003;OMA;ATL;WN;1966;ATL;DEN        PORT ANGEL             WY                       US   77966   137808176@KACHIPYTEL.COM
3N2O55   2/12/2021   OB   2/12/2021   WN;1265;LAX;PHX;WN;4937;PHX;MSY        DAVISTOWN              DE                       US   88092   137808451@KACHIPYTEL.COM
3N9NXN   2/12/2021   OB   2/13/2021   WN;4662;ATL;AUS;WN;2454;AUS;MCO        SUSANPORT              RI                       US   59541   137808902@KACHIPYTEL.COM
3NACMD   2/12/2021   OB   2/13/2021   WN;3001;ATL;MDW;WN;3329;MDW;DTW        NEW DAVIDVIEW          SD                       US   66983   137809254@KACHIPYTEL.COM
3NAPWY   2/12/2021   OB   2/15/2021   WN;3804;LGA;STL;WN;2121;STL;OMA        WEST ANTONIO           WA                       US   30105   137809067@KACHIPYTEL.COM
3NQNS4   2/12/2021   OB   2/18/2021   WN;1914;LGA;MDW;WN;2627;MDW;OKC        SOUTH MORGANMOUTH      HI                       US   82958   137809903@KACHIPYTEL.COM
3NSHXE   2/12/2021   OB   2/12/2021   WN;4836;SEA;OAK;WN;1145;OAK;PSP        MICHELLEMOUTH          RI                       US    3906   137809991@KACHIPYTEL.COM
3NUK2Z   2/12/2021   OB   2/14/2021   WN;1490;LAS;SMF;WN;349;SMF;LGB         SHAWNAFURT             CT                       US   13345   137774109.1548572@KACHIPYTEL.COM
3OXUT5   2/12/2021   OB   2/12/2021   WN;3796;MDW;ATL;WN;3179;ATL;IND        STEPHANIEBOROUGH       UNITED KINGDOM           GB   41524   137812950@KACHIPYTEL.COM
3PRAEU   2/12/2021   OB   2/12/2021   WN;11;DAL;HOU;WN;1545;HOU;HRL          RAYMONDFURT            DE                       US   11533   137815205@KACHIPYTEL.COM
3RN765   2/12/2021   OB   2/13/2021   WN;6665;ATL;DEN;WN;2554;DEN;AUS        CAANGKLI               GOA                      IN   36662   137822278@KACHIPYTEL.COM
3RTLZM   2/12/2021   OB   2/19/2021   WN;4954;BWI;PHX;WN;3373;PHX;LGB        WEST JILL              DE                       US   89735   137823367@KACHIPYTEL.COM
3SE9UI   2/12/2021   OB   2/12/2021   WN;2107;TPA;BWI                        MARCUSBERG             NE                       US   70619   137825237@KACHIPYTEL.COM
3TB6NL   2/12/2021   OB   2/12/2021   WN;4041;MDW;DEN;WN;4954;DEN;STL        BROWNTOWN              RI                       US   28913   137828031@KACHIPYTEL.COM
3UQKLD   2/12/2021   OB   2/13/2021   WN;4568;FLL;IND;WN;1669;IND;ATL        STEVENSHAVEN           NM                       US   83689   137834279@KACHIPYTEL.COM
3UWXKG   2/12/2021   OB   2/14/2021   WN;715;ATL;BWI;WN;102;BWI;MIA          BAXTERSTAD             MS                       US   28155   137834653@KACHIPYTEL.COM
3VOMLW   2/12/2021   OB   2/13/2021   WN;64;STL;ATL;WN;4537;ATL;IND          NEW JAMESBOROUGH       NV                       US   25330   137837799@KACHIPYTEL.COM
3VONJI   2/12/2021   OB   2/22/2021   WN;1059;MSY;BWI;WN;102;BWI;MIA         BALDWINPORT            OR                       US   31155   137837942@KACHIPYTEL.COM
3VZ6JX   2/12/2021   OB   2/13/2021   WN;2798;LAX;DEN                        LAKE JOSHUABOROUGH     WV                       US   32813   137839581@KACHIPYTEL.COM
3VZRQZ   2/12/2021   OB   2/22/2021   WN;5034;TPA;MDW;WN;4041;MDW;DEN        DOUGLASPORT            MN                       US   20847   137839350@KACHIPYTEL.COM
3WGM9U   2/12/2021   OB    5/6/2021   WN;426;BWI;LAS;WN;427;LAS;LGB          DERRICKVIEW            WA                       US   85898   137841407@KACHIPYTEL.COM
3WHXBJ   2/12/2021   OB   5/10/2021   WN;2649;LAS;BWI;WN;2865;BWI;BDL        WEST KEITHTOWN         CA                       US   37768   137841407@KACHIPYTEL.COM
3WRZX3   2/12/2021   OB   7/16/2021   WN;1287;ATL;MDW;WN;728;MDW;DTW         AGUILARBOROUGH         NH                       US   33079   137843255@KACHIPYTEL.COM
3WS66G   2/12/2021   OB   2/15/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL        WRIGHTVIEW             WA                       US   37365   137843233@KACHIPYTEL.COM
3WTIA4   2/12/2021   OB   7/18/2021   WN;3525;MDW;ATL;WN;2478;ATL;FLL        LAKE CRYSTALMOUTH      HI                       US   67870   137843255@KACHIPYTEL.COM
3WUOU5   2/12/2021   OB    3/2/2021   WN;3611;JAX;HOU;WN;22;HOU;DAL;WN;22;DA NORTH JOANNE           OR                       US   16285   137843882@KACHIPYTEL.COM
3WYOHO   2/12/2021   OB   2/16/2021   WN;3348;LGA;ATL                        ROBERTFORT             OH                       US    4418   137844520@KACHIPYTEL.COM
3X2R6D   2/12/2021   OB   2/14/2021   WN;3167;MSP;DEN;WN;1966;DEN;LAS        BEASLEYVIEW            HI                       US   83455   137844509@KACHIPYTEL.COM
3XNB4Y   2/12/2021   OB   2/15/2021   WN;6515;ATL;CMH;WN;6517;CMH;MCO        NEW ASHLEY             NM                       US   17101   137848029@KACHIPYTEL.COM
3XXY94   2/12/2021   OB   2/13/2021   WN;955;PHX;DEN;WN;4554;DEN;SEA         WEST ELIZABETHSTAD     PA                       US   94789   137849162@KACHIPYTEL.COM
3Y9RAQ   2/12/2021   OB   2/17/2021   WN;3317;GRR;DEN;WN;131;DEN;CUN         BETHANYVILLE           KS                       US   36569   137849822@KACHIPYTEL.COM
3YKNAV   2/12/2021   OB   2/16/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL         PORT STEVEN            VA                       US   54357   137851769@KACHIPYTEL.COM
3YTE6Q   2/12/2021   OB   2/13/2021   WN;1527;ATL;MDW;WN;4672;MDW;DTW        THOMPSONVIEW           AK                       US   71386   137853408@KACHIPYTEL.COM
3ZAIDI   2/12/2021   OB   2/15/2021   WN;2753;DCA;MDW                        MILLERMOUTH            KY                       US   56104   137855091@KACHIPYTEL.COM
3ZTKR3   2/12/2021   OB   2/20/2021   WN;4254;SLC;OAK;WN;1325;OAK;DEN        SOUTH TAMMIETON        ME                       US   46230   137857577@KACHIPYTEL.COM
3ZU8CT   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         RIVERATON              IL                       US   36377   137857115@KACHIPYTEL.COM
3ZXTN2   2/12/2021   OB   2/14/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS        PORT PAMELAHAVEN       ME                       US   27932   137857830@KACHIPYTEL.COM
42KIG8   2/12/2021   OB   2/13/2021   WN;4741;PHX;LAS                        PORT SANDRAMOUTH       MN                       US   96075   137860613@KACHIPYTEL.COM
42NETX   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         LEONVILLE              SC                       US   91252   137860008@KACHIPYTEL.COM
42OKQJ   2/12/2021   OB    3/1/2021   WN;2597;MCO;ATL;WN;3254;ATL;RDU        SAN OFELIA LOS ALTOS   QUINTANA ROO             MX   47349   137860866@KACHIPYTEL.COM
434BXN   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         DAWNFURT               MD                       US   44769   137862395@KACHIPYTEL.COM
434BXN   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         DAWNFURT               MD                       US   44769   137862395@KACHIPYTEL.COM
434BXN   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         DAWNFURT               MD                       US   44769   137862395@KACHIPYTEL.COM
434BXN   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         DAWNFURT               MD                       US   44769   137862395@KACHIPYTEL.COM
434BXN   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                         DAWNFURT               MD                       US   44769   137862395@KACHIPYTEL.COM
43MPGQ   2/12/2021   OB   2/20/2021   WN;1743;LAS;BWI;WN;3541;BWI;MIA        JACOBSONFURT           WI                       US   24269   137864474@KACHIPYTEL.COM
43QFZP   2/12/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL        EAST MARK              KS                       US   43644   137865068@KACHIPYTEL.COM
43QZVR   2/12/2021   OB   2/13/2021   WN;3001;ATL;MDW                        HARRISONLAND           CO                       US   31777   137865288@KACHIPYTEL.COM
43S7NA   2/12/2021   OB   2/16/2021   WN;3920;LAX;MDW;WN;441;MDW;AUS         VIRGINIASHIRE          WY                       US   95325   137865552@KACHIPYTEL.COM
43W5ER   2/12/2021   OB   2/13/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA        EAST TIFFANYVILLE      ID                       US   20221   137865893@KACHIPYTEL.COM
43W5ER   2/12/2021   OB   2/13/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA        EAST TIFFANYVILLE      ID                       US   20221   137865893@KACHIPYTEL.COM
43XS9O   2/12/2021   OB   2/20/2021   WN;15;MCO;MCI;WN;3674;MCI;MDW;WN;3674MURILLOBERG              MA                       US   34163   137865585@KACHIPYTEL.COM
447HWV   2/12/2021   OB   2/13/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA        LAKE WALTER            MN                       US   70942   137866828@KACHIPYTEL.COM
448SXS   2/12/2021   OB   2/17/2021   WN;4955;LAS;SJC;WN;2408;SJC;LGB        SOUTH LAURA            ME                       US    9217   137867169@KACHIPYTEL.COM




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44JLXC   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                           SOUTH NATASHAVIEW      SD                    US   30552   137867928@KACHIPYTEL.COM
44JLXC   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                           SOUTH NATASHAVIEW      SD                    US   30552   137867928@KACHIPYTEL.COM
44JLXC   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                           SOUTH NATASHAVIEW      SD                    US   30552   137867928@KACHIPYTEL.COM
44JLXC   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                           SOUTH NATASHAVIEW      SD                    US   30552   137867928@KACHIPYTEL.COM
44JLXC   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                           SOUTH NATASHAVIEW      SD                    US   30552   137867928@KACHIPYTEL.COM
44NGTK   2/12/2021   OB   2/15/2021   WN;4315;SEA;DEN;WN;3532;DEN;TUS          NEW MARCUS             LA                    US   58910   137868511@KACHIPYTEL.COM
44QD8M   2/12/2021   OB   2/15/2021   WN;3294;MIA;BWI;WN;4435;BWI;MCO          COLONMOUTH             MA                    US    1610   137868599@KACHIPYTEL.COM
44QURK   2/12/2021   OB   2/13/2021   WN;1492;LAS;SMF                          PACHECOBURGH           MN                    US    7146   137869028@KACHIPYTEL.COM
44WBVU   2/12/2021   OB   2/16/2021   WN;1990;ATL;BWI;WN;4727;BWI;FLL          SOUTH MARKBURGH        MT                    US   29642   137869347@KACHIPYTEL.COM
44WBVU   2/12/2021   OB   2/16/2021   WN;1990;ATL;BWI;WN;4727;BWI;FLL          SOUTH MARKBURGH        MT                    US   29642   137869347@KACHIPYTEL.COM
457OBG   2/12/2021   OB   2/13/2021   WN;4741;PHX;LAS;WN;4045;LAS;SEA          NEW BRENTSIDE          MT                    US   64514   137870260@KACHIPYTEL.COM
45EE2O   2/12/2021   OB   2/14/2021   WN;1490;LAS;SMF;WN;349;SMF;LGB           LAKE CORY              NC                    US   43855   137870788@KACHIPYTEL.COM
45W8E8   2/12/2021   OB   2/14/2021   WN;2863;FLL;DEN;WN;3259;DEN;SJC          TAYLORHAVEN            WV                    US   90031   137872482@KACHIPYTEL.COM
45W8E8   2/12/2021   OB   2/14/2021   WN;2863;FLL;DEN;WN;3259;DEN;SJC          TAYLORHAVEN            WV                    US   90031   137872482@KACHIPYTEL.COM
467HTW   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK;WN;4096;OAK;SEA           NORTH LAUREN           OR                    US   59235   137873879@KACHIPYTEL.COM
467HTW   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK;WN;4096;OAK;SEA           NORTH LAUREN           OR                    US   59235   137873879@KACHIPYTEL.COM
467R4S   2/12/2021   OB   2/17/2021   WN;569;DEN;OAK                           RUSSELLBERG            NH                    US   52977   137873065@KACHIPYTEL.COM
46ZTQ2   2/13/2021   OB   2/19/2021   WN;1654;TPA;STL;WN;534;STL;CLT           JAMESBERG              TN                    US    6125   137876464@KACHIPYTEL.COM
474EJ5   2/13/2021   OB   2/13/2021   WN;3001;MDW;PHX;WN;3396;PHX;MCI          NEW LISA               LA                    US   10301   137876574@KACHIPYTEL.COM
47NTQH   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          NEW BRIDGET            NM                    US   70004   137877817@KACHIPYTEL.COM
47P9L9   2/13/2021   OB   2/27/2021   WN;4742;BNA;DCA;WN;4613;DCA;PBI          STACEYFURT             LA                    US   60457   137878004@KACHIPYTEL.COM
47Q7KI   2/13/2021   OB   2/20/2021   WN;2494;DCA;BNA;WN;3434;BNA;MCO          WEST JULIEBURY         SD                    US    8163   137878004@KACHIPYTEL.COM
47UFMT   2/13/2021   OB   2/17/2021   WN;1990;ATL;BWI                          ERICAPORT              RI                    US     535   137877905@KACHIPYTEL.COM
47VJ9S   2/13/2021   OB   2/27/2021   WN;3367;MCO;BWI;WN;2832;BWI;RDU          LAKE TARASTAD          WV                    US   23122   137878334@KACHIPYTEL.COM
48424T   2/13/2021   OB   2/13/2021   WN;4064;SFO;PHX;WN;3881;PHX;BUR          EAST JEFFREY           RI                    US    6940   137878642@KACHIPYTEL.COM
48C6LB   2/13/2021   OB   2/13/2021   WN;4477;MDW;BOS                          CRYSTALSTAD            FL                    US   41873   137879214@KACHIPYTEL.COM
48KDEY   2/13/2021   OB   3/19/2021   WN;2003;TPA;MSY;WN;2003;MSY;BNA;WN;940 ALEXALAND                OH                    US    2797   137879720@KACHIPYTEL.COM
495HTU   2/13/2021   OB   2/13/2021   WN;1492;LAS;SMF                          WEST ANGEL             NY                    US   47280   137881007@KACHIPYTEL.COM
49A7LN   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          LAKE EDWARD            ME                    US   56124   137881436@KACHIPYTEL.COM
49A7LN   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          LAKE EDWARD            ME                    US   56124   137881436@KACHIPYTEL.COM
49A7LN   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          LAKE EDWARD            ME                    US   56124   137881436@KACHIPYTEL.COM
49QJ3P   2/13/2021   OB   2/13/2021   WN;2652;BWI;DAL;WN;734;DAL;ABQ           SMITHSIDE              NC                    US    2632   137881975@KACHIPYTEL.COM
4A6CDR   2/13/2021   OB   3/25/2021   WN;200;BOI;LAS;WN;370;LAS;LAX            LEWISLAND              RI                    US   28639   137882811@KACHIPYTEL.COM
4ABZY4   2/13/2021   OB   2/16/2021   WN;2044;DCA;MDW;WN;2253;MDW;MCO          TINABOROUGH            NJ                    US   93886   137883064@KACHIPYTEL.COM
4AGZ7V   2/13/2021   OB   2/25/2021   WN;2247;CLT;BWI;WN;3160;BWI;MCO          ANDREWBURGH            MO                    US   68622   137883438@KACHIPYTEL.COM
4AIMJI   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          PORT SHEILA            NV                    US   77218   137883416@KACHIPYTEL.COM
4AIMJI   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          PORT SHEILA            NV                    US   77218   137883416@KACHIPYTEL.COM
4ALY9X   2/13/2021   OB   2/13/2021   WN;3922;BDL;TPA                          MARTEL                 CORSEDUSUD            FR   51216   137883856@KACHIPYTEL.COM
4APRMR   2/13/2021   OB   2/13/2021   WN;4458;PIT;LAS                          LAKE SIERRA            UT                    US   98685   137883823@KACHIPYTEL.COM
4AQLDC   2/13/2021   OB   3/12/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVMEDAVIEW                KLAIPEDOS APSKRITIS   LT   96513   137884142@KACHIPYTEL.COM
4AQLDC   2/13/2021   OB   3/12/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVMEDAVIEW                KLAIPEDOS APSKRITIS   LT   96513   137884142@KACHIPYTEL.COM
4BFQV7   2/13/2021   OB   4/10/2021   WN;2689;FLL;ATL;WN;3025;ATL;MDW          KAITLYNVILLE           NC                    US   34971   137885099@KACHIPYTEL.COM
4BHORQ   2/13/2021   OB   2/16/2021   WN;3828;OAK;SNA;WN;2901;SNA;LAS          WHITNEYLAND            OR                    US   49441   137885286@KACHIPYTEL.COM
4BOUD2   2/13/2021   OB   2/16/2021   WN;2255;BOS;BWI                          CROSSTON               NH                    US   89565   137885759@KACHIPYTEL.COM
4BSEUW   2/13/2021   OB   2/15/2021   WN;3757;LAX;OAK                          JANETVILLE             MT                    US   21773   137885836@KACHIPYTEL.COM
4BW2MX   2/13/2021   OB   2/14/2021   WN;3348;LGA;ATL                          EAST TYLERMOUTH        WY                    US   59176   137886298@KACHIPYTEL.COM
4C28KP   2/13/2021   OB    3/7/2021   WN;405;MDW;BNA;WN;1587;BNA;LGA           BURKEBOROUGH           UT                    US   89494   137886342@KACHIPYTEL.COM
4C2YSJ   2/13/2021   OB   2/16/2021   WN;534;PHX;STL;WN;1941;STL;MDW           NORTH SALLY            MS                    US   94725   137886320@KACHIPYTEL.COM
4C9GFA   2/13/2021   OB   2/17/2021   WN;4937;SMF;LGB;WN;2385;LGB;DEN          VANESSABOROUGH         ME                    US   79373   137886782@KACHIPYTEL.COM
4CDF6U   2/13/2021   OB   2/15/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS          PORT BILLY             WV                    US   40545   137886936@KACHIPYTEL.COM
4CDF6U   2/13/2021   OB   2/15/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS          PORT BILLY             WV                    US   40545   137886936@KACHIPYTEL.COM
4CI2Z2   2/13/2021   OB   2/13/2021   WN;1659;SNA;LAS;WN;3741;LAS;PDX          EAST TERESABOROUGH     MN                    US   30990   137887332@KACHIPYTEL.COM
4CVPSP   2/13/2021   OB    3/2/2021   WN;2055;MDW;SAN;WN;1877;SAN;SFO          LAKE JONATHANCHESTER   NM                    US   72369   137888542@KACHIPYTEL.COM
4D8POX   2/13/2021   OB   2/16/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL           NEW LYNN               AL                    US   56939   137889037@KACHIPYTEL.COM
4GCV8R   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          WHITEMOUTH             UT                    US   85921   137896462@KACHIPYTEL.COM
4HO4DD   2/13/2021   OB   2/16/2021   WN;3611;JAX;HOU;WN;3294;HOU;MIA          PORT FRANK             VT                    US   67375   137900169@KACHIPYTEL.COM
4KPM6N   2/13/2021   OB   2/14/2021   WN;3611;MDW;PHX;WN;3972;PHX;LAX          NORTH JASONMOUTH       VA                    US   69661   137910102@KACHIPYTEL.COM
4KSFLF   2/13/2021   OB   2/16/2021   WN;3685;LAS;PHX;WN;2722;PHX;LGB          LAKE ROBERT            MS                    US   32834   137909926@KACHIPYTEL.COM
4KSFLF   2/13/2021   OB   2/16/2021   WN;3685;LAS;PHX;WN;2722;PHX;LGB          LAKE ROBERT            MS                    US   32834   137909926@KACHIPYTEL.COM
4KSLMB   2/13/2021   OB    3/2/2021   WN;1148;OAK;LAX;WN;4933;LAX;PHX          NORTH JUANBURY         NY                    US   52052   137910047@KACHIPYTEL.COM
4KZG4Y   2/13/2021   OB    3/5/2021   WN;3254;MDW;AUS;WN;4065;AUS;LGB          LAKE JOSEPH            AL                    US   19463   137910553@KACHIPYTEL.COM
4M9U7O   2/13/2021   OB   5/23/2021   WN;833;FAT;DEN;WN;274;DEN;LAX            PITTMANFORT            WA                    US   16842   137915646@KACHIPYTEL.COM
4MBFHR   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          EAST JAMESSHIRE        NY                    US   93657   137916328@KACHIPYTEL.COM
4N2TST   2/13/2021   OB    3/6/2021   WN;3814;BNA;TPA;WN;60;TPA;MIA            BARNETTBOROUGH         NM                    US   64761   137918968@KACHIPYTEL.COM
4N42K6   2/13/2021   OB    3/8/2021   WN;1136;TPA;BNA;WN;1053;BNA;LGA          BRUCECHESTER           KS                    US   60848   137918968@KACHIPYTEL.COM
4N4S4C   2/13/2021   OB   2/16/2021   WN;914;AUS;DEN;WN;3927;DEN;LAX           PEREZBOROUGH           ME                    US   19403   137918814@KACHIPYTEL.COM
4N77GW   2/13/2021   OB   2/21/2021   WN;4838;SEA;SMF;WN;1493;SMF;LAS          THOMASSHIRE            IA                    US   59093   137919012@KACHIPYTEL.COM
4NA6YL   2/13/2021   OB   2/18/2021   WN;3704;LAS;STL;WN;4099;STL;ATL;WN;4099;ASOUTH ISAACTOWN        OR                    US   72556   137919166@KACHIPYTEL.COM
4NABM5   2/13/2021   OB   2/14/2021   WN;1980;SFO;DEN;WN;2699;DEN;MCO          KATHERINEBOROUGH       UT                    US   75287   137919595@KACHIPYTEL.COM
4NX3VW   2/13/2021   OB   2/19/2021   WN;2995;DAL;BWI;WN;1597;BWI;ORD          JAMESMOUTH             NV                    US   44532   137921652@KACHIPYTEL.COM
4O7I7K   2/13/2021   OB   2/14/2021   WN;3920;LAX;MDW;WN;2253;MDW;MCO          NORTH BILLYPORT        IL                    US   30911   137922488@KACHIPYTEL.COM
4OAC6K   2/13/2021   OB   2/18/2021   WN;1962;MCO;MDW;WN;469;MDW;LGA           MCPHERSONSTAD          NV                    US   90616   137922719@KACHIPYTEL.COM
4OACQP   2/13/2021   OB   2/16/2021   WN;1360;MDW;FLL                          HICKSLAND              VT                    US   23493   137923060@KACHIPYTEL.COM
4OIGIG   2/13/2021   OB   2/22/2021   WN;3343;STL;LAS;WN;2905;LAS;OKC          MOOREFORT              DE                    US   51123   137923170@KACHIPYTEL.COM
4OMUFB   2/13/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          WEST MANUELVILLE       WA                    US   65619   137923654@KACHIPYTEL.COM
4P3KKN   2/13/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          WOODSFURT              NJ                    US   48331   137925337@KACHIPYTEL.COM
4P83P6   2/13/2021   OB   2/18/2021   WN;2531;LAS;BWI                          FLORESPORT             OK                    US   82589   137925920@KACHIPYTEL.COM
4PJU7I   2/13/2021   OB   2/17/2021   WN;2510;MCO;BWI;WN;2510;BWI;BOS          MCKNIGHTVIEW           KY                    US    8800   137926767@KACHIPYTEL.COM
4POREN   2/13/2021   OB   2/17/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS          PORT WILLIAMTOWN       KS                    US   37772   137927251@KACHIPYTEL.COM
4POUO2   2/13/2021   OB   2/16/2021   WN;2135;AUS;PHX;WN;4608;PHX;LAX          ERICKSONBOROUGH        VA                    US   21707   137927086@KACHIPYTEL.COM
4PX64I   2/13/2021   OB   2/14/2021   WN;3920;LAX;MDW;WN;2253;MDW;MCO          WEST AMY               WA                    US   65227   137928230@KACHIPYTEL.COM
4Q2O6Y   2/13/2021   OB   2/14/2021   WN;2590;MDW;LAS;WN;1478;LAS;GEG          NEW CASEY              ND                    US   41606   137928285@KACHIPYTEL.COM
4QAV2M   2/13/2021   OB    3/8/2021   WN;802;LAS;BWI;WN;102;BWI;MIA            MICHAELBURGH           SC                    US    9619   137929121@KACHIPYTEL.COM
4QGSWK   2/13/2021   OB    3/1/2021   WN;4536;PDX;PHX;WN;1557;PHX;SNA          MELISSATOWN            CT                    US   30001   137929418@KACHIPYTEL.COM
4QJDLO   2/13/2021   OB   2/16/2021   WN;4196;MSP;MDW;WN;3611;MDW;PHX          WEST BRYAN             MS                    US   68160   137929748@KACHIPYTEL.COM
4QVFPB   2/13/2021   OB   2/20/2021   WN;3985;RNO;LAS;WN;3108;LAS;SAN          SPENCERTON             NV                    US   78412   137930485@KACHIPYTEL.COM
4QYRKT   2/13/2021   OB   2/14/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 EAST CRAIGVIEW           VT                    US   94439   137931057@KACHIPYTEL.COM
4R8MQU   2/13/2021   OB   2/16/2021   WN;568;HOU;MDW                           PORT KAREN             MS                    US   38481   137931651@KACHIPYTEL.COM
4R8MQU   2/13/2021   OB   2/16/2021   WN;568;HOU;MDW                           PORT KAREN             MS                    US   38481   137931651@KACHIPYTEL.COM
4RM2V7   2/13/2021   OB   2/16/2021   WN;3685;LAS;PHX;WN;2722;PHX;LGB          COLEBERG               KY                    US   17603   137932597@KACHIPYTEL.COM
4RVXJY   2/13/2021   OB   2/25/2021   WN;2234;LAX;STL;WN;1933;STL;MDW          LOZANOFORT             ID                    US   21218   137933620@KACHIPYTEL.COM
4SI2RT   2/13/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          KAYLAFORT              AL                    US   36042   137934830@KACHIPYTEL.COM
4SI2RT   2/13/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          KAYLAFORT              AL                    US   36042   137934830@KACHIPYTEL.COM
4SKSMG   2/13/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          TARAMOUTH              SD                    US   29787   137934797@KACHIPYTEL.COM
4SN7VI   2/13/2021   OB   3/12/2021   WN;1068;MKE;PHX;WN;211;PHX;DEN           STEPHANIEBERG          AR                    US   10594   137934863@KACHIPYTEL.COM
4SVKWE   2/13/2021   OB   2/14/2021   WN;4499;PBI;BWI;WN;3604;BWI;RDU          DEANSIDE               AK                    US    8282   137935446@KACHIPYTEL.COM
225NWV   2/14/2021   OB   2/18/2021   WN;2003;ATL;BWI;WN;1670;BWI;ORD          ROSSTON                HARINGEY              GB   17113   137948657@KACHIPYTEL.COM
227PFE   2/14/2021   OB   2/26/2021   WN;3134;DTW;BWI;WN;4483;BWI;STL;WN;4483LAKE JOHNNY              WI                    US   21614   137948547@KACHIPYTEL.COM
227PFE   2/14/2021   OB   2/26/2021   WN;3134;DTW;BWI;WN;4483;BWI;STL;WN;4483LAKE JOHNNY              WI                    US   21614   137948547@KACHIPYTEL.COM
22J3UF   2/14/2021   OB   2/20/2021   WN;1765;ATL;BNA;WN;4592;BNA;TPA          PATRICKMOUTH           KS                    US   71308   137949295@KACHIPYTEL.COM
23YD9B   2/14/2021   OB    3/9/2021   WN;2622;STL;TPA;WN;4279;TPA;MIA          EAST HEATHER           VA                    US   54421   137952111@KACHIPYTEL.COM
23YTG6   2/14/2021   OB   3/11/2021   WN;2120;TPA;STL;WN;1510;STL;CLT          JENNIFERPORT           NY                    US   44939   137952111@KACHIPYTEL.COM
257Y5L   2/14/2021   OB   2/14/2021   WN;3115;MDW;ATL;WN;2707;ATL;LGA          PORT RYAN              IA                    US   32363   137954850@KACHIPYTEL.COM
25TWNN   2/14/2021   OB   2/14/2021   WN;3348;LGA;ATL                          SOUTH SHARON           AZ                    US     512   137956533@KACHIPYTEL.COM
29UCSR   2/14/2021   OB   2/17/2021   WN;3496;RSW;ATL                          EAST ERICAPORT         MD                    US   96196   137968908@KACHIPYTEL.COM




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2BJCHU   2/14/2021   OB   2/18/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        MARTINEZSIDE           TN                   US   83287   137974265@KACHIPYTEL.COM
2BJCHU   2/14/2021   OB   2/18/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        MARTINEZSIDE           TN                   US   83287   137974265@KACHIPYTEL.COM
2BJCHU   2/14/2021   OB   2/18/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        MARTINEZSIDE           TN                   US   83287   137974265@KACHIPYTEL.COM
2CBNCG   2/14/2021   OB   2/17/2021   WN;3558;ATL;MDW;WN;2611;MDW;FLL        WEST JAMES             FL                   US   18959   137977543@KACHIPYTEL.COM
2D258W   2/14/2021   OB   2/17/2021   WN;3203;FLL;DAL                        EAST KENNETH           MS                   US   39232   137980788@KACHIPYTEL.COM
2D258W   2/14/2021   OB   2/18/2021   WN;1649;DAL;ORD                        EAST KENNETH           MS                   US   39232   137980788@KACHIPYTEL.COM
2DJXNH   2/14/2021   OB   2/27/2021   WN;3425;PHL;MDW;WN;1723;MDW;MCO        FORDMOUTH              MS                   US   32912   137982735@KACHIPYTEL.COM
2DJXNH   2/14/2021   OB   2/27/2021   WN;3425;PHL;MDW;WN;1723;MDW;MCO        FORDMOUTH              MS                   US   32912   137982735@KACHIPYTEL.COM
2DJXNH   2/14/2021   OB   2/27/2021   WN;3425;PHL;MDW;WN;1723;MDW;MCO        FORDMOUTH              MS                   US   32912   137982735@KACHIPYTEL.COM
2DM87B   2/14/2021   OB    4/1/2021   WN;1834;ATL;PHX;WN;1771;PHX;LGB        MATTHEWBURGH           PA                   US   98689   137982603@KACHIPYTEL.COM
2EJG3N   2/14/2021   OB   2/18/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        NORTH AMY              LAOIS                IE    7895   137986024@KACHIPYTEL.COM
2EMEP5   2/14/2021   OB   2/17/2021   WN;3343;ATL;STL;WN;4015;STL;DAL        NORTH ANGELAMOUTH      OR                   US   21444   137986310@KACHIPYTEL.COM
2EQUVY   2/14/2021   OB   2/22/2021   WN;2298;LAX;HOU;WN;3003;HOU;AUS        NORTH JULIEMOUTH       MO                   US   12661   137986101@KACHIPYTEL.COM
2EU6B2   2/14/2021   OB   3/29/2021   WN;1482;RDU;PHX;WN;1882;PHX;SEA        BRYANLAND              TN                   US   55276   137986662@KACHIPYTEL.COM
2FNFGL   2/14/2021   OB   2/26/2021   WN;430;ATL;PHX;WN;425;PHX;LGB          PORT COLEVIEW          MA                   US   51049   137989720@KACHIPYTEL.COM
2FX55J   2/14/2021   OB   2/20/2021   WN;1761;FLL;BWI;WN;2200;BWI;ATL        TRANBERG               KS                   US   95455   137990435@KACHIPYTEL.COM
2G3UM5   2/14/2021   OB    3/8/2021   WN;510;MCI;BNA;WN;886;BNA;MKE          NORTH DARLENE          OK                   US   34211   137991062@KACHIPYTEL.COM
2GOTRS   2/14/2021   OB   2/20/2021   WN;2911;DEN;MCI;WN;3616;MCI;PHX        WEST ALICIAFURT        ND                   US   29109   137992360@KACHIPYTEL.COM
2GZR8I   2/14/2021   OB   2/19/2021   WN;2500;BWI;FLL;WN;197;FLL;SJU         HUBERLAND              MD                   US   96349   137992943@KACHIPYTEL.COM
2H9R8C   2/14/2021   OB   2/18/2021   WN;2705;AUS;PHX;WN;3972;PHX;LAX        SAMANTHALAND           NH                   US   49896   137993361@KACHIPYTEL.COM
2HCX3Q   2/14/2021   OB   2/15/2021   WN;1609;BWI;CUN                        ALVAREZPORT            IA                   US   66149   137993570@KACHIPYTEL.COM
2HPEW6   2/14/2021   OB   2/15/2021   WN;1782;SLC;PHX;WN;2601;PHX;ONT        WHITEBURGH             SD                   US   68452   137994340@KACHIPYTEL.COM
2HVF24   2/14/2021   OB   2/16/2021   WN;3276;LAX;BNA                        PETERSONBURGH          AZ                   US   30549   137994384@KACHIPYTEL.COM
2HVF24   2/14/2021   OB   2/16/2021   WN;3276;LAX;BNA                        PETERSONBURGH          AZ                   US   30549   137994384@KACHIPYTEL.COM
4TACUK   2/14/2021   OB   2/18/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS        EAST AMANDA            IL                   US   15099   137936183@KACHIPYTEL.COM
4TKUJK   2/14/2021   OB   2/14/2021   WN;3749;LAX;MDW;WN;1360;MDW;FLL        NEW JESSICA            LEFKOSIA             CY   52142   137936645@KACHIPYTEL.COM
4TQHPV   2/14/2021   OB   2/24/2021   WN;185;CLE;MDW;WN;1645;MDW;STL         REBECCABERG            CA                   US   49376   137937294@KACHIPYTEL.COM
4TTZHE   2/14/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3959;ATL;TPA        WEST HOLLY             SD                   US   22991   137937217@KACHIPYTEL.COM
4TV262   2/14/2021   OB   2/14/2021   WN;3343;LGA;ATL;WN;3959;ATL;TPA        NEW DEANNABOROUGH      WI                   US   97396   137937217@KACHIPYTEL.COM
4TV88L   2/14/2021   OB   2/14/2021   WN;1997;MCO;DEN;WN;569;DEN;OAK         THERESAVIEW            KY                   US   18868   137937371@KACHIPYTEL.COM
4V34R6   2/14/2021   OB   2/20/2021   WN;798;SMF;MDW;WN;3215;MDW;DCA         NICHOLSONVILLE         KS                   US   92847   137939175@KACHIPYTEL.COM
4V34R6   2/14/2021   OB   2/20/2021   WN;798;SMF;MDW;WN;3215;MDW;DCA         NICHOLSONVILLE         KS                   US   92847   137939175@KACHIPYTEL.COM
4VIO39   2/14/2021   OB   2/16/2021   WN;360;ATL;BWI                         MOONEYTON              KY                   US   60027   137939901@KACHIPYTEL.COM
4W8GKZ   2/14/2021   OB   2/14/2021   WN;2773;ATL;BNA;WN;3379;BNA;PNS        NORTH BRENDABURGH      WI                   US   65763   137940990@KACHIPYTEL.COM
4WPJZB   2/14/2021   OB    3/8/2021   WN;290;OMA;DAL;WN;1480;DAL;LIT         SOUTH VICTOR           IA                   US   94828   137942332@KACHIPYTEL.COM
4X783W   2/14/2021   OB   2/21/2021   WN;5034;MDW;BWI;WN;3984;BWI;FLL        WEST JOHN              TX                   US   46565   137943399@KACHIPYTEL.COM
4X934E   2/14/2021   OB   2/17/2021   WN;4131;MIA;HOU;WN;2609;HOU;ATL        HAYESBERG              GA                   US    5117   137943509@KACHIPYTEL.COM
4XAG2N   2/14/2021   OB   2/16/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL        WEST JOHN              ND                   US   46565   137943388@KACHIPYTEL.COM
4XBURV   2/14/2021   OB   2/19/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        LAKE JOSEPHTON         KY                   US   65793   137943344@KACHIPYTEL.COM
4XBURV   2/14/2021   OB   2/19/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        LAKE JOSEPHTON         KY                   US   65793   137943344@KACHIPYTEL.COM
4XGIRT   2/14/2021   OB   2/14/2021   WN;3348;LGA;ATL;WN;1438;ATL;RIC        WEST JOHN              SC                   US   46565   137943938@KACHIPYTEL.COM
4XN922   2/14/2021   OB   2/17/2021   WN;4124;MDW;SMF;WN;349;SMF;LGB         ANDERSONTOWN           AR                   US    4967   137944235@KACHIPYTEL.COM
4XQOGX   2/14/2021   OB   2/16/2021   WN;1360;MDW;FLL                        HEIDITOWN              NC                   US   47805   137944334@KACHIPYTEL.COM
4XSVG2   2/14/2021   OB   2/17/2021   WN;4542;PDX;SMF                        EAST CAROL             IL                   US    3273   137944521@KACHIPYTEL.COM
4YA8XJ   2/14/2021   OB   2/21/2021   WN;257;BOS;BWI;WN;2273;BWI;MCO         EAST GEORGEPORT        IL                   US   10755   137944994@KACHIPYTEL.COM
4YA8XJ   2/14/2021   OB   2/21/2021   WN;257;BOS;BWI;WN;2273;BWI;MCO         EAST GEORGEPORT        IL                   US   10755   137944994@KACHIPYTEL.COM
4ZCYRQ   2/14/2021   OB   2/19/2021   WN;670;BNA;LAS                         JACKSONVIEW            KY                   US   14916   137947293@KACHIPYTEL.COM
4ZGGUE   2/14/2021   OB   2/19/2021   WN;670;BNA;LAS                         CARRIEPORT             FL                   US   57005   137947293@KACHIPYTEL.COM
4ZNXW2   2/14/2021   OB   2/14/2021   WN;4547;PHL;ATL;WN;2744;ATL;RDU        LESLIEMOUTH            IN                   US   87184   137947656@KACHIPYTEL.COM
4ZNXW2   2/14/2021   OB   2/14/2021   WN;4547;PHL;ATL;WN;2744;ATL;RDU        LESLIEMOUTH            IN                   US   87184   137947656@KACHIPYTEL.COM
2I8DA2   2/15/2021   OB   2/15/2021   WN;3348;LGA;ATL                        EAST ADAMBURGH         MS                   US   58086   137873857@KACHIPYTEL.COM
2I8RKQ   2/15/2021   OB   3/11/2021   WN;1352;MCO;MCI;WN;290;MCI;DCA         SWANSONVIEW            VT                   US   70127   137994923@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        PORT ETHAN             NV                   US   80596   137996342@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        PORT ETHAN             NV                   US   80596   137996342@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        PORT ETHAN             NV                   US   80596   137996342@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX        PORT ETHAN             NV                   US   80596   137996342@KACHIPYTEL.COM
2JIFQK   2/15/2021   OB   2/19/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO         EAST WILLIAMBURY       MS                   US    4415   137997090@KACHIPYTEL.COM
2JNVL5   2/15/2021   OB   2/27/2021   WN;2747;PHL;BNA;WN;3434;BNA;MCO        CYNTHIAFORT            MA                   US   71404   137997750@KACHIPYTEL.COM
2JP74Y   2/15/2021   OB   2/18/2021   WN;2221;BWI;MIA;WN;2221;MIA;HOU        SOUTH TRACY            WV                   US   47021   137997651@KACHIPYTEL.COM
2JTEK2   2/15/2021   OB   2/22/2021   WN;3804;LGA;STL;WN;4483;STL;DAL        NEW MARK               FL                   US   22804   137997970@KACHIPYTEL.COM
2JUENR   2/15/2021   OB   2/27/2021   WN;2747;PHL;BNA;WN;3434;BNA;MCO        FULLERLAND             NH                   US   38202   137997915@KACHIPYTEL.COM
2K6QYC   2/15/2021   OB   2/19/2021   WN;4936;SMF;LAX;WN;4936;LAX;HOU;WN;1539ELLISHAVEN             MD                   US   35382   137998443@KACHIPYTEL.COM
2KG96E   2/15/2021   OB   2/15/2021   WN;3348;LGA;ATL                        RUIZBOROUGH            OR                   US   72616   137998861@KACHIPYTEL.COM
2LJRSO   2/15/2021   OB   2/20/2021   WN;4714;CLE;PHX;WN;3575;PHX;LGB        SOUTH ALEXANDRIAFORT   KS                   US   22819   138000720@KACHIPYTEL.COM
2LL4OJ   2/15/2021   OB   3/13/2021   WN;506;BWI;TPA;WN;3304;TPA;CVG         CHRISTINAFURT          NV                   US   61048   138000874@KACHIPYTEL.COM
2LL4OJ   2/15/2021   OB   3/13/2021   WN;506;BWI;TPA;WN;3304;TPA;CVG         CHRISTINAFURT          NV                   US   61048   138000874@KACHIPYTEL.COM
2LQDY5   2/15/2021   OB   2/17/2021   WN;1914;LGA;MDW;WN;2253;MDW;MCO        LORRAINEFURT           SWANSEA ABERTAWE     GB   73952   138000973@KACHIPYTEL.COM
2LYGAF   2/15/2021   OB   2/26/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL          HANCOCKMOUTH           MO                   US   48403   138001468@KACHIPYTEL.COM
2M2WSO   2/15/2021   OB    3/1/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA         NEW LISABOROUGH        AZ                   US   22279   138000962@KACHIPYTEL.COM
2MOD8L   2/15/2021   OB   2/19/2021   WN;1634;CLT;STL;WN;1894;STL;MCO        EAST STEVENVILLE       CO                   US    6540   138002898@KACHIPYTEL.COM
2MZSXU   2/15/2021   OB   2/22/2021   WN;534;PHX;STL;WN;1365;STL;LIT         LEETON                 CT                   US    7853   138003382@KACHIPYTEL.COM
2N2GG9   2/15/2021   OB   2/18/2021   WN;1533;ORD;BWI;WN;2593;BWI;BOS        KAAJUVAAKAA            JAMMU AND KASHMIR    IN   69710   138003745@KACHIPYTEL.COM
2N8AJY   2/15/2021   OB   3/19/2021   WN;1277;MDW;LAX;WN;391;LAX;OAK         PORTERVILLE            MA                   US   44173   138004185@KACHIPYTEL.COM
2N9JSA   2/15/2021   OB   2/18/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        SOUTH ANNA             MT                   US   79649   138004009@KACHIPYTEL.COM
2NTTAA   2/15/2021   OB   2/24/2021   WN;4948;SNA;LAS;WN;4520;LAS;PHX        NORTH PRISCILLASIDE    PA                   US   74197   138005725@KACHIPYTEL.COM
2O8XNO   2/15/2021   OB   2/16/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO         ALEXANDERLAND          NC                   US   18791   138006506@KACHIPYTEL.COM
2OQX78   2/15/2021   OB   2/24/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL        MARKBURGH              WV                   US   19341   138007265@KACHIPYTEL.COM
2PFN6O   2/15/2021   OB   2/22/2021   WN;736;MKE;PHX;WN;390;PHX;DEN          DEANLAND               WV                   US   43121   138009157@KACHIPYTEL.COM
2PNB26   2/15/2021   OB   2/20/2021   WN;3231;SFO;SAN;WN;1468;SAN;LAS        AUSTINVILLE            NC                   US   70868   138009608@KACHIPYTEL.COM
2TKRJX   2/15/2021   OB   2/22/2021   WN;2225;JAX;BNA;WN;4766;BNA;PHL        LAKE SARABERG          ND                   US   76050   138024271@KACHIPYTEL.COM
2W3PRJ   2/15/2021   OB   2/19/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        SYDNEYMOUTH            ND                   US    5432   138035414@KACHIPYTEL.COM
2W3PRJ   2/15/2021   OB   2/19/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO        SYDNEYMOUTH            ND                   US    5432   138035414@KACHIPYTEL.COM
2WDPNK   2/15/2021   OB   2/19/2021   WN;2875;DAL;LAS;WN;4596;LAS;LGB        ROTTWEIL               NORDRHEINWESTFALEN   DE   36927   138033874@KACHIPYTEL.COM
2WHET8   2/15/2021   OB   2/19/2021   WN;2107;BWI;MCI;WN;3031;MCI;DEN        JORDANCHESTER          LA                   US   12668   138037185@KACHIPYTEL.COM
2WTXEN   2/15/2021   OB   2/19/2021   WN;4762;CLT;DAL;WN;3410;DAL;TPA        TINASHIRE              ID                   US   25747   138039220@KACHIPYTEL.COM
2WY5I4   2/15/2021   OB   2/27/2021   WN;4662;ATL;AUS;WN;3824;AUS;LGB        NORTH JULIE            HI                   US   88219   138039198@KACHIPYTEL.COM
2XV9V6   2/15/2021   OB   2/20/2021   WN;2063;DTW;PHX;WN;4252;PHX;LAS        LAKE SAMUEL            WY                   US   15955   138044159@KACHIPYTEL.COM
2Y2IXK   2/15/2021   OB   2/18/2021   WN;3448;MSY;PHX;WN;425;PHX;LGB         LAKE SAMUEL            NH                   US   15955   138044467@KACHIPYTEL.COM
2Y365Q   2/15/2021   OB   2/18/2021   WN;4577;ATL;MCO                        RUIZFORT               VT                   US   53066   138044434@KACHIPYTEL.COM
2Y3HKG   2/15/2021   OB   2/21/2021   WN;4838;SEA;SMF;WN;3271;SMF;PHX        PAMELAMOUTH            AL                   US   42611   138044753@KACHIPYTEL.COM
2Y4OHQ   2/15/2021   OB   2/16/2021   WN;441;MSP;MDW;WN;2457;MDW;LAS         WOLFMOUTH              CO                   US   80593   138044852@KACHIPYTEL.COM
2YOXWM   2/15/2021   OB   2/17/2021   WN;3343;ATL;STL;WN;2622;STL;TPA        PORT BECKY             OK                   US   32177   138048075@KACHIPYTEL.COM
2ZEQLP   2/15/2021   OB   3/19/2021   WN;439;DTW;MDW;WN;1339;MDW;ATL         SCOTTVILLE             ID                   US   59031   138051694@KACHIPYTEL.COM
2ZGX3O   2/15/2021   OB   2/27/2021   WN;2741;ATL;BWI;WN;1715;BWI;MCO        DALTONBURGH            WA                   US    5709   138051738@KACHIPYTEL.COM
2ZJRUM   2/15/2021   OB   2/19/2021   WN;2753;DCA;MDW;WN;4084;MDW;PDX        MILLERFORT             CA                   US   69955   138052816@KACHIPYTEL.COM
2ZMB57   2/15/2021   OB   2/20/2021   WN;2741;ATL;BWI;WN;2087;BWI;FLL        NEW LAURA              NM                   US   33121   138051738.1549808@KACHIPYTEL.COM
2ZPM2N   2/15/2021   OB   2/24/2021   WN;4858;LAS;TPA;WN;4279;TPA;MIA        NORTH DANIELLEBOROUG   ND                   US    2174   138053190@KACHIPYTEL.COM
2ZVDO3   2/15/2021   OB   2/23/2021   WN;1493;SMF;LAS;WN;1471;LAS;ONT        MONTGOMERYSIDE         MO                   US   34341   138054785@KACHIPYTEL.COM
2ZW6MG   2/15/2021   OB   2/25/2021   WN;1534;LAS;SMF;WN;4842;SMF;SEA        JEREMIAHSHIRE          OR                   US   56202   138054785@KACHIPYTEL.COM
32M84Z   2/15/2021   OB   2/19/2021   WN;55;CLE;ATL;WN;3082;ATL;MCO          LAKE STEPHANIE         CA                   US   78160   138058151@KACHIPYTEL.COM
32OVGC   2/15/2021   OB   5/25/2021   WN;426;BWI;LAS;WN;427;LAS;LGB          LUMBINII SAANSKRTIK    PURWANCHAL           NP   90178   138058404@KACHIPYTEL.COM
32OVGC   2/15/2021   OB   5/25/2021   WN;426;BWI;LAS;WN;427;LAS;LGB          LUMBINII SAANSKRTIK    PURWANCHAL           NP   90178   138058404@KACHIPYTEL.COM
32SNTQ   2/15/2021   OB    6/1/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS         DAARCULAA              MECHI                NP   61180   138058404@KACHIPYTEL.COM
32SNTQ   2/15/2021   OB    6/1/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS         DAARCULAA              MECHI                NP   61180   138058404@KACHIPYTEL.COM
32TK2Q   2/15/2021   OB   3/14/2021   WN;168;BNA;SNA;WN;707;SNA;SJC          EAST JUDY              NJ                   US   44520   138059306@KACHIPYTEL.COM




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33EI5I   2/15/2021   OB    3/3/2021   WN;3124;DTW;BNA;WN;2713;BNA;MSY         NORTH KYLE             ND                     US   12588   138061693@KACHIPYTEL.COM
33F6QJ   2/15/2021   OB   2/16/2021   WN;441;MSP;MDW;WN;2457;MDW;LAS          SENAKI                 SHIDA KARTLI           GE   92386   138061088@KACHIPYTEL.COM
33HR9L   2/15/2021   OB   2/17/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         CHAPMANFURT            MA                     US    2173   138062089@KACHIPYTEL.COM
33J3OX   2/15/2021   OB   2/20/2021   WN;3801;PHL;ATL;WN;1477;ATL;RSW         DAVISPORT              NV                     US   74120   138061946@KACHIPYTEL.COM
33M8Z6   2/15/2021   OB   2/18/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA         SOUTH DARRELLFURT      MO                     US   38228   138062716@KACHIPYTEL.COM
345SAQ   2/15/2021   OB   2/22/2021   WN;3803;JAX;ATL;WN;2746;ATL;FLL         NEALTON                NY                     US   30207   138065103@KACHIPYTEL.COM
34GPKR   2/15/2021   OB   2/16/2021   WN;4287;LAX;SMF                         JOSEPHFURT             AL                     US   85388   138066489@KACHIPYTEL.COM
34P4DW   2/15/2021   OB   3/12/2021   WN;1541;PHX;BNA;WN;2657;BNA;ATL         PORT VIOLETMOUTH       TIPPERARY              IE   83128   138067138@KACHIPYTEL.COM
34RSO6   2/15/2021   OB   2/20/2021   WN;884;PHX;MCI;WN;1339;MCI;DEN          SAN GUSTAVO LOS BAJO   TABASCO                MX   79693   138067050@KACHIPYTEL.COM
3582G9   2/15/2021   OB   2/16/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         LAURABURGH             VT                     US   45361   138068788@KACHIPYTEL.COM
35BPGZ   2/15/2021   OB   3/10/2021   WN;5013;MIA;TPA                         DUSTINSHIRE            TN                     US   81618   138069118@KACHIPYTEL.COM
365MBQ   2/15/2021   OB   2/27/2021   WN;4507;ATL;STL;WN;4595;STL;FLL         SOUTH MICHAELFURT      FL                     US   57510   138071351@KACHIPYTEL.COM
36AYBX   2/15/2021   OB   2/19/2021   WN;27;DAL;HOU;WN;2356;HOU;MDW           GARRISONBURY           NY                     US   36785   137009422.1549912@KACHIPYTEL.COM
36EUIV   2/15/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL         WEST DAVIDMOUTH        IA                     US   59052   138072715@KACHIPYTEL.COM
36NVGG   2/15/2021   OB   3/25/2021   WN;4449;BWI;STL;WN;1573;STL;JAX         PORT JEFFREY           NC                     US   11255   138073254@KACHIPYTEL.COM
36PAXF   2/15/2021   OB   3/29/2021   WN;1998;STL;BWI;WN;1777;BWI;MIA         ADAMSFORT              WY                     US   39479   138073254@KACHIPYTEL.COM
36PF8D   2/16/2021   OB   3/10/2021   WN;3233;TPA;FLL;WN;1438;FLL;ATL         PORT RICHARDBURGH      MD                     US   71517   138073694@KACHIPYTEL.COM
375OPY   2/16/2021   OB   2/20/2021   WN;4662;ATL;AUS;WN;4518;AUS;DAL         LAKE TRACYLAND         CO                     US   45794   138075465@KACHIPYTEL.COM
375OPY   2/16/2021   OB   2/20/2021   WN;4662;ATL;AUS;WN;4518;AUS;DAL         LAKE TRACYLAND         CO                     US   45794   138075465@KACHIPYTEL.COM
377DNR   2/16/2021   OB   2/26/2021   WN;1877;DTW;DEN;WN;3402;DEN;DAL         EAST APRILHAVEN        WV                     US   13052   138075355@KACHIPYTEL.COM
37HPJD   2/16/2021   OB   2/18/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         SOUTH MARYTOWN         ND                     US   27293   138076125@KACHIPYTEL.COM
37TWYN   2/16/2021   OB   3/16/2021   WN;598;DTW;PHX;WN;6021;PHX;LAS          NORTH SARAH            IA                     US   92775   138078072@KACHIPYTEL.COM
3835ZU   2/16/2021   OB   2/23/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         THOMASCHESTER          WY                     US   96182   138078556@KACHIPYTEL.COM
386VKU   2/16/2021   OB   2/19/2021   WN;3804;LGA;STL;WN;3807;STL;OKC         COLLINSSIDE            MS                     US   81802   138078776@KACHIPYTEL.COM
386VKU   2/16/2021   OB   2/19/2021   WN;3804;LGA;STL;WN;3807;STL;OKC         COLLINSSIDE            MS                     US   81802   138078776@KACHIPYTEL.COM
38PJ25   2/16/2021   OB   2/22/2021   WN;4743;ATL;AUS;WN;800;AUS;DAL          BATESBURGH             VT                     US   74743   138079854@KACHIPYTEL.COM
38Y3FY   2/16/2021   OB    3/1/2021   WN;4562;BNA;PHX;WN;425;PHX;LGB          LAKE TERRYPORT         TX                     US   13708   138080426@KACHIPYTEL.COM
392YYP   2/16/2021   OB   2/25/2021   WN;5006;PHX;BNA;WN;2437;BNA;AUS         SCOTTPORT              FL                     US   92680   138080426@KACHIPYTEL.COM
397O56   2/16/2021   OB   3/15/2021   WN;351;LAX;BWI;WN;140;BWI;FLL           MICHAELBURGH           TX                     US   95014   138080789@KACHIPYTEL.COM
39QCL3   2/16/2021   OB   2/26/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB         WEST RICHARD           RI                     US   46331   138082362@KACHIPYTEL.COM
3A3V39   2/16/2021   OB   2/19/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO          JESUSBURGH             TX                     US   41535   138083374@KACHIPYTEL.COM
3ALJU9   2/16/2021   OB   2/16/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS         SOUTH ANTONIOCHESTER   OH                     US   74189   138084210@KACHIPYTEL.COM
3ANQWV   2/16/2021   OB   2/20/2021   WN;2163;LAX;HOU;WN;2403;HOU;MCO         KENNEDYLAND            KS                     US   76733   138084386@KACHIPYTEL.COM
3B449L   2/16/2021   OB   3/21/2021   WN;290;DCA;ATL;WN;1620;ATL;GSP          NEW RACHEL             NY                     US   82763   138085464@KACHIPYTEL.COM
3B4BIY   2/16/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL           EAST TAYLORHAVEN       MS                     US   13921   138085409@KACHIPYTEL.COM
3B9ASP   2/16/2021   OB   2/27/2021   WN;135;LGA;ATL;WN;2920;ATL;FLL          NEW TABITHASHIRE       KS                     US   42248   138085706@KACHIPYTEL.COM
3BMQPC   2/16/2021   OB    3/1/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL         PORT JONATHAN          IN                     US   59450   138086641@KACHIPYTEL.COM
3BUMI3   2/16/2021   OB   2/18/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL          VIRGINIABERG           VA                     US   37316   138087158@KACHIPYTEL.COM
3BUMI3   2/16/2021   OB   2/18/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL          VIRGINIABERG           VA                     US   37316   138087158@KACHIPYTEL.COM
3DIC93   2/16/2021   OB   2/16/2021   WN;3075;MIA;BWI                         MENDEZTON              MO                     US   61902   138091008@KACHIPYTEL.COM
3DIC93   2/16/2021   OB   2/16/2021   WN;3075;MIA;BWI                         MENDEZTON              MO                     US   61902   138091008@KACHIPYTEL.COM
3DUHFP   2/16/2021   OB   2/26/2021   WN;1479;LAX;SMF;WN;349;SMF;LGB;WN;349;L SOUTH ANGELATON        UT                     US   77940   138092262@KACHIPYTEL.COM
3DXI5M   2/16/2021   OB   2/20/2021   WN;3845;LAX;OAK;WN;1151;OAK;PHX         PERRYVIEW              VA                     US   99864   138092218@KACHIPYTEL.COM
3E45GF   2/16/2021   OB    3/3/2021   WN;2664;BOS;BNA;WN;495;BNA;ORD          AMANDAHAVEN            LA                     US   60305   138092878@KACHIPYTEL.COM
3F3PAF   2/16/2021   OB   2/20/2021   WN;4543;PDX;PHX;WN;2430;PHX;STL         SOUTH SYDNEY           WI                     US   47247   138095947@KACHIPYTEL.COM
3HYBIT   2/16/2021   OB   2/18/2021   WN;3247;MCI;LAS;WN;3337;LAS;PDX         DONALDMOUTH            MD                     US   38430   138109125@KACHIPYTEL.COM
3IUAJ4   2/16/2021   OB   2/20/2021   WN;1057;MIA;HOU;WN;2826;HOU;ATL         K ZABAIKALSK           TATARSTAN RESPUBLIKA   RU   26367   138113613@KACHIPYTEL.COM
3IUAJ4   2/16/2021   OB   2/20/2021   WN;1057;MIA;HOU;WN;2826;HOU;ATL         K ZABAIKALSK           TATARSTAN RESPUBLIKA   RU   26367   138113613@KACHIPYTEL.COM
3IXHFX   2/16/2021   OB   2/20/2021   WN;2747;PHL;BNA;WN;3434;BNA;MCO         ANGELVIEW              TX                     US   29894   138114218@KACHIPYTEL.COM
3JT6BQ   2/16/2021   OB   2/19/2021   WN;391;STL;LAS;WN;3337;LAS;PDX          LAKE BENJAMINSTAD      WA                     US   49689   138119498@KACHIPYTEL.COM
3JT6BQ   2/16/2021   OB   2/19/2021   WN;391;STL;LAS;WN;3337;LAS;PDX          LAKE BENJAMINSTAD      WA                     US   49689   138119498@KACHIPYTEL.COM
3JT6BQ   2/16/2021   OB   2/19/2021   WN;391;STL;LAS;WN;3337;LAS;PDX          LAKE BENJAMINSTAD      WA                     US   49689   138119498@KACHIPYTEL.COM
3KM8X5   2/16/2021   OB   2/19/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO         NORTH KATIEBERG        PA                     US   93224   138123491@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL         EAST WARRENSHIRE       MA                     US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL         EAST WARRENSHIRE       MA                     US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL         EAST WARRENSHIRE       MA                     US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL         EAST WARRENSHIRE       MA                     US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL         EAST WARRENSHIRE       MA                     US   42434   138123601@KACHIPYTEL.COM
3LMIYK   2/16/2021   OB   2/25/2021   WN;4287;LAX;SMF;WN;1132;SMF;PHX         EAST JOHNNYSHIRE       CO                     US   25377   138128595@KACHIPYTEL.COM
3LRN4W   2/16/2021   OB   3/18/2021   WN;3999;FLL;BWI;WN;2447;BWI;BOS         EAST JACK              KS                     US   28075   138129442@KACHIPYTEL.COM
3LTBVK   2/16/2021   OB   2/19/2021   WN;1059;MSY;BWI;WN;2593;BWI;BOS         WEST AARONVIEW         SC                     US   16618   138129882@KACHIPYTEL.COM
3LVOTJ   2/16/2021   OB   2/17/2021   WN;1210;PHX;SMF                         WEST JASON             SC                     US    3130   138129673@KACHIPYTEL.COM
3MLL4G   2/16/2021   OB   2/19/2021   WN;2604;BWI;DAL;WN;2351;DAL;ABQ         COREYTON               TX                     US   65193   138134403@KACHIPYTEL.COM
3MOQPO   2/16/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL         PORT TIMOTHYSHIRE      KS                     US   34182   138134084@KACHIPYTEL.COM
3MT6BL   2/16/2021   OB   2/21/2021   WN;2995;DAL;BWI;WN;1597;BWI;ORD         CYNTHIAMOUTH           SC                     US    4548   138134799@KACHIPYTEL.COM
3NALSK   2/16/2021   OB   2/26/2021   WN;430;ATL;PHX;WN;425;PHX;LGB           SOUTH ANGELA           MS                     US   68786   138137604@KACHIPYTEL.COM
3NCYAV   2/16/2021   OB   2/19/2021   WN;441;MSP;MDW;WN;3189;MDW;PHX          NORTH DANIEL           DE                     US   40848   138137340@KACHIPYTEL.COM
3NHV2X   2/16/2021   OB   2/22/2021   WN;2107;BWI;MCI;WN;3382;MCI;PHX;WN;3382KIMBERLYBERG            SD                     US   44652   138138352@KACHIPYTEL.COM
3NWS4F   2/16/2021   OB   2/17/2021   WN;4955;LAS;SJC;WN;2408;SJC;LGB         NEW BRITTANY           SC                     US   81798   138140123@KACHIPYTEL.COM
3O2FYN   2/16/2021   OB   2/25/2021   WN;3496;RSW;ATL;WN;4099;ATL;PHL         EDITHSIDE              LAOIS                  IE   13277   138141630@KACHIPYTEL.COM
3O8MNK   2/16/2021   OB   5/28/2021   WN;1108;ATL;DAL;WN;438;DAL;MEM          NEW RICHARD            MA                     US    3870   138142169@KACHIPYTEL.COM
3O8MNK   2/16/2021   OB   5/28/2021   WN;1108;ATL;DAL;WN;438;DAL;MEM          NEW RICHARD            MA                     US    3870   138142169@KACHIPYTEL.COM
3OAL4G   2/16/2021   OB   5/31/2021   WN;2731;DAL;ATL;WN;1078;ATL;LGA         SOUTH PATRICIAFURT     MS                     US   83163   138142169@KACHIPYTEL.COM
3OAL4G   2/16/2021   OB   5/31/2021   WN;2731;DAL;ATL;WN;1078;ATL;LGA         SOUTH PATRICIAFURT     MS                     US   83163   138142169@KACHIPYTEL.COM
3OMNVP   2/16/2021   OB   2/17/2021   WN;1459;OAK;MDW                         PORT COLLIN            WI                     US   47064   138144094@KACHIPYTEL.COM
3OON9R   2/16/2021   OB   2/17/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX         TONIMOUTH              VA                     US   98611   138144094@KACHIPYTEL.COM
3OWZSF   2/16/2021   OB   2/20/2021   WN;2741;ATL;BWI;WN;2087;BWI;FLL         PORT KATIETON          LA                     US   43893   138145392@KACHIPYTEL.COM
3OWZSF   2/16/2021   OB   2/20/2021   WN;2741;ATL;BWI;WN;2087;BWI;FLL         PORT KATIETON          LA                     US   43893   138145392@KACHIPYTEL.COM
3PTYGA   2/16/2021   OB   2/17/2021   WN;1639;ORD;BWI;WN;2510;BWI;BOS         HARRISHAVEN            WY                     US   38374   138149693@KACHIPYTEL.COM
3Q88RO   2/16/2021   OB    4/9/2021   WN;961;ATL;LAS;WN;1087;LAS;LGB          STEVENSSIDE            NORTHERN IRELAND       GB   58574   138151288@KACHIPYTEL.COM
3Q8SGS   2/16/2021   OB   2/17/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA         LAKE NATHANSIDE        MO                     US   26994   138151057@KACHIPYTEL.COM
3Q8SGS   2/16/2021   OB   2/17/2021   WN;4078;MIA;MDW;WN;4910;MDW;LGA         LAKE NATHANSIDE        MO                     US   26994   138151057@KACHIPYTEL.COM
3QEG3Q   2/16/2021   OB   3/22/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB         LAKE DARRELLBURY       MO                     US   25496   138151816@KACHIPYTEL.COM
3QEG3Q   2/16/2021   OB   3/22/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB         LAKE DARRELLBURY       MO                     US   25496   138151816@KACHIPYTEL.COM
3QTEOP   2/16/2021   OB   2/20/2021   WN;4045;SEA;SJC;WN;1564;SJC;PHX         VEELUUR                CHHATTISGARH           IN   22150   138153829@KACHIPYTEL.COM
3QTEOP   2/16/2021   OB   2/20/2021   WN;4045;SEA;SJC;WN;1564;SJC;PHX         VEELUUR                CHHATTISGARH           IN   22150   138153829@KACHIPYTEL.COM
3R4WQ6   2/16/2021   OB   2/18/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP         NEW ELIZABETHFORT      VA                     US   36440   138154797@KACHIPYTEL.COM
3R5QQL   2/16/2021   OB   2/19/2021   WN;2286;SJC;DEN;WN;3033;DEN;SNA         PENGKLLUURU            PUDUCHERRY             IN   46584   138154610@KACHIPYTEL.COM
3R5QQL   2/16/2021   OB   2/19/2021   WN;2286;SJC;DEN;WN;3033;DEN;SNA         PENGKLLUURU            PUDUCHERRY             IN   46584   138154610@KACHIPYTEL.COM
3RBQQ5   2/16/2021   OB   2/23/2021   WN;3075;MIA;BWI;WN;479;BWI;LAX          NORTH STEPHENFURT      MS                     US   37242   138155237@KACHIPYTEL.COM
3RX3V4   2/16/2021   OB   2/19/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF          ROBLESSIDE             IN                     US   80504   138157756@KACHIPYTEL.COM
3S7SR5   2/16/2021   OB   2/17/2021   WN;1923;BUF;BWI                         ELLIOTTFURT            MA                     US   17799   138158174@KACHIPYTEL.COM
3SFBUA   2/16/2021   OB   2/20/2021   WN;4151;SEA;SMF;WN;4066;SMF;DEN         MARIEBERG              MD                     US   77619   138158801@KACHIPYTEL.COM
3SL9OA   2/16/2021   OB   2/18/2021   WN;1533;ORD;BWI;WN;2593;BWI;BOS         MONTGOMERYMOUTH        FL                     US   68452   138159527@KACHIPYTEL.COM
3SZGSA   2/16/2021   OB   3/18/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB         JACOBMOUTH             KS                     US   27018   138160308@KACHIPYTEL.COM
3T3GRE   2/16/2021   OB   2/17/2021   WN;4838;SEA;SMF                         LAKE STEPHANIEBURGH    GA                     US   95920   138160319@KACHIPYTEL.COM
3T3GRE   2/16/2021   OB   2/18/2021   WN;349;SMF;LGB;WN;349;LGB;PHX           LAKE STEPHANIEBURGH    GA                     US   95920   138160319@KACHIPYTEL.COM
3T3HPK   2/16/2021   OB   3/20/2021   WN;2810;MSP;HOU;WN;2357;HOU;MIA         MARIAVILLE             LA                     US   65381   138160242@KACHIPYTEL.COM
3T9W72   2/16/2021   OB   2/21/2021   WN;2234;LAX;STL;WN;3301;STL;FLL         NEW BETHANY            RI                     US   84221   138161100@KACHIPYTEL.COM
3TYY86   2/17/2021   OB   2/18/2021   WN;910;DEN;MDW;WN;3167;MDW;MSP          MATTHEWFORT            ND                     US    3941   138162805@KACHIPYTEL.COM
3U2M74   2/17/2021   OB   2/17/2021   WN;516;ORD;DEN                          DOMINIQUELAND          MA                     US   61122   138162673@KACHIPYTEL.COM
3UC6T3   2/17/2021   OB   2/19/2021   WN;1541;SFO;SAN;WN;1468;SAN;LAS         MCINTYREBOROUGH        AR                     US   83610   138163553@KACHIPYTEL.COM
3UF8JA   2/17/2021   OB   2/26/2021   WN;2255;BOS;BWI;WN;1597;BWI;ORD         NEW ROBIN              MI                     US   95260   138163476@KACHIPYTEL.COM
3VC7KV   2/17/2021   OB   2/26/2021   WN;184;CLE;PHX;WN;425;PHX;LGB           ANGELAPORT             IN                     US   25339   138165522@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG          SOUTH CHRISTOPHER      MD                     US   95977   138165676@KACHIPYTEL.COM




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3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG           SOUTH CHRISTOPHER    MD                   US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG           SOUTH CHRISTOPHER    MD                   US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG           SOUTH CHRISTOPHER    MD                   US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG           SOUTH CHRISTOPHER    MD                   US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG           SOUTH CHRISTOPHER    MD                   US   95977   138165676@KACHIPYTEL.COM
3W7IVX   2/17/2021   OB   4/11/2021   WN;2060;IAD;ATL;WN;1228;ATL;MCO          LAKE DESIREEBURY     UT                   US    6611   138167348@KACHIPYTEL.COM
3W7IVX   2/17/2021   OB   4/11/2021   WN;2060;IAD;ATL;WN;1228;ATL;MCO          LAKE DESIREEBURY     UT                   US    6611   138167348@KACHIPYTEL.COM
3W7IVX   2/17/2021   OB   4/11/2021   WN;2060;IAD;ATL;WN;1228;ATL;MCO          LAKE DESIREEBURY     UT                   US    6611   138167348@KACHIPYTEL.COM
3WCRXB   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB            CODYSHIRE            UT                   US   92934   138167645@KACHIPYTEL.COM
3WCRXB   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB            CODYSHIRE            UT                   US   92934   138167645@KACHIPYTEL.COM
3WCYMO   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB            EAST MARK            WV                   US   97567   138167689@KACHIPYTEL.COM
3WETI8   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG          NORTH BRYANFURT      IA                   US   97210   138167777@KACHIPYTEL.COM
3WGS7U   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG          PORT TERRI           MS                   US   55334   138167645@KACHIPYTEL.COM
3WGS7U   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG          PORT TERRI           MS                   US   55334   138167645@KACHIPYTEL.COM
3WIKRW   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG          EAST DANIELVILLE     CO                   US   26093   138167689@KACHIPYTEL.COM
3WJLIZ   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB            PORT BRANDONVIEW     ME                   US   25742   138167777@KACHIPYTEL.COM
3WSVOU   2/17/2021   OB   2/25/2021   WN;1489;SMF;LAS;WN;4596;LAS;LGB          EAST DARIUSBOROUGH   OR                   US   21747   138168877@KACHIPYTEL.COM
3WSVOU   2/17/2021   OB   2/25/2021   WN;1489;SMF;LAS;WN;4596;LAS;LGB          EAST DARIUSBOROUGH   OR                   US   21747   138168877@KACHIPYTEL.COM
3WY75E   2/17/2021   OB   2/19/2021   WN;206;IND;PHX;WN;390;PHX;DEN            RITATOWN             SC                   US   54372   138169053@KACHIPYTEL.COM
3WY75E   2/17/2021   OB   2/19/2021   WN;206;IND;PHX;WN;390;PHX;DEN            RITATOWN             SC                   US   54372   138169053@KACHIPYTEL.COM
3WY75E   2/17/2021   OB   2/19/2021   WN;206;IND;PHX;WN;390;PHX;DEN            RITATOWN             SC                   US   54372   138169053@KACHIPYTEL.COM
3XCOKN   2/17/2021   OB   3/17/2021   WN;444;PHX;SMF;WN;445;SMF;SNA            JOSEPHMOUTH          PA                   US   78977   138170417@KACHIPYTEL.COM
3XCPHG   2/17/2021   OB   2/19/2021   WN;6022;SMF;SAN;WN;1541;SAN;DEN          NEW JENNIFER         CA                   US   56815   138170274@KACHIPYTEL.COM
3XHCOJ   2/17/2021   OB   2/21/2021   WN;2553;SAN;SMF;WN;4939;SMF;PDX          EAST SEAN            WI                   US   52854   138170274@KACHIPYTEL.COM
3XQFY8   2/17/2021   OB   2/21/2021   WN;4161;BUR;OAK;WN;1303;OAK;GEG          SHRQ HSTY            AZARBAYJANE SHARQI   IR   70801   138171143@KACHIPYTEL.COM
3XR7LW   2/17/2021   OB   2/22/2021   WN;4523;DEN;OKC;WN;4235;OKC;PHX          LAKE PAMELAVILLE     UT                   US   90384   138171385@KACHIPYTEL.COM
3YEQAQ   2/17/2021   OB   2/20/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO          POOLEMOUTH           ND                   US   74670   138172617@KACHIPYTEL.COM
3YQMPF   2/17/2021   OB   2/23/2021   WN;953;ATL;BNA;WN;2522;BNA;MCO           SOUTH PEGGYMOUTH     LA                   US   15383   138173365@KACHIPYTEL.COM
3YV4JN   2/17/2021   OB   2/23/2021   WN;2247;CLT;BWI;WN;4727;BWI;FLL          WEST GREGORYBURGH    FL                   US   40854   138173464@KACHIPYTEL.COM
3YZOQ3   2/17/2021   OB    3/3/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW          VANADZOR             ARMAVIR              AM   16798   138173684@KACHIPYTEL.COM
3Z4CRS   2/17/2021   OB   2/18/2021   WN;1210;PHX;SMF;WN;1154;SMF;SEA          NORTH KRISTIN        NY                   US   40415   138174311@KACHIPYTEL.COM
3Z7WPQ   2/17/2021   OB   2/24/2021   WN;1762;PHL;DEN;WN;2098;DEN;LAX          JESSICAPORT          UT                   US   20461   138174355@KACHIPYTEL.COM
3ZEKYQ   2/17/2021   OB   2/17/2021   WN;2875;DAL;LAS;WN;1556;LAS;TUS          EAST NANCY           OR                   US   83981   138174982@KACHIPYTEL.COM
3ZEKYQ   2/17/2021   OB   2/17/2021   WN;2875;DAL;LAS;WN;1556;LAS;TUS          EAST NANCY           OR                   US   83981   138174982@KACHIPYTEL.COM
3ZLKJQ   2/17/2021   OB   2/17/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX          MICHELLESTAD         MN                   US   93374   138175433@KACHIPYTEL.COM
3ZTKJX   2/17/2021   OB   2/17/2021   WN;4187;MSY;DEN;WN;2098;DEN;LAX          JESSICABURY          ID                   US   80192   138176104@KACHIPYTEL.COM
3ZTKJX   2/17/2021   OB   2/17/2021   WN;4187;MSY;DEN;WN;2098;DEN;LAX          JESSICABURY          ID                   US   80192   138176104@KACHIPYTEL.COM
3ZVDYJ   2/17/2021   OB   2/19/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP          LAURENLAND           IL                   US   21483   138175829@KACHIPYTEL.COM
42DLFC   2/17/2021   OB   2/21/2021   WN;474;OKC;MDW;WN;469;MDW;LGA            NORTH ELIJAHBERG     SC                   US   54863   138177160@KACHIPYTEL.COM
42IHU3   2/17/2021   OB   2/21/2021   WN;5034;MDW;BWI;WN;3984;BWI;FLL          WHEELERTOWN          NH                   US   24592   138177160@KACHIPYTEL.COM
45WCT9   2/17/2021   OB   2/20/2021   WN;2741;ATL;BWI;WN;2087;BWI;FLL          KIMBERLYMOUTH        MS                   US   66901   138190426@KACHIPYTEL.COM
46IJ6R   2/17/2021   OB   2/22/2021   WN;2246;ATL;STL;WN;3301;STL;FLL          NORTH PAULSTAD       TN                   US   65911   138193990@KACHIPYTEL.COM
46LP4Z   2/17/2021   OB   2/25/2021   WN;1914;LGA;MDW;WN;2576;MDW;DTW          EWINGMOUTH           ME                   US   91502   138194034@KACHIPYTEL.COM
4739N8   2/17/2021   OB   2/17/2021   WN;1534;LAS;SMF;WN;3035;SMF;LAX          WEST LINDSEYBERG     ME                   US   38846   138196212@KACHIPYTEL.COM
47I5TI   2/17/2021   OB   2/20/2021   WN;3595;RNO;DEN;WN;1648;DEN;LAX          PORT LISA            VA                   US   45137   138196839@KACHIPYTEL.COM
47I5TI   2/17/2021   OB   2/20/2021   WN;3595;RNO;DEN;WN;1648;DEN;LAX          PORT LISA            VA                   US   45137   138196839@KACHIPYTEL.COM
47I5TI   2/17/2021   OB   2/20/2021   WN;3595;RNO;DEN;WN;1648;DEN;LAX          PORT LISA            VA                   US   45137   138196839@KACHIPYTEL.COM
48A7BK   2/17/2021   OB    3/7/2021   WN;464;DCA;MDW;WN;126;MDW;MCO            JOELPORT             KS                   US   43978   138202108@KACHIPYTEL.COM
48ACT3   2/17/2021   OB   2/26/2021   WN;309;MSP;LAS;WN;397;LAS;PHX            PORT MICHAEL         OR                   US   89873   138202317@KACHIPYTEL.COM
48BYAC   2/17/2021   OB   2/19/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL          WILLIAMSSTAD         PA                   US   52276   138199402@KACHIPYTEL.COM
48ZJDZ   2/17/2021   OB   2/20/2021   WN;1210;PHX;SMF;WN;4082;SMF;LAX          PORT RYAN            AK                   US   89104   138206354@KACHIPYTEL.COM
495FG3   2/17/2021   OB   2/26/2021   WN;3804;LGA;STL;WN;4483;STL;DAL          HANSONBURGH          RI                   US   75179   138206761@KACHIPYTEL.COM
49CQPN   2/17/2021   OB   2/22/2021   WN;3956;MCO;BNA;WN;3956;BNA;STL;WN;342 LAKE RAYMOND           AZ                   US   78537   138207355@KACHIPYTEL.COM
49O3J8   2/17/2021   OB    3/8/2021   WN;802;LAS;BWI;WN;3369;BWI;CVG           DANNYVIEW            NE                   US   49919   138209995@KACHIPYTEL.COM
49S9ST   2/17/2021   OB   2/19/2021   WN;2006;RDU;BWI;WN;4435;BWI;MCO          JOHNSEN              TELEMARK             NO   47727   138165885.1550654@KACHIPYTEL.COM
49T8AW   2/17/2021   OB    3/5/2021   WN;2755;BWI;LAS;WN;397;LAS;PHX           WILLIAMBOROUGH       WA                   US   53709   138209995@KACHIPYTEL.COM
49ZMXW   2/17/2021   OB   2/21/2021   WN;3804;LGA;STL;WN;5072;STL;FLL          WEST MADISONFURT     SD                   US   20950   138210842@KACHIPYTEL.COM
4A4TQU   2/17/2021   OB   2/20/2021   WN;1677;LGA;ATL;WN;1677;ATL;TPA          SINGHMOUTH           NJ                   US   93242   138211623@KACHIPYTEL.COM
4AU3LO   2/17/2021   OB   2/17/2021   WN;4022;MDW;BWI                          PORT CAITLINTOWN     AZ                   US   65531   137635289@KACHIPYTEL.COM
4B5PPF   2/17/2021   OB   2/20/2021   WN;1420;BWI;LAX;WN;865;LAX;SMF           PORT DANA            GA                   US   10814   138216606@KACHIPYTEL.COM
4BWAHO   2/17/2021   OB   2/18/2021   WN;2572;PHX;BUR;WN;2572;BUR;SMF;WN;484 ANDERSONBOROUGH        MT                   US   56287   138219983@KACHIPYTEL.COM
4C4JJJ   2/17/2021   OB   2/22/2021   WN;512;PHX;PIT;WN;2457;PIT;MDW           EAST CARLOS          IA                   US   46996   138221039@KACHIPYTEL.COM
4C4JJJ   2/17/2021   OB   2/22/2021   WN;512;PHX;PIT;WN;2457;PIT;MDW           EAST CARLOS          IA                   US   46996   138221039@KACHIPYTEL.COM
4CEEEP   2/17/2021   OB   2/17/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS          ANGELASHIRE          AZ                   US   70527   138223052@KACHIPYTEL.COM
4CKDS3   2/17/2021   OB   2/26/2021   WN;3587;DTW;BNA;WN;4024;BNA;LGA          PORT JAMES           WA                   US   78299   138223206@KACHIPYTEL.COM
4CKDS3   2/17/2021   OB   2/26/2021   WN;3587;DTW;BNA;WN;4024;BNA;LGA          PORT JAMES           WA                   US   78299   138223206@KACHIPYTEL.COM
4CX2WR   2/17/2021   OB    3/2/2021   WN;3804;LGA;STL;WN;4483;STL;DAL          KIMPORT              CA                   US   23411   138225703@KACHIPYTEL.COM
4D2O5D   2/17/2021   OB   2/28/2021   WN;479;RDU;BWI;WN;4505;BWI;FLL           EAST THOMASBERG      SD                   US   87267   138225384@KACHIPYTEL.COM
4D3SXG   2/17/2021   OB   2/21/2021   WN;2234;LAX;STL;WN;3301;STL;FLL          NORTH SHARON         TN                   US   19161   138225912@KACHIPYTEL.COM
4D5YZ6   2/17/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX          SELISHCHE BORISLAV   CHERKASKA OBLAST     UA    2707   138226572@KACHIPYTEL.COM
4DABA9   2/17/2021   OB   2/18/2021   WN;3264;LAX;DEN;WN;3473;DEN;MTJ          LAKE STEVEN          MI                   US   37915   138226979@KACHIPYTEL.COM
4DHIUT   2/17/2021   OB   2/24/2021   WN;3308;LGB;SMF;WN;1493;SMF;LAS          EAST MIKEMOUTH       WY                   US   79794   138228354@KACHIPYTEL.COM
4DHIUT   2/17/2021   OB   2/24/2021   WN;3308;LGB;SMF;WN;1493;SMF;LAS          EAST MIKEMOUTH       WY                   US   79794   138228354@KACHIPYTEL.COM
4DHIUT   2/17/2021   OB   2/24/2021   WN;3308;LGB;SMF;WN;1493;SMF;LAS          EAST MIKEMOUTH       WY                   US   79794   138228354@KACHIPYTEL.COM
4DKWEA   2/17/2021   OB   2/22/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL          LAKE JOSHUA          MA                   US   13702   138228376@KACHIPYTEL.COM
4E5S9R   2/17/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL            NORTH ROSE           OK                   US   93651   138231742@KACHIPYTEL.COM
4E5S9R   2/17/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL            NORTH ROSE           OK                   US   93651   138231742@KACHIPYTEL.COM
4E6ZIL   2/17/2021   OB   4/15/2021   WN;3603;STL;DAL;WN;1709;DAL;IND          LAKE MICHELLETOWN    WI                   US    2641   138232072@KACHIPYTEL.COM
4E7JO9   2/17/2021   OB   4/18/2021   WN;3686;DAL;TUL;WN;3686;TUL;STL;WN;783;S NORTH SUSANBOROUGH   TX                   US   67326   138232072@KACHIPYTEL.COM
4EBMWG   2/17/2021   OB   4/22/2021   WN;3676;STL;DAL;WN;3193;DAL;LIT          NORTH HELENVILLE     WV                   US   43481   138232072@KACHIPYTEL.COM
4EBNYU   2/17/2021   OB   4/26/2021   WN;2895;DAL;STL;WN;783;STL;LGA           HALLVILLE            WY                   US   15443   138232072@KACHIPYTEL.COM
4EC3LS   2/17/2021   OB   2/26/2021   WN;2705;AUS;PHX;WN;3972;PHX;LAX          PARKERSIDE           IN                   US   18198   138232820@KACHIPYTEL.COM
4EHEL2   2/17/2021   OB   2/23/2021   WN;3262;FLL;MDW;WN;3115;MDW;ATL          LAKE COLINHAVEN      IA                   US   59892   138233645@KACHIPYTEL.COM
4EHEL2   2/17/2021   OB   2/23/2021   WN;3262;FLL;MDW;WN;3115;MDW;ATL          LAKE COLINHAVEN      IA                   US   59892   138233645@KACHIPYTEL.COM
4F5U6E   2/17/2021   OB   2/20/2021   WN;2454;FLL;HOU;WN;2826;HOU;ATL          SOUTH TINATON        NM                   US   35975   138236186@KACHIPYTEL.COM
4FEUHA   2/17/2021   OB   2/26/2021   WN;4842;PHX;SMF;WN;1900;SMF;BUR          LAKE KRISTEN         NE                   US   14951   138237429@KACHIPYTEL.COM
4FEUHA   2/17/2021   OB   2/26/2021   WN;4842;PHX;SMF;WN;1900;SMF;BUR          LAKE KRISTEN         NE                   US   14951   138237429@KACHIPYTEL.COM
4FW7TH   2/17/2021   OB   2/21/2021   WN;1533;ORD;BWI;WN;470;BWI;ATL           RUIZMOUTH            WV                   US   50687   138239486@KACHIPYTEL.COM
4FXET8   2/17/2021   OB   2/21/2021   WN;1533;ORD;BWI;WN;470;BWI;ATL           NEW JACQUELINE       DE                   US   98595   138239486@KACHIPYTEL.COM
4FZX7M   2/17/2021   OB   2/18/2021   WN;5084;LAS;OAK;WN;1148;OAK;LAX          NORTH TIMOTHY        WV                   US   30193   138239772@KACHIPYTEL.COM
4G3QFG   2/17/2021   OB   2/25/2021   WN;1059;MSY;BWI;WN;2593;BWI;BOS          SOUTH MICHAEL        DE                   US   51187   138240256@KACHIPYTEL.COM
4G4KDP   2/17/2021   OB   2/18/2021   WN;5084;LAS;OAK;WN;1148;OAK;LAX          WEST GERALDVIEW      WV                   US   81777   138240355@KACHIPYTEL.COM
4G9LAL   2/17/2021   OB   2/20/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO           NEW KARENSIDE        CT                   US   88398   138240784@KACHIPYTEL.COM
4GELVL   2/17/2021   OB   2/20/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO           KLKH VEDENO          KURSKAYA OBLAST      RU   20546   138241158@KACHIPYTEL.COM
4GMVK3   2/17/2021   OB   2/18/2021   WN;455;DCA;ATL;WN;2817;ATL;LGA           SARAHLAND            IA                   US   25817   138242214@KACHIPYTEL.COM
4GMVK3   2/17/2021   OB   2/18/2021   WN;455;DCA;ATL;WN;2817;ATL;LGA           SARAHLAND            IA                   US   25817   138242214@KACHIPYTEL.COM
4GRKTH   2/17/2021   OB   2/19/2021   WN;3085;DEN;MCO;WN;3088;MCO;ALB          GREGORYSIDE          NJ                   US   10651   138242544@KACHIPYTEL.COM
4GXD65   2/17/2021   OB   2/20/2021   WN;3484;LAS;SNA;WN;4156;SNA;OAK;WN;4156LAURATON               IN                   US   10192   138242709@KACHIPYTEL.COM
4HBKUO   2/17/2021   OB   3/30/2021   WN;525;BWI;PHX;WN;417;PHX;LGB            COOKBURGH            NY                   US   88287   138244073@KACHIPYTEL.COM
4HBKUO   2/17/2021   OB   3/30/2021   WN;525;BWI;PHX;WN;417;PHX;LGB            COOKBURGH            NY                   US   88287   138244073@KACHIPYTEL.COM
4HKFVB   2/17/2021   OB   2/25/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW           NORTH SARA           WI                   US   75840   138244942@KACHIPYTEL.COM
4HNU3U   2/17/2021   OB   2/22/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL           STOUTMOUTH           VA                   US   57751   138244964@KACHIPYTEL.COM
4HSS9O   2/17/2021   OB   2/20/2021   WN;4560;MSY;BWI;WN;1597;BWI;ORD          DONALDFURT           OH                   US   32851   138245503@KACHIPYTEL.COM
4HSS9O   2/17/2021   OB   2/20/2021   WN;4560;MSY;BWI;WN;1597;BWI;ORD          DONALDFURT           OH                   US   32851   138245503@KACHIPYTEL.COM
4J2XE9   2/18/2021   OB   2/22/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL          PORT CAITLYN         NC                   US    2839   138248539@KACHIPYTEL.COM




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4J42HK   2/18/2021   OB   2/20/2021   WN;3484;LAS;SNA;WN;4156;SNA;OAK;WN;4156NORTH CHRISTINE        OR                US   48083   138248550@KACHIPYTEL.COM
4J4TAD   2/18/2021   OB   2/26/2021   WN;3587;DTW;BNA;WN;2618;BNA;ATL        EAST DUSTIN            NC                US   56593   138248902@KACHIPYTEL.COM
4J6YBC   2/18/2021   OB   2/18/2021   WN;2286;SJC;DEN                        CHARLESTON             GA                US   80348   138248748@KACHIPYTEL.COM
4J6YBC   2/18/2021   OB   2/18/2021   WN;2286;SJC;DEN                        CHARLESTON             GA                US   80348   138248748@KACHIPYTEL.COM
4J6YBC   2/18/2021   OB   2/18/2021   WN;2286;SJC;DEN                        CHARLESTON             GA                US   80348   138248748@KACHIPYTEL.COM
4JAV74   2/18/2021   OB    3/6/2021   WN;1677;LGA;ATL;WN;2829;ATL;FLL        PORT SCOTTVILLE        ME                US   86950   138249320@KACHIPYTEL.COM
4JAV74   2/18/2021   OB    3/6/2021   WN;1677;LGA;ATL;WN;2829;ATL;FLL        PORT SCOTTVILLE        ME                US   86950   138249320@KACHIPYTEL.COM
4JAV74   2/18/2021   OB    3/6/2021   WN;1677;LGA;ATL;WN;2829;ATL;FLL        PORT SCOTTVILLE        ME                US   86950   138249320@KACHIPYTEL.COM
4JBWMN   2/18/2021   OB    6/1/2021   WN;1533;ATL;MDW;WN;2988;MDW;DTW        GOMEZTOWN              ND                US   55955   138249045@KACHIPYTEL.COM
4JKVLG   2/18/2021   OB   2/18/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS        DAILLY                 WALLONNE REGION   BE   20801   138249903@KACHIPYTEL.COM
4JLRJN   2/18/2021   OB   5/21/2021   WN;3275;BWI;LAS;WN;1218;LAS;LGB        RAANYCI                RAJASTHAN         IN   83792   138249793@KACHIPYTEL.COM
4JS722   2/18/2021   OB   2/22/2021   WN;953;ATL;BNA;WN;2522;BNA;MCO         SOUTH AMYSTAD          OK                US   59331   138250651@KACHIPYTEL.COM
4JUBP9   2/18/2021   OB   2/19/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP        PORT KIMBERLYLAND      CO                US   38257   138250541@KACHIPYTEL.COM
4K9EX8   2/18/2021   OB   2/20/2021   WN;3801;PHL;ATL;WN;1477;ATL;RSW        WEST ZACHARYPORT       ME                US   11398   138251806@KACHIPYTEL.COM
4KBQ8K   2/18/2021   OB   2/18/2021   WN;856;DEN;LAS;WN;2304;LAS;OMA         NORTH TERESAFURT       ID                US   30299   138251619@KACHIPYTEL.COM
4KGYED   2/18/2021   OB   2/19/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP        PETERSONBERG           CO                US   26023   138252312@KACHIPYTEL.COM
4KIZW4   2/18/2021   OB   2/26/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI        ALEXANDERVIEW          RI                US    9723   138252543@KACHIPYTEL.COM
4KK82P   2/18/2021   OB    3/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB          LAKE MARGARET          NE                US   11072   138252543@KACHIPYTEL.COM
4KLJDC   2/18/2021   OB   2/26/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI        KENNETHPORT            NC                US   89525   138252840@KACHIPYTEL.COM
4KLJDC   2/18/2021   OB   2/26/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI        KENNETHPORT            NC                US   89525   138252840@KACHIPYTEL.COM
4KP3HZ   2/18/2021   OB    3/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB          DOUGLASMOUTH           NJ                US   58580   138252840@KACHIPYTEL.COM
4KP3HZ   2/18/2021   OB    3/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB          DOUGLASMOUTH           NJ                US   58580   138252840@KACHIPYTEL.COM
4KYU76   2/18/2021   OB   2/19/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP        SOUTH DEBRATOWN        MI                US    7235   138253841@KACHIPYTEL.COM
4L8YBC   2/18/2021   OB   2/25/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI        WEST RUTH              RI                US   30415   138254160@KACHIPYTEL.COM
4L9OXJ   2/18/2021   OB   2/26/2021   WN;4971;DCA;BNA;WN;2522;BNA;MCO        NEW EMILYBURY          NV                US   30064   138254413@KACHIPYTEL.COM
4LB9U8   2/18/2021   OB   3/19/2021   WN;2060;IAD;ATL;WN;1620;ATL;GSP        SEIXAL                 EVORA             PT      67   138254259@KACHIPYTEL.COM
4LCXNC   2/18/2021   OB   2/19/2021   WN;1898;CLT;DEN;WN;3297;DEN;MKE        SAN BERNARDO LOS ALT   ZACATECAS         MX   47892   138254831@KACHIPYTEL.COM
4LDS2M   2/18/2021   OB    3/8/2021   WN;896;LAX;MDW;WN;226;MDW;FLL          JESSICALAND            FL                US   56798   138254567@KACHIPYTEL.COM
4LDS2M   2/18/2021   OB    3/8/2021   WN;896;LAX;MDW;WN;226;MDW;FLL          JESSICALAND            FL                US   56798   138254567@KACHIPYTEL.COM
4LFWQM   2/18/2021   OB    3/4/2021   WN;3989;MDW;LAX;WN;4608;LAX;OAK        NEW WILLIAMTOWN        MS                US   61797   138254567@KACHIPYTEL.COM
4LFWQM   2/18/2021   OB    3/4/2021   WN;3989;MDW;LAX;WN;4608;LAX;OAK        NEW WILLIAMTOWN        MS                US   61797   138254567@KACHIPYTEL.COM
4LGBQ7   2/18/2021   OB   2/18/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP        SOUTH BRANDON          WV                US   54731   138254732@KACHIPYTEL.COM
4LGBQ7   2/18/2021   OB   2/18/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP        SOUTH BRANDON          WV                US   54731   138254732@KACHIPYTEL.COM
4LINBY   2/18/2021   OB   8/13/2021   WN;3501;SNA;MDW;WN;1698;MDW;FLL        WEST JOHN              IL                US    2194   138255051@KACHIPYTEL.COM
4LOK3P   2/18/2021   OB   2/19/2021   WN;1490;LAS;SMF;WN;1154;SMF;SEA        PORT ANDREWSHIRE       SC                US    4366   138255238@KACHIPYTEL.COM
4LPQMH   2/18/2021   OB   2/19/2021   WN;1898;CLT;DEN;WN;3297;DEN;MKE        LARSONSIDE             GA                US   51528   138255337@KACHIPYTEL.COM
4M4QGZ   2/18/2021   OB   2/20/2021   WN;2063;DTW;PHX;WN;4252;PHX;LAS        JESSICABURGH           MA                US   80743   138256063@KACHIPYTEL.COM
4M5A5S   2/18/2021   OB   2/19/2021   WN;1424;ORD;BNA;WN;2978;BNA;BOS        PORT KARAMOUTH         PA                US   24746   138256393@KACHIPYTEL.COM
4MGH2G   2/18/2021   OB   2/20/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO         ALLENPORT              FL                US    5022   138256800@KACHIPYTEL.COM
4MUDVO   2/18/2021   OB   2/27/2021   WN;3484;LAS;SNA;WN;4156;SNA;OAK;WN;4156EAST MARKCHESTER       WY                US   45716   138257790@KACHIPYTEL.COM
4MYBFU   2/18/2021   OB   2/20/2021   WN;1677;LGA;ATL;WN;2099;ATL;MCO        NEW KEITH              UT                US    5189   138258197@KACHIPYTEL.COM
4MZQ73   2/18/2021   OB   2/19/2021   WN;1980;SFO;DEN;WN;3167;DEN;GEG        NORTH KATHRYNBURGH     LA                US   85304   138257900@KACHIPYTEL.COM
4MZQ73   2/18/2021   OB   2/19/2021   WN;1980;SFO;DEN;WN;3167;DEN;GEG        NORTH KATHRYNBURGH     LA                US   85304   138257900@KACHIPYTEL.COM
4MZQ73   2/18/2021   OB   2/19/2021   WN;1980;SFO;DEN;WN;3167;DEN;GEG        NORTH KATHRYNBURGH     LA                US   85304   138257900@KACHIPYTEL.COM
4N6K7C   2/18/2021   OB    4/1/2021   WN;1629;BNA;DAL;WN;369;DAL;CLT         CANDICEMOUTH           IN                US   12315   138258373@KACHIPYTEL.COM
4N7754   2/18/2021   OB   2/21/2021   WN;3927;MSP;DEN;WN;914;DEN;PSP;WN;914;PGROS                   ARIEGE            FR   17013   138254974@KACHIPYTEL.COM
4NU8BR   2/18/2021   OB   2/20/2021   WN;135;LGA;ATL;WN;2206;ATL;MCO         EAST JOSEBURY          UT                US   42798   138260078@KACHIPYTEL.COM




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PNR_REC_LOC_ID   PNR_CRE_DT       ITIN_PART   FLT_DEP_DT       ITIN                              BILL_CITY              BILL_ST_PRVC     BILL_CNTRY   BILL_ZIP      EMAIL
L34RIC                8/26/2020   OB                3/8/2021   WN;103;MEM;MDW;WN;1236;MDW;LAS    KATHERINEBURY          SC               US                24367    122547766@AIRLINE.KIWI.COM
OSBRL7                9/12/2020   OB                4/3/2021   WN;33;ABQ;LAS                     RAMIREZTOWN            NV               US                43222    124129049@AIRLINE.KIWI.COM
OSEQOI                9/12/2020   OB                4/8/2021   WN;3242;LAS;ABQ                   EAST DANIELTOWN        GA               US                72177    124129049@AIRLINE.KIWI.COM
VF7TNV                9/18/2020   OB               2/24/2021   WN;5035;SJU;FLL                   PORT DAVIDHAVEN        AR               US                60899    124683746@AIRLINE.KIWI.COM
VF7TNV                9/18/2020   OB               2/24/2021   WN;5035;SJU;FLL                   PORT DAVIDHAVEN        AR               US                60899    124683746@AIRLINE.KIWI.COM
TCEHVO                9/25/2020   OB               3/13/2021   WN;2280;LGA;BNA;WN;2549;BNA;MCO   KARIMOUTH              PA               US                83140    125391761@AIRLINE.KIWI.COM
TCEHVO                9/25/2020   OB               3/13/2021   WN;2280;LGA;BNA;WN;2549;BNA;MCO   KARIMOUTH              PA               US                83140    125391761@AIRLINE.KIWI.COM
Q99JJ5                10/3/2020   OB               2/28/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA   LEWISVILLE             ND               US                26800    126056854@AIRLINE.KIWI.COM
Q99JJ5                10/3/2020   OB               2/28/2021   WN;2611;DAL;MDW;WN;4910;MDW;LGA   LEWISVILLE             ND               US                26800    126056854@AIRLINE.KIWI.COM
TKJXB7                10/3/2020   OB               3/30/2021   WN;971;LIH;HNL;WN;1738;HNL;SJC    HOUSEMOUTH             CA               US                15072    126145877@AIRLINE.KIWI.COM
T7WLX2                10/7/2020   OB                4/7/2021   WN;265;PHX;OMA                    PORT LARRYLAND         WY               US                86506    126542493@AIRLINE.KIWI.COM
VJPR8V               10/17/2020   OB               2/23/2021   WN;2223;BWI;HOU                   EAST MARY              WV               US                31021    127448783@AIRLINE.KIWI.COM
VJPR8V               10/17/2020   RT                3/2/2021   WN;44;HOU;DAL;WN;2055;DAL;BWI     EAST MARY              WV               US                31021    127448783@AIRLINE.KIWI.COM
P9SGPB                11/3/2020   OB               6/18/2021   WN;393;SFO;PHX;WN;1239;PHX;DAL    SOUZA                  PARA             BR                74284    128915391@AIRLINE.KIWI.COM
R7L56G                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE             BG                48720    128993359@AIRLINE.KIWI.COM
R7L56G                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE             BG                48720    128993359@AIRLINE.KIWI.COM
R7L56G                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE             BG                48720    128993359@AIRLINE.KIWI.COM
R7L56G                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE             BG                48720    128993359@AIRLINE.KIWI.COM
R7L56G                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PORT TILIANABERG       RUSE             BG                48720    128993359@AIRLINE.KIWI.COM
R9B24V                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PO ZI                  CHIAY CITY       TW                16100    128995812@AIRLINE.KIWI.COM
R9B24V                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PO ZI                  CHIAY CITY       TW                16100    128995812@AIRLINE.KIWI.COM
R9B24V                11/3/2020   OB                4/4/2021   WN;996;MCO;SJU                    PO ZI                  CHIAY CITY       TW                16100    128995812@AIRLINE.KIWI.COM
MH7KEC                11/6/2020   OB               2/26/2021   WN;346;SJU;BWI;WN;4413;BWI;BDL    JEFFREYSIDE            MT               US                37127    129279964@AIRLINE.KIWI.COM
MH7KEC                11/6/2020   OB               2/26/2021   WN;346;SJU;BWI;WN;4413;BWI;BDL    JEFFREYSIDE            MT               US                37127    129279964@AIRLINE.KIWI.COM
QIR54H                11/8/2020   OB               3/21/2021   WN;518;DAL;FLL                    DA WANG BAI LI SHI     IBARAKI          JP                90647    129365093@AIRLINE.KIWI.COM
WCTD7M               11/10/2020   OB                4/6/2021   WN;1775;MDW;LGA                   NUEVA NAURU            AGUASCALIENTES   MX                86763    129528432@AIRLINE.KIWI.COM
WCTD7M               11/10/2020   OB                4/6/2021   WN;1775;MDW;LGA                   NUEVA NAURU            AGUASCALIENTES   MX                86763    129528432@AIRLINE.KIWI.COM
WCTD7M               11/10/2020   OB                4/6/2021   WN;1775;MDW;LGA                   NUEVA NAURU            AGUASCALIENTES   MX                86763    129528432@AIRLINE.KIWI.COM
KQBULQ               11/11/2020   OB               3/23/2021   WN;1559;PHX;HOU;WN;467;HOU;MIA    PORT ULFET             BINGOL           TR                56018    127217970.1498665@AIRLINE.KIWI.COM
NKEP3F               11/11/2020   OB               2/24/2021   WN;1068;SLC;OAK;WN;808;OAK;HNL    WEST MARKVIEW          KY               US                33326    129705994@AIRLINE.KIWI.COM
NKEP3F               11/11/2020   OB               2/24/2021   WN;1068;SLC;OAK;WN;808;OAK;HNL    WEST MARKVIEW          KY               US                33326    129705994@AIRLINE.KIWI.COM
QFQWHQ               11/12/2020   OB                3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA            ID                59220    129793609@AIRLINE.KIWI.COM
QFQWHQ               11/12/2020   OB                3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA            ID                59220    129793609@AIRLINE.KIWI.COM
QFQWHQ               11/12/2020   OB                3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA            ID                59220    129793609@AIRLINE.KIWI.COM
QFQWHQ               11/12/2020   OB                3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA            ID                59220    129793609@AIRLINE.KIWI.COM
QFQWHQ               11/12/2020   OB                3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA            ID                59220    129793609@AIRLINE.KIWI.COM
QFQWHQ               11/12/2020   OB                3/6/2021   WN;979;MCO;SJU                    PALEMBANG              PAPUA            ID                59220    129793609@AIRLINE.KIWI.COM
TWV5VQ               11/14/2020   OB               4/11/2021   WN;810;MDW;DEN;WN;1918;DEN;OMA    IDRIJA                 SENCUR           SI                60528    129894413@AIRLINE.KIWI.COM
PAYZ9N               11/17/2020   OB               3/11/2021   WN;2112;ONT;PHX;WN;382;PHX;ATL    HOBBSFURT              RI               US                  9135   130122289@AIRLINE.KIWI.COM
PAYZ9N               11/17/2020   OB               3/11/2021   WN;2112;ONT;PHX;WN;382;PHX;ATL    HOBBSFURT              RI               US                  9135   130122289@AIRLINE.KIWI.COM
PAYZ9N               11/17/2020   RT               3/15/2021   WN;2186;ATL;DEN;WN;2110;DEN;ONT   HOBBSFURT              RI               US                  9135   130122289@AIRLINE.KIWI.COM
PAYZ9N               11/17/2020   RT               3/15/2021   WN;2186;ATL;DEN;WN;2110;DEN;ONT   HOBBSFURT              RI               US                  9135   130122289@AIRLINE.KIWI.COM
PE6RVL               11/17/2020   OB               3/28/2021   WN;433;ATL;IND                    ASM                    DELHI            IN                  6087   130124115@AIRLINE.KIWI.COM
PE6RVL               11/17/2020   OB               3/28/2021   WN;433;ATL;IND                    ASM                    DELHI            IN                  6087   130124115@AIRLINE.KIWI.COM
PEMWYW               11/17/2020   OB               3/22/2021   WN;1723;IND;ATL                   PHAADR                 CHANDIGARH       IN                41734    130124104@AIRLINE.KIWI.COM
PEMWYW               11/17/2020   OB               3/22/2021   WN;1723;IND;ATL                   PHAADR                 CHANDIGARH       IN                41734    130124104@AIRLINE.KIWI.COM
PGMLDU               11/17/2020   OB                4/5/2021   WN;705;ECP;BNA                    EAST STEPHANIE         KY               US                24380    126506545.1501557@AIRLINE.KIWI.COM
RVHXX7               11/18/2020   OB               3/15/2021   WN;2094;LAS;LAX                   SOUTH MARTHA           MT               US                41287    130210828@AIRLINE.KIWI.COM
U3Q3IQ               11/18/2020   OB               3/20/2021   WN;2218;PHX;MSP                   LAKE NICOLASBURGH      KS               US                87045    130274474@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LDZAHX               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   PORT AGNESTOWN         GLARUS           CH                46428    131070291@AIRLINE.KIWI.COM
LFMST4               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS               US                21074    131071534@AIRLINE.KIWI.COM
LFMST4               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS               US                21074    131071534@AIRLINE.KIWI.COM
LFMST4               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS               US                21074    131071534@AIRLINE.KIWI.COM
LFMST4               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   JONATHANBOROUGH        MS               US                21074    131071534@AIRLINE.KIWI.COM
LIILXZ               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV               US                96013    131072887@AIRLINE.KIWI.COM
LIILXZ               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV               US                96013    131072887@AIRLINE.KIWI.COM
LIILXZ               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV               US                96013    131072887@AIRLINE.KIWI.COM
LIILXZ               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV               US                96013    131072887@AIRLINE.KIWI.COM
LIILXZ               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV               US                96013    131072887@AIRLINE.KIWI.COM
LIILXZ               11/25/2020   OB                4/3/2021   WN;2514;FLL;SJU                   SOUTH KYLIESIDE        WV               US                96013    131072887@AIRLINE.KIWI.COM
NMPTBY               11/25/2020   OB                3/4/2021   WN;3368;ATL;HOU                   NORTH CALVINBURY       AK               US                89531    131149205@KACHIPYTEL.COM
NMUI5O               11/25/2020   OB                3/8/2021   WN;1015;SAT;ATL;WN;2079;ATL;MSY   BENSONVIEW             IA               US                  8092   131149205@KACHIPYTEL.COM
MEYC8X               11/30/2020   OB               2/28/2021   WN;4246;HOU;FLL                   AMANDACHESTER          LARNAKA          CY                77935    131499544@AIRLINE.KIWI.COM
OF2IJT               11/30/2020   RT               2/27/2021   WN;4733;LBB;DAL;WN;49;DAL;HOU     LAKE CORNELIU          SALAJ            RO                98564    131571704@AIRLINE.KIWI.COM
PQLUSJ                12/1/2020   OB               2/26/2021   WN;3230;OKC;HOU                   NEW DAVIDFURT          IN               US                17319    131608994@AIRLINE.KIWI.COM
PQLUSJ                12/1/2020   OB               2/26/2021   WN;3230;OKC;HOU                   NEW DAVIDFURT          IN               US                17319    131608994@AIRLINE.KIWI.COM
R8U99X                12/1/2020   OB               3/14/2021   WN;1301;TUS;LAS                   STACYPORT              CT               US                18911    131662652@AIRLINE.KIWI.COM
R8U99X                12/1/2020   RT               3/17/2021   WN;200;LAS;TUS                    STACYPORT              CT               US                18911    131662652@AIRLINE.KIWI.COM
SJWLRA                12/2/2020   OB               3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ               US                93332    131705838@AIRLINE.KIWI.COM
SJWLRA                12/2/2020   OB               3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ               US                93332    131705838@AIRLINE.KIWI.COM
SJWLRA                12/2/2020   OB               3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ               US                93332    131705838@AIRLINE.KIWI.COM
SJWLRA                12/2/2020   OB               3/14/2021   WN;775;LAS;DEN;WN;1709;DEN;SDF    SCHWARTZFURT           NJ               US                93332    131705838@AIRLINE.KIWI.COM
QCE5M4                12/6/2020   OB                3/3/2021   WN;1148;HNL;OAK;WN;4862;OAK;LAS   NORTH VERONICA         IL               US                30120    132071610@AIRLINE.KIWI.COM
QCE5M4                12/6/2020   OB                3/3/2021   WN;1148;HNL;OAK;WN;4862;OAK;LAS   NORTH VERONICA         IL               US                30120    132071610@AIRLINE.KIWI.COM
QITSCL                12/6/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
QITSCL                12/6/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   NEW MICHAELVIEW        VT               US                90133    132074228@AIRLINE.KIWI.COM
2QS4QP                12/7/2020   OB               2/27/2021   WN;3808;ATL;DEN                   WEST CHRISTOPHERBURY   UT               US                  6774   131986954.1513605@AIRLINE.KIWI.COM
2QS4QP                12/7/2020   OB               2/27/2021   WN;3808;ATL;DEN                   WEST CHRISTOPHERBURY   UT               US                  6774   131986954.1513605@AIRLINE.KIWI.COM
2QS4QP                12/7/2020   OB               2/27/2021   WN;3808;ATL;DEN                   WEST CHRISTOPHERBURY   UT               US                  6774   131986954.1513605@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   OB               2/24/2021   WN;4988;STL;HOU;WN;3294;HOU;MIA   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
2V9DCZ                12/7/2020   RT               2/26/2021   WN;4145;MIA;TPA;WN;4145;TPA;STL   PORT MATTHEWBOROUGH    MS               US                29017    132206844@AIRLINE.KIWI.COM
22BIAM                12/9/2020   OB               3/13/2021   WN;2456;TPA;MSP                   PORT TARA              KY               US                72190    132351384@AIRLINE.KIWI.COM
3PQVLU               12/10/2020   OB               2/27/2021   WN;1738;DEN;TPA;WN;3546;TPA;MIA   EAST JASON             LA               US                83706    132507540@KACHIPYTEL.COM
3PQVLU               12/10/2020   OB               2/27/2021   WN;1738;DEN;TPA;WN;3546;TPA;MIA   EAST JASON             LA               US                83706    132507540@KACHIPYTEL.COM
2H3WUX               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    HANSENMOUTH            DE               US                65793    132650397@AIRLINE.KIWI.COM
2HUR9Q               12/11/2020   OB               3/11/2021   WN;467;MIA;BWI                    NORTH AARONBURGH       AL               US                78516    132651992@AIRLINE.KIWI.COM
2HUR9Q               12/11/2020   OB               3/11/2021   WN;467;MIA;BWI                    NORTH AARONBURGH       AL               US                78516    132651992@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
4E5359               12/11/2020   OB               3/19/2021   WN;746;DEN;ATL;WN;1620;ATL;GSP    NEW KAYLABURGH         WA               US                66162    132565620@AIRLINE.KIWI.COM
3WRI49               12/13/2020   OB                3/1/2021   WN;4997;STL;MDW;WN;3306;MDW;MIA   NEW ASHLEYFORT         AK               US                54346    132731775@AIRLINE.KIWI.COM




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4YULZP   12/13/2020   OB   2/25/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA                  STEPHENSBERG           MD          US     54339   132789690@AIRLINE.KIWI.COM
2BFNTB   12/14/2020   OB   2/24/2021   WN;2809;CVG;MDW;WN;3306;MDW;MIA                 NORTH GLORIATOWN       TX          US     72953   132807675@AIRLINE.KIWI.COM
2BFNTB   12/14/2020   OB   2/24/2021   WN;2809;CVG;MDW;WN;3306;MDW;MIA                 NORTH GLORIATOWN       TX          US     72953   132807675@AIRLINE.KIWI.COM
23THR9   12/16/2020   OB   3/26/2021   WN;2080;DTW;DEN;WN;854;DEN;LAX                  SOUTH MARY             ND          US     77231   133014442@KACHIPYTEL.COM
4YGWHL   12/16/2020   OB   3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039;BWI;MCO JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO                  JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB   3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039;BWI;MCO JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO                  JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB   3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039;BWI;MCO JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO                  JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB   3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039;BWI;MCO JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO                  JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB   3/27/2021   WN;1783;SLC;LAS;WN;3039;LAS;BWI;WN;3039;BWI;MCO JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
4YGWHL   12/16/2020   OB    4/3/2021   WN;2776;SLC;DEN;WN;365;DEN;MCO                  JILLSHIRE              TX          US     63572   133009415@AIRLINE.KIWI.COM
3GTPNF   12/17/2020   RT   2/24/2021   WN;4615;PHX;MDW                                 EDWARDSLAND            WI          US     93628   133115279@AIRLINE.KIWI.COM
2I4UDX   12/18/2020   OB   3/25/2021   WN;1024;BNA;DEN;WN;1422;DEN;SEA                 LAKE ALLISONPORT       GA          US     96211   133267585@KACHIPYTEL.COM
4W2TVA   12/18/2020   OB   4/18/2021   WN;638;LAX;MSY                                  GARCIALAND             WA          US     51375   133216963@AIRLINE.KIWI.COM
4W2TVA   12/18/2020   OB   4/18/2021   WN;638;LAX;MSY                                  GARCIALAND             WA          US     51375   133216963@AIRLINE.KIWI.COM
4W3MFD   12/18/2020   OB   4/28/2021   WN;1501;MSY;OAK;WN;680;OAK;LGB                  WEST VICTOR            NC          US     30070   133216963@KACHIPYTEL.COM
4W3MFD   12/18/2020   OB   4/28/2021   WN;1501;MSY;OAK;WN;680;OAK;LGB                  WEST VICTOR            NC          US     30070   133216963@KACHIPYTEL.COM
3BDWPY   12/19/2020   OB    3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG                  WILLIESIDE             OH          US     33935   133367597@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB    3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG                  WILLIESIDE             OH          US     33935   133367597@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB    3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG                  WILLIESIDE             OH          US     33935   133367597@AIRLINE.KIWI.COM
3BDWPY   12/19/2020   OB    3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG                  WILLIESIDE             OH          US     33935   133367597@AIRLINE.KIWI.COM
3HYVTN   12/20/2020   OB    3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG                  BECKERTON              DE          US     93431   133383855@AIRLINE.KIWI.COM
3HYVTN   12/20/2020   OB    3/9/2021   WN;1068;SLC;OAK;WN;784;OAK;OGG                  BECKERTON              DE          US     93431   133383855@AIRLINE.KIWI.COM
3T62OM   12/20/2020   OB   3/25/2021   WN;795;HOU;CZM                                  NORTH WILLIAMSIDE      SC          US     23127   133423906@AIRLINE.KIWI.COM
3T62OM   12/20/2020   OB   3/25/2021   WN;795;HOU;CZM                                  NORTH WILLIAMSIDE      SC          US     23127   133423906@AIRLINE.KIWI.COM
3T85XG   12/20/2020   OB   3/18/2021   WN;798;CZM;HOU                                  BRYANTTOWN             HI          US     39913   133423906@AIRLINE.KIWI.COM
3T85XG   12/20/2020   OB   3/18/2021   WN;798;CZM;HOU                                  BRYANTTOWN             HI          US     39913   133423906@AIRLINE.KIWI.COM
3XCDTF   12/20/2020   OB   2/26/2021   WN;388;CLE;DEN;WN;1898;DEN;LGB                  WEST TANYA             HI          US     79201   133445103@KACHIPYTEL.COM
3YPARR   12/21/2020   OB   4/20/2021   WN;2272;SJU;MCO;WN;503;MCO;PHL                  HAWKINSSIDE            MN          US     85823   133450702@KACHIPYTEL.COM
3YPARR   12/21/2020   OB   4/20/2021   WN;2272;SJU;MCO;WN;503;MCO;PHL                  HAWKINSSIDE            MN          US     85823   133450702@KACHIPYTEL.COM
3YPARR   12/21/2020   OB   4/20/2021   WN;2272;SJU;MCO;WN;503;MCO;PHL                  HAWKINSSIDE            MN          US     85823   133450702@KACHIPYTEL.COM
4572X4   12/21/2020   OB   2/24/2021   WN;930;PHL;DEN;WN;856;DEN;LAS                   KELSEYBERG             ND          US     63202   133462681@AIRLINE.KIWI.COM
4572X4   12/21/2020   OB   2/24/2021   WN;930;PHL;DEN;WN;856;DEN;LAS                   KELSEYBERG             ND          US     63202   133462681@AIRLINE.KIWI.COM
247EFP   12/22/2020   OB   3/29/2021   WN;273;MBJ;MCO                                  PORT ANDREW            ID          US     43671   133595352@AIRLINE.KIWI.COM
2BTOKL   12/22/2020   OB   3/29/2021   WN;1278;LAX;DEN;WN;993;DEN;DTW                  EAST BRANDYTOWN        OH          US     81317   133631817@AIRLINE.KIWI.COM
2T8NZZ   12/23/2020   OB    5/3/2021   WN;110;HNL;LIH                                  SAULGAU                HAMBURG     DE     60927   133693626@AIRLINE.KIWI.COM
2T8NZZ   12/23/2020   RT    5/9/2021   WN;1102;LIH;HNL                                 SAULGAU                HAMBURG     DE     60927   133693626@AIRLINE.KIWI.COM
2XC78F   12/23/2020   OB   3/22/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL                 SOUTH LINDA            KY          US     26810   133712381@AIRLINE.KIWI.COM
32CQU7   12/24/2020   OB   2/27/2021   WN;2724;FLL;BNA;WN;2349;BNA;MDW                 PAAKAALAA              TELANGANA   IN     30277   133719971@KACHIPYTEL.COM
3OS329   12/25/2020   OB   3/20/2021   WN;1385;PHX;SDF                                 NORTH JOHNNYTON        FL          US     24980   133792450@AIRLINE.KIWI.COM
3OTWKR   12/25/2020   OB   3/13/2021   WN;3041;SDF;PHX;WN;981;PHX;MCI                  EAST JUDY              FL          US     60189   133792450@KACHIPYTEL.COM
48WRYC   12/25/2020   OB   3/19/2021   WN;878;IAD;MDW;WN;1285;MDW;MCO                  PORT MELISSA           MD          US     73752   133842005@AIRLINE.KIWI.COM
4GFSIK   12/26/2020   OB   3/29/2021   WN;2186;ATL;DEN;WN;362;DEN;LAX                  MORGANFURT             NM          US     67416   133861233@AIRLINE.KIWI.COM
4GFSIK   12/26/2020   OB   3/29/2021   WN;2186;ATL;DEN;WN;362;DEN;LAX                  MORGANFURT             NM          US     67416   133861233@AIRLINE.KIWI.COM
4GFSIK   12/26/2020   RT    4/1/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL                 MORGANFURT             NM          US     67416   133861233@AIRLINE.KIWI.COM
4GFSIK   12/26/2020   RT    4/1/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL                 MORGANFURT             NM          US     67416   133861233@AIRLINE.KIWI.COM
4U3GR9   12/26/2020   OB   3/27/2021   WN;2386;SLC;DEN;WN;365;DEN;MCO                  MARSHALLMOUTH          WV          US     44278   133900239@AIRLINE.KIWI.COM
4U6X9Z   12/26/2020   OB    4/3/2021   WN;1342;MCO;SDF;WN;1342;SDF;DEN;WN;753;DEN;SLC GARRETTBOROUGH          MT          US     74891   133900239@AIRLINE.KIWI.COM
2R6XU8   12/28/2020   OB   4/15/2021   WN;3292;RDU;DAL;WN;142;DAL;AUS                  BENNETTHAVEN           MO          US     99189   133989108@AIRLINE.KIWI.COM
2R7DII   12/28/2020   OB    3/2/2021   WN;1148;HNL;OAK;WN;1148;OAK;LAX                 PORT JOSHUA            AZ          US     25750   133988899@AIRLINE.KIWI.COM
3C5D7Y   12/28/2020   OB   3/29/2021   WN;249;LAS;MSP                                  WEST MONICAPORT        SC          US     96178   134058837@AIRLINE.KIWI.COM
3C6REA   12/28/2020   OB   3/26/2021   WN;1841;MSP;HOU;WN;827;HOU;PHX                  GLORIAMOUTH            NC          US     57071   134058837@KACHIPYTEL.COM
3RVWMT   12/29/2020   OB   4/11/2021   WN;1538;MCO;MDW;WN;488;MDW;LAX                  SOUTH CHRISTOPHERBUR   UT          US     29193   134109723@AIRLINE.KIWI.COM
3RZBY4   12/29/2020   OB   4/11/2021   WN;1538;MCO;MDW;WN;488;MDW;LAX                  ROJASHAVEN             AR          US     47077   134109723@AIRLINE.KIWI.COM
3SPVJT   12/29/2020   OB   5/26/2021   WN;400;OKC;DEN;WN;3126;DEN;LAS                  PORT KARLABURGH        SC          US     77468   134113562@AIRLINE.KIWI.COM
3SPVJT   12/29/2020   OB   5/26/2021   WN;400;OKC;DEN;WN;3126;DEN;LAS                  PORT KARLABURGH        SC          US     77468   134113562@AIRLINE.KIWI.COM
3XH93H   12/29/2020   OB   7/16/2021   WN;898;ONT;LAS;WN;2621;LAS;ATL                  NORTH MARISABOROUGH    IL          US     37875   134135298@AIRLINE.KIWI.COM
3YSOXH   12/29/2020   OB   3/21/2021   WN;942;ATL;BNA;WN;536;BNA;MCO                   ANTHONYLAND            WY          US     12520   134139456@AIRLINE.KIWI.COM
3YSOXH   12/29/2020   OB   3/21/2021   WN;942;ATL;BNA;WN;536;BNA;MCO                   ANTHONYLAND            WY          US     12520   134139456@AIRLINE.KIWI.COM
42QGRG   12/30/2020   OB   5/24/2021   WN;2096;HNL;SAN                                 NATALIESTAD            IN          US     54839   127451852.1526851@AIRLINE.KIWI.COM
43IA49   12/30/2020   OB   3/18/2021   WN;1841;MSP;HOU;WN;2131;HOU;SRQ                 WASHINGTONBURY         MN          US      3469   134145407@AIRLINE.KIWI.COM
43JCWJ   12/30/2020   OB   3/22/2021   WN;1499;SRQ;HOU;WN;209;HOU;MSP                  EAST MONICA            ID          US     64994   134145407@AIRLINE.KIWI.COM
4LXTGN   12/30/2020   OB   3/21/2021   WN;1049;LAX;HOU;WN;742;HOU;MSY                  SMITHFURT              CA          US     71009   134213090@KACHIPYTEL.COM
4LZPZU   12/30/2020   OB   3/13/2021   WN;3199;HOU;LAX                                 HENDERSONMOUTH         MT          US     98004   134213090@AIRLINE.KIWI.COM
4LZQDC   12/30/2020   OB   3/20/2021   WN;1738;HNL;SJC;WN;1738;SJC;LAX                 SHEPHERDHAVEN          WY          US     63625   134213090@AIRLINE.KIWI.COM
26DJ5K   12/31/2020   OB    3/7/2021   WN;1273;LAS;ATL                                 WILLIAMSIDE            NC          US     65879   134140743.1527632@AIRLINE.KIWI.COM
2AN5D4   12/31/2020   RT   2/24/2021   WN;3203;FLL;DAL;WN;2683;DAL;BHM                 NEW ANTHONY            IN          US     61740   134284744@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB    4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO                   LAKE REGINABURY        NY          US     97042   134288363@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB    4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO                   LAKE REGINABURY        NY          US     97042   134288363@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB    4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO                   LAKE REGINABURY        NY          US     97042   134288363@AIRLINE.KIWI.COM
2CECO9   12/31/2020   OB    4/2/2021   WN;362;LAX;LAS;WN;133;LAS;MCO                   LAKE REGINABURY        NY          US     97042   134288363@AIRLINE.KIWI.COM
4PIUAQ   12/31/2020   OB    4/2/2021   WN;241;BDL;TPA                                  WEST DANIEL            KS          US     42282   134223760@KACHIPYTEL.COM
4PIUAQ   12/31/2020   OB    4/2/2021   WN;241;BDL;TPA                                  WEST DANIEL            KS          US     42282   134223760@KACHIPYTEL.COM
4PIUAQ   12/31/2020   OB    4/2/2021   WN;241;BDL;TPA                                  WEST DANIEL            KS          US     42282   134223760@KACHIPYTEL.COM
4PIUAQ   12/31/2020   OB    4/2/2021   WN;241;BDL;TPA                                  WEST DANIEL            KS          US     42282   134223760@KACHIPYTEL.COM
4Q7B9V   12/31/2020   OB    4/2/2021   WN;241;BDL;TPA                                  PORT NICOLEFURT        IA          US     87414   134225311@KACHIPYTEL.COM
4Q7B9V   12/31/2020   OB    4/2/2021   WN;241;BDL;TPA                                  PORT NICOLEFURT        IA          US     87414   134225311@KACHIPYTEL.COM
2DI6ZQ     1/1/2021   OB   3/22/2021   WN;1049;LAX;HOU;WN;1156;HOU;ATL                 EAST MARISSA           FL          US     61350   134290695@AIRLINE.KIWI.COM
2G8L8L     1/1/2021   OB    3/1/2021   WN;1129;HNL;SMF                                 JONESTOWN              NC          US     35438   134295293@AIRLINE.KIWI.COM
2RO982     1/1/2021   OB   2/23/2021   WN;4078;MIA;MDW;WN;2636;MDW;MSP                 NEW TAYLOR             TN          US     37483   134326995@AIRLINE.KIWI.COM
2VM4HY     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 ROBERTHAVEN            MO          US     54584   134346113@AIRLINE.KIWI.COM
2VM4HY     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 ROBERTHAVEN            MO          US     54584   134346113@AIRLINE.KIWI.COM
2VM4HY     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 ROBERTHAVEN            MO          US     54584   134346113@AIRLINE.KIWI.COM
2VNPKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NORTH JEFFREY          OR          US     91748   134346113@AIRLINE.KIWI.COM
2VNPKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NORTH JEFFREY          OR          US     91748   134346113@AIRLINE.KIWI.COM
2VNPKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NORTH JEFFREY          OR          US     91748   134346113@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 EAST DEANNA            MI          US     65506   134346553@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 EAST DEANNA            MI          US     65506   134346553@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 EAST DEANNA            MI          US     65506   134346553@AIRLINE.KIWI.COM
2VPO5I     1/1/2021   OB    3/6/2021   WN;3106;RNO;LAS;WN;4313;LAS;ATL                 EAST DEANNA            MI          US     65506   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NEW ZACHARYFURT        IN          US     62106   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NEW ZACHARYFURT        IN          US     62106   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NEW ZACHARYFURT        IN          US     62106   134346553@AIRLINE.KIWI.COM
2VQUKJ     1/1/2021   OB   2/27/2021   WN;1685;ATL;PHX;WN;4696;PHX;RNO                 NEW ZACHARYFURT        IN          US     62106   134346553@AIRLINE.KIWI.COM
2Y276M     1/1/2021   OB   3/21/2021   WN;1870;SJU;TPA;WN;1100;TPA;FLL                 ASHLEYSTAD             RI          US     21822   134355518@KACHIPYTEL.COM
2Y276M     1/1/2021   OB   3/21/2021   WN;1870;SJU;TPA;WN;1100;TPA;FLL                 ASHLEYSTAD             RI          US     21822   134355518@KACHIPYTEL.COM
2Y276M     1/1/2021   OB   3/21/2021   WN;1870;SJU;TPA;WN;1100;TPA;FLL                 ASHLEYSTAD             RI          US     21822   134355518@KACHIPYTEL.COM
2Y276M     1/1/2021   OB   3/21/2021   WN;1870;SJU;TPA;WN;1100;TPA;FLL                 ASHLEYSTAD             RI          US     21822   134355518@KACHIPYTEL.COM
2Y276M     1/1/2021   OB   3/21/2021   WN;1870;SJU;TPA;WN;1100;TPA;FLL                 ASHLEYSTAD             RI          US     21822   134355518@KACHIPYTEL.COM
2ZOF6L     1/2/2021   OB   3/17/2021   WN;1394;PHL;ATL;WN;736;ATL;OAK                  SOUTH JONATHANTOWN     FL          US     39779   134358884@AIRLINE.KIWI.COM
33MIMF     1/2/2021   OB   3/12/2021   WN;702;DTW;MDW;WN;1940;MDW;ATL                  NORTH PATRICIA         UT          US     78886   134363856@KACHIPYTEL.COM
33T3PU     1/2/2021   OB   3/13/2021   WN;1084;HNL;SJC;WN;1492;SJC;DEN                 EAST DANIEL            NH          US     19223   134364153@AIRLINE.KIWI.COM
3L7G5G     1/2/2021   OB   3/20/2021   WN;2972;LGB;PHX;WN;1094;PHX;BNA                 MORGANBURY             WA          US     35159   134425632@AIRLINE.KIWI.COM
3L7G5G     1/2/2021   OB   3/20/2021   WN;2972;LGB;PHX;WN;1094;PHX;BNA                 MORGANBURY             WA          US     35159   134425632@AIRLINE.KIWI.COM
3LAG3K     1/2/2021   OB   3/25/2021   WN;1027;BNA;LAX                                 KYLETON                CT          US      4493   134425632@AIRLINE.KIWI.COM
3LAG3K     1/2/2021   OB   3/25/2021   WN;1027;BNA;LAX                                 KYLETON                CT          US      4493   134425632@AIRLINE.KIWI.COM
3LOX37     1/2/2021   OB    4/7/2021   WN;1723;RSW;STL                                 EAST AMBER             MA          US     85011   134427711@AIRLINE.KIWI.COM
3LOX37     1/2/2021   OB    4/7/2021   WN;1723;RSW;STL                                 EAST AMBER             MA          US     85011   134427711@AIRLINE.KIWI.COM
3LQHYG     1/2/2021   OB    4/3/2021   WN;3150;STL;RSW                                 EAST AMYCHESTER        MN          US      8924   134427711@AIRLINE.KIWI.COM
3LQHYG     1/2/2021   OB    4/3/2021   WN;3150;STL;RSW                                 EAST AMYCHESTER        MN          US      8924   134427711@AIRLINE.KIWI.COM
3S3KFY     1/3/2021   OB   5/17/2021   WN;1028;CUN;DEN                                 MEDINAFURT             FL          US     27106   134445784@AIRLINE.KIWI.COM
3S3KFY     1/3/2021   OB   5/17/2021   WN;1028;CUN;DEN                                 MEDINAFURT             FL          US     27106   134445784@AIRLINE.KIWI.COM
3U7T9Z     1/3/2021   OB   4/29/2021   WN;506;SFO;SAN                                  REBECCATON             NC          US     19732   134433607@AIRLINE.KIWI.COM




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4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                                    IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                                    IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                                    IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   OB   5/14/2021   WN;638;LAX;MSY                                    IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX                   IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX                   IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX                   IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4BDUN7    1/3/2021   RT   5/17/2021   WN;1195;MSY;DEN;WN;2623;DEN;LAX                   IANSIDE                TX           US    59004   134513676@AIRLINE.KIWI.COM
4JITWJ    1/4/2021   OB   5/15/2021   WN;1260;HNL;LGB                                   LAKE CARL              MD           US    19253   134534455@AIRLINE.KIWI.COM
4T74WB    1/4/2021   OB   3/22/2021   WN;1107;HNL;LGB                                   JONATHANVILLE          KS           US    12574   134586595@AIRLINE.KIWI.COM
4T8QDI    1/4/2021   OB   3/18/2021   WN;728;ATL;BNA;WN;705;BNA;LAX                     ALLENBURY              WA           US    43496   134586595@AIRLINE.KIWI.COM
4TEDQN    1/4/2021   OB   3/23/2021   WN;2150;LGB;PHX;WN;382;PHX;ATL                    LAKE BARBARATON        KS           US    41729   134586595@AIRLINE.KIWI.COM
2GCMN6    1/5/2021   OB   3/29/2021   WN;1109;OAK;LAX                                   SCOTTFURT              MD           US    17604   134688675@AIRLINE.KIWI.COM
2HSIWU    1/5/2021   OB    3/4/2021   WN;159;SJC;LAX                                    GABRIELFURT            LA           US    38872   134696870@AIRLINE.KIWI.COM
2QJOBP    1/6/2021   OB   3/16/2021   WN;496;MIA;BNA;WN;172;BNA;TPA                     RHODESMOUTH            SD           US    67137   134744654@KACHIPYTEL.COM
2QJOBP    1/6/2021   OB   3/16/2021   WN;496;MIA;BNA;WN;172;BNA;TPA                     RHODESMOUTH            SD           US    67137   134744654@KACHIPYTEL.COM
2QV8VC    1/6/2021   OB   3/20/2021   WN;2614;LAX;DEN;WN;2494;DEN;MSP                   NORTH GWVILLE          AL BAHAH     SA    70009   134745402@AIRLINE.KIWI.COM
2QWIHC    1/6/2021   OB   3/12/2021   WN;1811;MSP;PHX;WN;1569;PHX;LAX                   PORT DYTON             NAJRAN       SA    38427   134745402@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP                   PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP                   PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP                   PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP                   PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP                   PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   OB   3/27/2021   WN;2461;FLL;MDW;WN;2922;MDW;MSP                   PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL                    PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL                    PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL                    PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL                    PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL                    PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2RNX9T    1/6/2021   RT    4/2/2021   WN;1769;MSP;MDW;WN;441;MDW;FLL                    PORT DESTINY           AL           US    82648   134748328@AIRLINE.KIWI.COM
2T27VK    1/6/2021   OB   3/12/2021   WN;298;LAX;DEN;WN;746;DEN;ATL                     NICOLETON              WV           US    50978   134752563@KACHIPYTEL.COM
333E4H    1/6/2021   OB    3/1/2021   WN;3124;DTW;BNA;WN;2220;BNA;STL                   WILLIAMSSIDE           ND           US    93500   134782648@AIRLINE.KIWI.COM
383E6S    1/6/2021   RT   2/23/2021   WN;5018;TPA;DAL;WN;1511;DAL;TUL                   RODNEYFURT             IN           US    89383   134819817@AIRLINE.KIWI.COM
383E6S    1/6/2021   RT   2/23/2021   WN;5018;TPA;DAL;WN;1511;DAL;TUL                   RODNEYFURT             IN           US    89383   134819817@AIRLINE.KIWI.COM
394B7O    1/6/2021   OB    3/9/2021   WN;1362;LAS;SLC                                   MOTIHAARII             ODISHA       IN     7239   134829563@AIRLINE.KIWI.COM
3ADAFL    1/6/2021   OB   3/16/2021   WN;496;MIA;BNA;WN;172;BNA;TPA                     TREVORSIDE             KS           US    28445   134839672@KACHIPYTEL.COM
3ALMVU    1/6/2021   OB   3/18/2021   WN;1839;MCO;MDW;WN;1839;MDW;LAX                   SOUTH JOHN             SC           US    66845   134840882@KACHIPYTEL.COM
3ALMVU    1/6/2021   OB   3/18/2021   WN;1839;MCO;MDW;WN;1839;MDW;LAX                   SOUTH JOHN             SC           US    66845   134840882@KACHIPYTEL.COM
3EZCL8    1/7/2021   OB   3/11/2021   WN;1166;PHX;MCI                                   PORT YVETTE            OH           US    36551   134859593@AIRLINE.KIWI.COM
3F2CM2    1/7/2021   OB   3/18/2021   WN;2086;MCI;PHX;WN;1877;PHX;LAX                   JACKSTAD               OR           US    57707   134859593@KACHIPYTEL.COM
3JFMSU    1/7/2021   OB   4/19/2021   WN;790;MCI;PHX                                    WEST KARLTON           NM           US    88540   134873750@KACHIPYTEL.COM
3JJ8EY    1/7/2021   OB   4/15/2021   WN;3431;PHX;MCI                                   NORTH BARBARA          KS           US    38540   134873750@KACHIPYTEL.COM
3VDRMW    1/7/2021   OB    3/4/2021   WN;3100;LAS;STL                                   LAKE MATTHEW           UT           US    61061   134939090@AIRLINE.KIWI.COM
3WJ9UG    1/7/2021   OB    3/2/2021   WN;2255;BWI;ORF                                   CARLACHESTER           NH           US     6144   134945019@AIRLINE.KIWI.COM
3WJ9UG    1/7/2021   OB    3/2/2021   WN;2255;BWI;ORF                                   CARLACHESTER           NH           US     6144   134945019@AIRLINE.KIWI.COM
3WJ9UG    1/7/2021   OB    3/2/2021   WN;2255;BWI;ORF                                   CARLACHESTER           NH           US     6144   134945019@AIRLINE.KIWI.COM
3WL26U    1/7/2021   OB    3/2/2021   WN;2374;TPA;BWI;WN;102;BWI;MIA                    SOUTH CHRISTOPHER      ND           US    70758   134945019@KACHIPYTEL.COM
3WL26U    1/7/2021   OB    3/2/2021   WN;2374;TPA;BWI;WN;102;BWI;MIA                    SOUTH CHRISTOPHER      ND           US    70758   134945019@KACHIPYTEL.COM
3WL26U    1/7/2021   OB    3/2/2021   WN;2374;TPA;BWI;WN;102;BWI;MIA                    SOUTH CHRISTOPHER      ND           US    70758   134945019@KACHIPYTEL.COM
43XIWX    1/8/2021   OB    4/1/2021   WN;1560;HOU;PNS                                   JACOBSTAD              UT           US    82740   134964676@AIRLINE.KIWI.COM
43XIWX    1/8/2021   RT    4/5/2021   WN;889;PNS;HOU                                    JACOBSTAD              UT           US    82740   134964676@AIRLINE.KIWI.COM
43ZIYN    1/8/2021   OB    4/1/2021   WN;1454;OKC;HOU                                   EAST REBECCABURY       CT           US    79302   134964676@AIRLINE.KIWI.COM
43ZIYN    1/8/2021   RT    4/6/2021   WN;407;HOU;OKC                                    EAST REBECCABURY       CT           US    79302   134964676@AIRLINE.KIWI.COM
4JC74D    1/8/2021   OB   2/27/2021   WN;3186;LBB;DAL;WN;9;DAL;HOU                      VINCENTMOUTH           IN           US      918   135018730@KACHIPYTEL.COM
4JC74D    1/8/2021   OB   2/27/2021   WN;3186;LBB;DAL;WN;9;DAL;HOU                      VINCENTMOUTH           IN           US      918   135018730@KACHIPYTEL.COM
4JC74D    1/8/2021   OB   2/27/2021   WN;3186;LBB;DAL;WN;9;DAL;HOU                      VINCENTMOUTH           IN           US      918   135018730@KACHIPYTEL.COM
4JC74D    1/8/2021   OB   2/27/2021   WN;3186;LBB;DAL;WN;9;DAL;HOU                      VINCENTMOUTH           IN           US      918   135018730@KACHIPYTEL.COM
4JC74D    1/8/2021   OB   2/27/2021   WN;3186;LBB;DAL;WN;9;DAL;HOU                      VINCENTMOUTH           IN           US      918   135018730@KACHIPYTEL.COM
23Y57N    1/9/2021   OB   5/26/2021   WN;204;AUS;LAS;WN;961;LAS;LAX                     WEST HEATHERMOUTH      MA           US    24766   135088943@KACHIPYTEL.COM
29QYG3    1/9/2021   OB   3/27/2021   WN;1385;PHX;SDF                                   DAWNFURT               NM           US    36377   133792450.1532823@AIRLINE.KIWI.COM
29UTGN    1/9/2021   OB   3/19/2021   WN;417;SDF;DEN;WN;1377;DEN;DAL                    JASONBERG              MA           US    62861   133792450.1532823@KACHIPYTEL.COM
4RW8V5    1/9/2021   OB   3/18/2021   WN;668;CLE;BNA;WN;1576;BNA;ECP                    CARSONHAVEN            PR           US    30934   135041016@AIRLINE.KIWI.COM
4S83V4    1/9/2021   OB   2/28/2021   WN;1059;MSY;BWI;WN;1878;BWI;TPA                   ANGELFURT              NY           US    54165   135061575@KACHIPYTEL.COM
4S83V4    1/9/2021   OB   2/28/2021   WN;1059;MSY;BWI;WN;1878;BWI;TPA                   ANGELFURT              NY           US    54165   135061575@KACHIPYTEL.COM
4S85UN    1/9/2021   OB   2/26/2021   WN;5034;BWI;MSY                                   SOUTH CHRISTIAN        NV           US    95221   135061575@AIRLINE.KIWI.COM
4S85UN    1/9/2021   OB   2/26/2021   WN;5034;BWI;MSY                                   SOUTH CHRISTIAN        NV           US    95221   135061575@AIRLINE.KIWI.COM
4S8M89    1/9/2021   OB   2/23/2021   WN;2624;PDX;DEN                                   PORT JOSHUABURY        FL           US    49238   135060552@AIRLINE.KIWI.COM
4SJ33W    1/9/2021   OB   2/28/2021   WN;1059;MSY;BWI;WN;1878;BWI;TPA                   SNYDERTON              CO           US    43485   135061905@KACHIPYTEL.COM
2H9RYT   1/10/2021   OB    4/5/2021   WN;2049;PHX;LAS;WN;2049;LAS;SNA                   JOHNSONFURT            MA           US    49882   135135781@AIRLINE.KIWI.COM
2H9RYT   1/10/2021   OB    4/5/2021   WN;2049;PHX;LAS;WN;2049;LAS;SNA                   JOHNSONFURT            MA           US    49882   135135781@AIRLINE.KIWI.COM
2HC72S   1/10/2021   OB    4/5/2021   WN;2182;STL;HOU;WN;407;HOU;OKC                    MEGANVIEW              MN           US    30000   135135781@KACHIPYTEL.COM
2HC72S   1/10/2021   OB    4/5/2021   WN;2182;STL;HOU;WN;407;HOU;OKC                    MEGANVIEW              MN           US    30000   135135781@KACHIPYTEL.COM
2HCGP5   1/10/2021   OB    4/7/2021   WN;2104;DEN;STL                                   NEW JOSEPH             HI           US    25883   135135781@AIRLINE.KIWI.COM
2HCGP5   1/10/2021   OB    4/7/2021   WN;2104;DEN;STL                                   NEW JOSEPH             HI           US    25883   135135781@AIRLINE.KIWI.COM
2HENLF   1/10/2021   OB    4/7/2021   WN;1438;SNA;DEN                                   BAILEYLAND             ND           US    90468   135135781@AIRLINE.KIWI.COM
2HENLF   1/10/2021   OB    4/7/2021   WN;1438;SNA;DEN                                   BAILEYLAND             ND           US    90468   135135781@AIRLINE.KIWI.COM
2S9TPH   1/10/2021   OB   3/25/2021   WN;833;CLE;DEN;WN;324;DEN;LGB                     NORTH WILLIAMLAND      IL           US    94035   135166878@KACHIPYTEL.COM
2T7XE9   1/10/2021   OB   3/25/2021   WN;833;CLE;DEN;WN;324;DEN;LGB                     CHRISTOPHERTON         GA           US    37577   135170772@KACHIPYTEL.COM
2TQCJK   1/10/2021   OB   4/16/2021   WN;2417;DTW;BNA;WN;4504;BNA;MIA                   WILLIAMSSTAD           DE           US    63474   135173401@AIRLINE.KIWI.COM
2TQCJK   1/10/2021   OB   4/16/2021   WN;2417;DTW;BNA;WN;4504;BNA;MIA                   WILLIAMSSTAD           DE           US    63474   135173401@AIRLINE.KIWI.COM
2VYOX3   1/10/2021   OB   2/22/2021   WN;3704;LAS;STL;WN;4099;STL;ATL;WN;4099;ATL;PHL   LAKE DARRYLFURT        AR           US    30863   135183675@KACHIPYTEL.COM
2VYOX3   1/10/2021   OB   2/22/2021   WN;3704;LAS;STL;WN;4099;STL;ATL;WN;4099;ATL;PHL   LAKE DARRYLFURT        AR           US    30863   135183675@KACHIPYTEL.COM
2Y84TT   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI                   NEW CHERYL             AL           US    22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI                   NEW CHERYL             AL           US    22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI                   NEW CHERYL             AL           US    22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   RT   3/22/2021   WN;452;MCI;LAX                                    NEW CHERYL             AL           US    22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   RT   3/22/2021   WN;452;MCI;LAX                                    NEW CHERYL             AL           US    22181   135191914@AIRLINE.KIWI.COM
2Y84TT   1/10/2021   RT   3/22/2021   WN;452;MCI;LAX                                    NEW CHERYL             AL           US    22181   135191914@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI                   PORT MICHELE           OH           US    52335   135192530@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   OB    3/6/2021   WN;2798;LAX;DEN;WN;2280;DEN;MCI                   PORT MICHELE           OH           US    52335   135192530@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   RT   3/15/2021   WN;452;MCI;LAX                                    PORT MICHELE           OH           US    52335   135192530@AIRLINE.KIWI.COM
2YKT6L   1/10/2021   RT   3/15/2021   WN;452;MCI;LAX                                    PORT MICHELE           OH           US    52335   135192530@AIRLINE.KIWI.COM
2ZWXQF   1/10/2021   OB    3/7/2021   WN;903;DEN;LGA                                    WEST AARONCHESTER      MN           US     8670   135197623@AIRLINE.KIWI.COM
33UP4Q   1/11/2021   OB   4/23/2021   WN;1326;DTW;STL;WN;1326;STL;MSY;WN;999;MSY;DCA    TYLERFORT              RI           US    32193   135203376@KACHIPYTEL.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                                   WEST SHANNONSTAD       MD           US    52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                                   WEST SHANNONSTAD       MD           US    52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                                   WEST SHANNONSTAD       MD           US    52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                                   WEST SHANNONSTAD       MD           US    52740   135205422@AIRLINE.KIWI.COM
34XB39   1/11/2021   OB   4/10/2021   WN;3154;SEA;DEN                                   WEST SHANNONSTAD       MD           US    52740   135205422@AIRLINE.KIWI.COM
36ELUH   1/11/2021   OB   3/23/2021   WN;2090;SAN;ATL;WN;1871;ATL;FLL                   SCHWARTZTON            NC           US    70158   135209140@KACHIPYTEL.COM
36H6OW   1/11/2021   OB   3/23/2021   WN;2090;SAN;ATL;WN;1871;ATL;FLL                   KATIEBERG              TX           US    64685   135209041@KACHIPYTEL.COM
36KYMO   1/11/2021   OB   3/23/2021   WN;2090;SAN;ATL;WN;1871;ATL;FLL                   SAN CRISTAL DE LA MO   ZACATECAS    MX    22843   135209536@KACHIPYTEL.COM
36P6T6   1/11/2021   OB   3/23/2021   WN;2090;SAN;ATL;WN;1871;ATL;FLL                   NICHOLASTOWN           OR           US    88961   135209415@KACHIPYTEL.COM
3EN57Y   1/11/2021   OB    7/9/2021   WN;2963;ATL;LAS                                   BETHPORT               NE           US    60389   135238939@AIRLINE.KIWI.COM
3EN57Y   1/11/2021   RT   7/15/2021   WN;932;LAS;ATL                                    BETHPORT               NE           US    60389   135238939@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   OB   6/17/2021   WN;392;DTW;MDW;WN;3069;MDW;ATL                    MCCULLOUGHLAND         NM           US    86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   OB   6/17/2021   WN;392;DTW;MDW;WN;3069;MDW;ATL                    MCCULLOUGHLAND         NM           US    86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   OB   6/17/2021   WN;392;DTW;MDW;WN;3069;MDW;ATL                    MCCULLOUGHLAND         NM           US    86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   RT   6/21/2021   WN;1907;ATL;MDW;WN;2505;MDW;DTW                   MCCULLOUGHLAND         NM           US    86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   RT   6/21/2021   WN;1907;ATL;MDW;WN;2505;MDW;DTW                   MCCULLOUGHLAND         NM           US    86322   135258970@AIRLINE.KIWI.COM
3I2V8O   1/11/2021   RT   6/21/2021   WN;1907;ATL;MDW;WN;2505;MDW;DTW                   MCCULLOUGHLAND         NM           US    86322   135258970@AIRLINE.KIWI.COM
3IOR2Q   1/11/2021   OB    3/5/2021   WN;430;ATL;PHX;WN;425;PHX;LGB                     LAKE TAMMYFURT         NJ           US    33187   135263205@KACHIPYTEL.COM
3IOR2Q   1/11/2021   OB    3/5/2021   WN;430;ATL;PHX;WN;425;PHX;LGB                     LAKE TAMMYFURT         NJ           US    33187   135263205@KACHIPYTEL.COM
3LV27V   1/11/2021   OB    4/1/2021   WN;1394;ATL;PNS                                   RICHMONDTOWN           SD           US    86916   135282400@AIRLINE.KIWI.COM
3LV27V   1/11/2021   OB    4/1/2021   WN;1394;ATL;PNS                                   RICHMONDTOWN           SD           US    86916   135282400@AIRLINE.KIWI.COM
3LV27V   1/11/2021   OB    4/1/2021   WN;1394;ATL;PNS                                   RICHMONDTOWN           SD           US    86916   135282400@AIRLINE.KIWI.COM




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3LVQ24   1/11/2021   OB   3/29/2021   WN;889;PNS;HOU                                NELSONFORT             NM               US   25956   135282400@AIRLINE.KIWI.COM
3LVQ24   1/11/2021   OB   3/29/2021   WN;889;PNS;HOU                                NELSONFORT             NM               US   25956   135282400@AIRLINE.KIWI.COM
3LVQ24   1/11/2021   OB   3/29/2021   WN;889;PNS;HOU                                NELSONFORT             NM               US   25956   135282400@AIRLINE.KIWI.COM
3MRWO6   1/11/2021   OB   3/13/2021   WN;2231;MCI;HOU;WN;873;HOU;STL                WEST KEITH             MD               US   13100   135281773@AIRLINE.KIWI.COM
3MXNT7   1/11/2021   OB   6/18/2021   WN;3141;COS;DEN;WN;3141;DEN;ATL               LAMBERTCHESTER         PA               US   25969   135287856@AIRLINE.KIWI.COM
3MXNT7   1/11/2021   OB   6/18/2021   WN;3141;COS;DEN;WN;3141;DEN;ATL               LAMBERTCHESTER         PA               US   25969   135287856@AIRLINE.KIWI.COM
3MXNT7   1/11/2021   OB   6/18/2021   WN;3141;COS;DEN;WN;3141;DEN;ATL               LAMBERTCHESTER         PA               US   25969   135287856@AIRLINE.KIWI.COM
3N6K5C   1/11/2021   OB    3/3/2021   WN;4936;SMF;LAX                               EAST CHARLENEVIEW      OK               US   22475   135288890@AIRLINE.KIWI.COM
3NTEJZ   1/11/2021   OB    5/1/2021   WN;3725;STL;MCO;WN;1340;MCO;BNA;WN;1340;BNA;D NEW PAMELAVIEW         NE               US   50883   135292553@KACHIPYTEL.COM
3NTEJZ   1/11/2021   OB    5/1/2021   WN;3725;STL;MCO;WN;1340;MCO;BNA;WN;1340;BNA;D NEW PAMELAVIEW         NE               US   50883   135292553@KACHIPYTEL.COM
3PKOKO   1/12/2021   OB   2/22/2021   WN;3611;JAX;HOU;WN;3611;HOU;MDW;WN;4618;MDW BREWERSTAD               UT               US   54611   135296920@KACHIPYTEL.COM
3PKOKO   1/12/2021   OB   2/22/2021   WN;3611;JAX;HOU;WN;3611;HOU;MDW;WN;4618;MDW BREWERSTAD               UT               US   54611   135296920@KACHIPYTEL.COM
3RE4YN   1/12/2021   OB   3/14/2021   WN;1269;MDW;LGA                               NORTH DANIEL           AZ               US   12866   135284611@AIRLINE.KIWI.COM
3RE4YN   1/12/2021   OB   3/14/2021   WN;1269;MDW;LGA                               NORTH DANIEL           AZ               US   12866   135284611@AIRLINE.KIWI.COM
3RMBAE   1/12/2021   OB   3/20/2021   WN;2640;LGA;MDW                               NEW SITIWAT            AL               US    8120   135284611@AIRLINE.KIWI.COM
3RMBAE   1/12/2021   OB   3/20/2021   WN;2640;LGA;MDW                               NEW SITIWAT            AL               US    8120   135284611@AIRLINE.KIWI.COM
3SC4AX   1/12/2021   OB   3/25/2021   WN;1433;SMF;LAX                               NEW MICHAELFURT        KS               US   40565   135304763@AIRLINE.KIWI.COM
3SLDJI   1/12/2021   OB    4/7/2021   WN;1669;MEM;MCO;WN;137;MCO;DAL                EAST LARRY             CO               US   31100   135306556@KACHIPYTEL.COM
3TIYHK   1/12/2021   OB    6/3/2021   WN;825;MSP;BNA;WN;1546;BNA;DEN                EAST TROYVIEW          NY               US   12031   135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021   OB    6/3/2021   WN;825;MSP;BNA;WN;1546;BNA;DEN                EAST TROYVIEW          NY               US   12031   135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021   OB    6/3/2021   WN;825;MSP;BNA;WN;1546;BNA;DEN                EAST TROYVIEW          NY               US   12031   135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021   OB    6/3/2021   WN;825;MSP;BNA;WN;1546;BNA;DEN                EAST TROYVIEW          NY               US   12031   135309119@KACHIPYTEL.COM
3TIYHK   1/12/2021   OB    6/3/2021   WN;825;MSP;BNA;WN;1546;BNA;DEN                EAST TROYVIEW          NY               US   12031   135309119@KACHIPYTEL.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                                NGUYENSTAD             MS               US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                                NGUYENSTAD             MS               US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                                NGUYENSTAD             MS               US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                                NGUYENSTAD             MS               US   74654   135309119@AIRLINE.KIWI.COM
3TONBD   1/12/2021   OB    6/7/2021   WN;962;BNA;MSP                                NGUYENSTAD             MS               US   74654   135309119@AIRLINE.KIWI.COM
4649PF   1/12/2021   OB    3/4/2021   WN;398;BWI;RDU                                BARTLETTCHESTER        ME               US   83302   135351447@AIRLINE.KIWI.COM
4649PF   1/12/2021   OB    3/4/2021   WN;398;BWI;RDU                                BARTLETTCHESTER        ME               US   83302   135351447@AIRLINE.KIWI.COM
4649PF   1/12/2021   RT    3/7/2021   WN;241;RDU;BWI                                BARTLETTCHESTER        ME               US   83302   135351447@AIRLINE.KIWI.COM
4649PF   1/12/2021   RT    3/7/2021   WN;241;RDU;BWI                                BARTLETTCHESTER        ME               US   83302   135351447@AIRLINE.KIWI.COM
465ZT6   1/12/2021   OB   2/22/2021   WN;800;PHX;AUS                                SMITHPORT              IN               US   37113   135350754@KACHIPYTEL.COM
465ZT6   1/12/2021   OB   2/22/2021   WN;800;PHX;AUS                                SMITHPORT              IN               US   37113   135350754@KACHIPYTEL.COM
475SKE   1/12/2021   OB   4/26/2021   WN;1516;MSY;DEN;WN;1126;DEN;SAT               YA CHUAN SHI           AKITA            JP   14118   135356210@KACHIPYTEL.COM
47P3SS   1/12/2021   OB    3/1/2021   WN;812;PUJ;BWI;WN;1597;BWI;ORD                SOUTH LATOYABURGH      VT               US   28323   135359499@KACHIPYTEL.COM
47PSGK   1/12/2021   OB    3/1/2021   WN;3559;BWI;PIT                               KYLETOWN               PA               US   83618   135359499@AIRLINE.KIWI.COM
4HLSCK   1/13/2021   OB   3/12/2021   WN;1961;MDW;MIA                               JOELCHESTER            IN               US   75659   135400914@AIRLINE.KIWI.COM
4HLSCK   1/13/2021   OB   3/12/2021   WN;1961;MDW;MIA                               JOELCHESTER            IN               US   75659   135400914@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                                EAST ALICIABURGH       HI               US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                                EAST ALICIABURGH       HI               US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                                EAST ALICIABURGH       HI               US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                                EAST ALICIABURGH       HI               US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                                EAST ALICIABURGH       HI               US   65044   135402003@AIRLINE.KIWI.COM
4HYXOK   1/13/2021   OB   3/16/2021   WN;974;HNL;LIH                                EAST ALICIABURGH       HI               US   65044   135402003@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK               NORTH ASHLEY           KY               US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK               NORTH ASHLEY           KY               US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK               NORTH ASHLEY           KY               US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK               NORTH ASHLEY           KY               US   23440   135402520@AIRLINE.KIWI.COM
4I8UKH   1/13/2021   OB   4/16/2021   WN;1097;LIH;HNL;WN;1756;HNL;OAK               NORTH ASHLEY           KY               US   23440   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                               WALKERSHIRE            AZ               US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                               WALKERSHIRE            AZ               US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                               WALKERSHIRE            AZ               US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                               WALKERSHIRE            AZ               US   47577   135402520@AIRLINE.KIWI.COM
4I9I4R   1/13/2021   OB   4/17/2021   WN;4061;OAK;MDW                               WALKERSHIRE            AZ               US   47577   135402520@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                               EAST JAMESPORT         NY               US   89540   135405908@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                               EAST JAMESPORT         NY               US   89540   135405908@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                               EAST JAMESPORT         NY               US   89540   135405908@AIRLINE.KIWI.COM
4JJULD   1/13/2021   OB   3/15/2021   WN;1070;LAX;PHX                               EAST JAMESPORT         NY               US   89540   135405908@AIRLINE.KIWI.COM
4QRCFJ   1/13/2021   OB   2/23/2021   WN;5013;TPA;BNA;WN;4973;BNA;DCA               ANGELASTAD             NH               US   61949   135430812@AIRLINE.KIWI.COM
4YPRTF   1/13/2021   OB   3/28/2021   WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWI;ISP  EAST AMANDA            NM               US   55617   135474020@KACHIPYTEL.COM
4YPRTF   1/13/2021   OB   3/28/2021   WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWI;ISP  EAST AMANDA            NM               US   55617   135474020@KACHIPYTEL.COM
4YVGVI   1/13/2021   OB   3/28/2021   WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWI;ISP  KIMBERLYMOUTH          WV               US   34652   135474207@KACHIPYTEL.COM
4YVGVI   1/13/2021   OB   3/28/2021   WN;639;LAS;MCI;WN;639;MCI;BWI;WN;363;BWI;ISP  KIMBERLYMOUTH          WV               US   34652   135474207@KACHIPYTEL.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN                LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN                LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN                LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   OB   4/25/2021   WN;1524;GEG;DEN;WN;601;DEN;CUN                LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;2605;DEN;GE LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;2605;DEN;GE LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;2605;DEN;GE LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4Z92WU   1/13/2021   RT   4/30/2021   WN;328;CUN;HOU;WN;2605;HOU;DEN;WN;2605;DEN;GE LISAHAVEN              IN               US   37261   135476000@AIRLINE.KIWI.COM
4ZPYEX   1/13/2021   OB    4/8/2021   WN;519;SJU;MCO;WN;1542;MCO;FLL                LAKE STEFANICHESTER    VELIKO TARNOVO   BG   13774   135477540@KACHIPYTEL.COM
27HIFK   1/14/2021   OB    3/7/2021   WN;1042;LAS;MDW;WN;535;MDW;CVG                CHARLESSHIRE           AR               US   67104   135494381@KACHIPYTEL.COM
27HIFK   1/14/2021   OB    3/7/2021   WN;1042;LAS;MDW;WN;535;MDW;CVG                CHARLESSHIRE           AR               US   67104   135494381@KACHIPYTEL.COM
2IIC8N   1/14/2021   OB   3/27/2021   WN;4;OAK;LAS                                  EAST THOMAS            NV               US   79324   135539305@AIRLINE.KIWI.COM
2IMYIK   1/14/2021   OB   3/23/2021   WN;1692;LGA;DEN;WN;343;DEN;OAK                NEW BENJAMINPORT       FL               US   44041   135539305@AIRLINE.KIWI.COM
2N9XBF   1/14/2021   OB    4/4/2021   WN;907;MBJ;BWI;WN;236;BWI;FLL                 LAKE KEVINLAND         MA               US   39841   135566167@KACHIPYTEL.COM
2NO6HZ   1/14/2021   OB    3/8/2021   WN;1839;PHX;MKE                               CUEVASLAND             IN               US   61567   135567674@AIRLINE.KIWI.COM
2NO6HZ   1/14/2021   OB    3/8/2021   WN;1839;PHX;MKE                               CUEVASLAND             IN               US   61567   135567674@AIRLINE.KIWI.COM
W6IOQS   1/14/2021   OB    4/1/2021   WN;1364;SJU;BWI;WN;1245;BWI;BDL               JEFFREYSIDE            MT               US   37127   129279964@AIRLINE.KIWI.COM
2QRU3W   1/15/2021   OB    4/2/2021   WN;2192;SEA;SMF;WN;684;SMF;PHX                PORT RONALDSIDE        NE               US   11734   135578355@AIRLINE.KIWI.COM
2QRU3W   1/15/2021   RT    4/9/2021   WN;1882;PHX;SEA                               PORT RONALDSIDE        NE               US   11734   135578355@AIRLINE.KIWI.COM
39ULWH   1/15/2021   OB    4/3/2021   WN;1530;PHX;MSP                               LAKE MATTHEWTON        AE               US   30640   135637392@AIRLINE.KIWI.COM
3BDXVJ   1/15/2021   OB    3/9/2021   WN;4917;SLC;MDW;WN;470;MDW;CLE                SOUTH CHRISTOPHERSHI   NH               US   83013   135646896@KACHIPYTEL.COM
3BDXVJ   1/15/2021   OB    3/9/2021   WN;4917;SLC;MDW;WN;470;MDW;CLE                SOUTH CHRISTOPHERSHI   NH               US   83013   135646896@KACHIPYTEL.COM
3BJXGU   1/15/2021   OB    3/3/2021   WN;569;BWI;DEN;WN;569;DEN;OAK;WN;1268;OAK;KOA TORRESBURY             LEFKOSIA         CY   86136   135484173.1536161@AIRLINE.KIWI.COM
3CNQBM   1/15/2021   OB   2/22/2021   WN;2531;LAS;BWI;WN;1597;BWI;ORD               LAKE DANNY             TN               US   79549   135657148@KACHIPYTEL.COM
3D8XAG   1/15/2021   OB   6/21/2021   WN;976;BOS;STL;WN;1812;STL;SLC                NORTH HEATHERBURY      ID               US   84166   135658831@AIRLINE.KIWI.COM
3D8XAG   1/15/2021   OB   6/21/2021   WN;976;BOS;STL;WN;1812;STL;SLC                NORTH HEATHERBURY      ID               US   84166   135658831@AIRLINE.KIWI.COM
3D8XAG   1/15/2021   OB   6/21/2021   WN;976;BOS;STL;WN;1812;STL;SLC                NORTH HEATHERBURY      ID               US   84166   135658831@AIRLINE.KIWI.COM
3D8XAG   1/15/2021   OB   6/21/2021   WN;976;BOS;STL;WN;1812;STL;SLC                NORTH HEATHERBURY      ID               US   84166   135658831@AIRLINE.KIWI.COM
3JGTD8   1/16/2021   OB   3/17/2021   WN;256;PHX;SAT;WN;256;SAT;HOU;WN;256;HOU;BNA LAKE NICHOLASBERG       MO               US   80595   135674781@AIRLINE.KIWI.COM
3JGTD8   1/16/2021   OB   3/17/2021   WN;256;PHX;SAT;WN;256;SAT;HOU;WN;256;HOU;BNA LAKE NICHOLASBERG       MO               US   80595   135674781@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3M4R2K   1/16/2021   OB   3/21/2021   WN;1322;MIA;ATL;WN;1322;ATL;MDW               LAKE AIMEE             NH               US   92685   135678092@AIRLINE.KIWI.COM
3UU2UR   1/16/2021   OB   2/28/2021   WN;430;ATL;PHX;WN;3972;PHX;LAX                JASONHAVEN             DE               US    1304   135710454@KACHIPYTEL.COM
3UWO6H   1/16/2021   OB    4/1/2021   WN;924;FLL;BWI;WN;1531;BWI;ORD                KATHERINEPORT          NJ               US   69479   135710619@AIRLINE.KIWI.COM
474GMP   1/17/2021   OB   3/13/2021   WN;2402;MSY;DAL;WN;2392;DAL;LAX               BOOTHTON               WV               US   63854   135740957@KACHIPYTEL.COM
474GMP   1/17/2021   OB   3/13/2021   WN;2402;MSY;DAL;WN;2392;DAL;LAX               BOOTHTON               WV               US   63854   135740957@KACHIPYTEL.COM
4OSLKM   1/17/2021   OB   2/22/2021   WN;3370;HOU;PHX;WN;4583;PHX;SAT               TERRYMOUTH             AL               US   97642   135793702@KACHIPYTEL.COM
4OUACL   1/17/2021   OB   2/22/2021   WN;1387;PHX;OAK                               NORTH RACHEL           HI               US   18695   135793702@AIRLINE.KIWI.COM
27E7BP   1/18/2021   OB   5/13/2021   WN;1698;MDW;FLL                               EAST AMANDA            WA               US   67825   135568719@AIRLINE.KIWI.COM
27E7BP   1/18/2021   OB   5/13/2021   WN;1698;MDW;FLL                               EAST AMANDA            WA               US   67825   135568719@AIRLINE.KIWI.COM
27H2MY   1/18/2021   OB   5/21/2021   WN;434;FLL;MDW                                KELLYSTAD              NY               US   31029   135568719@AIRLINE.KIWI.COM
27H2MY   1/18/2021   OB   5/21/2021   WN;434;FLL;MDW                                KELLYSTAD              NY               US   31029   135568719@AIRLINE.KIWI.COM
2DAT3X   1/18/2021   OB   3/28/2021   WN;525;PHX;LAS;WN;474;LAS;CMH                 LAKE REBECCAHAVEN      MS               US   41699   135856171.1537208@AIRLINE.KIWI.COM
4R8SNO   1/18/2021   OB   3/25/2021   WN;137;SJU;MCO;WN;137;MCO;DAL;WN;289;DAL;TPA WEST CHLOE              PETERBOROUGH     GB   41953   135744158@KACHIPYTEL.COM
4R8SNO   1/18/2021   OB   3/25/2021   WN;137;SJU;MCO;WN;137;MCO;DAL;WN;289;DAL;TPA WEST CHLOE              PETERBOROUGH     GB   41953   135744158@KACHIPYTEL.COM
4R8SNO   1/18/2021   OB   3/25/2021   WN;137;SJU;MCO;WN;137;MCO;DAL;WN;289;DAL;TPA WEST CHLOE              PETERBOROUGH     GB   41953   135744158@KACHIPYTEL.COM
4RB7SW   1/18/2021   OB   2/22/2021   WN;2294;BNA;PHX;WN;2722;PHX;LGB               LISATOWN               NJ               US   10546   135798696@KACHIPYTEL.COM




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4RB7SW   1/18/2021   OB   2/22/2021   WN;2294;BNA;PHX;WN;2722;PHX;LGB                 LISATOWN              NJ                      US   10546   135798696@KACHIPYTEL.COM
2LN75I   1/19/2021   OB   3/12/2021   WN;2106;AUS;PHX;WN;786;PHX;SAN                  EAST KIMBERLY         MN                      US   43828   135894044@KACHIPYTEL.COM
2S6C4D   1/19/2021   OB   2/22/2021   WN;481;MCO;MEM                                  ANDREWSBOROUGH        OK                      US   51023   135924030@AIRLINE.KIWI.COM
2T65JE   1/19/2021   OB   3/21/2021   WN;2054;SFO;DEN;WN;993;DEN;DTW                  NEW CAROLYNVILLE      NE                      US   44878   135930872@AIRLINE.KIWI.COM
2T65JE   1/19/2021   OB   3/21/2021   WN;2054;SFO;DEN;WN;993;DEN;DTW                  NEW CAROLYNVILLE      NE                      US   44878   135930872@AIRLINE.KIWI.COM
2TH5AW   1/19/2021   OB   3/29/2021   WN;1979;MIA;HOU;WN;760;HOU;LAX                  NORTH MICHAELFURT     AZ                      US   74825   135933149@KACHIPYTEL.COM
2WXLHU   1/19/2021   OB    3/3/2021   WN;4279;MSY;TPA;WN;4279;TPA;MIA                 DYLANHAVEN            MN                      US   52570   135953059@AIRLINE.KIWI.COM
2WXLHU   1/19/2021   OB    3/3/2021   WN;4279;MSY;TPA;WN;4279;TPA;MIA                 DYLANHAVEN            MN                      US   52570   135953059@AIRLINE.KIWI.COM
34U3RD   1/20/2021   OB    3/8/2021   WN;1268;OAK;KOA                                 DIAS DO NORTE         AMAPA                   BR     885   135974861@AIRLINE.KIWI.COM
367URA   1/20/2021   OB   2/27/2021   WN;4527;PDX;SJC                                 MILLERPORT            AL                      US   81142   135978447@AIRLINE.KIWI.COM
36K9ON   1/20/2021   OB   3/26/2021   WN;1349;SAT;DAL;WN;1289;DAL;FLL                 NEW RONALDFURT        NY                      US   19096   135978997@KACHIPYTEL.COM
36MXEU   1/20/2021   OB   3/29/2021   WN;2042;TPA;BUF;WN;2042;BUF;MDW;WN;2042;MDW;HNEW CYNTHIA              MN                      US   99009   135978997@KACHIPYTEL.COM
38AWR8   1/20/2021   OB   6/23/2021   WN;1456;MIA;HOU;WN;2827;HOU;SAT                 PORT MATTHEWMOUTH     WICKLOW                 IE   72768   135983265@AIRLINE.KIWI.COM
38AWR8   1/20/2021   OB   6/23/2021   WN;1456;MIA;HOU;WN;2827;HOU;SAT                 PORT MATTHEWMOUTH     WICKLOW                 IE   72768   135983265@AIRLINE.KIWI.COM
38AWR8   1/20/2021   OB   6/23/2021   WN;1456;MIA;HOU;WN;2827;HOU;SAT                 PORT MATTHEWMOUTH     WICKLOW                 IE   72768   135983265@AIRLINE.KIWI.COM
3JLLYY   1/20/2021   OB   8/15/2021   WN;2732;LGA;BWI;WN;1255;BWI;ORD                 EAST ROBERTO          AK                      US   53720   133277870.1538129@AIRLINE.KIWI.COM
3JLLYY   1/20/2021   OB   8/15/2021   WN;2732;LGA;BWI;WN;1255;BWI;ORD                 EAST ROBERTO          AK                      US   53720   133277870.1538129@AIRLINE.KIWI.COM
3MTKDE   1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB                  BADAJOZ               ALAVA                   ES   14762   136047527@KACHIPYTEL.COM
3MTKDE   1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB                  BADAJOZ               ALAVA                   ES   14762   136047527@KACHIPYTEL.COM
3MTSVQ   1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL                 CHRISTINABURGH        AL FAYYUM               EG    3812   136047527@KACHIPYTEL.COM
3MTSVQ   1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL                 CHRISTINABURGH        AL FAYYUM               EG    3812   136047527@KACHIPYTEL.COM
3MTSVQ   1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL                 CHRISTINABURGH        AL FAYYUM               EG    3812   136047527@KACHIPYTEL.COM
3MTSVQ   1/20/2021   OB   5/22/2021   WN;1751;LAS;TPA;WN;2911;TPA;FLL                 CHRISTINABURGH        AL FAYYUM               EG    3812   136047527@KACHIPYTEL.COM
3MVDXA   1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB                  SERPA                 BEJA                    PT   41989   136047527@KACHIPYTEL.COM
3MVDXA   1/20/2021   OB   5/16/2021   WN;2209;TPA;LAS;WN;427;LAS;LGB                  SERPA                 BEJA                    PT   41989   136047527@KACHIPYTEL.COM
3NTJN3   1/20/2021   OB    3/4/2021   WN;4925;SMF;DEN;WN;3927;DEN;LAX                 PORT DENNIS           DE                      US   21678   136053819@KACHIPYTEL.COM
3RPAJU   1/21/2021   OB    3/8/2021   WN;1098;MCO;LAS;WN;1098;LAS;PHX;WN;840;PHX;LGB NELSONFORT             SC                      US   80325   136065567@KACHIPYTEL.COM
3RPAJU   1/21/2021   OB    3/8/2021   WN;1098;MCO;LAS;WN;1098;LAS;PHX;WN;840;PHX;LGB NELSONFORT             SC                      US   80325   136065567@KACHIPYTEL.COM
3SSVQ4   1/21/2021   OB   3/26/2021   WN;1559;PHX;HOU;WN;467;HOU;MIA                  NORTH TIMOTHYTON      NM                      US    5824   136067855@AIRLINE.KIWI.COM
4BXZJL   1/21/2021   OB   2/27/2021   WN;4380;PHX;BNA;WN;2833;BNA;ATL                 SOUTH BRITTNEYVILLE   DE                      US   63765   136140422@KACHIPYTEL.COM
4BXZJL   1/21/2021   OB   2/27/2021   WN;4380;PHX;BNA;WN;2833;BNA;ATL                 SOUTH BRITTNEYVILLE   DE                      US   63765   136140422@KACHIPYTEL.COM
4DKWKB   1/21/2021   OB   2/25/2021   WN;4235;OKC;PHX;WN;3322;PHX;HOU                 NEW MARKSTAD          ND                      US   31100   136146439@KACHIPYTEL.COM
4DMIV3   1/21/2021   OB   2/25/2021   WN;4235;OKC;PHX;WN;3322;PHX;HOU                 NEW DANIELMOUTH       IN                      US   84111   136146703@KACHIPYTEL.COM
4EYACV   1/21/2021   OB   2/22/2021   WN;3379;HOU;BNA                                 LAKE JUSTINSIDE       MI                      US   69929   136150597@KACHIPYTEL.COM
2337UD   1/22/2021   OB   3/27/2021   WN;2614;LAX;DEN;WN;2494;DEN;MSP                 PENNINGTONBURY        OR                      US   52492   136237167@AIRLINE.KIWI.COM
2337UD   1/22/2021   OB   3/27/2021   WN;2614;LAX;DEN;WN;2494;DEN;MSP                 PENNINGTONBURY        OR                      US   52492   136237167@AIRLINE.KIWI.COM
4J6VCP   1/22/2021   OB    3/1/2021   WN;3035;SMF;LAX                                 KILKIS                GREVENA                 GR   27311   136162070@AIRLINE.KIWI.COM
4JAT6H   1/22/2021   OB   2/22/2021   WN;3936;MCI;PHX;WN;2502;PHX;SFO                 KHUTIR LEONID         ZAPORIZKA OBLAST        UA   57233   136162356@AIRLINE.KIWI.COM
4UCPXG   1/22/2021   OB   2/24/2021   WN;5013;MIA;TPA;WN;5013;TPA;BNA;WN;4773;BNA;MS NEW STEPHENFURT        WY                      US   65493   136205113@KACHIPYTEL.COM
25JGAZ   1/23/2021   OB   3/28/2021   WN;4446;ATL;LAS;WN;4446;LAS;LAX                 BENJAMINLAND          WY                      US   49360   136243657@AIRLINE.KIWI.COM
27BOD5   1/23/2021   OB   3/14/2021   WN;1764;SAN;LAS                                 SAN DIEGO             CA                      US   92102   107496928@AIRLINE.KIWI.COM
27BOD5   1/23/2021   OB   3/14/2021   WN;1764;SAN;LAS                                 SAN DIEGO             CA                      US   92102   107496928@AIRLINE.KIWI.COM
27BOD5   1/23/2021   RT   3/16/2021   WN;1564;LAS;SAN                                 SAN DIEGO             CA                      US   92102   107496928@AIRLINE.KIWI.COM
27BOD5   1/23/2021   RT   3/16/2021   WN;1564;LAS;SAN                                 SAN DIEGO             CA                      US   92102   107496928@AIRLINE.KIWI.COM
29923C   1/23/2021   OB   5/17/2021   WN;769;PHX;SFO                                  EAST JAMES            RI                      US   80047   136250510@AIRLINE.KIWI.COM
2HJ5PT   1/23/2021   OB    3/6/2021   WN;946;TPA;LAS;WN;4468;LAS;SEA                  SIMMONSFORT           WY                      US    2696   136272532@KACHIPYTEL.COM
2HLYRW   1/23/2021   OB    3/9/2021   WN;4858;LAS;TPA;WN;4279;TPA;MIA                 KRISTABOROUGH         CA                      US   73711   136272532@KACHIPYTEL.COM
2NDZMC   1/23/2021   OB   3/26/2021   WN;113;ABQ;OAK                                  HEATHER VILLE         DAVAO ORIENTAL          PH   57891   136294906@KACHIPYTEL.COM
2OMF5N   1/23/2021   OB   2/24/2021   WN;451;SRQ;BWI;WN;953;BWI;ATL                   WEST DESTINYSIDE      GA                      US   54905   136297711@KACHIPYTEL.COM
2PTNPV   1/23/2021   OB   2/24/2021   WN;2640;BNA;DEN;WN;2205;DEN;ABQ                 NORTH MELANIE         SC                      US    3170   136302914@KACHIPYTEL.COM
37RO7F   1/24/2021   OB   3/19/2021   WN;538;MCI;TPA                                  WILLIAMSCHESTER       WA                      US   28175   136341700@KACHIPYTEL.COM
37RO7F   1/24/2021   OB   3/19/2021   WN;538;MCI;TPA                                  WILLIAMSCHESTER       WA                      US   28175   136341700@KACHIPYTEL.COM
37U542   1/24/2021   OB   3/22/2021   WN;1846;TPA;STL                                 NEW NATHANSHIRE       FL                      US    2920   136342019@KACHIPYTEL.COM
37U542   1/24/2021   OB   3/22/2021   WN;1846;TPA;STL                                 NEW NATHANSHIRE       FL                      US    2920   136342019@KACHIPYTEL.COM
38N5LY   1/24/2021   OB   3/14/2021   WN;304;SLC;MDW;WN;1633;MDW;TPA                  SMITHBURY             WA                      US   38458   136344989@AIRLINE.KIWI.COM
3BTNKP   1/24/2021   OB   3/13/2021   WN;2402;MSY;DAL;WN;2392;DAL;LAX                 TUCKERVILLE           AL                      US   61764   136361445@KACHIPYTEL.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HJTT9   1/25/2021   OB    5/3/2021   WN;1878;OAK;GEG                                 EAST MELISSA          WI                      US    5760   136376460@AIRLINE.KIWI.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3HKHSD   1/25/2021   OB    5/3/2021   WN;2496;OGG;OAK;WN;3188;OAK;LAS                 LYNCHVIEW             FL                      US   30015   136376460@KACHIPYTEL.COM
3K2B5Y   1/25/2021   OB   2/23/2021   WN;2390;BUR;LAS                                 SOUTH CHRISTINA       ND                      US   28582   136381751@AIRLINE.KIWI.COM
3K3ZQ6   1/25/2021   OB   2/27/2021   WN;3947;LAS;BUR                                 NORMAVIEW             OH                      US   47756   136381751@AIRLINE.KIWI.COM
3PW4V8   1/25/2021   OB   2/23/2021   WN;2225;JAX;BNA;WN;4226;BNA;RDU                 EAST CHRISTYFORT      HI                      US   87344   136400550@KACHIPYTEL.COM
3WBH63   1/25/2021   OB   2/25/2021   WN;1275;ATL;BNA                                 TOMMOUTH              UPPER EAST              GH   77686   136434408@AIRLINE.KIWI.COM
3Y36KR   1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                                 SANDRATON             NC                      US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR   1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                                 SANDRATON             NC                      US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR   1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                                 SANDRATON             NC                      US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR   1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                                 SANDRATON             NC                      US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR   1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                                 SANDRATON             NC                      US   10796   136443681@AIRLINE.KIWI.COM
3Y36KR   1/25/2021   OB   6/29/2021   WN;3447;DEN;MSP                                 SANDRATON             NC                      US   10796   136443681@AIRLINE.KIWI.COM
3Y752I   1/25/2021   OB   4/18/2021   WN;595;LAS;MSY;WN;1267;MSY;ATL                  WEST CYNTHIA          MS                      US   74069   136444319@KACHIPYTEL.COM
3Y78IP   1/25/2021   OB   4/14/2021   WN;212;MSY;LAS;WN;1110;LAS;LAX                  EAST MICHELLEBERG     SC                      US   41581   136444319@KACHIPYTEL.COM
3Y78IP   1/25/2021   OB   4/14/2021   WN;212;MSY;LAS;WN;1110;LAS;LAX                  EAST MICHELLEBERG     SC                      US   41581   136444319@KACHIPYTEL.COM
3Y84TB   1/25/2021   OB   4/18/2021   WN;595;LAS;MSY;WN;1267;MSY;ATL                  JOHNSONBERG           AK                      US   75821   136444319@KACHIPYTEL.COM
3YEX69   1/25/2021   OB   4/15/2021   WN;3549;SLC;SJC                                 DA SILVASURLECOMTE    HAUTESALPES             FR   80352   136435002@AIRLINE.KIWI.COM
3YI245   1/25/2021   OB   3/16/2021   WN;854;RDU;DEN;WN;1823;DEN;SMF;WN;1823;SMF;SEA PORT RYANHAVEN         ID                      US   21917   136446266@KACHIPYTEL.COM
3YI245   1/25/2021   OB   3/16/2021   WN;854;RDU;DEN;WN;1823;DEN;SMF;WN;1823;SMF;SEA PORT RYANHAVEN         ID                      US   21917   136446266@KACHIPYTEL.COM
4996DW   1/26/2021   OB   3/26/2021   WN;1730;DEN;BNA                                 BRNO                  BRNO                    CZ   62500   134837791@AIRLINE.KIWI.COM
4996DW   1/26/2021   OB   3/26/2021   WN;1730;DEN;BNA                                 BRNO                  BRNO                    CZ   62500   134837791@AIRLINE.KIWI.COM
4LCEB3   1/26/2021   OB   3/28/2021   WN;455;BUF;DEN;WN;560;DEN;LAX                   MACKBOROUGH           GA                      US   23262   136527875@KACHIPYTEL.COM
4LCEB3   1/26/2021   OB   3/28/2021   WN;455;BUF;DEN;WN;560;DEN;LAX                   MACKBOROUGH           GA                      US   23262   136527875@KACHIPYTEL.COM
4M3FJO   1/26/2021   OB   3/11/2021   WN;286;PDX;SMF;WN;286;SMF;SAN;WN;857;SAN;RNO BURGESSBOROUGH           MA                      US   44935   136532715@KACHIPYTEL.COM
4NDO7H   1/26/2021   OB   2/27/2021   WN;2787;SAT;BWI                                 WEST LORIBERG         NY                      US   65554   136538446@KACHIPYTEL.COM
4OVJPK   1/26/2021   OB    3/5/2021   WN;3433;TPA;BNA;WN;2618;BNA;ATL                 PORT LAURA            DE                      US   92034   136287756.1541047@KACHIPYTEL.COM
4OVJPK   1/26/2021   OB    3/5/2021   WN;3433;TPA;BNA;WN;2618;BNA;ATL                 PORT LAURA            DE                      US   92034   136287756.1541047@KACHIPYTEL.COM
4OXHVK   1/26/2021   OB    3/1/2021   WN;3959;BNA;ATL;WN;3959;ATL;TPA;WN;4279;TPA;MIA WARDBURY              TX                      US   63536   136287129.1541052@KACHIPYTEL.COM
4OXHVK   1/26/2021   OB    3/1/2021   WN;3959;BNA;ATL;WN;3959;ATL;TPA;WN;4279;TPA;MIA WARDBURY              TX                      US   63536   136287129.1541052@KACHIPYTEL.COM
2AS7PF   1/27/2021   OB    3/1/2021   WN;3075;MIA;BWI;WN;3596;BWI;PIT                 PEGGYFURT             CO                      US   56496   136620000@AIRLINE.KIWI.COM
2BU2LY   1/27/2021   OB   2/28/2021   WN;1649;ORD;PHX                                 SOUTH DARRELL         MO                      US   70250   136625181@AIRLINE.KIWI.COM
2BU2LY   1/27/2021   OB   2/28/2021   WN;1649;ORD;PHX                                 SOUTH DARRELL         MO                      US   70250   136625181@AIRLINE.KIWI.COM
2BX6EY   1/27/2021   OB    3/7/2021   WN;3336;IND;MCO                                 NORTH KIM             IA                      US   67867   135739406.1541490@AIRLINE.KIWI.COM
2C5ZEG   1/27/2021   OB    7/2/2021   WN;902;PHX;MCI                                  SANDERSFORT           OH                      US   20202   136626963@AIRLINE.KIWI.COM
2C5ZEG   1/27/2021   RT   7/11/2021   WN;790;MCI;PHX                                  SANDERSFORT           OH                      US   20202   136626963@AIRLINE.KIWI.COM
2FJRCS   1/27/2021   OB   2/25/2021   WN;4577;ATL;MCO                                 NORTH JASON           ID                      US    7161   136638689@AIRLINE.KIWI.COM
4TWHJ9   1/27/2021   OB   6/20/2021   WN;2364;MCO;ATL;WN;2086;ATL;OAK                 DICKSONSHIRE          AR                      US   76347   136560534@AIRLINE.KIWI.COM
2GANQC   1/28/2021   RT   2/22/2021   WN;5009;ATL;MEM                                 LAKE TYLER            WI                      US   15961   136640163@AIRLINE.KIWI.COM
2J5NDR   1/28/2021   OB   2/22/2021   WN;2785;TPA;DEN;WN;4264;DEN;MSP                 K PETUKHOVO           LENINGRADSKAYA OBLAST   RU    7445   136646323@KACHIPYTEL.COM
2JIB5B   1/28/2021   OB   2/22/2021   WN;3544;MDW;TPA                                 NORTH THOMAS          NH                      US   76275   136647566@AIRLINE.KIWI.COM
2JMV6W   1/28/2021   OB   2/22/2021   WN;1889;DEN;MDW                                 MARIECHESTER          CO                      US   46029   136647566@AIRLINE.KIWI.COM
2KMOE3   1/28/2021   OB   3/17/2021   WN;1953;SMF;LGB                                 NEW MACKENZIEVIEW     CA                      US   33628   136649161@AIRLINE.KIWI.COM
2TL4P8   1/28/2021   OB   3/18/2021   WN;294;BOS;BNA;WN;1939;BNA;MDW                  NORTH JOSHUATON       ND                      US    2588   136682612@KACHIPYTEL.COM
2TL4P8   1/28/2021   OB   3/18/2021   WN;294;BOS;BNA;WN;1939;BNA;MDW                  NORTH JOSHUATON       ND                      US    2588   136682612@KACHIPYTEL.COM
2TRS3M   1/28/2021   RT   2/24/2021   WN;3256;RSW;BWI;WN;3256;BWI;MDW;WN;2576;MDW NORTH SARAFURT            MT                      US   27212   136683866@AIRLINE.KIWI.COM
2TRS3M   1/28/2021   RT   2/24/2021   WN;3256;RSW;BWI;WN;3256;BWI;MDW;WN;2576;MDW NORTH SARAFURT            MT                      US   27212   136683866@AIRLINE.KIWI.COM
2YTYTN   1/28/2021   OB   8/16/2021   WN;862;HOU;MDW;WN;3117;MDW;MEM                  WARRENSTAD            SD                      US   13802   136708308@KACHIPYTEL.COM
2YX25B   1/28/2021   OB   8/13/2021   WN;2389;MDW;HOU;WN;247;HOU;MIA                  WEST HOLLY            NM                      US   15954   136708308@KACHIPYTEL.COM




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35H83L   1/29/2021   OB   2/24/2021   WN;2793;DAL;STL;WN;3422;STL;LGA   NORTH REBECCA          TX                      US   66558   136723510@KACHIPYTEL.COM
35H83L   1/29/2021   OB   2/24/2021   WN;2793;DAL;STL;WN;3422;STL;LGA   NORTH REBECCA          TX                      US   66558   136723510@KACHIPYTEL.COM
36EZRN   1/29/2021   OB   3/11/2021   WN;590;ATL;BNA;WN;590;BNA;SJC     VIJYVAATTAA            CHANDIGARH              IN   78227   136725457@AIRLINE.KIWI.COM
39YGKW   1/29/2021   OB   2/23/2021   WN;4259;PDX;OAK                   KARENLAND              VA                      US   36286   136733597@AIRLINE.KIWI.COM
3BABTV   1/29/2021   OB   4/21/2021   WN;179;SJU;MCO                    PORT RYAN              MS                      US   66777   136703039@AIRLINE.KIWI.COM
3BABTV   1/29/2021   OB   4/21/2021   WN;179;SJU;MCO                    PORT RYAN              MS                      US   66777   136703039@AIRLINE.KIWI.COM
3BPJHT   1/29/2021   OB    3/2/2021   WN;101;PHX;LAX                    SAN MARGARITA DE LA    AGUASCALIENTES          MX   95944   136737557@AIRLINE.KIWI.COM
3ENWQB   1/29/2021   OB    3/7/2021   WN;1117;MSP;MDW;WN;658;MDW;TPA    SHAFFERFORT            NC                      US   31014   136746742@KACHIPYTEL.COM
3HOEE9   1/29/2021   OB    3/4/2021   WN;2728;BUF;DEN;WN;5014;DEN;MKE   BAKERCHESTER           NY                      US   61804   136760030@KACHIPYTEL.COM
3N96N2   1/29/2021   OB   2/24/2021   WN;535;CVG;DEN;WN;1966;DEN;LAS    BRIANSTAD              MI                      US   27914   136786353@KACHIPYTEL.COM
3PXVPL   1/29/2021   OB   2/25/2021   WN;1634;CLT;STL;WN;2246;STL;BNA   WEST JESSICA           VA                      US   68741   136797947@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP   BIALOGARD              WARMINSKOMAZURSKIE      PL    2954   136803392@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP   BIALOGARD              WARMINSKOMAZURSKIE      PL    2954   136803392@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP   BIALOGARD              WARMINSKOMAZURSKIE      PL    2954   136803392@KACHIPYTEL.COM
3SHXWI   1/30/2021   OB   5/29/2021   WN;1915;LGB;STL;WN;2751;STL;MSP   BIALOGARD              WARMINSKOMAZURSKIE      PL    2954   136803392@KACHIPYTEL.COM
3U7KAM   1/30/2021   OB   3/25/2021   WN;227;MSY;BNA;WN;188;BNA;PHL     NEW JENNIFER           MI                      US    8858   136807286@KACHIPYTEL.COM
3UHGE8   1/30/2021   OB   3/28/2021   WN;1974;BNA;ATL;WN;1634;ATL;MSY   JESSICASTAD            CT                      US   41176   136807286.1542605@AIRLINE.KIWI.COM
3UWAUT   1/30/2021   OB   3/24/2021   WN;1428;RNO;DEN;WN;746;DEN;ATL    LAKE AARON             OH                      US   79343   136808749@AIRLINE.KIWI.COM
3W63BX   1/30/2021   RT   2/27/2021   WN;4471;STL;LIT                   PORT JACQUELINE        IL                      US   61561   136811004@AIRLINE.KIWI.COM
43TMB5   1/30/2021   OB    3/4/2021   WN;938;IND;ATL;WN;1645;ATL;MSY    ROBINSONVIEW           ID                      US   29035   136823434@AIRLINE.KIWI.COM
43TMB5   1/30/2021   OB    3/4/2021   WN;938;IND;ATL;WN;1645;ATL;MSY    ROBINSONVIEW           ID                      US   29035   136823434@AIRLINE.KIWI.COM
47A75O   1/30/2021   OB   2/24/2021   WN;3465;IAD;DEN;WN;2843;DEN;RNO   SOUTH MOLLY            SC                      US   15742   136834500@AIRLINE.KIWI.COM
493VXI   1/30/2021   OB   2/23/2021   WN;2044;DCA;MDW;WN;2253;MDW;MCO   LOPEZMOUTH             TX                      US   50059   136841089@KACHIPYTEL.COM
49LFBC   1/30/2021   OB   2/26/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO   IRAAJPAALLAIYM VIRUT   HIMACHAL PRADESH        IN   32684   136843399@KACHIPYTEL.COM
4A3VAH   1/30/2021   OB    3/3/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB   NEW PAULFURT           MO                      US   87483   136845445@KACHIPYTEL.COM
4EZ93Y   1/30/2021   OB   3/22/2021   WN;226;DSM;STL;WN;1995;STL;CUN    ADAMSMOUTH             OR                      US    5573   136861703@AIRLINE.KIWI.COM
23PM6E   1/31/2021   OB   3/30/2021   WN;976;HNL;OGG                    PORT ERICSIDE          OH                      US   15787   136918507@AIRLINE.KIWI.COM
23PM6E   1/31/2021   OB   3/30/2021   WN;976;HNL;OGG                    PORT ERICSIDE          OH                      US   15787   136918507@AIRLINE.KIWI.COM
24H4E4   1/31/2021   OB   2/25/2021   WN;3136;OKC;DEN;WN;2596;DEN;GEG   ROBERTCHESTER          CT                      US   71521   136920190@AIRLINE.KIWI.COM
24H4E4   1/31/2021   RT    3/1/2021   WN;2304;GEG;LAS;WN;2905;LAS;OKC   ROBERTCHESTER          CT                      US   71521   136920190@AIRLINE.KIWI.COM
4W45HJ   1/31/2021   OB    4/5/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG    MYERSSTAD              IN                      US   16650   136898718@KACHIPYTEL.COM
4W45HJ   1/31/2021   OB    4/5/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG    MYERSSTAD              IN                      US   16650   136898718@KACHIPYTEL.COM
4XPRRQ   1/31/2021   OB    3/1/2021   WN;2077;AUS;BNA;WN;2713;BNA;MSY   PORT JENNIFER          DE                      US   19281   136905384@KACHIPYTEL.COM
258T3U    2/1/2021   OB   2/27/2021   WN;4132;PIT;MDW;WN;3141;MDW;PDX   SARASHIRE              GA                      US   59928   136921521@AIRLINE.KIWI.COM
25UYBI    2/1/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA    GONZALESFURT           VA                      US   46716   136922346@KACHIPYTEL.COM
25UYBI    2/1/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA    GONZALESFURT           VA                      US   46716   136922346@KACHIPYTEL.COM
26B2O9    2/1/2021   OB    3/4/2021   WN;3254;MDW;AUS;WN;2931;AUS;BNA   JEYPPUUR               ODISHA                  IN   48635   136923050@KACHIPYTEL.COM
26ED8I    2/1/2021   OB    3/7/2021   WN;182;AUS;MDW;WN;535;MDW;CVG     VEELUUR                MIZORAM                 IN   88034   136923050@KACHIPYTEL.COM
28GNX6    2/1/2021   OB   3/17/2021   WN;651;AUS;LAS;WN;818;LAS;LGB     PORT SARAVIEW          KY                      US   49266   136926163@KACHIPYTEL.COM
28GNX6    2/1/2021   OB   3/17/2021   WN;651;AUS;LAS;WN;818;LAS;LGB     PORT SARAVIEW          KY                      US   49266   136926163@KACHIPYTEL.COM
28GNX6    2/1/2021   OB   3/17/2021   WN;651;AUS;LAS;WN;818;LAS;LGB     PORT SARAVIEW          KY                      US   49266   136926163@KACHIPYTEL.COM
28J3TD    2/1/2021   OB   3/10/2021   WN;986;PIT;PHX;WN;3927;PHX;DAL    MILLERBURGH            SD                      US   73840   136926405@KACHIPYTEL.COM
2BJOI6    2/1/2021   OB   2/26/2021   WN;2628;OAK;ONT                   JENSENBURGH            CT                      US   57926   136931300@AIRLINE.KIWI.COM
2BJOI6    2/1/2021   RT    3/1/2021   WN;4816;ONT;OAK                   JENSENBURGH            CT                      US   57926   136931300@AIRLINE.KIWI.COM
2BJZE7    2/1/2021   OB   2/24/2021   WN;2601;PHX;ONT                   WOODSTON               OR                      US   26275   136931410@AIRLINE.KIWI.COM
2I76EG    2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                   LAKE SETHLAND          AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG    2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                   LAKE SETHLAND          AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG    2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                   LAKE SETHLAND          AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG    2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                   LAKE SETHLAND          AL                      US   61875   136933181@AIRLINE.KIWI.COM
2I76EG    2/1/2021   OB   4/29/2021   WN;3435;DEN;SMF                   LAKE SETHLAND          AL                      US   61875   136933181@AIRLINE.KIWI.COM
2JRUS6    2/1/2021   OB   2/24/2021   WN;3422;LGA;DEN                   K LUGA                 LENINGRADSKAYA OBLAST   RU   11967   136965334@AIRLINE.KIWI.COM
2SGU9M    2/2/2021   OB    3/9/2021   WN;4287;LAX;SMF                   GUERRAHAVEN            NM                      US   55979   137001601@AIRLINE.KIWI.COM
2SGU9M    2/2/2021   OB    3/9/2021   WN;4287;LAX;SMF                   GUERRAHAVEN            NM                      US   55979   137001601@AIRLINE.KIWI.COM
2SJTX3    2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL   SEANPORT               IN                      US   64216   137001876@KACHIPYTEL.COM
2SJTX3    2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL   SEANPORT               IN                      US   64216   137001876@KACHIPYTEL.COM
2SJTX3    2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL   SEANPORT               IN                      US   64216   137001876@KACHIPYTEL.COM
2SJTX3    2/2/2021   OB   4/15/2021   WN;1293;PHX;AUS;WN;2616;AUS;DAL   SEANPORT               IN                      US   64216   137001876@KACHIPYTEL.COM
2SL4X8    2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX   SOUTH MELISSA          TN                      US   83007   137001876@KACHIPYTEL.COM
2SL4X8    2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX   SOUTH MELISSA          TN                      US   83007   137001876@KACHIPYTEL.COM
2SL4X8    2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX   SOUTH MELISSA          TN                      US   83007   137001876@KACHIPYTEL.COM
2SL4X8    2/2/2021   OB   4/20/2021   WN;2088;AUS;PHX;WN;3797;PHX;LAX   SOUTH MELISSA          TN                      US   83007   137001876@KACHIPYTEL.COM
2UMFFX    2/2/2021   OB    3/7/2021   WN;802;LAS;BWI;WN;1261;BWI;DTW    SIMSFORT               PA                      US   71028   137006265@AIRLINE.KIWI.COM
2UMFFX    2/2/2021   OB    3/7/2021   WN;802;LAS;BWI;WN;1261;BWI;DTW    SIMSFORT               PA                      US   71028   137006265@AIRLINE.KIWI.COM
2XF6RY    2/2/2021   OB   3/11/2021   WN;1110;LAX;SMF                   S SEIMCHAN             SMOLENSKAYA OBLAST      RU   32596   137012106@AIRLINE.KIWI.COM
2XF6RY    2/2/2021   OB   3/11/2021   WN;1110;LAX;SMF                   S SEIMCHAN             SMOLENSKAYA OBLAST      RU   32596   137012106@AIRLINE.KIWI.COM
2YK9H6    2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                   MARIAHFURT             NY                      US   22226   136926185@AIRLINE.KIWI.COM
2YK9H6    2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                   MARIAHFURT             NY                      US   22226   136926185@AIRLINE.KIWI.COM
2YK9H6    2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                   MARIAHFURT             NY                      US   22226   136926185@AIRLINE.KIWI.COM
2YK9H6    2/2/2021   OB   3/31/2021   WN;2728;BNA;DEN                   MARIAHFURT             NY                      US   22226   136926185@AIRLINE.KIWI.COM
38SVUM    2/2/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA    HANNAHTOWN             WA                      US   31680   137055039@KACHIPYTEL.COM
38SVUM    2/2/2021   OB   4/23/2021   WN;406;BOS;BNA;WN;2637;BNA;MIA    HANNAHTOWN             WA                      US   31680   137055039@KACHIPYTEL.COM
39XJAF    2/2/2021   OB   3/23/2021   WN;527;DCA;JAX                    JAMESMOUTH             NM                      US   66195   137060088@AIRLINE.KIWI.COM
3JET93    2/3/2021   OB    8/6/2021   WN;3069;SEA;MDW                   WINTERSFURT            WY                      US   87507   137095926@AIRLINE.KIWI.COM
3JET93    2/3/2021   OB    8/6/2021   WN;3069;SEA;MDW                   WINTERSFURT            WY                      US   87507   137095926@AIRLINE.KIWI.COM
3JYZ2A    2/3/2021   OB   2/25/2021   WN;3317;GRR;DEN                   RHODESVIEW             TX                      US    3472   137097708@AIRLINE.KIWI.COM
3JYZ2A    2/3/2021   RT    3/1/2021   WN;3328;DEN;GRR                   RHODESVIEW             TX                      US    3472   137097708@AIRLINE.KIWI.COM
3JZH5G    2/3/2021   OB   3/19/2021   WN;473;COS;LAS                    LINDSAYFURT            NE                      US   86901   137097356@AIRLINE.KIWI.COM
3JZH5G    2/3/2021   RT   3/22/2021   WN;472;LAS;COS                    LINDSAYFURT            NE                      US   86901   137097356@AIRLINE.KIWI.COM
3WX2HU    2/3/2021   OB   2/22/2021   WN;2793;DAL;STL                   MEDINABERG             UT                      US   34335   137144062@KACHIPYTEL.COM
43YG8S    2/3/2021   OB   3/13/2021   WN;1788;OAK;LAX                   NORTH CODY             AK                      US   80113   137148044@AIRLINE.KIWI.COM
43YG8S    2/3/2021   OB   3/13/2021   WN;1788;OAK;LAX                   NORTH CODY             AK                      US   80113   137148044@AIRLINE.KIWI.COM
44KTA2    2/3/2021   OB   3/15/2021   WN;1055;ELP;PHX;WN;1055;PHX;SFO   EAST NICHOLASMOUTH     AR                      US   75499   137167778@AIRLINE.KIWI.COM
455IA4    2/3/2021   OB   2/27/2021   WN;2112;BWI;CVG                   PORT HANNAH            NY                      US   86970   137169593@AIRLINE.KIWI.COM
45AO45    2/3/2021   OB   2/24/2021   WN;2804;CVG;BWI                   THORNTONMOUTH          OR                      US   99936   137169593@AIRLINE.KIWI.COM
45H84J    2/4/2021   OB   2/27/2021   WN;2112;BWI;CVG                   ISAIAHTOWN             NH                      US   48023   137170616@AIRLINE.KIWI.COM
494EHM    2/4/2021   OB   2/24/2021   WN;648;DEN;ICT                    JULIEPORT              AL                      US   61512   137179086@AIRLINE.KIWI.COM
4FR3Z5    2/4/2021   OB   3/17/2021   WN;1008;HNL;ITO                   BROWNLAND              MN                      US    9401   137198501@AIRLINE.KIWI.COM
4IIRU6    2/4/2021   OB   2/25/2021   WN;2838;MCO;STL;WN;534;STL;CLT    WEST ERINBURY          DE                      US   22279   137211272@KACHIPYTEL.COM
4INJB9    2/4/2021   OB   2/24/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL   NEW REBECCA            OK                      US   85526   137211272@KACHIPYTEL.COM
4LTAHC    2/4/2021   OB    4/2/2021   WN;303;BOS;STL;WN;1995;STL;CUN    NORTH DANIELMOUTH      GA                      US   58813   137226771@AIRLINE.KIWI.COM
4M2DPM    2/4/2021   OB   2/22/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS   CHRISTENSENSTAD        WI                      US   70917   137226870@KACHIPYTEL.COM
4N8UTU    2/4/2021   OB    3/2/2021   WN;845;AUS;DAL;WN;2892;DAL;MCO    MUELLERSIDE            SC                      US   12117   137232964@AIRLINE.KIWI.COM
4OXGYP    2/4/2021   OB   3/30/2021   WN;1154;DEN;MCI                   SOUTH JENNIFERCHESTE   CA                      US   73016   137228157@AIRLINE.KIWI.COM
4PJCR4    2/4/2021   OB   2/25/2021   WN;2740;AUS;PHX;WN;425;PHX;LGB    VAARNNAACI             UTTAR PRADESH           IN   11867   137242930@KACHIPYTEL.COM
27KLUV    2/5/2021   OB   2/22/2021   WN;4551;PHL;BNA;WN;3235;BNA;SRQ   DICKERSONSTAD          ME                      US   67403   137288987@KACHIPYTEL.COM
27SAUE    2/5/2021   OB   3/28/2021   WN;1723;IND;ATL;WN;1723;ATL;DCA   SOUTH KERRI            KS                      US   75173   137290274@AIRLINE.KIWI.COM
2AA37N    2/5/2021   OB   3/25/2021   WN;2040;DCA;FLL                   LAURENVILLE            FL                      US   79041   137300361@AIRLINE.KIWI.COM
2AA37N    2/5/2021   OB   3/25/2021   WN;2040;DCA;FLL                   LAURENVILLE            FL                      US   79041   137300361@AIRLINE.KIWI.COM
2AGGO2    2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT    MICHAELTON             WA                      US   53066   137301043@AIRLINE.KIWI.COM
2AGGO2    2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT    MICHAELTON             WA                      US   53066   137301043@AIRLINE.KIWI.COM
2B65HU    2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT    TRACYVIEW              MN                      US   33962   137305212@AIRLINE.KIWI.COM
2B65HU    2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT    TRACYVIEW              MN                      US   33962   137305212@AIRLINE.KIWI.COM
2B65HU    2/5/2021   OB    4/1/2021   WN;1012;PHX;DAL;WN;589;DAL;LIT    TRACYVIEW              MN                      US   33962   137305212@AIRLINE.KIWI.COM
2CCUWF    2/5/2021   OB    3/1/2021   WN;1909;DCA;BNA;WN;2438;BNA;MCO   CASEYSTAD              VT                      US   46641   137310063@KACHIPYTEL.COM
2EDO2W    2/5/2021   OB   3/16/2021   WN;1330;ATL;MDW;WN;2192;MDW;SEA   MORALESHAVEN           KY                      US   65146   137319094@AIRLINE.KIWI.COM
2EG7UF    2/5/2021   OB    4/1/2021   WN;252;AUS;TPA;WN;2120;TPA;STL    NEW KAREN              TN                      US   27822   137319303@KACHIPYTEL.COM
2EJJ3Q    2/5/2021   OB    4/4/2021   WN;1431;TPA;AUS;WN;2097;AUS;DAL   FRAZIERFORT            SC                      US   22110   137319303@KACHIPYTEL.COM
2EON84    2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS    JEYPPUUR               ANDHRA PRADESH          IN   43844   137319974@KACHIPYTEL.COM
2EON84    2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS    JEYPPUUR               ANDHRA PRADESH          IN   43844   137319974@KACHIPYTEL.COM
2EON84    2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS    JEYPPUUR               ANDHRA PRADESH          IN   43844   137319974@KACHIPYTEL.COM
2EON84    2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS    JEYPPUUR               ANDHRA PRADESH          IN   43844   137319974@KACHIPYTEL.COM
2EON84    2/5/2021   OB   3/14/2021   WN;560;MIA;DEN;WN;1306;DEN;LAS    JEYPPUUR               ANDHRA PRADESH          IN   43844   137319974@KACHIPYTEL.COM
2F4PW3    2/5/2021   OB   4/25/2021   WN;1719;LGB;SMF;WN;2101;SMF;LAS   EAST BROOKEVILLE       AL                      US   23443   137320997@KACHIPYTEL.COM
4TT8TU    2/5/2021   OB   2/23/2021   WN;2770;CMH;MCO;WN;2068;MCO;BWI   KIMFURT                TN                      US   38899   137255448@KACHIPYTEL.COM
4UY4D3    2/5/2021   OB    5/6/2021   WN;1524;GEG;DEN;WN;653;DEN;TUL    RUSSOBURGH             ME                      US   15116   137257967@AIRLINE.KIWI.COM
4UY4D3    2/5/2021   OB    5/6/2021   WN;1524;GEG;DEN;WN;653;DEN;TUL    RUSSOBURGH             ME                      US   15116   137257967@AIRLINE.KIWI.COM




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4VZDT8   2/5/2021   OB   2/25/2021   WN;1639;ORD;BWI;WN;1370;BWI;BNA                FLORESBURY             MD                  US   36257 137260211@KACHIPYTEL.COM
4W4QEV   2/5/2021   OB   2/24/2021   WN;164;SEA;MDW;WN;4041;MDW;DEN                 VTOOTRAA               ARUNACHAL PRADESH   IN   34253 137260354@KACHIPYTEL.COM
4XJ9TJ   2/5/2021   OB   2/25/2021   WN;441;MSP;MDW;WN;3265;MDW;GRR                 WEST CHERYL            MN                  US   80856 137256130@AIRLINE.KIWI.COM
4XJ9TJ   2/5/2021   OB   2/25/2021   WN;441;MSP;MDW;WN;3265;MDW;GRR                 WEST CHERYL            MN                  US   80856 137256130@AIRLINE.KIWI.COM
4XJ9TJ   2/5/2021   OB   2/25/2021   WN;441;MSP;MDW;WN;3265;MDW;GRR                 WEST CHERYL            MN                  US   80856 137256130@AIRLINE.KIWI.COM
4XZ7K6   2/5/2021   OB   3/10/2021   WN;2592;ELP;LAS;WN;2402;LAS;TUS                PORT TERRI             SC                  US   61671 137264325@KACHIPYTEL.COM
4XZ7K6   2/5/2021   OB   3/10/2021   WN;2592;ELP;LAS;WN;2402;LAS;TUS                PORT TERRI             SC                  US   61671 137264325@KACHIPYTEL.COM
2HATVW   2/6/2021   OB   6/25/2021   WN;1261;FLL;SJU                                PITEA                  UPPSALA LAN         SE   93056 137327520@AIRLINE.KIWI.COM
2HATVW   2/6/2021   OB   6/25/2021   WN;1261;FLL;SJU                                PITEA                  UPPSALA LAN         SE   93056 137327520@AIRLINE.KIWI.COM
2HATVW   2/6/2021   OB   6/25/2021   WN;1261;FLL;SJU                                PITEA                  UPPSALA LAN         SE   93056 137327520@AIRLINE.KIWI.COM
2HCJOC   2/6/2021   OB   6/20/2021   WN;3356;SAN;AUS;WN;279;AUS;FLL                 NEW MATTHEWBURGH       EASTERN             GH   75800 137327520@AIRLINE.KIWI.COM
2HCJOC   2/6/2021   OB   6/20/2021   WN;3356;SAN;AUS;WN;279;AUS;FLL                 NEW MATTHEWBURGH       EASTERN             GH   75800 137327520@AIRLINE.KIWI.COM
2HCJOC   2/6/2021   OB   6/20/2021   WN;3356;SAN;AUS;WN;279;AUS;FLL                 NEW MATTHEWBURGH       EASTERN             GH   75800 137327520@AIRLINE.KIWI.COM
2ISZ64   2/6/2021   OB   2/26/2021   WN;1447;SAT;PHX;WN;2143;PHX;DAL                MORASHIRE              IA                  US   18057 137330963@KACHIPYTEL.COM
2JATY7   2/6/2021   OB   3/19/2021   WN;1699;MIA;BWI;WN;1699;BWI;RDU                KEVINBURY              WY                  US    3811 137331986@AIRLINE.KIWI.COM
2JNM4D   2/6/2021   OB   3/19/2021   WN;1699;MIA;BWI;WN;1699;BWI;RDU                BRANDONFORT            DE                  US   85379 137332800@AIRLINE.KIWI.COM
2KOYOD   2/6/2021   OB   2/24/2021   WN;4743;ATL;AUS;WN;4065;AUS;LGB                MORALESMOUTH           OR                  US   43610 137334758@KACHIPYTEL.COM
2MHAA8   2/6/2021   OB   3/27/2021   WN;3076;MDW;LAS                                LAKE FRANKLIN          IL                  US   97615 137334780@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                                 EAST DENISESHIRE       TX                  US   86298 137328466@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                                 EAST DENISESHIRE       TX                  US   86298 137328466@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                                 EAST DENISESHIRE       TX                  US   86298 137328466@AIRLINE.KIWI.COM
2MOHGW   2/6/2021   OB    3/8/2021   WN;545;LAS;MDW                                 EAST DENISESHIRE       TX                  US   86298 137328466@AIRLINE.KIWI.COM
2NAAIB   2/6/2021   OB   3/22/2021   WN;1140;HOU;PHX;WN;1078;PHX;MEM                SOUTH DAVID            AR                  US   60497 137339411@KACHIPYTEL.COM
2NY5CG   2/6/2021   OB   3/21/2021   WN;1247;OMA;PHX;WN;354;PHX;PDX                 KIMFORT                ND                  US   54296 137340588@KACHIPYTEL.COM
2RX2WW   2/6/2021   OB   4/12/2021   WN;1511;LAS;DEN;WN;1511;DEN;PHL                EAST ROBERTVIEW        AL                  US   22181 137352567@AIRLINE.KIWI.COM
2VC6ZA   2/6/2021   OB   2/26/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                SOUTH TAYLORBOROUGH    AK                  US   32502 137363314@KACHIPYTEL.COM
2VC6ZA   2/6/2021   OB   2/26/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                SOUTH TAYLORBOROUGH    AK                  US   32502 137363314@KACHIPYTEL.COM
2YJT6N   2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW                  EAST DIANA             OK                  US   25443 137376635@AIRLINE.KIWI.COM
2YJT6N   2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW                  EAST DIANA             OK                  US   25443 137376635@AIRLINE.KIWI.COM
2YJT6N   2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW                  EAST DIANA             OK                  US   25443 137376635@AIRLINE.KIWI.COM
2YJT6N   2/6/2021   OB   3/26/2021   WN;19;LGA;ATL;WN;6589;ATL;RSW                  EAST DIANA             OK                  US   25443 137376635@AIRLINE.KIWI.COM
2YQN8E   2/6/2021   OB   3/17/2021   WN;174;OAK;HOU;WN;209;HOU;MSP                  ANNVILLE               WV                  US   32716 137377999@KACHIPYTEL.COM
2Z24A3   2/6/2021   OB   2/22/2021   WN;3176;RDU;MDW                                LAKE CHRISTOPHERHAVE   NM                  US   97021 137379099@KACHIPYTEL.COM
2Z8RHW   2/6/2021   OB   3/16/2021   WN;500;BNA;HOU;WN;199;HOU;CMH                  MICHAELSIDE            MO                  US    9267 137379715@KACHIPYTEL.COM
2Z8RHW   2/6/2021   OB   3/16/2021   WN;500;BNA;HOU;WN;199;HOU;CMH                  MICHAELSIDE            MO                  US    9267 137379715@KACHIPYTEL.COM
2ZL73Z   2/6/2021   OB    3/7/2021   WN;1050;FLL;BNA;WN;939;BNA;MDW                 CAMPBELLMOUTH          IA                  US   83082 137381332@AIRLINE.KIWI.COM
2ZLE4L   2/6/2021   OB   3/24/2021   WN;1727;BWI;OAK;WN;1589;OAK;LGB                GRAHAMLAND             NE                  US   14513 137381475@KACHIPYTEL.COM
2ZPMKB   2/6/2021   OB   3/31/2021   WN;391;OAK;BWI;WN;2038;BWI;ORD                 TRAVISFORT             IA                  US   12918 137381475@KACHIPYTEL.COM
32EWOQ   2/6/2021   OB   2/23/2021   WN;4943;PHX;SMF;WN;4902;SMF;LGB                KIMTON                 WY                  US   52852 137384357@KACHIPYTEL.COM
32ICH7   2/6/2021   OB   2/28/2021   WN;5013;MIA;TPA                                SELO ROZALIIA          LUHANSKA OBLAST     UA   54663 137384511@AIRLINE.KIWI.COM
33RQSN   2/6/2021   OB   3/24/2021   WN;1398;LAX;DEN                                NEW DANIELHAVEN        MD                  US   51611 137388130@AIRLINE.KIWI.COM
349OPZ   2/6/2021   OB   3/10/2021   WN;2785;TPA;DEN;WN;4264;DEN;MSP                NORTH DAVIDSTAD        RI                  US   21548 137389681@KACHIPYTEL.COM
34ZLDS   2/6/2021   OB   2/22/2021   WN;1634;CLT;STL;WN;427;STL;TPA                 SOUTH MELANIEPORT      VT                  US   14770 137391771@KACHIPYTEL.COM
35K9PU   2/6/2021   OB   3/24/2021   WN;862;TPA;MCI;WN;1539;MCI;BNA;WN;1539;BNA;BOS SRIINKR                GOA                 IN   97836 137392970@KACHIPYTEL.COM
36298S   2/7/2021   OB   3/22/2021   WN;1077;LAX;SMF                                BROWNSTAD              UT                  US   44733 137393850@AIRLINE.KIWI.COM
36475J   2/7/2021   OB    3/8/2021   WN;900;ATL;MDW;WN;935;MDW;STL                  NOAHSHIRE              NY                  US   71928 137393894@KACHIPYTEL.COM
3659DG   2/7/2021   OB   3/23/2021   WN;894;SMF;LAX                                 NOAHVIEW               NV                  US   15414 137393850@AIRLINE.KIWI.COM
3676AT   2/7/2021   OB    3/5/2021   WN;3115;MDW;ATL;WN;4549;ATL;MEM                RICARDOLAND            HI                  US   47508 137393894@KACHIPYTEL.COM
38JOPK   2/7/2021   OB   2/26/2021   WN;4149;PHL;BNA;WN;3304;BNA;SRQ                OLSONVILLE             AZ                  US    8684 137397832@KACHIPYTEL.COM
392FXR   2/7/2021   OB   3/12/2021   WN;1935;MSY;PHX;WN;1882;PHX;SEA                NEW JUSTIN             MD                  US   72104 137398767@KACHIPYTEL.COM
392FXR   2/7/2021   OB   3/12/2021   WN;1935;MSY;PHX;WN;1882;PHX;SEA                NEW JUSTIN             MD                  US   72104 137398767@KACHIPYTEL.COM
3988FJ   2/7/2021   OB   2/28/2021   WN;1459;OAK;MDW;WN;2576;MDW;DTW                PAULHAVEN              KS                  US   57819 137399108@AIRLINE.KIWI.COM
3BC682   2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                                WEST LESLIE            MT                  US   83676 137402782@AIRLINE.KIWI.COM
3BC682   2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                                WEST LESLIE            MT                  US   83676 137402782@AIRLINE.KIWI.COM
3BC682   2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                                WEST LESLIE            MT                  US   83676 137402782@AIRLINE.KIWI.COM
3BC682   2/7/2021   OB    4/4/2021   WN;1016;SJC;KOA                                WEST LESLIE            MT                  US   83676 137402782@AIRLINE.KIWI.COM
3BVXPX   2/7/2021   OB   2/22/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL                HAROLDTON              CO                  US   68354 137403431@KACHIPYTEL.COM
3CWN8B   2/7/2021   OB   2/22/2021   WN;4743;AUS;BWI                                NORTH ERICSHIRE        ND                  US   64196 137404652@KACHIPYTEL.COM
3INM47   2/7/2021   OB   3/12/2021   WN;1598;FLL;PHX;WN;2146;PHX;MSP                ALLENLAND              AL                  US   89327 137419084@KACHIPYTEL.COM
3INM47   2/7/2021   OB   3/12/2021   WN;1598;FLL;PHX;WN;2146;PHX;MSP                ALLENLAND              AL                  US   89327 137419084@KACHIPYTEL.COM
3LOL45   2/7/2021   OB    3/8/2021   WN;1115;GRR;DEN;WN;1035;DEN;MSP                HEBERTSTAD             OH                  US    1624 137428984@KACHIPYTEL.COM
3MHCKQ   2/7/2021   OB   3/27/2021   WN;2485;FLL;DEN;WN;2426;DEN;ORD                NEW DENNIS             HI                  US   11578 137432768@KACHIPYTEL.COM
3OPWXF   2/7/2021   OB   3/26/2021   WN;4459;LGA;ATL;WN;4459;ATL;MEM                NORTH JACQUELINE       FL                  US   11950 137441337@AIRLINE.KIWI.COM
3PPVPA   2/7/2021   OB   4/21/2021   WN;1098;HNL;LIH                                WEST CRYSTALVILLE      MS                  US   53246 137444329@AIRLINE.KIWI.COM
3PPVPA   2/7/2021   OB   4/21/2021   WN;1098;HNL;LIH                                WEST CRYSTALVILLE      MS                  US   53246 137444329@AIRLINE.KIWI.COM
3QKIMJ   2/7/2021   OB    3/4/2021   WN;680;BWI;MDW;WN;2195;MDW;CLE                 WESTFURT               CO                  US   73196 137447607@KACHIPYTEL.COM
3QOK7R   2/7/2021   OB    3/7/2021   WN;692;MDW;BWI;WN;1245;BWI;BOS                 NEW AUSTIN             WA                  US   65246 137447607@KACHIPYTEL.COM
3RWYPH   2/7/2021   OB   3/13/2021   WN;3083;RSW;HOU;WN;2773;HOU;MSP                SOUTH AMANDA           ID                  US   63948 137450225@AIRLINE.KIWI.COM
3RWYPH   2/7/2021   OB   3/13/2021   WN;3083;RSW;HOU;WN;2773;HOU;MSP                SOUTH AMANDA           ID                  US   63948 137450225@AIRLINE.KIWI.COM
3S7E4C   2/7/2021   OB    3/3/2021   WN;2624;PDX;DEN                                SEONGNAMSI             SEOUL TEUGBYEOLSI   KR   44218 137450478@AIRLINE.KIWI.COM
3UYZCK   2/8/2021   OB    3/4/2021   WN;4158;DEN;SMF;WN;349;SMF;LGB                 PORT ASHLEY            ND                  US   81330 137455626@KACHIPYTEL.COM
47Q4WY   2/8/2021   OB   3/25/2021   WN;1089;LGA;DEN;WN;3074;DEN;ORD                EAST DONNABERG         WV                  US   44117 137488934@KACHIPYTEL.COM
47XTNY   2/8/2021   OB   3/19/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVD;TPA SHML MRYM               BUSHEHR             IR   27856 137490518@KACHIPYTEL.COM
47XTNY   2/8/2021   OB   3/19/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVD;TPA SHML MRYM               BUSHEHR             IR   27856 137490518@KACHIPYTEL.COM
4ASWOX   2/8/2021   OB   2/23/2021   WN;2461;ATL;CMH;WN;4766;CMH;BNA                DOUGLASMOUTH           NY                  US   24908 137505027@KACHIPYTEL.COM
4AU8DK   2/8/2021   OB   2/25/2021   WN;2705;AUS;PHX;WN;3972;PHX;LAX                SOUTH DEVONFORT        MO                  US   25865 137504873@KACHIPYTEL.COM
4B297I   2/8/2021   OB    3/1/2021   WN;1376;HNL;SJC                                NORTH STEPHANIESHIRE   CO                  US    4203 137505665@AIRLINE.KIWI.COM
4B297I   2/8/2021   OB    3/1/2021   WN;1376;HNL;SJC                                NORTH STEPHANIESHIRE   CO                  US    4203 137505665@AIRLINE.KIWI.COM
4C4LHH   2/8/2021   OB    3/4/2021   WN;3326;PDX;OAK;WN;4862;OAK;LAS                PORT JULIE             CA                  US   46830 137511484@AIRLINE.KIWI.COM
4C4LHH   2/8/2021   RT    3/8/2021   WN;1537;LAS;OAK;WN;14;OAK;PDX                  PORT JULIE             CA                  US   46830 137511484@AIRLINE.KIWI.COM
4CRFDD   2/8/2021   OB    3/1/2021   WN;560;FLL;DAL;WN;2493;DAL;RNO                 AMYSHIRE               AL                  US   55310 137514839@AIRLINE.KIWI.COM
4CRFDD   2/8/2021   OB    3/1/2021   WN;560;FLL;DAL;WN;2493;DAL;RNO                 AMYSHIRE               AL                  US   55310 137514839@AIRLINE.KIWI.COM
4D2OL7   2/8/2021   OB    3/1/2021   WN;2225;JAX;BNA;WN;4766;BNA;PHL                PORT MARKSHIRE         MO                  US   64196 137516544@KACHIPYTEL.COM
4D9CMH   2/8/2021   OB   3/15/2021   WN;1859;SJU;BWI;WN;1549;BWI;FLL                SCOTTVILLE             HI                  US   49026 137517017@KACHIPYTEL.COM
4E7FSS   2/8/2021   OB    3/5/2021   WN;2585;LAS;BOI;WN;4367;BOI;OAK                MISTYPORT              SD                  US   10095 137520966@KACHIPYTEL.COM
4E8JIO   2/8/2021   OB   2/26/2021   WN;3020;BOI;LAS;WN;400;LAS;LAX                 SOUTH JON              MD                  US   75525 137520966@KACHIPYTEL.COM
4EB2B3   2/8/2021   OB   2/26/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL                ARMSTRONGBOROUGH       WI                  US   73943 137521659@KACHIPYTEL.COM
4EB2B3   2/8/2021   OB   2/26/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL                ARMSTRONGBOROUGH       WI                  US   73943 137521659@KACHIPYTEL.COM
4EB2B3   2/8/2021   OB   2/26/2021   WN;4751;RIC;ATL;WN;4207;ATL;FLL                ARMSTRONGBOROUGH       WI                  US   73943 137521659@KACHIPYTEL.COM
4ED5ND   2/8/2021   OB   2/24/2021   WN;4775;SAN;BWI;WN;2593;BWI;BOS                NEW MATTHEW            FL                  US   40041 137522242@KACHIPYTEL.COM
4G857W   2/8/2021   OB    3/7/2021   WN;1375;SAN;HNL;WN;753;HNL;KOA                 BERRYVILLE             GA                  US   54763 137528622@KACHIPYTEL.COM
4G857W   2/8/2021   OB    3/7/2021   WN;1375;SAN;HNL;WN;753;HNL;KOA                 BERRYVILLE             GA                  US   54763 137528622@KACHIPYTEL.COM
4GYXC4   2/8/2021   OB   2/22/2021   WN;1877;DTW;DEN;WN;2785;DEN;LAS                BROWNVIEW              AR                  US   67868 137516533@AIRLINE.KIWI.COM
4GZPOP   2/8/2021   OB   3/12/2021   WN;1738;HNL;SJC;WN;1738;SJC;LAX                CASSIEFORT             AR                  US   99532 137530855@AIRLINE.KIWI.COM
4GZPOP   2/8/2021   OB   3/12/2021   WN;1738;HNL;SJC;WN;1738;SJC;LAX                CASSIEFORT             AR                  US   99532 137530855@AIRLINE.KIWI.COM
24SCO8   2/9/2021   OB   2/24/2021   WN;3804;LGA;STL;WN;4483;STL;DAL                NORTH BRIANCHESTER     OK                  US   39065 137616171@KACHIPYTEL.COM
25SF5D   2/9/2021   OB   2/25/2021   WN;1370;BNA;HOU;WN;1640;HOU;FLL                WEST BRANDISTAD        SC                  US   37221 137619658@KACHIPYTEL.COM
4HG49Y   2/9/2021   OB   4/16/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                  WEST JOSEVILLE         OK                  US   20172 137381288.1547045@KACHIPYTEL.COM
4JCPLQ   2/9/2021   OB   2/25/2021   WN;2755;BWI;LAS;WN;3337;LAS;PDX                OSBORNLAND             CT                  US    5543 137537422@KACHIPYTEL.COM
4JR5FQ   2/9/2021   OB   2/23/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS                JAMESBOROUGH           NH                  US   40712 137538929@AIRLINE.KIWI.COM
4K7VHQ   2/9/2021   OB   4/19/2021   WN;2679;LAX;SLC                                EAST SHAWN             CO                  US   45617 137539974@AIRLINE.KIWI.COM
4KC2A5   2/9/2021   OB   3/25/2021   WN;1873;SLC;LAX                                PORT RYANFURT          MS                  US   43833 137540656@AIRLINE.KIWI.COM
4KC2A5   2/9/2021   RT   3/28/2021   WN;820;LAX;SLC                                 PORT RYANFURT          MS                  US   43833 137540656@AIRLINE.KIWI.COM
4KDUUW   2/9/2021   OB   3/12/2021   WN;2150;BWI;LAS;WN;465;LAS;LGB                 SWEENEYTOWN            WY                  US    3643 137540777@KACHIPYTEL.COM
4MCE29   2/9/2021   OB   4/27/2021   WN;2683;LAS;PDX                                JULIESIDE              AR                  US   42785 137545397@AIRLINE.KIWI.COM
4MWT7P   2/9/2021   OB   2/28/2021   WN;4562;HOU;BNA;WN;1966;BNA;ATL                SOUTH CONNORBURGH      NE                  US   34273 137546354@KACHIPYTEL.COM
4N2IF4   2/9/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW                RYANMOUTH              KS                  US   38562 137546354@KACHIPYTEL.COM
4T3TQT   2/9/2021   OB   2/25/2021   WN;3254;MDW;AUS;WN;4065;AUS;LGB                EAST ELIZABETH         TX                  US   51533 137566693@KACHIPYTEL.COM
4WY3WB   2/9/2021   OB   3/13/2021   WN;3304;TPA;CVG                                MANNBURY               MA                  US   47871 137587538@AIRLINE.KIWI.COM
4WY3WB   2/9/2021   OB   3/13/2021   WN;3304;TPA;CVG                                MANNBURY               MA                  US   47871 137587538@AIRLINE.KIWI.COM
4XCL6C   2/9/2021   OB   2/22/2021   WN;907;MBJ;BWI;WN;3984;BWI;FLL                 MELLEKFALVA            ERD                 HU   65590 137590134@KACHIPYTEL.COM
4ZD98X   2/9/2021   OB   3/12/2021   WN;372;BUF;BWI;WN;2142;BWI;BOS                 CLARKTOWN              FL                  US   50933 137594897@KACHIPYTEL.COM
4ZEK9J   2/9/2021   OB    3/6/2021   WN;2090;BNA;HOU;WN;2920;HOU;ATL                APRILBURGH             FL                  US    2830 137602091@KACHIPYTEL.COM
4ZEK9J   2/9/2021   OB    3/6/2021   WN;2090;BNA;HOU;WN;2920;HOU;ATL                APRILBURGH             FL                  US    2830 137602091@KACHIPYTEL.COM
4ZEM95   2/9/2021   OB   4/22/2021   WN;647;DCA;BNA;WN;776;BNA;CLE                  LEONARDVIEW            GLASGOW CITY        GB   65141 137602190@KACHIPYTEL.COM
4ZESZX   2/9/2021   OB    3/9/2021   WN;4562;HOU;BNA;WN;5006;BNA;DAL                WENDYFORT              FL                  US   83589 137602091@KACHIPYTEL.COM




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4ZESZX    2/9/2021   OB    3/9/2021   WN;4562;HOU;BNA;WN;5006;BNA;DAL                  WENDYFORT            FL                US   83589 137602091@KACHIPYTEL.COM
4ZHIG5    2/9/2021   OB   4/25/2021   WN;3253;BNA;DCA                                  MARIONHAVEN          BRISTOL CITY OF   GB   89518 137602190@AIRLINE.KIWI.COM
26JPN5   2/10/2021   OB   4/22/2021   WN;432;OMA;LAS;WN;1943;LAS;SEA                   SAMANTHAFORT         UT                US    1997 137621770@KACHIPYTEL.COM
26OAC2   2/10/2021   OB   2/23/2021   WN;2028;AUS;LAS;WN;3239;LAS;LAX                  SOUTH JESSICA        CT                US   59569 137621902@KACHIPYTEL.COM
27XH93   2/10/2021   OB   3/15/2021   WN;598;DTW;PHX;WN;6021;PHX;LAS                   EAST MICHELLEMOUTH   AR                US    9099 137625653@KACHIPYTEL.COM
27XH93   2/10/2021   OB   3/15/2021   WN;598;DTW;PHX;WN;6021;PHX;LAS                   EAST MICHELLEMOUTH   AR                US    9099 137625653@KACHIPYTEL.COM
28852F   2/10/2021   OB   3/14/2021   WN;541;ATL;IAD                                   MICHAELBURGH         TN                US    8433 137626137@AIRLINE.KIWI.COM
288HYC   2/10/2021   OB   3/13/2021   WN;2534;IAD;ATL;WN;2780;ATL;GSP                  LAKE TAYLOR          AL                US   60271 137626137@KACHIPYTEL.COM
28GDPP   2/10/2021   OB   5/15/2021   WN;3407;LAS;BNA;WN;3703;BNA;MIA                  NORTH JAMES          WA                US   20072 137626808@KACHIPYTEL.COM
28GDPP   2/10/2021   OB   5/15/2021   WN;3407;LAS;BNA;WN;3703;BNA;MIA                  NORTH JAMES          WA                US   20072 137626808@KACHIPYTEL.COM
28OOYY   2/10/2021   OB   3/25/2021   WN;2102;RNO;LAS;WN;2161;LAS;LAX                  WEST JONATHAN        UT                US   50603 137627611@KACHIPYTEL.COM
28OOYY   2/10/2021   OB   3/25/2021   WN;2102;RNO;LAS;WN;2161;LAS;LAX                  WEST JONATHAN        UT                US   50603 137627611@KACHIPYTEL.COM
28T7CR   2/10/2021   OB    3/6/2021   WN;3715;OKC;MDW;WN;945;MDW;HOU                   ANTHONYCHESTER       OR                US   19413 137627941@KACHIPYTEL.COM
29L7B8   2/10/2021   OB    3/1/2021   WN;4562;HOU;BNA;WN;5006;BNA;DAL                  LAKE EDWARDTOWN      CA                US    7300 137622298@AIRLINE.KIWI.COM
2A4HAV   2/10/2021   OB    3/7/2021   WN;156;ATL;SDF;WN;156;SDF;BWI;WN;1052;BWI;TPA    JEREMIAHBURGH        NM                US   25774 137625312@AIRLINE.KIWI.COM
2A5WP9   2/10/2021   OB   3/25/2021   WN;605;MDW;OAK                                   GABRIELBOROUGH       WY                US   15274 137631318@AIRLINE.KIWI.COM
2A5WP9   2/10/2021   RT   3/28/2021   WN;2152;OAK;MDW                                  GABRIELBOROUGH       WY                US   15274 137631318@AIRLINE.KIWI.COM
2BHEE3   2/10/2021   OB   2/22/2021   WN;4315;SEA;DEN;WN;2850;DEN;PHL                  JAMESPORT            KS                US   42781 137634409@KACHIPYTEL.COM
2CEYRO   2/10/2021   OB   5/10/2021   WN;1501;MSY;OAK;WN;680;OAK;LGB                   LEELAND              WY                US   38641 137636422@KACHIPYTEL.COM
2CEYRO   2/10/2021   OB   5/10/2021   WN;1501;MSY;OAK;WN;680;OAK;LGB                   LEELAND              WY                US   38641 137636422@KACHIPYTEL.COM
2CJT7W   2/10/2021   OB    3/7/2021   WN;112;ATL;PHX;WN;549;PHX;LGB                    LAKE RONALD          TN                US   75220 137637159@KACHIPYTEL.COM
2ISCGO   2/10/2021   OB   3/22/2021   WN;539;CMH;BWI                                   MICHELLEBURGH        OR                US   51726 137665726@KACHIPYTEL.COM
2LZXHE   2/10/2021   OB    3/5/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP                  JASONBURGH           DE                US   59432 137681808@KACHIPYTEL.COM
2M85MA   2/10/2021   OB    3/8/2021   WN;1329;OAK;SEA                                  GRIFFINMOUTH         FL                US   16480 137681808@AIRLINE.KIWI.COM
2M9WR9   2/10/2021   OB    4/2/2021   WN;1527;PDX;PHX;WN;1784;PHX;OAK                  MELISSAFURT          UT                US   36929 137682215@KACHIPYTEL.COM
2M9WR9   2/10/2021   OB    4/2/2021   WN;1527;PDX;PHX;WN;1784;PHX;OAK                  MELISSAFURT          UT                US   36929 137682215@KACHIPYTEL.COM
2M9WR9   2/10/2021   OB    4/2/2021   WN;1527;PDX;PHX;WN;1784;PHX;OAK                  MELISSAFURT          UT                US   36929 137682215@KACHIPYTEL.COM
2MIT2Q   2/10/2021   OB   2/28/2021   WN;2702;MDW;LGA                                  PORT TYLER           AR                US   86185 137683832@AIRLINE.KIWI.COM
2MK6K3   2/10/2021   OB   2/24/2021   WN;2708;LGA;MDW;WN;4172;MDW;DAL                  NORTH WILLIAM        NM                US     960 137683326@KACHIPYTEL.COM
2MPM63   2/10/2021   OB   3/26/2021   WN;1313;MSP;SAN                                  MOOREBERG            HI                US    4868 137684415@AIRLINE.KIWI.COM
2MQRDW   2/10/2021   OB   2/28/2021   WN;3379;HOU;BNA;WN;1319;BNA;ORD                  FORDBURY             ND                US   39481 137685009@KACHIPYTEL.COM
2MSPJZ   2/10/2021   OB   2/24/2021   WN;4790;BNA;HOU;WN;5040;HOU;ATL                  TODDFURT             NJ                US   25207 137685009@KACHIPYTEL.COM
2MX67D   2/10/2021   OB   3/26/2021   WN;1313;MSP;SAN                                  SOUTH ISABELFORT     ME                US   89551 137685548@AIRLINE.KIWI.COM
2NGDFS   2/10/2021   OB   2/24/2021   WN;4015;MCO;STL;WN;4818;STL;DCA                  JARVISVIEW           MI                US   18493 137687671@KACHIPYTEL.COM
2NGDFS   2/10/2021   OB   2/24/2021   WN;4015;MCO;STL;WN;4818;STL;DCA                  JARVISVIEW           MI                US   18493 137687671@KACHIPYTEL.COM
2O3PFP   2/10/2021   OB   2/26/2021   WN;2077;AUS;BNA;WN;2978;BNA;BOS                  JEREMYPORT           NM                US   51710 137692038@KACHIPYTEL.COM
2OZHAY   2/10/2021   OB   3/13/2021   WN;2875;BWI;STL;WN;2577;STL;LGB                  FKHRFORT             KHAN YUNIS        PS   84208 137696559@KACHIPYTEL.COM
2P3NNG   2/10/2021   OB   3/20/2021   WN;2597;STL;BWI;WN;2619;BWI;CLE                  WEST MNSWRTOWN       NORTH GAZA        PS   29880 137696999@KACHIPYTEL.COM
2P5QKQ   2/10/2021   OB   2/26/2021   WN;2246;ATL;STL;WN;3301;STL;FLL                  ANGELAFURT           AR                US   21474 137697164@KACHIPYTEL.COM
2P5QKQ   2/10/2021   OB   2/26/2021   WN;2246;ATL;STL;WN;3301;STL;FLL                  ANGELAFURT           AR                US   21474 137697164@KACHIPYTEL.COM
2QLVQO   2/10/2021   OB   2/25/2021   WN;3326;PDX;OAK;WN;4715;OAK;PSP                  NEW JENNIFER         WY                US     796 137703368@KACHIPYTEL.COM
2RBBGV   2/10/2021   OB   3/15/2021   WN;1199;LAS;BUR                                  WHITESIDE            NV                US   74573 137705733@AIRLINE.KIWI.COM
2RBBGV   2/10/2021   RT   3/16/2021   WN;1200;BUR;LAS                                  WHITESIDE            NV                US   74573 137705733@AIRLINE.KIWI.COM
2SCZ5X   2/10/2021   OB    3/1/2021   WN;4963;SAN;HOU                                  EAST BENJAMIN        WY                US   78886 137709627@KACHIPYTEL.COM
2SE54G   2/10/2021   OB   2/25/2021   WN;3;HOU;SAN                                     MORALESHAVEN         WI                US   12708 137709627@AIRLINE.KIWI.COM
2UOA9Y   2/11/2021   OB   2/24/2021   WN;2243;SAT;PHX;WN;3927;PHX;DAL                  SOUTH MATHILDESTAD   SJAELLAND         DK   66993 137715226@KACHIPYTEL.COM
2UTSQ9   2/11/2021   OB    5/2/2021   WN;19;DAL;HOU;WN;3404;HOU;MIA                    EAST AUSTINBURGH     MT                US   80811 137715567@KACHIPYTEL.COM
2UTSQ9   2/11/2021   OB    5/2/2021   WN;19;DAL;HOU;WN;3404;HOU;MIA                    EAST AUSTINBURGH     MT                US   80811 137715567@KACHIPYTEL.COM
2VAK73   2/11/2021   OB   2/22/2021   WN;4084;PDX;SJC;WN;1571;SJC;SNA                  ROSEBERG             GA                US   49453 137716799@KACHIPYTEL.COM
2WCQTZ   2/11/2021   OB   2/25/2021   WN;2707;ATL;LGA                                  ANITASTAD            DE                US   39782 137719351@AIRLINE.KIWI.COM
2X3O2O   2/11/2021   OB   4/19/2021   WN;397;MSY;BWI;WN;2201;BWI;CLT                   HEATHERBERG          NC                US   35768 137721254@KACHIPYTEL.COM
2X53IA   2/11/2021   OB   4/16/2021   WN;868;MDW;MSY                                   WEST DUSTINBERG      FL                US    4916 137721254@AIRLINE.KIWI.COM
2X68MT   2/11/2021   OB   4/16/2021   WN;2778;BWI;MDW                                  CURTISBURGH          MA                US   73235 137721254@AIRLINE.KIWI.COM
2XP8MY   2/11/2021   OB    3/5/2021   WN;55;CLE;ATL                                    JULIEBURGH           ID                US   82123 137722310@AIRLINE.KIWI.COM
2XP8MY   2/11/2021   RT    3/8/2021   WN;656;ATL;CLE                                   JULIEBURGH           ID                US   82123 137722310@AIRLINE.KIWI.COM
2XRBXM   2/11/2021   OB    4/6/2021   WN;1473;MDW;SJC;WN;1185;SJC;SEA                  NICOLE VILLE         QUEZON            PH   15140 137722618@KACHIPYTEL.COM
2XSXGF   2/11/2021   OB   3/23/2021   WN;2048;SJC;MDW;WN;633;MDW;MSP                   JOHN VILLE           CAMARINES SUR     PH   96427 137722618@KACHIPYTEL.COM
2Y5VG2   2/11/2021   OB   3/31/2021   WN;21;HOU;RSW                                    MURPHYHAVEN          AZ                US   59457 137723795@AIRLINE.KIWI.COM
2YA4FF   2/11/2021   OB   3/24/2021   WN;1770;RSW;HOU;WN;209;HOU;MSP                   GRIFFITHLAND         DE                US   50498 137723795@KACHIPYTEL.COM
339XII   2/11/2021   OB    3/8/2021   WN;975;LAS;PHX;WN;933;PHX;DTW                    NEW PATRICIA         CA                US    4164 137732221@AIRLINE.KIWI.COM
339XII   2/11/2021   OB    3/8/2021   WN;975;LAS;PHX;WN;933;PHX;DTW                    NEW PATRICIA         CA                US    4164 137732221@AIRLINE.KIWI.COM
3577JM   2/11/2021   OB   2/26/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL                  FLORIDA              FL                US   32819 137725511@AIRLINE.KIWI.COM
3577JM   2/11/2021   OB   2/26/2021   WN;3787;LGA;BNA;WN;2202;BNA;DAL                  FLORIDA              FL                US   32819 137725511@AIRLINE.KIWI.COM
36OQSS   2/11/2021   OB    3/6/2021   WN;4672;DCA;FLL                                  ADAMBURGH            IA                US   89212 137746411@AIRLINE.KIWI.COM
37PE6M   2/11/2021   OB    3/9/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA                   EAST LAURABURY       NC                US   84582 137751075@KACHIPYTEL.COM
37PE6M   2/11/2021   OB    3/9/2021   WN;2083;AUS;BWI;WN;331;BWI;MIA                   EAST LAURABURY       NC                US   84582 137751075@KACHIPYTEL.COM
38R3N6   2/11/2021   OB    3/2/2021   WN;1877;DTW;DEN;WN;2785;DEN;LAS                  HUFFPORT             NH                US   22175 137755552@KACHIPYTEL.COM
38XRGR   2/11/2021   OB   3/24/2021   WN;933;SJU;HOU;WN;1255;HOU;FLL                   NORTH JESSEBERG      CO                US   50524 137756718@KACHIPYTEL.COM
39V2AN   2/11/2021   OB   3/11/2021   WN;419;MCO;AUS                                   JOSEPHBURGH          MS                US    3064 137761415@AIRLINE.KIWI.COM
3DOLB5   2/11/2021   MD    3/1/2021   WN;594;ITO;HNL                                   PORT MELISSAMOUTH    KY                US   59710 137779994@AIRLINE.KIWI.COM
3E4E2G   2/11/2021   OB   2/26/2021   WN;4385;SEA;OAK;WN;4715;OAK;PSP                  TOLMIN               OSILNICA          SI   16691 137783041@KACHIPYTEL.COM
3F4BRN   2/11/2021   OB   2/25/2021   WN;2408;SEA;SJC;WN;1564;SJC;PHX                  SOUTH BRADSTAD       FL                US   84337 137788035@KACHIPYTEL.COM
3FBSS2   2/11/2021   OB   2/23/2021   WN;3413;RNO;LAS;WN;3907;LAS;LAX                  JOSHUASHIRE          MS                US   31458 137788497@KACHIPYTEL.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                                  WEST KATHYFORT       CA                US   61267 137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                                  WEST KATHYFORT       CA                US   61267 137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                                  WEST KATHYFORT       CA                US   61267 137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                                  WEST KATHYFORT       CA                US   61267 137788739@AIRLINE.KIWI.COM
3FFNQ5   2/11/2021   OB   3/23/2021   WN;1841;LAS;STL                                  WEST KATHYFORT       CA                US   61267 137788739@AIRLINE.KIWI.COM
3FLGEB   2/11/2021   OB    3/8/2021   WN;1098;MCO;LAS;WN;1098;LAS;PHX;WN;840;PHX;LGB   PITTMANMOUTH         MO                US   74416 137789113@KACHIPYTEL.COM
3FVHHY   2/11/2021   OB   3/18/2021   WN;1438;SNA;DEN;WN;2029;DEN;SFO                  WENDYFORT            TN                US   98067 137790972@KACHIPYTEL.COM
3FZUGI   2/11/2021   OB   3/21/2021   WN;2136;DEN;SNA                                  JASONSTAD            VT                US   94848 137791170@AIRLINE.KIWI.COM
3G6OD3   2/11/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                  WALKERBERG           WV                US   69522 137791478@KACHIPYTEL.COM
3G6OD3   2/11/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                  WALKERBERG           WV                US   69522 137791478@KACHIPYTEL.COM
3HHN4U   2/11/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW                  GRIFFINBERG          NJ                US   55738 137795724@KACHIPYTEL.COM
3HJBRC   2/11/2021   OB   2/28/2021   WN;3379;HOU;BNA;WN;1319;BNA;ORD                  CARTERBURY           LA                US    5735 137795724@KACHIPYTEL.COM
3IA2VQ   2/12/2021   OB   2/24/2021   WN;2135;PHX;SNA;WN;2999;SNA;LAS                  SOUTH CARRIE         MT                US   64337 137797462@KACHIPYTEL.COM
3IG25C   2/12/2021   OB   2/23/2021   WN;1610;CUN;BWI                                  VIEJA ESPANA         CA                US   18384 137791027@AIRLINE.KIWI.COM
3IH5OZ   2/12/2021   OB    3/3/2021   WN;1609;BWI;CUN                                  VIEJA ESPANA         AL                US   18384 137791027@AIRLINE.KIWI.COM
3IHH69   2/12/2021   OB   2/27/2021   WN;2209;RDU;MDW;WN;1723;MDW;MCO                  EAST JOSHUALAND      CO                US   32629 137797737@KACHIPYTEL.COM
3IMGZI   2/12/2021   OB    3/2/2021   WN;3176;RDU;MDW;WN;2863;MDW;FLL                  GRAYTON              IA                US   61425 137798166@KACHIPYTEL.COM
3IOACQ   2/12/2021   OB    3/8/2021   WN;656;ATL;CLE                                   NEW CLAYTON          AR                US   21211 137798111@AIRLINE.KIWI.COM
3IP8IX   2/12/2021   OB    3/5/2021   WN;55;CLE;ATL                                    NORTH AMBERTON       TN                US   45296 137798111@AIRLINE.KIWI.COM
3JANH6   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                  SOUTH JOHN           OR                US   10051 137799717@KACHIPYTEL.COM
3JANH6   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                  SOUTH JOHN           OR                US   10051 137799717@KACHIPYTEL.COM
3JB4YK   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                  EAST RITALAND        TN                US   20122 137799717@KACHIPYTEL.COM
3JB4YK   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                  EAST RITALAND        TN                US   20122 137799717@KACHIPYTEL.COM
3JDDGO   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                  SOUTH MATTHEW        CT                US   96504 137799673@KACHIPYTEL.COM
3JDDGO   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                  SOUTH MATTHEW        CT                US   96504 137799673@KACHIPYTEL.COM
3JEDF4   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                  NGUYENTON            AR                US   80313 137799673@KACHIPYTEL.COM
3JEDF4   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                  NGUYENTON            AR                US   80313 137799673@KACHIPYTEL.COM
3JPGLV   2/12/2021   OB   2/22/2021   WN;2470;DEN;MCI;WN;2412;MCI;MDW                  LAKE JOSEPHVILLE     IA                US    8443 137800927@KACHIPYTEL.COM
3JPLFP   2/12/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                  VICTORFORT           LA                US   12166 137801081@KACHIPYTEL.COM
3JQ335   2/12/2021   OB   2/25/2021   WN;2268;BNA;HOU;WN;3611;HOU;MDW                  EAST ZACHARY         VT                US    6192 137800575@KACHIPYTEL.COM
3JQQQY   2/12/2021   OB   2/28/2021   WN;3379;HOU;BNA;WN;1319;BNA;ORD                  NORTH JAMES          OK                US   31154 137800575@KACHIPYTEL.COM
3JW33S   2/12/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                  LAKE DONNAMOUTH      RI                US   44425 137801081@KACHIPYTEL.COM
3UZQ7J   2/12/2021   OB    5/4/2021   WN;3465;SNA;SMF                                  KRISTENPORT          SC                US   71779 137835313@AIRLINE.KIWI.COM
3VONJI   2/12/2021   OB   2/22/2021   WN;1059;MSY;BWI;WN;102;BWI;MIA                   BALDWINPORT          OR                US   31155 137837942@KACHIPYTEL.COM
3VZRQZ   2/12/2021   OB   2/22/2021   WN;5029;TPA;MDW                                  DOUGLASPORT          MN                US   20847 137839350@KACHIPYTEL.COM
3WGM9U   2/12/2021   OB    5/6/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                    DERRICKVIEW          WA                US   85898 137841407@KACHIPYTEL.COM
3WHXBJ   2/12/2021   OB   5/10/2021   WN;2649;LAS;BWI;WN;2865;BWI;BDL                  WEST KEITHTOWN       CA                US   37768 137841407@KACHIPYTEL.COM
3WRZX3   2/12/2021   OB   7/16/2021   WN;1287;ATL;MDW;WN;728;MDW;DTW                   AGUILARBOROUGH       NH                US   33079 137843255@KACHIPYTEL.COM
3WTIA4   2/12/2021   OB   7/18/2021   WN;3525;MDW;ATL;WN;2478;ATL;FLL                  LAKE CRYSTALMOUTH    HI                US   67870 137843255@KACHIPYTEL.COM
3WUOU5   2/12/2021   OB    3/2/2021   WN;3611;JAX;HOU;WN;22;HOU;DAL;WN;22;DAL;FLL      NORTH JOANNE         OR                US   16285 137843882@KACHIPYTEL.COM
3WY92U   2/12/2021   OB    3/2/2021   WN;1541;HOU;LAS                                  DAWSONHAVEN          GA                US   36304 137843882@AIRLINE.KIWI.COM
3XC55V   2/12/2021   OB   3/11/2021   WN;419;MCO;AUS                                   NEW RICHARD          WY                US   29482 137845774@AIRLINE.KIWI.COM
3Z2HGZ   2/12/2021   OB   3/11/2021   WN;419;MCO;AUS                                   NORTH JULIA          SC                US   78394 137853826@AIRLINE.KIWI.COM




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3ZY2AB   2/12/2021   OB    3/5/2021   WN;4547;PHL;ATL                                 NEW KATIEHAVEN         SC                    US   82406   137858182@AIRLINE.KIWI.COM
423GQK   2/12/2021   OB    3/5/2021   WN;4547;PHL;ATL                                 NORTH DANIELHAVEN      AZ                    US   25992   137858523@AIRLINE.KIWI.COM
42OKQJ   2/12/2021   OB    3/1/2021   WN;2597;MCO;ATL;WN;3254;ATL;RDU                 SAN OFELIA LOS ALTOS   QUINTANA ROO          MX   47349   137860866@KACHIPYTEL.COM
446K2I   2/12/2021   OB   3/12/2021   WN;1024;BUR;PHX                                 EAST PAUL              NJ                    US   87925   137866311@AIRLINE.KIWI.COM
446K2I   2/12/2021   RT   3/20/2021   WN;835;PHX;BUR                                  EAST PAUL              NJ                    US   87925   137866311@AIRLINE.KIWI.COM
47P9L9   2/13/2021   OB   2/27/2021   WN;4742;BNA;DCA;WN;4613;DCA;PBI                 STACEYFURT             LA                    US   60457   137878004@KACHIPYTEL.COM
47VJ9S   2/13/2021   OB   2/27/2021   WN;3367;MCO;BWI;WN;2832;BWI;RDU                 LAKE TARASTAD          WV                    US   23122   137878334@KACHIPYTEL.COM
48KDEY   2/13/2021   OB   3/19/2021   WN;2003;TPA;MSY;WN;2003;MSY;BNA;WN;940;BNA;LGAALEXALAND                OH                    US    2797   137879720@KACHIPYTEL.COM
48T64Z   2/13/2021   OB    3/8/2021   WN;975;LAS;PHX;WN;933;PHX;DTW                   SOUTH HEATHERFORT      NM                    US   44303   137880314@AIRLINE.KIWI.COM
4A6CDR   2/13/2021   OB   3/25/2021   WN;200;BOI;LAS;WN;370;LAS;LAX                   LEWISLAND              RI                    US   28639   137882811@KACHIPYTEL.COM
4AAUJL   2/13/2021   OB    4/8/2021   WN;3662;ORD;BNA                                 BRYANTON               NY                    US   26475   137882767@AIRLINE.KIWI.COM
4AGZ7V   2/13/2021   OB   2/25/2021   WN;2247;CLT;BWI;WN;3160;BWI;MCO                 ANDREWBURGH            MO                    US   68622   137883438@KACHIPYTEL.COM
4AQLDC   2/13/2021   OB   3/12/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVD;TPA MEDAVIEW                 KLAIPEDOS APSKRITIS   LT   96513   137884142@KACHIPYTEL.COM
4AQLDC   2/13/2021   OB   3/12/2021   WN;1859;SJU;BWI;WN;924;BWI;PVD;WN;924;PVD;TPA MEDAVIEW                 KLAIPEDOS APSKRITIS   LT   96513   137884142@KACHIPYTEL.COM
4BFQV7   2/13/2021   OB   4/10/2021   WN;2689;FLL;ATL;WN;3025;ATL;MDW                 KAITLYNVILLE           NC                    US   34971   137885099@KACHIPYTEL.COM
4C28KP   2/13/2021   OB    3/7/2021   WN;405;MDW;BNA;WN;1587;BNA;LGA                  BURKEBOROUGH           UT                    US   89494   137886342@KACHIPYTEL.COM
4CVPSP   2/13/2021   OB    3/2/2021   WN;2055;MDW;SAN;WN;1877;SAN;SFO                 LAKE JONATHANCHESTER   NM                    US   72369   137888542@KACHIPYTEL.COM
4KSLMB   2/13/2021   OB    3/2/2021   WN;1148;OAK;LAX;WN;4933;LAX;PHX                 NORTH JUANBURY         NY                    US   52052   137910047@KACHIPYTEL.COM
4KZG4Y   2/13/2021   OB    3/5/2021   WN;3254;MDW;AUS;WN;4065;AUS;LGB                 LAKE JOSEPH            AL                    US   19463   137910553@KACHIPYTEL.COM
4M9U7O   2/13/2021   OB   5/23/2021   WN;833;FAT;DEN;WN;274;DEN;LAX                   PITTMANFORT            WA                    US   16842   137915646@KACHIPYTEL.COM
4MVN8G   2/13/2021   OB    3/8/2021   WN;516;BNA;ORD                                  AMANDACHESTER          PA                    US   35342   137916108@AIRLINE.KIWI.COM
4N2TST   2/13/2021   OB    3/6/2021   WN;3814;BNA;TPA;WN;60;TPA;MIA                   BARNETTBOROUGH         NM                    US   64761   137918968@KACHIPYTEL.COM
4N42K6   2/13/2021   OB    3/8/2021   WN;1136;TPA;BNA;WN;1053;BNA;LGA                 BRUCECHESTER           KS                    US   60848   137918968@KACHIPYTEL.COM
4OFS6O   2/13/2021   OB   3/19/2021   WN;1870;BHM;MDW;WN;2192;MDW;SEA                 PORT PATRICIA          IN                    US   41092   137923203@AIRLINE.KIWI.COM
4OIGIG   2/13/2021   OB   2/22/2021   WN;3343;STL;LAS;WN;2905;LAS;OKC                 MOOREFORT              DE                    US   51123   137923170@KACHIPYTEL.COM
4QAV2M   2/13/2021   OB    3/8/2021   WN;802;LAS;BWI;WN;102;BWI;MIA                   MICHAELBURGH           SC                    US    9619   137929121@KACHIPYTEL.COM
4QGSWK   2/13/2021   OB    3/1/2021   WN;4536;PDX;PHX;WN;1557;PHX;SNA                 MELISSATOWN            CT                    US   30001   137929418@KACHIPYTEL.COM
4RVXJY   2/13/2021   OB   2/25/2021   WN;2234;LAX;STL;WN;1933;STL;MDW                 LOZANOFORT             ID                    US   21218   137933620@KACHIPYTEL.COM
4SN7VI   2/13/2021   OB   3/12/2021   WN;1068;MKE;PHX;WN;211;PHX;DEN                  STEPHANIEBERG          AR                    US   10594   137934863@KACHIPYTEL.COM
4T6Z4W   2/13/2021   OB   3/13/2021   WN;2762;MHT;BWI;WN;1502;BWI;PHX                 HERNANDEZTOWN          WA                    US   48481   137935798@AIRLINE.KIWI.COM
4T6Z4W   2/13/2021   RT   3/20/2021   WN;2905;PHX;BWI;WN;2759;BWI;MHT                 HERNANDEZTOWN          WA                    US   48481   137935798@AIRLINE.KIWI.COM
227PFE   2/14/2021   OB   2/26/2021   WN;3134;DTW;BWI;WN;4483;BWI;STL;WN;4483;STL;DAL LAKE JOHNNY            WI                    US   21614   137948547@KACHIPYTEL.COM
227PFE   2/14/2021   OB   2/26/2021   WN;3134;DTW;BWI;WN;4483;BWI;STL;WN;4483;STL;DAL LAKE JOHNNY            WI                    US   21614   137948547@KACHIPYTEL.COM
23R4F8   2/14/2021   OB   4/13/2021   WN;2567;LAS;ONT                                 AMBERCHESTER           OK                    US    4496   137780016.1549211@AIRLINE.KIWI.COM
23YD9B   2/14/2021   OB    3/9/2021   WN;2622;STL;TPA;WN;4279;TPA;MIA                 EAST HEATHER           VA                    US   54421   137952111@KACHIPYTEL.COM
23YTG6   2/14/2021   OB   3/11/2021   WN;2120;TPA;STL;WN;1510;STL;CLT                 JENNIFERPORT           NY                    US   44939   137952111@KACHIPYTEL.COM
2AKD3B   2/14/2021   OB    3/7/2021   WN;656;ATL;CLE                                  SOUTH COLLEEN          WY                    US   88674   137970767@AIRLINE.KIWI.COM
2AKD3B   2/14/2021   OB    3/7/2021   WN;656;ATL;CLE                                  SOUTH COLLEEN          WY                    US   88674   137970767@AIRLINE.KIWI.COM
2B2CTN   2/14/2021   OB   5/16/2021   WN;2047;SJC;OGG                                 JAMESSHIRE             AR                    US    8917   137972582@AIRLINE.KIWI.COM
2B2CTN   2/14/2021   OB   5/16/2021   WN;2047;SJC;OGG                                 JAMESSHIRE             AR                    US    8917   137972582@AIRLINE.KIWI.COM
2DJXNH   2/14/2021   OB   2/27/2021   WN;3425;PHL;MDW;WN;1723;MDW;MCO                 FORDMOUTH              MS                    US   32912   137982735@KACHIPYTEL.COM
2DJXNH   2/14/2021   OB   2/27/2021   WN;3425;PHL;MDW;WN;1723;MDW;MCO                 FORDMOUTH              MS                    US   32912   137982735@KACHIPYTEL.COM
2DJXNH   2/14/2021   OB   2/27/2021   WN;3425;PHL;MDW;WN;1723;MDW;MCO                 FORDMOUTH              MS                    US   32912   137982735@KACHIPYTEL.COM
2DM87B   2/14/2021   OB    4/1/2021   WN;1834;ATL;PHX;WN;1771;PHX;LGB                 MATTHEWBURGH           PA                    US   98689   137982603@KACHIPYTEL.COM
2EQUVY   2/14/2021   OB   2/22/2021   WN;2298;LAX;HOU;WN;3003;HOU;AUS                 NORTH JULIEMOUTH       MO                    US   12661   137986101@KACHIPYTEL.COM
2EU6B2   2/14/2021   OB   3/29/2021   WN;1482;RDU;PHX;WN;1882;PHX;SEA                 BRYANLAND              TN                    US   55276   137986662@KACHIPYTEL.COM
2FNFGL   2/14/2021   OB   2/26/2021   WN;430;ATL;PHX;WN;425;PHX;LGB                   PORT COLEVIEW          MA                    US   51049   137989720@KACHIPYTEL.COM
2G3UM5   2/14/2021   OB    3/8/2021   WN;510;MCI;BNA;WN;886;BNA;MKE                   NORTH DARLENE          OK                    US   34211   137991062@KACHIPYTEL.COM
4TQHPV   2/14/2021   OB   2/24/2021   WN;185;CLE;MDW;WN;1645;MDW;STL                  REBECCABERG            CA                    US   49376   137937294@KACHIPYTEL.COM
4WABC5   2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                                 PORT KIMBERLY          MS                    US   17850   137941265@AIRLINE.KIWI.COM
4WABC5   2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                                 PORT KIMBERLY          MS                    US   17850   137941265@AIRLINE.KIWI.COM
4WABC5   2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                                 PORT KIMBERLY          MS                    US   17850   137941265@AIRLINE.KIWI.COM
4WABC5   2/14/2021   OB   3/14/2021   WN;2169;SAN;AUS                                 PORT KIMBERLY          MS                    US   17850   137941265@AIRLINE.KIWI.COM
4WGF7A   2/14/2021   OB   4/29/2021   WN;270;MDW;HOU                                  BRENDABERG             WV                    US   21146   137941375@AIRLINE.KIWI.COM
4WGF7A   2/14/2021   RT    5/3/2021   WN;1262;HOU;MDW                                 BRENDABERG             WV                    US   21146   137941375@AIRLINE.KIWI.COM
4WPJZB   2/14/2021   OB    3/8/2021   WN;290;OMA;DAL;WN;1480;DAL;LIT                  SOUTH VICTOR           IA                    US   94828   137942332@KACHIPYTEL.COM
2I8RKQ   2/15/2021   OB   3/11/2021   WN;1352;MCO;MCI;WN;290;MCI;DCA                  SWANSONVIEW            VT                    US   70127   137994923@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX                 PORT ETHAN             NV                    US   80596   137996342@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX                 PORT ETHAN             NV                    US   80596   137996342@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX                 PORT ETHAN             NV                    US   80596   137996342@KACHIPYTEL.COM
2IUKEF   2/15/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX                 PORT ETHAN             NV                    US   80596   137996342@KACHIPYTEL.COM
2JE2YL   2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA                 LA CORUNA              MURCIA REGION DE      ES   27595   137997035@AIRLINE.KIWI.COM
2JE2YL   2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA                 LA CORUNA              MURCIA REGION DE      ES   27595   137997035@AIRLINE.KIWI.COM
2JE2YL   2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA                 LA CORUNA              MURCIA REGION DE      ES   27595   137997035@AIRLINE.KIWI.COM
2JE2YL   2/15/2021   OB   5/28/2021   WN;1193;ABQ;HOU;WN;1089;HOU;LGA                 LA CORUNA              MURCIA REGION DE      ES   27595   137997035@AIRLINE.KIWI.COM
2JKP3H   2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ                 GUADALAJARA            ZARAGOZA              ES    9101   137997288@AIRLINE.KIWI.COM
2JKP3H   2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ                 GUADALAJARA            ZARAGOZA              ES    9101   137997288@AIRLINE.KIWI.COM
2JKP3H   2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ                 GUADALAJARA            ZARAGOZA              ES    9101   137997288@AIRLINE.KIWI.COM
2JKP3H   2/15/2021   OB   7/29/2021   WN;2534;LGA;DEN;WN;3066;DEN;ABQ                 GUADALAJARA            ZARAGOZA              ES    9101   137997288@AIRLINE.KIWI.COM
2JNVL5   2/15/2021   OB   2/27/2021   WN;2747;PHL;BNA;WN;3434;BNA;MCO                 CYNTHIAFORT            MA                    US   71404   137997750@KACHIPYTEL.COM
2JOGJS   2/15/2021   OB   5/12/2021   WN;1112;FAT;LAS                                 SOUTH CAROL            AL                    US   59155   137997673@AIRLINE.KIWI.COM
2JOGJS   2/15/2021   RT   5/15/2021   WN;1113;LAS;FAT                                 SOUTH CAROL            AL                    US   59155   137997673@AIRLINE.KIWI.COM
2JTEK2   2/15/2021   OB   2/22/2021   WN;3804;LGA;STL;WN;4483;STL;DAL                 NEW MARK               FL                    US   22804   137997970@KACHIPYTEL.COM
2JUENR   2/15/2021   OB   2/27/2021   WN;2747;PHL;BNA;WN;3434;BNA;MCO                 FULLERLAND             NH                    US   38202   137997915@KACHIPYTEL.COM
2LL4OJ   2/15/2021   OB   3/13/2021   WN;506;BWI;TPA;WN;3304;TPA;CVG                  CHRISTINAFURT          NV                    US   61048   138000874@KACHIPYTEL.COM
2LL4OJ   2/15/2021   OB   3/13/2021   WN;506;BWI;TPA;WN;3304;TPA;CVG                  CHRISTINAFURT          NV                    US   61048   138000874@KACHIPYTEL.COM
2LYGAF   2/15/2021   OB   2/26/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   HANCOCKMOUTH           MO                    US   48403   138001468@KACHIPYTEL.COM
2M2WSO   2/15/2021   OB    3/1/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA                  NEW LISABOROUGH        AZ                    US   22279   138000962@KACHIPYTEL.COM
2MZSXU   2/15/2021   OB   2/22/2021   WN;534;PHX;STL                                  LEETON                 CT                    US    7853   138003382@KACHIPYTEL.COM
2NM8S5   2/15/2021   OB   3/31/2021   WN;1873;SLC;LAX                                 JUSTINMOUTH            IN                    US   52351   138004427@AIRLINE.KIWI.COM
2NM8S5   2/15/2021   OB   3/31/2021   WN;1873;SLC;LAX                                 JUSTINMOUTH            IN                    US   52351   138004427@AIRLINE.KIWI.COM
2NM8S5   2/15/2021   OB   3/31/2021   WN;1873;SLC;LAX                                 JUSTINMOUTH            IN                    US   52351   138004427@AIRLINE.KIWI.COM
2NTTAA   2/15/2021   OB   2/24/2021   WN;4948;SNA;LAS;WN;4520;LAS;PHX                 NORTH PRISCILLASIDE    PA                    US   74197   138005725@KACHIPYTEL.COM
2OQX78   2/15/2021   OB   2/24/2021   WN;3714;LAX;BWI;WN;3984;BWI;FLL                 MARKBURGH              WV                    US   19341   138007265@KACHIPYTEL.COM
2PFN6O   2/15/2021   OB   2/22/2021   WN;736;MKE;PHX;WN;390;PHX;DEN                   DEANLAND               WV                    US   43121   138009157@KACHIPYTEL.COM
2TKRJX   2/15/2021   OB   2/22/2021   WN;2225;JAX;BNA;WN;4766;BNA;PHL                 LAKE SARABERG          ND                    US   76050   138024271@KACHIPYTEL.COM
2WLZTE   2/15/2021   OB   3/16/2021   WN;1034;BNA;CLT                                 NORTH SARAH            MT                    US   38607   138037273@AIRLINE.KIWI.COM
2WLZTE   2/15/2021   OB   3/16/2021   WN;1034;BNA;CLT                                 NORTH SARAH            MT                    US   38607   138037273@AIRLINE.KIWI.COM
2WY5I4   2/15/2021   OB   2/27/2021   WN;4662;ATL;AUS;WN;3824;AUS;LGB                 NORTH JULIE            HI                    US   88219   138039198@KACHIPYTEL.COM
2ZPM2N   2/15/2021   OB   2/24/2021   WN;4858;LAS;TPA;WN;4279;TPA;MIA                 NORTH DANIELLEBOROUG   ND                    US    2174   138053190@KACHIPYTEL.COM
2ZVDO3   2/15/2021   OB   2/23/2021   WN;1493;SMF;LAS;WN;1471;LAS;ONT                 MONTGOMERYSIDE         MO                    US   34341   138054785@KACHIPYTEL.COM
2ZW6MG   2/15/2021   OB   2/25/2021   WN;1534;LAS;SMF;WN;4842;SMF;SEA                 JEREMIAHSHIRE          OR                    US   56202   138054785@KACHIPYTEL.COM
32LWIM   2/15/2021   RT   2/22/2021   WN;4913;SNA;OAK;WN;4913;OAK;PDX                 NEW SAMANTHA           ND                    US   83597   138058217@AIRLINE.KIWI.COM
32OVGC   2/15/2021   OB   5/25/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   LUMBINII SAANSKRTIK    PURWANCHAL            NP   90178   138058404@KACHIPYTEL.COM
32OVGC   2/15/2021   OB   5/25/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   LUMBINII SAANSKRTIK    PURWANCHAL            NP   90178   138058404@KACHIPYTEL.COM
32SNTQ   2/15/2021   OB    6/1/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS                  DAARCULAA              MECHI                 NP   61180   138058404@KACHIPYTEL.COM
32SNTQ   2/15/2021   OB    6/1/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS                  DAARCULAA              MECHI                 NP   61180   138058404@KACHIPYTEL.COM
32TK2Q   2/15/2021   OB   3/14/2021   WN;168;BNA;SNA;WN;707;SNA;SJC                   EAST JUDY              NJ                    US   44520   138059306@KACHIPYTEL.COM
33EI5I   2/15/2021   OB    3/3/2021   WN;3124;DTW;BNA;WN;2713;BNA;MSY                 NORTH KYLE             ND                    US   12588   138061693@KACHIPYTEL.COM
33KMJT   2/15/2021   OB   3/10/2021   WN;408;BWI;CVG                                  HEIDIBURY              UT                    US   40525   138062518@AIRLINE.KIWI.COM
33NH2J   2/15/2021   OB   3/10/2021   WN;2534;MHT;BWI                                 REBECCABURY            UT                    US   34126   138062518@AIRLINE.KIWI.COM
34P4DW   2/15/2021   OB   3/12/2021   WN;1541;PHX;BNA;WN;2657;BNA;ATL                 PORT VIOLETMOUTH       TIPPERARY             IE   83128   138067138@KACHIPYTEL.COM
35BPGZ   2/15/2021   OB   3/10/2021   WN;5013;MIA;TPA                                 DUSTINSHIRE            TN                    US   81618   138069118@KACHIPYTEL.COM
365MBQ   2/15/2021   OB   2/27/2021   WN;4507;ATL;STL;WN;4595;STL;FLL                 SOUTH MICHAELFURT      FL                    US   57510   138071351@KACHIPYTEL.COM
36EUIV   2/15/2021   OB   2/22/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                 WEST DAVIDMOUTH        IA                    US   59052   138072715@KACHIPYTEL.COM
36NVGG   2/15/2021   OB   3/25/2021   WN;4449;BWI;STL;WN;1573;STL;JAX                 PORT JEFFREY           NC                    US   11255   138073254@KACHIPYTEL.COM
36PAXF   2/15/2021   OB   3/29/2021   WN;1998;STL;BWI;WN;1777;BWI;MIA                 ADAMSFORT              WY                    US   39479   138073254@KACHIPYTEL.COM
36PF8D   2/16/2021   OB   3/10/2021   WN;3233;TPA;FLL;WN;1438;FLL;ATL                 PORT RICHARDBURGH      MD                    US   71517   138073694@KACHIPYTEL.COM
377DNR   2/16/2021   OB   2/26/2021   WN;1877;DTW;DEN;WN;3402;DEN;DAL                 EAST APRILHAVEN        WV                    US   13052   138075355@KACHIPYTEL.COM
37TWYN   2/16/2021   OB   3/16/2021   WN;598;DTW;PHX;WN;6021;PHX;LAS                  NORTH SARAH            IA                    US   92775   138078072@KACHIPYTEL.COM
38PJ25   2/16/2021   OB   2/22/2021   WN;4743;ATL;AUS                                 BATESBURGH             VT                    US   74743   138079854@KACHIPYTEL.COM
397O56   2/16/2021   OB   3/15/2021   WN;351;LAX;BWI;WN;140;BWI;FLL                   MICHAELBURGH           TX                    US   95014   138080789@KACHIPYTEL.COM
39OEKC   2/16/2021   OB   4/20/2021   WN;962;MIA;BNA;WN;962;BNA;MSP                   NEW VICTORIA           OH                    US   48063   138082153@AIRLINE.KIWI.COM
39OEKC   2/16/2021   OB   4/20/2021   WN;962;MIA;BNA;WN;962;BNA;MSP                   NEW VICTORIA           OH                    US   48063   138082153@AIRLINE.KIWI.COM
3B449L   2/16/2021   OB   3/21/2021   WN;290;DCA;ATL;WN;1620;ATL;GSP                  NEW RACHEL             NY                    US   82763   138085464@KACHIPYTEL.COM
3B4BIY   2/16/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   EAST TAYLORHAVEN       MS                    US   13921   138085409@KACHIPYTEL.COM




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3B9ASP   2/16/2021   OB   2/27/2021   WN;135;LGA;ATL;WN;2920;ATL;FLL                NEW TABITHASHIRE     KS                 US   42248   138085706@KACHIPYTEL.COM
3BMQPC   2/16/2021   OB    3/1/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL               PORT JONATHAN        IN                 US   59450   138086641@KACHIPYTEL.COM
3BY3U3   2/16/2021   OB   2/22/2021   WN;4145;MIA;TPA                               HALLTOWN             CA                 US   85683   138087169@AIRLINE.KIWI.COM
3D76MA   2/16/2021   OB    3/1/2021   WN;3140;DTW;MDW;WN;2702;MDW;LGA               WEST CALVIN          RI                 US   39617   138086300@AIRLINE.KIWI.COM
3D76MA   2/16/2021   OB    3/1/2021   WN;3140;DTW;MDW;WN;2702;MDW;LGA               WEST CALVIN          RI                 US   39617   138086300@AIRLINE.KIWI.COM
3DUHFP   2/16/2021   OB   2/26/2021   WN;1479;LAX;SMF;WN;349;SMF;LGB;WN;349;LGB;PHX SOUTH ANGELATON      UT                 US   77940   138092262@KACHIPYTEL.COM
3E2DQ9   2/16/2021   OB   2/24/2021   WN;3203;BNA;FLL                               EAST ERIKSHIRE       MO                 US    3299   138092878@AIRLINE.KIWI.COM
3E45GF   2/16/2021   OB    3/3/2021   WN;2664;BOS;BNA;WN;495;BNA;ORD                AMANDAHAVEN          LA                 US   60305   138092878@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL               EAST WARRENSHIRE     MA                 US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL               EAST WARRENSHIRE     MA                 US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL               EAST WARRENSHIRE     MA                 US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL               EAST WARRENSHIRE     MA                 US   42434   138123601@KACHIPYTEL.COM
3KPHZF   2/16/2021   OB   2/22/2021   WN;4003;SJU;MCO;WN;2438;MCO;FLL               EAST WARRENSHIRE     MA                 US   42434   138123601@KACHIPYTEL.COM
3LMIYK   2/16/2021   OB   2/25/2021   WN;4287;LAX;SMF;WN;1132;SMF;PHX               EAST JOHNNYSHIRE     CO                 US   25377   138128595@KACHIPYTEL.COM
3LRN4W   2/16/2021   OB   3/18/2021   WN;3999;FLL;BWI;WN;2447;BWI;BOS               EAST JACK            KS                 US   28075   138129442@KACHIPYTEL.COM
3MJ9LJ   2/16/2021   OB   3/24/2021   WN;2186;ATL;DEN;WN;1024;DEN;SFO               PORT CHRISTOPHER     MT                 US   20843   138132698@AIRLINE.KIWI.COM
3MOQPO   2/16/2021   OB   2/23/2021   WN;1990;ATL;BWI                               PORT TIMOTHYSHIRE    KS                 US   34182   138134084@KACHIPYTEL.COM
3MRV6O   2/16/2021   OB   3/17/2021   WN;845;HOU;SAN                                LAKE BRANDONBERG     TN                 US   62512   138134337@AIRLINE.KIWI.COM
3NALSK   2/16/2021   OB   2/26/2021   WN;430;ATL;PHX;WN;425;PHX;LGB                 SOUTH ANGELA         MS                 US   68786   138137604@KACHIPYTEL.COM
3NENZH   2/16/2021   OB   2/22/2021   WN;2051;ATL;MDW                               NEW JOHN             SD                 US   94260   138137560@AIRLINE.KIWI.COM
3NENZH   2/16/2021   OB   2/22/2021   WN;2051;ATL;MDW                               NEW JOHN             SD                 US   94260   138137560@AIRLINE.KIWI.COM
3NHV2X   2/16/2021   OB   2/22/2021   WN;2510;BWI;BOS;WN;2510;BOS;MDW;WN;3663;MDW; KIMBERLYBERG          SD                 US   44652   138138352@KACHIPYTEL.COM
3O2FYN   2/16/2021   OB   2/25/2021   WN;3496;RSW;ATL;WN;4099;ATL;PHL               EDITHSIDE            LAOIS              IE   13277   138141630@KACHIPYTEL.COM
3O8MNK   2/16/2021   OB   5/28/2021   WN;1108;ATL;DAL;WN;438;DAL;MEM                NEW RICHARD          MA                 US    3870   138142169@KACHIPYTEL.COM
3O8MNK   2/16/2021   OB   5/28/2021   WN;1108;ATL;DAL;WN;438;DAL;MEM                NEW RICHARD          MA                 US    3870   138142169@KACHIPYTEL.COM
3OAL4G   2/16/2021   OB   5/31/2021   WN;2731;DAL;ATL;WN;1078;ATL;LGA               SOUTH PATRICIAFURT   MS                 US   83163   138142169@KACHIPYTEL.COM
3OAL4G   2/16/2021   OB   5/31/2021   WN;2731;DAL;ATL;WN;1078;ATL;LGA               SOUTH PATRICIAFURT   MS                 US   83163   138142169@KACHIPYTEL.COM
3OR9DZ   2/16/2021   OB    3/8/2021   WN;403;ATL;BNA;WN;468;BNA;DTW                 LAKE ROBERT          NJ                 US   79770   138144501@AIRLINE.KIWI.COM
3OVNIX   2/16/2021   OB    3/8/2021   WN;403;ATL;BNA;WN;468;BNA;DTW                 PORT JOHNMOUTH       MI                 US   88850   138145062@AIRLINE.KIWI.COM
3PP2AN   2/16/2021   OB   2/24/2021   WN;4158;DEN;SMF                               EAST BRADLEY         MO                 US   95240   138148857@AIRLINE.KIWI.COM
3PP2AN   2/16/2021   RT    3/1/2021   WN;4925;SMF;DEN                               EAST BRADLEY         MO                 US   95240   138148857@AIRLINE.KIWI.COM
3PPSS7   2/16/2021   OB   2/24/2021   WN;2026;ATL;DEN                               BLACKSTAD            VT                 US   50972   138148857@AIRLINE.KIWI.COM
3PR5WV   2/16/2021   OB    3/1/2021   WN;2634;DEN;ATL                               CLARKFORT            AZ                 US   49674   138148857@AIRLINE.KIWI.COM
3PWWUP   2/16/2021   OB   2/22/2021   WN;5013;MIA;TPA;WN;2661;TPA;LAS               NAGELE               FL                 US   66579   138090117@AIRLINE.KIWI.COM
3Q88RO   2/16/2021   OB    4/9/2021   WN;961;ATL;LAS;WN;1087;LAS;LGB                STEVENSSIDE          NORTHERN IRELAND   GB   58574   138151288@KACHIPYTEL.COM
3Q9K5A   2/16/2021   OB   3/14/2021   WN;4446;LAS;LAX                               SCHMIDTFURT          TX                 US    4210   138151123@AIRLINE.KIWI.COM
3QEG3Q   2/16/2021   OB   3/22/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB               LAKE DARRELLBURY     MO                 US   25496   138151816@KACHIPYTEL.COM
3QEG3Q   2/16/2021   OB   3/22/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB               LAKE DARRELLBURY     MO                 US   25496   138151816@KACHIPYTEL.COM
3QGNP3   2/16/2021   OB   3/22/2021   WN;341;PHX;DTW                                MCGUIREHAVEN         CO                 US   29169   138152245@AIRLINE.KIWI.COM
3R76K8   2/16/2021   OB   4/10/2021   WN;2933;OAK;SAN                               MORGANVILLE          ND                 US   26299   138154720@AIRLINE.KIWI.COM
3R76K8   2/16/2021   RT   4/18/2021   WN;892;SAN;OAK                                MORGANVILLE          ND                 US   26299   138154720@AIRLINE.KIWI.COM
3RBQQ5   2/16/2021   OB   2/23/2021   WN;3075;MIA;BWI;WN;479;BWI;LAX                NORTH STEPHENFURT    MS                 US   37242   138155237@KACHIPYTEL.COM
3RJTOF   2/16/2021   OB    3/3/2021   WN;2323;DEN;CLT                               NATHANCHESTER        AR                 US   54317   138155776@AIRLINE.KIWI.COM
3RKXM3   2/16/2021   OB    3/3/2021   WN;2323;DEN;CLT                               NEW BETH             AZ                 US   33025   138155809@AIRLINE.KIWI.COM
3S5IUB   2/16/2021   OB   3/21/2021   WN;597;DEN;BUF                                NORTH COLETOWN       NE                 US   60539   138158174@AIRLINE.KIWI.COM
3SCQ7I   2/16/2021   OB    3/6/2021   WN;1551;MSY;DEN;WN;2641;DEN;SMF               CARRBERG             MT                 US   80462   138158702@AIRLINE.KIWI.COM
3SZGSA   2/16/2021   OB   3/18/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB               JACOBMOUTH           KS                 US   27018   138160308@KACHIPYTEL.COM
3T3HPK   2/16/2021   OB   3/20/2021   WN;2810;MSP;HOU;WN;2357;HOU;MIA               MARIAVILLE           LA                 US   65381   138160242@KACHIPYTEL.COM
3T9VMD   2/16/2021   OB   2/23/2021   WN;4536;PHX;SAN                               PARKERSTAD           KS                 US   41572   138161056@AIRLINE.KIWI.COM
3TD44O   2/16/2021   OB    3/6/2021   WN;4114;ONT;DEN                               NEW KELLYVILLE       CO                 US   74463   138161254@AIRLINE.KIWI.COM
3TD44O   2/16/2021   OB    3/6/2021   WN;4114;ONT;DEN                               NEW KELLYVILLE       CO                 US   74463   138161254@AIRLINE.KIWI.COM
3TINEY   2/16/2021   OB   2/24/2021   WN;1541;LAS;SFO                               WEST SARABURGH       MI                 US   34475   138161529@AIRLINE.KIWI.COM
3TKMCP   2/17/2021   OB   3/13/2021   WN;1471;DEN;ONT                               NORTH GREGORY        MI                 US   89675   138161793@AIRLINE.KIWI.COM
3TKMCP   2/17/2021   OB   3/13/2021   WN;1471;DEN;ONT                               NORTH GREGORY        MI                 US   89675   138161793@AIRLINE.KIWI.COM
3U4L48   2/17/2021   OB   2/22/2021   WN;4192;MDW;DEN                               JASONBURY            CA                 US   36180   138162805@AIRLINE.KIWI.COM
3UF8JA   2/17/2021   OB   2/26/2021   WN;2255;BOS;BWI;WN;1597;BWI;ORD               NEW ROBIN            MI                 US   95260   138163476@KACHIPYTEL.COM
3UKCGQ   2/17/2021   OB   4/23/2021   WN;2637;BNA;MIA                               MADISONBURY          NC                 US   44874   138163883@AIRLINE.KIWI.COM
3UKCGQ   2/17/2021   OB   4/23/2021   WN;2637;BNA;MIA                               MADISONBURY          NC                 US   44874   138163883@AIRLINE.KIWI.COM
3VC7KV   2/17/2021   OB   2/26/2021   WN;184;CLE;PHX;WN;425;PHX;LGB                 ANGELAPORT           IN                 US   25339   138165522@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG                SOUTH CHRISTOPHER    MD                 US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG                SOUTH CHRISTOPHER    MD                 US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG                SOUTH CHRISTOPHER    MD                 US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG                SOUTH CHRISTOPHER    MD                 US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG                SOUTH CHRISTOPHER    MD                 US   95977   138165676@KACHIPYTEL.COM
3VFBXT   2/17/2021   OB   3/14/2021   WN;987;LAS;BWI;WN;1138;BWI;CVG                SOUTH CHRISTOPHER    MD                 US   95977   138165676@KACHIPYTEL.COM
3VGYIW   2/17/2021   OB    3/4/2021   WN;2566;LAS;HOU                               PORT JIMMYCHESTER    MT                 US   52863   138165489@AIRLINE.KIWI.COM
3VGYIW   2/17/2021   RT    3/8/2021   WN;158;HOU;LAS                                PORT JIMMYCHESTER    MT                 US   52863   138165489@AIRLINE.KIWI.COM
3W7IVX   2/17/2021   OB   4/11/2021   WN;2060;IAD;ATL;WN;1228;ATL;MCO               LAKE DESIREEBURY     UT                 US    6611   138167348@KACHIPYTEL.COM
3W7IVX   2/17/2021   OB   4/11/2021   WN;2060;IAD;ATL;WN;1228;ATL;MCO               LAKE DESIREEBURY     UT                 US    6611   138167348@KACHIPYTEL.COM
3W7IVX   2/17/2021   OB   4/11/2021   WN;2060;IAD;ATL;WN;1228;ATL;MCO               LAKE DESIREEBURY     UT                 US    6611   138167348@KACHIPYTEL.COM
3WCRXB   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                 CODYSHIRE            UT                 US   92934   138167645@KACHIPYTEL.COM
3WCRXB   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                 CODYSHIRE            UT                 US   92934   138167645@KACHIPYTEL.COM
3WCYMO   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                 EAST MARK            WV                 US   97567   138167689@KACHIPYTEL.COM
3WETI8   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG               NORTH BRYANFURT      IA                 US   97210   138167777@KACHIPYTEL.COM
3WFILE   2/17/2021   OB   2/27/2021   WN;2455;DEN;PHX                               RICHARDMOUTH         NY                 US   10269   138167161@AIRLINE.KIWI.COM
3WGS7U   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG               PORT TERRI           MS                 US   55334   138167645@KACHIPYTEL.COM
3WGS7U   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG               PORT TERRI           MS                 US   55334   138167645@KACHIPYTEL.COM
3WHFJY   2/17/2021   OB    3/4/2021   WN;4187;DEN;DAL                               CHRISTINAVIEW        ND                 US   95077   138167711@AIRLINE.KIWI.COM
3WIKRW   2/17/2021   OB   4/17/2021   WN;4145;LAS;BWI;WN;4282;BWI;CVG               EAST DANIELVILLE     CO                 US   26093   138167689@KACHIPYTEL.COM
3WJLIZ   2/17/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                 PORT BRANDONVIEW     ME                 US   25742   138167777@KACHIPYTEL.COM
3WSVOU   2/17/2021   OB   2/25/2021   WN;1489;SMF;LAS;WN;4596;LAS;LGB               EAST DARIUSBOROUGH   OR                 US   21747   138168877@KACHIPYTEL.COM
3WSVOU   2/17/2021   OB   2/25/2021   WN;1489;SMF;LAS;WN;4596;LAS;LGB               EAST DARIUSBOROUGH   OR                 US   21747   138168877@KACHIPYTEL.COM
3XCOKN   2/17/2021   OB   3/17/2021   WN;444;PHX;SMF;WN;445;SMF;SNA                 JOSEPHMOUTH          PA                 US   78977   138170417@KACHIPYTEL.COM
3XFFYD   2/17/2021   OB   2/27/2021   WN;2878;HOU;MDW                               SOUTH OSCAR          NV                 US    3158   138170494@AIRLINE.KIWI.COM
3XFOAK   2/17/2021   OB   3/21/2021   WN;197;ATL;RDU                                PORT JESSICA         NH                 US   28405   138170307@AIRLINE.KIWI.COM
3XGSAD   2/17/2021   OB   2/22/2021   WN;219;CUN;MDW;WN;1660;MDW;MCI                VIEJA OMAN           QUERETARO          MX   57651   138170131@AIRLINE.KIWI.COM
3XR7LW   2/17/2021   OB   2/22/2021   WN;4523;DEN;OKC;WN;4235;OKC;PHX               LAKE PAMELAVILLE     UT                 US   90384   138171385@KACHIPYTEL.COM
3YEWEW   2/17/2021   OB    3/3/2021   WN;2622;STL;TPA                               PORT HALEY           UT                 US   71515   138172485@AIRLINE.KIWI.COM
3YEWEW   2/17/2021   OB    3/3/2021   WN;2622;STL;TPA                               PORT HALEY           UT                 US   71515   138172485@AIRLINE.KIWI.COM
3YHGYN   2/17/2021   OB    3/3/2021   WN;2622;STL;TPA                               NORTH CRYSTALMOUTH   OR                 US   46449   138172485@AIRLINE.KIWI.COM
3YJZ4N   2/17/2021   OB   2/27/2021   WN;2578;BUR;OAK                               STN MLYKH            GILAN              IR   46515   138172782@AIRLINE.KIWI.COM
3YQMPF   2/17/2021   OB   2/23/2021   WN;953;ATL;BNA;WN;2522;BNA;MCO                SOUTH PEGGYMOUTH     LA                 US   15383   138173365@KACHIPYTEL.COM
3YV4JN   2/17/2021   OB   2/23/2021   WN;2247;CLT;BWI;WN;4727;BWI;FLL               WEST GREGORYBURGH    FL                 US   40854   138173464@KACHIPYTEL.COM
3YZOQ3   2/17/2021   OB    3/3/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW               VANADZOR             ARMAVIR            AM   16798   138173684@KACHIPYTEL.COM
3YZZ2P   2/17/2021   OB   3/11/2021   WN;1224;MIA;MDW;WN;2090;MDW;MSP               NORTH TIMOTHYVIEW    ME                 US   11030   138173750@AIRLINE.KIWI.COM
3Z7WPQ   2/17/2021   OB   2/24/2021   WN;1762;PHL;DEN;WN;2098;DEN;LAX               JESSICAPORT          UT                 US   20461   138174355@KACHIPYTEL.COM
3ZZ6CR   2/17/2021   OB   2/28/2021   WN;2820;ONT;SJC                               THORNTONBURGH        UT                 US   61459   138176115@AIRLINE.KIWI.COM
3ZZ6CR   2/17/2021   OB   2/28/2021   WN;2820;ONT;SJC                               THORNTONBURGH        UT                 US   61459   138176115@AIRLINE.KIWI.COM
42U4PZ   2/17/2021   OB   2/27/2021   WN;2433;DAL;MCO                               ANTHONYLAND          NE                 US   45262   138178755@AIRLINE.KIWI.COM
456KLB   2/17/2021   OB    3/4/2021   WN;3786;PHX;MDW                               SOUTH BRIANBOROUGH   PA                 US   95375   138187236@AIRLINE.KIWI.COM
46IJ6R   2/17/2021   OB   2/22/2021   WN;2246;ATL;STL                               NORTH PAULSTAD       TN                 US   65911   138193990@KACHIPYTEL.COM
46LP4Z   2/17/2021   OB   2/25/2021   WN;1914;LGA;MDW;WN;2576;MDW;DTW               EWINGMOUTH           ME                 US   91502   138194034@KACHIPYTEL.COM
48A7BK   2/17/2021   OB    3/7/2021   WN;464;DCA;MDW;WN;126;MDW;MCO                 JOELPORT             KS                 US   43978   138202108@KACHIPYTEL.COM
48ACT3   2/17/2021   OB   2/26/2021   WN;309;MSP;LAS;WN;397;LAS;PHX                 PORT MICHAEL         OR                 US   89873   138202317@KACHIPYTEL.COM
492LML   2/17/2021   OB   3/22/2021   WN;833;MDW;CLE                                NEW ANDREW           CO                 US   89087   138206497@AIRLINE.KIWI.COM
495FG3   2/17/2021   OB   2/26/2021   WN;3804;LGA;STL;WN;4483;STL;DAL               HANSONBURGH          RI                 US   75179   138206761@KACHIPYTEL.COM
49CQPN   2/17/2021   OB   2/22/2021   WN;3956;MCO;BNA;WN;3956;BNA;STL               LAKE RAYMOND         AZ                 US   78537   138207355@KACHIPYTEL.COM
49DTXE   2/17/2021   OB   2/25/2021   WN;791;IAD;ATL;WN;3082;ATL;MCO                SANDERSBERG          TN                 US    5194   138207575@AIRLINE.KIWI.COM
49O3J8   2/17/2021   OB    3/8/2021   WN;802;LAS;BWI;WN;3369;BWI;CVG                DANNYVIEW            NE                 US   49919   138209995@KACHIPYTEL.COM
49T8AW   2/17/2021   OB    3/5/2021   WN;2755;BWI;LAS;WN;397;LAS;PHX                WILLIAMBOROUGH       WA                 US   53709   138209995@KACHIPYTEL.COM
4AQSYI   2/17/2021   OB   3/21/2021   WN;1212;MDW;LAS                               BRYANTFORT           OH                 US   36660   138214659@AIRLINE.KIWI.COM
4AQSYI   2/17/2021   OB   3/21/2021   WN;1212;MDW;LAS                               BRYANTFORT           OH                 US   36660   138214659@AIRLINE.KIWI.COM
4B6VWD   2/17/2021   OB    3/3/2021   WN;715;DEN;ATL                                EAST EMMA            ME                 US   82473   138216749@AIRLINE.KIWI.COM
4BA7U2   2/17/2021   OB   2/25/2021   WN;5067;ATL;MCO                               DEANSHIRE            VA                 US    2726   138217145@AIRLINE.KIWI.COM
4BB4I7   2/17/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;305;HOU;CUN                ERMES SARDO          RIMINI             IT   65489   138217640@AIRLINE.KIWI.COM
4BB4I7   2/17/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;305;HOU;CUN                ERMES SARDO          RIMINI             IT   65489   138217640@AIRLINE.KIWI.COM




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4BB4I7   2/17/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;305;HOU;CUN                  ERMES SARDO          RIMINI             IT   65489   138217640@AIRLINE.KIWI.COM
4C4JJJ   2/17/2021   OB   2/22/2021   WN;512;PHX;PIT;WN;2457;PIT;MDW                  EAST CARLOS          IA                 US   46996   138221039@KACHIPYTEL.COM
4C4JJJ   2/17/2021   OB   2/22/2021   WN;512;PHX;PIT;WN;2457;PIT;MDW                  EAST CARLOS          IA                 US   46996   138221039@KACHIPYTEL.COM
4CKDS3   2/17/2021   OB   2/26/2021   WN;3587;DTW;BNA;WN;4024;BNA;LGA                 PORT JAMES           WA                 US   78299   138223206@KACHIPYTEL.COM
4CKDS3   2/17/2021   OB   2/26/2021   WN;3587;DTW;BNA;WN;4024;BNA;LGA                 PORT JAMES           WA                 US   78299   138223206@KACHIPYTEL.COM
4CX2WR   2/17/2021   OB    3/2/2021   WN;3804;LGA;STL;WN;4483;STL;DAL                 KIMPORT              CA                 US   23411   138225703@KACHIPYTEL.COM
4D2O5D   2/17/2021   OB   2/28/2021   WN;479;RDU;BWI;WN;4505;BWI;FLL                  EAST THOMASBERG      SD                 US   87267   138225384@KACHIPYTEL.COM
4D5YZ6   2/17/2021   OB   2/22/2021   WN;4838;SEA;SMF;WN;4839;SMF;PHX                 SELISHCHE BORISLAV   CHERKASKA OBLAST   UA    2707   138226572@KACHIPYTEL.COM
4DHIUT   2/17/2021   OB   2/24/2021   WN;3308;LGB;SMF;WN;1493;SMF;LAS                 EAST MIKEMOUTH       WY                 US   79794   138228354@KACHIPYTEL.COM
4DHIUT   2/17/2021   OB   2/24/2021   WN;3308;LGB;SMF;WN;1493;SMF;LAS                 EAST MIKEMOUTH       WY                 US   79794   138228354@KACHIPYTEL.COM
4DHIUT   2/17/2021   OB   2/24/2021   WN;3308;LGB;SMF;WN;1493;SMF;LAS                 EAST MIKEMOUTH       WY                 US   79794   138228354@KACHIPYTEL.COM
4DKWEA   2/17/2021   OB   2/22/2021   WN;3343;LGA;ATL;WN;3948;ATL;FLL                 LAKE JOSHUA          MA                 US   13702   138228376@KACHIPYTEL.COM
4E5S9R   2/17/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   NORTH ROSE           OK                 US   93651   138231742@KACHIPYTEL.COM
4E5S9R   2/17/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   NORTH ROSE           OK                 US   93651   138231742@KACHIPYTEL.COM
4E6ZIL   2/17/2021   OB   4/15/2021   WN;3603;STL;DAL;WN;1709;DAL;IND                 LAKE MICHELLETOWN    WI                 US    2641   138232072@KACHIPYTEL.COM
4E7JO9   2/17/2021   OB   4/18/2021   WN;3686;DAL;TUL;WN;3686;TUL;STL;WN;783;STL;LGA NORTH SUSANBOROUGH    TX                 US   67326   138232072@KACHIPYTEL.COM
4EBMWG   2/17/2021   OB   4/22/2021   WN;3676;STL;DAL;WN;3193;DAL;LIT                 NORTH HELENVILLE     WV                 US   43481   138232072@KACHIPYTEL.COM
4EBNYU   2/17/2021   OB   4/26/2021   WN;2895;DAL;STL;WN;783;STL;LGA                  HALLVILLE            WY                 US   15443   138232072@KACHIPYTEL.COM
4EC3LS   2/17/2021   OB   2/26/2021   WN;2705;AUS;PHX;WN;3972;PHX;LAX                 PARKERSIDE           IN                 US   18198   138232820@KACHIPYTEL.COM
4EHEL2   2/17/2021   OB   2/23/2021   WN;3262;FLL;MDW;WN;3115;MDW;ATL                 LAKE COLINHAVEN      IA                 US   59892   138233645@KACHIPYTEL.COM
4EHEL2   2/17/2021   OB   2/23/2021   WN;3262;FLL;MDW;WN;3115;MDW;ATL                 LAKE COLINHAVEN      IA                 US   59892   138233645@KACHIPYTEL.COM
4FEUHA   2/17/2021   OB   2/26/2021   WN;4842;PHX;SMF;WN;1900;SMF;BUR                 LAKE KRISTEN         NE                 US   14951   138237429@KACHIPYTEL.COM
4FEUHA   2/17/2021   OB   2/26/2021   WN;4842;PHX;SMF;WN;1900;SMF;BUR                 LAKE KRISTEN         NE                 US   14951   138237429@KACHIPYTEL.COM
4FLRIY   2/17/2021   OB    3/3/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;2516;HOU;MSOUTH MELISSA           AK                 US   70421   138226924@AIRLINE.KIWI.COM
4FTEPJ   2/17/2021   OB    3/5/2021   WN;3787;LGA;BNA;WN;3787;BNA;HOU;WN;2576;HOU;FLDAVIDSONBURY           AK                 US   44723   138226561@AIRLINE.KIWI.COM
4G3QFG   2/17/2021   OB   2/25/2021   WN;1059;MSY;BWI;WN;2593;BWI;BOS                 SOUTH MICHAEL        DE                 US   51187   138240256@KACHIPYTEL.COM
4H69NF   2/17/2021   OB   3/23/2021   WN;2122;LIH;HNL                                 NEW LINDSAY          WY                 US   95839   138242489@AIRLINE.KIWI.COM
4HBKUO   2/17/2021   OB   3/30/2021   WN;525;BWI;PHX;WN;417;PHX;LGB                   COOKBURGH            NY                 US   88287   138244073@KACHIPYTEL.COM
4HBKUO   2/17/2021   OB   3/30/2021   WN;525;BWI;PHX;WN;417;PHX;LGB                   COOKBURGH            NY                 US   88287   138244073@KACHIPYTEL.COM
4HHIPI   2/17/2021   OB   3/18/2021   WN;1962;MIA;DEN;WN;1962;DEN;SAN;WN;1657;SAN;LASLOS ANGELES           CA                 US   90045   138241609@AIRLINE.KIWI.COM
4HJ26B   2/17/2021   OB   4/29/2021   WN;1177;LAX;DEN;WN;415;DEN;ATL                  PORT SHELLY          ND                 US   26901   138244645@AIRLINE.KIWI.COM
4HJ26B   2/17/2021   RT    5/2/2021   WN;1075;ATL;SAT;WN;1075;SAT;LAX                 PORT SHELLY          ND                 US   26901   138244645@AIRLINE.KIWI.COM
4HKFVB   2/17/2021   OB   2/25/2021   WN;360;ATL;BWI;WN;3933;BWI;DTW                  NORTH SARA           WI                 US   75840   138244942@KACHIPYTEL.COM
4HNU3U   2/17/2021   OB   2/22/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL                  STOUTMOUTH           VA                 US   57751   138244964@KACHIPYTEL.COM
22GA85   2/18/2021   OB    3/2/2021   WN;2330;DAL;MSY;WN;4279;MSY;TPA;WN;4279;TPA;MIABD LJBWRBURY          HEBRON             PS   56225   138313373@KACHIPYTEL.COM
22ILXL   2/18/2021   OB   2/27/2021   WN;4151;SEA;SMF;WN;3183;SMF;PHX                 NORTH JOHNNY         AR                 US   62283   138314066@KACHIPYTEL.COM
22ILXL   2/18/2021   OB   2/27/2021   WN;4151;SEA;SMF;WN;3183;SMF;PHX                 NORTH JOHNNY         AR                 US   62283   138314066@KACHIPYTEL.COM
22MB87   2/18/2021   OB   3/16/2021   WN;1026;SMF;SAN;WN;1026;SAN;BNA;WN;942;BNA;LGA DURANMOUTH            ND                 US   65406   138314363@KACHIPYTEL.COM
22MB87   2/18/2021   OB   3/16/2021   WN;1026;SMF;SAN;WN;1026;SAN;BNA;WN;942;BNA;LGA DURANMOUTH            ND                 US   65406   138314363@KACHIPYTEL.COM
23K32B   2/18/2021   OB   3/18/2021   WN;894;SMF;LAX                                  NEW MICHAEL          NV                 US    5716   138318048@AIRLINE.KIWI.COM
23SMPL   2/18/2021   OB    4/6/2021   WN;1775;MDW;LGA                                 HERNANDEZHAVEN       NH                 US   44108   138319544@AIRLINE.KIWI.COM
23SMPL   2/18/2021   OB    4/6/2021   WN;1775;MDW;LGA                                 HERNANDEZHAVEN       NH                 US   44108   138319544@AIRLINE.KIWI.COM
23SMPL   2/18/2021   RT    4/9/2021   WN;378;LGA;MDW                                  HERNANDEZHAVEN       NH                 US   44108   138319544@AIRLINE.KIWI.COM
23SMPL   2/18/2021   RT    4/9/2021   WN;378;LGA;MDW                                  HERNANDEZHAVEN       NH                 US   44108   138319544@AIRLINE.KIWI.COM
23TW2Y   2/18/2021   OB    3/4/2021   WN;3587;DTW;BNA;WN;2618;BNA;ATL                 NORTH ANNETTE        CA                 US   35180   138319555@KACHIPYTEL.COM
23VJZ4   2/18/2021   OB    3/1/2021   WN;3343;ATL;STL;WN;2208;STL;DEN;WN;2208;DEN;MSP BURCHCHESTER         OR                 US   69348   138319566@KACHIPYTEL.COM
24KQXN   2/18/2021   OB   2/26/2021   WN;2346;BOS;MDW;WN;2346;MDW;MCI                 PORT KATHERINETON    NJ                 US   79383   138322382@AIRLINE.KIWI.COM
24W9AS   2/18/2021   OB   2/27/2021   WN;3662;SRQ;BNA;WN;3425;BNA;PHL                 SHANESIDE            AL                 US   75082   138323933@KACHIPYTEL.COM
25B89C   2/18/2021   OB    3/1/2021   WN;3624;OAK;SAN;WN;1468;SAN;LAS                 STEVENTON            TX                 US   29713   138325374@KACHIPYTEL.COM
25I5FA   2/18/2021   OB   2/22/2021   WN;1639;ORD;BWI;WN;4727;BWI;FLL                 LAKE JILLIANTON      HI                 US    4132   138325913@KACHIPYTEL.COM
25L9GM   2/18/2021   OB   2/22/2021   WN;456;MDW;DAL;WN;2199;DAL;FLL                  ALLISONFORT          ID                 US    2715   138326309@KACHIPYTEL.COM
267THP   2/18/2021   OB    3/6/2021   WN;2206;RIC;ATL;WN;2920;ATL;FLL                 REBECCAFURT          OR                 US   34204   138328322@KACHIPYTEL.COM
268Q5W   2/18/2021   OB    3/6/2021   WN;2206;RIC;ATL;WN;2920;ATL;FLL                 LAKE KATHLEEN        AR                 US   21482   138328465@KACHIPYTEL.COM
4IXTKB   2/18/2021   OB   3/12/2021   WN;1574;PHX;MDW;WN;2165;MDW;BOS                 ARMSTRONGVILLE       ID                 US   28999   138248484@AIRLINE.KIWI.COM
4IXTKB   2/18/2021   RT   3/16/2021   WN;303;BOS;STL;WN;686;STL;PHX                   ARMSTRONGVILLE       ID                 US   28999   138248484@AIRLINE.KIWI.COM
4J2XE9   2/18/2021   OB   2/22/2021   WN;3348;LGA;ATL;WN;2746;ATL;FLL                 PORT CAITLYN         NC                 US    2839   138248539@KACHIPYTEL.COM
4J4TAD   2/18/2021   OB   2/26/2021   WN;3587;DTW;BNA;WN;2618;BNA;ATL                 EAST DUSTIN          NC                 US   56593   138248902@KACHIPYTEL.COM
4JAV74   2/18/2021   OB    3/6/2021   WN;1677;LGA;ATL;WN;2829;ATL;FLL                 PORT SCOTTVILLE      ME                 US   86950   138249320@KACHIPYTEL.COM
4JAV74   2/18/2021   OB    3/6/2021   WN;1677;LGA;ATL;WN;2829;ATL;FLL                 PORT SCOTTVILLE      ME                 US   86950   138249320@KACHIPYTEL.COM
4JAV74   2/18/2021   OB    3/6/2021   WN;1677;LGA;ATL;WN;2829;ATL;FLL                 PORT SCOTTVILLE      ME                 US   86950   138249320@KACHIPYTEL.COM
4JBWMN   2/18/2021   OB    6/1/2021   WN;1533;ATL;MDW;WN;2988;MDW;DTW                 GOMEZTOWN            ND                 US   55955   138249045@KACHIPYTEL.COM
4JLRJN   2/18/2021   OB   5/21/2021   WN;3275;BWI;LAS;WN;1218;LAS;LGB                 RAANYCI              RAJASTHAN          IN   83792   138249793@KACHIPYTEL.COM
4JS722   2/18/2021   OB   2/22/2021   WN;953;ATL;BNA;WN;2522;BNA;MCO                  SOUTH AMYSTAD        OK                 US   59331   138250651@KACHIPYTEL.COM
4KBY3D   2/18/2021   OB   5/20/2021   WN;375;GEG;PHX;WN;1410;PHX;SFO                  RICHARDSONBURY       AR                 US   48213   138251839@AIRLINE.KIWI.COM
4KCUBN   2/18/2021   OB   2/25/2021   WN;2042;ATL;HOU;WN;3;HOU;SAN                    EAST KATHLEEN        MD                 US   18025   138252026@AIRLINE.KIWI.COM
4KIZW4   2/18/2021   OB   2/26/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI                 ALEXANDERVIEW        RI                 US    9723   138252543@KACHIPYTEL.COM
4KK82P   2/18/2021   OB    3/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB                   LAKE MARGARET        NE                 US   11072   138252543@KACHIPYTEL.COM
4KLJDC   2/18/2021   OB   2/26/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI                 KENNETHPORT          NC                 US   89525   138252840@KACHIPYTEL.COM
4KLJDC   2/18/2021   OB   2/26/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI                 KENNETHPORT          NC                 US   89525   138252840@KACHIPYTEL.COM
4KP3HZ   2/18/2021   OB    3/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB                   DOUGLASMOUTH         NJ                 US   58580   138252840@KACHIPYTEL.COM
4KP3HZ   2/18/2021   OB    3/1/2021   WN;953;BNA;PHX;WN;425;PHX;LGB                   DOUGLASMOUTH         NJ                 US   58580   138252840@KACHIPYTEL.COM
4L8YBC   2/18/2021   OB   2/25/2021   WN;5074;PHX;BNA;WN;3041;BNA;BWI                 WEST RUTH            RI                 US   30415   138254160@KACHIPYTEL.COM
4L9OXJ   2/18/2021   OB   2/26/2021   WN;4971;DCA;BNA;WN;2522;BNA;MCO                 NEW EMILYBURY        NV                 US   30064   138254413@KACHIPYTEL.COM
4LB9U8   2/18/2021   OB   3/19/2021   WN;2060;IAD;ATL;WN;1620;ATL;GSP                 SEIXAL               EVORA              PT      67   138254259@KACHIPYTEL.COM
4LDS2M   2/18/2021   OB    3/8/2021   WN;896;LAX;MDW;WN;226;MDW;FLL                   JESSICALAND          FL                 US   56798   138254567@KACHIPYTEL.COM
4LDS2M   2/18/2021   OB    3/8/2021   WN;896;LAX;MDW;WN;226;MDW;FLL                   JESSICALAND          FL                 US   56798   138254567@KACHIPYTEL.COM
4LFWQM   2/18/2021   OB    3/4/2021   WN;3989;MDW;LAX;WN;4608;LAX;OAK                 NEW WILLIAMTOWN      MS                 US   61797   138254567@KACHIPYTEL.COM
4LFWQM   2/18/2021   OB    3/4/2021   WN;3989;MDW;LAX;WN;4608;LAX;OAK                 NEW WILLIAMTOWN      MS                 US   61797   138254567@KACHIPYTEL.COM
4LINBY   2/18/2021   OB   8/13/2021   WN;3501;SNA;MDW;WN;1698;MDW;FLL                 WEST JOHN            IL                 US    2194   138255051@KACHIPYTEL.COM
4N6K7C   2/18/2021   OB    4/1/2021   WN;1629;BNA;DAL;WN;369;DAL;CLT                  CANDICEMOUTH         IN                 US   12315   138258373@KACHIPYTEL.COM
4NGWCY   2/18/2021   OB    3/3/2021   WN;2346;MCI;ATL;WN;2434;ATL;IND                 HENDERSONVIEW        MI                 US   99827   138249364@AIRLINE.KIWI.COM
4NGWCY   2/18/2021   OB    3/3/2021   WN;2346;MCI;ATL;WN;2434;ATL;IND                 HENDERSONVIEW        MI                 US   99827   138249364@AIRLINE.KIWI.COM
4O6UH7   2/18/2021   OB    3/9/2021   WN;4776;BWI;AUS                                 PIELAVESI            VARSINAISSUOMI     FI   11315   138260848@AIRLINE.KIWI.COM
4O6UH7   2/18/2021   OB    3/9/2021   WN;4776;BWI;AUS                                 PIELAVESI            VARSINAISSUOMI     FI   11315   138260848@AIRLINE.KIWI.COM
4OBZDD   2/18/2021   OB    6/2/2021   WN;888;SAT;TPA;WN;2635;TPA;FLL                  EAST KATHLEENSTAD    CO                 US    1371   138261156@KACHIPYTEL.COM
4OQAU6   2/18/2021   OB   3/14/2021   WN;855;OAK;SEA                                  EAST RACHELTON       NV                 US   64000   138262322@AIRLINE.KIWI.COM
4PD45M   2/18/2021   OB   2/23/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA                  SOUTH KRISTENLAND    NM                 US   66157   138263400@KACHIPYTEL.COM
4PX7TP   2/18/2021   OB   3/23/2021   WN;1924;MDW;DAL                                 PORT MIGUELFURT      CT                 US   93429   138265314@AIRLINE.KIWI.COM
4TNEIY   2/18/2021   OB   2/26/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO                 MARKBURY             MT                 US   70314   138279427@KACHIPYTEL.COM
4VDB9R   2/18/2021   OB   2/23/2021   WN;2522;DEN;BNA;WN;495;BNA;ORD                  MILLSBERG            WI                 US   50399   138286522@KACHIPYTEL.COM
4WEB2J   2/18/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   NEW EMILYTON         CT                 US   50240   138292572@KACHIPYTEL.COM
4XGVYM   2/18/2021   RT   2/22/2021   WN;4913;SNA;OAK;WN;4913;OAK;PDX                 IVANCHESTER          KY                 US   19960   138298776@AIRLINE.KIWI.COM
4XU32M   2/18/2021   OB   2/24/2021   WN;3496;RSW;ATL;WN;4099;ATL;PHL                 PORT KIARACHESTER    MI                 US   48929   138301339@KACHIPYTEL.COM
4YHH2Q   2/18/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   CAITLINFURT          KY                 US   25214   138304397@KACHIPYTEL.COM
4Z3VMP   2/18/2021   OB   2/27/2021   WN;3821;PHX;AUS;WN;3824;AUS;LGB                 PORT ALEXANDERFURT   MA                 US   83902   138306707@KACHIPYTEL.COM
4ZML2S   2/18/2021   OB   3/21/2021   WN;1668;JAX;DCA;WN;290;DCA;ATL                  KELLYBOROUGH         IN                 US   38747   138309369@KACHIPYTEL.COM
27EOA6   2/19/2021   OB   2/27/2021   WN;4683;MSP;MDW;WN;4683;MDW;MCI;WN;3763;MCI; JIMMYCHESTER            MN                 US    4431   138328421@KACHIPYTEL.COM
27GF2A   2/19/2021   OB    4/4/2021   WN;1935;MSY;PHX;WN;1877;PHX;LAX                 DYLANBURGH           MS                 US   92447   138331743@KACHIPYTEL.COM
27GWI7   2/19/2021   OB    4/2/2021   WN;1061;LAX;MSY;WN;433;MSY;ATL                  SOUTH STEVEN         MN                 US   94713   138331743@KACHIPYTEL.COM
2869J9   2/19/2021   OB   3/26/2021   WN;3074;DCA;ATL;WN;1463;ATL;GSP                 MELTONBOROUGH        AR                 US   37956   138333371@KACHIPYTEL.COM
287MNH   2/19/2021   OB    4/9/2021   WN;2192;SEA;SMF;WN;684;SMF;PHX                  WEST MOLLY           PA                 US   83978   138333393@KACHIPYTEL.COM
287MNH   2/19/2021   OB    4/9/2021   WN;2192;SEA;SMF;WN;684;SMF;PHX                  WEST MOLLY           PA                 US   83978   138333393@KACHIPYTEL.COM
297TOR   2/19/2021   OB   2/23/2021   WN;3239;BWI;LAS;WN;1900;LAS;SEA                 KOLKTTAA PERUNKR     CHHATTISGARH       IN   38524   138334977@KACHIPYTEL.COM
29E3RI   2/19/2021   OB    3/5/2021   WN;2434;TPA;ATL;WN;2707;ATL;LGA                 WOODPORT             KY                 US   73412   138335296@KACHIPYTEL.COM
29E3RI   2/19/2021   OB    3/5/2021   WN;2434;TPA;ATL;WN;2707;ATL;LGA                 WOODPORT             KY                 US   73412   138335296@KACHIPYTEL.COM
29GKIM   2/19/2021   OB   6/18/2021   WN;1984;SEA;MDW                                 EMMATON              MA                 US   46506   138335747@AIRLINE.KIWI.COM
29GKIM   2/19/2021   OB   6/18/2021   WN;1984;SEA;MDW                                 EMMATON              MA                 US   46506   138335747@AIRLINE.KIWI.COM
29SVL6   2/19/2021   OB   2/23/2021   WN;3539;MCO;BNA;WN;1966;BNA;ATL                 WEST ROBERTPORT      AL                 US   34630   138336330@KACHIPYTEL.COM
29UP8O   2/19/2021   OB   6/27/2021   WN;2108;MDW;SEA                                 NORTH LISA           HI                 US   29602   138336341@AIRLINE.KIWI.COM
29UP8O   2/19/2021   OB   6/27/2021   WN;2108;MDW;SEA                                 NORTH LISA           HI                 US   29602   138336341@AIRLINE.KIWI.COM
29UYIT   2/19/2021   OB    3/7/2021   WN;1136;TPA;BNA;WN;1053;BNA;LGA                 WEST LATOYA          IL                 US   42917   138336616@KACHIPYTEL.COM
29WA3B   2/19/2021   OB   2/22/2021   WN;2755;BWI;LAS;WN;1017;LAS;SAN                 NORTH JODISIDE       OK                 US   53179   138336506@KACHIPYTEL.COM
2A7EVR   2/19/2021   OB    3/1/2021   WN;2135;AUS;PHX;WN;2722;PHX;LGB                 EAST DEANVILLE       IA                 US   23573   138337078@KACHIPYTEL.COM
2A8C8L   2/19/2021   OB    3/5/2021   WN;800;PHX;AUS;WN;4065;AUS;LGB                  PATTERSONSHIRE       NE                 US   53822   138337078@KACHIPYTEL.COM
2AIKI6   2/19/2021   OB   2/22/2021   WN;4809;RNO;PHX;WN;1154;PHX;DEN                 TAYLORMOUTH          IL                 US   26956   138336693@KACHIPYTEL.COM
2B465X   2/19/2021   OB   2/23/2021   WN;388;CLE;DEN;WN;131;DEN;CUN                   THOMASMOUTH          TX                 US   21113   138339157@KACHIPYTEL.COM




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2B72WI   2/19/2021   OB   2/23/2021   WN;4158;DEN;SMF;WN;349;SMF;LGB                  WEST KIMBERLY          CO                     US    9124   138339157@KACHIPYTEL.COM
2BPEVM   2/19/2021   OB   2/25/2021   WN;2234;LAX;STL;WN;4099;STL;ATL;WN;4099;ATL;PHL NORTH NICHOLE          MO                     US   41104   138340070@KACHIPYTEL.COM
2BQCTQ   2/19/2021   OB   2/23/2021   WN;2234;LAX;STL;WN;1894;STL;MCO                 JACKVILLE              SD                     US   71318   138340433@KACHIPYTEL.COM
2C46EV   2/19/2021   OB   6/11/2021   WN;252;LGA;DEN                                  LAKE TIM               AR                     US   33060   138332942@AIRLINE.KIWI.COM
2C46EV   2/19/2021   OB   6/11/2021   WN;252;LGA;DEN                                  LAKE TIM               AR                     US   33060   138332942@AIRLINE.KIWI.COM
2C46EV   2/19/2021   OB   6/11/2021   WN;252;LGA;DEN                                  LAKE TIM               AR                     US   33060   138332942@AIRLINE.KIWI.COM
2C46EV   2/19/2021   OB   6/11/2021   WN;252;LGA;DEN                                  LAKE TIM               AR                     US   33060   138332942@AIRLINE.KIWI.COM
2C46EV   2/19/2021   OB   6/11/2021   WN;252;LGA;DEN                                  LAKE TIM               AR                     US   33060   138332942@AIRLINE.KIWI.COM
2C7G83   2/19/2021   OB   2/25/2021   WN;3714;LAX;BWI                                 COREYTOWN              TX                     US   24966   138341533@AIRLINE.KIWI.COM
2C7G83   2/19/2021   OB   2/25/2021   WN;3714;LAX;BWI                                 COREYTOWN              TX                     US   24966   138341533@AIRLINE.KIWI.COM
2CEHOQ   2/19/2021   OB   3/15/2021   WN;249;LAS;MSP                                  STEPHENSBURGH          GU                     US   58196   138339322@AIRLINE.KIWI.COM
2DXM2F   2/19/2021   OB   2/22/2021   WN;4743;ATL;AUS;WN;800;AUS;DAL                  NORTH JILLMOUTH        TX                     US   99803   138345163@KACHIPYTEL.COM
2EG278   2/19/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   NORTH DAVID            TX                     US   24900   138346472@KACHIPYTEL.COM
2EHLJ5   2/19/2021   OB   2/23/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                 SOUTH AMBER            TX                     US   54000   138346857@KACHIPYTEL.COM
2FC7EY   2/19/2021   OB   2/23/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA                 WEST EMILYBURGH        CT                     US   78732   138348507@KACHIPYTEL.COM
2FC7EY   2/19/2021   OB   2/23/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA                 WEST EMILYBURGH        CT                     US   78732   138348507@KACHIPYTEL.COM
2IAWQQ   2/19/2021   OB    5/7/2021   WN;182;ATL;PNS;WN;182;PNS;DAL;WN;182;DAL;LAS;WN EAST JESUS             OK                     US   14975   138360750@KACHIPYTEL.COM
2J2RYO   2/19/2021   OB   2/22/2021   WN;4158;DEN;SMF;WN;349;SMF;LGB                  EAST RYAN              NV                     US   61392   138365348@KACHIPYTEL.COM
2J2RYO   2/19/2021   OB   2/22/2021   WN;4158;DEN;SMF;WN;349;SMF;LGB                  EAST RYAN              NV                     US   61392   138365348@KACHIPYTEL.COM
2JTRBN   2/19/2021   OB   2/28/2021   WN;2247;CLT;BWI;WN;1633;BWI;MCO                 NEW VANESSA            WI                     US   52110   138368571@KACHIPYTEL.COM
2KLJ8W   2/19/2021   OB   2/24/2021   WN;1990;ATL;BWI;WN;1633;BWI;MCO                 LAKE MEGANFURT         ND                     US   86929   138372102@KACHIPYTEL.COM
2LDZ6Y   2/19/2021   OB   2/26/2021   WN;4608;LAX;OAK;WN;1963;OAK;BOI                 LORIHAVEN              WY                     US   73188   138375435@KACHIPYTEL.COM
2LEG2Q   2/19/2021   OB   3/27/2021   WN;2671;PHX;AUS;WN;2968;AUS;LGB                 K LIANTOR              BURYATIYA RESPUBLIKA   RU   29673   138374885@KACHIPYTEL.COM
2LEG2Q   2/19/2021   OB   3/27/2021   WN;2671;PHX;AUS;WN;2968;AUS;LGB                 K LIANTOR              BURYATIYA RESPUBLIKA   RU   29673   138374885@KACHIPYTEL.COM
2LEG2Q   2/19/2021   OB   3/27/2021   WN;2671;PHX;AUS;WN;2968;AUS;LGB                 K LIANTOR              BURYATIYA RESPUBLIKA   RU   29673   138374885@KACHIPYTEL.COM
2LMMCB   2/19/2021   OB   4/15/2021   WN;953;BWI;OAK;WN;3529;OAK;LGB                  SHAUNLAND              OH                     US   68177   138376458@KACHIPYTEL.COM
2LMMCB   2/19/2021   OB   4/15/2021   WN;953;BWI;OAK;WN;3529;OAK;LGB                  SHAUNLAND              OH                     US   68177   138376458@KACHIPYTEL.COM
2LXE9Z   2/19/2021   OB    4/6/2021   WN;1681;RIC;ATL;WN;794;ATL;MIA                  LYNNSHIRE              WI                     US   97132   138377437@KACHIPYTEL.COM
2M7AAT   2/19/2021   OB    3/1/2021   WN;2255;BOS;BWI;WN;1597;BWI;ORD                 EAST STEVEN            AL                     US   44628   138378680@KACHIPYTEL.COM
2MCJMI   2/19/2021   OB    3/8/2021   WN;1432;SEA;SJC;WN;1221;SJC;DEN                 CAANGKLI               PUDUCHERRY             IN   82750   138379956@KACHIPYTEL.COM
2MPZ9P   2/19/2021   OB   2/26/2021   WN;3959;TPA;BWI;WN;1657;BWI;CLE                 HOLLOWAYBOROUGH        KS                     US   44400   138381925@KACHIPYTEL.COM
2MTVQ2   2/19/2021   OB    3/5/2021   WN;3611;JAX;HOU;WN;213;HOU;SRQ                  WEST RYAN              NM                     US   71387   138382321@KACHIPYTEL.COM
2MYO2U   2/19/2021   OB   4/19/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS                  EAST KAREN             MS                     US   29467   138383223@KACHIPYTEL.COM
2MZ6NF   2/19/2021   OB   4/16/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   STEWARTMOUTH           VA                     US   93121   138382827@KACHIPYTEL.COM
2MZFKF   2/19/2021   OB   2/27/2021   WN;3484;LAS;SNA;WN;4156;SNA;OAK;WN;4156;OAK;SEANEW WENDY               ME                     US   54752   138383003@KACHIPYTEL.COM
2NCAMB   2/19/2021   OB   5/24/2021   WN;1149;HNL;KOA                                 PORT BLAKESTAD         AL                     US    6699   138384609@AIRLINE.KIWI.COM
2NCAMB   2/19/2021   OB   5/24/2021   WN;1149;HNL;KOA                                 PORT BLAKESTAD         AL                     US    6699   138384609@AIRLINE.KIWI.COM
2NCAMB   2/19/2021   OB   5/24/2021   WN;1149;HNL;KOA                                 PORT BLAKESTAD         AL                     US    6699   138384609@AIRLINE.KIWI.COM
2NGYGV   2/19/2021   OB   5/24/2021   WN;1099;LIH;HNL                                 CLARKBURGH             NJ                     US   25938   138384609@AIRLINE.KIWI.COM
2NGYGV   2/19/2021   OB   5/24/2021   WN;1099;LIH;HNL                                 CLARKBURGH             NJ                     US   25938   138384609@AIRLINE.KIWI.COM
2NGYGV   2/19/2021   OB   5/24/2021   WN;1099;LIH;HNL                                 CLARKBURGH             NJ                     US   25938   138384609@AIRLINE.KIWI.COM
2NJAMS   2/19/2021   OB   2/28/2021   WN;1878;MDW;BWI;WN;2593;BWI;BOS                 WEST AMANDAFURT        VA                     US   14113   138385093@KACHIPYTEL.COM
2NKDR6   2/19/2021   OB    7/4/2021   WN;3385;PHX;IND;WN;348;IND;ATL;WN;348;ATL;GSP   MORGANCHESTER          WV                     US   63676   138385896@KACHIPYTEL.COM
2NMK9D   2/19/2021   OB   2/25/2021   WN;3233;TPA;FLL;WN;1438;FLL;ATL                 GARCIASIDE             MT                     US   14698   138385170@KACHIPYTEL.COM
2NOIW3   2/19/2021   OB   3/18/2021   WN;324;LGB;SMF                                  STEPHENPORT            NY                     US   79664   138385247@AIRLINE.KIWI.COM
2NOIW3   2/19/2021   RT   3/21/2021   WN;1953;SMF;LGB                                 STEPHENPORT            NY                     US   79664   138385247@AIRLINE.KIWI.COM
2NOZKO   2/19/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   KALVAITISTON           PANEVEZIO APSKRITIS    LT   11213   138386248@KACHIPYTEL.COM
2NPMEF   2/19/2021   OB   6/17/2021   WN;1051;IND;PHX;WN;205;PHX;OAK                  LAKE AMANDA            GA                     US   82139   138385896@KACHIPYTEL.COM
2O6RT4   2/19/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                 SOUTH JOHN             OR                     US   10051   137799717@KACHIPYTEL.COM
2ODCCF   2/19/2021   OB    3/5/2021   WN;2531;LAS;BWI;WN;3933;BWI;DTW                 EAST RITALAND          TN                     US   20122   137799717@KACHIPYTEL.COM
2OHXBT   2/19/2021   OB   2/26/2021   WN;715;ATL;BWI;WN;2531;BWI;TPA                  DARRELLVILLE           WY                     US    6583   138389493@KACHIPYTEL.COM
2OL53M   2/19/2021   OB   4/16/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   EAST AMBERSHIRE        AL                     US   82690   138389680@KACHIPYTEL.COM
2OL53M   2/19/2021   OB   4/16/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   EAST AMBERSHIRE        AL                     US   82690   138389680@KACHIPYTEL.COM
2OLYCU   2/19/2021   OB   4/19/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS                  LAKE PAMELA            MO                     US   89509   138389680@KACHIPYTEL.COM
2OLYCU   2/19/2021   OB   4/19/2021   WN;2649;LAS;BWI;WN;584;BWI;BOS                  LAKE PAMELA            MO                     US   89509   138389680@KACHIPYTEL.COM
2OP9M4   2/19/2021   OB    3/1/2021   WN;4830;SDF;BWI;WN;331;BWI;MIA                  S BELORECHENSK         SAMARASKAYA OBLAST     RU   98748   138390923@KACHIPYTEL.COM
2P5T93   2/19/2021   OB   4/16/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   ASHLEYMOUTH            IN                     US   17964   138392947@KACHIPYTEL.COM
2PHUL3   2/19/2021   OB   3/17/2021   WN;1363;MSP;MCO;WN;1363;MCO;SJU                 LINDABERG              MS                     US   96065   138394509@AIRLINE.KIWI.COM
2Q9748   2/19/2021   OB   2/23/2021   WN;2466;DEN;SMF;WN;4842;SMF;SEA                 SAMUELSTAD             OR                     US   67873   138397611@KACHIPYTEL.COM
2QCARJ   2/19/2021   OB   2/24/2021   WN;4818;SAN;STL;WN;3301;STL;FLL                 BELLPORT               CO                     US   74805   138397149@KACHIPYTEL.COM
2QU5A3   2/19/2021   OB   2/26/2021   WN;2408;SEA;SJC;WN;1564;SJC;PHX                 CAMPOSCHESTER          NV                     US   73552   138399679@KACHIPYTEL.COM
2QX2R8   2/19/2021   OB   2/24/2021   WN;2548;MCO;BWI;WN;470;BWI;ATL                  SOUTH REGINA           WY                     US   53365   138399778@KACHIPYTEL.COM
2R2T9R   2/19/2021   OB   3/30/2021   WN;2150;BWI;LAS;WN;465;LAS;LGB                  JOHNSONLAND            WA                     US   41197   138400185@KACHIPYTEL.COM
2R2T9R   2/19/2021   OB   3/30/2021   WN;2150;BWI;LAS;WN;465;LAS;LGB                  JOHNSONLAND            WA                     US   41197   138400185@KACHIPYTEL.COM
2R9DQJ   2/19/2021   OB   2/23/2021   WN;2817;DAL;ATL                                 NORTH JENNIFER         NJ                     US   66246   138397281@AIRLINE.KIWI.COM
2RC37U   2/19/2021   OB   2/24/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO                 GRANTBERG              AR                     US   14569   138401186@KACHIPYTEL.COM
2RC37U   2/19/2021   OB   2/24/2021   WN;3343;LGA;ATL;WN;5067;ATL;MCO                 GRANTBERG              AR                     US   14569   138401186@KACHIPYTEL.COM
2RQMZ2   2/19/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   LAKE KIMBERLY          ND                     US   83723   138402407@KACHIPYTEL.COM
2RQMZ2   2/19/2021   OB   4/15/2021   WN;426;BWI;LAS;WN;427;LAS;LGB                   LAKE KIMBERLY          ND                     US   83723   138402407@KACHIPYTEL.COM
2RVI4D   2/19/2021   OB   4/20/2021   WN;2210;LAS;BWI;WN;2520;BWI;MIA                 GRIFFINMOUTH           VT                     US   73783   138402407@KACHIPYTEL.COM
2RVI4D   2/19/2021   OB   4/20/2021   WN;2210;LAS;BWI;WN;2520;BWI;MIA                 GRIFFINMOUTH           VT                     US   73783   138402407@KACHIPYTEL.COM
2RY7JS   2/19/2021   OB   4/13/2021   WN;2303;TPA;BWI;WN;2201;BWI;CLT                 EAST MIKEVIEW          OH                     US   41185   138403122@KACHIPYTEL.COM
2SD4DU   2/19/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   JONESLAND              FL                     US   22033   138404288@KACHIPYTEL.COM
2SGQXZ   2/19/2021   OB   2/27/2021   WN;1761;FLL;BWI;WN;2200;BWI;ATL                 DUSTINTON              VA                     US    1223   138404244@KACHIPYTEL.COM
2SHVBK   2/19/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   SOUTH KATELYN          IL                     US   53852   138404475@KACHIPYTEL.COM
2SQK54   2/19/2021   OB   2/22/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO                  EAST DAVIDMOUTH        NC                     US   50349   138405399@KACHIPYTEL.COM
2SR2BA   2/19/2021   OB   2/25/2021   WN;1068;SLC;OAK;WN;1068;OAK;SNA;WN;4948;SNA;LAS EAST JENNIFERFORT      OK                     US   53620   138405696@AIRLINE.KIWI.COM
2ST8Z8   2/19/2021   OB   2/25/2021   WN;1068;SLC;OAK;WN;1068;OAK;SNA;WN;4948;SNA;LAS SOUTH CARLOS           NE                     US   90443   138405498@AIRLINE.KIWI.COM
2T27EB   2/19/2021   OB   2/25/2021   WN;164;SEA;MDW                                  NELSONFURT             YUKON TERRITORY        CA   53428   138406334@KACHIPYTEL.COM
2T753X   2/19/2021   OB   2/22/2021   WN;2604;BWI;DAL;WN;2351;DAL;ABQ                 KEVINLAND              NC                     US   54546   138406554@KACHIPYTEL.COM
2T753X   2/19/2021   OB   2/22/2021   WN;2604;BWI;DAL;WN;2351;DAL;ABQ                 KEVINLAND              NC                     US   54546   138406554@KACHIPYTEL.COM
2T7VXH   2/19/2021   OB   2/24/2021   WN;2995;DAL;BWI;WN;1597;BWI;ORD                 NEW CHRISTOPHERTOWN    WY                     US   14524   138406554@KACHIPYTEL.COM
2T7VXH   2/19/2021   OB   2/24/2021   WN;2995;DAL;BWI;WN;1597;BWI;ORD                 NEW CHRISTOPHERTOWN    WY                     US   14524   138406554@KACHIPYTEL.COM
2TI5GR   2/19/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   SOUTH MICHAELBOROUGH   LA                     US   53914   138407533@KACHIPYTEL.COM
2TQ8C9   2/19/2021   OB   3/30/2021   WN;1062;MSY;LAS;WN;629;LAS;LGB                  RAMIREZMOUTH           SD                     US   32907   138408259@KACHIPYTEL.COM
2TQOYL   2/19/2021   OB   2/22/2021   WN;735;PHX;MDW                                  RAMOSLAND              SC                     US   52955   138408369@KACHIPYTEL.COM
2TSLTL   2/19/2021   OB   2/22/2021   WN;4551;PHL;BNA                                 NEW JULIABURY          ND                     US   67987   138408248@KACHIPYTEL.COM
2UN9NY   2/20/2021   OB   3/11/2021   WN;277;LGA;STL;WN;1673;STL;MDW                  MCFARLANDCHESTER       WI                     US   22777   138410701@KACHIPYTEL.COM
2UTZJG   2/20/2021   OB    3/7/2021   WN;1109;SEA;SJC;WN;549;SJC;LAS                  WEST GEORGE            MT                     US   46285   138411328@KACHIPYTEL.COM
2VERR3   2/20/2021   OB   3/16/2021   WN;958;ITO;HNL                                  LUTZSIDE               MP                     US   13473   138409238@AIRLINE.KIWI.COM
2VLDDG   2/20/2021   OB   2/25/2021   WN;1877;DTW;DEN;WN;5493;DEN;DAL                 NORTH TASHABURY        AK                     US     767   138413099@KACHIPYTEL.COM
2VN83A   2/20/2021   OB   2/28/2021   WN;2634;DEN;ATL                                 MEAGANLAND             KS                     US   42433   138413297@AIRLINE.KIWI.COM
2VS8ML   2/20/2021   OB   2/22/2021   WN;2159;MDW;STL;WN;5072;STL;FLL                 JUSTINFORT             MI                     US   50581   138413319@KACHIPYTEL.COM
2VS8ML   2/20/2021   OB   2/22/2021   WN;2159;MDW;STL;WN;5072;STL;FLL                 JUSTINFORT             MI                     US   50581   138413319@KACHIPYTEL.COM
2VS8ML   2/20/2021   OB   2/22/2021   WN;2159;MDW;STL;WN;5072;STL;FLL                 JUSTINFORT             MI                     US   50581   138413319@KACHIPYTEL.COM
2VSWVA   2/20/2021   OB   2/28/2021   WN;794;LAS;SJC;WN;2405;SJC;SEA                  NORTH BRANDONBURGH     AK                     US   57303   138413385@KACHIPYTEL.COM
2WAL9Y   2/20/2021   OB   2/25/2021   WN;5006;PHX;BNA;WN;2931;BNA;MDW                 WEST KELLY             WV                     US   77850   138414221@KACHIPYTEL.COM
2WSBVG   2/20/2021   OB   4/14/2021   WN;892;BNA;LAS;WN;427;LAS;LGB                   MATTHEWSTAD            RI                     US   78378   138415739@KACHIPYTEL.COM
2WUTYJ   2/20/2021   OB   3/13/2021   WN;520;SRQ;BNA;WN;935;BNA;LGA                   POPESCUBURGH           IASI                   RO    5692   138415728@KACHIPYTEL.COM
2WUTYJ   2/20/2021   OB   3/13/2021   WN;520;SRQ;BNA;WN;935;BNA;LGA                   POPESCUBURGH           IASI                   RO    5692   138415728@KACHIPYTEL.COM
2WXXQF   2/20/2021   OB   2/25/2021   WN;3348;LGA;ATL;WN;3082;ATL;MCO                 WEST EMILY             AK                     US   58764   138415805@KACHIPYTEL.COM
2XCRF9   2/20/2021   OB   2/22/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL                  CARRIEVIEW             MO                     US   34977   138416399@KACHIPYTEL.COM
2XNDWD   2/20/2021   OB    3/8/2021   WN;180;AUS;LAS;WN;1549;LAS;LAX                  BROWNCHESTER           WA                     US    5715   138416938@KACHIPYTEL.COM
2XQAV4   2/20/2021   OB   2/22/2021   WN;1149;LAX;SMF                                 JOHNBOROUGH            FL                     US    7345   138417070@KACHIPYTEL.COM
2XQAV4   2/20/2021   OB   2/22/2021   WN;1149;LAX;SMF                                 JOHNBOROUGH            FL                     US    7345   138417070@KACHIPYTEL.COM
2XTJY3   2/20/2021   OB   2/23/2021   WN;4522;PDX;MDW;WN;3933;MDW;MCI                 CLARKHAVEN             SC                     US   78287   138417147@KACHIPYTEL.COM
2Z9NYH   2/20/2021   OB   2/24/2021   WN;2544;BNA;DEN;WN;3047;DEN;SEA                 NORTH ELLENBERG        MO                     US   54283   138419611@KACHIPYTEL.COM
2ZEKP8   2/20/2021   OB   2/27/2021   WN;4114;DEN;BNA;WN;1711;BNA;HOU                 MICHAELCHESTER         AL                     US   80368   138419611@KACHIPYTEL.COM
2ZESIS   2/20/2021   OB    3/1/2021   WN;404;CMH;BWI;WN;2221;BWI;MIA                  NEW LINDAVILLE         MT                     US   30324   138419688@KACHIPYTEL.COM
2ZSC3X   2/20/2021   OB    3/8/2021   WN;963;PHL;STL;WN;1369;STL;MCO                  EAST PAIGE             POSAVSKI KANTON        BA   57799   138420282@KACHIPYTEL.COM
33R94Z   2/20/2021   OB   2/25/2021   WN;2883;LAS;ELP;WN;4945;ELP;PHX                 LAKE ALLEN             KS                     US   80075   138424605@KACHIPYTEL.COM
33T94F   2/20/2021   OB   2/25/2021   WN;1954;AMA;LAS;WN;1667;LAS;DEN                 PORT HEATHER           LA                     US    2082   138424605@KACHIPYTEL.COM
36Q76G   2/20/2021   OB    3/5/2021   WN;3348;LGA;ATL;WN;55;ATL;DAL                   ANDREWVILLE            AR                     US   65348   138432547@KACHIPYTEL.COM
38OT8M   2/20/2021   OB    4/2/2021   WN;921;IND;FLL                                  EAST STEVEN            WA                     US   30220   138423318.1552088@AIRLINE.KIWI.COM
38OT8M   2/20/2021   OB    4/2/2021   WN;921;IND;FLL                                  EAST STEVEN            WA                     US   30220   138423318.1552088@AIRLINE.KIWI.COM
38OT8M   2/20/2021   OB    4/2/2021   WN;921;IND;FLL                                  EAST STEVEN            WA                     US   30220   138423318.1552088@AIRLINE.KIWI.COM




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38SVYD   2/20/2021 OB   2/22/2021 WN;4191;MSP;MDW;WN;3989;MDW;LAX;WN;3989;LAX;LNEW JONATHANVILLE         DE              US   99219 138439048@KACHIPYTEL.COM
38V36T   2/20/2021 OB   2/22/2021 WN;2255;MDW;BOS                                 NEW DAWN               SD              US   82213 138439048@AIRLINE.KIWI.COM
395G98   2/20/2021 OB    3/1/2021 WN;3239;BWI;LAS;WN;2073;LAS;LGB                 DEBRALAND              MO              US   40857 138440632@KACHIPYTEL.COM
39Q4GM   2/20/2021 OB   3/14/2021 WN;741;LAX;MDW;WN;4464;MDW;FLL                  NEW CHERYLMOUTH        OR              US   14794 138303121.1552118@KACHIPYTEL.COM
3ADNOA   2/20/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   SOUTH LINDA            CA              US   65195 138444592@KACHIPYTEL.COM
3BARVU   2/20/2021 OB   3/22/2021 WN;1164;MEM;ATL;WN;1164;ATL;MIA                 PORT TIFFANYTON        ID              US   62894 138447166@AIRLINE.KIWI.COM
3BY94K   2/20/2021 OB    3/5/2021 WN;3343;LGA;ATL;WN;35;ATL;DAL                   PORT BARBARA           FL              US   55527 138449300@KACHIPYTEL.COM
3CO48V   2/20/2021 RT   2/23/2021 WN;2611;DAL;MDW                                 EAST DENNIS            OH              US    1032 138451357@AIRLINE.KIWI.COM
3D2JMS   2/20/2021 OB    3/6/2021 WN;1736;TUS;DEN;WN;4554;DEN;SEA                 WILLIAMSBURGH          UT              US   14127 138452864@KACHIPYTEL.COM
3DBBDO   2/20/2021 OB   2/27/2021 WN;4507;ATL;STL;WN;4595;STL;FLL                 FLOYDSHIRE             WY              US   41099 138454030@KACHIPYTEL.COM
3DF4KO   2/20/2021 OB   2/22/2021 WN;3191;FLL;BWI;WN;2692;BWI;RDU                 PORT CURTIS            IN              US   75180 138454646@KACHIPYTEL.COM
3DTPE6   2/20/2021 OB   2/23/2021 WN;3343;LGA;ATL;WN;5067;ATL;MCO                 CLARKFORT              AK              US   99637 138456021@KACHIPYTEL.COM
3DX6AX   2/20/2021 OB   2/22/2021 WN;3558;ATL;MDW;WN;2611;MDW;FLL                 ALYSSASIDE             LA              US   38692 138456560@KACHIPYTEL.COM
3DYLVW   2/20/2021 OB   2/24/2021 WN;3191;FLL;BWI;WN;953;BWI;ATL                  TANGERANG              SULAWESI        ID   45746 138456725@KACHIPYTEL.COM
3F4KYX   2/20/2021 OB   2/22/2021 WN;4297;PIT;DEN;WN;2516;DEN;SEA                 DIAMONDMOUTH           ME              US   69334 138460916@KACHIPYTEL.COM
3F6C47   2/20/2021 OB   2/27/2021 WN;1179;STL;BWI;WN;4714;BWI;CLE                 CHONOSIDE              HASKOVO         BG   77899 138461268@KACHIPYTEL.COM
3FRDWX   2/20/2021 OB   3/15/2021 WN;940;RSW;BNA;WN;1034;BNA;CLT                  CLARKSHIRE             RI              US   12678 138463314@KACHIPYTEL.COM
3G9G7E   2/20/2021 OB   2/24/2021 WN;3191;FLL;BWI;WN;953;BWI;ATL                  EAST DANNYSTAD         IL              US   99195 138464392@KACHIPYTEL.COM
3GORGD   2/20/2021 OB   2/28/2021 WN;2247;CLT;BWI;WN;1633;BWI;MCO                 SOUTH SAMANTHABERG     MS              US   25738 138465470@KACHIPYTEL.COM
3H7JAV   2/20/2021 OB    3/1/2021 WN;3254;MDW;AUS;WN;2705;AUS;PHX                 WHITETOWN              WA              US   28237 138455306@KACHIPYTEL.COM
3HE4IZ   2/20/2021 OB   4/23/2021 WN;1577;MCO;STL;WN;3395;STL;LGB                 DONNASTAD              IA              US   14844 138467582@KACHIPYTEL.COM
3HZ6YP   2/20/2021 OB   3/18/2021 WN;4449;BWI;STL;WN;1510;STL;CLT                 SOUTH AARON            PA              US   49153 138468704@KACHIPYTEL.COM
3I3LZP   2/20/2021 OB   3/22/2021 WN;145;STL;BWI;WN;2200;BWI;MIA                  LAURENMOUTH            NE              US    8962 138468704@KACHIPYTEL.COM
3IXS8N   2/21/2021 OB   3/24/2021 WN;1859;SJU;BWI;WN;1866;BWI;ORF;WN;1866;ORF;MCOSUSSIEBURY              HOVEDSTADEN     DK   93810 138470662@KACHIPYTEL.COM
3IXS8N   2/21/2021 OB   3/24/2021 WN;1859;SJU;BWI;WN;1866;BWI;ORF;WN;1866;ORF;MCOSUSSIEBURY              HOVEDSTADEN     DK   93810 138470662@KACHIPYTEL.COM
3IZGGD   2/21/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   MCCLURELAND            CT              US   43166 138470838@KACHIPYTEL.COM
3J94SF   2/21/2021 OB   2/23/2021 WN;2307;BOI;DEN;WN;914;DEN;PSP                  DEBORAHMOUTH           AK              US   71372 138471014@KACHIPYTEL.COM
3JG7WU   2/21/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   WEST RUSSELL           WI              US   14357 138471641@KACHIPYTEL.COM
3JG7WU   2/21/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   WEST RUSSELL           WI              US   14357 138471641@KACHIPYTEL.COM
3JPNCT   2/21/2021 OB   2/22/2021 WN;2814;STL;SMF;WN;4987;SMF;PDX                 JACKBURY               NY              US   52061 138472169@KACHIPYTEL.COM
3JQGIG   2/21/2021 OB   2/22/2021 WN;4844;SFO;DEN;WN;2522;DEN;BNA;WN;2522;BNA;MCDAVENPORTHAVEN           ND              US   64672 138472301@KACHIPYTEL.COM
3JQGIG   2/21/2021 OB   2/22/2021 WN;4844;SFO;DEN;WN;2522;DEN;BNA;WN;2522;BNA;MCDAVENPORTHAVEN           ND              US   64672 138472301@KACHIPYTEL.COM
3KAKH3   2/21/2021 OB   2/26/2021 WN;2298;LAX;HOU;WN;54;HOU;DAL                   MICHELLEVIEW           MT              US   68680 138473236@KACHIPYTEL.COM
3KDDQO   2/21/2021 OB    3/1/2021 WN;3631;HOU;LAX                                 NEW MOLLY              OR              US    8571 138473236@AIRLINE.KIWI.COM
3L2TI5   2/21/2021 OB   2/24/2021 WN;3294;MIA;BWI;WN;3559;BWI;PIT                 MARCUSTOWN             AZ              US   62693 138474314@KACHIPYTEL.COM
3LB9BC   2/21/2021 OB    3/7/2021 WN;631;ATL;BWI;WN;142;BWI;MIA                   NORTH SAMANTHABURY     MT              US    9997 138474655@KACHIPYTEL.COM
3LH7PZ   2/21/2021 OB   2/22/2021 WN;4608;LAX;OAK;WN;4862;OAK;LAS                 DANIELFORT             WV              US   90831 138474754@KACHIPYTEL.COM
3LOD3P   2/21/2021 OB    4/3/2021 WN;739;OAK;SEA                                  TAYLORLAND             IN              US   31615 138475084@AIRLINE.KIWI.COM
3LOD3P   2/21/2021 OB    4/3/2021 WN;739;OAK;SEA                                  TAYLORLAND             IN              US   31615 138475084@AIRLINE.KIWI.COM
3LQ86L   2/21/2021 OB    4/6/2021 WN;1267;SEA;OAK                                 REEDLAND               IA              US    5926 138475084@AIRLINE.KIWI.COM
3LQ86L   2/21/2021 OB    4/6/2021 WN;1267;SEA;OAK                                 REEDLAND               IA              US    5926 138475084@AIRLINE.KIWI.COM
3N7ARX   2/21/2021 OB   2/22/2021 WN;4291;OAK;MDW;WN;458;MDW;MCO                  DA ROSA DA SERRA       MINAS GERAIS    BR     668 138477141@KACHIPYTEL.COM
3N7ARX   2/21/2021 OB   2/22/2021 WN;4291;OAK;MDW;WN;458;MDW;MCO                  DA ROSA DA SERRA       MINAS GERAIS    BR     668 138477141@KACHIPYTEL.COM
3NVRJV   2/21/2021 OB   3/29/2021 WN;859;SAN;OAK                                  PORT PATRICIASIDE      NV              US   65987 138478351@AIRLINE.KIWI.COM
3NY3DN   2/21/2021 OB   2/28/2021 WN;958;LGB;SMF;WN;4873;SMF;LAS                  EDWARDBERG             VA              US   61988 138478241@KACHIPYTEL.COM
3NYMBG   2/21/2021 OB   3/25/2021 WN;951;OAK;SAN                                  NORTH SARA             ME              US   73780 138478351@AIRLINE.KIWI.COM
3OH7TK   2/21/2021 OB   2/23/2021 WN;2234;LAX;STL;WN;1894;STL;MCO                 PORT SHERRY            NE              US   12859 138479242@KACHIPYTEL.COM
3OP95Q   2/21/2021 OB   2/23/2021 WN;2234;LAX;STL;WN;1894;STL;MCO                 AMYTON                 IA              US   16627 138479847@KACHIPYTEL.COM
3P2MWM   2/21/2021 OB   2/24/2021 WN;2246;ATL;STL;WN;3301;STL;FLL                 EAST JANICESTAD        HI              US   36547 138480155@KACHIPYTEL.COM
3PBWFN   2/21/2021 OB   2/25/2021 WN;4385;SEA;OAK;WN;4715;OAK;PSP                 TEERAATUUNNN           ASSAM           IN   90637 138480485@KACHIPYTEL.COM
3PG2HD   2/21/2021 OB   2/24/2021 WN;715;ATL;BWI;WN;102;BWI;MIA                   WEST ALLISONMOUTH      NM              US   61879 138480760@KACHIPYTEL.COM
3PG2HD   2/21/2021 OB   2/24/2021 WN;715;ATL;BWI;WN;102;BWI;MIA                   WEST ALLISONMOUTH      NM              US   61879 138480760@KACHIPYTEL.COM
3PG2HD   2/21/2021 OB   2/24/2021 WN;715;ATL;BWI;WN;102;BWI;MIA                   WEST ALLISONMOUTH      NM              US   61879 138480760@KACHIPYTEL.COM
3QIHZW   2/21/2021 OB    3/1/2021 WN;3240;FLL;MCO;WN;3240;MCO;RIC                 RICHARDSHIRE           ME              US   62055 138483323@AIRLINE.KIWI.COM
3QWFRK   2/21/2021 OB   2/22/2021 WN;1878;MDW;BWI;WN;2593;BWI;BOS                 LAURASTAD              CO              US   41292 138483917@KACHIPYTEL.COM
3SJ4ZR   2/21/2021 OB   2/25/2021 WN;4833;GEG;DEN;WN;3532;DEN;TUS                 DENISESTAD             AK              US   29684 138487701@KACHIPYTEL.COM
3VYGLL   2/21/2021 OB   2/22/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL                 TIMSIDE                NC              US   88064 138496710@KACHIPYTEL.COM
3WBG8Y   2/21/2021 OB   2/26/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL                 SOUTH BRENDAHAVEN      MN              US   65551 138497634@KACHIPYTEL.COM
3WW8KB   2/21/2021 OB   2/28/2021 WN;2234;LAX;STL;WN;3301;STL;FLL                 LOPEZMOUTH             MO              US   86064 138499482@KACHIPYTEL.COM
3XWO55   2/21/2021 OB   2/22/2021 WN;2739;PHX;SAT;WN;2739;SAT;DEN;WN;2516;DEN;SEA EAST WILLIAMSTAD       LA              US   65877 138503035@KACHIPYTEL.COM
3YFAH8   2/21/2021 OB    3/3/2021 WN;3967;MCO;BWI;WN;3111;BWI;BOS                 EAST CAROLINELAND      SC              US   73518 138504212@KACHIPYTEL.COM
3YN8FE   2/21/2021 OB    3/2/2021 WN;2220;MDW;BNA;WN;2438;BNA;MCO;WN;2438;MCO HANNAHBOROUGH              NV              US   78515 138505686@KACHIPYTEL.COM
3YQRL4   2/21/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   PORT DEBBIE            MA              US   26839 138506115@KACHIPYTEL.COM
3YR4YC   2/21/2021 OB   2/22/2021 WN;4608;LAX;OAK;WN;4862;OAK;LAS                 NORTH MATTHEW          WI              US   20694 138505664@KACHIPYTEL.COM
3YREIC   2/21/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   LAKE COREY             TN              US   87945 138506016@KACHIPYTEL.COM
3ZB8Y9   2/21/2021 OB   2/22/2021 WN;2003;ATL;BWI;WN;4505;BWI;FLL                 JEFFREYSHIRE           TN              US    4830 138507919@KACHIPYTEL.COM
3ZNRBH   2/21/2021 OB   3/30/2021 WN;1208;BWI;LAS;WN;1782;LAS;SEA                 WAGNERPORT             CT              US   52474 138509162@KACHIPYTEL.COM
3ZORDK   2/21/2021 OB   2/24/2021 WN;4078;MIA;MDW;WN;4910;MDW;LGA                 EAST LINDA             CO              US   54876 138509767@KACHIPYTEL.COM
3ZORDK   2/21/2021 OB   2/24/2021 WN;4078;MIA;MDW;WN;4910;MDW;LGA                 EAST LINDA             CO              US   54876 138509767@KACHIPYTEL.COM
3ZP4M2   2/21/2021 OB   4/16/2021 WN;560;CLT;SAN;WN;449;SAN;OAK                   EAST JOSE              NJ              US   38385 138510075@KACHIPYTEL.COM
3ZRE2U   2/21/2021 OB    4/7/2021 WN;987;LAS;BWI;WN;1138;BWI;CVG                  PORT ELIZABETHTON      TX              US   53945 138509811@KACHIPYTEL.COM
42BT7F   2/21/2021 OB   3/29/2021 WN;519;SJU;MCO;WN;519;MCO;ATL                   THOMPSONBOROUGH        IA              US   12142 138512330@AIRLINE.KIWI.COM
42BT7F   2/21/2021 OB   3/29/2021 WN;519;SJU;MCO;WN;519;MCO;ATL                   THOMPSONBOROUGH        IA              US   12142 138512330@AIRLINE.KIWI.COM
42DHWE   2/21/2021 OB   2/24/2021 WN;4756;OAK;HOU;WN;1539;HOU;MCO                 EAST MERCEDESBERG      NH              US   77501 138512935@KACHIPYTEL.COM
42GBVH   2/21/2021 OB    3/5/2021 WN;3343;LGA;ATL;WN;35;ATL;DAL                   NORTH EMILYFORT        WA              US   39899 138513463@KACHIPYTEL.COM
42KRAQ   2/21/2021 OB   4/24/2021 WN;1601;HNL;OGG                                 TOU FEN                TAINAN          TW   14444 138513452@AIRLINE.KIWI.COM
42KRAQ   2/21/2021 OB   4/24/2021 WN;1601;HNL;OGG                                 TOU FEN                TAINAN          TW   14444 138513452@AIRLINE.KIWI.COM
42ZCEE   2/21/2021 OB   2/24/2021 WN;2044;DCA;MDW;WN;2253;MDW;MCO                 WEST MATTHEW           CT              US   75467 138408171.1552467@KACHIPYTEL.COM
439XE5   2/21/2021 OB   2/28/2021 WN;2180;BNA;BWI;WN;4727;BWI;FLL                 NORTH ANDREW           ID              US   73678 138516543@KACHIPYTEL.COM
43D3UY   2/21/2021 OB   2/25/2021 WN;1948;BWI;BNA;WN;2618;BNA;ATL                 MONTGOMERYHAVEN        DE              US   64502 138516543@KACHIPYTEL.COM
43DB9J   2/21/2021 OB   2/23/2021 WN;3725;LAX;HOU;WN;4279;HOU;MSY                 NICHOLASTON            AK              US   28852 138517082@KACHIPYTEL.COM
43HP4V   2/21/2021 OB   2/22/2021 WN;3422;LGA;DEN;WN;2863;DEN;BOI                 LAKE KATHRYN           KY              US   35490 138517434@KACHIPYTEL.COM
43NVQY   2/21/2021 OB   2/25/2021 WN;211;PHX;BOI;WN;4367;BOI;OAK                  EAST KELSEYSTAD        DE              US   54905 138517742@KACHIPYTEL.COM
43R2KY   2/21/2021 OB    3/6/2021 WN;3367;BWI;BNA;WN;2833;BNA;ATL                 NICHOLSTON             NJ              US   41804 138518094@KACHIPYTEL.COM
43VN7I   2/21/2021 OB   2/22/2021 WN;2246;ATL;STL;WN;3301;STL;FLL                 PORT AMBERPORT         AR              US   73257 138518798@KACHIPYTEL.COM
442ZRP   2/21/2021 OB   4/10/2021 WN;954;ITO;HNL                                  CAMERONLAND            AL              US    7514 138519029@AIRLINE.KIWI.COM
446Q2D   2/21/2021 OB    3/5/2021 WN;4858;LAS;TPA;WN;4279;TPA;MIA                 MORENOPORT             PA              US    3939 138519788@KACHIPYTEL.COM
447OY9   2/21/2021 OB    3/5/2021 WN;4858;LAS;TPA;WN;4279;TPA;MIA                 NORTH CHRISTOPHERPOR   IN              US   93725 138519799@KACHIPYTEL.COM
44RBDF   2/21/2021 OB   2/23/2021 WN;3714;LAX;BWI;WN;5034;BWI;MSY                 LAKE JOSEPH            MS              US   80171 138521482@KACHIPYTEL.COM
459U4C   2/21/2021 OB   4/27/2021 WN;790;MIA;MDW;WN;2505;MDW;DTW                  NUEVA MADAGASCAR       SONORA          MX   91019 138522835@KACHIPYTEL.COM
459U4C   2/21/2021 OB   4/27/2021 WN;790;MIA;MDW;WN;2505;MDW;DTW                  NUEVA MADAGASCAR       SONORA          MX   91019 138522835@KACHIPYTEL.COM
45CTTO   2/21/2021 OB    3/1/2021 WN;3787;LGA;BNA;WN;3188;BNA;MCO                 NORTH ROBERTA          KS              US    1982 138523000@KACHIPYTEL.COM
45QUBM   2/21/2021 OB   2/22/2021 WN;3037;MSY;DEN;WN;4382;DEN;SEA                 LAKE REBECCA           KS              US   97717 138524551@KACHIPYTEL.COM
45XJX3   2/21/2021 OB   4/14/2021 WN;129;KOA;OGG                                  SOUTH AMANDATOWN       MO              US   12362 138524628@AIRLINE.KIWI.COM
45XJX3   2/21/2021 OB   4/14/2021 WN;129;KOA;OGG                                  SOUTH AMANDATOWN       MO              US   12362 138524628@AIRLINE.KIWI.COM
45YWXV   2/21/2021 OB   2/24/2021 WN;1764;PBI;ATL;WN;3254;ATL;RDU                 NORTH THERESA          LA              US   27822 138525387@KACHIPYTEL.COM
469DUF   2/21/2021 OB    3/1/2021 WN;479;MCO;RDU;WN;479;RDU;BWI;WN;4572;BWI;ATL NEW CATHERINE            AS              US   58988 138520525@AIRLINE.KIWI.COM
46LMNE   2/21/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   PORT BENJAMIN          IN              US   37790 138526542@KACHIPYTEL.COM
46NNSO   2/21/2021 OB   3/30/2021 WN;1621;LAS;SNA                                 WEST WAYNE             NY              US   70745 138526630@AIRLINE.KIWI.COM
46O2JM   2/21/2021 OB   2/22/2021 WN;479;BWI;LAX;WN;1149;LAX;SMF                  NORTH MATTHEWFURT      RI              US   25450 138526817@KACHIPYTEL.COM
46QD6U   2/21/2021 OB   2/22/2021 WN;2814;STL;SMF;WN;4987;SMF;PDX                 HILLBURY               ID              US   20634 138526861@KACHIPYTEL.COM
47EGPL   2/21/2021 OB   2/23/2021 WN;479;BWI;LAX;WN;1149;LAX;SMF                  NORTH KRISTYSHIRE      NH              US   54497 138527829@KACHIPYTEL.COM
47F9YW   2/21/2021 OB   2/22/2021 WN;3075;MIA;BWI;WN;953;BWI;ATL                  PORT REBECCATOWN       CA              US   45950 138527917@KACHIPYTEL.COM
47L22N   2/22/2021 OB   2/22/2021 WN;3825;LGB;OAK;WN;4693;OAK;LAS                 CKAARNNNPUUR           DAMAN AND DIU   IN   58765 138528302@KACHIPYTEL.COM
47NFNU   2/22/2021 OB   2/26/2021 WN;4166;OAK;LGB                                 JEYPPUUR               SIKKIM          IN   55793 138528302@AIRLINE.KIWI.COM
47SIED   2/22/2021 OB   2/26/2021 WN;4551;PHL;BNA;WN;2220;BNA;STL;WN;2220;STL;MCONORTH STACEY            ID              US   33280 138528445@KACHIPYTEL.COM
47XFGW   2/22/2021 OB    5/9/2021 WN;474;CHS;MDW;WN;2634;MDW;FLL                  EAST BIANCAVIEW        NJ              US   84452 138529028@KACHIPYTEL.COM
48BYJO   2/22/2021 OB   2/22/2021 WN;3075;MIA;BWI;WN;953;BWI;ATL                  HOWARDPORT             UT              US   95913 138529413@KACHIPYTEL.COM
48DUB2   2/22/2021 OB    3/5/2021 WN;3348;LGA;ATL;WN;55;ATL;DAL                   WEST SELENA            VT              US   27046 138529490@KACHIPYTEL.COM
48NXXS   2/22/2021 OB   3/10/2021 WN;3879;LIT;DAL;WN;3209;DAL;STL                 LAKE ROBERTBOROUGH     OR              US   47462 138530073@KACHIPYTEL.COM
48OI7D   2/22/2021 OB   2/24/2021 WN;5034;MDW;BWI;WN;3984;BWI;FLL                 BLACKCHESTER           AK              US   83898 138530337@KACHIPYTEL.COM
48QWFN   2/22/2021 OB    3/2/2021 WN;328;CUN;HOU;WN;427;HOU;MCI                   DELACRUZVILLE          MN              US   71156 138530535@AIRLINE.KIWI.COM
48WKQ5   2/22/2021 OB   2/28/2021 WN;470;CLE;BWI;WN;3984;BWI;FLL                  TINAFURT               DE              US   19829 138530766@KACHIPYTEL.COM
49S65X   2/22/2021 OB    3/7/2021 WN;1432;SEA;SJC;WN;1221;SJC;DEN                 TNNNPAAT               LAKSHADWEEP     IN   84026 138532317@KACHIPYTEL.COM
4A66VD   2/22/2021 OB   7/13/2021 WN;3292;COS;LAS                                 WEST RICHARDTOWN       AL              US   36388 138532702@AIRLINE.KIWI.COM
4A66VD   2/22/2021 OB   7/13/2021 WN;3292;COS;LAS                                 WEST RICHARDTOWN       AL              US   36388 138532702@AIRLINE.KIWI.COM




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4A66VD   2/22/2021   RT   7/17/2021   WN;2539;LAS;COS                                 WEST RICHARDTOWN       AL                  US   36388   138532702@AIRLINE.KIWI.COM
4A66VD   2/22/2021   RT   7/17/2021   WN;2539;LAS;COS                                 WEST RICHARDTOWN       AL                  US   36388   138532702@AIRLINE.KIWI.COM
4AAIGI   2/22/2021   OB    3/1/2021   WN;3967;MCO;BWI;WN;3354;BWI;PWM                 PORT LAUREN            NJ                  US    1349   138533065@KACHIPYTEL.COM
4ACCRD   2/22/2021   OB   2/23/2021   WN;715;ATL;BWI;WN;715;BWI;BUF                   ROSEFURT               NJ                  US   38702   138533120@AIRLINE.KIWI.COM
4ACCRD   2/22/2021   OB   2/23/2021   WN;715;ATL;BWI;WN;715;BWI;BUF                   ROSEFURT               NJ                  US   38702   138533120@AIRLINE.KIWI.COM
4AGZRV   2/22/2021   OB   2/24/2021   WN;3247;MCI;LAS;WN;3337;LAS;PDX                 SOUTH JASON            NE                  US   40811   138533692@KACHIPYTEL.COM
4AKH9Q   2/22/2021   OB   2/27/2021   WN;3290;LAS;MCI                                 EAST JESSICA           DE                  US   12688   138533692@AIRLINE.KIWI.COM
4ARCTF   2/22/2021   OB   2/23/2021   WN;3191;FLL;BWI;WN;953;BWI;ATL                  PORT NICOLEMOUTH       CT                  US   57954   138533967@KACHIPYTEL.COM
4AS9YZ   2/22/2021   OB   2/26/2021   WN;4393;OMA;LAS;WN;1556;LAS;TUS;WN;1556;TUS;DENEAST JOSE               RI                  US    9544   138534341@KACHIPYTEL.COM
4AS9YZ   2/22/2021   OB   2/26/2021   WN;4393;OMA;LAS;WN;1556;LAS;TUS;WN;1556;TUS;DENEAST JOSE               RI                  US    9544   138534341@KACHIPYTEL.COM
4AVLOZ   2/22/2021   OB   2/26/2021   WN;4393;OMA;LAS;WN;1556;LAS;TUS;WN;1556;TUS;DENBOOTHSHIRE              SD                  US   10057   138534341@KACHIPYTEL.COM
4B7PI2   2/22/2021   OB   2/27/2021   WN;1494;BUF;BWI;WN;2953;BWI;BOS                 SOUTH WDWDBURY         HEBRON              PS   37505   138533197@KACHIPYTEL.COM
4BL8XY   2/22/2021   OB   2/23/2021   WN;1017;GEG;LAS;WN;2402;LAS;TUS                 ESTRADASIDE            MT                  US   91610   138534275@KACHIPYTEL.COM
4BP8LB   2/22/2021   OB    3/1/2021   WN;3124;DTW;BNA;WN;2438;BNA;MCO                 GARCIAMOUTH            WA                  US   50220   138535782@KACHIPYTEL.COM
4C56V6   2/22/2021   OB   2/26/2021   WN;4393;OMA;LAS;WN;1556;LAS;TUS;WN;1556;TUS;DENPORT KATHY              HI                  US   78052   138534341@KACHIPYTEL.COM
4C66CT   2/22/2021   OB   2/22/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY                 CAMPBELLSIDE           TN                  US   84457   138536530@KACHIPYTEL.COM
4CG7B6   2/22/2021   OB   2/22/2021   WN;4287;LAX;SMF;WN;4873;SMF;LAS                 JASONLAND              MD                  US   65938   138537047@KACHIPYTEL.COM
4CMXYX   2/22/2021   OB    3/2/2021   WN;4692;LAS;SAN;WN;1877;SAN;SFO                 NORTH PATRICK          AR                  US   56897   138537410@KACHIPYTEL.COM
4CO3GV   2/22/2021   OB    3/6/2021   WN;41;DAL;HOU;WN;3712;HOU;LAX                   CHARLESTON             NV                  US   62193   138537630@KACHIPYTEL.COM
4CRPDX   2/22/2021   OB   2/23/2021   WN;2042;ATL;HOU;WN;3294;HOU;MIA                 FERGUSONBOROUGH        HI                  US   85526   138537597@KACHIPYTEL.COM
4DA78O   2/22/2021   OB   2/28/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS                 TANNERBURGH            ME                  US   12535   138538554@KACHIPYTEL.COM
4DEBUP   2/22/2021   OB   3/17/2021   WN;487;DAL;SJC;WN;1422;SJC;LGB                  JAMESSTAD              LA                  US   82961   138538532@KACHIPYTEL.COM
4DLHQ8   2/22/2021   OB   2/24/2021   WN;3989;MCO;MDW;WN;2558;MDW;BOS                 LAKE ALEXIS            AZ                  US   65107   138538796@KACHIPYTEL.COM
4DLHQ8   2/22/2021   OB   2/24/2021   WN;3989;MCO;MDW;WN;2558;MDW;BOS                 LAKE ALEXIS            AZ                  US   65107   138538796@KACHIPYTEL.COM
4DWFZU   2/22/2021   OB   2/23/2021   WN;3239;BWI;LAS;WN;3239;LAS;LAX;WN;4287;LAX;SMF LOVEMOUTH              OR                  US   25322   138539786@KACHIPYTEL.COM
4DYOJT   2/22/2021   OB   2/26/2021   WN;2408;SEA;SJC;WN;1564;SJC;PHX                 KRUUR KRUUR MAAVTTTT   DAMAN AND DIU       IN   15081   138540171@KACHIPYTEL.COM
4EK6SH   2/22/2021   OB   4/22/2021   WN;1078;OKC;ATL;WN;2492;ATL;HOU                 LAURENBURGH            SC                  US   66431   138541315@KACHIPYTEL.COM
4EKKQD   2/22/2021   OB   2/23/2021   WN;4596;PHX;LAS;WN;1900;LAS;SEA                 NORTH AARON            OR                  US   26841   138541117@KACHIPYTEL.COM
4EP9KJ   2/22/2021   OB   4/26/2021   WN;3600;ATL;OKC;WN;3602;OKC;BNA                 THOMASBERG             NM                  US   77449   138541315@KACHIPYTEL.COM
4FO9TI   2/22/2021   OB    3/1/2021   WN;4743;ATL;AUS;WN;800;AUS;DAL                  NEW JOHN               GREATER ACCRA       GH   43061   138544989@KACHIPYTEL.COM
4FSAGP   2/22/2021   OB   2/23/2021   WN;2234;LAX;STL;WN;1894;STL;MCO                 WEST BRIAN             MD                  US   76315   138545275@KACHIPYTEL.COM
4FVV42   2/22/2021   OB   2/23/2021   WN;3663;LAS;MDW;WN;2636;MDW;MSP                 ROBERTFORT             MA                  US   66736   138545308@KACHIPYTEL.COM
4FWKFW   2/22/2021   OB   2/22/2021   WN;3203;FLL;DAL;WN;2683;DAL;BHM                 SOUTH JUSTIN           IL                  US   81987   138545253@KACHIPYTEL.COM
4HOK5O   2/22/2021   OB   2/23/2021   WN;2651;LAX;DEN;WN;2587;DEN;RNO                 NEW SAMANTHA           ND                  US   28867   138552964@KACHIPYTEL.COM
4IE52E   2/22/2021   OB   2/22/2021   WN;800;PHX;AUS;WN;4065;AUS;LGB                  LAKE ZOEBERG           IN                  US   15958   138555395@KACHIPYTEL.COM
4KQRHD   2/22/2021   OB   2/23/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                 PORT BRITTANY          CA                  US   78583   138567242@KACHIPYTEL.COM
4LA7S4   2/22/2021   OB   2/22/2021   WN;715;ATL;BWI;WN;3984;BWI;FLL                  PAMELAPORT             HI                  US   66510   138570047@KACHIPYTEL.COM
4LKQYG   2/22/2021   OB   2/23/2021   WN;3663;LAS;MDW;WN;2636;MDW;MSP                 BERRYSHIRE             CO                  US   79978   138571004@KACHIPYTEL.COM
4LV5ET   2/22/2021   OB   2/23/2021   WN;3663;LAS;MDW;WN;2636;MDW;MSP                 WEST JUDY              NY                  US   52745   138572093@KACHIPYTEL.COM
4LXN5Q   2/22/2021   OB   2/23/2021   WN;3663;LAS;MDW;WN;2636;MDW;MSP                 KNAPPTOWN              SC                  US   69203   138572863@KACHIPYTEL.COM
4M3FSK   2/22/2021   OB   2/23/2021   WN;2576;FLL;MDW;WN;2576;MDW;DTW                 LAKE MARIEBURGH        NC                  US   23569   138572885@AIRLINE.KIWI.COM
4M86RG   2/22/2021   OB   2/23/2021   WN;3587;DTW;BNA;WN;2618;BNA;ATL                 EAST MICHELLE          AK                  US   48818   138573358@KACHIPYTEL.COM
4MD46J   2/22/2021   OB   2/25/2021   WN;4536;PDX;PHX;WN;1557;PHX;SNA                 WEST NICHOLASFORT      NV                  US   61816   138573798@KACHIPYTEL.COM
4MIK44   2/22/2021   OB   2/26/2021   WN;2841;DAL;DEN;WN;1270;DEN;ORD                 KATELYNBURY            GA                  US    1982   138574777@KACHIPYTEL.COM
4MIK44   2/22/2021   OB   2/26/2021   WN;2841;DAL;DEN;WN;1270;DEN;ORD                 KATELYNBURY            GA                  US    1982   138574777@KACHIPYTEL.COM
4MLIF6   2/22/2021   OB   2/24/2021   WN;2255;BOS;BWI;WN;1597;BWI;ORD                 MATTHEWBURY            HI                  US   77591   138575602@KACHIPYTEL.COM
4MMK79   2/22/2021   OB    3/1/2021   WN;3239;BWI;LAS;WN;2073;LAS;LGB                 ISABELLABURGH          MN                  US   42005   138575129@KACHIPYTEL.COM
4MWK63   2/22/2021   OB    4/5/2021   WN;1324;MIA;BWI;WN;918;BWI;MBJ                  WEST SHIRLEY           CT                  US   11856   138575767@KACHIPYTEL.COM
4MWK63   2/22/2021   OB    4/5/2021   WN;1324;MIA;BWI;WN;918;BWI;MBJ                  WEST SHIRLEY           CT                  US   11856   138575767@KACHIPYTEL.COM
4NB5G4   2/22/2021   OB   4/28/2021   WN;1963;TUS;MDW;WN;2108;MDW;SEA                 SUSANHAVEN             MI                  US   57282   138578297@KACHIPYTEL.COM
4NCX88   2/22/2021   OB   2/23/2021   WN;1909;DCA;BNA;WN;1909;BNA;SAT;WN;2243;SAT;PHXFULLERFURT              NE                  US   53136   138578583@KACHIPYTEL.COM
4NFMPV   2/22/2021   OB   2/22/2021   WN;400;LAS;LAX                                  PEGGYFORT              SC                  US    1448   138578572@AIRLINE.KIWI.COM
4NLOSL   2/22/2021   OB   2/23/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO                  ALEXANDERBERG          MA                  US   64227   138580497@KACHIPYTEL.COM
4O7GCW   2/22/2021   OB   3/22/2021   WN;2006;DCA;BNA;WN;5107;BNA;MCO                 PORT JOSHUA            WV                  US   76848   138583346@KACHIPYTEL.COM
4O7GCW   2/22/2021   OB   3/22/2021   WN;2006;DCA;BNA;WN;5107;BNA;MCO                 PORT JOSHUA            WV                  US   76848   138583346@KACHIPYTEL.COM
4O8TWU   2/22/2021   OB   3/24/2021   WN;1813;BNA;DCA;WN;1910;DCA;MDW                 KANELAND               IL                  US   23565   138583346@KACHIPYTEL.COM
4O8TWU   2/22/2021   OB   3/24/2021   WN;1813;BNA;DCA;WN;1910;DCA;MDW                 KANELAND               IL                  US   23565   138583346@KACHIPYTEL.COM
4O9SO5   2/22/2021   OB   2/25/2021   WN;4833;GEG;DEN;WN;3532;DEN;TUS                 REEDTON                ID                  US   78503   138583687@KACHIPYTEL.COM
4OA7K5   2/22/2021   OB    3/1/2021   WN;4187;MSY;DEN                                 LAKE JOSEFURT          CO                  US   79370   138583720@AIRLINE.KIWI.COM
4OAVYX   2/22/2021   OB   2/23/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF                  OSTROW WIELKOPOLSKI    MALOPOLSKIE         PL   50441   138583489@KACHIPYTEL.COM
4OEYSA   2/22/2021   OB   2/28/2021   WN;1383;SAN;OAK;WN;1521;OAK;DEN                 NORTH MARY             CO                  US   45593   138584512@KACHIPYTEL.COM
4OJDA5   2/22/2021   OB   2/24/2021   WN;3663;LAS;MDW;WN;2636;MDW;MSP                 LAKE CHRISTINE         IN                  US   10903   138585095@KACHIPYTEL.COM
4OJDA5   2/22/2021   OB   2/24/2021   WN;3663;LAS;MDW;WN;2636;MDW;MSP                 LAKE CHRISTINE         IN                  US   10903   138585095@KACHIPYTEL.COM
4OKKQZ   2/22/2021   OB   3/24/2021   WN;1071;MCO;BNA;WN;1260;BNA;DCA                 SAMANTHABOROUGH        OH                  US   52474   138585381@KACHIPYTEL.COM
4OQEVK   2/22/2021   OB    3/1/2021   WN;3803;JAX;ATL;WN;2746;ATL;FLL                 EAST BARBARA           MA                  US   94404   138586327@KACHIPYTEL.COM
4OUBX3   2/22/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   WEST MICHAELLAND       CA                  US   90069   138586712@KACHIPYTEL.COM
4OXS4T   2/22/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   LAKE ADAM              CA                  US   32010   138587185@KACHIPYTEL.COM
4P865T   2/22/2021   OB   2/22/2021   WN;2084;LAS;LAX                                 HORNEMOUTH             CO                  US   86211   138587889@AIRLINE.KIWI.COM
4P9DY7   2/22/2021   OB   2/23/2021   WN;1125;LAS;OAK;WN;4285;OAK;LAX                 MICHAEL VILLE          AGUSAN DEL SUR      PH   17028   138588285@KACHIPYTEL.COM
4PA8XQ   2/22/2021   OB   2/23/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP                 EAST OLIVIA            NORTH TYNESIDE      GB   12953   138588252@KACHIPYTEL.COM
4PBA2S   2/22/2021   OB   2/27/2021   WN;3196;ATL;SAT;WN;3201;SAT;DAL                 JEFFREYFURT            VA                  US   64041   138588802@KACHIPYTEL.COM
4PBHEJ   2/22/2021   OB   2/23/2021   WN;4191;MSP;MDW;WN;867;MDW;LAS                  EAST JOHNNY            SD                  US   93695   138588681@KACHIPYTEL.COM
4PHC7Q   2/22/2021   OB   2/23/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                 PORT BRETT             TX                  US   15431   138589649@KACHIPYTEL.COM
4PLAOD   2/22/2021   OB   2/22/2021   WN;2084;LAS;LAX                                 SOUTH ANNTOWN          CO                  US   56683   138589836@AIRLINE.KIWI.COM
4PPAA7   2/22/2021   OB   2/24/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS                 AMANDASHIRE            FL                  US   46707   138590595@KACHIPYTEL.COM
4PU3HL   2/22/2021   OB   2/23/2021   WN;3714;LAX;BWI;WN;5034;BWI;MSY                 NORTH MARKMOUTH        FL                  US    9109   138591079@KACHIPYTEL.COM
4Q2WVM   2/22/2021   OB   2/22/2021   WN;3172;TUS;LAS;WN;4827;LAS;SMF                 LAKE STEPHANIE         TN                  US   97025   138592355@AIRLINE.KIWI.COM
4Q33LA   2/22/2021   OB   2/22/2021   WN;4827;LAS;SMF                                 FRITZBOROUGH           ID                  US    4483   138591596@AIRLINE.KIWI.COM
4Q3W97   2/22/2021   OB   2/24/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY                 WEST DARYLTOWN         PA                  US   81493   138591827@KACHIPYTEL.COM
4Q3W97   2/22/2021   OB   2/24/2021   WN;3276;LAX;BNA;WN;4773;BNA;MSY                 WEST DARYLTOWN         PA                  US   81493   138591827@KACHIPYTEL.COM
4QR8WT   2/22/2021   OB   2/24/2021   WN;3585;JAX;BNA;WN;2978;BNA;BOS                 NORTH DONNALAND        KS                  US   43411   138595479@KACHIPYTEL.COM
4QS8CC   2/22/2021   OB   2/25/2021   WN;4042;FLL;BWI;WN;680;BWI;MDW                  DAVIDFURT              ID                  US   88685   138596007@KACHIPYTEL.COM
4QW6ME   2/22/2021   OB   3/14/2021   WN;1241;BNA;DCA;WN;1242;DCA;MDW                 FRYCHESTER             KY                  US   49074   138596073@KACHIPYTEL.COM
4R98VI   2/22/2021   OB    3/2/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO                 JACOBBOROUGH           MA                  US   68386   138597767@KACHIPYTEL.COM
4R98VI   2/22/2021   OB    3/2/2021   WN;2664;BOS;BNA;WN;2522;BNA;MCO                 JACOBBOROUGH           MA                  US   68386   138597767@KACHIPYTEL.COM
4RBIZI   2/22/2021   OB   3/14/2021   WN;758;FLL;STL;WN;737;STL;LAX                   SOUTH YVONNECHESTER    RI                  US   56432   138598306@KACHIPYTEL.COM
4RBOBA   2/22/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   KEYMOUTH               OH                  US    4619   138598020@KACHIPYTEL.COM
4RBOBA   2/22/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   KEYMOUTH               OH                  US    4619   138598020@KACHIPYTEL.COM
4RHH2X   2/22/2021   OB    3/8/2021   WN;156;ATL;SDF;WN;156;SDF;BWI;WN;1052;BWI;TPA NEW DARRELL              MO                  US   37232   138580552@AIRLINE.KIWI.COM
4RHH2X   2/22/2021   OB    3/8/2021   WN;156;ATL;SDF;WN;156;SDF;BWI;WN;1052;BWI;TPA NEW DARRELL              MO                  US   37232   138580552@AIRLINE.KIWI.COM
4RN3VG   2/22/2021   OB   2/23/2021   WN;2500;FLL;BNA;WN;1966;BNA;ATL                 DALEBURGH              WI                  US   58439   138600011@KACHIPYTEL.COM
4ROLEP   2/22/2021   OB   5/15/2021   WN;4175;BWI;LAS;WN;1203;LAS;LGB                 MCNEILFURT             KS                  US   39243   138599549@KACHIPYTEL.COM
4ROLEP   2/22/2021   OB   5/15/2021   WN;4175;BWI;LAS;WN;1203;LAS;LGB                 MCNEILFURT             KS                  US   39243   138599549@KACHIPYTEL.COM
4RQ9WV   2/22/2021   OB    3/2/2021   WN;4494;PBI;BWI;WN;4768;BWI;MHT                 NORTH BECKYSTAD        MD                  US   58911   138599637@KACHIPYTEL.COM
4RQWLP   2/22/2021   OB   2/23/2021   WN;4608;LAX;OAK;WN;4862;OAK;LAS                 DAVIDBOROUGH           WA                  US   91721   138600242@KACHIPYTEL.COM
4RR3T8   2/22/2021   OB   2/23/2021   WN;4118;FLL;MDW;WN;2708;MDW;ATL                 CARNEYVILLE            WY                  US   24642   138599857@KACHIPYTEL.COM
4RVXL6   2/22/2021   OB   2/22/2021   WN;3539;PHX;STL                                 LEETON                 CT                  US    7853   138003382@KACHIPYTEL.COM
4RWB3E   2/22/2021   OB   2/23/2021   WN;824;LAX;SJC;WN;3278;SJC;LAS                  AAMPUUR                JAMMU AND KASHMIR   IN   93617   138600935@KACHIPYTEL.COM
4S9EIL   2/22/2021   OB   2/23/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP                 RICHARDTOWN            WI                  US   80654   138601650@KACHIPYTEL.COM
4SMMYJ   2/22/2021   OB   3/28/2021   WN;5101;MCO;BNA;WN;2061;BNA;RSW                 WEST BRETTPORT         CT                  US   52813   138603047@KACHIPYTEL.COM
4SUAQ3   2/22/2021   OB   2/24/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS                 MATTHEWFORT            AR                  US   14120   138604235@KACHIPYTEL.COM
4SUAQ3   2/22/2021   OB   2/24/2021   WN;1900;SEA;SMF;WN;4873;SMF;LAS                 MATTHEWFORT            AR                  US   14120   138604235@KACHIPYTEL.COM
4TGVZS   2/22/2021   OB   2/23/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP                 PORT SAMANTHASIDE      TX                  US   26804   138606204@KACHIPYTEL.COM
4TIEL6   2/22/2021   OB   3/28/2021   WN;1096;LGA;STL;WN;1540;STL;TUL;WN;1540;TUL;DAL SOUTH WHITNEYSHIRE     OR                  US    1970   138606149@KACHIPYTEL.COM
4TM657   2/22/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   EAST DANALAND          SD                  US    1783   138606754@KACHIPYTEL.COM
4TM657   2/22/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   EAST DANALAND          SD                  US    1783   138606754@KACHIPYTEL.COM
4TN3OM   2/22/2021   OB   2/26/2021   WN;2234;LAX;STL;WN;4099;STL;ATL;WN;4099;ATL;PHL NORTH THOMAS           NV                  US   25236   138606886@KACHIPYTEL.COM
4TOFM9   2/22/2021   OB   2/28/2021   WN;3804;LGA;STL;WN;5072;STL;FLL                 REBECCAMOUTH           CO                  US   76887   138606149.1552985@KACHIPYTEL.COM
4TYOLV   2/22/2021   OB   2/23/2021   WN;5084;LAS;OAK;WN;4096;OAK;SEA                 WEST MARK              MA                  US   98744   138607502@KACHIPYTEL.COM
4TZ5ZC   2/22/2021   OB   2/28/2021   WN;4559;DEN;SJC;WN;4464;SJC;ONT                 EAST DONALDFORT        NY                  US   38022   138607403@KACHIPYTEL.COM
4U5AU9   2/22/2021   OB   2/23/2021   WN;1569;LAS;SNA;WN;1154;SNA;SMF;WN;1154;SMF;SEA LAURAFURT              RI                  US   59638   138608162@KACHIPYTEL.COM
4U6USX   2/22/2021   OB   4/12/2021   WN;961;LAX;ATL                                  NORTH LISA             VT                  US   53082   138608217@AIRLINE.KIWI.COM
4U7OAM   2/22/2021   OB    4/9/2021   WN;3866;ATL;PHX;WN;1598;PHX;LGB                 SAMANTHABOROUGH        NM                  US   42400   138608019@KACHIPYTEL.COM
4UEE7Q   2/23/2021   OB    3/8/2021   WN;585;BOI;LAS;WN;348;LAS;LGB                   THOMASSTAD             MD                  US   17231   138608404@KACHIPYTEL.COM
4UEE7Q   2/23/2021   OB    3/8/2021   WN;585;BOI;LAS;WN;348;LAS;LGB                   THOMASSTAD             MD                  US   17231   138608404@KACHIPYTEL.COM
4UEE7Q   2/23/2021   OB    3/8/2021   WN;585;BOI;LAS;WN;348;LAS;LGB                   THOMASSTAD             MD                  US   17231   138608404@KACHIPYTEL.COM




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4UFAJY   2/23/2021   OB   2/24/2021   WN;776;LAS;MDW;WN;3167;MDW;MSP                  NEW JESSICABERG        CT                   US   55624   138607359@KACHIPYTEL.COM
4UHGN7   2/23/2021   OB    3/9/2021   WN;1990;ATL;BWI;WN;4749;BWI;TPA                 LAKE JENNIFER          HI                   US   21770   138608635@KACHIPYTEL.COM
4UK4CF   2/23/2021   OB    3/2/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA                  BRITTANYMOUTH          MD                   US    3037   138608767@KACHIPYTEL.COM
4UK4CF   2/23/2021   OB    3/2/2021   WN;3714;LAX;BWI;WN;102;BWI;MIA                  BRITTANYMOUTH          MD                   US    3037   138608767@KACHIPYTEL.COM
4UMGF6   2/23/2021   OB    3/8/2021   WN;1869;DTW;PHX;WN;1222;PHX;LAS                 NICOLETON              AR                   US   30514   138608998@KACHIPYTEL.COM
4UMI8K   2/23/2021   OB   2/23/2021   WN;479;BWI;LAX;WN;1149;LAX;SMF                  SILVACHESTER           MO                   US   21365   138609317@KACHIPYTEL.COM
4UOK7G   2/23/2021   OB   2/24/2021   WN;2590;MDW;LAS;WN;1478;LAS;GEG                 BARRETTBURGH           NC                   US   71884   138609306@KACHIPYTEL.COM
4US3JW   2/23/2021   OB   3/10/2021   WN;3191;FLL;BWI;WN;1923;BWI;BOS                 BARRETTBURGH           NH                   US   71884   138609394@KACHIPYTEL.COM
4USALM   2/23/2021   OB   2/24/2021   WN;2107;TPA;BWI;WN;2510;BWI;BOS                 NORTH BRITTANYBERG     VA                   US   14376   138609361@KACHIPYTEL.COM
4UUTT8   2/23/2021   OB   2/23/2021   WN;436;SAT;LAS;WN;3337;LAS;PDX                  NEW LEIGH              BARNET               GB   53542   138610076@KACHIPYTEL.COM
4V2Y89   2/23/2021   OB    3/3/2021   WN;2661;TPA;LAS;WN;1478;LAS;GEG                 NUEVA AUSTRIA          OAXACA               MX   66661   138610142@KACHIPYTEL.COM
4V2Y89   2/23/2021   OB    3/3/2021   WN;2661;TPA;LAS;WN;1478;LAS;GEG                 NUEVA AUSTRIA          OAXACA               MX   66661   138610142@KACHIPYTEL.COM
4V3VK9   2/23/2021   OB   2/26/2021   WN;3223;LAS;MDW;WN;3167;MDW;MSP                 EDWARDBURY             CT                   US    5740   138610571@KACHIPYTEL.COM
4V4993   2/23/2021   OB   2/28/2021   WN;4519;ORD;DAL;WN;2199;DAL;FLL                 KIMBURY                DE                   US   93915   138610582@KACHIPYTEL.COM
4V6MO2   2/23/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   PORT CRYSTALLAND       NH                   US   60603   138610439@KACHIPYTEL.COM
4V6MO2   2/23/2021   OB    3/5/2021   WN;3343;LGA;ATL;WN;35;ATL;DAL                   PORT CRYSTALLAND       NH                   US   60603   138610439@KACHIPYTEL.COM
4V877M   2/23/2021   OB   2/23/2021   WN;2028;AUS;LAS;WN;3326;LAS;PDX                 LAKE BRENDAFORT        HI                   US   46666   138611011@KACHIPYTEL.COM
4VALQU   2/23/2021   OB   3/16/2021   WN;1026;SAN;BNA;WN;668;BNA;FLL                  TIRUVNNNNTPURM         TAMIL NADU           IN   83464   138611033@KACHIPYTEL.COM
4VALQU   2/23/2021   OB   3/16/2021   WN;1026;SAN;BNA;WN;668;BNA;FLL                  TIRUVNNNNTPURM         TAMIL NADU           IN   83464   138611033@KACHIPYTEL.COM
4VDZCV   2/23/2021   OB   4/10/2021   WN;1907;TPA;DEN;WN;1908;DEN;SEA                 DAVIDBURY              MO                   US   33968   138610923@AIRLINE.KIWI.COM
4VDZCV   2/23/2021   OB   4/10/2021   WN;1907;TPA;DEN;WN;1908;DEN;SEA                 DAVIDBURY              MO                   US   33968   138610923@AIRLINE.KIWI.COM
4VJH3Q   2/23/2021   OB    3/1/2021   WN;2003;ATL;BWI;WN;4505;BWI;FLL                 ANTHONYBOROUGH         NY                   US   72266   138612034@KACHIPYTEL.COM
4VK5LT   2/23/2021   OB   2/23/2021   WN;4118;FLL;MDW;WN;2708;MDW;ATL                 NEW PAUL               AR                   US   32395   138611979@KACHIPYTEL.COM
4VXK34   2/23/2021   OB   2/23/2021   WN;2576;FLL;MDW;WN;2195;MDW;CLE                 PORT JENNIFERFURT      CA                   US   15465   138612705@KACHIPYTEL.COM
4W3KGN   2/23/2021   OB   3/27/2021   WN;2549;BOS;BNA;WN;55;BNA;TPA                   NAAKRKOOVIL            PUDUCHERRY           IN    7751   138613354@KACHIPYTEL.COM
4W9O2C   2/23/2021   OB   2/25/2021   WN;2755;BWI;LAS;WN;3337;LAS;PDX                 SHARIBURGH             KS                   US   31061   138613827@KACHIPYTEL.COM
4WALGD   2/23/2021   OB   3/19/2021   WN;1727;BWI;OAK;WN;1589;OAK;LGB                 JOHNSONSIDE            NJ                   US   93613   138613607@KACHIPYTEL.COM
4WCWDK   2/23/2021   OB   2/27/2021   WN;1916;BOS;BNA;WN;1699;BNA;MCO                 AJMIIR                 WEST BENGAL          IN   78402   138614223@KACHIPYTEL.COM
4WITG4   2/23/2021   OB    5/3/2021   WN;772;ABQ;BOS                                  EAST AUSTINMOUTH       CO                   US    5357   138613717@AIRLINE.KIWI.COM
4WPZAQ   2/23/2021   OB   2/24/2021   WN;2814;STL;SMF;WN;4987;SMF;PDX                 SELISHCHE PANTELEIMO   ZHYTOMYRSKA OBLAST   UA   73958   138615114@KACHIPYTEL.COM
4WT96I   2/23/2021   OB   2/23/2021   WN;3749;LAX;MDW;WN;5034;MDW;BWI;WN;5034;BWI;M   COREYTON               CA                   US   31300   138615235@KACHIPYTEL.COM
4WT96I   2/23/2021   OB   2/23/2021   WN;3749;LAX;MDW;WN;5034;MDW;BWI;WN;5034;BWI;M   COREYTON               CA                   US   31300   138615235@KACHIPYTEL.COM
4WVD9E   2/23/2021   OB   2/23/2021   WN;4131;MIA;HOU;WN;2609;HOU;ATL                 NORTH BLAKE            NC                   US   32974   138615510@KACHIPYTEL.COM
4WYDSX   2/23/2021   OB   2/23/2021   WN;2051;ATL;MDW;WN;3306;MDW;MIA                 RACHELHAVEN            AZ                   US   78379   138616027@KACHIPYTEL.COM
4X6OFK   2/23/2021   OB   2/23/2021   WN;3167;MSP;DEN;WN;1966;DEN;LAS                 SMITHTON               VT                   US   19930   138616489@KACHIPYTEL.COM
4X7OTR   2/23/2021   OB    3/3/2021   WN;4912;SLC;LAS;WN;2999;LAS;DEN                 SOUTH ROBERTCHESTER    PA                   US   69282   138616632@KACHIPYTEL.COM
4XA972   2/23/2021   OB   2/28/2021   WN;2234;LAX;STL;WN;3301;STL;FLL                 EAST JACQUELINEFURT    AL                   US   40423   138616753@KACHIPYTEL.COM
4XCTZE   2/23/2021   OB   3/12/2021   WN;626;MCO;STL;WN;1331;STL;LGA                  KARENVILLE             MN                   US   15054   138617061@KACHIPYTEL.COM
4XJFJS   2/23/2021   OB   2/23/2021   WN;735;PHX;MDW;WN;1459;MDW;DCA                  WEST RODNEYHAVEN       NV                   US   61925   138617281@KACHIPYTEL.COM
4XRU5M   2/23/2021   OB    3/1/2021   WN;2247;CLT;BWI;WN;1633;BWI;MCO                 EAST THOMASFURT        IN                   US   96735   138617721@KACHIPYTEL.COM
4Y4VGC   2/23/2021   OB   2/23/2021   WN;4118;FLL;MDW;WN;2708;MDW;ATL                 NEW SIERRASHIRE        IN                   US   18420   138618502@KACHIPYTEL.COM
4YDLDL   2/23/2021   OB   4/13/2021   WN;1402;LAS;PDX                                 GORDONVIEW             KS                   US   51216   138619019@AIRLINE.KIWI.COM
4YDLDL   2/23/2021   OB   4/13/2021   WN;1402;LAS;PDX                                 GORDONVIEW             KS                   US   51216   138619019@AIRLINE.KIWI.COM
4YGKSG   2/23/2021   OB   2/27/2021   WN;2749;IND;FLL;WN;4658;FLL;MCI                 NORTH LOGANMOUTH       VA                   US   14332   138619107@KACHIPYTEL.COM
4YIFZ7   2/23/2021   OB   3/28/2021   WN;1518;TPA;DCA                                 SOUTH JASONFURT        WY                   US   26274   138619569@AIRLINE.KIWI.COM
4YIFZ7   2/23/2021   OB   3/28/2021   WN;1518;TPA;DCA                                 SOUTH JASONFURT        WY                   US   26274   138619569@AIRLINE.KIWI.COM
4YVGY2   2/23/2021   OB   2/23/2021   WN;4118;FLL;MDW;WN;2708;MDW;ATL                 PORT JOSHUA            MD                   US   10997   138620262@KACHIPYTEL.COM
4YVQWC   2/23/2021   OB   3/26/2021   WN;590;DCA;STL;WN;1551;STL;AUS                  PERKINSCHESTER         ND                   US   18097   138620284@AIRLINE.KIWI.COM
4YW6LF   2/23/2021   OB   3/24/2021   WN;760;HOU;LAX;WN;760;LAX;SFO                   NORTH TANYABURGH       NC                   US   65530   138620196@AIRLINE.KIWI.COM
4YW6LF   2/23/2021   OB   3/24/2021   WN;760;HOU;LAX;WN;760;LAX;SFO                   NORTH TANYABURGH       NC                   US   65530   138620196@AIRLINE.KIWI.COM
4YYSPO   2/23/2021   OB   2/26/2021   WN;2247;CLT;BWI;WN;3160;BWI;MCO                 MARIASIDE              WI                   US   71682   138620394@KACHIPYTEL.COM
4YZA4B   2/23/2021   OB   2/23/2021   WN;735;PHX;MDW;WN;1459;MDW;DCA                  KERRTOWN               FL                   US   71433   138620955@KACHIPYTEL.COM
4Z22RH   2/23/2021   OB   2/23/2021   WN;4118;MDW;PHX;WN;4945;PHX;OMA                 WRIGHTBURGH            LA                   US   55739   138621120@KACHIPYTEL.COM
4Z5ML4   2/23/2021   OB   2/27/2021   WN;3351;OMA;STL;WN;4507;STL;ICT;WN;4507;ICT;DEN NORTH HEIDI            WV                   US   54742   138620889@KACHIPYTEL.COM
4Z5ML4   2/23/2021   OB   2/27/2021   WN;3351;OMA;STL;WN;4507;STL;ICT;WN;4507;ICT;DEN NORTH HEIDI            WV                   US   54742   138620889@KACHIPYTEL.COM
4Z5YHL   2/23/2021   OB   3/10/2021   WN;309;MSP;LAS;WN;397;LAS;PHX                   PIN CHUAN QU           KUMAMOTO             JP   54424   138621175@KACHIPYTEL.COM
4Z9RJD   2/23/2021   OB   2/25/2021   WN;516;ORD;DEN                                  NEW KIMBERLY           MSIDA                MT   40894   138621472@AIRLINE.KIWI.COM
4ZCDAV   2/23/2021   OB   2/23/2021   WN;360;ATL;BWI;WN;4435;BWI;MCO                  EAST RYANBURY          TX                   US   11142   138621560@KACHIPYTEL.COM
4ZY6T9   2/23/2021   OB   2/26/2021   WN;4426;STL;BNA;WN;2500;BNA;DEN                 NORTH ANDREWBURY       AK                   US   78695   138623166@KACHIPYTEL.COM




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                   EXHIBIT D




                                                                             Appx. 429
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SOUTHWEST AIRLINES CO.,                        §
                                                §
        Plaintiff,                              §
                                                §
 v.                                             §
                                                     Civil Action No. 3:21-cv-00098-E
                                                §
 KIWI.COM, INC. and KIWI.COM S.R.O.,            §
                                                §
        Defendants.                             §
                                                §


                         DECLARATION OF BILJANA OBRENIC


       I, Biljana Obrenic, being duly sworn, state as follows:

       1.      My name is Biljana OBrenic and I am a Senior Manager – Standards & Compliance

in the Ground Operations Department at Southwest Airlines Co. (“Southwest”).

       2.      As part of my duties as a Senior Manager in Ground Operations, I am

knowledgeable of Southwest’s business, policies, manuals, and training relating to Southwest’s

ground operations, including duties performed by employees such as Customer Service Agents,

Operations Agents, Ramp Agents, and Provisioning Agents (collectively, “Ground Operations

Employees”).

       3.      The Ground Operations Department publishes and regularly updates the Ground

Operations Manual (“GOM”) for its employees. Section 6 of the GOM explains: “The Operations

Department is the ‘nerve center’ of each Station. An Operations Agent or Above the Wing

Supervisor interacts with many departments at Southwest Airlines. This Teamwork produces the

safe, efficient, and ontime operation that makes our Company profitable and successful.




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Everything the Operations Agent does while turning a flight is closely scrutinized by our valued

Customers.”

       4.      Ground Operations Employees at Southwest’s airport stations include both “Above

Wing” and “Below Wing” employees. “Above the Wing” employees include the Customer

Service Agents and the Operations Agents at the airport. “Below the Wing” employees include

the Ramp Agents and Provisioning Agents at the airport.

       5.      The Ground Operations Manual (“GOM”) provides guidance and policies for the

Ground Operations Employees. The GOM refers to either “Through (Transit) Customers” or

“Thru Customers” as Passengers that are completing a two-leg trip but staying on the same aircraft

in the connecting city.

       6.      The GOM also refers to a “Connecting Customer” as a passenger that is completing

a two-leg trip but will change planes in the connecting city.

       7.      Chapter 7 of the GOM covers “Baggage.”

                   a. Chapter 7.2.2 refers to procedures for, among other things, “Checked

                          Baggage” and “Baggage Checkin Procedures” such that a Customer Service

                          Agent must “Verify the Customer’s final destination by asking, ‘What is

                          your final destination?”” (in step 1) and also to “Confirm the number of

                          bags and destination by stating to the Customer, “I am checking ‘X’ number

                          of bags to [the final destination] . . .”

       8.      Chapter 6 of the GOM covers “Operations”.

                   a. Chapter 6.1 refers to “Preflight Planning” and procedures for the Operations

                          Agents to “maintain safety and avoid . . . inaccurate Loading

                          Summaries/Dispatch Reports, and unnecessary delays.”




                                                      2



                                                                                                       Appx. 431
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                   b. Chapter 6.2.5 refers to “Turning the Flight” and procedures for, among

                       other things, the Operations Agent to complete such as “Inform a Flight

                       Attendant of the number of through (transit) Customers that should be

                       onboard” (in step 4), the “Anticipated Customer Count” along with

                       “Planned Delays for Inbound Connecting Customers” (in step 10) and

                       “Verification of the transit count” (in step 13).

                   c. Chapter 6.2.5.7 refers to “Resolving Inaccurate Passenger Counts on

                       Board” where it may be necessary to reconcile the final onboard count to

                       ensure the passenger manifest is accurate, along with a series of procedures

                       to follow to verify the passenger count (going onboard aircraft to check IDs)

                       or identify missing Customers (by making page calls in airport terminal).

       9.      The sections of the GOM referenced above are attached as Exhibit D-1.

       10.     As explained below, when a Southwest customer travels on a flight booked through

Kiwi.com, it causes operational and customer challenges with several parts of the GOM. For

example, in recent months, Ground Operations Employees have submitted reports or notified

supervisors about operational challenges caused by itineraries booked through Kiwi.com. One

particular challenge at the airport station involves Kiwi.com’s sale of “hidden city” tickets that are

expressly prohibited in Southwest’s Contract of Carriage. Kiwi.com’s hidden city booking

negatively impacts Southwest’s operations and customers.

       11.     When Southwest travelers book through Kiwi.com and are traveling on “hidden

city” fares, a passenger’s intended final destination is not the final arrival city on his or her

itinerary, but rather an intermediate or connecting city. In its simplest form, a passenger purchases

a ticket from City 1 to City 2 to City 3, but does not travel beyond City 2.




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                                                                                                         Appx. 432
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        12.     Southwest prohibits this practice because of logistical, operational, and public

safety concerns. For example, in compliance with the GOM, a Ground Operations Employee will

attempt to locate a connecting passenger (or “through” passenger) for the final leg of the flight --

yet that passenger has ended his or her trip in the connecting city. This negatively affects

Southwest’s ability to estimate passenger headcounts, causes disruptions at the airport gate, and

requires maintenance adjustments, such as variations in the amount of jet fuel needed for each

flight. It also leads to flight delays and disruptions that can negatively impact other passengers on

the flight and disrupt to Southwest’s flight schedule.

        13.     Below are examples of problems and reports from Ground Operation Employees

involving passengers with a Kiwi.com reservation (“Kiwi Passengers”). The records attached to

this declaration as Exhibit D-2 through D-11 are true and accurate copies of Southwest operational

records that were made and kept in the regular course of Southwest’s business. The records were

made at or near the time of the information recorded by a person with knowledge of the underlying

facts. It is the regular practice of Southwest to record the information set forth in the attached

records.

        14.     When Kiwi Passengers arrive at the airport to check in for their flight, their ticketed

destination (on a two-leg flight) is different from their intended destination. Often times when a

Kiwi Passenger gets a boarding pass at the airport, the passenger does not understand why he or

she received two boarding passes (for flight #1 and flight #2) when they only intend to take a direct

flight (only flight #1).

        15.     An Assistant Station Manager at the New York LaGuardia (LGA) airport sent an

email on November 27, 2020 that detailed operational challenges with a Kiwi reservation that was




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                                                                                                          Appx. 433
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booked as a two-leg trip with Flight 135 (LGA-ATL) and then Flight 379 (ATL-RSW) under PNR

P2L8P5, however, the Customer intended ATL as the final destination. See Exhibit D-2.

       16.    An Assistant Station Manager at LGA airport sent an email on December 24, 2020,

that detailed operational challenges with a Kiwi reservation that was booked as a two-leg trip on

December 23, 2020 with Flight 3068 (LGA-ATL) and then Flight 4735 (ATL-MCO) under PNR

2BHD3Z, but the Customer intended ATL as the final destination. See Exhibit D-2.

       17.    An Assistant Station Manager in New York (LGA) sent an email on January 1,

2021, that detailed operational challenges with a Kiwi reservation that was booked as a two-leg

trip from LGA to BNA and then from BNA to MCO under PNR 47MS26, however, the Customer

intended BNA as the final destination. See Exhibit D-3. Bernard’s email reports that the

customer’s fare was $48.98, however, Kiwi reportedly charged the customer $200 for the ticket.

       18.    An Assistant Station Manager in New York (LGA) sent an email on January 1,

2021, that detailed operational challenges with a Kiwi reservation that was booked as a two-leg

trip from LGA to DEN and then from DEN to MDW under PNR 3VVIXA, but the customer

reportedly intended PDX as the final destination. See Exhibit D-3.

       19.    An employee at Phoenix (PHX) airport reported about customer confusion on a

reservation (PNR 4V57N6) booked as a two-leg trip with flight 1281 (PHX-OAK) and then flight

4096 (OAK-SEA) where the customer intended OAK as the final destination but “went through

3rd party Kiwi travel” without knowing the customer was “booked through to SEA.” See Exhibit

D-4.

       20.    On February 2, 2021, a Customer Service Agent in Phoenix sent an email to the

station leadership that “we are seeing [hidden city tickets] frequently, and the common theme is




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                                                                                                    Appx. 434
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Kiwi Travel” while also noting the Customer Service Agents “are overwhelming us with emails

and copies of itineraries involving Kiwi.” See Exhibit D-5.

       21.     On February 2, 2021, a Customer Service Agent in Las Vegas sent an email to my

team and Ground Operations leadership detailing certain operational challenges with customers

that booked through Kiwi.com that did not realize they were booked on a hidden city ticket. See

Exhibit D-6.

       22.     On February 5, 2021, a Customer Service Agent in New York (LGA) reported an

operational and customer service challenge with customers that booked through Kiwi and did not

realize they were traveling on a hidden city ticket. Southwest’s records showed that a number of

customers were travelling from LGA-TPA-MIA. Due to an aircraft swap, Southwest needed to

re-book the passengers flying on this LGA-TPA-MIA route. However, when Southwest notified

the passengers of the change in their itinerary, the passengers explained that TPA was their final

destination. This situation resulted in operational and customer service confusion and other

challenges. See Exhibit D-7.

       23.     When Kiwi Passengers arrive at the airport to check baggage for a hidden city

flight, they are surprised to learn that their ticketed destination (on a two-leg flight) is different

from their intended destination. This causes operational problems for Southwest because

Southwest’s policy requires that a Passenger’s checked baggage travel to his or her final

destination. On or about February 2, 2021, the Ground Operations Department sent an update to

Customer Service Agents and Above Wing leaders with the subject line “Checking Bags to Final

Destination” that detailed how Southwest is seeing “an increase in Customers attempting to short

checked their baggage” along with a reminder about polices in Chapter 7 of the GOM. See Exhibit

D-8.




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       24.     On February 16, 2021, a Customer Service Agent in New York (LGA airport) sent

an email explaining “I had never experienced such a unpleasant times as customers book through

this website called Kiwi/Skiplag” and noted “[a]s they come here they try to check bags to their

final destination which is the connecting city not final destination as the ticket was booked, some

customers cry, argue, get uncomfortable.” See Exhibit D-9. The Southwest CSA also noted in her

email: “[t]his doesn’t look good for Southwest Airlines as an airline as well for us not providing

good customer service as well not good hospitality and is not the customers fault is this website

called Kiwi/skiplag selling tickets at cheaper rate.”

       25.     When Kiwi Passengers are traveling on hidden city tickets, they do not complete

the second leg of their ticketed itinerary. Some airport managers have reported difficulty in trying

to locate Kiwi Passengers for the connecting flight. This causes operational problems for

Southwest because Southwest’s GOM requires employees to complete a thru count for connecting

passengers before the second flight departs.

       26.     On January 1, 2020, the Station Manager at the Portland, Oregon (PDX) station

reported to a Station Director that they could not locate two passengers travelling on a ticketed

itinerary on December 31, 2020 (MDW-PDX-SJC) for the second leg of their trip (the PDX-SJC

flight). The Kiwi Passengers were travelling on PNR WM76YE booked through Kiwi.com. See

Exhibit D-10. The Station Manager at PDX reported that Southwest was expecting 16 Customers

to ride through PDX on to SJC on flight 4084. The through count was off by 2 and Southwest had

to check ID’s of all passengers to determine who was missing. Once the Station Manager at PDX

identified the two missing passengers, the PDX station began paging throughout the airport to

return to the departure gate and eventually discovered the 2 Kiwi customers were in baggage claim

stating that PDX was their final destination and they weren’t returning to the flight. Flight 4084




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                                                                                                       Appx. 436
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took a delay as the PDX station sorted through the connecting passengers and identified the Kiwi

passengers.

       27.      Southwest recently has been forced to take multiple flight delays due to issues or

problems with reservations associated with Kiwi Passengers, including at least these flights:

             a. On December 31, 2020, Southwest flight 4084 (from PDX to SJC) was delayed due

                to operational challenges with Kiwi passengers traveling on a hidden city ticket. It

                had delay code TR-04. See Ex. D-10.

             b. On January 1, 2021, Southwest flight 3348 (from LGA to ATL) was delayed due

                to operational challenges with Kiwi passengers traveling on a hidden city ticket. It

                had delay code CM-02. See Ex. D-11.

             c. On January 28, 2021, Southwest flight 3792 (from LGA to MDW) was delayed due

                to operational challenges with Kiwi passengers traveling on a hidden city ticket. It

                had delay code TR-13. See Ex. D-12.

             d. On February 20, 2021, Southwest flight 135 (from LGA to ATL) was delayed due

                to operational challenges with Kiwi passengers traveling on a hidden city ticket.

       28.      Southwest has recently received increasing problems relating to customers who

purchased Southwest flights through Kiwi, including confused customers, logistical

complications, and overwhelmed customer service agents. See Ex. D-14 to D-17.

       29.      I declare under penalty of perjury that the facts and information stated in this

declaration are true and correct based on my personal knowledge and reliable information I

obtained as a representative of Southwest.




                                                 8



                                                                                                       Appx. 437
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                                9



                                                                             Appx. 438
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         EXHIBIT D-1




                                                                             Appx. 439
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                                                                             Appx. 440
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                                                                             Appx. 441
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                                                                             Appx. 442
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                                                                             Appx. 443
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                                                                             Appx. 444
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                                                                             Appx. 445
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                                                                             Appx. 446
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                                                                             Appx. 447
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         EXHIBIT D-2




                                                                             Appx. 448
                                                              Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                                                    Page 449 of 571 PageID 621




From:                                                                Bernard Hartsfield
Sent:                                                                Thursday December 24 2020 3:23 PM CST
To:                                                                  Nathan Wisniewski; Rev Mgmt Northeast-DG
CC:                                                                  LGASM-DG; Joyce Shaw
Subject:                                                             RE: Kiwi.com


Good Afternoon,


We continue to see kiwi bookings out of the LGA market to ATL. It also is causing customer iissues.
                                                                                              sues. Yesterday we had an issue with PNR 298A22. The passenger’s booking showed that her final destination was MCO, however, when we attempted to gate check her bag as she was late to the flight
                                                                                                                                                                                                                                                                                          flig t and one of the last pas engers to get on, we were informed
                                                                                                                                                                                                                                                                                                                     passengers
that she was actually going to ATL. We
                                    W were able to recoup the cost as we rebooked her for the correct flight, however, it is occurring enough that are agents are aware of it and looking for it. Were we able to do anything about this in this regard, if we are able to.



Bernard Hartsfield
Assistant Station Manager
Ground Operations
718.533.4532
bernard.hartsfield@wnco.com




From: Daniel Vetter
Sent: Friday, November 27, 2020 10 11 AM
To: Nathan Wisniewski
Cc: LGASM-DG
Subject: Kiwi.com

Good morning Nathan,

Please see attached This morning I had a customer approach me why he received a second ticket when checking in He claims the ticket hee bought was for direct to ATL but the reservation was a layover in ATL with a final in RSW While I was speakin
                                                                                                                                                                                                                                                    p      g with the customer one of the CSA asked if they had booked on kiwi
                                                                                                                                                                                                                                                                                                                            k wi and
the customer replied yes She then said that she has seen a couple of customers over the last couple weeks coming in thinking they had bought a direct flight
                                                                                                                                                         g to ATL, but having a different Florida destination After that we had a customer that missed their flight same flight to ATL as we were rebooking it had the same RSW final
destination That customer also booked on KIWI with what they thought was a final of ATL As discussed something just seems fishy about it and can also cause problems with tagging errors or taking up seats that are never going to be used

Thank You,
Danny




                                                                                                                                                                                                                                                                                                                                        Appx. 449
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                                                                                 Appx. 450
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                                                                                 Appx. 451
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         EXHIBIT D-3




                                                                             Appx. 452
    Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                               Page 453 of 571 PageID 625
From:                   Bernard Hartsfield
Sent:                   Friday, January 1, 2021 10:20 AM CST
To:                     Nathan Wisniewski; Rev Mgmt Northeast-DG
CC:                     LGASM-DG; Joyce Shaw
Subject:                RE: Kiwi.com
Attachments:            image003.png, image004.jpg, image005.jpg


Happy New Year!


    We still continue to see multiple kiwi bookings and the issues that come with it. Two were escalated up two me
in the past several days. One is from today (PNR 47MS26). Passenger paid SWA $48.98 for the fair unbeknownst to
them as Kiwi charged almost $200 dollars for the fair. Pax was booked LGA-BNA-MCO, however, pax was only
going to BNA. When pax attempted to check in bag, that is how the agent discovered she used kiwi. We then
charged her another roughly $200 some dollars today for the correct fare to the destination of BNA. Pax was crying
at the ticket counter. The other passenger (3VVIXA & 3VQQH2). Pax was booked LGA-DEN-MDW on
(3VVIXA), however, he was also booked DEN-PDX on (3VQQH2). The passenger checked in at the ticket counter
and attempted to check in a bag. However, attempted to check it in to PDX and not MDW. Agent noticed the issue
and attempted to charge correct fare for the trip. Pax balked at paying the correct fare. Pax then stayed at our counter
for 1-2 hours between contacting kiwi and speaking with our agents. At the end of the interaction he informed our
agent that he will be suing. Difference between now and when we first noticed is that it is not just the ATL market
but now BNA and DEN. Please advise, thanks!

From: Bernard Hartsfield
Sent: Thursday, December 24, 2020 4:24 PM
To: Nathan Wisniewski <Nathan.Wisniewski@wnco.com>; Rev Mgmt Northeast-DG <RevMgmtNortheast-
DG@wnco.com>
Cc: LGASM-DG <LGASM-DG@wnco.com>; Joyce Shaw <Joyce.Shaw@wnco.com>
Subject: RE: Kiwi.com

Good Afternoon,


  We continue to see kiwi bookings out of the LGA market to ATL. It also is causing customer issues. Yesterday
we had an issue with PNR 298A22. The passenger’s booking showed that her final destination was MCO, however,
when we attempted to gate check her bag as she was late to the flight and one of the last passengers to get on, we
were informed that she was actually going to ATL. We were able to recoup the cost as we rebooked her for the
correct flight, however, it is occurring enough that are agents are aware of it and looking for it. Were we able to do
anything about this in this regard, if we are able to.



Bernard Hartsfield
Assistant Station Manager
Ground Operations
718.533.4532
bernard hartsfield@wnco.com<mailto:bernard.hartsfield@wnco.com>

[cid:998FFEE9-0A64-48C0-8179-7E5BB33F4DE2]



From: Daniel Vetter <Daniel.Vetter@wnco.com<mailto:Daniel.Vetter@wnco.com>>
Sent: Friday, November 27, 2020 10:11 AM
To: Nathan Wisniewski <Nathan.Wisniewski@wnco.com<mailto:Nathan.Wisniewski@wnco.com>>




                                                                                                                           Appx. 453
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Cc: LGASM-DG <LGASM-DG@wnco.com<mailto:LGASM-DG@wnco.com>>
Subject: Kiwi.com

Good morning Nathan,

Please see attached. This morning I had a customer approach me why he received a second ticket when checking in.
He claims the ticket he bought was for direct to ATL but the reservation was a layover in ATL with a final in RSW.
While I was speaking with the customer one of the CSA asked if they had booked on kiwi and the customer replied
yes. She then said that she has seen a couple of customers over the last couple weeks coming in thinking they had
bought a direct flight to ATL, but having a different Florida destination. After that we had a customer that missed
their flight same flight to ATL as we were rebooking it had the same RSW final destination. That customer also
booked on KIWI with what they thought was a final of ATL. As discussed something just seems fishy about it and
can also cause problems with tagging errors or taking up seats that are never going to be used.

Thank You,
Danny


[Image]

[Image]


Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android<https://aka ms/ghei36>




                                                                                                                      Appx. 454
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         EXHIBIT D-4




                                                                             Appx. 455
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                                                                             Appx. 456
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                                                                             Appx. 457
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                                                                                 Appx. 458
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                                                                                 Appx. 459
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         EXHIBIT D-5




                                                                             Appx. 460
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From:                 Leroy Laughlin
Sent:                 Tuesday, February 2, 2021 8:58 PM CST
To:                   Erica Shaw
CC:                   Kathy Thomson; Jacque Molnar; Greg Crittenden; Steve Crosby
Subject:              Question....


Hi Erica-

Last week, Jacque Molnar sent you a PNR that was a buy long/fly short itinerary. We are seeing these
frequently, and the common theme is Kiwi Travel. You shared with Jacque will forward to someone for
review. If possible, can I please get that contact name? The CSA are overwhelming us with emails and
copies of itineraries involving Kiwi, and if this is something HDQ is already aware of, I will let them know
we do not need any further information, PNR’s, etc. The issue is the CSA are expecting someone to
follow-up with them, and for now, we do not have any information to share.

Please let me know.

THX - Leroy




                                                                                                               Appx. 461
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         EXHIBIT D-6




                                                                             Appx. 462
     Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                               Page 463 of 571 PageID 635
From:                     Elmo Wedderburn
Sent:                     Tuesday, February 2, 2021 7:01 PM CST
To:                       Rev Mgmt Analyst Teams-DG
Subject:                  Fwd: Kiki.com Checking Bags to Final Destination
Attachments:              020221_AboveWingNews_vF.pdf


Hello,
Sharing what I noticed.

From: Elmo Wedderburn
Sent: Tuesday, February 2, 2021, 16:56
To: GO Above Wing Standards-DG
Cc: Pro Mahabir; Randy Shaw
Subject: Kiki.com Checking Bags to Final Destination


Hi,
I am not sure if you are aware thatt Kiki.com is selling
                                                  sel ing tickets without telling the customers that they are booking on SWA
airlines. O
          Only after they completed the reservation they are shown SWA info.
They y kiwi are selling the tickets as no check bad airfares. The customers are not reading, and may not know what they signed up
with kiwi.com. I have encountered several at our ticket counter, and they don't understand because their reservations only shows
OAK to LAS or LAS to OAK not the final leg on the customer itinerary info. I reviewed the email kiwi is sending the customers
that I checked in at the counter. Was trying to validate what the customer stated.
I included an example of kiwi.com, we find many have LGB as the final destination. They are charging more than our ticket
price.
If you look at 8:50 am flight for Feb 25 you will see the proof.
Not sure what or anything our legal department can do to send a letter to kiwi.com they are using California as the
finaldestination, and adding to our process in BSO.
My co-hearts have noticed more customers with this issue at our ticket counter.




                                                                                                                              Appx. 463
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                                                                             Appx. 464
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                                                                             Appx. 465
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                                                                             Appx. 466
 Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                     Page 467 of 571 PageID 639


Sent via the Samsung Galaxy S20 Ultra 5G, an AT&T 5G smartphone
Get Outlook for Android
From: GO News
Sent: Tuesday, February 2, 2021 2:51:22 PM
To: GO News
Subject: Above Wing News | Uniforms: Above the Wing Outerwear Update, Checking Bags to Final Destination




   feb. 2, 2021 | MTD PErformance | OTP: 83.7% | MBR:2.07 | EMO: 92.8% | turns: 89.6% | NPS: 49%
                    Uniforms: Above the Wing Outerwear Update
                    With the exciting arrival of the new Ladies System Jackets, ordering volume has been higher than anticipated…See more


                    Checking Bags to Final Destination
                    Southwest Airlines is seeing an increase in Customers attempting to short checked their baggage. As a reminder, all checked baggage…See more



      Uniforms: Above the Wing Outerwear Update
      To: All Above the Wing Employees

      With the exciting arrival of the new Ladies’ System Jackets, ordering volume has been higher than anticipated. Inventory of
      certain sizes has been depleted; however, Cintas will be replenishing their inventory in the following months:
      • March (Inner Jacket)
      • June (Outer Jacket)
      Tap here for all of the details, including additional outwear pieces that are currently in stock.
      Checking Bags to Final Destination
      To: Customer Service Agents & Above Wing Leaders
      From: Ground Operations Standards

      Southwest Airlines is seeing an increase in Customers attempting to short checked their baggage. As a reminder, all checked baggage, with
      the exception of “Claim At Gate items,” must be checked to the Customer s final destination on Southwest.
      Customer Service Agents (CSA) must:
       • Verbally verify the final destination.
       • Confirm the Customer s itinerary matches the final destination given.
       • Adjust the itinerary if there is a discrepancy and collect applicable taxes and fees.
      Note: Do not short check baggage.
      As a reminder, Global Distribution System (GDS) issued tickets may contain other airline segments. Although the complete GDS issued reservation is visible in the PNR,
      Southwest Airlines does not codeshare with other airlines.
      When processing a PNR, containing another airline s flight segment, the CSA should advise the Customer to retrieve their baggage in the final Southwest city prior to
      transferring to the other airline.
      For more information on checking baggage see Chapter 7 in the Ground Operations Manual.




                                                                                                                                                                               Appx. 467
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         EXHIBIT D-7




                                                                             Appx. 468
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From:              Nadjashira Santana Rodriguez
Sent:              Wednesday, February 17, 2021 9:51 AM CST
To:                Daniel Vetter
CC:                LGA Above Wing Supervisors-DG; Indira Perez
Subject:           Kiwi Passenger Statement


Hello All,
Here is my statement on Kiwi.com website and the passengers who book through that website.
On February 5th 2021 I experienced the highest volume of kiwi bookings in one single flight.
Due to an aircraft swap, flight 6004 TPA became delayed therefore 10 passengers with final
destination to MIA were going to miss their connection flight in TPA. Passengers were paged at
gate area to advice them and find solutions for their travels. No passengers came up at the time
I paged. About 30 minutes after I made my announcement a passenger came up to the gate
podium asking why her flight was rebooked to another day. I pulled up the passengers
reservation and it stated that her final destination was MIA. I advice the passenger due to her
final being MIA the next available flight to that destination was February 7th . Passenger then
stated that her final is not MIA that is TPA.
 she was advice her PNR states other wise, however the final destination can be changed to
make TPA her final destination which came out to be a difference in fare of $160. The
passenger was very upset and paid the $160 difference. Due to CS&S rebooking all 10
passengers gong to MIA to a different date, I was unable to see the names. Then I thought of
going into the flight the previous passenger was rebooked to and search if I was able to see
who was going to MIA that got rebooked from the February 5th flight. I had found about 6
passengers left on the that flight which was a morning flight LGA-MDW/MDW-MIA. I paged
those names at the gate podium and all those passenger were still at the gate area not knowing
their booking was changed. I asked very single one of those passengers if they had booked their
trip via the KIWI website and they all said yes they did. They all showed me the email KIWI sent
them with their booking and they all showed the final destination was TPA not MIA. They were
all advice they had to pay $160 difference in fare to go on the nonstop flight to TPA that day.
They paid the difference except one passenger who was taking a bit long to decide if he wanted
to pay the difference. that one passenger ended up missing the TPA flight and booked with
another airline. all the passengers I came across with were angry and confused because they
were all thinking their final destination was TPA when in reality it was not the case. in my
opinion this KIWI website is hurting our airline and the SWA experience.
-Nadja S.R




                                                                                                   Appx. 469
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         EXHIBIT D-8




                                                                             Appx. 470
 Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                                                                    Page 471 of 571 PageID 643

Sent via the Samsung Galaxy S20 Ultra 5G, an AT&T 5G smartphone
Get Outlook for Android
From: GO News
Sent: Tuesday, February 2, 2021 2:51:22 PM
To: GO News
Subject: Above Wing News | Uniforms: Above the Wing Outerwear Update, Checking Bags to Final Destination




   feb. 2, 2021 | MTD PErformance | OTP: 83.7% | MBR:2.07 | EMO: 92.8% | turns: 89.6% | NPS: 49%
                    Uniforms: Above the Wing Outerwear Update
                    With the exciting arrival of the new Ladies System Jackets, ordering volume has been higher than anticipated…See more


                    Checking Bags to Final Destination
                    Southwest Airlines is seeing an increase in Customers attempting to short checked their baggage. As a reminder, all checked baggage…See more



      Uniforms: Above the Wing Outerwear Update
      To: All Above the Wing Employees

      With the exciting arrival of the new Ladies’ System Jackets, ordering volume has been higher than anticipated. Inventory of
      certain sizes has been depleted; however, Cintas will be replenishing their inventory in the following months:
      • March (Inner Jacket)
      • June (Outer Jacket)
      Tap here for all of the details, including additional outwear pieces that are currently in stock.
      Checking Bags to Final Destination
      To: Customer Service Agents & Above Wing Leaders
      From: Ground Operations Standards

      Southwest Airlines is seeing an increase in Customers attempting to short checked their baggage. As a reminder, all checked baggage, with
      the exception of “Claim At Gate items,” must be checked to the Customer s final destination on Southwest.
      Customer Service Agents (CSA) must:
       • Verbally verify the final destination.
       • Confirm the Customer s itinerary matches the final destination given.
       • Adjust the itinerary if there is a discrepancy and collect applicable taxes and fees.
      Note: Do not short check baggage.
      As a reminder, Global Distribution System (GDS) issued tickets may contain other airline segments. Although the complete GDS issued reservation is visible in the PNR,
      Southwest Airlines does not codeshare with other airlines.
      When processing a PNR, containing another airline s flight segment, the CSA should advise the Customer to retrieve their baggage in the final Southwest city prior to
      transferring to the other airline.
      For more information on checking baggage see Chapter 7 in the Ground Operations Manual.




                                                                                                                                                                               Appx. 471
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         EXHIBIT D-9




                                                                             Appx. 472
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From:
Sent:
To:
Subject:


Fyi
Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android
From: Sereta Dixon <Sereta.Dixon@wnco.com>
Sent: Tuesday, February 16, 2021 12:18:36 PM
To: Daniel Vetter <Daniel.Vetter@wnco.com>; Indira Perez <Indira.Perez@wnco.com>
Subject: kiwi

To whom it concern, As a CSA at LGA I had never experienced such a unpleasant times as
customers book thru this website called Kiwi/Skiplag , When they check in here at airport
thinking they are going to one city but originally the ticket is booked to another city but the
main purpose is for them to deplane in that connecting city and complete their journey, As they
come here they try to check bags to their final destination which is the connecting city not final
destination as the ticket was booked, some customers cry, argue, get uncomfortable, Then we
have to update their fare and have to charge them difference in fare, This doesn't look good
for Southwest Airlines as an airline as well for us not providing good customer service as well
not good hospitality and is not the customers fault is this website called Kiwi/skiplag selling
tickets at cheaper rate.
Sereta Dixon emp107036




                                                                                                 Appx. 473
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       EXHIBIT D-10




                                                                             Appx. 474
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From:                Mike Gregory
Sent:                Friday, January 1, 2021 10:38 AM CST
To:                  Pro Mahabir
Subject:             RE: Third Party Booking Site


Just started to run into these kiwi bookings a few weeks prior to Christmas.

Yesterday we had 2 Customers on a flt MDW – SJC (stops in PDX) then connecting SJC –
PDX. They got off here in PDX and we’re scrambling trying to locate 2 thru Customers. MDW
tagged the bags to get off here, but left them checked-in per their itinerary.

Another Customer yesterday was on a PDX-AUS direct flt that stops in LAS. He was only going
to LAS, no intentions of traveling to AUS. Fare was $78 (AUS) vs $215 (LAS).




From: Pro Mahabir
Sent: Friday, January 1, 2021 8:31 AM
To: Mike Gregory
Subject: RE: Third Party Booking Site

Thanks Mike, I’m not sure I heard of this prior to your email. Have you experienced this before?

From: Mike Gregory <Mike.Gregory@wnco.com>
Sent: Friday, January 1, 2021 8:29 AM
To: Pro Mahabir <Pro.Mahabir@wnco.com>
Subject: Third Party Booking Site

Good morning –

We’re encountering several Customers a day who are using this booking site to book flights on
SWA.

www.kiwi.com

The issues are Customers buying long and getting off in thru cities, or not taking scheduled
connections. You don’t know this is booked with Kiwi until they check bags and conversations
are taking place on their final destinations. It takes seats out of inventory at the thru city and
connection. The bookings sometimes have Customers on SW for part of their journey
transferring to another airline, but the Customer doesn’t know bags aren’t tagged all the way
through.

Not sure how this website is able to book on us, but it’s spreading quickly and will continue to
become problems for the network.

Mike




                                                                                                     Appx. 475
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Mike Gregory
Station Manager / PDX
Ground Operations
503-937-3090




                                                                                 Appx. 476
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       EXHIBIT D-11




                                                                             Appx. 477
Previous Day - All Flights Details For 01/01/2021 (Unaudited)                                                                          Page 1 of 43
                                  Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                           Page 478 of 571 PageID 650
                                             Doors Closed:        67.44%
                                             Out Gate:            60.40%
                                             Not Pushed:            1


 Orig Dest Flt        Total    Sched     Doors       Out         Doors      Out       Delay              Delay Code & Remark
                      PAX      Dep       Closed      Gate        Closed     Gate      Grp-Code
                               CST       CST         CST         Delay      Delay



ABQ - PHX 1888         133     10:20 am 10:29 am 10:30 am            9         10       HD10               FS:51 LS:25


ABQ - PHX 2477          49      6:40 pm 6:43 pm       6:43 pm        3          3       TR09               JTWY PUULED BACK AT 17:38...FS17:17...LS17:36...



ALB - MDW 4251          63      4:20 pm 4:23 pm       4:32 pm        3         12       MX02               CAPT TO COMPLETE MEL AND DNO PROCEDURE FOR SEAT
                                                                                                           19F FS1654 LS 1705 PWB SENT 1710

ATL - DEN 2026         173      6:10 am 6:12 am       6:12 am        2          2       CM02               PASSENGERS TAKING A WHILE TO SIT DOWN 0641 0703
                                                                                                           0706

ATL - BWI      1990     83      7:25 am 7:33 am       7:35 am        8         10       MX02               WINDSHIELD INSPECTION BY MX 0813 0827 0832


ATL - MDW 4751         139     11:30 am 11:38 am 11:40 am            8         10       CM02               fs 1202 ls 1227 pwb 1237 Last min gate checks


ATL - MEM 5009          99     11:40 am 11:53 am 11:54 am            13        14       HD04               HOLDING FOR PAX AND BGS OFF INBD 2411/BWI               FS
                                                                                                           1216   LS 1237   PWB 1252

ATL - IAD      2970     52     11:40 am 12:01 pm 12:07 pm            21        27       TR01               PILOTS OFF LATE IN 2411; FS 1216 LS 1226; PWB 1241


ATL - FLL      3948    157     11:40 am 11:49 am 11:50 am            9         10       HD04               3490/IND


ATL - JAX      3796     80     11:45 am 11:54 am 11:56 am            9         11       HD04               hold for 15 pax and bags from inb flts wn 5067 wn2411 wn3490 fs
                                                                                                           1215 ls 1239 pwb 1253

ATL - RSW 3490         116     11:45 am 12:13 pm 12:14 pm            28        29       TR01               FIRST SCAN 1247 LAST SCAN 1300 CBLS REC 1306 PWB
                                                                                                           SENT 1311 ENTIRE CREW CHAMGE TURN CLANERS ON
                                                                                                           BOARD THE AIRCRAFT
ATL - PHL      2938    103     11:45 am 12:15 pm 12:19 pm            30        34       TR01               WAITING ON CA AND FO OFF LATE INBOUND FLIGHT
                                                                                                           3490//FS;1250 LS;1309 PWB SENT;1313


Only delays with a Delay Code are shown on this report, however, all delays are included in the Doors Closed & Out Gate % on page 1.
                                                                                                                                                                   Appx. 478
Previous Day - All Flights Details For 01/01/2021 (Unaudited)                                                                          Page 27 of 43
                                  Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                           Page 479 of 571 PageID 651
 Orig Dest Flt        Total    Sched     Doors       Out         Doors      Out       Delay              Delay Code & Remark
                      PAX      Dep       Closed      Gate        Closed     Gate      Grp-Code
                               CST       CST         CST         Delay      Delay



LGA - DAL      3346     97     10:55 am 10:57 am 10:59 am            2          4       TR03               FO arrived at the gate at 1129 and Capt arrived at 1134. Was
                                                                                                           given ok to board at 1131. Last pax boarded at 1146. Ready to
                                                                                                           close doors at 1153 but Capt not ready.
LGA - MDW 2708         101     12:25 pm 12:39 pm 12:39 pm            14        14       TR14               WAITING ON CLEANING TEAM// PARTIAL CREW CHANGE (FA
                                                                                                           ONLY)

LGA - ATL      3348    127     12:55 pm 12:58 pm      1:01 pm        3          6       CM02               FS1329LS1355 CSA REPRICING 2 KIWI CUST AT END OF
                                                                                                           BOARDING

LGA - DEN 3422         105      3:05 pm 3:15 pm       3:17 pm        10        12       TR14               F/S 1549 L/S 1604. Quick Turn. Heavy upload of bags.



LGB - PHX 3833          54     10:25 am 10:30 am 10:33 am            5          8       MX02               #1 engine was leaking fuel. Capt/ Maintenance Cont. Had me hold
                                                                                                           off on boarding. Shortly after Capt gave the goahead to board.
                                                                                                           Also conducted engine run to seal up leak.
LGB - PHX 4878          27      6:10 pm 5:51 pm       6:23 pm         -        13       DP01               Dispatch sent relase 2 with wrong jetplan number



LIT - DEN 3228         137      7:00 am 7:00 am       7:04 am         -         4       TR20               CAPT GETTING READY FOR FLIGHT



MAF - DAL      2199    101      2:40 pm 2:32 pm       2:41 pm         -         1       TR20               DOOR SHUT AT 1432. MX CALLED DUE TO PC AIR PANEL
                                                                                                           NOT CLOSING. RAMP IMMEDIATELY GOT PANEL CLOSED
                                                                                                           AND MAINTENANCE CALL WAS CANCELED. JETBRIDGE
                                                                                                           PUSHED AT 1440. A/C LEFT GATE AT 1441

MCI - BWI      2776     64      9:55 am 9:56 am       9:56 am        1          1       TR04               Crew delayed due to shuttle issue (arrived 0935) --- FS 0938 LS
                                                                                                           0945 PWB 0949

MCI - LAX      3919     81     10:20 am 10:25 am 10:27 am            5          7       TR04               Issues with FMC retrieving PWB --- FS 0957 LS 1016 PWB
                                                                                                           1019

MCI - ATL      2346    105     12:15 pm 1:52 pm       1:52 pm        97        97       MX02               WINSHEILD WIPS WERE NOT WORKING A/C SWAP


MCI - BNA 4773         125      1:10 pm 1:20 pm       1:23 pm        10        13       TR13               FS1257 LS1310 WAITED ON FLIGHT TO CLOSE AND CREW
                                                                                                           MEMBER LEFT JACKET IN JETWAY.

MCI - PHX 3382         108      2:45 pm 2:46 pm       2:49 pm        1          4       CM02               FS1425 LS1443 PWB1445 LONG BOARDING DUE TO LATE UM
                                                                                                           ARRIVAL

Only delays with a Delay Code are shown on this report, however, all delays are included in the Doors Closed & Out Gate % on page 1.
                                                                                                                                                                    Appx. 479
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       EXHIBIT D-12




                                                                             Appx. 480
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                                  Case 3:21-cv-00098-E Document 19-1 Filed 02/24/21                           Page 481 of 571 PageID 653
                                             Doors Closed:        85.74%
                                             Out Gate:            80.40%
                                             Not Pushed:            0


 Orig Dest Flt        Total    Sched     Doors       Out         Doors      Out       Delay              Delay Code & Remark
                      PAX      Dep       Closed      Gate        Closed     Gate      Grp-Code
                               CST       CST         CST         Delay      Delay



ABQ - HOU 265           54      7:20 am 7:14 am       7:21 am         -         1       TR20               Doors closed early@06:14--Brakes released@06:21--Waiting on
                                                                                                           the Ramp--2 Headsets INOP--First scan 05:54--Last scan
                                                                                                           06:02---Sup Kim and Val advised--
ABQ - PHX 1888         134     10:10 am 10:14 am 10:15 am            4          5       CM02               FS0839 LS0910 PWB0911 OPS agt found bag in gate area A11
                                                                                                           filled with prescription meds. Took time to find pax on board
                                                                                                           checked ID for match. Accom 2 late paxs when returned to
                                                                                                           gatereader.OPS Suite would not sign in for required paperwork for
                                                                                                           ckpt

ATL - MEM 5009          28     11:40 am 11 55 am 11:57 am            15        17       TR14               WAITNG ON BAGS


ATL - FLL      3948    157     11:40 am 11:58 am 11:59 am            18        19       TR14               LAST FA ARRIVED 1211...FS 1211 LS 1227... RAMP MISSING
                                                                                                           LATE BAGS OFF 4743 .. BAGS COUNT RCVD 1251 HAD TO
                                                                                                           REOPEN DUE TO EXTRA BAG NOT SCANNED DOORS
                                                                                                           CLOSED 1258
ATL - MSY 4115          94     11:45 am 11 49 am 11:50 am            4          5       TR14               WAITING FOR CONNECTING BGS                 FS 1218   LS
                                                                                                           1232 PWB 1248

ATL - MDW 4751          84     11:45 am 11:49 am 11:51 am            4          6       TR14               loading cargo at push time; fs1210 ls1230 pwb1248


ATL - CLE      1206     59     11:50 am 12:04 pm 12:04 pm            14        14       TR14               WAITING ON LATE BAGS AT DEP TIME 1222 1234 1303


ATL - PHL      2938     73     12:40 pm 1:57 pm       1:59 pm        77        79       MX02               FS1440LS1448 A\C SWAP DUE TO MX PWB SENT1453


ATL - DEN 1966         139      4:45 pm 4:49 pm       4:50 pm        4          5       TR09               Fa had a call to mx but not needed



AUS - MDW 3640          52      4:20 pm 4:21 pm       4:26 pm        1          6       MX02               LAST MINUTE FA A COMMUNICATION HAND SET NOT
                                                                                                           WORKING ...MEL 23 20 01 FS42 LS50




Only delays with a Delay Code are shown on this report, however, all delays are included in the Doors Closed & Out Gate % on page 1.
                                                                                                                                                                    Appx. 481
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 Orig Dest Flt        Total    Sched     Doors       Out         Doors      Out       Delay              Delay Code & Remark
                      PAX      Dep       Closed      Gate        Closed     Gate      Grp-Code
                               CST       CST         CST         Delay      Delay



LAX     HOU 4936       116     12:40 pm 12:46 pm 12:48 pm            6          8       TR13               SCANNER ISSUE WHILE BOARDING AS IT WOULD NOT
                                                                                                           SCAN/ HAD TO USE OTHER GATE/TICKET #INC4277704 CSS
                                                                                                           STEVE ADV
LAX - MDW 3920          86      2:50 pm 2:58 pm       2:59 pm        8          9       TR09               FA NEEDED XTRA TIME TO DO CHECKS 1ST 1225 LAST 1256


LAX - HOU 2298         140      4:20 pm 4:34 pm       4:36 pm        14        16       TR14               FS 51 LS CBLS 34 HEAVY FREIGHT; BULKED OUT BIN
                                                                                                           SPACES; HAD TO MAKE SPACE TO FIT ALL BAGS DUE TO
                                                                                                           DOWNGRADE FROM 800 TO 700. ADV SUP RODRIGO

LGA - MDW 3792          30      5:25 am 5:26 am       5:28 am        1          3       TR13               ISSUE W/ PAXS RESERVATIONS DUE TO HAVING TO CHECK
                                                                                                           IN BAGS. MULTIPLE PAXS FINAL DESTINATION BOOKED
                                                                                                           INCORRECTLY VIA KIWI WEBSITE
LGA - BNA 3787          60      6:25 am 6:24 am       6:29 am         -         4       TR20               DOORS CLOSED ON TIME CA AND FO DOING CHECKS



LGB - AUS 2735         108      2:15 pm 3:39 pm       3:42 pm        84        87       HD01               Held for clearance



MCI - DEN 3031         134      3:00 pm 3:29 pm       3:30 pm        29        30       CM02               FS 03; LS 20; PWB SENT 29; WAITING FOR CLEANERS;AT
                                                                                                           END OF BOARDING I PAGED MISSING PAX ON A/C; GO UP
                                                                                                           TOP TO DELETE PAX AND CSA TELLS ME MISSING PAX IS
                                                                                                           TRAVELLING WITH SOMEONE. HAD TO GO BACK DOWN
                                                                                                           AND VERIFY WITH OTHER PAX MY MISSING PAX WAS NOT
                                                                                                           TRAVELLING

MCO- BWI       2510     32      7:20 am 7:13 am       7:21 am         -         1       TR20               Waiting on pilot


MCO- HOU 1950           89     12:30 pm 12:37 pm 12:38 pm            7          8       TR04               FS 1304 LS 1313 PWB 1330. CAPT REQUEST ADDITIONAL
                                                                                                           FUEL AT 1320. AC ACARS NOT RECEIVING INFO.

MCO- SJU       2583    134      1:00 pm 1:05 pm       1:06 pm        5          6       HD04               holding for 4 bags/FS1329 LS1350 PPW 1404


MCO- DEN 2516          152      3:40 pm 3:52 pm       3:53 pm        12        13       SD01               FS 13 LS 46 Sent 51 Security alarm went off in the terminal;
                                                                                                           suspending boarding until alarms were cleared.

MCO- SJU       3708    141      5:30 pm 5:32 pm       5:32 pm        2          2       CM02               CARRY AND LIFT PAX AND PAXS WOULDNT TAKE A SEAT F/S
                                                                                                           1759 L/S 1826


Only delays with a Delay Code are shown on this report, however, all delays are included in the Doors Closed & Out Gate % on page 1.
                                                                                                                                                                 Appx. 482
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       EXHIBIT D-13




                                                                             Appx. 483
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From:                 Leroy Laughlin
Sent:                 Monday, February 8, 2021 7:43 PM CST
To:                   Rhonda Ramirez
Subject:              Kiwi Travel


Hi Rhonda-

Jacque shared she forwarded to you a response from Erica Shaw (HDQ) regarding Kiwi Travel (buy
long/fly short). She was thinking you might want to include something about this in one of your updates,
etc. I wasn’t sure if you will include this information, but if so, I was thinking it may be best to not
mention anything about legal. I can see where this would go south quickly with an unsuspecting
Customer who is told our legal department is addressing their travel/issues, etc. Just my thoughts that
some CSA may not be diplomatic with their message. I was planning to send something out to the
CSA/CSS as they are sending me copies of PNR (a lot!) booked by Kiwi Travel. Evidently, they can
discontinue this process since HDQ is already aware of the issues and addressing it accordingly.

Please let me know if you will be sending something or if I can take care of it.

THX - Leroy




                                                                                                           Appx. 484
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       EXHIBIT D-14




                                                                             Appx. 485
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From:
Sent:
To:
Subject:


Fyi
Sent from my Verizon, Samsung Galaxy smartphone
Get Outlook for Android
From: Sereta Dixon <Sereta.Dixon@wnco.com>
Sent: Tuesday, February 16, 2021 12:18:36 PM
To: Daniel Vetter <Daniel.Vetter@wnco.com>; Indira Perez <Indira.Perez@wnco.com>
Subject: kiwi

To whom it concern, As a CSA at LGA I had never experienced such a unpleasant times as
customers book thru this website called Kiwi/Skiplag , When they check in here at airport
thinking they are going to one city but originally the ticket is booked to another city but the
main purpose is for them to deplane in that connecting city and complete their journey, As they
come here they try to check bags to their final destination which is the connecting city not final
destination as the ticket was booked, some customers cry, argue, get uncomfortable, Then we
have to update their fare and have to charge them difference in fare, This doesn't look good
for Southwest Airlines as an airline as well for us not providing good customer service as well
not good hospitality and is not the customers fault is this website called Kiwi/skiplag selling
tickets at cheaper rate.
Sereta Dixon emp107036




                                                                                                 Appx. 486
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       EXHIBIT D-15




                                                                             Appx. 487
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From:                                          Mike Gregory
Sent:                                          Friday, January 1, 2021 10 44 AM CST
To:                                            Pro Mahabir
Subject:                                       RE Third Party Booking Site


This one is for today. You want to go to LAS they sell it like that but when it hits our system it will show as PDX to RNO.




                                                                                                                                                           Appx. 488
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                                                                                 Appx. 489
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       EXHIBIT D-16




                                                                             Appx. 490
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From:                 Charlotte Hightower
Sent:                 Monday, January 11, 2021 3:54 AM CST
To:                   LGA Above Wing Supervisors-DG
BCC:                  LGA Cust Svc Agent-DG
Subject:              FW: Kiwi Reservations Update


Just a friendly reminder about the Kiwi reservation.

From: Mark Anthony Becker Jones
Sent: Tuesday, December 29, 2020 2:33 PM
Subject: Kiwi Reservations Update

Good afternoon everyone,


With Kiwi reservations continuing to appear, we wanted to make sure that all agents are aware of the
procedure in place to ensuring passengers are traveling with their luggage. If you run across a situation,
for example, a passenger traveling from LGA-ATL-MCO and the passenger states that they are only
traveling to ATL….. You will want to reprice the ticket for the nonstop (collect any addition fees if
applicable), and then tag the bag ATL. We should not be short checking the bags without updating the
ticket and fares. If a passenger states that they will let their bags travel to the final destination without
updating the ticket, we will advise that they customer will need to set up a Fedex account and work with
the downline station to have their baggage shipped back to them at their cost. If you have any questions
please don’t hesitate to ask.


Mark Anthony Becker Jones
LGA Assistant Station Manager II
Ground Ops
Work: 718) 533-4540
Cell: (480) 338-1370
Markanthony.beckerjones@wnco.com




                                                                                                            Appx. 491
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       EXHIBIT D-17




                                                                             Appx. 492
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  From:
  Sent:
  To:
  CC:
  Subject:


  Good morning,


  LGA Originator Report
  January 28, 2021




  Flight             Doors     Brakes    Pilot   First   Last   PWB    Delay              Pax
             STD                                                               Minutes           Reason
    #                Closed   Released   OFF     Scan    Scan   Sent   Code              Count

  3804       625      620       620      632     601     607    617                       28      early

  3792       625      626       628      646     604     608    624    TR13      1        30

  3343       725      718       718      730     657     714    716                       58      early

  3787       725      724       729      745     706     712    718    TR20      4        60

  3346       1155




  Performance: 3 of 4 – 75%
  Load Factor: 31%
  Time Gained: 14 minutes
  Cancellations: zero
  Swaps: zero

    Flight 3792 MDW// one minute TR13// Qasim started boarding nine minutes late and towards the
      end of boarding Agent had an issue with fraudulent (kiwi) reservation.
    Flight 3787 BNA// four minutes TR20// Edwin started boarding late because tail numbers did not
      match, gate change was made.

  Charlotte Hightower
  LGA CSS
  718-533-4510
  LaGuardia Airport
  Flushing, NY 11371


  One Team. All Heart.




                                                                                                          Appx. 493
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            EXHIBIT E




                                                                             Appx. 494
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

SOUTHWEST AIRLINES CO.,                         §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §            Case No. 3:21-cv-00098
                                                §
KIWI.COM, INC. and                              §
KIWI.COM S.R.O.,                                §
                                                §
       Defendants.                              §


                       DECLARATION OF S. WALLACE DUNWOODY


       I, S. Wallace Dunwoody, counsel of record for Plaintiff Southwest Airlines Co.

(“Southwest”), submit this declaration in support of Southwest’s Application for Preliminary

Injunction:

       1.      Attached as Exhibit E-1 is a true and correct copy of a report published by the Better

Business      Bureau      on     its    website       concerning      kiwi.com      available      at

https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676.

       2.      Attached as Exhibit E-2 is a true and correct copy of the customer complaints

published by the Better Business Bureau on its website concerning kiwi.com available at

https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints.

       3.      Attached as Exhibit E-3 is a true and correct copy of an article posted by The

Guardian entitled “In the year of Covid, the awards for worst customer service go to…” available

at https://www.theguardian.com/money/2020/dec/27/in-the-year-of-covid-the-awards-for-worst-

customer-service-go-to.




                                                  1



                                                                                                        Appx. 495
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         4.     Attached as Exhibit E-4 is a true and correct copy of a customer review forum

published by Trip Advisor entitled “WARNING: Don't buy travels or air tickets from KIWI.COM”

available                at           https://www.tripadvisor.in/ShowTopic-g1-i10702-k10065992-

WARNING Don t buy travels or air tickets from KIWI COM-Air Travel.html.

         5.     Attached as Exhibit E-5 is a true and correct copy of a customer review forum

published by Trip Advisor entitled “Warning: Kiwi.com is a SCAM” available at

https://www.tripadvisor.in/ShowTopic-g1-i10702-k11349129-

Warning_Kiwi_com_is_a_SCAM-Air_Travel.html.

         6.     Attached as Exhibit E-6 is a true and correct copy of a user forum published by

Facebook      entitled        “Kiwi.com   -   victims     of   the   scam    Kiwi”     available   at

https://www.facebook.com/groups/254374211743198/about.

         7.     Attached as Exhibit E-7 is a true and correct copy of a Wall Street Journal article

dated January 27, 2021 entitled “The Best and Worst U.S. Airlines of 2020” available at

https://www.wsj.com/articles/the-best-and-worst-u-s-airlines-of-2020-11611756016.

         8.     I declare under penalty of perjury that the foregoing is true and correct.

         Executed in Dallas, Texas on February 22, 2021.

                                                        /s/ S. Wallace Dunwoody
                                                        S. Wallace Dunwoody

876734




                                                   2



                                                                                                        Appx. 496
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         EXHIBIT E-1




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                                                                      Better Business Bureau®
                               Home > Florida > Miami > Travel Agency > Kiwi.com, Inc.
                                                                                         Claim      Share          Print


           Business Proﬁle

    Business Proﬁle                                                                         1221 Brickell Ave STE

                         Kiwi.com, Inc.                                                     1115
                                                                                            Miami, FL 33131-3230
                                                                                            https://www.kiwi.com/
                                                                                            us/

                                                                                             Email this Business

                                                                                            (202) 844-4159




           CURRENT ALERTS FOR THIS BUSINESS
    Licensing:
    The company's Seller of Travel License with the Florida Dept. of Agriculture & Consumer Services expired
    09/03/2020.

    It was recently renewed and now expires 09/03/2021.…
    Read More

    Pattern of Complaints:
    BBB has received 114 complaints, of which 99 have gone unanswered. The majority of complaints are for
    non receipt of refunds for trips cancelled by airlines due to COVID 19. …
    Read More


           Contact Information
              1221 Brickell Ave STE 1115
              Miami, FL 33131-3230


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https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676                                            1/4


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           Customer Reviews

                                                       1/5
           Average of 33 Customer Reviews

                                     Read reviews                                 Start a Review




           Customer Complaints
           141 complaints closed in last 3 years
           131 complaints closed in last 12 months

                                   Read complaints                                File a Complaint




           BBB Rating & Accreditation

             F
           THIS BUSINESS IS NOT BBB ACCREDITED

           Customer Reviews are not used in the calculation of BBB Rating
           Reasons for BBB Rating




        Industry Tip
        BBB Tip: Smart Shopping Online

             Read More


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https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676                             2/4


                                                                                                       Appx. 499
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                                                                               Profile
        Customer Complaints
        141 Customer Complaints




        Customer Reviews
        33 Customer Reviews




        Business Details

        Headquarters
        1221 Brickell Ave STE 1115, Miami, FL 33131-3230
              Email this Business
        BBB File Opened:       1/14/2020
        Business Incorporated: 5/26/2017 in DE, USA
        Licensing Information: This business is in an industry that may require professional licensing,

                                            bonding or registration. BBB encourages you to check with the
                                            appropriate agency to be certain any requirements are currently being
                                            met.
                                            BBB records show a license number of ST42135 for this business,
                                            issued by Florida Dept of Agriculture & Consumer Services. The
                                            expiration date of this license is 9/3/2021.
                                            These agencies may include:
                                            Florida Dept of Agriculture & Consumer Services
                                            2005 Apalachee Pkwy
                                            Tallahassee FL 32399-6500
                                            (800) 435-7352


        Type of Entity:                     Corporation
        Business Management
        Mr. Oliver Dlouhy, Controller
        Additional Contact Information
        Phone Numbers
        (305) 588-4342 Other Phone
        Email Addresses

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        Business Categories
           Travel Agency




        Local BBB
        BBB Serving Southeast Florida & the Caribbean


                                                              More Info on Local BBB


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    When considering complaint information, please take into account the company's size and volume of transactions, and
    understand that the nature of complaints and a ﬁrm's responses to them are often more important than the number of
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         EXHIBIT E-2




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        CURRENT ALERTS FOR THIS BUSINESS                                   Better Business Bureau®
    Pattern of Complaints:
    BBB has received 114 complaints, of which 99 have gone unanswered. The majority of complaints are for non
    receipt of refunds for trips cancelled by airlines due to COVID 19. …
    Read More

        Complaints

    Complaints                                                                                    1221 Brickell Ave STE
                                                                                                  1115
                       Kiwi.com, Inc.                                                             Miami, FL 33131-3230
                                                                                                  https://www.kiwi.com/us/
                                                                                                  Email this Business

                                                                                                  (202) 844-4159


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       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                                12/16/2020
                        Had a canceled ﬂight, applied for refund, said it would take up to 6 months, it's been 9
                        and have had no contact. I purchased a ﬂight from JFK to Casablanca (Booking #XXX
                        XXX XXX) for Friday, March 13th. This ﬂight connected in Lisbon, Portugal then Madrid,
                        Spain before ﬁnishing in Casablanca on March 7. The ﬁrst two legs (New York to Lisbon
                        and Lisbon to Madrid) were with Tap Air Portugal while the third leg (Madrid to
                        Casablanca) was a separate ticket on Royal Air Maroc. I took the ﬂight to Lisbon and when
                        I landed, found that my ﬂight from Madrid to Casablanca was canceled. Kiwi.com had said
                        they would notify me of any cancellations and arrange alternate transportation. They did
                        not contact me or even notify me of my ﬂight cancellation. Due to the COVID situation, I
                        purchased my own ﬂight returning to New York from Lisbon to avoid getting stranded in
                        Spain. Upon return to the United States, I requested a refund through Kiwi.com for my
                        ﬂight from Madrid to Casablanca which was cancelled. I was notiﬁed that due to the high
                        volume of requests, the processing could take up to 6 months, but I was not allowed to
                        contact Kiwi.com through email or phone for support because of the level of service I had
                        purchased with my ticket. I have e-mails showing that my request was received and is
                        being processed, but here, 9 months later, I have had no communication since April and
                        still was never notiﬁed by Kiwi that my ﬂight was cancelled or that I was due a refund. I will
                        be attaching those emails and proof of ﬂight cancellation here.
                        Desired Outcome
                        I want a refund for my ﬂight that was canceled, as is guaranteed by Kiwi.com.

https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                                       1/30


                                                                                                                          Appx. 503
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   504
                                                                                  Bureau®       of 571 PageID 676
                                                                                          Profile




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                             12/15/2020
                        we bought a multi city plane ticket with this company. One of the airlines canceled our
                        trips due to problems with the airport where we were landing and where we were to
                        leave. they refuse to give us a full refund for our trip. Product_Or_Service: Travel trip
                        Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) We need our refund for 1900.00$ for the trip that we not
                        going to make for the cancellation that the airline made us.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                            12/08/2020
                        On June 30 British Air canceled the Aug ﬂights I booked with Kiwi.com in Jan 2020. On
                        June 30 I requested a refund of said ﬂights but received none. On June 30 British Air
                        canceled the Aug ﬂights I booked with Kiwi.com in Jan 2020. On June 30 I requested a
                        refund of said ﬂights but received none. In September 2020 Kiwi.com sent a generic
                             l       f                "l               l"I'       D 7
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                        British Air, which makes me think Kiwi.com has not requested the refund and plans to
                        keep my $900 dollars. It's worth noting, I also purchased the travel insurance offered by
                        Kiwi.com and that has not helped at all in expediting my refund status. Purchase date: Jan
                        15, 2020 Booking Number: XXX XXX XXX Payment Amount: $897.62 Insurance Payment
                        Amount $67.32 Payment Via Visa card ending in 7704
                        Desired Outcome
                        I would like a refund in the amount of $897.62 for the ﬂights that were carrier-canceled on
                        June 30, 2020.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                            12/03/2020
                        Booked two ﬂights through this service which were cancelled due to pandemic. Refund
                        request was submitted on May 6th, 2020 but I haven't received it. Booking number XXX
                        XXX XXX for a trip from Genoa to Los Angeles on June 5th 2020, which was cancelled
                        due to pandemic. One of the ﬂights was on British Airways, the other on Norwegian Air.
                        Refund request was submitted on May 6th, 2020. I know for a fact that Norwegian Air
                        processed the refunds for all pandemic related cancellations as I received a refund from
                        them on a different itinerary. But I haven't received it any refund, full or partial, from this
                        itinerary.

https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                                2/30


                                                                                                                      Appx. 504
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   505
                                                                                  Bureau®       of 571 PageID 677
                                                                                          Profile

                        Desired Outcome
                        I'm requesting a full or partial refund for the itinerary that was cancelled through no fault
                        of my own.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           12/01/2020
                        Kiwi has retained my refund from the airline due to COVID 19 cancellations; is
                        unresponsive. Kiwi.com is a third party travel agency who solicits their services on
                        Kayak.com. When my ﬂights were cancelled due to COVID 19, I requested a refund. I have
                        been trying to obtain my refund since May 2020. I conﬁrmed with the airline in June 2020
                        that they issued the refund to Kiwi.com and Kiwi has not issued the refund to me. When
                        you call, you have to enter your booking number before the system directs your call. If
                        your ﬂight is not within so many days of the time you are calling, they will not pass your
                        call through to a representative - they hang up. I have tried to bypass this to speak with an
                        operator, but without a valid booking number, I cannot get through. I can see the "status"
                        of my refund on my account online, but the status has not changed for several months. It
                        just says "Waiting for carrier", which is not true because I have conﬁrmation that the airline
                        has already issued a refund to Kiwi.com. In doing online research, I have found many
                        others who are experiencing the same issue as me. There is a petition with over 10,000
                        signatures of others who have had their refunds retained by this company. When
                        accessing their Facebook page, a majority of the comments are from irate customers

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                        cancelled: April 2020 Refundd Requested: May 2020 Airline: Norwegian Air (has issued
                        refund to Kiwi.com) Date of refund by airline to Kiwi.com: June 2020
                        Desired Outcome
                        I am seeking a refund in the amount of $864.18.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           11/30/2020
                        I would like to get refund from Kiwi.com I purchased Norwegian airline plane tickets to
                        Prague on 2/2/2020. Norwegian airline canceled the ﬂights in May. They gave me partial
                        refund. I spent total amount of $1369.00 but I got refund just $327.18. My invoice number
                        is XXXXXXXXX. Kiwi said they gave me voucher but I can't use that anymore. I would like
                        to get full refund amount of $1041.82 out of $1369.00. Norwegian already refunded the
                        whole amount to Kiwi.com.
                        Desired Outcome
                        Please contact Kiwi.com and help me to have them return my money back. Friend of mine
                        who purchased same tickets with same amount of money, already received her full
                        amount back from Kiwi.com



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                                                                                                                    Appx. 505
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   506
                                                                                  Bureau®       of 571 PageID 678
                                                                                          Profile




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/30/2020
                        Kiwi.com charged me twice for the same booking. The ﬁrst charge was for US$134 and
                        the second charge from EURâ?¬112.85. Kiwi.com knows is the same booking and they are
                        refusing to refund one of the amounts. I am requesting a refund for one of the following
                        Booking XXX XX XXXX or Booking XXX XX XXXX. Product_Or_Service: Airline tickets
                        Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) Kiwi.com has to refund one of those amounts because they
                        are duplicated. Please refund the â?¬112.85.




       Complaint Type: Problems with Product/Service                         Status: Resolved
                                                                                                       11/16/2020
                        The ﬂight reservation was originally made on May 19, 2020 scheduled to depart from Las
                        Vegas, NV on Thursday June 5 and scheduled to arrive in Cartagena, Colombia on Friday
                        June 6. American Airlines cancelled the ﬂight due to ﬂights were not allowed to enter
                        Colombia. I was notiﬁed about the ﬂight cancellation by email on May 28. A refund
                        request was submitted on May 29 and was informed to expand the refund in about 90

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                        Desired Outcome
                        Other (requires explanation) I was not able to use the ﬂight to Cartagena, Colombia due to
                        being cancelled by American Airlines due to the Colombian Government prohibited ﬂights
                        to enter. The only resolution would be a refund to a ﬂight that was cancelled over a
                        reason not my fault with the airline having to cancel ﬂight due to Government not allowing
                        the ﬂight to enter the country. I was with the understanding that cancelled ﬂights from
                        American soil due to COVID-19 should be refunded.



               R

            Kiwi.com, Inc. Response                                                                  11/17/2020




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                                                                                                               Appx. 506
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                                    Kiwi.com,         Filed 02/24/21
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            XXX XXX XXX Dear *** ************, We would like to sincerely apologize that your refund request
            will take longer to process than expected. Due to the unprecedented circumstances at this time,
            all carriers are currently overwhelmed with refund requests, and we're still waiting for them to
            ﬁnish processing yours. Rest assured that we're in contact with them regularly to try to speed
            things up. As soon as we have more of an update to share, we'll contact you immediately. In the
            meantime, we thank you for your patience and understanding. You can check the overall status
            of your refund request on your trip. View refund status Your Kiwi.com team LAS Las Vegas United
            States McCarran International 07:00 Friday, Jun 5, 2020 ATL Atlanta United States Hartsﬁeld-
            Jackson Atlanta International 14:01 Friday, Jun 5, 2020 Airline: Spirit Airlines ATL Atlanta United
            States Hartsﬁeld-Jackson Atlanta International 16:30 Friday, Jun 5, 2020 MCO Orlando United
            States Orlando International 18:03 Friday, Jun 5, 2020 Airline: Spirit Airlines MCO Orlando United
            States Orlando International 08:00 Saturday, Jun 6, 2020 MIA Miami United States Miami
            International 09:01 Saturday, Jun 6, 2020 Airline: American Airlines MIA Miami United States
            Miami International 10:50 Saturday, Jun 6, 2020 CTG Cartagena Colombia Rafael NÃºÃ±ez
            International 12:40 Saturday, Jun 6, 2020 Airline: American Airlines




            Customer Response                                                                        12/16/2020

            I understand their response for the reason for the delay in getting the refund. I do believe I do
            need to leave the complaint case open due to not getting the desired outcome at this time and it
            has been 6 months.

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            Customer Response                                                                        01/22/2021

            I need to update the status of this compliant. The issue has been resolved and I did receive a
            refund on the cancelled ﬂight. Thank you.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        11/12/2020
                        I requested a refund because all my ﬂights were cancelled from this company on 06 July
                        2020 for tickets that were issued for July 17th 2020. I booked my ticket on the 30th of
                        June 2020 for a ﬂight on July 17th 2020. I received an email from them on July 6th that all
                        my ﬂights were cancelled from the airlines and immediately requested refund on July 6th.
                        They said that due to COVID it may take up to 3 months to process a refund. It has now
                        been 4 months and they have not provided me with any progress in terms of my refund.
                        This is completely uncalled for as i have over 1500$ that i had paid for when services
                        were not rendered. I did not take these ﬂights. I have called the company and spent 3 hrs
                        on wait time to have someone hang up on me when i demand answers. I emailed them
                        about the refund and they just shrugged it off and said it may take longer because of the
                        current situation. This is absolutely ridiculous especially during these times. They

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                                                                                                                Appx. 507
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   508
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                                                                                          Profile

                        cancelled my ﬂights and have not given me a penny back. The booking ref number is XXX
                        XXX XXX. I paid through my credit card. Please let me know what i can do because it is a
                        lot of money and i am frankly fed up.
                        Desired Outcome
                        I expect a full refund of this ﬂight. I checked airline policies and they speciﬁcal state that
                        becuase of the covid situation there are no cancellation fees and full refunds are granted.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                               11/04/2020
                        A refund request that I agreed could take up to three months and which their website
                        would be no longer has gone into it's 8th month. I have contacted their "customer service"
                        on three occasions, and I get the same repeated answer, we're waiting on the carriers.
                        Many of us have reached out to carriers who have told us they have returned funds to
                        Kiwi, and Kiwi is refusing to return them to the customer. I have reached out to the CFO
                        ***** *********** he told me he would personally look into it, and, again, no response, that
                        was 10-6-20. The CEO ****** ********* LinkedIn page is littered with angry customers like
                        myself.
                        Desired Outcome
                        I want a refund. If it is a partial refund, I should be entitled as to why it is such. I chose the
                        refund category (waiting 3 months) to avoid additional fees.

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       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                              10/30/2020
                        Trip booked to Europe, $3,545, all ﬂights cancelled due to COVID19, Kiwi has
                        acknowledged they will provide refund, but haven't yet. See the timeline below, we're
                        owed a refund from Kiwi, and they haven't provided the refund yet, and have stated that
                        they are waiting on the airlines to provide a refund. However, I've called each airline, and
                        they do not have anything pending, that all the money has been returned to Kiwi already.
                        Timeline: 2/18/2020: Booking was made on Kiwi.com for $3,545.58, via my Chase Credit
                        Card. March through May 2020 15+ calls were made to Kiwi, but they were only speaking
                        to customers who had a trip within the next 14 days. 4/2020 We ﬁled a dispute with
                        Chase, which was ultimately held in favor of Kiwi. 6/9/2020 All ﬂights were cancelled by
                        the airlines, due to travel restrictions from USA to Europe due to COVID-19. Kiwi notiﬁed
                        me that there was action to be taken for our booking (see additional document uploaded).
                        According to the refund policy of Kiwi, refunds will ONLY be provided if the cancellations
                        were made by the Airlines (which they were). 6/11/2020 I choose a priority refund, which
                        cost me $22.76, and guaranteed a refund resolution with 6 weeks (see additional
                        document uploaded). 7/17/2020 Another call made to Kiwi, and was told needed to wait
                        the full 6 weeks for refund to be made 7/27/2020 The 6 weeks timeframe expired on
                        7/23/2020, so we called, and I was told that the refund is still processing, and we just
                        needed to wait longer. 8/11/2020 We called Kiwi again, and escalated to a supervisor, we
                        spoke with them and was assured this would be handled soon. 8/11/2020 Kiwi sends us
                        an email that states "Proof of Refund" and the refund will be received within 10 working
                        days (see additional document uploaded) 8/26/2020 After the 10 working days have
                        expired, we called Kiwi again, and they state that there is NO refund in process, and they
https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                                   6/30


                                                                                                                        Appx. 508
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   509
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                        have no option to refund because the airlines have not provided the refund to them yet.
                        They conﬁrmed all of this in an email (see additional document uploaded) 9/23/2020
                        Contacted Kiwi again and asked for an update and they said they are still waiting on the
                        airlines to return the money. The same story they've said the entire time.
                        Desired Outcome
                        Refund of $3,545 It is of my opinion that Kiwi has already received all refunds from
                        carriers, and even though they've been hit hard by COVID, they do not plan to distribute
                        any refunds to their customers, thus stealing our money.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/27/2020
                        I purchased airline tickets from kiwi.com before the pandemic. They canceled my ﬂight
                        and have not provided me with a refund. I purchased airline tickets ($690) from kiwi.com
                        before the pandemic (3/14/20). They canceled all my ﬂight and have not provided me with
                        any refund. They began the refund process and have never completed it. They do not
                        answer emails and their phones automatically hang up on you. They have since altered
                        their refund policy on their website. I also disputed the charge with my credit card
                        company (Capital One Visa) who also will not help. Any help would be appreciated.
                        Desired Outcome
                        A full refund of purchase price.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/27/2020
                        I have been waiting over 6 months. Airline has conﬁrmed my refund was sent to their
                        company but they are refusing to return the money. Airline has conﬁrmed my refund was
                        sent to their company to a credit card ending in 8491. The company refuses to
                        acknowledge and is not returning phone calls or emails. This was for Booking ID:
                        XXXXXXXXX. Total was $1,146 EUR
                        Desired Outcome
                        I am seeking a full refund for my ﬂight, as stated in their policy.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         10/21/2020
                        I bought an air ticket to go to Vietnam (departure on 6/19/2020) from Kiwi.com, Kiwi.com
                        ticket price $2580.33. At check-in at SFO, Korean Air declined my boarding for two
                        reasons:1)My connecting ﬂight at Tokyo: Arrival terminal and departure terminal were
                        different. I could not go to the departure Terminal from the arrival Terminal due to
                        coronavirus regulation at that time (June 19, 2020).2)My connecting ﬂight to Vietnam from
                        Hong Kong was canceled (Cathay Paciﬁc).Korean Air asked me to contact the Kiwi.com
                        agency for a full refund as the ticket should not have been issued in the ﬁrst place for the

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                                                                                                                 Appx. 509
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   510
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                        above two reasons.I did not cancel my trip. This is completely Kiwi's fault.I got a total
                        refund of $117.59 from Kiwi.com. This is not the right amount of what I paid for.Airlines
                        listed on my air ticket: Korean Air, Jeru Air, Cathay Paciﬁc, AirAsia. Product_Or_*******: Air
                        ticket
                        Desired Outcome
                        Other (requires explanation) We really appreciate your help to get us a full refund of
                        $2580.33. Please contact me if you need additional information.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           10/21/2020
                        I purchased airline tickets. My ﬂights were cancelled by airline. Kiwi.com refuses to refund
                        money despite receiving that money back from airlines. 01/21/2020, I purchased tickets
                        for ﬂights serviced by Norwegian and Ukraine International Airlines. BOOKING NUMBER
                        XXXXXXXXX 05/06/2020, Kiwi.com notiﬁed my that my ﬂights were cancelled
                        06/08/2020, I requested refund from Kiwi.com through agent ******* and supervisors Ms.
                        ****** and Mr. ******. 07/09/2020, Kiwi.com issued a "Carrier voucher" from Ukraine
                        International Airlines for undisclosed amount with expiration date in 5 months.
                        07/09/2020, I had a phone call with agent *****. She notiﬁed me 1) Kiwi.com received a
                        refund from Norwegian and ﬁnance department will be processing that shortly. 2) Ukraine
                        International Airlines has policy to provide full monetary refund when requested and she
                        requested ﬁnance department to issue me a refund instead of "Carrier voucher". I have
                        yet to receive any refunds from Kiwi.com despite their agent conﬁrming that both airlines
                        issues refunds on my behalf.
                        Desired Outcome
                        Provide a refund in amount of $2,617.00 for services that were never rendered.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           10/21/2020
                        I booked a roundtrip ticket from Puerto Rico to San Antonio, Tx for my sister in law on
                        Feb.27th 2020.Due to the start of the Corona 19 pandemic and the fears of traveling, my
                        sister in law decided that it was best to cancel the trip. I requested a cancellation on May
                        11th 2020. Kiwi informed me that they would take care of it but it would take about 3
                        months before I would see the refund. It has long past the 3 months and I still haven't
                        received the refund.Booking # XXX XXX XXXPassenger name: ****** ********* ****
                        Product_Or_*******: Travel Account_Number: XXX XXX XXX
                        Desired Outcome
                        Other (requires explanation) Request either1- A full refund back to mu American Express
                        credit card2- A voucher for a future ﬂight




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           10/20/2020
https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                               8/30


                                                                                                                    Appx. 510
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   511
                                                                                  Bureau®       of 571 PageID 683
                                                                                          Profile

                        Requested a refund for a cancelled ﬂight on April 23rd, still didn't receive it.
                        Product_Or_Service: Flight Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) I would like my money back.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                                 10/13/2020
                        Will not provide refund/credit for roundtrip ﬂight from Tijuana to Cancun through Viva
                        Aerobus during the pandemic when the Mexico border was closed. My name is ******
                        ******* and I bought a ﬂight through kiwi.com on 2/24/20 on Viva Aerobus airlines for a
                        roundtrip from Tijuana to Cancun and back - ﬂight dates are 5/13/20 - 5/17/20. My booking
                        # is: XXX XXX XXX. This was during the height of the COVID 19 pandemic where the
                        Mexico border was closed. I live in San Diego and we were in shelter in place quarantine.
                        My ﬂight total was $324.30. I paid extra for an expedited refund through kiwi.com and still
                        have not received a refund or credit 5 months later. I have called multiple times and I have
                        gotten no where. When I call they have you input your booking # and it hangs up on you
                        saying they are only taking phone calls for upcoming bookings. There is no way to reach
                        them through their website. The refund says waiting on the airline to process a refund but
                        when I call the airline they said I have to go through kiwi.com and that they already have
                        processed a refund for the ﬁrst leg of the trip. My ﬁrst ﬂight to Mexico City was delayed 5
                        hours and my connecting ﬂight was cancelled. I should be able to get a refund or at least
                        full credit considering these circumstances. This company seems like a scam since no one
                        is even willing to help and there is no way to contact the company. When I read the
                        reviews on yelp they are all saying the exact same thing.
                        Desired Outcome
                        I would like a refund or credit for the $324.30 trip I purchased. I do not wish to use this
                        company again so a refund would be my desired resolution.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                                 10/13/2020
                        A refund was initiated on 4/16/20. The estimated refund time was 3 months. Kiwi keeps
                        telling us they're waiting on a reply from the airline carrier I, ******* *******, and my wife, *****
                        *******, paid Kiwi for ﬂights totaling $317. When COVID hit, we applied for a refund. It has
                        been nearly six months and we have not received a refund. We have reached out to Kiwi
                        several times and keep being told, "We're waiting on the airline." Our online refund
                        application shows that the carrier has ﬁnished processing our refund request and that
                        Kiwi is waiting for the carrier to send the refund. The application has showed this same
                        thing for several months. The Kiwi booking ID is XXXXXXXXX.
                        Desired Outcome
                        We want our $317 refunded immediately.




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                                                                                                                          Appx. 511
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   512
                                                                                  Bureau®       of 571 PageID 684
                                                                                          Profile

       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         10/13/2020
                        I applied for my refund in February because my trip had been canceled due to covid. I
                        have written numerous times and still haven't received my refund I purchased tickets from
                        Charlotte to Amsterdam and then from Paris to Charlotte. I purchased the options that
                        would allow me to cancel my trip regardless of reasons and get a full refund. I canceled
                        both trips because my tour was canceled due to coronavirus pandemic. It has *** been 6
                        months since i canceled my trip and I keep getting the runaround regarding my refund.
                        My ticket numbers are XXXXXXXX and XXXXXXXX. I want my refund ASAP. This is so
                        crooked.
                        Desired Outcome
                        I want them to refund my money ASAP.




       Complaint Type: Billing/Collection Issues                    Status: Unanswered
                                                                                                         10/13/2020
                        Unable to receive refund for airline tickets due to Kiwi placing purchase on their own
                        credit cards instead of on mine. Purchased airline tickets on XX-XX-XX for 3 tickets from
                        Cleveland to Denver on September 24th-27th. due to current social situation we needed
                        to cancel the ﬂight. We were unable to contact KIWI due to poor communication
                        standards, so contacted United who said they would refund us but then noticed the
                        tickets were placed ON KIWIs credit cards instead of my DISCOVER. The booking number
                        for ﬂight is XXXXXXXXX but KIWI divided it into 2 different conﬁrmation numbers *******
                        and ******* which United said they would refund the money of 411.00 dollars but was
                        unable to do so. Contacted Discover who did try to dispute the claim but they weren't
                        able to refund the money. We weren't able to contact KIWI due to our ﬂight not being in
                        the rage of emergency contact. If we were able to get in contact with an employee at KIWI
                        it wouldn't have been an issue or if it would have been on the original credit card there
                        wouldn't have been a problem with the refund.
                        Desired Outcome
                        We would like the refund of $411.00 since we weren't able to utilize the tickets. We realize
                        it was in September but we still deserve our refund.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/09/2020
                        I booked and paid a ﬂight ticket through KIWI.COM website to Caracas, Venezuela, with
                        one stop in Panama. THe airline was COPA Airlines. The ﬂight was cancelled due COVID-
                        19. We requested refund and called the airline. The airline stated that they already paid
                        KIWI.Com, and more than 2 months have elapsed and we have not received the refund or
                        vaucher to use. We have called several times to the phone (XXX) XXX-XXXX but as soon
                        as we provide the booking ID number the message is that they cannot attend, because
                        supposedly they are attending other customers. Product_Or_Service: airline ticket
                        Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) Refund of the full amount $606,14.
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                                                                                                                 Appx. 512
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
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       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/07/2020
                        Hello there, I am desperately reaching out since I have no other options left.I booked a
                        ﬂight through kiwi.com back in June. Shortly after that they canceled my ﬂight. I was trying
                        to get in touch with them for a possible rebooking or any other options but that didn't
                        work out. The email is not going through, messenger takes at least a week to hear back
                        from them and than will be an auto message that doesn't even make sense. Phone
                        number won't go through saying: "I am sorry , we only assist passengers who travel within
                        the next few days"Than I contacted my bank for a charge back but kiwi.com fought that
                        and denied the request. After that I went on their web site and applied for a refund. Now
                        they are saying that they won't process my refund because the charge back claim is open
                        with my bank, WHICH IS FALSE AND NOT TRUE. I emailed, fax and sent them in
                        messenger the supporting paperwork stating that the claim is closed and not paid. My
                        bank also notiﬁed them and mailed them the paperwork that the case is closed and not
                        paid because kiwi.com denied the request for a refund. They won't honor and every time I
                        have the chance to get in touch they provide me different information and empty
                        promises.It's been 3 months dealing with them and it's so frustrating, disgraceful and
                        unprofessional. Especially in these circumstances. I paid for services that never received,
                        why would they hold on my money and why they won't even provide me any updates or
                        at least start the refund process. I will attach the paperwork and screenshots that I have
                        with them. Hope you guys can help me! Product_Or_Service: Booked a ﬂight
                        Desired Outcome
                        Other (requires explanation) I would like to get my money back since I was never able to
                        use their services.Also I don't want any coupons or vouchers since I am not planning on
                        using their services ever again. In addition when I paid them, I paid with actual money, not
                        with a coupon or voucher so that's what I want to receive back. Flight number XXX XXX
                        XXX




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/07/2020
                        Received a refund for cancelled travel that was less than the original amount charged. No
                        information provided for the reason. I made a booking for ﬂights SFO-OSL-TLL-SFO for 4
                        passengers on kiwi.com on 1/25/20 (booking #XXXXXXXXX). A total amount of $3115.50
                        was charged on my credit card. Travel dates were 5/29/20 - 6/8/20. Due to Covid-19, the
                        ﬂights were cancelled and travel from/to US to Norway and Estonia was not possible. On
                        4/20/20 I initiated a refund request and paid additional $21.72 for expedited handling of
                        my request with promised 6 week window. By 6/25 I had not heard anything from Kiwi,
                        called them and received an email message informing me that they are still waiting for the
                        carrier to process the refund requests. In July I called one of the carriers (Norwegian
                        Airlines) directly and learned from them that they had sent a refund to Kiwi on 6/22. After
                        multiple phone calls to Kiwi, a refund in the amount of $2191.74 appeared on my credit
                        card 7/20/20. I received an email from Kiwi 7/22/20 informing me that the request has
                        been resolved. On 8/3/20 I called the other carrier (AirBaltic) and was told that they never
                        received the refund request from Kiwi. I had to contact Kiwi again asking them to resubmit
                        their request to AirBaltic. Received an email from Kiwi 9/17/20 informing that the second
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                                                                                                                 Appx. 513
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                                    Kiwi.com,         Filed 02/24/21
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                        refund in the amount of $248.49 was being processed and received the refund on my
                        credit card. Total, the two refunds amount to $2440.23 which is $675.27 less than the
                        original amount charged for the booking. Both airlines have conﬁrmed that they refunded
                        full amounts of the airfares. Kiwi is unwilling and unable to explain why they have
                        refunded less than the full amount.
                        Desired Outcome
                        I wish to receive the full refund for the booking that was cancelled due to Covid-19.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/07/2020
                        After we purchase three tickets to ﬂy to Puerto Rico we were infected with covid-19 so we
                        have to push back the date of departure and the return date about a week back when I
                        call kiwi.Com to Make the changes they charged me $120.97 additional just for making
                        the changes and then they decide to tell me after 20 days from this tickets being
                        purchased that the price has changed and i didn't agree with because I already
                        purchased the tickets 20 days ago so at that moment I realized that I could not pay $265
                        extra in the top of the $120.97 that they charged me for the fee so I decided you know to
                        not go ahead and not make the changes so what I did is that I call a different airline and I
                        purchase just one way tickets to go to Puerto Rico with the desire date because it was
                        cheaper for me to do it that way, I call them back and tell them that they need to refund
                        me the $120.97 for the change fee because the change was never done so they were not
                        supposed to charge me for something they didn't do, so at that point they told me they
                        were going to refund me $120.97 for fee of making changes because it was never done
                        because I have to pay the $265 for the price change in order for them to make the
                        changes, this is how they try to rip me off, so I said no I'm not going to make the changes,
                        so I want you to refund me the $120.97 so they say that I have to wait 48 to 72 hours for
                        the ﬂight change for the $120.97 wish it was today on September 30th when I called them
                        back now after I put today their asisted refund so they can refund me for the tickets,now
                        they saying that the refund that it was suposed to be today, they are going to refunded at
                        least 3 months later after a review, this is a ripped off, because they changes me for
                        services that they never did and never did what they told me,and i New the money to
                        Travel Next week apt least the fee for $120.97 todas and i Wait the 3 months for the
                        tickets refund but nothing happends he Jeep Sting sorry sir,they never have to Walt 3
                        months to changes my car. Product_Or_Service: 3 Tickets
                        Desired Outcome
                        Other (requires explanation) At least yet the refund they promise me todas for $120.97 for
                        the ﬂight changes and the i wait at least the 3 months for the $292.00 for the 3 tickets.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/06/2020
                        Refund requested in April for May round trip ﬂight to Barcelona not received 1/15/20 -
                        bought roundtrip ﬂight to Barcelona booking XXXXXXXXX and XXXXXXXXX 4/9/20 -
                        ﬂights cancelled 4/15/20, 4/20/20, 4/22/20 - tried to get through to representative to
                        discuss refund and was unable to get through despite hours on the phone 5/8/20 -
                        oﬃcially requested full refund online 8/21/20 - my refund request was processed and I
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                                                                                                                 Appx. 514
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   515
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                        was told it could not be put on my card due to it being longer than 6mo from initial
                        purchase From that until now I have tried calling multiple times and have not been able to
                        get through because my ﬂight is in the past and they will not accept my conﬁrmation
                        number. I have sent many emails as well as held desk requests asking for alternate ways
                        to get my refund. They continue to ask me to give them my personal banking information
                        including routing number and account number OVER EMAIL. I have asked many times to
                        an alternative and been told again and again to give my banking number through email or
                        to call the same number. I have asked to be personally contacted to resolve and was
                        ignored. Most recently I was told to put through another refund request online with my
                        banking info in that request and when I tried the refund request was closed and I was
                        unable to do this. I have spent hours of my time trying to resolve this and received no
                        answers or resolutions from kiwi.com except for continued inappropriate requests to send
                        them my personal banking information via email.
                        Desired Outcome
                        I would like my full refund for my cancelled ﬂights as well as an apology from the company
                        for the signiﬁcant stress this has caused me as well as time wasted




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        10/05/2020
                        Five months from refund application to credit of 1/4 of air fare. Purchase Swiss Air 1.9.20
                        for $7,681.84 for July travel. Cancelled 4.21.20 and applied to Kiwi for refund. Told it
                        would take 3 months to process. August 22 notiﬁcation that refund sent to Kiwi from
                        Swiss Air. Sept 23 message to Kiwi re refund and intention to ﬁle complaint if no action.
                        Oct 2 notiﬁcation that refund posted to my account for $1,770.30. Cannot access Kiwi by
                        phone or email to ﬁnd out where the balance of refunded airfare is and when it will be
                        credited to me. My account with Kiwi notes that it is "resolved."
                        Desired Outcome
                        Balance of air fare refunded from Swiss Air




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        09/28/2020
                        Had to cancel my Europe trip due to COVID (March 18) they refunded me 69 dollars out of
                        almost 4000 and haven't refunded me the rest. We had to cancel our trip due to COVID
                        our cancellation was on March 18 and trip was in August. I still haven't got my full refund
                        and it's September 28. Everytime I contact them they give me the same run around and
                        saying they are waiting on the airlines but I saw somewhere that this company is running
                        a scam with peoples refunds and my bank can't help since it's been more then 90 days
                        after the purchase. I Contacted them multiple times over Facebook since they weren't
                        responding to my emails and wouldn't answer call regulary. I'm so tired of stressing over
                        this money that they basically stole from me. I just want my money back.
                        Desired Outcome
                        None yet



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                                    Kiwi.com,         Filed 02/24/21
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       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                      09/23/2020
                        Sold me air travel ticket that was cancelled due to Covid and refused to refund me. I
                        bought air travel ticket on Feb 12, 2020 on Kiwi.com. Few days Devore departure I
                        received text from Kiwi.com that one of my ﬂights (ticket consisted of 4 ﬂights) was
                        cancelled due to COVID-19. Message also stated I have to go to Kiwi.com and chose one
                        of the options given to me within 24 hours or I will loose my warranty with them. Went on
                        the website, options were the following: agree to receive around $20 out of $500 I spent
                        and close the case because I did not purchase any additional insurance with them, or pay
                        them another $500 to be rebooked on a different ﬂight instead of cancelled one and
                        keep all of my other connections. The choice was to pick one of those or do nothing.
                        Checked the rest of my ﬂights included in newly sold ticket only to ﬁnd out 2 more are
                        cancelled already, bringing total to 3 out of 4 ﬂights cancelled at that point. So paying
                        more and still not traveling did not make sense. It also did not make sense to agree to get
                        $20 out of $500 if there is no fault of my own. Tried to contact Kiwi, called, spent hours
                        on hold. No response of any kind. Went to my credit company, ﬁled a claim with them.
                        Kiwi responded that they are giving me options without mentioning what those were and
                        because I did not respond to the bank within 5 days with my side of the story case was
                        closed and money sent back to Kiwi. (I was not aware of deadline but that is a different
                        story). Meanwhile Kiwi changes statement on their website stating they will now refund
                        people (I believe it was around time when DOT came out with the statement that people
                        with cancelled tickets have to be refunded). It also stated that process will take up to 3
                        month unless we pay them some more to expedite the process. Under my booking
                        appeared a link to request the refund. I did. After 4.5 months and one email stating they
                        are still working on my refund reached out to them again. Was told my refund is not being
                        processed because there is a chargeback from my bank that was never resolved. FYI -
                        money was immediately sent back to them after my claim with bank was closed. Stated
                        they need me to get a letter from bank conﬁrming charge as valid and then they will be
                        able to process my refund. Got a letter for them, sent to them, got conﬁrmation it was
                        received and forwarded to ﬁnance department. Weeks of silence. Reached out multiple
                        times, every time was told to wait and that my refund is being processed and I have to
                        wait some more. Finally, received a response, that they decided not to refund me at all.
                        Kiwi stated that because there was a chargeback from the bank, they are keeping the
                        money that was sent back to them, even though they know I was not able to use my ticket
                        purchased through them. Somehow I think airlines refunded everyone automatically,
                        because I had other reservations cancelled due to COVID-19, and this is what happened,
                        but Kiwi simply decided to keep it. I believe the treatment I received by the company
                        Kiwi.com is unfair, abusive, and deceptive. I have records of every conversation I had with
                        them. My booking number is XXXXXXXXX.
                        Desired Outcome
                        Full refund of $508.50 for the ticket that was cancelled and I was unable to use due to no
                        fault of my own.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                      09/22/2020
                        This travel agent owes us $1,212.55 for ﬂights we booked through them and paid for that
                        did not ﬂy, due to the COVID19 pandemic. We have completed refund request forms, we

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                                                                                                                Appx. 516
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                                    Kiwi.com,         Filed 02/24/21
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                        have emailed, and we have called. They keep giving us the run-around. Our emails just
                        get automated responses. When we call, they cut us off. We have contacted the airlines
                        that they got us ﬂights with, and each of the airlines say that they have already refunded
                        our ﬂight costs to Kiwi.com, but kiwi.com won't send us the money. Product_Or_Service:
                        Round trip ﬂights to Greece and back
                        Desired Outcome
                        Other (requires explanation) Refund us $1,212,55 for the ﬂights that we paid for that did
                        not ﬂy.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        09/18/2020
                        I purchased 3 ﬂight bookings with Kiwi.com back in October of 2019. In March of 2020,
                        major changes to airline schedules were made and my ﬂight(s) was/were cancelled. I had
                        options to cancel, reschedule, rebook, or request a refund or credit. The situation was
                        ﬂuid at the time and many businesses including kiwi were changing policies rapidly. I
                        requested a refund with Kiwi for all 3 ﬂight bookings and have not received any money
                        back from them since Mid to Late March when I ﬁled my claim. I have tried calling them
                        back but they won't answer. Emails are taking a lot time to get replies. I also ﬁled a
                        complaint against my credit card to help me refund the money from Kiwi. They also have
                        not provided any help even with multiple claims and letters sent to them. (I ﬁled a
                        separate complaint with Chase). Product_Or_Service: 3 Flight Bookings
                        Desired Outcome
                        Other (requires explanation) I would like for kiwi to refund me the money back to the
                        original form of payment, or by check if they choose. They have made it very made it very
                        diﬃcult to receive my money back. I would have never known that the circumstances
                        where going to change so rapidly back in October of 2019 when I ﬁrst purchased the
                        bookings.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        09/15/2020
                        I purchased airline tickets which were later cancelled by the airline. Kiwi refunded me $11
                        out of $1,206.12. On January 3rd, 2020, I purchased two one-way airline tickets from
                        Edinburgh, UK to Columbia, SC through Kiwi.com. I paid $1,206.12, including
                        insurance/ancilliary service. The ﬂight was to depart on July 9, 2020 and I was notiﬁed on
                        June 11, 2020 that the ﬂights had been cancelled. I was given the option to choose a full
                        monetary refund with the understanding that it could take 3 months to receive. I chose the
                        refund option. On Sept. 14, 2020, I was notiﬁed that I would be receiving a refund of
                        ELEVEN DOLLARS. I attempted to call the help line but when I put in my booking number,
                        the automated message told me I would not be able to speak to someone on the phone
                        b/c my ﬂights were in the past and the help line was reserved for people with current
                        ﬂight reservations. I attempted to log in for the live chat but the link just took me to a
                        booking page.
                        Desired Outcome
                        I just want the money that I paid for the airline tickets refunded.

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                                                                                                                    Appx. 517
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                                    Kiwi.com,         Filed 02/24/21
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                                                                                          Profile




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                          09/15/2020
                        Flight canceled due to covid. Asked for ﬂight credit. They have not given. Site covid
                        disclaimer did not allow me to cancel. Blocked access. Flight was canceled due to covid, I
                        attempted to cancel ﬂight on website so I could get a credit or a refund. Kiwi plastered a
                        covid disclaimer on the page stating that ﬂight had been canceled. That disclaimer
                        blocked me from canceling ﬂights so I could get a refund. I spoke to someone and they
                        told me because of disclaimer I would be credited in a few months. This did not happen.
                        The credit card owner ﬁled a discrepancy with the bank. He did not win the discrepancy,
                        so I contacted kiwi again. This time they wanted proof that the discrepancy did not go
                        through so they could give me a credit. I supplied this information and they
                        acknowledged they received it. I waited and waited, and received a message that my
                        refund was denied. I called and messaged kiwi asking why? They told me they needed
                        the paperwork from bank stating the discrepancy was not approved. I told them that I
                        already supplied this proof and they changed the story and said that I should disregard
                        that message and that they were still working on my claim. I've explained that I need to
                        rebook this ﬂight because all the hotels and tours in Europe already gave me credit but I
                        have a time limit to book. Kiwi is the only one that hasn't given me credit. I told them I was
                        ok with credit and I would book using kiwi again. I will supply a letter from credit card
                        company that my case was denied, this is the reason they say that haven't credited me. I
                        have gave them the same letter
                        Desired Outcome
                        All I want is kiwi.com credit on my account so I can rebook my trip. Email on kiwi account:
                        ********@me.com Number on account: XXX-XXX-XXXX Names on ﬂight boarding: ******
                        ****** *** ****** *** ***** ******* ******** ********* ****** ****** ****** **




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           09/11/2020
                        Dear BBB, On May 3, 2020, I contacted Kiwi about plane tickets that I purchased from
                        their company in May of 2020 when I was stranded in China during the outbreak of the
                        Coronavirus. On the day of departure, the second airline would not allow me to transfer
                        planes which left me stranded at the ﬁrst airport of my itinerary. Due to the fact that I could
                        not utilities the tickets that were sold to me, I immediately asked Kiwi for a refund. They
                        informed me that they would get back to me but never did. I then contacted the airline on
                        my own and asked for a refund which they stated that would refund to Kiwi. I then
                        disputed the charges with the credit card company who upheld Kiwi on the charges when
                        Kiwi showed that I had ordered the tickets. I am disappointed and upset by the unfair and
                        fraudulent business practices of this company. I have joined a facebook group of other
                        members who have also been scammed by Kiwi. Something needs to be done about this
                        company so that other innocent victims will not be subjected to their unscrupulous
                        business tactics. Product_Or_Service: Airline tickets
                        Desired Outcome
                        Other (requires explanation) I would like it documented that this company is not reputable
                        so that other innocent people are not taken advantage of. It would be helpful to receive a

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                                              Inc. | Complaints | Better BusinessPage   519
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                                                                                          Profile

                        refund from this company as a result of them looking into my situation further and seeing
                        that the airline refunded the money back to them.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         09/08/2020
                        Travel was cancelled due to Covid by airlines. Norwegian airlines returned my money
                        back to Kiwi in July. Kiwi continues to refuse to give me back my money and does not
                        provide an update as to when I will receive it. They have already received my money 2
                        months ago Product_Or_*******: Airline tickets Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) That kiwi returns my $402 that was paid to them to pay
                        Norwegian and returned to them once airlines canceled travel. I simply want MY MONEY
                        that they refuse to give me




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                            08/31/2020
                        kiwi.com advertises cheap international tickets then 20 seconds after landing on their
                        page it says the ticket "just sold out" and pitches tickets at almost twice the price.This
                        happens for all the cheap tickets yet they still show as available the next search.Bait and
                        switch.
                        Desired Outcome
                        Other (requires explanation) Stop transmitting fake prices to your partner sites.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         08/27/2020
                        Flight got cancelled because of covid over 3 months ago and they still have not issued
                        me a full refund or given me any kind of credits. I booked a roundtrip from Toronto to
                        Vancouver with a third party website Kiwi.com back on March 10th. My full name is *** ***
                        and my conﬁrmation number is ******* The ﬂight departure date was April 21st and my
                        roundtrip ﬂight was for April 28th. The ﬂights were cancelled due to Covid and I called
                        and talked to an Air ******* agent shortly after and they told me that I'd have to get the
                        credentials from Kiwi.com to login into Air ******* and get the credits for the ﬂights. On May
                        7th I submitted a refund request to Kiwi and they said they would get the credits from Air
                        ******* and send it to me. I was told the process would take up to 3 months. It's been more
                        than 3 months now and I still have not heard anything back or gotten any kind of Air *******
                        credits for those ﬂights. My total for the ﬂights was $334.92 CAD and I paid with my visa.
                        Unfortunately, because they took too long to communicate with me and get back to me, it
                        is too late for me to dispute it with my credit card company. This process is taking too
                        long. Please let me know if there's anything you can do for me. I've been in contact with
                        both parties numerous times and each time they say that they are waiting on the other
                        party and at this point I don't think I'll ever get my money back or a full credit.
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   520
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                        Desired Outcome
                        I am demanding a full refund back, or a full credit from Air Transat which Kiwi can obtain
                        from them. I would prefer a refund in dollars but a credit will be ﬁne as well. Anything
                        works at this point.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        08/27/2020
                        After many of my ﬂights were cancelled due to Coronavirus, as part of the Kiwi.com
                        guarantee, I was given the option of accepting a ﬂight voucher for the ﬂights that were
                        cancelled. Since all the ﬂights were not showing up as cancelled, I called the Kiwi.com
                        customer support to make sure their information got updated, and they were able to
                        trigger a ﬂight as cancelled in their system, which increased my refund amount from
                        around $1200 to just over $1600. At the time, I asked if I had 14 days left to claim that
                        refund, but was informed that I had 14 days from the last cancelled ﬂight. 15 days after my
                        ﬁrst cancelled ﬂight, the $1600 refund was no longer available, and the refund option had
                        dropped to around $1200 again. When I called, I found out that I had been misinformed,
                        and that the refund for each ﬂight would only be available for 14 days after the time the
                        ﬂight was originally scheduled for. I was also told that a supervisor would review my case,
                        and get back to me within 24-48 hours, by email and phone call. I wasn't given
                        instructions on whether or not accepting the $1200 refund would affect my ability to get
                        the full refund, since they were supposed to respond within the time that refund would be
                        available. However, it took months for them to review my case, and each time I called they
                        told me they would be back to me within some amount of time, and they never did. I still
                        haven't gotten an email, but when I called they informed me that when the supervisor
                        reviewed my case, they decided that I hadn't been told I could claim my full refund within
                        14 days from my last affected ﬂight, even though I have a recording where I heard what
                        was told to me and I know I was. Even so, I was not given the email promised or any offer
                        to reclaim the refund I missed because of their inability to get back to me within the
                        promised time frame. Each time I have requested help it has been dismissed with some
                        different excuse. Product_Or_Service: Multi-city ﬂight from Salt Lake City to Nashville
                        Order_Number: XXXXXXXX Account_Number: XXXXXXXX
                        Desired Outcome
                        Other (requires explanation) I would like the ﬂight credits that I was promised I could
                        receive.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        08/26/2020
                        My ﬂight was impacted due to COVID-19 and the company showed no sympathy or viable
                        refund options. Only read a script and did not offer any support. Called Kiwi on 8/25
                        asking for refund options due to ﬂight time being changed due to COVID-19 and travel
                        restrictions for Americans to the EU. Customer service only read a script to me stating it
                        was a warranty cancellation and would only receive bare minimum refund (10). When
                        prompted for ﬂight information to call airline on my own, details were not provided. Option
                        for assisted refund will take approx. 3 months and ﬂight is supposed to depart in one


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                                    Kiwi.com,         Filed 02/24/21
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                        week. Kiwi had no compassion for travelers affected by COVID-19 and offered no
                        assistance.
                        Desired Outcome
                        I am requesting a full refund of my tickets due to the fact the airline changed the ﬂight
                        times which we are unable to make and the Travel restriction on Americans to Ireland.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                          08/19/2020
                        I purchased airline tickets through Kiwi.com and the ﬂights were cancel due to covid 19.
                        The company still has not returned a cent. I bought plane tickets to the Bahamas for 4/1
                        returning 4/5. The ﬂight was canceled. I still have not received a refund.
                        Desired Outcome
                        I want a 100% refund from Kiwi.com.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                          08/18/2020
                        I have booked ticket on Kiwi.com on Oct 15th 2020, But due to Corona, The ﬂight has
                        been cancelled by Airline but no refund processed by Kiwi.com I have booked ticket on
                        Kiwi.com on Oct 15th 2020, But due to Corona, The ﬂight has been cancelled by Airline
                        and on the airline website, I see that refunds has been processed for the ﬂight for all
                        passengers. But whenever I reach Kiwi.com they are saying to wait for 3 to 4 months for
                        resolution. It's already been 2 months since ﬂight has been cancelled. I have many
                        reservations on multiple travel platforms, no travel agency making you wait for 3 to 4
                        months. I understand if there is a delay with customer service or any other, but if the ﬂight
                        cancelled by operator and I am not choosing alternative ﬂights, I expect to see a refund or
                        credit at least in an email from Kiwi.com, But I don't see any of that. Very disappointed
                        with that, I bought multiple tickets on Kiwi earlier, but they are treating loyal customers as
                        this is very painful. I would like to request Refund for $496.08 for my tickets My booking
                        id at Kiwi is : Booking #XXXXXXXX Hope I can get resolution on this matter sooner.
                        Desired Outcome
                        I would like to request Refund for $496.08 for my tickets My booking id at Kiwi is :
                        Booking #XXXXXXXX Hope I can get resolution on this matter sooner.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                          08/12/2020
                        The worst travel agency ever with the rudest ******** ******* people who were not helping
                        but were blaming us for their problem. Flight was delayed. If receipts are needed I will
                        provide. Our ﬂight was delayed and our vacation was RUINED. We were stuck in London
                        for a day and had to stay over and purchase a hotel, we then had to repurchase tickets.
                        We right away started contacting the travel agency and telling them that our ﬂight was

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                                                                                                                    Appx. 521
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   522
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                        delayed and they said ok send email with details and receipts... Ok, we did that and then
                        called them and they said to send receipts again. We resent and were waiting and then
                        we called them stating we sent receipts and we are waiting for for refund. They started
                        talking to us very rudely telling us why we need a refund like it was our fault. We said, we
                        sent you the receipts like you said and we haven't received any refund, they started
                        telling us they never said that and never received any email We were SHOCKED! We told
                        them our ﬂight was delayed and we had to repurchase tickets plus purchase extra hotel,
                        food and transportation. The agent then stated for us to send receipts again and so we
                        again sent the pictures of receipts... Well, we called again and again and again, and every
                        time we call they lie and say they never received any emails from us and we dont want to
                        help.
                        Desired Outcome
                        We are asking for a refund at least for the tickets and hotel.... We are so stressed out
                        about it. $2,000




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         08/10/2020
                        I was scheduled to have a ﬂight to Santorini, Greece at the end of March. Due to COVID
                        and the shut downs of various countries with different travel bans, I was unable to make
                        the trip. I immediately applied for a refund and was told it could take up to 3 months. That
                        was 5 months ago. I have contacted kiwi.com approximately twice a month every month
                        since March in order to get a refund. Finally after constant deﬂection from kiwi I called the
                        airlines directly. They told me they issued my refund back to kiwi on the 22nd of June.
                        They also gave me the details of said refund, so I decided to call kiwi AGAIN. It is currently
                        the 6th of August and I have yet to receive those funds back from kiwi. I have called three
                        times today alone. The ﬁrst time, they said they have not received any money from the
                        airlines. The second and third times, they said their claims department will get back to me
                        within 48-72 hours. I have heard this before in previous calls and am not convinced,
                        seeing as how I was never contacted when they said it before. They told me, although I
                        called in July, that no one had even checked on my refund since the 17th of June. How
                        does that happen? They kept telling me when I called that the funds would be given to
                        me immediately upon arrival to their company, so how do I still not have it?
                        Product_Or_Service: Airline tickets Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) I want the full amount for my ticket back. And I want an
                        explanation as to why my refund took more than ﬁve months when they had the money as
                        early as June.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         08/03/2020
                        Kiwi.com is refusing to issue a full refund for a ﬂight to China I was supposed to take on
                        02/02/2020, Booking ID XXX XXX XXX. I learned on 01/31/2020 that I could not travel to
                        China due to Covid-19. Kiwi is charging me $214 for a cancelled ﬂight. This is absolutely
                        unacceptable. I did not chose to cancel this ﬂight. I was not allowed to travel into China
                        and the Airlines are giving full refunds to their customers who were not allowed to travel
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                                    Kiwi.com,         Filed 02/24/21
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                        due to the Coronavirus. There is no reason why Kiwi should keep my money when even
                        the airlines are being generous in their understanding, especially when Kiwi advertises
                        itself as having 'worry-free? bookings. I contacted Kiwi immediately upon learning that we
                        could not travel to China.I was in the process of traveling to China to adopt a little girl, a
                        process that has still not been completed, now almost 5 months later. My teenage
                        daughter and I arrived in Vietnam only to learn that we could not continue on to China
                        because entire trip got cancelled by the government. My family had to incur a lot of
                        additional expenses to turn around and travel right back to the United States. It was such
                        a relief to see that the airlines were offering full refunds since this situation was out of our
                        hands. I cannot believe that Kiwi would treat this as if it were our choice. We are
                        devastated that we still don't have our little girl and we have no idea when we will get to
                        travel to China. The other travel organizations we worked with refunded our full payment,
                        immediately and without any hassle, for ﬂights that we were not able to complete. I am
                        aware that airlines provided full refunds. There is no beneﬁt to book through Kiwi.com.
                        Customers who booked directly through the airlines were all refunded IN FULL if they had
                        to cancel due to Coronavirus. I have continued to email customer support, but I have not
                        received a reply from them since 05/26/2020. I have tried to call, but there is no answer
                        without a current booking #. Product_Or_Service: travel service for booking a ﬂight to
                        China Order_Number: Booking ID XXX XXX X
                        Desired Outcome
                        Other (requires explanation) Kiwi.com needs to refund my $214 that they are withholding.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                            07/31/2020
                        Purchased airline tickets through kiwi.com on December 14, 2019 via credit cardCOVID-19
                        CORONAVIRUS PANDEMIC prevented the travel out of the country on the scheduled
                        departure day.Requested a refund in the amount of $986.45 on March 16,
                        2020(KIWI.COM refunds can take up to 3 months)Today is July 30, 2020 almost 5 months
                        since the refund was processed. Product_Or_Service: Airline tickets Order_Number:
                        INVOICE XXXX-XXXXXX Account_Number: BOKING ID: XXXXXXXX
                        Desired Outcome
                        Other (requires explanation) Please deposit the full refund amount into my savings
                        account.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           07/30/2020
                        I purchased a ﬂight from kiwi only after receiving assurances that I would be fully
                        reimbursed if I had to cancel my ﬂight due to COVID. They lied. Hi, I am writing to you
                        about a ﬂight I purchased in March 14th booking # XXX XXX XXX. It was a ﬂight from
                        Osaka to Tokyo to LA to Houston. The ticket cost me $883.76. I purchased it on my chase
                        sapphire card. I purchased this ﬂight while I was abroad and under the assumption I would
                        successfully arrive at Japan, my last travel destination, but now due to COVID this has
                        become an impossibility. I was forced to return to the U.S. and cancel the rest of my travel
                        plans entirely. Having been precautious of such a possibility, I purchased this ﬂight from
                        Kiwi only after calling Kiwi customer service and having a representative walk me through
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                                    Kiwi.com,         Filed 02/24/21
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                        the purchase and assure me multiple times my purchase would be refunded in full if I
                        could not continue with my travels due to COVID. When this became the case I reached
                        out to kiwi. Kiwi was no longer taking phone calls and were impossible to reach by
                        mobile. So I sent an e-mail requesting my promised refund and was redirected to a
                        webpage that offered me a $10.99 immediate refund or the option to wait three months.
                        After repeated attempts to get Kiwi to follow through on their assurances, I am at a loss
                        for words. Kiwi has blatantly cheated me of my money and lied. Their horrible customer
                        service further alienates any efforts to get them to follow through on their word. And from
                        reading other complaints it looks like I am not the only one. Two-faced business practices
                        of the most gross and brobdingnagian dimensions, especially to cheat customers during a
                        pandemic. A terrible company.
                        Desired Outcome
                        I am asking for a full refund of $883.76 to my chase credit card. As well as an apology for
                        the many hours wasted. I've communicated with a variety of different travel agencies after
                        having my travel plans changed or canceled due to COVID and Kiwi was by far the worst.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                            07/28/2020
                        We bought a ticket through Kiwi, Norwegian canceled the ﬂight, I spoke with them and
                        they offered a full refund for the ﬂights but Kiwi is offering only 50% of it, they are trying to
                        keep the rest.Norwegian was crystal clear that we are entitled to a full refund.Kiwi
                        booking ID XXXX XXXXXPrice paid: $2,258.22Amount refunded: $1,170.95
                        Product_Or_Service: Air Ticket
                        Desired Outcome
                        Other (requires explanation) I want the full refund of the cost of the ﬂights $2,258.22




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                            07/28/2020
                        Kiwi.com notiﬁed me that French Bee Airlines cancelled my ﬂight on July 13. I paid extra
                        for a priority assisted refund and ﬁled for a refund with Kiwi.com. I called French Bee
                        Airlines and spoke to an agent who said I would be eligible for a full monetary refund
                        since the airlines were the ones who cancelled my ﬂight. The airlines said I have to
                        contact Kiwi.com as they are the third party in order to receive my refund. I tried calling
                        Kiwi.com but was unable to reach anyone by phone because their automated system
                        hangs up on any callers not leaving within 3 days (my ﬂight was for August 30). I sent help
                        desk messages to Kiwi.com with no response for several days, and then ﬁnally received a
                        generic message stating that Kiwi attempted to get a refund and provided me with two
                        credit vouchers. Both vouchers are for separate amounts in euros - I paid with dollars and
                        the vouchers do not even total the same amount. One of the vouchers is for a completely
                        different airline company that I did not book with. I messaged Kiwi.com saying that if they
                        are only giving vouchers then it should be for the original amount I paid in dollars, and for
                        the same airline I booked with which is French Bee Airlines. I attempted to use the
                        vouchers to book the same destination, and the website states that the vouchers are
                        invalid. I sent another help desk message to Kiwi, and they suggested to try a different
                        browser. I tried several browsers with the same voucher numbers and receive the same
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                                                                                                                      Appx. 524
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                                    Kiwi.com,         Filed 02/24/21
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                        response that the vouchers are invalid. I contacted French Bee Airlines again who said
                        they cannot use the vouchers to book my ﬂight, and that this has to be taken care of by
                        Kiwi.com. The airlines again stated that they have been providing customers with a full
                        monetary refund as the airlines was the one who cancelled the ﬂight. Kiwi.com now states
                        that they will take up to 3 months to process my refund, and have no answer regarding
                        the vouchers. I have tried multiple times trying to call Kiwi.com unable to reach them.
                        Product_Or_Service: Airline
                        Desired Outcome
                        Other (requires explanation) Refund for the full monetary amount of $1,383.26 which I paid
                        Kiwi.com for my ﬂight, which was cancelled by French Bee Airlines.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        07/28/2020
                        Kiwi.com refuses to refund my canceled ﬂight. Kiwi.com has not issued my refund for a
                        cancelled ﬂight related to COVID. The refund request was in March 2020. When asked
                        they told meto contact the airline directly even though their site states that they guarantee
                        a refund for canceled ﬂights. I then disputed the charge, with no success, with my credit
                        card company and Kiwi.com responded to the dispute with false documents stated that I
                        had traveled on canceled ﬂight when that was impossible due to the travel ban.
                        Desired Outcome
                        My refund f $1094.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                        07/23/2020
                        On 4.30.20 I bought a ticket with Kiwi for my daughter to ﬂy her from Los Angeles to
                        Medellin, but Kiwi canceled my reservation and my daughter could not ﬂight on the
                        scheduled date. As a consequence I had to ﬁle before USCIS a visa extension for my
                        daughter because she was visiting the country and her visa was going to expire. Because
                        of the visa extension I had to make an extra payment of 600 dollars more besides the
                        ticket for my daughter. Furthermore, I got in contact with Kiwi and then a guy responded
                        to me that Kiwi is not going to return the money and I can do what ever I want, but Kiwi is
                        the one breaching the contract since the very beginning. Product_Or_Service: Ticket
                        Order_Number: XXXXXXXXX Account_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) Kiwi has to refund the ﬂy ticket for the amount of 306.62 and
                        also for the USCIS application visa extension for the amount of 455 dollars I paid for my
                        daughters visa extension because Kiwi is liable for all of the expenses and
                        inconveniences for a grand total of 761.62




       Complaint Type: Advertising/Sales Issues                      Status: Unanswered
                                                                                                        07/20/2020
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                                                                                                                  Appx. 525
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
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                        Kiwi.com is practicing fraud booking process. The company knowingly provides the bogus
                        itinerary and does not take any responsibility. I booked a trip on July 14 from XiaMen to
                        SFO making connection in HongKong on 07/21. kiwi.com provided the itinerary. The
                        ﬂights are real, but HK has not been allowing any transfer ﬂight from China. The
                        information is not listed anywhere on kiwi.com. kiwi knows about this as Christina told me
                        that she handled the same situations before and I am not the ﬁrst one. The itineraries are
                        bogus but it is customer's own responsibility to ﬁgure out they are bogus. The bogus ﬂight
                        itinerary was only exposed during ﬂight conﬁrmation one day before the trip. According to
                        the airline ***** Paciﬁc, the itinerary is put together with two separate bookings (individual
                        ﬂights). If it were one booking, it would have got caught by the airline itself. Kiwi refused
                        to take responsibility and issue full refund for their mistakes and claimed that this is totally
                        customer's fault not making sure the transfer connection is not restricted.
                        Desired Outcome
                        Full ﬂight ticket refund.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           07/13/2020
                        I purchased ﬂights and insurances of the ﬂights. Kiwi.com did not honor my scheduled
                        ﬂights. The company left me stranded in Cairo. They didn't buy I purchased ﬂights and
                        insurances of the ﬂights. Kiwi.com did not honor my scheduled ﬂights. The company left
                        me stranded in Cairo. They didn't buy the tickets. I was trapped they didn't honor getting
                        me a hotel or food or transportation. They refused to give me my refund when they
                        admitted it was their errors. I want a full refund for this.
                        Desired Outcome
                        I want a full refund




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                           07/06/2020
                        The third ticket agency refuses to ask refund from airline, but airline told me I can get full
                        refund instead. I bought a ﬂight tickets from Kiwi.com, which is a third agent. However, it
                        was canceled due to the pandemic. I applied for full refund on April 2ed, and I still don't
                        get it until now. I called the agent many times during past three months, they always told
                        me that they have asked the refund from the airline and waiting for their response.
                        However, today I made a call to the airline asking why it takes so long, and the airline told
                        me that the third agent doesn't ask for any refund at all. In fact, I can actually get the full
                        refund according to what airline told me, but it has to happen through third agent. Then I
                        call the agent, and they lied to me that the airline only can give me voucher or credit
                        instead. The airline can do nothing, they told me that only the agency have the authority
                        to request refund because I bought the tickets from them. I hope someone can help me
                        get my full refund directly from the airline.
                        Desired Outcome
                        1. Ask for full refund, especially from EVA AIR, cause I'm informed by EVA AIR that I
                        actually can get full refund, my agency just refuse to ask. 2. The third agency can prove
                        that they have asked full refund from airline, which can be realized by an e-mail or other

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                                                                                                                     Appx. 526
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                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   527
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                        ways which is given by airline directly. I need an evidence that you have contact with
                        airline. 3. How long I need to wait for? I have waited over three months.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       07/06/2020
                        Schedule ﬂight had to cancel due to the COVID travel restrictions Not able to ﬂy into the
                        airports on itinerary Canceled within 24 hrs of purchase I had purchased tickets through
                        this company for a trip to a Gazipaa Turkey prior to the purchase of these tickets I had
                        called and conﬁrmed with the company that I could ﬂy into the airports on my itinerary.
                        After the company assured me I could transfer at these locations I purchased the tickets I
                        then waited for the 24 hr online checkin when I went to check in I was greeted by a
                        message from one of the airlines I would be ﬂying with stating I had to register with an
                        agent due to COVID so I called and waited online for 1 hour when an agent answered my
                        call they informed me that I would not be able to take this ﬂight due to the COVID
                        restrictions that were activated by the E.U. He also did not have my full trip on the
                        schedule he told me he only saw tickets for the ﬁrst two ﬂights and not to my ﬁnal
                        destination Also he told me the trip from July 2 to Dec 8 (That was not the trip i
                        scheduled) I then called Kiwi.com and spoke to them they said oh no it would be no
                        problem and that their agents were responsible for my online checkin and that they were
                        only waiting on the airlines I then again waited to see if my tickets would come Nothing as
                        my concern grew I again called the airline again the airline conﬁrmed to me I would not be
                        able to take this ﬂight due to the restrictions they also informed me if I tried I would be
                        turned back at the terminal the airline carrier told me I could cancel because the purchase
                        of the tickets was less then 24 hrs Again I called Kiwi.com and spoke to the agent she
                        informed me that I could cancel and how to do so I canceled and then called back to the
                        airline and they explained to me their 24 hr honor rule they gave me the code and told me
                        to call Kiwi.com again and give it to them to get a full refund I did this and Kiwi.com
                        insisted that they are waiting on the airlines once again I explained to Kiwi.com what the
                        airline had explained to me in detail about the tickets being Kiwi.com tickets and that the
                        refund would be Kiwi.coms decision they kept trying to reassure me they are doing all
                        they can and that they can't guarantee a refund even though a service was not provided
                        due to acts of nature I do not understand how this is at all legal they are selling tickets
                        and telling people that they can take these ﬂights When you go to purchase the tickets
                        the site has a space where it says restrictions but when you click on the space it shows
                        you a blue bar saying travel allowed This is false advertising As of today I have No
                        Refund. This is abuse at its ﬁnest this company is stealing from their customers and falsely
                        representing themselves I canceled all of these tickets within less then 24 hours of
                        purchasing them due to the COVID restrictions Please do not allow this company to use
                        this pandemic to get rich off of hard working people. Reference #XXXXXXXXX Payment
                        Amount $978.35 Payment Method Debit Card Date June30-July2
                        Desired Outcome
                        I am seeking a full Refund




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       07/02/2020


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                                    Kiwi.com,         Filed 02/24/21
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                        I booked ﬂights on Kiwi.com and the airlines canceled those ﬂights due to COVID. Even
                        though airlines have refunded kiwi.com they are keeping my $s. I booked ﬂights on
                        kiwi.com booking number: XXXXXXXXX from LAX to Rome for travel on 4/2/20.
                        Norwegian air cancelled its ﬂights due to COVID refunding kiwi.com but they are holding
                        on to my refund. I was only able to reach their phone service center three days before my
                        cancelled ﬂight was set to leave. Otherwise they block your call from going thru and there
                        isn't any online service either. On 3/31, I spoke to their representative Sylvia Desouza and
                        she was not able to refund my canceled ﬂights and wanted to charge me additional fees
                        to make a request for a partial or unknown refund. I then was forwarded to a manager
                        Atul Kshirsagir who put in a request for refund but thought it could be six months and that
                        I was not assured any refund would come then unless I wanted to take a pittance of my
                        charge to resolve the issue now. Kiwi.com is unreachable online or they their phone
                        system and has yet to return any of my refund dollars owed to me.
                        Desired Outcome
                        To simply refund my ﬂights that were cancelled by the airlines in full with out reductions.




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         07/01/2020
                        My ﬂights were canceled due to coronavirus so I paid kiwi.com roughly $20 USD to
                        expedite the refund process and was told that it would be processed within 3 months. It
                        has now been more than 3 months and I haven't received any meaningful updates on my
                        refund status. I have made several contacts to the company, but they have not yet given
                        me any further information as to the status of my refund. I simply want the money I spent
                        on unusable tickets as per Kiwi.com guarantee refunded to me asap. Product_Or_Service:
                        Flight Order_Number: XXXXXXXXX
                        Desired Outcome
                        Other (requires explanation) I want my money back for the ﬂights that were canceled.




       Complaint Type: Problems with Product/Service                         Status: Resolved
                                                                                                         01/06/2021
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                         11/20/2020
                        Complaint Details Unavailable




https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                             26/30


                                                                                                                  Appx. 528
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   529
                                                                                  Bureau®       of 571 PageID 701
                                                                                          Profile

       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/20/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/20/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/18/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/16/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/09/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/09/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered

https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                          27/30


                                                                                                               Appx. 529
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   530
                                                                                  Bureau®       of 571 PageID 702
                                                                                          Profile

                                                                                                       11/02/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/02/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       11/02/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                      10/26/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                      10/26/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                      10/26/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                      10/20/2020
                        Complaint Details Unavailable
https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                          28/30


                                                                                                               Appx. 530
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   531
                                                                                  Bureau®       of 571 PageID 703
                                                                                          Profile




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       10/19/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       10/19/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       10/19/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       10/14/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                       10/14/2020
                        Complaint Details Unavailable




       Complaint Type: Advertising/Sales Issues                      Status: Answered
                                                                                                       10/14/2020
                        Complaint Details Unavailable


https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                          29/30


                                                                                                               Appx. 531
2/5/2021   Case 3:21-cv-00098-E Document   19-1
                                    Kiwi.com,         Filed 02/24/21
                                              Inc. | Complaints | Better BusinessPage   532
                                                                                  Bureau®       of 571 PageID 704
                                                                                          Profile




       Complaint Type: Problems with Product/Service                         Status: Resolved
                                                                                                                    09/30/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                                    09/24/2020
                        Complaint Details Unavailable




       Complaint Type: Problems with Product/Service                         Status: Unanswered
                                                                                                                     09/17/2020
                        Complaint Details Unavailable




                                                                     Load More


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https://www.bbb.org/us/fl/miami/profile/travel-agency/kiwicom-inc-0633-90562676/complaints                                             30/30


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         EXHIBIT E-3




                                                                             Appx. 533
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                                      year of Covid, the awards Filed
                                                                for worst02/24/21
                                                                          customer servicePage
                                                                                           go to… 534   of| The
                                                                                                  | Money    571    PageID 706
                                                                                                                Guardian




    The Observer
    In the year of Covid, the awards for worst customer
    service go to…

                  Anna Tims
                  Sun 27 Dec 2020 03.45 EST




    T
               here’s a whiﬀ of nostalgia for my awards from previous years. Back in those
               days, we got exercised over airlines failing to pay compensation for delayed
               ﬂights, obscure restrictions on train tickets and recalcitrant retailers. Then
               came Covid. Never mind compensation – the battle of 2020 has been to get
    hold of refunds for ﬂights that never left the ground. Retailers have spent much of the
    year shut by government decree, and who rides trains any more?

    I’m ambivalent about naming and shaming companies that face ruin. Some of the
    horrors that have ﬁlled my inbox arose because of decimated workforces and
    unprecedented demand. Some of the ﬁrms that have refused a refund were one payroll
    day away from oblivion.



https://www.theguardian.com/money/2020/dec/27/in-the-year-of-covid-the-awards-for-worst-customer-service-go-to                   1/5


                                                                                                                            Appx. 534
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    However, failings that would in ordinary times be an inconvenience can be a life-
    changing matter during a pandemic. A pensioner left for weeks without a phone line
    was unable to say goodbye to her partner before he died. Jobs were put at risk when
    workers, captive at home, found their broadband cut oﬀ. Locked-down visa services
    have left families with no right to work, rent or welfare. And key workers face penury
    when banks won’t refund savings stolen by scammers while they were distracted on
    Covid wards.

    And it’s those scammers who have been the biggest winners. When the nation locked
    down they moved online, impersonating banks or government agencies to trick
    customers into transferring their money. One vulnerable reader lost his savings and his
    house to criminals masquerading as detectives; an NHS nurse and his partner lost the
    deposit for their ﬁrst ﬂat after fraudsters targeted him during a hospital shift.

    A pledge by banks to refund blameless victims made promising headlines; in reality,
    many have stumped up only after pressure by way of their press oﬃces.

    Travel ﬁrms have been among the biggest losers. Only a few have realised that their
    reputation remains their best asset. In the scramble to patch up shredded balance
    sheets, others have ﬂailed to snatch every last coin, shedding outraged customers as
    they do so. Insurers who could have – should have – picked up the tab have ﬂed the
    scene.

    Covid, as well as exposing failing customer relations, has also been exploited to justify
    them. Before March, “computer glitch” was the catch-all culprit relied on by
    incompetent corporations. Now, when a utilities ﬁrm hounds you for a stranger’s bill,
    or your pizza delivery goes AWOL, the excuse is coronavirus. Few companies have
    emerged from the ashes of 2020 with their reputations unscathed, but here are the
    ones which have made customer service a fading memory.

    The Most Artful Dodgers
    Once upon a time, fare dodging was a pastime for unscrupulous customers. In the
    world of 2020 it’s the travel providers that are trying it on. Airlines dodged obligatory
    fare refunds by encouraging passengers to cancel bookings on ﬂights which they
    planned to withdraw from the schedule, or by making the refund process so
    misleading that all claims led to a voucher.

    Canny travel agents charged customers three-ﬁgure sums for passing on refunds
    received from airlines. The prize for the most creative dodge goes to the travel agent
    TourRadar, which told one reader that she would have to accept a credit note for her
    cancelled holiday. When she claimed the refund through her credit card issuer,
https://www.theguardian.com/money/2020/dec/27/in-the-year-of-covid-the-awards-for-worst-customer-service-go-to                   2/5


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    TourRadar threatened to hold her responsible for cancelling the holiday it had already
    cancelled, and warned that she would forfeit the credit note unless she withdrew her
    claim. The company told me that the bombardment of messages were simply
    “recommendations” that she apply for the (already refused) refund through the tour
    operator.

      That bastion of                            The White Feather Award for Desertion
                                                 Congratulations to the insurance industry. Most of the
    decency, John Lewis,
                                                 oﬀending companies didn’t even go to the trouble of
    sent an 80 year old
                                                 subterfuge. They simply declared that their policies weren’t
    customer a £24,000
                                                 designed to cover an event on the scale of Covid and ripped
    credit card bill
                                                 up customer contracts.

                                There are so many worthy contenders for this one. NFU
    Mutual refused to pay a holiday cottage owner for loss of earnings, despite cover that
    speciﬁed infectious diseases. It suddenly discovered a “discrepancy” in its policy
    wording the day I queried its stance.

    “Cancel for any reason, no questions asked” was the slogan that prompted thousands
    of travellers to buy RoomerFlex’s cover when they reserved accommodation on
    booking platforms. Indeed, it did not ask any questions – it simply announced that it
    was voiding all claims due to “unprecedented circumstances”.

    My favourite, however, is QIC Europe, which turned down a business interruption
    claim from hotelier    of Powys. He pointed out that his policy included “notiﬁable
    human disease within a 25-mile radius” and was told, in a letter which detoured via
    murder, suicide and blocked drains, that since no one had succumbed to Covid on the
    premises, he was stuﬀed.

    The Most Audacious Money Spinner
    While Covid has decimated sales, it’s overloaded customer service lines as companies
    deal with the fallout. What to do? Online travel agents Kiwi and Opodo have had the
    same brainwave: to charge extra for after-sales support. Opodo customers are invited
    to pay £16.49 for beneﬁts such as conﬁrmation emails, “speedy” refunds and
    “preferential, free customer service”. Kiwi charges £15.74 for “standard” customer
    service. Customers who balk at that get “low call priority”, “no email support” and
    “limited support availability”.




https://www.theguardian.com/money/2020/dec/27/in-the-year-of-covid-the-awards-for-worst-customer-service-go-to                   3/5


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       Opodo: a £16.49 charge for conﬁrmation emails and ‘speedy’ refunds. Photograph: M4OS Photos/Alamy Stock Photo

    The Costliest Human Right
    With travel banned and oﬃces closed, the internet has been the only legal escape
    route. So all hail the Universal Service Obligation, fast-tracked by the government in
    March, to allow households to demand functioning broadband as a human right! Some
    took it literally. They thought it meant that BT was obliged to provide the service they
    already pay for, no matter where they live. However, as any fool knows, “universal”
    means areas where BT has got round to unrolling the ﬁbre network and the
    “obligation” is to those with a ﬁve-ﬁgure sum to spare. Several readers were told they
    would have to pay up to £100,000 to upgrade infrastructure if they expected reliable
    wiﬁ.

    The Most Brazen Blunder
    Who’d have thought it? That bastion of decency, John Lewis, sent an 80-year-old
    customer a £24,000 credit card bill. It turned out it had been taking money from a
    stranger’s account for her direct debit, and, on realising its error, refunded the stranger
    and dumped two years of debt on to her without warning.

    The Most Relentless Pursuer
    Step forward Scottish Power, runaway winner for its singular pursuit of revenue. You
    don’t have to be a customer. In fact, it helps if you’re not. First the bills will arrive for
    years of energy that you never used. Then the phone calls, the debt collectors’ letters

https://www.theguardian.com/money/2020/dec/27/in-the-year-of-covid-the-awards-for-worst-customer-service-go-to                   4/5


                                                                                                                            Appx. 537
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    and the threat of bailiﬀs. There’s no point complaining as you face a wrecked credit
    score. Scottish Power won’t deal with you because you’re not on its customer database
    and the ombudsman can’t help if you’ve not been through Scottish Power’s complaints
    process.

    The Best Stress Stirrer
    Champneys, purveyor of luxury and relaxation, knew just what to do when Covid
    struck and bookings had to be cancelled. It told customers they would not be getting
    their money back, although they had a contractual clause promising refunds for any
    cancellations due to exceptional circumstances. Instead, they could rebook and, as a
    goodwill gesture, it would waive its usual admin fee. It then closed its phone lines and
    chatbot and ignored them.



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         EXHIBIT E-4




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                                     WARNING: Don't buy 19-1
                                                        travels or Filed     02/24/21
                                                                   air tickets from KIWI.COM.Page      540
                                                                                              - Air Travel   of 571
                                                                                                           Forum          PageID 712
                                                                                                                 - Tripadvisor

    TRAVEL NOTICE: Learn more about COVID-19




   Browse all 99,706 Air Travel topics »



   WARNING: Don't buy travels or air tickets from KIWI.COM.
     Watch this Topic                                                                                Recently viewed

   Browse forums       All   Air Travel forum

                                                                                                             GoAir
                                                                                                                       1,324 Reviews
                                                              Air Travel forums      Search

                                                                                                     Top questions about Air Travel
                                                                                                       ++++ COVID-19 CORONAVIRUS INFORMATION ++++
                                                                                                       Covid-19 Coronavirus Information for Air Travel
                                  WARNING: Don't buy travels or air tickets from              Save
                                                                                                       ++++ ESTA (USA) and eTA (Canada) requirements for
                                  KIWI.COM.                                                            visa-exempt foreign nationals ++++
                                  4 years ago
                                                                                                       ++++ TIPS - PLANNING YOUR FLIGHTS +++++++

      Ole Frank J                 I bought an airplane ticket from Trinidad to Copenhagen on           Buy now or later? What's with these screwy ticket
      Copenhagen, Denm…           KIWI.COM. It involved three ﬂights - all low-cost airlines. I        prices?

           4 posts                missed the second airplane although I could not have made it         Around-the-world (RTW) tickets

           2 reviews              faster. The plane I arrived with were delayed and the                Skipping Flights on one ticket - Why You Can't
                                  following departure had been rescheduled. The airline had            Risks of "connecting" between ﬂights on separate
           1 helpful vote                                                                              tickets
                                  planned this for a month but KIWI.COM never informed me
                                                                                                       All you need to know about OPEN JAW tickets
                                  about it. The check-in counter was closed and I stranded in
                                                                                                       Beware of cheap business class tickets (sold by 3rd
                                  Toronto late at night.
                                                                                                       parties)
                                  I called KIWI.COM and asked for help. They wanted me to              ++++ TIPS - PREPARING TO FLY +++++++++
                                  mail evidence of the errors before they would help me. I tried       TIPS - How to prepare for Long Haul Flights
                                  to contact the airlines, but could not get in touch with anyone      TIPS - Being Prepared for Cancellations and Long
                                                                                                       Delays
                                  because of the late hour. I called several times to KIWI.COM
                                                                                                       TIPS - How to survive being stuck at an airport
                                  (almost 100 EURO due. roaming charges). I ended up paying
                                                                                                       Flights delays and cancellations resources
                                  food, a hotel room and a new, EXPENSIVE ﬂight the following
                                                                                                       How do I e ectively communicate with an airline?
                                  night. I also had to pay for an extra day o at work and did
                                                                                                       Airline, Airport, and Travel Abbreviations
                                  not sleep for two whole days. My vacation was ruined.
                                                                                                       Baggage Rules for Multi-Carrier Flights
                                  When I got home I wrote to KIWI.COM again asking them to at          Air Travel Queries: accessibility,wedding
                                  least pay for my expenses. 38 days later I ﬁnally got this           dresses,travelling with children.
                                  answer (after asking numerous times):                                Connecting Flights at London Heathrow Airport
                                                                                                       TUI Airways (formerly Thomson) Dreamliner - Movies
                                  "We are truly sorry about the inconveniences you've had. We          and Seating Information
                                  ﬁnd, however, that you had enough time to reach the plane.          Show less
                                  We understand your frustations and assure you that we care
                                  for our customers. If you have any further questions please do
                                                                                                     Air Travel Destination Experts
                                  not hesitate to contact us 24/7 via chat, email or phone".
                                                                                                            bongoblog
                                  I bought the tickets on KIWI.COM because they were cheap.                 10,055 forum posts
                                  That decision turned out to be a VERY EXPENSIVE. And
                                  ruining my vacation... I strongly advise against buying travels           Englandsscout
                                                                                                            6,207 forum posts
                                  and ﬂights from this fraudulent company, KIWI.COM.
                                                                                                            GeoMedic
                                  Facts:                                                                    10,842 forum posts

                                  - KIWI.COMS algorithms automatically composes ﬂights from                 GOPBI
                                                                                                            16,164 forum posts
                                  various low-cost airlines, that DO NOT COORDINATE
                                  rescheduling of departures.                                               Swissdiver
                                                                                                            5,998 forum posts
                                  - KIWI.COM (based in Slovakia) changed it's name in fall 2016
                                  after only 4 years as SKYPICKERS                                          USBusinessTraveller
                                                                                                            37,406 forum posts

https://www.tripadvisor.in/ShowTopic-g1-i10702-k10065992-WARNING_Don_t_buy_travels_or_air_tickets_from_KIWI_COM-Air_Travel.html                              1/6


                                                                                                                                                     Appx. 540
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                                          WARNING: Don't buy 19-1
                                                             travels or Filed     02/24/21
                                                                        air tickets from KIWI.COM.Page      541
                                                                                                   - Air Travel   of 571
                                                                                                                Forum          PageID 713
                                                                                                                      - Tripadvisor
                                    - Seach on the internet reveals massive amount of complaints
                                                                                                                              Members who are extremely knowledgeable about
                                    from unsatisﬁed customers: cancelled/rescheduled ﬂights,                                  this destination and answer travellers’ questions
                                                                                                                        frequently.
                                    no returns, arrogant customer service
                                    - See the many comments to postings on their facebook page
                                    (which is closed for customer postings BTW...)


                                     Reply                                          Report inappropriate content




   1,468 replies to this topic
   1-10 of 1,468 replies Sorted by     Oldest ﬁrst              «   1   2   3   4   5   6   7   8   9   ...   147   »


                                   1. Re: WARNING: Don't buy travels or air tickets                            Save
                                   from KIWI.COM.
                                   4 years ago                                                                          Beyond destination forums
                                                                                                                           Air Travel
   PMQuestions                     << I strongly advise against buying travels and ﬂights>>
   Great Ayton, United...                                                                                               See all »
                                   As do the many, many similar stories posted here; best to check
          Destination Expert
           for Wiltshire, London   before, not after......

   Level        Contributor

           21,322 posts             Reply                                               Report inappropriate content

           622 reviews

           247 helpful votes




                                   2. Re: WARNING: Don't buy travels or air tickets                            Save
                                   from KIWI.COM.
                                   4 years ago

   USBusinessTraveller             Yes the regulars on here all know about Kiwi.com and their
   Portland, Oregon                shonky practices, and that their "guarantee" has so many strings
          Destination Expert      attached it's as useful as a chocolate teapot.
           for Air Travel
                                   Pity you were careless and didn't search on here or other sites for
   Level        Contributor        reviews BEFORE giving them your money.
           37,406 posts
                                   You do realize they and other shonky third party bookers are only
           7 reviews
                                   in business because of careless people like you, right?
           16 helpful votes
                                   Edited: 4 years ago


                                    Reply                                               Report inappropriate content




                                   3. Re: WARNING: Don't buy travels or air tickets                            Save
                                   from KIWI.COM.
                                   4 years ago

   Ole Frank J                     You are wrong, I'm not careless. But I trust in people until proven
   Copenhagen, Denm…               wrong. And kiwi.com is a crap company that does not keep its
           4 posts                 promises. Let's expose them as much as possible,
           2 reviews

           1 helpful vote
                                    Reply                                               Report inappropriate content




                                   4. Re: WARNING: Don't buy travels or air tickets                            Save
                                   from KIWI.COM.
                                   4 years ago


https://www.tripadvisor.in/ShowTopic-g1-i10702-k10065992-WARNING_Don_t_buy_travels_or_air_tickets_from_KIWI_COM-Air_Travel.html                                                   2/6


                                                                                                                                                                        Appx. 541
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                                        WARNING: Don't buy 19-1
                                                           travels or Filed     02/24/21
                                                                      air tickets from KIWI.COM.Page      542
                                                                                                 - Air Travel   of 571
                                                                                                              Forum          PageID 714
                                                                                                                    - Tripadvisor
   Sunmagic
   Leeds, United...              I'd say it's careless giving your money to someone without
                                 researching them ﬁrst. There are already plenty of other
          Destination Expert
           for Leeds, Bradford   warnings out there, don't you think that's enough exposure? You
                                 aren't the ﬁrst and won't be the last to get caught out like this.
   Level        Contributor

           30,439 posts
                                  Reply                                         Report inappropriate content
           359 reviews

           1,165 helpful votes




                                 5. Re: WARNING: Don't buy travels or air tickets                    Save
                                 from KIWI.COM.
                                 4 years ago

   TomC97                        "Seach on the internet reveals massive amount of complaints
   Liverpool, UK                 from unsatisﬁed customers: cancelled/rescheduled ﬂights, no
   Level        Contributor      returns, arrogant customer service"
           28,038 posts
                                 Why on earth didn't you do that before handing over money - you
           34 reviews            saw cheap and just went click, click, buy and you have to take
           22 helpful votes      responsibility for your decisions.


                                  Reply                                         Report inappropriate content




                                 6. Re: WARNING: Don't buy travels or air tickets                    Save
                                 from KIWI.COM.
                                 4 years ago

   USBusinessTraveller           You are wrong, I'm not careless. But I trust in people until proven
   Portland, Oregon              wrong.
          Destination Expert
           for Air Travel        =======

   Level        Contributor      By that comment you're charitable. You gave some company
           37,406 posts
                                 your money out of charity, and giving money for charity gives you
                                 no recourse to getting it back. But now you want it back and are
           7 reviews
                                 crying "scam" - and yes they are shonky - which means you
           16 helpful votes
                                 weren't being charitable in the ﬁrst place. You were careless.

                                 And my posts aren't just directed at you. They're for people that
                                 do actually research bookers before ﬂying and see countless
                                 "WARNING..." titles. My posts are conﬁrming what you stated,
                                 and that those looking at Kiwi shouldn't be as careless as you
                                 were.
                                 Edited: 4 years ago


                                  Reply                                         Report inappropriate content




                                 7. Re: WARNING: Don't buy travels or air tickets                    Save
                                 from KIWI.COM.
                                 4 years ago

                                 Not only are you careless (almost by deﬁnition) but complicit in
                                 keeping garbage like this going.
   parklandwalk
   London                        The genuinely careful would see through kiwi in a nanosecond
          Destination Expert    and the careless, like yourself will never ﬁnd - or look for - a
           for London            warning in the ﬁrst place. Like you didn't.
   Level        Contributor

           26,165 posts           Reply                                         Report inappropriate content
           78 reviews



https://www.tripadvisor.in/ShowTopic-g1-i10702-k10065992-WARNING_Don_t_buy_travels_or_air_tickets_from_KIWI_COM-Air_Travel.html           3/6


                                                                                                                                     Appx. 542
2/20/2021Case               3:21-cv-00098-E  Document
                                          WARNING: Don't buy 19-1
                                                             travels or Filed     02/24/21
                                                                        air tickets from KIWI.COM.Page      543
                                                                                                   - Air Travel   of 571
                                                                                                                Forum          PageID 715
                                                                                                                      - Tripadvisor
           131 helpful votes




                                   8. Re: WARNING: Don't buy travels or air tickets                    Save
                                   from KIWI.COM.
                                   4 years ago

   Aviatrix                        OP - thank you for taking the time and trouble to share your tale
   UK                              of woe. I'm sorry to see that this thread seems to have
   Level        Contributor        degenerated into an argument about the deﬁnition of
           13,629 posts
                                   "carelessness". Reading between the lines I think you're only too
                                   aware that you didn't do your homework before booking your
           24 reviews
                                   ﬂight and that you've learnt your lesson, so I think it's a bit sad
           41 helpful votes
                                   that people are continuing to add insult to injury.
                                   Now... how about trying to see if there is something that can be
                                   done about this?

                                   The fact that Kiwi.com are in another EU country should not really
                                   matter as far as taking them to court is concerned... or so I
                                   thought, until I found this:

                                   http://www.consumereurope.dk/Complaints/European-Small-Cl…

                                   Denmark is the ONLY EU country that does not take part in the
                                   European Small Claims Procedure. However, Danish residents
                                   have the option of using a court in another country, which
                                   (assuming you're in or near Copenhagen) shouldn't be too
                                   di icult to do as all you'd have to do is jump on a train across the
                                   bridge.

                                   The question is... do you have a case? And I think the answer is
                                   "possibly", depending on the amount of mis-selling that took
                                   place.

                                   What was the route? (Trinidad to Toronto to *Somehwere* to
                                   Copenhagen - where is "somewhere"?). What were the airlines
                                   involved? How much time would you have at at YYZ originally
                                   (before Flight 2 got rescheduled), and how much time were you
                                   left with after the rescheduling?
                                   Also, the fact that kiwi.com didn't inform you about the
                                   rescheduling could be relevant. (What have they got to say
                                   about that?)
                                   Another thing... did you pay by credit card? If so you may want to
                                   consider a chargeback. They will dispute it, but you're in a much
                                   better position if the money is in your account and not theirs.


                                    Reply                                         Report inappropriate content




                                   9. Re: WARNING: Don't buy travels or air tickets                    Save
                                   from KIWI.COM.
                                   4 years ago

   Ole Frank J                     Thanks for being helpful Aviatrix.
   Copenhagen, Denm…
                                   The route was from Trinidad - Toronto - London - Copenhagen.
           4 posts

           2 reviews               Airlines: Caribbean Airlines, WestJet, EasyJet
           1 helpful vote
                                   Originally I had 2 h 30 min in YYZ (Toronto) before next departure.
                                   WestJet has 60 min cuto at checkin which leaves me with 1 h 30
                                   min to complete check-in. As I was ﬂying with di erent airlines I
                                   had to get my bags, go through the airport and to terminal 3
                                   (international) and check-in my bags again. The ticket clearly
                                   states that online check-in was not possible. So I had to
                                   physically wait at the baggage band. And that took a loooong
https://www.tripadvisor.in/ShowTopic-g1-i10702-k10065992-WARNING_Don_t_buy_travels_or_air_tickets_from_KIWI_COM-Air_Travel.html             4/6


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2/20/2021Case             3:21-cv-00098-E  Document
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                                                           travels or Filed     02/24/21
                                                                      air tickets from KIWI.COM.Page      544
                                                                                                 - Air Travel   of 571
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                                                                                                                    - Tripadvisor
                                    time. The plane was 11 min late (I got this info at the airport
                                    information desk next day, Caribbean Airlines won't conﬁrm it.
                                    They keep saying that the plane was one hour early, which is
                                    rubbish of course...). Also getting out of the plane took a long
                                    time. Finally there was much delay at the customs, propably
                                    because there weren't many o icers on duty late saturday
                                    evening.
                                    The rescheduling was only 15 min. So with the 11 min delay I had
                                    exactly 2 h 4 min before next departure.

                                    Kiwi.com has admitted that they did not inform me about the
                                    rescheduling. They write that "we are very sorry for the
                                    inconveniences that it has caused for me" and that's it. This is
                                    why I call them arrogant.

                                    I did pay with credit card. I used my VISA card. I heard that there
                                    are some kind of insurance when buying with MasterCard. But
                                    unfortunately I only have my VISA card.
                                    So what is your thoughts about this information provided here?


                                       Reply                                            Report inappropriate content




                                    10. Re: WARNING: Don't buy travels or air tickets                          Save
                                    from KIWI.COM.
                                    4 years ago

   smudge99                         <<The route was from Trinidad - Toronto - London - Copenhagen.
   Salisbury, United...
                                    Airlines: Caribbean Airlines, WestJet, EasyJet>>
   Level       Contributor

           13,435 posts             By the sounds of it you were travelling on separate tickets so you
           141 reviews              have no come back on the airlines. You bear all the risk when
                                    travelling on separate tickets.
           93 helpful votes

                                    As the buyer it is your responsibility to check out exactly what you
                                    are buying. AFAIK Kiwi.com are notorious at selling separate
                                    tickets.

                                    You ﬁnd TA after you travelled, it's a great shame you didn't do it
                                    before as you'd have found out the pitfalls of separate tickets
                                    and booking with Kiwi.
                                    Note to yourself, "before I buy anything online check out the
                                    seller ﬁrst".


                                       Reply                                            Report inappropriate content




   1-10 of 1,468 replies Sorted by       Oldest ﬁrst            «   1   2   3   4   5   6   7   8   9   ...   147   »

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   Reply to: WARNING: Don't buy travels or air tickets from KIWI.COM.


     Your message                                                           Read our community guidelines




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   Qatar Airways lounge access during transit 21:19
   EasyJet Holidays - impossible to add preselcted seating 20:53
   Rapid antigen test at or near SLC airport on a Tuesday 20:06
   Justﬂy.com, is just a scam!! 19:35
   San Francisco Airport 18:18
   Online ﬂights with Flighttrotters? 18:15
   Is there a way to contact Hopper - NOT through the app??? 18:00
   Airoplane tarvel. 16:04
   What is the best way to contact Travel2Be??? 14:25
   Can i transit through YUL ? 14:19

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         EXHIBIT E-5




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                                                  Kiwi.com        02/24/21
                                                           is a SCAM               Page
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                                                            Air Travel forums      Search

                                                                                                   Top questions about Air Travel
                                                                                                      ++++ COVID-19 CORONAVIRUS INFORMATION ++++
                                                                                                      Covid-19 Coronavirus Information for Air Travel
                                Warning: Kiwi.com is a SCAM                                 Save
                                2 years ago                                                           ++++ ESTA (USA) and eTA (Canada) requirements for
                                                                                                      visa-exempt foreign nationals ++++
                                I bought a set of ﬂights from kiwi.com and they neglected to          ++++ TIPS - PLANNING YOUR FLIGHTS +++++++

      Minli C
                                purchase them from the airline. I was unable to ﬂy and was            Buy now or later? What's with these screwy ticket
                                forced to buy another more expensive ticket last minute. They         prices?
           5 posts
                                have NOT REFUNDED, let alone o ered compensation.                     Around-the-world (RTW) tickets
                                Booking reference number 4974824.                                     Skipping Flights on one ticket - Why You Can't
                                                                                                      Risks of "connecting" between ﬂights on separate
                                On the 9 February I was due to to ﬂy with Tigerair at 0500            tickets
                                ﬂight IT217 from Tokyo Haneda to Taiwan Taipei. When I went           All you need to know about OPEN JAW tickets
                                to the check-in desk, the airline was unable to ﬁnd my records        Beware of cheap business class tickets (sold by 3rd
                                of my ticket through the ticket kiwi.com issued me. They were         parties)
                                unable to ﬁnd my name and any record of me having a ticket.           ++++ TIPS - PREPARING TO FLY +++++++++
                                I contacted kiwi.com via phone and the agent was extremely            TIPS - How to prepare for Long Haul Flights
                                unhelpful. She continued to repeat the same mantra that               TIPS - Being Prepared for Cancellations and Long
                                everything was conﬁrmed and I can get on the plane and if             Delays

                                their was a problem it was with the airline. The airline sta          TIPS - How to survive being stuck at an airport

                                also spoke to her but were unable to resolve this issue. After        Flights delays and cancellations resources

                                the stress of being refused to be allowed to get on the plane         How do I e ectively communicate with an airline?

                                and no help from kiwi.com. I was forced to purchase more              Airline, Airport, and Travel Abbreviations

                                expensive ﬂights last minute to be able to make it to my              Baggage Rules for Multi-Carrier Flights

                                destination.                                                          Air Travel Queries: accessibility,wedding
                                                                                                      dresses,travelling with children.
                                After several emails asking them to explain what happened. I          Connecting Flights at London Heathrow Airport
                                ﬁnally got a some form of reply other than their usually               TUI Airways (formerly Thomson) Dreamliner - Movies
                                pointless mantra.                                                      and Seating Information
                                                                                                      Show less
                                Quote from them "We regret to inform you that we have failed
                                to book the ﬂight from Tokyo (HND) to Taipei (TPE) via Tigerair
                                                                                                   Air Travel Destination Experts
                                Taiwan and failed to inform you about it. The ﬁnance
                                department is now working on it for you to receive a possible              bongoblog
                                refund for the said ﬂight. Please be informed also that the                10,055 forum posts
                                refund may take up to 30 days from the time that it has been
                                                                                                           Englandsscout
                                submitted. Once again, please accept our apologies for the                 6,207 forum posts
                                inconveniences you are having in this process. Rest assured
                                that Kiwi.com do not wish for any of this to happen to your                GeoMedic
                                                                                                           10,842 forum posts
                                reservation."
                                                                                                           GOPBI
                                After trying to get an update from them on how my refund was               16,164 forum posts
                                going and when it was due. I keep getting replies changing
                                                                                                           Swissdiver
                                the dates of when I submitted the refund application and                   5 998 f           t

    Can you tell us about your Tripadvisor experience?                                                                              Take survey


https://www.tripadvisor.in/ShowTopic-g1-i10702-k11349129-Warning_Kiwi_com_is_a_SCAM-Air_Travel.html                                                         1/5


                                                                                                                                                    Appx. 547
2/20/2021Case            3:21-cv-00098-E Document  19-1
                                             Warning:        Filed
                                                      Kiwi.com        02/24/21
                                                               is a SCAM               Page
                                                                         - Air Travel Forum     548 of 571 PageID 720
                                                                                            - Tripadvisor
                                   for a reply from the airline regarding the refund, so the refund
                                                                                                                            Members who are extremely knowledgeable about
                                   may now take LONGER than 30 days now. When clearly the                                   this destination and answer travellers’ questions
                                                                                                                      frequently.
                                   fault was entirely with them and had nothing to do with the
                                   airline.
                                   I have over 38 corresponding letters with kiwi.com as proof of
                                   what has happened.
                                   It has now been over 30 days since I submitted the refund
                                   application and I have had no refund, no explanation as to
                                   why I am not entitled to a refund. The only compensation they
                                   have ever o ered is a 20 euro voucher to use on their website
                                   with a 6 month expiry.

                                   This whole experience has left me scarred and sad at
                                   humanity. I believe I have been a victim of a scam/fraudulent
                                   activity/being cheated. I would not wish this to ever happen
                                   again to anybody. So even if I have been left out of pocket
                                   and emotionally traumatised, I hope I can help others not go
                                   through the same thing.                                                            Beyond destination forums
                                                                                                                         Air Travel
                                                                                   Report inappropriate content       See all »
                                    Reply




   312 replies to this topic
   1-10 of 312 replies Sorted by    Oldest ﬁrst                «   1   2   3   4   5   6   7   8   9   ...   32   »


                                1. Re: Warning: Kiwi.com is a SCAM                                           Save
                                2 years ago

                                There are probably hundreds of warnings here about Kiwi.com.
   R_Squared_12
                                Did you read them before you booked?
   Silver Spring...

   Level       Contributor
                                   Reply                                               Report inappropriate content
           6,224 posts

           7 reviews

           15 helpful votes




                                2. Re: Warning: Kiwi.com is a SCAM                                           Save
                                2 years ago

                                I felt a great deal of sympathy for your predicament until I got to
   Travel_Undercover
                                the last paragraph.
   United Kingdom
                                “This whole experience has left me scarred and sad at
          Destination Expert
           for Holiday Travel   humanity.” and you stating that you are now “ emotionally
                                traumatised”. Really? Wondering if there is also more to this story
   Level       Contributor      if you have 38 corresponding letters in just one month since your
           5,812 posts          ﬂight.
           187 reviews

           87 helpful votes
                                   Reply                                               Report inappropriate content




                                3. Re: Warning: Kiwi.com is a SCAM                                           Save
                                2 years ago

                                yes, I had read them prior to purchasing my ﬂight. many of them
   Minli C
                                involved missed connections due to bookings with multiple
                                airlines to one destination Mine was a direct ﬂight But none of
    Can you tell us about your Tripadvisor experience?                                                                                                Take survey


https://www.tripadvisor.in/ShowTopic-g1-i10702-k11349129-Warning_Kiwi_com_is_a_SCAM-Air_Travel.html                                                                             2/5


                                                                                                                                                                      Appx. 548
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                                                                is a SCAM               Page
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                                                                                             - Tripadvisor


                                 Reply                                        Report inappropriate content




                                4. Re: Warning: Kiwi.com is a SCAM                                 Save
                                2 years ago

                                Contact your bank. Dispute the charges. Hopefully you used a
   terriks
                                credit card to make the purchase. Tell your bank that you never
   Oregon                       received the tickets that you purchased.
   Level       Contributor

           4,817 posts
                                 Reply                                        Report inappropriate content
           26 reviews

           22 helpful votes




                                5. Re: Warning: Kiwi.com is a SCAM                                 Save
                                2 years ago

                                It has taken a lot of correspondence to get a straight answer
   Minli C
                                from kiwi.com. A lot of the answers I received were generic and
                                had no relevance to my case.I have also wanted to gather as
           5 posts
                                much evidence as possible to prove what has happened.


                                 Reply                                        Report inappropriate content




                                6. Re: Warning: Kiwi.com is a SCAM                                 Save
                                2 years ago

                                Thank you for your advice. I have already lodged a form with my
   Minli C
                                bank and I am pending a review for my case. I had to give
                                kiwi.com the beneﬁt of the doubt and hoped they would refund
           5 posts
                                me in the 30 days but they have not


                                 Reply                                        Report inappropriate content




                                7. Re: Warning: Kiwi.com is a SCAM                                 Save
                                2 years ago

                                'I bought a set of ﬂights from kiwi.com and they neglected to
   TravellerPlus
                                purchase them from the airline. I was unable to ﬂy and was
   Vancouver, Canada            forced to buy another more expensive ticket last minute. They
                                have NOT REFUNDED, let alone o ered compensation'
          Destination Expert
           for London
                                The ﬁrst thing to note is that if wretched kiwi.com did not
   Level       Contributor      purchase the ﬂights on your behalf then there should be no
           65,028 posts         refund as no charge should have been made to your credit card.
           12 reviews           In terms of compensation, you'll have more luck walking to
           92 helpful votes
                                Jupiter than getting any from this company.
                                If you used a debit card, then instead of dealing with kiwi.com
                                have you called your bank? If not then why not?

                                If no ﬂights were purchased then no money should have been
                                taken. If no ﬂights were purchased then there is nothing for the
                                airline to return to kiwi.com. If you used a credit card then let
                                your bank deal with kiwi.com.

                                There is probably more here than we've been told especially
    Can you tell us about your Tripadvisor experience?                                                       Take survey


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                                                                                            - Tripadvisor

                                        Reply                                             Report inappropriate content




                                     8. Re: Warning: Kiwi.com is a SCAM                                         Save
                                     2 years ago

                                     Read the warnings, and then booked with them anyway. Then has
   CR111
                                     a problem, and posts yet another "warning". Just awesome.
   Auckland, New...

   Level        Contributor
                                        Reply                                             Report inappropriate content
           403 posts

           248 reviews

           145 helpful votes




                                     9. Re: Warning: Kiwi.com is a SCAM                                         Save
                                     2 years ago

                                     You have not been the scam of a scam or a fraud. You have been
   RojBlake
                                     a victim of a very poor (wretched as TP put it) company which you
   Wales, United...                  should have not gone anywhere near having read of all the
                                     problems that others have experienced.
          Destination Expert
           for Bargain Travel,
           Cruises, Swansea,         Please realise that humanity is chock full of horrible people and
           Cardi ,
           Carmarthenshire,          useless companies whose primary goal is to relieve you of your
           Neath, Port Talbot        money. I ﬁnd it fa rbetter to be cynical and suspicious instead of
                                     trusting. If I were the latter I suspect I'd end up being
   Level        Contributor
                                     disappointed most of the time.
           1,04,307 posts

           442 reviews

           362 helpful votes            Reply                                             Report inappropriate content




                                     10. Re: Warning: Kiwi.com is a SCAM                                        Save
                                     2 years ago

                                     You READ the posts about how shonky and dodgy Kiwi is and
   misskarenskater
                                     chose to book with them anyway.
   Canberra, Australia
                                     I rather think you're a victim of stupidity here rather than a scam.
   Level        Contributor

           2,035 posts

           11 reviews                   Reply                                             Report inappropriate content

           12 helpful votes




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   Is there a way to contact Hopper - NOT through the app??? 18:00
   Airoplane tarvel. 16:04
   What is the best way to contact Travel2Be??? 14:25
   Can i transit through YUL ? 14:19

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         EXHIBIT E-6




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                                                                                                      20+




   Kiwi.com - victims of the
   scam Kiwi
      Public group · 3.9K members


      About         Discussion          More                                        Join Group




                          About This Group


                          Its a simple idea - get all complaints here and organize them, in order
                          to see how many different types we have, how much Kiwi owes for
                          refunds and what else is there. Then get a common act and ask EU
                          court to issue a fine for Kiwi.com and to make them pay what they
                          owe as refunds, missed opportunities etc.
                          The company is registered in Czech republic so it should be under EU
                          jurisdiction See Less

                                Public
                                Anyone can see who's in the group and what they post.

                                Visible
                                Anyone can find this group.

                                General Group
                                History
                                Group created on August 20, 2018. Name last changed on February 17,
                                2020. See More

https://www.facebook.com/groups/254374211743198/about                                                         1/3


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                                                                                | Facebook

                                                                                                      20+




                          Bodrimir is an admin. Joseph is a moderator.


                                                            See All



                          Activity


                                8 new posts today
                                146 in the last month

                                3,867 total members
                                + 47 in the last week




                          Group Rules from the Admins


                          1     be kind to anyone here

                                each person deserves respect, please treat each person
                                as you want to be treated.

                          2     No hate speech or bullying

                                Make sure that everyone feels safe.Bullying of any kind
                                isn't allowed, and degrading comments about things
                                such as race, religion, culture, sexual orientation, gender
                                or identity will not be tolerate

                          3     Do not say anything, which my lead to closure

                                Watch your language. All hate speech might lead to
                                report and closure of the group. We don't want to get
                                Kiwi to report and close the group. Therefore anything
                                said will be deleted if decided by us.

                          4     Do not accuse wrongly

                                Please check all facts before reporting a post, comment
                                or accusing someone of whatever it is. Check profiles,
                                investigate, but try to not accuse wrongly. we're not here
                                to play King Solomon.

https://www.facebook.com/groups/254374211743198/about                                                         2/3


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            EXHIBIT F




                                                                             Appx. 568
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SOUTHWEST AIRLINES CO.,                         §
                                                 §
        Plaintiff,                               §
                                                 §
 v.                                              §
                                                     Civil Action No. 3:21-cv-00098-E
                                                 §
 KIWI.COM, INC. and KIWI.COM S.R.O.,             §
                                                 §
        Defendants.                              §
                                                 §


                             DECLARATION OF GARY REYES


       I, Gary Reyes, being duly sworn, state as follows:

       1.      My name is Gary Reyes and I am a Senior Specialist in the Customer Relations

Department at Southwest Airlines Co. (“Southwest”) with responsibility for the Proactive

Customer Service (“PCS”) team.

       2.      The PCS team monitors Southwest’s daily operations to identify certain events that

might impact customer service including, for example, extended mechanical or weather delays,

flight diversions, or other significant operational disruptions (“PCS Event”).

       3.      When there is a PCS Event, the PCS team researches the flight’s manifest in order

to obtain the customers’ contact information. In most instances, the PCS team will proactively

communicate a message through email regarding the PCS Event to the customer and, when

appropriate, issue a travel voucher or other type of compensation.

       4.      This process is important because it enables Southwest to quickly communicate

with its Customers impacted by the PCS Event and further provide customer service to them. The




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proactive nature of Southwest’s communication as a result of PCS Event also reduces the potential

inbound phone calls or written communication to Southwest’s Customer Relations Department.

       5.      This process also benefits the customer because he or she is better able to

understand the circumstances of the PCS Event and, in addition, often receive a travel voucher or

other form of compensation to help mitigate the impact of the PCS Event on his/her travel

experience.

       6.      On occasion, a PCS Event may also give rise to a broader company-wide discussion

(through a “POP Call”), as declared by the Network Operation Control (“NOC”) Network Director

or Emergency Response Team. Just like with a PCS Event, in a POP Call, the PCS Team will

obtain the flight manifest – including Customer’s contact information – in order to proactively

communicate a message through email to the Customer and, when appropriate, will issue a travel

voucher or other type of compensation.

       7.      More recently, when Southwest identifies a report of a Passenger that fails to

comply with our mask policy, the PCS Team will collaborate with Customer Relations leadership

to communicate a warning letter to the Customer using the contact information on their flight

reservation.

       8.      It is crucial for the PCS Team to have complete and accurate information on

Passenger manifests. This is because, in the absence of accurate customer contact information, the

PCS Team is not able to contact the customer to help mitigate the impact of the PCS Event on their

travel experience. In turn, this also creates more costly and labor-intensive communication

between our Customers and Customer Relations personnel. Further, given our new role related to

mask compliance, the lack of Customer contact information also prevents us from issuing warning

letters to Customers that fail to follow our mask policy.




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       9.      In addition, during major weather events prompting significant operational

disruptions, the PCS Team needs a Customer’s contact information to ensure our Customers are

aware of schedule changes and the options available to them for disrupted itineraries.

       10.     I declare under penalty of perjury that the facts and information stated in this

declaration are true and correct based on my personal knowledge and reliable information I

obtained as a representative of Southwest.




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